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                                    1448



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
AMERICAN TRANSIT INSURANCE COMPANY,                               24-CV-____
                                           PLAINTIFF,
                         -against-
ALL CITY FAMILY HEALTHCARE CENTER INC., ET AL.

                                           DEFENDANTS.




        COMPENDIUM OF EXHIBITS TO COMPLAINT
                      VOL. 1




                MANNING & KASS, ELLROD, RAMIREZ, TRESTER LLP
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                         NEW YORK, NEW YORK 10005
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                    CADWALADER, WICKERSHAM & TAFT LLP
                           200 LIBERTY STREET
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                           ATTORNEYS FOR PLAINTIFF
Case 1:24-cv-08606-JRC   Document 1-4 Filed 12/17/24   Page 2 of 580 PageID #:
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                     EXHIBIT “1”
                     EXHIBIT “1”
                            Case 1:24-cv-08606-JRC                                                           Document 1-4 Filed 12/17/24                                                Page 3 of 580 PageID #:
                                                                                                                        1450
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                            DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                 Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                      Dx Radiculopathy
                                                                                                                                                                                                                                                                                                   Dx Back Problem
                                                                                                                                                                                                                                                                                 Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                      Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                     Dx Extremity/
                                                                                                                                                                                                                                                                                                                     Joint Problem
                                                                                                                                                                       DME Devices




                                                                                                                                                                                          CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                       Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                      Arthroscopy
                                                                                                                                                  EDx Testing




                                                                                                                                                                                                        Lab Testing
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                                                                                                                                                                                                                                                                    Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                    Injections
                                                                                                                                      Any MRI




                                                                                                                                                                          Orthosis
                                                                                                                          Imaging




                                                                                                                                                                          Devices
                                                                                                                                                                DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC


 1000076-06     M.C.      7/2/2017    7/10/2018            1               X                    X                            X          X                        X      5     X     X        X             X              X            X                               X              X                 X                 X
 1000226-05     A.A.     6/20/2017    1/12/2018            1               X                    X             X              X          X            X           X      4                    X                            X            X                               X              X                 X                 X                X
 1000238-05     S.L.     6/22/2017     8/6/2018            1               X                    X             X              X          X            X           X      7     X     X        X             X              X            X                               X              X                 X                 X
 1000252-06     E.Y.     6/12/2017   11/20/2017            1               X                    X                            X          X            X           X      2     X                            X              X            X                               X              X                 X                 X                X
 1000348-02     R.M.     6/25/2017    4/12/2018            1               X                                                 X          X                        X      6     X     X        X                            X            X                               X              X                 X                 X
 1000554-03     E.R.     6/30/2017   11/30/2017            1               X                    X             X              X          X                        X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1000614-03     H.M.     6/14/2017     8/3/2018            1               X                    X             X              X          X                        X      3           X                                                  X               X               X              X                 X                 X                X
 1000625-03     A.M.      7/6/2017     5/3/2018            1               X                    X             X              X          X            X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1000782-05     H.M.     7/12/2017    12/9/2017            3               X                    X             X              X          X                        X     12     X                                                                                        X              X                 X                 X                X
 1000810-04     B.A.     6/25/2017     2/8/2018            1               X                    X             X              X          X                        X      5           X        X             X              X            X                               X              X                 X                 X                X
 1000878-03     V.X.      7/3/2017    3/13/2018            2               X                    X             X              X          X            X           X     14     X                            X                           X               X               X              X                 X                 X                X
 1000878-05     G.C.      7/3/2017    1/22/2019            2               X                    X             X              X          X            X           X     17                                  X                           X               X               X              X                 X                 X                X
 1000947-02     G.F.     6/23/2017    12/2/2017            3               X                                  X              X          X            X           X      2     X                                           X            X                               X                                X                 X                X
 1001011-02     K.K.     6/26/2017   11/12/2021            1               X                                                 X          X            X                  0                                  X                           X               X               X              X                 X                                  X
 1001069-02     M.D.     6/30/2017     3/4/2019            1               X                    X             X              X          X            X           X      4     X              X             X              X            X                               X              X                 X                 X                X
 1001188-02     V.R.      7/6/2017    12/7/2018            1               X                    X                            X          X                        X      8     X     X        X             X              X                                                           X                 X                 X                X
 1001204-04     E.V.     6/18/2017     3/1/2018            1               X                    X             X              X          X            X           X     13     X     X                                     X            X                               X              X                 X                 X                X
 1001304-03     D.P.     6/28/2017     9/5/2017            4               X                    X             X              X          X                        X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1001304-11     J.L.     6/28/2017   12/21/2017            1               X                    X             X              X                       X           X     10     X     X                      X              X            X                               X              X                 X                 X                X
 1001455-03     D.M.     7/11/2017   12/12/2018            2               X                    X                            X          X            X           X      6     X              X             X              X            X                               X              X                 X                 X                X
 1001476-02     S.O.     7/19/2017    12/2/2017            1               X                    X             X              X          X            X                  0                                                              X                               X              X                 X                 X                X
 1001509-03     M.R.      7/7/2017    12/4/2017            3               X                    X             X              X          X            X           X      7                                  X                           X                               X              X                 X                 X                X
 1001536-03     E.T.      7/8/2017   10/18/2017            3               X                    X             X              X          X                        X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1001694-02     M.D.     7/23/2017     3/1/2018            1               X                                                 X          X                        X      3           X                      X              X                                            X              X                 X                 X
 1001774-07     L.S.      7/9/2017    4/19/2018            1               X                    X                            X          X            X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1001780-02     R.S.     5/25/2017    3/30/2018            1               X                    X             X                                      X           X      7           X        X             X              X                                            X                                X                 X                X
 1001793-03     M.M.      7/8/2017    4/19/2018            2               X                    X                            X          X                        X      7           X        X                            X            X                               X              X                 X                 X                X
 1002008-05     G.P.     7/21/2017    1/30/2018            1               X                    X                            X          X            X           X      3                    X             X              X            X               X               X              X                 X                 X                X
 1002065-02     T.Q.     6/25/2017   12/22/2017            1               X                                                 X          X                        X      3           X        X             X              X            X                               X              X                 X                 X
 1002072-01     A.K.     7/21/2017   11/17/2017            1               X                                                 X          X                        X      6     X     X        X                            X            X                               X              X                 X                 X
 1002169-03     R.R.     7/24/2017   12/12/2017            3               X                    X             X              X          X            X           X      9     X                                           X            X                               X              X                 X                 X                X
 1002192-02     E.S.     7/26/2017    12/2/2017            1               X                    X             X              X          X            X                  0                                  X                           X                               X              X                 X                 X                X
 1002475-03     A.C.     7/27/2017     1/4/2018            1               X                    X             X              X          X                        X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1002475-05     P.L.     7/27/2017   11/29/2017            2               X                    X             X              X          X                        X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1002494-03     M.G.      7/8/2017   10/19/2017            2               X                    X                            X          X            X           X     13     X                                                                                        X              X                 X                 X                X
 1002645-03     B.N.     7/24/2017    2/19/2018            1               X                    X             X              X          X            X           X      5           X        X             X              X            X                               X              X                 X                 X                X
 1002847-02     J.L.      8/2/2017    2/15/2019            1               X                    X             X              X          X            X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1002906-03     S.T.      8/7/2017   10/18/2017            2               X                                                 X          X                        X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1002938-05     R.B.     7/30/2017    9/27/2017            2               X                    X                            X          X            X           X      5           X        X             X              X            X                               X              X                 X                 X                X
 1003031-03     J.S.     7/22/2017     2/5/2018            1               X                    X             X              X          X            X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1003042-02     R.R.     7/18/2017    4/25/2018            1               X                    X             X              X          X            X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1003079-09     L.W.      8/3/2017    12/2/2017            2               X                    X             X              X          X            X           X      3                                  X                           X               X               X              X                 X                 X                X
 1003089-03     E.B.      8/7/2017   12/14/2017            3               X                    X             X              X          X            X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1003101-04     A.C.      8/7/2017    1/16/2018            1               X                    X             X              X          X                        X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1003144-02     J.M.      8/1/2017    10/8/2018            1               X                                                 X          X            X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
                                                                                                                                                1 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                        1451
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                            DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                 Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                      Dx Radiculopathy
                                                                                                                                                                                                                                                                                                   Dx Back Problem
                                                                                                                                                                                                                                                                                 Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                      Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                     Dx Extremity/
                                                                                                                                                                                                                                                                                                                     Joint Problem
                                                                                                                                                                       DME Devices




                                                                                                                                                                                          CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                       Compression
                                                                                            Chiropractic




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                                                                                                                                                  EDx Testing




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                                                                                                                                                                         Prescribed




                                                                                                                                                                                                                                                                    Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                    Injections
                                                                                                                                      Any MRI




                                                                                                                                                                          Orthosis
                                                                                                                          Imaging




                                                                                                                                                                          Devices
                                                                                                                                                                DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1003184-06     D.H.      8/6/2017    5/29/2018            1               X                                                 X          X            X           X      5           X                      X              X            X                               X              X                 X                 X                X
 1003216-04     C.B.     7/13/2017    9/28/2018            1               X                    X             X              X          X            X           X      9                                                              X                               X              X                 X                 X                X
 1003226-02     C.A.      8/4/2017    4/27/2018            1               X                    X             X              X          X            X           X     13     X                            X                           X                               X              X                 X                 X                X
 1003233-06     L.G.     7/22/2017     8/6/2019            4               X                    X             X              X          X            X           X      6     X                            X                           X                               X              X                 X                 X                X
 1003298-04     M.P.     7/30/2017    4/24/2018            1               X                                                 X          X                        X      8     X     X        X             X              X            X                               X              X                 X                 X
 1003365-02     C.I.     7/29/2017   12/29/2017            1               X                    X             X              X          X            X           X      6     X              X                            X            X                               X              X                 X                 X                X
 1003399-06     C.C.      8/2/2017    12/8/2017            1               X                    X             X              X          X            X           X      6           X        X             X              X            X                               X              X                 X                 X                X
 1003399-08     B.W.      8/2/2017    4/27/2018            2               X                    X             X              X          X            X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1003617-02     A.D.      8/3/2017    11/2/2017            2               X                    X             X              X          X            X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1003690-02     A.L.      8/7/2017    12/5/2017            1               X                    X             X              X          X            X           X      4           X        X             X              X            X                               X              X                 X                 X
 1003693-02     E.S.     8/13/2017    10/5/2023            1               X                    X                            X          X            X           X      3                                  X              X            X                                              X                 X                 X                X
 1003847-02     A.N.     7/25/2017    5/22/2018            3                                                                 X          X            X                  0                                  X                           X                               X              X                 X                 X                X
 1003870-05     J.V.     8/13/2017    4/17/2018            2               X                    X             X              X          X                        X      4     X     X                                     X            X                                              X                 X                 X                X
 1003956-05     J.M.      8/1/2017    5/17/2018            1               X                    X             X              X          X            X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1003966-02     I.K.     7/27/2017   12/14/2017            1               X                    X             X              X          X            X           X     11     X     X                                     X            X                               X              X                 X                 X                X
 1004010-02      J.P.    8/19/2017   11/28/2017            1               X                    X             X              X          X                        X     11     X     X        X             X              X            X                               X              X                 X                 X
 1004054-02     V.H.     7/20/2017    2/28/2018            1               X                    X             X              X          X            X           X      5     X                            X                           X                               X              X                 X                 X                X
 1004080-02     J.L.     8/14/2017     9/7/2018            1               X                                                 X          X            X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1004109-05     R.A.     8/19/2017   11/19/2018            1               X                                                 X          X            X                  0                                  X              X            X                               X              X                 X                 X                X
 1004279-03     G.C.     8/17/2017     1/6/2018            1               X                    X             X              X          X            X           X     19     X     X        X             X              X            X                                              X                 X                 X                X
 1004279-07     E.M.     8/17/2017   12/15/2017            1               X                    X             X              X          X            X           X     19     X     X        X             X              X            X                                              X                 X                 X
 1004283-03     M.P.      8/2/2017    2/24/2018            5               X                    X             X              X          X            X                  0                                  X                           X               X               X              X                 X                 X                X
 1004375-05     E.J.      8/5/2017    5/14/2019            1               X                    X             X              X          X            X           X      6                                                              X               X               X              X                 X                 X                X
 1004391-02     P.C.     7/12/2017    3/13/2018            1               X                    X             X              X          X            X           X      3           X        X             X              X            X                               X              X                 X                 X                X
 1004403-02     E.B.     8/20/2017    2/24/2018            5               X                    X             X              X          X            X           X      4     X                            X              X            X               X               X              X                 X                 X                X
 1004570-05     K.K.      8/3/2017    2/24/2018            1               X                                  X              X          X                        X      4           X                      X              X            X                               X                                X                 X                X
 1004582-03     C.S.     7/31/2017     2/5/2018            2               X                    X             X              X          X            X           X      1                                  X                           X                               X              X                 X                 X                X
 1004657-04     J.G.     8/11/2017    1/29/2018            2               X                                                 X          X                        X      9     X     X        X             X              X            X                               X              X                                   X
 1004751-04     J.W.     8/18/2017    12/6/2017            1               X                    X             X              X          X            X           X      7                    X                            X                                            X              X                 X                 X                X
 1004764-02     G.P.     8/13/2017    3/26/2018            1               X                                                 X          X                        X      1                                                              X                               X              X                 X                 X                X
 1004922-02     M.B.     8/16/2017    4/10/2018            2               X                                  X              X          X            X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1004985-03     M.R.     8/11/2017    1/24/2018            1               X                                                 X          X            X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1005126-02     S.C.      9/1/2017    1/13/2018            1               X                    X             X              X          X                               0                                                              X                               X              X                 X                 X                X
 1005163-02     R.G.     8/25/2017   11/21/2017            1               X                    X             X              X          X            X           X      6           X        X             X              X            X               X               X              X                 X                 X                X
 1005192-03     G.F.     8/18/2017    1/16/2018            1               X                    X             X              X          X            X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1005260-02     B.Q.     8/14/2017    8/20/2018            1               X                    X                            X          X                        X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1005307-03     K.F.      9/6/2017   11/18/2017            1               X                    X             X              X          X            X           X      2                                  X                           X                               X              X                 X                 X                X
 1005310-05     B.S.      8/9/2017    7/10/2018            2               X                    X             X              X          X            X           X     11                                  X                           X               X               X              X                 X                 X                X
 1005351-03     C.W.     8/27/2017    2/12/2018            1               X                                  X              X          X            X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1005382-02     A.D.      9/8/2017   12/20/2017            1               X                    X             X              X          X            X           X      6           X        X             X              X            X                               X              X                 X                 X                X
 1005452-03     J.A.     8/22/2017    1/11/2018            3               X                    X             X              X          X                        X      8                                                              X                               X              X                 X                 X                X
 1005452-05     W.A.     8/22/2017    1/11/2018            3               X                    X             X              X          X            X           X      7                                                              X                               X              X                 X                 X                X
 1005527-02     J.G.      9/1/2017    1/15/2018            1               X                    X             X              X          X            X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1005535-02     C.H.      9/7/2017    3/13/2018            3               X                                                 X          X            X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                2 of 133                                                                                                                                                                             Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                            DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                        Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                       Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                           Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1005616-05     J.R.      8/31/2017   12/15/2017            1               X                    X             X              X          X                        X     15           X        X             X              X            X                                              X                 X                 X                X
 1005849-03     J.L.       9/2/2017     4/5/2018            1               X                    X             X              X          X            X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1005857-02     A.P.      8/24/2017   12/19/2018            1               X                                                 X          X            X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1005882-04     F.S.      9/11/2017    2/22/2018            1               X                    X                            X          X            X           X      6           X        X             X              X            X                               X              X                 X                 X
 1005920-09     F.V.      8/27/2017   12/14/2017            1               X                    X             X              X          X            X           X      6           X        X                            X            X                               X              X                 X                 X                X
 1005964-06     T.P.       9/8/2017    2/16/2018            1               X                                                 X          X                        X      6     X     X        X                            X                                            X                                                  X
 1005980-02     D.A.      9/10/2017     4/5/2018            1               X                    X             X              X          X            X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1006312-02     J.M.      9/11/2017     3/8/2018            1               X                    X             X              X          X                        X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1006378-07     R.T.      9/15/2017    12/1/2017            7               X                    X             X              X          X            X           X      3     X     X                      X              X            X               X               X              X                 X                 X                X
 1006390-02     L.G.      8/23/2017    1/14/2019            1               X                    X             X              X          X            X           X      3     X     X                                     X            X                               X              X                 X                 X                X
 1006427-02     K.H.      9/15/2017   11/29/2018            1               X                    X             X              X          X            X           X     11     X     X                      X                                           X               X              X                 X                 X                X
 1006458-02     A.B.      9/12/2017   11/20/2017            3               X                    X             X              X          X            X           X     11                                                                                              X              X                 X                 X                X
 1006548-02     M.G.       9/4/2017     2/9/2019            2               X                    X             X              X          X            X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1006640-05     J.A.      9/16/2017   11/28/2017            1               X                    X                            X          X            X           X      5           X        X             X              X            X                               X              X                 X                 X
 1006647-04     G.B.      9/15/2017    5/14/2018            1                                                                 X          X                        X      2           X                      X              X            X                               X              X                 X                 X
 1006717-04     L.P.       9/3/2017    12/9/2017            4               X                    X                            X          X                        X      8           X        X             X              X            X                               X              X                 X                 X                X
 1006720-04     E.P.      9/21/2017    8/27/2018            5               X                    X             X              X          X            X           X     19     X     X        X             X              X            X               X               X              X                 X                 X                X
 1006743-04     D.W.      9/16/2017   12/14/2017            2               X                    X             X              X          X            X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1006901-02     D.D.      9/17/2017     3/8/2018            1               X                    X             X              X          X                        X      7           X        X             X              X            X                               X              X                 X                 X                X
 1006902-03     Y.M.      9/22/2017     2/8/2018            1               X                    X             X              X          X                        X      4           X                      X              X            X                               X              X                 X                 X                X
 1006967-06     J.S.       9/8/2017    5/31/2018            1               X                    X             X              X          X                        X      6           X        X             X              X            X                               X              X                 X                 X                X
 1007125-03     S.S.      9/20/2017     2/5/2018            3               X                    X             X              X          X            X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1007172-02     R.C.       9/7/2017    4/30/2018            1               X                    X                            X          X            X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1007219-05     K.D.      9/14/2017     5/6/2018            1               X                    X             X              X          X            X           X     13                                                              X                               X              X                 X                 X                X
 1007252-05     R.C.      8/30/2017     4/3/2018            1               X                                                 X          X            X           X      3     X     X                      X              X            X                               X              X                                   X                X
 1007260-02     E.S.      9/16/2017   11/28/2017            1               X                                                 X          X                        X      1           X                      X              X            X                               X                                                  X
 1007269-03     M.E.       9/9/2017   11/13/2017            4               X                    X             X              X          X            X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1007370-02     M.R.      9/20/2017    4/11/2018            1               X                    X                            X          X            X           X      3                                                              X                               X              X                 X                 X                X
 1007647-03     F.N.      9/23/2017    2/17/2018            1               X                    X             X              X          X            X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1007717-02     J.M.      9/15/2017    3/26/2018            1               X                    X                            X          X                        X      5           X        X                            X            X                               X              X                 X                 X                X
 1007744-02     A.C.      9/14/2017    12/5/2017            1               X                    X                            X          X                        X      8     X              X             X              X            X                               X              X                 X                 X                X
 1007841-02     A.R.      9/23/2017     1/4/2018            1               X                    X                            X          X                        X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1007975-02     S.L.      10/3/2017   12/14/2017            1               X                    X             X              X          X            X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1008006-01     B.M.      9/17/2017   12/22/2017            1               X                                  X              X          X                        X      4           X        X             X              X                                            X              X                 X                 X
 1008020-02     C.G.      10/5/2017   10/31/2018            1               X                    X             X              X          X            X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1008089-01     H.K.      9/13/2017    5/10/2018            1               X                    X                            X          X            X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1008176-01     D.C.       9/1/2017    1/16/2018            1               X                    X             X              X                       X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1008363-01     B.G.       9/2/2017    2/14/2018            1               X                                  X              X          X                        X     12                                                              X                               X              X                 X                 X                X
 1008444-01     J.Y.      10/6/2017    3/19/2018            3               X                    X                            X          X            X                  0                                  X                           X                               X              X                 X                                  X
 1008484-02     L.F.      10/7/2017    4/27/2018            1               X                                                 X          X            X           X      3           X                      X              X            X                               X              X                 X                 X                X
 1008491-02     W.M.     10/15/2017    2/18/2018            1               X                    X             X              X          X            X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1008491-03     C.S.     10/15/2017    6/29/2018            1               X                                                 X          X                        X      7           X        X             X              X            X                                              X                 X                 X                X
 1008494-05     C.M.     10/13/2017    4/26/2018            1               X                    X             X              X          X            X           X     14     X                                           X            X                               X              X                 X                 X                X
 1008566-04     Y.L.     10/11/2017   12/27/2017            1               X                                  X              X          X            X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                 3 of 133                                                                                                                                                                             Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                            DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                        Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                       Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                           Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1008596-01     A.S.      10/7/2017    1/19/2018            1               X                                                 X                                   X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1008625-02     C.R.     10/17/2017   12/23/2017            2               X                    X             X              X                       X           X      2                                                              X                               X              X                 X                 X                X
 1008627-02     Y.D.      9/29/2017    12/2/2017            1               X                    X             X              X          X            X           X     18           X        X             X              X            X                               X              X                 X                 X                X
 1008656-01     D.A.      9/26/2017     3/5/2018            3               X                                                 X                       X                  0                                  X                           X                               X              X                 X                                  X
 1008688-01     J.G.     10/14/2017    2/15/2018            1               X                    X             X              X          X                        X      4           X                                     X                                            X              X                 X                 X                X
 1008767-01     F.H.     10/10/2017   12/12/2017            1               X                    X             X              X          X            X           X      4     X     X                                                  X                               X              X                 X                 X                X
 1008772-02     E.B.      10/1/2017    2/26/2019            1               X                    X             X              X          X            X           X      6     X                                                                                        X              X                 X                 X                X
 1008782-01     F.G.     10/14/2017   12/18/2017            2               X                    X             X              X          X            X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1008799-01     B.J.      9/16/2017   12/14/2017            1               X                    X             X              X          X                        X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1008809-02      I.L.     9/24/2017    3/14/2018            1               X                    X             X              X          X            X           X      4           X        X             X              X            X                               X              X                 X                 X                X
 1008867-01     S.B.     10/12/2017    11/6/2018            6               X                    X             X              X          X            X           X      6                                  X                           X               X               X              X                 X                 X                X
 1008869-01     K.C.      10/1/2017    12/4/2017            3               X                    X             X              X          X            X           X     11                                                              X                               X              X                 X                 X                X
 1008874-01     H.B.     10/14/2017   12/16/2017            1               X                                                 X          X                        X      1                                                              X                               X                                X                 X                X
 1008875-01     O.G.     10/14/2017     1/4/2018            1               X                    X                            X          X            X           X      7           X        X             X              X            X                               X              X                 X                 X                X
 1008889-01     C.L.     10/19/2017    3/19/2018            1               X                    X                            X          X            X           X      4           X        X             X              X            X                               X              X                 X                 X                X
 1008949-04     A.W.      10/6/2017    5/15/2018            3               X                    X                            X          X            X           X      1                                  X                           X                               X              X                 X                 X                X
 1009046-01     S.D.      8/23/2017    11/1/2019            1               X                    X                            X          X                        X      9           X        X             X              X                                                           X                 X                 X                X
 1009048-01     M.S.     10/10/2017    5/14/2018            1               X                                                 X          X                        X      6     X     X        X             X              X                                            X              X                 X                 X
 1009053-04     K.R.     10/11/2017    3/29/2018            1               X                    X             X              X          X            X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1009055-02     J.D.      10/1/2017    1/15/2019            1               X                    X             X              X          X            X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1009137-02     D.P.      10/3/2017    3/30/2018            2               X                                                 X          X            X           X      2     X     X                                     X            X                               X              X                 X                 X                X
 1009169-01     K.C.      9/27/2017    12/1/2017            3               X                    X             X              X          X            X           X     12                                                                                              X              X                 X                 X                X
 1009290-01     J.R.      10/9/2017    1/16/2018            3               X                    X             X              X          X            X           X     14     X                                                        X                               X              X                 X                 X                X
 1009290-02     C.C.      10/9/2017    1/16/2018            3               X                    X             X              X          X            X           X     14     X                                                        X                               X              X                 X                 X                X
 1009347-01     J.R.     10/18/2017    2/20/2018            2               X                    X                            X          X            X           X      5                    X             X              X            X                                              X                 X                 X
 1009387-01     M.O.     10/23/2017    3/13/2018            2               X                    X             X              X          X            X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1009469-01     R.D.     10/10/2017   12/16/2017            8               X                    X             X              X          X            X           X     21     X     X        X             X              X            X               X               X              X                 X                 X                X
 1009720-01     J.C.     10/20/2017     6/8/2018            1               X                    X             X              X          X            X           X      4           X        X             X              X            X                               X              X                 X                 X                X
 1009739-02     T.B.     10/26/2017    1/12/2018            3               X                    X             X              X          X            X           X     11                                  X                                                           X              X                 X                 X                X
 1009801-01     M.L.     10/26/2017    1/27/2018            1               X                    X             X              X          X            X           X      6                    X             X              X            X                               X              X                 X                 X                X
 1009835-01     D.C.      10/3/2017    1/26/2018            1               X                    X                            X          X            X           X      7           X        X             X              X            X                               X              X                 X                 X                X
 1009853-02     K.J.     10/13/2017     2/2/2018            2               X                    X                            X          X            X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1009855-01     D.V.     10/18/2017    1/26/2018            1               X                    X             X              X          X            X           X      7           X        X             X              X            X                               X              X                 X                 X                X
 1009855-02     D.S.     10/18/2017    1/26/2018            2               X                    X                            X          X            X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1009898-01     A.V.      10/3/2017    12/3/2018            1               X                    X             X              X          X            X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1009904-01     A.O.     10/29/2017    5/11/2018            1               X                    X             X              X          X                        X     12           X        X             X              X                                            X              X                 X                 X
 1009956-01     O.G.     10/19/2017    5/24/2018            1               X                    X             X              X          X            X           X     10           X                                     X            X                               X              X                 X                 X                X
 1010001-02     G.F.     10/31/2017   12/29/2017            1               X                                                 X          X            X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1010145-01     J.S.     10/14/2017   12/12/2017            1               X                    X                            X          X                        X      1           X                      X              X            X                                              X                 X                 X                X
 1010199-01     S.M.     10/18/2017    3/12/2019            1               X                    X             X              X          X            X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1010285-02     P.L.     10/30/2017     1/3/2018            1               X                    X             X              X          X            X           X     11     X     X                                     X            X                               X              X                 X                 X                X
 1010327-02     J.B.     10/31/2017    1/26/2018            1               X                    X             X              X          X            X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1010348-01      I.S.    10/29/2017    2/25/2019            1               X                                                 X          X            X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1010508-01     R.C.     10/28/2017   12/19/2017            2               X                    X             X              X          X                        X      7                    X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                 4 of 133                                                                                                                                                                             Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                            DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                        Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                       Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                           Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1010509-01     J.G.     10/31/2017   12/19/2017            1               X                    X             X              X          X            X           X      9     X              X             X              X            X               X               X              X                 X                 X                X
 1010513-03     R.P.     10/24/2017    1/16/2018            4               X                    X             X              X          X            X           X     17     X     X                                     X                                            X              X                 X                 X                X
 1010521-01     J.A.      11/5/2017    2/20/2018            3               X                    X             X              X          X            X           X     18     X                                                        X                               X              X                 X                 X                X
 1010521-02     R.J.      11/5/2017    3/29/2018            2               X                    X             X              X          X            X           X     16     X                                                                                        X              X                 X                 X                X
 1010555-01     P.S.     10/30/2017    8/29/2018            3               X                    X             X              X          X                               0                                                              X                               X              X                 X                 X                X
 1010645-03     M.Y.     10/27/2017    5/21/2018            1               X                    X             X              X          X            X           X      4           X                      X              X            X                               X              X                 X                 X                X
 1010774-01     S.R.     10/14/2017   12/13/2017            1               X                    X             X              X          X            X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1010833-03     J.K.      11/4/2017    6/25/2018            1               X                    X                            X          X                        X      4     X     X                      X              X            X                               X              X                 X                 X
 1010850-01     A.N.      9/26/2017     7/1/2019            1               X                    X             X              X          X            X           X      9           X        X             X              X            X                               X              X                 X                 X                X
 1010932-01     J.P.      11/4/2017    2/17/2018            3               X                    X             X              X          X            X           X      2                                                              X                               X              X                 X                 X                X
 1010932-02     E.T.      11/4/2017   11/28/2018            1               X                    X             X              X          X            X           X     16           X        X             X              X            X                               X              X                 X                 X                X
 1011045-01     F.L.     10/30/2017     3/6/2018            3               X                                                 X          X            X           X      1                                  X                           X               X               X              X                 X                 X                X
 1011081-02     P.A.     10/28/2017   12/13/2017            2               X                    X                            X          X            X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1011085-01     P.M.     11/11/2017     2/1/2018            1               X                    X             X              X          X            X           X     10     X     X                      X              X            X                               X              X                 X                 X                X
 1011136-01     F.M.     11/10/2017    1/15/2018            2               X                    X             X              X          X            X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1011191-01     Z.D.      11/6/2017    2/15/2018            1               X                    X             X              X          X            X           X      6           X        X                            X            X                               X              X                 X                 X                X
 1011207-01     V.S.      11/9/2017     2/2/2018            1               X                    X             X              X          X            X           X     19     X     X        X                            X                                            X              X                 X                 X                X
 1011216-01     M.R.     11/10/2017   11/13/2019            1               X                    X             X              X          X                        X      7     X     X                                     X            X                               X              X                 X                 X                X
 1011281-03     M.S.     10/23/2017    2/24/2018            1               X                    X             X              X          X            X           X      6           X        X             X              X            X                               X              X                 X                 X                X
 1011334-02     D.M.     10/27/2017    5/15/2018            2               X                    X             X              X          X            X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1011434-02     D.D.      11/5/2017     2/2/2018            1               X                    X             X              X          X            X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1011446-02     K.S.      11/8/2017   11/20/2018            1               X                    X             X              X          X            X                  0                                  X                           X               X               X              X                 X                 X                X
 1011449-02     B.T.      11/5/2017    8/16/2018            1               X                                                 X          X            X           X      7           X        X             X              X            X                               X              X                 X                 X                X
 1011449-05     J.D.      11/5/2017    2/22/2018            1               X                    X                            X          X                        X      5           X        X             X              X            X                               X              X                 X                 X
 1011453-03     D.G.      11/5/2017     2/6/2018            3               X                    X             X              X          X            X           X     15                                  X                           X                               X              X                 X                 X                X
 1011506-02     A.A.     11/15/2017    2/12/2018            1               X                    X             X              X          X            X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1011511-03     L.V.     11/17/2017    2/21/2018            1               X                    X             X              X          X            X           X      8                                                              X                               X              X                 X                                  X
 1011527-02     E.D.     10/22/2017   12/29/2017            1               X                                  X              X          X            X           X      9     X                            X              X            X                               X              X                 X                 X                X
 1011566-02     J.Q.     11/16/2017     2/2/2018            1               X                                  X              X          X                        X      5           X        X             X              X            X                               X                                X                 X
 1011572-03     T.S.     10/28/2017    1/19/2018            2               X                    X             X              X          X            X           X     15                                  X                           X                               X              X                 X                                  X
 1011579-01     D.G.     11/20/2017    6/13/2018            1               X                    X             X              X          X            X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1011579-03     G.G.     11/20/2017    1/24/2018            1               X                    X             X              X          X            X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1011614-01     J.S.     11/15/2017    4/17/2018            1               X                                  X              X          X                        X      5     X     X        X                            X            X                               X              X                 X                 X
 1011618-02     E.C.     10/26/2017    6/14/2018            1               X                                                 X          X            X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1011634-02     Z.M.     11/21/2017     3/9/2018            2               X                    X             X              X          X            X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1011669-02     E.D.      11/2/2017     2/7/2018            1               X                    X                            X          X            X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1011681-03     N.A.     11/12/2017    1/30/2018            1               X                    X             X              X          X                        X     14     X     X                                     X            X                               X              X                 X                 X                X
 1011688-09     Y.N.     10/26/2017    1/23/2018            3               X                    X             X              X          X                        X      8                                                              X                               X              X                 X                 X                X
 1011698-02     A.V.     10/16/2017     2/8/2022            1               X                                  X              X          X            X           X      4     X                                           X            X                               X              X                 X                 X                X
 1011862-01     F.M.      11/9/2017    2/12/2018            4               X                    X                            X          X            X                  0                                  X                           X                               X              X                 X                 X                X
 1011885-01     F.R.      11/5/2017     4/5/2018            1               X                    X             X              X          X            X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1011922-01     M.V.     11/16/2017    3/15/2018            1               X                    X             X              X          X                        X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1012006-06     M.V.     11/24/2017    3/22/2019            1               X                    X             X              X          X            X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1012034-02     K.M.      11/2/2017    1/29/2018            2               X                    X                            X          X            X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                 5 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                         1455
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                            DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                        Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                       Arthroscopy
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                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                       Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                           Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1012215-02     T.R.     11/23/2017    1/11/2018            5               X                    X             X              X          X            X           X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1012236-04     V.T.      11/8/2017    10/5/2018            1               X                    X             X              X          X            X           X     14     X     X        X             X              X                                            X              X                 X                 X                X
 1012258-01     M.C.      11/5/2017    2/21/2018            3               X                                                 X          X            X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1012289-03     M.M.     11/22/2017     3/6/2018            2               X                    X             X              X          X            X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1012291-02     J.B.     11/15/2017    1/15/2018            4               X                    X             X              X          X            X           X     13           X        X                            X            X                               X              X                 X                 X                X
 1012350-01     F.G.     11/14/2017    5/24/2018            1               X                    X             X              X                                   X      4           X        X             X              X            X                               X              X                 X                 X                X
 1012485-01     K.S.     11/30/2017    4/12/2018            1               X                                                 X          X            X           X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1012501-01     R.P.      12/1/2017     5/3/2018            1               X                    X             X              X          X                        X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1012517-01     A.S.     11/12/2017    6/18/2018            1               X                    X             X              X          X            X           X      8     X     X        X                            X            X                                              X                 X                 X                X
 1012528-09     T.S.     11/27/2017    2/12/2018            1               X                    X             X              X          X            X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1012628-01     J.H.     11/19/2017     6/6/2018            1               X                    X             X              X          X            X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1012629-02     S.B.     11/16/2017    7/13/2018            1               X                    X             X              X          X            X           X      8           X        X             X              X            X                               X              X                 X                 X                X
 1012705-02     K.M.      12/2/2017    2/14/2018            1               X                    X             X              X          X            X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1012743-01     L.T.     11/28/2017     4/9/2018            1               X                    X             X              X          X                        X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1012743-04     L.T.     11/28/2017    1/25/2018            1               X                    X             X              X          X            X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1012748-02     C.G.     11/20/2017   12/26/2017            1               X                    X             X              X          X                        X      7           X        X             X              X            X                               X              X                 X                 X                X
 1012790-01     A.S.      12/3/2017     9/7/2018            1               X                    X             X              X          X            X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1012818-01     A.C.     11/23/2017    3/29/2018            1               X                    X                            X          X            X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1012843-02     J.S.     11/25/2017     1/9/2019            1               X                    X             X              X          X            X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1012859-06     O.H.      12/1/2017    6/23/2018            1               X                    X             X              X          X            X           X      4                                                                              X               X              X                 X                 X                X
 1012972-02     M.R.     11/30/2017    6/11/2018            1               X                    X             X              X          X            X           X      6                                  X                           X               X               X              X                 X                 X                X
 1012981-01     N.A.     11/28/2017     4/8/2018            1               X                    X             X              X          X            X           X      2                                  X                           X                               X              X                 X                 X                X
 1013020-02     A.M.      12/9/2017    4/17/2018            1               X                    X             X              X          X            X           X     21     X     X        X                            X                                            X              X                 X                 X                X
 1013028-01     J.A.      12/4/2017    2/10/2018            1               X                    X             X              X          X            X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1013030-01     S.G.      12/5/2017    4/25/2018            1               X                    X                            X          X            X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1013111-01     L.B.     11/25/2017    5/12/2018            6               X                    X             X              X          X            X           X      7     X                                                        X                               X              X                 X                 X                X
 1013116-01     C.C.     11/28/2017    3/11/2019            2               X                    X             X              X          X                        X     11                                  X                           X               X               X              X                 X                 X                X
 1013181-01     F.C.     11/27/2017    4/14/2018            5               X                    X             X              X          X            X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1013234-01     Z.J.      12/7/2017    3/12/2018            2               X                                  X              X          X            X           X      2                                                 X            X                               X              X                 X                 X                X
 1013311-01     R.V.     11/25/2017    4/17/2018            1               X                    X             X              X          X                        X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1013311-02     R.B.     11/25/2017    5/31/2018            1               X                    X             X              X          X            X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1013483-01     J.F.      12/4/2017    4/11/2019            2               X                    X             X              X                                   X      9           X        X             X              X            X               X               X              X                 X                 X                X
 1013489-01     B.C.      12/4/2017    2/19/2018            2               X                    X             X              X          X            X           X     15     X                                                                                        X              X                 X                 X                X
 1013491-02     M.K.     12/11/2017    2/10/2018            3               X                    X             X              X          X            X           X      2                                                              X                               X              X                 X                 X                X
 1013498-01     S.B.     12/14/2017    1/18/2023            1               X                                                 X          X                               0                                  X                           X                               X              X                 X                                  X
 1013515-01     N.Q.      12/4/2017    2/17/2018            1               X                    X             X              X          X            X           X      1                                                              X                               X              X                 X                 X                X
 1013564-01     A.M.     12/10/2017    8/27/2018            1               X                    X             X              X          X            X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1013599-02     E.H.     12/10/2017    3/21/2018            1               X                    X             X              X          X            X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1013660-02     N.H.      12/9/2017    3/26/2018            1               X                                                 X          X            X                  0                                                 X            X                               X              X                 X                 X                X
 1013673-01     L.V.     11/30/2017   11/28/2018            1               X                    X             X              X          X            X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1013691-01     A.B.     11/29/2017    6/29/2018            1               X                    X             X              X          X            X           X      2     X     X                                     X            X                               X              X                 X                 X                X
 1013701-01     J.R.      12/8/2017     8/2/2019            1               X                    X             X              X          X                        X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1013734-01     C.J.     12/15/2017    3/13/2018            1               X                    X             X              X          X                        X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1013743-02     J.D.     12/16/2017    1/24/2018            1               X                    X             X              X          X            X           X      6     X     X        X                            X            X                               X              X                 X                 X                X

                                                                                                                                                 6 of 133                                                                                                                                                                             Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                            DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                            Acupuncture




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                                                                                             Chiropractic




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                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                       Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                           Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1013747-01     N.V.     12/11/2017    1/30/2018            1               X                    X                            X          X            X           X      3                    X             X              X            X                               X              X                 X                 X                X
 1013755-01     I.O.      12/8/2017    6/28/2019            1               X                    X                            X          X            X           X     12     X              X             X              X            X                               X              X                 X                 X                X
 1013825-02     A.B.      12/9/2017    3/22/2018            2               X                                                 X          X                        X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1013909-02     P.T.     11/30/2017    4/30/2018            1               X                    X             X              X          X            X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1013916-01     S.H.     12/15/2017    9/27/2018            1               X                    X             X              X          X            X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1013957-01     A.E.     11/25/2017   11/18/2018            1               X                    X                            X          X            X           X      1                                                 X            X                               X              X                 X                 X                X
 1013970-01     A.G.     12/10/2017    6/29/2018            1               X                    X             X              X          X            X           X      9           X        X             X              X            X                               X              X                 X                 X                X
 1014036-01     J.M.     11/28/2017   11/29/2018            1               X                    X             X              X          X                        X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1014078-01     J.P.     12/12/2017     3/2/2018            1               X                    X             X              X          X            X           X      9     X     X        X             X              X                                            X              X                 X                 X                X
 1014085-01     K.M.      12/9/2017    4/30/2018            1               X                                                 X                                   X      6     X     X        X             X              X            X                               X                                                  X
 1014092-03     J.T.     11/16/2017    5/11/2018            1               X                    X             X              X          X                        X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1014133-02     E.P.     12/13/2017    2/24/2018            1               X                                                 X          X                        X      4           X        X             X              X            X                               X                                                  X
 1014152-01     O.A.     12/17/2017    7/28/2019            2                                                                 X                                          0                                                              X                               X              X                 X                 X                X
 1014166-02     T.N.     11/28/2017     9/9/2019            4               X                    X             X              X          X            X                  0                                  X                           X                               X              X                 X                 X                X
 1014174-01     B.R.     11/23/2017     3/7/2018            1               X                    X             X              X          X            X           X      4     X     X                                     X            X                               X              X                 X                 X                X
 1014184-01     H.R.     12/15/2017    10/9/2018            1               X                    X             X              X          X            X           X      1           X                                                  X                               X              X                 X                 X                X
 1014292-02     L.A.     12/18/2017    2/13/2018            1               X                    X             X              X          X            X           X      4                    X             X              X            X                               X              X                 X                 X                X
 1014308-02     M.R.      12/3/2017    3/22/2018            2               X                    X             X              X          X            X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1014318-01     J.D.      12/6/2017     8/7/2018            1               X                    X             X              X          X            X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1014346-01     J.M.     12/19/2017     2/1/2018            1               X                    X             X              X          X                        X      4           X                                     X            X                               X              X                 X                 X                X
 1014414-02     A.B.     11/27/2017    2/19/2018            1               X                    X             X              X          X            X           X     14     X     X                                     X            X                               X              X                 X                 X                X
 1014463-04     J.T.      12/7/2017    2/25/2018            1               X                    X             X              X          X            X           X      4     X     X        X             X              X            X                                              X                 X                 X                X
 1014467-01     C.C.     12/21/2017    4/16/2018            1               X                                                 X          X            X           X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1014484-02     X.Z.     12/23/2017    2/15/2018            1               X                    X             X              X          X                        X      5           X        X                            X            X                               X              X                 X                 X                X
 1014566-01     A.D.     12/11/2017    2/26/2018            3               X                    X             X              X          X            X           X      6     X                            X                           X                               X              X                 X                 X                X
 1014589-02     Y.C.     12/12/2017    3/16/2018            1               X                    X             X              X          X                        X      1           X                      X              X            X                               X              X                 X                 X                X
 1014623-01     M.B.     12/24/2017     5/1/2019            3               X                    X                            X          X            X           X      1                                                              X                               X              X                 X                 X                X
 1014749-01     B.B.     12/10/2017    4/27/2018            1               X                                                 X          X            X           X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1014821-02     P.J.     12/23/2017    4/27/2018            1               X                    X             X              X          X            X           X      2                                                              X                                              X                 X                 X                X
 1014848-02     G.H.     12/11/2017    5/12/2018            2               X                    X             X              X          X                        X     10                                  X                           X                               X              X                 X                                  X
 1014855-02     T.E.     11/23/2017    3/20/2018            4               X                    X             X              X          X            X           X      2                                  X                           X               X               X              X                 X                 X                X
 1014956-02     M.C.     12/23/2017    2/21/2018            1               X                    X             X              X          X                        X      2           X                                     X            X                               X              X                 X                 X
 1014998-07     K.P.     12/16/2017     8/7/2018            1               X                    X             X              X          X            X                  0                                  X                           X                               X              X                 X                 X                X
 1015164-02     C.B.     12/21/2017    9/18/2018            1               X                    X             X              X          X            X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1015179-01     N.M.     12/27/2017    2/27/2018            1               X                    X             X              X          X            X           X      9                    X             X              X            X                               X              X                 X                 X                X
 1015188-01     R.S.     12/23/2017    10/9/2018            2               X                    X             X              X          X            X           X     11           X                      X              X            X                               X              X                 X                 X                X
 1015399-01     J.P.      12/6/2017    2/10/2018            1               X                    X             X              X          X                        X     12     X                                                        X                               X              X                 X                 X                X
 1015408-02     K.M.       1/6/2018    5/14/2018            2               X                    X             X              X          X            X           X     17     X     X        X                            X            X                                              X                 X                 X                X
 1015476-01     A.H.       1/8/2018    4/24/2018            1               X                    X             X              X          X            X                  0                                  X              X            X               X               X              X                 X                 X                X
 1015509-01     M.C.       1/2/2018    3/30/2018            1               X                    X             X              X          X            X           X      7     X     X        X             X              X                                            X              X                 X                 X                X
 1015569-02     M.Z.      1/15/2018    9/26/2018            1               X                    X             X              X          X            X                  0                                                              X                               X              X                 X                 X                X
 1015569-03     A.K.      1/15/2018    9/26/2018            1               X                    X             X              X          X            X                  0                                                              X                               X              X                 X                 X                X
 1015592-01     J.M.      12/8/2017     4/5/2019            1               X                    X             X              X          X            X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1015616-01     M.L.     12/11/2017     2/7/2019            1               X                                                 X          X            X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X

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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                            DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                      Visits to ASCs




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                                                                                                                                                                        DME Devices




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                                                                                                            Acupuncture




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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                           Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1015653-01     K.T.       1/8/2018    3/20/2018            1               X                    X             X              X          X            X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1015667-01     E.R.       1/4/2018     7/6/2018            2               X                    X                            X          X            X           X      9           X        X             X              X            X                               X              X                 X                 X                X
 1015703-02     L.D.     12/21/2017    4/17/2018            1               X                    X             X              X          X            X           X     10     X     X        X                            X                                            X              X                 X                 X                X
 1015709-02     J.S.     12/13/2017     3/8/2018            4               X                    X             X              X          X            X           X     17     X              X                            X            X                               X              X                 X                 X                X
 1015723-01     J.E.      12/7/2017     2/2/2018            2               X                    X             X              X          X            X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1015741-04     M.A.      1/11/2018     7/6/2018            1               X                    X             X              X          X            X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1015751-05     F.B.       1/7/2018     6/4/2018            1               X                    X             X              X                       X           X      9           X        X             X              X            X               X               X              X                 X                 X                X
 1015763-01     M.W.       1/4/2018   11/26/2018            1               X                    X             X              X          X            X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1015764-01     J.L.      8/23/2017    4/11/2018            2               X                                                 X          X            X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1015900-02     I.C.       1/1/2018    4/15/2018            1               X                    X             X              X          X            X           X      4     X              X                            X            X                               X              X                 X                 X                X
 1015908-02     J.Z.      1/10/2018    4/24/2018            1               X                    X             X              X          X            X           X      7     X              X             X              X            X                               X              X                 X                 X                X
 1015923-03     C.M.       1/9/2018    6/22/2018            1               X                    X             X              X          X            X           X     12     X     X                                     X            X                               X              X                 X                 X                X
 1015943-01     E.H.      12/7/2017     4/5/2018            3               X                    X             X              X          X            X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1015971-01     A.M.       1/5/2018    3/22/2018            1               X                    X             X              X          X                        X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1016024-01     W.R.      1/11/2018    9/13/2021            1               X                    X                            X          X                        X      3                                  X                           X                               X              X                 X                                  X
 1016156-01     P.P.       1/9/2018     5/4/2018            1               X                    X             X              X          X                        X     10     X     X                      X              X            X                               X              X                 X                 X                X
 1016201-01     R.V.     12/13/2017     3/1/2018            1               X                    X             X              X          X            X           X      8                                  X                           X                               X              X                 X                 X                X
 1016247-01     S.B.       1/4/2018     8/7/2018            1               X                    X             X              X          X            X           X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1016247-03     G.H.       1/4/2018    4/17/2018            1               X                    X             X              X          X            X           X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1016267-01     B.C.      1/18/2018     3/6/2018            1               X                    X                            X          X            X           X      1           X                      X              X            X                               X              X                 X                 X
 1016303-01     Y.J.      1/14/2018    4/24/2018            3               X                    X             X              X          X            X           X     12           X        X             X              X            X                               X              X                 X                 X                X
 1016303-02     A.A.      1/14/2018    4/24/2018            3               X                    X             X              X          X            X           X      7                                  X                           X                               X              X                 X                 X                X
 1016303-03     J.A.      1/14/2018    3/24/2018            3               X                    X             X              X          X            X           X      6                                  X                           X                               X              X                 X                 X                X
 1016353-01     T.D.       1/6/2018   11/16/2019            1               X                    X             X              X          X                        X     18     X     X        X                            X            X               X               X              X                 X                 X                X
 1016403-01     J.F.       1/3/2018     3/1/2018            1               X                    X             X              X          X            X           X      5           X        X             X              X            X                               X              X                 X                 X                X
 1016405-02     D.M.      1/17/2018    10/5/2018            2               X                    X             X              X          X            X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1016495-01     A.R.      1/14/2018    1/29/2019            1                                                                 X          X            X           X      5           X                                     X                                            X              X                 X                 X                X
 1016535-01     F.R.      1/18/2018    4/16/2018            1               X                    X             X              X          X            X           X      7           X        X             X              X            X                                              X                 X                 X                X
 1016579-01     J.P.      1/10/2018    3/15/2018            4               X                    X             X              X          X            X           X     18           X        X             X              X            X                               X              X                 X                 X                X
 1016579-02     C.P.      1/10/2018    4/19/2018            3               X                    X             X              X          X            X           X     12                                                                                              X              X                 X                 X                X
 1016614-02     D.P.     12/27/2017    4/16/2018            1               X                    X             X              X          X                        X      5           X        X             X              X            X                               X              X                 X                 X                X
 1016639-02     M.M.      1/10/2018    3/19/2018            3               X                    X             X              X          X            X           X      7                                                              X                               X              X                 X                 X                X
 1016715-01     H.G.      1/18/2018     5/8/2018            1               X                    X             X              X          X            X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1016898-01     J.S.       1/2/2018    4/24/2018            1               X                    X             X              X          X                        X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1016908-03     S.W.      1/18/2018   11/15/2019            1               X                    X             X              X          X            X           X      5                    X                            X            X                               X              X                 X                 X                X
 1016930-01     J.N.       1/4/2018     4/5/2018            1               X                    X             X              X          X                        X      4           X        X                            X            X                               X              X                 X                 X                X
 1016931-02     R.M.     12/28/2017    5/12/2018            5               X                    X             X              X          X            X           X      3                                                              X                               X              X                 X                 X                X
 1016942-01     T.P.      1/11/2018    3/28/2018            6               X                    X             X              X          X                        X     25     X     X        X             X              X            X               X               X              X                 X                 X                X
 1016975-01     H.D.      1/15/2018    8/31/2018            1               X                    X             X              X          X            X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1017017-01     D.Z.      1/27/2018    4/16/2018            1               X                                  X              X          X            X           X     11     X     X        X             X              X            X                                              X                 X                 X                X
 1017019-01     B.P.      12/3/2017    4/19/2018            1               X                    X             X              X          X                        X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1017084-01     M.O.      1/15/2018   11/16/2018            1               X                                                 X          X                        X      1           X                      X                           X               X               X              X                 X                                  X
 1017138-02     J.L.      1/23/2018    4/27/2018            1               X                                  X              X          X            X           X     10     X     X                                     X            X                               X              X                 X                 X                X
 1017152-01     J.S.       1/2/2018    4/28/2018            1               X                    X             X              X          X            X           X      2                                                              X                               X              X                 X                                  X

                                                                                                                                                 8 of 133                                                                                                                                                                             Exhibit 1
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                            DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                        Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                       Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                           Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1017261-01     F.B.      1/30/2018    7/31/2019            1               X                    X             X              X          X                        X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1018354-02     R.C.     12/27/2017     5/4/2018            1               X                    X             X              X          X            X           X     14     X     X        X                            X            X                                              X                 X                 X                X
 1018438-01     P.G.     12/31/2017    4/26/2018            1               X                    X             X              X          X                        X      4           X        X                            X            X                               X              X                 X                 X                X
 1018451-02     M.H.      1/10/2018     7/6/2018            1               X                    X             X              X          X            X           X      7           X                      X              X            X                               X              X                 X                 X                X
 1018508-01     R.D.      1/17/2018     9/5/2018            1               X                    X             X              X          X            X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1018535-02     A.W.      1/18/2018    4/29/2018            2               X                    X             X              X          X            X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1018582-02     Y.C.      1/29/2018    4/12/2018            1               X                    X             X              X                                          0                                  X                           X                               X              X                 X                 X                X
 1018582-03     S.G.      1/29/2018    4/16/2018            1               X                    X             X              X          X            X           X      7     X              X             X              X            X                               X              X                 X                 X                X
 1018619-03     E.A.      1/30/2018    4/20/2018            1               X                    X             X              X          X            X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1018719-01     M.A.      1/13/2018    6/18/2018            1               X                    X             X              X          X            X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1018814-01     M.S.      1/31/2018    4/28/2018            7               X                    X             X              X          X            X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1018882-01     J.H.       2/3/2018   11/23/2020            1               X                    X             X              X          X                        X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1018895-01     A.N.      1/26/2018     5/2/2018            1               X                    X             X              X          X            X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1018898-02     S.E.       2/3/2018    5/23/2018            2               X                                                 X          X                        X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1018910-01     M.S.      1/14/2018     3/3/2018            1               X                    X             X              X                       X           X      3                                  X                           X               X               X              X                 X                 X                X
 1018912-01     C.A.       1/7/2018    3/17/2018            3               X                    X             X              X          X            X           X      7                                  X                           X               X               X              X                 X                                  X
 1018971-02     M.B.      1/18/2018    5/21/2018            2               X                    X             X              X          X            X           X      9     X     X                      X              X            X                               X              X                 X                 X                X
 1018975-01     G.R.      1/31/2018    5/11/2018            2               X                    X                            X          X            X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1018975-03     T.W.      1/31/2018    5/18/2018            2               X                    X                            X          X            X           X      6     X     X        X             X              X            X               X               X              X                 X                 X                X
 1018981-01     N.V.       2/2/2018    3/27/2019            1               X                    X                            X          X            X           X      1     X                            X              X            X                               X              X                 X                 X                X
 1018999-01     E.W.       2/1/2018    4/17/2023            3               X                    X                            X          X            X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1019015-04     A.G.      1/14/2018     6/3/2018            3               X                                  X              X                       X           X     10                                                              X                               X              X                 X                 X                X
 1019036-01     R.G.       2/4/2018    9/17/2018            1               X                                                 X          X            X           X      6                    X             X              X                                            X              X                 X                 X                X
 1019036-02     B.D.       2/4/2018    8/20/2018            1               X                                                 X          X            X           X      7     X     X        X             X              X            X                               X              X                                   X                X
 1019039-02     C.A.       2/2/2018    5/11/2018            2               X                    X             X              X          X            X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1019188-02     A.V.       2/8/2018     6/5/2018            2               X                    X             X              X          X            X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1019334-01     M.V.      1/19/2018    4/29/2018            1               X                    X             X              X          X            X           X     10                    X             X              X            X                               X              X                 X                 X                X
 1019334-04     L.T.      1/19/2018     4/8/2018            1               X                    X             X              X          X            X           X     14     X              X             X              X            X                               X              X                 X                 X                X
 1019488-01     A.S.       2/9/2018    4/10/2018            1               X                                                 X          X                        X      6     X     X        X             X              X            X                               X                                X                 X                X
 1019501-03     C.F.       2/5/2018    9/27/2018            1               X                    X             X              X          X            X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1019502-01     J.T.       2/8/2018    5/18/2018            1               X                    X             X              X                       X           X     12           X        X             X              X            X                               X              X                 X                 X                X
 1019537-01     D.A.       2/8/2018    3/28/2018            1               X                    X             X              X          X            X           X     12           X        X             X              X            X               X               X              X                 X                 X                X
 1019554-02     J.B.      1/21/2018    3/18/2019            1               X                    X             X              X          X            X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1019554-03     E.H.      1/21/2018    5/15/2018            1               X                                                 X          X            X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1019568-01     Z.H.      1/31/2018     5/3/2018            1               X                    X             X              X          X                        X     20     X     X        X                            X            X                               X              X                 X                 X                X
 1019568-02     S.T.      1/31/2018    5/14/2018            1               X                                  X              X          X            X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1019604-02     K.M.       2/7/2018     5/8/2018            1               X                    X             X              X          X            X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1019655-02     C.A.      1/22/2018     3/1/2018            1               X                    X             X              X          X                        X      6           X        X                            X            X                               X              X                 X                 X                X
 1019756-04     A.O.       2/9/2018     6/4/2018            1               X                    X             X              X          X            X           X      4                                  X                           X                               X              X                 X                 X                X
 1019827-02     R.W.      2/12/2018    9/20/2019            1               X                    X             X              X          X            X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1019853-01     R.W.       2/2/2018    5/18/2018            1               X                                                 X          X                        X      5           X        X                            X                                            X              X                 X                 X                X
 1019931-01     M.D.      2/15/2018    10/8/2018            1               X                    X             X              X          X            X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1020029-01     F.G.       2/4/2018    3/23/2018            1               X                    X             X              X          X                        X      6     X     X                                     X            X                               X              X                 X                 X                X
 1020042-01     E.M.      2/16/2018    4/26/2018            1               X                    X             X              X          X            X           X      7     X     X                      X              X            X                               X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1020131-02     G.M.     2/12/2018    4/28/2018            4               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1020504-01     F.R.      2/6/2018    4/20/2018            5               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1020541-01     K.A.     2/16/2018    9/26/2018            1               X                                                 X          X                                0                                  X                                           X               X              X                 X                                  X
 1020583-02     G.B.      2/4/2018    8/12/2018            3               X                    X             X              X          X             X           X      9                                                              X                               X              X                 X                 X                X
 1020672-01     G.S.      2/3/2018    7/16/2018            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1020766-01     L.C.     2/14/2018     5/4/2018            3               X                    X             X              X          X             X           X      8                                                                                              X              X                 X                 X                X
 1020864-02     T.M.     2/14/2018    4/22/2018            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1020911-02     V.K.     2/15/2018    4/18/2018            3               X                    X             X              X          X                         X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1020922-02     S.M.     2/14/2018    4/30/2018            1               X                                                 X          X             X           X      5     X     X                      X              X            X               X               X              X                 X                 X                X
 1021069-01     M.C.     2/19/2018    5/21/2018            1               X                    X             X              X          X                         X      6     X     X        X                            X            X                               X              X                 X                 X
 1021074-02     L.V.     2/23/2018    6/21/2018            1               X                    X             X              X          X             X           X     12     X     X                      X              X            X                               X              X                 X                 X                X
 1021168-02     E.D.     2/17/2018     6/1/2018            1               X                                                 X          X                         X      5     X              X             X              X            X                               X              X                 X                 X                X
 1021214-02     L.L.     2/21/2018    4/12/2018            2               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1021227-01     J.H.      2/4/2018    2/28/2019            3               X                    X             X              X          X             X           X      7                                  X              X            X               X               X              X                 X                 X                X
 1021234-01     M.C.     2/12/2018     5/3/2018            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                                              X                 X                 X                X
 1021487-02     J.B.     2/27/2018    7/19/2018            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1021530-02     T.H.      2/7/2018    4/24/2018            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1021562-01     B.S.     2/13/2018    10/5/2020            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1021618-01     S.R.     2/21/2018    8/14/2018            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1021668-01     R.T.     2/26/2018     2/7/2019            1               X                    X             X              X          X             X           X      6     X     X                      X              X            X               X               X              X                 X                 X                X
 1021709-01      S.I.    2/26/2018    4/17/2018            2               X                    X                            X          X             X           X      6           X        X             X              X            X               X               X              X                 X                 X                X
 1021750-02     A.A.      3/1/2018     7/9/2018            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1021760-01     C.R.     2/19/2018    9/26/2018            1               X                    X             X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1021827-02     J.S.      3/1/2018     5/1/2018            1               X                    X             X              X          X             X           X      8     X     X        X             X              X                                            X              X                 X                 X                X
 1021909-01     W.S.     2/10/2018    9/11/2020            2               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1021935-01     J.T.      3/1/2018    9/25/2018            1               X                                                 X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1021948-02     L.S.      3/2/2018    4/26/2018            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1022004-02     G.L.     3/11/2018    7/16/2018            1               X                    X             X              X          X             X           X     13     X                            X                           X               X               X              X                 X                 X                X
 1022004-04     O.S.     3/11/2018    6/25/2018            1               X                    X             X              X          X             X           X     17     X     X                      X                           X               X               X              X                 X                 X                X
 1022013-02     L.H.      3/6/2018   10/27/2018            1               X                    X             X              X          X             X           X      7                                  X                           X                               X              X                 X                 X                X
 1022020-01     S.M.      3/4/2018    2/26/2019            1               X                                                 X          X             X           X      4     X              X             X              X            X                               X              X                 X                 X                X
 1022045-04     H.B.     2/16/2018     6/2/2018            2               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1022072-02     C.W.     2/14/2018   10/18/2018            1               X                    X             X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1022131-01     R.A.     2/13/2018    9/20/2018            1               X                    X             X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1022167-02     M.M.     2/28/2018    5/31/2018            2               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1022212-01     R.V.      3/5/2018    4/26/2018            1               X                    X             X              X          X                         X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1022232-02     J.G.      3/4/2018     5/6/2018            3               X                    X             X              X          X             X           X      5           X                                                  X                               X              X                 X                 X                X
 1022246-02     D.R.      3/2/2018    5/21/2018            1               X                                                 X                        X           X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1022283-03     J.A.     2/17/2018     9/5/2018            1               X                                                 X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1022289-01     M.N.     2/15/2018    6/21/2018            2               X                    X             X              X          X                                0                                  X                           X                               X              X                 X                 X                X
 1022331-02     Y.B.     2/16/2018     8/4/2018            2               X                    X             X              X          X             X           X      9                                  X                           X               X               X              X                 X                 X                X
 1022333-02     N.C.     2/16/2018     6/8/2018            2               X                    X                            X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1022361-06     J.A.     2/23/2018    8/14/2018            3               X                    X             X              X          X             X           X     17     X                            X              X            X                               X              X                 X                 X                X
 1022393-01     N.I.     2/28/2018    4/21/2018            4               X                    X             X              X          X             X           X      1                                                              X                               X              X                 X                 X                X

                                                                                                                                                10 of 133                                                                                                                                                                             Exhibit 1
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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
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                                                                                                                                                                                                         Lab Testing
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                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1022430-01     J.P.      3/4/2018     4/2/2018            2               X                    X             X              X          X             X           X     14     X     X        X             X              X            X               X               X              X                 X                 X                X
 1022454-90     O.D.     2/26/2018     4/4/2018            1               X                                                 X                                    X      4     X     X                      X              X            X                               X                                X                 X                X
 1022517-02     J.C.     2/22/2018    6/18/2018            1               X                    X             X              X          X             X           X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1022610-01     R.R.     2/24/2018     9/6/2018            1               X                    X             X              X          X             X           X      5           X        X             X              X            X                               X              X                 X                 X                X
 1022624-01     G.S.     3/14/2018     6/4/2018            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1022630-01     M.G.      3/8/2018     4/4/2024            1               X                                  X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1022650-01     J.A.     2/21/2018     1/2/2019            1               X                                                 X          X             X           X      6           X        X                            X            X                               X              X                 X                 X                X
 1022830-02     H.H.     2/24/2018    6/25/2018            1               X                                  X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1022850-05     P.R.     2/17/2018     9/6/2018            1               X                    X             X              X          X             X           X     20     X     X        X                            X            X                               X              X                 X                 X                X
 1022925-02     M.R.      3/1/2018    8/22/2018            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                                  X
 1022974-02     E.C.     3/18/2018    8/14/2018            2               X                    X             X              X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1023012-04     W.G.     2/24/2018     5/7/2018            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1023077-01     D.B.     2/27/2018   10/18/2019            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1023125-01     R.M.      3/6/2018    5/25/2018            2               X                                  X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1023135-01     B.F.     3/18/2018     9/5/2018            1               X                    X             X              X          X             X           X     10     X                                           X            X                               X              X                 X                 X                X
 1023143-02     D.M.     3/21/2018   11/16/2018            1               X                                                 X          X             X           X      1           X                      X                           X               X               X              X                 X                 X                X
 1023154-01     J.L.      3/3/2018    4/18/2018            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1023203-04     D.P.     2/17/2018     6/8/2018            1               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1023272-01     A.K.     3/13/2018     8/3/2018            1               X                                                 X          X                         X      1                                  X              X            X                               X              X                 X                 X                X
 1023276-01     J.C.     3/12/2018    5/10/2018            1               X                    X             X              X          X             X           X      3     X     X                                     X            X                               X              X                 X                 X                X
 1023359-05     V.R.     3/15/2018    7/17/2018            1               X                    X             X              X          X             X           X     15           X        X                            X                                                           X                 X                 X                X
 1023385-02     G.M.     3/22/2018     7/9/2018            1               X                    X             X              X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1023385-03     M.M.     3/22/2018    6/18/2018            2               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1023399-01     T.D.     12/4/2017    2/14/2018            1               X                    X                            X                                           0                                                              X                               X              X                 X                                  X
 1023406-01     G.J.     3/22/2018    1/10/2019            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1023501-01     C.T.     3/19/2018    7/13/2018            1               X                    X             X              X          X                         X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1023501-02     D.K.     3/19/2018    7/13/2018            1               X                    X             X              X          X                         X     21     X     X                      X              X            X                               X              X                 X                 X                X
 1023513-01     M.U.     3/15/2018    5/24/2018            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1023546-01     J.H.      3/3/2018     6/8/2018            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1023548-02     V.I.     3/22/2018    8/20/2018            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1023556-02     M.D.     3/23/2018   12/14/2018            2               X                    X                            X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1023600-01     J.H.     3/10/2018    6/22/2018            1               X                                                 X          X                         X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1023642-01     A.A.      3/7/2018     5/1/2018            1               X                                                 X          X                         X      4                    X             X              X            X                               X                                                  X
 1023706-01     F.G.     3/17/2018     5/8/2018            2               X                    X                            X          X             X           X      5                    X             X              X            X                               X              X                 X                 X
 1023739-01     F.B.     3/11/2018    3/25/2019            1               X                    X             X              X          X             X           X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1023777-01     N.B.     3/22/2018     8/2/2018            1               X                    X                                                                 X      4           X        X                            X                                                           X                 X                 X                X
 1023809-01     M.G.     3/29/2018     6/9/2018            2               X                    X             X              X          X             X           X      4                                                              X                               X              X                 X                 X                X
 1023816-01     D.K.     3/21/2018    6/13/2018            1               X                    X                            X          X             X           X      3           X                                     X            X                               X              X                 X                 X                X
 1023819-01     N.A.     3/23/2018   10/29/2018            1               X                                                 X          X             X           X      5           X        X                            X            X                               X              X                 X                 X                X
 1023917-01     S.A.     3/23/2018     1/4/2019            1               X                    X             X              X          X                         X     10           X        X                            X            X                               X              X                 X                 X                X
 1023919-90     M.M.     3/30/2018   10/12/2018            1               X                                  X              X                        X           X      1                                                 X            X                                              X                 X                 X
 1023986-04     J.P.     3/26/2018     6/8/2018            1               X                    X             X              X          X             X           X      1                                                              X                               X              X                 X                                  X
 1024002-02     E.B.     3/31/2018     6/5/2018            1               X                    X             X              X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1024019-02     O.V.     3/26/2018    7/14/2018            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                11 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




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                                                                                                                                                   EDx Testing




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                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1024019-03     C.P.     3/26/2018   11/13/2018            2               X                    X             X              X          X             X           X      3                                  X                           X               X               X              X                 X                 X                X
 1024040-02     R.D.     3/25/2018    5/15/2018            1               X                    X             X              X          X                         X      7           X        X             X              X            X                               X              X                 X                 X                X
 1024060-01     J.E.     3/21/2018    2/27/2020            1               X                                                 X          X             X           X      5           X        X             X              X            X                               X              X                 X                 X                X
 1024144-01     N.B.     3/11/2018    6/12/2018            1               X                    X             X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1024152-02     A.C.      3/1/2018    5/10/2018            2               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1024211-02     A.J.     3/25/2018     9/5/2018            2               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1024215-01     L.B.     3/25/2018    5/11/2018            1               X                    X             X              X          X             X           X      8     X                            X                           X                               X              X                 X                 X                X
 1024245-02     L.J.     3/20/2018    10/2/2020            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                                              X                 X                 X                X
 1024254-01     D.P.      4/2/2018    8/16/2018            1               X                                                 X          X                                0                                  X                           X                               X              X                 X                                  X
 1024309-02     L.K.     3/13/2018    5/19/2018            1               X                    X             X              X          X             X           X      7                                                                                              X              X                 X                 X                X
 1024309-04     J.B.     3/13/2018    5/19/2018            1               X                    X             X              X          X             X           X      2                                  X                                                           X              X                 X                 X                X
 1024388-02     S.T.     3/23/2018    5/10/2018            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1024394-01     P.A.     3/19/2018    5/31/2018            1               X                    X             X              X          X             X           X      4     X     X                      X              X            X               X               X              X                 X                 X                X
 1024438-02     J.G.     3/22/2018    5/24/2018            1               X                    X             X              X          X             X           X      3     X     X                                     X            X                               X              X                 X                 X                X
 1024529-03     A.G.      4/7/2018    9/25/2018            2               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X                                X                 X                X
 1024529-04     M.G.      4/7/2018    9/25/2018            1               X                    X                            X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X
 1024546-02     D.F.     3/28/2018    5/22/2018            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1024548-02     T.C.      4/2/2018    9/19/2018            2               X                    X                            X          X             X           X      8     X              X             X              X            X                               X              X                 X                 X                X
 1024575-01     N.J.     3/19/2018    5/11/2018            3               X                    X             X              X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1024583-05     R.L.     3/16/2018    4/23/2019            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                                              X                 X                 X                X
 1024613-01     J.W.     3/10/2018    4/25/2018            1               X                    X             X              X          X             X           X      9           X        X             X              X            X                               X              X                 X                 X                X
 1024680-01     V.R.     3/31/2018    5/17/2018            1               X                    X             X              X          X                         X      4           X        X                            X            X                               X              X                 X                 X                X
 1024815-01     A.W.      4/4/2018   10/23/2018            1               X                                                 X          X                         X      6     X     X        X                            X            X                               X                                X                 X
 1024829-02     A.F.      4/5/2018    7/31/2018            1               X                    X             X              X          X             X           X      8     X              X             X              X            X                               X              X                 X                 X                X
 1024834-03     T.J.      4/2/2018    6/27/2018            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1024847-02     S.W.     3/26/2018    6/11/2018            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1024992-02     M.V.      4/9/2018    6/19/2018            1               X                    X                            X          X             X           X      3     X     X                      X              X            X                               X              X                 X                 X
 1025027-01     A.C.     4/13/2018    7/14/2018            3               X                    X             X              X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1025071-01     D.S.      4/6/2018     9/6/2018            1               X                                  X              X          X                         X      6     X     X        X             X              X            X                               X                                                  X
 1025121-01     L.C.      4/6/2018    6/24/2018            1               X                    X                            X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1025149-02     F.V.      4/6/2018    8/12/2020            1               X                                                 X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1025332-03     N.R.      4/6/2018   11/12/2018            1               X                    X             X              X          X                         X      5           X        X             X              X            X                               X              X                 X                 X
 1025395-02     I.M.      4/1/2018    7/20/2018            1               X                    X             X              X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1025440-01     M.V.     4/11/2018    7/20/2018            3               X                    X             X              X          X             X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1025480-03     A.A.     4/14/2018    5/30/2018            1               X                    X             X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1025531-02     R.M.      4/8/2018     8/9/2018            1               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1025541-01     L.F.      4/1/2018   10/19/2018            1               X                    X             X              X          X             X           X     18     X     X        X             X              X                                            X              X                 X                 X                X
 1025547-02     C.A.     4/17/2018    10/3/2018            1               X                    X             X              X          X                         X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1025587-03     M.C.     4/12/2018   10/16/2018            1               X                    X                            X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1025605-01     E.S.     4/14/2018     7/1/2018            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1025618-02     D.A.     3/20/2018    11/8/2018            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1025620-01     L.D.     4/11/2018    6/10/2018            1               X                    X             X              X          X             X           X     16     X              X                            X            X                               X              X                 X                 X                X
 1025620-03     T.H.     4/11/2018    6/10/2018            2               X                    X             X              X          X             X           X     16     X              X                            X            X                               X              X                 X                 X                X
 1025677-01     W.M.     4/15/2018    2/28/2020            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




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                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




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                                                                                            Chiropractic




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1025690-02     M.T.     4/14/2018     7/7/2018            1               X                    X             X              X          X                         X     11                                  X                           X                               X              X                 X                 X                X
 1025693-01     W.F.     4/15/2018    5/30/2018            5               X                    X             X              X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1025714-03     A.R.     4/11/2018    8/27/2018            1               X                    X                            X          X             X           X     13                    X                            X            X                               X              X                 X                 X                X
 1025762-02     K.J.      4/4/2018    10/7/2018            1               X                    X             X              X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1025819-02     D.R.     4/12/2018    7/17/2018            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1025823-01     M.C.     4/21/2018     7/8/2018            1               X                    X                            X          X             X           X     16     X              X                            X            X                               X              X                 X                 X                X
 1025874-04     J.T.     4/16/2018    2/16/2019            3               X                    X             X              X          X             X           X      8                                  X                                           X               X              X                 X                 X                X
 1025895-02     M.A.     4/17/2018     6/7/2018            1               X                    X             X              X          X             X           X     18           X        X                            X            X                               X              X                 X                 X                X
 1025980-02     R.S.     4/16/2018    2/28/2019            1               X                                                 X          X                         X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1026016-02     L.G.      4/7/2018     1/4/2019            1               X                                                 X          X             X           X      8     X              X             X              X            X                               X                                X                 X                X
 1026105-03     S.P.     4/10/2018    7/15/2018            1               X                    X             X              X          X             X           X      5           X        X                            X            X                               X              X                 X                 X                X
 1026131-01     F.R.     4/19/2018     1/2/2020            1               X                    X                            X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1026156-01     A.G.     4/22/2018   10/31/2019            1               X                    X             X              X          X             X           X      5     X                                                        X                                              X                 X                 X                X
 1026234-01     W.A.     4/16/2018    9/25/2018            3               X                    X             X              X          X             X           X     13                                                              X                               X              X                 X                 X                X
 1026234-02     S.P.     4/16/2018   10/16/2018            3               X                    X             X              X          X             X           X     16     X                                                        X                               X              X                 X                 X                X
 1026250-02     T.S.     4/12/2018    7/12/2019            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1026256-01     J.N.     4/28/2018    9/10/2021            5               X                                                 X          X             X           X     13     X     X                      X                           X                               X              X                 X                 X                X
 1026256-04     J.N.     4/28/2018    2/18/2022            1               X                    X             X              X          X             X           X      4     X                                                        X                               X              X                 X                                  X
 1026282-01     J.H.     4/20/2018     6/5/2018            2               X                    X             X              X          X             X           X     10     X              X             X              X            X                               X              X                 X                 X                X
 1026310-01     C.M.     4/20/2018     6/5/2018            2               X                    X                            X          X                         X      7           X        X                            X            X                               X              X                 X                 X
 1026372-01     A.I.     4/22/2018    7/26/2018            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                                              X                 X                 X                X
 1026440-02     F.B.     3/27/2018    10/2/2018            1               X                                                 X          X                         X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1026450-03     A.M.     4/29/2018    7/24/2018            1               X                    X             X              X          X             X                  0                                  X                           X               X               X                                X                                  X
 1026534-03     S.H.     4/20/2018     8/8/2018            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1026567-01     O.F.     4/24/2018    9/12/2018            1               X                                                 X          X                         X      5           X        X                            X            X                               X                                                  X
 1026579-01     G.R.     4/18/2018   10/27/2018            1               X                    X             X              X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1026631-01     E.G.     4/25/2018    7/17/2018            1               X                    X             X              X          X             X           X      5     X     X                      X                           X               X               X              X                 X                 X                X
 1026660-01      J.I.    4/18/2018     7/8/2018            1               X                    X             X              X          X             X           X     17     X              X                            X            X                               X              X                 X                 X                X
 1026671-01     N.E.     4/14/2018   11/30/2018            1               X                    X                            X          X                         X      3     X              X                            X            X                               X              X                 X                 X
 1026692-02     J.P.     4/28/2018     4/5/2019            1               X                                  X              X          X                         X     13     X     X        X                            X            X                               X              X                 X                 X
 1026707-01     Y.B.     4/23/2018   10/17/2018            2               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1026764-01     J.F.     4/30/2018    6/29/2018            1               X                    X             X              X          X             X           X      5           X        X             X              X            X                               X              X                 X                 X                X
 1026782-01     B.B.     4/27/2018    7/17/2018            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1026891-02     F.R.     4/12/2018    8/15/2018            4               X                    X                            X          X             X           X      8     X              X                                         X                               X              X                 X                 X                X
 1026895-01     O.W.     4/20/2018   11/16/2018            2               X                                                 X          X                         X     10     X     X        X             X              X            X                               X                                X                 X
 1026954-01     M.F.      5/2/2018     6/9/2018            3               X                    X             X              X          X             X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1026954-02     R.B.      5/2/2018     6/9/2018            3               X                    X             X              X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X                X
 1026970-01     H.S.      4/8/2018    6/28/2018            3               X                    X             X              X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1027113-03     V.I.     4/13/2018    10/3/2018            1               X                    X                            X          X             X           X      6     X              X             X              X            X                               X              X                 X                 X                X
 1027152-01     J.R.      5/4/2018    3/28/2019            3               X                    X             X              X          X             X           X      8                                                                                              X              X                 X                 X                X
 1027240-01     D.G.     4/22/2018    7/16/2018            2               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1027474-01     A.H.     4/21/2018    6/20/2018            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1027488-01     C.S.     4/13/2018    9/14/2018            1               X                                                 X          X                         X      5     X              X                            X            X                               X                                                  X
 1027780-01     A.M.     3/31/2018    8/23/2018            1               X                    X             X              X          X                         X     11     X     X        X             X              X            X                                              X                 X                 X

                                                                                                                                                13 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1027789-01     M.M.     4/21/2018    8/25/2018            1               X                    X             X              X          X             X           X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1027841-01     K.D.      5/8/2018    7/15/2018            2               X                    X             X              X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X
 1027864-01     J.M.     5/12/2018    7/13/2018            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1027864-03     R.C.     5/12/2018   10/11/2018            1               X                    X                            X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1027870-01     M.A.     4/14/2018    7/21/2018            5               X                    X             X              X                        X                  0                                                              X                                              X                 X                 X                X
 1027899-03     J.P.     4/24/2018    9/23/2019            1               X                                                 X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1027924-02     H.I.      5/7/2018    9/19/2019            1                                                                 X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1027940-01     Y.G.     5/14/2018    7/21/2018            1               X                    X             X              X          X             X           X     14     X                                                        X                               X              X                 X                 X                X
 1028019-02     A.B.     4/18/2018    6/12/2018            2               X                    X             X              X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1028065-01     K.N.     5/10/2018   10/15/2018            1               X                    X                            X          X                         X      1     X                            X              X            X                               X              X                 X                 X                X
 1028077-02     L.N.      5/2/2018    6/29/2018            2               X                                                 X          X                         X     17     X     X        X             X              X            X                               X                                                  X
 1028089-01     C.C.      5/7/2018   10/19/2018            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1028089-02     M.C.      5/7/2018    7/29/2018            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1028111-01     T.D.     5/14/2018    6/30/2018            4               X                    X             X              X          X             X           X     17     X     X                      X              X            X               X               X              X                 X                 X                X
 1028150-01     T.W.      5/7/2018    7/20/2018            1               X                    X             X              X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1028168-01     J.L.     4/21/2018    9/25/2018            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1028175-01     F.C.     5/14/2018     9/4/2018            1               X                                                 X          X                         X      3                    X             X              X            X                               X                                X                 X
 1028182-02     K.W.     4/28/2018    7/17/2018            1               X                    X                            X          X                         X      2           X                      X              X            X                               X              X                 X                 X                X
 1028221-01     A.C.     5/10/2018     8/7/2018            2               X                    X             X              X          X             X           X      5     X     X        X             X              X            X               X               X              X                 X                 X                X
 1028260-02     M.R.     5/16/2018    7/17/2018            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1028312-01     T.A.     4/25/2018    6/12/2018            1               X                    X             X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1028321-01     J.C.      5/8/2018    8/16/2018            1               X                    X             X              X          X                         X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1028329-01     H.A.     5/14/2018     2/6/2019            5               X                                                 X          X                                0                                  X                           X                               X              X                 X                 X                X
 1028331-01     H.A.     5/14/2018     2/6/2019            8               X                                                 X          X                         X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1028335-01     J.B.      5/7/2018    7/16/2018            1               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1028343-01     A.G.     4/28/2018    8/13/2018            2               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1028392-01     O.M.     5/19/2018     7/3/2018            1               X                    X             X              X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1028528-02     J.T.     4/26/2018     7/6/2018            3               X                    X             X              X          X             X           X     19           X        X             X              X            X               X               X              X                 X                 X                X
 1028557-01     R.W.     5/18/2018    9/10/2018            1               X                    X             X              X          X             X           X      6           X        X                            X            X                               X              X                 X                 X                X
 1028607-02     R.P.     5/16/2018     2/5/2019            2               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1028735-02     T.V.     5/18/2018    6/26/2019            4               X                    X             X              X          X             X           X     10                                  X                           X               X               X              X                 X                 X                X
 1028792-02     C.W.     5/15/2018   12/18/2018            1               X                    X             X              X          X             X           X      8     X     X        X             X              X                                            X              X                 X                 X                X
 1028802-01     S.B.     5/10/2018     9/7/2018            1               X                                                 X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X
 1028813-01     C.W.     5/19/2018    5/15/2019            1               X                    X                            X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1028883-01     S.F.     5/11/2018     8/5/2018            1               X                    X             X              X          X             X           X      7     X                            X                           X                               X              X                 X                 X                X
 1028895-01     V.M.     5/27/2018   10/30/2018            1               X                    X             X              X          X                         X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1029071-02     F.N.     5/26/2018    9/11/2018            2               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1029090-01     S.J.     5/21/2018    8/17/2018            6               X                                  X              X          X             X           X      2           X                                     X            X                               X              X                 X                 X                X
 1029122-01     Y.F.     5/22/2018   12/12/2018            1               X                                  X              X          X             X           X      2                                  X                           X               X               X              X                 X                                  X
 1029185-01     M.G.     5/22/2018    10/5/2018            1               X                                                 X          X             X           X      6     X              X                            X            X                               X              X                 X                 X                X
 1029207-01     A.P.      5/6/2018    7/30/2018            1               X                                  X              X          X             X           X      2           X                      X              X            X                               X              X                 X                 X                X
 1029228-02     J.N.     5/23/2018     8/3/2018            1               X                    X             X              X          X                         X      7           X        X             X              X            X                               X              X                 X                 X                X
 1029232-01     C.J.     5/24/2018   10/12/2018            1                                                                 X          X                         X      2     X                            X              X            X                                              X                 X                 X
 1029273-01     R.P.     5/19/2018    8/14/2018            1               X                    X             X              X          X             X           X      6           X        X             X              X            X               X               X              X                 X                 X                X

                                                                                                                                                14 of 133                                                                                                                                                                             Exhibit 1
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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1029281-01     F.J.     4/28/2018    1/24/2019            1                                                                 X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1029308-01     V.P.     5/22/2018    11/4/2019            1               X                    X                            X          X                         X      5     X     X                      X              X            X                                              X                 X                 X                X
 1029333-02     J.B.     5/12/2018    7/12/2018            1               X                    X             X                                       X           X      5     X     X        X             X              X                                            X              X                 X                 X                X
 1029358-01     S.L.     5/15/2018     7/6/2018            1               X                    X             X              X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1029372-02     M.V.     5/25/2018    7/12/2018            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1029419-02     A.M.     5/11/2018   11/29/2018            1               X                    X             X              X          X                         X      5                    X                            X            X                               X              X                 X                 X
 1029430-02     E.B.      6/2/2018   11/15/2018            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1029478-02     P.A.     5/21/2018    7/20/2018            4               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1029556-01     J.H.     5/28/2018     7/3/2018            1               X                    X             X              X          X             X           X      3     X     X                                     X            X                               X              X                 X                 X                X
 1029643-01     J.A.      5/1/2018    8/23/2018            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1029707-01     N.K.     5/26/2018    8/14/2018            2               X                    X             X              X          X             X           X     14     X                            X                           X               X               X              X                 X                 X                X
 1029727-02     A.B.     5/12/2018    6/13/2018            1               X                                                 X          X                         X      6           X        X                            X                                            X              X                 X                 X
 1029739-01     F.Z.     5/21/2018    9/26/2018            1               X                    X             X              X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1029749-01     J.T.      6/1/2018     5/2/2019            1               X                    X             X              X          X             X           X      8                                  X                           X               X               X              X                 X                 X                X
 1029786-01     A.K.     5/25/2018     3/7/2019            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1029797-01     L.C.     5/26/2018   11/20/2018            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X
 1029887-02     D.W.     5/31/2018     9/9/2018            1               X                    X                            X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1029982-01     C.R.     5/26/2018    2/11/2019            1               X                    X             X              X          X             X           X      8           X        X             X              X            X               X               X              X                 X                 X                X
 1030032-02     C.C.     4/13/2018     8/2/2018            1               X                    X             X              X          X                         X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1030116-03     S.J.     5/31/2018    11/6/2018            1               X                    X             X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1030139-02     D.R.     5/24/2018   10/19/2018            1               X                                                 X          X                         X      5           X        X                            X            X                               X                                X                 X
 1030184-01     S.R.     5/23/2018     1/5/2019            2               X                    X             X              X          X                         X      4     X                                                        X                               X              X                 X                 X                X
 1030194-01     J.M.      6/1/2018    7/17/2018            1               X                    X                            X          X             X           X      7           X        X             X              X            X                               X                                X                 X
 1030237-02     E.R.      6/7/2018    9/20/2018            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1030327-01     Y.M.      6/2/2018    10/5/2018            1               X                                                 X          X                         X      3     X              X                            X            X                               X              X                                   X
 1030360-01     H.F.      6/9/2018    4/12/2019            1               X                    X             X              X          X                         X      6     X     X        X                            X            X                               X                                X                 X
 1030368-01     L.Y.     5/22/2018    2/26/2019            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1030403-90     S.S.     5/30/2018    8/10/2018            1               X                    X             X                                       X           X      6     X     X                      X              X            X                                              X                 X                 X                X
 1030490-01     E.R.      6/1/2018     2/1/2019            1               X                                                 X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X
 1030506-01     M.S.     6/12/2018    8/21/2018            1               X                    X             X              X          X             X           X      4                    X             X              X            X               X               X              X                 X                 X                X
 1030507-01     H.C.      5/3/2018     9/5/2019            1               X                    X                            X          X                         X      7     X     X        X                            X                                            X              X                 X                 X                X
 1030519-01     L.A.      6/8/2018     8/8/2018            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1030569-02     S.E.     6/13/2018    9/13/2018            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1030636-02     O.C.     5/27/2018    12/2/2018            3               X                    X             X              X          X             X           X      7                                  X                           X                               X              X                 X                 X                X
 1030636-03     D.C.     5/27/2018    12/2/2018            3               X                    X             X              X          X             X           X      7                                  X              X            X                               X              X                 X                 X                X
 1030758-01     H.N.      6/9/2018    9/28/2018            3               X                                  X              X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1030796-01     C.R.     5/27/2018    10/2/2018            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1030806-01     E.M.     6/12/2018    8/23/2018            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1030837-02     K.A.     6/15/2018    12/6/2018            1               X                    X                            X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1030838-01     J.V.      6/8/2018    9/29/2018            6               X                    X             X              X          X             X           X      8                                                              X                               X              X                 X                 X                X
 1030851-01     M.H.      6/8/2018     8/7/2018            2               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1030851-03     F.P.      6/8/2018    8/28/2018            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1030855-01     M.H.     6/11/2018    10/7/2018            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X
 1030860-02     E.K.      6/3/2018     8/2/2018            3               X                    X             X              X          X             X           X      6                                                                                              X              X                 X                 X                X

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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1030919-01     B.G.     6/16/2018    8/16/2018            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1030965-01     L.M.     6/16/2018     9/7/2018            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1030993-02     C.H.     6/11/2018    9/28/2022            1               X                                  X              X          X             X           X      5                                  X                           X               X               X              X                 X                 X                X
 1031097-01     O.D.     6/18/2018    9/18/2018            1               X                    X                            X          X             X           X      6           X        X             X              X            X                                              X                 X                 X
 1031097-03     E.F.     6/18/2018    8/21/2018            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                                              X                 X                 X                X
 1031117-01     M.A.     6/19/2018    9/14/2018            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X               X               X              X                 X                 X                X
 1031129-02     H.M.      6/9/2018    10/5/2019            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1031144-04     S.P.     6/16/2018   11/28/2018            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1031180-01     Z.Z.     6/16/2018    11/3/2018            1               X                                  X              X          X             X           X      2     X                            X                           X               X               X              X                 X                 X                X
 1031262-02     L.A.     6/16/2018    8/22/2018            1               X                    X             X              X          X                         X      5           X        X                            X            X                               X              X                 X                 X
 1031274-01     K.P.     6/13/2018   11/30/2018            1               X                    X             X              X          X             X           X     16     X     X                      X                           X                               X              X                 X                 X                X
 1031351-03     J.H.     6/23/2018   10/28/2018            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1031371-02     Z.L.      6/6/2018    9/21/2018            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1031398-01     N.S.     6/23/2018   10/29/2018            1               X                                  X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1031465-02     A.O.      6/5/2018    1/11/2019            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                                              X                 X                 X                X
 1031534-01     R.N.     6/20/2018    8/21/2018            1               X                    X                            X          X                         X      4     X                            X              X            X                                              X                 X                 X                X
 1031639-02     M.T.     6/20/2018    2/12/2019            1               X                    X             X              X          X             X                  0                                  X                           X                                              X                 X                 X                X
 1031747-01     S.W.     6/18/2018     8/9/2018            3               X                    X             X              X          X             X           X      7           X        X             X              X            X               X               X              X                 X                 X                X
 1031855-01     S.L.     6/25/2018    9/20/2018            3               X                    X             X              X          X                         X      4     X     X                                     X            X               X               X              X                 X                 X                X
 1031860-01     S.B.     6/26/2018    10/1/2018            4               X                    X             X              X          X             X           X      9     X     X                      X              X            X               X               X              X                 X                 X                X
 1031870-02     K.A.     6/25/2018   10/17/2018            4               X                    X                            X          X             X           X      6     X              X                            X            X                               X              X                 X                 X                X
 1031883-01     E.T.     6/25/2018   10/23/2018            3               X                    X             X              X          X             X           X      4                                  X                                                           X              X                 X                 X                X
 1032013-01     L.B.     6/24/2018    8/21/2018            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1032032-01     R.C.     6/17/2018    10/5/2018            1               X                    X             X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1032034-01     M.J.     6/29/2018    1/28/2020            1               X                    X                            X          X             X           X      3                                  X              X            X               X               X              X                 X                 X                X
 1032147-02     A.N.      7/1/2018   10/10/2018            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1032163-05     J.L.     6/12/2018    1/23/2019            2               X                                  X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1032233-01     M.F.     6/25/2018    9/16/2018            2               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1032357-01     E.M.     6/24/2018    1/13/2019            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                                              X                 X                 X                X
 1032357-02     R.P.     6/24/2018    12/2/2018            1               X                    X             X              X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1032479-02     P.H.     6/29/2018    9/13/2018            2               X                                  X              X          X             X           X      2     X     X                      X              X            X               X               X              X                 X                 X                X
 1032512-02     G.H.     6/26/2018   11/15/2018            2               X                    X             X              X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1032542-02     D.S.     6/27/2018    9/12/2018            2               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1032553-01     T.B.      7/7/2018   11/30/2018            4               X                    X             X              X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1032554-01     J.D.      7/5/2018   10/11/2018            1               X                    X                            X          X                         X      4     X     X                      X              X            X                               X              X                 X                 X
 1032568-03     Y.M.      7/7/2018    1/29/2019            1               X                                                 X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1032577-01     M.E.      7/1/2018    2/20/2019            1               X                    X             X              X          X             X           X      6                                  X                           X                               X              X                 X                 X                X
 1032589-01     T.T.     6/15/2018    1/25/2019            1               X                    X                            X                                    X      4     X     X                      X              X            X                               X              X                 X                 X
 1032626-01     R.V.     6/29/2018   12/18/2018            1               X                    X             X              X          X             X           X     12           X        X                            X            X                               X              X                 X                 X                X
 1032638-02     S.R.     7/10/2018    9/13/2018            1               X                                  X              X          X             X           X      7     X     X        X                            X            X                               X              X                                   X                X
 1032652-02     V.S.     6/17/2018    9/15/2018            3               X                    X             X              X          X             X           X     14     X                                                                                        X              X                 X                 X                X
 1032659-01     E.C.     6/22/2018     8/9/2018            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1032665-01     Y.S.      7/3/2018    8/16/2018            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1032673-01     A.C.      6/6/2018     9/6/2018            3               X                    X             X              X          X             X           X      7                                  X                           X                               X              X                 X                 X                X

                                                                                                                                                16 of 133                                                                                                                                                                             Exhibit 1
                           Case 1:24-cv-08606-JRC                                                          Document 1-4 Filed 12/17/24                                                Page 19 of 580 PageID #:
                                                                                                                      1466
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1032679-01     C.D.     6/25/2018    8/16/2018            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1032683-01     A.B.      7/7/2018    9/25/2018            1               X                    X             X              X          X             X           X      4           X        X                            X                                            X              X                 X                 X                X
 1032768-01     V.S.      7/7/2018     4/9/2019            1               X                    X                            X                                    X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1032786-01     J.W.     6/18/2018    9/19/2018            1               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1032844-01      I.F.    6/18/2018    8/18/2018            1               X                    X             X              X          X             X           X      8                                                              X                               X              X                 X                                  X
 1032856-01     G.C.      7/7/2018    9/17/2018            1               X                    X             X              X          X                         X      7     X     X                                     X            X                               X              X                 X                 X                X
 1032858-02     Y.R.      7/7/2018   10/24/2018            2               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1032882-03     R.S.      7/8/2018     9/5/2018            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1032903-01     R.P.      7/3/2018    9/20/2018            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1032903-02     S.O.      7/3/2018    9/20/2018            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1032903-03     G.Z.      7/3/2018    8/16/2018            3               X                    X             X              X          X             X           X     11     X                            X                           X               X               X              X                 X                 X                X
 1032911-01     M.F.     6/15/2018    12/4/2018            2               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1032915-04     P.C.      7/6/2018    6/13/2019            2               X                    X             X              X          X             X           X     11     X     X        X                            X            X               X               X              X                 X                 X                X
 1032985-02     R.L.      7/5/2018    10/5/2018            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1032988-02     T.G.     6/23/2018    9/17/2018            1               X                                                 X          X                         X      2     X     X                      X              X            X                               X              X                 X                 X                X
 1033056-01     N.M.      7/6/2018    12/8/2020            1               X                    X             X              X          X             X           X     10                                  X              X            X                               X              X                 X                 X                X
 1033063-02      J.S.    7/10/2018   10/11/2018            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1033100-01     M.K.      7/9/2018    9/17/2019            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1033148-02     D.B.      7/5/2018    9/24/2018            1               X                    X                            X          X             X           X      1                                                              X                                              X                 X                 X                X
 1033148-03     D.B.      7/5/2018    9/17/2018            4               X                    X                            X          X             X           X      8           X        X             X              X            X               X               X              X                 X                 X                X
 1033150-01     A.B.     7/14/2018    9/16/2018            1               X                    X                            X          X             X           X     13     X                                           X            X                               X              X                 X                 X                X
 1033217-01     M.C.     6/26/2018    8/16/2018            1               X                    X             X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1033222-01     M.B.     7/11/2018    9/25/2018            2               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1033226-01     F.P.     7/11/2018     9/4/2018            1               X                    X                            X          X             X           X      6     X              X             X              X            X                               X              X                 X                 X
 1033233-01     C.N.     7/10/2018   10/18/2018            2               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1033437-02     P.P.     7/11/2018    10/9/2018            2               X                                                 X          X             X           X      6           X        X             X              X            X               X               X              X                 X                 X                X
 1033442-02     N.J.     7/18/2018    4/12/2019            1               X                                                 X          X                         X      8     X     X        X                            X            X                               X              X                                   X                X
 1033482-01     C.D.     6/21/2018    11/9/2018            1               X                    X             X              X          X             X           X      3                    X                            X            X                               X              X                 X                 X                X
 1033507-01      J.S.     7/9/2018    12/5/2018            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1033523-01     M.M.     7/13/2018    11/1/2018            1               X                    X             X              X          X             X           X     13     X     X        X                            X                                            X              X                 X                 X                X
 1033545-01     F.C.      7/7/2018     9/4/2018            1               X                    X                            X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1033734-02     P.M.     6/30/2018   11/21/2018            1               X                    X             X              X          X             X           X     13     X              X                            X            X                               X              X                 X                 X                X
 1033745-01     R.E.     7/14/2018    11/2/2018            1               X                                                 X          X                         X     11     X     X                                     X            X                               X              X                 X                 X                X
 1033768-01     C.P.     7/17/2018    9/25/2018            2               X                    X             X              X          X             X           X     15     X                                                        X                               X              X                 X                 X                X
 1033768-04     C.F.     7/17/2018    9/18/2018            4               X                    X             X              X          X             X           X     13                                  X                           X                               X              X                 X                 X                X
 1033778-01     F.D.     7/12/2018    1/17/2019            1               X                    X             X              X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1033817-02     N.F.     7/15/2018    9/27/2018            2               X                    X             X              X          X             X           X      7     X     X                                     X            X                               X              X                 X                 X                X
 1033869-02     R.C.     7/19/2018    9/18/2018            1               X                    X                            X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X
 1033886-01     A.L.     6/30/2018   12/17/2018            2               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1033893-02     A.L.     6/28/2018    1/26/2019            6               X                    X             X              X          X             X           X     13     X     X        X             X              X            X               X               X              X                 X                 X                X
 1033913-01     J.R.      7/1/2018     4/5/2019            1               X                                                 X                        X                  0                                                              X               X               X              X                 X                                  X
 1033920-03     C.B.     7/23/2018    6/26/2020            1               X                    X                            X          X             X           X      4           X                      X              X            X               X               X              X                 X                 X                X
 1033956-01     O.P.     7/16/2018    8/31/2018            1               X                    X             X              X                                    X      6     X     X        X             X              X            X                                              X                 X                 X                X
 1033964-02     M.P.     7/21/2018   10/27/2018            1               X                    X             X              X          X             X           X      1                                                              X                               X              X                 X                 X                X

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                                                                                                                       1467
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




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                                                                                             Chiropractic




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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1034013-01     E.R.      7/13/2018     9/4/2018            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1034039-02     S.J.       7/9/2018    9/17/2018            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1034082-01     Y.P.      7/18/2018   10/25/2018            1               X                                  X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1034090-02     J.M.      7/16/2018   10/27/2018            1               X                    X             X              X          X             X           X      7           X        X                            X            X                               X              X                 X                 X                X
 1034092-03     G.B.      7/10/2018    10/8/2018            2               X                                  X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1034163-01     E.C.      6/29/2018    8/27/2018            2               X                    X             X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1034243-01     M.R.      7/25/2018     1/7/2019            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1034268-02     M.P.      7/22/2018    2/26/2019            1               X                    X                            X          X                         X      2                                  X                           X               X               X              X                 X                 X                X
 1034293-01     R.P.      7/23/2018    5/20/2019            1               X                                                 X          X                         X      4     X     X                                     X            X                               X              X                 X                 X
 1034307-01     E.Z.      7/22/2018     3/4/2021            1               X                                  X              X          X             X           X      8     X     X        X             X                           X                               X              X                 X                 X                X
 1034316-02     B.T.      7/23/2018   10/31/2018            3               X                    X             X              X          X             X           X     12     X     X                                                                                  X              X                 X                 X                X
 1034335-01     J.L.      7/21/2018   11/20/2018            1               X                    X             X              X          X             X           X     13                                  X                           X                                              X                 X                 X                X
 1034337-01     A.L.      7/25/2018   10/29/2018            1               X                    X             X              X          X             X           X     15     X     X                      X              X            X                               X              X                 X                 X                X
 1034375-01     A.B.      7/11/2018    4/11/2019            3               X                    X             X              X          X             X           X     11                                  X                           X               X               X              X                 X                 X                X
 1034393-03     M.M.      7/17/2018    2/13/2019            2               X                    X                            X          X             X           X     10     X              X             X              X            X                               X              X                 X                 X                X
 1034393-90     W.E.      7/17/2018    6/28/2019            1                                                                                                      X      7     X     X        X             X              X                                            X                                                  X
 1034463-01     K.K.      7/17/2018    1/23/2019            1               X                    X             X              X          X                         X     13     X     X                      X              X                                                           X                 X                 X                X
 1034487-01     A.M.      7/29/2018    8/28/2018            1               X                    X                            X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1034489-01     A.D.      7/17/2018    1/18/2021            1               X                                  X              X          X             X           X     10     X                            X                           X               X               X              X                 X                 X                X
 1034504-02     T.H.      6/26/2018   10/27/2018            3               X                                  X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1034504-03     M.J.      6/26/2018   10/15/2018            7               X                    X             X              X          X             X           X      8     X                                                        X                               X              X                 X                 X                X
 1034516-01     J.M.      7/28/2018   10/18/2018            1               X                                                 X          X                         X      8     X     X        X                            X            X                               X                                X                 X
 1034623-01     R.A.      7/25/2018   10/11/2018            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1034626-03     R.S.      7/28/2018     9/4/2018            1               X                    X                            X          X             X           X      4     X              X             X              X            X                               X              X                 X                 X                X
 1034668-01     V.I.      7/23/2018    11/4/2018            4               X                    X             X              X          X             X           X     16     X              X                            X            X                               X              X                 X                 X                X
 1034670-01     M.G.       7/6/2018    5/14/2019            1               X                    X             X              X          X             X           X      4     X                                                        X                                              X                 X                 X                X
 1034673-01     R.R.      7/24/2018     6/6/2019            1               X                    X             X              X          X             X           X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1034674-01     A.H.      7/30/2018    9/20/2018            1               X                    X             X              X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1034680-02     N.M.      7/26/2018    1/10/2019            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1034775-01     H.A.      7/29/2018    9/20/2018            1               X                    X             X              X          X                         X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1034798-01     W.G.      7/30/2018    3/21/2019            1               X                                                 X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1034850-02     T.S.     10/27/2017   10/20/2018            4               X                    X             X              X          X             X           X      9     X     X                                     X            X                               X              X                 X                 X                X
 1034977-01     L.O.      7/25/2018    11/5/2018            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1035046-01     M.P.      7/21/2018    3/28/2019            1               X                                                 X          X             X           X      4           X                      X              X                                            X              X                 X                 X                X
 1035048-02     D.J.      7/30/2018   10/21/2018            5               X                    X             X              X          X             X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1035070-01     S.P.      7/30/2018   10/23/2018            1               X                    X                            X          X                         X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1035076-02     S.W.      7/29/2018    1/10/2019            1               X                                                 X          X             X           X      4                    X             X              X            X                               X              X                 X                 X                X
 1035093-03     V.H.      7/22/2018   10/22/2018            1               X                    X             X              X          X             X           X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1035109-01     S.S.      7/31/2018     7/8/2019            3               X                    X             X              X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1035119-04     M.A.      7/29/2018    1/15/2020            1               X                                                 X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X
 1035254-01     M.N.       8/4/2018    9/30/2018            2               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1035304-01     T.T.       8/2/2018     3/6/2019            2               X                    X             X              X          X             X           X     12     X     X                                     X            X               X               X              X                 X                 X                X
 1035354-02     S.A.       8/7/2018   12/14/2018            2               X                    X             X              X          X                                0                                  X                           X                               X              X                 X                 X                X
 1035377-01     F.F.      7/30/2018    6/18/2019            1               X                    X             X              X          X                         X      9     X     X        X             X              X                                            X              X                 X                 X                X

                                                                                                                                                 18 of 133                                                                                                                                                                             Exhibit 1
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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




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                                                                                                                                                   EDx Testing




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                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1035424-02     T.B.      7/5/2018     7/1/2019            1               X                    X             X              X          X                         X      5                                  X                           X               X               X              X                 X                 X                X
 1035456-02     C.R.      8/5/2018     6/9/2019            1               X                    X             X              X          X             X           X      6                                                 X            X                               X              X                 X                 X                X
 1035461-01     G.C.      8/3/2018    5/21/2021            1               X                    X             X              X          X             X           X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1035490-01     A.K.      8/2/2018   10/23/2018            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1035555-01     J.S.     7/30/2018    1/28/2019            1               X                    X             X              X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1035779-02     J.F.      8/5/2018    12/8/2018            3               X                    X             X              X          X             X           X      6                                  X                           X                               X              X                 X                 X                X
 1035841-02     C.S.     8/15/2018   10/17/2018            3               X                    X             X              X          X             X           X     10     X                                                                                        X              X                 X                 X                X
 1035852-01     J.B.      8/2/2018   10/31/2018            1               X                    X                            X          X             X           X      6     X     X        X             X              X                                            X              X                 X                 X                X
 1035871-02     A.C.      8/3/2018     8/1/2019            1               X                    X             X              X                        X           X      5           X                      X                           X               X               X              X                 X                 X                X
 1035881-04     D.F.      8/5/2018   10/11/2018            1               X                    X             X              X          X                         X      3     X              X                            X            X                               X              X                 X                 X                X
 1035885-01     W.B.      8/2/2018    2/14/2019            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1035914-01     R.C.     7/23/2018    10/6/2018            1               X                    X             X              X          X             X           X      3     X                            X                           X                                              X                 X                 X                X
 1036004-03     S.S.     7/18/2018   10/23/2018            2               X                    X             X              X          X             X           X      8     X     X                      X              X            X               X                              X                 X                 X                X
 1036027-02     C.E.     8/11/2018   11/16/2018            3               X                    X             X              X          X             X           X     21     X     X        X             X              X            X               X               X              X                 X                 X                X
 1036032-04     M.C.     8/12/2018   11/24/2018            1               X                    X             X              X                        X           X      8     X                                                        X                               X              X                 X                 X                X
 1036041-02     L.R.     7/24/2018    1/15/2019            1               X                    X             X              X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1036044-01     L.M.     8/14/2018     2/8/2019            1                                                                 X                                    X      3           X                                                  X                               X                                X                 X
 1036054-01     D.W.     8/11/2018   10/29/2018            3               X                    X             X              X          X             X           X     11     X                            X                           X                               X              X                 X                 X                X
 1036054-02     M.D.     8/11/2018   10/29/2018            4               X                    X             X              X          X             X           X      9     X                            X                           X               X               X              X                 X                 X                X
 1036056-03     N.O.     8/16/2018    2/14/2019            1               X                                                 X          X                         X      5           X                      X              X                                            X              X                 X                 X                X
 1036059-01     V.G.     7/19/2018    11/8/2018            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1036099-01     M.R.     8/12/2018   11/11/2018            1               X                    X             X              X          X             X           X      1     X                                                        X                               X              X                 X                 X                X
 1036099-02     J.N.     8/12/2018   11/11/2018            1               X                    X             X              X          X             X           X      4     X                            X                           X                               X              X                 X                 X                X
 1036135-01     M.B.     8/19/2018    12/2/2018            2               X                    X             X              X          X             X           X     15     X                                                                                        X              X                 X                 X                X
 1036157-01     D.D.     7/23/2018    2/20/2019            1               X                    X             X              X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1036185-03     J.M.     8/17/2018    2/14/2019            1               X                    X             X              X                        X           X      4                                  X                           X               X               X              X                 X                 X                X
 1036188-01     W.E.     8/17/2018    12/2/2018            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X
 1036188-02     J.H.     8/17/2018    12/9/2018            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X
 1036227-01     K.C.      8/9/2018   12/11/2018            2               X                                                 X          X                                0                                  X                           X               X               X              X                 X                 X                X
 1036233-01     T.T.     7/27/2018   11/12/2018            1               X                                                 X          X             X           X      5     X     X        X             X              X            X                                              X                 X                 X                X
 1036243-01     A.G.     8/17/2018    2/18/2020            1               X                    X             X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1036380-01     R.S.     8/15/2018    1/13/2019            3               X                    X             X              X                        X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1036380-03      J.I.    8/15/2018   10/18/2018            3               X                    X             X              X          X             X           X      9     X                            X                                                           X              X                 X                 X                X
 1036394-01     A.C.     8/20/2018   12/18/2018            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1036427-01     J.R.      8/7/2018    1/22/2019            1               X                                                 X                                    X      4     X     X                                     X            X                               X              X                 X                 X
 1036455-03     N.S.     8/18/2018   10/23/2018            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1036508-02     G.P.     8/14/2018   10/24/2018            1               X                                                 X          X             X           X     14     X     X                      X              X            X                               X              X                 X                 X                X
 1036520-02     E.L.     8/14/2018   11/17/2018            4               X                    X                            X          X             X           X      8                                  X                           X                               X              X                 X                 X                X
 1036521-01     S.O.     8/18/2018    3/14/2019            2               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1036522-02     R.M.     8/18/2018   12/10/2018            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1036671-01     A.B.     8/17/2018   12/14/2018            1               X                                  X              X          X             X           X      2     X                            X              X            X                               X              X                                   X                X
 1036718-01     A.F.     7/27/2018     1/6/2020            1               X                    X             X              X          X             X           X     12     X                            X                           X                               X              X                 X                 X                X
 1036759-02     S.C.     8/28/2018    1/18/2019            3               X                                                 X          X                         X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1036760-02     B.S.     8/18/2018    2/20/2019            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1036760-04     T.P.     8/18/2018   12/19/2018            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1036765-01     Y.J.     8/26/2018    7/22/2019            1               X                    X             X              X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1036765-03     M.H.     8/26/2018    3/25/2019            1               X                    X             X              X          X                         X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1036814-02     C.C.     8/25/2018   10/22/2018            2               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1036906-02     A.G.     8/22/2018    6/14/2019            3               X                    X             X              X          X                         X      2                                  X                           X                               X              X                 X                 X                X
 1036926-01     S.G.     7/31/2018    6/12/2019            1               X                    X             X              X          X             X           X     21     X     X                                                  X                               X              X                 X                 X                X
 1036943-03     C.S.     8/26/2018   11/13/2018            2               X                                                 X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1036945-01     L.M.     8/19/2018   10/31/2018            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1036956-01     R.L.      8/2/2018   10/30/2018            1               X                    X             X              X          X                         X      5     X     X        X                            X            X                               X              X                 X                 X
 1037005-01     F.A.     8/24/2018     1/3/2019            1               X                    X             X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X
 1037035-01     L.S.      8/6/2018   12/20/2019            1               X                    X                            X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1037054-01     P.N.     8/22/2018    1/24/2019            1               X                    X             X              X          X             X                  0                                  X              X            X                               X              X                 X                 X                X
 1037061-01     D.B.     8/15/2018    1/23/2019            2               X                                  X              X          X             X           X     11     X     X        X             X              X            X                               X                                                  X
 1037093-01     C.V.     8/24/2018    4/12/2019            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1037097-01     N.T.      8/4/2018   11/14/2018            2               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1037127-02     A.P.     8/27/2018    4/12/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1037203-01     J.B.     8/20/2018   10/11/2018            2               X                    X             X              X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1037213-01     B.M.      9/4/2018    1/19/2019            5               X                    X             X              X          X             X           X     11     X                            X                           X               X               X              X                 X                 X                X
 1037291-01     J.P.     8/21/2018   12/24/2018            1               X                    X                            X          X             X           X      4     X     X                                     X            X                               X              X                 X                 X                X
 1037301-02     S.W.     8/24/2018   11/27/2018            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1037311-01     J.P.     8/16/2018   12/13/2018            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1037346-01     D.P.      9/1/2018    12/6/2018            1               X                    X                            X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1037361-01     A.G.     8/21/2018    7/14/2019            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1037405-02     J.G.      9/1/2018   10/19/2018            3               X                    X             X              X          X             X           X      6                                                              X                               X              X                 X                 X                X
 1037419-04     C.W.     8/20/2018    9/27/2018            2               X                    X             X              X          X             X           X      4                                                              X                               X              X                 X                 X                X
 1037448-02     M.C.     8/22/2018   10/27/2018            3               X                    X             X              X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1037448-05     K.S.     8/22/2018    1/16/2019            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1037473-01     A.P.      9/7/2018     3/4/2019            2               X                                                 X          X             X           X      1                                  X              X            X               X               X              X                 X                 X                X
 1037487-01     L.G.      9/2/2018    1/29/2019            3               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1037488-02     A.F.      8/5/2018   11/10/2018            1               X                    X                            X                        X           X      4           X        X                            X            X                               X              X                 X                 X
 1037538-01     J.R.     8/28/2018    11/6/2018            1               X                    X             X              X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1037638-03     K.B.      9/5/2018   11/18/2018            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1037648-01     K.R.      9/5/2018    2/21/2019            1               X                    X             X              X          X             X           X      1           X                      X              X            X                               X              X                 X                 X                X
 1037725-01     A.I.     8/28/2018    4/20/2019            1               X                    X             X              X          X             X           X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1037734-02     M.M.     8/31/2018    5/14/2019            2               X                                  X              X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1037762-03     P.R.     8/12/2018    2/28/2019            1               X                    X             X              X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1037786-02     J.M.     9/10/2018   10/30/2018            2               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1037862-02     M.O.     8/27/2018   10/30/2018            1               X                                                 X          X                         X      3     X                                                        X                               X                                                  X
 1037885-01     L.L.     8/28/2018     2/8/2019            1               X                                                 X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X
 1037941-01     A.H.     8/28/2018    4/16/2019            1               X                    X             X              X          X                         X      5     X     X        X                            X            X                               X              X                 X                 X
 1037950-02     V.B.      9/9/2018   12/13/2018            2               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1037963-04     D.C.     8/29/2018   11/18/2018            1               X                    X             X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1037963-05     K.M.     8/29/2018    10/7/2018            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1038022-02     H.C.      9/7/2018    2/28/2019            1               X                    X             X              X                                    X      4     X     X                      X              X            X                               X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                                                                                                        Compression
                                                                                            Chiropractic




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                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1038056-03     W.S.     8/30/2018   11/12/2018            1               X                    X             X              X                        X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1038065-01     R.E.     8/25/2018    4/20/2019            1               X                    X             X              X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1038068-01     C.A.     8/29/2018   10/21/2018            1               X                    X             X              X          X             X           X      4           X        X                            X            X                                              X                 X                 X                X
 1038084-02     A.Q.     8/28/2018   11/13/2018            2               X                    X                            X          X                         X      7     X              X             X              X            X                               X              X                 X                 X                X
 1038087-01     J.B.     9/13/2018    3/11/2019            1               X                                                 X          X             X           X      4     X                            X                           X                               X              X                 X                 X                X
 1038110-01     L.F.     9/11/2018    2/14/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1038118-01     R.C.      9/4/2018    11/9/2018            2               X                                                 X          X                         X     11     X     X        X             X              X            X                               X                                                  X
 1038134-02      J.J.    9/11/2018   11/18/2018            1               X                    X             X              X          X             X           X     20     X     X        X                            X            X                                              X                 X                 X                X
 1038161-03     C.B.     9/10/2018    12/9/2018            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1038175-03     S.B.      9/3/2018   11/18/2018            4               X                    X             X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1038179-02     J.Y.      9/6/2018    4/29/2019            1               X                    X             X              X          X             X           X      7           X        X             X              X            X                               X              X                 X                 X                X
 1038205-01     E.C.     8/30/2018    2/15/2019            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1038228-02      I.Z.    8/28/2018    2/27/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X                                            X              X                 X                 X                X
 1038394-01     Z.M.      8/8/2018    3/12/2019            2               X                                  X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1038421-02     C.A.     9/15/2018   12/24/2018            1               X                                                 X                                    X      6     X     X                                     X            X                               X                                                  X
 1038467-02     C.T.     9/10/2018    1/17/2019            1               X                                                 X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1038532-02     D.P.      9/3/2018   12/20/2018            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1038538-01     J.V.     9/15/2018     3/9/2019            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1038662-02      I.L.    9/11/2018    7/26/2019            2               X                    X             X              X          X             X           X     16     X                                                                                        X              X                 X                 X                X
 1038666-02     D.K.     8/23/2018    2/24/2020            1               X                    X             X              X          X                         X      6     X     X        X             X              X            X                                              X                 X                 X
 1038696-01     V.S.     7/28/2018   12/26/2018            2               X                    X                            X                        X           X      2                                                              X                               X              X                 X                 X                X
 1038716-01     A.A.     9/19/2018   12/19/2018            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1038724-01     D.C.     9/16/2018     3/8/2019            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1038748-02     J.R.     9/17/2018     1/7/2019            2               X                    X                            X          X                         X      7     X              X             X              X            X               X               X              X                 X                 X                X
 1038778-01     J.F.     9/17/2018   10/31/2018            2               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1038778-02     R.S.     9/17/2018   11/14/2018            1               X                                  X              X          X             X           X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
 1038786-04     R.F.      9/8/2018    12/4/2018            1               X                    X                            X          X                         X      3     X     X                                     X            X                               X              X                 X                 X
 1038810-01     W.X.     9/20/2018    1/25/2019            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1038827-01     R.R.     9/18/2018   11/13/2018            2               X                    X                            X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X
 1038853-03     N.T.     8/28/2018    1/18/2019            2               X                                                 X          X             X           X      6           X                      X              X            X                               X              X                 X                 X                X
 1038879-01     M.H.     8/28/2018    10/4/2018            4               X                    X                            X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1038911-01     T.T.     9/19/2018     2/6/2019            1               X                                                 X          X                         X      6     X     X        X             X              X                                            X              X                 X                 X
 1038956-01     A.B.     9/17/2018   10/31/2018            1               X                    X             X              X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1039007-01     E.M.     8/22/2018   11/15/2018            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1039025-01     J.B.     8/30/2018    9/26/2019            1               X                                  X              X          X                         X      5     X              X             X              X            X                               X              X                 X                 X
 1039035-02     S.C.     9/12/2018    1/15/2019            2               X                    X             X              X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1039066-02     M.T.     8/31/2018    1/18/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1039138-02     D.M.     9/25/2018    8/24/2019            2               X                    X             X              X          X             X           X     12                                                              X                                              X                 X                 X                X
 1039141-01     S.L.      9/3/2018    3/19/2019            1               X                                  X              X          X             X           X      9     X     X        X             X              X                                            X              X                 X                 X                X
 1039156-01     T.W.     9/17/2018    7/30/2019            2               X                    X             X              X          X                         X     17     X     X        X                            X            X                               X              X                 X                 X                X
 1039156-02     D.G.     9/17/2018   12/14/2018            3               X                    X                            X                        X           X      8     X                                                                                        X              X                 X                 X                X
 1039176-01     S.R.     9/13/2018   10/18/2018            1               X                    X             X              X          X                         X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1039214-03     E.A.     8/27/2018     1/4/2019            2               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1039220-01     E.M.     9/10/2018    11/6/2018            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                21 of 133                                                                                                                                                                             Exhibit 1
                            Case 1:24-cv-08606-JRC                                                          Document 1-4 Filed 12/17/24                                                Page 24 of 580 PageID #:
                                                                                                                       1471
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1039237-02     S.F.      9/15/2018    2/27/2019            5               X                    X             X              X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1039264-01     Z.N.      9/23/2018    11/4/2020            4               X                    X                            X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1039363-01     P.M.       9/8/2018   10/30/2018            1               X                    X             X              X          X                         X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1039396-01     R.V.      9/12/2018    6/25/2019            2               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1039460-01     L.P.      9/25/2018    12/9/2018            1               X                    X                            X          X             X           X      3     X              X                            X            X                               X              X                 X                 X                X
 1039547-01     M.S.      9/14/2018    1/21/2019            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1039656-02     S.A.       9/8/2018   10/11/2018            2               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1039727-02     E.Y.      9/21/2018    4/19/2019            1               X                                                 X          X             X           X      7     X     X        X             X              X            X                                              X                 X                 X                X
 1039735-02     W.N.      9/19/2018   10/11/2019            1               X                                                 X          X             X           X      7     X     X        X                            X            X                                              X                 X                 X                X
 1039750-01     J.R.      9/25/2018     1/6/2019            1               X                    X             X              X          X                         X     10     X                                           X                                            X              X                 X                 X                X
 1039750-02     R.M.      9/25/2018    4/23/2021            1               X                    X             X              X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1039767-02     T.F.      9/28/2018    1/24/2019            1               X                    X             X              X          X                         X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1039767-03     P.T.      9/28/2018    1/17/2019            1               X                    X             X              X          X                         X     15     X     X                                     X            X                               X              X                 X                 X                X
 1039793-01     D.J.      9/30/2018    1/17/2019            1               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1039829-01     R.D.      9/19/2018   12/13/2018            1               X                                                 X          X             X           X      6           X        X                            X            X                               X              X                 X                 X                X
 1039851-01     F.H.      9/18/2018    2/26/2021            1               X                    X                            X          X             X           X      6     X     X                                     X            X                               X              X                 X                 X                X
 1039851-02     D.V.      9/18/2018    2/19/2019            1               X                    X             X              X          X             X                  0                                  X              X            X                               X              X                 X                 X
 1039864-01     E.M.      9/30/2018   11/29/2018            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1039864-03     T.G.      9/30/2018    11/8/2018            1               X                    X             X              X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1039877-01     H.L.      9/29/2018    1/15/2019            2               X                                                 X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1039913-02     W.J.      9/20/2018     3/4/2019            1               X                    X             X              X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1039939-01     I.B.       9/9/2018     2/4/2019            1               X                                                 X          X             X           X      5     X     X        X                            X                                            X              X                 X                 X                X
 1039946-01     T.F.      10/1/2018    2/24/2020            1               X                    X             X              X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1039960-02     G.M.      9/25/2018   11/27/2018            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1039963-01     S.V.       9/9/2018     2/2/2019            1               X                    X             X              X          X             X           X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1039993-03     J.R.      9/29/2018    12/2/2018            3               X                    X             X              X          X             X           X      6                                                              X                               X              X                 X                 X                X
 1040007-01     V.L.      10/2/2018    1/15/2019            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1040035-02     S.A.      10/4/2018    1/10/2019            2               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1040037-01     I.A.      9/20/2018   12/11/2018            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X
 1040086-03     E.P.      10/3/2018    12/2/2018            1               X                    X             X              X                        X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1040201-02     K.J.      10/2/2018     2/1/2019            1               X                    X             X              X          X             X           X     20     X     X        X             X              X                                            X              X                 X                 X                X
 1040235-01     T.F.     10/10/2018    2/23/2019            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X               X               X              X                 X                 X                X
 1040282-02     F.P.      9/10/2018     1/8/2020            1               X                                                 X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1040386-01     C.W.      10/3/2018     3/9/2019            3               X                    X             X              X          X             X           X      7                                  X                           X               X               X              X                 X                 X                X
 1040402-01     K.D.      10/5/2018     2/8/2019            2               X                                                 X          X             X           X      8           X        X             X              X                                            X              X                 X                 X                X
 1040402-02     P.S.      10/5/2018    12/4/2018            2               X                    X                            X          X             X           X      9     X     X        X             X              X            X                                              X                 X                 X                X
 1040494-02     M.B.      9/23/2018     4/3/2019            3               X                                                 X                        X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1040505-01     E.T.      9/16/2018    11/8/2018            4               X                    X             X              X          X             X           X     11     X                                                        X                               X              X                 X                 X                X
 1040508-01     A.C.      10/5/2018    6/24/2019            1               X                    X             X              X          X             X           X      8                                  X                           X                               X              X                 X                 X                X
 1040527-02     D.B.      10/1/2018   12/11/2018            2               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1040538-01     M.C.      9/15/2018    11/5/2018            3               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1040553-02     C.F.      10/4/2018     2/8/2019            1               X                                                 X          X                         X      2                    X                            X            X                               X              X                 X                 X
 1040568-01     S.E.      9/26/2018   12/16/2018            2               X                    X             X              X          X             X           X      4           X        X             X              X            X                               X              X                 X                 X                X
 1040580-01     V.H.      10/7/2018   11/27/2018            1               X                    X             X              X          X             X           X     14     X     X                                     X            X                               X              X                 X                 X                X

                                                                                                                                                 22 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                       1472
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




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                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1040641-01     P.J.      9/25/2018    1/18/2019            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1040693-03     A.P.      10/4/2018     2/8/2019            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1040784-01     L.J.      9/28/2018    6/19/2019            4                                                                 X          X             X           X      4           X        X             X              X            X               X               X              X                 X                 X                X
 1040802-01     M.S.      10/3/2018   11/27/2018            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1040813-03     V.H.      10/4/2018   12/20/2018            1               X                                                 X          X             X           X      7     X     X        X                            X                                            X              X                 X                 X                X
 1040855-01     E.S.     10/10/2018     9/9/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1040879-02     S.T.     10/10/2018    9/11/2021            7               X                                                 X          X             X           X      3           X                      X                           X                               X              X                 X                 X                X
 1040933-02     P.O.      10/6/2018    4/20/2019            6               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1040939-03     L.F.      10/4/2018     3/8/2019            1               X                    X                            X          X             X           X      2                    X                                         X                               X              X                 X                 X                X
 1040968-02     S.S.      10/6/2018    4/19/2019            1               X                    X             X              X          X                         X      9     X     X        X                            X                                            X              X                 X                 X                X
 1041021-01     E.D.     10/13/2018    1/28/2019            3               X                    X             X                                       X           X      3                                                                                              X              X                 X                 X                X
 1041029-01     J.R.      10/1/2018    1/10/2019            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1041046-01     R.E.     10/12/2018    12/4/2018            1               X                    X             X              X          X             X           X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1041068-01     L.M.      9/18/2018    3/14/2019            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1041103-02     O.G.     10/14/2018    2/10/2019            1               X                    X             X              X          X             X           X     16     X              X             X              X            X                               X              X                 X                 X                X
 1041115-01     G.C.     10/15/2018    1/18/2019            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1041152-02     M.J.      9/18/2018     4/3/2019            2               X                    X                            X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1041218-01     H.V.      10/2/2018   12/18/2018            3               X                                  X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1041239-01     M.B.      10/5/2018    6/18/2019            2               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1041313-01     E.G.      9/23/2018    2/11/2019            1               X                                                 X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1041372-01     W.L.     10/11/2018    1/21/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1041446-01     J.P.     10/19/2018     3/8/2019            1               X                    X             X              X          X                         X     13     X     X        X             X              X            X                               X              X                 X                 X
 1041457-01     S.S.     10/12/2018    2/20/2019            4               X                    X                            X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1041495-02     D.F.     10/15/2018     4/5/2019            1               X                                                 X          X             X           X      5           X                                     X                                            X                                X                 X                X
 1041534-01     J.S.      10/7/2018    8/20/2019            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1041572-03     S.S.     10/12/2018     5/1/2019            1               X                    X                            X          X                         X      2                                                              X                               X              X                 X                 X                X
 1041572-04     J.A.     10/12/2018     4/9/2019            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1041584-01     J.G.     10/11/2018   12/13/2018            1               X                    X                            X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1041614-01     R.H.     10/18/2018     3/4/2019            4               X                                  X              X          X             X           X     15     X     X        X                            X            X               X               X              X                 X                 X                X
 1041644-02     S.W.      10/8/2018     7/8/2019            1               X                    X                            X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1041682-01     J.R.     10/21/2018    11/6/2020            1               X                                  X              X          X             X           X     12     X     X        X             X              X                                            X              X                 X                 X                X
 1041755-02     L.R.     10/19/2018    4/23/2021            1               X                    X                            X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1041813-01     J.F.     10/22/2018     3/7/2019            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                                  X
 1041816-01     D.R.     10/15/2018    6/25/2020            1               X                                                 X          X                         X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1041883-02     L.R.     10/16/2018     2/8/2019            1               X                                                 X          X             X           X      2                    X                            X            X                               X              X                 X                 X                X
 1041957-01     M.V.     10/11/2018    6/12/2019            1               X                                  X              X          X                                0                                                              X                               X              X                 X                 X                X
 1041961-01     J.R.     10/17/2018    1/26/2022            1               X                                  X              X          X                         X      5     X     X                      X                           X                               X                                X                 X
 1042017-01     H.L.     10/24/2018     3/8/2019            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1042035-01     E.E.      10/1/2018    11/4/2019            1               X                                                 X          X             X           X      2                    X                            X            X                               X              X                 X                 X                X
 1042044-02     K.D.     10/16/2018   10/28/2019            2               X                    X             X              X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1042074-01     S.S.     10/19/2018    12/7/2018            3               X                    X             X              X          X                         X     12     X                            X                           X                               X              X                 X                 X                X
 1042075-01     J.K.      10/3/2018     5/6/2019            1               X                    X             X              X          X                         X      4     X     X        X             X              X            X               X               X              X                 X                 X                X
 1042081-01     F.C.     10/22/2018    1/15/2019            2               X                    X             X              X          X             X           X     27     X     X        X             X              X            X                               X              X                 X                 X                X
 1042111-01     H.Q.     10/14/2018    1/15/2019            1               X                                  X              X                        X           X      2                                                 X            X                               X              X                 X                 X                X

                                                                                                                                                 23 of 133                                                                                                                                                                             Exhibit 1
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
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                                                                                                                                                                         DME Devices




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                                                                                                            Acupuncture




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                                                                                             Chiropractic




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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
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                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1042125-01     N.G.     10/20/2018     8/5/2019            1               X                                                 X          X             X           X      5                    X             X              X            X                               X              X                 X                 X                X
 1042240-01     G.M.     10/15/2018   12/20/2018            1               X                    X             X              X                        X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1042273-02     O.S.     10/26/2018     1/7/2019            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1042288-02     N.D.      10/1/2018    7/23/2020            1               X                    X             X              X          X             X           X      5           X                      X              X            X                               X              X                 X                 X                X
 1042294-01     C.A.     10/12/2018     2/1/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X                                X                 X                X
 1042294-02     M.V.     10/12/2018    1/25/2019            2               X                    X             X              X          X             X           X     13     X     X        X             X              X            X               X               X              X                 X                 X                X
 1042294-03     W.V.     10/12/2018    1/18/2019            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1042294-04     J.P.     10/12/2018    1/26/2019            5               X                    X             X              X          X             X           X     12     X     X                      X              X            X                               X              X                 X                 X                X
 1042362-01     E.R.     10/30/2018     8/3/2019            2               X                    X             X              X          X             X           X     14     X                            X              X            X               X               X              X                 X                 X                X
 1042368-01     P.M.     10/28/2018    1/15/2019            1               X                    X             X              X          X             X           X      1                                  X                                           X               X              X                 X                                  X
 1042409-01     M.H.     10/21/2018     1/5/2019            3               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1042567-02     M.M.      10/5/2018    2/10/2019            1               X                    X             X              X          X             X           X      4     X                                           X            X                               X              X                 X                 X                X
 1042575-01     T.T.     10/16/2018    12/6/2018            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1042585-01     J.H.     10/30/2018    3/27/2019            1               X                    X             X              X          X             X           X     17     X              X             X              X            X                               X              X                 X                 X                X
 1042660-01     G.L.      11/5/2018    5/14/2019            2               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                                  X
 1042707-03     G.M.      11/2/2018    2/15/2019            3               X                    X             X              X          X             X           X      7                                                                                              X              X                 X                 X                X
 1042760-02     Y.P.     10/25/2018    12/7/2018            2               X                    X                            X          X                         X      8                                                              X                               X              X                 X                 X                X
 1042905-02     L.E.      11/6/2018     8/1/2019            8               X                    X                            X          X             X           X      2                                  X              X            X                               X              X                 X                 X                X
 1042952-01     R.S.     10/29/2018    3/12/2019            1               X                    X             X              X          X                         X      6     X     X                                     X            X                               X              X                 X                 X                X
 1043001-01     M.G.      11/5/2018    6/25/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                                              X                 X                 X                X
 1043024-01     S.Q.     10/31/2018   12/20/2018            2               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1043030-02     R.R.     10/28/2018    1/11/2019            1               X                    X                            X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X
 1043037-02     K.S.     10/30/2018    2/28/2019            5               X                                                 X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1043094-01     S.J.     10/29/2018     2/1/2019            3               X                    X             X              X          X             X           X     10                                  X                                                           X              X                 X                 X                X
 1043106-01     C.G.      11/6/2018    6/21/2019            1                                                  X              X                                    X      9     X     X        X             X              X            X                               X              X                 X                 X
 1043108-02     K.K.      11/6/2018    1/17/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1043109-01     V.L.     10/23/2018     8/2/2019            1               X                                                 X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1043121-02     P.A.      11/7/2018     2/5/2019            1               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1043234-01     W.N.      11/9/2018     3/7/2019            1               X                    X             X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1043278-03     R.A.      11/1/2018     3/5/2019            3               X                                  X              X          X             X           X      8     X                            X                           X                               X              X                 X                 X                X
 1043278-04     R.I.      11/1/2018    1/22/2019            3               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1043308-01     R.G.     10/14/2018     1/4/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1043436-01     J.R.      11/2/2018    1/15/2019            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1043446-01     B.J.      11/7/2018     3/6/2019            2               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1043451-01     E.M.      11/8/2018    2/12/2019            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1043451-02     P.E.      11/8/2018     4/9/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                                              X                 X                 X                X
 1043451-03     E.G.      11/8/2018    2/12/2019            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                                              X                 X                 X                X
 1043455-01     R.B.     11/11/2018    7/23/2019            1               X                                                 X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X                X
 1043500-01     J.L.      11/9/2018    1/22/2019            1               X                    X             X              X          X             X           X      3                    X                            X            X                                              X                 X                 X                X
 1043503-01     A.B.     10/31/2018    10/8/2019            1               X                    X             X              X          X                         X      6                    X                            X            X                               X              X                 X                 X                X
 1043515-01     N.H.     10/28/2018   12/30/2018            2               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1043531-02     M.M.      11/5/2018    3/29/2019            1               X                                                 X          X             X           X      5     X     X                      X              X            X               X               X              X                 X                 X                X
 1043540-01     L.S.      11/3/2018     6/7/2019            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1043585-01     J.D.     10/20/2018   12/21/2018            2               X                                                 X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X

                                                                                                                                                 24 of 133                                                                                                                                                                             Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




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                                                                                                            Acupuncture




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                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1043637-01     L.F.      11/1/2018     1/7/2019            1               X                                                 X          X                         X      5     X              X                            X                                            X              X                 X                 X
 1043664-01     N.Z.     11/10/2018     2/4/2019            2               X                    X             X              X          X             X           X      7     X                            X              X            X                               X              X                 X                 X                X
 1043664-02     M.L.     11/10/2018     2/4/2019            2               X                    X             X              X          X             X           X      2                                                              X               X               X              X                 X                 X                X
 1043664-03     W.G.     11/10/2018    1/12/2019            5               X                    X             X              X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1043691-01     R.B.     11/13/2018    1/27/2019            1               X                    X             X              X          X             X           X     14     X     X        X                            X            X                                              X                 X                 X                X
 1043725-01     M.R.      11/6/2018   10/28/2019            1               X                                                 X          X             X                  0                                                              X                               X              X                 X                                  X
 1043770-01     T.E.     10/26/2018    3/29/2019            1               X                    X             X              X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1043836-02     C.G.     10/27/2018    1/19/2019            7               X                                  X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1043953-01     A.R.     10/28/2018     5/1/2019            1               X                    X             X              X                        X           X      7     X     X        X                            X                                            X              X                 X                 X                X
 1043963-01     M.M.     11/19/2018    6/22/2019            1               X                    X             X              X          X             X           X      6                                                              X                               X              X                 X                 X                X
 1043991-01     D.M.      11/5/2018    2/17/2020            1               X                    X             X              X          X             X           X      2                                                              X               X               X              X                 X                                  X
 1044016-02     A.H.      11/6/2018    2/25/2019            1               X                                  X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1044017-01     A.M.     10/30/2018   10/26/2019            1               X                                                 X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1044029-01     J.R.     10/20/2018    6/14/2019            1                                                                 X          X                         X      2                                  X                                                           X              X                 X                 X                X
 1044037-01     M.T.     11/15/2018   10/24/2019            1               X                    X             X              X          X             X           X      8     X              X             X              X            X                               X              X                 X                 X                X
 1044054-01     C.T.      11/6/2018     3/5/2019            1               X                    X                            X          X             X           X      4           X                      X              X            X                               X              X                 X                 X                X
 1044064-02     M.D.      11/1/2018     7/3/2019            1               X                    X                            X          X             X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1044074-01     E.A.     11/13/2018    3/14/2019            3               X                    X             X              X          X             X           X      9                    X             X              X            X                               X              X                 X                 X                X
 1044081-01     I.N.     10/14/2018     6/7/2019            2               X                    X             X              X          X             X           X      5           X        X             X              X            X                               X              X                 X                 X                X
 1044094-01     R.A.     11/16/2018    7/25/2019            1               X                    X             X              X          X             X           X      5     X              X                            X            X                               X              X                 X                 X                X
 1044122-01     V.A.     10/31/2018    4/11/2019            1               X                    X             X              X          X                         X     11     X                            X                           X               X               X              X                 X                 X                X
 1044132-01     A.M.     11/15/2018     1/8/2019            1               X                    X             X              X          X                         X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1044132-02     I.M.     11/15/2018     1/8/2019            1               X                    X             X              X          X                         X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1044177-01     R.A.     11/18/2018   10/26/2019            1               X                    X             X              X          X             X           X     11     X     X        X                            X                                                           X                 X                 X                X
 1044215-01     A.R.     10/22/2018    6/10/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1044252-02     I.H.     11/14/2018    5/20/2019            1               X                                                 X          X                         X      4     X     X                      X              X            X                               X                                                  X
 1044295-02     E.O.     10/18/2018    4/19/2019            1               X                                  X              X          X                         X      9     X     X        X                            X                                            X              X                 X                 X                X
 1044327-01     J.T.     11/22/2018     2/6/2019            2               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1044363-02     L.P.      11/1/2018    2/13/2019            1               X                    X             X              X          X                         X      8     X     X        X             X              X            X                                              X                 X                 X                X
 1044402-01     Y.M.     11/16/2018    3/19/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1044412-01     Y.C.      11/3/2018    1/26/2019            2               X                    X             X              X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1044412-04     M.M.      11/3/2018    1/26/2019            3               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1044413-01     J.R.     11/27/2018    9/19/2019            2               X                                                 X          X                         X      6     X     X                      X              X            X                               X              X                                   X                X
 1044472-02     Y.H.      11/3/2018    3/30/2019            2               X                    X             X              X          X             X           X     10     X                                                        X                               X              X                 X                 X                X
 1044495-02     R.H.     11/19/2018    2/11/2019            1               X                                                 X          X                         X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1044531-02     D.B.     11/24/2018    2/27/2020            2               X                    X                            X          X             X           X      3     X                            X                           X                               X              X                 X                 X                X
 1044545-01     M.J.     11/23/2018    2/10/2019            1               X                    X             X              X          X                         X      4                                                 X            X                               X              X                 X                 X                X
 1044547-01     R.S.     11/21/2018    10/3/2019            1               X                                                 X          X             X                  0                                  X                           X                                              X                 X                 X                X
 1044547-02     M.D.     11/21/2018    10/3/2019            1               X                                                 X          X             X           X      1     X                                                                        X                              X                 X                 X                X
 1044549-02     D.G.      11/9/2018     3/1/2019            1               X                    X             X              X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X                X
 1044561-02     M.S.      11/8/2018    8/30/2019            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1044564-02     G.P.     11/11/2018     3/8/2019            3               X                    X             X              X          X             X           X      7                                  X                                                           X              X                 X                 X                X
 1044594-01     J.E.     11/17/2018     1/9/2019            1               X                    X                            X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1044675-02     N.V.     11/16/2018     3/2/2019            3               X                    X             X              X          X             X           X      9     X                                                        X                               X              X                 X                 X                X

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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




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                                                                                                                                       Any MRI




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                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1044685-01     Y.G.     11/29/2018     4/1/2019            2               X                                                 X          X                         X      4     X     X                      X              X            X                               X              X                                   X
 1044747-01     M.H.     11/29/2018   10/14/2019            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1044796-01     D.A.     11/26/2018    1/14/2019            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1044825-01     S.K.     11/30/2018    2/25/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1044839-02     D.G.     10/28/2018     3/7/2019            1               X                                  X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1044856-01     C.L.      12/3/2018    2/25/2019            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1044977-01     B.M.     11/24/2018    1/29/2019            2               X                    X             X              X          X                         X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1045022-02     A.P.     11/26/2018     2/2/2019            2               X                    X             X              X          X                         X      1                                                              X               X               X              X                 X                 X                X
 1045065-01     D.L.     11/18/2018    6/21/2019            2               X                    X             X              X                        X           X     13                                                                                              X              X                 X                 X                X
 1045102-01     M.A.     11/27/2018    7/10/2019            1               X                                                 X          X                         X      5     X              X                            X            X                               X                                X                 X
 1045114-01     J.G.     11/20/2018    7/12/2019            2               X                                                 X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1045120-01     A.S.     11/30/2018     3/7/2019            1               X                    X             X              X          X             X           X     14     X     X        X             X              X                                            X              X                 X                 X                X
 1045153-01     A.Z.     11/11/2018     3/7/2019            2               X                    X             X              X          X                         X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1045194-01     B.B.      12/5/2018    1/21/2019            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1045203-01     M.E.     11/24/2018    5/28/2019            1               X                    X             X              X          X             X           X     12     X     X                      X              X            X                               X              X                 X                 X                X
 1045226-01     K.R.     11/15/2018    1/31/2019            1               X                                  X              X          X                         X     11     X     X        X             X              X            X                               X              X                 X                 X
 1045263-02     B.B.     11/27/2018    3/16/2019            2               X                    X             X              X          X             X           X      6           X                      X              X            X               X               X              X                 X                 X                X
 1045288-01     M.D.     11/29/2018    1/15/2019            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1045308-02     G.M.      12/2/2018     3/7/2019            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1045341-02     R.M.     11/17/2018    3/29/2019            1               X                    X             X              X          X             X           X     16     X     X                      X              X            X                                              X                 X                 X                X
 1045346-01     R.D.      12/4/2018     3/6/2019            1               X                    X             X              X          X             X           X     10                                  X                           X               X               X              X                 X                 X                X
 1045403-01     M.L.     11/23/2018   10/24/2019            1               X                    X                            X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X                X
 1045443-01     S.E.      12/7/2018    1/21/2019            3               X                    X             X              X          X             X           X     11     X                                                                                        X              X                 X                 X                X
 1045456-02     R.J.     11/15/2018    4/15/2019            1               X                    X             X              X          X             X           X      2                                  X                           X                               X              X                 X                                  X
 1045476-02     S.Z.     11/22/2018    2/16/2019            1               X                                  X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1045476-04     Q.C.     11/22/2018    3/28/2019            1               X                                  X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1045476-06     X.C.     11/22/2018   10/15/2019            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1045476-07     Y.L.     11/22/2018    2/16/2019            2               X                                  X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1045526-01     R.R.     11/26/2018     3/5/2019            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1045534-02     R.L.      12/1/2018    3/18/2019            5               X                    X             X              X          X             X           X     10                                  X                           X               X               X              X                 X                 X                X
 1045534-04     M.R.      12/1/2018    3/11/2019            5               X                    X             X              X          X             X           X     10                                  X                           X                               X              X                 X                 X                X
 1045570-01     M.O.     11/20/2018     2/7/2019            1               X                                  X              X          X                         X      7     X     X        X                            X            X                               X                                X                 X                X
 1045581-01     B.H.     11/17/2018     2/4/2019            2               X                                                 X          X             X           X      2                    X             X              X            X                               X              X                 X                 X                X
 1045603-02     A.C.     11/28/2018    1/29/2019            1               X                    X             X              X          X             X           X     20     X     X        X             X              X                                            X              X                 X                 X                X
 1045617-01     J.C.      12/4/2018    7/30/2019            2               X                    X             X              X          X                         X      4                                  X                           X               X               X              X                 X                 X                X
 1045632-01     R.N.     11/13/2018     3/7/2019            4               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1045663-02     A.R.     11/28/2018    2/13/2019            3               X                    X             X              X          X             X           X      1                                                              X                               X              X                 X                                  X
 1045675-02     D.D.     11/30/2018    2/15/2019            3               X                    X             X              X          X             X           X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1045708-02     C.B.     11/24/2018    4/23/2019            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1045746-01     Z.E.      12/6/2018    4/12/2021            3               X                                                 X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1045771-01     M.A.      12/8/2018    3/21/2019            1               X                    X             X              X          X                         X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1045785-03     J.N.      12/6/2018    3/12/2019            1               X                    X             X              X                        X           X      3                    X                            X            X                                              X                 X                 X                X
 1045800-01     J.C.     11/26/2018    1/29/2019            1               X                                  X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1045834-02     G.D.     11/24/2018    7/26/2019            1               X                    X                            X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X

                                                                                                                                                 26 of 133                                                                                                                                                                             Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1045888-01     A.A.     11/26/2018     4/3/2019            3               X                    X                            X          X                         X      1                                                              X                               X              X                 X                                  X
 1045895-01     R.N.     11/14/2018     2/8/2019            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1045895-02     J.P.     11/14/2018    1/25/2019            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1045895-03     S.V.     11/14/2018    4/12/2019            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                                              X                 X                 X                X
 1045895-04     J.A.     11/14/2018     4/5/2019            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1045898-01     J.A.     12/16/2018    5/31/2019            3               X                    X             X              X          X             X           X     16     X     X                      X              X            X                               X              X                 X                 X                X
 1045925-01     P.C.     11/26/2018    5/29/2019            1               X                    X             X              X          X                         X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1045939-01     C.R.     11/26/2018    4/16/2019            1               X                    X                            X          X                         X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1045987-02     D.D.     11/24/2018    6/20/2020            2               X                    X             X              X          X             X           X      9     X                            X                           X                               X              X                 X                 X                X
 1046025-02     J.G.     12/13/2018    3/29/2019            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1046037-02     E.M.     11/15/2018     5/6/2019            1               X                    X             X              X          X             X           X      5                                  X                           X               X               X              X                 X                 X                X
 1046046-02     D.G.      12/2/2018    5/30/2019            2               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1046066-03     K.S.     12/11/2018     8/6/2019            2               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1046071-01     A.G.      12/6/2018    1/15/2019            1               X                    X             X              X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1046175-04     M.T.      12/7/2018    7/17/2019            1               X                                                                          X           X      6     X                                           X                                            X              X                 X                 X                X
 1046206-03     K.M.     12/13/2018    2/26/2019            5               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1046215-01     L.G.     12/14/2018     2/3/2019            4               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1046304-01     R.S.     11/21/2018     5/3/2019            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                                              X                 X                 X                X
 1046305-01     L.T.      12/2/2018    2/14/2019            2               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1046358-02     A.M.     11/27/2018     4/4/2023            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X
 1046370-01     J.T.     11/29/2018    1/29/2019            3               X                    X             X              X                        X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1046415-01     M.S.     11/28/2018     5/3/2019            1               X                                                 X                                    X      6     X     X        X             X              X            X                               X              X                                   X                X
 1046433-01     R.M.     12/10/2018    4/18/2019            1               X                    X             X              X          X             X           X     12                                  X                           X               X               X              X                 X                                  X
 1046433-02     M.H.     12/10/2018    4/18/2019            1               X                    X             X              X          X             X           X     12                                  X                                           X               X              X                 X                 X                X
 1046466-01     M.L.     12/14/2018    4/10/2019            1               X                    X             X              X          X             X           X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
 1046513-01     A.F.     12/13/2018    3/19/2019            2               X                    X             X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1046557-04     M.S.     12/12/2018    4/20/2019            3               X                    X             X              X          X             X           X      9     X                                                        X                               X              X                 X                 X                X
 1046573-01     M.V.      12/2/2018    2/24/2019            1               X                                  X              X          X             X           X     13     X                                           X            X                               X              X                 X                 X
 1046577-01     B.R.     11/29/2018     3/1/2019            1               X                    X                            X                                    X      5     X     X        X             X              X            X                               X              X                 X                 X
 1046599-01     A.B.     12/19/2018     4/1/2019            1               X                                                 X          X             X           X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1046611-01     J.C.     12/19/2018     2/2/2019            3               X                    X             X              X          X             X           X     15                                                                                              X              X                 X                 X                X
 1046611-02     E.S.     12/19/2018     2/2/2019            3               X                    X             X              X          X             X           X     15     X                                                                                        X              X                 X                 X                X
 1046634-01     M.M.     12/10/2018    4/20/2019            1               X                    X             X              X          X             X           X     11     X              X             X              X            X                               X              X                 X                 X                X
 1046695-01     A.N.     12/20/2018    4/23/2019            1               X                                                 X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1046703-01     L.B.     12/16/2018    2/16/2019            3               X                    X             X              X          X             X           X      4     X                                                        X                               X              X                 X                 X                X
 1046704-01     R.C.     12/20/2018    2/19/2019            1               X                    X             X              X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1046755-02     E.K.      12/6/2018    4/29/2019            1               X                                  X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1046770-01     N.L.     11/28/2018    2/22/2019            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1046815-02     K.A.     12/20/2018    5/16/2019            1               X                                                 X          X             X           X      4                    X             X              X                                            X              X                 X                 X
 1046819-01     J.L.     12/22/2018     3/3/2019            3               X                    X             X              X          X             X           X     13     X     X        X             X              X            X               X               X              X                 X                 X                X
 1046847-01     J.A.     11/20/2018    2/14/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1046913-01     E.L.      12/5/2018    2/17/2019            1               X                    X             X              X          X                         X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1046913-02     P.G.      12/5/2018    2/12/2019            2               X                    X             X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1046920-01     J.L.     12/17/2018     2/5/2019            3               X                    X             X              X          X             X           X      8                                  X                           X               X               X              X                 X                 X                X

                                                                                                                                                 27 of 133                                                                                                                                                                             Exhibit 1
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1046937-01     A.K.     12/16/2018    6/28/2019            2               X                    X             X              X          X                         X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1046940-01     J.A.      12/5/2018    12/4/2019            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1046949-03     R.M.     12/24/2018    4/17/2019            1               X                                                 X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1046949-04     J.G.     12/24/2018    4/12/2019            1               X                                                 X          X             X           X      5           X                                     X                                            X                                X                 X
 1046973-01     E.H.     12/21/2018     5/3/2019            1               X                                                 X          X             X           X      4     X     X                                     X            X                               X              X                 X                 X                X
 1047051-02     E.A.     12/16/2018     2/1/2019            2               X                                                 X          X                         X      8     X     X        X             X              X            X                               X                                                  X
 1047052-03     D.J.     12/21/2018     3/1/2019            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1047060-02     K.S.     12/10/2018     7/5/2019            1               X                                                 X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1047071-01     A.Y.     12/28/2018    3/27/2019            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1047103-01     B.D.     12/19/2018     2/1/2019            1               X                    X             X              X          X             X           X     17     X                                           X                                                           X                 X                 X                X
 1047137-02     U.A.      12/5/2018     2/6/2019            2               X                    X                            X          X             X                  0                                  X              X            X                               X              X                 X                 X                X
 1047173-01     M.E.     12/21/2018    2/14/2019            7               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1047183-01     L.S.     12/12/2018    2/14/2019            1               X                                  X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X
 1047188-01     C.S.     12/30/2018    4/19/2019            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1047256-01     C.D.     12/20/2018    6/22/2020            2               X                    X             X              X          X             X           X      4     X                                                        X               X               X              X                 X                 X                X
 1047315-01     R.J.     12/31/2018     1/9/2020            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1047320-01     D.R.     12/20/2018    2/15/2019            1               X                                                 X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X
 1047345-02     C.J.     12/26/2018     5/3/2019            1               X                                                 X          X             X           X      7     X     X                                     X            X                                              X                 X                 X                X
 1047346-01     A.G.     12/28/2018     4/5/2019            5               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1047396-01     J.Y.     12/21/2018     5/5/2019            4               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1047444-02     J.S.       1/1/2019    6/11/2019            6               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1047477-01     J.M.      12/2/2018    3/19/2019            1               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1047548-02     N.L.       1/2/2019     3/3/2019            1               X                    X             X              X          X             X           X      9     X              X                            X            X                               X              X                 X                 X                X
 1047571-01     A.D.     12/21/2018     4/5/2019            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1047571-02     W.C.     12/21/2018    5/24/2019            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X                                X                 X                X
 1047640-02     C.W.     12/30/2018    3/25/2019            2               X                    X             X              X          X             X           X      9                                                              X                               X              X                 X                 X                X
 1047640-03     D.W.     12/30/2018    3/28/2019            3               X                    X             X              X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1047640-04     J.N.     12/30/2018     5/6/2019            1               X                    X             X              X          X             X           X      8     X                            X                                           X               X              X                 X                 X                X
 1047675-02     J.G.     12/28/2018    3/19/2019            3               X                    X             X              X          X             X           X     22     X     X        X             X              X            X               X               X              X                 X                 X                X
 1047675-03     F.K.     12/28/2018     3/4/2019            1               X                                  X              X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1047683-01     V.P.     12/20/2018    2/27/2019            2               X                                                 X          X             X           X      4     X     X                      X              X            X               X               X              X                 X                 X                X
 1047812-01     M.M.     12/17/2018     7/1/2019            2               X                    X             X              X          X             X           X     13     X                            X                           X                               X              X                 X                 X                X
 1047854-01     J.M.     12/16/2018    6/19/2019            2               X                                  X              X          X                                0                                                              X                               X              X                 X                 X                X
 1047858-02     E.B.     12/31/2018    6/14/2019            2               X                                                 X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1047875-01     K.R.       1/1/2019    6/18/2019            1               X                    X             X              X          X             X           X      3     X                            X                                                           X              X                 X                 X                X
 1047881-02     W.E.     12/31/2018    4/22/2019            1               X                                  X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1047884-01     H.I.     12/17/2018    2/12/2019            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1047943-01     F.D.     12/22/2018    6/27/2019            2               X                    X             X              X          X             X           X      6           X        X             X              X            X               X               X              X                 X                 X                X
 1047947-02     R.R.       1/2/2019     3/7/2019            1               X                    X             X              X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1047997-01     R.A.     11/22/2018    4/29/2019            1               X                                                 X          X             X           X      4     X     X                                     X            X                               X              X                                   X                X
 1048058-01     Y.F.     12/21/2018    4/18/2019            3               X                    X             X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1048098-01     J.S.     12/12/2018     2/5/2019            1               X                                                 X          X                         X      7     X     X        X                            X            X                                              X                 X                 X
 1048124-02     J.Q.     12/10/2018    7/16/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1048194-02     C.J.     12/12/2018    3/28/2019            2               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                 28 of 133                                                                                                                                                                             Exhibit 1
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
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                                                                                                                                                                         DME Devices




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
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                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1048269-01     J.R.       1/7/2019     5/3/2019            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X               X               X              X                 X                 X                X
 1048282-02     M.S.     12/22/2018    2/11/2019            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1048325-02     J.M.     10/26/2018    2/27/2019            1               X                                  X              X                                    X      3     X                                           X            X                                                                                  X
 1048347-01     C.G.       1/6/2019     3/4/2020            1               X                    X                            X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1048371-02     A.S.     12/28/2018     5/4/2019            1               X                    X             X              X          X             X           X      3           X                      X                           X                               X              X                 X                 X                X
 1048406-02     S.P.     12/11/2018   10/11/2019            1               X                                                 X          X                         X      7     X     X        X             X              X            X                               X              X                                   X
 1048465-02     L.L.      1/12/2019    4/23/2019            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1048475-01     C.S.       1/9/2019    3/15/2019            1               X                                                 X          X                         X      2           X                      X                           X                               X                                                  X
 1048495-01     L.A.       1/4/2019     3/7/2019            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1048497-01     V.V.       1/1/2019     4/4/2019            1               X                    X             X              X          X             X           X      5     X     X                                     X            X                               X              X                 X                 X                X
 1048499-01     J.E.      1/13/2019    2/27/2019            1               X                    X             X              X          X             X           X     16     X              X             X              X            X                               X              X                 X                 X                X
 1048532-01     A.B.     12/17/2018    2/22/2019            1               X                    X             X              X          X                         X      9                                                              X                               X              X                 X                 X                X
 1048548-01     F.S.     12/18/2018    6/12/2019            1                                                                 X          X                         X      6     X              X                            X            X                               X              X                                   X
 1048550-01     H.T.     11/27/2018    5/16/2019            1               X                                  X              X                                    X     16     X     X        X             X              X                                                           X                 X                 X                X
 1048624-01     L.S.       1/5/2019     6/6/2019            1               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1048702-01     M.G.       1/8/2019    2/26/2019            1               X                    X             X              X          X             X           X     10     X              X             X              X            X                               X              X                 X                 X                X
 1048702-02     L.G.       1/8/2019    2/26/2019            1               X                    X             X              X          X             X           X     10     X              X             X              X                                                           X                 X                 X                X
 1048704-03     V.B.       1/5/2019    4/23/2019            2               X                    X             X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1048706-02     D.V.     12/29/2018    12/2/2019            3               X                                                 X          X                         X      8     X              X             X              X            X                               X              X                 X                 X                X
 1048732-02     M.P.     12/28/2018     8/5/2019            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1048736-01     J.V.     12/14/2018    2/28/2019            4               X                                                 X          X             X                  0                                                              X                               X              X                 X                 X                X
 1048742-02     J.S.       1/2/2019    3/30/2019            1               X                    X             X              X          X             X           X      6     X                                                        X                               X              X                 X                 X                X
 1048763-01     R.E.     12/21/2018    8/20/2019            1               X                    X                            X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1048772-02     E.V.     12/29/2018    4/12/2019            2               X                    X             X              X          X             X           X     20     X     X        X                            X            X                               X              X                 X                 X                X
 1048822-02     E.S.      1/19/2019     4/4/2019            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X               X               X              X                 X                 X                X
 1048876-01     I.R.      1/11/2019    2/28/2019            3               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1048877-02     B.R.     12/27/2018    10/1/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1048889-02     N.D.     12/30/2018    4/25/2019            3               X                    X                            X          X                         X      5                                                              X                               X              X                 X                 X                X
 1048919-01     X.S.      1/11/2019    2/26/2019            3               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1048919-02     J.N.      1/11/2019     4/4/2019            1               X                    X             X              X          X             X           X     15     X              X             X              X            X                               X              X                 X                 X                X
 1048972-02     P.U.       1/7/2019    8/26/2020            1               X                    X                            X          X             X           X      7     X     X                                     X            X                               X              X                 X                 X                X
 1048989-02     A.M.       1/6/2019    2/19/2019            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X               X               X              X                 X                 X                X
 1048993-01     J.R.      1/12/2019    6/29/2019            1               X                    X                            X          X                         X      4                                                              X                               X              X                 X                 X                X
 1049035-01     J.G.      1/11/2019     3/5/2019            2               X                    X                            X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1049064-03     S.K.       1/5/2019    7/16/2019            1               X                    X             X              X          X             X           X      2     X                                           X            X                               X              X                 X                 X                X
 1049073-05     B.P.      1/12/2019   10/26/2019            1               X                    X             X              X          X             X           X      1                                                 X            X                               X              X                 X                 X                X
 1049101-01     M.P.      1/21/2019     8/8/2019            2               X                    X             X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1049158-01     M.S.      1/22/2019   12/14/2019            1               X                    X             X              X          X             X           X     10                    X                            X            X                               X              X                 X                 X                X
 1049176-01     R.N.     12/17/2018    1/18/2023            1               X                    X             X              X          X             X           X     13     X     X                                     X            X                               X              X                 X                 X                X
 1049176-03     A.G.     12/17/2018    1/18/2023            1               X                    X             X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1049217-01     A.J.      1/22/2019     4/1/2019            3               X                    X             X              X          X             X           X      1                                  X              X            X               X               X              X                 X                 X                X
 1049217-02     M.W.      1/22/2019     5/7/2019            1               X                    X             X              X          X             X           X      1                                  X              X            X               X               X              X                 X                 X                X
 1049236-01     S.N.      1/15/2019    2/23/2021            2               X                                                 X          X             X           X      5     X     X        X             X              X            X               X               X              X                 X                 X                X
 1049252-01     J.S.      1/20/2019     3/5/2019            1               X                    X             X              X          X                         X      6     X     X        X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                 29 of 133                                                                                                                                                                             Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




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                                                                                                                                                                         Compression
                                                                                             Chiropractic




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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1049257-02     L.G.      1/22/2019    4/29/2019            1               X                    X             X              X          X             X           X      9     X              X                            X            X                               X                                X                 X                X
 1049264-01     A.Q.     12/26/2018     4/2/2019            4               X                    X             X              X          X             X           X     18     X     X        X                            X            X               X               X              X                 X                 X                X
 1049275-01     R.W.     12/29/2018    1/10/2020            2               X                    X             X              X                        X           X      8           X        X             X                           X                               X              X                 X                 X                X
 1049299-02     T.K.       1/5/2019    6/21/2019            2               X                    X                            X          X             X           X     10     X     X        X             X              X                                            X              X                 X                 X                X
 1049363-02     M.S.      1/18/2019    11/7/2022            1               X                    X                            X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1049374-01     M.K.      1/18/2019    9/23/2019            1               X                    X             X              X          X             X           X      6           X        X                            X            X                               X              X                 X                 X                X
 1049384-01     M.W.      1/19/2019    4/12/2019            2               X                    X             X              X          X             X           X     23     X     X        X             X              X                                            X              X                 X                 X                X
 1049419-02     J.S.     12/29/2018    8/23/2019            1               X                                                 X                                    X      8     X     X        X                                         X                               X              X                 X                 X
 1049428-01     G.A.      1/22/2019    3/28/2019            1               X                    X             X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1049446-01     R.T.      1/20/2019     7/1/2019            3               X                    X             X              X          X             X           X     15     X              X                            X                                            X              X                 X                 X                X
 1049455-01     G.P.      1/25/2019    4/12/2019            2               X                                                 X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X
 1049486-01     V.P.       1/8/2019     3/7/2019            2               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1049536-02     A.F.       1/6/2019    2/14/2019            3               X                    X             X              X          X             X           X     10                                  X                           X               X               X              X                 X                 X                X
 1049536-05     J.Z.       1/6/2019    2/14/2019            1               X                    X             X              X          X             X           X      7     X                            X                                           X               X              X                 X                 X                X
 1049538-02     M.M.      1/26/2019    9/16/2019            3               X                    X             X              X          X             X           X     17     X     X                      X              X            X               X               X              X                 X                 X                X
 1049538-04     S.K.      1/26/2019    7/25/2019            5               X                    X             X              X          X             X           X     10                                  X                           X               X               X              X                 X                 X                X
 1049541-02     J.A.      1/10/2019    11/8/2019            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1049579-01     A.G.      1/25/2019    4/27/2019            2               X                    X             X              X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1049593-01     K.G.      1/27/2019     3/8/2019            2               X                    X             X              X          X             X           X     24     X     X        X                            X            X                               X              X                 X                 X                X
 1049661-01     M.O.      1/17/2019   10/19/2020            1               X                    X             X              X          X                         X      8     X     X        X                            X            X               X               X              X                 X                 X                X
 1049667-02     S.D.      1/24/2019    6/11/2019            2               X                    X             X              X          X             X           X     11     X                            X                           X                               X              X                 X                 X                X
 1049667-03     T.L.      1/24/2019    7/11/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1049668-01     A.A.      1/20/2019    3/14/2019            1               X                                                 X          X                         X      7     X     X        X             X              X            X                                              X                 X                 X                X
 1049680-01     R.B.      1/27/2019     5/4/2019            4               X                    X             X              X          X             X           X      6     X                                                        X                               X              X                 X                 X                X
 1049680-03     J.S.      1/27/2019    5/21/2019            1               X                    X             X              X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1049681-01     C.R.      1/27/2019    3/19/2019            1               X                    X             X              X          X                         X      7           X        X                            X            X                               X              X                 X                 X
 1049719-01     E.T.      1/25/2019    3/19/2019            2               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1049724-01     S.A.      1/27/2019    6/15/2019            8               X                    X             X              X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1049752-01     N.F.      1/24/2019    5/22/2019            1               X                                                 X          X             X           X      6     X     X        X             X              X            X               X               X              X                                   X                X
 1049760-02     Y.F.     12/28/2018     9/6/2019            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1049773-02     R.C.      1/21/2019     4/9/2019            1               X                    X                            X          X             X           X      4     X     X        X             X              X            X                               X              X                 X                 X
 1049777-01     S.G.      1/14/2019     3/5/2019            1               X                    X                            X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X
 1049794-01     N.M.      1/26/2019    3/15/2019            6               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1049794-03     C.A.      1/26/2019    5/23/2019            2               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1049794-04     E.D.      1/26/2019    5/31/2019            1               X                    X             X              X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1049886-01     A.M.      1/21/2019    6/29/2019            2               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1049886-02     G.C.      1/21/2019    4/11/2019            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1049904-01     C.B.      1/14/2019    11/9/2020            1               X                    X             X              X          X             X           X      3           X                      X                           X               X               X              X                 X                 X                X
 1049958-03     E.R.      1/11/2019     7/8/2019            1               X                    X             X              X          X             X           X     17     X     X        X                            X                                            X              X                 X                 X                X
 1049968-02     E.G.      1/25/2019    4/12/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1049976-01     B.C.      1/31/2019    4/16/2019            5               X                    X             X              X          X             X           X     13                                  X                           X               X               X              X                 X                 X                X
 1050070-02     E.A.      1/21/2019     6/1/2019            1               X                    X             X              X          X                         X     14     X     X                                     X            X                               X              X                 X                 X                X
 1050084-01     R.L.      1/14/2019    6/18/2019            1               X                                  X              X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1050148-02     L.S.      1/27/2019   11/12/2020            1               X                    X             X              X          X             X           X     15           X                                     X            X                                              X                 X                 X                X

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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




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                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1050148-03     J.S.      1/27/2019    5/11/2019            1               X                    X             X              X          X             X           X     13                                                              X                               X              X                 X                 X                X
 1050207-01     Y.S.      1/26/2019     6/1/2020            1               X                    X             X              X          X             X           X      4           X                      X              X                                            X              X                 X                 X                X
 1050257-01     F.C.      1/20/2019    7/19/2019            1               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1050323-03     C.M.      1/11/2019    4/13/2019            2                                    X                            X                                    X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1050333-02     C.Z.      1/19/2019    3/23/2019            2               X                    X             X              X          X             X           X      4           X                                                  X                               X              X                 X                 X                X
 1050337-04     A.S.      1/20/2019     4/4/2019            1               X                                  X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1050355-01     B.F.       1/9/2019    5/23/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1050356-03     F.V.      1/24/2019    5/23/2019            1               X                    X                            X          X             X           X      4     X     X                                     X                                                           X                 X                 X                X
 1050379-01     O.B.      1/23/2019    5/17/2019            3               X                    X             X              X          X             X           X      7     X                                                                                        X              X                 X                 X                X
 1050387-02     M.M.       2/4/2019    8/13/2019            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1050422-01     D.D.      1/28/2019    4/15/2019            1               X                                                 X          X             X           X      6     X              X                            X            X                               X              X                 X                 X                X
 1050460-02     L.D.      1/26/2019     3/2/2020            1               X                                  X              X          X             X           X      6           X        X                            X                                            X              X                 X                 X                X
 1050464-01     M.L.       2/3/2019     7/2/2019            1               X                    X                            X          X                         X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1050475-02     J.A.      1/31/2019   10/26/2019            9               X                    X             X              X          X             X           X      9     X     X                      X              X            X                               X              X                 X                 X                X
 1050478-03     M.M.      1/18/2019    5/17/2019            1               X                    X             X              X          X             X           X     19     X     X        X             X              X                                            X              X                 X                 X                X
 1050494-02     E.R.      1/31/2019    3/28/2019            1               X                    X             X              X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X
 1050512-01     A.M.     12/25/2018    5/15/2019            4               X                    X                            X          X                         X      3     X                                                        X                               X              X                 X                 X                X
 1050536-05     T.F.       2/4/2019     8/9/2019            2               X                    X             X              X          X             X           X     15     X                            X                           X                               X              X                 X                 X                X
 1050540-02     J.A.      1/26/2019    2/20/2020            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1050612-02     R.J.      1/28/2019     3/6/2019            1               X                    X                            X          X             X           X      7     X     X        X                            X                                            X              X                 X                 X                X
 1050642-01     R.N.      1/28/2019    3/25/2019            3               X                    X             X              X          X             X           X      8                                                                                              X              X                 X                 X                X
 1050642-02     R.L.      1/28/2019    3/25/2019            4               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1050697-01     T.D.       2/3/2019    6/13/2019            2               X                    X             X              X          X             X           X      6     X                            X              X            X               X               X              X                 X                 X                X
 1050699-01     K.K.      1/22/2019    12/7/2019            4               X                    X             X              X          X             X           X      6     X     X                      X              X            X               X               X              X                 X                 X                X
 1050731-01     D.J.       2/5/2019   11/13/2019            1               X                    X             X              X          X             X           X      2                                                              X                                              X                 X                 X                X
 1050738-01     A.H.       2/6/2019     7/3/2019            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                                              X                 X                 X                X
 1050751-01     M.G.      1/30/2019    3/26/2019            1               X                    X             X              X                        X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1050803-01     A.A.       2/8/2019    5/15/2019            1               X                    X             X              X          X             X           X     11     X     X                      X              X                                                           X                 X                 X                X
 1050814-01     J.E.       2/9/2019    3/14/2019            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1050822-02     D.A.       2/9/2019    4/20/2019            5               X                    X             X              X          X             X           X      6     X                            X                           X               X               X              X                 X                 X                X
 1050883-02     W.T.      1/18/2019     5/3/2019            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1050900-02     J.G.      1/31/2019    5/20/2019            1               X                    X             X              X          X                         X      4     X     X                                     X                                            X              X                 X                 X                X
 1050906-01     C.Y.      2/15/2019    6/11/2019            1               X                                                 X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1050942-01     L.E.     12/31/2018    11/7/2019            1               X                    X             X              X          X                         X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1050961-01     P.S.      1/29/2019    1/16/2020            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1050962-02     K.S.       2/7/2019     7/5/2019            1               X                    X             X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1050968-01     J.E.       2/1/2019    6/11/2019            4               X                    X             X              X          X             X           X      5                                  X                           X               X               X              X                 X                 X                X
 1051100-04     M.C.      1/20/2019     5/9/2019            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                                              X                 X                 X                X
 1051117-01     M.R.      1/29/2019     2/3/2020            1               X                    X             X              X          X             X           X     15           X        X             X              X            X               X               X              X                 X                 X                X
 1051117-02     L.K.      1/29/2019     1/9/2020            1               X                    X             X              X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1051155-01     D.D.      2/10/2019     5/7/2019            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1051155-05     A.H.      2/10/2019    4/30/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1051173-01     T.G.      1/19/2019    6/30/2019            1               X                    X             X              X          X                         X      4                                                                                              X              X                 X                 X                X
 1051194-01     Y.A.      2/17/2019    4/12/2019            1               X                                                 X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X

                                                                                                                                                 31 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1051230-02     S.G.     1/24/2019    9/20/2019            1               X                    X             X              X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1051250-01     M.B.     2/16/2019    3/29/2019            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1051251-03     Z.F.     2/14/2019    7/12/2019            1               X                                                 X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1051253-02     A.M.     2/13/2019    8/27/2019            1               X                    X             X              X          X             X           X      8     X                                                        X                               X              X                 X                 X                X
 1051253-03      J.J.    2/13/2019    10/7/2019            2               X                    X             X              X          X             X           X      8     X                                                        X               X               X              X                 X                 X                X
 1051266-02     S.S.     2/16/2019    4/20/2019            1               X                    X             X              X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1051327-01     D.D.     2/12/2019    10/1/2019            1               X                    X             X              X          X                         X      4     X     X                      X              X            X                               X              X                 X                 X
 1051327-03     D.P.     2/12/2019    4/13/2019            1               X                    X             X              X          X             X           X     12                                  X                           X                               X              X                 X                 X                X
 1051358-01     S.A.     1/19/2019   11/11/2019            2               X                                                 X          X             X           X      8     X     X                      X              X            X                               X              X                                   X                X
 1051402-01     D.A.      2/4/2019    5/16/2019            2               X                                  X              X          X                         X      1                                  X                           X               X                              X                 X                 X                X
 1051466-01     J.S.      2/9/2019    5/25/2019            4               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1051496-01     S.P.     2/17/2019   10/29/2020            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                                              X                 X                 X                X
 1051520-02     E.A.     2/19/2019    3/19/2019            1               X                    X             X              X          X                         X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1051525-01     J.C.      2/4/2019     8/4/2019            2               X                    X             X              X          X             X           X     19     X     X                      X                           X                               X              X                 X                 X                X
 1051546-03     H.K.     2/16/2019    5/10/2019            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1051568-03     F.D.     2/21/2019     5/4/2019            2               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1051580-01     T.S.      2/1/2019     8/6/2019            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1051599-01     R.B.     2/20/2019    4/16/2019            1               X                                  X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1051654-02     C.A.     2/10/2019    4/27/2019            1               X                    X             X              X          X             X           X     14     X              X                            X            X                               X              X                 X                 X                X
 1051667-01     J.M.      2/8/2019    4/16/2019            1               X                    X                            X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1051812-02     F.F.     2/12/2019     8/3/2019            1               X                    X             X              X          X             X           X     10                                  X                           X                               X              X                 X                 X                X
 1051812-03     R.P.     2/12/2019     6/4/2019            2               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1051820-01     D.V.     2/24/2019     4/1/2019            5               X                    X             X              X          X             X           X     17           X        X             X              X            X                               X              X                 X                 X                X
 1051868-01     T.L.     2/18/2019    4/18/2019            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1051895-01     S.G.     2/15/2019   10/23/2019            1               X                    X                            X          X             X           X      5     X              X                            X                                                           X                 X                 X                X
 1051937-01     E.M.     2/26/2019     5/7/2019            1               X                    X             X              X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1051942-02     O.G.      2/6/2019    5/23/2019            3               X                    X                            X          X                         X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1051944-01     S.G.      2/3/2019    11/4/2019            3               X                    X             X              X          X             X           X     15     X                            X                           X                               X              X                 X                 X                X
 1051948-01     R.L.     2/23/2019    4/16/2019            6               X                    X             X              X          X             X           X     19     X              X             X              X            X                               X              X                 X                 X                X
 1051985-01     G.R.     2/16/2019    5/24/2019            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                                              X                 X                 X                X
 1052072-01     N.P.      2/8/2019    5/15/2019            2               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1052100-01     R.T.     2/26/2019    4/16/2019            1               X                    X             X              X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1052142-05     R.H.     2/27/2019    5/20/2019            1               X                    X             X              X                        X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1052150-01     E.S.     2/15/2019    6/12/2019            3               X                    X             X              X          X             X           X     11     X                            X                                                           X              X                 X                 X                X
 1052150-02     A.S.     2/15/2019    6/12/2019            3               X                    X             X              X          X             X           X     12     X                            X                                                           X              X                 X                 X                X
 1052219-02     A.T.      2/2/2019   10/30/2019            1               X                    X             X              X          X                                0                                  X                           X                               X              X                 X                 X                X
 1052226-02     T.B.     2/13/2019    4/19/2019            1               X                    X             X              X          X                         X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1052318-01     A.R.     2/11/2019    6/21/2019            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1052324-01     T.M.     2/22/2019    4/23/2019            4               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1052324-03     P.L.     2/22/2019     9/3/2019            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1052354-01     P.W.     2/26/2019    8/26/2019            2               X                    X                            X          X             X           X      9           X        X             X              X            X                               X              X                 X                 X                X
 1052359-01     R.S.      3/2/2019    5/20/2019            4               X                    X             X              X          X             X           X     14     X     X                      X              X            X               X               X              X                 X                 X                X
 1052409-01     N.D.      3/3/2019    4/12/2019            3               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1052409-02     P.E.      3/3/2019    4/19/2019            1               X                    X             X              X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X

                                                                                                                                                32 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1052454-02     C.O.      3/2/2019    6/28/2019            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1052473-01     J.S.     2/26/2019    6/13/2019            1                                                                 X                                    X      3     X     X                      X              X                                            X              X                 X                 X
 1052496-01     E.D.     2/24/2019     6/6/2019            2               X                                  X              X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1052505-01     J.Y.      3/4/2019    5/30/2019            2               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1052601-02     F.S.      3/5/2019    10/4/2019            1               X                                                 X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1052612-02     J.D.      2/9/2019   10/21/2019            1               X                    X                            X          X             X           X      7     X              X             X              X                                            X              X                 X                 X                X
 1052644-02     T.A.     2/14/2019    6/22/2019            4               X                    X             X              X          X             X           X     12     X                                                        X                               X              X                 X                 X                X
 1052703-02     R.L.     2/23/2019    5/13/2019            1               X                    X             X              X          X             X           X      1     X                            X                           X               X               X              X                 X                 X                X
 1052703-03     B.J.     2/23/2019    7/31/2019            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1052718-02     L.M.     2/22/2019   12/26/2020            1               X                                  X              X          X                         X      6     X     X                      X              X            X                                              X                 X                 X                X
 1052726-01     S.C.      3/5/2019     4/8/2021            1               X                                  X              X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1052748-01     C.C.     2/26/2019    6/11/2019            1               X                    X                            X                        X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1052748-03     T.J.     2/26/2019    4/23/2019            1               X                    X             X              X                        X           X      1           X                      X              X            X                               X              X                 X                 X                X
 1052781-03     D.H.      3/9/2019   12/18/2019            1               X                    X             X              X          X             X           X     14     X                                                        X                               X              X                 X                 X                X
 1052798-03     S.F.     2/27/2019    9/23/2019            2               X                    X             X              X          X             X           X      5                                  X                           X               X                              X                 X                 X                X
 1052843-01     N.F.      3/3/2019    4/24/2019            3               X                    X             X              X          X             X           X     14     X     X        X             X              X            X               X               X              X                 X                 X                X
 1052891-04     D.H.     2/21/2019    7/19/2019            1               X                    X                            X                        X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1052896-01     G.G.      3/9/2019    6/18/2019            2               X                    X             X              X          X             X           X     21     X     X                                     X            X                               X              X                 X                 X                X
 1052896-02     C.R.      3/9/2019    6/29/2019            2               X                    X             X              X          X             X           X      7                                                              X                               X              X                 X                 X                X
 1053012-02     N.A.      3/8/2019    7/12/2019            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1053019-02     M.L.      3/1/2019     5/7/2019            2               X                    X             X              X          X             X           X      6                    X                            X            X               X               X              X                 X                 X                X
 1053085-02     H.P.      3/2/2019     4/2/2019            1               X                    X                            X          X                         X      5     X     X        X             X              X            X                               X              X                 X                 X
 1053086-01     L.C.     2/20/2019    5/21/2019            1               X                    X             X              X          X             X           X     10                                  X                           X               X               X              X                 X                                  X
 1053086-03     D.G.     2/20/2019    7/25/2019            1               X                    X             X              X          X             X           X     10                                                 X            X                               X              X                 X                 X                X
 1053092-02     C.C.     2/25/2019     3/3/2020            1               X                    X             X              X          X             X           X      4                                                              X               X               X              X                 X                 X                X
 1053128-07     N.C.      3/2/2019    9/12/2019            3               X                    X             X              X          X             X           X      4                                  X                           X                               X              X                 X                 X                X
 1053131-01     J.G.      3/8/2019     5/2/2019            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1053173-02      J.J.    2/11/2019    7/10/2019            3               X                    X             X              X          X             X           X     13     X                            X                           X                               X              X                 X                 X                X
 1053213-01     A.S.      3/7/2019    6/10/2019            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1053290-05     N.H.      3/2/2019    9/19/2019            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1053336-01     B.B.     3/16/2019    8/10/2020            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1053369-06     S.M.      3/4/2019     6/7/2019            1               X                                                 X          X                         X      7     X     X        X             X              X            X                               X                                                  X
 1053459-02     A.M.      3/6/2019    6/22/2019            3               X                    X             X              X          X             X           X      8           X                                                  X               X               X              X                 X                 X                X
 1053477-01     D.B.     3/13/2019    7/25/2019            1               X                    X             X              X          X             X           X      8           X        X             X              X            X                               X              X                 X                 X                X
 1053540-01     Y.T.      3/1/2019    7/19/2019            2               X                    X                            X          X             X           X      8           X        X                            X            X                               X              X                 X                 X                X
 1053578-01     T.M.      3/8/2019     2/3/2020            1               X                    X             X              X                                    X      8     X     X                      X              X            X                               X              X                 X                 X
 1053586-01     W.I.     2/24/2019    9/16/2019            1               X                    X             X              X          X                         X     11     X     X        X             X              X            X                                              X                 X                 X                X
 1053814-02     K.R.      3/1/2019     6/1/2019            5               X                    X             X              X          X             X           X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
 1053852-01     D.S.     3/15/2019     7/3/2019            1               X                    X             X              X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1053956-02     B.M.      3/8/2019    4/30/2019            2               X                    X                            X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X
 1053992-02     L.W.     3/13/2019     5/8/2019            3               X                    X             X              X          X             X           X     11     X                            X                           X                               X              X                 X                 X                X
 1053997-01     B.V.     3/24/2019     7/9/2019            1               X                    X             X              X          X                         X      6     X     X        X             X              X            X                               X              X                 X                 X
 1054007-02     H.H.      3/3/2019    4/13/2019            2               X                    X             X              X          X             X           X     13                                  X                           X               X               X              X                 X                 X                X
 1054043-01     F.T.     3/10/2019    7/31/2019            4               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                33 of 133                                                                                                                                                                             Exhibit 1
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
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                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1054061-01     G.S.      3/19/2019    7/28/2020            3               X                    X             X              X          X             X           X      5           X                      X                           X               X               X              X                 X                                  X
 1054101-03     Y.Z.      3/15/2019     5/7/2019            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1054101-04     C.P.      3/15/2019     7/2/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1054101-05     N.M.      3/15/2019     5/7/2019            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1054139-01     M.B.       3/2/2019    5/16/2019            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1054151-02     M.O.      3/14/2019    11/1/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1054156-02     C.R.      3/22/2019    7/17/2019            1               X                    X                            X          X                         X      7           X        X                            X            X                               X              X                 X                 X                X
 1054157-01     J.C.      3/10/2019    4/16/2019            2               X                    X             X              X          X                         X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1054223-01     H.R.      3/26/2019    5/24/2019            2               X                    X             X              X          X             X           X      9     X     X        X             X              X                                            X              X                 X                 X                X
 1054249-02     J.G.      3/16/2019    1/28/2020            1               X                                                 X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X
 1054268-01     J.S.      3/26/2019     5/3/2019            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                                              X                 X                 X                X
 1054281-02     S.L.       3/1/2019     8/7/2019            1               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1054296-02     I.N.      3/22/2019    11/5/2019            2               X                    X             X              X                        X                  0                                  X                           X               X               X              X                 X                 X                X
 1054318-03     J.S.      3/10/2019    9/24/2021            1               X                                                 X          X             X                  0                                                 X            X                                              X                 X                 X                X
 1054380-01     C.P.      3/22/2019    8/30/2019            1               X                    X             X              X          X             X           X     13                    X             X              X            X               X               X              X                 X                 X                X
 1054468-01     A.A.      3/27/2019    9/16/2019            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1054485-02     M.R.      3/26/2019    10/1/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1054485-03     A.A.      3/26/2019    10/1/2019            1               X                    X                            X          X             X           X     15           X        X             X              X            X                               X              X                 X                 X                X
 1054526-01     J.A.      3/28/2019    9/26/2019            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1054583-01     A.R.      3/21/2019    7/14/2020            1               X                    X             X              X          X             X           X      5           X                      X              X            X                                              X                 X                 X                X
 1054600-02     S.E.       3/5/2019    10/8/2019            3               X                    X             X              X          X             X           X     17     X     X        X             X              X            X               X               X              X                 X                 X                X
 1054607-01     M.K.      3/26/2019    12/2/2020            1               X                    X             X              X          X             X           X      1                                                              X                                              X                 X                 X                X
 1054663-01     M.C.      3/26/2019     6/7/2019            3               X                    X             X              X          X             X           X      5           X                      X                           X               X               X              X                 X                 X                X
 1054685-01     J.K.      3/22/2019     8/4/2021            2               X                    X             X              X          X             X           X      9           X        X             X              X            X               X               X              X                 X                 X                X
 1054692-01     P.R.      3/26/2019    6/29/2019            3               X                    X             X              X          X             X           X     15     X                            X                                                           X              X                 X                 X                X
 1054721-01     M.M.      3/12/2019    3/16/2020            1               X                    X             X              X          X                         X      2     X                            X              X            X                               X              X                 X                 X                X
 1054725-01     L.B.     12/20/2018    8/27/2019            1               X                    X             X              X          X             X           X      4     X                                                                                        X              X                 X                 X                X
 1054743-01     A.L.       4/1/2019     9/7/2019            1               X                    X                            X          X                         X      8     X                                                        X                               X              X                 X                 X                X
 1054776-01     S.S.      3/30/2019    2/24/2020            1               X                    X             X              X          X                         X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1054806-01     A.P.      3/21/2019    8/14/2019            1               X                    X                            X          X                         X      4           X        X             X              X            X                               X              X                 X                 X                X
 1054877-01     J.R.       4/2/2019    6/18/2019            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1054877-03     J.P.       4/2/2019    9/16/2019            1               X                    X             X              X          X             X           X      7     X              X                            X            X                               X              X                 X                 X                X
 1054882-02     M.R.      3/23/2019   10/18/2019            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X               X               X              X                 X                 X                X
 1054897-02     J.C.      3/27/2019     2/6/2020            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1054899-02     H.T.      3/18/2019    5/31/2019            2               X                    X             X              X          X             X           X      7     X                            X                           X               X               X              X                 X                 X                X
 1054900-02     F.R.      3/20/2019     6/7/2019            3               X                    X             X              X          X             X           X     16     X                            X                           X                               X              X                 X                 X                X
 1054903-02     N.V.       4/4/2019     5/9/2019            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1054922-01     L.M.      3/24/2019    7/15/2019            2               X                    X                            X          X             X           X     10                                  X                           X               X               X              X                 X                 X                X
 1054954-01     Y.C.      3/30/2019   10/31/2020            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X               X               X              X                 X                 X                X
 1054954-02     J.L.      3/30/2019    3/15/2021            1               X                    X                            X          X             X           X      2                                  X                                           X               X              X                 X                                  X
 1054991-02     R.D.      3/21/2019    7/11/2019            1               X                    X             X              X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X
 1055023-02     P.B.      3/30/2019    6/20/2019            3               X                                                 X          X             X           X      5     X                                                        X                               X                                X                 X                X
 1055052-02     S.R.      3/16/2019   12/23/2019            1               X                    X                            X          X             X           X     10     X     X        X             X                           X                               X              X                 X                 X                X
 1055054-01     A.G.       4/2/2019     5/3/2019            1               X                    X                            X                        X           X      8     X     X                      X              X            X                                              X                 X                 X                X

                                                                                                                                                 34 of 133                                                                                                                                                                             Exhibit 1
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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
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                                                                                                                                                                        DME Devices




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                                                                                                           Acupuncture




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                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1055054-04     A.G.      4/2/2019    6/13/2019            4               X                    X                            X                        X           X      4                                                              X                               X              X                 X                 X                X
 1055096-01     B.C.     3/22/2019    6/14/2019            6               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1055108-02     Y.E.     3/22/2019     7/8/2019            1               X                                                 X          X             X                  0                                  X                           X                               X              X                 X                                  X
 1055149-01     L.C.      4/1/2019     5/4/2019            1               X                    X             X              X          X             X           X      6                                  X                           X               X               X              X                 X                 X                X
 1055206-01     M.H.     3/18/2019    11/4/2019            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1055224-02     K.G.      4/6/2019    7/30/2019            1               X                    X             X              X          X                                0                                                              X               X               X              X                 X                 X                X
 1055235-02     R.A.     3/28/2019    7/29/2019            1               X                    X             X              X                                    X      2                                                              X                               X              X                 X                 X                X
 1055257-01     E.O.      4/4/2019    6/29/2019            4               X                    X             X              X          X             X           X      3     X                                                        X                               X              X                 X                 X                X
 1055299-02     I.G.      4/4/2019    8/23/2019            1               X                    X             X              X          X                         X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1055339-01     R.R.      4/6/2019    8/26/2019            1               X                                  X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1055385-01     S.H.      4/7/2019   12/16/2019            1               X                                                 X          X                         X      6     X     X        X             X              X            X               X               X              X                 X                 X                X
 1055401-02     J.L.      4/8/2019    6/24/2019            1               X                                  X              X          X             X           X      2           X                      X              X            X                               X              X                 X                 X                X
 1055401-03     Y.S.      4/8/2019    8/19/2019            1               X                                  X              X          X             X           X      7           X        X             X              X            X                               X              X                 X                 X                X
 1055432-03     J.N.      4/2/2019    8/20/2019            1               X                    X             X              X          X             X           X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1055482-02     K.B.      4/7/2019    9/17/2019            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1055488-03     J.W.      4/7/2019     5/9/2019            1               X                    X             X              X          X             X           X      6                                  X                           X               X               X              X                 X                 X                X
 1055499-01     C.T.     3/25/2019     8/7/2021            1               X                    X                            X                        X                  0                                  X                           X                               X              X                 X                 X                X
 1055499-07     A.H.     3/25/2019    9/18/2021            2               X                    X                            X          X                                0                                  X                           X                               X              X                 X                                  X
 1055548-02     G.P.     3/17/2019    6/12/2019            3               X                    X             X              X          X             X           X      6     X              X             X              X            X               X               X              X                 X                 X                X
 1055550-02     C.A.     3/23/2019    7/30/2019            1               X                    X             X              X          X             X           X      5           X        X             X              X            X                               X              X                 X                 X                X
 1055553-02     A.B.      4/8/2019    8/22/2019            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                                              X                 X                 X                X
 1055559-02     H.D.     3/23/2019     5/9/2019            3               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1055630-01     S.R.     3/28/2019   10/14/2019            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                                              X                 X                 X                X
 1055642-01     E.C.      4/6/2019   12/13/2019            1               X                    X             X              X          X                         X      8     X     X                                     X            X                               X              X                 X                 X                X
 1055662-01     Y.K.     4/13/2019     8/8/2019            1               X                    X             X              X          X                                0                                                              X               X               X              X                 X                 X                X
 1055757-02     K.E.     4/13/2019    7/12/2019            1               X                    X             X              X          X             X           X      4                                                              X                               X              X                 X                 X                X
 1055775-01     D.I.     3/25/2019    7/16/2019            1               X                    X                            X          X             X           X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1055785-02     T.G.     4/11/2019   11/20/2019            1               X                                                 X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1055852-01     L.O.      4/8/2019    6/11/2022            1               X                                                 X          X             X           X      5     X              X             X              X            X                               X              X                 X                 X                X
 1055857-01     H.S.      4/9/2019    6/17/2019            4               X                    X             X              X          X             X           X     12                                  X                           X               X               X              X                 X                 X                X
 1055857-02     D.S.      4/9/2019    6/17/2019            3               X                    X             X              X          X                         X     15     X                            X                                                           X              X                 X                 X                X
 1055960-01     P.C.     3/31/2019    7/13/2019            3               X                    X             X              X          X             X           X      4     X                                                        X                                              X                 X                 X                X
 1055980-01     S.S.      4/5/2019    7/29/2019            1               X                    X             X              X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X                X
 1056016-01     F.O.     3/27/2019    9/23/2019            1               X                                  X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1056023-01     S.C.     4/15/2019   10/15/2020            1               X                                                 X          X                         X      3     X     X                      X              X            X                               X              X                                   X
 1056026-02     A.G.      4/5/2019     8/7/2019            5               X                    X             X              X          X             X           X      3                                  X                           X               X               X              X                 X                 X                X
 1056061-01     A.G.     3/17/2019    12/4/2019            1               X                    X                            X          X             X           X     12           X        X             X              X            X                               X              X                 X                 X                X
 1056096-02     P.R.     4/13/2019    5/23/2019            2               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1056112-01     D.S.      4/5/2019    10/3/2019            3               X                                  X              X          X             X           X      5     X              X                            X            X                               X              X                 X                 X                X
 1056193-02     R.S.      4/9/2019    10/1/2019            2               X                    X             X              X          X                         X     10     X     X        X             X              X            X                               X                                X                 X
 1056231-02     B.K.     4/12/2019    11/6/2019            1               X                    X                            X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1056234-01     C.J.     3/22/2019    6/12/2019            1               X                                                 X          X                         X      4                                                              X                               X              X                 X                 X                X
 1056278-01     T.B.     3/31/2019    7/26/2019            2               X                    X             X              X          X             X           X     23     X     X        X             X              X            X               X               X              X                 X                 X                X
 1056293-01     F.V.     4/14/2019     8/1/2019            1               X                    X             X              X          X             X           X      9                                  X                           X                               X              X                 X                 X                X

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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




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                                                                                                                                                                         DME Devices




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                                                                                                                                       Any MRI




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                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1056297-03     A.H.      3/31/2019    6/26/2020            1               X                    X             X              X          X                         X     13     X                                                        X               X               X              X                 X                 X                X
 1056302-02     M.R.      4/15/2019    5/14/2019            1               X                    X                            X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X
 1056349-02     S.L.      3/28/2019    6/11/2019            4               X                    X             X              X          X             X           X     10                                  X                           X               X               X              X                 X                                  X
 1056360-01     R.L.       4/2/2019     8/2/2019            1               X                    X                            X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1056412-01     R.R.      3/22/2019     1/8/2020            1               X                    X                            X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1056475-01     S.E.      4/21/2019     9/5/2019            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1056492-01     L.C.       4/7/2019    7/12/2019            3               X                    X             X              X          X             X           X     13                                  X                                                           X              X                 X                 X                X
 1056492-02     D.C.       4/7/2019     9/4/2019            1               X                    X             X              X          X             X           X     29     X     X        X             X              X            X                               X              X                 X                 X                X
 1056560-01     L.B.     11/19/2018    9/24/2019            1               X                    X                            X          X             X           X      2                                                 X            X                               X              X                 X                 X                X
 1056616-01     F.C.      4/10/2019    1/27/2020            1               X                                                 X                        X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1056650-01     J.Y.      4/24/2019    1/28/2020            1               X                    X             X              X          X             X           X     11     X                                                        X                                              X                 X                 X                X
 1056655-01     C.L.      4/28/2019   12/28/2019            1               X                    X             X              X          X             X           X      5                                                              X                               X              X                 X                 X                X
 1056704-03     D.M.      4/13/2019    8/19/2019            3               X                    X             X              X          X             X           X      6                                  X                           X               X               X              X                 X                 X                X
 1056707-01     M.V.      4/26/2019     3/1/2023            3               X                    X             X              X          X             X           X      9     X                            X                           X               X               X              X                 X                 X                X
 1056724-01     C.D.      4/12/2019    9/24/2019            1               X                    X             X              X          X             X           X      6     X                                                                        X                              X                 X                 X                X
 1056753-01     L.K.       4/6/2019     6/4/2019            2               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X
 1056753-02     A.M.       4/6/2019    5/21/2019            2               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1056783-01     V.T.      4/23/2019    8/10/2019            5               X                    X             X              X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1056846-02     G.S.      4/11/2019     6/5/2019            1               X                    X                            X          X                                0                                                              X                               X              X                 X                 X                X
 1057012-01     M.G.      4/10/2019     9/5/2019            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1057019-01     E.H.      4/19/2019     7/2/2019            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1057071-01     J.C.      4/12/2019    9/23/2019            2               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1057155-02     M.A.      4/17/2019     6/5/2019            2               X                    X             X              X          X             X           X     16     X                                                        X                               X              X                 X                 X                X
 1057155-03     P.A.      4/17/2019     6/5/2019            3               X                    X             X              X          X             X           X     14                                                              X                               X              X                 X                 X                X
 1057170-02     C.R.       4/6/2019     9/5/2019            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1057213-01     K.N.      4/20/2019    7/12/2019            3               X                    X             X              X          X             X           X     23     X     X        X                            X            X               X               X              X                 X                 X                X
 1057227-03     V.G.       5/4/2019    9/26/2019            2                                                                 X                                           0                                                              X                               X              X                 X                                  X
 1057233-01     M.R.      4/30/2019     7/1/2019            1               X                                                 X          X             X           X      6     X              X             X              X            X                               X              X                 X                 X                X
 1057240-01     S.S.       5/1/2019    8/26/2019            2               X                    X             X              X          X             X           X     14     X                            X                           X                               X              X                 X                 X                X
 1057240-02     A.R.       5/1/2019    6/18/2019            4               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1057248-02     R.S.       5/5/2019    6/24/2019            4               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1057304-01     E.E.      4/29/2019    3/12/2020            1               X                    X             X              X          X                         X      4           X                      X              X            X                               X              X                 X                 X                X
 1057340-01     A.O.      4/24/2019    8/23/2019            1               X                                                 X          X             X           X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1057377-01     L.S.      4/23/2019    6/14/2019            1               X                                  X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1057401-03     O.L.       5/2/2019    11/4/2019            1               X                    X                            X          X             X           X     13     X              X             X              X            X                               X              X                 X                 X                X
 1057448-03     C.C.       5/4/2019    1/23/2020            1               X                    X                            X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1057465-01     W.C.       5/5/2019    9/24/2020            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1057518-04     M.F.      4/20/2019     8/6/2019            1               X                    X             X              X          X             X           X     12                                  X                           X                               X              X                 X                 X                X
 1057536-02     J.H.      4/28/2019    7/30/2019            2               X                    X             X              X          X                         X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1057577-01     L.A.      4/30/2019    6/17/2020            1               X                    X                            X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1057590-01     O.L.       5/7/2019    8/20/2019            2               X                    X             X              X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1057599-01      I.S.      4/4/2019     9/7/2019            2               X                    X                            X                        X                  0                                                              X                               X              X                 X                 X                X
 1057644-02     C.M.      4/20/2019    6/22/2021            1               X                    X             X              X          X             X           X     13     X     X                      X                           X               X               X              X                 X                 X                X
 1057689-02     M.N.       5/6/2019     8/2/2019            1               X                    X             X              X          X             X           X      9     X     X        X             X              X                                            X              X                 X                 X                X

                                                                                                                                                 36 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1057696-02     A.A.      5/2/2019     7/8/2019            1               X                                                 X          X                         X      5           X        X             X              X            X                               X              X                 X                 X
 1057709-01     D.G.     4/13/2019    7/29/2019            2               X                    X             X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1057732-02     B.B.      5/8/2019    6/25/2019            1               X                                  X              X                                    X     11     X     X        X             X              X            X                               X              X                 X                 X
 1057815-02     M.V.     4/20/2019    6/26/2019            1               X                                                 X          X             X           X      5     X     X        X                            X                                            X              X                 X                 X                X
 1057899-01     R.H.     5/13/2019     9/5/2019            1               X                    X             X              X          X             X           X     10                                  X                                           X               X              X                 X                 X                X
 1057899-02     R.J.     5/13/2019    7/18/2019            5               X                    X             X              X          X                         X      8     X                            X                           X               X               X              X                 X                 X                X
 1057926-01     G.C.     5/12/2019     7/2/2019            1               X                    X                            X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X
 1057932-01     K.R.     4/28/2019    1/24/2020            1               X                    X             X              X          X                         X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1057932-03     E.T.     4/28/2019     1/6/2020            1               X                    X             X              X          X             X           X     15     X     X                                     X            X                               X              X                 X                 X                X
 1057949-01     M.D.     4/30/2019    7/26/2020            1               X                    X             X              X          X                         X     23     X     X        X             X              X                                            X              X                 X                 X                X
 1057960-01     J.P.      5/6/2019    7/27/2019            5               X                    X             X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1057960-02     R.F.      5/6/2019    7/27/2019            5               X                    X             X              X          X             X           X      9     X     X        X                            X            X               X               X              X                 X                 X                X
 1057987-01     A.C.      5/9/2019    2/25/2020            1               X                    X                            X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1058040-01     M.R.     5/13/2019    8/26/2019            1               X                    X                            X          X             X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1058106-01     A.M.     4/28/2019    6/24/2022            5               X                                  X              X          X             X           X      6     X                            X                           X                               X              X                                   X                X
 1058126-02     B.D.      5/5/2019   10/22/2019            3               X                    X             X              X          X             X           X      4     X                                                                                        X              X                 X                 X                X
 1058126-04     A.F.      5/5/2019   10/24/2019            2               X                    X             X              X          X             X           X      1     X                                                                                        X              X                 X                 X                X
 1058126-06     M.C.      5/5/2019   10/31/2019            2               X                    X             X              X          X             X                  0                                                                                              X              X                 X                 X                X
 1058167-01     B.E.      5/5/2019    8/30/2019            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1058249-02     B.Q.     4/23/2019    2/27/2020            1               X                                  X              X          X             X           X      9     X                                                        X                               X              X                 X                 X                X
 1058291-01     A.W.     5/19/2019    7/22/2019            1               X                                  X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1058322-02     M.W.     5/19/2019   10/25/2019            1               X                    X             X              X          X             X           X     16     X              X                            X            X               X               X              X                 X                 X                X
 1058336-01     L.W.     4/27/2019    9/11/2019            1               X                    X             X              X          X             X           X     12     X                            X                                           X               X              X                 X                 X                X
 1058356-01     E.S.      5/7/2019   11/21/2019            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1058412-01     J.M.     5/14/2019    2/19/2020            2               X                    X                            X          X                         X      2                                                              X                               X                                X                                  X
 1058473-01     A.L.     5/15/2019    8/29/2019            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1058479-01     J.P.      5/2/2019    8/23/2019            1               X                    X             X              X          X                         X      6     X     X        X             X              X                                                           X                 X                 X
 1058495-01     A.M.      5/2/2019   10/19/2019            5               X                    X             X              X          X             X           X      3           X                      X                           X               X               X              X                 X                 X                X
 1058504-01     C.M.      5/8/2019   12/12/2019            2               X                                                 X          X             X                  0                                                              X                               X              X                                                    X
 1058540-02     S.R.     5/19/2019    10/1/2019            1               X                                                 X                                    X      2     X     X                                                  X                               X                                                  X
 1058587-01     Q.K.     5/11/2019   11/12/2021            1               X                    X                            X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1058631-01     C.T.     5/17/2019   10/10/2019            2               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1058638-01     J.H.     5/18/2019    3/12/2020            1               X                    X             X              X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1058653-01     J.B.     5/15/2019    7/13/2019            3               X                    X             X              X          X             X           X     17     X     X                      X                           X                               X              X                 X                 X                X
 1058732-02     H.L.     5/22/2019    1/18/2020            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1058733-01     A.A.      5/9/2019    8/29/2019            1               X                    X             X              X          X                         X      6     X     X                                     X            X                               X              X                 X                 X                X
 1058763-02     D.F.     4/29/2019    9/26/2019            4               X                    X                            X          X             X           X      7     X              X             X              X            X                               X              X                 X                 X                X
 1058782-02     K.A.     5/17/2019     9/6/2019            3               X                                                 X          X             X                  0                                  X                           X                               X              X                 X                                  X
 1058867-01     M.R.     5/21/2019    9/28/2019            2               X                    X             X              X          X             X           X      4                                                              X                               X              X                 X                 X                X
 1058874-01     A.S.     4/28/2019    8/24/2019            4               X                    X             X              X          X             X           X     12                                                              X                               X              X                 X                 X                X
 1058923-02     M.P.     5/17/2019     8/6/2019            2               X                    X             X              X                        X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1058996-01     M.N.     5/10/2019   12/21/2019            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                                   X                X
 1058997-05     A.A.     5/16/2019    7/22/2019            1               X                    X             X              X          X                         X     10     X     X        X                            X            X                               X              X                 X                 X
 1058998-02     H.R.     5/23/2019    10/4/2019            3               X                    X             X              X          X             X           X     13     X                            X                           X                               X              X                 X                 X                X

                                                                                                                                                37 of 133                                                                                                                                                                             Exhibit 1
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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1059010-01     C.W.     5/18/2019    8/20/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1059016-01     C.P.      5/9/2019    11/4/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1059036-02     D.P.      5/5/2019   11/22/2019            1               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1059044-01     A.Y.     5/21/2019     8/8/2019            3               X                                                 X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1059080-01     A.C.      5/7/2019    3/16/2020            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1059109-01     L.S.     5/16/2019    10/1/2019            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X                                X                 X
 1059175-02     F.R.     5/23/2019     8/7/2019            2               X                    X                            X          X             X           X      3     X                                                        X                               X              X                 X                 X                X
 1059175-03     L.R.     5/23/2019    9/20/2019            1               X                    X                            X          X             X           X      2     X                            X                           X                                              X                 X                 X                X
 1059309-02     E.R.     5/11/2019     1/4/2020            1               X                    X             X              X          X             X           X     15     X                                                        X               X               X              X                 X                 X                X
 1059313-01     D.L.      5/4/2019    7/29/2019            1               X                                  X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1059333-03     R.G.     4/29/2019    6/22/2019            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1059366-01     J.R.     5/20/2019   10/28/2019            3               X                    X                            X          X             X                  0                                                              X               X               X              X                 X                                  X
 1059412-01     R.M.     5/11/2019    1/28/2020            1               X                    X             X              X          X                         X      5     X              X             X              X            X                               X              X                 X                 X                X
 1059436-02     D.B.     5/31/2019    8/24/2019            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1059557-01     J.V.     5/18/2019    7/31/2019            1               X                    X             X              X          X             X           X      4                                                              X                               X              X                 X                 X                X
 1059634-02     C.A.     5/28/2019    8/10/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1059641-01     C.H.     5/14/2019    8/28/2020            1               X                    X             X              X          X                         X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1059654-01     S.R.     5/29/2019     8/5/2019            2               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1059657-01     A.L.     5/22/2019   10/14/2020            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1059665-01     J.B.     5/20/2019    7/21/2019            1               X                    X             X              X          X             X           X     19     X     X                      X                           X                               X              X                 X                 X                X
 1059712-01     L.N.     5/24/2019    8/26/2019            1               X                                                 X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1059746-01     Z.A.     5/22/2019    6/30/2019            2               X                    X             X              X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1059772-01     I.R.     5/30/2019    5/28/2020            1               X                                  X              X          X             X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1059796-01     Z.J.     5/20/2019    12/4/2020            1               X                    X             X              X          X             X           X     15     X                            X                           X               X               X              X                 X                 X                X
 1059826-01     T.M.     5/21/2019    5/22/2020            1               X                    X             X              X                                    X      6           X        X             X              X            X                               X              X                 X                 X                X
 1059837-02     O.A.     5/31/2019     8/4/2019            1               X                    X             X              X          X                         X      8                                                                                              X              X                 X                 X                X
 1059864-04     B.R.      6/8/2019    9/13/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1059889-01     S.A.      5/7/2019    5/21/2020            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1059889-02     S.A.      5/7/2019    6/18/2020            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1059918-01     J.S.      6/1/2019    7/22/2019            1               X                                  X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1059940-01     H.I.     5/31/2019    9/12/2019            1               X                    X             X              X          X                         X      4     X                            X                           X                               X              X                 X                 X                X
 1059955-01     L.M.     5/21/2019    7/24/2019            3               X                    X             X              X          X             X           X     10                                                              X                               X              X                 X                 X                X
 1059974-01      J.J.     6/5/2019    7/19/2019            2               X                    X             X              X          X                         X      2     X                            X                           X               X               X              X                 X                 X                X
 1059992-01     L.H.     5/30/2019     7/2/2019            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1059993-02     S.P.     5/21/2019    9/17/2019            2               X                    X             X              X          X             X           X      6     X                                                        X                               X              X                 X                 X                X
 1059994-01     L.W.      6/2/2019    8/14/2019            2               X                                  X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1059995-01     A.A.     5/31/2019     9/3/2019            1               X                                  X              X          X             X           X      4     X     X                                     X            X                               X              X                 X                 X                X
 1060022-01     F.M.      6/7/2019    11/5/2019            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1060022-02     D.N.      6/7/2019    8/28/2019            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1060032-03     D.G.      6/5/2019     8/2/2019            3               X                    X             X              X          X                         X     10     X     X                      X              X            X               X               X              X                 X                 X                X
 1060091-02     M.M.     5/17/2019     9/6/2019            1               X                                  X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1060141-01     R.D.      6/3/2019   10/18/2019            1               X                    X                            X                                    X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1060145-03     D.M.      6/5/2019    12/5/2019            1               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1060382-02     Z.M.      6/8/2019    9/27/2019            4               X                    X             X              X          X             X           X     13     X     X        X             X              X            X               X               X              X                 X                 X                X

                                                                                                                                                38 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
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                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1060382-03     Z.M.      6/8/2019    9/27/2019            3               X                    X             X              X          X             X                  0                                                 X                            X                              X                 X                 X                X
 1060415-02     T.T.     5/31/2019    10/3/2019            1               X                                                 X          X             X           X      4     X     X                                     X            X                               X                                X                 X                X
 1060467-01     V.P.     4/25/2019    7/19/2019            3               X                    X             X              X          X                         X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1060529-01     O.R.     5/23/2019   10/11/2019            1               X                                                 X          X             X                  0                                                              X                                              X                 X                 X                X
 1060584-01     R.C.      6/6/2019   10/17/2019            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1060654-01     R.C.      6/1/2019    8/18/2020            2               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1060657-02     I.N.     6/16/2019   10/30/2019            1               X                                  X              X          X             X           X     12     X     X        X                            X            X                                              X                                   X                X
 1060726-01     G.Z.      6/4/2019   10/27/2019            2               X                    X             X              X          X                         X      9                                                              X                               X              X                 X                 X                X
 1060728-02     M.E.     6/15/2019    2/29/2020            3               X                    X             X              X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1060731-02     C.M.      6/8/2019    9/13/2019            1               X                                                 X          X                         X      6     X     X        X             X              X            X                               X              X                                   X
 1060748-01     E.Z.     6/11/2019     8/8/2019            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1060757-01     N.R.     6/10/2019     9/3/2019            2               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1060763-01     G.M.     6/14/2019    6/19/2020            1               X                    X             X              X                        X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1060849-01     M.M.     6/14/2019    8/13/2020            1               X                                  X              X          X                         X     14     X     X        X                            X            X                               X              X                 X                 X
 1060849-05     R.M.     6/14/2019    8/27/2019            2               X                    X             X              X          X             X           X      8     X                                                        X                               X              X                 X                 X                X
 1060850-01     L.L.      6/7/2019    8/27/2019            3               X                    X             X              X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1060850-02     M.D.      6/7/2019    7/30/2019            2               X                    X             X              X          X             X           X     19     X     X                                     X            X                               X              X                 X                 X                X
 1060862-03     A.S.     6/16/2019    9/24/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X
 1060916-01     J.C.     6/18/2019    7/19/2019            3               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1060928-02     A.C.     6/15/2019   10/28/2019            1               X                                  X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1060958-02     A.U.     5/16/2019    9/10/2019            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1061010-02     T.J.     5/26/2019    8/28/2019            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1061132-02     R.V.     6/24/2019    9/14/2019            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                                              X                 X                 X                X
 1061160-03     M.M.     6/17/2019   11/11/2019            2               X                    X             X              X          X                         X     24     X     X        X                            X            X                                              X                 X                 X                X
 1061167-01     F.F.     6/10/2019    12/9/2019            1               X                    X                            X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1061173-02     G.K.      6/4/2019    10/7/2020            3               X                    X                                                                        0                                                                                              X              X                 X                 X                X
 1061228-04     D.J.     5/23/2019    7/14/2019            2               X                    X             X              X          X             X           X      5                                                              X                               X              X                 X                 X                X
 1061276-02     M.T.     6/18/2019   12/21/2019            3               X                    X             X              X          X             X           X      9     X                                                        X               X               X              X                 X                 X                X
 1061388-01     K.G.     6/15/2019    10/5/2019            2               X                    X             X              X          X             X           X     13                                  X                                                           X              X                 X                 X                X
 1061412-02     M.M.     5/26/2019    9/19/2019            1               X                    X             X              X          X                         X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1061434-02     M.S.     6/21/2019    10/6/2020            1               X                                                 X          X             X           X      8     X     X        X                            X            X                               X              X                                   X                X
 1061443-01     A.G.     6/11/2019   11/26/2019            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X
 1061470-01      J.J.    5/20/2019    10/4/2019            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1061478-01     C.C.     6/20/2019    8/14/2019            1               X                    X             X              X          X             X           X      7                                  X                           X                               X              X                 X                 X                X
 1061478-02     C.J.     6/20/2019    8/14/2019            1               X                    X             X              X          X             X           X      7                                  X                                                           X              X                 X                 X                X
 1061480-02     J.O.     6/10/2019    8/11/2020            1               X                    X             X              X          X             X           X     14           X        X                            X            X                               X              X                 X                 X                X
 1061490-02     G.W.     6/13/2019    11/6/2019            1               X                    X             X              X          X             X           X     13                    X             X              X            X                               X              X                 X                 X                X
 1061573-01     T.W.     5/29/2019    8/30/2019            1               X                    X             X              X          X             X           X     18     X     X        X                            X                                            X              X                 X                 X                X
 1061594-02     J.W.      6/9/2019    11/8/2019            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1061612-90     K.T.     6/19/2019    2/24/2020            1                                                                                                      X      6     X     X                                     X            X                               X                                                  X
 1061629-01     C.K.     5/29/2019    2/16/2021            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1061650-01     J.V.      6/3/2019   10/22/2019            1               X                    X                            X          X             X           X      6     X     X        X             X              X            X                                              X                 X                 X
 1061653-02     O.P.     6/18/2019    9/26/2019            1               X                                                 X          X             X           X      6                    X                            X            X               X               X              X                 X                 X                X
 1061705-02     R.W.      6/6/2019   11/11/2019            3               X                                                 X          X             X           X      8     X     X        X             X              X            X                               X                                X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                                           Acupuncture




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                                                                                            Chiropractic




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1061744-01     R.C.     6/17/2019    12/5/2019            1               X                    X             X              X          X                         X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1061755-01     A.J.      6/8/2019    8/26/2019            1               X                                                 X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1061756-01     W.J.     6/23/2019     5/4/2021            1               X                    X                            X          X             X           X     12           X        X             X              X            X                               X              X                 X                 X                X
 1061759-01     M.A.      6/8/2019    3/12/2020            1               X                    X                            X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1061766-01     E.G.     5/26/2019    9/17/2019            3               X                    X             X              X          X             X           X      5     X                                                        X                               X              X                 X                 X                X
 1061815-04     M.L.     6/30/2019    9/25/2019            3               X                    X             X              X          X             X           X     12                                  X                                                           X              X                 X                 X                X
 1061824-01     R.M.     6/25/2019   10/19/2019            2               X                    X             X              X          X             X           X     14                                  X                           X                               X              X                 X                 X                X
 1061824-04     K.B.     6/25/2019    9/22/2019            3               X                    X             X              X          X             X           X      4                                                              X                               X              X                 X                 X                X
 1061830-01     K.A.      6/4/2019   10/27/2019            2               X                    X             X              X          X             X           X      4                                  X                           X               X               X              X                 X                 X                X
 1061830-03     M.A.      6/4/2019   10/27/2019            2               X                    X                            X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1061830-08     S.A.      6/4/2019   11/24/2019            1               X                    X                            X          X             X           X      2                                  X                           X                                              X                 X                 X                X
 1061867-01     B.G.     6/25/2019    2/27/2020            1               X                                  X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1061877-01     T.J.     6/28/2019     9/4/2019            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1061877-02      I.J.    6/28/2019     9/4/2019            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1061881-03     T.C.     6/29/2019     1/9/2023            1               X                    X             X              X          X                         X     15     X     X        X             X              X            X               X               X              X                 X                 X                X
 1061919-01     M.C.     6/29/2019    11/1/2019            5               X                                  X              X          X             X           X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1061944-01     V.T.     6/12/2019    9/11/2020            2               X                    X             X              X          X             X           X     15     X     X        X             X              X            X               X               X              X                 X                 X                X
 1061946-01     S.R.     6/28/2019     9/5/2019            1               X                    X             X              X          X             X           X     10           X        X             X              X            X                               X              X                 X                 X                X
 1061963-01     C.M.      7/2/2019     9/4/2019            1               X                    X                            X          X             X           X     10     X     X        X                            X                                            X              X                 X                 X                X
 1061996-01     A.S.     6/22/2019    5/31/2020            1               X                    X             X              X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X
 1062025-02     Y.H.     6/29/2019    8/19/2020            1               X                    X             X              X          X                         X     21                    X             X              X            X               X               X              X                 X                 X                X
 1062063-02     W.A.      6/9/2019   10/27/2019            1               X                    X             X              X          X             X           X     14     X              X             X              X            X                               X              X                 X                 X                X
 1062063-04     W.P.      6/9/2019   10/27/2019            1               X                    X             X              X          X             X           X     14     X              X             X              X            X                               X              X                 X                 X                X
 1062086-01     E.A.     6/17/2019    11/9/2019            6               X                    X             X              X          X             X           X      7                                                              X                               X              X                 X                 X                X
 1062096-01     F.A.     6/10/2019    8/24/2019            2               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X
 1062097-02     T.G.     6/12/2019   11/11/2019            2               X                    X             X              X          X                         X      5     X                                                        X                                              X                 X                 X                X
 1062099-01     J.R.     6/30/2019    1/15/2020            1               X                    X             X              X          X             X           X     11     X                                                        X                               X              X                 X                 X                X
 1062119-01     V.E.     6/24/2019    8/29/2019            1               X                    X             X              X          X                         X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1062135-02     L.O.     6/25/2019    8/13/2019            2               X                    X             X              X          X             X           X      3                                  X                           X               X               X              X                 X                                  X
 1062148-01     R.R.     6/26/2019    9/17/2019            1               X                    X             X              X          X             X           X      8     X     X        X                            X                                                           X                 X                 X                X
 1062180-01     D.L.      7/8/2019    2/21/2020            1               X                    X             X              X                        X           X     13     X     X        X             X              X            X               X               X              X                 X                 X                X
 1062200-01     J.Z.     6/28/2019   10/25/2019            1               X                                                 X          X             X           X      9     X     X        X                            X            X                                              X                 X                 X                X
 1062274-01     J.R.      7/7/2019   10/12/2019            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1062284-02     T.E.      7/1/2019    8/15/2019            3               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1062315-02     M.S.     6/28/2019    11/1/2019            1               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1062380-01     R.I.     6/12/2019    1/13/2020            2               X                                  X              X          X                         X     11     X     X        X                            X            X                               X              X                                   X
 1062380-02     W.T.     6/12/2019   11/30/2019            1               X                                  X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1062381-01     W.S.      7/4/2019    8/28/2019            1               X                                                 X          X             X           X      2                    X             X              X            X                               X              X                 X                 X                X
 1062433-01     E.C.     6/25/2019    6/15/2020            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X
 1062437-02     E.G.     6/29/2019    12/3/2019            4               X                    X             X              X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1062437-03     E.P.     6/29/2019   11/11/2019            3               X                    X             X              X          X             X           X     16     X     X                                                  X                               X              X                 X                 X                X
 1062520-02     S.C.      7/2/2019     8/5/2020            1               X                    X             X              X          X                         X      5     X              X             X              X            X                               X              X                 X                 X                X
 1062523-04     C.C.     6/30/2019   11/20/2019            3               X                    X             X              X          X             X           X     15     X              X             X              X            X                               X              X                 X                 X                X
 1062572-01     C.G.     6/29/2019    8/28/2020            3               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X                                X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




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                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1062578-01     R.R.     6/17/2019    10/4/2019            1               X                    X                            X          X                         X      2                                                              X                               X              X                 X                 X                X
 1062672-01     A.A.      7/5/2019   11/25/2019            1               X                    X             X              X          X                         X     10                                                                              X                              X                 X                 X                X
 1062710-01     T.Z.      7/6/2019     2/3/2020            1               X                                                 X          X                         X      5     X     X                      X              X            X                               X              X                 X                 X
 1062720-01     D.S.     6/26/2019    9/19/2019            2               X                                  X              X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1062801-01     R.R.     6/30/2019    11/5/2019            2               X                    X             X              X          X             X                  0                                  X                                                           X              X                 X                 X                X
 1062834-03     B.S.      7/7/2019    9/20/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X                                            X              X                 X                 X                X
 1062987-02     P.T.     6/20/2019     8/4/2019            1               X                    X             X              X          X             X           X     14                                                              X                               X              X                 X                 X                X
 1063023-01     L.S.     7/16/2019    8/26/2019            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1063030-02     Y.D.      7/3/2019    10/4/2019            1               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1063055-02     B.A.     7/11/2019   10/11/2019            3               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1063101-01     D.R.     6/21/2019    10/8/2019            1               X                                                 X                        X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1063152-02     A.B.     7/13/2019    1/15/2020            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1063178-04     T.H.      6/3/2019    10/7/2019            1               X                    X             X              X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1063209-01     H.B.     7/12/2019   12/11/2019            2               X                    X             X              X          X             X           X     10           X        X             X              X            X                               X              X                 X                 X                X
 1063229-02     J.R.     6/22/2019    9/24/2019            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1063246-01     J.E.     6/27/2019   10/12/2020            1               X                    X             X              X          X             X           X      7           X                      X                           X               X               X              X                 X                 X                X
 1063246-04     H.F.     6/27/2019     9/3/2020            2               X                    X             X              X          X             X           X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1063250-01     Z.O.      7/2/2019    8/22/2019            1               X                    X             X              X          X                         X      5     X     X        X                            X            X                                              X                 X                 X                X
 1063254-02     L.L.     7/12/2019    9/17/2019            2               X                    X             X              X          X             X           X     20     X     X        X                            X            X                               X              X                 X                 X                X
 1063270-01     J.P.     6/12/2019    2/20/2020            3               X                    X             X              X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1063293-01     A.A.     7/18/2019    6/24/2020            2               X                                  X              X          X                         X      6     X     X                                     X            X                               X              X                 X                 X                X
 1063298-02     M.F.     7/11/2019    9/13/2019            3               X                    X             X              X          X             X           X     19     X                            X                           X               X               X              X                 X                 X                X
 1063332-01     R.J.     7/17/2019    6/18/2021            1               X                    X             X              X          X             X           X     14     X     X                      X              X            X                               X              X                 X                 X                X
 1063362-01     N.O.     7/17/2019    9/10/2019            1               X                    X                            X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X
 1063404-01     K.T.      7/4/2019    1/27/2020            1               X                    X             X              X          X             X           X     20     X     X                      X                           X                               X              X                 X                 X                X
 1063461-02     J.S.     6/27/2019    9/19/2019            1               X                                                 X          X             X           X      8     X     X        X                            X            X                                              X                 X                 X
 1063518-01     Y.R.      7/4/2019    1/13/2021            2               X                                                 X          X             X           X      5     X     X                      X              X            X               X               X              X                 X                 X                X
 1063527-03     A.P.     6/20/2019    9/28/2019            1               X                    X                            X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1063529-01     C.M.     7/21/2019    2/26/2020            1               X                                                 X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1063574-01     S.Z.     6/22/2019    8/20/2019            2               X                                                 X                        X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1063629-02     N.F.      7/6/2019    10/3/2019            3               X                    X             X              X          X             X           X      8                                  X                           X               X               X              X                 X                 X                X
 1063633-02     W.G.     6/27/2019    11/6/2019            4               X                    X                            X          X             X           X      6     X     X                      X              X            X               X               X              X                 X                 X                X
 1063649-02     S.R.     7/12/2019   11/14/2019            1               X                    X             X              X          X                         X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1063662-01     R.E.     7/12/2019    2/19/2020            1               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1063662-02     J.M.     7/12/2019    2/19/2020            1               X                    X             X              X          X             X           X      2                                                              X               X               X              X                 X                 X                X
 1063672-01     K.F.     7/14/2019    8/26/2019            3               X                    X             X              X          X             X           X      8                                  X                                                           X              X                 X                 X                X
 1063696-02     Y.R.     7/18/2019   10/25/2019            3               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1063702-01     R.H.     7/18/2019    9/25/2019            1               X                    X             X              X          X             X           X      4     X     X                                     X            X                               X              X                 X                 X                X
 1063719-01     L.I.     7/10/2019    9/30/2020            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1063764-01     M.H.      7/7/2019    2/27/2020            1               X                    X             X              X          X             X           X      7           X        X                            X            X                               X              X                 X                 X                X
 1063803-02     R.J.     7/21/2019    10/4/2019            3               X                                                 X          X             X           X     18     X     X        X             X              X            X               X               X              X                 X                 X                X
 1063825-01     L.R.     7/30/2019     3/3/2020            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                                              X                 X                 X                X
 1063831-01     W.J.     7/17/2019    10/5/2019            3               X                    X             X              X          X             X           X      2           X                                                  X               X               X              X                 X                 X                X
 1063873-01      J.I.    6/27/2019    11/6/2019            1               X                    X             X              X          X                         X     15     X     X                      X              X            X                                              X                 X                 X                X

                                                                                                                                                41 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1063879-01     W.F.     7/15/2019    2/24/2020            5               X                    X             X              X          X             X           X     12                                  X                           X               X               X              X                 X                 X                X
 1063956-01     J.A.     7/10/2019   10/21/2019            1               X                                                 X          X                         X      9     X     X        X             X              X                                            X              X                 X                 X
 1063998-02     F.P.     7/10/2019    8/24/2019            2               X                    X             X              X                                    X     19           X                      X                                                           X              X                 X                 X                X
 1063998-04     R.H.     7/10/2019    9/18/2019            1               X                    X             X              X          X             X           X     24     X     X                      X              X            X                               X              X                 X                 X                X
 1064003-01     A.B.     7/18/2019    8/26/2019            1               X                    X             X              X          X             X           X     23     X     X        X                            X            X                               X              X                 X                 X                X
 1064053-01     D.C.     7/20/2019    7/17/2021            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1064074-04     V.O.     7/17/2019   10/14/2020            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1064090-01     K.D.     7/22/2019    9/30/2019            1               X                                  X              X          X             X           X     11     X     X                      X              X            X                               X              X                 X                 X                X
 1064095-02     S.T.     7/18/2019     9/6/2019            3               X                    X             X              X          X             X           X      5     X                            X                                                           X              X                 X                 X                X
 1064150-03     M.B.     7/26/2019    9/30/2019            3               X                    X             X              X          X             X           X     13     X                            X              X            X                               X              X                 X                 X                X
 1064215-02     J.T.     7/17/2019    7/23/2021            1               X                                                 X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1064245-01     D.M.     7/19/2019    12/5/2019            2                                                                 X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1064245-02     M.C.     7/19/2019    11/6/2019            3               X                    X                            X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1064258-01     B.O.     7/17/2019    2/12/2020            1               X                    X                            X          X                         X      8     X     X        X                            X            X                                              X                 X                 X                X
 1064287-02     S.S.     7/26/2019   11/29/2019            2               X                    X             X              X          X             X           X     12                                                              X               X               X              X                 X                 X                X
 1064331-03     A.P.     7/26/2019    10/8/2019            1               X                    X             X              X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1064362-02     J.C.     7/28/2019    11/2/2020            2               X                    X             X              X          X                         X      2                                  X                           X                               X              X                 X                 X                X
 1064371-01     M.C.     7/10/2019    9/17/2019            3               X                    X                            X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1064427-02     V.B.     7/21/2019    9/17/2019            1               X                    X             X              X          X             X           X     10     X     X        X             X              X                                                           X                 X                 X                X
 1064427-05     M.T.     7/21/2019    12/3/2019            1               X                    X             X              X          X             X           X      7     X     X        X             X              X                                                           X                 X                 X                X
 1064430-02     M.F.     7/26/2019     7/7/2020            1               X                    X                            X          X             X           X      2                                  X                           X                               X              X                 X                                  X
 1064464-01     W.A.     7/24/2019    9/24/2020            2               X                                                 X                                           0                                                              X                                              X                 X                 X                X
 1064495-02     T.B.     7/27/2019   11/11/2019            2               X                                                 X          X             X           X      7           X        X                            X            X                               X              X                 X                 X                X
 1064495-03     M.P.     7/27/2019   11/11/2019            1               X                                                 X          X             X           X      4           X        X             X              X            X                                              X                 X                 X                X
 1064507-02      P.I.     7/8/2019   10/11/2019            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1064515-02     A.B.     7/28/2019    10/5/2019            8               X                    X             X              X          X             X           X     16     X     X                      X              X            X               X               X              X                 X                 X                X
 1064586-01     D.A.     7/23/2019     2/8/2020            2               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1064626-03     A.G.     7/30/2019   10/26/2019            1               X                    X             X              X          X             X           X     16     X                                                        X                                              X                 X                 X                X
 1064679-02     M.B.     7/31/2019    1/21/2021            1               X                                                 X          X             X           X      7     X     X                      X              X            X                               X              X                                   X
 1064725-01     C.G.     7/30/2019    8/17/2022            1               X                                                 X          X             X                  0                                                              X                               X              X                 X                 X                X
 1064785-03     N.U.     7/19/2019   11/25/2019            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1064827-01     J.T.     7/28/2019   11/20/2019            1               X                    X                            X          X             X           X      3     X                            X              X            X                               X              X                 X                 X                X
 1064884-02     L.A.      8/2/2019    1/11/2020            2               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1064887-01     L.P.      8/3/2019     1/3/2020            1               X                                  X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1064899-01     E.O.      8/3/2019    3/11/2020            1               X                                                 X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1064905-01     P.C.      8/3/2019    10/8/2019            1               X                    X             X              X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1064929-03     F.R.     7/28/2019    9/16/2019            2               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                                              X                 X                 X                X
 1064938-01     L.B.     7/31/2019    1/14/2021            1               X                                                 X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1064976-02     D.J.     6/26/2019    3/13/2020            1               X                                  X              X          X                         X      8     X     X                      X              X            X                               X              X                                   X
 1064985-03     S.W.     7/26/2019    9/24/2019            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1064992-01     X.S.      8/5/2019    1/27/2020            1               X                    X             X              X          X                         X      1     X                            X              X            X                               X              X                 X                 X                X
 1065020-01     C.P.      7/7/2019    3/19/2020            1               X                    X             X              X          X             X           X     11                                                              X                               X              X                 X                 X                X
 1065027-04     T.J.     7/11/2019   10/30/2020            1               X                                                 X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1065067-01     A.P.     7/15/2019   10/28/2019            1               X                    X                            X          X             X           X     10                                                              X                                              X                 X                 X                X

                                                                                                                                                42 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1065081-01     P.F.     7/26/2019   10/18/2019            1               X                    X             X              X          X                         X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1065092-02     R.B.      8/7/2019    2/20/2020            1               X                    X             X              X          X             X           X     11     X     X                      X                           X                               X              X                 X                 X
 1065200-01     M.D.      8/7/2019     2/4/2021            2               X                                                 X          X             X                  0                                                              X                               X              X                 X                 X                X
 1065213-01     L.B.      8/4/2019   11/21/2019            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1065215-01     K.T.      8/1/2019    9/30/2019            3               X                    X             X              X          X             X           X     20     X     X        X                            X            X               X               X              X                 X                 X                X
 1065236-01     R.S.     7/22/2019    11/6/2019            2               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1065253-01     A.R.     7/15/2019    9/17/2021            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1065256-01     C.B.      8/2/2019    10/4/2019            1               X                                                 X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1065263-01     J.B.      8/5/2019    6/18/2021            1               X                    X             X              X          X             X           X      2     X     X                                     X            X                               X              X                 X                 X                X
 1065318-01     E.J.      8/8/2019    3/26/2021            1               X                                                 X                                    X      8     X     X                                     X            X                               X              X                 X                 X                X
 1065333-01     U.K.      8/6/2019    3/13/2020            1               X                    X                            X          X             X           X      5     X     X        X                            X            X               X               X              X                 X                 X                X
 1065336-02     E.R.      8/2/2019    10/1/2019            1               X                    X             X              X          X             X           X      5           X        X             X              X                                                                             X                 X                X
 1065360-02     M.C.     7/21/2019   11/20/2020            1               X                    X             X              X          X             X           X      2                                                              X                                              X                 X                 X                X
 1065364-01     S.S.     7/31/2019    9/24/2019            1               X                    X             X              X                        X           X     15     X     X                                     X            X                               X              X                 X                 X                X
 1065365-03     Y.P.      8/4/2019    11/1/2019            1               X                    X             X              X          X             X           X      8     X     X        X                            X                                                           X                 X                 X                X
 1065365-04     M.P.      8/4/2019     2/7/2020            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1065365-05     F.F.      8/4/2019    1/31/2020            2               X                    X             X              X          X             X           X     12     X     X        X                            X                                            X              X                 X                 X                X
 1065376-01     R.C.     6/28/2019    2/23/2021            1               X                    X             X              X          X                                0                                  X                                           X               X              X                 X                 X                X
 1065383-01     M.M.     7/22/2019    8/29/2020            1               X                                  X              X          X             X           X     11     X     X        X             X              X            X                                              X                 X                 X                X
 1065407-01     A.E.     7/19/2019    9/24/2019            2               X                    X             X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1065416-01     E.E.     7/16/2019   10/26/2019            2               X                    X             X              X          X             X           X     16     X                            X              X            X                               X              X                 X                 X                X
 1065444-02     J.D.      8/9/2019    10/5/2019            3               X                    X             X              X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1065467-01     A.A.     8/12/2019    1/20/2020            2               X                    X             X              X          X                         X      7     X              X             X              X            X                               X              X                 X                 X                X
 1065512-01     V.T.     8/13/2019   10/24/2019            1               X                    X             X              X                        X           X      8     X     X        X                            X                                            X              X                 X                 X                X
 1065574-01     N.C.     7/25/2019   11/19/2019            2               X                    X             X              X          X             X           X     26     X     X        X             X              X            X                               X              X                 X                 X                X
 1065586-01     J.D.     8/14/2019   10/22/2020            2               X                    X                            X          X                         X     13           X        X             X              X            X                               X              X                 X                 X                X
 1065751-01     A.M.     7/30/2019    3/18/2020            1                                                                 X                                           0                                                 X                                            X              X                 X                 X                X
 1065765-01     M.N.      8/6/2019    3/10/2021            1               X                                  X              X                                    X      8     X     X        X             X              X            X                               X              X                 X                 X
 1065794-02     L.O.     8/18/2019   10/10/2019            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1065816-01     O.G.      8/6/2019    10/8/2019            4               X                    X             X              X                        X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1065816-02     A.P.      8/6/2019    11/5/2019            1               X                    X             X              X          X             X           X     17     X     X        X                            X                                                           X                 X                 X                X
 1065820-03     S.B.     8/13/2019    1/30/2020            3               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1065880-01     D.S.     7/26/2019   11/24/2019            3               X                    X             X              X          X                         X     14                                  X                           X                               X              X                 X                 X                X
 1065921-02     D.T.      8/7/2019    1/20/2020            1               X                    X             X              X          X                         X     12     X     X        X                            X                                            X              X                 X                 X                X
 1066017-01     R.S.      8/6/2019   11/27/2019            1               X                    X             X              X          X                                0                                                              X                                              X                 X                 X                X
 1066048-02     A.A.     8/18/2019    11/5/2019            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1066062-01     M.T.     8/18/2019    9/13/2023            1               X                                                 X          X                         X      4     X     X                      X              X            X                               X                                                  X
 1066106-01     N.C.     8/19/2019   11/23/2019            4               X                    X             X              X          X             X           X      3           X                      X                           X               X               X              X                 X                                  X
 1066106-02     C.C.     8/19/2019   11/23/2019            5               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1066137-02     M.A.     8/18/2019   10/31/2019            1               X                    X                            X          X                         X      9     X     X        X             X              X                                                           X                 X                 X                X
 1066280-01     S.W.     8/18/2019    1/29/2021            1               X                                                 X          X                         X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1066305-02     N.G.     8/12/2019    11/1/2019            1               X                    X             X              X          X             X           X     10     X     X                      X              X            X                               X              X                 X                 X                X
 1066344-02     E.M.     8/18/2019   11/21/2020            1               X                    X             X              X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1066349-01     D.W.     8/15/2019    10/2/2019            5               X                    X             X              X          X             X           X     15     X     X        X             X              X            X               X               X              X                 X                 X                X

                                                                                                                                                43 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                      1493
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




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                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1066362-02     V.A.     6/28/2019   11/14/2019            1               X                    X                            X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1066387-03     N.J.     8/14/2019    12/7/2019            1               X                    X             X              X          X             X           X      9           X        X                            X            X                               X              X                 X                 X                X
 1066455-01     A.M.     7/31/2019    3/13/2020            1               X                    X             X              X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1066479-01     S.G.     8/24/2019   12/10/2019            1               X                    X                            X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1066488-01     S.A.     7/29/2019    5/25/2021            1                                                                 X          X                         X      7     X     X        X             X              X            X                               X                                X                 X                X
 1066559-03     C.R.     8/11/2019   10/22/2019            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X               X               X              X                 X                 X                X
 1066583-01     J.C.     8/17/2019   10/15/2020            1               X                    X             X              X          X             X           X      6     X     X                                     X            X                               X              X                 X                 X                X
 1066586-02     J.E.     8/13/2019    11/9/2019            5               X                    X             X              X          X             X           X      9                                  X                           X               X               X              X                 X                                  X
 1066656-01     R.G.     7/21/2019   11/11/2019            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                                              X                 X                 X                X
 1066720-01     A.M.     8/23/2019    11/4/2019            2               X                                                 X                        X           X      2                                  X                           X               X               X              X                 X                 X                X
 1066742-01     M.C.     8/26/2019     2/6/2020            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1066767-01     M.T.     8/28/2019    12/4/2019            1               X                    X             X              X          X                                0                                  X                                                           X              X                 X                 X                X
 1066770-01     D.F.      8/7/2019    9/24/2019            3               X                    X             X              X          X             X           X      2                                                              X                               X              X                 X                                  X
 1066772-01     J.F.     8/27/2019    2/14/2020            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1066796-01     J.C.     8/17/2019   10/29/2019            2               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X
 1066818-01     M.B.     8/19/2019   12/14/2019            4               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1066838-02     R.S.     8/30/2019   10/22/2019            2               X                                                 X          X             X           X      7     X     X        X                            X            X                               X              X                                   X
 1066865-03     M.C.     8/20/2019   10/28/2020            1               X                    X                            X          X             X           X     11     X     X        X                            X                                            X              X                 X                 X
 1066898-01     J.M.     8/23/2019   11/26/2019            2               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1066900-01     G.F.     8/30/2019    1/22/2020            1               X                    X             X              X          X             X           X     14           X        X             X              X            X                               X              X                 X                 X                X
 1066906-01     D.S.     8/28/2019   11/18/2019            1               X                    X             X              X                        X           X     10                                  X                           X                               X              X                 X                 X                X
 1066919-01     D.H.      8/2/2019    5/18/2021            1               X                    X             X              X          X             X           X      8           X        X             X              X            X                               X              X                 X                 X                X
 1066958-01     T.M.     8/27/2019    1/30/2020            1               X                    X             X              X          X                         X     24     X     X        X             X              X                                            X              X                 X                 X                X
 1067004-01     A.G.      9/5/2019   11/22/2019            1               X                    X             X              X          X                         X      6     X                                                        X                               X              X                 X                 X                X
 1067017-01     A.G.     8/24/2019   11/15/2019            1               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1067046-02     A.G.      8/9/2019    9/20/2019            3               X                    X                            X          X             X           X     14     X     X                      X              X            X                               X              X                 X                 X                X
 1067065-02     E.C.     8/17/2019    1/13/2020            1               X                                                 X          X                         X      3     X                                           X            X                               X                                X                 X
 1067108-01     A.V.     8/25/2019   10/18/2019            1               X                    X                            X          X             X           X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1067131-02     A.C.      9/4/2019    1/30/2020            1               X                    X             X              X          X             X           X     10                                                              X                               X              X                 X                 X                X
 1067147-01     D.D.     8/29/2019    2/19/2020            3               X                    X             X              X          X                         X      9     X                            X                                                           X              X                 X                 X                X
 1067151-01     J.R.      8/9/2019    12/2/2019            1               X                                                 X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1067217-01     E.C.     8/26/2019    7/14/2020            1               X                    X             X              X          X             X           X      3                                  X                           X               X               X              X                 X                 X                X
 1067229-01     J.S.     8/16/2019     2/7/2020            1               X                    X             X              X          X             X           X      6     X              X             X              X            X               X               X              X                 X                 X                X
 1067231-01     P.J.     8/19/2019    1/11/2020            3               X                    X             X              X          X             X           X      6                                                              X                               X              X                 X                 X                X
 1067255-01     B.R.      8/8/2019    8/19/2020            1               X                    X             X              X          X             X           X     24     X     X        X             X              X                                            X              X                 X                 X                X
 1067272-02     O.M.     8/18/2019     5/1/2021            1               X                                                 X          X             X           X      1                                                              X               X               X              X                 X                                  X
 1067288-02     D.M.     8/31/2019    1/18/2020            4               X                                                 X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1067343-01     V.V.     8/31/2019   11/17/2019            3               X                    X             X              X          X             X           X      4     X              X                            X            X                               X              X                 X                 X                X
 1067343-02     C.G.     8/31/2019    1/30/2020            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1067356-02     C.F.     8/30/2019   11/11/2019            1               X                    X             X              X          X             X           X      7     X     X        X                            X                            X                              X                 X                 X                X
 1067359-05     C.T.     8/23/2019   11/27/2019            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1067432-01     M.P.      9/6/2019    2/13/2020            2               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1067457-01     G.A.      9/6/2019    6/29/2020            2               X                    X             X              X          X             X           X      7                                  X                           X               X               X              X                 X                 X                X
 1067482-01     L.A.      9/4/2019    1/17/2020            1               X                    X             X              X          X             X           X     15     X     X        X                            X            X               X               X              X                 X                 X                X

                                                                                                                                                44 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                            Chiropractic




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                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1067488-01     J.F.      9/3/2019   11/24/2019            1               X                    X             X              X          X             X           X     15     X                            X                           X                               X              X                 X                 X                X
 1067488-02     T.G.      9/3/2019   11/11/2019            2               X                    X             X              X          X                         X     15     X     X                      X                           X                               X              X                 X                 X                X
 1067581-01     R.F.      9/6/2019   10/22/2019            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                                   X                X
 1067647-01     I.A.     8/20/2019   10/15/2019            3               X                    X                            X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X                X
 1067682-02     E.B.     8/29/2019   11/17/2019            1               X                    X             X              X          X             X           X     10                                                              X                               X              X                 X                 X                X
 1067682-04     J.P.     8/29/2019    3/18/2020            1               X                                                 X          X             X           X      8     X     X        X             X              X            X                               X              X                                   X                X
 1067733-01     E.G.     8/23/2019   10/23/2019            2               X                    X             X              X          X             X           X      3     X                            X              X            X                               X              X                 X                 X                X
 1067739-01     A.P.      9/5/2019   12/20/2019            1               X                                  X              X          X                         X     17     X     X        X                            X                                            X              X                 X                 X                X
 1067739-02     K.H.      9/5/2019   10/11/2019            1               X                    X             X              X          X             X           X     16     X     X        X                            X                                                           X                 X                 X                X
 1067767-02     J.B.     9/10/2019   11/15/2019            2               X                                                 X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1067776-01     L.V.     9/13/2019    1/15/2020            3               X                                  X              X                                    X     11                                                              X                               X              X                 X                 X                X
 1067798-01     J.C.     8/29/2019   12/20/2019            2               X                                  X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1067838-01     K.I.      9/6/2019    2/20/2020            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1067841-01     H.C.      9/8/2019     3/5/2020            1               X                                  X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1067842-02     M.H.      9/9/2019    2/24/2020            1               X                                  X              X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1067851-01     S.P.     8/16/2019    10/3/2019            3               X                    X             X              X                        X           X      3     X                                                        X                               X              X                 X                 X                X
 1067876-01     S.S.      9/9/2019     1/7/2020            1               X                                                 X          X             X           X      5           X        X                            X                                            X              X                 X                 X                X
 1067884-03     P.D.      9/8/2019    1/10/2020            1               X                                  X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1067914-01     R.B.     9/10/2019   11/10/2020            4               X                    X             X              X          X             X           X      4                    X                                         X               X               X              X                 X                 X                X
 1067925-01     M.G.      9/2/2019     1/4/2020            1               X                    X             X              X          X                         X     11     X     X        X             X              X            X                               X              X                 X                 X
 1067927-02     F.M.      9/9/2019     1/6/2020            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1067943-01     R.L.     8/29/2019   12/12/2020            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1067982-02     J.S.     9/14/2019     2/6/2020            2               X                    X                            X          X             X           X      5     X                                                        X                               X              X                 X                 X                X
 1067984-01     P.G.     9/10/2019    9/15/2020            1               X                    X             X              X          X             X           X     14     X     X                      X              X            X                               X              X                 X                 X                X
 1068038-02     J.G.     8/18/2019    2/22/2020            1               X                    X             X              X          X             X           X     20     X     X        X             X              X                                            X              X                 X                 X                X
 1068096-02     A.T.      9/8/2019   10/25/2019            2               X                                                 X          X                         X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1068129-02     R.L.     9/13/2019   10/23/2019            3               X                    X             X              X          X             X           X     11                                  X                                                           X              X                 X                 X                X
 1068129-03     J.P.     9/13/2019   10/25/2019            3               X                    X             X              X          X             X           X     10                                  X                                                           X              X                 X                 X                X
 1068132-01     A.F.      8/9/2019    6/12/2020            2               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1068146-01     D.B.      9/5/2019    3/18/2020            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1068148-03     L.M.     8/25/2019    9/30/2019            3               X                    X             X              X          X             X           X     11                                                                                              X              X                 X                 X                X
 1068190-03     Y.W.     9/19/2019     1/6/2020            3               X                    X             X              X          X                         X      2                    X                            X            X               X               X              X                 X                 X                X
 1068220-03     F.G.     8/21/2019   10/24/2020            4               X                    X             X              X          X             X           X      4                                                              X                               X              X                 X                 X                X
 1068228-02     C.M.     9/16/2019     1/8/2020            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1068244-01     N.Z.     8/23/2019     7/7/2021            2               X                                  X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1068319-02     L.M.      9/7/2019     7/9/2021            1               X                    X                            X                        X           X      7     X     X        X                            X            X                               X              X                                   X                X
 1068359-01     A.R.     9/13/2019    2/14/2020            2               X                                                 X          X                         X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1068393-01     N.K.      9/3/2019   12/23/2019            1               X                                  X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1068400-01     D.B.     9/16/2019    4/15/2021            1               X                    X             X              X          X             X           X      2                                                              X                                              X                 X                                  X
 1068411-02     M.M.     9/14/2019    10/7/2020            2               X                    X             X              X          X             X           X     11           X                      X                           X                               X              X                 X                 X                X
 1068411-04     M.R.     9/14/2019    9/21/2020            1               X                    X             X              X          X                         X      2     X                            X              X            X                                              X                 X                 X
 1068433-02     M.O.     9/15/2019   10/23/2019            4               X                    X                            X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1068447-01     O.R.     8/26/2019    2/24/2020            5               X                    X             X              X          X             X           X     15           X                      X                           X               X               X              X                 X                 X                X
 1068447-04     Y.M.     8/26/2019     3/9/2020            4               X                    X             X              X          X                         X      9     X                            X                           X                               X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                                                        DME Devices




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




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                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1068520-02     W.B.     8/30/2019   11/10/2019            1               X                    X             X              X          X                         X      7     X     X        X                            X                                            X              X                 X                 X                X
 1068535-01     S.C.     9/22/2019    1/26/2020            2               X                    X             X              X          X             X           X      4     X     X                      X              X            X               X               X              X                 X                 X                X
 1068535-02     L.J.     9/22/2019    7/23/2021            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1068553-01     R.U.     9/12/2019   12/15/2019            3               X                    X             X              X          X                         X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1068561-02     S.M.     9/21/2019    12/4/2019            5               X                    X             X              X          X                         X     15     X              X             X              X            X               X               X              X                 X                 X                X
 1068562-02     J.C.     9/23/2019   12/21/2019            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1068573-01     R.G.      9/1/2019    12/3/2019            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1068579-01     A.T.      9/3/2019    6/29/2020            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1068617-03     R.R.     8/28/2019   12/30/2019            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X               X               X              X                 X                 X                X
 1068628-01     I.K.     9/24/2019    12/6/2019            1               X                                                 X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1068651-02     D.G.     8/30/2019   10/10/2019            2               X                    X             X              X          X                         X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1068657-01     Y.M.     9/21/2019    1/17/2020            2               X                    X             X              X          X                         X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1068684-02     V.W.     9/19/2019    6/10/2020            2               X                                                 X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1068690-02     M.P.     8/23/2019   12/11/2019            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1068692-01     J.V.     9/24/2019   12/11/2020            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1068692-02     J.P.     9/24/2019    1/12/2021            1               X                    X             X              X          X             X           X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1068739-02     P.J.     9/21/2019   12/13/2019            1               X                    X             X              X          X             X           X     15     X                            X                           X               X               X              X                 X                 X                X
 1068787-02     M.R.     9/11/2019    2/28/2020            1               X                    X             X              X          X             X           X     10     X                                                        X                                              X                 X                 X                X
 1068802-01     E.M.      9/3/2019    7/24/2020            1               X                    X             X              X                        X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1068821-02     R.D.     9/18/2019   12/16/2019            1               X                                                 X          X             X           X      4     X     X                      X              X            X                               X              X                                   X                X
 1068826-03     G.C.      9/8/2019    9/30/2020            1               X                    X             X              X                        X           X      2                                  X                           X               X               X              X                 X                 X                X
 1068831-02     T.H.      9/7/2019   11/15/2019            2               X                    X             X              X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1068902-03     L.B.     9/22/2019   12/13/2019            1               X                    X             X              X          X             X           X     25     X     X        X             X              X            X                               X              X                 X                 X                X
 1068918-01     J.S.     8/29/2019    1/31/2020            3               X                    X                            X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X
 1068950-01     R.Y.     9/11/2019    7/14/2021            2               X                    X                            X          X             X           X     16     X              X             X              X            X                               X              X                 X                 X                X
 1068964-03     T.C.     9/19/2019     3/9/2020            1               X                                  X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1068987-04     T.P.     9/12/2019    1/20/2020            1               X                    X             X              X          X             X           X     13                                                              X                               X              X                 X                 X                X
 1069033-01     J.V.     9/10/2019   11/23/2019            4               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1069073-01     T.F.      9/8/2019   12/12/2019            1               X                                                 X          X                         X      8     X     X        X                            X                                            X              X                 X                 X
 1069104-01     A.C.     8/28/2019    8/17/2020            1               X                                                 X          X                         X      7     X     X                      X              X                                                                                               X
 1069122-01     N.B.     9/15/2019   12/12/2019            1               X                    X             X              X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1069155-02     A.T.     9/25/2019     3/9/2020            1               X                                  X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1069168-01     B.A.     8/28/2019     3/3/2020            3               X                                                 X          X                                0                                                              X               X               X              X                 X                 X                X
 1069176-01     K.T.     9/14/2019   11/24/2020            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1069209-01     J.N.     9/27/2019   12/20/2019            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1069210-02     E.A.     9/19/2019   11/11/2019            1               X                    X             X              X          X             X           X     16     X     X                      X                           X                               X              X                 X                 X                X
 1069250-01     A.Z.     9/10/2019   10/25/2020            1               X                    X             X              X          X                                0                                                                                                             X                 X                 X                X
 1069271-01     S.H.     9/30/2019   10/17/2020            1               X                    X                            X          X                         X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1069272-02     M.M.     9/29/2019   11/22/2019            3               X                                                 X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1069281-02     I.C.     9/20/2019    1/24/2020            3               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1069281-03     R.A.     9/20/2019    2/14/2020            2               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1069391-02     B.M.     9/20/2019   11/18/2020            3                                                                 X                                    X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1069436-01     N.C.     9/29/2019   11/19/2019            4               X                    X             X              X          X             X           X     18     X     X        X                            X                                            X              X                 X                 X                X
 1069497-02     J.E.     9/22/2019    12/1/2019            6               X                    X             X              X          X             X           X      4     X              X             X              X            X               X               X              X                 X                 X                X

                                                                                                                                                46 of 133                                                                                                                                                                             Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




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                                                                                                                                                    EDx Testing




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                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1069522-01     D.C.      9/19/2019    7/24/2020            1               X                    X             X              X          X             X           X     17     X     X                      X              X            X               X               X              X                 X                 X                X
 1069543-01     H.C.      9/28/2019    7/25/2020            3               X                                                 X                                    X      4                                                              X                               X              X                 X                 X                X
 1069551-01     P.T.      9/24/2019   11/21/2019            1               X                    X             X              X          X                         X     12     X     X                                     X            X                               X              X                 X                 X                X
 1069578-01     E.C.      9/21/2019    2/25/2020            1               X                    X             X              X          X             X           X     13     X                            X                                           X               X              X                 X                 X                X
 1069629-01     M.G.      10/3/2019   12/29/2020            1               X                    X             X              X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1069654-01     J.A.      9/29/2019   12/17/2019            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1069676-01      E.I.     9/16/2019    1/23/2020            1               X                    X                            X          X             X           X      9     X     X                      X              X            X               X               X              X                 X                 X                X
 1069707-01     M.T.      9/29/2019    11/5/2019            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1069724-02     W.C.      9/22/2019   12/14/2020            1               X                    X                            X          X                         X      3                                  X              X            X                                              X                 X                 X                X
 1069741-02     P.N.      9/24/2019     3/2/2021            2               X                    X                            X          X             X           X      6     X     X        X             X              X            X               X               X              X                 X                 X                X
 1069762-02     J.S.      9/25/2019    1/29/2020            1               X                    X             X              X          X             X           X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1069791-01     Y.T.      10/2/2019   12/12/2019            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1069802-01     F.A.      10/6/2019   12/20/2019            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1069844-02     J.F.      9/21/2019    3/17/2020            2               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1069847-01     J.B.      9/11/2019   11/11/2019            3               X                    X             X              X          X             X           X     18     X     X        X             X              X            X               X               X              X                 X                 X                X
 1069892-01     D.M.      9/12/2019   12/10/2019            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1069907-01     C.A.      9/17/2019    9/17/2020            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1069930-01     A.G.      9/23/2019   11/24/2019            1               X                    X             X              X          X             X           X      1     X                                           X            X                               X              X                 X                 X                X
 1069940-01     L.M.      9/23/2019    7/16/2020            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1069961-02     D.W.      9/16/2019    12/7/2019            1               X                    X             X              X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1069978-01     A.Y.      9/24/2019   11/27/2019            1               X                    X             X              X          X             X           X      1                                                              X                                              X                 X                 X                X
 1069979-01     T.M.      9/13/2019    1/10/2020            1               X                                  X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1070051-01     E.L.      9/23/2019   12/26/2019            2               X                    X                            X          X             X                  0                                                                              X               X              X                 X                 X                X
 1070117-02     L.A.      9/24/2019    7/24/2023            1               X                                  X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1070193-01     S.K.      10/2/2019     2/8/2020            2               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1070217-01     A.M.      9/25/2019    10/3/2020            4               X                    X                            X                                    X      3                                  X                           X                               X              X                 X                 X                X
 1070230-04     Y.G.      10/1/2019    9/15/2020            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1070233-01     B.R.       9/8/2019     9/4/2020            1               X                    X                            X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X
 1070236-02     D.E.     10/11/2019    2/17/2020            1               X                    X             X              X          X             X           X     15     X                                                        X                               X              X                 X                 X                X
 1070252-01     A.S.      10/5/2019    1/13/2020            3               X                    X             X              X          X             X           X     12                                  X                           X               X               X              X                 X                 X                X
 1070272-01     S.N.     10/11/2019   12/19/2019            2               X                    X             X              X          X                         X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1070366-02     A.R.      9/22/2019    12/5/2019            1               X                    X             X              X          X             X           X     19     X     X                      X              X                                            X              X                 X                 X                X
 1070371-03     S.D.      9/29/2019    7/21/2020            3               X                    X                            X                                    X      1           X                      X                           X               X               X              X                 X                 X                X
 1070386-03     R.T.      9/26/2019    12/3/2019            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1070415-02     W.F.      9/21/2019   12/11/2019            1               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1070415-04     D.G.      9/21/2019   12/11/2019            2               X                    X             X              X          X                         X     25     X     X        X             X              X            X                               X              X                 X                 X                X
 1070422-02     F.P.      9/30/2019     2/3/2020            2               X                    X             X              X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1070437-01     G.G.     10/14/2019    2/22/2020            1               X                    X             X              X          X                         X     11     X     X                      X              X            X                               X              X                 X                 X
 1070439-01     J.C.      10/4/2019     2/6/2020            1               X                    X             X              X                                    X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1070448-01     S.W.      10/8/2019   12/20/2019            2               X                    X             X              X          X             X           X     29     X     X                                     X            X                               X              X                 X                 X                X
 1070459-01     T.P.     10/10/2019   12/23/2019            1               X                                  X              X          X                         X     13     X     X        X             X              X            X                               X              X                 X                 X
 1070461-02     W.R.      9/25/2019   11/20/2019            1               X                    X             X              X          X             X           X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1070461-04     Y.L.      9/25/2019   11/13/2019            1               X                    X             X              X          X             X           X      9     X     X                      X              X            X                               X              X                 X                 X                X
 1070532-01     J.G.     10/12/2019   10/28/2020            1                                                                 X                                    X      5     X     X        X             X              X            X                               X                                X                 X

                                                                                                                                                 47 of 133                                                                                                                                                                             Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




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                                                                                                            Acupuncture




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                                                                                             Chiropractic




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                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1070584-02     H.J.      10/3/2019   12/12/2019            2               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1070584-05     W.R.      10/3/2019   12/20/2019            2               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1070614-01     M.T.     10/16/2019   11/15/2019            3               X                    X             X              X          X             X           X      8                                  X                           X                               X              X                 X                 X                X
 1070614-02     L.M.     10/16/2019   11/15/2019            3               X                    X             X              X          X             X           X      8                                  X                           X                               X              X                 X                 X                X
 1070619-01     C.P.      10/6/2019    9/21/2020            2               X                    X             X              X          X                         X     14     X     X        X             X              X            X                               X              X                 X                 X
 1070641-01     M.P.     10/10/2019    8/11/2020            1               X                    X             X                                       X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1070654-01     E.P.     10/19/2019     8/8/2020            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X
 1070659-01     C.C.     10/18/2019   11/13/2020            1               X                    X             X              X          X                                0                                  X                           X               X               X              X                 X                 X                X
 1070674-01     D.C.      10/7/2019   10/11/2021            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1070746-01     F.E.     10/18/2019    7/28/2020            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1070754-03     R.J.     10/12/2019   12/27/2019            1               X                    X             X              X          X             X           X      7                                  X                           X                               X              X                 X                 X                X
 1070760-01     M.V.     10/13/2019    12/9/2019            3               X                    X             X              X          X             X           X     12     X     X                      X                                                           X              X                 X                 X                X
 1070780-01     J.R.     10/11/2019     9/9/2020            2               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X
 1070782-01     F.L.      10/8/2019     1/3/2020            1               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1070898-01     L.C.     10/11/2019     2/8/2020            3               X                    X             X              X          X             X           X     12                    X             X              X                                            X              X                 X                 X                X
 1071012-02     M.M.      9/29/2019    12/7/2019            1               X                    X             X              X          X                         X      1                                  X                           X                               X              X                 X                 X                X
 1071020-01     D.S.      10/2/2019    10/4/2021            1               X                    X             X              X          X                         X     12     X     X        X                            X            X                                              X                 X                 X                X
 1071025-07     R.L.      9/30/2019    1/22/2020            3               X                    X             X              X          X             X           X     14     X     X                                                                                  X              X                 X                 X                X
 1071034-02     A.B.     10/19/2019    1/14/2020            1               X                                                 X          X                         X      7     X     X        X             X              X            X                               X                                                  X
 1071036-01     D.C.     10/21/2019   12/11/2019            1               X                    X                            X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1071090-05     A.G.     10/27/2019     2/1/2020            4               X                    X             X              X          X             X           X      4     X              X                            X            X                               X              X                 X                 X                X
 1071098-01     W.S.     10/13/2019   12/17/2019            2               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X
 1071168-02     B.N.     10/16/2019     2/4/2020            1               X                    X             X              X          X             X           X     11                                                                              X               X              X                 X                 X                X
 1071187-01     J.S.     10/16/2019   11/26/2019            1               X                    X             X              X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1071218-01     S.R.     10/21/2019     4/1/2021            1               X                    X                            X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1071224-03     N.P.     10/20/2019    1/30/2020            2               X                                                 X                        X                  0                                                              X                               X              X                 X                 X                X
 1071229-03     N.S.      10/1/2019    6/28/2020            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1071231-01     J.Q.     10/20/2019    3/10/2020            2               X                    X             X              X          X             X           X     25     X     X        X             X              X            X               X               X              X                 X                 X                X
 1071243-01     C.N.     10/10/2019    1/28/2021            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1071252-01     R.R.     10/12/2019     2/6/2020            1               X                    X             X              X          X                         X     18     X     X        X             X              X            X               X               X              X                 X                 X                X
 1071252-02     G.R.     10/12/2019   12/19/2019            1               X                    X             X              X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1071352-01     C.L.     10/11/2019    12/5/2019            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1071413-05     R.T.     10/26/2019    9/16/2020            1               X                    X                            X          X             X                  0                                                              X               X                              X                 X                 X                X
 1071434-02     S.V.     10/27/2019    2/24/2020            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1071434-03     H.M.     10/27/2019    2/24/2020            1               X                    X             X              X          X             X           X     11                                                              X                                              X                 X                 X                X
 1071471-01     A.B.     10/22/2019    3/23/2022            1               X                                                 X          X             X           X      4     X     X                                     X            X                               X              X                 X                 X                X
 1071492-01     R.B.     10/24/2019    7/10/2020            1               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1071505-01     G.O.     10/29/2019   10/21/2021            1               X                                                 X          X                                0                                  X              X            X                               X              X                 X                 X                X
 1071508-01     H.N.     10/13/2019    2/19/2020            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1071546-01     A.S.     10/17/2019    1/14/2020            2               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1071556-02     C.V.      9/28/2019     1/8/2020            3               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1071604-02     T.L.     10/11/2019     3/8/2023            1               X                    X             X              X          X                                0                                  X                           X                                              X                 X                 X                X
 1071626-02     S.D.     10/19/2019    1/24/2020            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1071703-04     C.A.     10/16/2019    12/3/2020            3               X                                                 X          X             X           X      5     X     X                                     X            X                               X              X                 X                 X                X

                                                                                                                                                 48 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                       1498
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




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                                                                                             Chiropractic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
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                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1071722-01     L.N.     10/22/2019    12/6/2019            1               X                    X             X              X          X             X           X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1071728-02     S.P.      10/5/2019    10/9/2020            1               X                                                 X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1071739-01      J.J.    10/25/2019    2/13/2020            5               X                    X             X              X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1071748-01     A.H.     10/16/2019    8/18/2020            1               X                    X             X              X                        X           X     19     X     X        X                            X            X                                              X                 X                 X                X
 1071748-05     D.V.     10/16/2019   11/16/2019            1               X                    X             X              X          X             X           X     20     X              X             X              X            X                               X              X                 X                 X                X
 1071748-06     P.C.     10/16/2019   11/16/2019            1               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1071775-01     N.G.      10/2/2019   12/20/2019            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X                                X                 X                X
 1071840-01     A.C.     10/29/2019   12/12/2019            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1071897-02     S.P.     10/27/2019    7/22/2020            2               X                    X             X              X          X             X           X     17     X     X        X                            X            X                               X              X                 X                 X                X
 1071934-01     A.T.     10/22/2019    2/24/2020            1               X                    X             X              X          X             X           X     15           X                      X                           X                               X              X                 X                 X                X
 1071934-02     C.L.     10/22/2019    1/26/2020            2               X                    X             X              X          X             X           X     15     X     X                      X                           X                               X              X                 X                 X                X
 1071934-03     W.P.     10/22/2019     8/9/2020            1               X                    X             X              X          X             X           X     16     X     X                      X                           X                               X              X                 X                 X                X
 1071943-01     S.A.     10/27/2019    6/18/2020            1               X                    X             X              X          X                         X     17     X     X        X                            X            X                               X              X                 X                 X                X
 1071962-01     E.P.     10/25/2019    2/27/2020            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1071988-01     R.C.     10/29/2019   12/12/2020            1               X                                                 X          X             X           X      6     X     X        X                            X            X               X               X              X                 X                 X                X
 1071996-01     M.M.     10/28/2019    3/12/2021            1               X                    X             X              X          X                         X      5           X                                                  X               X               X              X                 X                 X                X
 1072006-01     K.T.     10/18/2019   12/19/2019            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1072024-01     D.E.     10/28/2019    3/16/2020            1               X                    X             X              X          X             X           X     14     X                                                        X                               X              X                 X                 X                X
 1072029-01     X.Z.     10/13/2019     5/5/2021            1               X                                  X              X          X             X           X      4                                  X                                           X               X              X                 X                 X                X
 1072034-03     C.R.      11/1/2019     3/5/2020            1               X                    X             X              X          X             X           X     12     X     X        X             X              X                                            X              X                 X                 X                X
 1072035-01     A.Z.     10/26/2019     2/1/2020            3               X                    X             X              X          X             X           X      7                                                              X                               X              X                 X                 X                X
 1072035-02     O.T.     10/26/2019     2/1/2020            3               X                    X             X              X          X             X           X      7                                                              X                               X              X                 X                                  X
 1072114-01     C.R.      11/3/2019    6/11/2020            2               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1072148-03     R.B.     10/28/2019    9/24/2020            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1072155-02     D.D.     10/31/2019    7/25/2020            2               X                    X             X              X          X             X           X      6     X                            X                           X               X               X              X                 X                 X                X
 1072166-01     K.S.     10/28/2019    1/20/2020            3               X                    X             X              X          X             X           X      7     X                                                        X                               X              X                 X                 X                X
 1072166-02     C.A.     10/28/2019    1/20/2020            3               X                    X             X              X          X             X           X     12     X                                                                                        X              X                 X                 X                X
 1072193-02     J.D.     10/31/2019    2/25/2020            5               X                    X             X              X          X                         X      6     X     X        X                            X            X               X               X              X                 X                 X                X
 1072193-03     F.J.     10/31/2019    1/12/2022            1               X                    X             X              X          X                         X      5           X                      X              X            X                               X              X                 X                 X                X
 1072205-01     J.R.      11/1/2019     1/7/2021            1               X                                                 X                                    X      8     X     X        X                            X            X                               X              X                                   X                X
 1072234-01     S.M.     10/14/2019     7/9/2020            2               X                    X                            X          X             X           X      3     X                            X                           X                               X              X                 X                 X                X
 1072245-01     F.R.     10/30/2019    3/13/2020            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1072249-02     R.R.      10/8/2019     1/9/2020            1               X                    X             X              X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1072249-03     Y.P.      10/8/2019     1/9/2020            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1072272-02     J.P.     10/12/2019    4/13/2021            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1072272-04     T.C.     10/12/2019    5/18/2021            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1072284-01     M.B.     10/16/2019     1/6/2020            1               X                    X             X              X          X             X           X     14     X     X                      X              X            X                               X              X                 X                 X                X
 1072285-05     L.R.     10/24/2019     1/7/2020            1               X                    X             X              X          X             X           X     19     X     X        X             X              X                                            X              X                 X                 X                X
 1072289-01     J.F.      10/6/2019     2/3/2020            2               X                    X             X              X          X                         X     17     X     X        X                            X            X                               X              X                 X                 X                X
 1072318-01     S.F.     10/18/2019    8/10/2020            1               X                    X                            X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1072363-01     R.A.     10/23/2019     2/3/2020            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1072363-02     A.V.     10/23/2019     2/3/2020            1               X                    X             X              X          X             X           X     14                                                              X                               X              X                 X                 X                X
 1072405-01     G.T.      11/1/2019    7/29/2020            4               X                    X             X              X          X             X           X      7     X              X             X              X            X               X               X              X                 X                 X                X
 1072467-08     R.Y.      11/3/2019    3/13/2020            1               X                    X             X              X          X             X           X     11     X     X        X             X              X                                            X              X                 X                 X                X

                                                                                                                                                 49 of 133                                                                                                                                                                             Exhibit 1
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




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                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
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                                                                                             Chiropractic




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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1072479-01     L.S.     10/19/2019    12/6/2019            1               X                    X             X              X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1072528-01     D.C.      11/2/2019     2/4/2020            6               X                    X             X              X          X                         X     26     X     X        X             X              X            X                               X              X                 X                 X                X
 1072550-01     A.B.      11/4/2019    1/30/2020            1               X                    X                            X          X             X           X     11     X     X                                     X            X                               X              X                 X                 X                X
 1072560-02     E.G.      11/5/2019    1/31/2020            1               X                                                 X          X             X           X      3           X                                     X            X                               X              X                 X                 X                X
 1072587-01     L.C.      11/6/2019   12/15/2019            3               X                    X             X              X          X                                0                                                              X                               X              X                 X                 X                X
 1072596-01     A.T.     10/30/2019    2/18/2021            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1072622-01     S.F.     11/10/2019    7/23/2020            1               X                    X             X              X          X                         X     22     X     X        X                            X                                            X              X                 X                 X                X
 1072622-04     T.W.     11/10/2019    2/20/2020            2               X                    X             X              X          X             X           X     26     X     X        X                            X            X                               X              X                 X                 X                X
 1072668-01     A.A.     10/17/2019    7/13/2020            1               X                                                 X          X                         X      7     X     X                      X              X            X                               X                                                  X
 1072677-03     J.R.     10/31/2019    2/25/2020            1               X                    X             X              X          X             X           X      4                                                                              X               X              X                 X                 X                X
 1072761-01     A.M.     11/10/2019   11/23/2020            2               X                    X             X              X          X             X           X     16     X     X                      X                           X                               X              X                 X                 X                X
 1072767-01     G.L.      11/4/2019    2/20/2020            1               X                    X             X              X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1072767-02     D.P.      11/4/2019    1/31/2020            1               X                    X             X              X          X             X           X     28     X     X        X             X              X                                            X              X                 X                 X                X
 1072808-01     H.M.      11/4/2019    8/24/2020            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1072812-03     A.M.      11/2/2019    1/17/2020            1               X                    X             X              X          X             X           X     11     X     X        X             X              X                                            X              X                 X                 X                X
 1072817-02     A.A.      10/7/2019    1/25/2020            2               X                                  X              X          X             X           X     10           X                      X                           X               X               X              X                 X                 X                X
 1072833-01     R.C.      11/7/2019    6/10/2020            1               X                    X             X              X          X             X           X      7     X     X                                     X            X                               X              X                 X                 X                X
 1072847-01     A.G.     10/26/2019    1/17/2020            2               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1072847-02     J.R.     10/26/2019     2/2/2020            1               X                    X             X              X          X             X           X      6     X     X        X                            X                                            X              X                 X                 X                X
 1072847-03     Y.S.     10/26/2019    1/17/2020            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1072941-01     L.M.     10/30/2019   12/17/2019            1               X                    X             X              X          X                         X      6     X     X        X             X              X            X                               X              X                 X                 X
 1072951-01     R.V.      11/3/2019    1/21/2020            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1073072-04     L.S.     10/30/2019    2/25/2020            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X
 1073079-01     F.R.      11/9/2019     2/4/2020            1               X                    X             X              X          X             X           X      8                                                                              X               X              X                 X                 X                X
 1073079-02     J.S.      11/9/2019     2/4/2020            1               X                    X             X              X          X             X           X     12           X        X             X              X            X                               X              X                 X                 X                X
 1073096-01     M.C.      11/2/2019     2/4/2020            2               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1073128-02     M.D.     11/10/2019    5/25/2021            1               X                    X             X              X          X             X           X      9     X     X                      X              X            X                               X              X                 X                 X                X
 1073164-02     R.T.     10/24/2019    4/12/2021            1               X                    X             X              X          X             X           X     17     X     X                      X              X            X                               X              X                 X                 X                X
 1073188-02     S.R.     10/12/2019     6/5/2020            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1073206-01     S.D.     10/28/2019    2/21/2020            2               X                    X             X              X          X             X           X     14                                                              X                               X              X                 X                 X                X
 1073280-01     J.M.      11/8/2019     7/6/2020            1               X                                  X              X          X                         X     13     X     X        X                            X            X                                              X                 X                 X                X
 1073288-01     E.C.      11/2/2019   12/18/2019            2               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1073298-03     J.C.     11/12/2019     3/2/2020            7               X                    X             X              X          X             X           X     13     X                            X                           X               X               X              X                 X                 X                X
 1073333-01     W.M.     11/14/2019    1/21/2020            3               X                                                 X                        X                  0                                                              X               X               X              X                 X                 X                X
 1073359-02     M.C.     10/22/2019   11/27/2019            3               X                    X             X              X          X             X           X      7           X        X             X              X            X                               X              X                 X                 X                X
 1073379-01     M.E.     11/11/2019   12/30/2019            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1073428-01     R.P.     11/13/2019    5/21/2020            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X
 1073428-02     J.S.     11/13/2019    1/16/2020            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1073435-02     L.M.      11/4/2019   12/23/2019            1               X                    X             X              X          X             X           X     10     X     X        X                            X                                            X              X                 X                 X                X
 1073435-03     N.A.      11/4/2019    2/11/2020            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1073437-01     M.G.      11/6/2019   12/30/2019            4               X                    X             X              X          X             X           X     12     X     X                                     X            X                               X              X                 X                 X                X
 1073466-01     A.Q.     10/27/2019     1/4/2021            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1073486-02     E.G.     11/15/2019    1/16/2020            1               X                                                 X          X             X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1073544-01     H.M.      11/3/2019    6/17/2020            1               X                                                 X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X

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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
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                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1073564-01     F.M.     11/12/2019    2/14/2020            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1073565-03     J.L.      11/1/2019   12/27/2019            2               X                    X             X              X          X             X           X     13     X                                                        X                               X              X                 X                 X                X
 1073573-01     J.G.      11/5/2019    11/8/2020            2               X                    X                            X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1073596-01     A.F.      11/1/2019     3/9/2020            1               X                                  X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1073618-01     Z.I.      11/2/2019    4/21/2020            1               X                    X             X              X          X             X           X      2           X                                                  X                               X              X                 X                 X                X
 1073656-01     C.H.      11/5/2019    1/31/2020            3               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1073797-02     M.G.     11/15/2019    1/23/2020            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1073920-01     E.S.     11/15/2019     2/6/2020            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1073943-02     S.R.     10/31/2019     3/5/2020            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1073949-02     J.H.      11/9/2019   12/16/2019            1               X                    X             X              X                        X           X      5     X     X        X             X              X            X                                              X                 X                 X                X
 1074007-01     G.C.     11/16/2019     8/3/2020            2               X                    X             X              X          X                         X      6     X     X        X                            X            X               X               X              X                 X                 X                X
 1074012-01     J.O.     11/19/2019    7/10/2020            4               X                    X             X              X          X             X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1074024-01     F.P.     11/26/2019    2/27/2020            5               X                    X                            X          X                                0                                  X                           X                               X              X                 X                 X                X
 1074054-01     J.T.     10/21/2019    2/29/2020            4               X                    X             X              X          X             X           X      4                                  X                           X                               X              X                 X                 X                X
 1074056-01     K.P.     11/23/2019   11/20/2020            3               X                                                 X          X             X                  0                                                              X               X               X                                X                 X                X
 1074089-01     M.E.     11/30/2019    4/20/2021            1               X                    X                            X                        X                  0                                                              X                               X              X                 X                 X                X
 1074099-04     E.K.     11/11/2019    1/30/2020            2               X                    X             X              X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1074118-01     O.P.     11/26/2019    1/26/2020            3               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1074126-02     S.R.     11/19/2019     9/9/2020            1               X                    X             X              X          X                         X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
 1074133-02     W.R.     11/21/2019    2/10/2020            5               X                    X             X              X          X             X           X     19     X     X        X             X              X            X               X               X              X                 X                 X                X
 1074134-03     M.F.      12/1/2019     3/5/2020            2               X                                                 X          X             X           X      4     X     X                                     X            X                               X              X                 X                 X                X
 1074147-01     J.B.      12/1/2019     9/2/2020            4               X                    X                            X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1074156-01     F.Z.     11/19/2019    11/5/2020            1               X                    X             X              X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1074190-05     K.M.     10/31/2019    1/19/2021            2               X                                                 X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1074240-01     J.H.     11/13/2019    7/28/2020            1               X                    X             X              X          X             X           X     26     X     X                      X                           X                                              X                 X                 X                X
 1074329-02     S.R.     11/14/2019    6/30/2020            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1074360-04     T.B.     11/24/2019    1/27/2020            3               X                    X                            X          X             X           X     15           X        X             X              X            X               X               X              X                 X                 X                X
 1074387-01     A.C.      12/2/2019    1/22/2021            1               X                                                 X          X                         X      5     X     X                                     X            X                               X              X                 X                 X
 1074396-02     J.E.     11/18/2019    2/28/2020            3               X                    X                            X          X                         X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1074475-04     G.A.     11/19/2019    5/27/2021            1               X                    X             X              X          X                         X     10     X     X        X             X              X            X                                              X                 X                 X                X
 1074515-01     E.F.     11/27/2019     3/2/2020            1               X                                                 X          X             X           X      3                    X             X              X            X                               X              X                 X                 X                X
 1074537-01     H.D.      12/2/2019   12/21/2020            1               X                    X             X              X                        X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1074583-01     M.M.     11/23/2019    2/10/2020            3               X                    X             X              X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1074583-02     Y.T.     11/23/2019     2/4/2020            4               X                                  X              X          X                         X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1074585-01     C.D.     11/25/2019    11/8/2020            3               X                    X                            X          X             X           X     22     X     X        X             X              X            X               X               X              X                 X                 X                X
 1074602-03     G.L.     11/22/2019    8/19/2020            2               X                    X             X              X          X             X           X     19     X     X        X             X              X            X               X               X              X                 X                 X                X
 1074602-05     C.S.     11/22/2019     6/3/2020            2               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1074617-01     I.H.     11/13/2019    11/9/2020            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1074668-03     W.G.     11/19/2019    3/12/2020            2               X                    X             X              X          X                         X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1074670-01     A.F.     11/19/2019    2/22/2020            4               X                    X             X              X          X             X           X      3           X                                                  X               X               X              X                 X                 X                X
 1074670-03     E.E.     11/19/2019    7/17/2020            4               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1074670-04     F.L.     11/19/2019    8/16/2020            4               X                    X             X              X          X                                0                                                              X               X               X              X                 X                 X                X
 1074691-01     A.H.      12/4/2019     1/3/2022            1               X                    X             X              X          X             X           X     11                                  X                           X               X               X              X                 X                 X                X
 1074729-02     K.B.      12/9/2019    6/25/2020            1               X                                                 X          X             X           X      6     X     X                                     X            X                               X              X                 X                 X                X

                                                                                                                                                 51 of 133                                                                                                                                                                             Exhibit 1
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




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                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




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                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1074784-02     B.G.     10/16/2019    2/12/2020            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1074812-01     D.L.     11/21/2019     3/7/2020            1               X                    X             X              X          X             X           X      1                                                              X               X               X              X                 X                 X                X
 1074827-01     T.R.      12/8/2019   11/17/2020            1               X                    X             X              X          X             X           X      7           X        X             X              X            X                               X              X                 X                 X                X
 1074828-01     S.B.      12/4/2019    3/19/2020            1               X                    X             X              X          X                                0                                                 X                                                           X                 X                 X                X
 1074839-02     N.J.     11/26/2019    1/14/2020            3               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1074847-01     K.H.     11/21/2019   10/21/2020            1               X                                  X              X          X                         X     12                                  X                           X                               X              X                 X                 X                X
 1074887-01      J.J.     12/8/2019    1/13/2020            3               X                    X             X              X          X             X           X     12                                  X                           X               X               X              X                 X                 X                X
 1074889-01     J.B.      12/1/2019    6/28/2020            1               X                    X                            X          X                                0                                                              X               X               X              X                 X                                  X
 1074963-01     M.Q.      12/8/2019     3/3/2020            1               X                    X                            X          X                         X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1075017-01     D.R.     11/21/2019   10/21/2020            1               X                    X             X              X          X             X           X      6     X     X                      X                                           X               X              X                 X                 X                X
 1075080-02     M.S.     11/25/2019     3/1/2020            2               X                    X             X              X          X             X           X      3           X                                                                                  X              X                 X                 X                X
 1075095-02     K.V.      12/2/2019    2/21/2020            1               X                                                 X          X                         X      6     X     X                                     X            X                               X                                                  X
 1075115-01     Y.A.     11/24/2019    2/14/2020            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1075169-01     M.G.     11/27/2019    9/15/2020            4               X                    X             X              X          X             X           X     12     X              X             X              X            X               X               X              X                 X                 X                X
 1075205-01     E.B.      12/2/2019    3/10/2020            1               X                    X                            X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X
 1075205-05     J.F.      12/2/2019    2/21/2020            3               X                    X             X              X          X             X           X     13                                  X                           X                               X              X                 X                 X                X
 1075227-01     F.L.     11/20/2019    8/26/2020            1               X                                                 X                                    X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1075235-02     O.G.      12/8/2019   12/21/2020            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1075251-01     R.R.     11/21/2019     2/6/2020            1               X                    X             X              X          X             X           X      6     X     X                                     X            X                               X              X                 X                 X                X
 1075278-01     J.B.     11/22/2019    3/19/2020            1               X                    X             X              X          X             X           X     11                                                              X                               X              X                 X                 X                X
 1075278-02     M.L.     11/22/2019    2/20/2020            3               X                    X             X              X          X             X           X     11                                                              X               X               X              X                 X                 X                X
 1075302-02     R.W.     11/19/2019     8/6/2020            1               X                    X             X              X          X                         X     11     X     X                                     X            X                               X              X                 X                 X
 1075302-04     M.Y.     11/19/2019    8/27/2020            1               X                                                 X          X                         X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1075362-02     D.P.     11/18/2019    4/15/2021            1               X                                                 X          X                         X      7     X     X        X                            X            X                               X                                                  X
 1075385-02     H.J.     11/22/2019    3/16/2020            1               X                                  X              X          X             X           X     14     X     X                      X              X            X                               X              X                 X                 X                X
 1075389-01     V.L.     12/16/2019    9/30/2020            1               X                    X             X              X          X                         X      7           X        X             X              X            X               X               X              X                 X                 X                X
 1075442-04     D.M.     12/15/2019    1/28/2020            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1075461-02     S.T.     11/27/2019    11/5/2020            3               X                                  X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1075465-03     C.C.     12/20/2019    3/12/2021            2               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1075467-02      T.I.    12/12/2019    6/23/2020            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1075504-03     M.P.     12/14/2019   12/21/2020            1               X                    X             X              X          X             X           X     10           X        X             X              X            X                               X              X                 X                 X                X
 1075534-01     S.M.      12/4/2019     3/8/2020            2               X                    X             X              X          X             X           X     12                                                              X                               X              X                 X                 X                X
 1075576-01     B.A.     11/25/2019    8/10/2020            1               X                    X                            X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1075589-01     G.N.     11/28/2019    6/26/2020            2               X                                  X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1075624-01     J.G.     12/10/2019    2/24/2020            2               X                    X             X              X          X                         X      7                                                 X            X                               X              X                 X                 X                X
 1075638-01     J.C.     12/10/2019    3/18/2020            1               X                    X             X              X          X             X           X     17     X     X                      X              X            X                                              X                 X                 X                X
 1075647-01     M.K.     12/12/2019    6/19/2020            1               X                    X             X              X          X             X           X     18     X     X                      X              X            X                               X              X                 X                 X                X
 1075744-01     M.C.     12/11/2019     2/3/2020            6               X                    X             X              X          X             X           X      7           X        X             X              X            X               X               X              X                 X                 X                X
 1075753-02     N.G.     12/21/2019    3/12/2020            2               X                                                 X          X                         X      7     X     X        X             X              X            X                               X                                                  X
 1075848-02     S.L.     12/17/2019     8/5/2020            1               X                                                 X          X             X           X      6     X              X                            X            X                               X              X                 X                 X                X
 1075951-02     S.T.     12/19/2019    7/13/2021            1               X                                                 X          X                         X      5     X     X                      X              X            X                               X              X                 X                 X
 1075959-01     G.N.     12/25/2019    7/12/2020            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1075967-01     L.C.     12/25/2019   11/11/2020            1               X                                                 X          X                         X      5     X     X                      X              X            X                               X                                X                 X
 1075967-02     J.L.     12/25/2019    6/26/2020            1               X                                                 X          X                         X      5     X     X                                     X            X                                                                                  X

                                                                                                                                                 52 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                       1502
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




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                                                                                                                                                    EDx Testing




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                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1075977-01     H.M.     12/18/2019    3/19/2020            1               X                                                 X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1075988-01     C.H.     12/19/2019    7/16/2021            1               X                                  X              X                        X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1076059-01     L.L.     12/16/2019    3/19/2020            1               X                    X             X              X          X                         X     15     X                            X                           X                                              X                 X                 X                X
 1076082-01     V.C.     12/18/2019    2/10/2020            5               X                    X             X              X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X
 1076103-02     R.A.      12/3/2019    2/10/2020            3               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1076127-03     C.P.     12/13/2019   10/12/2020            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1076137-01     N.H.      12/5/2019    2/24/2020            2               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1076144-02     A.G.     12/19/2019    2/10/2020            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1076159-02     E.Y.     12/31/2019     3/6/2020            1                                                  X              X          X             X           X     10     X     X        X                            X                                            X              X                 X                 X                X
 1076190-01     M.M.     11/30/2019    6/12/2020            1               X                                                 X          X             X           X      2                                  X                           X               X               X              X                 X                                  X
 1076202-01     S.P.     12/18/2019    7/10/2020            1               X                                                 X          X             X           X      7           X        X             X              X                                            X              X                 X                 X                X
 1076207-02     J.G.     10/22/2019    2/24/2020            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                                              X                 X                 X
 1076224-04     L.A.     12/25/2019     4/2/2021            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1076256-02     G.M.     12/27/2019    9/16/2020            1               X                    X             X              X          X                         X     13                                                              X                               X              X                 X                 X                X
 1076261-01     R.A.      12/9/2019     3/9/2020            1               X                    X             X              X          X             X           X      8           X        X             X              X            X                               X              X                 X                 X                X
 1076314-01     P.A.      12/7/2019    9/12/2021            1               X                                                 X          X                         X      8     X              X             X              X            X                               X              X                 X                 X                X
 1076330-01     A.S.       1/2/2020    2/22/2020            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X               X               X              X                 X                 X                X
 1076356-01     W.P.     12/12/2019     7/6/2020            2               X                    X             X              X          X             X           X      9     X              X             X              X            X                               X              X                 X                 X                X
 1076376-01     W.Z.     11/28/2019    7/31/2020            1               X                                  X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1076407-02     F.N.       1/6/2020    2/25/2020            2               X                                  X              X          X             X           X     13     X     X        X             X              X            X               X               X              X                 X                 X                X
 1076461-90     G.D.      10/4/2019    7/13/2020            2                                                                 X                                           0                                                              X               X                              X                 X                                  X
 1076472-01     C.S.     12/29/2019     3/3/2020            2               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1076483-01     T.L.       1/1/2020     7/9/2020            1               X                                                 X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1076505-01     D.E.       1/2/2020    8/14/2020            2               X                                                 X          X             X           X      6           X                                                  X               X               X              X                 X                 X                X
 1076533-01     M.L.     12/16/2019     3/5/2020            1               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1076533-03     K.V.     12/16/2019     2/6/2020            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1076568-02     Y.R.     12/20/2019     3/6/2020            3               X                                                 X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X
 1076603-02     A.J.     12/15/2019   12/21/2020            1               X                    X             X              X          X             X           X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1076659-01     J.W.     12/26/2019    11/9/2020            1               X                    X             X              X          X             X           X     21     X     X                      X                           X               X               X              X                 X                                  X
 1076709-01     M.H.       1/3/2020    6/11/2020            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1076709-02     M.K.       1/3/2020    8/31/2021            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1076771-01     M.S.       1/4/2020    6/24/2021            1               X                                                 X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1076831-03     H.N.     12/28/2019   11/25/2020            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                                              X                 X                 X                X
 1076868-01     K.B.       1/1/2020     9/2/2020            4               X                    X                            X          X             X                  0                                  X                           X                               X              X                 X                                  X
 1076910-02      J.J.      1/1/2020     2/4/2020            1               X                    X                            X                                    X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1076942-02     O.L.     12/20/2019     3/9/2020            1               X                    X             X              X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1076942-04     M.R.     12/20/2019     2/4/2020            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X
 1076992-02     J.C.     12/21/2019     6/8/2021            1               X                                                 X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X
 1076996-01     S.S.     12/23/2019    8/10/2020            1               X                    X                            X          X             X           X      7     X     X                                     X            X                               X              X                 X                 X                X
 1077089-01     D.H.     12/12/2019    6/27/2020            2               X                    X             X              X          X             X           X      8           X                      X                           X                               X              X                 X                                  X
 1077091-02     D.I.      12/7/2019    7/20/2020            1               X                                  X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1077130-01     P.G.     12/27/2019   12/29/2020            2               X                    X             X              X          X             X           X     23     X     X        X                            X            X                               X              X                 X                 X                X
 1077130-02     S.R.     12/27/2019    2/22/2020            3               X                    X             X              X          X             X           X     23     X     X        X                            X            X                               X              X                 X                 X                X
 1077130-03     A.C.     12/27/2019    2/22/2020            1               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X

                                                                                                                                                 53 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                       1503
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




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                                                                                                                                       Any MRI




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               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1077130-05     L.T.     12/27/2019    2/22/2020            1               X                    X             X              X          X             X           X     13     X     X                                     X            X                               X              X                 X                 X                X
 1077147-01     K.H.     12/31/2019    8/24/2020            3               X                    X             X              X          X                         X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1077182-02     S.J.       1/4/2020    6/13/2020            1               X                                                 X          X                         X      8     X     X                      X              X            X                               X              X                 X                 X
 1077196-02     C.H.     12/15/2019    3/20/2020            1               X                                  X              X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1077260-01     J.E.     12/14/2019    5/15/2020            1               X                    X             X              X          X                         X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1077273-01     E.L.       1/2/2020    7/27/2020            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1077323-01     G.V.       1/3/2020     4/1/2021            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1077344-01     E.P.     12/28/2019    6/18/2020            1               X                    X             X              X          X                         X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1077389-02     S.J.     12/30/2019     2/4/2020            2               X                    X             X              X                                    X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1077430-01     G.H.       1/5/2020     4/2/2021            3               X                    X             X              X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1077464-03     D.L.     12/19/2019    2/10/2020            3               X                    X             X              X          X                         X      9                                  X                                                           X              X                 X                 X                X
 1077477-02     G.M.     12/16/2019     1/7/2021            1               X                    X             X              X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1077491-01     J.C.       1/8/2020     4/3/2021            1               X                    X             X              X          X                         X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1077506-01     J.M.     12/14/2019   11/23/2020            1               X                    X                            X          X                         X     10           X                      X                           X               X                              X                 X                 X                X
 1077548-01     J.P.      1/10/2020    5/28/2020            2               X                    X             X              X          X                         X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1077604-02     M.B.      1/10/2020    8/22/2020            6               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1077685-01     A.B.     12/18/2019    3/15/2021            1               X                    X             X              X          X             X           X      3     X     X                                     X            X                               X              X                 X                 X                X
 1077707-01     K.F.     12/28/2019    3/17/2020            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X               X               X              X                 X                 X                X
 1077707-02     S.W.     12/28/2019    11/3/2020            1               X                    X             X              X          X             X           X     17           X        X             X              X            X                               X              X                 X                 X                X
 1077750-02     D.W.     12/31/2019     6/4/2020            1               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1077769-02     J.C.      1/15/2020    8/15/2020            2               X                    X             X              X          X                         X      2                                                              X                               X              X                 X                 X                X
 1077797-01     J.C.       1/1/2020    2/11/2020            2               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1077803-02     J.A.       1/6/2020    2/11/2020            1               X                    X             X              X          X             X           X     23     X     X        X                            X                                            X              X                 X                 X                X
 1077803-03     E.M.       1/6/2020    2/18/2020            1               X                    X             X              X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1077803-04     V.J.       1/6/2020     3/5/2020            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1077831-01     M.N.     12/29/2019     2/2/2021            2               X                                  X              X                                    X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1077834-02     J.G.      1/17/2020    7/24/2020            2               X                    X             X              X          X                         X      8     X     X                      X              X            X               X               X              X                 X                 X                X
 1077843-02     T.D.      1/14/2020   11/11/2020            1               X                    X             X              X          X             X           X      7           X        X             X              X            X                               X              X                 X                 X                X
 1077854-01     A.P.     12/30/2019     8/1/2020            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1077876-01     L.A.      1/12/2020    6/27/2020            1               X                    X             X              X          X             X           X      1           X                                                  X                               X              X                 X                 X                X
 1077876-03     F.T.      1/12/2020    9/19/2020            3               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1077879-01     R.P.     12/19/2019    10/5/2020            1               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1077890-02     F.M.     12/30/2019     3/2/2020            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1077926-02     C.R.     12/23/2019    3/10/2021            1               X                                  X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1077927-02     S.W.     12/20/2019     7/3/2020            2               X                                                 X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1077937-01     A.G.     12/18/2019   10/29/2021            1               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1077944-01     C.C.      1/16/2020    11/6/2020            2               X                    X             X              X          X             X           X      4     X     X                      X                           X               X               X              X                 X                 X                X
 1077947-08     B.D.      1/11/2020    2/15/2021            1               X                    X             X              X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1077973-02     K.C.     12/20/2019    2/25/2020            1                                                                 X                                    X      6     X     X        X             X              X            X                               X                                                  X
 1078022-02     J.R.      1/10/2020    7/22/2020            1               X                    X             X              X          X             X           X     14           X                      X                           X                               X              X                 X                 X                X
 1078054-01     F.C.     12/27/2019     2/6/2020            3               X                                  X              X          X                         X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1078077-02     M.B.      1/13/2020    6/10/2020            1               X                                                 X          X             X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1078111-01     F.P.      1/13/2020    3/17/2020            2               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X                                X                 X
 1078121-01     S.A.      1/16/2020    5/30/2020            2               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X

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                                                                                                                       1504
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
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                                                                                                                                                                         DME Devices




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
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                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1078147-03     Z.C.     12/13/2019    9/18/2020            1               X                    X             X              X          X                         X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1078149-02     T.B.      12/1/2019    2/18/2020            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1078167-01     M.S.       1/9/2020    7/11/2020            3               X                    X             X              X          X             X           X     20     X     X                      X                           X               X               X              X                 X                 X                X
 1078167-02     W.M.       1/9/2020    7/11/2020            3               X                    X                            X          X             X           X     18     X                                                        X                               X              X                 X                 X                X
 1078194-01     E.G.     12/25/2019    2/20/2020            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X               X               X              X                 X                 X                X
 1078211-02     T.M.      1/11/2020    2/24/2020            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1078217-01     M.C.       1/7/2020    7/15/2020            3               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1078223-03     J.R.       1/8/2020    8/25/2020            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1078240-01     A.V.     12/26/2019     1/4/2021            1               X                    X             X              X          X             X           X      7     X              X                            X            X                               X              X                 X                 X                X
 1078278-02     D.M.       1/8/2020    8/25/2020            1               X                    X             X              X          X             X           X     16           X        X                            X            X                               X              X                 X                 X                X
 1078279-03     J.F.      1/20/2020    7/26/2020            3               X                    X             X              X          X             X           X     19     X                                           X            X                               X              X                 X                 X                X
 1078280-02     A.R.       1/6/2020     9/9/2020            1               X                    X             X              X          X             X           X     19     X     X                      X              X            X                               X              X                 X                 X                X
 1078303-01     C.S.      1/10/2020   12/10/2020            3               X                    X             X              X          X             X           X     16     X     X        X             X              X            X               X               X              X                 X                 X                X
 1078303-02     N.S.      1/10/2020    12/3/2020            4               X                    X             X              X                        X           X     15     X     X        X             X              X            X               X               X              X                 X                 X                X
 1078316-03     N.L.      1/11/2020    2/29/2020            1               X                    X             X              X          X             X           X      8                                  X                           X                               X              X                 X                 X                X
 1078345-01     J.C.     10/25/2019    3/20/2020            1               X                    X                            X          X                         X      6     X     X                                     X            X                               X                                X                 X                X
 1078351-01     N.P.      1/18/2020    11/3/2020            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1078425-02     B.A.     12/27/2019    8/25/2020            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1078425-03     Y.J.     12/27/2019    8/25/2020            2               X                    X             X              X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1078446-03     R.L.      1/13/2020    3/19/2020            3               X                    X             X              X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1078471-02     K.R.      1/16/2020     3/4/2020            1               X                    X             X              X          X             X           X     12                                  X                                                           X              X                 X                 X                X
 1078474-01     J.M.     12/31/2019    7/26/2020            2               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1078504-04     G.S.      1/13/2020   11/13/2020            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1078659-02     S.S.      1/21/2020    12/7/2020            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                                              X                 X                 X                X
 1078661-01     S.J.      1/23/2020   11/16/2020            2               X                                                 X          X             X           X     10     X              X             X              X            X                               X              X                 X                 X                X
 1078716-01     M.J.     12/25/2019     3/3/2020            2               X                    X             X              X          X                         X      5           X                                                  X               X               X              X                 X                 X                X
 1078735-02     M.Q.      1/17/2020   12/21/2020            1               X                    X                            X          X             X           X      8     X     X                      X                           X                               X              X                 X                 X                X
 1078748-02     G.C.       1/4/2020    6/15/2020            1               X                    X             X              X          X                         X      8           X                                     X            X                               X              X                 X                 X                X
 1078774-01     R.A.      1/19/2020    7/16/2020            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1078805-01     S.M.      1/22/2020    7/27/2020            1               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1078903-05     S.F.      1/19/2020   11/19/2020            1               X                    X             X              X          X             X           X      7                                  X                           X               X               X              X                 X                 X                X
 1078942-02     K.B.      1/14/2020    7/23/2020            1               X                    X             X              X          X             X           X     15     X     X                      X              X            X                               X              X                 X                 X                X
 1078956-01     P.P.      1/22/2020    6/23/2020            2               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X
 1078960-01     R.C.       2/2/2020    11/2/2020            1               X                                  X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1078970-01     R.R.      1/11/2020    6/23/2020            3               X                    X             X              X          X             X           X      8     X                                                        X               X               X              X                 X                 X                X
 1079031-01     B.S.      1/21/2020   10/13/2020            1               X                    X             X              X          X                         X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1079065-02     H.L.       1/6/2020    7/20/2020            1               X                                  X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1079111-01     X.H.      1/26/2020    7/21/2021            2               X                    X             X              X          X                         X      4           X                      X                           X               X               X              X                 X                 X                X
 1079116-02     T.K.      1/13/2020    2/21/2020            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1079198-02     A.S.      1/26/2020     7/2/2020            1               X                    X             X              X          X             X           X      6     X     X                      X              X            X               X               X              X                 X                 X                X
 1079202-01     O.F.       2/3/2020    8/11/2021            1               X                    X                            X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1079259-04     E.G.      1/15/2020    9/12/2020            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1079345-01     L.W.      1/30/2020    8/12/2020            1               X                    X             X              X          X                         X      7           X                      X                                           X               X              X                 X                                  X
 1079345-02     T.W.      1/30/2020    8/19/2020            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X

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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                                                        DME Devices




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




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               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1079346-01     N.D.     1/18/2020    8/17/2020            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1079377-02     M.C.      1/5/2020    5/12/2021            1               X                                                 X          X             X           X      5           X                      X              X            X               X               X              X                 X                 X                X
 1079490-02     D.A.      2/1/2020     9/1/2020            1               X                    X                            X          X                         X      7           X        X             X              X            X                                              X                 X                 X                X
 1079526-02     C.G.     1/20/2020    7/13/2020            1               X                                                 X          X             X           X      7     X     X        X             X              X            X                               X                                X                 X                X
 1079550-02     A.B.      2/1/2020    7/17/2020            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1079579-02     P.C.      2/2/2020    5/21/2020            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1079603-01     G.D.     1/10/2020    7/13/2020            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1079614-02     I.K.     2/17/2020    7/18/2022            1               X                    X             X              X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1079644-01     A.K.     1/20/2020    7/17/2020            1               X                    X             X              X          X                         X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1079659-02     S.T.      2/8/2020   10/15/2020            1               X                    X             X              X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1079681-01     S.F.     1/30/2020    7/15/2020            2               X                    X             X              X          X             X           X     18     X     X        X             X              X            X               X               X              X                 X                 X                X
 1079736-01     R.M.      2/7/2020    1/18/2021            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1079762-02     K.I.      2/7/2020    8/13/2020            1               X                    X             X              X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X
 1079830-01     J.C.      2/8/2020   12/21/2020            1               X                                                 X          X             X                  0                                                              X               X               X                                X                 X                X
 1079840-01     X.E.     2/11/2020    5/31/2020            5               X                    X             X              X          X             X           X     14     X     X        X             X              X            X               X               X              X                 X                 X                X
 1079840-02     E.G.     2/11/2020    5/31/2020            7               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1079877-02     S.A.     2/10/2020    12/8/2020            2               X                                                 X          X                         X      7           X        X                            X            X               X               X              X                 X                 X                X
 1079924-02     F.M.     1/30/2020    5/21/2020            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1079928-02     J.R.     2/10/2020    7/27/2020            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1079949-02     J.W.     1/26/2020    6/12/2020            5               X                    X             X              X          X             X           X     15     X     X        X             X              X            X               X               X              X                 X                 X                X
 1079956-01     K.H.      2/2/2020    12/5/2020            3               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1079956-02     F.H.      2/2/2020    1/16/2021            2               X                    X             X              X          X                         X      6                                  X                           X                               X              X                 X                 X                X
 1079973-02     K.P.      2/7/2020    7/29/2020            1               X                                                 X          X                         X      9     X     X        X                            X                                            X                                X                 X
 1079977-01     J.T.      2/8/2020   12/16/2022            1               X                    X             X              X          X                         X     10     X     X                                     X            X                                              X                 X                 X                X
 1080007-01     M.S.      2/1/2020    8/13/2020            3               X                    X             X              X          X             X           X      8                                                              X               X               X              X                 X                 X                X
 1080045-02     B.R.      2/3/2020     3/9/2021            1               X                    X             X              X          X             X           X     15           X        X             X              X            X                               X              X                 X                 X                X
 1080090-02     D.H.     2/16/2020    11/3/2020            2               X                    X             X              X          X             X           X     13     X     X        X             X              X            X               X               X              X                 X                 X                X
 1080134-01     R.B.     2/15/2020    9/10/2020            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1080201-01     H.N.      2/7/2020    9/12/2020            1               X                    X             X              X          X                         X      5     X     X                      X              X            X                               X              X                 X                 X
 1080213-01     S.S.     2/16/2020   12/23/2020            1               X                                  X              X          X             X           X      3     X     X                                                  X                               X              X                                   X
 1080232-02     P.L.     2/24/2020   10/31/2020            9               X                    X                            X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1080294-02     C.A.     2/10/2020    11/6/2020            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1080308-02     B.J.      2/4/2020    7/26/2021            1               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1080345-01     M.V.     2/20/2020    6/19/2020            1               X                    X             X              X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1080376-01     E.C.     1/26/2020     4/2/2021            1               X                    X             X              X          X             X           X      7           X                      X                           X               X               X              X                 X                 X                X
 1080472-02     R.F.      2/6/2020    2/20/2021            1               X                    X                            X                        X           X      2                                                              X               X                              X                 X                 X                X
 1080494-02     Y.B.     2/16/2020   11/13/2020            1               X                                                 X          X                         X      5           X                                     X                                            X              X                 X                 X                X
 1080505-01     C.V.     2/13/2020     8/1/2020            7               X                    X             X              X          X             X           X      3           X                                     X            X                               X              X                 X                 X                X
 1080522-01     J.H.     2/10/2020    6/25/2020            2               X                                                 X          X                         X     11     X     X        X             X              X            X                               X                                                  X
 1080605-01     M.E.     2/18/2020    6/12/2020            3               X                    X             X              X          X             X           X     11                                  X                           X                               X              X                 X                 X                X
 1080613-04     A.L.      2/6/2020    1/20/2021            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1080615-03     L.B.      2/1/2020     8/4/2020            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1080634-03     K.Y.     2/15/2020   10/27/2020            1               X                                                 X          X                         X      6     X     X        X             X              X                                            X                                                  X
 1080651-01     I.A.      2/9/2020    2/14/2022            6               X                    X             X              X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X

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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
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                                                                                                                                                                        DME Devices




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                                                                                                           Acupuncture




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                                                                                            Chiropractic




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                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1080653-02     J.L.     2/24/2020   11/11/2020            1               X                    X             X              X          X             X           X      2                                                              X                                              X                 X                 X                X
 1080684-01     M.R.      2/8/2020    11/2/2021            1               X                                                 X          X                         X      6     X     X        X                            X            X                               X                                X                 X
 1080709-02     R.H.      2/6/2020   10/20/2020            1               X                    X             X              X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X
 1080826-02     C.M.     2/13/2020    9/18/2020            1               X                    X             X              X          X             X           X      2                                  X              X            X                               X              X                 X                 X                X
 1080858-01     J.C.     2/12/2020     7/1/2020            3               X                    X                            X          X                         X      8                                  X                           X                               X              X                 X                 X                X
 1080858-02     M.C.     2/12/2020     7/1/2020            3               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1080858-03     R.O.     2/12/2020    6/18/2020            3               X                    X             X              X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1080885-02     W.R.     2/13/2020    6/17/2020            3               X                    X             X              X          X             X           X     15     X     X                      X              X            X               X               X              X                 X                 X                X
 1080904-01     S.E.     2/10/2020    7/17/2020            2               X                    X             X              X          X             X           X     13     X     X        X             X              X            X               X               X              X                 X                 X                X
 1081015-01     L.C.     2/19/2020     9/9/2020            1               X                    X                            X          X             X           X      3           X                                                                                  X              X                 X                 X                X
 1081015-03     J.R.     2/19/2020    8/16/2020            1               X                    X             X              X          X             X           X     19           X        X             X              X            X                               X              X                 X                 X                X
 1081034-02     J.A.     2/24/2020   12/12/2020            1               X                                                 X          X             X                  0                                  X                           X                               X              X                 X                                  X
 1081041-01     L.D.     2/20/2020   11/19/2020            4               X                                                 X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1081078-01     S.S.     2/23/2020     6/8/2020            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X               X               X              X                 X                 X                X
 1081185-01     F.M.     2/27/2020    5/21/2020            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1081185-02     A.H.     2/27/2020    5/21/2020            1               X                    X             X              X          X                         X     13     X     X        X                            X            X                               X              X                 X                 X
 1081197-01     O.P.      3/2/2020    7/21/2020            2               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1081277-01     R.V.     2/28/2020   10/20/2020            1               X                    X             X              X          X             X           X      5     X                            X              X            X                               X              X                 X                 X                X
 1081318-01     K.H.     2/29/2020    7/10/2020            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1081318-03     J.G.     2/29/2020    5/28/2020            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1081345-02     G.M.     2/17/2020    3/18/2021            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1081345-03     H.M.     2/17/2020    3/18/2021            1               X                    X             X              X          X             X           X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1081356-04     J.A.     2/22/2020    8/25/2020            2               X                    X                            X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X
 1081431-01     A.C.      3/4/2020   10/20/2020            1               X                    X             X              X          X                                0                                                              X                               X              X                 X                 X                X
 1081431-02     J.R.      3/4/2020    6/18/2021            1               X                                                 X          X                         X      4           X                                     X            X                               X              X                 X                 X
 1081436-01     V.C.     2/28/2020    3/27/2021            2               X                    X             X              X          X             X           X      4                                                              X                               X              X                 X                 X                X
 1081462-01     A.C.      3/6/2020    8/10/2020            1               X                    X                            X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X
 1081542-02     D.N.      3/7/2020    6/18/2020            1               X                    X             X              X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1081542-03     Y.C.      3/7/2020    6/11/2020            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1081591-01     M.A.     2/13/2020   11/11/2021            1               X                    X             X              X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1081601-01     V.M.      3/7/2020   11/24/2020            1               X                                                 X          X                         X      5           X        X                            X                                            X                                X                 X
 1081617-02     S.B.     2/26/2020    6/12/2020            1               X                                                 X          X                         X      5           X                                     X                                            X              X                 X                 X
 1081628-01     A.G.     2/22/2020     6/2/2020            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1081634-02     S.M.     2/11/2020    9/10/2020            4               X                                                 X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1081687-02     G.W.     2/27/2020   10/26/2020            1               X                                  X              X          X             X           X     11     X     X                      X              X            X               X               X              X                 X                 X                X
 1081755-02     T.T.      3/7/2020    1/29/2021            1               X                                                 X          X             X           X      5           X                                     X                                                           X                 X                 X                X
 1081792-01     F.L.     3/11/2020    2/23/2021            3               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1081815-02     J.R.      3/3/2020     8/7/2020            1               X                    X             X              X          X             X           X      6           X                                     X            X                               X              X                 X                 X                X
 1081815-04     O.E.      3/3/2020    8/20/2020            1               X                    X             X              X          X             X           X      5           X                                     X            X                               X              X                 X                 X                X
 1081815-05     M.A.      3/3/2020    8/27/2020            1               X                    X             X              X          X             X           X      5           X                                     X            X                               X              X                 X                 X                X
 1081860-01     R.R.     2/26/2020    7/21/2020            1               X                    X                            X          X             X           X      7           X        X             X              X            X                               X              X                 X                 X
 1081889-01     L.Z.     2/20/2020    7/14/2020            1               X                    X             X              X          X             X           X      4                    X                                         X               X                              X                 X                 X                X
 1081889-02     A.T.     2/20/2020    7/21/2020            1               X                    X             X              X          X             X           X      2                                                              X               X               X              X                 X                 X                X
 1081889-03     L.Z.     2/20/2020    7/16/2020            2               X                    X             X              X          X             X           X     10     X     X                      X              X            X               X               X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                                                        DME Devices




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1081964-01     F.M.      3/9/2020    7/21/2020            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X
 1082018-02     A.F.     3/10/2020    8/10/2020            3                                                  X              X          X             X           X     17     X     X        X             X              X            X               X               X              X                 X                 X                X
 1082072-01     B.J.      3/8/2020   12/22/2020            1               X                    X                            X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1082098-02     E.F.     2/27/2020    4/12/2021            1               X                    X                            X          X                         X     11     X     X                                     X            X                               X              X                 X                 X                X
 1082118-02     T.R.     2/28/2020   11/12/2020            1               X                                                 X                        X           X      7           X        X                            X            X                               X              X                 X                 X                X
 1082124-01     M.R.      3/3/2020    8/12/2020            1               X                    X             X              X                        X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1082154-01     Y.Z.      3/8/2020   10/16/2020            1               X                                  X              X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1082160-01     D.F.      3/2/2020    9/29/2020            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X
 1082165-01     R.A.      3/5/2020     9/4/2020            5               X                    X             X              X          X             X           X     11           X        X                            X            X                               X              X                 X                 X                X
 1082203-02     J.S.     3/11/2020    9/21/2020            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                                              X                 X                 X                X
 1082203-03     A.S.     3/11/2020    6/15/2020            1               X                    X             X              X          X             X           X      5           X        X             X              X            X                               X              X                 X                 X                X
 1082219-01     T.A.      3/6/2020    9/25/2020            1               X                                                 X          X             X           X      8           X        X                            X            X                               X              X                 X                 X                X
 1082236-02     D.D.      3/8/2020    1/22/2021            1               X                    X             X              X                        X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1082249-01     J.B.      3/8/2020    10/9/2020            2               X                    X             X              X          X             X           X     29     X     X        X             X              X            X                               X              X                 X                 X                X
 1082249-02     W.K.      3/8/2020    6/27/2020            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1082253-02     K.L.     3/11/2020    8/19/2020            2               X                                                 X          X                         X     10     X     X        X             X              X            X                               X                                                  X
 1082264-01     S.D.     3/11/2020    8/10/2020            1               X                    X             X              X                                    X      8     X     X                                     X            X                               X              X                 X                 X                X
 1082264-02     M.B.     3/11/2020    6/19/2020            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1082264-03     R.W.     3/11/2020   10/28/2020            3               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1082266-01     K.B.     2/27/2020    9/21/2020            1               X                    X             X              X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1082284-05     D.F.     2/27/2020   10/29/2020            2               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1082352-02     M.J.     2/25/2020    8/19/2021            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                                              X                 X                 X                X
 1082366-02     D.S.     2/24/2020   11/14/2020            1               X                    X                            X          X             X           X      7           X        X             X              X            X                               X              X                 X                 X                X
 1082395-01     N.D.      3/9/2020    9/16/2020            3                                                                                                             0                                                              X                                                                X                                  X
 1082402-01     W.S.      3/7/2020     9/2/2020            2               X                    X                            X          X                         X      8                                  X                           X                               X              X                 X                 X                X
 1082427-02     C.W.     3/11/2020    6/29/2020            1               X                                                 X          X             X           X      7     X     X        X             X              X                                            X                                X                 X
 1082443-01     P.T.     3/19/2020    8/27/2020            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1082465-02     R.E.     3/21/2020    7/29/2020            9               X                    X             X              X          X             X           X      4     X                            X                           X                               X              X                 X                 X                X
 1082522-01     J.P.     3/19/2020    7/24/2020            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1082531-01     M.S.      3/4/2020   11/17/2020            1                                    X                            X          X                                0                                                              X                               X              X                 X                 X                X
 1082551-01     S.B.      3/2/2020    6/20/2020            3               X                    X             X              X          X             X           X     24     X     X        X             X              X            X               X               X              X                 X                 X                X
 1082568-02     C.R.      3/9/2020     6/9/2020            2               X                                                 X          X             X           X      3                                  X                           X                               X              X                 X                 X                X
 1082612-02     D.A.      3/1/2020     8/7/2020            2               X                    X             X              X          X             X           X      8                                  X                           X                               X              X                 X                 X                X
 1082688-01     G.B.      3/3/2020   10/14/2020            1               X                    X             X              X          X                         X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1082718-02     R.M.     3/21/2020   10/24/2020            3               X                    X             X              X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1082743-01     J.R.     3/24/2020    6/11/2020            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1082805-02     Y.L.      3/7/2020    5/12/2021            2               X                                  X              X          X             X           X      2           X                      X                           X               X               X              X                 X                 X                X
 1082836-01     B.M.     3/16/2020    6/25/2020            1               X                                  X              X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1082875-01     C.L.     3/30/2020    8/31/2020            2               X                    X             X              X          X             X           X     13     X     X        X                            X            X               X               X              X                 X                 X                X
 1082931-01     M.S.     3/14/2020   10/10/2020            1                                                                 X          X             X                  0                                                              X                                              X                 X                 X                X
 1083093-02     K.C.     3/19/2020    6/29/2020            1               X                    X             X              X          X             X           X     17           X        X                            X            X                               X              X                 X                 X                X
 1083142-02     D.S.     3/17/2020    10/6/2021            1               X                    X             X              X          X             X           X     12     X     X        X                            X                                                           X                 X                 X
 1083183-02     C.I.     3/11/2020     8/5/2020            1               X                                  X              X                        X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1083212-01     A.V.     3/11/2020    11/2/2020            2               X                    X             X              X          X             X           X      9                                  X                           X               X               X              X                 X                 X                X

                                                                                                                                                58 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                      1508
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1083248-01     K.N.      4/8/2020    8/25/2020            1               X                                                 X          X             X           X      4                    X             X              X            X                               X              X                 X                 X                X
 1083249-01     B.C.      3/9/2020    8/10/2020            1               X                    X             X              X          X             X           X     22     X     X        X             X              X                                            X              X                 X                 X                X
 1083274-01     L.F.      4/7/2020   10/12/2020            2               X                    X                            X          X                                0                                                              X               X                              X                 X                 X                X
 1083321-01     Y.R.     4/15/2020   11/25/2020            1               X                    X                            X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1083343-01     A.S.      4/6/2020    4/23/2021            1               X                                                 X          X             X           X      7     X     X        X                            X            X                               X                                X                 X                X
 1083385-02     A.A.     4/11/2020     8/5/2020            1               X                                                 X          X                         X      2     X                                           X            X                               X                                X                 X
 1083389-01     L.L.     3/24/2020     7/1/2020            1               X                                                 X          X                         X      9     X              X             X              X            X                               X              X                 X                 X                X
 1083478-02     S.A.     4/13/2020    6/22/2020            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1083478-04     B.A.     4/13/2020    6/29/2020            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1083502-01     J.G.     4/22/2020    7/25/2020            4               X                    X             X              X          X             X           X     25     X     X        X             X              X            X                               X              X                 X                 X                X
 1083502-03     A.G.     4/22/2020     7/9/2020            1               X                    X             X              X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1083581-05     V.W.     4/20/2020   11/13/2020            1               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1083595-05     F.D.     4/24/2020    9/26/2020            1               X                    X                            X          X                         X      3     X                            X                           X                                              X                 X                 X                X
 1083667-01     D.N.      5/4/2020     4/4/2022            1               X                    X             X              X          X                                0                                  X                           X               X               X              X                 X                 X                X
 1083705-01     M.D.     4/30/2020    8/13/2020            2               X                    X             X              X                        X                  0                                                              X               X               X              X                 X                 X                X
 1083714-01     R.C.      5/5/2020    9/28/2020            1               X                                  X              X          X                         X     10     X     X        X             X              X                                            X                                                  X
 1083717-01     J.R.     4/11/2020    7/16/2020            5               X                    X             X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1083754-01     M.S.     4/19/2020    7/16/2020            1               X                    X             X              X          X                         X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1083781-01     V.J.     4/24/2020     6/6/2020            1               X                    X                            X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1083830-02     A.S.     4/28/2020    8/11/2020            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1083842-03     A.S.     5/10/2020    7/18/2020            3               X                    X             X              X          X             X           X     20     X     X                      X                                                           X              X                 X                 X                X
 1083903-02     Y.H.      5/6/2020    7/16/2020            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1083905-02     M.I.      3/8/2020    11/8/2020            1               X                    X             X              X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1083921-01     R.D.     4/27/2020    8/19/2020            4               X                    X                            X          X                         X      3                                  X                           X                               X              X                 X                 X                X
 1083926-02     E.G.     4/12/2020    1/22/2021            1               X                    X             X              X          X             X           X     18     X     X        X                            X                                            X              X                 X                 X                X
 1083931-01     S.W.     4/21/2020   12/14/2020            1               X                    X             X              X          X             X           X     12           X        X             X              X            X                                              X                 X                 X                X
 1083934-02     P.L.      5/1/2020    9/15/2020            1               X                    X             X              X          X             X           X     18     X              X             X              X            X                               X              X                 X                 X                X
 1083935-03     M.C.      5/3/2020     3/9/2021            2               X                    X             X              X          X             X           X      9                                  X                           X                               X              X                 X                 X                X
 1083951-01     K.H.     4/18/2020    1/11/2021            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1083977-01     R.C.     5/13/2020    9/17/2020            1               X                    X             X              X          X             X           X      3     X     X                      X                           X                               X                                X                 X                X
 1084000-01     A.N.      5/9/2020    8/31/2020            3               X                    X             X              X          X             X           X     20     X     X                                                  X                               X              X                 X                 X                X
 1084027-02     S.L.     5/10/2020    6/30/2020            1               X                                                 X          X                         X      7           X        X                            X                                            X                                                  X
 1084031-02     N.D.      5/2/2020    7/28/2020            1               X                    X             X              X          X             X           X      2           X                                                  X                               X              X                 X                 X                X
 1084052-02     J.V.     4/18/2020    3/29/2021            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1084065-01     E.M.      5/4/2020     3/4/2021            1               X                    X                            X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1084067-02     Z.Q.     5/19/2020     1/8/2021            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1084079-03     J.M.     5/15/2020    9/29/2020            2               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1084080-02     A.L.      5/9/2020    10/5/2020            1               X                    X             X                                       X           X      2                                                              X                               X              X                 X                 X                X
 1084093-01     J.S.      5/4/2020     7/2/2020            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1084119-02     A.L.     5/11/2020    7/22/2020            1               X                    X                            X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1084127-03     L.Q.     5/21/2020    9/25/2020            5               X                    X             X              X                        X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1084129-01     R.T.     5/17/2020    7/22/2020            2               X                    X             X              X          X             X           X     12                                                              X               X               X              X                 X                 X                X
 1084159-01     N.S.     5/22/2020     2/9/2021            2               X                    X             X              X          X             X           X     12     X     X                      X                           X               X               X              X                 X                 X                X
 1084190-05     R.P.     5/24/2020    11/4/2020            3               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X

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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
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                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1084203-02     G.R.     5/19/2020    3/27/2024            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1084242-01     D.R.     5/20/2020    8/31/2020            2               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1084296-01     A.B.     5/19/2020   11/23/2020            1               X                                  X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1084322-01     T.S.      5/5/2020   10/15/2020            3               X                    X             X              X          X             X           X     16     X     X        X             X              X            X               X               X              X                 X                 X                X
 1084358-02     J.R.      5/7/2020     3/2/2021            1               X                    X                            X          X             X                  0                                  X              X            X                               X              X                 X                 X                X
 1084372-01     H.G.     5/31/2020   11/13/2020            2               X                    X             X              X          X                         X      2           X                      X                           X               X               X              X                 X                 X                X
 1084385-02     J.A.     5/27/2020   11/11/2020            1                                                                 X          X                         X      8     X     X        X                            X            X                               X                                                  X
 1084423-03     J.G.     5/18/2020     7/8/2020            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1084426-01     C.P.     5/23/2020    9/24/2020            2               X                    X             X              X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1084449-01     S.O.     5/28/2020   10/14/2020            1               X                                                 X          X                         X      6     X     X        X                            X            X                               X                                X                 X
 1084462-01     J.E.     5/26/2020     1/3/2021            2               X                    X             X              X          X             X           X     15     X                            X                           X                               X              X                 X                 X                X
 1084462-02     J.L.     5/26/2020    5/14/2021            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1084476-02     A.C.     5/29/2020    6/25/2021            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1084496-02     M.R.     5/22/2020   10/22/2020            1               X                    X                            X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1084524-02     N.K.      6/1/2020    9/10/2021            1               X                                                 X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1084539-01     E.L.      6/4/2020    9/15/2020            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1084539-02     M.M.      6/4/2020   11/10/2020            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1084554-01     W.D.     5/29/2020    4/29/2021            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1084559-01     I.V.     5/23/2020    7/25/2020            5               X                    X             X              X          X             X           X      3     X                            X                           X               X               X              X                 X                 X                X
 1084559-02     A.M.     5/23/2020    7/25/2020            3               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                                  X
 1084565-03     A.C.     5/31/2020    7/19/2020            4                                                                 X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1084567-04     A.C.     5/19/2020    7/19/2020            3               X                    X             X              X          X                         X      6           X                                                                                  X              X                 X                 X                X
 1084594-01     A.P.     5/14/2020    8/14/2020            6               X                    X             X              X          X             X           X     18           X                                                  X               X               X              X                 X                 X                X
 1084594-02     V.L.     5/14/2020   10/21/2020            1               X                    X             X              X          X             X           X     17     X     X                      X              X            X                               X              X                 X                 X                X
 1084594-03     E.S.     5/14/2020    7/27/2020            1               X                    X             X              X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1084656-01     A.H.     5/28/2020    8/19/2020            1               X                    X             X              X          X             X           X     20     X     X        X                            X            X                               X              X                 X                 X                X
 1084659-01     L.H.      6/9/2020   10/16/2020            2               X                    X                            X          X             X           X      4                    X             X              X            X               X               X              X                 X                 X                X
 1084674-01     M.G.      6/5/2020    10/6/2020            2               X                    X             X              X          X             X           X     21     X     X        X             X              X            X               X               X              X                 X                 X                X
 1084692-02     G.R.     5/29/2020    9/15/2020            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1084710-02     S.O.     6/10/2020    8/21/2020            1               X                    X             X              X          X                         X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1084728-02     W.R.     6/17/2020    7/31/2020            1               X                    X             X              X          X             X           X      3     X              X                            X            X                                              X                 X                 X                X
 1084739-03      J.J.     6/3/2020    9/25/2020            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1084740-01     D.S.      5/2/2020    5/22/2022            1               X                    X             X              X          X             X           X     10                                  X                           X               X               X              X                 X                 X                X
 1084768-03     A.Y.     6/15/2020    7/25/2020            3               X                    X             X              X          X             X           X     13                                                              X                               X              X                 X                 X                X
 1084795-01     L.K.     6/15/2020    9/14/2020            2               X                                                 X                        X                  0                                                              X               X               X              X                 X                 X                X
 1084805-01     R.A.      6/4/2020   11/19/2020            1               X                                  X              X          X                         X      9           X        X                            X            X                               X              X                 X                 X                X
 1084806-02     A.D.     6/12/2020   10/14/2020            1                                                                 X          X                         X      7     X     X        X                            X                                            X                                                  X
 1084807-02     S.D.      6/8/2020    7/16/2020            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X
 1084810-02     C.G.      6/8/2020    9/27/2020            2               X                    X             X              X          X             X           X      9                                  X                           X               X               X              X                 X                 X                X
 1084811-01     M.S.      6/4/2020     1/8/2021            1               X                    X                            X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1084828-01     G.A.      6/6/2020    9/16/2020            2               X                    X             X              X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1084828-03     M.A.      6/6/2020    9/16/2020            2               X                    X             X              X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1084863-02     M.M.     6/10/2020    9/12/2020            1               X                    X             X              X          X             X           X     22     X     X        X             X              X                                            X              X                 X                 X                X
 1084874-01     P.Z.     6/16/2020   10/23/2020            2               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                      Any MRI




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               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1084884-01     C.P.     6/17/2020   10/26/2020            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1084884-02     M.E.     6/17/2020    9/22/2020            1               X                    X             X              X          X                         X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1084888-04     M.M.     5/19/2020    11/2/2020            1               X                    X             X              X                        X           X     10           X        X                            X            X                               X              X                 X                 X                X
 1084893-05     T.C.      6/9/2020    9/16/2020            1               X                    X             X              X          X             X           X     13                                  X                           X                               X              X                 X                 X                X
 1084896-02     R.J.     5/26/2020    9/24/2020            1               X                    X             X              X          X             X           X     17     X     X        X                            X            X                               X              X                 X                 X
 1084910-01     J.C.     5/29/2020   10/28/2020            1               X                                                 X          X                                0                                                              X               X               X                                X                                  X
 1084968-01     N.L.     6/12/2020    8/27/2020            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1084982-01     G.M.     3/31/2020     8/1/2020            4               X                    X             X              X          X                         X      8                                  X                           X                               X              X                 X                 X                X
 1084987-02     I.M.      6/1/2020   12/18/2020            1               X                    X             X              X          X                         X      3     X              X             X              X            X                               X              X                 X                 X                X
 1085003-02     L.F.     6/18/2020    12/3/2020            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                                              X                 X                 X                X
 1085022-02     W.R.      6/8/2020    10/2/2020            1               X                    X             X              X          X             X           X      6     X                            X              X            X               X               X              X                 X                 X                X
 1085037-01     C.P.     6/23/2020     8/6/2020            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1085042-01     Y.R.     6/25/2020   10/31/2020            1               X                    X                            X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1085051-01     K.E.     6/11/2020   12/17/2020            1               X                    X             X              X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1085052-01     I.K.     6/18/2020    4/15/2021            2               X                    X             X              X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1085102-01     K.M.     6/17/2020     7/3/2021            2               X                                                 X          X             X           X      5           X                                                  X               X               X              X                 X                                  X
 1085115-02     D.T.     6/22/2020     9/3/2020            1               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1085116-01     F.B.     6/12/2020    8/21/2020            1               X                    X             X              X          X             X           X     16     X     X                      X              X            X                               X              X                 X                 X                X
 1085119-02     E.A.     5/28/2020     9/2/2020            2               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1085121-01     K.R.     6/10/2020    10/8/2020            1               X                    X                            X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1085134-02     P.M.     6/11/2020    8/19/2020            2               X                    X             X              X          X             X           X     11     X                            X                           X                               X              X                 X                 X                X
 1085146-02     L.J.     6/21/2020   10/22/2020            2               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1085149-01     R.L.     6/23/2020    8/26/2020            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                                              X                 X                 X                X
 1085152-02     J.G.     6/12/2020   12/17/2020            1               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1085154-02     P.C.     6/24/2020    8/10/2020            1               X                    X             X              X          X             X           X      6     X              X             X              X            X                               X              X                 X                 X                X
 1085163-01     G.M.     3/28/2020    10/3/2020            2               X                    X             X              X          X                         X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1085172-01     E.P.     6/24/2020     8/6/2020            7               X                    X             X              X          X             X           X     16     X     X        X             X              X            X               X               X              X                 X                 X                X
 1085172-02     E.A.     6/24/2020    8/31/2020            5               X                    X             X              X          X             X           X     16     X     X        X             X              X            X               X               X              X                 X                 X                X
 1085180-02     K.B.     6/18/2020    9/14/2020            1               X                    X                            X          X             X           X      7           X        X             X              X            X                               X              X                 X                 X                X
 1085182-01     A.N.     5/29/2020    1/21/2022            2               X                                                 X          X             X                  0                                                              X                               X              X                 X                 X                X
 1085204-01     A.A.     6/22/2020    9/17/2020            2               X                    X             X              X          X             X           X     12     X                            X                           X               X               X              X                 X                 X                X
 1085232-01     R.M.     6/27/2020    8/10/2020            2               X                    X             X              X          X             X           X      7                                                              X               X               X              X                 X                 X                X
 1085242-02     L.R.     6/24/2020    1/22/2021            1               X                                  X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1085320-02     S.T.     6/27/2020    5/26/2022            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1085333-02     A.A.     6/23/2020   10/16/2020            1               X                    X             X              X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1085337-02     L.D.     6/16/2020    4/13/2021            1               X                    X             X              X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1085337-04     T.T.     6/16/2020     2/9/2021            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1085351-02     N.K.      7/2/2020   12/21/2020            2               X                                  X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1085376-02     M.N.     6/16/2020   10/14/2020            1               X                    X             X              X          X             X           X     16     X                            X                           X                               X              X                 X                 X                X
 1085397-02     J.M.     6/11/2020    11/7/2020            3               X                    X             X              X          X             X           X      4                                                              X                               X              X                 X                 X                X
 1085414-01     J.A.      7/3/2020    6/11/2021            1               X                    X             X              X          X                         X      4           X        X                            X            X                                              X                 X                 X                X
 1085448-02     R.T.     6/24/2020    12/4/2020            3               X                    X             X              X          X             X           X      4     X     X        X                            X            X               X               X              X                 X                 X                X
 1085477-01     K.C.      7/7/2020    1/22/2021            1               X                    X             X              X          X             X           X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1085501-02     P.W.      7/1/2020    2/21/2021            2               X                    X             X              X          X             X           X      8                                  X                           X               X               X              X                 X                 X                X

                                                                                                                                                61 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1085503-04     D.G.      7/9/2020    11/4/2020            6               X                    X             X              X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1085551-02     R.M.      7/3/2020    8/20/2020            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1085559-01     H.S.     6/10/2020    9/13/2020            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1085559-03     A.B.     6/10/2020    9/13/2020            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1085562-02     L.G.     6/19/2020    10/3/2020            5               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1085569-02     T.M.     6/20/2020   11/25/2020            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1085574-02     S.A.     6/26/2020   10/23/2020            2               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1085582-02     R.A.      7/6/2020    10/2/2020            5               X                    X             X              X          X             X           X     26     X     X        X             X              X            X               X               X              X                 X                 X                X
 1085585-01     Y.N.     6/22/2020    6/18/2021            5               X                                                 X          X                         X      1                                                              X                               X              X                 X                                  X
 1085675-01     O.G.     7/13/2020    1/16/2021            1               X                    X             X              X          X             X           X     12     X     X        X                            X                                            X              X                 X                 X                X
 1085684-01     J.R.     7/14/2020    9/25/2020            5               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1085713-01     C.C.     7/13/2020    1/13/2021            1               X                    X             X              X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1085714-01     R.J.      7/3/2020   11/10/2021            1               X                                                 X          X             X           X      1           X                                                  X               X                              X                 X                                  X
 1085720-02     K.W.     6/17/2020   11/13/2020            1               X                                  X              X          X             X           X      6     X                            X                           X                                              X                 X                 X                X
 1085730-01     D.D.      7/5/2020   10/24/2020            1               X                    X             X              X          X             X           X     18                                  X                           X                                              X                 X                 X                X
 1085738-01      J.J.    7/11/2020    2/23/2021            1               X                    X             X              X          X             X           X      6                                  X                                           X               X              X                 X                 X                X
 1085738-03     R.B.     7/11/2020   11/23/2020            3               X                                                 X          X                         X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1085744-03     S.G.     6/23/2020    10/9/2020            1               X                    X             X              X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1085767-01     O.E.     7/13/2020    10/1/2020            1               X                    X             X              X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1085769-01     H.G.     6/24/2020    3/27/2021            1               X                    X             X              X          X             X           X     12     X     X        X                            X            X                                              X                 X                 X                X
 1085776-01     O.M.      7/6/2020    9/18/2020            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1085790-01     R.G.     6/28/2020    8/31/2020            1               X                    X             X              X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1085805-01     J.R.     6/21/2020    11/6/2020            2               X                    X             X              X          X                                0                                                              X                               X              X                 X                 X                X
 1085825-01     D.M.      7/7/2020    8/20/2020            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1085834-01     N.D.      7/3/2020    10/8/2020            3               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1085839-01     L.P.     7/15/2020    11/6/2020            1               X                                  X              X          X             X           X     10     X     X        X             X              X            X                                              X                 X                 X                X
 1085847-02     S.J.      7/5/2020   12/11/2020            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1085851-03     M.P.      7/1/2020   10/28/2020            2               X                    X             X              X          X             X           X     15                                  X                           X                               X              X                 X                 X                X
 1085855-01     H.G.     6/22/2020   11/16/2020            1               X                                  X              X          X             X           X      6     X     X        X             X              X            X                                              X                 X                 X                X
 1085859-03     G.M.      7/4/2020   12/11/2020            3               X                    X             X              X          X             X           X     15     X     X        X             X              X            X               X               X              X                 X                 X                X
 1085868-01     T.S.     6/24/2020    9/18/2020            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1085901-02     A.M.      7/5/2020    10/7/2020            2               X                    X             X              X          X             X           X     11     X     X                      X              X            X               X               X              X                 X                 X                X
 1085949-02     S.B.     6/24/2020   12/14/2020            1               X                    X             X              X          X                         X     18     X     X        X             X              X                                            X              X                 X                 X                X
 1085953-04     Z.D.      7/3/2020   12/15/2020            1               X                    X                            X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X
 1085968-04     A.V.     7/20/2020    11/5/2020            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1085999-04     S.A.      7/9/2020    1/12/2022            1               X                    X             X              X          X             X           X     16                                  X                           X               X               X              X                 X                 X                X
 1086010-01     M.F.     6/20/2020    1/17/2021            2               X                    X             X              X          X             X           X     16           X                                                  X               X               X              X                 X                 X                X
 1086015-02     M.D.     6/29/2020    6/17/2021            1               X                    X             X              X          X                         X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1086023-10     C.H.     6/25/2020     3/5/2021            1               X                    X             X              X          X                         X     21     X     X                      X              X            X                               X              X                 X                 X                X
 1086023-12     F.H.     6/25/2020     1/8/2021            1               X                    X             X              X          X                         X     23     X     X        X             X              X            X                               X              X                 X                 X
 1086049-01     L.M.     7/17/2020   12/14/2021            1               X                    X             X              X          X             X           X     10     X     X                      X                           X                               X              X                 X                 X                X
 1086065-01     A.T.     7/10/2020   10/12/2020            1               X                    X             X              X          X             X           X     10           X        X                            X            X                               X              X                 X                 X                X
 1086070-01     N.H.     7/18/2020     2/3/2021            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                                              X                 X                 X                X
 1086101-02     S.R.     7/19/2020   12/10/2020            1               X                    X                            X          X                         X      4     X     X                      X              X            X                               X              X                 X                 X                X

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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




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                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1086111-01     D.G.     7/17/2020    9/30/2020            2               X                    X             X              X          X             X           X      7           X                      X                           X               X               X                                X                 X                X
 1086124-02     T.L.     7/14/2020    1/30/2021            3               X                    X             X              X          X             X           X      7                                                              X                               X              X                 X                 X                X
 1086156-02     R.R.     7/26/2020    1/29/2021            1               X                                                 X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1086167-05     H.C.      7/8/2020    9/26/2020            2               X                    X                            X          X             X           X      2     X                            X                           X                               X              X                 X                 X                X
 1086224-01     J.C.     6/28/2020   10/17/2020            3               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1086262-01     P.P.     7/18/2020   11/12/2020            1               X                                                 X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1086266-01     V.B.     7/27/2020    2/17/2023            2               X                                                 X          X             X           X      7                                  X              X            X               X               X              X                 X                 X                X
 1086270-03     C.C.     7/17/2020    8/31/2020            1               X                    X                            X          X             X           X     10     X     X        X                            X            X                               X              X                                   X                X
 1086270-04     J.B.     7/17/2020    10/5/2020            1               X                    X             X              X          X             X           X     11           X        X                            X            X                               X              X                 X                 X                X
 1086291-01     S.S.      7/8/2020    1/13/2021            1               X                                                 X          X                                0                                                              X                               X              X                 X                                  X
 1086317-01     L.Z.     7/11/2020    9/29/2020            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1086329-05     R.R.     7/26/2020    5/14/2021            1               X                    X                            X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1086352-01     J.A.      8/1/2020   11/14/2020            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1086352-02     L.A.      8/1/2020   11/28/2020            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1086355-01     R.F.     7/20/2020   10/12/2020            2               X                    X                            X          X                         X      1                                                              X               X               X              X                 X                 X                X
 1086359-02     S.H.     7/26/2020    8/23/2020            2               X                    X             X              X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1086362-05     A.P.     5/23/2020    1/19/2021            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1086383-01     B.P.      8/3/2020    10/3/2020            1               X                    X             X              X          X             X           X     11     X                            X                           X                               X              X                 X                 X                X
 1086383-02     A.T.      8/3/2020    10/3/2020            1               X                    X                            X          X             X           X     10     X                            X                           X                               X              X                 X                 X                X
 1086398-02     G.G.     7/21/2020    1/22/2021            3               X                                                 X          X             X           X      5           X                                                  X               X               X              X                 X                                  X
 1086410-02     V.P.      8/1/2020   10/22/2020            1               X                                  X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1086424-01     R.M.     7/16/2020    2/21/2021            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                                              X                                   X                X
 1086432-02     I.O.     7/15/2020    12/7/2020            1               X                    X             X              X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1086448-02     P.R.     7/26/2020    9/18/2020            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1086515-03     G.B.     7/29/2020    10/8/2020            1               X                    X             X              X          X                         X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1086540-01      I.P.     8/2/2020   10/27/2021            1               X                    X             X              X          X             X           X     23           X        X             X              X            X                               X              X                 X                 X                X
 1086581-01     R.P.     7/22/2020    11/6/2020            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1086591-02     D.W.     7/24/2020    2/22/2021            1               X                                  X              X          X                         X      5     X     X                                     X            X                               X                                                  X
 1086601-02     P.U.     7/23/2020    10/7/2020            1               X                    X             X              X                                           0                                  X                           X                               X              X                 X                 X                X
 1086605-01     T.T.      8/3/2020    10/4/2021            1               X                    X                            X          X                         X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1086643-02     J.R.     7/25/2020    9/26/2020            2               X                    X                            X          X             X           X      2                                  X                           X                                              X                 X                 X                X
 1086657-02     M.W.     7/10/2020     2/4/2021            1               X                    X             X              X          X             X           X     21     X     X                      X              X            X                               X              X                 X                 X                X
 1086669-02     S.H.      8/4/2020   11/17/2020            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1086726-01     E.N.      8/5/2020     3/4/2021            1               X                    X             X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1086733-01     S.R.      8/4/2020   10/16/2020            2               X                                                 X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1086746-01     N.A.      8/4/2020   11/22/2020            3               X                    X             X              X                        X           X     24     X     X        X             X              X            X               X               X              X                 X                 X                X
 1086746-02     A.D.      8/4/2020    12/6/2020            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X               X               X              X                 X                 X                X
 1086769-01     L.L.      8/2/2020     9/4/2020            1               X                    X             X              X          X                         X     11     X     X        X             X              X            X                                              X                 X                 X                X
 1086776-01     Y.M.     7/31/2020    3/11/2021            6               X                    X             X              X          X             X           X     11     X              X             X              X            X               X               X              X                 X                 X                X
 1086779-01     R.C.      8/1/2020    9/22/2020            5               X                    X             X              X          X                         X     15           X                      X              X            X               X               X              X                 X                 X                X
 1086803-01     E.J.     8/10/2020    1/15/2021            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1086807-03     D.G.      8/5/2020    2/10/2021            1               X                    X             X              X          X                         X      4     X     X                                     X            X                               X              X                 X                 X                X
 1086810-01     F.L.     7/31/2020     3/9/2021            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                                              X                 X                 X                X
 1086819-90     A.D.     6/19/2020    12/5/2020            4               X                    X                                                     X           X      2                                                              X                                              X                 X                 X                X

                                                                                                                                                63 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                      1513
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                                                        DME Devices




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               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1086829-02     M.G.     8/10/2020    10/1/2020            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1086837-01     J.R.     7/15/2020     4/7/2021            3               X                    X                            X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1086870-01     N.T.      8/7/2020    4/12/2021            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1086873-02     P.G.     8/11/2020    10/9/2020            1               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1086902-01     C.M.      8/3/2020    9/18/2020            5               X                    X             X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1086921-01     E.M.     7/21/2020    2/15/2021            1               X                    X             X              X          X                                0                                  X                           X                               X              X                 X                 X                X
 1086949-01      J.I.    7/20/2020   12/17/2020            1               X                                  X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1086951-01     J.V.     8/14/2020     5/6/2021            1               X                    X             X              X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1086962-01      P.J.    8/11/2020    5/24/2021            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1086973-01     B.D.     7/31/2020    11/6/2020            2               X                    X             X              X          X                         X      2                                  X                           X               X               X              X                 X                 X                X
 1086993-02     M.R.      8/3/2020    9/10/2020            1               X                    X             X              X          X             X           X     11     X     X        X                            X                                            X              X                 X                 X                X
 1086993-03     E.Y.      8/3/2020    11/8/2020            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                                              X                 X                 X                X
 1086997-01     C.J.     7/30/2020    1/18/2021            1               X                    X             X              X          X             X                  0                                  X                                           X               X              X                 X                 X                X
 1087000-02     D.O.      8/3/2020   11/13/2020            2               X                                                 X          X                         X     10     X     X        X             X              X            X                               X                                                  X
 1087008-02     M.Z.     7/31/2020   11/20/2020            1               X                    X                            X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1087044-02     F.B.     7/20/2020    9/13/2020            2               X                    X             X              X          X             X           X     11     X              X                            X            X                               X              X                 X                 X                X
 1087050-01     N.V.     8/19/2020     1/5/2021            1               X                                                 X          X             X           X      8     X     X        X                            X            X                               X                                X                 X                X
 1087056-02     D.C.     7/28/2020     9/9/2020            3               X                    X             X              X          X             X           X     15           X                      X                           X                               X              X                 X                 X                X
 1087070-02     E.O.     7/29/2020   10/10/2020            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                                              X                 X                 X                X
 1087070-04     C.O.     7/29/2020    9/26/2020            3               X                    X             X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1087078-01     C.B.     7/13/2020    10/8/2020            1               X                    X             X              X                        X           X     17     X     X        X                            X            X                               X              X                 X                 X                X
 1087082-91     J.A.     7/27/2020    9/23/2020            1               X                    X             X              X          X             X           X      8                                                              X                               X              X                 X                 X                X
 1087100-02     K.S.     8/15/2020   12/28/2020            1               X                                                 X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1087141-02     R.S.     8/19/2020   11/14/2020            2               X                    X             X              X          X             X           X      5     X     X                                     X            X                               X              X                 X                 X                X
 1087173-01     J.A.     8/19/2020    12/1/2020            3               X                    X             X              X          X             X           X      2                                                              X               X               X              X                 X                                  X
 1087173-02     A.C.     8/19/2020   10/10/2020            3               X                    X             X              X          X             X           X      4     X     X                      X                           X               X               X              X                 X                 X                X
 1087188-02     A.H.     8/14/2020   10/26/2020            3               X                    X             X              X          X             X           X     14                                  X                           X               X               X              X                 X                 X                X
 1087189-02     E.D.     8/17/2020   12/19/2020            7               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1087198-08     N.D.     8/12/2020   12/23/2020            1               X                                  X              X          X             X           X     22     X     X        X             X              X            X                                              X                 X                 X                X
 1087200-02     N.G.     8/21/2020   12/23/2020            1               X                    X             X              X          X                         X      8     X     X                      X              X            X                               X              X                                   X
 1087205-01     D.S.     8/14/2020   10/20/2020            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1087205-02     C.R.     8/14/2020   10/20/2020            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1087227-01     M.G.     7/24/2020   11/16/2020            2               X                                                 X          X             X           X      6     X     X                      X              X            X               X                              X                 X                 X                X
 1087237-02     M.L.     8/15/2020    12/4/2020            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1087257-01     A.R.     8/20/2020   10/10/2020            3               X                    X             X              X          X                         X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1087260-02     S.C.     8/10/2020   11/10/2020            2               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1087296-02     C.R.     8/26/2020    1/22/2021            1               X                    X                            X          X                         X      2                                                              X                               X              X                                   X                X
 1087329-01     W.C.     8/11/2020   10/23/2020            4               X                    X             X              X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1087348-01     J.W.     8/22/2020    1/29/2021            2               X                                  X              X          X             X           X     12     X     X                      X              X            X                               X              X                 X                 X                X
 1087348-02     R.W.     8/22/2020    11/6/2020            2               X                                  X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1087359-01     H.E.     8/23/2020    2/27/2021            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1087394-01     M.L.     7/30/2020   12/28/2020            2               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1087407-02     C.R.      8/3/2020   10/26/2020            1               X                    X             X              X          X             X           X     13                                                              X                               X              X                 X                 X                X
 1087407-04     C.P.      8/3/2020   10/26/2020            1               X                    X             X              X          X             X           X     14                                                              X                               X              X                 X                 X                X

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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                                                           Orthosis
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                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1087420-02     A.B.     8/14/2020    8/19/2021            2               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1087441-02     R.W.     8/17/2020    12/4/2020            1               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1087441-04     C.S.     8/17/2020    12/4/2020            1               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1087445-01     A.B.     8/21/2020    11/5/2020            1               X                                  X              X          X             X           X     13     X     X        X                                         X                               X              X                 X                 X                X
 1087490-01     L.H.     8/18/2020     7/6/2021            1               X                                                 X                                    X      7           X        X             X              X            X                               X                                X                 X
 1087498-02     C.S.      8/6/2020    10/9/2020            1               X                    X             X              X          X                         X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1087511-02     J.R.     8/27/2020   10/23/2020            1               X                    X             X              X          X             X           X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1087516-05     D.S.     8/11/2020    11/9/2020            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1087551-01     L.M.     8/27/2020   10/28/2020            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1087555-01     B.H.     7/20/2020    3/26/2021            1               X                    X                            X          X                         X      2     X     X                                     X            X                               X              X                 X                 X                X
 1087564-02     A.P.      8/9/2020    4/11/2021            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X
 1087568-02     P.M.     7/31/2020   10/30/2020            2               X                    X             X              X          X             X           X     10     X                            X                           X               X               X              X                 X                 X                X
 1087580-01     V.G.      8/7/2020    11/8/2020            1               X                                  X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1087598-01     C.K.     8/30/2020   10/30/2020            1               X                    X                            X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1087615-02     C.F.     8/12/2020    2/27/2021            2               X                    X                            X          X             X           X     19     X              X             X              X            X               X               X              X                 X                 X                X
 1087618-02     J.M.      8/9/2020    9/25/2020            3               X                    X             X              X          X             X           X      6     X     X        X                            X            X               X               X              X                 X                 X                X
 1087619-01     J.B.     8/23/2020    12/8/2020            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X
 1087619-03     M.P.     8/23/2020    12/8/2020            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X
 1087665-02     K.L.     8/15/2020   12/13/2020            2               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1087665-04     T.P.     8/15/2020   10/18/2020            3               X                    X             X              X          X             X           X     17     X     X                      X              X            X               X               X              X                 X                 X                X
 1087675-02     N.T.     8/27/2020    6/18/2021            1               X                    X                            X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1087684-01     E.V.      8/5/2020     5/5/2021            1               X                    X                            X          X                         X      1                                  X                           X                               X              X                 X                 X                X
 1087721-01     L.E.     8/31/2020   10/26/2021            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1087737-01     T.T.      9/1/2020    11/2/2020            1               X                    X             X              X          X             X           X      6                                                              X                               X              X                 X                 X                X
 1087740-01     A.C.      9/7/2020    12/9/2020            2               X                                                 X          X                         X     13     X     X        X                            X                                            X                                                  X
 1087741-01     J.A.      9/6/2020     3/8/2021            1               X                    X             X              X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1087741-04     B.N.      9/6/2020   12/21/2020            2               X                    X             X              X          X             X           X      2                                                              X               X               X              X                 X                 X                X
 1087780-01     S.T.      8/9/2020   11/19/2023            1               X                    X             X              X          X             X           X      3           X                      X                           X                               X              X                 X                 X                X
 1087807-02     C.P.     8/31/2020    11/9/2020            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1087810-01     M.T.     8/15/2020     2/6/2021            1                                    X             X              X                                    X     10     X     X        X             X              X            X                               X              X                 X                 X
 1087841-02     A.J.     8/10/2020     2/1/2023            1               X                                  X              X          X             X           X      2     X                                                                                        X              X                                   X                X
 1087844-01     N.A.      8/4/2020   12/17/2020            1               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1087849-02     M.K.      9/2/2020   10/16/2021            2               X                                                 X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1087864-02     A.Y.     8/11/2020   12/21/2020            1               X                                  X              X          X             X           X      6           X        X                            X            X                                              X                 X                 X                X
 1087871-01     N.L.     8/30/2020   12/17/2020            1               X                    X             X              X          X             X           X     15     X              X                            X            X                               X              X                 X                 X                X
 1087883-02     K.S.      9/7/2020   10/31/2020            6               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1087921-02     A.I.     8/23/2020    9/26/2020            2               X                                  X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1087922-02     J.M.     8/22/2020   10/26/2020            1               X                    X             X              X          X             X           X      8           X        X                            X                                            X              X                 X                 X                X
 1087924-02     L.S.     8/24/2020   12/18/2020            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1087933-01     L.M.     8/30/2020     8/4/2021            1               X                    X                            X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1087948-01     S.T.     8/22/2020   12/28/2020            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1087983-02     M.W.     8/13/2020   12/21/2020            1               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1087984-03     S.P.      9/4/2020   11/20/2020            2               X                    X             X              X          X                         X      2           X                      X                           X               X               X              X                 X                 X                X
 1087994-01     P.S.     8/14/2020   10/19/2020            1               X                                  X              X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X

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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1088016-02     J.G.     8/20/2020    11/9/2020            2               X                    X             X              X          X                         X     15     X                            X                           X               X               X              X                 X                 X                X
 1088021-01     M.D.     8/25/2020    2/25/2021            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1088058-01     D.F.      9/1/2020    4/30/2021            1               X                                                 X          X             X           X      4     X     X                      X                           X               X               X              X                 X                 X                X
 1088111-01     J.C.     8/28/2020    11/7/2020            2               X                    X                            X          X             X           X      2     X                            X                           X                               X              X                 X                 X                X
 1088121-01     K.C.      9/7/2020    4/22/2021            2               X                    X             X              X          X             X           X      3     X                            X              X            X               X               X              X                 X                 X                X
 1088131-02     D.D.      9/4/2020    9/15/2021            1               X                    X                            X          X                         X      1                                  X                           X                               X              X                 X                                  X
 1088147-01     B.L.     9/10/2020   10/29/2020            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                                              X                 X                 X                X
 1088186-03     E.A.     8/30/2020    3/24/2021            1               X                    X             X              X          X             X           X      6     X     X                      X              X            X               X               X              X                 X                 X                X
 1088189-02     D.J.      9/7/2020    11/5/2020            1               X                                  X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1088189-05     L.F.      9/7/2020    11/5/2020            1               X                    X             X              X          X             X           X     16     X     X        X             X              X                                            X              X                 X                 X                X
 1088198-01     M.L.     9/10/2020    12/4/2020            1               X                                  X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1088201-01     M.P.      9/9/2020    2/19/2021            1               X                    X                            X          X             X           X      7     X                                                        X                               X              X                 X                 X                X
 1088204-01     M.M.      9/1/2020    9/10/2021            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1088402-03     G.R.     8/29/2020    1/10/2021            1               X                    X                            X          X                         X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1088413-01     A.B.      9/3/2020   11/10/2020            1               X                    X             X              X          X                         X      7           X        X             X              X            X                               X              X                 X                 X                X
 1088438-01     K.O.     8/27/2020   11/18/2020            1               X                    X             X              X          X                         X      2                                  X                           X                                              X                 X                 X                X
 1088459-01     H.R.     9/14/2020   11/23/2020            1               X                    X             X              X          X                         X      2           X                      X                           X               X               X              X                 X                 X                X
 1088471-02     E.S.     9/12/2020    12/6/2020            3               X                    X                            X          X             X           X      4           X                      X                           X               X               X              X                 X                 X                X
 1088481-01     M.C.      9/5/2020   10/29/2020            2               X                                                 X          X                         X      5                                                              X                               X              X                 X                 X                X
 1088485-02     C.D.     8/24/2020    7/29/2021            1               X                                                 X          X             X           X      5           X        X                            X            X                                              X                 X                 X                X
 1088490-01     L.R.     9/11/2020   11/17/2020            1               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1088526-01     E.D.      9/6/2020   12/15/2020            1               X                                  X              X          X                         X     21     X     X        X                            X                                            X              X                 X                 X                X
 1088526-03     O.E.      9/6/2020   12/15/2020            1               X                                  X              X          X                         X     19     X     X        X             X              X                                            X              X                 X                 X                X
 1088528-02     F.F.      8/8/2020    12/7/2020            1               X                                                 X                        X           X      7           X        X             X              X                                            X                                X                 X                X
 1088531-03     R.H.     9/20/2020   11/13/2020            1               X                    X             X              X          X                         X      4     X     X        X             X              X            X                               X              X                 X                 X
 1088557-01     V.T.     9/14/2020   10/23/2020            8               X                    X             X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1088557-04     J.E.     9/14/2020    1/25/2021            3               X                    X             X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1088558-01     A.M.     8/31/2020   10/31/2020            2               X                    X             X              X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1088571-01     W.Z.     9/10/2020    1/10/2021            3               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1088582-01     G.S.     7/27/2020   10/27/2020            1               X                    X                            X                        X           X     25     X     X        X             X              X            X                               X              X                 X                 X                X
 1088587-01     M.A.     9/17/2020   11/15/2020            5               X                    X             X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1088621-01     W.G.     9/10/2020   12/13/2020            5               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1088621-03     C.S.     9/10/2020   10/21/2020            7               X                    X             X              X          X             X           X      7     X     X                      X              X            X               X               X              X                 X                 X                X
 1088627-03     A.J.     9/21/2020   11/17/2020            2               X                                                 X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1088653-01     C.C.     9/26/2020   12/15/2020            5               X                    X             X              X          X             X           X     15     X     X        X             X              X            X               X               X              X                 X                 X                X
 1088715-01     Z.P.     9/14/2020   10/25/2021            2               X                    X             X              X          X                         X      2                                  X                           X               X               X              X                 X                 X                X
 1088715-02     W.D.     9/14/2020   10/25/2021            1               X                    X             X              X          X                                0                                  X                           X                               X              X                 X                 X                X
 1088720-04     A.F.     9/26/2020   12/14/2020            2               X                    X                            X          X             X           X      1           X                                                  X                               X              X                 X                                  X
 1088728-02     C.C.     9/19/2020    12/6/2020            4               X                    X             X              X          X             X           X      5                                  X                           X               X               X              X                 X                 X                X
 1088756-01     S.S.     9/30/2020    3/21/2024            1               X                                                 X          X                                0                                                              X                                              X                 X                 X                X
 1088767-02     E.W.     9/27/2020   12/17/2020            1               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1088835-02     U.C.     9/24/2020    4/23/2021            1               X                                  X              X          X             X           X      7           X        X             X              X                                            X              X                 X                 X
 1088892-02     J.L.     9/23/2020   11/19/2020            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1088901-01     M.R.     9/25/2020     2/9/2021            1               X                    X                            X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X

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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




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                                                                                                                                                                         Compression
                                                                                             Chiropractic




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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1088912-02     T.B.      9/21/2020   10/31/2020         1                  X                    X                            X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1088928-02     C.B.      9/18/2020    12/3/2020         2                  X                    X             X              X          X                         X     15     X     X                      X              X            X                               X              X                 X                 X                X
 1088953-02     L.R.      10/1/2020    12/1/2020         1                  X                                                 X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X
 1088967-02     T.D.      9/14/2020     4/5/2021         1                  X                    X             X              X          X                         X      3                                                 X            X               X               X              X                 X                 X                X
 1088972-01     C.F.      10/5/2020    5/14/2021         1                  X                                                 X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1088976-01     S.A.      9/29/2020   12/22/2020         4                  X                    X                            X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1088977-02     E.K.      9/23/2020   12/10/2020         1                  X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1088986-02     R.R.      10/1/2020     7/1/2021         3                  X                    X             X              X          X             X           X      6           X                      X                           X               X               X              X                 X                 X                X
 1088986-04     W.R.      10/1/2020    3/15/2021         1                  X                                                                                      X      8           X        X             X              X                                            X              X                 X                 X
 1089004-01     R.S.      9/30/2020   12/12/2020         2                  X                    X             X              X          X             X           X     10     X                                                        X                               X              X                 X                 X                X
 1089004-02     L.A.      9/30/2020   12/12/2020         2                  X                    X             X              X          X             X           X      9     X                                                        X                               X              X                 X                 X                X
 1089020-01     J.H.      10/6/2020   12/18/2020         2                  X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1089087-02     E.C.      9/15/2020    3/11/2021         1                                                                                                         X      4     X     X                                     X                                            X                                                  X
 1089116-01     F.S.       9/8/2020    12/6/2020         2                  X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1089130-01     R.D.      8/28/2020   11/12/2020         1                  X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1089131-02     M.S.      9/18/2020     3/8/2021         1                  X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1089158-03     W.E.      10/5/2020   12/15/2020         1                  X                    X             X              X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1089175-06     S.C.      9/29/2020   12/22/2020         1                  X                    X                            X          X                         X     16                                  X                           X                               X              X                 X                 X                X
 1089181-01     R.V.      10/3/2020    2/20/2021        11                  X                    X             X              X          X             X           X     10           X                      X                           X               X               X              X                 X                 X                X
 1089193-02     J.P.      10/7/2020     7/7/2022         1                  X                    X                            X          X             X           X      6     X     X                                     X            X                               X              X                 X                 X                X
 1089290-02     C.K.      9/27/2020    12/7/2020         1                  X                    X             X              X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1089292-01     A.C.      10/8/2020    5/16/2022         1                  X                    X                            X          X                         X      3                                                 X            X                               X              X                 X                 X                X
 1089295-01     B.S.     10/11/2020     1/4/2021         1                  X                                                 X          X                         X      6     X     X        X             X              X            X                               X              X                 X                 X
 1089298-02     I.K.      9/26/2020    12/7/2020         1                  X                    X                            X          X             X           X      8           X        X             X              X            X                               X              X                 X                 X                X
 1089341-03     M.J.      9/14/2020    6/20/2021         1                  X                    X                            X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1089373-02     E.S.      9/22/2020     4/2/2021         2                  X                    X                            X          X             X           X     14     X     X        X                            X            X               X               X              X                 X                 X                X
 1089375-01     E.N.      10/4/2020     2/2/2021         1                  X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1089414-01     C.S.      9/15/2020   11/30/2020         3                  X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1089426-01     M.K.     10/17/2020    4/14/2021         1                  X                                                 X          X                         X      6     X     X                      X              X            X                               X                                                  X
 1089433-01     J.E.      10/9/2020    1/20/2022         1                  X                    X                            X          X             X           X      8     X     X                                     X            X                               X              X                 X                 X                X
 1089433-02     L.E.      10/9/2020    1/17/2022         1                  X                    X                            X          X             X           X      7     X     X                                     X            X                               X              X                 X                 X                X
 1089443-01     C.S.      10/1/2020    3/12/2021         2                  X                                  X              X                        X           X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1089464-02     S.F.      9/21/2020    2/14/2021         1                  X                    X             X              X          X             X           X     14     X                                                        X                               X              X                 X                 X                X
 1089541-01     A.A.     10/12/2020    12/8/2020         3                  X                    X             X              X          X                         X      9                                  X                           X                               X              X                 X                 X                X
 1089543-02     E.M.      10/5/2020    3/10/2021         1                  X                    X                            X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1089543-04     S.R.      10/5/2020    1/24/2022         1                  X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1089563-02     Y.C.     10/20/2020     8/6/2021         2                  X                                                 X          X             X           X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1089611-02      I.S.    10/15/2020   12/22/2020         3                  X                    X             X              X          X             X           X      6                                  X              X            X               X               X              X                 X                 X                X
 1089614-01     D.C.      10/2/2020    2/19/2021         1                  X                                                 X          X                         X      2     X                            X                           X                               X              X                 X                 X                X
 1089640-01     S.T.      10/8/2020    2/15/2021         1                  X                    X                            X          X                         X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1089652-01     J.R.     10/15/2020    2/17/2021         9                  X                    X                            X          X                         X      2     X                            X                           X                               X              X                 X                 X                X
 1089658-04     A.F.     10/12/2020    3/22/2021         1                  X                                                 X          X                         X      3     X     X                                     X            X                               X              X                 X                 X                X
 1089734-02     F.K.       9/3/2020     1/8/2021         1                  X                                                 X          X                         X      9     X     X        X                            X            X                               X                                                  X
 1089744-03     O.M.      10/5/2020    4/21/2021         1                  X                    X             X              X          X             X           X      6     X     X        X             X              X            X               X               X              X                 X                 X                X

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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




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                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




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                                                                                                            Acupuncture




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                                                                                                                                                    EDx Testing




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                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1089745-02     F.S.      10/5/2020    1/13/2021            1               X                    X             X              X          X             X           X      3                                  X                           X                                              X                 X                 X                X
 1089783-02     N.V.      9/25/2020    7/17/2021            1               X                    X                            X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1089842-01     L.L.      9/27/2020    11/6/2021            2               X                    X             X              X          X             X           X     13                                  X                           X                               X              X                 X                 X                X
 1089842-02     L.R.      9/27/2020     1/8/2022            2               X                    X             X              X          X             X           X     14                                  X                           X                               X              X                 X                 X                X
 1089851-01     O.K.      10/8/2020    3/16/2021            1               X                    X             X              X          X                         X      7           X        X             X              X            X                               X              X                 X                 X
 1089882-03     M.V.     10/25/2020     5/3/2021            1               X                                                 X          X                         X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1089903-01     E.F.     10/17/2020    3/20/2021            1               X                    X                            X          X             X           X     16     X     X        X                            X                                                           X                 X                 X
 1089917-01     I.M.      9/30/2020    6/25/2021            2               X                    X                            X          X             X           X     13     X                            X                           X                               X              X                 X                 X                X
 1090009-01     F.S.     10/24/2020     2/9/2021            1               X                    X             X              X          X                         X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1090023-02     G.G.     10/23/2020     8/1/2021            1               X                    X             X              X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1090026-01     S.C.     10/20/2020    9/17/2021            1                                                                 X                                    X      2           X                      X              X            X                               X              X                                   X
 1090061-02     A.G.     10/12/2020   12/23/2020            1               X                    X             X              X          X             X           X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1090062-02     D.P.     10/27/2020    2/28/2021            2               X                    X             X              X          X             X           X      2                                  X                           X               X                              X                 X                 X                X
 1090066-01     K.A.     10/26/2020    3/16/2021            1               X                    X                            X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1090068-01     J.R.     10/13/2020     1/9/2021            1               X                    X                            X          X                         X     17     X     X        X                            X            X                                              X                 X                 X
 1090080-01     J.M.     10/29/2020    1/14/2021            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                                              X                 X                 X                X
 1090080-03     E.G.     10/29/2020    1/14/2021            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                                              X                 X                 X                X
 1090083-02     W.F.     10/14/2020   11/23/2021            1               X                                                 X          X             X           X      4     X     X                                     X            X                               X                                X                 X                X
 1090085-01     C.L.     10/16/2020     2/3/2021            1               X                    X             X              X          X                         X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1090105-04     L.J.     10/26/2020    2/11/2021            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1090110-02     S.J.     10/26/2020    1/15/2021            2               X                                  X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1090128-02     K.R.     10/31/2020   12/30/2020            2               X                    X             X              X          X             X           X     11                                  X                           X                               X              X                 X                 X                X
 1090128-03     J.H.     10/31/2020   12/30/2020            3               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1090132-02     C.N.     10/29/2020    6/14/2021            1               X                    X                            X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1090149-05     A.A.     10/28/2020    3/17/2022            1               X                    X                            X          X             X           X      6     X     X        X                            X            X               X               X              X                 X                 X                X
 1090172-01     S.M.     10/30/2020     2/8/2021            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1090180-02     S.W.      11/3/2020    1/19/2021            3               X                    X                            X          X             X           X     14     X                            X                           X               X               X              X                 X                 X                X
 1090230-02     T.M.     10/29/2020     5/5/2021            2               X                    X                            X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1090239-02     B.C.     10/21/2020   12/14/2020            1               X                    X                            X          X                         X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1090246-01     R.G.     10/18/2020   11/15/2021            1               X                                                 X          X                         X      3           X                      X              X            X                               X              X                 X                 X                X
 1090278-02     J.B.     10/29/2020     9/9/2021            2               X                    X                            X          X             X           X      8           X        X                            X            X                               X                                X                 X                X
 1090287-01     S.M.     10/30/2020    3/18/2021            1               X                    X                            X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1090308-01     F.G.      9/28/2020    2/11/2021            5               X                    X                            X          X                         X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1090341-02     V.R.     10/12/2020    2/15/2021            1               X                    X                            X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1090347-02     A.R.      11/3/2020    1/23/2021            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1090347-04     A.M.      11/3/2020    1/23/2021            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1090349-02     T.T.     10/17/2020   12/18/2020            1               X                    X                            X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1090367-01     M.S.     10/29/2020     1/8/2021            2               X                                                 X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X
 1090399-01     M.H.      11/6/2020    3/29/2021            1               X                                                 X          X             X           X      3     X                            X              X            X                                                                X                 X                X
 1090400-02     M.P.     10/29/2020     5/4/2021            2               X                    X             X              X          X             X           X      5                                  X                           X               X               X              X                 X                 X                X
 1090430-01     W.A.     10/18/2020     3/3/2021            1               X                    X             X              X          X                         X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1090436-01     W.Q.     10/13/2020   12/18/2020            2               X                    X                            X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1090439-02     A.W.     10/13/2020     1/6/2021            1               X                                                 X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1090459-01     J.R.     10/22/2020     1/7/2021            1               X                    X                            X          X             X           X      3     X                            X                           X               X               X              X                 X                 X                X

                                                                                                                                                 68 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                       1518
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
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                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1090470-02     Y.H.     10/27/2020   12/29/2020            1               X                    X                            X          X                         X      5                                                              X                               X              X                 X                                  X
 1090495-01     Z.A.      11/7/2020    4/27/2021            1               X                    X             X              X          X             X           X      3                                  X                                           X               X              X                 X                 X                X
 1090505-01     J.O.     10/26/2020    2/14/2021            3               X                                                 X          X                                0                                  X                           X                               X              X                 X                                  X
 1090518-02     G.M.     10/19/2020    2/23/2022            1               X                    X                            X          X             X           X      5     X     X        X             X              X            X               X               X              X                 X                 X                X
 1090582-01     A.K.      11/9/2020    8/10/2023            1               X                                                 X          X                         X      5     X     X                                     X            X               X               X              X                 X                 X                X
 1090592-02     A.M.     10/19/2020    7/21/2021            1               X                                                 X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1090593-02     M.A.      11/6/2020    1/31/2021            1               X                    X             X              X          X             X           X      4                                  X                           X                               X              X                 X                 X                X
 1090595-02     N.O.      9/17/2020    4/15/2021            2               X                    X             X              X          X             X           X      5     X     X                                     X            X                               X              X                 X                 X                X
 1090595-05     E.O.      9/17/2020    2/15/2021            1               X                    X             X              X          X             X           X      3     X     X                                     X            X                               X              X                 X                 X                X
 1090620-04     M.S.     10/20/2020     2/3/2021            1               X                    X             X              X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1090622-04     F.B.      11/1/2020    2/11/2021            1               X                    X                            X          X             X           X      2                                  X                           X                               X              X                 X                                  X
 1090622-06     D.M.      11/1/2020    4/29/2021            1               X                    X                            X          X             X                  0                                  X                           X                               X              X                 X                                  X
 1090626-01     K.J.     11/11/2020    10/6/2022            1               X                                                 X          X             X           X     11                                  X                           X               X               X              X                 X                 X                X
 1090628-01     S.H.      11/8/2020     1/8/2021            2               X                    X             X              X          X             X           X      5           X                      X                           X               X               X              X                 X                 X                X
 1090665-02     K.D.     11/10/2020   12/13/2020            6               X                    X             X              X          X             X           X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
 1090710-02     T.M.      8/22/2020   10/23/2020            1               X                                                 X                                           0                                                 X                                                           X                 X                 X
 1090751-02     H.A.      11/5/2020     1/4/2021            6               X                    X                            X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1090751-04     T.R.      11/5/2020    1/31/2021            4               X                    X                            X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1090764-01     M.A.      9/17/2020    1/25/2021            1               X                                                 X                        X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1090766-02     E.R.      11/2/2020    12/5/2020            1               X                                                 X          X                         X      7     X     X                                     X            X                               X              X                 X                 X                X
 1090790-02     S.G.     11/19/2020    1/15/2021            3               X                    X             X              X          X             X           X      6     X     X        X                            X            X               X               X              X                 X                 X                X
 1090798-02     M.B.     10/31/2020     1/7/2021            1               X                                                 X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X
 1090805-02     D.C.     11/17/2020    6/11/2021            1               X                                                 X          X                         X      6     X     X                                     X            X                                              X                 X                 X
 1090809-01     S.F.     11/10/2020    2/16/2021            2               X                    X                            X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1090828-02     C.F.     10/23/2020    1/16/2021            1               X                    X                            X                        X           X      1                                  X                           X                                              X                 X                 X                X
 1090838-01     D.T.     11/17/2020    1/20/2021            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1090841-01     F.O.      11/5/2020    5/14/2021            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1090886-03     L.G.     11/10/2020    4/22/2021            3               X                    X                            X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1090895-02     L.M.     11/13/2020    2/28/2021            1               X                    X             X              X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1090918-01     N.J.     11/23/2020    5/12/2022            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1090937-01     J.B.      11/4/2020    1/26/2021            1               X                    X                            X          X                         X     10     X              X             X              X            X               X               X              X                 X                 X                X
 1090947-01     J.D.     11/19/2020     4/8/2021            1               X                    X             X              X          X                         X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1090997-02     C.D.     10/24/2020    2/14/2021            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1091010-02     S.E.     11/12/2020    5/13/2021            1               X                    X                            X          X             X           X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1091010-05     C.M.     11/12/2020   11/10/2021            1               X                    X                            X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1091012-02     R.C.     11/19/2020     5/3/2021            1               X                                  X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1091037-01     S.N.     11/12/2020    7/31/2021            1               X                    X                            X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1091037-02     N.U.     11/12/2020    2/20/2021            1               X                    X                            X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1091037-03     R.B.     11/12/2020    3/23/2021            3               X                    X                            X          X             X           X     23     X     X        X             X              X            X               X               X              X                 X                 X                X
 1091037-04     J.S.     11/12/2020    1/26/2021            2               X                    X                            X          X             X           X     18     X     X        X             X              X            X               X               X              X                 X                 X                X
 1091040-02     K.F.      11/5/2020     4/1/2021            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                                   X                X
 1091044-01     K.K.     11/26/2020    6/12/2021            3               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                                  X
 1091066-01     Z.L.     11/27/2020    1/15/2021            1               X                                                 X          X             X           X      6     X     X                                     X            X                                              X                 X                 X                X
 1091087-02     I.W.      11/7/2020     5/3/2022            1               X                                  X              X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X

                                                                                                                                                 69 of 133                                                                                                                                                                             Exhibit 1
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
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                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1091161-01     L.C.     11/21/2020    2/12/2021            1               X                    X             X              X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1091161-03     J.P.     11/21/2020    4/24/2021            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1091173-01     A.M.     11/28/2020    2/22/2021            1               X                    X                            X          X             X           X     26     X     X        X             X              X            X               X               X              X                 X                 X                X
 1091174-02     K.R.      11/3/2020     2/3/2021            4               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1091179-02     M.G.      11/4/2020    3/19/2021            3               X                                                 X          X             X           X      9     X     X                      X              X            X                               X              X                 X                 X                X
 1091181-01     O.E.      11/7/2020    1/12/2021            1               X                    X                            X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X
 1091218-02     B.M.     11/11/2020    3/29/2021            1               X                    X             X              X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1091218-04     R.V.     11/11/2020    4/19/2021            1               X                    X             X              X          X             X           X      6     X     X                                     X            X                               X              X                 X                 X                X
 1091225-01     J.P.     11/27/2020    1/14/2021            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                                              X                 X                 X                X
 1091225-02     V.V.     11/27/2020    1/14/2021            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                                              X                 X                 X                X
 1091237-01     A.B.      12/1/2020    2/27/2021            5               X                    X                            X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1091267-01     C.E.      11/9/2020     4/8/2021            3               X                    X                            X          X             X           X     19     X     X        X             X              X            X               X               X              X                 X                 X                X
 1091284-01     S.C.     11/21/2020    1/19/2021            1               X                    X             X              X          X                         X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1091346-01     B.K.     11/25/2020     2/8/2021            3               X                    X             X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1091362-01     J.B.     10/22/2020   10/15/2021            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1091395-02     G.T.      12/1/2020    3/25/2021            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1091406-01     A.Q.     11/19/2020     4/6/2021            1               X                    X                            X          X             X           X     24     X     X        X             X              X            X               X               X              X                 X                 X                X
 1091422-04     K.G.      11/9/2020    7/13/2021            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1091433-01     W.O.      12/5/2020    3/27/2021            1               X                    X                            X          X             X           X     15     X     X        X                            X            X                                              X                 X                 X
 1091463-02     D.B.     11/16/2020     3/1/2021            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1091465-02     C.L.     11/28/2020    4/27/2022            2               X                                                 X          X             X           X      9           X        X                            X            X                               X              X                 X                 X                X
 1091473-02     S.H.     11/18/2020    9/22/2021            1               X                    X                            X          X                         X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1091513-02     M.C.     11/21/2020    4/14/2021            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1091521-02     V.D.     11/20/2020    7/19/2021            1               X                    X                            X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1091591-01     J.Q.      10/6/2020     1/5/2021            1                                                                 X                                           0                                                              X                               X              X                 X                                  X
 1091640-01     A.V.     11/13/2020    9/24/2021            6               X                                                 X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1091659-02     G.F.     11/22/2020     4/9/2021            1               X                    X             X              X          X             X           X     11                                                              X                               X              X                 X                 X                X
 1091672-01     Z.R.      12/2/2020    4/29/2021            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1091733-03     D.L.     12/13/2020   10/18/2021            1               X                    X                            X          X                         X      1                                  X                           X               X               X              X                 X                                  X
 1091739-01     D.M.     12/11/2020    1/29/2021            1               X                                                 X                                    X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1091838-02     J.M.     11/20/2020    5/10/2021            1               X                    X                            X          X             X           X      5           X                      X                                           X               X              X                 X                 X                X
 1091850-02     A.S.     12/14/2020    9/15/2021            1               X                    X                            X          X             X           X      5           X        X                            X            X                               X              X                 X                 X                X
 1091858-01     J.R.      12/5/2020    3/24/2021            2               X                                                 X          X             X           X      9     X     X                                     X            X                               X              X                 X                 X                X
 1091876-01     S.M.     12/10/2020     3/5/2021            2               X                    X                            X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1091894-02     S.H.     11/23/2020     3/5/2021            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1091898-01     X.L.      12/9/2020    11/8/2021            1               X                    X             X              X          X                         X     16           X        X                            X                                                           X                 X                 X
 1091911-03     K.D.     12/11/2020     3/8/2021            2               X                    X                            X          X             X           X     10     X     X                      X              X            X                               X              X                 X                 X                X
 1091914-01     A.T.      12/2/2020     2/6/2021            3               X                                  X              X          X                         X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1091916-01     J.L.     12/13/2020    4/19/2021            1               X                                                 X                        X                  0                                  X                           X               X               X              X                 X                 X                X
 1091935-01     P.B.      12/3/2020     3/2/2021            3               X                    X             X              X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1091942-02     J.Q.      12/4/2020   10/26/2021            1               X                    X                            X          X                         X      9           X        X             X              X                                            X              X                 X                 X                X
 1091950-01     M.M.      12/9/2020     2/2/2021            1               X                    X                            X          X             X           X      5           X        X                            X            X                                              X                 X                 X
 1091964-01     A.J.     12/15/2020    5/14/2021            1               X                    X             X              X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1091964-02     S.C.     12/15/2020    5/27/2021            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X

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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




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                                                                                                                                                                         DME Devices




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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




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                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1091972-01     J.T.     12/15/2020     3/4/2021            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1091975-01     E.P.     11/28/2020    7/30/2021            1               X                                  X              X          X             X           X     11     X     X                      X              X            X                               X              X                 X                 X                X
 1091978-03     T.H.     12/12/2020    3/18/2021            2               X                                  X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1091982-02      S.I.    12/17/2020   10/20/2021            5               X                    X                            X          X             X           X      6     X              X             X              X            X                               X              X                 X                 X                X
 1091983-02     M.C.     12/13/2020     2/8/2021            1               X                    X                            X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1091995-01     H.C.      12/6/2020    5/22/2021            2               X                    X             X              X          X             X           X      4                                  X              X            X                               X              X                 X                 X                X
 1092013-04     C.M.      12/3/2020    3/27/2021            1               X                    X                            X          X             X           X     21     X     X        X                            X            X                                              X                 X                 X                X
 1092019-01     A.M.      12/5/2020    1/21/2021            1               X                                                 X          X             X           X      8     X     X        X                            X                                            X              X                 X                 X
 1092035-01     S.Q.      12/4/2020    2/10/2021            2               X                    X             X              X          X             X           X     22     X     X        X             X              X            X                                              X                 X                 X                X
 1092055-04     J.F.      12/9/2020    3/28/2021            1               X                                  X              X          X             X           X     15     X     X        X             X              X            X               X               X              X                 X                 X                X
 1092077-02     A.M.     11/25/2020     3/1/2021            3               X                    X                            X          X             X           X     17     X     X        X             X              X            X               X               X              X                 X                 X                X
 1092087-01     A.C.     11/23/2020    5/14/2021            1               X                                                 X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1092121-01     F.F.      12/7/2020    4/30/2021            1               X                                                 X          X             X           X     14     X     X        X             X              X            X               X               X              X                 X                 X                X
 1092136-01     B.C.     11/28/2020    3/12/2021            2               X                    X                            X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1092136-04     Y.C.     11/28/2020    3/12/2021            4               X                    X                            X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1092146-01     Z.A.     12/12/2020    2/19/2021            1               X                    X                            X          X             X           X      9     X     X                      X              X            X                               X              X                 X                 X                X
 1092149-01     L.W.     12/16/2020    6/28/2021            2               X                    X             X              X                        X           X      2                                  X                           X               X               X              X                 X                 X                X
 1092149-02     A.B.     12/16/2020    8/19/2021            1               X                                  X              X          X             X           X     16     X     X        X             X              X            X                                              X                 X                 X                X
 1092156-01     J.C.     11/29/2020     6/7/2021            1                                                                 X                                    X      7     X     X                                     X                                                                                               X
 1092160-02     Y.V.      11/8/2020    8/13/2021            1               X                    X                            X          X             X           X      9     X              X             X              X            X                               X              X                 X                 X                X
 1092166-01     Y.Z.     12/14/2020    3/12/2021            2               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                                  X
 1092179-01     I.O.     12/15/2020     8/2/2021            1               X                                  X              X          X                         X     15     X     X                      X                           X               X               X              X                 X                 X                X
 1092184-01     J.R.     12/23/2020    2/12/2021            5               X                                  X              X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1092209-02     S.F.     12/17/2020    5/11/2021            2               X                                  X              X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1092215-01     N.L.     12/26/2020    4/30/2021            1               X                                  X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1092272-01     F.L.      12/3/2020    2/21/2021            1               X                                                 X          X             X           X     14     X     X        X             X              X            X               X               X              X                 X                 X                X
 1092289-02     L.S.     12/18/2020     2/8/2021            3               X                    X                            X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1092334-01     A.S.     12/23/2020    2/11/2021            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                                              X                 X                 X                X
 1092337-02     J.M.      12/7/2020    2/26/2021            1               X                    X                            X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1092345-02     M.F.     12/13/2020    9/21/2021            1               X                                                 X                        X           X      1                                  X                           X                               X              X                 X                 X                X
 1092347-01     A.R.     12/15/2020    2/19/2021            2               X                    X             X              X          X             X           X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1092375-02     A.P.     11/11/2020     4/2/2021            4               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1092402-02     E.D.     12/25/2020     2/4/2021            2               X                    X                            X          X             X                  0                                  X                           X                               X              X                 X                                  X
 1092421-01     C.L.     12/29/2020    7/19/2021            3               X                    X             X              X          X             X           X      6     X     X        X             X              X            X               X               X              X                 X                 X                X
 1092421-02     D.L.     12/29/2020     8/9/2021            2               X                    X             X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1092426-01     C.B.     12/29/2020    2/11/2021            1               X                    X             X              X          X                         X      6     X     X                                     X            X                               X              X                 X                 X                X
 1092489-01     M.L.       1/2/2021    4/19/2021            4               X                                                 X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1092520-02     M.B.     12/17/2020    4/12/2021            1               X                    X             X              X          X             X           X      5     X     X                                     X            X                               X              X                 X                 X
 1092530-01     Q.S.      12/2/2020    1/28/2021            1               X                                                 X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1092537-01     A.S.      11/9/2020    5/20/2021            1               X                    X                            X          X             X           X     15     X     X        X             X              X            X                                              X                 X                 X                X
 1092540-02     E.L.      12/8/2020     4/7/2021            1               X                                                 X          X                         X     11     X     X        X                            X                                            X                                                  X
 1092549-02     P.Q.     12/31/2020    7/29/2021            3               X                                                 X          X             X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1092560-01     M.I.     12/23/2020    4/14/2021            2               X                                  X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1092582-01     R.E.     12/30/2020     3/8/2021            2               X                    X                            X          X             X           X     20     X     X                      X                           X               X               X              X                 X                 X                X

                                                                                                                                                 71 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                       1521
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1092592-01     B.L.     12/26/2020    4/15/2021            1               X                    X             X              X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1092625-01     H.B.     12/23/2020    3/23/2021            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X
 1092643-01     M.R.       1/1/2021    3/16/2021            2               X                    X             X              X          X             X           X     22     X     X        X             X              X            X               X               X              X                 X                 X                X
 1092654-01     M.H.       1/2/2021    8/16/2021            3               X                    X             X              X          X             X           X     19     X     X        X                            X            X               X               X              X                 X                 X                X
 1092728-01     L.G.     12/20/2020     2/6/2021            4               X                    X                            X          X             X           X      5     X                            X                           X               X               X              X                 X                 X                X
 1092728-02     M.M.     12/20/2020     2/6/2021            2               X                    X                            X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1092729-01     N.B.     12/31/2020    8/20/2021            1               X                                                 X          X             X           X      7           X                                     X            X                               X              X                 X                 X                X
 1092743-01     S.O.     12/26/2020   12/14/2021            1               X                    X                            X          X                         X      2                                  X                           X               X               X              X                 X                 X                X
 1092748-03     S.T.     12/26/2020     6/3/2021            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1092749-01     J.B.     12/20/2020    4/12/2021            1               X                    X             X              X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X
 1092770-01     R.R.     12/27/2020    4/13/2021            1               X                    X             X              X          X                         X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1092775-02     G.E.     12/23/2020    9/13/2022            1               X                    X             X              X          X             X           X      8     X              X                            X            X                               X              X                 X                 X                X
 1092788-02     C.P.       1/7/2021     5/9/2021            5               X                    X                            X          X             X           X      2     X                            X              X            X               X               X              X                 X                 X                X
 1092876-01     M.A.     12/24/2020    7/11/2021            2               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1092910-02     G.G.       1/4/2021    6/17/2021            1               X                    X                            X          X             X           X     11     X     X                                     X            X                                              X                 X                 X                X
 1092978-01     R.G.     12/20/2020    4/23/2021            1               X                                                 X          X             X           X      7           X        X                            X            X                               X              X                 X                 X                X
 1093012-02     A.O.     12/24/2020    7/16/2021            1               X                    X                            X          X                         X      9     X     X                      X              X                                            X                                X                 X
 1093018-01     C.P.      1/12/2021    3/13/2021            2               X                    X                            X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1093027-01     L.C.      1/13/2021    2/14/2021            1               X                    X                            X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1093031-02     E.W.       1/9/2021    2/27/2021            4               X                                  X              X          X             X           X      2                                  X                           X               X               X              X                 X                                  X
 1093052-01     K.V.       1/1/2021    2/13/2023            1                                                                 X          X                         X      1     X                                           X            X                               X                                                  X
 1093069-01     A.P.       1/3/2021    5/20/2021            1               X                    X                            X          X             X           X     13     X     X                      X              X            X               X               X              X                 X                 X                X
 1093070-01     G.P.     12/30/2020     3/7/2021            2               X                    X                            X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1093105-04     R.E.     12/20/2020    2/24/2021            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1093122-01     S.S.       1/7/2021    4/11/2021            1               X                    X                            X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1093148-01     F.G.       1/3/2021    3/26/2021            1               X                                                 X          X             X           X      4     X     X                      X                                                           X              X                 X                 X                X
 1093160-04     M.B.      12/8/2020    9/27/2021            1               X                    X                            X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1093163-01     M.R.     12/31/2020    3/18/2021            1               X                    X                            X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1093163-02     T.P.     12/31/2020     5/6/2021            1               X                    X                            X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1093184-01     A.P.      1/16/2021   11/19/2021            1               X                    X                            X          X             X           X     10                                                              X                               X              X                 X                 X                X
 1093256-01     E.G.       1/7/2021    2/20/2021            1               X                                                 X          X                         X      5           X        X             X              X            X                               X              X                 X                 X                X
 1093292-01     K.A.      1/10/2021     5/2/2021            2               X                    X             X              X          X             X           X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1093310-01     S.S.       1/6/2021   10/10/2022            1               X                    X                            X          X             X           X      9                                  X                           X                               X              X                 X                 X                X
 1093314-02     S.S.     12/21/2020    4/29/2021            4               X                                  X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1093316-02     G.R.      1/19/2021     3/4/2021            1               X                    X             X              X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1093326-02     S.P.     10/29/2020     5/4/2021            1                                                                 X          X                         X      7           X        X             X              X            X                               X                                                  X
 1093367-01     D.A.       1/7/2021     4/3/2021            2               X                                                 X          X                         X     14     X     X        X             X              X            X               X               X              X                 X                 X                X
 1093382-01     C.C.      1/20/2021    7/15/2021            2               X                    X                            X          X             X           X     22           X        X             X              X            X                               X              X                 X                 X                X
 1093390-01     D.S.      1/23/2021   10/15/2022            1               X                    X             X              X          X             X           X     18     X              X                            X            X               X               X              X                 X                 X                X
 1093439-02     S.C.      1/20/2021     1/5/2022            1               X                    X                            X                                    X      4     X                                                        X                               X              X                 X                 X                X
 1093507-02     M.K.     12/30/2020    4/30/2021            1               X                                  X              X          X             X           X     15     X     X        X             X              X            X                               X              X                                   X                X
 1093509-02     E.L.      1/21/2021    5/21/2021            2               X                    X                            X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1093515-02     C.C.     12/16/2020    2/23/2021            1               X                                                 X          X                         X      9     X     X        X                            X            X                                                                X                 X
 1093565-01     J.L.      1/22/2021    8/24/2021            1               X                                                 X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X

                                                                                                                                                 72 of 133                                                                                                                                                                             Exhibit 1
                            Case 1:24-cv-08606-JRC                                                          Document 1-4 Filed 12/17/24                                                Page 75 of 580 PageID #:
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1093577-02     B.B.      1/17/2021    4/26/2021            3               X                    X                            X          X             X           X     22     X     X        X             X              X            X               X               X              X                 X                 X                X
 1093611-02     A.O.      1/30/2021    9/13/2021            1               X                    X             X              X          X             X           X     10     X     X                      X              X            X                               X              X                 X                 X                X
 1093640-01     H.M.      1/28/2021    6/22/2022            1               X                                  X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1093656-02     J.R.       2/2/2021    3/25/2021            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                                              X                 X                 X                X
 1093671-01     V.H.       1/9/2021   11/30/2021            1               X                                                 X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1093706-01     A.A.       1/3/2021    9/28/2021            1               X                                                 X          X             X           X      8           X        X                            X            X                               X              X                 X                 X                X
 1093720-01     S.B.      1/26/2021     8/3/2021            1               X                    X                            X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1093720-02     R.P.      1/26/2021    2/20/2022            1               X                    X                            X          X                                0                                                              X                               X              X                 X                 X                X
 1093791-01     S.P.       2/1/2021    4/19/2021            1               X                    X             X              X          X             X           X     10     X     X                                     X            X                               X              X                 X                 X                X
 1093812-01     S.A.       2/8/2021    5/22/2021            3                                                                 X                        X                  0                                                              X                               X              X                 X                 X                X
 1093832-03     M.G.      1/19/2021    1/23/2022            2               X                    X             X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1093854-01     T.J.      1/26/2021     5/3/2021            4               X                    X                            X          X             X           X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
 1093856-01     L.M.      1/13/2021     6/5/2021            1               X                    X                            X          X                         X      5           X        X                            X            X                                              X                 X                 X                X
 1093869-01     J.M.      1/26/2021    3/13/2021            2               X                    X                            X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1093873-01     O.C.       2/6/2021    3/18/2021            2               X                    X             X              X          X                         X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1093873-02     G.X.       2/6/2021    5/27/2021            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                                              X                 X                 X                X
 1093897-01      F.J.     1/15/2021   10/16/2021            5               X                                  X              X                        X           X     10     X     X        X                            X            X               X               X              X                 X                 X                X
 1093898-02     T.M.      1/14/2021    6/16/2021            3               X                    X                            X          X             X           X     17     X     X        X             X              X            X               X               X              X                 X                 X                X
 1094000-01      J.P.     1/13/2021    4/24/2021            1               X                    X                            X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1094041-01     M.W.      1/16/2021    8/12/2021            1               X                    X             X              X          X             X           X      5                                  X                                           X               X              X                 X                                  X
 1094042-01      J.P.     2/10/2021     4/1/2021            3               X                    X             X              X          X             X           X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
 1094090-01     R.H.       2/8/2021     7/2/2021            1               X                                                 X          X             X           X      9           X                                     X            X                               X              X                 X                 X                X
 1094090-04     A.P.       2/8/2021     7/9/2021            2               X                                                 X          X             X           X      4     X     X                      X              X            X               X               X              X                 X                 X                X
 1094126-01     J.L.      1/24/2021     3/4/2021            2               X                                                 X          X             X           X      2                                  X                           X               X               X              X                 X                                  X
 1094141-01     G.B.     12/17/2020    6/11/2021            1                                                                                                      X      7     X     X        X                            X            X                               X              X                 X                 X
 1094157-01     B.K.      2/12/2021    3/11/2021            1               X                                                 X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1094206-02     N.F.       2/6/2021    4/19/2011            1               X                                  X              X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1094219-02     L.L.      1/22/2021   11/27/2021            1               X                    X                            X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1094233-01     O.L.      2/10/2021    4/16/2021            2               X                                                 X          X             X           X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1094271-02     L.T.       2/5/2021    4/25/2021            5               X                    X             X              X          X             X           X     25     X     X        X             X              X            X               X               X              X                 X                 X                X
 1094290-01     M.B.      1/27/2021     6/2/2021            2               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1094291-01     C.P.       2/7/2021     6/4/2021            1               X                    X             X              X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X
 1094292-02     M.K.       2/6/2021    4/22/2021            1               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1094293-02     Q.M.      2/13/2021    1/17/2022            1               X                    X             X              X          X             X           X     14     X                                                                        X               X              X                 X                 X                X
 1094298-02     E.R.      1/23/2021    3/29/2022            3               X                    X                            X          X             X           X     15     X              X             X              X            X               X               X              X                 X                 X                X
 1094315-05     J.W.       2/8/2021    3/14/2021            2               X                    X             X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1094317-01     N.A.      1/26/2021    5/10/2021            2               X                    X                            X          X             X           X      7     X                            X                           X               X               X              X                 X                 X                X
 1094334-01     J.M.      1/24/2021    5/13/2021            1               X                                  X              X          X                         X      8     X     X                                     X                                            X              X                 X                 X                X
 1094350-02     M.M.      2/13/2021     5/3/2021            1               X                    X                            X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1094353-01     K.C.      2/20/2021    6/15/2021            1               X                                  X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1094354-03     R.L.      2/18/2021    5/14/2021            4               X                    X             X              X          X             X           X      5                                  X              X            X               X               X              X                 X                 X                X
 1094356-04     P.A.      2/13/2021   10/13/2021            1               X                    X             X              X          X                         X      4     X                            X                           X                               X              X                 X                 X                X
 1094389-02     A.G.      2/15/2021    7/13/2021            1               X                    X                            X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X
 1094394-01     T.H.      1/26/2021    9/25/2021            3               X                    X             X              X          X             X           X      9     X     X                                     X            X                               X              X                 X                 X                X

                                                                                                                                                 73 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                      1523
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




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                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1094437-01     C.V.      2/3/2021    4/20/2021            1               X                    X                            X          X             X           X      7           X        X             X              X            X                               X              X                 X                 X
 1094461-01     A.S.     2/21/2021    4/23/2021            1               X                    X                            X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1094494-02     A.J.     2/16/2021    5/28/2021            1               X                                                 X          X             X           X      7           X        X             X              X            X                                              X                 X                 X                X
 1094503-05     M.P.      2/5/2021    3/22/2021            1               X                    X                            X          X             X           X     10           X        X                            X            X                               X              X                 X                 X                X
 1094503-06     F.P.      2/5/2021    3/22/2021            1               X                    X                            X          X             X           X      9           X        X                            X            X                               X              X                 X                 X                X
 1094505-02     C.H.     2/15/2021    4/18/2021            1               X                    X                            X          X             X           X     15     X              X             X              X            X                               X              X                 X                 X                X
 1094513-01     P.B.     2/11/2021   10/13/2021            2               X                    X                            X          X             X           X     14           X        X             X              X            X               X               X              X                 X                 X                X
 1094524-01     E.L.      2/5/2021     5/2/2021            3               X                    X             X              X          X             X           X      5     X                            X                           X               X               X              X                 X                 X                X
 1094524-02     M.L.      2/5/2021     5/2/2021            4               X                    X             X              X          X             X           X     11     X     X                      X              X            X               X               X              X                 X                 X                X
 1094531-02     S.T.      2/4/2021    5/26/2022            1               X                    X                            X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1094540-02     J.W.     1/31/2021    5/23/2021            1               X                    X             X              X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1094556-01     F.B.     2/25/2021     5/9/2021            1               X                                  X              X                                    X     15     X                                                        X               X               X              X                 X                 X                X
 1094619-01     R.V.     2/24/2021    1/29/2023            1               X                    X                            X          X                         X     15     X                            X                           X               X               X              X                 X                 X                X
 1094622-01     S.S.      2/4/2021   11/20/2022            1               X                    X                            X          X             X           X      2                                                              X                                              X                 X                 X                X
 1094642-01     J.L.     2/23/2021    9/13/2021            1               X                    X             X              X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1094696-02     K.D.     2/22/2021    7/10/2021            3               X                    X                            X          X                         X      5                                  X                           X               X               X              X                 X                 X                X
 1094699-05     M.N.     2/13/2021    8/21/2021            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1094717-02     L.F.      3/2/2021    5/25/2021            3               X                                  X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1094719-01     J.D.      2/7/2021    6/26/2021            1               X                    X                            X          X             X           X     14     X     X        X                            X            X                                              X                 X                 X                X
 1094748-02     G.C.     2/26/2021     6/1/2021            1               X                    X                            X          X             X           X     11     X     X        X             X              X            X                               X                                X                 X                X
 1094755-01     J.C.     2/26/2021    7/16/2021            1               X                                                 X          X             X           X      6     X     X                      X              X            X                                                                X                 X                X
 1094758-04      S.J.    2/14/2021    6/18/2021            1               X                                  X              X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1094778-05     H.W.      3/3/2021    8/26/2022            1               X                                                 X          X                         X     11     X     X        X                            X            X                               X                                X                 X
 1094794-01     Y.T.     2/24/2021    4/29/2021            2               X                    X                            X          X             X           X     14     X              X                            X            X               X               X              X                 X                 X                X
 1094794-02     M.P.     2/24/2021    9/27/2021            1               X                                  X              X          X             X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1094795-01     F.A.      2/3/2021     5/6/2021            1               X                                  X              X          X                         X     15     X     X                      X                           X                               X              X                 X                 X                X
 1094795-07     C.S.      2/3/2021     9/9/2021            1               X                                  X              X          X             X           X     14     X     X                                                  X                               X              X                 X                 X                X
 1094804-01     K.L.     2/12/2021    4/16/2021            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1094898-01     M.M.     2/16/2021     8/5/2021            1               X                    X                            X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1094946-02     L.M.      3/9/2021     8/5/2021            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1094979-01     E.C.     2/18/2021     6/4/2021            1               X                                                 X          X                         X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1094993-04     L.M.      3/5/2021    4/10/2021            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1095015-02     T.B.      3/8/2021    8/16/2021            1                                                                 X          X                         X      4           X                      X                           X               X               X              X                 X                 X                X
 1095022-01     E.J.      3/9/2021    8/19/2021            1                                                                 X          X                         X     30     X     X        X             X              X            X                               X              X                 X                 X                X
 1095062-02     A.E.      3/8/2021    1/14/2022            2               X                                                 X          X                                0                                                              X               X                              X                 X                                  X
 1095072-04     C.Y.     2/23/2021    5/22/2021            1               X                    X                            X          X             X           X     23     X     X        X                            X            X                               X              X                 X                 X                X
 1095105-01     J.R.      3/8/2021     7/9/2021            1               X                                                 X          X                         X      5     X     X                      X              X                                                                             X                 X
 1095109-05     N.A.     2/17/2021   10/11/2021            2               X                    X                            X                        X           X     19     X                                                        X               X               X              X                 X                 X                X
 1095129-01     A.G.     2/26/2021    4/25/2021            3               X                    X             X              X          X             X           X      5     X     X        X             X              X            X               X               X              X                 X                 X                X
 1095129-02     A.B.     2/26/2021    7/18/2021            3               X                    X             X              X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1095144-02     L.B.     2/21/2021     4/7/2021            1               X                                  X              X          X             X           X     21     X     X                      X              X                                            X              X                 X                 X                X
 1095155-03     J.N.      3/2/2021    5/23/2021            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1095162-03     P.A.     3/11/2021    3/28/2022            1               X                    X                            X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1095162-04     E.N.     3/11/2021    5/11/2021            1               X                                  X              X          X                         X     10     X                                                        X                               X              X                 X                 X                X

                                                                                                                                                74 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                       1524
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
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                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1095173-03     G.F.       3/5/2021    7/26/2021            8               X                    X             X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1095180-02     V.J.      2/19/2021    9/17/2021            1               X                                                 X          X             X           X      6     X     X                                     X                                            X                                                  X
 1095183-04     T.C.      2/20/2021    6/18/2021            1               X                                                 X          X                         X     16     X     X                                                  X                               X              X                 X                 X                X
 1095228-02     V.V.     12/18/2020    5/16/2021            1               X                                  X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1095238-02     N.S.       3/2/2021    6/11/2021            1               X                                                 X          X             X           X      5                                                              X                               X              X                 X                 X                X
 1095240-03     C.M.       3/8/2021    5/15/2021            1               X                                  X              X          X             X           X      1                                                 X            X                               X              X                 X                 X
 1095283-03     A.M.       3/1/2021    5/11/2021            1               X                    X                            X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1095290-01     X.R.      3/15/2021   10/14/2021            2               X                    X                            X          X             X           X      6     X     X                      X              X            X               X               X              X                 X                 X                X
 1095299-01     D.C.      3/15/2021    6/19/2021            1               X                                  X              X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1095334-04     K.F.       3/5/2021     4/7/2021            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1095344-01     B.G.       3/7/2021    7/20/2021            1               X                    X                            X          X             X           X      7     X     X                                     X            X                               X              X                 X                 X                X
 1095346-01     C.B.      2/27/2021    4/24/2021            1               X                    X                            X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1095379-01     C.S.      3/22/2021   10/26/2021            6               X                                                 X          X             X                  0                                  X                           X               X               X              X                 X                                  X
 1095417-01     J.G.      3/10/2021    3/17/2022            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1095431-01     R.M.      3/17/2021    7/23/2021            1               X                    X                            X          X             X           X     15     X                                           X            X                               X              X                 X                 X                X
 1095479-01      P.I.     3/15/2021    6/29/2021            1               X                    X             X              X          X             X           X      4                                  X                           X               X               X              X                 X                 X                X
 1095483-01     M.S.       3/7/2021    6/14/2021            2               X                    X             X              X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1095486-02     J.R.      2/26/2021   10/11/2021            4               X                                  X              X          X             X           X     18     X     X        X             X              X            X               X               X              X                 X                 X                X
 1095487-02     M.R.      3/18/2021    7/19/2021            1               X                                  X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1095487-03     L.M.      3/18/2021    5/21/2021            1               X                    X                            X          X             X           X     16     X     X                                     X            X                               X              X                 X                 X                X
 1095528-01     R.M.      3/18/2021    10/3/2021            3               X                                                 X          X             X           X      3                                                              X               X               X              X                 X                 X                X
 1095556-04     K.F.      3/11/2021     5/3/2021            2               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1095593-01     R.B.      3/28/2021     6/4/2021            2               X                                                 X          X             X           X      2     X                            X                           X               X               X              X                 X                 X                X
 1095628-02     S.A.      3/13/2021    5/21/2021            4               X                    X                            X          X             X           X     13     X                            X                           X               X               X              X                 X                 X                X
 1095628-03     J.M.      3/13/2021    5/21/2021            1               X                                                 X          X             X           X      9     X                                                        X                                              X                 X                 X                X
 1095660-01     K.M.      1/28/2021    4/23/2021            2                                                                 X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X
 1095675-02     S.G.       3/7/2021    6/11/2021            1               X                    X                            X          X             X           X     13     X              X             X              X            X                               X              X                 X                 X                X
 1095686-01     J.S.      3/12/2021    6/25/2021            1               X                                                 X          X             X           X     15     X                                                        X                               X              X                 X                 X                X
 1095706-01     F.C.      3/27/2021    6/29/2023            1               X                                                 X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1095729-02     F.M.       3/7/2021   12/18/2021            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X
 1095729-03     P.L.       3/7/2021     6/1/2021            4               X                    X             X              X          X             X           X     22     X     X        X             X              X            X               X               X              X                 X                 X                X
 1095748-01     N.O.      3/13/2021    6/22/2021            4               X                    X                            X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1095755-04     D.M.      3/20/2021   10/30/2021            1               X                    X                            X          X             X                  0                                                              X               X               X              X                 X                                  X
 1095761-02     E.M.      3/20/2021    6/21/2021            1               X                                  X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1095805-02     T.J.      3/19/2021     6/7/2021            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1095820-02     O.D.      3/20/2021    6/10/2021            4               X                    X                            X          X             X           X     13     X                            X                           X               X               X              X                 X                 X                X
 1095821-01     O.R.      3/30/2021     7/1/2021            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X
 1095837-05     B.Z.      3/30/2021    11/2/2021            2               X                    X             X              X          X             X           X      3     X     X                                     X            X                               X              X                 X                 X                X
 1095858-02     J.M.      3/10/2021     1/7/2022            1               X                                                 X          X                         X      8     X     X        X             X              X                                            X              X                 X                 X
 1095883-02     A.A.      3/12/2021    12/3/2021            2               X                    X                            X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1095896-03     T.L.      3/28/2021    6/18/2021            2               X                    X                            X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1095920-02     T.B.      3/22/2021    6/28/2021            1               X                    X                            X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1095961-02     A.O.      3/27/2021    5/22/2021            1               X                                  X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1095974-02     I.K.      3/31/2021    5/14/2021            3               X                    X                            X          X             X           X     11                                  X                           X               X               X              X                 X                 X                X

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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                                           Acupuncture




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                                                                                            Chiropractic




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




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                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1095988-02      I.J.     4/2/2021    8/29/2021            1               X                    X             X              X          X             X           X      5                                  X                           X                               X              X                 X                 X                X
 1096069-02     K.F.      3/7/2021   11/15/2021            2               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1096071-01     G.H.     3/30/2021     6/1/2021            2               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1096072-02     S.F.      4/1/2021    6/23/2021            2               X                    X             X              X          X             X           X      7           X                                                  X               X               X              X                 X                 X                X
 1096088-02     G.P.      4/3/2021    8/27/2021            1               X                    X                            X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1096185-01     E.D.     3/13/2021    7/17/2021            1               X                    X                            X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1096209-02     A.R.      4/3/2021     6/3/2021            2               X                                  X              X          X             X           X     21     X     X        X                            X            X               X               X              X                 X                 X                X
 1096218-01     J.C.     3/29/2021    7/24/2021            1               X                    X                            X          X             X           X     16     X     X        X                            X            X                                              X                 X                 X                X
 1096252-01     J.A.     4/11/2021   10/14/2021            3               X                                                 X          X             X           X      4     X     X                      X                           X               X               X              X                 X                 X                X
 1096261-01     D.K.      1/3/2021    12/1/2021            2               X                    X             X              X                        X           X      2                                                              X               X               X              X                 X                 X                X
 1096320-01     N.P.     3/11/2021    9/30/2021            1               X                    X                            X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1096330-01     T.S.      4/6/2021    4/29/2022            1               X                    X                            X          X             X           X      5           X                      X                           X               X               X              X                 X                 X                X
 1096360-02     C.N.     4/10/2021    2/11/2022            4               X                    X                            X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1096360-04     H.J.     4/10/2021    2/11/2022            2               X                    X                            X          X             X           X      4           X                                                  X               X               X              X                 X                                  X
 1096383-02     K.V.     3/17/2021    6/11/2021            1               X                    X                            X          X                         X      1           X                                     X            X                               X              X                 X                 X                X
 1096406-01     J.N.     3/26/2021    9/30/2021            1               X                    X             X              X          X             X           X      9                                                              X               X               X              X                 X                 X                X
 1096415-01     K.S.     3/11/2021    11/6/2021            2               X                    X             X              X          X             X           X      7     X                            X                           X                               X                                X                 X                X
 1096465-01     M.A.      4/5/2021    7/24/2021            1               X                                                 X          X             X                  0                                  X                           X               X                              X                 X                 X                X
 1096472-02     J.L.     4/17/2021    7/18/2021            3               X                    X                            X          X             X           X     19     X     X        X             X              X            X               X               X              X                 X                 X                X
 1096477-03     T.B.      4/6/2021    9/17/2021            4               X                    X                            X          X             X           X     12                                  X                           X               X               X              X                 X                 X                X
 1096509-01     M.P.     4/18/2021    3/22/2022            1               X                                                 X          X                         X      3     X              X             X              X            X                               X              X                 X                 X                X
 1096515-02     R.L.     3/27/2021    5/12/2023            1               X                                  X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1096543-01     E.J.     4/12/2021     2/2/2022            1               X                    X                            X          X             X           X     20     X              X             X              X            X                               X              X                 X                 X                X
 1096557-02     N.K.     4/16/2021    6/25/2021            4               X                    X                            X          X             X           X     15     X                            X                           X               X               X              X                 X                 X                X
 1096563-02     Y.K.     4/16/2021     7/8/2021            2               X                                                 X          X             X                  0                                                              X                               X              X                 X                                  X
 1096564-03     M.P.     4/11/2021    7/21/2021            1               X                    X                            X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1096609-02     N.I.     4/15/2021     7/1/2021            2               X                    X                            X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1096609-03     E.R.     4/15/2021     7/2/2021            2               X                    X                            X          X                         X     15     X     X        X             X              X                                            X              X                 X                 X                X
 1096646-01     S.T.     4/15/2021    6/16/2021            6               X                    X                            X          X             X           X     16     X     X        X             X              X            X               X               X              X                 X                 X                X
 1096667-01     G.M.     4/10/2021     9/3/2022            4               X                    X             X              X          X             X           X      6                                  X                           X                               X              X                 X                 X                X
 1096667-02     S.G.     4/10/2021     1/8/2022            2               X                    X             X              X          X             X           X      6           X                      X                           X               X               X              X                 X                 X                X
 1096671-01     S.G.     3/26/2021    7/14/2021            2               X                                                 X          X                         X     10     X     X        X             X              X            X                               X              X                                   X
 1096685-02     S.H.     4/15/2021    10/3/2022            1               X                    X                            X          X             X           X      4     X                            X                           X                               X              X                 X                 X                X
 1096709-02     J.M.     4/16/2021    6/29/2021            2               X                    X                            X          X             X           X     23     X              X             X              X            X                               X              X                 X                 X                X
 1096715-01     N.K.     3/12/2021    10/6/2021            1               X                                                 X          X             X           X      5     X              X                            X            X                               X              X                 X                 X                X
 1096748-01     K.R.     4/25/2021    6/11/2021            1               X                                                 X          X             X           X     12     X              X             X              X            X                               X              X                 X                 X                X
 1096770-01     M.P.     4/24/2021    7/27/2021            1               X                    X             X              X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1096783-01     R.P.     1/20/2020    2/11/2021            1               X                    X                            X                                           0                                                 X            X                                              X                 X                 X
 1096805-01     A.R.     4/14/2021    12/9/2021            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1096807-02     M.B.     3/31/2021    9/19/2022            1               X                    X                            X          X             X           X      2                    X             X              X            X                               X              X                 X                 X                X
 1096885-01     R.M.     4/12/2021     4/8/2022            1               X                    X                            X          X                         X     17     X     X                                     X            X                               X              X                 X                 X                X
 1096918-01     S.R.     4/22/2021    7/23/2021            1               X                                                 X          X             X           X      7           X        X             X              X                                            X              X                 X                 X                X
 1096921-01     S.L.     4/20/2021    7/22/2021            4               X                                  X              X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1096940-01     J.N.     4/16/2021    6/22/2021            2               X                    X                            X                        X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X

                                                                                                                                                76 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1096952-01     B.E.     4/19/2021   10/26/2021         1                  X                                                 X          X             X           X      3     X                                           X                                                           X                 X                 X                X
 1096953-01     M.M.      4/5/2021     6/1/2021         3                  X                    X                            X          X             X           X      6     X     X        X             X              X            X               X               X              X                 X                 X                X
 1096954-01     H.D.     4/12/2021    7/22/2021         1                  X                    X             X              X          X             X           X     21     X     X        X                            X            X                                              X                 X                 X                X
 1096959-01     I.B.     4/16/2021    6/20/2021         1                  X                    X                            X          X             X           X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1096992-02     J.G.     4/22/2021    6/27/2021         1                  X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1097017-02     E.F.     4/22/2021   10/26/2023         1                  X                    X                            X          X             X           X      5           X        X             X              X            X                               X              X                 X                 X                X
 1097061-07     Y.D.     4/24/2021    7/19/2021         1                  X                    X                            X                        X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1097101-01     O.M.      4/6/2021    5/22/2021         7                  X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1097125-01     J.D.     4/17/2021    8/22/2022         1                  X                    X                            X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1097142-02     B.T.     4/28/2021    9/10/2021         1                  X                    X                            X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1097143-02     S.H.     4/24/2021   11/20/2021         1                  X                    X                            X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1097172-01     L.V.      4/4/2021    9/30/2021         2                  X                    X             X              X          X                         X     22     X     X        X             X              X                            X               X              X                 X                 X                X
 1097178-01     B.Q.     4/18/2021    5/19/2022         1                  X                                                 X          X             X           X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1097178-03     N.R.     4/18/2021    5/19/2022         1                  X                    X                            X          X                         X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1097184-02     A.C.     4/12/2021    4/13/2022         3                  X                    X                            X          X             X           X     18     X     X                      X              X            X               X               X              X                 X                 X                X
 1097225-01     B.C.     4/24/2021     3/4/2022         1                  X                                                 X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1097264-01     B.R.     4/28/2021    6/16/2021         5                  X                    X             X              X          X             X           X      4     X     X        X             X              X            X               X               X              X                 X                 X                X
 1097300-01     B.Q.      5/2/2021     8/1/2022         1                  X                                                 X          X                         X      2                                                              X               X               X              X                 X                 X                X
 1097300-02     V.D.      5/2/2021    9/27/2021         2                  X                                                 X          X             X           X      3                                  X                           X                               X              X                 X                 X                X
 1097314-01     P.S.      5/7/2021     2/2/2022         2                  X                    X                            X          X             X           X      2                                                              X               X               X              X                 X                 X                X
 1097446-01     J.H.      5/8/2021    9/11/2021         3                  X                                  X              X          X             X           X     25     X     X        X             X              X            X               X               X              X                 X                 X                X
 1097490-01     R.F.     4/13/2021     8/1/2021         1                  X                    X             X              X          X                         X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1097494-01     K.C.     4/28/2021     9/1/2022         1                  X                    X             X              X          X                         X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1097496-01     I.E.     5/10/2021    11/5/2021         1                  X                    X                            X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1097534-01     E.R.     5/12/2021    7/15/2021         1                  X                    X             X              X          X             X           X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1097540-02     R.C.      5/3/2021    8/23/2021         1                  X                    X                            X          X             X           X      8     X     X                                     X            X                               X              X                 X                 X                X
 1097540-07     L.C.      5/3/2021    7/26/2021         1                  X                    X                            X          X             X           X      8           X        X             X              X            X                               X              X                 X                 X                X
 1097576-02     T.G.     4/18/2021    9/20/2021         3                  X                    X                            X          X             X           X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
 1097577-01     R.P.      5/7/2021     9/1/2021         1                  X                    X                            X          X                         X      6           X                      X                           X               X               X              X                 X                 X                X
 1097577-03     M.C.      5/7/2021    6/28/2021         1                  X                    X                            X          X             X           X      9           X        X             X              X            X                               X              X                 X                 X                X
 1097580-01     N.H.     5/13/2021    6/23/2021         3                  X                    X                            X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1097640-01     R.M.      5/6/2021    6/20/2021         1                  X                                                 X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1097651-02     K.P.     5/14/2021    9/15/2021         2                  X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1097664-02     M.T.      5/4/2021     8/4/2021        17                  X                    X             X              X          X             X                  0                                  X                           X                               X              X                 X                                  X
 1097681-01     T.B.     4/30/2021    7/15/2021         1                  X                    X             X              X          X                         X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1097681-02     D.L.     4/30/2021    6/13/2021         1                  X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1097705-01     M.M.     5/12/2021    8/31/2021         1                  X                                                 X          X             X           X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1097706-01     E.B.     5/10/2021    7/11/2021         2                  X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1097715-01     S.T.     4/23/2021    6/27/2021         3                  X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1097724-02     G.K.     4/29/2021     2/8/2022         1                  X                                                 X                                    X      6     X     X        X                            X            X                               X              X                                   X
 1097741-02     J.Z.     5/12/2021    7/23/2021         2                  X                    X             X              X          X             X           X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1097760-01     D.L.     4/23/2021    8/27/2021         1                  X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1097761-02     M.P.     4/30/2021     8/1/2021         1                                                                    X                                    X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1097768-01     C.K.     5/17/2021    4/25/2023         3                  X                    X                            X          X             X           X      2     X                            X                           X               X               X              X                 X                 X                X

                                                                                                                                                77 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1097779-02     K.H.     5/12/2021    8/10/2021            1               X                    X                            X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1097813-01     J.R.      5/5/2021   10/29/2021            2               X                                                 X          X             X           X     10                                                              X               X               X              X                 X                 X                X
 1097837-02     R.O.     5/15/2021    9/15/2021            2               X                    X             X              X          X             X           X      2                                                              X               X               X              X                 X                 X                X
 1097885-05     J.N.     5/13/2021    8/21/2021            3               X                    X                            X          X             X           X     21     X     X                                     X            X               X               X              X                 X                 X                X
 1097887-01     O.H.     4/27/2021   10/15/2021            1               X                                                 X          X             X           X      7           X                      X              X                                            X              X                 X                 X                X
 1097909-01     S.S.      5/6/2021    7/10/2021            5               X                    X             X              X          X             X           X      6     X     X                      X                           X               X               X              X                 X                 X                X
 1097920-01     S.C.     5/12/2021    7/23/2021            1               X                    X                            X          X                         X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1097920-02     C.A.     5/12/2021    8/18/2021            1               X                    X                            X          X             X           X      7     X     X                                     X            X                               X              X                                   X
 1097922-01     A.C.     4/28/2021    10/5/2023            1               X                    X                            X          X                         X      4     X     X                                     X            X                               X              X                 X                 X                X
 1097977-01     B.A.     5/19/2021   10/15/2021            1               X                    X                            X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1097979-01     B.R.      5/7/2021    6/24/2021            1               X                    X             X              X          X             X           X      6     X     X                                     X            X                                              X                 X                 X                X
 1097990-01     D.T.     4/29/2021    8/19/2021            1               X                                  X              X          X             X           X      6     X     X                                     X                                            X              X                 X                 X                X
 1098000-05     B.L.     5/14/2021   11/11/2021            1               X                    X             X              X          X             X           X      6     X     X                                     X            X                                              X                 X                 X                X
 1098035-01     I.M.     5/19/2021    8/11/2021            1               X                    X                            X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1098045-02     J.A.     4/26/2021     7/9/2021            2               X                    X                            X          X             X           X     17     X     X        X                            X            X                               X              X                 X                 X                X
 1098055-01     E.T.     5/19/2021    9/22/2021            2               X                    X                            X          X             X           X      7     X     X        X             X              X                                            X              X                 X                 X                X
 1098070-90     M.M.     5/14/2021    11/9/2021            1                                                                 X                                           0                                                              X                               X              X                                   X                X
 1098106-03     C.W.     5/12/2021    11/7/2021            2               X                    X                            X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1098229-01     E.J.     5/27/2021    8/27/2021            2               X                    X                            X          X             X           X      4                                                              X               X               X              X                 X                 X                X
 1098259-01     K.T.     5/15/2021    7/25/2021            2               X                    X                            X          X             X           X      5     X     X                                                  X               X               X              X                 X                 X                X
 1098288-02     L.J.      4/8/2021     8/8/2021            2               X                    X                            X          X                         X      2     X                                           X            X               X                              X                 X                 X                X
 1098288-05     J.S.      4/8/2021   10/20/2021            4               X                    X                            X                                           0                                  X                           X               X               X              X                 X                 X                X
 1098322-07     S.M.     5/14/2021    8/13/2021            3               X                    X                            X          X             X           X     11                                                              X               X               X              X                 X                 X                X
 1098327-03     A.B.      5/2/2021    7/19/2022            1               X                    X                            X          X             X           X      5     X              X             X              X            X                               X              X                 X                 X                X
 1098338-02     M.S.     5/30/2021    9/15/2021            1               X                    X                            X          X                         X      7           X                                     X            X                               X              X                 X                 X                X
 1098338-03     F.M.     5/30/2021    10/6/2021            1               X                    X                            X          X                         X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1098358-01     O.C.     5/25/2021   10/27/2021            4               X                                  X              X          X             X           X      2                                                              X               X               X              X                 X                 X                X
 1098367-01     X.W.     5/15/2021    7/23/2021            1               X                                                 X          X             X           X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1098377-01     Y.L.      6/1/2021    8/27/2021            1               X                                  X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1098393-01     T.L.     5/22/2021    1/21/2022            1               X                    X                            X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1098393-02     R.L.     5/22/2021    9/11/2021            1               X                    X                            X          X             X           X     19     X     X        X             X              X            X                                              X                 X                 X                X
 1098402-02     S.M.     5/15/2021    9/15/2021            2               X                                                 X          X             X           X      1                                  X                           X                                              X                 X                 X                X
 1098410-01     F.W.      5/9/2021    6/18/2021            3               X                    X                            X          X             X           X      6     X     X        X                            X            X               X               X              X                 X                 X                X
 1098450-01     D.O.      5/7/2021    7/21/2021            4               X                    X                            X          X             X           X      1                                  X                           X                               X              X                 X                                  X
 1098462-01     J.P.     5/15/2021    6/27/2021            2               X                    X                            X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1098464-02     U.V.      5/2/2021   10/15/2021            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1098473-02     T.W.      6/1/2021     8/4/2022            1               X                    X             X              X          X             X           X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1098502-01     H.K.     5/31/2021   10/19/2021            1               X                    X                            X          X             X           X      5     X                                                        X                               X              X                 X                 X                X
 1098510-01     D.W.     5/31/2021    1/30/2022            1               X                    X                            X          X                         X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1098535-01     L.N.     5/15/2021    8/31/2021            1               X                    X                            X          X                         X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1098541-01     L.S.     5/12/2021    8/10/2021            2               X                    X                            X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1098577-02     C.A.      6/5/2021    8/13/2021            4               X                    X                            X          X             X           X      3                                  X                           X               X               X              X                 X                 X                X
 1098590-02     A.K.     5/21/2021     9/8/2021            1               X                    X                            X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1098597-02     A.A.     5/20/2021    3/18/2022            1               X                                                 X          X             X           X      6     X     X        X                            X            X               X               X              X                 X                 X                X

                                                                                                                                                78 of 133                                                                                                                                                                             Exhibit 1
                            Case 1:24-cv-08606-JRC                                                          Document 1-4 Filed 12/17/24                                                Page 81 of 580 PageID #:
                                                                                                                       1528
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




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                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1098641-01     G.D.      5/23/2021     9/3/2021            4               X                    X                            X          X             X           X      6           X                                                  X               X               X              X                 X                 X                X
 1098645-01     V.D.       6/4/2021    11/4/2021            1               X                    X                            X          X             X           X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1098652-02     C.H.      5/25/2021    9/17/2021            2               X                                  X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1098760-01     C.S.      5/17/2021    6/27/2021            4               X                    X                            X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1098760-04     M.M.      5/17/2021    7/11/2021            3               X                    X                            X          X             X           X      5     X     X        X                            X            X               X               X              X                 X                 X                X
 1098794-01     J.B.       6/8/2021   10/21/2021            1               X                    X             X              X          X                         X      6     X     X                      X              X            X                               X              X                 X                 X
 1098852-01     E.Z.       6/6/2021     8/5/2021            1               X                    X             X              X          X                         X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1098852-02     J.M.       6/6/2021     7/8/2021            2               X                    X             X              X          X                         X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1098852-04     M.O.       6/6/2021     8/5/2021            1               X                    X             X              X          X                         X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1098866-01     M.B.       6/4/2021     1/9/2022            1               X                    X             X              X          X             X           X      7     X     X                      X                           X                                              X                 X                 X                X
 1098874-02     J.A.       6/2/2021    7/30/2021            1               X                                  X              X          X             X           X     14     X     X        X             X              X            X               X               X              X                 X                 X                X
 1098890-02     J.G.      6/12/2021   10/13/2021            1               X                                                 X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1098913-01     M.A.       6/5/2021    9/15/2021            1               X                    X                            X          X                                0                                                              X                               X              X                 X                                  X
 1098936-03     E.D.      5/20/2021    6/26/2021            3               X                    X                            X          X             X           X     27     X     X        X             X              X            X                               X              X                 X                 X                X
 1098936-04     J.N.      5/20/2021     8/7/2021            2               X                    X                            X          X             X           X     18     X     X                      X              X            X               X               X              X                 X                 X                X
 1098951-01     J.C.      5/25/2021    9/19/2021            1               X                    X                            X          X                         X      7     X     X        X             X              X                                            X              X                 X                 X
 1098969-01     S.R.      5/26/2021    8/21/2021            6               X                    X             X              X          X             X           X      2           X                      X                           X                               X              X                 X                 X                X
 1098971-02     T.G.       6/1/2021    4/21/2022            2               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1098980-02     P.G.      5/22/2021   10/13/2021            1               X                    X                            X          X             X           X      3                                                              X               X               X              X                 X                 X                X
 1098981-02     M.T.      5/24/2021    7/30/2021            1               X                    X                            X          X             X           X     10                                  X                           X                               X              X                 X                 X                X
 1098985-01     J.T.       6/2/2021    9/14/2021            1               X                    X                            X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1098993-01     N.B.      6/17/2021    10/3/2021            3               X                    X                            X          X             X           X      5     X                            X                           X               X               X              X                 X                 X                X
 1099008-01     L.C.      6/12/2021    3/29/2022            1               X                    X                            X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X
 1099038-02     A.F.      6/13/2021   11/12/2021            1               X                                                 X          X                         X      4           X        X             X              X            X                               X              X                 X                 X
 1099043-02     C.T.      6/11/2021   10/14/2022            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1099044-01     W.B.      5/28/2021   12/19/2022            1               X                    X                            X          X             X           X      7           X        X             X              X            X               X               X              X                 X                 X                X
 1099049-03     N.A.      5/11/2021    8/26/2021            1               X                                  X              X          X             X           X     20     X     X        X                            X            X                               X              X                 X                 X                X
 1099125-02     N.J.      6/10/2021    7/26/2021            2               X                    X             X              X          X             X           X     29     X     X        X             X              X            X               X               X              X                 X                 X                X
 1099199-01     T.S.       5/6/2021    8/31/2021            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1099215-02     M.P.       6/9/2021   10/26/2021            1               X                    X                            X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1099245-01     M.C.       6/1/2021     3/6/2022            1               X                                  X              X          X             X           X      7                                  X                           X                               X              X                 X                 X                X
 1099250-01     A.S.      6/13/2021    8/21/2021            3               X                    X                            X          X             X           X      6     X     X                      X                           X                                              X                 X                 X                X
 1099278-02     R.C.      6/15/2021    8/31/2021            1               X                    X                            X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1099287-02     J.R.     12/11/2020    1/28/2021            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                                              X                 X                 X                X
 1099298-02     M.R.      6/20/2021    8/17/2021            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1099300-01     J.B.       6/7/2021    7/23/2021            1               X                    X                            X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1099324-01     G.G.      6/11/2021    7/18/2021            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1099353-01     C.B.      6/16/2021    8/31/2021            1               X                    X                            X          X                         X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1099359-02     J.F.      5/25/2021    8/26/2021            1               X                                  X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1099364-01     J.A.      5/23/2021    1/14/2022            1               X                                  X              X          X             X           X      7     X     X        X             X              X                                            X              X                 X                 X                X
 1099364-04     E.L.      5/23/2021    10/8/2021            1               X                                  X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1099377-01     E.Q.      6/21/2021    10/1/2022            2               X                    X                            X          X                         X     19     X     X        X             X              X            X               X               X              X                 X                 X                X
 1099388-02     M.V.       6/5/2021    2/21/2022            4               X                    X                            X          X                         X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1099400-02     K.C.      6/24/2021    9/20/2021            1               X                    X                            X          X             X           X     19     X     X        X                            X            X               X               X              X                 X                 X                X

                                                                                                                                                 79 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
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                                                                                                                                                                        Compression
                                                                                            Chiropractic




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                                                                                                                                                   EDx Testing




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                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
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                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1099404-02     D.B.     6/10/2021    1/26/2022            1               X                                                 X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X
 1099448-02     R.S.     5/29/2021    7/24/2021            2               X                    X                            X          X             X           X     21     X     X        X             X              X            X               X               X              X                 X                 X                X
 1099476-03     M.M.     6/17/2021    8/27/2021            1               X                                                 X          X             X           X      2                    X                            X            X                               X              X                 X                 X                X
 1099476-04     A.C.     6/17/2021    8/20/2021            3               X                    X                            X          X             X           X      7     X     X        X                            X            X               X               X              X                 X                 X                X
 1099484-01     M.B.      6/1/2021    4/15/2022            1               X                    X                            X          X                         X     14     X     X        X             X              X                                            X              X                 X                 X
 1099508-01     F.C.     5/24/2021    10/4/2021            1               X                                                 X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1099546-01     W.C.     6/24/2021    12/9/2022            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1099547-01     R.G.      6/9/2021     8/6/2021            1               X                    X                            X          X             X           X      4     X     X                                     X            X               X               X              X                 X                 X                X
 1099557-01     A.A.      6/4/2021     1/9/2022            2               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1099569-02     D.M.     6/20/2021    7/22/2021            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                                              X                 X                 X
 1099609-01     A.B.     6/19/2021   10/26/2021            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1099631-01     N.M.     6/28/2021     5/9/2022            2               X                    X             X              X          X                         X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1099637-01     D.W.     6/28/2021     8/1/2021            5               X                    X                            X          X                         X     22     X     X        X             X              X            X               X               X              X                 X                 X                X
 1099670-01     K.S.     6/20/2021   11/23/2021            1               X                    X                            X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1099687-02      J.J.    6/11/2021     9/3/2021            2               X                    X                            X          X             X           X      6                                                              X               X               X              X                 X                 X                X
 1099688-01     E.A.     6/28/2021   10/30/2021            1               X                    X                            X          X                         X      1                                                              X                               X              X                 X                 X                X
 1099688-02     N.G.     6/28/2021   10/30/2021            1               X                    X                            X          X                                0                                                              X                               X              X                 X                 X                X
 1099688-04     E.G.     6/28/2021   10/30/2021            1               X                    X                            X          X                                0                                                              X                               X              X                 X                 X                X
 1099721-01     M.A.     6/27/2021    7/20/2021            1               X                    X                            X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1099758-02     M.M.      7/4/2021     4/6/2022            1               X                    X                            X          X                         X      3     X                                           X            X                               X              X                 X                 X                X
 1099763-03     R.E.     6/24/2021    8/25/2021            1               X                                                 X          X                         X     15     X     X        X                            X                                            X              X                 X                 X                X
 1099780-02     N.W.     6/19/2021   11/24/2021            1               X                    X             X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1099801-02     Y.C.      7/3/2021     8/3/2021            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                                              X                 X                 X                X
 1099805-02     J.G.     6/22/2021    2/16/2022            2               X                    X             X              X          X             X           X      3                                  X                           X                               X              X                 X                 X                X
 1099821-03     D.G.      7/1/2021    12/2/2021            1               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1099855-02     J.P.     6/30/2021   10/24/2021            3               X                    X                            X          X             X           X     10                                  X                           X                               X              X                 X                 X                X
 1099885-01     A.I.     6/19/2021   11/22/2021            1               X                    X                            X          X             X                  0                                                 X            X                               X              X                 X                 X                X
 1099887-01     S.C.      6/8/2021    12/2/2021            1               X                    X                            X          X             X           X      4     X              X                            X                                            X              X                 X                 X                X
 1099888-02     V.S.     6/12/2021   11/14/2021            1               X                    X             X              X          X                         X      7     X     X                                     X            X                               X              X                 X                 X                X
 1099904-02     N.P.     6/19/2021    3/20/2022            2               X                                  X              X          X             X           X     16           X                      X                           X               X               X              X                 X                 X                X
 1099910-02     R.S.     6/29/2021    9/17/2021            1               X                    X                            X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1099911-03     M.D.     6/22/2021   12/12/2021            1               X                    X             X              X          X             X           X      4           X                                                  X               X               X              X                 X                 X                X
 1099921-01     A.M.     6/14/2021    8/28/2021            3               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1099921-04     T.Y.     6/14/2021    8/28/2021            3               X                    X                            X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1099926-02     V.W.      7/5/2021    8/10/2022            1               X                    X                            X                                    X      4     X              X                            X            X                               X              X                                   X                X
 1099940-01     P.L.     6/17/2021     1/5/2022            2               X                    X             X              X          X             X           X      2                                                              X               X               X              X                 X                 X                X
 1099941-02     J.S.     6/24/2021    2/23/2023            1               X                                                 X          X             X           X      8     X              X             X              X            X               X               X              X                 X                 X                X
 1099986-02     E.R.     5/30/2021   10/20/2021            5               X                                  X              X          X             X           X     22     X     X        X             X              X            X               X               X              X                 X                 X                X
 1100107-02     J.B.      7/3/2021    9/30/2021            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1100148-02     C.C.      7/8/2021   11/19/2021            1               X                                  X              X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1100167-02     A.B.     6/30/2021    9/18/2021            8               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1100178-01     H.A.      7/7/2021   10/19/2021            1               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1100190-02     J.M.     6/17/2021    8/14/2021            1               X                    X                                                     X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1100199-02     L.V.     6/26/2021    1/21/2022            1               X                    X                            X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X

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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                            Chiropractic




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




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                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1100204-03     A.G.     7/12/2021    9/17/2021            3               X                    X             X              X          X             X           X      6     X     X        X             X              X            X               X               X              X                 X                 X                X
 1100204-04     R.S.     7/12/2021     9/2/2021            4               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1100222-01     J.O.      7/3/2021   10/13/2021            1               X                    X             X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1100247-02     J.C.      7/8/2021    8/12/2021            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1100259-02     J.B.     6/23/2021    11/3/2021            1               X                                                 X          X             X           X      2     X     X                      X              X            X                               X              X                 X                 X                X
 1100259-03     S.B.     6/23/2021    11/6/2021            1               X                    X                            X          X                         X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1100280-01     M.R.     7/10/2021    9/13/2021            1               X                                                 X          X                         X      6     X     X        X                            X            X                               X              X                 X                 X
 1100288-01     C.L.      7/2/2021    3/23/2022            2               X                    X                            X          X             X           X      3                                  X                           X               X               X              X                 X                 X                X
 1100292-02     L.W.     7/10/2021     9/7/2021            3               X                    X             X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1100304-02     T.H.     6/17/2021   11/22/2021            5               X                    X                            X          X             X           X      3                                                              X                               X              X                 X                                  X
 1100307-04     W.T.      7/9/2021     4/8/2022            1               X                                  X              X          X             X           X      6     X     X        X             X              X                                            X              X                 X                 X                X
 1100315-01     G.Q.     6/28/2021    7/30/2021            3               X                    X             X              X          X                         X      3     X              X             X              X            X               X               X              X                 X                 X                X
 1100337-01     C.B.      6/9/2021     3/2/2022            1                                                                 X                                           0                                  X              X                                                           X                                   X
 1100351-01     N.C.      7/7/2021    3/16/2022            2               X                                                 X          X             X           X     12                                  X                           X               X               X              X                 X                 X                X
 1100447-02     R.G.      7/3/2021    9/12/2021            1               X                    X                            X          X             X           X      7     X     X        X                            X                                            X              X                 X                 X                X
 1100458-01     K.C.     6/22/2021    1/30/2022            2               X                    X             X              X          X             X           X      5                                                              X               X               X              X                 X                 X                X
 1100483-02     E.M.     4/23/2021     5/4/2022            3               X                                                 X                        X                  0                                  X                           X                               X              X                 X                                  X
 1100486-01     A.B.     7/10/2021    12/9/2021            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1100499-02     E.L.     6/19/2021    10/3/2021            1               X                    X                            X          X             X           X     13     X                            X                           X                               X              X                 X                 X                X
 1100504-01     J.E.     6/11/2021    12/4/2021            1               X                    X             X              X          X                         X      9     X     X        X             X              X                                            X              X                 X                 X                X
 1100509-01     C.A.      7/4/2021    8/21/2021            4               X                                  X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1100512-01     J.L.     7/12/2021    9/18/2021            4               X                    X             X              X          X                         X      2                                  X                           X               X               X              X                 X                 X                X
 1100526-04     J.V.     6/20/2021    9/15/2021            1               X                                                 X          X             X           X      1                                                              X                               X                                X                                  X
 1100546-01     Z.M.      7/8/2021    8/31/2021            1               X                    X                            X          X                         X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1100556-02     T.J.      6/6/2021   10/16/2021            2               X                    X                            X          X             X           X      8     X     X        X                            X            X               X               X              X                 X                 X                X
 1100646-01     N.R.     7/13/2021    8/20/2021            2               X                                                 X                                    X      8     X     X                      X              X            X                               X                                X                 X                X
 1100661-02     M.M.     7/10/2021    10/4/2021            1               X                    X             X              X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1100666-02     A.S.     7/15/2021    10/4/2021            1               X                    X                            X                        X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1100696-02     B.B.     7/21/2021    9/17/2021            1               X                                  X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1100707-01      J.J.     7/4/2021    8/27/2022            1               X                    X                            X          X             X           X     14     X                            X                           X               X               X              X                 X                 X                X
 1100717-01     I.V.     7/18/2021    9/20/2021            1               X                    X                            X          X             X           X      8     X     X                                     X            X                               X              X                 X                 X                X
 1100717-05     M.V.     7/18/2021    10/3/2021            1               X                    X                            X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1100730-01     A.R.     7/15/2021    9/19/2021            1               X                    X                            X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1100730-02     N.G.     7/15/2021    9/19/2021            2               X                    X                            X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1100755-01     J.S.     7/20/2021    11/5/2021            2               X                                                 X          X             X           X      5           X        X                            X            X                               X              X                 X                 X                X
 1100795-02     B.F.     7/23/2021    1/24/2023            3               X                    X             X              X          X             X           X     16     X     X        X             X              X            X               X               X              X                 X                 X                X
 1100797-02     G.B.     7/29/2021    5/11/2022            4               X                    X                            X          X             X           X     19     X     X        X             X              X            X               X               X              X                 X                 X                X
 1100803-02     T.W.     7/14/2021    9/20/2021            1               X                                                 X                        X           X      9           X        X                            X            X                                              X                 X                 X                X
 1100805-02     A.M.     7/28/2021     9/2/2021            2               X                    X                            X          X             X           X     19     X              X             X              X            X               X               X              X                 X                 X                X
 1100817-01     W.R.     7/11/2021    10/9/2021            1               X                    X                            X          X             X           X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1100826-03     N.K.     7/13/2021    9/17/2021            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X               X               X              X                 X                 X                X
 1100827-01     A.G.     7/24/2021    10/7/2021            2               X                                  X              X          X                         X     18     X     X                                     X            X                               X              X                 X                 X                X
 1100853-01     M.D.      7/8/2021   12/20/2021            1               X                    X                            X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1100859-01     M.S.     7/20/2021     1/6/2022            1               X                                                 X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X

                                                                                                                                                81 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1100874-02     V.A.     7/13/2021   12/22/2021            1               X                                                 X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1100883-02     S.A.     7/21/2021   12/15/2021            2               X                                                 X          X                         X      8                                  X                           X                               X              X                 X                 X                X
 1100915-01     A.D.     7/14/2021    10/8/2021            1               X                                                 X          X             X           X      5           X        X                            X            X                               X              X                 X                 X                X
 1100952-01     M.P.      8/1/2021    10/9/2021            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                                              X                 X                 X                X
 1100981-01     J.F.     7/17/2021    9/30/2021            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1100997-01     A.K.     7/28/2021    11/5/2021            1               X                                                 X          X                         X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1101020-02     K.C.     7/19/2021   11/29/2021            1               X                    X             X              X          X             X           X      1                                  X              X            X                               X              X                 X                 X                X
 1101045-02     V.F.     7/11/2021   10/28/2022            1               X                    X             X              X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1101047-02     C.P.      7/8/2021    10/2/2021            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1101094-02     E.D.      8/5/2021    10/1/2021            2               X                    X                            X          X             X           X      7     X                            X              X            X               X               X              X                 X                 X                X
 1101095-01     J.K.      8/3/2021   10/21/2021            2               X                    X                            X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1101107-01     C.L.     7/14/2021   12/20/2021            2               X                                  X              X          X             X           X     12     X                            X              X            X               X               X              X                 X                 X                X
 1101107-02     L.B.     7/14/2021   10/28/2021            1               X                                  X              X          X                         X     11                                  X                           X                               X              X                 X                 X                X
 1101109-02     G.A.      8/6/2021    2/11/2022            2               X                                  X              X          X             X           X     11     X              X                            X            X                               X              X                 X                 X                X
 1101133-02     D.R.     7/31/2021    8/12/2021            1               X                    X                            X          X             X           X      1                                                                                              X              X                 X                                  X
 1101163-03     R.M.     7/11/2021    8/21/2021            3               X                    X                            X          X             X           X      5     X              X             X              X            X               X               X              X                 X                 X                X
 1101168-02     L.L.     7/12/2021    4/24/2022            1               X                    X                            X          X             X           X      6     X              X             X              X            X               X               X              X                 X                 X                X
 1101190-01     A.S.      8/3/2021    4/19/2022            1               X                                                 X          X             X           X      5     X              X                            X            X               X               X              X                 X                 X                X
 1101218-02     P.G.      8/6/2021    4/27/2022            1               X                    X                            X          X                         X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1101257-01     F.B.     7/21/2021    1/23/2022            1               X                    X             X              X          X             X           X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1101259-01     J.O.     7/15/2021    11/2/2021            2               X                    X                            X          X             X           X      5     X              X             X              X            X               X               X              X                 X                 X                X
 1101272-90     T.F.     8/11/2021    1/11/2022            1                                                                 X                                    X      6     X     X                                     X            X                               X                                                  X
 1101303-01     C.L.     7/30/2021    8/15/2021            2               X                    X                            X                                    X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1101310-01     J.T.     7/23/2021    11/3/2021            3               X                                  X              X          X             X           X     19     X                            X                           X               X               X              X                 X                 X                X
 1101339-01     T.R.     7/28/2021     2/4/2022            1               X                                                 X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1101354-01     R.M.      8/6/2021    7/11/2022            2               X                    X             X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1101369-01     O.S.      8/1/2021   10/12/2021            2               X                                  X              X          X             X           X     25     X     X        X             X              X            X                               X              X                 X                 X                X
 1101381-01     R.F.     7/31/2021   11/20/2021            3               X                    X                            X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1101414-01     D.G.     1/10/2019    7/22/2019            1               X                    X             X              X                        X                  0                                  X                           X               X                              X                 X                 X                X
 1101417-02     S.B.     7/22/2021    8/29/2021            4               X                                  X              X          X             X           X     23     X     X        X             X              X            X               X               X              X                 X                 X                X
 1101422-01     S.P.     8/12/2021    6/15/2022            1               X                    X                            X          X                         X      7     X              X             X              X            X                               X              X                 X                 X                X
 1101437-02     A.C.      8/8/2021    11/7/2021            3               X                    X                            X          X             X                  0                                                              X               X               X              X                 X                                  X
 1101448-01     C.T.     7/19/2021    2/25/2022            1               X                                                 X          X                         X      7     X     X        X                            X                                            X                                                  X
 1101460-02     I.W.     7/28/2021    1/13/2022            3               X                    X                            X          X             X           X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1101528-02     G.M.     7/28/2021    11/3/2021            1               X                    X                            X          X                         X      1                                                              X                               X              X                 X                 X                X
 1101533-01     B.T.      8/6/2021    3/31/2022            1               X                    X             X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X
 1101534-08     J.L.      8/2/2021    10/5/2021            1               X                    X                            X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1101558-02     G.V.     8/11/2021     3/9/2022            1               X                    X                            X          X                                0                                                              X                                              X                 X                 X                X
 1101612-01     G.Z.     8/18/2021    9/19/2021            2               X                    X             X              X          X             X           X      1                                                              X               X               X              X                 X                 X                X
 1101615-02     A.R.     8/19/2021    12/7/2021            1               X                                                 X          X             X                  0                                  X                                           X                              X                 X                 X                X
 1101626-02     K.J.      8/9/2021   11/18/2021            1               X                    X                            X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1101632-01     F.A.     8/12/2021    12/5/2021            2               X                    X             X              X          X             X           X      2                                                              X               X               X              X                 X                 X                X
 1101634-01     J.B.     8/19/2021   12/11/2021            1               X                    X                            X          X             X           X     22     X     X                      X              X            X               X               X              X                 X                 X                X
 1101634-02     A.R.     8/19/2021    1/24/2022            1               X                    X                            X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X

                                                                                                                                                82 of 133                                                                                                                                                                             Exhibit 1
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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1101635-01     N.S.      8/2/2021   10/12/2021            2               X                    X                            X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1101711-01     S.B.     8/20/2021    11/8/2021            2               X                                                 X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X
 1101765-01     M.D.      8/5/2021    10/1/2021            2               X                    X                            X          X             X           X      7                                                              X               X               X              X                 X                 X                X
 1101766-02     A.W.     7/31/2021   11/30/2021            2               X                                  X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1101767-02     P.D.     8/10/2021   10/22/2021            1               X                                  X              X          X                         X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1101804-02     L.R.     8/13/2021    11/7/2021            3               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1101826-03     S.R.      8/5/2021    9/12/2022            1               X                    X                            X          X             X           X     10     X                            X                           X               X               X              X                 X                 X                X
 1101833-01     D.T.     8/18/2021   11/12/2021            1               X                                                 X          X             X           X     14     X     X                      X              X            X                               X                                X                 X                X
 1101872-02     W.G.     8/17/2021    12/3/2021            1               X                    X                            X          X             X           X     14     X     X                      X              X            X                               X              X                 X                 X                X
 1101887-02     A.T.     8/19/2021     5/1/2022            2               X                                  X              X          X             X           X     14     X                                                        X               X               X              X                 X                 X                X
 1101898-02     K.A.     8/15/2021   10/27/2021            1               X                    X                            X          X             X           X      4     X              X             X              X            X                               X              X                 X                 X                X
 1101903-02     N.R.      8/1/2021    1/11/2022            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1101912-02     J.G.     8/20/2021   12/17/2021            2               X                    X                            X          X             X           X      4     X              X                            X            X                               X              X                 X                 X                X
 1101930-01     D.R.     8/26/2021    10/6/2022            1               X                                                 X          X                         X      4     X              X             X              X            X                               X              X                 X                 X                X
 1101932-01     J.L.     8/19/2021   11/23/2021            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                                              X                 X                 X                X
 1101937-01     R.L.      8/7/2021   11/15/2021            1               X                                                 X          X             X           X      6     X     X                                     X            X                               X              X                 X                 X                X
 1101937-02     J.V.      8/7/2021   10/25/2021            1               X                                  X              X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1101937-03     C.V.      8/7/2021    9/29/2021            1               X                                  X              X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1101970-02     A.D.     8/20/2021    12/2/2021            1               X                    X                            X          X             X           X     11     X     X                                     X            X                               X              X                 X                 X                X
 1101989-02     M.A.      8/2/2021    10/3/2021            2               X                    X                            X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1101999-01     N.W.     8/25/2021   12/10/2021            2               X                                  X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1102010-02     T.H.     8/10/2021   10/26/2021            1               X                    X             X                                       X           X     12                                                                              X               X              X                 X                                  X
 1102045-01     J.C.     8/20/2021   12/17/2021            1               X                                  X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1102062-01     C.R.     8/22/2021    11/2/2021            1               X                                  X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1102089-01     A.D.     8/25/2021    3/10/2022            1               X                                                 X          X                         X      5     X                            X              X            X                               X              X                                   X
 1102127-01     S.R.     8/14/2021   12/23/2021            1               X                                                 X          X             X                  0                                  X                                           X               X              X                 X                 X                X
 1102153-02     K.R.     8/27/2021     2/2/2022            1               X                    X                            X          X             X           X     20     X     X        X                            X            X                                              X                 X                 X                X
 1102158-02     L.R.     8/29/2021   11/16/2021            2               X                    X                            X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1102166-01     A.M.     8/29/2021   10/21/2021            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1102205-90     C.C.     8/11/2021   10/14/2021            1               X                                                 X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1102224-03     D.H.     8/26/2021   11/10/2021            1               X                    X                            X          X             X           X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1102268-02     A.R.     8/13/2021   10/16/2021            1               X                    X                            X          X             X           X     24     X     X        X                            X            X                               X              X                 X                 X                X
 1102308-01     J.F.     8/12/2021    10/9/2021            5               X                    X                            X          X             X           X     17     X     X        X             X              X            X               X               X              X                 X                 X                X
 1102313-01     D.D.      9/1/2021   10/31/2021            6               X                    X                            X          X             X           X     19     X     X        X                            X            X               X               X              X                 X                 X                X
 1102323-02     K.B.     8/29/2021    2/28/2022            1               X                    X             X              X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1102324-01     J.E.     8/19/2021   11/19/2022            2               X                    X                            X          X             X           X     16     X              X             X              X            X               X               X              X                 X                 X                X
 1102324-02     G.G.     8/19/2021   10/12/2021            1               X                    X                            X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1102348-01     A.D.     8/10/2021     6/9/2023            1               X                                                 X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1102363-01     K.P.     8/24/2021   10/24/2021            2               X                    X             X              X                        X           X      1                                  X                           X               X               X              X                 X                 X                X
 1102440-04     V.U.      9/5/2021   12/16/2021            1               X                    X             X              X          X             X           X      5     X     X        X                            X            X                                              X                 X                 X                X
 1102465-01     E.B.     8/16/2021   10/28/2021            1               X                    X                            X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1102487-01     W.B.     8/27/2021    2/25/2022            1               X                    X                            X          X             X           X     11                                  X                           X                               X              X                 X                 X                X
 1102494-02     G.P.     8/27/2021    6/21/2022            1               X                    X                            X          X             X           X      1                                                              X               X               X              X                 X                 X                X
 1102518-01     A.H.      9/9/2021     1/8/2022            2               X                    X             X              X          X             X           X      5     X                                                        X                               X              X                 X                 X                X

                                                                                                                                                83 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                      1533
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1102587-02     A.R.     8/25/2021     2/3/2022            1               X                    X                            X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1102610-05     A.S.     8/20/2021    6/22/2022            1               X                    X                            X          X             X           X      3                                  X                           X               X               X              X                 X                 X                X
 1102616-02     L.V.      9/2/2021   12/23/2021            2               X                    X                            X          X             X           X      7           X        X                            X            X                               X              X                 X                 X                X
 1102623-02     B.P.     8/22/2021   12/12/2021            1               X                    X                            X          X             X           X     12                                  X                           X                               X              X                 X                                  X
 1102633-01     T.Y.     8/30/2021   10/28/2021            4                                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1102659-02     J.R.     8/28/2021   10/15/2021            1               X                    X                            X          X                         X      4     X     X        X             X              X            X                               X              X                 X                 X
 1102662-03     H.K.     9/14/2021    4/21/2022            1               X                                  X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1102667-02     A.E.     8/22/2021    7/23/2022            1               X                    X                            X          X             X           X     19     X     X                                     X            X                               X              X                 X                 X                X
 1102675-01     P.A.      9/7/2021   12/30/2021            1               X                    X                            X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1102688-02     R.B.      9/1/2021    6/20/2022            4               X                                                 X          X             X           X      6     X                                                        X                               X              X                 X                 X                X
 1102702-02     M.M.     8/24/2021   10/22/2021            1               X                                  X              X          X             X           X      8     X     X                                                  X                               X              X                 X                 X                X
 1102719-03     E.G.     8/31/2021    1/25/2022            1               X                                  X              X          X             X           X     26     X     X        X             X              X            X                               X              X                 X                 X                X
 1102727-01     J.A.     9/11/2021     3/2/2022            1               X                    X                            X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1102747-01     Y.D.      9/4/2021     1/6/2022            1               X                    X                            X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1102796-01     L.L.     9/18/2021    12/5/2021            1               X                    X                            X          X             X           X      8     X                            X                           X               X               X              X                 X                 X                X
 1102803-01     M.V.     9/18/2021    3/11/2022            1               X                                  X              X          X             X           X     11     X     X                      X              X            X                               X              X                 X                 X                X
 1102816-01     E.S.     9/18/2021    2/11/2022            1               X                    X                            X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1102869-01     O.A.     9/10/2021   11/17/2021            2               X                    X                            X          X                         X      2                                                              X                               X              X                 X                 X                X
 1102873-01     S.M.     9/18/2021     3/2/2022            3               X                                  X              X          X             X           X     13                                  X                           X               X               X              X                 X                 X                X
 1102876-02      J.J.    8/27/2021    1/28/2022            2               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1102891-02     M.F.      9/5/2021   12/10/2021            1               X                    X             X              X          X                         X      7           X        X                            X            X                               X              X                 X                 X                X
 1102899-03     W.J.     7/25/2021   10/11/2021            1               X                                  X              X          X                                0                                                              X                               X              X                 X                 X                X
 1102901-01     A.O.      9/4/2021    1/23/2022            1               X                    X             X              X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1102925-01     M.M.     9/13/2021    3/11/2022            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1102937-02     R.F.     9/14/2021    1/13/2023            1               X                    X                            X          X             X           X      4     X              X                            X            X                               X              X                 X                 X                X
 1102937-04     F.S.     9/14/2021    1/27/2023            1               X                    X                            X          X             X           X     10     X              X             X              X            X                               X              X                 X                 X                X
 1102976-02     L.B.     8/17/2021   10/19/2021            2               X                    X                            X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1102990-02     H.G.     9/23/2021    3/15/2022            1               X                    X                            X          X             X           X     12     X     X        X                            X            X               X               X              X                 X                 X                X
 1102993-02     E.K.     9/19/2021   12/17/2021            7               X                                                 X          X                         X      4     X                            X                           X               X               X              X                 X                 X                X
 1103022-02     R.D.     9/17/2021    3/12/2022            1               X                    X                            X          X                         X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1103163-02     J.R.     9/25/2021    4/19/2022            1               X                    X                            X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1103164-02     J.O.     9/27/2021     2/5/2022            3               X                    X             X              X          X             X           X      2           X                      X                           X                               X              X                 X                 X                X
 1103173-01     B.G.     9/16/2021   11/19/2021            1               X                    X                            X          X             X           X      7                                                              X                               X              X                 X                 X                X
 1103174-01     F.P.      9/7/2021    12/1/2021            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                                  X
 1103237-01     S.M.     9/20/2021   11/19/2021            1               X                                                 X                        X           X      5     X     X                                     X            X               X               X              X                 X                 X                X
 1103279-01     T.S.     9/25/2021    6/22/2022            3               X                                                 X          X             X           X     13     X     X        X             X              X            X               X               X              X                 X                 X                X
 1103295-01     A.L.     9/24/2021    1/13/2022            1               X                    X                            X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1103304-02     G.T.      9/6/2021    3/20/2022            3               X                    X             X              X          X             X           X     20     X              X                            X            X                               X              X                 X                 X                X
 1103351-03     M.H.     9/27/2021   10/28/2021            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1103353-02     D.N.     9/20/2021   11/29/2021            1               X                                                 X          X                         X      8     X     X        X                            X                                            X              X                 X                 X                X
 1103415-03     A.C.     10/3/2021     4/6/2022            1               X                    X                            X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1103438-02     R.R.     10/3/2021   11/16/2021            1               X                    X             X              X          X                         X      5     X     X        X                            X            X                               X              X                 X                 X
 1103440-01     B.O.      9/8/2021   11/10/2021            1               X                    X                            X          X             X           X     11     X     X        X                            X                                            X              X                 X                 X                X
 1103468-01     G.M.     8/30/2021   11/19/2021            1               X                    X                            X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X

                                                                                                                                                84 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                       1534
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1103470-01     R.S.      8/29/2021     9/7/2022            1               X                    X                            X          X             X           X      3     X                                           X            X                               X              X                 X                 X                X
 1103497-02     T.D.      9/15/2021    1/15/2022            3               X                    X                            X          X                         X      6                                  X                           X               X               X              X                 X                 X                X
 1103550-03     J.A.      9/11/2021   12/29/2021            2               X                                  X              X          X                                0                                                              X               X               X              X                 X                 X                X
 1103566-01     R.A.      9/21/2021     3/1/2022            1               X                    X                            X          X             X           X     16     X     X        X             X              X            X               X               X              X                 X                 X                X
 1103568-02     D.K.      10/2/2021    1/18/2022            2               X                    X             X              X          X             X           X      5           X                                     X            X                               X              X                 X                 X                X
 1103575-01     L.M.      9/28/2021   11/18/2021            1               X                    X                            X          X             X           X     15     X     X        X                            X            X                                              X                 X                 X                X
 1103593-02     C.V.      9/28/2021    3/26/2022            2               X                    X             X              X          X             X           X      3     X                                                        X                               X              X                 X                 X                X
 1103652-02     T.H.      9/15/2021   11/18/2021            1               X                                  X              X          X             X           X     21     X     X        X             X                           X                               X              X                 X                 X                X
 1103652-03     A.P.      9/15/2021    11/4/2021            3               X                                  X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1103669-04     N.A.       9/9/2021   12/13/2021            2               X                    X                            X          X                         X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1103669-05     J.C.       9/9/2021     1/9/2022            3               X                    X                            X          X             X           X     13     X     X        X                            X            X               X               X              X                 X                 X                X
 1103692-01     D.F.      10/2/2021     2/1/2022            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X
 1103760-01     J.R.      9/21/2021     2/5/2022            1               X                    X                            X          X                         X     17     X     X                                     X            X                               X              X                 X                 X                X
 1103818-01     D.P.      9/30/2021   10/22/2022            1               X                    X             X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1103823-01     H.L.     10/12/2021    1/30/2022            1               X                    X                            X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1103836-01     R.M.      10/6/2021    5/16/2022            1               X                    X                            X          X             X           X     11                                                                              X               X              X                 X                 X                X
 1103836-02     L.B.      10/6/2021    3/21/2022            1               X                    X                            X          X             X           X     10                                                                              X               X              X                 X                 X                X
 1103840-01     A.P.      9/20/2021    11/1/2021            5               X                                  X              X          X             X           X     26     X     X        X             X              X            X               X               X              X                 X                 X                X
 1103852-01     D.L.      9/18/2021     2/4/2022            2               X                                  X              X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1103876-01     S.M.     10/14/2021    5/25/2022            1               X                                  X              X          X                         X     11                                                              X                               X              X                 X                 X                X
 1103929-02     F.G.      9/28/2021    4/27/2022            5               X                    X                            X          X             X           X      6           X        X                            X            X                               X              X                 X                 X                X
 1103940-01     U.S.      9/17/2021    9/22/2022            1               X                    X                            X          X             X           X      8     X                                           X            X                               X              X                 X                 X                X
 1103942-02     B.G.     10/13/2021    2/25/2022            1               X                                                 X          X                         X      6     X     X        X             X              X            X                               X                                                  X
 1103951-02     M.H.      10/5/2021     7/7/2022            1               X                    X                            X          X             X           X      4     X     X                                     X            X                               X              X                 X                 X                X
 1103981-02     E.M.     10/11/2021    4/14/2022            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1103997-02     D.D.     10/12/2021   12/21/2021            1               X                    X                            X          X                         X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1103997-03     J.V.     10/12/2021   12/29/2021            4               X                    X                            X          X             X           X      8                                  X                           X               X               X              X                 X                                  X
 1104025-02     L.G.     10/14/2021   11/21/2021            1               X                    X             X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1104035-01     K.W.      10/7/2021    6/21/2022            2               X                                                 X                        X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1104088-02     B.R.      9/24/2021   11/24/2021            2               X                    X                            X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1104147-01     B.K.     10/15/2021    1/11/2022            1               X                                  X              X          X             X           X     25     X     X        X                            X            X                               X              X                 X                 X                X
 1104159-02     G.P.     10/19/2021    2/11/2022            2               X                                  X              X          X             X           X      7                                                              X                               X              X                 X                 X                X
 1104198-01     A.D.      10/2/2021    1/21/2022            5               X                                  X              X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1104221-03     N.R.     10/24/2021    1/12/2022            1               X                                  X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1104234-02     R.D.     10/10/2021   12/11/2021            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1104250-03     D.V.      9/25/2021    9/23/2022            1               X                    X                            X          X             X           X      5           X        X             X              X            X                               X              X                 X                 X                X
 1104287-02     D.S.     10/20/2021    1/28/2022            1               X                                  X              X          X             X           X      2     X     X                      X              X            X                               X              X                 X                 X
 1104299-01     L.C.      10/3/2021     1/8/2022            6               X                    X             X              X          X             X           X      5           X                      X                           X               X               X              X                 X                 X                X
 1104380-03     L.S.     10/23/2021     1/9/2022            2               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1104415-06     W.S.     10/13/2021    3/18/2022            1               X                                  X              X          X             X           X      7     X     X        X                            X                                            X              X                 X                 X                X
 1104428-02     C.H.      10/9/2021   12/30/2021            1               X                                  X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1104442-01     P.K.     10/22/2021   12/15/2021            6               X                    X                            X          X             X           X     12                                  X                           X               X               X              X                 X                 X                X
 1104446-03     W.W.     10/25/2021    12/7/2021            1               X                    X                            X          X             X           X     17     X                            X                           X               X               X              X                 X                 X                X
 1104453-01     N.P.      9/15/2021   11/21/2021            2               X                    X                            X          X             X           X      6                                                              X               X               X              X                                   X                X

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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




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                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




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                                                                                             Chiropractic




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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1104466-01     S.H.      10/3/2021    1/21/2022            3               X                    X             X              X          X             X           X      2                    X                                         X               X               X              X                 X                 X                X
 1104504-01     J.R.     10/17/2021    3/22/2022            2               X                    X                            X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1104551-01     M.P.      10/2/2021    1/17/2022            1               X                    X                            X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1104602-02     L.E.      10/5/2021    2/21/2022            2               X                    X             X              X          X             X           X     15     X     X        X             X              X            X               X               X              X                 X                 X                X
 1104630-03     E.M.     10/25/2021    2/11/2022            2               X                                  X              X          X             X           X      6     X                                                        X                               X              X                 X                 X                X
 1104649-02     L.L.      9/30/2021     1/7/2022            1               X                    X                            X          X             X           X     13     X                                                        X                               X              X                 X                 X                X
 1104659-01     F.R.     10/22/2021     6/2/2022            1               X                                                 X                                    X      4     X                                           X            X                               X              X                 X                 X                X
 1104669-01     S.B.      10/8/2021     5/5/2022            1               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1104675-04     W.M.     10/18/2021   12/20/2021            2               X                                  X              X          X             X           X     19     X     X        X                            X            X               X               X              X                 X                 X                X
 1104724-05     E.J.     10/26/2021    1/16/2022            1                                                                 X          X                         X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1104775-02     M.R.     10/29/2021     4/5/2022            1               X                                                 X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1104806-01     D.C.      11/1/2021    5/19/2022            1               X                                                 X                                    X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1104818-01     A.I.     10/26/2021   11/19/2022            1                                                                                                      X      4           X                                                  X               X               X              X                 X                 X                X
 1104822-01     D.B.     10/30/2021     3/2/2022            3               X                    X                            X          X                         X      1                                  X                           X                               X              X                 X                 X                X
 1104871-02     T.S.     10/25/2021     7/8/2022            1               X                    X                            X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1104916-02     J.C.     10/27/2021   12/15/2021            5               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1105004-02     G.C.     10/17/2021     2/7/2022            2               X                    X             X              X                                    X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1105099-01     M.C.     10/18/2021    3/19/2022            2               X                    X                            X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1105110-02     S.C.     10/13/2021    1/22/2022            1               X                    X                            X          X             X           X      7     X     X        X                            X                                            X              X                 X                 X                X
 1105144-01     P.S.      11/2/2021     1/6/2023            1               X                    X             X              X          X                         X     10     X                                                        X                                              X                 X                 X                X
 1105164-02     D.S.      11/8/2021    4/23/2022            2               X                    X                            X          X             X           X     13     X     X        X             X              X            X               X               X              X                 X                 X                X
 1105169-02     S.R.     10/14/2021   12/15/2021            2               X                                  X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1105256-01     S.A.     10/27/2021    3/19/2022            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1105258-02     J.M.      11/7/2021    4/29/2023            2               X                    X                            X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1105285-01     E.C.      11/6/2021    6/30/2022            2               X                                                 X          X             X           X      9                                  X                           X               X               X              X                 X                 X                X
 1105285-07     R.T.      11/6/2021    6/13/2022            3               X                                                 X          X             X           X     14     X     X                      X              X            X               X               X              X                 X                 X                X
 1105285-10     M.C.      11/6/2021    5/26/2022            1               X                                                 X          X             X           X     12     X                            X                                           X               X              X                 X                 X                X
 1105313-01     J.A.     10/27/2021   10/16/2022            1               X                    X             X              X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X
 1105352-01     L.B.     10/21/2021    1/28/2022            1               X                    X                            X          X             X           X      7     X                                                        X                               X              X                 X                 X                X
 1105359-02     E.B.     10/21/2021    12/3/2022            1               X                                  X              X          X             X           X     14           X                                                  X               X               X              X                 X                 X                X
 1105397-01     B.L.     10/26/2021    2/13/2022            1               X                    X                            X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1105415-01     P.C.     10/29/2021     4/7/2022            1               X                                                 X          X             X           X      1                                                 X            X                               X              X                 X                 X                X
 1105421-01     G.R.      11/8/2021     8/9/2022            3               X                                                 X          X                         X     12     X     X                      X                           X                               X              X                 X                 X                X
 1105448-01     F.D.     10/25/2021    11/4/2022            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1105461-01     P.Q.     10/20/2021     5/1/2022            2               X                    X                            X          X             X           X      8                                                              X               X               X              X                 X                 X                X
 1105479-02     K.P.     11/16/2021     3/6/2022            5               X                                  X              X          X             X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1105500-02     K.K.     10/30/2021    5/27/2022            2               X                                  X              X                        X           X      6     X                            X                           X                               X              X                 X                 X                X
 1105519-01     J.M.     10/27/2021     7/8/2022            1               X                                                 X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1105535-01     J.A.      11/8/2021    1/25/2022            1               X                    X                            X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1105595-01     J.H.     10/25/2021    4/23/2022            3               X                    X             X              X          X             X           X      3                                                              X               X               X              X                 X                 X                X
 1105646-02     S.G.      5/20/2021     6/6/2022            1                                                                 X                                           0                                                              X                               X              X                 X                                  X
 1105662-01     R.H.     10/12/2021    12/4/2021            1               X                    X                            X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1105682-01      I.S.    10/25/2021    2/19/2022            2               X                    X                            X          X             X           X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1105690-02     Y.Q.     11/20/2021    5/13/2022            1               X                                  X              X          X             X           X      4     X     X        X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                 86 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                       1536
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1105697-02     K.H.     11/21/2021    2/26/2022            1               X                    X                            X          X             X           X     21     X     X        X             X              X            X                                              X                 X                 X                X
 1105721-01     L.W.     11/16/2021    5/19/2022            1               X                                                 X          X             X           X      2                                                              X                               X                                X                 X                X
 1105730-02     J.C.     11/16/2021    9/10/2022            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1105751-01     E.P.     11/19/2021    1/30/2022            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1105782-03     S.G.     11/24/2021    4/22/2022            1               X                    X             X              X          X             X           X     10     X     X                      X                           X               X               X              X                 X                 X                X
 1105788-01     S.K.     11/19/2021     1/5/2023            1               X                    X             X              X          X             X           X      2                                                              X               X               X              X                 X                 X                X
 1105803-02     I.N.     11/10/2021    2/18/2022            1               X                                                 X          X                         X      5     X     X                      X              X                                            X                                X                 X
 1105806-02     C.Q.     11/10/2021     2/5/2022            1               X                    X             X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1105816-01     N.M.     10/31/2021     1/9/2022            2               X                    X                            X          X             X           X      4     X                                                        X               X                              X                 X                 X                X
 1105847-01     R.H.      11/1/2021    2/23/2022            4               X                    X                            X          X             X           X     26     X     X        X             X              X            X               X               X              X                 X                 X                X
 1105855-01     G.M.     11/15/2021    2/24/2022            2               X                    X                            X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1105872-02      I.S.    11/19/2021    3/25/2022            4               X                    X                            X          X                         X      6           X        X                            X            X                               X              X                 X                 X                X
 1105880-02     D.R.      11/1/2021     2/2/2022            3               X                                                 X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1105961-02     A.R.     11/25/2021   12/17/2021            4               X                    X             X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1105977-03     K.L.     11/10/2021    3/25/2022            1               X                                                 X          X             X           X      8     X     X                      X              X                                            X              X                 X                 X                X
 1105984-02     C.C.     11/18/2021    4/25/2022            1               X                    X                            X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1106077-01     L.P.     10/27/2021     7/7/2022            3               X                    X                            X          X             X           X     21     X     X                      X              X            X                               X              X                 X                 X                X
 1106106-02     S.M.     11/21/2021    7/11/2022            1               X                    X             X              X          X                         X      2           X                                                  X                               X              X                 X                 X                X
 1106108-02     L.C.      12/2/2021    7/31/2022            4               X                    X                            X          X             X           X      7                                                              X               X               X              X                 X                 X                X
 1106124-02     C.H.     11/24/2021     2/6/2022            2               X                                  X              X          X             X           X     12     X                            X                           X                               X              X                 X                 X                X
 1106128-01     T.A.      11/9/2021   12/12/2021            3               X                    X             X              X          X             X           X      4     X     X        X             X              X            X               X               X              X                 X                 X                X
 1106128-07     A.A.      11/9/2021    1/31/2022            1               X                    X                            X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1106136-01     M.G.     11/23/2021    4/13/2022            1               X                    X             X              X          X             X           X      4                                                              X                               X              X                 X                 X                X
 1106155-02     T.M.     11/15/2021    9/20/2022            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1106157-01     C.A.     11/17/2021     4/5/2022            1               X                                  X              X          X             X           X     14     X     X        X             X              X            X               X               X              X                 X                 X                X
 1106162-01     D.L.     11/30/2021    4/22/2022            4               X                    X                            X          X                         X      8           X        X             X              X            X               X               X              X                 X                 X                X
 1106162-02     Y.L.     11/30/2021    9/30/2022            2               X                    X                            X          X             X           X      4           X                                                  X               X               X              X                 X                 X                X
 1106181-01     M.R.     11/13/2021     3/3/2022            1               X                                                 X          X                         X      7           X        X             X              X            X                               X                                X                 X                X
 1106184-01     A.C.     11/29/2021    2/19/2022            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1106194-01     R.M.     11/27/2021     3/7/2022            1               X                    X                            X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1106232-01     E.M.     11/28/2021    2/17/2022            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1106233-02     C.M.     11/12/2021    2/19/2022            1               X                                  X              X          X             X           X     23     X     X        X                            X            X                               X              X                 X                 X                X
 1106295-01     H.R.     11/15/2021    6/18/2022            2               X                    X             X              X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1106302-01     H.Z.      12/2/2021    1/27/2022            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1106349-01     L.B.     11/30/2021    3/10/2022            1               X                    X                            X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X
 1106358-01     A.C.      12/2/2021     5/1/2022            1               X                    X             X              X          X             X           X     12     X     X                                                  X               X               X              X                 X                 X                X
 1106361-03     T.F.      12/7/2021    8/24/2022            2               X                                                 X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1106368-02     E.A.      12/6/2021     2/7/2022            4               X                    X                            X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1106371-01     B.S.     11/20/2021    6/22/2022            1               X                    X             X              X          X                         X      5     X              X                            X            X                               X              X                 X                 X                X
 1106424-01     M.W.      11/3/2021    2/23/2022            2               X                                  X              X          X             X           X     21     X     X        X             X              X            X               X               X              X                 X                 X                X
 1106442-01     O.N.      12/5/2021    5/16/2022            1               X                    X             X              X          X                         X      6     X     X                                     X            X                               X              X                 X                 X                X
 1106456-02     H.M.     12/13/2021    2/10/2023            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1106508-01     J.G.     11/27/2021    5/26/2022            1               X                    X             X                                       X                  0                                  X                                           X               X              X                 X                 X                X
 1106516-01     F.F.     11/23/2021   11/11/2022            1               X                                                 X          X                         X      5           X                                     X                                            X                                                  X

                                                                                                                                                 87 of 133                                                                                                                                                                             Exhibit 1
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1106524-02     H.Y.     11/18/2021    1/10/2022            2               X                    X                            X          X             X           X     26     X     X        X                            X            X               X               X              X                 X                 X                X
 1106524-05     J.H.     11/18/2021     1/9/2022            1               X                    X                            X          X                         X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
 1106530-01     H.N.      12/2/2021   12/30/2021            2                                                                 X          X                         X     10     X     X        X                            X            X                               X                                                  X
 1106534-02     M.R.     11/26/2021     9/2/2022            1               X                    X             X              X          X             X           X      4     X              X             X              X            X                               X              X                 X                 X                X
 1106541-01     M.S.     11/11/2021   10/26/2023            1               X                    X                            X                        X           X      1                                  X                           X                               X              X                 X                 X                X
 1106574-01     S.E.      12/5/2021    4/19/2022            1               X                    X             X              X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1106592-01     J.O.      12/6/2021     3/1/2022            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1106634-01     L.N.     12/12/2021     4/8/2022            2               X                                  X              X          X             X           X      3                                  X                           X               X               X              X                 X                 X                X
 1106648-02     S.C.       7/8/2021   10/16/2021            2               X                    X                            X                                    X      1           X                                                  X                                              X                 X                 X                X
 1106664-01     E.G.     11/22/2021     4/8/2022            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1106683-01     H.L.     12/15/2021    3/15/2023            1               X                    X                            X          X             X           X      3                                                              X               X               X              X                 X                 X                X
 1106792-02     P.N.     11/30/2021     8/3/2022            1               X                                                 X          X                         X      6     X     X                                     X            X                               X                                                  X
 1106807-01     E.A.     12/10/2021     6/1/2022            2               X                    X                            X          X             X           X     29     X              X                            X            X               X               X              X                 X                 X                X
 1106813-01     L.B.     12/15/2021    3/21/2022            2               X                    X                            X          X             X           X      9                                                              X               X               X              X                 X                 X                X
 1106813-02     R.C.     12/15/2021    4/14/2022            1               X                    X                            X          X             X           X     10                                                              X               X               X              X                 X                 X                X
 1106854-01     D.M.      12/8/2021    2/18/2022            2               X                                                 X          X             X           X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1106858-02     R.L.      12/5/2021    4/21/2022            6               X                    X                            X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1106873-03     S.W.     12/18/2021    4/25/2022            2               X                                                 X          X             X           X     13                                                              X               X               X              X                 X                 X                X
 1106899-01     E.C.     11/26/2021     5/5/2022            1               X                    X             X              X          X             X           X      9     X     X                      X              X            X                               X              X                 X                 X                X
 1106901-02     Q.N.     12/12/2021    2/27/2022            4               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1106916-01     G.O.     11/14/2021    3/21/2022            6               X                    X                            X          X             X           X      9     X     X        X                            X            X               X               X              X                 X                 X                X
 1106952-90     J.L.     12/13/2021    5/21/2022            1               X                    X                            X          X             X           X      8     X     X        X                            X            X               X               X                                X                 X                X
 1106954-01     S.M.     11/16/2021    6/17/2022            1               X                    X                            X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X
 1106959-02     B.X.     11/22/2021    8/24/2022            2               X                    X             X              X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1106980-02     N.T.      12/3/2021    3/15/2022            1                                                                 X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X
 1107042-02     S.P.     11/18/2021     3/2/2022            4               X                    X                            X          X                         X      1                                  X                           X                               X              X                 X                 X                X
 1107064-02     J.A.     12/20/2021    3/22/2022            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X
 1107071-01     J.R.     12/21/2021    7/18/2022            1               X                    X                            X          X             X           X      2     X                                                        X               X               X              X                 X                 X                X
 1107108-03     K.R.      12/8/2021    2/28/2022            1               X                                  X              X                                    X      9     X     X        X                            X            X                               X              X                 X                 X
 1107122-01     J.R.     12/20/2021    1/21/2022            1               X                    X             X              X          X             X           X      4     X              X                            X            X                               X              X                 X                 X                X
 1107243-02     M.D.     12/17/2021     6/5/2022            1               X                    X                            X          X                         X     23     X     X        X                            X            X                               X              X                 X                 X                X
 1107277-03     G.F.      12/3/2021    3/15/2022            2               X                    X                            X                        X           X      9                                                              X               X               X              X                 X                 X                X
 1107307-01     A.S.     12/11/2021    3/24/2022            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X
 1107310-02     E.H.      12/6/2021     5/5/2022            2                                                                 X                                    X      4     X                                                        X                               X              X                 X                 X                X
 1107338-02     V.C.      12/9/2021     3/7/2022            2               X                    X                            X          X             X           X     16     X     X        X                            X            X               X               X              X                 X                 X                X
 1107342-01     F.V.      12/9/2021    9/18/2022            1               X                                                 X          X                         X      4     X                            X                           X                               X              X                 X                 X                X
 1107356-01     E.V.      12/4/2021    3/29/2022            1               X                    X                            X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X
 1107381-01     K.M.     12/11/2021    3/28/2022            1               X                    X                            X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1107437-02     K.D.     12/16/2021   10/25/2022            1               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1107441-02     T.D.     12/11/2021    1/30/2022            1               X                    X             X              X          X                         X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1107470-01     B.L.     12/20/2021    4/13/2022            1               X                    X                            X          X             X           X      4     X              X             X              X            X                               X              X                 X                 X                X
 1107488-01     L.B.       1/3/2022    3/27/2022            1               X                    X                            X          X                                0                                                              X               X               X              X                 X                 X                X
 1107488-02     H.M.       1/3/2022    3/27/2022            6               X                    X                            X          X             X           X      5     X              X                            X            X               X               X              X                 X                 X                X
 1107499-01     L.T.     12/20/2021     2/3/2022            3               X                                  X              X          X             X           X     22     X     X        X             X              X            X               X               X              X                 X                 X                X

                                                                                                                                                 88 of 133                                                                                                                                                                             Exhibit 1
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




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                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
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                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1107501-02     K.A.     12/13/2021    8/19/2022            1               X                                                 X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1107524-02     S.A.     12/23/2021    3/17/2022            3               X                    X             X              X                        X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1107553-01     A.C.     11/10/2021     4/8/2022            1               X                    X                            X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1107579-02     I.C.     12/17/2021    4/28/2022            3               X                    X                            X          X                         X      3     X                                                        X                               X              X                 X                 X                X
 1107581-01     P.B.     12/13/2021    1/18/2023            1               X                    X                            X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1107593-02     E.J.     12/20/2021    7/25/2022            2               X                    X                            X          X             X           X     12     X     X                                     X            X                               X              X                 X                 X                X
 1107600-01     H.E.       1/5/2022     3/6/2022            3               X                    X                            X          X             X           X      7     X                                                        X               X               X              X                 X                 X                X
 1107603-01     V.K.     12/24/2021    4/21/2022            1               X                                                 X          X             X           X      3           X                                     X            X                               X              X                 X                 X                X
 1107615-01     M.P.      12/2/2021    2/22/2022            3               X                    X                            X          X             X           X     27     X     X        X             X              X            X               X               X              X                 X                 X                X
 1107635-01     M.I.       1/5/2022    7/25/2022            1               X                                                                                      X      9     X     X        X             X              X            X                               X                                                  X
 1107673-01     M.R.       1/6/2022    3/21/2022            2               X                    X             X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1107683-02     D.F.     12/29/2021    4/27/2022            3               X                                  X              X          X             X           X     24     X     X        X                            X            X               X               X              X                 X                 X                X
 1107691-01     W.M.     12/13/2021     5/1/2022            4               X                    X             X              X                                    X      8                                  X                           X               X               X              X                 X                 X                X
 1107725-02     O.S.       1/4/2022     3/8/2022            1               X                    X                            X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X
 1107783-03     A.C.     12/20/2021    5/16/2022            2               X                    X                            X          X             X           X     14     X              X             X                           X                               X              X                 X                 X                X
 1107797-02     A.I.     12/15/2021    7/11/2022            1               X                                                 X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1107806-01     J.D.       1/8/2022    2/28/2022            1               X                    X             X              X          X             X           X      4     X     X                                     X            X                               X              X                 X                 X                X
 1107809-01     A.R.       1/7/2022     3/3/2022            2               X                                                 X          X             X           X     13                                                              X               X               X              X                 X                 X                X
 1107878-01     C.M.      1/12/2022    6/29/2022            2               X                                                 X          X             X           X     18     X                            X                           X               X               X              X                 X                 X                X
 1107905-01     A.G.       1/9/2022    3/25/2022            1               X                                  X              X          X             X           X     23     X     X        X             X              X            X               X               X              X                 X                 X                X
 1107909-02     Y.P.       1/8/2022    4/14/2022            1               X                    X             X              X          X                         X      2           X                                                  X                               X              X                 X                 X                X
 1107914-03     L.W.     12/29/2021     3/5/2022            5               X                    X             X              X                        X           X      5                                  X                           X               X               X              X                 X                 X                X
 1107915-01     C.G.     12/16/2021    8/25/2022            7               X                    X             X              X                        X           X      5     X              X                            X            X                               X              X                 X                 X                X
 1107925-02     M.A.       1/5/2022     6/3/2022            1               X                                                 X          X             X           X      5     X     X        X             X              X                                            X              X                 X                 X                X
 1107970-03     R.P.      1/13/2022    4/23/2022            1               X                    X                            X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1107975-02     F.C.      1/12/2022    5/25/2022            1               X                    X                            X          X             X           X      4           X                      X              X            X               X               X              X                 X                 X                X
 1107977-03     G.B.      1/12/2022    8/20/2022            1               X                    X             X              X          X             X           X     29     X     X        X             X              X            X               X               X              X                 X                 X                X
 1108000-01     C.S.     12/15/2021    9/17/2022            1               X                    X             X              X          X                         X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1108064-02     E.A.     12/24/2021    8/11/2022            1               X                    X                            X                        X                  0                                                              X                               X              X                 X                                  X
 1108067-01     G.C.     12/30/2021    5/25/2022            1               X                    X             X              X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1108114-02     E.J.      1/30/2020    3/14/2022            1                                                                 X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X
 1108120-01     W.O.      1/16/2022    7/20/2022            1               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1108122-02     V.Q.      1/16/2022    4/27/2022            1               X                                                 X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1108142-01     C.T.       1/8/2022    4/13/2022            2               X                                  X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1108155-01     Y.W.      1/11/2022    4/15/2022            1               X                    X             X              X          X             X           X      3                                                                              X               X              X                 X                 X                X
 1108155-02     D.L.      1/11/2022    8/13/2022            1               X                    X             X              X          X                                0                                                              X                               X              X                 X                 X                X
 1108160-01     W.D.      1/15/2022     5/5/2022            2               X                    X             X              X          X             X                  0                                  X                                           X               X              X                 X                 X                X
 1108190-01     A.K.       1/8/2022    3/28/2022            1               X                    X                            X          X                         X      9     X     X                                     X            X                               X              X                 X                 X
 1108252-01     D.S.      1/18/2022    4/27/2022            3               X                                                 X          X                         X      2                    X             X              X            X                               X              X                 X                 X                X
 1108254-02     C.S.      1/10/2022     4/9/2022            1               X                    X             X              X                        X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1108281-01     A.C.     12/15/2021    2/25/2022            1               X                    X                            X                        X           X     12                                                              X                                              X                 X                 X                X
 1108282-02     J.A.     12/27/2021    9/19/2023            1               X                                  X              X          X                         X      7     X     X                                     X            X                               X                                                  X
 1108300-01     M.M.      1/12/2022     5/9/2022            2               X                                                 X          X             X           X     13                                                              X               X               X              X                 X                 X                X
 1108302-01      I.F.      1/5/2022    4/11/2022            2               X                                                 X          X             X           X     13     X                                                        X               X               X              X                 X                 X                X

                                                                                                                                                 89 of 133                                                                                                                                                                             Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
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                                                                                                                                                   EDx Testing




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                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
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                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1108340-02     O.F.     1/22/2022    7/12/2023            2               X                    X                            X          X             X           X     16     X                                                        X               X               X              X                 X                 X                X
 1108341-04     D.S.      1/6/2022     6/7/2022            1               X                                  X              X          X             X           X     15     X                                                        X               X               X              X                 X                 X                X
 1108343-04     B.O.      1/3/2022    3/25/2022            2               X                    X                            X          X             X           X      9     X              X             X              X            X                               X              X                 X                 X                X
 1108444-02     D.H.      1/5/2022    5/27/2022            1               X                    X                            X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1108445-02     V.W.      1/8/2022   10/28/2022            1               X                    X             X              X          X             X           X     10     X     X                                     X            X                               X              X                 X                 X                X
 1108490-02     C.S.     1/11/2022    5/14/2022            1               X                                  X              X          X                         X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1108510-03     Y.B.      1/6/2022    4/22/2022            1               X                    X                            X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1108538-02     F.A.     1/22/2022     6/4/2022            3               X                    X                            X          X             X           X      9           X                      X                           X               X               X              X                 X                 X                X
 1108540-05     T.H.     1/14/2022    3/29/2022            1               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1108569-01     A.M.     1/26/2022     5/3/2022            1               X                    X             X              X          X                         X     12     X     X        X             X              X            X                               X              X                 X                 X
 1108572-02      I.Z.    1/26/2022    3/27/2022            2                                                                 X          X             X           X      1     X                                                        X                               X              X                 X                 X                X
 1108584-02     K.H.      1/5/2022    5/25/2022            1               X                    X                            X          X             X           X     11                                                              X               X               X              X                 X                 X                X
 1108596-02     P.W.     1/25/2022     5/1/2022            5               X                                                 X          X             X           X     19     X     X        X             X              X            X               X               X              X                 X                 X                X
 1108609-02     M.E.     1/15/2022    6/28/2022            1               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1108611-01     M.H.      1/7/2022    7/27/2022            2               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1108631-01     D.W.     1/23/2022    5/10/2023            2               X                                  X              X          X             X           X      1                                                                              X               X              X                 X                 X                X
 1108631-02     Z.K.     1/23/2022    7/22/2022            1               X                                  X              X          X             X           X      5     X     X                                     X            X                               X              X                 X                 X                X
 1108712-02     J.L.      1/6/2022    12/8/2022            1               X                    X                            X          X             X           X     17     X     X                      X              X            X               X               X              X                 X                 X                X
 1108717-02     S.M.      1/4/2022     9/2/2022            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1108734-01     B.I.     1/16/2022     5/6/2022            1               X                    X                            X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1108743-01     H.A.     1/14/2022    9/30/2022            1               X                    X                            X          X             X           X      6     X                            X              X            X                               X              X                 X                 X                X
 1108752-02     M.B.     1/29/2022    6/28/2022            3               X                    X                            X          X             X           X     12                                  X              X            X               X               X              X                 X                 X                X
 1108791-02     Y.S.     1/31/2022    5/21/2022            1               X                    X                            X          X             X           X     15     X     X        X                            X            X                                              X                 X                 X                X
 1108798-04     D.B.     1/29/2022    7/10/2022            1               X                    X                            X          X             X           X     14     X              X             X              X            X                               X              X                 X                 X                X
 1108801-01     J.M.      2/1/2022    3/14/2024            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1108801-03     W.M.      2/1/2022     8/6/2022            1               X                                  X              X          X                         X     10     X     X        X                            X            X                               X                                                  X
 1108818-01     F.A.     1/13/2022    12/5/2022            1               X                    X                            X          X             X           X     13     X                            X              X            X                               X              X                 X                 X                X
 1108821-01     M.S.     1/28/2022    3/13/2022            2               X                    X                            X          X             X           X      5     X              X                            X            X                               X              X                 X                 X                X
 1108839-01     D.J.      2/4/2022     4/4/2022            1               X                    X                            X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1108920-01     S.V.     1/10/2022    3/23/2022            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X               X               X              X                 X                 X                X
 1108920-02     E.V.     1/10/2022    4/18/2022            1               X                    X                            X          X                         X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1108933-01     A.G.      2/3/2022     4/8/2022            1               X                    X                            X          X             X           X     11                                                              X                               X              X                 X                                  X
 1108934-03     Y.V.     1/26/2022   10/22/2022            3               X                                  X              X          X             X           X     10                                                              X               X               X              X                 X                 X                X
 1108977-02     J.L.      2/2/2022    4/23/2022            1               X                    X                            X          X                         X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1109024-01     B.B.     1/29/2022     5/6/2022            1               X                                  X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1109048-01     D.C.     2/11/2022   10/18/2022            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1109072-01     J.V.     1/29/2022   10/23/2022            3               X                                                 X          X             X           X     13                                  X                           X               X               X              X                 X                 X                X
 1109085-01     R.Q.      2/8/2022     4/4/2022            6               X                    X                            X          X             X           X     23     X     X        X             X              X            X               X               X              X                 X                 X                X
 1109105-90     E.S.     1/26/2022    3/31/2022            1               X                                                 X          X             X           X      1     X                                           X                                                           X                 X                 X                X
 1109115-01     J.M.      2/3/2022    7/28/2022            2               X                                                 X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1109130-02     O.G.      2/4/2022    6/13/2022            1               X                                                 X          X                         X      7     X     X        X             X              X            X                               X                                X                 X                X
 1109140-02     S.B.      2/6/2022    6/15/2022            3               X                    X             X              X          X                         X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1109193-01     L.M.      2/7/2022    5/31/2023            4               X                                                 X          X             X           X      2                                                              X                               X              X                                                    X
 1109217-02     T.O.     1/23/2022    4/19/2022            2               X                    X             X              X          X             X           X      8     X              X             X              X            X               X               X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                                           Acupuncture




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                                                                                            Chiropractic




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




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                                                                                                                          Imaging




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                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1109252-02     K.M.     1/15/2022    3/25/2022            2               X                                                 X          X                         X     11     X     X                      X              X            X                               X              X                 X                 X                X
 1109296-01     N.H.     1/20/2022     8/9/2022            1               X                    X             X              X                        X           X     11     X     X                      X              X            X                               X              X                 X                 X                X
 1109353-01     I.R.     1/28/2022    4/21/2022            1               X                    X                            X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1109355-02     M.R.      2/4/2022    4/13/2022            1               X                    X                            X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1109355-04     O.N.      2/4/2022    4/27/2022            1               X                    X                            X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1109366-01     A.W.     1/16/2022     5/9/2022            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1109375-02     N.H.     2/12/2022     5/1/2022            2               X                    X             X              X          X             X           X     10                                                              X               X               X              X                 X                 X                X
 1109386-01     D.T.      2/1/2022     6/4/2022            3               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                                  X
 1109397-01     A.C.      2/9/2022    5/20/2022            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                                  X
 1109404-01     M.L.     2/16/2022    4/13/2022            4               X                    X             X              X          X             X           X      4     X     X        X             X              X            X               X               X              X                 X                 X                X
 1109425-02     D.S.      2/9/2022    9/20/2022            1               X                    X                            X          X             X           X     20     X     X        X                            X            X                               X              X                 X                 X                X
 1109425-04     I.R.      2/9/2022     1/3/2023            1               X                    X                            X          X                         X     21     X     X                                     X            X                               X              X                 X                 X                X
 1109439-02     C.Z.      2/6/2022    3/29/2023            1               X                                                 X          X                         X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1109458-01     A.R.      2/5/2022    3/15/2022            1               X                    X                            X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1109464-01     A.R.     1/30/2022    4/20/2022            1               X                    X             X              X          X             X           X     16     X                            X                           X               X               X              X                 X                 X                X
 1109479-01     J.F.     2/19/2022    7/14/2022            1               X                                  X              X          X                         X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1109479-02     D.J.     2/19/2022    8/28/2022            1               X                                  X              X                        X           X     11                                  X                                           X               X              X                 X                 X                X
 1109483-02     S.M.      2/9/2022    4/21/2022            1               X                    X             X              X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1109484-03     R.S.     1/18/2022    3/18/2022            2               X                                  X              X          X             X           X     15     X     X        X                            X            X               X               X              X                 X                 X                X
 1109494-01     F.R.     1/22/2022    3/16/2022            2               X                    X             X              X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1109508-01     V.T.     1/28/2022    7/13/2022            3               X                    X                            X          X             X           X     11     X                            X                           X               X               X              X                 X                 X                X
 1109529-02     A.R.      2/4/2022    3/11/2022            3               X                                  X              X          X             X           X     10     X     X                      X              X            X                               X              X                 X                 X                X
 1109543-01     G.L.     2/14/2022   12/17/2022            1               X                                                 X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1109587-02     J.B.     2/23/2022    4/10/2022            1               X                                                 X          X                         X      7     X     X        X                            X                                            X              X                 X                 X
 1109587-05     D.P.     2/23/2022    4/11/2022            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1109588-01     Y.K.      2/9/2022    10/6/2022            1               X                    X                            X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1109600-02     J.M.     1/31/2022    5/16/2022            2               X                    X                            X          X             X           X     22     X              X             X              X            X                               X              X                 X                 X                X
 1109626-02     R.Q.      2/1/2022     8/7/2022            2               X                    X                            X          X                         X     19     X              X                            X            X               X               X              X                 X                 X                X
 1109640-03     M.W.     2/10/2022     5/1/2022            1               X                                  X              X          X             X           X     10                                                              X                               X              X                 X                 X                X
 1109640-04     S.F.     2/10/2022    4/24/2022            4               X                                  X              X          X             X           X     10                                  X                           X               X               X              X                 X                 X                X
 1109650-01     J.S.      2/2/2022     4/4/2023            1               X                    X                            X          X                         X     12     X     X        X             X              X            X                               X              X                 X                 X
 1109656-01     Y.L.      2/7/2022    9/20/2022            1               X                    X                            X          X             X           X      7     X     X                                     X            X                               X              X                 X                 X                X
 1109676-01     L.D.      2/2/2022    6/27/2022            1               X                                                 X          X             X           X      6     X     X                                     X            X                               X              X                 X                 X                X
 1109710-01     E.M.     2/24/2022   10/25/2022            2               X                    X             X              X                        X           X     22     X              X                            X            X               X               X              X                 X                 X                X
 1109716-01     F.K.     2/23/2022     4/2/2022            1               X                    X                            X          X                         X      9     X                                                        X                               X              X                 X                 X                X
 1109746-02     D.P.      2/3/2022     4/2/2022            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1109761-02     S.D.     2/22/2022     7/9/2022            1               X                    X                            X          X             X           X     31     X     X        X                            X            X                               X              X                 X                 X                X
 1109799-02     D.R.     2/11/2022    10/7/2022            1               X                    X                            X          X                         X      9     X     X                      X              X            X                               X              X                 X                 X                X
 1109824-02     J.N.     2/16/2022     4/8/2022            1               X                    X                            X          X                         X      8     X     X        X                            X                                            X              X                 X                 X                X
 1109829-03     R.G.     2/16/2022    6/25/2022            1               X                    X             X              X          X                         X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1109829-04     D.N.     2/16/2022    5/31/2022            3               X                    X             X              X          X             X           X      9     X     X                      X              X            X               X               X              X                 X                 X                X
 1109832-01     Y.M.     2/20/2022    5/13/2022            2               X                                                 X          X             X           X      9     X     X                      X              X            X                               X              X                                   X                X
 1109832-04     J.G.     2/20/2022    6/24/2022            1               X                                                 X          X             X           X      4     X     X                      X              X                                            X              X                 X                 X                X
 1109835-01     J.A.     2/25/2022    3/17/2022            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X

                                                                                                                                                91 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                      1541
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1109867-02     T.F.     2/26/2022    6/24/2022            1               X                                                 X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X                X
 1109882-02     A.M.     1/26/2022    4/28/2022            8               X                    X             X              X          X             X           X     12     X     X                                     X            X               X               X              X                 X                 X                X
 1109896-02     B.L.      2/4/2022   10/31/2022            1               X                                                 X          X             X           X     27     X     X        X             X              X            X                               X              X                 X                 X                X
 1109933-02     J.G.      2/5/2022    11/7/2022            2               X                    X                            X          X             X           X     15     X              X                            X            X               X               X              X                 X                 X                X
 1109951-02     C.E.     2/16/2022    5/24/2022            1               X                    X             X              X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1109965-01     O.W.     2/28/2022    4/12/2022            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1109998-01     J.M.     2/27/2022    4/21/2022            1               X                    X             X              X          X             X           X      5     X     X        X                            X            X               X                              X                 X                 X                X
 1109998-02     N.R.     2/27/2022    7/21/2022            1               X                    X             X              X          X             X           X      5     X              X             X              X            X                               X              X                 X                 X                X
 1110015-03     M.H.      3/1/2022    6/14/2022            2               X                                                 X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X
 1110016-02     C.P.     1/30/2022     6/9/2022            1               X                                                 X          X                         X      5     X              X             X              X            X                               X              X                 X                 X                X
 1110017-03     J.T.     2/13/2022    5/25/2022            2               X                                                 X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X
 1110051-01     J.V.     2/15/2022    5/20/2022            1               X                                                 X          X                         X      6     X     X        X                            X                                            X              X                 X                 X
 1110111-03     J.T.     2/17/2022    12/3/2022            2               X                    X                            X          X             X           X     19     X     X        X                            X            X               X               X              X                 X                 X                X
 1110175-01     T.R.      3/3/2022     5/8/2022            3               X                    X                            X          X             X           X     17     X     X        X                            X            X               X               X              X                 X                 X                X
 1110181-02     P.T.      3/7/2022    5/12/2022            1               X                                                 X                                    X      4     X     X                                                  X                               X                                                  X
 1110238-02     D.T.      3/2/2022     5/8/2022            4               X                    X                            X          X                         X      4                                  X                           X               X               X              X                 X                 X                X
 1110263-01     A.M.      3/3/2022    5/13/2022            1               X                    X                            X          X             X           X      4     X     X        X             X              X            X               X               X              X                 X                 X                X
 1110280-01     N.H.      3/9/2022    6/13/2022            1               X                                  X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1110312-02     L.G.     2/21/2022    3/31/2022            1               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1110313-01     I.W.      3/3/2022    5/17/2022            1               X                                                 X          X             X           X     19     X     X        X             X              X                                            X              X                 X                 X                X
 1110322-01     W.L.     2/15/2022    6/23/2022            1               X                    X                            X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1110323-02     T.P.     3/11/2022    6/14/2022            1               X                    X                            X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1110349-02     F.P.     2/12/2022    5/15/2022            1               X                                  X              X          X                         X      2                                  X                           X               X               X              X                 X                 X                X
 1110361-02     J.R.      3/4/2022    5/17/2022            2               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X
 1110377-01     L.M.      3/3/2022    5/27/2022            1               X                    X             X              X          X             X           X      7     X     X        X             X              X                                            X              X                 X                 X                X
 1110432-02     J.R.     3/14/2022    7/14/2022            1               X                                                 X          X                         X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1110450-02     A.D.      3/9/2022     6/9/2022            2               X                    X                            X          X             X           X     19     X                                           X            X               X               X              X                 X                 X                X
 1110453-02     J.M.      3/4/2022    6/13/2022            1               X                                  X              X          X                         X      6     X     X                      X              X            X                               X              X                 X                 X
 1110471-01     D.G.     3/11/2022    6/19/2022            1               X                    X                            X          X             X           X      6     X              X                            X                                                           X                 X                 X                X
 1110471-02     M.R.     3/11/2022    6/19/2022            1               X                    X                            X          X             X           X      5     X              X                            X            X                                              X                 X                 X                X
 1110506-01     R.A.      3/9/2022     6/3/2022            1               X                                  X              X          X             X           X     25     X                            X              X            X                               X              X                 X                 X                X
 1110531-01     A.B.     3/10/2022   12/19/2023            1               X                    X             X              X          X             X           X      5     X              X             X              X            X                               X              X                 X                 X                X
 1110542-01     J.R.     2/23/2022    7/12/2022            2               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1110542-03     Y.A.     2/23/2022    9/27/2022            3               X                    X                            X          X             X           X     10     X     X        X                            X            X               X               X              X                 X                 X                X
 1110556-02     L.B.      3/8/2022    12/2/2022            1               X                    X                            X          X                                0                                                 X            X                                              X                 X                 X                X
 1110562-02     J.P.     2/23/2022     8/5/2022            1               X                    X                            X          X             X           X      1     X                                                        X                               X              X                 X                 X                X
 1110567-01     Y.M.     2/16/2022    5/31/2022            2               X                                  X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1110572-02     V.H.     3/14/2022     6/4/2022            5               X                    X             X              X          X             X           X     16     X     X                      X              X            X               X               X              X                 X                 X                X
 1110583-02     Y.P.     3/13/2022   10/25/2022            1               X                                                 X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1110622-01     C.D.      3/5/2022    5/20/2022            1               X                    X                            X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1110654-01     A.R.     3/19/2022     6/4/2022            4               X                    X             X              X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1110667-02      I.J.     3/7/2022    10/3/2022            2               X                    X                            X          X             X           X      6     X                                           X            X               X               X              X                 X                 X                X
 1110681-01     S.B.     3/19/2022    5/12/2022            2               X                    X                            X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1110686-02     J.K.     2/25/2022    2/18/2023            2               X                    X                            X          X             X                  0                                  X                           X                               X              X                 X                 X                X

                                                                                                                                                92 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                      1542
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1110689-01     O.S.      3/7/2022    12/7/2022            1               X                    X             X              X          X             X           X      3     X                                                        X               X               X              X                 X                 X                X
 1110754-01     C.A.     3/22/2022    5/16/2022            2               X                    X                            X          X                         X     16     X              X             X              X            X               X               X              X                 X                 X                X
 1110778-01     H.M.     3/21/2022     7/6/2022            1               X                    X                            X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1110780-01     A.A.     3/17/2022    5/19/2022            1               X                                                 X                        X           X      3                    X                            X            X                                              X                 X                 X                X
 1110789-01     R.D.     2/20/2022    6/15/2022            1               X                                                 X                                    X      1     X                            X              X            X                               X                                X                 X
 1110809-02     M.J.     3/15/2022     6/3/2022            2               X                                                 X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1110850-01     M.A.     3/19/2022    8/23/2022            1               X                    X                            X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1110855-02     J.M.      3/1/2022    6/23/2022            1               X                    X                            X          X                         X      6     X     X        X             X              X            X                               X                                X                 X
 1110858-01     L.M.     3/22/2022     9/8/2022            1               X                    X                            X          X                         X     12     X                            X                           X               X                              X                 X                 X                X
 1110901-03     Z.I.     3/10/2022     6/3/2022            1                                                                 X                                    X      3     X     X        X             X              X            X                               X              X                 X                 X
 1110913-01     M.J.     3/11/2022   10/18/2022            1               X                    X                            X          X             X           X      8           X        X             X              X            X                               X              X                 X                 X                X
 1110913-02     A.C.     3/11/2022    12/5/2022            1               X                    X                            X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1110965-03     S.M.     3/20/2022   11/16/2022            1               X                    X                            X          X             X           X     20     X     X        X                            X            X                               X              X                 X                 X                X
 1110992-01     W.G.     2/23/2022    9/30/2022            5               X                                                 X          X             X           X      6     X     X        X             X              X            X               X               X              X                 X                 X                X
 1111006-04     Y.K.     3/26/2022     9/7/2022            1               X                                  X              X          X             X                  0                                                              X                                              X                 X                 X                X
 1111074-02     R.R.      3/9/2022    4/27/2022            3               X                    X             X              X          X             X           X     11           X        X             X              X            X               X               X              X                 X                 X                X
 1111128-01     M.V.     3/17/2022     5/9/2022            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1111135-02     A.A.     3/18/2022    5/26/2022            1               X                    X                            X          X             X           X     17     X     X        X                            X            X                               X              X                 X                 X                X
 1111146-02     K.C.     3/11/2022    5/16/2022            1               X                    X             X              X          X                         X     16     X     X        X                            X            X                               X              X                 X                 X
 1111201-01     M.Y.     3/29/2022    6/10/2022            1               X                    X             X              X          X             X           X      6     X              X             X              X            X                               X              X                 X                 X                X
 1111207-01     S.R.     3/27/2022    6/28/2022            3               X                    X             X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1111209-02     D.V.      3/3/2022   12/16/2022            2               X                                  X              X          X             X           X     11     X              X                            X            X                               X              X                 X                 X                X
 1111234-01     J.F.      3/6/2022    5/31/2022            2               X                    X                            X          X                         X     14     X                                                        X               X               X              X                 X                 X                X
 1111234-03     H.F.      3/6/2022    5/17/2022            3               X                                                 X          X                         X     13                                  X                           X               X               X              X                 X                 X                X
 1111297-01     J.H.     3/29/2022    5/10/2022            1               X                    X             X              X          X             X           X      3     X                                                        X                               X              X                 X                 X                X
 1111304-01     R.T.     3/19/2022    6/14/2022            2               X                                  X              X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1111339-01     L.M.     3/26/2022    7/16/2022            4               X                    X             X              X          X             X           X     13     X     X        X                            X            X               X               X              X                 X                 X                X
 1111355-02     H.G.     3/30/2022     6/8/2022            2               X                    X                            X          X             X           X     15     X                            X              X            X               X               X              X                 X                 X                X
 1111377-02     C.B.     3/27/2022    5/26/2022            3               X                    X                            X          X             X           X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
 1111390-01     H.M.     3/28/2022    6/21/2022            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1111406-01     E.S.      3/5/2022    3/19/2023            1               X                    X                            X          X             X           X     16     X                                                        X               X               X              X                 X                 X                X
 1111423-01     B.Z.     3/15/2022    7/27/2022            1               X                    X             X              X          X             X           X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1111450-01     G.P.     3/17/2022     8/1/2022            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1111487-02     R.V.      3/5/2022     5/8/2022            5               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1111494-01     A.A.     3/29/2022    7/22/2022            1               X                                                 X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1111503-02     M.S.     3/11/2022    6/14/2022            2               X                    X                            X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1111568-02     K.O.     3/26/2022    12/5/2022            1               X                                                 X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1111585-01     K.A.      3/9/2022     8/5/2022            1               X                    X                            X          X             X           X      3                                                              X                               X              X                 X                                  X
 1111588-01     J.S.     3/28/2022    5/10/2022            2               X                    X                            X          X                         X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1111612-01     M.B.     3/16/2022    8/12/2022            1               X                    X                            X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1111642-01     N.G.     3/27/2022    5/31/2022            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1111689-01      I.S.    3/24/2022    6/30/2022            4               X                    X                            X          X             X           X     14     X     X                                     X            X               X               X              X                 X                 X                X
 1111727-01     M.M.     4/11/2022    8/21/2022            1               X                                  X              X          X             X           X     13     X              X                            X            X                               X              X                 X                 X                X
 1111737-01     D.Z.     4/10/2022    6/17/2022            1               X                                  X              X          X             X           X      3     X     X                      X              X            X                               X              X                 X                 X                X

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                                                                                                                      1543
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
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                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                                                        DME Devices




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
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                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1111739-01     G.S.     3/22/2022     6/8/2022            1               X                    X                            X          X                         X      3     X              X                            X            X                               X              X                 X                 X                X
 1111782-04     N.N.      4/9/2022    8/25/2022            1               X                    X                            X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1111802-01     A.B.      4/5/2022    6/24/2022            1               X                    X             X              X          X             X           X      4     X              X                            X            X                               X              X                 X                 X                X
 1111984-01     R.D.      4/8/2022    6/14/2022            2               X                    X             X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1112011-01     S.S.      4/8/2022    5/22/2022            5               X                    X                            X          X             X           X     23     X     X        X                            X            X               X               X              X                 X                 X                X
 1112072-02     D.R.      4/6/2022    7/20/2022            3               X                                                 X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1112085-01     C.H.     3/26/2022     7/9/2022            1               X                    X                            X                                    X      9     X     X        X                            X            X                               X              X                 X                 X
 1112088-01     R.C.     4/17/2022    11/9/2022            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X               X               X              X                 X                 X                X
 1112096-01     T.M.     3/28/2022    3/22/2023            2               X                    X             X              X          X             X           X     22           X                                                  X               X               X              X                 X                 X                X
 1112109-01     L.N.     4/21/2022    7/30/2022            4               X                    X                            X          X             X           X     13     X     X                                     X            X               X               X              X                 X                 X                X
 1112298-02     J.P.     4/23/2022    9/11/2022            1               X                                  X              X          X             X           X     23     X     X        X                            X            X                               X              X                 X                 X                X
 1112309-02     J.P.     4/14/2022    6/12/2022            4               X                    X                            X          X             X           X     14     X     X        X                            X            X               X               X              X                 X                 X                X
 1112347-01     A.D.     4/20/2022    1/20/2023            2               X                                                 X          X             X           X      1     X                                                        X                               X              X                 X                 X                X
 1112378-02     P.B.     4/14/2022    6/13/2022            1               X                                                 X          X             X           X     12     X              X                            X            X                               X              X                 X                 X                X
 1112386-02     M.R.      4/6/2022    6/18/2022            1               X                    X                            X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1112395-01     A.H.     4/16/2022   12/29/2022            2               X                    X                            X          X             X           X     11     X                            X                           X                               X              X                 X                 X                X
 1112397-01     R.F.      4/8/2022     6/4/2022            1               X                    X             X              X          X                         X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1112408-02     A.F.     4/26/2022    11/6/2022            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1112408-03     Y.C.     4/26/2022    10/9/2022            1               X                    X                            X          X                         X      3                    X             X              X            X                               X              X                 X                 X                X
 1112430-02     D.D.     4/25/2022    10/6/2022            3               X                                                 X          X             X           X      6     X                            X              X            X               X               X              X                 X                 X                X
 1112456-02     A.G.     4/20/2022   10/13/2022            1               X                    X                            X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1112475-01     J.R.      4/3/2022    5/20/2022            1               X                                                 X          X                         X      3     X                                                        X                               X              X                 X                 X                X
 1112478-02     M.R.     4/14/2022     8/2/2022            1               X                                                 X          X                         X      8     X     X        X             X              X            X                               X                                                  X
 1112486-02     A.D.     3/30/2022    5/24/2022            2               X                    X                            X          X             X           X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1112517-01     N.M.     4/10/2022   12/23/2022            1               X                                                 X          X                         X      3     X              X                            X            X                               X              X                                   X                X
 1112523-01     I.C.     4/30/2022    8/23/2022            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1112526-02     T.W.     4/10/2022   11/30/2022            1               X                                  X              X          X             X           X     20     X     X                                     X                                            X              X                 X                 X                X
 1112533-01     S.H.      4/2/2022   12/22/2022            1               X                                                 X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1112535-01     M.B.     4/26/2022   12/19/2022            4               X                    X             X              X          X             X           X      2     X                            X                           X                               X              X                 X                 X                X
 1112547-01     I.U.     4/23/2022    7/27/2022            4               X                    X             X              X          X             X           X      3                                  X                           X               X               X              X                 X                 X                X
 1112562-02     R.C.     4/27/2022    6/28/2022            2               X                    X                            X          X                         X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1112587-01     T.P.     4/28/2022    8/29/2022            1               X                    X                            X          X                         X      3     X              X                            X            X                               X              X                 X                 X
 1112587-02     S.M.     4/28/2022    11/8/2022            1               X                    X                            X          X             X           X      4           X                      X                           X               X               X              X                 X                 X                X
 1112623-01     L.L.     4/10/2022    7/20/2022            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1112624-01     T.M.      4/1/2022    9/25/2022            1               X                                                 X          X                         X      1     X                                           X            X                               X              X                 X                 X                X
 1112640-02     C.Q.      5/3/2022    9/22/2022            1               X                                                 X          X             X           X      2     X                                           X            X                               X              X                 X                 X
 1112643-01     V.H.     4/13/2022    9/20/2022            1               X                                  X              X          X             X           X      7                                                                              X               X              X                 X                 X                X
 1112643-02     C.W.     4/13/2022     8/8/2022            1                                                                 X          X             X           X     17     X     X                      X              X            X                               X              X                 X                 X                X
 1112657-01     R.C.     3/30/2022    6/19/2022            1                                                                 X          X                                0                                  X                           X                               X              X                 X                 X                X
 1112671-01     J.R.     4/22/2022     7/5/2022            1               X                                  X              X          X                         X      8     X     X                      X              X            X               X               X              X                 X                 X                X
 1112680-03     N.V.      5/2/2022     2/1/2023            3               X                    X             X              X          X                         X      3                                                              X               X               X              X                 X                 X                X
 1112695-02     R.W.     4/17/2022    9/26/2022            1               X                    X                            X          X             X           X      4     X              X                            X            X                               X              X                 X                 X                X
 1112704-01     M.G.     4/12/2022    6/24/2022            1               X                    X                            X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1112734-02     S.Z.     6/19/2021    10/1/2021            1               X                                                 X          X             X           X      4                    X                            X            X                                              X                 X                 X                X

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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                                                        DME Devices




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                                                                                                           Acupuncture




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                                                                                                                                      Any MRI




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                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1112740-01     J.R.     4/16/2022    3/11/2023            1                                                                 X          X                                0                                                              X                                                                                  X
 1112746-02      I.I.    4/16/2022    9/16/2022            1               X                                                 X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1112792-01     K.T.     4/15/2022    7/18/2022            1               X                    X                            X          X             X           X     25     X     X        X                            X            X                               X              X                 X                 X                X
 1112808-02     G.C.      5/3/2022    8/18/2022            1               X                    X                            X          X             X           X     13     X              X                            X            X                               X              X                 X                 X                X
 1112845-01     J.R.     4/13/2022    7/24/2022            2               X                                  X              X          X             X           X     10                                                              X               X               X              X                 X                 X                X
 1112895-01     T.C.     4/30/2022    7/17/2022            1               X                    X                            X          X             X           X     25     X     X        X                            X            X                               X              X                 X                 X                X
 1112895-02     S.G.     4/30/2022    9/11/2022            1               X                    X             X              X          X             X           X     29     X              X                            X            X               X               X              X                 X                 X                X
 1112972-02     D.D.      5/6/2022    9/28/2022            1               X                    X                            X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1112997-02     O.P.      5/5/2022    7/12/2022            1               X                                  X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1113019-01     J.P.      5/3/2022    7/23/2022            1               X                                                 X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1113028-01     D.A.      5/5/2022    8/13/2022            1               X                                                 X          X             X           X     27     X     X        X             X              X            X                               X              X                 X                 X                X
 1113028-02     B.R.      5/5/2022   12/22/2022            1               X                                  X              X          X             X           X     13     X                                                        X               X               X              X                 X                 X                X
 1113043-01     T.A.     4/30/2022    12/2/2022            1               X                                                 X          X                         X      3     X              X             X              X            X                               X              X                                   X
 1113055-03     J.C.     4/13/2022   12/16/2022            1               X                                  X              X          X             X           X      3                                                              X                               X              X                 X                                  X
 1113056-01     Z.D.     4/13/2022     3/6/2024            1               X                    X                            X          X             X                  0                                                                              X               X              X                 X                                  X
 1113091-01     I.P.      5/5/2022    7/23/2022            2               X                    X             X              X          X             X           X     10                                  X                           X               X               X              X                 X                 X                X
 1113110-02     E.P.     5/13/2022   10/27/2022            1               X                    X                            X          X                         X      5     X              X             X              X            X                               X              X                 X                 X                X
 1113123-01     T.M.     4/22/2022    6/12/2022            1               X                    X                            X                        X           X     17     X                                                        X                               X              X                 X                 X                X
 1113123-06     A.F.     4/22/2022    7/24/2022            1               X                    X                            X          X                         X     14     X                                                        X                               X              X                 X                 X                X
 1113147-01     S.B.      5/8/2022    8/17/2022            1               X                    X                            X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1113159-02     J.V.     5/17/2022    8/11/2022            1               X                    X                            X          X                         X      2     X                                           X            X                               X              X                 X                 X                X
 1113182-02     N.B.     4/21/2022    6/15/2022            4               X                    X                            X          X             X           X     17     X     X        X             X              X            X               X               X              X                 X                 X                X
 1113184-01     C.G.     4/25/2022    6/30/2022            1               X                    X                            X          X             X           X     22     X     X        X             X              X            X               X               X              X                 X                 X                X
 1113192-01     N.J.     4/19/2022    7/29/2022            1               X                                  X              X          X             X           X     11     X              X             X              X            X                               X              X                 X                 X                X
 1113231-02     J.R.     5/14/2022     4/1/2023            1               X                    X             X              X          X                         X     12     X                            X                           X                               X              X                 X                 X                X
 1113232-01     R.M.     4/24/2022     8/3/2022            4               X                                                 X                        X                  0                                                              X               X               X              X                 X                 X                X
 1113233-03     L.M.      5/6/2022     9/2/2022            1               X                    X                            X          X             X           X     12     X              X             X              X            X                               X              X                 X                 X                X
 1113233-04     G.M.      5/6/2022    1/20/2023            1               X                    X                            X          X             X           X      8                                                              X                               X              X                 X                 X                X
 1113239-02     D.M.      5/9/2022    7/30/2022            1               X                    X             X              X          X                         X      2                                                              X                               X              X                 X                 X                X
 1113335-01     W.B.      5/5/2022    2/12/2024            1               X                    X             X              X          X                         X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1113389-01     R.M.     5/17/2022   11/11/2022            1               X                                                 X                                    X      6     X     X                      X              X            X                               X              X                 X                 X
 1113404-02     C.C.     5/17/2022    9/22/2022            4               X                                  X              X          X             X           X      6     X     X        X             X              X            X               X               X              X                 X                 X                X
 1113405-02     M.S.     5/14/2022     8/8/2022            1               X                    X                            X          X             X           X     18     X                            X              X            X               X               X              X                 X                 X                X
 1113452-01     J.S.      5/7/2022    7/27/2022            3               X                    X                            X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X
 1113473-01     L.K.     5/18/2022    11/9/2022            1               X                                                 X                                    X      6                                                 X            X               X               X              X                 X                 X                X
 1113480-02     J.B.     5/14/2022    7/22/2022            1               X                    X                            X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1113496-02     D.G.     5/18/2022   10/29/2022            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1113518-05     J.S.     5/13/2022    11/9/2022            2               X                    X                            X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1113526-01     J.A.     5/11/2022   10/19/2022            1               X                                                 X          X             X           X     13     X                            X              X            X                               X              X                 X                 X                X
 1113542-02     S.M.     5/24/2022    11/7/2022            1               X                                  X              X          X                         X      5                                                              X                               X              X                 X                 X                X
 1113551-01     N.A.      5/8/2022     8/8/2022            2               X                                                 X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1113580-02     C.S.     5/16/2022    9/20/2022            1               X                    X                            X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1113617-01     A.D.     5/19/2022     8/9/2022            2               X                    X                            X          X             X           X      1     X                            X              X            X                               X              X                 X                 X                X
 1113627-01     S.A.     5/20/2022    7/23/2022            2               X                    X                            X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                      Physical Therapy




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                                                     Visits to ASCs




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                                                                                                                                                                        DME Devices




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




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                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1113635-01     M.P.     4/24/2022   11/16/2022            1               X                    X             X              X          X             X           X     12     X     X                                                  X                               X              X                 X                 X                X
 1113635-03     M.H.     4/24/2022    2/28/2023            1               X                    X             X              X          X                         X      4     X              X             X              X            X                               X              X                 X                 X                X
 1113662-01     J.A.     5/15/2022    8/17/2022            4               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1113662-03     B.G.     5/15/2022    8/19/2022            2               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1113673-01     S.Y.      5/6/2022    6/27/2022            2               X                    X             X              X          X                         X      2                                  X              X            X                               X              X                                   X                X
 1113673-03     X.Y.      5/6/2022    7/29/2022            2               X                                                 X          X             X           X      1                                                              X               X               X              X                 X                                  X
 1113714-05     N.B.     5/20/2022   10/27/2022            1               X                    X             X              X          X                         X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1113717-04     H.A.     5/13/2022    1/25/2023            1               X                    X                            X          X             X           X      9     X     X                                     X            X                               X              X                 X                 X                X
 1113727-03     E.R.     5/20/2022    9/19/2022            1               X                    X                            X          X             X           X      7           X        X             X              X            X                               X              X                 X                 X                X
 1113762-02     V.R.      5/4/2022     8/5/2022            4               X                    X                            X          X             X           X     15     X              X             X              X            X               X               X              X                 X                 X                X
 1113762-04     R.V.      5/4/2022     8/5/2022            4               X                    X                            X          X             X           X     15     X              X             X              X            X               X               X              X                 X                 X                X
 1113832-03     H.H.     5/21/2022     8/4/2022            2               X                    X                            X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1113848-02     L.S.     5/24/2022    9/10/2022            1               X                    X             X              X          X             X           X      8                                  X                           X                               X              X                 X                 X                X
 1113850-02     M.U.     5/10/2022    8/20/2022            3               X                    X                            X          X             X           X      6           X        X                            X            X                               X              X                 X                 X                X
 1113862-01     M.F.     4/29/2022   10/12/2022            1               X                    X                            X          X             X           X     17     X     X                      X              X            X                               X              X                 X                 X                X
 1113865-01     S.M.     5/12/2022    4/13/2023            1               X                    X                            X          X             X           X      7     X     X                                     X            X                               X              X                 X                 X                X
 1113867-02     M.H.      5/7/2022    3/16/2023            2               X                    X                            X          X             X           X      9                                                 X            X                               X              X                 X                 X                X
 1113877-03     J.W.     5/17/2022     7/8/2022            1               X                    X                            X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1113899-02     G.K.     5/29/2022   10/20/2022            1               X                    X                            X          X             X           X     30     X     X        X             X              X            X                               X              X                 X                 X                X
 1113941-01     G.M.     5/29/2022    7/23/2022            1               X                    X                            X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1113955-01     K.C.      6/1/2022   10/13/2022            1               X                                  X              X          X                         X      1     X                            X              X            X                                              X                 X                 X                X
 1113956-02     M.W.     5/23/2022    8/20/2023            1               X                    X                            X          X             X           X     14     X     X                                                  X                               X              X                 X                 X                X
 1113964-02     A.X.     5/24/2022   10/13/2022            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1113984-02     A.C.      6/3/2022    9/29/2022            1               X                    X                            X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1114008-01     O.R.     5/18/2022    7/28/2022            1               X                    X             X              X          X                         X      7     X     X                                     X            X                               X              X                 X                 X                X
 1114015-01     B.S.     5/20/2022    7/13/2023            1               X                                                 X          X                         X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1114045-02     D.B.     5/28/2022     9/2/2022            1               X                                                 X          X             X           X      4     X     X                      X              X            X                               X              X                                   X                X
 1114089-01     J.B.      5/9/2022    9/13/2022            1               X                    X                            X          X             X           X      3     X                                           X            X                               X              X                 X                 X                X
 1114107-02     M.M.      5/3/2022     7/1/2022            1               X                    X                            X          X             X           X      9     X                                                        X                               X              X                 X                 X                X
 1114159-02     M.D.     5/28/2022   10/27/2022            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1114171-02     C.B.     5/30/2022    8/26/2022            1               X                    X                            X          X             X           X     11     X                                           X            X                               X              X                 X                 X                X
 1114179-02      I.I.    5/19/2022    8/15/2022            1               X                                                 X          X             X           X      9     X     X                      X              X            X                               X              X                 X                 X                X
 1114207-01     B.J.     5/20/2022    8/31/2022            1               X                    X             X              X          X             X           X     10     X                            X              X            X                               X              X                 X                 X                X
 1114213-02     L.M.     5/27/2022    8/12/2022            1               X                                                 X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1114228-02     H.D.     5/22/2022    7/12/2022            3               X                    X                            X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1114306-01     M.S.      6/2/2022    7/16/2022            3               X                    X             X              X          X             X           X      4     X              X             X              X            X                               X              X                 X                 X                X
 1114310-01     K.C.     5/17/2022    8/26/2022            2               X                    X                            X          X             X           X      6     X                                                        X                               X              X                 X                 X                X
 1114310-02     A.K.     5/17/2022    8/19/2022            1               X                    X                            X          X             X           X      6     X                            X                           X                               X              X                 X                 X                X
 1114334-03     K.S.     5/25/2022    8/13/2022            1               X                    X             X              X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1114371-01     A.B.     5/14/2022    8/10/2022            3               X                    X                            X          X                         X     15     X     X                      X              X            X                               X              X                 X                 X                X
 1114383-01     M.J.      6/7/2022    8/22/2022            3               X                    X             X              X          X             X           X     20     X              X             X              X            X               X               X              X                 X                 X                X
 1114395-02     L.L.     5/29/2022    11/2/2022            1               X                    X                            X          X             X           X      9                                                              X                               X              X                 X                 X                X
 1114432-02     T.H.      6/6/2022     3/3/2023            2               X                    X             X              X          X             X           X     10           X        X                            X            X                               X              X                 X                 X                X
 1114475-01     E.K.     5/17/2022    8/24/2022            2               X                                  X              X          X             X           X     14           X                      X                           X               X               X              X                 X                 X                X

                                                                                                                                                96 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                      1546
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1114475-02     T.B.     5/17/2022    8/24/2022            2               X                                  X              X          X             X           X     15     X     X                      X                           X               X               X              X                 X                 X                X
 1114479-01     R.M.      5/5/2022    11/7/2022            2               X                                                 X                                           0                                                              X               X               X              X                 X                                  X
 1114497-01     Y.L.     5/26/2022    7/29/2022            1               X                    X                            X          X                         X      4     X              X                            X            X                               X              X                 X                 X                X
 1114523-01     I.K.     5/29/2022   10/19/2022            1               X                    X             X              X                                    X      4           X                                                  X                               X              X                 X                 X                X
 1114534-01     F.P.     5/22/2022    6/30/2022            1               X                    X             X              X          X                         X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1114538-03     E.A.     5/29/2022    3/17/2023            1               X                                                 X          X             X           X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1114540-01     R.F.      6/8/2022    11/5/2022            1               X                    X                            X          X                         X     20     X     X                                     X            X                               X              X                 X                 X                X
 1114551-03      I.I.     6/6/2022    8/20/2022            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1114551-04     F.B.      6/6/2022     8/6/2022            1               X                    X             X              X          X             X           X     14     X     X                                     X            X                               X              X                 X                 X                X
 1114589-01     E.H.     6/11/2022    8/11/2022            1               X                    X                            X          X             X           X     15     X                            X                           X                               X              X                 X                 X                X
 1114589-02     G.R.     6/11/2022    8/11/2022            1               X                    X                            X          X             X           X     18     X              X                            X            X                               X              X                 X                 X                X
 1114590-02     M.A.      6/9/2022    8/11/2022            1               X                                                 X          X                         X      7     X              X                            X            X                               X              X                 X                 X                X
 1114620-02     J.R.      6/6/2022    8/15/2022            3               X                    X             X              X          X             X           X     19     X              X                            X            X               X               X              X                 X                 X                X
 1114668-02     E.C.      6/8/2022   11/10/2022            1               X                    X                            X          X             X           X      9     X              X                            X            X                               X              X                 X                 X                X
 1114676-01     D.B.     5/27/2022   10/29/2022            1               X                    X                            X          X             X           X     24     X     X        X             X              X            X               X               X              X                 X                 X                X
 1114677-01     H.A.      6/4/2022    1/16/2023            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1114685-02     E.R.     6/10/2022   12/14/2022            3               X                    X             X              X          X             X           X     16     X     X        X                            X            X               X               X              X                 X                 X                X
 1114700-01     E.B.     5/21/2022   11/16/2022            3               X                    X             X              X          X             X           X      8           X        X             X              X            X               X               X              X                 X                 X                X
 1114708-01     V.S.      6/1/2022    3/14/2023            1               X                                  X              X          X                         X      4                    X             X              X            X                               X              X                 X                 X                X
 1114714-02     M.B.      6/5/2022    4/12/2023            2               X                                                 X          X             X           X      3     X                                                        X                               X              X                 X                 X                X
 1114724-01     U.M.     6/11/2022    2/10/2023            3               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1114752-02     H.L.     5/28/2022    1/29/2023            1               X                    X             X              X          X             X           X      1                                  X                                           X               X              X                 X                 X                X
 1114782-02     J.H.     6/18/2022    1/24/2023            2               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1114791-01     P.N.      6/3/2022    10/9/2023            1               X                    X             X              X          X             X           X      5     X     X                      X              X            X               X               X              X                 X                 X                X
 1114799-02     O.R.     6/20/2022    11/8/2022            1               X                                  X              X          X             X           X     25     X                                           X                                            X              X                 X                 X                X
 1114817-01     S.W.     6/17/2022    10/3/2022            1               X                    X                            X          X             X           X      4     X              X             X              X            X                               X              X                 X                 X                X
 1114848-01     T.K.     6/14/2022    7/23/2022            2               X                    X                            X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1114879-02     J.K.      6/7/2022     9/1/2022            1               X                    X             X              X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1114880-01     S.H.     6/11/2022    9/21/2022            1               X                    X                            X                                    X      1                                                              X                               X              X                 X                 X                X
 1114880-03     M.A.     6/11/2022    9/13/2022            1               X                    X                            X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1114895-01     A.B.     5/20/2022    7/19/2022            1                                                                 X                                    X      7     X     X                      X              X            X                               X                                X                 X
 1114903-02     S.C.     5/18/2022    10/3/2022            1               X                                                 X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1114912-01     A.D.     5/27/2022   10/17/2022            1               X                                                 X          X             X           X      8     X     X        X                            X            X                               X                                X                 X                X
 1114942-01     J.R.      6/5/2022     8/1/2022            2               X                                                 X          X                                0                                  X                           X                               X              X                 X                 X                X
 1114948-01     K.K.     5/31/2022    10/2/2022            1               X                    X             X              X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1114949-02     T.M.     6/20/2022     9/8/2022            1               X                    X                            X          X             X           X     20     X     X        X                            X            X                               X              X                 X                 X                X
 1114963-01     F.P.     6/12/2022   10/19/2022            1               X                    X                            X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1114999-01     H.D.      6/7/2022   10/20/2022            2               X                                                 X          X             X           X     29     X     X                                                  X               X               X              X                 X                 X                X
 1115001-01     F.M.     6/19/2022     7/9/2024            1               X                    X                            X          X                         X      9     X              X                            X            X                                              X                 X                 X
 1115099-02     A.A.     6/10/2022   12/20/2022            1               X                    X                            X          X             X           X      4           X                                     X            X                               X              X                 X                 X                X
 1115151-02     J.O.     6/15/2022    7/28/2022            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1115160-02     D.S.     6/15/2022   10/15/2022            1               X                    X                            X          X             X           X     25     X     X        X             X              X            X                               X              X                 X                 X                X
 1115162-01     L.B.     5/25/2022    9/17/2022            4               X                    X                            X          X                         X      2     X                                                        X                               X              X                 X                 X                X
 1115188-03     L.S.     6/18/2022    8/18/2022            3               X                                  X              X          X             X           X     14     X     X        X                            X            X               X               X              X                 X                 X                X

                                                                                                                                                97 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                       1547
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1115196-02     J.L.     6/15/2022     9/8/2022            1               X                                                 X          X                         X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1115207-01     M.R.     5/27/2022    4/11/2023            1               X                    X             X              X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1115355-02     S.B.     6/14/2022    8/11/2022            2               X                    X                            X          X             X           X      5     X              X                            X            X                               X              X                 X                 X                X
 1115394-01     G.W.     6/24/2022    11/5/2022            1               X                    X             X              X          X                         X      1                                  X                           X                               X              X                 X                 X                X
 1115399-02     W.G.     5/29/2022    1/19/2023            1               X                                  X              X                                    X      7     X                            X              X                                            X              X                 X                 X                X
 1115403-02     K.A.      7/2/2022    10/2/2022            1               X                                  X              X          X             X           X     11     X                                                        X                               X              X                 X                 X                X
 1115433-01     W.D.     6/27/2022     8/5/2022            1               X                    X             X              X          X             X                  0                                                 X            X                               X              X                 X                 X                X
 1115433-02     J.C.     6/27/2022    8/26/2022            1               X                    X             X              X          X             X           X      7     X     X        X             X              X                                            X              X                 X                 X                X
 1115442-01     E.M.     7/11/2022   10/20/2022            1               X                                  X              X          X             X           X     18     X              X                            X            X                               X              X                 X                 X                X
 1115491-01     M.P.      6/2/2022     8/6/2022            3               X                    X                            X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1115491-04     J.Q.      6/2/2022    9/11/2022            2               X                    X                            X                        X                  0                                  X                           X               X               X              X                 X                 X                X
 1115532-01     Z.H.     6/26/2022    10/9/2022            1               X                    X                            X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1115542-01     E.O.     6/10/2022    8/11/2022            1               X                    X             X              X          X                         X     16     X     X                      X              X            X                               X              X                 X                 X                X
 1115544-01     J.B.     6/14/2022    6/20/2023            1               X                                  X              X          X             X           X      5     X                            X              X            X                               X              X                 X                 X                X
 1115556-01     S.C.     6/11/2022    7/31/2022            2               X                    X                            X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1115556-02     R.M.     6/11/2022   10/29/2022            1               X                    X                            X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1115571-02     N.B.      6/8/2022    1/26/2023            1               X                    X                            X          X             X           X     14     X              X             X              X            X                               X              X                 X                 X                X
 1115586-02     A.B.      7/2/2022     9/8/2022            1               X                    X             X              X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1115622-02     M.A.     6/10/2022    9/24/2022            1               X                    X                            X          X             X           X     28     X     X                                     X            X                               X              X                 X                 X                X
 1115629-07     G.J.     6/30/2022    9/29/2022            1               X                    X                            X          X                         X      4                    X                            X            X                               X              X                 X                 X                X
 1115633-02     J.P.     6/29/2022    1/30/2023            1               X                    X             X              X          X             X           X     26     X     X        X                            X            X                               X              X                 X                 X                X
 1115639-04     W.S.     6/18/2022   11/20/2022            1               X                                  X              X                        X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1115658-01     A.O.     6/11/2022     9/3/2022            3               X                    X                            X          X             X           X     21     X     X        X             X              X            X               X               X              X                 X                 X                X
 1115690-01     H.C.     6/16/2022    2/13/2023            1               X                    X                            X          X             X           X      7     X                                                        X                               X              X                 X                 X                X
 1115741-01     Y.G.      7/3/2022    11/5/2022            1               X                                  X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1115755-02     V.H.     6/18/2022    7/11/2023            2               X                                  X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1115764-02     A.O.      7/5/2022     2/2/2023            4               X                    X             X              X          X             X           X      3     X              X                            X            X                               X              X                 X                 X                X
 1115809-02     C.M.      7/2/2022   12/16/2022            1               X                                                 X          X                         X      5     X     X                      X              X                                            X                                                  X
 1115818-01     J.P.     6/29/2022    8/26/2022            4               X                    X                            X          X                         X      2                                  X                           X                               X              X                 X                 X                X
 1115830-01     X.H.      7/3/2022    4/20/2023            1               X                                  X              X          X                         X      5     X     X        X                            X            X                               X              X                 X                 X
 1115859-02     E.M.     6/15/2022    11/3/2022            2               X                    X             X              X          X             X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1115864-01     J.C.     6/30/2022    12/7/2022            1               X                    X                            X          X             X           X     10     X     X        X                            X            X                                              X                 X                 X                X
 1115889-01     A.M.      6/2/2022    8/26/2022            3               X                    X             X              X          X             X           X     14     X     X        X             X              X            X               X               X              X                 X                 X                X
 1115892-01     A.N.      7/4/2022    9/15/2022            1               X                                                 X          X             X           X     16     X     X                      X              X            X                               X              X                 X                 X                X
 1115896-01     H.A.      7/4/2022    8/18/2022            1               X                    X             X              X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1115903-01     C.H.      7/7/2022    11/3/2022            1               X                    X                            X          X                         X      7     X     X                                     X            X                               X              X                 X                 X                X
 1115984-01     R.C.     6/27/2022    11/8/2022            1               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1115985-01      I.S.    6/30/2022    12/3/2022            1               X                                                 X          X             X           X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1116011-02     C.D.     6/29/2022     1/3/2023            1               X                                                 X          X                         X      8           X        X                            X                                            X                                                  X
 1116036-01     C.E.     6/26/2022    6/18/2023            1               X                    X             X              X          X             X           X      1                                                              X               X               X              X                 X                 X                X
 1116047-01     R.G.      7/2/2022   11/18/2022            1               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1116059-01     Y.B.      7/3/2022    12/5/2022            3               X                                                 X          X             X                  0                                  X                           X               X               X              X                 X                                  X
 1116084-01     W.G.      7/9/2022     9/3/2022            3               X                    X                            X          X             X           X     21     X     X        X                            X            X               X               X              X                 X                 X                X
 1116090-02     Y.O.      7/7/2022    10/9/2022            1               X                    X                            X          X                         X      2     X                                                                        X               X              X                 X                 X                X

                                                                                                                                                98 of 133                                                                                                                                                                             Exhibit 1
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                                                                                                                       1548
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
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                                                                                                                                                                           Devices
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               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1116090-05     B.H.      7/7/2022    8/25/2022            1               X                    X                            X          X                         X      5     X              X             X              X            X                               X              X                 X                 X                X
 1116116-01     S.W.     6/27/2022    9/17/2022            4               X                    X                            X          X             X           X      6     X              X                            X            X                               X              X                 X                 X                X
 1116117-01     J.D.     6/27/2022    9/10/2022            2               X                    X                            X          X             X           X      8     X     X        X                            X            X               X               X              X                 X                 X                X
 1116119-02     M.M.      7/6/2022   10/19/2023            1               X                    X                            X          X                         X     24     X     X        X                            X            X               X               X              X                 X                 X                X
 1116134-02     R.M.     6/25/2022    8/27/2022            2               X                    X             X              X          X             X           X     10     X     X                      X              X            X                               X              X                 X                 X                X
 1116136-02     R.A.     6/28/2022    11/1/2022            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1116151-02     I.A.     7/19/2022    11/9/2022            4               X                    X             X              X          X             X           X      2                                                              X               X               X              X                 X                 X                X
 1116178-01     S.M.     7/12/2022    9/18/2022            4               X                    X                            X          X             X           X     10                                  X                           X                               X              X                 X                 X                X
 1116187-02     G.J.     6/21/2022   11/18/2022            1               X                    X                            X          X                         X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1116200-02     C.D.     7/17/2022   10/26/2022            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
 1116228-02     F.W.     7/21/2022     3/9/2023            1               X                                                 X          X             X           X      4           X        X             X              X            X                               X              X                 X                 X                X
 1116234-02     O.C.      7/6/2022   10/11/2022            3               X                                  X              X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1116270-02     A.M.     7/19/2022    9/23/2022            2               X                                                 X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1116289-02     C.N.     7/11/2022    10/6/2022            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1116291-01     K.C.      7/1/2022    11/8/2022            1               X                    X                            X          X             X           X     10     X     X        X                            X            X               X               X              X                 X                 X                X
 1116294-01     Z.Q.     7/15/2022    7/15/2023            2               X                    X                            X          X                                0                                                              X                               X              X                 X                 X                X
 1116295-01     J.S.      7/4/2022   12/16/2022            1               X                    X                            X          X             X           X      2                                                                              X               X              X                 X                 X                X
 1116300-02     B.S.     7/16/2022   10/13/2022            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1116302-01     M.H.     7/18/2022   11/22/2022            1               X                                                 X          X             X                  0                                                              X                               X              X                 X                 X                X
 1116303-02     A.C.     6/28/2022    8/25/2022            4               X                    X                            X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1116362-04     A.S.     7/21/2022   11/14/2022            4               X                    X             X              X          X             X           X     18     X     X        X                            X            X               X               X              X                 X                 X                X
 1116454-01     J.R.     7/15/2022    4/21/2023            1               X                                                 X          X                         X      4     X     X                      X              X            X               X               X              X                 X                 X                X
 1116458-02     T.M.     7/23/2022     9/9/2022            3               X                    X                            X          X             X           X     13     X     X                      X                           X                               X              X                 X                 X                X
 1116460-02     L.S.     7/20/2022    10/3/2022            1               X                    X                            X          X             X           X      6     X     X                                     X            X                               X              X                 X                 X                X
 1116496-02     M.H.     7/15/2022    9/23/2022            3               X                    X             X              X          X             X           X      5                                  X              X            X               X               X              X                 X                 X                X
 1116505-02     Y.F.     6/28/2022   12/13/2022            1               X                    X                            X                        X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1116531-02     J.M.     6/30/2022    1/15/2023            1               X                    X                            X          X                         X      2                                                              X                               X              X                 X                 X                X
 1116547-01     N.A.      7/9/2022    9/27/2022            1               X                    X                            X          X             X           X      7           X        X             X              X            X                               X              X                 X                 X
 1116549-02     J.L.     7/19/2022     9/7/2022            3               X                    X                            X          X             X           X     17     X     X                      X              X            X                               X              X                 X                 X                X
 1116657-01     E.P.     7/20/2022   10/23/2022            3               X                    X                            X          X             X           X      7                                                              X               X               X              X                 X                 X                X
 1116657-02     J.P.     7/20/2022    9/12/2022            3               X                    X                            X          X             X           X      9                                                              X               X               X              X                 X                 X                X
 1116669-03     D.R.     7/21/2022     9/1/2022            1               X                    X                            X          X                         X      4     X              X                            X            X                               X              X                 X                 X
 1116681-03     D.B.     7/18/2022    1/14/2023            1               X                    X                            X          X                         X     12     X                            X                           X                               X              X                 X                 X                X
 1116718-01     E.A.     7/27/2022     9/1/2022            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1116743-02     S.G.     7/16/2022    12/6/2022            1               X                    X                            X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1116789-01     J.L.      7/8/2022     9/1/2022            3               X                    X                            X          X             X           X     12     X                            X                           X               X               X              X                 X                 X                X
 1116800-02     F.G.     7/31/2022    1/12/2024            1               X                                                 X          X             X                  0                                                 X            X                               X              X                 X                 X                X
 1116807-02     S.F.     7/22/2022    9/17/2022            1               X                    X             X              X          X             X           X     11     X                            X                           X                               X              X                 X                 X                X
 1116865-01      J.J.    7/31/2022    12/7/2022            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1116870-01     Z.N.     7/15/2022    10/3/2022            4               X                                                 X          X                         X      9                                  X                           X               X               X              X                 X                 X                X
 1116885-02     A.C.     7/23/2022   10/20/2022            2               X                    X                            X          X             X           X     19     X              X                            X            X               X               X              X                 X                 X                X
 1116885-04     J.M.     7/23/2022   10/24/2022            2               X                    X                            X          X             X           X     16     X                            X                           X                               X              X                 X                 X                X
 1116891-06     V.O.      8/4/2022   11/30/2022            1               X                                                 X          X                         X      6     X     X                      X              X            X                               X              X                 X                 X
 1116903-01     R.R.      7/9/2022     4/7/2023            1               X                    X                            X          X                         X      3     X              X             X              X            X                               X              X                 X                 X                X

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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
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                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




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                                                                                            Chiropractic




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               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1116903-03     K.S.      7/9/2022    9/12/2022            3               X                    X                            X          X             X           X      3     X              X             X              X            X               X               X              X                 X                 X                X
 1116925-01     R.A.     7/18/2022     3/8/2024            2               X                    X                            X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1116985-01     M.V.     7/28/2022    11/3/2022            1               X                    X                            X          X             X           X     17     X              X             X              X            X                               X              X                 X                 X                X
 1117001-01     E.A.     6/17/2022    1/27/2023            1               X                                                 X          X                         X     15     X     X        X                            X            X                                              X                 X                 X                X
 1117045-02     J.F.      8/9/2022   12/21/2022            3               X                    X             X              X          X             X           X      1                                                              X               X               X              X                 X                 X                X
 1117062-02     H.W.     7/19/2022    1/16/2024            1               X                                  X              X          X                         X      2     X                                           X            X                               X              X                 X                 X                X
 1117066-02     T.G.     6/28/2022   12/22/2022            2               X                    X             X              X          X                         X     29     X     X        X                            X            X                               X              X                 X                 X                X
 1117108-02     A.F.      8/3/2022    10/6/2022            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1117130-02     C.M.     7/20/2022   11/22/2022            1               X                                                 X          X                         X      1     X                                                        X                               X              X                 X                 X                X
 1117132-02     Z.E.     7/31/2022   10/11/2022            2               X                                                 X          X             X           X      1     X                            X              X            X                               X                                X                 X                X
 1117136-02     G.C.     7/14/2022    3/12/2023            4               X                    X             X              X          X             X           X     15                                                              X               X               X              X                 X                 X                X
 1117145-01     J.P.     8/10/2022    9/16/2022            1               X                    X                            X          X             X                  0                                  X                           X                               X              X                                                    X
 1117176-02     D.R.      8/2/2022    6/23/2023            1               X                                                 X          X                         X      5     X     X                                     X            X                               X                                X                 X                X
 1117180-01     J.F.      8/3/2022    12/1/2022            1               X                    X                            X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X
 1117224-01     A.J.     8/10/2022    9/15/2023            1               X                                  X              X          X             X           X      1           X                      X              X            X                               X              X                 X                 X                X
 1117231-01     J.Z.      8/7/2022    11/4/2022            1               X                                  X              X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X
 1117244-02     A.J.     6/16/2022    1/22/2023            3               X                    X             X              X          X                         X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1117311-05     G.C.     7/23/2022   11/12/2022            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1117329-02     J.L.     7/29/2022   10/20/2022            3               X                    X                            X          X             X           X     20     X     X                      X              X            X               X               X              X                 X                 X                X
 1117329-04     N.M.     7/29/2022   10/20/2022            3               X                    X                            X          X             X           X     18     X     X                      X              X            X               X               X              X                 X                 X                X
 1117348-02     D.D.     7/30/2022     4/5/2023            1               X                    X             X              X          X                         X      3                                                              X                               X              X                 X                 X                X
 1117353-01     L.R.      8/5/2022   10/20/2022            2               X                                                 X          X             X           X     16     X                            X              X            X                               X              X                 X                 X                X
 1117356-03     B.R.      8/3/2022   11/12/2022            1               X                                  X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1117389-01     Y.T.      8/6/2022    9/23/2022            2               X                    X             X              X                                    X      5                                  X                           X                               X              X                 X                 X                X
 1117401-01     R.B.     7/17/2022    8/13/2023            1               X                    X                            X          X             X           X      8                                                              X                               X              X                 X                 X                X
 1117458-01     A.T.      8/4/2022    10/7/2022            3               X                    X                            X          X             X           X     18     X              X             X              X            X                               X              X                 X                 X                X
 1117479-07     S.A.      8/3/2022     1/4/2023            1                                                                 X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1117509-01     R.A.     6/29/2022   10/31/2022            1               X                    X                            X          X             X           X      6     X     X                                     X            X                               X              X                 X                 X                X
 1117516-03     J.M.      8/5/2022   11/19/2022            1               X                    X                            X          X             X           X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1117516-04     G.R.      8/5/2022   11/21/2022            2               X                    X                            X                        X           X     11                                                              X               X               X              X                 X                 X                X
 1117519-02     N.G.      7/6/2022   12/23/2022            2               X                                                 X          X                         X      4     X              X             X              X            X                               X              X                 X                 X
 1117535-01     N.M.     7/21/2022    9/21/2022            3               X                    X                            X          X             X           X     14     X              X                            X            X                               X              X                 X                 X                X
 1117545-02     J.D.     7/26/2022    1/27/2023            1               X                                  X              X                                    X      6           X        X             X              X            X                               X                                                  X
 1117546-02     C.A.     8/16/2022   12/22/2022            2               X                    X             X              X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1117561-01     R.W.     7/28/2022    12/8/2022            1               X                    X                            X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1117563-01     M.D.      8/1/2022    9/20/2022            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1117593-01     R.B.      8/2/2022   11/28/2022            1               X                                                 X          X             X           X     17     X     X                      X              X            X                               X              X                 X                 X
 1117602-01     E.G.     8/13/2022    8/24/2023            2               X                    X             X              X          X             X           X      3     X                                           X            X                               X              X                 X                 X                X
 1117611-01     H.P.      8/1/2022   10/14/2022            1               X                                                 X          X                         X      4     X              X             X              X            X                               X              X                 X                 X
 1117710-02     M.M.     8/24/2022    6/21/2024            1               X                    X                            X          X             X           X      3     X     X        X                            X            X                               X              X                 X                 X                X
 1117716-01     F.A.     7/25/2022   10/23/2022            4               X                    X                            X          X             X           X      5     X              X                            X            X               X               X              X                 X                 X                X
 1117722-03     Y.S.      8/3/2022     3/2/2023            2               X                    X                            X          X             X           X      4     X              X                            X            X                               X              X                 X                 X                X
 1117728-01     R.S.      8/4/2022    2/16/2023            1               X                    X                            X          X             X           X     10     X                                           X            X                               X              X                 X                 X                X
 1117779-01     T.B.     8/16/2022    9/20/2022            1               X                    X                            X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                                                        DME Devices




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




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                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1117785-01     J.T.     7/29/2022    2/21/2023            2               X                                                 X          X                                0                                                              X               X               X              X                 X                 X                X
 1117815-01     H.C.      8/8/2022   11/29/2022            3               X                                                 X          X             X           X     15           X                      X                           X               X               X              X                 X                 X                X
 1117837-02     D.N.      8/2/2022   10/21/2022            1               X                                                                                      X      5     X     X                      X              X                                            X                                X                 X
 1117847-01     C.G.     8/12/2022     2/7/2023            1               X                    X                            X                        X           X     14     X     X                                     X            X                               X              X                 X                 X                X
 1118014-01     R.C.     8/11/2022   12/14/2022            1               X                    X             X              X          X             X           X     14                                  X                           X                               X              X                 X                 X                X
 1118039-01     J.B.     8/10/2022    2/19/2023            1               X                                                 X          X                                0                                                              X                                              X                 X                                  X
 1118072-01     N.R.     7/25/2022   11/17/2022            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1118101-02     S.J.      8/9/2022    5/19/2023            1               X                    X                            X          X             X           X      2                                  X              X            X                               X              X                 X                 X                X
 1118108-01     A.R.      8/6/2022   10/21/2022            2               X                    X                            X          X                         X     14     X                            X                           X               X               X              X                 X                 X                X
 1118126-02     M.K.      9/1/2022    1/16/2023            1               X                    X                            X          X             X           X      1     X                                                        X                               X              X                 X                 X                X
 1118141-01     J.H.     8/17/2022    10/6/2022            1               X                    X                            X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1118149-02     C.C.      8/3/2022     1/4/2023            1               X                    X                            X          X             X           X     21     X              X             X              X            X                               X              X                 X                 X                X
 1118252-01     D.C.     8/22/2022    9/29/2022            3               X                    X                            X          X             X           X      5     X              X             X              X            X               X               X              X                 X                 X                X
 1118280-01     J.R.      8/6/2022   12/18/2022            4               X                    X             X              X          X             X           X     14                                  X                           X               X               X              X                 X                 X                X
 1118280-04     E.V.      8/6/2022   12/21/2022            1               X                                  X              X          X             X           X     17     X                                                        X                               X              X                 X                 X                X
 1118288-02     E.F.     5/22/2022    1/22/2024            1               X                                  X              X          X             X           X      4     X                            X              X            X                                              X                 X                 X                X
 1118292-01     G.B.     8/16/2022   11/16/2022            2               X                    X                            X                        X           X      3                                                              X               X               X              X                 X                 X                X
 1118292-02     L.B.     8/16/2022   11/23/2022            3               X                    X                            X                        X           X     17     X                            X              X            X               X               X              X                 X                 X                X
 1118292-03     D.B.     8/16/2022   11/26/2022            1               X                    X                            X          X                         X     17     X     X        X                            X            X                               X              X                 X                 X                X
 1118301-01     B.A.     7/31/2022    9/16/2022            1                                                                 X          X                         X      3     X                                                        X                               X              X                 X                 X                X
 1118318-02     C.C.     8/11/2022   10/23/2022            5               X                    X             X              X          X             X           X     11           X        X             X              X            X               X               X              X                 X                 X                X
 1118323-01     A.M.      9/9/2022    3/20/2023            1               X                    X                            X                        X           X      5           X        X             X              X                                            X              X                 X                 X                X
 1118355-01     W.L.     8/19/2022    3/24/2023            1               X                                  X              X          X             X           X      6     X     X                      X              X                                            X              X                 X                 X                X
 1118356-02     K.M.     8/14/2022   11/26/2022            1               X                    X                            X          X             X           X     30     X     X        X                            X            X                               X              X                 X                 X                X
 1118410-01     E.R.      8/9/2022     1/3/2023            3               X                    X                            X          X             X           X     18                    X             X              X            X               X               X              X                 X                 X                X
 1118420-02     J.G.     8/14/2022   11/18/2022            1               X                                                 X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1118431-02     R.V.     8/23/2022    12/2/2022            1               X                                                 X          X                         X      5     X              X             X              X                                            X                                X                 X                X
 1118492-04     E.B.     8/17/2022     2/3/2023            2               X                    X                            X          X             X           X     13     X              X             X              X            X                               X              X                 X                 X                X
 1118522-01     J.C.      9/2/2022   11/16/2022            1               X                    X             X              X                        X           X      1                                  X                           X               X               X              X                 X                 X                X
 1118568-04     C.W.     8/31/2022    11/9/2022            1               X                    X                            X          X             X           X     17     X     X        X                            X            X                               X              X                 X                 X                X
 1118679-02     D.R.      9/1/2022    7/27/2023            1               X                                                 X          X             X           X      5                    X             X              X                                            X              X                 X                 X                X
 1118743-01     A.R.     8/31/2022    4/20/2023            1               X                    X             X              X          X             X           X     29     X     X        X                            X            X               X               X              X                 X                 X                X
 1118744-01     A.G.     8/14/2022   10/11/2022            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1118804-01     M.B.     8/12/2022   10/19/2022            5               X                    X                            X          X             X           X     14     X              X             X              X            X               X               X              X                 X                 X                X
 1118812-02     M.C.     8/31/2022   11/29/2022            1               X                    X                            X          X             X           X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1118827-02     B.W.      9/3/2022     5/4/2023            1               X                                                 X          X             X           X     14     X     X                      X              X            X                               X              X                 X                 X                X
 1118829-01     C.M.      9/3/2022    10/1/2023            1               X                                                 X          X             X           X     15     X                            X                                           X               X              X                 X                 X                X
 1118857-03     J.D.     8/21/2022     1/5/2023            1               X                    X                            X          X             X           X      5           X                                     X            X                                              X                 X                 X                X
 1118948-01      J.J.    8/28/2022     4/3/2023            1               X                    X                            X          X             X           X     17     X              X             X              X            X               X               X              X                 X                 X                X
 1118953-01     J.T.     8/31/2022   10/31/2022            4               X                                                 X          X             X           X     13     X                            X              X            X               X               X              X                 X                 X                X
 1118971-03     M.R.     9/17/2022    12/3/2022            2               X                                  X              X          X             X           X      7     X              X                            X            X               X               X              X                 X                 X                X
 1118986-02     A.R.     9/15/2022    3/25/2023            1               X                                  X              X          X             X           X      7     X              X                            X            X                               X              X                 X                 X                X
 1118998-03     Z.S.      9/8/2022   11/14/2022            2               X                    X                            X          X             X           X     12     X              X             X              X            X               X               X              X                 X                 X                X
 1118998-04     M.V.      9/8/2022   11/17/2022            1               X                    X                            X          X             X           X     17     X                            X                           X                               X              X                 X                 X                X

                                                                                                                                                101 of 133                                                                                                                                                                            Exhibit 1
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                                                                                                                        1551
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1119018-01     L.T.      8/17/2022    4/17/2023            1               X                    X                            X          X                         X      3     X                                                        X               X               X              X                 X                 X                X
 1119030-02     M.K.      9/16/2022     2/1/2023            2               X                    X             X              X          X                         X      3                                                              X                               X              X                 X                 X                X
 1119035-01     O.G.      8/26/2022   11/18/2022            1               X                    X                            X          X                         X      8     X              X             X              X            X                               X              X                 X                 X                X
 1119055-02     K.R.      9/16/2022   12/15/2022            1               X                                                 X          X             X           X     13     X              X             X              X            X                               X              X                 X                 X                X
 1119084-01     A.P.       9/2/2022     3/2/2023            1               X                    X                            X          X             X           X      5     X              X             X              X            X                               X              X                 X                 X                X
 1119090-02     R.J.       9/6/2022    2/23/2024            1               X                                                 X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1119096-01     L.S.      9/16/2022   11/29/2023            1               X                                                 X          X                         X      3     X     X                                     X            X                               X              X                 X                 X                X
 1119130-02     N.W.      8/20/2022   12/16/2022            1               X                                  X              X          X             X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1119135-01     P.R.      9/18/2022   10/14/2022            4               X                    X                            X          X             X           X     10     X              X             X              X            X               X               X              X                 X                 X                X
 1119150-01     J.F.      8/27/2022   11/29/2022            1               X                    X                            X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1119167-02     J.S.      8/28/2022    12/4/2022            1               X                    X             X              X          X             X           X     15     X              X             X              X            X                               X              X                 X                 X                X
 1119167-04     S.T.      8/28/2022     1/8/2023            1               X                    X             X              X                        X           X     10                                  X                           X               X               X              X                 X                                  X
 1119200-02     Z.R.       9/9/2022    12/7/2022            1                                                                 X          X                                0                                                              X                               X              X                 X                                  X
 1119206-02     D.H.      8/18/2022     1/7/2023            1               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1119210-01     I.C.      9/16/2022     2/5/2023            1               X                    X                            X          X             X           X      3     X                                           X            X                               X              X                 X                 X                X
 1119219-04     O.N.       9/9/2022   11/29/2022            1               X                                                 X          X             X           X     11     X                            X                           X               X               X              X                 X                 X                X
 1119261-01     J.N.      9/16/2022    12/4/2022            1               X                    X             X              X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
 1119301-02     H.G.      9/13/2022     1/3/2023            1                                                                 X          X                         X      7           X        X                            X            X                               X              X                 X                 X                X
 1119304-01     D.F.       9/3/2022   12/16/2022            1               X                    X                            X          X             X           X      5                                                              X                               X              X                 X                                  X
 1119320-01     A.Y.      8/19/2022    1/26/2023            1               X                                                 X          X             X           X      4     X              X                            X            X                               X              X                 X                 X                X
 1119323-02     D.L.      9/18/2022     2/2/2023            1               X                                                 X          X             X           X     20     X              X             X              X            X                               X              X                 X                 X
 1119340-02     L.M.      9/20/2022   11/30/2023            1               X                    X                            X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X
 1119363-03     T.H.      8/26/2022    8/24/2023            1               X                                  X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1119432-01     N.N.      9/16/2022    6/11/2023            2               X                    X             X              X          X             X           X      7     X              X             X              X            X               X               X              X                 X                 X                X
 1119448-02     M.M.      9/18/2022   12/28/2022            1               X                    X                            X          X             X           X      6     X     X                                     X                                            X              X                 X                 X                X
 1119497-01     J.F.      7/22/2022    2/16/2023            3               X                                                 X          X             X           X      6     X              X                            X            X               X               X              X                 X                 X                X
 1119502-01     C.G.      9/11/2022    3/30/2023            1               X                    X                            X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1119507-01     V.F.       9/4/2022    12/8/2022            1               X                    X                            X          X                         X     20     X     X        X             X              X            X                               X              X                 X                 X                X
 1119507-02     D.C.       9/4/2022    12/4/2022            1               X                    X                            X          X                         X     11     X     X                                                  X                               X              X                 X                 X                X
 1119507-03     D.M.       9/4/2022   11/30/2022            1               X                    X                            X          X                         X     11     X     X                      X                           X                               X              X                 X                 X                X
 1119535-02     L.P.      9/15/2022   11/18/2022            1               X                                                 X          X             X           X      4     X              X             X              X            X                               X              X                 X                 X                X
 1119582-01     J.C.      9/19/2022     7/7/2023            1               X                                                 X                                    X      6     X     X                      X              X                                            X                                                  X
 1119613-02     R.A.      9/21/2022    9/13/2023            2               X                                                 X          X             X           X      7     X     X                      X              X            X               X               X              X                 X                 X                X
 1119626-02     D.C.      9/19/2022    4/10/2023            1               X                                                 X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1119656-04     J.T.      9/27/2022    1/22/2023            2               X                    X             X              X          X             X           X     22     X     X        X             X              X            X               X               X              X                 X                 X                X
 1119663-01     C.M.      9/18/2022   11/29/2022            1               X                    X             X              X          X             X           X      8     X                            X              X            X                               X              X                 X                 X                X
 1119727-01     A.K.      9/11/2022    3/12/2024            1               X                    X                            X          X                         X      1                                                              X                               X              X                 X                                  X
 1119743-01     F.C.      9/22/2022    1/31/2023            2               X                                                 X          X                                0                                                              X               X               X              X                 X                 X                X
 1119743-03     K.M.      9/22/2022     1/3/2023            2               X                                                 X          X             X           X     15     X                            X              X            X               X               X              X                 X                 X                X
 1119807-03     J.R.      10/1/2022   11/17/2022            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1119813-01     D.J.      9/29/2022   12/14/2022            4               X                                  X              X          X                         X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1119877-02     J.P.     10/11/2022    1/22/2023            3               X                                                 X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1119900-01     M.A.      9/23/2022    5/15/2023            1               X                    X                            X          X                         X      7     X                                           X            X                               X              X                 X                 X                X
 1119938-01     M.C.      8/23/2022    5/28/2024            1               X                    X                            X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                 102 of 133                                                                                                                                                                            Exhibit 1
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                                                                                                                        1552
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1119954-01     R.A.      9/18/2022    8/17/2023            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1120004-01     L.M.      9/30/2022    6/23/2023            1               X                                                 X          X             X           X      3           X                      X              X                                            X              X                 X                 X                X
 1120017-01     D.C.      9/28/2022   11/17/2022            1               X                    X                            X          X             X           X      7     X              X             X              X                                            X              X                 X                 X                X
 1120038-01     J.P.      9/28/2022    12/2/2022            2               X                    X             X              X          X             X           X      4     X              X             X              X            X                               X              X                 X                 X                X
 1120043-02     T.V.      10/3/2022     6/9/2023            1               X                                                 X                        X           X      7           X        X             X              X            X                               X              X                 X                 X                X
 1120043-03     J.G.      10/3/2022   11/17/2022            2               X                    X                            X          X             X           X     10     X              X             X              X            X                               X              X                 X                 X                X
 1120099-01     J.E.      10/6/2022    3/30/2023            1               X                                  X              X          X                         X     15     X     X        X             X              X            X                               X              X                 X                 X                X
 1120101-02     S.L.     10/13/2022    2/16/2023            2               X                    X                            X          X             X           X     16     X                            X                           X               X               X              X                 X                 X                X
 1120107-02     E.M.      9/12/2022   11/10/2022            1               X                    X             X              X          X                         X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1120109-02     M.A.      9/28/2022   11/11/2022            5               X                                                 X          X             X           X      8     X     X                      X              X            X               X               X              X                 X                 X                X
 1120113-02     L.A.      9/27/2022    1/19/2023            1               X                                                 X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1120145-02     W.I.      9/20/2022    1/29/2023            2               X                                  X              X          X             X           X      3                                  X                           X               X               X              X                 X                 X                X
 1120168-02      S.I.     10/3/2022    1/20/2023            1               X                    X                            X          X             X           X     11                                                              X                                              X                 X                 X                X
 1120173-02     N.M.      10/5/2022    5/21/2023            3               X                                  X              X          X                         X     14     X                            X                           X               X               X              X                 X                 X                X
 1120181-01     D.C.      10/7/2022     2/4/2023            2               X                    X                            X          X             X           X      9     X                            X                           X               X               X              X                 X                 X                X
 1120251-03     X.M.      9/30/2022    3/29/2023            1               X                                  X              X          X             X           X      5     X     X        X                            X            X                               X              X                 X                 X                X
 1120268-01     S.B.      9/30/2022   11/30/2022            1               X                                  X              X          X             X           X     17     X     X                      X              X                                            X              X                 X                 X                X
 1120268-03     A.N.      9/30/2022   11/30/2022            2               X                                  X              X          X             X           X     21     X     X                      X              X            X               X               X              X                 X                 X                X
 1120291-02     C.P.      9/16/2022    3/24/2023            2               X                    X                            X          X             X           X      7     X              X             X              X            X               X               X              X                 X                 X                X
 1120330-02     S.H.      10/5/2022   12/30/2022            2               X                    X                            X          X                         X     12                                                              X               X               X              X                 X                 X                X
 1120345-02     J.B.      9/14/2022   11/17/2022            1               X                                                 X          X             X           X      5     X              X                            X            X                               X              X                 X                 X                X
 1120372-01     M.R.      9/28/2022     2/8/2024            3               X                                                 X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1120372-03     M.Q.      9/28/2022   10/24/2023            1               X                                                 X          X             X           X      4           X                                     X            X                               X              X                 X                 X                X
 1120393-02     T.F.      9/29/2022    3/15/2023            1               X                    X                            X          X             X           X      4     X              X                            X            X               X               X              X                 X                 X                X
 1120396-01     C.D.      9/26/2022    3/30/2023            1               X                    X                            X          X                         X     19     X              X             X              X            X                               X              X                 X                 X                X
 1120416-02     L.S.      10/8/2022     2/3/2023            1               X                    X                            X                        X           X      2                                  X                           X                               X              X                 X                 X                X
 1120419-02     S.C.      10/1/2022    4/17/2023            5               X                    X             X              X          X                         X      1                                                              X                               X              X                 X                 X                X
 1120477-01     O.L.      9/26/2022    4/19/2023            1               X                                                 X          X                                0                                  X                           X               X               X              X                 X                                  X
 1120485-02     J.R.      9/20/2022   11/16/2022            2               X                    X                            X          X             X           X      8     X     X                                     X            X                               X              X                 X                 X                X
 1120485-05     J.L.      9/20/2022   11/16/2022            2               X                    X                            X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1120547-01     D.R.      10/6/2022   11/21/2022            7               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1120552-02     E.R.      9/20/2022   12/16/2022            2               X                    X                            X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1120611-01     E.A.      10/9/2022    3/18/2023            1               X                    X                            X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1120627-01     A.A.      9/14/2022   10/28/2023            1               X                                  X              X          X             X           X     15     X                            X                           X               X               X              X                 X                 X                X
 1120636-01     K.A.      10/6/2022    4/19/2023            1               X                                                 X          X             X                  0                                  X                           X               X               X              X                                   X                X
 1120685-01     J.R.      10/4/2022    3/15/2023            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1120701-01      I.J.    10/15/2022    3/19/2023            4               X                    X                            X          X             X           X      3                                                              X               X               X              X                 X                 X                X
 1120728-01     R.A.      9/26/2022    7/23/2023            1               X                    X                            X          X             X           X     11     X     X        X                            X                                            X              X                 X                 X                X
 1120745-01     R.P.     10/12/2022   12/17/2022            3               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                                  X
 1120805-01     J.H.     10/16/2022   12/15/2022            2               X                    X                            X          X             X           X      9     X              X                            X            X                               X              X                 X                 X                X
 1120805-02     M.S.     10/16/2022     1/5/2023            2               X                    X                            X          X                         X      3     X                                           X            X                               X              X                 X                 X                X
 1120812-02     T.H.      10/2/2022     3/5/2023            2               X                                                 X          X             X           X     12     X                            X                           X               X               X              X                 X                 X                X
 1120932-02     E.J.     10/19/2022    4/21/2023            2               X                    X             X              X          X             X           X      5     X              X                            X            X                               X              X                 X                 X                X
 1120961-01     J.S.     10/20/2022    12/9/2022            2               X                                                 X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X

                                                                                                                                                 103 of 133                                                                                                                                                                            Exhibit 1
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
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                                                                                                                                                                         DME Devices




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                                                                                             Chiropractic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
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                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1120965-01     R.Y.      10/9/2022    4/26/2023            1               X                                  X              X          X             X           X      3           X                      X              X            X               X               X              X                 X                 X                X
 1120969-01     M.S.      10/7/2022     1/4/2023            2               X                    X             X              X          X                         X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1120969-02     V.C.      10/7/2022     1/4/2023            1               X                    X             X              X          X                         X      4                                  X                           X               X               X              X                 X                 X                X
 1120973-01     M.V.     10/17/2022    2/10/2023            1               X                                                 X          X             X           X      4     X     X                                     X            X                               X              X                 X                 X                X
 1120994-01     J.G.     10/21/2022     5/9/2023            2               X                    X             X              X                        X           X      2     X                            X                           X               X               X              X                 X                 X                X
 1120998-01     X.Z.     10/26/2022    3/31/2023            1               X                    X                            X          X             X           X      1                                                                              X               X              X                 X                 X                X
 1121001-01     D.D.     10/26/2022    1/19/2023            2               X                                                 X          X                         X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1121003-01     E.T.     10/27/2022    2/10/2023            1               X                                  X              X          X                         X      5     X     X                                     X                                            X              X                 X                 X
 1121033-01     E.B.     10/22/2022     2/1/2023            2               X                    X             X              X          X             X           X      1                                                              X               X               X              X                 X                 X                X
 1121033-03     W.B.     10/22/2022     2/9/2023            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1121037-02     K.S.     10/11/2022     1/9/2023            5               X                    X                            X          X             X           X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
 1121085-02     E.W.      10/6/2022    12/6/2023            1               X                    X                            X          X                                0                                  X                           X               X               X              X                 X                 X                X
 1121089-01     I.M.     10/22/2022     3/5/2024            1               X                                                 X          X                         X      1     X                                           X            X                               X              X                                   X
 1121108-01     Y.F.      11/1/2022     4/6/2023            2               X                    X             X              X          X             X           X      5                                                              X                               X              X                 X                 X                X
 1121121-03      S.J.     10/7/2022    12/6/2022            1                                                  X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1121151-01     F.G.      9/29/2022    2/14/2023            1               X                    X                            X          X             X           X      3                                  X              X            X                                              X                 X                 X                X
 1121153-01     J.Q.     10/26/2022     9/7/2023            1               X                                                 X          X             X           X      4     X     X                                     X            X                               X              X                 X                 X                X
 1121172-04     G.N.     10/31/2022     8/3/2023            1               X                                  X              X          X             X           X     10                                                                              X               X              X                 X                 X                X
 1121177-01     F.G.     10/11/2022     1/9/2023            2                                                                 X                                           0                                  X                           X               X                              X                 X                                  X
 1121198-01     J.M.     10/21/2022    1/27/2023            1               X                                                 X          X                         X      5     X              X             X              X                                            X              X                 X                 X                X
 1121226-03     B.W.     10/21/2022    9/27/2023            2               X                                  X              X          X             X           X      5     X              X             X              X            X                               X              X                 X                 X                X
 1121234-02     A.S.      10/8/2022     2/9/2023            1               X                    X                            X          X                         X      4     X              X                            X            X                               X              X                 X                 X                X
 1121256-01     J.T.     10/12/2022     3/5/2023            1               X                    X                            X          X                         X     10                                  X                           X                               X              X                 X                 X                X
 1121256-02     R.P.     10/12/2022   11/17/2022            1               X                    X                            X          X                         X     12     X              X                            X            X                               X              X                 X                 X                X
 1121276-04     J.H.     10/31/2022     2/1/2023            1               X                                                 X          X             X                  0                                                              X                               X              X                 X                 X                X
 1121292-01     M.H.     10/30/2022    3/21/2023            1               X                    X                            X          X                         X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1121302-01     D.B.     10/30/2022     2/6/2023            1               X                                                 X          X                         X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1121332-01     D.S.      11/4/2022    1/18/2023            2               X                    X             X              X          X                         X     10                                                              X                               X              X                 X                 X                X
 1121362-01     Q.S.     10/27/2022     2/9/2023            1               X                                                 X                        X                  0                                                              X                               X              X                 X                 X                X
 1121368-01     C.H.      9/25/2022   12/22/2022            2               X                                                 X          X             X           X      6           X        X             X              X            X               X               X              X                 X                 X                X
 1121406-01     C.V.      11/7/2022    4/24/2023            1               X                                  X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1121476-01     R.M.     10/12/2022    4/28/2023            2               X                                                 X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1121489-02     F.G.      11/3/2022    3/31/2023            1               X                    X                            X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1121514-01     A.K.     10/22/2022   12/22/2022            4               X                    X                            X          X             X           X      3                                                              X               X               X              X                 X                 X                X
 1121527-01     M.C.      11/5/2022    2/23/2023            1               X                                                 X          X             X           X      5           X        X             X              X            X                               X              X                 X                 X                X
 1121542-01     K.T.     10/22/2022     4/4/2024            1               X                                                 X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1121566-01     N.B.     10/25/2022    3/10/2023            1               X                                                 X          X                         X      3     X              X             X              X            X                               X              X                 X                 X                X
 1121572-01     N.P.     10/20/2022    3/25/2023            1               X                    X             X              X          X             X           X      6                                                              X                               X              X                 X                 X                X
 1121576-01     D.N.     10/27/2022    5/20/2023            1               X                                                 X          X                         X      2                                  X                           X                               X              X                 X                 X                X
 1121602-01     J.W.      11/9/2022    7/21/2023            2               X                                  X              X          X             X           X      1           X                      X              X            X                               X              X                 X                 X                X
 1121606-04     K.R.      11/7/2022     2/6/2023            1               X                    X             X              X          X             X           X      5     X     X                                     X            X                               X              X                 X                 X                X
 1121630-01     J.C.     10/28/2022    1/11/2023            1               X                    X                            X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1121668-01     M.A.     10/13/2022     2/5/2023            3               X                    X                            X          X             X           X     15     X              X             X              X            X               X               X              X                 X                 X                X
 1121704-01     J.W.      11/6/2022     4/7/2023            1               X                    X                            X          X             X           X      6                                                              X                               X              X                 X                 X                X

                                                                                                                                                 104 of 133                                                                                                                                                                            Exhibit 1
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
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                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
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                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1121738-02     K.S.      11/7/2022    1/26/2023            1               X                    X                            X          X             X           X      7     X              X                            X                                            X              X                 X                 X                X
 1121783-01     D.A.     10/22/2022    1/27/2023            3               X                                  X              X          X             X           X      7     X     X                      X              X            X                               X                                X                 X                X
 1121789-04     S.R.     10/20/2022    3/25/2023            1               X                    X                            X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1121797-02     E.M.     11/11/2022    6/13/2023            2               X                    X             X              X          X             X           X      1     X                            X                           X                               X              X                 X                 X                X
 1121836-02     C.S.     11/16/2022    1/28/2023            1               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1121846-01     R.M.     10/27/2022    12/8/2022            3               X                    X             X              X          X             X           X     14     X     X                                                  X               X               X              X                 X                 X                X
 1121867-03     D.W.     11/13/2022    1/27/2023            1               X                    X                            X          X             X           X     12     X              X                            X            X                               X              X                 X                 X
 1121922-02     P.T.     10/29/2022    2/15/2023            2               X                    X                            X          X             X           X     19     X              X                            X            X               X               X              X                 X                 X                X
 1121933-02     L.L.     11/12/2022     1/5/2023            1               X                                                 X          X             X           X      3     X     X                                     X            X                               X              X                 X                 X                X
 1121935-01     C.G.      11/9/2022    5/24/2023            4               X                    X                            X          X             X           X     10                                  X                           X               X               X              X                 X                 X                X
 1121994-07     Y.A.     11/16/2022    4/26/2023            1               X                    X                            X          X             X           X      7                                                              X                               X              X                 X                 X                X
 1122000-01     D.J.     11/19/2022     2/5/2023            2               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1122000-02     G.M.     11/19/2022    1/17/2023            1               X                    X             X              X          X             X           X     10                    X                            X            X                               X              X                 X                 X                X
 1122008-01     C.W.      11/8/2022    3/20/2023            3               X                    X             X              X          X             X           X      5     X              X                            X            X               X               X              X                 X                 X                X
 1122042-01     R.M.     11/15/2022     1/5/2023            1               X                    X                            X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1122047-02     A.Y.     10/16/2022     3/9/2023            1               X                    X             X              X          X                         X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1122067-01     A.L.      11/5/2022    4/19/2023            3               X                                  X              X          X                                0                                                              X               X               X              X                 X                 X                X
 1122093-02     M.R.      11/7/2022    1/31/2023            1               X                    X                            X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X
 1122122-03     N.D.     11/10/2022     5/5/2023            1               X                                                 X          X             X           X      1                                  X              X            X                                              X                 X                 X                X
 1122132-01     H.M.     11/15/2022    2/10/2023            2               X                                  X              X          X             X           X      4     X                                                        X                               X              X                 X                 X                X
 1122135-01     P.L.     11/26/2022    6/29/2023            1               X                    X             X              X          X             X           X      6     X              X             X              X            X               X               X              X                 X                 X                X
 1122160-01     M.M.     10/14/2022   12/15/2023            1               X                                                 X          X                         X      5     X     X                      X              X                                            X                                                  X
 1122164-01     J.C.     11/10/2022    6/23/2023            1               X                    X                            X          X             X           X      6                                                              X                               X              X                 X                                  X
 1122175-01     C.H.     10/26/2022   12/15/2022            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1122178-01     A.C.     10/31/2022    2/20/2023            1               X                                                 X          X             X           X     25     X     X        X             X              X            X                               X              X                 X                 X
 1122202-02     V.B.      11/4/2022     2/9/2023            1               X                    X                            X          X             X           X     10     X                            X              X                                            X              X                 X                 X                X
 1122220-02     D.F.     10/15/2022     3/1/2023            1               X                                  X              X          X                         X      7     X                                                        X                               X              X                 X                 X                X
 1122260-03     A.G.     10/27/2022   12/22/2022            1               X                    X                            X          X             X           X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1122289-02     A.O.     11/25/2022    2/21/2023            1               X                                                 X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X
 1122303-01     G.F.      11/8/2022    2/15/2023            1               X                                  X              X          X             X           X      8                                                              X                               X              X                 X                                  X
 1122305-01     L.L.     10/28/2022    5/12/2023            2               X                                  X              X          X                                0                                                              X                               X              X                                   X                X
 1122324-02     C.E.      11/2/2022     2/4/2023            3               X                    X                            X          X             X           X      5     X     X                      X              X            X               X               X              X                 X                 X                X
 1122331-01     J.P.     11/19/2022    4/20/2023            2               X                    X                            X          X             X           X     15     X                                                        X               X               X              X                 X                 X                X
 1122351-02     W.T.     10/28/2022    2/27/2023            3               X                                                 X          X             X           X      9     X     X        X             X                           X               X               X              X                 X                 X                X
 1122354-01     E.N.      11/9/2022    3/23/2023            1               X                                                 X                                           0                                                              X               X               X              X                 X                 X                X
 1122381-02     E.L.     11/14/2022    3/14/2023            1               X                    X             X              X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1122391-01     R.H.     10/31/2022    2/23/2023            1               X                    X                            X          X             X           X     13     X              X                            X            X                               X              X                 X                 X                X
 1122403-02     T.D.     10/23/2022    6/28/2023            5               X                    X                            X          X                         X      5                                  X                           X               X               X              X                 X                 X                X
 1122410-02     J.N.     11/23/2022    3/23/2023            2               X                    X             X              X          X             X           X      3     X                                           X            X                               X              X                 X                 X                X
 1122412-01     Y.J.     11/25/2022    2/11/2023            6               X                    X                            X          X             X           X      8     X     X                                     X            X               X               X              X                 X                 X                X
 1122412-02     M.Z.     11/25/2022    4/15/2023            1               X                    X                            X          X                                0                                                              X                               X              X                                   X                X
 1122412-03     F.Z.     11/25/2022    3/31/2023            1               X                    X                            X          X             X           X      1                                                                              X               X                                X                                  X
 1122432-01     L.M.     11/28/2022    1/15/2024            1               X                    X                            X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1122435-01     L.R.     11/20/2022     9/8/2023            1               X                    X                            X          X             X           X      4           X                                     X            X                               X              X                 X                 X                X

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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




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                                                                                                                          Diagnostic




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                                                                                                                                       Any MRI




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                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1122450-01     C.S.      11/2/2022     4/9/2024            1               X                                                 X          X                         X      7     X     X                                     X            X               X               X              X                 X                 X                X
 1122472-01     J.B.     11/27/2022     3/1/2023            3               X                    X                            X          X             X           X     17     X                            X              X            X               X               X              X                 X                 X                X
 1122476-01     L.D.     10/31/2022    2/22/2023            1               X                    X                            X          X                         X     14     X                                                        X                               X              X                 X                 X                X
 1122499-03     J.D.     10/31/2022    2/20/2023            1               X                                  X              X          X                         X     23     X     X        X                            X            X                               X              X                 X                 X                X
 1122526-04     V.M.     11/10/2022    2/18/2023            3               X                                                 X          X                         X     16     X     X        X                            X            X               X               X              X                 X                 X                X
 1122572-01     D.T.     11/19/2022   12/21/2022            2               X                                  X              X          X             X           X     10                                                              X                               X              X                 X                 X                X
 1122600-02     L.K.       9/3/2022    1/16/2023            2               X                    X             X              X          X             X                  0                                  X              X            X               X               X              X                 X                 X                X
 1122619-02     C.M.     11/23/2022    2/16/2023            2               X                                                 X          X             X           X     16     X                            X              X            X               X               X              X                 X                 X                X
 1122619-03     I.D.     11/23/2022    2/27/2023            2               X                                                 X          X             X           X     15     X                            X              X            X               X               X              X                 X                 X                X
 1122633-01     R.A.     11/18/2022     2/4/2023            7               X                    X                            X                                           0                                  X                           X               X               X              X                 X                 X                X
 1122634-03     A.H.      11/5/2022    5/23/2023            1               X                    X             X              X          X             X           X      4     X              X                            X            X                               X              X                 X                 X                X
 1122641-01     S.P.     11/30/2022     3/3/2023            1               X                    X                            X          X             X           X     10     X              X                            X            X                               X              X                 X                 X                X
 1122641-03     R.L.     11/30/2022    2/11/2023            2               X                    X                            X          X             X           X     26     X     X        X                            X            X                               X              X                 X                 X                X
 1122641-04     K.T.     11/30/2022    3/20/2023            1               X                    X                            X          X             X           X      7     X              X             X              X            X                               X              X                 X                 X                X
 1122646-01     J.Q.     11/25/2022    2/20/2023            2               X                    X                            X          X                         X     22     X     X        X             X              X            X               X               X              X                 X                 X                X
 1122677-01     J.L.     11/21/2022    1/27/2023            1               X                                  X              X          X             X           X     10     X                                           X            X               X               X              X                 X                 X                X
 1122685-01     A.M.     10/18/2022   10/28/2023            1               X                    X             X              X          X             X           X      5     X     X                                     X            X                               X              X                 X                 X                X
 1122702-01     A.L.      12/7/2022    8/25/2023            2               X                                                 X          X             X                  0                                                              X                               X              X                 X                 X                X
 1122718-01     T.H.     11/18/2022    1/30/2023            1               X                                                 X          X             X           X      8     X     X                                     X            X                               X              X                 X                 X                X
 1122719-03     N.S.     11/28/2022    3/13/2023            1               X                    X             X              X          X             X           X      7     X              X                            X            X                               X              X                 X                 X                X
 1122746-01     F.C.      12/2/2022    2/27/2023            1               X                    X                            X          X             X           X      7                                                              X                               X              X                 X                 X                X
 1122788-01     Y.P.     11/10/2022    2/10/2023            2               X                    X                            X          X                         X     15     X     X        X                            X            X               X               X              X                 X                 X                X
 1122891-01     L.T.     12/10/2022    4/24/2023            1               X                                                 X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1122898-02     J.R.     11/13/2022    1/19/2023            2               X                                                 X          X             X           X      6     X              X             X              X            X               X               X              X                 X                 X                X
 1122918-01     B.B.     11/21/2022    1/12/2023            1                                                                 X                                    X      5           X        X                            X            X                               X                                                  X
 1122925-03     M.S.     11/22/2022     4/3/2023            2               X                    X                            X          X             X           X      5                                                              X               X               X              X                 X                                  X
 1122926-01     F.J.     11/27/2022    1/27/2023            2               X                    X                            X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1123029-01     S.C.     11/21/2022     2/9/2023            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1123051-01     M.K.      12/4/2022    6/20/2023            1               X                                  X              X          X             X           X     15     X                                                        X                               X              X                 X                 X                X
 1123117-02     R.A.      12/7/2022     6/6/2023            1               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1123192-02     P.S.     11/25/2022    4/17/2023            3               X                    X                            X                        X           X      8     X              X             X              X            X                               X              X                 X                 X                X
 1123200-02     S.B.     12/16/2022     8/8/2023            2               X                    X                            X          X             X           X     13     X     X                                     X            X               X               X              X                 X                 X                X
 1123205-01     S.R.      12/7/2022     2/7/2023            2               X                    X             X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1123205-02     A.H.      12/7/2022    5/15/2023            1               X                    X                            X          X             X           X     15     X              X             X              X            X                               X              X                 X                 X                X
 1123231-01     P.M.     11/17/2022    4/29/2023            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1123243-01     K.G.     11/18/2022    5/14/2023            1               X                                  X              X          X             X           X      9                                                 X            X                               X              X                 X                 X                X
 1123264-02     J.M.      12/6/2022    3/31/2023            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1123270-02     P.L.     11/23/2022     3/1/2023            3               X                                                 X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1123306-01     L.F.     11/21/2022    8/10/2023            1                                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1123308-01     F.C.     12/13/2022     4/1/2023            2               X                                  X              X          X             X           X     18     X     X        X             X              X                            X               X              X                 X                 X                X
 1123365-01     J.S.      12/9/2022    4/26/2023            1               X                    X                            X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1123384-01     C.J.     11/21/2022    8/31/2023            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1123399-03     K.W.     12/16/2022    8/29/2023            2               X                    X                            X          X             X           X     10     X                            X                           X               X               X              X                 X                 X                X
 1123484-01     A.M.     12/11/2022    8/30/2023            1               X                    X             X              X          X             X           X      3                                                              X                                              X                 X                 X                X

                                                                                                                                                 106 of 133                                                                                                                                                                            Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1123562-01     D.O.      12/7/2022    8/18/2023            1               X                                                 X          X                         X      5     X     X                      X              X                                            X              X                 X                 X
 1123630-01     R.G.     12/22/2022    2/26/2023            4               X                    X             X              X          X             X           X      5     X              X                            X            X               X               X              X                 X                 X                X
 1123644-04     K.C.      12/8/2022   12/15/2023            1               X                                                 X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1123670-01      S.I.    12/17/2022    6/19/2023            1               X                                                 X          X                         X      4     X              X                            X            X                               X              X                 X                 X                X
 1123728-01     Q.W.     12/13/2022    2/24/2023            1               X                                  X              X          X                         X      5     X     X                      X              X                                            X                                                  X
 1123772-01     E.N.     11/21/2022     5/1/2023            1               X                                  X              X          X                                0                                                 X            X                                              X                 X                 X
 1123812-02     R.S.     12/22/2022     3/9/2023            1               X                                                 X          X             X           X     18     X              X             X              X            X                               X              X                 X                 X                X
 1123812-03     M.P.     12/22/2022    2/27/2023            2               X                                                 X          X             X           X     16     X              X                            X            X               X               X              X                 X                 X                X
 1123839-01     A.T.      12/2/2022     2/7/2023            3               X                    X             X              X          X             X           X     17     X              X                            X            X               X               X              X                 X                 X                X
 1123905-01     G.E.     12/23/2022    2/12/2023            1               X                    X             X              X          X             X           X     17     X                                                        X               X               X              X                 X                 X                X
 1123960-01     F.M.     12/16/2022    7/14/2023            1               X                    X                            X          X             X                  0                                                              X               X               X              X                 X                                  X
 1123967-01     J.P.     12/19/2022    3/18/2023            1               X                    X                            X          X             X           X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1124002-01     O.R.     12/27/2022    2/24/2023            3               X                    X             X              X          X             X           X      4     X              X                            X            X               X               X              X                 X                 X                X
 1124002-02     M.M.     12/27/2022    4/11/2023            1               X                    X             X              X          X             X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1124002-03     E.A.     12/27/2022    2/19/2023            2               X                    X             X              X          X             X           X      1                                                              X               X               X              X                 X                 X                X
 1124004-02     K.B.     12/20/2022    4/20/2023            1               X                                                 X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1124009-01     F.G.     12/16/2022    4/29/2023            2               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1124012-01     S.M.     12/22/2022     9/6/2023            2               X                    X                            X          X             X           X     16     X                            X              X            X               X               X              X                 X                 X                X
 1124019-01     L.P.     12/15/2022     4/4/2023            2               X                                                 X          X             X           X     14                                                              X               X               X              X                 X                 X                X
 1124022-01     A.B.     12/10/2022     2/9/2023            2               X                                                 X          X             X           X      4     X              X             X              X            X                               X              X                 X                 X                X
 1124026-01     G.C.     12/27/2022    3/21/2023            2               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1124028-01     A.P.       1/4/2023     5/4/2023            2               X                    X                            X          X             X           X     18     X                                                        X               X               X              X                 X                 X                X
 1124030-02     C.L.     12/25/2022    3/30/2023            1               X                                                 X          X                         X     13     X     X                      X              X            X                               X              X                 X                 X                X
 1124048-01     L.G.     12/15/2022   11/30/2023            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1124076-01     R.J.     12/30/2022    5/12/2023            1               X                                                 X          X                         X      5     X     X                      X              X                                            X                                                  X
 1124146-01     A.I.       1/1/2023    6/30/2023            1               X                    X             X              X          X             X           X      4     X              X                            X            X                               X              X                 X                 X                X
 1124202-01     A.P.       1/4/2023    2/25/2023            2               X                    X                            X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1124205-02     E.M.     12/13/2022    10/4/2023            1                                                                 X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1124205-03     J.C.     12/13/2022     3/7/2023            1               X                                                                                      X      8     X     X        X                            X            X                               X              X                 X                 X
 1124272-01     H.M.     12/20/2022     2/2/2023            1               X                                  X              X          X                         X     25     X     X        X             X              X            X                               X              X                 X                 X                X
 1124297-01     S.C.      1/10/2023    4/23/2023            2               X                    X                            X          X                         X      3     X              X                            X            X                               X              X                                   X                X
 1124329-01     F.C.     11/23/2022    3/17/2023            2               X                                                 X          X             X           X     12     X                                                        X               X               X              X                 X                 X                X
 1124336-02     S.B.     12/11/2022    1/30/2023            2               X                    X                            X          X             X           X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
 1124336-04     N.D.     12/11/2022     2/3/2023            1               X                                                 X          X             X           X     12     X     X                      X              X            X               X               X              X                                   X                X
 1124351-01     I.K.       1/4/2023    2/16/2023            2               X                    X                            X          X             X           X      6     X              X             X              X            X                               X              X                 X                 X                X
 1124365-01     D.M.     12/25/2022    3/26/2023            1               X                    X                            X          X             X           X     13     X                                                        X                               X              X                 X                 X                X
 1124368-01     L.G.     12/25/2022    4/17/2023            2               X                    X                            X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1124369-01     H.M.     12/27/2022    3/14/2023            2               X                    X                            X          X             X           X     18     X              X             X              X            X               X               X              X                 X                 X                X
 1124391-02     E.S.     12/30/2022     8/1/2023            1               X                    X                            X          X             X           X     12     X                                                        X                               X              X                 X                 X                X
 1124395-02     C.Q.       1/4/2023    2/14/2023            5               X                    X                            X          X             X           X      7     X     X        X                            X            X               X               X              X                 X                 X                X
 1124468-01     G.I.     12/30/2022    6/26/2023            1               X                    X             X              X          X             X           X      6     X     X                                     X            X                               X              X                 X                 X                X
 1124488-01     S.M.     12/12/2022     3/3/2023            2               X                    X                            X          X             X           X     13     X                                                        X                               X              X                 X                 X                X
 1124697-01     J.R.     12/31/2022     3/6/2024            1               X                    X                            X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1124714-02     Y.C.       1/2/2023    2/10/2023            1               X                    X                            X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                 107 of 133                                                                                                                                                                            Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1124728-01     M.S.      1/22/2023   10/15/2023            2               X                    X                            X          X             X           X     16                    X             X              X            X               X               X              X                 X                 X                X
 1124728-02     A.B.      1/22/2023    9/24/2023            2               X                    X                            X          X             X           X     18     X              X             X              X            X               X               X              X                 X                 X                X
 1124739-02     D.R.       1/5/2023     5/3/2023            4               X                                  X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1124780-01     O.G.     12/25/2022     4/2/2023            3               X                    X             X              X          X                         X      1     X                            X                           X               X               X              X                 X                 X                X
 1124804-01     M.K.     12/16/2022    8/28/2023            2                                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1124834-01     M.L.     11/27/2022    5/22/2023            1               X                    X                            X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1124838-01     H.P.      1/13/2023     6/3/2023            2               X                                                 X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X
 1124842-01     V.P.     12/24/2022    3/10/2023            1               X                                                 X          X             X           X      4     X              X                            X            X                               X              X                 X                 X                X
 1124849-02     T.C.      12/6/2022     6/9/2023            1               X                                                 X          X                         X      2     X                            X              X            X                               X              X                 X                 X                X
 1124856-01     A.V.     12/26/2022    4/27/2023            1               X                                  X              X          X             X           X      4     X              X                            X            X               X               X              X                 X                 X                X
 1124866-03     P.P.       1/5/2023    8/26/2023            2               X                                  X              X          X             X           X     22     X     X        X             X              X            X               X               X              X                 X                 X                X
 1124875-01     N.P.       1/4/2023    3/17/2023            1               X                    X                            X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
 1124886-04     N.M.      1/15/2023   10/11/2023            1               X                                                 X          X             X           X      3           X                                     X                                            X              X                 X                 X                X
 1124942-01     J.E.      1/24/2023    7/19/2023            2               X                    X                            X          X             X           X     14     X                            X                           X               X               X              X                 X                 X                X
 1124942-02     G.L.      1/24/2023    5/30/2023            1               X                    X                            X          X             X           X     15                                                              X                               X              X                 X                 X                X
 1124942-03     T.E.      1/24/2023    5/17/2023            1               X                    X                            X          X             X           X     16     X                                                        X                               X              X                 X                 X                X
 1124966-01     E.E.       1/6/2023    6/11/2023            1               X                                  X              X          X                                0                                                              X                               X              X                 X                 X                X
 1124977-03     T.D.     12/31/2022    2/21/2023            2               X                                  X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1125010-02     F.C.      1/24/2023     5/1/2023            1               X                    X                            X          X             X           X      7                    X                            X            X                               X              X                 X                 X                X
 1125038-01     S.L.      1/12/2023    4/17/2023            1               X                                                 X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1125044-02     M.M.     12/31/2022     3/3/2023            3               X                    X                            X          X             X           X     23     X     X        X             X              X            X               X               X              X                 X                 X                X
 1125088-01     S.S.      1/29/2023    3/30/2023            1               X                                                 X          X                         X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1125101-01     A.S.       1/3/2023    3/26/2023            2               X                    X             X              X          X                                0                                                              X               X               X              X                 X                 X                X
 1125114-03     A.V.      1/11/2023     6/4/2023            1               X                    X                            X          X             X           X      1     X                                                        X                                              X                 X                 X                X
 1125172-01     S.L.       1/7/2023     3/2/2023            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1125213-01     N.C.      1/24/2023    5/22/2023            1               X                    X                            X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1125227-02     R.G.       1/4/2023    3/24/2023            1               X                    X                            X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1125267-01     A.D.      1/22/2023    3/31/2023            1               X                    X                            X          X             X           X     16     X              X                            X            X                               X              X                 X                 X
 1125277-01     J.G.      1/11/2023    7/18/2023            2               X                                  X              X          X                         X     24     X     X                      X              X            X               X               X              X                 X                 X                X
 1125290-02     E.L.      1/25/2023    4/26/2023            1               X                                                 X          X             X           X      8     X     X        X                            X                                            X              X                 X                 X                X
 1125318-02     K.B.      1/26/2023    2/24/2023            3               X                    X                            X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1125323-02     G.S.      1/25/2023    4/20/2023            4               X                                                 X          X             X           X      3                                                              X               X               X              X                 X                 X                X
 1125330-01     J.W.      1/25/2023    3/10/2023            4               X                    X             X              X          X             X           X      2                                                              X               X               X              X                 X                 X                X
 1125335-01     F.V.      1/22/2023    5/19/2023            1               X                                                 X          X             X           X      2                                  X              X            X                               X              X                 X                 X                X
 1125355-01     S.C.      1/30/2023    1/12/2024            1               X                    X                            X                                    X      2                                  X              X            X                               X              X                 X                 X                X
 1125399-01     M.V.       1/6/2023    3/28/2023            2               X                    X                            X          X                         X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1125431-01     J.N.      1/21/2023    3/26/2023            1               X                    X                            X          X             X           X     14     X                                                        X                               X              X                 X                 X                X
 1125432-01     J.L.       1/7/2023    4/11/2023            2               X                                  X              X          X                         X      8                                                              X                               X              X                 X                 X                X
 1125433-02     H.K.      1/19/2023     4/3/2023            1               X                                                 X          X                         X      5           X        X             X              X                                            X                                                  X
 1125449-01     D.S.      1/22/2023    3/30/2023            2               X                                                 X          X             X           X      8                                                              X               X               X              X                 X                 X                X
 1125458-02     D.B.      1/26/2023    5/25/2023            2               X                    X             X              X          X             X           X     17     X                            X                           X               X               X              X                 X                 X                X
 1125458-04     R.B.      1/26/2023    5/25/2023            2               X                    X             X              X          X             X           X     16     X                            X                           X               X               X              X                 X                 X                X
 1125496-01     K.G.      1/23/2023    3/30/2023            3               X                    X                            X          X             X           X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
 1125508-01     M.S.      1/30/2023    3/28/2024            1               X                    X                            X          X             X           X     21     X                                           X                                            X              X                 X                 X                X

                                                                                                                                                 108 of 133                                                                                                                                                                            Exhibit 1
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                                                                                                                        1558
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
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                                                                                                                                                                         DME Devices




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                                                                                                                                                                         Compression
                                                                                             Chiropractic




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                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
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                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1125525-01     X.L.      1/20/2023    7/18/2023            2               X                                  X              X          X                         X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1125568-02     J.M.      1/12/2023    4/17/2023            1               X                    X                            X          X             X           X      3           X                      X              X            X                               X              X                 X                 X                X
 1125573-02     W.D.     11/20/2022     4/8/2023            1               X                    X                            X          X                                0                                                              X                                              X                 X                 X                X
 1125573-04     L.E.     11/20/2022    8/26/2023            1               X                    X                            X          X                                0                                                              X                                              X                                   X                X
 1125573-06     C.N.     11/20/2022   10/20/2023            1               X                    X                            X          X                                0                                                              X                               X              X                 X                                  X
 1125581-01     J.A.       2/1/2023    10/8/2023            1               X                    X                            X          X             X           X     15     X                            X                                           X               X              X                 X                 X                X
 1125599-01     T.B.      1/25/2023    5/31/2023            2               X                    X                            X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
 1125606-01     C.A.       2/1/2023    7/14/2024            1               X                    X             X              X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1125613-02     D.Y.      1/13/2023    4/18/2023            1               X                    X                            X          X             X           X     20     X     X        X                            X            X                               X              X                 X                 X                X
 1125618-01     N.A.      1/16/2023   10/22/2023            1               X                    X             X              X          X             X           X      3     X                            X                           X               X               X              X                 X                 X                X
 1125622-01     J.B.       2/1/2023    5/22/2023            1               X                                                 X          X                                0                                                              X                               X              X                 X                                  X
 1125629-02     J.C.       2/3/2023     4/4/2023            1               X                    X                            X          X             X           X     11           X                                     X            X                               X              X                 X                 X                X
 1125779-01     A.K.       2/4/2023     4/1/2023            2               X                    X                            X          X             X           X      7     X                            X                           X               X               X              X                 X                 X                X
 1125785-01     O.C.       2/6/2023     7/8/2023            2               X                    X                            X          X             X                  0                                                              X               X               X              X                 X                                  X
 1125853-02     A.R.      1/27/2023    3/31/2023            2               X                    X                            X          X             X           X     17     X              X             X              X            X               X               X              X                 X                 X                X
 1125861-02     T.D.      1/30/2023   11/12/2023            1               X                    X                            X          X             X           X     17     X                            X                           X               X               X              X                 X                 X                X
 1125878-04     K.N.       2/8/2023    8/11/2023            2                                                                 X          X                         X      1           X                      X              X            X                               X              X                 X                 X
 1125954-01     C.W.      1/13/2023     6/9/2023            1               X                                                 X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1125993-01     D.B.       2/7/2023    5/22/2023            3               X                    X                            X          X             X           X     11                                  X                           X               X               X              X                 X                 X                X
 1126013-02     N.S.       2/2/2023    9/11/2023            2               X                    X                            X          X                                0                                  X                           X                               X              X                 X                 X                X
 1126023-02     M.S.      1/25/2023     5/3/2023            2               X                    X             X              X          X             X           X      3     X                                                        X               X               X              X                 X                 X                X
 1126039-01     R.O.      1/27/2023    3/25/2023            2               X                                                 X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1126043-01     M.F.      2/20/2023    5/22/2023            1               X                    X                            X          X             X           X     17     X              X                            X            X                               X              X                 X                 X                X
 1126054-01     M.H.       2/4/2023   10/19/2023            1               X                    X                            X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1126061-02     T.R.      1/21/2023    4/20/2023            2               X                                                 X          X             X           X     15     X                                                        X               X               X              X                 X                 X                X
 1126119-01     C.L.      2/12/2023    9/12/2023            1               X                                  X              X                                    X      4     X              X             X              X            X                               X              X                 X                 X                X
 1126142-01     M.A.      2/16/2023     3/4/2024            1               X                    X                            X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1126150-01     D.S.      2/17/2023   10/28/2023            1               X                                  X              X          X             X           X     15     X                            X              X            X               X               X              X                 X                 X                X
 1126152-02     E.H.      2/16/2023     6/5/2024            1               X                    X                            X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1126156-01     W.C.      2/22/2023    5/19/2023            1               X                    X                            X          X             X           X      3     X              X                            X            X                               X              X                 X                 X                X
 1126177-02     C.H.       2/4/2023    4/19/2023            1               X                    X                            X          X             X           X     18     X     X                                                  X                               X              X                 X                 X                X
 1126182-03     J.G.      2/17/2023    4/28/2023            2               X                    X                            X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1126186-01     R.B.      2/11/2023     5/7/2023            1               X                    X             X              X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1126217-02     K.B.       2/4/2023    5/21/2023            2               X                                  X              X          X             X           X     16     X                            X                           X               X               X              X                 X                 X                X
 1126222-01     K.G.      2/11/2023    5/12/2023            4               X                                                 X          X                         X     27     X     X        X             X              X            X               X               X              X                 X                 X                X
 1126234-02     N.G.      2/24/2023     5/9/2023            2               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1126262-01     S.K.      2/22/2023     5/5/2023            2               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1126264-02     J.W.      1/30/2023     9/9/2023            1               X                                                 X          X                         X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1126320-01     W.G.      2/15/2023   10/13/2023            1               X                                                 X                        X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1126359-01     A.R.      1/31/2023   11/29/2023            3               X                    X                            X          X             X           X      5                                                              X               X               X              X                 X                 X                X
 1126399-01     M.R.      2/16/2023     5/4/2023            1               X                    X                            X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1126478-03     G.M.      1/29/2023    5/25/2023            2               X                                  X              X          X                         X     22     X     X        X             X              X            X               X               X              X                 X                 X                X
 1126480-01     D.B.      1/31/2023    7/18/2023            1               X                                  X              X                        X           X     18     X                                           X            X                               X              X                 X                 X                X
 1126586-01     M.E.      2/27/2023    2/13/2024            1               X                    X                            X          X             X           X      2     X              X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                 109 of 133                                                                                                                                                                            Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
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                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
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                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1126603-03     S.C.      3/4/2023    7/19/2023            1               X                    X                            X          X             X           X     20     X     X                                                  X                               X              X                 X                 X                X
 1126609-01     D.V.     2/24/2023    5/12/2023            1               X                    X                            X          X             X           X     10                                                              X                               X              X                 X                 X                X
 1126622-04     S.S.     2/22/2023    5/24/2023            1               X                    X                            X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1126648-02     Y.D.     2/23/2023    6/17/2023            1               X                    X                            X          X             X           X     28     X     X        X             X              X            X               X               X              X                 X                 X                X
 1126656-02      I.S.    2/26/2023     6/9/2023            1               X                                                 X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1126685-01     J.S.      3/4/2023    4/24/2023            1               X                    X                            X          X                         X     18     X              X             X              X            X               X               X              X                 X                 X                X
 1126685-03     M.O.      3/4/2023    5/31/2023            1               X                    X                            X          X             X           X     13                                                              X                               X              X                 X                                  X
 1126685-06     C.R.      3/4/2023    5/31/2023            1               X                    X                            X          X             X           X     13                                                              X                               X              X                 X                 X                X
 1126705-01     J.P.      3/7/2023    6/21/2023            2               X                    X                            X          X             X           X     19     X     X        X                            X            X                                              X                 X                 X                X
 1126736-02     T.F.      3/4/2023     7/5/2023            1               X                    X                            X                        X           X     20     X     X                      X                           X                               X              X                 X                 X                X
 1126736-04     E.R.      3/4/2023    5/12/2023            1               X                                                 X          X                                0                                                 X            X                               X              X                 X                 X
 1126746-01     J.C.      3/4/2023    5/16/2023            1               X                    X                            X          X             X           X      5     X     X                      X              X            X               X               X              X                 X                 X                X
 1126759-02     S.P.     2/28/2023    6/23/2023            1               X                                                 X          X             X           X      9     X     X        X                            X                                            X              X                 X                 X                X
 1126772-01     R.D.     2/18/2023     4/7/2023            1               X                    X                            X          X                         X      4     X              X                            X            X                               X              X                 X                 X                X
 1126866-01     K.S.     3/10/2023     5/2/2023            1               X                                  X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1126868-01     A.N.      3/1/2023    4/18/2023            1               X                    X             X              X          X             X           X     28     X     X        X                            X            X                               X              X                 X                 X                X
 1126889-01     A.A.     2/23/2023    5/10/2023            4               X                    X                            X          X             X           X     15     X     X        X                            X            X               X               X              X                 X                 X                X
 1126900-01     A.M.      3/2/2023    6/12/2023            4               X                                                 X          X             X           X     14           X                                                  X               X               X              X                 X                 X                X
 1126906-05     M.G.     2/25/2023    7/13/2023            1               X                                                 X          X                         X      1     X                                           X            X                               X              X                 X                 X                X
 1126923-02     S.C.      3/8/2023    8/25/2023            1               X                                                 X          X                         X      8     X     X                                     X            X               X               X              X                 X                 X                X
 1126948-01     J.G.      3/6/2023     5/2/2023            1               X                    X                            X          X             X           X      5     X     X                      X              X            X                               X              X                 X                 X                X
 1126963-01     P.L.     3/11/2023    7/14/2023            1               X                                                 X          X                         X      1     X                                                        X                               X              X                 X                 X                X
 1126991-01     M.S.     2/24/2023     7/7/2023            2               X                    X                            X          X                         X      7     X              X             X              X            X                               X              X                 X                 X                X
 1127000-01     F.T.     2/27/2023    8/22/2023            1               X                    X                            X          X             X           X      8     X              X                            X            X                               X              X                 X                 X                X
 1127000-02     A.V.     2/27/2023    4/28/2023            2               X                    X                            X          X                         X      3     X                                                        X               X               X              X                 X                 X                X
 1127000-04     D.V.     2/27/2023    4/28/2023            2               X                    X                            X          X                         X      3     X                            X                           X               X               X              X                 X                 X                X
 1127004-01     J.R.     2/24/2023    5/16/2023            2               X                                                 X          X             X           X     11                                                              X                               X              X                 X                 X                X
 1127004-02     E.S.     2/24/2023    5/16/2023            3               X                                                 X          X             X           X     12     X                                                        X               X               X              X                 X                 X                X
 1127004-03     I.P.     2/24/2023     5/1/2023            3               X                                                 X          X             X           X     17     X                            X                           X               X               X              X                 X                 X                X
 1127046-02     T.A.     2/25/2023    5/24/2023            2               X                                  X              X          X             X           X     24     X     X        X             X              X            X               X               X              X                 X                 X                X
 1127112-01     J.A.     3/15/2023    5/13/2023            2               X                    X             X              X          X             X           X     11                                  X                           X                               X              X                 X                 X                X
 1127115-01     J.D.     3/17/2023    7/20/2023            1               X                                                 X          X             X           X     23     X              X             X              X            X                               X              X                 X                 X                X
 1127130-01     R.A.     2/17/2023    1/31/2024            1               X                    X                            X                        X           X     10     X     X        X             X              X                                            X              X                 X                 X                X
 1127195-01     F.B.     2/28/2023    6/17/2023            1               X                                                 X          X             X           X     20     X     X        X                            X            X                               X              X                 X                 X                X
 1127278-01      J.J.    3/15/2023     5/3/2023            3               X                    X                            X          X             X           X     15     X     X                                                  X               X               X              X                 X                 X                X
 1127278-02      J.J.    3/15/2023     5/3/2023            5               X                    X             X              X          X             X           X     17     X                            X                           X               X               X              X                 X                 X                X
 1127311-04     A.C.      3/3/2023    6/28/2023            2               X                                  X              X          X             X           X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1127312-01     D.R.     2/19/2023    5/31/2023            4               X                    X                            X          X             X           X     15     X                            X                           X               X               X              X                 X                 X                X
 1127336-01     M.U.     3/17/2023    8/10/2023            1               X                                                 X                        X           X     17     X                                                        X               X               X              X                 X                 X                X
 1127353-03     A.C.     3/24/2023     4/9/2024            1               X                                                 X          X             X           X      8     X     X                      X              X            X                               X              X                 X                 X                X
 1127372-02     E.E.      3/4/2023    5/25/2023            2               X                    X                            X          X             X           X     20     X              X                            X            X               X               X              X                 X                 X                X
 1127382-05     L.R.     3/15/2023    6/11/2023            2               X                    X                            X          X                                0                                  X                           X               X               X              X                 X                 X                X
 1127390-01     R.D.     2/26/2023   10/25/2023            1               X                                                 X          X             X           X      2           X                      X                           X                               X              X                 X                 X                X
 1127405-02     C.N.     3/17/2023    2/21/2024            2               X                                                 X          X             X           X      3                                                              X                               X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                                           Acupuncture




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
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               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1127449-01     J.C.      1/9/2023    10/2/2023            1               X                                                 X          X                         X      7           X        X                            X            X                               X              X                 X                 X                X
 1127474-01     B.A.      3/9/2023    5/25/2023            3               X                    X                            X          X             X           X     15     X                                                        X               X               X              X                 X                 X                X
 1127484-01     J.M.     3/24/2023    5/23/2023            1               X                                                 X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
 1127514-01     A.G.     3/19/2023     6/8/2023            1               X                                                 X          X             X           X     13     X     X                                                  X                               X              X                 X                 X                X
 1127514-03     M.P.     3/19/2023    6/22/2023            2               X                                                 X          X             X           X     19     X     X                      X                           X                               X              X                 X                 X                X
 1127633-02     M.B.     3/19/2023    1/28/2024            1               X                    X             X              X          X             X           X      7                                  X                           X               X               X              X                 X                                  X
 1127640-02     J.M.      3/2/2023    6/30/2023            1               X                    X                            X          X             X           X     11                                                              X                               X              X                 X                 X                X
 1127669-02     R.R.     3/16/2023     8/5/2024            1               X                    X                            X          X             X           X     18     X              X             X              X            X               X               X              X                 X                 X                X
 1127697-01     A.C.     3/17/2023    6/23/2023            2               X                                                 X          X             X           X      5     X                                           X            X                               X              X                 X                 X                X
 1127705-01     J.R.     2/28/2023    4/30/2023            1               X                    X                            X          X                         X      3     X                                                        X                               X              X                 X                 X                X
 1127713-01     A.T.     3/15/2023     2/4/2024            1               X                    X             X              X          X                         X      3     X              X             X              X            X                               X              X                 X                 X                X
 1127735-01     R.R.     3/30/2023    7/13/2023            1               X                    X                            X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1127786-01     N.G.     3/29/2023    5/10/2024            1               X                    X                            X          X             X           X      5     X     X                                     X            X                               X              X                 X                 X                X
 1127791-02     N.C.     3/20/2023    6/17/2023            3               X                    X             X              X          X             X           X      1                                                              X               X               X              X                 X                 X                X
 1127839-02     J.P.      3/3/2023    5/27/2023            4               X                    X                            X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1127888-01     J.D.     3/12/2023     6/3/2023            1               X                    X                            X          X             X           X      7     X     X                                     X            X                               X              X                 X                 X                X
 1127902-01     B.P.     3/24/2023    5/25/2023            2               X                                  X              X          X             X           X     15     X                            X                           X               X               X              X                 X                 X                X
 1127908-03     D.C.      3/3/2023    5/12/2023            2               X                    X                            X          X                         X      9                                                              X                               X              X                 X                 X                X
 1127908-04     C.R.      3/3/2023    5/12/2023            2               X                    X                            X          X                         X     12     X              X                            X            X                               X              X                 X                 X                X
 1127913-01     T.P.      3/8/2023     6/1/2023            2               X                    X                            X          X             X           X     11     X                                                        X               X               X              X                 X                 X                X
 1127918-04     N.W.     3/31/2023     7/3/2023            2               X                    X                            X          X                         X      2                                                              X                               X                                X                                  X
 1127940-04     E.S.     3/11/2023    5/23/2023            1               X                                                 X          X             X           X     20     X     X        X                            X            X               X               X              X                 X                 X                X
 1127957-01      S.I.    3/27/2023     6/7/2023            3               X                    X                            X          X                         X      5     X     X        X             X                           X               X               X              X                 X                 X                X
 1127969-02     H.L.     3/30/2023     6/6/2023            2               X                    X                            X          X                         X      5     X     X                      X              X            X               X               X              X                 X                 X                X
 1127973-02     N.I.      4/1/2023    7/21/2023            1               X                    X                            X          X             X           X      4     X                                                        X                               X              X                 X                 X                X
 1127994-01     B.J.     3/21/2023     6/6/2023            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
 1128049-02     D.P.     3/26/2023   10/10/2023            1               X                    X             X              X          X             X           X      3                                                              X                                              X                 X                                  X
 1128073-01     D.R.     3/28/2023    6/20/2023            2               X                                                 X          X             X           X     14     X                                                        X                               X              X                 X                 X                X
 1128092-02     J.L.     3/16/2023    7/13/2023            1               X                    X             X              X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1128116-01     N.U.      4/3/2023    6/11/2023            1               X                    X                            X          X                         X      2                    X                            X            X                               X              X                 X                 X
 1128127-01     A.G.     3/26/2023   12/18/2023            3               X                                                 X          X                                0                                                 X            X                               X              X                 X                 X                X
 1128127-02     L.B.     3/26/2023   12/18/2023            1               X                                                 X          X                                0                                  X                           X                               X              X                 X                 X                X
 1128127-03     Y.V.     3/26/2023   12/18/2023            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1128127-04     M.V.     3/26/2023    11/8/2023            2               X                                                 X          X                         X      3     X     X                      X              X            X                               X              X                 X                 X                X
 1128129-01      J.J.    3/28/2023    9/29/2023            1               X                                  X              X          X             X           X      1           X                      X              X                                            X              X                 X                 X                X
 1128200-02     Y.R.     3/27/2023   10/14/2023            1               X                    X                            X                        X           X      1                                                              X                               X              X                 X                                  X
 1128200-05     M.P.     3/27/2023    7/21/2023            5               X                    X                            X          X             X           X      5     X     X                      X              X            X               X               X              X                 X                 X                X
 1128220-01     J.O.      4/2/2023    6/28/2023            1               X                    X                            X          X             X           X     19           X                                                  X                               X              X                 X                 X                X
 1128265-01     J.Z.     3/31/2023   10/13/2023            1               X                                  X              X          X             X           X      1           X                      X              X                                            X              X                 X                 X                X
 1128278-01     L.M.      4/4/2023    6/26/2023            1               X                                                 X          X             X           X     19     X              X                            X            X                               X              X                 X                 X                X
 1128343-01     G.D.      4/6/2023    8/15/2023            1               X                                                 X          X                         X      4           X                      X                           X                               X              X                 X                 X                X
 1128346-01     L.R.     4/10/2023   10/19/2023            1               X                                                 X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1128347-02     E.R.      4/1/2023    4/17/2024            2               X                    X                            X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1128354-01     P.A.      4/5/2023    6/19/2024            1               X                                                 X          X             X           X      1     X                            X                           X               X               X              X                 X                 X                X

                                                                                                                                                111 of 133                                                                                                                                                                            Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1128361-01     C.M.      4/3/2023    7/11/2024            1               X                                                 X          X             X           X      2     X                            X              X            X                                              X                 X                 X                X
 1128379-03     D.R.     3/30/2023    6/28/2023            2               X                                                 X          X             X           X      6     X     X                      X              X            X               X               X              X                 X                 X                X
 1128492-02     J.M.     4/20/2023     8/8/2023            2               X                                                 X                        X           X     16                                  X                           X               X               X              X                 X                 X                X
 1128494-02     I.O.      4/8/2023    6/21/2023            1               X                    X             X              X          X                         X      1                                  X                           X               X               X              X                 X                 X                X
 1128530-01     F.W.     3/29/2023    6/29/2023            1                                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1128565-01     X.R.      4/5/2023    7/24/2023            1               X                    X             X              X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X
 1128651-01     T.H.     4/12/2023     9/7/2023            1               X                    X                            X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X
 1128698-01     K.C.     3/28/2023    10/3/2023            1                                                                 X                                           0                                                              X                               X              X                 X                 X                X
 1128706-01     F.C.     4/12/2023    5/15/2024            1               X                    X                            X          X             X           X     10                                  X                           X                               X              X                 X                 X                X
 1128761-01     C.P.     3/31/2023    8/10/2023            1               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1128825-02     T.F.     4/11/2023     3/7/2024            1               X                                                 X          X                                0                                                              X                               X                                X                                  X
 1128837-01     E.O.     4/17/2023    8/11/2023            1               X                    X                            X          X             X           X      1           X                                     X            X                               X              X                 X                 X                X
 1128879-01     A.S.      4/1/2023    8/24/2023            1               X                                  X              X          X                         X     27     X     X        X             X              X            X                               X              X                 X                 X                X
 1128920-01     J.R.     3/30/2023    7/20/2023            1               X                    X                            X          X             X           X      7     X              X             X              X            X                               X              X                 X                 X                X
 1128932-08     M.J.     4/22/2023     9/1/2023            1               X                    X                            X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
 1128942-01     J.A.     3/29/2023    6/23/2023            1               X                                                 X          X             X           X      3     X              X                            X            X                               X              X                 X                 X                X
 1128948-02     J.T.     4/18/2023    8/17/2023            1               X                    X                            X          X             X           X     18     X     X                                                  X                               X              X                 X                 X                X
 1128948-05     E.G.     4/18/2023     8/6/2023            1               X                    X                            X          X             X           X     26     X     X        X                            X            X                               X              X                 X                 X                X
 1128949-01     A.S.     4/23/2023    9/21/2023            1               X                                  X              X          X             X           X     17     X                            X              X            X               X               X              X                 X                 X                X
 1128949-03     D.R.     4/23/2023   10/14/2023            1               X                    X             X              X          X                         X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1128950-02     G.R.      4/6/2023     7/8/2023            3               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1128980-02     J.C.      4/2/2023    8/21/2023            2               X                                                 X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1129037-03     F.D.     4/12/2023     4/2/2024            1               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1129090-01      I.S.    4/10/2023    7/15/2023            1               X                    X                            X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1129098-01     Y.G.     4/22/2023    5/30/2023            6               X                    X             X              X          X                         X      3     X                            X              X            X               X               X              X                 X                 X                X
 1129140-03     S.D.     4/17/2023     6/1/2023            4               X                                  X              X          X             X           X      2           X                      X                           X               X               X              X                 X                 X                X
 1129189-01     J.V.     4/11/2023     6/9/2023            2               X                    X                            X          X             X           X      5     X              X             X              X            X               X               X              X                 X                 X                X
 1129283-01     P.S.     4/11/2023    6/20/2023            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X
 1129288-02     Y.K.     4/25/2023    7/14/2023            2               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1129289-02     A.B.     4/22/2023    6/16/2023            1               X                                                 X          X                         X      7     X     X                      X              X                                            X              X                                   X
 1129337-02     Y.L.     4/23/2023    9/29/2023            3               X                                                 X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1129394-01     S.S.     4/29/2023    7/11/2023            2                                                                 X          X                         X      7     X     X        X                            X            X               X               X              X                 X                 X                X
 1129415-01     J.R.     4/16/2023    8/28/2023            1               X                                                 X          X             X           X     12     X              X                            X            X                               X              X                 X                 X                X
 1129428-01     Y.F.     4/14/2023     6/4/2024            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1129437-01     D.B.      5/1/2023   11/10/2023            3               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1129442-01     M.P.      5/4/2023    7/20/2023            1               X                    X                            X          X             X           X     17     X                                                        X               X               X              X                 X                 X                X
 1129447-02     A.N.      5/6/2023   10/10/2023            1               X                    X                            X          X             X           X      5     X              X             X              X            X                               X              X                 X                 X                X
 1129468-01     O.B.      5/2/2023   10/19/2023            1               X                                  X              X          X             X           X     12                                                              X                               X              X                 X                 X                X
 1129520-02     D.G.     4/21/2023    6/23/2023            1               X                    X                            X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1129550-02     K.S.     4/16/2023    5/25/2023            3               X                    X                            X          X             X           X     10     X     X        X                            X            X               X               X              X                 X                 X                X
 1129613-01     C.S.     4/21/2023    7/13/2023            4               X                                  X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1129625-02     M.V.     4/19/2023    7/25/2023            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1129634-02     A.K.      5/3/2023     6/8/2024            1               X                    X                                                     X           X      4                                                              X               X               X              X                 X                 X                X
 1129674-02     J.D.     3/11/2023    5/24/2023            3               X                    X             X              X                        X           X      6     X              X             X              X            X               X               X              X                 X                 X                X

                                                                                                                                                112 of 133                                                                                                                                                                            Exhibit 1
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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1129676-02     D.K.      5/8/2023    9/25/2023            1               X                                  X              X          X             X           X      3           X                      X                                                           X              X                 X                 X                X
 1129708-02     T.P.     4/28/2023    8/31/2023            1               X                                                 X          X             X           X      5     X     X                      X              X            X                               X              X                                   X                X
 1129713-01     S.S.     4/21/2023    9/26/2023            2                                                                 X                                           0                                                              X                               X              X                 X                 X                X
 1129718-02     D.R.     4/20/2023    4/20/2023            1               X                    X                            X          X             X                  0                                                              X                                              X                 X                 X                X
 1129764-01     Y.R.     5/14/2023    9/15/2023            2               X                                                 X          X             X           X      9           X                      X              X            X                               X              X                 X                 X                X
 1129790-01     J.S.     4/28/2023   10/26/2023            1               X                    X             X                                       X           X      2           X                                                  X               X               X              X                 X                 X                X
 1129801-02     K.S.     4/22/2023    8/16/2023            1               X                    X                            X          X                         X      4     X              X                            X            X               X               X              X                 X                 X                X
 1129807-01     O.R.      5/6/2023   11/19/2023            1               X                                                 X          X             X           X     11                                                              X                               X              X                 X                 X                X
 1129816-01     J.L.     4/23/2023     7/9/2023            1               X                    X                            X          X             X           X      4     X              X             X              X            X                               X              X                 X                 X                X
 1129822-01     P.M.     5/12/2023    8/15/2023            4               X                                                 X          X             X           X     11           X                      X                           X               X               X              X                 X                 X                X
 1129878-01     E.E.      5/1/2023    6/24/2023            1               X                                  X              X          X                         X      1                                                              X                               X              X                 X                 X                X
 1129917-03     D.S.     4/21/2023    8/25/2023            3               X                    X             X              X          X             X           X     16     X                                                        X               X               X              X                 X                 X                X
 1129928-03     R.S.      5/7/2023    3/16/2024            1               X                                                 X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1129951-02     J.P.     4/14/2023    7/28/2023            1               X                                                 X          X             X           X      5     X     X                      X              X                                            X              X                 X                 X                X
 1129993-01     K.C.      5/6/2023    2/15/2024            1               X                                                 X          X             X                  0                                                              X                               X              X                 X                 X                X
 1129994-01     C.I.     5/11/2023    12/7/2023            1               X                    X                            X          X             X           X     13     X                            X                           X               X               X              X                 X                 X                X
 1130004-01     L.S.     4/11/2023    4/11/2024            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1130019-01     P.R.     5/12/2023    10/2/2023            4               X                                  X              X          X             X           X      1                                  X              X            X               X               X              X                 X                 X                X
 1130043-03     W.M.     5/14/2023    8/21/2023            2               X                                                 X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1130078-02     K.K.      5/1/2023    9/21/2023            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1130084-01     E.M.      5/3/2023    6/26/2023            1               X                    X                            X          X             X           X      7     X     X                      X              X            X                               X              X                 X                 X                X
 1130097-02     K.H.     5/20/2023    8/28/2023            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1130173-01     J.O.     5/12/2023     9/6/2023            2               X                    X                            X          X             X           X     20     X     X        X                            X            X                               X              X                 X                 X                X
 1130218-01     K.P.     5/10/2023    7/21/2023            1               X                                  X              X          X                                0                                                              X                                              X                 X                 X                X
 1130246-04     M.D.     5/21/2023     9/6/2023            1               X                    X             X              X          X             X           X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1130253-02     L.E.     4/22/2023    6/26/2023            1               X                    X             X              X          X             X           X      9     X     X                                     X            X                               X              X                 X                 X                X
 1130253-05     L.S.     4/22/2023    6/26/2023            1               X                    X             X              X          X             X           X     10     X     X                                     X            X                               X              X                 X                 X                X
 1130290-01     S.K.     5/16/2023     9/6/2023            3               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1130311-01     M.M.      5/5/2023    7/15/2023            2               X                    X             X              X          X             X           X     31     X     X        X             X              X            X                               X              X                 X                 X                X
 1130311-02     L.H.      5/5/2023    9/13/2023            1               X                    X             X              X          X             X           X     17     X                                                        X                               X              X                 X                 X                X
 1130343-01     D.Z.     4/24/2023    8/19/2023            2               X                    X                            X          X             X                  0                                  X                           X               X               X                                X                 X                X
 1130348-01     C.O.      5/3/2023     7/3/2024            1               X                    X                            X          X                         X      1                                                              X                               X              X                 X                 X                X
 1130356-01     S.S.     5/19/2023   11/13/2023            1               X                    X                            X          X             X           X      3                                                              X                                              X                 X                 X                X
 1130367-02     T.A.     5/12/2023    8/17/2023            2               X                    X             X              X          X             X           X      4                                                              X               X               X              X                 X                 X                X
 1130370-01     K.C.     4/26/2023    6/26/2023            6               X                    X                            X          X             X           X     24     X     X        X             X              X            X               X               X              X                 X                 X                X
 1130403-01     V.S.      5/9/2023    1/26/2024            1               X                                                 X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1130422-01     M.O.      5/6/2023    1/11/2024            1               X                    X             X              X          X             X           X     22     X     X        X                            X            X               X               X              X                 X                 X                X
 1130445-01     V.G.     5/22/2023    8/21/2023            2               X                                                 X          X             X           X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1130467-01     G.R.     5/12/2023    7/23/2023            1               X                    X                            X          X                                0                                  X                           X                               X              X                 X                                  X
 1130467-02     A.M.     5/12/2023    8/31/2023            1               X                                                 X          X             X           X      7     X                                                        X                               X              X                 X                 X                X
 1130502-01     C.A.     5/15/2023    8/25/2023            1               X                    X                            X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1130510-01     R.J.     5/10/2023   10/13/2023            1               X                    X             X              X          X             X           X      6                                                              X                               X              X                 X                 X                X
 1130512-01     J.P.     5/17/2023    6/27/2023            4                                    X                            X          X             X           X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1130543-02     E.I.     5/13/2023    2/21/2024            2               X                    X             X              X          X             X                  0                                                              X               X               X              X                 X                 X                X

                                                                                                                                                113 of 133                                                                                                                                                                            Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1130550-01     K.A.     5/14/2023    6/11/2024            1               X                    X                            X          X             X           X      8     X              X             X              X            X                               X              X                 X                 X                X
 1130626-01     J.S.     5/16/2023    6/21/2023            1               X                    X                            X          X             X           X     15     X                            X                           X                               X              X                 X                 X                X
 1130651-02     D.B.      5/3/2023    8/22/2023            1               X                    X                            X          X                         X      4     X              X             X              X            X                               X              X                 X                 X                X
 1130654-03     L.S.     5/13/2023    7/27/2023            1               X                    X                            X          X             X           X      5     X              X                            X                                            X              X                 X                 X                X
 1130659-02     T.B.     4/30/2023    9/21/2023            2               X                    X                                                     X                  0                                                              X                               X              X                 X                 X                X
 1130660-01     L.P.     4/27/2023    7/17/2023            1               X                                                 X          X             X           X      6     X     X                                     X            X                               X              X                 X                 X                X
 1130666-02     B.M.      5/8/2023    7/21/2023            1               X                    X                            X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1130695-01     E.R.     5/18/2023    9/19/2023            1               X                                  X              X          X                         X      6     X              X             X              X            X               X               X              X                 X                 X                X
 1130695-02     C.O.     5/18/2023    8/23/2023            1               X                    X                            X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1130695-04     S.M.     5/18/2023    1/26/2024            4               X                    X                            X          X                         X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1130714-01     L.B.      5/6/2023    7/31/2023            1               X                    X                            X          X             X           X     14     X                                           X            X                               X              X                 X                 X                X
 1130747-01     Y.K.     5/25/2023     8/1/2023            5                                                                 X          X             X           X     11     X     X        X                            X            X               X               X              X                 X                 X                X
 1130766-01     M.C.     5/10/2023    7/22/2023            3               X                    X                            X          X             X           X      2                                                              X               X               X                                X                                  X
 1130789-04     X.B.     5/14/2023     8/7/2023            1               X                    X                            X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1130808-01     J.F.     5/10/2023    7/24/2023            2               X                    X                            X          X             X           X     19     X     X                                     X            X                               X              X                 X                 X                X
 1130822-01     A.D.     5/20/2023    1/11/2024            1               X                                                 X          X                         X      4                    X                            X            X                               X              X                 X                 X                X
 1130836-02     L.J.     5/22/2023     8/7/2023            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1130842-01     J.T.     5/31/2023    7/31/2023            1               X                                                 X          X             X           X     13     X     X                                     X            X                               X              X                 X                 X                X
 1130878-01     S.L.     5/26/2023    7/13/2023            1               X                    X                            X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1130889-01     C.S.     5/24/2023    2/11/2024            1               X                                                 X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X
 1130952-01     R.L.     5/18/2023   10/10/2023            2               X                    X             X              X          X             X           X     23     X     X        X                            X            X                               X              X                 X                 X                X
 1130972-01     M.H.     5/24/2023    2/29/2024            2               X                                                 X          X             X           X     12     X                            X                           X               X               X              X                 X                 X                X
 1130982-01     M.H.     5/30/2023    8/30/2023            1               X                    X             X              X          X             X           X      4                                                              X                               X              X                 X                 X                X
 1131012-03     O.A.     5/21/2023   11/20/2023            1               X                    X                            X          X             X           X     15           X                                                  X                               X              X                 X                 X                X
 1131012-05     C.A.     5/21/2023   11/13/2023            1               X                    X                            X          X             X           X     15     X     X                      X                           X                               X              X                 X                 X                X
 1131012-07     M.S.     5/21/2023    8/15/2023            2               X                    X                            X          X             X           X     16     X     X                                                  X               X               X              X                 X                 X                X
 1131017-02     C.P.     5/16/2023     9/8/2023            1               X                    X             X              X                                    X      4     X     X                      X              X            X                               X                                X                 X                X
 1131045-01     J.D.     5/23/2023    8/15/2023            3               X                                                 X          X             X           X     11                                                              X                               X              X                 X                 X                X
 1131064-01     T.B.      6/1/2023    8/31/2023            1               X                    X                            X          X                         X      7     X     X        X                            X            X                               X                                X                 X                X
 1131077-03     E.M.      6/6/2023    8/24/2023            1               X                    X             X              X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1131077-04     A.A.      6/6/2023    8/24/2023            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1131091-01     J.D.     5/13/2023    8/10/2023            3               X                    X                            X          X             X           X      3                                                              X               X               X              X                 X                 X                X
 1131091-07     J.C.     5/13/2023     8/4/2023            2               X                    X                            X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1131102-01     M.G.      6/7/2023     8/9/2023            2               X                    X             X              X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1131102-03     A.R.      6/7/2023    7/26/2023            2               X                    X             X              X          X             X           X     22     X              X             X              X            X               X               X              X                 X                 X                X
 1131124-02     M.B.     5/15/2023   10/12/2023            1               X                                                 X          X             X           X      4           X                                     X            X                               X              X                 X                 X                X
 1131125-02     K.A.      6/5/2023    9/15/2023            1               X                    X             X              X          X             X           X      7     X                            X                           X                               X              X                 X                 X                X
 1131157-01     D.K.     5/31/2023     7/5/2023            4               X                    X             X              X          X             X           X     22     X              X             X              X            X               X               X              X                 X                 X                X
 1131194-01     J.V.      6/6/2023    8/28/2023            2               X                                                 X          X             X           X     11                                                              X                               X              X                 X                 X                X
 1131198-01     D.T.      6/1/2023    1/30/2024            1               X                                  X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1131247-01     W.C.      6/1/2023     9/8/2023            3               X                    X             X              X          X             X           X     12     X     X        X                            X            X               X               X              X                 X                 X                X
 1131255-02     S.A.      6/8/2023    8/31/2023            1               X                                                 X          X             X           X      8     X     X        X                            X            X               X               X              X                 X                 X                X
 1131298-06     J.M.      6/1/2023    4/22/2024            1               X                                                 X          X                         X      7     X     X        X                            X            X                                              X                 X                 X
 1131351-01     Y.R.     6/10/2023    7/28/2023            1               X                    X                            X          X                                0                                  X                           X                               X              X                 X                 X                X

                                                                                                                                                114 of 133                                                                                                                                                                            Exhibit 1
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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
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                                                                                                                                                                                                                                                                     Anesthesia
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                                                                                                                                                                           Orthosis
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               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1131387-02     X.R.      6/2/2023    9/19/2023            1               X                                                 X          X                         X      5     X                                                        X                               X              X                 X                 X                X
 1131442-03     E.W.      6/9/2023    9/22/2023            1               X                    X             X              X          X             X           X      6                                                              X                               X              X                 X                 X                X
 1131545-01     L.Z.     6/15/2023    4/18/2024            1               X                    X                            X          X                         X      1                                  X              X            X                                              X                 X                 X                X
 1131549-02     J.B.      6/9/2023    1/12/2024            1               X                                  X              X          X                         X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1131582-03     P.C.      6/1/2023   12/10/2023            1                                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1131583-01      I.I.     6/7/2023   10/12/2023            1               X                                                 X          X             X           X      4     X     X                      X              X            X                               X                                                  X
 1131591-02     N.G.      6/7/2023     1/8/2024            1               X                    X                            X          X             X           X     11     X     X        X             X              X                                            X              X                 X                 X                X
 1131593-01     H.G.     5/12/2023    8/27/2023            1               X                    X             X              X          X             X           X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1131626-02     Q.M.     6/13/2023     9/6/2023            1               X                    X                            X          X             X           X     18     X     X                                     X            X               X               X              X                 X                 X                X
 1131682-06     R.F.      6/5/2023    1/20/2024            1               X                                                 X          X                         X      4     X                            X              X                                            X              X                 X                 X                X
 1131717-01     S.D.     6/13/2023    2/23/2024            2               X                                                 X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1131729-01     A.P.      6/6/2023     8/1/2023            2               X                    X                            X          X             X           X     15     X                                                        X               X               X              X                 X                 X                X
 1131755-01     D.S.     5/26/2023    10/2/2023            1               X                    X             X              X          X                         X      8           X        X             X              X            X                               X              X                 X                 X                X
 1131844-01     A.C.     5/20/2023    2/28/2024            1               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1131868-02     A.G.     5/19/2023    1/13/2024            1                                                  X              X                        X                  0                                                              X               X               X              X                 X                 X                X
 1131880-01     J.C.      6/6/2023    8/19/2023            5               X                    X                            X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1131885-01      J.I.    6/14/2023    8/18/2023            1               X                    X                            X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1131926-03     E.P.     6/15/2023    4/26/2024            1               X                    X                            X          X             X           X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1131968-01     A.B.     6/28/2023    11/1/2023            2               X                    X                            X          X             X                  0                                                              X                                              X                 X                 X                X
 1131989-02     M.A.      6/6/2023    3/15/2024            3               X                    X                            X          X                         X      2           X                                     X            X                               X              X                 X                 X                X
 1132047-01     R.A.     6/25/2023   10/30/2023            1               X                                                 X          X             X           X     13     X     X                      X              X            X               X               X              X                 X                 X                X
 1132049-01     A.K.     5/26/2023    7/12/2024            1               X                                                 X          X             X           X      1                                                 X                                            X              X                 X                 X                X
 1132079-01     J.Z.     6/21/2023     2/8/2024            2               X                                                 X          X             X           X     16     X     X                                                  X               X               X              X                 X                 X                X
 1132126-01     C.P.     6/14/2023    3/30/2024            1               X                    X                                                                        0                                                              X                                              X                 X                 X                X
 1132136-01     D.S.      6/2/2023    1/29/2024            1               X                                                 X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
 1132142-02     K.A.      6/2/2023    9/18/2023            1               X                    X                            X          X             X           X     12     X     X                                     X            X                               X              X                 X                 X                X
 1132149-01     B.F.      6/5/2023    9/24/2023            2               X                    X             X              X          X             X           X     20     X                            X                           X               X               X              X                 X                 X                X
 1132172-02     E.R.     6/21/2023    10/2/2023            1               X                                                 X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1132236-03     J.S.     6/15/2023    8/15/2023            1               X                    X             X              X          X                         X      5     X     X                                     X                                            X              X                 X                 X                X
 1132242-02     R.G.     6/14/2023   11/30/2023            4               X                                                 X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1132244-02     A.C.     6/12/2023   11/17/2023            1               X                    X                            X          X             X           X     12     X                                                        X               X               X              X                 X                 X                X
 1132254-02     A.E.     6/14/2023    7/25/2023            1               X                                                 X          X                         X      2                                                 X                                            X              X                 X                 X
 1132284-03     Y.R.     6/28/2023     4/2/2024            1               X                                                 X          X                         X      4     X              X             X              X            X                               X              X                                   X
 1132298-01     F.G.     6/24/2023    8/17/2023            1               X                    X                            X          X                         X      2           X                                                  X               X               X              X                 X                 X                X
 1132328-01     J.G.     6/16/2023    9/28/2023            1               X                                  X              X          X             X           X     21     X     X                                     X            X               X               X              X                 X                 X                X
 1132358-01     A.E.     6/20/2023     9/9/2023            1               X                    X             X              X          X                         X     10     X     X                                     X            X                               X                                X                 X                X
 1132405-02     R.S.      7/5/2023    12/1/2023            1               X                    X             X              X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X                X
 1132406-03     A.W.     6/22/2023    8/27/2023            4                                                                 X                                           0                                  X                           X               X               X              X                 X                 X                X
 1132408-01     M.I.     5/30/2023    1/21/2024            1               X                    X                            X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1132428-02     G.P.     6/20/2023    8/26/2023            6               X                    X                            X          X             X           X      4     X     X        X             X              X            X               X               X              X                 X                 X                X
 1132444-01     E.F.      7/7/2023   10/27/2023            4               X                    X                            X          X             X           X      3     X              X                            X            X                               X              X                 X                 X                X
 1132448-02     L.Z.     6/21/2023    1/26/2024            1               X                                  X              X          X             X                  0                                                 X                                            X              X                 X                 X                X
 1132513-05     A.P.      6/9/2023   11/15/2023            1               X                                                 X          X                         X      3           X                                     X                                            X              X                 X                 X                X
 1132537-01     A.H.     6/14/2023    8/26/2023            1               X                                                 X          X             X           X     42     X     X        X             X              X            X                               X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                                           Acupuncture




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                                                                                            Chiropractic




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                                                                                                                         Diagnostic




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
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                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1132557-02     V.L.     6/20/2023    8/25/2023            2               X                    X             X              X          X             X           X      4     X                                                        X               X               X              X                 X                                  X
 1132569-03     R.F.      7/6/2023   10/29/2023            1               X                                  X              X          X             X           X     21     X     X        X             X              X            X               X               X              X                 X                 X                X
 1132586-02     H.H.     6/12/2023    8/31/2023            1               X                                                 X          X             X           X     17     X                                                        X                               X              X                 X                 X                X
 1132603-02     J.M.      7/1/2023    1/25/2024            1               X                                                 X          X             X           X     10                                                              X                               X              X                 X                                  X
 1132617-01     L.T.     6/18/2023    12/4/2023            1               X                                                 X          X             X           X      8     X     X                                     X            X                               X              X                                   X                X
 1132662-04     C.M.     6/25/2023    1/19/2024            1               X                                                 X          X             X           X      5           X                      X              X                                            X              X                 X                 X                X
 1132698-01     I.C.      7/3/2023    9/24/2023            1               X                                                 X          X                         X     12     X                            X                                           X               X              X                 X                 X                X
 1132707-03     C.M.     6/12/2023    8/16/2023            3               X                    X                            X          X                         X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1132845-02     D.B.      7/1/2023    11/4/2023            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1132845-05     E.W.      7/1/2023    11/4/2023            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1132861-01     S.C.     5/22/2023     9/6/2023            3               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1132863-01     M.G.      7/3/2023    10/8/2023            3               X                                                 X          X             X           X     11     X     X        X                            X            X               X               X              X                 X                 X                X
 1132888-02     E.R.     6/18/2023    4/23/2024            1               X                                                 X          X                         X      6     X     X                                     X                                            X              X                 X                 X
 1132989-01     G.T.     6/22/2023    12/1/2023            1               X                    X                            X          X             X           X      1           X                      X              X            X                               X              X                 X                 X                X
 1133035-01     B.P.     6/18/2023   12/27/2023            1               X                    X                            X          X             X           X      3     X     X                                     X            X                               X              X                 X                 X                X
 1133049-01     V.C.      7/8/2023   12/17/2023            3               X                                                 X          X                         X      7           X        X                            X            X               X               X              X                 X                 X                X
 1133064-01     A.C.     7/14/2023   12/14/2023            1               X                    X             X              X          X                         X      6     X     X                                     X                                            X              X                 X                 X                X
 1133077-01     J.L.     7/18/2023   10/26/2023            1               X                    X                            X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
 1133115-01     D.M.     7/13/2023    1/30/2024            1               X                                                 X          X             X           X     10           X        X             X              X            X                               X              X                 X                 X                X
 1133121-01     A.K.      7/7/2023    8/16/2023            2               X                    X             X              X          X             X           X     21     X     X                                                  X               X               X              X                 X                 X                X
 1133121-03     F.M.      7/7/2023    4/14/2024            2               X                    X             X              X          X             X           X     21     X     X                                                  X               X               X              X                 X                 X                X
 1133122-01     G.H.     7/13/2023    9/12/2023            2               X                    X                            X          X             X           X     13     X     X                      X              X            X               X               X              X                 X                 X                X
 1133132-01     T.K.     7/23/2023    7/22/2024            1               X                    X                            X                        X           X     10     X     X        X                            X                                            X              X                 X                 X                X
 1133149-02     B.Y.     7/21/2023   10/12/2023            1               X                                                 X          X             X           X     18     X     X        X                            X            X                               X              X                 X                 X                X
 1133170-01     K.N.     7/18/2023   10/24/2023            2               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1133172-01     R.A.      7/3/2023    1/21/2024            2               X                    X                            X                                    X      3     X     X                                     X            X                               X              X                 X                 X                X
 1133178-02     C.B.      7/5/2023    8/29/2023            1               X                                                 X          X                         X      5     X              X                            X            X                               X                                                  X
 1133180-01     S.D.     7/19/2023    9/23/2023            1               X                    X                            X          X                         X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1133192-02     A.M.     7/18/2023    7/31/2024            1               X                                                 X          X             X           X     17     X                                           X            X               X               X              X                 X                 X                X
 1133242-03     J.P.     7/14/2023   11/29/2023            1               X                    X                            X          X                         X     24     X     X        X                            X            X                               X              X                 X                 X                X
 1133313-02     W.A.     7/25/2023   10/20/2023            2               X                    X             X              X          X             X           X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1133313-03     R.W.     7/25/2023     2/1/2024            1               X                    X                            X                                    X      5     X              X             X              X            X                               X              X                 X                 X                X
 1133347-02     F.O.     7/17/2023    9/21/2023            1               X                    X             X              X          X             X           X      6     X     X                                     X            X                               X              X                 X                 X                X
 1133350-02     D.R.     7/23/2023   11/13/2023            1               X                    X                            X          X             X           X      1     X                            X              X            X               X               X              X                 X                 X                X
 1133355-04     M.M.     7/20/2023   10/27/2023            2               X                    X                            X          X             X           X      4                                                              X               X               X              X                 X                 X                X
 1133382-01     M.F.     7/26/2023    1/11/2024            1               X                    X                            X          X             X           X     17     X                                                        X                               X              X                 X                 X                X
 1133408-02     P.L.     7/17/2023   11/12/2023            2               X                    X                            X          X             X           X     18     X                            X                           X               X               X              X                 X                 X                X
 1133464-02     T.G.      7/5/2023    9/14/2023            2               X                    X                            X          X             X           X     13     X                                                        X               X               X              X                 X                 X                X
 1133469-03     E.T.     7/20/2023   12/11/2023            1               X                    X                            X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1133483-01     L.T.     6/23/2023    1/13/2024            1               X                                                 X          X             X           X      4     X     X                                     X            X                               X              X                 X                 X                X
 1133548-01     J.C.     7/26/2023     5/8/2024            2               X                    X                            X          X             X           X      3           X                                     X            X                               X              X                 X                 X                X
 1133556-02      I.S.    7/17/2023   10/17/2023            2               X                    X                            X          X             X           X      5                                                              X               X               X              X                 X                                  X
 1133560-02     N.C.     6/27/2023    2/16/2024            1               X                                                 X          X             X           X      4     X     X                      X                           X                               X              X                 X                 X                X
 1133575-01     M.C.     7/14/2023    3/15/2024            1               X                                                 X          X                         X     12     X                                                        X                               X              X                 X                 X                X

                                                                                                                                                116 of 133                                                                                                                                                                            Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1133579-01     F.D.     7/26/2023    9/19/2023            1               X                                                 X          X                         X     15     X                                                        X               X               X              X                 X                 X                X
 1133616-02     T.S.     7/22/2023    2/20/2024            1               X                    X                            X          X             X           X      1                                                 X                                            X              X                 X                 X                X
 1133642-01     K.B.     7/16/2023   10/17/2023            1               X                                                 X          X                         X      8     X     X                                     X            X                               X              X                 X                 X                X
 1133658-01     T.B.     7/25/2023   10/26/2023            1               X                    X             X              X          X                         X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1133666-01     M.F.     7/30/2023   10/14/2023            6               X                    X                            X          X                         X     12     X     X        X             X              X            X               X               X              X                 X                 X                X
 1133666-02     A.H.     7/30/2023   10/14/2023            3               X                    X                            X          X                         X      8     X     X        X             X              X            X               X               X              X                 X                 X                X
 1133690-01     V.C.     7/24/2023     1/2/2024            2               X                                                 X          X             X           X      7     X              X             X              X            X                               X              X                 X                 X                X
 1133734-03     M.D.      8/7/2023    11/8/2023            1               X                    X                            X          X             X           X     17     X     X        X                            X            X                               X              X                 X                 X                X
 1133755-02     C.C.     7/23/2023    3/25/2024            1               X                    X             X              X                        X                  0                                  X                           X                               X              X                 X                 X                X
 1133764-01     K.F.      7/8/2023   11/13/2023            1               X                    X             X              X          X             X           X     11           X                                     X            X                               X              X                 X                 X                X
 1133786-01     M.H.     7/20/2023   10/25/2023            1               X                    X                            X          X             X           X     13     X     X        X                            X            X                               X              X                 X                 X                X
 1133789-01     F.E.      8/7/2023   12/19/2023            3               X                    X                            X          X                         X     15     X                            X                           X               X               X              X                 X                 X                X
 1133859-01     R.G.      7/8/2023    8/19/2023            2               X                    X                            X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
 1133871-02     D.C.     7/27/2023    9/28/2023            1               X                    X                            X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1133883-01     E.V.     7/27/2023    1/28/2024            1               X                                                 X                        X                  0                                  X                                           X               X              X                 X                 X                X
 1133888-02     T.A.     7/25/2023    11/2/2023            2               X                                                 X          X                         X      9     X     X        X                            X            X               X               X              X                 X                 X                X
 1133900-01     C.W.     7/28/2023   10/20/2023            1               X                                  X              X          X             X           X      7     X     X                                     X            X                               X              X                 X                 X                X
 1133902-01     P.K.      8/2/2023    9/20/2023            2               X                    X                            X          X             X           X      7     X     X        X                            X            X               X               X              X                 X                 X                X
 1133915-03     A.C.     7/19/2023     9/7/2023            1               X                    X                            X          X             X           X     12     X     X        X                            X                                            X              X                 X                 X                X
 1134012-01     C.F.      8/3/2023    5/30/2024            1               X                    X                            X          X             X           X      5                                  X                           X                               X              X                 X                 X                X
 1134083-01     J.M.     7/31/2023    1/15/2024            1               X                    X                            X          X                         X      2                                                              X                               X              X                 X                                  X
 1134111-01     O.C.      8/5/2023     5/3/2024            1               X                    X                            X          X             X           X      6     X     X        X             X              X                                            X              X                 X                 X                X
 1134196-01     R.A.     7/17/2023    11/6/2023            2               X                                                 X                        X                  0                                                              X               X               X              X                 X                 X                X
 1134210-02     G.T.     7/19/2023     1/3/2024            1               X                    X                            X          X             X           X     17     X                                                        X                               X              X                 X                 X                X
 1134219-01     A.M.      8/2/2023    10/3/2023            1               X                    X                            X          X                         X      4     X              X                            X            X                               X              X                 X                 X
 1134223-03     L.S.      8/3/2023    3/13/2024            1               X                    X                            X          X             X           X      6                    X             X              X            X                               X              X                 X                 X                X
 1134253-01     R.A.      8/2/2023    9/13/2023            1               X                    X                            X          X             X           X      7     X     X        X                            X            X               X               X              X                 X                 X                X
 1134253-02     B.B.      8/2/2023   10/18/2023            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1134261-03     Z.N.     8/11/2023    12/5/2023            2               X                                                 X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1134294-02     K.A.     8/10/2023   11/18/2023            1               X                    X             X              X          X             X           X      6                                                              X                               X              X                 X                 X                X
 1134308-01     G.S.     7/16/2023   10/26/2023            1               X                    X             X              X          X             X           X      2                                                              X                                              X                 X                                  X
 1134355-02     L.B.     8/12/2023   10/13/2023            2               X                    X                            X          X             X           X     22     X     X        X             X              X            X               X               X              X                 X                 X                X
 1134375-02     K.J.     7/30/2023   11/28/2023            1               X                    X                            X          X             X           X      7     X     X                                     X            X                               X              X                 X                 X                X
 1134381-01     N.P.     7/21/2023   11/16/2023            3               X                    X                            X          X             X           X      7     X     X                      X              X            X               X               X              X                 X                 X                X
 1134419-01     S.L.     7/24/2023    1/30/2024            2               X                    X                            X          X                         X      6     X     X                                     X            X                                              X                 X                 X
 1134444-01     M.R.      8/9/2023    5/17/2024            1               X                    X             X              X          X             X           X     13     X                            X                           X                               X              X                 X                 X                X
 1134448-02     R.L.     7/30/2023    5/15/2024            1               X                    X                            X          X                         X      6     X     X        X                            X            X               X               X              X                 X                 X                X
 1134614-02     J.G.      8/3/2023    3/22/2024            1               X                    X                            X          X             X           X      7                                                              X               X               X              X                 X                 X                X
 1134614-05      J.J.     8/3/2023     2/9/2024            3               X                    X                            X          X             X           X     19     X     X                      X              X            X               X               X              X                 X                 X                X
 1134625-02     M.M.     8/19/2023   12/19/2023            1               X                                                 X          X             X           X      2     X     X                                     X            X                               X              X                 X                 X                X
 1134652-01     H.F.     8/17/2023     3/9/2024            1               X                                                 X          X             X                  0                                                              X                               X              X                 X                 X                X
 1134665-02     J.A.      8/9/2023   10/28/2023            2               X                    X                            X          X             X           X      1     X                            X              X            X               X               X              X                 X                 X                X
 1134672-02     S.A.      8/9/2023    9/21/2023            1               X                    X             X              X          X                         X      6     X     X                                     X                                            X              X                 X                 X                X
 1134709-01     N.B.     8/23/2023    1/18/2024            1               X                    X                            X          X             X           X     18     X                                                                        X               X              X                 X                 X                X

                                                                                                                                                117 of 133                                                                                                                                                                            Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1134714-01     E.P.     8/11/2023    11/6/2023            4               X                                                 X                        X           X     16     X                            X              X            X               X               X              X                 X                 X                X
 1134714-02     Y.L.     8/11/2023   11/16/2023            1               X                    X                            X          X                         X     11     X     X        X             X              X            X                               X              X                 X                 X                X
 1134764-02     R.B.     7/25/2023    4/13/2024            1               X                    X                            X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1134787-01     R.C.     8/15/2023    10/2/2023            5               X                    X                            X          X                         X     10           X        X                            X            X               X               X              X                 X                 X                X
 1134793-01     S.Z.     8/14/2023    12/1/2023            1               X                                                 X          X             X           X     14     X                                           X            X                               X              X                 X                 X                X
 1134805-01     B.H.     8/18/2023   11/18/2023            1               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1134816-01     I.O.     8/14/2023    11/2/2023            4               X                    X                            X          X             X           X     16     X                                                        X               X               X              X                 X                 X                X
 1134912-01     H.M.     8/17/2023    5/16/2024            1               X                    X                            X          X                         X      1     X                                           X            X               X               X              X                 X                 X                X
 1134912-02     B.A.     8/17/2023   10/31/2023            1               X                    X                            X          X             X           X      6     X     X        X                            X            X               X               X              X                 X                 X                X
 1134921-01     C.J.     8/28/2023    1/24/2024            1               X                    X             X              X          X             X           X     11     X                            X              X            X                               X              X                 X                 X                X
 1134937-02     S.L.     8/19/2023    12/4/2023            1               X                    X                            X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
 1134937-04      I.P.    8/19/2023    12/8/2023            1               X                    X                            X          X             X           X     19     X              X                            X            X                               X              X                 X                 X                X
 1134937-05     G.A.     8/19/2023    1/21/2024            1               X                    X                            X          X             X           X     13     X                                                        X                               X              X                 X                 X                X
 1134965-01     H.S.      8/3/2023   11/30/2023            8               X                    X                            X          X                         X     11     X     X        X                            X            X               X               X              X                 X                 X                X
 1134992-02     A.S.     8/15/2023    4/12/2024            1               X                                                 X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
 1135025-01     H.A.     8/28/2023     1/9/2024            1               X                                                 X          X                         X      6     X     X                                     X                                            X              X                 X                 X                X
 1135065-01     M.P.     8/24/2023    2/11/2024            1               X                                                 X                        X           X      6                                                              X                               X              X                 X                 X                X
 1135092-02     D.V.     8/22/2023    12/5/2023            1               X                    X                            X          X             X           X     13     X              X             X              X            X                               X              X                 X                 X                X
 1135093-02     K.M.     8/10/2023   10/20/2023            1               X                    X                            X          X                                0                                  X                           X               X               X              X                 X                 X                X
 1135097-02     C.V.     8/21/2023    3/12/2024            1               X                                  X              X          X             X           X     20     X              X             X              X            X                               X              X                 X                 X                X
 1135109-01     F.R.     8/14/2023    10/4/2023            1               X                                                 X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X
 1135124-02     T.B.     8/19/2023     5/1/2024            1               X                                                 X          X                         X     13     X                            X                           X                               X              X                 X                 X                X
 1135130-02     E.M.      9/2/2023   12/28/2023            4               X                                                 X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1135141-01     B.R.     8/28/2023    11/5/2023            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X               X               X              X                 X                 X                X
 1135176-02     C.T.      9/2/2023    2/15/2024            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1135209-03     C.H.     8/23/2023   10/16/2023            2               X                                                 X          X             X           X     30     X     X        X                            X            X               X               X              X                 X                 X                X
 1135219-01     T.H.     8/27/2023    6/27/2024            1               X                                                 X          X             X                  0                                                              X                                              X                 X                 X                X
 1135227-01     W.S.      8/4/2023    5/24/2024            4               X                    X                            X          X                         X      2     X                                           X            X               X               X              X                 X                 X                X
 1135260-01      J.J.     9/3/2023    12/2/2023            2               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1135284-01     M.O.      9/5/2023    1/16/2024            1               X                    X                            X          X             X           X     12     X     X                                     X            X               X               X              X                 X                 X                X
 1135331-02     D.L.      9/8/2023    12/7/2023            1               X                    X                            X          X             X           X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1135360-01     T.N.      9/7/2023    1/29/2024            2               X                                                 X          X             X           X      4                                  X                           X                               X              X                 X                                  X
 1135377-02     E.W.     8/14/2023    1/13/2024            1               X                                                 X          X             X           X      5     X     X                                     X            X                               X                                X                 X                X
 1135382-01     G.M.      8/7/2023    12/1/2023            1               X                    X                            X          X             X           X      4           X                      X              X                                            X              X                 X                 X                X
 1135396-01     K.C.     8/27/2023   10/19/2023            1               X                                                 X          X                         X     10     X     X        X                            X            X                               X              X                 X                 X                X
 1135432-01     L.G.     8/18/2023   10/20/2023            3               X                                                 X          X                         X     10     X                            X                           X               X               X              X                 X                 X                X
 1135476-09     C.T.     8/12/2023    4/25/2024            1               X                                  X              X                                           0                                                 X            X                               X                                                  X
 1135497-01     U.C.      9/7/2023   12/22/2023            1               X                                                 X          X                         X      1           X                      X              X                                            X              X                 X                 X
 1135536-04     M.H.     8/25/2023   11/29/2023            1               X                                                 X          X             X           X     28     X     X        X             X              X            X                               X              X                 X                 X                X
 1135540-01     J.A.     8/31/2023    3/30/2024            2               X                    X                            X          X                         X      2                    X                                         X                               X              X                 X                 X                X
 1135543-01     J.P.     8/20/2023    10/5/2023            1               X                    X                            X          X             X           X      9     X     X                                     X            X                               X              X                 X                 X                X
 1135578-01     L.C.      9/5/2023   10/12/2023            1               X                    X                            X          X             X           X     13     X     X        X             X              X                                            X              X                 X                 X                X
 1135614-02     R.M.     8/25/2023     5/3/2024            1               X                                                 X          X             X           X     21     X     X        X             X                           X                                              X                 X                 X                X
 1135627-01     V.P.     8/19/2023     5/9/2024            2               X                                                 X          X                         X      1     X                            X              X            X                               X              X                 X                 X                X

                                                                                                                                                118 of 133                                                                                                                                                                            Exhibit 1
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                                                                                                                       1568
                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
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                                                                                                                                                                        DME Devices




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                                                                                                                                                                        Compression
                                                                                            Chiropractic




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                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1135647-01     A.R.     8/19/2023    7/11/2024            1               X                    X                            X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X
 1135716-01     J.B.      9/5/2023   11/17/2023            2               X                    X                            X          X             X           X      6     X              X             X              X            X               X               X              X                 X                 X                X
 1135738-02     T.S.     8/19/2023    5/31/2024            1               X                    X                            X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1135780-01     V.C.     8/31/2023   10/31/2023            1               X                                                 X          X                         X      1     X                            X              X            X                               X              X                 X                 X                X
 1135893-02     J.G.     8/29/2023    1/11/2024            1               X                                                 X          X             X           X      2           X                                     X            X                               X              X                 X                 X
 1135904-01     N.C.     9/11/2023    11/5/2023            9               X                    X                            X          X             X           X     17     X     X        X             X              X            X               X               X              X                 X                 X                X
 1135917-01     E.P.     8/20/2023   10/13/2023            2               X                                                 X                                    X     10     X              X             X              X            X                               X              X                 X                 X                X
 1135961-02     S.S.     9/16/2023    7/14/2024            1               X                                  X              X          X             X           X     18     X                                                        X               X               X              X                 X                 X                X
 1135966-01     N.P.     8/18/2023   12/22/2023            1               X                    X                            X          X             X           X      2           X                      X              X            X                               X              X                 X                 X                X
 1135966-07     D.P.     8/18/2023     1/5/2024            2               X                    X                            X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
 1136024-01     E.E.     8/21/2023   11/21/2023            2               X                    X                            X          X                         X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1136024-04     E.R.     8/21/2023     2/6/2024            1               X                                                 X          X                         X     11                                                              X                               X              X                 X                 X                X
 1136050-01     G.O.      9/5/2023    2/27/2024            3               X                    X                            X          X             X           X      9     X              X             X              X            X               X               X              X                 X                 X                X
 1136076-01     A.B.     8/22/2023   12/18/2023            1               X                                                 X          X                         X      8     X     X        X                            X            X                                              X                 X                 X                X
 1136091-01     M.P.     9/17/2023    1/30/2024            2               X                    X                            X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
 1136119-02     R.J.     8/31/2023    12/7/2023            2               X                                                 X          X                         X     26     X     X        X                            X            X               X               X              X                 X                 X                X
 1136129-01     J.D.      9/8/2023   12/20/2023            3                                                                 X                                           0                                                              X               X               X              X                 X                                  X
 1136154-01     J.D.     9/14/2023   11/22/2023            1               X                    X                            X          X             X           X     15     X                                                        X                               X              X                 X                 X                X
 1136188-01     R.J.     9/15/2023    3/16/2024            2               X                                  X              X          X             X           X     15     X                                                        X               X               X              X                 X                 X                X
 1136202-02     L.S.     9/16/2023    1/15/2024            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1136289-01     J.C.     9/16/2023    1/31/2024            2               X                                                 X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1136304-01     D.D.     9/28/2023    5/18/2024            1               X                    X                            X          X             X           X     23     X     X                                                  X               X               X              X                 X                 X                X
 1136402-01     M.L.      9/4/2023    1/15/2024            2               X                    X                            X          X             X           X      6     X                            X                           X                               X              X                 X                 X                X
 1136423-01     L.R.      9/2/2023   12/19/2023            1               X                    X                            X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1136427-02     L.T.     9/14/2023    1/30/2024            1               X                    X                            X          X             X           X     24     X     X        X                            X            X               X               X              X                 X                 X                X
 1136434-01     D.F.     9/22/2023    1/29/2024            1               X                    X                            X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1136477-02     R.B.      9/3/2023   11/16/2023            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1136477-05     L.D.      9/3/2023   12/28/2023            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                                              X                 X                 X                X
 1136480-03     K.J.      9/3/2023     2/2/2024            1               X                    X                            X          X             X           X     15     X     X        X             X              X            X               X               X              X                 X                 X                X
 1136513-03     J.T.     9/12/2023    1/21/2024            1               X                                                 X          X             X           X     17     X                            X                           X               X               X              X                 X                 X                X
 1136549-02     J.R.     9/11/2023   11/21/2023            2               X                    X                            X          X                         X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1136572-02     C.F.      9/8/2023   12/18/2023            1               X                                                 X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1136650-01     M.H.     9/18/2023    12/4/2023            6               X                    X                            X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
 1136655-01     J.H.     9/22/2023   10/20/2023            1               X                    X                            X                        X           X     13     X              X             X              X            X                               X              X                 X                 X                X
 1136660-01     A.S.     9/13/2023     4/8/2024            1               X                                                 X          X             X           X     24     X     X        X                            X            X               X               X              X                 X                 X                X
 1136673-01     K.M.     9/28/2023     1/2/2024            1               X                    X                            X                        X           X      7     X              X             X              X            X                               X              X                 X                 X                X
 1136675-01     O.S.     9/26/2023    2/14/2024            2               X                                                 X          X             X                  0                                                              X                                              X                                   X                X
 1136678-01     K.H.     10/2/2023    2/16/2024            3               X                    X             X              X          X             X           X     14                                  X                           X               X               X              X                 X                 X                X
 1136690-01     Y.C.     9/27/2023   11/13/2023            3               X                                                 X          X             X           X     15     X     X                                     X            X               X               X              X                 X                 X                X
 1136690-02     J.M.     9/27/2023     2/8/2024            2               X                                                 X          X             X           X     13           X                                                  X               X               X              X                 X                 X                X
 1136698-02     S.N.     5/25/2023   12/20/2023            5               X                    X                            X          X             X           X     15     X                                           X            X               X               X              X                 X                 X                X
 1136746-02     M.F.     8/18/2023    6/14/2024            2               X                                                 X                        X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1136766-02     C.C.     9/23/2023    6/21/2024            1               X                                                 X          X             X           X      5     X     X                      X              X                                            X              X                 X                 X                X
 1136771-01     H.C.     9/17/2023    2/13/2024            1               X                                  X              X          X             X           X      2     X              X                            X            X                               X              X                 X                 X                X

                                                                                                                                                119 of 133                                                                                                                                                                            Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
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                                                                                             Chiropractic




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                                                                                                                                                    EDx Testing




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                                                                                                                                                                           Prescribed




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                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1136801-05     R.S.      9/27/2023   11/19/2023            1               X                    X                            X          X             X           X     17           X                                                  X               X               X              X                 X                 X                X
 1136866-04     T.V.      10/1/2023    2/22/2024            2               X                    X                            X          X                         X     16     X     X                                                  X               X               X              X                 X                 X                X
 1136889-01     A.B.      10/1/2023   11/30/2023            1               X                                                 X          X             X                  0                                  X              X            X                               X              X                 X                 X                X
 1136892-02     M.B.      9/16/2023    3/27/2024            1               X                    X             X              X          X             X           X     12     X     X                                     X            X                               X              X                 X                 X                X
 1136894-01     C.L.     10/11/2023    2/29/2024            1               X                    X             X              X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1136957-02     A.F.      9/25/2023    2/21/2024            3               X                    X                            X          X             X           X      5     X     X                                     X            X               X               X              X                 X                 X                X
 1136994-01     M.K.      9/26/2023   12/13/2023            1                                                                 X                                           0                                                              X                               X              X                 X                                  X
 1137002-02     D.C.      10/6/2023    5/13/2024            1               X                                                 X          X                         X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1137005-02     A.A.      9/20/2023    1/11/2024            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1137006-02     K.W.      9/23/2023   12/13/2023            6               X                    X                            X                        X           X      6     X     X                      X              X            X                               X              X                 X                 X                X
 1137048-01     H.P.      9/21/2023    4/19/2024            1               X                                                 X          X             X           X      7     X     X                                     X            X                               X              X                 X                 X                X
 1137050-01     Q.H.      10/2/2023    1/26/2024            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                                  X
 1137113-01     G.N.      9/26/2023    6/27/2024            1               X                    X             X              X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X
 1137250-01     N.P.      10/5/2023     1/7/2024            4               X                                                 X          X             X           X     16     X     X                      X              X            X               X               X              X                 X                 X                X
 1137251-01     A.D.      9/19/2023   12/22/2023            1               X                    X                            X          X             X           X     21     X     X        X                            X            X                               X              X                 X                 X                X
 1137284-01     M.M.     10/12/2023    2/17/2024            1                                                                 X                        X                  0                                  X                           X               X                              X                 X                 X                X
 1137296-01     D.C.      9/26/2023   12/18/2023            3               X                    X             X              X          X             X           X      2                                                 X            X                               X              X                 X                 X                X
 1137341-01     M.I.      9/24/2023    3/26/2024            1               X                                                 X          X                         X      7     X              X                            X            X                               X              X                 X                 X                X
 1137351-01     M.V.      9/20/2023    2/20/2024            1               X                                                 X          X             X           X      9     X     X                      X              X            X                               X              X                 X                 X                X
 1137364-02     D.O.      10/9/2023    4/26/2024            1               X                    X                            X          X             X           X     30     X     X        X                            X            X                               X              X                 X                 X                X
 1137400-01     M.U.      9/28/2023     4/1/2024            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1137478-01     E.T.     10/17/2023    6/20/2024            1               X                                                 X          X             X           X      6                                                              X               X               X              X                 X                 X                X
 1137482-07     F.L.      9/28/2023    2/16/2024            2               X                    X                            X          X                         X      9     X                            X              X            X                               X              X                 X                 X                X
 1137519-01     L.G.     10/23/2023     2/1/2024            2               X                                                 X          X             X           X     13     X     X                                                  X               X               X              X                 X                 X                X
 1137533-03     S.S.      9/16/2023    3/12/2024            2               X                                  X              X                                    X      3     X              X                            X            X               X               X              X                 X                 X                X
 1137554-01     C.S.     10/13/2023     5/9/2024            1               X                                                 X          X             X                  0                                                 X            X                               X              X                 X                 X                X
 1137571-02     C.W.      10/8/2023   12/22/2023            1               X                                                 X          X             X           X     23     X     X        X                            X            X                               X              X                 X                 X                X
 1137669-02     S.A.     10/10/2023    3/28/2024            1               X                                                 X          X             X                  0                                  X              X                                            X              X                 X                 X                X
 1137765-01     A.S.     10/10/2023    1/31/2024            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1137773-01     F.P.     10/13/2023   12/12/2023            2               X                    X                            X          X             X           X      8     X              X             X              X            X               X               X              X                 X                 X                X
 1137805-05     S.H.     10/22/2023     1/5/2024            1               X                                                 X          X             X           X     15     X                                           X            X                               X              X                 X                 X                X
 1137818-01     S.C.      9/29/2023    1/13/2024            1               X                                  X              X          X                                0                                                              X                               X                                                  X                X
 1137830-02     N.G.     10/12/2023    1/11/2024            4               X                                                 X          X             X           X      3                                                              X               X               X              X                 X                                  X
 1137874-01     N.S.     10/12/2023    3/28/2024            2               X                                                 X          X                         X      2     X                                                        X               X               X              X                 X                 X                X
 1137874-04     A.R.     10/12/2023     3/6/2024            1               X                    X                            X          X             X           X      2     X                            X                           X                               X              X                 X                 X                X
 1137878-02     Q.A.     10/21/2023    5/14/2024            1               X                    X                            X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1137880-02     S.P.     10/11/2023    2/17/2024            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1137907-02     J.B.      10/3/2023   11/19/2023            2               X                    X             X              X          X             X           X     18                                  X                           X               X               X              X                 X                 X                X
 1137979-01     G.H.      10/6/2023   12/27/2023            2               X                    X             X              X          X             X           X     16     X                                                        X               X               X              X                 X                 X                X
 1138018-01     W.L.      10/7/2023    5/17/2024            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1138097-01     M.N.     10/28/2023   12/16/2023            2               X                    X                            X          X                         X      1                                                              X                               X              X                 X                                  X
 1138211-01     J.C.     10/27/2023     1/7/2024            4               X                                                 X          X             X           X     18     X     X                      X                           X               X               X              X                 X                 X                X
 1138218-03     C.K.      11/3/2023    1/28/2024            2               X                                                 X          X             X           X      2           X                                                  X               X               X              X                 X                 X                X
 1138241-01     E.P.     10/22/2023    1/28/2024            2               X                                                 X          X             X           X     14           X                                                  X                               X              X                 X                 X                X

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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




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                                                                                             Chiropractic




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                                                                                                                                                    EDx Testing




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                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1138253-02     B.P.      11/8/2023     2/7/2024            1               X                                                 X          X                         X      4     X     X                                     X            X                               X              X                 X                 X                X
 1138263-01     F.K.     10/27/2023     2/7/2024            1               X                    X             X              X          X             X           X     10     X                                           X            X                               X              X                 X                 X                X
 1138287-02     W.G.     10/27/2023     1/5/2024            1               X                                                 X          X             X           X      1                                  X              X            X                               X              X                 X                 X                X
 1138361-01     D.P.      11/2/2023    4/30/2024            1               X                    X             X              X          X             X           X     24     X     X                                     X            X                               X              X                 X                 X                X
 1138366-90     C.G.      11/4/2023    5/14/2024            1               X                    X                            X                                           0                                                                              X               X              X                 X                 X                X
 1138396-02     M.C.      10/6/2023     2/2/2024            2               X                                                 X          X             X           X     10     X     X        X             X              X            X                               X              X                                   X                X
 1138396-03     J.L.      10/6/2023    1/18/2024            2               X                                                 X          X             X           X      8           X        X             X              X            X                               X              X                 X                 X                X
 1138437-01     M.B.     10/27/2023    1/20/2024            3               X                    X                            X          X                         X      4                                                              X               X               X              X                 X                 X                X
 1138443-03     F.M.     11/10/2023    5/21/2024            1               X                    X                            X          X                         X      9     X              X                            X            X                               X              X                 X                 X                X
 1138457-01     R.S.     10/17/2023   12/22/2023            1               X                    X             X              X          X             X                  0                                                              X                                              X                 X                 X                X
 1138457-03     Y.P.     10/17/2023   12/22/2023            2               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1138464-01     A.A.     10/25/2023     4/4/2024            1               X                                                 X          X                         X     16     X              X                            X            X                               X              X                 X                 X                X
 1138470-01     J.N.     10/15/2023    2/19/2024            1               X                                                 X          X             X           X      5           X        X             X              X            X                               X              X                 X                 X                X
 1138481-02     J.H.      11/6/2023     4/1/2024            1               X                    X                            X          X                         X      5     X              X                            X            X                               X              X                 X                 X                X
 1138538-01     H.K.     10/21/2023    5/24/2024            2               X                                  X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1138575-01     F.C.     11/14/2023    3/28/2024            1               X                    X             X              X          X             X           X     16     X     X        X                            X            X               X               X              X                 X                 X                X
 1138575-02     E.M.     11/14/2023     2/6/2024            1               X                    X             X              X          X             X           X      7                                                              X                               X              X                 X                 X                X
 1138599-02     V.N.      11/9/2023    8/22/2024            1               X                    X                            X          X                         X      1     X                                           X            X                               X              X                 X                 X                X
 1138600-01     Y.C.     11/11/2023    3/24/2024            1               X                    X                            X          X             X           X     25     X     X        X                            X            X                               X              X                 X                 X                X
 1138605-01     P.M.     10/28/2023    1/11/2024            1               X                                                 X          X             X           X      5     X                                                        X                               X              X                 X                 X                X
 1138644-01     T.C.      10/6/2023    5/23/2024            1               X                    X             X              X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
 1138749-01     C.P.     10/29/2023    1/19/2024            1               X                    X             X              X          X             X           X      3                                                              X                               X              X                 X                 X                X
 1138793-02     J.S.      11/3/2023    4/30/2024            1               X                                                 X                                    X      8     X              X             X              X            X                               X              X                 X                 X                X
 1138803-01     S.L.      11/3/2023     2/6/2024            1               X                    X                            X          X             X           X      4                                                              X               X               X              X                 X                                  X
 1138846-04     R.P.     10/27/2023    1/11/2024            1               X                    X                            X                        X                  0                                                              X                               X              X                 X                 X                X
 1138850-01     A.G.      11/2/2023    3/18/2024            1               X                                                 X          X             X           X     15     X     X        X                            X            X                               X              X                 X                 X                X
 1138871-02     L.H.     10/23/2023     4/1/2024            2               X                    X             X              X          X                         X     16     X     X        X             X              X            X                               X              X                 X                 X                X
 1138883-02     C.R.     11/20/2023    5/14/2024            1               X                    X                            X          X             X           X      3                                                 X            X                               X              X                 X                 X                X
 1138904-01     M.H.      11/9/2023    2/23/2024            4               X                    X                            X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1139012-03     J.T.      11/5/2023     4/3/2024            1               X                    X             X              X          X                         X     11     X     X        X                            X            X                               X              X                 X                 X                X
 1139060-01     C.C.      9/21/2023    2/12/2024            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1139102-02     K.H.     10/14/2023    5/29/2024            1               X                                                 X                        X                  0                                                 X            X                               X              X                                   X
 1139140-04     D.M.     10/27/2023    1/21/2024            2               X                    X                            X          X             X           X      8     X     X        X                            X            X               X               X              X                 X                 X                X
 1139265-01     S.A.      12/2/2023    7/18/2024            1               X                                                 X          X             X           X     22     X     X                                     X            X               X               X              X                 X                 X                X
 1139353-01     M.H.      11/6/2023     4/3/2024            1               X                    X             X              X          X                         X     14     X     X        X                            X            X               X               X              X                 X                 X                X
 1139353-03     W.H.      11/6/2023    6/28/2024            1               X                    X             X              X          X                         X     10     X              X                            X            X                               X              X                 X                 X                X
 1139358-01     M.R.     10/31/2023     4/7/2024            1               X                    X             X              X          X                         X      6     X              X                            X            X                               X              X                 X                 X                X
 1139366-01     T.A.     11/17/2023    4/25/2024            1               X                                                 X          X             X                  0                                                              X                               X              X                 X                                  X
 1139371-01     D.D.     11/22/2023    1/18/2024            1               X                                                 X          X             X           X      7           X                      X              X            X                               X              X                 X                 X                X
 1139406-01     P.L.     11/10/2023    4/30/2024            1               X                                  X              X                        X           X      8     X     X        X                            X            X               X               X              X                 X                 X                X
 1139461-02     C.V.     11/23/2023     2/9/2024            1               X                                                 X          X             X           X      4     X     X                      X              X            X                               X              X                 X                 X                X
 1139503-01     J.P.     11/24/2023    4/15/2024            1               X                    X                            X          X             X           X      3     X                            X              X            X                               X              X                 X                 X                X
 1139507-01     R.A.     11/17/2023    7/25/2024            1               X                    X                            X          X             X           X      5     X              X             X              X            X               X               X              X                 X                 X                X
 1139511-04     W.M.      12/6/2023    4/27/2024            2               X                    X                            X          X                         X      1                                  X                           X               X               X              X                 X                 X                X

                                                                                                                                                 121 of 133                                                                                                                                                                            Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1139518-03     A.J.     11/21/2023     4/3/2024            1               X                                                 X          X             X           X      6           X        X             X              X                                            X                                X                 X                X
 1139518-05     M.O.     11/21/2023    1/19/2024            3               X                                                 X                        X                  0                                                              X               X               X              X                 X                 X                X
 1139524-01     E.P.     11/16/2023    4/21/2024            1               X                                                 X          X             X           X      1                                                              X                               X              X                 X                                  X
 1139525-04     A.G.     11/25/2023    6/24/2024            1               X                    X             X              X          X                         X      1     X                                           X            X                               X              X                 X                 X                X
 1139548-02     J.L.     11/30/2023    4/13/2024            1               X                                                 X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1139581-01     H.C.     11/27/2023    2/16/2024            2               X                    X             X              X          X             X           X      5     X                                                        X               X               X              X                 X                 X                X
 1139643-05     P.A.     11/23/2023    3/22/2024            2               X                    X                            X          X             X           X      5     X                            X                           X               X               X              X                 X                 X                X
 1139693-03     N.M.     11/24/2023     2/2/2024            2               X                    X                            X          X             X           X     20     X              X                            X            X                               X              X                 X                 X                X
 1139713-02     P.W.     11/23/2023    4/25/2024            3               X                                                 X          X                                0                                                              X               X               X              X                 X                 X                X
 1139727-01     J.C.     11/13/2023     3/7/2024            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1139736-01     D.F.      11/9/2023    1/16/2024            1               X                                                 X          X                         X      3                    X                            X            X                               X                                X                 X
 1139740-03     D.W.     11/27/2023    3/20/2024            3               X                    X                            X          X             X           X     17     X                                                        X               X               X              X                 X                 X                X
 1139740-04     M.A.     11/27/2023     2/4/2024            5               X                    X                            X          X             X           X     29     X     X        X                            X            X               X               X              X                 X                 X                X
 1139859-01     E.S.     11/15/2023    2/27/2024            2               X                    X                            X          X             X           X     22     X                                                        X               X               X              X                 X                 X                X
 1139898-01     S.E.     11/10/2023    6/20/2024            1               X                                                 X          X             X           X     17     X     X        X                            X                                            X              X                 X                 X                X
 1139941-02     S.F.     11/19/2023     4/3/2024            1               X                                  X              X          X             X           X     20     X                                                        X                               X              X                 X                 X                X
 1139954-01     E.S.     11/24/2023    2/20/2024            1               X                    X                            X          X             X           X      8     X              X                            X            X                               X              X                 X                 X
 1139983-01     M.R.      12/4/2023    1/19/2024            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1140029-03     M.G.     11/25/2023    3/15/2024            1               X                    X                            X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
 1140062-01     B.V.      12/5/2023    4/24/2024            2               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1140083-01     S.R.     11/27/2023    4/12/2024            1               X                                                 X          X             X           X      6     X     X                                     X            X                               X              X                                   X                X
 1140109-01     M.G.     11/13/2023    2/29/2024            2               X                    X                            X          X             X           X      5     X     X                                     X            X               X               X              X                 X                 X                X
 1140190-03     N.B.     12/10/2023     4/9/2024            2               X                    X             X              X          X             X           X      7     X              X             X              X            X                               X              X                 X                 X                X
 1140224-01     Z.W.     10/31/2023     4/8/2024            1                                                                 X          X                                0                                                              X                                              X                 X                 X                X
 1140246-02     J.M.     12/14/2023    4/17/2024            1               X                    X                            X          X             X           X      4     X                                           X            X                               X              X                 X                 X                X
 1140280-02     N.B.     12/12/2023    2/22/2024            1               X                                                 X          X                         X      2                                                                              X               X              X                 X                                  X
 1140322-01     R.A.      12/8/2023     2/1/2024            2               X                                                 X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1140327-01     L.A.     12/17/2023    3/20/2024            2               X                    X                            X          X             X           X     10     X                            X                           X                               X              X                 X                 X                X
 1140327-02     S.R.     12/17/2023    2/29/2024            1               X                    X             X              X          X                         X     15     X              X             X              X            X                               X              X                 X                 X                X
 1140367-01     C.T.     11/18/2023    6/19/2024            1               X                    X             X              X          X             X           X     17           X                                                  X               X               X              X                 X                 X                X
 1140368-01     L.E.     11/24/2023     2/9/2024            1               X                    X             X              X          X                         X     18     X              X                            X            X                               X              X                 X                 X                X
 1140369-01     Z.S.     11/28/2023    2/17/2024            3               X                    X                            X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
 1140413-01     W.P.      12/5/2023    7/21/2024            1               X                                  X              X          X                         X      1     X                                                        X                               X              X                 X                 X                X
 1140441-04     J.S.     11/24/2023    4/23/2024            1               X                                                 X          X                         X     10     X     X        X                            X            X               X               X              X                 X                 X                X
 1140462-01     J.L.     12/26/2023     5/3/2024            1               X                                  X              X          X             X           X     23     X     X                                     X            X                               X              X                 X                 X                X
 1140531-01     A.I.      12/6/2023    4/16/2024            1               X                    X                            X                                    X      7     X     X        X                            X            X                               X              X                 X                 X                X
 1140535-02     D.A.      12/9/2023    1/30/2024            1               X                    X                            X          X             X           X      4                                                              X                               X              X                 X                 X                X
 1140536-02     J.K.      12/9/2023    8/13/2024            1               X                                                 X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1140539-02     R.M.     12/16/2023     4/3/2024            1               X                    X                            X          X             X           X     24     X     X        X             X              X            X                               X              X                 X                 X                X
 1140539-04     H.V.     12/16/2023     4/3/2024            2               X                    X                            X          X             X           X     24     X              X             X              X            X                               X              X                 X                 X                X
 1140557-01     P.S.     12/11/2023    4/12/2024            2               X                                                 X          X             X           X      9     X     X                      X                           X                               X              X                 X                 X                X
 1140567-01     H.F.     12/22/2023    2/29/2024            2               X                                                 X          X             X                  0                                                              X               X               X                                X                                  X
 1140634-01     O.H.     12/16/2023    3/27/2024            1               X                                                 X                        X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
 1140637-01     P.S.     12/22/2023     8/4/2024            1               X                    X                            X          X             X           X      4     X              X             X              X            X               X               X              X                 X                 X                X

                                                                                                                                                 122 of 133                                                                                                                                                                            Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1140678-01     E.V.     11/26/2023     2/6/2024            2               X                    X             X              X          X             X           X      8     X              X             X              X            X                               X              X                 X                 X                X
 1140696-01     L.T.      12/9/2023    5/20/2024            3               X                                                 X          X                         X      4     X                                                        X                               X              X                 X                 X                X
 1140723-01     A.D.     11/29/2023    3/15/2024            1               X                                                 X          X             X           X      4           X                                                  X               X               X              X                 X                                  X
 1140735-05     D.M.     12/22/2023    6/11/2024            1               X                                                 X          X             X           X     18     X                                                        X                               X              X                 X                 X                X
 1140827-01     D.G.     12/28/2023    5/11/2024            1               X                    X                            X          X             X           X      1     X                                                        X                               X              X                 X                 X                X
 1140859-01     R.C.      12/8/2023    2/11/2024            7               X                    X             X              X          X             X           X     25     X     X        X                            X            X               X               X              X                 X                 X                X
 1140868-02     Y.B.     12/14/2023    2/27/2024            1               X                    X                            X          X                         X     20     X     X                      X              X            X                               X              X                 X                 X                X
 1140873-01     B.R.     12/20/2023    5/10/2024            1               X                                                 X          X             X           X      4     X     X        X             X              X            X                               X              X                 X                 X                X
 1140893-04     O.M.     12/26/2023     2/9/2024            2               X                    X                            X                                    X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1140924-01     B.V.     12/16/2023    4/10/2024            2               X                    X                            X          X                         X     13                                  X                           X               X               X              X                 X                 X                X
 1140962-01     M.D.     12/31/2023     3/8/2024            3               X                    X                            X                        X           X      2                                                              X               X               X              X                 X                 X                X
 1141068-02     J.D.     12/22/2023    2/15/2024            2               X                    X                            X          X             X           X     18     X     X                      X              X            X               X               X              X                 X                 X                X
 1141092-01     K.R.     12/24/2023    3/23/2024            1               X                    X                            X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1141202-01     A.F.     12/15/2023    3/19/2024            1               X                    X             X              X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1141215-02     Y.N.      12/8/2023    4/20/2024            1               X                    X                            X                        X           X      3     X                            X                           X                               X              X                 X                 X                X
 1141238-01     X.D.     12/17/2023    6/24/2024            1               X                    X                            X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1141248-02     C.R.     12/28/2023    3/10/2024            1               X                    X             X              X          X             X           X     22     X     X                      X                           X               X               X              X                 X                 X                X
 1141298-02     M.L.     12/26/2023     6/6/2024            1               X                                                 X          X                                0                                  X              X                                            X              X                 X                 X                X
 1141327-01     A.Y.     12/19/2023     3/2/2024            2               X                    X             X              X          X             X           X      9     X     X                      X              X            X                               X              X                 X                 X                X
 1141332-03     V.R.     12/11/2023     6/2/2024            2               X                    X                            X          X             X           X     18     X                            X              X            X               X               X              X                 X                 X                X
 1141332-04     D.M.     12/11/2023    7/28/2024            1               X                    X                            X          X             X           X     15                                                              X                               X              X                 X                                  X
 1141352-01     N.J.       1/8/2024    6/19/2024            2               X                                                 X          X                                0                                                              X               X               X              X                 X                 X                X
 1141358-01     M.K.     12/31/2023     5/1/2024            1               X                                  X              X          X             X           X     17     X                                                        X                               X              X                 X                 X                X
 1141421-01     H.A.     12/30/2023    7/21/2024            2               X                                  X              X          X             X           X     14     X                                                        X                               X              X                 X                 X                X
 1141499-01     N.R.     12/29/2023    6/28/2024            1               X                                                 X          X             X                  0                                  X              X            X                               X                                X                 X                X
 1141570-01     B.C.      12/6/2023     5/7/2024            2               X                                                 X          X                         X     10     X                            X              X            X                               X              X                 X                 X                X
 1141609-01     A.A.     12/17/2023    6/29/2024            2               X                                                 X          X             X                  0                                                              X                               X              X                 X                                  X
 1141639-05     I.A.     12/14/2023    4/25/2024            2               X                                                 X          X             X                  0                                                              X               X               X              X                 X                                  X
 1141680-01     M.D.       1/8/2024    4/26/2024            1               X                    X                            X          X                         X      4     X     X        X                            X            X                               X              X                 X                 X                X
 1141687-02     L.P.       1/2/2024     5/8/2024            1               X                                                 X                                    X      4     X     X        X                            X            X                               X                                X                 X                X
 1141689-02     L.Z.      1/13/2024    7/11/2024            1               X                                                 X          X                         X      9     X     X        X                            X            X                               X                                                  X
 1141727-02     A.J.     12/31/2023    7/25/2024            1               X                                                 X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1141752-01     O.M.     12/22/2023    2/22/2024            2               X                                                 X          X             X           X     16     X     X                                                  X               X               X              X                 X                 X                X
 1141754-01     D.D.       1/9/2024    6/19/2024            1               X                    X                            X          X             X           X      7     X     X        X                            X            X               X               X              X                 X                 X                X
 1141777-02     C.P.     12/13/2023    2/23/2024            3               X                                                 X          X             X                  0                                                              X                               X              X                 X                 X                X
 1141803-01     N.A.     12/18/2023     3/1/2024            1               X                                                 X          X                         X     10     X                                           X            X                               X              X                 X                 X                X
 1141838-04     K.R.       1/5/2024    2/29/2024            1               X                                                 X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1141841-01     E.A.     12/15/2023     2/9/2024            5               X                                                 X          X             X                  0                                  X              X            X               X               X              X                 X                 X                X
 1141855-01     E.B.     12/29/2023    6/26/2024            1               X                                                 X          X             X           X      3           X        X                            X            X                               X              X                 X                 X                X
 1141889-01     N.C.       1/2/2024    2/27/2024            2               X                    X                            X          X                         X     16     X              X             X              X            X               X               X              X                 X                 X                X
 1141920-01     T.K.      1/12/2024     7/8/2024            1               X                    X                            X          X             X           X     13     X                                                        X                               X              X                 X                 X                X
 1141927-01     D.A.      1/13/2024     5/9/2024            2               X                    X                            X          X             X           X     14           X                                                  X               X               X              X                 X                 X                X
 1141955-01     L.P.       1/7/2024    2/29/2024            1               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
 1141955-04     V.B.       1/7/2024    3/28/2024            1               X                                                 X          X             X           X      8     X     X                                     X            X                               X              X                 X                 X                X

                                                                                                                                                 123 of 133                                                                                                                                                                            Exhibit 1
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                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




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                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




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                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




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                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1142034-03     J.S.       1/8/2024     4/7/2024            1               X                                                 X          X             X           X      5           X                      X                           X               X               X              X                 X                 X                X
 1142034-05     H.N.       1/8/2024     5/2/2024            2               X                                                 X                                           0                                                              X               X               X              X                 X                 X                X
 1142050-01     J.S.      1/13/2024     5/7/2024            1               X                    X                            X          X             X           X     10     X     X        X                            X            X               X               X              X                 X                 X                X
 1142086-01     B.M.     12/29/2023     4/8/2024            1               X                                                 X                                    X      8           X        X             X              X            X                               X                                X                 X
 1142098-02     S.M.     12/20/2023     4/3/2024            1               X                    X                            X          X                         X      1                                                              X                               X              X                 X                                  X
 1142101-90     Z.R.      8/24/2023   12/29/2023            2                                                                 X                                           0                                                 X            X                               X              X                                   X                X
 1142102-02     J.A.      1/20/2024     7/3/2024            1               X                    X             X              X          X             X           X      2                                                              X                               X              X                 X                 X                X
 1142110-02     W.E.       1/9/2024    6/14/2024            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1142138-02     F.Y.      1/22/2024    7/13/2024            1               X                    X                            X          X             X           X     15     X     X        X             X              X            X                                              X                 X                 X                X
 1142214-01     H.B.       1/9/2024     4/5/2024            1               X                    X             X              X          X             X           X     22     X     X                                                  X                               X              X                 X                 X                X
 1142235-01     Y.J.     12/26/2023    1/28/2024            1               X                                                 X          X             X           X     27     X     X        X                            X            X                               X              X                 X                 X                X
 1142277-01     A.P.      1/16/2024    7/13/2024            1               X                    X                            X          X                         X      7     X     X        X             X              X            X                               X                                X                 X                X
 1142390-03      I.I.     1/25/2024    6/27/2024            1               X                    X                            X          X             X           X     14     X     X                      X              X            X                               X              X                 X                 X                X
 1142405-01     L.F.       1/1/2024    3/16/2024            4               X                    X                            X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
 1142420-01     N.M.      1/12/2024     4/3/2024            1               X                    X                            X          X                         X     19     X                            X                           X                               X              X                 X                 X                X
 1142422-01     L.V.     12/27/2023    5/20/2024            1               X                    X             X              X          X             X           X     16                                                              X               X               X              X                 X                 X                X
 1142442-01     M.C.     11/22/2023    2/21/2024            3               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1142518-01     J.E.      1/27/2024    8/14/2024            1               X                    X                            X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1142558-01     R.V.     12/27/2023    7/15/2024            1               X                                                 X                                    X      4     X     X        X                            X            X                               X              X                                   X
 1142583-01     J.M.      1/16/2024    6/14/2024            1               X                                                 X          X             X           X     11     X     X        X                            X                                            X              X                 X                 X                X
 1142598-01     J.M.      1/18/2024    8/17/2024            1               X                    X             X              X          X             X           X     24     X     X                                     X            X                               X              X                 X                 X                X
 1142662-02     V.T.       2/5/2024    6/13/2024            1               X                                                 X          X                         X      2     X     X                      X              X            X                               X              X                 X                 X
 1142694-01     J.R.      1/22/2024    5/24/2024            2               X                    X                            X          X                         X      2                                                              X                               X              X                 X                 X                X
 1142790-01     M.I.      1/30/2024    5/24/2024            1               X                    X                            X          X             X           X      4     X     X        X             X              X            X               X               X              X                 X                 X                X
 1142790-02     M.H.      1/30/2024    5/24/2024            1               X                    X                            X          X             X           X      5     X     X        X                            X            X               X               X              X                 X                 X                X
 1142809-01     R.H.       1/5/2024    2/26/2024            3               X                    X             X              X          X                                0                                                              X                               X              X                 X                 X                X
 1142864-04     N.L.      1/26/2024     4/8/2024            1               X                                                 X          X             X           X     17     X     X                                     X            X                               X              X                 X                 X                X
 1142940-01     N.N.     12/30/2023    4/22/2024            3               X                    X                            X          X             X           X      6     X              X                            X            X                               X              X                 X                 X                X
 1142999-01     J.P.     12/15/2023    3/28/2024            1               X                    X                            X          X             X           X     22     X     X        X                            X            X                               X              X                 X                 X                X
 1143000-01     R.C.      1/16/2024    4/17/2024            2               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
 1143072-01     S.R.      1/18/2024    8/25/2024            1               X                                                                          X                  0                                                              X                               X              X                 X                 X                X
 1143087-02     C.L.       2/4/2024     4/9/2024            1               X                    X                            X          X             X           X     11     X                                                        X                               X              X                 X                 X                X
 1143101-01     D.P.      1/20/2024    3/29/2024            4               X                    X                            X          X             X           X     16     X     X                                     X            X               X               X              X                 X                 X                X
 1143101-02     B.P.      1/20/2024    3/29/2024            4               X                    X                            X          X             X           X     15     X     X                                     X            X               X               X              X                 X                 X                X
 1143107-02     J.G.      1/27/2024    3/27/2024            4               X                    X             X              X          X             X           X     21     X     X                                     X            X               X               X              X                 X                 X                X
 1143230-02     K.B.       2/4/2024    8/22/2024            1               X                                                 X          X             X                  0                                  X              X            X                               X              X                 X                 X                X
 1143275-01     A.W.      12/1/2023     7/2/2024            1               X                                                 X                        X           X      6                                                              X               X               X              X                 X                 X                X
 1143289-01     J.M.      1/16/2024     4/9/2024            1               X                                                 X          X             X           X     16     X              X                            X            X                                              X                 X                 X                X
 1143294-03     T.S.      2/12/2024     5/8/2024            1               X                    X             X              X          X             X           X     10     X     X        X             X              X                                            X              X                 X                 X                X
 1143307-01     A.A.      2/15/2024    4/10/2024            1               X                                                 X          X                         X      2                                                              X                               X              X                 X                 X                X
 1143314-01     A.L.      1/24/2024    5/24/2024            1               X                    X                            X          X             X           X     16     X                                           X            X               X               X              X                 X                 X                X
 1143319-02     B.G.      1/17/2024    5/16/2024            1               X                    X                            X          X             X           X     14     X     X        X                            X            X                               X              X                 X                 X                X
 1143360-01     S.R.      1/29/2024    3/13/2024            1               X                    X                            X          X             X           X      8     X              X             X              X            X                               X              X                 X                 X                X
 1143381-02     E.S.       2/5/2024    5/23/2024            1               X                    X             X              X          X                         X      6     X     X                                     X                                            X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
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                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1143412-03     M.Z.     2/14/2024    5/24/2024            2               X                    X             X              X          X             X           X      6     X                            X                           X                               X              X                 X                 X                X
 1143445-01     X.T.      2/9/2024    4/26/2024            1               X                                                 X          X                         X      5     X     X                      X              X                                            X              X                 X                 X                X
 1143459-01     S.Y.     1/26/2024     6/3/2024            1               X                    X                            X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X
 1143464-01     R.G.     1/18/2024    7/28/2024            1               X                                  X              X          X             X           X     18     X     X                                                  X               X               X              X                 X                 X                X
 1143504-01     L.B.     2/15/2024    5/24/2024            1               X                    X             X              X          X                         X      8     X              X                            X            X                               X              X                 X                 X                X
 1143519-02     Y.T.     2/16/2024     6/4/2024            1               X                    X                            X          X             X           X      8                                                              X                               X              X                 X                 X                X
 1143585-01     H.S.     12/7/2023    12/8/2023            2                                                                 X          X                                0                                                 X            X               X               X              X                 X                 X                X
 1143588-02     D.T.     2/12/2024     4/9/2024            1               X                                  X              X                        X           X     15           X                                                  X               X               X              X                 X                 X                X
 1143638-01     M.R.     2/12/2024    7/26/2024            1               X                    X                            X          X                                0                                                              X                                              X                 X                 X                X
 1143701-01     U.R.     1/25/2024    6/22/2024            1               X                                                 X          X             X           X      5     X              X             X              X            X               X               X              X                 X                 X                X
 1143721-01     S.A.     2/20/2024     5/3/2024            1               X                                                 X          X                         X      5     X     X        X             X              X            X               X               X              X                 X                 X                X
 1143732-02     J.R.     1/22/2024    4/25/2024            1               X                    X                            X          X             X           X     21     X              X                            X            X               X               X              X                 X                 X                X
 1143770-01     S.O.      2/7/2024    8/14/2024            1               X                                  X              X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1143786-07     V.M.      2/6/2024     4/6/2024            4               X                    X             X              X          X             X           X     28     X     X        X             X              X            X               X               X              X                 X                 X                X
 1143902-02     K.C.     2/27/2024    5/14/2024            1               X                    X                            X          X             X           X      4     X              X             X              X            X                               X              X                 X                 X                X
 1143967-01     D.J.     2/24/2024    5/22/2024            1               X                    X             X              X          X             X           X     28     X     X        X                            X            X               X               X              X                 X                 X                X
 1143987-01     J.R.      2/4/2024    4/17/2024            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1143997-02     O.S.     2/21/2024     5/3/2024            3               X                    X                            X          X             X           X      2                                                              X               X               X              X                 X                 X                X
 1143999-01     I.K.     2/24/2024    5/12/2024            1               X                                                 X          X                         X      2     X                            X                           X                               X              X                 X                 X                X
 1144009-04     C.I.      2/1/2024     4/9/2024            1               X                                                 X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1144011-01     M.M.     2/16/2024    6/19/2024            1               X                    X             X              X          X             X           X     19     X     X        X             X              X            X                               X              X                 X                 X                X
 1144123-01     H.S.      2/2/2024    5/24/2024            1               X                                                 X          X             X           X      7                                  X                           X                               X              X                 X                 X                X
 1144128-01     C.Z.     2/22/2024    5/24/2024            2               X                                  X              X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X
 1144156-90     D.W.     2/26/2024    6/22/2024            1               X                    X             X              X                        X           X     27     X     X        X                            X            X                               X              X                 X                 X                X
 1144178-90     D.M.     9/12/2023     2/4/2024            2                                                                                                             0                                                              X               X               X                                X                                  X
 1144226-02     A.B.      2/3/2024    5/17/2024            1               X                    X                            X          X                         X     20     X                                                        X                               X              X                 X                 X                X
 1144229-01     S.B.      2/3/2024    6/20/2024            1               X                                                 X          X             X           X     15                                                              X                               X              X                 X                 X                X
 1144233-01     W.J.     2/17/2024    5/12/2024            1               X                    X             X              X                        X           X      1                                                                              X               X              X                 X                 X                X
 1144250-02     B.M.     2/14/2024     8/7/2024            1               X                    X             X              X          X             X           X      7                                                              X                               X              X                 X                 X                X
 1144291-01     S.G.      2/9/2024    4/15/2024            1               X                    X                            X          X             X           X      4     X     X                                     X            X                               X              X                 X                 X                X
 1144336-01     T.L.     2/19/2024    5/13/2024            1               X                    X             X              X          X             X           X      7                    X                            X            X                               X              X                 X                 X                X
 1144359-02     B.C.     2/11/2024    5/19/2024            2               X                    X                            X          X             X           X     12                                                              X               X               X              X                 X                                  X
 1144359-05     O.R.     2/11/2024    4/30/2024            1               X                                                 X          X             X           X     19     X     X        X                            X            X                               X              X                 X                 X                X
 1144375-01     S.G.     2/27/2024    8/22/2024            1               X                                                 X          X             X           X      1                                  X              X            X                               X              X                 X                 X                X
 1144421-01     A.P.     2/16/2024    4/18/2024            3               X                                  X              X          X                         X     22     X     X                      X              X            X               X               X              X                 X                 X                X
 1144441-01     M.W.     2/26/2024    6/25/2024            1               X                    X                            X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X
 1144478-01     A.S.      3/4/2024     5/3/2024            1               X                    X             X              X          X                         X      6     X     X                                     X            X                               X              X                 X                 X                X
 1144479-02     B.H.     2/28/2024    5/30/2024            1               X                    X                            X          X             X           X      6     X              X                            X            X                               X              X                 X                 X                X
 1144515-01     M.R.      3/9/2024    5/28/2024            1               X                    X                            X          X             X           X     16     X              X             X              X            X               X               X              X                 X                 X                X
 1144549-02     A.V.     2/15/2024    5/15/2024            1               X                                                 X          X             X                  0                                                 X            X                               X              X                 X                 X                X
 1144556-02     C.O.      3/9/2024    5/28/2024            1               X                    X             X              X          X             X           X      3     X              X                            X            X                               X              X                 X                 X                X
 1144608-01     S.Z.     1/16/2024     3/7/2024            1               X                    X             X              X          X                         X      8     X     X        X                            X            X                               X              X                 X                 X                X
 1144711-03     S.S.      3/9/2024    5/23/2024            1               X                                                 X          X             X           X      2           X        X             X              X            X                                              X                 X                 X                X
 1144739-02     S.G.     2/22/2024     5/9/2024            1               X                    X                            X          X                         X     15     X              X                            X            X                               X              X                 X                 X                X

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                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




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                                                                                                                                                                        DME Devices




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                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
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                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1144739-03     F.A.     2/22/2024     5/2/2024            2               X                    X                            X          X             X           X     16     X              X                            X            X                               X              X                 X                 X                X
 1144802-01     E.J.     2/19/2024    6/13/2024            1               X                    X                            X                        X           X      1     X                            X              X            X                               X              X                 X                 X                X
 1144854-04     M.P.     3/18/2024    5/28/2024            1               X                                                 X          X             X           X     17     X     X        X                            X            X                               X              X                 X                 X                X
 1144880-02     H.L.     3/16/2024     5/9/2024            2               X                                                 X          X             X                  0                                  X                           X                               X              X                 X                 X                X
 1144889-03     C.B.      3/3/2024    5/24/2024            2               X                    X                            X          X                         X     17     X              X                            X            X                               X              X                 X                 X                X
 1145082-01     S.G.     3/12/2024     8/4/2024            1               X                    X                            X          X             X           X      7     X              X                            X            X                               X              X                 X                 X                X
 1145204-01     D.M.     1/11/2024    6/27/2024            1               X                    X                            X                        X           X     11     X              X                            X            X                                              X                 X                 X                X
 1145270-01     M.R.      3/6/2024    7/30/2024            1               X                    X                            X          X             X           X     18     X              X             X              X            X                               X              X                 X                 X                X
 1145311-01     K.J.     3/16/2024     7/5/2024            1               X                    X             X              X          X                         X     22     X              X                            X            X                               X              X                 X                 X                X
 1145317-01     D.B.     3/17/2024    5/31/2024            1               X                    X                            X          X             X           X      8     X     X        X                            X            X               X               X              X                 X                 X                X
 1145317-02     R.A.     3/17/2024     5/5/2024            1               X                    X                            X          X                         X      3     X                                           X                                            X              X                 X                 X                X
 1145344-02     J.P.     1/14/2024    5/23/2024            1               X                    X                            X          X             X           X     11     X              X             X              X            X                               X              X                 X                 X                X
 1145357-01     S.V.     3/15/2024    5/23/2024            1               X                    X                            X          X             X           X     14     X     X                      X              X            X               X               X              X                 X                 X                X
 1145357-02     W.N.     3/15/2024    6/16/2024            1               X                    X                            X          X             X           X     16     X     X                      X              X            X                               X              X                 X                 X                X
 1145421-91     D.R.     2/18/2024     6/4/2024            1               X                    X             X              X          X             X           X     13     X                            X                           X               X               X              X                 X                 X                X
 1145525-01     A.M.     3/31/2024    6/11/2024            1               X                                                 X          X                         X     25     X                            X              X            X                               X              X                 X                 X                X
 1145530-01     F.V.     3/19/2024    7/19/2024            1               X                    X                            X          X                         X     20     X              X             X              X            X               X               X              X                 X                 X                X
 1145531-02     M.F.     3/17/2024    5/20/2024            2               X                    X                            X          X                                0                                                              X                               X                                X                                  X
 1145534-02     D.F.     3/20/2024    5/20/2024            3               X                    X             X              X          X             X           X     10     X              X                            X            X                               X              X                 X                 X                X
 1145602-02     B.C.      3/3/2024    5/10/2024            3               X                    X                            X          X             X           X     22     X     X        X             X              X            X                               X              X                 X                 X                X
 1145648-01     J.M.      3/9/2024    6/22/2024            4               X                    X                            X          X             X                  0                                  X                           X               X               X              X                 X                                  X
 1145656-01     S.A.     3/22/2024    7/12/2024            1               X                    X                            X          X             X           X      5           X        X                            X            X                               X              X                 X                 X                X
 1145693-02     M.E.      4/2/2024    6/26/2024            3               X                    X                            X          X                         X     11                                                              X                               X              X                 X                 X                X
 1145699-01     V.T.     3/17/2024    5/15/2024            1               X                    X                            X          X             X           X     14                                                              X                               X              X                 X                 X                X
 1145699-02     O.T.     3/17/2024    5/15/2024            1               X                    X                            X          X             X           X     16                                                              X                               X              X                 X                                  X
 1145705-01     A.M.     2/29/2024     5/9/2024            1               X                                                 X          X                         X      4     X                                                        X                               X                                X                 X                X
 1145722-01     N.J.     3/11/2024    5/31/2024            3               X                    X             X              X          X             X           X     11     X     X        X             X              X            X               X               X              X                 X                 X                X
 1145742-02     T.W.      3/2/2024    5/31/2024            1               X                                  X              X          X                         X     21     X     X        X             X              X            X                               X              X                 X                 X                X
 1145770-01     J.A.     3/30/2024    5/24/2024            1               X                    X                            X          X             X           X     12                                                              X                               X              X                 X                 X                X
 1145819-01     P.B.     3/14/2024    4/24/2024            1                                                                 X          X                                0                                                              X                               X                                X                 X                X
 1145826-01     V.D.     3/26/2024    7/13/2024            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
 1145841-01     J.P.     3/14/2024     5/9/2024            1               X                    X                            X          X             X           X      1                                                              X                               X              X                 X                                  X
 1145850-01     L.K.      4/2/2024    6/17/2024            1               X                    X             X              X          X                         X      7           X        X                            X                                            X              X                 X                 X                X
 1145881-01     I.D.     3/15/2024    6/28/2024            1               X                                                 X          X                         X      5     X     X                      X              X                                                                             X                 X
 1145915-03     R.D.     3/27/2024    8/30/2024            1               X                    X                            X          X                         X      3                                  X              X            X                               X              X                 X                 X                X
 1145939-02     S.D.     3/24/2024    7/22/2024            2               X                    X                            X          X             X           X     17     X     X        X                            X            X               X               X              X                 X                 X                X
 1145948-01     A.A.     3/27/2024    5/23/2024            1               X                    X                            X          X                         X      4     X     X                                     X            X               X               X              X                 X                 X                X
 1146022-01     F.Q.     3/20/2024    6/30/2024            2               X                    X                            X          X             X           X     14                                                              X               X               X              X                 X                 X                X
 1146038-02     C.R.      4/7/2024    7/26/2024            2               X                                  X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1146047-01     K.B.     3/19/2024    5/23/2024            3               X                    X                            X          X             X           X     17     X              X             X              X            X               X               X              X                 X                 X                X
 1146109-01     A.J.     3/28/2024    7/28/2024            1               X                    X                            X          X                                0                                                              X                               X              X                 X                 X                X
 1146166-01     R.S.     3/25/2024    8/16/2024            1               X                    X                            X          X                         X     13     X     X                      X              X            X               X                              X                 X                 X                X
 1146265-06     A.M.      4/6/2024     8/2/2024            1               X                    X                            X          X                         X      5     X                            X              X            X                               X              X                 X                 X                X
 1146319-04     M.H.     3/31/2024     7/9/2024            1               X                                                 X          X             X           X     11     X              X                            X            X                               X              X                 X                 X

                                                                                                                                                126 of 133                                                                                                                                                                            Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




                                                                                                                                                                                           CPM Devices
                                                                                                           Acupuncture




                                                                                                                                                                        Compression
                                                                                            Chiropractic




                                                                                                                                                                                                                       Arthroscopy
                                                                                                                                                   EDx Testing




                                                                                                                                                                                                         Lab Testing
                                                                                                                                                                          Prescribed




                                                                                                                                                                                                                                                                     Anesthesia
                                                                                                                         Diagnostic




                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



 1146342-01     D.A.     3/10/2024    5/22/2024            1               X                                                 X          X                         X      6                                                              X                               X              X                 X                 X                X
 1146347-01     M.G.     3/25/2024     7/1/2024            1               X                    X                            X          X             X           X     20     X     X                      X              X            X                                              X                 X                 X                X
 1146377-01     S.M.      4/9/2024    6/18/2024            1               X                    X                            X          X             X           X      4     X              X             X              X            X                               X              X                 X                 X
 1146383-01     M.V.     3/22/2024    5/10/2024            2               X                    X                            X          X                         X     27     X     X        X                            X            X                               X              X                 X                 X                X
 1146387-02     S.P.     4/16/2024    8/20/2024            1               X                    X                            X          X                         X     12     X              X                            X            X                               X              X                 X                 X                X
 1146392-01     J.H.      4/6/2024    6/26/2024            1               X                                  X              X          X             X                  0                                                              X                               X              X                 X                                  X
 1146401-02     T.B.      4/3/2024    6/13/2024            1               X                    X                            X          X             X           X     10     X              X                            X                                            X              X                 X                 X                X
 1146440-01     E.D.     3/29/2024    7/27/2024            1               X                    X                            X          X             X           X     23     X     X        X                            X            X                               X              X                 X                 X                X
 1146454-02     S.M.     3/31/2024     6/5/2024            1               X                    X                            X          X                         X     19     X                            X                           X               X               X              X                 X                 X                X
 1146454-03     T.M.     3/31/2024    6/29/2024            1               X                    X                            X          X             X           X     21     X     X                      X              X            X                               X              X                 X                 X                X
 1146464-01     M.M.      4/8/2024     8/7/2024            2               X                                                 X          X             X                  0                                                              X               X               X              X                 X                 X                X
 1146466-01     J.A.     1/22/2024    4/13/2024            1               X                                                 X          X             X           X      2     X              X             X              X            X                               X              X                 X                 X                X
 1146473-03     F.V.     4/11/2024    7/19/2024            1               X                    X             X              X          X             X           X     13                                                              X                               X              X                 X                                  X
 1146476-01     A.P.      4/1/2024    5/24/2024            1               X                    X                            X                        X           X     14     X              X             X              X            X                               X              X                 X                 X                X
 1146515-04     A.O.     4/10/2024    6/22/2024            7               X                    X                            X          X             X           X      6     X     X        X             X              X            X               X               X              X                 X                 X                X
 1146639-05     L.C.      4/7/2024    6/27/2024            1               X                                                 X          X             X           X      2     X                            X              X            X                               X              X                 X                 X                X
 1146779-01     Y.J.     3/25/2024    5/24/2024            1               X                    X                            X          X             X           X     18     X              X                            X            X                               X              X                 X                 X                X
 1146779-02     S.E.     3/25/2024    5/24/2024            1               X                    X                            X          X             X           X     13     X                                           X            X                               X              X                 X                 X                X
 1146783-01     D.I.      4/8/2024    7/13/2024            1               X                    X                            X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
 1146839-01     E.C.      4/3/2024    5/28/2024            1               X                    X                            X          X             X           X      4     X              X                            X            X                               X              X                 X                 X
 1146849-03     J.O.     4/14/2024    7/19/2024            1               X                    X             X              X          X                         X     21     X                                                        X                               X              X                 X                 X                X
 1146890-01     N.T.     4/20/2024    6/22/2024            2               X                    X                            X          X             X           X     28     X     X        X                            X            X                               X              X                 X                 X                X
 1146915-90     A.R.      4/8/2024    5/23/2024            1               X                    X             X              X          X                         X      5     X     X                                     X            X                               X              X                 X                 X                X
 1146931-03     Z.S.     4/10/2024    7/23/2024            1               X                                                 X          X                         X      4                    X                            X                                            X              X                 X                 X                X
 1146934-01     W.D.     4/16/2024    7/30/2024            2               X                    X                            X          X             X           X     14     X              X                            X            X                               X              X                 X                 X                X
 1146979-02     M.C.     4/14/2024    6/28/2024            1               X                                                 X          X                         X      4     X                            X              X            X                               X              X                 X                 X                X
 1147055-01     S.N.     4/25/2024    6/26/2024            1               X                                                 X          X             X           X      7           X                                                  X                               X              X                 X                 X                X
 1147060-01     E.S.     4/10/2024     8/7/2024            1               X                    X             X              X          X             X           X      9     X                                           X                                            X              X                 X                 X                X
 1147068-01     M.M.     1/29/2024     8/7/2024            1                                                                 X          X                         X      1                                                 X            X                               X              X                 X                 X
 1147249-01     J.S.     4/23/2024    8/30/2024            1               X                                                 X          X                         X      8                                                              X                                              X                 X                 X                X
 1147315-02      J.J.    4/28/2024    6/19/2024            2               X                    X             X              X          X             X           X     24     X     X        X                            X            X               X               X              X                 X                 X                X
 1147317-01     F.A.     4/12/2024    6/12/2024            1               X                                                 X          X             X           X     17     X                                           X            X                               X              X                 X                 X                X
 1147379-01     R.G.      4/4/2024    7/27/2024            1               X                    X                            X          X                         X      6     X                                                        X                               X              X                 X                 X                X
 1147380-02     D.W.     4/30/2024    8/23/2024            1               X                                                 X          X             X           X     17     X                                           X            X                               X              X                 X                 X                X
 1147414-01     M.B.     4/11/2024    7/27/2024            1               X                                                 X          X                                0                                                              X                               X              X                 X                                  X
 1147423-02     R.G.      5/3/2024    6/27/2024            3               X                                                 X                        X           X      1     X                            X                           X               X               X              X                 X                 X                X
 1147438-03     L.H.      5/4/2024    7/21/2024            4               X                    X             X              X          X             X           X     21     X              X                                         X               X               X              X                 X                 X                X
 1147438-04     Y.K.      5/4/2024    6/26/2024            2               X                    X             X              X          X             X           X     18     X                                                        X               X               X              X                 X                 X                X
 1147449-02     S.U.     4/20/2024    6/17/2024            3               X                                                 X          X                                0                                                              X               X               X              X                 X                 X                X
 1147502-01     L.T.     4/19/2024    6/14/2024            2               X                    X             X              X          X             X           X     23     X                                                        X               X               X              X                 X                 X                X
 1147512-02     A.O.     4/15/2024    7/27/2024            1               X                    X                            X          X             X           X     17     X     X                      X              X            X                               X              X                 X                 X
 1147602-01     J.D.     4/15/2024    8/19/2024            1               X                    X                            X          X             X           X     16     X     X                                     X            X                               X              X                 X                 X                X
 1147667-02     D.V.     4/19/2024    5/25/2024            1               X                    X                            X          X             X           X     23     X     X        X                            X            X                               X              X                 X                 X                X
 1147719-03     T.K.     4/30/2024    6/23/2024            1               X                    X                            X          X             X           X     15     X              X                            X            X                               X              X                 X                 X                X

                                                                                                                                                127 of 133                                                                                                                                                                            Exhibit 1
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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
                                                                                                                                                                                                                                                                                                     Dx Back Problem
                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
                                                                                                                                                                                                                                                                                                                       Joint Problem
                                                                                                                                                                         DME Devices




                                                                                                                                                                                            CPM Devices
                                                                                                            Acupuncture




                                                                                                                                                                         Compression
                                                                                             Chiropractic




                                                                                                                                                                                                                        Arthroscopy
                                                                                                                                                    EDx Testing




                                                                                                                                                                                                          Lab Testing
                                                                                                                                                                           Prescribed




                                                                                                                                                                                                                                                                      Anesthesia
                                                                                                                          Diagnostic




                                                                                                                                                                                                                                      Injections
                                                                                                                                       Any MRI




                                                                                                                                                                            Orthosis
                                                                                                                           Imaging




                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



 1147728-02     C.C.      4/26/2024    7/14/2024            2               X                                                 X          X                         X     15     X                                                        X               X               X              X                 X                 X                X
 1147733-02     J.M.       4/8/2024     8/2/2024            1               X                    X                            X          X             X           X      7     X                            X                           X               X               X              X                 X                 X                X
 1147847-01     M.H.       4/9/2024     8/8/2024            1                                                                 X          X                                0                                                              X                               X              X                 X                 X                X
 1147863-02     R.M.       5/6/2024    7/29/2024            1               X                    X                            X          X             X           X     15     X     X                                     X            X                               X              X                 X                 X                X
 1147905-01     S.H.      4/27/2024    7/22/2024            1               X                    X                            X          X             X           X     11     X                            X                           X                               X              X                 X                 X                X
 1147912-02     C.S.      4/18/2024    6/28/2024            1               X                                                 X          X             X           X      7     X              X                            X                                            X              X                 X                 X                X
 1147992-02     T.D.      4/17/2024     8/2/2024            1               X                                                 X          X             X           X     18     X                                                        X                               X              X                 X                 X                X
 1148043-01     A.D.       5/6/2024    8/11/2024            1               X                                  X              X          X                         X     17     X     X                                                  X               X               X              X                 X                 X                X
 1148102-01     G.F.       5/1/2024    7/25/2024            1               X                                                 X          X                         X      2                                                              X                               X              X                 X                 X                X
 1148256-04     J.M.      5/12/2024     8/7/2024            1               X                    X             X              X          X             X           X     14     X              X                            X            X                               X              X                 X                 X                X
 1148466-02     R.W.      5/18/2024    7/30/2024            1               X                    X                            X          X             X           X     16     X     X        X                            X            X                               X              X                 X                 X                X
 1148507-05     C.R.       5/7/2024    7/22/2024            1               X                                                 X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1148528-01     L.R.      4/21/2024    6/14/2024            1               X                    X                            X          X                         X      3     X                                           X            X                               X              X                 X                 X                X
 1148592-01     T.U.      5/20/2024    7/28/2024            1               X                    X                            X          X             X           X      2     X                                           X            X                               X              X                 X                 X                X
 1148665-01     T.B.      5/17/2024    8/18/2024            1               X                    X                            X          X             X           X      3     X                                           X            X                               X              X                 X                 X                X
 1148665-02     V.K.      5/17/2024    8/18/2024            1               X                    X                            X          X             X           X      2     X                                           X            X                               X              X                 X                 X                X
 1148675-05     A.C.      5/19/2024    7/31/2024            1               X                    X                            X                        X           X     15     X              X             X              X            X                               X              X                 X                 X                X
 1148788-01     A.R.       5/8/2024    7/28/2024            2               X                                                 X          X             X           X     13     X                                           X            X                               X              X                 X                 X                X
 1148798-01     A.R.      4/11/2024    8/23/2024            1               X                    X                            X          X                                0                                                              X                                              X                 X                 X                X
 1148862-01     R.R.      5/15/2024    7/16/2024            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X
 1148952-01     B.M.       5/1/2024     7/5/2024            1               X                    X                            X          X             X           X     18     X              X                            X            X                               X              X                 X                 X                X
 1149101-01     S.S.       5/5/2024     7/2/2024            1               X                    X                            X          X                         X      9     X              X                            X            X                               X              X                 X                 X
 1149125-02     Y.B.      5/12/2024    6/29/2024            2               X                    X                            X          X                         X      9                                                              X               X               X              X                 X                 X                X
 1149170-01     S.C.       6/1/2024    8/28/2024            1               X                    X                            X          X             X           X      1     X                                           X            X                               X              X                 X                 X                X
 1149170-03     M.C.       6/1/2024    8/28/2024            1               X                    X                            X          X                         X      1     X                                           X            X                               X              X                 X                 X                X
 1149485-01     V.F.      5/26/2024    8/23/2024            1               X                    X                            X          X                         X      3                                                              X                                              X                 X                 X                X
 1149489-01     M.C.      5/10/2024    8/18/2024            2               X                                                 X          X             X           X      1                                                              X                               X              X                 X                 X                X
 1149506-02     C.R.      5/16/2024    8/28/2024            1               X                    X             X              X          X             X           X      3                                  X              X            X                               X              X                 X                 X                X
 1149530-02     A.S.      5/24/2024    7/29/2024            1               X                    X                            X                        X           X      7     X              X             X              X            X                               X              X                 X                 X                X
 1149704-02     T.B.      5/31/2024     8/1/2024            1               X                                                 X          X                         X     17     X              X                            X            X               X               X              X                 X                 X                X
 1149796-03     J.G.      5/19/2024    8/17/2024            1               X                    X                            X                                    X      7     X                            X                           X                               X              X                 X                 X                X
 1149877-01     C.V.      5/22/2024     8/9/2024            1               X                                                 X          X             X           X      8     X     X        X                            X                                            X              X                 X                 X                X
 1149982-01     R.V.      5/21/2024    7/21/2024            1               X                    X                            X          X                         X     10                                                              X               X               X              X                 X                 X                X
 1150084-01     S.F.       6/9/2024    8/23/2024            1               X                    X                            X                                    X      4     X                                           X            X                                              X                 X                 X                X
 1150240-01     H.M.       6/2/2024    8/23/2024            1               X                                                 X          X                         X      8                                                              X                                              X                                                    X
 1150244-01     O.M.      6/20/2024    8/14/2024            1                                                                 X                        X                  0                                                              X                               X              X                 X                                  X
 1150285-01     M.R.      6/23/2024    8/27/2024            1               X                                                 X          X             X           X     14     X     X                                     X            X                               X              X                 X                 X                X
 1150443-01     K.H.       6/2/2024    8/22/2024            1               X                    X                            X          X             X           X      2     X                                           X            X                               X              X                 X                 X                X
 1152163-02     B.A.      6/29/2024    8/17/2024            1               X                    X                            X          X                                0                                                              X                                              X                 X                 X                X
  654975-08     H.E.      8/14/2013     4/8/2014            1               X                    X             X              X          X             X           X      6                                  X              X            X                               X              X                 X                 X
  660336-06     U.B.      5/11/2015     7/9/2018            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X
  661350-04     G.O.      7/18/2015   11/13/2015            1               X                    X             X              X          X             X           X     11     X              X                            X                                            X              X                 X                 X                X
  664142-04     M.A.     12/26/2015    3/18/2019            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
  664665-02     E.B.      1/22/2016    8/29/2016            1               X                    X             X              X          X             X           X      6           X                                     X                                            X              X                 X                 X                X

                                                                                                                                                 128 of 133                                                                                                                                                                            Exhibit 1
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                                                                                                                        1578
                                                                   American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                   Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                        Dx Radiculopathy
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                                                                                                                                                                                                                                                                                   Dx Neck Problem
                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




                                                                                                                                                                                                                                                                                                                       Dx Extremity/
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                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



  665803-02     S.S.      2/22/2016    5/31/2019            1               X                    X             X              X          X             X           X      2     X     X                                     X            X               X               X              X                 X                 X                X
  667669-03     J.T.      5/19/2016    7/15/2016            4               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
  668444-05     E.F.      6/27/2016    8/13/2016            4               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
  668893-02     A.W.       7/7/2016   10/16/2020            1               X                                                 X          X             X           X      3           X                                                  X               X               X              X                 X                 X                X
  669551-03     J.M.      7/13/2016    2/24/2017            2               X                                                 X          X             X           X      8     X     X        X             X              X            X                               X              X                 X                 X
  669812-04     X.M.      7/28/2016    11/7/2016            2               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
  670408-05      J.J.      9/2/2016   11/16/2017            1               X                                  X              X          X             X           X      5     X              X                            X            X                               X              X                 X                 X                X
  671529-02     J.E.      9/18/2016   10/22/2018            1               X                                                 X          X             X           X      3     X                                           X            X                               X              X                 X                 X                X
  672248-02     A.E.     10/22/2016    3/19/2018            1               X                    X             X              X          X             X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
  672663-02     M.R.      11/2/2016    2/24/2017            3               X                                  X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
  673324-02     M.F.     11/12/2016    9/20/2018            2               X                    X             X              X          X             X                  0                                  X                           X                               X              X                 X                 X                X
  673460-03     S.O.     11/27/2016    12/2/2017            3               X                    X             X              X          X             X           X      4                                  X                           X                               X              X                 X                 X                X
  673644-02     F.R.     11/15/2016    9/25/2018            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
  674160-03     F.A.     12/17/2016     7/2/2019            5               X                                  X              X          X             X           X      2                                                              X                               X              X                 X                 X                X
  674265-02     R.R.       1/3/2017    12/4/2017            1               X                    X             X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
  674892-08     F.T.      1/14/2017    8/27/2017            3               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
  674948-02     A.M.       1/9/2017     8/9/2018            1               X                    X             X              X          X                         X      5     X     X                      X              X            X                               X              X                 X                 X                X
  675012-02     D.W.     12/31/2016     6/9/2017            1               X                    X             X              X          X             X           X      7     X                            X              X            X                               X              X                 X                 X                X
  675045-02     J.B.      1/23/2017   12/14/2017            1               X                    X                            X          X             X           X      1                                  X                           X                               X              X                 X                 X                X
  675572-03     J.A.      2/10/2017    6/20/2017            1               X                    X                            X          X             X           X      5                    X             X              X            X               X               X              X                 X                 X                X
  675934-02     J.G.      2/10/2017    3/23/2018            1               X                    X             X              X          X                         X      8     X     X        X                            X                                            X              X                 X                 X                X
  676048-05     E.P.      2/13/2017    5/15/2017            2               X                                                 X                        X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
  676147-02      I.P.     2/26/2017    2/12/2019            2               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
  676214-02     L.A.      2/23/2017    5/31/2018            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
  676324-02     H.K.       2/8/2017    12/3/2016            2               X                    X             X              X          X             X           X     11     X                            X                                           X               X              X                 X                 X                X
  676490-02     C.F.       3/1/2017    2/20/2018            1               X                    X             X              X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
  676511-02     G.C.      2/17/2017     6/1/2018            1               X                                  X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X
  676936-04     I.G.      3/17/2017    10/6/2017            6               X                    X             X              X          X             X           X     11           X        X             X              X            X                               X              X                 X                 X                X
  677029-02     B.P.      3/17/2017    7/27/2017            2               X                    X             X              X          X             X                  0                                  X              X            X               X               X              X                 X                 X                X
  677236-02     J.D.      3/15/2017    3/15/2018            1               X                    X             X              X          X             X           X     12     X     X        X             X              X            X                               X              X                 X                 X                X
  677253-04     L.G.      3/29/2017   10/23/2018            1               X                    X                            X          X             X           X      3     X     X                      X                           X               X               X              X                 X                 X                X
  677300-02     L.R.       4/1/2017   12/12/2017            1               X                    X             X              X          X             X           X      1           X                      X              X            X                               X              X                 X                 X                X
  677504-02     S.S.       4/2/2017    4/17/2019            1               X                    X                            X          X             X           X     10     X     X        X             X              X            X                                              X                 X                 X                X
  677630-02     S.D.      3/29/2017     3/5/2018            1               X                    X             X              X          X             X           X      7     X     X        X             X              X            X               X               X              X                 X                 X                X
  677636-04     S.L.       4/2/2017    5/10/2018            1               X                    X             X              X          X                                0                                                              X                               X              X                 X                 X                X
  677746-02     G.M.       4/6/2017     1/5/2018            1               X                                                 X          X                         X      5     X     X        X             X                           X                               X              X                 X                 X                X
  677746-05     B.Q.       4/6/2017   12/22/2017            1               X                                                 X          X             X           X      8           X        X             X              X            X                               X              X                 X                 X                X
  677787-02     K.P.       4/9/2017     1/5/2018            1               X                    X             X              X          X             X           X      1           X                                     X            X                               X              X                 X                 X                X
  677826-02     F.V.       4/2/2017    3/12/2022            1               X                                  X              X          X                         X      7           X        X                            X            X                               X              X                                   X
  678580-03     U.F.       5/8/2017   11/30/2017            3               X                    X             X              X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X
  678580-05     L.V.       5/8/2017    12/6/2017            4               X                    X             X              X          X             X           X      8     X     X        X                            X            X                               X              X                 X                 X                X
  678609-03     D.T.       5/7/2017    1/27/2018            2               X                    X                            X          X             X           X      1                                                              X                               X              X                 X                 X                X
  678689-02     D.R.      5/12/2017   12/14/2018            1               X                    X             X              X                                    X      9     X     X        X                            X            X                               X              X                 X                 X                X
  678749-03     L.C.      4/10/2017    9/27/2017            3               X                                                 X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X

                                                                                                                                                 129 of 133                                                                                                                                                                            Exhibit 1
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                                                                  American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                  Fraudulent Treatment Protocol
                                                                                         Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                  Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                       Dx Radiculopathy
                                                                                                                                                                                                                                                                                                    Dx Back Problem
                                                                                                                                                                                                                                                                                  Dx Neck Problem
                                                                      Physical Therapy




                                                                                                                                                                       Extremity / Joint
                                                     Visits to ASCs




                                                                                                                                                                                                                                                                                                                      Dx Extremity/
                                                                                                                                                                                                                                                                                                                      Joint Problem
                                                                                                                                                                        DME Devices




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                                                                                                                                                                                                                                                                     Anesthesia
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                                                                                                                                                                                                                                     Injections
                                                                                                                                      Any MRI




                                                                                                                                                                           Orthosis
                                                                                                                          Imaging




                                                                                                                                                                           Devices
                                                                                                                                                                 DME
               Covered   Date of     Initial Visit
Claim Number
               Person     Loss         to ASC



  678833-02     J.G.     5/12/2017    10/2/2018            1               X                                                 X          X                         X      9     X     X        X             X              X                                            X              X                 X                 X
  678850-02     O.M.      5/5/2017    5/15/2017            4               X                    X             X              X          X             X           X      4                    X             X              X            X                               X              X                 X                 X                X
  678929-03     C.W.     4/25/2017     9/7/2017            1               X                    X             X              X          X             X           X      1                                                                                              X              X                 X                                  X
  679012-03     L.B.      5/4/2017    1/26/2018            1               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
  679022-04     R.Q.     5/21/2017    9/30/2017            7               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
  679043-07     C.L.     5/14/2017     3/2/2018            1               X                    X             X              X          X                         X     17     X     X        X             X              X            X                               X              X                 X                 X                X
  679051-02     J.M.      5/1/2017    7/18/2017            1               X                                                 X          X                         X      5           X        X             X              X            X                               X              X                                   X                X
  679056-10     C.F.      5/9/2017     7/2/2018            2               X                                  X              X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X                X
  679113-02     N.C.      5/7/2017   12/11/2017            2               X                                  X              X          X             X           X      8     X              X             X              X            X                               X              X                 X                 X                X
  679168-05     S.A.     5/16/2017    10/2/2017            2               X                                                 X          X                         X      8           X        X             X              X            X                               X                                                  X
  679216-05     C.M.     5/21/2017    1/30/2018            2               X                    X             X              X          X                         X      9     X              X             X              X            X                               X              X                 X                 X                X
  679262-02     B.T.     5/17/2017   12/14/2017            1               X                    X             X              X          X             X           X      6           X        X                            X            X                               X              X                 X                 X                X
  679284-02     K.M.     5/22/2017   11/16/2017            1               X                    X             X              X          X                         X      3     X     X                      X              X            X                               X              X                 X                 X                X
  679384-03     J.L.     5/13/2017    7/13/2017            1               X                                  X              X          X             X           X     13     X                                                                                        X              X                 X                 X                X
  679425-03     R.L.     5/11/2017    1/27/2018            2               X                    X                            X          X             X           X      5           X        X                            X            X                               X              X                 X                 X                X
  679439-03     K.P.     5/17/2017    1/29/2019            1               X                    X             X              X          X             X           X      8     X     X                      X              X            X                               X              X                 X                 X                X
  679490-02     T.S.     5/25/2017   11/11/2017            3               X                    X             X              X          X             X           X     12                                                 X            X                               X              X                 X                 X                X
  679601-03     W.U.      5/9/2017    4/20/2018            1               X                    X             X              X                        X           X     10                    X                            X            X                               X              X                 X                 X                X
  679722-02     C.M.      6/6/2017    4/19/2018            2               X                    X                            X          X                         X      1                                  X                           X                               X              X                 X                 X                X
  679753-04     C.J.      6/4/2017     8/8/2017            1               X                    X             X              X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X
  679811-02     M.S.      6/5/2017    3/26/2018            1               X                    X             X              X          X             X           X     14           X        X             X              X            X                               X              X                 X                 X                X
  679821-03     T.V.     5/30/2017    2/19/2018            1               X                    X             X              X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X                X
  679862-03     A.H.      6/2/2017     2/1/2018            3               X                    X             X              X          X             X           X      8     X              X             X              X            X                               X              X                 X                 X                X
  679995-02     D.U.     5/19/2017   12/23/2017            3               X                    X             X              X          X             X           X      3     X              X             X              X            X                               X              X                 X                 X                X
  680010-03     K.S.      6/8/2017   11/15/2017            1               X                    X             X              X          X             X           X      9                                                              X                               X              X                 X                 X                X
  680044-04     J.R.      6/9/2017    3/16/2018            1               X                                                 X          X             X           X      5     X              X             X              X            X                               X              X                 X                 X                X
  680086-08     J.H.     6/11/2017     7/3/2018            1               X                    X             X              X          X                         X      3           X                                     X            X                               X              X                 X                 X                X
  680098-02     P.S.     5/22/2017   12/18/2017            1               X                                                 X          X                         X      6     X     X        X             X              X                                            X              X                 X                 X
  680188-02     R.S.     5/13/2017     4/5/2018            1               X                    X                            X          X                         X      8           X        X             X              X                                            X              X                 X                 X                X
  680294-06     J.M.     5/28/2017   11/19/2017            1               X                    X             X              X          X             X           X      2                    X             X              X            X                               X              X                 X                 X                X
  680401-04     D.G.     6/16/2017   11/28/2017            3               X                    X             X              X          X             X           X     14     X                                                                                        X              X                 X                 X                X
  680527-02     M.M.     6/24/2017    4/16/2018            2                                                                 X          X                         X      1           X                      X                           X               X               X              X                 X                                  X
  680543-02     M.D.     6/10/2017    7/10/2018            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
  680617-02     K.A.     6/10/2017    12/8/2017            1               X                                                 X          X                         X      5     X     X        X             X              X            X                               X                                                  X
  680620-07     L.K.     6/27/2017     5/1/2023            1               X                    X             X              X          X             X           X      3                                  X              X            X                               X              X                 X                 X                X
  680801-04     R.H.     6/21/2017     2/3/2018            1               X                    X             X              X          X             X           X      3                                                              X               X               X              X                 X                 X                X
  680812-03     G.S.     6/28/2017    5/15/2018            1               X                    X             X              X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X                X
  768803-02     A.F.     9/22/2012     7/1/2013            1               X                    X             X              X          X             X                  0                                                 X            X                                              X                 X                 X
  771350-03     J.G.     3/16/2013   10/11/2014            1               X                    X             X              X          X             X           X      5     X              X             X              X            X               X               X              X                 X                 X
  778120-05     L.H.     8/31/2014    12/5/2014            1               X                    X             X              X          X             X           X     23     X     X        X             X              X            X                               X              X                 X                 X                X
  780655-02     C.S.     2/11/2015    5/24/2017            1               X                                  X              X          X             X           X      2                                                 X            X                               X              X                 X                 X                X
  781838-02     F.C.     4/28/2015     4/6/2017            1               X                    X             X              X          X                         X      5           X        X             X              X            X                               X              X                 X                 X                X
  781907-05     L.H.     4/29/2015    6/25/2015            1               X                    X             X              X          X             X           X      5                                                                                              X              X                 X                 X
  782927-03     R.S.     6/28/2015     7/1/2016            1               X                                                 X          X             X           X      1                                  X              X            X                               X              X                 X                 X                X

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                                                                                   Fraudulent Treatment Protocol
                                                                                          Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




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                                                                       Physical Therapy




                                                                                                                                                                        Extremity / Joint
                                                      Visits to ASCs




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                                                                                                                                       Any MRI




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                                                                                                                                                                            Devices
                                                                                                                                                                  DME
               Covered    Date of     Initial Visit
Claim Number
               Person      Loss         to ASC



  783575-03     A.R.       8/5/2015    4/16/2018            2               X                    X             X              X          X             X           X      1     X                            X                           X                               X              X                 X                 X                X
  784110-02     D.H.      8/31/2015    7/12/2016            1                                                                 X          X                                0                                                 X            X                                              X                 X                 X
  784137-02     L.P.      8/31/2015   12/22/2015            1               X                                  X              X          X                         X      7                    X             X              X            X                               X              X                 X                 X                X
  784575-02     J.H.      9/27/2015    3/12/2018            1               X                    X             X              X                        X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
  786497-03     J.R.     12/18/2015     4/6/2016            2               X                    X             X              X          X             X           X     13                                  X                                                           X              X                 X                 X                X
  786629-04     D.P.     12/13/2015    7/18/2016            1               X                    X                            X          X             X           X      3                    X             X              X            X                               X              X                 X                 X                X
  786725-03     M.S.      1/25/2016   11/21/2016            1               X                                                 X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X                X
  787554-03     M.C.       3/8/2016    1/13/2017            1               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
  787653-11     M.V.       3/6/2016    4/18/2018            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
  787772-02     A.A.       3/8/2016    7/30/2018            1               X                    X             X              X          X             X           X      1                                                              X                               X              X                 X                                  X
  788034-03     J.D.      3/25/2016    4/17/2018            1               X                    X             X              X          X                         X      6           X        X             X              X            X                               X              X                 X                 X                X
  788466-06     L.G.      4/16/2016    6/14/2016            1               X                    X             X              X          X             X           X     17     X     X        X             X              X            X                               X              X                 X                 X                X
  788536-03     A.R.      4/12/2016    7/14/2016            1               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
  789028-03     D.T.      5/19/2016     3/9/2017            1               X                                  X              X          X             X                  0                                                 X            X                               X              X                 X                 X                X
  789265-03     A.D.       6/1/2016    8/20/2019            1               X                    X             X              X          X             X           X     11           X        X             X              X            X                               X              X                 X                 X                X
  789309-06     Y.R.       6/1/2016    5/15/2018            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
  789747-03     N.G.       6/1/2016   10/26/2019            1               X                    X             X              X          X             X           X      7                                  X                           X                               X              X                 X                 X                X
  789785-02     E.H.      6/28/2016    8/22/2018            1               X                    X             X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
  789946-05     D.W.      7/12/2016    11/8/2016            1               X                    X             X              X          X             X           X      8           X        X             X              X                                            X              X                 X                 X                X
  790091-02     H.C.       7/9/2016    3/24/2018            1               X                    X                            X          X             X           X      3                                  X                           X                               X              X                 X                 X                X
  790754-02     S.F.      8/17/2016    2/25/2017            2               X                    X             X              X          X             X           X     18     X     X        X             X              X            X                               X              X                 X                 X                X
  791221-02     M.M.       9/5/2016    7/20/2018            2               X                    X             X              X          X                         X      2           X                      X              X            X                               X              X                 X                 X                X
  791340-03     K.S.      8/31/2016     2/5/2018            1               X                    X             X              X          X             X           X     12     X     X        X                            X            X                               X              X                 X                 X                X
  791494-02     K.A.      9/29/2016    1/19/2017            4               X                                  X              X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
  791695-02     K.A.      10/5/2016   12/10/2016            1               X                    X             X              X          X             X           X     13                    X             X              X            X                               X              X                 X                 X                X
  791695-04     E.E.      10/5/2016   12/10/2016            1               X                    X             X              X          X             X           X      8                                                              X                               X              X                 X                 X                X
  791792-03     A.A.      10/4/2016    4/18/2019            1               X                                                 X          X                         X      7           X        X             X              X            X                               X              X                 X                 X                X
  792000-02     N.T.     10/11/2016     1/6/2018            1               X                    X             X              X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
  792362-06     J.R.      11/6/2016    2/19/2018            1               X                    X             X              X          X                         X      4           X                      X              X            X                               X              X                 X                 X                X
  792425-04     J.P.      10/9/2016     4/7/2018            3               X                    X             X              X          X             X           X      1                                                              X                               X              X                 X                 X                X
  792584-02     J.M.     10/24/2016    3/14/2018            1               X                    X                            X          X             X           X      7           X        X             X              X            X                               X              X                 X                 X                X
  792724-05     B.B.     10/26/2016    11/7/2017            2               X                    X             X              X          X             X           X      6                                                              X                               X              X                 X                 X                X
  792782-03     P.T.     10/29/2016    3/18/2017            1               X                    X             X              X          X             X                  0                                                              X                               X              X                 X                 X                X
  793325-02     S.S.      12/2/2016   12/14/2017            1               X                    X             X              X          X                         X      3           X                      X              X            X                               X              X                 X                 X                X
  793503-03     K.K.     11/29/2016    1/12/2018            1               X                    X             X              X          X                         X     11           X        X             X              X            X                               X              X                 X                 X                X
  794074-02     T.E.       1/3/2017   12/18/2018            1               X                                                 X          X                         X      6     X     X        X             X              X            X                               X              X                 X                 X                X
  794079-02     J.V.       1/6/2017     6/3/2017            4               X                    X             X              X          X             X           X      2                    X             X              X            X                               X              X                 X                 X                X
  794089-02     A.R.     12/31/2016    1/13/2018            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
  794449-02     D.H.       2/7/2017     8/7/2017            2               X                                                 X          X             X           X      6     X              X             X              X            X               X               X              X                 X                 X                X
  794568-02     J.M.       2/2/2017    9/10/2019            1               X                    X             X              X          X             X           X      7     X              X             X              X            X               X               X              X                 X                 X                X
  794678-05     F.E.      2/17/2017    9/27/2017            2               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
  794691-03     M.Q.       2/8/2017   10/11/2017            2               X                    X             X              X          X             X           X     11           X        X             X              X            X                               X              X                 X                 X                X
  794738-03     P.C.      2/15/2017    8/12/2017            2               X                    X             X              X          X             X           X      1                                  X                           X               X               X              X                 X                 X                X
  795098-02     M.W.      2/26/2017    4/18/2018            3               X                    X                            X          X             X           X      2                                  X                           X                               X              X                 X                 X                X

                                                                                                                                                 131 of 133                                                                                                                                                                            Exhibit 1
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                                                                                                                            1581
                                                                       American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                       Fraudulent Treatment Protocol
                                                                                              Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                       Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                            Dx Radiculopathy
                                                                                                                                                                                                                                                                                                         Dx Back Problem
                                                                                                                                                                                                                                                                                       Dx Neck Problem
                                                                           Physical Therapy




                                                                                                                                                                            Extremity / Joint
                                                          Visits to ASCs




                                                                                                                                                                                                                                                                                                                           Dx Extremity/
                                                                                                                                                                                                                                                                                                                           Joint Problem
                                                                                                                                                                             DME Devices




                                                                                                                                                                                                CPM Devices
                                                                                                                Acupuncture




                                                                                                                                                                             Compression
                                                                                                 Chiropractic




                                                                                                                                                                                                                            Arthroscopy
                                                                                                                                                        EDx Testing




                                                                                                                                                                                                              Lab Testing
                                                                                                                                                                               Prescribed




                                                                                                                                                                                                                                                                          Anesthesia
                                                                                                                              Diagnostic




                                                                                                                                                                                                                                          Injections
                                                                                                                                           Any MRI




                                                                                                                                                                                Orthosis
                                                                                                                               Imaging




                                                                                                                                                                                Devices
                                                                                                                                                                      DME
                   Covered    Date of     Initial Visit
 Claim Number
                   Person      Loss         to ASC



   795233-02        C.V.      2/28/2017    7/12/2021            2               X                    X             X              X          X             X           X     13           X                      X                           X               X               X              X                 X                 X                X
   795313-03        C.T.      3/17/2017    2/19/2018            2               X                    X             X              X          X             X           X      2           X                      X              X            X                               X              X                 X                 X                X
   795482-03        J.L.      3/20/2017   12/16/2017            1               X                                                 X          X             X           X      5           X        X             X              X            X                                              X                 X                 X                X
   795666-04        J.S.      3/20/2017     4/5/2019            1               X                                                 X          X                         X      9     X     X        X                            X            X                               X              X                 X                 X                X
   795677-02        A.O.       4/8/2017    3/16/2018            1               X                                                 X          X                         X      5           X        X             X              X            X                               X              X                 X                 X
   796047-03        T.R.      4/24/2017    7/15/2017            6               X                    X             X              X          X             X           X      2                                  X                           X                               X              X                 X                 X                X
   796097-04        D.A.       5/4/2017    7/26/2017            1               X                    X             X              X          X             X           X      9     X     X        X                            X            X                               X              X                 X                 X                X
   796178-06        M.S.      5/10/2017     1/3/2019            1               X                                                 X          X             X           X      2     X     X                                     X            X                               X              X                 X                 X                X
   796192-03        S.B.      4/26/2017    1/11/2018            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
   796192-04        M.B.      4/26/2017    9/14/2017            2               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
   796192-05        C.B.      4/26/2017    9/14/2017            2               X                    X             X              X          X                         X      8     X     X        X             X              X            X                               X              X                 X                 X
   796193-04        D.G.       5/9/2017    9/20/2017            2               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X
   796347-02        S.R.       5/6/2017    1/12/2018            1               X                    X             X              X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X                X
   796364-02        F.M.      5/18/2017   11/27/2017            1               X                                                 X          X             X           X     10           X        X             X              X            X                               X              X                 X                 X                X
   796367-03        A.C.      5/10/2017   11/22/2017            1               X                    X             X              X          X             X           X      5           X        X             X              X            X                               X              X                 X                 X                X
   796369-03        S.M.      5/13/2017   12/14/2017            5               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
   796393-03        C.O.      5/19/2017    7/24/2018            1               X                                                 X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
   796571-02        M.B.      5/14/2017    2/15/2018            2               X                    X             X              X          X             X           X     10     X     X        X             X              X            X               X               X              X                 X                 X                X
   796628-02        S.M.       6/7/2017    3/26/2018            3               X                                  X              X          X                         X      1                                                              X                               X              X                 X                                  X
   796716-03        J.H.      5/22/2017   11/22/2017            1               X                    X             X              X          X             X           X      6           X        X             X              X            X                               X              X                 X                 X                X
   796719-03        A.T.       6/1/2017   12/30/2022            1               X                    X             X              X          X             X           X     12                                  X                           X               X               X              X                 X                 X                X
   796738-05        A.S.       6/8/2017     3/5/2018            1               X                    X             X              X          X             X           X     10     X     X        X                            X            X                               X              X                 X                 X                X
   796812-09        A.O.       6/7/2017     4/4/2018            1               X                    X                            X          X             X           X      2                                  X                           X               X               X              X                 X                 X                X
   796864-03        J.D.      6/19/2017    4/26/2018            1               X                    X                            X          X             X                  0                                                              X                               X              X                 X                 X                X
   912258-02        Y.S.     12/23/2015    7/10/2020            2               X                                                 X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
   912355-02        T.K.     12/23/2015     3/1/2016            2               X                    X             X              X          X             X           X      9     X     X        X             X              X            X               X               X              X                 X                 X                X
   915701-06        J.C.       7/6/2016    10/5/2022            1               X                    X                            X          X             X                  0                                  X                           X                               X              X                 X                 X                X
   916877-02        M.K.      8/11/2016    1/24/2017            3               X                    X             X              X          X             X           X      6     X     X        X                            X            X                               X              X                 X                 X                X
   919623-02        S.T.      1/25/2017   12/19/2017            2               X                                  X              X          X             X           X     16           X        X             X              X            X                               X              X                 X                 X                X
   919728-02        T.I.      1/21/2017    1/22/2018            1                                                                                                      X      7     X     X        X             X              X            X                               X                                X                 X
   920113-03        R.S.       2/2/2017    1/29/2018            1               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
   920360-11        W.S.      2/24/2017   11/30/2017            2               X                    X                            X          X             X           X     14     X                            X              X            X                               X              X                 X                 X                X
   920834-06        A.N.       3/9/2017    9/12/2017            3               X                    X             X              X          X                         X      5     X     X        X             X              X            X                               X              X                 X                 X                X
   920835-02        B.C.      3/25/2017    3/12/2018            1               X                                  X              X          X                         X      1           X                                     X            X                               X              X                                   X
   920857-05        M.D.      3/11/2017    12/4/2017            1               X                    X             X              X                        X           X      3                                  X                           X                               X              X                 X                 X                X
   921370-02        R.P.      4/23/2017     9/1/2017            1               X                                                 X                                    X      2           X                      X              X            X                               X                                                  X
   921568-03        S.S.      4/27/2017    12/8/2017            3               X                                  X              X          X             X           X     13     X     X        X             X              X            X                               X              X                 X                 X                X
   922082-03        A.Z.      5/21/2017    8/23/2018            1               X                    X             X              X          X             X           X      5     X     X        X             X              X            X                               X              X                 X                 X                X
   922120-02        S.D.      3/25/2017     8/7/2017            1               X                                                 X          X             X           X      4                    X                            X            X                                              X                 X                 X                X
   922926-02        N.M.      6/27/2017    1/19/2019            3               X                    X                            X          X             X           X      5                                                              X                               X              X                 X                 X                X
FPT17000025-0301    M.M.      4/19/2017    6/30/2017            3               X                    X                            X          X             X           X      7                                                              X                               X              X                 X                 X                X
FPT17000043-0302    L.M.      5/18/2017    1/11/2018            5               X                    X             X              X          X                         X     10     X     X        X             X              X            X                               X              X                 X                 X                X
FPT17000048-0301    H.P.       5/8/2017   12/20/2018            1               X                    X             X              X                        X                  0                                                              X                                              X                 X                 X                X
FPT17000059-0302    T.S.       5/5/2017    1/24/2019            1               X                    X             X              X                        X           X      6     X     X        X                            X            X                               X              X                 X                 X                X

                                                                                                                                                     132 of 133                                                                                                                                                                            Exhibit 1
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                                                                       American Transit Ins. Co. v. All City Family Healthcare, Inc., et al.
                                                                                       Fraudulent Treatment Protocol
                                                                                              Modalities                       Diagnostic Testing                             DME Devices                     Lab Services at Surgicore ASCs                                               Diagnosis (ICD9/10)




                                                                                                                                                                                                                                                       Discectomy/ IDET




                                                                                                                                                                                                                                                                                                                                            Dx Radiculopathy
                                                                                                                                                                                                                                                                                                         Dx Back Problem
                                                                                                                                                                                                                                                                                       Dx Neck Problem
                                                                           Physical Therapy




                                                                                                                                                                            Extremity / Joint
                                                          Visits to ASCs




                                                                                                                                                                                                                                                                                                                           Dx Extremity/
                                                                                                                                                                                                                                                                                                                           Joint Problem
                                                                                                                                                                             DME Devices




                                                                                                                                                                                                CPM Devices
                                                                                                                Acupuncture




                                                                                                                                                                             Compression
                                                                                                 Chiropractic




                                                                                                                                                                                                                            Arthroscopy
                                                                                                                                                        EDx Testing




                                                                                                                                                                                                              Lab Testing
                                                                                                                                                                               Prescribed




                                                                                                                                                                                                                                                                          Anesthesia
                                                                                                                              Diagnostic




                                                                                                                                                                                                                                          Injections
                                                                                                                                           Any MRI




                                                                                                                                                                                Orthosis
                                                                                                                               Imaging




                                                                                                                                                                                Devices
                                                                                                                                                                      DME
                   Covered    Date of     Initial Visit
 Claim Number
                   Person      Loss         to ASC



FPT17000232-0302     I.I.     9/15/2017     1/2/2018            1               X                    X             X              X          X             X           X      6     X     X        X             X              X            X                               X              X                 X                 X                X
FPT17000269-0301    C.G.      8/12/2017     8/7/2018            1               X                    X             X              X                        X                  0                                                              X                               X              X                 X                 X                X
FPT17000275-0301    T.D.      9/27/2017    2/24/2018            2               X                    X             X              X          X             X           X     11     X     X        X             X              X            X                               X              X                 X                 X                X
FPT17000398-0301    E.C.     12/14/2017    7/25/2018            2               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
TNC17000025-0301    J.C.       4/1/2017    6/14/2019            1               X                                  X              X          X             X           X      8           X        X                            X                                            X              X                 X                 X                X
TNC17000064-0301    L.V.      4/24/2017    9/27/2017            1               X                                  X              X          X                         X      7     X     X        X             X              X                                            X              X                 X                 X                X
TNC17000119-0301    N.S.      5/18/2017    6/29/2018            1               X                    X             X              X          X             X           X      4           X        X             X              X            X                               X              X                 X                 X                X
TNC17000141-0302    H.C.      6/26/2017    8/13/2017            2               X                    X             X              X          X             X           X      3                    X                            X            X                               X              X                 X                 X
TNC17000151-0301    O.K.      6/16/2017   10/25/2017            1                                                                 X                                    X      3                                                              X                               X              X                 X                                  X
TNC17000182-0301    D.A.      7/19/2017   11/15/2017            4               X                                                 X          X             X                  0                                                              X                               X              X                 X                 X                X
TNC17000212-0301    A.I.      7/20/2017   11/15/2017            2               X                    X             X              X                                    X      3                                  X                           X               X               X              X                 X                 X                X
TNC17000219-0301    J.R.      7/20/2017   12/28/2017            1               X                    X             X              X                                    X      3                    X                            X            X                               X              X                 X                 X                X
TNC17000232-0302    T.C.      8/14/2017    4/17/2019            2               X                    X                            X          X             X           X      7     X     X        X             X              X            X                               X              X                 X                 X                X
TNC17000232-0304    T.T.      8/14/2017    4/16/2019            2               X                    X                            X          X             X           X     10     X     X        X             X              X            X                               X              X                 X                 X                X
TNC17000245-0301    V.P.      7/22/2017   12/16/2017            3               X                                  X              X          X                         X     14     X                                                        X                               X              X                 X                 X                X
TNC17000284-0301    M.M.      8/28/2017   12/11/2017            3               X                    X             X              X          X             X           X     11                                  X                                                           X              X                 X                 X                X
TNC17000329-0301    W.M.       9/9/2017    1/15/2018            1               X                                                 X          X                                0                                                              X                               X              X                 X                 X                X
TNC17000375-0301    H.G.      10/9/2017    2/28/2018            1               X                    X             X              X                                    X      5           X        X                            X            X                               X              X                 X                 X
TNC17000381-0302    R.A.      10/4/2017   12/18/2017            4               X                    X             X              X                        X           X      4           X        X             X              X            X               X               X              X                 X                 X                X
TNC17000401-0301    L.L.      9/20/2017    4/17/2018            1               X                    X             X              X                        X           X     12                                  X                                           X               X              X                 X                 X                X
TNC17000410-0301    C.P.     10/21/2017     9/1/2018            7               X                                  X              X          X             X           X      6     X     X        X             X              X            X               X               X              X                 X                 X                X
TNC17000411-0301    A.B.     10/15/2017    3/19/2018            1               X                    X             X              X                                    X      4     X                            X                           X               X               X              X                 X                 X                X
TNC17000416-0301    J.C.      10/3/2017     6/9/2018            1               X                    X             X              X          X             X                  0                                  X                           X               X               X              X                 X                 X                X
TNC17000457-0301    P.C.      11/8/2017    1/23/2018            1               X                    X             X              X          X                         X      4                    X             X              X            X                                              X                 X                 X
TNC17000463-0301    R.N.      11/7/2017     3/5/2018            3               X                    X             X              X          X                         X     15     X                            X                           X                               X              X                 X                 X                X
TNC17000533-0302    O.L.      12/7/2017    10/5/2018            1               X                    X             X              X          X             X           X     16     X     X        X             X              X            X                               X              X                 X                 X                X
TNC17000535-0301    D.W.      12/1/2017    1/29/2018            6               X                    X             X              X          X             X           X      3     X     X                      X              X            X                               X              X                 X                 X                X
TNC18000568-0301    A.W.     12/20/2017    4/15/2019            1               X                                                 X          X                         X      7     X              X             X              X            X                               X              X                 X                 X                X
TNC18000582-0303    S.R.     12/22/2017    2/17/2018            5               X                    X             X              X          X             X           X     20     X     X        X             X              X            X               X               X              X                 X                 X                X
TNC18000597-0301    B.C.     12/27/2017    3/16/2018            2               X                    X             X              X          X             X           X      9           X        X             X              X            X                               X              X                 X                 X                X
TNC18000598-0301    E.J.       1/2/2018    4/25/2018            2               X                                                 X          X             X           X      9     X     X        X             X              X            X                               X              X                 X                 X                X
TNC18000599-0301    D.L.     12/29/2017    4/13/2018            1               X                                                 X          X                         X      4     X     X        X             X              X            X                               X                                X                 X
TNC18000620-0301    R.G.     12/30/2017     5/1/2018            1               X                    X             X              X                        X           X      5           X                      X              X                                            X              X                 X                 X                X
TNC18000630-0301    N.W.       1/3/2018    4/17/2018            1               X                    X             X              X          X             X           X     14     X     X        X             X              X            X                               X              X                 X                 X                X




                                                                                                                                                     133 of 133                                                                                                                                                                            Exhibit 1
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                         EXHIBIT “2”
                         EXHIBIT “2”
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                    N EW YO R K S TA TE SE NA T OR

                    James L. Seward


Save on Auto Insurance, Cut 'Fraud Tax'

JAMES L. SEWARD   February 7, 2011

  ISSUE: INSURANCE, INSURANCE FRAUD




ALBANY, 02/08/11 – Fraud Costs New York, a statewide coalition dedicated to curbing the

rampant auto-insurance fraud that costs New Yorkers millions of dollars each year, today

praised State Senator James Seward for introducing legislation that would reduce fraud,

abuse and the associated costs in the New York no-fault system.


New Yorkers now pay the fourth highest premiums in the nation for auto insurance due in

large part to an outdated system that is rife with fraud and abuse. In 2010, no-fault fraud
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cost New Yorkers more than $241 million, a cost absorbed by all drivers in the form of higher

premiums.


“New York’s no-fault auto insurance system is broken and needs to be fixed now,” said Senator

Seward, Chair of the Senate’s Insurance Committee. “My bill would bring fundamental change
by cracking down on criminals who, in essence, impose a ‘fraud tax’ on honest, hard working New
Yorkers by gaming the system. These are tough times for New York, but this is one tax we can all
agree must get cut.”


The proposed bill, which maintains strong protections for individuals involved in car

accidents, aims to reform a system that is not working as cost-effective and efficiently as its

originators intended. The reform measures include:


• Implementing tougher penalties on criminals who cheat the no-fault system;

• Modifying the “30-day rule” in order to allow for more thorough investigations of suspicious

claims;

• Combating excessive and unnecessary medical charges;

• Decertifying medical providers who commit insurance fraud;

• Encouraging fast and fair settlements by requiring medical providers to submit disputed

no-fault claims to an arbitrator.


Kristina Baldwin, assistant vice president for Property Casualty Insurers Association of

America (PCI), said, “Senator Seward once again has demonstrated he is a fighter for families

in every New York community. Senator Seward’s bill would finally close the loopholes that

criminals and unscrupulous medical providers routinely slip through, causing insurance

premiums to sky-rocket and unnecessarily costing New Yorkers hundreds of millions of

dollars annually.”
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                                           1586
Fraud Costs New York is a coalition of consumers, small businesses, elected officials and

insurance trade associations committed to reforming New York State’s no-fault automobile

insurance system and stopping insurance fraud and lawsuit abuses that drive up costs for

consumers.


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                         EXHIBIT “3”
                         EXHIBIT “3”
       Case 1:24-cv-08606-JRC                 Document 1-4 Filed 12/17/24                      Page 141 of 580 PageID #:
                                                          1588
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1149125-02    Y.B.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    6/29/2024   62323      $976.38
1149125-02    Y.B.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…   7/23/2024   22526     $2,605.78
1149125-02    Y.B.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…    7/23/2024   62287     $5,292.93
1146890-01    N.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…    6/22/2024   29821     $5,677.77
1146890-01    N.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…    6/22/2024   29823     $1,472.45
1146890-01    N.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W…    6/22/2024   29825     $1,472.45
1146890-01    N.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…    6/22/2024   29826     $1,472.45
1146890-01    N.T.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    7/23/2024   62323      $976.38
1147502-01    L.T.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    6/14/2024   62323      $976.38
1147502-01    L.T.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    7/19/2024   62321      $976.38
1146515-04    A.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    6/22/2024   62323      $976.38
1146515-04    A.O.               Surgicore of Jersey City LLC          Aspiration Or Decompression Proced…     7/6/2024   62287     $5,292.93
1146515-04    A.O.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or …   7/11/2024   20610      $473.38
1146515-04    A.O.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…    7/11/2024   29875     $1,472.45
1146515-04    A.O.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …   7/11/2024   29881     $3,026.24
1146515-04    A.O.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…     7/11/2024   29999     $1,472.45
1146515-04    A.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    7/19/2024   64493      $447.52
1146515-04    A.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    7/19/2024   64493      $976.38
1146515-04    A.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    7/19/2024   64494      $447.52
1146515-04    A.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    7/19/2024   64495      $447.52
1146515-04    A.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     8/3/2024   64493      $447.52
1146515-04    A.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     8/3/2024   64493      $976.38
1146515-04    A.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     8/3/2024   64494      $447.52
1146515-04    A.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     8/3/2024   64495      $447.52
1146515-04    A.O.               Surgicore of Jersey City LLC           Dstr Nrolytc Agnt Parverteb Fct Sn…   8/17/2024   64635      $979.78
1146515-04    A.O.               Surgicore of Jersey City LLC          Dstr Nrolytc Agnt Parverteb Fct Ad…    8/17/2024   64636      $449.21
1146515-04    A.O.               Surgicore of Jersey City LLC           Dstr Nrolytc Agnt Parverteb Fct Sn…   8/30/2024   64635      $979.78
1146515-04    A.O.               Surgicore of Jersey City LLC          Dstr Nrolytc Agnt Parverteb Fct Ad…    8/30/2024   64636      $449.21
1145534-02    D.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…   5/20/2024   29821     $5,677.77
1145534-02    D.F.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…    5/20/2024   29825     $1,472.45
1145534-02    D.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…   5/20/2024   29826     $1,472.45
1145534-02    D.F.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…   5/20/2024   64415      $979.78
1145534-02    D.F.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…    5/20/2024   76942      $341.96
1145534-02    D.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    7/12/2024   20553      $236.69
1145534-02    D.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    7/12/2024   62323      $976.38
1145534-02    D.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    8/13/2024   62321      $976.38
1146047-01    K.B.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    5/23/2024   62323      $976.38
1146047-01    K.B.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl…   6/16/2024   22526     $2,605.78
1146047-01    K.B.         Bronx SC LLC d/b/a Empire State ASC         Aspiration Or Decompression Proced…    6/16/2024   62287     $5,292.93
1146047-01    K.B.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl…   7/28/2024   22526     $5,292.93
1146047-01    K.B.         Bronx SC LLC d/b/a Empire State ASC         Unlisted Procedure, Nervous System…    7/28/2024   64999      $747.94
1146047-01    K.B.         Bronx SC LLC d/b/a Empire State ASC         Diskography, Cervical Or Thoracic,…    7/28/2024   72285      $962.54
1145722-01    N.J.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    5/31/2024   62323      $976.38
1145722-01    N.J.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl…   7/19/2024   22526     $2,605.78
1145722-01    N.J.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl…   7/19/2024   22527     $2,605.79
1145722-01    N.J.         Bronx SC LLC d/b/a Empire State ASC         Aspiration Or Decompression Proced…    7/19/2024   62287     $5,292.93
1145722-01    N.J.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    8/23/2024   62323      $976.38
1144889-03    C.B.         Bronx SC LLC d/b/a Empire State ASC          Arthrocentesis, Aspiration And/Or …   5/24/2024   20610      $473.39
1144889-03    C.B.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; S…   5/24/2024   29821     $5,677.77
1144889-03    C.B.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; D…   5/24/2024   29823     $1,472.45
1144889-03    C.B.         Bronx SC LLC d/b/a Empire State ASC           Unlisted Procedure, Arthroscopy…     5/24/2024   29999     $1,472.45
1144889-03    C.B.         Bronx SC LLC d/b/a Empire State ASC          Injection, Anesthetic Agent; Brach…   5/24/2024   64415      $979.78
1144889-03    C.B.         Bronx SC LLC d/b/a Empire State ASC         Ultrasonic Guidance For Needle Pla…    5/24/2024   76942      $341.96
1144889-03    C.B.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    6/14/2024   62323      $976.38
1145602-02    B.C.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    5/10/2024   62321      $976.38
1145602-02    B.C.         Bronx SC LLC d/b/a Empire State ASC          Injection, Anesthetic Agent; Brach…   5/12/2024   64415      $979.78
1145602-02    B.C.         Bronx SC LLC d/b/a Empire State ASC         Ultrasonic Guidance For Needle Pla…    5/12/2024   76942      $341.96
1145602-02    B.C.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; S…   5/31/2024   29821     $5,677.77
1145602-02    B.C.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; D…   5/31/2024   29823     $1,472.45
1145602-02    B.C.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; D…   5/31/2024   29826     $1,472.45
1145602-02    B.C.         Bronx SC LLC d/b/a Empire State ASC           Unlisted Procedure, Arthroscopy…     5/31/2024   29999     $1,472.45
1144128-01    C.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    5/24/2024   20553      $236.69
1144128-01    C.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    5/24/2024   62323      $976.38
1144128-01    C.Z.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    6/6/2024   29821     $5,677.77
1144128-01    C.Z.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    6/6/2024   29823     $1,472.45
1144128-01    C.Z.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     6/6/2024   29825     $1,472.45
1144128-01    C.Z.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    6/6/2024   29826     $1,472.45
1144128-01    C.Z.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    6/6/2024   64415      $979.78
                                                                  1 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 142 of 580 PageID #:
                                                           1589
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1144128-01    C.Z.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      6/6/2024   76942      $341.96
1144739-03    F.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…     5/2/2024   29821     $5,677.77
1144739-03    F.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     5/2/2024   29823     $1,472.45
1144739-03    F.A.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…      5/2/2024   29825     $1,472.45
1144739-03    F.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     5/2/2024   29826     $1,472.45
1144739-03    F.A.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…     5/2/2024   64415      $979.78
1144739-03    F.A.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      5/2/2024   76942      $341.96
1144739-03    F.A.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     6/11/2024   62321      $976.38
1144421-01    A.P.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     4/18/2024   62323      $976.38
1144421-01    A.P.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…     5/9/2024   22526     $2,605.78
1144421-01    A.P.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…      5/9/2024   62287     $5,292.93
1144421-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…     6/18/2024   29821     $5,677.77
1144421-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…     6/18/2024   29823     $1,472.45
1144421-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W…     6/18/2024   29825     $1,472.45
1144421-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…     6/18/2024   29826     $1,472.45
1144421-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…     6/18/2024   64415      $979.78
1144421-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…     6/18/2024   76942      $341.96
1143786-07    V.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      4/6/2024   62321      $976.38
1143786-07    V.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      5/4/2024   62323      $976.38
1143786-07    V.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Ankle, Surgical; Exci…     6/2/2024   29891     $3,026.24
1143786-07    V.M.          All City Family Healthcare Center, Inc.    Arthroscopy, Ankle (Tibiotalar And…      6/2/2024   29898     $1,472.45
1143786-07    V.M.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Femor…     6/2/2024   64447      $979.78
1143786-07    V.M.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      6/2/2024   76942      $341.96
1143786-07    V.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     6/15/2024   20553      $236.70
1143786-07    V.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     6/15/2024   22526     $5,292.93
1143786-07    V.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System…     6/15/2024   64999      $747.93
1143786-07    V.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Diskography, Cervical Or Thoracic,…     6/15/2024   72285      $962.54
1143101-01    D.P.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     3/29/2024   62321      $976.38
1143101-01    D.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…      4/9/2024   22526     $5,292.93
1143101-01    D.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection Procedure For Diskograph…      4/9/2024   62291      $748.73
1143101-01    D.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System…      4/9/2024   64999      $747.93
1143101-01    D.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Diskography, Cervical Or Thoracic,…      4/9/2024   72285      $962.54
1143101-01    D.P.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     6/27/2024   62323      $976.38
1143101-01    D.P.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl…    7/28/2024   22526     $2,605.78
1143101-01    D.P.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl…    7/28/2024   22527     $2,605.79
1143101-01    D.P.         Bronx SC LLC d/b/a Empire State ASC         Aspiration Or Decompression Proced…     7/28/2024   62287     $5,292.93
1143101-02    B.P.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     3/29/2024   62321      $976.38
1143101-02    B.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…      4/9/2024   22526     $5,292.93
1143101-02    B.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection Procedure For Diskograph…      4/9/2024   62291      $748.73
1143101-02    B.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System…      4/9/2024   64999      $747.93
1143101-02    B.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Diskography, Cervical Or Thoracic,…      4/9/2024   72285      $962.54
1143101-02    B.P.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     6/27/2024   62323      $976.38
1143101-02    B.P.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl…    7/28/2024   22526     $2,605.78
1143101-02    B.P.         Bronx SC LLC d/b/a Empire State ASC         Aspiration Or Decompression Proced…     7/28/2024   62287     $5,292.93
1141889-01    N.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     2/27/2024   62323      $976.38
1141889-01    N.C.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…     2/27/2024   72275      $575.00
1141889-01    N.C.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      6/4/2024   62323      $976.38
1140962-01    M.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…      3/8/2024   20553      $236.69
1140962-01    M.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      3/8/2024   62323      $976.38
1140962-01    M.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     4/26/2024   64493      $976.38
1140962-01    M.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     4/26/2024   64493      $447.52
1140962-01    M.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     4/26/2024   64494      $447.52
1140962-01    M.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     4/26/2024   64495      $447.52
1140962-01    M.D.               Surgicore of Jersey City LLC          Plmt Post Facet Implt Uni/Bi W/Img…      5/4/2024   0221T     $2,605.78
1140962-01    M.D.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…     5/4/2024   22526     $5,292.93
1140962-01    M.D.               Surgicore of Jersey City LLC          Transection Or Avulsion Of Other S…      5/4/2024   64772     $1,071.54
1142940-01    N.N.            Fifth Avenue Surgery Center LLC            Injection(S); Single Or Multiple T…   4/22/2024   20553      $236.69
1142940-01    N.N.            Fifth Avenue Surgery Center LLC            Injection Procedure For Sacroiliac…   4/22/2024   27096      $429.53
1142940-01    N.N.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     4/22/2024   62321      $976.38
1142940-01    N.N.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     4/22/2024   76942      $341.96
1142940-01    N.N.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; S…    4/29/2024   29821     $5,596.40
1142940-01    N.N.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; D…    4/29/2024   29823     $1,472.45
1142940-01    N.N.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; D…    4/29/2024   29826     $1,553.82
1142940-01    N.N.         Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Shoulder, Surgical; W…     4/29/2024   29827     $6,723.47
1142940-01    N.N.         Bronx SC LLC d/b/a Empire State ASC          Injection, Anesthetic Agent; Brach…    4/29/2024   64415      $979.78
1142940-01    N.N.         Bronx SC LLC d/b/a Empire State ASC         Ultrasonic Guidance For Needle Pla…     4/29/2024   76942      $341.96
1142940-01    N.N.            Fifth Avenue Surgery Center LLC            Injection(S); Single Or Multiple T…   6/10/2024   20553      $236.69
1142940-01    N.N.            Fifth Avenue Surgery Center LLC            Injection Procedure For Sacroiliac…   6/10/2024   27096      $429.53
                                                                  2 of 124                                                              Exhibit 3
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                                                           1590
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1142940-01    N.N.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     6/10/2024   62323      $976.38
1142940-01    N.N.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     6/10/2024   76942      $341.96
1141841-01    E.A.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te…      2/9/2024   23405     $1,839.77
1141841-01    E.A.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…    2/9/2024   29821     $2,798.20
1141841-01    E.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     2/9/2024   29823     $1,472.45
1141841-01    E.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…     2/9/2024   29825     $1,472.45
1141841-01    E.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     2/9/2024   29826     $1,472.45
1141841-01    E.A.          All City Family Healthcare Center, Inc.    Arthroscopy Shoulder Surgical Bice…      2/9/2024   29828     $5,677.77
1141841-01    E.A.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…      2/9/2024   29999     $1,472.45
1141841-01    E.A.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…    2/9/2024   64415      $979.78
1141841-01    E.A.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      2/9/2024   76942      $341.96
1141841-01    E.A.         Rockland & Bergen Surgery Center LLC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      3/2/2024   62323      $976.36
1141841-01    E.A.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     3/16/2024   62323      $976.38
1141841-01    E.A.         Rockland & Bergen Surgery Center LLC         Perq Intrdscl Electrothrm Annulopl…    4/20/2024   22526     $5,292.93
1141841-01    E.A.         Rockland & Bergen Surgery Center LLC         Perq Intrdscl Electrothrm Annulopl…    4/20/2024   22527     $2,605.78
1141841-01    E.A.         Rockland & Bergen Surgery Center LLC        Aspiration Or Decompression Proced…     4/20/2024   62287     $2,605.79
1141841-01    E.A.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…     6/8/2024   22526     $5,292.93
1141841-01    E.A.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…     6/8/2024   22527     $2,605.78
1141841-01    E.A.               Surgicore of Jersey City LLC          Unlisted Procedure, Nervous System…      6/8/2024   64999      $373.98
1141841-01    E.A.               Surgicore of Jersey City LLC          Unlisted Procedure, Nervous System…      6/8/2024   64999      $747.93
1140190-03    N.B.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      4/9/2024   62321      $976.38
1140190-03    N.B.            Fifth Avenue Surgery Center LLC            Injection(S); Single Or Multiple T…   7/29/2024   20553      $236.69
1140190-03    N.B.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     7/29/2024   62321      $976.38
1140190-03    N.B.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     7/29/2024   76942      $341.96
1140859-01    R.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     2/11/2024   62323      $976.38
1140859-01    R.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    2/25/2024   22526     $2,605.78
1140859-01    R.C.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…     2/25/2024   62287     $5,292.93
1140859-01    R.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      3/6/2024   62321      $976.38
1140859-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     3/21/2024   22526     $5,292.93
1140859-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System…     3/21/2024   64999      $747.93
1140859-01    R.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      4/3/2024   62321      $976.38
1140859-01    R.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      5/8/2024   62323      $976.38
1140859-01    R.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     5/22/2024   62321      $976.38
1143585-01    H.S.            Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; S…   12/8/2023   29821     $5,677.77
1143585-01    H.S.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    12/8/2023   29823     $1,472.45
1143585-01    H.S.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W…    12/8/2023   29825     $1,472.45
1143585-01    H.S.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    12/8/2023   29826     $1,472.45
1143585-01    H.S.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…     12/8/2023   29999     $1,472.45
1143585-01    H.S.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…   12/8/2023   64415      $979.78
1143585-01    H.S.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     12/8/2023   76942      $341.96
1143585-01    H.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     2/28/2024   62321      $976.38
1140062-01    B.V.            Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; S…   4/24/2024   29821     $5,677.77
1140062-01    B.V.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    4/24/2024   29823     $1,472.45
1140062-01    B.V.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W…    4/24/2024   29825     $1,472.45
1140062-01    B.V.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    4/24/2024   29826     $1,472.45
1140062-01    B.V.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…   4/24/2024   64415      $979.78
1140062-01    B.V.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     4/24/2024   76942      $341.96
1140062-01    B.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      8/3/2024   62323      $976.38
1139740-04    M.A.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      2/4/2024   62323      $967.38
1139740-04    M.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…     2/17/2024   64415      $979.78
1139740-04    M.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…     2/17/2024   76942      $341.96
1139740-04    M.A.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    3/10/2024   22526     $2,605.78
1139740-04    M.A.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…     3/10/2024   62287     $5,292.93
1139740-04    M.A.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      4/1/2024   62321      $976.38
1139740-04    M.A.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    5/20/2024   22526     $2,605.78
1139740-04    M.A.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr…     5/20/2024   63075     $6,402.03
1139693-03    N.M.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      2/2/2024   62321      $976.38
1139693-03    N.M.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or …    2/29/2024   20610      $473.38
1139693-03    N.M.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   2/29/2024   29821     $5,677.77
1139693-03    N.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    2/29/2024   29823     $1,472.45
1139693-03    N.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    2/29/2024   29826     $1,472.45
1139693-03    N.M.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   2/29/2024   64415      $979.78
1139693-03    N.M.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     2/29/2024   76942      $341.96
1139713-02    P.W.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     4/25/2024   62323      $976.38
1139713-02    P.W.         Bronx SC LLC d/b/a Empire State ASC         Open Treatment Of Radial Shaft Fra…     5/14/2024   25526     $2,605.78
1139713-02    P.W.         Bronx SC LLC d/b/a Empire State ASC         Aspiration Or Decompression Proced…     5/14/2024   62287     $5,292.93
1139713-02    P.W.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    6/27/2024   22526     $2,605.78
1139713-02    P.W.          All City Family Healthcare Center, Inc.     Injection Procedure For Diskograph…    6/27/2024   62291      $748.74
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                                                           1591
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1139713-02    P.W.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 6/27/2024      63075     $6,402.03
1139713-02    P.W.          All City Family Healthcare Center, Inc.     Diskography, Cervical Or Thoracic,… 6/27/2024     72285      $962.54
1139518-05    M.O.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/19/2024      62323      $976.38
1139518-05    M.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/27/2024      62323      $976.38
1139518-05    M.O.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 4/26/2024     22526     $5,292.93
1139518-05    M.O.               Surgicore of Jersey City LLC          Aspiration Or Decompression Proced… 4/26/2024      62287     $2,605.78
1139859-01    E.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/27/2024      62323      $976.38
1139859-01    E.S.             Fifth Avenue Surgery Center LLC          Perq Intrdscl Electrothrm Annulopl…    3/8/2024   22526     $2,605.78
1139859-01    E.S.             Fifth Avenue Surgery Center LLC         Aspiration Or Decompression Proced… 3/8/2024       62287     $5,292.93
1140109-01    M.G.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/29/2024      62321      $976.38
1140109-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…    5/28/2024   29821     $5,677.77
1140109-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 5/28/2024      29823     $1,472.45
1140109-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 5/28/2024      29825     $1,472.45
1140109-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 5/28/2024      29826     $1,472.45
1140109-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…    5/28/2024   64415      $979.78
1140109-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 5/28/2024      76942      $341.96
1138218-03    C.K.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/28/2024      62323      $976.38
1138218-03    C.K.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    2/8/2024   22526     $2,605.78
1138218-03    C.K.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 2/8/2024       62287     $5,292.93
1138211-01    J.C.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/7/2024       62323      $976.38
1138211-01    J.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 1/18/2024     22526     $2,605.78
1138211-01    J.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 1/18/2024     22527     $2,605.79
1138211-01    J.C.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 1/18/2024      62287     $5,292.93
1138211-01    J.C.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/28/2024      62321      $976.38
1139140-04    D.M.          Bronx SC LLC d/b/a Empire State ASC          Injection(S); Single Or Multiple T…  1/21/2024   20553      $236.69
1139140-04    D.M.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/21/2024      62323      $976.38
1139140-04    D.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl…    3/2/2024   22526     $2,605.78
1139140-04    D.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl…    3/2/2024   22527     $2,605.79
1139140-04    D.M.       Surgicore LLC d/b/a Surgicore Surgical Center Aspiration Or Decompression Proced… 3/2/2024       62287     $5,292.93
1138241-01    E.P.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/28/2024      62323      $976.38
1138396-02    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Implnt Bio Implnt For Soft Tissue …    2/2/2024   15777     $1,170.59
1138396-02    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Repair, Flexor Tendon, Leg; Primar…    2/2/2024   27658     $1,417.17
1138396-02    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Tenolysis, Flexor Or Extensor Tend…    2/2/2024   27680     $1,417.17
1138396-02    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center Repair, Secondary, Disrupted Ligam… 2/2/2024       27698     $3,311.97
1138396-02    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center Correction, Hammertoe (Eg, Interph…     2/2/2024   28285     $1,316.28
1138396-02    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Ankle (Tibiotalar And…     2/2/2024   29898     $1,472.45
1138396-02    M.C.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; S…    3/7/2024   29821     $5,596.40
1138396-02    M.C.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D…    3/7/2024   29823     $1,553.82
1138396-02    M.C.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; W…    3/7/2024   29827     $6,623.47
1138396-02    M.C.             New Horizon Surgical Center LLC         Arthroscopy Shoulder Surgical Bice…     3/7/2024   29828     $2,944.87
1138396-02    M.C.             New Horizon Surgical Center LLC          Injection, Anesthetic Agent; Brach…    3/7/2024   64415      $979.78
1138396-02    M.C.             New Horizon Surgical Center LLC         Ultrasonic Guidance For Needle Pla…     3/7/2024   76942      $341.96
1138396-03    J.L.             Fifth Avenue Surgery Center LLC         Arthroscopy, Knee, Surgical; Synov… 1/18/2024      29875     $1,472.45
1138396-03    J.L.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 1/18/2024     29881     $3,026.24
1138396-03    J.L.          Rockland & Bergen Surgery Center LLC       Arthroscopy, Knee, Surgical; Synov… 3/19/2024      29875     $1,472.45
1138396-03    J.L.          Rockland & Bergen Surgery Center LLC        Arthroscopy, Knee, Surgical; Abras… 3/19/2024     29879     $1,472.45
1138396-03    J.L.          Rockland & Bergen Surgery Center LLC        Arthroscopy, Knee, Surgical; With … 3/19/2024     29880     $3,026.24
1138396-03    J.L.          Rockland & Bergen Surgery Center LLC        Injection, Anesthetic Agent; Femor… 3/19/2024     64447      $979.78
1138396-03    J.L.          Rockland & Bergen Surgery Center LLC       Ultrasonic Guidance For Needle Pla… 3/19/2024      76942      $341.96
1137250-01    N.P.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/7/2024       62323      $976.38
1137250-01    N.P.          Bronx SC LLC d/b/a Empire State ASC         Perq Intrdscl Electrothrm Annulopl… 1/14/2024     22527     $2,605.78
1137250-01    N.P.          Bronx SC LLC d/b/a Empire State ASC        Aspiration Or Decompression Proced… 1/14/2024      62287     $5,292.93
1137250-01    N.P.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/28/2024      62321      $976.38
1137250-01    N.P.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    2/8/2024   22526     $2,605.78
1137250-01    N.P.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 2/8/2024       63075     $6,402.03
1136690-01    Y.C.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T… 11/13/2023   20552      $236.69
1136690-01    Y.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/13/2023     62323      $976.38
1136690-01    Y.C.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 11/13/2023     76942      $341.96
1136690-01    Y.C.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/14/2024      62321      $976.38
1136690-01    Y.C.          Bronx SC LLC d/b/a Empire State ASC         Perq Intrdscl Electrothrm Annulopl… 1/28/2024     22526     $2,605.78
1136690-01    Y.C.          Bronx SC LLC d/b/a Empire State ASC        Diskectomy, Anterior, With Decompr… 1/28/2024      63075     $6,402.03
1137296-01    D.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S… 12/18/2023    29821     $5,677.77
1137296-01    D.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 12/18/2023    29825     $1,472.45
1137296-01    D.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 12/18/2023    29826     $1,472.45
1137296-01    D.C.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach… 12/18/2023    64415      $979.78
1137296-01    D.C.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 12/18/2023     76942      $341.96
1137296-01    D.C.          Bronx SC LLC d/b/a Empire State ASC          Injection(S); Single Or Multiple T… 12/29/2023   20553      $236.69
1137296-01    D.C.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/29/2023     62323      $976.38
                                                                  4 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                        Page 145 of 580 PageID #:
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                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                Date of     Billing   Amount
                                           Provider                                      Service
 Number      Person                                                                                                 Service     Code       Billed
1137296-01    D.C.           Bronx SC LLC d/b/a Empire State ASC           Ultrasonic Guidance For Needle Pla…     12/29/2023   76942      $341.96
1137296-01    D.C.           Bronx SC LLC d/b/a Empire State ASC            Injection(S); Single Or Multiple T…     3/15/2024   20553      $236.69
1137296-01    D.C.           Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      3/15/2024   62321      $976.38
1137296-01    D.C.           Bronx SC LLC d/b/a Empire State ASC           Ultrasonic Guidance For Needle Pla…      3/15/2024   76942      $341.96
1136957-02    A.F.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; S…     2/21/2024   29821     $5,677.77
1136957-02    A.F.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D…     2/21/2024   29823     $1,472.45
1136957-02    A.F.              Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; W…      2/21/2024   29825     $1,472.45
1136957-02    A.F.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D…     2/21/2024   29826     $1,472.45
1136957-02    A.F.              Fifth Avenue Surgery Center LLC             Injection, Anesthetic Agent; Brach…     2/21/2024   64415      $979.78
1136957-02    A.F.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…      2/21/2024   76942      $341.96
1136957-02    A.F.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      4/18/2024   62321      $976.38
1136957-02    A.F.           All City Family Healthcare Center, Inc.        Perq Intrdscl Electrothrm Annulopl…     8/15/2024   22526     $5,292.93
1136957-02    A.F.           All City Family Healthcare Center, Inc.       Unlisted Procedure, Nervous System…      8/15/2024   64999      $747.94
1136957-02    A.F.           All City Family Healthcare Center, Inc.       Diskography, Cervical Or Thoracic,…      8/15/2024   72285      $962.54
1137006-02    K.W.              New Horizon Surgical Center LLC            Arthroscopy, Knee, Surgical; Synov…     12/13/2023   29875     $1,472.45
1137006-02    K.W.              New Horizon Surgical Center LLC             Arthroscopy, Knee, Surgical; With …    12/13/2023   29880     $3,026.24
1137006-02    K.W.              New Horizon Surgical Center LLC             Arthroscopy, Knee, Surgical; With …    12/13/2023   29884     $1,472.45
1137006-02    K.W.           Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      1/15/2024   62321      $976.38
1137006-02    K.W.              New Horizon Surgical Center LLC            Arthroscopy, Knee, Surgical; Synov…      1/24/2024   29875     $1,472.45
1137006-02    K.W.              New Horizon Surgical Center LLC             Arthroscopy, Knee, Surgical; With …     1/24/2024   29880     $3,026.24
1137006-02    K.W.              New Horizon Surgical Center LLC             Arthroscopy, Knee, Surgical; With …     1/24/2024   29884     $1,472.45
1137006-02    K.W.              New Horizon Surgical Center LLC               Unlisted Procedure, Arthroscopy…      1/24/2024   29999     $1,472.45
1137006-02    K.W.           Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…       3/4/2024   62323      $976.38
1137006-02    K.W.           Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      3/18/2024   62321      $976.38
1137006-02    K.W.           Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      6/17/2024   62323      $976.38
1136650-01    M.H.              Fifth Avenue Surgery Center LLC             Perq Intrdscl Electrothrm Annulopl…     12/4/2023   22526     $2,605.78
1136650-01    M.H.              Fifth Avenue Surgery Center LLC             Perq Intrdscl Electrothrm Annulopl…     12/4/2023   22527     $2,605.78
1136650-01    M.H.              Fifth Avenue Surgery Center LLC            Aspiration Or Decompression Proced…      12/4/2023   62287     $5,292.93
1136650-01    M.H.              Fifth Avenue Surgery Center LLC             Injection(S); Single Or Multiple T…      1/8/2024   20553      $236.69
1136650-01    M.H.              Fifth Avenue Surgery Center LLC             Injection Procedure For Sacroiliac…      1/8/2024   27096      $429.53
1136650-01    M.H.              Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…       1/8/2024   62323      $976.38
1136650-01    M.H.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…       1/8/2024   76942      $341.96
1136650-01    M.H.              Fifth Avenue Surgery Center LLC             Injection(S); Single Or Multiple T…     1/29/2024   20553      $236.69
1136650-01    M.H.              Fifth Avenue Surgery Center LLC             Injection Procedure For Sacroiliac…     1/29/2024   27096      $429.53
1136650-01    M.H.              Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      1/29/2024   62323      $976.38
1136650-01    M.H.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…      1/29/2024   76942      $341.96
1136650-01    M.H.              Fifth Avenue Surgery Center LLC             Injection(S); Single Or Multiple T…     2/26/2024   20553      $236.69
1136650-01    M.H.              Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      2/26/2024   62321      $976.38
1136650-01    M.H.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…      2/26/2024   76942      $341.96
1136650-01    M.H.              Fifth Avenue Surgery Center LLC             Injection(S); Single Or Multiple T…     3/11/2024   20553      $236.69
1136650-01    M.H.              Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      3/11/2024   62321      $976.38
1136650-01    M.H.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…      3/11/2024   76942      $341.96
1136650-01    M.H.           Bronx SC LLC d/b/a Empire State ASC           Excision Or Curettage Of Bone Cyst…       4/1/2024   27635     $1,417.17
1136650-01    M.H.           Bronx SC LLC d/b/a Empire State ASC                    Arthroplasty, Ankle;…            4/1/2024   27700     $4,992.46
1136091-01    M.P.                Surgicore of Jersey City LLC              Arthroscopy, Knee, Surgical; With …     1/30/2024   29873     $1,472.45
1136091-01    M.P.                Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical; Synov…      1/30/2024   29875     $1,472.45
1136091-01    M.P.                Surgicore of Jersey City LLC              Arthroscopy, Knee, Surgical; With …     1/30/2024   29880     $3,026.24
1136091-01    M.P.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Pltlt Plasma W/Img Harvest/Pre…      8/13/2024   0232T      $875.92
1136091-01    M.P.        Surgicore LLC d/b/a Surgicore Surgical Center    Tenolysis, Flexor Or Extensor Tend…      8/13/2024   27680     $1,417.17
1136091-01    M.P.        Surgicore LLC d/b/a Surgicore Surgical Center    Repair, Secondary, Disrupted Ligam…      8/13/2024   27698     $3,311.97
1136091-01    M.P.        Surgicore LLC d/b/a Surgicore Surgical Center     Arthroscopy, Ankle, Surgical; Exci…     8/13/2024   29891     $1,472.45
1136091-01    M.P.        Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Ankle (Tibiotalar And…      8/13/2024   29898     $1,472.45
1136091-01    M.P.        Surgicore LLC d/b/a Surgicore Surgical Center      Injection, Anesthetic Agent; Sciat…    8/13/2024   64445      $829.30
1136091-01    M.P.        Surgicore LLC d/b/a Surgicore Surgical Center    Ultrasonic Guidance For Needle Pla…      8/13/2024   76942      $341.96
1136289-01    J.C.                Surgicore of Jersey City LLC              Arthroscopy, Shoulder, Surgical; S…     1/31/2024   29821     $5,677.77
1136289-01    J.C.                Surgicore of Jersey City LLC              Arthroscopy, Shoulder, Surgical; D…     1/31/2024   29823     $1,472.45
1136289-01    J.C.                Surgicore of Jersey City LLC              Injection, Anesthetic Agent; Brach…     1/31/2024   64415      $979.78
1136289-01    J.C.                Surgicore of Jersey City LLC             Ultrasonic Guidance For Needle Pla…      1/31/2024   76942      $341.96
1136289-01    J.C.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      7/11/2024   62321      $976.38
1137533-03    S.S.           All City Family Healthcare Center, Inc.        Injection, Anesthetic Agent; Brach…     3/12/2024   64415      $979.78
1137533-03    S.S.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla…      3/12/2024   76942      $341.96
1137533-03    S.S.           Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Shoulder, Surgical; D…     7/30/2024   29823     $3,026.24
1137533-03    S.S.           Bronx SC LLC d/b/a Empire State ASC           Arthroscopy, Shoulder, Surgical; W…      7/30/2024   29825     $1,472.45
1137533-03    S.S.           Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Shoulder, Surgical; D…     7/30/2024   29826     $1,472.45
1137533-03    S.S.           Bronx SC LLC d/b/a Empire State ASC              Unlisted Procedure, Arthroscopy…      7/30/2024   29999     $1,472.45
1137533-03    S.S.           Bronx SC LLC d/b/a Empire State ASC            Injection, Anesthetic Agent; Brach…     7/30/2024   64415      $979.78
1137533-03    S.S.           Bronx SC LLC d/b/a Empire State ASC           Ultrasonic Guidance For Needle Pla…      7/30/2024   76942      $341.96
1136188-01    R.J.        Surgicore LLC d/b/a Surgicore Surgical Center     Injection(S); Single Or Multiple T…     3/16/2024   20553      $236.69
                                                                     5 of 124                                                                Exhibit 3
       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 146 of 580 PageID #:
                                                           1593
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1136188-01    R.J.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/16/2024      62323      $979.78
1136188-01    R.J.          Bronx SC LLC d/b/a Empire State ASC         Perq Intrdscl Electrothrm Annulopl… 5/19/2024     22526     $2,605.78
1136188-01    R.J.          Bronx SC LLC d/b/a Empire State ASC         Perq Intrdscl Electrothrm Annulopl… 5/19/2024     22527     $2,605.79
1136188-01    R.J.          Bronx SC LLC d/b/a Empire State ASC        Aspiration Or Decompression Proced… 5/19/2024      62287     $5,292.93
1135904-01    N.C.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…  11/5/2023   29821     $5,677.77
1135904-01    N.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 11/5/2023     29823     $1,472.45
1135904-01    N.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 11/5/2023     29825     $1,472.45
1135904-01    N.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 11/5/2023     29826     $1,472.45
1135904-01    N.C.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  11/5/2023   64415      $979.78
1135904-01    N.C.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 11/5/2023      76942      $341.96
1135904-01    N.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 12/12/2023    22526     $2,605.78
1135904-01    N.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 12/12/2023    22527     $2,605.79
1135904-01    N.C.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 12/12/2023     62287     $5,292.93
1135904-01    N.C.             Fifth Avenue Surgery Center LLC          Perq Intrdscl Electrothrm Annulopl… 12/22/2023    22526     $2,605.78
1135904-01    N.C.             Fifth Avenue Surgery Center LLC          Perq Intrdscl Electrothrm Annulopl… 12/22/2023    22527     $2,605.79
1135904-01    N.C.             Fifth Avenue Surgery Center LLC         Aspiration Or Decompression Proced… 12/22/2023     62287     $5,292.93
1135904-01    N.C.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…     1/7/2024   29875     $1,472.45
1135904-01    N.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …    1/7/2024   29880     $3,026.24
1135904-01    N.C.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…     1/7/2024   29999     $1,472.45
1135904-01    N.C.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/23/2024      64493      $447.52
1135904-01    N.C.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/23/2024      64493      $976.38
1135904-01    N.C.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/23/2024      64494      $447.52
1135904-01    N.C.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/23/2024      64495      $447.52
1135904-01    N.C.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…  3/24/2024   29821     $5,596.40
1135904-01    N.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 3/24/2024     29823     $1,472.45
1135904-01    N.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 3/24/2024     29825     $1,472.45
1135904-01    N.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 3/24/2024     29826     $1,553.82
1135904-01    N.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 3/24/2024     29827     $6,723.47
1135904-01    N.C.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  3/24/2024   64415      $979.78
1135904-01    N.C.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 3/24/2024      76942      $341.96
1135904-01    N.C.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 4/12/2024      64493      $447.52
1135904-01    N.C.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 4/12/2024      64493      $976.38
1135904-01    N.C.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 4/12/2024      64494      $447.52
1135904-01    N.C.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 4/12/2024      64495      $447.52
1135904-01    N.C.             Fifth Avenue Surgery Center LLC          Dstr Nrolytc Agnt Parverteb Fct Sn… 5/17/2024     64635      $979.78
1135904-01    N.C.             Fifth Avenue Surgery Center LLC          Dstr Nrolytc Agnt Parverteb Fct Ad… 5/17/2024     64636      $449.21
1135904-01    N.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 7/12/2024     22526     $2,605.78
1135904-01    N.C.          All City Family Healthcare Center, Inc.     Injection Procedure For Diskograph… 7/12/2024     62291      $748.74
1135904-01    N.C.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 7/12/2024      63075     $6,402.03
1135904-01    N.C.          All City Family Healthcare Center, Inc.     Diskography, Cervical Or Thoracic,… 7/12/2024     72285      $962.54
1136549-02    J.R.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; With … 11/21/2023    29880     $3,026.24
1136549-02    J.R.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; With … 11/21/2023    29884     $1,472.45
1136549-02    J.R.          Bronx SC LLC d/b/a Empire State ASC           Unlisted Procedure, Arthroscopy…   11/21/2023   29999     $1,472.45
1136549-02    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; Synov… 8/13/2024      29875     $1,472.45
1136549-02    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With … 8/13/2024      29880     $3,026.24
1136549-02    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Arthroscopy…       8/13/2024   29999     $1,472.45
1136722-90    N.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/4/2024       62323      $976.38
1136722-90    N.D.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/21/2024      62323      $976.38
1136722-90    N.D.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 4/18/2024     22526     $2,605.78
1136722-90    N.D.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 4/18/2024      62287     $5,292.93
1136402-01    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent And/Or… 1/15/2024      64483      $447.52
1136402-01    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent And/Or… 1/15/2024      64483      $976.38
1136402-01    M.L.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/5/2024       62321      $976.38
1135260-01    J.J.               Surgicore of Jersey City LLC            Injection(S); Single Or Multiple T…  12/2/2023   20553      $236.69
1135260-01    J.J.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/2/2023      62321      $976.38
1135260-01    J.J.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/18/2024      62323      $976.38
1136024-01    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S… 11/21/2023     29821     $5,677.77
1136024-01    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 11/21/2023     29823     $1,472.45
1136024-01    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 11/21/2023     29825     $1,472.45
1136024-01    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 11/21/2023     29826     $1,472.45
1136024-01    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach… 11/21/2023     64415      $979.78
1136024-01    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 11/21/2023     76942      $341.96
1136024-01    E.E.             New Horizon Surgical Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/14/2024      62323      $976.38
1135627-01    V.P.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   5/9/2024   29821     $5,677.77
1135627-01    V.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    5/9/2024   29823     $1,472.45
1135627-01    V.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    5/9/2024   29825     $1,472.45
1135627-01    V.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    5/9/2024   29826     $1,472.45
1135627-01    V.P.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   5/9/2024   64415      $979.78
                                                                  6 of 124                                                             Exhibit 3
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                                                          1594
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1135627-01    V.P.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…    5/9/2024   76942      $341.96
1135627-01    V.P.            New Horizon Surgical Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/26/2024     62323      $976.38
1135432-01    L.G.            Fifth Avenue Surgery Center LLC           Injection(S); Single Or Multiple T… 10/20/2023   20553      $236.69
1135432-01    L.G.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/20/2023    62323      $976.38
1135432-01    L.G.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 10/20/2023    76942      $341.96
1135432-01    L.G.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 10/31/2023   22526     $2,605.78
1135432-01    L.G.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 10/31/2023    62287     $5,292.93
1135432-01    L.G.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/16/2024     62321      $976.38
1134787-01    R.C.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/2/2023     62323      $976.38
1134787-01    R.C.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/16/2023    62321      $976.38
1134787-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S… 10/28/2023    29821     $5,677.77
1134787-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 10/28/2023    29823     $1,472.45
1134787-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 10/28/2023    29825     $1,472.45
1134787-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 10/28/2023    29826     $1,472.45
1134787-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach… 10/28/2023    64415      $979.78
1134787-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 10/28/2023    76942      $341.96
1134787-01    R.C.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl… 5/12/2024    22526     $5,292.93
1134787-01    R.C.         Bronx SC LLC d/b/a Empire State ASC         Unlisted Procedure, Nervous System… 5/12/2024     64999      $747.93
1134787-01    R.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…  8/28/2024   29821     $5,596.40
1134787-01    R.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 8/28/2024    29823     $1,472.45
1134787-01    R.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 8/28/2024    29825     $1,472.45
1134787-01    R.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 8/28/2024    29826     $1,553.82
1134787-01    R.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 8/28/2024    29827     $6,723.47
1134787-01    R.C.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder Surgical Bice… 8/28/2024     29828     $2,798.20
1134787-01    R.C.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…  8/28/2024   64415      $979.78
1134787-01    R.C.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 8/28/2024     76942      $341.96
1134714-01    E.P.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 11/6/2023    22526     $2,605.78
1134714-01    E.P.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 11/6/2023     62287     $5,292.93
1134714-01    E.P.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 11/16/2023   22526     $2,605.78
1134714-01    E.P.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 11/16/2023    62287     $5,292.93
1134714-01    E.P.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/14/2023    62321      $976.38
1134714-01    E.P.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 1/11/2024    22526     $2,605.78
1134714-01    E.P.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 1/11/2024     63075     $6,402.03
1133789-01    F.E.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/19/2023    62323      $976.38
1133789-01    F.E.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/15/2024     62323      $976.38
1135227-01    W.S.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or … 5/24/2024    20610      $473.38
1135227-01    W.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…  5/24/2024   29821     $5,677.77
1135227-01    W.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 5/24/2024    29823     $1,472.45
1135227-01    W.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 5/24/2024    29825     $1,472.45
1135227-01    W.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 5/24/2024    29826     $1,472.45
1135227-01    W.S.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…  5/24/2024   64415      $979.78
1135227-01    W.S.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 5/24/2024     76942      $341.96
1135227-01    W.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/10/2024     62321      $976.38
1135227-01    W.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/22/2024     62323      $976.38
1135227-01    W.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 8/12/2024     22526     $2,605.78
1135227-01    W.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 8/12/2024     62287     $5,292.93
1134965-01    H.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/30/2023    62321      $976.38
1134965-01    H.S.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…  12/8/2023   64415      $979.78
1134965-01    H.S.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 12/8/2023     76942      $341.96
1134965-01    H.S.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl… 12/14/2023   22526     $2,605.78
1134965-01    H.S.         Bronx SC LLC d/b/a Empire State ASC         Diskectomy, Anterior, With Decompr… 12/14/2023    63075     $6,402.03
1134965-01    H.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/28/2024     62321      $976.38
1134965-01    H.S.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…   4/1/2024   22526     $2,605.78
1134965-01    H.S.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 4/1/2024      63075     $6,402.03
1134965-01    H.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/10/2024     62323      $976.38
1134965-01    H.S.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 4/17/2024    22526     $2,605.78
1134965-01    H.S.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 4/17/2024     62287     $5,292.93
1134965-01    H.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/9/2024      62323      $976.38
1133666-01    M.F.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S… 10/14/2023   29821     $5,596.40
1133666-01    M.F.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 10/14/2023   29823     $1,472.45
1133666-01    M.F.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 10/14/2023   29825     $1,472.45
1133666-01    M.F.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 10/14/2023   29826     $1,472.45
1133666-01    M.F.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 10/14/2023   29827     $6,723.47
1133666-01    M.F.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder Surgical Bice… 10/14/2023    29828     $2,798.20
1133666-01    M.F.            Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…   10/14/2023   29999     $1,553.82
1133666-01    M.F.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach… 10/14/2023   64415      $979.78
1133666-01    M.F.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 10/14/2023    76942      $341.96
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/15/2023    62321      $976.38
                                                                 7 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                 Document 1-4 Filed 12/17/24                      Page 148 of 580 PageID #:
                                                          1595
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1133666-01    M.F.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 12/6/2023    22526     $2,605.78
1133666-01    M.F.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 12/6/2023     63075     $6,402.03
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/29/2023    62323      $976.38
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Ankle, Surgical; Exci…    1/6/2024   29891     $3,026.24
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Ankle (Tibiotalar And…    1/6/2024   29895     $1,472.45
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Ankle (Tibiotalar And…    1/6/2024   29898     $1,472.45
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Femor…    1/6/2024   64447      $979.78
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…    1/6/2024   76942      $341.96
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…   8/24/2024   29821     $5,596.40
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 8/24/2024     29823     $1,472.45
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 8/24/2024     29825     $1,472.45
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 8/24/2024     29826     $1,553.82
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 8/24/2024     29827     $6,723.47
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…   8/24/2024   64415      $979.78
1133666-01    M.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 8/24/2024     76942      $341.96
1133666-02    A.H.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S… 10/14/2023   29821     $5,677.77
1133666-02    A.H.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 10/14/2023   29823     $1,472.45
1133666-02    A.H.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 10/14/2023   29825     $1,472.45
1133666-02    A.H.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 10/14/2023   29826     $1,472.45
1133666-02    A.H.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach… 10/14/2023   64415      $979.78
1133666-02    A.H.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 10/14/2023    76942      $341.96
1133666-02    A.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/16/2023    62323      $976.38
1133666-02    A.H.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 12/6/2023    22526     $2,605.78
1133666-02    A.H.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 12/6/2023     62287     $5,292.93
1133548-01    J.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    5/8/2024   20553      $236.69
1133548-01    J.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/8/2024      62323      $976.38
1133548-01    J.C.            Fifth Avenue Surgery Center LLC           Injection(S); Single Or Multiple T…  6/10/2024   20553      $236.69
1133548-01    J.C.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/10/2024     62321      $976.38
1133548-01    J.C.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 6/10/2024     76942      $341.96
1133313-02    W.A.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/20/2023    62323      $976.38
1133313-02    W.A.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te… 11/30/2023    23405     $1,839.77
1133313-02    W.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S… 11/30/2023   29821     $5,677.77
1133313-02    W.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 11/30/2023   29823     $1,472.45
1133313-02    W.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 11/30/2023   29825     $1,472.45
1133313-02    W.A.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach… 11/30/2023   64415      $979.78
1133313-02    W.A.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 11/30/2023    76942      $341.96
1133888-02    T.A.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/2/2023     62323      $976.38
1133888-02    T.A.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 2/13/2024    29873     $1,472.45
1133888-02    T.A.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov… 2/13/2024     29875     $1,472.45
1133888-02    T.A.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 2/13/2024    29880     $3,026.24
1133888-02    T.A.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 2/13/2024    29884     $1,472.45
1133170-01    K.N.         Rockland & Bergen Surgery Center LLC         Arthroscopy, Shoulder, Surgical; W… 10/24/2023   29819     $1,472.45
1133170-01    K.N.         Rockland & Bergen Surgery Center LLC         Arthroscopy, Shoulder, Surgical; S… 10/24/2023   29820     $1,472.45
1133170-01    K.N.         Rockland & Bergen Surgery Center LLC         Arthroscopy, Shoulder, Surgical; D… 10/24/2023   29823     $3,026.24
1133170-01    K.N.         Rockland & Bergen Surgery Center LLC         Arthroscopy, Shoulder, Surgical; D… 10/24/2023   29826     $1,472.45
1133170-01    K.N.         Rockland & Bergen Surgery Center LLC         Injection, Anesthetic Agent; Brach… 10/24/2023   64415      $979.78
1133170-01    K.N.         Rockland & Bergen Surgery Center LLC        Ultrasonic Guidance For Needle Pla… 10/24/2023    76942      $341.96
1133170-01    K.N.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/8/2024      62323      $976.38
1133556-02    I.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/17/2023    62323      $976.38
1133556-02    I.S.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl… 3/24/2024    22526     $2,605.78
1133556-02    I.S.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl… 3/24/2024    22527     $2,605.79
1133556-02    I.S.         Bronx SC LLC d/b/a Empire State ASC         Aspiration Or Decompression Proced… 3/24/2024     62287     $5,292.93
1133049-01    V.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/17/2023    62323      $976.38
1133049-01    V.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 1/17/2024    22526     $2,605.78
1133049-01    V.C.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 1/17/2024     62287     $5,292.93
1133049-01    V.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; Synov… 1/30/2024     29875     $1,472.45
1133049-01    V.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With … 1/30/2024     29880     $3,026.24
1133049-01    V.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Arthroscopy…      1/30/2024   29999     $1,472.45
1132444-01    E.F.            Fifth Avenue Surgery Center LLC           Injection(S); Single Or Multiple T… 10/27/2023   20553      $236.69
1132444-01    E.F.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/27/2023    62323      $976.38
1132444-01    E.F.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 10/27/2023    76942      $341.96
1132444-01    E.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 12/18/2023    64493      $447.52
1132444-01    E.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 12/18/2023    64493      $976.38
1132444-01    E.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 12/18/2023    64494      $447.52
1132444-01    E.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 12/18/2023    64495      $447.52
1132444-01    E.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…  1/12/2024   29821     $5,677.77
1132444-01    E.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 1/12/2024    29823     $1,472.45
1132444-01    E.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 1/12/2024    29825     $1,472.45
                                                                 8 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                 Document 1-4 Filed 12/17/24                      Page 149 of 580 PageID #:
                                                          1596
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1132444-01    E.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 1/12/2024    29826     $1,472.45
1132444-01    E.F.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…  1/12/2024   64415      $979.78
1132444-01    E.F.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 1/12/2024     76942      $341.96
1132444-01    E.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/4/2024      64493      $976.38
1132444-01    E.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/4/2024      64493      $447.52
1132444-01    E.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/4/2024      64494      $447.52
1132863-01    M.G.          Bronx SC LLC d/b/a Empire State ASC         Injection(S); Single Or Multiple T…  10/8/2023   20553      $236.69
1132863-01    M.G.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/8/2023     62321      $976.38
1132863-01    M.G.          Bronx SC LLC d/b/a Empire State ASC        Ultrasonic Guidance For Needle Pla… 10/8/2023     76942      $341.96
1132863-01    M.G.          Bronx SC LLC d/b/a Empire State ASC         Injection(S); Single Or Multiple T…  11/5/2023   20553      $236.69
1132863-01    M.G.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/5/2023     62323      $976.38
1132863-01    M.G.          Bronx SC LLC d/b/a Empire State ASC        Ultrasonic Guidance For Needle Pla… 11/5/2023     76942      $341.96
1132863-01    M.G.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl… 3/16/2024    22526     $2,605.78
1132863-01    M.G.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl… 3/16/2024    22527     $2,605.79
1132863-01    M.G.       Surgicore LLC d/b/a Surgicore Surgical Center Aspiration Or Decompression Proced… 3/16/2024     62287     $5,292.93
1133172-01    R.A.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/21/2024     62323      $976.38
1133172-01    R.A.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S…  7/18/2024   29821     $5,677.77
1133172-01    R.A.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D… 7/18/2024    29823     $1,472.45
1133172-01    R.A.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W… 7/18/2024     29825     $1,472.45
1133172-01    R.A.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D… 7/18/2024    29826     $1,472.45
1133172-01    R.A.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent; Brach…  7/18/2024   64415      $979.78
1133172-01    R.A.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla… 7/18/2024     76942      $341.96
1132079-01    J.Z.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/8/2024      62323      $976.38
1132079-01    J.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…    4/9/2024   22526     $2,605.78
1132079-01    J.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 4/9/2024      62287     $5,292.93
1132428-02    G.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/26/2023     62323      $976.38
1132428-02    G.P.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…   9/9/2023   22526     $2,605.78
1132428-02    G.P.               Surgicore of Jersey City LLC          Aspiration Or Decompression Proced… 9/9/2023      62287     $5,292.93
1132428-02    G.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/23/2023     62321      $976.38
1132428-02    G.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…  9/28/2023   29821     $5,677.77
1132428-02    G.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 9/28/2023    29823     $1,472.45
1132428-02    G.P.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W… 9/28/2023     29825     $1,472.45
1132428-02    G.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 9/28/2023    29826     $1,472.45
1132428-02    G.P.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…   9/28/2023   29999     $1,472.45
1132428-02    G.P.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…  9/28/2023   64415      $979.78
1132428-02    G.P.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 9/28/2023     76942      $341.96
1132428-02    G.P.               Surgicore of Jersey City LLC           Injection(S); Single Or Multiple T… 11/18/2023   20553      $236.69
1132428-02    G.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/18/2023    62321      $976.38
1132428-02    G.P.               Surgicore of Jersey City LLC          Unlisted Procedure, Nervous System… 1/6/2024      64999      $829.30
1132557-02    V.L.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/25/2023     62323      $976.38
1132557-02    V.L.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 9/19/2023    22526     $2,605.78
1132557-02    V.L.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 9/19/2023    22527     $2,605.79
1132557-02    V.L.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 9/19/2023     62287     $5,292.93
1131880-01    J.C.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/19/2023     62323      $976.38
1131880-01    J.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…  8/24/2023   29821     $5,596.40
1131880-01    J.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 8/24/2023    29823     $1,472.45
1131880-01    J.C.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W… 8/24/2023     29825     $1,472.45
1131880-01    J.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 8/24/2023    29826     $1,553.82
1131880-01    J.C.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W… 8/24/2023     29827     $6,723.47
1131880-01    J.C.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…  8/24/2023   64415      $979.78
1131880-01    J.C.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 8/24/2023     76942      $341.96
1131880-01    J.C.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…   9/2/2023   22526     $2,605.78
1131880-01    J.C.               Surgicore of Jersey City LLC          Aspiration Or Decompression Proced… 9/2/2023      62287     $5,292.93
1131880-01    J.C.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/23/2023     62321      $976.38
1131880-01    J.C.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/28/2023    62321      $976.38
1131989-02    M.A.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/15/2024     62321      $976.38
1131989-02    M.A.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/14/2024     62321      $976.38
1131989-02    M.A.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Pltlt Plasma W/Img Harvest/Pre… 8/6/2024      0232T      $875.92
1131989-02    M.A.       Surgicore LLC d/b/a Surgicore Surgical Center Tenolysis, Flexor Or Extensor Tend…    8/6/2024   27680     $1,417.17
1131989-02    M.A.       Surgicore LLC d/b/a Surgicore Surgical Center Repair, Secondary, Disrupted Ligam… 8/6/2024      27698     $3,311.97
1131989-02    M.A.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Ankle (Tibiotalar And…    8/6/2024   29898     $1,472.45
1131989-02    M.A.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy Subtalar Joint With De…    8/6/2024   29906     $1,472.45
1131989-02    M.A.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection, Anesthetic Agent; Sciat…  8/6/2024   64445      $829.30
1131989-02    M.A.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent; Other…   8/6/2024   64450      $373.98
1131989-02    M.A.       Surgicore LLC d/b/a Surgicore Surgical Center Ultrasonic Guidance For Needle Pla…    8/6/2024   76942      $341.96
1131247-01    W.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/8/2023      62323      $976.38
1131247-01    W.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/22/2023     62321      $976.38
1131247-01    W.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…  10/2/2023   29821     $5,677.77
                                                                 9 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 150 of 580 PageID #:
                                                           1597
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1131247-01    W.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 10/2/2023     29825     $1,472.45
1131247-01    W.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 10/2/2023     29826     $1,472.45
1131247-01    W.C.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  10/2/2023   64415      $979.78
1131247-01    W.C.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 10/2/2023      76942      $341.96
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …    8/1/2023   20610      $473.39
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Diagnostic,…    8/1/2023   29805     $1,472.45
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…    8/1/2023   29821     $5,677.77
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    8/1/2023   29823     $1,472.45
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…   8/1/2023   64415      $979.78
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     8/1/2023   76942      $341.96
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …    8/8/2023   20610      $473.39
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Diagnostic,…    8/8/2023   29805     $1,472.45
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…    8/8/2023   29821     $5,677.77
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    8/8/2023   29823     $1,472.45
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…   8/8/2023   64415      $979.78
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     8/8/2023   76942      $341.96
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or … 8/15/2023     20610      $473.39
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 8/15/2023      29875     $1,472.45
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 8/15/2023     29881     $3,026.24
1130747-01    Y.K.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…    9/9/2023   22526     $5,292.93
1130747-01    Y.K.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…    9/9/2023   22527     $2,605.78
1130747-01    Y.K.               Surgicore of Jersey City LLC          Unlisted Procedure, Nervous System… 9/9/2023       64999      $747.93
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or … 12/12/2023    20610      $473.39
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 12/12/2023     29875     $1,472.45
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 12/12/2023    29881     $3,026.24
1136698-02    S.N.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/20/2023     62323      $976.38
1136698-02    S.N.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    2/4/2024   22526     $2,605.78
1136698-02    S.N.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 2/4/2024       62287     $5,292.93
1136698-02    S.N.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/18/2024      62321      $976.38
1136698-02    S.N.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 3/21/2024      22526     $5,292.93
1136698-02    S.N.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System… 3/21/2024      64999      $747.93
1136698-02    S.N.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/26/2024      62321      $976.38
1130445-01    V.G.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…  8/21/2023   20552      $236.69
1130445-01    V.G.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/21/2023      62323      $976.38
1130445-01    V.G.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 8/21/2023      76942      $341.96
1130445-01    V.G.              Manalapan Surgery Center Inc            Arthroscopy, Shoulder, Surgical; S… 11/29/2023    29821     $5,677.77
1130445-01    V.G.              Manalapan Surgery Center Inc            Arthroscopy, Shoulder, Surgical; D… 11/29/2023    29823     $1,472.45
1130445-01    V.G.              Manalapan Surgery Center Inc            Arthroscopy, Shoulder, Surgical; W… 11/29/2023    29825     $1,472.45
1130445-01    V.G.              Manalapan Surgery Center Inc              Unlisted Procedure, Arthroscopy…   11/29/2023   29999     $1,472.45
1130445-01    V.G.              Manalapan Surgery Center Inc             Injection, Anesthetic Agent; Brach… 11/29/2023   64415      $979.78
1130445-01    V.G.              Manalapan Surgery Center Inc           Ultrasonic Guidance For Needle Pla… 11/29/2023     76942      $341.96
1132861-01    S.C.         Rockland & Bergen Surgery Center LLC         Injection, Anesthetic Agent And/Or…    9/6/2023   64483      $447.52
1132861-01    S.C.         Rockland & Bergen Surgery Center LLC         Injection, Anesthetic Agent And/Or…    9/6/2023   64483      $976.38
1132861-01    S.C.         Rockland & Bergen Surgery Center LLC         Injection, Anesthetic Agent And/Or…    9/6/2023   64484      $447.52
1132861-01    S.C.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/25/2023     62323      $976.38
1132861-01    S.C.         Rockland & Bergen Surgery Center LLC          Injection(S); Single Or Multiple T… 11/15/2023   20552      $236.69
1132861-01    S.C.         Rockland & Bergen Surgery Center LLC        Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/15/2023     62321      $976.38
1130512-01    J.P.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or … 6/27/2023     20610      $473.39
1130512-01    J.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Diagnostic,… 6/27/2023     29805     $1,472.45
1130512-01    J.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…   6/27/2023   29821     $5,677.77
1130512-01    J.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 6/27/2023     29823     $1,472.45
1130512-01    J.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 6/27/2023     29826     $1,472.45
1130512-01    J.P.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…  6/27/2023   64415      $979.78
1130512-01    J.P.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 6/27/2023      76942      $341.96
1130512-01    J.P.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…  8/17/2023   20553      $236.69
1130512-01    J.P.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/17/2023      62321      $976.38
1130512-01    J.P.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl… 9/28/2023     22526     $2,605.78
1130512-01    J.P.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl… 9/28/2023     22527     $2,605.78
1130512-01    J.P.         Bronx SC LLC d/b/a Empire State ASC         Diskectomy, Anterior, With Decompr… 9/28/2023      63075     $6,402.03
1130512-01    J.P.         Bronx SC LLC d/b/a Empire State ASC         Diskectomy, Anterior, With Decompr… 9/28/2023      63076     $3,160.34
1130512-01    J.P.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 11/9/2023      29875     $1,472.45
1130512-01    J.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 11/9/2023     29880     $3,026.24
1130512-01    J.P.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…    11/9/2023   29999     $1,472.45
1131091-07    J.C.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/4/2023       62323      $976.38
1131091-07    J.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…     8/5/2023   29821     $5,677.77
1131091-07    J.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…     8/5/2023   29822     $1,472.45
1131091-07    J.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W…     8/5/2023   29825     $1,472.45
1131091-07    J.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…     8/5/2023   29826     $1,472.45
                                                                 10 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 151 of 580 PageID #:
                                                           1598
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1131091-07    J.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…     8/5/2023   64415      $979.78
1131091-07    J.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…     8/5/2023   76942      $341.96
1129822-01    P.M.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…  8/15/2023   20552      $236.69
1129822-01    P.M.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/15/2023      62323      $976.38
1129822-01    P.M.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 8/15/2023      76942      $341.96
1129822-01    P.M.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 9/18/2023     22526     $2,605.78
1129822-01    P.M.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 9/18/2023      62287     $5,292.93
1129822-01    P.M.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/16/2024      62321      $976.38
1129822-01    P.M.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl… 7/11/2024     22526     $5,292.93
1129822-01    P.M.         Bronx SC LLC d/b/a Empire State ASC         Unlisted Procedure, Nervous System… 7/11/2024      64999      $747.94
1129822-01    P.M.         Bronx SC LLC d/b/a Empire State ASC          Diskography, Cervical Or Thoracic,… 7/11/2024     72285      $962.54
1130019-01    P.R.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/2/2023      62323      $976.38
1130019-01    P.R.         Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; Synov…     1/8/2024   29875     $1,472.45
1130019-01    P.R.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Knee, Surgical; With …    1/8/2024   29880     $3,026.24
1130019-01    P.R.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Knee, Surgical; With …    1/8/2024   29884     $1,472.45
1130019-01    P.R.         Bronx SC LLC d/b/a Empire State ASC             Unlisted Procedure, Arthroscopy…    1/8/2024   29999     $1,472.45
1130019-01    P.R.            Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulopl… 2/15/2024     22526     $2,605.78
1130019-01    P.R.            Fifth Avenue Surgery Center LLC          Aspiration Or Decompression Proced… 2/15/2024      62287     $5,292.93
1130019-01    P.R.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 4/3/2024       64493      $447.52
1130019-01    P.R.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 4/3/2024       64493      $976.38
1130019-01    P.R.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 4/3/2024       64494      $447.52
1130019-01    P.R.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 4/3/2024       64495      $447.52
1130173-01    J.O.               Surgicore of Jersey City LLC            Arthroscopy, Shoulder, Surgical; S…   9/6/2023   29821     $5,677.77
1130173-01    J.O.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…    9/6/2023   29823     $1,472.45
1130173-01    J.O.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; W…    9/6/2023   29825     $1,472.45
1130173-01    J.O.               Surgicore of Jersey City LLC              Unlisted Procedure, Arthroscopy…    9/6/2023   29999     $1,472.45
1130173-01    J.O.               Surgicore of Jersey City LLC            Injection, Anesthetic Agent; Brach…   9/6/2023   64415      $979.78
1130173-01    J.O.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla…     9/6/2023   76942      $341.96
1130173-01    J.O.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/6/2023      62321      $976.38
1130367-02    T.A.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/17/2023      62323      $976.38
1130367-02    T.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 8/31/2023      22526     $2,605.78
1130367-02    T.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 8/31/2023      22527     $2,605.79
1130367-02    T.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 8/31/2023      62287     $5,292.93
1130311-01    M.M.              Manalapan Surgery Center Inc           Arthroscopy, Knee, Surgical; Synov… 7/15/2023      29875     $1,472.45
1130311-01    M.M.              Manalapan Surgery Center Inc            Arthroscopy, Knee, Surgical; With … 7/15/2023     29880     $3,026.24
1130311-01    M.M.              Manalapan Surgery Center Inc            Arthroscopy, Knee, Surgical; With … 7/15/2023     29884     $1,472.45
1130311-01    M.M.              Manalapan Surgery Center Inc               Unlisted Procedure, Arthroscopy…   7/15/2023   29999     $1,472.45
1130311-01    M.M.              Manalapan Surgery Center Inc              Injection, Anesthetic Agent; Sciat… 7/15/2023   64445      $829.30
1130311-01    M.M.              Manalapan Surgery Center Inc           Ultrasonic Guidance For Needle Pla… 7/15/2023      76942      $341.96
1130311-01    M.M.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/9/2023       62323      $976.38
1130370-01    K.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/26/2023      62323      $976.38
1130370-01    K.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 9/14/2023     22526     $2,605.78
1130370-01    K.C.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 9/14/2023      62287     $5,292.93
1130370-01    K.C.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 9/30/2023      29875     $1,472.45
1130370-01    K.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 9/30/2023     29880     $3,026.24
1130370-01    K.C.            Fifth Avenue Surgery Center LLC              Unlisted Procedure, Arthroscopy…   9/30/2023   29999     $1,472.45
1130370-01    K.C.               Surgicore of Jersey City LLC         Laminectomy, Facetectomy And Foram… 11/15/2023      63047     $5,292.93
1130370-01    K.C.               Surgicore of Jersey City LLC         Laminectomy, Facetectomy And Foram… 11/15/2023      63048     $2,605.78
1130370-01    K.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/22/2024      62321      $976.38
1130370-01    K.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    3/7/2024   22526     $2,605.78
1130370-01    K.C.          All City Family Healthcare Center, Inc.     Injection Procedure For Diskograph…    3/7/2024   62291      $748.74
1130370-01    K.C.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 3/7/2024       63075     $6,402.03
1130370-01    K.C.          All City Family Healthcare Center, Inc.     Diskography, Cervical Or Thoracic,…    3/7/2024   72285      $962.54
1129288-02    Y.K.               Surgicore of Jersey City LLC            Injection(S); Single Or Multiple T…  7/14/2023   20553      $236.69
1129288-02    Y.K.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/14/2023      62323      $976.38
1129288-02    Y.K.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla… 7/14/2023      76942      $341.96
1129288-02    Y.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 7/28/2023      22526     $2,605.78
1129288-02    Y.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 7/28/2023      62287     $5,292.93
1129613-01    C.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/13/2023      62323      $976.38
1129613-01    C.S.            Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulopl… 8/17/2023     22526     $2,605.78
1129613-01    C.S.            Fifth Avenue Surgery Center LLC          Aspiration Or Decompression Proced… 8/17/2023      62287     $5,292.93
1129613-01    C.S.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/27/2023      62321      $976.38
1129613-01    C.S.            Fifth Avenue Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/23/2024     64490      $447.52
1129613-01    C.S.            Fifth Avenue Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/23/2024     64490      $976.38
1129613-01    C.S.            Fifth Avenue Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/23/2024     64491      $447.52
1129613-01    C.S.            Fifth Avenue Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/23/2024     64492      $447.52
1128492-02    J.M.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/8/2023       62323      $976.38
1128492-02    J.M.            Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulopl… 8/25/2023     22526     $2,605.78
                                                                 11 of 124                                                             Exhibit 3
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                                                          1599
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1128492-02    J.M.             Fifth Avenue Surgery Center LLC          Perq Intrdscl Electrothrm Annulopl… 8/25/2023    22527     $2,605.78
1128492-02    J.M.             Fifth Avenue Surgery Center LLC         Diskectomy, Anterior, With Decompr… 8/25/2023     63075     $6,402.03
1128492-02    J.M.             Fifth Avenue Surgery Center LLC         Diskectomy, Anterior, With Decompr… 8/25/2023     63076     $3,160.34
1128980-02    J.C.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; W… 8/21/2023    29819     $1,472.45
1128980-02    J.C.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; S…  8/21/2023   29821     $5,677.77
1128980-02    J.C.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 8/21/2023    29823     $1,472.45
1128980-02    J.C.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 8/21/2023    29824     $1,472.45
1128980-02    J.C.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 8/21/2023    29826     $1,472.45
1128980-02    J.C.             New Horizon Surgical Center LLC          Injection, Anesthetic Agent; Brach…  8/21/2023   64415      $979.78
1128980-02    J.C.             New Horizon Surgical Center LLC         Ultrasonic Guidance For Needle Pla… 8/21/2023     76942      $341.96
1128980-02    J.C.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/13/2023    62323      $976.38
1127969-02    H.L.          Bronx SC LLC d/b/a Empire State ASC        Arthroscopy, Knee, Surgical; Synov…    6/6/2023   29875     $1,472.45
1127969-02    H.L.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; With …   6/6/2023   29881     $3,026.24
1127969-02    H.L.          Bronx SC LLC d/b/a Empire State ASC          Unlisted Procedure, Arthroscopy…     6/6/2023   29999     $1,472.45
1127969-02    H.L.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/15/2023     62323      $976.38
1128073-01    D.R.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…  6/20/2023   20552      $236.69
1128073-01    D.R.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/20/2023     62321      $976.38
1128073-01    D.R.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 6/20/2023     76942      $341.96
1128073-01    D.R.          All City Family Healthcare Center, Inc.     Injection(S); Single Or Multiple T…  7/18/2023   20552      $236.69
1128073-01    D.R.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/18/2023     62323      $976.38
1128073-01    D.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 7/18/2023     76942      $341.96
1128200-05    M.P.             Fifth Avenue Surgery Center LLC          Injection(S); Single Or Multiple T…  7/21/2023   20553      $236.69
1128200-05    M.P.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/21/2023     62321      $976.38
1128200-05    M.P.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 7/21/2023     76942      $341.96
1128200-05    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…   3/12/2024   29821     $5,677.77
1128200-05    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 3/12/2024     29823     $1,472.45
1128200-05    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 3/12/2024     29825     $1,472.45
1128200-05    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 3/12/2024     29826     $1,472.45
1128200-05    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…   3/12/2024   64415      $979.78
1128200-05    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 3/12/2024     76942      $341.96
1128200-05    M.P.             Fifth Avenue Surgery Center LLC          Perq Intrdscl Electrothrm Annulopl… 5/10/2024    22526     $2,605.78
1128200-05    M.P.             Fifth Avenue Surgery Center LLC         Diskectomy, Anterior, With Decompr… 5/10/2024     63075     $6,402.03
1128200-05    M.P.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/17/2024     62323      $976.38
1128200-05    M.P.             Fifth Avenue Surgery Center LLC          Perq Intrdscl Electrothrm Annulopl… 7/26/2024    22526     $2,605.78
1128200-05    M.P.             Fifth Avenue Surgery Center LLC         Aspiration Or Decompression Proced… 7/26/2024     62287     $5,292.93
1128127-04    M.V.             New Horizon Surgical Center LLC          Arthroscopy, Wrist, Surgical; Syno… 11/8/2023    29845     $1,472.45
1128127-04    M.V.             New Horizon Surgical Center LLC          Arthroscopy, Wrist, Surgical; Exci…  11/8/2023   29846     $3,026.24
1128127-04    M.V.          Bronx SC LLC d/b/a Empire State ASC         Injection(S); Single Or Multiple T… 12/18/2023   20553      $236.69
1128127-04    M.V.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/18/2023    62323      $976.38
1128127-04    M.V.          Bronx SC LLC d/b/a Empire State ASC        Ultrasonic Guidance For Needle Pla… 12/18/2023    76942      $341.96
1127902-01    B.P.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/25/2023     62323      $976.38
1127902-01    B.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…    7/6/2023   22526     $2,605.78
1127902-01    B.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…    7/6/2023   22527     $2,605.79
1127902-01    B.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 7/6/2023      62287     $5,292.93
1127514-03    M.P.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…  6/22/2023   20552      $236.69
1127514-03    M.P.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/22/2023     62323      $976.38
1127514-03    M.P.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 6/22/2023     76942      $341.96
1127514-03    M.P.          All City Family Healthcare Center, Inc.     Injection(S); Single Or Multiple T…  7/20/2023   20552      $236.69
1127514-03    M.P.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/20/2023     62321      $976.38
1127514-03    M.P.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 7/20/2023     76942      $341.96
1127382-05    L.R.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/11/2023     62321      $976.38
1127382-05    L.R.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 1/28/2024    22526     $2,605.78
1127382-05    L.R.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 1/28/2024     63075     $6,402.03
1129674-02    J.D.               Manalapan Surgery Center Inc          Arthroscopy, Knee, Surgical; Synov… 5/24/2023     29875     $1,472.45
1129674-02    J.D.               Manalapan Surgery Center Inc           Arthroscopy, Knee, Surgical; With … 5/24/2023    29880     $3,026.24
1129674-02    J.D.               Manalapan Surgery Center Inc            Unlisted Procedure, Arthroscopy…    5/24/2023   29999     $1,472.45
1129674-02    J.D.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/4/2023      62323      $976.38
1129674-02    J.D.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 6/25/2023    22526     $2,605.78
1129674-02    J.D.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 6/25/2023     62287     $5,292.93
1127913-01    T.P.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…   6/1/2023   20553      $236.69
1127913-01    T.P.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/1/2023      62323      $976.38
1127913-01    T.P.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl… 10/14/2023   22526     $2,605.78
1127913-01    T.P.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl… 10/14/2023   22527     $2,605.79
1127913-01    T.P.       Surgicore LLC d/b/a Surgicore Surgical Center Aspiration Or Decompression Proced… 10/14/2023    62287     $5,292.93
1127839-02    J.P.               Manalapan Surgery Center Inc           Injection(S); Single Or Multiple T…  5/27/2023   20553      $236.69
1127839-02    J.P.               Manalapan Surgery Center Inc           Arthrocentesis, Aspiration And/Or … 5/27/2023    20610      $236.69
1127839-02    J.P.               Manalapan Surgery Center Inc          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 5/27/2023     62321      $976.38
1127839-02    J.P.               Manalapan Surgery Center Inc           Injection, Anesthetic Agent; Great…  5/27/2023   64405      $373.98
                                                                 12 of 124                                                            Exhibit 3
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                                                          1600
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1127839-02    J.P.               Manalapan Surgery Center Inc            Injection, Anesthetic Agent; Other… 5/27/2023   64450      $373.98
1127839-02    J.P.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection(S); Single Or Multiple T… 7/15/2023   20552      $236.69
1127839-02    J.P.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection Procedure For Sacroiliac… 7/15/2023   27096      $429.53
1127839-02    J.P.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/15/2023     62323      $976.38
1127839-02    J.P.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection(S); Single Or Multiple T… 9/16/2023   20552      $236.69
1127839-02    J.P.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/16/2023     62321      $976.38
1127839-02    J.P.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection, Anesthetic Agent; Great… 9/16/2023   64405      $373.98
1127839-02    J.P.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection, Anesthetic Agent; Other… 9/16/2023   64450      $373.98
1127839-02    J.P.               Manalapan Surgery Center Inc           Perq Intrdscl Electrothrm Annulopl… 10/7/2023    22526     $5,292.93
1127839-02    J.P.               Manalapan Surgery Center Inc           Perq Intrdscl Electrothrm Annulopl… 10/7/2023    22527     $2,605.78
1127839-02    J.P.               Manalapan Surgery Center Inc          Unlisted Procedure, Nervous System… 10/7/2023     64999      $747.93
1126900-01    A.M.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 6/12/2023   20552      $236.69
1126900-01    A.M.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/12/2023     62321      $976.38
1126900-01    A.M.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 6/12/2023     76942      $341.96
1126900-01    A.M.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 6/26/2023    22526     $2,605.78
1126900-01    A.M.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 6/26/2023     63075     $6,402.03
1126900-01    A.M.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T… 8/28/2023   20552      $236.69
1126900-01    A.M.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/28/2023     62323      $976.38
1126900-01    A.M.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 8/28/2023     76942      $341.96
1126900-01    A.M.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 9/18/2023    22526     $2,605.78
1126900-01    A.M.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 9/18/2023     62287     $5,292.93
1126234-02    N.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/9/2023      62323      $976.38
1126234-02    N.G.             Fifth Avenue Surgery Center LLC          Perq Intrdscl Electrothrm Annulopl… 9/11/2023    22526     $2,605.78
1126234-02    N.G.             Fifth Avenue Surgery Center LLC         Aspiration Or Decompression Proced… 9/11/2023     62287     $5,292.93
1127004-03    I.P.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…  5/1/2023   20552      $236.69
1127004-03    I.P.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/1/2023      62323      $976.38
1127004-03    I.P.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…    5/1/2023   76942      $341.96
1127004-03    I.P.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…  6/1/2023   20552      $236.69
1127004-03    I.P.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/1/2023      62321      $976.38
1127004-03    I.P.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…    6/1/2023   76942      $341.96
1127004-03    I.P.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 11/6/2023    22526     $2,605.78
1127004-03    I.P.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 11/6/2023     62287     $5,292.93
1126889-01    A.A.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 5/10/2023    29823     $3,026.24
1126889-01    A.A.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 5/10/2023    29826     $1,472.45
1126889-01    A.A.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach… 5/10/2023   64415      $979.78
1126889-01    A.A.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 5/10/2023     76942      $341.96
1126889-01    A.A.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection(S); Single Or Multiple T…  7/8/2023   20553      $236.69
1126889-01    A.A.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/8/2023      62323      $976.38
1126889-01    A.A.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl…   9/9/2023   22526     $2,605.78
1126889-01    A.A.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl…   9/9/2023   22527     $2,605.79
1126889-01    A.A.       Surgicore LLC d/b/a Surgicore Surgical Center Aspiration Or Decompression Proced… 9/9/2023      62287     $5,292.93
1126889-01    A.A.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection(S); Single Or Multiple T… 3/30/2024   20553      $236.69
1126889-01    A.A.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/30/2024     62323      $976.38
1126262-01    S.K.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov…    5/5/2023   29875     $1,472.45
1126262-01    S.K.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical, For R…   5/5/2023   G0289     $5,677.77
1126262-01    S.K.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/23/2023     62323      $976.38
1127312-01    D.R.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 5/31/2023     62321      $976.38
1127312-01    D.R.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 6/18/2023    22526     $2,605.78
1127312-01    D.R.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 6/18/2023     63075     $6,402.03
1127312-01    D.R.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/18/2023    62323      $976.38
1127312-01    D.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 11/16/2023    22526     $2,605.78
1127312-01    D.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 11/16/2023    62287     $5,292.93
1126182-03    J.G.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 4/28/2023     29875     $1,472.45
1126182-03    J.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 4/28/2023    29880     $3,026.24
1126182-03    J.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 4/28/2023    29884     $1,472.45
1126182-03    J.G.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…   4/28/2023   29999     $1,472.45
1126182-03    J.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/15/2023     62323      $976.38
1126222-01    K.G.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/12/2023     62323      $976.38
1126222-01    K.G.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…   6/2/2023   22526     $2,605.78
1126222-01    K.G.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 6/2/2023      62287     $5,292.93
1126222-01    K.G.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/21/2023     62321      $976.38
1126222-01    K.G.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…   8/1/2023   22526     $2,605.78
1126222-01    K.G.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 8/1/2023      63075     $6,402.03
1125993-01    D.B.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 5/22/2023     62321      $976.38
1125993-01    D.B.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 6/26/2023    22526     $2,605.78
1125993-01    D.B.            Rockaways ASC Development LLC             Injection Procedure For Diskograph… 6/26/2023    62291      $748.74
1125993-01    D.B.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr… 6/26/2023     63075     $6,402.03
1125993-01    D.B.            Rockaways ASC Development LLC             Diskography, Cervical Or Thoracic,… 6/26/2023    72285      $962.54
                                                                 13 of 124                                                            Exhibit 3
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                                                          1601
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1125993-01    D.B.               Surgicore of Jersey City LLC            Allograft For Spine Surgery Only; … 11/1/2023   20930     $3,160.35
1125993-01    D.B.               Surgicore of Jersey City LLC           Autograft For Spine Surgery Only (… 11/1/2023    20937     $3,160.34
1125993-01    D.B.               Surgicore of Jersey City LLC          Arthrd Ant Interbody Decompress Ce… 11/1/2023     22551     $6,402.03
1125993-01    D.B.               Surgicore of Jersey City LLC           Anterior Instrumentation; 2 To 3 V… 11/1/2023    22845     $3,160.34
1125993-01    D.B.               Surgicore of Jersey City LLC           Insj Biomchn Dev Intervertebral Ds… 11/1/2023    22853     $3,160.34
1126013-02    N.S.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/11/2023     64493      $447.52
1126013-02    N.S.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/11/2023     64493      $976.38
1126013-02    N.S.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/11/2023     64494      $447.52
1126013-02    N.S.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/11/2023     64495      $447.52
1126013-02    N.S.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/15/2024     64493      $976.38
1126013-02    N.S.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/15/2024     64493      $447.52
1126013-02    N.S.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/15/2024     64494      $447.52
1126013-02    N.S.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/15/2024     64495      $447.52
1126039-01    R.O.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…  3/25/2023   29821     $5,596.40
1126039-01    R.O.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 3/25/2023    29823     $1,472.45
1126039-01    R.O.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 3/25/2023     29825     $1,472.45
1126039-01    R.O.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 3/25/2023    29826     $1,553.82
1126039-01    R.O.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 3/25/2023     29827     $6,723.47
1126039-01    R.O.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach… 3/25/2023   64415      $979.78
1126039-01    R.O.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 3/25/2023     76942      $341.96
1126039-01    R.O.         Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; Synov… 7/22/2023     29875     $1,472.45
1126039-01    R.O.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Knee, Surgical; With … 7/22/2023    29880     $3,026.24
1126039-01    R.O.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Knee, Surgical; With … 7/22/2023    29884     $1,472.45
1126039-01    R.O.         Bronx SC LLC d/b/a Empire State ASC            Unlisted Procedure, Arthroscopy…   7/22/2023   29999     $1,472.45
1125318-02    K.B.         Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; Synov… 2/24/2023     29875     $1,472.45
1125318-02    K.B.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Knee, Surgical; With … 2/24/2023    29881     $3,026.24
1125318-02    K.B.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Knee, Surgical; With … 2/24/2023    29884     $1,472.45
1125318-02    K.B.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/5/2024      62321      $976.38
1125318-02    K.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…   2/28/2024   29821     $5,677.77
1125318-02    K.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 2/28/2024     29823     $1,472.45
1125318-02    K.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 2/28/2024     29825     $1,472.45
1125318-02    K.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 2/28/2024     29826     $1,472.45
1125318-02    K.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…   2/28/2024   64415      $979.78
1125318-02    K.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 2/28/2024     76942      $341.96
1125323-02    G.S.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T… 4/20/2023   20553      $236.69
1125323-02    G.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/20/2023     62323      $976.38
1125323-02    G.S.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 4/20/2023     76942      $341.96
1125323-02    G.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/12/2023     62323      $976.38
1125323-02    G.S.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 5/22/2023    22526     $2,605.78
1125323-02    G.S.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 5/22/2023     62287     $5,292.93
1125323-02    G.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/1/2023      62321      $976.38
1124942-01    J.E.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 7/19/2023    22526     $2,605.78
1124942-01    J.E.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 7/19/2023    22527     $2,605.78
1124942-01    J.E.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 7/19/2023     62287     $5,292.93
1124942-01    J.E.            Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulopl… 10/11/2023   22526     $5,292.93
1124942-01    J.E.            Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulopl… 10/11/2023   22527     $2,605.78
1124942-01    J.E.            Fifth Avenue Surgery Center LLC          Unlisted Procedure, Nervous System… 10/11/2023    64999      $747.93
1125496-01    K.G.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; R… 3/30/2023    29807     $5,677.77
1125496-01    K.G.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…  3/30/2023   29821     $2,798.20
1125496-01    K.G.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 3/30/2023    29823     $1,472.45
1125496-01    K.G.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…   3/30/2023   29999     $1,472.45
1125496-01    K.G.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach… 3/30/2023   64415      $979.78
1125496-01    K.G.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 3/30/2023     76942      $341.96
1125496-01    K.G.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T… 4/24/2023   20552      $236.69
1125496-01    K.G.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/24/2023     62323      $976.38
1125496-01    K.G.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 4/24/2023     76942      $341.96
1125496-01    K.G.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…   5/1/2023   22526     $2,605.78
1125496-01    K.G.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 5/1/2023      62287     $5,292.93
1126061-02    T.R.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T… 4/20/2023   20553      $236.69
1126061-02    T.R.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/20/2023     62323      $976.38
1126061-02    T.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 4/20/2023     76942      $341.96
1126061-02    T.R.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 6/18/2023    22526     $2,605.78
1126061-02    T.R.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 6/18/2023    22527     $2,605.78
1126061-02    T.R.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 6/18/2023     62287     $5,292.93
1124297-01    S.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…  4/23/2023   29821     $5,677.77
1124297-01    S.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 4/23/2023    29823     $1,472.45
1124297-01    S.C.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W… 4/23/2023     29825     $1,472.45
1124297-01    S.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 4/23/2023    29826     $1,472.45
                                                                 14 of 124                                                            Exhibit 3
       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                           Page 155 of 580 PageID #:
                                                            1602
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                 Date of     Billing   Amount
                                           Provider                                         Service
 Number      Person                                                                                                  Service     Code       Billed
1124297-01    S.C.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach…   4/23/2023   64415      $979.78
1124297-01    S.C.           Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    8/21/2023   62321      $976.38
1124866-03    P.P.               Manalapan Surgery Center Inc                  Arthroscopy, Shoulder, Surgical; S…   8/26/2023   29820     $1,472.45
1124866-03    P.P.               Manalapan Surgery Center Inc                  Arthroscopy, Shoulder, Surgical; D…   8/26/2023   29823     $3,026.24
1124866-03    P.P.               Manalapan Surgery Center Inc                  Injection, Anesthetic Agent; Brach…   8/26/2023   64415      $979.78
1124866-03    P.P.               Manalapan Surgery Center Inc                 Ultrasonic Guidance For Needle Pla…    8/26/2023   76942      $341.96
1124866-03    P.P.           Bronx SC LLC d/b/a Empire State ASC               Perq Intrdscl Electrothrm Annulopl…   9/21/2023   22526     $2,605.78
1124866-03    P.P.           Bronx SC LLC d/b/a Empire State ASC               Perq Intrdscl Electrothrm Annulopl…   9/21/2023   22527     $2,605.78
1124866-03    P.P.           Bronx SC LLC d/b/a Empire State ASC              Diskectomy, Anterior, With Decompr…    9/21/2023   63075     $6,402.03
1124866-03    P.P.           Bronx SC LLC d/b/a Empire State ASC              Diskectomy, Anterior, With Decompr…    9/21/2023   63076     $3,160.34
1124202-01    A.P.             New Horizon Surgical Center LLC                 Injection(S); Single Or Multiple T…   2/25/2023   20553      $236.69
1124202-01    A.P.             New Horizon Surgical Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    2/25/2023   62321      $976.38
1124202-01    A.P.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; Synov…    4/17/2023   29875     $1,472.45
1124202-01    A.P.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; With …   4/17/2023   29880     $3,026.24
1124202-01    A.P.             Fifth Avenue Surgery Center LLC                  Unlisted Procedure, Arthroscopy…     4/17/2023   29999     $1,472.45
1124351-01    I.K.           All City Family Healthcare Center, Inc.          Tenotomy, Shoulder Area; Single Te…    2/16/2023   23405     $1,839.77
1124351-01    I.K.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S…   2/16/2023   29821     $5,677.77
1124351-01    I.K.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…   2/16/2023   29823     $1,472.45
1124351-01    I.K.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; W…   2/16/2023   29825     $1,472.45
1124351-01    I.K.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach…   2/16/2023   64415      $979.78
1124351-01    I.K.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…    2/16/2023   76942      $341.96
1124351-01    I.K.            Rockaways ASC Development LLC                   Tenotomy, Shoulder Area; Single Te…    4/27/2023   23405     $1,839.77
1124351-01    I.K.            Rockaways ASC Development LLC                    Arthroscopy, Shoulder, Surgical; S…   4/27/2023   29821     $5,677.77
1124351-01    I.K.            Rockaways ASC Development LLC                    Arthroscopy, Shoulder, Surgical; D…   4/27/2023   29823     $1,472.45
1124351-01    I.K.            Rockaways ASC Development LLC                    Arthroscopy, Shoulder, Surgical; W…   4/27/2023   29825     $1,472.45
1124351-01    I.K.            Rockaways ASC Development LLC                    Injection, Anesthetic Agent; Brach…   4/27/2023   64415      $979.78
1124351-01    I.K.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…    4/27/2023   76942      $341.96
1124395-02    C.Q.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; S…   2/14/2023   29821     $5,677.77
1124395-02    C.Q.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…   2/14/2023   29823     $1,472.45
1124395-02    C.Q.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…   2/14/2023   29826     $1,472.45
1124395-02    C.Q.             Fifth Avenue Surgery Center LLC                  Unlisted Procedure, Arthroscopy…     2/14/2023   29999     $1,472.45
1124395-02    C.Q.             Fifth Avenue Surgery Center LLC                 Injection, Anesthetic Agent; Brach…   2/14/2023   64415      $979.78
1124395-02    C.Q.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla…    2/14/2023   76942      $341.96
1124395-02    C.Q.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    3/29/2023   62323      $976.38
1124395-02    C.Q.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…   4/11/2023   22526     $2,605.78
1124395-02    C.Q.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…   4/11/2023   22527     $2,605.78
1124395-02    C.Q.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced…    4/11/2023   62287     $5,292.93
1124395-02    C.Q.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     5/3/2023   62321      $976.38
1124395-02    C.Q.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    6/18/2023   62321      $976.38
1124977-03    T.D.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S…   2/21/2023   29821     $5,677.77
1124977-03    T.D.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…   2/21/2023   29823     $1,472.45
1124977-03    T.D.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…   2/21/2023   29826     $1,472.45
1124977-03    T.D.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach…   2/21/2023   64415      $979.78
1124977-03    T.D.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…    2/21/2023   76942      $341.96
1124977-03    T.D.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; Synov…    8/24/2023   29875     $1,472.45
1124977-03    T.D.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; With …   8/24/2023   29880     $3,026.24
1124977-03    T.D.             Fifth Avenue Surgery Center LLC                  Unlisted Procedure, Arthroscopy…     8/24/2023   29999     $1,472.45
1125044-02    M.M.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; S…    3/3/2023   29821     $5,677.77
1125044-02    M.M.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…    3/3/2023   29823     $1,472.45
1125044-02    M.M.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; W…    3/3/2023   29825     $1,472.45
1125044-02    M.M.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…    3/3/2023   29826     $1,472.45
1125044-02    M.M.             Fifth Avenue Surgery Center LLC                 Injection, Anesthetic Agent; Brach…    3/3/2023   64415      $979.78
1125044-02    M.M.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla…     3/3/2023   76942      $341.96
1125044-02    M.M.           All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    3/22/2023   62321      $976.38
1125044-02    M.M.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl…   5/10/2023   22526     $2,605.78
1125044-02    M.M.           All City Family Healthcare Center, Inc.          Diskectomy, Anterior, With Decompr…    5/10/2023   63075     $6,402.03
1124369-01    H.M.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…   3/14/2023   20552      $236.69
1124369-01    H.M.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    3/14/2023   62323      $976.38
1124369-01    H.M.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…    3/14/2023   76942      $341.96
1124369-01    H.M.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl…   3/21/2023   22526     $2,605.78
1124369-01    H.M.           All City Family Healthcare Center, Inc.          Aspiration Or Decompression Proced…    3/21/2023   62287     $5,292.93
1124368-01    L.G.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; S…   4/17/2023   29821     $5,677.77
1124368-01    L.G.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…   4/17/2023   29822     $1,472.45
1124368-01    L.G.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…   4/17/2023   29823     $1,472.45
1124368-01    L.G.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; W…   4/17/2023   29825     $1,472.45
1124368-01    L.G.             Fifth Avenue Surgery Center LLC                  Unlisted Procedure, Arthroscopy…     4/17/2023   29999     $1,472.45
1124368-01    L.G.             New Horizon Surgical Center LLC                 Injection(S); Single Or Multiple T…   6/24/2023   20553      $473.38
1124368-01    L.G.             New Horizon Surgical Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   6/24/2023   64490      $447.52
                                                                       15 of 124                                                              Exhibit 3
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                                                           1603
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                              Date of     Billing   Amount
                                          Provider                                        Service
 Number      Person                                                                                               Service     Code       Billed
1124368-01    L.G.            New Horizon Surgical Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 6/24/2023   64490       $976.38
1124368-01    L.G.            New Horizon Surgical Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 6/24/2023   64491       $447.52
1124368-01    L.G.            New Horizon Surgical Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 6/24/2023   64492       $447.52
1124780-01    O.G.          All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/2/2023     62323       $976.38
1124780-01    O.G.          All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl…  5/3/2023   22526      $2,605.78
1124780-01    O.G.          All City Family Healthcare Center, Inc.          Aspiration Or Decompression Proced… 5/3/2023     62287      $5,292.93
1124780-01    O.G.             Fifth Avenue Surgery Center LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/4/2023     62321       $976.38
1123630-01    R.G.          All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S… 2/26/2023   29821      $5,677.77
1123630-01    R.G.          All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 2/26/2023   29823      $1,472.45
1123630-01    R.G.          All City Family Healthcare Center, Inc.          Arthroscopy, Shoulder, Surgical; W… 2/26/2023    29825      $1,472.45
1123630-01    R.G.          All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 2/26/2023   29826      $1,472.45
1123630-01    R.G.          All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach… 2/26/2023   64415       $979.78
1123630-01    R.G.          All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla… 2/26/2023    76942       $341.96
1123630-01    R.G.            Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/26/2023    62323       $976.38
1123630-01    R.G.            Rockaways ASC Development LLC                   Perq Intrdscl Electrothrm Annulopl… 4/16/2023   22526      $2,605.78
1123630-01    R.G.            Rockaways ASC Development LLC                   Perq Intrdscl Electrothrm Annulopl… 4/16/2023   22527      $2,605.78
1123630-01    R.G.            Rockaways ASC Development LLC                  Aspiration Or Decompression Proced… 4/16/2023    62287      $5,292.93
1123630-01    R.G.            Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 5/7/2023     62321       $976.38
1124009-01    F.G.               Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 4/29/2023    62321       $976.38
1124009-01    F.G.             Fifth Avenue Surgery Center LLC                Arthrocentesis, Aspiration And/Or … 5/30/2023   20610       $473.39
1124009-01    F.G.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Diagnostic,… 5/30/2023   29805      $1,472.45
1124009-01    F.G.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; S… 5/30/2023   29821      $5,677.77
1124009-01    F.G.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; D… 5/30/2023   29823      $1,472.45
1124009-01    F.G.             Fifth Avenue Surgery Center LLC                Injection, Anesthetic Agent; Brach… 5/30/2023   64415       $979.78
1124009-01    F.G.             Fifth Avenue Surgery Center LLC               Ultrasonic Guidance For Needle Pla… 5/30/2023    76942       $341.96
1123308-01    F.C.            New Horizon Surgical Center LLC                 Perq Intrdscl Electrothrm Annulopl…  4/1/2023   22526      $5,292.93
1123308-01    F.C.            New Horizon Surgical Center LLC                 Perq Intrdscl Electrothrm Annulopl…  4/1/2023   22527      $2,605.79
1123308-01    F.C.            New Horizon Surgical Center LLC               Ndsc Dcmprn Spinal Cord 1 W/Lamot … 4/1/2023      62380     #########
1123308-01    F.C.             Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical; Synov… 5/13/2023    29875      $1,472.45
1123308-01    F.C.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; With … 5/13/2023   29881      $3,026.24
1123308-01    F.C.             Fifth Avenue Surgery Center LLC                 Unlisted Procedure, Arthroscopy…   5/13/2023   29999      $1,472.45
1124022-01    A.B.            Rockaways ASC Development LLC                   Injection(S); Single Or Multiple T…  2/9/2023   20552       $236.69
1124022-01    A.B.            Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/9/2023     62321       $976.38
1124022-01    A.B.            Rockaways ASC Development LLC                  Ultrasonic Guidance For Needle Pla…   2/9/2023   76942       $341.96
1124022-01    A.B.             Fifth Avenue Surgery Center LLC              Laminectomy, Facetectomy And Foram… 9/25/2023     63047      $5,292.93
1124022-01    A.B.             Fifth Avenue Surgery Center LLC              Laminectomy, Facetectomy And Foram… 9/25/2023     63048      $2,605.78
1123839-01    A.T.            Rockaways ASC Development LLC                   Injection(S); Single Or Multiple T…  2/7/2023   20552       $236.69
1123839-01    A.T.            Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/7/2023     62323       $976.38
1123839-01    A.T.            Rockaways ASC Development LLC                  Ultrasonic Guidance For Needle Pla…   2/7/2023   76942       $341.96
1123839-01    A.T.            Rockaways ASC Development LLC                   Perq Intrdscl Electrothrm Annulopl… 2/20/2023   22526      $2,605.78
1123839-01    A.T.            Rockaways ASC Development LLC                  Aspiration Or Decompression Proced… 2/20/2023    62287      $5,292.93
1123839-01    A.T.          All City Family Healthcare Center, Inc.           Arthrocentesis, Aspiration And/Or … 3/10/2023   20610       $473.38
1123839-01    A.T.          All City Family Healthcare Center, Inc.          Tenotomy, Shoulder Area; Single Te… 3/10/2023    23405      $1,839.77
1123839-01    A.T.          All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S… 3/10/2023   29821      $5,677.77
1123839-01    A.T.          All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 3/10/2023   29823      $1,472.45
1123839-01    A.T.          All City Family Healthcare Center, Inc.          Arthroscopy, Shoulder, Surgical; W… 3/10/2023    29825      $1,472.45
1123839-01    A.T.          All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 3/10/2023   29826      $1,472.45
1123839-01    A.T.          All City Family Healthcare Center, Inc.            Unlisted Procedure, Arthroscopy…   3/10/2023   29999      $1,472.45
1123839-01    A.T.          All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach… 3/10/2023   64415       $979.78
1123839-01    A.T.          All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla… 3/10/2023    76942       $341.96
1122412-01    Y.J.            New Horizon Surgical Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/11/2023    62321       $976.38
1122412-01    Y.J.            New Horizon Surgical Center LLC                 Perq Intrdscl Electrothrm Annulopl… 4/15/2023   22526      $5,292.93
1122412-01    Y.J.            New Horizon Surgical Center LLC                Unlisted Procedure, Nervous System… 4/15/2023    64999       $747.93
1122412-01    Y.J.            New Horizon Surgical Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/20/2023    62323       $976.38
1122412-01    Y.J.          Rockland & Bergen Surgery Center LLC             Arthroscopy, Knee, Surgical; Synov… 6/30/2023    29875      $1,472.45
1122412-01    Y.J.          Rockland & Bergen Surgery Center LLC              Arthroscopy, Knee, Surgical; With … 6/30/2023   29880      $3,026.24
1122412-01    Y.J.            New Horizon Surgical Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/4/2023     64493       $447.52
1122412-01    Y.J.            New Horizon Surgical Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/4/2023     64493       $976.38
1122412-01    Y.J.            New Horizon Surgical Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/4/2023     64494       $447.52
1122412-01    Y.J.            New Horizon Surgical Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/4/2023     64495       $447.52
1122412-01    Y.J.            New Horizon Surgical Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/29/2023    64493       $447.52
1122412-01    Y.J.            New Horizon Surgical Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/29/2023    64493       $976.38
1122412-01    Y.J.            New Horizon Surgical Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/29/2023    64494       $447.52
1122412-01    Y.J.            New Horizon Surgical Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/29/2023    64495       $447.52
1122646-01    J.Q.             Fifth Avenue Surgery Center LLC               Arthroscopy, Shoulder, Surgical; W… 2/20/2023    29819      $1,472.45
1122646-01    J.Q.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; S… 2/20/2023   29821      $5,677.77
1122646-01    J.Q.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; D… 2/20/2023   29823      $1,472.45
1122646-01    J.Q.             Fifth Avenue Surgery Center LLC                 Unlisted Procedure, Arthroscopy…   2/20/2023   29999      $1,472.45
                                                                      16 of 124                                                            Exhibit 3
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                                                           1604
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1122646-01    J.Q.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…    2/20/2023   64415      $979.78
1122646-01    J.Q.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     2/20/2023   76942      $341.96
1122646-01    J.Q.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     3/21/2023   62323      $976.38
1122619-02    C.M.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…   2/16/2023   20552      $236.69
1122619-02    C.M.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     2/16/2023   62323      $976.38
1122619-02    C.M.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     2/16/2023   76942      $341.96
1122619-02    C.M.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    4/24/2023   22526     $2,605.78
1122619-02    C.M.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…     4/24/2023   62287     $5,292.93
1122619-03    I.D.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…   2/27/2023   20552      $236.69
1122619-03    I.D.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     2/27/2023   62323      $976.38
1122619-03    I.D.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     2/27/2023   76942      $341.96
1122619-03    I.D.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…     5/4/2023   22526     $2,605.78
1122619-03    I.D.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced…      5/4/2023   62287     $5,292.93
1123270-02    P.L.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov…      3/1/2023   29876     $1,472.45
1123270-02    P.L.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; Abras…     3/1/2023   29879     $1,472.45
1123270-02    P.L.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With …     3/1/2023   29880     $3,026.24
1123270-02    P.L.               Surgicore of Jersey City LLC             Unlisted Procedure, Arthroscopy…      3/1/2023   29999     $1,472.45
1123270-02    P.L.             Fifth Avenue Surgery Center LLC          Perq Intrdscl Electrothrm Annulopl…    4/10/2023   22526     $2,605.78
1123270-02    P.L.             Fifth Avenue Surgery Center LLC          Perq Intrdscl Electrothrm Annulopl…    4/10/2023   22527     $2,605.79
1123270-02    P.L.             Fifth Avenue Surgery Center LLC         Aspiration Or Decompression Proced…     4/10/2023   62287     $5,292.93
1123270-02    P.L.             New Horizon Surgical Center LLC         Repair, Secondary, Disrupted Ligam…     6/23/2023   27698     $3,311.97
1123270-02    P.L.             New Horizon Surgical Center LLC         Arthroscopy, Ankle (Tibiotalar And…     6/23/2023   29895     $1,472.45
1123270-02    P.L.             New Horizon Surgical Center LLC         Arthroscopy, Ankle (Tibiotalar And…     6/23/2023   29898     $1,472.45
1123270-02    P.L.             New Horizon Surgical Center LLC          Injection, Anesthetic Agent; Femor…    6/23/2023   64447      $829.30
1123270-02    P.L.             New Horizon Surgical Center LLC         Ultrasonic Guidance For Needle Pla…     6/23/2023   76942      $341.96
1123946-90    B.J.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    6/12/2023   22526     $2,605.78
1123946-90    B.J.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced…     6/12/2023   62287     $5,292.93
1123946-90    B.J.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…   8/15/2023   20552      $236.69
1123946-90    B.J.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     8/15/2023   62323      $976.38
1123946-90    B.J.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     8/15/2023   76942      $341.96
1122000-01    D.J.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      2/5/2023   62321      $976.38
1122000-01    D.J.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…    4/15/2023   29821     $5,677.77
1122000-01    D.J.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    4/15/2023   29823     $1,472.45
1122000-01    D.J.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…    4/15/2023   29825     $1,472.45
1122000-01    D.J.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    4/15/2023   29826     $1,472.45
1122000-01    D.J.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…    4/15/2023   64415      $979.78
1122000-01    D.J.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     4/15/2023   76942      $341.96
1122898-02    J.R.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…   1/19/2023   20552      $236.69
1122898-02    J.R.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     1/19/2023   62321      $976.38
1122898-02    J.R.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     1/19/2023   76942      $341.96
1122898-02    J.R.          Bronx SC LLC d/b/a Empire State ASC         Perq Intrdscl Electrothrm Annulopl…    10/5/2023   22526     $2,605.78
1122898-02    J.R.          Bronx SC LLC d/b/a Empire State ASC         Perq Intrdscl Electrothrm Annulopl…    10/5/2023   22527     $2,605.78
1122898-02    J.R.          Bronx SC LLC d/b/a Empire State ASC        Diskectomy, Anterior, With Decompr…     10/5/2023   63075     $6,402.03
1122898-02    J.R.          Bronx SC LLC d/b/a Empire State ASC        Diskectomy, Anterior, With Decompr…     10/5/2023   63076     $3,160.34
1121797-02    E.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     6/13/2023   62321      $976.38
1121797-02    E.M.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     1/10/2024   62323      $976.38
1122526-04    V.M.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…    2/18/2023   29821     $5,677.77
1122526-04    V.M.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    2/18/2023   29823     $1,472.45
1122526-04    V.M.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    2/18/2023   29826     $1,472.45
1122526-04    V.M.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…    2/18/2023   64415      $979.78
1122526-04    V.M.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     2/18/2023   76942      $341.96
1122526-04    V.M.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…   5/16/2023   20552      $236.69
1122526-04    V.M.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     5/16/2023   62323      $976.38
1122526-04    V.M.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     5/16/2023   76942      $341.96
1122526-04    V.M.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    5/23/2023   22526     $2,605.78
1122526-04    V.M.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced…     5/23/2023   62287     $5,292.93
1122788-01    Y.P.             Fifth Avenue Surgery Center LLC          Arthrocentesis, Aspiration And/Or …    2/10/2023   20610      $473.38
1122788-01    Y.P.             Fifth Avenue Surgery Center LLC         Arthroscopy, Knee, Surgical; Synov…     2/10/2023   29875     $1,472.45
1122788-01    Y.P.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With …    2/10/2023   29880     $3,026.24
1122788-01    Y.P.             Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…     2/10/2023   29999     $1,472.45
1122788-01    Y.P.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      3/5/2023   62323      $976.38
1121935-01    C.G.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     5/24/2023   62323      $976.38
1121935-01    C.G.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    7/30/2023   22526     $2,605.78
1121935-01    C.G.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…     7/30/2023   62287     $5,292.93
1121935-01    C.G.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     9/13/2023   62321      $976.38
1121935-01    C.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     9/29/2023   22526     $5,292.93
1121935-01    C.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System…     9/29/2023   64999      $747.93
1122324-02    C.E.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection(S); Single Or Multiple T…    2/4/2023   20552      $236.69
                                                                  17 of 124                                                             Exhibit 3
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                                                           1605
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1122324-02    C.E.       Surgicore LLC d/b/a Surgicore Surgical Center    Injection Procedure For Sacroiliac…   2/4/2023   27096      $429.53
1122324-02    C.E.       Surgicore LLC d/b/a Surgicore Surgical Center  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/4/2023       62323      $976.38
1122324-02    C.E.             New Horizon Surgical Center LLC          Perq Intrdscl Electrothrm Annulopl… 4/22/2023      22526     $2,605.79
1122324-02    C.E.             New Horizon Surgical Center LLC          Perq Intrdscl Electrothrm Annulopl… 4/22/2023      22527     $2,605.79
1122324-02    C.E.             New Horizon Surgical Center LLC         Aspiration Or Decompression Proced… 4/22/2023       62287     $5,292.93
1122324-02    C.E.          Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; S…    7/1/2023   29821     $5,677.77
1122324-02    C.E.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Shoulder, Surgical; D…     7/1/2023   29823     $1,472.45
1122324-02    C.E.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Shoulder, Surgical; W…     7/1/2023   29825     $1,472.45
1122324-02    C.E.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Shoulder, Surgical; D…     7/1/2023   29826     $1,472.45
1122324-02    C.E.          Bronx SC LLC d/b/a Empire State ASC            Unlisted Procedure, Arthroscopy…     7/1/2023   29999     $1,472.45
1122324-02    C.E.          Bronx SC LLC d/b/a Empire State ASC          Injection, Anesthetic Agent; Brach…    7/1/2023   64415      $979.78
1122324-02    C.E.          Bronx SC LLC d/b/a Empire State ASC         Ultrasonic Guidance For Needle Pla…     7/1/2023   76942      $341.96
1121846-01    R.M.               Surgicore of Jersey City LLC           Optx Dstl Radl I-Artic Fx/Epiphysl… 12/8/2022      25608     $5,869.06
1121846-01    R.M.               Surgicore of Jersey City LLC           Application Of Short Arm Splint (F… 12/8/2022      29125      $423.83
1121846-01    R.M.               Surgicore of Jersey City LLC            Injection, Anesthetic Agent; Brach…   12/8/2022   64415      $979.78
1121846-01    R.M.               Surgicore of Jersey City LLC           Ultrasonic Guidance For Needle Pla… 12/8/2022      76942      $341.96
1121846-01    R.M.               Surgicore of Jersey City LLC          Anchor/Screw For Opposing Bone-To-… 12/8/2022       C1713     $3,922.00
1121846-01    R.M.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/1/2023       62323      $976.38
1121846-01    R.M.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 3/22/2023      22526     $2,605.78
1121846-01    R.M.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 3/22/2023      22527     $2,605.78
1121846-01    R.M.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 3/22/2023       62287     $5,292.93
1121001-01    D.D.             New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical; Synov… 1/19/2023      29875     $1,472.45
1121001-01    D.D.             New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical; With … 1/19/2023      29880     $3,026.24
1121001-01    D.D.             New Horizon Surgical Center LLC             Unlisted Procedure, Arthroscopy…    1/19/2023   29999     $1,472.45
1121001-01    D.D.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy, Shoulder, Surgical; S…   4/25/2023   29821     $5,677.77
1121001-01    D.D.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; D… 4/25/2023      29823     $1,472.45
1121001-01    D.D.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; W… 4/25/2023      29825     $1,472.45
1121001-01    D.D.       Surgicore LLC d/b/a Surgicore Surgical Center     Unlisted Procedure, Arthroscopy…    4/25/2023   29999     $1,472.45
1121001-01    D.D.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection, Anesthetic Agent; Brach…   4/25/2023   64415      $979.78
1121001-01    D.D.       Surgicore LLC d/b/a Surgicore Surgical Center  Ultrasonic Guidance For Needle Pla… 4/25/2023      76942      $341.96
1121514-01    A.K.            Rockaways ASC Development LLC               Injection(S); Single Or Multiple T… 12/22/2022   20552      $236.69
1121514-01    A.K.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/22/2022     62321      $976.38
1121514-01    A.K.            Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 12/22/2022     76942      $341.96
1121514-01    A.K.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 4/23/2023      22526     $2,605.78
1121514-01    A.K.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 4/23/2023      22527     $2,605.78
1121514-01    A.K.            Rockaways ASC Development LLC             Injection Procedure For Diskograph… 4/23/2023      62291      $748.74
1121514-01    A.K.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr… 4/23/2023       63075     $6,402.03
1121514-01    A.K.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr… 4/23/2023       63076     $3,160.34
1121514-01    A.K.            Rockaways ASC Development LLC             Diskography, Cervical Or Thoracic,… 4/23/2023      72285      $962.54
1121514-01    A.K.            Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…   6/4/2023   20553      $236.69
1121514-01    A.K.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/4/2023       62323      $976.38
1121514-01    A.K.          Bronx SC LLC d/b/a Empire State ASC           Injection(S); Single Or Multiple T…   7/9/2023   20553      $236.69
1121514-01    A.K.          Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/9/2023       62323      $976.38
1121514-01    A.K.          Bronx SC LLC d/b/a Empire State ASC         Ultrasonic Guidance For Needle Pla…     7/9/2023   76942      $341.96
1121783-01    D.A.             New Horizon Surgical Center LLC          Repair, Primary, Disrupted Ligamen… 1/27/2023      27695     $1,615.30
1121783-01    D.A.             New Horizon Surgical Center LLC           Repair, Tendon, Extensor, Foot; Pr…   1/27/2023   28208     $1,316.29
1121783-01    D.A.             New Horizon Surgical Center LLC          Open Treatment Of Fracture, Phalan… 1/27/2023      28525     $4,787.69
1121783-01    D.A.             New Horizon Surgical Center LLC          Open Treatment Of Fracture, Phalan… 1/27/2023      28525     $2,393.86
1121783-01    D.A.             New Horizon Surgical Center LLC          Open Treatment Of Tarsometatarsal … 1/27/2023      28615     $5,869.06
1121783-01    D.A.             New Horizon Surgical Center LLC          Application Of Short Leg Splint (C… 1/27/2023      29515      $423.83
1121783-01    D.A.             New Horizon Surgical Center LLC          Arthroscopy, Ankle (Tibiotalar And… 1/27/2023      29898     $1,472.45
1121783-01    D.A.             New Horizon Surgical Center LLC           Injection, Anesthetic Agent; Femor… 1/27/2023     64447      $829.30
1121783-01    D.A.             New Horizon Surgical Center LLC           Injection, Anesthetic Agent; Other…   1/27/2023   64450      $829.30
1121783-01    D.A.             New Horizon Surgical Center LLC          Ultrasonic Guidance For Needle Pla… 1/27/2023      76942      $341.96
1121783-01    D.A.             Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/10/2023      62323      $976.38
1121783-01    D.A.             Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/14/2023      62323      $976.38
1120994-01    J.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/9/2023        62323      $976.38
1120994-01    J.G.             Fifth Avenue Surgery Center LLC          Perq Intrdscl Electrothrm Annulopl… 10/9/2023      22526     $2,605.78
1120994-01    J.G.             Fifth Avenue Surgery Center LLC          Perq Intrdscl Electrothrm Annulopl… 10/9/2023      22527     $2,605.79
1120994-01    J.G.             Fifth Avenue Surgery Center LLC         Aspiration Or Decompression Proced… 10/9/2023       62287     $5,292.93
1121226-03    B.W.             Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/27/2023      62323      $976.38
1121226-03    B.W.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Synov…     1/8/2024   29875     $1,472.45
1121226-03    B.W.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …     1/8/2024   29880     $3,026.24
1121226-03    B.W.          All City Family Healthcare Center, Inc.        Unlisted Procedure, Arthroscopy…     1/8/2024   29999     $1,472.45
1120961-01    J.S.          Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/9/2022      62323      $976.38
1120961-01    J.S.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S… 12/17/2022    29821     $5,596.40
1120961-01    J.S.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 12/17/2022     29823     $1,472.45
1120961-01    J.S.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 12/17/2022     29825     $1,472.45
                                                                  18 of 124                                                             Exhibit 3
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                                                           1606
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1120961-01    J.S.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 12/17/2022    29826     $1,553.82
1120961-01    J.S.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 12/17/2022    29827     $6,723.47
1120961-01    J.S.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach… 12/17/2022   64415      $979.78
1120961-01    J.S.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 12/17/2022     76942      $341.96
1120932-02    E.J.           Rockaways ASC Development LLC               Arthroscopy, Shoulder, Surgical; S…  4/21/2023   29821     $5,677.77
1120932-02    E.J.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; D… 4/21/2023     29823     $1,472.45
1120932-02    E.J.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; W… 4/21/2023     29825     $1,472.45
1120932-02    E.J.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; D… 4/21/2023     29826     $1,472.45
1120932-02    E.J.           Rockaways ASC Development LLC               Injection, Anesthetic Agent; Brach…  4/21/2023   64415      $979.78
1120932-02    E.J.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 4/21/2023      76942      $341.96
1120932-02    E.J.               Surgicore of Jersey City LLC            Injection(S); Single Or Multiple T…  7/15/2023   20553      $236.69
1120932-02    E.J.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/15/2023      62321      $976.38
1120932-02    E.J.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla… 7/15/2023      76942      $341.96
1120805-01    J.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 12/15/2022     29875     $1,472.45
1120805-01    J.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 12/15/2022    29880     $3,026.24
1120805-01    J.H.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/5/2023       62323      $976.38
1120101-02    S.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/16/2023      62321      $976.38
1120101-02    S.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 2/16/2023      87635       $51.33
1120101-02    S.L.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 3/26/2023     22526     $2,605.78
1120101-02    S.L.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 3/26/2023      63075     $6,402.03
1121476-01    R.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 4/28/2023      22526     $2,605.78
1121476-01    R.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 4/28/2023      22527     $2,605.79
1121476-01    R.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 4/28/2023      62287     $5,292.93
1121476-01    R.M.               Surgicore of Jersey City LLC            Injection(S); Single Or Multiple T…  7/15/2023   20553      $236.69
1121476-01    R.M.               Surgicore of Jersey City LLC           Dstr Nrolytc Agnt Parverteb Fct Sn… 7/15/2023     64635      $979.78
1121476-01    R.M.               Surgicore of Jersey City LLC           Dstr Nrolytc Agnt Parverteb Fct Ad… 7/15/2023     64636      $449.21
1121476-01    R.M.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla… 7/15/2023      76942      $341.96
1121037-02    K.S.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    1/9/2023   22526     $2,605.78
1121037-02    K.S.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 1/9/2023       63075     $6,402.03
1121037-02    K.S.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…  1/23/2023   20552      $236.69
1121037-02    K.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/23/2023      62321      $976.38
1121037-02    K.S.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 1/23/2023      76942      $341.96
1121037-02    K.S.           Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 4/18/2023     64490      $447.52
1121037-02    K.S.           Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 4/18/2023     64490      $976.38
1121037-02    K.S.           Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 4/18/2023     64491      $447.52
1121037-02    K.S.           Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 4/18/2023     64492      $447.52
1121037-02    K.S.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…   6/5/2023   20552      $236.69
1121037-02    K.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/5/2023       62323      $976.38
1121037-02    K.S.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     6/5/2023   76942      $341.96
1121037-02    K.S.            New Horizon Surgical Center LLC            Arthroscopy, Shoulder, Surgical; S…  7/18/2023   29821     $5,677.77
1121037-02    K.S.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; D… 7/18/2023     29823     $1,472.45
1121037-02    K.S.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; W… 7/18/2023     29825     $1,472.45
1121037-02    K.S.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; D… 7/18/2023     29826     $1,472.45
1121037-02    K.S.            New Horizon Surgical Center LLC            Injection, Anesthetic Agent; Brach…  7/18/2023   64415      $979.78
1121037-02    K.S.            New Horizon Surgical Center LLC          Ultrasonic Guidance For Needle Pla… 7/18/2023      76942      $341.96
1120969-01    M.S.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    1/4/2023   22526     $2,605.78
1120969-01    M.S.           Rockaways ASC Development LLC              Injection Procedure For Diskograph…    1/4/2023   62291      $748.74
1120969-01    M.S.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 1/4/2023       63075     $6,402.03
1120969-01    M.S.           Rockaways ASC Development LLC              Diskography, Cervical Or Thoracic,…    1/4/2023   72285      $962.54
1120969-01    M.S.            Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulopl… 2/15/2023     22526     $2,605.78
1120969-01    M.S.            Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulopl… 2/15/2023     22527     $2,605.79
1120969-01    M.S.            Fifth Avenue Surgery Center LLC          Aspiration Or Decompression Proced… 2/15/2023      62287     $5,292.93
1120173-02    N.M.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  5/21/2023   20553      $236.69
1120173-02    N.M.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/21/2023      62323      $976.38
1120173-02    N.M.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  6/29/2023   20553      $236.69
1120173-02    N.M.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/29/2023      62321      $976.38
1120173-02    N.M.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl… 2/25/2024     22526     $2,605.78
1120173-02    N.M.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl… 2/25/2024     22527     $2,605.79
1120173-02    N.M.         Bronx SC LLC d/b/a Empire State ASC         Aspiration Or Decompression Proced… 2/25/2024      62287     $5,292.93
1119813-01    D.J.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T… 12/14/2022   20552      $236.69
1119813-01    D.J.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/14/2022     62321      $976.38
1119813-01    D.J.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 12/14/2022     76942      $341.96
1119813-01    D.J.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  3/16/2023   20553      $554.76
1119813-01    D.J.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/16/2023      62323      $976.38
1119813-01    D.J.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 3/16/2023      76942      $341.96
1119813-01    D.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…    6/20/2023   29821     $5,677.77
1119813-01    D.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 6/20/2023      29823     $1,472.45
1119813-01    D.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 6/20/2023      29825     $1,472.45
                                                                 19 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 160 of 580 PageID #:
                                                           1607
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1119813-01    D.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 6/20/2023      29826     $1,472.45
1119813-01    D.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…    6/20/2023   64415      $979.78
1119813-01    D.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 6/20/2023      76942      $341.96
1120109-02    M.A.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov… 11/11/2022     29875     $1,472.45
1120109-02    M.A.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 11/11/2022    29881     $3,026.24
1120109-02    M.A.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…   11/11/2022   A4649      $285.00
1120109-02    M.A.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/6/2023       62323      $976.38
1120109-02    M.A.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/10/2023      62321      $976.38
1120109-02    M.A.            Fifth Avenue Surgery Center LLC          Diskectomy, Anterior, With Decompr… 3/24/2023      63075     $6,402.03
1120109-02    M.A.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/13/2023     62323      $976.38
1121368-01    C.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 12/22/2022     29823     $3,026.24
1121368-01    C.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 12/22/2022     29826     $1,472.45
1121368-01    C.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach… 12/22/2022     64415      $979.78
1121368-01    C.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 12/22/2022     76942      $341.96
1121368-01    C.H.            Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulopl… 2/13/2023     22526     $2,605.78
1121368-01    C.H.            Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulopl… 2/13/2023     22527     $2,605.79
1121368-01    C.H.            Fifth Avenue Surgery Center LLC          Aspiration Or Decompression Proced… 2/13/2023      62287     $5,292.93
1119743-03    K.M.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    1/3/2023   22526     $2,605.78
1119743-03    K.M.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 1/3/2023       62287     $5,292.93
1119743-03    K.M.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  1/31/2023   20552      $236.69
1119743-03    K.M.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/31/2023      62323      $976.38
1119743-03    K.M.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 1/31/2023      76942      $341.96
1120145-02    W.I.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/29/2023      62323      $976.38
1120145-02    W.I.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl… 10/22/2023    22526     $2,605.78
1120145-02    W.I.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl… 10/22/2023    22527     $2,605.79
1120145-02    W.I.         Bronx SC LLC d/b/a Empire State ASC         Aspiration Or Decompression Proced… 10/22/2023     62287     $5,292.93
1119135-01    P.R.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/14/2022     62321      $976.38
1119135-01    P.R.           Rockaways ASC Development LLC              Infectious Agent Detection By Nucl… 10/14/2022    87635       $51.33
1119135-01    P.R.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/21/2022     62321      $976.38
1119135-01    P.R.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 10/28/2022    22526     $2,605.78
1119135-01    P.R.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 10/28/2022    22527     $2,605.78
1119135-01    P.R.           Rockaways ASC Development LLC              Injection Procedure For Diskograph… 10/28/2022    62291      $748.74
1119135-01    P.R.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 10/28/2022     63075     $6,402.03
1119135-01    P.R.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 10/28/2022     63076     $3,160.34
1119135-01    P.R.           Rockaways ASC Development LLC              Diskography, Cervical Or Thoracic,… 10/28/2022    72285      $962.54
1119135-01    P.R.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or … 12/1/2022     20610      $554.76
1119135-01    P.R.            Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; S…  12/1/2022   29821     $5,596.40
1119135-01    P.R.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 12/1/2022     29823     $1,472.45
1119135-01    P.R.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 12/1/2022     29825     $1,472.45
1119135-01    P.R.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 12/1/2022     29826     $1,472.45
1119135-01    P.R.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 12/1/2022     29827     $6,723.47
1119135-01    P.R.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…    12/1/2022   29999     $1,472.45
1119135-01    P.R.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…  12/1/2022   64415      $979.78
1119135-01    P.R.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 12/1/2022      76942      $341.96
1122600-02    L.K.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…  1/16/2023   20552      $236.69
1122600-02    L.K.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/16/2023      62321      $976.38
1122600-02    L.K.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 1/16/2023      76942      $341.96
1122600-02    L.K.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 1/24/2023     22526     $2,605.78
1122600-02    L.K.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 1/24/2023      63075     $6,402.03
1118953-01    J.T.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T… 10/31/2022   20552      $236.69
1118953-01    J.T.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/31/2022     62321      $976.38
1118953-01    J.T.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 10/31/2022     76942      $341.96
1118953-01    J.T.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 11/8/2022     22526     $2,605.78
1118953-01    J.T.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 11/8/2022      63075     $6,402.03
1118953-01    J.T.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T… 11/28/2022   20552      $236.69
1118953-01    J.T.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/28/2022     62323      $976.38
1118953-01    J.T.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 11/28/2022     76942      $341.96
1118953-01    J.T.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 12/5/2022     22526     $2,605.78
1118953-01    J.T.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 12/5/2022      62287     $5,292.93
1118252-01    D.C.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 9/29/2022      29875     $1,472.45
1118252-01    D.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 9/29/2022     29880     $3,026.24
1118252-01    D.C.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…    9/29/2022   29999     $1,472.45
1118252-01    D.C.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T… 10/13/2022   20552      $236.69
1118252-01    D.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/13/2022     62321      $976.38
1118252-01    D.C.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 10/13/2022     76942      $341.96
1118252-01    D.C.           Rockaways ASC Development LLC              Infectious Agent Detection By Nucl… 10/13/2022    87635       $51.33
1118252-01    D.C.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 2/19/2023     22526     $2,605.78
1118252-01    D.C.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 2/19/2023     22527     $2,605.78
                                                                 20 of 124                                                             Exhibit 3
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                                                           1608
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1118252-01    D.C.            Rockaways ASC Development LLC             Injection Procedure For Diskograph… 2/19/2023     62291      $748.74
1118252-01    D.C.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr… 2/19/2023      63075     $6,402.03
1118252-01    D.C.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr… 2/19/2023      63076     $3,160.34
1118252-01    D.C.            Rockaways ASC Development LLC             Diskography, Cervical Or Thoracic,… 2/19/2023     72285      $962.54
1118292-02    L.B.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/23/2022     62323      $976.38
1118292-02    L.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Diagnostic,… 3/10/2023     29805     $3,026.24
1118292-02    L.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 5/18/2023      22526     $2,605.78
1118292-02    L.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 5/18/2023      62287     $5,292.93
1117602-01    E.G.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection(S); Single Or Multiple T…  8/24/2023   20553      $236.69
1117602-01    E.G.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/24/2023      62323      $976.38
1117602-01    E.G.          Bronx SC LLC d/b/a Empire State ASC          Injection(S); Single Or Multiple T… 10/22/2023   20553      $236.69
1117602-01    E.G.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/22/2023     62321      $976.38
1117602-01    E.G.          Bronx SC LLC d/b/a Empire State ASC        Ultrasonic Guidance For Needle Pla… 10/22/2023     76942      $341.96
1118318-02    C.C.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/23/2022     62323      $976.38
1118318-02    C.C.            Rockaways ASC Development LLC             Infectious Agent Detection By Nucl… 10/23/2022    87635       $51.33
1118318-02    C.C.             Fifth Avenue Surgery Center LLC         Arthroscopy, Knee, Surgical; Synov… 10/29/2022     29875     $1,472.45
1118318-02    C.C.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 10/29/2022    29881     $3,026.24
1118318-02    C.C.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 10/29/2022    29882     $1,472.45
1118318-02    C.C.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 11/6/2022     22526     $2,605.78
1118318-02    C.C.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 11/6/2022     22527     $2,605.78
1118318-02    C.C.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 11/6/2022      62287     $5,292.93
1118318-02    C.C.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 11/15/2022   20552      $236.69
1118318-02    C.C.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/15/2022     62321      $976.38
1118318-02    C.C.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 11/15/2022     76942      $341.96
1118318-02    C.C.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 12/4/2022     64490      $976.38
1118318-02    C.C.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 12/4/2022     64491      $447.52
1118318-02    C.C.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 12/4/2022     64492      $447.52
1118318-02    C.C.            Rockaways ASC Development LLC             Infectious Agent Detection By Nucl… 12/4/2022     87635       $51.33
1117815-01    H.C.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T… 11/29/2022   20552      $236.69
1117815-01    H.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/29/2022     62323      $976.38
1117815-01    H.C.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 11/29/2022     76942      $341.96
1117815-01    H.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 12/5/2022     22526     $2,605.78
1117815-01    H.C.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 12/5/2022      62287     $5,292.93
1117815-01    H.C.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 12/20/2022   20552      $236.69
1117815-01    H.C.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/20/2022     62321      $976.38
1117815-01    H.C.            Rockaways ASC Development LLC              Ultrasonic Guidance For Intrauteri… 12/20/2022   76941      $341.96
1117458-01    A.T.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/7/2022      62321      $976.38
1117458-01    A.T.            Rockaways ASC Development LLC             Infectious Agent Detection By Nucl… 10/7/2022     87635       $51.33
1117458-01    A.T.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/6/2022      62321      $976.38
1117458-01    A.T.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or … 2/16/2023     20610      $473.38
1117458-01    A.T.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te… 2/16/2023      23405     $1,839.77
1117458-01    A.T.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…  2/16/2023   29821     $5,677.77
1117458-01    A.T.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 2/16/2023     29823     $1,472.45
1117458-01    A.T.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 2/16/2023     29825     $1,472.45
1117458-01    A.T.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 2/16/2023     29826     $1,472.45
1117458-01    A.T.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  2/16/2023   64415      $979.78
1117458-01    A.T.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 2/16/2023      76942      $341.96
1117132-02    Z.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; C… 10/11/2022    29806     $5,677.77
1117132-02    Z.E.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S… 10/11/2022   29821     $2,798.20
1117132-02    Z.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 10/11/2022    29823     $1,472.45
1117132-02    Z.E.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach… 10/11/2022   64415      $979.78
1117132-02    Z.E.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 10/11/2022     76942      $341.96
1117132-02    Z.E.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/9/2023       62323      $976.38
1117329-02    J.L.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 10/20/2022   20552      $236.69
1117329-02    J.L.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/20/2022     62323      $976.38
1117329-02    J.L.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 10/20/2022     76942      $341.96
1117329-02    J.L.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 10/27/2022    22526     $2,605.78
1117329-02    J.L.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 10/27/2022     62287     $5,292.93
1117329-02    J.L.            Rockaways ASC Development LLC             Infectious Agent Detection By Nucl… 10/27/2022    87635       $51.33
1117329-02    J.L.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…   2/9/2023   29821     $5,677.77
1117329-02    J.L.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    2/9/2023   29823     $1,472.45
1117329-02    J.L.             Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…     2/9/2023   29999     $1,472.45
1117329-02    J.L.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…   2/9/2023   64415      $979.78
1117329-02    J.L.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     2/9/2023   76942      $341.96
1117329-04    N.M.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 10/20/2022   20552      $236.69
1117329-04    N.M.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/20/2022     62323      $976.38
1117329-04    N.M.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 10/20/2022     76942      $341.96
1117329-04    N.M.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 10/27/2022    22526     $2,605.78
                                                                 21 of 124                                                             Exhibit 3
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                                                            1609
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                             Date of     Billing   Amount
                                           Provider                                     Service
 Number      Person                                                                                              Service     Code       Billed
1117329-04    N.M.             Rockaways ASC Development LLC              Aspiration Or Decompression Proced… 10/27/2022     62287     $5,292.93
1117329-04    N.M.             Rockaways ASC Development LLC               Infectious Agent Detection By Nucl… 10/27/2022    87635       $51.33
1117329-04    N.M.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; S…   2/9/2023   29821     $5,677.77
1117329-04    N.M.              Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; D…    2/9/2023   29823     $1,472.45
1117329-04    N.M.              Fifth Avenue Surgery Center LLC              Unlisted Procedure, Arthroscopy…     2/9/2023   29999     $1,472.45
1117329-04    N.M.              Fifth Avenue Surgery Center LLC             Injection, Anesthetic Agent; Brach…   2/9/2023   64415      $979.78
1117329-04    N.M.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…    2/9/2023   76942      $341.96
1117716-01    F.A.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; S… 10/23/2022   29821     $5,596.40
1117716-01    F.A.           All City Family Healthcare Center, Inc.       Arthroscopy, Shoulder, Surgical; D… 10/23/2022    29823     $1,472.45
1117716-01    F.A.           All City Family Healthcare Center, Inc.       Arthroscopy, Shoulder, Surgical; W… 10/23/2022    29825     $1,472.45
1117716-01    F.A.           All City Family Healthcare Center, Inc.       Arthroscopy, Shoulder, Surgical; D… 10/23/2022    29826     $1,553.82
1117716-01    F.A.           All City Family Healthcare Center, Inc.       Arthroscopy, Shoulder, Surgical; W… 10/23/2022    29827     $6,723.47
1117716-01    F.A.           All City Family Healthcare Center, Inc.        Injection, Anesthetic Agent; Brach… 10/23/2022   64415      $979.78
1117716-01    F.A.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 10/23/2022    76942      $341.96
1117716-01    F.A.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/4/2023      62321      $976.38
1117716-01    F.A.             Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulopl… 1/18/2023     22526     $5,292.93
1117716-01    F.A.             Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulopl… 1/18/2023     22527     $2,605.78
1117716-01    F.A.             Rockaways ASC Development LLC               Unlisted Procedure, Nervous System… 1/18/2023     64999      $747.93
1117716-01    F.A.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/9/2023      62323      $976.38
1116458-02    T.M.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/9/2022      62321      $976.38
1116458-02    T.M.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/21/2022    62323      $976.38
1116458-02    T.M.                Surgicore of Jersey City LLC              Allograft For Spine Surgery Only; … 11/14/2022   20930     $3,160.34
1116458-02    T.M.                Surgicore of Jersey City LLC             Autograft For Spine Surgery Only (… 11/14/2022    20936     $3,160.34
1116458-02    T.M.                Surgicore of Jersey City LLC            Arthrd Ant Interbody Decompress Ce… 11/14/2022     22551     $6,402.03
1116458-02    T.M.                Surgicore of Jersey City LLC              Anterior Instrumentation; 2 To 3 V… 11/14/2022   22845     $3,160.34
1116458-02    T.M.                Surgicore of Jersey City LLC             Insj Biomchn Dev Intervertebral Ds… 11/14/2022    22853     $3,160.34
1116458-02    T.M.                Surgicore of Jersey City LLC            Decompression; Unspecified Nerve(S… 11/14/2022     64722     $1,071.55
1116458-02    T.M.                Surgicore of Jersey City LLC            Anchor/Screw For Opposing Bone-To-… 11/14/2022     C1713     $7,125.00
1116885-02    A.C.             Rockaways ASC Development LLC                Injection(S); Single Or Multiple T… 10/20/2022   20552      $236.69
1116885-02    A.C.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/20/2022    62321      $976.38
1116885-02    A.C.             Rockaways ASC Development LLC               Ultrasonic Guidance For Needle Pla… 10/20/2022    76942      $341.96
1116885-02    A.C.           All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulopl… 11/7/2022     22526     $2,605.78
1116885-02    A.C.           All City Family Healthcare Center, Inc.      Diskectomy, Anterior, With Decompr… 11/7/2022      63075     $6,402.03
1119497-01    J.F.           All City Family Healthcare Center, Inc.       Tenotomy, Shoulder Area; Single Te… 2/16/2023     23405     $1,839.77
1119497-01    J.F.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; S…  2/16/2023   29821     $5,677.77
1119497-01    J.F.           All City Family Healthcare Center, Inc.       Arthroscopy, Shoulder, Surgical; D… 2/16/2023     29823     $1,472.45
1119497-01    J.F.           All City Family Healthcare Center, Inc.       Arthroscopy, Shoulder, Surgical; W… 2/16/2023     29825     $1,472.45
1119497-01    J.F.           All City Family Healthcare Center, Inc.        Injection, Anesthetic Agent; Brach…  2/16/2023   64415      $979.78
1119497-01    J.F.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 2/16/2023     76942      $341.96
1119497-01    J.F.           All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulopl… 3/21/2023     22526     $2,605.78
1119497-01    J.F.           All City Family Healthcare Center, Inc.      Aspiration Or Decompression Proced… 3/21/2023      62287     $5,292.93
1119497-01    J.F.             Rockaways ASC Development LLC                Injection(S); Single Or Multiple T…  3/28/2023   20552      $236.69
1119497-01    J.F.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/28/2023     62323      $976.38
1119497-01    J.F.             Rockaways ASC Development LLC               Ultrasonic Guidance For Needle Pla… 3/28/2023     76942      $341.96
1116362-04    A.S.           All City Family Healthcare Center, Inc.        Injection(S); Single Or Multiple T… 11/14/2022   20552      $236.69
1116362-04    A.S.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/14/2022    62321      $976.38
1116362-04    A.S.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 11/14/2022    76942      $341.96
1116362-04    A.S.           All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulopl… 11/21/2022    22526     $2,605.78
1116362-04    A.S.           All City Family Healthcare Center, Inc.      Diskectomy, Anterior, With Decompr… 11/21/2022     63075     $6,402.03
1116362-04    A.S.             Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulopl…    1/9/2023   22526     $2,605.78
1116362-04    A.S.             Rockaways ASC Development LLC              Aspiration Or Decompression Proced… 1/9/2023       62287     $5,292.93
1116362-04    A.S.           All City Family Healthcare Center, Inc.        Injection(S); Single Or Multiple T…  1/16/2023   20552      $236.69
1116362-04    A.S.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/16/2023     62323      $976.38
1116362-04    A.S.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 1/16/2023     76942      $341.96
1117535-01    N.M.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/21/2022     62321      $976.38
1117535-01    N.M.              Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/12/2022    62323      $976.38
1117535-01    N.M.           All City Family Healthcare Center, Inc.       Tenotomy, Shoulder Area; Single Te… 10/20/2022    23405     $1,839.77
1117535-01    N.M.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; S… 10/20/2022   29821     $5,677.77
1117535-01    N.M.           All City Family Healthcare Center, Inc.       Arthroscopy, Shoulder, Surgical; D… 10/20/2022    29823     $1,472.45
1117535-01    N.M.           All City Family Healthcare Center, Inc.       Arthroscopy, Shoulder, Surgical; W… 10/20/2022    29825     $1,472.45
1117535-01    N.M.           All City Family Healthcare Center, Inc.       Arthroscopy, Shoulder, Surgical; D… 10/20/2022    29826     $1,472.45
1117535-01    N.M.           All City Family Healthcare Center, Inc.        Injection, Anesthetic Agent; Brach… 10/20/2022   64415      $979.78
1117535-01    N.M.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 10/20/2022    76942      $341.96
1116270-02    A.M.        Surgicore LLC d/b/a Surgicore Surgical Center    Grafting Of Autologous Soft Tissue… 9/23/2022     15769     $1,276.24
1116270-02    A.M.        Surgicore LLC d/b/a Surgicore Surgical Center    Tenolysis, Flexor Or Extensor Tend… 9/23/2022     27680     $1,417.17
1116270-02    A.M.        Surgicore LLC d/b/a Surgicore Surgical Center    Repair, Secondary, Disrupted Ligam… 9/23/2022     27698     $3,311.97
1116270-02    A.M.        Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Ankle (Tibiotalar And… 9/23/2022     29898     $1,472.45
1116270-02    A.M.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; S… 12/22/2022   29821     $5,677.77
                                                                    22 of 124                                                             Exhibit 3
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                                                            1610
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                  Date of     Billing   Amount
                                           Provider                                         Service
 Number      Person                                                                                                   Service     Code       Billed
1116270-02    A.M.             New Horizon Surgical Center LLC                 Arthroscopy, Shoulder, Surgical; D…   12/22/2022   29823     $1,472.45
1116270-02    A.M.             New Horizon Surgical Center LLC                  Unlisted Procedure, Arthroscopy…     12/22/2022   29999     $1,472.45
1116270-02    A.M.             New Horizon Surgical Center LLC                 Injection, Anesthetic Agent; Brach…   12/22/2022   64415      $979.78
1116270-02    A.M.             New Horizon Surgical Center LLC                Ultrasonic Guidance For Needle Pla…    12/22/2022   76942      $341.96
1116270-02    A.M.             New Horizon Surgical Center LLC                 Prosthetic Implant, Not Otherwise …   12/22/2022   L8699      $208.00
1116549-02    J.L.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…     9/7/2022   20552      $236.69
1116549-02    J.L.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      9/7/2022   62323      $976.38
1116549-02    J.L.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…      9/7/2022   76942      $341.96
1116549-02    J.L.            Rockaways ASC Development LLC                   Infectious Agent Detection By Nucl…      9/7/2022   87635       $51.33
1116549-02    J.L.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…    9/21/2022   20552      $236.69
1116549-02    J.L.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     9/21/2022   62321      $976.38
1116549-02    J.L.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…     9/21/2022   76942      $341.96
1116549-02    J.L.            Rockaways ASC Development LLC                   Infectious Agent Detection By Nucl…     9/21/2022   87635       $51.33
1116549-02    J.L.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; S…   11/10/2022   29821     $5,677.77
1116549-02    J.L.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…   11/10/2022   29823     $1,472.45
1116549-02    J.L.             Fifth Avenue Surgery Center LLC                  Unlisted Procedure, Arthroscopy…     11/10/2022   29999     $1,472.45
1116549-02    J.L.             Fifth Avenue Surgery Center LLC                 Injection, Anesthetic Agent; Brach…   11/10/2022   64415      $979.78
1116549-02    J.L.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla…    11/10/2022   76942      $341.96
1116925-01    R.A.                Surgicore of Jersey City LLC                 Perq Intrdscl Electrothrm Annulopl…     3/8/2024   22526     $5,292.93
1116925-01    R.A.                Surgicore of Jersey City LLC                 Perq Intrdscl Electrothrm Annulopl…     3/8/2024   22527     $2,605.78
1116925-01    R.A.                Surgicore of Jersey City LLC                Unlisted Procedure, Nervous System…      3/8/2024   64999      $747.93
1116925-01    R.A.                Surgicore of Jersey City LLC                Unlisted Procedure, Nervous System…      3/8/2024   64999      $373.98
1116925-01    R.A.             Fifth Avenue Surgery Center LLC                 Arthrocentesis, Aspiration And/Or …     5/7/2024   20610      $473.38
1116925-01    R.A.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Diagnostic,…     5/7/2024   29805     $1,472.45
1116925-01    R.A.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; S…     5/7/2024   29821     $5,677.77
1116925-01    R.A.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…     5/7/2024   29823     $1,472.45
1116925-01    R.A.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; W…      5/7/2024   29825     $1,472.45
1116925-01    R.A.             Fifth Avenue Surgery Center LLC                 Injection, Anesthetic Agent; Brach…     5/7/2024   64415      $979.78
1116925-01    R.A.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla…      5/7/2024   76942      $341.96
1116496-02    M.H.           Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     9/23/2022   62323      $976.38
1116496-02    M.H.           Bronx SC LLC d/b/a Empire State ASC               Perq Intrdscl Electrothrm Annulopl…     3/3/2023   22526     $2,605.78
1116496-02    M.H.           Bronx SC LLC d/b/a Empire State ASC               Perq Intrdscl Electrothrm Annulopl…     3/3/2023   22527     $2,605.79
1116496-02    M.H.           Bronx SC LLC d/b/a Empire State ASC              Aspiration Or Decompression Proced…      3/3/2023   62287     $5,292.93
1116496-02    M.H.           All City Family Healthcare Center, Inc.          Tenotomy, Shoulder Area; Single Te…      7/5/2023   23405     $1,839.77
1116496-02    M.H.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S…     7/5/2023   29821     $5,677.77
1116496-02    M.H.           All City Family Healthcare Center, Inc.          Arthroscopy, Shoulder, Surgical; W…      7/5/2023   29825     $1,472.45
1116496-02    M.H.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…     7/5/2023   29826     $1,472.45
1116496-02    M.H.           All City Family Healthcare Center, Inc.            Unlisted Procedure, Arthroscopy…       7/5/2023   29999     $1,472.45
1116496-02    M.H.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach…     7/5/2023   64415      $979.78
1116496-02    M.H.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…      7/5/2023   76942      $341.96
1116870-01    Z.N.           All City Family Healthcare Center, Inc.           Injection(S); Single Or Multiple T…    10/3/2022   20552      $236.69
1116870-01    Z.N.           All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     10/3/2022   62321      $976.38
1116870-01    Z.N.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…     10/3/2022   76942      $341.96
1116870-01    Z.N.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…    11/3/2022   20552      $236.69
1116870-01    Z.N.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     11/3/2022   62321      $976.38
1116870-01    Z.N.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…     11/3/2022   76942      $341.96
1116870-01    Z.N.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…   11/15/2022   20552      $236.69
1116870-01    Z.N.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    11/15/2022   62323      $976.38
1116870-01    Z.N.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…    11/15/2022   76942      $341.96
1116870-01    Z.N.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…   11/22/2022   22526     $2,605.78
1116870-01    Z.N.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced…    11/22/2022   62287     $5,292.93
1116084-01    W.G.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; S…     9/3/2022   29821     $5,677.77
1116084-01    W.G.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…     9/3/2022   29823     $1,472.45
1116084-01    W.G.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; W…      9/3/2022   29825     $1,472.45
1116084-01    W.G.             Fifth Avenue Surgery Center LLC                  Unlisted Procedure, Arthroscopy…       9/3/2022   29999     $1,472.45
1116084-01    W.G.             Fifth Avenue Surgery Center LLC                 Injection, Anesthetic Agent; Brach…     9/3/2022   64415      $979.78
1116084-01    W.G.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla…      9/3/2022   76942      $341.96
1116084-01    W.G.           All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    10/12/2022   62323      $976.38
1116084-01    W.G.           All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    10/23/2022   62323      $976.38
1116903-03    K.S.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S…    9/12/2022   29821     $5,677.77
1116903-03    K.S.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…    9/12/2022   29823     $1,472.45
1116903-03    K.S.           All City Family Healthcare Center, Inc.          Arthroscopy, Shoulder, Surgical; W…     9/12/2022   29825     $1,472.45
1116903-03    K.S.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…    9/12/2022   29826     $1,472.45
1116903-03    K.S.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach…    9/12/2022   64415      $979.78
1116903-03    K.S.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…     9/12/2022   76942      $341.96
1116903-03    K.S.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    11/13/2022   62321      $976.38
1116903-03    K.S.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…   11/30/2022   22526     $2,605.78
1116903-03    K.S.            Rockaways ASC Development LLC                   Injection Procedure For Diskograph…    11/30/2022   62291      $748.74
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                                                           1611
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1116903-03    K.S.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr… 11/30/2022     63075     $6,402.03
1116903-03    K.S.            Rockaways ASC Development LLC             Diskography, Cervical Or Thoracic,… 11/30/2022    72285      $962.54
1116234-02    O.C.          Bronx SC LLC d/b/a Empire State ASC        Arthroscopy, Knee, Surgical; Synov… 10/11/2022     29875     $1,472.45
1116234-02    O.C.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; With … 10/11/2022    29880     $3,026.24
1116234-02    O.C.          Bronx SC LLC d/b/a Empire State ASC           Unlisted Procedure, Arthroscopy…   10/11/2022   29999     $1,472.45
1116234-02    O.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/23/2022     62323      $976.38
1116234-02    O.C.            Rockaways ASC Development LLC             Arthroscopy, Knee, Surgical; Abras… 12/6/2022     29879     $1,472.45
1116234-02    O.C.            Rockaways ASC Development LLC             Arthroscopy, Knee, Surgical; With … 12/6/2022     29880     $3,026.24
1116234-02    O.C.            Rockaways ASC Development LLC             Arthroscopy, Knee, Surgical; With … 12/6/2022     29884     $1,472.45
1116234-02    O.C.            Rockaways ASC Development LLC               Unlisted Procedure, Arthroscopy…    12/6/2022   29999     $1,472.45
1115764-02    A.O.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   2/2/2023   29821     $5,677.77
1115764-02    A.O.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    2/2/2023   29823     $1,472.45
1115764-02    A.O.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    2/2/2023   29825     $1,472.45
1115764-02    A.O.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    2/2/2023   29826     $1,472.45
1115764-02    A.O.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…     2/2/2023   29999     $1,472.45
1115764-02    A.O.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   2/2/2023   64415      $979.78
1115764-02    A.O.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     2/2/2023   76942      $341.96
1115764-02    A.O.             New Horizon Surgical Center LLC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/17/2023      62321      $976.38
1115764-02    A.O.             New Horizon Surgical Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/12/2023      62323      $976.38
1115764-02    A.O.             New Horizon Surgical Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/4/2023       64493      $976.38
1115764-02    A.O.             New Horizon Surgical Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/4/2023       64494      $447.52
1115764-02    A.O.             New Horizon Surgical Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/4/2023       64495      $447.52
1116303-02    A.C.             Fifth Avenue Surgery Center LLC         Tenotomy, Shoulder Area; Multiple … 8/25/2022      23406     $1,839.77
1116303-02    A.C.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…  8/25/2022   29821     $5,677.77
1116303-02    A.C.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 8/25/2022     29823     $1,472.45
1116303-02    A.C.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 8/25/2022     29826     $1,472.45
1116303-02    A.C.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…  8/25/2022   64415      $979.78
1116303-02    A.C.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 8/25/2022      76942      $341.96
1116303-02    A.C.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…  9/11/2022   20552      $236.69
1116303-02    A.C.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/11/2022      62323      $976.38
1116303-02    A.C.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 9/11/2022      76942      $341.96
1116303-02    A.C.            Rockaways ASC Development LLC             Infectious Agent Detection By Nucl… 9/11/2022     87635       $51.33
1116303-02    A.C.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…  9/18/2022   20552      $236.69
1116303-02    A.C.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/18/2022      62321      $976.38
1116303-02    A.C.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 9/18/2022      76942      $341.96
1116303-02    A.C.            Rockaways ASC Development LLC             Infectious Agent Detection By Nucl… 9/18/2022     87635       $51.33
1116303-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/11/2023      62323      $976.38
1117066-02    T.G.             Fifth Avenue Surgery Center LLC         Arthroscopy, Knee, Surgical; Synov… 12/22/2022     29875     $1,472.45
1117066-02    T.G.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 12/22/2022    29881     $3,026.24
1117066-02    T.G.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Femor… 12/22/2022    64447      $829.30
1117066-02    T.G.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 12/22/2022     76942      $341.96
1117066-02    T.G.             New Horizon Surgical Center LLC          Arthroscopy, Hip, Surgical; With R… 3/20/2023     29861     $1,472.45
1117066-02    T.G.             New Horizon Surgical Center LLC          Arthroscopy, Hip, Surgical; With D… 3/20/2023     29862     $1,472.45
1117066-02    T.G.             New Horizon Surgical Center LLC          Arthroscopy, Hip, Surgical; With S… 3/20/2023     29863     $3,026.24
1116116-01    S.W.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection(S); Single Or Multiple T…  9/17/2022   20552      $236.69
1116116-01    S.W.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection Procedure For Sacroiliac…  9/17/2022   27096      $429.53
1116116-01    S.W.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/17/2022      62323      $976.38
1116116-01    S.W.            Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; S…  3/13/2023   29821     $5,596.40
1116116-01    S.W.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; D… 3/13/2023     29823     $1,472.45
1116116-01    S.W.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; W… 3/13/2023     29825     $1,472.45
1116116-01    S.W.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; D… 3/13/2023     29826     $1,553.82
1116116-01    S.W.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; W… 3/13/2023     29827     $6,723.47
1116116-01    S.W.            Rockaways ASC Development LLC              Injection, Anesthetic Agent; Brach…  3/13/2023   64415      $979.78
1116116-01    S.W.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 3/13/2023      76942      $341.96
1116116-01    S.W.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection(S); Single Or Multiple T…  4/29/2023   20553      $236.69
1116116-01    S.W.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection Procedure For Sacroiliac…  4/29/2023   27096      $429.53
1116116-01    S.W.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/29/2023      62323      $976.38
1116116-01    S.W.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/18/2024      62323      $976.38
1116117-01    J.D.             New Horizon Surgical Center LLC          Perq Intrdscl Electrothrm Annulopl… 9/10/2022     22526     $5,292.93
1116117-01    J.D.             New Horizon Surgical Center LLC          Perq Intrdscl Electrothrm Annulopl… 9/10/2022     22527     $2,605.79
1116117-01    J.D.             New Horizon Surgical Center LLC         Unlisted Procedure, Nervous System… 9/10/2022      64999      $373.98
1116117-01    J.D.             New Horizon Surgical Center LLC         Probe, Percutaneous Lumbar Discect… 9/10/2022      C2614      $875.00
1116117-01    J.D.             New Horizon Surgical Center LLC           Prosthetic Implant, Not Otherwise …  9/10/2022   L8699       $44.00
1116117-01    J.D.          Rockland & Bergen Surgery Center LLC        Arthroscopy, Shoulder, Surgical; C… 9/22/2022     29806     $5,677.77
1116117-01    J.D.          Rockland & Bergen Surgery Center LLC        Arthroscopy, Shoulder, Surgical; D… 9/22/2022     29826     $1,472.45
1116117-01    J.D.          Rockland & Bergen Surgery Center LLC         Injection, Anesthetic Agent; Brach…  9/22/2022   64415      $979.78
1116117-01    J.D.          Rockland & Bergen Surgery Center LLC       Ultrasonic Guidance For Needle Pla… 9/22/2022      76942      $341.96
1116134-02    R.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    8/27/2022   20553      $236.69
                                                                 24 of 124                                                             Exhibit 3
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                                                           1612
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1116134-02    R.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/27/2022      62323      $976.38
1116134-02    R.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 8/27/2022      87635       $51.33
1116134-02    R.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Grafting Of Autologous Soft Tissue… 11/11/2022    15769     $1,170.59
1116134-02    R.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Tenolysis, Flexor Or Extensor Tend… 11/11/2022    27680     $1,417.17
1116134-02    R.M.       Surgicore LLC d/b/a Surgicore Surgical Center Repair, Secondary, Disrupted Ligam… 11/11/2022     27698     $1,615.30
1116134-02    R.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopically Aided Repair Of L… 11/11/2022    29892     $5,677.77
1116134-02    R.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Ankle (Tibiotalar And… 11/11/2022    29898     $1,472.45
1115755-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 7/11/2023      22526     $2,605.78
1115755-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 7/11/2023      62287     $5,292.93
1115755-02    V.H.             Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/7/2024      64493      $447.52
1115755-02    V.H.             Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/7/2024      64493      $976.38
1115755-02    V.H.             Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/7/2024      64494      $447.52
1115755-02    V.H.             Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/7/2024      64495      $447.52
1115859-02    E.M.             New Horizon Surgical Center LLC         Tenodesis Of Long Tendon Of Biceps… 11/3/2022      23430     $1,839.77
1115859-02    E.M.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; S…   11/3/2022   29821     $5,677.77
1115859-02    E.M.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 11/3/2022     29823     $1,472.45
1115859-02    E.M.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; W… 11/3/2022     29825     $1,472.45
1115859-02    E.M.             New Horizon Surgical Center LLC            Unlisted Procedure, Arthroscopy…    11/3/2022   29999     $1,472.45
1115859-02    E.M.             New Horizon Surgical Center LLC          Injection, Anesthetic Agent; Brach…   11/3/2022   64415      $979.78
1115859-02    E.M.             New Horizon Surgical Center LLC          Ultrasonic Guidance For Needle Pla… 11/3/2022     76942      $341.96
1115859-02    E.M.          All City Family Healthcare Center, Inc.    Synovectomy, Extensor Tendon Sheat… 3/8/2023       25118     $1,472.45
1115859-02    E.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Wrist, Surgical; Exci…    3/8/2023   29846     $3,290.01
1115859-02    E.M.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    3/8/2023   64415      $979.78
1115859-02    E.M.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla…    3/8/2023   76942      $341.96
1114848-01    T.K.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…   7/23/2022   29821     $5,677.77
1114848-01    T.K.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 7/23/2022     29823     $1,472.45
1114848-01    T.K.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 7/23/2022     29825     $1,472.45
1114848-01    T.K.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 7/23/2022     29826     $1,472.45
1114848-01    T.K.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…   7/23/2022   64415      $979.78
1114848-01    T.K.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 7/23/2022     76942      $341.96
1114848-01    T.K.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/23/2022     62323      $976.38
1115355-02    S.B.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te… 8/11/2022      23405     $1,839.77
1115355-02    S.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…   8/11/2022   29821     $5,677.77
1115355-02    S.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 8/11/2022     29823     $1,472.45
1115355-02    S.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 8/11/2022     29825     $1,472.45
1115355-02    S.B.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…   8/11/2022   64415      $979.78
1115355-02    S.B.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla… 8/11/2022     76942      $341.96
1115355-02    S.B.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…  9/11/2022   20552      $236.69
1115355-02    S.B.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/11/2022      62323      $976.38
1115355-02    S.B.            Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 9/11/2022     76942      $341.96
1115556-01    S.C.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…   7/31/2022   29821     $5,677.77
1115556-01    S.C.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 7/31/2022     29823     $1,472.45
1115556-01    S.C.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 7/31/2022     29825     $1,472.45
1115556-01    S.C.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 7/31/2022     29826     $1,472.45
1115556-01    S.C.             Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…    7/31/2022   29999     $1,472.45
1115556-01    S.C.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…   7/31/2022   64415      $979.78
1115556-01    S.C.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 7/31/2022     76942      $341.96
1115556-01    S.C.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/28/2022     62323      $976.38
1115658-01    A.O.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…    9/3/2022   29821     $5,677.77
1115658-01    A.O.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    9/3/2022   29823     $1,472.45
1115658-01    A.O.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…    9/3/2022   29825     $1,472.45
1115658-01    A.O.             Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…     9/3/2022   29999     $1,472.45
1115658-01    A.O.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…    9/3/2022   64415      $979.78
1115658-01    A.O.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…    9/3/2022   76942      $341.96
1115658-01    A.O.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/7/2022       62323      $976.38
1115658-01    A.O.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 9/21/2022     22526     $2,605.78
1115658-01    A.O.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 9/21/2022      62287     $5,292.93
1114685-02    E.R.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 12/14/2022   20552      $236.69
1114685-02    E.R.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/14/2022    62321      $976.38
1114685-02    E.R.            Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 12/14/2022    76942      $341.96
1114685-02    E.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/29/2023      62323      $976.38
1114999-01    H.D.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 10/20/2022   20552      $236.69
1114999-01    H.D.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/20/2022     62323      $976.38
1114999-01    H.D.            Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 10/20/2022    76942      $341.96
1114999-01    H.D.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl… 12/3/2022     22526     $2,605.78
1114999-01    H.D.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl… 12/3/2022     22527     $2,605.79
1114999-01    H.D.       Surgicore LLC d/b/a Surgicore Surgical Center Aspiration Or Decompression Proced… 12/3/2022      62287     $5,292.93
1114432-02    T.H.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/3/2023       62323      $976.38
                                                                 25 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 166 of 580 PageID #:
                                                           1613
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1114432-02    T.H.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov…      3/28/2023   29875     $1,472.45
1114432-02    T.H.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Abras…      3/28/2023   29879     $1,472.45
1114432-02    T.H.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With …     3/28/2023   29880     $3,026.24
1114432-02    T.H.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With …     3/28/2023   29884     $1,472.45
1114620-02    J.R.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…    8/15/2022   20552      $236.69
1114620-02    J.R.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      8/15/2022   62323      $976.38
1114620-02    J.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      8/15/2022   76942      $341.96
1114620-02    J.R.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…    8/22/2022   20552      $236.69
1114620-02    J.R.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      8/22/2022   62321      $976.38
1114620-02    J.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      8/22/2022   76942      $341.96
1114620-02    J.R.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…     2/14/2023   22526     $2,605.78
1114620-02    J.R.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…      2/14/2023   62287     $5,292.93
1114942-01    J.R.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…     8/1/2022   20552      $236.69
1114942-01    J.R.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…       8/1/2022   62323      $976.38
1114942-01    J.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…       8/1/2022   76942      $341.96
1114942-01    J.R.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…     8/4/2022   20552      $236.69
1114942-01    J.R.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…       8/4/2022   62321      $976.38
1114942-01    J.R.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…       8/4/2022   76942      $341.96
1114942-01    J.R.           Rockaways ASC Development LLC             Infectious Agent Detection By Nucl…       8/4/2022   87635       $51.33
1114306-01    M.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…     7/16/2022   29821     $5,677.77
1114306-01    M.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     7/16/2022   29823     $1,472.45
1114306-01    M.S.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…      7/16/2022   29825     $1,472.45
1114306-01    M.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     7/16/2022   29826     $1,472.45
1114306-01    M.S.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…     7/16/2022   64415      $979.78
1114306-01    M.S.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      7/16/2022   76942      $341.96
1114306-01    M.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     10/16/2022   62321      $976.38
1114306-01    M.S.           Rockaways ASC Development LLC             Infectious Agent Detection By Nucl…     10/16/2022   87635       $51.33
1114306-01    M.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     11/13/2022   62323      $967.38
1115491-01    M.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…      8/6/2022   29821     $5,677.77
1115491-01    M.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…      8/6/2022   29823     $1,472.45
1115491-01    M.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…      8/6/2022   29826     $1,472.45
1115491-01    M.P.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…      8/6/2022   64415      $979.78
1115491-01    M.P.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…       8/6/2022   76942      $341.96
1115491-01    M.P.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     10/19/2022   62323      $976.38
1115491-01    M.P.           Rockaways ASC Development LLC             Infectious Agent Detection By Nucl…     10/19/2022   87635       $51.33
1115491-01    M.P.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…     11/6/2022   22526     $2,605.78
1115491-01    M.P.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…     11/6/2022   22527     $2,605.78
1115491-01    M.P.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…      11/6/2022   62287     $5,292.93
1114228-02    H.D.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …     7/12/2022   20610      $473.39
1114228-02    H.D.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…     7/12/2022   29821     $5,677.77
1114228-02    H.D.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…     7/12/2022   29823     $1,472.45
1114228-02    H.D.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…     7/12/2022   64415      $979.78
1114228-02    H.D.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…      7/12/2022   76942      $341.96
1114228-02    H.D.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…    8/14/2022   20552      $236.69
1114228-02    H.D.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      8/14/2022   62323      $976.38
1114228-02    H.D.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…      8/14/2022   76942      $341.96
1114228-02    H.D.           Rockaways ASC Development LLC             Infectious Agent Detection By Nucl…      8/14/2022   87635       $51.33
1114228-02    H.D.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    10/13/2022   22526     $2,605.78
1114228-02    H.D.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    10/13/2022   22527     $2,605.77
1114228-02    H.D.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…     10/13/2022   62287     $5,292.93
1113832-03    H.H.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…       8/4/2022   29875     $1,472.45
1113832-03    H.H.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …      8/4/2022   29881     $1,472.45
1113832-03    H.H.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …      8/4/2022   29882     $3,026.24
1113832-03    H.H.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …      8/4/2022   29884     $1,472.45
1113832-03    H.H.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor…      8/4/2022   64447      $829.30
1113832-03    H.H.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…       8/4/2022   76942      $341.96
1113832-03    H.H.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S…     5/30/2023   29821     $5,677.77
1113832-03    H.H.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…     5/30/2023   29823     $1,472.45
1113832-03    H.H.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W…      5/30/2023   29825     $1,472.45
1113832-03    H.H.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…     5/30/2023   29826     $1,472.45
1113832-03    H.H.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent; Brach…     5/30/2023   64415      $979.78
1113832-03    H.H.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla…      5/30/2023   76942      $341.96
1114700-01    E.B.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    11/16/2022   22526     $2,605.78
1114700-01    E.B.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    11/16/2022   22527     $2,605.78
1114700-01    E.B.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…     11/16/2022   62287     $5,292.93
1114700-01    E.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     12/13/2022   22526     $5,292.93
1114700-01    E.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System…     12/13/2022   64999      $747.93
1114700-01    E.B.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…       2/6/2023   29875     $1,472.45
                                                                  26 of 124                                                              Exhibit 3
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                                                          1614
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                            Service     Code       Billed
1114700-01    E.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …     2/6/2023   29880     $3,026.24
1113627-01    S.A.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…     7/23/2022   29875     $1,472.45
1113627-01    S.A.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …    7/23/2022   29880     $3,026.24
1113627-01    S.A.            Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…      7/23/2022   29999     $1,472.45
1113627-01    S.A.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…     2/9/2023   20552      $236.69
1113627-01    S.A.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      2/9/2023   62321      $976.38
1113627-01    S.A.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…      2/9/2023   76942      $341.96
1113617-01    A.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…      8/9/2022   20553      $236.69
1113617-01    A.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      8/9/2022   62321      $976.38
1113617-01    A.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl…      8/9/2022   87635       $51.33
1113617-01    A.D.            New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; W…     3/23/2023   29819     $1,472.45
1113617-01    A.D.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; S…    3/23/2023   29821     $5,596.40
1113617-01    A.D.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; D…    3/23/2023   29823     $1,472.45
1113617-01    A.D.            New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; W…     3/23/2023   29825     $1,472.45
1113617-01    A.D.            New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; W…     3/23/2023   29827     $6,723.47
1113617-01    A.D.            New Horizon Surgical Center LLC            Unlisted Procedure, Arthroscopy…      3/23/2023   29999     $1,553.82
1113617-01    A.D.            New Horizon Surgical Center LLC           Injection, Anesthetic Agent; Brach…    3/23/2023   64415      $979.78
1113617-01    A.D.            New Horizon Surgical Center LLC          Ultrasonic Guidance For Needle Pla…     3/23/2023   76942      $341.96
1113404-02    C.C.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; S…    9/22/2022   29821     $5,677.77
1113404-02    C.C.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; D…    9/22/2022   29823     $1,472.45
1113404-02    C.C.           Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; W…     9/22/2022   29825     $1,472.45
1113404-02    C.C.           Rockaways ASC Development LLC               Unlisted Procedure, Arthroscopy…      9/22/2022   29999     $1,472.45
1113404-02    C.C.           Rockaways ASC Development LLC              Injection, Anesthetic Agent; Brach…    9/22/2022   64415      $979.78
1113404-02    C.C.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     9/22/2022   76942      $341.96
1113404-02    C.C.           Rockaways ASC Development LLC             Infectious Agent Detection By Nucl…     9/22/2022   87635       $51.33
1113404-02    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    11/18/2022   62321      $976.38
1113404-02    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl…    11/18/2022   87635       $51.33
1113404-02    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    12/16/2022   62323      $976.38
1113404-02    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl…    12/16/2022   87635       $51.33
1113404-02    C.C.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…    1/14/2023   22526     $5,292.93
1113404-02    C.C.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…    1/14/2023   22527     $2,605.78
1113404-02    C.C.               Surgicore of Jersey City LLC          Unlisted Procedure, Nervous System…     1/14/2023   64999      $747.93
1114475-01    E.K.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…    8/24/2022   20552      $236.69
1114475-01    E.K.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     8/24/2022   62323      $976.38
1114475-01    E.K.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     8/24/2022   76942      $341.96
1114475-01    E.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     2/16/2023   22526     $2,605.78
1114475-01    E.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced…     2/16/2023   62287     $5,292.93
1114475-01    E.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl…     2/16/2023   87635       $51.33
1114475-02    T.B.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…    8/24/2022   20552      $236.69
1114475-02    T.B.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     8/24/2022   62323      $976.38
1114475-02    T.B.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     8/24/2022   76942      $341.96
1114475-02    T.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     2/16/2023   22526     $2,605.78
1114475-02    T.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced…     2/16/2023   62287     $5,292.93
1114475-02    T.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl…     2/16/2023   87635       $51.33
1114371-01    A.B.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…    8/10/2022   20552      $236.69
1114371-01    A.B.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     8/10/2022   62321      $976.38
1114371-01    A.B.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     8/10/2022   76942      $341.96
1114371-01    A.B.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…    8/17/2022   20552      $236.69
1114371-01    A.B.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     8/17/2022   62321      $976.38
1114371-01    A.B.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     8/17/2022   76942      $341.96
1114371-01    A.B.           Rockaways ASC Development LLC             Infectious Agent Detection By Nucl…     8/17/2022   87635       $51.33
1114371-01    A.B.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…   11/25/2022   29821     $5,596.40
1114371-01    A.B.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…   11/25/2022   29823     $1,472.45
1114371-01    A.B.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…    11/25/2022   29827     $6,723.47
1114371-01    A.B.            Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…     11/25/2022   29999     $1,553.82
1114371-01    A.B.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…   11/25/2022   64415      $979.78
1114371-01    A.B.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…    11/25/2022   76942      $341.96
1113850-02    M.U.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…     8/20/2022   29875     $1,472.45
1113850-02    M.U.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …    8/20/2022   29881     $3,026.24
1113850-02    M.U.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     9/14/2022   62323      $976.38
1113850-02    M.U.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     10/4/2022   62321      $976.38
1113452-01    J.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     7/27/2022   62321      $976.38
1113452-01    J.S.           Rockaways ASC Development LLC             Infectious Agent Detection By Nucl…     7/27/2022   87635       $51.33
1113452-01    J.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     8/14/2022   62323      $976.38
1113452-01    J.S.           Rockaways ASC Development LLC             Infectious Agent Detection By Nucl…     8/14/2022   87635       $51.33
1113452-01    J.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    8/29/2022   29821     $5,677.77
1113452-01    J.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    8/29/2022   29823     $1,472.45
1113452-01    J.S.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     8/29/2022   29825     $1,472.45
                                                                 27 of 124                                                              Exhibit 3
       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                       Page 168 of 580 PageID #:
                                                            1615
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                             Date of     Billing   Amount
                                           Provider                                     Service
 Number      Person                                                                                              Service     Code       Billed
1113452-01    J.S.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D… 8/29/2022    29826     $1,472.45
1113452-01    J.S.           All City Family Healthcare Center, Inc.        Injection, Anesthetic Agent; Brach…  8/29/2022   64415      $979.78
1113452-01    J.S.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 8/29/2022     76942      $341.96
1113867-02    M.H.              Fifth Avenue Surgery Center LLC             Arthroscopy, Ankle, Surgical; Exci… 3/16/2023    29891     $3,026.24
1113867-02    M.H.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/29/2023     62323      $976.38
1113673-03    X.Y.           Rockland & Bergen Surgery Center LLC           Perq Intrdscl Electrothrm Annulopl… 7/29/2022    22526     $5,292.93
1113673-03    X.Y.           Rockland & Bergen Surgery Center LLC          Unlisted Procedure, Nervous System… 7/29/2022     64999      $373.98
1113673-03    X.Y.           Rockland & Bergen Surgery Center LLC          Probe, Percutaneous Lumbar Discect… 7/29/2022     C2614      $900.00
1113673-03    X.Y.              New Horizon Surgical Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/19/2022     64493      $447.52
1113673-03    X.Y.              New Horizon Surgical Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/19/2022     64493      $976.38
1113673-03    X.Y.              New Horizon Surgical Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/19/2022     64494      $447.52
1113673-03    X.Y.              New Horizon Surgical Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/19/2022     64495      $447.52
1114479-01    R.M.           All City Family Healthcare Center, Inc.        Injection(S); Single Or Multiple T…  11/7/2022   20552      $236.69
1114479-01    R.M.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/7/2022     62323      $976.38
1114479-01    R.M.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 11/7/2022     76942      $341.96
1114479-01    R.M.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 12/19/2022   22526     $2,605.78
1114479-01    R.M.             Rockaways ASC Development LLC              Aspiration Or Decompression Proced… 12/19/2022     62287     $5,292.93
1112535-01    M.B.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/19/2022    62321      $976.38
1112535-01    M.B.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/21/2023     62323      $976.38
1112535-01    M.B.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 5/25/2023     62321      $976.38
1112535-01    M.B.              Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/20/2024     62323      $976.38
1112547-01    I.U.             Rockaways ASC Development LLC                Injection(S); Single Or Multiple T…  7/27/2022   20552      $236.69
1112547-01    I.U.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/27/2022     62323      $976.38
1112547-01    I.U.             Rockaways ASC Development LLC               Ultrasonic Guidance For Needle Pla… 7/27/2022     76942      $341.96
1112547-01    I.U.           Bronx SC LLC d/b/a Empire State ASC           Injection Procedure For Diskograph… 9/21/2022     62290      $374.36
1112547-01    I.U.           Bronx SC LLC d/b/a Empire State ASC           Injection Procedure For Diskograph… 9/21/2022     62290      $748.73
1112547-01    I.U.           Bronx SC LLC d/b/a Empire State ASC           Diskography, Lumbar, Radiological … 9/21/2022     72295     $1,043.91
1112547-01    I.U.           Bronx SC LLC d/b/a Empire State ASC           Diskography, Lumbar, Radiological … 9/21/2022     72295      $481.29
1112547-01    I.U.           Bronx SC LLC d/b/a Empire State ASC            Perq Intrdscl Electrothrm Annulopl… 10/19/2022   22526     $2,605.78
1112547-01    I.U.           Bronx SC LLC d/b/a Empire State ASC          Transpedicular Approach With Decom… 10/19/2022     63056     $5,292.93
1112547-01    I.U.           Bronx SC LLC d/b/a Empire State ASC            Injection Procedure For Sacroiliac… 11/16/2022   27096      $429.53
1112547-01    I.U.           Bronx SC LLC d/b/a Empire State ASC            Injection Procedure For Sacroiliac… 11/16/2022   27096      $940.42
1112109-01    L.N.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; S…  7/30/2022   29821     $5,677.77
1112109-01    L.N.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D… 7/30/2022    29823     $1,472.45
1112109-01    L.N.              Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; W… 7/30/2022     29825     $1,472.45
1112109-01    L.N.              Fifth Avenue Surgery Center LLC              Unlisted Procedure, Arthroscopy…    7/30/2022   29999     $1,472.45
1112109-01    L.N.              Fifth Avenue Surgery Center LLC             Injection, Anesthetic Agent; Brach…  7/30/2022   64415      $979.78
1112109-01    L.N.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla… 7/30/2022     76942      $341.96
1112109-01    L.N.           All City Family Healthcare Center, Inc.        Injection(S); Single Or Multiple T…   9/6/2022   20552      $236.69
1112109-01    L.N.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/6/2022      62323      $976.38
1112109-01    L.N.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla…    9/6/2022   76942      $341.96
1112109-01    L.N.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 11/3/2022    22526     $2,605.78
1112109-01    L.N.             Rockaways ASC Development LLC              Aspiration Or Decompression Proced… 11/3/2022      62287     $5,292.93
1112109-01    L.N.             Rockaways ASC Development LLC                Injection(S); Single Or Multiple T…  2/28/2023   20552      $236.69
1112109-01    L.N.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/28/2023     62323      $976.38
1112109-01    L.N.             Rockaways ASC Development LLC               Ultrasonic Guidance For Needle Pla… 2/28/2023     76942      $341.96
1113182-02    N.B.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/15/2022     62321      $976.38
1113182-02    N.B.           All City Family Healthcare Center, Inc.      Diskectomy, Anterior, With Decompr… 6/26/2022      63075     $6,402.03
1113182-02    N.B.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/17/2022     62323      $976.38
1113182-02    N.B.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; S…  8/13/2022   29821     $5,677.77
1113182-02    N.B.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D… 8/13/2022    29823     $1,472.45
1113182-02    N.B.              Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; W… 8/13/2022     29825     $1,472.45
1113182-02    N.B.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D… 8/13/2022    29826     $1,472.45
1113182-02    N.B.              Fifth Avenue Surgery Center LLC              Unlisted Procedure, Arthroscopy…    8/13/2022   29999     $1,472.45
1113182-02    N.B.              Fifth Avenue Surgery Center LLC             Injection, Anesthetic Agent; Brach…  8/13/2022   64415      $979.78
1113182-02    N.B.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla… 8/13/2022     76942      $341.96
1112395-01    A.H.           All City Family Healthcare Center, Inc.        Injection(S); Single Or Multiple T… 12/29/2022   20552      $236.69
1112395-01    A.H.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/29/2022    62323      $976.38
1112395-01    A.H.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 12/29/2022    76942      $341.96
1112395-01    A.H.        Surgicore LLC d/b/a Surgicore Surgical Center     Injection(S); Single Or Multiple T…  4/13/2023   20553      $236.69
1112395-01    A.H.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/13/2023     62323      $976.38
1112309-02    J.P.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/12/2022     62323      $976.38
1112309-02    J.P.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 9/25/2022    22526     $2,605.78
1112309-02    J.P.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 9/25/2022    22527     $2,605.78
1112309-02    J.P.             Rockaways ASC Development LLC              Aspiration Or Decompression Proced… 9/25/2022      62287     $5,292.93
1112309-02    J.P.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; S… 12/14/2022   29821     $5,677.77
1112309-02    J.P.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D… 12/14/2022   29823     $1,472.45
1112309-02    J.P.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D… 12/14/2022   29826     $1,472.45
                                                                    28 of 124                                                             Exhibit 3
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                                                           1616
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1112309-02    J.P.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach… 12/14/2022   64415      $979.78
1112309-02    J.P.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 12/14/2022     76942      $341.96
1112309-02    J.P.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…  1/18/2023   29821     $5,677.77
1112309-02    J.P.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 1/18/2023     29823     $1,472.45
1112309-02    J.P.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 1/18/2023     29826     $1,472.45
1112309-02    J.P.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…  1/18/2023   64415      $979.78
1112309-02    J.P.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 1/18/2023      76942      $341.96
1112011-01    S.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/22/2022      62323      $976.38
1112011-01    S.S.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 6/12/2022     22526     $2,605.78
1112011-01    S.S.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 6/12/2022      62287     $5,292.93
1112011-01    S.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/6/2022       62321      $976.38
1112011-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 7/19/2022      29823     $3,026.24
1112011-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 7/19/2022      29825     $1,472.45
1112011-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 7/19/2022      29826     $1,472.45
1112011-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…    7/19/2022   64415      $979.78
1112011-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 7/19/2022      76942      $341.96
1112011-01    S.S.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    8/3/2022   22526     $2,605.78
1112011-01    S.S.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 8/3/2022       63075     $6,402.03
1112486-02    A.D.             Fifth Avenue Surgery Center LLC          Arthrocentesis, Aspiration And/Or … 5/24/2022     20610      $473.39
1112486-02    A.D.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…  5/24/2022   29821     $5,677.77
1112486-02    A.D.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 5/24/2022     29823     $1,472.45
1112486-02    A.D.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 5/24/2022     29825     $1,472.45
1112486-02    A.D.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…  5/24/2022   64415      $979.78
1112486-02    A.D.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 5/24/2022      76942      $341.96
1112486-02    A.D.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl…    9/3/2022   22526     $2,605.78
1112486-02    A.D.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl…    9/3/2022   22527     $2,605.78
1112486-02    A.D.       Surgicore LLC d/b/a Surgicore Surgical Center Aspiration Or Decompression Proced… 9/3/2022       62287     $5,292.93
1111689-01    I.S.               Surgicore of Jersey City LLC            Arthroscopy, Shoulder, Surgical; S…  6/30/2022   29821     $5,677.77
1111689-01    I.S.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D… 6/30/2022     29823     $1,472.45
1111689-01    I.S.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; W… 6/30/2022     29825     $1,472.45
1111689-01    I.S.               Surgicore of Jersey City LLC             Unlisted Procedure, Arthroscopy…    6/30/2022   29999     $1,472.45
1111689-01    I.S.               Surgicore of Jersey City LLC            Injection, Anesthetic Agent; Brach…  6/30/2022   64415      $979.78
1111689-01    I.S.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla… 6/30/2022      76942      $341.96
1111689-01    I.S.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    6/30/2022   A4649      $185.00
1111689-01    I.S.               Surgicore of Jersey City LLC            Arthroscopy, Shoulder, Surgical; S…   8/4/2022   29821     $5,677.77
1111689-01    I.S.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…    8/4/2022   29823     $1,472.45
1111689-01    I.S.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; W…    8/4/2022   29825     $1,472.45
1111689-01    I.S.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…    8/4/2022   29826     $1,472.45
1111689-01    I.S.               Surgicore of Jersey City LLC             Unlisted Procedure, Arthroscopy…     8/4/2022   29999     $1,472.45
1111689-01    I.S.               Surgicore of Jersey City LLC            Injection, Anesthetic Agent; Brach…   8/4/2022   64415      $979.78
1111689-01    I.S.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla…     8/4/2022   76942      $341.96
1111689-01    I.S.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     8/4/2022   A4649      $185.00
1111689-01    I.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/28/2022      62323      $976.38
1111689-01    I.S.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 9/11/2022     22526     $2,605.78
1111689-01    I.S.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 9/11/2022      62287     $5,292.93
1110654-01    A.R.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…   6/4/2022   29821     $5,677.77
1110654-01    A.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    6/4/2022   29823     $1,472.45
1110654-01    A.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…    6/4/2022   29825     $1,472.45
1110654-01    A.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    6/4/2022   29826     $1,472.45
1110654-01    A.R.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…   6/4/2022   64415      $979.78
1110654-01    A.R.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     6/4/2022   76942      $341.96
1110654-01    A.R.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/27/2022      62323      $976.38
1110654-01    A.R.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/10/2022      62321      $976.38
1110654-01    A.R.            Rockaways ASC Development LLC             Infectious Agent Detection By Nucl… 8/10/2022     87635       $51.33
1110654-01    A.R.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 9/18/2022     22526     $2,605.78
1110654-01    A.R.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 9/18/2022     22527     $2,605.78
1110654-01    A.R.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 9/18/2022      62287     $5,292.93
1110681-01    S.B.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 5/12/2022      29875     $1,472.45
1110681-01    S.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 5/12/2022     29880     $3,026.24
1110681-01    S.B.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…  7/10/2022   20553      $236.69
1110681-01    S.B.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/10/2022      62321      $976.38
1110681-01    S.B.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 7/10/2022      76942      $341.96
1110681-01    S.B.            Rockaways ASC Development LLC             Infectious Agent Detection By Nucl… 7/10/2022     87635       $51.33
1110809-02    M.J.       Surgicore LLC d/b/a Surgicore Surgical Center  Grafting Of Autologous Soft Tissue…    6/3/2022   15769     $1,276.24
1110809-02    M.J.       Surgicore LLC d/b/a Surgicore Surgical Center  Tenolysis, Flexor Or Extensor Tend…    6/3/2022   27680     $1,417.17
1110809-02    M.J.       Surgicore LLC d/b/a Surgicore Surgical Center Repair, Secondary, Disrupted Ligam… 6/3/2022       27698     $3,311.97
1110809-02    M.J.       Surgicore LLC d/b/a Surgicore Surgical Center  Treatment Of Tarsal Bone Fracture …    6/3/2022   28450      $811.88
1110809-02    M.J.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Ankle (Tibiotalar And…     6/3/2022   29898     $1,472.45
                                                                 29 of 124                                                             Exhibit 3
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                                                           1617
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1110809-02    M.J.       Surgicore LLC d/b/a Surgicore Surgical Center  Infectious Agent Detection By Nucl…    6/3/2022   87635       $51.33
1110809-02    M.J.             New Horizon Surgical Center LLC         Tenodesis Of Long Tendon Of Biceps… 11/17/2022     23430     $1,839.77
1110809-02    M.J.             New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; S… 11/17/2022   29821     $5,677.77
1110809-02    M.J.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 11/17/2022    29823     $1,472.45
1110809-02    M.J.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 11/17/2022    29824     $1,472.45
1110809-02    M.J.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; W… 11/17/2022    29825     $1,472.45
1110809-02    M.J.             New Horizon Surgical Center LLC           Injection, Anesthetic Agent; Brach… 11/17/2022   64415      $979.78
1110809-02    M.J.             New Horizon Surgical Center LLC          Ultrasonic Guidance For Needle Pla… 11/17/2022    76942      $341.96
1110809-02    M.J.             New Horizon Surgical Center LLC           Prosthetic Implant, Not Otherwise … 11/17/2022   L8699      $898.00
1110572-02    V.H.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…   6/4/2022   29821     $5,677.77
1110572-02    V.H.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    6/4/2022   29823     $1,472.45
1110572-02    V.H.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…    6/4/2022   29825     $1,472.45
1110572-02    V.H.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    6/4/2022   29826     $1,472.45
1110572-02    V.H.             Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…     6/4/2022   29999     $1,472.45
1110572-02    V.H.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…   6/4/2022   64415      $979.78
1110572-02    V.H.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…    6/4/2022   76942      $341.96
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    6/21/2022   20553      $236.69
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/21/2022      62321      $976.38
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    9/10/2022   20553      $473.39
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 9/10/2022      22526     $2,605.78
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 9/10/2022      22527     $2,605.79
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 9/10/2022      62287     $5,292.93
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 9/10/2022      87635       $51.33
1110572-02    V.H.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/7/2023      62323      $976.38
1110572-02    V.H.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 12/21/2023    22526     $2,605.78
1110572-02    V.H.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 12/21/2023     62287     $5,292.93
1111074-02    R.R.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/27/2022      62323      $976.38
1111074-02    R.R.             Fifth Avenue Surgery Center LLC          Arthrocentesis, Aspiration And/Or …    7/2/2022   20610      $473.38
1111074-02    R.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…    7/2/2022   29875     $1,472.45
1111074-02    R.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With …    7/2/2022   29880     $3,026.24
1111074-02    R.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With …    7/2/2022   29884     $1,472.45
1111074-02    R.R.             Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…     7/2/2022   29999     $1,472.45
1111074-02    R.R.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    7/6/2022   22526     $2,605.78
1111074-02    R.R.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    7/6/2022   22527     $2,605.78
1111074-02    R.R.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 7/6/2022       62287     $5,292.93
1111234-03    H.F.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 5/17/2022     22526     $2,605.78
1111234-03    H.F.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 5/17/2022      62287     $5,292.93
1111234-03    H.F.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…  6/13/2022   20552      $236.69
1111234-03    H.F.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/13/2022      62323      $976.38
1111234-03    H.F.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla… 6/13/2022     76942      $341.96
1111234-03    H.F.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…  6/20/2022   20552      $236.69
1111234-03    H.F.          All City Family Healthcare Center, Inc.     Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/20/2022     62321      $976.38
1111234-03    H.F.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla… 6/20/2022     76942      $341.96
1111487-02    R.V.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/8/2022       62323      $976.38
1111487-02    R.V.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 5/20/2022     22526     $2,605.78
1111487-02    R.V.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 5/20/2022     22527     $2,605.78
1111487-02    R.V.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 5/20/2022      62287     $5,292.93
1111487-02    R.V.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or … 6/16/2022     20610      $473.38
1111487-02    R.V.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Synov… 6/16/2022     29875     $1,472.45
1111487-02    R.V.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 6/16/2022     29880     $3,026.24
1111487-02    R.V.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 6/16/2022     29884     $1,472.45
1111487-02    R.V.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…    6/16/2022   29999     $1,472.45
1111487-02    R.V.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 6/18/2023     22526     $2,605.78
1111487-02    R.V.            Rockaways ASC Development LLC             Injection Procedure For Diskograph… 6/18/2023     62291      $748.74
1111487-02    R.V.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr… 6/18/2023      63075     $6,402.03
1111487-02    R.V.            Rockaways ASC Development LLC             Diskography, Cervical Or Thoracic,… 6/18/2023     72285      $962.54
1111487-02    R.V.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/26/2023      62323      $976.38
1110175-01    T.R.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/8/2022       62323      $976.38
1110175-01    T.R.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 6/19/2022     22526     $2,605.78
1110175-01    T.R.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 6/19/2022      62287     $5,292.93
1110175-01    T.R.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…  6/25/2022   29821     $5,677.77
1110175-01    T.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 6/25/2022     29823     $1,472.45
1110175-01    T.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 6/25/2022     29825     $1,472.45
1110175-01    T.R.             Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…    6/25/2022   29999     $1,472.45
1110175-01    T.R.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…  6/25/2022   64415      $979.78
1110175-01    T.R.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 6/25/2022     76942      $341.96
1109710-01    E.M.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 10/25/2022    22526     $2,605.78
1109710-01    E.M.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 10/25/2022     62287     $5,292.93
                                                                 30 of 124                                                             Exhibit 3
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                                                          1618
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1109710-01    E.M.          All City Family Healthcare Center, Inc.     Injection(S); Single Or Multiple T… 10/31/2022   20552      $236.69
1109710-01    E.M.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/31/2022    62323      $976.38
1109710-01    E.M.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 10/31/2022    76942      $341.96
1110542-03    Y.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…   9/27/2022   29821     $5,677.77
1110542-03    Y.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 9/27/2022     29823     $1,472.45
1110542-03    Y.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 9/27/2022     29825     $1,472.45
1110542-03    Y.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 9/27/2022     29826     $1,472.45
1110542-03    Y.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…   9/27/2022   64415      $979.78
1110542-03    Y.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 9/27/2022     76942      $341.96
1110542-03    Y.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 4/14/2023     62321      $976.38
1110542-03    Y.A.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 7/15/2023    22526     $5,292.93
1110542-03    Y.A.               Surgicore of Jersey City LLC          Unlisted Procedure, Nervous System… 7/15/2023     64999      $747.93
1110111-03    J.T.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl… 12/3/2022    22526     $2,605.78
1110111-03    J.T.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl… 12/3/2022    22527     $2,605.79
1110111-03    J.T.       Surgicore LLC d/b/a Surgicore Surgical Center Aspiration Or Decompression Proced… 12/3/2022     62287     $5,292.93
1110111-03    J.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; Synov…    1/7/2023   29875     $1,472.45
1110111-03    J.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; Abras…    1/7/2023   29879     $1,472.45
1110111-03    J.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With …    1/7/2023   29880     $3,026.24
1110111-03    J.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With …    1/7/2023   29884     $1,472.45
1109404-01    M.L.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/13/2022     62323      $976.38
1109404-01    M.L.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; C…   8/5/2022   29806     $5,677.77
1109404-01    M.L.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…   8/5/2022   29821     $2,798.20
1109404-01    M.L.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…   8/5/2022   29823     $1,472.45
1109404-01    M.L.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…     8/5/2022   29999     $1,472.45
1109404-01    M.L.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…   8/5/2022   64415      $979.78
1109404-01    M.L.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…    8/5/2022   76942      $341.96
1109404-01    M.L.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…   2/1/2023   22526     $5,292.93
1109404-01    M.L.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…   2/1/2023   22527     $2,605.78
1109404-01    M.L.            Rockaways ASC Development LLC            Unlisted Procedure, Nervous System… 2/1/2023      64999      $747.93
1109404-01    M.L.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 5/17/2023    22526     $2,605.78
1109404-01    M.L.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 5/17/2023    22527     $2,605.78
1109404-01    M.L.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 5/17/2023     62287     $5,292.93
1109085-01    R.Q.          All City Family Healthcare Center, Inc.     Injection(S); Single Or Multiple T…   4/4/2022   20552      $236.69
1109085-01    R.Q.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 4/4/2022      62321      $976.38
1109085-01    R.Q.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…    4/4/2022   76942      $341.96
1109085-01    R.Q.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…   4/7/2022   22526     $2,605.78
1109085-01    R.Q.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr… 4/7/2022      63075     $6,402.03
1109085-01    R.Q.             Fifth Avenue Surgery Center LLC         Tenotomy, Shoulder Area; Single Te… 4/16/2022     23405     $1,839.77
1109085-01    R.Q.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…  4/16/2022   29821     $5,677.77
1109085-01    R.Q.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 4/16/2022    29823     $1,472.45
1109085-01    R.Q.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 4/16/2022    29825     $1,472.45
1109085-01    R.Q.             Fifth Avenue Surgery Center LLC           Unlisted Procedure, Arthroscopy…    4/16/2022   29999     $1,472.45
1109085-01    R.Q.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…  4/16/2022   64415      $979.78
1109085-01    R.Q.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 4/16/2022     76942      $341.96
1109085-01    R.Q.            Rockaways ASC Development LLC             Arthrocentesis, Aspiration And/Or … 4/27/2022    20610      $473.38
1109085-01    R.Q.            Rockaways ASC Development LLC            Arthroscopy, Knee, Surgical; Synov… 4/27/2022     29875     $1,472.45
1109085-01    R.Q.            Rockaways ASC Development LLC             Arthroscopy, Knee, Surgical; With … 4/27/2022    29881     $3,026.24
1109085-01    R.Q.            Rockaways ASC Development LLC              Unlisted Procedure, Arthroscopy…    4/27/2022   29999     $1,472.45
1109085-01    R.Q.          All City Family Healthcare Center, Inc.     Injection(S); Single Or Multiple T…  7/26/2022   20552      $236.69
1109085-01    R.Q.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 7/26/2022     76942      $341.96
1109085-01    R.Q.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…   8/1/2022   22526     $2,605.78
1109085-01    R.Q.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 8/1/2022      62287     $5,292.93
1109140-02    S.B.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov… 6/15/2022     29876     $1,472.45
1109140-02    S.B.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; Abras… 6/15/2022    29879     $1,472.45
1109140-02    S.B.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 6/15/2022    29880     $3,026.24
1109140-02    S.B.               Surgicore of Jersey City LLC            Unlisted Procedure, Arthroscopy…    6/15/2022   29999     $1,472.45
1109140-02    S.B.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    6/15/2022   A4649      $195.00
1109140-02    S.B.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov…    7/6/2022   29876     $1,472.45
1109140-02    S.B.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With …   7/6/2022   29880     $3,026.24
1109140-02    S.B.               Surgicore of Jersey City LLC            Unlisted Procedure, Arthroscopy…     7/6/2022   29999     $1,472.45
1109140-02    S.B.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…     7/6/2022   A4649       $50.00
1109140-02    S.B.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…     7/6/2022   A4649      $195.00
1109140-02    S.B.               Manalapan Surgery Center Inc           Arthroscopy, Shoulder, Surgical; S…  7/19/2022   29821     $5,677.77
1109140-02    S.B.               Manalapan Surgery Center Inc           Arthroscopy, Shoulder, Surgical; D… 7/19/2022    29823     $1,472.45
1109140-02    S.B.               Manalapan Surgery Center Inc           Arthroscopy, Shoulder, Surgical; W… 7/19/2022    29825     $1,472.45
1109140-02    S.B.               Manalapan Surgery Center Inc            Unlisted Procedure, Arthroscopy…    7/19/2022   29999     $1,472.45
1109140-02    S.B.               Manalapan Surgery Center Inc           Injection, Anesthetic Agent; Brach…  7/19/2022   64415      $979.78
1109140-02    S.B.               Manalapan Surgery Center Inc          Ultrasonic Guidance For Needle Pla… 7/19/2022     76942      $341.96
                                                                 31 of 124                                                            Exhibit 3
       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                          Page 172 of 580 PageID #:
                                                            1619
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                               Date of     Billing   Amount
                                           Provider                                        Service
 Number      Person                                                                                                Service     Code       Billed
1109529-02    A.R.                Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Diagnostic,… 3/11/2022   29805     $3,026.24
1109529-02    A.R.                Surgicore of Jersey City LLC                Arthroscopy, Knee, Diagnostic, Wit… 3/11/2022    29870     $1,472.45
1109529-02    A.R.                Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…   3/11/2022   A4649      $700.00
1109529-02    A.R.                Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; S… 3/18/2022   29821     $5,677.77
1109529-02    A.R.                Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; D… 3/18/2022   29823     $1,472.45
1109529-02    A.R.                Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; D… 3/18/2022   29826     $1,472.45
1109529-02    A.R.                Surgicore of Jersey City LLC                 Injection, Anesthetic Agent; Brach… 3/18/2022   64415      $979.78
1109529-02    A.R.                Surgicore of Jersey City LLC                Ultrasonic Guidance For Needle Pla… 3/18/2022    76942      $341.96
1109529-02    A.R.                Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…   3/18/2022   A4649      $285.00
1109529-02    A.R.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/16/2022    62323      $976.38
1109600-02    J.M.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 5/16/2022    62321      $976.38
1109600-02    J.M.           All City Family Healthcare Center, Inc.           Arthrocentesis, Aspiration And/Or …  8/4/2022   20610      $473.38
1109600-02    J.M.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S…  8/4/2022   29821     $5,677.77
1109600-02    J.M.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…  8/4/2022   29823     $1,472.45
1109600-02    J.M.           All City Family Healthcare Center, Inc.          Arthroscopy, Shoulder, Surgical; W…   8/4/2022   29825     $1,472.45
1109600-02    J.M.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…  8/4/2022   29826     $1,472.45
1109600-02    J.M.           All City Family Healthcare Center, Inc.            Unlisted Procedure, Arthroscopy…    8/4/2022   29999     $1,472.45
1109600-02    J.M.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach…  8/4/2022   64415      $979.78
1109600-02    J.M.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…   8/4/2022   76942      $341.96
1108752-02    M.B.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T… 6/28/2022   20552      $236.69
1108752-02    M.B.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/28/2022    62323      $976.38
1108752-02    M.B.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 6/28/2022    76942      $341.96
1108752-02    M.B.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl…  7/5/2022   22526     $2,605.78
1108752-02    M.B.           All City Family Healthcare Center, Inc.          Aspiration Or Decompression Proced… 7/5/2022     62287     $5,292.93
1108752-02    M.B.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S… 5/12/2023   29821     $5,677.77
1108752-02    M.B.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 5/12/2023   29823     $1,472.45
1108752-02    M.B.           All City Family Healthcare Center, Inc.          Arthroscopy, Shoulder, Surgical; W… 5/12/2023    29825     $1,472.45
1108752-02    M.B.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 5/12/2023   29826     $1,472.45
1108752-02    M.B.           All City Family Healthcare Center, Inc.            Unlisted Procedure, Arthroscopy…   5/12/2023   29999     $1,472.45
1108752-02    M.B.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach… 5/12/2023   64415      $979.78
1108752-02    M.B.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla… 5/12/2023    76942      $341.96
1108821-01    M.S.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/13/2022    62323      $976.38
1108821-01    M.S.           All City Family Healthcare Center, Inc.          Tenotomy, Shoulder Area; Single Te… 6/23/2022    23405     $1,839.77
1108821-01    M.S.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S… 6/23/2022   29821     $5,677.77
1108821-01    M.S.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 6/23/2022   29823     $1,472.45
1108821-01    M.S.           All City Family Healthcare Center, Inc.          Arthroscopy, Shoulder, Surgical; W… 6/23/2022    29825     $1,472.45
1108821-01    M.S.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach… 6/23/2022   64415      $979.78
1108821-01    M.S.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla… 6/23/2022    76942      $341.96
1109882-02    A.M.           All City Family Healthcare Center, Inc.           Arthrocentesis, Aspiration And/Or … 4/28/2022   20610      $473.38
1109882-02    A.M.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S… 4/28/2022   29821     $5,677.77
1109882-02    A.M.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 4/28/2022   29823     $1,472.45
1109882-02    A.M.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach… 4/28/2022   64415      $979.78
1109882-02    A.M.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla… 4/28/2022    76942      $341.96
1109882-02    A.M.                Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/18/2022    62323      $976.38
1109882-02    A.M.                Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/9/2022     62321      $976.38
1109882-02    A.M.                Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/23/2022    62321      $976.38
1109882-02    A.M.                Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/6/2022     62323      $976.38
1109882-02    A.M.                Surgicore of Jersey City LLC                 Perq Intrdscl Electrothrm Annulopl… 9/17/2022   22526     $2,605.78
1109882-02    A.M.                Surgicore of Jersey City LLC                Aspiration Or Decompression Proced… 9/17/2022    62287     $5,292.93
1109882-02    A.M.                Surgicore of Jersey City LLC                Probe, Percutaneous Lumbar Discect… 9/17/2022    C2614     $1,300.00
1109882-02    A.M.                Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/1/2022    62321      $976.38
1109882-02    A.M.                Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/15/2022   62321      $976.38
1108596-02    P.W.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; S…  5/1/2022   29821     $5,677.77
1108596-02    P.W.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…  5/1/2022   29823     $1,472.45
1108596-02    P.W.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; W…   5/1/2022   29825     $1,472.45
1108596-02    P.W.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…  5/1/2022   29826     $1,472.45
1108596-02    P.W.             Fifth Avenue Surgery Center LLC                  Unlisted Procedure, Arthroscopy…    5/1/2022   29999     $1,472.45
1108596-02    P.W.             Fifth Avenue Surgery Center LLC                 Injection, Anesthetic Agent; Brach…  5/1/2022   64415      $979.78
1108596-02    P.W.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla…   5/1/2022   76942      $341.96
1108596-02    P.W.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T… 5/25/2022   20552      $236.69
1108596-02    P.W.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 5/25/2022    62321      $976.38
1108596-02    P.W.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 5/25/2022    76942      $341.96
1108596-02    P.W.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T… 6/26/2022   20552      $236.69
1108596-02    P.W.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/26/2022    62321      $976.38
1108596-02    P.W.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 6/26/2022    76942      $341.96
1108596-02    P.W.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T… 8/17/2022   20552      $236.69
1108596-02    P.W.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/17/2022    62323      $976.38
1108596-02    P.W.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 8/17/2022    76942      $341.96
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                                                           1620
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1108596-02    P.W.            Rockaways ASC Development LLC            Infectious Agent Detection By Nucl…     8/17/2022   87635       $51.33
1108596-02    P.W.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    9/14/2022   22526     $2,605.78
1108596-02    P.W.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    9/14/2022   22527     $2,605.78
1108596-02    P.W.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced…     9/14/2022   62287     $5,292.93
1108596-02    P.W.            Rockaways ASC Development LLC            Infectious Agent Detection By Nucl…     9/14/2022   87635       $51.33
1109252-02    K.M.          Rockland & Bergen Surgery Center LLC       Grafting Of Autologous Soft Tissue…     3/25/2022   15769     $1,170.59
1109252-02    K.M.          Rockland & Bergen Surgery Center LLC       Tenolysis, Flexor Or Extensor Tend…     3/25/2022   27680     $1,417.17
1109252-02    K.M.          Rockland & Bergen Surgery Center LLC       Repair, Secondary, Disrupted Ligam…     3/25/2022   27698     $1,615.30
1109252-02    K.M.          Rockland & Bergen Surgery Center LLC       Open Treatment Of Metatarsal Fract…     3/25/2022   28485     $4,869.06
1109252-02    K.M.          Rockland & Bergen Surgery Center LLC       Open Treatment Of Tarsometatarsal …     3/25/2022   28615     $5,869.06
1109252-02    K.M.          Rockland & Bergen Surgery Center LLC       Arthroscopy, Ankle (Tibiotalar And…     3/25/2022   29898     $1,472.45
1109252-02    K.M.          Rockland & Bergen Surgery Center LLC         Injection, Anesthetic Agent; Sciat…   3/25/2022   64445      $829.30
1109252-02    K.M.          Rockland & Bergen Surgery Center LLC        Injection, Anesthetic Agent; Other…    3/25/2022   64450      $414.65
1109252-02    K.M.          Rockland & Bergen Surgery Center LLC       Ultrasonic Guidance For Needle Pla…     3/25/2022   76942      $341.96
1109252-02    K.M.       Surgicore LLC d/b/a Surgicore Surgical Center Removal Of Implant; Deep (Eg, Buri…     7/22/2022   20680     $2,848.02
1107673-01    M.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    3/21/2022   29821     $5,677.77
1107673-01    M.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    3/21/2022   29823     $1,472.45
1107673-01    M.R.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     3/21/2022   29825     $1,472.45
1107673-01    M.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    3/21/2022   29826     $1,472.45
1107673-01    M.R.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    3/21/2022   64415      $979.78
1107673-01    M.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     3/21/2022   76942      $341.96
1107673-01    M.R.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     6/29/2022   62323      $976.38
1107600-01    H.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      3/6/2022   62323      $976.38
1107600-01    H.E.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    3/27/2022   22526     $2,605.78
1107600-01    H.E.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    3/27/2022   22527     $2,605.78
1107600-01    H.E.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced…     3/27/2022   62287     $5,292.93
1107600-01    H.E.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     4/24/2022   62321      $976.38
1107488-02    H.M.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…    3/27/2022   20552      $236.69
1107488-02    H.M.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     3/27/2022   62323      $976.38
1107488-02    H.M.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     3/27/2022   76942      $341.96
1107488-02    H.M.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    4/24/2022   22526     $2,605.78
1107488-02    H.M.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced…     4/24/2022   62287     $5,292.93
1107488-02    H.M.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    5/15/2022   22526     $5,292.93
1107488-02    H.M.            Rockaways ASC Development LLC            Unlisted Procedure, Nervous System…     5/15/2022   64999      $747.93
1107488-02    H.M.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te…     7/13/2022   23405     $1,839.77
1107488-02    H.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    7/13/2022   29821     $5,677.77
1107488-02    H.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    7/13/2022   29823     $1,472.45
1107488-02    H.M.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     7/13/2022   29825     $1,472.45
1107488-02    H.M.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…     7/13/2022   29999     $1,472.45
1107488-02    H.M.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    7/13/2022   64415      $979.78
1107488-02    H.M.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     7/13/2022   76942      $341.96
1107488-02    H.M.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te…     8/24/2022   23405     $1,839.77
1107488-02    H.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    8/24/2022   29821     $5,677.77
1107488-02    H.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    8/24/2022   29823     $1,472.45
1107488-02    H.M.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     8/24/2022   29825     $1,472.45
1107488-02    H.M.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…     8/24/2022   29999     $1,472.45
1107488-02    H.M.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    8/24/2022   64415      $979.78
1107488-02    H.M.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     8/24/2022   76942      $341.96
1107488-02    H.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection(S); Single Or Multiple T…     8/5/2023   20553      $236.69
1107488-02    H.M.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      8/5/2023   62323      $976.38
1107683-02    D.F.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     4/27/2022   62323      $976.38
1107683-02    D.F.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Shoulder, Surgical; D…    5/10/2022   29823     $3,026.24
1107683-02    D.F.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Shoulder, Surgical; D…    5/10/2022   29826     $1,472.45
1107683-02    D.F.          Bronx SC LLC d/b/a Empire State ASC         Injection, Anesthetic Agent; Brach…    5/10/2022   64415      $979.78
1107683-02    D.F.          Bronx SC LLC d/b/a Empire State ASC        Ultrasonic Guidance For Needle Pla…     5/10/2022   76942      $341.96
1107683-02    D.F.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    6/19/2022   22526     $2,605.78
1107683-02    D.F.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…     6/19/2022   62287     $5,292.93
1107524-02    S.A.             Fifth Avenue Surgery Center LLC          Arthrocentesis, Aspiration And/Or …    3/17/2022   20610      $473.39
1107524-02    S.A.             Fifth Avenue Surgery Center LLC         Tenotomy, Shoulder Area; Multiple …     3/17/2022   23406     $1,839.77
1107524-02    S.A.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…    3/17/2022   29821     $5,677.77
1107524-02    S.A.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    3/17/2022   29823     $1,472.45
1107524-02    S.A.             Fifth Avenue Surgery Center LLC         Arthroscopy, Shoulder, Surgical; W…     3/17/2022   29825     $1,472.45
1107524-02    S.A.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    3/17/2022   29826     $1,472.45
1107524-02    S.A.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…    3/17/2022   64415      $979.78
1107524-02    S.A.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     3/17/2022   76942      $341.96
1107524-02    S.A.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…    5/12/2022   20552      $236.69
1107524-02    S.A.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     5/12/2022   62321      $976.38
1107524-02    S.A.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     5/12/2022   76942      $341.96
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       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                        Page 174 of 580 PageID #:
                                                            1621
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                             Date of     Billing   Amount
                                           Provider                                      Service
 Number      Person                                                                                              Service     Code       Billed
1107524-02    S.A.             Rockaways ASC Development LLC                 Injection(S); Single Or Multiple T…  6/2/2022   20552      $236.69
1107524-02    S.A.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/2/2022      62321      $976.38
1107524-02    S.A.             Rockaways ASC Development LLC               Ultrasonic Guidance For Needle Pla…    6/2/2022   76942      $341.96
1107499-01    L.T.             Rockaways ASC Development LLC                 Injection(S); Single Or Multiple T…  2/3/2022   20552      $236.69
1107499-01    L.T.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/3/2022      62323      $976.38
1107499-01    L.T.             Rockaways ASC Development LLC               Ultrasonic Guidance For Needle Pla…    2/3/2022   76942      $341.96
1107499-01    L.T.             Rockaways ASC Development LLC                Infectious Agent Detection By Nucl…   2/3/2022   87635       $51.33
1107499-01    L.T.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 2/15/2022    22526     $2,605.78
1107499-01    L.T.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 2/15/2022    22527     $2,605.78
1107499-01    L.T.             Rockaways ASC Development LLC               Aspiration Or Decompression Proced… 2/15/2022     62287     $5,292.93
1107499-01    L.T.              Fifth Avenue Surgery Center LLC              Arthroscopy, Shoulder, Surgical; S…  4/9/2022   29821     $5,677.77
1107499-01    L.T.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D…   4/9/2022   29823     $1,472.45
1107499-01    L.T.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; W…   4/9/2022   29825     $1,472.45
1107499-01    L.T.              Fifth Avenue Surgery Center LLC               Unlisted Procedure, Arthroscopy…    4/9/2022   29999     $1,472.45
1107499-01    L.T.              Fifth Avenue Surgery Center LLC              Injection, Anesthetic Agent; Brach…  4/9/2022   64415      $979.78
1107499-01    L.T.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…    4/9/2022   76942      $341.96
1107593-02    E.J.              Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical; Synov… 7/25/2022     29875     $1,472.45
1107593-02    E.J.              Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical; Abras… 7/25/2022    29879     $1,472.45
1107593-02    E.J.              Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical; With … 7/25/2022    29880     $3,026.24
1107593-02    E.J.              Fifth Avenue Surgery Center LLC               Unlisted Procedure, Arthroscopy…   7/25/2022   29999     $1,472.45
1107593-02    E.J.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/9/2022      62323      $976.38
1107915-01    C.G.           All City Family Healthcare Center, Inc.       Tenotomy, Shoulder Area; Single Te… 8/25/2022     23405     $1,839.77
1107915-01    C.G.           All City Family Healthcare Center, Inc.         Arthroscopy, Shoulder, Surgical; S… 8/25/2022   29821     $5,677.77
1107915-01    C.G.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D… 8/25/2022    29823     $1,472.45
1107915-01    C.G.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; W… 8/25/2022    29825     $1,472.45
1107915-01    C.G.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D… 8/25/2022    29826     $1,472.45
1107915-01    C.G.           All City Family Healthcare Center, Inc.         Injection, Anesthetic Agent; Brach… 8/25/2022   64415      $979.78
1107915-01    C.G.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 8/25/2022     76942      $341.96
1107915-01    C.G.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/19/2022    62321      $976.38
1107915-01    C.G.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/17/2022    62321      $976.38
1107915-01    C.G.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/21/2023     64493      $976.38
1107915-01    C.G.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/21/2023     64494      $447.52
1107915-01    C.G.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/21/2023     64495      $447.52
1107915-01    C.G.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/18/2023     64493      $447.52
1107915-01    C.G.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/18/2023     64493      $976.38
1107915-01    C.G.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/18/2023     64494      $447.52
1107915-01    C.G.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/18/2023     64495      $447.52
1107915-01    C.G.                Surgicore of Jersey City LLC              Dstr Nrolytc Agnt Parverteb Fct Sn…   3/4/2023   64635      $976.38
1107915-01    C.G.                Surgicore of Jersey City LLC              Dstr Nrolytc Agnt Parverteb Fct Ad…   3/4/2023   64636      $447.52
1107915-01    C.G.                Surgicore of Jersey City LLC              Dstr Nrolytc Agnt Parverteb Fct Sn… 3/18/2023    64635      $976.38
1107915-01    C.G.                Surgicore of Jersey City LLC              Dstr Nrolytc Agnt Parverteb Fct Ad… 3/18/2023    64636      $447.52
1106813-01    L.B.           All City Family Healthcare Center, Inc.         Injection(S); Single Or Multiple T… 3/21/2022   20552      $236.69
1106813-01    L.B.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/21/2022     62323      $976.38
1106813-01    L.B.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 3/21/2022     76942      $341.96
1106813-01    L.B.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 4/28/2022    22526     $2,605.78
1106813-01    L.B.             Rockaways ASC Development LLC               Aspiration Or Decompression Proced… 4/28/2022     62287     $5,292.93
1106854-01    D.M.        Surgicore LLC d/b/a Surgicore Surgical Center     Grafting Of Autologous Soft Tissue… 2/18/2022    15769     $1,276.24
1106854-01    D.M.        Surgicore LLC d/b/a Surgicore Surgical Center    Repair, Secondary, Disrupted Ligam… 2/18/2022     27698     $1,472.45
1106854-01    D.M.        Surgicore LLC d/b/a Surgicore Surgical Center    Repair, Secondary, Disrupted Ligam… 2/18/2022     27698     $3,311.97
1106854-01    D.M.              New Horizon Surgical Center LLC              Arthroscopy, Shoulder, Surgical; S…  6/2/2022   29821     $5,677.77
1106854-01    D.M.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; D…   6/2/2022   29823     $1,472.45
1106854-01    D.M.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; D…   6/2/2022   29824     $1,472.45
1106854-01    D.M.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; W…   6/2/2022   29825     $1,472.45
1106854-01    D.M.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; D…   6/2/2022   29826     $1,472.45
1106854-01    D.M.              New Horizon Surgical Center LLC               Unlisted Procedure, Arthroscopy…    6/2/2022   29999     $1,472.45
1106854-01    D.M.              New Horizon Surgical Center LLC              Injection, Anesthetic Agent; Brach…  6/2/2022   64415      $979.78
1106854-01    D.M.              New Horizon Surgical Center LLC            Ultrasonic Guidance For Needle Pla…    6/2/2022   76942      $341.96
1106854-01    D.M.              New Horizon Surgical Center LLC              Prosthetic Implant, Not Otherwise …  6/2/2022   L8699      $205.00
1106368-02    E.A.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl…   2/7/2022   22526     $2,605.78
1106368-02    E.A.             Rockaways ASC Development LLC               Aspiration Or Decompression Proced… 2/7/2022      62287     $5,292.93
1106368-02    E.A.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 2/14/2022    22526     $2,605.78
1106368-02    E.A.             Rockaways ASC Development LLC               Diskectomy, Anterior, With Decompr… 2/14/2022     63075     $6,402.03
1106368-02    E.A.                Surgicore of Jersey City LLC              Arthroscopy, Shoulder, Surgical; W… 2/23/2022    29819     $1,472.45
1106368-02    E.A.                Surgicore of Jersey City LLC               Arthroscopy, Shoulder, Surgical; S… 2/23/2022   29821     $5,677.77
1106368-02    E.A.                Surgicore of Jersey City LLC              Arthroscopy, Shoulder, Surgical; D… 2/23/2022    29823     $1,472.45
1106368-02    E.A.                Surgicore of Jersey City LLC              Arthroscopy, Shoulder, Surgical; W… 2/23/2022    29825     $1,472.45
1106368-02    E.A.                Surgicore of Jersey City LLC                Unlisted Procedure, Arthroscopy…   2/23/2022   29999     $1,472.45
1106368-02    E.A.                Surgicore of Jersey City LLC               Injection, Anesthetic Agent; Brach… 2/23/2022   64415      $979.78
                                                                    34 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 175 of 580 PageID #:
                                                           1622
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1106368-02    E.A.               Surgicore of Jersey City LLC           Ultrasonic Guidance For Needle Pla… 2/23/2022      76942      $341.96
1106368-02    E.A.               Surgicore of Jersey City LLC           Infectious Agent Detection By Nucl… 2/23/2022      87635       $51.33
1106368-02    E.A.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     2/23/2022   A4649      $185.00
1106368-02    E.A.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; W… 4/27/2022      29819     $1,472.45
1106368-02    E.A.               Surgicore of Jersey City LLC            Arthroscopy, Shoulder, Surgical; S…   4/27/2022   29821     $5,677.77
1106368-02    E.A.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D… 4/27/2022      29823     $1,472.45
1106368-02    E.A.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; W… 4/27/2022      29825     $1,472.45
1106368-02    E.A.               Surgicore of Jersey City LLC              Unlisted Procedure, Arthroscopy…    4/27/2022   29999     $1,472.45
1106368-02    E.A.               Surgicore of Jersey City LLC            Injection, Anesthetic Agent; Brach…   4/27/2022   64415      $979.78
1106368-02    E.A.               Surgicore of Jersey City LLC           Ultrasonic Guidance For Needle Pla… 4/27/2022      76942      $341.96
1106368-02    E.A.               Surgicore of Jersey City LLC           Infectious Agent Detection By Nucl… 4/27/2022      87635       $51.33
1106368-02    E.A.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     4/27/2022   A4649      $165.00
1107277-03    G.F.            Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  3/15/2022   20552      $236.69
1107277-03    G.F.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/15/2022      62323      $976.38
1107277-03    G.F.            Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 3/15/2022      76942      $341.96
1107277-03    G.F.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 3/21/2022      22526     $2,605.78
1107277-03    G.F.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 3/21/2022       62287     $5,292.93
1106108-02    L.C.            Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  7/31/2022   20552      $236.69
1106108-02    L.C.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/31/2022      62323      $976.38
1106108-02    L.C.            Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 7/31/2022      76942      $341.96
1106108-02    L.C.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 9/11/2022      22526     $2,605.78
1106108-02    L.C.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 9/11/2022       62287     $5,292.93
1106108-02    L.C.       Surgicore LLC d/b/a Surgicore Surgical Center    Injection(S); Single Or Multiple T…  6/15/2023   20553      $236.69
1106108-02    L.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/15/2023      62321      $976.38
1106108-02    L.C.          Bronx SC LLC d/b/a Empire State ASC           Injection(S); Single Or Multiple T… 10/22/2023   20553      $236.69
1106108-02    L.C.          Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/22/2023     62323      $976.38
1106108-02    L.C.          Bronx SC LLC d/b/a Empire State ASC         Ultrasonic Guidance For Needle Pla… 10/22/2023     76942      $341.96
1107615-01    M.P.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; Synov… 2/22/2022      29875     $1,472.45
1107615-01    M.P.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; With … 2/22/2022      29880     $3,026.24
1107615-01    M.P.             New Horizon Surgical Center LLC          Perq Intrdscl Electrothrm Annulopl…     4/9/2022   22526     $2,605.79
1107615-01    M.P.             New Horizon Surgical Center LLC          Perq Intrdscl Electrothrm Annulopl…     4/9/2022   22527     $2,605.79
1107615-01    M.P.             New Horizon Surgical Center LLC         Aspiration Or Decompression Proced… 4/9/2022        62287     $5,292.93
1107615-01    M.P.             New Horizon Surgical Center LLC           Prosthetic Implant, Not Otherwise …    4/9/2022   L8699     $1,513.00
1107615-01    M.P.             New Horizon Surgical Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 4/27/2022      62320      $976.38
1107615-01    M.P.             New Horizon Surgical Center LLC          Epidurography, Radiological Superv… 4/27/2022      72275      $572.53
1106162-01    D.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 4/22/2022      62321      $976.38
1106162-01    D.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/10/2022       62321      $976.38
1106162-01    D.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/22/2022       62321      $976.38
1106162-01    D.L.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 9/23/2022      22526     $5,292.93
1106162-01    D.L.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 9/23/2022      22527     $2,605.78
1106162-01    D.L.               Surgicore of Jersey City LLC           Unlisted Procedure, Nervous System… 9/23/2022      64999      $747.93
1106162-01    D.L.               Surgicore of Jersey City LLC          Anchor/Screw For Opposing Bone-To-… 9/23/2022       C1713     $1,495.00
1106124-02    C.H.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/6/2022       62321      $976.38
1106124-02    C.H.            Rockaways ASC Development LLC             Infectious Agent Detection By Nucl…     2/6/2022   87635       $51.33
1106124-02    C.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/6/2022        62321      $976.38
1106124-02    C.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl…      3/6/2022   87635       $51.33
1105872-02    I.S.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/25/2022      62321      $976.38
1105872-02    I.S.             Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or … 3/31/2022     20610      $473.39
1105872-02    I.S.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 3/31/2022      29873     $1,472.45
1105872-02    I.S.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 3/31/2022      29875     $1,472.45
1105872-02    I.S.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 3/31/2022      29881     $3,026.24
1105872-02    I.S.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 3/31/2022      29884     $1,472.45
1105872-02    I.S.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor… 3/31/2022     64447      $829.30
1105872-02    I.S.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 3/31/2022      76942      $341.96
1105872-02    I.S.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 4/27/2022      64490      $447.52
1105872-02    I.S.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 4/27/2022      64490      $976.38
1105872-02    I.S.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 4/27/2022      64491      $447.52
1105872-02    I.S.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 4/27/2022      64492      $447.52
1105872-02    I.S.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 5/18/2022      64490     $1,952.76
1105872-02    I.S.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 5/18/2022      64491      $895.04
1105872-02    I.S.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 5/18/2022      64492      $895.04
1105479-02    K.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/6/2022        62321      $976.38
1105479-02    K.P.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 3/23/2022      22526     $5,292.93
1105479-02    K.P.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 3/23/2022      22527     $2,605.78
1105479-02    K.P.            Rockaways ASC Development LLC             Unlisted Procedure, Nervous System… 3/23/2022      64999      $747.93
1105479-02    K.P.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/3/2022       62323      $976.38
1105479-02    K.P.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 4/24/2022      62321      $976.38
1105479-02    K.P.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…    5/1/2022   29821     $5,677.77
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       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 176 of 580 PageID #:
                                                           1623
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1105479-02    K.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    5/1/2022   29823     $1,472.45
1105479-02    K.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    5/1/2022   29825     $1,472.45
1105479-02    K.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    5/1/2022   29826     $1,472.45
1105479-02    K.P.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   5/1/2022   64415      $979.78
1105479-02    K.P.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     5/1/2022   76942      $341.96
1105855-01    G.M.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  2/24/2022   20552      $236.69
1105855-01    G.M.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/24/2022      62323      $976.38
1105855-01    G.M.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 2/24/2022      76942      $341.96
1105855-01    G.M.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov… 3/30/2022      29876     $1,472.45
1105855-01    G.M.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 3/30/2022     29881     $1,472.45
1105855-01    G.M.               Surgicore of Jersey City LLC             Unlisted Procedure, Arthroscopy…    3/30/2022   29999     $1,472.45
1105855-01    G.M.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    3/30/2022   A4649      $195.00
1105855-01    G.M.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical, For R… 3/30/2022     G0289     $5,677.77
1106295-01    H.R.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 6/18/2022     22526     $2,605.78
1106295-01    H.R.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 6/18/2022     22527     $2,605.78
1106295-01    H.R.               Surgicore of Jersey City LLC          Aspiration Or Decompression Proced… 6/18/2022      62287     $5,292.93
1106295-01    H.R.               Surgicore of Jersey City LLC         Anchor/Screw For Opposing Bone-To-… 6/18/2022       C1713     $1,495.00
1106295-01    H.R.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or … 8/23/2022     20610      $473.39
1106295-01    H.R.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 8/23/2022      29875     $1,472.45
1106295-01    H.R.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 8/23/2022     29880     $3,026.24
1106295-01    H.R.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor… 8/23/2022     64447      $829.30
1106295-01    H.R.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 8/23/2022      76942      $341.96
1106916-01    G.O.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…  3/21/2022   20552      $236.69
1106916-01    G.O.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/21/2022      62323      $976.38
1106916-01    G.O.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 3/21/2022      76942      $341.96
1106916-01    G.O.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…  3/28/2022   20552      $236.69
1106916-01    G.O.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/28/2022      62321      $976.38
1106916-01    G.O.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 3/28/2022      76942      $341.96
1106916-01    G.O.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…  4/11/2022   20552      $236.69
1106916-01    G.O.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 4/11/2022      62321      $976.38
1106916-01    G.O.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 4/11/2022      76942      $341.96
1106916-01    G.O.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 4/28/2022     22526     $2,605.78
1106916-01    G.O.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 4/28/2022      63075     $6,402.03
1106916-01    G.O.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…   5/2/2022   20552      $236.69
1106916-01    G.O.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 5/2/2022       62321      $976.38
1106916-01    G.O.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     5/2/2022   76942      $341.96
1106916-01    G.O.            Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; S…  7/30/2022   29821     $5,677.77
1106916-01    G.O.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 7/30/2022     29823     $1,472.45
1106916-01    G.O.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 7/30/2022     29825     $1,472.45
1106916-01    G.O.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…    7/30/2022   29999     $1,472.45
1106916-01    G.O.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…  7/30/2022   64415      $979.78
1106916-01    G.O.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 7/30/2022      76942      $341.96
1106128-01    T.A.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S… 12/12/2021   29821     $5,677.77
1106128-01    T.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 12/12/2021    29823     $1,472.45
1106128-01    T.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 12/12/2021    29825     $1,472.45
1106128-01    T.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 12/12/2021    29826     $1,472.45
1106128-01    T.A.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach… 12/12/2021   64415      $979.78
1106128-01    T.A.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 12/12/2021     76942      $341.96
1106128-01    T.A.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/6/2022       62321      $976.38
1106128-01    T.A.           Rockaways ASC Development LLC              Infectious Agent Detection By Nucl…    2/6/2022   87635       $51.33
1106128-01    T.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     3/6/2022   22526     $5,292.93
1106128-01    T.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     3/6/2022   22527     $2,605.79
1106128-01    T.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System… 3/6/2022       64999      $747.93
1106128-01    T.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl…     3/6/2022   87635       $51.33
1105421-01    G.R.               Surgicore of Jersey City LLC           Tenolysis, Flexor Tendon; Palm Or …    8/9/2022   26440     $1,021.86
1105421-01    G.R.               Surgicore of Jersey City LLC          Tenolysis, Extensor Tendon, Hand O… 8/9/2022       26445     $1,021.86
1105421-01    G.R.               Surgicore of Jersey City LLC          Capsulectomy Or Capsulotomy; Inter… 8/9/2022       26525     $2,125.04
1105421-01    G.R.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/21/2022     62323      $976.38
1105421-01    G.R.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/18/2023      62321      $976.38
1105285-07    R.T.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 6/13/2022     22526     $2,605.78
1105285-07    R.T.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 6/13/2022      63075     $6,402.03
1105285-07    R.T.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…   7/5/2022   20552      $236.69
1105285-07    R.T.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/5/2022       62321      $976.38
1105285-07    R.T.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     7/5/2022   76942      $341.96
1105285-07    R.T.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 7/28/2022     22526     $2,605.78
1105285-07    R.T.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 7/28/2022      62287     $5,292.93
1105847-01    R.H.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/23/2022      62323      $976.38
1105847-01    R.H.          All City Family Healthcare Center, Inc.     Infectious Agent Detection By Nucl… 2/23/2022     87635       $51.33
                                                                 36 of 124                                                             Exhibit 3
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                                                          1624
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1105847-01    R.H.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 3/16/2022    22526     $2,605.78
1105847-01    R.H.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 3/16/2022     62287     $5,292.93
1105847-01    R.H.          All City Family Healthcare Center, Inc.    Infectious Agent Detection By Nucl… 3/16/2022     87635       $51.33
1105847-01    R.H.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…   5/1/2022   29821     $5,677.77
1105847-01    R.H.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…   5/1/2022   29823     $1,472.45
1105847-01    R.H.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…    5/1/2022   29825     $1,472.45
1105847-01    R.H.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…   5/1/2022   29826     $1,472.45
1105847-01    R.H.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…    5/1/2022   29999     $1,472.45
1105847-01    R.H.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…   5/1/2022   64415      $979.78
1105847-01    R.H.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…    5/1/2022   76942      $341.96
1105847-01    R.H.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or … 10/8/2022    20610      $473.38
1105847-01    R.H.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 10/8/2022     29875     $1,472.45
1105847-01    R.H.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Abras… 10/8/2022     29879     $1,472.45
1105847-01    R.H.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 10/8/2022    29880     $3,026.24
1105847-01    R.H.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…   10/8/2022   29999     $1,472.45
1105880-02    D.R.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov…    2/2/2022   29876     $1,472.45
1105880-02    D.R.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Abras…    2/2/2022   29879     $1,472.45
1105880-02    D.R.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With …   2/2/2022   29881     $1,472.45
1105880-02    D.R.               Surgicore of Jersey City LLC             Unlisted Procedure, Arthroscopy…    2/2/2022   29999     $1,472.45
1105880-02    D.R.               Surgicore of Jersey City LLC          Infectious Agent Detection By Nucl…    2/2/2022   87635       $51.33
1105880-02    D.R.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical, For R…   2/2/2022   G0289     $5,677.77
1105880-02    D.R.              Manalapan Surgery Center Inc            Arthroscopy, Shoulder, Surgical; S…  3/15/2022   29821     $5,677.77
1105880-02    D.R.              Manalapan Surgery Center Inc            Arthroscopy, Shoulder, Surgical; D… 3/15/2022    29823     $1,472.45
1105880-02    D.R.              Manalapan Surgery Center Inc           Arthroscopy, Shoulder, Surgical; W… 3/15/2022     29825     $1,472.45
1105880-02    D.R.              Manalapan Surgery Center Inc              Unlisted Procedure, Arthroscopy…   3/15/2022   29999     $1,472.45
1105880-02    D.R.              Manalapan Surgery Center Inc            Injection, Anesthetic Agent; Brach…  3/15/2022   64415      $979.78
1105880-02    D.R.              Manalapan Surgery Center Inc           Ultrasonic Guidance For Needle Pla… 3/15/2022     76942      $341.96
1105880-02    D.R.              Manalapan Surgery Center Inc           Arthroscopy, Knee, Surgical; Synov… 4/19/2022     29876     $1,472.45
1105880-02    D.R.              Manalapan Surgery Center Inc           Arthroscopy, Knee, Surgical; Abras… 4/19/2022     29879     $1,472.45
1105880-02    D.R.              Manalapan Surgery Center Inc            Arthroscopy, Knee, Surgical; With … 4/19/2022    29880     $3,026.24
1105880-02    D.R.              Manalapan Surgery Center Inc              Unlisted Procedure, Arthroscopy…   4/19/2022   29999     $1,472.45
1105880-02    D.R.              Manalapan Surgery Center Inc             Injection, Anesthetic Agent; Sciat… 4/19/2022   64445      $829.30
1105880-02    D.R.              Manalapan Surgery Center Inc           Ultrasonic Guidance For Needle Pla… 4/19/2022     76942      $341.96
1104916-02    J.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/15/2021    62323      $976.38
1104916-02    J.C.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 12/15/2021    72275      $572.53
1104916-02    J.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/5/2022      62321      $976.38
1104916-02    J.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/19/2022     62323      $976.38
1104916-02    J.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/9/2022      62321      $976.38
1104916-02    J.C.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 4/10/2022     29875     $1,472.45
1104916-02    J.C.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Abras… 4/10/2022     29879     $1,472.45
1104916-02    J.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 4/10/2022    29880     $3,026.24
1104916-02    J.C.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…   4/10/2022   29999     $1,472.45
1106077-01    L.P.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…   7/7/2022   20552      $236.69
1106077-01    L.P.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/7/2022      62321      $976.38
1106077-01    L.P.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…    7/7/2022   76942      $341.96
1106077-01    L.P.           Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 7/28/2022    64490      $447.52
1106077-01    L.P.           Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 7/28/2022    64490      $976.38
1106077-01    L.P.           Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 7/28/2022    64491      $447.52
1106077-01    L.P.           Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 7/28/2022    64492      $447.52
1106077-01    L.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; Synov… 11/1/2022     29875     $3,026.24
1106077-01    L.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Arthroscopy…      11/1/2022   29999     $1,472.45
1106077-01    L.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 11/1/2022     87635       $51.33
1105595-01    J.H.            New Horizon Surgical Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/23/2022     62323      $976.38
1105595-01    J.H.         Rockland & Bergen Surgery Center LLC        Aspiration Or Decompression Proced… 6/27/2022     62287     $5,292.93
1105595-01    J.H.         Rockland & Bergen Surgery Center LLC        Probe, Percutaneous Lumbar Discect… 6/27/2022     C2614     $1,495.00
1105595-01    J.H.            New Horizon Surgical Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 8/13/2022    64490      $447.52
1105595-01    J.H.            New Horizon Surgical Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 8/13/2022    64490      $976.38
1105595-01    J.H.            New Horizon Surgical Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 8/13/2022    64491      $447.52
1105595-01    J.H.            New Horizon Surgical Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 8/13/2022    64492      $447.52
1105682-01    I.S.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…  2/19/2022   29821     $5,596.40
1105682-01    I.S.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 2/19/2022    29823     $1,472.45
1105682-01    I.S.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 2/19/2022     29825     $1,472.45
1105682-01    I.S.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 2/19/2022    29826     $1,553.82
1105682-01    I.S.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 2/19/2022     29827     $6,723.47
1105682-01    I.S.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…  2/19/2022   64415      $979.78
1105682-01    I.S.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 2/19/2022     76942      $341.96
1105682-01    I.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/6/2022      62321      $976.38
1104442-01    P.K.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 12/15/2021   20552      $236.69
                                                                 37 of 124                                                            Exhibit 3
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                                                           1625
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1104442-01    P.K.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/15/2021     62323      $976.38
1104442-01    P.K.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 12/15/2021     72275      $572.53
1104442-01    P.K.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 12/15/2021     76942      $341.96
1104442-01    P.K.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 12/22/2021    22526     $2,605.78
1104442-01    P.K.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 12/22/2021    22527     $2,605.78
1104442-01    P.K.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 12/22/2021     62287     $5,292.93
1104442-01    P.K.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  1/12/2022   20552      $236.69
1104442-01    P.K.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/12/2022      62321      $976.38
1104442-01    P.K.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 1/12/2022      76942      $341.96
1104442-01    P.K.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 1/19/2022     22526     $2,605.78
1104442-01    P.K.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 1/19/2022     22527     $2,605.78
1104442-01    P.K.           Rockaways ASC Development LLC              Injection Procedure For Diskograph… 1/19/2022     62291      $748.74
1104442-01    P.K.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 1/19/2022      63075     $6,402.03
1104442-01    P.K.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 1/19/2022      63076     $3,160.34
1104442-01    P.K.           Rockaways ASC Development LLC              Diskography, Cervical Or Thoracic,… 1/19/2022     72285      $962.54
1104442-01    P.K.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/1/2024       62321      $976.38
1104442-01    P.K.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/15/2024      62321      $976.38
1105099-01    M.C.            Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; S…  3/19/2022   29821     $5,596.40
1105099-01    M.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 3/19/2022     29823     $1,472.45
1105099-01    M.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 3/19/2022     29825     $1,472.45
1105099-01    M.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 3/19/2022     29826     $1,553.82
1105099-01    M.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 3/19/2022     29827     $6,723.47
1105099-01    M.C.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…  3/19/2022   64415      $979.78
1105099-01    M.C.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 3/19/2022      76942      $341.96
1105099-01    M.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/27/2022      62321      $976.38
1104504-01    J.R.            New Horizon Surgical Center LLC           Arthrocentesis, Aspiration And/Or … 3/22/2022     20610      $236.69
1104504-01    J.R.            New Horizon Surgical Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/22/2022     64490      $447.52
1104504-01    J.R.            New Horizon Surgical Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/22/2022     64490      $976.38
1104504-01    J.R.            New Horizon Surgical Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/22/2022     64491      $447.52
1104504-01    J.R.            New Horizon Surgical Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/22/2022     64492      $447.52
1104504-01    J.R.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 5/19/2022      29875     $1,472.45
1104504-01    J.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Abras… 5/19/2022     29879     $1,472.45
1104504-01    J.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 5/19/2022     29880     $3,026.24
1104504-01    J.R.          All City Family Healthcare Center, Inc.        Unlisted Procedure, Arthroscopy…   5/19/2022   29999     $1,472.45
1105004-02    G.C.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…     2/7/2022   29875     $1,472.45
1105004-02    G.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …    2/7/2022   29880     $3,026.24
1105004-02    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 4/12/2022      22526     $2,605.78
1105004-02    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 4/12/2022      22527     $2,605.79
1105004-02    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 4/12/2022      62287     $5,292.93
1104035-01    K.W.              Manalapan Surgery Center Inc           Arthroscopy, Knee, Surgical; Synov… 6/21/2022      29876     $1,472.45
1104035-01    K.W.              Manalapan Surgery Center Inc            Arthroscopy, Knee, Surgical; Abras… 6/21/2022     29879     $1,472.45
1104035-01    K.W.              Manalapan Surgery Center Inc            Arthroscopy, Knee, Surgical; With … 6/21/2022     29881     $3,026.24
1104035-01    K.W.              Manalapan Surgery Center Inc              Injection, Anesthetic Agent; Sciat… 6/21/2022   64445      $829.30
1104035-01    K.W.              Manalapan Surgery Center Inc           Ultrasonic Guidance For Needle Pla… 6/21/2022      76942      $341.96
1104035-01    K.W.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov… 7/27/2022      29876     $1,472.45
1104035-01    K.W.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; Abras… 7/27/2022     29879     $1,472.45
1104035-01    K.W.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 7/27/2022     29881     $3,026.24
1104035-01    K.W.               Surgicore of Jersey City LLC              Unlisted Procedure, Arthroscopy…   7/27/2022   29999     $1,472.45
1104035-01    K.W.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    7/27/2022   A4649      $195.00
1103568-02    D.K.         Rockland & Bergen Surgery Center LLC        Arthroscopy, Knee, Surgical; Synov… 1/18/2022      29875     $1,472.45
1103568-02    D.K.         Rockland & Bergen Surgery Center LLC            Unlisted Procedure, Arthroscopy…   1/18/2022   29999     $1,472.45
1103568-02    D.K.         Rockland & Bergen Surgery Center LLC         Arthroscopy, Knee, Surgical, For R… 1/18/2022     G0289     $5,677.77
1103568-02    D.K.            New Horizon Surgical Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/16/2022      62323      $976.38
1103929-02    F.G.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/27/2022      62323      $976.38
1103929-02    F.G.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/11/2022      62323      $976.38
1103929-02    F.G.         Bronx SC LLC d/b/a Empire State ASC           Injection(S); Single Or Multiple T…  6/13/2022   20552      $236.69
1103929-02    F.G.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/13/2022      62321      $976.38
1103929-02    F.G.         Bronx SC LLC d/b/a Empire State ASC         Ultrasonic Guidance For Needle Pla… 6/13/2022      76942      $341.96
1103929-02    F.G.            Fifth Avenue Surgery Center LLC            Injection(S); Single Or Multiple T…   7/6/2022   20553      $236.69
1103929-02    F.G.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/6/2022       62321      $976.38
1103929-02    F.G.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     7/6/2022   76942      $341.96
1103929-02    F.G.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/1/2022       62321      $976.38
1103840-01    A.P.            Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; S…  11/1/2021   29821     $5,677.77
1103840-01    A.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 11/1/2021     29823     $1,472.45
1103840-01    A.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 11/1/2021     29825     $1,472.45
1103840-01    A.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 11/1/2021     29826     $1,472.45
1103840-01    A.P.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…  11/1/2021   64415      $979.78
1103840-01    A.P.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 11/1/2021      76942      $341.96
                                                                 38 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                           Page 179 of 580 PageID #:
                                                            1626
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                   Date of     Billing   Amount
                                           Provider                                         Service
 Number      Person                                                                                                    Service     Code       Billed
1103840-01    A.P.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; S…     12/6/2021   29821     $5,677.77
1103840-01    A.P.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…     12/6/2021   29823     $1,472.45
1103840-01    A.P.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; W…      12/6/2021   29825     $1,472.45
1103840-01    A.P.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…     12/6/2021   29826     $1,472.45
1103840-01    A.P.             Fifth Avenue Surgery Center LLC                 Injection, Anesthetic Agent; Brach…     12/6/2021   64415      $979.78
1103840-01    A.P.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla…      12/6/2021   76942      $341.96
1103840-01    A.P.           All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     12/29/2021   62321      $976.38
1103840-01    A.P.           All City Family Healthcare Center, Inc.          Epidurography, Radiological Superv…     12/29/2021   72275      $572.53
1103840-01    A.P.           All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      1/16/2022   62323      $976.38
1103840-01    A.P.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl…      2/2/2022   22526     $2,605.78
1103840-01    A.P.           All City Family Healthcare Center, Inc.          Aspiration Or Decompression Proced…       2/2/2022   62287     $5,292.93
1103652-03    A.P.           All City Family Healthcare Center, Inc.            Injection(S); Single Or Multiple T…    11/4/2021   20552      $236.69
1103652-03    A.P.           All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      11/4/2021   62321      $976.38
1103652-03    A.P.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…      11/4/2021   76942      $341.96
1103652-03    A.P.           All City Family Healthcare Center, Inc.            Injection(S); Single Or Multiple T…   11/18/2021   20552      $236.69
1103652-03    A.P.           All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     11/18/2021   62321      $976.38
1103652-03    A.P.           All City Family Healthcare Center, Inc.          Epidurography, Radiological Superv…     11/18/2021   72275      $572.53
1103652-03    A.P.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…     11/18/2021   76942      $341.96
1103652-03    A.P.            Rockaways ASC Development LLC                    Arthrocentesis, Aspiration And/Or …     1/17/2022   20610      $473.38
1103652-03    A.P.            Rockaways ASC Development LLC                   Arthroscopy, Knee, Diagnostic, Wit…      1/17/2022   29870     $1,472.45
1103652-03    A.P.            Rockaways ASC Development LLC                   Arthroscopy, Knee, Surgical; Synov…      1/17/2022   29875     $1,472.45
1103652-03    A.P.            Rockaways ASC Development LLC                    Arthroscopy, Knee, Surgical; With …     1/17/2022   29880     $3,026.24
1103669-04    N.A.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     12/13/2021   62323      $976.38
1103669-04    N.A.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv…     12/13/2021   72275      $572.53
1103669-04    N.A.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; R…     1/16/2022   29807     $5,677.77
1103669-04    N.A.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S…     1/16/2022   29821     $2,798.20
1103669-04    N.A.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…     1/16/2022   29823     $1,472.45
1103669-04    N.A.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…     1/16/2022   29826     $1,472.45
1103669-04    N.A.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach…     1/16/2022   64415      $979.78
1103669-04    N.A.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…      1/16/2022   76942      $341.96
1103669-05    J.C.           All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical; Synov…       1/9/2022   29875     $1,472.45
1103669-05    J.C.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With …      1/9/2022   29880     $3,026.24
1103669-05    J.C.           All City Family Healthcare Center, Inc.             Unlisted Procedure, Arthroscopy…       1/9/2022   29999     $1,472.45
1103669-05    J.C.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      4/10/2022   62323      $976.38
1103669-05    J.C.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…     6/10/2022   22526     $2,605.78
1103669-05    J.C.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…     6/10/2022   22527     $2,605.78
1103669-05    J.C.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced…      6/10/2022   62287     $5,292.93
1102616-02    L.V.           Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     12/23/2021   62321      $976.38
1102616-02    L.V.           Bronx SC LLC d/b/a Empire State ASC              Epidurography, Radiological Superv…     12/23/2021   72275      $572.53
1102616-02    L.V.             New Horizon Surgical Center LLC                Arthroscopy, Knee, Surgical; Synov…       1/5/2022   29875     $1,472.45
1102616-02    L.V.             New Horizon Surgical Center LLC                 Arthroscopy, Knee, Surgical; With …      1/5/2022   29880     $3,026.24
1102616-02    L.V.             New Horizon Surgical Center LLC                 Injection, Anesthetic Agent; Femor…      1/5/2022   64447      $829.30
1102616-02    L.V.             New Horizon Surgical Center LLC                Ultrasonic Guidance For Needle Pla…       1/5/2022   76942      $341.96
1102616-02    L.V.             New Horizon Surgical Center LLC                 Prosthetic Implant, Not Otherwise …      1/5/2022   L8699      $355.00
1102313-01    D.D.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; Synov…     10/31/2021   29875     $1,472.45
1102313-01    D.D.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; With …    10/31/2021   29880     $3,026.24
1102313-01    D.D.             Fifth Avenue Surgery Center LLC                   Unlisted Procedure, Arthroscopy…     10/31/2021   29999     $1,472.45
1102313-01    D.D.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     11/21/2021   62323      $976.38
1102313-01    D.D.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv…     11/21/2021   72275      $572.53
1102313-01    D.D.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; S…    11/29/2021   29821     $5,677.77
1102313-01    D.D.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…    11/29/2021   29823     $1,472.45
1102313-01    D.D.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; W…     11/29/2021   29825     $1,472.45
1102313-01    D.D.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D…    11/29/2021   29826     $1,472.45
1102313-01    D.D.             Fifth Avenue Surgery Center LLC                 Injection, Anesthetic Agent; Brach…    11/29/2021   64415      $979.78
1102313-01    D.D.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla…     11/29/2021   76942      $341.96
1102313-01    D.D.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…    12/19/2021   22526     $2,605.78
1102313-01    D.D.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…    12/19/2021   22527     $2,605.78
1102313-01    D.D.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced…     12/19/2021   62287     $5,292.93
1102313-01    D.D.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…       1/5/2022   62321      $976.38
1102313-01    D.D.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…     1/23/2022   22526     $5,292.93
1102313-01    D.D.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…     1/23/2022   22527     $2,605.78
1102313-01    D.D.            Rockaways ASC Development LLC                   Unlisted Procedure, Nervous System…      1/23/2022   64999      $747.93
1102688-02    R.B.             Fifth Avenue Surgery Center LLC                  Injection(S); Single Or Multiple T…    6/20/2022   20553      $236.69
1102688-02    R.B.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      6/20/2022   62323      $976.38
1102688-02    R.B.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla…      6/20/2022   76942      $341.96
1102688-02    R.B.           Bronx SC LLC d/b/a Empire State ASC                Injection(S); Single Or Multiple T…    7/11/2022   20552      $236.69
1102688-02    R.B.           Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      7/11/2022   62323      $976.38
1102688-02    R.B.           Bronx SC LLC d/b/a Empire State ASC              Ultrasonic Guidance For Needle Pla…      7/11/2022   76942      $341.96
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                                                           1627
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1102688-02    R.B.          Bronx SC LLC d/b/a Empire State ASC          Injection(S); Single Or Multiple T…  8/22/2022   20552      $236.69
1102688-02    R.B.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/22/2022      62323      $976.38
1102688-02    R.B.          Bronx SC LLC d/b/a Empire State ASC        Ultrasonic Guidance For Needle Pla… 8/22/2022      76942      $341.96
1102688-02    R.B.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/19/2022      64493      $976.38
1102688-02    R.B.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/19/2022      64494      $447.52
1102688-02    R.B.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/19/2022      64495      $447.52
1102158-02    L.R.             Fifth Avenue Surgery Center LLC          Arthrocentesis, Aspiration And/Or … 11/16/2021    20610      $473.39
1102158-02    L.R.             Fifth Avenue Surgery Center LLC         Arthroscopy, Knee, Surgical; Synov… 11/16/2021     29875     $1,472.45
1102158-02    L.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 11/16/2021    29880     $3,026.24
1102158-02    L.R.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Femor… 11/16/2021    64447      $829.30
1102158-02    L.R.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 11/16/2021     76942      $341.96
1102158-02    L.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical, For R… 11/16/2021    G0289     $1,472.45
1102158-02    L.R.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…  1/23/2022   20552      $236.69
1102158-02    L.R.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/23/2022      62323      $976.38
1102158-02    L.R.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 1/23/2022      76942      $341.96
1101711-01    S.B.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy, Shoulder, Surgical; S…  11/8/2021   29821     $5,677.77
1101711-01    S.B.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; D… 11/8/2021     29823     $1,472.45
1101711-01    S.B.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; W… 11/8/2021     29825     $1,472.45
1101711-01    S.B.       Surgicore LLC d/b/a Surgicore Surgical Center    Unlisted Procedure, Arthroscopy…    11/8/2021   29999     $1,472.45
1101711-01    S.B.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection, Anesthetic Agent; Brach…  11/8/2021   64415      $979.78
1101711-01    S.B.       Surgicore LLC d/b/a Surgicore Surgical Center Ultrasonic Guidance For Needle Pla… 11/8/2021      76942      $341.96
1101711-01    S.B.             Fifth Avenue Surgery Center LLC          Arthrocentesis, Aspiration And/Or … 12/23/2021    20610      $473.39
1101711-01    S.B.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S… 12/23/2021   29821     $5,677.77
1101711-01    S.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 12/23/2021    29825     $1,472.45
1101711-01    S.B.             Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…   12/23/2021   29999     $1,472.45
1101711-01    S.B.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach… 12/23/2021   64415      $979.78
1101711-01    S.B.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 12/23/2021     76942      $341.96
1101912-02    J.G.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/17/2021     62323      $976.38
1101912-02    J.G.          Bronx SC LLC d/b/a Empire State ASC        Epidurography, Radiological Superv… 12/17/2021     72275      $572.53
1101912-02    J.G.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 1/13/2023      29875     $1,472.45
1101912-02    J.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 1/13/2023     29880     $3,026.24
1101912-02    J.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 1/13/2023     29884     $1,472.45
1101912-02    J.G.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…    1/13/2023   29999     $1,472.45
1102324-01    J.E.       Surgicore LLC d/b/a Surgicore Surgical Center  Perq Intrdscl Electrothrm Annulopl… 11/19/2022    22526     $2,605.78
1102324-01    J.E.       Surgicore LLC d/b/a Surgicore Surgical Center Aspiration Or Decompression Proced… 11/19/2022     62287     $5,292.93
1102324-01    J.E.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 3/16/2023     22526     $2,605.78
1102324-01    J.E.            Rockaways ASC Development LLC             Injection Procedure For Diskograph… 3/16/2023     62291      $748.74
1102324-01    J.E.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr… 3/16/2023      63075     $6,402.03
1102324-01    J.E.            Rockaways ASC Development LLC             Diskography, Cervical Or Thoracic,… 3/16/2023     72285      $962.54
1102976-02    L.B.             Fifth Avenue Surgery Center LLC          Arthrocentesis, Aspiration And/Or … 10/19/2021    20610      $473.39
1102976-02    L.B.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S… 10/19/2021   29821     $5,677.77
1102976-02    L.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 10/19/2021    29823     $1,472.45
1102976-02    L.B.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach… 10/19/2021   64415      $979.78
1102976-02    L.B.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 10/19/2021     76942      $341.96
1102976-02    L.B.             Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…   10/19/2021   A4649       $50.00
1102976-02    L.B.             New Horizon Surgical Center LLC          Arthroscopy, Wrist, Surgical; Syno… 12/7/2021     29845     $1,472.45
1102976-02    L.B.             New Horizon Surgical Center LLC           Arthroscopy, Wrist, Surgical; Exci…  12/7/2021   29846     $3,026.24
1102976-02    L.B.             New Horizon Surgical Center LLC            Unlisted Procedure, Arthroscopy…    12/7/2021   29999     $1,472.45
1102976-02    L.B.             New Horizon Surgical Center LLC           Injection, Anesthetic Agent; Brach…  12/7/2021   64415      $979.78
1102976-02    L.B.             New Horizon Surgical Center LLC         Ultrasonic Guidance For Needle Pla… 12/7/2021      76942      $341.96
1102976-02    L.B.             New Horizon Surgical Center LLC           Prosthetic Implant, Not Otherwise …  12/7/2021   L8699      $540.00
1101632-01    F.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/5/2021      62323      $976.38
1101632-01    F.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 12/5/2021      72275      $572.53
1101632-01    F.A.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 1/30/2022     22526     $2,605.78
1101632-01    F.A.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 1/30/2022      62287     $5,292.93
1102308-01    J.F.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Abras… 10/9/2021     29879     $1,472.45
1102308-01    J.F.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 10/9/2021     29880     $1,472.45
1102308-01    J.F.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 10/9/2021     29880     $3,026.24
1102308-01    J.F.             Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…    10/9/2021   29999     $1,472.45
1102308-01    J.F.             Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…    10/9/2021   A4649       $50.00
1102308-01    J.F.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical, For R… 10/9/2021     G0289     $1,472.45
1102308-01    J.F.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/21/2021     62323      $976.38
1102308-01    J.F.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 11/21/2021     72275      $572.53
1102308-01    J.F.            Rockaways ASC Development LLC             Infectious Agent Detection By Nucl… 11/21/2021    87635       $51.33
1102308-01    J.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 12/5/2021      22526     $2,605.78
1102308-01    J.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 12/5/2021      22527     $2,605.79
1102308-01    J.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 12/5/2021      62287     $5,292.93
1102308-01    J.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 12/5/2021      87635       $51.33
                                                                 40 of 124                                                             Exhibit 3
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                                                           1628
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1102308-01    J.F.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     12/19/2021   62321      $976.38
1102308-01    J.F.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…     12/19/2021   72275      $572.53
1102308-01    J.F.           Rockaways ASC Development LLC             Infectious Agent Detection By Nucl…     12/19/2021   87635       $51.33
1102308-01    J.F.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…     1/23/2022   22526     $5,292.93
1102308-01    J.F.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…     1/23/2022   22527     $2,605.78
1102308-01    J.F.           Rockaways ASC Development LLC             Unlisted Procedure, Nervous System…      1/23/2022   64999      $747.93
1101109-02    G.A.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      2/11/2022   62323      $976.38
1101109-02    G.A.           Rockaways ASC Development LLC              Arthrocentesis, Aspiration And/Or …     4/27/2022   20610      $473.38
1101109-02    G.A.           Rockaways ASC Development LLC             Arthroscopy, Knee, Surgical; Synov…      4/27/2022   29875     $1,472.45
1101109-02    G.A.           Rockaways ASC Development LLC              Arthroscopy, Knee, Surgical; With …     4/27/2022   29880     $3,026.24
1101109-02    G.A.           Rockaways ASC Development LLC                Unlisted Procedure, Arthroscopy…      4/27/2022   29999     $1,472.45
1101989-02    M.A.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      10/3/2021   62321      $976.38
1101989-02    M.A.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…      10/3/2021   72275      $572.53
1101989-02    M.A.           Rockaways ASC Development LLC             Infectious Agent Detection By Nucl…      10/3/2021   87635       $51.33
1101989-02    M.A.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…       10/3/2021   A4649       $50.00
1101989-02    M.A.              Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      4/13/2022   62323      $976.38
1101989-02    M.A.              Surgicore of Jersey City LLC           Infectious Agent Detection By Nucl…      4/13/2022   87635       $51.33
1101369-01    O.S.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …    10/12/2021   20610      $473.39
1101369-01    O.S.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…     10/12/2021   29875     $1,472.45
1101369-01    O.S.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …    10/12/2021   29881     $3,026.24
1101369-01    O.S.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor…    10/12/2021   64447      $829.30
1101369-01    O.S.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     10/12/2021   76942      $341.96
1101369-01    O.S.            Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…      10/12/2021   A4649       $50.00
1101369-01    O.S.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…    11/7/2021   20552      $236.69
1101369-01    O.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      11/7/2021   62323      $976.38
1101369-01    O.S.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…      11/7/2021   72275      $572.53
1101369-01    O.S.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…      11/7/2021   76942      $341.96
1101381-01    R.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Musculoskeleta…     11/20/2021   20999     $1,472.45
1101381-01    R.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; Synov…     11/20/2021   29875     $3,026.24
1101381-01    R.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; Abras…     11/20/2021   29879     $1,472.45
1101381-01    R.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With …     11/20/2021   29884     $1,472.45
1101381-01    R.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Arthroscopy…        11/20/2021   29999     $1,472.45
1101381-01    R.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical, For R…     11/20/2021   G0289     $1,472.45
1101381-01    R.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      12/5/2021   62323      $976.38
1101381-01    R.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…      12/5/2021   72275      $572.53
1101381-01    R.F.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    12/19/2021   22526     $2,605.78
1101381-01    R.F.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    12/19/2021   22527     $2,605.78
1101381-01    R.F.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…     12/19/2021   62287     $5,292.93
1101460-02    I.W.              Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; Synov…      1/13/2022   29876     $1,472.45
1101460-02    I.W.              Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical; With …     1/13/2022   29880     $3,026.24
1101460-02    I.W.              Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical; With …     1/13/2022   29884     $1,472.45
1101460-02    I.W.              Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…       1/13/2022   A4649      $195.00
1101460-02    I.W.              Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical, For R…     1/13/2022   G0289     $1,472.45
1101460-02    I.W.              Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; Synov…      7/28/2022   29876     $1,472.45
1101460-02    I.W.              Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical; With …     7/28/2022   29881     $3,026.24
1101460-02    I.W.              Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical; With …     7/28/2022   29884     $1,472.45
1101460-02    I.W.              Surgicore of Jersey City LLC           Infectious Agent Detection By Nucl…      7/28/2022   87635       $51.33
1101460-02    I.W.              Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…       7/28/2022   A4649      $195.00
1101460-02    I.W.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…    10/19/2023   29821     $5,677.77
1101460-02    I.W.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    10/19/2023   29823     $1,472.45
1101460-02    I.W.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…     10/19/2023   29825     $1,472.45
1101460-02    I.W.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    10/19/2023   29826     $1,472.45
1101460-02    I.W.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…     10/19/2023   29999     $1,472.45
1101460-02    I.W.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…    10/19/2023   64415      $979.78
1101460-02    I.W.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     10/19/2023   76942      $341.96
1100827-01    A.G.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…    10/7/2021   20552      $236.69
1100827-01    A.G.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      10/7/2021   62323      $976.38
1100827-01    A.G.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…      10/7/2021   72275      $572.53
1100827-01    A.G.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…      10/7/2021   76942      $341.96
1100827-01    A.G.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…     12/11/2021   29819     $1,472.45
1100827-01    A.G.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…    12/11/2021   29821     $5,677.77
1100827-01    A.G.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    12/11/2021   29823     $1,472.45
1100827-01    A.G.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…     12/11/2021   29825     $1,472.45
1100827-01    A.G.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    12/11/2021   29826     $1,472.45
1100827-01    A.G.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…     12/11/2021   29999     $1,472.45
1100827-01    A.G.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…    12/11/2021   64415      $979.78
1100827-01    A.G.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     12/11/2021   76942      $341.96
1100795-02    B.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      1/24/2023   64493      $447.52
                                                                  41 of 124                                                              Exhibit 3
       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 182 of 580 PageID #:
                                                           1629
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1100795-02    B.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/24/2023      64493      $976.38
1100795-02    B.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/24/2023      64494      $447.52
1100795-02    B.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/24/2023      64495      $447.52
1100795-02    B.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 1/24/2023      87635       $51.33
1100795-02    B.F.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 3/16/2023     22526     $5,292.93
1100795-02    B.F.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 3/16/2023     22527     $2,605.78
1100795-02    B.F.           Rockaways ASC Development LLC             Unlisted Procedure, Nervous System… 3/16/2023      64999      $747.93
1101417-02    S.B.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/29/2021      62321      $976.38
1101417-02    S.B.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 8/29/2021      72275      $572.53
1101417-02    S.B.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    8/29/2021   A4649       $72.00
1101417-02    S.B.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 9/9/2021       63075     $6,402.03
1101417-02    S.B.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 9/9/2021       63076     $2,605.78
1101417-02    S.B.          All City Family Healthcare Center, Inc.   Iadna Human Papillomavirus Low-Ris… 9/9/2021        87623       $51.33
1101417-02    S.B.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     9/9/2021   A4649       $72.00
1101417-02    S.B.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/19/2021      62323      $976.38
1101417-02    S.B.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 9/19/2021      72275      $572.53
1101417-02    S.B.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    9/19/2021   A4649       $72.00
1101417-02    S.B.            Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; S… 10/25/2021   29821     $5,596.40
1101417-02    S.B.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 10/25/2021    29823     $1,472.45
1101417-02    S.B.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 10/25/2021    29825     $1,472.45
1101417-02    S.B.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 10/25/2021    29826     $1,553.82
1101417-02    S.B.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 10/25/2021    29827     $6,723.47
1101417-02    S.B.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach… 10/25/2021   64415      $979.78
1101417-02    S.B.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 10/25/2021     76942      $341.96
1101417-02    S.B.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…   10/25/2021   A4649       $50.00
1100204-03    A.G.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te… 9/17/2021      23405     $1,839.77
1100204-03    A.G.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…  9/17/2021   29821     $5,677.77
1100204-03    A.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 9/17/2021     29823     $1,472.45
1100204-03    A.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 9/17/2021     29825     $1,472.45
1100204-03    A.G.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  9/17/2021   64415      $979.78
1100204-03    A.G.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 9/17/2021      76942      $341.96
1100204-03    A.G.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    9/17/2021   A4649       $72.00
1100204-03    A.G.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/3/2021      62321      $976.38
1100204-03    A.G.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 11/3/2021      72275      $572.53
1100204-03    A.G.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 1/23/2022     22526     $2,605.78
1100204-03    A.G.           Rockaways ASC Development LLC              Injection Procedure For Diskograph… 1/23/2022     62291      $748.74
1100204-03    A.G.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 1/23/2022      63075     $6,402.03
1100204-03    A.G.           Rockaways ASC Development LLC              Diskography, Cervical Or Thoracic,… 1/23/2022     72285      $962.54
1100204-04    R.S.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…     9/2/2021   29875     $1,472.45
1100204-04    R.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …    9/2/2021   29880     $3,026.24
1100204-04    R.S.          All City Family Healthcare Center, Inc.     Infectious Agent Detection By Nucl…    9/2/2021   87635       $51.33
1100204-04    R.S.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     9/2/2021   A4649       $72.00
1100204-04    R.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R…    9/2/2021   G0289     $1,472.45
1100204-04    R.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/23/2021      62323      $976.38
1100204-04    R.S.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 9/23/2021      72275      $572.53
1100204-04    R.S.           Rockaways ASC Development LLC              Infectious Agent Detection By Nucl… 9/23/2021     87635       $51.33
1100204-04    R.S.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    9/23/2021   A4649       $50.00
1100204-04    R.S.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 10/10/2021    22526     $2,605.78
1100204-04    R.S.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 10/10/2021    22527     $2,605.78
1100204-04    R.S.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 10/10/2021     62287     $5,292.93
1100204-04    R.S.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…  12/9/2021   29821     $2,798.20
1100204-04    R.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 12/9/2021     29823     $1,472.45
1100204-04    R.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 12/9/2021     29825     $1,472.45
1100204-04    R.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 12/9/2021     29827     $5,677.77
1100204-04    R.S.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  12/9/2021   64415      $979.78
1100204-04    R.S.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 12/9/2021      76942      $341.96
1100292-02    L.W.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …    9/7/2021   20610      $473.39
1100292-02    L.W.            Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; S…   9/7/2021   29821     $5,677.77
1100292-02    L.W.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    9/7/2021   29823     $1,472.45
1100292-02    L.W.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W…    9/7/2021   29825     $1,472.45
1100292-02    L.W.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    9/7/2021   29826     $1,472.45
1100292-02    L.W.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…   9/7/2021   64415      $979.78
1100292-02    L.W.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     9/7/2021   76942      $341.96
1100292-02    L.W.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…     9/7/2021   A4649       $50.00
1100292-02    L.W.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/5/2022       62323      $976.38
1100292-02    L.W.           Rockaways ASC Development LLC              Infectious Agent Detection By Nucl…    1/5/2022   87635       $51.33
1100292-02    L.W.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 1/19/2022     22526     $2,605.78
1100292-02    L.W.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 1/19/2022      62287     $5,292.93
                                                                 42 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                 Document 1-4 Filed 12/17/24                      Page 183 of 580 PageID #:
                                                          1630
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                            Service     Code       Billed
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…     8/21/2021   29821     $5,677.77
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…     8/21/2021   29823     $1,472.45
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W…     8/21/2021   29825     $1,472.45
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…     8/21/2021   29826     $1,472.45
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…     8/21/2021   64415      $979.78
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…     8/21/2021   76942      $341.96
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      8/21/2021   A4649       $50.00
1100509-01    C.A.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    10/17/2021   62321      $976.38
1100509-01    C.A.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…    10/17/2021   72275      $572.53
1100509-01    C.A.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     11/7/2021   62323      $976.38
1100509-01    C.A.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…     11/7/2021   72275      $572.53
1100509-01    C.A.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     6/22/2022   62323      $976.38
1099855-02    J.P.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…   10/24/2021   20552      $236.69
1099855-02    J.P.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    10/24/2021   62323      $976.38
1099855-02    J.P.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…    10/24/2021   72275      $572.53
1099855-02    J.P.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…    10/24/2021   76942      $341.96
1099855-02    J.P.            Rockaways ASC Development LLC            Infectious Agent Detection By Nucl…    10/24/2021   87635       $51.33
1099855-02    J.P.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…     10/24/2021   A4649       $50.00
1099855-02    J.P.            Rockaways ASC Development LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    11/14/2021   64493      $976.38
1099855-02    J.P.            Rockaways ASC Development LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    11/14/2021   64494      $447.52
1099855-02    J.P.            Rockaways ASC Development LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    11/14/2021   64495      $447.52
1099855-02    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    12/12/2021   62321      $976.38
1099855-02    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…    12/12/2021   72275      $572.53
1099637-01    D.W.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…     8/1/2021   29821     $5,677.77
1099637-01    D.W.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…     8/1/2021   29823     $1,472.45
1099637-01    D.W.             Fifth Avenue Surgery Center LLC         Arthroscopy, Shoulder, Surgical; W…      8/1/2021   29825     $1,472.45
1099637-01    D.W.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…     8/1/2021   29826     $1,472.45
1099637-01    D.W.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…     8/1/2021   64415      $979.78
1099637-01    D.W.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…      8/1/2021   76942      $341.96
1099637-01    D.W.             Fifth Avenue Surgery Center LLC            Surgical Supply; Miscellaneous…       8/1/2021   A4649       $50.00
1099637-01    D.W.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     9/30/2021   62323      $976.38
1099637-01    D.W.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…     9/30/2021   72275      $572.53
1099637-01    D.W.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      9/30/2021   A4649       $72.00
1099637-01    D.W.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…   11/10/2021   22526     $2,605.78
1099637-01    D.W.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…    11/10/2021   62287     $5,292.93
1099637-01    D.W.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    11/24/2021   62323      $976.38
1099637-01    D.W.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…    11/24/2021   72275      $572.53
1099637-01    D.W.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    12/12/2021   62321      $976.38
1099637-01    D.W.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…    12/12/2021   72275      $572.53
1099637-01    D.W.          All City Family Healthcare Center, Inc.    Infectious Agent Detection By Nucl…    12/12/2021   87635       $51.33
1099476-04    A.C.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     8/20/2021   62323      $976.38
1099476-04    A.C.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…     8/20/2021   72275      $572.53
1099476-04    A.C.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…      8/20/2021   A4649       $50.00
1099476-04    A.C.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced…     8/27/2021   62287     $5,292.93
1099476-04    A.C.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…      8/27/2021   a4649       $50.00
1099476-04    A.C.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…   12/20/2021   29821     $5,677.77
1099476-04    A.C.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…   12/20/2021   29823     $1,472.45
1099476-04    A.C.             Fifth Avenue Surgery Center LLC         Arthroscopy, Shoulder, Surgical; W…    12/20/2021   29825     $1,472.45
1099476-04    A.C.             Fifth Avenue Surgery Center LLC           Unlisted Procedure, Arthroscopy…     12/20/2021   29999     $1,472.45
1099476-04    A.C.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…   12/20/2021   64415      $979.78
1099476-04    A.C.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…    12/20/2021   76942      $341.96
1100304-02    T.H.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    11/22/2021   62321      $976.38
1100304-02    T.H.          Bronx SC LLC d/b/a Empire State ASC        Epidurography, Radiological Superv…    11/22/2021   72275      $572.53
1100304-02    T.H.             Fifth Avenue Surgery Center LLC          Injection(S); Single Or Multiple T…   12/13/2021   20553      $236.69
1100304-02    T.H.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    12/13/2021   62323      $976.38
1100304-02    T.H.             Fifth Avenue Surgery Center LLC         Epidurography, Radiological Superv…    12/13/2021   72275      $572.53
1100304-02    T.H.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…    12/13/2021   76942      $341.96
1100304-02    T.H.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      1/5/2022   62321      $976.38
1100304-02    T.H.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     1/17/2022   62321      $976.38
1100304-02    T.H.          Bronx SC LLC d/b/a Empire State ASC         Injection(S); Single Or Multiple T…    1/31/2022   20552      $236.69
1100304-02    T.H.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     1/31/2022   62323      $976.38
1100304-02    T.H.          Bronx SC LLC d/b/a Empire State ASC        Ultrasonic Guidance For Needle Pla…     1/31/2022   76942      $341.96
1099125-02    N.J.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; S…    7/26/2021   29821     $5,677.77
1099125-02    N.J.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; D…    7/26/2021   29823     $1,472.45
1099125-02    N.J.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Shoulder, Surgical; W…     7/26/2021   29825     $1,472.45
1099125-02    N.J.       Surgicore LLC d/b/a Surgicore Surgical Center   Unlisted Procedure, Arthroscopy…      7/26/2021   29999     $1,472.45
1099125-02    N.J.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent; Brach…    7/26/2021   64415      $979.78
1099125-02    N.J.       Surgicore LLC d/b/a Surgicore Surgical Center Ultrasonic Guidance For Needle Pla…     7/26/2021   76942      $341.96
                                                                 43 of 124                                                              Exhibit 3
       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                        Page 184 of 580 PageID #:
                                                            1631
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                              Date of     Billing   Amount
                                           Provider                                      Service
 Number      Person                                                                                               Service     Code       Billed
1099125-02    N.J.        Surgicore LLC d/b/a Surgicore Surgical Center    Iadna Streptococcus Group B Amplif… 7/26/2021      87653       $51.33
1099125-02    N.J.        Surgicore LLC d/b/a Surgicore Surgical Center        Surgical Supply; Miscellaneous…    7/26/2021   A4649       $50.00
1099125-02    N.J.              Fifth Avenue Surgery Center LLC             Arthrocentesis, Aspiration And/Or … 11/4/2021     20610      $473.39
1099125-02    N.J.              Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical; Synov… 11/4/2021     29875     $1,472.45
1099125-02    N.J.              Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical; Abras… 11/4/2021     29879     $1,472.45
1099125-02    N.J.              Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical; With … 11/4/2021     29880     $3,026.24
1099125-02    N.J.              Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical; With … 11/4/2021     29884     $1,472.45
1099125-02    N.J.              Fifth Avenue Surgery Center LLC               Unlisted Procedure, Arthroscopy…    11/4/2021   29999     $1,472.45
1099125-02    N.J.              Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical, For R… 11/4/2021     G0289     $1,472.45
1100556-02    T.J.              New Horizon Surgical Center LLC             Perq Intrdscl Electrothrm Annulopl… 10/16/2021    22526     $5,292.93
1100556-02    T.J.              New Horizon Surgical Center LLC             Perq Intrdscl Electrothrm Annulopl… 10/16/2021    22527     $2,605.79
1100556-02    T.J.              New Horizon Surgical Center LLC            Unlisted Procedure, Nervous System… 10/16/2021     64999      $747.93
1100556-02    T.J.              New Horizon Surgical Center LLC                Surgical Supply; Miscellaneous…   10/16/2021   A4649       $50.00
1100556-02    T.J.              New Horizon Surgical Center LLC            Probe, Percutaneous Lumbar Discect… 10/16/2021     C2614     $1,553.00
1100556-02    T.J.        Surgicore LLC d/b/a Surgicore Surgical Center     Perq Intrdscl Electrothrm Annulopl… 11/13/2021    22526     $2,605.78
1100556-02    T.J.        Surgicore LLC d/b/a Surgicore Surgical Center    Aspiration Or Decompression Proced… 11/13/2021     62287     $5,292.93
1098577-02    C.A.             Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/13/2021     62321      $976.38
1098577-02    C.A.             Rockaways ASC Development LLC               Epidurography, Radiological Superv… 8/13/2021      72275      $572.53
1098577-02    C.A.             Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…    8/13/2021   a4649       $50.00
1098577-02    C.A.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/19/2021      62323      $976.38
1098577-02    C.A.           All City Family Healthcare Center, Inc.       Epidurography, Radiological Superv… 8/19/2021      72275      $572.53
1098577-02    C.A.           All City Family Healthcare Center, Inc.           Surgical Supply; Miscellaneous…    8/19/2021   A4649       $72.00
1098577-02    C.A.           All City Family Healthcare Center, Inc.        Perq Intrdscl Electrothrm Annulopl… 11/7/2021     22526     $2,605.78
1098577-02    C.A.           All City Family Healthcare Center, Inc.       Aspiration Or Decompression Proced… 11/7/2021      62287     $5,292.93
1098577-02    C.A.           All City Family Healthcare Center, Inc.       Diskectomy, Anterior, With Decompr… 11/14/2021     63075     $6,402.03
1098577-02    C.A.           All City Family Healthcare Center, Inc.       Diskectomy, Anterior, With Decompr… 11/14/2021     63076     $2,605.78
1099388-02    M.V.              Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/21/2022     64493      $976.38
1099388-02    M.V.              Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/21/2022     64494      $447.52
1099388-02    M.V.              Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/21/2022     64495      $447.52
1099388-02    M.V.           Bronx SC LLC d/b/a Empire State ASC            Dstr Nrolytc Agnt Parverteb Fct Sn…    6/6/2022   64635      $976.38
1099388-02    M.V.           Bronx SC LLC d/b/a Empire State ASC            Dstr Nrolytc Agnt Parverteb Fct Ad…    6/6/2022   64636      $447.52
1099388-02    M.V.              Fifth Avenue Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/28/2022    62321      $976.38
1099388-02    M.V.              New Horizon Surgical Center LLC              Arthroscopy, Shoulder, Surgical; S…  1/31/2024   29821     $5,677.77
1099388-02    M.V.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; D… 1/31/2024     29823     $1,472.45
1099388-02    M.V.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; W… 1/31/2024     29825     $1,472.45
1099388-02    M.V.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; D… 1/31/2024     29826     $1,472.45
1099388-02    M.V.              New Horizon Surgical Center LLC              Injection, Anesthetic Agent; Brach…  1/31/2024   64415      $979.78
1099388-02    M.V.              New Horizon Surgical Center LLC             Ultrasonic Guidance For Needle Pla… 1/31/2024     76942      $341.96
1099986-02    E.R.             Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/20/2021    62321      $976.38
1099986-02    E.R.             Rockaways ASC Development LLC               Epidurography, Radiological Superv… 10/20/2021     72275      $572.53
1099986-02    E.R.             Rockaways ASC Development LLC                Infectious Agent Detection By Nucl… 10/20/2021    87635       $51.33
1099986-02    E.R.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 10/29/2021    22526     $2,605.78
1099986-02    E.R.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 10/29/2021    22527     $2,605.78
1099986-02    E.R.             Rockaways ASC Development LLC               Diskectomy, Anterior, With Decompr… 10/29/2021     63075     $6,402.03
1099986-02    E.R.             Rockaways ASC Development LLC               Diskectomy, Anterior, With Decompr… 10/29/2021     63076     $2,605.78
1099986-02    E.R.             Rockaways ASC Development LLC                Diskography, Cervical Or Thoracic,… 10/29/2021    72285      $962.54
1099986-02    E.R.             Rockaways ASC Development LLC               Rad S&I Perq Vrtpls Pr Vrt Body Un… 10/29/2021     72291      $748.74
1099986-02    E.R.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/5/2021      62323      $976.38
1099986-02    E.R.             Rockaways ASC Development LLC               Epidurography, Radiological Superv… 11/5/2021      72275      $572.53
1099986-02    E.R.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 11/14/2021    22526     $2,605.78
1099986-02    E.R.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 11/14/2021    22527     $2,605.78
1099986-02    E.R.             Rockaways ASC Development LLC               Aspiration Or Decompression Proced… 11/14/2021     62287     $5,292.93
1099986-02    E.R.           Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Knee, Surgical; Synov… 11/23/2021    29875     $1,472.45
1099986-02    E.R.           Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Knee, Surgical; With … 11/23/2021    29880     $3,026.24
1099986-02    E.R.           Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Knee, Surgical; With … 11/23/2021    29884     $1,472.45
1099986-02    E.R.           Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Knee, Surgical, For R… 11/23/2021    g0289     $1,472.45
1099448-02    R.S.              Fifth Avenue Surgery Center LLC              Arthroscopy, Shoulder, Surgical; S…  7/24/2021   29821     $5,596.40
1099448-02    R.S.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D… 7/24/2021     29823     $1,472.45
1099448-02    R.S.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D… 7/24/2021     29824     $1,472.45
1099448-02    R.S.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; W… 7/24/2021     29825     $1,472.45
1099448-02    R.S.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D… 7/24/2021     29826     $1,553.82
1099448-02    R.S.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; W… 7/24/2021     29827     $6,723.47
1099448-02    R.S.              Fifth Avenue Surgery Center LLC              Injection, Anesthetic Agent; Brach…  7/24/2021   64415      $979.78
1099448-02    R.S.              Fifth Avenue Surgery Center LLC             Ultrasonic Guidance For Needle Pla… 7/24/2021     76942      $341.96
1099448-02    R.S.              Fifth Avenue Surgery Center LLC                Surgical Supply; Miscellaneous…    7/24/2021   A4649       $50.00
1099448-02    R.S.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 8/31/2021     22526     $2,605.78
1099448-02    R.S.             Rockaways ASC Development LLC               Aspiration Or Decompression Proced… 8/31/2021      62287     $5,292.93
1099448-02    R.S.             Rockaways ASC Development LLC                Infectious Agent Detection By Nucl… 8/31/2021     87635       $51.33
                                                                    44 of 124                                                              Exhibit 3
       Case 1:24-cv-08606-JRC                 Document 1-4 Filed 12/17/24                      Page 185 of 580 PageID #:
                                                          1632
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                            Service     Code       Billed
1099448-02    R.S.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      8/31/2021   A4649       $50.00
1098358-01    O.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    10/27/2021   62323      $976.38
1098358-01    O.C.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…    10/27/2021   72275      $572.53
1098358-01    O.C.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…   11/17/2021   22526     $2,605.78
1098358-01    O.C.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…   11/17/2021   22527     $2,605.78
1098358-01    O.C.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…    11/17/2021   62287     $5,292.93
1098358-01    O.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     2/13/2022   62323      $976.38
1098358-01    O.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     3/13/2022   62321      $976.38
1098652-02    C.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…     9/17/2021   29875     $1,472.45
1098652-02    C.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …    9/17/2021   29880     $3,026.24
1098652-02    C.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …    9/17/2021   29884     $1,472.45
1098652-02    C.H.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…      9/17/2021   29999     $1,472.45
1098652-02    C.H.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      9/17/2021   A4649       $72.00
1098652-02    C.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R…    9/17/2021   G0289     $1,472.45
1098652-02    C.H.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…   12/22/2021   22526     $5,292.93
1098652-02    C.H.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…   12/22/2021   22527     $2,605.78
1098652-02    C.H.           Rockaways ASC Development LLC             Unlisted Procedure, Nervous System…    12/22/2021   64999      $747.93
1098936-03    E.D.               Surgicore of Jersey City LLC          Tenotomy, Shoulder Area; Single Te…     6/26/2021   23405     $1,839.77
1098936-03    E.D.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W…     6/26/2021   29819     $1,472.45
1098936-03    E.D.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S…    6/26/2021   29821     $5,677.77
1098936-03    E.D.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…    6/26/2021   29823     $1,472.45
1098936-03    E.D.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W…     6/26/2021   29825     $1,472.45
1098936-03    E.D.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…    6/26/2021   29826     $1,472.45
1098936-03    E.D.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent; Brach…    6/26/2021   64415      $979.78
1098936-03    E.D.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla…     6/26/2021   76942      $341.96
1098936-03    E.D.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…      6/26/2021   A4649       $50.00
1098936-03    E.D.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …    6/26/2021   L8699      $445.00
1098936-03    E.D.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …    8/23/2021   20610      $473.38
1098936-03    E.D.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…     8/23/2021   29875     $1,472.45
1098936-03    E.D.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Abras…     8/23/2021   29879     $1,472.45
1098936-03    E.D.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …    8/23/2021   29880     $3,026.24
1098936-03    E.D.            Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…      8/23/2021   A4649       $50.00
1098936-03    E.D.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …    1/15/2022   20610      $473.38
1098936-03    E.D.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…     1/15/2022   29875     $1,472.45
1098936-03    E.D.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …    1/15/2022   29880     $3,026.24
1098936-03    E.D.            Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…      1/15/2022   29999     $1,472.45
1098936-04    J.N.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …     8/7/2021   20610      $473.38
1098936-04    J.N.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…      8/7/2021   29875     $1,472.45
1098936-04    J.N.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …     8/7/2021   29880     $3,026.24
1098936-04    J.N.            Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…       8/7/2021   29999     $1,472.45
1098936-04    J.N.            Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…       8/7/2021   A4649       $50.00
1098936-04    J.N.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical, For R…     8/7/2021   G0289     $1,472.45
1098936-04    J.N.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    8/31/2021   22526     $2,605.78
1098936-04    J.N.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…     8/31/2021   62287     $5,292.93
1098936-04    J.N.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      8/31/2021   A4649       $50.00
1097768-01    C.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     4/25/2023   62323      $976.38
1097768-01    C.K.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    6/26/2023   22526     $2,605.78
1097768-01    C.K.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…     6/26/2023   62287     $5,292.93
1097768-01    C.K.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    10/11/2023   64493      $447.52
1097768-01    C.K.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    10/11/2023   64493      $976.38
1097768-01    C.K.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    10/11/2023   64494      $447.52
1097768-01    C.K.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    10/11/2023   64495      $447.52
1098760-01    C.S.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…     6/27/2021   29875     $1,472.45
1098760-01    C.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …    6/27/2021   29880     $3,026.24
1098760-01    C.S.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…      6/27/2021   29999     $1,472.45
1098760-01    C.S.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      6/27/2021   A4649       $72.00
1098760-01    C.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R…    6/27/2021   G0289     $1,472.45
1098760-01    C.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; R…    8/15/2021   29807     $5,677.77
1098760-01    C.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    8/15/2021   29821     $2,798.20
1098760-01    C.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    8/15/2021   29823     $1,472.45
1098760-01    C.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    8/15/2021   29826     $1,472.45
1098760-01    C.S.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    8/15/2021   64415      $979.78
1098760-01    C.S.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     8/15/2021   76942      $341.96
1098760-01    C.S.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      8/15/2021   A4649       $72.00
1098760-01    C.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     10/6/2021   62321      $976.38
1098760-01    C.S.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…     10/6/2021   72275      $572.53
1098760-01    C.S.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      10/6/2021   A4649       $50.00
1098760-01    C.S.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    11/7/2021   22526     $5,292.93
                                                                 45 of 124                                                              Exhibit 3
       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                           Page 186 of 580 PageID #:
                                                            1633
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                Date of     Billing   Amount
                                           Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1098760-01    C.S.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 11/7/2021    22527     $2,605.78
1098760-01    C.S.            Rockaways ASC Development LLC                   Unlisted Procedure, Nervous System… 11/7/2021     64999      $747.93
1098760-01    C.S.            Rockaways ASC Development LLC                    Infectious Agent Detection By Nucl… 11/7/2021    87635       $51.33
1098760-04    M.M.           All City Family Healthcare Center, Inc.            Arthroscopy, Shoulder, Surgical; S… 7/11/2021   29821     $5,677.77
1098760-04    M.M.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 7/11/2021    29823     $1,472.45
1098760-04    M.M.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; W… 7/11/2021    29825     $1,472.45
1098760-04    M.M.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 7/11/2021    29826     $1,472.45
1098760-04    M.M.           All City Family Healthcare Center, Inc.            Injection, Anesthetic Agent; Brach… 7/11/2021   64415      $979.78
1098760-04    M.M.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla… 7/11/2021     76942      $341.96
1098760-04    M.M.           All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…   7/11/2021   A4649       $72.00
1098760-04    M.M.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/6/2021     62323      $976.38
1098760-04    M.M.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 10/6/2021     72275      $572.53
1098760-04    M.M.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…   10/6/2021   A4649       $50.00
1098760-04    M.M.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 10/24/2021   22526     $2,605.78
1098760-04    M.M.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 10/24/2021   22527     $2,605.78
1098760-04    M.M.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced… 10/24/2021    62287     $5,292.93
1098462-01    J.P.           All City Family Healthcare Center, Inc.            Arthroscopy, Shoulder, Surgical; S… 6/27/2021   29821     $5,677.77
1098462-01    J.P.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 6/27/2021    29823     $1,472.45
1098462-01    J.P.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 6/27/2021    29826     $1,472.45
1098462-01    J.P.           All City Family Healthcare Center, Inc.            Injection, Anesthetic Agent; Brach… 6/27/2021   64415      $979.78
1098462-01    J.P.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla… 6/27/2021     76942      $341.96
1098462-01    J.P.           All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…   6/27/2021   A4649       $72.00
1098462-01    J.P.            Rockaways ASC Development LLC                   Arthroscopy, Knee, Surgical; Synov…    8/6/2021   29875     $1,472.45
1098462-01    J.P.            Rockaways ASC Development LLC                    Arthroscopy, Knee, Surgical; With …   8/6/2021   29880     $3,026.24
1098462-01    J.P.            Rockaways ASC Development LLC                    Arthroscopy, Knee, Surgical; With …   8/6/2021   29884     $1,472.45
1098462-01    J.P.            Rockaways ASC Development LLC                      Unlisted Procedure, Arthroscopy…    8/6/2021   29999     $1,472.45
1098462-01    J.P.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    8/6/2021   A4649       $50.00
1098462-01    J.P.            Rockaways ASC Development LLC                    Arthroscopy, Knee, Surgical, For R…   8/6/2021   G0289     $1,472.45
1097580-01    N.H.           All City Family Healthcare Center, Inc.           Arthrocentesis, Aspiration And/Or … 6/23/2021    20610      $473.38
1097580-01    N.H.           All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical; Synov… 6/23/2021     29875     $1,472.45
1097580-01    N.H.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With … 6/23/2021    29880     $3,026.24
1097580-01    N.H.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With … 6/23/2021    29884     $1,472.45
1097580-01    N.H.           All City Family Healthcare Center, Inc.             Unlisted Procedure, Arthroscopy…   6/23/2021   29999     $1,472.45
1097580-01    N.H.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Femor… 6/23/2021    64447      $829.30
1097580-01    N.H.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla… 6/23/2021     76942      $341.96
1097580-01    N.H.           All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…   6/23/2021   A4649       $72.00
1097580-01    N.H.            Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 8/29/2021    64490      $976.38
1097580-01    N.H.            Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 8/29/2021    64491      $447.52
1097580-01    N.H.            Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 8/29/2021    64492      $447.52
1097580-01    N.H.            Rockaways ASC Development LLC                    Infectious Agent Detection By Nucl… 8/29/2021    87635       $51.33
1097580-01    N.H.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…   8/29/2021   A4649       $50.00
1097580-01    N.H.            Rockaways ASC Development LLC                     Injection(S); Single Or Multiple T… 3/13/2022   20552      $236.69
1097580-01    N.H.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/13/2022     62323      $976.38
1097580-01    N.H.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 3/13/2022     76942      $341.96
1097885-05    J.N.             Fifth Avenue Surgery Center LLC                  Arthroscopy, Shoulder, Surgical; S… 8/21/2021   29821     $5,677.77
1097885-05    J.N.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D… 8/21/2021    29823     $1,472.45
1097885-05    J.N.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; W… 8/21/2021    29825     $1,472.45
1097885-05    J.N.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D… 8/21/2021    29826     $1,472.45
1097885-05    J.N.             Fifth Avenue Surgery Center LLC                  Injection, Anesthetic Agent; Brach… 8/21/2021   64415      $979.78
1097885-05    J.N.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla… 8/21/2021     76942      $341.96
1097885-05    J.N.             Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…   8/21/2021   A4649       $50.00
1097885-05    J.N.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…   9/9/2021   22526     $2,605.78
1097885-05    J.N.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced… 9/9/2021      62287     $5,292.93
1097885-05    J.N.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    9/9/2021   A4649       $50.00
1097885-05    J.N.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 11/2/2021    22526     $2,605.78
1097885-05    J.N.            Rockaways ASC Development LLC                   Diskectomy, Anterior, With Decompr… 11/2/2021     63075     $6,402.03
1097741-02    J.Z.           All City Family Healthcare Center, Inc.            Arthroscopy, Shoulder, Surgical; S… 7/23/2021   29821     $5,677.77
1097741-02    J.Z.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 7/23/2021    29823     $1,472.45
1097741-02    J.Z.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; W… 7/23/2021    29825     $1,472.45
1097741-02    J.Z.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D… 7/23/2021    29826     $1,472.45
1097741-02    J.Z.           All City Family Healthcare Center, Inc.            Injection, Anesthetic Agent; Brach… 7/23/2021   64415      $979.78
1097741-02    J.Z.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla… 7/23/2021     76942      $341.96
1097741-02    J.Z.           All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…   7/23/2021   A4649       $72.00
1097741-02    J.Z.             Fifth Avenue Surgery Center LLC                 Dstr Nrolytc Agnt Parverteb Fct Sn… 9/24/2021    64635      $447.52
1097741-02    J.Z.             Fifth Avenue Surgery Center LLC                 Dstr Nrolytc Agnt Parverteb Fct Sn… 9/24/2021    64635      $976.38
1097741-02    J.Z.             Fifth Avenue Surgery Center LLC                 Dstr Nrolytc Agnt Parverteb Fct Ad… 9/24/2021    64636      $447.52
1097741-02    J.Z.             Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…   9/24/2021   A4649       $50.00
1097706-01    E.B.           All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical; Synov… 7/11/2021     29875     $1,472.45
                                                                       46 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                           Page 187 of 580 PageID #:
                                                            1634
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                  Date of     Billing   Amount
                                           Provider                                         Service
 Number      Person                                                                                                   Service     Code       Billed
1097706-01    E.B.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With …    7/11/2021   29880     $3,026.24
1097706-01    E.B.           All City Family Healthcare Center, Inc.            Unlisted Procedure, Arthroscopy…      7/11/2021   29999     $1,472.45
1097706-01    E.B.           All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…      7/11/2021   A4649       $72.00
1097706-01    E.B.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical, For R…    7/11/2021   G0289     $1,472.45
1097706-01    E.B.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     8/29/2021   62323      $976.38
1097706-01    E.B.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv…     8/29/2021   72275      $572.53
1097706-01    E.B.            Rockaways ASC Development LLC                   Infectious Agent Detection By Nucl…     8/29/2021   87635       $51.33
1097706-01    E.B.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…      8/29/2021   A4649       $50.00
1097446-01    J.H.             Fifth Avenue Surgery Center LLC                 Arthrocentesis, Aspiration And/Or …    9/11/2021   20610      $473.38
1097446-01    J.H.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; Synov…     9/11/2021   29875     $1,472.45
1097446-01    J.H.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; With …    9/11/2021   29880     $3,026.24
1097446-01    J.H.             Fifth Avenue Surgery Center LLC                  Unlisted Procedure, Arthroscopy…      9/11/2021   29999     $1,472.45
1097446-01    J.H.             Fifth Avenue Surgery Center LLC                Infectious Agent Detection By Nucl…     9/11/2021   87635       $51.33
1097446-01    J.H.             Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…      9/11/2021   A4649       $50.00
1097446-01    J.H.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical, For R…    9/11/2021   G0289     $1,472.45
1097446-01    J.H.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…    9/20/2021   22526     $2,605.78
1097446-01    J.H.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced…     9/20/2021   62287     $5,292.93
1097446-01    J.H.            Rockaways ASC Development LLC                   Infectious Agent Detection By Nucl…     9/20/2021   87635       $51.33
1097446-01    J.H.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…      9/20/2021   A4649       $50.00
1097446-01    J.H.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…    9/30/2021   20552      $236.69
1097446-01    J.H.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     9/30/2021   62323      $976.38
1097446-01    J.H.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv…     9/30/2021   72275      $572.53
1097446-01    J.H.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…     9/30/2021   76942      $341.96
1097446-01    J.H.            Rockaways ASC Development LLC                   Infectious Agent Detection By Nucl…     9/30/2021   87635       $51.33
1097446-01    J.H.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…      9/30/2021   A4649       $50.00
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                Epidurography, Radiological Superv…      8/4/2021   72275      $572.53
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…       8/4/2021   A4649       $50.00
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     9/15/2021   62321      $976.38
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                Epidurography, Radiological Superv…     9/15/2021   72275      $572.53
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…      9/15/2021   A4649       $50.00
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    10/20/2021   64493      $976.38
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    10/20/2021   64494      $447.52
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    10/20/2021   64495      $447.52
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…     10/20/2021   A4649       $50.00
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    11/17/2021   64493      $976.38
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    11/17/2021   64494      $447.52
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    11/17/2021   64495      $447.52
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    12/8/2021   64490      $976.38
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    12/8/2021   64491      $447.52
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    12/8/2021   64492      $447.52
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   12/29/2021   64490      $976.38
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   12/29/2021   64491      $447.52
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   12/29/2021   64492      $447.52
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     1/26/2022   62321      $976.38
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                 Injection Procedure For Sacroiliac…     2/9/2022   27096      $940.42
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                 Injection Procedure For Sacroiliac…    2/23/2022   27096      $940.42
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                 Injection Procedure For Sacroiliac…    3/16/2022   27096      $940.42
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     4/13/2022   62323      $976.38
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     6/29/2022   62323      $976.38
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                 Injection Procedure For Sacroiliac…    7/27/2022   27096      $940.42
1097664-02    M.T.             Fifth Avenue Surgery Center LLC                 Injection Procedure For Sacroiliac…    8/17/2022   27096      $940.42
1097664-02    M.T.           Bronx SC LLC d/b/a Empire State ASC              Percutaneous Injection Of Allogene…      4/5/2023   0627T     $5,292.93
1097664-02    M.T.           Bronx SC LLC d/b/a Empire State ASC               Injection Procedure For Sacroiliac…    7/10/2024   27096      $940.42
1097664-02    M.T.           Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     7/17/2024   64493      $976.38
1097664-02    M.T.           Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     7/17/2024   64494      $447.52
1097664-02    M.T.           Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     7/17/2024   64495      $447.52
1097264-01    B.R.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     6/16/2021   62321      $976.38
1097264-01    B.R.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv…     6/16/2021   72275      $572.53
1097264-01    B.R.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…      6/16/2021   A4649       $50.00
1097264-01    B.R.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S…    7/11/2021   29821     $5,677.77
1097264-01    B.R.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…    7/11/2021   29823     $1,472.45
1097264-01    B.R.           All City Family Healthcare Center, Inc.          Arthroscopy, Shoulder, Surgical; W…     7/11/2021   29825     $1,472.45
1097264-01    B.R.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…    7/11/2021   29826     $1,472.45
1097264-01    B.R.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach…    7/11/2021   64415      $979.78
1097264-01    B.R.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…     7/11/2021   76942      $341.96
1097264-01    B.R.           All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…      7/11/2021   A4649       $72.00
1097264-01    B.R.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     7/18/2021   62323      $976.38
1097264-01    B.R.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv…     7/18/2021   72275      $572.53
                                                                       47 of 124                                                               Exhibit 3
       Case 1:24-cv-08606-JRC                 Document 1-4 Filed 12/17/24                     Page 188 of 580 PageID #:
                                                          1635
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                        Date of     Billing   Amount
                                          Provider                                  Service
 Number      Person                                                                                         Service     Code       Billed
1097264-01    B.R.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…   7/18/2021   A4649       $50.00
1097264-01    B.R.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 8/11/2021   22526     $5,292.93
1097264-01    B.R.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 8/11/2021   22527     $2,605.78
1097264-01    B.R.           Rockaways ASC Development LLC             Unlisted Procedure, Nervous System… 8/11/2021    64999      $747.93
1097264-01    B.R.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…   8/11/2021   a4649       $50.00
1097264-01    B.R.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 9/23/2021   22526     $2,605.78
1097264-01    B.R.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 9/23/2021   22527     $2,605.79
1097264-01    B.R.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 9/23/2021    62287     $5,292.93
1097264-01    B.R.           Rockaways ASC Development LLC             Infectious Agent Detection By Nucl… 9/23/2021    87635       $51.33
1097264-01    B.R.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…   9/23/2021   A4649       $50.00
1097715-01    S.T.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 6/27/2021   20552      $236.69
1097715-01    S.T.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/27/2021    62323      $976.38
1097715-01    S.T.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 6/27/2021    76942      $341.96
1097715-01    S.T.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…   6/27/2021   A4649       $50.00
1097715-01    S.T.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 7/11/2021   20552      $236.69
1097715-01    S.T.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/11/2021    62321      $976.38
1097715-01    S.T.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 7/11/2021    76942      $341.96
1097715-01    S.T.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…   7/11/2021   A4649       $50.00
1097715-01    S.T.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S… 7/23/2021   29821     $5,596.40
1097715-01    S.T.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 7/23/2021   29823     $1,472.45
1097715-01    S.T.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W… 7/23/2021    29825     $1,553.82
1097715-01    S.T.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 7/23/2021   29826     $1,472.45
1097715-01    S.T.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W… 7/23/2021    29827     $6,723.47
1097715-01    S.T.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach… 7/23/2021   64415      $979.78
1097715-01    S.T.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 7/23/2021    76942      $341.96
1097715-01    S.T.          All City Family Healthcare Center, Inc.    Infectious Agent Detection By Nucl… 7/23/2021    87635       $51.33
1097715-01    S.T.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…   7/23/2021   A4649       $72.00
1096921-01    S.L.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 7/22/2021    29875     $1,472.45
1096921-01    S.L.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Abras… 7/22/2021    29879     $1,472.45
1096921-01    S.L.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 7/22/2021   29880     $3,026.24
1096921-01    S.L.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…   7/22/2021   A4649       $72.00
1096921-01    S.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/10/2021    62321      $976.38
1096921-01    S.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 9/10/2021    72275      $572.53
1096921-01    S.L.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…   9/10/2021   A4649       $50.00
1096921-01    S.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/2/2021    62323      $976.38
1096921-01    S.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 10/2/2021    72275      $572.53
1096921-01    S.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/22/2021   62323      $976.38
1096921-01    S.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 10/22/2021   72275      $572.53
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …  6/1/2021   20610      $473.39
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…   6/1/2021   29875     $1,472.45
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …  6/1/2021   29880     $3,026.24
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…    6/1/2021   A4649       $50.00
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical, For R…  6/1/2021   G0289     $1,472.45
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …  6/8/2021   20610      $473.39
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…   6/8/2021   29875     $1,472.45
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …  6/8/2021   29880     $3,026.24
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…    6/8/2021   A4649       $50.00
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical, For R…  6/8/2021   G0289     $1,472.45
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or … 6/15/2021   20610      $473.39
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S… 6/15/2021   29821     $5,677.77
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 6/15/2021   29823     $1,472.45
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach… 6/15/2021   64415      $979.78
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 6/15/2021    76942      $341.96
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…   6/15/2021   A4649       $50.00
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or … 6/22/2021   20610      $473.39
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S… 6/22/2021   29821     $5,677.77
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 6/22/2021   29823     $1,472.45
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 6/22/2021    29825     $1,472.45
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach… 6/22/2021   64415      $979.78
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 6/22/2021    76942      $341.96
1097266-90    Y.P.            Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…   6/22/2021   A4649       $50.00
1097266-90    Y.P.          All City Family Healthcare Center, Inc.    Njx Pltlt Plasma W/Img Harvest/Pre… 7/14/2021    0232T      $875.92
1097266-90    Y.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Wrist, Surgical; Syno… 7/14/2021   29845     $3,026.24
1097266-90    Y.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Wrist, Surgical; Exci… 7/14/2021   29846     $1,472.45
1097266-90    Y.P.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach… 7/14/2021   64415      $979.78
1097266-90    Y.P.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 7/14/2021    76942      $341.96
1097266-90    Y.P.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…   7/14/2021   A4649       $72.00
1096472-02    J.L.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/18/2021    62321      $976.38
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       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                           Page 189 of 580 PageID #:
                                                            1636
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                Date of     Billing   Amount
                                           Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1096472-02    J.L.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 7/18/2021     72275      $572.53
1096472-02    J.L.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…   7/18/2021   A4649       $50.00
1096472-02    J.L.                Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; W… 7/21/2021    29819     $1,472.45
1096472-02    J.L.                Surgicore of Jersey City LLC                  Arthroscopy, Shoulder, Surgical; S… 7/21/2021   29821     $5,677.77
1096472-02    J.L.                Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; D… 7/21/2021    29823     $1,472.45
1096472-02    J.L.                Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; W… 7/21/2021    29825     $1,472.45
1096472-02    J.L.                Surgicore of Jersey City LLC                   Unlisted Procedure, Arthroscopy…   7/21/2021   29999     $1,472.45
1096472-02    J.L.                Surgicore of Jersey City LLC                  Injection, Anesthetic Agent; Brach… 7/21/2021   64415      $979.78
1096472-02    J.L.                Surgicore of Jersey City LLC                Ultrasonic Guidance For Needle Pla… 7/21/2021     76942      $341.96
1096472-02    J.L.                Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…   7/21/2021   A4649       $50.00
1096472-02    J.L.                Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise … 7/21/2021   L8699      $185.00
1096472-02    J.L.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 9/10/2021    22526     $2,605.78
1096472-02    J.L.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 9/10/2021    22527     $2,605.78
1096472-02    J.L.            Rockaways ASC Development LLC                    Injection Procedure For Diskograph… 9/10/2021    62291      $748.74
1096472-02    J.L.            Rockaways ASC Development LLC                   Diskectomy, Anterior, With Decompr… 9/10/2021     63075     $6,402.03
1096472-02    J.L.            Rockaways ASC Development LLC                   Diskectomy, Anterior, With Decompr… 9/10/2021     63076     $2,605.78
1096472-02    J.L.            Rockaways ASC Development LLC                    Diskography, Cervical Or Thoracic,… 9/10/2021    72285      $962.54
1096472-02    J.L.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…   9/10/2021   A4649       $50.00
1096563-02    Y.K.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/8/2021      62323      $976.38
1096563-02    Y.K.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 7/8/2021      72275      $572.53
1096563-02    Y.K.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    7/8/2021   A4649       $50.00
1096563-02    Y.K.             Fifth Avenue Surgery Center LLC                  Injection(S); Single Or Multiple T… 1/16/2022   20553      $236.69
1096563-02    Y.K.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/16/2022     62323      $976.38
1096563-02    Y.K.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla… 1/16/2022     76942      $341.96
1096940-01    J.N.            Rockaways ASC Development LLC                    Arthroscopy, Shoulder, Diagnostic,… 6/22/2021    29805     $1,472.45
1096940-01    J.N.            Rockaways ASC Development LLC                     Arthroscopy, Shoulder, Surgical; S… 6/22/2021   29821     $2,798.20
1096940-01    J.N.            Rockaways ASC Development LLC                    Arthroscopy, Shoulder, Surgical; D… 6/22/2021    29823     $1,472.45
1096940-01    J.N.            Rockaways ASC Development LLC                    Arthroscopy, Shoulder, Surgical; W… 6/22/2021    29825     $1,472.45
1096940-01    J.N.            Rockaways ASC Development LLC                    Arthroscopy, Shoulder, Surgical; W… 6/22/2021    29827     $5,677.77
1096940-01    J.N.            Rockaways ASC Development LLC                      Unlisted Procedure, Arthroscopy…   6/22/2021   29999     $1,472.45
1096940-01    J.N.            Rockaways ASC Development LLC                     Injection, Anesthetic Agent; Brach… 6/22/2021   64415      $979.78
1096940-01    J.N.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 6/22/2021     76942      $341.96
1096940-01    J.N.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…   6/22/2021   A4649       $50.00
1096940-01    J.N.                Surgicore of Jersey City LLC                 Perq Intrdscl Electrothrm Annulopl… 1/21/2022    22526     $5,292.93
1096940-01    J.N.                Surgicore of Jersey City LLC                 Perq Intrdscl Electrothrm Annulopl… 1/21/2022    22527     $2,605.78
1096940-01    J.N.                Surgicore of Jersey City LLC                Unlisted Procedure, Nervous System… 1/21/2022     64999      $747.93
1096940-01    J.N.                Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise … 1/21/2022   L8699     $1,495.00
1096646-01    S.T.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/16/2021     62323      $976.38
1096646-01    S.T.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 6/16/2021     72275      $572.53
1096646-01    S.T.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…   6/16/2021   A4649       $50.00
1096646-01    S.T.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/30/2021     62321      $976.38
1096646-01    S.T.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 6/30/2021     72275      $572.53
1096646-01    S.T.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…   6/30/2021   A4649       $50.00
1096646-01    S.T.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 8/25/2021    22526     $2,605.78
1096646-01    S.T.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 8/25/2021    22527     $2,605.78
1096646-01    S.T.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced… 8/25/2021     62287     $5,292.93
1096646-01    S.T.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…   8/25/2021   A4649       $50.00
1096646-01    S.T.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 9/15/2021    22526     $5,292.93
1096646-01    S.T.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 9/15/2021    22527     $2,605.78
1096646-01    S.T.            Rockaways ASC Development LLC                   Unlisted Procedure, Nervous System… 9/15/2021     64999      $747.93
1096646-01    S.T.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…   9/15/2021   A4649       $50.00
1096646-01    S.T.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; Synov… 11/20/2021    29875     $1,472.45
1096646-01    S.T.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; Abras… 11/20/2021   29879     $1,472.45
1096646-01    S.T.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; With … 11/20/2021   29880     $3,026.24
1096646-01    S.T.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical, For R… 11/20/2021   G0289     $1,472.45
1096646-01    S.T.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; Synov… 1/10/2022     29875     $1,472.45
1096646-01    S.T.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; With … 1/10/2022    29881     $3,026.24
1096646-01    S.T.             Fifth Avenue Surgery Center LLC                   Unlisted Procedure, Arthroscopy…   1/10/2022   29999     $1,472.45
1096646-01    S.T.             Fifth Avenue Surgery Center LLC                 Injection, Anesthetic Agent; Femor… 1/10/2022    64447      $829.30
1096646-01    S.T.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla… 1/10/2022     76942      $341.96
1097184-02    A.C.             New Horizon Surgical Center LLC                Arthroscopy, Knee, Surgical; Synov… 4/13/2022     29875     $1,472.45
1097184-02    A.C.             New Horizon Surgical Center LLC                 Arthroscopy, Knee, Surgical; With … 4/13/2022    29880     $3,026.24
1097184-02    A.C.             New Horizon Surgical Center LLC                 Arthroscopy, Knee, Surgical; With … 4/13/2022    29884     $1,472.45
1097184-02    A.C.             New Horizon Surgical Center LLC                   Unlisted Procedure, Arthroscopy…   4/13/2022   29999     $1,472.45
1097184-02    A.C.             New Horizon Surgical Center LLC                  Prosthetic Implant, Not Otherwise … 4/13/2022   L8699      $245.00
1097184-02    A.C.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl… 7/24/2022    22526     $2,605.78
1097184-02    A.C.           All City Family Healthcare Center, Inc.          Aspiration Or Decompression Proced… 7/24/2022     62287     $5,292.93
1097184-02    A.C.           All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/17/2022     62323      $976.38
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                                                            1637
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                             Date of     Billing   Amount
                                           Provider                                      Service
 Number      Person                                                                                              Service     Code       Billed
1096360-02    C.N.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/11/2022     62321      $976.38
1096360-02    C.N.              Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/28/2022    62323      $976.38
1096360-02    C.N.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/20/2023     62323      $976.38
1098288-02    L.J.           All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; Synov…    8/8/2021   29875     $1,472.45
1098288-02    L.J.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical; With …   8/8/2021   29880     $3,026.24
1098288-02    L.J.           All City Family Healthcare Center, Inc.          Unlisted Procedure, Arthroscopy…    8/8/2021   29999     $1,472.45
1098288-02    L.J.           All City Family Healthcare Center, Inc.           Surgical Supply; Miscellaneous…    8/8/2021   A4649       $72.00
1098288-02    L.J.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 10/8/2021    22526     $2,605.78
1098288-02    L.J.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 10/8/2021    22527     $2,605.78
1098288-02    L.J.             Rockaways ASC Development LLC                Injection Procedure For Diskograph… 10/8/2021    62291      $748.73
1098288-02    L.J.             Rockaways ASC Development LLC               Diskectomy, Anterior, With Decompr… 10/8/2021     63075     $6,402.03
1098288-02    L.J.             Rockaways ASC Development LLC               Diskectomy, Anterior, With Decompr… 10/8/2021     63076     $2,605.78
1098288-02    L.J.             Rockaways ASC Development LLC                Diskography, Cervical Or Thoracic,… 10/8/2021    72285      $962.54
1097101-01    O.M.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 5/22/2021     62321      $976.38
1097101-01    O.M.                Surgicore of Jersey City LLC               Injection, Anesthetic Agent; Supra… 5/22/2021   64418      $747.93
1097101-01    O.M.                Surgicore of Jersey City LLC             Epidurography, Radiological Superv… 5/22/2021     72275      $572.53
1097101-01    O.M.                Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…   5/22/2021   A4649       $50.00
1097101-01    O.M.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/5/2021      62321      $976.38
1097101-01    O.M.                Surgicore of Jersey City LLC             Epidurography, Radiological Superv… 6/5/2021      72275      $572.53
1097101-01    O.M.                Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…    6/5/2021   A4649       $50.00
1097101-01    O.M.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/19/2021     62321      $976.38
1097101-01    O.M.                Surgicore of Jersey City LLC             Epidurography, Radiological Superv… 6/19/2021     72275      $572.53
1097101-01    O.M.                Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…   6/19/2021   A4649       $50.00
1097101-01    O.M.           Bronx SC LLC d/b/a Empire State ASC             Arthroscopy, Shoulder, Surgical; S… 6/28/2021   29821     $2,798.20
1097101-01    O.M.           Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Shoulder, Surgical; D… 6/28/2021    29823     $1,472.45
1097101-01    O.M.           Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Shoulder, Surgical; W… 6/28/2021    29825     $1,472.45
1097101-01    O.M.           Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Shoulder, Surgical; D… 6/28/2021    29826     $1,472.45
1097101-01    O.M.           Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Shoulder, Surgical; W… 6/28/2021    29827     $5,677.77
1097101-01    O.M.           Bronx SC LLC d/b/a Empire State ASC             Injection, Anesthetic Agent; Brach… 6/28/2021   64415      $979.78
1097101-01    O.M.           Bronx SC LLC d/b/a Empire State ASC           Ultrasonic Guidance For Needle Pla… 6/28/2021     76942      $341.96
1097101-01    O.M.           Bronx SC LLC d/b/a Empire State ASC               Surgical Supply; Miscellaneous…   6/28/2021   A4649       $50.00
1097101-01    O.M.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/24/2021     62323      $976.38
1097101-01    O.M.                Surgicore of Jersey City LLC             Epidurography, Radiological Superv… 7/24/2021     72275      $572.53
1097101-01    O.M.                Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…   7/24/2021   A4649       $50.00
1097101-01    O.M.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/7/2021      62323      $976.38
1097101-01    O.M.                Surgicore of Jersey City LLC             Epidurography, Radiological Superv… 8/7/2021      72275      $572.53
1097101-01    O.M.                Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…    8/7/2021   A4649       $50.00
1097101-01    O.M.           Bronx SC LLC d/b/a Empire State ASC           Arthroscopy, Knee, Surgical; Synov…    8/9/2021   29875     $1,472.45
1097101-01    O.M.           Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Knee, Surgical; With …   8/9/2021   29881     $3,026.24
1097101-01    O.M.           Bronx SC LLC d/b/a Empire State ASC               Surgical Supply; Miscellaneous…    8/9/2021   A4649       $50.00
1097101-01    O.M.           Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Knee, Surgical, For R…   8/9/2021   G0289     $1,472.45
1097172-01    L.V.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 9/30/2021    22526     $2,605.78
1097172-01    L.V.             Rockaways ASC Development LLC               Aspiration Or Decompression Proced… 9/30/2021     62287     $5,292.93
1097172-01    L.V.             Rockaways ASC Development LLC                Infectious Agent Detection By Nucl… 9/30/2021    87635       $51.33
1097172-01    L.V.             Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…   9/30/2021   A4649       $50.00
1097172-01    L.V.        Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Knee, Surgical; Synov… 9/27/2022     29875     $1,472.45
1097172-01    L.V.        Surgicore LLC d/b/a Surgicore Surgical Center     Arthroscopy, Knee, Surgical; With … 9/27/2022    29880     $3,026.24
1097172-01    L.V.        Surgicore LLC d/b/a Surgicore Surgical Center       Unlisted Procedure, Arthroscopy…   9/27/2022   29999     $1,472.45
1096209-02    A.R.             Rockaways ASC Development LLC                 Injection(S); Single Or Multiple T…  6/3/2021   20552      $236.69
1096209-02    A.R.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/3/2021      62321      $976.38
1096209-02    A.R.             Rockaways ASC Development LLC               Epidurography, Radiological Superv… 6/3/2021      72275      $572.53
1096209-02    A.R.             Rockaways ASC Development LLC               Ultrasonic Guidance For Needle Pla…    6/3/2021   76942      $341.96
1096209-02    A.R.             Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…    6/3/2021   A4649       $50.00
1096209-02    A.R.                Surgicore of Jersey City LLC               Arthroscopy, Shoulder, Surgical; S… 6/16/2021   29821     $5,677.77
1096209-02    A.R.                Surgicore of Jersey City LLC              Arthroscopy, Shoulder, Surgical; D… 6/16/2021    29823     $1,472.45
1096209-02    A.R.                Surgicore of Jersey City LLC              Arthroscopy, Shoulder, Surgical; W… 6/16/2021    29825     $1,472.45
1096209-02    A.R.                Surgicore of Jersey City LLC                Unlisted Procedure, Arthroscopy…   6/16/2021   29999     $1,472.45
1096209-02    A.R.                Surgicore of Jersey City LLC               Injection, Anesthetic Agent; Brach… 6/16/2021   64415      $979.78
1096209-02    A.R.                Surgicore of Jersey City LLC             Ultrasonic Guidance For Needle Pla… 6/16/2021     76942      $341.96
1096209-02    A.R.                Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…   6/16/2021   A4649       $50.00
1096209-02    A.R.                Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise … 6/16/2021   L8699      $185.00
1095896-03    T.L.           All City Family Healthcare Center, Inc.         Arthroscopy, Shoulder, Surgical; S… 6/18/2021   29821     $5,677.77
1095896-03    T.L.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D… 6/18/2021    29823     $1,472.45
1095896-03    T.L.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; W… 6/18/2021    29825     $1,472.45
1095896-03    T.L.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D… 6/18/2021    29826     $1,472.45
1095896-03    T.L.           All City Family Healthcare Center, Inc.         Injection, Anesthetic Agent; Brach… 6/18/2021   64415      $979.78
1095896-03    T.L.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 6/18/2021     76942      $341.96
1095896-03    T.L.           All City Family Healthcare Center, Inc.           Surgical Supply; Miscellaneous…   6/18/2021   A4649       $72.00
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                                                            1638
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                 Date of     Billing   Amount
                                           Provider                                         Service
 Number      Person                                                                                                  Service     Code       Billed
1095896-03    T.L.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/8/2021      62323      $976.38
1095896-03    T.L.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 10/8/2021      72275      $572.53
1095896-03    T.L.            Rockaways ASC Development LLC                    Infectious Agent Detection By Nucl… 10/8/2021     87635       $51.33
1095820-02    O.D.            Rockaways ASC Development LLC                     Injection(S); Single Or Multiple T…  6/10/2021   20552      $236.69
1095820-02    O.D.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/10/2021      62323      $976.38
1095820-02    O.D.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 6/10/2021      72275      $572.53
1095820-02    O.D.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 6/10/2021      76942      $341.96
1095820-02    O.D.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    6/10/2021   A4649       $50.00
1095820-02    O.D.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 6/24/2021     22526     $2,605.78
1095820-02    O.D.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced… 6/24/2021      62287     $5,292.93
1095820-02    O.D.            Rockaways ASC Development LLC                    Infectious Agent Detection By Nucl… 6/24/2021     87635       $51.33
1095820-02    O.D.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    6/24/2021   A4649       $50.00
1095820-02    O.D.            Rockaways ASC Development LLC                     Injection(S); Single Or Multiple T…  7/19/2021   20552      $236.69
1095820-02    O.D.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/19/2021      62321      $976.38
1095820-02    O.D.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 7/19/2021      72275      $572.53
1095820-02    O.D.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 7/19/2021      76942      $341.96
1095820-02    O.D.            Rockaways ASC Development LLC                    Infectious Agent Detection By Nucl… 7/19/2021     87635       $51.33
1095820-02    O.D.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    7/19/2021   A4649       $50.00
1095820-02    O.D.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl… 2/21/2022     22526     $2,605.78
1095820-02    O.D.           All City Family Healthcare Center, Inc.          Diskectomy, Anterior, With Decompr… 2/21/2022      63075     $6,402.03
1095290-01    X.R.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 10/14/2021    22526     $2,605.78
1095290-01    X.R.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced… 10/14/2021     62287     $5,292.93
1095290-01    X.R.            Rockaways ASC Development LLC                    Infectious Agent Detection By Nucl… 10/14/2021    87635       $51.33
1095290-01    X.R.             Fifth Avenue Surgery Center LLC                 Arthrocentesis, Aspiration And/Or … 11/20/2021    20610      $473.38
1095290-01    X.R.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; Synov… 11/20/2021     29875     $1,472.45
1095290-01    X.R.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; With … 11/20/2021    29880     $3,026.24
1095290-01    X.R.             Fifth Avenue Surgery Center LLC                   Unlisted Procedure, Arthroscopy…   11/20/2021   29999     $1,472.45
1095556-04    K.F.                Surgicore of Jersey City LLC                Arthroscopy, Knee, Surgical; Synov…     5/3/2021   29876     $1,472.45
1095556-04    K.F.                Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical; With …    5/3/2021   29880     $3,026.24
1095556-04    K.F.                Surgicore of Jersey City LLC                   Unlisted Procedure, Arthroscopy…     5/3/2021   29999     $1,472.45
1095556-04    K.F.                Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…     5/3/2021   A4649       $50.00
1095556-04    K.F.                Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical, For R…    5/3/2021   G0289     $1,472.45
1095556-04    K.F.                Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise …   5/3/2021   L8699      $195.00
1095556-04    K.F.            Rockaways ASC Development LLC                    Arthrocentesis, Aspiration And/Or … 7/21/2021     20610      $473.39
1095556-04    K.F.            Rockaways ASC Development LLC                     Arthroscopy, Shoulder, Surgical; S…  7/21/2021   29821     $5,677.77
1095556-04    K.F.            Rockaways ASC Development LLC                    Arthroscopy, Shoulder, Surgical; D… 7/21/2021     29823     $1,472.45
1095556-04    K.F.            Rockaways ASC Development LLC                    Arthroscopy, Shoulder, Surgical; W… 7/21/2021     29825     $1,472.45
1095556-04    K.F.            Rockaways ASC Development LLC                    Arthroscopy, Shoulder, Surgical; D… 7/21/2021     29826     $1,472.45
1095556-04    K.F.            Rockaways ASC Development LLC                     Injection, Anesthetic Agent; Brach…  7/21/2021   64415      $979.78
1095556-04    K.F.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 7/21/2021      76942      $341.96
1095556-04    K.F.            Rockaways ASC Development LLC                    Infectious Agent Detection By Nucl… 7/21/2021     87635       $51.33
1095556-04    K.F.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    7/21/2021   a4649       $50.00
1095729-03    P.L.            Rockaways ASC Development LLC                     Injection(S); Single Or Multiple T…   6/1/2021   20552      $236.69
1095729-03    P.L.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/1/2021       62323      $976.38
1095729-03    P.L.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 6/1/2021       72275      $572.53
1095729-03    P.L.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…     6/1/2021   76942      $341.96
1095729-03    P.L.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…     6/1/2021   A4649       $50.00
1095729-03    P.L.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 6/14/2021     22526     $2,605.78
1095729-03    P.L.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced… 6/14/2021      62287     $5,292.93
1095729-03    P.L.            Rockaways ASC Development LLC                    Infectious Agent Detection By Nucl… 6/14/2021     87635       $51.33
1095729-03    P.L.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    6/14/2021   A4649       $50.00
1095729-03    P.L.            Rockaways ASC Development LLC                     Injection(S); Single Or Multiple T…  7/13/2021   20552      $236.69
1095729-03    P.L.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/13/2021      62321      $976.38
1095729-03    P.L.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 7/13/2021      72275      $572.53
1095729-03    P.L.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 7/13/2021      76942      $341.96
1095729-03    P.L.            Rockaways ASC Development LLC                    Infectious Agent Detection By Nucl… 7/13/2021     87635       $51.33
1095729-03    P.L.            Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    7/13/2021   A4649       $50.00
1095729-03    P.L.             Fifth Avenue Surgery Center LLC                Tenotomy, Shoulder Area; Single Te… 11/6/2021      23405     $1,839.77
1095729-03    P.L.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; W… 11/6/2021     29819     $1,472.45
1095729-03    P.L.             Fifth Avenue Surgery Center LLC                  Arthroscopy, Shoulder, Surgical; S…  11/6/2021   29821     $5,677.77
1095729-03    P.L.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D… 11/6/2021     29823     $1,472.45
1095729-03    P.L.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; W… 11/6/2021     29825     $1,472.45
1095729-03    P.L.             Fifth Avenue Surgery Center LLC                   Unlisted Procedure, Arthroscopy…    11/6/2021   29999     $1,472.45
1095729-03    P.L.             Fifth Avenue Surgery Center LLC                  Injection, Anesthetic Agent; Brach…  11/6/2021   64415      $979.78
1095729-03    P.L.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla… 11/6/2021      76942      $341.96
1096069-02    K.F.             Fifth Avenue Surgery Center LLC                  Injection(S); Single Or Multiple T… 11/15/2021   20553      $236.69
1096069-02    K.F.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/15/2021     62321      $976.38
1096069-02    K.F.             Fifth Avenue Surgery Center LLC                Epidurography, Radiological Superv… 11/15/2021     72275      $572.53
                                                                       51 of 124                                                              Exhibit 3
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                                                          1639
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1096069-02    K.F.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 11/15/2021    76942      $341.96
1096069-02    K.F.         Rockland & Bergen Surgery Center LLC         Arthroscopy, Shoulder, Surgical; S…  1/27/2023   29820     $1,472.45
1096069-02    K.F.         Rockland & Bergen Surgery Center LLC         Arthroscopy, Shoulder, Surgical; D… 1/27/2023    29823     $3,026.24
1096069-02    K.F.         Rockland & Bergen Surgery Center LLC         Arthroscopy, Shoulder, Surgical; D… 1/27/2023    29826     $1,472.45
1095173-03    G.F.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; S…  7/26/2021   29821     $2,798.20
1095173-03    G.F.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; D… 7/26/2021    29823     $1,472.45
1095173-03    G.F.         Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Shoulder, Surgical; W… 7/26/2021     29825     $1,472.45
1095173-03    G.F.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; D… 7/26/2021    29826     $1,472.45
1095173-03    G.F.         Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Shoulder, Surgical; W… 7/26/2021     29827     $5,677.77
1095173-03    G.F.         Bronx SC LLC d/b/a Empire State ASC          Injection, Anesthetic Agent; Brach…  7/26/2021   64415      $979.78
1095173-03    G.F.         Bronx SC LLC d/b/a Empire State ASC         Ultrasonic Guidance For Needle Pla… 7/26/2021     76942      $341.96
1095173-03    G.F.         Bronx SC LLC d/b/a Empire State ASC            Surgical Supply; Miscellaneous…    7/26/2021   A4649       $50.00
1095173-03    G.F.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/28/2021     62323      $976.38
1095173-03    G.F.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 8/28/2021     72275      $572.53
1095173-03    G.F.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    8/28/2021   A4649       $50.00
1095173-03    G.F.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 12/17/2021   22526     $2,605.78
1095173-03    G.F.               Surgicore of Jersey City LLC          Aspiration Or Decompression Proced… 12/17/2021    62287     $5,292.93
1095173-03    G.F.               Surgicore of Jersey City LLC          Probe, Percutaneous Lumbar Discect… 12/17/2021    C2614     $1,495.00
1095173-03    G.F.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/13/2022     62323      $976.38
1095173-03    G.F.               Surgicore of Jersey City LLC          Infectious Agent Detection By Nucl… 5/13/2022     87635       $51.33
1095173-03    G.F.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/26/2022     62323      $976.38
1095173-03    G.F.               Surgicore of Jersey City LLC          Infectious Agent Detection By Nucl… 8/26/2022     87635       $51.33
1095173-03    G.F.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/19/2022    62321      $976.38
1095173-03    G.F.               Surgicore of Jersey City LLC          Infectious Agent Detection By Nucl… 11/19/2022    87635       $51.33
1095173-03    G.F.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 12/10/2022   22526     $5,292.93
1095173-03    G.F.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 12/10/2022   22527     $2,605.78
1095173-03    G.F.               Surgicore of Jersey City LLC          Unlisted Procedure, Nervous System… 12/10/2022    64999      $747.93
1095173-03    G.F.               Surgicore of Jersey City LLC         Anchor/Screw For Opposing Bone-To-… 12/10/2022     C1713     $1,495.00
1095173-03    G.F.               Surgicore of Jersey City LLC           Injection(S); Single Or Multiple T…   3/3/2023   20553      $236.69
1095173-03    G.F.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   3/3/2023   64490      $976.38
1095173-03    G.F.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   3/3/2023   64491      $447.52
1095173-03    G.F.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   3/3/2023   64492      $447.52
1095129-01    A.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…  4/25/2021   29821     $5,677.77
1095129-01    A.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 4/25/2021    29823     $1,472.45
1095129-01    A.G.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W… 4/25/2021     29825     $1,472.45
1095129-01    A.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 4/25/2021    29826     $1,472.45
1095129-01    A.G.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…  4/25/2021   64415      $979.78
1095129-01    A.G.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 4/25/2021     76942      $341.96
1095129-01    A.G.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…    4/25/2021   A4649       $72.00
1095129-01    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System… 3/21/2022     64999      $829.30
1095129-01    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 4/25/2022     22526     $2,605.78
1095129-01    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 4/25/2022     22527     $2,605.79
1095129-01    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 4/25/2022     62287     $5,292.93
1095129-02    A.B.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/18/2021     62323      $976.38
1095129-02    A.B.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 7/18/2021     72275      $572.53
1095129-02    A.B.           Rockaways ASC Development LLC             Infectious Agent Detection By Nucl… 7/18/2021     87635       $51.33
1095129-02    A.B.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    7/18/2021   A4649       $50.00
1095129-02    A.B.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 8/25/2021    22526     $2,605.78
1095129-02    A.B.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 8/25/2021    22527     $2,605.78
1095129-02    A.B.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 8/25/2021     62287     $5,292.93
1095129-02    A.B.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    8/25/2021   A4649       $50.00
1095129-02    A.B.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or … 4/16/2022    20610      $473.38
1095129-02    A.B.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 4/16/2022     29875     $1,472.45
1095129-02    A.B.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 4/16/2022    29880     $3,026.24
1095129-02    A.B.            Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…    4/16/2022   29999     $1,472.45
1095486-02    J.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S… 10/11/2021   29821     $5,677.77
1095486-02    J.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 10/11/2021   29823     $1,472.45
1095486-02    J.R.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W… 10/11/2021    29825     $1,472.45
1095486-02    J.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 10/11/2021   29826     $1,472.45
1095486-02    J.R.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach… 10/11/2021   64415      $979.78
1095486-02    J.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 10/11/2021    76942      $341.96
1095486-02    J.R.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…   10/11/2021   A4649       $72.00
1095486-02    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T… 12/12/2021    20553      $236.69
1095486-02    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/12/2021    62321      $976.38
1095486-02    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 12/12/2021    72275      $572.53
1095486-02    J.R.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 12/19/2021   22526     $2,605.78
1095486-02    J.R.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 12/19/2021   22527     $2,605.78
1095486-02    J.R.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 12/19/2021    62287     $5,292.93
                                                                 52 of 124                                                            Exhibit 3
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                                                           1640
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1095486-02    J.R.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…   5/15/2022   20552      $236.69
1095486-02    J.R.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     5/15/2022   62323      $976.38
1095486-02    J.R.           Rockaways ASC Development LLC              Ultrasonic Guidance For Needle Pla…    5/15/2022   76942      $341.96
1094794-01    Y.T.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te…     4/29/2021   23405     $3,760.88
1094794-01    Y.T.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    4/29/2021   29823     $1,472.45
1094794-01    Y.T.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    4/29/2021   29825     $1,472.45
1094794-01    Y.T.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   4/29/2021   64415      $979.78
1094794-01    Y.T.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla…    4/29/2021   76942      $341.96
1094794-01    Y.T.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     4/29/2021   A4649       $72.00
1094794-01    Y.T.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…      9/1/2021   62287     $5,292.93
1094794-01    Y.T.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…      9/1/2021   A4649       $50.00
1094354-03    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…     5/14/2021   29821     $2,879.57
1094354-03    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     5/14/2021   A4649       $50.00
1094354-03    R.L.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     5/23/2021   62323      $976.38
1094354-03    R.L.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…     5/23/2021   72275      $572.53
1094354-03    R.L.           Rockaways ASC Development LLC              Infectious Agent Detection By Nucl…    5/23/2021   87635       $51.33
1094354-03    R.L.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     5/23/2021   A4649       $50.00
1094354-03    R.L.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     6/6/2021   62321      $976.38
1094354-03    R.L.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…      6/6/2021   72275      $572.53
1094354-03    R.L.           Rockaways ASC Development LLC             Iadna Streptococcus Group B Amplif…      6/6/2021   87653       $51.33
1094354-03    R.L.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…      6/6/2021   A4649       $50.00
1094354-03    R.L.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    7/18/2021   22526     $2,605.78
1094354-03    R.L.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    7/18/2021   22527     $2,605.78
1094354-03    R.L.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…     7/18/2021   62287     $5,292.93
1094354-03    R.L.           Rockaways ASC Development LLC              Infectious Agent Detection By Nucl…    7/18/2021   87635       $51.33
1094354-03    R.L.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     7/18/2021   A4649       $50.00
1094042-01     J.P.          Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…    4/1/2021   20552      $236.69
1094042-01     J.P.          Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      4/1/2021   62323      $976.38
1094042-01     J.P.          Rockaways ASC Development LLC              Ultrasonic Guidance For Needle Pla…     4/1/2021   76942      $341.96
1094042-01     J.P.          Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…      4/1/2021   A4649       $50.00
1094042-01     J.P.          Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…     5/2/2021   22526     $2,605.78
1094042-01     J.P.          Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…     5/2/2021   22527     $2,605.78
1094042-01     J.P.          Rockaways ASC Development LLC             Aspiration Or Decompression Proced…      5/2/2021   62287     $5,292.93
1094042-01     J.P.          Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…      5/2/2021   A4649       $50.00
1094042-01     J.P.              Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; Synov…    5/22/2021   29876     $1,472.45
1094042-01     J.P.              Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With …    5/22/2021   29880     $3,026.24
1094042-01     J.P.              Surgicore of Jersey City LLC             Unlisted Procedure, Arthroscopy…     5/22/2021   29999     $1,472.45
1094042-01     J.P.              Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     5/22/2021   A4649       $50.00
1094042-01     J.P.              Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical, For R…    5/22/2021   G0289     $1,472.45
1094042-01     J.P.              Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise …   5/22/2021   L8699      $210.00
1094090-04    A.P.            New Horizon Surgical Center LLC            Open Tx Distal Tibiofibular Joint …    7/9/2021   27829     $4,869.06
1094090-04    A.P.            New Horizon Surgical Center LLC           Arthroscopy, Ankle, Surgical; Exci…     7/9/2021   29891     $1,472.45
1094090-04    A.P.            New Horizon Surgical Center LLC           Arthroscopy, Ankle (Tibiotalar And…     7/9/2021   29895     $1,472.45
1094090-04    A.P.            New Horizon Surgical Center LLC           Arthroscopy, Ankle (Tibiotalar And…     7/9/2021   29898     $1,472.45
1094090-04    A.P.            New Horizon Surgical Center LLC           Injection, Anesthetic Agent; Femor…     7/9/2021   64447      $829.30
1094090-04    A.P.            New Horizon Surgical Center LLC           Ultrasonic Guidance For Needle Pla…     7/9/2021   76942      $341.96
1094090-04    A.P.            New Horizon Surgical Center LLC              Surgical Supply; Miscellaneous…      7/9/2021   A4649       $50.00
1094090-04    A.P.            Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulopl…    2/24/2023   22526     $2,605.78
1094090-04    A.P.            Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulopl…    2/24/2023   22527     $2,605.79
1094090-04    A.P.            Fifth Avenue Surgery Center LLC          Aspiration Or Decompression Proced…     2/24/2023   62287     $5,292.93
1094315-05    J.W.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    3/14/2021   29819     $1,472.45
1094315-05    J.W.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   3/14/2021   29821     $5,677.77
1094315-05    J.W.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    3/14/2021   29823     $1,472.45
1094315-05    J.W.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    3/14/2021   29825     $1,472.45
1094315-05    J.W.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    3/14/2021   29826     $1,472.45
1094315-05    J.W.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   3/14/2021   64415      $979.78
1094315-05    J.W.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla…    3/14/2021   76942      $341.96
1094315-05    J.W.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     3/14/2021   A4649       $72.00
1094315-05    J.W.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     4/11/2021   62323      $976.38
1094315-05    J.W.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…     4/11/2021   72275      $572.53
1094315-05    J.W.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     4/11/2021   A4649       $50.00
1094271-02    L.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With …     4/25/2021   29880     $3,026.24
1094271-02    L.T.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     4/25/2021   A4649       $50.00
1094271-02    L.T.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    6/23/2021   62321      $976.38
1094271-02    L.T.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…     6/23/2021   72275      $572.53
1094271-02    L.T.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     6/23/2021   A4649       $50.00
1094271-02    L.T.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    7/18/2021   22526     $5,292.93
1094271-02    L.T.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    7/18/2021   22526     $2,605.78
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       Case 1:24-cv-08606-JRC                 Document 1-4 Filed 12/17/24                      Page 194 of 580 PageID #:
                                                          1641
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1094271-02    L.T.           Rockaways ASC Development LLC             Unlisted Procedure, Nervous System… 7/18/2021     64999      $747.93
1094271-02    L.T.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   7/18/2021   A4649       $50.00
1094271-02    L.T.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/19/2021    62321      $976.38
1094271-02    L.T.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 12/19/2021    72275      $572.53
1094271-02    L.T.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…  1/17/2022   29821     $5,596.40
1094271-02    L.T.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 1/17/2022    29823     $1,472.45
1094271-02    L.T.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 1/17/2022     29825     $1,472.45
1094271-02    L.T.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 1/17/2022    29826     $1,472.45
1094271-02    L.T.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 1/17/2022     29827     $6,723.47
1094271-02    L.T.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…   1/17/2022   29999     $1,553.82
1094271-02    L.T.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach… 1/17/2022   64415      $979.78
1094271-02    L.T.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 1/17/2022     76942      $341.96
1094524-02    M.L.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/2/2021      62323      $976.38
1094524-02    M.L.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 5/2/2021      72275      $572.53
1094524-02    M.L.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    5/2/2021   A4649       $50.00
1094524-02    M.L.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/6/2021      62323      $976.38
1094524-02    M.L.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 6/6/2021      72275      $572.53
1094524-02    M.L.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    6/6/2021   A4649       $50.00
1094524-02    M.L.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 7/18/2021    22526     $2,605.78
1094524-02    M.L.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 7/18/2021     62287     $5,292.93
1094524-02    M.L.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   7/18/2021   A4649       $50.00
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 8/28/2021     29819     $1,472.45
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…   8/28/2021   29821     $5,677.77
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 8/28/2021     29823     $1,472.45
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 8/28/2021     29825     $1,472.45
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 8/28/2021     29826     $1,472.45
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…   8/28/2021   64415      $979.78
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 8/28/2021     76942      $341.96
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…   8/28/2021   A4649       $50.00
1093854-01    T.J.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…  5/3/2021   20552      $236.69
1093854-01    T.J.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/3/2021      62323      $976.38
1093854-01    T.J.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 5/3/2021      72275      $572.53
1093854-01    T.J.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…    5/3/2021   76942      $341.96
1093854-01    T.J.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    5/3/2021   A4649       $72.00
1093854-01    T.J.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 5/10/2021    22526     $2,605.78
1093854-01    T.J.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 5/10/2021     62287     $5,292.93
1093854-01    T.J.           Rockaways ASC Development LLC             Infectious Agent Detection By Nucl… 5/10/2021     87635       $51.33
1093854-01    T.J.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   5/10/2021   A4649       $50.00
1093854-01    T.J.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T… 5/20/2021   20552      $236.69
1093854-01    T.J.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 5/20/2021     62321      $976.38
1093854-01    T.J.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 5/20/2021     72275      $572.53
1093854-01    T.J.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 5/20/2021     76942      $341.96
1093854-01    T.J.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   5/20/2021   A4649       $50.00
1093854-01    T.J.         Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Ankle (Tibiotalar And… 5/25/2021     29898     $3,026.24
1093854-01    T.J.         Bronx SC LLC d/b/a Empire State ASC          Injection, Anesthetic Agent; Femor… 5/25/2021    64447      $829.30
1093854-01    T.J.         Bronx SC LLC d/b/a Empire State ASC         Ultrasonic Guidance For Needle Pla… 5/25/2021     76942      $341.96
1093854-01    T.J.         Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…   5/25/2021   A4649       $50.00
1093869-01    J.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…   3/13/2021   20553      $236.69
1093869-01    J.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/13/2021     62323      $976.38
1093869-01    J.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 3/13/2021     72275      $572.53
1093869-01    J.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…   3/13/2021   A4649       $50.00
1093869-01    J.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…   4/9/2021   29821     $5,677.77
1093869-01    J.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…   4/9/2021   29823     $1,472.45
1093869-01    J.M.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…    4/9/2021   29825     $1,472.45
1093869-01    J.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…   4/9/2021   29826     $1,472.45
1093869-01    J.M.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…    4/9/2021   29999     $1,472.45
1093869-01    J.M.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  4/9/2021   64415      $979.78
1093869-01    J.M.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…    4/9/2021   76942      $341.96
1093869-01    J.M.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    4/9/2021   A4649       $72.00
1094126-01    J.L.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…  3/4/2021   20552      $236.69
1094126-01    J.L.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or…   3/4/2021   64483      $976.38
1094126-01    J.L.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or…   3/4/2021   64484      $447.52
1094126-01    J.L.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 3/4/2021      72275      $572.53
1094126-01    J.L.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…    3/4/2021   76942      $341.96
1094126-01    J.L.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    3/4/2021   A4649       $72.00
1094126-01    J.L.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 3/17/2021    22526     $2,605.78
1094126-01    J.L.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 3/17/2021    22527     $2,605.78
1094126-01    J.L.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 3/17/2021     62287     $5,292.93
                                                                 54 of 124                                                            Exhibit 3
       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                           Page 195 of 580 PageID #:
                                                            1642
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                 Date of     Billing   Amount
                                           Provider                                         Service
 Number      Person                                                                                                  Service     Code       Billed
1094126-01    J.L.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…     3/17/2021   A4649       $50.00
1094298-02    E.R.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…   3/29/2022   20552      $236.69
1094298-02    E.R.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/29/2022      62323      $976.38
1094298-02    E.R.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 3/29/2022      76942      $341.96
1094298-02    E.R.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 4/12/2022     22526     $2,605.78
1094298-02    E.R.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 4/12/2022     22527     $2,605.78
1094298-02    E.R.            Rockaways ASC Development LLC                  Aspiration Or Decompression Proced… 4/12/2022       62287     $5,292.93
1094298-02    E.R.           All City Family Healthcare Center, Inc.           Injection(S); Single Or Multiple T…    5/2/2022   20552      $236.69
1094298-02    E.R.           All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/2/2022       62323      $976.38
1094298-02    E.R.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…     5/2/2022   76942      $341.96
1094298-02    E.R.           All City Family Healthcare Center, Inc.          Infectious Agent Detection By Nucl…     5/2/2022   87635       $51.33
1093577-02    B.B.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…   4/26/2021   20552      $236.69
1093577-02    B.B.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/26/2021      62323      $976.38
1093577-02    B.B.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 4/26/2021      72275      $572.53
1093577-02    B.B.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 4/26/2021      76942      $341.96
1093577-02    B.B.            Rockaways ASC Development LLC                   Infectious Agent Detection By Nucl… 4/26/2021      87635       $51.33
1093577-02    B.B.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…     4/26/2021   A4649       $50.00
1093577-02    B.B.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl…    5/3/2021   22526     $2,605.78
1093577-02    B.B.           All City Family Healthcare Center, Inc.         Aspiration Or Decompression Proced… 5/3/2021        62287     $5,292.93
1093577-02    B.B.           All City Family Healthcare Center, Inc.          Infectious Agent Detection By Nucl…     5/3/2021   87635       $51.33
1093577-02    B.B.           All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…      5/3/2021   A4649       $72.00
1093577-02    B.B.                Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; S…   7/10/2021   29821     $5,677.77
1093577-02    B.B.                Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; D… 7/10/2021     29823     $1,472.45
1093577-02    B.B.                Surgicore of Jersey City LLC                Arthroscopy, Shoulder, Surgical; W… 7/10/2021      29825     $1,472.45
1093577-02    B.B.                Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; D… 7/10/2021     29826     $1,472.45
1093577-02    B.B.                Surgicore of Jersey City LLC                 Injection, Anesthetic Agent; Brach…   7/10/2021   64415      $979.78
1093577-02    B.B.                Surgicore of Jersey City LLC                Ultrasonic Guidance For Needle Pla… 7/10/2021      76942      $341.96
1093577-02    B.B.                Surgicore of Jersey City LLC                Infectious Agent Detection By Nucl… 7/10/2021      87635       $51.33
1093577-02    B.B.                Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     7/10/2021   A4649       $50.00
1093897-01    F.J.                Surgicore of Jersey City LLC                 Perq Intrdscl Electrothrm Annulopl… 10/16/2021    22526     $2,605.78
1093897-01    F.J.                Surgicore of Jersey City LLC               Aspiration Or Decompression Proced… 10/16/2021      62287     $5,292.93
1093897-01    F.J.                Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    10/16/2021   A4649       $50.00
1093897-01    F.J.                Surgicore of Jersey City LLC                Probe, Percutaneous Lumbar Discect… 10/16/2021     C2614     $1,495.00
1093897-01    F.J.                Surgicore of Jersey City LLC                Plmt Post Facet Implt Uni/Bi W/Img… 1/22/2022      0221T     $5,292.93
1093897-01    F.J.                Surgicore of Jersey City LLC                  Place Posterior Intrafacet Implant…  1/22/2022   0222T     $2,605.78
1093897-01    F.J.                Surgicore of Jersey City LLC                Unlisted Procedure, Nervous System… 1/22/2022      64999      $829.30
1093897-01    F.J.                Surgicore of Jersey City LLC               Anchor/Screw For Opposing Bone-To-… 1/22/2022       C1713     $2,135.00
1093897-01    F.J.             Fifth Avenue Surgery Center LLC                 Arthrocentesis, Aspiration And/Or … 4/25/2023     20610      $473.39
1093897-01    F.J.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; Synov… 4/25/2023      29875     $1,472.45
1093897-01    F.J.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; With … 4/25/2023     29880     $3,026.24
1093897-01    F.J.             Fifth Avenue Surgery Center LLC                 Arthrocentesis, Aspiration And/Or … 5/16/2023     20610      $473.39
1093897-01    F.J.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; Synov… 5/16/2023      29875     $1,472.45
1093897-01    F.J.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; With … 5/16/2023     29880     $3,026.24
1093897-01    F.J.             Fifth Avenue Surgery Center LLC                 Arthrocentesis, Aspiration And/Or … 8/29/2023     20610      $473.39
1093897-01    F.J.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Diagnostic,… 8/29/2023     29805     $1,472.45
1093897-01    F.J.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; S…   8/29/2023   29821     $5,677.77
1093897-01    F.J.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D… 8/29/2023     29823     $1,472.45
1093897-01    F.J.             Fifth Avenue Surgery Center LLC                 Injection, Anesthetic Agent; Brach…   8/29/2023   64415      $979.78
1093897-01    F.J.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla… 8/29/2023      76942      $341.96
1093898-02    T.M.                Surgicore of Jersey City LLC                Arthroscopy, Knee, Surgical; Synov… 6/16/2021      29876     $1,472.45
1093898-02    T.M.                Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical; With … 6/16/2021     29880     $3,026.24
1093898-02    T.M.                Surgicore of Jersey City LLC                  Unlisted Procedure, Arthroscopy…     6/16/2021   29999     $1,472.45
1093898-02    T.M.                Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     6/16/2021   A4649       $50.00
1093898-02    T.M.                Surgicore of Jersey City LLC                 Prosthetic Implant, Not Otherwise …   6/16/2021   L8699      $195.00
1093898-02    T.M.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/3/2021       62323      $976.38
1093898-02    T.M.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 9/3/2021       72275      $572.53
1093898-02    T.M.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…      9/3/2021   A4649       $50.00
1093898-02    T.M.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 10/8/2021     22526     $2,605.78
1093898-02    T.M.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 10/8/2021     22527     $2,605.79
1093898-02    T.M.            Rockaways ASC Development LLC                  Aspiration Or Decompression Proced… 10/8/2021       62287     $5,292.93
1093898-02    T.M.            Rockaways ASC Development LLC                   Infectious Agent Detection By Nucl… 10/8/2021      87635       $51.33
1092788-02    C.P.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/9/2021       62323      $976.38
1092788-02    C.P.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 5/9/2021       72275      $572.53
1092788-02    C.P.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…      5/9/2021   A4649       $50.00
1092788-02    C.P.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl… 6/20/2021     22526     $2,605.78
1092788-02    C.P.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl… 6/20/2021     22527     $2,605.79
1092788-02    C.P.           All City Family Healthcare Center, Inc.         Aspiration Or Decompression Proced… 6/20/2021       62287     $5,292.93
1092788-02    C.P.           All City Family Healthcare Center, Inc.          Infectious Agent Detection By Nucl… 6/20/2021      87635       $51.33
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                                                            1643
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                              Date of     Billing   Amount
                                           Provider                                      Service
 Number      Person                                                                                               Service     Code       Billed
1092788-02    C.P.           All City Family Healthcare Center, Inc.          Surgical Supply; Miscellaneous…     6/20/2021   A4649        $72.00
1092788-02    C.P.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/18/2021      62321       $976.38
1092788-02    C.P.           All City Family Healthcare Center, Inc.       Epidurography, Radiological Superv… 7/18/2021      72275       $572.53
1092788-02    C.P.           All City Family Healthcare Center, Inc.          Surgical Supply; Miscellaneous…     7/18/2021   A4649        $72.00
1092788-02    C.P.           All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/12/2021      62321       $976.38
1092788-02    C.P.           All City Family Healthcare Center, Inc.       Epidurography, Radiological Superv… 9/12/2021      72275       $572.53
1092788-02    C.P.           All City Family Healthcare Center, Inc.          Surgical Supply; Miscellaneous…     9/12/2021   A4649        $72.00
1092788-02    C.P.           All City Family Healthcare Center, Inc.       Diskectomy, Anterior, With Decompr… 10/3/2021      63075      $6,402.03
1092788-02    C.P.           All City Family Healthcare Center, Inc.          Surgical Supply; Miscellaneous…     10/3/2021   A4649        $72.00
1093367-01    D.A.              Fifth Avenue Surgery Center LLC            Insertion Of Wire Or Pin With Appl…     4/3/2021   20650      $1,393.35
1093367-01    D.A.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; S…    4/3/2021   29821      $2,798.20
1093367-01    D.A.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; W…    4/3/2021   29825      $1,472.45
1093367-01    D.A.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D…    4/3/2021   29826      $1,472.45
1093367-01    D.A.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; W…    4/3/2021   29827      $5,677.77
1093367-01    D.A.              Fifth Avenue Surgery Center LLC             Injection, Anesthetic Agent; Brach…    4/3/2021   64415       $979.78
1093367-01    D.A.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…     4/3/2021   76942       $341.96
1093367-01    D.A.              Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…      4/3/2021   A4649        $50.00
1093367-01    D.A.              New Horizon Surgical Center LLC            Eswt Invg Muscskel Sys Nos Hi Nrg… 10/29/2021      0101T     $22,194.00
1092489-01    M.L.           All City Family Healthcare Center, Inc.        Arthrocentesis, Aspiration And/Or … 4/19/2021     20610       $473.38
1092489-01    M.L.           All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; Synov… 4/19/2021      29875      $1,472.45
1092489-01    M.L.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical; With … 4/19/2021     29884      $1,472.45
1092489-01    M.L.           All City Family Healthcare Center, Inc.        Arthroscopically Aided Anterior Cr… 4/19/2021     29888      $5,677.77
1092489-01    M.L.           All City Family Healthcare Center, Inc.        Injection, Anesthetic Agent; Femor… 4/19/2021     64447       $829.30
1092489-01    M.L.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 4/19/2021      76942       $341.96
1092489-01    M.L.           All City Family Healthcare Center, Inc.          Surgical Supply; Miscellaneous…     4/19/2021   A4649        $72.00
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/28/2021      62323       $976.38
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 6/28/2021      64493       $447.52
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 6/28/2021      64493       $976.38
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 6/28/2021      64494       $447.52
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 6/28/2021      64495       $447.52
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center       Surgical Supply; Miscellaneous…     6/28/2021   A4649        $50.00
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/26/2021      62323       $976.38
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 7/26/2021      64493       $447.52
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 7/26/2021      64494       $447.52
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 7/26/2021      64495       $447.52
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center       Surgical Supply; Miscellaneous…     7/26/2021   A4649        $50.00
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/9/2021       62323       $976.38
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/9/2021       64493       $447.52
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/9/2021       64494       $447.52
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 8/9/2021       64495       $447.52
1092489-01    M.L.        Surgicore LLC d/b/a Surgicore Surgical Center       Surgical Supply; Miscellaneous…      8/9/2021   A4649        $50.00
1092654-01    M.H.           All City Family Healthcare Center, Inc.        Arthrocentesis, Aspiration And/Or … 8/16/2021     20610       $473.38
1092654-01    M.H.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; C… 8/16/2021     29806      $5,677.77
1092654-01    M.H.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; S…   8/16/2021   29821      $2,798.20
1092654-01    M.H.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D… 8/16/2021     29823      $1,472.45
1092654-01    M.H.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; W… 8/16/2021     29825      $1,472.45
1092654-01    M.H.           All City Family Healthcare Center, Inc.          Unlisted Procedure, Arthroscopy…    8/16/2021   29999      $1,472.45
1092654-01    M.H.           All City Family Healthcare Center, Inc.        Injection, Anesthetic Agent; Brach…   8/16/2021   64415       $979.78
1092654-01    M.H.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 8/16/2021      76942       $341.96
1092654-01    M.H.           All City Family Healthcare Center, Inc.          Surgical Supply; Miscellaneous…     8/16/2021   A4649        $72.00
1092654-01    M.H.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl… 10/14/2021    22526      $2,605.78
1092654-01    M.H.             Rockaways ASC Development LLC               Aspiration Or Decompression Proced… 10/14/2021     62287      $5,292.93
1092654-01    M.H.             Rockaways ASC Development LLC                 Injection(S); Single Or Multiple T…  12/9/2021   20552       $236.69
1092654-01    M.H.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/9/2021      62323       $976.38
1092654-01    M.H.             Rockaways ASC Development LLC               Epidurography, Radiological Superv… 12/9/2021      72275       $572.53
1092654-01    M.H.             Rockaways ASC Development LLC               Ultrasonic Guidance For Needle Pla… 12/9/2021      76942       $341.96
1092549-02    P.Q.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/29/2021      62323       $976.38
1092549-02    P.Q.             Rockaways ASC Development LLC               Epidurography, Radiological Superv… 7/29/2021      72275       $572.53
1092549-02    P.Q.             Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…     7/29/2021   A4649        $50.00
1092549-02    P.Q.              Fifth Avenue Surgery Center LLC              Injection(S); Single Or Multiple T… 10/14/2021   20553       $236.69
1092549-02    P.Q.              Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/14/2021     62323        $54.17
1092549-02    P.Q.              Fifth Avenue Surgery Center LLC            Epidurography, Radiological Superv… 10/14/2021     72275       $572.53
1092549-02    P.Q.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla… 10/14/2021     76942       $341.96
1092549-02    P.Q.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; S…   1/12/2022   29821      $5,677.77
1092549-02    P.Q.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D… 1/12/2022     29823      $1,472.45
1092549-02    P.Q.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D… 1/12/2022     29826      $1,472.45
1092549-02    P.Q.           All City Family Healthcare Center, Inc.        Injection, Anesthetic Agent; Brach…   1/12/2022   64415       $979.78
1092549-02    P.Q.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 1/12/2022      76942       $341.96
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                                                           1644
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1092582-01    R.E.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…   3/8/2021   20552      $236.69
1092582-01    R.E.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/8/2021      62323      $976.38
1092582-01    R.E.            Rockaways ASC Development LLC             Epidurography, Radiological Superv… 3/8/2021      72275      $572.53
1092582-01    R.E.            Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…    3/8/2021   76942      $341.96
1092582-01    R.E.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     3/8/2021   A4649       $50.00
1092582-01    R.E.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulopl… 3/15/2021    22526     $2,605.78
1092582-01    R.E.          All City Family Healthcare Center, Inc.     Aspiration Or Decompression Proced… 3/15/2021     62287     $5,292.93
1092582-01    R.E.          All City Family Healthcare Center, Inc.     Infectious Agent Detection By Nucl… 3/15/2021     87635       $51.33
1092582-01    R.E.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    3/15/2021   A4649       $72.00
1092421-01    C.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/19/2021      62323      $976.38
1092421-01    C.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 7/19/2021      72275      $572.53
1092421-01    C.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Iadna Streptococcus Group B Amplif… 7/19/2021      87653       $51.33
1092421-01    C.L.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    7/19/2021   A4649       $50.00
1092421-01    C.L.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…  8/15/2021   29821     $5,677.77
1092421-01    C.L.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; D… 8/15/2021    29823     $1,472.45
1092421-01    C.L.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; D… 8/15/2021    29826     $1,472.45
1092421-01    C.L.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  8/15/2021   64415      $979.78
1092421-01    C.L.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla… 8/15/2021     76942      $341.96
1092421-01    C.L.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    8/15/2021   A4649       $72.00
1092421-01    C.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 9/13/2021      62287     $5,292.93
1092421-01    C.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 9/13/2021      87635       $51.33
1092421-01    C.L.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    9/13/2021   A4649       $50.00
1092184-01    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/12/2021      62321      $976.38
1092184-01    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 2/12/2021      72275      $572.53
1092184-01    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    2/12/2021   A4649       $50.00
1092184-01    J.R.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/6/2021      62323      $976.38
1092184-01    J.R.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     3/6/2021   A4649       $50.00
1092184-01    J.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Synov… 6/24/2021     29875     $1,472.45
1092184-01    J.R.          All City Family Healthcare Center, Inc.      Arthroscopy, Knee, Surgical; With … 6/24/2021    29880     $3,026.24
1092184-01    J.R.          All City Family Healthcare Center, Inc.     Infectious Agent Detection By Nucl… 6/24/2021     87635       $51.33
1092184-01    J.R.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    6/24/2021   A4649       $72.00
1092184-01    J.R.          All City Family Healthcare Center, Inc.      Arthroscopy, Knee, Surgical, For R… 6/24/2021    G0289     $1,472.45
1092184-01    J.R.               Surgicore of Jersey City LLC          Perc Lamino-/Laminectomy Image Gui… 7/17/2021      0274T     $5,292.93
1092184-01    J.R.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulopl… 7/17/2021    22526     $2,605.78
1092184-01    J.R.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    7/17/2021   A4649       $50.00
1092184-01    J.R.               Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise …  7/17/2021   L8699     $1,495.00
1092184-01    J.R.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulopl… 8/14/2021    22526     $2,605.78
1092184-01    J.R.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulopl… 8/14/2021    22527     $2,605.78
1092184-01    J.R.               Surgicore of Jersey City LLC           Aspiration Or Decompression Proced… 8/14/2021     62287     $5,292.93
1092184-01    J.R.               Surgicore of Jersey City LLC           Infectious Agent Detection By Nucl… 8/14/2021     87635       $51.33
1092184-01    J.R.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    8/14/2021   A4649       $50.00
1092184-01    J.R.               Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise …  8/14/2021   L8699     $1,495.00
1093314-02    S.S.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/29/2021     62323      $976.38
1093314-02    S.S.            Rockaways ASC Development LLC             Epidurography, Radiological Superv… 4/29/2021     72275      $572.53
1093314-02    S.S.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    4/29/2021   A4649       $50.00
1093314-02    S.S.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/3/2021      62323      $976.38
1093314-02    S.S.            Rockaways ASC Development LLC             Epidurography, Radiological Superv… 6/3/2021      72275      $572.53
1093314-02    S.S.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     6/3/2021   A4649       $50.00
1093314-02    S.S.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; Synov… 12/10/2021    29875     $1,472.45
1093314-02    S.S.          Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Knee, Surgical; With … 12/10/2021   29881     $3,026.24
1093314-02    S.S.          Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Knee, Surgical; With … 12/10/2021   29884     $1,472.45
1093314-02    S.S.             Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/10/2022     62323      $976.38
1092728-02    M.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     2/6/2021   20553      $236.69
1092728-02    M.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/6/2021       64493      $447.52
1092728-02    M.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/6/2021       64493      $976.38
1092728-02    M.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/6/2021       64494      $447.52
1092728-02    M.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/6/2021       64495      $447.52
1092728-02    M.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     2/6/2021   A4649       $50.00
1092728-02    M.M.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   4/9/2021   29821     $5,677.77
1092728-02    M.M.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; D…   4/9/2021   29823     $1,472.45
1092728-02    M.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    4/9/2021   29825     $1,472.45
1092728-02    M.M.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; D…   4/9/2021   29826     $1,472.45
1092728-02    M.M.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…     4/9/2021   29999     $1,472.45
1092728-02    M.M.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   4/9/2021   64415      $979.78
1092728-02    M.M.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla…    4/9/2021   76942      $341.96
1092728-02    M.M.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     4/9/2021   A4649       $72.00
1091982-02     S.I.      Surgicore LLC d/b/a Surgicore Surgical Center  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/20/2021    62323      $976.38
1091982-02     S.I.      Surgicore LLC d/b/a Surgicore Surgical Center  Epidurography, Radiological Superv… 10/20/2021    72275      $572.53
                                                                 57 of 124                                                             Exhibit 3
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                                                           1645
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1091982-02    S.I.       Surgicore LLC d/b/a Surgicore Surgical Center Infectious Agent Detection By Nucl…     10/20/2021   87635       $51.33
1091982-02    S.I.       Surgicore LLC d/b/a Surgicore Surgical Center     Surgical Supply; Miscellaneous…     10/20/2021   A4649       $50.00
1091982-02    S.I.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     11/10/2021   62321      $976.38
1091982-02    S.I.       Surgicore LLC d/b/a Surgicore Surgical Center Epidurography, Radiological Superv…     11/10/2021   72275      $572.53
1091982-02    S.I.       Surgicore LLC d/b/a Surgicore Surgical Center Infectious Agent Detection By Nucl…     11/10/2021   87635       $51.33
1091982-02    S.I.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     11/17/2021   62321      $976.38
1091982-02    S.I.          Bronx SC LLC d/b/a Empire State ASC        Epidurography, Radiological Superv…     11/17/2021   72275      $572.53
1091982-02    S.I.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent And/Or…    12/16/2021   64483      $976.38
1091982-02    S.I.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent And/Or…    12/16/2021   64484      $447.52
1091982-02    S.I.       Surgicore LLC d/b/a Surgicore Surgical Center Epidurography, Radiological Superv…     12/16/2021   72275      $572.53
1091982-02    S.I.       Surgicore LLC d/b/a Surgicore Surgical Center Infectious Agent Detection By Nucl…     12/16/2021   87635       $51.33
1091982-02    S.I.             New Horizon Surgical Center LLC         Arthroscopy, Knee, Surgical; Synov…      9/15/2022   29876     $1,472.45
1091982-02    S.I.             New Horizon Surgical Center LLC         Arthroscopy, Knee, Surgical; Abras…      9/15/2022   29879     $3,026.24
1091982-02    S.I.             New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical; With …     9/15/2022   29881     $1,472.45
1091982-02    S.I.             New Horizon Surgical Center LLC          Injection, Anesthetic Agent; Femor…     9/15/2022   64447      $829.30
1091982-02    S.I.             New Horizon Surgical Center LLC         Ultrasonic Guidance For Needle Pla…      9/15/2022   76942      $341.96
1091982-02    S.I.             New Horizon Surgical Center LLC          Prosthetic Implant, Not Otherwise …     9/15/2022   L8699      $230.00
1091978-03    T.H.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent And/Or…     3/18/2021   64483      $447.52
1091978-03    T.H.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent And/Or…     3/18/2021   64483      $976.38
1091978-03    T.H.       Surgicore LLC d/b/a Surgicore Surgical Center Epidurography, Radiological Superv…      3/18/2021   72275      $572.53
1091978-03    T.H.       Surgicore LLC d/b/a Surgicore Surgical Center     Surgical Supply; Miscellaneous…      3/18/2021   A4649       $50.00
1091978-03    T.H.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov…      3/22/2021   29876     $1,472.45
1091978-03    T.H.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With …     3/22/2021   29881     $3,026.24
1091978-03    T.H.               Surgicore of Jersey City LLC             Unlisted Procedure, Arthroscopy…      3/22/2021   29999     $1,472.45
1091978-03    T.H.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…      3/22/2021   A4649       $50.00
1091978-03    T.H.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …     3/22/2021   L8699      $195.00
1091935-01    P.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…       3/2/2021   20553      $236.69
1091935-01    P.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…       3/2/2021   62323      $976.38
1091935-01    P.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…       3/2/2021   72275      $572.53
1091935-01    P.B.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…       3/2/2021   A4649       $50.00
1091935-01    P.B.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te…       3/4/2021   23405     $1,839.77
1091935-01    P.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…      3/4/2021   29821     $5,677.77
1091935-01    P.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…      3/4/2021   29823     $1,472.45
1091935-01    P.B.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…       3/4/2021   29825     $1,472.45
1091935-01    P.B.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…     3/4/2021   64415      $979.78
1091935-01    P.B.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…       3/4/2021   76942      $341.96
1091935-01    P.B.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…       3/4/2021   A4649       $72.00
1091935-01    P.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…      3/13/2021   20553      $473.39
1091935-01    P.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…      3/13/2021   22526     $2,605.78
1091935-01    P.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced…      3/13/2021   62287     $5,292.93
1091935-01    P.B.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…      3/13/2021   A4649       $50.00
1091914-01    A.T.             Fifth Avenue Surgery Center LLC           Arthroscopy, Wrist, Surgical; Exci…     2/6/2021   29846     $3,026.24
1091914-01    A.T.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…     2/6/2021   64415      $979.78
1091914-01    A.T.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…       2/6/2021   76942      $341.96
1091914-01    A.T.             Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…       2/6/2021   A4649       $50.00
1091914-01    A.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…       3/7/2021   29823     $3,026.24
1091914-01    A.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…       3/7/2021   64415      $979.78
1091914-01    A.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…       3/7/2021   76942      $341.96
1091914-01    A.T.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…       3/7/2021   A4649       $50.00
1091914-01    A.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…      3/27/2021   20553      $236.69
1091914-01    A.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      3/27/2021   62323      $976.38
1091914-01    A.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…      3/27/2021   72275      $572.53
1091914-01    A.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl…      3/27/2021   87635       $51.33
1091914-01    A.T.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…      3/27/2021   A4649       $50.00
1091237-01    A.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/27/2021   64493      $447.52
1091237-01    A.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/27/2021   64493      $976.38
1091237-01    A.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/27/2021   64494      $447.52
1091237-01    A.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/27/2021   64495      $447.52
1091237-01    A.B.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…      2/27/2021   A4649       $50.00
1091237-01    A.B.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; S…     3/11/2021   29821     $2,798.20
1091237-01    A.B.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; D…     3/11/2021   29823     $1,472.45
1091237-01    A.B.            Rockaways ASC Development LLC            Arthroscopy, Shoulder, Surgical; W…      3/11/2021   29825     $1,472.45
1091237-01    A.B.            Rockaways ASC Development LLC            Arthroscopy, Shoulder, Surgical; W…      3/11/2021   29827     $5,677.77
1091237-01    A.B.            Rockaways ASC Development LLC              Injection, Anesthetic Agent; Brach…    3/11/2021   64415      $979.78
1091237-01    A.B.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…      3/11/2021   76942      $341.96
1091237-01    A.B.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      3/11/2021   A4649       $50.00
1091237-01    A.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      3/27/2021   64493      $447.52
1091237-01    A.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      3/27/2021   64493      $976.38
                                                                  58 of 124                                                              Exhibit 3
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                                                           1646
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1091237-01    A.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     3/27/2021   64494      $447.52
1091237-01    A.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     3/27/2021   64495      $447.52
1091237-01    A.B.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     3/27/2021   A4649       $50.00
1091237-01    A.B.               Surgicore of Jersey City LLC           Dstr Nrolytc Agnt Parverteb Fct Sn…    4/10/2021   64635      $976.38
1091237-01    A.B.               Surgicore of Jersey City LLC           Dstr Nrolytc Agnt Parverteb Fct Ad…    4/10/2021   64636      $447.52
1091237-01    A.B.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     4/10/2021   A4649       $50.00
1091237-01    A.B.               Surgicore of Jersey City LLC           Dstr Nrolytc Agnt Parverteb Fct Sn…     5/1/2021   64635      $976.38
1091237-01    A.B.               Surgicore of Jersey City LLC           Dstr Nrolytc Agnt Parverteb Fct Ad…     5/1/2021   64636      $447.52
1091237-01    A.B.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…      5/1/2021   A4649       $50.00
1092136-04    Y.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     3/12/2021   62321      $976.38
1092136-04    Y.C.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     3/12/2021   A4649       $50.00
1092136-04    Y.C.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   4/23/2021   29821     $5,677.77
1092136-04    Y.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    4/23/2021   29823     $1,472.45
1092136-04    Y.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    4/23/2021   29825     $1,472.45
1092136-04    Y.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    4/23/2021   29826     $1,472.45
1092136-04    Y.C.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   4/23/2021   64415      $979.78
1092136-04    Y.C.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     4/23/2021   76942      $341.96
1092136-04    Y.C.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     4/23/2021   A4649       $72.00
1092136-04    Y.C.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…      5/7/2021   29875     $1,472.45
1092136-04    Y.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Abras…     5/7/2021   29879     $1,472.45
1092136-04    Y.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …     5/7/2021   29880     $3,026.24
1092136-04    Y.C.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…      5/7/2021   29999     $1,472.45
1092136-04    Y.C.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…      5/7/2021   A4649       $72.00
1092136-04    Y.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R…     5/7/2021   G0289     $1,472.45
1092136-04    Y.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      6/4/2021   62323      $976.38
1092136-04    Y.C.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…      6/4/2021   A4649       $50.00
1091346-01    B.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…      2/8/2021   29821     $2,798.20
1091346-01    B.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…      2/8/2021   29823     $1,472.45
1091346-01    B.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…      2/8/2021   29826     $1,472.45
1091346-01    B.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W…      2/8/2021   29827     $5,677.77
1091346-01    B.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…      2/8/2021   64415      $979.78
1091346-01    B.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…      2/8/2021   76942      $341.96
1091346-01    B.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl…      2/8/2021   87635       $51.33
1091346-01    B.K.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…      2/8/2021   A4649       $50.00
1091346-01    B.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     3/20/2021   22526     $2,605.78
1091346-01    B.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     3/20/2021   22527     $2,605.79
1091346-01    B.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced…     3/20/2021   62287     $5,292.93
1091346-01    B.K.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     3/20/2021   A4649       $50.00
1091346-01    B.K.           Rockaways ASC Development LLC             Arthroscopy, Elbow, Surgical; Debr…     5/12/2021   29838     $3,026.24
1091346-01    B.K.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     5/12/2021   A4649       $50.00
1092077-02    A.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…      3/1/2021   29826     $1,472.45
1092077-02    A.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W…      3/1/2021   29827     $5,677.77
1092077-02    A.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…      3/1/2021   64415      $979.78
1092077-02    A.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…      3/1/2021   76942      $341.96
1092077-02    A.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…      3/1/2021   A4649       $50.00
1092077-02    A.M.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     5/21/2021   62321      $976.38
1092077-02    A.M.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…     5/21/2021   72275      $572.53
1092077-02    A.M.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     5/21/2021   A4649       $50.00
1092077-02    A.M.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…     7/2/2021   22526     $2,605.78
1092077-02    A.M.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…     7/2/2021   22527     $2,605.78
1092077-02    A.M.           Rockaways ASC Development LLC              Injection Procedure For Diskograph…     7/2/2021   62291      $748.74
1092077-02    A.M.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr…      7/2/2021   63075     $5,292.93
1092077-02    A.M.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr…      7/2/2021   63076     $2,605.78
1092077-02    A.M.           Rockaways ASC Development LLC              Diskography, Cervical Or Thoracic,…     7/2/2021   72285      $962.54
1092077-02    A.M.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…      7/2/2021   A4649       $50.00
1090790-02    S.G.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   1/15/2021   29821     $5,677.77
1090790-02    S.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    1/15/2021   29823     $1,472.45
1090790-02    S.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    1/15/2021   29825     $1,472.45
1090790-02    S.G.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…     1/15/2021   29999     $1,472.45
1090790-02    S.G.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   1/15/2021   64415      $979.78
1090790-02    S.G.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     1/15/2021   76942      $341.96
1090790-02    S.G.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     1/15/2021   A4649       $72.00
1090790-02    S.G.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     2/21/2021   62321      $976.38
1090790-02    S.G.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…     2/21/2021   72275      $572.53
1090790-02    S.G.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     2/21/2021   A4649       $50.00
1090790-02    S.G.           Rockaways ASC Development LLC             Unlisted Procedure, Nervous System…     2/28/2021   64999      $829.30
1090790-02    S.G.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     2/28/2021   A4649       $50.00
1091640-01    A.V.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     9/24/2021   64493      $976.38
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                                                            1647
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                 Date of     Billing   Amount
                                           Provider                                         Service
 Number      Person                                                                                                  Service     Code       Billed
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/24/2021      64493      $447.52
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/24/2021      64494      $447.52
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/24/2021      64495      $447.52
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…     9/24/2021   A4649       $50.00
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 10/22/2021     64493      $447.52
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 10/22/2021     64493      $976.38
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 10/22/2021     64494      $447.52
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 10/22/2021     64495      $447.52
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…    10/22/2021   A4649       $50.00
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                 Dstr Nrolytc Agnt Parverteb Fct Sn… 11/12/2021    64635      $976.38
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                Dstr Nrolytc Agnt Parverteb Fct Ad… 11/12/2021     64636      $447.52
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                 Dstr Nrolytc Agnt Parverteb Fct Sn… 11/19/2021    64635      $976.38
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                Dstr Nrolytc Agnt Parverteb Fct Ad… 11/19/2021     64636      $447.52
1091640-01    A.V.             Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/15/2022      62323      $976.38
1091640-01    A.V.            Rockaways ASC Development LLC                  Auto Bone Marrw Cell Rx Complt Bon… 5/17/2022       0263T     $3,382.28
1091640-01    A.V.            Rockaways ASC Development LLC                   Repair, Secondary, Disrupted Ligam… 5/17/2022      27698     $3,230.60
1091640-01    A.V.            Rockaways ASC Development LLC                    Application Of Short Leg Splint (C… 5/17/2022     29515      $342.46
1091640-01    A.V.            Rockaways ASC Development LLC                   Arthroscopy, Ankle (Tibiotalar And… 5/17/2022      29895     $1,472.45
1091640-01    A.V.            Rockaways ASC Development LLC                   Arthroscopy, Ankle (Tibiotalar And… 5/17/2022      29898     $1,472.45
1091640-01    A.V.            Rockaways ASC Development LLC                    Injection, Anesthetic Agent; Femor… 5/17/2022     64447      $829.30
1091640-01    A.V.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 5/17/2022      76942      $341.96
1091037-03    R.B.            Rockaways ASC Development LLC                     Injection(S); Single Or Multiple T…  3/23/2021   20552      $236.69
1091037-03    R.B.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/23/2021      62323      $976.38
1091037-03    R.B.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 3/23/2021      72275      $572.53
1091037-03    R.B.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 3/23/2021      76942      $341.96
1091037-03    R.B.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…     3/23/2021   A4649       $50.00
1091037-03    R.B.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 4/29/2021     22526     $2,605.78
1091037-03    R.B.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced… 4/29/2021      62287     $5,292.93
1091037-03    R.B.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…     4/29/2021   A4649       $50.00
1091037-03    R.B.                Surgicore of Jersey City LLC                Arthroscopy, Knee, Surgical; Synov…     5/8/2021   29876     $1,472.45
1091037-03    R.B.                Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical; With …    5/8/2021   29881     $3,026.24
1091037-03    R.B.                Surgicore of Jersey City LLC                   Unlisted Procedure, Arthroscopy…     5/8/2021   29999     $1,472.45
1091037-03    R.B.                Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…      5/8/2021   A4649       $50.00
1091037-03    R.B.                Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical, For R…    5/8/2021   G0289     $1,472.45
1091037-03    R.B.                Surgicore of Jersey City LLC                 Prosthetic Implant, Not Otherwise …    5/8/2021   L8699      $195.00
1091037-04    J.S.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 1/26/2021     22526     $2,605.78
1091037-04    J.S.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced… 1/26/2021      62287     $5,292.93
1091037-04    J.S.            Rockaways ASC Development LLC                   Infectious Agent Detection By Nucl… 1/26/2021      87635       $51.33
1091037-04    J.S.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…     1/26/2021   A4649       $50.00
1091037-04    J.S.           All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical; Synov…     6/6/2021   29875     $1,472.45
1091037-04    J.S.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With …    6/6/2021   29880     $3,026.24
1091037-04    J.S.           All City Family Healthcare Center, Inc.             Unlisted Procedure, Arthroscopy…     6/6/2021   29999     $1,472.45
1091037-04    J.S.           All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…      6/6/2021   A4649       $72.00
1090665-02    K.D.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/13/2020     62321      $976.38
1090665-02    K.D.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    12/13/2020   A4649       $50.00
1090665-02    K.D.            Rockaways ASC Development LLC                     Injection(S); Single Or Multiple T…   1/5/2021   20552      $236.69
1090665-02    K.D.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/5/2021       62323      $976.38
1090665-02    K.D.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…     1/5/2021   76942      $341.96
1090665-02    K.D.            Rockaways ASC Development LLC                   Infectious Agent Detection By Nucl…     1/5/2021   87635       $51.33
1090665-02    K.D.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…      1/5/2021   A4649       $50.00
1090665-02    K.D.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…    2/7/2021   22526     $2,605.78
1090665-02    K.D.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl…    2/7/2021   22527     $2,605.78
1090665-02    K.D.            Rockaways ASC Development LLC                   Aspiration Or Decompression Proced… 2/7/2021       62287     $5,292.93
1090665-02    K.D.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…      2/7/2021   A4649       $50.00
1090665-02    K.D.                Surgicore of Jersey City LLC                Tenotomy, Shoulder Area; Single Te… 5/22/2021      23405     $1,839.77
1090665-02    K.D.                Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; S…   5/22/2021   29821     $5,677.77
1090665-02    K.D.                Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; D… 5/22/2021     29823     $1,472.45
1090665-02    K.D.                Surgicore of Jersey City LLC                Arthroscopy, Shoulder, Surgical; W… 5/22/2021      29825     $1,472.45
1090665-02    K.D.                Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; D… 5/22/2021     29826     $1,472.45
1090665-02    K.D.                Surgicore of Jersey City LLC                 Injection, Anesthetic Agent; Brach…   5/22/2021   64415      $979.78
1090665-02    K.D.                Surgicore of Jersey City LLC                Ultrasonic Guidance For Needle Pla… 5/22/2021      76942      $341.96
1090665-02    K.D.                Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     5/22/2021   A4649       $50.00
1090665-02    K.D.                Surgicore of Jersey City LLC                 Prosthetic Implant, Not Otherwise …   5/22/2021   L8699      $560.00
1090665-02    K.D.            Rockaways ASC Development LLC                         Osteotomy Tibia & Fibula…        7/11/2021   27709      $940.42
1090665-02    K.D.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…     7/11/2021   A4649       $50.00
1090665-02    K.D.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 9/26/2021     22526     $2,605.78
1090665-02    K.D.            Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulopl… 9/26/2021     22527     $2,605.78
1090665-02    K.D.            Rockaways ASC Development LLC                   Injection Procedure For Diskograph… 9/26/2021      62291      $748.73
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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1090665-02    K.D.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr…     9/26/2021   63075     $6,402.03
1090665-02    K.D.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr…     9/26/2021   63076     $2,605.78
1090665-02    K.D.           Rockaways ASC Development LLC              Diskography, Cervical Or Thoracic,…    9/26/2021   72285      $962.54
1090665-02    K.D.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     9/26/2021   A4649       $50.00
1090809-01    S.F.         Bronx SC LLC d/b/a Empire State ASC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    2/16/2021   64490      $447.52
1090809-01    S.F.         Bronx SC LLC d/b/a Empire State ASC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    2/16/2021   64490      $976.38
1090809-01    S.F.         Bronx SC LLC d/b/a Empire State ASC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    2/16/2021   64491      $447.52
1090809-01    S.F.         Bronx SC LLC d/b/a Empire State ASC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    2/16/2021   64492      $447.52
1090809-01    S.F.         Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…     2/16/2021   A4649       $50.00
1090809-01    S.F.         Rockland & Bergen Surgery Center LLC         Arthrocentesis, Aspiration And/Or …     4/6/2021   20610      $554.76
1090809-01    S.F.         Rockland & Bergen Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     4/6/2021   64490      $447.52
1090809-01    S.F.         Rockland & Bergen Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     4/6/2021   64490      $976.38
1090809-01    S.F.         Rockland & Bergen Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     4/6/2021   64491      $447.52
1090809-01    S.F.         Rockland & Bergen Surgery Center LLC         Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     4/6/2021   64492      $447.52
1090809-01    S.F.         Rockland & Bergen Surgery Center LLC         Infectious Agent Detection By Nucl…     4/6/2021   87635       $51.33
1090809-01    S.F.         Rockland & Bergen Surgery Center LLC            Surgical Supply; Miscellaneous…      4/6/2021   A4649       $50.00
1090886-03    L.G.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…   4/22/2021   20552      $236.69
1090886-03    L.G.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     4/22/2021   62323      $976.38
1090886-03    L.G.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…     4/22/2021   72275      $572.53
1090886-03    L.G.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     4/22/2021   76942      $341.96
1090886-03    L.G.           Rockaways ASC Development LLC              Infectious Agent Detection By Nucl…    4/22/2021   87635       $51.33
1090886-03    L.G.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     4/22/2021   A4649       $50.00
1090886-03    L.G.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    4/29/2021   22526     $2,605.78
1090886-03    L.G.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…     4/29/2021   62287     $5,292.93
1090886-03    L.G.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     4/29/2021   A4649       $50.00
1090886-03    L.G.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     5/15/2023   64493      $976.38
1090886-03    L.G.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     5/15/2023   64494      $447.52
1090886-03    L.G.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     5/15/2023   64495      $447.52
1091267-01    C.E.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or …     4/8/2021   20610      $473.38
1091267-01    C.E.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…      4/8/2021   29875     $1,472.45
1091267-01    C.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …     4/8/2021   29880     $3,026.24
1091267-01    C.E.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…      4/8/2021   A4649       $72.00
1091267-01    C.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R…     4/8/2021   G0289     $1,472.45
1091267-01    C.E.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      7/9/2021   62323      $976.38
1091267-01    C.E.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…      7/9/2021   72275      $572.53
1091267-01    C.E.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…      7/9/2021   A4649       $50.00
1091267-01    C.E.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    8/27/2021   22526     $2,605.78
1091267-01    C.E.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    8/27/2021   22527     $2,605.78
1091267-01    C.E.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…     8/27/2021   62287     $5,292.93
1091267-01    C.E.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     8/27/2021   A4649       $50.00
1090628-01    S.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      1/8/2021   62321      $976.38
1090628-01    S.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…      1/8/2021   72275      $572.53
1090628-01    S.H.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…      1/8/2021   A4649       $50.00
1090628-01    S.H.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…    6/11/2021   22526     $5,292.93
1090628-01    S.H.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…    6/11/2021   22527     $2,605.78
1090628-01    S.H.               Surgicore of Jersey City LLC          Unlisted Procedure, Nervous System…     6/11/2021   64999      $373.98
1090628-01    S.H.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     6/11/2021   A4649       $50.00
1090628-01    S.H.               Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise …   6/11/2021   L8699     $1,495.00
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…      1/4/2021   29821     $5,677.77
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…      1/4/2021   29823     $1,472.45
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W…      1/4/2021   29825     $1,472.45
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…      1/4/2021   29826     $1,472.45
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…      1/4/2021   64415      $979.78
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…      1/4/2021   76942      $341.96
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…      1/4/2021   A4649       $50.00
1090751-02    H.A.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     2/21/2021   62323      $976.38
1090751-02    H.A.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…     2/21/2021   72275      $572.53
1090751-02    H.A.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     2/21/2021   A4649       $50.00
1090751-02    H.A.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te…     2/28/2021   23405     $1,839.77
1090751-02    H.A.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   2/28/2021   29821     $5,677.77
1090751-02    H.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    2/28/2021   29823     $1,472.45
1090751-02    H.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    2/28/2021   29825     $1,472.45
1090751-02    H.A.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   2/28/2021   64415      $979.78
1090751-02    H.A.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     2/28/2021   76942      $341.96
1090751-02    H.A.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     2/28/2021   A4649       $72.00
1090751-02    H.A.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…     3/14/2021   62287     $5,292.93
1090751-02    H.A.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     3/14/2021   A4649       $50.00
1090751-02    H.A.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     4/18/2021   62321      $976.38
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                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                               Date of     Billing   Amount
                                           Provider                                      Service
 Number      Person                                                                                                Service     Code       Billed
1090751-02    H.A.             Rockaways ASC Development LLC               Epidurography, Radiological Superv…     4/18/2021   72275      $572.53
1090751-02    H.A.             Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…     4/18/2021   A4649       $50.00
1090751-02    H.A.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      5/2/2021   62321      $976.38
1090751-02    H.A.             Rockaways ASC Development LLC               Epidurography, Radiological Superv…      5/2/2021   72275      $572.53
1090751-02    H.A.             Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…      5/2/2021   A4649       $50.00
1090751-04    T.R.           All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; Synov…     1/31/2021   29875     $1,472.45
1090751-04    T.R.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical; With …    1/31/2021   29881     $3,026.24
1090751-04    T.R.           All City Family Healthcare Center, Inc.          Unlisted Procedure, Arthroscopy…     1/31/2021   29999     $1,472.45
1090751-04    T.R.           All City Family Healthcare Center, Inc.        Infectious Agent Detection By Nucl…    1/31/2021   87635       $51.33
1090751-04    T.R.           All City Family Healthcare Center, Inc.           Surgical Supply; Miscellaneous…     1/31/2021   A4649       $72.00
1090751-04    T.R.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      4/7/2021   62323      $976.38
1090751-04    T.R.             Rockaways ASC Development LLC               Epidurography, Radiological Superv…      4/7/2021   72275      $572.53
1090751-04    T.R.             Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…      4/7/2021   A4649       $50.00
1090751-04    T.R.           All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; Synov…      5/6/2021   29875     $1,472.45
1090751-04    T.R.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical; With …     5/6/2021   29880     $3,026.24
1090751-04    T.R.           All City Family Healthcare Center, Inc.        Infectious Agent Detection By Nucl…     5/6/2021   87635       $51.33
1090751-04    T.R.           All City Family Healthcare Center, Inc.           Surgical Supply; Miscellaneous…      5/6/2021   A4649       $72.00
1090751-04    T.R.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical, For R…     5/6/2021   G0289     $1,472.45
1090751-04    T.R.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl…    5/28/2021   22526     $2,605.78
1090751-04    T.R.             Rockaways ASC Development LLC               Aspiration Or Decompression Proced…     5/28/2021   62287     $5,292.93
1090751-04    T.R.             Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…     5/28/2021   A4649       $50.00
1091179-02    M.G.        Surgicore LLC d/b/a Surgicore Surgical Center     Grafting Of Autologous Soft Tissue…    3/19/2021   15769     $1,170.59
1091179-02    M.G.        Surgicore LLC d/b/a Surgicore Surgical Center     Tenolysis, Flexor Or Extensor Tend…    3/19/2021   27680     $1,417.17
1091179-02    M.G.        Surgicore LLC d/b/a Surgicore Surgical Center    Repair, Secondary, Disrupted Ligam…     3/19/2021   27698     $3,311.97
1091179-02    M.G.        Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Ankle (Tibiotalar And…     3/19/2021   29898     $1,472.45
1091179-02    M.G.        Surgicore LLC d/b/a Surgicore Surgical Center      Injection, Anesthetic Agent; Brach…   3/19/2021   64415      $829.30
1091179-02    M.G.        Surgicore LLC d/b/a Surgicore Surgical Center    Ultrasonic Guidance For Needle Pla…     3/19/2021   76942      $341.96
1091179-02    M.G.        Surgicore LLC d/b/a Surgicore Surgical Center        Surgical Supply; Miscellaneous…     3/19/2021   A4649       $50.00
1091179-02    M.G.        Surgicore LLC d/b/a Surgicore Surgical Center     Grafting Of Autologous Soft Tissue…    7/23/2021   15769     $1,276.24
1091179-02    M.G.        Surgicore LLC d/b/a Surgicore Surgical Center     Tenolysis, Flexor Or Extensor Tend…    7/23/2021   27680     $1,417.17
1091179-02    M.G.        Surgicore LLC d/b/a Surgicore Surgical Center    Repair, Secondary, Disrupted Ligam…     7/23/2021   27698     $3,311.97
1091179-02    M.G.        Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Ankle (Tibiotalar And…     7/23/2021   29898     $1,472.45
1091179-02    M.G.        Surgicore LLC d/b/a Surgicore Surgical Center        Surgical Supply; Miscellaneous…     7/23/2021   A4649       $50.00
1091179-02    M.G.                Surgicore of Jersey City LLC               Arthroscopy, Shoulder, Surgical; S…   6/30/2022   29821     $5,677.77
1091179-02    M.G.                Surgicore of Jersey City LLC              Arthroscopy, Shoulder, Surgical; D…    6/30/2022   29823     $1,472.45
1091179-02    M.G.                Surgicore of Jersey City LLC              Arthroscopy, Shoulder, Surgical; W…    6/30/2022   29825     $1,472.45
1091179-02    M.G.                Surgicore of Jersey City LLC              Arthroscopy, Shoulder, Surgical; D…    6/30/2022   29826     $1,472.45
1091179-02    M.G.                Surgicore of Jersey City LLC             Arthroscopy Shoulder Surgical Bice…     6/30/2022   29828     $2,798.20
1091179-02    M.G.                Surgicore of Jersey City LLC               Injection, Anesthetic Agent; Brach…   6/30/2022   64415      $979.78
1091179-02    M.G.                Surgicore of Jersey City LLC             Ultrasonic Guidance For Needle Pla…     6/30/2022   76942      $341.96
1091179-02    M.G.                Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…     6/30/2022   A4649      $182.00
1090180-02    S.W.             Rockaways ASC Development LLC                 Injection(S); Single Or Multiple T…   1/19/2021   20552      $236.69
1090180-02    S.W.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     1/19/2021   62323      $976.38
1090180-02    S.W.             Rockaways ASC Development LLC               Epidurography, Radiological Superv…     1/19/2021   72275      $572.53
1090180-02    S.W.             Rockaways ASC Development LLC               Ultrasonic Guidance For Needle Pla…     1/19/2021   76942      $341.96
1090180-02    S.W.             Rockaways ASC Development LLC                Infectious Agent Detection By Nucl…    1/19/2021   87635       $51.33
1090180-02    S.W.             Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…     1/19/2021   A4649       $50.00
1090180-02    S.W.           All City Family Healthcare Center, Inc.        Perq Intrdscl Electrothrm Annulopl…     2/8/2021   22526     $2,605.78
1090180-02    S.W.           All City Family Healthcare Center, Inc.       Diskectomy, Anterior, With Decompr…      2/8/2021   63075     $5,292.93
1090180-02    S.W.           All City Family Healthcare Center, Inc.           Surgical Supply; Miscellaneous…      2/8/2021   A4649       $72.00
1090180-02    S.W.             Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulopl…    2/23/2021   22526     $2,605.78
1090180-02    S.W.             Rockaways ASC Development LLC               Aspiration Or Decompression Proced…     2/23/2021   62287     $5,292.93
1090180-02    S.W.             Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…     2/23/2021   A4649       $50.00
1091174-02    K.R.                Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical; Synov…      2/3/2021   29876     $1,472.45
1091174-02    K.R.                Surgicore of Jersey City LLC              Arthroscopy, Knee, Surgical; Abras…     2/3/2021   29879     $1,472.45
1091174-02    K.R.                Surgicore of Jersey City LLC              Arthroscopy, Knee, Surgical; With …     2/3/2021   29880     $3,026.24
1091174-02    K.R.                Surgicore of Jersey City LLC                Unlisted Procedure, Arthroscopy…      2/3/2021   29999     $1,472.45
1091174-02    K.R.                Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…      2/3/2021   A4649       $50.00
1091174-02    K.R.                Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise …    2/3/2021   L8699      $195.00
1091174-02    K.R.                Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical; Synov…     2/24/2021   29876     $1,472.45
1091174-02    K.R.                Surgicore of Jersey City LLC              Arthroscopy, Knee, Surgical; With …    2/24/2021   29880     $3,026.24
1091174-02    K.R.                Surgicore of Jersey City LLC                Unlisted Procedure, Arthroscopy…     2/24/2021   29999     $1,472.45
1091174-02    K.R.                Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…     2/24/2021   A4649       $50.00
1091174-02    K.R.                Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise …   2/24/2021   L8699      $195.00
1091174-02    K.R.           All City Family Healthcare Center, Inc.         Arthroscopy, Shoulder, Surgical; S…   4/13/2021   29821     $2,798.20
1091174-02    K.R.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D…    4/13/2021   29823     $1,472.45
1091174-02    K.R.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D…    4/13/2021   29826     $1,472.45
1091174-02    K.R.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; W…    4/13/2021   29827     $5,677.77
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                                                           1650
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1091174-02    K.R.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…     4/13/2021   64415      $979.78
1091174-02    K.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      4/13/2021   76942      $341.96
1091174-02    K.R.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…       4/13/2021   A4649       $72.00
1091174-02    K.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…     5/18/2021   29821     $2,798.20
1091174-02    K.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     5/18/2021   29823     $1,472.45
1091174-02    K.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     5/18/2021   29826     $1,472.45
1091174-02    K.R.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…      5/18/2021   29827     $5,677.77
1091174-02    K.R.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…     5/18/2021   64415      $979.78
1091174-02    K.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      5/18/2021   76942      $341.96
1091174-02    K.R.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…       5/18/2021   A4649       $72.00
1090128-02    K.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     12/30/2020   20553      $236.69
1090128-02    K.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     12/30/2020   62321      $976.38
1090128-02    K.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…     12/30/2020   72275      $572.53
1090128-02    K.R.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      12/30/2020   A4649       $50.00
1090128-02    K.R.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      2/19/2021   62323      $976.38
1090128-02    K.R.          Bronx SC LLC d/b/a Empire State ASC        Epidurography, Radiological Superv…      2/19/2021   72275      $572.53
1090128-02    K.R.          Bronx SC LLC d/b/a Empire State ASC           Surgical Supply; Miscellaneous…       2/19/2021   A4649       $50.00
1090128-03    J.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     12/30/2020   20553      $236.69
1090128-03    J.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     12/30/2020   62321      $976.38
1090128-03    J.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…     12/30/2020   72275      $572.53
1090128-03    J.H.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      12/30/2020   A4649       $50.00
1090128-03    J.H.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      1/15/2021   62323      $976.38
1090128-03    J.H.          Bronx SC LLC d/b/a Empire State ASC        Epidurography, Radiological Superv…      1/15/2021   72275      $572.53
1090128-03    J.H.          Bronx SC LLC d/b/a Empire State ASC           Surgical Supply; Miscellaneous…       1/15/2021   A4649       $50.00
1090128-03    J.H.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te…       2/4/2021   23405     $1,839.77
1090128-03    J.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…      2/4/2021   29821     $5,677.77
1090128-03    J.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…      2/4/2021   29823     $1,472.45
1090128-03    J.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…       2/4/2021   29825     $1,472.45
1090128-03    J.H.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…      2/4/2021   64415      $979.78
1090128-03    J.H.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…       2/4/2021   76942      $341.96
1090128-03    J.H.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…        2/4/2021   A4649       $72.00
1089611-02    I.S.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Knee, Surgical; Synov…     12/22/2020   29876     $1,472.45
1089611-02    I.S.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Knee, Surgical; With …    12/22/2020   29880     $3,026.24
1089611-02    I.S.       Surgicore LLC d/b/a Surgicore Surgical Center Infectious Agent Detection By Nucl…     12/22/2020   87635       $51.33
1089611-02    I.S.       Surgicore LLC d/b/a Surgicore Surgical Center    Surgical Supply; Miscellaneous…      12/22/2020   A4649       $50.00
1089611-02    I.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…       1/5/2021   20553      $236.69
1089611-02    I.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…       1/5/2021   62323      $976.38
1089611-02    I.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…       1/5/2021   72275      $572.53
1089611-02    I.S.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…        1/5/2021   A4649       $50.00
1089611-02    I.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…      1/30/2021   20553      $473.39
1089611-02    I.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…      1/30/2021   22526     $2,605.78
1089611-02    I.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…      1/30/2021   22527     $2,605.79
1089611-02    I.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced…      1/30/2021   62287     $5,292.93
1089611-02    I.S.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…       1/30/2021   A4649       $50.00
1088976-01    S.A.             Fifth Avenue Surgery Center LLC          Arthrocentesis, Aspiration And/Or …    12/22/2020   20610      $473.39
1088976-01    S.A.             Fifth Avenue Surgery Center LLC         Arthroscopy, Knee, Surgical; Synov…     12/22/2020   29875     $1,472.45
1088976-01    S.A.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With …    12/22/2020   29880     $3,026.24
1088976-01    S.A.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Femor…    12/22/2020   64447      $829.30
1088976-01    S.A.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     12/22/2020   76942      $341.96
1088976-01    S.A.             Fifth Avenue Surgery Center LLC            Surgical Supply; Miscellaneous…      12/22/2020   A4649       $50.00
1088976-01    S.A.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical, For R…    12/22/2020   G0289     $1,472.45
1088976-01    S.A.             Fifth Avenue Surgery Center LLC          Arthrocentesis, Aspiration And/Or …    12/29/2020   20610      $473.39
1088976-01    S.A.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…    12/29/2020   29821     $5,677.77
1088976-01    S.A.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    12/29/2020   29823     $1,472.45
1088976-01    S.A.             Fifth Avenue Surgery Center LLC         Arthroscopy, Shoulder, Surgical; W…     12/29/2020   29825     $1,472.45
1088976-01    S.A.             Fifth Avenue Surgery Center LLC            Surgical Supply; Miscellaneous…      12/29/2020   A4649       $50.00
1088976-01    S.A.             Fifth Avenue Surgery Center LLC          Arthrocentesis, Aspiration And/Or …     1/12/2021   20610      $473.39
1088976-01    S.A.             Fifth Avenue Surgery Center LLC         Arthroscopy, Knee, Surgical; Synov…      1/12/2021   29875     $1,472.45
1088976-01    S.A.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With …     1/12/2021   29880     $3,026.24
1088976-01    S.A.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Femor…     1/12/2021   64447      $829.30
1088976-01    S.A.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…      1/12/2021   76942      $341.96
1088976-01    S.A.             Fifth Avenue Surgery Center LLC            Surgical Supply; Miscellaneous…       1/12/2021   A4649       $50.00
1088976-01    S.A.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…     6/23/2021   22526     $2,605.78
1088976-01    S.A.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…     6/23/2021   22527     $2,605.78
1088976-01    S.A.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced…      6/23/2021   62287     $5,292.93
1088976-01    S.A.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…       6/23/2021   A4649       $50.00
1090308-01    F.G.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…    2/11/2021   20552      $236.69
1090308-01    F.G.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      2/11/2021   62321      $976.38
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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1090308-01    F.G.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 2/11/2021      72275      $572.53
1090308-01    F.G.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 2/11/2021      76942      $341.96
1090308-01    F.G.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…     2/11/2021   A4649       $72.00
1090308-01    F.G.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 2/25/2021     22526     $2,605.78
1090308-01    F.G.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 2/25/2021      63075     $5,292.93
1090308-01    F.G.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     2/25/2021   A4649       $50.00
1090308-01    F.G.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…   3/4/2021   20552      $236.69
1090308-01    F.G.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/4/2021       62323      $976.38
1090308-01    F.G.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 3/4/2021       72275      $572.53
1090308-01    F.G.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     3/4/2021   76942      $341.96
1090308-01    F.G.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      3/4/2021   A4649       $50.00
1090308-01    F.G.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    3/9/2021   22526     $2,605.78
1090308-01    F.G.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 3/9/2021       62287     $5,292.93
1090308-01    F.G.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      3/9/2021   A4649       $50.00
1090308-01    F.G.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  3/18/2021   20552      $236.69
1090308-01    F.G.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/18/2021      62321      $976.38
1090308-01    F.G.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 3/18/2021      72275      $572.53
1090308-01    F.G.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 3/18/2021      76942      $341.96
1090308-01    F.G.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     3/18/2021   A4649       $50.00
1088653-01    C.C.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or … 12/15/2020    20610      $473.39
1088653-01    C.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S… 12/15/2020    29821     $5,677.77
1088653-01    C.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 12/15/2020    29823     $1,472.45
1088653-01    C.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 12/15/2020    29825     $1,472.45
1088653-01    C.C.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach… 12/15/2020    64415      $979.78
1088653-01    C.C.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 12/15/2020     76942      $341.96
1088653-01    C.C.            Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…    12/15/2020   A4649       $50.00
1088653-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/8/2021       62321      $976.38
1088653-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 1/8/2021       72275      $572.53
1088653-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      1/8/2021   A4649       $50.00
1088653-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Diskectomy, Anterior, With Decompr… 1/29/2021      63075     $5,292.93
1088653-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 1/29/2021      87635       $51.33
1088653-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…     1/29/2021   A4649       $50.00
1088653-01    C.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/14/2021      62323      $976.38
1088653-01    C.C.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 2/14/2021      72275      $572.53
1088653-01    C.C.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     2/14/2021   A4649       $50.00
1088653-01    C.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    3/7/2021   22526     $2,605.78
1088653-01    C.C.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 3/7/2021       62287     $5,292.93
1088653-01    C.C.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      3/7/2021   A4649       $72.00
1089373-02    E.S.            New Horizon Surgical Center LLC          Arthroscopy, Ankle (Tibiotalar And…     4/2/2021   29898     $3,026.24
1089373-02    E.S.            New Horizon Surgical Center LLC             Unlisted Procedure, Arthroscopy…     4/2/2021   29999     $1,472.45
1089373-02    E.S.            New Horizon Surgical Center LLC            Injection, Anesthetic Agent; Sciat…   4/2/2021   64445      $976.38
1089373-02    E.S.            New Horizon Surgical Center LLC           Injection, Anesthetic Agent; Femor…    4/2/2021   64447      $447.52
1089373-02    E.S.            New Horizon Surgical Center LLC          Ultrasonic Guidance For Needle Pla…     4/2/2021   76942      $341.96
1089373-02    E.S.            New Horizon Surgical Center LLC             Surgical Supply; Miscellaneous…      4/2/2021   A4649       $50.00
1089373-02    E.S.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov… 7/27/2021      29876     $3,026.24
1089373-02    E.S.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…     7/27/2021   A4649       $50.00
1089373-02    E.S.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical, For R… 7/27/2021     G0289     $1,472.45
1089373-02    E.S.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …   7/27/2021   L8699      $195.00
1088627-03    A.J.              Manalapan Surgery Center Inc            Arthroscopy, Shoulder, Surgical; S… 11/17/2020    29821     $5,677.77
1088627-03    A.J.              Manalapan Surgery Center Inc            Arthroscopy, Shoulder, Surgical; D… 11/17/2020    29823     $1,472.45
1088627-03    A.J.              Manalapan Surgery Center Inc            Arthroscopy, Shoulder, Surgical; W… 11/17/2020    29825     $1,472.45
1088627-03    A.J.              Manalapan Surgery Center Inc              Unlisted Procedure, Arthroscopy…   11/17/2020   29999     $1,472.45
1088627-03    A.J.              Manalapan Surgery Center Inc            Injection, Anesthetic Agent; Brach… 11/17/2020    64415      $979.78
1088627-03    A.J.              Manalapan Surgery Center Inc           Ultrasonic Guidance For Needle Pla… 11/17/2020     76942      $341.96
1088627-03    A.J.              Manalapan Surgery Center Inc              Surgical Supply; Miscellaneous…    11/17/2020   A4649       $50.00
1088627-03    A.J.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S…   12/9/2020   29821     $5,677.77
1088627-03    A.J.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D… 12/9/2020     29823     $1,472.45
1088627-03    A.J.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; W… 12/9/2020     29825     $1,472.45
1088627-03    A.J.               Surgicore of Jersey City LLC             Unlisted Procedure, Arthroscopy…    12/9/2020   29999     $1,472.45
1088627-03    A.J.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent; Brach…   12/9/2020   64415      $979.78
1088627-03    A.J.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla… 12/9/2020      76942      $341.96
1088627-03    A.J.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…     12/9/2020   A4649       $50.00
1088627-03    A.J.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …   12/9/2020   L8699      $185.00
1088728-02    C.C.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  12/6/2020   20552      $236.69
1088728-02    C.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/6/2020      62323      $976.38
1088728-02    C.C.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 12/6/2020      72275      $572.53
1088728-02    C.C.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 12/6/2020      76942      $341.96
1088728-02    C.C.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     12/6/2020   A4649       $50.00
                                                                 64 of 124                                                             Exhibit 3
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                                                           1652
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1088728-02    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/18/2020     62323      $976.38
1088728-02    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 12/18/2020     72275      $572.53
1088728-02    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…   12/18/2020   A4649       $50.00
1088728-02    C.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/21/2021      62323      $976.38
1088728-02    C.C.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 2/21/2021      72275      $572.53
1088728-02    C.C.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    2/21/2021   A4649       $72.00
1088728-02    C.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 2/23/2022     22526     $2,605.78
1088728-02    C.C.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 2/23/2022      62287     $5,292.93
1088587-01    M.A.            Fifth Avenue Surgery Center LLC            Injection(S); Single Or Multiple T… 11/15/2020   20552      $236.69
1088587-01    M.A.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/15/2020     62321      $976.38
1088587-01    M.A.            Fifth Avenue Surgery Center LLC          Epidurography, Radiological Superv… 11/15/2020     72275      $572.53
1088587-01    M.A.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 11/15/2020     76942      $341.96
1088587-01    M.A.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…   11/15/2020   A4649       $50.00
1088587-01    M.A.            Fifth Avenue Surgery Center LLC            Injection(S); Single Or Multiple T… 11/22/2020   20552      $236.69
1088587-01    M.A.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/22/2020     62321      $976.38
1088587-01    M.A.            Fifth Avenue Surgery Center LLC          Epidurography, Radiological Superv… 11/22/2020     72275      $572.53
1088587-01    M.A.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 11/22/2020     76942      $341.96
1088587-01    M.A.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…   11/22/2020   A4649       $50.00
1088587-01    M.A.            Fifth Avenue Surgery Center LLC            Injection(S); Single Or Multiple T… 12/13/2020   20552      $236.69
1088587-01    M.A.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/13/2020     62321      $976.38
1088587-01    M.A.            Fifth Avenue Surgery Center LLC          Epidurography, Radiological Superv… 12/13/2020     72275      $572.53
1088587-01    M.A.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 12/13/2020     76942      $341.96
1088587-01    M.A.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…   12/13/2020   A4649       $50.00
1088587-01    M.A.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    2/7/2021   22526     $5,292.93
1088587-01    M.A.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    2/7/2021   22527     $2,605.78
1088587-01    M.A.           Rockaways ASC Development LLC             Unlisted Procedure, Nervous System… 2/7/2021       64999      $373.98
1088587-01    M.A.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     2/7/2021   A4649       $50.00
1088587-01    M.A.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 2/26/2021      29875     $1,472.45
1088587-01    M.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Abras… 2/26/2021     29879     $1,472.45
1088587-01    M.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 2/26/2021     29880     $3,026.24
1088587-01    M.A.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…    2/26/2021   29999     $1,472.45
1088587-01    M.A.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    2/26/2021   A4649       $72.00
1089414-01    C.S.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T… 11/30/2020   20552      $236.69
1089414-01    C.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/30/2020     62323      $976.38
1089414-01    C.S.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 11/30/2020     72275      $572.53
1089414-01    C.S.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 11/30/2020     76942      $341.96
1089414-01    C.S.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…   11/30/2020   A4649       $72.00
1089414-01    C.S.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 12/14/2020    22526     $2,605.78
1089414-01    C.S.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 12/14/2020     62287     $5,292.93
1089414-01    C.S.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   12/14/2020   A4649       $50.00
1089414-01    C.S.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T… 12/28/2020   20552      $236.69
1089414-01    C.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/28/2020     62321      $976.38
1089414-01    C.S.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 12/28/2020     72275      $572.53
1089414-01    C.S.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 12/28/2020     76942      $341.96
1089414-01    C.S.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…   12/28/2020   A4649       $72.00
1088557-04    J.E.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 1/25/2021      63075     $5,292.93
1088557-04    J.E.           Rockaways ASC Development LLC              Infectious Agent Detection By Nucl… 1/25/2021     87635       $51.33
1088557-04    J.E.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    1/25/2021   A4649       $50.00
1088557-04    J.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    2/5/2021   29823     $3,026.24
1088557-04    J.E.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…     2/5/2021   29999     $1,472.45
1088557-04    J.E.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   2/5/2021   64415      $979.78
1088557-04    J.E.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     2/5/2021   76942      $341.96
1088557-04    J.E.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     2/5/2021   A4649       $72.00
1088557-04    J.E.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…   6/3/2021   20552      $236.69
1088557-04    J.E.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/3/2021       62321      $976.38
1088557-04    J.E.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 6/3/2021       72275      $572.53
1088557-04    J.E.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     6/3/2021   76942      $341.96
1088557-04    J.E.           Rockaways ASC Development LLC              Infectious Agent Detection By Nucl…    6/3/2021   87635       $51.33
1088557-04    J.E.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     6/3/2021   A4649       $50.00
1088471-02    E.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/6/2020      62323      $976.38
1088471-02    E.S.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 12/6/2020      72275      $572.53
1088471-02    E.S.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    12/6/2020   A4649       $50.00
1088471-02    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T… 12/19/2020     20553      $473.39
1088471-02    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 12/19/2020     22526     $2,605.78
1088471-02    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 12/19/2020     22527     $2,605.79
1088471-02    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 12/19/2020     62287     $5,292.93
1088471-02    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…   12/19/2020   A4649       $50.00
1088471-02    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    4/24/2021   20553      $236.69
                                                                 65 of 124                                                             Exhibit 3
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                                                           1653
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1088471-02    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      4/24/2021   62321      $976.38
1088471-02    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…      4/24/2021   72275      $572.53
1088471-02    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…       4/24/2021   A4649       $50.00
1088571-01    W.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…      1/10/2021   20553      $236.69
1088571-01    W.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      1/10/2021   62321      $976.38
1088571-01    W.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…      1/10/2021   72275      $572.53
1088571-01    W.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…       1/10/2021   A4649       $50.00
1088571-01    W.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System…      1/24/2021   64999      $829.30
1088571-01    W.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl…      1/24/2021   87635       $51.33
1088571-01    W.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…       1/24/2021   A4649       $50.00
1088571-01    W.Z.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      2/12/2021   62323      $976.38
1088571-01    W.Z.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…      2/12/2021   72275      $572.53
1088571-01    W.Z.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…       2/12/2021   A4649       $50.00
1088621-01    W.G.            Fifth Avenue Surgery Center LLC            Injection(S); Single Or Multiple T…   12/13/2020   20552      $236.69
1088621-01    W.G.            Fifth Avenue Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    12/13/2020   64490      $447.52
1088621-01    W.G.            Fifth Avenue Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    12/13/2020   64490      $976.38
1088621-01    W.G.            Fifth Avenue Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    12/13/2020   64491      $447.52
1088621-01    W.G.            Fifth Avenue Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    12/13/2020   64492      $447.52
1088621-01    W.G.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     12/13/2020   76942      $341.96
1088621-01    W.G.            Fifth Avenue Surgery Center LLC          Infectious Agent Detection By Nucl…     12/13/2020   87635       $51.33
1088621-01    W.G.            Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…      12/13/2020   A4649       $50.00
1088621-01    W.G.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…   12/29/2020   20552      $236.69
1088621-01    W.G.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     12/29/2020   62321      $976.38
1088621-01    W.G.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…     12/29/2020   72275      $572.53
1088621-01    W.G.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     12/29/2020   76942      $341.96
1088621-01    W.G.          All City Family Healthcare Center, Inc.    Infectious Agent Detection By Nucl…     12/29/2020   87635       $51.33
1088621-01    W.G.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      12/29/2020   A4649       $72.00
1088621-01    W.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…       1/9/2021   29821     $5,677.77
1088621-01    W.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…       1/9/2021   29823     $1,472.45
1088621-01    W.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W…       1/9/2021   29825     $1,472.45
1088621-01    W.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…       1/9/2021   29826     $1,472.45
1088621-01    W.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…       1/9/2021   64415      $979.78
1088621-01    W.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…       1/9/2021   76942      $341.96
1088621-01    W.G.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…        1/9/2021   A4649       $50.00
1088621-01    W.G.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…       2/6/2021   29875     $1,472.45
1088621-01    W.G.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …      2/6/2021   29881     $3,026.24
1088621-01    W.G.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…       2/6/2021   29999     $1,472.45
1088621-01    W.G.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor…      2/6/2021   64447      $829.30
1088621-01    W.G.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…       2/6/2021   76942      $341.96
1088621-01    W.G.            Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…        2/6/2021   A4649       $50.00
1088621-01    W.G.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical, For R…      2/6/2021   G0289     $1,472.45
1088621-01    W.G.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…    2/25/2021   20552      $236.69
1088621-01    W.G.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or…     2/25/2021   64483      $976.38
1088621-01    W.G.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or…     2/25/2021   64484      $447.52
1088621-01    W.G.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…      2/25/2021   72275      $572.53
1088621-01    W.G.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      2/25/2021   76942      $341.96
1088621-01    W.G.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…       2/25/2021   A4649       $72.00
1088621-03    C.S.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…   10/21/2020   20553      $236.69
1088621-03    C.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     10/21/2020   62323      $976.38
1088621-03    C.S.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…     10/21/2020   72275      $572.53
1088621-03    C.S.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     10/21/2020   76942      $341.96
1088621-03    C.S.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      10/21/2020   A4649       $50.00
1088621-03    C.S.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…    11/8/2020   20553      $236.69
1088621-03    C.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      11/8/2020   62321      $976.38
1088621-03    C.S.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…      11/8/2020   72275      $572.53
1088621-03    C.S.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…      11/8/2020   76942      $341.96
1088621-03    C.S.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…       11/8/2020   A4649       $50.00
1088621-03    C.S.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    11/22/2020   22526     $2,605.78
1088621-03    C.S.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…     11/22/2020   62287     $5,292.93
1088621-03    C.S.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      11/22/2020   A4649       $50.00
1088621-03    C.S.           Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     12/20/2020   64493      $976.38
1088621-03    C.S.           Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     12/20/2020   64494      $447.52
1088621-03    C.S.           Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     12/20/2020   64495      $447.52
1088621-03    C.S.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      12/20/2020   A4649       $50.00
1088621-03    C.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      1/24/2021   62321      $976.38
1088621-03    C.S.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…      1/24/2021   72275      $572.53
1088621-03    C.S.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…       1/24/2021   A4649       $50.00
1088621-03    C.S.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      2/21/2021   62321      $976.38
                                                                  66 of 124                                                              Exhibit 3
       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 207 of 580 PageID #:
                                                           1654
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1088621-03    C.S.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 2/21/2021      72275      $572.53
1088621-03    C.S.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    2/21/2021   a4649       $50.00
1088621-03    C.S.             New Horizon Surgical Center LLC                 Claviculectomy; Partial…      10/13/2021   23120     $1,839.77
1088621-03    C.S.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; R… 10/13/2021    29807     $5,677.77
1088621-03    C.S.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; S… 10/13/2021    29821     $2,798.20
1088621-03    C.S.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 10/13/2021    29823     $1,472.45
1088621-03    C.S.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; W… 10/13/2021    29825     $1,472.45
1088621-03    C.S.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 10/13/2021    29826     $1,472.45
1088621-03    C.S.             New Horizon Surgical Center LLC           Injection, Anesthetic Agent; Brach… 10/13/2021   64415      $979.78
1088621-03    C.S.             New Horizon Surgical Center LLC         Ultrasonic Guidance For Needle Pla… 10/13/2021     76942      $341.96
1088621-03    C.S.             New Horizon Surgical Center LLC             Surgical Supply; Miscellaneous…   10/13/2021   A4649       $50.00
1088621-03    C.S.             New Horizon Surgical Center LLC          Prosthetic Implant, Not Otherwise … 10/13/2021    L8699     $1,227.00
1089116-01    F.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…    12/6/2020   29821     $5,677.77
1089116-01    F.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 12/6/2020      29823     $1,472.45
1089116-01    F.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 12/6/2020      29825     $1,472.45
1089116-01    F.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 12/6/2020      29826     $1,472.45
1089116-01    F.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…    12/6/2020   64415      $979.78
1089116-01    F.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 12/6/2020      76942      $341.96
1089116-01    F.S.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    12/6/2020   A4649       $50.00
1089116-01    F.S.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or…    1/7/2021   64484      $447.52
1089116-01    F.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/7/2021       64493      $976.38
1089116-01    F.S.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     1/7/2021   A4649       $72.00
1087741-04    B.N.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T… 12/21/2020   20552      $236.69
1087741-04    B.N.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/21/2020     62323      $976.38
1087741-04    B.N.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 12/21/2020     72275      $572.53
1087741-04    B.N.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 12/21/2020     76942      $341.96
1087741-04    B.N.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…   12/21/2020   A4649       $72.00
1087741-04    B.N.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    6/7/2021   22526     $2,605.78
1087741-04    B.N.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 6/7/2021       62287     $5,292.93
1087741-04    B.N.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     6/7/2021   A4649       $50.00
1087849-02    M.K.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/16/2021     62321      $976.38
1087849-02    M.K.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/16/2021     62321     $1,012.32
1087849-02    M.K.       Surgicore LLC d/b/a Surgicore Surgical Center Epidurography, Radiological Superv… 10/16/2021     72275      $572.53
1087849-02    M.K.       Surgicore LLC d/b/a Surgicore Surgical Center Epidurography, Radiological Superv… 10/16/2021     72275      $350.00
1087849-02    M.K.       Surgicore LLC d/b/a Surgicore Surgical Center     Surgical Supply; Miscellaneous…   10/16/2021   A4649       $50.00
1087849-02    M.K.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 1/19/2024     22526     $2,605.78
1087849-02    M.K.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 1/19/2024     22527     $2,605.78
1087849-02    M.K.               Surgicore of Jersey City LLC          Diskectomy, Anterior, With Decompr… 1/19/2024      63075     $6,402.03
1087849-02    M.K.               Surgicore of Jersey City LLC          Diskectomy, Anterior, With Decompr… 1/19/2024      63076     $3,160.34
1087257-01    A.R.             Fifth Avenue Surgery Center LLC           Injection(S); Single Or Multiple T… 10/10/2020   20552      $236.69
1087257-01    A.R.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/10/2020     62323      $976.38
1087257-01    A.R.             Fifth Avenue Surgery Center LLC         Epidurography, Radiological Superv… 10/10/2020     72275      $572.53
1087257-01    A.R.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 10/10/2020     76942      $341.96
1087257-01    A.R.             Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…   10/10/2020   A4649       $50.00
1087257-01    A.R.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 10/16/2020     29875     $1,472.45
1087257-01    A.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Abras… 10/16/2020    29879     $1,472.45
1087257-01    A.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 10/16/2020    29880     $3,026.24
1087257-01    A.R.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…   10/16/2020   29999     $1,472.45
1087257-01    A.R.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…   10/16/2020   A4649       $72.00
1087257-01    A.R.             Fifth Avenue Surgery Center LLC         Aspiration Or Decompression Proced… 10/18/2020     62287     $5,292.93
1087257-01    A.R.             Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…   10/18/2020   A4649       $50.00
1087173-01    J.A.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/1/2020      62323      $976.38
1087173-01    J.A.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 12/1/2020      72275      $572.53
1087173-01    J.A.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    12/1/2020   A4649       $50.00
1087173-01    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    2/23/2021   20553      $236.69
1087173-01    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/23/2021      62321      $976.38
1087173-01    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 2/23/2021      72275      $572.53
1087173-01    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    2/23/2021   A4649       $50.00
1087173-01    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    3/27/2021   20553      $473.39
1087173-01    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 3/27/2021      22526     $5,292.93
1087173-01    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System… 3/27/2021      64999      $373.98
1087173-01    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    3/27/2021   A4649       $50.00
1087189-02    E.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/19/2020     62321      $976.38
1087189-02    E.D.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 12/19/2020     72275      $572.53
1087189-02    E.D.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…   12/19/2020   A4649       $50.00
1087189-02    E.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/9/2021       62321      $976.38
1087189-02    E.D.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 1/9/2021       72275      $572.53
1087189-02    E.D.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     1/9/2021   A4649       $50.00
                                                                 67 of 124                                                             Exhibit 3
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                                                          1655
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1087189-02    E.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/23/2021     62321      $976.38
1087189-02    E.D.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 1/23/2021     72275      $572.53
1087189-02    E.D.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    1/23/2021   A4649       $50.00
1087189-02    E.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/27/2021     62323      $976.38
1087189-02    E.D.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 2/27/2021     72275      $572.53
1087189-02    E.D.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    2/27/2021   A4649       $50.00
1087189-02    E.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/13/2021     62323      $976.38
1087189-02    E.D.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 3/13/2021     72275      $572.53
1087189-02    E.D.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    3/13/2021   A4649       $50.00
1087189-02    E.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/27/2021     62323      $976.38
1087189-02    E.D.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 3/27/2021     72275      $572.53
1087189-02    E.D.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    3/27/2021   A4649       $50.00
1087189-02    E.D.         Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; Synov… 4/26/2021     29875     $1,472.45
1087189-02    E.D.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Knee, Surgical; With … 4/26/2021    29880     $3,026.24
1087189-02    E.D.         Bronx SC LLC d/b/a Empire State ASC            Surgical Supply; Miscellaneous…    4/26/2021   A4649       $50.00
1087189-02    E.D.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Knee, Surgical, For R… 4/26/2021    G0289     $1,472.45
1087665-02    K.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; Synov… 12/13/2020    29875     $1,472.45
1087665-02    K.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With … 12/13/2020    29880     $3,026.24
1087665-02    K.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 12/13/2020    87635       $51.33
1087665-02    K.L.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…   12/13/2020   A4649       $50.00
1087665-02    K.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical, For R… 12/13/2020    G0289     $1,472.45
1087665-02    K.L.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/21/2021     62323      $976.38
1087665-02    K.L.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 2/21/2021     72275      $572.53
1087665-02    K.L.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…    2/21/2021   A4649       $72.00
1087665-04    T.P.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 10/18/2020   20552      $236.69
1087665-04    T.P.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/18/2020    62323      $976.38
1087665-04    T.P.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 10/18/2020    72275      $572.53
1087665-04    T.P.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 10/18/2020    76942      $341.96
1087665-04    T.P.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…   10/18/2020   A4649       $50.00
1087665-04    T.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 11/15/2020    22526     $2,605.78
1087665-04    T.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 11/15/2020    62287     $5,292.93
1087665-04    T.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 11/15/2020    87635       $51.33
1087665-04    T.P.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…   11/15/2020   A4649       $50.00
1087665-04    T.P.           Rockaways ASC Development LLC              Arthrocentesis, Aspiration And/Or … 12/2/2020    20610      $473.38
1087665-04    T.P.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; W… 12/2/2020    29819     $1,472.45
1087665-04    T.P.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; S…  12/2/2020   29821     $5,677.77
1087665-04    T.P.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; D… 12/2/2020    29823     $1,472.45
1087665-04    T.P.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; W… 12/2/2020    29825     $1,472.45
1087665-04    T.P.           Rockaways ASC Development LLC               Unlisted Procedure, Arthroscopy…    12/2/2020   29999     $1,472.45
1087665-04    T.P.           Rockaways ASC Development LLC              Injection, Anesthetic Agent; Brach…  12/2/2020   64415      $979.78
1087665-04    T.P.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 12/2/2020     76942      $341.96
1087665-04    T.P.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    12/2/2020   A4649       $50.00
1087188-02    A.H.          All City Family Healthcare Center, Inc.     Injection(S); Single Or Multiple T… 10/26/2020   20552      $236.69
1087188-02    A.H.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/26/2020    62321      $976.38
1087188-02    A.H.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 10/26/2020    72275      $572.53
1087188-02    A.H.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 10/26/2020    76942      $341.96
1087188-02    A.H.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…   10/26/2020   A4649       $72.00
1087188-02    A.H.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 11/2/2020    22526     $2,605.78
1087188-02    A.H.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 11/2/2020     63075     $5,292.93
1087188-02    A.H.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    11/2/2020   A4649       $50.00
1087188-02    A.H.          All City Family Healthcare Center, Inc.     Injection(S); Single Or Multiple T… 10/16/2023   20552      $236.69
1087188-02    A.H.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/16/2023    62321      $976.38
1087188-02    A.H.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 10/16/2023    76942      $341.96
1087329-01    W.C.           Rockaways ASC Development LLC              Arthrocentesis, Aspiration And/Or … 10/23/2020   20610      $473.38
1087329-01    W.C.           Rockaways ASC Development LLC             Arthroscopy, Knee, Surgical; Synov… 10/23/2020    29875     $3,026.24
1087329-01    W.C.           Rockaways ASC Development LLC               Unlisted Procedure, Arthroscopy…   10/23/2020   29999     $1,472.45
1087329-01    W.C.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…   10/23/2020   A4649       $50.00
1087329-01    W.C.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/19/2020    62323      $976.38
1087329-01    W.C.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…   12/19/2020   A4649       $50.00
1087329-01    W.C.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/30/2021     62323      $976.38
1087329-01    W.C.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 1/30/2021     72275      $572.53
1087329-01    W.C.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    1/30/2021   A4649       $50.00
1087329-01    W.C.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/6/2021      62323      $976.38
1087329-01    W.C.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 3/6/2021      72275      $572.53
1087329-01    W.C.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…     3/6/2021   A4649       $50.00
1087618-02    J.M.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/25/2020     62321      $976.38
1087618-02    J.M.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 9/25/2020     72275      $572.53
1087618-02    J.M.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    9/25/2020   A4649       $50.00
                                                                 68 of 124                                                            Exhibit 3
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                                                           1656
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1087618-02    J.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T… 10/27/2020     20553      $473.39
1087618-02    J.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 10/27/2020     22526     $5,292.93
1087618-02    J.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 10/27/2020     22527     $2,605.78
1087618-02    J.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System… 10/27/2020     64999      $373.98
1087618-02    J.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    10/27/2020   A4649       $50.00
1087618-02    J.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…   1/29/2021   29821     $5,677.77
1087618-02    J.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 1/29/2021     29823     $1,472.45
1087618-02    J.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 1/29/2021     29825     $1,472.45
1087618-02    J.M.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…    1/29/2021   29999     $1,472.45
1087618-02    J.M.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…   1/29/2021   64415      $979.78
1087618-02    J.M.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 1/29/2021      76942      $341.96
1087618-02    J.M.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…     1/29/2021   A4649       $72.00
1086733-01    S.R.       Surgicore LLC d/b/a Surgicore Surgical Center  Grafting Of Autologous Soft Tissue… 10/16/2020    15769     $1,170.59
1086733-01    S.R.       Surgicore LLC d/b/a Surgicore Surgical Center  Tenolysis, Flexor Or Extensor Tend… 10/16/2020    27680     $1,417.17
1086733-01    S.R.       Surgicore LLC d/b/a Surgicore Surgical Center Repair, Secondary, Disrupted Ligam… 10/16/2020     27698     $3,311.97
1086733-01    S.R.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Ankle (Tibiotalar And… 10/16/2020     29898     $1,472.45
1086733-01    S.R.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection, Anesthetic Agent; Sciat… 10/16/2020   64445      $829.30
1086733-01    S.R.       Surgicore LLC d/b/a Surgicore Surgical Center Ultrasonic Guidance For Needle Pla… 10/16/2020     76942      $341.96
1086733-01    S.R.       Surgicore LLC d/b/a Surgicore Surgical Center    Surgical Supply; Miscellaneous…    10/16/2020   A4649       $50.00
1086733-01    S.R.          Bronx SC LLC d/b/a Empire State ASC         Perq Intrdscl Electrothrm Annulopl… 1/18/2021     22526     $2,605.78
1086733-01    S.R.          Bronx SC LLC d/b/a Empire State ASC        Aspiration Or Decompression Proced… 1/18/2021      62287     $5,292.93
1086733-01    S.R.          Bronx SC LLC d/b/a Empire State ASC           Surgical Supply; Miscellaneous…     1/18/2021   A4649       $50.00
1086902-01    C.M.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/18/2020      62321      $976.38
1086902-01    C.M.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 9/18/2020      72275      $572.53
1086902-01    C.M.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…     9/18/2020   A4649       $50.00
1086902-01    C.M.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 10/2/2020     22526     $2,605.78
1086902-01    C.M.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr… 10/2/2020      63075     $5,292.93
1086902-01    C.M.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…     10/2/2020   A4649       $50.00
1086902-01    C.M.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; S… 10/16/2020    29821     $5,677.77
1086902-01    C.M.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; D… 10/16/2020    29823     $1,472.45
1086902-01    C.M.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; W… 10/16/2020    29825     $1,472.45
1086902-01    C.M.            Rockaways ASC Development LLC               Unlisted Procedure, Arthroscopy…   10/16/2020   29999     $1,472.45
1086902-01    C.M.            Rockaways ASC Development LLC             Injection, Anesthetic Agent; Brach… 10/16/2020    64415      $979.78
1086902-01    C.M.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 10/16/2020     76942      $341.96
1086902-01    C.M.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…    10/16/2020   A4649       $50.00
1086902-01    C.M.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/13/2020     62323      $976.38
1086902-01    C.M.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 11/13/2020     72275      $572.53
1086902-01    C.M.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…    11/13/2020   A4649       $50.00
1086902-01    C.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T… 11/21/2020     20553      $473.39
1086902-01    C.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 11/21/2020     22526     $2,605.78
1086902-01    C.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 11/21/2020     22527     $2,605.78
1086902-01    C.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 11/21/2020     62287     $5,292.93
1086902-01    C.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    11/21/2020   A4649       $50.00
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    9/22/2020   20553      $236.69
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/22/2020      62323      $976.38
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 9/22/2020      72275      $572.53
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…     9/22/2020   A4649       $50.00
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T… 10/20/2020     20553      $473.39
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 10/20/2020     22526     $2,605.78
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 10/20/2020     22527     $2,605.78
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 10/20/2020     62287     $5,292.93
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    10/20/2020   A4649       $50.00
1086779-01    R.C.            Rockaways ASC Development LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 12/6/2020      64493      $447.52
1086779-01    R.C.            Rockaways ASC Development LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 12/6/2020      64493      $976.38
1086779-01    R.C.            Rockaways ASC Development LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 12/6/2020      64494      $447.52
1086779-01    R.C.            Rockaways ASC Development LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 12/6/2020      64495      $447.52
1086779-01    R.C.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…     12/6/2020   A4649       $50.00
1086779-01    R.C.          Bronx SC LLC d/b/a Empire State ASC        Arthroscopy, Knee, Surgical; Synov…     2/4/2021   29875     $1,472.45
1086779-01    R.C.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; With …    2/4/2021   29880     $3,026.24
1086779-01    R.C.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; With …    2/4/2021   29884     $1,472.45
1086779-01    R.C.          Bronx SC LLC d/b/a Empire State ASC         Injection, Anesthetic Agent; Femor…    2/4/2021   64447      $829.30
1086779-01    R.C.          Bronx SC LLC d/b/a Empire State ASC        Ultrasonic Guidance For Needle Pla…     2/4/2021   76942      $341.96
1086779-01    R.C.          Bronx SC LLC d/b/a Empire State ASC           Surgical Supply; Miscellaneous…      2/4/2021   A4649       $50.00
1086779-01    R.C.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical, For R…    2/4/2021   G0289     $1,472.45
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    2/23/2021   20553      $236.69
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/23/2021      64493      $447.52
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/23/2021      64493      $976.38
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/23/2021      64494      $447.52
                                                                 69 of 124                                                             Exhibit 3
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                                                           1657
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/23/2021      64495      $447.52
1086779-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    2/23/2021   A4649       $50.00
1086776-01    Y.M.           Rockaways ASC Development LLC              Injection, Anesthetic Agent And/Or… 3/11/2021     64483      $976.38
1086776-01    Y.M.           Rockaways ASC Development LLC              Injection, Anesthetic Agent And/Or… 3/11/2021     64484      $447.52
1086776-01    Y.M.           Rockaways ASC Development LLC              Infectious Agent Detection By Nucl… 3/11/2021     87635       $51.33
1086776-01    Y.M.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    3/11/2021   A4649       $50.00
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    5/25/2021   20553      $236.69
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 5/25/2021      62321      $976.38
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 5/25/2021      72275      $572.53
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 5/25/2021      87635       $51.33
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    5/25/2021   A4649       $50.00
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     6/5/2021   20553      $473.39
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     6/5/2021   22526     $5,292.93
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System… 6/5/2021       64999      $373.98
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     6/5/2021   A4649       $50.00
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    6/15/2021   20553      $236.69
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/15/2021      62323      $976.38
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 6/15/2021      72275      $572.53
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    6/15/2021   A4649       $50.00
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     7/6/2021   22526     $2,605.78
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     7/6/2021   22527     $2,605.79
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 7/6/2021       62287     $5,292.93
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     7/6/2021   A4649       $50.00
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    7/27/2021   20553      $236.69
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/27/2021      62323      $976.38
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 7/27/2021      72275      $572.53
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    7/27/2021   A4649       $50.00
1087568-02    P.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T… 10/30/2020     20553      $236.69
1087568-02    P.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/30/2020     62321      $976.38
1087568-02    P.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 10/30/2020     72275      $572.53
1087568-02    P.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 10/30/2020     87635       $51.33
1087568-02    P.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…   10/30/2020   A4649       $50.00
1087568-02    P.M.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 11/30/2020     63075     $5,292.93
1087568-02    P.M.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   11/30/2020   A4649       $50.00
1087394-01    M.L.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/28/2020     62323      $976.38
1087394-01    M.L.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 12/28/2020     72275      $572.53
1087394-01    M.L.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   12/28/2020   A4649       $50.00
1087394-01    M.L.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 1/23/2021     29819     $1,472.45
1087394-01    M.L.            Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; S…  1/23/2021   29821     $5,677.77
1087394-01    M.L.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 1/23/2021     29823     $1,472.45
1087394-01    M.L.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 1/23/2021     29825     $1,472.45
1087394-01    M.L.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 1/23/2021     29826     $1,472.45
1087394-01    M.L.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…  1/23/2021   64415      $979.78
1087394-01    M.L.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 1/23/2021      76942      $341.96
1087394-01    M.L.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…    1/23/2021   A4649       $50.00
1087070-04    C.O.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…  9/26/2020   29821     $5,677.77
1087070-04    C.O.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 9/26/2020     29823     $1,472.45
1087070-04    C.O.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 9/26/2020     29825     $1,472.45
1087070-04    C.O.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 9/26/2020     29826     $1,472.45
1087070-04    C.O.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  9/26/2020   64415      $979.78
1087070-04    C.O.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 9/26/2020      76942      $341.96
1087070-04    C.O.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    9/26/2020   A4649       $72.00
1087070-04    C.O.            Fifth Avenue Surgery Center LLC            Injection(S); Single Or Multiple T… 11/15/2020   20552      $236.69
1087070-04    C.O.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/15/2020     62323      $976.38
1087070-04    C.O.            Fifth Avenue Surgery Center LLC          Epidurography, Radiological Superv… 11/15/2020     72275      $572.53
1087070-04    C.O.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 11/15/2020     76942      $341.96
1087070-04    C.O.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…   11/15/2020   A4649       $50.00
1087070-04    C.O.            Fifth Avenue Surgery Center LLC          Aspiration Or Decompression Proced… 11/22/2020     62287     $5,292.93
1087070-04    C.O.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…   11/22/2020   A4649       $50.00
1086359-02    S.H.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…  8/23/2020   29821     $5,677.77
1086359-02    S.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 8/23/2020     29823     $1,472.45
1086359-02    S.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 8/23/2020     29825     $1,472.45
1086359-02    S.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 8/23/2020     29826     $1,472.45
1086359-02    S.H.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  8/23/2020   64415      $979.78
1086359-02    S.H.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 8/23/2020      76942      $341.96
1086359-02    S.H.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    8/23/2020   A4649       $72.00
1086359-02    S.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; Synov… 11/22/2020     29875     $1,472.45
1086359-02    S.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With … 11/22/2020     29880     $3,026.24
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                                                          1658
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                            Service     Code       Billed
1086359-02    S.H.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…     11/22/2020   A4649       $50.00
1086359-02    S.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical, For R…    11/22/2020   G0289     $1,472.45
1087044-02    F.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…    9/13/2020   29821      $190.42
1087044-02    F.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…    9/13/2020   29821     $5,677.77
1087044-02    F.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    9/13/2020   29823     $1,472.45
1087044-02    F.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    9/13/2020   29823      $200.95
1087044-02    F.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    9/13/2020   29824      $118.64
1087044-02    F.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    9/13/2020   29824     $1,472.45
1087044-02    F.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    9/13/2020   29826       $48.27
1087044-02    F.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    9/13/2020   29826     $1,472.45
1087044-02    F.B.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…    9/13/2020   64415      $979.78
1087044-02    F.B.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     9/13/2020   76942      $341.96
1087044-02    F.B.             Fifth Avenue Surgery Center LLC            Surgical Supply; Miscellaneous…      9/13/2020   A4649       $50.00
1087044-02    F.B.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…    11/4/2020   20553      $236.69
1087044-02    F.B.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     11/4/2020   62321      $976.38
1087044-02    F.B.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…     11/4/2020   72275      $572.53
1087044-02    F.B.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     11/4/2020   76942      $341.96
1087044-02    F.B.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…      11/4/2020   A4649       $50.00
1086111-01    D.G.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    9/30/2020   22526     $2,605.78
1086111-01    D.G.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    9/30/2020   22527     $2,605.79
1086111-01    D.G.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…     9/30/2020   62287     $5,292.93
1086111-01    D.G.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      9/30/2020   A4649       $72.00
1086111-01    D.G.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…   10/12/2020   20552      $236.69
1086111-01    D.G.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    10/12/2020   62323      $976.38
1086111-01    D.G.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…    10/12/2020   72275      $572.53
1086111-01    D.G.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…    10/12/2020   76942      $341.96
1086111-01    D.G.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…     10/12/2020   A4649       $50.00
1085738-03    R.B.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…   11/23/2020   20552      $236.69
1085738-03    R.B.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    11/23/2020   62321      $976.38
1085738-03    R.B.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…    11/23/2020   72275      $572.53
1085738-03    R.B.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…    11/23/2020   76942      $341.96
1085738-03    R.B.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…     11/23/2020   A4649       $50.00
1085738-03    R.B.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    12/7/2020   64490      $447.52
1085738-03    R.B.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    12/7/2020   64490      $976.38
1085738-03    R.B.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    12/7/2020   64491      $447.52
1085738-03    R.B.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    12/7/2020   64492      $447.52
1085738-03    R.B.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…      12/7/2020   A4649       $50.00
1085738-03    R.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    1/21/2021   29821      $190.42
1085738-03    R.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    1/21/2021   29821     $5,677.77
1085738-03    R.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    1/21/2021   29823      $200.95
1085738-03    R.B.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     1/21/2021   29825      $202.51
1085738-03    R.B.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     1/21/2021   29825     $1,472.45
1085738-03    R.B.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    1/21/2021   64415      $979.78
1085738-03    R.B.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     1/21/2021   76942      $341.96
1085738-03    R.B.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      1/21/2021   A4649       $72.00
1085582-02    R.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    10/2/2020   29823     $3,026.24
1085582-02    R.A.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…      10/2/2020   29999     $1,472.45
1085582-02    R.A.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    10/2/2020   64415      $979.78
1085582-02    R.A.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     10/2/2020   76942      $341.96
1085582-02    R.A.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      10/2/2020   A4649       $72.00
1085582-02    R.A.            Rockaways ASC Development LLC            Arthroscopy, Knee, Surgical; Synov…     10/8/2020   29875     $1,472.45
1085582-02    R.A.            Rockaways ASC Development LLC             Arthroscopy, Knee, Surgical; With …    10/8/2020   29881     $3,026.24
1085582-02    R.A.            Rockaways ASC Development LLC              Unlisted Procedure, Arthroscopy…      10/8/2020   29999     $1,472.45
1085582-02    R.A.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…      10/8/2020   A4649       $50.00
1085582-02    R.A.             New Horizon Surgical Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    10/21/2020   62322      $976.38
1085582-02    R.A.             New Horizon Surgical Center LLC         Epidurography, Radiological Superv…    10/21/2020   72275      $572.53
1085582-02    R.A.             New Horizon Surgical Center LLC            Surgical Supply; Miscellaneous…     10/21/2020   A4649       $50.00
1085582-02    R.A.       Surgicore LLC d/b/a Surgicore Surgical Center Aspiration Or Decompression Proced…    12/16/2020   62287     $5,292.93
1085582-02    R.A.       Surgicore LLC d/b/a Surgicore Surgical Center    Surgical Supply; Miscellaneous…     12/16/2020   A4649       $50.00
1085582-02    R.A.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     3/6/2021   64490      $447.52
1085582-02    R.A.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     3/6/2021   64490      $976.38
1085582-02    R.A.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     3/6/2021   64491      $447.52
1085582-02    R.A.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     3/6/2021   64492      $447.52
1085582-02    R.A.             New Horizon Surgical Center LLC            Surgical Supply; Miscellaneous…       3/6/2021   A4649       $50.00
1085901-02    A.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; R…    10/7/2020   29807     $5,677.77
1085901-02    A.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    10/7/2020   29821     $2,798.20
1085901-02    A.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    10/7/2020   29823     $1,472.45
1085901-02    A.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    10/7/2020   29826     $1,472.45
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                                                           1659
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1085901-02    A.M.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   10/7/2020   64415      $979.78
1085901-02    A.M.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla… 10/7/2020      76942      $341.96
1085901-02    A.M.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     10/7/2020   A4649       $72.00
1085901-02    A.M.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr… 11/23/2020      63075     $5,292.93
1085901-02    A.M.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    11/23/2020   A4649       $50.00
1085859-03    G.M.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 12/11/2020    20552      $236.69
1085859-03    G.M.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/11/2020     62321      $976.38
1085859-03    G.M.            Rockaways ASC Development LLC             Epidurography, Radiological Superv… 12/11/2020     72275      $572.53
1085859-03    G.M.            Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 12/11/2020     76942      $341.96
1085859-03    G.M.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    12/11/2020   A4649       $50.00
1085859-03    G.M.            Rockaways ASC Development LLC             Tenotomy, Shoulder Area; Single Te… 5/28/2021      23405     $1,839.77
1085859-03    G.M.            Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; S…   5/28/2021   29821     $5,677.77
1085859-03    G.M.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; D… 5/28/2021      29823     $1,472.45
1085859-03    G.M.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; W… 5/28/2021      29825     $1,472.45
1085859-03    G.M.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; D… 5/28/2021      29826     $1,472.45
1085859-03    G.M.            Rockaways ASC Development LLC              Injection, Anesthetic Agent; Brach…   5/28/2021   64415      $979.78
1085859-03    G.M.            Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 5/28/2021      76942      $341.96
1085859-03    G.M.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     5/28/2021   A4649       $50.00
1085859-03    G.M.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…    8/1/2021   29821     $5,677.77
1085859-03    G.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     8/1/2021   29823     $1,472.45
1085859-03    G.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…     8/1/2021   29825     $1,472.45
1085859-03    G.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     8/1/2021   29826     $1,472.45
1085859-03    G.M.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…    8/1/2021   64415      $979.78
1085859-03    G.M.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla…     8/1/2021   76942      $341.96
1085859-03    G.M.          All City Family Healthcare Center, Inc.     Infectious Agent Detection By Nucl…     8/1/2021   87635       $51.33
1085859-03    G.M.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…      8/1/2021   A4649       $72.00
1085834-01    N.D.            Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; S…   10/8/2020   29821     $5,677.77
1085834-01    N.D.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; D… 10/8/2020      29823     $1,472.45
1085834-01    N.D.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; W… 10/8/2020      29825     $1,472.45
1085834-01    N.D.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; D… 10/8/2020      29826     $1,472.45
1085834-01    N.D.            Rockaways ASC Development LLC              Injection, Anesthetic Agent; Brach…   10/8/2020   64415      $979.78
1085834-01    N.D.            Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 10/8/2020      76942      $341.96
1085834-01    N.D.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     10/8/2020   A4649       $50.00
1085834-01    N.D.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S… 10/22/2020    29821     $5,677.77
1085834-01    N.D.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 10/22/2020     29823     $1,472.45
1085834-01    N.D.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 10/22/2020     29825     $1,472.45
1085834-01    N.D.          All City Family Healthcare Center, Inc.        Unlisted Procedure, Arthroscopy…   10/22/2020   29999     $1,472.45
1085834-01    N.D.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach… 10/22/2020    64415      $979.78
1085834-01    N.D.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla… 10/22/2020     76942      $341.96
1085834-01    N.D.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    10/22/2020   A4649       $72.00
1085834-01    N.D.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Synov… 11/20/2020     29875     $1,472.45
1085834-01    N.D.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Abras… 11/20/2020     29879     $1,472.45
1085834-01    N.D.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 11/20/2020     29880     $3,026.24
1085834-01    N.D.          All City Family Healthcare Center, Inc.        Unlisted Procedure, Arthroscopy…   11/20/2020   29999     $1,472.45
1085834-01    N.D.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    11/20/2020   A4649       $72.00
1085834-01    N.D.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R… 11/20/2020     G0289     $1,472.45
1085351-02    N.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Transpedicular Approach With Decom… 12/21/2020      63056     $5,292.93
1085351-02    N.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 12/21/2020      87635       $51.33
1085351-02    N.K.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    12/21/2020   A4649       $50.00
1085351-02    N.K.            Rockaways ASC Development LLC             Arthrocentesis, Aspiration And/Or …     1/4/2021   20610      $473.38
1085351-02    N.K.            Rockaways ASC Development LLC             Arthroscopy, Knee, Surgical; Synov…     1/4/2021   29875     $1,472.45
1085351-02    N.K.            Rockaways ASC Development LLC             Arthroscopy, Knee, Surgical; With …     1/4/2021   29880     $3,026.24
1085351-02    N.K.            Rockaways ASC Development LLC                Unlisted Procedure, Arthroscopy…     1/4/2021   29999     $1,472.45
1085351-02    N.K.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      1/4/2021   A4649       $50.00
1085574-02    S.A.       Surgicore LLC d/b/a Surgicore Surgical Center  Grafting Of Autologous Soft Tissue… 10/23/2020     15769     $1,170.59
1085574-02    S.A.       Surgicore LLC d/b/a Surgicore Surgical Center  Repair, Secondary, Disrupted Ligam… 10/23/2020     27698     $3,311.97
1085574-02    S.A.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Ankle (Tibiotalar And… 10/23/2020     29898     $1,472.45
1085574-02    S.A.       Surgicore LLC d/b/a Surgicore Surgical Center    Injection, Anesthetic Agent; Sciat… 10/23/2020   64445      $829.30
1085574-02    S.A.       Surgicore LLC d/b/a Surgicore Surgical Center  Ultrasonic Guidance For Needle Pla… 10/23/2020     76942      $341.96
1085574-02    S.A.       Surgicore LLC d/b/a Surgicore Surgical Center     Surgical Supply; Miscellaneous…    10/23/2020   A4649       $50.00
1085574-02    S.A.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S… 12/14/2020    29821     $5,677.77
1085574-02    S.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 12/14/2020     29823     $1,472.45
1085574-02    S.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 12/14/2020     29825     $1,472.45
1085574-02    S.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 12/14/2020     29826     $1,472.45
1085574-02    S.A.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach… 12/14/2020    64415      $979.78
1085574-02    S.A.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla… 12/14/2020     76942      $341.96
1085574-02    S.A.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    12/14/2020   A4649       $72.00
1085172-01    E.P.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…    8/6/2020   20552      $236.69
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                                                          1660
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1085172-01    E.P.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/6/2020      62323      $976.38
1085172-01    E.P.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 8/6/2020      72275      $572.53
1085172-01    E.P.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…    8/6/2020   76942      $341.96
1085172-01    E.P.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     8/6/2020   A4649       $50.00
1085172-01    E.P.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 8/25/2020    22526     $2,605.78
1085172-01    E.P.           Rockaways ASC Development LLC             Special Anterior Segment Photograp… 8/25/2020     92287     $5,292.93
1085172-01    E.P.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    8/25/2020   A4649       $50.00
1085172-01    E.P.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…  8/27/2020   20553      $236.69
1085172-01    E.P.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/27/2020     62321      $976.38
1085172-01    E.P.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 8/27/2020     72275      $572.53
1085172-01    E.P.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 8/27/2020     76942      $341.96
1085172-01    E.P.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    8/27/2020   A4649       $50.00
1085172-01    E.P.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 8/31/2020    22526     $2,605.78
1085172-01    E.P.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 8/31/2020     63075     $5,292.93
1085172-01    E.P.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    8/31/2020   A4649       $50.00
1085172-01    E.P.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…  10/1/2020   20552      $236.69
1085172-01    E.P.           Rockaways ASC Development LLC              Injection Procedure For Sacroiliac…  10/1/2020   27096      $940.42
1085172-01    E.P.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 10/1/2020     76942      $341.96
1085172-01    E.P.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    10/1/2020   A4649       $50.00
1085172-01    E.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; Synov… 10/5/2020     29875     $1,472.45
1085172-01    E.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With … 10/5/2020     29881     $3,026.24
1085172-01    E.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Arthroscopy…      10/5/2020   29999     $1,472.45
1085172-01    E.P.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    10/5/2020   A4649       $50.00
1085172-01    E.P.          All City Family Healthcare Center, Inc.     Injection(S); Single Or Multiple T… 12/24/2020   20552      $236.69
1085172-01    E.P.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/24/2020    62323      $976.38
1085172-01    E.P.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 12/24/2020    72275      $572.53
1085172-01    E.P.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 12/24/2020    76942      $341.96
1085172-01    E.P.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…   12/24/2020   A4649       $72.00
1085172-02    E.A.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…  8/31/2020   20552      $236.69
1085172-02    E.A.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/31/2020     62321      $976.38
1085172-02    E.A.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 8/31/2020     72275      $572.53
1085172-02    E.A.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 8/31/2020     76942      $341.96
1085172-02    E.A.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    8/31/2020   A4649       $50.00
1085172-02    E.A.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…   9/3/2020   20552      $236.69
1085172-02    E.A.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/3/2020      62323      $976.38
1085172-02    E.A.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 9/3/2020      72275      $572.53
1085172-02    E.A.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…    9/3/2020   76942      $341.96
1085172-02    E.A.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     9/3/2020   A4649       $50.00
1085172-02    E.A.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…   9/8/2020   22526     $2,605.78
1085172-02    E.A.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 9/8/2020      63075     $5,292.93
1085172-02    E.A.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     9/8/2020   A4649       $50.00
1085172-02    E.A.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 9/10/2020    22526     $2,605.78
1085172-02    E.A.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 9/10/2020     63075     $5,292.93
1085172-02    E.A.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    9/10/2020   A4649       $50.00
1085172-02    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…   10/5/2020   29821     $2,798.20
1085172-02    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 10/5/2020     29823     $1,472.45
1085172-02    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 10/5/2020     29827     $5,677.77
1085172-02    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…   10/5/2020   64415      $979.78
1085172-02    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 10/5/2020     76942      $341.96
1085172-02    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    10/5/2020   A4649       $50.00
1086010-01    M.F.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/17/2021     62321      $976.38
1086010-01    M.F.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 1/17/2021     72275      $572.53
1086010-01    M.F.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    1/17/2021   A4649       $50.00
1086010-01    M.F.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 8/13/2021    22526     $2,605.78
1086010-01    M.F.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 8/13/2021    22527     $2,605.78
1086010-01    M.F.               Surgicore of Jersey City LLC          Aspiration Or Decompression Proced… 8/13/2021     62287     $5,292.93
1086010-01    M.F.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    8/13/2021   A4649       $50.00
1086010-01    M.F.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …  8/13/2021   L8699     $1,495.00
1084659-01    L.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T… 10/16/2020    20553      $236.69
1084659-01    L.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/16/2020    62321      $976.38
1084659-01    L.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 10/16/2020    72275      $572.53
1084659-01    L.H.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…   10/16/2020   A4649       $50.00
1084659-01    L.H.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 10/25/2020   20552      $236.69
1084659-01    L.H.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/25/2020    62321      $976.38
1084659-01    L.H.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 10/25/2020    72275      $572.53
1084659-01    L.H.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…   10/25/2020   A4649       $50.00
1084810-02    C.G.            Fifth Avenue Surgery Center LLC           Injection(S); Single Or Multiple T…  9/27/2020   20553      $236.69
1084810-02    C.G.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/27/2020     62323      $976.38
                                                                 73 of 124                                                            Exhibit 3
       Case 1:24-cv-08606-JRC                 Document 1-4 Filed 12/17/24                      Page 214 of 580 PageID #:
                                                          1661
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1084810-02    C.G.            Fifth Avenue Surgery Center LLC          Epidurography, Radiological Superv… 9/27/2020     72275      $572.53
1084810-02    C.G.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 9/27/2020     76942      $341.96
1084810-02    C.G.            Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…    9/27/2020   A4649       $50.00
1084810-02    C.G.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 10/25/2020   22526     $2,605.78
1084810-02    C.G.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 10/25/2020    62287     $5,292.93
1084810-02    C.G.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…   10/25/2020   A4649       $50.00
1084674-01    M.G.            New Horizon Surgical Center LLC           Arthroscopy, Knee, Surgical; With … 10/6/2020    29880     $1,472.45
1084674-01    M.G.            New Horizon Surgical Center LLC           Arthroscopy, Knee, Surgical; With … 10/6/2020    29880     $3,026.24
1084674-01    M.G.            New Horizon Surgical Center LLC             Surgical Supply; Miscellaneous…    10/6/2020   A4649       $50.00
1084674-01    M.G.            New Horizon Surgical Center LLC           Arthroscopy, Knee, Surgical, For R… 10/6/2020    G0289     $1,472.45
1084674-01    M.G.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 12/21/2020    63075     $5,292.93
1084674-01    M.G.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…   12/21/2020   A4649       $50.00
1084565-03    A.C.           Rockaways ASC Development LLC             Manipulation Of Spine Requiring An… 7/19/2020     22505      $748.08
1084565-03    A.C.           Rockaways ASC Development LLC             Manipulation Of Spine Requiring An… 7/19/2020     22505     $1,577.52
1084565-03    A.C.           Rockaways ASC Development LLC             Manipulation Under Anesthesia, Sho… 7/19/2020     23700      $748.08
1084565-03    A.C.           Rockaways ASC Development LLC              Manipulation, Hip Joint, Requiring… 7/19/2020    27275      $748.08
1084565-03    A.C.           Rockaways ASC Development LLC             Manipulation Of Knee Joint Under G… 7/19/2020     27570      $748.08
1084565-03    A.C.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    7/19/2020   A4649       $50.00
1084565-03    A.C.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or … 7/24/2020    20610      $473.38
1084565-03    A.C.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho… 7/24/2020     23700      $748.08
1084565-03    A.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…  7/24/2020   29821     $5,677.77
1084565-03    A.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 7/24/2020    29823     $1,472.45
1084565-03    A.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 7/24/2020    29825     $1,472.45
1084565-03    A.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 7/24/2020    29826     $1,472.45
1084565-03    A.C.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…  7/24/2020   64415      $979.78
1084565-03    A.C.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 7/24/2020     76942      $341.96
1084565-03    A.C.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…    7/24/2020   A4649       $72.00
1084565-03    A.C.           Rockaways ASC Development LLC             Manipulation Of Spine Requiring An… 8/9/2020      22505      $748.08
1084565-03    A.C.           Rockaways ASC Development LLC             Manipulation Of Spine Requiring An… 8/9/2020      22505     $1,577.52
1084565-03    A.C.           Rockaways ASC Development LLC             Manipulation Under Anesthesia, Sho… 8/9/2020      23700      $748.08
1084565-03    A.C.           Rockaways ASC Development LLC              Manipulation, Hip Joint, Requiring…   8/9/2020   27275      $748.08
1084565-03    A.C.           Rockaways ASC Development LLC             Manipulation Of Knee Joint Under G… 8/9/2020      27570      $748.08
1084565-03    A.C.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     8/9/2020   A4649       $50.00
1084565-03    A.C.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or … 8/28/2020    20610      $473.38
1084565-03    A.C.          All City Family Healthcare Center, Inc.    Manipulation Of Knee Joint Under G… 8/28/2020     27570      $748.08
1084565-03    A.C.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 8/28/2020     29875     $1,472.45
1084565-03    A.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 8/28/2020    29881     $1,472.45
1084565-03    A.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 8/28/2020    29884     $1,472.45
1084565-03    A.C.          All City Family Healthcare Center, Inc.     Arthroscopically Aided Anterior Cr… 8/28/2020    29888     $5,677.77
1084565-03    A.C.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…    8/28/2020   29999     $1,472.45
1084565-03    A.C.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…    8/28/2020   A4649       $72.00
1084426-01    C.P.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 9/24/2020     29875     $1,472.45
1084426-01    C.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Abras… 9/24/2020    29879     $1,472.45
1084426-01    C.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 9/24/2020    29880     $3,026.24
1084426-01    C.P.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…    9/24/2020   29999     $1,472.45
1084426-01    C.P.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…    9/24/2020   A4649       $72.00
1084426-01    C.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R… 9/24/2020    G0289     $1,472.45
1084426-01    C.P.           Rockaways ASC Development LLC             Arthroscopy, Knee, Surgical; Synov… 10/8/2020     29875     $1,472.45
1084426-01    C.P.           Rockaways ASC Development LLC              Arthroscopy, Knee, Surgical; Abras… 10/8/2020    29879     $1,472.45
1084426-01    C.P.           Rockaways ASC Development LLC              Arthroscopy, Knee, Surgical; With … 10/8/2020    29880     $3,026.24
1084426-01    C.P.           Rockaways ASC Development LLC               Unlisted Procedure, Arthroscopy…    10/8/2020   29999     $1,472.45
1084426-01    C.P.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    10/8/2020   A4649       $50.00
1084426-01    C.P.           Rockaways ASC Development LLC              Arthroscopy, Knee, Surgical, For R… 10/8/2020    G0289     $1,472.45
1084559-01    I.V.         Rockland & Bergen Surgery Center LLC         Injection(S); Single Or Multiple T…  7/25/2020   20553      $236.69
1084559-01    I.V.         Rockland & Bergen Surgery Center LLC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/25/2020     62323      $976.38
1084559-01    I.V.         Rockland & Bergen Surgery Center LLC        Epidurography, Radiological Superv… 7/25/2020     72275      $572.53
1084559-01    I.V.         Rockland & Bergen Surgery Center LLC           Surgical Supply; Miscellaneous…    7/25/2020   A4649       $50.00
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…   8/18/2020   20553      $473.39
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 8/18/2020     22526     $2,605.78
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 8/18/2020     62287     $5,292.93
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    8/18/2020   A4649       $50.00
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…   9/22/2020   20553      $236.69
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/22/2020     62323      $976.38
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 9/22/2020     72275      $572.53
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    9/22/2020   A4649       $50.00
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/23/2021     64493      $447.52
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/23/2021     64493      $976.38
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/23/2021     64494      $447.52
                                                                 74 of 124                                                            Exhibit 3
       Case 1:24-cv-08606-JRC                 Document 1-4 Filed 12/17/24                      Page 215 of 580 PageID #:
                                                          1662
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                            Service     Code       Billed
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     1/23/2021   64495      $447.52
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      1/23/2021   A4649       $50.00
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     2/16/2021   20553      $236.69
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     2/16/2021   64490      $447.52
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     2/16/2021   64490      $976.38
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     2/16/2021   64491      $447.52
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     2/16/2021   64492      $447.52
1084559-01    I.V.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      2/16/2021   A4649       $50.00
1084559-02    A.M.         Rockland & Bergen Surgery Center LLC         Injection(S); Single Or Multiple T…    7/25/2020   20553      $236.69
1084559-02    A.M.         Rockland & Bergen Surgery Center LLC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     7/25/2020   62323      $976.38
1084559-02    A.M.         Rockland & Bergen Surgery Center LLC        Epidurography, Radiological Superv…     7/25/2020   72275      $572.53
1084559-02    A.M.         Rockland & Bergen Surgery Center LLC           Surgical Supply; Miscellaneous…      7/25/2020   A4649       $50.00
1084559-02    A.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     8/18/2020   20553      $473.39
1084559-02    A.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     8/18/2020   22526     $2,605.78
1084559-02    A.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced…     8/18/2020   62287     $5,292.93
1084559-02    A.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      8/18/2020   A4649       $50.00
1084559-02    A.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     9/22/2020   20553      $236.69
1084559-02    A.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     9/22/2020   62321      $976.38
1084559-02    A.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…     9/22/2020   72275      $572.53
1084559-02    A.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      9/22/2020   A4649       $50.00
1084242-01    D.R.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…    8/31/2020   20553      $554.76
1084242-01    D.R.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     8/31/2020   76942      $341.96
1084242-01    D.R.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      8/31/2020   A4649       $50.00
1084242-01    D.R.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W…    10/28/2020   29819     $1,472.45
1084242-01    D.R.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S…   10/28/2020   29821     $5,677.77
1084242-01    D.R.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…   10/28/2020   29823     $1,472.45
1084242-01    D.R.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W…    10/28/2020   29825     $1,472.45
1084242-01    D.R.               Surgicore of Jersey City LLC            Unlisted Procedure, Arthroscopy…     10/28/2020   29999     $1,472.45
1084242-01    D.R.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent; Brach…   10/28/2020   64415      $979.78
1084242-01    D.R.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla…    10/28/2020   76942      $341.96
1084242-01    D.R.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…     10/28/2020   A4649       $50.00
1084242-01    D.R.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …   10/28/2020   L8699      $185.00
1085494-90    F.R.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…    1/23/2021   29821     $5,677.77
1085494-90    F.R.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    1/23/2021   29823     $1,472.45
1085494-90    F.R.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…     1/23/2021   29825     $1,472.45
1085494-90    F.R.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    1/23/2021   29826     $1,472.45
1085494-90    F.R.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…    1/23/2021   64415      $979.78
1085494-90    F.R.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     1/23/2021   76942      $341.96
1085494-90    F.R.            Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…      1/23/2021   A4649       $50.00
1085494-90    F.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; Synov…     5/14/2022   29875     $1,472.45
1085494-90    F.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With …     5/14/2022   29880     $3,026.24
1085494-90    F.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Arthroscopy…        5/14/2022   29999     $1,472.45
1084079-03    J.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    9/29/2020   29821     $5,677.77
1084079-03    J.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    9/29/2020   29823     $1,472.45
1084079-03    J.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    9/29/2020   29826     $1,472.45
1084079-03    J.M.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    9/29/2020   64415      $979.78
1084079-03    J.M.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     9/29/2020   76942      $341.96
1084079-03    J.M.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      9/29/2020   A4649       $72.00
1084079-03    J.M.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Diagnostic,…    9/17/2021   29805     $3,026.24
1084079-03    J.M.               Surgicore of Jersey City LLC          Infectious Agent Detection By Nucl…     9/17/2021   87635       $51.33
1084079-03    J.M.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…      9/17/2021   A4649       $50.00
1084079-03    J.M.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …    9/17/2021   L8699      $600.00
1084594-01    A.P.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     8/14/2020   22505      $748.08
1084594-01    A.P.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     8/14/2020   22505     $1,577.52
1084594-01    A.P.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…     8/14/2020   23700      $748.08
1084594-01    A.P.          All City Family Healthcare Center, Inc.    Manipulation Of Knee Joint Under G…     8/14/2020   27570      $748.08
1084594-01    A.P.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      8/14/2020   A4649       $72.00
1084594-01    A.P.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     8/17/2020   22505      $748.08
1084594-01    A.P.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     8/17/2020   22505     $1,577.52
1084594-01    A.P.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…     8/17/2020   23700      $748.08
1084594-01    A.P.          All City Family Healthcare Center, Inc.    Manipulation Of Knee Joint Under G…     8/17/2020   27570      $748.08
1084594-01    A.P.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      8/17/2020   A4649       $72.00
1084594-01    A.P.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     8/23/2020   22505     $1,577.52
1084594-01    A.P.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     8/23/2020   22505      $748.08
1084594-01    A.P.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…     8/23/2020   23700      $748.08
1084594-01    A.P.          All City Family Healthcare Center, Inc.    Manipulation Of Knee Joint Under G…     8/23/2020   27570      $748.08
1084594-01    A.P.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      8/23/2020   A4649       $72.00
1084594-01    A.P.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     9/18/2020   62321      $976.38
                                                                 75 of 124                                                              Exhibit 3
       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 216 of 580 PageID #:
                                                           1663
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1084594-01    A.P.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 9/18/2020      72275      $572.53
1084594-01    A.P.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…     9/18/2020   A4649       $50.00
1084594-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 10/3/2020      22526     $5,292.93
1084594-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 10/3/2020      22527     $2,605.78
1084594-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System… 10/3/2020      64999      $373.98
1084594-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…     10/3/2020   A4649       $50.00
1084594-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    11/3/2020   20553      $236.69
1084594-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/3/2020      62323      $976.38
1084594-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 11/3/2020      72275      $572.53
1084594-01    A.P.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…     11/3/2020   A4649       $50.00
1084322-01    T.S.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 10/15/2020     29875      $175.47
1084322-01    T.S.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 10/15/2020     29875     $1,472.45
1084322-01    T.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Debri… 10/15/2020    29877      $174.24
1084322-01    T.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 10/15/2020    29880      $264.43
1084322-01    T.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 10/15/2020    29880     $3,026.24
1084322-01    T.S.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…    10/15/2020   A4649       $72.00
1084322-01    T.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R… 10/15/2020    G0289     $1,472.45
1084322-01    T.S.             Fifth Avenue Surgery Center LLC           Injection(S); Single Or Multiple T… 11/15/2020   20553      $236.69
1084322-01    T.S.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/15/2020     62323      $976.38
1084322-01    T.S.             Fifth Avenue Surgery Center LLC         Epidurography, Radiological Superv… 11/15/2020     72275      $572.53
1084322-01    T.S.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 11/15/2020     76942      $341.96
1084322-01    T.S.             Fifth Avenue Surgery Center LLC            Surgical Supply; Miscellaneous…    11/15/2020   A4649       $50.00
1084322-01    T.S.             Fifth Avenue Surgery Center LLC          Perq Intrdscl Electrothrm Annulopl… 12/13/2020    22526     $2,605.78
1084322-01    T.S.             Fifth Avenue Surgery Center LLC          Perq Intrdscl Electrothrm Annulopl… 12/13/2020    22527     $2,605.79
1084322-01    T.S.             Fifth Avenue Surgery Center LLC         Aspiration Or Decompression Proced… 12/13/2020     62287     $5,292.93
1084322-01    T.S.             Fifth Avenue Surgery Center LLC            Surgical Supply; Miscellaneous…    12/13/2020   A4649       $50.00
1083717-01    J.R.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 7/16/2020      29875     $1,472.45
1083717-01    J.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 7/16/2020     29881     $3,026.24
1083717-01    J.R.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…    7/16/2020   29999     $1,472.45
1083717-01    J.R.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Femor… 7/16/2020     64447      $829.30
1083717-01    J.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 7/16/2020      76942      $341.96
1083717-01    J.R.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…     7/16/2020   A4649       $72.00
1083717-01    J.R.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…  8/20/2020   20553      $236.69
1083717-01    J.R.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/20/2020      62323      $976.38
1083717-01    J.R.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 8/20/2020      72275      $572.53
1083717-01    J.R.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 8/20/2020      76942      $341.96
1083717-01    J.R.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…     8/20/2020   A4649       $50.00
1083717-01    J.R.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 8/25/2020     22526     $2,605.78
1083717-01    J.R.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 8/25/2020      62287     $5,292.93
1083717-01    J.R.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…     8/25/2020   A4649       $50.00
1083717-01    J.R.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 10/12/2020   20552      $236.69
1083717-01    J.R.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/12/2020     62321      $976.38
1083717-01    J.R.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 10/12/2020     72275      $572.53
1083717-01    J.R.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 10/12/2020     76942      $341.96
1083717-01    J.R.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…    10/12/2020   A4649       $50.00
1083717-01    J.R.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 10/15/2020    22526     $2,605.78
1083717-01    J.R.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr… 10/15/2020     63075     $5,292.93
1083717-01    J.R.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…    10/15/2020   A4649       $50.00
1085163-01    G.M.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 10/3/2020      64493      $447.52
1085163-01    G.M.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 10/3/2020      64493      $976.38
1085163-01    G.M.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 10/3/2020      64494      $447.52
1085163-01    G.M.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 10/3/2020      64495      $447.52
1085163-01    G.M.          Bronx SC LLC d/b/a Empire State ASC           Surgical Supply; Miscellaneous…     10/3/2020   A4649       $50.00
1085163-01    G.M.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; S… 11/17/2020    29821     $5,677.77
1085163-01    G.M.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 11/17/2020    29823     $1,472.45
1085163-01    G.M.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; W… 11/17/2020    29825     $1,472.45
1085163-01    G.M.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 11/17/2020    29826     $1,472.45
1085163-01    G.M.             New Horizon Surgical Center LLC          Injection, Anesthetic Agent; Brach… 11/17/2020    64415      $979.78
1085163-01    G.M.             New Horizon Surgical Center LLC         Ultrasonic Guidance For Needle Pla… 11/17/2020     76942      $341.96
1085163-01    G.M.             New Horizon Surgical Center LLC            Surgical Supply; Miscellaneous…    11/17/2020   A4649       $50.00
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/29/2020      62323      $976.38
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center Epidurography, Radiological Superv… 7/29/2020      72275      $572.53
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center    Surgical Supply; Miscellaneous…     7/29/2020   A4649       $50.00
1082465-02    R.E.          Rockland & Bergen Surgery Center LLC       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/5/2020       62323      $976.38
1082465-02    R.E.          Rockland & Bergen Surgery Center LLC       Epidurography, Radiological Superv… 8/5/2020       72275      $572.53
1082465-02    R.E.          Rockland & Bergen Surgery Center LLC          Surgical Supply; Miscellaneous…      8/5/2020   A4649       $50.00
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/20/2020      62321      $976.38
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center Epidurography, Radiological Superv… 8/20/2020      72275      $572.53
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                                                           1664
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center     Surgical Supply; Miscellaneous…    8/20/2020   A4649       $50.00
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/15/2020     62321      $976.38
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center Epidurography, Radiological Superv… 10/15/2020     72275      $572.53
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center     Surgical Supply; Miscellaneous…   10/15/2020   A4649       $50.00
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/18/2020     62321      $976.38
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center Epidurography, Radiological Superv… 11/18/2020     72275      $572.53
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center     Surgical Supply; Miscellaneous…   11/18/2020   A4649       $50.00
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 12/10/2020     62323      $976.38
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center Epidurography, Radiological Superv… 12/10/2020     72275      $572.53
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center     Surgical Supply; Miscellaneous…   12/10/2020   A4649       $50.00
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/1/2022       62321      $976.38
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent And/Or…    2/9/2023   64483      $976.38
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent And/Or…    2/9/2023   64484      $447.52
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent And/Or… 4/18/2024     64483      $976.38
1082465-02    R.E.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent And/Or… 4/18/2024     64484      $447.52
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 2/23/2021      22526     $2,605.78
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 2/23/2021      22527     $2,605.79
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 2/23/2021      62287     $5,292.93
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl… 2/23/2021      87635       $51.33
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    2/23/2021   A4649       $50.00
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/27/2022      64493      $447.52
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/27/2022      64493      $976.38
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/27/2022      64494      $447.52
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/27/2022      64495      $447.52
1081792-01    F.L.            Rockaways ASC Development LLC            Transection Or Avulsion Of Other S… 1/11/2023      64772     $2,224.45
1081792-01    F.L.            Rockaways ASC Development LLC            Transection Or Avulsion Of Other S… 1/11/2023      64772     $1,071.54
1082264-03    R.W.          All City Family Healthcare Center, Inc.    Njx Pltlt Plasma W/Img Harvest/Pre… 10/28/2020     0232T      $957.29
1082264-03    R.W.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…   10/28/2020   A4649       $72.00
1082264-03    R.W.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S…   1/28/2021   29821     $5,677.77
1082264-03    R.W.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D… 1/28/2021     29823     $1,472.45
1082264-03    R.W.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; W… 1/28/2021     29825     $1,472.45
1082264-03    R.W.               Surgicore of Jersey City LLC            Injection, Anesthetic Agent; Brach…  1/28/2021   64415      $979.78
1082264-03    R.W.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla… 1/28/2021      76942      $341.96
1082264-03    R.W.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    1/28/2021   A4649       $50.00
1082264-03    R.W.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …   1/28/2021   L8699      $185.00
1082264-03    R.W.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov… 3/18/2021      29876     $1,472.45
1082264-03    R.W.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 3/18/2021     29881     $3,026.24
1082264-03    R.W.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    3/18/2021   A4649       $50.00
1082264-03    R.W.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical, For R… 3/18/2021     G0289     $1,472.45
1082264-03    R.W.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …   3/18/2021   L8699      $195.00
1082018-02    A.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…   8/10/2020   29821     $5,677.77
1082018-02    A.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 8/10/2020     29823     $1,472.45
1082018-02    A.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 8/10/2020     29825     $1,472.45
1082018-02    A.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 8/10/2020     29826     $1,472.45
1082018-02    A.F.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  8/10/2020   64415      $979.78
1082018-02    A.F.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 8/10/2020      76942      $341.96
1082018-02    A.F.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    8/10/2020   A4649       $72.00
1082018-02    A.F.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 9/21/2020     22526     $2,605.78
1082018-02    A.F.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr… 9/21/2020      63075     $5,292.93
1082018-02    A.F.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    9/21/2020   A4649       $50.00
1082018-02    A.F.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 9/24/2020     22526     $2,605.78
1082018-02    A.F.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 9/24/2020      62287     $5,292.93
1082018-02    A.F.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    9/24/2020   A4649       $50.00
1082249-01    J.B.          Rockland & Bergen Surgery Center LLC       Arthroscopy, Knee, Surgical; Synov… 10/9/2020      29875     $1,472.45
1082249-01    J.B.          Rockland & Bergen Surgery Center LLC        Arthroscopy, Knee, Surgical; With … 10/9/2020     29880     $3,026.24
1082249-01    J.B.          Rockland & Bergen Surgery Center LLC        Injection, Anesthetic Agent; Femor… 10/9/2020     64447      $829.30
1082249-01    J.B.          Rockland & Bergen Surgery Center LLC       Ultrasonic Guidance For Needle Pla… 10/9/2020      76942      $341.96
1082249-01    J.B.          Rockland & Bergen Surgery Center LLC           Surgical Supply; Miscellaneous…    10/9/2020   A4649       $50.00
1082249-01    J.B.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or …    5/6/2021   20610      $473.38
1082249-01    J.B.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…     5/6/2021   29875     $1,472.45
1082249-01    J.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …    5/6/2021   29880     $3,026.24
1082249-01    J.B.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     5/6/2021   A4649       $72.00
1082249-01    J.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R…    5/6/2021   G0289     $1,472.45
1082165-01    R.A.            Rockaways ASC Development LLC             Arthrocentesis, Aspiration And/Or …    9/4/2020   20610      $473.38
1082165-01    R.A.            Rockaways ASC Development LLC            Arthroscopy, Knee, Surgical; Synov…     9/4/2020   29875     $1,472.45
1082165-01    R.A.            Rockaways ASC Development LLC             Arthroscopy, Knee, Surgical; With …    9/4/2020   29880     $3,026.24
1082165-01    R.A.            Rockaways ASC Development LLC               Unlisted Procedure, Arthroscopy…     9/4/2020   29999     $1,472.45
1082165-01    R.A.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     9/4/2020   A4649       $50.00
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                                                            1665
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                Date of     Billing   Amount
                                           Provider                                      Service
 Number      Person                                                                                                 Service     Code       Billed
1082165-01    R.A.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/…      9/12/2020   64490      $447.52
1082165-01    R.A.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/…      9/12/2020   64490      $976.38
1082165-01    R.A.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/…      9/12/2020   64491      $447.52
1082165-01    R.A.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/…      9/12/2020   64492      $447.52
1082165-01    R.A.                Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…       9/12/2020   A4649       $50.00
1082165-01    R.A.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/…      9/26/2020   64490      $976.38
1082165-01    R.A.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/…      9/26/2020   64490      $447.52
1082165-01    R.A.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/…      9/26/2020   64491      $447.52
1082165-01    R.A.                Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/…      9/26/2020   64492      $447.52
1082165-01    R.A.                Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…       9/26/2020   A4649       $50.00
1082165-01    R.A.                Surgicore of Jersey City LLC             Dstr Nrolytc Agnt Parverteb Fct Sn…     10/17/2020   64633      $976.38
1082165-01    R.A.                Surgicore of Jersey City LLC             Dstr Nrolytc Agnt Parverteb Fct Ad…     10/17/2020   64634      $447.52
1082165-01    R.A.                Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…      10/17/2020   A4649       $50.00
1082165-01    R.A.                Surgicore of Jersey City LLC               Injection(S); Single Or Multiple T…   10/31/2020   20553      $236.69
1082165-01    R.A.                Surgicore of Jersey City LLC             Dstr Nrolytc Agnt Parverteb Fct Sn…     10/31/2020   64633      $976.38
1082165-01    R.A.                Surgicore of Jersey City LLC             Dstr Nrolytc Agnt Parverteb Fct Ad…     10/31/2020   64634      $447.52
1082165-01    R.A.                Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…      10/31/2020   A4649       $50.00
1082551-01    S.B.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; C…     6/20/2020   29806     $5,677.77
1082551-01    S.B.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; R…     6/20/2020   29807     $2,798.20
1082551-01    S.B.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; S…     6/20/2020   29821     $2,798.20
1082551-01    S.B.              New Horizon Surgical Center LLC            Arthroscopy, Shoulder, Surgical; D…      6/20/2020   29823     $1,472.45
1082551-01    S.B.              New Horizon Surgical Center LLC            Arthroscopy, Shoulder, Surgical; W…      6/20/2020   29825     $1,472.45
1082551-01    S.B.              New Horizon Surgical Center LLC            Arthroscopy, Shoulder, Surgical; D…      6/20/2020   29826     $1,472.45
1082551-01    S.B.              New Horizon Surgical Center LLC               Surgical Supply; Miscellaneous…       6/20/2020   A4649       $50.00
1082551-01    S.B.        Surgicore LLC d/b/a Surgicore Surgical Center     Injection, Anesthetic Agent; Brach…     6/20/2020   64415      $979.78
1082551-01    S.B.        Surgicore LLC d/b/a Surgicore Surgical Center    Ultrasonic Guidance For Needle Pla…      6/20/2020   76942      $341.96
1082551-01    S.B.              Fifth Avenue Surgery Center LLC             Arthrocentesis, Aspiration And/Or …     7/15/2021   20610      $473.39
1082551-01    S.B.              Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical; Synov…      7/15/2021   29875     $1,472.45
1082551-01    S.B.              Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical; With …      7/15/2021   29880     $3,026.24
1082551-01    S.B.              Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical; With …      7/15/2021   29884     $1,472.45
1082551-01    S.B.              Fifth Avenue Surgery Center LLC               Unlisted Procedure, Arthroscopy…      7/15/2021   29999     $1,472.45
1082551-01    S.B.              Fifth Avenue Surgery Center LLC             Injection, Anesthetic Agent; Femor…     7/15/2021   64447      $829.30
1082551-01    S.B.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…      7/15/2021   76942      $341.96
1082551-01    S.B.              Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…       7/15/2021   A4649       $50.00
1082284-05    D.F.           Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     10/29/2020   62321      $976.38
1082284-05    D.F.           Bronx SC LLC d/b/a Empire State ASC           Epidurography, Radiological Superv…     10/29/2020   72275      $572.53
1082284-05    D.F.           Bronx SC LLC d/b/a Empire State ASC              Surgical Supply; Miscellaneous…      10/29/2020   A4649       $50.00
1082284-05    D.F.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; S…     2/18/2021   29821     $5,677.77
1082284-05    D.F.              New Horizon Surgical Center LLC            Arthroscopy, Shoulder, Surgical; D…      2/18/2021   29823     $1,472.45
1082284-05    D.F.              New Horizon Surgical Center LLC            Arthroscopy, Shoulder, Surgical; W…      2/18/2021   29825     $1,472.45
1082284-05    D.F.              New Horizon Surgical Center LLC               Unlisted Procedure, Arthroscopy…      2/18/2021   29999     $1,472.45
1082284-05    D.F.              New Horizon Surgical Center LLC               Surgical Supply; Miscellaneous…       2/18/2021   A4649       $50.00
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     10/31/2020   62321      $976.38
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC           Epidurography, Radiological Superv…     10/31/2020   72275      $572.53
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC              Surgical Supply; Miscellaneous…      10/31/2020   A4649       $50.00
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     11/14/2020   62323      $976.38
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC           Epidurography, Radiological Superv…     11/14/2020   72275      $572.53
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC              Surgical Supply; Miscellaneous…      11/14/2020   A4649       $50.00
1080232-02    P.L.              New Horizon Surgical Center LLC            Arthroscopy, Knee, Surgical; Synov…     12/16/2020   29876     $1,472.45
1080232-02    P.L.              New Horizon Surgical Center LLC            Arthroscopy, Knee, Surgical; With …     12/16/2020   29880     $3,026.24
1080232-02    P.L.              New Horizon Surgical Center LLC             Injection, Anesthetic Agent; Femor…    12/16/2020   64447      $829.30
1080232-02    P.L.              New Horizon Surgical Center LLC            Ultrasonic Guidance For Needle Pla…     12/16/2020   76942      $341.96
1080232-02    P.L.              New Horizon Surgical Center LLC               Surgical Supply; Miscellaneous…      12/16/2020   A4649       $50.00
1080232-02    P.L.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; S…     2/19/2021   29821     $5,677.77
1080232-02    P.L.              New Horizon Surgical Center LLC            Arthroscopy, Shoulder, Surgical; D…      2/19/2021   29823     $1,472.45
1080232-02    P.L.              New Horizon Surgical Center LLC             Injection, Anesthetic Agent; Brach…     2/19/2021   64415      $979.78
1080232-02    P.L.              New Horizon Surgical Center LLC            Ultrasonic Guidance For Needle Pla…      2/19/2021   76942      $341.96
1080232-02    P.L.              New Horizon Surgical Center LLC               Surgical Supply; Miscellaneous…       2/19/2021   A4649       $50.00
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC             Injection Procedure For Sacroiliac…   12/23/2021   27096      $429.53
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC             Injection Procedure For Sacroiliac…   12/23/2021   27096      $940.42
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC             Injection Procedure For Sacroiliac…    1/27/2022   27096      $429.53
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC             Injection Procedure For Sacroiliac…    1/27/2022   27096      $940.42
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC           Dstr Nrolytc Agnt Parverteb Fct Sn…      3/24/2022   64635      $976.38
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC           Dstr Nrolytc Agnt Parverteb Fct Ad…      3/24/2022   64636      $447.52
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC           Dstr Nrolytc Agnt Parverteb Fct Sn…      5/26/2022   64635      $976.38
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC           Dstr Nrolytc Agnt Parverteb Fct Ad…      5/26/2022   64636      $447.52
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/…      3/11/2023   64490      $976.38
1080232-02    P.L.           Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Crv/…      3/11/2023   64490      $447.52
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                                                           1666
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1080232-02    P.L.         Bronx SC LLC d/b/a Empire State ASC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/11/2023     64491      $447.52
1080232-02    P.L.         Bronx SC LLC d/b/a Empire State ASC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/11/2023     64492      $447.52
1081041-01    L.D.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/19/2020     62323      $976.38
1081041-01    L.D.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 11/19/2020     72275      $572.53
1081041-01    L.D.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   11/19/2020   A4649       $50.00
1081041-01    L.D.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/15/2021      62323      $976.38
1081041-01    L.D.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 4/15/2021      72275      $572.53
1081041-01    L.D.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    4/15/2021   A4649       $50.00
1081041-01    L.D.            Fifth Avenue Surgery Center LLC            Injection(S); Single Or Multiple T…  5/12/2022   20553      $236.69
1081041-01    L.D.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/12/2022      62323      $976.38
1081041-01    L.D.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 5/12/2022      76942      $341.96
1081041-01    L.D.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/27/2024      62323      $976.38
1081889-03    L.Z.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 7/16/2020      29875     $1,472.45
1081889-03    L.Z.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 7/16/2020     29880     $3,026.24
1081889-03    L.Z.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    7/16/2020   A4649       $72.00
1081889-03    L.Z.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R… 7/16/2020     G0289     $1,472.45
1081889-03    L.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    8/18/2020   20553      $473.39
1081889-03    L.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 8/18/2020      22526     $2,605.78
1081889-03    L.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 8/18/2020      62287     $5,292.93
1081889-03    L.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    8/18/2020   A4649       $50.00
1080090-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    11/3/2020   20553      $236.69
1080090-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/3/2020      62321      $976.38
1080090-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 11/3/2020      72275      $572.53
1080090-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    11/3/2020   A4649       $50.00
1080090-02    D.H.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 12/6/2020     22526     $2,605.78
1080090-02    D.H.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 12/6/2020     22527     $2,605.78
1080090-02    D.H.           Rockaways ASC Development LLC              Injection Procedure For Diskograph… 12/6/2020     62291      $748.74
1080090-02    D.H.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 12/6/2020      63075     $5,292.93
1080090-02    D.H.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 12/6/2020      63076     $2,605.78
1080090-02    D.H.           Rockaways ASC Development LLC              Diskography, Cervical Or Thoracic,… 12/6/2020     72285      $962.54
1080090-02    D.H.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    12/6/2020   A4649       $50.00
1080885-02    W.R.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te… 6/17/2020      23405     $1,839.77
1080885-02    W.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; R… 6/17/2020     29807     $5,677.77
1080885-02    W.R.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…  6/17/2020   29821     $2,798.20
1080885-02    W.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 6/17/2020     29823     $1,472.45
1080885-02    W.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 6/17/2020     29826     $1,472.45
1080885-02    W.R.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  6/17/2020   64415      $979.78
1080885-02    W.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 6/17/2020      76942      $341.96
1080885-02    W.R.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    6/17/2020   A4649       $72.00
1080885-02    W.R.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T… 10/13/2020   20552      $236.69
1080885-02    W.R.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/13/2020     62321      $976.38
1080885-02    W.R.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 10/13/2020     72275      $572.53
1080885-02    W.R.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 10/13/2020     76942      $341.96
1080885-02    W.R.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   10/13/2020   A4649       $50.00
1080885-02    W.R.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 10/15/2020    22526     $2,605.78
1080885-02    W.R.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 10/15/2020     63075     $5,292.93
1080885-02    W.R.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   10/15/2020   A4649       $50.00
1080858-03    R.O.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/18/2020      62321      $976.38
1080858-03    R.O.         Bronx SC LLC d/b/a Empire State ASC         Epidurography, Radiological Superv… 6/18/2020      72275      $572.53
1080858-03    R.O.            New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical; Synov… 7/21/2020      29875     $1,472.45
1080858-03    R.O.            New Horizon Surgical Center LLC           Arthroscopy, Knee, Surgical; With … 7/21/2020     29880     $3,026.24
1080858-03    R.O.            New Horizon Surgical Center LLC              Surgical Supply; Miscellaneous…    7/21/2020   A4649       $50.00
1080858-03    R.O.            New Horizon Surgical Center LLC           Arthroscopy, Knee, Surgical, For R… 7/21/2020     G0289     $1,472.45
1080858-03    R.O.            New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical; Synov… 10/20/2020     29875     $1,472.45
1080858-03    R.O.            New Horizon Surgical Center LLC           Arthroscopy, Knee, Surgical; With … 10/20/2020    29880     $3,026.24
1080858-03    R.O.            New Horizon Surgical Center LLC              Surgical Supply; Miscellaneous…   10/20/2020   A4649       $50.00
1080858-03    R.O.            New Horizon Surgical Center LLC           Arthroscopy, Knee, Surgical, For R… 10/20/2020    G0289     $1,472.45
1079840-01    X.E.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…  5/31/2020   29821     $5,677.77
1079840-01    X.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 5/31/2020     29823     $1,472.45
1079840-01    X.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 5/31/2020     29825     $1,472.45
1079840-01    X.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 5/31/2020     29826     $1,472.45
1079840-01    X.E.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  5/31/2020   64415      $979.78
1079840-01    X.E.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 5/31/2020      76942      $341.96
1079840-01    X.E.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    5/31/2020   A4649       $72.00
1079840-01    X.E.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   8/8/2020   29821     $5,677.77
1079840-01    X.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    8/8/2020   29823     $1,472.45
1079840-01    X.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    8/8/2020   29825     $1,472.45
1079840-01    X.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    8/8/2020   29826     $1,472.45
                                                                 79 of 124                                                             Exhibit 3
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                                                           1667
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1079840-01    X.E.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   8/8/2020   64415      $979.78
1079840-01    X.E.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     8/8/2020   76942      $341.96
1079840-01    X.E.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     8/8/2020   A4649       $72.00
1079840-01    X.E.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  11/2/2020   20552      $236.69
1079840-01    X.E.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/2/2020      62321      $976.38
1079840-01    X.E.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 11/2/2020      72275      $572.53
1079840-01    X.E.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    11/2/2020   A4649       $50.00
1079840-01    X.E.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 11/7/2020      29875     $1,472.45
1079840-01    X.E.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 11/7/2020     29880     $3,026.24
1079840-01    X.E.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor… 11/7/2020     64447      $829.30
1079840-01    X.E.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 11/7/2020      76942      $341.96
1079840-01    X.E.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…    11/7/2020   A4649       $50.00
1079840-01    X.E.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical, For R… 11/7/2020     G0289     $1,472.45
1079840-01    X.E.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 11/22/2020     63075     $5,292.93
1079840-01    X.E.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   11/22/2020   A4649       $50.00
1079840-02    E.G.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…  5/31/2020   29821     $5,677.77
1079840-02    E.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 5/31/2020     29823     $1,472.45
1079840-02    E.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 5/31/2020     29825     $1,472.45
1079840-02    E.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 5/31/2020     29826     $1,472.45
1079840-02    E.G.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  5/31/2020   64415      $979.78
1079840-02    E.G.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 5/31/2020      76942      $341.96
1079840-02    E.G.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    5/31/2020   A4649       $72.00
1079840-02    E.G.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…  8/23/2020   29821     $5,677.77
1079840-02    E.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 8/23/2020     29823     $1,472.45
1079840-02    E.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 8/23/2020     29825     $1,472.45
1079840-02    E.G.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 8/23/2020     29826     $1,472.45
1079840-02    E.G.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  8/23/2020   64415      $979.78
1079840-02    E.G.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 8/23/2020      76942      $341.96
1079840-02    E.G.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    8/23/2020   A4649       $72.00
1079840-02    E.G.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T… 10/18/2020   20552      $236.69
1079840-02    E.G.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/18/2020     62321      $976.38
1079840-02    E.G.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 10/18/2020     72275      $572.53
1079840-02    E.G.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 10/18/2020     76942      $341.96
1079840-02    E.G.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   10/18/2020   A4649       $50.00
1079840-02    E.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System… 10/30/2020     64999      $829.30
1079840-02    E.G.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…   10/30/2020   a4649       $50.00
1079840-02    E.G.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  1/24/2021   20552      $236.69
1079840-02    E.G.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/24/2021      62323      $976.38
1079840-02    E.G.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 1/24/2021      72275      $572.53
1079840-02    E.G.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 1/24/2021      76942      $341.96
1079840-02    E.G.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    1/24/2021   A4649       $50.00
1079840-02    E.G.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 1/31/2021     22526     $2,605.78
1079840-02    E.G.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 1/31/2021      62287     $5,292.93
1079840-02    E.G.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    1/31/2021   A4649       $50.00
1079840-02    E.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/28/2021      62321      $976.38
1079840-02    E.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 2/28/2021      72275      $572.53
1079840-02    E.G.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    2/28/2021   A4649       $50.00
1081634-02    S.M.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/10/2020      62323      $976.38
1081634-02    S.M.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 9/10/2020      72275      $572.53
1081634-02    S.M.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    9/10/2020   A4649       $50.00
1081634-02    S.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Abras… 12/1/2020     29879     $1,472.45
1081634-02    S.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 12/1/2020     29880     $3,026.24
1081634-02    S.M.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Femor… 12/1/2020     64447      $829.30
1081634-02    S.M.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 12/1/2020      76942      $341.96
1081634-02    S.M.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    12/1/2020   A4649       $72.00
1081634-02    S.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R… 12/1/2020     G0289     $1,472.45
1081634-02    S.M.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/4/2021       62323      $976.38
1081634-02    S.M.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 2/4/2021       72275      $572.53
1081634-02    S.M.           Rockaways ASC Development LLC              Infectious Agent Detection By Nucl…    2/4/2021   87635       $51.33
1081634-02    S.M.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     2/4/2021   A4649       $50.00
1081634-02    S.M.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/18/2021      62323      $976.38
1081634-02    S.M.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 3/18/2021      72275      $572.53
1081634-02    S.M.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    3/18/2021   A4649       $50.00
1079877-02    S.A.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or … 12/8/2020     20610      $473.39
1079877-02    S.A.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 12/8/2020      29875     $1,472.45
1079877-02    S.A.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 12/8/2020     29881     $3,026.24
1079877-02    S.A.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor… 12/8/2020     64447      $829.30
1079877-02    S.A.            Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Intrauteri…  12/8/2020   76941      $341.96
                                                                 80 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 221 of 580 PageID #:
                                                           1668
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1079877-02    S.A.             Fifth Avenue Surgery Center LLC            Surgical Supply; Miscellaneous…       12/8/2020   A4649       $50.00
1079877-02    S.A.             Fifth Avenue Surgery Center LLC         Arthroscopy, Knee, Surgical, For R…      12/8/2020   G0289     $1,472.45
1079877-02    S.A.               Surgicore of Jersey City LLC          Perq Intrdscl Electrothrm Annulopl…     10/22/2022   22526     $5,292.93
1079877-02    S.A.               Surgicore of Jersey City LLC          Unlisted Procedure, Nervous System…     10/22/2022   64999      $747.93
1079877-02    S.A.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…      10/22/2022   A4649     $1,495.00
1080522-01    J.H.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; S…     6/25/2020   29821     $2,798.20
1080522-01    J.H.             New Horizon Surgical Center LLC         Arthroscopy, Shoulder, Surgical; D…      6/25/2020   29823     $1,472.45
1080522-01    J.H.             New Horizon Surgical Center LLC         Arthroscopy, Shoulder, Surgical; W…      6/25/2020   29825     $1,472.45
1080522-01    J.H.             New Horizon Surgical Center LLC         Arthroscopy, Shoulder, Surgical; W…      6/25/2020   29827     $5,677.77
1080522-01    J.H.             New Horizon Surgical Center LLC            Unlisted Procedure, Arthroscopy…      6/25/2020   29999     $1,472.45
1080522-01    J.H.             New Horizon Surgical Center LLC          Injection, Anesthetic Agent; Brach…     6/25/2020   64415      $979.78
1080522-01    J.H.             New Horizon Surgical Center LLC         Ultrasonic Guidance For Needle Pla…      6/25/2020   76942      $341.96
1080522-01    J.H.             New Horizon Surgical Center LLC            Surgical Supply; Miscellaneous…       6/25/2020   A4649       $50.00
1080522-01    J.H.       Surgicore LLC d/b/a Surgicore Surgical Center Grafting Of Autologous Soft Tissue…      8/21/2020   15769     $1,170.59
1080522-01    J.H.       Surgicore LLC d/b/a Surgicore Surgical Center Tenolysis, Flexor Or Extensor Tend…      8/21/2020   27680     $1,417.17
1080522-01    J.H.       Surgicore LLC d/b/a Surgicore Surgical Center Repair, Secondary, Disrupted Ligam…      8/21/2020   27698     $3,311.97
1080522-01    J.H.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Ankle (Tibiotalar And…      8/21/2020   29898     $1,472.45
1080522-01    J.H.       Surgicore LLC d/b/a Surgicore Surgical Center    Surgical Supply; Miscellaneous…       8/21/2020   A4649       $50.00
1080904-01    S.E.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or …     7/17/2020   20610      $473.38
1080904-01    S.E.          All City Family Healthcare Center, Inc.    Manipulation Of Knee Joint Under G…      7/17/2020   27570      $748.08
1080904-01    S.E.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…      7/17/2020   29875     $1,472.45
1080904-01    S.E.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Abras…      7/17/2020   29879     $1,472.45
1080904-01    S.E.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; With …      7/17/2020   29881     $3,026.24
1080904-01    S.E.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…      7/17/2020   29999     $1,472.45
1080904-01    S.E.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…       7/17/2020   A4649       $72.00
1080904-01    S.E.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…   11/23/2020   20552      $236.69
1080904-01    S.E.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     11/23/2020   62323      $976.38
1080904-01    S.E.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…     11/23/2020   72275      $572.53
1080904-01    S.E.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     11/23/2020   76942      $341.96
1080904-01    S.E.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…      11/23/2020   A4649       $50.00
1079956-01    K.H.             New Horizon Surgical Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      12/5/2020   62322      $976.38
1079956-01    K.H.             New Horizon Surgical Center LLC         Epidurography, Radiological Superv…      12/5/2020   72275      $572.53
1079956-01    K.H.             New Horizon Surgical Center LLC            Surgical Supply; Miscellaneous…       12/5/2020   A4649       $50.00
1079956-01    K.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    12/10/2020   29821     $2,798.20
1079956-01    K.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    12/10/2020   29821      $190.42
1079956-01    K.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; D…     12/10/2020   29823      $200.95
1079956-01    K.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; D…     12/10/2020   29823     $1,472.45
1079956-01    K.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     12/10/2020   29825      $202.51
1079956-01    K.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     12/10/2020   29825     $1,472.45
1079956-01    K.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     12/10/2020   29827      $228.40
1079956-01    K.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     12/10/2020   29827     $5,677.77
1079956-01    K.H.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    12/10/2020   64415      $979.78
1079956-01    K.H.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     12/10/2020   76942      $341.96
1079956-01    K.H.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      12/10/2020   A4649       $72.00
1079956-01    K.H.             New Horizon Surgical Center LLC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…       3/6/2021   62320      $976.38
1079956-01    K.H.             New Horizon Surgical Center LLC         Epidurography, Radiological Superv…       3/6/2021   72275      $572.53
1079956-01    K.H.             New Horizon Surgical Center LLC            Surgical Supply; Miscellaneous…        3/6/2021   A4649       $50.00
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Diagnostic,…      6/12/2020   29805     $1,472.45
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…      6/12/2020   29821     $5,677.77
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…      6/12/2020   29823     $1,472.45
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W…      6/12/2020   29825     $1,472.45
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Arthroscopy…         6/12/2020   29999     $1,472.45
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…      6/12/2020   64415      $979.78
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…      6/12/2020   76942      $341.96
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…       6/12/2020   A4649       $50.00
1079949-02    J.W.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…       8/1/2020   62321      $976.38
1079949-02    J.W.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…       8/1/2020   72275      $572.53
1079949-02    J.W.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…        8/1/2020   A4649       $50.00
1079949-02    J.W.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      8/15/2020   62321      $976.38
1079949-02    J.W.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…      8/15/2020   72275      $572.53
1079949-02    J.W.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…       8/15/2020   A4649       $50.00
1079949-02    J.W.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      8/29/2020   62321      $976.38
1079949-02    J.W.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…      8/29/2020   72275      $572.53
1079949-02    J.W.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…       8/29/2020   A4649       $50.00
1079949-02    J.W.             Fifth Avenue Surgery Center LLC          Arthrocentesis, Aspiration And/Or …      4/6/2021   20610      $473.39
1079949-02    J.W.             Fifth Avenue Surgery Center LLC         Arthroscopy, Knee, Surgical; Synov…       4/6/2021   29875     $1,472.45
1079949-02    J.W.             Fifth Avenue Surgery Center LLC         Arthroscopy, Knee, Surgical; With …       4/6/2021   29880     $3,026.24
1079949-02    J.W.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Femor…      4/6/2021   64447      $829.30
                                                                  81 of 124                                                              Exhibit 3
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                                                            1669
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                Date of     Billing   Amount
                                           Provider                                      Service
 Number      Person                                                                                                 Service     Code       Billed
1079949-02    J.W.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…       4/6/2021   76942      $341.96
1079949-02    J.W.              Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…        4/6/2021   a4649       $50.00
1079949-02    J.W.              Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical, For R…       4/6/2021   g0289     $1,472.45
1078661-01     S.J.             Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; S…    11/16/2020   29821     $5,677.77
1078661-01     S.J.             Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; D…     11/16/2020   29823     $1,472.45
1078661-01     S.J.             Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; W…     11/16/2020   29825     $1,472.45
1078661-01     S.J.             Fifth Avenue Surgery Center LLC               Unlisted Procedure, Arthroscopy…     11/16/2020   29999     $1,472.45
1078661-01     S.J.             Fifth Avenue Surgery Center LLC             Injection, Anesthetic Agent; Brach…    11/16/2020   64415      $979.78
1078661-01     S.J.             Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…     11/16/2020   76942      $341.96
1078661-01     S.J.             Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…      11/16/2020   A4649       $50.00
1078661-01     S.J.       Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Knee, Surgical; Synov…      9/28/2021   29876     $1,472.45
1078661-01     S.J.       Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Knee, Surgical; With …      9/28/2021   29880     $3,026.24
1078661-01     S.J.       Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Knee, Surgical; With …      9/28/2021   29884     $1,472.45
1078661-01     S.J.       Surgicore LLC d/b/a Surgicore Surgical Center       Unlisted Procedure, Arthroscopy…      9/28/2021   29999     $1,472.45
1078661-01     S.J.       Surgicore LLC d/b/a Surgicore Surgical Center       Surgical Supply; Miscellaneous…       9/28/2021   a4649       $50.00
1078279-03     J.F.            Rockaways ASC Development LLC               Manipulation Of Spine Requiring An…      7/26/2020   22505      $748.08
1078279-03     J.F.            Rockaways ASC Development LLC               Manipulation Of Spine Requiring An…      7/26/2020   22505     $1,577.52
1078279-03     J.F.            Rockaways ASC Development LLC               Manipulation Under Anesthesia, Sho…      7/26/2020   23700      $748.08
1078279-03     J.F.            Rockaways ASC Development LLC               Manipulation Of Knee Joint Under G…      7/26/2020   27570      $748.08
1078279-03     J.F.            Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…       7/26/2020   A4649       $50.00
1078279-03     J.F.            Rockaways ASC Development LLC               Manipulation Of Spine Requiring An…       8/2/2020   22505     $1,577.52
1078279-03     J.F.            Rockaways ASC Development LLC               Manipulation Under Anesthesia, Sho…       8/2/2020   23700      $748.08
1078279-03     J.F.            Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…        8/2/2020   A4649       $50.00
1078279-03     J.F.          All City Family Healthcare Center, Inc.       Arthrocentesis, Aspiration And/Or …       9/4/2020   20610      $473.38
1078279-03     J.F.          All City Family Healthcare Center, Inc.       Manipulation Of Knee Joint Under G…       9/4/2020   27570      $748.08
1078279-03     J.F.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; Synov…       9/4/2020   29875     $1,472.45
1078279-03     J.F.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; With …       9/4/2020   29880     $3,026.24
1078279-03     J.F.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; With …       9/4/2020   29884     $1,472.45
1078279-03     J.F.          All City Family Healthcare Center, Inc.          Surgical Supply; Miscellaneous…        9/4/2020   A4649       $72.00
1078279-03     J.F.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical, For R…       9/4/2020   G0289     $1,472.45
1078121-01    S.A.        Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Knee, Surgical; Synov…      5/30/2020   29876     $3,026.24
1078121-01    S.A.        Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Knee, Surgical; Abras…      5/30/2020   29879     $1,472.45
1078121-01    S.A.        Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Knee, Surgical; With …      5/30/2020   29881     $1,472.45
1078121-01    S.A.        Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Knee, Surgical; With …      5/30/2020   29884     $1,472.45
1078121-01    S.A.        Surgicore LLC d/b/a Surgicore Surgical Center       Unlisted Procedure, Arthroscopy…      5/30/2020   29999     $1,472.45
1078121-01    S.A.        Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Knee, Surgical, For R…      5/30/2020   G0289     $1,472.45
1078121-01    S.A.              Fifth Avenue Surgery Center LLC            Arthrocentesis, Aspiration And/Or …     10/23/2020   20610      $473.39
1078121-01    S.A.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; S…    10/23/2020   29821     $5,677.77
1078121-01    S.A.              Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; D…     10/23/2020   29823     $1,472.45
1078121-01    S.A.              Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; W…     10/23/2020   29825     $1,472.45
1078121-01    S.A.              Fifth Avenue Surgery Center LLC               Unlisted Procedure, Arthroscopy…     10/23/2020   29999     $1,472.45
1078121-01    S.A.              Fifth Avenue Surgery Center LLC             Injection, Anesthetic Agent; Brach…    10/23/2020   64415      $979.78
1078121-01    S.A.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…     10/23/2020   76942      $341.96
1078121-01    S.A.              Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…      10/23/2020   A4649       $50.00
1078111-01    F.P.              Fifth Avenue Surgery Center LLC            Arthrocentesis, Aspiration And/Or …      3/17/2020   20610      $473.39
1078111-01    F.P.              Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical; Synov…      3/17/2020   29875     $1,472.45
1078111-01    F.P.              Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical; With …      3/17/2020   29880     $3,026.24
1078111-01    F.P.              Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Femor…      3/17/2020   64447      $829.30
1078111-01    F.P.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…      3/17/2020   76942      $341.96
1078111-01    F.P.              Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical, For R…      3/17/2020   G0289     $1,472.45
1078111-01    F.P.              New Horizon Surgical Center LLC            Repair, Secondary, Disrupted Ligam…      6/12/2020   27698     $1,615.30
1078111-01    F.P.              New Horizon Surgical Center LLC            Arthroscopically Aided Repair Of L…      6/12/2020   29892     $5,677.77
1078111-01    F.P.              New Horizon Surgical Center LLC            Arthroscopy, Ankle (Tibiotalar And…      6/12/2020   29895     $1,472.45
1078111-01    F.P.              New Horizon Surgical Center LLC            Arthroscopy, Ankle (Tibiotalar And…      6/12/2020   29898     $1,472.45
1078111-01    F.P.              New Horizon Surgical Center LLC              Injection, Anesthetic Agent; Sciat…    6/12/2020   64445      $976.38
1078111-01    F.P.              New Horizon Surgical Center LLC            Injection, Anesthetic Agent; Femor…      6/12/2020   64447      $447.52
1078111-01    F.P.              New Horizon Surgical Center LLC            Ultrasonic Guidance For Needle Pla…      6/12/2020   76942      $341.96
1078111-01    F.P.              New Horizon Surgical Center LLC               Surgical Supply; Miscellaneous…       6/12/2020   A4649       $50.00
1077876-03    F.T.                Manalapan Surgery Center Inc             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      9/19/2020   62321      $976.38
1077876-03    F.T.                Manalapan Surgery Center Inc                Surgical Supply; Miscellaneous…       9/19/2020   A4649       $50.00
1077876-03    F.T.              New Horizon Surgical Center LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      11/7/2020   62321      $976.38
1077876-03    F.T.              New Horizon Surgical Center LLC            Epidurography, Radiological Superv…      11/7/2020   72275      $572.53
1077876-03    F.T.              New Horizon Surgical Center LLC               Surgical Supply; Miscellaneous…       11/7/2020   A4649       $50.00
1077876-03    F.T.           Rockland & Bergen Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…     1/22/2021   29821     $5,677.77
1077876-03    F.T.           Rockland & Bergen Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…      1/22/2021   29823     $1,472.45
1077876-03    F.T.           Rockland & Bergen Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…      1/22/2021   29826     $1,472.45
1077876-03    F.T.           Rockland & Bergen Surgery Center LLC           Injection, Anesthetic Agent; Brach…     1/22/2021   64415      $979.78
1077876-03    F.T.           Rockland & Bergen Surgery Center LLC          Ultrasonic Guidance For Needle Pla…      1/22/2021   76942      $341.96
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                                                           1670
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1077876-03    F.T.          Rockland & Bergen Surgery Center LLC           Surgical Supply; Miscellaneous…     1/22/2021   A4649       $50.00
1078970-01    R.R.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    6/23/2020   22526     $2,605.78
1078970-01    R.R.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    6/23/2020   22527     $2,605.79
1078970-01    R.R.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…     6/23/2020   62287     $5,292.93
1078970-01    R.R.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     6/23/2020   A4649       $72.00
1078970-01    R.R.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      8/3/2020   62321      $976.38
1078970-01    R.R.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…      8/3/2020   A4649       $72.00
1078970-01    R.R.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…     9/3/2020   22526     $2,605.78
1078970-01    R.R.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr…      9/3/2020   63075     $5,292.93
1078970-01    R.R.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      9/3/2020   A4649       $50.00
1077548-01    J.P.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Knee, Surgical; Synov…     5/28/2020   29875     $1,472.45
1077548-01    J.P.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Knee, Surgical; With …    5/28/2020   29880     $3,026.24
1077548-01    J.P.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Knee, Surgical, For R…    5/28/2020   G0289     $1,472.45
1077548-01    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     7/30/2020   20553      $236.69
1077548-01    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     7/30/2020   62323      $976.38
1077548-01    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…     7/30/2020   72275      $572.53
1077548-01    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     7/30/2020   A4649       $50.00
1078303-02    N.S.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te…     12/3/2020   23405      $141.25
1078303-02    N.S.          All City Family Healthcare Center, Inc.    Tenotomy, Shoulder Area; Single Te…     12/3/2020   23405     $1,839.77
1078303-02    N.S.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   12/3/2020   29821     $5,677.77
1078303-02    N.S.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   12/3/2020   29821      $190.42
1078303-02    N.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    12/3/2020   29823      $200.95
1078303-02    N.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    12/3/2020   29823     $1,472.45
1078303-02    N.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    12/3/2020   29825      $202.51
1078303-02    N.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    12/3/2020   29825     $1,472.45
1078303-02    N.S.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   12/3/2020   64415      $979.78
1078303-02    N.S.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     12/3/2020   76942      $341.96
1078303-02    N.S.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     12/3/2020   A4649       $72.00
1078303-02    N.S.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    1/26/2021   22526     $2,605.78
1078303-02    N.S.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced…     1/26/2021   62287     $5,292.93
1078303-02    N.S.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     1/26/2021   A4649       $50.00
1078303-02    N.S.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…   3/11/2021   20552      $236.69
1078303-02    N.S.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     3/11/2021   62321      $976.38
1078303-02    N.S.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…     3/11/2021   72275      $572.53
1078303-02    N.S.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     3/11/2021   76942      $341.96
1078303-02    N.S.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     3/11/2021   A4649       $72.00
1078303-02    N.S.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    3/18/2021   22526     $2,605.78
1078303-02    N.S.            Rockaways ASC Development LLC            Diskectomy, Anterior, With Decompr…     3/18/2021   63075     $5,292.93
1078303-02    N.S.            Rockaways ASC Development LLC             Infectious Agent Detection By Nucl…    3/18/2021   87635       $51.33
1078303-02    N.S.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     3/18/2021   A4649       $50.00
1078217-01    M.C.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     7/15/2020   62323      $976.38
1078217-01    M.C.          Bronx SC LLC d/b/a Empire State ASC        Epidurography, Radiological Superv…     7/15/2020   72275      $572.53
1078217-01    M.C.          Bronx SC LLC d/b/a Empire State ASC            Surgical Supply; Miscellaneous…     7/15/2020   A4649       $50.00
1078217-01    M.C.             New Horizon Surgical Center LLC         Arthroscopy, Knee, Surgical; Synov…     12/2/2020   29876     $1,472.45
1078217-01    M.C.             New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical; With …    12/2/2020   29880     $3,026.24
1078217-01    M.C.             New Horizon Surgical Center LLC          Injection, Anesthetic Agent; Femor…    12/2/2020   64447      $829.30
1078217-01    M.C.             New Horizon Surgical Center LLC         Ultrasonic Guidance For Needle Pla…     12/2/2020   76942      $341.96
1077797-01    J.C.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…   2/11/2020   20553      $554.74
1077797-01    J.C.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     2/11/2020   62321      $976.38
1077797-01    J.C.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…     2/11/2020   72275      $572.52
1077797-01    J.C.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     2/11/2020   76942      $423.32
1077797-01    J.C.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy, Shoulder, Surgical; S…    3/9/2020   29821     $5,677.77
1077797-01    J.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; D…     3/9/2020   29823     $1,472.45
1077797-01    J.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; D…     3/9/2020   29826     $1,472.45
1077797-01    J.C.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection, Anesthetic Agent; Brach…    3/9/2020   64415      $979.78
1077797-01    J.C.       Surgicore LLC d/b/a Surgicore Surgical Center Ultrasonic Guidance For Needle Pla…      3/9/2020   76942      $341.96
1077130-02    S.R.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   2/22/2020   29821     $5,677.77
1077130-02    S.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    2/22/2020   29823     $1,472.45
1077130-02    S.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W…    2/22/2020   29825     $1,472.45
1077130-02    S.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    2/22/2020   29826     $1,472.45
1077130-02    S.R.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   2/22/2020   64415      $979.78
1077130-02    S.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     2/22/2020   76942      $341.96
1077130-02    S.R.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…      6/5/2020   29875     $1,472.45
1077130-02    S.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …     6/5/2020   29881     $3,026.24
1077130-02    S.R.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…      6/5/2020   a4649       $72.00
1077130-02    S.R.            Rockaways ASC Development LLC            Manipulation Of Spine Requiring An…     7/11/2020   22505      $748.08
1077130-02    S.R.            Rockaways ASC Development LLC            Manipulation Of Spine Requiring An…     7/11/2020   22505     $1,577.52
1077130-02    S.R.            Rockaways ASC Development LLC            Manipulation Under Anesthesia, Sho…     7/11/2020   23700      $748.08
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                                                          1671
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1077130-02    S.R.            Rockaways ASC Development LLC            Manipulation Of Knee Joint Under G… 7/11/2020     27570      $748.08
1077130-02    S.R.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…    7/11/2020   A4649       $50.00
1078716-01    M.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/3/2020      62323      $976.38
1078716-01    M.J.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 10/31/2020   22526     $2,605.78
1078716-01    M.J.               Surgicore of Jersey City LLC          Aspiration Or Decompression Proced… 10/31/2020    62287     $5,292.93
1078716-01    M.J.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…   10/31/2020   A4649       $50.00
1078716-01    M.J.               Surgicore of Jersey City LLC          Probe, Percutaneous Lumbar Discect… 10/31/2020    C2614     $1,495.00
1077927-02    S.W.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…   7/3/2020   29821     $2,798.20
1077927-02    S.W.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…   7/3/2020   29823     $1,472.45
1077927-02    S.W.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…   7/3/2020   29826     $1,472.45
1077927-02    S.W.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…   7/3/2020   29827     $5,677.77
1077927-02    S.W.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…   7/3/2020   64415      $979.78
1077927-02    S.W.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…    7/3/2020   76942      $341.96
1077927-02    S.W.             Fifth Avenue Surgery Center LLC            Surgical Supply; Miscellaneous…     7/3/2020   A4649       $50.00
1077927-02    S.W.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov…    8/4/2021   29876     $1,472.45
1077927-02    S.W.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; Abras…   8/4/2021   29879     $1,472.45
1077927-02    S.W.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With …   8/4/2021   29880     $3,026.24
1077927-02    S.W.               Surgicore of Jersey City LLC            Unlisted Procedure, Arthroscopy…     8/4/2021   29999     $1,472.45
1077927-02    S.W.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…     8/4/2021   A4649       $50.00
1077927-02    S.W.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical, For R…   8/4/2021   G0289     $1,472.45
1077927-02    S.W.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …   8/4/2021   L8699      $125.00
1076082-01    V.C.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…  2/10/2020   20552      $554.74
1076082-01    V.C.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/10/2020     62321      $976.38
1076082-01    V.C.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 2/10/2020     72275      $572.52
1076082-01    V.C.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 2/10/2020     76942      $423.32
1076082-01    V.C.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…   3/9/2020   20552      $554.74
1076082-01    V.C.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/9/2020      62321      $976.38
1076082-01    V.C.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 3/9/2020      72275      $572.52
1076082-01    V.C.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…    3/9/2020   76942      $423.32
1076082-01    V.C.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…  7/15/2020   20553      $236.69
1076082-01    V.C.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/15/2020     62321      $976.38
1076082-01    V.C.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 7/15/2020     72275      $572.53
1076082-01    V.C.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 7/15/2020     76942      $341.96
1076082-01    V.C.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…    7/15/2020   A4649       $50.00
1076082-01    V.C.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; S…  10/6/2020   29821     $5,677.77
1076082-01    V.C.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 10/6/2020    29823     $1,472.45
1076082-01    V.C.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; W… 10/6/2020    29825     $1,472.45
1076082-01    V.C.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 10/6/2020    29826     $1,472.45
1076082-01    V.C.             New Horizon Surgical Center LLC          Injection, Anesthetic Agent; Brach…  10/6/2020   64415      $979.78
1076082-01    V.C.             New Horizon Surgical Center LLC         Ultrasonic Guidance For Needle Pla… 10/6/2020     76942      $341.96
1076082-01    V.C.             New Horizon Surgical Center LLC            Surgical Supply; Miscellaneous…    10/6/2020   A4649       $50.00
1076082-01    V.C.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…  11/9/2020   20552      $236.69
1076082-01    V.C.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/9/2020     62321      $976.38
1076082-01    V.C.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 11/9/2020     72275      $572.53
1076082-01    V.C.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla… 11/9/2020     76942      $341.96
1076082-01    V.C.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…    11/9/2020   A4649       $50.00
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    2/3/2020   20553      $236.69
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/3/2020      62321      $976.38
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 2/3/2020      72275      $572.53
1075744-01    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center Diskectomy, Anterior, With Decompr… 2/29/2020     63075     $5,292.93
1075744-01    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center Diskectomy, Anterior, With Decompr… 2/29/2020     63076     $2,605.78
1075744-01    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center Fluor Gid & Loclzj Ndl/Cath Spi Dx… 2/29/2020     77003      $572.53
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    3/9/2020   20553      $236.69
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/9/2020      62323      $976.38
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 3/9/2020      72275      $572.53
1075744-01    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection(S); Single Or Multiple T…  7/11/2020   20553      $236.70
1075744-01    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center Aspiration Or Decompression Proced… 7/11/2020     62287     $5,292.93
1075744-01    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center    Surgical Supply; Miscellaneous…    7/11/2020   A4649       $50.00
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…   8/11/2020   20553      $236.70
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent And/Or… 8/11/2020     64483      $447.52
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent And/Or… 8/11/2020     64483      $976.38
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent And/Or… 8/11/2020     64484      $447.52
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    8/11/2020   A4649       $50.00
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 10/6/2020     64493      $976.38
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 10/6/2020     64493      $447.52
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 10/6/2020     64494      $447.52
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 10/6/2020     64495      $447.52
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    10/6/2020   A4649       $50.00
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                                                          1672
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1074887-01    J.J.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 1/13/2020     22505      $748.08
1074887-01    J.J.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 1/13/2020     23700     $1,577.52
1074887-01    J.J.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 1/13/2020    27198      $405.94
1074887-01    J.J.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 1/17/2020     22505      $748.08
1074887-01    J.J.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 1/17/2020     23700     $1,577.52
1074887-01    J.J.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 1/17/2020    27198      $405.94
1074887-01    J.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 3/10/2020     22526     $2,605.78
1074887-01    J.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 3/10/2020     62287     $5,292.93
1076137-01    N.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 2/24/2020     29875     $1,472.45
1076137-01    N.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Abras… 2/24/2020     29879     $1,472.45
1076137-01    N.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 2/24/2020    29881     $3,026.24
1076137-01    N.H.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…    2/24/2020   29999     $1,472.45
1076137-01    N.H.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/26/2020     62323      $976.38
1076137-01    N.H.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    6/26/2020   A4649       $50.00
1076103-02    R.A.              Manalapan Surgery Center Inc           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/10/2020     62323      $976.38
1076103-02    R.A.              Manalapan Surgery Center Inc           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/17/2020     62323      $976.38
1076103-02    R.A.            New Horizon Surgical Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/7/2020      62323      $976.38
1076103-02    R.A.            New Horizon Surgical Center LLC          Epidurography, Radiological Superv… 3/7/2020      72275      $572.53
1074134-03    M.F.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…    3/5/2020   29875     $1,472.45
1074134-03    M.F.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …   3/5/2020   29880     $3,026.24
1074134-03    M.F.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …   3/5/2020   29884     $1,472.45
1074134-03    M.F.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor…   3/5/2020   64447      $829.30
1074134-03    M.F.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…    3/5/2020   76942      $341.96
1074134-03    M.F.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical, For R…   3/5/2020   G0289     $1,472.45
1074134-03    M.F.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; S…  6/24/2020   29821     $5,677.77
1074134-03    M.F.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; D… 6/24/2020    29823     $1,472.45
1074134-03    M.F.            New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; W… 6/24/2020     29825     $1,472.45
1074134-03    M.F.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; D… 6/24/2020    29826     $1,472.45
1074134-03    M.F.            New Horizon Surgical Center LLC           Injection, Anesthetic Agent; Brach…  6/24/2020   64415      $979.78
1074134-03    M.F.            New Horizon Surgical Center LLC          Ultrasonic Guidance For Needle Pla… 6/24/2020     76942      $341.96
1074134-03    M.F.            New Horizon Surgical Center LLC             Surgical Supply; Miscellaneous…    6/24/2020   A4649       $50.00
1075589-01    G.N.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or … 6/26/2020    20610      $473.38
1075589-01    G.N.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho… 6/26/2020     23700      $748.08
1075589-01    G.N.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…  6/26/2020   29821     $2,798.20
1075589-01    G.N.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 6/26/2020    29823     $1,472.45
1075589-01    G.N.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W… 6/26/2020     29825     $1,472.45
1075589-01    G.N.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 6/26/2020    29826     $1,472.45
1075589-01    G.N.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W… 6/26/2020     29827     $5,677.77
1075589-01    G.N.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…  6/26/2020   64415      $979.78
1075589-01    G.N.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 6/26/2020     76942      $341.96
1075589-01    G.N.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…    6/26/2020   A4649       $72.00
1075589-01    G.N.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 11/6/2020     22526     $2,605.78
1075589-01    G.N.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 11/6/2020     22527     $2,605.79
1075589-01    G.N.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 11/6/2020     62287     $5,292.93
1075589-01    G.N.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    11/6/2020   A4649       $50.00
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Of Spine Requiring An… 9/15/2020     22505      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Under Anesthesia, Sho… 9/15/2020     23700      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Closed Treatment Of Posterior Pelv… 9/15/2020     27198      $405.94
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation, Hip Joint, Requiring… 9/15/2020     27275      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation, Hip Joint, Requiring… 9/15/2020     27275     $1,577.52
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    9/15/2020   A4649       $50.00
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Of Spine Requiring An… 9/16/2020     22505      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Under Anesthesia, Sho… 9/16/2020     23700      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Closed Treatment Of Posterior Pelv… 9/16/2020     27198      $405.93
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Closed Treatment Of Posterior Pelv… 9/16/2020     27198      $405.94
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation, Hip Joint, Requiring… 9/16/2020     27275      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation, Hip Joint, Requiring… 9/16/2020     27275     $1,577.52
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    9/16/2020   A4649       $50.00
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Of Spine Requiring An… 9/17/2020     22505      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Under Anesthesia, Sho… 9/17/2020     23700      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Closed Treatment Of Posterior Pelv… 9/17/2020     27198      $405.93
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Closed Treatment Of Posterior Pelv… 9/17/2020     27198      $405.94
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation, Hip Joint, Requiring… 9/17/2020     27275      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation, Hip Joint, Requiring… 9/17/2020     27275     $1,577.52
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    9/17/2020   A4649       $50.00
1075169-01    M.G.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 10/21/2021   22526     $2,605.78
1075169-01    M.G.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 10/21/2021    62287     $5,292.93
1075461-02    S.T.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 11/5/2020     29875     $1,472.45
                                                                 85 of 124                                                            Exhibit 3
       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 226 of 580 PageID #:
                                                           1673
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1075461-02    S.T.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …     11/5/2020   29880     $3,026.24
1075461-02    S.T.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…      11/5/2020   A4649       $72.00
1075461-02    S.T.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R…     11/5/2020   G0289     $1,472.45
1075461-02    S.T.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…   11/19/2020   20552      $236.69
1075461-02    S.T.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     11/19/2020   62321      $976.38
1075461-02    S.T.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…     11/19/2020   72275      $572.53
1075461-02    S.T.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     11/19/2020   76942      $341.96
1075461-02    S.T.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     11/19/2020   A4649       $50.00
1075461-02    S.T.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…   11/30/2020   20552      $236.69
1075461-02    S.T.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     11/30/2020   62323      $976.38
1075461-02    S.T.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…     11/30/2020   72275      $572.53
1075461-02    S.T.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     11/30/2020   76942      $341.96
1075461-02    S.T.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     11/30/2020   A4649       $72.00
1074585-01    C.D.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…    11/8/2020   20552      $236.69
1074585-01    C.D.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      11/8/2020   62323      $976.38
1074585-01    C.D.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…      11/8/2020   72275      $572.53
1074585-01    C.D.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…      11/8/2020   76942      $341.96
1074585-01    C.D.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…      11/8/2020   A4649       $50.00
1074585-01    C.D.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …    11/17/2020   20610      $473.39
1074585-01    C.D.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…    11/17/2020   29821     $5,677.77
1074585-01    C.D.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…    11/17/2020   29823     $1,472.45
1074585-01    C.D.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…   11/17/2020   64415      $979.78
1074585-01    C.D.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     11/17/2020   76942      $341.96
1074585-01    C.D.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…     11/17/2020   A4649       $50.00
1074585-01    C.D.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…     5/16/2021   22526     $2,605.78
1074585-01    C.D.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…      5/16/2021   62287     $5,292.93
1074585-01    C.D.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…      5/16/2021   A4649       $72.00
1074360-04    T.B.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or…     1/27/2020   64479      $976.38
1074360-04    T.B.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or…     1/27/2020   64480      $447.52
1074360-04    T.B.            Fifth Avenue Surgery Center LLC            Injection(S); Single Or Multiple T…    12/6/2020   20553      $236.69
1074360-04    T.B.            Fifth Avenue Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      12/6/2020   62323      $976.38
1074360-04    T.B.            Fifth Avenue Surgery Center LLC          Epidurography, Radiological Superv…      12/6/2020   72275      $572.53
1074360-04    T.B.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…      12/6/2020   76942      $341.96
1074360-04    T.B.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…      12/6/2020   A4649       $50.00
1074360-04    T.B.            Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulopl…    12/13/2020   22526     $2,605.78
1074360-04    T.B.            Fifth Avenue Surgery Center LLC          Aspiration Or Decompression Proced…     12/13/2020   62287     $5,292.93
1074360-04    T.B.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…     12/13/2020   A4649       $50.00
1074583-02    Y.T.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…       2/4/2020   22505      $748.08
1074583-02    Y.T.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…       2/4/2020   22505     $1,577.52
1074583-02    Y.T.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…       2/4/2020   23700      $748.08
1074583-02    Y.T.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…       2/6/2020   22505      $748.08
1074583-02    Y.T.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…       2/6/2020   22505     $1,577.52
1074583-02    Y.T.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…       2/6/2020   23700      $748.08
1074583-02    Y.T.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…      2/10/2020   22505      $748.08
1074583-02    Y.T.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…      2/10/2020   22505     $1,577.52
1074583-02    Y.T.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…      2/10/2020   23700      $748.08
1074583-02    Y.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…       3/7/2020   29821     $5,677.77
1074583-02    Y.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…       3/7/2020   29823     $1,472.45
1074583-02    Y.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W…       3/7/2020   29825     $1,472.45
1074583-02    Y.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…       3/7/2020   29826     $1,472.45
1074602-03    G.L.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…      8/19/2020   29875     $1,472.45
1074602-03    G.L.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Abras…      8/19/2020   29879     $1,472.45
1074602-03    G.L.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …     8/19/2020   29880     $3,026.24
1074602-03    G.L.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Femor…     8/19/2020   64447      $829.30
1074602-03    G.L.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      8/19/2020   76942      $341.96
1074602-03    G.L.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…      8/19/2020   A4649       $72.00
1074602-03    G.L.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R…     8/19/2020   G0289     $1,472.45
1074602-03    G.L.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …    11/24/2020   20610      $473.39
1074602-03    G.L.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…     11/24/2020   29875     $1,472.45
1074602-03    G.L.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …    11/24/2020   29880     $3,026.24
1074602-03    G.L.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor…    11/24/2020   64447      $829.30
1074602-03    G.L.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     11/24/2020   76942      $341.96
1074602-03    G.L.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…     11/24/2020   A4649       $50.00
1074602-03    G.L.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical, For R…    11/24/2020   G0289     $1,472.45
1075278-02    M.L.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      2/20/2020   62323      $976.38
1075278-02    M.L.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…      2/20/2020   72275      $572.53
1075278-02    M.L.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…    9/14/2020   20552      $236.69
1075278-02    M.L.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      9/14/2020   62321      $976.38
                                                                  86 of 124                                                              Exhibit 3
       Case 1:24-cv-08606-JRC                 Document 1-4 Filed 12/17/24                      Page 227 of 580 PageID #:
                                                          1674
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                            Service     Code       Billed
1075278-02    M.L.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…     9/14/2020   72275      $572.53
1075278-02    M.L.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     9/14/2020   76942      $341.96
1075278-02    M.L.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      9/14/2020   A4649       $50.00
1075278-02    M.L.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…    9/17/2020   22526     $2,605.78
1075278-02    M.L.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced…     9/17/2020   62287     $5,292.93
1075278-02    M.L.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      9/17/2020   A4649       $50.00
1074133-02    W.R.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…     2/10/2020   22505      $748.08
1074133-02    W.R.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…    2/10/2020   27198      $405.94
1074133-02    W.R.               Surgicore of Jersey City LLC           Manipulation, Hip Joint, Requiring…    2/10/2020   27275     $1,577.52
1074133-02    W.R.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…     2/12/2020   22505      $748.08
1074133-02    W.R.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…    2/12/2020   27198      $405.94
1074133-02    W.R.               Surgicore of Jersey City LLC           Manipulation, Hip Joint, Requiring…    2/12/2020   27275     $1,577.52
1074133-02    W.R.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…     2/14/2020   22505      $748.08
1074133-02    W.R.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…    2/14/2020   27198      $405.94
1074133-02    W.R.               Surgicore of Jersey City LLC           Manipulation, Hip Joint, Requiring…    2/14/2020   27275     $1,577.52
1074133-02    W.R.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Diagnostic,…    8/28/2020   29805     $1,472.45
1074133-02    W.R.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; S…    8/28/2020   29821     $5,677.77
1074133-02    W.R.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; D…    8/28/2020   29823     $1,472.45
1074133-02    W.R.           Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; W…     8/28/2020   29825     $1,472.45
1074133-02    W.R.           Rockaways ASC Development LLC               Unlisted Procedure, Arthroscopy…      8/28/2020   29999     $1,472.45
1074133-02    W.R.           Rockaways ASC Development LLC              Injection, Anesthetic Agent; Brach…    8/28/2020   64415      $979.78
1074133-02    W.R.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…     8/28/2020   76942      $341.96
1074133-02    W.R.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      8/28/2020   A4649       $50.00
1074133-02    W.R.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    9/30/2020   22526     $2,605.78
1074133-02    W.R.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    9/30/2020   22527     $2,605.79
1074133-02    W.R.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…     9/30/2020   62287     $5,292.93
1074133-02    W.R.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      9/30/2020   A4649       $72.00
1074012-01    J.O.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…     7/10/2020   22526     $2,605.78
1074012-01    J.O.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced…     7/10/2020   62287     $5,292.93
1074012-01    J.O.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      7/10/2020   A4649       $50.00
1074012-01    J.O.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…      8/3/2020   29821     $2,798.20
1074012-01    J.O.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W…      8/3/2020   29825     $1,472.45
1074012-01    J.O.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W…      8/3/2020   29827     $5,677.77
1074012-01    J.O.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…      8/3/2020   64415      $979.78
1074012-01    J.O.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…      8/3/2020   76942      $341.96
1074012-01    J.O.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…       8/3/2020   A4649       $50.00
1074012-01    J.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    10/16/2020   64493      $447.52
1074012-01    J.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    10/16/2020   64493      $976.38
1074012-01    J.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    10/16/2020   64494      $447.52
1074012-01    J.O.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…    10/16/2020   64495      $447.52
1074012-01    J.O.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…     10/16/2020   A4649       $50.00
1074012-01    J.O.           Rockaways ASC Development LLC              Dstr Nrolytc Agnt Parverteb Fct Sn…    12/9/2020   64635      $976.38
1074012-01    J.O.           Rockaways ASC Development LLC             Dstr Nrolytc Agnt Parverteb Fct Ad…     12/9/2020   64636      $447.52
1074012-01    J.O.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      12/9/2020   A4649       $50.00
1074668-03    W.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With …     3/12/2020   29881     $3,026.24
1074668-03    W.G.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     8/24/2020   62323      $976.38
1074668-03    W.G.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…     8/24/2020   72275      $572.53
1074668-03    W.G.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…      8/24/2020   A4649       $50.00
1074670-01    A.F.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     2/22/2020   62323      $976.38
1074670-01    A.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     8/14/2020   62321      $976.38
1074670-01    A.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…     8/14/2020   72275      $572.53
1074670-01    A.F.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      8/14/2020   A4649       $50.00
1074670-01    A.F.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…     9/4/2020   22526     $2,605.78
1074670-01    A.F.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…     9/4/2020   22527     $2,605.78
1074670-01    A.F.               Surgicore of Jersey City LLC          Aspiration Or Decompression Proced…      9/4/2020   62287     $5,292.93
1074670-01    A.F.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…       9/4/2020   A4649       $50.00
1074670-01    A.F.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl…   11/14/2020   22526     $5,292.93
1074670-01    A.F.               Surgicore of Jersey City LLC          Unlisted Procedure, Nervous System…    11/14/2020   64999      $373.98
1074670-01    A.F.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…     11/14/2020   A4649       $50.00
1074670-01    A.F.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …   11/14/2020   L8699     $1,495.00
1074670-03    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     7/17/2020   62323      $976.38
1074670-03    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…     7/17/2020   72275      $572.53
1074670-03    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      7/17/2020   A4649       $50.00
1074670-03    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     8/16/2020   20553      $236.69
1074670-03    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     8/16/2020   62321      $976.38
1074670-03    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…     8/16/2020   72275      $572.53
1074670-03    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      8/16/2020   A4649       $50.00
1074670-03    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     8/23/2020   20553      $236.69
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                                                          1675
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1074670-03    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/23/2020     62323      $976.38
1074670-03    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 8/23/2020     72275      $572.53
1074670-03    E.E.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    8/23/2020   A4649       $50.00
1074670-03    E.E.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…   1/3/2021   22526     $2,605.78
1074670-03    E.E.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 1/3/2021      62287     $5,292.93
1074670-03    E.E.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     1/3/2021   A4649       $50.00
1074670-04    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…   8/16/2020   20553      $236.69
1074670-04    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/16/2020     62321      $976.38
1074670-04    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 8/16/2020     72275      $572.53
1074670-04    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    8/16/2020   A4649       $50.00
1074670-04    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…   8/23/2020   20553      $236.69
1074670-04    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/23/2020     62323      $976.38
1074670-04    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 8/23/2020     72275      $572.53
1074670-04    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    8/23/2020   A4649       $50.00
1074670-04    F.L.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl…   1/3/2021   22526     $2,605.78
1074670-04    F.L.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 1/3/2021      62287     $5,292.93
1074670-04    F.L.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     1/3/2021   A4649       $50.00
1074670-04    F.L.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/19/2021     62323      $976.38
1074670-04    F.L.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 3/19/2021     72275      $572.53
1074670-04    F.L.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    3/19/2021   A4649       $50.00
1074396-02    J.E.         Bronx SC LLC d/b/a Empire State ASC          Injection(S); Single Or Multiple T…  2/28/2020   20553      $554.76
1074396-02    J.E.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; S… 10/20/2020   29821     $5,677.77
1074396-02    J.E.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; D… 10/20/2020   29826     $1,472.45
1074396-02    J.E.            New Horizon Surgical Center LLC          Arthroscopy Shoulder Surgical Bice… 10/20/2020    29828     $2,798.20
1074396-02    J.E.            New Horizon Surgical Center LLC           Injection, Anesthetic Agent; Brach… 10/20/2020   64415      $979.78
1074396-02    J.E.            New Horizon Surgical Center LLC          Ultrasonic Guidance For Needle Pla… 10/20/2020    76942      $341.96
1074396-02    J.E.            New Horizon Surgical Center LLC             Surgical Supply; Miscellaneous…   10/20/2020   A4649       $50.00
1074007-01    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…    8/3/2020   29821     $5,677.77
1074007-01    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…    8/3/2020   29823     $1,472.45
1074007-01    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…    8/3/2020   29826     $1,472.45
1074007-01    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surgical Bice…    8/3/2020   29828     $2,798.20
1074007-01    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…    8/3/2020   64415      $979.78
1074007-01    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…    8/3/2020   76942      $341.96
1074007-01    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…     8/3/2020   A4649       $50.00
1074007-01    G.C.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 9/30/2020    22526     $2,605.78
1074007-01    G.C.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 9/30/2020     62287     $5,292.93
1074007-01    G.C.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    9/30/2020   A4649       $50.00
1073298-03    J.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/2/2020      62321      $976.38
1073298-03    J.C.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 3/2/2020      72275      $572.53
1073298-03    J.C.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…  8/20/2020   20553      $236.69
1073298-03    J.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/20/2020     62323      $976.38
1073298-03    J.C.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 8/20/2020     72275      $572.53
1073298-03    J.C.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 8/20/2020     76942      $341.96
1073298-03    J.C.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    8/20/2020   A4649       $50.00
1073298-03    J.C.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 9/22/2020    22526     $2,605.78
1073298-03    J.C.           Rockaways ASC Development LLC             Aspiration Or Decompression Proced… 9/22/2020     62287     $5,292.93
1073298-03    J.C.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    9/22/2020   A4649       $50.00
1073298-03    J.C.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 11/16/2020   22526     $2,605.78
1073298-03    J.C.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 11/16/2020    63075     $5,292.93
1073298-03    J.C.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…   11/16/2020   A4649       $50.00
1073298-03    J.C.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 10/21/2021   20552      $236.69
1073298-03    J.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/21/2021    62321      $976.38
1073298-03    J.C.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 10/21/2021    72275      $572.53
1073298-03    J.C.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 10/21/2021    76942      $341.96
1073298-03    J.C.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 10/28/2021   20553      $554.76
1073298-03    J.C.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 10/28/2021    76942      $341.96
1073298-03    J.C.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 11/23/2021   20552      $236.69
1073298-03    J.C.           Rockaways ASC Development LLC              Dstr Nrolytc Agnt Parverteb Fct Sn… 11/23/2021   64633      $976.38
1073298-03    J.C.           Rockaways ASC Development LLC              Dstr Nrolytc Agnt Parverteb Fct Ad… 11/23/2021   64634      $447.52
1073298-03    J.C.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 11/23/2021    76942      $341.96
1073437-01    M.G.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 12/30/2019    22505     $1,577.52
1073437-01    M.G.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 12/30/2019   27198      $405.94
1073437-01    M.G.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 1/6/2020      22505     $1,577.52
1073437-01    M.G.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…   1/6/2020   27198      $405.94
1073437-01    M.G.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 1/22/2020     22505     $1,577.52
1073437-01    M.G.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 1/22/2020    27198      $405.94
1073437-01    M.G.            New Horizon Surgical Center LLC           Arthroscopy, Wrist, Surgical; Syno… 11/25/2020   29845     $1,472.45
1073437-01    M.G.            New Horizon Surgical Center LLC           Arthroscopy, Wrist, Surgical; Exci… 11/25/2020   29846     $3,026.24
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                                                           1676
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                  Date of     Billing   Amount
                                          Provider                                         Service
 Number      Person                                                                                                   Service     Code       Billed
1073437-01    M.G.            New Horizon Surgical Center LLC                 Injection, Anesthetic Agent; Brach…    11/25/2020   64415      $979.78
1073437-01    M.G.            New Horizon Surgical Center LLC                Ultrasonic Guidance For Needle Pla…     11/25/2020   76942      $341.96
1073437-01    M.G.            New Horizon Surgical Center LLC                   Surgical Supply; Miscellaneous…      11/25/2020   a4649       $50.00
1073573-01    J.G.             Fifth Avenue Surgery Center LLC                Perq Intrdscl Electrothrm Annulopl…     11/8/2020   22526     $2,605.78
1073573-01    J.G.             Fifth Avenue Surgery Center LLC                Perq Intrdscl Electrothrm Annulopl…     11/8/2020   22527     $2,605.79
1073573-01    J.G.             Fifth Avenue Surgery Center LLC               Aspiration Or Decompression Proced…      11/8/2020   62287     $5,292.93
1073573-01    J.G.             Fifth Avenue Surgery Center LLC                  Surgical Supply; Miscellaneous…       11/8/2020   A4649       $50.00
1073573-01    J.G.            Rockaways ASC Development LLC                   Arthrocentesis, Aspiration And/Or …    11/25/2020   20610      $473.38
1073573-01    J.G.            Rockaways ASC Development LLC                   Arthroscopy, Shoulder, Surgical; R…    11/25/2020   29807     $5,677.77
1073573-01    J.G.            Rockaways ASC Development LLC                  Arthroscopy, Shoulder, Surgical; W…     11/25/2020   29819     $1,472.45
1073573-01    J.G.            Rockaways ASC Development LLC                   Arthroscopy, Shoulder, Surgical; S…    11/25/2020   29821     $2,798.20
1073573-01    J.G.            Rockaways ASC Development LLC                   Arthroscopy, Shoulder, Surgical; D…    11/25/2020   29823     $1,472.45
1073573-01    J.G.            Rockaways ASC Development LLC                  Arthroscopy, Shoulder, Surgical; W…     11/25/2020   29825     $1,472.45
1073573-01    J.G.            Rockaways ASC Development LLC                     Unlisted Procedure, Arthroscopy…     11/25/2020   29999     $1,472.45
1073573-01    J.G.            Rockaways ASC Development LLC                   Injection, Anesthetic Agent; Brach…    11/25/2020   64415      $979.78
1073573-01    J.G.            Rockaways ASC Development LLC                  Ultrasonic Guidance For Needle Pla…     11/25/2020   76942      $341.96
1073573-01    J.G.            Rockaways ASC Development LLC                     Surgical Supply; Miscellaneous…      11/25/2020   A4649       $50.00
1073656-01    C.H.               Surgicore of Jersey City LLC                 Arthrocentesis, Aspiration And/Or …     1/31/2020   20610      $236.70
1073656-01    C.H.               Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An…      1/31/2020   22505      $748.08
1073656-01    C.H.               Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho…      1/31/2020   23700      $748.08
1073656-01    C.H.               Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho…      1/31/2020   23700     $1,577.52
1073656-01    C.H.               Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv…     1/31/2020   27198      $405.94
1073656-01    C.H.               Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An…      2/12/2020   22505      $748.08
1073656-01    C.H.               Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho…      2/12/2020   23700      $748.08
1073656-01    C.H.               Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho…      2/12/2020   23700     $1,577.52
1073656-01    C.H.               Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv…     2/12/2020   27198      $405.94
1073656-01    C.H.          All City Family Healthcare Center, Inc.           Arthrocentesis, Aspiration And/Or …     9/18/2020   20610      $473.38
1073656-01    C.H.          All City Family Healthcare Center, Inc.          Manipulation Under Anesthesia, Sho…      9/18/2020   23700      $748.08
1073656-01    C.H.          All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S…     9/18/2020   29821     $5,677.77
1073656-01    C.H.          All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…     9/18/2020   29823     $1,472.45
1073656-01    C.H.          All City Family Healthcare Center, Inc.          Arthroscopy, Shoulder, Surgical; W…      9/18/2020   29825     $1,472.45
1073656-01    C.H.          All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach…     9/18/2020   64415      $979.78
1073656-01    C.H.          All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…      9/18/2020   76942      $341.96
1073656-01    C.H.          All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…       9/18/2020   A4649       $72.00
1072114-01    C.R.          Rockland & Bergen Surgery Center LLC             Simple Repair Of Superficial Wound…      6/11/2020   12001      $369.86
1072114-01    C.R.          Rockland & Bergen Surgery Center LLC             Arthroscopy, Knee, Surgical; Synov…      6/11/2020   29876     $1,472.45
1072114-01    C.R.          Rockland & Bergen Surgery Center LLC              Arthroscopy, Knee, Surgical; With …     6/11/2020   29880     $3,026.24
1072114-01    C.R.          Rockland & Bergen Surgery Center LLC              Arthroscopy, Knee, Surgical; With …     6/11/2020   29884     $1,472.45
1072114-01    C.R.          Rockland & Bergen Surgery Center LLC                Unlisted Procedure, Arthroscopy…      6/11/2020   29999     $1,472.45
1072114-01    C.R.          Rockland & Bergen Surgery Center LLC              Injection, Anesthetic Agent; Femor…     6/11/2020   64447      $829.30
1072114-01    C.R.          Rockland & Bergen Surgery Center LLC             Ultrasonic Guidance For Needle Pla…      6/11/2020   76942      $341.96
1072114-01    C.R.          Rockland & Bergen Surgery Center LLC                Surgical Supply; Miscellaneous…       6/11/2020   A4649       $50.00
1072114-01    C.R.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; C…     8/13/2020   29806     $5,677.77
1072114-01    C.R.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; S…     8/13/2020   29821     $2,798.20
1072114-01    C.R.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; D…     8/13/2020   29822     $1,472.45
1072114-01    C.R.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; D…     8/13/2020   29826     $1,472.45
1072114-01    C.R.             Fifth Avenue Surgery Center LLC                  Unlisted Procedure, Arthroscopy…      8/13/2020   29999     $1,472.45
1072114-01    C.R.             Fifth Avenue Surgery Center LLC                Injection, Anesthetic Agent; Brach…     8/13/2020   64415      $979.78
1072114-01    C.R.             Fifth Avenue Surgery Center LLC               Ultrasonic Guidance For Needle Pla…      8/13/2020   76942      $341.96
1072114-01    C.R.             Fifth Avenue Surgery Center LLC                  Surgical Supply; Miscellaneous…       8/13/2020   A4649       $50.00
1072528-01    D.C.            New Horizon Surgical Center LLC                Arthroscopy, Knee, Surgical; Synov…       2/4/2020   29875     $1,472.45
1072528-01    D.C.            New Horizon Surgical Center LLC                 Arthroscopy, Knee, Surgical; With …      2/4/2020   29880     $3,026.24
1072528-01    D.C.            New Horizon Surgical Center LLC                 Arthroscopy, Knee, Surgical, For R…      2/4/2020   G0289     $1,472.45
1072528-01    D.C.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…    9/16/2020   20553      $236.69
1072528-01    D.C.            Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      9/16/2020   62323      $976.38
1072528-01    D.C.            Rockaways ASC Development LLC                  Epidurography, Radiological Superv…      9/16/2020   72275      $572.53
1072528-01    D.C.            Rockaways ASC Development LLC                  Ultrasonic Guidance For Needle Pla…      9/16/2020   76942      $341.96
1072528-01    D.C.            Rockaways ASC Development LLC                     Surgical Supply; Miscellaneous…       9/16/2020   A4649       $50.00
1072528-01    D.C.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…    10/7/2020   20553      $236.69
1072528-01    D.C.            Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      10/7/2020   62321      $976.38
1072528-01    D.C.            Rockaways ASC Development LLC                  Epidurography, Radiological Superv…      10/7/2020   72275      $572.53
1072528-01    D.C.            Rockaways ASC Development LLC                  Ultrasonic Guidance For Needle Pla…      10/7/2020   76942      $341.96
1072528-01    D.C.            Rockaways ASC Development LLC                     Surgical Supply; Miscellaneous…       10/7/2020   A4649       $50.00
1072528-01    D.C.            New Horizon Surgical Center LLC                Arthroscopy, Knee, Surgical; Synov…     10/20/2020   29875     $1,472.45
1072528-01    D.C.            New Horizon Surgical Center LLC                 Arthroscopy, Knee, Surgical; With …    10/20/2020   29880     $3,026.24
1072528-01    D.C.            New Horizon Surgical Center LLC                   Surgical Supply; Miscellaneous…      10/20/2020   A4649       $50.00
1072528-01    D.C.            New Horizon Surgical Center LLC                 Arthroscopy, Knee, Surgical, For R…    10/20/2020   G0289     $1,472.45
1072528-01    D.C.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…   11/18/2020   20553      $554.76
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                                                          1677
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                            Service     Code       Billed
1072528-01    D.C.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…    11/18/2020   76942      $341.96
1072528-01    D.C.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…     11/18/2020   A4649       $50.00
1072405-01    G.T.            Rockaways ASC Development LLC             Arthrocentesis, Aspiration And/Or …    7/29/2020   20610      $473.38
1072405-01    G.T.            Rockaways ASC Development LLC            Arthroscopy, Shoulder, Surgical; W…     7/29/2020   29819     $1,472.45
1072405-01    G.T.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; S…    7/29/2020   29821     $5,677.77
1072405-01    G.T.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; D…    7/29/2020   29823     $1,472.45
1072405-01    G.T.            Rockaways ASC Development LLC            Arthroscopy, Shoulder, Surgical; W…     7/29/2020   29825     $1,472.45
1072405-01    G.T.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; D…    7/29/2020   29826     $1,472.45
1072405-01    G.T.            Rockaways ASC Development LLC             Injection, Anesthetic Agent; Brach…    7/29/2020   64415      $979.78
1072405-01    G.T.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     7/29/2020   76942      $341.96
1072405-01    G.T.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…      7/29/2020   A4649       $50.00
1072405-01    G.T.             Fifth Avenue Surgery Center LLC          Injection(S); Single Or Multiple T…    12/6/2020   20553      $236.69
1072405-01    G.T.             Fifth Avenue Surgery Center LLC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     12/6/2020   62323      $976.38
1072405-01    G.T.             Fifth Avenue Surgery Center LLC         Epidurography, Radiological Superv…     12/6/2020   72275      $572.53
1072405-01    G.T.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     12/6/2020   76942      $341.96
1072405-01    G.T.             Fifth Avenue Surgery Center LLC            Surgical Supply; Miscellaneous…      12/6/2020   A4649       $50.00
1072405-01    G.T.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…    1/13/2021   20552      $236.69
1072405-01    G.T.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     1/13/2021   62321      $976.38
1072405-01    G.T.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     1/13/2021   76942      $341.96
1072405-01    G.T.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…      1/13/2021   A4649       $50.00
1072405-01    G.T.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    1/24/2021   22526     $2,605.78
1072405-01    G.T.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced…     1/24/2021   62287     $5,292.93
1072405-01    G.T.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…      1/24/2021   A4649       $50.00
1073565-03    J.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    12/27/2019   20553      $236.69
1073565-03    J.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    12/27/2019   62323      $976.38
1073565-03    J.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…    12/27/2019   72275      $572.53
1073565-03    J.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasound, Soft Tissues Of Head A…    12/27/2019   76536      $238.23
1073565-03    J.L.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     1/20/2020   62321      $976.38
1073565-03    J.L.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…     1/20/2020   72275      $572.53
1072155-02    D.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     7/25/2020   64493      $447.52
1072155-02    D.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     7/25/2020   64493      $976.38
1072155-02    D.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     7/25/2020   64494      $447.52
1072155-02    D.D.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     7/25/2020   64495      $447.52
1072155-02    D.D.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…      7/25/2020   A4649       $50.00
1072155-02    D.D.             New Horizon Surgical Center LLC          Perq Intrdscl Electrothrm Annulopl…     8/8/2020   22526     $2,605.78
1072155-02    D.D.             New Horizon Surgical Center LLC         Aspiration Or Decompression Proced…      8/8/2020   62287     $5,292.93
1072155-02    D.D.             New Horizon Surgical Center LLC            Surgical Supply; Miscellaneous…       8/8/2020   A4649       $50.00
1072193-02    J.D.            Rockaways ASC Development LLC             Injection Procedure For Sacroiliac…    2/25/2020   27096      $470.21
1072193-02    J.D.            Rockaways ASC Development LLC             Injection Procedure For Sacroiliac…    2/25/2020   27096      $940.42
1072193-02    J.D.            Rockaways ASC Development LLC             Closed Treatment Of Posterior Pelv…    2/25/2020   27198      $893.24
1072193-02    J.D.            Rockaways ASC Development LLC             Manipulation, Hip Joint, Requiring…    2/25/2020   27275     $1,577.52
1072193-02    J.D.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    5/21/2020   29821     $5,677.77
1072193-02    J.D.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    5/21/2020   29823     $1,472.45
1072193-02    J.D.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     5/21/2020   29825     $1,472.45
1072193-02    J.D.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…      5/21/2020   29999     $1,472.45
1072193-02    J.D.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    5/21/2020   64415      $979.78
1072193-02    J.D.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     5/21/2020   76942      $341.96
1072193-02    J.D.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     7/21/2020   62323      $976.38
1072193-02    J.D.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…     7/21/2020   72275      $572.53
1072193-02    J.D.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…      7/21/2020   A4649       $72.00
1072193-02    J.D.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    8/20/2020   22526     $2,605.78
1072193-02    J.D.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced…     8/20/2020   62287     $5,292.93
1072193-02    J.D.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…      8/20/2020   A4649       $50.00
1072193-02    J.D.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…     9/8/2020   20552      $236.69
1072193-02    J.D.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…      9/8/2020   76942      $341.96
1072193-02    J.D.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…       9/8/2020   A4649       $50.00
1074190-05    K.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; S…    1/19/2021   29821     $5,677.77
1074190-05    K.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; S…    1/19/2021   29821      $190.42
1074190-05    K.M.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Shoulder, Surgical; W…     1/19/2021   29825      $202.51
1074190-05    K.M.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Shoulder, Surgical; W…     1/19/2021   29825     $1,472.45
1074190-05    K.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; D…    1/19/2021   29826       $48.27
1074190-05    K.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; D…    1/19/2021   29826     $1,472.45
1074190-05    K.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent; Brach…    1/19/2021   64415      $979.78
1074190-05    K.M.       Surgicore LLC d/b/a Surgicore Surgical Center Ultrasonic Guidance For Needle Pla…     1/19/2021   76942      $341.96
1074190-05    K.M.       Surgicore LLC d/b/a Surgicore Surgical Center    Surgical Supply; Miscellaneous…      1/19/2021   A4649       $50.00
1074190-05    K.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…     3/8/2021   29821      $190.42
1074190-05    K.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…     3/8/2021   29821     $5,677.77
1074190-05    K.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     3/8/2021   29823      $200.95
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                                                          1678
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                            Service     Code       Billed
1074190-05    K.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     3/8/2021   29823     $1,472.45
1074190-05    K.M.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…      3/8/2021   29825     $1,472.45
1074190-05    K.M.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…      3/8/2021   29825      $202.51
1074190-05    K.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     3/8/2021   29826     $1,472.45
1074190-05    K.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     3/8/2021   29826       $48.27
1074190-05    K.M.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…     3/8/2021   64415      $979.78
1074190-05    K.M.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      3/8/2021   76942      $341.96
1074190-05    K.M.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…       3/8/2021   A4649       $72.00
1071090-05    A.G.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      2/1/2020   62323      $976.38
1071090-05    A.G.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…      2/1/2020   72275      $572.53
1071090-05    A.G.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     2/15/2020   62323      $976.38
1071090-05    A.G.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…     2/15/2020   72275      $572.53
1071090-05    A.G.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     2/29/2020   62323      $976.38
1071090-05    A.G.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…     2/29/2020   72275      $572.53
1071090-05    A.G.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Diagnostic,…    6/26/2020   29805     $1,472.45
1071090-05    A.G.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; S…    6/26/2020   29821     $5,677.77
1071090-05    A.G.            Rockaways ASC Development LLC             Arthroscopy, Shoulder, Surgical; D…    6/26/2020   29823     $1,472.45
1071090-05    A.G.            Rockaways ASC Development LLC            Arthroscopy, Shoulder, Surgical; W…     6/26/2020   29825     $1,472.45
1071090-05    A.G.            Rockaways ASC Development LLC              Unlisted Procedure, Arthroscopy…      6/26/2020   29999     $1,472.45
1071090-05    A.G.            Rockaways ASC Development LLC             Injection, Anesthetic Agent; Brach…    6/26/2020   64415      $979.78
1071090-05    A.G.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     6/26/2020   76942      $341.96
1071090-05    A.G.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…      6/26/2020   A4649       $50.00
1072847-01    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…     1/17/2020   29821     $5,677.77
1072847-01    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…     1/17/2020   29823     $1,472.45
1072847-01    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…     1/17/2020   29826     $1,472.45
1072847-01    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…     1/17/2020   64415      $979.78
1072847-01    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…     1/17/2020   76942      $341.96
1072847-01    A.G.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…    2/11/2020   20553      $554.74
1072847-01    A.G.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     2/11/2020   62323      $976.38
1072847-01    A.G.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…     2/11/2020   72275      $572.52
1072847-01    A.G.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     2/11/2020   76942      $423.32
1070448-01    S.W.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or …   12/20/2019   20610      $236.69
1070448-01    S.W.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…    12/20/2019   29875     $1,472.45
1070448-01    S.W.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …   12/20/2019   29880     $3,026.24
1070448-01    S.W.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …   12/20/2019   29884     $1,472.45
1070448-01    S.W.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…     12/20/2019   29999     $1,472.45
1070448-01    S.W.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; S…    2/24/2020   29821     $5,677.77
1070448-01    S.W.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; D…    2/24/2020   29823     $1,472.45
1070448-01    S.W.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Shoulder, Surgical; W…     2/24/2020   29825     $1,472.45
1070448-01    S.W.       Surgicore LLC d/b/a Surgicore Surgical Center   Unlisted Procedure, Arthroscopy…      2/24/2020   29999     $1,472.45
1070448-01    S.W.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent; Brach…    2/24/2020   64415      $979.78
1070448-01    S.W.       Surgicore LLC d/b/a Surgicore Surgical Center Ultrasonic Guidance For Needle Pla…     2/24/2020   76942      $341.96
1072817-02    A.A.            Rockaways ASC Development LLC            Manipulation Of Spine Requiring An…     1/25/2020   22505     $1,577.52
1072817-02    A.A.            Rockaways ASC Development LLC            Manipulation Under Anesthesia, Sho…     1/25/2020   23700     $1,577.52
1072817-02    A.A.            Rockaways ASC Development LLC             Closed Treatment Of Posterior Pelv…    1/25/2020   27198      $893.24
1072817-02    A.A.            Rockaways ASC Development LLC             Manipulation, Hip Joint, Requiring…    1/25/2020   27275     $1,577.52
1072817-02    A.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…      9/8/2020   22526     $2,605.78
1072817-02    A.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…      9/8/2020   22527     $2,605.79
1072817-02    A.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced…      9/8/2020   62287     $5,292.93
1072817-02    A.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…       9/8/2020   A4649       $50.00
1072289-01    J.F.          Rockland & Bergen Surgery Center LLC       Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/3/2020   64493      $976.38
1072289-01    J.F.          Rockland & Bergen Surgery Center LLC       Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/3/2020   64493      $447.52
1072289-01    J.F.             New Horizon Surgical Center LLC         Arthroscopy, Knee, Surgical; Synov…     7/21/2020   29875     $1,472.45
1072289-01    J.F.             New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical; With …    7/21/2020   29880     $3,026.24
1072289-01    J.F.             New Horizon Surgical Center LLC            Surgical Supply; Miscellaneous…      7/21/2020   A4649       $50.00
1076461-90    G.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     7/13/2020   20553      $236.69
1076461-90    G.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     7/13/2020   62323      $976.38
1076461-90    G.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…     7/13/2020   72275      $572.53
1076461-90    G.D.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      7/13/2020   A4649       $50.00
1076461-90    G.D.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     7/27/2020   62321      $976.38
1076461-90    G.D.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…     7/27/2020   72275      $572.53
1076461-90    G.D.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…      7/27/2020   A4649       $50.00
1070422-02    F.P.          Rockland & Bergen Surgery Center LLC       Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      2/3/2020   62321      $976.38
1070422-02    F.P.          Rockland & Bergen Surgery Center LLC       Epidurography, Radiological Superv…      2/3/2020   72275      $572.53
1070422-02    F.P.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     2/28/2020   64493      $976.38
1070422-02    F.P.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     2/28/2020   64494      $447.52
1070422-02    F.P.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     2/28/2020   64495      $447.52
1069436-01    N.C.             New Horizon Surgical Center LLC         Arthroscopy, Knee, Surgical; Synov…    11/19/2019   29875     $1,472.45
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                                                          1679
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1069436-01    N.C.            New Horizon Surgical Center LLC           Arthroscopy, Knee, Surgical; Abras… 11/19/2019   29879     $1,472.45
1069436-01    N.C.            New Horizon Surgical Center LLC           Arthroscopy, Knee, Surgical; With … 11/19/2019   29881     $3,026.24
1069436-01    N.C.            New Horizon Surgical Center LLC           Arthroscopy, Knee, Surgical, For R… 11/19/2019   G0289     $1,472.45
1069436-01    N.C.           Rockaways ASC Development LLC             Manipulation Of Spine Requiring An… 1/12/2020     22505     $1,577.52
1069436-01    N.C.           Rockaways ASC Development LLC             Manipulation Under Anesthesia, Sho… 1/12/2020     23700     $1,577.52
1069436-01    N.C.           Rockaways ASC Development LLC              Closed Treatment Of Posterior Pelv… 1/12/2020    27198      $893.24
1069436-01    N.C.           Rockaways ASC Development LLC              Manipulation, Hip Joint, Requiring… 1/12/2020    27275     $1,577.52
1069436-01    N.C.           Rockaways ASC Development LLC             Manipulation Of Spine Requiring An… 1/25/2020     22505     $1,577.52
1069436-01    N.C.           Rockaways ASC Development LLC             Manipulation Under Anesthesia, Sho… 1/25/2020     23700     $1,577.52
1069436-01    N.C.           Rockaways ASC Development LLC              Closed Treatment Of Posterior Pelv… 1/25/2020    27198      $893.24
1069436-01    N.C.           Rockaways ASC Development LLC              Manipulation, Hip Joint, Requiring… 1/25/2020    27275     $1,577.52
1069436-01    N.C.           Rockaways ASC Development LLC             Manipulation Of Spine Requiring An… 2/21/2020     22505     $1,577.52
1069436-01    N.C.           Rockaways ASC Development LLC             Manipulation Under Anesthesia, Sho… 2/21/2020     23700     $1,577.52
1069436-01    N.C.           Rockaways ASC Development LLC              Closed Treatment Of Posterior Pelv… 2/21/2020    27198      $893.24
1069436-01    N.C.           Rockaways ASC Development LLC              Manipulation, Hip Joint, Requiring… 2/21/2020    27275     $1,577.52
1069741-02    P.N.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  3/2/2021   20552      $236.69
1069741-02    P.N.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/2/2021      62323      $976.38
1069741-02    P.N.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 3/2/2021      72275      $572.53
1069741-02    P.N.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…    3/2/2021   76942      $341.96
1069741-02    P.N.           Rockaways ASC Development LLC              Infectious Agent Detection By Nucl…   3/2/2021   87635       $51.33
1069741-02    P.N.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    3/2/2021   A4649       $50.00
1069741-02    P.N.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 3/11/2021    22526     $2,605.78
1069741-02    P.N.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 3/11/2021     62287     $5,292.93
1069741-02    P.N.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…   3/11/2021   A4649       $72.00
1069497-02    J.E.            Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; S… 12/1/2019   29821     $1,472.45
1069497-02    J.E.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 12/1/2019    29824     $1,472.45
1069497-02    J.E.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 12/1/2019    29826     $1,472.45
1069497-02    J.E.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 12/1/2019    29827     $5,677.77
1069497-02    J.E.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach… 12/1/2019   64415      $979.78
1069497-02    J.E.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 12/1/2019     76942      $341.96
1069497-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…   1/28/2020   20553      $236.69
1069497-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/28/2020     62323      $976.38
1069497-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 1/28/2020     72275      $572.53
1069497-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…   2/17/2020   20553      $236.69
1069497-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/17/2020     62321      $976.38
1069497-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 2/17/2020     72275      $572.53
1069497-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…   2/24/2020   20553      $236.69
1069497-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/24/2020     62321      $976.38
1069497-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…    3/6/2020   20553      $236.69
1069497-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/6/2020      62321      $976.38
1069497-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System… 6/19/2020     64999      $829.30
1069497-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…   6/19/2020   A4649       $50.00
1068561-02    S.M.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 12/4/2019     22505      $748.08
1068561-02    S.M.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 12/4/2019     23700     $1,577.52
1068561-02    S.M.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 12/4/2019    27198      $405.94
1068561-02    S.M.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 12/13/2019    22505      $748.08
1068561-02    S.M.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 12/13/2019    23700     $1,577.52
1068561-02    S.M.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 12/13/2019   27198      $405.94
1068561-02    S.M.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 12/30/2019    22505      $748.08
1068561-02    S.M.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 12/30/2019    23700     $1,577.52
1068561-02    S.M.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 12/30/2019   27198      $405.94
1068561-02    S.M.           Rockaways ASC Development LLC              Arthrocentesis, Aspiration And/Or …   8/5/2020   20610      $473.38
1068561-02    S.M.           Rockaways ASC Development LLC               Arthroscopy, Shoulder, Surgical; S…  8/5/2020   29821     $5,677.77
1068561-02    S.M.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; D…   8/5/2020   29823     $1,472.45
1068561-02    S.M.           Rockaways ASC Development LLC              Arthroscopy, Shoulder, Surgical; W…   8/5/2020   29825     $1,472.45
1068561-02    S.M.           Rockaways ASC Development LLC                Unlisted Procedure, Arthroscopy…    8/5/2020   29999     $1,472.45
1068561-02    S.M.           Rockaways ASC Development LLC               Injection, Anesthetic Agent; Brach…  8/5/2020   64415      $979.78
1068561-02    S.M.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…    8/5/2020   76942      $341.96
1068561-02    S.M.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    8/5/2020   A4649       $50.00
1068561-02    S.M.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 7/30/2021     63075     $5,292.93
1068561-02    S.M.          All City Family Healthcare Center, Inc.     Infectious Agent Detection By Nucl… 7/30/2021    87635       $51.33
1068561-02    S.M.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…   7/30/2021   A4649       $72.00
1069281-02    I.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Tenotomy, Shoulder Area; Single Te… 1/24/2020     23405     $1,839.77
1069281-02    I.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…   1/24/2020   29821     $5,677.77
1069281-02    I.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 1/24/2020     29823     $1,472.45
1069281-02    I.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…   1/24/2020   64415      $979.78
1069281-02    I.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla… 1/24/2020     76942      $341.96
1069281-02    I.C.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T… 9/14/2020   20553      $236.69
                                                                 92 of 124                                                            Exhibit 3
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                                                           1680
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1069281-02    I.C.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      9/14/2020   62323      $976.38
1069281-02    I.C.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…      9/14/2020   72275      $572.53
1069281-02    I.C.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…      9/14/2020   76942      $341.96
1069281-02    I.C.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…       9/14/2020   A4649       $50.00
1069281-02    I.C.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…       2/7/2021   62321      $976.38
1069281-02    I.C.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…       2/7/2021   72275      $572.53
1069281-02    I.C.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…        2/7/2021   A4649       $50.00
1069281-03    R.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Tenotomy, Shoulder Area; Single Te…      2/14/2020   23405     $1,839.77
1069281-03    R.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…      2/14/2020   29821     $5,677.77
1069281-03    R.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…      2/14/2020   29823     $1,472.45
1069281-03    R.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent; Brach…      2/14/2020   64415      $979.78
1069281-03    R.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…      2/14/2020   76942      $341.96
1069281-03    R.A.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…     2/7/2021   20552      $236.69
1069281-03    R.A.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…       2/7/2021   62323      $976.38
1069281-03    R.A.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…       2/7/2021   72275      $572.53
1069281-03    R.A.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…       2/7/2021   76942      $341.96
1069281-03    R.A.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…        2/7/2021   A4649       $50.00
1069391-02    B.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     11/18/2020   20553      $236.69
1069391-02    B.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     11/18/2020   62321      $976.38
1069391-02    B.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…     11/18/2020   72275      $572.53
1069391-02    B.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Infectious Agent Detection By Nucl…     11/18/2020   87635       $51.33
1069391-02    B.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      11/18/2020   A4649       $50.00
1069391-02    B.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…       1/8/2021   62323      $976.38
1069391-02    B.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…       1/8/2021   72275      $572.53
1069391-02    B.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…        1/8/2021   A4649       $50.00
1069391-02    B.M.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…      4/3/2021   29821     $5,677.77
1069391-02    B.M.             Fifth Avenue Surgery Center LLC         Arthroscopy, Shoulder, Surgical; D…       4/3/2021   29823     $1,472.45
1069391-02    B.M.             Fifth Avenue Surgery Center LLC         Arthroscopy, Shoulder, Surgical; W…       4/3/2021   29825     $1,472.45
1069391-02    B.M.             Fifth Avenue Surgery Center LLC         Arthroscopy, Shoulder, Surgical; D…       4/3/2021   29826     $1,472.45
1069391-02    B.M.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…      4/3/2021   64415      $979.78
1069391-02    B.M.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…       4/3/2021   76942      $341.96
1069391-02    B.M.             Fifth Avenue Surgery Center LLC            Surgical Supply; Miscellaneous…        4/3/2021   A4649       $50.00
1068190-03    Y.W.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Shoulder, Surgical; S…      1/6/2020   29821     $5,677.77
1068190-03    Y.W.          Bronx SC LLC d/b/a Empire State ASC        Arthroscopy, Shoulder, Surgical; D…       1/6/2020   29823     $1,472.45
1068190-03    Y.W.          Bronx SC LLC d/b/a Empire State ASC        Arthroscopy, Shoulder, Surgical; W…       1/6/2020   29825     $1,472.45
1068190-03    Y.W.          Bronx SC LLC d/b/a Empire State ASC        Arthroscopy, Shoulder, Surgical; D…       1/6/2020   29826     $1,472.45
1068190-03    Y.W.          Bronx SC LLC d/b/a Empire State ASC         Injection, Anesthetic Agent; Brach…      1/6/2020   64415      $979.78
1068190-03    Y.W.          Bronx SC LLC d/b/a Empire State ASC        Ultrasonic Guidance For Needle Pla…       1/6/2020   76942      $341.96
1068190-03    Y.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      9/25/2020   64493      $976.38
1068190-03    Y.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      9/25/2020   64494      $447.52
1068190-03    Y.W.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…       9/25/2020   A4649       $50.00
1068190-03    Y.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Dstr Nrolytc Agnt Parverteb Fct Sn…     10/23/2020   64635      $976.38
1068190-03    Y.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Dstr Nrolytc Agnt Parverteb Fct Ad…     10/23/2020   64636      $447.52
1068190-03    Y.W.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      10/23/2020   A4649       $50.00
1068684-02    V.W.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; S…     6/10/2020   29821     $5,677.77
1068684-02    V.W.             New Horizon Surgical Center LLC         Arthroscopy, Shoulder, Surgical; D…      6/10/2020   29823     $1,472.45
1068684-02    V.W.             New Horizon Surgical Center LLC         Arthroscopy, Shoulder, Surgical; W…      6/10/2020   29825     $1,472.45
1068684-02    V.W.             New Horizon Surgical Center LLC         Arthroscopy, Shoulder, Surgical; D…      6/10/2020   29826     $1,472.45
1068684-02    V.W.             New Horizon Surgical Center LLC          Injection, Anesthetic Agent; Brach…     6/10/2020   64415      $979.78
1068684-02    V.W.             New Horizon Surgical Center LLC         Ultrasonic Guidance For Needle Pla…      6/10/2020   76942      $341.96
1068684-02    V.W.             New Horizon Surgical Center LLC            Surgical Supply; Miscellaneous…       6/10/2020   A4649       $48.75
1068684-02    V.W.          Bronx SC LLC d/b/a Empire State ASC        Arthroscopy, Knee, Surgical; Synov…       6/3/2021   29875     $1,472.45
1068684-02    V.W.          Bronx SC LLC d/b/a Empire State ASC        Arthroscopy, Knee, Surgical; With …       6/3/2021   29881     $3,026.24
1068684-02    V.W.          Bronx SC LLC d/b/a Empire State ASC        Arthroscopy, Knee, Surgical; With …       6/3/2021   29884     $1,472.45
1068684-02    V.W.          Bronx SC LLC d/b/a Empire State ASC         Injection, Anesthetic Agent; Femor…      6/3/2021   64447      $829.30
1068684-02    V.W.          Bronx SC LLC d/b/a Empire State ASC        Ultrasonic Guidance For Needle Pla…       6/3/2021   76942      $341.96
1068684-02    V.W.          Bronx SC LLC d/b/a Empire State ASC           Surgical Supply; Miscellaneous…        6/3/2021   A4649       $50.00
1068684-02    V.W.          Bronx SC LLC d/b/a Empire State ASC        Arthroscopy, Knee, Surgical, For R…       6/3/2021   G0289     $1,472.45
1068433-02    M.O.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Knee, Surgical; Synov…     10/23/2019   29876     $1,472.45
1068433-02    M.O.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Knee, Surgical; Synov…     10/23/2019   29876     $1,998.86
1068433-02    M.O.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Knee, Surgical; With …     10/23/2019   29880     $1,998.86
1068433-02    M.O.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Knee, Surgical; With …     10/23/2019   29880     $3,026.24
1068433-02    M.O.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Knee, Surgical; With …     10/23/2019   29884     $1,472.45
1068433-02    M.O.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Knee, Surgical; With …     10/23/2019   29884     $3,997.71
1068433-02    M.O.       Surgicore LLC d/b/a Surgicore Surgical Center    Unlisted Procedure, Arthroscopy…     10/23/2019   29999     $1,472.45
1068433-02    M.O.       Surgicore LLC d/b/a Surgicore Surgical Center    Unlisted Procedure, Arthroscopy…     10/23/2019   29999     $1,998.86
1068433-02    M.O.             New Horizon Surgical Center LLC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…       1/7/2020   62321      $976.38
1068433-02    M.O.             New Horizon Surgical Center LLC         Epidurography, Radiological Superv…       1/7/2020   72275      $572.53
                                                                  93 of 124                                                              Exhibit 3
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                                                           1681
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                            Date of     Billing   Amount
                                           Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1068433-02    M.O.             New Horizon Surgical Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/7/2020        62323      $976.38
1068433-02    M.O.             New Horizon Surgical Center LLC          Epidurography, Radiological Superv… 3/7/2020        72275      $572.53
1068411-02    M.M.               Surgicore of Jersey City LLC          Laminotomy (Hemilaminectomy), With… 10/7/2020        63030     $5,292.93
1068411-02    M.M.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     10/7/2020   A4649       $50.00
1068411-02    M.M.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise …   10/7/2020   L8699      $188.00
1068411-02    M.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/19/2022      62323      $976.38
1068359-01    A.R.             New Horizon Surgical Center LLC          Repair, Primary, Disrupted Ligamen… 2/14/2020       27695     $1,615.30
1068359-01    A.R.             New Horizon Surgical Center LLC          Arthroscopically Aided Repair Of L… 2/14/2020       29892     $5,677.77
1068359-01    A.R.             New Horizon Surgical Center LLC          Arthroscopy, Ankle (Tibiotalar And… 2/14/2020       29895     $1,472.45
1068359-01    A.R.             New Horizon Surgical Center LLC             Injection, Anesthetic Agent; Sciat…  2/14/2020   64445      $829.30
1068359-01    A.R.             New Horizon Surgical Center LLC           Injection, Anesthetic Agent; Femor… 2/14/2020      64447      $373.98
1068359-01    A.R.             New Horizon Surgical Center LLC          Ultrasonic Guidance For Needle Pla… 2/14/2020       76942      $341.96
1068359-01    A.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 8/21/2020       29875     $1,472.45
1068359-01    A.R.             Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 8/21/2020      29881     $3,026.24
1068359-01    A.R.             Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…     8/21/2020   A4649       $50.00
1068553-01    R.U.            Rockaways ASC Development LLC             Manipulation Of Spine Requiring An… 12/15/2019      22505     $1,577.52
1068553-01    R.U.            Rockaways ASC Development LLC              Closed Treatment Of Posterior Pelv… 12/15/2019     27198      $893.24
1068553-01    R.U.            Rockaways ASC Development LLC              Manipulation, Hip Joint, Requiring… 12/15/2019     27275     $1,577.52
1068553-01    R.U.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…      3/16/2020   29821     $2,879.57
1068553-01    R.U.               Surgicore of Jersey City LLC            Arthroscopy, Shoulder, Surgical; R… 9/14/2020      29807     $5,677.77
1068553-01    R.U.               Surgicore of Jersey City LLC            Arthroscopy, Shoulder, Surgical; W… 9/14/2020      29819     $1,472.45
1068553-01    R.U.               Surgicore of Jersey City LLC             Arthroscopy, Shoulder, Surgical; S…   9/14/2020   29821     $2,798.20
1068553-01    R.U.               Surgicore of Jersey City LLC            Arthroscopy, Shoulder, Surgical; D… 9/14/2020      29823     $1,472.45
1068553-01    R.U.               Surgicore of Jersey City LLC            Arthroscopy, Shoulder, Surgical; W… 9/14/2020      29825     $1,472.45
1068553-01    R.U.               Surgicore of Jersey City LLC               Unlisted Procedure, Arthroscopy…    9/14/2020   29999     $1,472.45
1068553-01    R.U.               Surgicore of Jersey City LLC             Injection, Anesthetic Agent; Brach…   9/14/2020   64415      $979.78
1068553-01    R.U.               Surgicore of Jersey City LLC           Ultrasonic Guidance For Needle Pla… 9/14/2020       76942      $341.96
1068553-01    R.U.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     9/14/2020   A4649       $50.00
1068553-01    R.U.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     9/14/2020   A4649      $817.00
1068553-01    R.U.               Surgicore of Jersey City LLC          Anchor/Screw For Opposing Bone-To-… 9/14/2020        C1713      $400.00
1069847-01    J.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrocentesis, Aspiration And/Or … 11/11/2019       20610      $236.69
1069847-01    J.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S… 11/11/2019       29821     $1,472.45
1069847-01    J.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 11/11/2019       29823     $1,472.45
1069847-01    J.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 11/11/2019       29825     $1,472.45
1069847-01    J.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 11/11/2019       29826     $1,472.45
1069847-01    J.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 11/11/2019       29827     $5,677.77
1069847-01    J.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Arthroscopy…        11/11/2019   29999     $1,472.45
1069847-01    J.B.          All City Family Healthcare Center, Inc.     Aspiration Or Decompression Proced… 12/2/2019       62287     $5,292.93
1069847-01    J.B.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulopl… 12/13/2019     22526     $2,605.78
1069847-01    J.B.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulopl… 12/13/2019     22527     $2,605.78
1069847-01    J.B.          All City Family Healthcare Center, Inc.      Injection Procedure For Diskograph… 12/13/2019     62291      $748.74
1069847-01    J.B.          All City Family Healthcare Center, Inc.     Diskectomy, Anterior, With Decompr… 12/13/2019      63075     $5,292.93
1069847-01    J.B.          All City Family Healthcare Center, Inc.     Diskectomy, Anterior, With Decompr… 12/13/2019      63076     $2,605.78
1069847-01    J.B.          All City Family Healthcare Center, Inc.      Diskography, Cervical Or Thoracic,… 12/13/2019     72285      $962.54
1067767-02    J.B.       Surgicore LLC d/b/a Surgicore Surgical Center    Tissue Grafts, Other (Eg, Parateno… 11/15/2019    20926     $1,040.79
1067767-02    J.B.       Surgicore LLC d/b/a Surgicore Surgical Center   Tenolysis, Flexor Or Extensor Tend… 11/15/2019     27680     $1,417.17
1067767-02    J.B.       Surgicore LLC d/b/a Surgicore Surgical Center  Repair, Primary, Disrupted Ligamen… 11/15/2019      27695     $1,615.30
1067767-02    J.B.       Surgicore LLC d/b/a Surgicore Surgical Center    Open Tx Distal Tibiofibular Joint … 11/15/2019    27829     $4,869.06
1067767-02    J.B.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Ankle (Tibiotalar And… 11/15/2019      29898     $1,472.45
1067767-02    J.B.       Surgicore LLC d/b/a Surgicore Surgical Center     Injection, Anesthetic Agent; Sciat… 11/15/2019   64445      $976.38
1067767-02    J.B.       Surgicore LLC d/b/a Surgicore Surgical Center  Ultrasonic Guidance For Needle Pla… 11/15/2019      76942      $341.96
1067767-02    J.B.             Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; S…   1/16/2020   29821     $5,677.77
1067767-02    J.B.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 1/16/2020      29823     $1,472.45
1067767-02    J.B.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 1/16/2020      29825     $1,472.45
1067767-02    J.B.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 1/16/2020      29826     $1,472.45
1067767-02    J.B.             Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…   1/16/2020   64415      $979.78
1067767-02    J.B.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 1/16/2020       76942      $341.96
1068096-02    A.T.       Surgicore LLC d/b/a Surgicore Surgical Center   Tenolysis, Flexor Or Extensor Tend… 10/25/2019     27680     $1,040.79
1068096-02    A.T.       Surgicore LLC d/b/a Surgicore Surgical Center   Tenolysis, Flexor Or Extensor Tend… 10/25/2019     27680     $1,417.17
1068096-02    A.T.       Surgicore LLC d/b/a Surgicore Surgical Center  Repair, Secondary, Disrupted Ligam… 10/25/2019      27698     $3,311.97
1068096-02    A.T.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Ankle (Tibiotalar And… 10/25/2019      29898     $1,472.45
1068096-02    A.T.       Surgicore LLC d/b/a Surgicore Surgical Center     Injection, Anesthetic Agent; Sciat… 10/25/2019   64445      $976.38
1068096-02    A.T.       Surgicore LLC d/b/a Surgicore Surgical Center  Ultrasonic Guidance For Needle Pla… 10/25/2019      76942      $341.96
1068096-02    A.T.             Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; S…    2/3/2020   29821     $5,677.77
1068096-02    A.T.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…     2/3/2020   29823     $1,472.45
1068096-02    A.T.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W…     2/3/2020   29825     $1,472.45
1068096-02    A.T.             Fifth Avenue Surgery Center LLC              Unlisted Procedure, Arthroscopy…     2/3/2020   29999     $1,472.45
1068096-02    A.T.             Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach…    2/3/2020   64415      $979.78
                                                                  94 of 124                                                              Exhibit 3
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                                                           1682
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1068096-02    A.T.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     2/3/2020   76942      $341.96
1067343-01    V.V.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S… 11/17/2019     29821     $1,472.45
1067343-01    V.V.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 11/17/2019     29823     $1,472.45
1067343-01    V.V.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 11/17/2019     29824     $1,472.45
1067343-01    V.V.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 11/17/2019     29827     $5,677.77
1067343-01    V.V.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach… 11/17/2019    64415      $979.78
1067343-01    V.V.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 11/17/2019     76942      $341.96
1067343-01    V.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     1/28/2020   20553      $236.69
1067343-01    V.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/28/2020       62321      $976.38
1067343-01    V.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 1/28/2020       72275      $572.53
1067343-01    V.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     2/17/2020   20553      $236.69
1067343-01    V.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/17/2020       62321      $976.38
1067343-01    V.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 2/17/2020       72275      $572.53
1066838-02    R.S.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; S… 10/22/2019     29821     $1,472.45
1066838-02    R.S.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; D… 10/22/2019     29823     $1,472.45
1066838-02    R.S.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; W… 10/22/2019     29825     $1,472.45
1066838-02    R.S.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Shoulder, Surgical; W… 10/22/2019     29827     $5,677.77
1066838-02    R.S.       Surgicore LLC d/b/a Surgicore Surgical Center     Unlisted Procedure, Arthroscopy…   10/22/2019   29999     $1,472.45
1066838-02    R.S.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection, Anesthetic Agent; Brach… 10/22/2019    64415      $979.78
1066838-02    R.S.       Surgicore LLC d/b/a Surgicore Surgical Center  Ultrasonic Guidance For Needle Pla… 10/22/2019     76942      $341.96
1066838-02    R.S.             New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical; Synov… 1/30/2020      29876     $1,472.45
1066838-02    R.S.             New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical; With … 1/30/2020      29880     $3,026.24
1066838-02    R.S.             New Horizon Surgical Center LLC             Unlisted Procedure, Arthroscopy…    1/30/2020   29999     $1,472.45
1067794-02    M.V.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…    10/5/2019   29821     $1,472.45
1067794-02    M.V.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 10/5/2019      29823     $3,026.24
1067794-02    M.V.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 10/5/2019      29825     $1,472.45
1067794-02    M.V.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 10/5/2019      29826     $1,472.45
1067794-02    M.V.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…   10/5/2019   64415      $979.78
1067794-02    M.V.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 10/5/2019      76942      $341.96
1067794-02    M.V.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or… 2/12/2020      64483      $976.38
1067794-02    M.V.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or… 2/12/2020      64484      $447.52
1067794-03    J.J.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 10/9/2019      29875     $1,472.45
1067794-03    J.J.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 10/9/2019      29880     $3,026.24
1067794-03    J.J.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical, For R… 10/9/2019      G0289     $1,472.45
1067794-03    J.J.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or… 2/12/2020      64479      $976.38
1067794-03    J.J.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or… 2/12/2020      64480      $447.52
1067798-01    J.C.       Surgicore LLC d/b/a Surgicore Surgical Center   Tissue Grafts, Other (Eg, Parateno… 12/20/2019    20926     $1,040.79
1067798-01    J.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Repair, Secondary, Achilles Tendon… 12/20/2019     27654     $3,311.97
1067798-01    J.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Tenolysis, Flexor Or Extensor Tend… 12/20/2019     27680     $1,417.17
1067798-01    J.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Ankle (Tibiotalar And… 12/20/2019     29898     $1,472.45
1067798-01    J.C.       Surgicore LLC d/b/a Surgicore Surgical Center    Injection, Anesthetic Agent; Sciat… 12/20/2019   64445      $976.38
1067798-01    J.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Ultrasonic Guidance For Needle Pla… 12/20/2019     76942      $341.96
1067798-01    J.C.             New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical; Synov… 2/12/2020      29876     $1,472.45
1067798-01    J.C.             New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical; With … 2/12/2020      29880     $3,026.24
1067798-01    J.C.             New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical; With … 2/12/2020      29884     $1,472.45
1067798-01    J.C.             New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical, For R… 2/12/2020      G0289     $1,472.45
1068918-01    J.S.             New Horizon Surgical Center LLC         Tenodesis Of Long Tendon Of Biceps… 1/31/2020       23430     $1,839.77
1068918-01    J.S.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; C… 1/31/2020      29806     $5,677.77
1068918-01    J.S.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 1/31/2020      29823     $1,472.45
1068918-01    J.S.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 1/31/2020      29824     $1,472.45
1068918-01    J.S.             New Horizon Surgical Center LLC          Arthroscopy, Shoulder, Surgical; D… 1/31/2020      29826     $1,472.45
1068918-01    J.S.             New Horizon Surgical Center LLC           Injection, Anesthetic Agent; Brach…   1/31/2020   64415      $979.78
1068918-01    J.S.             New Horizon Surgical Center LLC          Ultrasonic Guidance For Needle Pla… 1/31/2020      76942      $341.96
1068918-01    J.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/6/2020        62321      $976.38
1068918-01    J.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 3/6/2020        72275      $572.53
1068918-01    J.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/14/2020       62321      $976.38
1068918-01    J.S.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     8/14/2020   A4649       $50.00
1069168-01    B.A.          All City Family Healthcare Center, Inc.      Injection(S); Single Or Multiple T…    3/3/2020   20552      $473.39
1069168-01    B.A.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Supra…    3/3/2020   64418      $829.30
1069168-01    B.A.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla…     3/3/2020   76942      $341.95
1069168-01    B.A.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…   9/22/2020   20552      $236.69
1069168-01    B.A.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/22/2020       62323      $976.38
1069168-01    B.A.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 9/22/2020       72275      $572.53
1069168-01    B.A.            Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 9/22/2020      76942      $341.96
1069168-01    B.A.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     9/22/2020   A4649       $50.00
1069168-01    B.A.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl… 9/29/2020      22526     $2,605.78
1069168-01    B.A.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced… 9/29/2020       62287     $5,292.93
1069168-01    B.A.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     9/29/2020   A4649       $50.00
                                                                  95 of 124                                                             Exhibit 3
       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                       Page 236 of 580 PageID #:
                                                            1683
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                              Date of     Billing   Amount
                                           Provider                                     Service
 Number      Person                                                                                               Service     Code       Billed
1067647-01    I.A.              Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical; Synov… 10/15/2019     29875     $1,472.45
1067647-01    I.A.              Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical; With … 10/15/2019     29880     $3,026.24
1067647-01    I.A.              Fifth Avenue Surgery Center LLC             Injection, Anesthetic Agent; Femor… 10/15/2019    64447      $829.30
1067647-01    I.A.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla… 10/15/2019     76942      $341.96
1067647-01    I.A.              Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical, For R… 10/15/2019     G0289     $1,472.45
1067647-01    I.A.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; S… 10/29/2019    29821     $1,472.45
1067647-01    I.A.              Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; D… 10/29/2019     29823     $3,026.24
1067647-01    I.A.              Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; W… 10/29/2019     29825     $1,472.45
1067647-01    I.A.              Fifth Avenue Surgery Center LLC             Injection, Anesthetic Agent; Brach… 10/29/2019    64415      $979.78
1067647-01    I.A.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla… 10/29/2019     76942      $341.96
1067647-01    I.A.             Rockaways ASC Development LLC              Transpedicular Approach With Decom… 8/19/2020       63056     $5,292.93
1067647-01    I.A.             Rockaways ASC Development LLC              Transpedicular Approach With Decom… 8/19/2020       63057     $2,605.78
1067647-01    I.A.             Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…     8/19/2020   A4649       $50.00
1066106-01    N.C.        Surgicore LLC d/b/a Surgicore Surgical Center      Injection(S); Single Or Multiple T… 11/23/2019   20553      $236.70
1066106-01    N.C.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/23/2019     62323      $976.38
1066106-01    N.C.        Surgicore LLC d/b/a Surgicore Surgical Center    Epidurography, Radiological Superv… 11/23/2019     72275      $572.52
1066106-01    N.C.        Surgicore LLC d/b/a Surgicore Surgical Center      Injection(S); Single Or Multiple T…   1/4/2020   20553      $473.39
1066106-01    N.C.        Surgicore LLC d/b/a Surgicore Surgical Center    Perq Intrdscl Electrothrm Annulopl…     1/4/2020   22526     $2,605.78
1066106-01    N.C.        Surgicore LLC d/b/a Surgicore Surgical Center   Aspiration Or Decompression Proced… 1/4/2020        62287     $5,292.93
1066106-01    N.C.        Surgicore LLC d/b/a Surgicore Surgical Center      Injection(S); Single Or Multiple T…  2/29/2020   20553      $236.70
1066106-01    N.C.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/29/2020      64493      $447.52
1066106-01    N.C.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/29/2020      64493      $976.38
1066106-01    N.C.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/29/2020      64494      $447.52
1066106-01    N.C.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/29/2020      64495      $447.52
1066106-01    N.C.              New Horizon Surgical Center LLC              Injection(S); Single Or Multiple T…  3/14/2020   20553      $473.38
1066106-01    N.C.              New Horizon Surgical Center LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/14/2020      62321      $976.38
1066106-01    N.C.              New Horizon Surgical Center LLC            Epidurography, Radiological Superv… 3/14/2020      72275      $572.53
1066106-02    C.C.        Surgicore LLC d/b/a Surgicore Surgical Center      Injection(S); Single Or Multiple T… 11/23/2019   20553      $236.70
1066106-02    C.C.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/23/2019     62323      $976.38
1066106-02    C.C.        Surgicore LLC d/b/a Surgicore Surgical Center    Epidurography, Radiological Superv… 11/23/2019     72275      $572.52
1066106-02    C.C.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; S…   12/2/2019   29821     $1,472.45
1066106-02    C.C.           All City Family Healthcare Center, Inc.       Arthroscopy, Shoulder, Surgical; D… 12/2/2019      29823     $1,472.45
1066106-02    C.C.           All City Family Healthcare Center, Inc.       Arthroscopy, Shoulder, Surgical; W… 12/2/2019      29825     $1,472.45
1066106-02    C.C.           All City Family Healthcare Center, Inc.       Arthroscopy, Shoulder, Surgical; D… 12/2/2019      29826     $1,472.45
1066106-02    C.C.           All City Family Healthcare Center, Inc.       Arthroscopy, Shoulder, Surgical; W… 12/2/2019      29827     $5,677.77
1066106-02    C.C.           All City Family Healthcare Center, Inc.        Injection, Anesthetic Agent; Brach…   12/2/2019   64415      $979.78
1066106-02    C.C.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla… 12/2/2019      76942      $341.96
1066106-02    C.C.        Surgicore LLC d/b/a Surgicore Surgical Center      Injection(S); Single Or Multiple T…   1/4/2020   20553      $473.39
1066106-02    C.C.        Surgicore LLC d/b/a Surgicore Surgical Center    Perq Intrdscl Electrothrm Annulopl…     1/4/2020   22526     $2,605.78
1066106-02    C.C.        Surgicore LLC d/b/a Surgicore Surgical Center   Aspiration Or Decompression Proced… 1/4/2020        62287     $5,292.93
1066106-02    C.C.        Surgicore LLC d/b/a Surgicore Surgical Center      Injection(S); Single Or Multiple T…  2/29/2020   20553      $236.70
1066106-02    C.C.        Surgicore LLC d/b/a Surgicore Surgical Center    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/29/2020      62321      $976.38
1066106-02    C.C.        Surgicore LLC d/b/a Surgicore Surgical Center    Epidurography, Radiological Superv… 2/29/2020      72275      $572.53
1066106-02    C.C.              New Horizon Surgical Center LLC              Injection(S); Single Or Multiple T…  3/14/2020   20553      $473.38
1066106-02    C.C.              New Horizon Surgical Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/14/2020      64490      $447.52
1066106-02    C.C.              New Horizon Surgical Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/14/2020      64490      $976.38
1066106-02    C.C.              New Horizon Surgical Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/14/2020      64491      $447.52
1066106-02    C.C.              New Horizon Surgical Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 3/14/2020      64492      $447.52
1066818-01    M.B.                Surgicore of Jersey City LLC               Injection(S); Single Or Multiple T… 12/14/2019   20553      $554.76
1066818-01    M.B.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/14/2019     62321      $976.38
1066818-01    M.B.                Surgicore of Jersey City LLC             Epidurography, Radiological Superv… 12/14/2019     72275      $572.53
1066818-01    M.B.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/18/2020      62321      $976.38
1066818-01    M.B.                Surgicore of Jersey City LLC             Epidurography, Radiological Superv… 1/18/2020      72275      $572.53
1066818-01    M.B.                Surgicore of Jersey City LLC               Injection(S); Single Or Multiple T…   2/1/2020   20553      $236.69
1066818-01    M.B.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/1/2020       62321      $976.38
1066818-01    M.B.                Surgicore of Jersey City LLC             Epidurography, Radiological Superv… 2/1/2020       72275      $572.53
1066818-01    M.B.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; S…   2/11/2020   29821     $5,677.77
1066818-01    M.B.              Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; D… 2/11/2020      29823     $1,472.45
1066818-01    M.B.              Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; W… 2/11/2020      29825     $1,472.45
1066818-01    M.B.              Fifth Avenue Surgery Center LLC             Injection, Anesthetic Agent; Brach…   2/11/2020   64415      $979.78
1066818-01    M.B.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla… 2/11/2020      76942      $341.96
1067231-01    P.J.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/11/2020      62323      $976.38
1067231-01    P.J.                Surgicore of Jersey City LLC             Epidurography, Radiological Superv… 1/11/2020      72275      $572.53
1067231-01    P.J.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/9/2020       62323      $976.38
1067231-01    P.J.                Surgicore of Jersey City LLC             Epidurography, Radiological Superv… 2/9/2020       72275      $572.53
1067231-01    P.J.              New Horizon Surgical Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/8/2020       62323      $976.38
1067231-01    P.J.              New Horizon Surgical Center LLC            Epidurography, Radiological Superv… 8/8/2020       72275      $572.53
1067231-01    P.J.              New Horizon Surgical Center LLC               Surgical Supply; Miscellaneous…      8/8/2020   A4649       $50.00
                                                                    96 of 124                                                              Exhibit 3
       Case 1:24-cv-08606-JRC                 Document 1-4 Filed 12/17/24                      Page 237 of 580 PageID #:
                                                          1684
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                            Service     Code       Billed
1066349-01    D.W.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…     10/2/2019   22505      $748.08
1066349-01    D.W.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…     10/2/2019   23700     $1,577.52
1066349-01    D.W.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…    10/2/2019   27198      $405.94
1066349-01    D.W.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…     10/7/2019   22505      $748.08
1066349-01    D.W.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…     10/7/2019   23700     $1,577.52
1066349-01    D.W.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…    10/7/2019   27198      $405.94
1066349-01    D.W.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…    10/11/2019   22505      $748.08
1066349-01    D.W.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…    10/11/2019   23700     $1,577.52
1066349-01    D.W.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…   10/11/2019   27198      $405.94
1066349-01    D.W.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…    10/21/2019   22505      $748.08
1066349-01    D.W.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…    10/21/2019   23700     $1,577.52
1066349-01    D.W.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…   10/21/2019   27198      $405.94
1066349-01    D.W.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or …   11/15/2019   20610      $236.69
1066349-01    D.W.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…    11/15/2019   29875     $1,472.45
1066349-01    D.W.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …   11/15/2019   29881     $3,026.24
1066349-01    D.W.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …   11/15/2019   29884     $1,472.45
1066349-01    D.W.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…     11/15/2019   29999     $1,472.45
1065586-01    J.D.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov…    10/22/2020   29876     $3,026.24
1065586-01    J.D.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With …   10/22/2020   29881     $1,472.45
1065586-01    J.D.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With …   10/22/2020   29884     $1,472.45
1065586-01    J.D.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…     10/22/2020   A4649       $50.00
1065586-01    J.D.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical, For R…   10/22/2020   G0289     $1,472.45
1065586-01    J.D.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …   10/22/2020   L8699      $227.00
1065586-01    J.D.       Surgicore LLC d/b/a Surgicore Surgical Center    Surgical Supply; Miscellaneous…      4/20/2021   A4649       $50.00
1065586-01    J.D.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Knee, Surgical, For R…    4/20/2021   G0289     $3,026.24
1066586-02    J.E.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     11/9/2019   62323      $976.38
1066586-02    J.E.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…     11/9/2019   72275      $572.53
1066586-02    J.E.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    11/23/2019   62323      $976.38
1066586-02    J.E.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…    11/23/2019   72275      $572.53
1066586-02    J.E.               Surgicore of Jersey City LLC           Injection(S); Single Or Multiple T…    1/11/2020   20553      $236.69
1066586-02    J.E.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     1/11/2020   64493      $447.52
1066586-02    J.E.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     1/11/2020   64493      $976.38
1066586-02    J.E.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     1/11/2020   64494      $447.52
1066586-02    J.E.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     1/11/2020   64495      $447.52
1066586-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced…     8/26/2020   62287     $5,292.93
1066586-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…      8/26/2020   A4649       $50.00
1066586-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System…      9/8/2020   64999      $829.30
1066586-02    J.E.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…       9/8/2020   A4649       $50.00
1068132-01    A.F.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S…    6/12/2020   29821     $2,798.20
1068132-01    A.F.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…    6/12/2020   29823     $1,472.45
1068132-01    A.F.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…    6/12/2020   29826     $1,472.45
1068132-01    A.F.               Surgicore of Jersey City LLC          Arthroscopy Shoulder Surgical Bice…     6/12/2020   29828     $5,677.77
1068132-01    A.F.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent; Brach…    6/12/2020   64415      $979.78
1068132-01    A.F.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla…     6/12/2020   76942      $341.96
1068132-01    A.F.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…    2/28/2021   20552      $236.69
1068132-01    A.F.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     2/28/2021   62323      $976.38
1068132-01    A.F.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     2/28/2021   76942      $341.96
1068132-01    A.F.            Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…      2/28/2021   A4649       $50.00
1065816-01    O.G.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; With …    10/8/2019   29880     $3,026.24
1065816-01    O.G.          Bronx SC LLC d/b/a Empire State ASC          Unlisted Procedure, Arthroscopy…      10/8/2019   29999     $1,472.45
1065816-01    O.G.            Rockaways ASC Development LLC            Manipulation Of Spine Requiring An…     12/7/2019   22505     $1,577.52
1065816-01    O.G.            Rockaways ASC Development LLC            Manipulation Under Anesthesia, Sho…     12/7/2019   23700     $1,577.52
1065816-01    O.G.            Rockaways ASC Development LLC             Closed Treatment Of Posterior Pelv…    12/7/2019   27198      $893.24
1065816-01    O.G.            Rockaways ASC Development LLC            Manipulation Of Spine Requiring An…     1/12/2020   22505     $1,577.52
1065816-01    O.G.            Rockaways ASC Development LLC            Manipulation Under Anesthesia, Sho…     1/12/2020   23700     $1,577.52
1065816-01    O.G.            Rockaways ASC Development LLC             Closed Treatment Of Posterior Pelv…    1/12/2020   27198      $893.24
1065816-01    O.G.            Rockaways ASC Development LLC            Manipulation Of Spine Requiring An…     1/17/2020   22505     $1,577.52
1065816-01    O.G.            Rockaways ASC Development LLC            Manipulation Under Anesthesia, Sho…     1/17/2020   23700     $1,577.52
1065816-01    O.G.            Rockaways ASC Development LLC             Closed Treatment Of Posterior Pelv…    1/17/2020   27198      $893.24
1065215-01    K.T.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…     9/30/2019   22505      $748.08
1065215-01    K.T.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…     9/30/2019   23700      $748.08
1065215-01    K.T.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…     9/30/2019   23700     $1,577.52
1065215-01    K.T.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…    9/30/2019   27198      $405.94
1065215-01    K.T.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    1/11/2020   29823     $3,026.24
1065215-01    K.T.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    1/11/2020   29824     $1,472.45
1065215-01    K.T.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    1/11/2020   29826     $1,472.45
1065215-01    K.T.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…    1/11/2020   64415      $979.78
1065215-01    K.T.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     1/11/2020   76942      $341.96
                                                                 97 of 124                                                              Exhibit 3
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                                                           1685
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                  Date of     Billing   Amount
                                          Provider                                         Service
 Number      Person                                                                                                   Service     Code       Billed
1065215-01    K.T.             Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical; Synov…       2/8/2020   29875     $3,026.24
1065215-01    K.T.             Fifth Avenue Surgery Center LLC                Injection, Anesthetic Agent; Femor…      2/8/2020   64447      $829.30
1065215-01    K.T.             Fifth Avenue Surgery Center LLC               Ultrasonic Guidance For Needle Pla…       2/8/2020   76942      $341.96
1065215-01    K.T.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical, For R…      2/8/2020   G0289     $1,472.45
1064495-02    T.B.               Surgicore of Jersey City LLC                Arthroscopy, Knee, Diagnostic, Wit…     11/11/2019   29870     $3,026.24
1064495-02    T.B.               Surgicore of Jersey City LLC                Arthroscopy, Knee, Surgical; Synov…     11/11/2019   29875     $1,472.45
1064495-02    T.B.               Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical, For R…    11/11/2019   G0289     $1,472.45
1064495-02    T.B.          Rockland & Bergen Surgery Center LLC             Arthroscopy, Knee, Surgical; Abras…      1/27/2020   29879     $1,472.45
1064495-02    T.B.          Rockland & Bergen Surgery Center LLC              Arthroscopy, Knee, Surgical; With …     1/27/2020   29881     $3,026.24
1064495-02    T.B.          Rockland & Bergen Surgery Center LLC              Arthroscopy, Knee, Surgical, For R…     1/27/2020   G0289     $1,472.45
1064150-03    M.B.               Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An…      9/30/2019   22505      $748.08
1064150-03    M.B.               Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho…      9/30/2019   23700     $1,577.52
1064150-03    M.B.               Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv…     9/30/2019   27198      $405.94
1064150-03    M.B.               Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An…      10/7/2019   22505      $748.08
1064150-03    M.B.               Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho…      10/7/2019   23700     $1,577.52
1064150-03    M.B.               Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv…     10/7/2019   27198      $405.94
1064150-03    M.B.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; D…    10/26/2019   29823     $3,026.24
1064150-03    M.B.             Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; D…    10/26/2019   29826     $1,472.45
1064150-03    M.B.             Fifth Avenue Surgery Center LLC                Injection, Anesthetic Agent; Brach…    10/26/2019   64415      $979.78
1064150-03    M.B.             Fifth Avenue Surgery Center LLC               Ultrasonic Guidance For Needle Pla…     10/26/2019   76942      $341.96
1064245-02    M.C.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…    11/6/2019   20552      $554.74
1064245-02    M.C.            Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      11/6/2019   62321      $976.38
1064245-02    M.C.            Rockaways ASC Development LLC                  Epidurography, Radiological Superv…      11/6/2019   72275      $572.52
1064245-02    M.C.            Rockaways ASC Development LLC                  Ultrasonic Guidance For Needle Pla…      11/6/2019   76942      $423.32
1064245-02    M.C.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…    6/18/2020   20553      $236.69
1064245-02    M.C.            Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      6/18/2020   62323      $976.38
1064245-02    M.C.            Rockaways ASC Development LLC                  Epidurography, Radiological Superv…      6/18/2020   72275      $572.53
1064245-02    M.C.            Rockaways ASC Development LLC                  Ultrasonic Guidance For Needle Pla…      6/18/2020   76942      $341.96
1064245-02    M.C.            Rockaways ASC Development LLC                     Surgical Supply; Miscellaneous…       6/18/2020   A4649       $50.00
1064245-02    M.C.               Surgicore of Jersey City LLC                Arthroscopy, Shoulder, Surgical; W…      7/20/2020   29819     $1,472.45
1064245-02    M.C.               Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; S…     7/20/2020   29821     $5,677.77
1064245-02    M.C.               Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; D…     7/20/2020   29823     $1,472.45
1064245-02    M.C.               Surgicore of Jersey City LLC                Arthroscopy, Shoulder, Surgical; W…      7/20/2020   29825     $1,472.45
1064245-02    M.C.               Surgicore of Jersey City LLC                 Arthroscopy, Shoulder, Surgical; D…     7/20/2020   29826     $1,472.45
1064245-02    M.C.               Surgicore of Jersey City LLC                   Unlisted Procedure, Arthroscopy…      7/20/2020   29999     $1,472.45
1064245-02    M.C.               Surgicore of Jersey City LLC                 Injection, Anesthetic Agent; Brach…     7/20/2020   64415      $979.78
1064245-02    M.C.               Surgicore of Jersey City LLC                Ultrasonic Guidance For Needle Pla…      7/20/2020   76942      $341.96
1064245-02    M.C.               Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…       7/20/2020   A4649       $50.00
1065407-01    A.E.          Bronx SC LLC d/b/a Empire State ASC               Arthroscopy, Shoulder, Surgical; D…     9/24/2019   29823     $3,026.24
1065407-01    A.E.          Bronx SC LLC d/b/a Empire State ASC               Arthroscopy, Shoulder, Surgical; D…     9/24/2019   29826     $1,472.45
1065407-01    A.E.            Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     11/22/2019   62323      $976.38
1065407-01    A.E.            Rockaways ASC Development LLC                  Epidurography, Radiological Superv…     11/22/2019   72275      $572.52
1063696-02    Y.R.             Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical; Synov…     10/25/2019   29875      $193.02
1063696-02    Y.R.             Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical; Synov…     10/25/2019   29875     $1,472.45
1063696-02    Y.R.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; With …    10/25/2019   29881     $3,026.24
1063696-02    Y.R.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; With …    10/25/2019   29881      $236.96
1063696-02    Y.R.             Fifth Avenue Surgery Center LLC                  Unlisted Procedure, Arthroscopy…     10/25/2019   29999      $200.00
1063696-02    Y.R.             Fifth Avenue Surgery Center LLC                  Unlisted Procedure, Arthroscopy…     10/25/2019   29999     $1,472.45
1063696-02    Y.R.          All City Family Healthcare Center, Inc.           Arthrocentesis, Aspiration And/Or …    12/20/2019   20610      $236.69
1063696-02    Y.R.          All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S…    12/20/2019   29821     $1,472.45
1063696-02    Y.R.          All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…    12/20/2019   29823     $3,026.24
1063696-02    Y.R.          All City Family Healthcare Center, Inc.          Arthroscopy, Shoulder, Surgical; W…     12/20/2019   29825     $1,472.45
1063696-02    Y.R.          All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; D…    12/20/2019   29826     $1,472.45
1063696-02    Y.R.          All City Family Healthcare Center, Inc.             Unlisted Procedure, Arthroscopy…     12/20/2019   29999     $1,472.45
1063696-02    Y.R.          All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach…    12/20/2019   64415      $979.78
1063696-02    Y.R.          All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…     12/20/2019   76942      $341.96
1063696-02    Y.R.          All City Family Healthcare Center, Inc.           Arthrocentesis, Aspiration And/Or …     10/5/2020   20610      $473.38
1063696-02    Y.R.          All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical; Synov…      10/5/2020   29875     $1,472.45
1063696-02    Y.R.          All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With …     10/5/2020   29881     $3,026.24
1063696-02    Y.R.          All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With …     10/5/2020   29884     $1,472.45
1063696-02    Y.R.          All City Family Healthcare Center, Inc.             Unlisted Procedure, Arthroscopy…      10/5/2020   29999     $1,472.45
1063696-02    Y.R.          All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…       10/5/2020   A4649       $72.00
1065416-01    E.E.            Rockaways ASC Development LLC                    Injection(S); Single Or Multiple T…   10/26/2019   20552      $554.74
1065416-01    E.E.            Rockaways ASC Development LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     10/26/2019   64493      $976.38
1065416-01    E.E.            Rockaways ASC Development LLC                  Ultrasonic Guidance For Needle Pla…     10/26/2019   76942      $423.32
1065416-01    E.E.          Rockland & Bergen Surgery Center LLC             Simple Repair Of Superficial Wound…      7/13/2020   12001      $369.86
1065416-01    E.E.          Rockland & Bergen Surgery Center LLC              Arthroscopy, Shoulder, Surgical; D…     7/13/2020   29823     $3,026.24
1065416-01    E.E.          Rockland & Bergen Surgery Center LLC              Arthroscopy, Shoulder, Surgical; D…     7/13/2020   29824     $1,472.45
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                                                           1686
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1065416-01    E.E.         Rockland & Bergen Surgery Center LLC         Arthroscopy, Shoulder, Surgical; W… 7/13/2020     29825     $1,472.45
1065416-01    E.E.         Rockland & Bergen Surgery Center LLC         Arthroscopy, Shoulder, Surgical; D… 7/13/2020     29826     $1,472.45
1065416-01    E.E.         Rockland & Bergen Surgery Center LLC          Injection, Anesthetic Agent; Brach…  7/13/2020   64415      $979.78
1065416-01    E.E.         Rockland & Bergen Surgery Center LLC         Ultrasonic Guidance For Needle Pla… 7/13/2020     76942      $341.96
1065416-01    E.E.         Rockland & Bergen Surgery Center LLC            Surgical Supply; Miscellaneous…    7/13/2020   A4649       $50.00
1063209-01    H.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S… 12/11/2019    29821     $1,472.45
1063209-01    H.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 12/11/2019    29823     $1,472.45
1063209-01    H.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 12/11/2019    29824     $1,472.45
1063209-01    H.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 12/11/2019    29825     $1,472.45
1063209-01    H.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 12/11/2019    29826     $1,472.45
1063209-01    H.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 12/11/2019    29827     $5,677.77
1063209-01    H.B.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach… 12/11/2019   64415      $979.78
1063209-01    H.B.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla… 12/11/2019    76942      $341.96
1063209-01    H.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/5/2020       62321      $976.38
1063254-02    L.L.              Manalapan Surgery Center Inc            Arthroscopy, Knee, Surgical; Synov… 9/17/2019     29876     $1,472.45
1063254-02    L.L.              Manalapan Surgery Center Inc            Arthroscopy, Knee, Surgical; With … 9/17/2019     29880     $3,026.24
1063254-02    L.L.              Manalapan Surgery Center Inc              Unlisted Procedure, Arthroscopy…    9/17/2019   29999     $1,472.45
1063254-02    L.L.              Manalapan Surgery Center Inc            Arthroscopy, Knee, Surgical, For R… 9/17/2019     G0289     $1,472.45
1063254-02    L.L.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; Synov… 10/2/2019     29876     $1,472.45
1063254-02    L.L.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 10/2/2019     29880     $3,026.24
1063254-02    L.L.               Surgicore of Jersey City LLC             Unlisted Procedure, Arthroscopy…    10/2/2019   29999     $1,472.45
1063055-02    B.A.         Bronx SC LLC d/b/a Empire State ASC          Injection, Anesthetic Agent And/Or… 10/11/2019    64483      $976.38
1063055-02    B.A.         Bronx SC LLC d/b/a Empire State ASC          Injection, Anesthetic Agent And/Or… 10/11/2019    64483      $447.52
1063055-02    B.A.         Bronx SC LLC d/b/a Empire State ASC          Injection, Anesthetic Agent And/Or… 10/11/2019    64484      $447.52
1063055-02    B.A.         Bronx SC LLC d/b/a Empire State ASC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 11/8/2019     62321      $976.38
1063055-02    B.A.          All City Family Healthcare Center, Inc.    Coracoacromial Ligament Release, W… 1/16/2020      23415     $1,839.77
1063055-02    B.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…   1/16/2020   29821     $5,677.77
1063055-02    B.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 1/16/2020     29823     $1,472.45
1063055-02    B.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; W… 1/16/2020     29825     $1,472.45
1063055-02    B.A.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…    1/16/2020   29999     $1,472.45
1063055-02    B.A.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…  1/16/2020   64415      $979.78
1063055-02    B.A.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla… 1/16/2020     76942      $341.96
1064371-01    M.C.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  9/17/2019   20552      $554.74
1064371-01    M.C.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/17/2019     62321      $976.38
1064371-01    M.C.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 9/17/2019      72275      $572.52
1064371-01    M.C.           Rockaways ASC Development LLC              Ultrasonic Guidance For Needle Pla… 9/17/2019     76942      $423.32
1064371-01    M.C.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T… 10/25/2019   20552      $554.74
1064371-01    M.C.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/25/2019    62321      $976.38
1064371-01    M.C.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 10/25/2019     72275      $572.52
1064371-01    M.C.           Rockaways ASC Development LLC              Ultrasonic Guidance For Needle Pla… 10/25/2019    76942      $423.32
1064371-01    M.C.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; Synov… 2/24/2020     29875     $1,472.45
1064371-01    M.C.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 2/24/2020     29880     $3,026.24
1064371-01    M.C.               Surgicore of Jersey City LLC             Unlisted Procedure, Arthroscopy…    2/24/2020   29999     $1,472.45
1064371-01    M.C.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical, For R… 2/24/2020     G0289     $1,472.45
1063518-01    Y.R.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; S…   1/13/2021   29821      $190.42
1063518-01    Y.R.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; S…   1/13/2021   29821     $5,677.77
1063518-01    Y.R.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; D… 1/13/2021     29823      $200.95
1063518-01    Y.R.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; D… 1/13/2021     29823     $1,472.45
1063518-01    Y.R.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; W… 1/13/2021     29825     $1,472.45
1063518-01    Y.R.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; W… 1/13/2021     29825      $202.51
1063518-01    Y.R.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; D… 1/13/2021     29826       $48.27
1063518-01    Y.R.            New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; D… 1/13/2021     29826     $1,472.45
1063518-01    Y.R.            New Horizon Surgical Center LLC            Injection, Anesthetic Agent; Brach…  1/13/2021   64415      $979.78
1063518-01    Y.R.            New Horizon Surgical Center LLC           Ultrasonic Guidance For Needle Pla… 1/13/2021     76942      $341.96
1063518-01    Y.R.            New Horizon Surgical Center LLC              Surgical Supply; Miscellaneous…    1/13/2021   A4649       $50.00
1063518-01    Y.R.         Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulopl… 3/15/2021     22526     $2,605.78
1063518-01    Y.R.         Bronx SC LLC d/b/a Empire State ASC         Aspiration Or Decompression Proced… 3/15/2021      62287     $5,292.93
1063518-01    Y.R.         Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…    3/15/2021   A4649       $50.00
1062523-04    C.C.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 11/20/2019     22505      $748.08
1062523-04    C.C.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 11/20/2019     23700     $1,577.52
1062523-04    C.C.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 11/20/2019    27198      $405.94
1062523-04    C.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S… 11/24/2019    29821     $1,472.45
1062523-04    C.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 11/24/2019    29823     $1,472.45
1062523-04    C.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 11/24/2019    29826     $1,472.45
1062523-04    C.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; W… 11/24/2019    29827     $5,677.77
1062523-04    C.C.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach… 11/24/2019   64415      $979.78
1062523-04    C.C.            Fifth Avenue Surgery Center LLC           Ultrasonic Guidance For Needle Pla… 11/24/2019    76942      $341.96
1062523-04    C.C.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 1/15/2020      22505      $748.08
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                                                          1687
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                            Service     Code       Billed
1062523-04    C.C.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…     1/15/2020   23700      $1,577.52
1062523-04    C.C.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…    1/15/2020   27198       $405.94
1061919-01    M.C.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or …    11/1/2019   20610       $236.69
1061919-01    M.C.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…     11/1/2019   23700       $748.08
1061919-01    M.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    11/1/2019   29823      $1,472.45
1061919-01    M.C.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     11/1/2019   29825      $3,026.24
1061919-01    M.C.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…      11/1/2019   29999      $1,472.45
1061919-01    M.C.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    11/1/2019   64415       $979.78
1061919-01    M.C.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     11/1/2019   76942       $341.96
1061919-01    M.C.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or …   11/15/2019   20610       $236.69
1061919-01    M.C.          All City Family Healthcare Center, Inc.    Manipulation Of Knee Joint Under G…    11/15/2019   27570       $748.08
1061919-01    M.C.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…    11/15/2019   29875      $1,472.45
1061919-01    M.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …   11/15/2019   29880      $3,026.24
1061919-01    M.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …   11/15/2019   29884      $1,472.45
1061919-01    M.C.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…     11/15/2019   29999      $1,472.45
1061919-01    M.C.          All City Family Healthcare Center, Inc.    Manipulation Of Knee Joint Under G…    12/20/2019   27570       $748.08
1061919-01    M.C.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…    12/20/2019   29875      $1,472.45
1061919-01    M.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …   12/20/2019   29881      $3,026.24
1061919-01    M.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …   12/20/2019   29882      $1,472.45
1061919-01    M.C.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …   12/20/2019   29884      $1,472.45
1061919-01    M.C.          All City Family Healthcare Center, Inc.      Unlisted Procedure, Arthroscopy…     12/20/2019   29999      $1,472.45
1061919-01    M.C.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    1/19/2022   22526      $2,605.78
1061919-01    M.C.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    1/19/2022   22527      $2,605.78
1061919-01    M.C.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced…     1/19/2022   62287      $5,292.93
1061919-01    M.C.            Rockaways ASC Development LLC            Unlisted Procedure, Nervous System…      2/9/2022   64999       $829.30
1062437-02    E.G.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…    1/11/2020   20552       $554.74
1062437-02    E.G.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     1/11/2020   62321       $976.38
1062437-02    E.G.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…     1/11/2020   72275       $572.52
1062437-02    E.G.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     1/11/2020   76942       $423.32
1062437-02    E.G.             New Horizon Surgical Center LLC         Arthroscopy, Knee, Surgical; Synov…     2/18/2020   29875      $1,472.45
1062437-02    E.G.             New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical; With …    2/18/2020   29880      $3,026.24
1062437-02    E.G.             New Horizon Surgical Center LLC          Arthroscopy, Knee, Surgical, For R…    2/18/2020   G0289      $1,472.45
1062437-02    E.G.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    3/11/2020   22526      $2,646.46
1062437-02    E.G.            Rockaways ASC Development LLC             Perq Intrdscl Electrothrm Annulopl…    3/11/2020   22527      $2,646.46
1062437-02    E.G.            Rockaways ASC Development LLC            Aspiration Or Decompression Proced…     3/11/2020   62287      $5,292.93
1062437-02    E.G.            Rockaways ASC Development LLC            Probe, Percutaneous Lumbar Discect…     3/11/2020   C2614      $1,500.00
1062437-03    E.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    11/11/2019   64490       $976.38
1062437-03    E.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Crv/…    11/11/2019   64491       $447.52
1062437-03    E.P.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…    1/11/2020   20552       $554.74
1062437-03    E.P.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     1/11/2020   62321       $976.38
1062437-03    E.P.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…     1/11/2020   72275       $572.52
1062437-03    E.P.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     1/11/2020   76942       $423.32
1062437-03    E.P.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…    2/24/2020   20552       $554.74
1062437-03    E.P.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     2/24/2020   62323       $976.38
1062437-03    E.P.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…     2/24/2020   72275       $572.52
1062437-03    E.P.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     2/24/2020   76942       $423.32
1062572-01    C.G.       Surgicore LLC d/b/a Surgicore Surgical Center  Grafting Of Autologous Soft Tissue…    8/28/2020   15769      $1,170.59
1062572-01    C.G.       Surgicore LLC d/b/a Surgicore Surgical Center Repair, Secondary, Disrupted Ligam…     8/28/2020   27698      $3,311.97
1062572-01    C.G.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Ankle (Tibiotalar And…     8/28/2020   29898      $1,472.45
1062572-01    C.G.       Surgicore LLC d/b/a Surgicore Surgical Center    Surgical Supply; Miscellaneous…      8/28/2020   A4649        $50.00
1062572-01    C.G.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Wrist, Surgical; Exci…   10/19/2020   29846      $3,026.24
1062572-01    C.G.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent; Brach…   10/19/2020   64415       $979.78
1062572-01    C.G.       Surgicore LLC d/b/a Surgicore Surgical Center Ultrasonic Guidance For Needle Pla…    10/19/2020   76942       $341.96
1062572-01    C.G.       Surgicore LLC d/b/a Surgicore Surgical Center    Surgical Supply; Miscellaneous…     10/19/2020   A4649        $50.00
1062572-01    C.G.               Surgicore of Jersey City LLC          Decompression; Unspecified Nerve(S…     4/13/2021   64722     $15,286.50
1062572-01    C.G.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…      4/13/2021   A4649        $50.00
1063633-02    W.G.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     11/6/2019   62323       $976.38
1063633-02    W.G.          Bronx SC LLC d/b/a Empire State ASC        Epidurography, Radiological Superv…     11/6/2019   72275       $572.53
1063633-02    W.G.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/5/2020   64493       $976.38
1063633-02    W.G.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/5/2020   64493       $447.52
1063633-02    W.G.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/5/2020   64494       $447.52
1063633-02    W.G.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/5/2020   64495       $447.52
1063633-02    W.G.          Bronx SC LLC d/b/a Empire State ASC        Injection Procedure For Diskograph…     6/18/2020   62290       $374.36
1063633-02    W.G.          Bronx SC LLC d/b/a Empire State ASC        Injection Procedure For Diskograph…     6/18/2020   62290       $748.73
1063633-02    W.G.          Bronx SC LLC d/b/a Empire State ASC        Diskography, Lumbar, Radiological …     6/18/2020   72295       $481.29
1063633-02    W.G.          Bronx SC LLC d/b/a Empire State ASC        Diskography, Lumbar, Radiological …     6/18/2020   72295      $1,043.91
1063633-02    W.G.          Bronx SC LLC d/b/a Empire State ASC           Surgical Supply; Miscellaneous…      6/18/2020   A4649        $50.00
1063633-02    W.G.               Surgicore of Jersey City LLC           Arthroscopy Hip W/Femoroplasty…       11/12/2020   29914      $5,677.77
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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1063633-02    W.G.               Surgicore of Jersey City LLC          Arthroscopy Hip W/Acetabuloplasty… 11/12/2020      29915     $2,798.20
1063633-02    W.G.               Surgicore of Jersey City LLC            Injection, Anesthetic Agent; Sciat… 11/12/2020   64445      $829.30
1063633-02    W.G.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla… 11/12/2020     76942      $341.96
1063633-02    W.G.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    11/12/2020   A4649       $50.00
1063633-02    W.G.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise … 11/12/2020    L8699     $7,168.98
1063574-01    S.Z.              Manalapan Surgery Center Inc            Arthroscopy, Shoulder, Surgical; W… 8/20/2019     29819     $1,472.45
1063574-01    S.Z.              Manalapan Surgery Center Inc            Arthroscopy, Shoulder, Surgical; S…   8/20/2019   29821     $1,472.45
1063574-01    S.Z.              Manalapan Surgery Center Inc            Arthroscopy, Shoulder, Surgical; D… 8/20/2019     29823     $3,026.24
1063574-01    S.Z.              Manalapan Surgery Center Inc            Arthroscopy, Shoulder, Surgical; W… 8/20/2019     29825     $1,472.45
1063574-01    S.Z.              Manalapan Surgery Center Inc              Unlisted Procedure, Arthroscopy…    8/20/2019   29999     $1,472.45
1063574-01    S.Z.              Manalapan Surgery Center Inc            Injection, Anesthetic Agent; Brach…   8/20/2019   64415      $979.78
1063574-01    S.Z.              Manalapan Surgery Center Inc           Ultrasonic Guidance For Needle Pla… 8/20/2019      76942      $341.96
1063574-01    S.Z.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov… 10/2/2019      29876     $1,472.45
1063574-01    S.Z.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; Abras… 10/2/2019     29879     $1,472.45
1063574-01    S.Z.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 10/2/2019     29880     $3,026.24
1063574-01    S.Z.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical, For R… 10/2/2019     G0289     $1,472.45
1061160-03    M.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 11/11/2019     64493      $976.38
1061160-03    M.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 11/11/2019     64493      $447.52
1061160-03    M.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 11/11/2019     64494      $447.52
1061160-03    M.M.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S…   2/23/2021   29821     $5,677.77
1061160-03    M.M.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D… 2/23/2021     29823     $1,472.45
1061160-03    M.M.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; W… 2/23/2021     29825     $1,472.45
1061160-03    M.M.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D… 2/23/2021     29826     $1,472.45
1061160-03    M.M.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent; Brach…   2/23/2021   64415      $979.78
1061160-03    M.M.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla… 2/23/2021      76942      $341.96
1061160-03    M.M.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…     2/23/2021   A4649       $50.00
1061160-03    M.M.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …   2/23/2021   L8699      $227.00
1062097-02    T.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T… 11/11/2019     20553      $236.69
1062097-02    T.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent And/Or… 11/11/2019     64483      $976.38
1062097-02    T.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent And/Or… 11/11/2019     64483      $447.52
1062097-02    T.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent And/Or… 11/11/2019     64484      $447.52
1062097-02    T.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 11/11/2019     72275      $572.53
1062097-02    T.G.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent; Brach…   1/24/2020   64415      $979.78
1062097-02    T.G.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla… 1/24/2020      76942      $341.96
1063270-01    J.P.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 2/20/2020     22526     $2,605.78
1063270-01    J.P.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 2/20/2020     22527     $2,605.79
1063270-01    J.P.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 2/20/2020      62287     $5,292.93
1063270-01    J.P.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…   8/13/2020   20552      $236.69
1063270-01    J.P.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/13/2020      62321      $976.38
1063270-01    J.P.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 8/13/2020      76942      $341.96
1063270-01    J.P.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     8/13/2020   A4649       $50.00
1063270-01    J.P.           Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulopl… 8/27/2020     22526     $2,605.78
1063270-01    J.P.           Rockaways ASC Development LLC             Diskectomy, Anterior, With Decompr… 8/27/2020      63075     $5,292.93
1063270-01    J.P.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     8/27/2020   A4649       $50.00
1059654-01    S.R.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/5/2019       62323      $976.38
1059654-01    S.R.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 8/5/2019       72275      $572.53
1059654-01    S.R.           Rockaways ASC Development LLC              Arthrocentesis, Aspiration And/Or …    9/5/2019   20610      $554.75
1059654-01    S.R.           Rockaways ASC Development LLC              Arthroscopy, Knee, Surgical; For R…    9/5/2019   29874     $1,513.12
1059654-01    S.R.           Rockaways ASC Development LLC             Arthroscopy, Knee, Surgical; Synov…     9/5/2019   29876     $1,513.12
1059654-01    S.R.           Rockaways ASC Development LLC              Arthroscopy, Knee, Surgical; With …    9/5/2019   29881     $3,026.24
1059654-01    S.R.           Rockaways ASC Development LLC                Unlisted Procedure, Arthroscopy…     9/5/2019   29999     $1,513.12
1057899-02    R.J.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/18/2019      62323      $976.38
1057899-02    R.J.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 7/18/2019      72275      $572.53
1057899-02    R.J.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 7/25/2019     22526     $2,605.78
1057899-02    R.J.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 7/25/2019     22527     $2,605.78
1057899-02    R.J.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 7/25/2019      62287     $5,292.93
1057899-02    R.J.           Rockaways ASC Development LLC              Closed Treatment Of Posterior Pelv… 9/14/2019     27198      $893.24
1057899-02    R.J.           Rockaways ASC Development LLC              Manipulation, Hip Joint, Requiring… 9/14/2019     27275     $1,577.52
1057899-02    R.J.           Rockaways ASC Development LLC              Closed Treatment Of Posterior Pelv… 9/28/2019     27198      $893.24
1057899-02    R.J.           Rockaways ASC Development LLC              Manipulation, Hip Joint, Requiring… 9/28/2019     27275     $1,577.52
1057899-02    R.J.           Rockaways ASC Development LLC              Closed Treatment Of Posterior Pelv… 11/2/2019     27198      $893.24
1057899-02    R.J.           Rockaways ASC Development LLC              Manipulation, Hip Joint, Requiring… 11/2/2019     27275     $1,577.52
1057590-01    O.L.           Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…   8/20/2019   20552      $554.74
1057590-01    O.L.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/20/2019      62323      $976.38
1057590-01    O.L.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 8/20/2019      72275      $572.52
1057590-01    O.L.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 8/20/2019      76942      $423.32
1057590-01    O.L.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 12/12/2019     29875     $1,472.45
1057590-01    O.L.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 12/12/2019    29880     $3,026.24
                                                                 101 of 124                                                            Exhibit 3
       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                           Page 242 of 580 PageID #:
                                                            1689
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                Date of     Billing   Amount
                                           Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1057960-01    J.P.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 7/27/2019     22505      $748.08
1057960-01    J.P.                Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho… 7/27/2019     23700     $1,577.52
1057960-01    J.P.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 8/3/2019      22505      $748.08
1057960-01    J.P.                Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho… 8/3/2019      23700     $1,577.52
1057960-01    J.P.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 8/10/2019     22505      $748.08
1057960-01    J.P.                Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho… 8/10/2019     23700     $1,577.52
1057960-01    J.P.           All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/22/2019     62321      $976.38
1057960-01    J.P.           All City Family Healthcare Center, Inc.          Epidurography, Radiological Superv… 8/22/2019     72275      $572.53
1057960-01    J.P.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl… 8/27/2019    22526     $2,605.78
1057960-01    J.P.           All City Family Healthcare Center, Inc.           Injection Procedure For Diskograph… 8/27/2019    62291      $748.73
1057960-01    J.P.           All City Family Healthcare Center, Inc.          Diskectomy, Anterior, With Decompr… 8/27/2019     63075     $5,292.93
1057960-01    J.P.           All City Family Healthcare Center, Inc.           Diskography, Cervical Or Thoracic,… 8/27/2019    72285      $962.54
1057960-02    R.F.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 7/27/2019     22505      $748.08
1057960-02    R.F.                Surgicore of Jersey City LLC                 Manipulation, Hip Joint, Requiring… 7/27/2019    27275     $1,577.52
1057960-02    R.F.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 8/3/2019      22505      $748.08
1057960-02    R.F.                Surgicore of Jersey City LLC                 Manipulation, Hip Joint, Requiring…   8/3/2019   27275     $1,577.52
1057960-02    R.F.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 8/10/2019     22505      $748.08
1057960-02    R.F.                Surgicore of Jersey City LLC                 Manipulation, Hip Joint, Requiring… 8/10/2019    27275     $1,577.52
1057960-02    R.F.           All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/22/2019     62321      $976.38
1057960-02    R.F.           All City Family Healthcare Center, Inc.          Epidurography, Radiological Superv… 8/22/2019     72275      $572.53
1057960-02    R.F.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl… 8/27/2019    22526     $2,605.78
1057960-02    R.F.           All City Family Healthcare Center, Inc.           Injection Procedure For Diskograph… 8/27/2019    62291      $748.73
1057960-02    R.F.           All City Family Healthcare Center, Inc.          Diskectomy, Anterior, With Decompr… 8/27/2019     63075     $5,292.93
1057960-02    R.F.           All City Family Healthcare Center, Inc.           Diskography, Cervical Or Thoracic,… 8/27/2019    72285      $962.54
1057248-02    R.S.           Bronx SC LLC d/b/a Empire State ASC               Arthroscopy, Knee, Surgical; Abras… 6/24/2019    29879     $1,472.45
1057248-02    R.S.           Bronx SC LLC d/b/a Empire State ASC               Arthroscopy, Knee, Surgical; With … 6/24/2019    29880     $3,026.24
1057248-02    R.S.                Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/24/2019     62321      $976.38
1057248-02    R.S.                Surgicore of Jersey City LLC                Epidurography, Radiological Superv… 8/24/2019     72275      $572.53
1057248-02    R.S.                Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/7/2019      62321      $976.38
1057248-02    R.S.                Surgicore of Jersey City LLC                Epidurography, Radiological Superv… 9/7/2019      72275      $572.53
1057248-02    R.S.                Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/21/2019     62321      $976.38
1057248-02    R.S.                Surgicore of Jersey City LLC                Epidurography, Radiological Superv… 9/21/2019     72275      $572.53
1057240-02    A.R.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/18/2019     62323      $277.37
1057240-02    A.R.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/18/2019     62323      $976.38
1057240-02    A.R.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 6/18/2019     72275      $572.52
1057240-02    A.R.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 6/18/2019     76942      $211.66
1057240-02    A.R.            Rockaways ASC Development LLC                     Injection(S); Single Or Multiple T… 7/31/2019   20552      $554.74
1057240-02    A.R.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/31/2019     62323      $976.38
1057240-02    A.R.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 7/31/2019     72275      $572.52
1057240-02    A.R.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla… 7/31/2019     76942      $423.32
1057240-02    A.R.             Fifth Avenue Surgery Center LLC                  Arthroscopy, Shoulder, Surgical; S… 8/23/2019   29821     $1,472.45
1057240-02    A.R.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D… 8/23/2019    29823     $3,026.24
1057240-02    A.R.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D… 8/23/2019    29824     $1,472.45
1057240-02    A.R.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; W… 8/23/2019    29825     $1,472.45
1057240-02    A.R.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D… 8/23/2019    29826     $1,472.45
1057240-02    A.R.             Fifth Avenue Surgery Center LLC                  Injection, Anesthetic Agent; Brach… 8/23/2019   64415      $979.78
1057240-02    A.R.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla… 8/23/2019     76942      $341.96
1057240-02    A.R.            Rockaways ASC Development LLC                    Dstr Nrolytc Agnt Parverteb Fct Sn… 7/18/2022    64635      $976.38
1057240-02    A.R.            Rockaways ASC Development LLC                    Dstr Nrolytc Agnt Parverteb Fct Ad… 7/18/2022    64636      $447.52
1055857-01    H.S.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 6/17/2019     22505     $1,577.52
1055857-01    H.S.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv… 6/17/2019    27198      $405.94
1055857-01    H.S.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 6/19/2019     22505     $1,577.52
1055857-01    H.S.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv… 6/19/2019    27198      $405.94
1055857-01    H.S.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 8/28/2019     22505     $1,577.52
1055857-01    H.S.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv… 8/28/2019    27198      $405.94
1055857-01    H.S.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 11/20/2019    62323      $976.38
1055857-01    H.S.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv… 11/20/2019    72275      $572.52
1056026-02    A.G.           Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/7/2019      62321      $976.38
1056026-02    A.G.           Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 9/18/2019     62321      $976.38
1056026-02    A.G.           Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 11/6/2019     64493      $447.52
1056026-02    A.G.           Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 11/6/2019     64493      $976.38
1056026-02    A.G.           Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 11/6/2019     64494      $447.52
1056026-02    A.G.           Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 11/6/2019     64495      $447.52
1056026-02    A.G.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl… 12/19/2019   22526     $2,605.78
1056026-02    A.G.           All City Family Healthcare Center, Inc.           Injection Procedure For Diskograph… 12/19/2019   62291      $748.74
1056026-02    A.G.           All City Family Healthcare Center, Inc.          Diskectomy, Anterior, With Decompr… 12/19/2019    63075     $5,292.93
1056026-02    A.G.           All City Family Healthcare Center, Inc.           Diskography, Cervical Or Thoracic,… 12/19/2019   72285      $962.54
1056026-02    A.G.           All City Family Healthcare Center, Inc.           Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 2/20/2020    64490      $976.38
                                                                       102 of 124                                                            Exhibit 3
       Case 1:24-cv-08606-JRC                 Document 1-4 Filed 12/17/24                      Page 243 of 580 PageID #:
                                                          1690
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1056026-02    A.G.          All City Family Healthcare Center, Inc.     Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 2/20/2020    64490      $447.52
1056026-02    A.G.          All City Family Healthcare Center, Inc.     Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 2/20/2020    64491      $447.52
1056026-02    A.G.          All City Family Healthcare Center, Inc.     Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 2/20/2020    64492      $447.52
1055096-01    B.C.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 6/14/2019     29875     $1,472.45
1055096-01    B.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 6/14/2019    29880     $3,026.24
1055096-01    B.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 6/14/2019    29884     $1,472.45
1055096-01    B.C.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…   6/14/2019   29999     $1,472.45
1055096-01    B.C.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T… 6/29/2019   20552      $277.37
1055096-01    B.C.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/29/2019     62323      $976.38
1055096-01    B.C.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 6/29/2019     72275      $572.52
1055096-01    B.C.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 6/29/2019     76942      $211.66
1055096-01    B.C.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 7/12/2019     29875     $1,472.45
1055096-01    B.C.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Abras… 7/12/2019     29879     $1,472.45
1055096-01    B.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 7/12/2019    29881     $3,026.24
1055096-01    B.C.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 7/12/2019    29884     $1,472.45
1055096-01    B.C.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…   7/12/2019   29999     $1,472.45
1055096-01    B.C.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 8/16/2019     22505      $748.08
1055096-01    B.C.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 8/16/2019    27198      $405.94
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation, Hip Joint, Requiring… 8/16/2019    27275     $1,577.52
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation, Hip Joint, Requiring… 8/16/2019    27275      $748.08
1055096-01    B.C.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 8/19/2019     22505      $748.08
1055096-01    B.C.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 8/19/2019    27198      $405.94
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation, Hip Joint, Requiring… 8/19/2019    27275      $748.08
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation, Hip Joint, Requiring… 8/19/2019    27275     $1,577.52
1055096-01    B.C.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 9/4/2019      22505      $748.08
1055096-01    B.C.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…   9/4/2019   27198      $405.94
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation, Hip Joint, Requiring…   9/4/2019   27275      $748.08
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation, Hip Joint, Requiring…   9/4/2019   27275     $1,577.52
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 7/28/2020     22526     $2,605.78
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 7/28/2020     22527     $2,605.79
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 7/28/2020     62287     $5,292.93
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    7/28/2020   A4649       $50.00
1054061-01    G.S.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/11/2021     64493      $447.52
1054061-01    G.S.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/11/2021     64493      $976.38
1054061-01    G.S.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/11/2021     64494      $447.52
1054061-01    G.S.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 1/11/2021     64495      $447.52
1054061-01    G.S.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    1/11/2021   A4649       $50.00
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Dstr Nrolytc Agnt Parverteb Fct Sn… 12/14/2021    64635      $447.52
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Dstr Nrolytc Agnt Parverteb Fct Sn… 12/14/2021    64635      $976.38
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Dstr Nrolytc Agnt Parverteb Fct Ad… 12/14/2021    64636      $447.52
1055548-02    G.P.            Fifth Avenue Surgery Center LLC          Njx Pltlt Plasma W/Img Harvest/Pre… 6/12/2019     0232T      $437.96
1055548-02    G.P.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 6/12/2019     29875     $1,472.45
1055548-02    G.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 6/12/2019    29880     $3,026.24
1055548-02    G.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; Drill…  6/12/2019   29886     $1,472.45
1055548-02    G.P.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…   6/12/2019   29999     $1,472.45
1055548-02    G.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/9/2020      64493      $447.52
1055548-02    G.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/9/2020      64493      $976.38
1055548-02    G.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/9/2020      64494      $447.52
1055548-02    G.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/9/2020      64495      $447.52
1054043-01    F.T.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/31/2019     62321      $976.38
1054043-01    F.T.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 8/21/2019     62321      $976.38
1054043-01    F.T.         Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/4/2019      62323      $976.38
1054043-01    F.T.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 9/26/2019     29875     $1,472.45
1054043-01    F.T.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 9/26/2019    29880     $3,026.24
1054043-01    F.T.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 9/26/2019    29884     $1,472.45
1054043-01    F.T.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…   9/26/2019   29999     $1,472.45
1054043-01    F.T.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor… 9/26/2019    64447      $829.30
1054043-01    F.T.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 9/26/2019     76942      $341.96
1052843-01    N.F.          All City Family Healthcare Center, Inc.    Arthroscopy, Ankle (Tibiotalar And… 4/24/2019     29895     $3,026.24
1052843-01    N.F.          All City Family Healthcare Center, Inc.    Arthroscopy, Ankle (Tibiotalar And… 4/24/2019     29897     $1,472.45
1052843-01    N.F.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Diagnostic, Wit… 10/2/2019     29870     $1,472.45
1052843-01    N.F.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 10/2/2019     29875     $1,472.45
1052843-01    N.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 10/2/2019    29881     $3,026.24
1052843-01    N.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R… 10/2/2019    G0289     $1,472.45
1052843-01    N.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/10/2021     62323      $976.38
1052843-01    N.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 1/10/2021     72275      $572.53
1052843-01    N.F.     NYEEQASC LLC d/b/a North Queens Surgical Center    Surgical Supply; Miscellaneous…    1/10/2021   A4649       $50.00
1052359-01    R.S.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 5/20/2019     22505      $748.08
                                                                103 of 124                                                            Exhibit 3
       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                     Page 244 of 580 PageID #:
                                                           1691
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1052359-01    R.S.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…    5/20/2019   23700     $1,577.52
1052359-01    R.S.               Surgicore of Jersey City LLC          Closed Treatment Of Posterior Pelv…    5/20/2019   27198      $405.94
1052359-01    R.S.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…    5/22/2019   22505      $748.08
1052359-01    R.S.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…    5/22/2019   23700     $1,577.52
1052359-01    R.S.               Surgicore of Jersey City LLC          Closed Treatment Of Posterior Pelv…    5/22/2019   27198      $405.94
1052359-01    R.S.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…    5/24/2019   22505      $748.08
1052359-01    R.S.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…    5/24/2019   23700     $1,577.52
1052359-01    R.S.               Surgicore of Jersey City LLC          Closed Treatment Of Posterior Pelv…    5/24/2019   27198      $405.94
1052359-01    R.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…    2/25/2020   22526     $5,292.93
1052359-01    R.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…    2/25/2020   22527     $2,605.78
1052359-01    R.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System…    2/25/2020   64999      $373.98
1053540-01    Y.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Pltlt Plasma W/Img Harvest/Pre…    7/19/2019   0232T      $437.96
1053540-01    Y.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With …    7/19/2019   29881     $3,026.24
1053540-01    Y.T.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…    7/26/2019   62321      $976.38
1053814-02    K.R.             Fifth Avenue Surgery Center LLC         Njx Pltlt Plasma W/Img Harvest/Pre…     6/1/2019   0232T      $437.96
1053814-02    K.R.             Fifth Avenue Surgery Center LLC         Arthroscopy, Knee, Surgical; Synov…     6/1/2019   29875     $1,472.45
1053814-02    K.R.             Fifth Avenue Surgery Center LLC         Arthroscopy, Knee, Surgical; With …     6/1/2019   29881     $3,026.24
1053814-02    K.R.             Fifth Avenue Surgery Center LLC           Unlisted Procedure, Arthroscopy…      6/1/2019   29999     $1,472.45
1053814-02    K.R.             Fifth Avenue Surgery Center LLC          Incision, Extensor Tendon Sheath, …    6/7/2019   25000     $3,290.01
1053814-02    K.R.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…    6/7/2019   64415      $829.30
1053814-02    K.R.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     6/7/2019   76942      $341.96
1053814-02    K.R.             Fifth Avenue Surgery Center LLC         Arthroscopy, Shoulder, Surgical; W…    6/26/2019   29819     $1,472.45
1053814-02    K.R.             Fifth Avenue Surgery Center LLC         Arthroscopy, Shoulder, Surgical; D…    6/26/2019   29823     $3,026.24
1053814-02    K.R.             Fifth Avenue Surgery Center LLC         Arthroscopy, Shoulder, Surgical; W…    6/26/2019   29825     $1,472.45
1053814-02    K.R.             Fifth Avenue Surgery Center LLC         Arthroscopy, Shoulder, Surgical; D…    6/26/2019   29826     $1,472.45
1053814-02    K.R.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…   6/26/2019   64415      $829.30
1053814-02    K.R.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…    6/26/2019   76942      $341.96
1053814-02    K.R.               Surgicore of Jersey City LLC          Transection Or Avulsion Of Other S…    8/23/2021   64772     $1,071.54
1053814-02    K.R.               Surgicore of Jersey City LLC          Transection Or Avulsion Of Other S…    8/23/2021   64772     $2,224.45
1053814-02    K.R.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…     8/23/2021   A4649       $50.00
1053814-02    K.R.               Surgicore of Jersey City LLC           Prosthetic Implant, Not Otherwise …   8/23/2021   L8699     $3,380.00
1053814-02    K.R.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S…   2/28/2024   29821     $5,677.77
1053814-02    K.R.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; D…    2/28/2024   29823     $1,472.45
1053814-02    K.R.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W…    2/28/2024   29825     $1,472.45
1053814-02    K.R.               Surgicore of Jersey City LLC            Unlisted Procedure, Arthroscopy…     2/28/2024   29999     $1,472.45
1053814-02    K.R.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent; Brach…   2/28/2024   64415      $979.78
1053814-02    K.R.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla…    2/28/2024   76942      $341.96
1052354-01    P.W.          Bronx SC LLC d/b/a Empire State ASC        Arthroscopy, Knee, Surgical; With …    8/26/2019   29880     $3,026.24
1052354-01    P.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     2/3/2020   62321      $976.38
1052354-01    P.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv…     2/3/2020   72275      $572.53
1051820-01    D.V.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Knee, Surgical; Synov…     4/1/2019   29876     $1,472.45
1051820-01    D.V.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Knee, Surgical; With …     4/1/2019   29881     $3,026.24
1051820-01    D.V.       Surgicore LLC d/b/a Surgicore Surgical Center   Unlisted Procedure, Arthroscopy…      4/1/2019   29999     $1,472.45
1051820-01    D.V.            Rockaways ASC Development LLC             Injection(S); Single Or Multiple T…   6/18/2019   20552      $277.37
1051820-01    D.V.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    6/18/2019   62323      $976.38
1051820-01    D.V.            Rockaways ASC Development LLC            Epidurography, Radiological Superv…    6/18/2019   72275      $572.52
1051820-01    D.V.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…    6/18/2019   76942      $211.66
1051820-01    D.V.            Rockaways ASC Development LLC            Manipulation Of Spine Requiring An…    7/13/2019   22505     $1,577.52
1051820-01    D.V.            Rockaways ASC Development LLC            Closed Treatment Of Posterior Pelv…    7/13/2019   27198      $446.62
1051820-01    D.V.            Rockaways ASC Development LLC             Manipulation, Hip Joint, Requiring…   7/13/2019   27275      $788.76
1051820-01    D.V.            Rockaways ASC Development LLC            Manipulation Of Spine Requiring An…    7/27/2019   22505     $1,577.52
1051820-01    D.V.            Rockaways ASC Development LLC            Closed Treatment Of Posterior Pelv…    7/27/2019   27198      $446.62
1051820-01    D.V.            Rockaways ASC Development LLC             Manipulation, Hip Joint, Requiring…   7/27/2019   27275      $788.76
1051820-01    D.V.            Rockaways ASC Development LLC            Manipulation Of Spine Requiring An…     8/3/2019   22505     $1,577.52
1051820-01    D.V.            Rockaways ASC Development LLC            Closed Treatment Of Posterior Pelv…     8/3/2019   27198      $893.24
1051820-01    D.V.            Rockaways ASC Development LLC             Manipulation, Hip Joint, Requiring…    8/3/2019   27275     $1,577.52
1051948-01    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Pltlt Plasma W/Img Harvest/Pre…    4/16/2019   0232T      $437.96
1051948-01    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…    4/16/2019   29823     $3,026.24
1051948-01    R.L.            Rockaways ASC Development LLC            Manipulation Of Spine Requiring An…    6/14/2019   22505     $1,577.52
1051948-01    R.L.            Rockaways ASC Development LLC            Manipulation Under Anesthesia, Sho…    6/14/2019   23700      $788.76
1051948-01    R.L.            Rockaways ASC Development LLC            Closed Treatment Of Posterior Pelv…    6/14/2019   27198      $446.62
1051948-01    R.L.            Rockaways ASC Development LLC             Manipulation, Hip Joint, Requiring…   6/14/2019   27275      $788.76
1051948-01    R.L.            Rockaways ASC Development LLC            Manipulation Of Spine Requiring An…    6/21/2019   22505     $1,577.52
1051948-01    R.L.            Rockaways ASC Development LLC            Manipulation Under Anesthesia, Sho…    6/21/2019   23700      $788.76
1051948-01    R.L.            Rockaways ASC Development LLC            Closed Treatment Of Posterior Pelv…    6/21/2019   27198      $446.62
1051948-01    R.L.            Rockaways ASC Development LLC             Manipulation, Hip Joint, Requiring…   6/21/2019   27275      $788.76
1051948-01    R.L.            Rockaways ASC Development LLC            Manipulation Of Spine Requiring An…    6/28/2019   22505     $1,577.52
1051948-01    R.L.            Rockaways ASC Development LLC            Manipulation Under Anesthesia, Sho…    6/28/2019   23700      $788.76
                                                                 104 of 124                                                            Exhibit 3
       Case 1:24-cv-08606-JRC                 Document 1-4 Filed 12/17/24                      Page 245 of 580 PageID #:
                                                          1692
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1051948-01    R.L.           Rockaways ASC Development LLC              Closed Treatment Of Posterior Pelv… 6/28/2019    27198      $446.62
1051948-01    R.L.           Rockaways ASC Development LLC              Manipulation, Hip Joint, Requiring… 6/28/2019    27275      $788.76
1051948-01    R.L.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T… 7/30/2019   20552      $554.74
1051948-01    R.L.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/30/2019     62323      $976.38
1051948-01    R.L.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 7/30/2019     72275      $572.52
1051948-01    R.L.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 7/30/2019     76942      $423.32
1051948-01    R.L.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T… 9/21/2019   20552      $554.74
1051948-01    R.L.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/21/2019     62323      $976.38
1051948-01    R.L.           Rockaways ASC Development LLC             Epidurography, Radiological Superv… 9/21/2019     72275      $572.52
1051948-01    R.L.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 9/21/2019     76942      $423.32
1052324-01    T.M.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 4/23/2019     29875     $1,472.45
1052324-01    T.M.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 4/23/2019    29881     $3,026.24
1052324-01    T.M.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor… 4/23/2019    64447      $829.30
1052324-01    T.M.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 4/23/2019     76942      $341.96
1052324-01    T.M.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 11/16/2019    22505      $748.08
1052324-01    T.M.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 11/16/2019    23700     $1,577.52
1052324-01    T.M.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 11/16/2019   27198      $405.94
1052324-01    T.M.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 11/23/2019    22505      $748.08
1052324-01    T.M.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 11/23/2019    23700     $1,577.52
1052324-01    T.M.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 11/23/2019   27198      $405.94
1052324-01    T.M.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 11/30/2019    22505      $748.08
1052324-01    T.M.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 11/30/2019    23700     $1,577.52
1052324-01    T.M.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 11/30/2019   27198      $405.94
1051253-03     J.J.         All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 10/7/2019    22526     $2,605.78
1051253-03     J.J.         All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 10/7/2019     62287     $5,292.93
1051253-03     J.J.          Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…  3/9/2023   20552      $236.69
1051253-03     J.J.          Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/9/2023      62323      $976.38
1051253-03     J.J.          Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…    3/9/2023   76942      $341.96
1051466-01    J.S.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 5/25/2019     62323      $976.38
1051466-01    J.S.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 5/25/2019     72275      $572.53
1051466-01    J.S.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/8/2019      62323      $976.38
1051466-01    J.S.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 6/8/2019      72275      $572.53
1051466-01    J.S.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/22/2019     62323      $976.38
1051466-01    J.S.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 6/22/2019     72275      $572.53
1051466-01    J.S.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…   1/7/2020   29821     $5,677.77
1051466-01    J.S.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…   1/7/2020   29823     $1,472.45
1051466-01    J.S.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…    1/7/2020   29825     $1,472.45
1051466-01    J.S.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…   1/7/2020   64415      $979.78
1051466-01    J.S.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…    1/7/2020   76942      $341.96
1052072-01    N.P.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S…  5/15/2019   29821     $1,472.45
1052072-01    N.P.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D… 5/15/2019    29823     $1,472.45
1052072-01    N.P.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W… 5/15/2019     29825     $1,472.45
1052072-01    N.P.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W… 5/15/2019     29827     $5,677.77
1052072-01    N.P.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent; Brach…  5/15/2019   64415      $979.78
1052072-01    N.P.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla… 5/15/2019     76942      $341.96
1052072-01    N.P.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…    9/5/2019   29825     $1,472.45
1052072-01    N.P.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…    9/5/2019   29827     $5,677.77
1052072-01    N.P.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…   9/5/2019   64415      $979.78
1052072-01    N.P.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…    9/5/2019   76942      $341.96
1051942-02    O.G.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 5/23/2019     62321      $976.38
1051942-02    O.G.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 5/23/2019     72275      $572.53
1051942-02    O.G.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 6/11/2019    22526     $2,605.78
1051942-02    O.G.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 6/11/2019    22527     $2,605.78
1051942-02    O.G.          All City Family Healthcare Center, Inc.   Diskectomy, Anterior, With Decompr… 6/11/2019      63075     $5,292.93
1051942-02    O.G.          All City Family Healthcare Center, Inc.   Diskectomy, Anterior, With Decompr… 6/11/2019      63076     $2,605.78
1051942-02    O.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; C… 7/22/2019     29806     $5,677.77
1051942-02    O.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 7/22/2019     29826     $1,472.45
1050697-01    T.D.              Manalapan Surgery Center Inc            Perq Intrdscl Electrothrm Annulopl… 6/13/2019    22526     $2,605.78
1050697-01    T.D.              Manalapan Surgery Center Inc            Perq Intrdscl Electrothrm Annulopl… 6/13/2019    22527     $2,605.78
1050697-01    T.D.              Manalapan Surgery Center Inc           Aspiration Or Decompression Proced… 6/13/2019     62287     $5,292.93
1050697-01    T.D.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S… 11/15/2019   29821     $1,472.45
1050697-01    T.D.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 11/15/2019   29823     $3,026.24
1050697-01    T.D.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 11/15/2019   29826     $1,472.45
1050697-01    T.D.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach… 11/15/2019   64415      $979.78
1050697-01    T.D.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 11/15/2019    76942      $341.96
1049976-01    B.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 4/16/2019    22526     $2,605.78
1049976-01    B.C.          All City Family Healthcare Center, Inc.   Diskectomy, Anterior, With Decompr… 4/16/2019      63075     $5,292.93
1049976-01    B.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 4/30/2019    22526     $2,605.78
                                                                105 of 124                                                            Exhibit 3
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                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1049976-01    B.C.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    4/30/2019   22527     $2,605.78
1049976-01    B.C.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…     4/30/2019   62287     $5,292.93
1049976-01    B.C.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…     5/20/2019   22505      $748.08
1049976-01    B.C.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…     5/20/2019   23700      $748.08
1049976-01    B.C.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…     5/20/2019   23700     $1,577.52
1049976-01    B.C.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…    5/20/2019   27198      $405.94
1049976-01    B.C.               Surgicore of Jersey City LLC           Manipulation, Hip Joint, Requiring…    5/20/2019   27275      $748.08
1049976-01    B.C.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…     5/22/2019   22505      $748.08
1049976-01    B.C.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…     5/22/2019   23700      $748.08
1049976-01    B.C.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…     5/22/2019   23700     $1,577.52
1049976-01    B.C.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…    5/22/2019   27198      $405.94
1049976-01    B.C.               Surgicore of Jersey City LLC           Manipulation, Hip Joint, Requiring…    5/22/2019   27275      $748.08
1049976-01    B.C.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…     5/29/2019   22505      $748.08
1049976-01    B.C.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…     5/29/2019   23700     $1,577.52
1049976-01    B.C.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…     5/29/2019   23700      $748.08
1049976-01    B.C.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…    5/29/2019   27198      $405.94
1049976-01    B.C.               Surgicore of Jersey City LLC           Manipulation, Hip Joint, Requiring…    5/29/2019   27275      $748.08
1050642-02    R.L.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/25/2019   22505      $748.08
1050642-02    R.L.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/25/2019   22505     $1,577.52
1050642-02    R.L.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…     3/25/2019   23700      $748.08
1050642-02    R.L.          All City Family Healthcare Center, Inc.     Closed Treatment Of Posterior Pelv…    3/25/2019   27198      $405.93
1050642-02    R.L.          All City Family Healthcare Center, Inc.     Manipulation, Hip Joint, Requiring…    3/25/2019   27275      $748.08
1050642-02    R.L.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/26/2019   22505      $748.08
1050642-02    R.L.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/26/2019   22505     $1,577.52
1050642-02    R.L.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…     3/26/2019   23700      $748.08
1050642-02    R.L.          All City Family Healthcare Center, Inc.     Closed Treatment Of Posterior Pelv…    3/26/2019   27198      $405.93
1050642-02    R.L.          All City Family Healthcare Center, Inc.     Manipulation, Hip Joint, Requiring…    3/26/2019   27275      $748.08
1050642-02    R.L.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/28/2019   22505      $748.08
1050642-02    R.L.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/28/2019   22505     $1,577.52
1050642-02    R.L.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…     3/28/2019   23700      $748.08
1050642-02    R.L.          All City Family Healthcare Center, Inc.     Closed Treatment Of Posterior Pelv…    3/28/2019   27198      $405.93
1050642-02    R.L.          All City Family Healthcare Center, Inc.     Manipulation, Hip Joint, Requiring…    3/28/2019   27275      $748.08
1050642-02    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…      7/1/2019   29826     $1,472.45
1050642-02    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W…      7/1/2019   29827     $5,677.77
1050642-02    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surgical Bice…      7/1/2019   29828     $2,798.20
1049680-01    R.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      5/4/2019   62323      $976.38
1049680-01    R.B.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…      5/4/2019   72275      $572.53
1049680-01    R.B.              Manalapan Surgery Center Inc           Manipulation Of Spine Requiring An…     6/23/2019   22505      $748.08
1049680-01    R.B.              Manalapan Surgery Center Inc           Manipulation Under Anesthesia, Sho…     6/23/2019   23700      $748.08
1049680-01    R.B.              Manalapan Surgery Center Inc           Manipulation Under Anesthesia, Sho…     6/23/2019   23700     $1,577.52
1049680-01    R.B.              Manalapan Surgery Center Inc            Closed Treatment Of Posterior Pelv…    6/23/2019   27198      $405.95
1049680-01    R.B.              Manalapan Surgery Center Inc            Manipulation, Hip Joint, Requiring…    6/23/2019   27275      $748.08
1049680-01    R.B.              Manalapan Surgery Center Inc           Manipulation Of Spine Requiring An…     6/30/2019   22505      $748.08
1049680-01    R.B.              Manalapan Surgery Center Inc           Manipulation Under Anesthesia, Sho…     6/30/2019   23700      $748.08
1049680-01    R.B.              Manalapan Surgery Center Inc           Manipulation Under Anesthesia, Sho…     6/30/2019   23700     $1,577.52
1049680-01    R.B.              Manalapan Surgery Center Inc            Closed Treatment Of Posterior Pelv…    6/30/2019   27198      $405.95
1049680-01    R.B.              Manalapan Surgery Center Inc            Manipulation, Hip Joint, Requiring…    6/30/2019   27275      $748.08
1049680-01    R.B.              Manalapan Surgery Center Inc           Manipulation Of Spine Requiring An…     7/21/2019   22505      $748.08
1049680-01    R.B.              Manalapan Surgery Center Inc           Manipulation Under Anesthesia, Sho…     7/21/2019   23700      $748.08
1049680-01    R.B.              Manalapan Surgery Center Inc           Manipulation Under Anesthesia, Sho…     7/21/2019   23700     $1,577.52
1049680-01    R.B.              Manalapan Surgery Center Inc             Injection Procedure For Sacroiliac…   7/21/2019   27096      $429.53
1049680-01    R.B.              Manalapan Surgery Center Inc            Closed Treatment Of Posterior Pelv…    7/21/2019   27198      $405.95
1049680-01    R.B.              Manalapan Surgery Center Inc            Manipulation, Hip Joint, Requiring…    7/21/2019   27275      $748.08
1049538-02    M.M.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     9/16/2019   62323      $976.38
1049538-02    M.M.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…     9/16/2019   72275      $572.53
1049538-02    M.M.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    9/23/2019   22526     $2,605.78
1049538-02    M.M.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…     9/23/2019   62287     $5,292.93
1049538-02    M.M.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov…     1/27/2020   29875     $1,472.45
1049538-02    M.M.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With …    1/27/2020   29880     $3,026.24
1049538-02    M.M.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With …    1/27/2020   29884     $1,472.45
1049538-02    M.M.               Surgicore of Jersey City LLC             Unlisted Procedure, Arthroscopy…     1/27/2020   29999     $1,472.45
1049538-02    M.M.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical, For R…    1/27/2020   G0289     $1,472.45
1049455-01    G.P.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…     4/12/2019   29875     $1,472.45
1049455-01    G.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …    4/12/2019   29881     $3,026.24
1049455-01    G.P.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …    4/12/2019   29884     $1,472.45
1049455-01    G.P.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…     4/12/2019   29999     $1,472.45
1049455-01    G.P.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor…    4/12/2019   64447      $829.30
1049455-01    G.P.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     4/12/2019   76942      $341.96
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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1049455-01    G.P.       Surgicore LLC d/b/a Surgicore Surgical Center   Tissue Grafts, Other (Eg, Parateno…   5/24/2019   20926     $1,040.79
1049455-01    G.P.       Surgicore LLC d/b/a Surgicore Surgical Center  Repair, Flexor Tendon, Leg; Primar… 5/24/2019      27658     $1,417.17
1049455-01    G.P.       Surgicore LLC d/b/a Surgicore Surgical Center  Tenolysis, Flexor Or Extensor Tend… 5/24/2019      27680     $1,417.17
1049455-01    G.P.       Surgicore LLC d/b/a Surgicore Surgical Center Repair, Primary, Disrupted Ligamen… 5/24/2019       27695     $3,311.97
1049455-01    G.P.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy, Ankle (Tibiotalar And… 5/24/2019       29898     $1,472.45
1049455-01    G.P.       Surgicore LLC d/b/a Surgicore Surgical Center    Injection, Anesthetic Agent; Sciat…  5/24/2019   64445      $976.38
1049455-01    G.P.       Surgicore LLC d/b/a Surgicore Surgical Center Ultrasonic Guidance For Needle Pla… 5/24/2019       76942      $341.96
1049217-01    A.J.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 4/1/2019        63075     $2,605.78
1049217-01    A.J.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 4/1/2019        63075     $5,292.93
1049217-01    A.J.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…     4/7/2019   29823     $3,026.24
1049217-01    A.J.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…     4/7/2019   29824     $1,472.45
1049217-01    A.J.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…     4/7/2019   29826     $1,472.45
1049217-01    A.J.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…    4/7/2019   64415      $829.30
1049217-01    A.J.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…      4/7/2019   76942      $341.96
1049217-01    A.J.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…     5/7/2019   22526     $2,605.78
1049217-01    A.J.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 5/7/2019        62287     $5,292.93
1051358-01    S.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrocentesis, Aspiration And/Or … 11/11/2019      20610      $236.69
1051358-01    S.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S… 11/11/2019      29821     $1,472.45
1051358-01    S.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 11/11/2019      29823     $3,026.24
1051358-01    S.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 11/11/2019      29825     $1,472.45
1051358-01    S.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Arthroscopy…       11/11/2019   29999     $1,472.45
1051358-01    S.A.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov… 1/27/2020       29876     $1,472.45
1051358-01    S.A.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 1/27/2020      29880     $3,026.24
1051358-01    S.A.               Surgicore of Jersey City LLC              Unlisted Procedure, Arthroscopy…    1/27/2020   29999     $1,472.45
1047444-02    J.S.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An… 6/11/2019       22505     $1,577.52
1047444-02    J.S.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An… 6/11/2019       22505      $748.08
1047444-02    J.S.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho… 6/11/2019       23700      $748.08
1047444-02    J.S.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An… 6/18/2019       22505      $748.08
1047444-02    J.S.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An… 6/18/2019       22505     $1,577.52
1047444-02    J.S.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho… 6/18/2019       23700      $748.08
1047444-02    J.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 3/23/2021       62323      $976.38
1047444-02    J.S.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     3/23/2021   A4649       $50.00
1047858-02    E.B.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent And/Or… 6/14/2019      64483      $447.52
1047858-02    E.B.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent And/Or… 6/14/2019      64483      $976.38
1047858-02    E.B.       Surgicore LLC d/b/a Surgicore Surgical Center  Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 12/5/2019      64490      $976.38
1047858-02    E.B.       Surgicore LLC d/b/a Surgicore Surgical Center  Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 12/5/2019      64491      $447.52
1047858-02    E.B.       Surgicore LLC d/b/a Surgicore Surgical Center  Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 12/5/2019      64492      $447.52
1048706-02    D.V.               Surgicore of Jersey City LLC          Arthroscopy, Knee, Surgical; Synov… 12/2/2019       29875     $1,472.45
1048706-02    D.V.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 12/2/2019      29880     $3,026.24
1048706-02    D.V.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 12/2/2019      29884     $1,472.45
1048706-02    D.V.               Surgicore of Jersey City LLC              Unlisted Procedure, Arthroscopy…    12/2/2019   29999     $1,472.45
1048706-02    D.V.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical, For R… 12/2/2019      G0289     $1,472.45
1048706-02    D.V.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 2/19/2020      64490      $976.38
1048706-02    D.V.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 2/19/2020      64490      $488.19
1048706-02    D.V.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 2/19/2020      64491      $488.19
1048706-02    D.V.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv/… 2/19/2020      64492      $488.19
1048706-02    D.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Dstr Nrolytc Agnt Parverteb Fct Sn…      8/3/2020   64633      $976.38
1048706-02    D.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Dstr Nrolytc Agnt Parverteb Fct Ad…      8/3/2020   64634      $447.52
1048706-02    D.V.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…      8/3/2020   A4649       $50.00
1047346-01    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Pltlt Plasma W/Img Harvest/Pre… 4/5/2019        0232T      $437.96
1047346-01    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…      4/5/2019   29823     $3,026.24
1047346-01    A.G.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 6/21/2019       62321      $976.38
1047346-01    A.G.          Bronx SC LLC d/b/a Empire State ASC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/19/2019       62323      $976.38
1047346-01    A.G.          Bronx SC LLC d/b/a Empire State ASC          Injection(S); Single Or Multiple T…    8/9/2019   20553      $554.76
1047675-02    J.G.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 3/19/2019      22526     $2,605.78
1047675-02    J.G.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 3/19/2019       62287     $5,292.93
1047675-02    J.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Pltlt Plasma W/Img Harvest/Pre… 3/29/2019       0232T      $437.96
1047675-02    J.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With … 3/29/2019       29881     $3,026.24
1047675-02    J.G.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/27/2020       62323      $976.38
1047675-02    J.G.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 7/27/2020       72275      $572.53
1047675-02    J.G.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     7/27/2020   A4649       $72.00
1046819-01    J.L.             Fifth Avenue Surgery Center LLC         Arthroscopy, Knee, Surgical; Synov…      3/3/2019   29875     $1,472.45
1046819-01    J.L.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With …     3/3/2019   29880     $3,026.24
1046819-01    J.L.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Femor…     3/3/2019   64447      $829.30
1046819-01    J.L.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…      3/3/2019   76942      $341.96
1046819-01    J.L.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 3/26/2019      22526     $2,605.78
1046819-01    J.L.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 3/26/2019       62287     $5,292.93
1046819-01    J.L.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…     5/7/2019   22526     $2,605.78
                                                                 107 of 124                                                             Exhibit 3
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                                                           1695
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1046819-01    J.L.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 5/7/2019        63075     $5,292.93
1047173-01    M.E.              Manalapan Surgery Center Inc            Manipulation Of Spine Requiring An… 2/14/2019      22505      $748.08
1047173-01    M.E.              Manalapan Surgery Center Inc            Manipulation Under Anesthesia, Sho… 2/14/2019      23700      $748.08
1047173-01    M.E.              Manalapan Surgery Center Inc            Manipulation Under Anesthesia, Sho… 2/14/2019      23700     $1,577.52
1047173-01    M.E.              Manalapan Surgery Center Inc             Closed Treatment Of Posterior Pelv… 2/14/2019     27198      $418.77
1047173-01    M.E.              Manalapan Surgery Center Inc             Manipulation, Hip Joint, Requiring… 2/14/2019     27275      $748.08
1047173-01    M.E.              Manalapan Surgery Center Inc            Manipulation Of Spine Requiring An… 2/17/2019      22505      $748.08
1047173-01    M.E.              Manalapan Surgery Center Inc            Manipulation Under Anesthesia, Sho… 2/17/2019      23700     $1,577.52
1047173-01    M.E.              Manalapan Surgery Center Inc            Manipulation Under Anesthesia, Sho… 2/17/2019      23700      $748.08
1047173-01    M.E.              Manalapan Surgery Center Inc             Closed Treatment Of Posterior Pelv… 2/17/2019     27198      $405.94
1047173-01    M.E.              Manalapan Surgery Center Inc             Manipulation, Hip Joint, Requiring… 2/17/2019     27275      $748.08
1047173-01    M.E.              Manalapan Surgery Center Inc            Manipulation Of Spine Requiring An… 2/21/2019      22505      $748.08
1047173-01    M.E.              Manalapan Surgery Center Inc            Manipulation Under Anesthesia, Sho… 2/21/2019      23700      $748.08
1047173-01    M.E.              Manalapan Surgery Center Inc            Manipulation Under Anesthesia, Sho… 2/21/2019      23700     $1,577.52
1047173-01    M.E.              Manalapan Surgery Center Inc             Closed Treatment Of Posterior Pelv… 2/21/2019     27198      $418.77
1047173-01    M.E.              Manalapan Surgery Center Inc             Manipulation, Hip Joint, Requiring… 2/21/2019     27275      $748.08
1047173-01    M.E.              Manalapan Surgery Center Inc            Aspiration Or Decompression Proced… 3/2/2019       62287     $5,292.93
1047173-01    M.E.              Manalapan Surgery Center Inc            Epidurography, Radiological Superv… 3/2/2019       72275      $572.53
1047173-01    M.E.              Manalapan Surgery Center Inc            Fluor Gid & Loclzj Ndl/Cath Spi Dx… 3/2/2019       77003      $286.26
1047173-01    M.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Pltlt Plasma W/Img Harvest/Pre… 3/10/2019       0232T      $437.96
1047173-01    M.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 3/10/2019       29823     $3,026.24
1047173-01    M.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; W… 3/10/2019       29825     $1,472.45
1047173-01    M.E.               Surgicore of Jersey City LLC          Perc Lamino-/Laminectomy Image Gui… 4/13/2019       0274T     $2,605.78
1047173-01    M.E.               Surgicore of Jersey City LLC          Perc Lamino-/Laminectomy Image Gui… 4/13/2019       0274T     $5,292.93
1047173-01    M.E.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulopl… 4/13/2019     22526     $2,605.78
1047173-01    M.E.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulopl… 4/13/2019     22527     $2,605.78
1047173-01    M.E.               Surgicore of Jersey City LLC             Injection(S); Single Or Multiple T…  5/11/2019   20553      $236.69
1047173-01    M.E.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 5/11/2019      62321      $976.38
1047173-01    M.E.               Surgicore of Jersey City LLC           Epidurography, Radiological Superv… 5/11/2019      72275      $572.53
1047256-01    C.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     6/22/2020   20552      $236.69
1047256-01    C.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/22/2020       62323      $976.38
1047256-01    C.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Epidurography, Radiological Superv… 6/22/2020       72275      $572.53
1047256-01    C.D.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     6/22/2020   A4649       $50.00
1047256-01    C.D.          All City Family Healthcare Center, Inc.     Aspiration Or Decompression Proced… 6/30/2020      62287     $5,292.93
1047256-01    C.D.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     6/30/2020   A4649       $72.00
1046920-01    J.L.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulopl…    2/5/2019   22526     $2,320.90
1046920-01    J.L.          All City Family Healthcare Center, Inc.     Aspiration Or Decompression Proced… 2/5/2019       62287     $5,827.43
1046920-01    J.L.          All City Family Healthcare Center, Inc.     Injection Procedure For Diskograph…     2/5/2019   62290     $1,043.91
1046920-01    J.L.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent And/Or…    2/5/2019   64483      $979.78
1046920-01    J.L.          All City Family Healthcare Center, Inc.     Diskography, Lumbar, Radiological … 2/5/2019       72295      $572.53
1046920-01    J.L.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulopl…    3/4/2019   22526     $2,320.90
1046920-01    J.L.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulopl…    3/4/2019   22527     $2,320.90
1046920-01    J.L.          All City Family Healthcare Center, Inc.     Injection Procedure For Diskograph…     3/4/2019   62291      $481.29
1046920-01    J.L.          All City Family Healthcare Center, Inc.     Injection Procedure For Diskograph…     3/4/2019   62291      $962.54
1046920-01    J.L.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 3/4/2019        63075     $5,827.43
1046920-01    J.L.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 3/4/2019        63076     $2,873.04
1046920-01    J.L.          All City Family Healthcare Center, Inc.     Diskography, Cervical Or Thoracic,…     3/4/2019   72285      $572.53
1046920-01    J.L.           Rockaways ASC Development LLC                Injection(S); Single Or Multiple T… 10/27/2020   20552      $236.69
1046920-01    J.L.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 10/27/2020     62323      $976.38
1046920-01    J.L.           Rockaways ASC Development LLC              Epidurography, Radiological Superv… 10/27/2020     72275      $572.53
1046920-01    J.L.           Rockaways ASC Development LLC              Ultrasonic Guidance For Needle Pla… 10/27/2020     76942      $341.96
1046920-01    J.L.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    10/27/2020   A4649       $50.00
1046215-01    L.G.              Manalapan Surgery Center Inc            Manipulation Of Spine Requiring An… 2/3/2019       22505      $748.08
1046215-01    L.G.              Manalapan Surgery Center Inc            Manipulation Under Anesthesia, Sho… 2/3/2019       23700     $1,577.52
1046215-01    L.G.              Manalapan Surgery Center Inc             Closed Treatment Of Posterior Pelv…    2/3/2019   27198      $418.77
1046215-01    L.G.              Manalapan Surgery Center Inc            Manipulation Of Spine Requiring An… 2/16/2019      22505      $748.08
1046215-01    L.G.              Manalapan Surgery Center Inc            Manipulation Under Anesthesia, Sho… 2/16/2019      23700     $1,577.52
1046215-01    L.G.              Manalapan Surgery Center Inc             Closed Treatment Of Posterior Pelv… 2/16/2019     27198      $418.77
1046215-01    L.G.              Manalapan Surgery Center Inc            Manipulation Of Spine Requiring An… 2/17/2019      22505      $748.08
1046215-01    L.G.              Manalapan Surgery Center Inc            Manipulation Under Anesthesia, Sho… 2/17/2019      23700     $1,577.52
1046215-01    L.G.              Manalapan Surgery Center Inc             Closed Treatment Of Posterior Pelv… 2/17/2019     27198      $405.94
1046215-01    L.G.               Surgicore of Jersey City LLC          Perc Lamino-/Laminectomy Image Gui… 4/13/2019       0274T     $2,605.78
1046215-01    L.G.               Surgicore of Jersey City LLC          Perc Lamino-/Laminectomy Image Gui… 4/13/2019       0274T     $5,292.93
1046215-01    L.G.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulopl… 4/13/2019     22526     $2,605.78
1046215-01    L.G.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulopl… 4/13/2019     22527     $2,605.78
1046206-03    K.M.            Fifth Avenue Surgery Center LLC            Arthrocentesis, Aspiration And/Or … 2/26/2019     20610      $236.69
1046206-03    K.M.            Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; S…   2/26/2019   29821     $1,472.45
1046206-03    K.M.            Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; D… 2/26/2019     29823     $3,026.24
                                                                 108 of 124                                                             Exhibit 3
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                                                           1696
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1046206-03    K.M.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…    2/26/2019   29825     $1,472.45
1046206-03    K.M.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…   2/26/2019   64415      $829.30
1046206-03    K.M.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     2/26/2019   76942      $341.96
1046206-03    K.M.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…   3/12/2019   29821     $1,472.45
1046206-03    K.M.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    3/12/2019   29823     $3,026.24
1046206-03    K.M.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…    3/12/2019   29825     $1,472.45
1046206-03    K.M.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…   3/12/2019   64415      $829.30
1046206-03    K.M.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     3/12/2019   76942      $341.96
1046206-03    K.M.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/25/2019   22505     $1,577.52
1046206-03    K.M.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/25/2019   22505      $748.08
1046206-03    K.M.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…     3/25/2019   23700      $748.08
1046206-03    K.M.          All City Family Healthcare Center, Inc.     Closed Treatment Of Posterior Pelv…    3/25/2019   27198      $405.93
1046206-03    K.M.          All City Family Healthcare Center, Inc.     Manipulation, Hip Joint, Requiring…    3/25/2019   27275      $748.08
1046206-03    K.M.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/26/2019   22505      $748.08
1046206-03    K.M.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/26/2019   22505     $1,577.52
1046206-03    K.M.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…     3/26/2019   23700      $748.08
1046206-03    K.M.          All City Family Healthcare Center, Inc.     Closed Treatment Of Posterior Pelv…    3/26/2019   27198      $405.93
1046206-03    K.M.          All City Family Healthcare Center, Inc.     Manipulation, Hip Joint, Requiring…    3/26/2019   27275      $748.08
1046206-03    K.M.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/28/2019   22505     $1,577.52
1046206-03    K.M.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/28/2019   22505      $748.08
1046206-03    K.M.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…     3/28/2019   23700      $748.08
1046206-03    K.M.          All City Family Healthcare Center, Inc.     Closed Treatment Of Posterior Pelv…    3/28/2019   27198      $405.93
1046206-03    K.M.          All City Family Healthcare Center, Inc.     Manipulation, Hip Joint, Requiring…    3/28/2019   27275      $748.08
1045746-01    Z.E.               Surgicore of Jersey City LLC            Allograft For Spine Surgery Only; …   4/12/2021   20930     $3,160.34
1045746-01    Z.E.               Surgicore of Jersey City LLC           Autograft For Spine Surgery Only (…    4/12/2021   20936     $3,160.34
1045746-01    Z.E.               Surgicore of Jersey City LLC          Arthrd Ant Interbody Decompress Ce…     4/12/2021   22551     $6,402.03
1045746-01    Z.E.               Surgicore of Jersey City LLC            Anterior Instrumentation; 2 To 3 V…   4/12/2021   22845     $3,160.34
1045746-01    Z.E.               Surgicore of Jersey City LLC           Insj Biomchn Dev Intervertebral Ds…    4/12/2021   22853     $3,160.34
1045746-01    Z.E.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     4/12/2021   A4649       $50.00
1045746-01    Z.E.               Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise …   4/12/2021   L8699     $3,360.50
1045746-01    Z.E.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     3/16/2022   62321      $976.38
1045746-01    Z.E.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent And/Or…    3/30/2022   64483      $976.38
1045746-01    Z.E.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent And/Or…    3/30/2022   64484      $447.52
1046913-02    P.G.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    2/12/2019   22526     $2,320.90
1046913-02    P.G.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…    2/12/2019   22527     $2,320.90
1046913-02    P.G.          All City Family Healthcare Center, Inc.     Injection Procedure For Diskograph…    2/12/2019   62291      $481.29
1046913-02    P.G.          All City Family Healthcare Center, Inc.     Injection Procedure For Diskograph…    2/12/2019   62291      $962.54
1046913-02    P.G.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr…     2/12/2019   63075     $5,827.43
1046913-02    P.G.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr…     2/12/2019   63076     $2,873.04
1046913-02    P.G.          All City Family Healthcare Center, Inc.     Diskography, Cervical Or Thoracic,…    2/12/2019   72285      $572.53
1046913-02    P.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Pltlt Plasma W/Img Harvest/Pre…     2/22/2019   0232T      $437.96
1046913-02    P.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; Synov…     2/22/2019   29875     $1,472.45
1046913-02    P.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With …     2/22/2019   29880     $3,026.24
1046913-02    P.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Arthroscopy…        2/22/2019   29999     $1,472.45
1046305-01    L.T.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   2/14/2019   29821     $1,472.45
1046305-01    L.T.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    2/14/2019   29823     $3,026.24
1046305-01    L.T.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…     2/14/2019   29999     $1,472.45
1046305-01    L.T.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   2/14/2019   64415      $829.30
1046305-01    L.T.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     2/14/2019   76942      $341.96
1046305-01    L.T.            Rockaways ASC Development LLC             Arthrocentesis, Aspiration And/Or …    6/29/2019   20610      $554.74
1046305-01    L.T.            Rockaways ASC Development LLC            Ultrasonic Guidance For Needle Pla…     6/29/2019   76942      $423.32
1045534-04    M.R.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     3/11/2019   62323      $976.38
1045534-04    M.R.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…     3/11/2019   72275      $572.53
1045534-04    M.R.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/18/2019   22505      $748.08
1045534-04    M.R.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/18/2019   22505     $1,577.52
1045534-04    M.R.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…     3/18/2019   23700      $748.08
1045534-04    M.R.          All City Family Healthcare Center, Inc.     Closed Treatment Of Posterior Pelv…    3/18/2019   27198      $405.93
1045534-04    M.R.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/19/2019   22505      $748.08
1045534-04    M.R.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/19/2019   22505     $1,577.52
1045534-04    M.R.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…     3/19/2019   23700      $748.08
1045534-04    M.R.          All City Family Healthcare Center, Inc.     Closed Treatment Of Posterior Pelv…    3/19/2019   27198      $405.93
1045534-04    M.R.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/21/2019   22505      $748.08
1045534-04    M.R.          All City Family Healthcare Center, Inc.    Manipulation Of Spine Requiring An…     3/21/2019   22505     $1,577.52
1045534-04    M.R.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho…     3/21/2019   23700      $748.08
1045534-04    M.R.          All City Family Healthcare Center, Inc.     Closed Treatment Of Posterior Pelv…    3/21/2019   27198      $405.93
1045534-04    M.R.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     4/22/2019   62321      $976.38
1045534-04    M.R.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…     4/22/2019   72275      $572.53
1044413-01    J.R.             Fifth Avenue Surgery Center LLC         Insertion Of Wire Or Pin With Appl…     9/19/2019   20650     $1,393.70
                                                                 109 of 124                                                             Exhibit 3
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                                                          1697
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                            Service     Code       Billed
1044413-01    J.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…    9/19/2019   29821     $1,472.45
1044413-01    J.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    9/19/2019   29823     $1,472.45
1044413-01    J.R.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D…    9/19/2019   29826     $1,472.45
1044413-01    J.R.             Fifth Avenue Surgery Center LLC         Arthroscopy, Shoulder, Surgical; W…     9/19/2019   29827     $5,677.77
1044413-01    J.R.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…    9/19/2019   64415      $979.78
1044413-01    J.R.             Fifth Avenue Surgery Center LLC         Ultrasonic Guidance For Needle Pla…     9/19/2019   76942      $341.96
1044413-01    J.R.          Bronx SC LLC d/b/a Empire State ASC        Arthroscopy, Knee, Surgical; Synov…    10/21/2021   29875     $1,472.45
1044413-01    J.R.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; With …   10/21/2021   29880     $3,026.24
1044413-01    J.R.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Knee, Surgical; With …   10/21/2021   29884     $1,472.45
1044413-01    J.R.          Bronx SC LLC d/b/a Empire State ASC          Unlisted Procedure, Arthroscopy…     10/21/2021   29999     $1,472.45
1045581-01    B.H.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Shoulder, Surgical; S…     2/4/2019   29821     $1,472.45
1045581-01    B.H.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Shoulder, Surgical; D…     2/4/2019   29823     $3,026.24
1045581-01    B.H.          Bronx SC LLC d/b/a Empire State ASC        Arthroscopy, Shoulder, Surgical; W…      2/4/2019   29825     $1,472.45
1045581-01    B.H.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Shoulder, Surgical; D…     2/4/2019   29826     $1,472.45
1045581-01    B.H.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      5/9/2019   62323      $976.38
1045581-01    B.H.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…      5/9/2019   72275      $572.53
1045632-01    R.N.               Manalapan Surgery Center Inc          Manipulation Of Spine Requiring An…      3/7/2019   22505      $748.08
1045632-01    R.N.               Manalapan Surgery Center Inc          Manipulation Under Anesthesia, Sho…      3/7/2019   23700     $1,577.52
1045632-01    R.N.               Manalapan Surgery Center Inc           Closed Treatment Of Posterior Pelv…     3/7/2019   27198      $405.95
1045632-01    R.N.               Manalapan Surgery Center Inc           Manipulation, Hip Joint, Requiring…     3/7/2019   27275      $748.08
1045632-01    R.N.               Manalapan Surgery Center Inc          Manipulation Of Spine Requiring An…     3/16/2019   22505      $748.08
1045632-01    R.N.               Manalapan Surgery Center Inc          Manipulation Under Anesthesia, Sho…     3/16/2019   23700     $1,577.52
1045632-01    R.N.               Manalapan Surgery Center Inc           Closed Treatment Of Posterior Pelv…    3/16/2019   27198      $405.95
1045632-01    R.N.               Manalapan Surgery Center Inc           Manipulation, Hip Joint, Requiring…    3/16/2019   27275      $748.08
1045632-01    R.N.               Manalapan Surgery Center Inc          Manipulation Of Spine Requiring An…     3/17/2019   22505      $748.08
1045632-01    R.N.               Manalapan Surgery Center Inc          Manipulation Under Anesthesia, Sho…     3/17/2019   23700     $1,577.52
1045632-01    R.N.               Manalapan Surgery Center Inc           Closed Treatment Of Posterior Pelv…    3/17/2019   27198      $405.95
1045632-01    R.N.               Manalapan Surgery Center Inc           Manipulation, Hip Joint, Requiring…    3/17/2019   27275      $748.08
1045632-01    R.N.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Pltlt Plasma W/Img Harvest/Pre…     6/22/2019   0232T      $437.96
1045632-01    R.N.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…     6/22/2019   29823     $3,026.24
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration And/Or Injection Of Gan…      2/4/2019   20612      $236.69
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/4/2019   64493      $449.21
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/4/2019   64493      $979.78
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/4/2019   64494      $449.21
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      2/4/2019   64495      $449.21
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Ultrasonic Guidance For Needle Pla…      2/4/2019   76942      $341.96
1043664-01    N.Z.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     5/15/2019   62321      $976.38
1043664-01    N.Z.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv…     5/15/2019   72275      $572.53
1043037-02    K.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     2/28/2019   62321      $976.38
1043037-02    K.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      4/4/2019   62323      $976.38
1043037-02    K.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent And/Or…      6/6/2019   64483      $976.38
1043037-02    K.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection, Anesthetic Agent And/Or…      6/6/2019   64484      $447.52
1043037-02    K.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced…     7/18/2019   62287     $5,292.93
1043037-02    K.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    1/16/2020   29821     $2,798.20
1043037-02    K.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    1/16/2020   29823     $1,472.45
1043037-02    K.S.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     1/16/2020   29825     $1,472.45
1043037-02    K.S.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…     1/16/2020   29827     $5,677.77
1043037-02    K.S.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    1/16/2020   64415      $979.78
1043037-02    K.S.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     1/16/2020   76942      $341.96
1043515-01    N.H.          All City Family Healthcare Center, Inc.    Njx Pltlt Plasma W/Img Harvest/Pre…    12/30/2018   0232T      $478.64
1043515-01    N.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…    12/30/2018   29876     $3,026.24
1043515-01    N.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …   12/30/2018   29881     $1,472.45
1043515-01    N.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R…   12/30/2018   G0289     $1,472.45
1043515-01    N.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Pltlt Plasma W/Img Harvest/Pre…     1/18/2019   0232T      $437.96
1043515-01    N.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Tenotomy, Shoulder Area; Single Te…     1/18/2019   23405     $1,393.70
1043515-01    N.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; S…     1/18/2019   29821     $1,472.45
1043515-01    N.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D…     1/18/2019   29823     $3,026.24
1043836-02    C.G.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     1/19/2019   62323      $829.30
1043836-02    C.G.       Surgicore LLC d/b/a Surgicore Surgical Center Epidurography, Radiological Superv…     1/19/2019   72275      $572.52
1043836-02    C.G.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      2/2/2019   62321      $829.30
1043836-02    C.G.       Surgicore LLC d/b/a Surgicore Surgical Center Epidurography, Radiological Superv…      2/2/2019   72275      $572.52
1043836-02    C.G.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   11/23/2019   64490      $447.52
1043836-02    C.G.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   11/23/2019   64490      $976.38
1043836-02    C.G.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   11/23/2019   64491      $447.52
1043836-02    C.G.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   11/23/2019   64492      $447.52
1043836-02    C.G.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     1/8/2020   64490      $976.38
1043836-02    C.G.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     1/8/2020   64490      $447.52
1043836-02    C.G.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     1/8/2020   64491      $447.52
                                                                 110 of 124                                                             Exhibit 3
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                                                          1698
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                         Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                          Service     Code       Billed
1043836-02    C.G.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   1/8/2020   64492      $447.52
1043836-02    C.G.             New Horizon Surgical Center LLC          Dstr Nrolytc Agnt Parverteb Fct Sn… 2/15/2020    64633      $976.38
1043836-02    C.G.             New Horizon Surgical Center LLC          Dstr Nrolytc Agnt Parverteb Fct Ad… 2/15/2020    64634      $447.52
1043836-02    C.G.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   3/7/2020   64490      $976.38
1043836-02    C.G.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   3/7/2020   64491      $447.52
1043836-02    C.G.             New Horizon Surgical Center LLC          Njx Dx/Ther Agt Pvrt Facet Jt Crv/…   3/7/2020   64492      $447.52
1041614-01    R.H.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With …   3/4/2019   29880     $3,026.24
1041614-01    R.H.             Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…    3/4/2019   29999     $1,472.45
1041614-01    R.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 3/29/2019     22526     $2,605.78
1041614-01    R.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl… 3/29/2019     22527     $2,605.79
1041614-01    R.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 3/29/2019     62287     $5,292.93
1041614-01    R.H.             Fifth Avenue Surgery Center LLC         Tenodesis Of Long Tendon Of Biceps… 5/20/2019     23430     $3,760.88
1041614-01    R.H.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S…  5/20/2019   29821     $1,472.45
1041614-01    R.H.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 5/20/2019    29823     $1,472.45
1041614-01    R.H.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 5/20/2019    29825     $1,472.45
1041614-01    R.H.             Fifth Avenue Surgery Center LLC            Unlisted Procedure, Arthroscopy…   5/20/2019   29999     $1,472.45
1041614-01    R.H.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Brach…  5/20/2019   64415      $829.30
1041614-01    R.H.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 5/20/2019    76942      $341.96
1041614-01    R.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Dstr Nrolytc Agnt Parverteb Fct Sn…    8/2/2019   64635      $976.38
1041614-01    R.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Dstr Nrolytc Agnt Parverteb Fct Ad…    8/2/2019   64636      $447.52
1042294-04    J.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/26/2019     62323      $829.30
1042294-04    J.P.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 1/26/2019     72275      $572.53
1042294-04    J.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/9/2019      62323      $829.30
1042294-04    J.P.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 2/9/2019      72275      $572.53
1042294-04    J.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/23/2019    64493      $447.52
1042294-04    J.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/23/2019    64493      $979.78
1042294-04    J.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/23/2019    64494      $449.21
1042294-04    J.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/23/2019    64495      $449.21
1042294-04    J.P.               Surgicore of Jersey City LLC          Fluor Gid & Loclzj Ndl/Cath Spi Dx… 2/23/2019     77003      $572.53
1042294-04    J.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/9/2019     64493      $447.52
1042294-04    J.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/9/2019     64493      $976.38
1042294-04    J.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/9/2019     64494      $447.52
1042294-04    J.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/9/2019     64495      $447.52
1042294-04    J.P.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 11/15/2019   29875     $3,026.24
1042294-04    J.P.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Femor… 11/15/2019   64447      $829.30
1042294-04    J.P.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 11/15/2019   76942      $341.96
1040035-02    S.A.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S…  1/10/2019   29821     $1,472.45
1040035-02    S.A.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D… 1/10/2019    29823     $3,026.24
1040035-02    S.A.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent; Brach…  1/10/2019   64415      $829.30
1040035-02    S.A.               Surgicore of Jersey City LLC           Ultrasonic Guidance For Needle Pla… 1/10/2019    76942      $341.96
1040035-02    S.A.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or … 2/28/2019    20610      $236.69
1040035-02    S.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Synov… 2/28/2019    29876     $1,472.45
1040035-02    S.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 2/28/2019    29880     $3,026.24
1041218-01    H.V.               Surgicore of Jersey City LLC           Arthrocentesis, Aspiration And/Or … 12/18/2018   20610      $236.69
1041218-01    H.V.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; Synov… 12/18/2018   29876     $1,472.45
1041218-01    H.V.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical; With … 12/18/2018   29880     $3,026.24
1041218-01    H.V.               Surgicore of Jersey City LLC           Arthroscopy, Knee, Surgical, For R… 12/18/2018   G0289     $1,472.45
1041218-01    H.V.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T…  7/3/2019   20552      $277.37
1041218-01    H.V.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 7/3/2019     62321      $976.38
1041218-01    H.V.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 7/3/2019      72275      $572.52
1041218-01    H.V.            Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…   7/3/2019   76942      $211.66
1041218-01    H.V.            Rockaways ASC Development LLC              Injection(S); Single Or Multiple T… 9/28/2019   20552      $554.74
1041218-01    H.V.            Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/28/2019     62323      $976.38
1041218-01    H.V.            Rockaways ASC Development LLC            Epidurography, Radiological Superv… 9/28/2019     72275      $572.52
1041218-01    H.V.            Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla… 9/28/2019    76942      $423.32
1040527-02    D.B.             Fifth Avenue Surgery Center LLC          Arthrocentesis, Aspiration And/Or … 12/11/2018   20610      $236.69
1040527-02    D.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 12/11/2018   29875     $1,472.45
1040527-02    D.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 12/11/2018   29880     $3,026.24
1040527-02    D.B.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent; Femor… 12/11/2018   64447      $829.30
1040527-02    D.B.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 12/11/2018   76942      $341.96
1040527-02    D.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical, For R… 12/11/2018   G0289     $1,472.45
1040527-02    D.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Synov… 7/11/2019    29875     $1,472.45
1040527-02    D.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 7/11/2019    29880     $3,026.24
1040494-02    M.B.       Surgicore LLC d/b/a Surgicore Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/3/2019      62323      $976.38
1040494-02    M.B.       Surgicore LLC d/b/a Surgicore Surgical Center Epidurography, Radiological Superv… 4/3/2019      72275      $572.52
1040494-02    M.B.             Fifth Avenue Surgery Center LLC         Tenotomy, Shoulder Area; Single Te… 11/18/2019    23405     $3,760.88
1040494-02    M.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; S… 11/18/2019   29821     $1,472.45
1040494-02    M.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 11/18/2019   29823     $1,472.45
                                                                111 of 124                                                            Exhibit 3
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                                                           1699
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1040494-02    M.B.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 11/18/2019     29825     $1,472.45
1040494-02    M.B.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…   11/18/2019   29999     $1,472.45
1040494-02    M.B.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach… 11/18/2019   64415      $979.78
1040494-02    M.B.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 11/18/2019     76942      $341.96
1040494-02    M.B.         Rockland & Bergen Surgery Center LLC        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/6/2020       62323      $976.38
1040494-02    M.B.         Rockland & Bergen Surgery Center LLC        Epidurography, Radiological Superv… 8/6/2020       72275      $572.53
1040494-02    M.B.         Rockland & Bergen Surgery Center LLC            Surgical Supply; Miscellaneous…     8/6/2020   A4649       $50.00
1039156-01    T.W.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 7/30/2019      62323      $976.38
1039156-01    T.W.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 7/30/2019      72275      $572.53
1039156-01    T.W.               Surgicore of Jersey City LLC          Tenotomy, Shoulder Area; Single Te… 8/2/2019       23405     $3,760.88
1039156-01    T.W.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W…     8/2/2019   29819     $1,472.45
1039156-01    T.W.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S…    8/2/2019   29821     $1,472.45
1039156-01    T.W.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…    8/2/2019   29823     $1,472.45
1039156-01    T.W.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W…     8/2/2019   29825     $1,472.45
1039156-01    T.W.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…    8/2/2019   29826     $1,472.45
1039156-01    T.W.               Surgicore of Jersey City LLC            Injection, Anesthetic Agent; Brach…   8/2/2019   64415      $979.78
1039156-01    T.W.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla…     8/2/2019   76942      $341.96
1039237-02    S.F.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or … 2/27/2019     20610      $236.69
1039237-02    S.F.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 2/27/2019      29876     $1,472.45
1039237-02    S.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 2/27/2019     29880     $3,026.24
1039237-02    S.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R… 2/27/2019     G0289     $1,472.45
1039237-02    S.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Injection(S); Single Or Multiple T…     7/1/2019   20553      $236.69
1039237-02    S.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     7/1/2019   64490      $447.52
1039237-02    S.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     7/1/2019   64490      $976.38
1039237-02    S.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     7/1/2019   64491      $447.52
1039237-02    S.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     7/1/2019   64492      $447.52
1039237-02    S.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    7/3/2019   29821     $3,026.24
1039237-02    S.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    7/3/2019   29823     $1,472.45
1039237-02    S.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    7/3/2019   29826     $1,472.45
1039237-02    S.F.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   7/3/2019   64415      $979.78
1039237-02    S.F.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     7/3/2019   76942      $341.96
1040538-01    M.C.               Surgicore of Jersey City LLC            Injection(S); Single Or Multiple T…  11/5/2018   20553      $236.69
1040538-01    M.C.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent And/Or… 11/5/2018     64483      $449.21
1040538-01    M.C.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent And/Or… 11/5/2018     64483      $979.78
1040538-01    M.C.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent And/Or… 11/5/2018     64484      $449.21
1040538-01    M.C.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 11/5/2018      72275      $572.53
1040538-01    M.C.               Surgicore of Jersey City LLC            Injection(S); Single Or Multiple T…  12/4/2018   20553      $236.69
1040538-01    M.C.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/4/2018      62321      $829.30
1040538-01    M.C.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 12/4/2018      72275      $572.53
1040538-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Shoulder, Surgical; D… 5/10/2019      29823     $3,026.24
1039656-02    S.A.            Fifth Avenue Surgery Center LLC          Insertion Of Wire Or Pin With Appl… 10/11/2018     20650     $1,393.70
1039656-02    S.A.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 10/11/2018    29822     $1,472.45
1039656-02    S.A.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 10/11/2018    29824     $1,472.45
1039656-02    S.A.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 10/11/2018     29825     $1,472.45
1039656-02    S.A.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 10/11/2018    29826     $1,472.45
1039656-02    S.A.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 10/11/2018     29827     $5,677.77
1039656-02    S.A.            Fifth Avenue Surgery Center LLC            Injection, Anesthetic Agent; Brach… 10/11/2018   64415      $829.30
1039656-02    S.A.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 10/11/2018     76942      $341.96
1039656-02    S.A.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 4/15/2019      29875     $1,472.45
1039656-02    S.A.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 4/15/2019     29881     $3,026.24
1038175-03    S.B.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 11/18/2018     29875     $1,472.45
1038175-03    S.B.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With … 11/18/2018    29880     $3,026.24
1038175-03    S.B.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor… 11/18/2018    64447      $829.30
1038175-03    S.B.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 11/18/2018     76942      $341.96
1038175-03    S.B.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 1/22/2019     22526     $2,320.90
1038175-03    S.B.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 1/22/2019      62287     $5,827.43
1038175-03    S.B.          All City Family Healthcare Center, Inc.    Injection Procedure For Diskograph… 1/22/2019      62290     $1,043.91
1038175-03    S.B.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or… 1/22/2019     64483      $979.78
1038175-03    S.B.          All City Family Healthcare Center, Inc.    Diskography, Lumbar, Radiological … 1/22/2019      72295      $572.53
1038175-03    S.B.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 2/28/2019     22526     $2,320.90
1038175-03    S.B.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 2/28/2019     22527     $2,320.90
1038175-03    S.B.          All City Family Healthcare Center, Inc.    Injection Procedure For Diskograph… 2/28/2019      62291      $481.29
1038175-03    S.B.          All City Family Healthcare Center, Inc.    Injection Procedure For Diskograph… 2/28/2019      62291      $962.54
1038175-03    S.B.          All City Family Healthcare Center, Inc.   Diskectomy, Anterior, With Decompr… 2/28/2019       63075     $5,827.43
1038175-03    S.B.          All City Family Healthcare Center, Inc.   Diskectomy, Anterior, With Decompr… 2/28/2019       63076     $2,873.04
1038175-03    S.B.          All City Family Healthcare Center, Inc.    Diskography, Cervical Or Thoracic,… 2/28/2019      72285      $572.53
1038175-03    S.B.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 4/28/2019     29823     $3,026.24
1038175-03    S.B.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 4/28/2019     29824     $1,472.45
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                                                           1700
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1038175-03    S.B.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 4/28/2019      29826     $1,472.45
1038175-03    S.B.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…   4/28/2019   64415      $829.30
1038175-03    S.B.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 4/28/2019      76942      $341.96
1037734-02    M.M.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent And/Or… 5/14/2019      64483      $976.38
1037734-02    M.M.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent And/Or… 5/14/2019      64484      $447.52
1037734-02    M.M.               Surgicore of Jersey City LLC           Epidurography, Radiological Superv… 5/14/2019      72275      $572.53
1037734-02    M.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent And/Or…     9/5/2020   64483      $447.52
1037734-02    M.M.       Surgicore LLC d/b/a Surgicore Surgical Center  Injection, Anesthetic Agent And/Or…     9/5/2020   64483      $976.38
1037734-02    M.M.       Surgicore LLC d/b/a Surgicore Surgical Center     Surgical Supply; Miscellaneous…      9/5/2020   A4649       $50.00
1038084-02    A.Q.             Fifth Avenue Surgery Center LLC          Injection, Anesthetic Agent And/Or… 11/13/2018     64483      $979.78
1038084-02    A.Q.             Fifth Avenue Surgery Center LLC          Epidurography, Radiological Superv… 11/13/2018     72275      $572.81
1038084-02    A.Q.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 11/13/2018     76942      $341.96
1038084-02    A.Q.             Fifth Avenue Surgery Center LLC          Fluor Gid & Loclzj Ndl/Cath Spi Dx… 11/13/2018     77003      $572.53
1038084-02    A.Q.          Bronx SC LLC d/b/a Empire State ASC         Injection, Anesthetic Agent And/Or…     3/5/2019   64483      $976.38
1038853-03    N.T.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 1/18/2019      29875     $1,472.45
1038853-03    N.T.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 1/18/2019      29881     $3,026.24
1038853-03    N.T.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor… 1/18/2019     64447      $829.30
1038853-03    N.T.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 1/18/2019      76942      $341.96
1038853-03    N.T.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical, For R… 1/18/2019      G0289     $1,472.45
1038853-03    N.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy, Knee, Surgical; With … 3/28/2019       29881     $3,026.24
1038879-01    M.H.          All City Family Healthcare Center, Inc.     Tenotomy, Shoulder Area; Single Te… 10/4/2018      23405     $1,393.70
1038879-01    M.H.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   10/4/2018   29821     $3,026.24
1038879-01    M.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 10/4/2018      29823     $1,472.45
1038879-01    M.H.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…   10/4/2018   64415      $829.30
1038879-01    M.H.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla… 10/4/2018      76942      $341.96
1038879-01    M.H.               Manalapan Surgery Center Inc             Injection(S); Single Or Multiple T… 12/20/2018   20553      $236.69
1038879-01    M.H.               Manalapan Surgery Center Inc             Injection Procedure For Sacroiliac… 12/20/2018   27096      $236.69
1038879-01    M.H.               Manalapan Surgery Center Inc           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 12/20/2018     62321      $829.30
1038879-01    M.H.               Manalapan Surgery Center Inc           Epidurography, Radiological Superv… 12/20/2018     72275      $572.53
1038879-01    M.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 12/27/2018     29881     $3,026.24
1038879-01    M.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Synov… 1/10/2019      29876     $3,026.24
1038879-01    M.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 1/10/2019      29881     $1,472.45
1038879-01    M.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R… 1/10/2019      G0289     $1,472.45
1036027-02    C.E.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 11/16/2018      22505      $748.08
1036027-02    C.E.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 11/16/2018      23700     $1,577.52
1036027-02    C.E.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 11/16/2018     27198      $418.79
1036027-02    C.E.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 12/14/2018      22505      $748.08
1036027-02    C.E.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 12/14/2018      23700     $1,577.52
1036027-02    C.E.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 12/14/2018     27198      $418.79
1036027-02    C.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Synov… 7/12/2019      29875     $1,472.45
1036027-02    C.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; Abras… 7/12/2019      29879     $1,472.45
1036027-02    C.E.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 7/12/2019      29880     $3,026.24
1036054-02    M.D.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 10/29/2018      22505      $748.08
1036054-02    M.D.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 10/29/2018      23700      $748.08
1036054-02    M.D.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 10/29/2018      23700     $1,577.52
1036054-02    M.D.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 10/29/2018     27198      $418.79
1036054-02    M.D.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 11/5/2018       22505      $748.08
1036054-02    M.D.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 11/5/2018       23700      $748.08
1036054-02    M.D.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 11/5/2018       23700     $1,577.52
1036054-02    M.D.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 11/5/2018      27198      $418.79
1036054-02    M.D.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 11/7/2018       22505      $748.08
1036054-02    M.D.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 11/7/2018       23700      $748.08
1036054-02    M.D.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 11/7/2018       23700     $1,577.52
1036054-02    M.D.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv… 11/7/2018      27198      $418.79
1036054-02    M.D.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…     4/1/2019   22526     $2,605.78
1036054-02    M.D.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 4/1/2019        63075     $5,292.93
1035304-01    T.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Perq Intrdscl Electrothrm Annulopl…      3/6/2019   22526     $2,605.78
1035304-01    T.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced… 3/6/2019        62287     $5,292.93
1035304-01    T.T.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 5/13/2019      29825     $1,472.45
1035304-01    T.T.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 5/13/2019      29826     $1,472.45
1035304-01    T.T.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W… 5/13/2019      29827     $5,677.77
1035304-01    T.T.             Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…   5/13/2019   64415      $829.30
1035304-01    T.T.             Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 5/13/2019      76942      $341.96
1035048-02    D.J.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov… 10/21/2018     29875     $1,472.45
1035048-02    D.J.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With … 10/21/2018     29880     $3,026.24
1035048-02    D.J.             Fifth Avenue Surgery Center LLC         Acromioplasty Or Acromionectomy, P… 11/4/2018       23130     $1,515.18
1035048-02    D.J.             Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…   11/4/2018   29821     $3,026.24
1035048-02    D.J.             Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; D… 11/4/2018      29823     $1,472.45
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                                                            1701
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                 Date of     Billing   Amount
                                           Provider                                         Service
 Number      Person                                                                                                  Service     Code       Billed
1035048-02    D.J.             Fifth Avenue Surgery Center LLC                  Injection, Anesthetic Agent; Brach…  11/4/2018   64415      $829.30
1035048-02    D.J.             Fifth Avenue Surgery Center LLC                 Ultrasonic Guidance For Needle Pla… 11/4/2018     76942      $341.96
1035048-02    D.J.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl… 11/21/2018    22526     $2,320.90
1035048-02    D.J.           All City Family Healthcare Center, Inc.          Aspiration Or Decompression Proced… 11/21/2018     62287     $5,827.43
1035048-02    D.J.           All City Family Healthcare Center, Inc.           Injection Procedure For Diskograph… 11/21/2018    62290     $1,043.91
1035048-02    D.J.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent And/Or… 11/21/2018    64483      $979.78
1035048-02    D.J.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent And/Or… 11/21/2018    64484      $449.21
1035048-02    D.J.           All City Family Healthcare Center, Inc.           Diskography, Lumbar, Radiological … 11/21/2018    72295      $572.53
1035048-02    D.J.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D… 12/2/2018     29823     $1,472.45
1035048-02    D.J.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; W… 12/2/2018     29827     $5,677.77
1035048-02    D.J.             Fifth Avenue Surgery Center LLC                  Injection, Anesthetic Agent; Brach…  12/2/2018   64415      $829.30
1035048-02    D.J.             Fifth Avenue Surgery Center LLC                 Ultrasonic Guidance For Needle Pla… 12/2/2018     76942      $341.96
1035048-02    D.J.           All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 2/7/2019      62321      $976.38
1035048-02    D.J.           All City Family Healthcare Center, Inc.           Epidurography, Radiological Superv… 2/7/2019      72275      $572.53
1035048-02    D.J.           All City Family Healthcare Center, Inc.           Fluor Gid & Loclzj Ndl/Cath Spi Dx… 2/7/2019      77003      $286.26
1034668-01    V.I.             Fifth Avenue Surgery Center LLC                Acromioplasty Or Acromionectomy, P… 11/4/2018      23130     $1,515.18
1034668-01    V.I.             Fifth Avenue Surgery Center LLC                  Arthroscopy, Shoulder, Surgical; S…  11/4/2018   29821     $3,026.24
1034668-01    V.I.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Shoulder, Surgical; D… 11/4/2018     29823     $1,472.45
1034668-01    V.I.             Fifth Avenue Surgery Center LLC                  Injection, Anesthetic Agent; Brach…  11/4/2018   64415      $829.30
1034668-01    V.I.             Fifth Avenue Surgery Center LLC                 Ultrasonic Guidance For Needle Pla… 11/4/2018     76942      $341.96
1034668-01    V.I.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 2/7/2019       22505      $748.08
1034668-01    V.I.                Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho… 2/7/2019       23700     $1,577.52
1034668-01    V.I.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv…    2/7/2019   27198      $418.79
1034668-01    V.I.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 2/12/2019      22505      $748.08
1034668-01    V.I.                Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho… 2/12/2019      23700     $1,577.52
1034668-01    V.I.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv… 2/12/2019     27198      $418.79
1034668-01    V.I.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 2/14/2019      22505      $748.08
1034668-01    V.I.                Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho… 2/14/2019      23700     $1,577.52
1034668-01    V.I.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv… 2/14/2019     27198      $418.79
1036004-03    S.S.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl… 10/23/2018    22526     $2,320.90
1036004-03    S.S.           All City Family Healthcare Center, Inc.          Aspiration Or Decompression Proced… 10/23/2018     62287     $5,827.43
1036004-03    S.S.           All City Family Healthcare Center, Inc.           Injection Procedure For Diskograph… 10/23/2018    62290     $1,043.91
1036004-03    S.S.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent And/Or… 10/23/2018    64483      $979.78
1036004-03    S.S.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent And/Or… 10/23/2018    64484      $449.21
1036004-03    S.S.           All City Family Healthcare Center, Inc.           Diskography, Lumbar, Radiological … 10/23/2018    72295      $572.53
1036004-03    S.S.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; Synov… 2/15/2019     29876     $1,472.45
1036004-03    S.S.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; With … 2/15/2019     29880     $3,026.24
1036004-03    S.S.             Fifth Avenue Surgery Center LLC                  Injection, Anesthetic Agent; Femor… 2/15/2019    64447      $829.30
1036004-03    S.S.             Fifth Avenue Surgery Center LLC                 Ultrasonic Guidance For Needle Pla… 2/15/2019     76942      $341.96
1033768-04    C.F.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 9/18/2018      22505     $1,577.52
1033768-04    C.F.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv… 9/18/2018     27198      $418.79
1033768-04    C.F.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 9/20/2018      22505     $1,577.52
1033768-04    C.F.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv… 9/20/2018     27198      $418.79
1033768-04    C.F.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 9/25/2018      22505     $1,577.52
1033768-04    C.F.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv… 9/25/2018     27198      $418.79
1033768-04    C.F.           All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 10/9/2018     62321      $829.30
1033768-04    C.F.           All City Family Healthcare Center, Inc.           Epidurography, Radiological Superv… 10/9/2018     72275      $572.53
1033768-04    C.F.           All City Family Healthcare Center, Inc.           Fluor Gid & Loclzj Ndl/Cath Spi Dx… 10/9/2018     77003      $286.26
1033437-02    P.P.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl… 10/9/2018     22526     $2,320.90
1033437-02    P.P.           All City Family Healthcare Center, Inc.          Aspiration Or Decompression Proced… 10/9/2018      62287     $5,827.43
1033437-02    P.P.           All City Family Healthcare Center, Inc.           Injection Procedure For Diskograph… 10/9/2018     62290     $1,043.91
1033437-02    P.P.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent And/Or… 10/9/2018     64483      $979.78
1033437-02    P.P.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent And/Or… 10/9/2018     64484      $449.21
1033437-02    P.P.           All City Family Healthcare Center, Inc.           Diskography, Lumbar, Radiological … 10/9/2018     72295      $572.53
1033437-02    P.P.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; Synov… 11/18/2018    29875     $1,472.45
1033437-02    P.P.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; With … 11/18/2018    29880     $3,026.24
1033437-02    P.P.             Fifth Avenue Surgery Center LLC                  Injection, Anesthetic Agent; Femor… 11/18/2018   64447      $829.30
1033437-02    P.P.             Fifth Avenue Surgery Center LLC                 Ultrasonic Guidance For Needle Pla… 11/18/2018    76942      $341.96
1032553-01    T.B.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 11/30/2018     22505      $748.08
1032553-01    T.B.                Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho… 11/30/2018     23700     $1,577.52
1032553-01    T.B.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv… 11/30/2018    27198      $418.79
1032553-01    T.B.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 12/3/2018      22505      $748.08
1032553-01    T.B.                Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho… 12/3/2018      23700     $1,577.52
1032553-01    T.B.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv… 12/3/2018     27198      $418.79
1032553-01    T.B.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An… 12/5/2018      22505      $748.08
1032553-01    T.B.                Surgicore of Jersey City LLC                Manipulation Under Anesthesia, Sho… 12/5/2018      23700     $1,577.52
1032553-01    T.B.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv… 12/5/2018     27198      $418.79
1032553-01    T.B.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; Synov… 12/14/2018    29876     $3,026.24
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                                                            1702
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                Date of     Billing   Amount
                                           Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1032553-01    T.B.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With … 12/14/2018   29881     $1,472.45
1032553-01    T.B.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical, For R… 12/14/2018   G0289     $1,472.45
1032915-04    P.C.           All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical; Synov… 6/13/2019     29875     $1,472.45
1032915-04    P.C.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With … 6/13/2019    29880     $3,026.24
1032915-04    P.C.               Manalapan Surgery Center Inc                   Injection Procedure For Sacroiliac… 9/16/2019   27096      $429.53
1032915-04    P.C.               Manalapan Surgery Center Inc                   Injection Procedure For Sacroiliac… 9/16/2019   27096      $940.42
1033148-03    D.B.             New Horizon Surgical Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 9/17/2018     62323      $829.30
1033148-03    D.B.             New Horizon Surgical Center LLC                Epidurography, Radiological Superv… 9/17/2018     72275      $572.52
1033148-03    D.B.             New Horizon Surgical Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/7/2019      62321      $829.30
1033148-03    D.B.             New Horizon Surgical Center LLC                Epidurography, Radiological Superv… 1/7/2019      72275      $572.52
1033886-01    A.L.           Bronx SC LLC d/b/a Empire State ASC              Arthroscopy, Knee, Surgical; Synov… 12/17/2018    29876     $1,472.45
1033886-01    A.L.           Bronx SC LLC d/b/a Empire State ASC               Arthroscopy, Knee, Surgical; With … 12/17/2018   29880     $3,026.24
1033886-01    A.L.                Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/2/2019      62323      $829.30
1033886-01    A.L.                Surgicore of Jersey City LLC                Epidurography, Radiological Superv… 2/2/2019      72275      $572.53
1032542-02    D.S.               Manalapan Surgery Center Inc                   Arthroscopy, Shoulder, Surgical; S… 9/12/2018   29821     $1,472.45
1032542-02    D.S.               Manalapan Surgery Center Inc                  Arthroscopy, Shoulder, Surgical; D… 9/12/2018    29823     $3,026.24
1032542-02    D.S.               Manalapan Surgery Center Inc                  Arthroscopy, Shoulder, Surgical; W… 9/12/2018    29825     $1,472.45
1032542-02    D.S.               Manalapan Surgery Center Inc                    Unlisted Procedure, Arthroscopy…   9/12/2018   29999     $1,472.45
1032542-02    D.S.               Manalapan Surgery Center Inc                   Injection, Anesthetic Agent; Brach… 9/12/2018   64415      $829.30
1032542-02    D.S.               Manalapan Surgery Center Inc                 Ultrasonic Guidance For Needle Pla… 9/12/2018     76942      $341.96
1032542-02    D.S.             Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; Synov… 11/7/2018     29876     $1,472.45
1032542-02    D.S.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical; With … 11/7/2018    29881     $3,026.24
1032542-02    D.S.             Fifth Avenue Surgery Center LLC                   Unlisted Procedure, Arthroscopy…   11/7/2018   29999     $1,472.45
1032542-02    D.S.             Fifth Avenue Surgery Center LLC                 Injection, Anesthetic Agent; Femor… 11/7/2018    64447      $829.30
1032542-02    D.S.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla… 11/7/2018     76942      $341.96
1032911-01    M.F.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl… 12/4/2018    22526     $2,320.90
1032911-01    M.F.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl… 12/4/2018    22527     $2,320.90
1032911-01    M.F.           All City Family Healthcare Center, Inc.          Aspiration Or Decompression Proced… 12/4/2018     62287     $5,827.43
1032911-01    M.F.           All City Family Healthcare Center, Inc.           Injection Procedure For Diskograph… 12/4/2018    62290     $1,043.91
1032911-01    M.F.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent And/Or… 12/4/2018    64483      $979.78
1032911-01    M.F.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent And/Or… 12/4/2018    64484      $449.21
1032911-01    M.F.           All City Family Healthcare Center, Inc.          Diskography, Lumbar, Radiological … 12/4/2018     72295      $572.53
1032911-01    M.F.            Rockaways ASC Development LLC                     Injection(S); Single Or Multiple T…  3/2/2023   20552      $236.69
1032911-01    M.F.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/2/2023      62321      $976.38
1032911-01    M.F.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…    3/2/2023   76942      $341.96
1029478-02    P.A.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Diagnostic, Wit… 7/20/2018    29870     $3,026.24
1029478-02    P.A.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With … 7/20/2018    29873     $1,472.45
1029478-02    P.A.           All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical; Synov… 7/20/2018     29876     $1,472.45
1029478-02    P.A.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With … 7/20/2018    29880     $1,472.45
1029478-02    P.A.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical, For R… 7/20/2018    G0289     $1,472.45
1029478-02    P.A.               Manalapan Surgery Center Inc                 Manipulation Of Spine Requiring An… 9/13/2018     22505      $748.08
1029478-02    P.A.               Manalapan Surgery Center Inc                 Manipulation Under Anesthesia, Sho… 9/13/2018     23700     $1,577.52
1029478-02    P.A.               Manalapan Surgery Center Inc                  Closed Treatment Of Posterior Pelv… 9/13/2018    27198      $418.77
1029478-02    P.A.               Manalapan Surgery Center Inc                 Manipulation Of Knee Joint Under G… 9/13/2018     27570      $748.08
1029478-02    P.A.               Manalapan Surgery Center Inc                 Manipulation Of Spine Requiring An… 9/20/2018     22505      $748.08
1029478-02    P.A.               Manalapan Surgery Center Inc                 Manipulation Under Anesthesia, Sho… 9/20/2018     23700     $1,577.52
1029478-02    P.A.               Manalapan Surgery Center Inc                  Closed Treatment Of Posterior Pelv… 9/20/2018    27198      $418.77
1029478-02    P.A.               Manalapan Surgery Center Inc                 Manipulation Of Knee Joint Under G… 9/20/2018     27570      $748.08
1029478-02    P.A.               Manalapan Surgery Center Inc                 Manipulation Of Spine Requiring An… 9/27/2018     22505      $748.08
1029478-02    P.A.               Manalapan Surgery Center Inc                 Manipulation Under Anesthesia, Sho… 9/27/2018     23700     $1,577.52
1029478-02    P.A.               Manalapan Surgery Center Inc                  Closed Treatment Of Posterior Pelv… 9/27/2018    27198      $418.77
1029478-02    P.A.               Manalapan Surgery Center Inc                 Manipulation Of Knee Joint Under G… 9/27/2018     27570      $748.08
1028111-01    T.D.               Manalapan Surgery Center Inc                 Diskectomy, Anterior, With Decompr… 6/30/2018     63075     $5,827.43
1028111-01    T.D.               Manalapan Surgery Center Inc                 Fluor Gid & Loclzj Ndl/Cath Spi Dx… 6/30/2018     77003      $572.53
1028111-01    T.D.               Manalapan Surgery Center Inc                  Perq Intrdscl Electrothrm Annulopl… 7/14/2018    22526     $2,320.90
1028111-01    T.D.               Manalapan Surgery Center Inc                  Perq Intrdscl Electrothrm Annulopl… 7/14/2018    22527     $2,320.90
1028111-01    T.D.               Manalapan Surgery Center Inc                 Aspiration Or Decompression Proced… 7/14/2018     62287     $2,873.04
1028111-01    T.D.               Manalapan Surgery Center Inc                 Aspiration Or Decompression Proced… 7/14/2018     62287     $5,827.43
1028111-01    T.D.               Manalapan Surgery Center Inc                  Injection, Anesthetic Agent And/Or… 7/14/2018    64483      $449.29
1028111-01    T.D.               Manalapan Surgery Center Inc                  Injection, Anesthetic Agent And/Or… 7/14/2018    64484      $449.29
1028111-01    T.D.               Manalapan Surgery Center Inc                 Epidurography, Radiological Superv… 7/14/2018     72275      $572.52
1028111-01    T.D.               Manalapan Surgery Center Inc                 Fluor Gid & Loclzj Ndl/Cath Spi Dx… 7/14/2018     77003      $572.53
1028111-01    T.D.               Manalapan Surgery Center Inc                   Injection(S); Single Or Multiple T… 7/28/2018   20553      $236.69
1028111-01    T.D.               Manalapan Surgery Center Inc                  Arthrocentesis, Aspiration And/Or … 7/28/2018    20610      $236.69
1028111-01    T.D.               Manalapan Surgery Center Inc                   Injection Procedure For Sacroiliac… 7/28/2018   27096      $554.76
1028111-01    T.D.               Manalapan Surgery Center Inc                   Injection Procedure For Sacroiliac… 7/28/2018   27096      $236.69
1028111-01    T.D.               Manalapan Surgery Center Inc                 Fluor Gid & Loclzj Ndl/Cath Spi Dx… 7/28/2018     77003      $572.53
1028111-01    T.D.           All City Family Healthcare Center, Inc.            Arthroscopy, Shoulder, Surgical; S… 8/20/2018   29820     $1,472.45
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                                                            1703
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                Date of     Billing   Amount
                                           Provider                                       Service
 Number      Person                                                                                                 Service     Code       Billed
1028111-01    T.D.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D…     8/20/2018   29823     $3,026.24
1028111-01    T.D.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D…     8/20/2018   29826     $1,472.45
1028111-01    T.D.           All City Family Healthcare Center, Inc.         Injection, Anesthetic Agent; Brach…    8/20/2018   64415      $829.30
1028111-01    T.D.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla…      8/20/2018   76942      $341.96
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…       2/6/2019   62321      $829.30
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC           Epidurography, Radiological Superv…       2/6/2019   72275      $572.53
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC           Fluor Gid & Loclzj Ndl/Cath Spi Dx…       2/6/2019   77003      $286.26
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      3/20/2019   62321      $976.38
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…       4/3/2019   62321      $976.38
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     4/17/2019   64490      $447.52
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     4/17/2019   64490      $976.38
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     4/17/2019   64491      $447.52
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     4/17/2019   64492      $447.52
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     5/15/2019   64490      $447.52
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     5/15/2019   64490      $976.38
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     5/15/2019   64491      $447.52
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv/…     5/15/2019   64492      $447.52
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC            Dstr Nrolytc Agnt Parverteb Fct Sn…      6/5/2019   64633      $976.38
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC           Dstr Nrolytc Agnt Parverteb Fct Ad…       6/5/2019   64634      $447.52
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC            Dstr Nrolytc Agnt Parverteb Fct Sn…     6/19/2019   64633      $976.38
1028331-01    H.A.           Bronx SC LLC d/b/a Empire State ASC           Dstr Nrolytc Agnt Parverteb Fct Ad…      6/19/2019   64634      $447.52
1028331-01    H.A.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; C…      7/8/2020   29806     $5,677.77
1028331-01    H.A.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; S…      7/8/2020   29821     $2,798.20
1028331-01    H.A.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; D…      7/8/2020   29823     $1,472.45
1028331-01    H.A.              New Horizon Surgical Center LLC             Arthroscopy, Shoulder, Surgical; D…      7/8/2020   29826     $1,472.45
1028331-01    H.A.              New Horizon Surgical Center LLC              Injection, Anesthetic Agent; Brach…     7/8/2020   64415      $979.78
1028331-01    H.A.              New Horizon Surgical Center LLC            Ultrasonic Guidance For Needle Pla…       7/8/2020   76942      $341.96
1028331-01    H.A.              New Horizon Surgical Center LLC                Surgical Supply; Miscellaneous…       7/8/2020   A4649       $50.00
1028221-01    A.C.           All City Family Healthcare Center, Inc.        Perq Intrdscl Electrothrm Annulopl…      8/7/2018   22526     $2,320.90
1028221-01    A.C.           All City Family Healthcare Center, Inc.       Aspiration Or Decompression Proced…       8/7/2018   62287     $5,827.43
1028221-01    A.C.           All City Family Healthcare Center, Inc.       Injection Procedure For Diskograph…       8/7/2018   62290     $1,043.91
1028221-01    A.C.           All City Family Healthcare Center, Inc.        Injection, Anesthetic Agent And/Or…      8/7/2018   64483      $979.78
1028221-01    A.C.           All City Family Healthcare Center, Inc.        Injection, Anesthetic Agent And/Or…      8/7/2018   64484      $449.21
1028221-01    A.C.           All City Family Healthcare Center, Inc.       Diskography, Lumbar, Radiological …       8/7/2018   72295      $572.53
1028221-01    A.C.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; S…     8/11/2018   29821     $1,472.45
1028221-01    A.C.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D…     8/11/2018   29823     $3,026.24
1028221-01    A.C.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D…     8/11/2018   29824     $1,472.45
1028221-01    A.C.              Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; W…      8/11/2018   29825     $1,472.45
1028221-01    A.C.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D…     8/11/2018   29826     $1,472.45
1028221-01    A.C.              Fifth Avenue Surgery Center LLC              Injection, Anesthetic Agent; Brach…    8/11/2018   64415      $829.30
1028221-01    A.C.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…      8/11/2018   76942      $341.96
1028077-02    L.N.           All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Diagnostic, Wit…      6/29/2018   29870     $3,026.24
1028077-02    L.N.           All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; Synov…      6/29/2018   29875     $1,472.45
1028077-02    L.N.           All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; Synov…      6/29/2018   29876     $1,472.45
1028077-02    L.N.           All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; Abras…      6/29/2018   29879     $1,472.45
1028077-02    L.N.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical; With …     6/29/2018   29880     $1,472.45
1028077-02    L.N.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical, For R…     6/29/2018   G0289     $1,472.45
1028077-02    L.N.        Surgicore LLC d/b/a Surgicore Surgical Center      Tissue Grafts, Other (Eg, Parateno…    9/28/2018   20926     $1,040.80
1028077-02    L.N.        Surgicore LLC d/b/a Surgicore Surgical Center    Tenolysis, Flexor Or Extensor Tend…      9/28/2018   27680     $1,393.70
1028077-02    L.N.        Surgicore LLC d/b/a Surgicore Surgical Center    Repair, Primary, Disrupted Ligamen…      9/28/2018   27695     $3,111.71
1028077-02    L.N.        Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Ankle (Tibiotalar And…      9/28/2018   29898     $1,472.45
1028077-02    L.N.        Surgicore LLC d/b/a Surgicore Surgical Center       Injection, Anesthetic Agent; Sciat…   9/28/2018   64445      $829.30
1028077-02    L.N.        Surgicore LLC d/b/a Surgicore Surgical Center    Ultrasonic Guidance For Needle Pla…      9/28/2018   76942      $341.96
1028343-01    A.G.              Fifth Avenue Surgery Center LLC             Arthrocentesis, Aspiration And/Or …     8/13/2018   20610      $236.69
1028343-01    A.G.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; C…     8/13/2018   29806     $5,677.77
1028343-01    A.G.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; S…     8/13/2018   29820     $1,472.45
1028343-01    A.G.              Fifth Avenue Surgery Center LLC             Arthroscopy, Shoulder, Surgical; D…     8/13/2018   29823     $1,472.45
1028343-01    A.G.              Fifth Avenue Surgery Center LLC            Arthroscopy, Shoulder, Surgical; W…      8/13/2018   29825     $1,472.45
1028343-01    A.G.              Fifth Avenue Surgery Center LLC                Unlisted Procedure, Arthroscopy…     8/13/2018   29999     $1,472.45
1028343-01    A.G.              Fifth Avenue Surgery Center LLC              Injection, Anesthetic Agent; Brach…    8/13/2018   64415      $829.30
1028343-01    A.G.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…      8/13/2018   76942      $341.96
1028343-01    A.G.        Surgicore LLC d/b/a Surgicore Surgical Center     Arthroscopy, Shoulder, Surgical; S…      5/6/2019   29821     $1,472.45
1028343-01    A.G.        Surgicore LLC d/b/a Surgicore Surgical Center     Arthroscopy, Shoulder, Surgical; D…      5/6/2019   29823     $3,026.24
1028343-01    A.G.        Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Shoulder, Surgical; W…       5/6/2019   29825     $1,472.45
1028343-01    A.G.        Surgicore LLC d/b/a Surgicore Surgical Center     Arthroscopy, Shoulder, Surgical; D…      5/6/2019   29826     $1,472.45
1028343-01    A.G.        Surgicore LLC d/b/a Surgicore Surgical Center      Injection, Anesthetic Agent; Brach…     5/6/2019   64415      $979.78
1028343-01    A.G.        Surgicore LLC d/b/a Surgicore Surgical Center    Ultrasonic Guidance For Needle Pla…       5/6/2019   76942      $341.96
1025693-01    W.F.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D…     5/30/2018   29823     $1,472.45
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                                                           1704
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1025693-01    W.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     5/30/2018   29826     $1,472.45
1025693-01    W.F.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…      5/30/2018   29827     $5,677.77
1025693-01    W.F.          All City Family Healthcare Center, Inc.    Arthroscopy Shoulder Surgical Bice…      5/30/2018   29828     $1,472.45
1025693-01    W.F.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…    5/30/2018   64415      $829.30
1025693-01    W.F.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      5/30/2018   76942      $341.96
1025693-01    W.F.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or …     8/23/2018   20610      $236.69
1025693-01    W.F.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Diagnostic, Wit…      8/23/2018   29870     $3,026.24
1025693-01    W.F.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…      8/23/2018   29875     $1,472.45
1025693-01    W.F.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov…      8/23/2018   29876     $1,472.45
1025693-01    W.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With …     8/23/2018   29880     $1,472.45
1025693-01    W.F.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical, For R…     8/23/2018   G0289     $1,472.45
1025693-01    W.F.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…      1/10/2019   22505     $1,577.52
1025693-01    W.F.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…     1/10/2019   27198      $418.79
1025693-01    W.F.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…      1/15/2019   22505     $1,577.52
1025693-01    W.F.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…     1/15/2019   27198      $418.79
1025693-01    W.F.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…      1/17/2019   22505     $1,577.52
1025693-01    W.F.               Surgicore of Jersey City LLC           Closed Treatment Of Posterior Pelv…     1/17/2019   27198      $418.79
1025440-01    M.V.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…      7/20/2018   29819     $1,472.45
1025440-01    M.V.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…     7/20/2018   29820     $1,472.45
1025440-01    M.V.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     7/20/2018   29823     $1,472.45
1025440-01    M.V.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     7/20/2018   29826     $1,472.45
1025440-01    M.V.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…      7/20/2018   29827     $5,677.77
1025440-01    M.V.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…    7/20/2018   64415      $829.30
1025440-01    M.V.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      7/20/2018   76942      $341.96
1025440-01    M.V.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      8/27/2018   62323      $829.30
1025440-01    M.V.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…      8/27/2018   72275      $572.53
1025440-01    M.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Aspiration Or Decompression Proced…      3/13/2019   62287     $5,292.93
1026970-01    H.S.               Surgicore of Jersey City LLC          Insertion Of Wire Or Pin With Appl…      6/28/2018   20650     $1,393.70
1026970-01    H.S.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S…     6/28/2018   29821     $1,472.45
1026970-01    H.S.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…     6/28/2018   29823     $1,472.45
1026970-01    H.S.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…     6/28/2018   29824     $1,472.44
1026970-01    H.S.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D…     6/28/2018   29826     $1,472.45
1026970-01    H.S.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W…      6/28/2018   29827     $5,677.77
1026970-01    H.S.               Surgicore of Jersey City LLC            Injection, Anesthetic Agent; Brach…    6/28/2018   64415      $829.30
1026970-01    H.S.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla…      6/28/2018   76942      $341.96
1026970-01    H.S.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…     6/5/2019   20552      $277.37
1026970-01    H.S.           Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…       6/5/2019   64493      $976.38
1026970-01    H.S.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…       6/5/2019   76942      $211.66
1026970-01    H.S.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; D…    10/22/2019   29826     $1,472.45
1026970-01    H.S.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy, Shoulder, Surgical; D…    10/22/2019   29826     $3,026.24
1026970-01    H.S.         Bronx SC LLC d/b/a Empire State ASC         Arthroscopy, Shoulder, Surgical; W…     10/22/2019   29827     $5,677.77
1024019-03    C.P.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…     11/13/2018   62287     $5,827.43
1024019-03    C.P.          All City Family Healthcare Center, Inc.    Injection Procedure For Diskograph…     11/13/2018   62290     $1,043.91
1024019-03    C.P.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or…    11/13/2018   64483      $979.78
1024019-03    C.P.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or…    11/13/2018   64484      $449.21
1024019-03    C.P.          All City Family Healthcare Center, Inc.    Diskography, Lumbar, Radiological …     11/13/2018   72295      $572.53
1024019-03    C.P.           Rockaways ASC Development LLC               Injection(S); Single Or Multiple T…     6/5/2019   20553      $277.37
1024019-03    C.P.           Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…       6/5/2019   62323      $976.38
1024019-03    C.P.           Rockaways ASC Development LLC             Epidurography, Radiological Superv…       6/5/2019   72275      $572.52
1024019-03    C.P.           Rockaways ASC Development LLC             Ultrasonic Guidance For Needle Pla…       6/5/2019   76942      $211.66
1022331-02    Y.B.              Manalapan Surgery Center Inc             Injection(S); Single Or Multiple T…     8/4/2018   20553      $236.69
1022331-02    Y.B.              Manalapan Surgery Center Inc           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…       8/4/2018   62321      $829.30
1022331-02    Y.B.              Manalapan Surgery Center Inc             Injection, Anesthetic Agent; Great…     8/4/2018   64405      $373.98
1022331-02    Y.B.              Manalapan Surgery Center Inc           Epidurography, Radiological Superv…       8/4/2018   72275      $572.52
1022331-02    Y.B.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…     12/4/2018   22526     $2,320.90
1022331-02    Y.B.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl…     12/4/2018   22527     $2,320.90
1022331-02    Y.B.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced…      12/4/2018   62287     $5,827.43
1022331-02    Y.B.          All City Family Healthcare Center, Inc.    Injection Procedure For Diskograph…      12/4/2018   62290     $1,043.91
1022331-02    Y.B.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or…     12/4/2018   64483      $979.78
1022331-02    Y.B.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent And/Or…     12/4/2018   64484      $449.21
1022331-02    Y.B.          All City Family Healthcare Center, Inc.    Diskography, Lumbar, Radiological …      12/4/2018   72295      $572.53
1020504-01    F.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…     4/20/2018   29820     $1,472.45
1020504-01    F.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     4/20/2018   29822     $1,472.45
1020504-01    F.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     4/20/2018   29823     $1,472.45
1020504-01    F.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…     4/20/2018   29826     $1,472.45
1020504-01    F.R.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W…      4/20/2018   29827     $5,677.77
1020504-01    F.R.          All City Family Healthcare Center, Inc.      Injection, Anesthetic Agent; Brach…    4/20/2018   64415      $829.30
1020504-01    F.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…      4/20/2018   76942      $341.96
                                                                 117 of 124                                                              Exhibit 3
       Case 1:24-cv-08606-JRC                   Document 1-4 Filed 12/17/24                        Page 258 of 580 PageID #:
                                                            1705
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                               Date of     Billing   Amount
                                           Provider                                      Service
 Number      Person                                                                                                Service     Code       Billed
1020504-01    F.R.                Surgicore of Jersey City LLC             Manipulation Of Spine Requiring An…     4/27/2018   22505      $748.08
1020504-01    F.R.                Surgicore of Jersey City LLC             Manipulation Under Anesthesia, Sho…     4/27/2018   23700     $1,577.52
1020504-01    F.R.                Surgicore of Jersey City LLC              Closed Treatment Of Posterior Pelv…    4/27/2018   27198      $418.79
1020504-01    F.R.                Surgicore of Jersey City LLC             Manipulation Of Spine Requiring An…      5/1/2018   22505      $748.08
1020504-01    F.R.                Surgicore of Jersey City LLC             Manipulation Under Anesthesia, Sho…      5/1/2018   23700     $1,577.52
1020504-01    F.R.                Surgicore of Jersey City LLC              Closed Treatment Of Posterior Pelv…     5/1/2018   27198      $418.79
1020504-01    F.R.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Diagnostic, Wit…     5/4/2018   29870     $3,026.24
1020504-01    F.R.           All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; Synov…      5/4/2018   29875     $1,472.45
1020504-01    F.R.           All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; Synov…      5/4/2018   29876     $1,472.45
1020504-01    F.R.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical; Abras…     5/4/2018   29879     $1,472.45
1020504-01    F.R.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical; With …     5/4/2018   29880     $1,472.45
1020504-01    F.R.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical, For R…     5/4/2018   G0289     $1,472.45
1020504-01    F.R.                Surgicore of Jersey City LLC             Manipulation Of Spine Requiring An…      5/8/2018   22505      $748.08
1020504-01    F.R.                Surgicore of Jersey City LLC             Manipulation Under Anesthesia, Sho…      5/8/2018   23700     $1,577.52
1020504-01    F.R.                Surgicore of Jersey City LLC              Closed Treatment Of Posterior Pelv…     5/8/2018   27198      $418.79
1021227-01    J.H.           All City Family Healthcare Center, Inc.        Perq Intrdscl Electrothrm Annulopl…    2/28/2019   22526     $2,320.90
1021227-01    J.H.           All City Family Healthcare Center, Inc.        Perq Intrdscl Electrothrm Annulopl…    2/28/2019   22526     $2,605.78
1021227-01    J.H.           All City Family Healthcare Center, Inc.       Aspiration Or Decompression Proced…     2/28/2019   62287     $5,292.93
1021227-01    J.H.           All City Family Healthcare Center, Inc.       Aspiration Or Decompression Proced…     2/28/2019   62287     $5,827.43
1021227-01    J.H.           All City Family Healthcare Center, Inc.        Injection Procedure For Diskograph…    2/28/2019   62290     $1,043.91
1021227-01    J.H.           All City Family Healthcare Center, Inc.        Injection, Anesthetic Agent And/Or…    2/28/2019   64483      $979.78
1021227-01    J.H.           All City Family Healthcare Center, Inc.       Diskography, Lumbar, Radiological …     2/28/2019   72295      $572.53
1021227-01    J.H.           All City Family Healthcare Center, Inc.        Perq Intrdscl Electrothrm Annulopl…    4/11/2019   22526     $2,605.78
1021227-01    J.H.           All City Family Healthcare Center, Inc.       Diskectomy, Anterior, With Decompr…     4/11/2019   63075     $5,292.93
1021227-01    J.H.             Rockaways ASC Development LLC                 Injection(S); Single Or Multiple T…    9/2/2021   20552      $236.69
1021227-01    J.H.             Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…      9/2/2021   62321      $976.38
1021227-01    J.H.             Rockaways ASC Development LLC               Ultrasonic Guidance For Needle Pla…      9/2/2021   76942      $341.96
1021227-01    J.H.             Rockaways ASC Development LLC                Infectious Agent Detection By Nucl…     9/2/2021   87635       $51.33
1021227-01    J.H.             Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…      9/2/2021   A4649       $50.00
1019039-02    C.A.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Diagnostic, Wit…    5/11/2018   29870     $3,026.24
1019039-02    C.A.           All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; Synov…     5/11/2018   29875     $1,472.45
1019039-02    C.A.           All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical; Synov…     5/11/2018   29876     $1,472.45
1019039-02    C.A.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical; With …    5/11/2018   29880     $1,472.45
1019039-02    C.A.           All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical, For R…    5/11/2018   G0289     $1,472.45
1019039-02    C.A.                Surgicore of Jersey City LLC             Manipulation Of Spine Requiring An…     5/14/2018   22505      $748.08
1019039-02    C.A.                Surgicore of Jersey City LLC             Manipulation Under Anesthesia, Sho…     5/14/2018   23700     $1,577.52
1019039-02    C.A.                Surgicore of Jersey City LLC              Closed Treatment Of Posterior Pelv…    5/14/2018   27198      $418.79
1016579-01    J.P.                Surgicore of Jersey City LLC             Manipulation Of Spine Requiring An…     3/15/2018   22505      $748.08
1016579-01    J.P.                Surgicore of Jersey City LLC             Manipulation Under Anesthesia, Sho…     3/15/2018   23700     $1,577.52
1016579-01    J.P.                Surgicore of Jersey City LLC              Closed Treatment Of Posterior Pelv…    3/15/2018   27198      $418.77
1016579-01    J.P.                Surgicore of Jersey City LLC             Manipulation Of Spine Requiring An…     3/20/2018   22505      $748.08
1016579-01    J.P.                Surgicore of Jersey City LLC             Manipulation Under Anesthesia, Sho…     3/20/2018   23700     $1,577.52
1016579-01    J.P.                Surgicore of Jersey City LLC              Closed Treatment Of Posterior Pelv…    3/20/2018   27198      $418.77
1016579-01    J.P.                Surgicore of Jersey City LLC             Manipulation Of Spine Requiring An…     3/29/2018   22505      $748.08
1016579-01    J.P.                Surgicore of Jersey City LLC             Manipulation Under Anesthesia, Sho…     3/29/2018   23700     $1,577.52
1016579-01    J.P.                Surgicore of Jersey City LLC              Closed Treatment Of Posterior Pelv…    3/29/2018   27198      $418.79
1016579-01    J.P.           All City Family Healthcare Center, Inc.         Arthroscopy, Shoulder, Surgical; S…   8/16/2019   29821     $1,472.45
1016579-01    J.P.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D…    8/16/2019   29823     $3,026.24
1016579-01    J.P.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; D…    8/16/2019   29826     $1,472.45
1016579-01    J.P.           All City Family Healthcare Center, Inc.         Injection, Anesthetic Agent; Brach…   8/16/2019   64415      $979.78
1016579-01    J.P.           All City Family Healthcare Center, Inc.       Ultrasonic Guidance For Needle Pla…     8/16/2019   76942      $341.96
1015408-02    K.M.              Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical; Synov…     5/14/2018   29876     $1,472.45
1015408-02    K.M.              Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical; Abras…    5/14/2018   29879     $1,472.45
1015408-02    K.M.              Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical; With …    5/14/2018   29880     $3,026.24
1015408-02    K.M.              Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical; With …    5/14/2018   29884     $1,472.45
1015408-02    K.M.              Fifth Avenue Surgery Center LLC               Unlisted Procedure, Arthroscopy…     5/14/2018   29999     $1,472.45
1015408-02    K.M.              Fifth Avenue Surgery Center LLC             Injection, Anesthetic Agent; Femor…    5/14/2018   64447      $829.30
1015408-02    K.M.              Fifth Avenue Surgery Center LLC            Ultrasonic Guidance For Needle Pla…     5/14/2018   76942      $341.96
1015408-02    K.M.        Surgicore LLC d/b/a Surgicore Surgical Center     Arthrocentesis, Aspiration And/Or …    6/18/2018   20610      $236.69
1015408-02    K.M.        Surgicore LLC d/b/a Surgicore Surgical Center    Arthroscopy, Knee, Surgical; Synov…     6/18/2018   29876     $1,472.45
1015408-02    K.M.        Surgicore LLC d/b/a Surgicore Surgical Center     Arthroscopy, Knee, Surgical; With …    6/18/2018   29881     $3,026.24
1015408-02    K.M.        Surgicore LLC d/b/a Surgicore Surgical Center     Arthroscopy, Knee, Surgical; With …    6/18/2018   29884     $1,472.45
1015408-02    K.M.        Surgicore LLC d/b/a Surgicore Surgical Center       Unlisted Procedure, Arthroscopy…     6/18/2018   29999     $1,472.45
1015188-01    R.S.                Surgicore of Jersey City LLC               Injection(S); Single Or Multiple T…   10/9/2018   20553      $236.69
1015188-01    R.S.                Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     10/9/2018   62321      $829.30
1015188-01    R.S.                Surgicore of Jersey City LLC             Epidurography, Radiological Superv…     10/9/2018   72275      $572.53
1015188-01    R.S.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Diagnostic,…    6/26/2019   29805     $1,472.45
1015188-01    R.S.           All City Family Healthcare Center, Inc.        Arthroscopy, Shoulder, Surgical; R…    6/26/2019   29807     $5,677.77
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       Case 1:24-cv-08606-JRC                  Document 1-4 Filed 12/17/24                      Page 259 of 580 PageID #:
                                                           1706
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1015188-01    R.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    6/26/2019   29821     $1,472.45
1015188-01    R.S.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; D…     6/26/2019   29823     $1,472.45
1015188-01    R.S.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; D…     6/26/2019   29826     $1,472.45
1015188-01    R.S.          All City Family Healthcare Center, Inc.       Unlisted Procedure, Arthroscopy…     6/26/2019   29999     $1,472.45
1015188-01    R.S.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    6/26/2019   64415      $979.78
1015188-01    R.S.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     6/26/2019   76942      $341.96
1015709-02    J.S.              Manalapan Surgery Center Inc             Injection(S); Single Or Multiple T…    3/8/2018   20553      $236.69
1015709-02    J.S.              Manalapan Surgery Center Inc           Injection, Anesthetic Agent And/Or…      3/8/2018   64483      $979.78
1015709-02    J.S.              Manalapan Surgery Center Inc           Injection, Anesthetic Agent And/Or…      3/8/2018   64483      $449.21
1015709-02    J.S.              Manalapan Surgery Center Inc           Injection, Anesthetic Agent And/Or…      3/8/2018   64484      $449.29
1015709-02    J.S.              Manalapan Surgery Center Inc           Epidurography, Radiological Superv…      3/8/2018   72275      $572.52
1015709-02    J.S.              Manalapan Surgery Center Inc           Fluor Gid & Loclzj Ndl/Cath Spi Dx…      3/8/2018   77003      $572.53
1015709-02    J.S.              Manalapan Surgery Center Inc             Injection(S); Single Or Multiple T…   4/14/2018   20553      $236.69
1015709-02    J.S.              Manalapan Surgery Center Inc           Njx Dx/Ther Sbst Intrlmnr Crv/Thrc…     4/14/2018   62321      $829.30
1015709-02    J.S.              Manalapan Surgery Center Inc             Injection, Anesthetic Agent; Great…   4/14/2018   64405      $373.98
1015709-02    J.S.              Manalapan Surgery Center Inc            Injection, Anesthetic Agent; Other…    4/14/2018   64450      $373.98
1015709-02    J.S.              Manalapan Surgery Center Inc           Epidurography, Radiological Superv…     4/14/2018   72275      $572.52
1015709-02    J.S.              Manalapan Surgery Center Inc           Fluor Gid & Loclzj Ndl/Cath Spi Dx…     4/14/2018   77003      $572.53
1015709-02    J.S.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    4/19/2018   29821     $1,472.45
1015709-02    J.S.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; D…     4/19/2018   29823     $3,026.24
1015709-02    J.S.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    4/19/2018   64415      $829.30
1015709-02    J.S.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     4/19/2018   76942      $341.96
1015709-02    J.S.              Manalapan Surgery Center Inc             Injection(S); Single Or Multiple T…   5/17/2018   20553      $236.69
1015709-02    J.S.              Manalapan Surgery Center Inc           Injection, Anesthetic Agent And/Or…     5/17/2018   64483      $449.29
1015709-02    J.S.              Manalapan Surgery Center Inc           Injection, Anesthetic Agent And/Or…     5/17/2018   64483      $979.78
1015709-02    J.S.              Manalapan Surgery Center Inc           Injection, Anesthetic Agent And/Or…     5/17/2018   64484      $449.29
1015709-02    J.S.              Manalapan Surgery Center Inc           Epidurography, Radiological Superv…     5/17/2018   72275      $572.52
1015709-02    J.S.              Manalapan Surgery Center Inc           Fluor Gid & Loclzj Ndl/Cath Spi Dx…     5/17/2018   77003      $572.53
1015943-01    E.H.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …     4/5/2018   20610      $236.69
1015943-01    E.H.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Diagnostic, Wit…      4/5/2018   29870     $3,026.24
1015943-01    E.H.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With …      4/5/2018   29873     $1,472.45
1015943-01    E.H.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; For R…      4/5/2018   29874     $1,472.45
1015943-01    E.H.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…      4/5/2018   29876     $1,472.45
1015943-01    E.H.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With …      4/5/2018   29880     $1,472.45
1015943-01    E.H.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor…     4/5/2018   64447      $829.30
1015943-01    E.H.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…      4/5/2018   76942      $341.96
1015943-01    E.H.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …    7/21/2018   20610      $236.69
1015943-01    E.H.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; With …     7/21/2018   29873     $1,472.45
1015943-01    E.H.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…     7/21/2018   29876     $1,472.45
1015943-01    E.H.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…     7/21/2018   29999     $3,026.24
1015943-01    E.H.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor…    7/21/2018   64447      $829.30
1015943-01    E.H.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     7/21/2018   76942      $341.96
1015943-01    E.H.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or …    11/8/2018   20610      $236.69
1015943-01    E.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Diagnostic,…     11/8/2018   29805     $3,026.24
1015943-01    E.H.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    11/8/2018   29821     $1,472.45
1015943-01    E.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; D…     11/8/2018   29823     $1,472.45
1015943-01    E.H.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; D…     11/8/2018   29826     $1,472.45
1015943-01    E.H.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…    11/8/2018   64415      $829.30
1015943-01    E.H.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…     11/8/2018   76942      $341.96
1013116-01    C.C.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…     3/11/2019   62323      $976.38
1013116-01    C.C.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv…     3/11/2019   72275      $572.53
1013116-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     1/14/2020   64493      $447.52
1013116-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     1/14/2020   64493      $976.38
1013116-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     1/14/2020   64494      $447.52
1013116-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     1/14/2020   64495      $447.52
1012215-02    T.R.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …    1/11/2018   20605      $236.69
1012215-02    T.R.            Fifth Avenue Surgery Center LLC           Arthroscopy, Wrist, Surgical; Syno…    1/11/2018   29844     $3,026.24
1012215-02    T.R.            Fifth Avenue Surgery Center LLC           Arthroscopy, Wrist, Surgical; Exci…    1/11/2018   29846     $1,472.45
1012215-02    T.R.            Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…     1/11/2018   29999     $1,472.45
1012215-02    T.R.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…    1/11/2018   64415      $829.30
1012215-02    T.R.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     1/11/2018   76942      $341.96
1012215-02    T.R.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…     1/29/2018   22505      $748.08
1012215-02    T.R.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…     1/29/2018   23700     $1,577.52
1012215-02    T.R.               Surgicore of Jersey City LLC          Closed Treatment Of Posterior Pelv…     1/29/2018   27198      $418.77
1012215-02    T.R.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…      2/2/2018   22505      $748.08
1012215-02    T.R.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho…      2/2/2018   23700     $1,577.52
1012215-02    T.R.               Surgicore of Jersey City LLC          Closed Treatment Of Posterior Pelv…      2/2/2018   27198      $418.77
1012215-02    T.R.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An…      2/5/2018   22505      $748.08
                                                                 119 of 124                                                             Exhibit 3
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                                                          1707
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                        Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                         Service     Code       Billed
1012215-02    T.R.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 2/5/2018     23700     $1,577.52
1012215-02    T.R.               Surgicore of Jersey City LLC          Closed Treatment Of Posterior Pelv…   2/5/2018   27198      $418.77
1012215-02    T.R.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or … 3/12/2018   20610      $236.69
1012215-02    T.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S… 3/12/2018   29821     $1,472.45
1012215-02    T.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 3/12/2018   29823     $3,026.24
1012215-02    T.R.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W… 3/12/2018    29825     $1,472.45
1012215-02    T.R.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 3/12/2018   29826     $1,472.45
1012215-02    T.R.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach… 3/12/2018   64415      $829.30
1012215-02    T.R.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 3/12/2018    76942      $341.96
1012289-03    M.M.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 3/6/2018     62321      $829.30
1012289-03    M.M.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 3/6/2018     72275      $572.53
1012289-03    M.M.          All City Family Healthcare Center, Inc.    Fluor Gid & Loclzj Ndl/Cath Spi Dx… 3/6/2018     77003      $572.53
1012289-03    M.M.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or …  5/3/2018   20610      $236.69
1012289-03    M.M.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Diagnostic,…  5/3/2018   29805     $3,026.24
1012289-03    M.M.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…   5/3/2018   29819     $1,472.45
1012289-03    M.M.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S…  5/3/2018   29821     $1,472.45
1012289-03    M.M.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…  5/3/2018   29823     $1,472.45
1012289-03    M.M.            Fifth Avenue Surgery Center LLC          Arthroscopy, Shoulder, Surgical; W…   5/3/2018   29825     $1,472.45
1012289-03    M.M.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D…  5/3/2018   29826     $1,472.45
1012289-03    M.M.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach…  5/3/2018   64415      $829.30
1012289-03    M.M.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…   5/3/2018   76942      $341.96
1011634-02    Z.M.          All City Family Healthcare Center, Inc.     Arthrocentesis, Aspiration And/Or …  3/9/2018   20610      $236.69
1011634-02    Z.M.          All City Family Healthcare Center, Inc.    Manipulation Under Anesthesia, Sho… 3/9/2018     23700      $748.08
1011634-02    Z.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; R…  3/9/2018   29807     $5,677.77
1011634-02    Z.M.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…  3/9/2018   29823     $1,472.45
1011634-02    Z.M.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach…  3/9/2018   64415      $829.30
1011634-02    Z.M.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla…   3/9/2018   76942      $341.96
1011634-02    Z.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 4/22/2019    62321      $976.38
1012291-02    J.B.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 1/15/2018    22505     $1,037.28
1012291-02    J.B.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 1/15/2018    23700     $1,037.28
1012291-02    J.B.               Surgicore of Jersey City LLC          Closed Treatment Of Posterior Pelv… 1/15/2018    27198     $2,074.56
1012291-02    J.B.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 1/16/2018    22505     $1,037.28
1012291-02    J.B.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 1/16/2018    23700     $1,037.28
1012291-02    J.B.               Surgicore of Jersey City LLC          Closed Treatment Of Posterior Pelv… 1/16/2018    27198     $2,074.56
1012291-02    J.B.               Surgicore of Jersey City LLC          Manipulation Of Spine Requiring An… 1/19/2018    22505     $1,037.28
1012291-02    J.B.               Surgicore of Jersey City LLC          Manipulation Under Anesthesia, Sho… 1/19/2018    23700     $1,037.28
1012291-02    J.B.               Surgicore of Jersey City LLC          Closed Treatment Of Posterior Pelv… 1/19/2018    27198     $2,074.56
1012291-02    J.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S… 2/16/2018   29820     $1,472.45
1012291-02    J.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 2/16/2018   29822     $1,472.45
1012291-02    J.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 2/16/2018   29823     $1,472.45
1012291-02    J.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D… 2/16/2018   29826     $1,472.45
1012291-02    J.B.          All City Family Healthcare Center, Inc.    Arthroscopy, Shoulder, Surgical; W… 2/16/2018    29827     $5,677.77
1012291-02    J.B.          All City Family Healthcare Center, Inc.     Injection, Anesthetic Agent; Brach… 2/16/2018   64415      $829.30
1012291-02    J.B.          All City Family Healthcare Center, Inc.    Ultrasonic Guidance For Needle Pla… 2/16/2018    76942      $341.96
1011136-01    F.M.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 1/15/2018    62321     $1,012.32
1011136-01    F.M.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 1/15/2018    72275      $350.00
1011136-01    F.M.            Fifth Avenue Surgery Center LLC           Arthrocentesis, Aspiration And/Or … 7/21/2018   20610      $236.69
1011136-01    F.M.            Fifth Avenue Surgery Center LLC          Insertion Of Wire Or Pin With Appl… 7/21/2018    20650     $1,393.70
1011136-01    F.M.            Fifth Avenue Surgery Center LLC          Tenotomy, Shoulder Area; Multiple … 7/21/2018    23406     $3,111.71
1011136-01    F.M.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; S… 7/21/2018   29821     $1,472.45
1011136-01    F.M.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 7/21/2018   29823     $1,472.45
1011136-01    F.M.            Fifth Avenue Surgery Center LLC           Arthroscopy, Shoulder, Surgical; D… 7/21/2018   29826     $1,472.45
1011136-01    F.M.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Brach… 7/21/2018   64415      $829.30
1011136-01    F.M.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla… 7/21/2018    76942      $341.96
1012258-01    M.C.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; S… 2/21/2018   29821     $1,472.45
1012258-01    M.C.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; D… 2/21/2018   29822     $1,472.45
1012258-01    M.C.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W… 2/21/2018    29825     $1,472.44
1012258-01    M.C.               Surgicore of Jersey City LLC          Arthroscopy, Shoulder, Surgical; W… 2/21/2018    29827     $5,677.77
1012258-01    M.C.               Surgicore of Jersey City LLC            Unlisted Procedure, Arthroscopy…   2/21/2018   29999     $1,472.45
1012258-01    M.C.               Surgicore of Jersey City LLC           Injection, Anesthetic Agent; Brach… 2/21/2018   64415      $829.30
1012258-01    M.C.               Surgicore of Jersey City LLC          Ultrasonic Guidance For Needle Pla… 2/21/2018    76942      $341.96
1012258-01    M.C.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…   2/21/2018   A4649      $570.00
1012258-01    M.C.               Surgicore of Jersey City LLC         Anchor/Screw For Opposing Bone-To-… 2/21/2018     C1713      $550.00
1012258-01    M.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 6/11/2018    62323      $829.30
1012258-01    M.C.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 6/11/2018    72275      $572.53
1012258-01    M.C.          All City Family Healthcare Center, Inc.    Fluoroscopic Guidance Needle Place… 6/11/2018    77002      $286.26
1012258-01    M.C.          All City Family Healthcare Center, Inc.    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 8/27/2018    62323      $829.30
1012258-01    M.C.          All City Family Healthcare Center, Inc.    Epidurography, Radiological Superv… 8/27/2018    72275      $572.53
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                                                            1708
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                                   Date of     Billing   Amount
                                           Provider                                         Service
 Number      Person                                                                                                    Service     Code       Billed
1012258-01    M.C.           All City Family Healthcare Center, Inc.          Fluoroscopic Guidance Needle Place…      8/27/2018   77002      $286.26
1010513-03    R.P.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An…      1/16/2018   22505     $1,037.28
1010513-03    R.P.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv…     1/16/2018   27198     $2,074.56
1010513-03    R.P.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An…      1/18/2018   22505     $1,037.28
1010513-03    R.P.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv…     1/18/2018   27198     $2,074.56
1010513-03    R.P.                Surgicore of Jersey City LLC                Manipulation Of Spine Requiring An…       2/1/2018   22505     $1,557.52
1010513-03    R.P.                Surgicore of Jersey City LLC                 Closed Treatment Of Posterior Pelv…      2/1/2018   27198      $418.77
1010513-03    R.P.           All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical; Synov…       2/8/2018   29876     $1,472.45
1010513-03    R.P.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With …      2/8/2018   29881     $3,026.24
1009387-01    M.O.           All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Diagnostic, Wit…       5/8/2018   29870     $1,472.45
1009387-01    M.O.           All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical; Synov…       5/8/2018   29876     $1,472.45
1009387-01    M.O.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With …      5/8/2018   29880     $3,026.24
1009387-01    M.O.           All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical, For R…      5/8/2018   G0289     $1,472.45
1008782-01    F.G.                Surgicore of Jersey City LLC                Arthroscopy, Knee, Surgical; Synov…      3/21/2019   29875     $1,472.45
1008782-01    F.G.                Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical; With …     3/21/2019   29880     $3,026.24
1008782-01    F.G.                Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical, For R…     3/21/2019   G0289     $1,472.45
1008867-01    S.B.           All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulopl…     11/6/2018   22526     $2,320.90
1008867-01    S.B.           All City Family Healthcare Center, Inc.          Aspiration Or Decompression Proced…      11/6/2018   62287     $5,827.43
1008867-01    S.B.           All City Family Healthcare Center, Inc.          Injection Procedure For Diskograph…      11/6/2018   62290     $1,043.91
1008867-01    S.B.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent And/Or…     11/6/2018   64483      $979.78
1008867-01    S.B.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent And/Or…     11/6/2018   64484      $449.21
1008867-01    S.B.           All City Family Healthcare Center, Inc.          Diskography, Lumbar, Radiological …      11/6/2018   72295      $572.53
1008867-01    S.B.            Rockaways ASC Development LLC                     Injection(S); Single Or Multiple T…    9/13/2021   20552      $236.69
1008867-01    S.B.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      9/13/2021   62323      $976.38
1008867-01    S.B.            Rockaways ASC Development LLC                   Epidurography, Radiological Superv…      9/13/2021   72275      $572.53
1008867-01    S.B.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…      9/13/2021   76942      $341.96
1008867-01    S.B.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…       9/13/2021   A4649       $50.00
1008867-01    S.B.            Rockaways ASC Development LLC                     Injection(S); Single Or Multiple T…    9/20/2021   20553      $554.76
1008867-01    S.B.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…      9/20/2021   76942      $341.96
1008867-01    S.B.            Rockaways ASC Development LLC                   Infectious Agent Detection By Nucl…      9/20/2021   87635       $51.33
1008867-01    S.B.            Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…       9/20/2021   A4649       $50.00
1008867-01    S.B.            Rockaways ASC Development LLC                     Injection(S); Single Or Multiple T…    10/4/2021   20552      $236.69
1008867-01    S.B.            Rockaways ASC Development LLC                    Dstr Nrolytc Agnt Parverteb Fct Sn…     10/4/2021   64635      $976.38
1008867-01    S.B.            Rockaways ASC Development LLC                   Dstr Nrolytc Agnt Parverteb Fct Ad…      10/4/2021   64636      $447.52
1008867-01    S.B.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…      10/4/2021   76942      $341.96
1008867-01    S.B.            Rockaways ASC Development LLC                   Infectious Agent Detection By Nucl…      10/4/2021   87635       $51.33
1008867-01    S.B.            Rockaways ASC Development LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     10/18/2021   64493      $976.38
1008867-01    S.B.            Rockaways ASC Development LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     10/18/2021   64494      $447.52
1008867-01    S.B.            Rockaways ASC Development LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…     10/18/2021   64495      $447.52
1008867-01    S.B.            Rockaways ASC Development LLC                   Infectious Agent Detection By Nucl…     10/18/2021   87635       $51.33
1008867-01    S.B.            Rockaways ASC Development LLC                     Injection(S); Single Or Multiple T…     2/7/2022   20552      $236.69
1008867-01    S.B.            Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…       2/7/2022   62323      $976.38
1008867-01    S.B.            Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…       2/7/2022   76942      $341.96
1008867-01    S.B.            Rockaways ASC Development LLC                   Infectious Agent Detection By Nucl…       2/7/2022   87635       $51.33
1009469-01    R.D.                Surgicore of Jersey City LLC                  Injection(S); Single Or Multiple T…    1/20/2018   20553      $236.69
1009469-01    R.D.                Surgicore of Jersey City LLC                  Injection Procedure For Sacroiliac…    1/20/2018   27096      $236.69
1009469-01    R.D.                Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…      1/20/2018   62323      $829.30
1009469-01    R.D.                Surgicore of Jersey City LLC                Epidurography, Radiological Superv…      1/20/2018   72275      $572.53
1009469-01    R.D.               Manalapan Surgery Center Inc                  Perq Intrdscl Electrothrm Annulopl…     3/29/2018   22526     $2,320.90
1009469-01    R.D.               Manalapan Surgery Center Inc                  Perq Intrdscl Electrothrm Annulopl…     3/29/2018   22527     $2,320.90
1009469-01    R.D.               Manalapan Surgery Center Inc                 Aspiration Or Decompression Proced…      3/29/2018   62287     $2,873.04
1009469-01    R.D.               Manalapan Surgery Center Inc                 Aspiration Or Decompression Proced…      3/29/2018   62287     $5,827.43
1009469-01    R.D.               Manalapan Surgery Center Inc                  Injection, Anesthetic Agent And/Or…     3/29/2018   64483      $449.29
1009469-01    R.D.               Manalapan Surgery Center Inc                  Injection, Anesthetic Agent And/Or…     3/29/2018   64484      $449.29
1009469-01    R.D.               Manalapan Surgery Center Inc                 Epidurography, Radiological Superv…      3/29/2018   72275      $572.52
1009469-01    R.D.               Manalapan Surgery Center Inc                 Fluor Gid & Loclzj Ndl/Cath Spi Dx…      3/29/2018   77003      $572.53
1009469-01    R.D.               Manalapan Surgery Center Inc                   Injection(S); Single Or Multiple T…    6/28/2018   20553      $236.69
1009469-01    R.D.               Manalapan Surgery Center Inc                   Injection Procedure For Sacroiliac…    6/28/2018   27096      $236.69
1009469-01    R.D.               Manalapan Surgery Center Inc                 Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      6/28/2018   64493      $979.78
1009469-01    R.D.               Manalapan Surgery Center Inc                 Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      6/28/2018   64493      $449.21
1009469-01    R.D.               Manalapan Surgery Center Inc                 Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      6/28/2018   64494      $449.21
1009469-01    R.D.               Manalapan Surgery Center Inc                 Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      6/28/2018   64495      $449.21
1009469-01    R.D.               Manalapan Surgery Center Inc                 Fluor Gid & Loclzj Ndl/Cath Spi Dx…      6/28/2018   77003      $572.53
1009469-01    R.D.               Manalapan Surgery Center Inc                   Injection(S); Single Or Multiple T…    7/12/2018   20553      $236.69
1009469-01    R.D.               Manalapan Surgery Center Inc                   Injection Procedure For Sacroiliac…    7/12/2018   27096      $236.69
1009469-01    R.D.               Manalapan Surgery Center Inc                 Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      7/12/2018   64493      $449.21
1009469-01    R.D.               Manalapan Surgery Center Inc                 Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      7/12/2018   64493      $979.78
1009469-01    R.D.               Manalapan Surgery Center Inc                 Njx Dx/Ther Agt Pvrt Facet Jt Lmbr…      7/12/2018   64494      $449.21
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                                                           1709
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1009469-01    R.D.              Manalapan Surgery Center Inc           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 7/12/2018      64495      $449.21
1009469-01    R.D.              Manalapan Surgery Center Inc           Fluor Gid & Loclzj Ndl/Cath Spi Dx… 7/12/2018      77003      $572.53
1009469-01    R.D.              Manalapan Surgery Center Inc             Injection(S); Single Or Multiple T…   9/6/2018   20553      $236.69
1009469-01    R.D.              Manalapan Surgery Center Inc           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/6/2018       64493      $979.78
1009469-01    R.D.              Manalapan Surgery Center Inc           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/6/2018       64494      $449.21
1009469-01    R.D.              Manalapan Surgery Center Inc           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 9/6/2018       64495      $449.21
1009469-01    R.D.              Manalapan Surgery Center Inc           Fluor Gid & Loclzj Ndl/Cath Spi Dx… 9/6/2018       77003      $572.53
1009469-01    R.D.              Manalapan Surgery Center Inc             Injection(S); Single Or Multiple T… 11/15/2018   20553      $236.69
1009469-01    R.D.              Manalapan Surgery Center Inc            Dstr Nrolytc Agnt Parverteb Fct Sn… 11/15/2018    64635      $979.78
1009469-01    R.D.              Manalapan Surgery Center Inc           Dstr Nrolytc Agnt Parverteb Fct Ad… 11/15/2018     64636      $449.21
1009469-01    R.D.              Manalapan Surgery Center Inc           Fluor Gid & Loclzj Ndl/Cath Spi Dx… 11/15/2018     77003      $572.53
1009469-01    R.D.              Manalapan Surgery Center Inc             Injection(S); Single Or Multiple T…  3/21/2019   20553      $236.69
1009469-01    R.D.              Manalapan Surgery Center Inc           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/21/2019      64493      $447.52
1009469-01    R.D.              Manalapan Surgery Center Inc           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/21/2019      64493      $976.38
1009469-01    R.D.              Manalapan Surgery Center Inc           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/21/2019      64494      $447.52
1009469-01    R.D.              Manalapan Surgery Center Inc           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/21/2019      64495      $447.52
1006720-04    E.P.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 8/27/2018     22526     $2,320.90
1006720-04    E.P.               Surgicore of Jersey City LLC           Perq Intrdscl Electrothrm Annulopl… 8/27/2018     22527     $2,320.90
1006720-04    E.P.               Surgicore of Jersey City LLC         Laminotomy (Hemilaminectomy), With… 8/27/2018       63030     $5,827.43
1006720-04    E.P.               Surgicore of Jersey City LLC         Laminotomy (Hemilaminectomy), With… 8/27/2018       63035     $2,873.04
1006720-04    E.P.               Surgicore of Jersey City LLC          Fluor Gid & Loclzj Ndl/Cath Spi Dx… 8/27/2018      77003      $286.26
1006720-04    E.P.               Surgicore of Jersey City LLC          Special Anterior Segment Photograp… 8/27/2018      92287     $2,873.04
1006720-04    E.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 11/12/2018     64493      $449.21
1006720-04    E.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 11/12/2018     64493      $979.78
1006720-04    E.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 11/12/2018     64494      $449.21
1006720-04    E.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 11/12/2018     64495      $449.21
1006720-04    E.P.               Surgicore of Jersey City LLC          Fluor Gid & Loclzj Ndl/Cath Spi Dx… 11/12/2018     77003      $572.53
1006720-04    E.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure, Nervous System… 3/13/2019      64999      $829.30
1006717-04    L.P.              Manalapan Surgery Center Inc           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 1/20/2018      62323      $931.80
1006717-04    L.P.              Manalapan Surgery Center Inc           Epidurography, Radiological Superv… 1/20/2018      72275      $350.00
1006717-04    L.P.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Synov… 1/25/2018      29876     $1,472.45
1006717-04    L.P.          All City Family Healthcare Center, Inc.    Arthroscopy, Knee, Surgical; Abras… 1/25/2018      29879     $1,472.45
1006717-04    L.P.          All City Family Healthcare Center, Inc.     Arthroscopy, Knee, Surgical; With … 1/25/2018     29881     $3,026.24
1006717-04    L.P.              Manalapan Surgery Center Inc           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/3/2018       62323      $829.30
1006717-04    L.P.              Manalapan Surgery Center Inc           Epidurography, Radiological Superv… 2/3/2018       72275      $572.52
1004403-02    E.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/24/2018      62323      $829.30
1004403-02    E.B.               Surgicore of Jersey City LLC          Epidurography, Radiological Superv… 2/24/2018      72275      $572.53
1004403-02    E.B.            Fifth Avenue Surgery Center LLC          Simple Repair Of Superficial Wound… 3/8/2018       12001      $251.43
1004403-02    E.B.            Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…     3/8/2018   29876     $1,472.45
1004403-02    E.B.            Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …    3/8/2018   29881     $3,026.24
1004403-02    E.B.            Fifth Avenue Surgery Center LLC           Injection, Anesthetic Agent; Femor…    3/8/2018   64447      $829.30
1004403-02    E.B.            Fifth Avenue Surgery Center LLC          Ultrasonic Guidance For Needle Pla…     3/8/2018   76942      $341.96
1004403-02    E.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 4/28/2018      64493      $449.21
1004403-02    E.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 4/28/2018      64493      $979.78
1004403-02    E.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 4/28/2018      64494      $449.21
1004403-02    E.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 4/28/2018      64495      $449.21
1004403-02    E.B.               Surgicore of Jersey City LLC          Fluor Gid & Loclzj Ndl/Cath Spi Dx… 4/28/2018      77003      $572.53
1004403-02    E.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 5/26/2018      64493      $449.21
1004403-02    E.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 5/26/2018      64493      $979.78
1004403-02    E.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 5/26/2018      64494      $449.21
1004403-02    E.B.               Surgicore of Jersey City LLC          Fluor Gid & Loclzj Ndl/Cath Spi Dx… 5/26/2018      77003      $572.53
1004403-02    E.B.          All City Family Healthcare Center, Inc.     Perq Intrdscl Electrothrm Annulopl… 8/27/2019     22526     $2,605.78
1004403-02    E.B.          All City Family Healthcare Center, Inc.    Aspiration Or Decompression Proced… 8/27/2019      62287     $5,292.93
1004922-02    M.B.               Surgicore of Jersey City LLC            Injection(S); Single Or Multiple T…  4/10/2018   20553      $236.69
1004922-02    M.B.               Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Crv/Thrc… 4/10/2018      62321      $829.30
1004922-02    M.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; S…    5/9/2018   29820     $1,472.45
1004922-02    M.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    5/9/2018   29823     $3,026.24
1004922-02    M.B.          All City Family Healthcare Center, Inc.     Arthroscopy, Shoulder, Surgical; D…    5/9/2018   29826     $1,472.45
1004283-03    M.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/24/2018      64493      $979.78
1004283-03    M.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/24/2018      64493      $449.21
1004283-03    M.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/24/2018      64494      $449.21
1004283-03    M.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 2/24/2018      64495      $449.21
1004283-03    M.P.               Surgicore of Jersey City LLC          Fluor Gid & Loclzj Ndl/Cath Spi Dx… 2/24/2018      77003      $572.53
1004283-03    M.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/17/2018      64493      $449.21
1004283-03    M.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/17/2018      64493      $979.78
1004283-03    M.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/17/2018      64494      $449.21
1004283-03    M.P.               Surgicore of Jersey City LLC          Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 3/17/2018      64495      $449.21
1004283-03    M.P.               Surgicore of Jersey City LLC          Fluor Gid & Loclzj Ndl/Cath Spi Dx… 3/17/2018      77003      $572.53
                                                                 122 of 124                                                            Exhibit 3
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                                                           1710
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                       Fraudulent Services at Two or More Surgicore ASCs
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1004283-03    M.P.               Surgicore of Jersey City LLC            Dstr Nrolytc Agnt Parverteb Fct Sn… 4/28/2018     64635      $979.78
1004283-03    M.P.               Surgicore of Jersey City LLC           Dstr Nrolytc Agnt Parverteb Fct Ad… 4/28/2018      64636      $449.21
1004283-03    M.P.               Surgicore of Jersey City LLC           Fluor Gid & Loclzj Ndl/Cath Spi Dx… 4/28/2018      77003      $572.53
1004283-03    M.P.               Manalapan Surgery Center Inc            Perq Intrdscl Electrothrm Annulopl… 5/12/2018     22526     $2,320.90
1004283-03    M.P.               Manalapan Surgery Center Inc           Aspiration Or Decompression Proced… 5/12/2018      62287     $5,827.43
1004283-03    M.P.               Manalapan Surgery Center Inc            Injection, Anesthetic Agent And/Or… 5/12/2018     64483      $979.78
1004283-03    M.P.               Manalapan Surgery Center Inc            Injection, Anesthetic Agent And/Or… 5/12/2018     64484      $449.29
1004283-03    M.P.               Manalapan Surgery Center Inc           Epidurography, Radiological Superv… 5/12/2018      72275      $572.52
1004283-03    M.P.               Manalapan Surgery Center Inc           Fluor Gid & Loclzj Ndl/Cath Spi Dx… 5/12/2018      77003      $572.53
1004283-03    M.P.               Manalapan Surgery Center Inc             Injection(S); Single Or Multiple T… 12/29/2018   20553      $236.69
1004283-03    M.P.               Manalapan Surgery Center Inc             Injection Procedure For Sacroiliac… 12/29/2018   27096      $236.69
1004283-03    M.P.               Manalapan Surgery Center Inc           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 12/29/2018     64493      $449.21
1004283-03    M.P.               Manalapan Surgery Center Inc           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 12/29/2018     64493      $979.78
1004283-03    M.P.               Manalapan Surgery Center Inc           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 12/29/2018     64494      $449.21
1004283-03    M.P.               Manalapan Surgery Center Inc           Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 12/29/2018     64495      $449.21
1004283-03    M.P.               Manalapan Surgery Center Inc           Fluor Gid & Loclzj Ndl/Cath Spi Dx… 12/29/2018     77003      $572.53
1004582-03    C.S.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/5/2018       62323      $829.30
1004582-03    C.S.               Surgicore of Jersey City LLC           Epidurography, Radiological Superv… 2/5/2018       72275      $572.53
1004582-03    C.S.          All City Family Healthcare Center, Inc.     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 2/20/2018      62323      $829.30
1004582-03    C.S.          All City Family Healthcare Center, Inc.     Epidurography, Radiological Superv… 2/20/2018      72275      $572.53
1004582-03    C.S.          All City Family Healthcare Center, Inc.     Fluor Gid & Loclzj Ndl/Cath Spi Dx… 2/20/2018      77003      $286.26
1003233-06    L.G.          All City Family Healthcare Center, Inc.     Manipulation Of Spine Requiring An… 8/6/2019       22505      $748.08
1003233-06    L.G.          All City Family Healthcare Center, Inc.     Manipulation Of Spine Requiring An… 8/6/2019       22505     $1,577.52
1003233-06    L.G.          All City Family Healthcare Center, Inc.     Manipulation Under Anesthesia, Sho… 8/6/2019       23700      $748.08
1003233-06    L.G.          All City Family Healthcare Center, Inc.     Manipulation, Wrist, Under Anesthe… 8/6/2019       25259      $748.08
1003233-06    L.G.          All City Family Healthcare Center, Inc.      Closed Treatment Of Posterior Pelv…    8/6/2019   27198      $405.93
1003233-06    L.G.          All City Family Healthcare Center, Inc.     Manipulation Of Spine Requiring An… 8/20/2019      22505      $748.08
1003233-06    L.G.          All City Family Healthcare Center, Inc.     Manipulation Of Spine Requiring An… 8/20/2019      22505     $1,577.52
1003233-06    L.G.          All City Family Healthcare Center, Inc.     Manipulation Under Anesthesia, Sho… 8/20/2019      23700      $748.08
1003233-06    L.G.          All City Family Healthcare Center, Inc.     Manipulation, Wrist, Under Anesthe… 8/20/2019      25259      $748.08
1003233-06    L.G.          All City Family Healthcare Center, Inc.      Closed Treatment Of Posterior Pelv… 8/20/2019     27198      $405.93
1003233-06    L.G.          All City Family Healthcare Center, Inc.     Manipulation Of Spine Requiring An… 8/27/2019      22505      $748.08
1003233-06    L.G.          All City Family Healthcare Center, Inc.     Manipulation Of Spine Requiring An… 8/27/2019      22505     $1,577.52
1003233-06    L.G.          All City Family Healthcare Center, Inc.     Manipulation Under Anesthesia, Sho… 8/27/2019      23700      $748.08
1003233-06    L.G.          All City Family Healthcare Center, Inc.     Manipulation, Wrist, Under Anesthe… 8/27/2019      25259      $748.08
1003233-06    L.G.          Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 5/15/2023      64493      $447.52
1003233-06    L.G.          Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 5/15/2023      64493      $976.38
1003233-06    L.G.          Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 5/15/2023      64494      $447.52
1003233-06    L.G.          Bronx SC LLC d/b/a Empire State ASC         Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 5/15/2023      64495      $447.52
 679056-10    C.F.             Fifth Avenue Surgery Center LLC          Arthroscopy, Knee, Surgical; Synov…     7/2/2018   29876     $1,472.45
 679056-10    C.F.             Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical; With …    7/2/2018   29880     $3,026.24
 679056-10    C.F.             Fifth Avenue Surgery Center LLC             Unlisted Procedure, Arthroscopy…     7/2/2018   29999     $1,472.45
 679056-10    C.F.             Fifth Avenue Surgery Center LLC           Arthroscopy, Knee, Surgical, For R…    7/2/2018   G0289     $1,472.45
 679056-10    C.F.       Surgicore LLC d/b/a Surgicore Surgical Center    Tissue Grafts, Other (Eg, Parateno…  9/14/2018   20926     $1,040.80
 679056-10    C.F.       Surgicore LLC d/b/a Surgicore Surgical Center  Repair, Flexor Tendon, Leg; Primar… 9/14/2018      27658     $1,393.70
 679056-10    C.F.       Surgicore LLC d/b/a Surgicore Surgical Center  Tenolysis, Flexor Or Extensor Tend… 9/14/2018      27680     $1,393.70
 679056-10    C.F.       Surgicore LLC d/b/a Surgicore Surgical Center  Repair, Primary, Disrupted Ligamen… 9/14/2018      27695     $1,515.18
 679056-10    C.F.       Surgicore LLC d/b/a Surgicore Surgical Center    Open Tx Distal Tibiofibular Joint …  9/14/2018   27829     $4,869.06
 679056-10    C.F.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy, Ankle (Tibiotalar And… 9/14/2018      29898     $1,472.45
 678749-03    L.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Agt Pvrt Facet Jt Lmbr… 4/2/2018        64493      $979.78
 678749-03    L.C.               Surgicore of Jersey City LLC            Arthroscopy, Shoulder, Surgical; S…   4/24/2019   29821     $1,472.45
 678749-03    L.C.               Surgicore of Jersey City LLC            Arthroscopy, Shoulder, Surgical; D… 4/24/2019     29823     $3,026.24
 678749-03    L.C.               Surgicore of Jersey City LLC           Arthroscopy, Shoulder, Surgical; W… 4/24/2019      29825     $1,472.45
 678749-03    L.C.               Surgicore of Jersey City LLC              Unlisted Procedure, Arthroscopy…    4/24/2019   29999     $1,472.45
 678749-03    L.C.               Surgicore of Jersey City LLC             Injection, Anesthetic Agent; Brach…  4/24/2019   64415      $979.78
 678749-03    L.C.               Surgicore of Jersey City LLC           Ultrasonic Guidance For Needle Pla… 4/24/2019      76942      $341.96
 677029-02    B.P.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulopl… 5/16/2019     22526     $2,605.78
 677029-02    B.P.          All City Family Healthcare Center, Inc.    Diskectomy, Anterior, With Decompr… 5/16/2019       63075     $5,292.93
 795313-03    C.T.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; S…   2/19/2018   29821     $1,472.45
 795313-03    C.T.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; D… 2/19/2018     29822     $1,472.45
 795313-03    C.T.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; D… 2/19/2018     29823     $3,026.24
 795313-03    C.T.          All City Family Healthcare Center, Inc.      Arthroscopy, Shoulder, Surgical; D… 2/19/2018     29826     $1,472.45
 795313-03    C.T.          All City Family Healthcare Center, Inc.       Injection, Anesthetic Agent; Brach…  2/19/2018   64415      $829.30
 795313-03    C.T.          All City Family Healthcare Center, Inc.     Ultrasonic Guidance For Needle Pla… 2/19/2018      76942      $341.96
 795313-03    C.T.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac… 4/23/2018      62323      $829.30
 795313-03    C.T.               Surgicore of Jersey City LLC           Epidurography, Radiological Superv… 4/23/2018      72275      $572.53
 795233-02    C.V.               Surgicore of Jersey City LLC          Perc Lamino-/Laminectomy Image Gui… 7/12/2021       0274T     $5,292.93
 795233-02    C.V.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulopl… 7/12/2021     22526     $2,605.78
                                                                 123 of 124                                                             Exhibit 3
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                            American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                      Representative Sample of Claims in Which A Covered Person Purportedly Underwent
                                      Fraudulent Services at Two or More Surgicore ASCs
 Claim      Covered                                                                                                 Date of     Billing   Amount
                                          Provider                                         Service
Number      Person                                                                                                  Service     Code       Billed
795233-02    C.V.                Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     7/12/2021   A4649        $50.00
795233-02    C.V.                Surgicore of Jersey City LLC                 Prosthetic Implant, Not Otherwise …   7/12/2021   L8699      $1,495.00
795233-02    C.V.             Fifth Avenue Surgery Center LLC                Percutaneous Implantation Of Neuro…    12/8/2021   63650     $18,661.93
676147-02    I.P.           All City Family Healthcare Center, Inc.           Arthrocentesis, Aspiration And/Or …   2/12/2019   20610       $236.69
676147-02    I.P.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; R…   2/12/2019   29807      $5,677.77
676147-02    I.P.           All City Family Healthcare Center, Inc.           Arthroscopy, Shoulder, Surgical; S…   2/12/2019   29821      $1,472.45
676147-02    I.P.           All City Family Healthcare Center, Inc.          Arthroscopy, Shoulder, Surgical; D…    2/12/2019   29823      $1,472.45
676147-02    I.P.           All City Family Healthcare Center, Inc.          Arthroscopy, Shoulder, Surgical; W…    2/12/2019   29825      $1,472.45
676147-02    I.P.           All City Family Healthcare Center, Inc.          Arthroscopy, Shoulder, Surgical; D…    2/12/2019   29826      $1,472.45
676147-02    I.P.           All City Family Healthcare Center, Inc.           Injection, Anesthetic Agent; Brach…   2/12/2019   64415       $829.30
676147-02    I.P.           All City Family Healthcare Center, Inc.          Ultrasonic Guidance For Needle Pla…    2/12/2019   76942       $341.96
676147-02    I.P.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Wrist, Surgical; Syno…   6/21/2019   29844      $3,026.24
676147-02    I.P.             Fifth Avenue Surgery Center LLC                 Arthroscopy, Wrist, Surgical; Exci…   6/21/2019   29846      $1,472.45
676147-02    I.P.             Fifth Avenue Surgery Center LLC                  Unlisted Procedure, Arthroscopy…     6/21/2019   29999      $1,472.45
676147-02    I.P.             Fifth Avenue Surgery Center LLC                 Injection, Anesthetic Agent; Brach…   6/21/2019   64415       $829.30
676147-02    I.P.             Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla…    6/21/2019   76942       $341.96
674892-08    F.T.               Manalapan Surgery Center Inc                 Manipulation Of Spine Requiring An…    7/26/2018   22505       $748.08
674892-08    F.T.               Manalapan Surgery Center Inc                 Manipulation Of Knee Joint Under G…    7/26/2018   27570      $1,577.52
674892-08    F.T.           All City Family Healthcare Center, Inc.           Arthrocentesis, Aspiration And/Or …    3/6/2019   20610       $236.69
674892-08    F.T.           All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical; Synov…     3/6/2019   29876      $3,026.24
674892-08    F.T.           All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical; With …     3/6/2019   29880      $1,472.45
674892-08    F.T.           All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical, For R…     3/6/2019   G0289      $1,472.45




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                         EXHIBIT “4”
                         EXHIBIT “4”
        Case 1:24-cv-08606-JRC                Document 1-4 Filed 12/17/24                        Page 266 of 580 PageID #:
                                                          1713
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                              Service     Code       Billed
1149982-01    R.V.        Bronx SC LLC d/b/a Empire State ASC               Injection Single/Mlt Trigger Poin…   7/21/2024   20553      $236.69
1149982-01    R.V.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/21/2024   62323      $976.38
1149982-01    R.V.                     AMSC LLC                             Perq Intrdscl Electrothrm Annulop…   8/16/2024   22526     $5,212.00
1149982-01    R.V.                     AMSC LLC                             Perq Intrdscl Electrothrm Annulop…   8/16/2024   22527     $5,212.00
1149982-01    R.V.                     AMSC LLC                           Dcmprn Perq Nucleus Pulposus 1/> …     8/16/2024   62287     $5,293.00
1147863-02    R.M.          Fifth Avenue Surgery Center LLC                 Injection Single/Mlt Trigger Poin…   7/29/2024   20553      $236.69
1147863-02    R.M.          Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/29/2024   62323      $976.38
1147863-02    R.M.          Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …     7/29/2024   76942      $341.96
1147863-02    R.M.              Global Surgery Center LLC                  Arthroscopy Shoulder Surg Synovec…     8/7/2024   29821     $3,026.24
1147863-02    R.M.              Global Surgery Center LLC                  Arthroscopy Shoulder Surg Debride…     8/7/2024   29823     $5,677.77
1147863-02    R.M.              Global Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …     8/7/2024   29825     $1,472.45
1147863-02    R.M.              Global Surgery Center LLC                    Unlisted Procedure Arthroscopy…      8/7/2024   29999     $1,472.45
1147380-02    D.W.              Global Surgery Center LLC                  Njx Pltlt Plasma W/Img Harvest/Pr…    8/16/2024   0232T     $1,400.00
1147380-02    D.W.              Global Surgery Center LLC                  Arthroscopy Shoulder Surgical Rem…    8/16/2024   29819     $1,472.45
1147380-02    D.W.              Global Surgery Center LLC                  Arthroscopy Shoulder Surg Synovec…    8/16/2024   29821     $5,677.77
1147380-02    D.W.              Global Surgery Center LLC                  Arthroscopy Shoulder Surg Debride…    8/16/2024   29823     $3,026.24
1147380-02    D.W.              Global Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …    8/16/2024   29825     $1,472.45
1147380-02    D.W.              Global Surgery Center LLC                 Arthroscopy Shoulder W/Coracoacrm…     8/16/2024   29826     $1,472.45
1147380-02    D.W.          Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/23/2024   62321      $976.38
1147719-03    T.K.        Bronx SC LLC d/b/a Empire State ASC               Injection Single/Mlt Trigger Poin…   6/23/2024   20553      $236.69
1147719-03    T.K.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/23/2024   62323      $976.38
1147719-03    T.K.              Global Surgery Center LLC                  Njx Pltlt Plasma W/Img Harvest/Pr…    7/15/2024   0232T     $1,400.00
1147719-03    T.K.              Global Surgery Center LLC                   Arthrocentesis Aspir&/Inj Major J…   7/15/2024   20610     $2,700.00
1147719-03    T.K.              Global Surgery Center LLC                 Arthroscopy Knee Synovectomy 2/>C…     7/15/2024   29876     $3,026.24
1147719-03    T.K.              Global Surgery Center LLC                Arthrs Knee W/Meniscectomy Med&La…      7/15/2024   29880     $5,677.77
1147719-03    T.K.              Global Surgery Center LLC                    Unlisted Procedure Arthroscopy…     7/15/2024   29999     $1,472.45
1147315-02     J.J.       All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/19/2024   62321      $976.38
1147315-02     J.J.       All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/19/2024   62321      $976.38
1147315-02     J.J.                    SCOB LLC                             Arthrocentesis Aspir&/Inj Major J…   7/31/2024   20610      $473.39
1147315-02     J.J.                    SCOB LLC                            Arthroscopy Shoulder Surg Synovec…    7/31/2024   29821     $5,596.40
1147315-02     J.J.                    SCOB LLC                            Arthroscopy Shoulder Surg Debride…    7/31/2024   29823     $2,944.87
1147315-02     J.J.                    SCOB LLC                           Arthroscopy Shoulder W/Coracoacrm…     7/31/2024   29826     $2,944.87
1147315-02     J.J.                    SCOB LLC                            Arthroscopy Shoulder Rotator Cuff…    7/31/2024   29827     $6,804.84
1147315-02     J.J.                    SCOB LLC                           Anchor/Screw For Opposing Bone-To…     7/31/2024   C1713     $2,226.00
1147315-02     J.J.       All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…   8/14/2024   22526     $2,605.78
1147315-02     J.J.       All City Family Healthcare Center, Inc.         Discectomy Ant Dcmprn Cord Cervic…     8/14/2024   63075     $6,402.03
1147502-01    L.T.          Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/14/2024   62323      $976.38
1147502-01    L.T.             East Tremont Medical Center                  Perq Intrdscl Electrothrm Annulop…   6/23/2024   22526     $2,605.78
1147502-01    L.T.             East Tremont Medical Center                  Perq Intrdscl Electrothrm Annulop…   6/23/2024   22527     $2,605.78
1147502-01    L.T.             East Tremont Medical Center                Dcmprn Perq Nucleus Pulposus 1/> …     6/23/2024   62287     $5,293.93
1147502-01    L.T.             East Tremont Medical Center                 Injection Px Discography Each Lev…    6/23/2024   62290      $748.72
1147502-01    L.T.             East Tremont Medical Center                   Anesthesia Lumbar Region Nos…       6/23/2024     630      $386.23
1147502-01    L.T.             East Tremont Medical Center                      Diskograpy Lumbar Rs&I…          6/23/2024   72295      $521.95
1147502-01    L.T.             East Tremont Medical Center                Supplies&Materials Above/Beyond P…     6/23/2024   99070      $925.44
1147502-01    L.T.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/19/2024   62321      $976.38
1147667-02    D.V.          Fifth Avenue Surgery Center LLC               Arthroscopy Knee Synovectomy Limi…     5/25/2024   29875     $1,472.45
1147667-02    D.V.          Fifth Avenue Surgery Center LLC              Arthrs Knee W/Meniscectomy Med&La…      5/25/2024   29880     $3,026.24
1147667-02    D.V.          Fifth Avenue Surgery Center LLC                  Unlisted Procedure Arthroscopy…     5/25/2024   29999     $1,472.45
1147667-02    D.V.          Island Ambulatory Surgery Center                Injection Single/Mlt Trigger Poin…    7/5/2024   20553      $279.23
1147667-02    D.V.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     7/5/2024   62323      $980.10
1147667-02    D.V.          Island Ambulatory Surgery Center                Injection Single/Mlt Trigger Poin…   7/19/2024   20553      $279.23
1147667-02    D.V.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/19/2024   62321      $980.10
1147667-02    D.V.          Island Ambulatory Surgery Center                Injection Single/Mlt Trigger Poin…    8/2/2024   20553      $279.23
1147667-02    D.V.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     8/2/2024   62323      $980.10
1147602-01    J.D.         New York Surgery Center of Queens               Anes Open/Surg Arthroscopic Proc …    7/19/2024    1400      $267.39
1147602-01    J.D.         New York Surgery Center of Queens              Arthroscopy Knee Synovectomy 2/>C…     7/19/2024   29876     $1,472.45
1147602-01    J.D.         New York Surgery Center of Queens             Arthrs Knee W/Meniscectomy Med&La…      7/19/2024   29880     $3,026.24
1147602-01    J.D.         New York Surgery Center of Queens                 Unlisted Procedure Arthroscopy…     7/19/2024   29999     $1,472.45
1147602-01    J.D.         New York Surgery Center of Queens               Injection Anesthetic Agent Femora…    7/19/2024   64447      $148.64
1147602-01    J.D.         New York Surgery Center of Queens              Us Guidance Needle Placement Img …     7/19/2024   76942      $159.06
1147602-01    J.D.          Fifth Avenue Surgery Center LLC                 Injection Single/Mlt Trigger Poin…   8/19/2024   20553      $236.69
1147602-01    J.D.          Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/19/2024   62323      $976.38
1147602-01    J.D.          Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …     8/19/2024   76942      $341.96
1146979-02    M.C.                     SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/11/2024   62323      $976.38
1146979-02    M.C.        Bronx SC LLC d/b/a Empire State ASC               Arthrocentesis Aspir&/Inj Major J…   6/28/2024   20610      $473.39
1146979-02    M.C.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder Surgical Cap…    6/28/2024   29806     $5,677.77
1146979-02    M.C.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder Surg Synovec…    6/28/2024   29821     $2,798.20
1146979-02    M.C.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder Surg Debride…    6/28/2024   29823     $1,472.45

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                                                          1714
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                               Service     Code       Billed
1146979-02    M.C.        Bronx SC LLC d/b/a Empire State ASC                 Unlisted Procedure Arthroscopy…     6/28/2024   29999     $1,472.45
1146979-02    M.C.        Bronx SC LLC d/b/a Empire State ASC              Single Nerve Block Injection Arm …     6/28/2024   64415      $979.78
1146979-02    M.C.        Bronx SC LLC d/b/a Empire State ASC             Us Guidance Needle Placement Img …      6/28/2024   76942      $341.96
1147317-01    F.A.             Surgicore of Jersey City LLC                  Injection Single/Mlt Trigger Poin…   6/12/2024   20553      $236.69
1147317-01    F.A.             Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     6/12/2024   62321      $976.38
1147317-01    F.A.                     SCOB LLC                             Arthrocentesis Aspir&/Inj Major J…    8/21/2024   20610      $473.39
1147317-01    F.A.                     SCOB LLC                           Arthroscopy Shoulder Surg Synovec…      8/21/2024   29821     $5,677.77
1147317-01    F.A.                     SCOB LLC                            Arthroscopy Shoulder Surg Debride…     8/21/2024   29823     $2,944.87
1146038-02    C.R.          New Horizon Surgical Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     7/26/2024   62321      $976.38
1146038-02    C.R.             East Tremont Medical Center                 Anes Open/Surg Arthroscopic Proc …      8/8/2024    1400      $237.68
1146038-02    C.R.             East Tremont Medical Center                Arthroscopy Knee Removal Loose/Fo…       8/8/2024   29874     $1,472.45
1146038-02    C.R.             East Tremont Medical Center                Arthroscopy Knee Synovectomy 2/>C…       8/8/2024   29876     $2,944.86
1146038-02    C.R.             East Tremont Medical Center                Arthrs Knee Debridement/Shaving A…       8/8/2024   29877     $1,472.45
1146038-02    C.R.             East Tremont Medical Center                 Arthrs Knee Abrasion Arthrp/Mlt D…      8/8/2024   29879     $1,472.45
1146038-02    C.R.             East Tremont Medical Center               Arthrs Knee W/Meniscectomy Med&La…        8/8/2024   29880     $3,026.24
1146038-02    C.R.             East Tremont Medical Center                 Infectious Agent Detection By Nuc…      8/8/2024   87635       $15.00
1146038-02    C.R.          New Horizon Surgical Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     8/21/2024   62323      $976.38
1146265-06    A.M.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      7/1/2024   62323      $980.10
1146265-06    A.M.          Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin…   7/10/2024   20553      $279.23
1146265-06    A.M.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     7/10/2024   62321      $980.10
1146265-06    A.M.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Synovec…       8/2/2024   29821     $2,798.20
1146265-06    A.M.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Debride…      8/2/2024   29823     $1,472.45
1146265-06    A.M.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Ahesiolysis …      8/2/2024   29825     $1,472.45
1146265-06    A.M.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder W/Coracoacrm…       8/2/2024   29826     $1,553.82
1146265-06    A.M.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Rotator Cuff…      8/2/2024   29827     $6,723.47
1146265-06    A.M.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Biceps Tenod…       8/2/2024   29828     $5,596.40
1146265-06    A.M.        All City Family Healthcare Center, Inc.          Single Nerve Block Injection Arm …      8/2/2024   64415      $979.78
1146265-06    A.M.        All City Family Healthcare Center, Inc.         Us Guidance Needle Placement Img …       8/2/2024   76942      $341.96
1145525-01    A.M.        All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     6/11/2024   62321      $976.38
1145525-01    A.M.         New York Surgery Center of Queens               Anes Open/Surg Arthroscopic Proc …     6/21/2024    1400      $237.68
1145525-01    A.M.         New York Surgery Center of Queens                Arthrocentesis Aspir&/Inj Major J…    6/21/2024   20610      $473.38
1145525-01    A.M.         New York Surgery Center of Queens              Arthroscopy Knee Synovectomy 2/>C…      6/21/2024   29876     $1,472.45
1145525-01    A.M.         New York Surgery Center of Queens             Arthrs Knee W/Meniscectomy Med&La…       6/21/2024   29880     $3,026.24
1145525-01    A.M.         New York Surgery Center of Queens                  Unlisted Procedure Arthroscopy…     6/21/2024   29999     $1,472.45
1145525-01    A.M.         New York Surgery Center of Queens               Injection Anes Femoral Nerve Cont…     6/21/2024   64448      $103.29
1145525-01    A.M.         New York Surgery Center of Queens              Us Guidance Needle Placement Img …      6/21/2024   76942      $159.06
1145525-01    A.M.         New York Surgery Center of Queens              Anes Nrv Musc Tndn Fscia Bursa Sh…      7/19/2024    1610      $237.68
1145525-01    A.M.         New York Surgery Center of Queens              Arthroscopy Shoulder Surg Synovec…      7/19/2024   29821     $5,677.77
1145525-01    A.M.         New York Surgery Center of Queens               Arthroscopy Shoulder Surg Debride…     7/19/2024   29822     $1,472.45
1145525-01    A.M.         New York Surgery Center of Queens               Arthroscopy Shoulder Ahesiolysis …     7/19/2024   29825     $1,472.45
1145525-01    A.M.         New York Surgery Center of Queens              Arthroscopy Shoulder W/Coracoacrm…      7/19/2024   29826     $1,472.45
1145525-01    A.M.         New York Surgery Center of Queens                  Unlisted Procedure Arthroscopy…     7/19/2024   29999     $1,472.45
1145525-01    A.M.         New York Surgery Center of Queens                Injection Anesthetic Agent Supras…    7/19/2024   64418      $161.24
1145525-01    A.M.         New York Surgery Center of Queens              Us Guidance Needle Placement Img …      7/19/2024   76942      $159.06
1145915-03    R.D.          Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin…    6/3/2024   20553      $279.23
1145915-03    R.D.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      6/3/2024   62321      $980.10
1145915-03    R.D.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Synovec…      8/30/2024   29821     $5,677.77
1145915-03    R.D.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Debride…     8/30/2024   29823     $1,472.45
1145915-03    R.D.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Ahesiolysis …     8/30/2024   29825     $1,472.45
1145915-03    R.D.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder W/Coracoacrm…      8/30/2024   29826     $1,472.45
1145915-03    R.D.        All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…     8/30/2024   29999     $1,472.45
1145826-01    V.D.             East Tremont Medical Center                 Anes Open/Surg Arthroscopic Proc …      6/1/2024    1400      $207.97
1145826-01    V.D.             East Tremont Medical Center                Arthroscopy Knee Diagnostic W/Wo …       6/1/2024   29870     $1,472.45
1145826-01    V.D.             East Tremont Medical Center                Arthroscopy Knee Removal Loose/Fo…       6/1/2024   29874     $1,472.45
1145826-01    V.D.             East Tremont Medical Center                Arthroscopy Knee Synovectomy 2/>C…       6/1/2024   29876     $2,944.86
1145826-01    V.D.             East Tremont Medical Center                Arthrs Knee Debridement/Shaving A…       6/1/2024   29877     $1,472.45
1145826-01    V.D.             East Tremont Medical Center               Arthrs Knee W/Meniscectomy Med&La…        6/1/2024   29880     $3,026.24
1145826-01    V.D.             East Tremont Medical Center                    Unlisted Procedure Arthroscopy…      6/1/2024   29999     $1,472.45
1145826-01    V.D.        Bronx SC LLC d/b/a Empire State ASC             Arthroscopy Knee Synovectomy Limi…      7/13/2024   29875     $1,472.45
1145826-01    V.D.        Bronx SC LLC d/b/a Empire State ASC              Arthrs Knee Abrasion Arthrp/Mlt D…     7/13/2024   29879     $1,472.45
1145826-01    V.D.        Bronx SC LLC d/b/a Empire State ASC            Arthrs Knee W/Meniscectomy Med&La…       7/13/2024   29880     $3,026.24
1145826-01    V.D.        Bronx SC LLC d/b/a Empire State ASC                 Unlisted Procedure Arthroscopy…     7/13/2024   29999     $1,472.45
1145939-02    S.D.         New York Surgery Center of Queens              Anes Nrv Musc Tndn Fscia Bursa Sh…      6/13/2024    1610      $237.68
1145939-02    S.D.         New York Surgery Center of Queens              Arthroscopy Shoulder Surg Synovec…      6/13/2024   29821     $5,677.77
1145939-02    S.D.         New York Surgery Center of Queens               Arthroscopy Shoulder Surg Debride…     6/13/2024   29823     $1,472.45
1145939-02    S.D.         New York Surgery Center of Queens                  Unlisted Procedure Arthroscopy…     6/13/2024   29999     $1,472.45
1145939-02    S.D.         New York Surgery Center of Queens               Single Nerve Block Injection Arm …     6/13/2024   64415      $171.32
1145939-02    S.D.         New York Surgery Center of Queens              Us Guidance Needle Placement Img …      6/13/2024   76942      $159.06

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                              Service     Code       Billed
1145939-02    S.D.          Fifth Avenue Surgery Center LLC                 Injection Single/Mlt Trigger Poin…   7/22/2024   20553      $236.69
1145939-02    S.D.          Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/22/2024   62321      $976.38
1145939-02    S.D.          Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …     7/22/2024   76942      $341.96
1145939-02    S.D.          Fifth Avenue Surgery Center LLC                 Perq Intrdscl Electrothrm Annulop…   7/29/2024   22526     $5,292.93
1145939-02    S.D.          Fifth Avenue Surgery Center LLC                Unlisted Procedure Nervous System…    7/29/2024   64999      $747.93
1146022-01    F.Q.                     AMSC LLC                             Injection Single/Mlt Trigger Poin…   5/30/2024   20553      $473.00
1146022-01    F.Q.                     AMSC LLC                            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/30/2024   62321      $976.00
1146022-01    F.Q.        Bronx SC LLC d/b/a Empire State ASC               Perq Intrdscl Electrothrm Annulop…   6/30/2024   22526     $5,292.93
1146022-01    F.Q.        Bronx SC LLC d/b/a Empire State ASC               Perq Intrdscl Electrothrm Annulop…   6/30/2024   22527     $2,605.78
1146022-01    F.Q.        Bronx SC LLC d/b/a Empire State ASC              Unlisted Procedure Nervous System…    6/30/2024   64999      $373.98
1146022-01    F.Q.        Bronx SC LLC d/b/a Empire State ASC              Unlisted Procedure Nervous System…    6/30/2024   64999      $747.93
1146022-01    F.Q.        Bronx SC LLC d/b/a Empire State ASC               Injection Single/Mlt Trigger Poin…   7/14/2024   20553      $236.69
1146022-01    F.Q.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/14/2024   62323      $976.38
1146047-01    K.B.             East Tremont Medical Center                 Anes Arthrs Humeral H/N Strnclav …     5/9/2024    1630      $297.10
1146047-01    K.B.             East Tremont Medical Center                  Arthrocentesis Aspir&/Inj Major J…    5/9/2024   20610      $554.74
1146047-01    K.B.             East Tremont Medical Center                 Arthroscopy Shoulder Surgical Rep…     5/9/2024   29807     $2,838.88
1146047-01    K.B.             East Tremont Medical Center                Arthroscopy Shoulder Surg Synovec…      5/9/2024   29821     $5,677.77
1146047-01    K.B.             East Tremont Medical Center                 Arthroscopy Shoulder Surg Debride…     5/9/2024   29823     $2,944.86
1146047-01    K.B.             East Tremont Medical Center                 Arthroscopy Shoulder Ahesiolysis …     5/9/2024   29825     $1,472.45
1146047-01    K.B.             East Tremont Medical Center                   Unlisted Procedure Arthroscopy…      5/9/2024   29999     $1,472.45
1146047-01    K.B.             East Tremont Medical Center                 Single Nerve Block Injection Arm …     5/9/2024   64415      $171.32
1146047-01    K.B.             East Tremont Medical Center                Us Guidance Needle Placement Img …      5/9/2024   76942      $289.20
1146047-01    K.B.             East Tremont Medical Center                Supplies&Materials Above/Beyond P…      5/9/2024   99070      $628.95
1146047-01    K.B.             East Tremont Medical Center                Supplies&Materials Above/Beyond P…      5/9/2024   99070       $46.20
1146047-01    K.B.             East Tremont Medical Center                Supplies&Materials Above/Beyond P…      5/9/2024   99070      $117.70
1146047-01    K.B.             East Tremont Medical Center                Supplies&Materials Above/Beyond P…      5/9/2024   99070      $270.60
1146047-01    K.B.             East Tremont Medical Center                Supplies&Materials Above/Beyond P…      5/9/2024   99070      $309.00
1146047-01    K.B.             East Tremont Medical Center                Supplies&Materials Above/Beyond P…      5/9/2024   99070      $395.85
1146047-01    K.B.        All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/23/2024   62323      $976.38
1146047-01    K.B.        Bronx SC LLC d/b/a Empire State ASC               Perq Intrdscl Electrothrm Annulop…   6/16/2024   22526     $2,605.78
1146047-01    K.B.        Bronx SC LLC d/b/a Empire State ASC             Dcmprn Perq Nucleus Pulposus 1/> …     6/16/2024   62287     $5,292.93
1146047-01    K.B.        Bronx SC LLC d/b/a Empire State ASC               Perq Intrdscl Electrothrm Annulop…   7/28/2024   22526     $5,292.93
1146047-01    K.B.        Bronx SC LLC d/b/a Empire State ASC              Unlisted Procedure Nervous System…    7/28/2024   64999      $747.94
1146047-01    K.B.        Bronx SC LLC d/b/a Empire State ASC             Diskograpy Cervical/Thoracic Rs&I…     7/28/2024   72285      $962.54
1145357-01    S.V.        All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/23/2024   62323      $976.38
1145357-01    S.V.              Global Surgery Center LLC                  Njx Pltlt Plasma W/Img Harvest/Pr…    7/27/2024   0232T     $1,400.00
1145357-01    S.V.              Global Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…     7/27/2024   29821     $3,026.24
1145357-01    S.V.              Global Surgery Center LLC                  Arthroscopy Shoulder Surg Debride…    7/27/2024   29823     $5,677.77
1145357-01    S.V.              Global Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …    7/27/2024   29825     $1,472.45
1145357-01    S.V.              Global Surgery Center LLC                 Arthroscopy Shoulder W/Coracoacrm…     7/27/2024   29826     $1,472.45
1145357-01    S.V.              Global Surgery Center LLC                    Unlisted Procedure Arthroscopy…     7/27/2024   29999     $1,472.45
1145357-02    W.N.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/16/2024   62323      $976.38
1145357-02    W.N.         New York Surgery Center of Queens               Anes Open/Surg Arthroscopic Proc …     8/9/2024    1400      $267.39
1145357-02    W.N.         New York Surgery Center of Queens               Anes Open/Surg Arthroscopic Proc …     8/9/2024    1400      $267.39
1145357-02    W.N.         New York Surgery Center of Queens              Arthroscopy Knee Removal Loose/Fo…      8/9/2024   29874     $1,472.45
1145357-02    W.N.         New York Surgery Center of Queens              Arthrs Knee Debridement/Shaving A…      8/9/2024   29877     $1,472.45
1145357-02    W.N.         New York Surgery Center of Queens             Arthrs Knee W/Meniscectomy Med&La…       8/9/2024   29880     $3,026.24
1145357-02    W.N.         New York Surgery Center of Queens               Injection Anes Femoral Nerve Cont…     8/9/2024   64448      $103.29
1145357-02    W.N.         New York Surgery Center of Queens               Injection Anes Femoral Nerve Cont…     8/9/2024   64448      $103.29
1145357-02    W.N.         New York Surgery Center of Queens              Us Guidance Needle Placement Img …      8/9/2024   76942      $159.06
1145357-02    W.N.         New York Surgery Center of Queens              Us Guidance Needle Placement Img …      8/9/2024   76942      $159.06
1145082-01    S.G.             Citimed Surgery Center LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/31/2024   62321      $976.38
1145082-01    S.G.        All City Family Healthcare Center, Inc.         Arthroscopy Knee Synovectomy Limi…      8/4/2024   29875     $1,472.45
1145082-01    S.G.        All City Family Healthcare Center, Inc.        Arthrs Knee W/Meniscectomy Med&La…       8/4/2024   29880     $3,026.24
1145082-01    S.G.        All City Family Healthcare Center, Inc.            Unlisted Procedure Arthroscopy…      8/4/2024   29999     $1,472.45
1145722-01    N.J.             East Tremont Medical Center                 Anes Arthrs Humeral H/N Strnclav …    5/16/2024    1630      $267.39
1145722-01    N.J.             East Tremont Medical Center               Arthroscopy Shoulder Dx W/Wo Syno…      5/16/2024   29805     $3,026.23
1145722-01    N.J.             East Tremont Medical Center                Arthroscopy Shoulder Surg Synovec…     5/16/2024   29821     $5,677.77
1145722-01    N.J.             East Tremont Medical Center                 Arthroscopy Shoulder Surg Debride…    5/16/2024   29823     $2,944.86
1145722-01    N.J.             East Tremont Medical Center                 Arthroscopy Shoulder Ahesiolysis …    5/16/2024   29825     $1,472.45
1145722-01    N.J.             East Tremont Medical Center                   Unlisted Procedure Arthroscopy…     5/16/2024   29999     $1,472.45
1145722-01    N.J.             East Tremont Medical Center                 Single Nerve Block Injection Arm …    5/16/2024   64415      $171.32
1145722-01    N.J.             East Tremont Medical Center                Us Guidance Needle Placement Img …     5/16/2024   76942      $289.20
1145722-01    N.J.          Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/31/2024   62323      $976.38
1145722-01    N.J.        Bronx SC LLC d/b/a Empire State ASC               Perq Intrdscl Electrothrm Annulop…   7/19/2024   22526     $2,605.78
1145722-01    N.J.        Bronx SC LLC d/b/a Empire State ASC               Perq Intrdscl Electrothrm Annulop…   7/19/2024   22527     $2,605.79
1145722-01    N.J.        Bronx SC LLC d/b/a Empire State ASC             Dcmprn Perq Nucleus Pulposus 1/> …     7/19/2024   62287     $5,292.93
1144515-01    M.R.          Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Synovec…     5/28/2024   29821     $5,677.77

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                                                           1716
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1144515-01    M.R.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…     5/28/2024   29823      $1,472.45
1144515-01    M.R.            Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …    5/28/2024   29825      $1,472.45
1144515-01    M.R.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm…      5/28/2024   29826      $1,472.45
1144515-01    M.R.            Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…     5/28/2024   29999      $1,472.45
1144515-01    M.R.            Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …    5/28/2024   64415       $979.78
1144515-01    M.R.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      5/28/2024   76942       $341.96
1144515-01    M.R.                     Triborough ASC                     Perq Intrdscl Electrothrm Annulop…    7/16/2024   22526      $2,648.32
1144515-01    M.R.                     Triborough ASC                   Dcmprn Perq Nucleus Pulposus 1/> …      7/16/2024   62287      $5,296.65
1144515-01    M.R.                     Triborough ASC                    Probe, Percutaneous Lumbar Discec…     7/16/2024   C2614       $800.00
1145602-02    B.C.            Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     5/10/2024   62321       $976.38
1145602-02    B.C.         Bronx SC LLC d/b/a Empire State ASC            Single Nerve Block Injection Arm …    5/12/2024   64415       $979.78
1145602-02    B.C.         Bronx SC LLC d/b/a Empire State ASC          Us Guidance Needle Placement Img …      5/12/2024   76942       $341.96
1145602-02    B.C.               East Tremont Medical Center             Anes Dx/Ther Nerve Block/Injectio…     5/19/2024    1992       $178.26
1145602-02    B.C.               East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/19/2024   62323       $976.38
1145602-02    B.C.               East Tremont Medical Center                      Epidurograpy Rs&I…            5/19/2024   72275       $572.52
1145602-02    B.C.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surg Synovec…     5/31/2024   29821      $5,677.77
1145602-02    B.C.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surg Debride…     5/31/2024   29823      $1,472.45
1145602-02    B.C.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder W/Coracoacrm…      5/31/2024   29826      $1,472.45
1145602-02    B.C.         Bronx SC LLC d/b/a Empire State ASC              Unlisted Procedure Arthroscopy…     5/31/2024   29999      $1,472.45
1145602-02    B.C.               East Tremont Medical Center             Anes Arthrs/Endscpy Dstl Radius U…     8/24/2024    1830       $148.55
1145602-02    B.C.               East Tremont Medical Center            Synovectomy Extensor Tendon Shth …      8/24/2024   25118      $1,645.00
1145602-02    B.C.               East Tremont Medical Center            Tnols Flxr/Xtnsr Tendon Forearm&/…      8/24/2024   25295      $1,645.00
1145602-02    B.C.               East Tremont Medical Center           Arthrp Wrst W/Wo Interpos W/Wo Xt…       8/24/2024   25332      $2,496.24
1145602-02    B.C.               East Tremont Medical Center             Arthrt Expl Drg/Rmvl Loose/Fb Iph…     8/24/2024   26080      $1,062.52
1145602-02    B.C.               East Tremont Medical Center             Arthrs Wrst Exc&/Rpr Triang Fibro…     8/24/2024   29846      $3,026.24
1145602-02    B.C.               East Tremont Medical Center             Infectious Agent Detection By Nuc…     8/24/2024   87635        $15.00
1143967-01    D.J.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/22/2024   62323       $976.38
1143967-01    D.J.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…    7/31/2024   20610       $473.39
1143967-01    D.J.                       SCOB LLC                        Arthroscopy Shoulder Surg Synovec…     7/31/2024   29821      $5,596.40
1143967-01    D.J.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…     7/31/2024   29823      $2,944.87
1143967-01    D.J.                       SCOB LLC                       Arthroscopy Shoulder W/Coracoacrm…      7/31/2024   29826      $2,944.87
1143967-01    D.J.                       SCOB LLC                        Arthroscopy Shoulder Rotator Cuff…     7/31/2024   29827      $6,804.84
1143967-01    D.J.                       SCOB LLC                       Anchor/Screw For Opposing Bone-To…      7/31/2024   C1713       $556.50
1143721-01    S.A.         Rockland & Bergen Surgery Center LLC          Njx Pltlt Plasma W/Img Harvest/Pr…      5/3/2024   0232T       $875.92
1143721-01    S.A.         Rockland & Bergen Surgery Center LLC          Arthroscopy Shoulder Surg Synovec…      5/3/2024   29820      $1,472.45
1143721-01    S.A.         Rockland & Bergen Surgery Center LLC          Arthroscopy Shoulder Surg Debride…      5/3/2024   29823      $3,026.24
1143721-01    S.A.         Rockland & Bergen Surgery Center LLC         Arthroscopy Shoulder W/Coracoacrm…       5/3/2024   29826      $1,472.45
1143721-01    S.A.         Rockland & Bergen Surgery Center LLC           Single Nerve Block Injection Arm …     5/3/2024   64415       $979.78
1143721-01    S.A.         Rockland & Bergen Surgery Center LLC         Us Guidance Needle Placement Img …       5/3/2024   76942       $341.96
1143721-01    S.A.                 Gramercy Surgery Center                Perq Intrdscl Electrothrm Annulop…     7/2/2024   22526     $10,585.87
1143721-01    S.A.                 Gramercy Surgery Center              Dcmprn Perq Nucleus Pulposus 1/> …       7/2/2024   62287     $10,585.87
1144011-01    M.M.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy Limi…      6/19/2024   29875      $1,472.45
1144011-01    M.M.               Surgicore of Jersey City LLC            Arthrs Knee Abrasion Arthrp/Mlt D…     6/19/2024   29879      $1,472.45
1144011-01    M.M.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La…       6/19/2024   29880      $3,026.24
1144011-01    M.M.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     8/16/2024   62323       $976.38
1144011-01    M.M.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     8/23/2024   62321       $976.38
1143588-02    D.T.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      4/9/2024   62321       $976.38
1143588-02    D.T.                       AMSC LLC                         Perq Intrdscl Electrothrm Annulop…    6/18/2024   22526      $5,212.00
1143588-02    D.T.                       AMSC LLC                       Dcmprn Perq Nucleus Pulposus 1/> …      6/18/2024   62287      $5,293.00
1143588-02    D.T.                       AMSC LLC                          Injection Single/Mlt Trigger Poin…    7/2/2024   20552       $473.00
1143588-02    D.T.                       AMSC LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      7/2/2024   62321       $976.00
1143588-02    D.T.                       AMSC LLC                       Us Guidance Needle Placement Img …       7/2/2024   76942       $341.96
1144291-01    S.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       4/15/2024   62323       $976.38
1143786-07    V.M.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      4/6/2024   62321       $976.38
1143786-07    V.M.                 Orthopaedic & Spine Ins               Arthroscopy Shoulder Surg Synovec…     4/16/2024   29821      $6,500.00
1143786-07    V.M.                 Orthopaedic & Spine Ins               Arthroscopy Shoulder Surg Debride…     4/16/2024   29823      $6,500.00
1143786-07    V.M.                 Orthopaedic & Spine Ins                Arthroscopy Shoulder Ahesiolysis …    4/16/2024   29825      $6,500.00
1143786-07    V.M.                 Orthopaedic & Spine Ins                  Unlisted Procedure Arthroscopy…     4/16/2024   29999      $6,500.00
1143786-07    V.M.                 Orthopaedic & Spine Ins                  Unlisted Procedure Arthroscopy…     4/16/2024   29999      $6,500.00
1143786-07    V.M.                 Orthopaedic & Spine Ins                  Unlisted Procedure Arthroscopy…     4/16/2024   29999      $6,500.00
1143786-07    V.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…        5/4/2024   62323       $976.38
1143786-07    V.M.          All City Family Healthcare Center, Inc.      Arthrs Ankle Exc Ostchndrl Dfct W…      6/2/2024   29891      $3,026.24
1143786-07    V.M.          All City Family Healthcare Center, Inc.      Arthroscopy Ankle Surgical Debrid…      6/2/2024   29898      $1,472.45
1143786-07    V.M.          All City Family Healthcare Center, Inc.      Injection Anesthetic Agent Femora…      6/2/2024   64447       $979.78
1143786-07    V.M.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …       6/2/2024   76942       $341.96
1143786-07    V.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin…   6/15/2024   20553       $236.70
1143786-07    V.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…    6/15/2024   22526      $5,292.93
1143786-07    V.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…       6/15/2024   64999       $747.93

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                                                           1717
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1143786-07    V.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Diskograpy Cervical/Thoracic Rs&I…      6/15/2024   72285      $962.54
1142790-01    M.I.             Island Ambulatory Surgery Center           Injection Single/Mlt Trigger Poin…   4/16/2024   20553      $279.23
1142790-01    M.I.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/16/2024   62323      $980.10
1142790-01    M.I.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi…     5/24/2024   29875     $1,472.45
1142790-01    M.I.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La…      5/24/2024   29880     $3,026.24
1142790-01    M.I.          All City Family Healthcare Center, Inc.     Arthroscopy Knee W/Lysis Adhesion…     5/24/2024   29884     $1,472.45
1142790-01    M.I.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…     5/24/2024   29999     $1,472.45
1142790-02    M.H.             Island Ambulatory Surgery Center           Injection Single/Mlt Trigger Poin…   4/16/2024   20553      $279.23
1142790-02    M.H.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/16/2024   62323      $980.10
1142790-02    M.H.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…     5/24/2024   29821     $5,677.77
1142790-02    M.H.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…    5/24/2024   29823     $1,472.45
1142790-02    M.H.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …    5/24/2024   29825     $1,472.45
1142790-02    M.H.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm…     5/24/2024   29826     $1,472.45
1142790-02    M.H.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…     5/24/2024   29999     $1,472.45
1142790-02    M.H.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …    5/24/2024   64415      $979.78
1142790-02    M.H.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     5/24/2024   76942      $341.96
1143107-02    J.G.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/27/2024   62321      $976.38
1143107-02    J.G.                        SCOB LLC                       Arthrocentesis Aspir&/Inj Major J…    4/10/2024   20610      $473.39
1143107-02    J.G.                        SCOB LLC                      Arthroscopy Shoulder Surg Synovec…     4/10/2024   29821     $5,677.77
1143107-02    J.G.                        SCOB LLC                       Arthroscopy Shoulder Surg Debride…    4/10/2024   29823     $2,944.87
1143107-02    J.G.                        SCOB LLC                      Arthroscopy Shoulder W/Coracoacrm…     4/10/2024   29826     $2,944.87
1143107-02    J.G.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    5/12/2024   22526     $2,605.78
1143107-02    J.G.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic…     5/12/2024   63075     $6,402.03
1143107-02    J.G.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/2/2024   62323      $976.38
1143107-02    J.G.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    7/14/2024   22526     $2,605.78
1143107-02    J.G.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …     7/14/2024   62287     $5,292.93
1142864-04    N.L.                 Crotona Parkway ASC LLC                Injection Single/Mlt Trigger Poin…   3/20/2024   20553      $279.23
1142864-04    N.L.                 Crotona Parkway ASC LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/20/2024   62321      $980.10
1142864-04    N.L.               Manalapan Surgery Center Inc           Arthroscopy Knee Synovectomy 2/>C…      4/8/2024   29876     $1,472.45
1142864-04    N.L.               Manalapan Surgery Center Inc          Arthrs Kne Surg W/Meniscectomy Me…       4/8/2024   29881     $3,026.24
1142864-04    N.L.               Manalapan Surgery Center Inc              Unlisted Procedure Arthroscopy…      4/8/2024   29999     $1,472.45
1142864-04    N.L.                 Crotona Parkway ASC LLC                Injection Single/Mlt Trigger Poin…    6/4/2024   20553      $279.23
1142864-04    N.L.                 Crotona Parkway ASC LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     6/4/2024   62321      $980.10
1143701-01    U.R.                        SCOB LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/21/2024   62321      $976.38
1143701-01    U.R.                        SCOB LLC                      Discectomy Ant Dcmprn Cord Cervic…      6/4/2024   63075     $6,402.03
1143701-01    U.R.                        SCOB LLC                      Probe, Percutaneous Lumbar Discec…      6/4/2024   C2614     $2,200.00
1143701-01    U.R.                        SCOB LLC                      Arthroscopy Knee Synovectomy 2/>C…      6/7/2024   29876     $3,026.24
1143701-01    U.R.                        SCOB LLC                     Arthrs Kne Surg W/Meniscectomy Me…       6/7/2024   29881     $2,944.87
1143701-01    U.R.       Surgicore LLC d/b/a Surgicore Surgical Center  Dcmprn Perq Nucleus Pulposus 1/> …     6/22/2024   62287     $5,292.93
1143464-01    R.G.                        AMSC LLC                        Injection Single/Mlt Trigger Poin…   5/29/2024   20552      $473.00
1143464-01    R.G.                        AMSC LLC                        Injection Single/Mlt Trigger Poin…   5/29/2024   20552      $473.00
1143464-01    R.G.                        AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/29/2024   62323      $976.00
1143464-01    R.G.                        AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/29/2024   62323      $976.00
1143464-01    R.G.                        AMSC LLC                      Us Guidance Needle Placement Img …     5/29/2024   76942      $341.96
1143464-01    R.G.          Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulop…    7/28/2024   22526     $5,292.93
1143464-01    R.G.          Bronx SC LLC d/b/a Empire State ASC          Unlisted Procedure Nervous System…    7/28/2024   64999      $747.94
1143464-01    R.G.          Bronx SC LLC d/b/a Empire State ASC         Diskograpy Cervical/Thoracic Rs&I…     7/28/2024   72285      $962.54
1143319-02    B.G.                East Tremont Medical Center            Anes Arthrs Humeral H/N Strnclav …    4/11/2024    1630      $267.39
1143319-02    B.G.                East Tremont Medical Center            Arthrocentesis Aspir&/Inj Major J…    4/11/2024   20610      $554.74
1143319-02    B.G.                East Tremont Medical Center           Arthroscopy Shoulder Surg Synovec…     4/11/2024   29821     $5,677.77
1143319-02    B.G.                East Tremont Medical Center            Arthroscopy Shoulder Surg Debride…    4/11/2024   29823     $2,944.86
1143319-02    B.G.                East Tremont Medical Center            Arthroscopy Shoulder Ahesiolysis …    4/11/2024   29825     $1,472.45
1143319-02    B.G.                East Tremont Medical Center              Unlisted Procedure Arthroscopy…     4/11/2024   29999     $1,472.45
1143319-02    B.G.                East Tremont Medical Center            Single Nerve Block Injection Arm …    4/11/2024   64415      $171.32
1143319-02    B.G.                East Tremont Medical Center           Us Guidance Needle Placement Img …     4/11/2024   76942      $289.20
1143319-02    B.G.          All City Family Healthcare Center, Inc.      Arthrocentesis Aspir&/Inj Major J…    5/16/2024   20610      $473.38
1143319-02    B.G.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi…     5/16/2024   29875     $1,472.45
1143319-02    B.G.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La…      5/16/2024   29880     $3,026.24
1143319-02    B.G.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…     5/16/2024   29999     $1,472.45
1142034-03    J.S.                        AMSC LLC                       Perq Intrdscl Electrothrm Annulop…    3/14/2024   22526     $5,212.00
1142034-03    J.S.                        AMSC LLC                       Perq Intrdscl Electrothrm Annulop…    3/14/2024   22527     $5,212.00
1142034-03    J.S.                        AMSC LLC                      Dcmprn Perq Nucleus Pulposus 1/> …     3/14/2024   62287     $5,293.00
1142034-03    J.S.          Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulop…     4/7/2024   22526     $2,605.78
1142034-03    J.S.          Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulop…     4/7/2024   22527     $2,605.78
1142034-03    J.S.          Bronx SC LLC d/b/a Empire State ASC         Discectomy Ant Dcmprn Cord Cervic…      4/7/2024   63075     $6,402.03
1142034-03    J.S.          Bronx SC LLC d/b/a Empire State ASC         Discectomy Ant Dcmprn Cord Cervic…      4/7/2024   63076     $3,160.34
1141838-04    K.R.          All City Family Healthcare Center, Inc.      Arthrocentesis Aspir&/Inj Major J…    2/29/2024   20610      $473.38
1141838-04    K.R.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…     2/29/2024   29821     $5,677.77

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                                                           1718
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1141838-04    K.R.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…    2/29/2024   29823     $1,472.45
1141838-04    K.R.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm…     2/29/2024   29826     $1,472.45
1141838-04    K.R.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …    2/29/2024   64415      $979.78
1141838-04    K.R.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     2/29/2024   76942      $341.96
1141838-04    K.R.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/15/2024   62321      $980.10
1141687-02    L.P.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…      5/8/2024   29821     $5,677.77
1141687-02    L.P.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…     5/8/2024   29823     $1,472.45
1141687-02    L.P.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …     5/8/2024   29825     $1,472.45
1141687-02    L.P.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…      5/8/2024   29999     $1,472.45
1141687-02    L.P.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…      5/8/2024   29999     $1,472.45
1141687-02    L.P.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …     5/8/2024   64415      $979.78
1141687-02    L.P.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …      5/8/2024   76942      $341.96
1141687-02    L.P.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…    9/9/2024   20553      $279.23
1141687-02    L.P.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     9/9/2024   62323      $980.10
1141889-01    N.C.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/27/2024   62323      $976.38
1141889-01    N.C.          All City Family Healthcare Center, Inc.              Epidurograpy Rs&I…            2/27/2024   72275      $575.00
1141889-01    N.C.               East Tremont Medical Center             Anes Arthrs Humeral H/N Strnclav …    3/20/2024    1630      $267.39
1141889-01    N.C.               East Tremont Medical Center            Arthroscopy Shoulder Surg Synovec…     3/20/2024   29821     $5,677.77
1141889-01    N.C.               East Tremont Medical Center             Arthroscopy Shoulder Surg Debride…    3/20/2024   29823     $2,944.86
1141889-01    N.C.               East Tremont Medical Center             Arthroscopy Shoulder Ahesiolysis …    3/20/2024   29825     $1,472.45
1141889-01    N.C.               East Tremont Medical Center            Arthroscopy Shoulder W/Coracoacrm…     3/20/2024   29826     $1,472.45
1141889-01    N.C.               East Tremont Medical Center               Unlisted Procedure Arthroscopy…     3/20/2024   29999     $1,472.45
1141889-01    N.C.               East Tremont Medical Center             Single Nerve Block Injection Arm …    3/20/2024   64415      $171.32
1141889-01    N.C.               East Tremont Medical Center            Us Guidance Needle Placement Img …     3/20/2024   76942      $289.20
1141889-01    N.C.         Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/4/2024   62323      $976.38
1140962-01    M.D.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…    3/8/2024   20553      $236.69
1140962-01    M.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       3/8/2024   62323      $976.38
1140962-01    M.D.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/26/2024   64493      $447.52
1140962-01    M.D.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/26/2024   64493      $976.38
1140962-01    M.D.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/26/2024   64494      $447.52
1140962-01    M.D.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/26/2024   64494      $447.52
1140962-01    M.D.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/26/2024   64495      $447.52
1140962-01    M.D.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/26/2024   64495      $447.52
1140962-01    M.D.              Journal Square Surgical Center           Anesthesia Perq Image Guided Spin…     5/4/2024    1936      $326.81
1140962-01    M.D.               Surgicore of Jersey City LLC            Plmt Post Facet Implt Uni/Bi W/Im…     5/4/2024   0221T     $2,605.78
1140962-01    M.D.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulop…     5/4/2024   22526     $5,292.93
1140962-01    M.D.               Surgicore of Jersey City LLC            Transection/Avulsion Oth Spinal N…     5/4/2024   64772     $1,071.54
1141727-02    A.J.                  Hudson Surgery Center                 Injection Single/Mlt Trigger Poin…   1/31/2024   20553      $279.23
1141727-02    A.J.                  Hudson Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/31/2024   62323      $980.10
1141727-02    A.J.                  Hudson Surgery Center                 Injection Single/Mlt Trigger Poin…    4/1/2024   20553      $279.23
1141727-02    A.J.                  Hudson Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     4/1/2024   62321      $980.10
1141727-02    A.J.                  Hudson Surgery Center                 Injection Single/Mlt Trigger Poin…   4/15/2024   20553      $279.23
1141727-02    A.J.                  Hudson Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/15/2024   62323      $980.10
1141727-02    A.J.         Bronx SC LLC d/b/a Empire State ASC           Perq Intrdscl Electrothrm Annulop…    7/25/2024   22526     $2,605.78
1141727-02    A.J.         Bronx SC LLC d/b/a Empire State ASC         Ndsc Dcmprn Spinal Cord 1 W/Lamot…      7/25/2024   62380     $5,292.93
1140462-01    J.L.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…   2/13/2024   20553      $279.23
1140462-01    J.L.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/13/2024   62323      $980.10
1140462-01    J.L.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…      5/3/2024   29821     $5,677.77
1140462-01    J.L.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…     5/3/2024   29823     $1,472.45
1140462-01    J.L.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …     5/3/2024   29825     $1,472.45
1140462-01    J.L.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm…      5/3/2024   29826     $1,472.45
1140462-01    J.L.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …     5/3/2024   64415      $979.78
1140462-01    J.L.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      5/3/2024   76942      $341.96
1142235-01    Y.J.         Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/28/2024   62323      $976.38
1142235-01    Y.J.                Global Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…     3/5/2024   20610     $2,700.00
1142235-01    Y.J.                Global Surgery Center LLC             Arthroscopy Knee Synovectomy Limi…      3/5/2024   29875     $1,472.45
1142235-01    Y.J.                Global Surgery Center LLC              Arthrs Knee Abrasion Arthrp/Mlt D…     3/5/2024   29879     $1,472.45
1142235-01    Y.J.                Global Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La…       3/5/2024   29880     $3,026.24
1142235-01    Y.J.                Global Surgery Center LLC                Unlisted Procedure Arthroscopy…      3/5/2024   29999     $1,472.45
1141068-02    J.D.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/15/2024   62321      $976.38
1141068-02    J.D.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    2/29/2024   22526     $2,605.78
1141068-02    J.D.          All City Family Healthcare Center, Inc.      Injection Px Discogrphy Ea Lvl Ce…    2/29/2024   62291      $748.74
1141068-02    J.D.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic…     2/29/2024   63075     $6,402.03
1141068-02    J.D.          All City Family Healthcare Center, Inc.     Diskograpy Cervical/Thoracic Rs&I…     2/29/2024   72285      $962.54
1141068-02    J.D.           New York Surgery Center of Queens          Anes Nrv Musc Tndn Fscia Bursa Sh…     3/25/2024    1610      $237.68
1141068-02    J.D.           New York Surgery Center of Queens          Arthroscopy Shoulder Surg Synovec…     3/25/2024   29821     $5,677.77
1141068-02    J.D.           New York Surgery Center of Queens           Arthroscopy Shoulder Surg Debride…    3/25/2024   29823     $1,472.45
1141068-02    J.D.           New York Surgery Center of Queens           Arthroscopy Shoulder Ahesiolysis …    3/25/2024   29825     $1,472.45

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                                                          1719
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                              Service     Code       Billed
1141068-02    J.D.         New York Surgery Center of Queens              Arthroscopy Shoulder W/Coracoacrm…     3/25/2024   29826     $1,472.45
1141068-02    J.D.         New York Surgery Center of Queens                 Unlisted Procedure Arthroscopy…     3/25/2024   29999     $1,472.45
1141068-02    J.D.         New York Surgery Center of Queens                 Unlisted Procedure Arthroscopy…     3/25/2024   29999     $1,472.45
1141068-02    J.D.         New York Surgery Center of Queens               Single Nerve Block Injection Arm …    3/25/2024   64415      $171.32
1141068-02    J.D.         New York Surgery Center of Queens              Us Guidance Needle Placement Img …     3/25/2024   76942      $159.06
1140539-02    R.M.          Fifth Avenue Surgery Center LLC                 Injection Single/Mlt Trigger Poin…    4/3/2024   20553      $236.69
1140539-02    R.M.          Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/3/2024   62323      $976.38
1140539-02    R.M.          Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …      4/3/2024   76942      $341.96
1140539-02    R.M.                     SCOB LLC                             Arthrocentesis Aspir&/Inj Major J…   6/19/2024   20610      $473.39
1140539-02    R.M.                     SCOB LLC                            Arthroscopy Shoulder Surgical Cap…    6/19/2024   29806     $5,677.77
1140539-02    R.M.                     SCOB LLC                            Arthroscopy Shoulder Surg Synovec…    6/19/2024   29821     $5,596.40
1140539-02    R.M.                     SCOB LLC                            Arthroscopy Shoulder Surg Debride…    6/19/2024   29823     $2,944.87
1140539-02    R.M.                     SCOB LLC                           Anchor/Screw For Opposing Bone-To…     6/19/2024   C1713     $1,113.00
1140539-04    H.V.                     SCOB LLC                             Arthrocentesis Aspir&/Inj Major J…   3/13/2024   20610      $473.39
1140539-04    H.V.                     SCOB LLC                           Arthroscopy Knee Synovectomy 2/>C…     3/13/2024   29876     $3,026.24
1140539-04    H.V.                     SCOB LLC                          Arthrs Knee W/Meniscectomy Med&La…      3/13/2024   29880     $2,944.87
1140539-04    H.V.          Fifth Avenue Surgery Center LLC                 Injection Single/Mlt Trigger Poin…    4/3/2024   20553      $236.69
1140539-04    H.V.          Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/3/2024   62323      $976.38
1140539-04    H.V.          Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …      4/3/2024   76942      $341.96
1140539-04    H.V.          Fifth Avenue Surgery Center LLC                 Injection Single/Mlt Trigger Poin…   4/26/2024   20553      $236.69
1140539-04    H.V.          Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/26/2024   62321      $976.38
1140539-04    H.V.          Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …     4/26/2024   76942      $341.96
1141202-01    A.F.            Manalapan Surgery Center Inc                 Arthroscopy Shoulder Surg Synovec…    3/19/2024   29821     $5,677.77
1141202-01    A.F.            Manalapan Surgery Center Inc                 Arthroscopy Shoulder Surg Debride…    3/19/2024   29823     $1,472.45
1141202-01    A.F.            Manalapan Surgery Center Inc                 Arthroscopy Shoulder Ahesiolysis …    3/19/2024   29825     $1,472.45
1141202-01    A.F.            Manalapan Surgery Center Inc                   Unlisted Procedure Arthroscopy…     3/19/2024   29999     $1,472.45
1141202-01    A.F.            Manalapan Surgery Center Inc                   Unlisted Procedure Arthroscopy…     3/19/2024   29999     $1,472.45
1141202-01    A.F.            Manalapan Surgery Center Inc                 Single Nerve Block Injection Arm …    3/19/2024   64415      $979.78
1141202-01    A.F.            Manalapan Surgery Center Inc                Us Guidance Needle Placement Img …     3/19/2024   76942      $341.96
1141202-01    A.F.             Citimed Surgery Center LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/13/2024   62323      $976.38
1142999-01    J.P.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…    3/28/2024   29821     $5,677.77
1142999-01    J.P.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Debride…    3/28/2024   29823     $1,472.45
1142999-01    J.P.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Ahesiolysis …    3/28/2024   29825     $1,472.45
1142999-01    J.P.          Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder W/Coracoacrm…     3/28/2024   29826     $1,472.45
1142999-01    J.P.          Fifth Avenue Surgery Center LLC                Single Nerve Block Injection Arm …    3/28/2024   64415      $979.78
1142999-01    J.P.          Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …     3/28/2024   76942      $341.96
1142999-01    J.P.                   Triborough ASC                         Injection Single/Mlt Trigger Poin…    8/6/2024   20553      $279.23
1142999-01    J.P.                   Triborough ASC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     8/6/2024   62321      $980.10
1140868-02    Y.B.        All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/27/2024   62323      $976.38
1140868-02    Y.B.             Global Surgery Center LLC                   Manipulation Knee Joint Under Gen…    3/20/2024   27570     $3,111.56
1140868-02    Y.B.             Global Surgery Center LLC                  Arthroscopy Knee Synovectomy 2/>C…     3/20/2024   29876     $3,026.24
1140868-02    Y.B.             Global Surgery Center LLC                  Arthrs Knee Debridement/Shaving A…     3/20/2024   29877     $1,472.45
1140868-02    Y.B.             Global Surgery Center LLC                 Arthrs Knee W/Meniscectomy Med&La…      3/20/2024   29880     $5,677.77
1140868-02    Y.B.             Global Surgery Center LLC                     Unlisted Procedure Arthroscopy…     3/20/2024   29999     $1,472.45
1141332-03    V.R.        Bronx SC LLC d/b/a Empire State ASC               Injection Single/Mlt Trigger Poin…    6/2/2024   20553      $236.69
1141332-03    V.R.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/2/2024   62323      $976.38
1141332-03    V.R.                     AMSC LLC                            Perq Intrdscl Electrothrm Annulop…    6/27/2024   22526     $5,212.00
1141332-03    V.R.                     AMSC LLC                            Perq Intrdscl Electrothrm Annulop…    6/27/2024   22527     $5,212.00
1141332-03    V.R.                     AMSC LLC                           Dcmprn Perq Nucleus Pulposus 1/> …     6/27/2024   62287     $5,293.00
1141332-03    V.R.        Bronx SC LLC d/b/a Empire State ASC               Injection Single/Mlt Trigger Poin…   7/28/2024   20553      $236.69
1141332-03    V.R.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/28/2024   62321      $976.38
1141332-03    V.R.        Alpha Ambulatory Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La…      8/13/2024   29880     $3,029.95
1141332-03    V.R.        Alpha Ambulatory Surgery Center LLC                Unlisted Procedure Arthroscopy…     8/13/2024   29999     $1,514.98
1141332-04    D.M.                     AMSC LLC                             Injection Single/Mlt Trigger Poin…   6/27/2024   20553      $473.00
1141332-04    D.M.                     AMSC LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/27/2024   62323      $976.00
1141332-04    D.M.        Bronx SC LLC d/b/a Empire State ASC               Injection Single/Mlt Trigger Poin…   7/28/2024   20553      $236.69
1141332-04    D.M.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/28/2024   62321      $976.38
1140190-03    N.B.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     4/9/2024   62321      $976.38
1140190-03    N.B.             Global Surgery Center LLC                    Arthrocentesis Aspir&/Inj Major J…   6/20/2024   20610     $2,700.00
1140190-03    N.B.             Global Surgery Center LLC                   Arthroscopy Shoulder Surg Synovec…    6/20/2024   29821     $3,026.24
1140190-03    N.B.             Global Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…    6/20/2024   29823     $5,677.77
1140190-03    N.B.             Global Surgery Center LLC                     Unlisted Procedure Arthroscopy…     6/20/2024   29999     $1,472.45
1140190-03    N.B.          Fifth Avenue Surgery Center LLC                 Injection Single/Mlt Trigger Poin…   7/29/2024   20553      $236.69
1140190-03    N.B.          Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/29/2024   62321      $976.38
1140190-03    N.B.          Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …     7/29/2024   76942      $341.96
1140859-01    R.C.        All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/11/2024   62323      $976.38
1140859-01    R.C.        All City Family Healthcare Center, Inc.          Perq Intrdscl Electrothrm Annulop…    2/25/2024   22526     $2,605.78
1140859-01    R.C.        All City Family Healthcare Center, Inc.         Dcmprn Perq Nucleus Pulposus 1/> …     2/25/2024   62287     $5,292.93

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                                                           1720
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1140859-01    R.C.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     3/6/2024   62321      $976.38
1140859-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…    3/21/2024   22526     $5,292.93
1140859-01    R.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…      3/21/2024   64999      $747.93
1140859-01    R.C.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     4/3/2024   62321      $976.38
1140859-01    R.C.                       SCOB LLC                        Arthrocentesis Aspir&/Inj Major J…    4/24/2024   20610      $473.39
1140859-01    R.C.                       SCOB LLC                       Arthroscopy Knee Synovectomy 2/>C…     4/24/2024   29876     $3,026.24
1140859-01    R.C.                       SCOB LLC                      Arthrs Kne Surg W/Meniscectomy Me…      4/24/2024   29881     $2,944.87
1140859-01    R.C.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/8/2024   62323      $976.38
1140859-01    R.C.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/22/2024   62321      $976.38
1139265-01    S.A.                Global Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…      5/8/2024   29821     $3,026.24
1139265-01    S.A.                Global Surgery Center LLC              Arthroscopy Shoulder Surg Debride…     5/8/2024   29823     $5,677.77
1139265-01    S.A.                Global Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …     5/8/2024   29825     $1,472.45
1139265-01    S.A.                Global Surgery Center LLC                Unlisted Procedure Arthroscopy…      5/8/2024   29999     $1,472.45
1139265-01    S.A.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/18/2024   62323      $976.38
1143275-01    A.W.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     7/2/2024   62321      $976.38
1143275-01    A.W.            Island Ambulatory Surgery Center           Perq Intrdscl Electrothrm Annulop…    9/13/2024   22526     $2,648.32
1143275-01    A.W.            Island Ambulatory Surgery Center          Dcmprn Perq Nucleus Pulposus 1/> …     9/13/2024   62287     $5,296.65
1140723-01    A.D.                  Hudson Surgery Center                 Injection Single/Mlt Trigger Poin…    2/1/2024   20553      $279.23
1140723-01    A.D.                  Hudson Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/1/2024   62323      $980.10
1140723-01    A.D.                  Hudson Surgery Center                 Injection Single/Mlt Trigger Poin…    3/6/2024   20553      $279.23
1140723-01    A.D.                  Hudson Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     3/6/2024   62321      $980.10
1140723-01    A.D.         Bronx SC LLC d/b/a Empire State ASC           Perq Intrdscl Electrothrm Annulop…    3/15/2024   22526     $2,605.78
1140723-01    A.D.         Bronx SC LLC d/b/a Empire State ASC           Perq Intrdscl Electrothrm Annulop…    3/15/2024   22527     $2,605.79
1140723-01    A.D.         Bronx SC LLC d/b/a Empire State ASC          Dcmprn Perq Nucleus Pulposus 1/> …     3/15/2024   62287     $5,292.93
1140723-01    A.D.                  Hudson Surgery Center                Perq Intrdscl Electrothrm Annulop…    6/17/2024   22526     $2,648.32
1140723-01    A.D.                  Hudson Surgery Center                Perq Intrdscl Electrothrm Annulop…    6/17/2024   22527     $2,648.32
1140723-01    A.D.                  Hudson Surgery Center               Discectomy Ant Dcmprn Cord Cervic…     6/17/2024   63075     $6,405.75
1140723-01    A.D.                  Hudson Surgery Center               Discectomy Ant Dcmprn Cord Cervic…     6/17/2024   63076     $3,202.87
1139740-04    M.A.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/4/2024   62323      $967.38
1139740-04    M.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …    2/17/2024   64415      $979.78
1139740-04    M.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …      2/17/2024   76942      $341.96
1139740-04    M.A.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    3/10/2024   22526     $2,605.78
1139740-04    M.A.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …     3/10/2024   62287     $5,292.93
1139740-04    M.A.                Global Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…    3/21/2024   20610     $2,700.00
1139740-04    M.A.                Global Surgery Center LLC             Arthroscopy Knee Synovectomy 2/>C…     3/21/2024   29876     $3,026.24
1139740-04    M.A.                Global Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La…      3/21/2024   29880     $5,677.77
1139740-04    M.A.                Global Surgery Center LLC                Unlisted Procedure Arthroscopy…     3/21/2024   29999     $1,472.45
1139740-04    M.A.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     4/1/2024   62321      $976.38
1139740-04    M.A.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    5/20/2024   22526     $2,605.78
1139740-04    M.A.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic…     5/20/2024   63075     $6,402.03
1140083-01    S.R.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…     4/12/2024   29821     $2,798.20
1140083-01    S.R.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…    4/12/2024   29823     $1,472.45
1140083-01    S.R.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…    4/12/2024   29823     $1,472.45
1140083-01    S.R.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Biceps Tenod…     4/12/2024   29828     $5,677.77
1140083-01    S.R.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …    4/12/2024   64415      $979.78
1140083-01    S.R.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …     4/12/2024   76942      $341.96
1140083-01    S.R.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     6/3/2024   62321      $976.38
1140678-01    E.V.            Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…     2/6/2024   20610      $473.38
1140678-01    E.V.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi…      2/6/2024   29875     $1,472.45
1140678-01    E.V.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La…       2/6/2024   29880     $3,026.24
1140678-01    E.V.            Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…    3/12/2024   20610      $473.38
1140678-01    E.V.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder Dx W/Wo Syno…      3/12/2024   29805     $1,472.45
1140678-01    E.V.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…     3/12/2024   29821     $5,677.77
1140678-01    E.V.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    3/12/2024   29823     $1,472.45
1140678-01    E.V.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …    3/12/2024   29825     $1,472.45
1140678-01    E.V.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    3/12/2024   64415      $979.78
1140678-01    E.V.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     3/12/2024   76942      $341.96
1140678-01    E.V.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/16/2024   62323      $976.38
1139525-04    A.G.                Crotona Parkway ASC LLC                 Injection Single/Mlt Trigger Poin…    3/1/2024   20553      $279.23
1139525-04    A.G.                Crotona Parkway ASC LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/1/2024   62323      $980.10
1139525-04    A.G.                Crotona Parkway ASC LLC                 Injection Single/Mlt Trigger Poin…   3/15/2024   20553      $279.23
1139525-04    A.G.                Crotona Parkway ASC LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/15/2024   62321      $980.10
1139525-04    A.G.                Crotona Parkway ASC LLC                 Injection Single/Mlt Trigger Poin…   5/24/2024   20553      $279.23
1139525-04    A.G.                Crotona Parkway ASC LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/24/2024   62323      $980.10
1139525-04    A.G.              Manalapan Surgery Center Inc           Arthroscopy Shoulder Dx W/Wo Syno…      6/24/2024   29805     $1,472.45
1139525-04    A.G.              Manalapan Surgery Center Inc            Arthroscopy Shoulder Surg Synovec…     6/24/2024   29821     $5,677.77
1139525-04    A.G.              Manalapan Surgery Center Inc             Arthroscopy Shoulder Surg Debride…    6/24/2024   29823     $1,472.45
1139525-04    A.G.              Manalapan Surgery Center Inc             Arthroscopy Shoulder Ahesiolysis …    6/24/2024   29825     $1,472.45

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                                                           1721
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1139525-04    A.G.              Manalapan Surgery Center Inc               Unlisted Procedure Arthroscopy…    6/24/2024   29999     $1,472.45
1139525-04    A.G.              Manalapan Surgery Center Inc               Unlisted Procedure Arthroscopy…    6/24/2024   29999     $1,472.45
1139525-04    A.G.              Manalapan Surgery Center Inc             Single Nerve Block Injection Arm …   6/24/2024   64415      $979.78
1139525-04    A.G.              Manalapan Surgery Center Inc            Us Guidance Needle Placement Img …    6/24/2024   76942      $341.96
1138575-01    F.C.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin… 12/19/2023   20553      $279.23
1138575-01    F.C.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  12/19/2023   62323      $980.10
1138575-01    F.C.            Island Ambulatory Surgery Center           Plmt Post Facet Implant Uni/Bi W/…    2/5/2024   0219T     $3,202.87
1138575-01    F.C.            Island Ambulatory Surgery Center            Place Posterior Intrafacet Implan…   2/5/2024   0222T     $2,648.32
1138575-01    F.C.            Island Ambulatory Surgery Center           Perq Intrdscl Electrothrm Annulop…    2/5/2024   22526     $2,648.32
1138575-01    F.C.            Island Ambulatory Surgery Center          Dcmprn Perq Nucleus Pulposus 1/> …     2/5/2024   62287     $5,296.65
1138575-01    F.C.            Island Ambulatory Surgery Center           Transection/Avulsion Oth Spinal N…    2/5/2024   64772     $1,114.09
1138575-01    F.C.            Island Ambulatory Surgery Center           Transection/Avulsion Oth Spinal N…    2/5/2024   64772     $1,114.09
1138575-01    F.C.            Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…   3/28/2024   20610      $473.38
1138575-01    F.C.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 3/28/2024      29875     $1,472.45
1138575-01    F.C.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 3/28/2024       29880     $3,026.24
1138575-01    F.C.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…    3/28/2024   29999     $1,472.45
1140109-01    M.G.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/29/2024   62321      $976.38
1140109-01    M.G.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/29/2024   62321      $976.38
1140109-01    M.G.                       SCOB LLC                        Perq Intrdscl Electrothrm Annulop…    4/8/2024   22526     $5,211.56
1140109-01    M.G.                       SCOB LLC                       Discectomy Ant Dcmprn Cord Cervic…     4/8/2024   63075     $6,402.03
1140109-01    M.G.                       SCOB LLC                       Probe, Percutaneous Lumbar Discec…     4/8/2024   C2614     $2,200.00
1140109-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…     5/28/2024   29821     $5,677.77
1140109-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…     5/28/2024   29823     $1,472.45
1140109-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Ahesiolysis …   5/28/2024   29825     $1,472.45
1140109-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 5/28/2024       29826     $1,472.45
1140109-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …   5/28/2024   64415      $979.78
1140109-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …     5/28/2024   76942      $341.96
1140109-01    M.G.                       SCOB LLC                        Perq Intrdscl Electrothrm Annulop…    8/5/2024   22526     $5,211.56
1140109-01    M.G.                       SCOB LLC                       Dcmprn Perq Nucleus Pulposus 1/> …     8/5/2024   62287     $5,292.93
1140109-01    M.G.                       SCOB LLC                       Probe, Percutaneous Lumbar Discec…     8/5/2024   C2614     $2,200.00
1138600-01    Y.C.                Global Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…    2/27/2024   29821     $5,677.77
1138600-01    Y.C.                Global Surgery Center LLC              Arthroscopy Shoulder Surg Debride…   2/27/2024   29823     $3,026.24
1138600-01    Y.C.                Global Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …   2/27/2024   29825     $1,472.45
1138600-01    Y.C.                Global Surgery Center LLC                Unlisted Procedure Arthroscopy…    2/27/2024   29999     $1,472.45
1138600-01    Y.C.         Bronx SC LLC d/b/a Empire State ASC            Injection Single/Mlt Trigger Poin…  3/24/2024   20553      $236.69
1138600-01    Y.C.         Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/24/2024   62323      $976.38
1139406-01    P.L.            New Horizon Surgical Center LLC           Arthroscopy Knee Synovectomy Limi… 4/30/2024      29875     $1,472.45
1139406-01    P.L.            New Horizon Surgical Center LLC          Arthrs Knee W/Meniscectomy Med&La… 4/30/2024       29880     $3,026.24
1139406-01    P.L.            New Horizon Surgical Center LLC           Arthroscopy Knee W/Lysis Adhesion… 4/30/2024      29884     $1,472.45
1139406-01    P.L.            New Horizon Surgical Center LLC              Unlisted Procedure Arthroscopy…    4/30/2024   29999     $1,472.45
1139406-01    P.L.                       SCOB LLC                        Perq Intrdscl Electrothrm Annulop…   5/21/2024   22526     $5,211.56
1139406-01    P.L.                       SCOB LLC                       Dcmprn Perq Nucleus Pulposus 1/> …    5/21/2024   62287     $5,292.93
1139406-01    P.L.                       SCOB LLC                       Probe, Percutaneous Lumbar Discec…    5/21/2024   C2614     $2,200.00
1139406-01    P.L.                       SCOB LLC                       Discectomy Ant Dcmprn Cord Cervic… 6/25/2024      63075     $6,402.03
1139406-01    P.L.                       SCOB LLC                       Probe, Percutaneous Lumbar Discec…    6/25/2024   C2614     $2,200.00
1139406-01    P.L.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   7/30/2024   62323      $976.38
1139353-01    M.H.                Crotona Parkway ASC LLC                 Injection Single/Mlt Trigger Poin…  1/22/2024   20553      $279.23
1139353-01    M.H.                Crotona Parkway ASC LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/22/2024   62321      $980.10
1139353-01    M.H.               East Tremont Medical Center            Anes Open/Surg Arthroscopic Proc …    1/26/2024    1400      $207.97
1139353-01    M.H.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    4/3/2024   22526     $2,605.78
1139353-01    M.H.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic…     4/3/2024   63075     $6,402.03
1138793-02    J.S.            Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…   4/30/2024   20610      $473.38
1138793-02    J.S.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 4/30/2024      29875     $1,472.45
1138793-02    J.S.            Fifth Avenue Surgery Center LLC          Arthrs Kne Surg W/Meniscectomy Me… 4/30/2024       29881     $3,026.24
1138793-02    J.S.                  Hudson Surgery Center                 Injection Single/Mlt Trigger Poin…  5/22/2024   20553      $279.23
1138793-02    J.S.                  Hudson Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/22/2024   62323      $980.10
1139358-01    M.R.         Bronx SC LLC d/b/a Empire State ASC            Injection Single/Mlt Trigger Poin…   4/7/2024   20553      $236.69
1139358-01    M.R.         Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/7/2024   62323      $976.38
1139358-01    M.R.         Bronx SC LLC d/b/a Empire State ASC          Us Guidance Needle Placement Img …     4/7/2024   76942      $341.96
1139358-01    M.R.                       SCOB LLC                       Arthroscopy Shoulder Surg Synovec…     5/3/2024   29821     $5,677.77
1139358-01    M.R.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…    5/3/2024   29823     $2,944.87
1138287-02    W.G.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/5/2023   62323      $980.10
1138287-02    W.G.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi…     1/5/2024   29875     $1,472.45
1138287-02    W.G.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 1/5/2024        29880     $3,026.24
1138287-02    W.G.          All City Family Healthcare Center, Inc.     Arthroscopy Knee W/Lysis Adhesion…     1/5/2024   29884     $1,472.45
1138287-02    W.G.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…     1/5/2024   29999     $1,472.45
1138287-02    W.G.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…   4/8/2024   20553      $279.23
1138287-02    W.G.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/8/2024   62323      $980.10

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                             Service     Code       Billed
1139140-04    D.M.        Bronx SC LLC d/b/a Empire State ASC               Injection Single/Mlt Trigger Poin…  1/21/2024   20553      $236.69
1139140-04    D.M.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/21/2024   62323      $976.38
1139140-04    D.M.             East Tremont Medical Center                 Njx Pltlt Plasma W/Img Harvest/Pr…   1/26/2024   0232T      $875.93
1139140-04    D.M.             East Tremont Medical Center                 Anes Arthrs Humeral H/N Strnclav …   1/26/2024    1630      $267.39
1139140-04    D.M.             East Tremont Medical Center                Arthroscopy Shoulder Surg Synovec…    1/26/2024   29821     $5,677.77
1139140-04    D.M.             East Tremont Medical Center                 Arthroscopy Shoulder Ahesiolysis …   1/26/2024   29825     $1,472.45
1139140-04    D.M.             East Tremont Medical Center                Arthroscopy Shoulder W/Coracoacrm… 1/26/2024      29826     $1,472.45
1139140-04    D.M.             East Tremont Medical Center                Arthroscopy Ankle Surgical W/Ankl…    1/26/2024   29899     $2,798.20
1139140-04    D.M.             East Tremont Medical Center                   Unlisted Procedure Arthroscopy…    1/26/2024   29999     $1,472.45
1139140-04    D.M.             East Tremont Medical Center                 Single Nerve Block Injection Arm …   1/26/2024   64415      $171.32
1139140-04    D.M.             East Tremont Medical Center                Us Guidance Needle Placement Img …    1/26/2024   76942      $289.20
1139140-04    D.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Perq Intrdscl Electrothrm Annulop…    3/2/2024   22526     $2,605.78
1139140-04    D.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Perq Intrdscl Electrothrm Annulop…    3/2/2024   22527     $2,605.79
1139140-04    D.M.     Surgicore LLC d/b/a Surgicore Surgical Center      Dcmprn Perq Nucleus Pulposus 1/> …     3/2/2024   62287     $5,292.93
1137805-05    S.H.           Fifth Avenue Surgery Center LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    1/5/2024   62321      $976.38
1137805-05    S.H.          New York Surgery Center of Queens             Anes Nrv Musc Tndn Fscia Bursa Sh…     4/3/2024    1610      $267.39
1137805-05    S.H.          New York Surgery Center of Queens             Arthroscopy Shoulder Surg Synovec…     4/3/2024   29821     $5,677.77
1137805-05    S.H.          New York Surgery Center of Queens              Arthroscopy Shoulder Surg Debride…    4/3/2024   29823     $1,472.45
1137805-05    S.H.          New York Surgery Center of Queens              Arthroscopy Shoulder Ahesiolysis …    4/3/2024   29825     $1,472.45
1137805-05    S.H.          New York Surgery Center of Queens             Arthroscopy Shoulder W/Coracoacrm…     4/3/2024   29826     $1,472.45
1137805-05    S.H.          New York Surgery Center of Queens                Unlisted Procedure Arthroscopy…     4/3/2024   29999     $1,472.45
1137805-05    S.H.          New York Surgery Center of Queens              Single Nerve Block Injection Arm …    4/3/2024   64415      $171.32
1137805-05    S.H.          New York Surgery Center of Queens             Us Guidance Needle Placement Img …     4/3/2024   76942      $159.06
1137773-01    F.P.           Fifth Avenue Surgery Center LLC               Arthrocentesis Aspir&/Inj Major J…  12/12/2023   20610      $473.39
1137773-01    F.P.           Fifth Avenue Surgery Center LLC              Arthroscopy Knee Synovectomy Limi… 12/12/2023     29875     $1,472.45
1137773-01    F.P.           Fifth Avenue Surgery Center LLC             Arthrs Knee W/Meniscectomy Med&La… 12/12/2023      29880     $3,026.24
1137773-01    F.P.           Fifth Avenue Surgery Center LLC               Arthrocentesis Aspir&/Inj Major J…    1/2/2024   20610      $473.39
1137773-01    F.P.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Dx W/Wo Syno…      1/2/2024   29805     $1,472.45
1137773-01    F.P.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Synovec…     1/2/2024   29821     $5,677.77
1137773-01    F.P.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Debride…    1/2/2024   29823     $1,472.45
1137773-01    F.P.           Fifth Avenue Surgery Center LLC               Single Nerve Block Injection Arm …    1/2/2024   64415      $979.78
1137773-01    F.P.           Fifth Avenue Surgery Center LLC              Us Guidance Needle Placement Img …     1/2/2024   76942      $341.96
1137773-01    F.P.                    Triborough ASC                       Perq Intrdscl Electrothrm Annulop…    3/4/2024   22526     $2,648.32
1137773-01    F.P.                    Triborough ASC                      Dcmprn Perq Nucleus Pulposus 1/> …     3/4/2024   62287     $5,296.65
1137284-01    M.M.                 Hudson Surgery Center                    Injection Single/Mlt Trigger Poin…  1/22/2024   20553      $279.23
1137284-01    M.M.                 Hudson Surgery Center                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/22/2024   62323      $980.10
1137284-01    M.M.             Surgicore of Jersey City LLC                Perq Intrdscl Electrothrm Annulop…   2/17/2024   22526     $2,605.78
1137284-01    M.M.             Surgicore of Jersey City LLC                Perq Intrdscl Electrothrm Annulop…   2/17/2024   22527     $2,605.79
1137284-01    M.M.             Surgicore of Jersey City LLC               Dcmprn Perq Nucleus Pulposus 1/> …    2/17/2024   62287     $5,292.93
1136894-01    C.L.             East Tremont Medical Center                 Anes Dx/Ther Nerve Block/Injectio…    1/3/2024    1992      $178.26
1136894-01    C.L.             East Tremont Medical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/3/2024   62323      $976.38
1136894-01    C.L.             East Tremont Medical Center                 Anes Dx/Ther Nerve Block/Injectio…   1/17/2024    1992      $178.26
1136894-01    C.L.             East Tremont Medical Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/17/2024   62321      $976.38
1136894-01    C.L.        All City Family Healthcare Center, Inc.          Arthrocentesis Aspir&/Inj Major J…   2/29/2024   20610      $473.38
1136894-01    C.L.        All City Family Healthcare Center, Inc.         Arthroscopy Knee Synovectomy Limi… 2/29/2024      29875     $1,472.45
1136894-01    C.L.        All City Family Healthcare Center, Inc.        Arthrs Kne Surg W/Meniscectomy Me… 2/29/2024       29881     $3,026.24
1137571-02    C.W.              Crotona Parkway ASC LLC                     Injection Single/Mlt Trigger Poin… 12/12/2023   20553      $279.23
1137571-02    C.W.              Crotona Parkway ASC LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/12/2023   62321      $980.10
1137571-02    C.W.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Synovec… 12/22/2023     29821     $5,677.77
1137571-02    C.W.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Debride…  12/22/2023   29823     $1,472.45
1137571-02    C.W.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Ahesiolysis …  12/22/2023   29825     $1,472.45
1137571-02    C.W.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder W/Coracoacrm… 12/22/2023     29826     $1,472.45
1137571-02    C.W.           Fifth Avenue Surgery Center LLC               Single Nerve Block Injection Arm …  12/22/2023   64415      $979.78
1137571-02    C.W.           Fifth Avenue Surgery Center LLC              Us Guidance Needle Placement Img … 12/22/2023     76942      $341.96
1138644-01    T.C.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/23/2024   62323      $976.38
1138644-01    T.C.                Orthopaedic & Spine Ins                 Arthroscopy Shoulder Surg Synovec…    6/24/2024   29821     $6,500.00
1138644-01    T.C.                Orthopaedic & Spine Ins                  Arthroscopy Shoulder Surg Debride…   6/24/2024   29823     $6,500.00
1138644-01    T.C.                Orthopaedic & Spine Ins                  Arthroscopy Shoulder Ahesiolysis …   6/24/2024   29825     $6,500.00
1138644-01    T.C.                Orthopaedic & Spine Ins                    Unlisted Procedure Arthroscopy…    6/24/2024   29999     $6,500.00
1138644-01    T.C.                Orthopaedic & Spine Ins                    Unlisted Procedure Arthroscopy…    6/24/2024   29999     $6,500.00
1138644-01    T.C.                Orthopaedic & Spine Ins                    Unlisted Procedure Arthroscopy…    6/24/2024   29999     $6,500.00
1137250-01    N.P.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/7/2024   62323      $976.38
1137250-01    N.P.        Bronx SC LLC d/b/a Empire State ASC              Perq Intrdscl Electrothrm Annulop…   1/14/2024   22527     $2,605.78
1137250-01    N.P.        Bronx SC LLC d/b/a Empire State ASC             Dcmprn Perq Nucleus Pulposus 1/> …    1/14/2024   62287     $5,292.93
1137250-01    N.P.             East Tremont Medical Center                 Anes Open/Surg Arthroscopic Proc …   1/20/2024    1400      $237.68
1137250-01    N.P.             East Tremont Medical Center                 Arthrocentesis Aspir&/Inj Major J…   1/20/2024   20610      $473.38
1137250-01    N.P.             East Tremont Medical Center                Arthroscopy Knee Synovectomy 2/>C… 1/20/2024      29876     $1,472.45
1137250-01    N.P.             East Tremont Medical Center               Arthrs Knee W/Meniscectomy Med&La… 1/20/2024       29880     $3,026.24

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                                                          1723
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1137250-01    N.P.             East Tremont Medical Center                 Arthroscopy Knee W/Lysis Adhesion…       1/20/2024   29884      $1,472.45
1137250-01    N.P.             East Tremont Medical Center                     Unlisted Procedure Arthroscopy…      1/20/2024   29999      $1,472.45
1137250-01    N.P.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      1/28/2024   62321       $976.38
1137250-01    N.P.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…      2/8/2024   22526      $2,605.78
1137250-01    N.P.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic…        2/8/2024   63075      $6,402.03
1137250-01    N.P.              Global Surgery Center LLC                   Njx Pltlt Plasma W/Img Harvest/Pr…       3/9/2024   0232T      $1,400.00
1137250-01    N.P.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Synovec…       3/9/2024   29821      $5,677.77
1137250-01    N.P.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…       3/9/2024   29823      $3,026.24
1137250-01    N.P.              Global Surgery Center LLC                    Arthroscopy Shoulder Ahesiolysis …      3/9/2024   29825      $1,472.45
1137250-01    N.P.              Global Surgery Center LLC                  Arthroscopy Shoulder W/Coracoacrm…        3/9/2024   29826      $1,472.45
1137250-01    N.P.              Global Surgery Center LLC                      Unlisted Procedure Arthroscopy…       3/9/2024   29999      $1,472.45
1136690-01    Y.C.        All City Family Healthcare Center, Inc.             Injection Single/Mlt Trigger Poin…   11/13/2023   20552       $236.69
1136690-01    Y.C.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/13/2023   62323       $976.38
1136690-01    Y.C.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …     11/13/2023   76942       $341.96
1136690-01    Y.C.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      1/14/2024   62321       $976.38
1136690-01    Y.C.        Bronx SC LLC d/b/a Empire State ASC                Perq Intrdscl Electrothrm Annulop…     1/28/2024   22526      $2,605.78
1136690-01    Y.C.        Bronx SC LLC d/b/a Empire State ASC              Discectomy Ant Dcmprn Cord Cervic…       1/28/2024   63075      $6,402.03
1136690-01    Y.C.              Global Surgery Center LLC                   Njx Pltlt Plasma W/Img Harvest/Pr…       2/9/2024   0232T      $1,400.00
1136690-01    Y.C.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Synovec…       2/9/2024   29821      $5,677.77
1136690-01    Y.C.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…       2/9/2024   29823      $1,472.45
1136690-01    Y.C.              Global Surgery Center LLC                    Arthroscopy Shoulder Ahesiolysis …      2/9/2024   29825      $1,472.45
1136690-01    Y.C.              Global Surgery Center LLC                  Arthroscopy Shoulder W/Coracoacrm…        2/9/2024   29826      $1,472.45
1136690-01    Y.C.              Global Surgery Center LLC                      Unlisted Procedure Arthroscopy…       2/9/2024   29999      $1,472.45
1137341-01    M.I.                Hudson Surgery Center                       Injection Single/Mlt Trigger Poin…   12/26/2023   20553       $279.23
1137341-01    M.I.                Hudson Surgery Center                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     12/26/2023   62323       $980.10
1137341-01    M.I.                Hudson Surgery Center                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       1/9/2024   64493      $1,960.20
1137341-01    M.I.                Hudson Surgery Center                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       1/9/2024   64494       $980.10
1137341-01    M.I.                Hudson Surgery Center                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      1/26/2024   64493      $1,960.20
1137341-01    M.I.                Hudson Surgery Center                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      1/26/2024   64494       $980.10
1137341-01    M.I.                Hudson Surgery Center                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      1/26/2024   64495       $980.10
1137341-01    M.I.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…     3/26/2024   20610       $473.38
1137341-01    M.I.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi…       3/26/2024   29875      $1,472.45
1137341-01    M.I.          Fifth Avenue Surgery Center LLC                Arthrs Kne Surg W/Meniscectomy Me…       3/26/2024   29881      $3,026.24
1136434-01    D.F.        Specialty Surgery of Middletown LLC              Njx Anes&/Strd W/Img Tfrml Edrl C…       3/15/2024   64479     $14,000.00
1136434-01    D.F.        Specialty Surgery of Middletown LLC              Njx Anes&/Strd W/Img Tfrml Edrl C…       3/15/2024   64480      $7,000.00
1136655-01    J.H.          Fifth Avenue Surgery Center LLC                   Injection Single/Mlt Trigger Poin…   10/20/2023   20553       $236.69
1136655-01    J.H.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     10/20/2023   62321       $976.38
1136655-01    J.H.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …     10/20/2023   76942       $341.96
1136655-01    J.H.             East Tremont Medical Center                  Anes Arthrs Humeral H/N Strnclav …     12/14/2023    1630       $267.39
1136655-01    J.H.             East Tremont Medical Center                   Arthrocentesis Aspir&/Inj Major J…    12/14/2023   20610       $554.74
1136655-01    J.H.             East Tremont Medical Center                  Arthroscopy Shoulder Surgical Rem…     12/14/2023   29819      $2,944.87
1136655-01    J.H.             East Tremont Medical Center                  Arthroscopy Shoulder Surg Synovec…     12/14/2023   29821      $5,677.77
1136655-01    J.H.             East Tremont Medical Center                  Arthroscopy Shoulder Surg Debride…     12/14/2023   29823      $2,944.86
1136655-01    J.H.             East Tremont Medical Center                   Arthroscopy Shoulder Ahesiolysis …    12/14/2023   29825      $1,472.45
1136655-01    J.H.             East Tremont Medical Center                     Unlisted Procedure Arthroscopy…     12/14/2023   29999      $1,472.45
1136655-01    J.H.             East Tremont Medical Center                   Single Nerve Block Injection Arm …    12/14/2023   64415       $171.32
1136655-01    J.H.             East Tremont Medical Center                  Us Guidance Needle Placement Img …     12/14/2023   76942       $289.20
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                  Perq Intrdscl Electrothrm Annulop…     12/4/2023   22526      $2,605.78
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                  Perq Intrdscl Electrothrm Annulop…     12/4/2023   22527      $2,605.78
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                 Dcmprn Perq Nucleus Pulposus 1/> …      12/4/2023   62287      $5,292.93
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                   Injection Single/Mlt Trigger Poin…     1/8/2024   20553       $236.69
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                  Inject Si Joint Arthrgrphy&/Anes/…      1/8/2024   27096       $429.53
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       1/8/2024   62323       $976.38
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …       1/8/2024   76942       $341.96
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                   Injection Single/Mlt Trigger Poin…    1/29/2024   20553       $236.69
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                  Inject Si Joint Arthrgrphy&/Anes/…     1/29/2024   27096       $429.53
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      1/29/2024   62323       $976.38
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …      1/29/2024   76942       $341.96
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                   Injection Single/Mlt Trigger Poin…    2/26/2024   20553       $236.69
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      2/26/2024   62321       $976.38
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …      2/26/2024   76942       $341.96
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                   Injection Single/Mlt Trigger Poin…    3/11/2024   20553       $236.69
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      3/11/2024   62321       $976.38
1136650-01    M.H.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …      3/11/2024   76942       $341.96
1136650-01    M.H.        Bronx SC LLC d/b/a Empire State ASC               Excision/Curettage Bone Cyst/Tumo…       4/1/2024   27635      $1,417.17
1136650-01    M.H.        Bronx SC LLC d/b/a Empire State ASC                         Arthroplasty Ankle…            4/1/2024   27700      $4,992.46
1136892-02    M.B.             East Tremont Medical Center                  Anes Dx/Ther Nerve Block/Injectio…     11/30/2023    1992       $207.97
1136892-02    M.B.             East Tremont Medical Center                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     11/30/2023   62321       $976.38

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                                                           1724
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1136892-02    M.B.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…    3/27/2024   29821     $5,677.77
1136892-02    M.B.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …   3/27/2024   29825     $1,472.45
1136892-02    M.B.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    3/27/2024   29999     $1,472.45
1136892-02    M.B.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …   3/27/2024   64415      $979.78
1136892-02    M.B.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …    3/27/2024   76942      $341.96
1137533-03    S.S.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…  2/23/2024   20553      $473.00
1137533-03    S.S.                       AMSC LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/23/2024   62323      $976.00
1137533-03    S.S.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…  2/29/2024   20553      $473.00
1137533-03    S.S.                       AMSC LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/29/2024   62321      $976.00
1137533-03    S.S.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …   3/12/2024   64415      $979.78
1137533-03    S.S.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …    3/12/2024   76942      $341.96
1137533-03    S.S.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surg Debride…   7/30/2024   29823     $3,026.24
1137533-03    S.S.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Ahesiolysis …   7/30/2024   29825     $1,472.45
1137533-03    S.S.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder W/Coracoacrm… 7/30/2024      29826     $1,472.45
1137533-03    S.S.         Bronx SC LLC d/b/a Empire State ASC             Unlisted Procedure Arthroscopy…    7/30/2024   29999     $1,472.45
1137533-03    S.S.         Bronx SC LLC d/b/a Empire State ASC           Single Nerve Block Injection Arm …   7/30/2024   64415      $979.78
1137533-03    S.S.         Bronx SC LLC d/b/a Empire State ASC          Us Guidance Needle Placement Img …    7/30/2024   76942      $341.96
1136427-02    L.T.                Crotona Parkway ASC LLC                 Perq Intrdscl Electrothrm Annulop…   1/3/2024   22526     $2,648.32
1136427-02    L.T.                Crotona Parkway ASC LLC               Dcmprn Perq Nucleus Pulposus 1/> …     1/3/2024   62287     $5,296.65
1136427-02    L.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi… 1/30/2024       29875     $1,472.45
1136427-02    L.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 1/30/2024       29880     $3,026.24
1136427-02    L.T.     NYEEQASC LLC d/b/a North Queens Surgical Center     Unlisted Procedure Arthroscopy…    1/30/2024   29999     $1,472.45
1136427-02    L.T.                Crotona Parkway ASC LLC                 Injection Single/Mlt Trigger Poin…  6/28/2024   20553      $279.23
1136427-02    L.T.                Crotona Parkway ASC LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/28/2024   62323      $980.10
1136513-03    J.T.            Fifth Avenue Surgery Center LLC             Injection Single/Mlt Trigger Poin…  1/21/2024   20553      $236.69
1136513-03    J.T.            Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/21/2024   62323      $976.38
1136513-03    J.T.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …    1/21/2024   76942      $341.96
1136513-03    J.T.               East Tremont Medical Center             Anes Dx/Ther Nerve Block/Injectio…    2/4/2024    1992      $207.97
1136513-03    J.T.               East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/4/2024   62321      $976.38
1136513-03    J.T.               East Tremont Medical Center                     Epidurograpy Rs&I…            2/4/2024   72275      $572.52
1136513-03    J.T.               East Tremont Medical Center              Perq Intrdscl Electrothrm Annulop…  2/18/2024   22526     $2,605.78
1136513-03    J.T.               East Tremont Medical Center            Dcmprn Perq Nucleus Pulposus 1/> …    2/18/2024   62287     $5,293.93
1136513-03    J.T.               East Tremont Medical Center             Injection Px Discography Each Lev…   2/18/2024   62290      $748.72
1136513-03    J.T.               East Tremont Medical Center               Anesthesia Lumbar Region Nos…      2/18/2024     630      $356.52
1136513-03    J.T.               East Tremont Medical Center                  Diskograpy Lumbar Rs&I…         2/18/2024   72295      $521.95
1136513-03    J.T.               East Tremont Medical Center            Supplies&Materials Above/Beyond P… 2/18/2024      99070     $5,552.64
1136513-03    J.T.               East Tremont Medical Center            Supplies&Materials Above/Beyond P… 2/18/2024      99070     $8,328.96
1136513-03    J.T.               East Tremont Medical Center               Anesthesia Lumbar Region Nos…       4/7/2024     630      $356.52
1136513-03    J.T.               East Tremont Medical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/7/2024   64493     $1,423.90
1136513-03    J.T.               East Tremont Medical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/7/2024   64494      $671.25
1136513-03    J.T.               East Tremont Medical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/7/2024   64495      $671.25
1136513-03    J.T.               East Tremont Medical Center             Fluor Needle/Cath Spine/Paraspina…    4/7/2024   77003      $158.86
1135360-01    T.N.            Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/29/2024   62321      $976.38
1135360-01    T.N.            Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/11/2024   62321      $976.38
1135360-01    T.N.                Crotona Parkway ASC LLC                 Injection Single/Mlt Trigger Poin…  5/17/2024   20553      $279.23
1135360-01    T.N.                Crotona Parkway ASC LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/17/2024   62323      $980.10
1135284-01    M.O.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop… 12/29/2023   22526     $2,648.32
1135284-01    M.O.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop… 12/29/2023   22527     $2,648.32
1135284-01    M.O.            Island Ambulatory Surgery Center          Dcmprn Perq Nucleus Pulposus 1/> … 12/29/2023     62287     $5,296.65
1135284-01    M.O.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…  1/16/2024   20610      $473.39
1135284-01    M.O.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder Dx W/Wo Syno… 1/16/2024       29805     $1,472.45
1135284-01    M.O.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…    1/16/2024   29821     $5,677.77
1135284-01    M.O.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…   1/16/2024   29823     $1,472.45
1135284-01    M.O.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …   1/16/2024   29825     $1,472.45
1135284-01    M.O.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …   1/16/2024   64415      $979.78
1135284-01    M.O.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …    1/16/2024   76942      $341.96
1135716-01    J.B.            Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/17/2023   62323      $976.38
1135716-01    J.B.            Fifth Avenue Surgery Center LLC             Perq Intrdscl Electrothrm Annulop…  12/8/2023   22526     $2,605.78
1135716-01    J.B.            Fifth Avenue Surgery Center LLC           Dcmprn Perq Nucleus Pulposus 1/> …    12/8/2023   62287     $5,292.93
1135716-01    J.B.               East Tremont Medical Center             Anes Dx/Ther Nerve Block/Injectio…  12/17/2023    1992      $207.97
1135716-01    J.B.               East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/17/2023   62321      $976.38
1135716-01    J.B.               East Tremont Medical Center                     Epidurograpy Rs&I…          12/17/2023   72275      $572.52
1135716-01    J.B.               East Tremont Medical Center             Anes Arthrs Humeral H/N Strnclav …   1/13/2024    1630      $267.39
1135716-01    J.B.               East Tremont Medical Center            Arthroscopy Shoulder Surg Synovec…    1/13/2024   29821     $5,677.77
1135716-01    J.B.               East Tremont Medical Center             Arthroscopy Shoulder Surg Debride…   1/13/2024   29823     $2,944.86
1135716-01    J.B.               East Tremont Medical Center             Arthroscopy Shoulder Ahesiolysis …   1/13/2024   29825     $1,472.45
1135716-01    J.B.               East Tremont Medical Center            Arthroscopy Shoulder W/Coracoacrm… 1/13/2024      29826     $1,472.45
1135716-01    J.B.               East Tremont Medical Center             Arthroscopy Shoulder Rotator Cuff…   1/13/2024   29827     $2,838.88

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                                                         1725
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                       Provider                                        Service
 Number      Person                                                                                             Service     Code       Billed
1135716-01    J.B.            East Tremont Medical Center                  Single Nerve Block Injection Arm …   1/13/2024   64415      $171.32
1135716-01    J.B.            East Tremont Medical Center                 Us Guidance Needle Placement Img …    1/13/2024   76942      $289.20
1136119-02    R.J.             Global Surgery Center LLC                  Arthroscopy Knee Synovectomy 2/>C… 11/21/2023     29876     $1,472.45
1136119-02    R.J.             Global Surgery Center LLC                 Arthrs Knee W/Meniscectomy Med&La… 11/21/2023      29880     $3,026.24
1136119-02    R.J.             Global Surgery Center LLC                  Arthroscopy Knee W/Lysis Adhesion… 11/21/2023     29884     $1,472.45
1136119-02    R.J.             Global Surgery Center LLC                     Unlisted Procedure Arthroscopy…   11/21/2023   29999     $1,472.45
1136119-02    R.J.       All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/7/2023   62323      $976.38
1136119-02    R.J.         Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin… 12/19/2023   20553      $279.23
1136119-02    R.J.         Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/19/2023   62321      $980.10
1136119-02    R.J.       All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…  12/21/2023   22526     $2,605.78
1136119-02    R.J.       All City Family Healthcare Center, Inc.          Dcmprn Perq Nucleus Pulposus 1/> … 12/21/2023     62287     $5,292.93
1134921-01    C.J.               Bergen County Surgery                    Tenotomy Prq Achilles Tendon Spx … 12/18/2023     27606     $1,983.92
1134921-01    C.J.               Bergen County Surgery                     Arthrt Pst Capsul Rls Ankle W/Wo …  12/18/2023   27612     $4,497.44
1134921-01    C.J.               Bergen County Surgery                     Arthrt Pst Capsul Rls Ankle W/Wo …  12/18/2023   27612     $4,497.44
1134921-01    C.J.               Bergen County Surgery                    Rpr Primary Disrupted Ligament An… 12/18/2023     27695     $4,301.40
1134921-01    C.J.               Bergen County Surgery                    Rpr Primary Disrupted Ligament An… 12/18/2023     27695     $4,301.40
1134921-01    C.J.               Bergen County Surgery                     Exc Tumor Soft Tissue Foot/Toe Su…  12/18/2023   28045     $2,475.55
1134921-01    C.J.               Bergen County Surgery                    Synovectomy Tendon Sheath Foot Fl… 12/18/2023     28086     $2,532.66
1134921-01    C.J.               Bergen County Surgery                    Synovectomy Tendon Sheath Foot Fl… 12/18/2023     28086     $2,532.66
1134921-01    C.J.               Bergen County Surgery                       Endoscopic Plantar Fasciotomy…    12/18/2023   29893     $3,054.09
1134921-01    C.J.               Bergen County Surgery                     Arthroscopy Ankle Surgical Debrid…  12/18/2023   29897     $3,997.71
1134921-01    C.J.               Bergen County Surgery                     Arthroscopy Ankle Surgical Debrid…  12/18/2023   29898     $3,997.71
1134921-01    C.J.               Bergen County Surgery                      Arthroscopy Subtalar Joint With S… 12/18/2023   29905     $4,136.54
1134921-01    C.J.               Bergen County Surgery                      Arthroscopy Subtalar Joint With S… 12/18/2023   29905     $4,136.54
1134921-01    C.J.       Rockland & Bergen Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/24/2024   62321      $976.38
1134921-01    C.J.       Rockland & Bergen Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/24/2024   62321      $976.38
1135536-04    M.H.                    SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/21/2023   62323      $976.38
1135536-04    M.H.           Manalapan Surgery Center Inc                 Arthroscopy Knee Synovectomy Limi… 11/29/2023     29875     $1,472.45
1135536-04    M.H.           Manalapan Surgery Center Inc                Arthrs Knee W/Meniscectomy Med&La… 11/29/2023      29880     $3,026.24
1135536-04    M.H.           Manalapan Surgery Center Inc                 Arthroscopy Knee W/Lysis Adhesion… 11/29/2023     29884     $1,472.45
1135536-04    M.H.           Manalapan Surgery Center Inc                    Unlisted Procedure Arthroscopy…   11/29/2023   29999     $1,472.45
1135536-04    M.H.            East Tremont Medical Center                  Anes Arthrs Humeral H/N Strnclav …  12/21/2023    1630      $297.10
1135536-04    M.H.            East Tremont Medical Center                   Arthrocentesis Aspir&/Inj Major J… 12/21/2023   20610      $554.74
1135536-04    M.H.            East Tremont Medical Center                 Arthroscopy Shoulder Surg Synovec… 12/21/2023     29821     $5,677.77
1135536-04    M.H.            East Tremont Medical Center                  Arthroscopy Shoulder Surg Debride…  12/21/2023   29823     $2,944.86
1135536-04    M.H.            East Tremont Medical Center                  Arthroscopy Shoulder Ahesiolysis …  12/21/2023   29825     $1,472.45
1135536-04    M.H.            East Tremont Medical Center                 Arthroscopy Shoulder W/Coracoacrm… 12/21/2023     29826     $1,472.45
1135536-04    M.H.            East Tremont Medical Center                  Arthroscopy Shoulder Rotator Cuff…  12/21/2023   29827     $2,838.88
1135536-04    M.H.            East Tremont Medical Center                    Unlisted Procedure Arthroscopy…   12/21/2023   29999     $1,472.45
1135536-04    M.H.            East Tremont Medical Center                  Single Nerve Block Injection Arm …  12/21/2023   64415      $171.32
1135536-04    M.H.            East Tremont Medical Center                 Us Guidance Needle Placement Img … 12/21/2023     76942      $289.20
1135536-04    M.H.            East Tremont Medical Center                 Supplies&Materials Above/Beyond P… 12/21/2023     99070       $42.00
1135536-04    M.H.            East Tremont Medical Center                 Supplies&Materials Above/Beyond P… 12/21/2023     99070       $95.00
1135536-04    M.H.            East Tremont Medical Center                 Supplies&Materials Above/Beyond P… 12/21/2023     99070      $120.00
1135536-04    M.H.            East Tremont Medical Center                 Supplies&Materials Above/Beyond P… 12/21/2023     99070      $120.00
1135536-04    M.H.            East Tremont Medical Center                 Supplies&Materials Above/Beyond P… 12/21/2023     99070      $250.00
1135536-04    M.H.            East Tremont Medical Center                 Supplies&Materials Above/Beyond P… 12/21/2023     99070     $1,000.00
1135209-03    C.H.           Manalapan Surgery Center Inc                 Arthroscopy Knee Synovectomy Limi… 10/16/2023     29875     $1,472.45
1135209-03    C.H.           Manalapan Surgery Center Inc                Arthrs Knee W/Meniscectomy Med&La… 10/16/2023      29880     $3,026.24
1135209-03    C.H.           Manalapan Surgery Center Inc                    Unlisted Procedure Arthroscopy…   10/16/2023   29999     $1,472.45
1135209-03    C.H.                    SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/21/2023   62323      $976.38
1135209-03    C.H.                    SCOB LLC                             Perq Intrdscl Electrothrm Annulop…   12/5/2023   22526     $5,211.56
1135209-03    C.H.                    SCOB LLC                            Dcmprn Perq Nucleus Pulposus 1/> …    12/5/2023   62287     $5,292.93
1135209-03    C.H.                    SCOB LLC                            Probe, Percutaneous Lumbar Discec…    12/5/2023   C2614     $2,200.00
1135209-03    C.H.           Manalapan Surgery Center Inc                 Arthroscopy Shoulder Surg Synovec… 12/18/2023     29821     $5,677.77
1135209-03    C.H.           Manalapan Surgery Center Inc                  Arthroscopy Shoulder Surg Debride…  12/18/2023   29823     $1,472.45
1135209-03    C.H.           Manalapan Surgery Center Inc                  Single Nerve Block Injection Arm …  12/18/2023   64415      $979.78
1135209-03    C.H.           Manalapan Surgery Center Inc                 Us Guidance Needle Placement Img … 12/18/2023     76942      $341.96
1135209-03    C.H.                    SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/23/2024   62321      $976.38
1135209-03    C.H.                    SCOB LLC                            Discectomy Ant Dcmprn Cord Cervic… 2/27/2024      63075     $6,402.03
1135209-03    C.H.                    SCOB LLC                            Probe, Percutaneous Lumbar Discec…    2/27/2024   C2614     $2,200.00
1135092-02    D.V.         Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin… 10/13/2023   20553      $279.23
1135092-02    D.V.         Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/13/2023   62323      $980.10
1135092-02    D.V.         Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…  12/5/2023   20610      $473.39
1135092-02    D.V.         Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Dx W/Wo Syno… 12/5/2023       29805     $1,472.45
1135092-02    D.V.         Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…    12/5/2023   29821     $5,677.77
1135092-02    D.V.         Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   12/5/2023   29823     $1,472.45
1135092-02    D.V.         Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   12/5/2023   64415      $979.78

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                                                          1726
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1135092-02    D.V.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …      12/5/2023   76942      $341.96
1136076-01    A.B.            Manalapan Surgery Center Inc                  Arthroscopy Shoulder Surg Synovec…     12/18/2023   29821     $5,677.77
1136076-01    A.B.            Manalapan Surgery Center Inc                  Arthroscopy Shoulder Surg Debride…     12/18/2023   29823     $1,472.45
1136076-01    A.B.            Manalapan Surgery Center Inc                   Single Nerve Block Injection Arm …    12/18/2023   64415      $979.78
1136076-01    A.B.            Manalapan Surgery Center Inc                  Us Guidance Needle Placement Img …     12/18/2023   76942      $341.96
1136076-01    A.B.              Crotona Parkway ASC LLC                       Injection Single/Mlt Trigger Poin…    2/23/2024   20553      $279.23
1136076-01    A.B.              Crotona Parkway ASC LLC                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      2/23/2024   62323      $980.10
1134937-02    S.L.          Island Ambulatory Surgery Center                Under Pressure-Sensing Epidural G…     10/30/2023   0777T      $490.05
1134937-02    S.L.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin…   10/30/2023   20553      $279.23
1134937-02    S.L.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     10/30/2023   62323      $980.10
1134937-02    S.L.        Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Surgical Rep…      12/4/2023   29807     $5,677.77
1134937-02    S.L.        Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Surg Synovec…      12/4/2023   29821     $2,798.20
1134937-02    S.L.        Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Surg Debride…      12/4/2023   29823     $1,472.45
1134937-02    S.L.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder W/Coracoacrm…       12/4/2023   29826     $1,472.45
1134937-02    S.L.        Bronx SC LLC d/b/a Empire State ASC                Single Nerve Block Injection Arm …     12/4/2023   64415      $979.78
1134937-02    S.L.        Bronx SC LLC d/b/a Empire State ASC               Us Guidance Needle Placement Img …      12/4/2023   76942      $341.96
1134937-04    I.P.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      12/8/2023   62323      $976.38
1134937-04    I.P.              Global Surgery Center LLC                    Arthrocentesis Aspir&/Inj Major J…      2/1/2024   20610     $2,700.00
1134937-04    I.P.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Synovec…       2/1/2024   29821     $5,677.77
1134937-04    I.P.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…       2/1/2024   29823     $1,472.45
1134937-04    I.P.              Global Surgery Center LLC                      Unlisted Procedure Arthroscopy…       2/1/2024   29999     $1,472.45
1135738-02    T.S.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin…    1/15/2024   20553      $279.23
1135738-02    T.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      1/15/2024   62323      $980.10
1135738-02    T.S.          Island Ambulatory Surgery Center                 Arthrocentesis Aspir&/Inj Major J…     4/10/2024   20610      $279.23
1135738-02    T.S.          Island Ambulatory Surgery Center                  Injection Procedure For Contrast …    4/10/2024   27369      $833.82
1135738-02    T.S.          Island Ambulatory Surgery Center               Radiologic Exam Knee Arthrography…       4/10/2024   73580      $497.33
1135738-02    T.S.          Island Ambulatory Surgery Center                Njx Pltlt Plasma W/Img Harvest/Pr…      4/24/2024   0232T      $961.00
1135738-02    T.S.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…       5/31/2024   29875     $1,472.45
1135738-02    T.S.        All City Family Healthcare Center, Inc.          Arthrs Kne Surg W/Meniscectomy Me…       5/31/2024   29881     $3,026.24
1135738-02    T.S.        All City Family Healthcare Center, Inc.          Arthroscopy Knee W/Lysis Adhesion…       5/31/2024   29884     $1,472.45
1135966-01    N.P.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…     12/22/2023   29821     $5,677.77
1135966-01    N.P.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…     12/22/2023   29823     $1,472.45
1135966-01    N.P.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …    12/22/2023   29825     $1,472.45
1135966-01    N.P.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…      12/22/2023   29826     $1,472.45
1135966-01    N.P.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…     12/22/2023   29999     $1,472.45
1135966-01    N.P.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …    12/22/2023   64415      $979.78
1135966-01    N.P.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …     12/22/2023   76942      $341.96
1135966-01    N.P.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/11/2024   62323      $980.10
1135966-07    D.P.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…        1/5/2024   29875     $1,472.45
1135966-07    D.P.        All City Family Healthcare Center, Inc.          Arthrs Kne Surg W/Meniscectomy Me…        1/5/2024   29881     $3,026.24
1135966-07    D.P.        All City Family Healthcare Center, Inc.          Arthroscopy Knee W/Lysis Adhesion…        1/5/2024   29884     $1,472.45
1135966-07    D.P.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…       1/5/2024   29999     $1,472.45
1135966-07    D.P.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…      4/26/2024   29821     $5,677.77
1135966-07    D.P.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…      4/26/2024   29823     $1,472.45
1135966-07    D.P.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …     4/26/2024   29825     $1,472.45
1135966-07    D.P.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…       4/26/2024   29826     $1,472.45
1135966-07    D.P.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…      4/26/2024   29999     $1,472.45
1135966-07    D.P.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …     4/26/2024   64415      $979.78
1135966-07    D.P.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …      4/26/2024   76942      $341.96
1135966-07    D.P.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin…    6/11/2024   20553      $279.23
1135966-07    D.P.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/11/2024   62323      $980.10
1135966-07    D.P.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       7/1/2024   64493     $1,960.20
1135966-07    D.P.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       7/1/2024   64494      $980.10
1135966-07    D.P.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       7/1/2024   64495      $980.10
1135966-07    D.P.          Island Ambulatory Surgery Center                 Dstr Nrolytc Agnt Parverteb Fct S…     8/16/2024   64635      $983.52
1135966-07    D.P.          Island Ambulatory Surgery Center                 Dstr Nrolytc Agnt Parverteb Fct A…     8/16/2024   64636      $491.76
1135966-07    D.P.          Island Ambulatory Surgery Center                 Dstr Nrolytc Agnt Parverteb Fct A…     8/16/2024   64636      $491.76
1135966-07    D.P.          Island Ambulatory Surgery Center                 Dstr Nrolytc Agnt Parverteb Fct S…      9/4/2024   64635      $983.52
1135966-07    D.P.          Island Ambulatory Surgery Center                 Dstr Nrolytc Agnt Parverteb Fct A…      9/4/2024   64636      $491.76
1135966-07    D.P.          Island Ambulatory Surgery Center                 Dstr Nrolytc Agnt Parverteb Fct A…      9/4/2024   64636      $491.76
1134793-01    S.Z.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      12/1/2023   62321      $976.38
1134793-01    S.Z.             East Tremont Medical Center                  Njx Pltlt Plasma W/Img Harvest/Pr…      12/9/2023   0232T      $875.92
1134793-01    S.Z.             East Tremont Medical Center                  Anes Arthrs Humeral H/N Strnclav …      12/9/2023    1630      $297.10
1134793-01    S.Z.             East Tremont Medical Center                  Tenotomy Shoulder Multiple Thru S…      12/9/2023   23406     $1,839.77
1134793-01    S.Z.             East Tremont Medical Center                  Arthroscopy Shoulder Surg Synovec…      12/9/2023   29821     $5,677.77
1134793-01    S.Z.             East Tremont Medical Center                  Arthroscopy Shoulder Surg Debride…      12/9/2023   29823     $1,472.45
1134793-01    S.Z.             East Tremont Medical Center                   Arthroscopy Shoulder Ahesiolysis …     12/9/2023   29825     $1,472.45
1134793-01    S.Z.             East Tremont Medical Center                 Arthroscopy Shoulder W/Coracoacrm…       12/9/2023   29826     $1,472.45

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                                                           1727
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1134793-01    S.Z.               East Tremont Medical Center               Unlisted Procedure Arthroscopy…    12/9/2023   29999     $1,472.45
1134793-01    S.Z.               East Tremont Medical Center               Unlisted Procedure Arthroscopy…    12/9/2023   29999     $1,472.45
1134793-01    S.Z.               East Tremont Medical Center             Single Nerve Block Injection Arm …   12/9/2023   64415      $171.32
1134793-01    S.Z.               East Tremont Medical Center            Us Guidance Needle Placement Img …    12/9/2023   76942      $289.20
1134793-01    S.Z.               East Tremont Medical Center             Positioning Bath Chair Shower Sta…   12/9/2023   E1399      $592.50
1134793-01    S.Z.               East Tremont Medical Center             Positioning Bath Chair Shower Sta…   12/9/2023   E1399      $705.00
1134714-01    E.P.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…   11/6/2023   22526     $2,605.78
1134714-01    E.P.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …    11/6/2023   62287     $5,292.93
1134714-01    E.P.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…  11/16/2023   22526     $2,605.78
1134714-01    E.P.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> … 11/16/2023     62287     $5,292.93
1134714-01    E.P.         Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/14/2023   62321      $976.38
1134714-01    E.P.               East Tremont Medical Center             Anes Open/Surg Arthroscopic Proc …    1/6/2024    1400      $267.39
1134714-01    E.P.               East Tremont Medical Center             Arthrocentesis Aspir&/Inj Major J…    1/6/2024   20610      $473.38
1134714-01    E.P.               East Tremont Medical Center            Arthroscopy Knee Synovectomy 2/>C…     1/6/2024   29876     $1,472.45
1134714-01    E.P.               East Tremont Medical Center           Arthrs Knee W/Meniscectomy Med&La… 1/6/2024        29880     $3,026.24
1134714-01    E.P.               East Tremont Medical Center            Arthroscopy Knee W/Lysis Adhesion…     1/6/2024   29884     $1,472.45
1134714-01    E.P.               East Tremont Medical Center               Unlisted Procedure Arthroscopy…     1/6/2024   29999     $1,472.45
1134714-01    E.P.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…   1/11/2024   22526     $2,605.78
1134714-01    E.P.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic… 1/11/2024      63075     $6,402.03
1134714-01    E.P.                Global Surgery Center LLC              Njx Pltlt Plasma W/Img Harvest/Pr…   2/24/2024   0232T     $1,400.00
1134714-01    E.P.                Global Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…    2/24/2024   29821     $5,677.77
1134714-01    E.P.                Global Surgery Center LLC              Arthroscopy Shoulder Surg Debride…   2/24/2024   29822     $1,472.45
1134714-01    E.P.                Global Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …   2/24/2024   29825     $1,472.45
1134714-01    E.P.                Global Surgery Center LLC             Arthroscopy Shoulder W/Coracoacrm… 2/24/2024      29826     $1,472.45
1134714-01    E.P.                Global Surgery Center LLC                Unlisted Procedure Arthroscopy…    2/24/2024   29999     $1,472.45
1134665-02    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/28/2023   62321      $976.38
1134665-02    J.A.                       SCOB LLC                        Njx Pltlt Plasma W/Img Harvest/Pr…  11/16/2023   0232T      $875.92
1134665-02    J.A.                       SCOB LLC                       Tenotomy Shoulder Multiple Thru S… 11/16/2023     23406     $3,679.51
1134665-02    J.A.                       SCOB LLC                       Arthroscopy Shoulder Surg Synovec… 11/16/2023     29821     $5,677.77
1134665-02    J.A.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…  11/16/2023   29823     $2,944.87
1134665-02    J.A.                       SCOB LLC                       Arthroscopy Shoulder W/Coracoacrm… 11/16/2023     29826     $2,944.87
1134665-02    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…   3/12/2024   22526     $5,292.93
1134665-02    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…   3/12/2024   22527     $2,605.78
1134665-02    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…     3/12/2024   64999      $373.99
1134665-02    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…     3/12/2024   64999      $747.93
1134665-02    J.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Diskograpy Cervical/Thoracic Rs&I…     3/12/2024   72285      $962.54
1133734-03    M.D.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/26/2023   62323      $976.38
1133734-03    M.D.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…    11/8/2023   29821     $5,677.77
1133734-03    M.D.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…   11/8/2023   29823     $1,472.45
1133734-03    M.D.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …   11/8/2023   29825     $1,472.45
1133734-03    M.D.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    11/8/2023   29999     $1,472.45
1133734-03    M.D.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    11/8/2023   29999     $1,472.45
1133734-03    M.D.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …   11/8/2023   64415      $979.78
1133734-03    M.D.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …    11/8/2023   76942      $341.96
1134614-02    J.G.               East Tremont Medical Center              Injection Single/Mlt Trigger Poin… 10/23/2023   20553      $236.69
1134614-02    J.G.               East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/23/2023   62323      $976.38
1134614-02    J.G.               East Tremont Medical Center               Anesthesia Lumbar Region Nos…     10/23/2023     630      $297.10
1134614-02    J.G.               East Tremont Medical Center            Us Guidance Needle Placement Img … 10/23/2023     76942      $341.96
1134614-02    J.G.               East Tremont Medical Center             Fluor Needle/Cath Spine/Paraspina…  10/23/2023   77003      $572.53
1134614-02    J.G.            Fifth Avenue Surgery Center LLC            Perq Intrdscl Electrothrm Annulop…   3/22/2024   22526     $2,605.78
1134614-02    J.G.            Fifth Avenue Surgery Center LLC            Perq Intrdscl Electrothrm Annulop…   3/22/2024   22527     $2,605.79
1134614-02    J.G.            Fifth Avenue Surgery Center LLC           Dcmprn Perq Nucleus Pulposus 1/> …    3/22/2024   62287     $5,292.93
1134614-05    J.J.               East Tremont Medical Center             Anes Dx/Ther Nerve Block/Injectio…  11/13/2023    1992      $178.26
1134614-05    J.J.               East Tremont Medical Center              Injection Single/Mlt Trigger Poin… 11/13/2023   20552      $236.69
1134614-05    J.J.               East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/13/2023   62323      $976.38
1134614-05    J.J.               East Tremont Medical Center            Us Guidance Needle Placement Img … 11/13/2023     76942      $341.96
1134614-05    J.J.               East Tremont Medical Center             Fluor Needle/Cath Spine/Paraspina…  11/13/2023   77003      $572.53
1134614-05    J.J.                Hudson Regional Hospital              Collection Venous Blood Venipunct… 11/15/2023     36415       $50.00
1134614-05    J.J.                Hudson Regional Hospital              Collection Venous Blood Venipunct… 11/15/2023     36415       $50.00
1134614-05    J.J.                Hudson Regional Hospital                 Comprehensive Metabolic Panel…    11/15/2023   80053      $150.00
1134614-05    J.J.                Hudson Regional Hospital                 Comprehensive Metabolic Panel…    11/15/2023   80053      $150.00
1134614-05    J.J.                Hudson Regional Hospital              Drug Screen Quant Amphetamines 1 … 11/15/2023     80324      $269.37
1134614-05    J.J.                Hudson Regional Hospital              Drug Screen Quant Amphetamines 1 … 11/15/2023     80324      $269.37
1134614-05    J.J.                Hudson Regional Hospital               Antidepressants Serotonergic Clas…  11/15/2023   80332      $269.37
1134614-05    J.J.                Hudson Regional Hospital               Antidepressants Serotonergic Clas…  11/15/2023   80332      $269.37
1134614-05    J.J.                Hudson Regional Hospital                Antidepressants Tricyclic Other C… 11/15/2023   80335      $270.31
1134614-05    J.J.                Hudson Regional Hospital                Antidepressants Tricyclic Other C… 11/15/2023   80335      $270.31
1134614-05    J.J.                Hudson Regional Hospital                   Drug Screening Barbiturates…    11/15/2023   80345      $269.37

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                                                        1728
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                        Date of     Billing   Amount
                                      Provider                                     Service
 Number      Person                                                                                         Service     Code       Billed
1134614-05     J.J.             Hudson Regional Hospital                  Drug Screening Barbiturates…     11/15/2023   80345      $269.37
1134614-05     J.J.             Hudson Regional Hospital              Drug Screening Benzodiazepines 1-…   11/15/2023   80346      $269.37
1134614-05     J.J.             Hudson Regional Hospital              Drug Screening Benzodiazepines 1-…   11/15/2023   80346      $269.37
1134614-05     J.J.             Hudson Regional Hospital                Drug Screening Buprenorphine…      11/15/2023   80348      $269.37
1134614-05     J.J.             Hudson Regional Hospital                Drug Screening Buprenorphine…      11/15/2023   80348      $269.37
1134614-05     J.J.             Hudson Regional Hospital                   Drug Screening Fentanyl…        11/15/2023   80354      $269.37
1134614-05     J.J.             Hudson Regional Hospital                   Drug Screening Fentanyl…        11/15/2023   80354      $269.37
1134614-05     J.J.             Hudson Regional Hospital             Drug Screening Gabapentin Non-Blo… 11/15/2023      80355      $269.37
1134614-05     J.J.             Hudson Regional Hospital             Drug Screening Gabapentin Non-Blo… 11/15/2023      80355      $269.37
1134614-05     J.J.             Hudson Regional Hospital              Drug Screening Heroin Metabolite…    11/15/2023   80356      $269.37
1134614-05     J.J.             Hudson Regional Hospital              Drug Screening Heroin Metabolite…    11/15/2023   80356      $269.37
1134614-05     J.J.             Hudson Regional Hospital                  Drug Screening Methadone…        11/15/2023   80358      $269.37
1134614-05     J.J.             Hudson Regional Hospital                  Drug Screening Methadone…        11/15/2023   80358      $269.37
1134614-05     J.J.             Hudson Regional Hospital             Drug Screening Methylenedioxyamph… 11/15/2023      80359      $269.37
1134614-05     J.J.             Hudson Regional Hospital             Drug Screening Methylenedioxyamph… 11/15/2023      80359      $269.37
1134614-05     J.J.             Hudson Regional Hospital               Drug Screening Methylphenidate…     11/15/2023   80360      $269.37
1134614-05     J.J.             Hudson Regional Hospital               Drug Screening Methylphenidate…     11/15/2023   80360      $269.37
1134614-05     J.J.             Hudson Regional Hospital              Drug Screening Opiates 1 Or More…    11/15/2023   80361      $538.74
1134614-05     J.J.             Hudson Regional Hospital              Drug Screening Opiates 1 Or More…    11/15/2023   80361      $538.74
1134614-05     J.J.             Hudson Regional Hospital             Drug Screening Opioids And Opiate… 11/15/2023      80362      $537.74
1134614-05     J.J.             Hudson Regional Hospital             Drug Screening Opioids And Opiate… 11/15/2023      80362      $537.74
1134614-05     J.J.             Hudson Regional Hospital                  Drug Screening Oxycodone…        11/15/2023   80365      $269.37
1134614-05     J.J.             Hudson Regional Hospital                  Drug Screening Oxycodone…        11/15/2023   80365      $269.37
1134614-05     J.J.             Hudson Regional Hospital                  Drug Screening Pregabalin…       11/15/2023   80366      $269.37
1134614-05     J.J.             Hudson Regional Hospital                  Drug Screening Pregabalin…       11/15/2023   80366      $269.37
1134614-05     J.J.             Hudson Regional Hospital              Drug Screening Sedative Hypnotics…   11/15/2023   80368      $269.37
1134614-05     J.J.             Hudson Regional Hospital              Drug Screening Sedative Hypnotics…   11/15/2023   80368      $269.37
1134614-05     J.J.             Hudson Regional Hospital              Drug Screening Skeletal Muscle Re…   11/15/2023   80369      $269.37
1134614-05     J.J.             Hudson Regional Hospital              Drug Screening Skeletal Muscle Re…   11/15/2023   80369      $269.37
1134614-05     J.J.             Hudson Regional Hospital                  Drug Screening Tapentadol…       11/15/2023   80372      $269.37
1134614-05     J.J.             Hudson Regional Hospital                  Drug Screening Tapentadol…       11/15/2023   80372      $269.37
1134614-05     J.J.             Hudson Regional Hospital                   Drug Screening Tramadol…        11/15/2023   80373      $269.37
1134614-05     J.J.             Hudson Regional Hospital                   Drug Screening Tramadol…        11/15/2023   80373      $269.37
1134614-05     J.J.             Hudson Regional Hospital              Urnls Dip Stick/Tablet Reagent Au…   11/15/2023   81001      $134.00
1134614-05     J.J.             Hudson Regional Hospital              Urnls Dip Stick/Tablet Reagent Au…   11/15/2023   81001      $134.00
1134614-05     J.J.             Hudson Regional Hospital                Hemoglobin Glycosylated A1C…       11/15/2023   83036       $66.70
1134614-05     J.J.             Hudson Regional Hospital                Hemoglobin Glycosylated A1C…       11/15/2023   83036       $66.70
1134614-05     J.J.             Hudson Regional Hospital            Blood Count Smear Mcrscp W/Mnl Di… 11/15/2023       85007       $56.69
1134614-05     J.J.             Hudson Regional Hospital            Blood Count Smear Mcrscp W/Mnl Di… 11/15/2023       85007       $56.69
1134614-05     J.J.             Hudson Regional Hospital            Blood Count Complete Auto&Auto Di… 11/15/2023       85025      $147.00
1134614-05     J.J.             Hudson Regional Hospital            Blood Count Complete Auto&Auto Di… 11/15/2023       85025      $147.00
1134614-05     J.J.             Hudson Regional Hospital                       Prothrombin Time…           11/15/2023   85610      $143.00
1134614-05     J.J.             Hudson Regional Hospital                       Prothrombin Time…           11/15/2023   85610      $143.00
1134614-05     J.J.             Hudson Regional Hospital              Thromboplastin Time Partial Plasm…   11/15/2023   85730      $147.00
1134614-05     J.J.             Hudson Regional Hospital             Antibody Screen Rbc Each Serum Te… 11/15/2023      86850      $105.80
1134614-05     J.J.             Hudson Regional Hospital             Antibody Screen Rbc Each Serum Te… 11/15/2023      86850      $105.80
1134614-05     J.J.             Hudson Regional Hospital             Antibody Screen Rbc Each Serum Te… 11/15/2023      86850      $147.00
1134614-05     J.J.             Hudson Regional Hospital                 Blood Typing Serologic Abo…       11/15/2023   86900      $498.84
1134614-05     J.J.             Hudson Regional Hospital                 Blood Typing Serologic Abo…       11/15/2023   86900      $498.84
1134614-05     J.J.             Hudson Regional Hospital                Blood Typing Serologic Rh (D)…     11/15/2023   86901       $56.95
1134614-05     J.J.             Hudson Regional Hospital                Blood Typing Serologic Rh (D)…     11/15/2023   86901       $56.95
1134614-05     J.J.             Hudson Regional Hospital              Infectious Agent Detection By Nuc…   11/15/2023   87635     $1,200.00
1134614-05     J.J.             Hudson Regional Hospital              Infectious Agent Detection By Nuc…   11/15/2023   87635     $1,200.00
1134614-05     J.J.             Hudson Regional Hospital               Iadna S Aureus Methicillin Resist…  11/15/2023   87641      $241.40
1134614-05     J.J.             Hudson Regional Hospital               Iadna S Aureus Methicillin Resist…  11/15/2023   87641      $241.40
1134614-05     J.J.             Hudson Regional Hospital             Ecg Routine Ecg W/Least 12 Lds Tr… 11/15/2023      93005      $323.70
1134614-05     J.J.             Hudson Regional Hospital             Ecg Routine Ecg W/Least 12 Lds Tr… 11/15/2023      93005      $323.70
1134614-05     J.J.             Hudson Regional Hospital                Hospital Outpatient Clinic Visit … 11/15/2023   C9803      $115.64
1134614-05     J.J.             Hudson Regional Hospital                Hospital Outpatient Clinic Visit … 11/15/2023   C9803      $115.64
1134614-05     J.J.           East Tremont Medical Center             Anes Open/Surg Arthroscopic Proc …   11/28/2023    1400      $237.68
1134614-05     J.J.           East Tremont Medical Center            Arthroscopy Knee Diagnostic W/Wo … 11/28/2023      29870     $2,944.86
1134614-05     J.J.           East Tremont Medical Center            Arthroscopy Knee Synovectomy 2/>C… 11/28/2023      29876     $2,944.86
1134614-05     J.J.           East Tremont Medical Center            Arthrs Knee Debridement/Shaving A… 11/28/2023      29877     $1,472.45
1134614-05     J.J.           East Tremont Medical Center             Arthrs Knee Abrasion Arthrp/Mlt D… 11/28/2023     29879     $1,472.45
1134614-05     J.J.           East Tremont Medical Center           Arthrs Knee W/Meniscectomy Med&La… 11/28/2023       29880     $3,026.24
1134614-05     J.J.         Fifth Avenue Surgery Center LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/9/2024   62321      $976.38
1134614-05     J.J.         Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulop…    2/23/2024   22526     $2,605.75
1134614-05     J.J.         Fifth Avenue Surgery Center LLC          Discectomy Ant Dcmprn Cord Cervic… 2/23/2024       63075     $6,402.03

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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1134614-05     J.J.           Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/15/2024   62323      $976.38
1133902-01    P.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…      9/20/2023   64999      $829.30
1133902-01    P.K.               East Tremont Medical Center             Anes Arthrs Humeral H/N Strnclav …   12/11/2023    1630      $237.68
1133902-01    P.K.               East Tremont Medical Center             Arthroscopy Shoulder Surgical Rep…   12/11/2023   29807     $5,677.77
1133902-01    P.K.               East Tremont Medical Center            Arthroscopy Shoulder Surg Synovec… 12/11/2023      29821     $2,838.88
1133902-01    P.K.               East Tremont Medical Center             Arthroscopy Shoulder Surg Debride…   12/11/2023   29823     $2,944.86
1133902-01    P.K.               East Tremont Medical Center              Arthroscopy Shoulder Ahesiolysis …  12/11/2023   29825     $1,472.45
1133902-01    P.K.               East Tremont Medical Center            Arthroscopy Shoulder W/Coracoacrm… 12/11/2023      29826     $1,472.45
1133902-01    P.K.               East Tremont Medical Center              Arthroscopy Shoulder Rotator Cuff…  12/11/2023   29827     $2,838.88
1133902-01    P.K.               East Tremont Medical Center              Single Nerve Block Injection Arm …  12/11/2023   64415      $171.32
1133902-01    P.K.               East Tremont Medical Center            Us Guidance Needle Placement Img … 12/11/2023      76942      $289.20
1133902-01    P.K.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…    2/7/2024   22526     $2,605.78
1133902-01    P.K.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…    2/7/2024   22527     $2,605.79
1133902-01    P.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …       2/7/2024   62287     $5,292.93
1134253-01    R.A.         Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   9/13/2023   62321      $976.38
1134253-01    R.A.                 Avicenna Surgery Center              Arthroscopy Shoulder Surg Synovec…     7/12/2024   29821     $5,681.50
1134253-01    R.A.                 Avicenna Surgery Center               Arthroscopy Shoulder Surg Debride…    7/12/2024   29823     $3,029.95
1134253-01    R.A.                 Avicenna Surgery Center                Arthroscopy Shoulder Ahesiolysis …   7/12/2024   29825     $1,514.98
1134253-01    R.A.                 Avicenna Surgery Center              Arthroscopy Shoulder W/Coracoacrm… 7/12/2024       29826     $1,514.98
1134253-01    R.A.                 Avicenna Surgery Center                Single Nerve Block Injection Arm …   7/12/2024   64415      $983.52
1134253-01    R.A.                 Avicenna Surgery Center               Unlisted Procedure Nervous System…    7/12/2024   64999      $416.51
1134253-01    R.A.                 Avicenna Surgery Center               Intermittent Limb Compression Dev…    7/12/2024   E0676      $604.83
1133900-01    C.W.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec… 10/20/2023      29821     $5,677.77
1133900-01    C.W.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…   10/20/2023   29823     $1,472.45
1133900-01    C.W.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …  10/20/2023   29825     $1,472.45
1133900-01    C.W.               Surgicore of Jersey City LLC           Arthroscopy Shoulder W/Coracoacrm… 10/20/2023      29826     $1,472.45
1133900-01    C.W.               Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …  10/20/2023   64415      $979.78
1133900-01    C.W.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img … 10/20/2023      76942      $341.96
1133900-01    C.W.                Bergenfield Surgical Center              Injection Single/Mlt Trigger Poin… 11/17/2023   20552      $554.74
1133900-01    C.W.                Bergenfield Surgical Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/17/2023   62323      $980.10
1133900-01    C.W.                Bergenfield Surgical Center                        Surgical Trays…          11/17/2023   A4550      $750.00
1133900-01    C.W.                Bergenfield Surgical Center              Injection Single/Mlt Trigger Poin…  12/1/2023   20552      $554.74
1133900-01    C.W.                Bergenfield Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/1/2023   62321      $980.10
1133900-01    C.W.                Bergenfield Surgical Center                        Surgical Trays…           12/1/2023   A4550      $750.00
1133900-01    C.W.                Bergenfield Surgical Center              Injection Single/Mlt Trigger Poin…   1/5/2024   20552      $554.74
1133900-01    C.W.                Bergenfield Surgical Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/5/2024   62323      $980.10
1133900-01    C.W.                Bergenfield Surgical Center                        Surgical Trays…            1/5/2024   A4550      $750.00
1133900-01    C.W.                Bergenfield Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/2/2024   64493     $1,960.20
1133900-01    C.W.                Bergenfield Surgical Center                        Surgical Trays…            2/2/2024   A4550      $750.00
1133579-01    F.D.          All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulop…   9/19/2023   22526     $2,605.78
1133579-01    F.D.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …     9/19/2023   62287     $5,292.93
1133579-01    F.D.                Crotona Parkway ASC LLC                  Injection Single/Mlt Trigger Poin…  11/1/2023   20553      $279.23
1133579-01    F.D.                Crotona Parkway ASC LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/1/2023   62321      $980.10
1133658-01    T.B.            Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin…  10/9/2023   20553      $279.23
1133658-01    T.B.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    10/9/2023   62323      $980.10
1133658-01    T.B.          All City Family Healthcare Center, Inc.       Arthrocentesis Aspir&/Inj Major J…  10/26/2023   20610      $473.38
1133658-01    T.B.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 10/26/2023      29875     $1,472.45
1133658-01    T.B.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 10/26/2023       29880     $3,026.24
1133658-01    T.B.          All City Family Healthcare Center, Inc.     Arthroscopy Knee W/Lysis Adhesion… 10/26/2023      29884     $1,472.45
1133658-01    T.B.          All City Family Healthcare Center, Inc.         Unlisted Procedure Arthroscopy…   10/26/2023   29999     $1,472.45
1133658-01    T.B.          All City Family Healthcare Center, Inc.       Injection Anesthetic Agent Femora…  10/26/2023   64447      $979.78
1133658-01    T.B.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img … 10/26/2023      76942      $341.96
1133658-01    T.B.                       SCOB LLC                       Arthroscopy Knee Synovectomy 2/>C… 1/19/2024       29876     $2,944.87
1133658-01    T.B.                       SCOB LLC                        Arthrs Knee Abrasion Arthrp/Mlt D…    1/19/2024   29879     $3,026.24
1133658-01    T.B.                       SCOB LLC                      Arthrs Knee W/Meniscectomy Med&La… 1/19/2024        29880     $2,944.87
1133888-02    T.A.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    11/2/2023   62323      $976.38
1133888-02    T.A.                       SCOB LLC                         Perq Intrdscl Electrothrm Annulop…   1/29/2024   22526     $5,211.56
1133888-02    T.A.                       SCOB LLC                       Dcmprn Perq Nucleus Pulposus 1/> …     1/29/2024   62287     $5,292.93
1133888-02    T.A.                       SCOB LLC                       Probe, Percutaneous Lumbar Discec…     1/29/2024   C2614     $2,000.00
1133888-02    T.A.               Surgicore of Jersey City LLC             Arthroscopy Knee Lateral Release…    2/13/2024   29873     $1,472.45
1133888-02    T.A.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy Limi… 2/13/2024       29875     $1,472.45
1133888-02    T.A.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 2/13/2024        29880     $3,026.24
1133888-02    T.A.               Surgicore of Jersey City LLC           Arthroscopy Knee W/Lysis Adhesion… 2/13/2024       29884     $1,472.45
1134764-02    R.B.            Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin…   2/8/2024   20553      $279.23
1134764-02    R.B.            Island Ambulatory Surgery Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/8/2024   62321      $980.10
1134764-02    R.B.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/22/2024   62323      $980.10
1134764-02    R.B.            Island Ambulatory Surgery Center            Plmt Post Facet Implant Uni/Bi W/…   3/19/2024   0219T     $3,202.87
1134764-02    R.B.            Island Ambulatory Surgery Center             Place Posterior Intrafacet Implan…  3/19/2024   0222T     $2,648.32

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                                                           1730
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1134764-02    R.B.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…   3/19/2024   22526     $2,648.32
1134764-02    R.B.            Island Ambulatory Surgery Center          Dcmprn Perq Nucleus Pulposus 1/> …     3/19/2024   62287     $5,296.65
1134764-02    R.B.            Island Ambulatory Surgery Center           Transection/Avulsion Oth Spinal N…    3/19/2024   64772     $1,114.09
1134764-02    R.B.            Island Ambulatory Surgery Center           Transection/Avulsion Oth Spinal N…    3/19/2024   64772     $1,114.09
1134764-02    R.B.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…    4/13/2024   29821     $5,677.77
1134764-02    R.B.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    4/13/2024   29823     $1,472.45
1134764-02    R.B.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 4/13/2024       29826     $1,472.45
1134764-02    R.B.            Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …   4/13/2024   64415      $979.78
1134764-02    R.B.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     4/13/2024   76942      $341.96
1134764-02    R.B.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…    5/2/2024   22526     $2,648.32
1134764-02    R.B.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…    5/2/2024   22527     $2,648.32
1134764-02    R.B.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…    5/2/2024   22527     $2,648.32
1134764-02    R.B.            Island Ambulatory Surgery Center          Dcmprn Perq Nucleus Pulposus 1/> …      5/2/2024   62287     $5,296.65
1134764-02    R.B.               East Tremont Medical Center             Anes Arthrs Humeral H/N Strnclav …     6/1/2024    1630      $237.68
1134764-02    R.B.               East Tremont Medical Center             Arthroscopy Shoulder Surg Synovec…     6/1/2024   29821     $5,677.77
1134764-02    R.B.               East Tremont Medical Center             Arthroscopy Shoulder Surg Debride…     6/1/2024   29823     $2,944.86
1134764-02    R.B.               East Tremont Medical Center              Arthroscopy Shoulder Ahesiolysis …    6/1/2024   29825     $1,472.45
1134764-02    R.B.               East Tremont Medical Center            Arthroscopy Shoulder W/Coracoacrm…      6/1/2024   29826     $1,472.45
1134764-02    R.B.               East Tremont Medical Center                Unlisted Procedure Arthroscopy…     6/1/2024   29999     $1,472.45
1134764-02    R.B.               East Tremont Medical Center              Single Nerve Block Injection Arm …    6/1/2024   64415      $171.32
1134764-02    R.B.               East Tremont Medical Center            Us Guidance Needle Placement Img …      6/1/2024   76942      $289.20
1133350-02    D.R.            Fifth Avenue Surgery Center LLC             Perq Intrdscl Electrothrm Annulop…  11/13/2023   22526     $2,605.78
1133350-02    D.R.            Fifth Avenue Surgery Center LLC             Perq Intrdscl Electrothrm Annulop…  11/13/2023   22527     $2,605.79
1133350-02    D.R.            Fifth Avenue Surgery Center LLC           Dcmprn Perq Nucleus Pulposus 1/> … 11/13/2023      62287     $5,292.93
1133350-02    D.R.               East Tremont Medical Center             Anes Arthrs/Endscpy Dstl Radius U… 12/12/2023      1830      $237.68
1133350-02    D.R.               East Tremont Medical Center            Synovectomy Extensor Tendon Shth … 12/12/2023      25118     $1,645.00
1133350-02    D.R.               East Tremont Medical Center           Arthrp Wrst W/Wo Interpos W/Wo Xt… 12/12/2023       25332     $2,496.24
1133350-02    D.R.               East Tremont Medical Center             Arthrt Expl Drg/Rmvl Loose/Fb Iph…   12/12/2023   26080     $1,062.52
1133350-02    D.R.               East Tremont Medical Center             Arthroscopy Wrist Surgical Synove…   12/12/2023   29845     $2,944.86
1133350-02    D.R.               East Tremont Medical Center             Arthrs Wrst Exc&/Rpr Triang Fibro… 12/12/2023     29846     $3,026.24
1133350-02    D.R.               East Tremont Medical Center                Unlisted Procedure Arthroscopy…   12/12/2023   29999     $1,472.45
1134381-01    N.P.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee Synovectomy Limi… 11/16/2023      29875     $1,472.45
1134381-01    N.P.         Bronx SC LLC d/b/a Empire State ASC         Arthrs Knee W/Meniscectomy Med&La… 11/16/2023       29880     $3,026.24
1134381-01    N.P.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee W/Lysis Adhesion… 11/16/2023      29884     $1,472.45
1134381-01    N.P.         Bronx SC LLC d/b/a Empire State ASC             Injection Single/Mlt Trigger Poin…  1/14/2024   20553      $236.69
1134381-01    N.P.         Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/14/2024   62323      $976.38
1134381-01    N.P.         Bronx SC LLC d/b/a Empire State ASC            Perq Intrdscl Electrothrm Annulop…    2/4/2024   22526     $2,605.78
1134381-01    N.P.         Bronx SC LLC d/b/a Empire State ASC            Perq Intrdscl Electrothrm Annulop…    2/4/2024   22527     $2,605.79
1134381-01    N.P.         Bronx SC LLC d/b/a Empire State ASC          Dcmprn Perq Nucleus Pulposus 1/> …      2/4/2024   62287     $5,292.93
1134381-01    N.P.                       AMSC LLC                         Perq Intrdscl Electrothrm Annulop…    3/7/2024   22526     $5,212.00
1134381-01    N.P.                       AMSC LLC                         Perq Intrdscl Electrothrm Annulop…    3/7/2024   22527     $5,212.00
1134381-01    N.P.                       AMSC LLC                       Discectomy Ant Dcmprn Cord Cervic…      3/7/2024   63075     $6,402.00
1134381-01    N.P.                       AMSC LLC                       Discectomy Ant Dcmprn Cord Cervic…      3/7/2024   63076     $6,321.00
1133469-03    E.T.            Fifth Avenue Surgery Center LLC              Injection Single/Mlt Trigger Poin… 12/11/2023   20553      $236.69
1133469-03    E.T.            Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/11/2023   62323      $976.38
1133469-03    E.T.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img … 12/11/2023      76942      $341.96
1133469-03    E.T.                       SCOB LLC                        Arthroscopy Shoulder Surgical Rep…    1/12/2024   29807     $5,677.77
1133469-03    E.T.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…    1/12/2024   29823     $2,944.87
1133469-03    E.T.                       SCOB LLC                       Anchor/Screw For Opposing Bone-To… 1/12/2024       C1713      $556.50
1133180-01    S.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…      9/23/2023   29821     $5,677.77
1133180-01    S.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…      9/23/2023   29823     $1,472.45
1133180-01    S.D.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Ahesiolysis …   9/23/2023   29825     $1,472.45
1133180-01    S.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 9/23/2023        29826     $1,472.45
1133180-01    S.D.     NYEEQASC LLC d/b/a North Queens Surgical Center    Single Nerve Block Injection Arm …   9/23/2023   64415      $979.78
1133180-01    S.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …      9/23/2023   76942      $341.96
1133180-01    S.D.            Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin… 10/19/2023   20553      $279.23
1133180-01    S.D.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/19/2023   62321      $980.10
1133192-02    A.M.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/19/2023   62321      $976.38
1133192-02    A.M.                       SCOB LLC                       Discectomy Ant Dcmprn Cord Cervic… 10/10/2023      63075     $6,302.03
1133192-02    A.M.                       SCOB LLC                        Probe, Percutaneous Lumbar Discec… 10/10/2023     C2614     $2,000.00
1133192-02    A.M.              Manalapan Surgery Center Inc           Arthroscopy Shoulder Dx W/Wo Syno… 7/31/2024        29805     $1,472.45
1133192-02    A.M.              Manalapan Surgery Center Inc             Arthroscopy Shoulder Surg Synovec…    7/31/2024   29821     $5,677.77
1133192-02    A.M.              Manalapan Surgery Center Inc             Arthroscopy Shoulder Surg Debride…    7/31/2024   29823     $1,472.45
1133192-02    A.M.              Manalapan Surgery Center Inc              Arthroscopy Shoulder Ahesiolysis …   7/31/2024   29825     $1,472.45
1133192-02    A.M.              Manalapan Surgery Center Inc                Unlisted Procedure Arthroscopy…    7/31/2024   29999     $1,472.45
1133192-02    A.M.              Manalapan Surgery Center Inc              Single Nerve Block Injection Arm …   7/31/2024   64415      $979.78
1133192-02    A.M.              Manalapan Surgery Center Inc            Us Guidance Needle Placement Img …     7/31/2024   76942      $341.96
1133556-02     I.S.         All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/17/2023   62323      $976.38

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                                                          1731
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                             Service     Code       Billed
1133556-02     I.S.            East Tremont Medical Center                 Anes Dx/Ther Nerve Block/Injectio…    2/4/2024    1992      $207.97
1133556-02     I.S.            East Tremont Medical Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/4/2024   62321      $976.38
1133556-02     I.S.            East Tremont Medical Center                         Epidurograpy Rs&I…            2/4/2024   72275      $572.52
1133556-02     I.S.       Bronx SC LLC d/b/a Empire State ASC              Perq Intrdscl Electrothrm Annulop…   3/24/2024   22526     $2,605.78
1133556-02     I.S.       Bronx SC LLC d/b/a Empire State ASC              Perq Intrdscl Electrothrm Annulop…   3/24/2024   22527     $2,605.79
1133556-02     I.S.       Bronx SC LLC d/b/a Empire State ASC             Dcmprn Perq Nucleus Pulposus 1/> …    3/24/2024   62287     $5,292.93
1133556-02     I.S.                    AMSC LLC                            Perq Intrdscl Electrothrm Annulop…   6/14/2024   22526     $5,212.00
1133556-02     I.S.                    AMSC LLC                           Discectomy Ant Dcmprn Cord Cervic… 6/14/2024      63075     $6,402.00
1133642-01    K.B.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surgical Rep…  10/17/2023   29807     $5,596.40
1133642-01    K.B.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Synovec… 10/17/2023     29821     $2,798.20
1133642-01    K.B.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder W/Coracoacrm… 10/17/2023     29826     $1,553.82
1133642-01    K.B.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Rotator Cuff…  10/17/2023   29827     $6,723.47
1133642-01    K.B.           Fifth Avenue Surgery Center LLC               Single Nerve Block Injection Arm …  10/17/2023   64415      $979.78
1133642-01    K.B.           Fifth Avenue Surgery Center LLC              Us Guidance Needle Placement Img … 10/17/2023     76942      $341.96
1133642-01    K.B.                 Hudson Surgery Center                    Injection Single/Mlt Trigger Poin…  12/1/2023   20553      $279.23
1133642-01    K.B.                 Hudson Surgery Center                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/1/2023   62321      $980.10
1133642-01    K.B.                 Hudson Surgery Center                    Injection Single/Mlt Trigger Poin…  1/24/2024   20553      $279.23
1133642-01    K.B.                 Hudson Surgery Center                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/24/2024   62321      $980.10
1133642-01    K.B.                 Hudson Surgery Center                    Injection Single/Mlt Trigger Poin…  8/16/2024   20553      $279.23
1133642-01    K.B.                 Hudson Surgery Center                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/16/2024   62321      $980.10
1133115-01    D.M.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Knee Synovectomy Limi… 1/30/2024      29875     $1,472.45
1133115-01    D.M.     Surgicore LLC d/b/a Surgicore Surgical Center     Arthrs Knee W/Meniscectomy Med&La… 1/30/2024       29880     $3,026.24
1133115-01    D.M.     Surgicore LLC d/b/a Surgicore Surgical Center         Unlisted Procedure Arthroscopy…    1/30/2024   29999     $1,472.45
1133115-01    D.M.                     SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/28/2024   62323      $976.38
1133115-01    D.M.                     SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/24/2024   62321      $976.38
1133122-01    G.H.        All City Family Healthcare Center, Inc.           Injection Single/Mlt Trigger Poin…  9/12/2023   20552      $236.69
1133122-01    G.H.        All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/12/2023   62323      $976.38
1133122-01    G.H.        All City Family Healthcare Center, Inc.         Us Guidance Needle Placement Img …    9/12/2023   76942      $341.96
1133122-01    G.H.        All City Family Healthcare Center, Inc.          Perq Intrdscl Electrothrm Annulop…  10/16/2023   22526     $2,605.78
1133122-01    G.H.        All City Family Healthcare Center, Inc.         Dcmprn Perq Nucleus Pulposus 1/> … 10/16/2023     62287     $5,292.93
1133122-01    G.H.          New York Surgery Center of Queens             Anes Nrv Musc Tndn Fscia Bursa Sh…     6/7/2024    1610      $326.81
1133122-01    G.H.          New York Surgery Center of Queens             Arthroscopy Shoulder Surg Synovec…     6/7/2024   29821     $2,798.20
1133122-01    G.H.          New York Surgery Center of Queens              Arthroscopy Shoulder Surg Debride…    6/7/2024   29823     $1,472.45
1133122-01    G.H.          New York Surgery Center of Queens              Arthroscopy Shoulder Ahesiolysis …    6/7/2024   29825     $1,472.45
1133122-01    G.H.          New York Surgery Center of Queens             Arthroscopy Shoulder W/Coracoacrm…     6/7/2024   29826     $1,472.45
1133122-01    G.H.          New York Surgery Center of Queens             Arthroscopy Shoulder Biceps Tenod…     6/7/2024   29828     $5,677.77
1133122-01    G.H.          New York Surgery Center of Queens                Unlisted Procedure Arthroscopy…     6/7/2024   29999     $1,472.45
1133122-01    G.H.          New York Surgery Center of Queens              Destruction By Neurolytic Agent (…    6/7/2024   64115      $171.32
1133122-01    G.H.          New York Surgery Center of Queens              Injection Anesthetic Agent Supras…    6/7/2024   64418      $161.24
1133122-01    G.H.          New York Surgery Center of Queens             Us Guidance Needle Placement Img …     6/7/2024   76942      $159.06
1133764-01    K.F.        Bronx SC LLC d/b/a Empire State ASC             Arthroscopy Shoulder Surg Synovec… 11/13/2023     29821     $5,677.77
1133764-01    K.F.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder Surg Debride…  11/13/2023   29823     $1,472.45
1133764-01    K.F.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder Ahesiolysis …  11/13/2023   29825     $1,472.45
1133764-01    K.F.        Bronx SC LLC d/b/a Empire State ASC             Arthroscopy Shoulder W/Coracoacrm… 11/13/2023     29826     $1,472.45
1133764-01    K.F.        Bronx SC LLC d/b/a Empire State ASC              Single Nerve Block Injection Arm …  11/13/2023   64415      $979.78
1133764-01    K.F.        Bronx SC LLC d/b/a Empire State ASC             Us Guidance Needle Placement Img … 11/13/2023     76942      $341.96
1133764-01    K.F.              Crotona Parkway ASC LLC                     Injection Single/Mlt Trigger Poin…  1/25/2024   20553      $279.23
1133764-01    K.F.              Crotona Parkway ASC LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/25/2024   62323      $980.10
1133859-01    R.G.             Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/19/2023   62323      $976.38
1133859-01    R.G.             Surgicore of Jersey City LLC                Perq Intrdscl Electrothrm Annulop…    9/2/2023   22526     $2,605.78
1133859-01    R.G.             Surgicore of Jersey City LLC               Dcmprn Perq Nucleus Pulposus 1/> …     9/2/2023   62287     $5,292.93
1133859-01    R.G.          New York Surgery Center of Queens              Anes Arthrs Humeral H/N Strnclav …   10/5/2023    1630      $800.00
1133859-01    R.G.          New York Surgery Center of Queens             Arthroscopy Shoulder Surg Synovec…    10/5/2023   29821     $5,677.77
1133859-01    R.G.          New York Surgery Center of Queens              Arthroscopy Shoulder Surg Debride…   10/5/2023   29823     $1,472.45
1133859-01    R.G.          New York Surgery Center of Queens                Unlisted Procedure Arthroscopy…    10/5/2023   29999     $1,472.45
1133859-01    R.G.          New York Surgery Center of Queens             Us Guidance Needle Placement Img …    10/5/2023   76942      $200.00
1132863-01    M.G.              Global Surgery Center LLC                  Njx Pltlt Plasma W/Img Harvest/Pr…    9/9/2023   0232T     $1,400.00
1132863-01    M.G.              Global Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…     9/9/2023   29821     $5,677.77
1132863-01    M.G.              Global Surgery Center LLC                  Arthroscopy Shoulder Surg Debride…    9/9/2023   29823     $1,472.44
1132863-01    M.G.              Global Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …    9/9/2023   29825     $1,472.44
1132863-01    M.G.              Global Surgery Center LLC                 Arthroscopy Shoulder W/Coracoacrm…     9/9/2023   29826     $1,472.44
1132863-01    M.G.              Global Surgery Center LLC                    Unlisted Procedure Arthroscopy…     9/9/2023   29999     $1,472.44
1132863-01    M.G.        Bronx SC LLC d/b/a Empire State ASC               Injection Single/Mlt Trigger Poin…  10/8/2023   20553      $236.69
1132863-01    M.G.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/8/2023   62321      $976.38
1132863-01    M.G.        Bronx SC LLC d/b/a Empire State ASC             Us Guidance Needle Placement Img …    10/8/2023   76942      $341.96
1132863-01    M.G.        Bronx SC LLC d/b/a Empire State ASC               Injection Single/Mlt Trigger Poin…  11/5/2023   20553      $236.69
1132863-01    M.G.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/5/2023   62323      $976.38
1132863-01    M.G.        Bronx SC LLC d/b/a Empire State ASC             Us Guidance Needle Placement Img …    11/5/2023   76942      $341.96

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                                                           1732
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1132863-01    M.G.       Surgicore LLC d/b/a Surgicore Surgical Center   Perq Intrdscl Electrothrm Annulop…    3/16/2024   22526     $2,605.78
1132863-01    M.G.       Surgicore LLC d/b/a Surgicore Surgical Center   Perq Intrdscl Electrothrm Annulop…    3/16/2024   22527     $2,605.79
1132863-01    M.G.       Surgicore LLC d/b/a Surgicore Surgical Center  Dcmprn Perq Nucleus Pulposus 1/> …     3/16/2024   62287     $5,292.93
1132047-01    R.A.          All City Family Healthcare Center, Inc.       Injection Single/Mlt Trigger Poin…  10/30/2023   20552      $236.69
1132047-01    R.A.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/30/2023   62323      $976.38
1132047-01    R.A.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img … 10/30/2023      76942      $341.96
1132047-01    R.A.             Island Ambulatory Surgery Center          Plmt Post Facet Implt Uni/Bi W/Im…    1/30/2024   0221T     $2,648.32
1132047-01    R.A.             Island Ambulatory Surgery Center            Place Posterior Intrafacet Implan…  1/30/2024   0222T     $2,648.32
1132047-01    R.A.             Island Ambulatory Surgery Center          Perq Intrdscl Electrothrm Annulop…    1/30/2024   22526     $2,648.32
1132047-01    R.A.             Island Ambulatory Surgery Center          Perq Intrdscl Electrothrm Annulop…    1/30/2024   22527     $2,648.32
1132047-01    R.A.             Island Ambulatory Surgery Center          Perq Intrdscl Electrothrm Annulop…    1/30/2024   22527     $2,648.32
1132047-01    R.A.             Island Ambulatory Surgery Center         Dcmprn Perq Nucleus Pulposus 1/> …     1/30/2024   62287     $5,296.65
1132047-01    R.A.             Island Ambulatory Surgery Center          Transection/Avulsion Oth Spinal N…    1/30/2024   64772     $2,228.18
1132047-01    R.A.             Island Ambulatory Surgery Center          Transection/Avulsion Oth Spinal N…    1/30/2024   64772     $2,228.18
1132047-01    R.A.                      Triborough ASC                  Arthroscopy Shoulder Surg Synovec…      5/2/2024   29821     $2,840.75
1132047-01    R.A.                      Triborough ASC                   Arthroscopy Shoulder Surg Debride…     5/2/2024   29823     $3,029.95
1132298-01    F.G.          All City Family Healthcare Center, Inc.       Injection Single/Mlt Trigger Poin…   8/17/2023   20553      $236.69
1132298-01    F.G.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/17/2023   62321      $976.38
1132298-01    F.G.                        AMSC LLC                       Perq Intrdscl Electrothrm Annulop…     4/4/2024   22526     $5,212.00
1132298-01    F.G.                        AMSC LLC                       Perq Intrdscl Electrothrm Annulop…     4/4/2024   22527     $5,212.00
1132298-01    F.G.                        AMSC LLC                      Discectomy Ant Dcmprn Cord Cervic…      4/4/2024   63075     $6,402.00
1132298-01    F.G.                        AMSC LLC                      Discectomy Ant Dcmprn Cord Cervic…      4/4/2024   63076     $6,321.00
1132358-01    A.E.             Island Ambulatory Surgery Center           Injection Single/Mlt Trigger Poin…   8/22/2023   20553      $279.23
1132358-01    A.E.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/22/2023   62323      $980.10
1132358-01    A.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy 2/>C…       9/9/2023   29876     $1,472.45
1132358-01    A.E.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Kne Surg W/Meniscectomy Me… 9/9/2023         29881     $3,026.24
1132328-01    J.G.       Surgicore LLC d/b/a Surgicore Surgical Center    Injection Single/Mlt Trigger Poin…   9/28/2023   20553      $236.69
1132328-01    J.G.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/28/2023   62323      $976.38
1132328-01    J.G.                 Global Surgery Center LLC             Njx Pltlt Plasma W/Img Harvest/Pr…   10/21/2023   0232T     $1,400.00
1132328-01    J.G.                 Global Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…   10/21/2023   20610     $2,700.00
1132328-01    J.G.                 Global Surgery Center LLC            Arthroscopy Knee Synovectomy 2/>C… 10/21/2023      29876     $1,472.44
1132328-01    J.G.                 Global Surgery Center LLC           Arthrs Knee W/Meniscectomy Med&La… 10/21/2023       29880     $3,026.24
1132328-01    J.G.                 Global Surgery Center LLC            Arthroscopy Knee W/Lysis Adhesion… 10/21/2023      29884     $1,472.44
1132328-01    J.G.                 Global Surgery Center LLC               Unlisted Procedure Arthroscopy…    10/21/2023   29999     $1,472.44
1132328-01    J.G.                        AMSC LLC                       Perq Intrdscl Electrothrm Annulop…   12/14/2023   22526     $5,212.00
1132328-01    J.G.                        AMSC LLC                       Perq Intrdscl Electrothrm Annulop…   12/14/2023   22527     $5,212.00
1132328-01    J.G.                        AMSC LLC                      Dcmprn Perq Nucleus Pulposus 1/> … 12/14/2023      62287     $5,293.00
1131885-01     J.I.            Fifth Avenue Surgery Center LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/18/2023   62321      $976.38
1131885-01     J.I.            Island Ambulatory Surgery Center          Perq Intrdscl Electrothrm Annulop…     9/5/2023   22526     $2,648.32
1131885-01     J.I.            Island Ambulatory Surgery Center         Dcmprn Perq Nucleus Pulposus 1/> …      9/5/2023   62287     $5,296.65
1131885-01     J.I.                       SCOB LLC                      Arthroscopy Shoulder Surg Synovec…     10/6/2023   29821     $5,677.77
1131885-01     J.I.                       SCOB LLC                       Arthroscopy Shoulder Surg Debride…    10/6/2023   29823     $2,944.87
1132537-01    A.H.             Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi… 8/26/2023       29875     $3,026.24
1132537-01    A.H.             Fifth Avenue Surgery Center LLC           Arthrs Knee Abrasion Arthrp/Mlt D…    8/26/2023   29879     $1,472.45
1132537-01    A.H.             Fifth Avenue Surgery Center LLC          Arthroscopy Knee W/Lysis Adhesion… 8/26/2023       29884     $1,472.45
1132537-01    A.H.                 Accelerated Surgical Center            Injection Single/Mlt Trigger Poin…  10/18/2023   20553      $161.46
1132537-01    A.H.                 Accelerated Surgical Center            Inject Si Joint Arthrgrphy&/Anes/…  10/18/2023   27096     $1,518.48
1132537-01    A.H.                 Accelerated Surgical Center            Inject Si Joint Arthrgrphy&/Anes/…  10/18/2023   27096     $1,518.48
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/18/2023   64493     $1,518.48
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/18/2023   64493     $1,518.48
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/18/2023   64494      $533.92
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/18/2023   64494      $533.92
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/18/2023   64495      $533.92
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/18/2023   64495      $533.92
1132537-01    A.H.                 Accelerated Surgical Center            Injection Single/Mlt Trigger Poin…  10/25/2023   20553      $161.46
1132537-01    A.H.                 Accelerated Surgical Center            Inject Si Joint Arthrgrphy&/Anes/…  10/25/2023   27096     $1,518.48
1132537-01    A.H.                 Accelerated Surgical Center            Inject Si Joint Arthrgrphy&/Anes/…  10/25/2023   27096     $1,518.48
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/25/2023   64493     $1,518.48
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/25/2023   64493     $1,518.48
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/25/2023   64494      $533.92
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/25/2023   64494      $533.92
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/25/2023   64495      $533.92
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/25/2023   64495      $533.92
1132537-01    A.H.                 Accelerated Surgical Center            Injection Single/Mlt Trigger Poin…   11/1/2023   20553      $161.46
1132537-01    A.H.                 Accelerated Surgical Center            Inject Si Joint Arthrgrphy&/Anes/…   11/1/2023   27096     $1,518.48
1132537-01    A.H.                 Accelerated Surgical Center            Inject Si Joint Arthrgrphy&/Anes/…   11/1/2023   27096     $1,518.48
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/1/2023   64493     $1,518.48
1132537-01    A.H.                 Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/1/2023   64493     $1,518.48

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                                                          1733
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1132537-01    A.H.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/1/2023   64494      $533.92
1132537-01    A.H.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/1/2023   64494      $533.92
1132537-01    A.H.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/1/2023   64495      $533.92
1132537-01    A.H.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/1/2023   64495      $533.92
1132537-01    A.H.              Accelerated Surgical Center                   Injection Single/Mlt Trigger Poin…  7/17/2024   20553      $161.46
1132537-01    A.H.              Accelerated Surgical Center                   Inject Si Joint Arthrgrphy&/Anes/…  7/17/2024   27096     $1,518.48
1132537-01    A.H.              Accelerated Surgical Center                   Inject Si Joint Arthrgrphy&/Anes/…  7/17/2024   27096     $1,518.48
1132537-01    A.H.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/17/2024   64493     $1,518.48
1132537-01    A.H.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/17/2024   64493     $1,518.48
1132537-01    A.H.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/17/2024   64494      $533.92
1132537-01    A.H.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/17/2024   64494      $533.92
1132537-01    A.H.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/17/2024   64495      $533.92
1132537-01    A.H.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/17/2024   64495      $533.92
1132537-01    A.H.              Accelerated Surgical Center                   Injection Single/Mlt Trigger Poin…  7/24/2024   20553      $161.46
1132537-01    A.H.              Accelerated Surgical Center                   Inject Si Joint Arthrgrphy&/Anes/…  7/24/2024   27096     $1,518.48
1132537-01    A.H.              Accelerated Surgical Center                   Inject Si Joint Arthrgrphy&/Anes/…  7/24/2024   27096     $1,518.48
1132537-01    A.H.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L… 7/24/2024       64483     $1,518.48
1132537-01    A.H.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L… 7/24/2024       64483     $1,518.48
1132537-01    A.H.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L… 7/24/2024       64484      $776.84
1132537-01    A.H.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L… 7/24/2024       64484      $776.84
1132537-01    A.H.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L… 7/24/2024       64484      $776.84
1132537-01    A.H.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L… 7/24/2024       64484      $776.84
1131717-01    S.D.          Island Ambulatory Surgery Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/4/2023   62321      $980.10
1131717-01    S.D.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Knee Synovectomy Limi… 2/23/2024       29875     $1,472.45
1131717-01    S.D.        Bronx SC LLC d/b/a Empire State ASC             Arthrs Knee W/Meniscectomy Med&La… 2/23/2024        29880     $3,026.24
1131717-01    S.D.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Knee W/Lysis Adhesion… 2/23/2024       29884     $1,472.45
1131717-01    S.D.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder Surg Synovec…     6/28/2024   29821     $5,596.40
1131717-01    S.D.        Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Surg Debride…    6/28/2024   29823     $1,472.45
1131717-01    S.D.        Bronx SC LLC d/b/a Empire State ASC                Arthroscopy Shoulder Ahesiolysis …   6/28/2024   29825     $1,472.45
1131717-01    S.D.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder W/Coracoacrm… 6/28/2024       29826     $1,553.82
1131717-01    S.D.        Bronx SC LLC d/b/a Empire State ASC                Arthroscopy Shoulder Rotator Cuff…   6/28/2024   29827     $6,723.47
1131717-01    S.D.        Bronx SC LLC d/b/a Empire State ASC                Single Nerve Block Injection Arm …   6/28/2024   64415      $979.78
1131717-01    S.D.        Bronx SC LLC d/b/a Empire State ASC              Us Guidance Needle Placement Img …     6/28/2024   76942      $341.96
1132244-02    A.C.          Fifth Avenue Surgery Center LLC                   Injection Single/Mlt Trigger Poin… 11/17/2023   20553      $236.69
1132244-02    A.C.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/17/2023   62323      $976.38
1132244-02    A.C.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img … 11/17/2023      76942      $341.96
1132244-02    A.C.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…    3/5/2024   22526     $2,648.32
1132244-02    A.C.                   Triborough ASC                        Dcmprn Perq Nucleus Pulposus 1/> …      3/5/2024   62287     $5,296.65
1132244-02    A.C.                   Triborough ASC                        Probe, Percutaneous Lumbar Discec…      3/5/2024   C2614      $800.00
1132707-03    C.M.        Bronx SC LLC d/b/a Empire State ASC                 Inject Si Joint Arthrgrphy&/Anes/…  8/16/2023   27096      $429.53
1132707-03    C.M.        Bronx SC LLC d/b/a Empire State ASC                 Inject Si Joint Arthrgrphy&/Anes/…  8/16/2023   27096      $940.42
1132707-03    C.M.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/25/2023   62323      $976.38
1132707-03    C.M.               Avicenna Surgery Center                   Arthroscopy Shoulder Surg Synovec…     11/8/2023   29821     $5,681.50
1132707-03    C.M.               Avicenna Surgery Center                    Arthroscopy Shoulder Surg Debride…    11/8/2023   29822     $1,514.98
1132707-03    C.M.               Avicenna Surgery Center                     Arthroscopy Shoulder Ahesiolysis …   11/8/2023   29825     $3,029.95
1132707-03    C.M.               Avicenna Surgery Center                   Arthroscopy Shoulder W/Coracoacrm… 11/8/2023       29826     $1,514.98
1132707-03    C.M.               Avicenna Surgery Center                     Arthroscopy Shoulder Rotator Cuff…   11/8/2023   29827     $5,681.50
1132707-03    C.M.               Avicenna Surgery Center                     Single Nerve Block Injection Arm …   11/8/2023   64415      $983.52
1132707-03    C.M.               Avicenna Surgery Center                    Unlisted Procedure Nervous System…    11/8/2023   64999      $416.51
1132707-03    C.M.               Avicenna Surgery Center                   Arthroscopy Knee Synovectomy 2/>C… 2/14/2024       29876     $3,029.95
1132707-03    C.M.               Avicenna Surgery Center                    Arthrs Knee Abrasion Arthrp/Mlt D…    2/14/2024   29879     $1,514.98
1132707-03    C.M.               Avicenna Surgery Center                  Arthrs Knee W/Meniscectomy Med&La… 2/14/2024        29880     $1,514.98
1132707-03    C.M.               Avicenna Surgery Center                   Arthroscopy Knee W/Lysis Adhesion… 2/14/2024       29884     $1,514.98
1132707-03    C.M.               Avicenna Surgery Center                     Injection Anesthetic Agent Femora…   2/14/2024   64447      $983.52
1132707-03    C.M.               Avicenna Surgery Center                    Unlisted Procedure Nervous System…    2/14/2024   64999      $416.51
1132707-03    C.M.               Avicenna Surgery Center                    Intermittent Limb Compression Dev…    2/14/2024   E0676      $604.83
1132707-03    C.M.        Bronx SC LLC d/b/a Empire State ASC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/14/2024   62321      $976.38
1131255-02    S.A.                     SCOB LLC                              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/8/2023   62321      $976.38
1131255-02    S.A.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…   8/31/2023   20610      $473.38
1131255-02    S.A.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 8/31/2023       29875     $1,472.45
1131255-02    S.A.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 8/31/2023        29880     $3,026.24
1131255-02    S.A.        All City Family Healthcare Center, Inc.          Arthroscopy Knee W/Lysis Adhesion… 8/31/2023       29884     $1,472.45
1131255-02    S.A.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…    8/31/2023   29999     $1,472.45
1131255-02    S.A.        All City Family Healthcare Center, Inc.            Injection Anesthetic Agent Femora…   8/31/2023   64447      $829.30
1131255-02    S.A.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     8/31/2023   76942      $341.96
1131102-03    A.R.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/26/2023   62323      $976.38
1131102-03    A.R.                     SCOB LLC                              Arthrocentesis Aspir&/Inj Major J…    8/9/2023   20610      $473.39
1131102-03    A.R.                     SCOB LLC                            Arthroscopy Shoulder Surg Synovec…      8/9/2023   29821     $5,677.77

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                                                           1734
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1131102-03    A.R.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…     8/9/2023   29823     $2,944.87
1131102-03    A.R.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    8/16/2023   22526     $2,605.78
1131102-03    A.R.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …     8/16/2023   62287     $5,292.93
1131077-03    E.M.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy Limi… 8/24/2023       29875     $1,472.45
1131077-03    E.M.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 8/24/2023        29880     $3,026.24
1131077-03    E.M.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…  11/20/2023   20553      $279.23
1131077-03    E.M.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/20/2023   62323      $980.10
1131077-04    A.A.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy Limi… 8/24/2023       29875     $1,472.45
1131077-04    A.A.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 8/24/2023        29880     $3,026.24
1131077-04    A.A.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…  12/14/2023   20553      $279.23
1131077-04    A.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/14/2023   62321      $980.10
1131077-04    A.A.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…  12/28/2023   20553      $279.23
1131077-04    A.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/28/2023   62323      $980.10
1131077-04    A.A.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…   2/28/2024   20553      $279.23
1131077-04    A.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/28/2024   62321      $980.10
1131880-01    J.C.               Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/19/2023   62323      $976.38
1131880-01    J.C.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…     8/24/2023   29821     $5,596.40
1131880-01    J.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…    8/24/2023   29823     $1,472.45
1131880-01    J.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …    8/24/2023   29825     $1,472.45
1131880-01    J.C.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 8/24/2023       29826     $1,553.82
1131880-01    J.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Rotator Cuff…    8/24/2023   29827     $6,723.47
1131880-01    J.C.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …    8/24/2023   64415      $979.78
1131880-01    J.C.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     8/24/2023   76942      $341.96
1131880-01    J.C.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulop…     9/2/2023   22526     $2,605.78
1131880-01    J.C.               Surgicore of Jersey City LLC           Dcmprn Perq Nucleus Pulposus 1/> …      9/2/2023   62287     $5,292.93
1131880-01    J.C.               Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/23/2023   62321      $976.38
1131880-01    J.C.               Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/28/2023   62321      $976.38
1131880-01    J.C.                Hudson Regional Hospital              Collection Venous Blood Venipunct…     11/2/2023   36415       $50.00
1131880-01    J.C.                Hudson Regional Hospital                 Radiologic Exam Chest 2 Views…      11/2/2023   71046      $541.40
1131880-01    J.C.                Hudson Regional Hospital                 Comprehensive Metabolic Panel…      11/2/2023   80053      $150.00
1131880-01    J.C.                Hudson Regional Hospital              Drug Screen Quant Amphetamines 1 … 11/2/2023       80324      $269.37
1131880-01    J.C.                Hudson Regional Hospital                Antidepressants Serotonergic Clas…   11/2/2023   80332      $269.37
1131880-01    J.C.                Hudson Regional Hospital                Antidepressants Tricyclic Other C…   11/2/2023   80335      $270.31
1131880-01    J.C.                Hudson Regional Hospital                   Drug Screening Barbiturates…      11/2/2023   80345      $269.37
1131880-01    J.C.                Hudson Regional Hospital               Drug Screening Benzodiazepines 1-…    11/2/2023   80346      $269.37
1131880-01    J.C.                Hudson Regional Hospital                 Drug Screening Buprenorphine…       11/2/2023   80348      $269.37
1131880-01    J.C.                Hudson Regional Hospital                    Drug Screening Fentanyl…         11/2/2023   80354      $269.37
1131880-01    J.C.                Hudson Regional Hospital              Drug Screening Gabapentin Non-Blo…     11/2/2023   80355      $269.37
1131880-01    J.C.                Hudson Regional Hospital               Drug Screening Heroin Metabolite…     11/2/2023   80356      $269.37
1131880-01    J.C.                Hudson Regional Hospital                   Drug Screening Methadone…         11/2/2023   80358      $269.37
1131880-01    J.C.                Hudson Regional Hospital              Drug Screening Methylenedioxyamph… 11/2/2023       80359      $269.37
1131880-01    J.C.                Hudson Regional Hospital                Drug Screening Methylphenidate…      11/2/2023   80360      $269.37
1131880-01    J.C.                Hudson Regional Hospital               Drug Screening Opiates 1 Or More…     11/2/2023   80361      $538.74
1131880-01    J.C.                Hudson Regional Hospital              Drug Screening Opioids And Opiate…     11/2/2023   80362      $537.74
1131880-01    J.C.                Hudson Regional Hospital                   Drug Screening Oxycodone…         11/2/2023   80365      $269.37
1131880-01    J.C.                Hudson Regional Hospital                   Drug Screening Pregabalin…        11/2/2023   80366      $269.37
1131880-01    J.C.                Hudson Regional Hospital               Drug Screening Sedative Hypnotics…    11/2/2023   80368      $269.37
1131880-01    J.C.                Hudson Regional Hospital               Drug Screening Skeletal Muscle Re…    11/2/2023   80369      $269.37
1131880-01    J.C.                Hudson Regional Hospital                   Drug Screening Tapentadol…        11/2/2023   80372      $269.37
1131880-01    J.C.                Hudson Regional Hospital                    Drug Screening Tramadol…         11/2/2023   80373      $269.37
1131880-01    J.C.                Hudson Regional Hospital               Urnls Dip Stick/Tablet Reagent Au…    11/2/2023   81001      $134.00
1131880-01    J.C.                Hudson Regional Hospital                 Hemoglobin Glycosylated A1C…        11/2/2023   83036       $66.70
1131880-01    J.C.                Hudson Regional Hospital             Blood Count Complete Auto&Auto Di… 11/2/2023        85025      $147.00
1131880-01    J.C.                Hudson Regional Hospital                        Prothrombin Time…            11/2/2023   85610      $143.00
1131880-01    J.C.                Hudson Regional Hospital               Thromboplastin Time Partial Plasm…    11/2/2023   85730      $147.00
1131880-01    J.C.                Hudson Regional Hospital              Antibody Screen Rbc Each Serum Te…     11/2/2023   86850      $105.80
1131880-01    J.C.                Hudson Regional Hospital                  Blood Typing Serologic Abo…        11/2/2023   86900      $498.84
1131880-01    J.C.                Hudson Regional Hospital                 Blood Typing Serologic Rh (D)…      11/2/2023   86901       $56.95
1131880-01    J.C.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…    11/2/2023   87635     $1,200.00
1131880-01    J.C.                Hudson Regional Hospital                Iadna S Aureus Methicillin Resist…   11/2/2023   87641      $241.40
1131880-01    J.C.                Hudson Regional Hospital              Ecg Routine Ecg W/Least 12 Lds Tr…     11/2/2023   93005      $323.70
1131880-01    J.C.                Hudson Regional Hospital                 Hospital Outpatient Clinic Visit …  11/2/2023   C9803      $115.64
1131247-01    W.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       9/8/2023   62323      $976.38
1131247-01    W.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/22/2023   62321      $976.38
1131247-01    W.C.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…     10/2/2023   29821     $5,677.77
1131247-01    W.C.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…     10/2/2023   29821     $5,677.77
1131247-01    W.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …    10/2/2023   29825     $1,472.45
1131247-01    W.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …    10/2/2023   29825     $1,472.45

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                                                           1735
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1131247-01    W.C.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 10/2/2023      29826      $1,472.45
1131247-01    W.C.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 10/2/2023      29826      $1,472.45
1131247-01    W.C.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …   10/2/2023   64415       $979.78
1131247-01    W.C.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …    10/2/2023   76942       $341.96
1131247-01    W.C.               East Tremont Medical Center                     Removal Of Sutures…         11/30/2023   D0630       $445.65
1131157-01    D.K.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/5/2023   62321       $976.38
1131157-01    D.K.          All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulop…  7/26/2023   22526      $2,605.78
1131157-01    D.K.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic… 7/26/2023      63075      $6,402.03
1131157-01    D.K.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…   9/6/2023   20610       $473.39
1131157-01    D.K.                       SCOB LLC                       Arthroscopy Shoulder Surg Synovec…     9/6/2023   29821      $5,677.77
1131157-01    D.K.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…    9/6/2023   29823      $2,944.87
1131157-01    D.K.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/24/2023   62323       $976.38
1131157-01    D.K.          All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulop…  10/2/2023   22526      $2,605.78
1131157-01    D.K.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …    10/2/2023   62287      $5,292.93
1130982-01    M.H.         Rockland & Bergen Surgery Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/30/2023   62323       $976.38
1130982-01    M.H.                  Bergen County Surgery                Injection Px Discography Each Lev…   12/8/2023   62290      $1,256.74
1130982-01    M.H.                  Bergen County Surgery                Injection Px Discography Each Lev…   12/8/2023   62290      $1,256.74
1130982-01    M.H.                  Bergen County Surgery                Injection Px Discography Each Lev…   12/8/2023   62290      $1,256.74
1130747-01    Y.K.                  Hudson Surgery Center                 Injection Single/Mlt Trigger Poin…  7/26/2023   20553       $279.23
1130747-01    Y.K.                  Hudson Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/26/2023   62321       $980.10
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…   8/1/2023   20610       $473.39
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder Dx W/Wo Syno…      8/1/2023   29805      $1,472.45
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…     8/1/2023   29821      $5,677.77
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    8/1/2023   29823      $1,472.45
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    8/1/2023   64415       $979.78
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     8/1/2023   76942       $341.96
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…   8/8/2023   20610       $473.39
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder Dx W/Wo Syno…      8/8/2023   29805      $1,472.45
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…     8/8/2023   29821      $5,677.77
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    8/8/2023   29823      $1,472.45
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    8/8/2023   64415       $979.78
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     8/8/2023   76942       $341.96
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…  8/15/2023   20610       $473.39
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 8/15/2023      29875      $1,472.45
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC          Arthrs Kne Surg W/Meniscectomy Me… 8/15/2023       29881      $3,026.24
1130747-01    Y.K.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…   9/9/2023   22526      $5,292.93
1130747-01    Y.K.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…   9/9/2023   22527      $2,605.78
1130747-01    Y.K.               Surgicore of Jersey City LLC            Unlisted Procedure Nervous System…    9/9/2023   64999       $747.93
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J… 12/12/2023   20610       $473.39
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 12/12/2023     29875      $1,472.45
1130747-01    Y.K.            Fifth Avenue Surgery Center LLC          Arthrs Kne Surg W/Meniscectomy Me… 12/12/2023      29881      $3,026.24
1130747-01    Y.K.                  Hudson Surgery Center                 Injection Single/Mlt Trigger Poin…  5/30/2024   20553       $279.23
1130747-01    Y.K.                  Hudson Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/30/2024   62323       $980.10
1136698-02    S.N.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  12/20/2023   62323       $976.38
1136698-02    S.N.         Health East Ambulatory Surgical Center       Arthroscopy Knee Synovectomy 2/>C…     1/3/2024   29876      $3,997.71
1136698-02    S.N.         Health East Ambulatory Surgical Center      Arthrs Knee W/Meniscectomy Med&La… 1/3/2024        29880      $3,997.71
1136698-02    S.N.         Health East Ambulatory Surgical Center        Injection Anesthetic Agent Femora…    1/3/2024   64447      $1,000.00
1136698-02    S.N.         Health East Ambulatory Surgical Center        Unlisted Procedure Nervous System…    1/3/2024   64999      $1,000.00
1136698-02    S.N.          All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulop…   2/4/2024   22526      $2,605.78
1136698-02    S.N.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …     2/4/2024   62287      $5,292.93
1136698-02    S.N.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/18/2024   62321       $976.38
1136698-02    S.N.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…  3/21/2024   22526      $5,292.93
1136698-02    S.N.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…     3/21/2024   64999       $747.93
1136698-02    S.N.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/26/2024   62321       $976.38
1131868-02    A.G.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…  1/13/2024   22526      $2,605.78
1131868-02    A.G.               Surgicore of Jersey City LLC           Dcmprn Perq Nucleus Pulposus 1/> …    1/13/2024   62287      $5,292.93
1131868-02    A.G.             Progressive Surgical Center LLC            Perq Intrdscl Electrothrm Annulop…  3/27/2024   22526     $12,040.00
1131868-02    A.G.             Progressive Surgical Center LLC            Perq Intrdscl Electrothrm Annulop…  3/27/2024   22527     $10,318.00
1131868-02    A.G.             Progressive Surgical Center LLC           Injection Px Discography Each Lev…   3/27/2024   62290     $16,059.00
1131868-02    A.G.             Progressive Surgical Center LLC           Injection Px Discography Each Lev…   3/27/2024   62290     $16,059.00
1131868-02    A.G.             Progressive Surgical Center LLC          Discectomy Ant Dcmprn Cord Cervic… 3/27/2024      63075     #########
1131868-02    A.G.             Progressive Surgical Center LLC          Discectomy Ant Dcmprn Cord Cervic… 3/27/2024      63076     #########
1131868-02    A.G.             Progressive Surgical Center LLC                Diskograpy Lumbar Rs&I…         3/27/2024   72295     $17,074.00
1131868-02    A.G.             Progressive Surgical Center LLC                Diskograpy Lumbar Rs&I…         3/27/2024   72295     $17,074.00
1131868-02    A.G.             Progressive Surgical Center LLC             Surgical Supply; Miscellaneous…    3/27/2024   A4649      $1,150.00
1130695-01    E.R.               Crotona Parkway ASC LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/31/2023   62323       $980.10
1130695-01    E.R.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surg Debride…   9/19/2023   29823      $3,026.24
1130695-01    E.R.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Ahesiolysis …   9/19/2023   29825      $1,472.45

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                                                          1736
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1130695-01    E.R.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder W/Coracoacrm… 9/19/2023       29826     $1,472.45
1130695-01    E.R.        Bronx SC LLC d/b/a Empire State ASC               Single Nerve Block Injection Arm …    9/19/2023   64415      $979.78
1130695-01    E.R.        Bronx SC LLC d/b/a Empire State ASC              Us Guidance Needle Placement Img …     9/19/2023   76942      $341.96
1130695-01    E.R.             Crotona Parkway ASC LLC                       Perq Intrdscl Electrothrm Annulop…   10/4/2023   22526     $2,648.32
1130695-01    E.R.             Crotona Parkway ASC LLC                     Dcmprn Perq Nucleus Pulposus 1/> …     10/4/2023   62287     $5,296.65
1130695-01    E.R.             Crotona Parkway ASC LLC                       Injection Single/Mlt Trigger Poin…  12/20/2023   20553      $279.23
1130695-01    E.R.             Crotona Parkway ASC LLC                      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/20/2023   62321      $980.10
1130789-04    X.B.        All City Family Healthcare Center, Inc.            Injection Single/Mlt Trigger Poin…    8/7/2023   20552      $236.69
1130789-04    X.B.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     8/7/2023   62323      $976.38
1130789-04    X.B.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …      8/7/2023   76942      $341.96
1130789-04    X.B.       Ambulatory Surgical Center of Englewood             Arthrocentesis Aspir&/Inj Major J…   11/1/2023   20610       $78.98
1130789-04    X.B.       Ambulatory Surgical Center of Englewood           Arthroscopy Knee Synovectomy Limi… 11/1/2023       29875     $1,998.86
1130789-04    X.B.       Ambulatory Surgical Center of Englewood           Arthroscopy Knee Synovectomy 2/>C… 11/1/2023       29876     $1,998.86
1130789-04    X.B.       Ambulatory Surgical Center of Englewood          Arthrs Knee W/Meniscectomy Med&La… 11/1/2023        29880     $3,997.72
1130789-04    X.B.       Ambulatory Surgical Center of Englewood               Unlisted Procedure Arthroscopy…    11/1/2023   29999     $1,998.86
1129822-01    P.M.        All City Family Healthcare Center, Inc.            Injection Single/Mlt Trigger Poin…   8/15/2023   20552      $236.69
1129822-01    P.M.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/15/2023   62323      $976.38
1129822-01    P.M.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     8/15/2023   76942      $341.96
1129822-01    P.M.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…   9/18/2023   22526     $2,605.78
1129822-01    P.M.        All City Family Healthcare Center, Inc.          Dcmprn Perq Nucleus Pulposus 1/> …     9/18/2023   62287     $5,292.93
1129822-01    P.M.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/16/2024   62321      $976.38
1129822-01    P.M.        Bronx SC LLC d/b/a Empire State ASC                Perq Intrdscl Electrothrm Annulop…   7/11/2024   22526     $5,292.93
1129822-01    P.M.        Bronx SC LLC d/b/a Empire State ASC               Unlisted Procedure Nervous System…    7/11/2024   64999      $747.94
1129822-01    P.M.        Bronx SC LLC d/b/a Empire State ASC              Diskograpy Cervical/Thoracic Rs&I…     7/11/2024   72285      $962.54
1129822-01    P.M.                     AMSC LLC                              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   8/14/2024   64490      $976.00
1129822-01    P.M.                     AMSC LLC                              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   8/14/2024   64491     $1,790.00
1129822-01    P.M.                     AMSC LLC                              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   8/14/2024   64492     $1,790.00
1129822-01    P.M.                     AMSC LLC                                      Epidurograpy Rs&I…           8/14/2024   72275      $573.00
1129994-01    C.I.             East Tremont Medical Center                   Perq Intrdscl Electrothrm Annulop…   8/13/2023   22526     $2,605.78
1129994-01    C.I.             East Tremont Medical Center                   Perq Intrdscl Electrothrm Annulop…   8/13/2023   22527     $2,605.78
1129994-01    C.I.             East Tremont Medical Center                 Dcmprn Perq Nucleus Pulposus 1/> …     8/13/2023   62287     $5,293.93
1129994-01    C.I.             East Tremont Medical Center                  Injection Px Discography Each Lev…    8/13/2023   62290      $748.72
1129994-01    C.I.             East Tremont Medical Center                     Anesthesia Lumbar Region Nos…      8/13/2023     630      $386.23
1129994-01    C.I.             East Tremont Medical Center                        Diskograpy Lumbar Rs&I…         8/13/2023   72295      $521.95
1129994-01    C.I.             East Tremont Medical Center                  Infectious Agent Detection By Nuc…    8/13/2023   87635       $15.00
1129994-01    C.I.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    12/7/2023   62323      $976.38
1130422-01    M.O.              Global Surgery Center LLC                    Arthrocentesis Aspir&/Inj Major J…  10/13/2023   20610     $2,700.00
1130422-01    M.O.              Global Surgery Center LLC                  Arthroscopy Shoulder Surg Synovec… 10/13/2023      29821     $1,472.44
1130422-01    M.O.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…   10/13/2023   29823     $5,677.77
1130422-01    M.O.              Global Surgery Center LLC                   Arthroscopy Shoulder Ahesiolysis …   10/13/2023   29825     $1,472.44
1130422-01    M.O.              Global Surgery Center LLC                      Unlisted Procedure Arthroscopy…   10/13/2023   29999     $1,472.44
1130422-01    M.O.             East Tremont Medical Center                  Anes Open/Surg Arthroscopic Proc …    11/9/2023    1400      $207.97
1130422-01    M.O.             East Tremont Medical Center                   Arthrocentesis Aspir&/Inj Major J…   11/9/2023   20610      $554.74
1130422-01    M.O.             East Tremont Medical Center                 Arthroscopy Knee Diagnostic W/Wo … 11/9/2023       29870     $2,944.86
1130422-01    M.O.             East Tremont Medical Center                 Arthroscopy Knee Synovectomy 2/>C… 11/9/2023       29876     $1,472.45
1130422-01    M.O.             East Tremont Medical Center                Arthrs Knee W/Meniscectomy Med&La… 11/9/2023        29880     $3,026.24
1130422-01    M.O.             East Tremont Medical Center                 Arthroscopy Knee W/Lysis Adhesion… 11/9/2023       29884     $1,472.45
1130422-01    M.O.             East Tremont Medical Center                     Unlisted Procedure Arthroscopy…    11/9/2023   29999     $1,472.45
1130422-01    M.O.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/11/2023   62323      $976.38
1130422-01    M.O.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…   1/11/2024   22526     $2,605.78
1130422-01    M.O.        All City Family Healthcare Center, Inc.          Dcmprn Perq Nucleus Pulposus 1/> …     1/11/2024   62287     $5,292.93
1130714-01    L.B.        All City Family Healthcare Center, Inc.            Injection Single/Mlt Trigger Poin…   7/31/2023   20552      $236.69
1130714-01    L.B.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/31/2023   62323      $976.38
1130714-01    L.B.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     7/31/2023   76942      $341.96
1130714-01    L.B.              Global Surgery Center LLC                   Njx Pltlt Plasma W/Img Harvest/Pr…     8/3/2023   0232T     $1,400.00
1130714-01    L.B.              Global Surgery Center LLC                  Arthroscopy Shoulder Surg Synovec…      8/3/2023   29821     $1,472.44
1130714-01    L.B.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…     8/3/2023   29823     $5,677.77
1130714-01    L.B.              Global Surgery Center LLC                   Arthroscopy Shoulder Ahesiolysis …     8/3/2023   29825     $1,472.44
1130714-01    L.B.              Global Surgery Center LLC                  Arthroscopy Shoulder W/Coracoacrm…      8/3/2023   29826     $1,472.44
1130714-01    L.B.              Global Surgery Center LLC                      Unlisted Procedure Arthroscopy…     8/3/2023   29999     $1,472.44
1130311-01    M.M.            Manalapan Surgery Center Inc                 Arthroscopy Knee Synovectomy Limi… 7/15/2023       29875     $1,472.45
1130311-01    M.M.            Manalapan Surgery Center Inc                Arthrs Knee W/Meniscectomy Med&La… 7/15/2023        29880     $3,026.24
1130311-01    M.M.            Manalapan Surgery Center Inc                 Arthroscopy Knee W/Lysis Adhesion… 7/15/2023       29884     $1,472.45
1130311-01    M.M.            Manalapan Surgery Center Inc                     Unlisted Procedure Arthroscopy…    7/15/2023   29999     $1,472.45
1130311-01    M.M.            Manalapan Surgery Center Inc                     Unlisted Procedure Arthroscopy…    7/15/2023   29999     $1,472.45
1130311-01    M.M.            Manalapan Surgery Center Inc                    Injection Anesthetic Agent Sciati…  7/15/2023   64445      $829.30
1130311-01    M.M.            Manalapan Surgery Center Inc                 Us Guidance Needle Placement Img …     7/15/2023   76942      $341.96
1130311-01    M.M.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     8/9/2023   62323      $976.38

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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1130311-01    M.M.                      SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…   9/28/2023   20610      $473.39
1130311-01    M.M.                      SCOB LLC                         Tenotomy Shoulder Area 1 Tendon…     9/28/2023   23405     $3,679.51
1130311-01    M.M.                      SCOB LLC                        Arthroscopy Shoulder Surg Synovec…    9/28/2023   29821     $5,677.77
1130311-01    M.M.                      SCOB LLC                         Arthroscopy Shoulder Surg Debride…   9/28/2023   29823     $2,944.87
1130311-01    M.M.                      SCOB LLC                        Arthroscopy Shoulder W/Coracoacrm… 9/28/2023      29826     $2,944.87
1129790-01    J.S.                 Hudson Surgery Center                  Injection Single/Mlt Trigger Poin… 10/10/2023   20553      $279.23
1129790-01    J.S.                 Hudson Surgery Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/10/2023   62321      $980.10
1129790-01    J.S.           Fifth Avenue Surgery Center LLC             Perq Intrdscl Electrothrm Annulop…  10/26/2023   22526     $5,292.93
1129790-01    J.S.           Fifth Avenue Surgery Center LLC             Unlisted Procedure Nervous System…  10/26/2023   64999      $747.93
1128949-01    A.S.              East Tremont Medical Center               Injection Single/Mlt Trigger Poin…  6/22/2023   20552      $236.69
1128949-01    A.S.              East Tremont Medical Center              Anesthesia Cervical Spine & Cord …   6/22/2023     600      $386.23
1128949-01    A.S.              East Tremont Medical Center              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/22/2023   62321      $976.38
1128949-01    A.S.              East Tremont Medical Center             Us Guidance Needle Placement Img …    6/22/2023   76942      $341.96
1128949-01    A.S.              East Tremont Medical Center              Fluor Needle/Cath Spine/Paraspina…   6/22/2023   77003      $572.53
1128949-01    A.S.              East Tremont Medical Center              Infectious Agent Detection By Nuc…   6/22/2023   87635      $100.00
1128949-01    A.S.              East Tremont Medical Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   6/29/2023   64490     $1,423.90
1128949-01    A.S.              East Tremont Medical Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   6/29/2023   64491      $671.25
1128949-01    A.S.              East Tremont Medical Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   6/29/2023   64492      $671.25
1128949-01    A.S.              East Tremont Medical Center              Fluor Needle/Cath Spine/Paraspina…   6/29/2023   77003      $572.53
1128949-01    A.S.         Bronx SC LLC d/b/a Empire State ASC           Perq Intrdscl Electrothrm Annulop…   9/21/2023   22526     $2,605.78
1128949-01    A.S.         Bronx SC LLC d/b/a Empire State ASC           Perq Intrdscl Electrothrm Annulop…   9/21/2023   22527     $2,605.79
1128949-01    A.S.         Bronx SC LLC d/b/a Empire State ASC          Dcmprn Perq Nucleus Pulposus 1/> …    9/21/2023   62287     $5,292.93
1128949-01    A.S.               Global Surgery Center LLC               Njx Pltlt Plasma W/Img Harvest/Pr…   9/29/2023   0232T     $1,400.00
1128949-01    A.S.               Global Surgery Center LLC              Arthroscopy Shoulder Surg Synovec…    9/29/2023   29821     $5,677.77
1128949-01    A.S.               Global Surgery Center LLC               Arthroscopy Shoulder Surg Debride…   9/29/2023   29823     $1,472.44
1128949-01    A.S.               Global Surgery Center LLC               Arthroscopy Shoulder Ahesiolysis …   9/29/2023   29825     $1,472.44
1128949-01    A.S.               Global Surgery Center LLC              Arthroscopy Shoulder W/Coracoacrm… 9/29/2023      29826     $1,472.44
1128949-01    A.S.               Global Surgery Center LLC                 Unlisted Procedure Arthroscopy…    9/29/2023   29999     $1,472.44
1128949-03    D.R.               Crotona Parkway ASC LLC                  Injection Single/Mlt Trigger Poin…  8/31/2023   20553      $279.23
1128949-03    D.R.               Crotona Parkway ASC LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/31/2023   62323      $980.10
1128949-03    D.R.           Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec… 10/14/2023     29821     $5,677.77
1128949-03    D.R.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…  10/14/2023   29823     $1,472.45
1128949-03    D.R.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …  10/14/2023   29825     $1,472.45
1128949-03    D.R.           Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder W/Coracoacrm… 10/14/2023     29826     $1,472.45
1128949-03    D.R.           Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…   10/14/2023   29999     $1,472.45
1128949-03    D.R.           Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …  10/14/2023   64415      $979.78
1128949-03    D.R.           Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img … 10/14/2023     76942      $341.96
1129098-01    Y.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/30/2023   62321      $976.38
1129098-01    Y.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/17/2023   62323      $976.38
1129098-01    Y.G.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…   7/1/2023   20553      $473.39
1129098-01    Y.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…    7/1/2023   22526     $2,605.78
1129098-01    Y.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …      7/1/2023   62287     $5,292.93
1129098-01    Y.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      9/9/2023   62323      $976.38
1129098-01    Y.G.                      SCOB LLC                        Arthroscopy Knee Synovectomy 2/>C… 9/21/2023      29876     $3,026.24
1129098-01    Y.G.                      SCOB LLC                       Arthrs Knee W/Meniscectomy Med&La… 9/21/2023       29880     $2,944.87
1129098-01    Y.G.                      SCOB LLC                           Unlisted Procedure Arthroscopy…    9/21/2023   29999     $2,944.87
1129098-01    Y.G.           Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin…  1/17/2024   20553      $279.23
1129098-01    Y.G.           Island Ambulatory Surgery Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/17/2024   62321      $980.10
1129098-01    Y.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/23/2024   62323      $976.38
1129098-01    Y.G.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…  4/20/2024   20553      $236.70
1129098-01    Y.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…   4/20/2024   22526     $5,292.93
1129098-01    Y.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…   4/20/2024   22527     $2,605.79
1129098-01    Y.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…     4/20/2024   64999      $373.98
1129098-01    Y.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…     4/20/2024   64999      $747.93
1129098-01    Y.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Diskograpy Cervical/Thoracic Rs&I…     4/20/2024   72285      $962.54
1129801-02    K.S.         Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/16/2023   62323      $976.38
1129801-02    K.S.                Avicenna Surgery Center               Arthroscopy Shoulder Surg Synovec…    9/22/2023   29821     $5,681.50
1129801-02    K.S.                Avicenna Surgery Center                Arthroscopy Shoulder Surg Debride…   9/22/2023   29823     $3,029.95
1129801-02    K.S.                Avicenna Surgery Center               Arthroscopy Shoulder W/Coracoacrm… 9/22/2023      29826     $1,514.98
1129801-02    K.S.                Avicenna Surgery Center                Single Nerve Block Injection Arm …   9/22/2023   64415      $983.52
1129801-02    K.S.                Avicenna Surgery Center                Unlisted Procedure Nervous System…   9/22/2023   64999      $416.51
1129625-02    M.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     7/25/2023   62323      $976.38
1129625-02    M.V.              East Tremont Medical Center              Anes Open/Surg Arthroscopic Proc …   8/28/2023    1400      $267.39
1129625-02    M.V.              East Tremont Medical Center              Infectious Agent Detection By Nuc…   8/28/2023   87635      $100.00
1129625-02    M.V.                    Triborough ASC                     Perq Intrdscl Electrothrm Annulop…  11/27/2023   22526     $2,648.32
1129625-02    M.V.                    Triborough ASC                    Dcmprn Perq Nucleus Pulposus 1/> … 11/27/2023     62287     $5,296.65
1129625-02    M.V.              East Tremont Medical Center              Anes Arthrs Humeral H/N Strnclav …  12/12/2023    1630      $237.68
1129625-02    M.V.              East Tremont Medical Center            Arthroscopy Shoulder Dx W/Wo Syno… 12/12/2023      29805     $3,026.23

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1129625-02    M.V.             East Tremont Medical Center                  Arthroscopy Shoulder Surg Synovec…     12/12/2023   29821     $2,838.88
1129625-02    M.V.             East Tremont Medical Center                  Arthroscopy Shoulder Surg Debride…     12/12/2023   29823     $2,944.86
1129625-02    M.V.             East Tremont Medical Center                   Arthroscopy Shoulder Ahesiolysis …    12/12/2023   29825     $1,472.45
1129625-02    M.V.             East Tremont Medical Center                 Arthroscopy Shoulder W/Coracoacrm…      12/12/2023   29826     $1,472.45
1129625-02    M.V.             East Tremont Medical Center                     Unlisted Procedure Arthroscopy…     12/12/2023   29999     $1,472.45
1129625-02    M.V.             East Tremont Medical Center                   Single Nerve Block Injection Arm …    12/12/2023   64415      $171.32
1129625-02    M.V.             East Tremont Medical Center                  Us Guidance Needle Placement Img …     12/12/2023   76942      $289.20
1128948-05    E.G.                     SCOB LLC                              Arthrocentesis Aspir&/Inj Major J…     7/26/2023   20610      $473.39
1128948-05    E.G.                     SCOB LLC                            Arthroscopy Knee Synovectomy 2/>C…       7/26/2023   29876     $3,026.24
1128948-05    E.G.                     SCOB LLC                            Arthrs Kne Surg W/Meniscectomy Me…       7/26/2023   29881     $2,944.87
1128948-05    E.G.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       8/6/2023   62323      $976.38
1129415-01    J.R.        All City Family Healthcare Center, Inc.             Injection Single/Mlt Trigger Poin…    8/28/2023   20552      $236.69
1129415-01    J.R.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      8/28/2023   62323      $976.38
1129415-01    J.R.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …      8/28/2023   76942      $341.96
1129415-01    J.R.                     SCOB LLC                              Arthrocentesis Aspir&/Inj Major J…      2/8/2024   20610      $473.39
1129415-01    J.R.                     SCOB LLC                             Arthroscopy Shoulder Surgical Rep…       2/8/2024   29807     $5,677.77
1129415-01    J.R.                     SCOB LLC                             Arthroscopy Shoulder Surg Synovec…       2/8/2024   29821     $5,596.40
1129415-01    J.R.                     SCOB LLC                            Anchor/Screw For Opposing Bone-To…        2/8/2024   C1713      $556.50
1129550-02    K.S.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      5/25/2023   62323      $976.38
1129550-02    K.S.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      6/14/2023   62321      $976.38
1129550-02    K.S.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      9/13/2023   62323      $976.38
1129550-02    K.S.               Avicenna Surgery Center                    Arthroscopy Shoulder Surg Synovec…      4/10/2024   29821     $5,681.50
1129550-02    K.S.               Avicenna Surgery Center                    Arthroscopy Shoulder Surg Debride…      4/10/2024   29823     $1,514.98
1129550-02    K.S.               Avicenna Surgery Center                   Arthroscopy Shoulder W/Coracoacrm…       4/10/2024   29826     $1,514.98
1129550-02    K.S.               Avicenna Surgery Center                     Single Nerve Block Injection Arm …     4/10/2024   64415      $983.52
1129550-02    K.S.               Avicenna Surgery Center                    Unlisted Procedure Nervous System…      4/10/2024   64999      $416.51
1129037-03    F.D.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      9/27/2023   62321      $980.10
1129037-03    F.D.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi…        4/2/2024   29875     $1,472.45
1129037-03    F.D.          Fifth Avenue Surgery Center LLC                Arthrs Kne Surg W/Meniscectomy Me…        4/2/2024   29881     $3,026.24
1129189-01    J.V.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       6/9/2023   62323      $976.38
1129189-01    J.V.                     SCOB LLC                             Arthroscopy Shoulder Surgical Rep…      6/23/2023   29807     $5,596.40
1129189-01    J.V.                     SCOB LLC                             Arthroscopy Shoulder Surg Debride…      6/23/2023   29823     $2,944.87
1129189-01    J.V.                     SCOB LLC                             Arthroscopy Shoulder Rotator Cuff…      6/23/2023   29827     $5,677.77
1129189-01    J.V.                     SCOB LLC                            Anchor/Screw For Opposing Bone-To…       6/23/2023   C1713     $2,226.00
1129189-01    J.V.          Fifth Avenue Surgery Center LLC                  Perq Intrdscl Electrothrm Annulop…      8/4/2023   22526     $2,605.78
1129189-01    J.V.          Fifth Avenue Surgery Center LLC                  Perq Intrdscl Electrothrm Annulop…      8/4/2023   22527     $2,605.78
1129189-01    J.V.          Fifth Avenue Surgery Center LLC                 Dcmprn Perq Nucleus Pulposus 1/> …       8/4/2023   62287     $5,292.93
1128346-01    L.R.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…     10/19/2023   29821     $5,677.77
1128346-01    L.R.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…     10/19/2023   29823     $1,472.45
1128346-01    L.R.             Surgicore of Jersey City LLC                  Arthroscopy Shoulder Ahesiolysis …    10/19/2023   29825     $1,472.45
1128346-01    L.R.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm…      10/19/2023   29826     $1,472.45
1128346-01    L.R.             Surgicore of Jersey City LLC                    Unlisted Procedure Arthroscopy…     10/19/2023   29999     $1,472.45
1128346-01    L.R.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …    10/19/2023   64415      $979.78
1128346-01    L.R.             Surgicore of Jersey City LLC                 Us Guidance Needle Placement Img …     10/19/2023   76942      $341.96
1128346-01    L.R.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/29/2023   62323      $980.10
1128346-01    L.R.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin…     6/2/2024   20553      $279.23
1128346-01    L.R.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       6/2/2024   62323      $980.10
1128354-01    P.A.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       6/4/2024   62323      $980.10
1128354-01    P.A.        All City Family Healthcare Center, Inc.            Repair Lateral Collateral Ligamen…     6/19/2024   24343     $3,290.01
1128354-01    P.A.        All City Family Healthcare Center, Inc.           Tnot Elbow Lateral/Medial Debride…      6/19/2024   24359     $1,604.32
1128354-01    P.A.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …     6/19/2024   64415      $979.78
1128354-01    P.A.        All City Family Healthcare Center, Inc.          Neurp Major Prph Nrv Arm/Leg Opn …       6/19/2024   64708     $1,071.54
1128354-01    P.A.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …      6/19/2024   76942      $341.96
1128278-01    L.M.             Citimed Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…      5/23/2023   29823     $2,944.87
1128278-01    L.M.             Citimed Surgery Center LLC                  Arthroscopy Shoulder W/Coracoacrm…       5/23/2023   29826     $2,944.87
1128278-01    L.M.             Citimed Surgery Center LLC                   Arthroscopy Shoulder Rotator Cuff…      5/23/2023   29827     $5,677.77
1128278-01    L.M.             Citimed Surgery Center LLC                  Anchor/Screw For Opposing Bone-To…       5/23/2023   C1713      $556.50
1128278-01    L.M.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/26/2023   62323      $976.38
1127969-02    H.L.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Knee Synovectomy Limi…        6/6/2023   29875     $1,472.45
1127969-02    H.L.        Bronx SC LLC d/b/a Empire State ASC              Arthrs Kne Surg W/Meniscectomy Me…        6/6/2023   29881     $3,026.24
1127969-02    H.L.        Bronx SC LLC d/b/a Empire State ASC                  Unlisted Procedure Arthroscopy…       6/6/2023   29999     $1,472.45
1127969-02    H.L.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/15/2023   62323      $976.38
1127969-02    H.L.                     SCOB LLC                              Perq Intrdscl Electrothrm Annulop…     3/25/2024   22526     $5,211.56
1127969-02    H.L.                     SCOB LLC                             Dcmprn Perq Nucleus Pulposus 1/> …      3/25/2024   62287     $5,292.93
1127969-02    H.L.                     SCOB LLC                             Probe, Percutaneous Lumbar Discec…      3/25/2024   C2614     $2,200.00
1128942-01    J.A.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/23/2023   62323      $976.38
1128942-01    J.A.             Citimed Surgery Center LLC                   Arthroscopy Shoulder Surg Synovec…      7/25/2023   29821     $5,677.77
1128942-01    J.A.             Citimed Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…      7/25/2023   29823     $2,944.87

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                                                          1739
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1128942-01    J.A.              Citimed Surgery Center LLC                 Arthroscopy Shoulder W/Coracoacrm… 7/25/2023      29826     $2,944.87
1127353-03    A.C.                 Hudson Surgery Center                     Injection Single/Mlt Trigger Poin…  5/26/2023   20553      $279.23
1127353-03    A.C.                 Hudson Surgery Center                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/26/2023   62323      $980.10
1127353-03    A.C.                 Hudson Surgery Center                     Injection Single/Mlt Trigger Poin…   6/9/2023   20553      $279.23
1127353-03    A.C.                 Hudson Surgery Center                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/9/2023   62321      $980.10
1127353-03    A.C.                 Hudson Surgery Center                     Injection Single/Mlt Trigger Poin…  8/23/2023   20553      $279.23
1127353-03    A.C.                 Hudson Surgery Center                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/23/2023   62323      $980.10
1127353-03    A.C.                 Hudson Surgery Center                     Injection Single/Mlt Trigger Poin…  9/20/2023   20553      $279.23
1127353-03    A.C.                 Hudson Surgery Center                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   9/20/2023   62321      $980.10
1127353-03    A.C.        Rockland & Bergen Surgery Center LLC              Arthroscopy Shoulder Surg Debride…    4/9/2024   29823     $3,026.24
1127353-03    A.C.        Rockland & Bergen Surgery Center LLC             Arthroscopy Shoulder W/Coracoacrm…     4/9/2024   29826     $1,472.45
1127353-03    A.C.        Rockland & Bergen Surgery Center LLC              Single Nerve Block Injection Arm …    4/9/2024   64415      $979.78
1127353-03    A.C.        Rockland & Bergen Surgery Center LLC             Us Guidance Needle Placement Img …     4/9/2024   76942      $341.96
1127994-01    B.J.           Fifth Avenue Surgery Center LLC                 Arthrocentesis Aspir&/Inj Major J…   6/6/2023   20610      $473.39
1127994-01    B.J.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Dx W/Wo Syno…      6/6/2023   29805     $1,472.45
1127994-01    B.J.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Synovec…     6/6/2023   29821     $5,677.77
1127994-01    B.J.           Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Debride…    6/6/2023   29823     $1,472.45
1127994-01    B.J.           Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Ahesiolysis …    6/6/2023   29825     $1,472.45
1127994-01    B.J.           Fifth Avenue Surgery Center LLC                Single Nerve Block Injection Arm …    6/6/2023   64415      $979.78
1127994-01    B.J.           Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …     6/6/2023   76942      $341.96
1127994-01    B.J.               Baldwin Medical Services                   Office Consultation New/Estab Pat…   9/18/2023   99245      $410.08
1127994-01    B.J.               Baldwin Medical Services                   Prolng E/M Svc Before&/After Dir …   9/25/2023   99358      $280.12
1127514-01    A.G.          Rockaways ASC Development LLC                    Injection Single/Mlt Trigger Poin…   6/8/2023   20552      $236.69
1127514-01    A.G.          Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/8/2023   62323      $976.38
1127514-01    A.G.          Rockaways ASC Development LLC                  Us Guidance Needle Placement Img …     6/8/2023   76942      $341.96
1127514-01    A.G.            Healthplus Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl C… 1/31/2024      64479     $1,428.99
1127514-01    A.G.            Healthplus Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl C… 1/31/2024      64480     $1,347.62
1127633-02    M.B.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…  5/17/2023   20553      $279.23
1127633-02    M.B.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/17/2023   62323      $980.10
1127633-02    M.B.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…  5/24/2023   20553      $279.23
1127633-02    M.B.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/24/2023   62321      $980.10
1127633-02    M.B.                   Triborough ASC                         Perq Intrdscl Electrothrm Annulop…  10/30/2023   22526     $2,648.32
1127633-02    M.B.                   Triborough ASC                              Unlisted Procedure Spine…      10/30/2023   22899     $5,296.65
1127633-02    M.B.        Bronx SC LLC d/b/a Empire State ASC               Perq Intrdscl Electrothrm Annulop…   1/28/2024   22526     $2,605.78
1127633-02    M.B.        Bronx SC LLC d/b/a Empire State ASC              Dcmprn Perq Nucleus Pulposus 1/> …    1/28/2024   62287     $5,292.93
1127336-01    M.U.                      SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   7/19/2023   62323      $976.38
1127336-01    M.U.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/10/2023   62323      $976.38
1127697-01    A.C.           Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/23/2023   62323      $976.38
1127697-01    A.C.           Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/11/2023   62321      $976.38
1127697-01    A.C.              Bergenfield Surgical Center                 Arthroscopy Wrist Surgical Synove…   7/12/2024   29845     $3,026.23
1127697-01    A.C.              Bergenfield Surgical Center                Ndsc Wrst Surg W/Rls Transvrs Car…    7/12/2024   29848     $3,026.23
1127697-01    A.C.              Bergenfield Surgical Center                            Surgical Trays…           7/12/2024   A4550      $750.00
1127669-02    R.R.             East Tremont Medical Center                  Anes Arthrs Humeral H/N Strnclav …    6/1/2023    1630      $237.68
1127669-02    R.R.             East Tremont Medical Center                 Arthroscopy Shoulder Surg Synovec…     6/1/2023   29821     $5,677.77
1127669-02    R.R.             East Tremont Medical Center                  Arthroscopy Shoulder Surg Debride…    6/1/2023   29823     $2,944.86
1127669-02    R.R.             East Tremont Medical Center                    Unlisted Procedure Arthroscopy…     6/1/2023   29999     $1,472.45
1127669-02    R.R.             East Tremont Medical Center                  Infectious Agent Detection By Nuc…    6/1/2023   87635       $15.00
1127669-02    R.R.        Health East Ambulatory Surgical Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/7/2023   62321     $1,012.32
1127669-02    R.R.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…            8/7/2023   72275      $750.00
1127669-02    R.R.        All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…    8/5/2024   22526     $2,605.78
1127669-02    R.R.        All City Family Healthcare Center, Inc.          Dcmprn Perq Nucleus Pulposus 1/> …     8/5/2024   62287     $5,292.93
1127713-01    A.T.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…     2/4/2024   29821     $5,677.77
1127713-01    A.T.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    2/4/2024   29823     $1,472.45
1127713-01    A.T.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    2/4/2024   29825     $1,472.45
1127713-01    A.T.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…     2/4/2024   29826     $1,472.45
1127713-01    A.T.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    2/4/2024   64415      $979.78
1127713-01    A.T.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     2/4/2024   76942      $341.96
1127713-01    A.T.              Citimed Surgery Center LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/2/2024   62323      $976.38
1127940-04    E.S.          Rockaways ASC Development LLC                    Injection Single/Mlt Trigger Poin…  5/23/2023   20552      $236.69
1127940-04    E.S.          Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/23/2023   62323      $976.38
1127940-04    E.S.          Rockaways ASC Development LLC                  Us Guidance Needle Placement Img …    5/23/2023   76942      $341.96
1127940-04    E.S.       Ambulatory Surgical Center of Englewood             Arthrocentesis Aspir&/Inj Major J…  6/21/2023   20610       $78.98
1127940-04    E.S.       Ambulatory Surgical Center of Englewood           Arthroscopy Knee Synovectomy 2/>C… 6/21/2023      29876     $1,998.86
1127940-04    E.S.       Ambulatory Surgical Center of Englewood          Arthrs Knee W/Meniscectomy Med&La… 6/21/2023       29880     $3,997.72
1127940-04    E.S.       Ambulatory Surgical Center of Englewood              Unlisted Procedure Arthroscopy…    6/21/2023   29999     $1,998.86
1127940-04    E.S.       Ambulatory Surgical Center of Englewood              Unlisted Procedure Arthroscopy…    6/21/2023   29999     $1,998.86
1126866-01    K.S.           Fifth Avenue Surgery Center LLC                 Arthrocentesis Aspir&/Inj Major J…   5/2/2023   20610      $473.39
1126866-01    K.S.           Fifth Avenue Surgery Center LLC               Arthroscopy Knee Synovectomy Limi…     5/2/2023   29875     $1,472.45

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                                                          1740
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1126866-01    K.S.           Fifth Avenue Surgery Center LLC             Arthrs Kne Surg W/Meniscectomy Me… 5/2/2023         29881     $3,026.24
1126866-01    K.S.           Island Ambulatory Surgery Center              Arthroscopy Shoulder Surg Synovec…    7/19/2023   29821     $5,681.50
1126866-01    K.S.           Island Ambulatory Surgery Center             Arthroscopy Shoulder W/Coracoacrm… 7/19/2023       29826     $1,514.97
1126923-02    S.C.               Crotona Parkway ASC LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/20/2023   62323      $980.10
1126923-02    S.C.               Crotona Parkway ASC LLC                     Injection Single/Mlt Trigger Poin…  5/18/2023   20553      $279.23
1126923-02    S.C.               Crotona Parkway ASC LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/18/2023   62321      $980.10
1126923-02    S.C.               Crotona Parkway ASC LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/15/2023   64493     $1,960.20
1126923-02    S.C.               Crotona Parkway ASC LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/15/2023   64494      $980.10
1126923-02    S.C.               Crotona Parkway ASC LLC                   Plmt Post Facet Implt Uni/Bi W/Im…    7/25/2023   0221T     $2,648.32
1126923-02    S.C.               Crotona Parkway ASC LLC                     Place Posterior Intrafacet Implan…  7/25/2023   0222T     $2,648.32
1126923-02    S.C.               Crotona Parkway ASC LLC                   Autograft Spine Surgery Morselize…    7/25/2023   20937     $3,202.87
1126923-02    S.C.               Crotona Parkway ASC LLC                    Perq Intrdscl Electrothrm Annulop…   7/25/2023   22526     $2,648.32
1126923-02    S.C.               Crotona Parkway ASC LLC                    Perq Intrdscl Electrothrm Annulop…   7/25/2023   22527     $2,648.32
1126923-02    S.C.               Crotona Parkway ASC LLC                  Dcmprn Perq Nucleus Pulposus 1/> …     7/25/2023   62287     $5,296.65
1126923-02    S.C.               Crotona Parkway ASC LLC                   Transection/Avulsion Oth Spinal N…    7/25/2023   64772     $1,114.09
1126923-02    S.C.               Crotona Parkway ASC LLC                   Transection/Avulsion Oth Spinal N…    7/25/2023   64772     $1,114.09
1126923-02    S.C.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder Surg Synovec…    8/25/2023   29821     $5,677.77
1126923-02    S.C.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder Surg Debride…    8/25/2023   29823     $1,472.45
1126923-02    S.C.        Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Ahesiolysis …   8/25/2023   29825     $1,472.45
1126923-02    S.C.        Bronx SC LLC d/b/a Empire State ASC             Arthroscopy Shoulder W/Coracoacrm… 8/25/2023       29826     $1,472.45
1126923-02    S.C.        Bronx SC LLC d/b/a Empire State ASC               Single Nerve Block Injection Arm …   8/25/2023   64415      $979.78
1126923-02    S.C.        Bronx SC LLC d/b/a Empire State ASC             Us Guidance Needle Placement Img …     8/25/2023   76942      $341.96
1126923-02    S.C.               Crotona Parkway ASC LLC                     Injection Single/Mlt Trigger Poin… 12/29/2023   20553      $279.23
1126923-02    S.C.               Crotona Parkway ASC LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/29/2023   62323      $980.10
1127913-01    T.P.          Rockaways ASC Development LLC                    Injection Single/Mlt Trigger Poin…   6/1/2023   20553      $236.69
1127913-01    T.P.          Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/1/2023   62323      $976.38
1127913-01    T.P.     Surgicore LLC d/b/a Surgicore Surgical Center        Perq Intrdscl Electrothrm Annulop…  10/14/2023   22526     $2,605.78
1127913-01    T.P.     Surgicore LLC d/b/a Surgicore Surgical Center        Perq Intrdscl Electrothrm Annulop…  10/14/2023   22527     $2,605.79
1127913-01    T.P.     Surgicore LLC d/b/a Surgicore Surgical Center      Dcmprn Perq Nucleus Pulposus 1/> … 10/14/2023      62287     $5,292.93
1127913-01    T.P.                      AMSC LLC                             Injection Single/Mlt Trigger Poin…   2/1/2024   20552      $473.00
1127913-01    T.P.                      AMSC LLC                            Inject Si Joint Arthrgrphy&/Anes/…    2/1/2024   27096      $940.37
1127372-02    E.E.          Rockaways ASC Development LLC                    Injection Single/Mlt Trigger Poin…  5/25/2023   20552      $236.69
1127372-02    E.E.          Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/25/2023   62321      $976.38
1127372-02    E.E.          Rockaways ASC Development LLC                 Us Guidance Needle Placement Img …     5/25/2023   76942      $341.96
1127372-02    E.E.          Rockaways ASC Development LLC                   Perq Intrdscl Electrothrm Annulop…    6/1/2023   22526     $2,605.78
1127372-02    E.E.          Rockaways ASC Development LLC                 Discectomy Ant Dcmprn Cord Cervic…      6/1/2023   63075     $6,402.03
1127372-02    E.E.                      SCOB LLC                            Arthrocentesis Aspir&/Inj Major J…    6/7/2023   20610      $473.39
1127372-02    E.E.                      SCOB LLC                           Arthroscopy Shoulder Surgical Cap…     6/7/2023   29806     $5,677.77
1127372-02    E.E.                      SCOB LLC                           Arthroscopy Shoulder Surgical Rep…     6/7/2023   29807     $5,596.40
1127372-02    E.E.                      SCOB LLC                           Arthroscopy Shoulder Surg Debride…     6/7/2023   29823     $2,944.87
1127372-02    E.E.                      SCOB LLC                          Arthroscopy Shoulder W/Coracoacrm…      6/7/2023   29826     $2,944.87
1127372-02    E.E.                      SCOB LLC                          Anchor/Screw For Opposing Bone-To…      6/7/2023   C1713     $1,113.00
1127908-04    C.R.          Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/12/2023   62321      $976.38
1127908-04    C.R.          Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/26/2023   62323      $976.38
1127908-04    C.R.              Citimed Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…     8/8/2023   29821     $5,677.77
1127908-04    C.R.              Citimed Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…     8/8/2023   29823     $2,944.87
1127046-02    T.A.        All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/24/2023   62321      $976.38
1127046-02    T.A.               Crotona Parkway ASC LLC                 Arthrs Knee W/Meniscectomy Med&La… 6/6/2023         29880     $3,029.95
1127046-02    T.A.               Crotona Parkway ASC LLC                    Arthroscopy, Knee, Surgical, For …    6/6/2023   G0289     $2,840.75
1127046-02    T.A.        All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…   6/14/2023   22526     $2,605.78
1127046-02    T.A.        All City Family Healthcare Center, Inc.         Discectomy Ant Dcmprn Cord Cervic… 6/14/2023       63075     $6,402.03
1126648-02    Y.D.                      SCOB LLC                           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/16/2023   62323      $976.38
1126648-02    Y.D.                      SCOB LLC                            Perq Intrdscl Electrothrm Annulop…   5/30/2023   22526     $5,211.56
1126648-02    Y.D.                      SCOB LLC                          Dcmprn Perq Nucleus Pulposus 1/> …     5/30/2023   62287     $5,292.93
1126648-02    Y.D.                      SCOB LLC                           Probe, Percutaneous Lumbar Discec…    5/30/2023   C2614     $2,200.00
1126648-02    Y.D.                      SCOB LLC                           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/13/2023   62321      $976.38
1126648-02    Y.D.             Manalapan Surgery Center Inc                Arthroscopy Shoulder Surg Synovec…    6/17/2023   29820     $1,472.45
1126648-02    Y.D.             Manalapan Surgery Center Inc                Arthroscopy Shoulder Surg Debride…    6/17/2023   29822     $3,026.24
1126648-02    Y.D.             Manalapan Surgery Center Inc                 Single Nerve Block Injection Arm …   6/17/2023   64415      $979.78
1126648-02    Y.D.             Manalapan Surgery Center Inc               Us Guidance Needle Placement Img …     6/17/2023   76942      $341.96
1126648-02    Y.D.              East Tremont Medical Center                Anes Open/Surg Arthroscopic Proc …     7/6/2023    1400      $207.97
1126648-02    Y.D.              East Tremont Medical Center                 Arthrocentesis Aspir&/Inj Major J…    7/6/2023   20610      $554.74
1126648-02    Y.D.              East Tremont Medical Center               Arthroscopy Knee Removal Loose/Fo…      7/6/2023   29874     $1,472.45
1126648-02    Y.D.              East Tremont Medical Center               Arthroscopy Knee Synovectomy 2/>C…      7/6/2023   29876     $1,472.45
1126648-02    Y.D.              East Tremont Medical Center              Arthrs Knee W/Meniscectomy Med&La… 7/6/2023         29880     $3,026.24
1126648-02    Y.D.              East Tremont Medical Center              Arthrs Kne Surg W/Meniscectomy Me… 7/6/2023         29881     $2,944.86
1126648-02    Y.D.              East Tremont Medical Center               Arthroscopy Knee W/Lysis Adhesion…      7/6/2023   29884     $1,472.45
1126648-02    Y.D.              East Tremont Medical Center                   Unlisted Procedure Arthroscopy…     7/6/2023   29999     $1,472.45

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                                                           1741
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1126648-02    Y.D.                East Tremont Medical Center            Infectious Agent Detection By Nuc…    7/6/2023   87635       $15.00
1126043-01    M.F.          All City Family Healthcare Center, Inc.       Injection Single/Mlt Trigger Poin…  5/22/2023   20552      $236.69
1126043-01    M.F.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/22/2023   62323      $976.38
1126043-01    M.F.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …    5/22/2023   76942      $341.96
1126043-01    M.F.                        SCOB LLC                       Arthrocentesis Aspir&/Inj Major J…    6/7/2023   20610      $473.39
1126043-01    M.F.                        SCOB LLC                      Arthroscopy Shoulder Surg Synovec…     6/7/2023   29821     $5,677.77
1126043-01    M.F.                        SCOB LLC                       Arthroscopy Shoulder Surg Debride…    6/7/2023   29823     $2,944.87
1126043-01    M.F.                        SCOB LLC                       Arthrocentesis Aspir&/Inj Major J…   11/1/2023   20610      $473.39
1126043-01    M.F.                        SCOB LLC                      Arthroscopy Shoulder Surg Synovec…    11/1/2023   29821     $5,677.77
1126043-01    M.F.                        SCOB LLC                       Arthroscopy Shoulder Surg Debride…   11/1/2023   29823     $2,944.87
1126150-01    D.S.                East Tremont Medical Center            Anesthesia Cervical Spine & Cord …   7/20/2023    600       $415.94
1126150-01    D.S.                East Tremont Medical Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…   7/20/2023   64490     $1,423.90
1126150-01    D.S.                East Tremont Medical Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…   7/20/2023   64491      $671.25
1126150-01    D.S.                East Tremont Medical Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…   7/20/2023   64492      $671.25
1126150-01    D.S.                East Tremont Medical Center            Fluor Needle/Cath Spine/Paraspina…   7/20/2023   77003      $572.53
1126150-01    D.S.                East Tremont Medical Center            Infectious Agent Detection By Nuc…   7/20/2023   87635      $100.00
1126150-01    D.S.                 Global Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…    8/5/2023   20610     $2,700.00
1126150-01    D.S.                 Global Surgery Center LLC            Arthroscopy Knee Synovectomy 2/>C…     8/5/2023   29876     $1,472.44
1126150-01    D.S.                 Global Surgery Center LLC           Arthrs Knee W/Meniscectomy Med&La… 8/5/2023        29880     $3,026.24
1126150-01    D.S.                 Global Surgery Center LLC            Arthroscopy Knee W/Lysis Adhesion…     8/5/2023   29884     $1,472.44
1126150-01    D.S.                 Global Surgery Center LLC               Unlisted Procedure Arthroscopy…     8/5/2023   29999     $1,472.44
1126150-01    D.S.                 Global Surgery Center LLC               Unlisted Procedure Arthroscopy…     8/5/2023   29999     $1,472.44
1126150-01    D.S.       Surgicore LLC d/b/a Surgicore Surgical Center   Perq Intrdscl Electrothrm Annulop…  10/28/2023   22526     $2,605.78
1126150-01    D.S.       Surgicore LLC d/b/a Surgicore Surgical Center   Perq Intrdscl Electrothrm Annulop…  10/28/2023   22527     $2,605.79
1126150-01    D.S.       Surgicore LLC d/b/a Surgicore Surgical Center  Dcmprn Perq Nucleus Pulposus 1/> … 10/28/2023     62287     $5,292.93
1126182-03    J.G.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 4/28/2023      29875     $1,472.45
1126182-03    J.G.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 4/28/2023       29880     $3,026.24
1126182-03    J.G.          All City Family Healthcare Center, Inc.     Arthroscopy Knee W/Lysis Adhesion… 4/28/2023      29884     $1,472.45
1126182-03    J.G.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…    4/28/2023   29999     $1,472.45
1126182-03    J.G.             Island Ambulatory Surgery Center           Injection Single/Mlt Trigger Poin…  5/22/2023   20553      $279.23
1126182-03    J.G.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/22/2023   62323      $980.10
1126182-03    J.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/15/2023   62323      $976.38
1126222-01    K.G.            Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/12/2023   62323      $976.38
1126222-01    K.G.            Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulop…    6/2/2023   22526     $2,605.78
1126222-01    K.G.            Rockaways ASC Development LLC             Dcmprn Perq Nucleus Pulposus 1/> …     6/2/2023   62287     $5,292.93
1126222-01    K.G.             Fifth Avenue Surgery Center LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/21/2023   62321      $976.38
1126222-01    K.G.                Citimed Surgery Center LLC            Arthroscopy Knee Synovectomy 2/>C… 7/25/2023      29876     $3,026.24
1126222-01    K.G.                Citimed Surgery Center LLC           Arthrs Kne Surg W/Meniscectomy Me… 7/25/2023       29881     $2,944.87
1126222-01    K.G.                Citimed Surgery Center LLC               Unlisted Procedure Arthroscopy…    7/25/2023   29999     $2,944.87
1126222-01    K.G.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    8/1/2023   22526     $2,605.78
1126222-01    K.G.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic…     8/1/2023   63075     $6,402.03
1125993-01    D.B.            Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/22/2023   62321      $976.38
1125993-01    D.B.            Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulop…   6/26/2023   22526     $2,605.78
1125993-01    D.B.            Rockaways ASC Development LLC              Injection Px Discogrphy Ea Lvl Ce…   6/26/2023   62291      $748.74
1125993-01    D.B.            Rockaways ASC Development LLC             Discectomy Ant Dcmprn Cord Cervic… 6/26/2023      63075     $6,402.03
1125993-01    D.B.            Rockaways ASC Development LLC             Diskograpy Cervical/Thoracic Rs&I…    6/26/2023   72285      $962.54
1125993-01    D.B.                Surgicore of Jersey City LLC            Allograft For Spine Surgery Only …  11/1/2023   20930     $3,160.35
1125993-01    D.B.                Surgicore of Jersey City LLC           Autograft Spine Surgery Morselize…   11/1/2023   20937     $3,160.34
1125993-01    D.B.                Surgicore of Jersey City LLC          Arthrd Ant Interbody Decompress C…    11/1/2023   22551     $6,402.03
1125993-01    D.B.                Surgicore of Jersey City LLC            Anterior Instrumentation 2-3 Vert…  11/1/2023   22845     $3,160.34
1125993-01    D.B.                Surgicore of Jersey City LLC           Insj Biomchn Dev Intervertebral D…   11/1/2023   22853     $3,160.34
1125993-01    D.B.             Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/24/2024   64493     $1,960.20
1125993-01    D.B.             Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/24/2024   64494      $980.10
1125993-01    D.B.             Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/24/2024   64495      $980.10
1125993-01    D.B.             Island Ambulatory Surgery Center           Dstr Nrolytc Agnt Parverteb Fct S…  5/10/2024   64635      $983.52
1125993-01    D.B.             Island Ambulatory Surgery Center          Dstr Nrolytc Agnt Parverteb Fct A…   5/10/2024   64636      $491.76
1125993-01    D.B.             Island Ambulatory Surgery Center          Dstr Nrolytc Agnt Parverteb Fct A…   5/10/2024   64636      $491.76
1125993-01    D.B.             Island Ambulatory Surgery Center           Dstr Nrolytc Agnt Parverteb Fct S…   6/7/2024   64635      $983.52
1125993-01    D.B.             Island Ambulatory Surgery Center          Dstr Nrolytc Agnt Parverteb Fct A…    6/7/2024   64636      $491.76
1125993-01    D.B.             Island Ambulatory Surgery Center          Dstr Nrolytc Agnt Parverteb Fct A…    6/7/2024   64636      $491.76
1125993-01    D.B.             Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/6/2024   64490     $1,960.20
1125993-01    D.B.             Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/6/2024   64491      $980.10
1125993-01    D.B.             Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/6/2024   64492      $980.10
1125629-02    J.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/4/2023   62321      $976.38
1125629-02    J.C.                  Melville Surgery Center              Arthroscopy Shoulder Surg Debride…   5/31/2023   29823     $3,026.24
1125629-02    J.C.                  Melville Surgery Center             Arthroscopy Shoulder W/Coracoacrm… 5/31/2023      29826     $1,513.12
1125629-02    J.C.                  Melville Surgery Center              Single Nerve Block Injection Arm …   5/31/2023   64415      $489.90
1125629-02    J.C.                  Melville Surgery Center             Us Guidance Needle Placement Img …    5/31/2023   76942      $423.32

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                       Provider                                     Service
 Number      Person                                                                                           Service     Code       Billed
1125606-01    C.A.             East Tremont Medical Center               Perq Intrdscl Electrothrm Annulop…    5/4/2023   22526      $2,605.78
1125606-01    C.A.             East Tremont Medical Center               Perq Intrdscl Electrothrm Annulop…    5/4/2023   22527      $2,605.78
1125606-01    C.A.             East Tremont Medical Center             Dcmprn Perq Nucleus Pulposus 1/> …      5/4/2023   62287      $5,293.93
1125606-01    C.A.             East Tremont Medical Center              Injection Px Discography Each Lev…     5/4/2023   62290       $748.72
1125606-01    C.A.             East Tremont Medical Center                Anesthesia Lumbar Region Nos…        5/4/2023    630        $386.23
1125606-01    C.A.             East Tremont Medical Center             Njx Anes&/Strd W/Img Tfrml Edrl L…      5/4/2023   64483       $976.38
1125606-01    C.A.             East Tremont Medical Center             Njx Anes&/Strd W/Img Tfrml Edrl L…      5/4/2023   64484       $447.52
1125606-01    C.A.             East Tremont Medical Center              Fluor Needle/Cath Spine/Paraspina…     5/4/2023   77003       $572.53
1125606-01    C.A.             East Tremont Medical Center              Infectious Agent Detection By Nuc…     5/4/2023   87635        $15.00
1125606-01    C.A.             East Tremont Medical Center             Supplies&Materials Above/Beyond P…      5/4/2023   99070      $1,905.31
1125606-01    C.A.             East Tremont Medical Center               Perq Intrdscl Electrothrm Annulop…   7/16/2023   22526      $2,605.78
1125606-01    C.A.             East Tremont Medical Center               Perq Intrdscl Electrothrm Annulop…   7/16/2023   22527      $2,605.78
1125606-01    C.A.             East Tremont Medical Center              Anesthesia Cervical Spine & Cord …    7/16/2023    600        $415.94
1125606-01    C.A.             East Tremont Medical Center              Injection Px Discography Each Lev…    7/16/2023   62290       $748.72
1125606-01    C.A.             East Tremont Medical Center             Discectomy Ant Dcmprn Cord Cervic…     7/16/2023   63075      $6,402.03
1125606-01    C.A.             East Tremont Medical Center             Njx Anes&/Strd W/Img Tfrml Edrl C…     7/16/2023   64479       $895.01
1125606-01    C.A.             East Tremont Medical Center             Njx Anes&/Strd W/Img Tfrml Edrl C…     7/16/2023   64480       $895.01
1125606-01    C.A.             East Tremont Medical Center              Fluor Needle/Cath Spine/Paraspina…    7/16/2023   77003       $572.53
1125606-01    C.A.             East Tremont Medical Center              Infectious Agent Detection By Nuc…    7/16/2023   87635        $15.00
1125606-01    C.A.             East Tremont Medical Center             Supplies&Materials Above/Beyond P…     7/16/2023   99070        $30.00
1125606-01    C.A.             East Tremont Medical Center             Supplies&Materials Above/Beyond P…     7/16/2023   99070       $949.88
1125606-01    C.A.              Accelerated Surgical Center            Njx Anes&/Strd W/Img Tfrml Edrl L…      2/6/2024   64483      $1,518.48
1125606-01    C.A.              Accelerated Surgical Center            Njx Anes&/Strd W/Img Tfrml Edrl L…      2/6/2024   64484       $776.84
1125606-01    C.A.        Bronx SC LLC d/b/a Empire State ASC           Njx Pltlt Plasma W/Img Harvest/Pr…    7/14/2024   0232T       $875.92
1125606-01    C.A.        Bronx SC LLC d/b/a Empire State ASC            Injection Shoulder Arthrography/ …   7/14/2024   23350       $748.73
1125606-01    C.A.        Bronx SC LLC d/b/a Empire State ASC           Tenotomy Shoulder Area 1 Tendon…      7/14/2024   23405      $3,760.88
1125606-01    C.A.        Bronx SC LLC d/b/a Empire State ASC           Tenotomy Shoulder Area 1 Tendon…      7/14/2024   23405      $1,839.77
1125606-01    C.A.        Bronx SC LLC d/b/a Empire State ASC           Radex Shoulder Arthrography Rs&I…     7/14/2024   73040       $412.25
1125355-01    S.C.          Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin…   5/15/2023   20553       $279.23
1125355-01    S.C.          Island Ambulatory Surgery Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/15/2023   62323       $980.10
1125355-01    S.C.        Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee Synovectomy Limi…     1/12/2024   29875      $1,472.45
1125355-01    S.C.        Bronx SC LLC d/b/a Empire State ASC         Arthrs Knee W/Meniscectomy Med&La…      1/12/2024   29880      $3,026.24
1125355-01    S.C.        Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee W/Lysis Adhesion…     1/12/2024   29884      $1,472.45
1125088-01    S.S.          Fifth Avenue Surgery Center LLC            Arthroscopy Knee Synovectomy Limi…     3/30/2023   29875      $1,472.45
1125088-01    S.S.          Fifth Avenue Surgery Center LLC           Arthrs Kne Surg W/Meniscectomy Me…      3/30/2023   29881      $3,026.24
1125088-01    S.S.              Crotona Parkway ASC LLC                  Injection Single/Mlt Trigger Poin…    6/5/2023   20553       $279.23
1125088-01    S.S.              Crotona Parkway ASC LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/5/2023   62323       $980.10
1126478-03    G.M.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/25/2023   62323       $976.38
1126478-03    G.M.                   Triborough ASC                    Arthroscopy Shoulder Surg Synovec…      6/8/2023   29820      $1,514.97
1126478-03    G.M.                   Triborough ASC                     Arthroscopy Shoulder Surg Debride…     6/8/2023   29823      $3,029.95
1126478-03    G.M.          Fifth Avenue Surgery Center LLC              Perq Intrdscl Electrothrm Annulop…   6/22/2023   22526      $2,605.78
1126478-03    G.M.          Fifth Avenue Surgery Center LLC              Perq Intrdscl Electrothrm Annulop…   6/22/2023   22527      $2,605.79
1126478-03    G.M.          Fifth Avenue Surgery Center LLC            Dcmprn Perq Nucleus Pulposus 1/> …     6/22/2023   62287      $5,292.93
1125853-02    A.R.                     SCOB LLC                         Arthroscopy Ankle Surgical Debrid…     3/9/2023   29898      $3,026.24
1125853-02    A.R.         Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/31/2023   62323       $976.38
1125853-02    A.R.         Rockaways ASC Development LLC                 Perq Intrdscl Electrothrm Annulop…   4/17/2023   22526      $2,605.78
1125853-02    A.R.         Rockaways ASC Development LLC                 Perq Intrdscl Electrothrm Annulop…   4/17/2023   22527      $2,605.78
1125853-02    A.R.         Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> …     4/17/2023   62287      $5,292.93
1126039-01    R.O.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…     3/25/2023   29821      $5,596.40
1126039-01    R.O.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…    3/25/2023   29823      $1,472.45
1126039-01    R.O.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …    3/25/2023   29825      $1,472.45
1126039-01    R.O.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder W/Coracoacrm…     3/25/2023   29826      $1,553.82
1126039-01    R.O.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Rotator Cuff…    3/25/2023   29827      $6,723.47
1126039-01    R.O.          Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …    3/25/2023   64415       $979.78
1126039-01    R.O.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …     3/25/2023   76942       $341.96
1126039-01    R.O.        Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee Synovectomy Limi…     7/22/2023   29875      $1,472.45
1126039-01    R.O.        Bronx SC LLC d/b/a Empire State ASC         Arthrs Knee W/Meniscectomy Med&La…      7/22/2023   29880      $3,026.24
1126039-01    R.O.        Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee W/Lysis Adhesion…     7/22/2023   29884      $1,472.45
1126039-01    R.O.        Bronx SC LLC d/b/a Empire State ASC             Unlisted Procedure Arthroscopy…     7/22/2023   29999      $1,472.45
1126039-01    R.O.              Crotona Parkway ASC LLC                  Injection Single/Mlt Trigger Poin…   12/6/2023   20553       $279.23
1126039-01    R.O.              Crotona Parkway ASC LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    12/6/2023   62323       $980.10
1126039-01    R.O.              Crotona Parkway ASC LLC                  Injection Single/Mlt Trigger Poin…   5/14/2024   20553       $279.23
1126039-01    R.O.              Crotona Parkway ASC LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/14/2024   62321       $980.10
1126039-01    R.O.               Hudson Regional Hospital                Allograft For Spine Surgery Only …    9/3/2024   20931     $18,961.97
1126039-01    R.O.               Hudson Regional Hospital              Arthrd Ant Interbody Decompress C…      9/3/2024   22551     $37,965.34
1126039-01    R.O.               Hudson Regional Hospital                Anterior Instrumentation 2-3 Vert…    9/3/2024   22845     $18,961.97
1126039-01    R.O.               Hudson Regional Hospital               Insj Biomchn Dev Intervertebral D…     9/3/2024   22853     $17,338.09
1126039-01    R.O.               Hudson Regional Hospital              Collection Venous Blood Venipunct…      9/3/2024   36415       $100.00

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                                                           1743
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1126039-01    R.O.                Hudson Regional Hospital               Radex Spine 1 View Specify Level…     9/3/2024   72020       $625.08
1126039-01    R.O.                Hudson Regional Hospital              Fluoroscopy Up To 1 Hour Physicia…     9/3/2024   76000       $934.06
1126039-01    R.O.                Hudson Regional Hospital             Antibody Screen Rbc Each Serum Te…      9/3/2024   86850       $105.80
1126039-01    R.O.                Hudson Regional Hospital                   Blood Typing Serologic Abo…       9/3/2024   86900       $997.68
1126039-01    R.O.                Hudson Regional Hospital                 Blood Typing Serologic Rh (D)…      9/3/2024   86901       $113.90
1126039-01    R.O.                Hudson Regional Hospital                Iadna S Aureus Methicillin Resist…   9/3/2024   87641       $241.40
1126039-01    R.O.                Hudson Regional Hospital                     Gloves, Sterile, Per Pair…      9/3/2024   A4930        $19.03
1126039-01    R.O.                Hudson Regional Hospital             Anchor/Screw For Opposing Bone-To…      9/3/2024   C1713     $12,974.00
1126039-01    R.O.                Hudson Regional Hospital                Injection, Succinylcholine Chlori…   9/3/2024   J0330        $31.25
1126039-01    R.O.                Hudson Regional Hospital                Injection, Cefazolin Sodium, 500 …   9/3/2024   J0690        $20.00
1126039-01    R.O.                Hudson Regional Hospital               Injection, Methylprednisolone Ace…    9/3/2024   J1010        $25.00
1126039-01    R.O.                Hudson Regional Hospital              Injection, Hydromorphone, Up To 4…     9/3/2024   J1170        $16.37
1126039-01    R.O.                Hudson Regional Hospital                Injection, Meperidine Hcl, Per 10…   9/3/2024   J2175        $45.90
1126039-01    R.O.                Hudson Regional Hospital               Injection, Midazolam Hcl, Per 1 M…    9/3/2024   J2250        $10.00
1126039-01    R.O.                Hudson Regional Hospital                    Injection, Propofol, 10 Mg…      9/3/2024   J2704       $475.40
1126039-01    R.O.                Hudson Regional Hospital                        Unclassified Drugs…          9/3/2024   J3490       $549.58
1126039-01    R.O.                Hudson Regional Hospital              Addition To Lower Extremity, Mold…     9/3/2024   L2280        $24.72
1124942-02    G.L.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…  4/12/2023   20553       $279.23
1124942-02    G.L.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/12/2023   62323       $980.10
1124942-02    G.L.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…  4/26/2023   20553       $279.23
1124942-02    G.L.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/26/2023   62321       $980.10
1124942-02    G.L.           Rockaways ASC Development LLC                Allograft For Spine Surgery Only …  5/30/2023   20930      $3,160.34
1124942-02    G.L.           Rockaways ASC Development LLC               Autograft Spine Surgery Local Fro…   5/30/2023   20936      $3,160.35
1124942-02    G.L.           Rockaways ASC Development LLC              Arthrd Ant Interbody Decompress C…    5/30/2023   22551      $6,402.03
1124942-02    G.L.           Rockaways ASC Development LLC                Anterior Instrumentation 2-3 Vert…  5/30/2023   22845      $3,160.34
1124942-02    G.L.           Rockaways ASC Development LLC               Insj Biomchn Dev Intervertebral D…   5/30/2023   22853      $3,160.34
1124728-02    A.B.               East Tremont Medical Center            Anes Open/Surg Arthroscopic Proc …    6/28/2023    1400       $207.97
1124728-02    A.B.               East Tremont Medical Center             Arthrocentesis Aspir&/Inj Major J…   6/28/2023   20610       $554.74
1124728-02    A.B.               East Tremont Medical Center           Arthroscopy Knee Removal Loose/Fo… 6/28/2023       29874      $1,472.45
1124728-02    A.B.               East Tremont Medical Center           Arthroscopy Knee Synovectomy 2/>C… 6/28/2023       29876      $1,472.45
1124728-02    A.B.               East Tremont Medical Center          Arthrs Knee W/Meniscectomy Med&La… 6/28/2023        29880      $3,026.24
1124728-02    A.B.               East Tremont Medical Center               Unlisted Procedure Arthroscopy…    6/28/2023   29999      $1,472.45
1124728-02    A.B.               East Tremont Medical Center            Infectious Agent Detection By Nuc…    6/28/2023   87635        $15.00
1124728-02    A.B.          All City Family Healthcare Center, Inc.     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/24/2023   62323       $976.38
1124728-02    A.B.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…  10/15/2023   22526      $2,605.78
1124728-02    A.B.          All City Family Healthcare Center, Inc.    Dcmprn Perq Nucleus Pulposus 1/> … 10/15/2023      62287      $5,292.93
1125267-01    A.D.          All City Family Healthcare Center, Inc.      Arthrocentesis Aspir&/Inj Major J…   3/31/2023   20610       $473.38
1125267-01    A.D.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…    3/31/2023   29821      $5,677.77
1125267-01    A.D.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Debride…    3/31/2023   29823      $1,472.45
1125267-01    A.D.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …   3/31/2023   29825      $1,472.45
1125267-01    A.D.          All City Family Healthcare Center, Inc.    Arthroscopy Shoulder W/Coracoacrm… 3/31/2023       29826      $1,472.45
1125267-01    A.D.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…    3/31/2023   29999      $1,472.45
1125267-01    A.D.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …   3/31/2023   64415       $979.78
1125267-01    A.D.          All City Family Healthcare Center, Inc.    Us Guidance Needle Placement Img …     3/31/2023   76942       $341.96
1125267-01    A.D.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     5/1/2023   62321       $980.10
1125613-02    D.Y.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…  4/18/2023   20552       $236.69
1125613-02    D.Y.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/18/2023   62323       $976.38
1125613-02    D.Y.           Rockaways ASC Development LLC             Us Guidance Needle Placement Img …     4/18/2023   76942       $341.96
1125613-02    D.Y.         Ambulatory Surgical Center of Englewood      Arthroscopy Shoulder Surg Synovec…    6/21/2023   29821      $3,231.20
1125613-02    D.Y.         Ambulatory Surgical Center of Englewood      Arthroscopy Shoulder Surg Debride…    6/21/2023   29823      $6,462.40
1125613-02    D.Y.         Ambulatory Surgical Center of Englewood         Unlisted Procedure Arthroscopy…    6/21/2023   29999      $3,231.20
1125613-02    D.Y.         Ambulatory Surgical Center of Englewood         Unlisted Procedure Arthroscopy…    6/21/2023   29999      $3,231.20
1125954-01    C.W.            Island Ambulatory Surgery Center        Arthrs Knee W/Meniscectomy Med&La… 5/23/2023        29880      $3,029.95
1125954-01    C.W.            Island Ambulatory Surgery Center             Unlisted Procedure Arthroscopy…    5/23/2023   29999      $1,514.97
1125954-01    C.W.            Island Ambulatory Surgery Center           Infectious Agent Antigen Detectio…   5/23/2023   87426       $200.00
1125954-01    C.W.            Fifth Avenue Surgery Center LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     6/9/2023   62321       $976.38
1125038-01    S.L.                     Triborough ASC                 Arthrs Knee W/Meniscectomy Med&La… 3/18/2023        29880      $3,029.95
1125038-01    S.L.                     Triborough ASC                      Unlisted Procedure Arthroscopy…    3/18/2023   29999      $1,514.97
1125038-01    S.L.          All City Family Healthcare Center, Inc.       Injection Single/Mlt Trigger Poin…  4/17/2023   20552       $236.69
1125038-01    S.L.          All City Family Healthcare Center, Inc.     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/17/2023   62323       $976.38
1125038-01    S.L.          All City Family Healthcare Center, Inc.    Us Guidance Needle Placement Img …     4/17/2023   76942       $341.96
1125277-01    J.G.                     Triborough ASC                   Arthroscopy Shoulder Surg Debride…     5/4/2023   29823      $3,029.95
1125277-01    J.G.                     Triborough ASC                      Unlisted Procedure Arthroscopy…     5/4/2023   29999      $1,514.97
1125277-01    J.G.          All City Family Healthcare Center, Inc.     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/18/2023   62323       $976.38
1125277-01    J.G.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…   7/27/2023   22526      $2,605.78
1125277-01    J.G.          All City Family Healthcare Center, Inc.    Dcmprn Perq Nucleus Pulposus 1/> …     7/27/2023   62287      $5,292.93
1125399-01    M.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…     3/28/2023   29821      $5,677.77
1125399-01    M.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…     3/28/2023   29823      $1,472.45

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                                                           1744
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1125399-01    M.V.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Ahesiolysis …    3/28/2023   29825     $1,472.45
1125399-01    M.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm…      3/28/2023   29826     $1,472.45
1125399-01    M.V.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …    3/28/2023   64415      $979.78
1125399-01    M.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …      3/28/2023   76942      $341.96
1125399-01    M.V.                Crotona Parkway ASC LLC                 Injection Single/Mlt Trigger Poin…   5/26/2023   20553      $279.23
1125399-01    M.V.                Crotona Parkway ASC LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/26/2023   62323      $980.10
1125399-01    M.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi…      7/11/2023   29875     $1,472.45
1125399-01    M.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La…      7/11/2023   29880     $3,026.24
1125399-01    M.V.     NYEEQASC LLC d/b/a North Queens Surgical Center     Unlisted Procedure Arthroscopy…     7/11/2023   29999     $1,472.45
1124739-02    D.R.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…    4/4/2023   20553      $279.23
1124739-02    D.R.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/4/2023   62323      $980.10
1124739-02    D.R.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…     5/3/2023   22526     $2,605.78
1124739-02    D.R.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …      5/3/2023   62287     $5,292.93
1124739-02    D.R.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/24/2023   62321      $976.38
1124739-02    D.R.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    10/4/2023   22526     $2,605.78
1124739-02    D.R.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic…     10/4/2023   63075     $6,402.03
1124739-02    D.R.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/14/2024   62323      $976.38
1124369-01    H.M.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…   3/14/2023   20552      $236.69
1124369-01    H.M.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/14/2023   62323      $976.38
1124369-01    H.M.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     3/14/2023   76942      $341.96
1124369-01    H.M.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    3/21/2023   22526     $2,605.78
1124369-01    H.M.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …     3/21/2023   62287     $5,292.93
1124369-01    H.M.               East Tremont Medical Center             Anes Open/Surg Arthroscopic Proc …    6/28/2023    1400      $207.97
1124369-01    H.M.               East Tremont Medical Center            Arthroscopy Knee Diagnostic W/Wo …     6/28/2023   29870     $2,944.86
1124369-01    H.M.               East Tremont Medical Center            Arthroscopy Knee Synovectomy 2/>C…     6/28/2023   29876     $1,472.45
1124369-01    H.M.               East Tremont Medical Center            Arthrs Knee Debridement/Shaving A…     6/28/2023   29877     $1,472.45
1124369-01    H.M.               East Tremont Medical Center           Arthrs Knee W/Meniscectomy Med&La…      6/28/2023   29880     $3,026.24
1124369-01    H.M.               East Tremont Medical Center           Arthrs Kne Surg W/Meniscectomy Me…      6/28/2023   29881     $2,944.86
1124369-01    H.M.               East Tremont Medical Center               Unlisted Procedure Arthroscopy…     6/28/2023   29999     $1,472.45
1124369-01    H.M.               East Tremont Medical Center             Infectious Agent Detection By Nuc…    6/28/2023   87635       $15.00
1124856-01    A.V.           Rockaways ASC Development LLC               Tenotomy Shoulder Area 1 Tendon…      4/27/2023   23405     $1,839.77
1124856-01    A.V.           Rockaways ASC Development LLC              Arthroscopy Shoulder Surg Synovec…     4/27/2023   29821     $5,677.77
1124856-01    A.V.           Rockaways ASC Development LLC               Arthroscopy Shoulder Surg Debride…    4/27/2023   29823     $1,472.45
1124856-01    A.V.           Rockaways ASC Development LLC               Arthroscopy Shoulder Ahesiolysis …    4/27/2023   29825     $1,472.45
1124856-01    A.V.           Rockaways ASC Development LLC               Single Nerve Block Injection Arm …    4/27/2023   64415      $979.78
1124856-01    A.V.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     4/27/2023   76942      $341.96
1124856-01    A.V.                       SCOB LLC                       Discectomy Ant Dcmprn Cord Cervic…      6/6/2023   63075     $6,302.03
1124856-01    A.V.                       SCOB LLC                       Probe, Percutaneous Lumbar Discec…      6/6/2023   C2614     $2,000.00
1124780-01    O.G.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/2/2023   62323      $976.38
1124780-01    O.G.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…     5/3/2023   22526     $2,605.78
1124780-01    O.G.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …      5/3/2023   62287     $5,292.93
1124780-01    O.G.            Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     8/4/2023   62321      $976.38
1124780-01    O.G.               East Tremont Medical Center             Perq Intrdscl Electrothrm Annulop…    8/13/2023   22526     $2,605.78
1124780-01    O.G.               East Tremont Medical Center             Perq Intrdscl Electrothrm Annulop…    8/13/2023   22527     $2,605.78
1124780-01    O.G.               East Tremont Medical Center             Anesthesia Cervical Spine & Cord …    8/13/2023     600      $356.52
1124780-01    O.G.               East Tremont Medical Center             Injection Px Discogrphy Ea Lvl Ce…    8/13/2023   62291      $415.04
1124780-01    O.G.               East Tremont Medical Center            Discectomy Ant Dcmprn Cord Cervic…     8/13/2023   63075     $6,402.03
1124780-01    O.G.               East Tremont Medical Center            Discectomy Ant Dcmprn Cord Cervic…     8/13/2023   63076     $3,201.01
1124780-01    O.G.               East Tremont Medical Center            Diskograpy Cervical/Thoracic Rs&I…     8/13/2023   72285      $521.95
1123812-02    R.S.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…    3/9/2023   20552      $236.69
1123812-02    R.S.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/9/2023   62323      $976.38
1123812-02    R.S.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …      3/9/2023   76942      $341.96
1123812-02    R.S.               East Tremont Medical Center             Anes Open/Surg Arthroscopic Proc …     5/3/2023    1400      $237.68
1123812-02    R.S.               East Tremont Medical Center            Arthroscopy Knee Removal Loose/Fo…      5/3/2023   29874     $1,472.45
1123812-02    R.S.               East Tremont Medical Center            Arthroscopy Knee Synovectomy 2/>C…      5/3/2023   29876     $1,472.45
1123812-02    R.S.               East Tremont Medical Center            Arthrs Knee Debridement/Shaving A…      5/3/2023   29877     $1,472.45
1123812-02    R.S.               East Tremont Medical Center           Arthrs Knee W/Meniscectomy Med&La…       5/3/2023   29880     $3,026.24
1123812-02    R.S.               East Tremont Medical Center               Unlisted Procedure Arthroscopy…      5/3/2023   29999     $1,472.45
1123812-02    R.S.               East Tremont Medical Center             Infectious Agent Detection By Nuc…     5/3/2023   87635       $15.00
1123812-03    M.P.          All City Family Healthcare Center, Inc.       Injection Single/Mlt Trigger Poin…   2/27/2023   20552      $236.69
1123812-03    M.P.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/27/2023   62321      $976.38
1123812-03    M.P.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     2/27/2023   76942      $341.96
1123812-03    M.P.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…     3/6/2023   22526     $2,605.78
1123812-03    M.P.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic…      3/6/2023   63075     $6,402.03
1123812-03    M.P.               Citimed Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…     4/13/2023   29821     $5,677.77
1123812-03    M.P.               Citimed Surgery Center LLC              Arthroscopy Shoulder Surg Debride…    4/13/2023   29823     $2,944.87
1123812-03    M.P.               Citimed Surgery Center LLC             Arthroscopy Shoulder W/Coracoacrm…     4/13/2023   29826     $2,944.87
1124012-01    S.M.               East Tremont Medical Center              Injection Single/Mlt Trigger Poin…   4/27/2023   20553      $236.69

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                                                           1745
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1124012-01    S.M.               East Tremont Medical Center             Anesthesia Cervical Spine & Cord …    4/27/2023     600      $415.94
1124012-01    S.M.               East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/27/2023   62321      $976.38
1124012-01    S.M.               East Tremont Medical Center            Us Guidance Needle Placement Img …     4/27/2023   76942      $341.96
1124012-01    S.M.               East Tremont Medical Center             Fluor Needle/Cath Spine/Paraspina…    4/27/2023   77003      $572.53
1124012-01    S.M.               East Tremont Medical Center             Infectious Agent Detection By Nuc…    4/27/2023   87635      $100.00
1124012-01    S.M.               East Tremont Medical Center              Injection Single/Mlt Trigger Poin…   5/11/2023   20553      $236.69
1124012-01    S.M.               East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/11/2023   62323      $976.38
1124012-01    S.M.               East Tremont Medical Center               Anesthesia Lumbar Region Nos…       5/11/2023     630      $356.52
1124012-01    S.M.               East Tremont Medical Center            Us Guidance Needle Placement Img …     5/11/2023   76942      $341.96
1124012-01    S.M.               East Tremont Medical Center             Fluor Needle/Cath Spine/Paraspina…    5/11/2023   77003      $572.53
1124012-01    S.M.               East Tremont Medical Center             Infectious Agent Detection By Nuc…    5/11/2023   87635      $100.00
1124012-01    S.M.               East Tremont Medical Center             Njx Pltlt Plasma W/Img Harvest/Pr…    7/14/2023   0232T      $875.92
1124012-01    S.M.               East Tremont Medical Center             Anes Arthrs Humeral H/N Strnclav …    7/14/2023    1630      $297.10
1124012-01    S.M.               East Tremont Medical Center            Arthroscopy Shoulder Surg Synovec…     7/14/2023   29821     $5,677.77
1124012-01    S.M.               East Tremont Medical Center             Arthroscopy Shoulder Surg Debride…    7/14/2023   29823     $1,472.45
1124012-01    S.M.               East Tremont Medical Center             Arthroscopy Shoulder Ahesiolysis …    7/14/2023   29825     $1,472.45
1124012-01    S.M.               East Tremont Medical Center            Arthroscopy Shoulder W/Coracoacrm…     7/14/2023   29826     $1,472.45
1124012-01    S.M.               East Tremont Medical Center               Unlisted Procedure Arthroscopy…     7/14/2023   29999     $1,472.45
1124012-01    S.M.               East Tremont Medical Center               Unlisted Procedure Arthroscopy…     7/14/2023   29999     $1,472.45
1124012-01    S.M.               East Tremont Medical Center             Single Nerve Block Injection Arm …    7/14/2023   64415      $171.32
1124012-01    S.M.               East Tremont Medical Center            Us Guidance Needle Placement Img …     7/14/2023   76942      $289.20
1124012-01    S.M.               East Tremont Medical Center             Infectious Agent Detection By Nuc…    7/14/2023   87635      $100.00
1124012-01    S.M.               East Tremont Medical Center             Positioning Bath Chair Shower Sta…    7/14/2023   E1399      $592.50
1124012-01    S.M.            Fifth Avenue Surgery Center LLC            Perq Intrdscl Electrothrm Annulop…     9/6/2023   22526     $5,292.93
1124012-01    S.M.            Fifth Avenue Surgery Center LLC            Perq Intrdscl Electrothrm Annulop…     9/6/2023   22527     $2,605.78
1124012-01    S.M.            Fifth Avenue Surgery Center LLC            Unlisted Procedure Nervous System…     9/6/2023   64999      $747.93
1124012-01    S.M.            Fifth Avenue Surgery Center LLC            Perq Intrdscl Electrothrm Annulop…    9/13/2023   22526     $2,605.78
1124012-01    S.M.            Fifth Avenue Surgery Center LLC            Perq Intrdscl Electrothrm Annulop…    9/13/2023   22527     $2,605.79
1124012-01    S.M.            Fifth Avenue Surgery Center LLC           Dcmprn Perq Nucleus Pulposus 1/> …     9/13/2023   62287     $5,292.93
1124272-01    H.M.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi…      2/2/2023   29875     $1,472.45
1124272-01    H.M.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La…       2/2/2023   29880     $3,026.24
1124272-01    H.M.            Island Ambulatory Surgery Center          Njx Anes&/Strd W/Img Tfrml Edrl L…      3/2/2023   64483      $980.10
1124272-01    H.M.            Island Ambulatory Surgery Center          Njx Anes&/Strd W/Img Tfrml Edrl L…      3/2/2023   64484      $490.05
1123967-01    J.P.                Crotona Parkway ASC LLC                 Injection Single/Mlt Trigger Poin…    2/3/2023   20553      $279.23
1123967-01    J.P.                Crotona Parkway ASC LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/3/2023   62321      $980.10
1123967-01    J.P.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…     3/18/2023   29821     $5,677.77
1123967-01    J.P.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    3/18/2023   29823     $1,472.45
1123967-01    J.P.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …    3/18/2023   29825     $1,472.45
1123967-01    J.P.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm…     3/18/2023   29826     $1,472.45
1123967-01    J.P.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    3/18/2023   64415      $979.78
1123967-01    J.P.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     3/18/2023   76942      $341.96
1123967-01    J.P.                Crotona Parkway ASC LLC                Perq Intrdscl Electrothrm Annulop…    5/15/2023   22526     $2,648.32
1123967-01    J.P.                Crotona Parkway ASC LLC               Dcmprn Perq Nucleus Pulposus 1/> …     5/15/2023   62287     $5,296.65
1123399-03    K.W.                       SCOB LLC                         Injection Single/Mlt Trigger Poin…   3/18/2023   20553      $473.39
1123399-03    K.W.                       SCOB LLC                        Perq Intrdscl Electrothrm Annulop…    3/18/2023   22526     $5,211.56
1123399-03    K.W.                       SCOB LLC                       Dcmprn Perq Nucleus Pulposus 1/> …     3/18/2023   62287     $5,292.93
1123399-03    K.W.                       SCOB LLC                       Probe, Percutaneous Lumbar Discec…     3/18/2023   C2614     $2,200.00
1123399-03    K.W.                 Hudson Regional Hospital              Level Iii Surg Pathology Gross&Mi…    3/18/2023   88304      $192.00
1123399-03    K.W.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/22/2023   62321      $976.38
1123399-03    K.W.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…   8/29/2023   20553      $236.69
1123399-03    K.W.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…    8/29/2023   22526     $5,292.93
1123399-03    K.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…      8/29/2023   64999      $747.93
1123399-03    K.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      5/18/2024   62323      $976.38
1124336-02    S.B.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    1/30/2023   62321      $976.38
1124336-02    S.B.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/3/2023   62323      $976.38
1124336-02    S.B.                Global Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…    4/13/2023   20610     $2,700.00
1124336-02    S.B.                Global Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…     4/13/2023   29821     $1,472.44
1124336-02    S.B.                Global Surgery Center LLC              Arthroscopy Shoulder Surg Debride…    4/13/2023   29823     $5,677.77
1124336-02    S.B.                Global Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …    4/13/2023   29825     $1,472.44
1124336-02    S.B.                Global Surgery Center LLC                Unlisted Procedure Arthroscopy…     4/13/2023   29999     $1,472.44
1124336-04    N.D.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/3/2023   62321      $976.38
1124336-04    N.D.            Island Ambulatory Surgery Center           Perq Intrdscl Electrothrm Annulop…    2/24/2023   22526     $2,648.32
1124336-04    N.D.            Island Ambulatory Surgery Center                Unlisted Procedure Spine…        2/24/2023   22899     $5,296.65
1124336-04    N.D.                Global Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…    3/23/2023   20610     $2,700.00
1124336-04    N.D.                Global Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…     3/23/2023   29821     $1,472.44
1124336-04    N.D.                Global Surgery Center LLC              Arthroscopy Shoulder Surg Debride…    3/23/2023   29823     $5,677.77
1124336-04    N.D.                Global Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …    3/23/2023   29825     $1,472.44
1124336-04    N.D.                Global Surgery Center LLC                Unlisted Procedure Arthroscopy…     3/23/2023   29999     $1,472.44

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                                                        1746
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                         Date of     Billing   Amount
                                      Provider                                      Service
 Number      Person                                                                                          Service     Code       Billed
1122891-01    L.T.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…    4/24/2023   29821     $5,677.77
1122891-01    L.T.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    4/24/2023   29823     $1,472.45
1122891-01    L.T.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …   4/24/2023   29825     $1,472.45
1122891-01    L.T.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 4/24/2023       29826     $1,472.45
1122891-01    L.T.          Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …   4/24/2023   64415      $979.78
1122891-01    L.T.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …    4/24/2023   76942      $341.96
1122891-01    L.T.                Hudson Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/12/2023   62321      $980.10
1122891-01    L.T.                Hudson Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/11/2023   64490     $1,960.20
1122891-01    L.T.                Hudson Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/11/2023   64491      $980.10
1122891-01    L.T.                Hudson Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/11/2023   64492      $980.10
1122891-01    L.T.                Hudson Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/2/2023   64490     $1,960.20
1122891-01    L.T.                Hudson Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/2/2023   64491      $980.10
1122891-01    L.T.                Hudson Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/2/2023   64492      $980.10
1124022-01    A.B.         Rockaways ASC Development LLC                 Injection Single/Mlt Trigger Poin…   2/9/2023   20552      $236.69
1124022-01    A.B.         Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/9/2023   62321      $976.38
1124022-01    A.B.         Rockaways ASC Development LLC               Us Guidance Needle Placement Img …     2/9/2023   76942      $341.96
1124022-01    A.B.                     SCOB LLC                        Arthroscopy Shoulder Surg Synovec…     5/5/2023   29821     $5,677.77
1124022-01    A.B.                     SCOB LLC                        Arthroscopy Shoulder Surg Debride…     5/5/2023   29823     $2,944.87
1124022-01    A.B.          Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin…  6/27/2023   20553      $279.23
1124022-01    A.B.          Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/27/2023   62323      $980.10
1124022-01    A.B.          Fifth Avenue Surgery Center LLC           Lam Facetectomy & Foramotomy 1 Se… 9/25/2023       63047     $5,292.93
1124022-01    A.B.          Fifth Avenue Surgery Center LLC          Lam Facetectomy&Foramtomy 1 Sgm E… 9/25/2023        63048     $2,605.78
1123365-01    J.S.                   Triborough ASC                      Injection Single/Mlt Trigger Poin…   3/1/2023   20553      $279.23
1123365-01    J.S.                   Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/1/2023   62323      $980.10
1123365-01    J.S.                   Triborough ASC                      Injection Single/Mlt Trigger Poin…  3/15/2023   20553      $279.23
1123365-01    J.S.                   Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/15/2023   62321      $980.10
1123365-01    J.S.         Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   4/26/2023   22526     $2,605.78
1123365-01    J.S.         Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> …    4/26/2023   62287     $5,292.93
1123644-04    K.C.            Journal Square Surgical Center           Anes Dx/Ther Nerve Block/Injectio…   12/15/2023    1992      $178.26
1123644-04    K.C.             Surgicore of Jersey City LLC           Njx Anes&/Strd W/Img Tfrml Edrl L… 12/15/2023      64483      $976.38
1123644-04    K.C.             Surgicore of Jersey City LLC           Njx Anes&/Strd W/Img Tfrml Edrl L… 12/15/2023      64484      $447.52
1122641-01    S.P.         Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     3/3/2023   62321      $976.38
1122641-01    S.P.             Citimed Surgery Center LLC              Arthroscopy Shoulder Surgical Rep…    3/21/2023   29807     $5,677.77
1122641-01    S.P.             Citimed Surgery Center LLC              Arthroscopy Shoulder Surg Debride…    3/21/2023   29823     $2,944.87
1122641-01    S.P.             Citimed Surgery Center LLC             Anchor/Screw For Opposing Bone-To… 3/21/2023       C1713      $556.50
1122641-03    R.L.                   Triborough ASC                      Injection Single/Mlt Trigger Poin…  1/24/2023   20553      $279.23
1122641-03    R.L.                   Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/24/2023   62323      $980.10
1122641-03    R.L.          Fifth Avenue Surgery Center LLC            Tenotomy Shoulder Area 1 Tendon…      2/11/2023   23405     $1,839.77
1122641-03    R.L.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surgical Rem…    2/11/2023   29819     $1,472.45
1122641-03    R.L.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…    2/11/2023   29821     $5,677.77
1122641-03    R.L.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    2/11/2023   29823     $1,472.45
1122641-03    R.L.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …   2/11/2023   29825     $1,472.45
1122641-03    R.L.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 2/11/2023       29826     $1,472.45
1122641-03    R.L.          Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …   2/11/2023   64415      $979.78
1122641-03    R.L.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …    2/11/2023   76942      $341.96
1122641-03    R.L.                   Triborough ASC                      Injection Single/Mlt Trigger Poin…  3/15/2023   20553      $279.23
1122641-03    R.L.                   Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/15/2023   62321      $980.10
1122641-03    R.L.          Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 3/18/2023       29875     $1,472.45
1122641-03    R.L.          Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 3/18/2023        29880     $3,026.24
1122641-03    R.L.          Fifth Avenue Surgery Center LLC           Arthroscopy Knee W/Lysis Adhesion… 3/18/2023       29884     $1,472.45
1122641-03    R.L.          Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…    3/18/2023   29999     $1,472.45
1122641-04    K.T.         Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/20/2023   62321      $976.38
1122641-04    K.T.             Citimed Surgery Center LLC              Arthroscopy Shoulder Surg Synovec…    3/21/2023   29821     $5,677.77
1122641-04    K.T.             Citimed Surgery Center LLC              Arthroscopy Shoulder Surg Debride…    3/21/2023   29823     $2,944.87
1122472-01    J.B.         Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     3/1/2023   62321      $976.38
1122472-01    J.B.         Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   3/15/2023   22526     $5,292.93
1122472-01    J.B.         Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   3/15/2023   22527     $2,605.78
1122472-01    J.B.         Rockaways ASC Development LLC               Unlisted Procedure Nervous System…    3/15/2023   64999      $747.93
1122472-01    J.B.         Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/11/2023   62321      $976.38
1122472-01    J.B.             East Tremont Medical Center             Njx Pltlt Plasma W/Img Harvest/Pr…    6/17/2023   0232T      $875.92
1122472-01    J.B.             East Tremont Medical Center             Anes Arthrs Humeral H/N Strnclav …    6/17/2023    1630      $297.10
1122472-01    J.B.             East Tremont Medical Center             Arthroscopy Shoulder Surg Synovec…    6/17/2023   29821     $5,677.77
1122472-01    J.B.             East Tremont Medical Center             Arthroscopy Shoulder Surg Debride…    6/17/2023   29822     $1,472.45
1122472-01    J.B.             East Tremont Medical Center              Arthroscopy Shoulder Ahesiolysis …   6/17/2023   29825     $1,472.45
1122472-01    J.B.             East Tremont Medical Center            Arthroscopy Shoulder W/Coracoacrm… 6/17/2023       29826     $1,472.45
1122472-01    J.B.             East Tremont Medical Center                Unlisted Procedure Arthroscopy…    6/17/2023   29999     $1,472.45
1122472-01    J.B.             East Tremont Medical Center                Unlisted Procedure Arthroscopy…    6/17/2023   29999     $1,472.45
1122472-01    J.B.             East Tremont Medical Center              Single Nerve Block Injection Arm …   6/17/2023   64415      $171.32

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                                                           1747
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1122472-01    J.B.               East Tremont Medical Center            Us Guidance Needle Placement Img …     6/17/2023   76942      $289.20
1122472-01    J.B.               East Tremont Medical Center            Infectious Agent Detection By Nuc…     6/17/2023   87635      $100.00
1122472-01    J.B.               East Tremont Medical Center             Positioning Bath Chair Shower Sta…    6/17/2023   E1399      $592.50
1124834-01    M.L.                Crotona Parkway ASC LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      4/4/2023   62323      $980.10
1124834-01    M.L.                Crotona Parkway ASC LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      5/5/2023   62321      $980.10
1124834-01    M.L.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…     5/22/2023   29821     $5,677.77
1124834-01    M.L.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…     5/22/2023   29823     $1,472.45
1124834-01    M.L.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …    5/22/2023   29825     $1,472.45
1124834-01    M.L.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder W/Coracoacrm…      5/22/2023   29826     $1,472.45
1124834-01    M.L.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    5/22/2023   64415      $979.78
1124834-01    M.L.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     5/22/2023   76942      $341.96
1122135-01    P.L.                       SCOB LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     1/24/2023   62321      $976.38
1122135-01    P.L.                       SCOB LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/14/2023   62321      $976.38
1122135-01    P.L.                       SCOB LLC                      Discectomy Ant Dcmprn Cord Cervic…      2/28/2023   63075     $6,302.03
1122135-01    P.L.                       SCOB LLC                       Probe, Percutaneous Lumbar Discec…     2/28/2023   C2614     $2,000.00
1122135-01    P.L.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…   6/29/2023   20552      $236.69
1122135-01    P.L.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/29/2023   62323      $976.38
1122135-01    P.L.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     6/29/2023   76942      $341.96
1122289-02    A.O.              Manalapan Surgery Center Inc           Arthroscopy Knee Synovectomy 2/>C…      2/21/2023   29876     $1,472.45
1122289-02    A.O.              Manalapan Surgery Center Inc           Arthrs Kne Surg W/Meniscectomy Me…      2/21/2023   29881     $3,026.24
1122289-02    A.O.              Manalapan Surgery Center Inc               Unlisted Procedure Arthroscopy…     2/21/2023   29999     $1,472.45
1122289-02    A.O.              Manalapan Surgery Center Inc              Injection Anesthetic Agent Sciati…   2/21/2023   64445      $829.30
1122289-02    A.O.              Manalapan Surgery Center Inc            Us Guidance Needle Placement Img …     2/21/2023   76942      $341.96
1122289-02    A.O.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…   3/14/2023   20553      $279.23
1122289-02    A.O.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     3/14/2023   62321      $980.10
1122646-01    J.Q.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surgical Rem…     2/20/2023   29819     $1,472.45
1122646-01    J.Q.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…     2/20/2023   29821     $5,677.77
1122646-01    J.Q.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…     2/20/2023   29823     $1,472.45
1122646-01    J.Q.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…     2/20/2023   29999     $1,472.45
1122646-01    J.Q.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    2/20/2023   64415      $979.78
1122646-01    J.Q.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     2/20/2023   76942      $341.96
1122646-01    J.Q.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      3/21/2023   62323      $976.38
1122646-01    J.Q.                 Avicenna Surgery Center            Arthrs Knee W/Meniscectomy Med&La…       4/20/2023   29880     $3,029.95
1122646-01    J.Q.                 Avicenna Surgery Center                 Unlisted Procedure Arthroscopy…     4/20/2023   29999     $3,029.95
1122410-02    J.N.                Global Surgery Center LLC             Arthroscopy Shoulder Surgical Rep…      2/3/2023   29807     $6,462.39
1122410-02    J.N.                Global Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…      2/3/2023   29820     $1,472.44
1122410-02    J.N.                Global Surgery Center LLC             Arthroscopy Shoulder Surg Debride…      2/3/2023   29822     $1,472.44
1122410-02    J.N.                Global Surgery Center LLC            Arthroscopy Knee Synovectomy 2/>C…       3/3/2023   29876     $1,472.44
1122410-02    J.N.                Global Surgery Center LLC            Arthrs Knee Debridement/Shaving A…       3/3/2023   29877     $1,472.44
1122410-02    J.N.                Global Surgery Center LLC            Arthrs Kne Surg W/Meniscectomy Me…       3/3/2023   29881     $3,026.24
1122410-02    J.N.                Global Surgery Center LLC            Arthroscopy Knee W/Lysis Adhesion…       3/3/2023   29884     $1,472.44
1122410-02    J.N.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…   3/23/2023   20553      $554.76
1122410-02    J.N.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/23/2023   62323      $976.38
1122410-02    J.N.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…   3/30/2023   20553      $554.76
1122410-02    J.N.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     3/30/2023   62321      $976.38
1122619-02    C.M.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…   2/16/2023   20552      $236.69
1122619-02    C.M.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/16/2023   62323      $976.38
1122619-02    C.M.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     2/16/2023   76942      $341.96
1122619-02    C.M.               East Tremont Medical Center            Njx Pltlt Plasma W/Img Harvest/Pr…     2/23/2023   0232T      $875.92
1122619-02    C.M.               East Tremont Medical Center            Anes Arthrs Humeral H/N Strnclav …     2/23/2023    1630      $326.81
1122619-02    C.M.               East Tremont Medical Center            Arthroscopy Shoulder Surgical Rep…     2/23/2023   29807     $5,677.77
1122619-02    C.M.               East Tremont Medical Center            Arthroscopy Shoulder Surg Debride…     2/23/2023   29823     $1,472.45
1122619-02    C.M.               East Tremont Medical Center             Arthroscopy Shoulder Ahesiolysis …    2/23/2023   29825     $1,472.45
1122619-02    C.M.               East Tremont Medical Center           Arthroscopy Shoulder W/Coracoacrm…      2/23/2023   29826     $1,472.45
1122619-02    C.M.               East Tremont Medical Center               Unlisted Procedure Arthroscopy…     2/23/2023   29999     $1,472.45
1122619-02    C.M.               East Tremont Medical Center             Single Nerve Block Injection Arm …    2/23/2023   64415      $171.32
1122619-02    C.M.               East Tremont Medical Center            Radex Shoulder Arthrography Rs&I…      2/23/2023   73040      $412.24
1122619-02    C.M.               East Tremont Medical Center            Us Guidance Needle Placement Img …     2/23/2023   76942      $289.20
1122619-02    C.M.               East Tremont Medical Center            Fluoroscopic Guidance Needle Plac…     2/23/2023   77002      $572.53
1122619-02    C.M.               East Tremont Medical Center            Infectious Agent Detection By Nuc…     2/23/2023   87635      $100.00
1122619-02    C.M.               East Tremont Medical Center             Positioning Bath Chair Shower Sta…    2/23/2023   E1399      $592.50
1122619-02    C.M.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    4/24/2023   22526     $2,605.78
1122619-02    C.M.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …     4/24/2023   62287     $5,292.93
1122619-03    I.D.          All City Family Healthcare Center, Inc.       Injection Single/Mlt Trigger Poin…   2/27/2023   20552      $236.69
1122619-03    I.D.          All City Family Healthcare Center, Inc.     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/27/2023   62323      $976.38
1122619-03    I.D.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     2/27/2023   76942      $341.96
1122619-03    I.D.               East Tremont Medical Center            Njx Pltlt Plasma W/Img Harvest/Pr…      3/3/2023   0232T      $875.93
1122619-03    I.D.               East Tremont Medical Center            Anes Arthrs Humeral H/N Strnclav …      3/3/2023    1630      $297.10

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                                                          1748
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                               Service     Code       Billed
1122619-03    I.D.             East Tremont Medical Center                  Anes Arthrs Humeral H/N Strnclav …     3/3/2023    1630      $297.10
1122619-03    I.D.             East Tremont Medical Center                  Arthroscopy Shoulder Surgical Rep…     3/3/2023   29807     $5,677.77
1122619-03    I.D.             East Tremont Medical Center                  Arthroscopy Shoulder Ahesiolysis …     3/3/2023   29825     $1,472.45
1122619-03    I.D.             East Tremont Medical Center                  Single Nerve Block Injection Arm …     3/3/2023   64415      $171.32
1122619-03    I.D.             East Tremont Medical Center                  Single Nerve Block Injection Arm …     3/3/2023   64415      $171.32
1122619-03    I.D.             East Tremont Medical Center                 Us Guidance Needle Placement Img …      3/3/2023   76942      $289.20
1122619-03    I.D.             East Tremont Medical Center                 Us Guidance Needle Placement Img …      3/3/2023   76942      $289.20
1122619-03    I.D.             East Tremont Medical Center                  Infectious Agent Detection By Nuc…     3/3/2023   87635      $100.00
1122619-03    I.D.             East Tremont Medical Center                  Infectious Agent Detection By Nuc…     3/3/2023   87635      $100.00
1122619-03    I.D.             East Tremont Medical Center                  Positioning Bath Chair Shower Sta…     3/3/2023   E1399      $592.50
1122619-03    I.D.             East Tremont Medical Center                  Positioning Bath Chair Shower Sta…     3/3/2023   E1399      $592.50
1122619-03    I.D.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…     5/4/2023   22526     $2,605.78
1122619-03    I.D.         Rockaways ASC Development LLC                   Dcmprn Perq Nucleus Pulposus 1/> …      5/4/2023   62287     $5,292.93
1122677-01    J.L.             Citimed Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/18/2023   62323      $976.38
1122677-01    J.L.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surgical Cap…    1/27/2023   29806     $5,677.77
1122677-01    J.L.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…     1/27/2023   29821     $2,798.20
1122677-01    J.L.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    1/27/2023   29823     $1,472.45
1122677-01    J.L.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    1/27/2023   29825     $1,472.45
1122677-01    J.L.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…     1/27/2023   29826     $1,472.45
1122677-01    J.L.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    1/27/2023   64415      $979.78
1122677-01    J.L.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     1/27/2023   76942      $341.96
1122677-01    J.L.             Citimed Surgery Center LLC                   Perq Intrdscl Electrothrm Annulop…    3/22/2023   22526     $5,211.56
1122677-01    J.L.             Citimed Surgery Center LLC                  Dcmprn Perq Nucleus Pulposus 1/> …     3/22/2023   62287     $5,292.93
1122677-01    J.L.             Citimed Surgery Center LLC                  Probe, Percutaneous Lumbar Discec…     3/22/2023   C2614     $2,200.00
1122898-02    J.R.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…   1/19/2023   20552      $236.69
1122898-02    J.R.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    1/19/2023   62321      $976.38
1122898-02    J.R.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …     1/19/2023   76942      $341.96
1122898-02    J.R.             East Tremont Medical Center                  Njx Pltlt Plasma W/Img Harvest/Pr…    5/20/2023   0232T      $875.92
1122898-02    J.R.             East Tremont Medical Center                  Anes Arthrs Humeral H/N Strnclav …    5/20/2023    1630      $297.10
1122898-02    J.R.             East Tremont Medical Center                 Arthroscopy Shoulder Surg Synovec…     5/20/2023   29821     $5,677.77
1122898-02    J.R.             East Tremont Medical Center                  Arthroscopy Shoulder Surg Debride…    5/20/2023   29823     $1,472.45
1122898-02    J.R.             East Tremont Medical Center                  Arthroscopy Shoulder Ahesiolysis …    5/20/2023   29825     $1,472.45
1122898-02    J.R.             East Tremont Medical Center                 Arthroscopy Shoulder W/Coracoacrm…     5/20/2023   29826     $1,472.45
1122898-02    J.R.             East Tremont Medical Center                    Unlisted Procedure Arthroscopy…     5/20/2023   29999     $1,472.45
1122898-02    J.R.             East Tremont Medical Center                  Single Nerve Block Injection Arm …    5/20/2023   64415      $171.32
1122898-02    J.R.             East Tremont Medical Center                 Us Guidance Needle Placement Img …     5/20/2023   76942      $289.20
1122898-02    J.R.             East Tremont Medical Center                  Infectious Agent Detection By Nuc…    5/20/2023   87635      $100.00
1122898-02    J.R.             East Tremont Medical Center                  Positioning Bath Chair Shower Sta…    5/20/2023   E1399      $592.50
1122898-02    J.R.        Bronx SC LLC d/b/a Empire State ASC               Perq Intrdscl Electrothrm Annulop…    10/5/2023   22526     $2,605.78
1122898-02    J.R.        Bronx SC LLC d/b/a Empire State ASC               Perq Intrdscl Electrothrm Annulop…    10/5/2023   22527     $2,605.78
1122898-02    J.R.        Bronx SC LLC d/b/a Empire State ASC              Discectomy Ant Dcmprn Cord Cervic…     10/5/2023   63075     $6,402.03
1122898-02    J.R.        Bronx SC LLC d/b/a Empire State ASC              Discectomy Ant Dcmprn Cord Cervic…     10/5/2023   63076     $3,160.34
1122164-01    J.C.             Crotona Parkway ASC LLC                       Injection Single/Mlt Trigger Poin…   3/14/2023   20553      $279.23
1122164-01    J.C.             Crotona Parkway ASC LLC                      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/14/2023   62321      $980.10
1122164-01    J.C.             Crotona Parkway ASC LLC                       Injection Single/Mlt Trigger Poin…   5/23/2023   20553      $279.23
1122164-01    J.C.             Crotona Parkway ASC LLC                      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/23/2023   62323      $980.10
1122164-01    J.C.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/23/2023   62321      $976.38
1122008-01    C.W.                     SCOB LLC                             Arthrocentesis Aspir&/Inj Major J…    1/19/2023   20610      $473.39
1122008-01    C.W.                     SCOB LLC                            Arthroscopy Shoulder Surg Synovec…     1/19/2023   29821     $5,677.77
1122008-01    C.W.                     SCOB LLC                             Arthroscopy Shoulder Surg Debride…    1/19/2023   29823     $2,944.87
1122008-01    C.W.                     SCOB LLC                            Arthroscopy Shoulder W/Coracoacrm…     1/19/2023   29826     $2,944.87
1122008-01    C.W.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/20/2023   62321      $976.38
1122008-01    C.W.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…    3/31/2023   22526     $2,605.78
1122008-01    C.W.         Rockaways ASC Development LLC                    Injection Px Discogrphy Ea Lvl Ce…    3/31/2023   62291      $748.74
1122008-01    C.W.         Rockaways ASC Development LLC                   Discectomy Ant Dcmprn Cord Cervic…     3/31/2023   63075     $6,402.03
1122008-01    C.W.         Rockaways ASC Development LLC                   Diskograpy Cervical/Thoracic Rs&I…     3/31/2023   72285      $962.54
1122008-01    C.W.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/22/2023   62321      $976.38
1121489-02    F.G.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…    1/4/2023   20553      $279.23
1121489-02    F.G.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/4/2023   62323      $980.10
1121489-02    F.G.              Global Surgery Center LLC                   Arthrocentesis Aspir&/Inj Major J…    3/23/2023   20610     $2,700.00
1121489-02    F.G.              Global Surgery Center LLC                  Arthroscopy Knee Synovectomy 2/>C…     3/23/2023   29876     $1,472.44
1121489-02    F.G.              Global Surgery Center LLC                 Arthrs Knee W/Meniscectomy Med&La…      3/23/2023   29880     $3,026.24
1121489-02    F.G.              Global Surgery Center LLC                  Arthroscopy Knee W/Lysis Adhesion…     3/23/2023   29884     $1,472.44
1121489-02    F.G.              Global Surgery Center LLC                     Unlisted Procedure Arthroscopy…     3/23/2023   29999     $1,472.44
1121489-02    F.G.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/31/2023   62323      $976.38
1121489-02    F.G.                     SCOB LLC                             Arthrocentesis Aspir&/Inj Major J…    5/11/2023   20610      $473.39
1121489-02    F.G.                     SCOB LLC                             Arthroscopy Shoulder Surgical Cap…    5/11/2023   29806     $5,596.40
1121489-02    F.G.                     SCOB LLC                             Arthroscopy Shoulder Surgical Rep…    5/11/2023   29807     $5,596.40

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                                                          1749
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                             Service     Code       Billed
1121489-02    F.G.                       SCOB LLC                         Arthroscopy Shoulder W/Coracoacrm… 5/11/2023      29826     $2,944.87
1121489-02    F.G.                       SCOB LLC                          Arthroscopy Shoulder Rotator Cuff…   5/11/2023   29827     $6,804.84
1121489-02    F.G.                       SCOB LLC                         Anchor/Screw For Opposing Bone-To… 5/11/2023      C1713     $1,669.50
1122450-01    C.S.               Global Surgery Center LLC                 Arthroscopy Shoulder Surgical Rep…   5/31/2023   29807     $6,462.39
1122450-01    C.S.               Global Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…   5/31/2023   29820     $1,472.44
1122450-01    C.S.               Global Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   5/31/2023   29823     $3,026.24
1122450-01    C.S.               Global Surgery Center LLC                 Arthroscopy Shoulder Distal Clavi…   5/31/2023   29824     $1,472.44
1122450-01    C.S.               Global Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …   5/31/2023   29825     $1,472.44
1122450-01    C.S.               Global Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 5/31/2023      29826     $1,472.44
1122450-01    C.S.        Bronx SC LLC d/b/a Empire State ASC              Perq Intrdscl Electrothrm Annulop…    4/9/2024   22526     $2,605.78
1122450-01    C.S.        Bronx SC LLC d/b/a Empire State ASC             Dcmprn Perq Nucleus Pulposus 1/> …     4/9/2024   62287     $5,292.93
1121172-04    G.N.                Baldwin Medical Services                 Office Outpatient New 60 Minutes…    11/8/2022   99205      $250.00
1121172-04    G.N.                Baldwin Medical Services                 Prolng E/M Svc Before&/After Dir …  12/28/2022   99358      $280.11
1121172-04    G.N.        All City Family Healthcare Center, Inc.          Perq Intrdscl Electrothrm Annulop…    8/3/2023   22526     $2,605.78
1121172-04    G.N.        All City Family Healthcare Center, Inc.          Perq Intrdscl Electrothrm Annulop…    8/3/2023   22527     $2,605.79
1121172-04    G.N.        All City Family Healthcare Center, Inc.         Dcmprn Perq Nucleus Pulposus 1/> …     8/3/2023   62287     $5,292.93
1122391-01    R.H.        All City Family Healthcare Center, Inc.           Arthrocentesis Aspir&/Inj Major J…  2/23/2023   20610      $473.38
1122391-01    R.H.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surgical Rep…   2/23/2023   29807     $5,677.77
1122391-01    R.H.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…   2/23/2023   29821     $2,798.20
1122391-01    R.H.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Debride…   2/23/2023   29823     $1,472.45
1122391-01    R.H.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Ahesiolysis …   2/23/2023   29825     $1,472.45
1122391-01    R.H.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder W/Coracoacrm… 2/23/2023      29826     $1,472.45
1122391-01    R.H.        All City Family Healthcare Center, Inc.            Unlisted Procedure Arthroscopy…    2/23/2023   29999     $1,472.45
1122391-01    R.H.        All City Family Healthcare Center, Inc.          Single Nerve Block Injection Arm …   2/23/2023   64415      $979.78
1122391-01    R.H.        All City Family Healthcare Center, Inc.         Us Guidance Needle Placement Img …    2/23/2023   76942      $341.96
1122391-01    R.H.                       SCOB LLC                           Arthrocentesis Aspir&/Inj Major J…  3/16/2023   20610      $473.39
1122391-01    R.H.                       SCOB LLC                          Arthroscopy Shoulder Surg Synovec…   3/16/2023   29821     $5,677.77
1122391-01    R.H.                       SCOB LLC                          Arthroscopy Shoulder Surg Debride…   3/16/2023   29823     $2,944.87
1122499-03    J.D.           Fifth Avenue Surgery Center LLC              Arthroscopy Knee Synovectomy Limi… 2/20/2023      29875     $1,472.45
1122499-03    J.D.           Fifth Avenue Surgery Center LLC             Arthrs Knee W/Meniscectomy Med&La… 2/20/2023       29880     $3,026.24
1122499-03    J.D.           Fifth Avenue Surgery Center LLC                 Unlisted Procedure Arthroscopy…    2/20/2023   29999     $1,472.45
1122499-03    J.D.              Atlantis Surgery Center LLC                 Injection Single/Mlt Trigger Poin…  4/19/2023   20553      $473.39
1122499-03    J.D.              Atlantis Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/19/2023   62323      $976.38
1121922-02    P.T.        All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/15/2023   62323      $976.38
1121922-02    P.T.        All City Family Healthcare Center, Inc.           Arthrocentesis Aspir&/Inj Major J…  3/23/2023   20610      $473.38
1121922-02    P.T.        All City Family Healthcare Center, Inc.         Arthroscopy Knee Synovectomy Limi… 3/23/2023      29875     $1,472.45
1121922-02    P.T.        All City Family Healthcare Center, Inc.        Arthrs Knee W/Meniscectomy Med&La… 3/23/2023       29880     $3,026.24
1121922-02    P.T.        All City Family Healthcare Center, Inc.            Unlisted Procedure Arthroscopy…    3/23/2023   29999     $1,472.45
1121922-02    P.T.           Island Ambulatory Surgery Center              Perq Intrdscl Electrothrm Annulop…   8/30/2023   22526     $2,648.32
1121922-02    P.T.           Island Ambulatory Surgery Center              Perq Intrdscl Electrothrm Annulop…   8/30/2023   22527     $2,648.32
1121922-02    P.T.           Island Ambulatory Surgery Center             Dcmprn Perq Nucleus Pulposus 1/> …    8/30/2023   62287     $5,296.65
1121922-02    P.T.           Island Ambulatory Surgery Center              Perq Intrdscl Electrothrm Annulop…   9/20/2023   22526     $2,648.32
1121922-02    P.T.           Island Ambulatory Surgery Center             Dcmprn Perq Nucleus Pulposus 1/> …    9/20/2023   62287     $5,296.65
1122351-02    W.T.          Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/27/2023   62323      $976.38
1122351-02    W.T.          Rockaways ASC Development LLC                  Perq Intrdscl Electrothrm Annulop…   3/10/2023   22526     $2,605.78
1122351-02    W.T.          Rockaways ASC Development LLC                  Perq Intrdscl Electrothrm Annulop…   3/10/2023   22527     $2,605.79
1122351-02    W.T.          Rockaways ASC Development LLC                 Dcmprn Perq Nucleus Pulposus 1/> …    3/10/2023   62287     $5,292.93
1122351-02    W.T.          Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/2/2023   62323      $976.38
1122351-02    W.T.           Island Ambulatory Surgery Center               Injection Single/Mlt Trigger Poin…  8/31/2023   20553      $279.23
1122351-02    W.T.           Island Ambulatory Surgery Center              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/31/2023   62321      $980.10
1122351-02    W.T.           Island Ambulatory Surgery Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/13/2023   64490      $980.10
1122351-02    W.T.           Island Ambulatory Surgery Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/13/2023   64491      $490.05
1122351-02    W.T.           Island Ambulatory Surgery Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/13/2023   64492      $490.05
1122351-02    W.T.           Island Ambulatory Surgery Center               Injection Single/Mlt Trigger Poin…  9/25/2023   20553      $558.46
1122351-02    W.T.           Island Ambulatory Surgery Center              Perq Intrdscl Electrothrm Annulop…  10/23/2023   22526     $2,648.32
1122351-02    W.T.           Island Ambulatory Surgery Center             Dcmprn Perq Nucleus Pulposus 1/> … 10/23/2023     62287     $5,296.65
1122175-01    C.H.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Synovec… 12/15/2022    29821     $5,677.77
1122175-01    C.H.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Debride…  12/15/2022   29823     $1,472.45
1122175-01    C.H.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Ahesiolysis …  12/15/2022   29825     $1,472.45
1122175-01    C.H.              Surgicore of Jersey City LLC              Arthroscopy Shoulder W/Coracoacrm… 12/15/2022     29826     $1,472.45
1122175-01    C.H.              Surgicore of Jersey City LLC                 Unlisted Procedure Arthroscopy…   12/15/2022   29999     $1,472.45
1122175-01    C.H.              Surgicore of Jersey City LLC               Single Nerve Block Injection Arm …  12/15/2022   64415      $979.78
1122175-01    C.H.              Surgicore of Jersey City LLC              Us Guidance Needle Placement Img … 12/15/2022     76942      $341.96
1122175-01    C.H.              Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…   12/15/2022   A4649      $185.00
1122175-01    C.H.               Crotona Parkway ASC LLC                   Perq Intrdscl Electrothrm Annulop…    1/3/2023   22526     $2,648.32
1122175-01    C.H.               Crotona Parkway ASC LLC                  Dcmprn Perq Nucleus Pulposus 1/> …     1/3/2023   62287     $5,296.65
1121572-01    N.P.     Surgicore LLC d/b/a Surgicore Surgical Center        Injection Single/Mlt Trigger Poin…  3/25/2023   20553      $236.69
1121572-01    N.P.     Surgicore LLC d/b/a Surgicore Surgical Center       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/25/2023   62323      $976.38

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                                                        1750
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                       Date of     Billing   Amount
                                      Provider                                    Service
 Number      Person                                                                                        Service     Code       Billed
1121572-01    N.P.             Bergenfield Surgical Center             Injection Single/Mlt Trigger Poin…  7/14/2023   20552      $554.74
1121572-01    N.P.             Bergenfield Surgical Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   7/14/2023   62323      $976.38
1121572-01    N.P.             Bergenfield Surgical Center                       Surgical Trays…           7/14/2023   A4550      $750.00
1121572-01    N.P.             Bergenfield Surgical Center             Injection Single/Mlt Trigger Poin…  8/18/2023   20552      $554.74
1121572-01    N.P.             Bergenfield Surgical Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/18/2023   62323      $976.38
1121572-01    N.P.             Bergenfield Surgical Center                       Surgical Trays…           8/18/2023   A4550      $750.00
1121572-01    N.P.             Bergenfield Surgical Center             Injection Single/Mlt Trigger Poin…  9/22/2023   20552      $554.74
1121572-01    N.P.             Bergenfield Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/22/2023   64493     $1,960.20
1121572-01    N.P.             Bergenfield Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/22/2023   64494     $1,960.20
1121572-01    N.P.             Bergenfield Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/22/2023   64495     $1,960.20
1121572-01    N.P.             Bergenfield Surgical Center                       Surgical Trays…           9/22/2023   A4550      $750.00
1121572-01    N.P.             Bergenfield Surgical Center             Injection Single/Mlt Trigger Poin… 11/10/2023   20552      $554.74
1121572-01    N.P.             Bergenfield Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2023   64493     $1,960.20
1121572-01    N.P.             Bergenfield Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2023   64494     $1,960.20
1121572-01    N.P.             Bergenfield Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2023   64495     $1,960.20
1121572-01    N.P.             Bergenfield Surgical Center                       Surgical Trays…          11/10/2023   A4550      $750.00
1121572-01    N.P.             Bergenfield Surgical Center             Injection Single/Mlt Trigger Poin…  1/12/2024   20552      $554.74
1121572-01    N.P.             Bergenfield Surgical Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/12/2024   62323      $980.10
1121572-01    N.P.             Bergenfield Surgical Center                       Surgical Trays…           1/12/2024   A4550      $750.00
1121572-01    N.P.             Bergenfield Surgical Center             Dstr Nrolytc Agnt Parverteb Fct S…  4/19/2024   64635      $976.38
1121572-01    N.P.             Bergenfield Surgical Center            Dstr Nrolytc Agnt Parverteb Fct A…   4/19/2024   64636      $976.38
1121572-01    N.P.             Bergenfield Surgical Center            Dstr Nrolytc Agnt Parverteb Fct A…   4/19/2024   64636      $976.38
1121572-01    N.P.             Bergenfield Surgical Center                       Surgical Trays…           4/19/2024   A4550      $750.00
1121572-01    N.P.             Bergenfield Surgical Center             Dstr Nrolytc Agnt Parverteb Fct S…  5/17/2024   64635      $976.38
1121572-01    N.P.             Bergenfield Surgical Center            Dstr Nrolytc Agnt Parverteb Fct A…   5/17/2024   64636      $976.38
1121572-01    N.P.             Bergenfield Surgical Center            Dstr Nrolytc Agnt Parverteb Fct A…   5/17/2024   64636      $976.38
1121572-01    N.P.             Bergenfield Surgical Center                       Surgical Trays…           5/17/2024   A4550      $750.00
1120969-01    M.S.         Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulop…    1/4/2023   22526     $2,605.78
1120969-01    M.S.         Rockaways ASC Development LLC              Injection Px Discogrphy Ea Lvl Ce…    1/4/2023   62291      $748.74
1120969-01    M.S.         Rockaways ASC Development LLC             Discectomy Ant Dcmprn Cord Cervic…     1/4/2023   63075     $6,402.03
1120969-01    M.S.         Rockaways ASC Development LLC              Diskograpy Cervical/Thoracic Rs&I…    1/4/2023   72285      $962.54
1120969-01    M.S.             Global Surgery Center LLC              Arthroscopy Shoulder Surg Synovec…    2/7/2023   29821     $1,472.44
1120969-01    M.S.             Global Surgery Center LLC              Arthroscopy Shoulder Surg Debride…    2/7/2023   29823     $5,677.77
1120969-01    M.S.             Global Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …    2/7/2023   29825     $1,472.44
1120969-01    M.S.             Global Surgery Center LLC                Unlisted Procedure Arthroscopy…     2/7/2023   29999     $1,472.44
1120969-01    M.S.          Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulop…   2/15/2023   22526     $2,605.78
1120969-01    M.S.          Fifth Avenue Surgery Center LLC           Perq Intrdscl Electrothrm Annulop…   2/15/2023   22527     $2,605.79
1120969-01    M.S.          Fifth Avenue Surgery Center LLC          Dcmprn Perq Nucleus Pulposus 1/> …    2/15/2023   62287     $5,292.93
1120099-01    J.E.             Citimed Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/3/2023   62323      $976.38
1120099-01    J.E.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…   3/30/2023   29821     $5,677.77
1120099-01    J.E.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…   3/30/2023   29823     $1,472.45
1120099-01    J.E.          Fifth Avenue Surgery Center LLC             Unlisted Procedure Arthroscopy…    3/30/2023   29999     $1,472.45
1120099-01    J.E.          Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …   3/30/2023   64415      $979.78
1120099-01    J.E.          Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …    3/30/2023   76942      $341.96
1120685-01    J.R.                     SCOB LLC                      Arthroscopy Knee Synovectomy 2/>C… 1/20/2023      29876     $2,944.87
1120685-01    J.R.                     SCOB LLC                       Arthrs Knee Abrasion Arthrp/Mlt D…   1/20/2023   29879     $3,026.24
1120685-01    J.R.                     SCOB LLC                     Arthrs Kne Surg W/Meniscectomy Me… 1/20/2023       29881     $2,944.87
1120685-01    J.R.         Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/15/2023   62323      $976.38
1119807-03    J.R.          Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J… 11/17/2022   20610      $473.38
1119807-03    J.R.          Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi… 11/17/2022     29875     $1,472.45
1119807-03    J.R.          Fifth Avenue Surgery Center LLC         Arthrs Knee W/Meniscectomy Med&La… 11/17/2022      29880     $3,026.24
1119807-03    J.R.          Fifth Avenue Surgery Center LLC          Arthroscopy Knee W/Lysis Adhesion… 11/17/2022     29884     $1,472.45
1119807-03    J.R.          Fifth Avenue Surgery Center LLC             Unlisted Procedure Arthroscopy…   11/17/2022   29999     $1,472.45
1119807-03    J.R.                     SCOB LLC                        Arthrocentesis Aspir&/Inj Major J…  4/20/2023   20610      $473.39
1119807-03    J.R.                     SCOB LLC                       Arthroscopy Shoulder Surgical Rep…   4/20/2023   29807     $5,677.77
1119807-03    J.R.                     SCOB LLC                       Arthroscopy Shoulder Surg Debride…   4/20/2023   29823     $2,944.87
1119807-03    J.R.                     SCOB LLC                      Arthroscopy Shoulder W/Coracoacrm… 4/20/2023      29826     $2,944.87
1119807-03    J.R.                     SCOB LLC                      Anchor/Screw For Opposing Bone-To… 4/20/2023      C1713      $556.50
1120268-01    S.B.              Baldwin Medical Services              Office Outpatient New 60 Minutes…    11/9/2022   99205      $250.00
1120268-01    S.B.            Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 11/30/2022     29876     $1,472.45
1120268-01    S.B.            Surgicore of Jersey City LLC            Arthrs Knee Abrasion Arthrp/Mlt D… 11/30/2022    29879     $1,472.45
1120268-01    S.B.            Surgicore of Jersey City LLC          Arthrs Kne Surg W/Meniscectomy Me… 11/30/2022      29881     $3,026.24
1120268-01    S.B.            Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…   11/30/2022   A4649      $195.00
1120268-01    S.B.              Baldwin Medical Services              Prolng E/M Svc Before&/After Dir …  12/28/2022   99358      $280.11
1120268-03    A.N.              Baldwin Medical Services              Office Outpatient New 60 Minutes…   11/16/2022   99205      $250.00
1120268-03    A.N.            Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 11/30/2022     29876     $1,472.45
1120268-03    A.N.            Surgicore of Jersey City LLC            Arthrs Knee Abrasion Arthrp/Mlt D… 11/30/2022    29879     $1,472.45
1120268-03    A.N.            Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 11/30/2022      29880     $3,026.24

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                                                          1751
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1120268-03    A.N.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…   11/30/2022   29999     $1,472.45
1120268-03    A.N.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…   11/30/2022   A4649      $195.00
1120268-03    A.N.               Baldwin Medical Services                   Prolng E/M Svc Before&/After Dir …  12/28/2022   99358      $280.11
1120268-03    A.N.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy Limi… 4/19/2023      29875     $1,472.45
1120268-03    A.N.             Surgicore of Jersey City LLC                 Arthrs Knee Abrasion Arthrp/Mlt D…   4/19/2023   29879     $1,472.45
1120268-03    A.N.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 4/19/2023       29880     $3,026.24
1120393-02    T.F.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/31/2023   62321      $976.38
1120393-02    T.F.                     SCOB LLC                            Discectomy Ant Dcmprn Cord Cervic… 2/14/2023      63075     $6,402.03
1120393-02    T.F.                     SCOB LLC                            Probe, Percutaneous Lumbar Discec…    2/14/2023   C2614     $1,237.50
1120393-02    T.F.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/14/2023   62323      $976.38
1120393-02    T.F.        All City Family Healthcare Center, Inc.           Njx Pltlt Plasma W/Img Harvest/Pr…   3/15/2023   0232T      $875.92
1120393-02    T.F.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surgical Rem…   3/15/2023   29819     $1,472.45
1120393-02    T.F.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…    3/15/2023   29821     $5,677.77
1120393-02    T.F.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   3/15/2023   29823     $1,472.45
1120393-02    T.F.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …   3/15/2023   29825     $1,472.45
1120393-02    T.F.        All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…    3/15/2023   29999     $1,472.45
1120393-02    T.F.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   3/15/2023   64415      $979.78
1120393-02    T.F.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    3/15/2023   76942      $341.96
1120393-02    T.F.                     SCOB LLC                             Perq Intrdscl Electrothrm Annulop…   3/28/2023   22526     $5,211.56
1120393-02    T.F.                     SCOB LLC                            Dcmprn Perq Nucleus Pulposus 1/> …    3/28/2023   62287     $5,292.93
1120393-02    T.F.                     SCOB LLC                            Probe, Percutaneous Lumbar Discec…    3/28/2023   C2614     $1,237.50
1119656-04    J.T.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/22/2023   62321      $976.38
1119656-04    J.T.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/3/2023   62321      $976.38
1119656-04    J.T.                     SCOB LLC                              Arthrocentesis Aspir&/Inj Major J…   3/9/2023   20610      $473.39
1119656-04    J.T.                     SCOB LLC                            Tenotomy Shoulder Multiple Thru S…     3/9/2023   23406     $3,679.51
1119656-04    J.T.                     SCOB LLC                            Arthroscopy Shoulder Surg Synovec…     3/9/2023   29821     $5,677.77
1119656-04    J.T.                     SCOB LLC                            Arthroscopy Shoulder W/Coracoacrm…     3/9/2023   29826     $2,944.87
1119656-04    J.T.          Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…   9/26/2023   22526     $2,648.32
1119656-04    J.T.          Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…   9/26/2023   22527     $2,648.32
1119656-04    J.T.          Island Ambulatory Surgery Center                     Unlisted Procedure Spine…       9/26/2023   22899     $2,648.32
1119656-04    J.T.          Island Ambulatory Surgery Center               Dcmprn Perq Nucleus Pulposus 1/> …    9/26/2023   62287     $5,296.65
1120396-01    C.D.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…  3/30/2023   20553      $554.76
1120396-01    C.D.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/30/2023   62323      $976.38
1120396-01    C.D.             Citimed Surgery Center LLC                  Arthroscopy Knee Synovectomy 2/>C…     6/8/2023   29876     $2,944.87
1120396-01    C.D.             Citimed Surgery Center LLC                   Arthrs Knee Abrasion Arthrp/Mlt D…    6/8/2023   29879     $3,026.24
1120396-01    C.D.             Citimed Surgery Center LLC                 Arthrs Knee W/Meniscectomy Med&La… 6/8/2023        29880     $2,944.87
1119743-03    K.M.        All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…    1/3/2023   22526     $2,605.78
1119743-03    K.M.        All City Family Healthcare Center, Inc.          Dcmprn Perq Nucleus Pulposus 1/> …     1/3/2023   62287     $5,292.93
1119743-03    K.M.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…  1/31/2023   20552      $236.69
1119743-03    K.M.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/31/2023   62323      $976.38
1119743-03    K.M.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …    1/31/2023   76942      $341.96
1119743-03    K.M.             East Tremont Medical Center                  Anes Open/Surg Arthroscopic Proc …    2/4/2023    1400      $297.10
1119743-03    K.M.             East Tremont Medical Center                   Arthrocentesis Aspir&/Inj Major J…   2/4/2023   20610      $473.38
1119743-03    K.M.             East Tremont Medical Center                 Arthroscopy Knee Synovectomy 2/>C…     2/4/2023   29876     $1,472.45
1119743-03    K.M.             East Tremont Medical Center                  Arthrs Knee Abrasion Arthrp/Mlt D…    2/4/2023   29879     $1,472.45
1119743-03    K.M.             East Tremont Medical Center                Arthrs Knee W/Meniscectomy Med&La… 2/4/2023        29880     $3,026.24
1119743-03    K.M.             East Tremont Medical Center                 Arthroscopy Knee W/Lysis Adhesion…     2/4/2023   29884     $1,472.45
1119743-03    K.M.             East Tremont Medical Center                  Infectious Agent Detection By Nuc…    2/4/2023   87635      $100.00
1120485-02    J.R.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 11/16/2022     29875     $1,472.45
1120485-02    J.R.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 11/16/2022      29880     $3,026.24
1120485-02    J.R.                     SCOB LLC                              Injection Single/Mlt Trigger Poin… 11/21/2022   20552      $473.39
1120485-02    J.R.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  11/21/2022   62321      $976.38
1120485-02    J.R.             Citimed Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/5/2022   62323      $976.38
1120485-02    J.R.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec… 12/14/2022     29821     $5,677.77
1120485-02    J.R.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…  12/14/2022   29823     $1,472.45
1120485-02    J.R.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 12/14/2022     29826     $1,472.45
1120485-02    J.R.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …  12/14/2022   64415      $979.78
1120485-02    J.R.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img … 12/14/2022     76942      $341.96
1120485-02    J.R.             Citimed Surgery Center LLC                    Injection Single/Mlt Trigger Poin…  1/23/2023   20552      $473.39
1120485-02    J.R.             Citimed Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…   1/23/2023   64490     $1,423.89
1120485-02    J.R.             Citimed Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…   1/23/2023   64491     $1,342.52
1120485-02    J.R.             Citimed Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…   1/23/2023   64492     $1,342.52
1120485-05    J.L.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec… 11/16/2022     29821     $5,677.77
1120485-05    J.L.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…  11/16/2022   29823     $1,472.45
1120485-05    J.L.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 11/16/2022     29826     $1,472.45
1120485-05    J.L.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …  11/16/2022   64415      $979.78
1120485-05    J.L.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img … 11/16/2022     76942      $341.96
1120485-05    J.L.                     SCOB LLC                              Injection Single/Mlt Trigger Poin… 11/21/2022   20552      $473.39

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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1120485-05    J.L.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/21/2022   62321      $976.38
1120485-05    J.L.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 11/30/2022      29875     $1,472.45
1120485-05    J.L.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 11/30/2022       29880     $3,026.24
1120485-05    J.L.            Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…   11/30/2022   29999     $1,472.45
1120552-02    E.R.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…  11/19/2022   20610      $473.39
1120552-02    E.R.                       SCOB LLC                        Arthroscopy Shoulder Surg Synovec… 11/19/2022     29821     $5,677.77
1120552-02    E.R.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…   11/19/2022   29823     $2,944.87
1120552-02    E.R.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/16/2022   62321      $976.38
1120552-02    E.R.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…  12/17/2022   20610      $473.39
1120552-02    E.R.                       SCOB LLC                        Arthroscopy Shoulder Surg Synovec… 12/17/2022     29821     $5,677.77
1120552-02    E.R.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…   12/17/2022   29823     $2,944.87
1120552-02    E.R.                       SCOB LLC                       Arthroscopy Shoulder W/Coracoacrm… 12/17/2022      29826     $2,944.87
1120552-02    E.R.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/13/2023   62323      $976.38
1120552-02    E.R.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…    2/9/2023   20610      $473.39
1120552-02    E.R.                       SCOB LLC                       Arthroscopy Knee Synovectomy 2/>C…      2/9/2023   29876     $3,026.24
1120552-02    E.R.                       SCOB LLC                      Arthrs Knee W/Meniscectomy Med&La… 2/9/2023         29880     $2,944.87
1119663-01    C.M.            Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin… 11/15/2022   20553      $279.23
1119663-01    C.M.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/15/2022   62323      $980.10
1119663-01    C.M.            Island Ambulatory Surgery Center            Infectious Agent Antigen Detectio…  11/15/2022   87426      $200.00
1119663-01    C.M.           Rockaways ASC Development LLC                Arthrocentesis Aspir&/Inj Major J…  11/29/2022   20610      $473.39
1119663-01    C.M.           Rockaways ASC Development LLC              Arthroscopy Knee Synovectomy Limi… 11/29/2022      29875     $1,472.45
1119663-01    C.M.           Rockaways ASC Development LLC             Arthrs Knee W/Meniscectomy Med&La… 11/29/2022       29880     $3,026.24
1119663-01    C.M.           Rockaways ASC Development LLC                  Unlisted Procedure Arthroscopy…   11/29/2022   29999     $1,472.45
1119663-01    C.M.           Rockaways ASC Development LLC               Infectious Agent Detection By Nuc…   11/29/2022   87635       $51.33
1119663-01    C.M.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/11/2023   62323      $980.10
1119663-01    C.M.            Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin…  6/30/2023   20553      $279.23
1119663-01    C.M.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/30/2023   62323      $980.10
1118971-03    M.R.                       SCOB LLC                        Njx Pltlt Plasma W/Img Harvest/Pr…    11/3/2022   0232T      $875.92
1118971-03    M.R.                       SCOB LLC                        Arthroscopy Wrist Surgical Synove…    11/3/2022   29845     $3,026.21
1118971-03    M.R.                       SCOB LLC                        Arthrs Wrst Exc&/Rpr Triang Fibro…    11/3/2022   29846     $2,944.84
1118971-03    M.R.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin…  12/3/2022   20553      $236.69
1118971-03    M.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      12/3/2022   62323      $976.38
1118971-03    M.R.                       SCOB LLC                        Njx Pltlt Plasma W/Img Harvest/Pr…   12/15/2022   0232T      $875.92
1118971-03    M.R.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…  12/15/2022   20610      $473.39
1118971-03    M.R.                       SCOB LLC                       Arthroscopy Knee Synovectomy 2/>C… 12/15/2022      29876     $3,026.24
1118971-03    M.R.                       SCOB LLC                      Arthrs Knee W/Meniscectomy Med&La… 12/15/2022       29880     $2,944.87
1118971-03    M.R.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin…  4/20/2024   20553      $473.39
1118971-03    M.R.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…    4/20/2024   22526     $2,605.78
1118971-03    M.R.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…    4/20/2024   22527     $2,605.79
1118971-03    M.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …      4/20/2024   62287     $5,292.93
1119432-01    N.N.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/11/2023   62321      $976.38
1119432-01    N.N.               East Tremont Medical Center             Anes Arthrs Humeral H/N Strnclav …     7/6/2023    1630      $237.68
1119432-01    N.N.               East Tremont Medical Center             Anes Arthrs Humeral H/N Strnclav …     7/6/2023    1630      $237.68
1119432-01    N.N.               East Tremont Medical Center              Arthrocentesis Aspir&/Inj Major J…    7/6/2023   20610      $554.74
1119432-01    N.N.               East Tremont Medical Center             Arthroscopy Shoulder Surg Synovec…     7/6/2023   29821     $5,677.77
1119432-01    N.N.               East Tremont Medical Center             Arthroscopy Shoulder Surg Debride…     7/6/2023   29823     $3,026.24
1119432-01    N.N.               East Tremont Medical Center             Arthroscopy Shoulder Distal Clavi…     7/6/2023   29824     $1,472.45
1119432-01    N.N.               East Tremont Medical Center             Arthroscopy Shoulder Ahesiolysis …     7/6/2023   29825     $1,472.45
1119432-01    N.N.               East Tremont Medical Center            Arthroscopy Shoulder W/Coracoacrm…      7/6/2023   29826     $1,472.45
1119432-01    N.N.               East Tremont Medical Center                Unlisted Procedure Arthroscopy…     7/6/2023   29999     $1,472.45
1119432-01    N.N.               East Tremont Medical Center             Single Nerve Block Injection Arm …     7/6/2023   64415      $171.32
1119432-01    N.N.               East Tremont Medical Center            Us Guidance Needle Placement Img …      7/6/2023   76942      $289.20
1119432-01    N.N.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    7/16/2023   22526     $2,605.78
1119432-01    N.N.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic… 7/16/2023       63075     $6,402.03
1120291-02    C.P.               Citimed Surgery Center LLC              Arthroscopy Shoulder Surg Debride…   12/20/2022   29823     $2,944.87
1120291-02    C.P.               Citimed Surgery Center LLC              Arthroscopy Shoulder Rotator Cuff…   12/20/2022   29827     $6,804.84
1120291-02    C.P.               Citimed Surgery Center LLC             Anchor/Screw For Opposing Bone-To… 12/20/2022      C1713      $556.50
1120291-02    C.P.                       SCOB LLC                        Arthroscopy Ankle Surgical Debrid…     3/9/2023   29898     $3,026.24
1120291-02    C.P.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/24/2023   62323      $976.38
1120291-02    C.P.           Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…    3/31/2023   22526     $2,605.78
1120291-02    C.P.           Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…    3/31/2023   22527     $2,605.78
1120291-02    C.P.           Rockaways ASC Development LLC              Dcmprn Perq Nucleus Pulposus 1/> …     3/31/2023   62287     $5,292.93
1118986-02    A.R.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…   12/8/2022   20610      $473.39
1118986-02    A.R.                       SCOB LLC                        Arthroscopy Shoulder Surg Synovec…    12/8/2022   29821     $5,677.77
1118986-02    A.R.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…    12/8/2022   29823     $2,944.87
1118986-02    A.R.                       SCOB LLC                       Arthroscopy Shoulder W/Coracoacrm… 12/8/2022       29826     $2,944.87
1118986-02    A.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      3/25/2023   62323      $976.38
1120627-01    A.A.               East Tremont Medical Center             Anesthesia Cervical Spine & Cord …     6/1/2023     600      $386.23

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                                                           1753
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1120627-01    A.A.               East Tremont Medical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…    6/1/2023   64490     $1,423.90
1120627-01    A.A.               East Tremont Medical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…    6/1/2023   64491      $671.25
1120627-01    A.A.               East Tremont Medical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…    6/1/2023   64492      $671.25
1120627-01    A.A.               East Tremont Medical Center             Fluor Needle/Cath Spine/Paraspina…    6/1/2023   77003      $572.53
1120627-01    A.A.               East Tremont Medical Center             Infectious Agent Detection By Nuc…    6/1/2023   87635      $100.00
1120627-01    A.A.       Surgicore LLC d/b/a Surgicore Surgical Center   Perq Intrdscl Electrothrm Annulop…  10/28/2023   22526     $2,065.78
1120627-01    A.A.       Surgicore LLC d/b/a Surgicore Surgical Center   Perq Intrdscl Electrothrm Annulop…  10/28/2023   22527     $2,605.79
1120627-01    A.A.       Surgicore LLC d/b/a Surgicore Surgical Center  Dcmprn Perq Nucleus Pulposus 1/> … 10/28/2023     62287     $5,292.93
1118829-01    C.M.                 Baldwin Medical Services              Office Outpatient New 60 Minutes…   11/16/2022   99205      $250.00
1118829-01    C.M.                 Baldwin Medical Services              Prolng E/M Svc Before&/After Dir …  12/18/2022   99358      $280.11
1118829-01    C.M.          Bronx SC LLC d/b/a Empire State ASC          Perq Intrdscl Electrothrm Annulop…   10/1/2023   22526     $2,605.78
1118829-01    C.M.          Bronx SC LLC d/b/a Empire State ASC         Dcmprn Perq Nucleus Pulposus 1/> …    10/1/2023   62287     $5,292.93
1118568-04    C.W.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…    11/9/2022   29821     $5,677.77
1118568-04    C.W.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…   11/9/2022   29823     $1,472.45
1118568-04    C.W.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …   11/9/2022   29825     $1,472.45
1118568-04    C.W.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    11/9/2022   29999     $1,472.45
1118568-04    C.W.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    11/9/2022   29999     $1,472.45
1118568-04    C.W.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …   11/9/2022   64415      $979.78
1118568-04    C.W.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …    11/9/2022   76942      $341.96
1118568-04    C.W.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    11/9/2022   A4649      $185.00
1118568-04    C.W.                     Triborough ASC                     Injection Single/Mlt Trigger Poin…  1/18/2023   20553      $279.23
1118568-04    C.W.                     Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/18/2023   62323      $980.10
1118568-04    C.W.                     Triborough ASC                     Injection Single/Mlt Trigger Poin…  1/25/2023   20553      $279.23
1118568-04    C.W.                     Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/25/2023   62321      $980.10
1118743-01    A.R.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…   4/5/2023   20610      $473.39
1118743-01    A.R.                       SCOB LLC                       Arthroscopy Shoulder Surg Synovec…     4/5/2023   29821     $5,677.77
1118743-01    A.R.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…    4/5/2023   29823     $2,944.87
1118743-01    A.R.                       SCOB LLC                       Arthroscopy Shoulder W/Coracoacrm…     4/5/2023   29826     $2,944.87
1118743-01    A.R.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…   4/20/2023   22526     $2,605.78
1118743-01    A.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …     4/20/2023   62287     $5,292.93
1118743-01    A.R.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…  4/26/2023   20610      $473.39
1118743-01    A.R.                       SCOB LLC                       Arthroscopy Knee Synovectomy 2/>C… 4/26/2023      29876     $3,026.24
1118743-01    A.R.                       SCOB LLC                      Arthrs Knee W/Meniscectomy Med&La… 4/26/2023       29880     $2,944.87
1118812-02    M.C.                     Triborough ASC                     Injection Single/Mlt Trigger Poin…  11/9/2022   20553      $279.23
1118812-02    M.C.                     Triborough ASC                     Injection Single/Mlt Trigger Poin…  11/9/2022   20553      $279.23
1118812-02    M.C.                     Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/9/2022   62321      $980.10
1118812-02    M.C.                     Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/9/2022   62321      $980.10
1118812-02    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec… 11/29/2022      29821     $5,677.77
1118812-02    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…    11/29/2022   29823     $1,472.45
1118812-02    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Ahesiolysis …  11/29/2022   29825     $1,472.45
1118812-02    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 11/29/2022      29826     $1,472.45
1118812-02    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …  11/29/2022   64415      $979.78
1118812-02    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img … 11/29/2022      76942      $341.96
1118953-01    J.T.          All City Family Healthcare Center, Inc.       Injection Single/Mlt Trigger Poin… 10/31/2022   20552      $236.69
1118953-01    J.T.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/31/2022   62321      $976.38
1118953-01    J.T.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img … 10/31/2022     76942      $341.96
1118953-01    J.T.            Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulop…   11/8/2022   22526     $2,605.78
1118953-01    J.T.            Rockaways ASC Development LLC             Discectomy Ant Dcmprn Cord Cervic… 11/8/2022      63075     $6,402.03
1118953-01    J.T.          All City Family Healthcare Center, Inc.       Injection Single/Mlt Trigger Poin… 11/28/2022   20552      $236.69
1118953-01    J.T.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/28/2022   62323      $976.38
1118953-01    J.T.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img … 11/28/2022     76942      $341.96
1118953-01    J.T.             Parkway Ambulatory Surgery Ce            Arthroscopy Shoulder Surg Synovec…    12/3/2022   29821     $1,472.44
1118953-01    J.T.             Parkway Ambulatory Surgery Ce             Arthroscopy Shoulder Surg Debride…   12/3/2022   29823     $5,677.77
1118953-01    J.T.             Parkway Ambulatory Surgery Ce             Arthroscopy Shoulder Ahesiolysis …   12/3/2022   29825     $1,472.44
1118953-01    J.T.             Parkway Ambulatory Surgery Ce            Arthroscopy Shoulder W/Coracoacrm… 12/3/2022      29826     $1,472.44
1118953-01    J.T.             Parkway Ambulatory Surgery Ce               Unlisted Procedure Arthroscopy…    12/3/2022   29999     $1,472.44
1118953-01    J.T.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…   12/5/2022   22526     $2,605.78
1118953-01    J.T.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …    12/5/2022   62287     $5,292.93
1118948-01     J.J.                      SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/8/2022   62321      $976.38
1118948-01     J.J.                      SCOB LLC                       Discectomy Ant Dcmprn Cord Cervic… 11/22/2022     63075     $6,302.03
1118948-01     J.J.                      SCOB LLC                       Probe, Percutaneous Lumbar Discec… 11/22/2022     C2614     $2,000.00
1118948-01     J.J.                      SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  12/13/2022   62323      $976.38
1118948-01     J.J.                      SCOB LLC                       Dcmprn Perq Nucleus Pulposus 1/> … 12/27/2022     62287     $5,292.93
1118948-01     J.J.                      SCOB LLC                       Probe, Percutaneous Lumbar Discec… 12/27/2022     C2614     $1,237.50
1118948-01     J.J.           Rockaways ASC Development LLC             Arthroscopy Knee Synovectomy Limi…     4/3/2023   29875     $1,472.45
1118948-01     J.J.           Rockaways ASC Development LLC            Arthrs Kne Surg W/Meniscectomy Me… 4/3/2023        29881     $3,026.24
1118948-01     J.J.           Rockaways ASC Development LLC                Unlisted Procedure Arthroscopy…     4/3/2023   29999     $1,472.45
1119167-02    J.S.            Rockaways ASC Development LLC               Injection Single/Mlt Trigger Poin…  12/4/2022   20552      $236.69

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                                                           1754
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1119167-02    J.S.            Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    12/4/2022   62323      $976.38
1119167-02    J.S.            Rockaways ASC Development LLC             Us Guidance Needle Placement Img …     12/4/2022   76942      $341.96
1119167-02    J.S.             Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…  1/16/2023   20553      $279.23
1119167-02    J.S.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    1/16/2023   62321      $980.10
1119167-02    J.S.                        SCOB LLC                       Arthrocentesis Aspir&/Inj Major J…    8/17/2023   20610      $473.39
1119167-02    J.S.                        SCOB LLC                      Arthroscopy Shoulder Surg Synovec…     8/17/2023   29821     $5,677.77
1119167-02    J.S.                        SCOB LLC                       Arthroscopy Shoulder Surg Debride…    8/17/2023   29823     $2,944.87
1119167-04    S.T.            Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…   1/8/2023   20552      $236.69
1119167-04    S.T.            Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/8/2023   62323      $976.38
1119167-04    S.T.            Rockaways ASC Development LLC             Us Guidance Needle Placement Img …      1/8/2023   76942      $341.96
1119167-04    S.T.             Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…  3/29/2023   20553      $279.23
1119167-04    S.T.             Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…  3/29/2023   20553      $279.23
1119167-04    S.T.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/29/2023   62321      $980.10
1119167-04    S.T.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/29/2023   62321      $980.10
1119150-01    J.F.                        SCOB LLC                       Arthroscopy Shoulder Surg Debride…    11/4/2022   29823     $3,026.24
1119150-01    J.F.                        SCOB LLC                       Arthroscopy Shoulder Ahesiolysis …    11/4/2022   29825     $2,944.87
1119150-01    J.F.            Rockaways ASC Development LLC             Arthroscopy Shoulder Surg Synovec… 11/29/2022      29821     $5,677.77
1119150-01    J.F.            Rockaways ASC Development LLC              Arthroscopy Shoulder Surg Debride…   11/29/2022   29823     $1,472.45
1119150-01    J.F.            Rockaways ASC Development LLC              Arthroscopy Shoulder Ahesiolysis …   11/29/2022   29825     $1,472.45
1119150-01    J.F.            Rockaways ASC Development LLC             Arthroscopy Shoulder W/Coracoacrm… 11/29/2022      29826     $1,472.45
1119150-01    J.F.            Rockaways ASC Development LLC              Single Nerve Block Injection Arm …   11/29/2022   64415      $979.78
1119150-01    J.F.            Rockaways ASC Development LLC             Us Guidance Needle Placement Img … 11/29/2022      76942      $341.96
1119150-01    J.F.            Rockaways ASC Development LLC              Infectious Agent Detection By Nuc…   11/29/2022   87635       $51.33
1119150-01    J.F.                Citimed Surgery Center LLC               Injection Single/Mlt Trigger Poin…  1/20/2023   20553      $473.39
1119150-01    J.F.                Citimed Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    1/20/2023   62321      $976.38
1119150-01    J.F.                Citimed Surgery Center LLC            Arthroscopy Knee Synovectomy 2/>C… 1/24/2023       29876     $3,026.24
1119150-01    J.F.                Citimed Surgery Center LLC           Arthrs Knee W/Meniscectomy Med&La… 1/24/2023        29880     $2,944.87
1119320-01    A.Y.             Fifth Avenue Surgery Center LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    1/26/2023   62321      $976.38
1119320-01    A.Y.            New York Surgery Center of Queens          Anes Diag Arthroscopic Shoulder J…    2/28/2023    1622      $228.14
1119320-01    A.Y.            New York Surgery Center of Queens         Arthroscopy Shoulder Surg Synovec…     2/28/2023   29821     $2,798.20
1119320-01    A.Y.            New York Surgery Center of Queens          Arthroscopy Shoulder Surg Debride…    2/28/2023   29823     $1,472.45
1119320-01    A.Y.            New York Surgery Center of Queens          Arthroscopy Shoulder Distal Clavi…    2/28/2023   29824     $1,472.45
1119320-01    A.Y.            New York Surgery Center of Queens         Arthroscopy Shoulder W/Coracoacrm… 2/28/2023       29826     $1,472.45
1119320-01    A.Y.            New York Surgery Center of Queens          Arthroscopy Shoulder Rotator Cuff…    2/28/2023   29827     $6,723.47
1119320-01    A.Y.            New York Surgery Center of Queens         Arthroscopy Shoulder Biceps Tenod…     2/28/2023   29828     $5,596.40
1119320-01    A.Y.            New York Surgery Center of Queens          Single Nerve Block Injection Arm …    2/28/2023   64415      $800.00
1119206-02    D.H.                      Triborough ASC                     Injection Single/Mlt Trigger Poin… 12/28/2022   20553      $279.23
1119206-02    D.H.                      Triborough ASC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/28/2022   62323      $980.10
1119206-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…       1/7/2023   29821     $5,677.77
1119206-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…       1/7/2023   29823     $1,472.45
1119206-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Ahesiolysis …     1/7/2023   29825     $1,472.45
1119206-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm…       1/7/2023   29826     $1,472.45
1119206-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …     1/7/2023   64415      $979.78
1119206-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …       1/7/2023   76942      $341.96
1117602-01    E.G.                 Global Surgery Center LLC            Arthroscopy Knee Synovectomy 2/>C… 1/27/2023       29876     $3,997.71
1117602-01    E.G.                 Global Surgery Center LLC           Arthrs Kne Surg W/Meniscectomy Me… 1/27/2023        29881     $3,997.71
1117602-01    E.G.       Surgicore LLC d/b/a Surgicore Surgical Center     Injection Single/Mlt Trigger Poin…  8/24/2023   20553      $236.69
1117602-01    E.G.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/24/2023   62323      $976.38
1117602-01    E.G.          Bronx SC LLC d/b/a Empire State ASC            Injection Single/Mlt Trigger Poin… 10/22/2023   20553      $236.69
1117602-01    E.G.          Bronx SC LLC d/b/a Empire State ASC          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/22/2023   62321      $976.38
1117602-01    E.G.          Bronx SC LLC d/b/a Empire State ASC         Us Guidance Needle Placement Img … 10/22/2023      76942      $341.96
1118039-01    J.B.                East Tremont Medical Center            Application Modality 1/> Areas Ho…     9/8/2022   97010        $5.76
1118039-01    J.B.                East Tremont Medical Center            Appl Modality 1/> Areas Elec Stim…     9/8/2022   97014       $27.87
1118039-01    J.B.                East Tremont Medical Center            Therapeutic Px 1/> Areas Each 15 …     9/8/2022   97110       $41.61
1118039-01    J.B.                East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…      9/8/2022   97140       $44.33
1118039-01    J.B.            Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…  2/19/2023   20552      $236.69
1118039-01    J.B.            Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/19/2023   62323      $976.38
1118039-01    J.B.            Rockaways ASC Development LLC             Us Guidance Needle Placement Img …     2/19/2023   76942      $341.96
1118101-02    S.J.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    12/1/2022   62323      $980.10
1118101-02    S.J.             Island Ambulatory Surgery Center           Infectious Agent Antigen Detectio…   12/1/2022   87426      $200.00
1118101-02    S.J.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/19/2023   62321      $980.10
1118101-02    S.J.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 5/19/2023       29875     $1,472.45
1118101-02    S.J.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 5/19/2023        29880     $3,026.24
1118101-02    S.J.          All City Family Healthcare Center, Inc.     Arthroscopy Knee W/Lysis Adhesion… 5/19/2023       29884     $1,472.45
1118101-02    S.J.          All City Family Healthcare Center, Inc.         Unlisted Procedure Arthroscopy…    5/19/2023   29999     $1,472.45
1118410-01    E.R.          All City Family Healthcare Center, Inc.        Injection Single/Mlt Trigger Poin…   1/3/2023   20552      $236.69
1118410-01    E.R.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/3/2023   62323      $976.38
1118410-01    E.R.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …      1/3/2023   76942      $341.96

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                                                          1755
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1118410-01    E.R.        All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…    1/16/2023   22526     $2,605.78
1118410-01    E.R.        All City Family Healthcare Center, Inc.          Dcmprn Perq Nucleus Pulposus 1/> …     1/16/2023   62287     $5,292.93
1118410-01    E.R.             East Tremont Medical Center                  Anes Open/Surg Arthroscopic Proc …    6/22/2023    1400      $237.68
1118410-01    E.R.             East Tremont Medical Center                 Arthroscopy Knee Synovectomy 2/>C… 6/22/2023       29876     $1,472.45
1118410-01    E.R.             East Tremont Medical Center                Arthrs Knee W/Meniscectomy Med&La… 6/22/2023        29880     $3,026.24
1118410-01    E.R.             East Tremont Medical Center                Arthroscopy Knee W/Meniscus Rpr M… 6/22/2023        29882     $2,944.86
1118410-01    E.R.             East Tremont Medical Center                     Unlisted Procedure Arthroscopy…    6/22/2023   29999     $1,472.45
1118410-01    E.R.             East Tremont Medical Center                  Infectious Agent Detection By Nuc…    6/22/2023   87635       $15.00
1118410-01    E.R.        All City Family Healthcare Center, Inc.             Injection Single/Mlt Trigger Poin…  9/12/2023   20552      $236.69
1118410-01    E.R.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/12/2023   62323      $976.38
1118410-01    E.R.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     9/12/2023   76942      $341.96
1117353-01    L.R.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin… 10/20/2022   20552      $236.69
1117353-01    L.R.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/20/2022   62321      $976.38
1117353-01    L.R.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img … 10/20/2022      76942      $341.96
1117353-01    L.R.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin… 10/25/2022   20552      $236.69
1117353-01    L.R.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/25/2022   62323      $976.38
1117353-01    L.R.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img … 10/25/2022      76942      $341.96
1117353-01    L.R.             East Tremont Medical Center                  Njx Pltlt Plasma W/Img Harvest/Pr…    2/23/2023   0232T      $875.92
1117353-01    L.R.             East Tremont Medical Center                  Anes Arthrs Humeral H/N Strnclav …    2/23/2023    1630      $326.81
1117353-01    L.R.             East Tremont Medical Center                  Arthroscopy Shoulder Surg Synovec…    2/23/2023   29821     $5,677.77
1117353-01    L.R.             East Tremont Medical Center                  Arthroscopy Shoulder Surg Debride…    2/23/2023   29823     $1,472.45
1117353-01    L.R.             East Tremont Medical Center                  Arthroscopy Shoulder Ahesiolysis …    2/23/2023   29825     $1,472.45
1117353-01    L.R.             East Tremont Medical Center                 Arthroscopy Shoulder W/Coracoacrm… 2/23/2023       29826     $1,472.45
1117353-01    L.R.             East Tremont Medical Center                     Unlisted Procedure Arthroscopy…    2/23/2023   29999     $1,472.45
1117353-01    L.R.             East Tremont Medical Center                  Single Nerve Block Injection Arm …    2/23/2023   64415      $171.32
1117353-01    L.R.             East Tremont Medical Center                  Radex Shoulder Arthrography Rs&I…     2/23/2023   73040      $412.24
1117353-01    L.R.             East Tremont Medical Center                 Us Guidance Needle Placement Img …     2/23/2023   76942      $289.20
1117353-01    L.R.             East Tremont Medical Center                  Fluoroscopic Guidance Needle Plac…    2/23/2023   77002      $572.53
1117353-01    L.R.             East Tremont Medical Center                  Infectious Agent Detection By Nuc…    2/23/2023   87635      $100.00
1117353-01    L.R.             East Tremont Medical Center                  Positioning Bath Chair Shower Sta…    2/23/2023   E1399      $592.50
1117180-01    J.F.              Crotona Parkway ASC LLC                       Injection Single/Mlt Trigger Poin…  9/29/2022   20553      $279.23
1117180-01    J.F.              Crotona Parkway ASC LLC                     Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/29/2022   62321      $980.10
1117180-01    J.F.              Crotona Parkway ASC LLC                      Infectious Agent Antigen Detectio…   9/29/2022   87426      $200.00
1117180-01    J.F.                     SCOB LLC                              Arthrocentesis Aspir&/Inj Major J…  10/13/2022   20610      $473.39
1117180-01    J.F.                     SCOB LLC                             Arthroscopy Shoulder Surgical Cap…   10/13/2022   29806     $5,677.77
1117180-01    J.F.                     SCOB LLC                             Arthroscopy Shoulder Surg Synovec… 10/13/2022     29821     $5,596.40
1117180-01    J.F.                     SCOB LLC                            Anchor/Screw For Opposing Bone-To… 10/13/2022      C1713      $680.00
1117180-01    J.F.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…   12/1/2022   20610      $473.38
1117180-01    J.F.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 12/1/2022       29875     $1,472.45
1117180-01    J.F.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 12/1/2022        29880     $3,026.24
1117180-01    J.F.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee W/Lysis Adhesion… 12/1/2022       29884     $1,472.45
1117180-01    J.F.          Fifth Avenue Surgery Center LLC                    Unlisted Procedure Arthroscopy…    12/1/2022   29999     $1,472.45
1116985-01    M.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    11/3/2022   29821     $5,596.40
1116985-01    M.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    11/3/2022   29823     $1,472.45
1116985-01    M.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    11/3/2022   29825     $1,472.45
1116985-01    M.V.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 11/3/2022       29826     $1,553.82
1116985-01    M.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Rotator Cuff…    11/3/2022   29827     $6,723.47
1116985-01    M.V.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    11/3/2022   64415      $979.78
1116985-01    M.V.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     11/3/2022   76942      $341.96
1116985-01    M.V.              Crotona Parkway ASC LLC                       Injection Single/Mlt Trigger Poin…  3/30/2023   20553      $279.23
1116985-01    M.V.              Crotona Parkway ASC LLC                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/30/2023   62323      $980.10
1117561-01    R.W.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin…  9/19/2022   20553      $279.23
1117561-01    R.W.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/19/2022   62321      $980.10
1117561-01    R.W.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…    12/8/2022   29821     $5,677.77
1117561-01    R.W.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    12/8/2022   29823     $1,472.45
1117561-01    R.W.          Fifth Avenue Surgery Center LLC                    Unlisted Procedure Arthroscopy…    12/8/2022   29999     $1,472.45
1117561-01    R.W.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …    12/8/2022   64415      $979.78
1117561-01    R.W.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     12/8/2022   76942      $341.96
1116885-02    A.C.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin… 10/20/2022   20552      $236.69
1116885-02    A.C.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/20/2022   62321      $976.38
1116885-02    A.C.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img … 10/20/2022      76942      $341.96
1116885-02    A.C.        All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…    11/7/2022   22526     $2,605.78
1116885-02    A.C.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic… 11/7/2022       63075     $6,402.03
1116885-02    A.C.             Citimed Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…   11/16/2022   29822     $2,944.87
1116885-02    A.C.             Citimed Surgery Center LLC                   Arthroscopy Shoulder Rotator Cuff…   11/16/2022   29827     $5,677.77
1116885-02    A.C.             Citimed Surgery Center LLC                  Anchor/Screw For Opposing Bone-To… 11/16/2022      C1713      $556.50
1116362-04    A.S.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Synovec…    9/27/2022   29821     $1,472.44
1116362-04    A.S.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…    9/27/2022   29823     $5,677.77

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1116362-04    A.S.               Global Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …    9/27/2022   29825     $1,472.44
1116362-04    A.S.               Global Surgery Center LLC                    Unlisted Procedure Arthroscopy…    9/27/2022   29999     $1,472.44
1116362-04    A.S.        All City Family Healthcare Center, Inc.            Injection Single/Mlt Trigger Poin… 11/14/2022   20552      $236.69
1116362-04    A.S.        All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/14/2022   62321      $976.38
1116362-04    A.S.        All City Family Healthcare Center, Inc.         Us Guidance Needle Placement Img … 11/14/2022      76942      $341.96
1116362-04    A.S.        All City Family Healthcare Center, Inc.          Perq Intrdscl Electrothrm Annulop…   11/21/2022   22526     $2,605.78
1116362-04    A.S.        All City Family Healthcare Center, Inc.         Discectomy Ant Dcmprn Cord Cervic… 11/21/2022      63075     $6,402.03
1116362-04    A.S.          Rockaways ASC Development LLC                  Perq Intrdscl Electrothrm Annulop…     1/9/2023   22526     $2,605.78
1116362-04    A.S.          Rockaways ASC Development LLC                 Dcmprn Perq Nucleus Pulposus 1/> …      1/9/2023   62287     $5,292.93
1116362-04    A.S.        All City Family Healthcare Center, Inc.            Injection Single/Mlt Trigger Poin…  1/16/2023   20552      $236.69
1116362-04    A.S.        All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/16/2023   62323      $976.38
1116362-04    A.S.        All City Family Healthcare Center, Inc.         Us Guidance Needle Placement Img …     1/16/2023   76942      $341.96
1116270-02    A.M.                 Hudson Surgery Center                     Injection Single/Mlt Trigger Poin…  8/29/2022   20553      $279.23
1116270-02    A.M.                 Hudson Surgery Center                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/29/2022   62321      $980.10
1116270-02    A.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Grafting Of Autologous Soft Tissu…    9/23/2022   15769     $1,276.24
1116270-02    A.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Tenolysis Flxr/Xtnsr Tendon Leg&/…    9/23/2022   27680     $1,417.17
1116270-02    A.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Tenolysis Flxr/Xtnsr Tendon Leg&/…    9/23/2022   27680     $1,417.17
1116270-02    A.M.     Surgicore LLC d/b/a Surgicore Surgical Center      Repair Secondary Disrupted Ligame…     9/23/2022   27698     $3,311.97
1116270-02    A.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Arthroscopy Ankle Surgical Debrid…    9/23/2022   29898     $1,472.45
1116270-02    A.M.           New Horizon Surgical Center LLC              Arthroscopy Shoulder Surg Synovec… 12/22/2022      29821     $5,677.77
1116270-02    A.M.           New Horizon Surgical Center LLC               Arthroscopy Shoulder Surg Debride…   12/22/2022   29823     $1,472.45
1116270-02    A.M.           New Horizon Surgical Center LLC                  Unlisted Procedure Arthroscopy…   12/22/2022   29999     $1,472.45
1116270-02    A.M.           New Horizon Surgical Center LLC               Single Nerve Block Injection Arm …   12/22/2022   64415      $979.78
1116270-02    A.M.           New Horizon Surgical Center LLC              Us Guidance Needle Placement Img … 12/22/2022      76942      $341.96
1116270-02    A.M.           New Horizon Surgical Center LLC                Prosthetic Implant, Not Otherwise…  12/22/2022   L8699      $208.00
1116270-02    A.M.                 Hudson Surgery Center                     Injection Single/Mlt Trigger Poin…  4/19/2023   20553      $279.23
1116270-02    A.M.                 Hudson Surgery Center                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/19/2023   62321      $980.10
1116925-01    R.A.                 Hudson Surgery Center                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/22/2024   62323      $980.10
1116925-01    R.A.                 Hudson Surgery Center                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/12/2024   62321      $980.10
1116925-01    R.A.              Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…     3/8/2024   22526     $5,292.93
1116925-01    R.A.              Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…     3/8/2024   22527     $2,605.78
1116925-01    R.A.              Surgicore of Jersey City LLC               Unlisted Procedure Nervous System…     3/8/2024   64999      $373.98
1116925-01    R.A.              Surgicore of Jersey City LLC               Unlisted Procedure Nervous System…     3/8/2024   64999      $747.93
1116925-01    R.A.           Fifth Avenue Surgery Center LLC               Arthrocentesis Aspir&/Inj Major J…     5/7/2024   20610      $473.38
1116925-01    R.A.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Dx W/Wo Syno…       5/7/2024   29805     $1,472.45
1116925-01    R.A.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Synovec…      5/7/2024   29821     $5,677.77
1116925-01    R.A.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Debride…     5/7/2024   29823     $1,472.45
1116925-01    R.A.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Ahesiolysis …     5/7/2024   29825     $1,472.45
1116925-01    R.A.           Fifth Avenue Surgery Center LLC               Single Nerve Block Injection Arm …     5/7/2024   64415      $979.78
1116925-01    R.A.           Fifth Avenue Surgery Center LLC              Us Guidance Needle Placement Img …      5/7/2024   76942      $341.96
1116454-01    J.R.               Crotona Parkway ASC LLC                     Injection Single/Mlt Trigger Poin…  9/21/2022   20553      $279.23
1116454-01    J.R.               Crotona Parkway ASC LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/21/2022   62323      $980.10
1116454-01    J.R.               Crotona Parkway ASC LLC                    Infectious Agent Antigen Detectio…   9/21/2022   87426      $200.00
1116454-01    J.R.               Crotona Parkway ASC LLC                   Perq Intrdscl Electrothrm Annulop…   11/17/2022   22526     $2,648.32
1116454-01    J.R.               Crotona Parkway ASC LLC                   Perq Intrdscl Electrothrm Annulop…   11/17/2022   22527     $2,648.32
1116454-01    J.R.               Crotona Parkway ASC LLC                  Dcmprn Perq Nucleus Pulposus 1/> … 11/17/2022      62287     $5,296.65
1116454-01    J.R.           Island Ambulatory Surgery Center              Perq Intrdscl Electrothrm Annulop…    1/17/2023   22526     $5,296.65
1116454-01    J.R.           Island Ambulatory Surgery Center                    Unlisted Procedure Spine…       1/17/2023   22899     $2,648.32
1116454-01    J.R.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Synovec…     4/21/2023   29821     $2,798.20
1116454-01    J.R.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Debride…    4/21/2023   29823     $1,472.45
1116454-01    J.R.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Ahesiolysis …    4/21/2023   29825     $1,472.45
1116454-01    J.R.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder W/Coracoacrm… 4/21/2023       29826     $1,472.45
1116454-01    J.R.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Biceps Tenod…     4/21/2023   29828     $5,677.77
1116454-01    J.R.        All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…    4/21/2023   29999     $1,472.45
1116454-01    J.R.        All City Family Healthcare Center, Inc.          Single Nerve Block Injection Arm …    4/21/2023   64415      $979.78
1116454-01    J.R.        All City Family Healthcare Center, Inc.         Us Guidance Needle Placement Img …     4/21/2023   76942      $341.96
1116289-02    C.N.                Hudson Regional Hospital                Emergency Department Visit Modera… 7/11/2022       99283     $3,547.32
1116289-02    C.N.        All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    10/6/2022   62323      $976.38
1116119-02    M.M.       Ambulatory Surgical Center of Englewood           Arthrocentesis Aspir&/Inj Major J…   12/14/2022   20610       $78.98
1116119-02    M.M.       Ambulatory Surgical Center of Englewood          Arthroscopy Knee Synovectomy Limi… 12/14/2022      29875     $1,998.86
1116119-02    M.M.       Ambulatory Surgical Center of Englewood          Arthroscopy Knee Synovectomy 2/>C… 12/14/2022      29876     $1,998.86
1116119-02    M.M.       Ambulatory Surgical Center of Englewood         Arthrs Knee W/Meniscectomy Med&La… 12/14/2022       29880     $3,997.72
1116119-02    M.M.       Ambulatory Surgical Center of Englewood              Unlisted Procedure Arthroscopy…   12/14/2022   29999     $1,998.86
1116119-02    M.M.       Ambulatory Surgical Center of Englewood              Unlisted Procedure Arthroscopy…   12/14/2022   29999     $1,998.86
1116119-02    M.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Perq Intrdscl Electrothrm Annulop…   10/19/2023   22526     $2,605.78
1116119-02    M.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Perq Intrdscl Electrothrm Annulop…   10/19/2023   22527     $2,605.79
1116119-02    M.M.     Surgicore LLC d/b/a Surgicore Surgical Center      Dcmprn Perq Nucleus Pulposus 1/> … 10/19/2023      62287     $5,292.93
1115892-01    A.N.          Rockaways ASC Development LLC                    Injection Single/Mlt Trigger Poin…  9/15/2022   20552      $236.69

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                                                          1757
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                 Date of     Billing   Amount
                                        Provider                                          Service
 Number      Person                                                                                                  Service     Code       Billed
1115892-01    A.N.          Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       9/15/2022   62323      $976.38
1115892-01    A.N.          Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …       9/15/2022   76942      $341.96
1115892-01    A.N.          Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…      9/15/2022   87635       $51.33
1115892-01    A.N.               Global Surgery Center LLC                  Arthroscopy Shoulder Surgical Rem…       9/29/2022   29819     $1,472.44
1115892-01    A.N.               Global Surgery Center LLC                  Arthroscopy Shoulder Surg Synovec…       9/29/2022   29821     $1,472.44
1115892-01    A.N.               Global Surgery Center LLC                  Arthroscopy Shoulder Surg Debride…       9/29/2022   29823     $5,677.77
1115892-01    A.N.               Global Surgery Center LLC                   Arthroscopy Shoulder Ahesiolysis …      9/29/2022   29825     $1,472.44
1115892-01    A.N.               Global Surgery Center LLC                 Arthroscopy Shoulder W/Coracoacrm…        9/29/2022   29826     $1,472.44
1115892-01    A.N.               Global Surgery Center LLC                      Unlisted Procedure Arthroscopy…      9/29/2022   29999     $1,472.44
1115629-07    G.J.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…      9/29/2022   20610      $473.38
1115629-07    G.J.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…       9/29/2022   29821     $5,677.77
1115629-07    G.J.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …      9/29/2022   29825     $1,472.45
1115629-07    G.J.        All City Family Healthcare Center, Inc.               Unlisted Procedure Arthroscopy…      9/29/2022   29999     $1,472.45
1115629-07    G.J.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …      9/29/2022   64415      $979.78
1115629-07    G.J.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …       9/29/2022   76942      $341.96
1115629-07    G.J.                    Triborough ASC                           Injection Single/Mlt Trigger Poin…    11/9/2022   20553      $279.23
1115629-07    G.J.                    Triborough ASC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       11/9/2022   62323      $980.10
1115629-07    G.J.                    Triborough ASC                           Injection Single/Mlt Trigger Poin…   11/30/2022   20553      $279.23
1115629-07    G.J.                    Triborough ASC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      11/30/2022   62323      $980.10
1115629-07    G.J.                    Triborough ASC                           Injection Single/Mlt Trigger Poin…    3/14/2023   20553      $279.23
1115629-07    G.J.                    Triborough ASC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       3/14/2023   62323      $980.10
1115629-07    G.J.                    Triborough ASC                           Injection Single/Mlt Trigger Poin…    6/20/2023   20553      $279.23
1115629-07    G.J.                    Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      6/20/2023   62321      $980.10
1117066-02    T.G.                      SCOB LLC                             Arthrocentesis Aspir&/Inj Major J…     11/16/2022   20610      $554.76
1117066-02    T.G.           Fifth Avenue Surgery Center LLC               Arthroscopy Knee Synovectomy Limi…       12/22/2022   29875     $1,472.45
1117066-02    T.G.           Fifth Avenue Surgery Center LLC               Arthrs Kne Surg W/Meniscectomy Me…       12/22/2022   29881     $3,026.24
1117066-02    T.G.           Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…     12/22/2022   64447      $829.30
1117066-02    T.G.           Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …      12/22/2022   76942      $341.96
1117066-02    T.G.          New Horizon Surgical Center LLC                Arthroscopy Hip Surgical W/Remova…        3/20/2023   29861     $1,472.45
1117066-02    T.G.          New Horizon Surgical Center LLC                 Arthrs Hip Debridement/Shaving Ar…       3/20/2023   29862     $1,472.45
1117066-02    T.G.          New Horizon Surgical Center LLC                 Arthroscopy Hip Surgical W/Synove…       3/20/2023   29863     $3,026.24
1115984-01    R.C.           Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       9/13/2022   62323      $980.10
1115984-01    R.C.           Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/26/2022   64493      $980.10
1115984-01    R.C.           Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/26/2022   64494      $490.05
1115984-01    R.C.           Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/26/2022   64495      $490.05
1115984-01    R.C.           Fifth Avenue Surgery Center LLC               Arthroscopy Knee Synovectomy Limi…        11/8/2022   29875     $1,472.45
1115984-01    R.C.           Fifth Avenue Surgery Center LLC               Arthrs Kne Surg W/Meniscectomy Me…        11/8/2022   29881     $3,026.24
1116187-02    G.J.           Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…       9/9/2022   22526     $5,296.65
1116187-02    G.J.           Island Ambulatory Surgery Center                      Unlisted Procedure Spine…          9/9/2022   22899     $2,648.32
1116187-02    G.J.           Island Ambulatory Surgery Center                 Infectious Agent Antigen Detectio…      9/9/2022   87426      $200.00
1116187-02    G.J.               Crotona Parkway ASC LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      11/11/2022   62323      $980.10
1116187-02    G.J.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Surgical Cap…     11/18/2022   29806     $5,596.40
1116187-02    G.J.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…      11/18/2022   29821     $2,798.20
1116187-02    G.J.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…      11/18/2022   29823     $1,472.45
1116187-02    G.J.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …     11/18/2022   29825     $1,472.45
1116187-02    G.J.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…       11/18/2022   29826     $1,553.82
1116187-02    G.J.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Rotator Cuff…     11/18/2022   29827     $6,723.47
1116187-02    G.J.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …     11/18/2022   64415      $979.78
1116187-02    G.J.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …      11/18/2022   76942      $341.96
1114949-02    T.M.                    Triborough ASC                           Injection Single/Mlt Trigger Poin…    7/27/2022   20553      $279.23
1114949-02    T.M.                    Triborough ASC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       7/27/2022   62323      $980.10
1114949-02    T.M.                    Triborough ASC                           Injection Single/Mlt Trigger Poin…    8/10/2022   20553      $279.23
1114949-02    T.M.                    Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      8/10/2022   62321      $980.10
1114949-02    T.M.        Rockland & Bergen Surgery Center LLC              Arthroscopy Shoulder Surg Debride…        9/8/2022   29822     $3,026.24
1114949-02    T.M.        Rockland & Bergen Surgery Center LLC             Arthroscopy Shoulder W/Coracoacrm…         9/8/2022   29826     $1,472.45
1114949-02    T.M.        Rockland & Bergen Surgery Center LLC               Single Nerve Block Injection Arm …       9/8/2022   64415      $979.78
1114949-02    T.M.        Rockland & Bergen Surgery Center LLC              Us Guidance Needle Placement Img …        9/8/2022   76942      $341.96
1115639-04    W.S.       Ambulatory Surgical Center of Englewood            Arthroscopy Shoulder Surg Synovec…       11/9/2022   29821     $3,231.20
1115639-04    W.S.       Ambulatory Surgical Center of Englewood            Arthroscopy Shoulder Surg Debride…       11/9/2022   29822     $3,231.20
1115639-04    W.S.       Ambulatory Surgical Center of Englewood           Arthroscopy Shoulder W/Coracoacrm…        11/9/2022   29826     $6,462.40
1115639-04    W.S.          Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…   11/20/2022   20552      $236.69
1115639-04    W.S.          Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      11/20/2022   62323      $976.38
1115639-04    W.S.          Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …      11/20/2022   76942      $341.96
1115639-04    W.S.               Crotona Parkway ASC LLC                     Arthrocentesis Aspir&/Inj Major J…      4/13/2023   20610      $279.23
1115639-04    W.S.               Crotona Parkway ASC LLC                    Injection Hip Arthrography W/O An…       4/13/2023   27093      $833.82
1115639-04    W.S.               Crotona Parkway ASC LLC                        Radex Hip Arthrography Rs&I…         4/13/2023   73525      $497.33
1114817-01    S.W.          Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      10/3/2022   62321      $976.38
1114817-01    S.W.          Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…      10/3/2022   87635       $51.33

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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                         Date of     Billing   Amount
                                         Provider                                    Service
 Number      Person                                                                                          Service     Code       Billed
1114817-01    S.W.                     Triborough ASC                   Arthroscopy Shoulder Surg Debride…   4/28/2023   29823      $3,029.95
1114817-01    S.W.                     Triborough ASC                   Arthroscopy Shoulder Ahesiolysis …   4/28/2023   29825      $1,514.97
1114817-01    S.W.                     Triborough ASC                  Arthroscopy Shoulder W/Coracoacrm… 4/28/2023      29826      $1,514.97
1115859-02    E.M.            New Horizon Surgical Center LLC             Tenodesis Long Tendon Biceps…      11/3/2022   23430      $1,839.77
1115859-02    E.M.            New Horizon Surgical Center LLC           Arthroscopy Shoulder Surg Synovec…   11/3/2022   29821      $5,677.77
1115859-02    E.M.            New Horizon Surgical Center LLC           Arthroscopy Shoulder Surg Debride…   11/3/2022   29823      $1,472.45
1115859-02    E.M.            New Horizon Surgical Center LLC           Arthroscopy Shoulder Ahesiolysis …   11/3/2022   29825      $1,472.45
1115859-02    E.M.            New Horizon Surgical Center LLC             Unlisted Procedure Arthroscopy…    11/3/2022   29999      $1,472.45
1115859-02    E.M.            New Horizon Surgical Center LLC           Single Nerve Block Injection Arm …   11/3/2022   64415       $979.78
1115859-02    E.M.            New Horizon Surgical Center LLC          Us Guidance Needle Placement Img …    11/3/2022   76942       $341.96
1115859-02    E.M.          All City Family Healthcare Center, Inc.    Synovectomy Extensor Tendon Shth …     3/8/2023   25118      $1,472.45
1115859-02    E.M.          All City Family Healthcare Center, Inc.     Arthrs Wrst Exc&/Rpr Triang Fibro…    3/8/2023   29846      $3,290.01
1115859-02    E.M.          All City Family Healthcare Center, Inc.     Single Nerve Block Injection Arm …    3/8/2023   64415       $979.78
1115859-02    E.M.          All City Family Healthcare Center, Inc.    Us Guidance Needle Placement Img …     3/8/2023   76942       $341.96
1115859-02    E.M.             Progressive Surgical Center LLC          Njx Pltlt Plasma W/Img Harvest/Pr…    6/2/2023   0232T      $5,617.00
1115859-02    E.M.             Progressive Surgical Center LLC           Arthrocentesis Aspir&/Inj Major J…   6/2/2023   20610      $8,508.00
1115859-02    E.M.             Progressive Surgical Center LLC         Arthroscopy Knee Diagnostic W/Wo …     6/2/2023   29870     $27,487.00
1115859-02    E.M.             Progressive Surgical Center LLC         Arthroscopy Knee Synovectomy Limi…     6/2/2023   29875     $31,782.00
1115859-02    E.M.             Progressive Surgical Center LLC         Arthrs Knee Debridement/Shaving A…     6/2/2023   29877     $27,899.00
1115859-02    E.M.             Progressive Surgical Center LLC        Arthrs Knee W/Meniscectomy Med&La… 6/2/2023        29880     $22,354.00
1114963-01    F.P.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surgical Rem… 10/19/2022    29819      $1,472.45
1114963-01    F.P.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec… 10/19/2022    29821      $5,677.77
1114963-01    F.P.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Debride…  10/19/2022   29823      $1,472.45
1114963-01    F.P.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Ahesiolysis …  10/19/2022   29825      $1,472.45
1114963-01    F.P.               Surgicore of Jersey City LLC             Unlisted Procedure Arthroscopy…   10/19/2022   29999      $1,472.45
1114963-01    F.P.               Surgicore of Jersey City LLC             Unlisted Procedure Arthroscopy…   10/19/2022   29999      $1,472.45
1114963-01    F.P.               Surgicore of Jersey City LLC           Single Nerve Block Injection Arm …  10/19/2022   64415       $979.78
1114963-01    F.P.               Surgicore of Jersey City LLC          Us Guidance Needle Placement Img … 10/19/2022     76942       $341.96
1114963-01    F.P.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…   10/19/2022   A4649       $185.00
1114963-01    F.P.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Crv…  11/17/2022   64490       $980.10
1114963-01    F.P.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Crv…  11/17/2022   64491       $490.05
1114963-01    F.P.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Crv…  11/17/2022   64492       $490.05
1114724-01    U.M.                Hudson Regional Hospital             Radex Wrist Complete Minimum 3 Vi…     1/3/2023   73110       $541.40
1114724-01    U.M.                Hudson Regional Hospital                Radex Hand Minimum 3 Views…         1/3/2023   73130       $812.10
1114724-01    U.M.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/10/2023   62323       $976.38
1114724-01    U.M.                Hudson Regional Hospital              Mri Upper Extremity Oth Than Jt W…   2/19/2023   73218      $3,501.20
1114724-01    U.M.                Hudson Regional Hospital             Mri Any Jt Upper Extremity W/O Co…    2/19/2023   73221      $3,988.30
1114724-01    U.M.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/25/2023   62321       $976.38
1114724-01    U.M.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/25/2023   62323       $976.38
1115556-01    S.C.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…   7/31/2022   29821      $5,677.77
1115556-01    S.C.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…   7/31/2022   29823      $1,472.45
1115556-01    S.C.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Ahesiolysis …   7/31/2022   29825      $1,472.45
1115556-01    S.C.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder W/Coracoacrm… 7/31/2022      29826      $1,472.45
1115556-01    S.C.            Fifth Avenue Surgery Center LLC             Unlisted Procedure Arthroscopy…    7/31/2022   29999      $1,472.45
1115556-01    S.C.            Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …   7/31/2022   64415       $979.78
1115556-01    S.C.            Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …    7/31/2022   76942       $341.96
1115556-01    S.C.               Citimed Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   9/16/2022   62321       $976.38
1115556-01    S.C.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/28/2022   62323       $976.38
1115556-01    S.C.                       SCOB LLC                        Arthrocentesis Aspir&/Inj Major J…  11/9/2022   20610       $473.39
1115556-01    S.C.                       SCOB LLC                       Arthroscopy Shoulder Surg Synovec…   11/9/2022   29821      $5,677.77
1115556-01    S.C.                       SCOB LLC                       Arthroscopy Shoulder Surg Debride…   11/9/2022   29823      $2,944.87
1115556-01    S.C.                       SCOB LLC                      Arthroscopy Shoulder W/Coracoacrm… 11/9/2022      29826      $2,944.87
1114685-02    E.R.           Rockaways ASC Development LLC               Injection Single/Mlt Trigger Poin… 12/14/2022   20552       $236.69
1114685-02    E.R.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/14/2022   62321       $976.38
1114685-02    E.R.           Rockaways ASC Development LLC             Us Guidance Needle Placement Img … 12/14/2022     76942       $341.96
1114685-02    E.R.                Global Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…  3/23/2023   20610      $2,700.00
1114685-02    E.R.                Global Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…   3/23/2023   29821      $1,472.44
1114685-02    E.R.                Global Surgery Center LLC             Arthroscopy Shoulder Surg Debride…   3/23/2023   29823      $5,677.77
1114685-02    E.R.                Global Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …   3/23/2023   29825      $1,472.44
1114685-02    E.R.                Global Surgery Center LLC               Unlisted Procedure Arthroscopy…    3/23/2023   29999      $1,472.44
1114685-02    E.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/29/2023   62323       $976.38
1114540-01    R.F.                     Triborough ASC                    Injection Single/Mlt Trigger Poin… 10/26/2022   20553       $279.23
1114540-01    R.F.                     Triborough ASC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/26/2022   62323       $980.10
1114540-01    R.F.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…   11/5/2022   29821      $5,677.77
1114540-01    R.F.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…   11/5/2022   29823      $1,472.45
1114540-01    R.F.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder W/Coracoacrm… 11/5/2022      29826      $1,472.45
1114540-01    R.F.            Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …   11/5/2022   64415       $979.78
1114540-01    R.F.            Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …    11/5/2022   76942       $341.96

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                                                          1759
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1114383-01    M.J.        All City Family Healthcare Center, Inc.             Injection Single/Mlt Trigger Poin…    8/22/2022   20552      $236.69
1114383-01    M.J.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      8/22/2022   62321      $976.38
1114383-01    M.J.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …       8/22/2022   76942      $341.96
1114383-01    M.J.        All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…      8/29/2022   22526     $2,605.78
1114383-01    M.J.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic…       8/29/2022   63075     $6,402.03
1114383-01    M.J.                      SCOB LLC                            Arthroscopy Shoulder Surg Debride…       9/2/2022   29822     $2,944.87
1114383-01    M.J.                      SCOB LLC                            Arthroscopy Shoulder Ahesiolysis …       9/2/2022   29825     $3,026.24
1114383-01    M.J.        All City Family Healthcare Center, Inc.             Injection Single/Mlt Trigger Poin…    6/19/2023   20552      $236.69
1114383-01    M.J.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      6/19/2023   62321      $976.38
1114383-01    M.J.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …       6/19/2023   76942      $341.96
1114879-02    J.K.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…      9/1/2022   20610      $473.39
1114879-02    J.K.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…       9/1/2022   29821     $5,677.77
1114879-02    J.K.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…       9/1/2022   29823     $1,472.45
1114879-02    J.K.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …       9/1/2022   29825     $1,472.45
1114879-02    J.K.          Fifth Avenue Surgery Center LLC                    Unlisted Procedure Arthroscopy…       9/1/2022   29999     $1,472.45
1114879-02    J.K.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …       9/1/2022   64415      $979.78
1114879-02    J.K.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …        9/1/2022   76942      $341.96
1114879-02    J.K.                      SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      9/13/2022   62323      $976.38
1114620-02    J.R.        All City Family Healthcare Center, Inc.             Injection Single/Mlt Trigger Poin…    8/15/2022   20552      $236.69
1114620-02    J.R.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      8/15/2022   62323      $976.38
1114620-02    J.R.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …       8/15/2022   76942      $341.96
1114620-02    J.R.        All City Family Healthcare Center, Inc.             Injection Single/Mlt Trigger Poin…    8/22/2022   20552      $236.69
1114620-02    J.R.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      8/22/2022   62321      $976.38
1114620-02    J.R.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …       8/22/2022   76942      $341.96
1114620-02    J.R.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…      2/14/2023   22526     $2,605.78
1114620-02    J.R.         Rockaways ASC Development LLC                   Dcmprn Perq Nucleus Pulposus 1/> …       2/14/2023   62287     $5,292.93
1114620-02    J.R.                      SCOB LLC                            Arthroscopy Shoulder Surg Synovec…       4/7/2023   29821     $5,677.77
1114620-02    J.R.                      SCOB LLC                            Arthroscopy Shoulder Surg Debride…       4/7/2023   29823     $2,944.87
1114620-02    J.R.                      SCOB LLC                           Arthroscopy Shoulder W/Coracoacrm…        4/7/2023   29826     $2,944.87
1113984-02    A.C.             Crotona Parkway ASC LLC                        Injection Single/Mlt Trigger Poin…    9/27/2022   20553      $279.23
1113984-02    A.C.             Crotona Parkway ASC LLC                      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      9/27/2022   62323      $980.10
1113984-02    A.C.             Crotona Parkway ASC LLC                       Infectious Agent Antigen Detectio…     9/27/2022   87426      $200.00
1113984-02    A.C.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…      9/29/2022   29821     $5,677.77
1113984-02    A.C.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…      9/29/2022   29823     $1,472.45
1113984-02    A.C.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …      9/29/2022   29825     $1,472.45
1113984-02    A.C.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm…       9/29/2022   29826     $1,472.45
1113984-02    A.C.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …      9/29/2022   64415      $979.78
1113984-02    A.C.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …       9/29/2022   76942      $341.96
1113984-02    A.C.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…      9/29/2022   A4649      $185.00
1113984-02    A.C.             Crotona Parkway ASC LLC                        Injection Single/Mlt Trigger Poin…    12/6/2022   20553      $279.23
1113984-02    A.C.             Crotona Parkway ASC LLC                      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      12/6/2022   62321      $980.10
1114171-02    C.B.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      8/26/2022   62323      $976.38
1114171-02    C.B.                      SCOB LLC                             Arthrocentesis Aspir&/Inj Major J…     12/8/2022   20610      $473.39
1114171-02    C.B.                      SCOB LLC                            Arthroscopy Shoulder Surgical Rep…      12/8/2022   29807     $5,677.77
1114171-02    C.B.                      SCOB LLC                            Arthroscopy Shoulder Surg Debride…      12/8/2022   29823     $2,944.87
1114171-02    C.B.                      SCOB LLC                           Anchor/Screw For Opposing Bone-To…       12/8/2022   C1713      $680.00
1113899-02    G.K.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…     10/20/2022   29821     $5,677.77
1113899-02    G.K.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…     10/20/2022   29823     $1,472.45
1113899-02    G.K.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …     10/20/2022   29825     $1,472.45
1113899-02    G.K.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …     10/20/2022   64415      $979.78
1113899-02    G.K.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …      10/20/2022   76942      $341.96
1113899-02    G.K.                      SCOB LLC                              Injection Single/Mlt Trigger Poin…    1/21/2023   20553      $473.39
1113899-02    G.K.                      SCOB LLC                             Inject Si Joint Arthrgrphy&/Anes/…     1/21/2023   27096     $1,288.57
1113899-02    G.K.                      SCOB LLC                            Njx Dx/Ther Agt Pvrt Facet Jt Crv…      1/21/2023   64490     $1,423.89
1113899-02    G.K.                      SCOB LLC                            Njx Dx/Ther Agt Pvrt Facet Jt Crv…      1/21/2023   64491     $1,342.52
1113899-02    G.K.            Healthplus Surgery Center LLC                   Injection Single/Mlt Trigger Poin…     2/8/2023   20553      $473.39
1113899-02    G.K.            Healthplus Surgery Center LLC                  Inject Si Joint Arthrgrphy&/Anes/…      2/8/2023   27096     $1,288.57
1113899-02    G.K.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       2/8/2023   64493     $1,423.89
1113899-02    G.K.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       2/8/2023   64494     $1,342.52
1113899-02    G.K.             Atlantis Surgery Center LLC                    Injection Single/Mlt Trigger Poin…     3/1/2023   20553      $473.39
1113899-02    G.K.             Atlantis Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…       3/1/2023   64490     $1,423.89
1113899-02    G.K.             Atlantis Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…       3/1/2023   64491     $1,342.52
1113899-02    G.K.             Atlantis Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…       3/1/2023   64492     $1,342.52
1113899-02    G.K.            Healthplus Surgery Center LLC                   Injection Single/Mlt Trigger Poin…    3/15/2023   20553      $473.39
1113899-02    G.K.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…      3/15/2023   64490     $1,423.89
1113899-02    G.K.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…      3/15/2023   64491     $1,342.52
1113899-02    G.K.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…      3/15/2023   64492     $1,342.52
1113899-02    G.K.             Atlantis Surgery Center LLC                    Injection Single/Mlt Trigger Poin…     5/3/2023   20553      $473.39

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                                                          1760
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1113899-02    G.K.             Atlantis Surgery Center LLC                   Dstr Nrolytc Agnt Parverteb Fct S…    5/3/2023   64635      $1,428.99
1113899-02    G.K.             Atlantis Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…     5/3/2023   64636      $1,347.62
1113899-02    G.K.             Atlantis Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…     5/3/2023   64636      $1,347.62
1113899-02    G.K.              Accelerated Surgical Center                   Injection Single/Mlt Trigger Poin…  5/10/2023   20553       $161.46
1113899-02    G.K.              Accelerated Surgical Center                  Dstr Nrolytc Agnt Parverteb Fct S…   5/10/2023   64635      $5,120.04
1113899-02    G.K.              Accelerated Surgical Center                 Dstr Nrolytc Agnt Parverteb Fct A…    5/10/2023   64636      $3,036.96
1113899-02    G.K.              Accelerated Surgical Center                 Dstr Nrolytc Agnt Parverteb Fct A…    5/10/2023   64636      $3,036.96
1113899-02    G.K.              Accelerated Surgical Center                   Injection Single/Mlt Trigger Poin…  5/24/2023   20553       $161.46
1113899-02    G.K.              Accelerated Surgical Center                  Dstr Nrolytc Agnt Parverteb Fct S…   5/24/2023   64635      $5,120.64
1113899-02    G.K.              Accelerated Surgical Center                 Dstr Nrolytc Agnt Parverteb Fct A…    5/24/2023   64636      $3,036.96
1113899-02    G.K.              Accelerated Surgical Center                 Dstr Nrolytc Agnt Parverteb Fct A…    5/24/2023   64636      $3,036.96
1114538-03    E.A.              Crotona Parkway ASC LLC                       Injection Single/Mlt Trigger Poin…  1/10/2023   20553       $279.23
1114538-03    E.A.              Crotona Parkway ASC LLC                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/10/2023   62323       $980.10
1114538-03    E.A.              Crotona Parkway ASC LLC                      Infectious Agent Antigen Detectio…   1/10/2023   87426       $200.00
1114538-03    E.A.              Crotona Parkway ASC LLC                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/7/2023   64493      $1,960.20
1114538-03    E.A.              Crotona Parkway ASC LLC                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/7/2023   64494       $980.10
1114538-03    E.A.              Crotona Parkway ASC LLC                      Dstr Nrolytc Agnt Parverteb Fct S…    3/7/2023   64635       $980.10
1114538-03    E.A.              Crotona Parkway ASC LLC                      Dstr Nrolytc Agnt Parverteb Fct S…    3/7/2023   64635       $980.10
1114538-03    E.A.              Crotona Parkway ASC LLC                     Dstr Nrolytc Agnt Parverteb Fct A…     3/7/2023   64636       $490.05
1114538-03    E.A.              Crotona Parkway ASC LLC                     Dstr Nrolytc Agnt Parverteb Fct A…     3/7/2023   64636       $490.05
1114538-03    E.A.              Crotona Parkway ASC LLC                      Dstr Nrolytc Agnt Parverteb Fct S…   3/14/2023   64635       $980.10
1114538-03    E.A.              Crotona Parkway ASC LLC                     Dstr Nrolytc Agnt Parverteb Fct A…    3/14/2023   64636       $490.05
1114538-03    E.A.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surgical Cap…    3/17/2023   29806      $5,677.77
1114538-03    E.A.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec…     3/17/2023   29821      $2,798.20
1114538-03    E.A.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…    3/17/2023   29823      $1,472.45
1114538-03    E.A.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm… 3/17/2023       29826      $1,472.45
1114538-03    E.A.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …    3/17/2023   64415       $979.78
1114538-03    E.A.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …     3/17/2023   76942       $341.96
1114676-01    D.B.                      SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/12/2022   62323       $976.38
1114676-01    D.B.                      SCOB LLC                            Perq Intrdscl Electrothrm Annulop…     8/9/2022   22526      $5,211.56
1114676-01    D.B.                      SCOB LLC                           Dcmprn Perq Nucleus Pulposus 1/> …      8/9/2022   62287      $5,292.93
1114676-01    D.B.                      SCOB LLC                           Probe, Percutaneous Lumbar Discec…      8/9/2022   C2614      $1,237.50
1114676-01    D.B.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec… 10/29/2022      29821      $5,677.77
1114676-01    D.B.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   10/29/2022   29823      $1,472.45
1114676-01    D.B.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …   10/29/2022   29825      $1,472.45
1114676-01    D.B.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 10/29/2022      29826      $1,472.45
1114676-01    D.B.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   10/29/2022   64415       $979.78
1114676-01    D.B.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img … 10/29/2022      76942       $341.96
1113473-01    L.K.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    11/9/2022   62321       $976.38
1113473-01    L.K.        Health East Ambulatory Surgical Center           Discectomy Ant Dcmprn Cord Cervic… 12/19/2022      63075     $10,012.99
1113473-01    L.K.        Health East Ambulatory Surgical Center            Unlisted Procedure Nervous System…   12/19/2022   64999      $5,961.75
1113473-01    L.K.        Health East Ambulatory Surgical Center            Unlisted Procedure Nervous System…   12/19/2022   64999      $8,064.00
1113473-01    L.K.        Health East Ambulatory Surgical Center            Fluor Needle/Cath Spine/Paraspina…   12/19/2022   77003       $141.00
1113473-01    L.K.        Health East Ambulatory Surgical Center            Fluor Needle/Cath Spine/Paraspina…   12/19/2022   77003       $750.00
1113473-01    L.K.        Health East Ambulatory Surgical Center           Probe, Percutaneous Lumbar Discec… 12/19/2022      C2614       $631.35
1113473-01    L.K.        Health East Ambulatory Surgical Center           Probe, Percutaneous Lumbar Discec… 12/19/2022      C2614       $631.35
1113473-01    L.K.        Health East Ambulatory Surgical Center           Arthroscopy Knee Synovectomy 2/>C…      1/4/2023   29876      $3,997.71
1113473-01    L.K.        Health East Ambulatory Surgical Center          Arthrs Knee W/Meniscectomy Med&La… 1/4/2023         29880      $3,997.71
1113473-01    L.K.        Health East Ambulatory Surgical Center              Injection Anesthetic Agent Sciati…   1/4/2023   64445      $1,000.00
1113473-01    L.K.        Health East Ambulatory Surgical Center            Injection Anesthetic Agent Femora…     1/4/2023   64447      $1,000.00
1113405-02    M.S.                   Triborough ASC                           Injection Single/Mlt Trigger Poin…  7/27/2022   20553       $279.23
1113405-02    M.S.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/27/2022   62323       $980.10
1113405-02    M.S.         Rockaways ASC Development LLC                    Arthrocentesis Aspir&/Inj Major J…     8/8/2022   20610       $473.39
1113405-02    M.S.         Rockaways ASC Development LLC                   Arthroscopy Shoulder Surg Synovec…      8/8/2022   29821      $5,677.77
1113405-02    M.S.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Surg Debride…     8/8/2022   29823      $1,472.45
1113405-02    M.S.         Rockaways ASC Development LLC                   Arthroscopy Shoulder W/Coracoacrm…      8/8/2022   29826      $1,472.45
1113405-02    M.S.         Rockaways ASC Development LLC                    Single Nerve Block Injection Arm …     8/8/2022   64415       $979.78
1113405-02    M.S.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …      8/8/2022   76942       $341.96
1113405-02    M.S.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…     8/8/2022   87635        $51.33
1113405-02    M.S.                   Triborough ASC                         Perq Intrdscl Electrothrm Annulop…   10/10/2022   22526      $2,648.32
1113405-02    M.S.                   Triborough ASC                         Perq Intrdscl Electrothrm Annulop…   10/10/2022   22527      $2,648.32
1113405-02    M.S.                   Triborough ASC                        Dcmprn Perq Nucleus Pulposus 1/> … 10/10/2022      62287      $5,296.65
1113405-02    M.S.                   Triborough ASC                        Probe, Percutaneous Lumbar Discec… 10/10/2022      C2614       $800.00
1113480-02    J.B.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…     7/22/2022   29821      $5,677.77
1113480-02    J.B.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    7/22/2022   29823      $1,472.45
1113480-02    J.B.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …    7/22/2022   29825      $1,472.45
1113480-02    J.B.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 7/22/2022       29826      $1,472.45
1113480-02    J.B.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Biceps Tenod…     7/22/2022   29828      $2,798.20

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                                                         1761
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                       Provider                                         Service
 Number      Person                                                                                              Service     Code       Billed
1113480-02    J.B.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   7/22/2022   64415      $979.78
1113480-02    J.B.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    7/22/2022   76942      $341.96
1113480-02    J.B.          Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin…  9/22/2022   20553      $279.23
1113480-02    J.B.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/22/2022   62323      $980.10
1113480-02    J.B.          Island Ambulatory Surgery Center                Infectious Agent Antigen Detectio…   9/22/2022   87426      $200.00
1113717-04    H.A.             Citimed Surgery Center LLC                    Injection Single/Mlt Trigger Poin…   1/9/2023   20552      $473.39
1113717-04    H.A.             Citimed Surgery Center LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     1/9/2023   62321      $976.38
1113717-04    H.A.             Citimed Surgery Center LLC                  Us Guidance Needle Placement Img …     1/9/2023   76942       $67.24
1113717-04    H.A.          Fifth Avenue Surgery Center LLC               Arthroscopy Knee Synovectomy Limi… 1/25/2023       29875     $1,472.45
1113717-04    H.A.          Fifth Avenue Surgery Center LLC               Arthrs Kne Surg W/Meniscectomy Me… 1/25/2023       29881     $3,026.24
1113717-04    H.A.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…    1/25/2023   29999     $1,472.45
1113526-01    J.A.                     SCOB LLC                            Arthroscopy Shoulder Surg Synovec…     8/4/2022   29821     $5,677.77
1113526-01    J.A.                     SCOB LLC                            Arthroscopy Shoulder Surg Debride…     8/4/2022   29823     $2,944.87
1113526-01    J.A.          Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin…  10/6/2022   20553      $279.23
1113526-01    J.A.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    10/6/2022   62321      $980.10
1113526-01    J.A.       All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/19/2022   62323      $976.38
1113526-01    J.A.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    11/2/2022   62323      $980.10
1113526-01    J.A.          Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin… 11/16/2022   20553      $279.23
1113526-01    J.A.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/16/2022   62321      $980.10
1113762-02    V.R.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     8/5/2022   62323      $976.38
1113762-02    V.R.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…   8/26/2022   22526     $2,605.78
1113762-02    V.R.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…   8/26/2022   22527     $2,605.78
1113762-02    V.R.         Rockaways ASC Development LLC                   Dcmprn Perq Nucleus Pulposus 1/> …    8/26/2022   62287     $5,292.93
1113762-02    V.R.         Rockaways ASC Development LLC                   Infectious Agent Detection By Nuc…    8/26/2022   87635       $51.33
1113762-02    V.R.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/12/2022   62321      $976.38
1113762-02    V.R.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/30/2022   62321      $976.38
1113762-02    V.R.         Rockaways ASC Development LLC                   Infectious Agent Detection By Nuc…    9/30/2022   87635       $51.33
1113762-02    V.R.             East Tremont Medical Center                 Anes Arthrs Humeral H/N Strnclav …    5/31/2023    1630      $267.39
1113762-02    V.R.             East Tremont Medical Center                  Arthrocentesis Aspir&/Inj Major J…   5/31/2023   20610      $554.74
1113762-02    V.R.             East Tremont Medical Center                Arthroscopy Shoulder Dx W/Wo Syno… 5/31/2023       29805     $3,026.23
1113762-02    V.R.             East Tremont Medical Center                 Arthroscopy Shoulder Surg Synovec…    5/31/2023   29821     $5,677.77
1113762-02    V.R.             East Tremont Medical Center                 Arthroscopy Shoulder Surg Debride…    5/31/2023   29823     $1,472.45
1113762-02    V.R.             East Tremont Medical Center                  Arthroscopy Shoulder Ahesiolysis …   5/31/2023   29825     $1,472.45
1113762-02    V.R.             East Tremont Medical Center                Arthroscopy Shoulder W/Coracoacrm… 5/31/2023       29826     $1,472.45
1113762-02    V.R.             East Tremont Medical Center                    Unlisted Procedure Arthroscopy…    5/31/2023   29999     $1,472.45
1113762-02    V.R.             East Tremont Medical Center                 Infectious Agent Detection By Nuc…    5/31/2023   87635       $15.00
1113762-04    R.V.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     8/5/2022   62321      $976.38
1113762-04    R.V.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/26/2022   62323      $976.38
1113762-04    R.V.         Rockaways ASC Development LLC                   Infectious Agent Detection By Nuc…    8/26/2022   87635       $51.33
1113762-04    R.V.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…   9/12/2022   22526     $2,605.78
1113762-04    R.V.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…   9/12/2022   22527     $2,605.78
1113762-04    R.V.         Rockaways ASC Development LLC                   Dcmprn Perq Nucleus Pulposus 1/> …    9/12/2022   62287     $5,292.93
1113762-04    R.V.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/30/2022   62321      $976.38
1113762-04    R.V.         Rockaways ASC Development LLC                   Infectious Agent Detection By Nuc…    9/30/2022   87635       $51.33
1113762-04    R.V.             East Tremont Medical Center                 Anes Arthrs Humeral H/N Strnclav …    5/31/2023    1630      $267.39
1113762-04    R.V.             East Tremont Medical Center                 Anes Arthrs Humeral H/N Strnclav …    5/31/2023    1630      $267.39
1113762-04    R.V.             East Tremont Medical Center                 Anes Arthrs Humeral H/N Strnclav …    5/31/2023    1630      $267.39
1113762-04    R.V.             East Tremont Medical Center                  Arthrocentesis Aspir&/Inj Major J…   5/31/2023   20610      $554.74
1113762-04    R.V.             East Tremont Medical Center                Arthroscopy Shoulder Dx W/Wo Syno… 5/31/2023       29805     $3,026.23
1113762-04    R.V.             East Tremont Medical Center                 Arthroscopy Shoulder Surg Synovec…    5/31/2023   29821     $5,677.77
1113762-04    R.V.             East Tremont Medical Center                 Arthroscopy Shoulder Surg Debride…    5/31/2023   29823     $1,472.45
1113762-04    R.V.             East Tremont Medical Center                  Arthroscopy Shoulder Ahesiolysis …   5/31/2023   29825     $1,472.45
1113762-04    R.V.             East Tremont Medical Center                Arthroscopy Shoulder W/Coracoacrm… 5/31/2023       29826     $1,472.45
1113762-04    R.V.             East Tremont Medical Center                    Unlisted Procedure Arthroscopy…    5/31/2023   29999     $1,472.45
1113762-04    R.V.             East Tremont Medical Center                  Single Nerve Block Injection Arm …   5/31/2023   64415      $171.32
1113762-04    R.V.             East Tremont Medical Center                 Us Guidance Needle Placement Img …    5/31/2023   76942      $289.20
1113019-01    J.P.              Crotona Parkway ASC LLC                      Injection Single/Mlt Trigger Poin…  7/20/2022   20553      $277.37
1113019-01    J.P.              Crotona Parkway ASC LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/20/2022   62323      $976.38
1113019-01    J.P.          Fifth Avenue Surgery Center LLC               Arthroscopy Knee Synovectomy Limi… 7/23/2022       29875     $3,026.24
1113019-01    J.P.          Fifth Avenue Surgery Center LLC                Arthrs Knee Abrasion Arthrp/Mlt D…    7/23/2022   29879     $1,472.45
1112680-03    N.V.       Rockland & Bergen Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/1/2023   62323      $976.38
1112680-03    N.V.       Rockland & Bergen Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/21/2023   64493      $447.52
1112680-03    N.V.       Rockland & Bergen Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/21/2023   64493      $976.38
1112680-03    N.V.       Rockland & Bergen Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/21/2023   64494      $447.52
1112680-03    N.V.       Rockland & Bergen Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/21/2023   64494      $447.52
1112680-03    N.V.       Rockland & Bergen Surgery Center LLC              Injection Px Discography Each Lev…    8/30/2023   62290      $374.36
1112680-03    N.V.       Rockland & Bergen Surgery Center LLC              Injection Px Discography Each Lev…    8/30/2023   62290      $374.37
1112680-03    N.V.       Rockland & Bergen Surgery Center LLC              Injection Px Discography Each Lev…    8/30/2023   62290      $748.73

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                                                          1762
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1112680-03    N.V.        Rockland & Bergen Surgery Center LLC                    Diskograpy Lumbar Rs&I…         8/30/2023   72295     $1,043.91
1112680-03    N.V.        Rockland & Bergen Surgery Center LLC                    Diskograpy Lumbar Rs&I…         8/30/2023   72295      $481.29
1112680-03    N.V.        Rockland & Bergen Surgery Center LLC                    Diskograpy Lumbar Rs&I…         8/30/2023   72295      $481.29
1112680-03    N.V.                 Bergen County Surgery                     Perq Intrdscl Electrothrm Annulop…   11/1/2023   22526     $4,500.00
1112680-03    N.V.                 Bergen County Surgery                    Dcmprn Perq Nucleus Pulposus 1/> …    11/1/2023   62287     $4,972.53
1112680-03    N.V.                 Bergen County Surgery                   Njx Anes&/Strd W/Img Tfrml Edrl L… 11/1/2023       64483     $1,012.32
1112680-03    N.V.                 Bergen County Surgery                             Epidurograpy Rs&I…           11/1/2023   72275      $572.81
1112895-02    S.G.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 9/11/2022       29875     $1,472.45
1112895-02    S.G.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 9/11/2022        29880     $3,026.24
1112895-02    S.G.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…    9/11/2022   29999     $1,472.45
1112895-02    S.G.               Crotona Parkway ASC LLC                     Perq Intrdscl Electrothrm Annulop…  10/25/2022   22526     $5,296.65
1112895-02    S.G.               Crotona Parkway ASC LLC                          Unlisted Procedure Spine…      10/25/2022   22899     $2,648.32
1112895-02    S.G.               Crotona Parkway ASC LLC                    Injection Px Discogrphy Ea Lvl Ce…   10/25/2022   62291      $416.91
1112895-02    S.G.               Crotona Parkway ASC LLC                    Diskograpy Cervical/Thoracic Rs&I… 10/25/2022     72285     $1,047.63
1113862-01    M.F.           Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Crv…   6/22/2022   64490      $976.38
1113862-01    M.F.           Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Crv…   6/22/2022   64491      $488.19
1113862-01    M.F.           Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Crv…   6/22/2022   64492      $488.19
1113862-01    M.F.           Island Ambulatory Surgery Center                Infectious Agent Antigen Detectio…   6/22/2022   87426      $200.00
1113862-01    M.F.              Surgicore of Jersey City LLC                Arthroscopy Shoulder Surgical Rem… 10/12/2022     29819     $1,472.45
1113862-01    M.F.              Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec… 10/12/2022     29821     $5,677.77
1113862-01    M.F.              Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Debride…   10/12/2022   29823     $1,472.45
1113862-01    M.F.              Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …  10/12/2022   29825     $1,472.45
1113862-01    M.F.              Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…   10/12/2022   29999     $1,472.45
1113862-01    M.F.              Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…   10/12/2022   29999     $1,472.45
1113862-01    M.F.              Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …  10/12/2022   64415      $979.78
1113862-01    M.F.              Surgicore of Jersey City LLC               Us Guidance Needle Placement Img … 10/12/2022      76942      $341.96
1113862-01    M.F.              Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…   10/12/2022   A4649      $185.00
1112587-02    S.M.          Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…  11/8/2022   20552      $236.69
1112587-02    S.M.          Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    11/8/2022   62323      $976.38
1112587-02    S.M.          Rockaways ASC Development LLC                  Us Guidance Needle Placement Img …     11/8/2022   76942      $341.96
1112587-02    S.M.           Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…    2/8/2023   22526     $2,648.32
1112587-02    S.M.           Island Ambulatory Surgery Center               Dcmprn Perq Nucleus Pulposus 1/> …     2/8/2023   62287     $5,296.65
1112587-02    S.M.           Island Ambulatory Surgery Center                Infectious Agent Antigen Detectio…    2/8/2023   87426      $200.00
1113184-01    C.G.                    Triborough ASC                          Injection Single/Mlt Trigger Poin…  6/29/2022   20553      $277.37
1113184-01    C.G.                    Triborough ASC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/29/2022   62321      $976.38
1113184-01    C.G.        Rockland & Bergen Surgery Center LLC             Arthroscopy Knee Synovectomy Limi… 6/30/2022       29875     $1,472.45
1113184-01    C.G.        Rockland & Bergen Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La… 6/30/2022        29880     $3,026.24
1113184-01    C.G.        Rockland & Bergen Surgery Center LLC              Injection Anesthetic Agent Femora…    6/30/2022   64447      $829.30
1113184-01    C.G.        Rockland & Bergen Surgery Center LLC             Us Guidance Needle Placement Img …     6/30/2022   76942      $341.96
1113184-01    C.G.        Rockland & Bergen Surgery Center LLC              Infectious Agent Detection By Nuc…    6/30/2022   87635       $51.33
1113184-01    C.G.                    Triborough ASC                          Injection Single/Mlt Trigger Poin…  7/20/2022   20553      $279.23
1113184-01    C.G.                    Triborough ASC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/20/2022   62323      $980.10
1113184-01    C.G.                    Triborough ASC                         Perq Intrdscl Electrothrm Annulop…    8/8/2022   22526     $2,648.32
1113184-01    C.G.                    Triborough ASC                         Perq Intrdscl Electrothrm Annulop…    8/8/2022   22527     $2,648.32
1113184-01    C.G.                    Triborough ASC                        Dcmprn Perq Nucleus Pulposus 1/> …     8/8/2022   62287     $5,296.65
1113184-01    C.G.                    Triborough ASC                        Probe, Percutaneous Lumbar Discec…     8/8/2022   C2614      $800.00
1112298-02    J.P.       Ambulatory Surgical Center of Englewood            Arthroscopy Shoulder Surg Synovec…     6/8/2022   29821     $3,231.20
1112298-02    J.P.       Ambulatory Surgical Center of Englewood            Arthroscopy Shoulder Surg Debride…     6/8/2022   29823     $6,462.40
1112298-02    J.P.       Ambulatory Surgical Center of Englewood             Arthroscopy Shoulder Ahesiolysis …    6/8/2022   29825     $3,231.20
1112298-02    J.P.       Ambulatory Surgical Center of Englewood               Unlisted Procedure Arthroscopy…     6/8/2022   29999     $3,231.20
1112298-02    J.P.       Ambulatory Surgical Center of Englewood               Unlisted Procedure Arthroscopy…     6/8/2022   29999     $3,231.20
1112298-02    J.P.                    Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…      6/8/2022   E0650      $531.06
1112298-02    J.P.                    Good Medica Inc                      Nonsegmental Pneumatic Appliance …      6/8/2022   E0666       $89.56
1112298-02    J.P.          Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…  9/11/2022   20552      $236.69
1112298-02    J.P.          Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/11/2022   62323      $976.38
1112298-02    J.P.          Rockaways ASC Development LLC                  Us Guidance Needle Placement Img …     9/11/2022   76942      $341.96
1112671-01    J.R.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…    7/5/2022   22526     $2,605.78
1112671-01    J.R.        All City Family Healthcare Center, Inc.           Dcmprn Perq Nucleus Pulposus 1/> …     7/5/2022   62287     $5,292.93
1112671-01    J.R.               Global Surgery Center LLC                   Arthrocentesis Aspir&/Inj Major J…  12/20/2022   20610     $2,700.00
1112671-01    J.R.               Global Surgery Center LLC                 Arthroscopy Knee Synovectomy 2/>C… 12/20/2022      29876     $1,472.44
1112671-01    J.R.               Global Surgery Center LLC                Arthrs Knee W/Meniscectomy Med&La… 12/20/2022       29880     $3,026.24
1112671-01    J.R.               Global Surgery Center LLC                     Unlisted Procedure Arthroscopy…   12/20/2022   29999     $1,472.44
1112671-01    J.R.                Avicenna Surgery Center                   Arthroscopy Shoulder Surg Debride…    4/20/2023   29822     $3,029.95
1112671-01    J.R.                Avicenna Surgery Center                      Unlisted Procedure Arthroscopy…    4/20/2023   29999     $3,029.95
1112088-01    R.C.               Global Surgery Center LLC                 Arthroscopy Knee Synovectomy 2/>C… 7/15/2022       29876     $1,472.44
1112088-01    R.C.               Global Surgery Center LLC                Arthrs Knee W/Meniscectomy Med&La… 7/15/2022        29880     $3,026.24
1112088-01    R.C.               Global Surgery Center LLC                     Unlisted Procedure Arthroscopy…    7/15/2022   29999     $1,472.44
1112088-01    R.C.            Healthplus Surgery Center LLC                  Perq Intrdscl Electrothrm Annulop…   8/25/2022   22526     $5,211.56

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                                                           1763
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1112088-01    R.C.              Healthplus Surgery Center LLC           Discectomy Ant Dcmprn Cord Cervic… 8/25/2022       63075     $6,302.03
1112088-01    R.C.              Healthplus Surgery Center LLC            Probe, Percutaneous Lumbar Discec…    8/25/2022   C2614     $1,342.50
1112088-01    R.C.            New Horizon Surgical Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    11/9/2022   62323      $976.38
1111727-01    M.M.                     Triborough ASC                      Injection Single/Mlt Trigger Poin…  7/20/2022   20553      $279.23
1111727-01    M.M.                     Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/20/2022   62321      $980.10
1111727-01    M.M.                     Triborough ASC                      Injection Single/Mlt Trigger Poin…   8/2/2022   20553      $279.23
1111727-01    M.M.                     Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     8/2/2022   62323      $980.10
1111727-01    M.M.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 8/21/2022       29875     $1,472.45
1111727-01    M.M.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 8/21/2022        29880     $3,026.24
1111727-01    M.M.          All City Family Healthcare Center, Inc.         Unlisted Procedure Arthroscopy…    8/21/2022   29999     $1,472.45
1112526-02    T.W.               East Tremont Medical Center             Arthroscopy Shoulder Surgical Rep…    8/27/2022   29807     $5,677.77
1112526-02    T.W.               East Tremont Medical Center             Arthroscopy Shoulder Surgical Rem…    8/27/2022   29819     $2,944.87
1112526-02    T.W.               East Tremont Medical Center             Arthroscopy Shoulder Surg Synovec…    8/27/2022   29821     $2,798.20
1112526-02    T.W.               East Tremont Medical Center             Arthroscopy Shoulder Surg Debride…    8/27/2022   29823     $3,026.24
1112526-02    T.W.               East Tremont Medical Center              Arthroscopy Shoulder Ahesiolysis …   8/27/2022   29825     $3,026.24
1112526-02    T.W.               East Tremont Medical Center                Unlisted Procedure Arthroscopy…    8/27/2022   29999     $1,513.12
1112526-02    T.W.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 11/30/2022      29876     $1,472.45
1112526-02    T.W.               Surgicore of Jersey City LLC            Arthrs Knee Abrasion Arthrp/Mlt D… 11/30/2022     29879     $1,472.45
1112526-02    T.W.               Surgicore of Jersey City LLC            Arthrs Knee Abrasion Arthrp/Mlt D… 11/30/2022     29879     $1,472.45
1112526-02    T.W.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 11/30/2022       29880     $3,026.24
1112526-02    T.W.               Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…   11/30/2022   29999     $1,472.45
1112526-02    T.W.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…   11/30/2022   A4649      $195.00
1111782-04    N.N.          All City Family Healthcare Center, Inc.       Arthrocentesis Aspir&/Inj Major J…   8/25/2022   20610      $473.38
1111782-04    N.N.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Synovec…    8/25/2022   29821     $5,677.77
1111782-04    N.N.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…    8/25/2022   29823     $1,472.45
1111782-04    N.N.          All City Family Healthcare Center, Inc.       Arthroscopy Shoulder Ahesiolysis …   8/25/2022   29825     $1,472.45
1111782-04    N.N.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 8/25/2022       29826     $1,472.45
1111782-04    N.N.          All City Family Healthcare Center, Inc.         Unlisted Procedure Arthroscopy…    8/25/2022   29999     $1,472.45
1111782-04    N.N.          All City Family Healthcare Center, Inc.       Single Nerve Block Injection Arm …   8/25/2022   64415      $979.78
1111782-04    N.N.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     8/25/2022   76942      $341.96
1111782-04    N.N.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…  10/13/2022   20610      $473.39
1111782-04    N.N.                       SCOB LLC                       Arthroscopy Knee Synovectomy 2/>C… 10/13/2022      29876     $2,944.87
1111782-04    N.N.                       SCOB LLC                        Arthrs Knee Abrasion Arthrp/Mlt D… 10/13/2022     29879     $3,026.24
1111782-04    N.N.                       SCOB LLC                      Arthrs Knee W/Meniscectomy Med&La… 10/13/2022       29880     $2,944.87
1111984-01    R.D.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…   6/14/2022   20610      $473.39
1111984-01    R.D.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…    6/14/2022   29821     $5,677.77
1111984-01    R.D.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    6/14/2022   29823     $1,472.45
1111984-01    R.D.            Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …   6/14/2022   29825     $1,472.45
1111984-01    R.D.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 6/14/2022       29826     $1,472.45
1111984-01    R.D.            Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …   6/14/2022   64415      $979.78
1111984-01    R.D.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     6/14/2022   76942      $341.96
1111984-01    R.D.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…   6/21/2022   20610      $473.39
1111984-01    R.D.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 6/21/2022       29875     $1,472.45
1111984-01    R.D.            Fifth Avenue Surgery Center LLC          Arthrs Kne Surg W/Meniscectomy Me… 6/21/2022        29881     $3,026.24
1111984-01    R.D.            Fifth Avenue Surgery Center LLC            Injection Anesthetic Agent Femora…    6/21/2022   64447      $829.30
1111984-01    R.D.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     6/21/2022   76942      $341.96
1111984-01    R.D.                     Triborough ASC                     Perq Intrdscl Electrothrm Annulop…   10/3/2022   22526     $2,648.32
1111984-01    R.D.                     Triborough ASC                    Dcmprn Perq Nucleus Pulposus 1/> …    10/3/2022   62287     $5,296.65
1111984-01    R.D.                     Triborough ASC                    Probe, Percutaneous Lumbar Discec…    10/3/2022   C2614      $800.00
1111984-01    R.D.                     Triborough ASC                     Perq Intrdscl Electrothrm Annulop…  10/10/2022   22526     $5,296.65
1111984-01    R.D.                     Triborough ASC                     Perq Intrdscl Electrothrm Annulop…  10/10/2022   22527     $2,648.32
1111984-01    R.D.                     Triborough ASC                          Unlisted Procedure Spine…      10/10/2022   22899     $2,648.32
1111984-01    R.D.                     Triborough ASC                    Probe, Percutaneous Lumbar Discec… 10/10/2022     C2614      $800.00
1112011-01    S.S.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/22/2022   62323      $976.38
1112011-01    S.S.          All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulop…   6/12/2022   22526     $2,605.78
1112011-01    S.S.          All City Family Healthcare Center, Inc.      Dcmprn Perq Nucleus Pulposus 1/> …    6/12/2022   62287     $5,292.93
1112011-01    S.S.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     7/6/2022   62321      $976.38
1112011-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…      7/19/2022   29823     $3,026.24
1112011-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Ahesiolysis …   7/19/2022   29825     $1,472.45
1112011-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 7/19/2022        29826     $1,472.45
1112011-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center    Single Nerve Block Injection Arm …   7/19/2022   64415      $979.78
1112011-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …      7/19/2022   76942      $341.96
1112011-01    S.S.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 7/19/2022       E0650      $531.06
1112011-01    S.S.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     7/19/2022   E0666       $89.56
1112011-01    S.S.                     Good Medica Inc                   Sewho, Abduction Positioning, Air…    7/19/2022   L3960      $372.50
1112011-01    S.S.          All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulop…    8/3/2022   22526     $2,605.78
1112011-01    S.S.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic…      8/3/2022   63075     $6,402.03
1112475-01    J.R.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/20/2022   62323      $976.38

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                                                           1764
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1112475-01    J.R.               Crotona Parkway ASC LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     7/5/2022   62323       $976.38
1112624-01    T.M.          All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   9/25/2022   62321       $976.38
1112624-01    T.M.                        SCOB LLC                       Arthroscopy Shoulder Surg Synovec…    6/16/2023   29821      $5,677.77
1112624-01    T.M.                        SCOB LLC                       Arthroscopy Shoulder Surg Debride…    6/16/2023   29823      $2,944.87
1111355-02    H.G.          All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/8/2022   62321       $976.38
1111355-02    H.G.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic… 6/22/2022       63075      $6,402.03
1111355-02    H.G.                        SCOB LLC                       Arthroscopy Shoulder Surg Synovec…     8/4/2022   29821      $5,677.77
1111355-02    H.G.                        SCOB LLC                       Arthroscopy Shoulder Surg Debride…     8/4/2022   29823      $2,944.87
1111355-02    H.G.         Health East Ambulatory Surgical Center        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    12/2/2022   62323      $1,012.32
1111355-02    H.G.         Health East Ambulatory Surgical Center         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/12/2022   62321      $1,012.32
1111201-01    M.Y.     NYEEQASC LLC d/b/a North Queens Surgical Center Manj W/Anes Shoulder Joint W/Fixa…      6/10/2022   23700      $1,496.15
1111201-01    M.Y.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…      6/10/2022   29820      $1,472.45
1111201-01    M.Y.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…      6/10/2022   29823      $3,026.24
1111201-01    M.Y.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Ahesiolysis …   6/10/2022   29825      $1,472.45
1111201-01    M.Y.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 6/10/2022        29826      $1,472.45
1111201-01    M.Y.     NYEEQASC LLC d/b/a North Queens Surgical Center    Single Nerve Block Injection Arm …   6/10/2022   64415       $979.78
1111201-01    M.Y.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …      6/10/2022   76942       $341.96
1111201-01    M.Y.                     Good Medica Inc                   So, Acromio/Clavicular (Canvas An…    6/10/2022   L3670       $111.07
1111207-01    S.R.                Hudson Regional Hospital                  Comprehensive Metabolic Panel…     5/12/2022   80053       $150.00
1111207-01    S.R.                Hudson Regional Hospital               Drug Tst Prsmv Instrmnt Chem Anal…    5/12/2022   80307       $359.15
1111207-01    S.R.                Hudson Regional Hospital                Urnls Dip Stick/Tablet Reagent Au…   5/12/2022   81001       $134.00
1111207-01    S.R.                Hudson Regional Hospital                  Hemoglobin Glycosylated A1C…       5/12/2022   83036        $66.70
1111207-01    S.R.                Hudson Regional Hospital                Gonadotropin Chorionic Qualitativ…   5/12/2022   84703        $51.65
1111207-01    S.R.                Hudson Regional Hospital              Blood Count Complete Auto&Auto Di… 5/12/2022       85025       $147.00
1111207-01    S.R.                Hudson Regional Hospital                         Prothrombin Time…           5/12/2022   85610       $143.00
1111207-01    S.R.                Hudson Regional Hospital               Thromboplastin Time Partial Plasm…    5/12/2022   85730       $147.00
1111207-01    S.R.                Hudson Regional Hospital               Antibody Screen Rbc Each Serum Te…    5/12/2022   86850       $105.80
1111207-01    S.R.                Hudson Regional Hospital                    Blood Typing Serologic Abo…      5/12/2022   86900       $498.84
1111207-01    S.R.                Hudson Regional Hospital                  Blood Typing Serologic Rh (D)…     5/12/2022   86901        $56.95
1111207-01    S.R.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…   5/12/2022   87635      $1,200.00
1111207-01    S.R.                Hudson Regional Hospital                 Iadna S Aureus Methicillin Resist…  5/12/2022   87641       $241.40
1111207-01    S.R.                Hudson Regional Hospital               Ecg Routine Ecg W/Least 12 Lds Tr…    5/12/2022   93005       $323.70
1111207-01    S.R.                Hudson Regional Hospital                Myocardial Spect Multiple Studies…   5/16/2022   78452     $13,702.00
1111207-01    S.R.                Hudson Regional Hospital             Echo Tthrc R-T 2D W/Wom-Mode Comp… 5/16/2022        93306      $5,074.90
1111207-01    S.R.                Hudson Regional Hospital                Radiopharmaceutical, Diagnostic, …   5/16/2022   A4641       $688.00
1111207-01    S.R.                        SCOB LLC                       Tenotomy Shoulder Multiple Thru S…     6/2/2022   23406      $3,679.51
1111207-01    S.R.                        SCOB LLC                       Arthroscopy Shoulder Surg Synovec…     6/2/2022   29821      $5,677.77
1111207-01    S.R.                        SCOB LLC                       Arthroscopy Shoulder Surg Debride…     6/2/2022   29823      $2,944.87
1111207-01    S.R.                        SCOB LLC                      Arthroscopy Shoulder W/Coracoacrm…      6/2/2022   29826      $2,944.87
1111207-01    S.R.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin…  6/28/2022   20553       $236.69
1111207-01    S.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/28/2022   62323       $976.38
1111207-01    S.R.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin…  7/30/2022   20553       $236.69
1111207-01    S.R.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…   7/30/2022   22526      $2,605.78
1111207-01    S.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …      7/30/2022   62287      $5,292.93
1111207-01    S.R.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin…   8/9/2022   20553       $236.69
1111207-01    S.R.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/9/2022   62321       $976.38
1111377-02    C.B.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   5/26/2022   22526      $2,605.78
1111377-02    C.B.           Rockaways ASC Development LLC              Discectomy Ant Dcmprn Cord Cervic… 5/26/2022       63075      $6,402.03
1111377-02    C.B.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…    6/2/2022   22526      $2,605.78
1111377-02    C.B.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…    6/2/2022   22527      $2,605.78
1111377-02    C.B.           Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> …     6/2/2022   62287      $5,292.93
1111377-02    C.B.           Rockaways ASC Development LLC                 Injection Single/Mlt Trigger Poin…  6/23/2022   20552       $236.69
1111377-02    C.B.           Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/23/2022   62321       $976.38
1111377-02    C.B.           Rockaways ASC Development LLC               Us Guidance Needle Placement Img …    6/23/2022   76942       $341.96
1111377-02    C.B.               Global Surgery Center LLC               Arthroscopy Shoulder Surg Synovec…     8/2/2022   29821      $1,472.44
1111377-02    C.B.               Global Surgery Center LLC               Arthroscopy Shoulder Surg Debride…     8/2/2022   29823      $5,677.77
1111377-02    C.B.               Global Surgery Center LLC                Arthroscopy Shoulder Ahesiolysis …    8/2/2022   29825      $1,472.44
1111377-02    C.B.               Global Surgery Center LLC              Arthroscopy Shoulder W/Coracoacrm…      8/2/2022   29826      $1,472.44
1111377-02    C.B.               Global Surgery Center LLC                  Unlisted Procedure Arthroscopy…     8/2/2022   29999      $1,472.44
1111339-01    L.M.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Synovec…    7/16/2022   29821      $5,677.77
1111339-01    L.M.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…    7/16/2022   29823      $1,472.45
1111339-01    L.M.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 7/16/2022       29826      $1,472.45
1111339-01    L.M.          All City Family Healthcare Center, Inc.       Single Nerve Block Injection Arm …   7/16/2022   64415       $979.78
1111339-01    L.M.          All City Family Healthcare Center, Inc.      Us Guidance Needle Placement Img …    7/16/2022   76942       $341.96
1111339-01    L.M.               Atlantis Surgery Center LLC               Injection Single/Mlt Trigger Poin…  7/19/2022   20553       $473.39
1111339-01    L.M.               Atlantis Surgery Center LLC               Inject Si Joint Arthrgrphy&/Anes/…  7/19/2022   27096      $1,288.58
1111339-01    L.M.               Atlantis Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 7/19/2022      64483      $1,428.99
1111339-01    L.M.               Atlantis Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 7/19/2022      64484      $1,347.62

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                                                           1765
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1111339-01    L.M.               Atlantis Surgery Center LLC           Njx Anes&/Strd W/Img Tfrml Edrl L… 7/19/2022       64484     $1,347.62
1111339-01    L.M.               Atlantis Surgery Center LLC              Injection Single/Mlt Trigger Poin…  7/27/2022   20553      $473.39
1111339-01    L.M.               Atlantis Surgery Center LLC             Inject Si Joint Arthrgrphy&/Anes/…   7/27/2022   27096     $1,288.57
1111339-01    L.M.               Atlantis Surgery Center LLC           Njx Anes&/Strd W/Img Tfrml Edrl L… 7/27/2022       64483     $1,428.99
1111339-01    L.M.               Atlantis Surgery Center LLC           Njx Anes&/Strd W/Img Tfrml Edrl L… 7/27/2022       64484     $1,347.62
1111339-01    L.M.               Atlantis Surgery Center LLC              Injection Single/Mlt Trigger Poin…   8/3/2022   20553      $473.39
1111339-01    L.M.               Atlantis Surgery Center LLC             Inject Si Joint Arthrgrphy&/Anes/…    8/3/2022   27096     $1,288.58
1111339-01    L.M.               Atlantis Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     8/3/2022   64493     $1,423.89
1111339-01    L.M.               Atlantis Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     8/3/2022   64494     $1,342.52
1111339-01    L.M.               Atlantis Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     8/3/2022   64495     $1,342.52
1111339-01    L.M.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…   8/17/2022   22526     $2,605.78
1111339-01    L.M.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …    8/17/2022   62287     $5,292.93
1111339-01    L.M.          All City Family Healthcare Center, Inc.     Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/21/2022   62321      $976.38
1111339-01    L.M.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…   10/9/2022   22526     $2,605.78
1111339-01    L.M.          All City Family Healthcare Center, Inc.    Discectomy Ant Dcmprn Cord Cervic… 10/9/2022       63075     $6,402.03
1110754-01    C.A.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/16/2022   62323      $976.38
1110754-01    C.A.               Citimed Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…    6/15/2022   29821     $5,596.40
1110754-01    C.A.               Citimed Surgery Center LLC             Arthroscopy Shoulder Rotator Cuff…    6/15/2022   29827     $5,677.77
1110754-01    C.A.               Citimed Surgery Center LLC            Anchor/Screw For Opposing Bone-To… 6/15/2022       C1713      $556.50
1110754-01    C.A.           Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…   6/19/2022   22526     $2,605.78
1110754-01    C.A.           Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…   6/19/2022   22527     $2,605.78
1110754-01    C.A.           Rockaways ASC Development LLC              Dcmprn Perq Nucleus Pulposus 1/> …    6/19/2022   62287     $5,292.93
1110754-01    C.A.           Rockaways ASC Development LLC              Infectious Agent Detection By Nuc…    6/19/2022   87635       $51.33
1110778-01    H.M.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/31/2022   62323      $976.38
1110778-01    H.M.            Island Ambulatory Surgery Center           Infectious Agent Antigen Detectio…   5/31/2022   87426      $200.00
1110778-01    H.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surgical Rep…     7/6/2022   29807     $5,677.77
1110778-01    H.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surgical Rem…     7/6/2022   29819     $1,472.45
1110778-01    H.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…     7/6/2022   29821     $2,798.20
1110778-01    H.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Debride…     7/6/2022   29823     $1,472.45
1110778-01    H.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Ahesiolysis …     7/6/2022   29825     $1,472.45
1110778-01    H.M.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…     7/6/2022   29999     $1,472.45
1110778-01    H.M.               Surgicore of Jersey City LLC           Single Nerve Block Injection Arm …     7/6/2022   64415      $979.78
1110778-01    H.M.               Surgicore of Jersey City LLC          Us Guidance Needle Placement Img …      7/6/2022   76942      $341.96
1110778-01    H.M.               Surgicore of Jersey City LLC           Infectious Agent Detection By Nuc…     7/6/2022   87635       $51.33
1110778-01    H.M.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     7/6/2022   A4649       $50.00
1110778-01    H.M.               Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…    7/6/2022   L8699      $838.00
1110965-03    S.M.                Crotona Parkway ASC LLC                 Injection Single/Mlt Trigger Poin…  7/12/2022   20553      $277.37
1110965-03    S.M.                Crotona Parkway ASC LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/12/2022   62323      $976.38
1110965-03    S.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec… 11/16/2022     29821     $5,677.77
1110965-03    S.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Debride…   11/16/2022   29823     $1,472.45
1110965-03    S.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Ahesiolysis …   11/16/2022   29825     $1,472.45
1110965-03    S.M.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…   11/16/2022   29999     $1,472.45
1110965-03    S.M.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…   11/16/2022   29999     $1,472.45
1110965-03    S.M.               Surgicore of Jersey City LLC           Single Nerve Block Injection Arm …   11/16/2022   64415      $979.78
1110965-03    S.M.               Surgicore of Jersey City LLC          Us Guidance Needle Placement Img … 11/16/2022      76942      $341.96
1110965-03    S.M.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…   11/16/2022   A4649      $185.00
1110654-01    A.R.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…     6/4/2022   29821     $5,677.77
1110654-01    A.R.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…     6/4/2022   29823     $1,472.45
1110654-01    A.R.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Ahesiolysis …     6/4/2022   29825     $1,472.45
1110654-01    A.R.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder W/Coracoacrm…      6/4/2022   29826     $1,472.45
1110654-01    A.R.            Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …     6/4/2022   64415      $979.78
1110654-01    A.R.            Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …      6/4/2022   76942      $341.96
1110654-01    A.R.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…      6/4/2022   E0650      $531.06
1110654-01    A.R.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …      6/4/2022   E0666       $89.56
1110654-01    A.R.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/27/2022   62323      $976.38
1110654-01    A.R.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/10/2022   62321      $976.38
1110654-01    A.R.           Rockaways ASC Development LLC              Infectious Agent Detection By Nuc…    8/10/2022   87635       $51.33
1110654-01    A.R.           Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…   9/18/2022   22526     $2,605.78
1110654-01    A.R.           Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…   9/18/2022   22527     $2,605.78
1110654-01    A.R.           Rockaways ASC Development LLC              Dcmprn Perq Nucleus Pulposus 1/> …    9/18/2022   62287     $5,292.93
1111128-01    M.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      5/9/2022   62323      $976.38
1111128-01    M.V.               Citimed Surgery Center LLC            Arthroscopy Knee Synovectomy 2/>C… 8/25/2022       29876     $2,944.87
1111128-01    M.V.               Citimed Surgery Center LLC             Arthrs Knee Abrasion Arthrp/Mlt D…    8/25/2022   29879     $3,026.24
1111128-01    M.V.               Citimed Surgery Center LLC           Arthrs Knee W/Meniscectomy Med&La… 8/25/2022        29880     $2,944.87
1111423-01    B.Z.                        SCOB LLC                      Arthroscopy Shoulder Surg Synovec…    6/30/2022   29821     $5,677.77
1111423-01    B.Z.                        SCOB LLC                      Arthroscopy Shoulder Surg Debride…    6/30/2022   29823     $2,944.87
1111423-01    B.Z.                        SCOB LLC                     Arthroscopy Shoulder W/Coracoacrm… 6/30/2022       29826     $2,944.87
1111423-01    B.Z.          All City Family Healthcare Center, Inc.     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/27/2022   62323      $976.38

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                                                           1766
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1110432-02    J.R.                       SCOB LLC                        Njx Pltlt Plasma W/Img Harvest/Pr…   4/28/2022   0232T      $875.92
1110432-02    J.R.                       SCOB LLC                        Tenotomy Shoulder Area 1 Tendon…     4/28/2022   23405     $3,679.51
1110432-02    J.R.                       SCOB LLC                        Arthroscopy Shoulder Surg Synovec…   4/28/2022   29821     $5,677.77
1110432-02    J.R.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…   4/28/2022   29823     $2,944.87
1110432-02    J.R.                       SCOB LLC                       Arthroscopy Shoulder W/Coracoacrm… 4/28/2022      29826     $2,944.87
1110432-02    J.R.             Fifth Avenue Surgery Center LLC            Injection Single/Mlt Trigger Poin…  7/14/2022   20553      $236.69
1110432-02    J.R.             Fifth Avenue Surgery Center LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/14/2022   62321      $976.38
1110432-02    J.R.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …    7/14/2022   76942      $341.96
1110572-02    V.H.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…    6/4/2022   29821     $5,677.77
1110572-02    V.H.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…    6/4/2022   29823     $1,472.45
1110572-02    V.H.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Ahesiolysis …    6/4/2022   29825     $1,472.45
1110572-02    V.H.             Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder W/Coracoacrm…     6/4/2022   29826     $1,472.45
1110572-02    V.H.             Fifth Avenue Surgery Center LLC             Unlisted Procedure Arthroscopy…     6/4/2022   29999     $1,472.45
1110572-02    V.H.             Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …    6/4/2022   64415      $979.78
1110572-02    V.H.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …     6/4/2022   76942      $341.96
1110572-02    V.H.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…     6/4/2022   E0650      $531.06
1110572-02    V.H.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     6/4/2022   E0666       $89.56
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…  6/21/2022   20553      $236.69
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/21/2022   62321      $976.38
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…  9/10/2022   20553      $473.39
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…  9/10/2022   22526     $2,605.78
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…  9/10/2022   22527     $2,605.79
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …     9/10/2022   62287     $5,292.93
1110572-02    V.H.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…   9/10/2022   87635       $51.33
1110572-02    V.H.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/7/2023   62323      $976.38
1110572-02    V.H.          All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulop… 12/21/2023   22526     $2,605.78
1110572-02    V.H.          All City Family Healthcare Center, Inc.      Dcmprn Perq Nucleus Pulposus 1/> … 12/21/2023    62287     $5,292.93
1110583-02    Y.P.                   Hudson Surgery Center                Injection Single/Mlt Trigger Poin…  6/24/2022   20553      $277.37
1110583-02    Y.P.                   Hudson Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/24/2022   62323      $976.38
1110583-02    Y.P.                   Hudson Surgery Center                Injection Single/Mlt Trigger Poin…   8/5/2022   20553      $279.23
1110583-02    Y.P.                   Hudson Surgery Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/5/2022   62321      $980.10
1110583-02    Y.P.                   Hudson Surgery Center                Injection Single/Mlt Trigger Poin…  8/26/2022   20553      $279.23
1110583-02    Y.P.                   Hudson Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/26/2022   62323      $980.10
1110583-02    Y.P.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy Shoulder Surg Synovec… 10/25/2022    29821     $5,596.40
1110583-02    Y.P.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy Shoulder Surg Debride…  10/25/2022   29823     $1,472.45
1110583-02    Y.P.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy Shoulder Ahesiolysis …  10/25/2022   29825     $1,472.45
1110583-02    Y.P.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy Shoulder Rotator Cuff…  10/25/2022   29827     $6,723.47
1110583-02    Y.P.       Surgicore LLC d/b/a Surgicore Surgical Center     Unlisted Procedure Arthroscopy…   10/25/2022   29999     $1,472.45
1110583-02    Y.P.       Surgicore LLC d/b/a Surgicore Surgical Center   Single Nerve Block Injection Arm …  10/25/2022   64415      $979.78
1110583-02    Y.P.       Surgicore LLC d/b/a Surgicore Surgical Center  Us Guidance Needle Placement Img … 10/25/2022     76942      $341.96
1110913-01    M.J.               East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/3/2022   62323      $976.38
1110913-01    M.J.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 10/18/2022     29875     $1,472.45
1110913-01    M.J.          All City Family Healthcare Center, Inc.    Arthrs Kne Surg W/Meniscectomy Me… 10/18/2022      29881     $3,026.24
1110913-01    M.J.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…   10/18/2022   29999     $1,472.45
1110913-02    A.C.               East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/3/2022   62323      $976.38
1110913-02    A.C.               East Tremont Medical Center             Njx Pltlt Plasma W/Img Harvest/Pr…   6/20/2022   0232T      $875.92
1110913-02    A.C.               East Tremont Medical Center            Arthroscopy Knee Diagnostic W/Wo … 6/20/2022      29870     $3,026.24
1110913-02    A.C.               East Tremont Medical Center            Arthroscopy Knee Synovectomy 2/>C… 6/20/2022      29876     $2,914.55
1110913-02    A.C.               East Tremont Medical Center             Arthrs Knee Abrasion Arthrp/Mlt D…   6/20/2022   29879     $2,214.55
1110913-02    A.C.               East Tremont Medical Center           Arthrs Knee W/Meniscectomy Med&La… 6/20/2022       29880     $3,026.24
1110913-02    A.C.               East Tremont Medical Center              Injection Single/Mlt Trigger Poin…  7/29/2022   20553      $473.38
1110913-02    A.C.               East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   7/29/2022   62323      $976.75
1110913-02    A.C.               East Tremont Medical Center            Us Guidance Needle Placement Img …    7/29/2022   76942      $423.32
1110913-02    A.C.               East Tremont Medical Center             Fluor Needle/Cath Spine/Paraspina…   7/29/2022   77003      $573.53
1110913-02    A.C.          Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder Surg Synovec…   12/5/2022   29821     $5,677.77
1110913-02    A.C.          Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder Surg Debride…   12/5/2022   29823     $1,472.45
1110913-02    A.C.          Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Distal Clavi…  12/5/2022   29824     $1,472.45
1110913-02    A.C.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy Shoulder W/Coracoacrm… 12/5/2022      29826     $1,472.45
1110913-02    A.C.          Bronx SC LLC d/b/a Empire State ASC          Single Nerve Block Injection Arm …   12/5/2022   64415      $979.78
1110913-02    A.C.          Bronx SC LLC d/b/a Empire State ASC         Us Guidance Needle Placement Img …    12/5/2022   76942      $341.96
1111146-02    K.C.             New Horizon Surgical Center LLC          Arthroscopy Knee Synovectomy Limi… 5/16/2022      29875     $1,472.45
1111146-02    K.C.             New Horizon Surgical Center LLC           Arthrs Knee Abrasion Arthrp/Mlt D…   5/16/2022   29879     $1,472.45
1111146-02    K.C.             New Horizon Surgical Center LLC         Arthrs Kne Surg W/Meniscectomy Me… 5/16/2022       29881     $1,472.45
1111146-02    K.C.             New Horizon Surgical Center LLC            Arthroscopy, Knee, Surgical, For …  5/16/2022   G0289     $5,677.77
1111146-02    K.C.             New Horizon Surgical Center LLC            Prosthetic Implant, Not Otherwise…  5/16/2022   L8699      $244.00
1111146-02    K.C.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 5/16/2022      E0650      $531.06
1111146-02    K.C.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    5/16/2022   E0666       $89.56
1111503-02    M.S.             New Horizon Surgical Center LLC         Arthrs Kne Surg W/Meniscectomy Me… 6/14/2022       29881     $1,472.45

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                                                           1767
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1111503-02    M.S.            New Horizon Surgical Center LLC          Arthroscopy Knee W/Lysis Adhesion…       6/14/2022   29884     $1,472.45
1111503-02    M.S.            New Horizon Surgical Center LLC            Arthroscopy, Knee, Surgical, For …     6/14/2022   G0289     $5,677.77
1111503-02    M.S.            New Horizon Surgical Center LLC            Prosthetic Implant, Not Otherwise…     6/14/2022   L8699      $243.00
1111503-02    M.S.                     Good Medica Inc                  Cane, Quad Or Three-Prong, Includ…      6/14/2022   E0105       $18.75
1111503-02    M.S.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…       6/14/2022   E0650      $531.06
1111503-02    M.S.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …       6/14/2022   E0666       $89.56
1111503-02    M.S.            New Horizon Surgical Center LLC          Arthrs Kne Surg W/Meniscectomy Me…       9/27/2022   29881     $1,472.45
1111503-02    M.S.            New Horizon Surgical Center LLC          Arthroscopy Knee W/Lysis Adhesion…       9/27/2022   29884     $1,472.45
1111503-02    M.S.            New Horizon Surgical Center LLC            Arthroscopy, Knee, Surgical, For …     9/27/2022   G0289     $5,677.77
1111503-02    M.S.            New Horizon Surgical Center LLC            Prosthetic Implant, Not Otherwise…     9/27/2022   L8699      $243.00
1111503-02    M.S.         Health East Ambulatory Surgical Center       Arthrt Elbow W/Exploration Draina…       2/7/2023   24000     $4,301.40
1111503-02    M.S.         Health East Ambulatory Surgical Center        Repair Lateral Collateral Ligamen…      2/7/2023   24343     $4,301.40
1111503-02    M.S.         Health East Ambulatory Surgical Center       Tnot Elbow Lateral/Medial Debride…       2/7/2023   24359     $4,301.40
1111503-02    M.S.         Health East Ambulatory Surgical Center       Arthroscopy Elbow Surgical Synove…       2/7/2023   29836     $9,997.71
1111503-02    M.S.         Health East Ambulatory Surgical Center        Injection Anes Other Peripheral N…      2/7/2023   64450     $1,000.00
1111503-02    M.S.         Health East Ambulatory Surgical Center      Anchor/Screw For Opposing Bone-To…        2/7/2023   C1713     $1,868.75
1110531-01    A.B.               Citimed Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      1/25/2023   62323      $976.38
1110531-01    A.B.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…     12/19/2023   29821     $5,677.77
1110531-01    A.B.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Debride…     12/19/2023   29823     $1,472.45
1110531-01    A.B.          All City Family Healthcare Center, Inc.    Arthroscopy Shoulder W/Coracoacrm…      12/19/2023   29826     $1,472.45
1110531-01    A.B.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …    12/19/2023   64415      $979.78
1110531-01    A.B.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     12/19/2023   76942      $341.96
1110506-01    R.A.               East Tremont Medical Center              Injection Single/Mlt Trigger Poin…    5/13/2022   20553      $473.38
1110506-01    R.A.               East Tremont Medical Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      5/13/2022   62323      $976.75
1110506-01    R.A.               East Tremont Medical Center            Us Guidance Needle Placement Img …      5/13/2022   76942      $341.95
1110506-01    R.A.               East Tremont Medical Center            Fluor Needle/Cath Spine/Paraspina…      5/13/2022   77003      $573.53
1110506-01    R.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…        6/3/2022   62323      $976.38
1110506-01    R.A.     NYEEQASC LLC d/b/a North Queens Surgical Center  Infectious Agent Detection By Nuc…       6/3/2022   87635       $51.33
1110506-01    R.A.               East Tremont Medical Center             Arthrocentesis Aspir&/Inj Major J…      6/8/2022   20610      $554.74
1110506-01    R.A.               East Tremont Medical Center            Arthroscopy Shoulder Surgical Rep…       6/8/2022   29807     $5,677.77
1110506-01    R.A.               East Tremont Medical Center            Arthroscopy Shoulder Surgical Rem…       6/8/2022   29819     $2,944.87
1110506-01    R.A.               East Tremont Medical Center            Arthroscopy Shoulder Surg Synovec…       6/8/2022   29821     $2,798.20
1110506-01    R.A.               East Tremont Medical Center            Arthroscopy Shoulder Surg Debride…       6/8/2022   29823     $3,026.24
1110506-01    R.A.               East Tremont Medical Center             Arthroscopy Shoulder Ahesiolysis …      6/8/2022   29825     $3,026.24
1110506-01    R.A.               East Tremont Medical Center               Unlisted Procedure Arthroscopy…       6/8/2022   29999     $1,513.12
1110556-02    L.B.               Crotona Parkway ASC LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       9/2/2022   62323      $980.10
1110556-02    L.B.          All City Family Healthcare Center, Inc.    Arthroscopy Knee Synovectomy Limi…       12/2/2022   29875     $1,472.45
1110556-02    L.B.          All City Family Healthcare Center, Inc.    Arthrs Kne Surg W/Meniscectomy Me…       12/2/2022   29881     $3,026.24
1110556-02    L.B.          All City Family Healthcare Center, Inc.    Arthroscopy Knee W/Lysis Adhesion…       12/2/2022   29884     $1,472.45
1110667-02     I.J.                      SCOB LLC                       Arthroscopy Shoulder Surg Debride…      9/30/2022   29823     $3,026.24
1110667-02     I.J.                      SCOB LLC                        Arthroscopy Shoulder Ahesiolysis …     9/30/2022   29825     $2,944.87
1110667-02     I.J.                      SCOB LLC                      Arthroscopy Shoulder W/Coracoacrm…       9/30/2022   29826     $2,944.87
1110667-02     I.J.         All City Family Healthcare Center, Inc.       Injection Single/Mlt Trigger Poin…    10/3/2022   20552      $236.69
1110667-02     I.J.         All City Family Healthcare Center, Inc.     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      10/3/2022   62323      $976.38
1110667-02     I.J.         All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …      10/3/2022   76942      $341.96
1110667-02     I.J.         All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    11/14/2022   22526     $2,605.78
1110667-02     I.J.         All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …     11/14/2022   62287     $5,292.93
1110689-01    O.S.                       SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       6/8/2022   64493      $976.38
1110689-01    O.S.                       SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       6/8/2022   64494      $895.01
1110689-01    O.S.                       SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       6/8/2022   64494      $895.01
1110689-01    O.S.                       SCOB LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      6/22/2022   62321      $976.38
1110689-01    O.S.          All City Family Healthcare Center, Inc.     Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      12/7/2022   62321      $976.38
1110453-02    J.M.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…      6/13/2022   29821     $5,596.40
1110453-02    J.M.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…      6/13/2022   29823     $1,472.45
1110453-02    J.M.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …     6/13/2022   29825     $1,472.45
1110453-02    J.M.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder W/Coracoacrm…       6/13/2022   29826     $1,553.82
1110453-02    J.M.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Rotator Cuff…      6/13/2022   29827     $6,723.47
1110453-02    J.M.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …     6/13/2022   64415      $979.78
1110453-02    J.M.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      6/13/2022   76942      $341.96
1110453-02    J.M.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…       6/13/2022   E0650      $531.06
1110453-02    J.M.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …       6/13/2022   E0666       $89.56
1110263-01    A.M.          All City Family Healthcare Center, Inc.     Tenotomy Shoulder Area 1 Tendon…        5/13/2022   23405     $1,839.77
1110263-01    A.M.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…      5/13/2022   29821     $5,677.77
1110263-01    A.M.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …     5/13/2022   29825     $1,472.45
1110263-01    A.M.          All City Family Healthcare Center, Inc.    Arthroscopy Shoulder W/Coracoacrm…       5/13/2022   29826     $1,472.45
1110263-01    A.M.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …     5/13/2022   64415      $979.78
1110263-01    A.M.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …      5/13/2022   76942      $341.96
1110263-01    A.M.               East Tremont Medical Center             Perq Intrdscl Electrothrm Annulop…      6/4/2022   22526     $2,605.78

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                                                          1768
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1110263-01    A.M.             East Tremont Medical Center                   Perq Intrdscl Electrothrm Annulop…    6/4/2022   22527     $2,605.78
1110263-01    A.M.             East Tremont Medical Center                  Njx Arterial Occlusion Arven Malf…     6/4/2022   62294      $896.01
1110263-01    A.M.             East Tremont Medical Center                 Discectomy Ant Dcmprn Cord Cervic…      6/4/2022   63075     $6,402.03
1110263-01    A.M.             East Tremont Medical Center                  Fluor Needle/Cath Spine/Paraspina…     6/4/2022   77003      $573.53
1110263-01    A.M.              Crotona Parkway ASC LLC                      Perq Intrdscl Electrothrm Annulop…   9/27/2022   22526     $2,648.32
1110263-01    A.M.              Crotona Parkway ASC LLC                     Dcmprn Perq Nucleus Pulposus 1/> …    9/27/2022   62287     $5,296.65
1110263-01    A.M.              Crotona Parkway ASC LLC                      Infectious Agent Antigen Detectio…   9/27/2022   87426      $200.00
1110263-01    A.M.              Crotona Parkway ASC LLC                       Injection Single/Mlt Trigger Poin…  4/23/2024   20553      $279.23
1110263-01    A.M.              Crotona Parkway ASC LLC                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/23/2024   62323      $980.10
1110782-90    L.W.                  Goldstep ASC LLC                        Anes Dx/Ther Nerve Block/Injectio…     7/1/2022    1992      $360.00
1110782-90    L.W.                  Goldstep ASC LLC                        Prq Lysis Epidural Adhesions Mult…     7/1/2022   62264     $1,500.00
1110782-90    L.W.                  Goldstep ASC LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     7/1/2022   62323     $1,500.00
1110782-90    L.W.                  Goldstep ASC LLC                                 Epidurograpy Rs&I…            7/1/2022   72275     $1,500.00
1110782-90    L.W.                  Goldstep ASC LLC                        Fluor Needle/Cath Spine/Paraspina…     7/1/2022   77003     $1,000.00
1110782-90    L.W.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy Limi… 8/18/2022       29875     $1,472.45
1110782-90    L.W.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 8/18/2022        29880     $3,026.24
1110782-90    L.W.             Surgicore of Jersey City LLC                Arthroscopy Knee W/Lysis Adhesion… 8/18/2022       29884     $1,472.45
1110782-90    L.W.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…    8/18/2022   A4649      $195.00
1109965-01    O.W.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…   4/12/2022   20610      $473.39
1109965-01    O.W.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…   4/12/2022   20610      $473.39
1109965-01    O.W.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…    4/12/2022   29821     $5,677.77
1109965-01    O.W.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…    4/12/2022   29821     $5,677.77
1109965-01    O.W.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    4/12/2022   29823     $1,472.45
1109965-01    O.W.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    4/12/2022   29823     $1,472.45
1109965-01    O.W.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …    4/12/2022   64415      $979.78
1109965-01    O.W.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …    4/12/2022   64415      $979.78
1109965-01    O.W.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     4/12/2022   76942      $341.96
1109965-01    O.W.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     4/12/2022   76942      $341.96
1109965-01    O.W.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 4/12/2022       E0650      $531.06
1109965-01    O.W.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     4/12/2022   E0666       $89.56
1109867-02    T.F.          New Horizon Surgical Center LLC                 Repair Secondary Disrupted Ligame…    6/24/2022   27698     $3,311.97
1109867-02    T.F.          New Horizon Surgical Center LLC                 Arthroscopy Ankle Surgical Synove…    6/24/2022   29895     $1,472.45
1109867-02    T.F.          New Horizon Surgical Center LLC                 Arthroscopy Ankle Surgical Debrid…    6/24/2022   29898     $1,472.45
1109867-02    T.F.          New Horizon Surgical Center LLC                   Injection Anesthetic Agent Sciati…  6/24/2022   64445      $976.38
1109867-02    T.F.          New Horizon Surgical Center LLC                 Injection Anesthetic Agent Femora…    6/24/2022   64447      $447.52
1109867-02    T.F.          New Horizon Surgical Center LLC                Us Guidance Needle Placement Img …     6/24/2022   76942      $341.96
1109867-02    T.F.          New Horizon Surgical Center LLC                Anchor/Screw For Opposing Bone-To… 6/24/2022       C1713      $796.00
1109867-02    T.F.          New Horizon Surgical Center LLC                  Prosthetic Implant, Not Otherwise…   6/24/2022   L8699      $785.80
1109867-02    T.F.                   Good Medica Inc                        Walker, Enclosed, Four Sided Fram…    6/24/2022   E0144       $23.38
1109867-02    T.F.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 6/24/2022       E0650      $531.06
1109867-02    T.F.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     6/24/2022   E0666       $89.56
1109835-01    J.A.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surgical Cap…    3/17/2022   29806     $5,677.77
1109835-01    J.A.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…    3/17/2022   29821     $2,798.20
1109835-01    J.A.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…    3/17/2022   29823     $1,472.45
1109835-01    J.A.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …    3/17/2022   29825     $1,472.45
1109835-01    J.A.             Surgicore of Jersey City LLC                    Unlisted Procedure Arthroscopy…    3/17/2022   29999     $1,472.45
1109835-01    J.A.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …    3/17/2022   64415      $979.78
1109835-01    J.A.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …     3/17/2022   76942      $341.96
1109835-01    J.A.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…   3/17/2022   L8699     $1,000.35
1109835-01    J.A.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 3/17/2022       E0650      $531.06
1109835-01    J.A.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     3/17/2022   E0666       $89.56
1109710-01    E.M.                     SCOB LLC                              Arthrocentesis Aspir&/Inj Major J…   8/31/2022   20610      $473.39
1109710-01    E.M.                     SCOB LLC                            Arthroscopy Knee Synovectomy 2/>C… 8/31/2022       29876     $3,026.24
1109710-01    E.M.                     SCOB LLC                           Arthrs Kne Surg W/Meniscectomy Me… 8/31/2022        29881     $2,944.87
1109710-01    E.M.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…  10/25/2022   22526     $2,605.78
1109710-01    E.M.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> … 10/25/2022     62287     $5,292.93
1109710-01    E.M.        All City Family Healthcare Center, Inc.             Injection Single/Mlt Trigger Poin… 10/31/2022   20552      $236.69
1109710-01    E.M.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/31/2022   62323      $976.38
1109710-01    E.M.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img … 10/31/2022      76942      $341.96
1109587-05    D.P.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    4/11/2022   29821     $5,677.77
1109587-05    D.P.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    4/11/2022   29823     $1,472.45
1109587-05    D.P.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    4/11/2022   29825     $1,472.45
1109587-05    D.P.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 4/11/2022       29826     $1,472.45
1109587-05    D.P.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    4/11/2022   64415      $979.78
1109587-05    D.P.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     4/11/2022   76942      $341.96
1109587-05    D.P.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin…   2/8/2023   20552      $279.23
1109587-05    D.P.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/8/2023   62321      $980.10
1109587-05    D.P.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…   4/20/2023   22526     $2,648.32

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                                                           1769
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1109587-05    D.P.             Island Ambulatory Surgery Center                Unlisted Procedure Spine…       4/20/2023   22899     $5,296.65
1109587-05    D.P.             Island Ambulatory Surgery Center           Infectious Agent Antigen Detectio…   4/20/2023   87426      $200.00
1110542-01    J.R.             Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…   7/12/2022   20610      $473.39
1110542-01    J.R.             Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi… 7/12/2022       29875     $1,472.45
1110542-01    J.R.             Fifth Avenue Surgery Center LLC         Arthrs Knee W/Meniscectomy Med&La… 7/12/2022        29880     $3,026.24
1110542-01    J.R.             Fifth Avenue Surgery Center LLC           Injection Anesthetic Agent Femora…    7/12/2022   64447      $829.30
1110542-01    J.R.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …     7/12/2022   76942      $341.96
1110542-01    J.R.             Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…    9/6/2022   20610      $473.39
1110542-01    J.R.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…     9/6/2022   29821     $5,677.77
1110542-01    J.R.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…     9/6/2022   29823     $1,472.45
1110542-01    J.R.             Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …     9/6/2022   64415      $979.78
1110542-01    J.R.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …      9/6/2022   76942      $341.96
1110542-01    J.R.             Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin… 10/24/2022   20553      $279.23
1110542-01    J.R.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/24/2022   62323      $980.10
1110542-01    J.R.             Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…  11/7/2022   20553      $279.23
1110542-01    J.R.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    11/7/2022   62321      $980.10
1110312-02    L.G.                Surgicore of Jersey City LLC          Arthroscopy Knee Synovectomy 2/>C… 3/31/2022       29876     $1,472.45
1110312-02    L.G.                Surgicore of Jersey City LLC         Arthrs Knee W/Meniscectomy Med&La… 3/31/2022        29880     $3,026.24
1110312-02    L.G.                Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    3/31/2022   A4649      $195.00
1110312-02    L.G.                      Good Medica Inc                 Pneumatic Compressor, Nonsegmenta… 3/31/2022       e0650      $531.06
1110312-02    L.G.                      Good Medica Inc                 Nonsegmental Pneumatic Appliance …     3/31/2022   e0666       $89.56
1110312-02    L.G.             Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…  5/16/2022   20553      $277.37
1110312-02    L.G.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/16/2022   62323      $976.38
1110111-03    J.T.                Citimed Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/16/2022   62321      $976.38
1110111-03    J.T.                      Triborough ASC                     Injection Single/Mlt Trigger Poin…  7/22/2022   20553     $2,648.32
1110111-03    J.T.                      Triborough ASC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/22/2022   62321     $5,296.65
1110111-03    J.T.       Surgicore LLC d/b/a Surgicore Surgical Center    Perq Intrdscl Electrothrm Annulop…   12/3/2022   22526     $2,605.78
1110111-03    J.T.       Surgicore LLC d/b/a Surgicore Surgical Center    Perq Intrdscl Electrothrm Annulop…   12/3/2022   22527     $2,605.79
1110111-03    J.T.       Surgicore LLC d/b/a Surgicore Surgical Center   Dcmprn Perq Nucleus Pulposus 1/> …    12/3/2022   62287     $5,292.93
1110111-03    J.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi…       1/7/2023   29875     $1,472.45
1110111-03    J.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee Abrasion Arthrp/Mlt D…       1/7/2023   29879     $1,472.45
1110111-03    J.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 1/7/2023         29880     $3,026.24
1110111-03    J.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee W/Lysis Adhesion…       1/7/2023   29884     $1,472.45
1109829-03    R.G.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin…  6/25/2022   20553      $236.69
1109829-03    R.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/25/2022   62323      $976.38
1109829-03    R.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…    6/25/2022   87635       $51.33
1109829-03    R.G.                         SCOB LLC                     Arthroscopy Knee Synovectomy 2/>C…      7/8/2022   29876     $3,026.24
1109829-03    R.G.                         SCOB LLC                    Arthrs Kne Surg W/Meniscectomy Me… 7/8/2022         29881     $2,944.87
1109829-04    D.N.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin…  5/31/2022   20553      $236.69
1109829-04    D.N.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      5/31/2022   62323      $976.38
1109829-04    D.N.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin…  7/12/2022   20553      $473.39
1109829-04    D.N.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…   7/12/2022   22526     $2,605.78
1109829-04    D.N.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…   7/12/2022   22526     $2,605.79
1109829-04    D.N.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …      7/12/2022   62287     $5,292.93
1109829-04    D.N.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…    7/12/2022   87635       $51.33
1109829-04    D.N.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin…  7/26/2022   20553      $236.69
1109829-04    D.N.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/26/2022   62321      $976.38
1109829-04    D.N.                         SCOB LLC                     Arthroscopy Knee Synovectomy 2/>C… 9/19/2022       29876     $2,944.87
1109829-04    D.N.                         SCOB LLC                      Arthrs Knee Abrasion Arthrp/Mlt D…    9/19/2022   29879     $3,026.24
1109829-04    D.N.                         SCOB LLC                    Arthrs Knee W/Meniscectomy Med&La… 9/19/2022        29880     $2,944.87
1109951-02    C.E.                Atlantis Surgery Center LLC              Injection Single/Mlt Trigger Poin…  5/11/2022   20553      $473.39
1109951-02    C.E.                Atlantis Surgery Center LLC             Inject Si Joint Arthrgrphy&/Anes/…   5/11/2022   27096     $1,288.58
1109951-02    C.E.                Atlantis Surgery Center LLC           Njx Anes&/Strd W/Img Tfrml Edrl L… 5/11/2022       64483     $1,428.99
1109951-02    C.E.                Atlantis Surgery Center LLC           Njx Anes&/Strd W/Img Tfrml Edrl L… 5/11/2022       64484     $1,347.62
1109951-02    C.E.                Atlantis Surgery Center LLC              Injection Single/Mlt Trigger Poin…  5/18/2022   20553      $473.39
1109951-02    C.E.                Atlantis Surgery Center LLC             Inject Si Joint Arthrgrphy&/Anes/…   5/18/2022   27096     $1,288.58
1109951-02    C.E.                Atlantis Surgery Center LLC           Njx Anes&/Strd W/Img Tfrml Edrl L… 5/18/2022       64483     $1,428.99
1109951-02    C.E.                Atlantis Surgery Center LLC           Njx Anes&/Strd W/Img Tfrml Edrl L… 5/18/2022       64484     $1,347.62
1109951-02    C.E.             Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi… 5/24/2022       29875     $1,472.45
1109951-02    C.E.             Fifth Avenue Surgery Center LLC         Arthrs Knee W/Meniscectomy Med&La… 5/24/2022        29880     $3,026.24
1109951-02    C.E.                Atlantis Surgery Center LLC              Injection Single/Mlt Trigger Poin…  6/15/2022   20553      $473.39
1109951-02    C.E.                Atlantis Surgery Center LLC              Injection Single/Mlt Trigger Poin…  6/15/2022   20553      $473.39
1109951-02    C.E.                Atlantis Surgery Center LLC             Inject Si Joint Arthrgrphy&/Anes/…   6/15/2022   27096     $1,288.58
1109951-02    C.E.                Atlantis Surgery Center LLC             Inject Si Joint Arthrgrphy&/Anes/…   6/15/2022   27096     $1,288.58
1109951-02    C.E.                Atlantis Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/15/2022   64493     $1,423.89
1109951-02    C.E.                Atlantis Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/15/2022   64493     $1,423.89
1109951-02    C.E.                Atlantis Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/15/2022   64494     $1,342.52
1109951-02    C.E.                Atlantis Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/15/2022   64494     $1,342.52

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                                                          1770
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1109951-02    C.E.             Atlantis Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/15/2022   64495     $1,342.52
1109951-02    C.E.             Atlantis Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/15/2022   64495     $1,342.52
1110567-01    Y.M.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…  5/31/2022   20552      $236.69
1110567-01    Y.M.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/31/2022   62321      $976.38
1110567-01    Y.M.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …    5/31/2022   76942      $341.96
1110567-01    Y.M.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…  7/19/2022   20552      $236.69
1110567-01    Y.M.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   7/19/2022   62323      $976.38
1110567-01    Y.M.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …    7/19/2022   76942      $341.96
1110567-01    Y.M.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…   7/19/2022   87635       $51.33
1110567-01    Y.M.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Synovec…   1/10/2023   29821     $1,472.44
1110567-01    Y.M.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…   1/10/2023   29823     $5,677.77
1110567-01    Y.M.              Global Surgery Center LLC                   Arthroscopy Shoulder Ahesiolysis …   1/10/2023   29825     $1,472.44
1110567-01    Y.M.              Global Surgery Center LLC                     Unlisted Procedure Arthroscopy…    1/10/2023   29999     $1,472.44
1109140-02    S.B.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 6/15/2022      29876     $1,472.45
1109140-02    S.B.             Surgicore of Jersey City LLC                 Arthrs Knee Abrasion Arthrp/Mlt D…   6/15/2022   29879     $1,472.45
1109140-02    S.B.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 6/15/2022       29880     $3,026.24
1109140-02    S.B.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    6/15/2022   29999     $1,472.45
1109140-02    S.B.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    6/15/2022   A4649      $195.00
1109140-02    S.B.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C…     7/6/2022   29876     $1,472.45
1109140-02    S.B.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 7/6/2022        29880     $3,026.24
1109140-02    S.B.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…     7/6/2022   29999     $1,472.45
1109140-02    S.B.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     7/6/2022   A4649       $50.00
1109140-02    S.B.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     7/6/2022   A4649      $195.00
1109140-02    S.B.            Manalapan Surgery Center Inc                  Arthroscopy Shoulder Surg Synovec…   7/19/2022   29821     $5,677.77
1109140-02    S.B.            Manalapan Surgery Center Inc                  Arthroscopy Shoulder Surg Debride…   7/19/2022   29823     $1,472.45
1109140-02    S.B.            Manalapan Surgery Center Inc                  Arthroscopy Shoulder Ahesiolysis …   7/19/2022   29825     $1,472.45
1109140-02    S.B.            Manalapan Surgery Center Inc                    Unlisted Procedure Arthroscopy…    7/19/2022   29999     $1,472.45
1109140-02    S.B.            Manalapan Surgery Center Inc                    Unlisted Procedure Arthroscopy…    7/19/2022   29999     $1,472.45
1109140-02    S.B.            Manalapan Surgery Center Inc                  Single Nerve Block Injection Arm …   7/19/2022   64415      $979.78
1109140-02    S.B.            Manalapan Surgery Center Inc                 Us Guidance Needle Placement Img …    7/19/2022   76942      $341.96
1109140-02    S.B.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 7/19/2022      E0650      $531.06
1109140-02    S.B.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    7/19/2022   E0666       $89.56
1109458-01    A.R.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…  3/15/2022   20610      $473.39
1109458-01    A.R.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 3/15/2022      29875     $1,472.45
1109458-01    A.R.          Fifth Avenue Surgery Center LLC               Arthrs Kne Surg W/Meniscectomy Me… 3/15/2022       29881     $3,026.24
1109458-01    A.R.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…   3/15/2022   64447      $829.30
1109458-01    A.R.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    3/15/2022   76942      $341.96
1109458-01    A.R.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 3/15/2022      E0650      $531.06
1109458-01    A.R.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    3/15/2022   E0666       $89.56
1109933-02    J.G.                      SCOB LLC                            Arthroscopy Shoulder Surg Debride…    5/6/2022   29823     $3,026.24
1109933-02    J.G.                      SCOB LLC                            Arthroscopy Shoulder Ahesiolysis …    5/6/2022   29825     $2,944.87
1109933-02    J.G.             Crotona Parkway ASC LLC                       Perq Intrdscl Electrothrm Annulop…  9/22/2022   22526     $2,648.32
1109933-02    J.G.             Crotona Parkway ASC LLC                     Ant Sgm Imaging W/Fluoroscein Ang… 9/22/2022      92287     $5,296.65
1109933-02    J.G.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…  11/7/2022   22526     $2,605.78
1109933-02    J.G.        All City Family Healthcare Center, Inc.           Dcmprn Perq Nucleus Pulposus 1/> …   11/7/2022   62287     $5,292.93
1109933-02    J.G.        All City Family Healthcare Center, Inc.            Injection Single/Mlt Trigger Poin… 11/14/2022   20552      $236.69
1109933-02    J.G.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/14/2022   62323      $976.38
1109933-02    J.G.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img … 11/14/2022     76942      $341.96
1108839-01    D.J.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…    4/4/2022   29821     $5,677.77
1108839-01    D.J.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    4/4/2022   29823     $1,472.45
1108839-01    D.J.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …    4/4/2022   29825     $1,472.45
1108839-01    D.J.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm…     4/4/2022   29826     $1,472.45
1108839-01    D.J.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…     4/4/2022   29999     $1,472.45
1108839-01    D.J.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …    4/4/2022   64415      $979.78
1108839-01    D.J.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     4/4/2022   76942      $341.96
1108839-01    D.J.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…     4/4/2022   E0650      $531.06
1108839-01    D.J.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     4/4/2022   E0666       $89.56
1109529-02    A.R.             Surgicore of Jersey City LLC               Arthroscopy Shoulder Dx W/Wo Syno… 3/11/2022       29805     $3,026.24
1109529-02    A.R.             Surgicore of Jersey City LLC                Arthroscopy Knee Diagnostic W/Wo … 3/11/2022      29870     $1,472.45
1109529-02    A.R.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    3/11/2022   A4649      $700.00
1109529-02    A.R.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 3/11/2022      E0650      $531.06
1109529-02    A.R.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    3/11/2022   E0666       $89.56
1109529-02    A.R.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…   3/18/2022   29821     $5,677.77
1109529-02    A.R.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…   3/18/2022   29823     $1,472.45
1109529-02    A.R.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm… 3/18/2022      29826     $1,472.45
1109529-02    A.R.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …   3/18/2022   64415      $979.78
1109529-02    A.R.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …    3/18/2022   76942      $341.96
1109529-02    A.R.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    3/18/2022   A4649      $285.00

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                                                          1771
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                               Service     Code       Billed
1109529-02    A.R.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…      3/18/2022   E0650      $531.06
1109529-02    A.R.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …      3/18/2022   E0666       $89.56
1109529-02    A.R.                   Good Medica Inc                       Wrist Hand Finger Orthosis, Witho…     3/18/2022   L3870      $111.07
1109529-02    A.R.           Fifth Avenue Surgery Center LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     9/16/2022   62323      $976.38
1109896-02    B.L.                      SCOB LLC                            Arthrocentesis Aspir&/Inj Major J…    7/20/2022   20610      $473.39
1109896-02    B.L.                      SCOB LLC                           Arthroscopy Shoulder Surg Synovec…     7/20/2022   29821     $5,677.77
1109896-02    B.L.                      SCOB LLC                           Arthroscopy Shoulder Surg Debride…     7/20/2022   29823     $2,944.87
1109896-02    B.L.                      SCOB LLC                          Arthroscopy Shoulder W/Coracoacrm…      7/20/2022   29826     $2,944.87
1109896-02    B.L.          Rockaways ASC Development LLC                   Arthrocentesis Aspir&/Inj Major J…   10/31/2022   20610      $554.76
1109896-02    B.L.          Rockaways ASC Development LLC                  Arthroscopy Shoulder Surg Synovec…    10/31/2022   29821     $5,596.40
1109896-02    B.L.          Rockaways ASC Development LLC                  Arthroscopy Shoulder Surg Debride…    10/31/2022   29823     $1,472.45
1109896-02    B.L.          Rockaways ASC Development LLC                  Arthroscopy Shoulder Ahesiolysis …    10/31/2022   29825     $1,472.45
1109896-02    B.L.          Rockaways ASC Development LLC                 Arthroscopy Shoulder W/Coracoacrm…     10/31/2022   29826     $1,472.45
1109896-02    B.L.          Rockaways ASC Development LLC                  Arthroscopy Shoulder Rotator Cuff…    10/31/2022   29827     $6,723.47
1109896-02    B.L.          Rockaways ASC Development LLC                  Single Nerve Block Injection Arm …    10/31/2022   64415      $979.78
1109896-02    B.L.          Rockaways ASC Development LLC                 Us Guidance Needle Placement Img …     10/31/2022   76942      $341.96
1108801-01    J.M.                      SCOB LLC                           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/18/2022   62323      $976.38
1108801-01    J.M.           New Horizon Surgical Center LLC               Arthroscopy Shoulder Surg Synovec…     3/14/2024   29821     $5,677.77
1108801-01    J.M.           New Horizon Surgical Center LLC               Arthroscopy Shoulder Surg Debride…     3/14/2024   29823     $1,472.45
1108801-01    J.M.           New Horizon Surgical Center LLC              Arthroscopy Shoulder W/Coracoacrm…      3/14/2024   29826     $1,472.45
1108801-01    J.M.           New Horizon Surgical Center LLC               Single Nerve Block Injection Arm …     3/14/2024   64415      $979.78
1108801-01    J.M.           New Horizon Surgical Center LLC              Us Guidance Needle Placement Img …      3/14/2024   76942      $341.96
1109626-02    R.Q.               Baldwin Medical Services                  Office Consultation New/Estab Pat…     4/28/2022   99243      $249.34
1109626-02    R.Q.              Citimed Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…     6/23/2022   29821     $5,677.77
1109626-02    R.Q.              Citimed Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…     6/23/2022   29823     $2,944.87
1109626-02    R.Q.              Citimed Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm…      6/23/2022   29826     $2,944.87
1109626-02    R.Q.        All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      8/7/2022   62321      $976.38
1109626-02    R.Q.        All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…    9/25/2022   22526     $2,605.78
1109626-02    R.Q.        All City Family Healthcare Center, Inc.         Discectomy Ant Dcmprn Cord Cervic…      9/25/2022   63075     $6,402.03
1109464-01    A.R.          Rockaways ASC Development LLC                   Injection Single/Mlt Trigger Poin…    4/20/2022   20552      $236.69
1109464-01    A.R.          Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     4/20/2022   62321      $976.38
1109464-01    A.R.          Rockaways ASC Development LLC                 Us Guidance Needle Placement Img …      4/20/2022   76942      $341.96
1109464-01    A.R.             East Tremont Medical Center                  Injection Single/Mlt Trigger Poin…     6/4/2022   20553      $473.38
1109464-01    A.R.             East Tremont Medical Center                  Injection Single/Mlt Trigger Poin…     6/4/2022   20553      $473.38
1109464-01    A.R.             East Tremont Medical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/4/2022   62323      $976.75
1109464-01    A.R.             East Tremont Medical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/4/2022   62323      $976.75
1109464-01    A.R.             East Tremont Medical Center                Us Guidance Needle Placement Img …       6/4/2022   76942      $341.95
1109464-01    A.R.             East Tremont Medical Center                Us Guidance Needle Placement Img …       6/4/2022   76942      $423.32
1109464-01    A.R.             East Tremont Medical Center                 Fluor Needle/Cath Spine/Paraspina…      6/4/2022   77003      $573.53
1109464-01    A.R.             East Tremont Medical Center                 Fluor Needle/Cath Spine/Paraspina…      6/4/2022   77003      $573.53
1109464-01    A.R.             East Tremont Medical Center                  Injection Single/Mlt Trigger Poin…     7/1/2022   20553      $473.38
1109464-01    A.R.             East Tremont Medical Center                  Perq Intrdscl Electrothrm Annulop…     7/1/2022   22526     $2,605.78
1109464-01    A.R.             East Tremont Medical Center                Njx Anes&/Strd W/Img Tfrml Edrl L…       7/1/2022   64483      $976.38
1109464-01    A.R.             East Tremont Medical Center                Njx Anes&/Strd W/Img Tfrml Edrl L…       7/1/2022   64484      $447.52
1109464-01    A.R.             East Tremont Medical Center                 Fluoroscopy Up To 1 Hour Physicia…      7/1/2022   76000      $412.25
1109464-01    A.R.             East Tremont Medical Center                Us Guidance Needle Placement Img …       7/1/2022   76942      $423.32
1109464-01    A.R.             East Tremont Medical Center                 Fluor Needle/Cath Spine/Paraspina…      7/1/2022   77003      $573.53
1109464-01    A.R.             East Tremont Medical Center                 Positioning Bath Chair Shower Sta…      7/1/2022   E1399     $1,750.00
1108798-04    D.B.                      SCOB LLC                           Arthroscopy Shoulder Surg Debride…     3/25/2022   29822     $2,944.87
1108798-04    D.B.                      SCOB LLC                           Arthroscopy Shoulder Ahesiolysis …     3/25/2022   29825     $3,026.24
1108798-04    D.B.                      SCOB LLC                          Arthroscopy Shoulder W/Coracoacrm…      3/25/2022   29826     $2,944.87
1108798-04    D.B.          Rockaways ASC Development LLC                   Injection Single/Mlt Trigger Poin…    7/10/2022   20553      $236.69
1108798-04    D.B.          Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     7/10/2022   62321      $976.38
1108798-04    D.B.          Rockaways ASC Development LLC                 Us Guidance Needle Placement Img …      7/10/2022   76942      $341.96
1108798-04    D.B.          Rockaways ASC Development LLC                  Infectious Agent Detection By Nuc…     7/10/2022   87635       $51.33
1108934-03    Y.V.               Hudson Regional Hospital                  Mri Spinal Canal Cervical W/O Con…     2/11/2022   72141     $5,982.45
1108934-03    Y.V.               Hudson Regional Hospital                 Mri Spinal Canal Lumbar W/O Contr…      2/11/2022   72148     $7,976.60
1108934-03    Y.V.               Hudson Regional Hospital                 Mri Any Jt Upper Extremity W/O Co…      2/11/2022   73221     $3,988.30
1108934-03    Y.V.               Hudson Regional Hospital                 Mri Any Jt Lower Extrem W/O Contr…      2/11/2022   73721     $3,988.30
1108934-03    Y.V.               Hudson Regional Hospital                  Ct Head/Brain W/O Contrast Materi…     2/25/2022   70450     $3,067.80
1108934-03    Y.V.     Surgicore LLC d/b/a Surgicore Surgical Center        Injection Single/Mlt Trigger Poin…   10/22/2022   20553      $236.69
1108934-03    Y.V.     Surgicore LLC d/b/a Surgicore Surgical Center       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    10/22/2022   62323      $976.38
1108934-03    Y.V.     Surgicore LLC d/b/a Surgicore Surgical Center        Injection Single/Mlt Trigger Poin…    11/5/2022   20553      $236.69
1108934-03    Y.V.     Surgicore LLC d/b/a Surgicore Surgical Center       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     11/5/2022   62321      $976.38
1108934-03    Y.V.     Surgicore LLC d/b/a Surgicore Surgical Center        Perq Intrdscl Electrothrm Annulop…    1/21/2023   22526     $2,605.78
1108934-03    Y.V.     Surgicore LLC d/b/a Surgicore Surgical Center        Perq Intrdscl Electrothrm Annulop…    1/21/2023   22527     $2,605.79
1108934-03    Y.V.     Surgicore LLC d/b/a Surgicore Surgical Center       Dcmprn Perq Nucleus Pulposus 1/> …     1/21/2023   62287     $5,292.93
1108596-02    P.W.               Baldwin Medical Services                  Office Consultation New/Estab Pat…     4/11/2022   99245      $410.08

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                                                           1772
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1108596-02    P.W.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…     5/1/2022   29821     $5,677.77
1108596-02    P.W.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…     5/1/2022   29823     $1,472.45
1108596-02    P.W.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …     5/1/2022   29825     $1,472.45
1108596-02    P.W.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm…      5/1/2022   29826     $1,472.45
1108596-02    P.W.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…      5/1/2022   29999     $1,472.45
1108596-02    P.W.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …     5/1/2022   64415      $979.78
1108596-02    P.W.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      5/1/2022   76942      $341.96
1108596-02    P.W.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…   5/25/2022   20552      $236.69
1108596-02    P.W.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/25/2022   62321      $976.38
1108596-02    P.W.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     5/25/2022   76942      $341.96
1108596-02    P.W.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…   6/26/2022   20552      $236.69
1108596-02    P.W.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/26/2022   62321      $976.38
1108596-02    P.W.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     6/26/2022   76942      $341.96
1108596-02    P.W.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…   8/17/2022   20552      $236.69
1108596-02    P.W.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/17/2022   62323      $976.38
1108596-02    P.W.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     8/17/2022   76942      $341.96
1108596-02    P.W.           Rockaways ASC Development LLC               Infectious Agent Detection By Nuc…    8/17/2022   87635       $51.33
1108596-02    P.W.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   9/14/2022   22526     $2,605.78
1108596-02    P.W.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   9/14/2022   22527     $2,605.78
1108596-02    P.W.           Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> …    9/14/2022   62287     $5,292.93
1108596-02    P.W.           Rockaways ASC Development LLC               Infectious Agent Detection By Nuc…    9/14/2022   87635       $51.33
1108631-02    Z.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…      7/22/2022   29823     $3,026.24
1108631-02    Z.K.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Ahesiolysis …    7/22/2022   29825     $1,472.45
1108631-02    Z.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm…      7/22/2022   29826     $1,472.45
1108631-02    Z.K.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …    7/22/2022   64415      $979.78
1108631-02    Z.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …      7/22/2022   76942      $341.96
1108631-02    Z.K.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…     7/22/2022   E0650      $531.06
1108631-02    Z.K.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     7/22/2022   E0666       $89.56
1108631-02    Z.K.                     Good Medica Inc                   Sewho, Abduction Positioning, Air…    7/22/2022   L3960      $372.50
1109217-02    T.O.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…   4/19/2022   20553      $236.69
1109217-02    T.O.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/19/2022   62321      $976.38
1109217-02    T.O.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…   5/17/2022   20553      $236.70
1109217-02    T.O.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…   5/17/2022   22526     $5,292.93
1109217-02    T.O.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…   5/17/2022   22527     $2,605.78
1109217-02    T.O.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…      5/17/2022   64999      $747.93
1109217-02    T.O.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…   5/18/2022   20610      $473.39
1109217-02    T.O.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…    5/18/2022   29823     $3,026.24
1109217-02    T.O.                       SCOB LLC                       Arthroscopy Shoulder W/Coracoacrm…     5/18/2022   29826     $2,944.87
1109484-03    R.S.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/18/2022   62323      $976.38
1109484-03    R.S.                       SCOB LLC                       Arthroscopy Knee Synovectomy 2/>C…     3/21/2022   29876     $3,026.24
1109484-03    R.S.                       SCOB LLC                      Arthrs Kne Surg W/Meniscectomy Me…      3/21/2022   29881     $2,944.87
1109484-03    R.S.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   4/18/2022   22526     $2,605.78
1109484-03    R.S.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   4/18/2022   22527     $2,605.78
1109484-03    R.S.           Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> …    4/18/2022   62287     $5,292.93
1109484-03    R.S.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…    5/13/2022   29823     $3,026.24
1109484-03    R.S.                       SCOB LLC                        Arthroscopy Shoulder Ahesiolysis …    5/13/2022   29825     $2,944.87
1108734-01    B.I.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…   3/21/2022   20553      $277.37
1108734-01    B.I.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/21/2022   62321      $976.38
1108734-01    B.I.            Island Ambulatory Surgery Center          Extrcorpl Shock Wave Muscskele No…     4/19/2022   0101T      $893.24
1108734-01    B.I.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/19/2022   62323      $976.38
1108734-01    B.I.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi…      5/6/2022   29875     $1,472.45
1108734-01    B.I.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La…       5/6/2022   29880     $3,026.24
1108734-01    B.I.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…      5/6/2022   29999     $1,472.45
1108540-05    T.H.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…   3/29/2022   20610      $473.39
1108540-05    T.H.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…    3/29/2022   29821     $5,677.77
1108540-05    T.H.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    3/29/2022   29823     $1,472.45
1108540-05    T.H.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …    3/29/2022   29825     $1,472.45
1108540-05    T.H.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm…     3/29/2022   29826     $1,472.45
1108540-05    T.H.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…     3/29/2022   E0650      $531.06
1108540-05    T.H.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     3/29/2022   E0666       $89.56
1107975-02    F.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi…      5/25/2022   29875     $1,472.45
1107975-02    F.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Kne Surg W/Meniscectomy Me…      5/25/2022   29881     $1,472.45
1107975-02    F.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…    5/25/2022   87635       $51.33
1107975-02    F.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy, Knee, Surgical, For …   5/25/2022   G0289     $5,677.77
1107975-02    F.C.               Citimed Surgery Center LLC               Injection Single/Mlt Trigger Poin…   8/26/2022   20553      $473.39
1107975-02    F.C.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/26/2022   62321      $976.38
1107975-02    F.C.               Citimed Surgery Center LLC               Injection Single/Mlt Trigger Poin…   9/16/2022   20553      $473.39
1107975-02    F.C.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/16/2022   62323      $976.38

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                         Date of     Billing   Amount
                                      Provider                                      Service
 Number      Person                                                                                          Service     Code       Billed
1107977-03    G.B.          Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin…   8/8/2022   20553       $279.23
1107977-03    G.B.          Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     8/8/2022   62321       $980.10
1107977-03    G.B.          Island Ambulatory Surgery Center            Infectious Agent Antigen Detectio…    8/8/2022   87426       $200.00
1107977-03    G.B.          Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…   8/20/2022   20610       $473.39
1107977-03    G.B.          Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 8/20/2022       29875      $1,472.45
1107977-03    G.B.          Fifth Avenue Surgery Center LLC            Arthrs Knee Abrasion Arthrp/Mlt D…    8/20/2022   29879      $1,472.45
1107977-03    G.B.          Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 8/20/2022        29880      $3,026.24
1107977-03    G.B.          Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…    8/20/2022   29999      $1,472.45
1107977-03    G.B.                  Triborough ASC                     Arthroscopy Shoulder Surg Debride…    4/28/2023   29823      $3,029.95
1107977-03    G.B.                  Triborough ASC                      Arthroscopy Shoulder Ahesiolysis …   4/28/2023   29825      $1,514.97
1107977-03    G.B.                  Triborough ASC                    Arthroscopy Shoulder W/Coracoacrm… 4/28/2023       29826      $1,514.97
1107977-03    G.B.          Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/20/2023   62321       $980.10
1107977-03    G.B.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…   1/17/2024   64490       $980.10
1107977-03    G.B.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…   1/17/2024   64491       $490.05
1107977-03    G.B.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…   1/17/2024   64492       $490.05
1107977-03    G.B.          Island Ambulatory Surgery Center           Plmt Post Facet Implant Uni/Bi W/…    2/21/2024   0219T      $3,202.87
1107977-03    G.B.          Island Ambulatory Surgery Center             Place Posterior Intrafacet Implan…  2/21/2024   0222T      $2,648.32
1107977-03    G.B.          Island Ambulatory Surgery Center            Injection Therapeutic Carpal Tunn…   2/21/2024   20526      $2,648.32
1107977-03    G.B.          Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …    2/21/2024   62287      $5,296.65
1107977-03    G.B.          Island Ambulatory Surgery Center           Transection/Avulsion Oth Spinal N…    2/21/2024   64772      $2,228.18
1107977-03    G.B.          Island Ambulatory Surgery Center           Transection/Avulsion Oth Spinal N…    2/21/2024   64772      $2,228.18
1108254-02    C.S.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…     4/9/2022   29821      $5,677.77
1108254-02    C.S.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…     4/9/2022   29823      $1,472.45
1108254-02    C.S.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …    4/9/2022   29825      $1,472.45
1108254-02    C.S.          Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…     4/9/2022   29999      $1,472.45
1108254-02    C.S.          Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …    4/9/2022   64415       $979.78
1108254-02    C.S.          Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      4/9/2022   76942       $341.96
1108254-02    C.S.                  Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…      4/9/2022   E0650       $531.06
1108254-02    C.S.                  Good Medica Inc                   Nonsegmental Pneumatic Appliance …      4/9/2022   E0666        $89.56
1108254-02    C.S.                     SCOB LLC                          Injection Single/Mlt Trigger Poin…  6/22/2022   20553       $473.39
1108254-02    C.S.                     SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/22/2022   62321       $976.38
1108254-02    C.S.             Citimed Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/6/2022   64490      $1,423.89
1108254-02    C.S.             Citimed Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/6/2022   64491      $1,342.52
1108254-02    C.S.             Citimed Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/6/2022   64492      $1,342.52
1108920-01    S.V.                     SCOB LLC                          Injection Single/Mlt Trigger Poin…  3/16/2022   20553       $473.39
1108920-01    S.V.                     SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…   3/16/2022   20610       $473.39
1108920-01    S.V.                     SCOB LLC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…   3/16/2022   64490      $1,423.89
1108920-01    S.V.                     SCOB LLC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…   3/16/2022   64491      $1,342.52
1108920-01    S.V.         Rockaways ASC Development LLC               Arthroscopy Shoulder Surg Synovec…    3/23/2022   29821      $5,677.77
1108920-01    S.V.         Rockaways ASC Development LLC               Arthroscopy Shoulder Surg Debride…    3/23/2022   29823      $1,472.45
1108920-01    S.V.         Rockaways ASC Development LLC              Arthroscopy Shoulder W/Coracoacrm… 3/23/2022       29826      $1,472.45
1108920-01    S.V.         Rockaways ASC Development LLC                Single Nerve Block Injection Arm …   3/23/2022   64415       $979.78
1108920-01    S.V.         Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     3/23/2022   76942       $341.96
1108920-01    S.V.                     SCOB LLC                         Perq Intrdscl Electrothrm Annulop…    4/6/2022   22526      $5,211.56
1108920-01    S.V.                     SCOB LLC                        Dcmprn Perq Nucleus Pulposus 1/> …     4/6/2022   62287      $5,292.93
1108920-01    S.V.                     SCOB LLC                        Probe, Percutaneous Lumbar Discec…     4/6/2022   C2614      $2,200.00
1108920-01    S.V.                     SCOB LLC                          Injection Single/Mlt Trigger Poin…  4/27/2022   20553       $473.39
1108920-01    S.V.                     SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/27/2022   62321       $976.38
1108920-01    S.V.                     SCOB LLC                          Injection Single/Mlt Trigger Poin…  5/11/2022   20553       $473.39
1108920-01    S.V.                     SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/11/2022   62321       $976.38
1108920-01    S.V.                     SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/18/2022   62323       $976.38
1108920-01    S.V.             Citimed Surgery Center LLC                Injection Single/Mlt Trigger Poin…  6/29/2022   20553       $473.39
1108920-01    S.V.             Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/29/2022   62321       $976.38
1108920-01    S.V.                     SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/10/2022   62323       $976.38
1108920-01    S.V.               Stemmee Surgery Center                 Perq Intrdscl Electrothrm Annulop…   1/24/2023   22526     $12,650.00
1108920-01    S.V.               Stemmee Surgery Center                 Perq Intrdscl Electrothrm Annulop…   1/24/2023   22527     $12,650.00
1108920-01    S.V.               Stemmee Surgery Center                Dcmprn Perq Nucleus Pulposus 1/> …    1/24/2023   62287     $14,300.00
1108920-01    S.V.             Citimed Surgery Center LLC                Injection Single/Mlt Trigger Poin…   2/1/2023   20553       $473.39
1108920-01    S.V.             Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/1/2023   62321       $976.38
1108920-01    S.V.                     SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     6/7/2023   62321       $895.01
1108920-02    E.V.         Rockaways ASC Development LLC               Arthroscopy Shoulder Surg Synovec…    4/18/2022   29821      $5,677.77
1108920-02    E.V.         Rockaways ASC Development LLC               Arthroscopy Shoulder Surg Debride…    4/18/2022   29823      $1,472.45
1108920-02    E.V.         Rockaways ASC Development LLC              Arthroscopy Shoulder W/Coracoacrm… 4/18/2022       29826      $1,472.45
1108920-02    E.V.         Rockaways ASC Development LLC               Arthroscopy Shoulder Biceps Tenod…    4/18/2022   29828      $2,798.20
1108920-02    E.V.         Rockaways ASC Development LLC                Single Nerve Block Injection Arm …   4/18/2022   64415       $979.78
1108920-02    E.V.         Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     4/18/2022   76942       $341.96
1108920-02    E.V.                     SCOB LLC                          Injection Single/Mlt Trigger Poin…   6/8/2022   20553       $473.39
1108920-02    E.V.                     SCOB LLC                         Inject Si Joint Arthrgrphy&/Anes/…    6/8/2022   27096      $1,288.57

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                                                          1774
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1108920-02    E.V.                      SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     6/8/2022   62321      $976.38
1108920-02    E.V.                      SCOB LLC                              Injection Single/Mlt Trigger Poin…   7/6/2022   20553      $473.39
1108920-02    E.V.                      SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     7/6/2022   62321      $976.38
1108920-02    E.V.                      SCOB LLC                              Injection Single/Mlt Trigger Poin…   8/3/2022   20553      $473.39
1108920-02    E.V.                      SCOB LLC                             Inject Si Joint Arthrgrphy&/Anes/…    8/3/2022   27096     $1,288.57
1108920-02    E.V.                      SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     8/3/2022   62321      $976.38
1107905-01    A.G.                      SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/15/2022   62323      $976.38
1107905-01    A.G.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    3/25/2022   29821     $5,596.40
1107905-01    A.G.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    3/25/2022   29823     $1,472.45
1107905-01    A.G.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …   3/25/2022   29825     $1,472.45
1107905-01    A.G.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 3/25/2022       29826     $1,553.82
1107905-01    A.G.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Rotator Cuff…    3/25/2022   29827     $6,723.47
1107905-01    A.G.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …   3/25/2022   64415      $979.78
1107905-01    A.G.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …    3/25/2022   76942      $341.96
1107905-01    A.G.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin… 12/21/2022   20553      $279.23
1107905-01    A.G.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/21/2022   62321      $980.10
1108190-01    A.K.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…    3/28/2022   29821     $5,677.77
1108190-01    A.K.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    3/28/2022   29823     $1,472.45
1108190-01    A.K.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …   3/28/2022   29825     $1,472.45
1108190-01    A.K.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 3/28/2022       29826     $1,472.45
1108190-01    A.K.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …   3/28/2022   64415      $979.78
1108190-01    A.K.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …    3/28/2022   76942      $341.96
1108190-01    A.K.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 3/28/2022       E0650      $531.06
1108190-01    A.K.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     3/28/2022   E0666       $89.56
1108611-01    M.H.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…  7/27/2022   20552      $236.69
1108611-01    M.H.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/27/2022   62321      $976.38
1108611-01    M.H.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …    7/27/2022   76942      $341.96
1108611-01    M.H.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…    7/27/2022   87635       $51.33
1108611-01    M.H.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…  8/14/2022   20552      $236.69
1108611-01    M.H.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/14/2022   62323      $976.38
1108611-01    M.H.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …    8/14/2022   76942      $341.96
1108611-01    M.H.             Citimed Surgery Center LLC                   Arthroscopy Shoulder Surg Synovec…     2/9/2023   29821     $5,677.77
1108611-01    M.H.             Citimed Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…     2/9/2023   29823     $2,944.87
1108712-02    J.L.             Atlantis Surgery Center LLC                    Injection Single/Mlt Trigger Poin…   3/2/2022   20553      $473.39
1108712-02    J.L.             Atlantis Surgery Center LLC                   Inject Si Joint Arthrgrphy&/Anes/…    3/2/2022   27096     $1,288.58
1108712-02    J.L.             Atlantis Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/2/2022   64493     $1,423.89
1108712-02    J.L.             Atlantis Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/2/2022   64494     $1,342.52
1108712-02    J.L.             Atlantis Surgery Center LLC                    Injection Single/Mlt Trigger Poin…   3/9/2022   20553      $473.39
1108712-02    J.L.             Atlantis Surgery Center LLC                   Inject Si Joint Arthrgrphy&/Anes/…    3/9/2022   27096     $1,288.58
1108712-02    J.L.             Atlantis Surgery Center LLC                 Njx Anes&/Strd W/Img Tfrml Edrl L…      3/9/2022   64483     $1,428.99
1108712-02    J.L.             Atlantis Surgery Center LLC                 Njx Anes&/Strd W/Img Tfrml Edrl L…      3/9/2022   64484     $1,347.62
1108712-02    J.L.             Atlantis Surgery Center LLC                 Njx Anes&/Strd W/Img Tfrml Edrl L…      3/9/2022   64484     $1,347.62
1108712-02    J.L.             Atlantis Surgery Center LLC                    Injection Single/Mlt Trigger Poin…  4/27/2022   20553      $473.39
1108712-02    J.L.             Atlantis Surgery Center LLC                   Inject Si Joint Arthrgrphy&/Anes/…   4/27/2022   27096     $1,288.58
1108712-02    J.L.             Atlantis Surgery Center LLC                 Njx Anes&/Strd W/Img Tfrml Edrl L… 4/27/2022       64483     $1,428.99
1108712-02    J.L.             Atlantis Surgery Center LLC                 Njx Anes&/Strd W/Img Tfrml Edrl L… 4/27/2022       64484     $1,347.62
1108712-02    J.L.             Atlantis Surgery Center LLC                    Injection Single/Mlt Trigger Poin…   6/1/2022   20553      $473.39
1108712-02    J.L.             Atlantis Surgery Center LLC                   Inject Si Joint Arthrgrphy&/Anes/…    6/1/2022   27096     $1,288.58
1108712-02    J.L.             Atlantis Surgery Center LLC                 Njx Anes&/Strd W/Img Tfrml Edrl L…      6/1/2022   64483     $1,428.99
1108712-02    J.L.             Atlantis Surgery Center LLC                 Njx Anes&/Strd W/Img Tfrml Edrl L…      6/1/2022   64484     $1,347.62
1108712-02    J.L.             Atlantis Surgery Center LLC                 Njx Anes&/Strd W/Img Tfrml Edrl L…      6/1/2022   64484     $1,347.62
1108712-02    J.L.              Hudson Regional Hospital                       Comprehensive Metabolic Panel…      6/7/2022   80053      $150.00
1108712-02    J.L.              Hudson Regional Hospital                   Drug Tst Prsmv Instrmnt Chem Anal…      6/7/2022   80307      $359.15
1108712-02    J.L.              Hudson Regional Hospital                    Urnls Dip Stick/Tablet Reagent Au…     6/7/2022   81001      $134.00
1108712-02    J.L.              Hudson Regional Hospital                       Hemoglobin Glycosylated A1C…        6/7/2022   83036       $66.70
1108712-02    J.L.              Hudson Regional Hospital                    Gonadotropin Chorionic Qualitativ…     6/7/2022   84703       $51.65
1108712-02    J.L.              Hudson Regional Hospital                   Blood Count Complete Auto&Auto Di… 6/7/2022        85025      $147.00
1108712-02    J.L.              Hudson Regional Hospital                              Prothrombin Time…            6/7/2022   85610      $143.00
1108712-02    J.L.              Hudson Regional Hospital                    Thromboplastin Time Partial Plasm…     6/7/2022   85730      $147.00
1108712-02    J.L.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…     6/7/2022   87635     $1,200.00
1108712-02    J.L.              Hudson Regional Hospital                     Iadna S Aureus Methicillin Resist…    6/7/2022   87641      $241.40
1108712-02    J.L.              Hudson Regional Hospital                    Ecg Routine Ecg W/Least 12 Lds Tr…     6/7/2022   93005      $323.70
1108712-02    J.L.                      SCOB LLC                            Njx Pltlt Plasma W/Img Harvest/Pr…    6/16/2022   0232T      $875.92
1108712-02    J.L.                      SCOB LLC                            Arthroscopy Shoulder Surg Synovec…    6/16/2022   29821     $5,677.77
1108712-02    J.L.                      SCOB LLC                           Arthroscopy Shoulder W/Coracoacrm… 6/16/2022       29826     $2,944.87
1108712-02    J.L.             Atlantis Surgery Center LLC                   Perq Intrdscl Electrothrm Annulop…   8/17/2022   22526     $5,211.56
1108712-02    J.L.             Atlantis Surgery Center LLC                  Dcmprn Perq Nucleus Pulposus 1/> …    8/17/2022   62287     $5,292.93
1108712-02    J.L.             Atlantis Surgery Center LLC                  Probe, Percutaneous Lumbar Discec…    8/17/2022   C2614     $2,200.00

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                                                        1775
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                      Provider                                      Service
 Number      Person                                                                                           Service     Code       Billed
1108712-02    J.L.             Atlantis Surgery Center LLC               Injection Single/Mlt Trigger Poin…    9/7/2022   20553      $473.39
1108712-02    J.L.             Atlantis Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L…      9/7/2022   64483     $1,428.99
1108712-02    J.L.             Atlantis Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L…      9/7/2022   64484     $1,347.62
1108712-02    J.L.             Atlantis Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L…      9/7/2022   64484     $1,347.62
1108712-02    J.L.          Fifth Avenue Surgery Center LLC            Arthroscopy Knee Synovectomy Limi…     12/8/2022   29875     $1,472.45
1108712-02    J.L.          Fifth Avenue Surgery Center LLC           Arthrs Knee W/Meniscectomy Med&La…      12/8/2022   29880     $3,026.24
1108712-02    J.L.          Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…     12/8/2022   29999     $1,472.45
1108712-02    J.L.          Fifth Avenue Surgery Center LLC             Injection Anesthetic Agent Femora…    12/8/2022   64447      $829.30
1108712-02    J.L.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …     12/8/2022   76942      $341.96
1107725-02    O.S.          Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…    3/8/2022   20610      $473.39
1107725-02    O.S.          Fifth Avenue Surgery Center LLC            Arthroscopy Knee Synovectomy Limi…      3/8/2022   29875     $1,472.45
1107725-02    O.S.          Fifth Avenue Surgery Center LLC           Arthrs Kne Surg W/Meniscectomy Me…       3/8/2022   29881     $3,026.24
1107725-02    O.S.          Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…      3/8/2022   29999     $1,472.45
1107725-02    O.S.          Fifth Avenue Surgery Center LLC             Injection Anesthetic Agent Femora…     3/8/2022   64447      $829.30
1107725-02    O.S.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …      3/8/2022   76942      $341.96
1107725-02    O.S.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta…      3/8/2022   E0650      $531.06
1107725-02    O.S.                  Good Medica Inc                    Nonsegmental Pneumatic Appliance …      3/8/2022   E0666       $89.56
1108067-01    G.C.              Hudson Regional Hospital                Mri Spinal Canal Cervical W/O Con…     2/5/2022   72141     $5,982.45
1108067-01    G.C.              Hudson Regional Hospital               Mri Spinal Canal Thoracic W/O Con…      2/5/2022   72146     $5,978.76
1108067-01    G.C.              Hudson Regional Hospital               Mri Spinal Canal Lumbar W/O Contr…      2/5/2022   72148     $7,976.60
1108067-01    G.C.              Hudson Regional Hospital               Mri Any Jt Upper Extremity W/O Co…      2/5/2022   73221     $3,988.30
1108067-01    G.C.              Hudson Regional Hospital               Mri Any Jt Lower Extrem W/O Contr…      2/5/2022   73721     $3,988.30
1108067-01    G.C.       Rockland & Bergen Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…    5/25/2022   29821     $5,540.96
1108067-01    G.C.       Rockland & Bergen Surgery Center LLC           Arthroscopy Shoulder Surg Debride…    5/25/2022   29823     $1,472.45
1108067-01    G.C.       Rockland & Bergen Surgery Center LLC           Arthroscopy Shoulder Surg Debride…    5/25/2022   29823     $1,472.45
1108067-01    G.C.       Rockland & Bergen Surgery Center LLC           Arthroscopy Shoulder Surg Debride…    5/25/2022   29823     $1,472.45
1108067-01    G.C.       Rockland & Bergen Surgery Center LLC           Arthroscopy Shoulder Rotator Cuff…    5/25/2022   29827     $6,723.47
1108067-01    G.C.       Rockland & Bergen Surgery Center LLC           Single Nerve Block Injection Arm …    5/25/2022   64415      $979.78
1108067-01    G.C.       Rockland & Bergen Surgery Center LLC          Us Guidance Needle Placement Img …     5/25/2022   76942      $341.96
1108067-01    G.C.       Rockland & Bergen Surgery Center LLC          Anchor/Screw For Opposing Bone-To…     5/25/2022   C1713      $495.00
1107524-02    S.A.          Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…   3/17/2022   20610      $473.39
1107524-02    S.A.          Fifth Avenue Surgery Center LLC             Tenotomy Shoulder Multiple Thru S…    3/17/2022   23406     $1,839.77
1107524-02    S.A.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…    3/17/2022   29821     $5,677.77
1107524-02    S.A.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…    3/17/2022   29823     $1,472.45
1107524-02    S.A.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …    3/17/2022   29825     $1,472.45
1107524-02    S.A.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder W/Coracoacrm…     3/17/2022   29826     $1,472.45
1107524-02    S.A.          Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …    3/17/2022   64415      $979.78
1107524-02    S.A.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …     3/17/2022   76942      $341.96
1107524-02    S.A.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta…     3/17/2022   E0650      $531.06
1107524-02    S.A.                  Good Medica Inc                    Nonsegmental Pneumatic Appliance …     3/17/2022   E0665       $89.56
1107524-02    S.A.         Rockaways ASC Development LLC                 Injection Single/Mlt Trigger Poin…   5/12/2022   20552      $236.69
1107524-02    S.A.         Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/12/2022   62321      $976.38
1107524-02    S.A.         Rockaways ASC Development LLC               Us Guidance Needle Placement Img …     5/12/2022   76942      $341.96
1107524-02    S.A.         Rockaways ASC Development LLC                 Injection Single/Mlt Trigger Poin…    6/2/2022   20552      $236.69
1107524-02    S.A.         Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     6/2/2022   62321      $976.38
1107524-02    S.A.         Rockaways ASC Development LLC               Us Guidance Needle Placement Img …      6/2/2022   76942      $341.96
1107064-02    J.A.          Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…   3/22/2022   20610      $473.39
1107064-02    J.A.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…    3/22/2022   29821     $5,677.77
1107064-02    J.A.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…    3/22/2022   29823     $1,472.45
1107064-02    J.A.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …    3/22/2022   29825     $1,472.45
1107064-02    J.A.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder W/Coracoacrm…     3/22/2022   29826     $1,472.45
1107064-02    J.A.          Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …    3/22/2022   64415      $979.78
1107064-02    J.A.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …     3/22/2022   76942      $341.96
1107064-02    J.A.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta…     3/22/2022   E0650      $531.06
1107064-02    J.A.                  Good Medica Inc                    Nonsegmental Pneumatic Appliance …     3/22/2022   E0666       $89.56
1107499-01    L.T.         Rockaways ASC Development LLC                 Injection Single/Mlt Trigger Poin…    2/3/2022   20552      $236.69
1107499-01    L.T.         Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/3/2022   62323      $976.38
1107499-01    L.T.         Rockaways ASC Development LLC               Us Guidance Needle Placement Img …      2/3/2022   76942      $341.96
1107499-01    L.T.         Rockaways ASC Development LLC                Infectious Agent Detection By Nuc…     2/3/2022   87635       $51.33
1107499-01    L.T.         Rockaways ASC Development LLC                 Perq Intrdscl Electrothrm Annulop…   2/15/2022   22526     $2,605.78
1107499-01    L.T.         Rockaways ASC Development LLC                 Perq Intrdscl Electrothrm Annulop…   2/15/2022   22527     $2,605.78
1107499-01    L.T.         Rockaways ASC Development LLC                Dcmprn Perq Nucleus Pulposus 1/> …    2/15/2022   62287     $5,292.93
1107499-01    L.T.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…     4/9/2022   29821     $5,677.77
1107499-01    L.T.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…     4/9/2022   29823     $1,472.45
1107499-01    L.T.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …     4/9/2022   29825     $1,472.45
1107499-01    L.T.          Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…      4/9/2022   29999     $1,472.45
1107499-01    L.T.          Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …     4/9/2022   64415      $979.78
1107499-01    L.T.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …      4/9/2022   76942      $341.96

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                                                           1776
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1107499-01    L.T.                    Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…      4/9/2022   E0650      $531.06
1107499-01    L.T.                    Good Medica Inc                    Nonsegmental Pneumatic Appliance …     4/9/2022   E0666       $89.56
1107783-03    A.C.                Hudson Regional Hospital               Drug Tst Prsmv Instrmnt Chem Anal…    3/16/2022   80307      $359.15
1107783-03    A.C.                Hudson Regional Hospital               Drug Screen Quant Amphetamines 1 … 3/16/2022      80324      $269.37
1107783-03    A.C.                Hudson Regional Hospital                 Antidepressants Serotonergic Clas…  3/16/2022   80332      $269.37
1107783-03    A.C.                Hudson Regional Hospital                 Antidepressants Tricyclic Other C…  3/16/2022   80335      $270.31
1107783-03    A.C.                Hudson Regional Hospital                    Drug Screening Barbiturates…     3/16/2022   80345      $269.37
1107783-03    A.C.                Hudson Regional Hospital               Drug Screening Benzodiazepines 1-…    3/16/2022   80346      $269.37
1107783-03    A.C.                Hudson Regional Hospital                   Drug Screening Buprenorphine…     3/16/2022   80348      $269.37
1107783-03    A.C.                Hudson Regional Hospital                      Drug Screening Cocaine…        3/16/2022   80353      $150.00
1107783-03    A.C.                Hudson Regional Hospital                      Drug Screening Fentanyl…       3/16/2022   80354      $269.37
1107783-03    A.C.                Hudson Regional Hospital               Drug Screening Gabapentin Non-Blo…    3/16/2022   80355      $269.37
1107783-03    A.C.                Hudson Regional Hospital                Drug Screening Heroin Metabolite…    3/16/2022   80356      $269.37
1107783-03    A.C.                Hudson Regional Hospital                     Drug Screening Methadone…       3/16/2022   80358      $269.37
1107783-03    A.C.                Hudson Regional Hospital              Drug Screening Methylenedioxyamph… 3/16/2022       80359      $269.37
1107783-03    A.C.                Hudson Regional Hospital                  Drug Screening Methylphenidate…    3/16/2022   80360      $269.37
1107783-03    A.C.                Hudson Regional Hospital                Drug Screening Opiates 1 Or More…    3/16/2022   80361      $538.74
1107783-03    A.C.                Hudson Regional Hospital               Drug Screening Opioids And Opiate…    3/16/2022   80362      $537.74
1107783-03    A.C.                Hudson Regional Hospital                    Drug Screening Oxycodone…        3/16/2022   80365      $269.37
1107783-03    A.C.                Hudson Regional Hospital                     Drug Screening Pregabalin…      3/16/2022   80366      $269.37
1107783-03    A.C.                Hudson Regional Hospital               Drug Screening Sedative Hypnotics…    3/16/2022   80368      $269.37
1107783-03    A.C.                Hudson Regional Hospital               Drug Screening Skeletal Muscle Re…    3/16/2022   80369      $269.37
1107783-03    A.C.                Hudson Regional Hospital                     Drug Screening Tapentadol…      3/16/2022   80372      $269.37
1107783-03    A.C.                Hudson Regional Hospital                     Drug Screening Tramadol…        3/16/2022   80373      $269.37
1107783-03    A.C.                Hudson Regional Hospital                Urnls Dip Stick/Tablet Reagent Au…   3/16/2022   81001      $134.00
1107783-03    A.C.                Hudson Regional Hospital                  Hemoglobin Glycosylated A1C…       3/16/2022   83036       $66.70
1107783-03    A.C.                Hudson Regional Hospital              Blood Count Complete Auto&Auto Di… 3/16/2022       85025      $147.00
1107783-03    A.C.                Hudson Regional Hospital                         Prothrombin Time…           3/16/2022   85610      $143.00
1107783-03    A.C.                Hudson Regional Hospital               Thromboplastin Time Partial Plasm…    3/16/2022   85730      $147.00
1107783-03    A.C.                Hudson Regional Hospital               Antibody Screen Rbc Each Serum Te…    3/16/2022   86850      $105.80
1107783-03    A.C.                Hudson Regional Hospital                    Blood Typing Serologic Abo…      3/16/2022   86900      $498.84
1107783-03    A.C.                Hudson Regional Hospital                  Blood Typing Serologic Rh (D)…     3/16/2022   86901       $56.95
1107783-03    A.C.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…   3/16/2022   87635     $1,200.00
1107783-03    A.C.                Hudson Regional Hospital                 Iadna S Aureus Methicillin Resist…  3/16/2022   87641      $241.40
1107783-03    A.C.                Hudson Regional Hospital               Ecg Routine Ecg W/Least 12 Lds Tr…    3/16/2022   93005      $323.70
1107783-03    A.C.                Hudson Regional Hospital             Echo Tthrc R-T 2D W/Wom-Mode Comp… 3/17/2022        93306     $5,074.90
1107783-03    A.C.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/16/2022   62323      $976.38
1107783-03    A.C.           Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/19/2022   62321      $976.38
1107437-02    K.D.               Atlantis Surgery Center LLC               Injection Single/Mlt Trigger Poin…   6/8/2022   20553      $473.39
1107437-02    K.D.               Atlantis Surgery Center LLC               Inject Si Joint Arthrgrphy&/Anes/…   6/8/2022   27096      $859.05
1107437-02    K.D.               Atlantis Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/8/2022   64493     $1,423.89
1107437-02    K.D.               Atlantis Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/8/2022   64494     $1,342.52
1107437-02    K.D.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec… 10/25/2022     29821     $5,677.77
1107437-02    K.D.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…   10/25/2022   29823     $1,472.45
1107437-02    K.D.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 10/25/2022      29826     $1,472.45
1107437-02    K.D.            Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …  10/25/2022   64415      $979.78
1107437-02    K.D.            Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img … 10/25/2022     76942      $341.96
1106683-01    H.L.                   Goldstep ASC LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/22/2022   64493     $1,500.00
1106683-01    H.L.                   Goldstep ASC LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/22/2022   64493     $1,500.00
1106683-01    H.L.                   Goldstep ASC LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/22/2022   64494     $1,500.00
1106683-01    H.L.                   Goldstep ASC LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/22/2022   64494     $1,500.00
1106683-01    H.L.                   Goldstep ASC LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/22/2022   64495     $1,500.00
1106683-01    H.L.                   Goldstep ASC LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/22/2022   64495     $1,500.00
1106683-01    H.L.                   Goldstep ASC LLC                     Fluor Needle/Cath Spine/Paraspina…   4/22/2022   77003     $1,000.00
1106683-01    H.L.                   Goldstep ASC LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/11/2022   62323     $1,500.00
1106683-01    H.L.                   Goldstep ASC LLC                              Epidurograpy Rs&I…          5/11/2022   72275     $1,500.00
1106683-01    H.L.                   Goldstep ASC LLC                     Fluor Needle/Cath Spine/Paraspina…   5/11/2022   77003     $1,000.00
1106683-01    H.L.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…   3/15/2023   22526     $2,605.78
1106683-01    H.L.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…   3/15/2023   22527     $2,605.79
1106683-01    H.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …      3/15/2023   62287     $5,292.93
1106683-01    H.L.               Crotona Parkway ASC LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/6/2024   64493      $980.10
1106683-01    H.L.               Crotona Parkway ASC LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/6/2024   64494      $490.05
1106683-01    H.L.               Crotona Parkway ASC LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/6/2024   64495      $490.05
1106683-01    H.L.               Citimed Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/26/2024   64493      $976.38
1106683-01    H.L.               Citimed Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/26/2024   64494      $895.01
1106683-01    H.L.               Citimed Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/26/2024   64495      $895.01
1107797-02    A.I.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…    7/11/2022   29821     $5,677.77
1107797-02    A.I.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    7/11/2022   29823     $1,472.45

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                                                          1777
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                              Service     Code       Billed
1107797-02    A.I.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Ahesiolysis …    7/11/2022   29825     $1,472.45
1107797-02    A.I.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder W/Coracoacrm…     7/11/2022   29826     $1,472.45
1107797-02    A.I.           Fifth Avenue Surgery Center LLC               Single Nerve Block Injection Arm …    7/11/2022   64415      $979.78
1107797-02    A.I.           Fifth Avenue Surgery Center LLC              Us Guidance Needle Placement Img …     7/11/2022   76942      $341.96
1107797-02    A.I.                    Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…     7/11/2022   E0650      $531.06
1107797-02    A.I.                    Good Medica Inc                     Nonsegmental Pneumatic Appliance …     7/11/2022   E0666       $89.56
1106952-90    J.L.           Fifth Avenue Surgery Center LLC               Arthroscopy Wrist Surgical Synove…    5/21/2022   29845     $3,026.24
1106952-90    J.L.           Fifth Avenue Surgery Center LLC               Arthrs Wrst Exc&/Rpr Triang Fibro…    5/21/2022   29846     $1,472.45
1106952-90    J.L.           Fifth Avenue Surgery Center LLC               Single Nerve Block Injection Arm …    5/21/2022   64415      $979.78
1106952-90    J.L.           Fifth Avenue Surgery Center LLC              Us Guidance Needle Placement Img …     5/21/2022   76942      $341.96
1106952-90    J.L.                    Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…     5/21/2022   E0650      $531.06
1106952-90    J.L.                    Good Medica Inc                     Nonsegmental Pneumatic Appliance …     5/21/2022   E0666       $89.56
1107381-01    K.M.          Rockaways ASC Development LLC                 Arthroscopy Knee Synovectomy Limi…     3/28/2022   29875     $1,472.45
1107381-01    K.M.          Rockaways ASC Development LLC                  Arthrs Knee Abrasion Arthrp/Mlt D…    3/28/2022   29879     $1,472.45
1107381-01    K.M.          Rockaways ASC Development LLC                Arthrs Knee W/Meniscectomy Med&La…      3/28/2022   29880     $3,026.24
1107381-01    K.M.        Health East Ambulatory Surgical Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/14/2022   62321     $1,012.32
1107381-01    K.M.        Health East Ambulatory Surgical Center          Njx Anes&/Strd W/Img Tfrml Edrl L…     5/12/2022   64483     $1,012.32
1107381-01    K.M.        Health East Ambulatory Surgical Center          Njx Anes&/Strd W/Img Tfrml Edrl L…     5/12/2022   64484      $517.89
1106807-01    E.A.           Island Ambulatory Surgery Center               Injection Single/Mlt Trigger Poin…   2/24/2022   20553      $277.37
1106807-01    E.A.           Island Ambulatory Surgery Center              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/24/2022   62323      $976.38
1106807-01    E.A.          Rockaways ASC Development LLC                   Arthrocentesis Aspir&/Inj Major J…    6/1/2022   20610      $473.39
1106807-01    E.A.          Rockaways ASC Development LLC                 Arthroscopy Knee Synovectomy Limi…      6/1/2022   29875     $1,472.45
1106807-01    E.A.          Rockaways ASC Development LLC                Arthrs Knee W/Meniscectomy Med&La…       6/1/2022   29880     $3,026.24
1106807-01    E.A.          Rockaways ASC Development LLC                   Arthrocentesis Aspir&/Inj Major J…   6/27/2022   20610      $554.76
1106807-01    E.A.          Rockaways ASC Development LLC                  Arthroscopy Shoulder Surgical Rem…    6/27/2022   29819     $1,472.45
1106807-01    E.A.          Rockaways ASC Development LLC                  Arthroscopy Shoulder Surg Synovec…    6/27/2022   29821     $5,596.40
1106807-01    E.A.          Rockaways ASC Development LLC                  Arthroscopy Shoulder Surg Debride…    6/27/2022   29823     $1,472.45
1106807-01    E.A.          Rockaways ASC Development LLC                  Arthroscopy Shoulder Ahesiolysis …    6/27/2022   29825     $1,472.45
1106807-01    E.A.          Rockaways ASC Development LLC                 Arthroscopy Shoulder W/Coracoacrm…     6/27/2022   29826     $1,472.45
1106807-01    E.A.          Rockaways ASC Development LLC                  Arthroscopy Shoulder Rotator Cuff…    6/27/2022   29827     $6,723.47
1106807-01    E.A.          Rockaways ASC Development LLC                  Single Nerve Block Injection Arm …    6/27/2022   64415      $979.78
1106807-01    E.A.          Rockaways ASC Development LLC                 Us Guidance Needle Placement Img …     6/27/2022   76942      $341.96
1107338-02    V.C.                      SCOB LLC                           Njx Pltlt Plasma W/Img Harvest/Pr…     2/9/2022   0232T      $875.92
1107338-02    V.C.                      SCOB LLC                          Arthroscopy Knee Synovectomy 2/>C…      2/9/2022   29876     $3,026.24
1107338-02    V.C.                      SCOB LLC                         Arthrs Knee W/Meniscectomy Med&La…       2/9/2022   29880     $2,944.87
1107338-02    V.C.          Rockaways ASC Development LLC                   Injection Single/Mlt Trigger Poin…    3/7/2022   20552      $236.69
1107338-02    V.C.          Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/7/2022   62323      $976.38
1107338-02    V.C.          Rockaways ASC Development LLC                 Us Guidance Needle Placement Img …      3/7/2022   76942      $341.96
1107338-02    V.C.          Rockaways ASC Development LLC                   Perq Intrdscl Electrothrm Annulop…   3/15/2022   22526     $2,605.78
1107338-02    V.C.          Rockaways ASC Development LLC                  Dcmprn Perq Nucleus Pulposus 1/> …    3/15/2022   62287     $5,292.93
1106854-01    D.M.     Surgicore LLC d/b/a Surgicore Surgical Center        Grafting Of Autologous Soft Tissu…   2/18/2022   15769     $1,276.24
1106854-01    D.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Repair Secondary Disrupted Ligame…    2/18/2022   27698     $1,472.45
1106854-01    D.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Repair Secondary Disrupted Ligame…    2/18/2022   27698     $3,311.97
1106854-01    D.M.                 Hudson Surgery Center                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/18/2022   62323      $980.10
1106854-01    D.M.                 Hudson Surgery Center                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/8/2022   64493     $1,952.76
1106854-01    D.M.                 Hudson Surgery Center                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/8/2022   64494      $976.38
1106854-01    D.M.                 Hudson Surgery Center                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/8/2022   64495      $976.38
1106854-01    D.M.           New Horizon Surgical Center LLC               Arthroscopy Shoulder Surg Synovec…     6/2/2022   29821     $5,677.77
1106854-01    D.M.           New Horizon Surgical Center LLC               Arthroscopy Shoulder Surg Debride…     6/2/2022   29823     $1,472.45
1106854-01    D.M.           New Horizon Surgical Center LLC                Arthroscopy Shoulder Distal Clavi…    6/2/2022   29824     $1,472.45
1106854-01    D.M.           New Horizon Surgical Center LLC               Arthroscopy Shoulder Ahesiolysis …     6/2/2022   29825     $1,472.45
1106854-01    D.M.           New Horizon Surgical Center LLC              Arthroscopy Shoulder W/Coracoacrm…      6/2/2022   29826     $1,472.45
1106854-01    D.M.           New Horizon Surgical Center LLC                 Unlisted Procedure Arthroscopy…      6/2/2022   29999     $1,472.45
1106854-01    D.M.           New Horizon Surgical Center LLC               Single Nerve Block Injection Arm …     6/2/2022   64415      $979.78
1106854-01    D.M.           New Horizon Surgical Center LLC              Us Guidance Needle Placement Img …      6/2/2022   76942      $341.96
1106854-01    D.M.           New Horizon Surgical Center LLC                Prosthetic Implant, Not Otherwise…    6/2/2022   L8699      $205.00
1106361-03    T.F.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Synovec…    8/24/2022   29821     $5,677.77
1106361-03    T.F.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Debride…    8/24/2022   29823     $1,472.45
1106361-03    T.F.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Ahesiolysis …    8/24/2022   29825     $1,472.45
1106361-03    T.F.              Surgicore of Jersey City LLC                 Unlisted Procedure Arthroscopy…     8/24/2022   29999     $1,472.45
1106361-03    T.F.              Surgicore of Jersey City LLC                 Unlisted Procedure Arthroscopy…     8/24/2022   29999     $1,472.45
1106361-03    T.F.              Surgicore of Jersey City LLC               Single Nerve Block Injection Arm …    8/24/2022   64415      $979.78
1106361-03    T.F.              Surgicore of Jersey City LLC              Us Guidance Needle Placement Img …     8/24/2022   76942      $341.96
1106361-03    T.F.              Surgicore of Jersey City LLC               Infectious Agent Detection By Nuc…    8/24/2022   87635       $51.33
1106361-03    T.F.              Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…     8/24/2022   A4649      $185.00
1106361-03    T.F.              Surgicore of Jersey City LLC              Arthroscopy Knee Synovectomy 2/>C…     9/28/2022   29876     $1,472.45
1106361-03    T.F.              Surgicore of Jersey City LLC             Arthrs Kne Surg W/Meniscectomy Me…      9/28/2022   29881     $3,026.24
1106361-03    T.F.              Surgicore of Jersey City LLC                 Unlisted Procedure Arthroscopy…     9/28/2022   29999     $1,472.45

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                                                        1778
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                         Date of     Billing   Amount
                                      Provider                                     Service
 Number      Person                                                                                          Service     Code       Billed
1106361-03    T.F.            Surgicore of Jersey City LLC            Infectious Agent Detection By Nuc…     9/28/2022   87635       $51.33
1106361-03    T.F.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     9/28/2022   A4649      $195.00
1106368-02    E.A.         Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…     2/7/2022   22526     $2,605.78
1106368-02    E.A.         Rockaways ASC Development LLC              Dcmprn Perq Nucleus Pulposus 1/> …      2/7/2022   62287     $5,292.93
1106368-02    E.A.         Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…    2/14/2022   22526     $2,605.78
1106368-02    E.A.         Rockaways ASC Development LLC             Discectomy Ant Dcmprn Cord Cervic…      2/14/2022   63075     $6,402.03
1106368-02    E.A.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surgical Rem…     2/23/2022   29819     $1,472.45
1106368-02    E.A.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…     2/23/2022   29821     $5,677.77
1106368-02    E.A.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…     2/23/2022   29823     $1,472.45
1106368-02    E.A.            Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …    2/23/2022   29825     $1,472.45
1106368-02    E.A.            Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…     2/23/2022   29999     $1,472.45
1106368-02    E.A.            Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…     2/23/2022   29999     $1,472.45
1106368-02    E.A.            Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …    2/23/2022   64415      $979.78
1106368-02    E.A.            Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …     2/23/2022   76942      $341.96
1106368-02    E.A.            Surgicore of Jersey City LLC            Infectious Agent Detection By Nuc…     2/23/2022   87635       $51.33
1106368-02    E.A.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     2/23/2022   A4649      $185.00
1106368-02    E.A.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      2/23/2022   E0650      $531.06
1106368-02    E.A.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …      2/23/2022   E0666       $89.56
1106368-02    E.A.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surgical Rem…     4/27/2022   29819     $1,472.45
1106368-02    E.A.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…     4/27/2022   29821     $5,677.77
1106368-02    E.A.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…     4/27/2022   29823     $1,472.45
1106368-02    E.A.            Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …    4/27/2022   29825     $1,472.45
1106368-02    E.A.            Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…     4/27/2022   29999     $1,472.45
1106368-02    E.A.            Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…     4/27/2022   29999     $1,472.45
1106368-02    E.A.            Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …    4/27/2022   64415      $979.78
1106368-02    E.A.            Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …     4/27/2022   76942      $341.96
1106368-02    E.A.            Surgicore of Jersey City LLC            Infectious Agent Detection By Nuc…     4/27/2022   87635       $51.33
1106368-02    E.A.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     4/27/2022   A4649      $165.00
1106592-01    J.O.          Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…     3/1/2022   20610      $473.39
1106592-01    J.O.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…      3/1/2022   29821     $5,677.77
1106592-01    J.O.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…      3/1/2022   29823     $1,472.45
1106592-01    J.O.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …     3/1/2022   29825     $1,472.45
1106592-01    J.O.          Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …     3/1/2022   64415      $979.78
1106592-01    J.O.          Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      3/1/2022   76942      $341.96
1106592-01    J.O.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…       3/1/2022   E0650      $531.06
1106592-01    J.O.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …       3/1/2022   E0666       $89.56
1106442-01    O.N.               Bay Ridge Surgi Center                 Inject Si Joint Arthrgrphy&/Anes/…   1/26/2022   27096     $1,880.84
1106442-01    O.N.               Bay Ridge Surgi Center                            Surgical Trays…           1/26/2022   A4550     $1,000.00
1106442-01    O.N.               Bay Ridge Surgi Center                Injection, Methylprednisolone Ace…    1/26/2022   J1030     $1,000.00
1106442-01    O.N.               Bay Ridge Surgi Center                Injection, Methylprednisolone Ace…    1/26/2022   J1030     $1,000.00
1106442-01    O.N.               Bay Ridge Surgi Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      2/9/2022   62321      $976.38
1106442-01    O.N.               Bay Ridge Surgi Center                         Epidurograpy Rs&I…            2/9/2022   72275      $653.90
1106442-01    O.N.               Bay Ridge Surgi Center                            Surgical Trays…            2/9/2022   A4550     $1,000.00
1106442-01    O.N.               Bay Ridge Surgi Center                Injection, Methylprednisolone Ace…     2/9/2022   J1030     $1,000.00
1106442-01    O.N.               Bay Ridge Surgi Center                Injection, Methylprednisolone Ace…     2/9/2022   J1030     $1,000.00
1106442-01    O.N.         New Horizon Surgical Center LLC            Arthroscopy Shoulder Surgical Rem…     5/16/2022   29819     $1,472.45
1106442-01    O.N.         New Horizon Surgical Center LLC            Arthroscopy Shoulder Surg Debride…     5/16/2022   29823     $1,472.45
1106442-01    O.N.         New Horizon Surgical Center LLC             Arthroscopy Shoulder Distal Clavi…    5/16/2022   29824     $1,472.45
1106442-01    O.N.         New Horizon Surgical Center LLC           Arthroscopy Shoulder W/Coracoacrm…      5/16/2022   29826     $1,472.45
1106442-01    O.N.         New Horizon Surgical Center LLC            Arthroscopy Shoulder Rotator Cuff…     5/16/2022   29827     $6,723.47
1106442-01    O.N.         New Horizon Surgical Center LLC             Single Nerve Block Injection Arm …    5/16/2022   64415      $979.78
1106442-01    O.N.         New Horizon Surgical Center LLC            Us Guidance Needle Placement Img …     5/16/2022   76942      $341.96
1106442-01    O.N.         New Horizon Surgical Center LLC           Anchor/Screw For Opposing Bone-To…      5/16/2022   C1713      $452.00
1106442-01    O.N.         New Horizon Surgical Center LLC             Prosthetic Implant, Not Otherwise…    5/16/2022   L8699      $800.00
1106442-01    O.N.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      5/16/2022   E0650      $531.06
1106442-01    O.N.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …      5/16/2022   E0666       $89.56
1107356-01    E.V.          Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…    3/29/2022   20610      $473.39
1107356-01    E.V.          Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi…      3/29/2022   29875     $1,472.45
1107356-01    E.V.          Fifth Avenue Surgery Center LLC          Arthrs Kne Surg W/Meniscectomy Me…      3/29/2022   29881     $3,026.24
1107356-01    E.V.          Fifth Avenue Surgery Center LLC            Injection Anesthetic Agent Femora…    3/29/2022   64447      $829.30
1107356-01    E.V.          Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     3/29/2022   76942      $341.96
1107356-01    E.V.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      3/29/2022   E0650      $531.06
1107356-01    E.V.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …      3/29/2022   E0666       $89.56
1106980-02    N.T.          Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…    3/15/2022   20610      $473.39
1106980-02    N.T.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…     3/15/2022   29821     $5,677.77
1106980-02    N.T.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…     3/15/2022   29823     $1,472.45
1106980-02    N.T.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …    3/15/2022   29825     $1,472.45
1106980-02    N.T.          Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    3/15/2022   64415      $979.78

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                                                           1779
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1106980-02    N.T.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …    3/15/2022   76942      $341.96
1106980-02    N.T.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 3/15/2022      E0650      $531.06
1106980-02    N.T.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    3/15/2022   E0666       $89.56
1106302-01    H.Z.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…   1/27/2022   29821     $5,677.77
1106302-01    H.Z.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…   1/27/2022   29823     $1,472.45
1106302-01    H.Z.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    1/27/2022   29999     $1,472.45
1106302-01    H.Z.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …   1/27/2022   64415      $979.78
1106302-01    H.Z.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …    1/27/2022   76942      $341.96
1106302-01    H.Z.               Surgicore of Jersey City LLC            Infectious Agent Detection By Nuc…   1/27/2022   87635       $51.33
1106302-01    H.Z.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    1/27/2022   A4649      $185.00
1106302-01    H.Z.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 1/27/2022      E0650      $531.06
1106302-01    H.Z.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    1/27/2022   E0666       $89.56
1106358-01    A.C.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…   5/1/2022   20552      $236.69
1106358-01    A.C.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/1/2022   62321      $976.38
1106358-01    A.C.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     5/1/2022   76942      $341.96
1106358-01    A.C.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…  5/11/2022   22526     $2,646.46
1106358-01    A.C.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …   5/11/2022   62287     $5,292.93
1106358-01    A.C.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 5/11/2022      E0650      $531.06
1106358-01    A.C.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    5/11/2022   E0666       $89.56
1106358-01    A.C.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…  6/21/2022   22526     $2,646.46
1106358-01    A.C.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…  6/21/2022   22527     $2,646.46
1106358-01    A.C.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …   6/21/2022   62287     $5,292.93
1106358-01    A.C.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 6/21/2022      E0650      $531.06
1106358-01    A.C.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    6/21/2022   E0666       $89.56
1106358-01    A.C.                Crotona Parkway ASC LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv… 10/25/2022   64490     $1,960.20
1106358-01    A.C.                Crotona Parkway ASC LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv… 10/25/2022   64490     $1,960.20
1106358-01    A.C.                Crotona Parkway ASC LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv… 10/25/2022   64491      $980.10
1106358-01    A.C.                Crotona Parkway ASC LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv… 10/25/2022   64491      $980.10
1106358-01    A.C.                Crotona Parkway ASC LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv… 10/25/2022   64492      $980.10
1106358-01    A.C.                Crotona Parkway ASC LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv… 10/25/2022   64492      $980.10
1106530-01    H.N.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surgical Rem… 12/30/2021    29819     $1,472.45
1106530-01    H.N.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec… 12/30/2021    29821     $5,677.77
1106530-01    H.N.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…  12/30/2021   29823     $1,472.45
1106530-01    H.N.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …  12/30/2021   29825     $1,472.45
1106530-01    H.N.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …  12/30/2021   64415      $979.78
1106530-01    H.N.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img … 12/30/2021     76942      $341.96
1106530-01    H.N.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…   12/30/2021   A4649      $185.00
1106530-01    H.N.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 12/30/2021     e0650      $531.06
1106530-01    H.N.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance … 12/30/2021     e0666       $89.56
1106530-01    H.N.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 5/19/2022      29876     $1,472.45
1106530-01    H.N.               Surgicore of Jersey City LLC          Arthrs Kne Surg W/Meniscectomy Me… 5/19/2022       29881     $3,026.24
1106530-01    H.N.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    5/19/2022   29999     $1,472.45
1106530-01    H.N.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    5/19/2022   A4649      $195.00
1106162-01    D.L.               Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   4/22/2022   62321      $976.38
1106162-01    D.L.               East Tremont Medical Center              Repair Intermediate S/A/T/E 2.6-7…  5/21/2022   12032     $1,126.23
1106162-01    D.L.               East Tremont Medical Center             Arthroscopy Knee Osteochondral Al…   5/21/2022   29867     $5,677.77
1106162-01    D.L.               East Tremont Medical Center            Arthroscopy Knee Synovectomy 2/>C… 5/21/2022      29876     $1,472.45
1106162-01    D.L.               East Tremont Medical Center           Arthrs Knee W/Meniscectomy Med&La… 5/21/2022       29880     $1,472.45
1106162-01    D.L.               East Tremont Medical Center               Unlisted Procedure Arthroscopy…    5/21/2022   29999     $1,472.45
1106162-01    D.L.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/10/2022   62321      $976.38
1106162-01    D.L.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/22/2022   62321      $976.38
1106162-01    D.L.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…  9/23/2022   22526     $5,292.93
1106162-01    D.L.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…  9/23/2022   22527     $2,605.78
1106162-01    D.L.               Surgicore of Jersey City LLC            Unlisted Procedure Nervous System…   9/23/2022   64999      $747.93
1106162-01    D.L.               Surgicore of Jersey City LLC           Anchor/Screw For Opposing Bone-To… 9/23/2022      C1713     $1,495.00
1106162-02    Y.L.                Crotona Parkway ASC LLC                 Injection Single/Mlt Trigger Poin…  7/26/2022   20553      $279.23
1106162-02    Y.L.                Crotona Parkway ASC LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/26/2022   62321      $980.10
1106162-02    Y.L.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…  9/30/2022   22526     $5,292.93
1106162-02    Y.L.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…  9/30/2022   22527     $2,605.78
1106162-02    Y.L.               Surgicore of Jersey City LLC            Unlisted Procedure Nervous System…   9/30/2022   64999      $747.93
1106162-02    Y.L.               Surgicore of Jersey City LLC           Anchor/Screw For Opposing Bone-To… 9/30/2022      C1713     $1,495.00
1106162-02    Y.L.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…   3/3/2023   22526     $2,605.78
1106162-02    Y.L.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…   3/3/2023   22527     $2,605.78
1106162-02    Y.L.               Surgicore of Jersey City LLC            Dcmprn Perq Nucleus Pulposus 1/> …    3/3/2023   62287     $5,292.93
1106184-01    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…  2/19/2022   20553      $236.69
1106184-01    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/19/2022   62323      $976.38
1106184-01    A.C.               Citimed Surgery Center LLC               Injection Single/Mlt Trigger Poin…  5/23/2022   20553      $473.39
1106184-01    A.C.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/23/2022   62323      $976.38

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                Service     Code       Billed
1106184-01    A.C.             Citimed Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     11/8/2022   62321      $976.38
1106232-01    E.M.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…     2/17/2022   29821     $5,677.77
1106232-01    E.M.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…     2/17/2022   29823     $1,472.45
1106232-01    E.M.             Surgicore of Jersey City LLC                  Arthroscopy Shoulder Ahesiolysis …    2/17/2022   29825     $1,472.45
1106232-01    E.M.             Surgicore of Jersey City LLC                    Unlisted Procedure Arthroscopy…     2/17/2022   29999     $1,472.45
1106232-01    E.M.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …    2/17/2022   64415      $979.78
1106232-01    E.M.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …      2/17/2022   76942      $341.96
1106232-01    E.M.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…     2/17/2022   A4649      $185.00
1106232-01    E.M.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…      2/17/2022   E0650      $531.06
1106232-01    E.M.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …      2/17/2022   E0660       $89.56
1106194-01    R.M.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi…       3/7/2022   29875     $1,472.45
1106194-01    R.M.          Fifth Avenue Surgery Center LLC                 Arthrs Knee Abrasion Arthrp/Mlt D…      3/7/2022   29879     $1,472.45
1106194-01    R.M.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La…        3/7/2022   29880     $3,026.24
1106194-01    R.M.          Fifth Avenue Surgery Center LLC                    Unlisted Procedure Arthroscopy…      3/7/2022   29999     $1,472.45
1106194-01    R.M.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…      3/7/2022   64447      $829.30
1106194-01    R.M.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …       3/7/2022   76942      $341.96
1106194-01    R.M.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       3/7/2022   E0650      $531.06
1106194-01    R.M.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       3/7/2022   E0666       $89.56
1105782-03    S.G.          Island Ambulatory Surgery Center               Extrcorpl Shock Wave Muscskele No…       2/7/2022   0101T      $893.24
1105782-03    S.G.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      2/7/2022   62321      $976.38
1105782-03    S.G.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/15/2022   62323      $976.38
1105782-03    S.G.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…    4/18/2022   22526     $2,646.46
1105782-03    S.G.          Island Ambulatory Surgery Center                Dcmprn Perq Nucleus Pulposus 1/> …     4/18/2022   62287     $5,292.93
1105782-03    S.G.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…      4/18/2022   e0650      $531.06
1105782-03    S.G.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …      4/18/2022   e0666       $89.56
1105782-03    S.G.         Rockaways ASC Development LLC                  Lamnotmy Incl W/Dcmprsn Nrv Root …       4/22/2022   63030     $2,605.78
1105782-03    S.G.         Rockaways ASC Development LLC                    Transpedicular Dcmprn Spinal Cord…     4/22/2022   63056     $5,292.93
1105782-03    S.G.         Rockaways ASC Development LLC                     Decompression Unspecified Nerve…      4/22/2022   64722     $1,071.54
1105697-02    K.H.            Healthplus Surgery Center LLC                   Injection Single/Mlt Trigger Poin…    2/9/2022   20553      $473.39
1105697-02    K.H.            Healthplus Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      2/9/2022   62321      $976.38
1105697-02    K.H.             Surgicore of Jersey City LLC                 Tenotomy Shoulder Area 1 Tendon…       2/26/2022   23405     $1,839.77
1105697-02    K.H.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…     2/26/2022   29821     $5,677.77
1105697-02    K.H.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…     2/26/2022   29823     $1,472.45
1105697-02    K.H.             Surgicore of Jersey City LLC                  Arthroscopy Shoulder Ahesiolysis …    2/26/2022   29825     $1,472.45
1105697-02    K.H.             Surgicore of Jersey City LLC                    Unlisted Procedure Arthroscopy…     2/26/2022   29999     $1,472.45
1105697-02    K.H.             Surgicore of Jersey City LLC                    Unlisted Procedure Arthroscopy…     2/26/2022   29999     $1,472.45
1105697-02    K.H.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …    2/26/2022   64415      $979.78
1105697-02    K.H.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …      2/26/2022   76942      $341.96
1105697-02    K.H.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…     2/26/2022   A4649      $560.00
1105697-02    K.H.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…      2/26/2022   e0650      $531.06
1105697-02    K.H.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …      2/26/2022   e0666       $89.56
1105872-02     I.S.            Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     3/25/2022   62321      $976.38
1105872-02     I.S.         Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…    3/31/2022   20610      $473.39
1105872-02     I.S.         Fifth Avenue Surgery Center LLC                  Arthroscopy Knee Lateral Release…     3/31/2022   29873     $1,472.45
1105872-02     I.S.         Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi…      3/31/2022   29875     $1,472.45
1105872-02     I.S.         Fifth Avenue Surgery Center LLC               Arthrs Kne Surg W/Meniscectomy Me…       3/31/2022   29881     $3,026.24
1105872-02     I.S.         Fifth Avenue Surgery Center LLC                Arthroscopy Knee W/Lysis Adhesion…      3/31/2022   29884     $1,472.45
1105872-02     I.S.         Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…     3/31/2022   64447      $829.30
1105872-02     I.S.         Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …      3/31/2022   76942      $341.96
1105872-02     I.S.                  Good Medica Inc                        Cane, Quad Or Three-Prong, Includ…     3/31/2022   e0105       $18.75
1105872-02     I.S.                  Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…      3/31/2022   e0650      $531.06
1105872-02     I.S.                  Good Medica Inc                       Nonsegmental Pneumatic Appliance …      3/31/2022   e0666       $89.56
1105872-02     I.S.            Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/27/2022   64490      $447.52
1105872-02     I.S.            Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/27/2022   64490      $976.38
1105872-02     I.S.            Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/27/2022   64491      $447.52
1105872-02     I.S.            Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/27/2022   64491      $447.52
1105872-02     I.S.            Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/27/2022   64492      $447.52
1105872-02     I.S.            Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/27/2022   64492      $447.52
1105872-02     I.S.            Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    5/18/2022   64490     $1,952.76
1105872-02     I.S.            Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    5/18/2022   64491      $895.04
1105872-02     I.S.            Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    5/18/2022   64492      $895.04
1106524-02    H.Y.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…     1/10/2022   29821     $5,677.77
1106524-02    H.Y.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…     1/10/2022   29823     $1,472.45
1106524-02    H.Y.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …    1/10/2022   29825     $1,472.45
1106524-02    H.Y.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…      1/10/2022   29826     $1,472.45
1106524-02    H.Y.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…     1/10/2022   29999     $1,472.45
1106524-02    H.Y.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …    1/10/2022   64415      $979.78
1106524-02    H.Y.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …      1/10/2022   76942      $341.96

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                                                         1781
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                       Provider                                         Service
 Number      Person                                                                                              Service     Code       Billed
1106524-02    H.Y.             Citimed Surgery Center LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/16/2022   62323      $976.38
1106524-02    H.Y.       All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 2/27/2022       29875     $1,472.45
1106524-02    H.Y.       All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 2/27/2022        29880     $3,026.24
1106524-02    H.Y.       All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…    2/27/2022   29999     $1,472.45
1106524-02    H.Y.       All City Family Healthcare Center, Inc.           Injection Anesthetic Agent Femora…    2/27/2022   64447      $829.30
1106524-02    H.Y.       All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     2/27/2022   76942      $341.96
1106524-02    H.Y.             Citimed Surgery Center LLC                   Perq Intrdscl Electrothrm Annulop…   3/23/2022   22526     $5,211.56
1106524-02    H.Y.             Citimed Surgery Center LLC                  Dcmprn Perq Nucleus Pulposus 1/> …    3/23/2022   62287     $5,211.56
1106524-02    H.Y.             Citimed Surgery Center LLC                  Probe, Percutaneous Lumbar Discec…    3/23/2022   C2614     $1,650.00
1106524-05    J.H.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…     1/9/2022   29821     $5,677.77
1106524-05    J.H.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…     1/9/2022   29823     $1,472.45
1106524-05    J.H.       All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …    1/9/2022   29825     $1,472.45
1106524-05    J.H.       All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…      1/9/2022   29826     $1,472.45
1106524-05    J.H.       All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…     1/9/2022   29999     $1,472.45
1106524-05    J.H.       All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …    1/9/2022   64415      $979.78
1106524-05    J.H.       All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …      1/9/2022   76942      $341.96
1106524-05    J.H.             Citimed Surgery Center LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/7/2022   62323      $976.38
1106524-05    J.H.             Citimed Surgery Center LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/16/2022   62321      $976.38
1106524-05    J.H.             Citimed Surgery Center LLC                   Perq Intrdscl Electrothrm Annulop…   3/16/2022   22526     $5,211.56
1106524-05    J.H.             Citimed Surgery Center LLC                  Dcmprn Perq Nucleus Pulposus 1/> …    3/16/2022   62287     $5,292.93
1106524-05    J.H.             Citimed Surgery Center LLC                  Probe, Percutaneous Lumbar Discec…    3/16/2022   C2614     $2,200.00
1106157-01    C.A.       Rockland & Bergen Surgery Center LLC             Arthroscopy Knee Synovectomy Limi…      4/5/2022   29875     $1,472.45
1106157-01    C.A.       Rockland & Bergen Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La… 4/5/2022         29880     $1,472.45
1106157-01    C.A.       Rockland & Bergen Surgery Center LLC              Injection Anesthetic Agent Femora…     4/5/2022   64447      $829.30
1106157-01    C.A.       Rockland & Bergen Surgery Center LLC             Us Guidance Needle Placement Img …      4/5/2022   76942      $341.96
1106157-01    C.A.       Rockland & Bergen Surgery Center LLC               Arthroscopy, Knee, Surgical, For …    4/5/2022   G0289     $5,677.77
1106157-01    C.A.              Crotona Parkway ASC LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/31/2022   64493     $1,960.20
1106157-01    C.A.              Crotona Parkway ASC LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/31/2022   64493     $1,960.20
1106157-01    C.A.              Crotona Parkway ASC LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/31/2022   64493     $1,960.20
1106157-01    C.A.              Crotona Parkway ASC LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/31/2022   64494      $980.10
1106157-01    C.A.              Crotona Parkway ASC LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/31/2022   64494      $980.10
1106157-01    C.A.              Crotona Parkway ASC LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/31/2022   64494      $980.10
1106157-01    C.A.          Island Ambulatory Surgery Center               Plmt Post Facet Implt Uni/Bi W/Im…   10/18/2022   0221T     $2,648.32
1106157-01    C.A.          Island Ambulatory Surgery Center                 Place Posterior Intrafacet Implan… 10/18/2022   0222T     $2,648.32
1106157-01    C.A.          Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…  10/18/2022   22526     $2,648.32
1106157-01    C.A.          Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…  10/18/2022   22527     $2,648.32
1106157-01    C.A.          Island Ambulatory Surgery Center               Dcmprn Perq Nucleus Pulposus 1/> … 10/18/2022     62287     $5,296.65
1106157-01    C.A.          Island Ambulatory Surgery Center               Transection/Avulsion Oth Spinal N…   10/18/2022   64772     $2,228.18
1106157-01    C.A.          Island Ambulatory Surgery Center                Infectious Agent Antigen Detectio…  10/18/2022   87426      $200.00
1106157-01    C.A.          Island Ambulatory Surgery Center                Circadian Respiratry Pattern Rec …  10/18/2022   94772     $2,228.18
1106954-01    S.M.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/1/2022   62323      $976.38
1106954-01    S.M.         Rockaways ASC Development LLC                   Arthroscopy Shoulder Surg Synovec…    6/17/2022   29821     $5,677.77
1106954-01    S.M.         Rockaways ASC Development LLC                   Arthroscopy Shoulder Surg Debride…    6/17/2022   29823     $1,472.45
1106954-01    S.M.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Ahesiolysis …   6/17/2022   29825     $1,472.45
1106954-01    S.M.         Rockaways ASC Development LLC                  Arthroscopy Shoulder W/Coracoacrm… 6/17/2022       29826     $1,472.45
1106954-01    S.M.         Rockaways ASC Development LLC                    Single Nerve Block Injection Arm …   6/17/2022   64415      $979.78
1106954-01    S.M.         Rockaways ASC Development LLC                  Us Guidance Needle Placement Img …     6/17/2022   76942      $341.96
1106954-01    S.M.         Rockaways ASC Development LLC                   Infectious Agent Detection By Nuc…    6/17/2022   87635       $51.33
1105855-01    G.M.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…  2/24/2022   20552      $236.69
1105855-01    G.M.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/24/2022   62323      $976.38
1105855-01    G.M.         Rockaways ASC Development LLC                  Us Guidance Needle Placement Img …     2/24/2022   76942      $341.96
1105855-01    G.M.             Surgicore of Jersey City LLC               Arthroscopy Knee Synovectomy 2/>C… 3/30/2022       29876     $1,472.45
1105855-01    G.M.             Surgicore of Jersey City LLC              Arthrs Kne Surg W/Meniscectomy Me… 3/30/2022        29881     $1,472.45
1105855-01    G.M.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    3/30/2022   29999     $1,472.45
1105855-01    G.M.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    3/30/2022   A4649      $195.00
1105855-01    G.M.             Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical, For …   3/30/2022   G0289     $5,677.77
1105855-01    G.M.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta… 3/30/2022       E0650      $531.06
1105855-01    G.M.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …     3/30/2022   E0666       $89.56
1106181-01    M.R.             East Tremont Medical Center                   Injection Single/Mlt Trigger Poin…  2/11/2022   20553     $1,010.00
1106181-01    M.R.             East Tremont Medical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/11/2022   62323     $1,290.00
1106181-01    M.R.             East Tremont Medical Center                          Epidurograpy Rs&I…           2/11/2022   72275      $985.00
1106181-01    M.R.             East Tremont Medical Center                Us Guidance Needle Placement Img …     2/11/2022   76942      $860.00
1106181-01    M.R.             East Tremont Medical Center                 Fluor Needle/Cath Spine/Paraspina…    2/11/2022   77003      $458.85
1106181-01    M.R.         New Horizon Surgical Center LLC                Arthroscopy Knee Synovectomy Limi…      3/3/2022   29875     $1,472.45
1106181-01    M.R.         New Horizon Surgical Center LLC               Arthrs Knee W/Meniscectomy Med&La… 3/3/2022         29880     $1,472.45
1106181-01    M.R.         New Horizon Surgical Center LLC                    Unlisted Procedure Arthroscopy…     3/3/2022   29999     $1,472.45
1106181-01    M.R.         New Horizon Surgical Center LLC                  Arthroscopy, Knee, Surgical, For …    3/3/2022   G0289     $5,677.77
1106181-01    M.R.         New Horizon Surgical Center LLC                  Prosthetic Implant, Not Otherwise…    3/3/2022   L8699      $215.00

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                       Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1105806-02    C.Q.         Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surgical Rem…      2/5/2022   29819     $1,472.45
1105806-02    C.Q.         Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…      2/5/2022   29821     $5,677.77
1105806-02    C.Q.         Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…      2/5/2022   29823     $1,472.45
1105806-02    C.Q.         Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …      2/5/2022   29825     $1,472.45
1105806-02    C.Q.         Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm…       2/5/2022   29826     $1,472.45
1105806-02    C.Q.         Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…       2/5/2022   29999     $1,472.45
1105806-02    C.Q.         Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …      2/5/2022   64415      $979.78
1105806-02    C.Q.         Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …       2/5/2022   76942      $341.96
1105806-02    C.Q.                  Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       2/5/2022   e0650      $531.06
1105806-02    C.Q.                  Good Medica Inc                       Nonsegmental Pneumatic Appliance …       2/5/2022   e0666       $89.56
1105806-02    C.Q.                    SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     4/23/2022   62321      $976.38
1105806-02    C.Q.            Citimed Surgery Center LLC                    Injection Single/Mlt Trigger Poin…    6/25/2022   20553      $473.39
1105806-02    C.Q.            Citimed Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/25/2022   62323      $976.38
1105806-02    C.Q.                    SCOB LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/9/2022   64493     $1,423.89
1105806-02    C.Q.                    SCOB LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/9/2022   64494     $1,342.52
1105806-02    C.Q.                    SCOB LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/9/2022   64495     $1,342.52
1105806-02    C.Q.                    SCOB LLC                              Injection Single/Mlt Trigger Poin…    9/10/2022   20553      $473.39
1105806-02    C.Q.                    SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     9/10/2022   62321      $976.38
1107553-01    A.C.            Citimed Surgery Center LLC                    Injection Single/Mlt Trigger Poin…    2/10/2022   20553      $473.39
1107553-01    A.C.            Citimed Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/10/2022   62321      $976.38
1107553-01    A.C.       Rockland & Bergen Surgery Center LLC              Arthroscopy Shoulder Surgical Rep…      4/8/2022   29807     $5,677.77
1107553-01    A.C.       Rockland & Bergen Surgery Center LLC              Arthroscopy Shoulder Surg Synovec…      4/8/2022   29821     $2,798.20
1107553-01    A.C.       Rockland & Bergen Surgery Center LLC              Arthroscopy Shoulder Surg Debride…      4/8/2022   29823     $1,472.45
1107553-01    A.C.       Rockland & Bergen Surgery Center LLC             Arthroscopy Shoulder W/Coracoacrm…       4/8/2022   29826     $1,472.45
1107553-01    A.C.       Rockland & Bergen Surgery Center LLC              Single Nerve Block Injection Arm …      4/8/2022   64415      $979.78
1107553-01    A.C.       Rockland & Bergen Surgery Center LLC             Us Guidance Needle Placement Img …       4/8/2022   76942      $341.96
1107553-01    A.C.       Rockland & Bergen Surgery Center LLC               Prosthetic Implant, Not Otherwise…     4/8/2022   L8699      $400.00
1106128-07    A.A.         Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…     1/31/2022   29821     $5,677.77
1106128-07    A.A.         Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…     1/31/2022   29823     $1,472.45
1106128-07    A.A.         Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …     1/31/2022   29825     $1,472.45
1106128-07    A.A.         Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm…      1/31/2022   29826     $1,472.45
1106128-07    A.A.         Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…      1/31/2022   29999     $1,472.45
1106128-07    A.A.         Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …     1/31/2022   64415      $979.78
1106128-07    A.A.         Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …      1/31/2022   76942      $341.96
1106128-07    A.A.                  Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…      1/31/2022   E0650      $531.06
1106128-07    A.A.                  Good Medica Inc                       Nonsegmental Pneumatic Appliance …      1/31/2022   E0666       $89.56
1105421-01    G.R.            Surgicore of Jersey City LLC                 Tenolysis Flexor Tendon Palm/Fing…      8/9/2022   26440     $1,021.86
1105421-01    G.R.            Surgicore of Jersey City LLC                 Tenolysis Extensor Tendon Hand/Fi…      8/9/2022   26445     $1,021.86
1105421-01    G.R.            Surgicore of Jersey City LLC                Capsulectomy/Capsulotomy Iphal Jo…       8/9/2022   26525     $2,125.04
1105421-01    G.R.         Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    12/21/2022   62323      $976.38
1105421-01    G.R.         Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     1/18/2023   62321      $976.38
1105421-01    G.R.               Bay Ridge Surgi Center                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/14/2023   62323      $976.38
1105421-01    G.R.               Bay Ridge Surgi Center                    Fluor Needle/Cath Spine/Paraspina…     2/14/2023   77003     $1,500.00
1105421-01    G.R.               Bay Ridge Surgi Center                               Surgical Trays…             2/14/2023   A4550     $1,000.00
1105421-01    G.R.               Bay Ridge Surgi Center                    Injection, Methylprednisolone Ace…     2/14/2023   J1030     $1,000.00
1105421-01    G.R.               Bay Ridge Surgi Center                    Injection, Methylprednisolone Ace…     2/14/2023   J1030     $1,000.00
1105421-01    G.R.               Bay Ridge Surgi Center                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/23/2023   62321      $976.38
1105421-01    G.R.               Bay Ridge Surgi Center                    Fluor Needle/Cath Spine/Paraspina…     2/23/2023   77003     $1,500.00
1105421-01    G.R.               Bay Ridge Surgi Center                    Fluor Needle/Cath Spine/Paraspina…     2/23/2023   77003     $1,500.00
1105421-01    G.R.               Bay Ridge Surgi Center                               Surgical Trays…             2/23/2023   A4550     $1,000.00
1105421-01    G.R.               Bay Ridge Surgi Center                    Injection, Methylprednisolone Ace…     2/23/2023   J1030     $1,000.00
1105421-01    G.R.               Bay Ridge Surgi Center                    Injection, Methylprednisolone Ace…     2/23/2023   J1030     $1,000.00
1105421-01    G.R.               Bay Ridge Surgi Center                         Unlisted Procedure Spine…         3/16/2023   22899     $4,950.00
1105421-01    G.R.               Bay Ridge Surgi Center                    Fluor Needle/Cath Spine/Paraspina…     3/16/2023   77003     $1,500.00
1105421-01    G.R.               Bay Ridge Surgi Center                               Surgical Trays…             3/16/2023   A4550     $1,000.00
1105421-01    G.R.               Bay Ridge Surgi Center                     Unclassified Drugs Or Biologicals…    3/16/2023   C9399     $5,000.00
1105421-01    G.R.               Bay Ridge Surgi Center                    Injection, Methylprednisolone Ace…     3/16/2023   J1030     $1,000.00
1105421-01    G.R.               Bay Ridge Surgi Center                    Injection, Methylprednisolone Ace…     3/16/2023   J1030     $1,000.00
1105535-01    J.A.       Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Surg Debride…     1/25/2022   29823     $3,026.24
1105535-01    J.A.       Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Ahesiolysis …     1/25/2022   29825     $1,472.45
1105535-01    J.A.       Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder W/Coracoacrm…      1/25/2022   29826     $1,472.45
1105535-01    J.A.       Bronx SC LLC d/b/a Empire State ASC               Single Nerve Block Injection Arm …     1/25/2022   64415      $979.78
1105535-01    J.A.       Bronx SC LLC d/b/a Empire State ASC              Us Guidance Needle Placement Img …      1/25/2022   76942      $341.96
1105535-01    J.A.            Citimed Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/11/2022   62323      $976.38
1105535-01    J.A.            Citimed Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/3/2022   62323      $976.38
1105285-07    R.T.             Hudson Regional Hospital                    Level Iii Surg Pathology Gross&Mi…     3/30/2022   88304      $192.00
1105285-07    R.T.             Hudson Regional Hospital                         Decalcification Procedure…        3/30/2022   88311      $101.56
1105285-07    R.T.       All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…     6/13/2022   22526     $2,605.78

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                                                          1783
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1105285-07    R.T.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic… 6/13/2022       63075     $6,402.03
1105285-07    R.T.        All City Family Healthcare Center, Inc.             Injection Single/Mlt Trigger Poin…   7/5/2022   20552      $236.69
1105285-07    R.T.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     7/5/2022   62321      $976.38
1105285-07    R.T.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …      7/5/2022   76942      $341.96
1105285-07    R.T.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…   7/28/2022   22526     $2,605.78
1105285-07    R.T.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> …    7/28/2022   62287     $5,292.93
1106424-01    M.W.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/23/2022   62323      $976.38
1106424-01    M.W.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…    2/23/2022   87635       $51.33
1106424-01    M.W.        Health East Ambulatory Surgical Center            Arthroscopy Shoulder Surg Synovec…    3/21/2022   29821     $6,462.39
1106424-01    M.W.        Health East Ambulatory Surgical Center            Arthroscopy Shoulder Surg Debride…    3/21/2022   29823     $6,462.39
1106424-01    M.W.        Health East Ambulatory Surgical Center             Arthroscopy Shoulder Distal Clavi…   3/21/2022   29824     $3,997.71
1106424-01    M.W.        Health East Ambulatory Surgical Center            Arthroscopy Shoulder Ahesiolysis …    3/21/2022   29825     $6,462.39
1106424-01    M.W.        Health East Ambulatory Surgical Center           Arthroscopy Shoulder W/Coracoacrm… 3/21/2022       29826     $6,462.39
1106424-01    M.W.        Health East Ambulatory Surgical Center            Single Nerve Block Injection Arm …    3/21/2022   64415     $1,000.00
1106424-01    M.W.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…   4/13/2022   22526     $2,605.78
1106424-01    M.W.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…   4/13/2022   22527     $2,605.78
1106424-01    M.W.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> …    4/13/2022   62287     $5,292.93
1104806-01    D.C.          New Horizon Surgical Center LLC                Arthroscopy Knee Synovectomy Limi… 5/19/2022       29875     $1,472.45
1104806-01    D.C.          New Horizon Surgical Center LLC               Arthrs Knee W/Meniscectomy Med&La… 5/19/2022        29880     $3,026.24
1104806-01    D.C.          New Horizon Surgical Center LLC                Arthroscopy Knee W/Lysis Adhesion… 5/19/2022       29884     $1,472.45
1104806-01    D.C.          New Horizon Surgical Center LLC                  Prosthetic Implant, Not Otherwise…   5/19/2022   L8699      $215.00
1104806-01    D.C.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     8/3/2022   62321      $976.38
1104806-01    D.C.                     SCOB LLC                            Njx Anes&/Strd W/Img Tfrml Edrl L… 9/28/2022       64483      $979.78
1105880-02    D.R.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C…      2/2/2022   29876     $1,472.45
1105880-02    D.R.             Surgicore of Jersey City LLC                 Arthrs Knee Abrasion Arthrp/Mlt D…     2/2/2022   29879     $1,472.45
1105880-02    D.R.             Surgicore of Jersey City LLC               Arthrs Kne Surg W/Meniscectomy Me… 2/2/2022         29881     $1,472.45
1105880-02    D.R.             Surgicore of Jersey City LLC                    Unlisted Procedure Arthroscopy…     2/2/2022   29999     $1,472.45
1105880-02    D.R.             Surgicore of Jersey City LLC                 Infectious Agent Detection By Nuc…     2/2/2022   87635       $51.33
1105880-02    D.R.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …    2/2/2022   G0289     $5,677.77
1105880-02    D.R.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…      2/2/2022   E0650      $531.06
1105880-02    D.R.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …      2/2/2022   E0666       $89.56
1105880-02    D.R.            Manalapan Surgery Center Inc                  Arthroscopy Shoulder Surg Synovec…    3/15/2022   29821     $5,677.77
1105880-02    D.R.            Manalapan Surgery Center Inc                  Arthroscopy Shoulder Surg Debride…    3/15/2022   29823     $1,472.45
1105880-02    D.R.            Manalapan Surgery Center Inc                  Arthroscopy Shoulder Ahesiolysis …    3/15/2022   29825     $1,472.45
1105880-02    D.R.            Manalapan Surgery Center Inc                     Unlisted Procedure Arthroscopy…    3/15/2022   29999     $1,472.45
1105880-02    D.R.            Manalapan Surgery Center Inc                     Unlisted Procedure Arthroscopy…    3/15/2022   29999     $1,472.45
1105880-02    D.R.            Manalapan Surgery Center Inc                  Single Nerve Block Injection Arm …    3/15/2022   64415      $979.78
1105880-02    D.R.            Manalapan Surgery Center Inc                 Us Guidance Needle Placement Img …     3/15/2022   76942      $341.96
1105880-02    D.R.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 3/15/2022       E0650      $531.06
1105880-02    D.R.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     3/15/2022   E0666       $89.56
1105880-02    D.R.            Manalapan Surgery Center Inc                 Arthroscopy Knee Synovectomy 2/>C… 4/19/2022       29876     $1,472.45
1105880-02    D.R.            Manalapan Surgery Center Inc                 Arthroscopy Knee Synovectomy 2/>C… 4/19/2022       29876     $1,472.45
1105880-02    D.R.            Manalapan Surgery Center Inc                  Arthrs Knee Abrasion Arthrp/Mlt D…    4/19/2022   29879     $1,472.45
1105880-02    D.R.            Manalapan Surgery Center Inc                  Arthrs Knee Abrasion Arthrp/Mlt D…    4/19/2022   29879     $1,472.45
1105880-02    D.R.            Manalapan Surgery Center Inc                Arthrs Knee W/Meniscectomy Med&La… 4/19/2022        29880     $3,026.24
1105880-02    D.R.            Manalapan Surgery Center Inc                Arthrs Knee W/Meniscectomy Med&La… 4/19/2022        29880     $3,026.24
1105880-02    D.R.            Manalapan Surgery Center Inc                     Unlisted Procedure Arthroscopy…    4/19/2022   29999     $1,472.45
1105880-02    D.R.            Manalapan Surgery Center Inc                     Unlisted Procedure Arthroscopy…    4/19/2022   29999     $1,472.45
1105880-02    D.R.            Manalapan Surgery Center Inc                    Injection Anesthetic Agent Sciati…  4/19/2022   64445      $829.30
1105880-02    D.R.            Manalapan Surgery Center Inc                    Injection Anesthetic Agent Sciati…  4/19/2022   64445      $829.30
1105880-02    D.R.            Manalapan Surgery Center Inc                 Us Guidance Needle Placement Img …     4/19/2022   76942      $341.96
1105880-02    D.R.            Manalapan Surgery Center Inc                 Us Guidance Needle Placement Img …     4/19/2022   76942      $341.96
1105880-02    D.R.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 4/19/2022       E0650      $531.06
1105880-02    D.R.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     4/19/2022   E0666       $89.56
1105313-01    J.A.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin…  9/23/2022   20553      $279.23
1105313-01    J.A.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/23/2022   62323      $980.10
1105313-01    J.A.          Island Ambulatory Surgery Center                 Infectious Agent Antigen Detectio…   9/23/2022   87426      $200.00
1105313-01    J.A.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec… 10/16/2022     29821     $5,677.77
1105313-01    J.A.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   10/16/2022   29823     $1,472.45
1105313-01    J.A.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 10/16/2022      29826     $1,472.45
1105313-01    J.A.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   10/16/2022   64415      $979.78
1105313-01    J.A.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img … 10/16/2022      76942      $341.96
1105519-01    J.M.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Knee Synovectomy Limi…      7/8/2022   29875     $1,472.45
1105519-01    J.M.        Bronx SC LLC d/b/a Empire State ASC             Arthrs Knee W/Meniscectomy Med&La… 7/8/2022         29880     $3,026.24
1105519-01    J.M.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Knee W/Lysis Adhesion…      7/8/2022   29884     $1,472.45
1105519-01    J.M.        Bronx SC LLC d/b/a Empire State ASC                  Unlisted Procedure Arthroscopy…     7/8/2022   29999     $1,472.45
1105519-01    J.M.               Avicenna Surgery Center                   Njx Anes&/Strd W/Img Tfrml Edrl L…      8/4/2022   64483      $980.10
1105519-01    J.M.               Avicenna Surgery Center                   Njx Anes&/Strd W/Img Tfrml Edrl L…      8/4/2022   64484      $980.10

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                                                          1784
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                             Service     Code       Billed
1104871-02    T.S.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Synovec…     7/8/2022   29821     $5,677.77
1104871-02    T.S.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Debride…    7/8/2022   29823     $1,472.45
1104871-02    T.S.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Ahesiolysis …    7/8/2022   29825     $1,472.45
1104871-02    T.S.        All City Family Healthcare Center, Inc.            Unlisted Procedure Arthroscopy…     7/8/2022   29999     $1,472.45
1104871-02    T.S.        All City Family Healthcare Center, Inc.          Single Nerve Block Injection Arm …    7/8/2022   64415      $979.78
1104871-02    T.S.        All City Family Healthcare Center, Inc.         Us Guidance Needle Placement Img …     7/8/2022   76942      $341.96
1104871-02    T.S.              Crotona Parkway ASC LLC                     Injection Single/Mlt Trigger Poin…  1/10/2023   20553      $279.23
1104871-02    T.S.              Crotona Parkway ASC LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/10/2023   62323      $980.10
1104871-02    T.S.              Crotona Parkway ASC LLC                    Infectious Agent Antigen Detectio…   1/10/2023   87426      $200.00
1105448-01    F.D.               Hudson Regional Hospital                 Ct Head/Brain W/O Contrast Materi… 11/24/2021     70450     $3,067.80
1105448-01    F.D.              Atlantis Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/13/2022   62323      $976.38
1105448-01    F.D.              Atlantis Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/10/2022   62321      $976.38
1105448-01    F.D.              Atlantis Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/21/2022   64493     $1,423.89
1105448-01    F.D.              Atlantis Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/21/2022   64494     $1,342.52
1105448-01    F.D.             Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/4/2022   62321      $976.38
1105359-02    E.B.              Citimed Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…  12/18/2021   64490     $1,423.89
1105359-02    E.B.              Citimed Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…  12/18/2021   64492     $1,342.52
1105359-02    E.B.              Citimed Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  12/18/2021   64494     $1,342.52
1105359-02    E.B.              Citimed Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/22/2022   64493     $1,423.89
1105359-02    E.B.              Citimed Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/22/2022   64494     $1,342.52
1105359-02    E.B.              Citimed Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/22/2022   64494     $1,342.52
1105359-02    E.B.              Citimed Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/19/2022   64493     $1,423.89
1105359-02    E.B.              Citimed Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/19/2022   64494     $1,342.52
1105359-02    E.B.              Atlantis Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/5/2022   62323      $976.38
1105359-02    E.B.              Citimed Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct S…  3/19/2022   64635      $979.78
1105359-02    E.B.              Citimed Surgery Center LLC                 Dstr Nrolytc Agnt Parverteb Fct A…   3/19/2022   64636      $898.41
1105359-02    E.B.              Citimed Surgery Center LLC                 Dstr Nrolytc Agnt Parverteb Fct A…   3/19/2022   64636      $898.41
1105359-02    E.B.     Surgicore LLC d/b/a Surgicore Surgical Center       Perq Intrdscl Electrothrm Annulop…   12/3/2022   22526     $2,605.78
1105359-02    E.B.     Surgicore LLC d/b/a Surgicore Surgical Center      Dcmprn Perq Nucleus Pulposus 1/> …    12/3/2022   62287     $5,292.93
1104675-04    W.M.          Rockaways ASC Development LLC                   Injection Single/Mlt Trigger Poin… 12/20/2021   20552      $236.69
1104675-04    W.M.          Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  12/20/2021   62323      $976.38
1104675-04    W.M.          Rockaways ASC Development LLC                 Us Guidance Needle Placement Img … 12/20/2021     76942      $341.96
1104675-04    W.M.          Rockaways ASC Development LLC                Arthroscopy Shoulder Dx W/Wo Syno… 1/17/2022       29805     $1,472.45
1104675-04    W.M.          Rockaways ASC Development LLC                 Arthroscopy Shoulder Surg Synovec…    1/17/2022   29821     $5,677.77
1104675-04    W.M.          Rockaways ASC Development LLC                  Arthroscopy Shoulder Surg Debride…   1/17/2022   29823     $1,472.45
1104675-04    W.M.          Rockaways ASC Development LLC                    Unlisted Procedure Arthroscopy…    1/17/2022   29999     $1,472.45
1104675-04    W.M.          Rockaways ASC Development LLC                  Single Nerve Block Injection Arm …   1/17/2022   64415      $979.78
1104675-04    W.M.          Rockaways ASC Development LLC                 Us Guidance Needle Placement Img …    1/17/2022   76942      $341.96
1104675-04    W.M.                       SCOB LLC                         Dcmprn Perq Nucleus Pulposus 1/> …    3/22/2022   62287     $5,292.93
1104675-04    W.M.                       SCOB LLC                         Probe, Percutaneous Lumbar Discec…    3/22/2022   C2614     $2,200.00
1104504-01    J.R.              Citimed Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…    2/25/2022   29821     $5,677.77
1104504-01    J.R.              Citimed Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   2/25/2022   29823     $2,944.87
1104504-01    J.R.              Citimed Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 2/25/2022      29826     $2,944.87
1104504-01    J.R.               Baldwin Medical Services                  Office Consultation New/Estab Pat…    3/3/2022   99245      $410.08
1104504-01    J.R.           New Horizon Surgical Center LLC               Arthrocentesis Aspir&/Inj Major J…   3/22/2022   20610      $236.69
1104504-01    J.R.           New Horizon Surgical Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…   3/22/2022   64490      $447.52
1104504-01    J.R.           New Horizon Surgical Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…   3/22/2022   64490      $976.38
1104504-01    J.R.           New Horizon Surgical Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…   3/22/2022   64491      $447.52
1104504-01    J.R.           New Horizon Surgical Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…   3/22/2022   64491      $447.52
1104504-01    J.R.           New Horizon Surgical Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…   3/22/2022   64492      $447.52
1104504-01    J.R.           New Horizon Surgical Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…   3/22/2022   64492      $447.52
1104504-01    J.R.           New Horizon Surgical Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…   3/22/2022   64492      $447.52
1104504-01    J.R.           New Horizon Surgical Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…   3/22/2022   64492      $447.52
1104504-01    J.R.               Baldwin Medical Services                  Arthrocentesis Aspir&/Inj Major J…   3/22/2022   20610       $62.99
1104504-01    J.R.               Baldwin Medical Services                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   3/22/2022   64490      $138.57
1104504-01    J.R.               Baldwin Medical Services                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   3/22/2022   64491      $103.30
1104504-01    J.R.               Baldwin Medical Services                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   3/22/2022   64492      $103.30
1104504-01    J.R.              Accelerated Surgical Center               Njx Anes&/Strd W/Img Tfrml Edrl L… 3/29/2022      64483     $1,518.48
1104504-01    J.R.              Accelerated Surgical Center               Njx Anes&/Strd W/Img Tfrml Edrl L… 3/29/2022      64484      $776.84
1104504-01    J.R.              Accelerated Surgical Center               Njx Anes&/Strd W/Img Tfrml Edrl L… 3/29/2022      64484      $776.84
1104504-01    J.R.        All City Family Healthcare Center, Inc.         Arthroscopy Knee Synovectomy Limi… 5/19/2022      29875     $1,472.45
1104504-01    J.R.        All City Family Healthcare Center, Inc.          Arthrs Knee Abrasion Arthrp/Mlt D…   5/19/2022   29879     $1,472.45
1104504-01    J.R.        All City Family Healthcare Center, Inc.        Arthrs Knee W/Meniscectomy Med&La… 5/19/2022       29880     $3,026.24
1104504-01    J.R.        All City Family Healthcare Center, Inc.            Unlisted Procedure Arthroscopy…    5/19/2022   29999     $1,472.45
1105004-02    G.C.           Fifth Avenue Surgery Center LLC              Arthroscopy Knee Synovectomy Limi…     2/7/2022   29875     $1,472.45
1105004-02    G.C.           Fifth Avenue Surgery Center LLC              Arthroscopy Knee Synovectomy Limi…     2/7/2022   29875     $1,472.45
1105004-02    G.C.           Fifth Avenue Surgery Center LLC             Arthrs Knee W/Meniscectomy Med&La… 2/7/2022        29880     $3,026.24
1105004-02    G.C.           Fifth Avenue Surgery Center LLC             Arthrs Knee W/Meniscectomy Med&La… 2/7/2022        29880     $3,026.24

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                                                           1785
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1105004-02    G.C.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…        2/7/2022   E0650      $531.06
1105004-02    G.C.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …        2/7/2022   E0666       $89.56
1105004-02    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…     4/12/2022   22526     $2,605.78
1105004-02    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…     4/12/2022   22527     $2,605.79
1105004-02    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …       4/12/2022   62287     $5,292.93
1105004-02    G.C.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…       4/12/2022   e0650      $440.78
1105004-02    G.C.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…       4/12/2022   E0650      $531.06
1105004-02    G.C.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …       4/12/2022   e0666       $74.33
1105004-02    G.C.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …       4/12/2022   E0666       $89.56
1104147-01    B.K.            Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…     1/11/2022   20610      $473.39
1104147-01    B.K.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…      1/11/2022   29821     $5,677.77
1104147-01    B.K.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…      1/11/2022   29823     $1,472.45
1104147-01    B.K.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …     1/11/2022   64415      $979.78
1104147-01    B.K.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      1/11/2022   76942      $341.96
1104147-01    B.K.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…       1/11/2022   e0650      $531.06
1104147-01    B.K.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …       1/11/2022   e0666       $89.56
1105110-02    S.C.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder Dx W/Wo Syno…       1/22/2022   29805     $3,026.24
1105110-02    S.C.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…       1/22/2022   E0650      $531.06
1105110-02    S.C.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …       1/22/2022   E0666       $89.56
1104035-01    K.W.              Manalapan Surgery Center Inc           Arthroscopy Knee Synovectomy 2/>C…       6/21/2022   29876     $1,472.45
1104035-01    K.W.              Manalapan Surgery Center Inc            Arthrs Knee Abrasion Arthrp/Mlt D…      6/21/2022   29879     $1,472.45
1104035-01    K.W.              Manalapan Surgery Center Inc           Arthrs Kne Surg W/Meniscectomy Me…       6/21/2022   29881     $3,026.24
1104035-01    K.W.              Manalapan Surgery Center Inc              Injection Anesthetic Agent Sciati…    6/21/2022   64445      $829.30
1104035-01    K.W.              Manalapan Surgery Center Inc            Us Guidance Needle Placement Img …      6/21/2022   76942      $341.96
1104035-01    K.W.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…       6/21/2022   E0650      $531.06
1104035-01    K.W.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …       6/21/2022   E0666       $89.56
1104035-01    K.W.               Surgicore of Jersey City LLC          Arthroscopy Knee Synovectomy 2/>C…       7/27/2022   29876     $1,472.45
1104035-01    K.W.               Surgicore of Jersey City LLC           Arthrs Knee Abrasion Arthrp/Mlt D…      7/27/2022   29879     $1,472.45
1104035-01    K.W.               Surgicore of Jersey City LLC          Arthrs Kne Surg W/Meniscectomy Me…       7/27/2022   29881     $3,026.24
1104035-01    K.W.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…      7/27/2022   29999     $1,472.45
1104035-01    K.W.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…      7/27/2022   A4649      $195.00
1104602-02    L.E.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      2/21/2022   62323      $976.38
1104602-02    L.E.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      3/13/2022   62321      $976.38
1104602-02    L.E.            Island Ambulatory Surgery Center           Perq Intrdscl Electrothrm Annulop…     5/20/2022   22526     $2,646.46
1104602-02    L.E.            Island Ambulatory Surgery Center           Perq Intrdscl Electrothrm Annulop…     5/20/2022   22527     $2,646.46
1104602-02    L.E.            Island Ambulatory Surgery Center          Dcmprn Perq Nucleus Pulposus 1/> …      5/20/2022   62287     $5,292.93
1104602-02    L.E.            Island Ambulatory Surgery Center           Infectious Agent Antigen Detectio…     5/20/2022   87426      $200.00
1104602-02    L.E.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…       5/20/2022   E0650      $531.06
1104602-02    L.E.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …       5/20/2022   E0666       $89.56
1104602-02    L.E.                       SCOB LLC                       Arthroscopy Shoulder Surg Debride…      8/12/2022   29823     $3,026.24
1104602-02    L.E.                       SCOB LLC                        Arthroscopy Shoulder Ahesiolysis …     8/12/2022   29825     $2,944.87
1103438-02    R.R.              Manalapan Surgery Center Inc            Arthroscopy Shoulder Surgical Rem…     11/16/2021   29819     $1,472.45
1103438-02    R.R.              Manalapan Surgery Center Inc            Arthroscopy Shoulder Surg Synovec…     11/16/2021   29821     $5,677.77
1103438-02    R.R.              Manalapan Surgery Center Inc            Arthroscopy Shoulder Surg Debride…     11/16/2021   29823     $1,472.45
1103438-02    R.R.              Manalapan Surgery Center Inc             Arthroscopy Shoulder Ahesiolysis …    11/16/2021   29825     $1,472.45
1103438-02    R.R.              Manalapan Surgery Center Inc               Unlisted Procedure Arthroscopy…     11/16/2021   29999     $1,472.45
1103438-02    R.R.              Manalapan Surgery Center Inc               Unlisted Procedure Arthroscopy…     11/16/2021   29999     $1,472.45
1103438-02    R.R.              Manalapan Surgery Center Inc             Single Nerve Block Injection Arm …    11/16/2021   64415      $979.78
1103438-02    R.R.              Manalapan Surgery Center Inc            Us Guidance Needle Placement Img …     11/16/2021   76942      $341.96
1103438-02    R.R.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…      11/16/2021   E0650      $531.06
1103438-02    R.R.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …      11/16/2021   E0655       $56.04
1104299-01    L.C.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       1/8/2022   62321      $976.38
1104299-01    L.C.               Surgicore of Jersey City LLC                    Epidurograpy Rs&I…              1/8/2022   72275      $572.53
1104299-01    L.C.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      1/15/2022   62323      $976.38
1104299-01    L.C.               Surgicore of Jersey City LLC                    Epidurograpy Rs&I…             1/15/2022   72275      $572.53
1104299-01    L.C.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      1/22/2022   62321      $976.38
1104299-01    L.C.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       2/5/2022   62323      $976.38
1104299-01    L.C.               Surgicore of Jersey City LLC           Dcmprn Perq Nucleus Pulposus 1/> …      2/19/2022   62287     $5,292.93
1104299-01    L.C.               Surgicore of Jersey City LLC          Anchor/Screw For Opposing Bone-To…       2/19/2022   C1713      $900.00
1104299-01    L.C.               Surgicore of Jersey City LLC           Unlisted Procedure Nervous System…       3/5/2022   64999      $829.30
1104299-01    L.C.               Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…      3/5/2022   L8699     $1,200.00
1104299-01    L.C.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…        3/5/2022   E0650      $531.06
1104299-01    L.C.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …        3/5/2022   E0666       $89.56
1103568-02    D.K.                Hudson Regional Hospital             Radex Foot Complete Minimum 3 Vie…      10/19/2021   73630      $541.40
1103568-02    D.K.                Hudson Regional Hospital             Radex Foot Complete Minimum 3 Vie…       11/9/2021   73630      $541.40
1103568-02    D.K.                Hudson Regional Hospital             Radex Foot Complete Minimum 3 Vie…      11/30/2021   73630      $541.40
1103568-02    D.K.                Hudson Regional Hospital             Radex Foot Complete Minimum 3 Vie…      12/22/2021   73630      $541.40
1103568-02    D.K.         Rockland & Bergen Surgery Center LLC        Arthroscopy Knee Synovectomy Limi…       1/18/2022   29875     $1,472.45

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                                                         1786
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                       Provider                                        Service
 Number      Person                                                                                             Service     Code       Billed
1103568-02    D.K.       Rockland & Bergen Surgery Center LLC                Unlisted Procedure Arthroscopy…    1/18/2022   29999     $1,472.45
1103568-02    D.K.       Rockland & Bergen Surgery Center LLC               Arthroscopy, Knee, Surgical, For …  1/18/2022   G0289     $5,677.77
1103568-02    D.K.             Hudson Regional Hospital                  Radex Ankle Complete Minimum 3 Vi… 1/19/2022       73610      $812.10
1103568-02    D.K.         New Horizon Surgical Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/16/2022   62323      $976.38
1103692-01    D.F.         Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…   2/1/2022   20610      $473.39
1103692-01    D.F.         Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…    2/1/2022   29821     $5,677.77
1103692-01    D.F.         Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    2/1/2022   29823     $1,472.45
1103692-01    D.F.         Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …    2/1/2022   64415      $979.78
1103692-01    D.F.         Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     2/1/2022   76942      $341.96
1103692-01    D.F.                  Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…     2/1/2022   E0650      $531.06
1103692-01    D.F.                  Good Medica Inc                       Nonsegmental Pneumatic Appliance …     2/1/2022   E0666       $89.56
1103575-01    L.M.            Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 11/18/2021     29876     $1,472.45
1103575-01    L.M.            Surgicore of Jersey City LLC               Arthrs Kne Surg W/Meniscectomy Me… 11/18/2021      29881     $3,026.24
1103575-01    L.M.            Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…   11/18/2021   A4649      $195.00
1103575-01    L.M.                  Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 11/18/2021     E0650      $531.06
1103575-01    L.M.                  Good Medica Inc                       Nonsegmental Pneumatic Appliance … 11/18/2021     E0666       $89.56
1103929-02    F.G.         Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/27/2022   62323      $976.38
1103929-02    F.G.            East Tremont Medical Center                  Tenotomy Shoulder Area 1 Tendon…      5/2/2022   23405     $1,839.77
1103929-02    F.G.            East Tremont Medical Center                Arthroscopy Shoulder Dx W/Wo Syno…      5/2/2022   29805        $1.00
1103929-02    F.G.            East Tremont Medical Center                  Arthroscopy Shoulder Surg Synovec…    5/2/2022   29821     $5,677.77
1103929-02    F.G.            East Tremont Medical Center                  Arthroscopy Shoulder Distal Clavi…    5/2/2022   29824     $1,472.45
1103929-02    F.G.            East Tremont Medical Center                  Arthroscopy Shoulder Ahesiolysis …    5/2/2022   29825     $1,472.45
1103929-02    F.G.            East Tremont Medical Center                 Arthroscopy Shoulder W/Coracoacrm…     5/2/2022   29826     $1,472.45
1103929-02    F.G.            East Tremont Medical Center                    Unlisted Procedure Arthroscopy…     5/2/2022   29999     $1,472.45
1103929-02    F.G.       All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/11/2022   62323      $976.38
1103929-02    F.G.            Citimed Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/25/2022   62323      $976.38
1103929-02    F.G.       Bronx SC LLC d/b/a Empire State ASC                Injection Single/Mlt Trigger Poin…  6/13/2022   20552      $236.69
1103929-02    F.G.       Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/13/2022   62321      $976.38
1103929-02    F.G.       Bronx SC LLC d/b/a Empire State ASC              Us Guidance Needle Placement Img …    6/13/2022   76942      $341.96
1103929-02    F.G.         Fifth Avenue Surgery Center LLC                  Injection Single/Mlt Trigger Poin…   7/6/2022   20553      $236.69
1103929-02    F.G.         Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/6/2022   62321      $976.38
1103929-02    F.G.         Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     7/6/2022   76942      $341.96
1103929-02    F.G.       Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/1/2022   62321      $976.38
1103351-03    M.H.            Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 10/28/2021     29876     $1,472.45
1103351-03    M.H.            Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 10/28/2021      29880     $3,026.24
1103351-03    M.H.            Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…   10/28/2021   A4649      $195.00
1103351-03    M.H.            Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For … 10/28/2021   G0289     $1,472.45
1103351-03    M.H.            Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For … 10/28/2021   G0289     $1,472.45
1103351-03    M.H.                  Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 10/28/2021     E0650      $531.06
1103351-03    M.H.                  Good Medica Inc                       Nonsegmental Pneumatic Appliance … 10/28/2021     E0666       $89.56
1103163-02    J.R.           Manalapan Surgery Center Inc                 Arthroscopy Knee Synovectomy 2/>C… 4/19/2022      29876     $1,472.45
1103163-02    J.R.           Manalapan Surgery Center Inc                Arthrs Kne Surg W/Meniscectomy Me… 4/19/2022       29881     $3,026.24
1103163-02    J.R.           Manalapan Surgery Center Inc                   Injection Anesthetic Agent Sciati…  4/19/2022   64445      $829.30
1103163-02    J.R.           Manalapan Surgery Center Inc                 Us Guidance Needle Placement Img …    4/19/2022   76942      $341.96
1103163-02    J.R.           Manalapan Surgery Center Inc                  Infectious Agent Detection By Nuc…   4/19/2022   87635       $51.33
1103163-02    J.R.                  Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 4/19/2022      E0650      $531.06
1103163-02    J.R.                  Good Medica Inc                       Nonsegmental Pneumatic Appliance …    4/19/2022   E0666       $89.56
1103279-01    T.S.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…   6/22/2022   29821     $5,677.77
1103279-01    T.S.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…   6/22/2022   29823     $1,472.45
1103279-01    T.S.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …   6/22/2022   29825     $1,472.45
1103279-01    T.S.            Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    6/22/2022   29999     $1,472.45
1103279-01    T.S.            Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    6/22/2022   29999     $1,472.45
1103279-01    T.S.            Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …   6/22/2022   64415      $979.78
1103279-01    T.S.            Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …    6/22/2022   76942      $341.96
1103279-01    T.S.            Surgicore of Jersey City LLC                 Infectious Agent Detection By Nuc…   6/22/2022   87635       $51.33
1103279-01    T.S.            Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    6/22/2022   A4649      $185.00
1103279-01    T.S.            Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 7/13/2022      29876     $1,472.45
1103279-01    T.S.            Surgicore of Jersey City LLC               Arthrs Kne Surg W/Meniscectomy Me… 7/13/2022       29881     $3,026.24
1103279-01    T.S.            Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    7/13/2022   29999     $1,472.45
1103279-01    T.S.            Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    7/13/2022   29999     $1,472.45
1103279-01    T.S.            Surgicore of Jersey City LLC                 Infectious Agent Detection By Nuc…   7/13/2022   87635       $51.33
1103279-01    T.S.            Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    7/13/2022   A4649      $195.00
1103279-01    T.S.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…    8/3/2022   29821     $5,677.77
1103279-01    T.S.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…    8/3/2022   29823     $1,472.45
1103279-01    T.S.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …    8/3/2022   29825     $1,472.45
1103279-01    T.S.            Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…     8/3/2022   29999     $1,472.45
1103279-01    T.S.            Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…     8/3/2022   29999     $1,472.45
1103279-01    T.S.            Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …    8/3/2022   64415      $979.78

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                       Provider                                         Service
 Number      Person                                                                                              Service     Code       Billed
1103279-01    T.S.             Surgicore of Jersey City LLC               Us Guidance Needle Placement Img …      8/3/2022   76942      $341.96
1103279-01    T.S.             Surgicore of Jersey City LLC                Infectious Agent Detection By Nuc…     8/3/2022   87635       $51.33
1103279-01    T.S.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     8/3/2022   A4649      $180.00
1103279-01    T.S.          Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…    1/4/2023   22526     $2,648.32
1103279-01    T.S.          Island Ambulatory Surgery Center               Dcmprn Perq Nucleus Pulposus 1/> …     1/4/2023   62287     $5,296.65
1103279-01    T.S.          Island Ambulatory Surgery Center                Infectious Agent Antigen Detectio…    1/4/2023   87426      $200.00
1103279-01    T.S.          Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…   5/11/2023   22526     $2,648.32
1103279-01    T.S.          Island Ambulatory Surgery Center               Dcmprn Perq Nucleus Pulposus 1/> …    5/11/2023   62287     $5,296.65
1103279-01    T.S.          Island Ambulatory Surgery Center                Infectious Agent Antigen Detectio…   5/11/2023   87426      $200.00
1104250-03    D.V.             East Tremont Medical Center               Anes Nerve Musc Tendon Fascia&Bur… 11/22/2021        1320     $1,080.00
1104250-03    D.V.             East Tremont Medical Center                Arthroscopy Knee Synovectomy Limi… 11/22/2021      29875     $2,803.89
1104250-03    D.V.             East Tremont Medical Center                Arthroscopy Knee Synovectomy 2/>C… 11/22/2021      29876     $3,265.90
1104250-03    D.V.             East Tremont Medical Center                Arthrs Knee Debridement/Shaving A… 11/22/2021      29877     $2,791.29
1104250-03    D.V.             East Tremont Medical Center               Arthroscopy Knee W/Meniscus Rpr M… 11/22/2021       29883      $900.00
1104250-03    D.V.             East Tremont Medical Center               Arthroscopy Knee W/Meniscus Rpr M… 11/22/2021       29883     $4,530.00
1104250-03    D.V.             East Tremont Medical Center                 Infectious Agent Detection By Nuc…   11/22/2021   87635      $250.00
1104250-03    D.V.             East Tremont Medical Center                 Office Consultation New/Estab Pat…   11/22/2021   99241      $135.00
1104250-03    D.V.             East Tremont Medical Center                   Arthroscopy, Knee, Surgical, For … 11/22/2021   G0289     $1,580.00
1104250-03    D.V.       Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/23/2022   62323      $976.38
1104088-02    B.R.       All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/24/2021   62321      $976.38
1104088-02    B.R.       All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…          11/24/2021   72275      $572.53
1104088-02    B.R.                     SCOB LLC                             Arthrocentesis Aspir&/Inj Major J…   12/3/2021   20610      $473.39
1104088-02    B.R.                     SCOB LLC                           Arthroscopy Knee Synovectomy 2/>C… 12/3/2021       29876     $3,026.24
1104088-02    B.R.                     SCOB LLC                              Unlisted Procedure Arthroscopy…     12/3/2021   29999     $2,944.87
1104088-02    B.R.       All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/22/2021   62321      $976.38
1104088-02    B.R.       All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…          12/22/2021   72275      $572.53
1102990-02    H.G.       Rockland & Bergen Surgery Center LLC              Arthroscopy Shoulder Surg Synovec…    3/15/2022   29821     $5,677.77
1102990-02    H.G.       Rockland & Bergen Surgery Center LLC              Arthroscopy Shoulder Surg Debride…    3/15/2022   29823     $1,472.45
1102990-02    H.G.       Rockland & Bergen Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …    3/15/2022   29825     $1,472.45
1102990-02    H.G.       Rockland & Bergen Surgery Center LLC              Single Nerve Block Injection Arm …    3/15/2022   64415      $979.78
1102990-02    H.G.       Rockland & Bergen Surgery Center LLC             Us Guidance Needle Placement Img …     3/15/2022   76942      $341.96
1103566-01    R.A.                     SCOB LLC                           Arthroscopy Knee Synovectomy 2/>C… 12/15/2021      29876     $3,026.24
1103566-01    R.A.                     SCOB LLC                          Arthrs Knee W/Meniscectomy Med&La… 12/15/2021       29880     $2,944.87
1103566-01    R.A.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…    3/1/2022   22526     $2,605.78
1103566-01    R.A.         Rockaways ASC Development LLC                   Dcmprn Perq Nucleus Pulposus 1/> …     3/1/2022   62287     $5,292.93
1103566-01    R.A.         Rockaways ASC Development LLC                   Infectious Agent Detection By Nuc…     3/1/2022   87635       $51.33
1103760-01    J.R.          Fifth Avenue Surgery Center LLC                 Arthrocentesis Aspir&/Inj Major J…    2/5/2022   20610      $473.38
1103760-01    J.R.          Fifth Avenue Surgery Center LLC               Arthroscopy Knee Synovectomy Limi…      2/5/2022   29875     $1,472.45
1103760-01    J.R.          Fifth Avenue Surgery Center LLC              Arthrs Knee W/Meniscectomy Med&La… 2/5/2022         29880     $3,026.24
1103760-01    J.R.          Fifth Avenue Surgery Center LLC               Arthroscopy Knee W/Lysis Adhesion…      2/5/2022   29884     $1,472.45
1103760-01    J.R.          Fifth Avenue Surgery Center LLC                  Unlisted Procedure Arthroscopy…      2/5/2022   29999     $1,472.45
1103760-01    J.R.          Fifth Avenue Surgery Center LLC                Single Nerve Block Injection Arm …     2/5/2022   64415      $979.78
1103760-01    J.R.          Fifth Avenue Surgery Center LLC                Single Nerve Block Injection Arm …     2/5/2022   64415      $979.78
1103760-01    J.R.          Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …      2/5/2022   76942      $341.96
1103760-01    J.R.          Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …      2/5/2022   76942      $341.96
1103760-01    J.R.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…      2/5/2022   E0650      $531.06
1103760-01    J.R.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …      2/5/2022   E0666       $89.56
1103237-01    S.M.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec… 11/19/2021     29821     $2,798.20
1103237-01    S.M.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   11/19/2021   29823     $1,472.45
1103237-01    S.M.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …   11/19/2021   29825     $1,472.45
1103237-01    S.M.       All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 11/19/2021      29826     $1,472.45
1103237-01    S.M.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Rotator Cuff…   11/19/2021   29827     $5,677.77
1103237-01    S.M.       All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…    11/19/2021   29999     $1,472.45
1103237-01    S.M.       All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   11/19/2021   64415      $979.78
1103237-01    S.M.       All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img … 11/19/2021      76942      $341.96
1103237-01    S.M.               Bay Ridge Surgi Center                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    10/4/2022   62323      $976.38
1103237-01    S.M.               Bay Ridge Surgi Center                                Surgical Trays…           10/4/2022   A4550     $1,000.00
1103237-01    S.M.               Bay Ridge Surgi Center                     Injection, Methylprednisolone Ace…   10/4/2022   J1030     $1,000.00
1103237-01    S.M.               Bay Ridge Surgi Center                     Injection, Methylprednisolone Ace…   10/4/2022   J1030     $1,000.00
1103237-01    S.M.               Bay Ridge Surgi Center                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/18/2022   62323      $976.38
1103237-01    S.M.               Bay Ridge Surgi Center                                Surgical Trays…          10/18/2022   A4550     $1,000.00
1103237-01    S.M.               Bay Ridge Surgi Center                     Injection, Methylprednisolone Ace…  10/18/2022   J1030     $1,000.00
1103237-01    S.M.               Bay Ridge Surgi Center                     Injection, Methylprednisolone Ace…  10/18/2022   J1030     $1,000.00
1103237-01    S.M.               Bay Ridge Surgi Center                    Dcmprn Perq Nucleus Pulposus 1/> …    11/1/2022   62287     $5,292.93
1103237-01    S.M.               Bay Ridge Surgi Center                                Surgical Trays…           11/1/2022   A4550     $1,000.00
1103237-01    S.M.               Bay Ridge Surgi Center                     Injection, Methylprednisolone Ace…   11/1/2022   J1030     $1,000.00
1103237-01    S.M.               Bay Ridge Surgi Center                     Injection, Methylprednisolone Ace…   11/1/2022   J1030     $1,000.00
1103237-01    S.M.               Bay Ridge Surgi Center                     Inject Si Joint Arthrgrphy&/Anes/…  11/15/2022   27096     $1,880.84

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                                                           1788
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1103237-01    S.M.                  Bay Ridge Surgi Center                           Surgical Trays…          11/15/2022   A4550      $1,000.00
1103237-01    S.M.                  Bay Ridge Surgi Center                Injection, Methylprednisolone Ace…  11/15/2022   J1030      $1,000.00
1103237-01    S.M.                  Bay Ridge Surgi Center                Injection, Methylprednisolone Ace…  11/15/2022   J1030      $1,000.00
1102803-01    M.V.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…    3/11/2022   29821      $5,677.77
1102803-01    M.V.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…    3/11/2022   29823      $1,472.45
1102803-01    M.V.               Surgicore of Jersey City LLC           Arthroscopy Shoulder W/Coracoacrm… 3/11/2022       29826      $1,472.45
1102803-01    M.V.               Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …   3/11/2022   64415       $979.78
1102803-01    M.V.               Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …    3/11/2022   76942       $341.96
1102803-01    M.V.               Surgicore of Jersey City LLC             Infectious Agent Detection By Nuc…   3/11/2022   87635        $51.33
1102803-01    M.V.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…    3/11/2022   A4649       $285.00
1102803-01    M.V.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 3/11/2022       E0650       $531.06
1102803-01    M.V.                     Good Medica Inc                   Nonsegmental Pneumatic Appliance …    3/11/2022   E0666        $89.56
1102803-01    M.V.                     Good Medica Inc                   So, Acromio/Clavicular (Canvas An…    3/11/2022   L3670       $111.07
1102816-01    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…      2/11/2022   29821      $5,677.77
1102816-01    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…      2/11/2022   29823      $1,472.45
1102816-01    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 2/11/2022        29826      $1,472.45
1102816-01    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center    Single Nerve Block Injection Arm …   2/11/2022   64415       $979.78
1102816-01    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …      2/11/2022   76942       $341.96
1102816-01    E.S.                     Good Medica Inc                   So, Acromio/Clavicular (Canvas An…    2/11/2022   L3670       $111.07
1103022-02    R.D.                     Triborough ASC                      Injection Single/Mlt Trigger Poin… 11/10/2021   20553       $554.74
1103022-02    R.D.                     Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/10/2021   62323       $976.38
1103022-02    R.D.                     Triborough ASC                             Epidurograpy Rs&I…          11/10/2021   72275       $572.52
1103022-02    R.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…      3/12/2022   29821      $5,677.77
1103022-02    R.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…      3/12/2022   29823      $1,472.45
1103022-02    R.D.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Ahesiolysis …   3/12/2022   29825      $1,472.45
1103022-02    R.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 3/12/2022        29826      $1,472.45
1103022-02    R.D.     NYEEQASC LLC d/b/a North Queens Surgical Center      Unlisted Procedure Arthroscopy…    3/12/2022   29999      $1,472.45
1103022-02    R.D.     NYEEQASC LLC d/b/a North Queens Surgical Center    Single Nerve Block Injection Arm …   3/12/2022   64415       $979.78
1103022-02    R.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …      3/12/2022   76942       $341.96
1103022-02    R.D.     NYEEQASC LLC d/b/a North Queens Surgical Center    Infectious Agent Detection By Nuc…   3/12/2022   87635        $51.33
1103022-02    R.D.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 3/12/2022       E0650       $531.06
1103940-01    U.S.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/29/2022   62323       $976.38
1103940-01    U.S.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Surg Synovec…    9/22/2022   29820      $1,472.45
1103940-01    U.S.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Surg Debride…    9/22/2022   29823      $2,944.87
1103940-01    U.S.            New Horizon Surgical Center LLC             Arthroscopy Shoulder Ahesiolysis …   9/22/2022   29825      $1,553.82
1103940-01    U.S.            New Horizon Surgical Center LLC             Arthroscopy Shoulder Rotator Cuff…   9/22/2022   29827      $6,723.47
1103940-01    U.S.            New Horizon Surgical Center LLC             Single Nerve Block Injection Arm …   9/22/2022   64415       $979.78
1103940-01    U.S.            New Horizon Surgical Center LLC            Us Guidance Needle Placement Img …    9/22/2022   76942       $341.96
1103940-01    U.S.            New Horizon Surgical Center LLC           Anchor/Screw For Opposing Bone-To… 9/22/2022       C1713       $425.00
1103940-01    U.S.            New Horizon Surgical Center LLC              Prosthetic Implant, Not Otherwise…  9/22/2022   L8699       $508.00
1103652-02    T.H.          All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  11/18/2021   62321       $976.38
1103652-02    T.H.          All City Family Healthcare Center, Inc.               Epidurograpy Rs&I…          11/18/2021   72275       $572.53
1103652-02    T.H.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 2/16/2022       E0650        $89.56
1103652-02    T.H.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 2/16/2022       E0650       $531.06
1103652-03    A.P.          All City Family Healthcare Center, Inc.        Injection Single/Mlt Trigger Poin…  11/4/2021   20552       $236.69
1103652-03    A.P.          All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/4/2021   62321       $976.38
1103652-03    A.P.          All City Family Healthcare Center, Inc.      Us Guidance Needle Placement Img …    11/4/2021   76942       $341.96
1103652-03    A.P.          All City Family Healthcare Center, Inc.        Injection Single/Mlt Trigger Poin… 11/18/2021   20552       $236.69
1103652-03    A.P.          All City Family Healthcare Center, Inc.       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  11/18/2021   62321       $976.38
1103652-03    A.P.          All City Family Healthcare Center, Inc.               Epidurograpy Rs&I…          11/18/2021   72275       $572.53
1103652-03    A.P.          All City Family Healthcare Center, Inc.      Us Guidance Needle Placement Img … 11/18/2021     76942       $341.96
1103652-03    A.P.                Hudson Regional Hospital                Myocardial Spect Single Study At …   1/14/2022   78451      $8,008.84
1103652-03    A.P.                Hudson Regional Hospital                Myocardial Spect Multiple Studies…   1/14/2022   78452     $13,702.00
1103652-03    A.P.                Hudson Regional Hospital                  Comprehensive Metabolic Panel…     1/14/2022   80053       $150.00
1103652-03    A.P.                Hudson Regional Hospital               Drug Tst Prsmv Instrmnt Chem Anal…    1/14/2022   80307       $359.15
1103652-03    A.P.                Hudson Regional Hospital                Urnls Dip Stick/Tablet Reagent Au…   1/14/2022   81001       $134.00
1103652-03    A.P.                Hudson Regional Hospital                  Hemoglobin Glycosylated A1C…       1/14/2022   83036        $66.70
1103652-03    A.P.                Hudson Regional Hospital                Gonadotropin Chorionic Qualitativ…   1/14/2022   84703        $51.65
1103652-03    A.P.                Hudson Regional Hospital              Blood Count Complete Auto&Auto Di… 1/14/2022       85025       $147.00
1103652-03    A.P.                Hudson Regional Hospital                         Prothrombin Time…           1/14/2022   85610       $143.00
1103652-03    A.P.                Hudson Regional Hospital               Thromboplastin Time Partial Plasm…    1/14/2022   85730       $147.00
1103652-03    A.P.                Hudson Regional Hospital               Antibody Screen Rbc Each Serum Te…    1/14/2022   86850       $105.80
1103652-03    A.P.                Hudson Regional Hospital                   Blood Typing Serologic Abo…       1/14/2022   86900       $498.84
1103652-03    A.P.                Hudson Regional Hospital                  Blood Typing Serologic Rh (D)…     1/14/2022   86901        $56.95
1103652-03    A.P.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…   1/14/2022   87635      $1,200.00
1103652-03    A.P.                Hudson Regional Hospital                 Iadna S Aureus Methicillin Resist…  1/14/2022   87641       $241.40
1103652-03    A.P.                Hudson Regional Hospital               Ecg Routine Ecg W/Least 12 Lds Tr…    1/14/2022   93005       $323.70
1103652-03    A.P.                Hudson Regional Hospital             Echo Tthrc R-T 2D W/Wom-Mode Comp… 1/14/2022        93306      $5,074.90

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                                                           1789
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1103652-03    A.P.                Hudson Regional Hospital                Radiopharmaceutical, Diagnostic, …   1/14/2022   A4641      $688.00
1103652-03    A.P.           Rockaways ASC Development LLC                Arthrocentesis Aspir&/Inj Major J…   1/17/2022   20610      $473.38
1103652-03    A.P.           Rockaways ASC Development LLC              Arthroscopy Knee Diagnostic W/Wo … 1/17/2022       29870     $1,472.45
1103652-03    A.P.           Rockaways ASC Development LLC              Arthroscopy Knee Synovectomy Limi… 1/17/2022       29875     $1,472.45
1103652-03    A.P.           Rockaways ASC Development LLC             Arthrs Knee W/Meniscectomy Med&La… 1/17/2022        29880     $3,026.24
1103652-03    A.P.                Hudson Regional Hospital                  Comprehensive Metabolic Panel…     2/24/2022   80053      $150.00
1103652-03    A.P.                Hudson Regional Hospital              Drug Tst Prsmv Instrmnt Chem Anal…     2/24/2022   80307      $359.15
1103652-03    A.P.                Hudson Regional Hospital               Urnls Dip Stick/Tablet Reagent Au…    2/24/2022   81001      $134.00
1103652-03    A.P.                Hudson Regional Hospital                  Hemoglobin Glycosylated A1C…       2/24/2022   83036       $66.70
1103652-03    A.P.                Hudson Regional Hospital               Gonadotropin Chorionic Qualitativ…    2/24/2022   84703       $51.65
1103652-03    A.P.                Hudson Regional Hospital             Blood Count Complete Auto&Auto Di… 2/24/2022        85025      $147.00
1103652-03    A.P.                Hudson Regional Hospital                         Prothrombin Time…           2/24/2022   85610      $143.00
1103652-03    A.P.                Hudson Regional Hospital               Thromboplastin Time Partial Plasm…    2/24/2022   85730      $147.00
1103652-03    A.P.                Hudson Regional Hospital              Antibody Screen Rbc Each Serum Te…     2/24/2022   86850      $105.80
1103652-03    A.P.                Hudson Regional Hospital                   Blood Typing Serologic Abo…       2/24/2022   86900      $498.84
1103652-03    A.P.                Hudson Regional Hospital                  Blood Typing Serologic Rh (D)…     2/24/2022   86901       $56.95
1103652-03    A.P.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…    2/24/2022   87635     $1,200.00
1103652-03    A.P.                Hudson Regional Hospital                Iadna S Aureus Methicillin Resist…   2/24/2022   87641      $241.40
1103652-03    A.P.                Hudson Regional Hospital               Ecg Routine Ecg W/Least 12 Lds Tr…    2/24/2022   93005      $323.70
1103440-01    B.O.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi… 11/10/2021       29875     $1,472.45
1103440-01    B.O.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee Abrasion Arthrp/Mlt D… 11/10/2021       29879     $1,472.45
1103440-01    B.O.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 11/10/2021       29880     $3,026.24
1103440-01    B.O.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 11/10/2021      E0650      $531.06
1103440-01    B.O.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance … 11/10/2021      E0666       $89.56
1102675-01    P.A.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    12/4/2021   62321      $976.38
1102675-01    P.A.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 12/30/2021      29875     $1,472.45
1102675-01    P.A.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 12/30/2021       29880     $3,026.24
1102675-01    P.A.          All City Family Healthcare Center, Inc.     Arthroscopy Knee W/Lysis Adhesion… 12/30/2021      29884     $1,472.45
1102675-01    P.A.          All City Family Healthcare Center, Inc.         Unlisted Procedure Arthroscopy…   12/30/2021   29999     $1,472.45
1102675-01    P.A.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical, For …  12/30/2021   g0289     $1,472.45
1102891-02    M.F.               Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/10/2021   62320      $976.38
1102891-02    M.F.               Surgicore of Jersey City LLC                     Epidurograpy Rs&I…          12/10/2021   72275      $572.53
1102891-02    M.F.               East Tremont Medical Center             Arthroscopy Shoulder Surg Debride…    1/31/2022   29823     $4,530.00
1102891-02    M.F.               East Tremont Medical Center            Arthroscopy Knee Synovectomy Limi… 1/31/2022       29875     $1,803.89
1102891-02    M.F.               East Tremont Medical Center            Arthroscopy Knee Synovectomy 2/>C… 1/31/2022       29876      $900.00
1102891-02    M.F.               East Tremont Medical Center            Arthroscopy Knee Synovectomy 2/>C… 1/31/2022       29876     $2,065.90
1102891-02    M.F.               East Tremont Medical Center            Arthrs Knee Debridement/Shaving A…     1/31/2022   29877     $1,791.29
1102891-02    M.F.               East Tremont Medical Center             Arthrs Knee Abrasion Arthrp/Mlt D…    1/31/2022   29879     $4,016.15
1102891-02    M.F.               East Tremont Medical Center             Diagnostic Bone Marrow Aspiration…    1/31/2022   38220      $360.00
1102891-02    M.F.               East Tremont Medical Center              Arthroscopy, Knee, Surgical, For …   1/31/2022   g0289     $1,580.00
1102158-02    L.R.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…  11/16/2021   20610      $473.39
1102158-02    L.R.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 11/16/2021      29875     $1,472.45
1102158-02    L.R.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 11/16/2021       29880     $3,026.24
1102158-02    L.R.            Fifth Avenue Surgery Center LLC            Injection Anesthetic Agent Femora…   11/16/2021   64447      $829.30
1102158-02    L.R.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img … 11/16/2021      76942      $341.96
1102158-02    L.R.            Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical, For …  11/16/2021   G0289     $1,472.45
1102158-02    L.R.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 11/16/2021      E0650      $531.06
1102158-02    L.R.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance … 11/16/2021      E0666       $89.56
1102158-02    L.R.           Rockaways ASC Development LLC                 Injection Single/Mlt Trigger Poin…  1/23/2022   20552      $236.69
1102158-02    L.R.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/23/2022   62323      $976.38
1102158-02    L.R.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     1/23/2022   76942      $341.96
1102166-01    A.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec… 10/21/2021     29821     $5,677.77
1102166-01    A.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…   10/21/2021   29823     $1,472.45
1102166-01    A.M.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …  10/21/2021   29825     $1,472.45
1102166-01    A.M.               Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…   10/21/2021   29999     $1,472.45
1102166-01    A.M.               Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …  10/21/2021   64415      $979.78
1102166-01    A.M.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img … 10/21/2021      76942      $341.96
1102166-01    A.M.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…  10/21/2021   L8699      $185.00
1102166-01    A.M.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 10/21/2021      e0650      $531.06
1102166-01    A.M.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance … 10/21/2021      e0666       $89.56
1102323-02    K.B.                       SCOB LLC                          Injection Single/Mlt Trigger Poin… 11/18/2021   20553      $473.39
1102323-02    K.B.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/18/2021   62323      $976.38
1102323-02    K.B.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/1/2022   62321      $976.38
1102323-02    K.B.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin…  2/28/2022   20553      $236.69
1102323-02    K.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      2/28/2022   62323      $976.38
1102153-02    K.R.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C…      2/2/2022   29876     $1,472.45
1102153-02    K.R.               Surgicore of Jersey City LLC            Arthrs Knee Abrasion Arthrp/Mlt D…     2/2/2022   29879     $1,472.45
1102153-02    K.R.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 2/2/2022         29880     $1,472.45

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                                                          1790
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                                Service     Code       Billed
1102153-02    K.R.              Surgicore of Jersey City LLC                  Surgical Supply; Miscellaneous…       2/2/2022   A4649      $195.00
1102153-02    K.R.              Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical, For …     2/2/2022   G0289     $5,677.77
1102153-02    K.R.                    Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…        2/2/2022   E0650      $531.06
1102153-02    K.R.                    Good Medica Inc                     Nonsegmental Pneumatic Appliance …        2/2/2022   E0666       $89.56
1101999-01    N.W.              Surgicore of Jersey City LLC              Arthroscopy Shoulder Dx W/Wo Syno…      12/10/2021   29805     $3,026.24
1101999-01    N.W.              Surgicore of Jersey City LLC              Arthroscopy Knee Synovectomy Limi…      12/10/2021   29875     $1,472.45
1101999-01    N.W.              Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical, For …   12/10/2021   G0289     $1,472.45
1101999-01    N.W.              Surgicore of Jersey City LLC                Prosthetic Implant, Not Otherwise…    12/10/2021   L8699     $1,250.00
1101999-01    N.W.                    Good Medica Inc                      Cane, Quad Or Three-Prong, Includ…     12/10/2021   E0105       $18.75
1101999-01    N.W.                    Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…      12/10/2021   E0650      $531.06
1101999-01    N.W.                    Good Medica Inc                     Nonsegmental Pneumatic Appliance …      12/10/2021   E0666       $89.56
1101999-01    N.W.                    Good Medica Inc                      So, Acromio/Clavicular (Canvas An…     12/10/2021   L3670      $111.07
1101999-01    N.W.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Synovec…      1/24/2022   29821     $5,677.77
1101999-01    N.W.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Synovec…      1/24/2022   29821     $5,677.77
1101999-01    N.W.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Debride…      1/24/2022   29823     $1,472.45
1101999-01    N.W.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Debride…      1/24/2022   29823     $1,472.45
1101999-01    N.W.              Surgicore of Jersey City LLC              Arthroscopy Shoulder W/Coracoacrm…       1/24/2022   29826     $1,472.45
1101999-01    N.W.              Surgicore of Jersey City LLC              Arthroscopy Shoulder W/Coracoacrm…       1/24/2022   29826     $1,472.45
1101999-01    N.W.              Surgicore of Jersey City LLC                Single Nerve Block Injection Arm …     1/24/2022   64415      $979.78
1101999-01    N.W.              Surgicore of Jersey City LLC                Single Nerve Block Injection Arm …     1/24/2022   64415      $979.78
1101999-01    N.W.              Surgicore of Jersey City LLC               Us Guidance Needle Placement Img …      1/24/2022   76942      $341.96
1101999-01    N.W.              Surgicore of Jersey City LLC               Us Guidance Needle Placement Img …      1/24/2022   76942      $341.96
1101999-01    N.W.              Surgicore of Jersey City LLC                  Surgical Supply; Miscellaneous…      1/24/2022   A4649      $285.00
1101999-01    N.W.              Surgicore of Jersey City LLC                  Surgical Supply; Miscellaneous…      1/24/2022   a4649      $285.00
1101999-01    N.W.                    Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…       1/24/2022   E0650      $531.06
1101999-01    N.W.                    Good Medica Inc                     Nonsegmental Pneumatic Appliance …       1/24/2022   E0666       $89.56
1101999-01    N.W.                    Good Medica Inc                      So, Acromio/Clavicular (Canvas An…      1/24/2022   L3670      $111.07
1102702-02    M.M.              Surgicore of Jersey City LLC               Rinsj Rptd Biceps/Triceps Tdn Dst…     10/22/2021   24342     $3,760.88
1102702-02    M.M.              Surgicore of Jersey City LLC                Single Nerve Block Injection Arm …    10/22/2021   64415      $979.78
1102702-02    M.M.              Surgicore of Jersey City LLC               Us Guidance Needle Placement Img …     10/22/2021   76942      $341.96
1102702-02    M.M.              Surgicore of Jersey City LLC                Prosthetic Implant, Not Otherwise…    10/22/2021   L8699     $1,317.35
1102702-02    M.M.                    Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…      10/22/2021   E0650      $531.06
1102702-02    M.M.                    Good Medica Inc                     Nonsegmental Pneumatic Appliance …      10/22/2021   E0666       $89.56
1102702-02    M.M.                    Good Medica Inc                      So, Acromio/Clavicular (Canvas An…     10/22/2021   L3670      $111.07
1102062-01    C.R.           Fifth Avenue Surgery Center LLC                Arthrocentesis Aspir&/Inj Major J…     11/2/2021   20610      $473.39
1102062-01    C.R.           Fifth Avenue Surgery Center LLC              Arthroscopy Knee Synovectomy Limi…       11/2/2021   29875     $1,472.45
1102062-01    C.R.           Fifth Avenue Surgery Center LLC              Arthrs Kne Surg W/Meniscectomy Me…       11/2/2021   29881     $3,026.24
1102062-01    C.R.           Fifth Avenue Surgery Center LLC                Injection Anesthetic Agent Femora…     11/2/2021   64447      $829.30
1102062-01    C.R.           Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …      11/2/2021   76942      $341.96
1102062-01    C.R.                    Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…       11/2/2021   E0650      $531.06
1102062-01    C.R.                    Good Medica Inc                     Nonsegmental Pneumatic Appliance …       11/2/2021   E0666       $89.56
1102667-02    A.E.           Island Ambulatory Surgery Center             Extrcorpl Shock Wave Muscskele No…       11/5/2021   0101t      $893.24
1102667-02    A.E.           Island Ambulatory Surgery Center              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      11/5/2021   62321      $976.38
1102667-02    A.E.           Island Ambulatory Surgery Center                       Epidurograpy Rs&I…             11/5/2021   72275      $572.52
1102667-02    A.E.           Fifth Avenue Surgery Center LLC               Arthroscopy Wrist Surgical Synove…      7/23/2022   29845     $3,026.24
1102667-02    A.E.           Fifth Avenue Surgery Center LLC               Arthrs Wrst Exc&/Rpr Triang Fibro…      7/23/2022   29846     $1,472.45
1102667-02    A.E.           Fifth Avenue Surgery Center LLC                Single Nerve Block Injection Arm …     7/23/2022   64415      $979.78
1102667-02    A.E.           Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …      7/23/2022   76942      $341.96
1101711-01    S.B.     Surgicore LLC d/b/a Surgicore Surgical Center       Arthroscopy Shoulder Surg Synovec…      11/8/2021   29821     $5,677.77
1101711-01    S.B.     Surgicore LLC d/b/a Surgicore Surgical Center       Arthroscopy Shoulder Surg Debride…      11/8/2021   29823     $1,472.45
1101711-01    S.B.     Surgicore LLC d/b/a Surgicore Surgical Center        Arthroscopy Shoulder Ahesiolysis …     11/8/2021   29825     $1,472.45
1101711-01    S.B.     Surgicore LLC d/b/a Surgicore Surgical Center         Unlisted Procedure Arthroscopy…       11/8/2021   29999     $1,472.45
1101711-01    S.B.     Surgicore LLC d/b/a Surgicore Surgical Center        Single Nerve Block Injection Arm …     11/8/2021   64415      $979.78
1101711-01    S.B.     Surgicore LLC d/b/a Surgicore Surgical Center       Us Guidance Needle Placement Img …      11/8/2021   76942      $341.96
1101711-01    S.B.           Fifth Avenue Surgery Center LLC                Arthrocentesis Aspir&/Inj Major J…    12/23/2021   20610      $473.39
1101711-01    S.B.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Synovec…     12/23/2021   29821     $5,677.77
1101711-01    S.B.           Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Ahesiolysis …    12/23/2021   29825     $1,472.45
1101711-01    S.B.           Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Ahesiolysis …    12/23/2021   29825     $1,472.45
1101711-01    S.B.           Fifth Avenue Surgery Center LLC                 Unlisted Procedure Arthroscopy…      12/23/2021   29999     $1,472.45
1101711-01    S.B.           Fifth Avenue Surgery Center LLC                Single Nerve Block Injection Arm …    12/23/2021   64415      $979.78
1101711-01    S.B.           Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …     12/23/2021   76942      $341.96
1101711-01    S.B.                    Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…      12/23/2021   E0650      $531.06
1101711-01    S.B.                    Good Medica Inc                     Nonsegmental Pneumatic Appliance …      12/23/2021   E0666       $89.56
1101970-02    A.D.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Synovec…      12/2/2021   29821     $5,677.77
1101970-02    A.D.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Debride…      12/2/2021   29823     $1,472.45
1101970-02    A.D.              Surgicore of Jersey City LLC                 Unlisted Procedure Arthroscopy…       12/2/2021   29999     $1,472.45
1101970-02    A.D.              Surgicore of Jersey City LLC                Single Nerve Block Injection Arm …     12/2/2021   64415      $979.78
1101970-02    A.D.              Surgicore of Jersey City LLC               Us Guidance Needle Placement Img …      12/2/2021   76942      $341.96

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                                                          1791
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                                Service     Code       Billed
1101970-02    A.D.             Surgicore of Jersey City LLC                 Prosthetic Implant, Not Otherwise…     12/2/2021   L8699      $185.00
1101970-02    A.D.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …       12/2/2021   E0655      $531.06
1101970-02    A.D.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …       12/2/2021   E0666       $89.56
1102610-05    A.S.              Citimed Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       1/8/2022   62323      $976.38
1102610-05    A.S.              Citimed Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      2/18/2022   62323      $976.38
1102610-05    A.S.          Rockaways ASC Development LLC                   Perq Intrdscl Electrothrm Annulop…     6/22/2022   22526     $2,605.78
1102610-05    A.S.          Rockaways ASC Development LLC                   Perq Intrdscl Electrothrm Annulop…     6/22/2022   22527     $2,605.78
1102610-05    A.S.          Rockaways ASC Development LLC                  Dcmprn Perq Nucleus Pulposus 1/> …      6/22/2022   62287     $5,292.93
1101634-01    J.B.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…   10/22/2021   20553      $554.74
1101634-01    J.B.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/22/2021   64490     $1,952.76
1101634-01    J.B.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/22/2021   64491     $1,952.76
1101634-01    J.B.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/22/2021   64492     $1,952.76
1101634-01    J.B.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…   11/12/2021   20553      $554.74
1101634-01    J.B.                   Triborough ASC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/12/2021   62323      $976.38
1101634-01    J.B.                   Triborough ASC                                 Epidurograpy Rs&I…            11/12/2021   72275      $572.52
1101634-01    J.B.           Fifth Avenue Surgery Center LLC                Arthrocentesis Aspir&/Inj Major J…    12/11/2021   20610      $473.38
1101634-01    J.B.           Fifth Avenue Surgery Center LLC              Arthroscopy Knee Synovectomy Limi…      12/11/2021   29875     $1,472.45
1101634-01    J.B.           Fifth Avenue Surgery Center LLC              Arthrs Kne Surg W/Meniscectomy Me…      12/11/2021   29881     $3,026.24
1101634-01    J.B.           Fifth Avenue Surgery Center LLC                  Unlisted Procedure Arthroscopy…     12/11/2021   29999     $1,472.45
1101634-01    J.B.           Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical, For …   12/11/2021   G0289     $1,472.45
1101634-01    J.B.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…      12/11/2021   E0650      $531.06
1101634-01    J.B.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …      12/11/2021   E0666       $89.56
1101634-01    J.B.                   Triborough ASC                         Perq Intrdscl Electrothrm Annulop…     3/28/2022   22526     $5,292.93
1101634-01    J.B.                   Triborough ASC                         Perq Intrdscl Electrothrm Annulop…     3/28/2022   22527     $5,292.93
1101634-01    J.B.                   Triborough ASC                        Dcmprn Perq Nucleus Pulposus 1/> …      3/28/2022   62287     $5,292.93
1101634-01    J.B.                   Triborough ASC                        Probe, Percutaneous Lumbar Discec…      3/28/2022   C2614      $800.00
1101634-02    A.R.           Fifth Avenue Surgery Center LLC               Tenotomy Shoulder Area 1 Tendon…        1/24/2022   23405     $1,839.77
1101634-02    A.R.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Synovec…      1/24/2022   29821     $5,677.77
1101634-02    A.R.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Debride…      1/24/2022   29823     $1,472.45
1101634-02    A.R.           Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Ahesiolysis …     1/24/2022   29825     $1,472.45
1101634-02    A.R.           Fifth Avenue Surgery Center LLC                Single Nerve Block Injection Arm …     1/24/2022   64415      $979.78
1101634-02    A.R.           Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …      1/24/2022   76942      $341.96
1101634-02    A.R.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…       1/24/2022   E0650      $531.06
1101634-02    A.R.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …       1/24/2022   E0666       $89.56
1101634-02    A.R.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…    2/16/2022   20553      $554.74
1101634-02    A.R.                   Triborough ASC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      2/16/2022   62321      $976.38
1101932-01    J.L.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec…     11/23/2021   29821     $5,677.77
1101932-01    J.L.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Debride…     11/23/2021   29823     $1,472.45
1101932-01    J.L.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…     11/23/2021   29999     $1,472.45
1101932-01    J.L.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …    11/23/2021   64415      $979.78
1101932-01    J.L.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …     11/23/2021   76942      $341.96
1101932-01    J.L.             Surgicore of Jersey City LLC                 Prosthetic Implant, Not Otherwise…    11/23/2021   L8699      $185.00
1101932-01    J.L.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…      11/23/2021   E0650      $531.06
1101932-01    J.L.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …      11/23/2021   E0666       $89.56
1102324-01    J.E.     Surgicore LLC d/b/a Surgicore Surgical Center        Perq Intrdscl Electrothrm Annulop…    11/19/2022   22526     $2,605.78
1102324-01    J.E.     Surgicore LLC d/b/a Surgicore Surgical Center       Dcmprn Perq Nucleus Pulposus 1/> …     11/19/2022   62287     $5,292.93
1102324-01    J.E.          Rockaways ASC Development LLC                   Perq Intrdscl Electrothrm Annulop…     3/16/2023   22526     $2,605.78
1102324-01    J.E.          Rockaways ASC Development LLC                  Injection Px Discogrphy Ea Lvl Ce…      3/16/2023   62291      $748.74
1102324-01    J.E.          Rockaways ASC Development LLC                 Discectomy Ant Dcmprn Cord Cervic…       3/16/2023   63075     $6,402.03
1102324-01    J.E.          Rockaways ASC Development LLC                  Diskograpy Cervical/Thoracic Rs&I…      3/16/2023   72285      $962.54
1102324-01    J.E.             East Tremont Medical Center                 Anes Arthrs Humeral H/N Strnclav …       4/5/2023    1630      $237.68
1102324-01    J.E.             East Tremont Medical Center                 Anes Arthrs Humeral H/N Strnclav …       4/5/2023    1630      $237.68
1102324-01    J.E.             East Tremont Medical Center                 Arthroscopy Shoulder Surg Synovec…       4/5/2023   29821     $2,798.20
1102324-01    J.E.             East Tremont Medical Center                 Arthroscopy Shoulder Surg Debride…       4/5/2023   29823     $3,026.24
1102324-01    J.E.             East Tremont Medical Center                  Arthroscopy Shoulder Ahesiolysis …      4/5/2023   29825     $3,026.24
1102324-01    J.E.             East Tremont Medical Center                  Single Nerve Block Injection Arm …      4/5/2023   64415      $171.32
1102324-01    J.E.             East Tremont Medical Center                 Us Guidance Needle Placement Img …       4/5/2023   76942      $289.20
1102324-01    J.E.             East Tremont Medical Center                 Infectious Agent Detection By Nuc…       4/5/2023   87635       $15.00
1102324-02    G.G.           Fifth Avenue Surgery Center LLC                Arthrocentesis Aspir&/Inj Major J…    10/12/2021   20610      $473.39
1102324-02    G.G.           Fifth Avenue Surgery Center LLC              Arthroscopy Knee Synovectomy Limi…      10/12/2021   29875     $1,472.45
1102324-02    G.G.           Fifth Avenue Surgery Center LLC              Arthrs Kne Surg W/Meniscectomy Me…      10/12/2021   29881     $3,026.24
1102324-02    G.G.           Fifth Avenue Surgery Center LLC                Injection Anesthetic Agent Femora…    10/12/2021   64447      $829.30
1102324-02    G.G.           Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …     10/12/2021   76942      $341.96
1102324-02    G.G.           Fifth Avenue Surgery Center LLC                  Surgical Supply; Miscellaneous…     10/12/2021   A4649       $50.00
1102324-02    G.G.           Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical, For …   10/12/2021   G0289     $1,472.45
1102324-02    G.G.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…      10/12/2021   E0650      $531.06
1102324-02    G.G.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …      10/12/2021   E0666       $89.56
1102976-02    L.B.           Fifth Avenue Surgery Center LLC                Arthrocentesis Aspir&/Inj Major J…    10/19/2021   20610      $473.39

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                                                          1792
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                                Service     Code       Billed
1102976-02    L.B.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Synovec…     10/19/2021   29821     $5,677.77
1102976-02    L.B.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Debride…     10/19/2021   29823     $1,472.45
1102976-02    L.B.           Fifth Avenue Surgery Center LLC                Single Nerve Block Injection Arm …    10/19/2021   64415      $979.78
1102976-02    L.B.           Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …     10/19/2021   76942      $341.96
1102976-02    L.B.           Fifth Avenue Surgery Center LLC                  Surgical Supply; Miscellaneous…     10/19/2021   A4649       $50.00
1102976-02    L.B.                    Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…      10/19/2021   E0650      $531.06
1102976-02    L.B.                    Good Medica Inc                     Nonsegmental Pneumatic Appliance …      10/19/2021   E0666       $89.56
1102976-02    L.B.           New Horizon Surgical Center LLC               Arthroscopy Wrist Surgical Synove…      12/7/2021   29845     $1,472.45
1102976-02    L.B.           New Horizon Surgical Center LLC               Arthrs Wrst Exc&/Rpr Triang Fibro…      12/7/2021   29846     $3,026.24
1102976-02    L.B.           New Horizon Surgical Center LLC                  Unlisted Procedure Arthroscopy…      12/7/2021   29999     $1,472.45
1102976-02    L.B.           New Horizon Surgical Center LLC                Single Nerve Block Injection Arm …     12/7/2021   64415      $979.78
1102976-02    L.B.           New Horizon Surgical Center LLC               Us Guidance Needle Placement Img …      12/7/2021   76942      $341.96
1102976-02    L.B.           New Horizon Surgical Center LLC                Prosthetic Implant, Not Otherwise…     12/7/2021   L8699      $540.00
1102976-02    L.B.                    Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…       12/7/2021   E0650      $531.06
1102976-02    L.B.                    Good Medica Inc                     Nonsegmental Pneumatic Appliance …       12/7/2021   E0666       $89.56
1101898-02    K.A.     Surgicore LLC d/b/a Surgicore Surgical Center       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     10/27/2021   62321      $976.38
1101898-02    K.A.     Surgicore LLC d/b/a Surgicore Surgical Center       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     10/27/2021   62323      $976.38
1101898-02    K.A.     Surgicore LLC d/b/a Surgicore Surgical Center                Epidurograpy Rs&I…            10/27/2021   72275      $572.53
1101898-02    K.A.     Surgicore LLC d/b/a Surgicore Surgical Center                Epidurograpy Rs&I…            10/27/2021   72275      $572.53
1101898-02    K.A.     Surgicore LLC d/b/a Surgicore Surgical Center       Infectious Agent Detection By Nuc…     10/27/2021   87635       $51.33
1101898-02    K.A.                 Surgicare of Manhattan                  Arthrs Knee Abrasion Arthrp/Mlt D…     11/10/2021   29879     $1,513.12
1101898-02    K.A.                 Surgicare of Manhattan                 Arthrs Kne Surg W/Meniscectomy Me…      11/10/2021   29881     $3,026.23
1101898-02    K.A.                 Surgicare of Manhattan                   Injection Anesthetic Agent Femora…    11/10/2021   64447      $414.65
1101898-02    K.A.                 Surgicare of Manhattan                  Us Guidance Needle Placement Img …     11/10/2021   76942      $211.66
1101898-02    K.A.                 Surgicare of Manhattan                   Arthroscopy Shoulder Ahesiolysis …      4/6/2022   29825     $3,026.23
1101898-02    K.A.                 Surgicare of Manhattan                 Arthroscopy Shoulder W/Coracoacrm…        4/6/2022   29826     $1,513.12
1101898-02    K.A.                 Surgicare of Manhattan                   Single Nerve Block Injection Arm …      4/6/2022   64415      $979.80
1101898-02    K.A.                 Surgicare of Manhattan                  Us Guidance Needle Placement Img …       4/6/2022   76942      $211.66
1101272-90    T.F.           Fifth Avenue Surgery Center LLC                Arthrocentesis Aspir&/Inj Major J…     1/11/2022   20610      $473.39
1101272-90    T.F.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Synovec…      1/11/2022   29821     $5,677.77
1101272-90    T.F.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Debride…      1/11/2022   29823     $1,472.45
1101272-90    T.F.           Fifth Avenue Surgery Center LLC                Single Nerve Block Injection Arm …     1/11/2022   64415      $979.78
1101272-90    T.F.           Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …      1/11/2022   76942      $341.96
1101272-90    T.F.                    Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…       1/11/2022   E0650      $531.06
1101272-90    T.F.                    Good Medica Inc                     Nonsegmental Pneumatic Appliance …       1/11/2022   E0666       $89.56
1101767-02    P.D.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Debride…     10/22/2021   29823     $2,944.87
1101767-02    P.D.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    10/22/2021   29825     $1,472.45
1101767-02    P.D.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder W/Coracoacrm…      10/22/2021   29826     $1,553.82
1101767-02    P.D.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Rotator Cuff…     10/22/2021   29827     $6,723.47
1101767-02    P.D.        All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…     10/22/2021   29999     $1,472.45
1101767-02    P.D.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    10/22/2021   64415      $979.78
1101767-02    P.D.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     10/22/2021   76942      $341.96
1101767-02    P.D.           Island Ambulatory Surgery Center                Injection Single/Mlt Trigger Poin…    6/30/2023   20553      $558.46
1101767-02    P.D.           Island Ambulatory Surgery Center                Injection Single/Mlt Trigger Poin…     8/3/2023   20553      $279.23
1101767-02    P.D.           Island Ambulatory Surgery Center              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       8/3/2023   62321      $980.10
1101767-02    P.D.           Island Ambulatory Surgery Center               Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/23/2023   64490     $1,960.20
1101767-02    P.D.           Island Ambulatory Surgery Center               Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/23/2023   64491      $980.10
1101767-02    P.D.           Island Ambulatory Surgery Center               Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/23/2023   64492      $980.10
1102348-01    A.D.             Journal Square Surgical Center              Anesthesia Perq Image Guided Spin…       6/9/2023    1936      $237.68
1102348-01    A.D.              Surgicore of Jersey City LLC                Perq Intrdscl Electrothrm Annulop…      6/9/2023   22526     $2,605.78
1102348-01    A.D.              Surgicore of Jersey City LLC                Perq Intrdscl Electrothrm Annulop…      6/9/2023   22527     $2,605.78
1102348-01    A.D.              Surgicore of Jersey City LLC               Dcmprn Perq Nucleus Pulposus 1/> …       6/9/2023   62287     $5,292.93
1101626-02    K.J.                      SCOB LLC                          Arthroscopy Knee Synovectomy 2/>C…       9/29/2021   29876     $3,026.24
1101626-02    K.J.                      SCOB LLC                          Arthrs Kne Surg W/Meniscectomy Me…       9/29/2021   29881     $2,944.87
1101626-02    K.J.        All City Family Healthcare Center, Inc.            Injection Single/Mlt Trigger Poin…   11/18/2021   20552      $236.69
1101626-02    K.J.        All City Family Healthcare Center, Inc.          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     11/18/2021   62321      $976.38
1101626-02    K.J.        All City Family Healthcare Center, Inc.                   Epidurograpy Rs&I…            11/18/2021   72275      $572.53
1101626-02    K.J.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     11/18/2021   76942      $341.96
1101626-02    K.J.        All City Family Healthcare Center, Inc.          Infectious Agent Detection By Nuc…     11/18/2021   87635       $51.33
1101937-01    R.L.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Debride…     11/15/2021   29823     $1,472.45
1101937-01    R.L.              Surgicore of Jersey City LLC                Arthroscopy Shoulder Distal Clavi…    11/15/2021   29824     $1,472.45
1101937-01    R.L.              Surgicore of Jersey City LLC              Arthroscopy Shoulder W/Coracoacrm…      11/15/2021   29826     $1,472.45
1101937-01    R.L.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Rotator Cuff…     11/15/2021   29827     $6,723.47
1101937-01    R.L.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Biceps Tenod…     11/15/2021   29828     $2,798.20
1101937-01    R.L.              Surgicore of Jersey City LLC                Single Nerve Block Injection Arm …    11/15/2021   64415      $979.78
1101937-01    R.L.              Surgicore of Jersey City LLC               Us Guidance Needle Placement Img …     11/15/2021   76942      $341.96
1101937-01    R.L.              Surgicore of Jersey City LLC                Prosthetic Implant, Not Otherwise…    11/15/2021   L8699     $1,757.00
1101937-01    R.L.                    Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…      11/15/2021   E0650      $531.06

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                                                          1793
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1101937-01    R.L.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance … 11/15/2021      E0666       $89.56
1101937-02    J.V.          Fifth Avenue Surgery Center LLC                 Arthrocentesis Aspir&/Inj Major J…  10/25/2021   20610      $473.38
1101937-02    J.V.          Fifth Avenue Surgery Center LLC               Arthroscopy Knee Synovectomy Limi… 10/25/2021      29875     $1,472.45
1101937-02    J.V.          Fifth Avenue Surgery Center LLC                Arthrs Knee Abrasion Arthrp/Mlt D… 10/25/2021     29879     $1,472.45
1101937-02    J.V.          Fifth Avenue Surgery Center LLC              Arthrs Knee W/Meniscectomy Med&La… 10/25/2021       29880     $3,026.24
1101937-02    J.V.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…   10/25/2021   29999     $1,472.45
1101937-02    J.V.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…   10/25/2021   A4649       $50.00
1101937-02    J.V.          Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical, For …  10/25/2021   G0289     $1,472.45
1101937-02    J.V.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta… 10/25/2021      E0650      $531.06
1101937-02    J.V.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance … 10/25/2021      E0666       $89.56
1101937-03    C.V.          Fifth Avenue Surgery Center LLC                 Arthrocentesis Aspir&/Inj Major J…   9/29/2021   20610      $473.38
1101937-03    C.V.          Fifth Avenue Surgery Center LLC               Arthroscopy Knee Synovectomy Limi… 9/29/2021       29875     $1,472.45
1101937-03    C.V.          Fifth Avenue Surgery Center LLC                Arthrs Knee Abrasion Arthrp/Mlt D…    9/29/2021   29879     $1,472.45
1101937-03    C.V.          Fifth Avenue Surgery Center LLC              Arthrs Knee W/Meniscectomy Med&La… 9/29/2021        29880     $3,026.24
1101937-03    C.V.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…    9/29/2021   29999     $1,472.45
1101937-03    C.V.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…    9/29/2021   A4649       $50.00
1101937-03    C.V.          Fifth Avenue Surgery Center LLC                 Arthroscopy, Knee, Surgical, For …   9/29/2021   G0289     $1,472.45
1101937-03    C.V.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta… 9/29/2021       E0650      $531.06
1101937-03    C.V.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …     9/29/2021   E0666       $89.56
1101109-02    G.A.        Health East Ambulatory Surgical Center          Arthroscopy Knee Synovectomy 2/>C… 11/24/2021      29876     $1,998.86
1101109-02    G.A.        Health East Ambulatory Surgical Center          Arthroscopy Knee Synovectomy 2/>C… 11/24/2021      29876     $1,998.86
1101109-02    G.A.        Health East Ambulatory Surgical Center         Arthrs Knee W/Meniscectomy Med&La… 11/24/2021       29880     $3,997.71
1101109-02    G.A.        Health East Ambulatory Surgical Center         Arthrs Knee W/Meniscectomy Med&La… 11/24/2021       29880     $3,997.71
1101109-02    G.A.        Health East Ambulatory Surgical Center             Injection Anesthetic Agent Sciati… 11/24/2021   64445     $1,000.00
1101109-02    G.A.        Health East Ambulatory Surgical Center             Injection Anesthetic Agent Sciati… 11/24/2021   64445     $1,000.00
1101109-02    G.A.        Health East Ambulatory Surgical Center           Injection Anesthetic Agent Femora…   11/24/2021   64447     $1,000.00
1101109-02    G.A.        Health East Ambulatory Surgical Center           Injection Anesthetic Agent Femora…   11/24/2021   64447     $1,000.00
1101109-02    G.A.          Fifth Avenue Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/11/2022   62323      $976.38
1101109-02    G.A.         Rockaways ASC Development LLC                    Arthrocentesis Aspir&/Inj Major J…   4/27/2022   20610      $473.38
1101109-02    G.A.         Rockaways ASC Development LLC                  Arthroscopy Knee Synovectomy Limi… 4/27/2022       29875     $1,472.45
1101109-02    G.A.         Rockaways ASC Development LLC                 Arthrs Knee W/Meniscectomy Med&La… 4/27/2022        29880     $3,026.24
1101109-02    G.A.         Rockaways ASC Development LLC                      Unlisted Procedure Arthroscopy…    4/27/2022   29999     $1,472.45
1101354-01    R.M.          New Horizon Surgical Center LLC               Arthroscopy Knee Synovectomy Limi… 7/11/2022       29875     $1,472.45
1101354-01    R.M.          New Horizon Surgical Center LLC                Arthrs Knee Abrasion Arthrp/Mlt D…    7/11/2022   29879     $1,472.45
1101354-01    R.M.          New Horizon Surgical Center LLC              Arthrs Knee W/Meniscectomy Med&La… 7/11/2022        29880     $1,472.45
1101354-01    R.M.          New Horizon Surgical Center LLC                 Arthroscopy, Knee, Surgical, For …   7/11/2022   G0289     $5,677.77
1101354-01    R.M.          New Horizon Surgical Center LLC                 Prosthetic Implant, Not Otherwise…   7/11/2022   L8699      $244.00
1101354-01    R.M.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta… 7/11/2022       E0650      $531.06
1101354-01    R.M.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …     7/11/2022   E0666       $89.56
1101354-01    R.M.          New Horizon Surgical Center LLC               Arthroscopy Knee Synovectomy Limi… 11/28/2022      29875     $1,472.45
1101354-01    R.M.          New Horizon Surgical Center LLC                Arthrs Knee Abrasion Arthrp/Mlt D… 11/28/2022     29879     $1,472.45
1101354-01    R.M.          New Horizon Surgical Center LLC              Arthrs Knee W/Meniscectomy Med&La… 11/28/2022       29880     $3,026.24
1101354-01    R.M.          New Horizon Surgical Center LLC                   Unlisted Procedure Arthroscopy…   11/28/2022   29999     $1,472.45
1101354-01    R.M.          New Horizon Surgical Center LLC                 Prosthetic Implant, Not Otherwise…  11/28/2022   L8699      $244.00
1101094-02    E.D.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    10/1/2021   62323      $976.38
1101094-02    E.D.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…           10/1/2021   72275      $572.53
1101094-02    E.D.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    10/1/2021   A4649       $50.00
1101094-02    E.D.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…   10/8/2021   22526     $2,605.78
1101094-02    E.D.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…   10/8/2021   22527     $2,605.79
1101094-02    E.D.         Rockaways ASC Development LLC                   Dcmprn Perq Nucleus Pulposus 1/> …    10/8/2021   62287     $5,292.93
1101094-02    E.D.         Rockaways ASC Development LLC                   Infectious Agent Detection By Nuc…    10/8/2021   87635       $51.33
1101094-02    E.D.                     SCOB LLC                            Arthroscopy Shoulder Surg Debride…     8/5/2022   29823     $2,944.87
1101094-02    E.D.                     SCOB LLC                             Arthroscopy Shoulder Distal Clavi…    8/5/2022   29824     $3,026.24
1101094-02    E.D.                     SCOB LLC                           Arthroscopy Shoulder W/Coracoacrm…      8/5/2022   29826     $2,944.87
1101095-01    J.K.          Island Ambulatory Surgery Center                Injection Single/Mlt Trigger Poin…   10/1/2021   20553      $277.37
1101095-01    J.K.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    10/1/2021   62321      $976.38
1101095-01    J.K.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           10/1/2021   72275      $572.52
1101095-01    J.K.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/15/2021   62321      $976.38
1101095-01    J.K.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…          10/15/2021   72275      $572.52
1101095-01    J.K.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec… 10/21/2021     29821     $5,677.77
1101095-01    J.K.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Debride…   10/21/2021   29823     $1,472.45
1101095-01    J.K.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Ahesiolysis …   10/21/2021   29825     $1,472.45
1101095-01    J.K.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…   10/21/2021   29999     $1,472.45
1101095-01    J.K.             Surgicore of Jersey City LLC                Single Nerve Block Injection Arm …   10/21/2021   64415      $979.78
1101095-01    J.K.             Surgicore of Jersey City LLC               Us Guidance Needle Placement Img … 10/21/2021      76942      $341.96
1101095-01    J.K.             Surgicore of Jersey City LLC                 Prosthetic Implant, Not Otherwise…  10/21/2021   L8699      $185.00
1101095-01    J.K.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta… 10/21/2021      E0650      $531.06
1101095-01    J.K.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance … 10/21/2021      E0666       $89.56

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                                                           1794
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                          Provider                                     Service
 Number      Person                                                                                               Service     Code       Billed
1101095-01    J.K.            Island Ambulatory Surgery Center           Extrcorpl Shock Wave Muscskele No…      11/30/2021   0101T       $893.24
1101095-01    J.K.            Island Ambulatory Surgery Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/30/2021   62323       $976.38
1101095-01    J.K.            Island Ambulatory Surgery Center                     Epidurograpy Rs&I…            11/30/2021   72275       $572.52
1101095-01    J.K.            Island Ambulatory Surgery Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      2/15/2022   62323       $976.38
1101095-01    J.K.               Surgicore of Jersey City LLC            Arthroscopy Knee Synovectomy 2/>C…       2/17/2022   29876      $1,472.45
1101095-01    J.K.               Surgicore of Jersey City LLC            Arthrs Kne Surg W/Meniscectomy Me…       2/17/2022   29881      $3,026.24
1101095-01    J.K.               Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…      2/17/2022   A4649       $195.00
1101095-01    J.K.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…       2/17/2022   E0650       $531.06
1101095-01    J.K.                     Good Medica Inc                    Nonsegmental Pneumatic Appliance …      2/17/2022   E0666        $89.56
1101095-01    J.K.         Health East Ambulatory Surgical Center        Lam Facetectomy & Foramotomy 1 Se…       3/17/2022   63047     $35,000.00
1101095-01    J.K.         Health East Ambulatory Surgical Center        Microsurg Tqs Req Use Operating M…       3/17/2022   69990      $5,500.00
1101095-01    J.K.         Health East Ambulatory Surgical Center         Fluor Needle/Cath Spine/Paraspina…      3/17/2022   77003       $141.00
1101190-01    A.S.     NYEEQASC LLC d/b/a North Queens Surgical Center      Injection Single/Mlt Trigger Poin…    4/19/2022   20553       $473.39
1101190-01    A.S.     NYEEQASC LLC d/b/a North Queens Surgical Center     Perq Intrdscl Electrothrm Annulop…     4/19/2022   22526      $2,605.78
1101190-01    A.S.     NYEEQASC LLC d/b/a North Queens Surgical Center     Perq Intrdscl Electrothrm Annulop…     4/19/2022   22527      $2,605.79
1101190-01    A.S.     NYEEQASC LLC d/b/a North Queens Surgical Center    Dcmprn Perq Nucleus Pulposus 1/> …      4/19/2022   62287      $5,292.93
1101190-01    A.S.               Citimed Surgery Center LLC               Arthroscopy Shoulder Surg Synovec…      5/18/2022   29821      $5,677.77
1101190-01    A.S.               Citimed Surgery Center LLC               Arthroscopy Shoulder Surg Debride…      5/18/2022   29823      $2,944.87
1101534-08    J.L.           New Horizon Surgical Center LLC              Arthroscopy Shoulder Surg Synovec…      10/5/2021   29821      $5,677.77
1101534-08    J.L.           New Horizon Surgical Center LLC              Arthroscopy Shoulder Surg Debride…      10/5/2021   29823      $1,472.45
1101534-08    J.L.           New Horizon Surgical Center LLC               Arthroscopy Shoulder Ahesiolysis …     10/5/2021   29825      $1,472.45
1101534-08    J.L.           New Horizon Surgical Center LLC             Arthroscopy Shoulder W/Coracoacrm…       10/5/2021   29826      $1,472.45
1101534-08    J.L.           New Horizon Surgical Center LLC                 Unlisted Procedure Arthroscopy…      10/5/2021   29999      $1,472.45
1101534-08    J.L.           New Horizon Surgical Center LLC               Single Nerve Block Injection Arm …     10/5/2021   64415       $979.78
1101534-08    J.L.           New Horizon Surgical Center LLC              Us Guidance Needle Placement Img …      10/5/2021   76942       $341.96
1101534-08    J.L.           New Horizon Surgical Center LLC                 Surgical Supply; Miscellaneous…      10/5/2021   a4649        $50.00
1101534-08    J.L.           New Horizon Surgical Center LLC               Prosthetic Implant, Not Otherwise…     10/5/2021   l8699        $62.00
1101534-08    J.L.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…       10/5/2021   E0650       $531.06
1101534-08    J.L.                     Good Medica Inc                    Nonsegmental Pneumatic Appliance …      10/5/2021   E0666        $89.56
1101534-08    J.L.             Healthplus Surgery Center LLC                Injection Single/Mlt Trigger Poin…     2/9/2022   20553       $473.39
1101534-08    J.L.             Healthplus Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       2/9/2022   64493      $1,423.89
1101534-08    J.L.             Healthplus Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       2/9/2022   64494      $1,342.52
1101534-08    J.L.             Healthplus Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/22/2022   64493      $1,423.89
1101534-08    J.L.             Healthplus Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/22/2022   64494      $1,342.52
1101989-02    M.A.           Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      10/3/2021   62321       $976.38
1101989-02    M.A.           Rockaways ASC Development LLC                         Epidurograpy Rs&I…             10/3/2021   72275       $572.53
1101989-02    M.A.           Rockaways ASC Development LLC                Infectious Agent Detection By Nuc…      10/3/2021   87635        $51.33
1101989-02    M.A.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…      10/3/2021   A4649        $50.00
1101989-02    M.A.                       SCOB LLC                        Arthrs Kne Surg W/Meniscectomy Me…      10/22/2021   29881      $2,944.87
1101989-02    M.A.                       SCOB LLC                         Arthrs Aided Ant Cruciate Ligm Rp…     10/22/2021   29888      $5,677.77
1101989-02    M.A.               Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      4/13/2022   62323       $976.38
1101989-02    M.A.               Surgicore of Jersey City LLC             Infectious Agent Detection By Nuc…      4/13/2022   87635        $51.33
1100952-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Surg Synovec…      10/9/2021   29821      $5,596.40
1100952-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Surg Debride…      10/9/2021   29823      $1,472.45
1100952-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center     Arthroscopy Shoulder Ahesiolysis …     10/9/2021   29825      $1,472.45
1100952-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder W/Coracoacrm…       10/9/2021   29826      $1,553.82
1100952-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Rotator Cuff…      10/9/2021   29827      $6,723.47
1100952-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center     Single Nerve Block Injection Arm …     10/9/2021   64415       $979.78
1100952-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center    Us Guidance Needle Placement Img …      10/9/2021   76942       $341.96
1100952-01    M.P.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…       10/9/2021   E0650       $531.06
1100952-01    M.P.                     Good Medica Inc                    Nonsegmental Pneumatic Appliance …      10/9/2021   E0666        $89.56
1101369-01    O.S.            Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…    10/12/2021   20610       $473.39
1101369-01    O.S.            Fifth Avenue Surgery Center LLC            Arthroscopy Knee Synovectomy Limi…      10/12/2021   29875      $1,472.45
1101369-01    O.S.            Fifth Avenue Surgery Center LLC            Arthrs Kne Surg W/Meniscectomy Me…      10/12/2021   29881      $3,026.24
1101369-01    O.S.            Fifth Avenue Surgery Center LLC              Injection Anesthetic Agent Femora…    10/12/2021   64447       $829.30
1101369-01    O.S.            Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …     10/12/2021   76942       $341.96
1101369-01    O.S.            Fifth Avenue Surgery Center LLC                Surgical Supply; Miscellaneous…     10/12/2021   A4649        $50.00
1101369-01    O.S.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…      10/12/2021   E0650       $531.06
1101369-01    O.S.                     Good Medica Inc                    Nonsegmental Pneumatic Appliance …     10/12/2021   E0666        $89.56
1101369-01    O.S.           Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…    11/7/2021   20552       $236.69
1101369-01    O.S.           Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      11/7/2021   62323       $976.38
1101369-01    O.S.           Rockaways ASC Development LLC                         Epidurograpy Rs&I…             11/7/2021   72275       $572.53
1101369-01    O.S.           Rockaways ASC Development LLC                Us Guidance Needle Placement Img …      11/7/2021   76942       $341.96
1101766-02    A.W.            Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…    11/30/2021   20610       $473.39
1101766-02    A.W.            Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…     11/30/2021   29821      $5,677.77
1101766-02    A.W.            Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…     11/30/2021   29823      $1,472.45
1101766-02    A.W.            Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Distal Clavi…    11/30/2021   29824      $1,472.45
1101766-02    A.W.            Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …    11/30/2021   29825      $1,472.45

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                                                          1795
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1101766-02    A.W.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 11/30/2021      29826      $1,472.45
1101766-02    A.W.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …  11/30/2021   64415       $979.78
1101766-02    A.W.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img … 11/30/2021      76942       $341.96
1101766-02    A.W.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 11/30/2021      E0650       $531.06
1101766-02    A.W.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance … 11/30/2021      E0666        $89.56
1101766-02    A.W.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…   6/28/2022   20610       $473.39
1101766-02    A.W.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…    6/28/2022   29821      $5,677.77
1101766-02    A.W.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    6/28/2022   29823      $1,472.45
1101766-02    A.W.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …   6/28/2022   29825      $1,472.45
1101766-02    A.W.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …   6/28/2022   64415       $979.78
1101766-02    A.W.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     6/28/2022   76942       $341.96
1100797-02    G.B.                     SCOB LLC                             Arthroscopy Shoulder Surg Synovec…    11/3/2021   29821      $5,596.40
1100797-02    G.B.                     SCOB LLC                            Arthroscopy Shoulder W/Coracoacrm… 11/3/2021       29826      $2,944.87
1100797-02    G.B.                     SCOB LLC                             Arthroscopy Shoulder Rotator Cuff…    11/3/2021   29827      $5,677.77
1100797-02    G.B.                     SCOB LLC                             Arthroscopy Shoulder Biceps Tenod…    11/3/2021   29828      $5,596.40
1100797-02    G.B.                     SCOB LLC                            Anchor/Screw For Opposing Bone-To… 11/3/2021       C1713      $3,000.00
1100797-02    G.B.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/11/2022   62323       $976.38
1100797-02    G.B.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…    6/8/2022   22526      $2,605.78
1100797-02    G.B.        All City Family Healthcare Center, Inc.           Dcmprn Perq Nucleus Pulposus 1/> …     6/8/2022   62287      $5,292.93
1100797-02    G.B.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/26/2022   62321       $976.38
1100797-02    G.B.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…   7/17/2022   22526      $2,605.78
1100797-02    G.B.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic… 7/17/2022       63075      $6,402.03
1100805-02    A.M.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…   9/2/2021   20552       $236.69
1100805-02    A.M.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     9/2/2021   62321       $976.38
1100805-02    A.M.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …      9/2/2021   76942       $341.96
1100805-02    A.M.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…     9/2/2021   A4649        $50.00
1100805-02    A.M.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…    9/9/2021   22526      $2,605.78
1100805-02    A.M.         Rockaways ASC Development LLC                   Discectomy Ant Dcmprn Cord Cervic…      9/9/2021   63075      $6,402.03
1100805-02    A.M.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…     9/9/2021   87635        $51.33
1100805-02    A.M.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…     9/9/2021   A4649        $50.00
1100805-02    A.M.             Citimed Surgery Center LLC                   Arthroscopy Shoulder Surg Synovec…    10/6/2021   29821      $5,596.40
1100805-02    A.M.             Citimed Surgery Center LLC                   Arthroscopy Shoulder Rotator Cuff…    10/6/2021   29827      $5,677.77
1100805-02    A.M.             Citimed Surgery Center LLC                  Anchor/Screw For Opposing Bone-To… 10/6/2021       C1713      $1,000.00
1101460-02    I.W.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/10/2021   62323       $976.38
1101460-02    I.W.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…          11/10/2021   72275       $572.52
1101460-02    I.W.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 1/13/2022       29876      $1,472.45
1101460-02    I.W.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 1/13/2022        29880      $3,026.24
1101460-02    I.W.             Surgicore of Jersey City LLC                Arthroscopy Knee W/Lysis Adhesion… 1/13/2022       29884      $1,472.45
1101460-02    I.W.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…    1/13/2022   A4649       $195.00
1101460-02    I.W.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …   1/13/2022   G0289      $1,472.45
1101460-02    I.W.                   Good Medica Inc                        Cane, Quad Or Three-Prong, Includ…    1/13/2022   E0105        $18.75
1101460-02    I.W.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 1/13/2022       E0650       $531.06
1101460-02    I.W.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     1/13/2022   E0666        $89.56
1101460-02    I.W.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 7/28/2022       29876      $1,472.45
1101460-02    I.W.             Surgicore of Jersey City LLC               Arthrs Kne Surg W/Meniscectomy Me… 7/28/2022        29881      $3,026.24
1101460-02    I.W.             Surgicore of Jersey City LLC                Arthroscopy Knee W/Lysis Adhesion… 7/28/2022       29884      $1,472.45
1101460-02    I.W.             Surgicore of Jersey City LLC                 Infectious Agent Detection By Nuc…    7/28/2022   87635        $51.33
1101460-02    I.W.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…    7/28/2022   A4649       $195.00
1101460-02    I.W.                Hudson Surgery Center                      Perq Intrdscl Electrothrm Annulop…    8/4/2023   22526      $2,648.32
1101460-02    I.W.                Hudson Surgery Center                      Perq Intrdscl Electrothrm Annulop…    8/4/2023   22527      $2,648.32
1101460-02    I.W.                Hudson Surgery Center                           Unlisted Procedure Spine…        8/4/2023   22899      $2,648.32
1101460-02    I.W.                Hudson Surgery Center                   Lamnotmy Incl W/Dcmprsn Nrv Root … 8/4/2023         63030     $10,593.30
1101460-02    I.W.                Hudson Surgery Center                     Transpedicular Dcmprn Spinal Cord…     8/4/2023   63056      $2,648.32
1101460-02    I.W.                Hudson Surgery Center                     Transection/Avulsion Oth Spinal N…     8/4/2023   64772      $2,228.18
1101460-02    I.W.                Hudson Surgery Center                     Transection/Avulsion Oth Spinal N…     8/4/2023   64772      $1,114.09
1101460-02    I.W.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec… 10/19/2023     29821      $5,677.77
1101460-02    I.W.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   10/19/2023   29823      $1,472.45
1101460-02    I.W.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …  10/19/2023   29825      $1,472.45
1101460-02    I.W.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 10/19/2023      29826      $1,472.45
1101460-02    I.W.          Fifth Avenue Surgery Center LLC                    Unlisted Procedure Arthroscopy…   10/19/2023   29999      $1,472.45
1101460-02    I.W.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …  10/19/2023   64415       $979.78
1101460-02    I.W.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img … 10/19/2023      76942       $341.96
1100827-01    A.G.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…  10/7/2021   20552       $236.69
1100827-01    A.G.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    10/7/2021   62323       $976.38
1100827-01    A.G.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…           10/7/2021   72275       $572.53
1100827-01    A.G.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …     10/7/2021   76942       $341.96
1100827-01    A.G.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surgical Rem… 12/11/2021     29819      $1,472.45
1100827-01    A.G.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec… 12/11/2021     29821      $5,677.77

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                                                           1796
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1100827-01    A.G.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…  12/11/2021   29823     $1,472.45
1100827-01    A.G.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …  12/11/2021   29825     $1,472.45
1100827-01    A.G.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 12/11/2021     29826     $1,472.45
1100827-01    A.G.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…   12/11/2021   29999     $1,472.45
1100827-01    A.G.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …  12/11/2021   64415      $979.78
1100827-01    A.G.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img … 12/11/2021     76942      $341.96
1100827-01    A.G.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 12/11/2021     E0650      $531.06
1100827-01    A.G.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance … 12/11/2021     E0666       $89.56
1100795-02    B.F.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…   10/9/2021   87635     $1,200.00
1100795-02    B.F.                Hudson Regional Hospital               Specimen Collection For Severe Ac…   10/9/2021   g2023       $97.84
1100795-02    B.F.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J… 10/11/2021   20610      $378.71
1100795-02    B.F.                       SCOB LLC                        Arthroscopy Shoulder Surgical Rep…  10/11/2021   29807     $4,558.49
1100795-02    B.F.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…  10/11/2021   29823     $2,355.90
1100795-02    B.F.                       SCOB LLC                       Arthroscopy Shoulder W/Coracoacrm… 10/11/2021     29826     $2,355.90
1100795-02    B.F.                       SCOB LLC                       Anchor/Screw For Opposing Bone-To… 10/11/2021     C1713      $445.20
1100795-02    B.F.            Island Ambulatory Surgery Center          Prq Vrt Agmntj Mchnl Dev 1 Vrt Bd…    1/10/2022   22525     $2,646.46
1100795-02    B.F.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …   1/10/2022   62287     $5,292.93
1100795-02    B.F.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 1/10/2022      E0650      $531.06
1100795-02    B.F.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    1/10/2022   E0666       $89.56
1100795-02    B.F.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/24/2023   64493      $447.52
1100795-02    B.F.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/24/2023   64493      $976.38
1100795-02    B.F.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/24/2023   64494      $447.52
1100795-02    B.F.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/24/2023   64494      $447.52
1100795-02    B.F.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/24/2023   64495      $447.52
1100795-02    B.F.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/24/2023   64495      $447.52
1100795-02    B.F.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…   1/24/2023   87635       $51.33
1100795-02    B.F.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…  3/16/2023   22526     $5,292.93
1100795-02    B.F.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…  3/16/2023   22527     $2,605.78
1100795-02    B.F.           Rockaways ASC Development LLC               Unlisted Procedure Nervous System…   3/16/2023   64999      $747.93
1101257-01    F.B.               Citimed Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/23/2021   64493     $1,423.89
1101257-01    F.B.               Citimed Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/23/2021   64494     $1,342.52
1101257-01    F.B.               Citimed Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/23/2021   64495     $1,342.52
1101257-01    F.B.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 1/23/2022      29875     $1,472.45
1101257-01    F.B.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 1/23/2022       29880     $3,026.24
1101257-01    F.B.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…    1/23/2022   29999     $1,472.45
1100859-01    M.S.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…    1/6/2022   29821     $5,596.40
1100859-01    M.S.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …    1/6/2022   29825     $1,472.45
1100859-01    M.S.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm…     1/6/2022   29826     $1,553.82
1100859-01    M.S.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Rotator Cuff…    1/6/2022   29827     $6,723.47
1100859-01    M.S.            Fifth Avenue Surgery Center LLC             Injection(S), Anesthetic Agent(S)…   1/6/2022   66415      $979.78
1100859-01    M.S.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     1/6/2022   76942      $341.96
1100859-01    M.S.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…     1/6/2022   E0650      $531.06
1100859-01    M.S.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     1/6/2022   E0666       $89.56
1100859-01    M.S.                     Good Medica Inc                   Sewho, Abduction Positioning, Air…    1/6/2022   L3960      $372.50
1101259-01    J.O.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…  11/2/2021   22526     $2,605.78
1101259-01    J.O.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…  11/2/2021   22526     $2,605.78
1101259-01    J.O.           Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> …   11/2/2021   62287     $5,292.93
1101259-01    J.O.           Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> …   11/2/2021   62287     $5,292.93
1101259-01    J.O.                       SCOB LLC                        Arthroscopy Shoulder Surg Synovec…   1/14/2022   29821     $5,596.40
1101259-01    J.O.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…   1/14/2022   29823     $3,026.24
1101259-01    J.O.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop… 11/20/2022   22526     $2,605.78
1101259-01    J.O.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop… 11/20/2022   22527     $2,605.78
1101259-01    J.O.           Rockaways ASC Development LLC               Injection Px Discogrphy Ea Lvl Ce…  11/20/2022   62291      $748.74
1101259-01    J.O.           Rockaways ASC Development LLC              Discectomy Ant Dcmprn Cord Cervic… 11/20/2022     63075     $6,402.03
1101259-01    J.O.           Rockaways ASC Development LLC              Discectomy Ant Dcmprn Cord Cervic… 11/20/2022     63076     $3,160.34
1101259-01    J.O.           Rockaways ASC Development LLC               Diskograpy Cervical/Thoracic Rs&I… 11/20/2022    72285      $962.54
1100803-02    T.W.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 9/20/2021      29876     $1,472.45
1100803-02    T.W.               Surgicore of Jersey City LLC            Arthrs Knee Abrasion Arthrp/Mlt D…   9/20/2021   29879     $3,026.24
1100803-02    T.W.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 9/20/2021       29880     $1,472.45
1100803-02    T.W.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    9/20/2021   29999     $1,472.45
1100803-02    T.W.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    9/20/2021   A4649       $50.00
1100803-02    T.W.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    9/20/2021   A4649      $195.00
1100803-02    T.W.               Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …  9/20/2021   G0289     $1,472.45
1100803-02    T.W.               Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …  9/20/2021   G0289     $1,472.45
1100803-02    T.W.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 9/20/2021      E0650      $531.06
1100803-02    T.W.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    9/20/2021   E0666       $89.56
1101107-01    C.L.                       SCOB LLC                        Arthroscopy Shoulder Surg Synovec… 12/15/2021    29821     $5,677.77
1101107-01    C.L.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…  12/15/2021   29823     $2,944.87

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                                                          1797
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1101107-01    C.L.                     SCOB LLC                            Arthroscopy Shoulder W/Coracoacrm…      12/15/2021   29826     $2,944.87
1101107-01    C.L.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…    12/20/2021   22526     $2,605.78
1101107-01    C.L.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…    12/20/2021   22527     $2,605.78
1101107-01    C.L.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> …     12/20/2021   62287     $5,292.93
1101107-01    C.L.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…     12/20/2021   87635       $51.33
1101107-01    C.L.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…   12/28/2021   20552      $236.69
1101107-01    C.L.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     12/28/2021   62321      $976.38
1101107-01    C.L.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…            12/28/2021   72275      $572.53
1101107-01    C.L.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …     12/28/2021   76942      $341.96
1101107-01    C.L.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…     12/28/2021   87635       $51.33
1100646-01    N.R.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Dx W/Wo Syno…       8/20/2021   29805     $1,472.45
1100646-01    N.R.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…      8/20/2021   29821     $5,677.77
1100646-01    N.R.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…      8/20/2021   29823     $1,472.45
1100646-01    N.R.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm…       8/20/2021   29826     $1,472.45
1100646-01    N.R.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …     8/20/2021   64415      $979.78
1100646-01    N.R.             Surgicore of Jersey City LLC                 Us Guidance Needle Placement Img …      8/20/2021   76942      $341.96
1100646-01    N.R.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…      8/20/2021   A4649       $50.00
1100646-01    N.R.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…     8/20/2021   L8699     $4,326.00
1100646-01    N.R.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       8/20/2021   e0650      $531.06
1100646-01    N.R.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       8/20/2021   e0666       $89.56
1100646-01    N.R.                   Good Medica Inc                        So, Acromio/Clavicular (Canvas An…      8/20/2021   l3670      $111.07
1100646-01    N.R.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surgical Cap…     11/11/2022   29806     $5,677.77
1100646-01    N.R.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…     11/11/2022   29821     $2,798.20
1100646-01    N.R.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…     11/11/2022   29823     $1,472.45
1100646-01    N.R.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm…      11/11/2022   29826     $1,472.45
1100646-01    N.R.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …    11/11/2022   64415      $979.78
1100646-01    N.R.             Surgicore of Jersey City LLC                 Us Guidance Needle Placement Img …     11/11/2022   76942      $341.96
1100646-01    N.R.             Surgicore of Jersey City LLC                 Infectious Agent Detection By Nuc…     11/11/2022   87635       $51.33
1100646-01    N.R.             Surgicore of Jersey City LLC                Anchor/Screw For Opposing Bone-To…      11/11/2022   C1713     $1,898.91
1100826-03    N.K.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…       9/17/2021   29875     $1,472.45
1100826-03    N.K.        All City Family Healthcare Center, Inc.          Arthrs Kne Surg W/Meniscectomy Me…       9/17/2021   29881     $3,026.24
1100826-03    N.K.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…      9/17/2021   29999     $1,472.45
1100826-03    N.K.        All City Family Healthcare Center, Inc.           Infectious Agent Detection By Nuc…      9/17/2021   87635       $51.33
1100826-03    N.K.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…      9/17/2021   A4649       $72.00
1100826-03    N.K.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     10/27/2021   62321      $976.38
1100826-03    N.K.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…            10/27/2021   72275      $572.52
1100826-03    N.K.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/10/2021   62323      $976.38
1100826-03    N.K.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…            11/10/2021   72275      $572.52
1100826-03    N.K.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…    11/29/2021   22526     $5,292.93
1100826-03    N.K.                   Triborough ASC                         Dcmprn Perq Nucleus Pulposus 1/> …     11/29/2021   62287     $5,292.93
1100826-03    N.K.                   Triborough ASC                         Probe, Percutaneous Lumbar Discec…     11/29/2021   C2614      $800.00
1101168-02    L.L.              Hudson Regional Hospital                       Comprehensive Metabolic Panel…       9/22/2021   80053      $150.00
1101168-02    L.L.              Hudson Regional Hospital                   Drug Tst Prsmv Instrmnt Chem Anal…       9/22/2021   80307      $359.15
1101168-02    L.L.              Hudson Regional Hospital                    Urnls Dip Stick/Tablet Reagent Au…      9/22/2021   81001      $134.00
1101168-02    L.L.              Hudson Regional Hospital                       Hemoglobin Glycosylated A1C…         9/22/2021   83036       $66.70
1101168-02    L.L.              Hudson Regional Hospital                   Blood Count Complete Auto&Auto Di…       9/22/2021   85025      $147.00
1101168-02    L.L.              Hudson Regional Hospital                              Prothrombin Time…             9/22/2021   85610      $143.00
1101168-02    L.L.              Hudson Regional Hospital                    Thromboplastin Time Partial Plasm…      9/22/2021   85730      $147.00
1101168-02    L.L.              Hudson Regional Hospital                   Antibody Screen Rbc Each Serum Te…       9/22/2021   86850      $105.80
1101168-02    L.L.              Hudson Regional Hospital                        Blood Typing Serologic Abo…         9/22/2021   86900      $498.84
1101168-02    L.L.              Hudson Regional Hospital                       Blood Typing Serologic Rh (D)…       9/22/2021   86901       $56.95
1101168-02    L.L.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…      9/22/2021   87635     $1,200.00
1101168-02    L.L.              Hudson Regional Hospital                     Iadna S Aureus Methicillin Resist…     9/22/2021   87641      $241.40
1101168-02    L.L.              Hudson Regional Hospital                    Ecg Routine Ecg W/Least 12 Lds Tr…      9/22/2021   93005      $323.70
1101168-02    L.L.             Citimed Surgery Center LLC                   Arthroscopy Shoulder Surg Synovec…      9/27/2021   29821     $5,596.40
1101168-02    L.L.             Citimed Surgery Center LLC                  Arthroscopy Shoulder W/Coracoacrm…       9/27/2021   29826     $2,944.87
1101168-02    L.L.             Citimed Surgery Center LLC                   Arthroscopy Shoulder Rotator Cuff…      9/27/2021   29827     $6,804.84
1101168-02    L.L.             Citimed Surgery Center LLC                  Anchor/Screw For Opposing Bone-To…       9/27/2021   C1713     $2,000.00
1101168-02    L.L.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…     4/24/2022   22526     $2,605.78
1101168-02    L.L.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…     4/24/2022   22527     $2,605.78
1101168-02    L.L.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> …      4/24/2022   62287     $5,292.93
1100817-01    W.R.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…      10/9/2021   29821     $5,677.77
1100817-01    W.R.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…      10/9/2021   29823     $1,472.45
1100817-01    W.R.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm…       10/9/2021   29826     $1,472.45
1100817-01    W.R.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …     10/9/2021   64415      $979.78
1100817-01    W.R.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …      10/9/2021   76942      $341.96
1100817-01    W.R.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…      10/9/2021   A4649       $50.00
1100817-01    W.R.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       10/9/2021   E0650      $531.06

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                                                          1798
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1100817-01    W.R.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …     10/9/2021   E0666       $89.56
1101045-02    V.F.               Hudson Regional Hospital                  Infectious Agent Detection By Nuc…    9/21/2021   87635     $1,200.00
1101045-02    V.F.              Citimed Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/24/2021   64490     $1,423.89
1101045-02    V.F.              Citimed Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/24/2021   64491     $1,342.52
1101045-02    V.F.              Citimed Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/24/2021   64492     $1,342.52
1101045-02    V.F.               Hudson Regional Hospital                  Infectious Agent Detection By Nuc…    10/5/2021   87635     $1,200.00
1101045-02    V.F.              Citimed Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    10/8/2021   62321      $976.38
1101045-02    V.F.               Hudson Regional Hospital                  Infectious Agent Detection By Nuc…   10/12/2021   87635     $1,200.00
1101045-02    V.F.            Healthplus Surgery Center LLC               Arthroscopy Knee Synovectomy 2/>C… 10/15/2021      29876     $3,026.24
1101045-02    V.F.            Healthplus Surgery Center LLC              Arthrs Knee W/Meniscectomy Med&La… 10/15/2021       29880     $2,944.87
1101045-02    V.F.              Atlantis Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…  12/17/2021   64490     $1,423.89
1101045-02    V.F.              Atlantis Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…  12/17/2021   64491     $1,342.52
1101045-02    V.F.              Atlantis Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…  12/17/2021   64492     $1,342.52
1101045-02    V.F.        All City Family Healthcare Center, Inc.          Manipulation Knee Joint Under Gen… 10/28/2022     27570     $1,577.52
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center         Injection Single/Mlt Trigger Poin…  8/21/2021   20552      $236.70
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center        Arthrocentesis Aspir&/Inj Major J…   8/21/2021   20610      $236.69
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/21/2021   62321      $976.38
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center                Epidurograpy Rs&I…           8/21/2021   72275      $572.53
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Infectious Agent Detection By Nuc…    8/21/2021   87635       $51.33
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center          Surgical Supply; Miscellaneous…    8/21/2021   A4649       $50.00
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center        Perq Intrdscl Electrothrm Annulop…   9/25/2021   22526     $5,292.93
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center        Perq Intrdscl Electrothrm Annulop…   9/25/2021   22527     $2,605.78
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Unlisted Procedure Nervous System…    9/25/2021   64999      $829.30
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Infectious Agent Detection By Nuc…    9/25/2021   87635       $51.33
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center          Surgical Supply; Miscellaneous…    9/25/2021   A4649       $50.00
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center        Njx Dx/Ther Agt Pvrt Facet Jt Crv…  11/27/2021   64490      $976.38
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center        Njx Dx/Ther Agt Pvrt Facet Jt Crv…  11/27/2021   64491      $447.52
1101163-03    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center        Njx Dx/Ther Agt Pvrt Facet Jt Crv…  11/27/2021   64492      $447.52
1101163-03    R.M.              Citimed Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    3/14/2022   29823     $2,944.87
1101163-03    R.M.              Citimed Surgery Center LLC                 Arthroscopy Shoulder Rotator Cuff…    3/14/2022   29827     $6,804.84
1101163-03    R.M.              Citimed Surgery Center LLC                 Arthroscopy Shoulder Biceps Tenod…    3/14/2022   29828     $5,596.40
1101163-03    R.M.              Citimed Surgery Center LLC                Anchor/Screw For Opposing Bone-To… 3/14/2022       C1713     $1,113.00
1100292-02    L.W.           Fifth Avenue Surgery Center LLC                Arthrocentesis Aspir&/Inj Major J…    9/7/2021   20610      $473.39
1100292-02    L.W.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Synovec…     9/7/2021   29821     $5,677.77
1100292-02    L.W.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Debride…     9/7/2021   29823     $1,472.45
1100292-02    L.W.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Ahesiolysis …     9/7/2021   29825     $1,472.45
1100292-02    L.W.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder W/Coracoacrm…      9/7/2021   29826     $1,472.45
1100292-02    L.W.           Fifth Avenue Surgery Center LLC               Single Nerve Block Injection Arm …     9/7/2021   64415      $979.78
1100292-02    L.W.           Fifth Avenue Surgery Center LLC              Us Guidance Needle Placement Img …      9/7/2021   76942      $341.96
1100292-02    L.W.           Fifth Avenue Surgery Center LLC                  Surgical Supply; Miscellaneous…     9/7/2021   A4649       $50.00
1100292-02    L.W.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…      9/7/2021   E0650      $531.06
1100292-02    L.W.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …      9/7/2021   E0666       $89.56
1100292-02    L.W.          Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/5/2022   62323      $976.38
1100292-02    L.W.          Rockaways ASC Development LLC                  Infectious Agent Detection By Nuc…     1/5/2022   87635       $51.33
1100292-02    L.W.          Rockaways ASC Development LLC                   Perq Intrdscl Electrothrm Annulop…   1/19/2022   22526     $2,605.78
1100292-02    L.W.          Rockaways ASC Development LLC                  Dcmprn Perq Nucleus Pulposus 1/> …    1/19/2022   62287     $5,292.93
1100661-02    M.M.                Bay Ridge Surgi Center                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/28/2021   62323      $976.38
1100661-02    M.M.                Bay Ridge Surgi Center                            Epidurograpy Rs&I…           9/28/2021   72275      $653.90
1100661-02    M.M.                Bay Ridge Surgi Center                               Surgical Trays…           9/28/2021   A4550     $1,000.00
1100661-02    M.M.                Bay Ridge Surgi Center                    Injection, Methylprednisolone Ace…   9/28/2021   J1030     $1,000.00
1100661-02    M.M.                Bay Ridge Surgi Center                    Injection, Methylprednisolone Ace…   9/28/2021   J1030     $1,000.00
1100661-02    M.M.           New Horizon Surgical Center LLC               Arthroscopy Shoulder Surgical Cap…    10/4/2021   29806     $2,798.20
1100661-02    M.M.           New Horizon Surgical Center LLC               Arthroscopy Shoulder Surgical Rep…    10/4/2021   29807     $5,677.77
1100661-02    M.M.           New Horizon Surgical Center LLC               Arthroscopy Shoulder Surg Debride…    10/4/2021   29823     $1,472.45
1100661-02    M.M.           New Horizon Surgical Center LLC                Arthroscopy Shoulder Distal Clavi…   10/4/2021   29824     $1,472.45
1100661-02    M.M.           New Horizon Surgical Center LLC              Arthroscopy Shoulder W/Coracoacrm… 10/4/2021       29826     $1,472.45
1100661-02    M.M.           New Horizon Surgical Center LLC               Single Nerve Block Injection Arm …    10/4/2021   64415      $979.78
1100661-02    M.M.           New Horizon Surgical Center LLC              Us Guidance Needle Placement Img …     10/4/2021   76942      $341.96
1100661-02    M.M.           New Horizon Surgical Center LLC                  Surgical Supply; Miscellaneous…    10/4/2021   A4649       $50.00
1100661-02    M.M.           New Horizon Surgical Center LLC                Prosthetic Implant, Not Otherwise…   10/4/2021   L8699     $1,944.00
1100661-02    M.M.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta… 10/4/2021       E0650      $531.06
1100661-02    M.M.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …     10/4/2021   E0666       $89.56
1100247-02    J.C.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec…    8/12/2021   29821     $5,677.77
1100247-02    J.C.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Debride…    8/12/2021   29823     $1,472.45
1100247-02    J.C.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Ahesiolysis …    8/12/2021   29825     $1,472.45
1100247-02    J.C.             Surgicore of Jersey City LLC                Single Nerve Block Injection Arm …    8/12/2021   64415      $979.78
1100247-02    J.C.             Surgicore of Jersey City LLC               Us Guidance Needle Placement Img …     8/12/2021   76942      $341.96
1100247-02    J.C.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    8/12/2021   A4649       $50.00

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                                                           1799
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1100247-02    J.C.                Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…   8/12/2021   L8699      $185.00
1100247-02    J.C.                      Good Medica Inc                 Pneumatic Compressor, Nonsegmenta… 8/12/2021       E0650      $531.06
1100247-02    J.C.                      Good Medica Inc                 Nonsegmental Pneumatic Appliance …     8/12/2021   E0666       $89.56
1100853-01    M.D.             Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi… 12/20/2021      29875     $1,472.45
1100853-01    M.D.             Fifth Avenue Surgery Center LLC         Arthrs Knee W/Meniscectomy Med&La… 12/20/2021       29880     $3,026.24
1100853-01    M.D.             Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…   12/20/2021   29999     $1,472.45
1100853-01    M.D.             Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical, For …  12/20/2021   G0289     $1,472.45
1100853-01    M.D.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/29/2022   62321      $976.38
1101047-02    C.P.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…    10/2/2021   29821     $5,677.77
1101047-02    C.P.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…    10/2/2021   29823     $1,472.45
1101047-02    C.P.             Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …   10/2/2021   64415      $979.78
1101047-02    C.P.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …     10/2/2021   76942      $341.96
1101047-02    C.P.             Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…    10/2/2021   A4649       $50.00
1101047-02    C.P.                      Good Medica Inc                 Pneumatic Compressor, Nonsegmenta… 10/2/2021       E0650      $531.06
1101047-02    C.P.                      Good Medica Inc                 Nonsegmental Pneumatic Appliance …     10/2/2021   E0666       $89.56
1100178-01    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin… 10/19/2021   20553      $236.69
1100178-01    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     10/19/2021   62323      $976.38
1100178-01    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center            Epidurograpy Rs&I…          10/19/2021   72275      $572.53
1100178-01    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…   10/19/2021   87635       $51.33
1100178-01    H.A.                      Triborough ASC                    Perq Intrdscl Electrothrm Annulop…   11/8/2021   22526     $5,292.93
1100178-01    H.A.                      Triborough ASC                    Perq Intrdscl Electrothrm Annulop…   11/8/2021   22527     $5,292.93
1100178-01    H.A.                      Triborough ASC                   Dcmprn Perq Nucleus Pulposus 1/> …    11/8/2021   62287     $5,292.93
1100178-01    H.A.                      Triborough ASC                   Probe, Percutaneous Lumbar Discec…    11/8/2021   C2614      $800.00
1100178-01    H.A.                      Triborough ASC                     Injection Single/Mlt Trigger Poin…   2/4/2022   20553      $554.74
1100178-01    H.A.                      Triborough ASC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/4/2022   64493     $1,952.76
1100178-01    H.A.                      Triborough ASC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/4/2022   64494     $1,952.76
1100178-01    H.A.                      Triborough ASC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/4/2022   64495     $1,952.76
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…      8/21/2021   29821     $5,677.77
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…      8/21/2021   29823     $1,472.45
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Ahesiolysis …   8/21/2021   29825     $1,472.45
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 8/21/2021        29826     $1,472.45
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Single Nerve Block Injection Arm …   8/21/2021   64415      $979.78
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …      8/21/2021   76942      $341.96
1100509-01    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…    8/21/2021   A4649       $50.00
1100509-01    C.A.                      Good Medica Inc                 Pneumatic Compressor, Nonsegmenta… 8/21/2021       E0650      $531.06
1100509-01    C.A.                      Good Medica Inc                 Nonsegmental Pneumatic Appliance …     8/21/2021   E0666       $89.56
1100509-01    C.A.            Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/17/2021   62321      $976.38
1100509-01    C.A.            Rockaways ASC Development LLC                       Epidurograpy Rs&I…          10/17/2021   72275      $572.53
1100509-01    C.A.            Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    11/7/2021   62323      $976.38
1100509-01    C.A.            Rockaways ASC Development LLC                       Epidurograpy Rs&I…           11/7/2021   72275      $572.53
1100509-01    C.A.            Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/22/2022   62323      $976.38
1100707-01    J.J.                        SCOB LLC                         Injection Single/Mlt Trigger Poin…  12/7/2021   20553      $473.39
1100707-01    J.J.                        SCOB LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    12/7/2021   62321      $976.38
1100707-01    J.J.                Citimed Surgery Center LLC               Injection Single/Mlt Trigger Poin… 12/21/2021   20553      $473.39
1100707-01    J.J.                Citimed Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/21/2021   62323      $976.38
1100707-01    J.J.                        SCOB LLC                         Injection Single/Mlt Trigger Poin…   1/5/2022   20553      $473.39
1100707-01    J.J.                        SCOB LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     1/5/2022   62321      $976.38
1100707-01    J.J.       Surgicore LLC d/b/a Surgicore Surgical Center    Perq Intrdscl Electrothrm Annulop…   8/27/2022   22526     $2,605.78
1100707-01    J.J.       Surgicore LLC d/b/a Surgicore Surgical Center    Perq Intrdscl Electrothrm Annulop…   8/27/2022   22527     $2,605.78
1100707-01    J.J.       Surgicore LLC d/b/a Surgicore Surgical Center   Dcmprn Perq Nucleus Pulposus 1/> …    8/27/2022   62287     $5,292.93
1099801-02    Y.C.                Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…     8/3/2021   29821     $5,677.77
1099801-02    Y.C.                Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Debride…     8/3/2021   29823     $1,472.45
1099801-02    Y.C.                Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …    8/3/2021   29825     $1,472.45
1099801-02    Y.C.                Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …    8/3/2021   64415      $979.78
1099801-02    Y.C.                Surgicore of Jersey City LLC          Us Guidance Needle Placement Img …      8/3/2021   76942      $341.96
1099801-02    Y.C.                Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     8/3/2021   A4649       $50.00
1099801-02    Y.C.                Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…    8/3/2021   L8699      $115.00
1099801-02    Y.C.                      Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…      8/3/2021   e0650      $531.06
1099801-02    Y.C.                      Good Medica Inc                 Nonsegmental Pneumatic Appliance …      8/3/2021   e0666       $89.56
1100167-02    A.B.                Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/18/2021   62321      $976.38
1100167-02    A.B.                Surgicore of Jersey City LLC                    Epidurograpy Rs&I…           9/18/2021   72275      $572.53
1100167-02    A.B.                Surgicore of Jersey City LLC           Infectious Agent Detection By Nuc…    9/18/2021   87635       $51.33
1100167-02    A.B.                Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    9/18/2021   A4649       $50.00
1100167-02    A.B.                Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    10/2/2021   62321      $976.38
1100167-02    A.B.                Surgicore of Jersey City LLC                    Epidurograpy Rs&I…           10/2/2021   72275      $572.53
1100167-02    A.B.                Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    10/2/2021   A4649       $50.00
1100167-02    A.B.                Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/16/2021   62321      $976.38
1100167-02    A.B.                Surgicore of Jersey City LLC                    Epidurograpy Rs&I…          10/16/2021   72275      $572.53

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                                                          1800
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1100167-02    A.B.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…     10/16/2021   A4649       $50.00
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/30/2021   64490      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/30/2021   64490      $976.38
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/30/2021   64491      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/30/2021   64491      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/30/2021   64492      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/30/2021   64492      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    11/13/2021   64490      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    11/13/2021   64490      $976.38
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    11/13/2021   64491      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    11/13/2021   64491      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    11/13/2021   64492      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    11/13/2021   64492      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     12/4/2021   64490      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     12/4/2021   64490      $976.38
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     12/4/2021   64491      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     12/4/2021   64491      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     12/4/2021   64492      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     12/4/2021   64492      $447.52
1100167-02    A.B.             East Tremont Medical Center                 Anes Nerve Musc Tendon Fascia&Bur…      12/10/2021    1320      $980.00
1100167-02    A.B.             East Tremont Medical Center                 Arthroscopy Knee Synovectomy Limi…      12/10/2021   29875     $2,803.00
1100167-02    A.B.             East Tremont Medical Center                 Arthroscopy Knee Synovectomy 2/>C…      12/10/2021   29876     $3,065.00
1100167-02    A.B.             East Tremont Medical Center                  Arthrs Knee Debridement/Shaving A…     12/10/2021   29877     $2,791.00
1100167-02    A.B.             East Tremont Medical Center                 Arthrs Kne Surg W/Meniscectomy Me…      12/10/2021   29881      $900.00
1100167-02    A.B.             East Tremont Medical Center                 Arthrs Kne Surg W/Meniscectomy Me…      12/10/2021   29881     $3,514.00
1100167-02    A.B.             East Tremont Medical Center                  Diagnostic Bone Marrow Aspiration…     12/10/2021   38220      $360.00
1100167-02    A.B.             East Tremont Medical Center                  Diagnostic Bone Marrow Aspiration…     12/10/2021   38220     $1,432.26
1100167-02    A.B.             East Tremont Medical Center                    Arthroscopy, Knee, Surgical, For …   12/10/2021   G0289     $1,580.00
1100167-02    A.B.             Surgicore of Jersey City LLC                   Dstr Nrolytc Agnt Parverteb Fct S…   12/18/2021   64633      $976.38
1100167-02    A.B.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct A…    12/18/2021   64634      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                   Dstr Nrolytc Agnt Parverteb Fct S…    1/15/2022   64633      $976.38
1100167-02    A.B.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct A…     1/15/2022   64634      $447.52
1100167-02    A.B.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct A…     1/15/2022   64634      $447.52
1099637-01    D.W.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…       8/1/2021   29821     $5,677.77
1099637-01    D.W.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…       8/1/2021   29823     $1,472.45
1099637-01    D.W.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …      8/1/2021   29825     $1,472.45
1099637-01    D.W.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm…        8/1/2021   29826     $1,472.45
1099637-01    D.W.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …      8/1/2021   64415      $979.78
1099637-01    D.W.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …       8/1/2021   76942      $341.96
1099637-01    D.W.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…       8/1/2021   A4649       $50.00
1099637-01    D.W.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      9/30/2021   62323      $976.38
1099637-01    D.W.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…             9/30/2021   72275      $572.53
1099637-01    D.W.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…      9/30/2021   A4649       $72.00
1099637-01    D.W.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…    11/10/2021   22526     $2,605.78
1099637-01    D.W.        All City Family Healthcare Center, Inc.           Dcmprn Perq Nucleus Pulposus 1/> …     11/10/2021   62287     $5,292.93
1099637-01    D.W.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/24/2021   62323      $976.38
1099637-01    D.W.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…            11/24/2021   72275      $572.53
1099637-01    D.W.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     12/12/2021   62321      $976.38
1099637-01    D.W.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…            12/12/2021   72275      $572.53
1099637-01    D.W.        All City Family Healthcare Center, Inc.           Infectious Agent Detection By Nuc…     12/12/2021   87635       $51.33
1099637-01    D.W.                     SCOB LLC                               Injection Single/Mlt Trigger Poin…     3/1/2022   20553      $473.39
1099637-01    D.W.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       3/1/2022   62321      $976.38
1099637-01    D.W.             Citimed Surgery Center LLC                     Injection Single/Mlt Trigger Poin…     4/2/2022   20553      $473.39
1099637-01    D.W.             Citimed Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       4/2/2022   62323      $976.38
1100315-01    G.Q.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      7/30/2021   62321      $976.38
1100315-01    G.Q.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…             7/30/2021   72275      $572.53
1100315-01    G.Q.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…      7/30/2021   A4649       $50.00
1100315-01    G.Q.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…      9/3/2021   22526     $2,605.78
1100315-01    G.Q.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…      9/3/2021   22527     $2,605.78
1100315-01    G.Q.         Rockaways ASC Development LLC                     Injection Px Discogrphy Ea Lvl Ce…      9/3/2021   62291      $748.74
1100315-01    G.Q.         Rockaways ASC Development LLC                   Discectomy Ant Dcmprn Cord Cervic…        9/3/2021   63075     $6,402.03
1100315-01    G.Q.         Rockaways ASC Development LLC                   Discectomy Ant Dcmprn Cord Cervic…        9/3/2021   63076     $2,605.78
1100315-01    G.Q.         Rockaways ASC Development LLC                    Diskograpy Cervical/Thoracic Rs&I…       9/3/2021   72285      $962.54
1100315-01    G.Q.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…       9/3/2021   A4649       $50.00
1100315-01    G.Q.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      9/17/2021   62321      $976.38
1100315-01    G.Q.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…             9/17/2021   72275      $572.53
1100315-01    G.Q.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…      9/17/2021   A4649       $50.00
1100315-01    G.Q.                     SCOB LLC                             Arthroscopy Shoulder Surg Synovec…     12/10/2021   29821     $5,677.77

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1100315-01    G.Q.                      SCOB LLC                            Arthroscopy Shoulder Surg Debride…   12/10/2021   29823     $2,944.87
1099721-01    M.A.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…   7/20/2021   20610      $473.39
1099721-01    M.A.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…    7/20/2021   29821     $5,677.77
1099721-01    M.A.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    7/20/2021   29823     $1,472.45
1099721-01    M.A.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …    7/20/2021   64415      $979.78
1099721-01    M.A.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     7/20/2021   76942      $341.96
1099721-01    M.A.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…    7/20/2021   A4649       $50.00
1099721-01    M.A.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 7/20/2021       E0650      $531.06
1099721-01    M.A.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 7/20/2021       E0650      $531.06
1099721-01    M.A.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     7/20/2021   E0666       $89.56
1099721-01    M.A.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     7/20/2021   E0666       $89.56
1099400-02    K.C.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surgical Cap…    9/20/2021   29806     $5,677.77
1099400-02    K.C.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surgical Rem…    9/20/2021   29819     $1,472.45
1099400-02    K.C.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surg Debride…    9/20/2021   29823     $2,944.87
1099400-02    K.C.          New Horizon Surgical Center LLC                Arthroscopy Shoulder W/Coracoacrm… 9/20/2021       29826     $1,472.45
1099400-02    K.C.          New Horizon Surgical Center LLC                 Single Nerve Block Injection Arm …    9/20/2021   64415      $979.78
1099400-02    K.C.          New Horizon Surgical Center LLC                Us Guidance Needle Placement Img …     9/20/2021   76942      $341.96
1099400-02    K.C.          New Horizon Surgical Center LLC                    Surgical Supply; Miscellaneous…    9/20/2021   A4649       $50.00
1099400-02    K.C.          New Horizon Surgical Center LLC                  Prosthetic Implant, Not Otherwise…   9/20/2021   L8699      $895.00
1099400-02    K.C.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 9/20/2021       E0650      $531.06
1099400-02    K.C.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     9/20/2021   E0666       $89.56
1099400-02    K.C.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…   11/2/2021   22526     $2,646.46
1099400-02    K.C.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…   11/2/2021   22527     $2,646.46
1099400-02    K.C.          Island Ambulatory Surgery Center                Dcmprn Perq Nucleus Pulposus 1/> …    11/2/2021   62287     $5,292.93
1099400-02    K.C.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 11/2/2021       E0650      $531.06
1099400-02    K.C.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     11/2/2021   E0666       $89.56
1099546-01    W.C.              Hudson Regional Hospital                    Ct Head/Brain W/O Contrast Materi…    7/26/2021   70450     $3,067.80
1099546-01    W.C.              Hudson Regional Hospital                    Mri Spinal Canal Cervical W/O Con…    7/26/2021   72141     $5,982.45
1099546-01    W.C.              Hudson Regional Hospital                   Mri Spinal Canal Lumbar W/O Contr… 7/26/2021       72148     $7,976.60
1099546-01    W.C.              Hudson Regional Hospital                   Mri Any Jt Upper Extremity W/O Co…     7/29/2021   73221     $7,976.60
1099546-01    W.C.             Atlantis Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/21/2022   64493     $1,423.89
1099546-01    W.C.             Atlantis Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/21/2022   64494     $1,342.52
1099546-01    W.C.             Atlantis Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/21/2022   64495     $1,342.52
1099546-01    W.C.             Citimed Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/18/2022   64493     $1,423.89
1099546-01    W.C.             Citimed Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/18/2022   64494     $1,342.52
1099546-01    W.C.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Surg Synovec…    12/9/2022   29821     $5,677.77
1099546-01    W.C.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Surg Debride…    12/9/2022   29823     $1,472.45
1099546-01    W.C.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Ahesiolysis …    12/9/2022   29825     $1,472.45
1099546-01    W.C.         Rockaways ASC Development LLC                   Arthroscopy Shoulder W/Coracoacrm… 12/9/2022       29826     $1,472.45
1099546-01    W.C.         Rockaways ASC Development LLC                    Single Nerve Block Injection Arm …    12/9/2022   64415      $979.78
1099546-01    W.C.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …     12/9/2022   76942      $341.96
1099763-03    R.E.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 8/25/2021       29876     $1,472.45
1099763-03    R.E.             Surgicore of Jersey City LLC               Arthrs Kne Surg W/Meniscectomy Me… 8/25/2021        29881     $3,026.24
1099763-03    R.E.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…    8/25/2021   A4649       $50.00
1099763-03    R.E.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…   8/25/2021   L8699      $195.00
1099763-03    R.E.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 8/25/2021       E0650      $531.06
1099763-03    R.E.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     8/25/2021   E0666       $89.56
1099941-02    J.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/11/2022   62323      $976.38
1099941-02    J.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     5/2/2022   62321      $976.38
1099941-02    J.S.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin… 10/25/2022   20553      $279.23
1099941-02    J.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/25/2022   62323      $980.10
1099941-02    J.S.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin… 11/21/2022   20553      $279.23
1099941-02    J.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/21/2022   62321      $980.10
1099941-02    J.S.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin…   1/4/2023   20553      $279.23
1099941-02    J.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     1/4/2023   62321      $980.10
1099941-02    J.S.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…    2/9/2023   22526     $2,648.32
1099941-02    J.S.          Island Ambulatory Surgery Center                      Unlisted Procedure Spine…        2/9/2023   22899     $5,296.65
1099941-02    J.S.          Island Ambulatory Surgery Center                 Infectious Agent Antigen Detectio…    2/9/2023   87426      $200.00
1099941-02    J.S.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…   2/23/2023   20610      $473.38
1099941-02    J.S.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 2/23/2023       29875     $1,472.45
1099941-02    J.S.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 2/23/2023        29880     $3,026.24
1099941-02    J.S.          Island Ambulatory Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   5/18/2023   64490     $1,960.20
1099941-02    J.S.          Island Ambulatory Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   5/18/2023   64491      $980.10
1099941-02    J.S.          Island Ambulatory Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   5/18/2023   64492      $980.10
1100259-03    S.B.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Interm …   11/6/2021   20605      $473.38
1100259-03    S.B.          Fifth Avenue Surgery Center LLC                Arthroscopy Ankle W/Removal Loose… 11/6/2021       29894     $1,472.45
1100259-03    S.B.          Fifth Avenue Surgery Center LLC                 Arthroscopy Ankle Surgical Synove…    11/6/2021   29895     $1,472.45
1100259-03    S.B.          Fifth Avenue Surgery Center LLC                 Arthroscopy Ankle Surgical Debrid…    11/6/2021   29898     $3,026.24

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                                                           1802
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1100259-03    S.B.                   Good Medica Inc                   Pneumatic Compressor, Nonsegmenta… 11/6/2021       E0650      $531.06
1100259-03    S.B.                   Good Medica Inc                   Nonsegmental Pneumatic Appliance …     11/6/2021   E0666       $89.56
1099911-03    M.D.                   Triborough ASC                       Injection Single/Mlt Trigger Poin…  9/15/2021   20553      $554.74
1099911-03    M.D.                   Triborough ASC                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/15/2021   62323      $976.38
1099911-03    M.D.                   Triborough ASC                              Epidurograpy Rs&I…           9/15/2021   72275      $572.52
1099911-03    M.D.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…  12/12/2021   22526     $2,605.78
1099911-03    M.D.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…  12/12/2021   22527     $2,605.79
1099911-03    M.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> … 12/12/2021      62287     $5,292.93
1099377-01    E.Q.               Hudson Regional Hospital                  Comprehensive Metabolic Panel…      8/3/2021   80053      $150.00
1099377-01    E.Q.               Hudson Regional Hospital              Drug Tst Prsmv Instrmnt Chem Anal…      8/3/2021   80307      $359.15
1099377-01    E.Q.               Hudson Regional Hospital              Drug Screen Quant Amphetamines 1 …      8/3/2021   80324      $269.37
1099377-01    E.Q.               Hudson Regional Hospital                Antidepressants Serotonergic Clas…    8/3/2021   80332      $269.37
1099377-01    E.Q.               Hudson Regional Hospital                Antidepressants Tricyclic Other C…    8/3/2021   80335      $270.31
1099377-01    E.Q.               Hudson Regional Hospital                    Drug Screening Barbiturates…      8/3/2021   80345      $269.37
1099377-01    E.Q.               Hudson Regional Hospital               Drug Screening Benzodiazepines 1-…     8/3/2021   80346      $269.37
1099377-01    E.Q.               Hudson Regional Hospital                  Drug Screening Buprenorphine…       8/3/2021   80348      $269.37
1099377-01    E.Q.               Hudson Regional Hospital                     Drug Screening Fentanyl…         8/3/2021   80354      $269.37
1099377-01    E.Q.               Hudson Regional Hospital              Drug Screening Gabapentin Non-Blo…      8/3/2021   80355      $269.37
1099377-01    E.Q.               Hudson Regional Hospital                Drug Screening Heroin Metabolite…     8/3/2021   80356      $269.37
1099377-01    E.Q.               Hudson Regional Hospital                    Drug Screening Methadone…         8/3/2021   80358      $269.37
1099377-01    E.Q.               Hudson Regional Hospital              Drug Screening Methylenedioxyamph…      8/3/2021   80359      $269.37
1099377-01    E.Q.               Hudson Regional Hospital                 Drug Screening Methylphenidate…      8/3/2021   80360      $269.37
1099377-01    E.Q.               Hudson Regional Hospital               Drug Screening Opiates 1 Or More…      8/3/2021   80361      $538.74
1099377-01    E.Q.               Hudson Regional Hospital               Drug Screening Opioids And Opiate…     8/3/2021   80362      $537.74
1099377-01    E.Q.               Hudson Regional Hospital                    Drug Screening Oxycodone…         8/3/2021   80365      $269.37
1099377-01    E.Q.               Hudson Regional Hospital                    Drug Screening Pregabalin…        8/3/2021   80366      $269.37
1099377-01    E.Q.               Hudson Regional Hospital               Drug Screening Sedative Hypnotics…     8/3/2021   80368      $269.37
1099377-01    E.Q.               Hudson Regional Hospital               Drug Screening Skeletal Muscle Re…     8/3/2021   80369      $269.37
1099377-01    E.Q.               Hudson Regional Hospital                    Drug Screening Tapentadol…        8/3/2021   80372      $269.37
1099377-01    E.Q.               Hudson Regional Hospital                     Drug Screening Tramadol…         8/3/2021   80373      $269.37
1099377-01    E.Q.               Hudson Regional Hospital               Urnls Dip Stick/Tablet Reagent Au…     8/3/2021   81001      $134.00
1099377-01    E.Q.               Hudson Regional Hospital                  Hemoglobin Glycosylated A1C…        8/3/2021   83036       $66.70
1099377-01    E.Q.               Hudson Regional Hospital              Blood Count Complete Auto&Auto Di… 8/3/2021        85025      $147.00
1099377-01    E.Q.               Hudson Regional Hospital                         Prothrombin Time…            8/3/2021   85610      $143.00
1099377-01    E.Q.               Hudson Regional Hospital               Thromboplastin Time Partial Plasm…     8/3/2021   85730      $147.00
1099377-01    E.Q.               Hudson Regional Hospital              Antibody Screen Rbc Each Serum Te…      8/3/2021   86850      $105.80
1099377-01    E.Q.               Hudson Regional Hospital                   Blood Typing Serologic Abo…        8/3/2021   86900      $498.84
1099377-01    E.Q.               Hudson Regional Hospital                  Blood Typing Serologic Rh (D)…      8/3/2021   86901       $56.95
1099377-01    E.Q.               Hudson Regional Hospital                Iadna S Aureus Methicillin Resist…    8/3/2021   87641      $241.40
1099377-01    E.Q.               Hudson Regional Hospital               Ecg Routine Ecg W/Least 12 Lds Tr…     8/3/2021   93005      $323.70
1099377-01    E.Q.                      SCOB LLC                        Arthroscopy Shoulder Surgical Rep…     8/5/2021   29807     $5,677.77
1099377-01    E.Q.                      SCOB LLC                        Arthroscopy Shoulder Surg Synovec…     8/5/2021   29821     $5,596.40
1099377-01    E.Q.                      SCOB LLC                        Arthroscopy Shoulder Surg Debride…     8/5/2021   29823     $2,944.87
1099377-01    E.Q.                      SCOB LLC                       Arthroscopy Shoulder W/Coracoacrm…      8/5/2021   29826     $2,944.87
1099377-01    E.Q.                      SCOB LLC                       Anchor/Screw For Opposing Bone-To…      8/5/2021   C1713      $556.50
1099377-01    E.Q.                      SCOB LLC                          Injection Single/Mlt Trigger Poin…   1/8/2022   20553      $473.39
1099377-01    E.Q.                      SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/8/2022   62323      $976.38
1099377-01    E.Q.              Citimed Surgery Center LLC               Perq Intrdscl Electrothrm Annulop…   1/27/2022   22526     $5,211.56
1099377-01    E.Q.              Citimed Surgery Center LLC               Perq Intrdscl Electrothrm Annulop…   1/27/2022   22527     $5,211.56
1099377-01    E.Q.              Citimed Surgery Center LLC              Dcmprn Perq Nucleus Pulposus 1/> …    1/27/2022   62287     $5,292.93
1099377-01    E.Q.              Citimed Surgery Center LLC              Probe, Percutaneous Lumbar Discec…    1/27/2022   C2614     $2,200.00
1099377-01    E.Q.                      SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/16/2022   62321      $976.38
1099377-01    E.Q.              Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/14/2022   62321      $976.38
1099377-01    E.Q.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…  10/1/2022   20553      $236.69
1099377-01    E.Q.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…   10/1/2022   22526     $5,292.93
1099377-01    E.Q.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…   10/1/2022   22527     $2,605.79
1099377-01    E.Q.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…     10/1/2022   64999      $747.93
1099377-01    E.Q.     NYEEQASC LLC d/b/a North Queens Surgical Center  Infectious Agent Detection By Nuc…    10/1/2022   87635       $51.33
1099377-01    E.Q.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…  12/3/2022   20553      $473.39
1099377-01    E.Q.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…   12/3/2022   22526     $2,605.78
1099377-01    E.Q.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …     12/3/2022   62287     $5,292.93
1099377-01    E.Q.     NYEEQASC LLC d/b/a North Queens Surgical Center  Infectious Agent Detection By Nuc…    12/3/2022   87635       $51.33
1099298-02    M.R.           Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…    8/17/2021   29821     $5,596.40
1099298-02    M.R.           Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    8/17/2021   29823     $1,472.45
1099298-02    M.R.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …   8/17/2021   29825     $1,472.45
1099298-02    M.R.           Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Rotator Cuff…    8/17/2021   29827     $6,723.47
1099298-02    M.R.           Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…    8/17/2021   29999     $1,553.82
1099298-02    M.R.           Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …   8/17/2021   64415      $979.78

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1099298-02    M.R.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    8/17/2021   76942      $341.96
1099298-02    M.R.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…    8/17/2021   A4649       $50.00
1099298-02    M.R.                   Triborough ASC                          Injection Single/Mlt Trigger Poin… 10/20/2021   20553      $554.74
1099298-02    M.R.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/20/2021   62323      $976.38
1099298-02    M.R.                   Triborough ASC                                 Epidurograpy Rs&I…          10/20/2021   72275      $572.52
1099569-02    D.M.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…   7/22/2021   29821     $5,677.77
1099569-02    D.M.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…   7/22/2021   29823     $1,472.45
1099569-02    D.M.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …   7/22/2021   29825     $1,472.45
1099569-02    D.M.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …   7/22/2021   64415      $979.78
1099569-02    D.M.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …    7/22/2021   76942      $341.96
1099569-02    D.M.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    7/22/2021   A4649       $50.00
1099569-02    D.M.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 7/22/2021      E0650      $531.06
1099569-02    D.M.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    7/22/2021   E0666       $89.56
1099609-01    A.B.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 10/26/2021     29876     $1,472.45
1099609-01    A.B.             Surgicore of Jersey City LLC                 Arthrs Knee Abrasion Arthrp/Mlt D… 10/26/2021    29879     $1,472.45
1099609-01    A.B.             Surgicore of Jersey City LLC               Arthroscopy Knee W/Meniscus Rpr M… 10/26/2021      29882     $3,026.24
1099609-01    A.B.             Surgicore of Jersey City LLC                Arthroscopy Knee W/Lysis Adhesion… 10/26/2021     29884     $1,472.45
1099609-01    A.B.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…   10/26/2021   A4649       $50.00
1099609-01    A.B.             Surgicore of Jersey City LLC                Anchor/Screw For Opposing Bone-To… 10/26/2021     C1713     $1,296.20
1099609-01    A.B.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For … 10/26/2021   G0289     $1,472.45
1099609-01    A.B.                   Good Medica Inc                       Crutches, Underarm, Other Than Wo… 10/26/2021     E0114       $23.38
1099609-01    A.B.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 10/26/2021     E0650      $531.06
1099609-01    A.B.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance … 10/26/2021     E0666       $89.56
1099609-01    A.B.                   Good Medica Inc                        Knee Orthosis, Adjustable Knee Jo…  10/26/2021   L1833      $536.08
1099609-01    A.B.                  Goldstep ASC LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/11/2022   62323     $1,500.00
1099609-01    A.B.                  Goldstep ASC LLC                                Epidurograpy Rs&I…           2/11/2022   72275     $1,500.00
1099609-01    A.B.                  Goldstep ASC LLC                        Fluor Needle/Cath Spine/Paraspina…   2/11/2022   77003     $1,000.00
1099780-02    N.W.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Surg Synovec… 11/24/2021    29821     $2,798.20
1099780-02    N.W.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Surg Debride…  11/24/2021   29823     $1,472.45
1099780-02    N.W.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Rotator Cuff…  11/24/2021   29827     $5,677.77
1099780-02    N.W.         Rockaways ASC Development LLC                    Single Nerve Block Injection Arm …  11/24/2021   64415      $979.78
1099780-02    N.W.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img … 11/24/2021     76942      $341.96
1099780-02    N.W.             Citimed Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/14/2022   64493     $1,423.89
1099780-02    N.W.             Citimed Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/14/2022   64494     $1,342.52
1099780-02    N.W.             Citimed Surgery Center LLC                  Njx Anes&/Strd W/Img Tfrml Edrl L… 5/12/2022      64483     $1,428.99
1099780-02    N.W.             Citimed Surgery Center LLC                  Njx Anes&/Strd W/Img Tfrml Edrl L… 5/12/2022      64484     $1,347.62
1099885-01    A.I.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…  11/22/2021   29823     $3,026.24
1099885-01    A.I.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 11/22/2021     29826     $1,472.45
1099885-01    A.I.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …  11/22/2021   64415      $979.78
1099885-01    A.I.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img … 11/22/2021     76942      $341.96
1099885-01    A.I.              Bergenfield Surgical Center                  Injection Single/Mlt Trigger Poin…  3/25/2022   20552      $554.74
1099885-01    A.I.              Bergenfield Surgical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/25/2022   62323      $976.38
1099885-01    A.I.              Bergenfield Surgical Center                            Surgical Trays…           3/25/2022   A4550      $750.00
1099885-01    A.I.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/18/2022   62321      $976.38
1099476-04    A.C.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/20/2021   62323      $976.38
1099476-04    A.C.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…           8/20/2021   72275      $572.53
1099476-04    A.C.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    8/20/2021   A4649       $50.00
1099476-04    A.C.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> …   8/27/2021   62287     $5,292.93
1099476-04    A.C.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    8/27/2021   a4649       $50.00
1099476-04    A.C.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec… 12/20/2021    29821     $5,677.77
1099476-04    A.C.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…  12/20/2021   29823     $1,472.45
1099476-04    A.C.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …  12/20/2021   29825     $1,472.45
1099476-04    A.C.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…   12/20/2021   29999     $1,472.45
1099476-04    A.C.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …  12/20/2021   64415      $979.78
1099476-04    A.C.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img … 12/20/2021     76942      $341.96
1099476-04    A.C.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 12/20/2021     E0650      $531.06
1099476-04    A.C.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance … 12/20/2021     E0666       $89.56
1099476-04    A.C.                   Good Medica Inc                        So, Acromio/Clavicular (Canvas An… 12/20/2021    L3670      $111.07
1100190-02    J.M.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 8/14/2021      29876     $1,472.45
1100190-02    J.M.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 8/14/2021       29880     $3,026.24
1100190-02    J.M.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    8/14/2021   29999     $1,472.45
1100190-02    J.M.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    8/14/2021   A4649       $50.00
1100190-02    J.M.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …  8/14/2021   G0289     $1,472.45
1100190-02    J.M.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …  8/14/2021   G0289     $1,472.45
1100190-02    J.M.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…  8/14/2021   L8699      $210.00
1100190-02    J.M.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 8/14/2021      E0650      $531.06
1100190-02    J.M.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    8/14/2021   E0666       $89.56
1099278-02    R.C.             Atlantis Surgery Center LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/20/2021   62323      $976.38

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                                                        1804
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                       Date of     Billing   Amount
                                      Provider                                    Service
 Number      Person                                                                                        Service     Code       Billed
1099278-02    R.C.          Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi… 8/31/2021      29875     $1,472.45
1099278-02    R.C.          Fifth Avenue Surgery Center LLC         Arthrs Knee W/Meniscectomy Med&La… 8/31/2021       29880     $3,026.24
1099278-02    R.C.          Fifth Avenue Surgery Center LLC             Unlisted Procedure Arthroscopy…    8/31/2021   29999     $1,472.45
1099278-02    R.C.          Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…    8/31/2021   A4649       $50.00
1099278-02    R.C.             Citimed Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/10/2021   62323      $976.38
1099278-02    R.C.             Citimed Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/24/2021   62323      $976.38
1099278-02    R.C.             Citimed Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  10/29/2021   64493     $1,423.89
1099278-02    R.C.             Citimed Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  10/29/2021   64494     $1,342.52
1099278-02    R.C.             Citimed Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  10/29/2021   64495     $1,342.52
1099278-02    R.C.             Citimed Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2021   64493     $1,423.89
1099278-02    R.C.             Citimed Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2021   64494     $1,342.52
1099278-02    R.C.             Citimed Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2021   64495     $1,342.52
1099278-02    R.C.             Atlantis Surgery Center LLC             Dstr Nrolytc Agnt Parverteb Fct S…  1/21/2022   64635      $979.78
1099278-02    R.C.             Atlantis Surgery Center LLC            Dstr Nrolytc Agnt Parverteb Fct A…   1/21/2022   64636      $898.41
1099278-02    R.C.             Atlantis Surgery Center LLC            Dstr Nrolytc Agnt Parverteb Fct A…   1/21/2022   64636      $898.41
1099278-02    R.C.             Atlantis Surgery Center LLC             Dstr Nrolytc Agnt Parverteb Fct S…   2/4/2022   64635      $979.78
1099278-02    R.C.             Atlantis Surgery Center LLC            Dstr Nrolytc Agnt Parverteb Fct A…    2/4/2022   64636      $898.41
1099278-02    R.C.             Atlantis Surgery Center LLC            Dstr Nrolytc Agnt Parverteb Fct A…    2/4/2022   64636      $898.41
1099921-01    A.M.            Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/28/2021   62323      $976.38
1099921-01    A.M.            Surgicore of Jersey City LLC                    Epidurograpy Rs&I…           8/28/2021   72275      $572.53
1099921-01    A.M.            Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    8/28/2021   A4649       $50.00
1099921-01    A.M.            Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/18/2021   62323      $976.38
1099921-01    A.M.            Surgicore of Jersey City LLC                    Epidurograpy Rs&I…           9/18/2021   72275      $572.53
1099921-01    A.M.            Surgicore of Jersey City LLC            Infectious Agent Detection By Nuc…   9/18/2021   87635       $51.33
1099921-01    A.M.            Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    9/18/2021   A4649       $50.00
1099921-01    A.M.            Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/2/2021   62323      $976.38
1099921-01    A.M.            Surgicore of Jersey City LLC                    Epidurograpy Rs&I…           10/2/2021   72275      $572.53
1099921-01    A.M.            Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    10/2/2021   A4649       $50.00
1099921-01    A.M.            East Tremont Medical Center             Njx Pltlt Plasma W/Img Harvest/Pr…   8/15/2022   0232T      $875.92
1099921-01    A.M.            East Tremont Medical Center            Arthroscopy Knee Diagnostic W/Wo … 8/15/2022      29870     $3,026.24
1099921-01    A.M.            East Tremont Medical Center             Arthroscopy Knee Infection Lavage…   8/15/2022   29871     $3,026.24
1099921-01    A.M.            East Tremont Medical Center            Arthroscopy Knee Synovectomy 2/>C… 8/15/2022      29876     $2,914.55
1099921-01    A.M.            East Tremont Medical Center             Arthrs Knee Abrasion Arthrp/Mlt D…   8/15/2022   29879     $2,214.55
1099921-01    A.M.            East Tremont Medical Center           Arthrs Knee W/Meniscectomy Med&La… 8/15/2022       29880     $3,026.24
1099921-04    T.Y.            Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/28/2021   62323      $976.38
1099921-04    T.Y.            Surgicore of Jersey City LLC                    Epidurograpy Rs&I…           8/28/2021   72275      $572.53
1099921-04    T.Y.            Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    8/28/2021   a4649       $50.00
1099921-04    T.Y.            Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/18/2021   62323      $976.38
1099921-04    T.Y.            Surgicore of Jersey City LLC                    Epidurograpy Rs&I…           9/18/2021   72275      $572.53
1099921-04    T.Y.            Surgicore of Jersey City LLC            Infectious Agent Detection By Nuc…   9/18/2021   87635       $51.33
1099921-04    T.Y.            Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    9/18/2021   A4649       $50.00
1099921-04    T.Y.            Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/2/2021   62323      $976.38
1099921-04    T.Y.            Surgicore of Jersey City LLC                    Epidurograpy Rs&I…           10/2/2021   72275      $572.53
1099921-04    T.Y.            Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    10/2/2021   A4649       $50.00
1099921-04    T.Y.            East Tremont Medical Center             Repair Intermediate S/A/T/E 2.6-7…   8/15/2022   12032     $1,207.60
1099921-04    T.Y.            East Tremont Medical Center           Arthroscopy Shoulder Dx W/Wo Syno… 8/15/2022       29805     $1,472.45
1099921-04    T.Y.            East Tremont Medical Center             Arthroscopy Shoulder Surg Synovec…   8/15/2022   29821     $2,798.20
1099921-04    T.Y.            East Tremont Medical Center             Arthroscopy Shoulder Surg Debride…   8/15/2022   29823     $3,026.24
1099921-04    T.Y.            East Tremont Medical Center             Arthroscopy Shoulder Distal Clavi…   8/15/2022   29824     $1,513.12
1099921-04    T.Y.            East Tremont Medical Center             Arthroscopy Shoulder Ahesiolysis …   8/15/2022   29825     $3,026.24
1099921-04    T.Y.            East Tremont Medical Center            Arthroscopy Shoulder W/Coracoacrm… 8/15/2022      29826     $1,472.45
1099921-04    T.Y.            East Tremont Medical Center             Arthroscopy Shoulder Rotator Cuff…   8/15/2022   29827     $6,723.47
1099921-04    T.Y.            East Tremont Medical Center               Unlisted Procedure Arthroscopy…    8/15/2022   29999     $1,513.12
1099921-04    T.Y.            East Tremont Medical Center             Positioning Bath Chair Shower Sta…   8/15/2022   E1399      $820.00
1099921-04    T.Y.            East Tremont Medical Center             Positioning Bath Chair Shower Sta…   8/15/2022   E1399     $1,445.00
1099921-04    T.Y.            East Tremont Medical Center             Positioning Bath Chair Shower Sta…   8/15/2022   E1399      $390.00
1099921-04    T.Y.            East Tremont Medical Center             Positioning Bath Chair Shower Sta…   8/15/2022   E1399      $195.00
1099008-01    L.C.          Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…  3/29/2022   20610      $473.39
1099008-01    L.C.          Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi… 3/29/2022      29875     $1,472.45
1099008-01    L.C.          Fifth Avenue Surgery Center LLC         Arthrs Kne Surg W/Meniscectomy Me… 3/29/2022       29881     $3,026.24
1099008-01    L.C.          Fifth Avenue Surgery Center LLC           Injection Anesthetic Agent Femora…   3/29/2022   64447      $829.30
1099008-01    L.C.          Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …    3/29/2022   76942      $341.96
1099008-01    L.C.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 3/29/2022      e0650      $531.06
1099008-01    L.C.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …    3/29/2022   e0666       $89.56
1100504-01    J.E.          Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi… 12/4/2021      29875     $1,472.45
1100504-01    J.E.          Fifth Avenue Surgery Center LLC           Arthrs Knee Abrasion Arthrp/Mlt D…   12/4/2021   29879     $1,472.45
1100504-01    J.E.          Fifth Avenue Surgery Center LLC         Arthrs Knee W/Meniscectomy Med&La… 12/4/2021       29880     $3,026.24
1100504-01    J.E.          Fifth Avenue Surgery Center LLC          Arthroscopy Knee W/Lysis Adhesion… 12/4/2021      29884     $1,472.45

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                                                          1805
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1100504-01    J.E.           Fifth Avenue Surgery Center LLC                  Unlisted Procedure Arthroscopy…    12/4/2021   29999     $1,472.45
1100504-01    J.E.           Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical, For …   12/4/2021   G0289     $1,472.45
1100504-01    J.E.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta… 12/4/2021       E0650      $531.06
1100504-01    J.E.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …     12/4/2021   E0666       $89.56
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center       Arthroscopy Shoulder Surg Synovec…    7/26/2021   29821     $5,677.77
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center       Arthroscopy Shoulder Surg Debride…    7/26/2021   29823     $1,472.45
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center        Arthroscopy Shoulder Ahesiolysis …   7/26/2021   29825     $1,472.45
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center          Unlisted Procedure Arthroscopy…    7/26/2021   29999     $1,472.45
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center          Unlisted Procedure Arthroscopy…    7/26/2021   29999     $1,472.45
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center        Single Nerve Block Injection Arm …   7/26/2021   64415      $979.78
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center      Us Guidance Needle Placement Img …     7/26/2021   76942      $341.96
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center       Iadna Streptococcus Group B Ampli…    7/26/2021   87653       $51.33
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center          Surgical Supply; Miscellaneous…    7/26/2021   A4649       $50.00
1099125-02    N.J.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…  10/8/2021   20553      $554.74
1099125-02    N.J.                   Triborough ASC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    10/8/2021   62323      $976.38
1099125-02    N.J.                   Triborough ASC                                 Epidurograpy Rs&I…           10/8/2021   72275      $572.52
1099125-02    N.J.                   Triborough ASC                          Injection Single/Mlt Trigger Poin… 10/27/2021   20553      $554.74
1099125-02    N.J.                   Triborough ASC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/27/2021   62323      $976.38
1099125-02    N.J.                   Triborough ASC                                 Epidurograpy Rs&I…          10/27/2021   72275      $572.52
1099125-02    N.J.           Fifth Avenue Surgery Center LLC                Arthrocentesis Aspir&/Inj Major J…   11/4/2021   20610      $473.39
1099125-02    N.J.           Fifth Avenue Surgery Center LLC              Arthroscopy Knee Synovectomy Limi… 11/4/2021       29875     $1,472.45
1099125-02    N.J.           Fifth Avenue Surgery Center LLC               Arthrs Knee Abrasion Arthrp/Mlt D…    11/4/2021   29879     $1,472.45
1099125-02    N.J.           Fifth Avenue Surgery Center LLC             Arthrs Knee W/Meniscectomy Med&La… 11/4/2021        29880     $3,026.24
1099125-02    N.J.           Fifth Avenue Surgery Center LLC              Arthroscopy Knee W/Lysis Adhesion… 11/4/2021       29884     $1,472.45
1099125-02    N.J.           Fifth Avenue Surgery Center LLC                  Unlisted Procedure Arthroscopy…    11/4/2021   29999     $1,472.45
1099125-02    N.J.           Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical, For …   11/4/2021   G0289     $1,472.45
1099125-02    N.J.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta… 11/4/2021       E0650      $531.06
1099125-02    N.J.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …     11/4/2021   E0666       $89.56
1099125-02    N.J.                   Triborough ASC                          Injection Single/Mlt Trigger Poin… 11/17/2021   20553      $554.74
1099125-02    N.J.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  11/17/2021   62321      $976.38
1099125-02    N.J.                   Triborough ASC                                 Epidurograpy Rs&I…          11/17/2021   72275      $572.52
1099215-02    M.P.           Fifth Avenue Surgery Center LLC                Arthrocentesis Aspir&/Inj Major J…  10/26/2021   20610      $473.39
1099215-02    M.P.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Synovec… 10/26/2021     29821     $5,677.77
1099215-02    M.P.           Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Surg Debride…   10/26/2021   29823     $1,472.45
1099215-02    M.P.           Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Ahesiolysis …  10/26/2021   29825     $1,472.45
1099215-02    M.P.           Fifth Avenue Surgery Center LLC                Single Nerve Block Injection Arm …  10/26/2021   64415      $979.78
1099215-02    M.P.           Fifth Avenue Surgery Center LLC              Us Guidance Needle Placement Img … 10/26/2021      76942      $341.96
1099215-02    M.P.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta… 10/26/2021      E0650      $531.06
1099215-02    M.P.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance … 10/26/2021      E0666       $89.56
1099547-01    R.G.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…     8/6/2021   29821     $5,677.77
1099547-01    R.G.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Debride…     8/6/2021   29823     $1,472.45
1099547-01    R.G.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    8/6/2021   29825     $1,472.45
1099547-01    R.G.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder W/Coracoacrm…      8/6/2021   29826     $1,472.45
1099547-01    R.G.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    8/6/2021   64415      $979.78
1099547-01    R.G.        All City Family Healthcare Center, Inc.         Us Guidance Needle Placement Img …      8/6/2021   76942      $341.96
1099547-01    R.G.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…     8/6/2021   A4649       $72.00
1099547-01    R.G.              Crotona Parkway ASC LLC                      Injection Single/Mlt Trigger Poin…   4/4/2023   20553      $279.23
1099547-01    R.G.              Crotona Parkway ASC LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/4/2023   62323      $980.10
1098794-01    J.B.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec… 10/21/2021     29821     $5,677.77
1098794-01    J.B.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Debride…   10/21/2021   29823     $1,472.45
1098794-01    J.B.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …  10/21/2021   29825     $1,472.45
1098794-01    J.B.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…   10/21/2021   29999     $1,472.45
1098794-01    J.B.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …  10/21/2021   64415      $979.78
1098794-01    J.B.             Surgicore of Jersey City LLC               Us Guidance Needle Placement Img … 10/21/2021      76942      $341.96
1098794-01    J.B.             Surgicore of Jersey City LLC                 Prosthetic Implant, Not Otherwise…  10/21/2021   L8699      $185.00
1098794-01    J.B.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta… 10/21/2021      E0650      $531.06
1098794-01    J.B.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance … 10/21/2021      E0666       $89.56
1098852-01    E.Z.             Surgicore of Jersey City LLC               Arthroscopy Knee Synovectomy 2/>C…      8/5/2021   29876     $1,472.45
1098852-01    E.Z.             Surgicore of Jersey City LLC              Arthrs Knee W/Meniscectomy Med&La… 8/5/2021         29880     $3,026.24
1098852-01    E.Z.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     8/5/2021   A4649       $50.00
1098852-01    E.Z.             Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical, For …    8/5/2021   G0289     $1,472.45
1098852-01    E.Z.             Surgicore of Jersey City LLC                 Prosthetic Implant, Not Otherwise…    8/5/2021   L8699      $195.00
1098852-01    E.Z.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…      8/5/2021   E0650      $531.06
1098852-01    E.Z.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …      8/5/2021   E0666       $89.56
1098852-02    J.M.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec…     7/8/2021   29821     $5,677.77
1098852-02    J.M.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Debride…     7/8/2021   29823     $1,472.45
1098852-02    J.M.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …    7/8/2021   29825     $1,472.45
1098852-02    J.M.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …    7/8/2021   64415      $979.78

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        Case 1:24-cv-08606-JRC                Document 1-4 Filed 12/17/24                         Page 359 of 580 PageID #:
                                                          1806
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1098852-02    J.M.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …     7/8/2021   76942      $341.96
1098852-02    J.M.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     7/8/2021   A4649       $50.00
1098852-02    J.M.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…   7/8/2021   L8699      $185.00
1098852-02    J.M.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…     7/8/2021   E0650      $531.06
1098852-02    J.M.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     7/8/2021   E0666       $89.56
1098852-02    J.M.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 2/10/2022      29876     $1,472.45
1098852-02    J.M.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 2/10/2022       29880     $3,026.24
1098852-02    J.M.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    2/10/2022   A4649      $195.00
1098852-02    J.M.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 2/10/2022      E0650      $531.06
1098852-02    J.M.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    2/10/2022   E0666       $89.56
1098852-04    M.O.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C…     8/5/2021   29876     $1,472.45
1098852-04    M.O.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 8/5/2021        29880     $3,026.24
1098852-04    M.O.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     8/5/2021   A4649       $50.00
1098852-04    M.O.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …   8/5/2021   G0289     $1,472.45
1098852-04    M.O.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…   8/5/2021   L8699      $195.00
1098852-04    M.O.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…     8/5/2021   E0650      $531.06
1098852-04    M.O.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     8/5/2021   E0666       $89.56
1098577-02    C.A.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/13/2021   62321      $976.38
1098577-02    C.A.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…           8/13/2021   72275      $572.53
1098577-02    C.A.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    8/13/2021   a4649       $50.00
1098577-02    C.A.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/19/2021   62323      $976.38
1098577-02    C.A.        All City Family Healthcare Center, Inc.                   Epidurograpy Rs&I…           8/19/2021   72275      $572.53
1098577-02    C.A.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…    8/19/2021   A4649       $72.00
1098577-02    C.A.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…  11/7/2021   22526     $2,605.78
1098577-02    C.A.        All City Family Healthcare Center, Inc.           Dcmprn Perq Nucleus Pulposus 1/> …   11/7/2021   62287     $5,292.93
1098577-02    C.A.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic… 11/14/2021     63075     $6,402.03
1098577-02    C.A.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic… 11/14/2021     63076     $2,605.78
1098577-02    C.A.              Hudson Regional Hospital                      Comprehensive Metabolic Panel…     2/17/2022   80053      $150.00
1098577-02    C.A.              Hudson Regional Hospital                   Drug Tst Prsmv Instrmnt Chem Anal…    2/17/2022   80307      $359.15
1098577-02    C.A.              Hudson Regional Hospital                    Urnls Dip Stick/Tablet Reagent Au…   2/17/2022   81001      $134.00
1098577-02    C.A.              Hudson Regional Hospital                       Hemoglobin Glycosylated A1C…      2/17/2022   83036       $66.70
1098577-02    C.A.              Hudson Regional Hospital                    Gonadotropin Chorionic Qualitativ…   2/17/2022   84703       $51.65
1098577-02    C.A.              Hudson Regional Hospital                  Blood Count Complete Auto&Auto Di… 2/17/2022       85025      $147.00
1098577-02    C.A.              Hudson Regional Hospital                             Prothrombin Time…           2/17/2022   85610      $143.00
1098577-02    C.A.              Hudson Regional Hospital                    Thromboplastin Time Partial Plasm…   2/17/2022   85730      $147.00
1098577-02    C.A.              Hudson Regional Hospital                   Antibody Screen Rbc Each Serum Te…    2/17/2022   86850      $105.80
1098577-02    C.A.              Hudson Regional Hospital                        Blood Typing Serologic Abo…      2/17/2022   86900      $498.84
1098577-02    C.A.              Hudson Regional Hospital                      Blood Typing Serologic Rh (D)…     2/17/2022   86901       $56.95
1098577-02    C.A.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…   2/17/2022   87635     $1,200.00
1098577-02    C.A.              Hudson Regional Hospital                     Iadna S Aureus Methicillin Resist…  2/17/2022   87641      $241.40
1098577-02    C.A.              Hudson Regional Hospital                    Ecg Routine Ecg W/Least 12 Lds Tr…   2/17/2022   93005      $323.70
1099388-02    M.V.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/21/2022   64493      $976.38
1099388-02    M.V.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/21/2022   64494      $447.52
1099388-02    M.V.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/21/2022   64495      $447.52
1099388-02    M.V.             Citimed Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/20/2022   64493      $976.38
1099388-02    M.V.             Citimed Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/20/2022   64494      $895.01
1099388-02    M.V.             Citimed Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/20/2022   64494      $895.01
1099388-02    M.V.        Bronx SC LLC d/b/a Empire State ASC                Dstr Nrolytc Agnt Parverteb Fct S…   6/6/2022   64635      $976.38
1099388-02    M.V.        Bronx SC LLC d/b/a Empire State ASC                Dstr Nrolytc Agnt Parverteb Fct A…   6/6/2022   64636      $447.52
1099388-02    M.V.        Bronx SC LLC d/b/a Empire State ASC                Dstr Nrolytc Agnt Parverteb Fct A…   6/6/2022   64636      $447.52
1099388-02    M.V.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  11/28/2022   62321      $976.38
1099388-02    M.V.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surg Synovec…   1/31/2024   29821     $5,677.77
1099388-02    M.V.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surg Debride…   1/31/2024   29823     $1,472.45
1099388-02    M.V.          New Horizon Surgical Center LLC                  Arthroscopy Shoulder Ahesiolysis …  1/31/2024   29825     $1,472.45
1099388-02    M.V.          New Horizon Surgical Center LLC                Arthroscopy Shoulder W/Coracoacrm… 1/31/2024      29826     $1,472.45
1099388-02    M.V.          New Horizon Surgical Center LLC                  Single Nerve Block Injection Arm …  1/31/2024   64415      $979.78
1099388-02    M.V.          New Horizon Surgical Center LLC                Us Guidance Needle Placement Img …    1/31/2024   76942      $341.96
1098645-01    V.D.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…   11/4/2021   29821     $5,677.77
1098645-01    V.D.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…   11/4/2021   29823     $1,472.45
1098645-01    V.D.             Surgicore of Jersey City LLC                  Arthroscopy Shoulder Ahesiolysis …  11/4/2021   29825     $1,472.45
1098645-01    V.D.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    11/4/2021   29999     $1,472.45
1098645-01    V.D.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …  11/4/2021   64415      $979.78
1098645-01    V.D.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …    11/4/2021   76942      $341.96
1098645-01    V.D.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    11/4/2021   A4649      $185.00
1098645-01    V.D.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 11/4/2021      E0650      $531.06
1098645-01    V.D.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    11/4/2021   E0666       $89.56
1098874-02    J.A.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 7/30/2021      29876     $3,026.24
1098874-02    J.A.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    7/30/2021   A4649      $285.00

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                                                           1807
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1098874-02    J.A.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    7/30/2021   A4649       $50.00
1098874-02    J.A.               Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …  7/30/2021   G0289     $1,472.45
1098874-02    J.A.                     Good Medica Inc                   Cane, Quad Or Three-Prong, Includ…   7/30/2021   E0105       $18.75
1098874-02    J.A.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 7/30/2021      E0650      $531.06
1098874-02    J.A.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    7/30/2021   E0666       $89.56
1098874-02    J.A.                Hudson Regional Hospital                 Comprehensive Metabolic Panel…     9/10/2021   80053      $150.00
1098874-02    J.A.                Hudson Regional Hospital              Drug Tst Prsmv Instrmnt Chem Anal…    9/10/2021   80307      $359.15
1098874-02    J.A.                Hudson Regional Hospital               Urnls Dip Stick/Tablet Reagent Au…   9/10/2021   81001      $134.00
1098874-02    J.A.                Hudson Regional Hospital                  Hemoglobin Glycosylated A1C…      9/10/2021   83036       $66.70
1098874-02    J.A.                Hudson Regional Hospital             Blood Count Complete Auto&Auto Di… 9/10/2021       85025      $147.00
1098874-02    J.A.                Hudson Regional Hospital                        Prothrombin Time…           9/10/2021   85610      $143.00
1098874-02    J.A.                Hudson Regional Hospital               Thromboplastin Time Partial Plasm…   9/10/2021   85730      $147.00
1098874-02    J.A.                Hudson Regional Hospital              Antibody Screen Rbc Each Serum Te…    9/10/2021   86850      $105.80
1098874-02    J.A.                Hudson Regional Hospital                   Blood Typing Serologic Abo…      9/10/2021   86900      $498.84
1098874-02    J.A.                Hudson Regional Hospital                 Blood Typing Serologic Rh (D)…     9/10/2021   86901       $56.95
1098874-02    J.A.                Hudson Regional Hospital                Iadna S Aureus Methicillin Resist…  9/10/2021   87641      $241.40
1098874-02    J.A.                Hudson Regional Hospital               Ecg Routine Ecg W/Least 12 Lds Tr…   9/10/2021   93005      $323.70
1098874-02    J.A.                Hudson Regional Hospital              Drug Tst Prsmv Instrmnt Chem Anal…    9/13/2021   80307      $359.15
1098874-02    J.A.                Hudson Regional Hospital               Ecg Routine Ecg W/Least 12 Lds Tr…   9/13/2021   93005      $323.70
1099484-01    M.B.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 4/15/2022      29875     $1,472.45
1099484-01    M.B.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 4/15/2022       29880     $3,026.24
1099484-01    M.B.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…    4/15/2022   29999     $1,472.45
1099484-01    M.B.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 4/15/2022      E0650      $531.06
1099484-01    M.B.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    4/15/2022   E0666       $89.56
1098338-02    M.S.            New Horizon Surgical Center LLC            Arthrs Knee Abrasion Arthrp/Mlt D…   9/15/2021   29879     $1,472.45
1098338-02    M.S.            New Horizon Surgical Center LLC          Arthrs Knee W/Meniscectomy Med&La… 9/15/2021       29880     $3,026.24
1098338-02    M.S.            New Horizon Surgical Center LLC            Injection Anesthetic Agent Femora…   9/15/2021   64447      $829.30
1098338-02    M.S.            New Horizon Surgical Center LLC           Us Guidance Needle Placement Img …    9/15/2021   76942      $341.96
1098338-02    M.S.            New Horizon Surgical Center LLC             Prosthetic Implant, Not Otherwise…  9/15/2021   L8699      $331.00
1098338-02    M.S.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 9/15/2021      E0650      $531.06
1098338-02    M.S.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    9/15/2021   E0666       $89.56
1098338-03    F.M.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Surg Synovec…   10/6/2021   29821     $5,677.77
1098338-03    F.M.            New Horizon Surgical Center LLC             Arthroscopy Shoulder Ahesiolysis …  10/6/2021   29825     $1,472.45
1098338-03    F.M.            New Horizon Surgical Center LLC             Single Nerve Block Injection Arm …  10/6/2021   64415      $979.78
1098338-03    F.M.            New Horizon Surgical Center LLC           Us Guidance Needle Placement Img …    10/6/2021   76942      $341.96
1098338-03    F.M.            New Horizon Surgical Center LLC              Surgical Supply; Miscellaneous…    10/6/2021   A4649       $50.00
1098338-03    F.M.            New Horizon Surgical Center LLC             Prosthetic Implant, Not Otherwise…  10/6/2021   L8699      $331.00
1098338-03    F.M.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 10/6/2021      E0650      $531.06
1098338-03    F.M.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    10/6/2021   E0666       $89.56
1099044-01    W.B.            Island Ambulatory Surgery Center          Arthroscopy Knee Synovectomy 2/>C… 12/1/2021      29876     $1,513.11
1099044-01    W.B.            Island Ambulatory Surgery Center         Arthrs Kne Surg W/Meniscectomy Me… 12/1/2021       29881     $1,513.11
1099044-01    W.B.            Island Ambulatory Surgery Center         Arthroscopy Knee W/Meniscus Rpr M… 12/1/2021       29882     $3,026.23
1099044-01    W.B.            Island Ambulatory Surgery Center             Unlisted Procedure Arthroscopy…    12/1/2021   29999     $1,513.11
1099044-01    W.B.            Island Ambulatory Surgery Center          Anchor/Screw For Opposing Bone-To… 12/1/2021      C1713     $1,000.00
1099044-01    W.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> … 12/19/2022      62287     $5,292.93
1099044-01    W.B.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…  12/19/2022   87635       $51.33
1099359-02    J.F.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/26/2021   62321      $976.38
1099359-02    J.F.          All City Family Healthcare Center, Inc.              Epidurograpy Rs&I…           8/26/2021   72275      $572.53
1099359-02    J.F.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    8/26/2021   A4649       $72.00
1099359-02    J.F.               Citimed Surgery Center LLC             Arthroscopy Knee Synovectomy Limi… 11/16/2021     29875     $2,947.27
1099359-02    J.F.               Citimed Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La… 11/16/2021      29880     $3,026.24
1099508-01    F.C.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…   10/4/2021   29821     $5,677.77
1099508-01    F.C.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…   10/4/2021   29823     $1,472.45
1099508-01    F.C.            Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …  10/4/2021   29825     $1,472.45
1099508-01    F.C.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 10/4/2021      29826     $1,472.45
1099508-01    F.C.            Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …  10/4/2021   64415      $979.78
1099508-01    F.C.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …    10/4/2021   76942      $341.96
1099508-01    F.C.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…    10/4/2021   A4649       $50.00
1099508-01    F.C.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 10/4/2021      E0650      $531.06
1099508-01    F.C.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    10/4/2021   E0666       $89.56
1099508-01    F.C.                     Good Medica Inc                   So, Acromio/Clavicular (Canvas An…   10/4/2021   L3670      $111.07
1098393-02    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Surgical Cap…   9/11/2021   29806     $5,677.77
1098393-02    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…     9/11/2021   29821     $2,798.20
1098393-02    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…     9/11/2021   29823     $1,472.45
1098393-02    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Ahesiolysis …  9/11/2021   29825     $1,472.45
1098393-02    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 9/11/2021       29826     $1,472.45
1098393-02    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center    Single Nerve Block Injection Arm …  9/11/2021   64415      $979.78
1098393-02    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …     9/11/2021   76942      $341.96

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                                                           1808
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1098393-02    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…    9/11/2021   A4649       $50.00
1098393-02    R.L.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 9/11/2021       E0650      $531.06
1098393-02    R.L.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     9/11/2021   E0666       $89.56
1098980-02    P.G.         Rockland & Bergen Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/13/2021   64490      $447.52
1098980-02    P.G.         Rockland & Bergen Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/13/2021   64490      $976.38
1098980-02    P.G.         Rockland & Bergen Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/13/2021   64491      $447.52
1098980-02    P.G.         Rockland & Bergen Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/13/2021   64491      $447.52
1098980-02    P.G.         Rockland & Bergen Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/13/2021   64492      $447.52
1098980-02    P.G.         Rockland & Bergen Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/13/2021   64492      $447.52
1098980-02    P.G.                  Hudson Surgery Center                 Perq Intrdscl Electrothrm Annulop…  10/14/2022   22526     $5,296.65
1098980-02    P.G.                  Hudson Surgery Center                      Unlisted Procedure Spine…      10/14/2022   22899     $2,648.32
1098597-02    A.A.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 3/18/2022       29875     $1,472.45
1098597-02    A.A.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 3/18/2022        29880     $3,026.24
1098597-02    A.A.          All City Family Healthcare Center, Inc.     Arthroscopy Knee W/Lysis Adhesion… 3/18/2022       29884     $1,472.45
1098597-02    A.A.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…     3/18/2022   29999     $1,472.45
1098597-02    A.A.          All City Family Healthcare Center, Inc.       Injection Anesthetic Agent Femora…   3/18/2022   64447      $829.30
1098597-02    A.A.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     3/18/2022   76942      $341.96
1098597-02    A.A.                  Bay Ridge Surgi Center               Dcmprn Perq Nucleus Pulposus 1/> …     8/4/2022   62287     $2,862.04
1098597-02    A.A.                  Bay Ridge Surgi Center                           Surgical Trays…            8/4/2022   A4550      $520.36
1098597-02    A.A.                  Bay Ridge Surgi Center                Injection, Methylprednisolone Ace…    8/4/2022   J1030       $30.00
1098597-02    A.A.                  Bay Ridge Surgi Center                Injection, Methylprednisolone Ace…    8/4/2022   J1030       $30.00
1098597-02    A.A.                  Bay Ridge Surgi Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/12/2023   62323      $976.38
1098597-02    A.A.                  Bay Ridge Surgi Center                           Surgical Trays…           1/12/2023   A4550     $1,000.00
1098597-02    A.A.                  Bay Ridge Surgi Center                Injection, Methylprednisolone Ace…   1/12/2023   J1030     $1,000.00
1098597-02    A.A.                  Bay Ridge Surgi Center                Injection, Methylprednisolone Ace…   1/12/2023   J1030     $1,000.00
1098936-03    E.D.               Surgicore of Jersey City LLC            Tenotomy Shoulder Area 1 Tendon…      6/26/2021   23405     $1,839.77
1098936-03    E.D.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surgical Rem…    6/26/2021   29819     $1,472.45
1098936-03    E.D.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…    6/26/2021   29821     $5,677.77
1098936-03    E.D.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…    6/26/2021   29823     $1,472.45
1098936-03    E.D.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …   6/26/2021   29825     $1,472.45
1098936-03    E.D.               Surgicore of Jersey City LLC           Arthroscopy Shoulder W/Coracoacrm… 6/26/2021       29826     $1,472.45
1098936-03    E.D.               Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …   6/26/2021   64415      $979.78
1098936-03    E.D.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …     6/26/2021   76942      $341.96
1098936-03    E.D.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…    6/26/2021   A4649       $50.00
1098936-03    E.D.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…   6/26/2021   L8699      $445.00
1098936-03    E.D.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 6/26/2021       E0650      $531.06
1098936-03    E.D.                     Good Medica Inc                   Segmental Pneumatic Appliance, Fu…    6/26/2021   E0668       $89.56
1098936-03    E.D.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…   8/23/2021   20610      $473.38
1098936-03    E.D.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 8/23/2021       29875     $1,472.45
1098936-03    E.D.            Fifth Avenue Surgery Center LLC            Arthrs Knee Abrasion Arthrp/Mlt D…    8/23/2021   29879     $1,472.45
1098936-03    E.D.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 8/23/2021        29880     $3,026.24
1098936-03    E.D.            Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…    8/23/2021   A4649       $50.00
1098936-03    E.D.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 8/23/2021       E0650      $531.06
1098936-03    E.D.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     8/23/2021   E0666       $89.56
1098936-03    E.D.              Healthplus Surgery Center LLC            Arthroscopy Shoulder Surg Debride…   10/15/2021   29823     $2,944.87
1098936-03    E.D.              Healthplus Surgery Center LLC            Arthroscopy Shoulder Rotator Cuff…   10/15/2021   29827     $5,677.77
1098936-03    E.D.              Healthplus Surgery Center LLC           Anchor/Screw For Opposing Bone-To… 10/15/2021      C1713     $1,669.50
1098936-03    E.D.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…   1/15/2022   20610      $473.38
1098936-03    E.D.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 1/15/2022       29875     $1,472.45
1098936-03    E.D.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 1/15/2022        29880     $3,026.24
1098936-03    E.D.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…     1/15/2022   29999     $1,472.45
1098936-03    E.D.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 1/15/2022       E0650      $531.06
1098936-03    E.D.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     1/15/2022   E0655       $56.04
1098936-04    J.N.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…    8/7/2021   20610      $473.38
1098936-04    J.N.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi…      8/7/2021   29875     $1,472.45
1098936-04    J.N.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 8/7/2021         29880     $3,026.24
1098936-04    J.N.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…      8/7/2021   29999     $1,472.45
1098936-04    J.N.            Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…     8/7/2021   A4649       $50.00
1098936-04    J.N.            Fifth Avenue Surgery Center LLC              Arthroscopy, Knee, Surgical, For …   8/7/2021   G0289     $1,472.45
1098936-04    J.N.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      8/7/2021   E0650      $531.06
1098936-04    J.N.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …      8/7/2021   E0666       $89.56
1098936-04    J.N.                     Good Medica Inc                   Knee Orthosis, Adjustable Knee Jo…     8/7/2021   L1833      $536.08
1098936-04    J.N.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   8/31/2021   22526     $2,605.78
1098936-04    J.N.           Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> …    8/31/2021   62287     $5,292.93
1098936-04    J.N.           Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…    8/31/2021   A4649       $50.00
1105646-02    S.G.               Atlantis Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/10/2022   62321      $976.38
1105646-02    S.G.               Atlantis Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/10/2022   62321      $976.38
1105646-02    S.G.                        SCOB LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/22/2022   62323      $976.38

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                                                           1809
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1105646-02    S.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     6/6/2022   62321      $976.38
1098035-01    I.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…    8/11/2021   29821     $2,798.20
1098035-01    I.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…    8/11/2021   29823     $1,472.45
1098035-01    I.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …    8/11/2021   29825     $1,472.45
1098035-01    I.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Rotator Cuff…    8/11/2021   29827     $5,677.77
1098035-01    I.M.               Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…    8/11/2021   29999     $1,472.45
1098035-01    I.M.               Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…    8/11/2021   29999     $1,472.45
1098035-01    I.M.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …    8/11/2021   64415      $979.78
1098035-01    I.M.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …     8/11/2021   76942      $341.96
1098035-01    I.M.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…    8/11/2021   A4649       $50.00
1098035-01    I.M.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…   8/11/2021   L8699      $971.00
1098035-01    I.M.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 8/11/2021       E0650      $531.06
1098035-01    I.M.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     8/11/2021   E0666       $89.56
1098055-01    E.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi… 9/22/2021        29875     $1,472.45
1098055-01    E.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee Abrasion Arthrp/Mlt D…      9/22/2021   29879     $1,472.45
1098055-01    E.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 9/22/2021        29880     $3,026.24
1098055-01    E.T.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…    9/22/2021   87635       $51.33
1098055-01    E.T.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…    9/22/2021   A4649       $50.00
1098055-01    E.T.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 9/22/2021       E0650      $531.06
1098055-01    E.T.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     9/22/2021   E0666       $89.56
1098055-01    E.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec… 11/24/2021       29821     $5,677.77
1098055-01    E.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…     11/24/2021   29823     $1,472.45
1098055-01    E.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 11/24/2021       29826     $1,472.45
1098055-01    E.T.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…   11/24/2021   87635       $51.33
1098055-01    E.T.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 11/24/2021      E0650      $531.06
1098055-01    E.T.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance … 11/24/2021      E0666       $89.56
1098055-01    E.T.                     Good Medica Inc                   Sewho, Abduction Positioning, Air…   11/24/2021   L3960      $372.50
1098000-05    B.L.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 11/11/2021      29876     $1,472.45
1098000-05    B.L.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 11/11/2021       29880     $3,026.24
1098000-05    B.L.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…   11/11/2021   A4649      $195.00
1098000-05    B.L.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 11/11/2021      E0650      $531.06
1098000-05    B.L.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance … 11/11/2021      E0666       $89.56
1097885-05    J.N.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…    8/21/2021   29821     $5,677.77
1097885-05    J.N.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    8/21/2021   29823     $1,472.45
1097885-05    J.N.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …    8/21/2021   29825     $1,472.45
1097885-05    J.N.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 8/21/2021       29826     $1,472.45
1097885-05    J.N.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    8/21/2021   64415      $979.78
1097885-05    J.N.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     8/21/2021   76942      $341.96
1097885-05    J.N.            Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…    8/21/2021   A4649       $50.00
1097885-05    J.N.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 8/21/2021       E0650      $531.06
1097885-05    J.N.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     8/21/2021   E0666       $89.56
1097885-05    J.N.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…    9/9/2021   22526     $2,605.78
1097885-05    J.N.           Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> …     9/9/2021   62287     $5,292.93
1097885-05    J.N.           Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…     9/9/2021   A4649       $50.00
1097885-05    J.N.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   11/2/2021   22526     $2,605.78
1097885-05    J.N.           Rockaways ASC Development LLC              Discectomy Ant Dcmprn Cord Cervic… 11/2/2021       63075     $6,402.03
1097534-01    E.R.          All City Family Healthcare Center, Inc.      Tenotomy Shoulder Area 1 Tendon…      7/15/2021   23405     $1,839.77
1097534-01    E.R.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Synovec…    7/15/2021   29821     $5,677.77
1097534-01    E.R.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…    7/15/2021   29823     $1,472.45
1097534-01    E.R.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …    7/15/2021   29825     $1,472.45
1097534-01    E.R.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …    7/15/2021   64415      $979.78
1097534-01    E.R.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     7/15/2021   76942      $341.96
1097534-01    E.R.          All City Family Healthcare Center, Inc.         Surgical Supply; Miscellaneous…    7/15/2021   a4649       $72.00
1097534-01    E.R.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…  10/29/2021   22526     $2,646.46
1097534-01    E.R.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…  10/29/2021   22527     $2,646.46
1097534-01    E.R.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> … 10/29/2021     62287     $5,292.93
1097534-01    E.R.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 10/29/2021      E0650      $531.06
1097534-01    E.R.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance … 10/29/2021      E0666       $89.56
1097705-01    M.M.              Manalapan Surgery Center Inc            Arthroscopy Knee Synovectomy 2/>C… 8/31/2021       29876     $1,472.45
1097705-01    M.M.              Manalapan Surgery Center Inc           Arthrs Knee W/Meniscectomy Med&La… 8/31/2021        29880     $3,026.24
1097705-01    M.M.              Manalapan Surgery Center Inc                Unlisted Procedure Arthroscopy…    8/31/2021   29999     $1,472.45
1097705-01    M.M.              Manalapan Surgery Center Inc               Injection Anesthetic Agent Sciati…  8/31/2021   64445      $829.30
1097705-01    M.M.              Manalapan Surgery Center Inc            Us Guidance Needle Placement Img …     8/31/2021   76942      $341.96
1097705-01    M.M.              Manalapan Surgery Center Inc                Surgical Supply; Miscellaneous…    8/31/2021   A4649       $50.00
1097705-01    M.M.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 8/31/2021       E0650      $531.06
1097705-01    M.M.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     8/31/2021   E0666       $89.56
1097741-02    J.Z.             Parkway Ambulatory Surgery Ce             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/16/2021   64493     $1,518.48
1097741-02    J.Z.             Parkway Ambulatory Surgery Ce             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/16/2021   64494     $1,518.48

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                                                          1810
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1097741-02    J.Z.           Parkway Ambulatory Surgery Ce                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/16/2021   64495     $1,518.48
1097741-02    J.Z.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    7/23/2021   29821     $5,677.77
1097741-02    J.Z.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    7/23/2021   29823     $1,472.45
1097741-02    J.Z.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    7/23/2021   29825     $1,472.45
1097741-02    J.Z.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 7/23/2021       29826     $1,472.45
1097741-02    J.Z.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    7/23/2021   64415      $979.78
1097741-02    J.Z.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     7/23/2021   76942      $341.96
1097741-02    J.Z.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…    7/23/2021   A4649       $72.00
1097741-02    J.Z.          Fifth Avenue Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct S…   9/24/2021   64635      $447.52
1097741-02    J.Z.          Fifth Avenue Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct S…   9/24/2021   64635      $976.38
1097741-02    J.Z.          Fifth Avenue Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   9/24/2021   64636      $447.52
1097741-02    J.Z.          Fifth Avenue Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   9/24/2021   64636      $447.52
1097741-02    J.Z.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…    9/24/2021   A4649       $50.00
1097779-02    K.H.             Atlantis Surgery Center LLC                    Injection Single/Mlt Trigger Poin…   7/7/2021   20553      $473.39
1097779-02    K.H.             Atlantis Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/7/2021   64493     $1,423.89
1097779-02    K.H.             Atlantis Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/7/2021   64494     $1,342.52
1097779-02    K.H.             Atlantis Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/7/2021   64495     $1,342.52
1097779-02    K.H.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surgical Cap…    8/10/2021   29806     $5,677.77
1097779-02    K.H.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surg Debride…    8/10/2021   29823     $1,472.45
1097779-02    K.H.          New Horizon Surgical Center LLC                Arthroscopy Shoulder W/Coracoacrm… 8/10/2021       29826     $1,472.45
1097779-02    K.H.          New Horizon Surgical Center LLC                 Single Nerve Block Injection Arm …    8/10/2021   64415      $979.78
1097779-02    K.H.          New Horizon Surgical Center LLC                Us Guidance Needle Placement Img …     8/10/2021   76942      $341.96
1097779-02    K.H.          New Horizon Surgical Center LLC                    Surgical Supply; Miscellaneous…    8/10/2021   A4649       $50.00
1097779-02    K.H.          New Horizon Surgical Center LLC                  Prosthetic Implant, Not Otherwise…   8/10/2021   L8699     $1,227.00
1099049-03    N.A.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/26/2021   62321      $976.38
1099049-03    N.A.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…           8/26/2021   72275      $572.53
1099049-03    N.A.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…    8/26/2021   A4649       $72.00
1099049-03    N.A.             Citimed Surgery Center LLC                 Arthrs Knee W/Meniscectomy Med&La… 10/5/2021        29880     $3,026.24
1097496-01    I.E.          Island Ambulatory Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/8/2021   64490     $1,952.76
1097496-01    I.E.          Island Ambulatory Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/8/2021   64491      $976.38
1097496-01    I.E.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    11/5/2021   29821     $5,677.77
1097496-01    I.E.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    11/5/2021   29823     $1,472.45
1097496-01    I.E.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    11/5/2021   29825     $1,472.45
1097496-01    I.E.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…    11/5/2021   29999     $1,472.45
1097496-01    I.E.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    11/5/2021   64415      $979.78
1097496-01    I.E.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     11/5/2021   76942      $341.96
1097496-01    I.E.          Island Ambulatory Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/2/2022   64490     $1,960.20
1097496-01    I.E.          Island Ambulatory Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/2/2022   64491      $980.10
1097496-01    I.E.          Island Ambulatory Surgery Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/2/2022   64492      $980.10
1097496-01    I.E.          Island Ambulatory Surgery Center                 Infectious Agent Antigen Detectio…    9/2/2022   87426      $200.00
1097496-01    I.E.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/14/2022   64493     $1,960.20
1097496-01    I.E.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/14/2022   64494      $980.10
1097496-01    I.E.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/14/2022   64495      $980.10
1097446-01    J.H.                      SCOB LLC                            Arthroscopy Shoulder Surg Debride…     8/2/2021   29822     $3,026.24
1097446-01    J.H.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…   9/11/2021   20610      $473.38
1097446-01    J.H.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 9/11/2021       29875     $1,472.45
1097446-01    J.H.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 9/11/2021        29880     $3,026.24
1097446-01    J.H.          Fifth Avenue Surgery Center LLC                    Unlisted Procedure Arthroscopy…    9/11/2021   29999     $1,472.45
1097446-01    J.H.          Fifth Avenue Surgery Center LLC                 Infectious Agent Detection By Nuc…    9/11/2021   87635       $51.33
1097446-01    J.H.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…    9/11/2021   A4649       $50.00
1097446-01    J.H.          Fifth Avenue Surgery Center LLC                  Arthroscopy, Knee, Surgical, For …   9/11/2021   G0289     $1,472.45
1097446-01    J.H.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 9/11/2021       E0650      $531.06
1097446-01    J.H.                   Good Medica Inc                        Segmental Pneumatic Appliance, Tr…    9/11/2021   E0656       $89.56
1097446-01    J.H.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…   9/20/2021   22526     $2,605.78
1097446-01    J.H.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> …    9/20/2021   62287     $5,292.93
1097446-01    J.H.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…    9/20/2021   87635       $51.33
1097446-01    J.H.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    9/20/2021   A4649       $50.00
1097446-01    J.H.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…  9/30/2021   20552      $236.69
1097446-01    J.H.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/30/2021   62323      $976.38
1097446-01    J.H.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…           9/30/2021   72275      $572.53
1097446-01    J.H.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …     9/30/2021   76942      $341.96
1097446-01    J.H.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…    9/30/2021   87635       $51.33
1097446-01    J.H.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    9/30/2021   A4649       $50.00
1097577-01    R.P.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> …     9/1/2021   62287     $5,292.93
1097577-01    R.P.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…     9/1/2021   A4649       $50.00
1097577-01    R.P.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…   1/10/2022   22526     $5,292.93
1097577-01    R.P.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…   1/10/2022   22527     $5,292.93
1097577-01    R.P.                   Triborough ASC                         Dcmprn Perq Nucleus Pulposus 1/> …    1/10/2022   62287     $5,292.93

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                                                        1811
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                       Provider                                      Service
 Number      Person                                                                                           Service     Code       Billed
1097577-01    R.P.                  Triborough ASC                      Probe, Percutaneous Lumbar Discec…    1/10/2022   c2614      $800.00
1097577-03    M.C.             Citimed Surgery Center LLC                 Injection Single/Mlt Trigger Poin…  6/26/2021   20553      $473.39
1097577-03    M.C.             Citimed Surgery Center LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/26/2021   62323      $976.38
1097577-03    M.C.        Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surg Synovec…    6/28/2021   29821     $2,798.20
1097577-03    M.C.        Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surg Debride…    6/28/2021   29823     $1,472.45
1097577-03    M.C.        Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder Ahesiolysis …   6/28/2021   29825     $1,472.45
1097577-03    M.C.        Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder W/Coracoacrm… 6/28/2021       29826     $1,472.45
1097577-03    M.C.        Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Rotator Cuff…    6/28/2021   29827     $5,677.77
1097577-03    M.C.        Bronx SC LLC d/b/a Empire State ASC            Single Nerve Block Injection Arm …   6/28/2021   64415      $979.78
1097577-03    M.C.        Bronx SC LLC d/b/a Empire State ASC          Us Guidance Needle Placement Img …     6/28/2021   76942      $341.96
1097577-03    M.C.        Bronx SC LLC d/b/a Empire State ASC              Surgical Supply; Miscellaneous…    6/28/2021   A4649       $50.00
1097577-03    M.C.                     SCOB LLC                           Injection Single/Mlt Trigger Poin…   8/4/2021   20553      $473.39
1097577-03    M.C.                     SCOB LLC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     8/4/2021   62323      $976.38
1097979-01    B.R.            Surgicore of Jersey City LLC            Arthrs Knee W/Meniscectomy Med&La… 6/24/2021        29880     $3,026.24
1097979-01    B.R.            Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…    6/24/2021   A4649       $50.00
1097979-01    B.R.            Surgicore of Jersey City LLC               Arthroscopy, Knee, Surgical, For …   6/24/2021   G0289     $1,472.45
1097979-01    B.R.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 6/24/2021       E0650      $531.06
1097979-01    B.R.                  Good Medica Inc                    Nonsegmental Pneumatic Appliance …     6/24/2021   E0666       $89.56
1099199-01    T.S.          Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…   8/31/2021   20610      $473.39
1099199-01    T.S.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…    8/31/2021   29821     $5,677.77
1099199-01    T.S.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…    8/31/2021   29823     $1,472.45
1099199-01    T.S.          Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …   8/31/2021   29825     $1,472.45
1099199-01    T.S.          Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …   8/31/2021   64415      $979.78
1099199-01    T.S.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …     8/31/2021   76942      $341.96
1099199-01    T.S.          Fifth Avenue Surgery Center LLC                Surgical Supply; Miscellaneous…    8/31/2021   A4649       $50.00
1099199-01    T.S.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 8/31/2021       E0650      $531.06
1099199-01    T.S.                  Good Medica Inc                    Nonsegmental Pneumatic Appliance …     8/31/2021   E0666       $89.56
1097813-01    J.R.                  Triborough ASC                        Injection Single/Mlt Trigger Poin…  10/6/2021   20553      $554.74
1097813-01    J.R.                  Triborough ASC                      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    10/6/2021   64493     $1,952.76
1097813-01    J.R.                  Triborough ASC                      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    10/6/2021   64494     $1,952.76
1097813-01    J.R.                  Triborough ASC                      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    10/6/2021   64495     $1,952.76
1097813-01    J.R.         Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/29/2021   62321      $976.38
1097813-01    J.R.         Rockaways ASC Development LLC                         Epidurograpy Rs&I…          10/29/2021   72275      $572.53
1097813-01    J.R.         Rockaways ASC Development LLC                 Perq Intrdscl Electrothrm Annulop…   11/5/2021   22526     $2,605.78
1097813-01    J.R.         Rockaways ASC Development LLC                 Perq Intrdscl Electrothrm Annulop…   11/5/2021   22527     $2,605.78
1097813-01    J.R.         Rockaways ASC Development LLC                Injection Px Discogrphy Ea Lvl Ce…    11/5/2021   62291      $748.74
1097813-01    J.R.         Rockaways ASC Development LLC               Discectomy Ant Dcmprn Cord Cervic… 11/5/2021       63075     $6,402.03
1097813-01    J.R.         Rockaways ASC Development LLC               Discectomy Ant Dcmprn Cord Cervic… 11/5/2021       63076     $2,605.78
1097813-01    J.R.         Rockaways ASC Development LLC                Diskograpy Cervical/Thoracic Rs&I…    11/5/2021   72285      $962.54
1097664-02    M.T.          Fifth Avenue Surgery Center LLC                      Epidurograpy Rs&I…            8/4/2021   72275      $572.53
1097664-02    M.T.          Fifth Avenue Surgery Center LLC                Surgical Supply; Miscellaneous…     8/4/2021   A4649       $50.00
1097664-02    M.T.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/15/2021   62321      $976.38
1097664-02    M.T.          Fifth Avenue Surgery Center LLC                      Epidurograpy Rs&I…           9/15/2021   72275      $572.53
1097664-02    M.T.          Fifth Avenue Surgery Center LLC                Surgical Supply; Miscellaneous…    9/15/2021   A4649       $50.00
1097664-02    M.T.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/20/2021   64493      $976.38
1097664-02    M.T.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/20/2021   64494      $447.52
1097664-02    M.T.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/20/2021   64495      $447.52
1097664-02    M.T.          Fifth Avenue Surgery Center LLC                Surgical Supply; Miscellaneous…   10/20/2021   A4649       $50.00
1097664-02    M.T.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/17/2021   64493      $976.38
1097664-02    M.T.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/17/2021   64494      $447.52
1097664-02    M.T.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/17/2021   64495      $447.52
1097664-02    M.T.          Fifth Avenue Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   12/8/2021   64490      $976.38
1097664-02    M.T.          Fifth Avenue Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   12/8/2021   64491      $447.52
1097664-02    M.T.          Fifth Avenue Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   12/8/2021   64492      $447.52
1097664-02    M.T.          Fifth Avenue Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…  12/29/2021   64490      $976.38
1097664-02    M.T.          Fifth Avenue Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…  12/29/2021   64491      $447.52
1097664-02    M.T.          Fifth Avenue Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…  12/29/2021   64492      $447.52
1097664-02    M.T.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    1/26/2022   62321      $976.38
1097664-02    M.T.          Fifth Avenue Surgery Center LLC              Inject Si Joint Arthrgrphy&/Anes/…    2/9/2022   27096      $940.42
1097664-02    M.T.          Fifth Avenue Surgery Center LLC              Inject Si Joint Arthrgrphy&/Anes/…   2/23/2022   27096      $940.42
1097664-02    M.T.          Fifth Avenue Surgery Center LLC              Inject Si Joint Arthrgrphy&/Anes/…   3/16/2022   27096      $940.42
1097664-02    M.T.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/13/2022   62323      $976.38
1097664-02    M.T.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/29/2022   62323      $976.38
1097664-02    M.T.          Fifth Avenue Surgery Center LLC              Inject Si Joint Arthrgrphy&/Anes/…   7/27/2022   27096      $940.42
1097664-02    M.T.          Fifth Avenue Surgery Center LLC              Inject Si Joint Arthrgrphy&/Anes/…   8/17/2022   27096      $940.42
1097664-02    M.T.               Bay Ridge Surgi Center                   Injection Single/Mlt Trigger Poin…   2/9/2023   20553      $554.76
1097664-02    M.T.               Bay Ridge Surgi Center                  Inject Si Joint Arthrgrphy&/Anes/…    2/9/2023   27096      $940.42
1097664-02    M.T.               Bay Ridge Surgi Center                             Surgical Trays…            2/9/2023   A4550     $1,000.00

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                                                        1812
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                       Provider                                       Service
 Number      Person                                                                                            Service     Code       Billed
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…     2/9/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…     2/9/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Inject Si Joint Arthrgrphy&/Anes/…     3/2/2023   27096      $940.42
1097664-02    M.T.               Bay Ridge Surgi Center                 Fluoroscopic Guidance Needle Plac…      3/2/2023   77002     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                             Surgical Trays…             3/2/2023   A4550     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…     3/2/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…     3/2/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Inject Si Joint Arthrgrphy&/Anes/…    3/23/2023   27096      $940.42
1097664-02    M.T.               Bay Ridge Surgi Center                 Fluor Needle/Cath Spine/Paraspina…     3/23/2023   77003     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                             Surgical Trays…            3/23/2023   A4550     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    3/23/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    3/23/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                   Injection Single/Mlt Trigger Poin…   3/30/2023   20553      $554.76
1097664-02    M.T.               Bay Ridge Surgi Center                 Us Guidance Needle Placement Img …     3/30/2023   76942      $341.96
1097664-02    M.T.               Bay Ridge Surgi Center                 Fluor Needle/Cath Spine/Paraspina…     3/30/2023   77003     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                 Appl Modality 1/> Areas Elec Stim…     3/30/2023   97014     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                 Appl Modality 1/> Areas Ultrasoun…     3/30/2023   97035       $25.26
1097664-02    M.T.               Bay Ridge Surgi Center                 Manual Therapy Tqs 1/> Regions Ea…     3/30/2023   97140     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                             Surgical Trays…            3/30/2023   A4550     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    3/30/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    3/30/2023   J1030     $1,000.00
1097664-02    M.T.        Bronx SC LLC d/b/a Empire State ASC            Percutaneous Injection Of Allogen…     4/5/2023   0627T     $5,292.93
1097664-02    M.T.               Bay Ridge Surgi Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/11/2023   62323      $976.38
1097664-02    M.T.               Bay Ridge Surgi Center                 Fluor Needle/Cath Spine/Paraspina…     4/11/2023   77003     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                             Surgical Trays…            4/11/2023   A4550     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    4/11/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    4/11/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Percutaneous Injection Of Allogen…    4/13/2023   0627T     $9,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                 Fluor Needle/Cath Spine/Paraspina…     4/13/2023   77003     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                             Surgical Trays…            4/13/2023   A4550     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    4/13/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    4/13/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      5/2/2023   62323      $976.38
1097664-02    M.T.               Bay Ridge Surgi Center                 Fluor Needle/Cath Spine/Paraspina…      5/2/2023   77003     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                             Surgical Trays…             5/2/2023   A4550     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…     5/2/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…     5/2/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     5/23/2023   62321      $976.38
1097664-02    M.T.               Bay Ridge Surgi Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     5/23/2023   62321      $976.38
1097664-02    M.T.               Bay Ridge Surgi Center                 Fluoroscopic Guidance Needle Plac…     5/23/2023   77002     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                 Fluoroscopic Guidance Needle Plac…     5/23/2023   77002     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                             Surgical Trays…            5/23/2023   A4550     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                             Surgical Trays…            5/23/2023   A4550     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    5/23/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    5/23/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    5/23/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    5/23/2023   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/19/2024   64493      $976.38
1097664-02    M.T.               Bay Ridge Surgi Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/19/2024   64494      $976.38
1097664-02    M.T.               Bay Ridge Surgi Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/19/2024   64495      $976.38
1097664-02    M.T.               Bay Ridge Surgi Center                 Fluor Needle/Cath Spine/Paraspina…     3/19/2024   77003     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                             Surgical Trays…            3/19/2024   A4550     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    3/19/2024   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…    3/19/2024   J1030     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/18/2024   64490     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/18/2024   64491     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/18/2024   64492     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                 Fluor Needle/Cath Spine/Paraspina…     4/18/2024   77003     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                             Surgical Trays…            4/18/2024   A4550     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     5/7/2024   64490     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     5/7/2024   64491     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     5/7/2024   64492     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                 Fluor Needle/Cath Spine/Paraspina…      5/7/2024   77003     $1,500.00
1097664-02    M.T.               Bay Ridge Surgi Center                             Surgical Trays…             5/7/2024   A4550     $1,000.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…     5/7/2024   J1010       $50.00
1097664-02    M.T.               Bay Ridge Surgi Center                  Injection, Methylprednisolone Ace…     5/7/2024   J1010       $50.00
1097664-02    M.T.               Bay Ridge Surgi Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/16/2024   62323      $976.38
1097664-02    M.T.               Bay Ridge Surgi Center                 Fluor Needle/Cath Spine/Paraspina…     5/16/2024   77003     $1,500.00

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                                                          1813
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1097664-02    M.T.                Bay Ridge Surgi Center                                Surgical Trays…           5/16/2024   A4550     $1,000.00
1097664-02    M.T.                Bay Ridge Surgi Center                     Injection, Methylprednisolone Ace…   5/16/2024   J1010       $50.00
1097664-02    M.T.                Bay Ridge Surgi Center                     Injection, Methylprednisolone Ace…   5/16/2024   J1010       $50.00
1097664-02    M.T.        Bronx SC LLC d/b/a Empire State ASC                Inject Si Joint Arthrgrphy&/Anes/…   7/10/2024   27096      $940.42
1097664-02    M.T.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/17/2024   64493      $976.38
1097664-02    M.T.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/17/2024   64494      $447.52
1097664-02    M.T.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/17/2024   64495      $447.52
1098464-02    U.V.             East Tremont Medical Center                  Anesthesia Perq Image Guided Spin…    8/30/2021    1936      $445.65
1098464-02    U.V.             East Tremont Medical Center                   Perq Intrdscl Electrothrm Annulop…   8/30/2021   22526     $5,477.16
1098464-02    U.V.             East Tremont Medical Center                  Dcmprn Perq Nucleus Pulposus 1/> …    8/30/2021   62287     $2,625.00
1098464-02    U.V.             East Tremont Medical Center                  Dcmprn Perq Nucleus Pulposus 1/> …    8/30/2021   62287     $5,724.06
1098464-02    U.V.             East Tremont Medical Center                  Injection Px Discography Each Lev…    8/30/2021   62290      $781.00
1098464-02    U.V.             East Tremont Medical Center                  Njx Arterial Occlusion Arven Malf…    8/30/2021   62294      $871.70
1098464-02    U.V.             East Tremont Medical Center                 Njx Anes&/Strd W/Img Tfrml Edrl L… 8/30/2021       64483      $371.31
1098464-02    U.V.             East Tremont Medical Center                 Njx Anes&/Strd W/Img Tfrml Edrl L… 8/30/2021       64484      $105.65
1098464-02    U.V.             East Tremont Medical Center                  Fluor Needle/Cath Spine/Paraspina…    8/30/2021   77003      $358.85
1098464-02    U.V.             East Tremont Medical Center                  Infectious Agent Detection By Nuc…    8/30/2021   87635      $150.00
1098464-02    U.V.             East Tremont Medical Center                  Office Consultation New/Estab Pat…    8/30/2021   99241      $135.00
1098464-02    U.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec… 10/15/2021     29821     $5,677.77
1098464-02    U.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   10/15/2021   29823     $1,472.45
1098464-02    U.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …   10/15/2021   29825     $1,472.45
1098464-02    U.V.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 10/15/2021      29826     $1,472.45
1098464-02    U.V.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…   10/15/2021   29999     $1,472.45
1098464-02    U.V.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   10/15/2021   64415      $979.78
1098464-02    U.V.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img … 10/15/2021      76942      $341.96
1098464-02    U.V.        All City Family Healthcare Center, Inc.           Infectious Agent Detection By Nuc…   10/15/2021   87635       $51.33
1098464-02    U.V.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…   10/15/2021   A4649       $72.00
1097887-01    O.H.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 10/15/2021      29875     $1,472.45
1097887-01    O.H.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 10/15/2021       29880     $3,026.24
1097887-01    O.H.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…   10/15/2021   A4649       $50.00
1097887-01    O.H.          Fifth Avenue Surgery Center LLC                   Arthroscopy, Knee, Surgical, For … 10/15/2021   G0289     $1,472.45
1097887-01    O.H.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 10/15/2021      E0650      $531.06
1097887-01    O.H.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance … 10/15/2021      E0666       $89.56
1096748-01    K.R.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/11/2021   62323      $976.38
1096748-01    K.R.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…           6/11/2021   72275      $572.53
1096748-01    K.R.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…    6/11/2021   87635       $51.33
1096748-01    K.R.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    6/11/2021   A4649       $50.00
1096748-01    K.R.                     SCOB LLC                             Arthroscopy Shoulder Surg Synovec…     8/6/2021   29821     $5,677.77
1096748-01    K.R.                     SCOB LLC                             Arthroscopy Shoulder Surg Debride…     8/6/2021   29823     $2,944.87
1096770-01    M.P.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/4/2021   62323      $976.38
1096770-01    M.P.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…            6/4/2021   72275      $572.52
1096770-01    M.P.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Knee Synovectomy Limi… 7/27/2021       29875     $1,472.45
1096770-01    M.P.        Bronx SC LLC d/b/a Empire State ASC             Arthrs Knee W/Meniscectomy Med&La… 7/27/2021        29880     $3,026.24
1096770-01    M.P.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Knee W/Lysis Adhesion… 7/27/2021       29884     $1,472.45
1096770-01    M.P.        Bronx SC LLC d/b/a Empire State ASC                  Unlisted Procedure Arthroscopy…    7/27/2021   29999     $1,472.45
1096770-01    M.P.        Bronx SC LLC d/b/a Empire State ASC                  Surgical Supply; Miscellaneous…    7/27/2021   A4649       $50.00
1097061-07    Y.D.        All City Family Healthcare Center, Inc.           Tenotomy Shoulder Area 1 Tendon…      7/19/2021   23405     $1,839.77
1097061-07    Y.D.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    7/19/2021   29821     $2,798.20
1097061-07    Y.D.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    7/19/2021   29825     $1,472.45
1097061-07    Y.D.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 7/19/2021       29826     $1,472.45
1097061-07    Y.D.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Rotator Cuff…    7/19/2021   29827     $5,677.77
1097061-07    Y.D.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    7/19/2021   64415      $979.78
1097061-07    Y.D.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     7/19/2021   76942      $341.96
1097061-07    Y.D.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…    7/19/2021   A4649       $72.00
1097061-07    Y.D.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…    8/22/2021   87635     $1,200.00
1097061-07    Y.D.                     SCOB LLC                               Injection Single/Mlt Trigger Poin…  8/24/2021   20552      $473.39
1097061-07    Y.D.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/24/2021   62323      $976.38
1097061-07    Y.D.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…    9/12/2021   87635     $1,200.00
1097061-07    Y.D.              Hudson Regional Hospital                    Specimen Collection For Severe Ac…    9/12/2021   G2023       $97.84
1097061-07    Y.D.                     SCOB LLC                               Injection Single/Mlt Trigger Poin…  9/15/2021   20553      $473.39
1097061-07    Y.D.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/15/2021   62321      $976.38
1097061-07    Y.D.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…    9/23/2021   87635     $1,200.00
1097061-07    Y.D.             Citimed Surgery Center LLC                     Injection Single/Mlt Trigger Poin…  9/25/2021   20553      $473.39
1097061-07    Y.D.             Citimed Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/25/2021   62323      $976.38
1097143-02    S.H.          Fifth Avenue Surgery Center LLC                 Tenotomy Shoulder Area 1 Tendon…     11/20/2021   23405     $1,839.77
1097143-02    S.H.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surgical Rem… 11/20/2021     29819     $1,472.45
1097143-02    S.H.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec… 11/20/2021     29821     $5,677.77
1097143-02    S.H.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   11/20/2021   29823     $1,472.45

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                                                          1814
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1097143-02    S.H.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis … 11/20/2021   29825     $1,472.45
1097143-02    S.H.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 11/20/2021     29826     $1,472.45
1097143-02    S.H.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm … 11/20/2021   64415      $979.78
1097143-02    S.H.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img … 11/20/2021     76942      $341.96
1097143-02    S.H.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 11/20/2021     E0650      $531.06
1097143-02    S.H.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance … 11/20/2021     E0655       $56.04
1097225-01    B.C.          Fifth Avenue Surgery Center LLC                 Arthroscopy Wrist Surgical Synove…    3/4/2022   29845     $3,026.24
1097225-01    B.C.          Fifth Avenue Surgery Center LLC                 Arthrs Wrst Exc&/Rpr Triang Fibro…    3/4/2022   29846     $1,472.45
1097225-01    B.C.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …   3/4/2022   64415      $979.78
1097225-01    B.C.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     3/4/2022   76942      $341.96
1097225-01    B.C.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…     3/4/2022   E0650      $531.06
1097225-01    B.C.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     3/4/2022   E0666       $89.56
1097225-01    B.C.                   Good Medica Inc                        Who, Wrist Extension Control Cock…    3/4/2022   L3908       $47.08
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…   6/1/2021   20610      $473.39
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi…     6/1/2021   29875     $1,472.45
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 6/1/2021        29880     $3,026.24
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…     6/1/2021   A4649       $50.00
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                  Arthroscopy, Knee, Surgical, For …   6/1/2021   G0289     $1,472.45
1097266-90    Y.P.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…     6/1/2021   E0650      $531.06
1097266-90    Y.P.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     6/1/2021   E0666       $89.56
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…   6/8/2021   20610      $473.39
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi…     6/8/2021   29875     $1,472.45
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 6/8/2021        29880     $3,026.24
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…     6/8/2021   A4649       $50.00
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                  Arthroscopy, Knee, Surgical, For …   6/8/2021   G0289     $1,472.45
1097266-90    Y.P.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…     6/8/2021   E0650      $531.06
1097266-90    Y.P.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     6/8/2021   E0666       $89.56
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…  6/15/2021   20610      $473.39
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…   6/15/2021   29821     $5,677.77
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   6/15/2021   29823     $1,472.45
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …  6/15/2021   64415      $979.78
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    6/15/2021   76942      $341.96
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…    6/15/2021   A4649       $50.00
1097266-90    Y.P.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 6/15/2021      E0650      $531.06
1097266-90    Y.P.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    6/15/2021   E0666       $89.56
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…  6/22/2021   20610      $473.39
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…   6/22/2021   29821     $5,677.77
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   6/22/2021   29823     $1,472.45
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …  6/22/2021   29825     $1,472.45
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …  6/22/2021   64415      $979.78
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    6/22/2021   76942      $341.96
1097266-90    Y.P.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…    6/22/2021   A4649       $50.00
1097266-90    Y.P.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 6/22/2021      E0650      $531.06
1097266-90    Y.P.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    6/22/2021   E0666       $89.56
1097266-90    Y.P.              Hudson Regional Hospital                      Comprehensive Metabolic Panel…     7/12/2021   80053      $150.00
1097266-90    Y.P.              Hudson Regional Hospital                   Drug Tst Prsmv Instrmnt Chem Anal…    7/12/2021   80307      $359.15
1097266-90    Y.P.              Hudson Regional Hospital                    Urnls Dip Stick/Tablet Reagent Au…   7/12/2021   81001      $134.00
1097266-90    Y.P.              Hudson Regional Hospital                       Hemoglobin Glycosylated A1C…      7/12/2021   83036       $66.70
1097266-90    Y.P.              Hudson Regional Hospital                    Gonadotropin Chorionic Qualitativ…   7/12/2021   84703       $51.65
1097266-90    Y.P.              Hudson Regional Hospital                  Blood Count Complete Auto&Auto Di… 7/12/2021       85025      $147.00
1097266-90    Y.P.              Hudson Regional Hospital                             Prothrombin Time…           7/12/2021   85610      $143.00
1097266-90    Y.P.              Hudson Regional Hospital                    Thromboplastin Time Partial Plasm…   7/12/2021   85730      $147.00
1097266-90    Y.P.              Hudson Regional Hospital                   Antibody Screen Rbc Each Serum Te…    7/12/2021   86850      $105.80
1097266-90    Y.P.              Hudson Regional Hospital                        Blood Typing Serologic Abo…      7/12/2021   86900      $498.84
1097266-90    Y.P.              Hudson Regional Hospital                      Blood Typing Serologic Rh (D)…     7/12/2021   86901       $56.95
1097266-90    Y.P.              Hudson Regional Hospital                     Iadna S Aureus Methicillin Resist…  7/12/2021   87641      $241.40
1097266-90    Y.P.              Hudson Regional Hospital                    Ecg Routine Ecg W/Least 12 Lds Tr…   7/12/2021   93005      $323.70
1097266-90    Y.P.        All City Family Healthcare Center, Inc.           Njx Pltlt Plasma W/Img Harvest/Pr…   7/14/2021   0232T      $875.92
1097266-90    Y.P.        All City Family Healthcare Center, Inc.           Arthroscopy Wrist Surgical Synove…   7/14/2021   29845     $3,026.24
1097266-90    Y.P.        All City Family Healthcare Center, Inc.           Arthrs Wrst Exc&/Rpr Triang Fibro…   7/14/2021   29846     $1,472.45
1097266-90    Y.P.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …  7/14/2021   64415      $979.78
1097266-90    Y.P.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    7/14/2021   76942      $341.96
1097266-90    Y.P.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…    7/14/2021   A4649       $72.00
1097266-90    Y.P.              Hudson Regional Hospital                      Comprehensive Metabolic Panel…    11/23/2021   80053      $150.00
1097266-90    Y.P.              Hudson Regional Hospital                   Drug Tst Prsmv Instrmnt Chem Anal… 11/23/2021     80307      $359.15
1097266-90    Y.P.              Hudson Regional Hospital                    Urnls Dip Stick/Tablet Reagent Au…  11/23/2021   81001      $134.00
1097266-90    Y.P.              Hudson Regional Hospital                       Hemoglobin Glycosylated A1C…     11/23/2021   83036       $66.70
1097266-90    Y.P.              Hudson Regional Hospital                    Gonadotropin Chorionic Qualitativ…  11/23/2021   84703       $51.65

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                                                           1815
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1097266-90    Y.P.               Hudson Regional Hospital              Blood Count Complete Auto&Auto Di…      11/23/2021   85025      $147.00
1097266-90    Y.P.               Hudson Regional Hospital                         Prothrombin Time…            11/23/2021   85610      $143.00
1097266-90    Y.P.               Hudson Regional Hospital               Thromboplastin Time Partial Plasm…     11/23/2021   85730      $147.00
1097266-90    Y.P.               Hudson Regional Hospital              Antibody Screen Rbc Each Serum Te…      11/23/2021   86850      $105.80
1097266-90    Y.P.               Hudson Regional Hospital                   Blood Typing Serologic Abo…        11/23/2021   86900      $498.84
1097266-90    Y.P.               Hudson Regional Hospital                  Blood Typing Serologic Rh (D)…      11/23/2021   86901       $56.95
1097266-90    Y.P.               Hudson Regional Hospital                Iadna S Aureus Methicillin Resist…    11/23/2021   87641      $241.40
1097266-90    Y.P.               Hudson Regional Hospital                  Comprehensive Metabolic Panel…        3/9/2022   80053      $150.00
1097266-90    Y.P.               Hudson Regional Hospital              Drug Tst Prsmv Instrmnt Chem Anal…        3/9/2022   80307      $359.15
1097266-90    Y.P.               Hudson Regional Hospital               Urnls Dip Stick/Tablet Reagent Au…       3/9/2022   81001      $134.00
1097266-90    Y.P.               Hudson Regional Hospital                  Hemoglobin Glycosylated A1C…          3/9/2022   83036       $66.70
1097266-90    Y.P.               Hudson Regional Hospital               Gonadotropin Chorionic Qualitativ…       3/9/2022   84703       $51.65
1097266-90    Y.P.               Hudson Regional Hospital              Blood Count Complete Auto&Auto Di…        3/9/2022   85025      $147.00
1097266-90    Y.P.               Hudson Regional Hospital                         Prothrombin Time…              3/9/2022   85610      $143.00
1097266-90    Y.P.               Hudson Regional Hospital               Thromboplastin Time Partial Plasm…       3/9/2022   85730      $147.00
1097266-90    Y.P.               Hudson Regional Hospital              Antibody Screen Rbc Each Serum Te…        3/9/2022   86850      $105.80
1097266-90    Y.P.               Hudson Regional Hospital                   Blood Typing Serologic Abo…          3/9/2022   86900      $498.84
1097266-90    Y.P.               Hudson Regional Hospital                  Blood Typing Serologic Rh (D)…        3/9/2022   86901       $56.95
1097266-90    Y.P.               Hudson Regional Hospital               Infectious Agent Detection By Nuc…       3/9/2022   87635     $1,200.00
1097266-90    Y.P.               Hudson Regional Hospital                Iadna S Aureus Methicillin Resist…      3/9/2022   87641      $241.40
1097266-90    Y.P.               Hudson Regional Hospital               Ecg Routine Ecg W/Least 12 Lds Tr…       3/9/2022   93005      $323.70
1096509-01    M.P.                     SCOB LLC                          Arthrocentesis Aspir&/Inj Major J…    11/19/2021   20610      $473.39
1096509-01    M.P.                     SCOB LLC                         Arthroscopy Shoulder Surg Synovec…     11/19/2021   29821     $5,677.77
1096509-01    M.P.                     SCOB LLC                         Arthroscopy Shoulder Surg Debride…     11/19/2021   29823     $2,944.87
1096509-01    M.P.                     SCOB LLC                        Arthroscopy Shoulder W/Coracoacrm…      11/19/2021   29826     $2,944.87
1096509-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…    3/22/2022   20553      $236.69
1096509-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      3/22/2022   62321      $976.38
1096472-02    J.L.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      7/18/2021   62321      $976.38
1096472-02    J.L.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…             7/18/2021   72275      $572.53
1096472-02    J.L.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…      7/18/2021   A4649       $50.00
1096472-02    J.L.             Surgicore of Jersey City LLC             Arthroscopy Shoulder Surgical Rem…      7/21/2021   29819     $1,472.45
1096472-02    J.L.             Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Synovec…      7/21/2021   29821     $5,677.77
1096472-02    J.L.             Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Debride…      7/21/2021   29823     $1,472.45
1096472-02    J.L.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Ahesiolysis …     7/21/2021   29825     $1,472.45
1096472-02    J.L.             Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…      7/21/2021   29999     $1,472.45
1096472-02    J.L.             Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…      7/21/2021   29999     $1,472.45
1096472-02    J.L.             Surgicore of Jersey City LLC              Single Nerve Block Injection Arm …     7/21/2021   64415      $979.78
1096472-02    J.L.             Surgicore of Jersey City LLC             Us Guidance Needle Placement Img …      7/21/2021   76942      $341.96
1096472-02    J.L.             Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…      7/21/2021   A4649       $50.00
1096472-02    J.L.             Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…     7/21/2021   L8699      $185.00
1096472-02    J.L.                   Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…       7/21/2021   E0650      $531.06
1096472-02    J.L.                   Good Medica Inc                   Nonsegmental Pneumatic Appliance …       7/21/2021   E0666       $89.56
1096472-02    J.L.           Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…     9/10/2021   22526     $2,605.78
1096472-02    J.L.           Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…     9/10/2021   22527     $2,605.78
1096472-02    J.L.           Rockaways ASC Development LLC              Injection Px Discogrphy Ea Lvl Ce…      9/10/2021   62291      $748.74
1096472-02    J.L.           Rockaways ASC Development LLC             Discectomy Ant Dcmprn Cord Cervic…       9/10/2021   63075     $6,402.03
1096472-02    J.L.           Rockaways ASC Development LLC             Discectomy Ant Dcmprn Cord Cervic…       9/10/2021   63076     $2,605.78
1096472-02    J.L.           Rockaways ASC Development LLC              Diskograpy Cervical/Thoracic Rs&I…      9/10/2021   72285      $962.54
1096472-02    J.L.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…      9/10/2021   A4649       $50.00
1096940-01    J.N.           Rockaways ASC Development LLC             Arthroscopy Shoulder Dx W/Wo Syno…       6/22/2021   29805     $1,472.45
1096940-01    J.N.           Rockaways ASC Development LLC              Arthroscopy Shoulder Surg Synovec…      6/22/2021   29821     $2,798.20
1096940-01    J.N.           Rockaways ASC Development LLC              Arthroscopy Shoulder Surg Debride…      6/22/2021   29823     $1,472.45
1096940-01    J.N.           Rockaways ASC Development LLC               Arthroscopy Shoulder Ahesiolysis …     6/22/2021   29825     $1,472.45
1096940-01    J.N.           Rockaways ASC Development LLC              Arthroscopy Shoulder Rotator Cuff…      6/22/2021   29827     $5,677.77
1096940-01    J.N.           Rockaways ASC Development LLC                 Unlisted Procedure Arthroscopy…      6/22/2021   29999     $1,472.45
1096940-01    J.N.           Rockaways ASC Development LLC               Single Nerve Block Injection Arm …     6/22/2021   64415      $979.78
1096940-01    J.N.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …      6/22/2021   76942      $341.96
1096940-01    J.N.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…      6/22/2021   A4649       $50.00
1096940-01    J.N.             East Tremont Medical Center              Anesthesia Perq Image Guided Spin…       8/9/2021    1936      $148.55
1096940-01    J.N.             East Tremont Medical Center               Perq Intrdscl Electrothrm Annulop…      8/9/2021   22526     $5,477.16
1096940-01    J.N.             East Tremont Medical Center              Dcmprn Perq Nucleus Pulposus 1/> …       8/9/2021   62287     $2,625.00
1096940-01    J.N.             East Tremont Medical Center              Dcmprn Perq Nucleus Pulposus 1/> …       8/9/2021   62287     $5,724.06
1096940-01    J.N.             East Tremont Medical Center              Injection Px Discography Each Lev…       8/9/2021   62290      $781.00
1096940-01    J.N.             East Tremont Medical Center              Njx Arterial Occlusion Arven Malf…       8/9/2021   62294      $871.70
1096940-01    J.N.             East Tremont Medical Center             Njx Anes&/Strd W/Img Tfrml Edrl L…        8/9/2021   64483      $371.31
1096940-01    J.N.             East Tremont Medical Center             Njx Anes&/Strd W/Img Tfrml Edrl L…        8/9/2021   64484      $105.65
1096940-01    J.N.             East Tremont Medical Center              Fluor Needle/Cath Spine/Paraspina…       8/9/2021   77003      $158.85
1096940-01    J.N.             Surgicore of Jersey City LLC              Perq Intrdscl Electrothrm Annulop…     1/21/2022   22526     $5,292.93

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                                                          1816
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1096940-01    J.N.             Surgicore of Jersey City LLC                  Perq Intrdscl Electrothrm Annulop…  1/21/2022   22527     $2,605.78
1096940-01    J.N.             Surgicore of Jersey City LLC                 Unlisted Procedure Nervous System…   1/21/2022   64999      $747.93
1096940-01    J.N.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…  1/21/2022   L8699     $1,495.00
1096609-02    N.I.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/11/2021   62321      $976.38
1096609-02    N.I.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           5/11/2021   72275      $572.52
1096609-02    N.I.          Island Ambulatory Surgery Center               Extrcorpl Shock Wave Muscskele No… 5/27/2021      0101T      $893.24
1096609-02    N.I.          Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin…  5/27/2021   20553      $554.74
1096609-02    N.I.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/27/2021   62323      $976.38
1096609-02    N.I.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           5/27/2021   72275      $572.52
1096609-02    N.I.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…   7/1/2021   20610      $473.38
1096609-02    N.I.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…     7/1/2021   29875     $1,472.45
1096609-02    N.I.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 7/1/2021        29880     $3,026.24
1096609-02    N.I.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…     7/1/2021   a4649       $72.00
1096609-02    N.I.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For …   7/1/2021   G0289     $1,472.45
1096609-02    N.I.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…  9/23/2021   20610      $473.38
1096609-02    N.I.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 9/23/2021      29875     $1,472.45
1096609-02    N.I.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 9/23/2021       29880     $3,026.24
1096609-02    N.I.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…    9/23/2021   A4649       $72.00
1096609-02    N.I.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For …  9/23/2021   G0289     $1,472.45
1096543-01    E.J.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…   8/12/2021   87635     $1,200.00
1096543-01    E.J.              Hudson Regional Hospital                    Specimen Collection For Severe Ac…   8/12/2021   G2023       $97.84
1096543-01    E.J.                     SCOB LLC                              Arthrocentesis Aspir&/Inj Major J…  8/16/2021   20610      $473.39
1096543-01    E.J.                     SCOB LLC                             Arthroscopy Shoulder Surg Synovec…   8/16/2021   29821     $5,677.77
1096543-01    E.J.                     SCOB LLC                             Arthroscopy Shoulder Surg Debride…   8/16/2021   29823     $2,944.87
1096543-01    E.J.                     SCOB LLC                            Arthroscopy Shoulder W/Coracoacrm… 8/16/2021      29826     $2,944.87
1096543-01    E.J.         Rockaways ASC Development LLC                     Arthrocentesis Aspir&/Inj Major J…   2/2/2022   20610      $473.39
1096543-01    E.J.         Rockaways ASC Development LLC                   Arthroscopy Knee Synovectomy Limi…     2/2/2022   29875     $1,472.45
1096543-01    E.J.         Rockaways ASC Development LLC                  Arthrs Knee W/Meniscectomy Med&La… 2/2/2022        29880     $3,026.24
1096543-01    E.J.         Rockaways ASC Development LLC                      Unlisted Procedure Arthroscopy…     2/2/2022   29999     $1,472.45
1096954-01    H.D.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 7/22/2021      29876     $1,472.45
1096954-01    H.D.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 7/22/2021       29880     $3,026.24
1096954-01    H.D.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    7/22/2021   A4649       $50.00
1096954-01    H.D.             Surgicore of Jersey City LLC                 Office-Based Treatment For Opioid…   7/22/2021   G0286     $1,472.45
1096954-01    H.D.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…  7/22/2021   L8699      $195.00
1096954-01    H.D.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 7/22/2021      E0650      $531.06
1096954-01    H.D.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    7/22/2021   E0666       $89.56
1097184-02    A.C.          New Horizon Surgical Center LLC                Arthroscopy Knee Synovectomy Limi… 4/13/2022      29875     $1,472.45
1097184-02    A.C.          New Horizon Surgical Center LLC               Arthrs Knee W/Meniscectomy Med&La… 4/13/2022       29880     $3,026.24
1097184-02    A.C.          New Horizon Surgical Center LLC                Arthroscopy Knee W/Lysis Adhesion… 4/13/2022      29884     $1,472.45
1097184-02    A.C.          New Horizon Surgical Center LLC                   Unlisted Procedure Arthroscopy…    4/13/2022   29999     $1,472.45
1097184-02    A.C.          New Horizon Surgical Center LLC                  Prosthetic Implant, Not Otherwise…  4/13/2022   L8699      $245.00
1097184-02    A.C.                   Good Medica Inc                        Cane, Quad Or Three-Prong, Includ…   4/13/2022   E0105       $18.75
1097184-02    A.C.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 4/13/2022      E0650      $531.06
1097184-02    A.C.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    4/13/2022   E0666       $89.56
1097184-02    A.C.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…  7/24/2022   22526     $2,605.78
1097184-02    A.C.        All City Family Healthcare Center, Inc.           Dcmprn Perq Nucleus Pulposus 1/> …   7/24/2022   62287     $5,292.93
1097184-02    A.C.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/17/2022   62323      $976.38
1096360-02    C.N.             Teammd Surgery Center LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/3/2021   62321     $8,000.00
1096360-02    C.N.             Teammd Surgery Center LLC                            Epidurograpy Rs&I…           12/3/2021   72275     $2,000.00
1096360-02    C.N.             Teammd Surgery Center LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/14/2022   62321     $8,000.00
1096360-02    C.N.             Teammd Surgery Center LLC                            Epidurograpy Rs&I…           1/14/2022   72275     $2,000.00
1096360-02    C.N.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/11/2022   62321      $976.38
1096360-02    C.N.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/28/2022   62323      $976.38
1096360-02    C.N.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/20/2023   62323      $976.38
1096360-04    H.J.             Teammd Surgery Center LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/3/2021   62323     $8,000.00
1096360-04    H.J.             Teammd Surgery Center LLC                            Epidurograpy Rs&I…           12/3/2021   72275     $2,000.00
1096360-04    H.J.             Teammd Surgery Center LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/14/2022   62323     $8,000.00
1096360-04    H.J.             Teammd Surgery Center LLC                            Epidurograpy Rs&I…           1/14/2022   72275     $2,000.00
1096360-04    H.J.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/11/2022   62323      $976.38
1096360-04    H.J.             Surgicore of Jersey City LLC                  Perq Intrdscl Electrothrm Annulop…  1/20/2023   22526     $2,605.78
1096360-04    H.J.             Surgicore of Jersey City LLC                 Dcmprn Perq Nucleus Pulposus 1/> …   1/20/2023   62287     $5,292.93
1096667-02    S.G.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/8/2022   64493      $447.52
1096667-02    S.G.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/8/2022   64493      $976.38
1096667-02    S.G.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/8/2022   64494      $447.52
1096667-02    S.G.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/8/2022   64494      $447.52
1096667-02    S.G.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/8/2022   64495      $447.52
1096667-02    S.G.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/8/2022   64495      $447.52
1096667-02    S.G.             Surgicore of Jersey City LLC                 Dcmprn Perq Nucleus Pulposus 1/> …    2/5/2022   62287     $5,292.93

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                                                           1817
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                          Provider                                     Service
 Number      Person                                                                                               Service     Code       Billed
1096667-02    S.G.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…        2/5/2022   e0650      $531.06
1096667-02    S.G.                     Good Medica Inc                   Nonsegmental Pneumatic Appliance …        2/5/2022   e0666       $89.56
1098288-05    J.S.           Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     10/20/2021   62321      $976.38
1098288-05    J.S.           Rockaways ASC Development LLC                         Epidurograpy Rs&I…            10/20/2021   72275      $572.53
1098288-05    J.S.           Rockaways ASC Development LLC                Infectious Agent Detection By Nuc…     10/20/2021   87635       $51.33
1098288-05    J.S.           Rockaways ASC Development LLC                 Perq Intrdscl Electrothrm Annulop…     12/3/2021   22526     $2,605.78
1098288-05    J.S.           Rockaways ASC Development LLC                 Perq Intrdscl Electrothrm Annulop…     12/3/2021   22527     $2,605.78
1098288-05    J.S.           Rockaways ASC Development LLC                Injection Px Discogrphy Ea Lvl Ce…      12/3/2021   62291      $748.74
1098288-05    J.S.           Rockaways ASC Development LLC               Discectomy Ant Dcmprn Cord Cervic…       12/3/2021   63075     $6,402.03
1098288-05    J.S.           Rockaways ASC Development LLC               Discectomy Ant Dcmprn Cord Cervic…       12/3/2021   63076     $2,605.78
1098288-05    J.S.           Rockaways ASC Development LLC                Diskograpy Cervical/Thoracic Rs&I…      12/3/2021   72285      $962.54
1098288-05    J.S.           Rockaways ASC Development LLC                Infectious Agent Detection By Nuc…      12/3/2021   87635       $51.33
1098288-05    J.S.           Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     12/17/2021   62323      $976.38
1098288-05    J.S.           Rockaways ASC Development LLC                         Epidurograpy Rs&I…            12/17/2021   72275      $572.53
1098288-05    J.S.           Rockaways ASC Development LLC                 Perq Intrdscl Electrothrm Annulop…     2/11/2022   22526     $2,605.78
1098288-05    J.S.           Rockaways ASC Development LLC                 Perq Intrdscl Electrothrm Annulop…     2/11/2022   22527     $2,605.79
1098288-05    J.S.           Rockaways ASC Development LLC                Dcmprn Perq Nucleus Pulposus 1/> …      2/11/2022   62287     $5,292.93
1098288-05    J.S.           Rockaways ASC Development LLC                Infectious Agent Detection By Nuc…      2/11/2022   87635       $51.33
1098288-05    J.S.            Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      4/18/2022   64493     $1,952.76
1098288-05    J.S.            Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      4/18/2022   64494      $976.38
1098288-05    J.S.            Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      4/18/2022   64495      $976.38
1096330-01    T.S.            Island Ambulatory Surgery Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      7/16/2021   62321      $976.38
1096330-01    T.S.            Island Ambulatory Surgery Center                     Epidurograpy Rs&I…             7/16/2021   72275      $572.52
1096330-01    T.S.            Island Ambulatory Surgery Center             Perq Intrdscl Electrothrm Annulop…      8/4/2021   22526     $2,646.47
1096330-01    T.S.            Island Ambulatory Surgery Center            Dcmprn Perq Nucleus Pulposus 1/> …       8/4/2021   62287     $5,292.93
1096330-01    T.S.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…        8/4/2021   E0650      $531.06
1096330-01    T.S.                     Good Medica Inc                   Nonsegmental Pneumatic Appliance …        8/4/2021   E0666       $89.56
1096330-01    T.S.           Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      4/29/2022   62321      $976.38
1096953-01    M.M.           Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…     6/1/2021   20552      $236.69
1096953-01    M.M.           Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       6/1/2021   62323      $976.38
1096953-01    M.M.           Rockaways ASC Development LLC                         Epidurograpy Rs&I…              6/1/2021   72275      $572.53
1096953-01    M.M.           Rockaways ASC Development LLC               Us Guidance Needle Placement Img …        6/1/2021   76942      $341.96
1096953-01    M.M.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…       6/1/2021   A4649       $50.00
1096953-01    M.M.           Rockaways ASC Development LLC                 Perq Intrdscl Electrothrm Annulop…      6/8/2021   22526     $2,605.78
1096953-01    M.M.           Rockaways ASC Development LLC                Dcmprn Perq Nucleus Pulposus 1/> …       6/8/2021   62287     $5,292.93
1096953-01    M.M.           Rockaways ASC Development LLC                Infectious Agent Detection By Nuc…       6/8/2021   87635       $51.33
1096953-01    M.M.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…       6/8/2021   A4649       $50.00
1096953-01    M.M.           Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…     7/6/2021   20552      $236.69
1096953-01    M.M.           Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       7/6/2021   62321      $976.38
1096953-01    M.M.           Rockaways ASC Development LLC               Us Guidance Needle Placement Img …        7/6/2021   76942      $341.96
1096953-01    M.M.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…       7/6/2021   A4649       $50.00
1096953-01    M.M.                       SCOB LLC                         Arthroscopy Shoulder Surg Debride…      11/5/2021   29823     $2,944.87
1096953-01    M.M.                       SCOB LLC                          Arthroscopy Shoulder Distal Clavi…     11/5/2021   29824     $3,026.24
1096209-02    A.R.           Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…     6/3/2021   20552      $236.69
1096209-02    A.R.           Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       6/3/2021   62321      $976.38
1096209-02    A.R.           Rockaways ASC Development LLC                         Epidurograpy Rs&I…              6/3/2021   72275      $572.53
1096209-02    A.R.           Rockaways ASC Development LLC               Us Guidance Needle Placement Img …        6/3/2021   76942      $341.96
1096209-02    A.R.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…       6/3/2021   A4649       $50.00
1096209-02    A.R.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Synovec…      6/16/2021   29821     $5,677.77
1096209-02    A.R.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Debride…      6/16/2021   29823     $1,472.45
1096209-02    A.R.               Surgicore of Jersey City LLC              Arthroscopy Shoulder Ahesiolysis …     6/16/2021   29825     $1,472.45
1096209-02    A.R.               Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…      6/16/2021   29999     $1,472.45
1096209-02    A.R.               Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…      6/16/2021   29999     $1,472.45
1096209-02    A.R.               Surgicore of Jersey City LLC              Single Nerve Block Injection Arm …     6/16/2021   64415      $979.78
1096209-02    A.R.               Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …       6/16/2021   76942      $341.96
1096209-02    A.R.               Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…      6/16/2021   A4649       $50.00
1096209-02    A.R.               Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…     6/16/2021   L8699      $185.00
1096209-02    A.R.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…       6/16/2021   E0650      $531.06
1096209-02    A.R.                     Good Medica Inc                   Nonsegmental Pneumatic Appliance …       6/16/2021   E0666       $89.56
1096209-02    A.R.                       SCOB LLC                        Discectomy Ant Dcmprn Cord Cervic…      12/14/2021   63075     $6,402.03
1096209-02    A.R.                       SCOB LLC                         Probe, Percutaneous Lumbar Discec…     12/14/2021   C2614     $1,237.50
1095837-05    B.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center      Injection Single/Mlt Trigger Poin…    11/2/2021   20553      $236.69
1095837-05    B.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      11/2/2021   62321      $976.38
1095837-05    B.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center             Epidurograpy Rs&I…             11/2/2021   72275      $572.53
1095837-05    B.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Surg Synovec…      3/11/2022   29820     $1,472.45
1095837-05    B.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Surg Debride…      3/11/2022   29823     $3,026.24
1095837-05    B.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder W/Coracoacrm…       3/11/2022   29826     $1,472.45
1095837-05    B.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center     Single Nerve Block Injection Arm …     3/11/2022   64415      $979.78

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                                                           1818
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1095837-05    B.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …      3/11/2022   76942      $341.96
1095837-05    B.Z.                   Good Medica Inc                    So, Acromio/Clavicular (Canvas An…     3/11/2022   L3670      $111.07
1096218-01    J.C.             Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Synovec…     7/24/2021   29821     $5,677.77
1096218-01    J.C.             Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Debride…     7/24/2021   29823     $1,472.45
1096218-01    J.C.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Ahesiolysis …    7/24/2021   29825     $1,472.45
1096218-01    J.C.             Surgicore of Jersey City LLC            Arthroscopy Shoulder W/Coracoacrm…      7/24/2021   29826     $1,472.45
1096218-01    J.C.             Surgicore of Jersey City LLC              Single Nerve Block Injection Arm …    7/24/2021   64415      $979.78
1096218-01    J.C.             Surgicore of Jersey City LLC             Us Guidance Needle Placement Img …     7/24/2021   76942      $341.96
1096218-01    J.C.             Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…     7/24/2021   A4649       $50.00
1096218-01    J.C.                   Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…      7/24/2021   E0650      $531.06
1096218-01    J.C.                   Good Medica Inc                   Nonsegmental Pneumatic Appliance …      7/24/2021   E0666       $89.56
1095706-01    F.C.              Bergenfield Surgical Center               Injection Single/Mlt Trigger Poin…   11/5/2021   20552      $554.74
1095706-01    F.C.              Bergenfield Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/5/2021   62323      $976.38
1095706-01    F.C.              Bergenfield Surgical Center                      Epidurograpy Rs&I…            11/5/2021   72275      $653.89
1095706-01    F.C.              Bergenfield Surgical Center                         Surgical Trays…            11/5/2021   A4550      $750.00
1095706-01    F.C.              Bergenfield Surgical Center               Injection Single/Mlt Trigger Poin…   1/14/2022   20552      $554.74
1095706-01    F.C.              Bergenfield Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/14/2022   62323      $976.38
1095706-01    F.C.              Bergenfield Surgical Center                         Surgical Trays…            1/14/2022   A4550      $750.00
1095706-01    F.C.              Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/4/2022   64493     $1,952.76
1095706-01    F.C.              Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/4/2022   64494     $1,952.76
1095706-01    F.C.              Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/4/2022   64495     $1,952.76
1095706-01    F.C.              Bergenfield Surgical Center                         Surgical Trays…             2/4/2022   A4550      $750.00
1095706-01    F.C.              Bergenfield Surgical Center               Injection Single/Mlt Trigger Poin…    3/4/2022   20552      $554.74
1095706-01    F.C.              Bergenfield Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      3/4/2022   62321      $976.38
1095706-01    F.C.              Bergenfield Surgical Center                         Surgical Trays…             3/4/2022   A4550      $750.00
1095706-01    F.C.              Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/25/2022   64493     $1,952.76
1095706-01    F.C.              Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/25/2022   64494     $1,952.76
1095706-01    F.C.              Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/25/2022   64495     $1,952.76
1095706-01    F.C.              Bergenfield Surgical Center                         Surgical Trays…            3/25/2022   A4550      $750.00
1095706-01    F.C.              Bergenfield Surgical Center               Injection Single/Mlt Trigger Poin…   6/10/2022   20552      $554.74
1095706-01    F.C.              Bergenfield Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     6/10/2022   62321      $976.38
1095706-01    F.C.              Bergenfield Surgical Center                         Surgical Trays…            6/10/2022   A4550      $750.00
1095706-01    F.C.              Bergenfield Surgical Center              Dstr Nrolytc Agnt Parverteb Fct S…     7/8/2022   64635      $976.38
1095706-01    F.C.              Bergenfield Surgical Center              Dstr Nrolytc Agnt Parverteb Fct A…     7/8/2022   64636      $976.38
1095706-01    F.C.              Bergenfield Surgical Center              Dstr Nrolytc Agnt Parverteb Fct A…     7/8/2022   64636      $976.38
1095706-01    F.C.              Bergenfield Surgical Center                         Surgical Trays…             7/8/2022   A4550      $750.00
1095706-01    F.C.           Fifth Avenue Surgery Center LLC             Inject Si Joint Arthrgrphy&/Anes/…    6/29/2023   27096      $940.42
1095961-02    A.O.             Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Synovec…     5/22/2021   29821     $5,677.77
1095961-02    A.O.             Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Debride…     5/22/2021   29823     $1,472.45
1095961-02    A.O.             Surgicore of Jersey City LLC              Single Nerve Block Injection Arm …    5/22/2021   64415      $979.78
1095961-02    A.O.             Surgicore of Jersey City LLC             Us Guidance Needle Placement Img …     5/22/2021   76942      $341.96
1095961-02    A.O.             Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…     5/22/2021   A4649       $50.00
1095961-02    A.O.             Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…    5/22/2021   L8699      $185.00
1095961-02    A.O.                   Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…      5/22/2021   E0650      $531.06
1095961-02    A.O.                   Good Medica Inc                   Nonsegmental Pneumatic Appliance …      5/22/2021   E0666       $89.56
1096515-02    R.L.                   Triborough ASC                      Perq Intrdscl Electrothrm Annulop…     4/4/2022   22526     $5,292.93
1096515-02    R.L.                   Triborough ASC                      Perq Intrdscl Electrothrm Annulop…     4/4/2022   22527     $5,292.93
1096515-02    R.L.                   Triborough ASC                     Dcmprn Perq Nucleus Pulposus 1/> …      4/4/2022   62287     $5,292.93
1096515-02    R.L.                   Triborough ASC                     Probe, Percutaneous Lumbar Discec…      4/4/2022   C2614      $800.00
1096515-02    R.L.                   Triborough ASC                      Perq Intrdscl Electrothrm Annulop…    5/16/2022   22526     $5,292.93
1096515-02    R.L.                   Triborough ASC                     Dcmprn Perq Nucleus Pulposus 1/> …     5/16/2022   62287     $5,292.93
1096515-02    R.L.                   Triborough ASC                     Probe, Percutaneous Lumbar Discec…     5/16/2022   C2614      $800.00
1096515-02    R.L.           Fifth Avenue Surgery Center LLC             Arthroscopy Knee Lateral Release…     5/12/2023   29873     $1,472.45
1096515-02    R.L.           Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi…      5/12/2023   29875     $1,472.45
1096515-02    R.L.           Fifth Avenue Surgery Center LLC            Arthrs Knee Abrasion Arthrp/Mlt D…     5/12/2023   29879     $1,472.45
1096515-02    R.L.           Fifth Avenue Surgery Center LLC           Arthrs Kne Surg W/Meniscectomy Me…      5/12/2023   29881     $3,026.24
1096515-02    R.L.           Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…     5/12/2023   29999     $1,472.45
1102300-90    G.Q.           Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi…      7/12/2021   29875     $1,472.45
1102300-90    G.Q.           Fifth Avenue Surgery Center LLC           Arthrs Kne Surg W/Meniscectomy Me…      7/12/2021   29881     $3,026.24
1102300-90    G.Q.           Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…     7/12/2021   29999     $1,472.45
1102300-90    G.Q.           Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…     7/12/2021   A4649       $50.00
1102300-90    G.Q.                   Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…      7/12/2021   E0650      $531.06
1102300-90    G.Q.                   Good Medica Inc                   Nonsegmental Pneumatic Appliance …      7/12/2021   E0666       $89.56
1095761-02    E.M.           New Horizon Surgical Center LLC            Arthroscopy Shoulder Surgical Rep…     6/21/2021   29807     $5,677.77
1095761-02    E.M.           New Horizon Surgical Center LLC            Arthroscopy Shoulder Surg Debride…     6/21/2021   29823     $1,472.45
1095761-02    E.M.           New Horizon Surgical Center LLC             Arthroscopy Shoulder Distal Clavi…    6/21/2021   29824     $1,472.45
1095761-02    E.M.           New Horizon Surgical Center LLC           Arthroscopy Shoulder W/Coracoacrm…      6/21/2021   29826     $1,472.45
1095761-02    E.M.           New Horizon Surgical Center LLC             Single Nerve Block Injection Arm …    6/21/2021   64415      $979.78

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                                                          1819
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1095761-02    E.M.          New Horizon Surgical Center LLC                Us Guidance Needle Placement Img …     6/21/2021   76942      $341.96
1095761-02    E.M.          New Horizon Surgical Center LLC                    Surgical Supply; Miscellaneous…    6/21/2021   A4649       $50.00
1095761-02    E.M.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 6/21/2021       E0650      $531.06
1095761-02    E.M.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     6/21/2021   E0666       $89.56
1095487-03    L.M.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    5/21/2021   29821     $2,798.20
1095487-03    L.M.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    5/21/2021   29823     $1,472.45
1095487-03    L.M.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    5/21/2021   29825     $1,472.45
1095487-03    L.M.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 5/21/2021       29826     $1,472.45
1095487-03    L.M.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Rotator Cuff…    5/21/2021   29827     $5,677.77
1095487-03    L.M.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…    5/21/2021   29999     $1,472.45
1095487-03    L.M.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    5/21/2021   64415      $979.78
1095487-03    L.M.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     5/21/2021   76942      $341.96
1095487-03    L.M.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…    5/21/2021   A4649       $72.00
1095487-03    L.M.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/29/2021   62323      $976.38
1095487-03    L.M.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…           6/29/2021   72275      $572.52
1095487-03    L.M.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     7/8/2021   62321      $976.38
1095487-03    L.M.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…            7/8/2021   72275      $572.52
1095431-01    R.M.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/23/2021   62321      $976.38
1095431-01    R.M.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…           7/23/2021   72275      $572.53
1095431-01    R.M.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    7/23/2021   A4649       $50.00
1095431-01    R.M.        Health East Ambulatory Surgical Center           Arthroscopy Knee Synovectomy 2/>C…      8/1/2022   29876     $1,998.86
1095431-01    R.M.        Health East Ambulatory Surgical Center            Arthrs Knee Abrasion Arthrp/Mlt D…     8/1/2022   29879     $1,998.86
1095431-01    R.M.        Health East Ambulatory Surgical Center          Arthrs Knee W/Meniscectomy Med&La… 8/1/2022         29880     $3,997.71
1095431-01    R.M.        Health East Ambulatory Surgical Center              Injection Anesthetic Agent Sciati…   8/1/2022   64445     $1,000.00
1095431-01    R.M.        Health East Ambulatory Surgical Center            Injection Anesthetic Agent Femora…     8/1/2022   64447     $1,000.00
1095290-01    X.R.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…  10/14/2021   22526     $2,605.78
1095290-01    X.R.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> … 10/14/2021     62287     $5,292.93
1095290-01    X.R.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…   10/14/2021   87635       $51.33
1095290-01    X.R.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…  11/20/2021   20610      $473.38
1095290-01    X.R.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 11/20/2021      29875     $1,472.45
1095290-01    X.R.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 11/20/2021       29880     $3,026.24
1095290-01    X.R.          Fifth Avenue Surgery Center LLC                    Unlisted Procedure Arthroscopy…   11/20/2021   29999     $1,472.45
1095290-01    X.R.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 11/20/2021      E0650      $531.06
1095290-01    X.R.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance … 11/20/2021      E0666       $89.56
1095299-01    D.C.             Surgicore of Jersey City LLC                 Tenotomy Shoulder Area 1 Tendon…      6/19/2021   23405     $1,839.77
1095299-01    D.C.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…    6/19/2021   29821     $5,677.77
1095299-01    D.C.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…    6/19/2021   29823     $1,472.45
1095299-01    D.C.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …    6/19/2021   29825     $1,472.45
1095299-01    D.C.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm… 6/19/2021       29826     $1,472.45
1095299-01    D.C.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …    6/19/2021   64415      $979.78
1095299-01    D.C.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …     6/19/2021   76942      $341.96
1095299-01    D.C.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…    6/19/2021   A4649       $50.00
1095299-01    D.C.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…   6/19/2021   L8699      $560.00
1095299-01    D.C.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 6/19/2021       E0650      $531.06
1095299-01    D.C.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     6/19/2021   E0666       $89.56
1095479-01    P.I.        Bronx SC LLC d/b/a Empire State ASC               Manipulation Spine Requiring Anes…    6/29/2021   22505      $748.08
1095479-01    P.I.        Bronx SC LLC d/b/a Empire State ASC               Manipulation Spine Requiring Anes…    6/29/2021   22505     $1,577.52
1095479-01    P.I.        Bronx SC LLC d/b/a Empire State ASC              Manj W/Anes Shoulder Joint W/Fixa…     6/29/2021   23700      $748.08
1095479-01    P.I.        Bronx SC LLC d/b/a Empire State ASC               Manipulation Hip Joint General An…    6/29/2021   27275      $748.08
1095479-01    P.I.        Bronx SC LLC d/b/a Empire State ASC               Manipulation Hip Joint General An…    6/29/2021   27275      $748.08
1095479-01    P.I.        Bronx SC LLC d/b/a Empire State ASC                  Surgical Supply; Miscellaneous…    6/29/2021   A4649       $50.00
1095479-01    P.I.               Baldwin Medical Services                   Manipulation Spine Requiring Anes…    6/29/2021   22505      $430.60
1095479-01    P.I.               Baldwin Medical Services                   Manipulation Spine Requiring Anes…    6/29/2021   22505      $430.60
1095479-01    P.I.               Baldwin Medical Services                  Manj W/Anes Shoulder Joint W/Fixa…     6/29/2021   23700      $813.74
1095479-01    P.I.               Baldwin Medical Services                  Manj W/Anes Shoulder Joint W/Fixa…     6/29/2021   23700      $813.74
1095479-01    P.I.               Baldwin Medical Services                  Manj W/Anes Shoulder Joint W/Fixa…     6/29/2021   23700      $813.74
1095479-01    P.I.               Baldwin Medical Services                  Manj W/Anes Shoulder Joint W/Fixa…     6/29/2021   23700      $813.74
1095479-01    P.I.               Baldwin Medical Services                   Manipulation Hip Joint General An…    6/29/2021   27275      $813.74
1095479-01    P.I.               Baldwin Medical Services                   Manipulation Hip Joint General An…    6/29/2021   27275      $813.74
1095479-01    P.I.               Baldwin Medical Services                   Manipulation Hip Joint General An…    6/29/2021   27275      $813.74
1095479-01    P.I.               Baldwin Medical Services                   Manipulation Hip Joint General An…    6/29/2021   27275      $813.74
1095479-01    P.I.               Baldwin Medical Services                   Manipulation Knee Joint Under Gen…    6/29/2021   27570      $813.74
1095479-01    P.I.               Baldwin Medical Services                   Manipulation Knee Joint Under Gen…    6/29/2021   27570      $813.74
1096185-01    E.D.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…    5/5/2021   20553      $225.00
1096185-01    E.D.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/5/2021   62323     $1,550.00
1096185-01    E.D.                   Triborough ASC                                  Epidurograpy Rs&I…            5/5/2021   72275      $700.00
1096185-01    E.D.                   Triborough ASC                         Fluor Needle/Cath Spine/Paraspina…     5/5/2021   77003      $225.00
1096185-01    E.D.                   Triborough ASC                             Glucose Blood Reagent Strip…       5/5/2021   82948       $20.00

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                                                           1820
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1096185-01    E.D.                     Triborough ASC                   New Cpt Code 99072 Was Establishe…      5/5/2021   99072      $200.00
1096185-01    E.D.                     Triborough ASC                    Injection, Dexamethasone Sodium P…     5/5/2021   J1100       $52.64
1096185-01    E.D.                     Triborough ASC                              Unclassified Drugs…          5/5/2021   J3490       $40.64
1096185-01    E.D.                     Triborough ASC                    Low Osmolar Contrast Material, 10…     5/5/2021   Q9965       $13.90
1096185-01    E.D.     NYEEQASC LLC d/b/a North Queens Surgical Center    Correction, Hallux Valgus (Bunion…   7/17/2021   28926     $1,472.45
1096185-01    E.D.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Surgical Rep…    7/17/2021   29807     $5,677.78
1096185-01    E.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…      7/17/2021   29821     $2,798.20
1096185-01    E.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…      7/17/2021   29823     $1,472.45
1096185-01    E.D.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Ahesiolysis …   7/17/2021   29825     $1,472.45
1096185-01    E.D.     NYEEQASC LLC d/b/a North Queens Surgical Center      Unlisted Procedure Arthroscopy…    7/17/2021   29999     $1,472.45
1096185-01    E.D.     NYEEQASC LLC d/b/a North Queens Surgical Center    Single Nerve Block Injection Arm …   7/17/2021   64415      $979.78
1096185-01    E.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …      7/17/2021   76942      $341.96
1096185-01    E.D.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…    7/17/2021   A4649       $50.00
1096185-01    E.D.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 7/17/2021       E0650      $531.06
1096185-01    E.D.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     7/17/2021   E0666       $89.56
1096185-01    E.D.                     Triborough ASC                      Injection Single/Mlt Trigger Poin… 10/20/2021   20553      $554.74
1096185-01    E.D.                     Triborough ASC                     Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/20/2021   62321      $976.38
1096185-01    E.D.                     Triborough ASC                             Epidurograpy Rs&I…          10/20/2021   72275      $572.52
1095883-02    A.A.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surgical Cap…    12/3/2021   29806     $5,677.77
1095883-02    A.A.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Synovec…    12/3/2021   29821     $2,798.20
1095883-02    A.A.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…    12/3/2021   29823     $1,472.45
1095883-02    A.A.          All City Family Healthcare Center, Inc.       Arthroscopy Shoulder Ahesiolysis …   12/3/2021   29825     $1,472.45
1095883-02    A.A.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 12/3/2021       29826     $1,472.45
1095883-02    A.A.          All City Family Healthcare Center, Inc.         Unlisted Procedure Arthroscopy…    12/3/2021   29999     $1,472.45
1095883-02    A.A.          All City Family Healthcare Center, Inc.       Single Nerve Block Injection Arm …   12/3/2021   64415      $979.78
1095883-02    A.A.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     12/3/2021   76942      $341.96
1095883-02    A.A.          All City Family Healthcare Center, Inc.       Infectious Agent Detection By Nuc…   12/3/2021   87635       $51.33
1095883-02    A.A.          All City Family Healthcare Center, Inc.       Tenotomy Shoulder Area 1 Tendon…      4/1/2022   23405     $3,760.88
1095883-02    A.A.          All City Family Healthcare Center, Inc.       Injection Anesthetic Agent Femora…    4/1/2022   64447      $829.30
1095883-02    A.A.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …      4/1/2022   76942      $341.96
1095883-02    A.A.          All City Family Healthcare Center, Inc.       Infectious Agent Detection By Nuc…    4/1/2022   87635       $51.33
1095883-02    A.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/15/2022   62323      $976.38
1095162-03    P.A.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surgical Rem…    3/28/2022   29819     $1,472.45
1095162-03    P.A.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…    3/28/2022   29821     $5,677.77
1095162-03    P.A.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    3/28/2022   29823     $1,472.45
1095162-03    P.A.            Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …   3/28/2022   29825     $1,472.45
1095162-03    P.A.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 3/28/2022       29826     $1,472.45
1095162-03    P.A.            Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …   3/28/2022   64415      $979.78
1095162-03    P.A.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     3/28/2022   76942      $341.96
1095162-03    P.A.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 3/28/2022       E0650      $531.06
1095162-03    P.A.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     3/28/2022   E0666       $89.56
1095556-04    K.F.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C…      5/3/2021   29876     $1,472.45
1095556-04    K.F.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 5/3/2021         29880     $3,026.24
1095556-04    K.F.               Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…     5/3/2021   29999     $1,472.45
1095556-04    K.F.               Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…     5/3/2021   29999     $1,472.45
1095556-04    K.F.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     5/3/2021   A4649       $50.00
1095556-04    K.F.               Surgicore of Jersey City LLC              Arthroscopy, Knee, Surgical, For …   5/3/2021   G0289     $1,472.45
1095556-04    K.F.               Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…   5/3/2021   L8699      $195.00
1095556-04    K.F.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      5/3/2021   E0650      $531.06
1095556-04    K.F.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …      5/3/2021   E0666       $89.56
1095556-04    K.F.            Island Ambulatory Surgery Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/21/2021   62321      $976.38
1095556-04    K.F.            Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin…  6/17/2021   20553      $277.37
1095556-04    K.F.            Island Ambulatory Surgery Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/17/2021   62321      $976.38
1095556-04    K.F.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/28/2021   62323      $976.38
1095556-04    K.F.            Island Ambulatory Surgery Center                    Epidurograpy Rs&I…           6/28/2021   72275      $572.52
1095556-04    K.F.           Rockaways ASC Development LLC                Arthrocentesis Aspir&/Inj Major J…   7/21/2021   20610      $473.39
1095556-04    K.F.           Rockaways ASC Development LLC               Arthroscopy Shoulder Surg Synovec…    7/21/2021   29821     $5,677.77
1095556-04    K.F.           Rockaways ASC Development LLC               Arthroscopy Shoulder Surg Debride…    7/21/2021   29823     $1,472.45
1095556-04    K.F.           Rockaways ASC Development LLC                Arthroscopy Shoulder Ahesiolysis …   7/21/2021   29825     $1,472.45
1095556-04    K.F.           Rockaways ASC Development LLC              Arthroscopy Shoulder W/Coracoacrm… 7/21/2021       29826     $1,472.45
1095556-04    K.F.           Rockaways ASC Development LLC                Single Nerve Block Injection Arm …   7/21/2021   64415      $979.78
1095556-04    K.F.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     7/21/2021   76942      $341.96
1095556-04    K.F.           Rockaways ASC Development LLC                Infectious Agent Detection By Nuc…   7/21/2021   87635       $51.33
1095556-04    K.F.           Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…    7/21/2021   a4649       $50.00
1095556-04    K.F.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     8/5/2021   62323      $976.38
1096320-01    N.P.               Atlantis Surgery Center LLC               Injection Single/Mlt Trigger Poin…  6/30/2021   20553      $473.39
1096320-01    N.P.               Atlantis Surgery Center LLC            Njx Anes&/Strd W/Img Tfrml Edrl C… 6/30/2021       64479     $1,428.99
1096320-01    N.P.               Atlantis Surgery Center LLC              Under Neurostimulators (Intracran…   6/30/2021   64880     $1,347.62

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                                                        1821
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                        Date of     Billing   Amount
                                      Provider                                    Service
 Number      Person                                                                                         Service     Code       Billed
1096320-01    N.P.            Atlantis Surgery Center LLC             Under Neurostimulators (Intracran…    6/30/2021   64880     $1,347.62
1096320-01    N.P.             Hudson Regional Hospital                 Comprehensive Metabolic Panel…      8/31/2021   80053      $150.00
1096320-01    N.P.             Hudson Regional Hospital             Drug Tst Prsmv Instrmnt Chem Anal…      8/31/2021   80307      $359.15
1096320-01    N.P.             Hudson Regional Hospital              Urnls Dip Stick/Tablet Reagent Au…     8/31/2021   81001      $134.00
1096320-01    N.P.             Hudson Regional Hospital                 Hemoglobin Glycosylated A1C…        8/31/2021   83036       $66.70
1096320-01    N.P.             Hudson Regional Hospital             Blood Count Complete Auto&Auto Di…      8/31/2021   85025      $147.00
1096320-01    N.P.             Hudson Regional Hospital                        Prothrombin Time…            8/31/2021   85610      $143.00
1096320-01    N.P.             Hudson Regional Hospital              Thromboplastin Time Partial Plasm…     8/31/2021   85730      $147.00
1096320-01    N.P.             Hudson Regional Hospital             Antibody Screen Rbc Each Serum Te…      8/31/2021   86850      $105.80
1096320-01    N.P.             Hudson Regional Hospital                  Blood Typing Serologic Abo…        8/31/2021   86900      $498.84
1096320-01    N.P.             Hudson Regional Hospital                 Blood Typing Serologic Rh (D)…      8/31/2021   86901       $56.95
1096320-01    N.P.             Hudson Regional Hospital                Iadna S Aureus Methicillin Resist…   8/31/2021   87641      $241.40
1096320-01    N.P.             Hudson Regional Hospital              Ecg Routine Ecg W/Least 12 Lds Tr…     8/31/2021   93005      $323.70
1096320-01    N.P.                     SCOB LLC                      Arthroscopy Shoulder Surgical Rep…      9/2/2021   29807     $5,677.77
1096320-01    N.P.                     SCOB LLC                      Arthroscopy Shoulder Surg Synovec…      9/2/2021   29821     $5,596.40
1096320-01    N.P.                     SCOB LLC                     Arthroscopy Shoulder W/Coracoacrm…       9/2/2021   29826     $2,944.87
1096320-01    N.P.                     SCOB LLC                     Anchor/Screw For Opposing Bone-To…       9/2/2021   C1713      $556.50
1096320-01    N.P.            Surgicore of Jersey City LLC           Arthrotomy Wrist Joint With Synov…     9/30/2021   25105     $1,604.32
1096320-01    N.P.            Surgicore of Jersey City LLC                    Carpectomy 1 Bone…            9/30/2021   25210     $1,021.86
1096320-01    N.P.            Surgicore of Jersey City LLC            Radical Styloidectomy Separate Pr…    9/30/2021   25230     $1,604.32
1096320-01    N.P.            Surgicore of Jersey City LLC            Arthrodesis Wrist W/Iliac/Other A…    9/30/2021   25810     $3,738.00
1096320-01    N.P.            Surgicore of Jersey City LLC            Injection Anes Other Peripheral N…    9/30/2021   64450      $829.30
1096320-01    N.P.            Surgicore of Jersey City LLC            Injection, Anesthetic Agent And/O…    9/30/2021   64472     $1,071.54
1096320-01    N.P.            Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …     9/30/2021   76942      $341.96
1096320-01    N.P.            Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     9/30/2021   A4649       $50.00
1096320-01    N.P.            Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…    9/30/2021   L8699      $232.00
1096320-01    N.P.                  Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…      9/30/2021   E0650       $89.56
1096320-01    N.P.                  Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…      9/30/2021   E0650      $531.06
1096320-01    N.P.                  Good Medica Inc                  So, Acromio/Clavicular (Canvas An…     9/30/2021   L3670      $111.07
1095417-01    J.G.            Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…     3/17/2022   29821     $5,677.77
1095417-01    J.G.            Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Debride…     3/17/2022   29823     $1,472.45
1095417-01    J.G.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …    3/17/2022   29825     $1,472.45
1095417-01    J.G.            Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…     3/17/2022   29999     $1,472.45
1095417-01    J.G.            Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …    3/17/2022   64415      $979.78
1095417-01    J.G.            Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …     3/17/2022   76942      $341.96
1095417-01    J.G.            Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     3/17/2022   A4649      $185.00
1095417-01    J.G.                  Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…      3/17/2022   E0650      $531.06
1094946-02    L.M.            Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…      8/5/2021   29821     $5,677.77
1094946-02    L.M.            Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Debride…      8/5/2021   29823     $1,472.45
1094946-02    L.M.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …     8/5/2021   29825     $1,472.45
1094946-02    L.M.            Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…      8/5/2021   29999     $1,472.45
1094946-02    L.M.            Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …     8/5/2021   64415      $979.78
1094946-02    L.M.            Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …      8/5/2021   76942      $341.96
1094946-02    L.M.            Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…      8/5/2021   A4649       $50.00
1094946-02    L.M.            Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…     8/5/2021   L8699      $185.00
1094946-02    L.M.                  Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…       8/5/2021   E0650      $531.06
1094946-02    L.M.                  Good Medica Inc                 Nonsegmental Pneumatic Appliance …       8/5/2021   E0666       $89.56
1095022-01    E.J.            Atlantis Surgery Center LLC              Injection Single/Mlt Trigger Poin…    6/9/2021   20553      $473.39
1095022-01    E.J.            Atlantis Surgery Center LLC             Inject Si Joint Arthrgrphy&/Anes/…     6/9/2021   27096     $1,288.58
1095022-01    E.J.            Atlantis Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      6/9/2021   64493     $1,423.89
1095022-01    E.J.            Atlantis Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      6/9/2021   64494     $1,342.52
1095022-01    E.J.            Atlantis Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      6/9/2021   64495     $1,342.52
1095022-01    E.J.            Atlantis Surgery Center LLC              Injection Single/Mlt Trigger Poin…   6/16/2021   20553      $473.39
1095022-01    E.J.            Atlantis Surgery Center LLC             Inject Si Joint Arthrgrphy&/Anes/…    6/16/2021   27096     $1,288.58
1095022-01    E.J.            Atlantis Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/16/2021   64493     $1,423.89
1095022-01    E.J.            Atlantis Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/16/2021   64494     $1,342.52
1095022-01    E.J.            Atlantis Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/16/2021   64495     $1,342.52
1095022-01    E.J.           Healthplus Surgery Center LLC             Injection Single/Mlt Trigger Poin…   6/23/2021   20553      $473.39
1095022-01    E.J.           Healthplus Surgery Center LLC            Inject Si Joint Arthrgrphy&/Anes/…    6/23/2021   27096     $1,288.58
1095022-01    E.J.           Healthplus Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/23/2021   64493     $1,423.89
1095022-01    E.J.           Healthplus Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/23/2021   64494     $1,342.52
1095022-01    E.J.           Healthplus Surgery Center LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/23/2021   64495     $1,342.52
1095022-01    E.J.            East Tremont Medical Center            Anes Dx/Ther Nerve Block/Injectio…     7/27/2021    1992      $148.00
1095022-01    E.J.            East Tremont Medical Center              Injection Single/Mlt Trigger Poin…   7/27/2021   20553     $1,200.00
1095022-01    E.J.            East Tremont Medical Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     7/27/2021   62323     $2,540.00
1095022-01    E.J.            East Tremont Medical Center                     Epidurograpy Rs&I…            7/27/2021   72275      $985.00
1095022-01    E.J.            East Tremont Medical Center            Us Guidance Needle Placement Img …     7/27/2021   76942      $860.00
1095022-01    E.J.            East Tremont Medical Center            Fluor Needle/Cath Spine/Paraspina…     7/27/2021   77003      $650.00

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                                                          1822
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                                Service     Code       Billed
1095022-01    E.J.             East Tremont Medical Center                 Infectious Agent Detection By Nuc…      7/27/2021   87635      $150.00
1095022-01    E.J.             East Tremont Medical Center                 Office Consultation New/Estab Pat…      7/27/2021   99241      $135.00
1095022-01    E.J.          Fifth Avenue Surgery Center LLC                 Arthrocentesis Aspir&/Inj Major J…     8/19/2021   20610      $473.39
1095022-01    E.J.          Fifth Avenue Surgery Center LLC               Arthroscopy Knee Synovectomy Limi…       8/19/2021   29875     $1,472.45
1095022-01    E.J.          Fifth Avenue Surgery Center LLC               Arthrs Kne Surg W/Meniscectomy Me…       8/19/2021   29881     $3,026.24
1095022-01    E.J.          Fifth Avenue Surgery Center LLC               Arthroscopy Knee W/Lysis Adhesion…       8/19/2021   29884     $1,472.45
1095022-01    E.J.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…      8/19/2021   29999     $1,472.45
1095022-01    E.J.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…      8/19/2021   A4649       $50.00
1095022-01    E.J.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…       8/19/2021   E0650      $531.06
1095022-01    E.J.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …       8/19/2021   E0666       $89.56
1095015-02    T.B.          New Horizon Surgical Center LLC                 Perq Intrdscl Electrothrm Annulop…     8/16/2021   22526     $2,605.78
1095015-02    T.B.          New Horizon Surgical Center LLC                Dcmprn Perq Nucleus Pulposus 1/> …      8/16/2021   62287     $5,292.93
1095015-02    T.B.          New Horizon Surgical Center LLC                   Surgical Supply; Miscellaneous…      8/16/2021   A4649       $50.00
1095015-02    T.B.          New Horizon Surgical Center LLC                Probe, Percutaneous Lumbar Discec…      8/16/2021   C2614     $1,495.00
1095015-02    T.B.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…       8/16/2021   E0650      $531.06
1095015-02    T.B.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …       8/16/2021   E0666       $89.56
1095240-03    C.M.         Rockaways ASC Development LLC                  Tenolysis Flexor Tendon Palm&Fing…       5/15/2021   26442     $3,461.63
1095240-03    C.M.         Rockaways ASC Development LLC                  Tenolysis Flexor Tendon Palm&Fing…       5/15/2021   26442     $3,461.63
1095240-03    C.M.         Rockaways ASC Development LLC                    Single Nerve Block Injection Arm …     5/15/2021   64415      $979.78
1095240-03    C.M.         Rockaways ASC Development LLC                  Neuroplasty &/Transpos Median Nrv…       5/15/2021   64721     $1,071.54
1095240-03    C.M.         Rockaways ASC Development LLC                  Neuroplasty &/Transpos Median Nrv…       5/15/2021   64721     $2,224.45
1095240-03    C.M.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …      5/15/2021   76942      $341.96
1095240-03    C.M.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…      5/15/2021   A4649       $50.00
1095240-03    C.M.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…      5/15/2021   A4649       $50.00
1095240-03    C.M.        Health East Ambulatory Surgical Center           Ndsc Wrst Surg W/Rls Transvrs Car…      11/9/2021   29848     $3,997.71
1095240-03    C.M.        Health East Ambulatory Surgical Center              Unlisted Procedure Arthroscopy…      11/9/2021   29999     $3,997.71
1095240-03    C.M.        Health East Ambulatory Surgical Center            Injection Anes Other Peripheral N…     11/9/2021   64450     $1,000.00
1095729-02    F.M.                     SCOB LLC                           Arthroscopy Knee Synovectomy 2/>C…        8/6/2021   29876     $2,944.87
1095729-02    F.M.                     SCOB LLC                            Arthrs Knee Abrasion Arthrp/Mlt D…       8/6/2021   29879     $3,026.24
1095729-02    F.M.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surgical Rem…     12/18/2021   29819     $1,472.45
1095729-02    F.M.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…     12/18/2021   29821     $5,677.77
1095729-02    F.M.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Debride…     12/18/2021   29823     $1,472.45
1095729-02    F.M.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …    12/18/2021   29825     $1,472.45
1095729-02    F.M.          Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder W/Coracoacrm…      12/18/2021   29826     $1,472.45
1095729-02    F.M.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…     12/18/2021   29999     $1,472.45
1095729-02    F.M.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …    12/18/2021   64415      $979.78
1095729-02    F.M.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     12/18/2021   76942      $341.96
1095729-02    F.M.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…      12/18/2021   E0650      $531.06
1095729-02    F.M.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …      12/18/2021   E0666       $89.56
1095729-03    P.L.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…     6/1/2021   20552      $236.69
1095729-03    P.L.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       6/1/2021   62323      $976.38
1095729-03    P.L.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…              6/1/2021   72275      $572.53
1095729-03    P.L.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …       6/1/2021   76942      $341.96
1095729-03    P.L.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…       6/1/2021   A4649       $50.00
1095729-03    P.L.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…     6/14/2021   22526     $2,605.78
1095729-03    P.L.         Rockaways ASC Development LLC                   Dcmprn Perq Nucleus Pulposus 1/> …      6/14/2021   62287     $5,292.93
1095729-03    P.L.         Rockaways ASC Development LLC                   Infectious Agent Detection By Nuc…      6/14/2021   87635       $51.33
1095729-03    P.L.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…      6/14/2021   A4649       $50.00
1095729-03    P.L.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…    7/13/2021   20552      $236.69
1095729-03    P.L.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      7/13/2021   62321      $976.38
1095729-03    P.L.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…             7/13/2021   72275      $572.53
1095729-03    P.L.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …      7/13/2021   76942      $341.96
1095729-03    P.L.         Rockaways ASC Development LLC                   Infectious Agent Detection By Nuc…      7/13/2021   87635       $51.33
1095729-03    P.L.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…      7/13/2021   A4649       $50.00
1095729-03    P.L.                     SCOB LLC                           Arthroscopy Knee Synovectomy 2/>C…       7/30/2021   29876     $3,026.24
1095729-03    P.L.                     SCOB LLC                           Arthrs Kne Surg W/Meniscectomy Me…       7/30/2021   29881     $2,944.87
1095729-03    P.L.          Fifth Avenue Surgery Center LLC                Tenotomy Shoulder Area 1 Tendon…        11/6/2021   23405     $1,839.77
1095729-03    P.L.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surgical Rem…      11/6/2021   29819     $1,472.45
1095729-03    P.L.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…      11/6/2021   29821     $5,677.77
1095729-03    P.L.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Debride…      11/6/2021   29823     $1,472.45
1095729-03    P.L.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …     11/6/2021   29825     $1,472.45
1095729-03    P.L.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…      11/6/2021   29999     $1,472.45
1095729-03    P.L.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …     11/6/2021   64415      $979.78
1095729-03    P.L.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …      11/6/2021   76942      $341.96
1095729-03    P.L.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…       11/6/2021   E0650      $531.06
1095729-03    P.L.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …       11/6/2021   E0666       $89.56
1096069-02    K.F.                     AMSC LLC                            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     10/18/2021   62321      $976.38
1096069-02    K.F.                     AMSC LLC                                     Epidurograpy Rs&I…            10/18/2021   72275      $572.52

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                                                        1823
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                      Provider                                       Service
 Number      Person                                                                                             Service     Code       Billed
1096069-02    K.F.                    AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      11/1/2021   62321      $976.38
1096069-02    K.F.                    AMSC LLC                                   Epidurograpy Rs&I…             11/1/2021   72275      $572.52
1096069-02    K.F.         Fifth Avenue Surgery Center LLC                Injection Single/Mlt Trigger Poin…   11/15/2021   20553      $236.69
1096069-02    K.F.         Fifth Avenue Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     11/15/2021   62321      $976.38
1096069-02    K.F.         Fifth Avenue Surgery Center LLC                       Epidurograpy Rs&I…            11/15/2021   72275      $572.53
1096069-02    K.F.         Fifth Avenue Surgery Center LLC              Us Guidance Needle Placement Img …     11/15/2021   76942      $341.96
1096069-02    K.F.       Rockland & Bergen Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…      1/27/2023   29820     $1,472.45
1096069-02    K.F.       Rockland & Bergen Surgery Center LLC           Arthroscopy Shoulder Surg Debride…      1/27/2023   29823     $3,026.24
1096069-02    K.F.       Rockland & Bergen Surgery Center LLC          Arthroscopy Shoulder W/Coracoacrm…       1/27/2023   29826     $1,472.45
1094993-04    L.M.            Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Synovec…      4/10/2021   29821     $5,677.77
1094993-04    L.M.            Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Debride…      4/10/2021   29823     $1,472.45
1094993-04    L.M.            Surgicore of Jersey City LLC               Arthroscopy Shoulder Ahesiolysis …     4/10/2021   29825     $1,472.45
1094993-04    L.M.            Surgicore of Jersey City LLC             Arthroscopy Shoulder W/Coracoacrm…       4/10/2021   29826     $1,472.45
1094993-04    L.M.            Surgicore of Jersey City LLC               Single Nerve Block Injection Arm …     4/10/2021   64415      $979.78
1094993-04    L.M.            Surgicore of Jersey City LLC              Us Guidance Needle Placement Img …      4/10/2021   76942      $341.96
1094993-04    L.M.            Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…      4/10/2021   A4649       $50.00
1094993-04    L.M.            Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…     4/10/2021   L8699      $185.00
1094993-04    L.M.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta…       4/10/2021   E0650      $531.06
1094993-04    L.M.                  Good Medica Inc                     Nonsegmental Pneumatic Appliance …      4/10/2021   E0666       $89.56
1095173-03    G.F.       Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder Surg Synovec…      7/26/2021   29821     $2,798.20
1095173-03    G.F.       Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder Surg Debride…      7/26/2021   29823     $1,472.45
1095173-03    G.F.       Bronx SC LLC d/b/a Empire State ASC             Arthroscopy Shoulder Ahesiolysis …     7/26/2021   29825     $1,472.45
1095173-03    G.F.       Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder W/Coracoacrm…       7/26/2021   29826     $1,472.45
1095173-03    G.F.       Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder Rotator Cuff…      7/26/2021   29827     $5,677.77
1095173-03    G.F.       Bronx SC LLC d/b/a Empire State ASC             Single Nerve Block Injection Arm …     7/26/2021   64415      $979.78
1095173-03    G.F.       Bronx SC LLC d/b/a Empire State ASC             Single Nerve Block Injection Arm …     7/26/2021   64415      $979.78
1095173-03    G.F.       Bronx SC LLC d/b/a Empire State ASC            Us Guidance Needle Placement Img …      7/26/2021   76942      $341.96
1095173-03    G.F.       Bronx SC LLC d/b/a Empire State ASC            Us Guidance Needle Placement Img …      7/26/2021   76942      $341.96
1095173-03    G.F.       Bronx SC LLC d/b/a Empire State ASC               Surgical Supply; Miscellaneous…      7/26/2021   A4649       $50.00
1095173-03    G.F.            Surgicore of Jersey City LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      8/28/2021   62323      $976.38
1095173-03    G.F.            Surgicore of Jersey City LLC                       Epidurograpy Rs&I…             8/28/2021   72275      $572.53
1095173-03    G.F.            Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…      8/28/2021   A4649       $50.00
1095173-03    G.F.            Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…    12/17/2021   22526     $2,605.78
1095173-03    G.F.            Surgicore of Jersey City LLC              Dcmprn Perq Nucleus Pulposus 1/> …     12/17/2021   62287     $5,292.93
1095173-03    G.F.            Surgicore of Jersey City LLC              Probe, Percutaneous Lumbar Discec…     12/17/2021   C2614     $1,495.00
1095173-03    G.F.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta…      12/17/2021   E0650      $531.06
1095173-03    G.F.                  Good Medica Inc                     Nonsegmental Pneumatic Appliance …     12/17/2021   E0666       $89.56
1095173-03    G.F.            Surgicore of Jersey City LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      5/13/2022   62323      $976.38
1095173-03    G.F.            Surgicore of Jersey City LLC              Infectious Agent Detection By Nuc…      5/13/2022   87635       $51.33
1095173-03    G.F.            Surgicore of Jersey City LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      8/26/2022   62323      $976.38
1095173-03    G.F.            Surgicore of Jersey City LLC              Infectious Agent Detection By Nuc…      8/26/2022   87635       $51.33
1095173-03    G.F.            Surgicore of Jersey City LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     11/19/2022   62321      $976.38
1095173-03    G.F.            Surgicore of Jersey City LLC              Infectious Agent Detection By Nuc…     11/19/2022   87635       $51.33
1095173-03    G.F.            Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…    12/10/2022   22526     $5,292.93
1095173-03    G.F.            Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…    12/10/2022   22527     $2,605.78
1095173-03    G.F.            Surgicore of Jersey City LLC              Unlisted Procedure Nervous System…     12/10/2022   64999      $747.93
1095173-03    G.F.            Surgicore of Jersey City LLC             Anchor/Screw For Opposing Bone-To…      12/10/2022   C1713     $1,495.00
1095173-03    G.F.            Surgicore of Jersey City LLC                Injection Single/Mlt Trigger Poin…     3/3/2023   20553      $236.69
1095173-03    G.F.            Surgicore of Jersey City LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…      3/3/2023   64490      $976.38
1095173-03    G.F.            Surgicore of Jersey City LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…      3/3/2023   64491      $447.52
1095173-03    G.F.            Surgicore of Jersey City LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…      3/3/2023   64492      $447.52
1104949-90    H.C.            East Tremont Medical Center               Anesthesia Perq Image Guided Spin…      5/28/2021    1936      $445.65
1104949-90    H.C.            East Tremont Medical Center                Perq Intrdscl Electrothrm Annulop…     5/28/2021   22526     $5,477.16
1104949-90    H.C.            East Tremont Medical Center               Dcmprn Perq Nucleus Pulposus 1/> …      5/28/2021   62287     $2,625.00
1104949-90    H.C.            East Tremont Medical Center               Dcmprn Perq Nucleus Pulposus 1/> …      5/28/2021   62287     $5,724.06
1104949-90    H.C.            East Tremont Medical Center               Injection Px Discography Each Lev…      5/28/2021   62290      $781.00
1104949-90    H.C.            East Tremont Medical Center               Njx Arterial Occlusion Arven Malf…      5/28/2021   62294      $871.70
1104949-90    H.C.            East Tremont Medical Center              Njx Anes&/Strd W/Img Tfrml Edrl L…       5/28/2021   64483      $350.00
1104949-90    H.C.            East Tremont Medical Center              Njx Anes&/Strd W/Img Tfrml Edrl L…       5/28/2021   64484      $175.00
1104949-90    H.C.            East Tremont Medical Center               Fluor Needle/Cath Spine/Paraspina…      5/28/2021   77003      $158.85
1104949-90    H.C.            East Tremont Medical Center                Grafting Of Autologous Soft Tissu…     6/21/2021   15769     $1,100.00
1104949-90    H.C.            East Tremont Medical Center               Anes Arthrs Humeral H/N Strnclav …      6/21/2021    1630      $445.65
1104949-90    H.C.            East Tremont Medical Center              Anes Nrv Musc Tdn Fsca&Brs Upr Ar…       6/21/2021    1710      $178.26
1104949-90    H.C.            East Tremont Medical Center               Injection 1 Tendon Sheath/Ligamen…      6/21/2021   20550      $332.55
1104949-90    H.C.            East Tremont Medical Center                Arthrocentesis Aspir&/Inj Interm …     6/21/2021   20605      $108.10
1104949-90    H.C.            East Tremont Medical Center                Injection Shoulder Arthrography/ …     6/21/2021   23350      $300.00
1104949-90    H.C.            East Tremont Medical Center                Tenotomy Shoulder Area 1 Tendon…       6/21/2021   23405     $1,125.00
1104949-90    H.C.            East Tremont Medical Center                Tenotomy Shoulder Area 1 Tendon…       6/21/2021   23405     $3,960.48

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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1104949-90    H.C.               East Tremont Medical Center            Tenotomy Elbow Lateral/Medial Per…    6/21/2021   24357     $1,929.86
1104949-90    H.C.               East Tremont Medical Center             Radex Shoulder Arthrography Rs&I…    6/21/2021   73040      $255.00
1104949-90    H.C.               East Tremont Medical Center            Us Guidance Needle Placement Img …    6/21/2021   76942     $1,156.80
1104949-90    H.C.               East Tremont Medical Center             Fluoroscopic Guidance Needle Plac…   6/21/2021   77002      $438.00
1104949-90    H.C.         Rockland & Bergen Surgery Center LLC          Arthroscopy Shoulder Surgical Rem…   11/8/2021   29819     $1,472.45
1104949-90    H.C.         Rockland & Bergen Surgery Center LLC          Arthroscopy Shoulder Surg Synovec…   11/8/2021   29820     $1,472.45
1104949-90    H.C.         Rockland & Bergen Surgery Center LLC          Arthroscopy Shoulder Surg Debride…   11/8/2021   29823     $3,026.24
1104949-90    H.C.         Rockland & Bergen Surgery Center LLC         Arthroscopy Shoulder W/Coracoacrm… 11/8/2021      29826     $1,472.45
1104949-90    H.C.         Rockland & Bergen Surgery Center LLC          Infectious Agent Detection By Nuc…   11/8/2021   87635       $51.33
1095283-03    A.M.              Manalapan Surgery Center Inc             Arthroscopy Shoulder Surg Synovec…   5/11/2021   29821     $2,798.20
1095283-03    A.M.              Manalapan Surgery Center Inc             Arthroscopy Shoulder Surg Debride…   5/11/2021   29823     $1,472.45
1095283-03    A.M.              Manalapan Surgery Center Inc             Arthroscopy Shoulder Ahesiolysis …   5/11/2021   29825     $1,472.45
1095283-03    A.M.              Manalapan Surgery Center Inc             Arthroscopy Shoulder Rotator Cuff…   5/11/2021   29827     $5,677.77
1095283-03    A.M.              Manalapan Surgery Center Inc               Unlisted Procedure Arthroscopy…    5/11/2021   29999     $1,472.45
1095283-03    A.M.              Manalapan Surgery Center Inc               Unlisted Procedure Arthroscopy…    5/11/2021   29999     $1,472.45
1095283-03    A.M.              Manalapan Surgery Center Inc             Single Nerve Block Injection Arm …   5/11/2021   64415      $979.78
1095283-03    A.M.              Manalapan Surgery Center Inc            Us Guidance Needle Placement Img …    5/11/2021   76942      $341.96
1095283-03    A.M.              Manalapan Surgery Center Inc               Surgical Supply; Miscellaneous…    5/11/2021   A4649       $50.00
1095283-03    A.M.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 5/11/2021      E0650      $531.06
1095283-03    A.M.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    5/11/2021   E0666       $89.56
1095346-01    C.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi… 4/24/2021       29875     $1,472.45
1095346-01    C.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 4/24/2021       29880     $3,026.24
1095346-01    C.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee W/Lysis Adhesion… 4/24/2021       29884     $1,472.45
1095346-01    C.B.     NYEEQASC LLC d/b/a North Queens Surgical Center     Unlisted Procedure Arthroscopy…    4/24/2021   29999     $1,472.45
1095346-01    C.B.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…   4/24/2021   87635       $51.33
1095346-01    C.B.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    4/24/2021   A4649       $50.00
1095346-01    C.B.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy, Knee, Surgical, For …  4/24/2021   G0289     $1,472.45
1095346-01    C.B.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy, Knee, Surgical, For …  4/24/2021   G0289     $1,472.45
1095346-01    C.B.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 4/24/2021      E0650      $531.06
1095346-01    C.B.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    4/24/2021   E0666       $89.56
1094748-02    G.C.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…   6/1/2021   20610      $473.39
1094748-02    G.C.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…    6/1/2021   29821     $5,677.77
1094748-02    G.C.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    6/1/2021   29823     $1,472.45
1094748-02    G.C.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    6/1/2021   64415      $979.78
1094748-02    G.C.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     6/1/2021   76942      $341.96
1094748-02    G.C.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…     6/1/2021   A4649       $50.00
1094748-02    G.C.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…     6/1/2021   E0650      $531.06
1094748-02    G.C.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     6/1/2021   E0666       $89.56
1094748-02    G.C.                        SCOB LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/22/2022   62323      $976.38
1095486-02    J.R.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Synovec… 10/11/2021    29821     $5,677.77
1095486-02    J.R.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…  10/11/2021   29823     $1,472.45
1095486-02    J.R.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …  10/11/2021   29825     $1,472.45
1095486-02    J.R.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 10/11/2021     29826     $1,472.45
1095486-02    J.R.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …  10/11/2021   64415      $979.78
1095486-02    J.R.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img … 10/11/2021     76942      $341.96
1095486-02    J.R.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…   10/11/2021   A4649       $72.00
1095486-02    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin… 12/12/2021   20553      $236.69
1095486-02    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/12/2021   62321      $976.38
1095486-02    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center           Epidurograpy Rs&I…          12/12/2021   72275      $572.53
1095486-02    J.R.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop… 12/19/2021   22526     $2,605.78
1095486-02    J.R.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop… 12/19/2021   22527     $2,605.78
1095486-02    J.R.           Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> … 12/19/2021    62287     $5,292.93
1095486-02    J.R.               Atlantis Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/9/2022   62323      $976.38
1095486-02    J.R.               Atlantis Surgery Center LLC            Njx Anes&/Strd W/Img Tfrml Edrl L… 1/23/2022      64483      $979.78
1095486-02    J.R.               Atlantis Surgery Center LLC            Njx Anes&/Strd W/Img Tfrml Edrl L… 1/23/2022      64484      $898.41
1095486-02    J.R.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…  5/15/2022   20552      $236.69
1095486-02    J.R.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/15/2022   62323      $976.38
1095486-02    J.R.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …    5/15/2022   76942      $341.96
1094642-01    J.L.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Surgical Rem…   9/13/2021   29819     $1,472.45
1094642-01    J.L.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Surg Debride…   9/13/2021   29823     $3,026.24
1094642-01    J.L.            New Horizon Surgical Center LLC           Arthroscopy Shoulder W/Coracoacrm… 9/13/2021      29826     $1,472.45
1094642-01    J.L.            New Horizon Surgical Center LLC            Single Nerve Block Injection Arm …   9/13/2021   64415      $979.78
1094642-01    J.L.            New Horizon Surgical Center LLC           Us Guidance Needle Placement Img …    9/13/2021   76942      $341.96
1094642-01    J.L.            New Horizon Surgical Center LLC              Surgical Supply; Miscellaneous…    9/13/2021   A4649       $50.00
1094642-01    J.L.            New Horizon Surgical Center LLC             Prosthetic Implant, Not Otherwise…  9/13/2021   L8699      $311.00
1094642-01    J.L.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 9/13/2021      E0650      $531.06
1094642-01    J.L.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    9/13/2021   E0666       $89.56
1095072-04    C.Y.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi… 5/22/2021       29875     $1,472.45

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                                                           1825
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1095072-04    C.Y.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Kne Surg W/Meniscectomy Me…       5/22/2021   29881     $3,026.24
1095072-04    C.Y.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee W/Lysis Adhesion…       5/22/2021   29884     $1,472.45
1095072-04    C.Y.     NYEEQASC LLC d/b/a North Queens Surgical Center      Unlisted Procedure Arthroscopy…     5/22/2021   29999     $1,472.45
1095072-04    C.Y.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…     5/22/2021   A4649       $50.00
1095072-04    C.Y.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      5/22/2021   E0650      $531.06
1095072-04    C.Y.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …      5/22/2021   E0666       $89.56
1095144-02    L.B.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C…       4/7/2021   29876     $1,472.45
1095144-02    L.B.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La…        4/7/2021   29880     $3,026.24
1095144-02    L.B.               Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…      4/7/2021   29999     $1,472.45
1095144-02    L.B.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…      4/7/2021   A4649       $50.00
1095144-02    L.B.               Surgicore of Jersey City LLC              Arthroscopy, Knee, Surgical, For …    4/7/2021   G0289     $1,472.45
1095144-02    L.B.               Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…    4/7/2021   L8699      $195.00
1095144-02    L.B.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…       4/7/2021   E0650      $531.06
1095144-02    L.B.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …       4/7/2021   E0666       $89.56
1094898-01    M.M.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi…       8/5/2021   29875     $1,472.45
1094898-01    M.M.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La…        8/5/2021   29880     $3,026.24
1094898-01    M.M.          All City Family Healthcare Center, Inc.         Surgical Supply; Miscellaneous…      8/5/2021   A4649       $72.00
1094898-01    M.M.          All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical, For …    8/5/2021   G0289     $1,472.45
1094898-01    M.M.            Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin…   11/9/2021   20553      $277.37
1094898-01    M.M.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/9/2021   62323      $976.38
1094898-01    M.M.            Island Ambulatory Surgery Center                    Epidurograpy Rs&I…            11/9/2021   72275      $572.52
1094389-02    A.G.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…    7/13/2021   20610      $473.39
1094389-02    A.G.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…     7/13/2021   29821     $5,677.77
1094389-02    A.G.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…     7/13/2021   29823     $1,472.45
1094389-02    A.G.            Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …    7/13/2021   29825     $1,472.45
1094389-02    A.G.            Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …    7/13/2021   64415      $979.78
1094389-02    A.G.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      7/13/2021   76942      $341.96
1094389-02    A.G.            Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…     7/13/2021   A4649       $50.00
1094389-02    A.G.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      7/13/2021   E0650      $531.06
1094389-02    A.G.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …      7/13/2021   E0666       $89.56
1094505-02    C.H.           Rockaways ASC Development LLC                 Injection Single/Mlt Trigger Poin…   4/18/2021   20552      $236.69
1094505-02    C.H.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/18/2021   62323      $976.38
1094505-02    C.H.           Rockaways ASC Development LLC                        Epidurograpy Rs&I…            4/18/2021   72275      $572.53
1094505-02    C.H.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …      4/18/2021   76942      $341.96
1094505-02    C.H.           Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…     4/18/2021   A4649       $50.00
1094505-02    C.H.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…     8/13/2021   29823     $3,026.24
1094350-02    M.M.                     Triborough ASC                      Injection Single/Mlt Trigger Poin…   4/21/2021   20553      $225.00
1094350-02    M.M.                     Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/21/2021   62323     $1,550.00
1094350-02    M.M.                     Triborough ASC                             Epidurograpy Rs&I…            4/21/2021   72275      $700.00
1094350-02    M.M.                     Triborough ASC                     Fluor Needle/Cath Spine/Paraspina…    4/21/2021   77003      $225.00
1094350-02    M.M.                     Triborough ASC                        Glucose Blood Reagent Strip…       4/21/2021   82948       $20.00
1094350-02    M.M.                     Triborough ASC                   New Cpt Code 99072 Was Establishe…      4/21/2021   99072      $200.00
1094350-02    M.M.                     Triborough ASC                    Injection, Dexamethasone Sodium P…     4/21/2021   J1100       $52.64
1094350-02    M.M.                     Triborough ASC                              Unclassified Drugs…          4/21/2021   J3490       $40.64
1094350-02    M.M.                     Triborough ASC                    Low Osmolar Contrast Material, 10…     4/21/2021   Q9965       $13.90
1094350-02    M.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surgical Cap…      5/3/2021   29806     $5,677.77
1094350-02    M.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surgical Rem…      5/3/2021   29819     $1,472.45
1094350-02    M.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…      5/3/2021   29821     $2,798.20
1094350-02    M.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…      5/3/2021   29823     $1,472.45
1094350-02    M.M.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …     5/3/2021   29825     $1,472.45
1094350-02    M.M.               Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…      5/3/2021   29999     $1,472.45
1094350-02    M.M.               Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…      5/3/2021   29999     $1,472.45
1094350-02    M.M.               Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …     5/3/2021   64415      $979.78
1094350-02    M.M.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …       5/3/2021   76942      $341.96
1094350-02    M.M.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…      5/3/2021   A4649       $50.00
1094350-02    M.M.               Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…    5/3/2021   L8699      $962.00
1094350-02    M.M.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…       5/3/2021   E0650      $531.06
1094350-02    M.M.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …       5/3/2021   E0666       $89.56
1094699-05    M.N.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…     7/1/2021   87635     $1,200.00
1094699-05    M.N.               Citimed Surgery Center LLC               Arthrocentesis Aspir&/Inj Major J…     7/6/2021   20611      $859.05
1094699-05    M.N.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      7/6/2021   62323      $976.38
1094699-05    M.N.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…    8/21/2021   20610      $473.38
1094699-05    M.N.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi…      8/21/2021   29875     $1,472.45
1094699-05    M.N.            Fifth Avenue Surgery Center LLC            Arthrs Knee Abrasion Arthrp/Mlt D…     8/21/2021   29879     $1,472.45
1094699-05    M.N.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La…       8/21/2021   29880     $3,026.24
1094699-05    M.N.            Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…     8/21/2021   A4649       $50.00
1094699-05    M.N.            Fifth Avenue Surgery Center LLC              Arthroscopy, Knee, Surgical, For …   8/21/2021   G0289     $1,472.45
1094699-05    M.N.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      8/21/2021   E0650      $531.06

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                       Date of     Billing   Amount
                                      Provider                                    Service
 Number      Person                                                                                        Service     Code       Billed
1094699-05    M.N.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …    8/21/2021   E0666       $89.56
1094513-01    P.B.               Avicenna Surgery Center              Arthroscopy Shoulder Surg Synovec…   4/16/2021   29821     $5,677.78
1094513-01    P.B.               Avicenna Surgery Center              Arthroscopy Shoulder Surg Debride…   4/16/2021   29822     $3,026.23
1094513-01    P.B.               Avicenna Surgery Center             Arthroscopy Shoulder W/Coracoacrm… 4/16/2021      29826     $3,026.23
1094513-01    P.B.         Rockaways ASC Development LLC               Injection Single/Mlt Trigger Poin… 10/13/2021   20553      $236.69
1094513-01    P.B.         Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/13/2021   62323      $976.38
1094513-01    P.B.         Rockaways ASC Development LLC                      Epidurograpy Rs&I…          10/13/2021   72275      $572.53
1094513-01    P.B.         Rockaways ASC Development LLC             Us Guidance Needle Placement Img … 10/13/2021     76942      $341.96
1094513-01    P.B.         Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop… 10/27/2021   22526     $2,605.78
1094513-01    P.B.         Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop… 10/27/2021   22527     $2,605.78
1094513-01    P.B.         Rockaways ASC Development LLC              Dcmprn Perq Nucleus Pulposus 1/> … 10/27/2021    62287     $5,292.93
1094042-01    J.P.         Rockaways ASC Development LLC               Injection Single/Mlt Trigger Poin…   4/1/2021   20552      $236.69
1094042-01    J.P.         Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/1/2021   62323      $976.38
1094042-01    J.P.         Rockaways ASC Development LLC             Us Guidance Needle Placement Img …     4/1/2021   76942      $341.96
1094042-01    J.P.         Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     4/1/2021   A4649       $50.00
1094042-01    J.P.         Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…   5/2/2021   22526     $2,605.78
1094042-01    J.P.         Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…   5/2/2021   22527     $2,605.78
1094042-01    J.P.         Rockaways ASC Development LLC              Dcmprn Perq Nucleus Pulposus 1/> …    5/2/2021   62287     $5,292.93
1094042-01    J.P.         Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…     5/2/2021   A4649       $50.00
1094042-01    J.P.            Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 5/22/2021      29876     $1,472.45
1094042-01    J.P.            Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 5/22/2021      29876     $1,472.45
1094042-01    J.P.            Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 5/22/2021       29880     $3,026.24
1094042-01    J.P.            Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 5/22/2021       29880     $3,026.24
1094042-01    J.P.            Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    5/22/2021   29999     $1,472.45
1094042-01    J.P.            Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    5/22/2021   29999     $1,472.45
1094042-01    J.P.            Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    5/22/2021   A4649       $50.00
1094042-01    J.P.            Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    5/22/2021   A4649       $50.00
1094042-01    J.P.            Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …  5/22/2021   G0289     $1,472.45
1094042-01    J.P.            Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …  5/22/2021   G0289     $1,472.45
1094042-01    J.P.            Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …  5/22/2021   G0289     $1,472.45
1094042-01    J.P.            Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …  5/22/2021   G0289     $1,472.45
1094042-01    J.P.            Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…  5/22/2021   L8699      $210.00
1094042-01    J.P.            Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…  5/22/2021   L8699      $210.00
1094042-01    J.P.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 5/22/2021      E0650      $531.06
1094042-01    J.P.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …    5/22/2021   E0666       $89.56
1094090-01    R.H.          Fifth Avenue Surgery Center LLC         Arthrs Knee W/Meniscectomy Med&La… 7/2/2021        29880     $3,026.24
1094090-01    R.H.          Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…     7/2/2021   A4649       $50.00
1094090-01    R.H.          Fifth Avenue Surgery Center LLC            Arthroscopy, Knee, Surgical, For …   7/2/2021   G0289     $1,472.45
1094090-01    R.H.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…     7/2/2021   e0650      $531.06
1094090-01    R.H.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …     7/2/2021   e0666       $89.56
1094090-04    A.P.         New Horizon Surgical Center LLC             Open Tx Distal Tibiofibular Joint…   7/9/2021   27829     $4,869.06
1094090-04    A.P.         New Horizon Surgical Center LLC            Arthrs Ankle Exc Ostchndrl Dfct W…    7/9/2021   29891     $1,472.45
1094090-04    A.P.         New Horizon Surgical Center LLC            Arthroscopy Ankle Surgical Synove…    7/9/2021   29895     $1,472.45
1094090-04    A.P.         New Horizon Surgical Center LLC            Arthroscopy Ankle Surgical Debrid…    7/9/2021   29898     $1,472.45
1094090-04    A.P.         New Horizon Surgical Center LLC            Injection Anesthetic Agent Femora…    7/9/2021   64447      $829.30
1094090-04    A.P.         New Horizon Surgical Center LLC           Us Guidance Needle Placement Img …     7/9/2021   76942      $341.96
1094090-04    A.P.         New Horizon Surgical Center LLC              Surgical Supply; Miscellaneous…     7/9/2021   A4649       $50.00
1094090-04    A.P.                  Good Medica Inc                  Crutches, Underarm, Other Than Wo…     7/9/2021   E0114       $23.38
1094090-04    A.P.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…     7/9/2021   E0650      $531.06
1094090-04    A.P.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …     7/9/2021   E0666       $89.56
1094090-04    A.P.                  Good Medica Inc                  Walking Boot, Nonpneumatic, With …     7/9/2021   L4386      $155.02
1094090-04    A.P.          Fifth Avenue Surgery Center LLC            Perq Intrdscl Electrothrm Annulop…  2/24/2023   22526     $2,605.78
1094090-04    A.P.          Fifth Avenue Surgery Center LLC            Perq Intrdscl Electrothrm Annulop…  2/24/2023   22527     $2,605.79
1094090-04    A.P.          Fifth Avenue Surgery Center LLC           Dcmprn Perq Nucleus Pulposus 1/> …   2/24/2023   62287     $5,292.93
1094719-01    J.D.            Surgicore of Jersey City LLC            Tenotomy Shoulder Area 1 Tendon…     6/26/2021   23405     $1,839.77
1094719-01    J.D.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…   6/26/2021   29821     $5,677.77
1094719-01    J.D.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…   6/26/2021   29823     $1,472.45
1094719-01    J.D.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …   6/26/2021   29825     $1,472.45
1094719-01    J.D.            Surgicore of Jersey City LLC           Arthroscopy Shoulder W/Coracoacrm… 6/26/2021      29826     $1,472.45
1094719-01    J.D.            Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …   6/26/2021   64415      $979.78
1094719-01    J.D.            Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …    6/26/2021   76942      $341.96
1094719-01    J.D.            Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    6/26/2021   A4649       $50.00
1094719-01    J.D.            Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…  6/26/2021   L8699     $1,220.35
1094719-01    J.D.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 6/26/2021      E0650      $531.06
1094719-01    J.D.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …    6/26/2021   E0666       $89.56
1093873-01    O.C.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…   3/18/2021   29821     $2,798.20
1093873-01    O.C.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…   3/18/2021   29823     $1,472.45
1093873-01    O.C.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …   3/18/2021   29825     $1,472.45

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                                                           1827
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1093873-01    O.C.              Surgicore of Jersey City LLC             Arthroscopy Shoulder Rotator Cuff…   3/18/2021   29827     $5,677.77
1093873-01    O.C.              Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …   3/18/2021   64415      $979.78
1093873-01    O.C.              Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …    3/18/2021   76942      $341.96
1093873-01    O.C.              Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…    3/18/2021   A4649       $50.00
1093873-01    O.C.              Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…  3/18/2021   L8699      $876.00
1093873-01    O.C.                    Good Medica Inc                   Pneumatic Compressor, Nonsegmenta… 3/18/2021      E0650      $531.06
1093873-01    O.C.                    Good Medica Inc                   Nonsegmental Pneumatic Appliance …    3/18/2021   E0666       $89.56
1093873-01    O.C.              Surgicore of Jersey City LLC            Arthroscopy Knee Synovectomy 2/>C… 8/26/2021      29876     $1,472.45
1093873-01    O.C.              Surgicore of Jersey City LLC           Arthrs Knee W/Meniscectomy Med&La… 8/26/2021       29880     $3,026.24
1093873-01    O.C.              Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…    8/26/2021   A4649       $50.00
1093873-01    O.C.              Surgicore of Jersey City LLC              Arthroscopy, Knee, Surgical, For …  8/26/2021   G0289     $1,472.45
1093873-01    O.C.              Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…  8/26/2021   L8699      $125.00
1093873-01    O.C.                    Good Medica Inc                   Pneumatic Compressor, Nonsegmenta… 8/26/2021      E0650      $531.06
1093873-01    O.C.                    Good Medica Inc                   Nonsegmental Pneumatic Appliance …    8/26/2021   E0666       $89.56
1093873-02    G.X.              Surgicore of Jersey City LLC            Arthroscopy Knee Synovectomy 2/>C… 5/27/2021      29876     $1,472.45
1093873-02    G.X.              Surgicore of Jersey City LLC           Arthrs Knee W/Meniscectomy Med&La… 5/27/2021       29880     $3,026.24
1093873-02    G.X.              Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…    5/27/2021   A4649       $50.00
1093873-02    G.X.              Surgicore of Jersey City LLC              Arthroscopy, Knee, Surgical, For …  5/27/2021   G0289     $1,472.45
1093873-02    G.X.              Surgicore of Jersey City LLC              Arthroscopy, Knee, Surgical, For …  5/27/2021   G0289     $1,472.45
1093873-02    G.X.              Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…  5/27/2021   L8699      $195.00
1093873-02    G.X.                    Good Medica Inc                   Pneumatic Compressor, Nonsegmenta… 5/27/2021      E0650      $531.06
1093873-02    G.X.                    Good Medica Inc                   Nonsegmental Pneumatic Appliance …    5/27/2021   E0666       $89.56
1094271-02    L.T.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 4/25/2021       29880     $3,026.24
1094271-02    L.T.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    4/25/2021   A4649       $50.00
1094271-02    L.T.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/23/2021   62321      $976.38
1094271-02    L.T.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…           6/23/2021   72275      $572.53
1094271-02    L.T.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    6/23/2021   A4649       $50.00
1094271-02    L.T.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…  7/18/2021   22526     $2,605.78
1094271-02    L.T.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…  7/18/2021   22526     $5,292.93
1094271-02    L.T.           Rockaways ASC Development LLC               Unlisted Procedure Nervous System…   7/18/2021   64999      $747.93
1094271-02    L.T.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    7/18/2021   A4649       $50.00
1094271-02    L.T.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/19/2021   62321      $976.38
1094271-02    L.T.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…          12/19/2021   72275      $572.53
1094271-02    L.T.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…   1/17/2022   29821     $5,596.40
1094271-02    L.T.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…   1/17/2022   29823     $1,472.45
1094271-02    L.T.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …   1/17/2022   29825     $1,472.45
1094271-02    L.T.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 1/17/2022      29826     $1,472.45
1094271-02    L.T.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Rotator Cuff…   1/17/2022   29827     $6,723.47
1094271-02    L.T.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…    1/17/2022   29999     $1,553.82
1094271-02    L.T.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …   1/17/2022   64415      $979.78
1094271-02    L.T.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …    1/17/2022   76942      $341.96
1094271-02    L.T.                    Good Medica Inc                   Pneumatic Compressor, Nonsegmenta… 1/17/2022      E0650      $531.06
1094271-02    L.T.                    Good Medica Inc                   Nonsegmental Pneumatic Appliance …    1/17/2022   E0666       $89.56
1094503-05    M.P.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee Synovectomy Limi… 3/22/2021      29875     $1,472.45
1094503-05    M.P.         Bronx SC LLC d/b/a Empire State ASC         Arthrs Kne Surg W/Meniscectomy Me… 3/22/2021       29881     $3,026.24
1094503-05    M.P.         Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…    3/22/2021   A4649       $50.00
1094503-05    M.P.         Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Knee, Surgical, For …  3/22/2021   G0289     $1,472.45
1094503-05    M.P.               Citimed Surgery Center LLC               Injection Single/Mlt Trigger Poin…  7/10/2021   20553      $473.39
1094503-05    M.P.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/10/2021   62321      $976.38
1094503-05    M.P.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   7/31/2021   62323      $976.38
1094524-02    M.L.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/2/2021   62323      $976.38
1094524-02    M.L.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…            5/2/2021   72275      $572.53
1094524-02    M.L.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     5/2/2021   A4649       $50.00
1094524-02    M.L.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/6/2021   62323      $976.38
1094524-02    M.L.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…            6/6/2021   72275      $572.53
1094524-02    M.L.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     6/6/2021   A4649       $50.00
1094524-02    M.L.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…  7/18/2021   22526     $2,605.78
1094524-02    M.L.           Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> …   7/18/2021   62287     $5,292.93
1094524-02    M.L.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    7/18/2021   A4649       $50.00
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surgical Rem…     8/28/2021   29819     $1,472.45
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…     8/28/2021   29821     $5,677.77
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…     8/28/2021   29823     $1,472.45
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Ahesiolysis …   8/28/2021   29825     $1,472.45
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 8/28/2021       29826     $1,472.45
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …   8/28/2021   64415      $979.78
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …     8/28/2021   76942      $341.96
1094524-02    M.L.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    8/28/2021   A4649       $50.00
1094524-02    M.L.                    Good Medica Inc                   Pneumatic Compressor, Nonsegmenta… 8/28/2021      E0650      $531.06

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                                                        1828
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                       Provider                                    Service
 Number      Person                                                                                           Service     Code       Billed
1094524-02    M.L.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …       8/28/2021   E0666       $89.56
1094437-01    C.V.          Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi…       4/20/2021   29875      $473.39
1094437-01    C.V.          Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi…       4/20/2021   29875     $1,472.45
1094437-01    C.V.          Fifth Avenue Surgery Center LLC          Arthrs Kne Surg W/Meniscectomy Me…       4/20/2021   29881     $3,026.24
1094437-01    C.V.          Fifth Avenue Surgery Center LLC            Injection Anesthetic Agent Femora…     4/20/2021   64447      $829.30
1094437-01    C.V.          Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      4/20/2021   76942      $341.96
1094437-01    C.V.          Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…      4/20/2021   A4649       $50.00
1094437-01    C.V.          Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical, For …    4/20/2021   G0289     $1,472.45
1094437-01    C.V.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…       4/20/2021   E0650      $531.06
1094437-01    C.V.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …       4/20/2021   E0666       $89.56
1093656-02    J.R.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…      3/25/2021   29821     $5,677.77
1093656-02    J.R.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…      3/25/2021   29823     $1,472.45
1093656-02    J.R.            Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …     3/25/2021   29825     $1,472.45
1093656-02    J.R.            Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …     3/25/2021   64415      $979.78
1093656-02    J.R.            Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …      3/25/2021   76942      $341.96
1093656-02    J.R.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…      3/25/2021   A4649       $50.00
1093656-02    J.R.            Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…     3/25/2021   L8699      $185.00
1093656-02    J.R.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…       3/25/2021   E0650      $531.06
1093656-02    J.R.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …       3/25/2021   E0666       $89.56
1093791-01    S.P.          New Horizon Surgical Center LLC           Arthroscopy Shoulder Surgical Rem…      4/19/2021   29819     $1,472.45
1093791-01    S.P.          New Horizon Surgical Center LLC           Arthroscopy Shoulder Surg Debride…      4/19/2021   29823     $3,026.24
1093791-01    S.P.          New Horizon Surgical Center LLC          Arthroscopy Shoulder W/Coracoacrm…       4/19/2021   29826     $1,472.45
1093791-01    S.P.          New Horizon Surgical Center LLC            Single Nerve Block Injection Arm …     4/19/2021   64415      $979.78
1093791-01    S.P.          New Horizon Surgical Center LLC           Us Guidance Needle Placement Img …      4/19/2021   76942      $341.96
1093791-01    S.P.          New Horizon Surgical Center LLC              Surgical Supply; Miscellaneous…      4/19/2021   A4649       $50.00
1093791-01    S.P.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…       4/19/2021   E0650      $531.06
1093791-01    S.P.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …       4/19/2021   E0666       $89.56
1093611-02    A.O.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…      9/13/2021   29821     $5,596.40
1093611-02    A.O.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…      9/13/2021   29823     $1,472.45
1093611-02    A.O.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …     9/13/2021   29825     $1,472.45
1093611-02    A.O.          Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder W/Coracoacrm…       9/13/2021   29826     $1,553.82
1093611-02    A.O.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Rotator Cuff…      9/13/2021   29827     $6,723.47
1093611-02    A.O.          Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …     9/13/2021   64415      $979.78
1093611-02    A.O.          Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      9/13/2021   76942      $341.96
1093611-02    A.O.          Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…      9/13/2021   A4649       $50.00
1093611-02    A.O.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…       9/13/2021   E0650      $531.06
1093611-02    A.O.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …       9/13/2021   E0666       $89.56
1093611-02    A.O.                  Good Medica Inc                   Sewho, Abduction Positioning, Air…      9/13/2021   L3960      $372.50
1094290-01    M.B.            Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       6/2/2021   62321     $1,012.32
1094290-01    M.B.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…       6/2/2021   A4649       $50.00
1094290-01    M.B.            Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       6/9/2021   62323     $1,012.32
1094290-01    M.B.            Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …       6/9/2021   76942      $281.77
1094290-01    M.B.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…       6/9/2021   A4649       $50.00
1094290-01    M.B.          Parkway Ambulatory Surgery Ce             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       8/4/2021   62321     $1,518.48
1094290-01    M.B.          Parkway Ambulatory Surgery Ce             Fluor Needle/Cath Spine/Paraspina…       8/4/2021   77003     $1,200.00
1094290-01    M.B.          Parkway Ambulatory Surgery Ce            Njx Anes&/Strd W/Img Tfrml Edrl L…       8/11/2021   64483     $1,518.48
1094290-01    M.B.          Parkway Ambulatory Surgery Ce            Njx Anes&/Strd W/Img Tfrml Edrl L…       8/11/2021   64484     $1,518.48
1094290-01    M.B.          Parkway Ambulatory Surgery Ce            Njx Anes&/Strd W/Img Tfrml Edrl L…       8/11/2021   64484     $1,518.48
1094290-01    M.B.          Parkway Ambulatory Surgery Ce             Injection Px Discogrphy Ea Lvl Ce…     10/14/2021   62291     $5,725.00
1094290-01    M.B.          Parkway Ambulatory Surgery Ce             Injection Px Discogrphy Ea Lvl Ce…     10/14/2021   62291     $5,725.00
1094290-01    M.B.          Parkway Ambulatory Surgery Ce             Injection Px Discogrphy Ea Lvl Ce…     10/14/2021   62291     $5,725.00
1094290-01    M.B.          Parkway Ambulatory Surgery Ce             Injection Px Discogrphy Ea Lvl Ce…     10/14/2021   62291     $5,725.00
1094290-01    M.B.          Parkway Ambulatory Surgery Ce             Diskograpy Cervical/Thoracic Rs&I…     10/14/2021   72285     $2,255.00
1094290-01    M.B.          Parkway Ambulatory Surgery Ce             Diskograpy Cervical/Thoracic Rs&I…     10/14/2021   72285     $2,255.00
1094290-01    M.B.          Parkway Ambulatory Surgery Ce             Diskograpy Cervical/Thoracic Rs&I…     10/14/2021   72285     $2,255.00
1094290-01    M.B.          Parkway Ambulatory Surgery Ce             Diskograpy Cervical/Thoracic Rs&I…     10/14/2021   72285     $2,255.00
1093720-01    S.B.          Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…      8/3/2021   20610      $473.39
1093720-01    S.B.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…       8/3/2021   29821     $5,677.77
1093720-01    S.B.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…       8/3/2021   29823     $1,472.45
1093720-01    S.B.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …      8/3/2021   29825     $1,472.45
1093720-01    S.B.          Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …      8/3/2021   64415      $979.78
1093720-01    S.B.          Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …       8/3/2021   76942      $341.96
1093720-01    S.B.          Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…       8/3/2021   A4649       $50.00
1093720-01    S.B.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…        8/3/2021   E0650      $531.06
1093720-01    S.B.                  Good Medica Inc                   Segmental Pneumatic Appliance, Fu…       8/3/2021   E0668       $89.56
1094394-01    T.H.            Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      9/25/2021   62321      $976.38
1094394-01    T.H.            Surgicore of Jersey City LLC                     Epidurograpy Rs&I…             9/25/2021   72275      $572.53
1094394-01    T.H.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…      9/25/2021   A4649       $50.00

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                                                          1829
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1094394-01    T.H.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/16/2021   62321      $976.38
1094394-01    T.H.             Surgicore of Jersey City LLC                         Epidurograpy Rs&I…          10/16/2021   72275      $572.53
1094394-01    T.H.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…   10/16/2021   A4649       $50.00
1094394-01    T.H.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/30/2021   62321      $976.38
1094394-01    T.H.             Surgicore of Jersey City LLC                         Epidurograpy Rs&I…          10/30/2021   72275      $572.53
1094394-01    T.H.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Synovec…    1/3/2024   29820     $1,472.45
1094394-01    T.H.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…    1/3/2024   29823     $5,677.77
1094394-01    T.H.              Global Surgery Center LLC                    Arthroscopy Shoulder Distal Clavi…   1/3/2024   29824     $1,472.45
1094394-01    T.H.              Global Surgery Center LLC                   Arthroscopy Shoulder Ahesiolysis …    1/3/2024   29825     $1,472.45
1094394-01    T.H.              Global Surgery Center LLC                  Arthroscopy Shoulder W/Coracoacrm…     1/3/2024   29826     $1,472.45
1094394-01    T.H.              Global Surgery Center LLC                   Arthroscopy Shoulder Biceps Tenod…    1/3/2024   29828     $6,462.39
1094334-01    J.M.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 5/13/2021      29876     $1,472.45
1094334-01    J.M.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 5/13/2021       29880     $3,026.24
1094334-01    J.M.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    5/13/2021   A4649       $50.00
1094334-01    J.M.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …  5/13/2021   G0289     $1,472.45
1094334-01    J.M.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…  5/13/2021   L8699      $195.00
1094334-01    J.M.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 5/13/2021      E0650      $531.06
1094334-01    J.M.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    5/13/2021   E0666       $89.56
1094298-02    E.R.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…  3/29/2022   20552      $236.69
1094298-02    E.R.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/29/2022   62323      $976.38
1094298-02    E.R.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …    3/29/2022   76942      $341.96
1094298-02    E.R.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…  4/12/2022   22526     $2,605.78
1094298-02    E.R.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…  4/12/2022   22527     $2,605.78
1094298-02    E.R.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> …   4/12/2022   62287     $5,292.93
1094298-02    E.R.        All City Family Healthcare Center, Inc.            Injection Single/Mlt Trigger Poin…   5/2/2022   20552      $236.69
1094298-02    E.R.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/2/2022   62323      $976.38
1094298-02    E.R.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     5/2/2022   76942      $341.96
1094298-02    E.R.        All City Family Healthcare Center, Inc.           Infectious Agent Detection By Nuc…    5/2/2022   87635       $51.33
1094298-02    E.R.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…  6/29/2022   20553      $554.74
1094298-02    E.R.                   Triborough ASC                          Njx Dx/Ther Agt Pvrt Facet Jt Crv…  6/29/2022   64490      $976.38
1094298-02    E.R.                   Triborough ASC                          Njx Dx/Ther Agt Pvrt Facet Jt Crv…  6/29/2022   64491      $976.38
1094298-02    E.R.                   Triborough ASC                          Njx Dx/Ther Agt Pvrt Facet Jt Crv…  6/29/2022   64492      $976.38
1094298-02    E.R.                   Triborough ASC                       Arthrs Kne Surg W/Meniscectomy Me… 7/21/2022       29881     $3,029.95
1094298-02    E.R.                   Triborough ASC                           Unlisted Procedure Arthroscopy…    7/21/2022   29999     $1,514.97
1093565-01    J.L.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…  8/24/2021   20610      $473.39
1093565-01    J.L.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…   8/24/2021   29821     $5,677.77
1093565-01    J.L.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   8/24/2021   29823     $1,472.45
1093565-01    J.L.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …   8/24/2021   29825     $1,472.45
1093565-01    J.L.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   8/24/2021   64415      $979.78
1093565-01    J.L.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    8/24/2021   76942      $341.96
1093565-01    J.L.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…    8/24/2021   A4649       $50.00
1093565-01    J.L.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 8/24/2021      e0650      $531.06
1093565-01    J.L.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    8/24/2021   e0666       $89.56
1093382-01    C.C.             Surgicore of Jersey City LLC                  Arthrocentesis Aspir&/Inj Major J…  7/15/2021   20610      $554.76
1093382-01    C.C.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    7/15/2021   A4649       $50.00
1093382-01    C.C.             Surgicore of Jersey City LLC                 Manipulation Hip Joint General An…   11/4/2021   27275     $1,496.15
1093382-01    C.C.             Surgicore of Jersey City LLC                Arthroscopy Hip Surgical W/Synove…    11/4/2021   29863     $1,472.46
1093382-01    C.C.             Surgicore of Jersey City LLC                  Arthroscopy Hip W/Femoroplasty…     11/4/2021   29914     $2,798.20
1093382-01    C.C.             Surgicore of Jersey City LLC                Arthroscopy Hip W/Acetabuloplasty…    11/4/2021   29915     $2,798.20
1093382-01    C.C.             Surgicore of Jersey City LLC                  Arthroscopy Hip W/Labral Repair…    11/4/2021   29916     $5,677.77
1093382-01    C.C.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…  11/4/2021   L8699     $4,030.21
1093382-01    C.C.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 11/4/2021      E0650      $531.06
1093382-01    C.C.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    11/4/2021   E0666       $89.56
1093316-02    G.R.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surgical Rem…    3/4/2021   29819     $1,472.45
1093316-02    G.R.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…    3/4/2021   29821     $5,677.77
1093316-02    G.R.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…    3/4/2021   29823     $1,472.45
1093316-02    G.R.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …    3/4/2021   29825     $1,472.45
1093316-02    G.R.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …    3/4/2021   64415      $979.78
1093316-02    G.R.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …     3/4/2021   76942      $341.96
1093316-02    G.R.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     3/4/2021   A4649       $50.00
1093316-02    G.R.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…   3/4/2021   L8699      $185.00
1093316-02    G.R.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…     3/4/2021   E0650      $531.06
1093316-02    G.R.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     3/4/2021   E0666       $89.56
1093832-03    M.G.                     SCOB LLC                            Arthroscopy Knee Synovectomy 2/>C… 10/29/2021     29876     $2,944.87
1093832-03    M.G.                     SCOB LLC                             Arthrs Knee Abrasion Arthrp/Mlt D… 10/29/2021    29879     $3,026.24
1093832-03    M.G.                     SCOB LLC                           Arthrs Kne Surg W/Meniscectomy Me… 10/29/2021      29881     $2,944.87
1093832-03    M.G.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/23/2022   62321      $976.38
1093832-03    M.G.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic… 1/30/2022      63075     $6,402.03

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        Case 1:24-cv-08606-JRC                Document 1-4 Filed 12/17/24                          Page 383 of 580 PageID #:
                                                          1830
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                Service     Code       Billed
1093832-03    M.G.                     SCOB LLC                             Arthroscopy Shoulder Surg Synovec…      7/8/2022   29821     $5,677.77
1093832-03    M.G.                     SCOB LLC                             Arthroscopy Shoulder Surg Debride…      7/8/2022   29823     $2,944.87
1093832-03    M.G.                     SCOB LLC                            Arthroscopy Shoulder W/Coracoacrm…       7/8/2022   29826     $2,944.87
1093577-02    B.B.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…   4/26/2021   20552      $236.69
1093577-02    B.B.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/26/2021   62323      $976.38
1093577-02    B.B.         Rockaways ASC Development LLC                              Epidurograpy Rs&I…           4/26/2021   72275      $572.53
1093577-02    B.B.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …      4/26/2021   76942      $341.96
1093577-02    B.B.         Rockaways ASC Development LLC                     Infectious Agent Detection By Nuc…    4/26/2021   87635       $51.33
1093577-02    B.B.         Rockaways ASC Development LLC                        Surgical Supply; Miscellaneous…    4/26/2021   A4649       $50.00
1093577-02    B.B.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…     5/3/2021   22526     $2,605.78
1093577-02    B.B.        All City Family Healthcare Center, Inc.           Dcmprn Perq Nucleus Pulposus 1/> …      5/3/2021   62287     $5,292.93
1093577-02    B.B.        All City Family Healthcare Center, Inc.            Infectious Agent Detection By Nuc…     5/3/2021   87635       $51.33
1093577-02    B.B.        All City Family Healthcare Center, Inc.               Surgical Supply; Miscellaneous…     5/3/2021   A4649       $72.00
1093577-02    B.B.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…     7/10/2021   29821     $5,677.77
1093577-02    B.B.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…     7/10/2021   29823     $1,472.45
1093577-02    B.B.             Surgicore of Jersey City LLC                  Arthroscopy Shoulder Ahesiolysis …    7/10/2021   29825     $1,472.45
1093577-02    B.B.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm… 7/10/2021        29826     $1,472.45
1093577-02    B.B.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …    7/10/2021   64415      $979.78
1093577-02    B.B.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …      7/10/2021   76942      $341.96
1093577-02    B.B.             Surgicore of Jersey City LLC                  Infectious Agent Detection By Nuc…    7/10/2021   87635       $51.33
1093577-02    B.B.             Surgicore of Jersey City LLC                     Surgical Supply; Miscellaneous…    7/10/2021   A4649       $50.00
1093577-02    B.B.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 7/10/2021        E0650      $531.06
1093577-02    B.B.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …      7/10/2021   E0666       $89.56
1093897-01    F.J.             Surgicore of Jersey City LLC                  Perq Intrdscl Electrothrm Annulop…   10/16/2021   22526     $2,605.78
1093897-01    F.J.             Surgicore of Jersey City LLC                  Perq Intrdscl Electrothrm Annulop…   10/16/2021   22526     $2,605.78
1093897-01    F.J.             Surgicore of Jersey City LLC                 Dcmprn Perq Nucleus Pulposus 1/> … 10/16/2021      62287     $5,292.93
1093897-01    F.J.             Surgicore of Jersey City LLC                     Surgical Supply; Miscellaneous…   10/16/2021   A4649       $50.00
1093897-01    F.J.             Surgicore of Jersey City LLC                 Probe, Percutaneous Lumbar Discec… 10/16/2021      C2614     $1,495.00
1093897-01    F.J.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 10/16/2021       E0650      $531.06
1093897-01    F.J.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance … 10/16/2021       E0666       $89.56
1093897-01    F.J.             Surgicore of Jersey City LLC                 Plmt Post Facet Implt Uni/Bi W/Im…     1/22/2022   0221T     $5,292.93
1093897-01    F.J.             Surgicore of Jersey City LLC                   Place Posterior Intrafacet Implan…   1/22/2022   0222T     $2,605.78
1093897-01    F.J.             Surgicore of Jersey City LLC                 Unlisted Procedure Nervous System…     1/22/2022   64999      $829.30
1093897-01    F.J.             Surgicore of Jersey City LLC                Anchor/Screw For Opposing Bone-To… 1/22/2022        C1713     $2,135.00
1093897-01    F.J.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…    4/25/2023   20610      $473.39
1093897-01    F.J.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 4/25/2023        29875     $1,472.45
1093897-01    F.J.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 4/25/2023         29880     $3,026.24
1093897-01    F.J.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…    5/16/2023   20610      $473.39
1093897-01    F.J.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 5/16/2023        29875     $1,472.45
1093897-01    F.J.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 5/16/2023         29880     $3,026.24
1093897-01    F.J.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…    8/29/2023   20610      $473.39
1093897-01    F.J.          Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Dx W/Wo Syno… 8/29/2023         29805     $1,472.45
1093897-01    F.J.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…     8/29/2023   29821     $5,677.77
1093897-01    F.J.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…     8/29/2023   29823     $1,472.45
1093897-01    F.J.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …    8/29/2023   64415      $979.78
1093897-01    F.J.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …      8/29/2023   76942      $341.96
1093897-01    F.J.                Hudson Surgery Center                      Njx Pltlt Plasma W/Img Harvest/Pr…     5/9/2024   0232T      $961.00
1093897-01    F.J.                Hudson Surgery Center                       Injection Single/Mlt Trigger Poin…   5/21/2024   20553      $279.23
1093897-01    F.J.                Hudson Surgery Center                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/21/2024   62323      $980.10
1093898-02    T.M.                   Triborough ASC                           Injection Single/Mlt Trigger Poin…   3/12/2021   20553      $225.00
1093898-02    T.M.                   Triborough ASC                          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/12/2021   62321     $1,550.00
1093898-02    T.M.                   Triborough ASC                                   Epidurograpy Rs&I…           3/12/2021   72275      $700.00
1093898-02    T.M.                   Triborough ASC                          Fluor Needle/Cath Spine/Paraspina…    3/12/2021   77003      $225.00
1093898-02    T.M.                   Triborough ASC                          Urine Pregnancy Test Visual Color…    3/12/2021   81025       $30.00
1093898-02    T.M.                   Triborough ASC                         Glucose Quantitative Blood Xcpt R…     3/12/2021   82947       $20.00
1093898-02    T.M.                   Triborough ASC                        New Cpt Code 99072 Was Establishe… 3/12/2021        99072      $200.00
1093898-02    T.M.                   Triborough ASC                         Injection, Dexamethasone Sodium P…     3/12/2021   J1100       $52.64
1093898-02    T.M.                   Triborough ASC                                   Unclassified Drugs…          3/12/2021   J3490       $40.64
1093898-02    T.M.                   Triborough ASC                         Low Osmolar Contrast Material, 10…     3/12/2021   Q9965       $13.90
1093898-02    T.M.                   Triborough ASC                          Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/30/2021   64490     $1,000.00
1093898-02    T.M.                   Triborough ASC                          Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/30/2021   64491     $1,000.00
1093898-02    T.M.                   Triborough ASC                          Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/30/2021   64492     $1,000.00
1093898-02    T.M.                   Triborough ASC                          Fluor Needle/Cath Spine/Paraspina…    4/30/2021   77003      $225.00
1093898-02    T.M.                   Triborough ASC                          Urine Pregnancy Test Visual Color…    4/30/2021   81025       $30.00
1093898-02    T.M.                   Triborough ASC                         Glucose Quantitative Blood Xcpt R…     4/30/2021   82947       $20.00
1093898-02    T.M.                   Triborough ASC                        New Cpt Code 99072 Was Establishe… 4/30/2021        99072      $200.00
1093898-02    T.M.                   Triborough ASC                         Injection, Dexamethasone Sodium P…     4/30/2021   J1100       $52.64
1093898-02    T.M.                   Triborough ASC                            Injection, Lidocaine Hcl For Intr…  4/30/2021   J2001       $48.00

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                                                           1831
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1093898-02    T.M.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 6/16/2021       29876      $1,472.45
1093898-02    T.M.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 6/16/2021        29880      $3,026.24
1093898-02    T.M.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…     6/16/2021   29999      $1,472.45
1093898-02    T.M.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     6/16/2021   A4649        $50.00
1093898-02    T.M.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…   6/16/2021   L8699       $195.00
1093898-02    T.M.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 6/16/2021       E0650       $531.06
1093898-02    T.M.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     6/16/2021   E0666        $89.56
1093898-02    T.M.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     9/3/2021   62323       $976.38
1093898-02    T.M.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…             9/3/2021   72275       $572.53
1093898-02    T.M.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…      9/3/2021   A4649        $50.00
1093898-02    T.M.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   10/8/2021   22526      $2,605.78
1093898-02    T.M.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   10/8/2021   22527      $2,605.79
1093898-02    T.M.           Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> …    10/8/2021   62287      $5,292.93
1093898-02    T.M.           Rockaways ASC Development LLC               Infectious Agent Detection By Nuc…    10/8/2021   87635        $51.33
1093856-01    L.M.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…     6/5/2021   29821      $5,677.77
1093856-01    L.M.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…     6/5/2021   29823      $1,472.45
1093856-01    L.M.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …     6/5/2021   29825      $1,472.45
1093856-01    L.M.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm…      6/5/2021   29826      $1,472.45
1093856-01    L.M.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …     6/5/2021   64415       $979.78
1093856-01    L.M.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      6/5/2021   76942       $341.96
1093856-01    L.M.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…      6/5/2021   A4649        $50.00
1093856-01    L.M.                     Triborough ASC                     Injection Single/Mlt Trigger Poin…  12/22/2021   20553       $554.74
1093856-01    L.M.                     Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/22/2021   62321       $976.38
1093856-01    L.M.                     Triborough ASC                            Epidurograpy Rs&I…           12/22/2021   72275       $572.52
1094000-01    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…      4/24/2021   29821      $2,798.20
1094000-01    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…      4/24/2021   29823      $1,472.45
1094000-01    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Ahesiolysis …    4/24/2021   29825      $1,472.45
1094000-01    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 4/24/2021        29826      $1,472.45
1094000-01    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Rotator Cuff…    4/24/2021   29827      $5,677.77
1094000-01    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center     Unlisted Procedure Arthroscopy…     4/24/2021   29999      $1,472.45
1094000-01    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …    4/24/2021   64415       $979.78
1094000-01    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …      4/24/2021   76942       $341.96
1094000-01    J.P.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     4/24/2021   A4649        $50.00
1094000-01    J.P.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 4/24/2021       E0650       $531.06
1094000-01    J.P.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     4/24/2021   E0666        $89.56
1093671-01    V.H.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…  11/30/2021   20610       $473.39
1093671-01    V.H.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec… 11/30/2021     29821      $5,677.77
1093671-01    V.H.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…   11/30/2021   29823      $1,472.45
1093671-01    V.H.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …   11/30/2021   29825      $1,472.45
1093671-01    V.H.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 11/30/2021      29826      $1,472.45
1093671-01    V.H.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …   11/30/2021   64415       $979.78
1093671-01    V.H.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img … 11/30/2021      76942       $341.96
1093671-01    V.H.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 11/30/2021      E0650       $531.06
1093671-01    V.H.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance … 11/30/2021      E0666        $89.56
1093122-01    S.S.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/11/2021   62321       $976.38
1093122-01    S.S.          All City Family Healthcare Center, Inc.              Epidurograpy Rs&I…            4/11/2021   72275       $572.53
1093122-01    S.S.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     4/11/2021   A4649        $72.00
1093122-01    S.S.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 5/12/2021       E0650       $531.06
1093122-01    S.S.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     5/12/2021   E0666        $89.56
1093122-01    S.S.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…     6/4/2021   87635      $1,200.00
1093122-01    S.S.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…    6/18/2021   87635      $1,200.00
1093367-01    D.A.            Fifth Avenue Surgery Center LLC            Insertion Wire/Pin W/Appl Skeleta…     4/3/2021   20650      $1,393.35
1093367-01    D.A.            Fifth Avenue Surgery Center LLC            Insertion Wire/Pin W/Appl Skeleta…     4/3/2021   20650      $1,393.35
1093367-01    D.A.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…     4/3/2021   29821      $2,798.20
1093367-01    D.A.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …     4/3/2021   29825      $1,472.45
1093367-01    D.A.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm…      4/3/2021   29826      $1,472.45
1093367-01    D.A.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Rotator Cuff…     4/3/2021   29827      $5,677.77
1093367-01    D.A.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …     4/3/2021   64415       $979.78
1093367-01    D.A.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      4/3/2021   76942       $341.96
1093367-01    D.A.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…      4/3/2021   A4649        $50.00
1093367-01    D.A.            New Horizon Surgical Center LLC           Extrcorpl Shock Wave Muscskele No… 10/29/2021      0101T     $22,194.00
1093367-01    D.A.                     Good Medica Inc                   Cane, Quad Or Three-Prong, Includ…   10/29/2021   E0105        $18.75
1093367-01    D.A.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 10/29/2021      E0650       $531.06
1093367-01    D.A.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance … 10/29/2021      E0666        $89.56
1093367-01    D.A.                     Good Medica Inc                        Surgical Boot/Shoe, Each…       10/29/2021   L3260        $22.50
1093367-01    D.A.               Crotona Parkway ASC LLC                 Plmt Post Facet Implt Uni/Bi W/Im…    4/18/2023   0221T      $2,648.32
1093367-01    D.A.               Crotona Parkway ASC LLC                   Place Posterior Intrafacet Implan…  4/18/2023   0222T      $2,648.32
1093367-01    D.A.               Crotona Parkway ASC LLC                  Perq Intrdscl Electrothrm Annulop…   4/18/2023   22526      $2,648.32

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                                                        1832
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                       Provider                                      Service
 Number      Person                                                                                           Service     Code       Billed
1093367-01    D.A.             Crotona Parkway ASC LLC                   Perq Intrdscl Electrothrm Annulop…   4/18/2023   22527     $2,648.32
1093367-01    D.A.             Crotona Parkway ASC LLC                  Dcmprn Perq Nucleus Pulposus 1/> …    4/18/2023   62287     $5,296.65
1093367-01    D.A.             Crotona Parkway ASC LLC                  Transection/Avulsion Oth Spinal N…    4/18/2023   64772     $1,114.09
1093367-01    D.A.             Crotona Parkway ASC LLC                  Transection/Avulsion Oth Spinal N…    4/18/2023   64772     $1,114.09
1093310-01    S.S.           Healthplus Surgery Center LLC                Injection Single/Mlt Trigger Poin…   5/5/2021   20553      $473.39
1093310-01    S.S.           Healthplus Surgery Center LLC               Inject Si Joint Arthrgrphy&/Anes/…    5/5/2021   27096     $1,288.58
1093310-01    S.S.           Healthplus Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     5/5/2021   64493     $1,423.89
1093310-01    S.S.           Healthplus Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     5/5/2021   64494     $1,342.52
1093310-01    S.S.           Healthplus Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     5/5/2021   64495     $1,342.52
1093310-01    S.S.            Dynamic Surgery Center LLC                  Injection Single/Mlt Trigger Poin…  5/12/2021   20553      $473.39
1093310-01    S.S.            Dynamic Surgery Center LLC                 Inject Si Joint Arthrgrphy&/Anes/…   5/12/2021   27096     $1,288.58
1093310-01    S.S.            Dynamic Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/12/2021   64493     $1,423.89
1093310-01    S.S.            Dynamic Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/12/2021   64494     $1,342.52
1093310-01    S.S.            Dynamic Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/12/2021   64495     $1,342.52
1093310-01    S.S.            Dynamic Surgery Center LLC                  Injection Single/Mlt Trigger Poin…  5/19/2021   20553      $473.39
1093310-01    S.S.            Dynamic Surgery Center LLC                 Inject Si Joint Arthrgrphy&/Anes/…   5/19/2021   27096     $1,288.58
1093310-01    S.S.            Dynamic Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/19/2021   64493     $1,423.89
1093310-01    S.S.            Dynamic Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/19/2021   64494     $1,342.52
1093310-01    S.S.            Dynamic Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/19/2021   64495     $1,342.52
1093310-01    S.S.             Atlantis Surgery Center LLC                Injection Single/Mlt Trigger Poin…   6/9/2021   20553      $473.39
1093310-01    S.S.             Atlantis Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl C…      6/9/2021   64479     $1,423.89
1093310-01    S.S.             Atlantis Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl C…      6/9/2021   64480     $1,347.62
1093310-01    S.S.             Atlantis Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl C…      6/9/2021   64480     $1,347.62
1093310-01    S.S.             Atlantis Surgery Center LLC                Injection Single/Mlt Trigger Poin…   9/8/2021   20553      $473.39
1093310-01    S.S.             Atlantis Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl C…      9/8/2021   64479     $1,428.99
1093310-01    S.S.             Atlantis Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl C…      9/8/2021   64480     $1,347.62
1093310-01    S.S.             Atlantis Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl C…      9/8/2021   64480     $1,347.62
1093310-01    S.S.           Healthplus Surgery Center LLC                Injection Single/Mlt Trigger Poin…  9/15/2021   20553      $473.39
1093310-01    S.S.           Healthplus Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl C… 9/15/2021       64479     $1,423.89
1093310-01    S.S.           Healthplus Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl C… 9/15/2021       64480     $1,347.62
1093310-01    S.S.           Healthplus Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl C… 9/15/2021       64480     $1,347.62
1093310-01    S.S.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/10/2022   64493      $447.52
1093310-01    S.S.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/10/2022   64493      $976.38
1093310-01    S.S.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/10/2022   64494      $447.52
1093310-01    S.S.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/10/2022   64494      $447.52
1093310-01    S.S.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/10/2022   64495      $447.52
1093310-01    S.S.          Fifth Avenue Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/10/2022   64495      $447.52
1092910-02    G.G.            Surgicore of Jersey City LLC             Arthroscopy Knee Synovectomy 2/>C… 6/17/2021       29876     $1,472.45
1092910-02    G.G.            Surgicore of Jersey City LLC            Arthrs Kne Surg W/Meniscectomy Me… 6/17/2021        29881     $3,026.24
1092910-02    G.G.            Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…    6/17/2021   A4649       $50.00
1092910-02    G.G.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 6/17/2021       E0650      $531.06
1092910-02    G.G.                  Good Medica Inc                    Nonsegmental Pneumatic Appliance …     6/17/2021   E0666       $89.56
1092910-02    G.G.                  Good Medica Inc                     Knee Orthosis, Adjustable Knee Jo…    6/17/2021   L1833      $536.08
1093069-01    A.P.        Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee Synovectomy Limi… 5/20/2021       29875     $1,472.45
1093069-01    A.P.        Bronx SC LLC d/b/a Empire State ASC         Arthrs Kne Surg W/Meniscectomy Me… 5/20/2021        29881     $3,026.24
1093069-01    A.P.        Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee W/Lysis Adhesion… 5/20/2021       29884     $1,472.45
1093069-01    A.P.        Bronx SC LLC d/b/a Empire State ASC           Injection Anesthetic Agent Femora…    5/20/2021   64447      $829.30
1093069-01    A.P.        Bronx SC LLC d/b/a Empire State ASC          Us Guidance Needle Placement Img …     5/20/2021   76942      $341.96
1093069-01    A.P.        Bronx SC LLC d/b/a Empire State ASC              Surgical Supply; Miscellaneous…    5/20/2021   A4649       $50.00
1093069-01    A.P.        Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Knee, Surgical, For …   5/20/2021   G0289     $1,472.45
1093069-01    A.P.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta…      7/5/2022   E0650      $531.06
1093069-01    A.P.                  Good Medica Inc                    Nonsegmental Pneumatic Appliance …      7/5/2022   E0666       $89.56
1093069-01    A.P.             Crotona Parkway ASC LLC                    Injection Single/Mlt Trigger Poin…   1/5/2023   20553      $279.23
1093069-01    A.P.             Crotona Parkway ASC LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/5/2023   62323      $980.10
1093069-01    A.P.             Crotona Parkway ASC LLC                   Infectious Agent Antigen Detectio…    1/5/2023   87426      $200.00
1093706-01    A.A.                     EMUSC LLC                        Anes Open/Surg Arthroscopic Proc …    3/30/2021    1400      $118.84
1093706-01    A.A.                     EMUSC LLC                       Arthrs Knee Debridement/Shaving A…     3/30/2021   29877     $3,026.23
1093706-01    A.A.            Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Synovec…    9/28/2021   29821     $5,677.77
1093706-01    A.A.            Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Debride…    9/28/2021   29823     $1,472.45
1093706-01    A.A.            Surgicore of Jersey City LLC             Arthroscopy Shoulder W/Coracoacrm… 9/28/2021       29826     $1,472.45
1093706-01    A.A.            Surgicore of Jersey City LLC              Single Nerve Block Injection Arm …    9/28/2021   64415      $979.78
1093706-01    A.A.            Surgicore of Jersey City LLC             Us Guidance Needle Placement Img …     9/28/2021   76942      $341.96
1093706-01    A.A.            Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…    9/28/2021   A4649       $50.00
1093706-01    A.A.            Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…   9/28/2021   L8699      $210.00
1092643-01    M.R.          New Horizon Surgical Center LLC             Manipulation Knee Joint Under Gen…    3/16/2021   27570      $748.08
1092643-01    M.R.          New Horizon Surgical Center LLC            Arthroscopy Knee Synovectomy Limi… 3/16/2021       29875     $1,472.45
1092643-01    M.R.          New Horizon Surgical Center LLC           Arthrs Knee W/Meniscectomy Med&La… 3/16/2021        29880     $3,026.24
1092643-01    M.R.          New Horizon Surgical Center LLC                Surgical Supply; Miscellaneous…    3/16/2021   A4649       $50.00

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                                                          1833
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                Service     Code       Billed
1092643-01    M.R.          New Horizon Surgical Center LLC                   Arthroscopy, Knee, Surgical, For …   3/16/2021   G0289     $1,472.45
1092643-01    M.R.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…    4/26/2021   22526     $2,605.78
1092643-01    M.R.                   Triborough ASC                          Injection Px Discogrphy Ea Lvl Ce…    4/26/2021   62291      $748.74
1092643-01    M.R.                   Triborough ASC                        Discectomy Ant Dcmprn Cord Cervic…      4/26/2021   63075     $5,292.93
1092643-01    M.R.                   Triborough ASC                                  Epidurograpy Rs&I…            4/26/2021   72275      $962.54
1092643-01    M.R.                   Triborough ASC                          Urine Pregnancy Test Visual Color…    4/26/2021   81025       $30.00
1092643-01    M.R.                   Triborough ASC                         Glucose Quantitative Blood Xcpt R…     4/26/2021   82947       $20.00
1092643-01    M.R.                   Triborough ASC                        New Cpt Code 99072 Was Establishe…      4/26/2021   99072      $200.00
1092643-01    M.R.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…    5/25/2021   22526      $450.00
1092643-01    M.R.                   Triborough ASC                         Injection Px Discography Each Lev…     5/25/2021   62290      $450.00
1092643-01    M.R.                   Triborough ASC                         Transpedicular Dcmprn Spinal Cord…     5/25/2021   63056     $6,300.00
1092643-01    M.R.                   Triborough ASC                        Njx Anes&/Strd W/Img Tfrml Edrl L…      5/25/2021   64483      $750.00
1092643-01    M.R.                   Triborough ASC                          Fluor Needle/Cath Spine/Paraspina…    5/25/2021   77003      $225.00
1092643-01    M.R.                   Triborough ASC                          Urine Pregnancy Test Visual Color…    5/25/2021   81025       $30.00
1092643-01    M.R.                   Triborough ASC                         Glucose Quantitative Blood Xcpt R…     5/25/2021   82947       $20.00
1092643-01    M.R.                   Triborough ASC                        New Cpt Code 99072 Was Establishe…      5/25/2021   99072      $200.00
1092643-01    M.R.                   Triborough ASC                         Injection, Dexamethasone Sodium P…     5/25/2021   J1100       $52.64
1092643-01    M.R.                   Triborough ASC                                   Unclassified Drugs…          5/25/2021   J3490       $40.64
1092643-01    M.R.                   Triborough ASC                         Low Osmolar Contrast Material, 10…     5/25/2021   Q9965       $13.90
1092643-01    M.R.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surg Synovec…      6/1/2021   29821     $5,677.77
1092643-01    M.R.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surg Debride…      6/1/2021   29823     $1,472.45
1092643-01    M.R.          New Horizon Surgical Center LLC                  Arthroscopy Shoulder Ahesiolysis …     6/1/2021   29825     $1,472.45
1092643-01    M.R.          New Horizon Surgical Center LLC                    Unlisted Procedure Arthroscopy…      6/1/2021   29999     $1,472.45
1092643-01    M.R.          New Horizon Surgical Center LLC                  Single Nerve Block Injection Arm …     6/1/2021   64415      $979.78
1092643-01    M.R.          New Horizon Surgical Center LLC                Us Guidance Needle Placement Img …       6/1/2021   76942      $341.96
1092643-01    M.R.          New Horizon Surgical Center LLC                    Surgical Supply; Miscellaneous…      6/1/2021   A4649       $50.00
1092643-01    M.R.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       6/1/2021   E0650      $531.06
1092643-01    M.R.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       6/1/2021   E0666       $89.56
1092729-01    N.B.          Fifth Avenue Surgery Center LLC               Arthrs Kne Surg W/Meniscectomy Me…       8/20/2021   29881     $3,026.24
1092729-01    N.B.          Fifth Avenue Surgery Center LLC                  Injection Anesthetic Agent Femora…    8/20/2021   64447      $829.30
1092729-01    N.B.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …      8/20/2021   76942      $341.96
1092729-01    N.B.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…     8/20/2021   A4649       $50.00
1092729-01    N.B.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…      8/20/2021   E0650      $531.06
1092729-01    N.B.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …      8/20/2021   E0666       $89.56
1093163-01    M.R.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…     3/18/2021   29821     $2,798.20
1093163-01    M.R.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…     3/18/2021   29823     $1,472.45
1093163-01    M.R.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …    3/18/2021   29825     $1,472.45
1093163-01    M.R.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Rotator Cuff…    3/18/2021   29827     $5,677.77
1093163-01    M.R.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Biceps Tenod…     3/18/2021   29828     $2,798.20
1093163-01    M.R.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …    3/18/2021   64415      $979.78
1093163-01    M.R.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …      3/18/2021   76942      $341.96
1093163-01    M.R.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…     3/18/2021   A4649       $72.00
1093163-01    M.R.                     SCOB LLC                              Arthrocentesis Aspir&/Inj Major J…    6/11/2021   20610      $473.39
1093163-01    M.R.                     SCOB LLC                            Arthroscopy Knee Synovectomy 2/>C…      6/11/2021   29876     $3,026.24
1093163-01    M.R.                     SCOB LLC                           Arthrs Kne Surg W/Meniscectomy Me…       6/11/2021   29881     $2,944.87
1093163-02    T.P.                   Triborough ASC                           Injection Single/Mlt Trigger Poin…    3/5/2021   20553      $225.00
1093163-02    T.P.                   Triborough ASC                          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     3/5/2021   62321     $1,550.00
1093163-02    T.P.                   Triborough ASC                                  Epidurograpy Rs&I…             3/5/2021   72275      $700.00
1093163-02    T.P.                   Triborough ASC                          Fluor Needle/Cath Spine/Paraspina…     3/5/2021   77003      $225.00
1093163-02    T.P.                   Triborough ASC                          Urine Pregnancy Test Visual Color…     3/5/2021   81025       $30.00
1093163-02    T.P.                   Triborough ASC                         Glucose Quantitative Blood Xcpt R…      3/5/2021   82947       $20.00
1093163-02    T.P.                   Triborough ASC                        New Cpt Code 99072 Was Establishe…       3/5/2021   99072      $200.00
1093163-02    T.P.                   Triborough ASC                         Injection, Dexamethasone Sodium P…      3/5/2021   J1100       $52.64
1093163-02    T.P.                   Triborough ASC                                   Unclassified Drugs…           3/5/2021   J3490       $40.64
1093163-02    T.P.                   Triborough ASC                         Low Osmolar Contrast Material, 10…      3/5/2021   Q9965       $13.90
1093163-02    T.P.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…     5/6/2021   20610      $473.38
1093163-02    T.P.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…       5/6/2021   29875     $1,472.45
1093163-02    T.P.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La…        5/6/2021   29880     $3,026.24
1093163-02    T.P.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…      5/6/2021   A4649       $72.00
1093163-02    T.P.        All City Family Healthcare Center, Inc.             Arthroscopy, Knee, Surgical, For …    5/6/2021   G0289     $1,472.45
1093295-90    C.P.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surgical Rem…     9/20/2021   29819     $1,472.45
1093295-90    C.P.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…     9/20/2021   29821     $5,677.77
1093295-90    C.P.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…     9/20/2021   29823     $1,472.45
1093295-90    C.P.             Surgicore of Jersey City LLC                  Arthroscopy Shoulder Distal Clavi…    9/20/2021   29824     $1,472.45
1093295-90    C.P.             Surgicore of Jersey City LLC                  Arthroscopy Shoulder Ahesiolysis …    9/20/2021   29825     $1,472.45
1093295-90    C.P.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm…      9/20/2021   29826     $1,472.45
1093295-90    C.P.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …    9/20/2021   64415      $979.78
1093295-90    C.P.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …      9/20/2021   76942      $341.96

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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1093295-90    C.P.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    9/20/2021   A4649       $50.00
1093295-90    C.P.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    9/20/2021   A4649      $327.00
1093295-90    C.P.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 9/20/2021      E0650      $531.06
1093295-90    C.P.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    9/20/2021   E0666       $89.56
1093507-02    M.K.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Rotator Cuff…   4/30/2021   29827     $5,677.77
1093507-02    M.K.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Biceps Tenod…   4/30/2021   29828     $1,472.45
1093507-02    M.K.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Biceps Tenod…   4/30/2021   29828     $2,798.20
1093507-02    M.K.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Biceps Tenod…   4/30/2021   29828     $2,798.20
1093507-02    M.K.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    4/30/2021   29999     $1,472.45
1093507-02    M.K.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …   4/30/2021   64415      $979.78
1093507-02    M.K.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …    4/30/2021   76942      $341.96
1093507-02    M.K.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    4/30/2021   A4649       $50.00
1093507-02    M.K.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…  4/30/2021   L8699     $3,472.35
1093507-02    M.K.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 4/30/2021      E0650      $531.06
1093507-02    M.K.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    4/30/2021   E0666       $89.56
1093507-02    M.K.                     Good Medica Inc                   So, Acromio/Clavicular (Canvas An…   4/30/2021   L3670      $111.07
1092770-01    R.R.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 4/13/2021      29876     $1,472.45
1092770-01    R.R.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 4/13/2021       29880     $3,026.24
1092770-01    R.R.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    4/13/2021   A4649       $50.00
1092770-01    R.R.               Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …  4/13/2021   G0289     $1,472.45
1092770-01    R.R.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…  4/13/2021   L8699      $195.00
1092770-01    R.R.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 4/13/2021      E0650      $531.06
1092770-01    R.R.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    4/13/2021   E0666       $89.56
1092743-01    S.O.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…   3/21/2021   87635     $1,200.00
1092743-01    S.O.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop… 12/14/2021   22526     $2,605.78
1092743-01    S.O.           Rockaways ASC Development LLC              Discectomy Ant Dcmprn Cord Cervic… 12/14/2021     63075     $6,402.03
1092748-03    S.T.                    Goldstep ASC LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/30/2021   62323     $1,500.00
1092748-03    S.T.                    Goldstep ASC LLC                           Epidurograpy Rs&I…           4/30/2021   72275     $1,500.00
1092748-03    S.T.                    Goldstep ASC LLC                   Fluor Needle/Cath Spine/Paraspina…   4/30/2021   77003     $1,000.00
1092748-03    S.T.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…    6/3/2021   29821     $5,677.77
1092748-03    S.T.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    6/3/2021   29823     $1,472.45
1092748-03    S.T.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm…     6/3/2021   29826     $1,472.45
1092748-03    S.T.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    6/3/2021   64415      $979.78
1092748-03    S.T.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     6/3/2021   76942      $341.96
1092748-03    S.T.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…     6/3/2021   A4649       $50.00
1092748-03    S.T.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…     6/3/2021   E0650      $531.06
1092748-03    S.T.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     6/3/2021   E0666       $89.56
1092184-01    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/12/2021   62321      $976.38
1092184-01    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center           Epidurograpy Rs&I…           2/12/2021   72275      $572.53
1092184-01    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    2/12/2021   A4649       $50.00
1092184-01    J.R.               Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/6/2021   62323      $976.38
1092184-01    J.R.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     3/6/2021   A4649       $50.00
1092184-01    J.R.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 6/24/2021      29875     $1,472.45
1092184-01    J.R.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 6/24/2021       29880     $3,026.24
1092184-01    J.R.          All City Family Healthcare Center, Inc.      Infectious Agent Detection By Nuc…   6/24/2021   87635       $51.33
1092184-01    J.R.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    6/24/2021   A4649       $72.00
1092184-01    J.R.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical, For …  6/24/2021   G0289     $1,472.45
1092184-01    J.R.               Surgicore of Jersey City LLC          Perc Lamino-/Laminectomy Image Gu… 7/17/2021       0274T     $5,292.93
1092184-01    J.R.               Surgicore of Jersey City LLC          Perc Lamino-/Laminectomy Image Gu… 7/17/2021       0274T     $5,292.93
1092184-01    J.R.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…  7/17/2021   22526     $2,605.78
1092184-01    J.R.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…  7/17/2021   22526     $2,605.78
1092184-01    J.R.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    7/17/2021   A4649       $50.00
1092184-01    J.R.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…  7/17/2021   L8699     $1,495.00
1092184-01    J.R.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 7/17/2021      E0650      $531.06
1092184-01    J.R.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    7/17/2021   E0666       $89.56
1092184-01    J.R.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…  8/14/2021   22526     $2,605.78
1092184-01    J.R.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…  8/14/2021   22527     $2,605.78
1092184-01    J.R.               Surgicore of Jersey City LLC            Dcmprn Perq Nucleus Pulposus 1/> …   8/14/2021   62287     $5,292.93
1092184-01    J.R.               Surgicore of Jersey City LLC            Infectious Agent Detection By Nuc…   8/14/2021   87635       $51.33
1092184-01    J.R.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    8/14/2021   A4649       $50.00
1092184-01    J.R.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…  8/14/2021   L8699     $1,495.00
1092184-01    J.R.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 8/14/2021      E0650      $531.06
1092184-01    J.R.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    8/14/2021   E0666       $89.56
1092625-01    H.B.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…  3/23/2021   20610      $473.39
1092625-01    H.B.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…   3/23/2021   29821     $5,677.77
1092625-01    H.B.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…   3/23/2021   29823     $1,472.45
1092625-01    H.B.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …   3/23/2021   29825     $1,472.45
1092625-01    H.B.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …   3/23/2021   64415      $979.78

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                                                          1835
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1092625-01    H.B.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     3/23/2021   76942      $341.96
1092625-01    H.B.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…    3/23/2021   A4649       $50.00
1092625-01    H.B.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 3/23/2021       E0650      $531.06
1092625-01    H.B.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 3/23/2021       e0650      $531.06
1092625-01    H.B.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 3/23/2021       E0650       $89.56
1092625-01    H.B.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     3/23/2021   e0666       $89.56
1093314-02    S.S.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/29/2021   62323      $976.38
1093314-02    S.S.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…           4/29/2021   72275      $572.53
1093314-02    S.S.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    4/29/2021   A4649       $50.00
1093314-02    S.S.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/3/2021   62323      $976.38
1093314-02    S.S.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…            6/3/2021   72275      $572.53
1093314-02    S.S.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…     6/3/2021   A4649       $50.00
1093314-02    S.S.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Knee Synovectomy Limi… 12/10/2021      29875     $1,472.45
1093314-02    S.S.        Bronx SC LLC d/b/a Empire State ASC             Arthrs Kne Surg W/Meniscectomy Me… 12/10/2021       29881     $3,026.24
1093314-02    S.S.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Knee W/Lysis Adhesion… 12/10/2021      29884     $1,472.45
1093314-02    S.S.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/10/2022   62323      $976.38
1092749-01    J.B.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…    4/12/2021   29821     $5,677.77
1092749-01    J.B.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    4/12/2021   29823     $1,472.45
1092749-01    J.B.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Distal Clavi…   4/12/2021   29824     $1,472.45
1092749-01    J.B.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …   4/12/2021   29825     $1,472.45
1092749-01    J.B.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 4/12/2021       29826     $1,472.45
1092749-01    J.B.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …   4/12/2021   64415      $979.78
1092749-01    J.B.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     4/12/2021   76942      $341.96
1092749-01    J.B.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…    4/12/2021   A4649       $50.00
1092749-01    J.B.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 4/12/2021       E0650      $531.06
1092749-01    J.B.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     4/12/2021   E0666       $89.56
1095228-02    V.V.        All City Family Healthcare Center, Inc.            Tenotomy Shoulder Area 1 Tendon…     5/16/2021   23405     $1,839.77
1095228-02    V.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    5/16/2021   29821     $5,677.77
1095228-02    V.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    5/16/2021   29823     $1,472.45
1095228-02    V.V.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …   5/16/2021   29825     $1,472.45
1095228-02    V.V.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 5/16/2021       29826     $1,472.45
1095228-02    V.V.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …   5/16/2021   64415      $979.78
1095228-02    V.V.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     5/16/2021   76942      $341.96
1095228-02    V.V.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…    5/16/2021   A4649       $72.00
1095228-02    V.V.             Citimed Surgery Center LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/23/2021   62321      $976.38
1095228-02    V.V.             Citimed Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/13/2021   62323      $976.38
1092209-02    S.F.                   Triborough ASC                           Injection Single/Mlt Trigger Poin…   3/3/2021   20553      $225.00
1092209-02    S.F.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/3/2021   62323     $1,550.00
1092209-02    S.F.                   Triborough ASC                                  Epidurograpy Rs&I…            3/3/2021   72275      $700.00
1092209-02    S.F.                   Triborough ASC                          Fluor Needle/Cath Spine/Paraspina…    3/3/2021   77003      $225.00
1092209-02    S.F.                   Triborough ASC                          Urine Pregnancy Test Visual Color…    3/3/2021   81025       $30.00
1092209-02    S.F.                   Triborough ASC                         Glucose Quantitative Blood Xcpt R…     3/3/2021   82947       $20.00
1092209-02    S.F.                   Triborough ASC                        New Cpt Code 99072 Was Establishe…      3/3/2021   99072      $200.00
1092209-02    S.F.                   Triborough ASC                         Injection, Dexamethasone Sodium P…     3/3/2021   J1100       $52.64
1092209-02    S.F.                   Triborough ASC                                   Unclassified Drugs…          3/3/2021   J3490       $40.64
1092209-02    S.F.                   Triborough ASC                         Low Osmolar Contrast Material, 10…     3/3/2021   Q9965       $13.90
1092209-02    S.F.                   Triborough ASC                           Injection Single/Mlt Trigger Poin…  4/16/2021   20553      $225.00
1092209-02    S.F.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/16/2021   62323     $1,550.00
1092209-02    S.F.                   Triborough ASC                                  Epidurograpy Rs&I…           4/16/2021   72275      $700.00
1092209-02    S.F.                   Triborough ASC                          Fluor Needle/Cath Spine/Paraspina…   4/16/2021   77003      $225.00
1092209-02    S.F.                   Triborough ASC                          Urine Pregnancy Test Visual Color…   4/16/2021   81025       $30.00
1092209-02    S.F.                   Triborough ASC                         Glucose Quantitative Blood Xcpt R…    4/16/2021   82947       $20.00
1092209-02    S.F.                   Triborough ASC                        New Cpt Code 99072 Was Establishe… 4/16/2021       99072      $200.00
1092209-02    S.F.                   Triborough ASC                         Injection, Dexamethasone Sodium P…    4/16/2021   J1100       $52.64
1092209-02    S.F.                   Triborough ASC                                   Unclassified Drugs…         4/16/2021   J3490       $40.64
1092209-02    S.F.                   Triborough ASC                         Low Osmolar Contrast Material, 10…    4/16/2021   Q9965       $13.90
1092209-02    S.F.        Bronx SC LLC d/b/a Empire State ASC             Arthrs Knee W/Meniscectomy Med&La… 5/11/2021        29880     $3,026.24
1092209-02    S.F.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Knee W/Lysis Adhesion… 5/11/2021       29884     $1,472.45
1092209-02    S.F.        Bronx SC LLC d/b/a Empire State ASC                  Surgical Supply; Miscellaneous…    5/11/2021   A4649       $50.00
1092209-02    S.F.        Bronx SC LLC d/b/a Empire State ASC                 Arthroscopy, Knee, Surgical, For …  5/11/2021   G0289     $1,472.45
1092209-02    S.F.        Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Surg Debride…    8/24/2021   29823     $3,026.24
1092209-02    S.F.        Bronx SC LLC d/b/a Empire State ASC                Arthroscopy Shoulder Ahesiolysis …   8/24/2021   29825     $1,472.45
1092209-02    S.F.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder W/Coracoacrm… 8/24/2021       29826     $1,472.45
1092209-02    S.F.        Bronx SC LLC d/b/a Empire State ASC                Single Nerve Block Injection Arm …   8/24/2021   64415      $979.78
1092209-02    S.F.        Bronx SC LLC d/b/a Empire State ASC              Us Guidance Needle Placement Img …     8/24/2021   76942      $341.96
1092209-02    S.F.        Bronx SC LLC d/b/a Empire State ASC                  Surgical Supply; Miscellaneous…    8/24/2021   A4649       $50.00
1092520-02    M.B.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surgical Rem…    4/12/2021   29819     $1,472.45
1092520-02    M.B.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surg Debride…    4/12/2021   29823     $3,026.24

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                                                           1836
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1092520-02    M.B.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Distal Clavi…     4/12/2021   29824      $1,472.45
1092520-02    M.B.            New Horizon Surgical Center LLC          Arthroscopy Shoulder W/Coracoacrm…       4/12/2021   29826      $1,472.45
1092520-02    M.B.            New Horizon Surgical Center LLC            Single Nerve Block Injection Arm …     4/12/2021   64415       $979.78
1092520-02    M.B.            New Horizon Surgical Center LLC           Us Guidance Needle Placement Img …      4/12/2021   76942       $341.96
1092520-02    M.B.            New Horizon Surgical Center LLC              Surgical Supply; Miscellaneous…      4/12/2021   A4649        $50.00
1092520-02    M.B.                    Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…       4/12/2021   E0650       $531.06
1092520-02    M.B.                    Good Medica Inc                  Nonsegmental Pneumatic Appliance …       4/12/2021   E0666        $89.56
1092149-02    A.B.              Surgicore of Jersey City LLC            Arthroscopy Shoulder Surgical Rem…      8/19/2021   29819      $1,472.45
1092149-02    A.B.              Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…      8/19/2021   29821      $5,677.77
1092149-02    A.B.              Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…      8/19/2021   29823      $1,472.45
1092149-02    A.B.              Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …     8/19/2021   29825      $1,472.45
1092149-02    A.B.              Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …     8/19/2021   64415       $979.78
1092149-02    A.B.              Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …      8/19/2021   76942       $341.96
1092149-02    A.B.              Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…      8/19/2021   A4649        $50.00
1092149-02    A.B.              Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…     8/19/2021   L8699       $185.00
1092149-02    A.B.                    Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…       8/19/2021   E0650       $531.06
1092149-02    A.B.                    Good Medica Inc                  Nonsegmental Pneumatic Appliance …       8/19/2021   E0666        $89.56
1093515-02    C.C.              Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C…       2/23/2021   29876      $1,472.45
1093515-02    C.C.              Surgicore of Jersey City LLC           Arthrs Kne Surg W/Meniscectomy Me…       2/23/2021   29881      $1,472.45
1093515-02    C.C.              Surgicore of Jersey City LLC           Arthroscopy Knee W/Meniscus Rpr M…       2/23/2021   29882      $3,026.24
1093515-02    C.C.              Surgicore of Jersey City LLC           Arthroscopy Knee W/Lysis Adhesion…       2/23/2021   29884      $1,472.45
1093515-02    C.C.              Surgicore of Jersey City LLC              Injection Anesthetic Agent Sciati…    2/23/2021   64445       $829.30
1093515-02    C.C.              Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …      2/23/2021   76942       $341.96
1093515-02    C.C.              Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…      2/23/2021   A4649        $50.00
1093515-02    C.C.              Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …     2/23/2021   G0289      $1,472.45
1093515-02    C.C.              Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…     2/23/2021   L8699       $821.60
1093515-02    C.C.                    Good Medica Inc                  Crutches, Underarm, Other Than Wo…       2/23/2021   E0114        $23.38
1093515-02    C.C.                    Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…       2/23/2021   E0650       $531.06
1093515-02    C.C.                    Good Medica Inc                  Nonsegmental Pneumatic Appliance …       2/23/2021   E0666        $89.56
1093515-02    C.C.                    Good Medica Inc                   Knee Orthosis, Adjustable Knee Jo…      2/23/2021   L1833       $536.08
1091972-01    J.T.              Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…       3/4/2021   29821      $5,677.77
1091972-01    J.T.              Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…       3/4/2021   29823      $1,472.45
1091972-01    J.T.              Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …      3/4/2021   29825      $1,472.45
1091972-01    J.T.              Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …      3/4/2021   64415       $979.78
1091972-01    J.T.              Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …       3/4/2021   76942       $341.96
1091972-01    J.T.              Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…       3/4/2021   A4649        $50.00
1091972-01    J.T.              Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…      3/4/2021   L8699       $185.00
1091972-01    J.T.                    Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…        3/4/2021   E0650       $531.06
1092179-01    I.O.                Hudson Regional Hospital              Infectious Agent Detection By Nuc…      3/29/2021   87635      $1,200.00
1092179-01    I.O.               Citimed Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       4/2/2021   64493      $1,423.89
1092179-01    I.O.               Citimed Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       4/2/2021   64494      $1,342.52
1092179-01    I.O.               Citimed Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       4/2/2021   64495      $1,342.52
1092179-01    I.O.                Hudson Regional Hospital              Infectious Agent Detection By Nuc…       5/3/2021   87635      $1,200.00
1092179-01    I.O.               Citimed Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…      5/7/2021   64490      $1,423.89
1092179-01    I.O.               Citimed Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…      5/7/2021   64491      $1,342.52
1092179-01    I.O.               Citimed Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…      5/7/2021   64492      $1,342.52
1092179-01    I.O.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …        8/2/2021   62287      $5,292.93
1092179-01    I.O.     NYEEQASC LLC d/b/a North Queens Surgical Center  Infectious Agent Detection By Nuc…       8/2/2021   87635        $51.33
1092179-01    I.O.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…       8/2/2021   A4649        $50.00
1091733-03    D.L.        Advanced Spine & Outpatient Surgery Center     Dstr Nrolytc Agnt Parverteb Fct S…      5/5/2021   64633     $15,000.00
1091733-03    D.L.        Advanced Spine & Outpatient Surgery Center     Dstr Nrolytc Agnt Parverteb Fct A…      5/5/2021   64634     $10,000.00
1091733-03    D.L.        Advanced Spine & Outpatient Surgery Center     Dstr Nrolytc Agnt Parverteb Fct A…      5/5/2021   64634     $10,000.00
1091733-03    D.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…      10/18/2021   64999       $829.30
1092345-02    M.F.          Bronx SC LLC d/b/a Empire State ASC         Manipulation Spine Requiring Anes…      9/21/2021   22505       $748.08
1092345-02    M.F.          Bronx SC LLC d/b/a Empire State ASC         Manipulation Spine Requiring Anes…      9/21/2021   22505       $748.08
1092345-02    M.F.          Bronx SC LLC d/b/a Empire State ASC         Manipulation Spine Requiring Anes…      9/21/2021   22505      $1,577.52
1092345-02    M.F.          Bronx SC LLC d/b/a Empire State ASC        Manj W/Anes Shoulder Joint W/Fixa…       9/21/2021   23700       $748.08
1092345-02    M.F.          Bronx SC LLC d/b/a Empire State ASC         Manipulation Wrist Under Anesthes…      9/21/2021   25259       $748.08
1092345-02    M.F.          Bronx SC LLC d/b/a Empire State ASC         Manipulation Wrist Under Anesthes…      9/21/2021   25259       $748.08
1092345-02    M.F.          Bronx SC LLC d/b/a Empire State ASC         Manipulation Hip Joint General An…      9/21/2021   27275       $748.08
1092345-02    M.F.          Bronx SC LLC d/b/a Empire State ASC         Manipulation Knee Joint Under Gen…      9/21/2021   27570       $748.08
1092345-02    M.F.          Bronx SC LLC d/b/a Empire State ASC            Surgical Supply; Miscellaneous…      9/21/2021   A4649        $50.00
1092345-02    M.F.               Accelerated Surgical Center            Manipulation Spine Requiring Anes…     10/26/2021   22505      $3,111.84
1092345-02    M.F.               Accelerated Surgical Center           Manj W/Anes Shoulder Joint W/Fixa…      10/26/2021   23700      $3,111.84
1092345-02    M.F.               Accelerated Surgical Center            Manipulation Hip Joint General An…     10/26/2021   27275      $3,111.84
1092345-02    M.F.               Accelerated Surgical Center            Manipulation Knee Joint Under Gen…     10/26/2021   27570      $3,111.84
1092345-02    M.F.               Accelerated Surgical Center            Manipulation Spine Requiring Anes…     11/16/2021   22505      $3,111.84
1092345-02    M.F.               Accelerated Surgical Center           Manj W/Anes Shoulder Joint W/Fixa…      11/16/2021   23700      $3,111.84

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                                                          1837
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                             Service     Code       Billed
1092345-02    M.F.               Accelerated Surgical Center             Manipulation Elbow Under Anesthes… 11/16/2021      24300     $3,111.84
1092345-02    M.F.               Accelerated Surgical Center              Manipulation Hip Joint General An…   11/16/2021   27275     $3,111.84
1092345-02    M.F.               Accelerated Surgical Center              Manipulation Knee Joint Under Gen… 11/16/2021     27570     $3,111.84
1092345-02    M.F.        Health East Ambulatory Surgical Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/11/2022   62323     $1,012.32
1092345-02    M.F.        Health East Ambulatory Surgical Center                   Epidurograpy Rs&I…           1/11/2022   72275      $442.29
1091978-03    T.H.     Surgicore LLC d/b/a Surgicore Surgical Center     Njx Anes&/Strd W/Img Tfrml Edrl L… 3/18/2021       64483      $447.52
1091978-03    T.H.     Surgicore LLC d/b/a Surgicore Surgical Center     Njx Anes&/Strd W/Img Tfrml Edrl L… 3/18/2021       64483      $976.38
1091978-03    T.H.     Surgicore LLC d/b/a Surgicore Surgical Center               Epidurograpy Rs&I…           3/18/2021   72275      $572.53
1091978-03    T.H.     Surgicore LLC d/b/a Surgicore Surgical Center         Surgical Supply; Miscellaneous…    3/18/2021   A4649       $50.00
1091978-03    T.H.              Surgicore of Jersey City LLC             Arthroscopy Knee Synovectomy 2/>C… 3/22/2021       29876     $1,472.45
1091978-03    T.H.              Surgicore of Jersey City LLC            Arthrs Kne Surg W/Meniscectomy Me… 3/22/2021        29881     $3,026.24
1091978-03    T.H.              Surgicore of Jersey City LLC                 Unlisted Procedure Arthroscopy…    3/22/2021   29999     $1,472.45
1091978-03    T.H.              Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…    3/22/2021   A4649       $50.00
1091978-03    T.H.              Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…   3/22/2021   L8699      $195.00
1091978-03    T.H.                    Good Medica Inc                     Cane, Quad Or Three-Prong, Includ…    3/22/2021   E0105       $18.75
1091978-03    T.H.                    Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 3/22/2021       E0650      $531.06
1091978-03    T.H.                    Good Medica Inc                    Nonsegmental Pneumatic Appliance …     3/22/2021   E0666       $89.56
1091739-01    D.M.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/12/2021   62323      $976.38
1091739-01    D.M.           Island Ambulatory Surgery Center                      Epidurograpy Rs&I…           1/12/2021   72275      $572.52
1091739-01    D.M.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Synovec…    1/29/2021   29821     $2,798.20
1091739-01    D.M.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Debride…    1/29/2021   29823     $1,472.45
1091739-01    D.M.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Ahesiolysis …   1/29/2021   29825     $1,472.45
1091739-01    D.M.        All City Family Healthcare Center, Inc.        Arthroscopy Shoulder W/Coracoacrm… 1/29/2021       29826     $1,472.45
1091739-01    D.M.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Rotator Cuff…    1/29/2021   29827     $5,677.77
1091739-01    D.M.        All City Family Healthcare Center, Inc.          Single Nerve Block Injection Arm …   1/29/2021   64415      $979.78
1091739-01    D.M.        All City Family Healthcare Center, Inc.        Us Guidance Needle Placement Img …     1/29/2021   76942      $341.96
1091739-01    D.M.        All City Family Healthcare Center, Inc.            Surgical Supply; Miscellaneous…    1/29/2021   A4649       $72.00
1091876-01    S.M.        Bronx SC LLC d/b/a Empire State ASC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     3/5/2021   62321      $976.38
1091876-01    S.M.        Bronx SC LLC d/b/a Empire State ASC                      Epidurograpy Rs&I…            3/5/2021   72275      $572.53
1091876-01    S.M.        Bronx SC LLC d/b/a Empire State ASC                Surgical Supply; Miscellaneous…     3/5/2021   A4649       $50.00
1091876-01    S.M.            Parkway Ambulatory Surgery Ce               Arthroscopy Shoulder Surg Synovec…    7/23/2021   29821     $6,462.39
1091876-01    S.M.            Parkway Ambulatory Surgery Ce               Arthroscopy Shoulder Surg Debride…    7/23/2021   29823     $6,462.39
1091876-01    S.M.            Parkway Ambulatory Surgery Ce                Arthroscopy Shoulder Ahesiolysis …   7/23/2021   29825     $6,462.39
1091876-01    S.M.            Parkway Ambulatory Surgery Ce              Arthroscopy Shoulder W/Coracoacrm… 7/23/2021       29826     $6,462.39
1091876-01    S.M.        Bronx SC LLC d/b/a Empire State ASC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/15/2021   62323      $976.38
1091876-01    S.M.        Bronx SC LLC d/b/a Empire State ASC                      Epidurograpy Rs&I…          12/15/2021   72275      $572.53
1092055-04    J.F.               Hudson Regional Hospital                 Infectious Agent Detection By Nuc…    3/22/2021   87635     $1,200.00
1092055-04    J.F.          Rockaways ASC Development LLC                   Injection Single/Mlt Trigger Poin…  3/28/2021   20552      $236.69
1092055-04    J.F.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/28/2021   62323      $976.38
1092055-04    J.F.          Rockaways ASC Development LLC                          Epidurograpy Rs&I…           3/28/2021   72275      $572.53
1092055-04    J.F.          Rockaways ASC Development LLC                Us Guidance Needle Placement Img …     3/28/2021   76942      $341.96
1092055-04    J.F.          Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…    3/28/2021   A4649       $50.00
1092055-04    J.F.                      SCOB LLC                           Arthrocentesis Aspir&/Inj Major J…   5/18/2021   20610      $473.39
1092055-04    J.F.                      SCOB LLC                         Arthroscopy Knee Synovectomy 2/>C… 5/18/2021       29876     $3,026.24
1092055-04    J.F.                      SCOB LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/11/2021   64493     $1,423.89
1092055-04    J.F.                      SCOB LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/11/2021   64494     $1,342.52
1092055-04    J.F.                      SCOB LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/11/2021   64495     $1,342.52
1092055-04    J.F.              Citimed Surgery Center LLC                  Injection Single/Mlt Trigger Poin…  9/25/2021   20553      $473.39
1092055-04    J.F.              Citimed Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/25/2021   62321      $976.38
1092055-04    J.F.                      SCOB LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/1/2022   64493     $1,423.89
1092055-04    J.F.                      SCOB LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/1/2022   64494     $1,342.52
1092055-04    J.F.                      SCOB LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/1/2022   64495     $1,342.52
1092055-04    J.F.              Citimed Surgery Center LLC                 Perq Intrdscl Electrothrm Annulop…    5/7/2022   22526     $5,211.56
1092055-04    J.F.              Citimed Surgery Center LLC                Dcmprn Perq Nucleus Pulposus 1/> …     5/7/2022   62287     $5,292.93
1092055-04    J.F.              Citimed Surgery Center LLC                Probe, Percutaneous Lumbar Discec…     5/7/2022   C2614     $2,200.00
1092540-02    E.L.              Surgicore of Jersey City LLC             Arthroscopy Knee Synovectomy 2/>C…      4/7/2021   29876     $1,472.45
1092540-02    E.L.              Surgicore of Jersey City LLC            Arthrs Knee W/Meniscectomy Med&La… 4/7/2021         29880     $3,026.24
1092540-02    E.L.              Surgicore of Jersey City LLC                 Unlisted Procedure Arthroscopy…     4/7/2021   29999     $1,472.45
1092540-02    E.L.              Surgicore of Jersey City LLC                 Unlisted Procedure Arthroscopy…     4/7/2021   29999     $1,472.45
1092540-02    E.L.              Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…     4/7/2021   A4649       $50.00
1092540-02    E.L.              Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…    4/7/2021   L8699      $195.00
1092540-02    E.L.                    Good Medica Inc                    Pneumatic Compressor, Nonsegmenta…      4/7/2021   E0650      $531.06
1092540-02    E.L.                    Good Medica Inc                    Nonsegmental Pneumatic Appliance …      4/7/2021   E0666       $89.56
1093160-04    M.B.             Manalapan Surgery Center Inc               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/27/2021   62323      $976.38
1093160-04    M.B.             Manalapan Surgery Center Inc                  Surgical Supply; Miscellaneous…    9/27/2021   A4649       $50.00
1093160-04    M.B.           Island Ambulatory Surgery Center              Arthroscopy Shoulder Ahesiolysis …  12/15/2021   29825     $3,026.23
1093160-04    M.B.           Island Ambulatory Surgery Center            Arthroscopy Shoulder W/Coracoacrm… 12/15/2021      29826     $1,513.11
1093160-04    M.B.                    Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 12/15/2021      E0650      $531.06

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                                                         1838
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                       Provider                                        Service
 Number      Person                                                                                             Service     Code       Billed
1093160-04    M.B.                  Good Medica Inc                       Nonsegmental Pneumatic Appliance … 12/15/2021     E0666       $89.56
1092121-01    F.F.       All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 4/30/2021      29875     $1,472.45
1092121-01    F.F.       All City Family Healthcare Center, Inc.         Arthrs Kne Surg W/Meniscectomy Me… 4/30/2021       29881     $3,026.24
1092121-01    F.F.       All City Family Healthcare Center, Inc.          Arthroscopy Knee W/Lysis Adhesion… 4/30/2021      29884     $1,472.45
1092121-01    F.F.       All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…   4/30/2021   29999     $1,472.45
1092121-01    F.F.       All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…   4/30/2021   A4649       $72.00
1092121-01    F.F.            East Tremont Medical Center                  Anesthesia Perq Image Guided Spin…   7/19/2021    1936      $297.10
1092121-01    F.F.            East Tremont Medical Center                   Perq Intrdscl Electrothrm Annulop…  7/19/2021   22526     $5,477.16
1092121-01    F.F.            East Tremont Medical Center                  Dcmprn Perq Nucleus Pulposus 1/> …   7/19/2021   62287     $2,625.00
1092121-01    F.F.            East Tremont Medical Center                  Dcmprn Perq Nucleus Pulposus 1/> …   7/19/2021   62287     $5,724.06
1092121-01    F.F.            East Tremont Medical Center                  Injection Px Discography Each Lev…   7/19/2021   62290      $781.00
1092121-01    F.F.            East Tremont Medical Center                  Njx Arterial Occlusion Arven Malf…   7/19/2021   62294      $871.70
1092121-01    F.F.            East Tremont Medical Center                 Njx Anes&/Strd W/Img Tfrml Edrl L… 7/19/2021      64483      $371.31
1092121-01    F.F.            East Tremont Medical Center                 Njx Anes&/Strd W/Img Tfrml Edrl L… 7/19/2021      64484      $105.65
1092121-01    F.F.            East Tremont Medical Center                  Fluor Needle/Cath Spine/Paraspina…   7/19/2021   77003      $158.85
1092121-01    F.F.            East Tremont Medical Center                  Anes Dx/Ther Nerve Block/Injectio…   8/30/2021    1992      $297.10
1092121-01    F.F.            East Tremont Medical Center                    Injection Single/Mlt Trigger Poin… 8/30/2021   20553     $1,020.00
1092121-01    F.F.            East Tremont Medical Center                   Arthrocentesis Aspir&/Inj Major J…  8/30/2021   20611      $324.22
1092121-01    F.F.            East Tremont Medical Center                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/30/2021   62321     $2,540.00
1092121-01    F.F.            East Tremont Medical Center                           Epidurograpy Rs&I…          8/30/2021   72275      $985.00
1092121-01    F.F.            East Tremont Medical Center                 Us Guidance Needle Placement Img …    8/30/2021   76942      $860.00
1092121-01    F.F.            East Tremont Medical Center                  Fluor Needle/Cath Spine/Paraspina…   8/30/2021   77003      $500.00
1092121-01    F.F.             Global Surgery Center LLC                   Njx Pltlt Plasma W/Img Harvest/Pr…    3/8/2024   0232T     $1,400.00
1092121-01    F.F.             Global Surgery Center LLC                   Arthroscopy Shoulder Surg Synovec…    3/8/2024   29821     $5,677.77
1092121-01    F.F.             Global Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…    3/8/2024   29823     $3,026.24
1092121-01    F.F.             Global Surgery Center LLC                   Arthroscopy Shoulder Ahesiolysis …    3/8/2024   29825     $1,472.45
1092121-01    F.F.             Global Surgery Center LLC                  Arthroscopy Shoulder W/Coracoacrm…     3/8/2024   29826     $1,472.45
1092121-01    F.F.             Global Surgery Center LLC                      Unlisted Procedure Arthroscopy…    3/8/2024   29999     $1,472.45
1091995-01    H.C.       Rockland & Bergen Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…  5/22/2021   64490      $447.52
1091995-01    H.C.       Rockland & Bergen Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…  5/22/2021   64490      $976.38
1091995-01    H.C.       Rockland & Bergen Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…  5/22/2021   64491      $447.52
1091995-01    H.C.       Rockland & Bergen Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…  5/22/2021   64491      $447.52
1091995-01    H.C.       Rockland & Bergen Surgery Center LLC              Infectious Agent Detection By Nuc…   5/22/2021   87635       $51.33
1091995-01    H.C.       Rockland & Bergen Surgery Center LLC                 Surgical Supply; Miscellaneous…   5/22/2021   A4649       $50.00
1091995-01    H.C.       Rockland & Bergen Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…  9/11/2021   64490      $976.38
1091995-01    H.C.       Rockland & Bergen Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…  9/11/2021   64491      $447.52
1091995-01    H.C.       Rockland & Bergen Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…  9/11/2021   64492      $447.52
1091995-01    H.C.       Rockland & Bergen Surgery Center LLC                 Surgical Supply; Miscellaneous…   9/11/2021   A4649       $50.00
1091995-01    H.C.        New York Surgery Center of Queens               Anes Nrv Musc Tndn Fscia Bursa Sh…     2/2/2024    1610      $297.10
1091995-01    H.C.        New York Surgery Center of Queens                Arthroscopy Shoulder Surgical Cap…    2/2/2024   29806     $5,677.77
1091995-01    H.C.        New York Surgery Center of Queens                Arthroscopy Shoulder Surg Synovec…    2/2/2024   29821     $2,798.20
1091995-01    H.C.        New York Surgery Center of Queens                Arthroscopy Shoulder Surg Debride…    2/2/2024   29823     $1,472.45
1091995-01    H.C.        New York Surgery Center of Queens                Arthroscopy Shoulder Ahesiolysis …    2/2/2024   29825     $1,472.45
1091995-01    H.C.        New York Surgery Center of Queens               Arthroscopy Shoulder W/Coracoacrm…     2/2/2024   29826     $1,472.45
1091995-01    H.C.        New York Surgery Center of Queens                Single Nerve Block Injection Arm …    2/2/2024   64415      $171.32
1091995-01    H.C.        New York Surgery Center of Queens                 Injection Anesthetic Agent Supras…   2/2/2024   64418      $161.24
1091995-01    H.C.        New York Surgery Center of Queens               Us Guidance Needle Placement Img …     2/2/2024   76942      $159.06
1091433-01    W.O.            Surgicore of Jersey City LLC                 Tenotomy Shoulder Area 1 Tendon…     3/27/2021   23405     $1,839.77
1091433-01    W.O.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…   3/27/2021   29821     $5,677.77
1091433-01    W.O.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…   3/27/2021   29823     $1,472.45
1091433-01    W.O.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …   3/27/2021   29825     $1,472.45
1091433-01    W.O.            Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …   3/27/2021   64415      $979.78
1091433-01    W.O.            Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …    3/27/2021   76942      $341.96
1091433-01    W.O.            Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…   3/27/2021   A4649       $50.00
1091433-01    W.O.            Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…  3/27/2021   L8699      $185.00
1091433-01    W.O.                  Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 3/27/2021      E0650      $531.06
1091433-01    W.O.                  Good Medica Inc                       Nonsegmental Pneumatic Appliance …    3/27/2021   E0666       $89.56
1091858-01    J.R.            Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 3/24/2021      29876     $1,472.45
1091858-01    J.R.            Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 3/24/2021       29880     $3,026.24
1091858-01    J.R.            Surgicore of Jersey City LLC                    Unlisted Procedure Arthroscopy…   3/24/2021   29999     $1,472.45
1091858-01    J.R.            Surgicore of Jersey City LLC                    Unlisted Procedure Arthroscopy…   3/24/2021   29999     $1,472.45
1091858-01    J.R.            Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…   3/24/2021   A4649       $50.00
1091858-01    J.R.            Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …  3/24/2021   G0289     $1,472.45
1091858-01    J.R.            Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…  3/24/2021   L8699      $195.00
1091858-01    J.R.                  Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 3/24/2021      E0650      $531.06
1091858-01    J.R.                  Good Medica Inc                       Nonsegmental Pneumatic Appliance …    3/24/2021   E0666       $89.56
1091858-01    J.R.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…   5/19/2021   29821     $5,677.77
1091858-01    J.R.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…   5/19/2021   29823     $1,472.45

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                                                           1839
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1091858-01    J.R.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Ahesiolysis …    5/19/2021   29825     $1,472.45
1091858-01    J.R.             Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…     5/19/2021   29999     $1,472.45
1091858-01    J.R.             Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…     5/19/2021   29999     $1,472.45
1091858-01    J.R.             Surgicore of Jersey City LLC              Single Nerve Block Injection Arm …    5/19/2021   64415      $979.78
1091858-01    J.R.             Surgicore of Jersey City LLC             Us Guidance Needle Placement Img …     5/19/2021   76942      $341.96
1091858-01    J.R.             Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…     5/19/2021   A4649       $50.00
1091858-01    J.R.             Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…   5/19/2021   L8699      $185.00
1091858-01    J.R.                   Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 5/19/2021       E0650      $531.06
1091858-01    J.R.                   Good Medica Inc                    Nonsegmental Pneumatic Appliance …     5/19/2021   E0666       $89.56
1091942-02    J.Q.             Surgicore of Jersey City LLC             Arthroscopy Knee Synovectomy Limi… 10/26/2021      29875     $3,026.24
1091942-02    J.Q.             Surgicore of Jersey City LLC               Arthroscopy, Knee, Surgical, For …  10/26/2021   G0289     $1,472.45
1091942-02    J.Q.             Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…  10/26/2021   L8699      $195.00
1091942-02    J.Q.                   Good Medica Inc                     Cane, Quad Or Three-Prong, Includ…   10/26/2021   E0105       $18.75
1091942-02    J.Q.                   Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 10/26/2021      E0650      $531.06
1091942-02    J.Q.                   Good Medica Inc                    Nonsegmental Pneumatic Appliance … 10/26/2021      E0666       $89.56
1092035-01    S.Q.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Synovec…    2/10/2021   29821     $5,677.77
1092035-01    S.Q.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Debride…    2/10/2021   29823     $1,472.45
1092035-01    S.Q.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Ahesiolysis …    2/10/2021   29825     $1,472.45
1092035-01    S.Q.             Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…     2/10/2021   29999     $1,472.45
1092035-01    S.Q.             Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…     2/10/2021   29999     $1,472.45
1092035-01    S.Q.             Surgicore of Jersey City LLC              Single Nerve Block Injection Arm …    2/10/2021   64415      $979.78
1092035-01    S.Q.             Surgicore of Jersey City LLC             Us Guidance Needle Placement Img …     2/10/2021   76942      $341.96
1092035-01    S.Q.             Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…     2/10/2021   A4649       $50.00
1092035-01    S.Q.             Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…   2/10/2021   L8699      $185.00
1092035-01    S.Q.             Surgicore of Jersey City LLC             Arthroscopy Knee Synovectomy 2/>C… 2/24/2021       29876     $1,472.45
1092035-01    S.Q.             Surgicore of Jersey City LLC              Arthrs Knee Abrasion Arthrp/Mlt D…    2/24/2021   29879     $1,472.45
1092035-01    S.Q.             Surgicore of Jersey City LLC            Arthrs Knee W/Meniscectomy Med&La… 2/24/2021        29880     $3,026.24
1092035-01    S.Q.             Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…     2/24/2021   29999     $1,472.45
1092035-01    S.Q.             Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…     2/24/2021   A4649       $50.00
1092035-01    S.Q.             Surgicore of Jersey City LLC               Arthroscopy, Knee, Surgical, For …   2/24/2021   G0289     $1,472.45
1092035-01    S.Q.             Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…   2/24/2021   L8699      $195.00
1092035-01    S.Q.                   Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 2/24/2021       E0650      $531.06
1092035-01    S.Q.                   Good Medica Inc                    Nonsegmental Pneumatic Appliance …     2/24/2021   E0666       $89.56
1092013-04    C.M.             Surgicore of Jersey City LLC              Tenotomy Shoulder Area 1 Tendon…      3/27/2021   23405     $1,839.77
1092013-04    C.M.             Surgicore of Jersey City LLC             Manj W/Anes Shoulder Joint W/Fixa…     3/27/2021   23700      $748.08
1092013-04    C.M.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Synovec…    3/27/2021   29821     $5,677.77
1092013-04    C.M.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Debride…    3/27/2021   29823     $1,472.45
1092013-04    C.M.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Ahesiolysis …    3/27/2021   29825     $1,472.45
1092013-04    C.M.             Surgicore of Jersey City LLC              Single Nerve Block Injection Arm …    3/27/2021   64415      $979.78
1092013-04    C.M.             Surgicore of Jersey City LLC             Us Guidance Needle Placement Img …     3/27/2021   76942      $341.96
1092013-04    C.M.             Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…     3/27/2021   A4649       $50.00
1092013-04    C.M.             Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…   3/27/2021   L8699      $635.00
1092013-04    C.M.                   Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 3/27/2021       E0650      $531.06
1092013-04    C.M.                   Good Medica Inc                    Nonsegmental Pneumatic Appliance …     3/27/2021   E0666       $89.56
1092272-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi… 2/21/2021        29875     $1,472.45
1092272-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 2/21/2021        29880     $3,026.24
1092272-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center     Unlisted Procedure Arthroscopy…     2/21/2021   29999     $1,472.45
1092272-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     2/21/2021   A4649       $50.00
1092272-01    F.L.             Crotona Parkway ASC LLC                    Perq Intrdscl Electrothrm Annulop…  10/27/2022   22526     $2,648.32
1092272-01    F.L.             Crotona Parkway ASC LLC                    Perq Intrdscl Electrothrm Annulop…  10/27/2022   22527     $2,648.32
1092272-01    F.L.             Crotona Parkway ASC LLC                   Dcmprn Perq Nucleus Pulposus 1/> … 10/27/2022     62287     $5,296.65
1092272-01    F.L.             Crotona Parkway ASC LLC                   Plmt Post Facet Implant Uni/Bi W/…     5/4/2023   0219T     $3,202.87
1092272-01    F.L.             Crotona Parkway ASC LLC                     Place Posterior Intrafacet Implan…   5/4/2023   0222T     $2,648.32
1092272-01    F.L.             Crotona Parkway ASC LLC                    Perq Intrdscl Electrothrm Annulop…    5/4/2023   22526     $2,648.32
1092272-01    F.L.             Crotona Parkway ASC LLC                   Dcmprn Perq Nucleus Pulposus 1/> …     5/4/2023   62287     $5,296.65
1092272-01    F.L.             Crotona Parkway ASC LLC                   Transection/Avulsion Oth Spinal N…     5/4/2023   64772     $1,114.09
1092272-01    F.L.             Crotona Parkway ASC LLC                   Transection/Avulsion Oth Spinal N…     5/4/2023   64772     $1,114.09
1092272-01    F.L.             Crotona Parkway ASC LLC                    Injection Single/Mlt Trigger Poin…   11/8/2023   20553      $279.23
1092272-01    F.L.             Crotona Parkway ASC LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    11/8/2023   62321      $980.10
1092272-01    F.L.             Crotona Parkway ASC LLC                    Injection Single/Mlt Trigger Poin…  11/22/2023   20553      $279.23
1092272-01    F.L.             Crotona Parkway ASC LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/22/2023   62323      $980.10
1091672-01    Z.R.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Synovec…    4/29/2021   29821     $5,677.77
1091672-01    Z.R.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Synovec…    4/29/2021   29821     $5,677.77
1091672-01    Z.R.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Debride…    4/29/2021   29823     $1,472.45
1091672-01    Z.R.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Debride…    4/29/2021   29823     $1,472.45
1091672-01    Z.R.             Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…     4/29/2021   29999     $1,472.45
1091672-01    Z.R.             Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…     4/29/2021   29999     $1,472.45
1091672-01    Z.R.             Surgicore of Jersey City LLC              Single Nerve Block Injection Arm …    4/29/2021   64415      $979.78

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                                                          1840
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                              Service     Code       Billed
1091672-01    Z.R.             Surgicore of Jersey City LLC                Single Nerve Block Injection Arm …    4/29/2021   64415      $979.78
1091672-01    Z.R.             Surgicore of Jersey City LLC              Us Guidance Needle Placement Img …      4/29/2021   76942      $341.96
1091672-01    Z.R.             Surgicore of Jersey City LLC              Us Guidance Needle Placement Img …      4/29/2021   76942      $341.96
1091672-01    Z.R.             Surgicore of Jersey City LLC                  Surgical Supply; Miscellaneous…     4/29/2021   A4649       $50.00
1091672-01    Z.R.             Surgicore of Jersey City LLC                  Surgical Supply; Miscellaneous…     4/29/2021   A4649       $50.00
1091672-01    Z.R.             Surgicore of Jersey City LLC                Prosthetic Implant, Not Otherwise…    4/29/2021   L8699      $185.00
1091672-01    Z.R.             Surgicore of Jersey City LLC                Prosthetic Implant, Not Otherwise…    4/29/2021   L8699      $185.00
1091672-01    Z.R.                   Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…      4/29/2021   E0650      $531.06
1091672-01    Z.R.                   Good Medica Inc                     Nonsegmental Pneumatic Appliance …      4/29/2021   E0666       $89.56
1092156-01    J.C.             Surgicore of Jersey City LLC              Arthroscopy Knee Synovectomy 2/>C…       6/7/2021   29876     $1,472.45
1092156-01    J.C.             Surgicore of Jersey City LLC             Arthrs Knee W/Meniscectomy Med&La…        6/7/2021   29880     $3,026.24
1092156-01    J.C.             Surgicore of Jersey City LLC                  Unlisted Procedure Arthroscopy…      6/7/2021   29999     $1,472.45
1092156-01    J.C.             Surgicore of Jersey City LLC                  Unlisted Procedure Arthroscopy…      6/7/2021   29999     $1,472.45
1092156-01    J.C.             Surgicore of Jersey City LLC                  Surgical Supply; Miscellaneous…      6/7/2021   A4649       $50.00
1092156-01    J.C.             Surgicore of Jersey City LLC                Arthroscopy, Knee, Surgical, For …     6/7/2021   G0289     $1,472.45
1092156-01    J.C.             Surgicore of Jersey City LLC                Prosthetic Implant, Not Otherwise…     6/7/2021   L8699      $195.00
1092156-01    J.C.                   Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…       6/7/2021   E0650      $531.06
1092156-01    J.C.                   Good Medica Inc                     Nonsegmental Pneumatic Appliance …       6/7/2021   E0666       $89.56
1091173-01    A.M.        All City Family Healthcare Center, Inc.          Perq Intrdscl Electrothrm Annulop…    2/22/2021   22526     $2,605.78
1091173-01    A.M.        All City Family Healthcare Center, Inc.         Dcmprn Perq Nucleus Pulposus 1/> …     2/22/2021   62287     $5,292.93
1091173-01    A.M.        All City Family Healthcare Center, Inc.            Surgical Supply; Miscellaneous…     2/22/2021   A4649       $72.00
1091173-01    A.M.               Hudson Regional Hospital                    Comprehensive Metabolic Panel…       5/6/2021   80053      $150.00
1091173-01    A.M.               Hudson Regional Hospital                Drug Tst Prsmv Instrmnt Chem Anal…       5/6/2021   80307      $359.15
1091173-01    A.M.               Hudson Regional Hospital                 Urnls Dip Stick/Tablet Reagent Au…      5/6/2021   81001      $134.00
1091173-01    A.M.               Hudson Regional Hospital                    Hemoglobin Glycosylated A1C…         5/6/2021   83036       $66.70
1091173-01    A.M.               Hudson Regional Hospital               Blood Count Complete Auto&Auto Di…        5/6/2021   85025      $147.00
1091173-01    A.M.               Hudson Regional Hospital                           Prothrombin Time…             5/6/2021   85610      $143.00
1091173-01    A.M.               Hudson Regional Hospital                 Thromboplastin Time Partial Plasm…      5/6/2021   85730      $147.00
1091173-01    A.M.               Hudson Regional Hospital                Antibody Screen Rbc Each Serum Te…       5/6/2021   86850      $105.80
1091173-01    A.M.               Hudson Regional Hospital                     Blood Typing Serologic Abo…         5/6/2021   86900      $498.84
1091173-01    A.M.               Hudson Regional Hospital                    Blood Typing Serologic Rh (D)…       5/6/2021   86901       $56.95
1091173-01    A.M.               Hudson Regional Hospital                 Infectious Agent Detection By Nuc…      5/6/2021   87635     $1,200.00
1091173-01    A.M.               Hudson Regional Hospital                  Iadna S Aureus Methicillin Resist…     5/6/2021   87641      $241.40
1091173-01    A.M.               Hudson Regional Hospital                 Ecg Routine Ecg W/Least 12 Lds Tr…      5/6/2021   93005      $323.70
1091173-01    A.M.                     SCOB LLC                            Arthrocentesis Aspir&/Inj Major J…    5/10/2021   20610      $473.39
1091173-01    A.M.                     SCOB LLC                          Arthroscopy Knee Synovectomy 2/>C…      5/10/2021   29876     $3,026.24
1091173-01    A.M.                     SCOB LLC                         Arthrs Knee W/Meniscectomy Med&La…       5/10/2021   29880     $2,944.87
1091975-01    E.P.             East Tremont Medical Center               Anes Dx/Ther Nrv Blk/Njx Oth/Thn …       2/3/2021    1991     $1,020.00
1091975-01    E.P.             East Tremont Medical Center                  Injection Single/Mlt Trigger Poin…    2/3/2021   20553     $1,363.00
1091975-01    E.P.             East Tremont Medical Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      2/3/2021   62321     $2,540.00
1091975-01    E.P.             East Tremont Medical Center                         Epidurograpy Rs&I…             2/3/2021   72275      $985.00
1091975-01    E.P.             East Tremont Medical Center               Us Guidance Needle Placement Img …       2/3/2021   76942      $860.00
1091975-01    E.P.               Hudson Regional Hospital                 Infectious Agent Detection By Nuc…      3/4/2021   87635     $1,200.00
1091975-01    E.P.             Citimed Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     3/6/2021   64490     $1,423.89
1091975-01    E.P.             Citimed Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     3/6/2021   64491     $1,342.52
1091975-01    E.P.             Citimed Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     3/6/2021   64492     $1,342.52
1091975-01    E.P.     Surgicore LLC d/b/a Surgicore Surgical Center       Grafting Of Autologous Soft Tissu…    7/30/2021   15769     $1,276.24
1091975-01    E.P.     Surgicore LLC d/b/a Surgicore Surgical Center      Repair Secondary Disrupted Ligame…     7/30/2021   27698     $3,311.97
1091975-01    E.P.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Ankle Surgical Debrid…     7/30/2021   29898     $1,472.45
1091975-01    E.P.     Surgicore LLC d/b/a Surgicore Surgical Center         Surgical Supply; Miscellaneous…     7/30/2021   A4649       $50.00
1092087-01    A.C.                   Good Medica Inc                     Crutches, Underarm, Other Than Wo…      3/14/2021   E0114       $23.38
1092087-01    A.C.                   Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…      3/14/2021   E0650      $531.06
1092087-01    A.C.                   Good Medica Inc                     Nonsegmental Pneumatic Appliance …      3/14/2021   E0666       $89.56
1092087-01    A.C.                   Good Medica Inc                            Surgical Boot/Shoe, Each…        3/14/2021   L3260       $22.50
1092087-01    A.C.           New Horizon Surgical Center LLC              Arthroscopy Ankle Surgical Debrid…     5/14/2021   29898     $3,026.24
1092087-01    A.C.           New Horizon Surgical Center LLC                 Unlisted Procedure Arthroscopy…     5/14/2021   29999     $1,472.45
1092087-01    A.C.           New Horizon Surgical Center LLC                Injection Anesthetic Agent Sciati…   5/14/2021   64445      $976.38
1092087-01    A.C.           New Horizon Surgical Center LLC              Injection Anesthetic Agent Femora…     5/14/2021   64447      $447.52
1092087-01    A.C.           New Horizon Surgical Center LLC             Us Guidance Needle Placement Img …      5/14/2021   76942      $341.96
1092087-01    A.C.           New Horizon Surgical Center LLC                 Surgical Supply; Miscellaneous…     5/14/2021   A4649       $50.00
1091161-03    J.P.             Surgicore of Jersey City LLC              Arthroscopy Knee Synovectomy Limi…      4/24/2021   29875     $1,472.45
1091161-03    J.P.             Surgicore of Jersey City LLC             Arthrs Knee W/Meniscectomy Med&La…       4/24/2021   29880     $3,026.24
1091161-03    J.P.             Surgicore of Jersey City LLC                  Unlisted Procedure Arthroscopy…     4/24/2021   29999     $1,472.45
1091161-03    J.P.             Surgicore of Jersey City LLC                  Surgical Supply; Miscellaneous…     4/24/2021   A4649       $50.00
1091161-03    J.P.             Surgicore of Jersey City LLC                Arthroscopy, Knee, Surgical, For …    4/24/2021   G0289     $1,472.45
1091161-03    J.P.                   Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…      4/24/2021   E0650      $531.06
1091161-03    J.P.                   Good Medica Inc                     Nonsegmental Pneumatic Appliance …      4/24/2021   E0666       $89.56
1091513-02    M.C.          Rockaways ASC Development LLC                 Arthroscopy Shoulder Surg Synovec…     4/14/2021   29821     $5,677.77

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                                                        1841
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                      Provider                                      Service
 Number      Person                                                                                           Service     Code       Billed
1091513-02    M.C.         Rockaways ASC Development LLC               Arthroscopy Shoulder Surg Debride…     4/14/2021   29823     $1,472.45
1091513-02    M.C.         Rockaways ASC Development LLC                Arthroscopy Shoulder Ahesiolysis …    4/14/2021   29825     $1,472.45
1091513-02    M.C.         Rockaways ASC Development LLC              Arthroscopy Shoulder W/Coracoacrm…      4/14/2021   29826     $1,472.45
1091513-02    M.C.         Rockaways ASC Development LLC                Single Nerve Block Injection Arm …    4/14/2021   64415      $979.78
1091513-02    M.C.         Rockaways ASC Development LLC              Us Guidance Needle Placement Img …      4/14/2021   76942      $341.96
1091513-02    M.C.         Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…     4/14/2021   A4649       $50.00
1091513-02    M.C.           Healthplus Surgery Center LLC               Injection Single/Mlt Trigger Poin…   6/23/2021   20553      $473.39
1091513-02    M.C.           Healthplus Surgery Center LLC              Inject Si Joint Arthrgrphy&/Anes/…    6/23/2021   27096     $1,288.58
1091513-02    M.C.           Healthplus Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/23/2021   64493     $1,423.89
1091513-02    M.C.           Healthplus Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/23/2021   64494     $1,342.52
1091513-02    M.C.           Healthplus Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/23/2021   64495     $1,342.52
1091609-90    M.T.         Rockaways ASC Development LLC                 Injection Single/Mlt Trigger Poin…   1/31/2021   20552      $236.69
1091609-90    M.T.         Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/31/2021   62323      $976.38
1091609-90    M.T.         Rockaways ASC Development LLC              Us Guidance Needle Placement Img …      1/31/2021   76942      $341.96
1091609-90    M.T.         Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…     1/31/2021   A4649       $50.00
1091609-90    M.T.         Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…     2/7/2021   22526     $2,605.78
1091609-90    M.T.         Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…     2/7/2021   22527     $2,605.78
1091609-90    M.T.         Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> …      2/7/2021   62287     $5,292.93
1091609-90    M.T.         Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…      2/7/2021   A4649       $50.00
1091609-90    M.T.         Rockaways ASC Development LLC                Arthrocentesis Aspir&/Inj Major J…    2/17/2021   20610      $473.39
1091609-90    M.T.         Rockaways ASC Development LLC               Arthroscopy Shoulder Surgical Cap…     2/17/2021   29806     $2,798.20
1091609-90    M.T.         Rockaways ASC Development LLC               Arthroscopy Shoulder Surgical Rem…     2/17/2021   29819     $1,472.45
1091609-90    M.T.         Rockaways ASC Development LLC               Arthroscopy Shoulder Surg Synovec…     2/17/2021   29821     $5,677.77
1091609-90    M.T.         Rockaways ASC Development LLC               Arthroscopy Shoulder Surg Debride…     2/17/2021   29823     $1,472.45
1091609-90    M.T.         Rockaways ASC Development LLC                Arthroscopy Shoulder Ahesiolysis …    2/17/2021   29825     $1,472.45
1091609-90    M.T.         Rockaways ASC Development LLC                  Unlisted Procedure Arthroscopy…     2/17/2021   29999     $1,472.45
1091609-90    M.T.         Rockaways ASC Development LLC                Single Nerve Block Injection Arm …    2/17/2021   64415      $979.78
1091609-90    M.T.         Rockaways ASC Development LLC              Us Guidance Needle Placement Img …      2/17/2021   76942      $341.96
1091609-90    M.T.         Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…     2/17/2021   A4649       $50.00
1091609-90    M.T.                   Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      8/31/2021   E0650      $531.06
1091609-90    M.T.                   Good Medica Inc                  Nonsegmental Pneumatic Appliance …      8/31/2021   E0666       $89.56
1091609-90    M.T.                   Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      9/14/2021   E0650      $531.06
1091609-90    M.T.                   Good Medica Inc                  Nonsegmental Pneumatic Appliance …      9/14/2021   E0666       $89.56
1091838-02    J.M.             Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…    5/10/2021   22526     $2,605.78
1091838-02    J.M.             Surgicore of Jersey City LLC            Dcmprn Perq Nucleus Pulposus 1/> …     5/10/2021   62287     $5,292.93
1091838-02    J.M.             Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     5/10/2021   A4649       $50.00
1091838-02    J.M.             Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…    5/10/2021   L8699     $1,495.00
1091838-02    J.M.                   Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      5/10/2021   E0650      $531.06
1091838-02    J.M.                   Good Medica Inc                  Nonsegmental Pneumatic Appliance …      5/10/2021   E0666       $89.56
1090947-01    J.D.             Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C…       4/8/2021   29876     $1,472.45
1090947-01    J.D.             Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La…        4/8/2021   29880     $3,026.24
1090947-01    J.D.             Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…      4/8/2021   A4649       $50.00
1090947-01    J.D.             Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …     4/8/2021   G0289     $1,472.45
1090947-01    J.D.             Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…     4/8/2021   L8699      $195.00
1090947-01    J.D.                   Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…       4/8/2021   E0650      $531.06
1090947-01    J.D.                   Good Medica Inc                  Nonsegmental Pneumatic Appliance …       4/8/2021   E0666       $89.56
1091406-01    A.Q.          Island Ambulatory Surgery Center          Extrcorpl Shock Wave Muscskele No…      2/24/2021   0101T      $446.62
1091406-01    A.Q.          Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/24/2021   62323      $976.38
1091406-01    A.Q.          Island Ambulatory Surgery Center                    Epidurograpy Rs&I…            2/24/2021   72275      $572.52
1091406-01    A.Q.         Rockaways ASC Development LLC              Arthroscopy Knee Synovectomy Limi…       4/6/2021   29875     $1,472.45
1091406-01    A.Q.         Rockaways ASC Development LLC             Arthrs Knee W/Meniscectomy Med&La…        4/6/2021   29880     $3,026.24
1091406-01    A.Q.         Rockaways ASC Development LLC              Arthroscopy Knee W/Lysis Adhesion…       4/6/2021   29884     $1,472.45
1091406-01    A.Q.         Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…      4/6/2021   A4649       $50.00
1091406-01    A.Q.         Rockaways ASC Development LLC                Arthroscopy, Knee, Surgical, For …     4/6/2021   G0289     $1,472.45
1091406-01    A.Q.                   Triborough ASC                      Injection Single/Mlt Trigger Poin…   7/28/2021   20553      $554.74
1091406-01    A.Q.                   Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     7/28/2021   62323      $976.38
1091406-01    A.Q.                   Triborough ASC                             Epidurograpy Rs&I…            7/28/2021   72275      $572.52
1091406-01    A.Q.                   Triborough ASC                      Injection Single/Mlt Trigger Poin…   8/10/2021   20553      $554.74
1091406-01    A.Q.                   Triborough ASC                     Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/10/2021   64490     $1,952.76
1091406-01    A.Q.                   Triborough ASC                     Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/10/2021   64491     $1,952.76
1091406-01    A.Q.                   Triborough ASC                     Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/10/2021   64492     $1,952.76
1091406-01    A.Q.                   Triborough ASC                     Perq Intrdscl Electrothrm Annulop…    10/4/2021   22526     $5,292.93
1091406-01    A.Q.                   Triborough ASC                     Perq Intrdscl Electrothrm Annulop…    10/4/2021   22527     $5,292.93
1091406-01    A.Q.                   Triborough ASC                    Dcmprn Perq Nucleus Pulposus 1/> …     10/4/2021   62287     $5,292.93
1091406-01    A.Q.                   Triborough ASC                    Probe, Percutaneous Lumbar Discec…     10/4/2021   C2614      $800.00
1091406-01    A.Q.                   Triborough ASC                      Injection Single/Mlt Trigger Poin…    3/4/2022   20553      $554.74
1091406-01    A.Q.                   Triborough ASC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      3/4/2022   64493     $1,952.76
1091406-01    A.Q.                   Triborough ASC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      3/4/2022   64494     $1,952.76

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                                                          1842
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                             Service     Code       Billed
1091406-01    A.Q.                   Triborough ASC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/4/2022   64495     $1,952.76
1091640-01    A.V.        Health East Ambulatory Surgical Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/9/2021   62323     $1,012.32
1091640-01    A.V.        Health East Ambulatory Surgical Center                   Epidurograpy Rs&I…            4/9/2021   72275      $442.29
1091640-01    A.V.        Health East Ambulatory Surgical Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   4/30/2021   62321     $1,012.32
1091640-01    A.V.        Health East Ambulatory Surgical Center                   Epidurograpy Rs&I…           4/30/2021   72275      $442.29
1091640-01    A.V.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/24/2021   64493      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/24/2021   64493      $976.38
1091640-01    A.V.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/24/2021   64494      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/24/2021   64494      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/24/2021   64495      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/24/2021   64495      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC                  Surgical Supply; Miscellaneous…    9/24/2021   A4649       $50.00
1091640-01    A.V.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/22/2021   64493      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/22/2021   64493      $976.38
1091640-01    A.V.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/22/2021   64494      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/22/2021   64494      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/22/2021   64495      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/22/2021   64495      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC                  Surgical Supply; Miscellaneous…   10/22/2021   A4649       $50.00
1091640-01    A.V.          Fifth Avenue Surgery Center LLC                 Dstr Nrolytc Agnt Parverteb Fct S… 11/12/2021   64635      $976.38
1091640-01    A.V.          Fifth Avenue Surgery Center LLC                Dstr Nrolytc Agnt Parverteb Fct A…  11/12/2021   64636      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC                Dstr Nrolytc Agnt Parverteb Fct A…  11/12/2021   64636      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC                 Dstr Nrolytc Agnt Parverteb Fct S… 11/19/2021   64635      $976.38
1091640-01    A.V.          Fifth Avenue Surgery Center LLC                Dstr Nrolytc Agnt Parverteb Fct A…  11/19/2021   64636      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC                Dstr Nrolytc Agnt Parverteb Fct A…  11/19/2021   64636      $447.52
1091640-01    A.V.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/15/2022   62323      $976.38
1091640-01    A.V.         Rockaways ASC Development LLC                 Auto Bone Marrw Cell Rx Complt Bo… 5/17/2022       0263T     $3,382.28
1091640-01    A.V.         Rockaways ASC Development LLC                  Repair Secondary Disrupted Ligame…    5/17/2022   27698     $3,230.60
1091640-01    A.V.         Rockaways ASC Development LLC                    Application Short Leg Splint Calf…  5/17/2022   29515      $342.46
1091640-01    A.V.         Rockaways ASC Development LLC                  Arthroscopy Ankle Surgical Synove…    5/17/2022   29895     $1,472.45
1091640-01    A.V.         Rockaways ASC Development LLC                  Arthroscopy Ankle Surgical Debrid…    5/17/2022   29898     $1,472.45
1091640-01    A.V.         Rockaways ASC Development LLC                   Injection Anesthetic Agent Femora…   5/17/2022   64447      $829.30
1091640-01    A.V.         Rockaways ASC Development LLC                  Us Guidance Needle Placement Img …    5/17/2022   76942      $341.96
1091010-05    C.M.               Hudson Regional Hospital                    Comprehensive Metabolic Panel…     7/27/2021   80053      $150.00
1091010-05    C.M.               Hudson Regional Hospital                 Drug Tst Prsmv Instrmnt Chem Anal…    7/27/2021   80307      $359.15
1091010-05    C.M.               Hudson Regional Hospital                 Drug Screen Quant Amphetamines 1 … 7/27/2021      80324      $269.37
1091010-05    C.M.               Hudson Regional Hospital                   Antidepressants Serotonergic Clas…  7/27/2021   80332      $269.37
1091010-05    C.M.               Hudson Regional Hospital                   Antidepressants Tricyclic Other C…  7/27/2021   80335      $270.31
1091010-05    C.M.               Hudson Regional Hospital                      Drug Screening Barbiturates…     7/27/2021   80345      $269.37
1091010-05    C.M.               Hudson Regional Hospital                 Drug Screening Benzodiazepines 1-…    7/27/2021   80346      $269.37
1091010-05    C.M.               Hudson Regional Hospital                    Drug Screening Buprenorphine…      7/27/2021   80348      $269.37
1091010-05    C.M.               Hudson Regional Hospital                        Drug Screening Fentanyl…       7/27/2021   80354      $269.37
1091010-05    C.M.               Hudson Regional Hospital                 Drug Screening Gabapentin Non-Blo…    7/27/2021   80355      $269.37
1091010-05    C.M.               Hudson Regional Hospital                  Drug Screening Heroin Metabolite…    7/27/2021   80356      $269.37
1091010-05    C.M.               Hudson Regional Hospital                      Drug Screening Methadone…        7/27/2021   80358      $269.37
1091010-05    C.M.               Hudson Regional Hospital                Drug Screening Methylenedioxyamph… 7/27/2021       80359      $269.37
1091010-05    C.M.               Hudson Regional Hospital                   Drug Screening Methylphenidate…     7/27/2021   80360      $269.37
1091010-05    C.M.               Hudson Regional Hospital                  Drug Screening Opiates 1 Or More…    7/27/2021   80361      $538.74
1091010-05    C.M.               Hudson Regional Hospital                 Drug Screening Opioids And Opiate…    7/27/2021   80362      $537.74
1091010-05    C.M.               Hudson Regional Hospital                      Drug Screening Oxycodone…        7/27/2021   80365      $269.37
1091010-05    C.M.               Hudson Regional Hospital                      Drug Screening Pregabalin…       7/27/2021   80366      $269.37
1091010-05    C.M.               Hudson Regional Hospital                 Drug Screening Sedative Hypnotics…    7/27/2021   80368      $269.37
1091010-05    C.M.               Hudson Regional Hospital                 Drug Screening Skeletal Muscle Re…    7/27/2021   80369      $269.37
1091010-05    C.M.               Hudson Regional Hospital                      Drug Screening Tapentadol…       7/27/2021   80372      $269.37
1091010-05    C.M.               Hudson Regional Hospital                       Drug Screening Tramadol…        7/27/2021   80373      $269.37
1091010-05    C.M.               Hudson Regional Hospital                  Urnls Dip Stick/Tablet Reagent Au…   7/27/2021   81001      $134.00
1091010-05    C.M.               Hudson Regional Hospital                    Hemoglobin Glycosylated A1C…       7/27/2021   83036       $66.70
1091010-05    C.M.               Hudson Regional Hospital                Blood Count Complete Auto&Auto Di… 7/27/2021       85025      $147.00
1091010-05    C.M.               Hudson Regional Hospital                           Prothrombin Time…           7/27/2021   85610      $143.00
1091010-05    C.M.               Hudson Regional Hospital                 Thromboplastin Time Partial Plasm…    7/27/2021   85730      $147.00
1091010-05    C.M.               Hudson Regional Hospital                 Antibody Screen Rbc Each Serum Te…    7/27/2021   86850      $105.80
1091010-05    C.M.               Hudson Regional Hospital                     Blood Typing Serologic Abo…       7/27/2021   86900      $498.84
1091010-05    C.M.               Hudson Regional Hospital                    Blood Typing Serologic Rh (D)…     7/27/2021   86901       $56.95
1091010-05    C.M.               Hudson Regional Hospital                  Infectious Agent Detection By Nuc…   7/27/2021   87635     $1,200.00
1091010-05    C.M.               Hudson Regional Hospital                   Iadna S Aureus Methicillin Resist…  7/27/2021   87641      $241.40
1091010-05    C.M.               Hudson Regional Hospital                 Ecg Routine Ecg W/Least 12 Lds Tr…    7/27/2021   93005      $323.70
1091010-05    C.M.               Hudson Regional Hospital               Echo Tthrc R-T 2D W/Wom-Mode Comp… 7/27/2021        93306     $5,074.90
1091010-05    C.M.               Hudson Regional Hospital                    Comprehensive Metabolic Panel…    10/27/2021   80053      $150.00

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                                                          1843
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1091010-05    C.M.              Hudson Regional Hospital                   Drug Tst Prsmv Instrmnt Chem Anal… 10/27/2021     80307      $359.15
1091010-05    C.M.              Hudson Regional Hospital                   Drug Screen Quant Amphetamines 1 … 10/27/2021     80324      $269.37
1091010-05    C.M.              Hudson Regional Hospital                     Antidepressants Serotonergic Clas… 10/27/2021   80332      $269.37
1091010-05    C.M.              Hudson Regional Hospital                     Antidepressants Tricyclic Other C… 10/27/2021   80335      $270.31
1091010-05    C.M.              Hudson Regional Hospital                        Drug Screening Barbiturates…    10/27/2021   80345      $269.37
1091010-05    C.M.              Hudson Regional Hospital                    Drug Screening Benzodiazepines 1-…  10/27/2021   80346      $269.37
1091010-05    C.M.              Hudson Regional Hospital                       Drug Screening Buprenorphine…    10/27/2021   80348      $269.37
1091010-05    C.M.              Hudson Regional Hospital                          Drug Screening Fentanyl…      10/27/2021   80354      $269.37
1091010-05    C.M.              Hudson Regional Hospital                   Drug Screening Gabapentin Non-Blo… 10/27/2021     80355      $269.37
1091010-05    C.M.              Hudson Regional Hospital                     Drug Screening Heroin Metabolite…  10/27/2021   80356      $269.37
1091010-05    C.M.              Hudson Regional Hospital                        Drug Screening Methadone…       10/27/2021   80358      $269.37
1091010-05    C.M.              Hudson Regional Hospital                   Drug Screening Methylenedioxyamph… 10/27/2021     80359      $269.37
1091010-05    C.M.              Hudson Regional Hospital                      Drug Screening Methylphenidate…   10/27/2021   80360      $269.37
1091010-05    C.M.              Hudson Regional Hospital                    Drug Screening Opiates 1 Or More…   10/27/2021   80361      $538.74
1091010-05    C.M.              Hudson Regional Hospital                    Drug Screening Opioids And Opiate… 10/27/2021    80362      $537.74
1091010-05    C.M.              Hudson Regional Hospital                        Drug Screening Oxycodone…       10/27/2021   80365      $269.37
1091010-05    C.M.              Hudson Regional Hospital                         Drug Screening Pregabalin…     10/27/2021   80366      $269.37
1091010-05    C.M.              Hudson Regional Hospital                    Drug Screening Sedative Hypnotics…  10/27/2021   80368      $269.37
1091010-05    C.M.              Hudson Regional Hospital                    Drug Screening Skeletal Muscle Re…  10/27/2021   80369      $269.37
1091010-05    C.M.              Hudson Regional Hospital                        Drug Screening Tapentadol…      10/27/2021   80372      $269.37
1091010-05    C.M.              Hudson Regional Hospital                         Drug Screening Tramadol…       10/27/2021   80373      $269.37
1091010-05    C.M.              Hudson Regional Hospital                    Urnls Dip Stick/Tablet Reagent Au…  10/27/2021   81001      $134.00
1091010-05    C.M.              Hudson Regional Hospital                           Creatine Kinase Total…       10/27/2021   82550      $108.00
1091010-05    C.M.              Hudson Regional Hospital                     Creatine Kinase Mb Fraction Only…  10/27/2021   82553      $100.00
1091010-05    C.M.              Hudson Regional Hospital                      Hemoglobin Glycosylated A1C…      10/27/2021   83036       $66.70
1091010-05    C.M.              Hudson Regional Hospital                             Natriuretic Peptide…       10/27/2021   83880      $233.30
1091010-05    C.M.              Hudson Regional Hospital                      Assay Of Troponin Quantitative…   10/27/2021   84484      $100.00
1091010-05    C.M.              Hudson Regional Hospital                  Blood Count Complete Auto&Auto Di… 10/27/2021      85025      $147.00
1091010-05    C.M.              Hudson Regional Hospital                             Prothrombin Time…          10/27/2021   85610      $143.00
1091010-05    C.M.              Hudson Regional Hospital                    Thromboplastin Time Partial Plasm…  10/27/2021   85730      $147.00
1091010-05    C.M.              Hudson Regional Hospital                   Antibody Screen Rbc Each Serum Te… 10/27/2021     86850      $105.80
1091010-05    C.M.              Hudson Regional Hospital                        Blood Typing Serologic Abo…     10/27/2021   86900      $498.84
1091010-05    C.M.              Hudson Regional Hospital                      Blood Typing Serologic Rh (D)…    10/27/2021   86901       $56.95
1091010-05    C.M.              Hudson Regional Hospital                     Iadna S Aureus Methicillin Resist… 10/27/2021   87641      $241.40
1091010-05    C.M.              Hudson Regional Hospital                    Ecg Routine Ecg W/Least 12 Lds Tr… 10/27/2021    93005      $323.70
1091010-05    C.M.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J… 11/10/2021   20610      $473.38
1091010-05    C.M.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 11/10/2021     29875     $1,472.45
1091010-05    C.M.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 11/10/2021      29880     $3,026.24
1091010-05    C.M.        All City Family Healthcare Center, Inc.           Infectious Agent Detection By Nuc…  11/10/2021   87635       $51.33
1091010-05    C.M.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For … 11/10/2021   G0289     $1,472.45
1091037-03    R.B.                     SCOB LLC                             Arthroscopy Shoulder Surgical Rep…    2/4/2021   29807     $5,677.77
1091037-03    R.B.                     SCOB LLC                             Arthroscopy Shoulder Surg Synovec…    2/4/2021   29821     $5,596.40
1091037-03    R.B.                     SCOB LLC                             Arthroscopy Shoulder Surg Debride…    2/4/2021   29823     $2,944.87
1091037-03    R.B.                     SCOB LLC                            Arthroscopy Shoulder W/Coracoacrm…     2/4/2021   29826     $2,944.87
1091037-03    R.B.                     SCOB LLC                            Anchor/Screw For Opposing Bone-To…     2/4/2021   C1713     $1,000.00
1091037-03    R.B.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…  3/23/2021   20552      $236.69
1091037-03    R.B.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/23/2021   62323      $976.38
1091037-03    R.B.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…           3/23/2021   72275      $572.53
1091037-03    R.B.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …    3/23/2021   76942      $341.96
1091037-03    R.B.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    3/23/2021   A4649       $50.00
1091037-03    R.B.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…  4/29/2021   22526     $2,605.78
1091037-03    R.B.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> …   4/29/2021   62287     $5,292.93
1091037-03    R.B.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    4/29/2021   A4649       $50.00
1091037-03    R.B.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C…     5/8/2021   29876     $1,472.45
1091037-03    R.B.             Surgicore of Jersey City LLC               Arthrs Kne Surg W/Meniscectomy Me… 5/8/2021        29881     $3,026.24
1091037-03    R.B.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…     5/8/2021   29999     $1,472.45
1091037-03    R.B.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     5/8/2021   A4649       $50.00
1091037-03    R.B.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …   5/8/2021   G0289     $1,472.45
1091037-03    R.B.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …   5/8/2021   G0289     $1,472.45
1091037-03    R.B.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…   5/8/2021   L8699      $195.00
1091037-03    R.B.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…     5/8/2021   E0650      $531.06
1091037-03    R.B.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     5/8/2021   E0666       $89.56
1091037-04    J.S.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…  1/26/2021   22526     $2,605.78
1091037-04    J.S.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> …   1/26/2021   62287     $5,292.93
1091037-04    J.S.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…   1/26/2021   87635       $51.33
1091037-04    J.S.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    1/26/2021   A4649       $50.00
1091037-04    J.S.              Hudson Regional Hospital                      Comprehensive Metabolic Panel…      2/2/2021   80053      $150.00
1091037-04    J.S.              Hudson Regional Hospital                   Drug Tst Prsmv Instrmnt Chem Anal…     2/2/2021   80307      $359.15

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                                                          1844
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1091037-04    J.S.              Hudson Regional Hospital                   Drug Screen Quant Amphetamines 1 …        2/2/2021   80324      $269.37
1091037-04    J.S.              Hudson Regional Hospital                     Antidepressants Serotonergic Clas…      2/2/2021   80332      $269.37
1091037-04    J.S.              Hudson Regional Hospital                     Antidepressants Tricyclic Other C…      2/2/2021   80335      $270.31
1091037-04    J.S.              Hudson Regional Hospital                         Drug Screening Barbiturates…        2/2/2021   80345      $269.37
1091037-04    J.S.              Hudson Regional Hospital                    Drug Screening Benzodiazepines 1-…       2/2/2021   80346      $269.37
1091037-04    J.S.              Hudson Regional Hospital                       Drug Screening Buprenorphine…         2/2/2021   80348      $269.37
1091037-04    J.S.              Hudson Regional Hospital                          Drug Screening Fentanyl…           2/2/2021   80354      $269.37
1091037-04    J.S.              Hudson Regional Hospital                   Drug Screening Gabapentin Non-Blo…        2/2/2021   80355      $269.37
1091037-04    J.S.              Hudson Regional Hospital                     Drug Screening Heroin Metabolite…       2/2/2021   80356      $269.37
1091037-04    J.S.              Hudson Regional Hospital                         Drug Screening Methadone…           2/2/2021   80358      $269.37
1091037-04    J.S.              Hudson Regional Hospital                   Drug Screening Methylenedioxyamph…        2/2/2021   80359      $269.37
1091037-04    J.S.              Hudson Regional Hospital                      Drug Screening Methylphenidate…        2/2/2021   80360      $269.37
1091037-04    J.S.              Hudson Regional Hospital                    Drug Screening Opiates 1 Or More…        2/2/2021   80361      $538.74
1091037-04    J.S.              Hudson Regional Hospital                    Drug Screening Opioids And Opiate…       2/2/2021   80362      $537.74
1091037-04    J.S.              Hudson Regional Hospital                         Drug Screening Oxycodone…           2/2/2021   80365      $269.37
1091037-04    J.S.              Hudson Regional Hospital                         Drug Screening Pregabalin…          2/2/2021   80366      $269.37
1091037-04    J.S.              Hudson Regional Hospital                    Drug Screening Sedative Hypnotics…       2/2/2021   80368      $269.37
1091037-04    J.S.              Hudson Regional Hospital                    Drug Screening Skeletal Muscle Re…       2/2/2021   80369      $269.37
1091037-04    J.S.              Hudson Regional Hospital                         Drug Screening Tapentadol…          2/2/2021   80372      $269.37
1091037-04    J.S.              Hudson Regional Hospital                          Drug Screening Tramadol…           2/2/2021   80373      $269.37
1091037-04    J.S.              Hudson Regional Hospital                    Urnls Dip Stick/Tablet Reagent Au…       2/2/2021   81001      $134.00
1091037-04    J.S.              Hudson Regional Hospital                       Hemoglobin Glycosylated A1C…          2/2/2021   83036       $66.70
1091037-04    J.S.              Hudson Regional Hospital                  Blood Count Complete Auto&Auto Di…         2/2/2021   85025      $147.00
1091037-04    J.S.              Hudson Regional Hospital                              Prothrombin Time…              2/2/2021   85610      $143.00
1091037-04    J.S.              Hudson Regional Hospital                    Thromboplastin Time Partial Plasm…       2/2/2021   85730      $147.00
1091037-04    J.S.              Hudson Regional Hospital                   Antibody Screen Rbc Each Serum Te…        2/2/2021   86850      $105.80
1091037-04    J.S.              Hudson Regional Hospital                        Blood Typing Serologic Abo…          2/2/2021   86900      $498.84
1091037-04    J.S.              Hudson Regional Hospital                       Blood Typing Serologic Rh (D)…        2/2/2021   86901       $56.95
1091037-04    J.S.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…       2/2/2021   87635     $1,200.00
1091037-04    J.S.              Hudson Regional Hospital                     Iadna S Aureus Methicillin Resist…      2/2/2021   87641      $241.40
1091037-04    J.S.              Hudson Regional Hospital                    Ecg Routine Ecg W/Least 12 Lds Tr…       2/2/2021   93005      $323.70
1091037-04    J.S.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…       2/7/2021   87635     $1,200.00
1091037-04    J.S.              Hudson Regional Hospital                       Drug Test(S), Definitive, Utilizi…   2/11/2021   G0483     $1,234.60
1091037-04    J.S.                     SCOB LLC                             Arthroscopy Shoulder Surgical Rep…      2/11/2021   29807     $5,677.77
1091037-04    J.S.                     SCOB LLC                             Arthroscopy Shoulder Surg Synovec…      2/11/2021   29821     $5,596.40
1091037-04    J.S.                     SCOB LLC                             Arthroscopy Shoulder Surg Debride…      2/11/2021   29823     $2,944.87
1091037-04    J.S.                     SCOB LLC                            Arthroscopy Shoulder W/Coracoacrm…       2/11/2021   29826     $2,944.87
1091037-04    J.S.                     SCOB LLC                            Anchor/Screw For Opposing Bone-To…       2/11/2021   C1713     $1,000.00
1091037-04    J.S.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…      5/20/2021   87635     $1,200.00
1091037-04    J.S.                     SCOB LLC                               Injection Single/Mlt Trigger Poin…    5/22/2021   20552      $473.39
1091037-04    J.S.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      5/22/2021   62323      $976.38
1091037-04    J.S.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…        6/6/2021   29875     $1,472.45
1091037-04    J.S.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La…         6/6/2021   29880     $3,026.24
1091037-04    J.S.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…       6/6/2021   29999     $1,472.45
1091037-04    J.S.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…       6/6/2021   A4649       $72.00
1091218-04    R.V.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surgical Rem…      4/19/2021   29819     $1,472.45
1091218-04    R.V.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surg Debride…      4/19/2021   29823     $3,026.24
1091218-04    R.V.          New Horizon Surgical Center LLC                  Arthroscopy Shoulder Distal Clavi…     4/19/2021   29824     $1,472.45
1091218-04    R.V.          New Horizon Surgical Center LLC                Arthroscopy Shoulder W/Coracoacrm…       4/19/2021   29826     $1,472.45
1091218-04    R.V.          New Horizon Surgical Center LLC                  Single Nerve Block Injection Arm …     4/19/2021   64415      $979.78
1091218-04    R.V.          New Horizon Surgical Center LLC                Us Guidance Needle Placement Img …       4/19/2021   76942      $341.96
1091218-04    R.V.          New Horizon Surgical Center LLC                    Surgical Supply; Miscellaneous…      4/19/2021   A4649       $50.00
1091218-04    R.V.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       4/19/2021   E0650      $531.06
1091218-04    R.V.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       4/19/2021   E0666       $89.56
1092375-02    A.P.             East Tremont Medical Center                  Collection Venous Blood Venipunct…       2/6/2021   36415       $10.07
1092375-02    A.P.             East Tremont Medical Center                  Immunoassay For Infectious Agent …       2/6/2021   86328      $250.00
1092375-02    A.P.             East Tremont Medical Center                  Infectious Agent Detection By Nuc…       2/6/2021   87635      $550.00
1092375-02    A.P.             East Tremont Medical Center                 Ecg Routine Ecg W/Least 12 Lds I&…        2/6/2021   93010       $75.00
1092375-02    A.P.             East Tremont Medical Center                 New Cpt Code 99072 Was Establishe…        2/6/2021   99072       $15.00
1092375-02    A.P.             East Tremont Medical Center                   Office Outpatient Visit 10 Minute…      2/6/2021   99212       $75.00
1092375-02    A.P.             East Tremont Medical Center                  Anesth Diagnostic Arthroscopic Pr…      2/10/2021    1382      $675.00
1092375-02    A.P.             East Tremont Medical Center                 Arthroscopy Knee Synovectomy 2/>C…       2/10/2021   29876      $900.00
1092375-02    A.P.             East Tremont Medical Center                 Arthroscopy Knee Synovectomy 2/>C…       2/10/2021   29876     $4,250.00
1092375-02    A.P.             East Tremont Medical Center                 Arthrs Knee Debridement/Shaving A…       2/10/2021   29877     $2,580.00
1092375-02    A.P.             East Tremont Medical Center                Arthrs Knee W/Meniscectomy Med&La…        2/10/2021   29880     $3,500.00
1092375-02    A.P.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       4/2/2021   62323      $976.38
1092375-02    A.P.             Surgicore of Jersey City LLC                          Epidurograpy Rs&I…              4/2/2021   72275      $572.53
1092375-02    A.P.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…       4/2/2021   A4649       $50.00

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                                                        1845
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                        Date of     Billing   Amount
                                      Provider                                     Service
 Number      Person                                                                                         Service     Code       Billed
1092375-02    A.P.            Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…   4/23/2021   22526     $2,605.78
1092375-02    A.P.            Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…   4/23/2021   22527     $2,605.78
1092375-02    A.P.            Surgicore of Jersey City LLC            Dcmprn Perq Nucleus Pulposus 1/> …    4/23/2021   62287     $5,292.93
1092375-02    A.P.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…    4/23/2021   A4649       $50.00
1092375-02    A.P.            Surgicore of Jersey City LLC            Probe, Percutaneous Lumbar Discec…    4/23/2021   C2614     $1,995.00
1092375-02    A.P.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 4/23/2021       E0650      $531.06
1092375-02    A.P.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …     4/23/2021   E0666       $89.56
1092375-02    A.P.            Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/11/2022   64493      $447.52
1092375-02    A.P.            Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/11/2022   64493      $976.38
1092375-02    A.P.            Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/11/2022   64494      $447.52
1092375-02    A.P.            Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/11/2022   64494      $447.52
1092375-02    A.P.            East Tremont Medical Center               Injection Single/Mlt Trigger Poin…  7/15/2022   20553      $473.38
1092375-02    A.P.            East Tremont Medical Center              Dstr Nrolytc Agnt Parverteb Fct S…   7/15/2022   64635      $976.75
1092375-02    A.P.            East Tremont Medical Center              Dstr Nrolytc Agnt Parverteb Fct A…   7/15/2022   64636      $447.52
1092375-02    A.P.            East Tremont Medical Center            Us Guidance Needle Placement Img …     7/15/2022   76942      $423.32
1092375-02    A.P.            East Tremont Medical Center             Fluor Needle/Cath Spine/Paraspina…    7/15/2022   77003      $573.53
1092375-02    A.P.            Surgicore of Jersey City LLC             Dstr Nrolytc Agnt Parverteb Fct S…   7/29/2022   64635      $976.38
1092375-02    A.P.            Surgicore of Jersey City LLC             Dstr Nrolytc Agnt Parverteb Fct A…   7/29/2022   64636      $447.52
1092375-02    A.P.            Surgicore of Jersey City LLC             Dstr Nrolytc Agnt Parverteb Fct A…   7/29/2022   64636      $447.52
1090665-02    K.D.         Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/13/2020   62321      $976.38
1090665-02    K.D.         Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   12/13/2020   A4649       $50.00
1090665-02    K.D.         Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…   1/5/2021   20552      $236.69
1090665-02    K.D.         Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/5/2021   62323      $976.38
1090665-02    K.D.         Rockaways ASC Development LLC             Us Guidance Needle Placement Img …      1/5/2021   76942      $341.96
1090665-02    K.D.         Rockaways ASC Development LLC              Infectious Agent Detection By Nuc…     1/5/2021   87635       $51.33
1090665-02    K.D.         Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     1/5/2021   A4649       $50.00
1090665-02    K.D.         Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…    2/7/2021   22526     $2,605.78
1090665-02    K.D.         Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…    2/7/2021   22527     $2,605.78
1090665-02    K.D.         Rockaways ASC Development LLC              Dcmprn Perq Nucleus Pulposus 1/> …     2/7/2021   62287     $5,292.93
1090665-02    K.D.         Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     2/7/2021   A4649       $50.00
1090665-02    K.D.            Surgicore of Jersey City LLC            Tenotomy Shoulder Area 1 Tendon…      5/22/2021   23405     $1,839.77
1090665-02    K.D.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…    5/22/2021   29821     $5,677.77
1090665-02    K.D.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…    5/22/2021   29823     $1,472.45
1090665-02    K.D.            Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …   5/22/2021   29825     $1,472.45
1090665-02    K.D.            Surgicore of Jersey City LLC           Arthroscopy Shoulder W/Coracoacrm… 5/22/2021       29826     $1,472.45
1090665-02    K.D.            Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …   5/22/2021   64415      $979.78
1090665-02    K.D.            Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …     5/22/2021   76942      $341.96
1090665-02    K.D.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…    5/22/2021   A4649       $50.00
1090665-02    K.D.            Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…   5/22/2021   L8699      $560.00
1090665-02    K.D.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 5/22/2021       E0650      $531.06
1090665-02    K.D.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …     5/22/2021   E0666       $89.56
1090665-02    K.D.         Rockaways ASC Development LLC                    Osteotomy Tibia & Fibula…       7/11/2021   27709      $940.42
1090665-02    K.D.         Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    7/11/2021   A4649       $50.00
1090665-02    K.D.         Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…   9/26/2021   22526     $2,605.78
1090665-02    K.D.         Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…   9/26/2021   22527     $2,605.78
1090665-02    K.D.         Rockaways ASC Development LLC              Injection Px Discogrphy Ea Lvl Ce…    9/26/2021   62291      $748.73
1090665-02    K.D.         Rockaways ASC Development LLC             Discectomy Ant Dcmprn Cord Cervic… 9/26/2021       63075     $6,402.03
1090665-02    K.D.         Rockaways ASC Development LLC             Discectomy Ant Dcmprn Cord Cervic… 9/26/2021       63076     $2,605.78
1090665-02    K.D.         Rockaways ASC Development LLC              Diskograpy Cervical/Thoracic Rs&I…    9/26/2021   72285      $962.54
1090665-02    K.D.         Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    9/26/2021   A4649       $50.00
1090582-01    A.K.             Citimed Surgery Center LLC             Dcmprn Perq Nucleus Pulposus 1/> …     8/4/2023   62287     $5,292.93
1090582-01    A.K.             Citimed Surgery Center LLC             Probe, Percutaneous Lumbar Discec…     8/4/2023   C2614     $1,237.50
1090582-01    A.K.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…    8/10/2023   29821     $5,677.77
1090582-01    A.K.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…    8/10/2023   29823     $1,472.45
1090582-01    A.K.            Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …   8/10/2023   29825     $1,472.45
1090582-01    A.K.            Surgicore of Jersey City LLC           Arthroscopy Shoulder W/Coracoacrm… 8/10/2023       29826     $1,472.45
1090582-01    A.K.            Surgicore of Jersey City LLC               Unlisted Procedure Arthroscopy…    8/10/2023   29999     $1,472.45
1090582-01    A.K.            Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …   8/10/2023   64415      $979.78
1090582-01    A.K.            Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …     8/10/2023   76942      $341.96
1090582-01    A.K.             Citimed Surgery Center LLC            Discectomy Ant Dcmprn Cord Cervic… 10/31/2023      63075     $6,402.03
1090582-01    A.K.             Citimed Surgery Center LLC             Probe, Percutaneous Lumbar Discec… 10/31/2023     C2614     $1,237.50
1090582-01    A.K.             Citimed Surgery Center LLC           Ndsc Dcmprn Spinal Cord 1 W/Lamot…       2/6/2024   62380     $6,402.03
1090582-01    A.K.             Citimed Surgery Center LLC             Probe, Percutaneous Lumbar Discec…     2/6/2024   C2614     $2,200.00
1091422-04    K.G.          Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…   7/13/2021   20610      $473.39
1091422-04    K.G.          Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi… 7/13/2021       29875     $1,472.45
1091422-04    K.G.          Fifth Avenue Surgery Center LLC         Arthrs Knee W/Meniscectomy Med&La… 7/13/2021        29880     $3,026.24
1091422-04    K.G.          Fifth Avenue Surgery Center LLC           Injection Anesthetic Agent Femora…    7/13/2021   64447      $829.30
1091422-04    K.G.          Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …     7/13/2021   76942      $341.96

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                                                           1846
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                          Provider                                     Service
 Number      Person                                                                                              Service     Code       Billed
1091422-04    K.G.            Fifth Avenue Surgery Center LLC                Surgical Supply; Miscellaneous…     7/13/2021   A4649       $50.00
1091422-04    K.G.            Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical, For …   7/13/2021   G0289     $1,472.45
1091422-04    K.G.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…      7/13/2021   E0650      $531.06
1091422-04    K.G.                     Good Medica Inc                   Nonsegmental Pneumatic Appliance …      7/13/2021   E0666       $89.56
1090628-01    S.H.     NYEEQASC LLC d/b/a North Queens Surgical Center     Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     1/8/2021   62321      $976.38
1090628-01    S.H.     NYEEQASC LLC d/b/a North Queens Surgical Center             Epidurograpy Rs&I…             1/8/2021   72275      $572.53
1090628-01    S.H.     NYEEQASC LLC d/b/a North Queens Surgical Center       Surgical Supply; Miscellaneous…      1/8/2021   A4649       $50.00
1090628-01    S.H.               Surgicore of Jersey City LLC              Perq Intrdscl Electrothrm Annulop…    6/11/2021   22526     $5,292.93
1090628-01    S.H.               Surgicore of Jersey City LLC              Perq Intrdscl Electrothrm Annulop…    6/11/2021   22527     $2,605.78
1090628-01    S.H.               Surgicore of Jersey City LLC             Unlisted Procedure Nervous System…     6/11/2021   64999      $373.98
1090628-01    S.H.               Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…     6/11/2021   A4649       $50.00
1090628-01    S.H.               Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…    6/11/2021   L8699     $1,495.00
1090628-01    S.H.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…      6/11/2021   E0650      $531.06
1090628-01    S.H.                     Good Medica Inc                   Nonsegmental Pneumatic Appliance …      6/11/2021   E0666       $89.56
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Surg Synovec…      1/4/2021   29821     $5,677.77
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Surg Debride…      1/4/2021   29823     $1,472.45
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center     Arthroscopy Shoulder Ahesiolysis …     1/4/2021   29825     $1,472.45
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder W/Coracoacrm…       1/4/2021   29826     $1,472.45
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center     Single Nerve Block Injection Arm …     1/4/2021   64415      $979.78
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Us Guidance Needle Placement Img …       1/4/2021   76942      $341.96
1090751-02    H.A.     NYEEQASC LLC d/b/a North Queens Surgical Center       Surgical Supply; Miscellaneous…      1/4/2021   A4649       $50.00
1090751-02    H.A.           Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/21/2021   62323      $976.38
1090751-02    H.A.           Rockaways ASC Development LLC                         Epidurograpy Rs&I…            2/21/2021   72275      $572.53
1090751-02    H.A.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…     2/21/2021   A4649       $50.00
1090751-02    H.A.          All City Family Healthcare Center, Inc.        Tenotomy Shoulder Area 1 Tendon…      2/28/2021   23405     $1,839.77
1090751-02    H.A.          All City Family Healthcare Center, Inc.       Arthroscopy Shoulder Surg Synovec…     2/28/2021   29821     $5,677.77
1090751-02    H.A.          All City Family Healthcare Center, Inc.       Arthroscopy Shoulder Surg Debride…     2/28/2021   29823     $1,472.45
1090751-02    H.A.          All City Family Healthcare Center, Inc.        Arthroscopy Shoulder Ahesiolysis …    2/28/2021   29825     $1,472.45
1090751-02    H.A.          All City Family Healthcare Center, Inc.        Single Nerve Block Injection Arm …    2/28/2021   64415      $979.78
1090751-02    H.A.          All City Family Healthcare Center, Inc.      Us Guidance Needle Placement Img …      2/28/2021   76942      $341.96
1090751-02    H.A.          All City Family Healthcare Center, Inc.          Surgical Supply; Miscellaneous…     2/28/2021   A4649       $72.00
1090751-02    H.A.           Rockaways ASC Development LLC                Dcmprn Perq Nucleus Pulposus 1/> …     3/14/2021   62287     $5,292.93
1090751-02    H.A.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…     3/14/2021   A4649       $50.00
1090751-02    H.A.           Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/18/2021   62321      $976.38
1090751-02    H.A.           Rockaways ASC Development LLC                         Epidurograpy Rs&I…            4/18/2021   72275      $572.53
1090751-02    H.A.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…     4/18/2021   A4649       $50.00
1090751-02    H.A.           Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     5/2/2021   62321      $976.38
1090751-02    H.A.           Rockaways ASC Development LLC                         Epidurograpy Rs&I…             5/2/2021   72275      $572.53
1090751-02    H.A.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…      5/2/2021   A4649       $50.00
1090751-02    H.A.                     Triborough ASC                     Dcmprn Perq Nucleus Pulposus 1/> …     7/23/2021   62287     $5,292.93
1090751-02    H.A.                     Triborough ASC                     Probe, Percutaneous Lumbar Discec…     7/23/2021   C2614      $800.00
1090841-01    F.O.                     Triborough ASC                      Perq Intrdscl Electrothrm Annulop…    3/29/2021   22526      $450.00
1090841-01    F.O.                     Triborough ASC                     Injection Px Discography Each Lev…     3/29/2021   62290      $450.00
1090841-01    F.O.                     Triborough ASC                     Transpedicular Dcmprn Spinal Cord…     3/29/2021   63056     $6,300.00
1090841-01    F.O.                     Triborough ASC                    Njx Anes&/Strd W/Img Tfrml Edrl L…      3/29/2021   64483      $750.00
1090841-01    F.O.                     Triborough ASC                      Fluor Needle/Cath Spine/Paraspina…    3/29/2021   77003      $225.00
1090841-01    F.O.                     Triborough ASC                         Glucose Blood Reagent Strip…       3/29/2021   82948       $20.00
1090841-01    F.O.                     Triborough ASC                    New Cpt Code 99072 Was Establishe…      3/29/2021   99072      $200.00
1090841-01    F.O.                     Triborough ASC                     Injection, Dexamethasone Sodium P…     3/29/2021   J1100       $52.64
1090841-01    F.O.                     Triborough ASC                               Unclassified Drugs…          3/29/2021   J3490       $40.64
1090841-01    F.O.                     Triborough ASC                     Low Osmolar Contrast Material, 10…     3/29/2021   Q9965       $13.90
1090841-01    F.O.         Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder Surg Synovec…     5/14/2021   29821     $5,677.77
1090841-01    F.O.         Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder Surg Debride…     5/14/2021   29823     $1,472.45
1090841-01    F.O.         Bronx SC LLC d/b/a Empire State ASC             Arthroscopy Shoulder Ahesiolysis …    5/14/2021   29825     $1,472.45
1090841-01    F.O.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder W/Coracoacrm…      5/14/2021   29826     $1,472.45
1090841-01    F.O.         Bronx SC LLC d/b/a Empire State ASC             Single Nerve Block Injection Arm …    5/14/2021   64415      $979.78
1090841-01    F.O.         Bronx SC LLC d/b/a Empire State ASC           Us Guidance Needle Placement Img …      5/14/2021   76942      $341.96
1090841-01    F.O.         Bronx SC LLC d/b/a Empire State ASC               Surgical Supply; Miscellaneous…     5/14/2021   A4649       $50.00
1090841-01    F.O.                     Triborough ASC                       Injection Single/Mlt Trigger Poin…   7/21/2021   20553      $554.74
1090841-01    F.O.                     Triborough ASC                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     7/21/2021   62323      $976.38
1090841-01    F.O.                     Triborough ASC                              Epidurograpy Rs&I…            7/21/2021   72275      $572.52
1090841-01    F.O.                     Triborough ASC                       Injection Single/Mlt Trigger Poin…   8/10/2021   20553      $554.74
1090841-01    F.O.                     Triborough ASC                      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/10/2021   62321      $976.38
1090841-01    F.O.                     Triborough ASC                              Epidurograpy Rs&I…            8/10/2021   72275      $572.52
1090841-01    F.O.                     Triborough ASC                       Injection Single/Mlt Trigger Poin…   10/6/2021   20553      $554.74
1090841-01    F.O.                     Triborough ASC                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     10/6/2021   62323      $976.38
1090841-01    F.O.                     Triborough ASC                              Epidurograpy Rs&I…            10/6/2021   72275      $572.52
1090841-01    F.O.                     Triborough ASC                       Injection Single/Mlt Trigger Poin…   12/3/2021   20553      $554.74

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                                                          1847
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                        Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1090841-01    F.O.                    Triborough ASC                      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/3/2021   62323      $976.38
1090841-01    F.O.                    Triborough ASC                              Epidurograpy Rs&I…           12/3/2021   72275      $572.52
1090841-01    F.O.                    Triborough ASC                       Injection Single/Mlt Trigger Poin…   2/4/2022   20553      $554.74
1090841-01    F.O.                    Triborough ASC                      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/4/2022   62321      $976.38
1090841-01    F.O.                      SCOB LLC                          Njx Pltlt Plasma W/Img Harvest/Pr…   2/16/2022   0232T      $875.92
1090841-01    F.O.                      SCOB LLC                         Arthroscopy Knee Synovectomy 2/>C… 2/16/2022      29876     $3,026.24
1090841-01    F.O.                      SCOB LLC                        Arthrs Knee W/Meniscectomy Med&La… 2/16/2022       29880     $2,944.87
1090937-01    J.B.          Rockaways ASC Development LLC                  Perq Intrdscl Electrothrm Annulop…  1/26/2021   22526     $2,605.78
1090937-01    J.B.          Rockaways ASC Development LLC                 Dcmprn Perq Nucleus Pulposus 1/> …   1/26/2021   62287     $5,292.93
1090937-01    J.B.          Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…    1/26/2021   A4649       $50.00
1090937-01    J.B.               Hudson Regional Hospital                 Infectious Agent Detection By Nuc…    4/5/2021   87635     $1,200.00
1090937-01    J.B.                      SCOB LLC                          Arthroscopy Shoulder Surgical Rep…    4/9/2021   29807     $5,677.77
1090937-01    J.B.                      SCOB LLC                          Arthroscopy Shoulder Surg Synovec…    4/9/2021   29821     $5,596.40
1090937-01    J.B.                      SCOB LLC                         Arthroscopy Shoulder W/Coracoacrm…     4/9/2021   29826     $2,944.87
1090937-01    J.B.                      SCOB LLC                         Anchor/Screw For Opposing Bone-To…     4/9/2021   C1713     $1,113.00
1090347-02    A.R.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Synovec…   1/23/2021   29821     $5,677.77
1090347-02    A.R.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Debride…   1/23/2021   29823     $1,472.45
1090347-02    A.R.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …   1/23/2021   29825     $1,472.45
1090347-02    A.R.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder W/Coracoacrm… 1/23/2021      29826     $1,472.45
1090347-02    A.R.           Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …   1/23/2021   64415      $979.78
1090347-02    A.R.           Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …    1/23/2021   76942      $341.96
1090347-02    A.R.           Fifth Avenue Surgery Center LLC                Surgical Supply; Miscellaneous…    1/23/2021   A4649       $50.00
1090347-02    A.R.           Island Ambulatory Surgery Center              Injection Single/Mlt Trigger Poin…  4/28/2021   20553      $277.37
1090347-02    A.R.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/28/2021   62323      $976.38
1090347-02    A.R.           Island Ambulatory Surgery Center                     Epidurograpy Rs&I…           4/28/2021   72275      $572.52
1090347-04    A.M.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Synovec…   1/23/2021   29821     $5,677.77
1090347-04    A.M.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Debride…   1/23/2021   29823     $1,472.45
1090347-04    A.M.           Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …   1/23/2021   64415      $979.78
1090347-04    A.M.           Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …    1/23/2021   76942      $341.96
1090347-04    A.M.           Fifth Avenue Surgery Center LLC                Surgical Supply; Miscellaneous…    1/23/2021   A4649       $50.00
1090347-04    A.M.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/31/2021   62323      $976.38
1090347-04    A.M.           Island Ambulatory Surgery Center                     Epidurograpy Rs&I…           3/31/2021   72275      $572.52
1090347-04    A.M.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/24/2021   62323      $976.38
1090347-04    A.M.           Island Ambulatory Surgery Center                     Epidurograpy Rs&I…          11/24/2021   72275      $572.52
1091174-02    K.R.              Surgicore of Jersey City LLC             Arthroscopy Knee Synovectomy 2/>C…     2/3/2021   29876     $1,472.45
1091174-02    K.R.              Surgicore of Jersey City LLC              Arthrs Knee Abrasion Arthrp/Mlt D…    2/3/2021   29879     $1,472.45
1091174-02    K.R.              Surgicore of Jersey City LLC            Arthrs Knee W/Meniscectomy Med&La… 2/3/2021        29880     $3,026.24
1091174-02    K.R.              Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…     2/3/2021   29999     $1,472.45
1091174-02    K.R.              Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…     2/3/2021   A4649       $50.00
1091174-02    K.R.              Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…   2/3/2021   L8699      $195.00
1091174-02    K.R.              Surgicore of Jersey City LLC             Arthroscopy Knee Synovectomy 2/>C… 2/24/2021      29876     $1,472.45
1091174-02    K.R.              Surgicore of Jersey City LLC            Arthrs Knee W/Meniscectomy Med&La… 2/24/2021       29880     $3,026.24
1091174-02    K.R.              Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…    2/24/2021   29999     $1,472.45
1091174-02    K.R.              Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…    2/24/2021   A4649       $50.00
1091174-02    K.R.              Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…  2/24/2021   L8699      $195.00
1091174-02    K.R.                    Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 2/24/2021      E0650      $531.06
1091174-02    K.R.                    Good Medica Inc                    Nonsegmental Pneumatic Appliance …    2/24/2021   E0666       $89.56
1091174-02    K.R.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Synovec…   4/13/2021   29821     $2,798.20
1091174-02    K.R.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Debride…   4/13/2021   29823     $1,472.45
1091174-02    K.R.        All City Family Healthcare Center, Inc.        Arthroscopy Shoulder W/Coracoacrm… 4/13/2021      29826     $1,472.45
1091174-02    K.R.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Rotator Cuff…   4/13/2021   29827     $5,677.77
1091174-02    K.R.        All City Family Healthcare Center, Inc.         Single Nerve Block Injection Arm …   4/13/2021   64415      $979.78
1091174-02    K.R.        All City Family Healthcare Center, Inc.        Us Guidance Needle Placement Img …    4/13/2021   76942      $341.96
1091174-02    K.R.        All City Family Healthcare Center, Inc.           Surgical Supply; Miscellaneous…    4/13/2021   A4649       $72.00
1091174-02    K.R.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Synovec…   5/18/2021   29821     $2,798.20
1091174-02    K.R.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Debride…   5/18/2021   29823     $1,472.45
1091174-02    K.R.        All City Family Healthcare Center, Inc.        Arthroscopy Shoulder W/Coracoacrm… 5/18/2021      29826     $1,472.45
1091174-02    K.R.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Rotator Cuff…   5/18/2021   29827     $5,677.77
1091174-02    K.R.        All City Family Healthcare Center, Inc.         Single Nerve Block Injection Arm …   5/18/2021   64415      $979.78
1091174-02    K.R.        All City Family Healthcare Center, Inc.        Us Guidance Needle Placement Img …    5/18/2021   76942      $341.96
1091174-02    K.R.        All City Family Healthcare Center, Inc.           Surgical Supply; Miscellaneous…    5/18/2021   A4649       $72.00
1090172-01    S.M.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Shoulder Surg Synovec…    2/8/2021   29821     $5,677.77
1090172-01    S.M.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Shoulder Surg Debride…    2/8/2021   29823     $1,472.45
1090172-01    S.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Arthroscopy Shoulder Distal Clavi…   2/8/2021   29824     $1,472.45
1090172-01    S.M.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Shoulder Ahesiolysis …    2/8/2021   29825     $1,472.45
1090172-01    S.M.     Surgicore LLC d/b/a Surgicore Surgical Center     Arthroscopy Shoulder W/Coracoacrm…     2/8/2021   29826     $1,472.45
1090172-01    S.M.     Surgicore LLC d/b/a Surgicore Surgical Center        Unlisted Procedure Arthroscopy…     2/8/2021   29999     $1,472.45
1090172-01    S.M.     Surgicore LLC d/b/a Surgicore Surgical Center      Single Nerve Block Injection Arm …    2/8/2021   64415      $979.78

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  Claim      Covered                                                                                           Date of     Billing   Amount
                                        Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1090172-01    S.M.     Surgicore LLC d/b/a Surgicore Surgical Center     Us Guidance Needle Placement Img …     2/8/2021   76942      $341.96
1090172-01    S.M.     Surgicore LLC d/b/a Surgicore Surgical Center      Infectious Agent Detection By Nuc…    2/8/2021   87635       $51.33
1090172-01    S.M.     Surgicore LLC d/b/a Surgicore Surgical Center        Surgical Supply; Miscellaneous…     2/8/2021   A4649       $50.00
1090172-01    S.M.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/17/2021   62321      $976.38
1090172-01    S.M.           Island Ambulatory Surgery Center                     Epidurograpy Rs&I…           3/17/2021   72275      $572.52
1093326-02    S.P.           Fifth Avenue Surgery Center LLC               Arthrocentesis Aspir&/Inj Major J…   5/4/2021   20610      $473.39
1093326-02    S.P.           Fifth Avenue Surgery Center LLC             Arthroscopy Knee Synovectomy Limi…     5/4/2021   29875     $1,472.45
1093326-02    S.P.           Fifth Avenue Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La… 5/4/2021        29880     $3,026.24
1093326-02    S.P.           Fifth Avenue Surgery Center LLC              Injection Anesthetic Agent Femora…    5/4/2021   64447      $829.30
1093326-02    S.P.           Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …     5/4/2021   76942      $341.96
1093326-02    S.P.           Fifth Avenue Surgery Center LLC                Surgical Supply; Miscellaneous…     5/4/2021   A4649       $50.00
1093326-02    S.P.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical, For …   5/4/2021   G0289     $1,472.45
1093326-02    S.P.                    Good Medica Inc                    Pneumatic Compressor, Nonsegmenta…     5/4/2021   E0650      $531.06
1093326-02    S.P.                    Good Medica Inc                    Nonsegmental Pneumatic Appliance …     5/4/2021   E0666       $89.56
1090149-05    A.A.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Synovec…   3/17/2022   29821     $5,677.77
1090149-05    A.A.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Debride…   3/17/2022   29823     $1,472.45
1090149-05    A.A.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Ahesiolysis …  3/17/2022   29825     $1,472.45
1090149-05    A.A.        All City Family Healthcare Center, Inc.        Arthroscopy Shoulder W/Coracoacrm… 3/17/2022      29826     $1,472.45
1090149-05    A.A.        All City Family Healthcare Center, Inc.          Single Nerve Block Injection Arm …  3/17/2022   64415      $979.78
1090149-05    A.A.        All City Family Healthcare Center, Inc.        Us Guidance Needle Placement Img …    3/17/2022   76942      $341.96
1090149-05    A.A.                    Triborough ASC                       Perq Intrdscl Electrothrm Annulop…  7/18/2022   22526     $2,648.32
1090149-05    A.A.                    Triborough ASC                      Dcmprn Perq Nucleus Pulposus 1/> …   7/18/2022   62287     $5,296.65
1090149-05    A.A.                    Triborough ASC                      Probe, Percutaneous Lumbar Discec…   7/18/2022   C2614      $800.00
1090066-01    K.A.             Manalapan Surgery Center Inc               Arthroscopy Shoulder Surg Synovec…   3/16/2021   29821     $5,677.77
1090066-01    K.A.             Manalapan Surgery Center Inc               Arthroscopy Shoulder Surg Debride…   3/16/2021   29823     $1,472.45
1090066-01    K.A.             Manalapan Surgery Center Inc                Arthroscopy Shoulder Ahesiolysis …  3/16/2021   29825     $1,472.45
1090066-01    K.A.             Manalapan Surgery Center Inc                 Unlisted Procedure Arthroscopy…    3/16/2021   29999     $1,472.45
1090066-01    K.A.             Manalapan Surgery Center Inc                Single Nerve Block Injection Arm …  3/16/2021   64415      $979.78
1090066-01    K.A.             Manalapan Surgery Center Inc              Us Guidance Needle Placement Img …    3/16/2021   76942      $341.96
1090066-01    K.A.             Manalapan Surgery Center Inc                 Surgical Supply; Miscellaneous…    3/16/2021   A4649       $50.00
1090066-01    K.A.                    Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 3/16/2021      E0650      $531.06
1090066-01    K.A.                    Good Medica Inc                    Nonsegmental Pneumatic Appliance …    3/16/2021   E0666       $89.56
1090110-02    S.J.              Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Synovec…   1/15/2021   29821     $2,798.20
1090110-02    S.J.              Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Debride…   1/15/2021   29823     $1,472.45
1090110-02    S.J.              Surgicore of Jersey City LLC             Arthroscopy Shoulder W/Coracoacrm… 1/15/2021      29826     $1,472.45
1090110-02    S.J.              Surgicore of Jersey City LLC              Arthroscopy Shoulder Rotator Cuff…   1/15/2021   29827     $5,677.77
1090110-02    S.J.              Surgicore of Jersey City LLC               Single Nerve Block Injection Arm …  1/15/2021   64415      $979.78
1090110-02    S.J.              Surgicore of Jersey City LLC             Us Guidance Needle Placement Img …    1/15/2021   76942      $341.96
1090110-02    S.J.              Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…    1/15/2021   A4649       $50.00
1090110-02    S.J.              Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…  1/15/2021   L8699     $1,454.68
1090110-02    S.J.              Surgicore of Jersey City LLC             Arthroscopy Knee Synovectomy 2/>C… 2/26/2021      29876     $3,026.24
1090110-02    S.J.              Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…    2/26/2021   A4649       $50.00
1090110-02    S.J.              Surgicore of Jersey City LLC               Arthroscopy, Knee, Surgical, For …  2/26/2021   G0289     $1,472.45
1090110-02    S.J.              Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…  2/26/2021   L8699      $355.00
1090110-02    S.J.                    Good Medica Inc                     Cane, Quad Or Three-Prong, Includ…   2/26/2021   E0105       $18.75
1090110-02    S.J.                    Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 2/26/2021      E0650      $531.06
1090110-02    S.J.                    Good Medica Inc                    Nonsegmental Pneumatic Appliance …    2/26/2021   E0666       $89.56
1089882-03    M.V.              Surgicore of Jersey City LLC             Arthroscopy Knee Synovectomy 2/>C…     5/3/2021   29876     $1,472.45
1089882-03    M.V.              Surgicore of Jersey City LLC              Arthrs Knee Abrasion Arthrp/Mlt D…    5/3/2021   29879     $1,472.45
1089882-03    M.V.              Surgicore of Jersey City LLC            Arthroscopy Knee W/Meniscus Rpr M… 5/3/2021        29882     $3,026.24
1089882-03    M.V.              Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…     5/3/2021   A4649       $50.00
1089882-03    M.V.              Surgicore of Jersey City LLC               Arthroscopy, Knee, Surgical, For …   5/3/2021   G0289     $1,472.45
1089882-03    M.V.              Surgicore of Jersey City LLC               Arthroscopy, Knee, Surgical, For …   5/3/2021   G0289     $1,472.45
1089882-03    M.V.              Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…   5/3/2021   L8699      $806.00
1089882-03    M.V.                    Good Medica Inc                    Pneumatic Compressor, Nonsegmenta…     5/3/2021   E0650      $531.06
1089882-03    M.V.                    Good Medica Inc                    Nonsegmental Pneumatic Appliance …     5/3/2021   E0666       $89.56
1091362-01    J.B.              East Tremont Medical Center               Anesthesia Perq Image Guided Spin…   4/12/2021    1936      $297.10
1091362-01    J.B.              East Tremont Medical Center                Perq Intrdscl Electrothrm Annulop…  4/12/2021   22526     $5,030.00
1091362-01    J.B.              East Tremont Medical Center               Dcmprn Perq Nucleus Pulposus 1/> …   4/12/2021   62287     $2,625.00
1091362-01    J.B.              East Tremont Medical Center               Dcmprn Perq Nucleus Pulposus 1/> …   4/12/2021   62287     $5,100.00
1091362-01    J.B.              East Tremont Medical Center               Injection Px Discography Each Lev…   4/12/2021   62290     $4,870.00
1091362-01    J.B.              East Tremont Medical Center               Njx Arterial Occlusion Arven Malf…   4/12/2021   62294     $4,760.00
1091362-01    J.B.              East Tremont Medical Center              Njx Anes&/Strd W/Img Tfrml Edrl L… 4/12/2021      64483     $3,645.00
1091362-01    J.B.              East Tremont Medical Center              Njx Anes&/Strd W/Img Tfrml Edrl L… 4/12/2021      64484     $1,500.00
1091362-01    J.B.              East Tremont Medical Center               Fluor Needle/Cath Spine/Paraspina…   4/12/2021   77003     $4,500.00
1091362-01    J.B.              East Tremont Medical Center               Infectious Agent Detection By Nuc…   4/12/2021   87635      $550.00
1091362-01    J.B.              East Tremont Medical Center               Office Consultation New/Estab Pat…   4/12/2021   99241      $135.00
1091362-01    J.B.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surgical Cap…  10/15/2021   29806     $5,596.40

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                                                          1849
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1091362-01    J.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…     10/15/2021   29821     $2,798.20
1091362-01    J.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …     10/15/2021   29825     $1,472.45
1091362-01    J.B.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…      10/15/2021   29826     $1,472.45
1091362-01    J.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Rotator Cuff…     10/15/2021   29827     $6,723.47
1091362-01    J.B.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…     10/15/2021   29999     $1,553.82
1091362-01    J.B.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …     10/15/2021   64415      $979.78
1091362-01    J.B.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …      10/15/2021   76942      $341.96
1091362-01    J.B.        All City Family Healthcare Center, Inc.           Infectious Agent Detection By Nuc…     10/15/2021   87635       $51.33
1090026-01    S.C.          Fifth Avenue Surgery Center LLC                 Arthroscopy Wrist Surgical Synove…      9/17/2021   29845     $3,026.24
1090026-01    S.C.          Fifth Avenue Surgery Center LLC                 Arthrs Wrst Exc&/Rpr Triang Fibro…      9/17/2021   29846     $1,472.45
1090026-01    S.C.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …      9/17/2021   64415      $979.78
1090026-01    S.C.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …       9/17/2021   76942      $341.96
1090026-01    S.C.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…      9/17/2021   A4649       $50.00
1090026-01    S.C.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       9/17/2021   e0650      $531.06
1090026-01    S.C.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       9/17/2021   e0666       $89.56
1090518-02    G.M.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…     2/23/2022   22526     $5,292.93
1090518-02    G.M.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…     2/23/2022   22527     $2,605.78
1090518-02    G.M.         Rockaways ASC Development LLC                    Unlisted Procedure Nervous System…      2/23/2022   64999      $747.93
1090518-02    G.M.        Health East Ambulatory Surgical Center           Arthroscopy Ankle W/Removal Loose…        3/7/2022   29894     $1,998.86
1090518-02    G.M.        Health East Ambulatory Surgical Center            Arthroscopy Ankle Surgical Synove…       3/7/2022   29895     $1,998.86
1090518-02    G.M.        Health East Ambulatory Surgical Center            Arthroscopy Ankle Surgical Debrid…       3/7/2022   29898     $3,997.71
1090518-02    G.M.        Health East Ambulatory Surgical Center               Unlisted Procedure Arthroscopy…       3/7/2022   29999     $1,998.86
1090518-02    G.M.        Health East Ambulatory Surgical Center              Injection Anesthetic Agent Sciati…     3/7/2022   64445     $1,000.00
1090518-02    G.M.        Health East Ambulatory Surgical Center            Injection Anesthetic Agent Femora…       3/7/2022   64447     $1,000.00
1090592-02    A.M.           Parkway Ambulatory Surgery Ce                 Njx Anes&/Strd W/Img Tfrml Edrl L…       3/16/2021   64483     $1,518.48
1090592-02    A.M.           Parkway Ambulatory Surgery Ce                 Njx Anes&/Strd W/Img Tfrml Edrl L…       3/16/2021   64484     $1,518.48
1090592-02    A.M.           Parkway Ambulatory Surgery Ce                           Epidurograpy Rs&I…             3/16/2021   72275     $1,200.00
1090592-02    A.M.           Parkway Ambulatory Surgery Ce                 Njx Anes&/Strd W/Img Tfrml Edrl L…       3/31/2021   64483     $1,518.48
1090592-02    A.M.           Parkway Ambulatory Surgery Ce                 Njx Anes&/Strd W/Img Tfrml Edrl L…       3/31/2021   64484     $1,518.48
1090592-02    A.M.           Parkway Ambulatory Surgery Ce                           Epidurograpy Rs&I…             3/31/2021   72275     $1,200.00
1090592-02    A.M.           Parkway Ambulatory Surgery Ce                 Njx Anes&/Strd W/Img Tfrml Edrl L…       4/13/2021   64483     $1,518.48
1090592-02    A.M.           Parkway Ambulatory Surgery Ce                 Njx Anes&/Strd W/Img Tfrml Edrl L…       4/13/2021   64484     $1,518.48
1090592-02    A.M.           Parkway Ambulatory Surgery Ce                           Epidurograpy Rs&I…             4/13/2021   72275     $1,200.00
1090592-02    A.M.          New Horizon Surgical Center LLC                 Arthroscopy Wrist Surgical Synove…      7/21/2021   29845     $1,472.45
1090592-02    A.M.          New Horizon Surgical Center LLC                 Arthrs Wrst Exc&/Rpr Triang Fibro…      7/21/2021   29846     $3,026.24
1090592-02    A.M.          New Horizon Surgical Center LLC                    Unlisted Procedure Arthroscopy…      7/21/2021   29999     $1,472.45
1090592-02    A.M.          New Horizon Surgical Center LLC                 Single Nerve Block Injection Arm …      7/21/2021   64415      $979.78
1090592-02    A.M.          New Horizon Surgical Center LLC                Us Guidance Needle Placement Img …       7/21/2021   76942      $341.96
1090592-02    A.M.          New Horizon Surgical Center LLC                    Surgical Supply; Miscellaneous…      7/21/2021   A4649       $50.00
1090592-02    A.M.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       7/21/2021   E0650      $531.06
1090592-02    A.M.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       7/21/2021   E0666       $89.56
1090430-01    W.A.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      2/24/2021   62323      $976.38
1090430-01    W.A.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…             2/24/2021   72275      $572.52
1090430-01    W.A.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surg Synovec…       3/3/2021   29821     $5,677.77
1090430-01    W.A.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surg Debride…       3/3/2021   29823     $1,472.45
1090430-01    W.A.          New Horizon Surgical Center LLC                   Injection Anesthetic Agent Sciati…     3/3/2021   64445      $976.38
1090430-01    W.A.          New Horizon Surgical Center LLC                Us Guidance Needle Placement Img …        3/3/2021   76942      $341.96
1090430-01    W.A.          New Horizon Surgical Center LLC                    Surgical Supply; Miscellaneous…       3/3/2021   A4649       $50.00
1090430-01    W.A.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       4/6/2021   62321      $976.38
1090430-01    W.A.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…              4/6/2021   72275      $572.52
1090430-01    W.A.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      7/13/2021   62323      $976.38
1090430-01    W.A.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…             7/13/2021   72275      $572.52
1089426-01    M.K.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…      4/14/2021   29823     $1,472.45
1089426-01    M.K.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …      4/14/2021   29825     $1,472.45
1089426-01    M.K.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Rotator Cuff…      4/14/2021   29827     $5,677.77
1089426-01    M.K.             Surgicore of Jersey City LLC                    Unlisted Procedure Arthroscopy…      4/14/2021   29999     $1,472.45
1089426-01    M.K.             Surgicore of Jersey City LLC                    Unlisted Procedure Arthroscopy…      4/14/2021   29999     $1,472.45
1089426-01    M.K.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …      4/14/2021   64415      $979.78
1089426-01    M.K.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …       4/14/2021   76942      $341.96
1089426-01    M.K.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…      4/14/2021   A4649       $50.00
1089426-01    M.K.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…     4/14/2021   L8699     $1,130.92
1089426-01    M.K.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       4/14/2021   E0650      $531.06
1089426-01    M.K.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       4/14/2021   E0666       $89.56
1089433-01    J.E.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…     1/20/2022   20610      $473.39
1089433-01    J.E.          Fifth Avenue Surgery Center LLC                 Tenotomy Shoulder Multiple Thru S…      1/20/2022   23406     $1,839.77
1089433-01    J.E.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…      1/20/2022   29821     $5,677.77
1089433-01    J.E.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…      1/20/2022   29823     $1,472.45
1089433-01    J.E.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…      1/20/2022   29823     $1,472.45

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                                                        1850
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                         Date of     Billing   Amount
                                      Provider                                     Service
 Number      Person                                                                                          Service     Code       Billed
1089433-01    J.E.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…     1/20/2022   29823     $1,472.45
1089433-01    J.E.          Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    1/20/2022   64415      $979.78
1089433-01    J.E.          Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …      1/20/2022   76942      $341.96
1089433-01    J.E.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      1/20/2022   E0650      $531.06
1089433-01    J.E.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …      1/20/2022   E0666       $89.56
1089292-01    A.C.                     SCOB LLC                         Injection Single/Mlt Trigger Poin…   1/18/2021   20553      $473.39
1089292-01    A.C.                     SCOB LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/18/2021   64490     $1,423.89
1089292-01    A.C.                     SCOB LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/18/2021   64491     $1,342.52
1089292-01    A.C.          Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi…      5/16/2022   29875     $1,472.45
1089292-01    A.C.          Fifth Avenue Surgery Center LLC         Arthrs Knee W/Meniscectomy Med&La…       5/16/2022   29880     $3,026.24
1089851-01    O.K.          Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…    3/16/2021   20610      $473.39
1089851-01    O.K.          Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi…      3/16/2021   29875     $1,472.45
1089851-01    O.K.          Fifth Avenue Surgery Center LLC         Arthrs Kne Surg W/Meniscectomy Me…       3/16/2021   29881     $3,026.24
1089851-01    O.K.          Fifth Avenue Surgery Center LLC           Injection Anesthetic Agent Femora…     3/16/2021   64447      $829.30
1089851-01    O.K.          Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …      3/16/2021   76942      $341.96
1089851-01    O.K.          Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…     3/16/2021   A4649       $50.00
1089851-01    O.K.                  Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      3/16/2021   E0650      $531.06
1089851-01    O.K.                  Good Medica Inc                  Nonsegmental Pneumatic Appliance …      3/16/2021   E0666       $89.56
1091591-01    J.Q.            Surgicore of Jersey City LLC              Injection Single/Mlt Trigger Poin…    1/5/2021   20553      $236.69
1091591-01    J.Q.            Surgicore of Jersey City LLC           Njx Anes&/Strd W/Img Tfrml Edrl L…       1/5/2021   64483      $447.52
1091591-01    J.Q.            Surgicore of Jersey City LLC           Njx Anes&/Strd W/Img Tfrml Edrl L…       1/5/2021   64483      $976.38
1091591-01    J.Q.            Surgicore of Jersey City LLC           Njx Anes&/Strd W/Img Tfrml Edrl L…       1/5/2021   64484      $447.52
1091591-01    J.Q.            Surgicore of Jersey City LLC           Njx Anes&/Strd W/Img Tfrml Edrl L…       1/5/2021   64484      $447.52
1091591-01    J.Q.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…      1/5/2021   A4649       $50.00
1091591-01    J.Q.             Citimed Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/12/2021   64493     $1,423.89
1091591-01    J.Q.             Citimed Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/12/2021   64494     $1,342.52
1091591-01    J.Q.             Citimed Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/12/2021   64495     $1,342.52
1089744-03    O.M.                Barnert Surgical Center               Injection Single/Mlt Trigger Poin…   1/16/2021   20553      $161.46
1089744-03    O.M.                Barnert Surgical Center              Arthrocentesis Aspir&/Inj Major J…    1/16/2021   20610      $236.92
1089744-03    O.M.                Barnert Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     1/16/2021   62321     $1,518.48
1089744-03    O.M.                Barnert Surgical Center               Injection Single/Mlt Trigger Poin…   1/30/2021   20553      $161.46
1089744-03    O.M.                Barnert Surgical Center              Arthrocentesis Aspir&/Inj Major J…    1/30/2021   20610      $236.92
1089744-03    O.M.                Barnert Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     1/30/2021   62321     $1,518.48
1089744-03    O.M.                Barnert Surgical Center               Injection Single/Mlt Trigger Poin…   2/20/2021   20553      $161.46
1089744-03    O.M.                Barnert Surgical Center               Injection Single/Mlt Trigger Poin…   2/20/2021   20553      $161.46
1089744-03    O.M.                Barnert Surgical Center              Arthrocentesis Aspir&/Inj Major J…    2/20/2021   20610      $236.92
1089744-03    O.M.                Barnert Surgical Center              Arthrocentesis Aspir&/Inj Major J…    2/20/2021   20610      $236.92
1089744-03    O.M.                Barnert Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/20/2021   62321     $1,518.48
1089744-03    O.M.                Barnert Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/20/2021   62321     $1,518.48
1089744-03    O.M.         Rockaways ASC Development LLC             Arthroscopy Knee Synovectomy Limi…      4/21/2021   29875     $1,472.45
1089744-03    O.M.         Rockaways ASC Development LLC            Arthrs Kne Surg W/Meniscectomy Me…       4/21/2021   29881     $3,026.24
1089744-03    O.M.         Rockaways ASC Development LLC                 Unlisted Procedure Arthroscopy…     4/21/2021   29999     $1,472.45
1089744-03    O.M.         Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     4/21/2021   A4649       $50.00
1089744-03    O.M.              Hudson Regional Hospital              Infectious Agent Detection By Nuc…      6/5/2021   87635     $1,200.00
1089744-03    O.M.                     SCOB LLC                        Perq Intrdscl Electrothrm Annulop…     6/9/2021   22526     $5,211.56
1089744-03    O.M.                     SCOB LLC                       Dcmprn Perq Nucleus Pulposus 1/> …      6/9/2021   62287     $5,292.93
1089744-03    O.M.                     SCOB LLC                       Probe, Percutaneous Lumbar Discec…      6/9/2021   C2614     $2,200.00
1089181-01    R.V.            Surgicore of Jersey City LLC              Injection Single/Mlt Trigger Poin…   2/20/2021   20553      $236.69
1089181-01    R.V.            Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/20/2021   62323      $976.38
1089181-01    R.V.            Surgicore of Jersey City LLC                     Epidurograpy Rs&I…            2/20/2021   72275      $572.53
1089181-01    R.V.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     2/20/2021   A4649       $50.00
1089181-01    R.V.            Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      3/6/2021   62323      $976.38
1089181-01    R.V.            Surgicore of Jersey City LLC                     Epidurograpy Rs&I…             3/6/2021   72275      $572.53
1089181-01    R.V.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…      3/6/2021   A4649       $50.00
1089181-01    R.V.            Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/19/2021   62323      $976.38
1089181-01    R.V.            Surgicore of Jersey City LLC                     Epidurograpy Rs&I…            3/19/2021   72275      $572.53
1089181-01    R.V.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     3/19/2021   A4649       $50.00
1089181-01    R.V.            Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv…     4/3/2021   64490      $447.52
1089181-01    R.V.            Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv…     4/3/2021   64490      $976.38
1089181-01    R.V.            Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv…     4/3/2021   64491      $447.52
1089181-01    R.V.            Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv…     4/3/2021   64491      $447.52
1089181-01    R.V.            Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv…     4/3/2021   64492      $447.52
1089181-01    R.V.            Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv…     4/3/2021   64492      $447.52
1089181-01    R.V.            Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…      4/3/2021   A4649       $50.00
1089181-01    R.V.            Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/17/2021   64490      $447.52
1089181-01    R.V.            Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/17/2021   64490      $976.38
1089181-01    R.V.            Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/17/2021   64491      $447.52
1089181-01    R.V.            Surgicore of Jersey City LLC             Njx Dx/Ther Agt Pvrt Facet Jt Crv…    4/17/2021   64491      $447.52

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                                                          1851
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                          Service
 Number      Person                                                                                                 Service     Code       Billed
1089181-01    R.V.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     4/17/2021   64492      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     4/17/2021   64492      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                     Surgical Supply; Miscellaneous…     4/17/2021   A4649       $50.00
1089181-01    R.V.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct S…      5/1/2021   64633      $976.38
1089181-01    R.V.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct A…      5/1/2021   64634      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct A…      5/1/2021   64634      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                     Surgical Supply; Miscellaneous…      5/1/2021   A4649       $50.00
1089181-01    R.V.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct S…     5/15/2021   64633      $976.38
1089181-01    R.V.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct A…     5/15/2021   64634      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct A…     5/15/2021   64634      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                     Surgical Supply; Miscellaneous…     5/15/2021   A4649       $50.00
1089181-01    R.V.             Surgicore of Jersey City LLC                 Dcmprn Perq Nucleus Pulposus 1/> …      6/12/2021   62287     $5,292.93
1089181-01    R.V.             Surgicore of Jersey City LLC                     Surgical Supply; Miscellaneous…     6/12/2021   A4649       $50.00
1089181-01    R.V.             Surgicore of Jersey City LLC                 Probe, Percutaneous Lumbar Discec…      6/12/2021   C2614     $1,250.00
1089181-01    R.V.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       6/12/2021   E0650      $531.06
1089181-01    R.V.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       6/12/2021   E0666       $89.56
1089181-01    R.V.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/31/2021   64493      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/31/2021   64493      $976.38
1089181-01    R.V.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/31/2021   64494      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/31/2021   64494      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/31/2021   64495      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/31/2021   64495      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                     Surgical Supply; Miscellaneous…     7/31/2021   A4649       $50.00
1089181-01    R.V.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/14/2021   64493      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/14/2021   64493      $976.38
1089181-01    R.V.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/14/2021   64494      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/14/2021   64494      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/14/2021   64495      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/14/2021   64495      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                     Surgical Supply; Miscellaneous…     8/14/2021   A4649       $50.00
1089181-01    R.V.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct S…      9/4/2021   64635      $976.38
1089181-01    R.V.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct A…      9/4/2021   64636      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct A…      9/4/2021   64636      $447.52
1089181-01    R.V.             Surgicore of Jersey City LLC                     Surgical Supply; Miscellaneous…      9/4/2021   A4649       $50.00
1088986-02    R.R.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      3/21/2021   64493     $1,000.00
1088986-02    R.R.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      3/21/2021   64494     $1,000.00
1088986-02    R.R.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      3/21/2021   64495     $1,000.00
1088986-02    R.R.                   Triborough ASC                          Fluor Needle/Cath Spine/Paraspina…     3/21/2021   77003      $225.00
1088986-02    R.R.                   Triborough ASC                              Glucose Blood Reagent Strip…       3/21/2021   82948       $20.00
1088986-02    R.R.                   Triborough ASC                         Injection, Dexamethasone Sodium P…      3/21/2021   J1100       $52.64
1088986-02    R.R.                   Triborough ASC                            Injection, Lidocaine Hcl For Intr…   3/21/2021   J2001       $10.00
1088986-02    R.R.                   Triborough ASC                           Injection Single/Mlt Trigger Poin…     5/7/2021   20553      $225.00
1088986-02    R.R.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       5/7/2021   62323     $1,550.00
1088986-02    R.R.                   Triborough ASC                                   Epidurograpy Rs&I…             5/7/2021   72275      $700.00
1088986-02    R.R.                   Triborough ASC                          Fluor Needle/Cath Spine/Paraspina…      5/7/2021   77003      $225.00
1088986-02    R.R.                   Triborough ASC                              Glucose Blood Reagent Strip…        5/7/2021   82948       $20.00
1088986-02    R.R.                   Triborough ASC                        New Cpt Code 99072 Was Establishe…        5/7/2021   99072      $200.00
1088986-02    R.R.                   Triborough ASC                         Injection, Dexamethasone Sodium P…       5/7/2021   J1100       $52.64
1088986-02    R.R.                   Triborough ASC                                   Unclassified Drugs…            5/7/2021   J3490       $40.64
1088986-02    R.R.                   Triborough ASC                         Low Osmolar Contrast Material, 10…       5/7/2021   Q9965       $13.90
1088986-02    R.R.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…      7/1/2021   22526     $2,605.78
1088986-02    R.R.        All City Family Healthcare Center, Inc.           Dcmprn Perq Nucleus Pulposus 1/> …       7/1/2021   62287     $5,292.93
1088986-02    R.R.        All City Family Healthcare Center, Inc.               Surgical Supply; Miscellaneous…      7/1/2021   A4649       $72.00
1088986-02    R.R.        All City Family Healthcare Center, Inc.            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     8/22/2021   62321      $976.38
1088986-02    R.R.        All City Family Healthcare Center, Inc.                     Epidurograpy Rs&I…            8/22/2021   72275      $572.53
1088986-02    R.R.        All City Family Healthcare Center, Inc.               Surgical Supply; Miscellaneous…     8/22/2021   A4649       $72.00
1088986-02    R.R.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic…       9/19/2021   63075     $6,402.03
1088986-02    R.R.        All City Family Healthcare Center, Inc.               Surgical Supply; Miscellaneous…     9/19/2021   A4649       $72.00
1089443-01    C.S.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Dx W/Wo Syno…       3/12/2021   29805     $3,026.24
1089443-01    C.S.             Surgicore of Jersey City LLC                     Surgical Supply; Miscellaneous…     3/12/2021   A4649       $50.00
1089443-01    C.S.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…     3/12/2021   L8699      $600.00
1089443-01    C.S.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       3/12/2021   E0650      $531.06
1089443-01    C.S.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       3/12/2021   E0666       $89.56
1089443-01    C.S.                   Good Medica Inc                        So, Acromio/Clavicular (Canvas An…      3/12/2021   L3670      $111.07
1089443-01    C.S.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…       4/2/2021   29821     $5,677.77
1089443-01    C.S.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…       4/2/2021   29823     $1,472.45
1089443-01    C.S.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm…        4/2/2021   29826     $1,472.45
1089443-01    C.S.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …      4/2/2021   64415      $979.78

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                               Service     Code       Billed
1089443-01    C.S.              Surgicore of Jersey City LLC              Us Guidance Needle Placement Img …       4/2/2021   76942      $341.96
1089443-01    C.S.              Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…       4/2/2021   A4649       $50.00
1089443-01    C.S.              Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…      4/2/2021   L8699      $285.00
1089443-01    C.S.                    Good Medica Inc                    Pneumatic Compressor, Nonsegmenta…        4/2/2021   E0650      $531.06
1089443-01    C.S.                    Good Medica Inc                    Nonsegmental Pneumatic Appliance …        4/2/2021   E0666       $89.56
1089443-01    C.S.                    Good Medica Inc                     So, Acromio/Clavicular (Canvas An…       4/2/2021   L3670      $111.07
1090308-01    F.G.        All City Family Healthcare Center, Inc.           Injection Single/Mlt Trigger Poin…    2/11/2021   20552      $236.69
1090308-01    F.G.        All City Family Healthcare Center, Inc.         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      2/11/2021   62321      $976.38
1090308-01    F.G.        All City Family Healthcare Center, Inc.                  Epidurograpy Rs&I…             2/11/2021   72275      $572.53
1090308-01    F.G.        All City Family Healthcare Center, Inc.         Us Guidance Needle Placement Img …      2/11/2021   76942      $341.96
1090308-01    F.G.        All City Family Healthcare Center, Inc.            Surgical Supply; Miscellaneous…      2/11/2021   A4649       $72.00
1090308-01    F.G.          Rockaways ASC Development LLC                  Perq Intrdscl Electrothrm Annulop…     2/25/2021   22526     $2,605.78
1090308-01    F.G.          Rockaways ASC Development LLC                Discectomy Ant Dcmprn Cord Cervic…       2/25/2021   63075     $5,292.93
1090308-01    F.G.          Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…      2/25/2021   A4649       $50.00
1090308-01    F.G.          Rockaways ASC Development LLC                   Injection Single/Mlt Trigger Poin…     3/4/2021   20552      $236.69
1090308-01    F.G.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       3/4/2021   62323      $976.38
1090308-01    F.G.          Rockaways ASC Development LLC                          Epidurograpy Rs&I…              3/4/2021   72275      $572.53
1090308-01    F.G.          Rockaways ASC Development LLC                 Us Guidance Needle Placement Img …       3/4/2021   76942      $341.96
1090308-01    F.G.          Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…       3/4/2021   A4649       $50.00
1090308-01    F.G.               Hudson Regional Hospital                 Infectious Agent Detection By Nuc…       3/8/2021   87635     $1,200.00
1090308-01    F.G.          Rockaways ASC Development LLC                  Perq Intrdscl Electrothrm Annulop…      3/9/2021   22526     $2,605.78
1090308-01    F.G.          Rockaways ASC Development LLC                 Dcmprn Perq Nucleus Pulposus 1/> …       3/9/2021   62287     $5,292.93
1090308-01    F.G.          Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…       3/9/2021   A4649       $50.00
1090308-01    F.G.          Rockaways ASC Development LLC                   Injection Single/Mlt Trigger Poin…    3/18/2021   20552      $236.69
1090308-01    F.G.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      3/18/2021   62321      $976.38
1090308-01    F.G.          Rockaways ASC Development LLC                          Epidurograpy Rs&I…             3/18/2021   72275      $572.53
1090308-01    F.G.          Rockaways ASC Development LLC                 Us Guidance Needle Placement Img …      3/18/2021   76942      $341.96
1090308-01    F.G.          Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…      3/18/2021   A4649       $50.00
1090308-01    F.G.               Hudson Regional Hospital                 Infectious Agent Detection By Nuc…      3/29/2021   87635     $1,200.00
1090308-01    F.G.                      SCOB LLC                         Arthroscopy Knee Synovectomy 2/>C…        4/2/2021   29876     $3,026.24
1090308-01    F.G.                      SCOB LLC                         Arthrs Kne Surg W/Meniscectomy Me…        4/2/2021   29881     $2,944.87
1089783-02    N.V.     Surgicore LLC d/b/a Surgicore Surgical Center        Injection Single/Mlt Trigger Poin…    7/17/2021   20553      $236.70
1089783-02    N.V.     Surgicore LLC d/b/a Surgicore Surgical Center     Njx Anes&/Strd W/Img Tfrml Edrl L…       7/17/2021   64483      $976.38
1089783-02    N.V.     Surgicore LLC d/b/a Surgicore Surgical Center     Njx Anes&/Strd W/Img Tfrml Edrl L…       7/17/2021   64484      $447.52
1089783-02    N.V.     Surgicore LLC d/b/a Surgicore Surgical Center               Epidurograpy Rs&I…             7/17/2021   72275      $572.53
1089783-02    N.V.     Surgicore LLC d/b/a Surgicore Surgical Center         Surgical Supply; Miscellaneous…      7/17/2021   A4649       $50.00
1089783-02    N.V.               Accelerated Surgical Center              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      7/31/2021   62321     $1,518.48
1088892-02    J.L.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/13/2020   62323      $976.38
1088892-02    J.L.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/13/2020   62323      $976.38
1088892-02    J.L.           Island Ambulatory Surgery Center                      Epidurograpy Rs&I…            11/13/2020   72275      $572.52
1088892-02    J.L.           Island Ambulatory Surgery Center             Radiation Treatment Management, 5…     11/13/2020   77227      $572.52
1088892-02    J.L.        All City Family Healthcare Center, Inc.         Tenotomy Shoulder Area 1 Tendon…       11/19/2020   23405     $1,839.77
1088892-02    J.L.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Synovec…     11/19/2020   29821     $5,677.77
1088892-02    J.L.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Debride…     11/19/2020   29823     $1,472.45
1088892-02    J.L.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Ahesiolysis …    11/19/2020   29825     $1,472.45
1088892-02    J.L.        All City Family Healthcare Center, Inc.          Single Nerve Block Injection Arm …    11/19/2020   64415      $979.78
1088892-02    J.L.        All City Family Healthcare Center, Inc.          Single Nerve Block Injection Arm …    11/19/2020   64415      $979.78
1088892-02    J.L.        All City Family Healthcare Center, Inc.         Us Guidance Needle Placement Img …     11/19/2020   76942      $341.96
1088892-02    J.L.        All City Family Healthcare Center, Inc.         Us Guidance Needle Placement Img …     11/19/2020   76942      $341.96
1088892-02    J.L.        All City Family Healthcare Center, Inc.            Surgical Supply; Miscellaneous…     11/19/2020   A4649       $72.00
1088892-02    J.L.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      4/14/2021   62323      $976.38
1088892-02    J.L.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      4/14/2021   62323      $976.38
1088892-02    J.L.           Island Ambulatory Surgery Center                      Epidurograpy Rs&I…             4/14/2021   72275      $572.52
1088892-02    J.L.           Island Ambulatory Surgery Center              Under Medical Radiation Physics, …     4/14/2021   77275      $572.52
1088892-02    J.L.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       5/6/2021   62321      $976.38
1088892-02    J.L.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       5/6/2021   62321      $976.38
1088892-02    J.L.           Island Ambulatory Surgery Center                      Epidurograpy Rs&I…              5/6/2021   72275      $572.52
1088892-02    J.L.           Island Ambulatory Surgery Center                      Epidurograpy Rs&I…              5/6/2021   72275      $572.52
1089373-02    E.S.                Stemmee Surgery Center                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      2/16/2021   62321     $5,500.00
1089373-02    E.S.           New Horizon Surgical Center LLC              Arthroscopy Ankle Surgical Debrid…       4/2/2021   29898     $3,026.24
1089373-02    E.S.           New Horizon Surgical Center LLC                 Unlisted Procedure Arthroscopy…       4/2/2021   29999     $1,472.45
1089373-02    E.S.           New Horizon Surgical Center LLC                Injection Anesthetic Agent Sciati…     4/2/2021   64445      $976.38
1089373-02    E.S.           New Horizon Surgical Center LLC               Injection Anesthetic Agent Femora…      4/2/2021   64447      $447.52
1089373-02    E.S.           New Horizon Surgical Center LLC              Us Guidance Needle Placement Img …       4/2/2021   76942      $341.96
1089373-02    E.S.           New Horizon Surgical Center LLC                 Surgical Supply; Miscellaneous…       4/2/2021   A4649       $50.00
1089373-02    E.S.              Surgicore of Jersey City LLC             Arthroscopy Knee Synovectomy 2/>C…       7/27/2021   29876     $3,026.24
1089373-02    E.S.              Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…      7/27/2021   A4649       $50.00
1089373-02    E.S.              Surgicore of Jersey City LLC                Arthroscopy, Knee, Surgical, For …    7/27/2021   G0289     $1,472.45

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                                                          1853
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1089373-02    E.S.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…   7/27/2021   L8699      $195.00
1089373-02    E.S.                   Good Medica Inc                        Cane, Quad Or Three-Prong, Includ…    7/27/2021   E0105       $18.75
1089373-02    E.S.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 7/27/2021       E0650      $531.06
1089373-02    E.S.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     7/27/2021   E0666       $89.56
1089373-02    E.S.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…  10/22/2021   22526     $2,646.46
1089373-02    E.S.          Island Ambulatory Surgery Center                Dcmprn Perq Nucleus Pulposus 1/> … 10/22/2021     62287     $5,292.93
1089373-02    E.S.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 10/22/2021      e0650      $531.06
1089373-02    E.S.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance … 10/22/2021      e0666       $89.56
1089373-02    E.S.          Island Ambulatory Surgery Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/5/2021   62321      $976.38
1089373-02    E.S.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…           11/5/2021   72275      $572.52
1090595-02    N.O.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…   4/15/2021   20610      $473.39
1090595-02    N.O.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…    4/15/2021   29821     $2,798.20
1090595-02    N.O.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    4/15/2021   29823     $1,472.45
1090595-02    N.O.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Rotator Cuff…   4/15/2021   29827     $5,677.77
1090595-02    N.O.          Fifth Avenue Surgery Center LLC                    Unlisted Procedure Arthroscopy…    4/15/2021   29999     $1,472.45
1090595-02    N.O.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…    4/15/2021   A4649       $50.00
1090595-02    N.O.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 4/15/2021       E0650      $531.06
1090595-02    N.O.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     4/15/2021   E0666       $89.56
1090595-02    N.O.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …   4/21/2021   64415      $979.78
1090595-02    N.O.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     4/21/2021   76942      $341.96
1089414-01    C.S.        All City Family Healthcare Center, Inc.             Injection Single/Mlt Trigger Poin… 11/30/2020   20552      $236.69
1089414-01    C.S.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/30/2020   62323      $976.38
1089414-01    C.S.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…          11/30/2020   72275      $572.53
1089414-01    C.S.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img … 11/30/2020      76942      $341.96
1089414-01    C.S.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…   11/30/2020   A4649       $72.00
1089414-01    C.S.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…  12/14/2020   22526     $2,605.78
1089414-01    C.S.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> … 12/14/2020     62287     $5,292.93
1089414-01    C.S.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…   12/14/2020   A4649       $50.00
1089414-01    C.S.        All City Family Healthcare Center, Inc.             Injection Single/Mlt Trigger Poin… 12/28/2020   20552      $236.69
1089414-01    C.S.        All City Family Healthcare Center, Inc.            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/28/2020   62321      $976.38
1089414-01    C.S.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…          12/28/2020   72275      $572.53
1089414-01    C.S.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img … 12/28/2020      76942      $341.96
1089414-01    C.S.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…   12/28/2020   A4649       $72.00
1089414-01    C.S.              Crotona Parkway ASC LLC                      Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/19/2022   64490      $980.10
1089414-01    C.S.              Crotona Parkway ASC LLC                      Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/19/2022   64491      $490.05
1089414-01    C.S.              Crotona Parkway ASC LLC                      Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/19/2022   64492      $490.05
1089414-01    C.S.              Crotona Parkway ASC LLC                      Infectious Agent Antigen Detectio…  10/19/2022   87426      $200.00
1088459-01    H.R.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin… 11/23/2020   20552      $236.69
1088459-01    H.R.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/23/2020   62323      $976.38
1088459-01    H.R.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…          11/23/2020   72275      $572.53
1088459-01    H.R.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img … 11/23/2020      76942      $341.96
1088459-01    H.R.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…   11/23/2020   A4649       $50.00
1088459-01    H.R.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…   2/15/2021   22526      $450.00
1088459-01    H.R.                   Triborough ASC                         Injection Px Discography Each Lev…    2/15/2021   62290      $450.00
1088459-01    H.R.                   Triborough ASC                         Transpedicular Dcmprn Spinal Cord…    2/15/2021   63056     $6,000.00
1088459-01    H.R.                   Triborough ASC                        Njx Anes&/Strd W/Img Tfrml Edrl L… 2/15/2021       64483     $1,050.00
1088459-01    H.R.                   Triborough ASC                          Fluor Needle/Cath Spine/Paraspina…   2/15/2021   77003      $225.00
1088459-01    H.R.                   Triborough ASC                             Glucose Blood Reagent Strip…      2/15/2021   82948      $200.00
1088459-01    H.R.                   Triborough ASC                         Injection, Dexamethasone Sodium P…    2/15/2021   J1100       $52.64
1088459-01    H.R.                   Triborough ASC                                   Unclassified Drugs…         2/15/2021   J3490       $40.64
1088459-01    H.R.                   Triborough ASC                         Low Osmolar Contrast Material, 10…    2/15/2021   Q9965       $11.72
1088459-01    H.R.                   Triborough ASC                           Injection Single/Mlt Trigger Poin…   6/7/2021   20553      $277.37
1088459-01    H.R.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…    6/7/2021   22526     $5,292.93
1088459-01    H.R.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…    6/7/2021   22527     $2,646.47
1088459-01    H.R.                   Triborough ASC                               Unlisted Procedure Spine…        6/7/2021   22899     $2,646.47
1088967-02    T.D.             East Tremont Medical Center                  Anesthesia Perq Image Guided Spin…    2/12/2021    1936      $891.30
1088967-02    T.D.             East Tremont Medical Center                   Perq Intrdscl Electrothrm Annulop…   2/12/2021   22526     $7,030.00
1088967-02    T.D.             East Tremont Medical Center                  Dcmprn Perq Nucleus Pulposus 1/> …    2/12/2021   62287     $2,625.00
1088967-02    T.D.             East Tremont Medical Center                  Dcmprn Perq Nucleus Pulposus 1/> …    2/12/2021   62287     $7,100.00
1088967-02    T.D.             East Tremont Medical Center                  Injection Px Discography Each Lev…    2/12/2021   62290     $6,870.00
1088967-02    T.D.             East Tremont Medical Center                   Njx Arterial Occlusion Arven Malf…   2/12/2021   62294     $6,760.00
1088967-02    T.D.             East Tremont Medical Center                 Njx Anes&/Strd W/Img Tfrml Edrl L… 2/12/2021       64483     $6,645.00
1088967-02    T.D.             East Tremont Medical Center                 Njx Anes&/Strd W/Img Tfrml Edrl L… 2/12/2021       64484     $6,530.00
1088967-02    T.D.             East Tremont Medical Center                   Fluor Needle/Cath Spine/Paraspina…   2/12/2021   77003     $6,700.00
1088967-02    T.D.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi…      4/5/2021   29875     $1,472.45
1088967-02    T.D.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 4/5/2021         29880     $3,026.24
1088967-02    T.D.          Fifth Avenue Surgery Center LLC                    Unlisted Procedure Arthroscopy…     4/5/2021   29999     $1,472.45
1088967-02    T.D.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…     4/5/2021   A4649       $50.00

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                                                       1854
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                      Date of     Billing   Amount
                                      Provider                                   Service
 Number      Person                                                                                       Service     Code       Billed
1088490-01    L.R.           Surgicore of Jersey City LLC             Injection Single/Mlt Trigger Poin… 11/17/2020   20553      $236.69
1088490-01    L.R.           Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  11/17/2020   62321      $976.38
1088490-01    L.R.           Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…   11/17/2020   A4649       $50.00
1088490-01    L.R.           East Tremont Medical Center             Anesthesia Perq Image Guided Spin…   12/7/2020    1936     $1,087.00
1088490-01    L.R.           East Tremont Medical Center              Perq Intrdscl Electrothrm Annulop…  12/7/2020   22526     $7,065.00
1088490-01    L.R.           East Tremont Medical Center             Dcmprn Perq Nucleus Pulposus 1/> …   12/7/2020   62287     $7,280.00
1088490-01    L.R.           East Tremont Medical Center             Injection Px Discography Each Lev…   12/7/2020   62290     $6,850.00
1088490-01    L.R.           East Tremont Medical Center             Njx Arterial Occlusion Arven Malf…   12/7/2020   62294     $6,450.00
1088490-01    L.R.           East Tremont Medical Center            Njx Anes&/Strd W/Img Tfrml Edrl L… 12/7/2020      64483     $5,840.00
1088490-01    L.R.           East Tremont Medical Center            Njx Anes&/Strd W/Img Tfrml Edrl L… 12/7/2020      64484     $5,270.00
1088490-01    L.R.           East Tremont Medical Center              Perq Intrdscl Electrothrm Annulop…  1/18/2021   22526     $6,840.00
1088490-01    L.R.           East Tremont Medical Center             Anesthesia Cervical Spine & Cord …   1/18/2021     600     $1,087.00
1088490-01    L.R.           East Tremont Medical Center             Injection Px Discography Each Lev…   1/18/2021   62290     $5,840.00
1088490-01    L.R.           East Tremont Medical Center             Njx Arterial Occlusion Arven Malf…   1/18/2021   62294     $5,640.00
1088490-01    L.R.           East Tremont Medical Center            Discectomy Ant Dcmprn Cord Cervic… 1/18/2021      63075     $2,625.00
1088490-01    L.R.           East Tremont Medical Center            Discectomy Ant Dcmprn Cord Cervic… 1/18/2021      63075     $7,280.00
1088490-01    L.R.           East Tremont Medical Center             Fluor Needle/Cath Spine/Paraspina…   1/18/2021   77003     $2,840.00
1088621-03    C.S.         Rockaways ASC Development LLC              Injection Single/Mlt Trigger Poin… 10/21/2020   20553      $236.69
1088621-03    C.S.         Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/21/2020   62323      $976.38
1088621-03    C.S.         Rockaways ASC Development LLC                     Epidurograpy Rs&I…          10/21/2020   72275      $572.53
1088621-03    C.S.         Rockaways ASC Development LLC            Us Guidance Needle Placement Img … 10/21/2020     76942      $341.96
1088621-03    C.S.         Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…   10/21/2020   A4649       $50.00
1088621-03    C.S.         Rockaways ASC Development LLC              Injection Single/Mlt Trigger Poin…  11/8/2020   20553      $236.69
1088621-03    C.S.         Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/8/2020   62321      $976.38
1088621-03    C.S.         Rockaways ASC Development LLC                     Epidurograpy Rs&I…           11/8/2020   72275      $572.53
1088621-03    C.S.         Rockaways ASC Development LLC            Us Guidance Needle Placement Img …    11/8/2020   76942      $341.96
1088621-03    C.S.         Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…    11/8/2020   A4649       $50.00
1088621-03    C.S.         Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulop… 11/22/2020   22526     $2,605.78
1088621-03    C.S.         Rockaways ASC Development LLC             Dcmprn Perq Nucleus Pulposus 1/> … 11/22/2020    62287     $5,292.93
1088621-03    C.S.         Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…   11/22/2020   A4649       $50.00
1088621-03    C.S.         Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  12/20/2020   64493      $976.38
1088621-03    C.S.         Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  12/20/2020   64494      $447.52
1088621-03    C.S.         Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  12/20/2020   64495      $447.52
1088621-03    C.S.         Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…   12/20/2020   A4649       $50.00
1088621-03    C.S.         Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/24/2021   62321      $976.38
1088621-03    C.S.         Rockaways ASC Development LLC                     Epidurograpy Rs&I…           1/24/2021   72275      $572.53
1088621-03    C.S.         Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…    1/24/2021   A4649       $50.00
1088621-03    C.S.         Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/21/2021   62321      $976.38
1088621-03    C.S.         Rockaways ASC Development LLC                     Epidurograpy Rs&I…           2/21/2021   72275      $572.53
1088621-03    C.S.         Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…    2/21/2021   a4649       $50.00
1088621-03    C.S.             Hudson Regional Hospital              Infectious Agent Detection By Nuc…   3/17/2021   87635     $1,200.00
1088621-03    C.S.             Hudson Regional Hospital              Infectious Agent Detection By Nuc…   3/30/2021   87635     $1,200.00
1088621-03    C.S.            Citimed Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…  3/31/2021   20610      $473.39
1088621-03    C.S.            Citimed Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/31/2021   62321      $976.38
1088621-03    C.S.             Hudson Regional Hospital              Infectious Agent Detection By Nuc…    5/5/2021   87635     $1,200.00
1088621-03    C.S.            Citimed Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/8/2021   62321      $976.38
1088621-03    C.S.         New Horizon Surgical Center LLC                  Claviculectomy Partial…      10/13/2021   23120     $1,839.77
1088621-03    C.S.         New Horizon Surgical Center LLC           Arthroscopy Shoulder Surgical Rep…  10/13/2021   29807     $5,677.77
1088621-03    C.S.         New Horizon Surgical Center LLC           Arthroscopy Shoulder Surg Synovec… 10/13/2021    29821     $2,798.20
1088621-03    C.S.         New Horizon Surgical Center LLC           Arthroscopy Shoulder Surg Debride…  10/13/2021   29823     $1,472.45
1088621-03    C.S.         New Horizon Surgical Center LLC           Arthroscopy Shoulder Ahesiolysis …  10/13/2021   29825     $1,472.45
1088621-03    C.S.         New Horizon Surgical Center LLC          Arthroscopy Shoulder W/Coracoacrm… 10/13/2021     29826     $1,472.45
1088621-03    C.S.         New Horizon Surgical Center LLC           Single Nerve Block Injection Arm …  10/13/2021   64415      $979.78
1088621-03    C.S.         New Horizon Surgical Center LLC          Us Guidance Needle Placement Img … 10/13/2021     76942      $341.96
1088621-03    C.S.         New Horizon Surgical Center LLC             Surgical Supply; Miscellaneous…   10/13/2021   A4649       $50.00
1088621-03    C.S.         New Horizon Surgical Center LLC            Prosthetic Implant, Not Otherwise… 10/13/2021   L8699     $1,227.00
1088621-03    C.S.                 Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 10/13/2021     E0650      $531.06
1088621-03    C.S.                 Good Medica Inc                  Nonsegmental Pneumatic Appliance … 10/13/2021     E0666       $89.56
1088621-03    C.S.                 Good Medica Inc                   Sewho, Abduction Positioning, Air…  10/13/2021   L3960      $372.50
1088621-03    C.S.                    SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/5/2022   64493     $1,423.89
1088621-03    C.S.                    SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/5/2022   64494     $1,342.52
1087740-01    A.C.           Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 12/9/2020      29876     $1,472.45
1087740-01    A.C.           Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 12/9/2020       29880     $3,026.24
1087740-01    A.C.           Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    12/9/2020   29999     $1,472.45
1087740-01    A.C.           Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    12/9/2020   A4649       $50.00
1087740-01    A.C.           Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…  12/9/2020   L8699      $195.00
1087740-01    A.C.           Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 10/27/2021     29876     $1,472.45
1087740-01    A.C.           Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 10/27/2021      29880     $3,026.24

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                                                          1855
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                               Service     Code       Billed
1087740-01    A.C.             Surgicore of Jersey City LLC                  Unlisted Procedure Arthroscopy…     10/27/2021   29999     $1,472.45
1087740-01    A.C.             Surgicore of Jersey City LLC                  Surgical Supply; Miscellaneous…     10/27/2021   A4649      $180.00
1087740-01    A.C.                   Good Medica Inc                     Pneumatic Compressor, Nonsegmenta…      10/27/2021   E0650      $531.06
1087740-01    A.C.                   Good Medica Inc                     Nonsegmental Pneumatic Appliance …      10/27/2021   E0666       $89.56
1088121-01    K.C.          Rockaways ASC Development LLC                   Injection Single/Mlt Trigger Poin…    4/22/2021   20552      $236.69
1088121-01    K.C.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      4/22/2021   62323      $976.38
1088121-01    K.C.          Rockaways ASC Development LLC                          Epidurograpy Rs&I…             4/22/2021   72275      $572.53
1088121-01    K.C.          Rockaways ASC Development LLC                Us Guidance Needle Placement Img …       4/22/2021   76942      $341.96
1088121-01    K.C.          Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…      4/22/2021   A4649       $50.00
1088121-01    K.C.          Rockaways ASC Development LLC                  Perq Intrdscl Electrothrm Annulop…      5/6/2021   22526     $2,605.78
1088121-01    K.C.          Rockaways ASC Development LLC                 Dcmprn Perq Nucleus Pulposus 1/> …       5/6/2021   62287     $5,292.93
1088121-01    K.C.          Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…       5/6/2021   A4649       $50.00
1088121-01    K.C.              Global Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…      4/27/2022   29820     $1,472.44
1088121-01    K.C.              Global Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…      4/27/2022   29823     $5,677.77
1088121-01    K.C.              Global Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …     4/27/2022   29825     $1,472.44
1088121-01    K.C.              Global Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm…       4/27/2022   29826     $1,472.44
1087984-03    S.P.          Rockaways ASC Development LLC                   Injection Single/Mlt Trigger Poin…   11/20/2020   20552      $236.69
1087984-03    S.P.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/20/2020   62323      $976.38
1087984-03    S.P.          Rockaways ASC Development LLC                          Epidurograpy Rs&I…            11/20/2020   72275      $572.53
1087984-03    S.P.          Rockaways ASC Development LLC                Us Guidance Needle Placement Img …      11/20/2020   76942      $341.96
1087984-03    S.P.          Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…     11/20/2020   A4649       $50.00
1087984-03    S.P.          Rockaways ASC Development LLC                   Injection Single/Mlt Trigger Poin…   12/11/2020   20552      $236.69
1087984-03    S.P.          Rockaways ASC Development LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    12/11/2020   62321      $976.38
1087984-03    S.P.          Rockaways ASC Development LLC                          Epidurograpy Rs&I…            12/11/2020   72275      $572.53
1087984-03    S.P.          Rockaways ASC Development LLC                Us Guidance Needle Placement Img …      12/11/2020   76942      $341.96
1087984-03    S.P.          Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…     12/11/2020   A4649       $50.00
1087984-03    S.P.                   Triborough ASC                         Injection Single/Mlt Trigger Poin…    1/29/2021   20553      $225.00
1087984-03    S.P.                   Triborough ASC                         Injection Single/Mlt Trigger Poin…    1/29/2021   20553      $554.74
1087984-03    S.P.                   Triborough ASC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      1/29/2021   62323      $976.38
1087984-03    S.P.                   Triborough ASC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      1/29/2021   62323     $1,550.00
1087984-03    S.P.                   Triborough ASC                                Epidurograpy Rs&I…             1/29/2021   72275      $700.00
1087984-03    S.P.                   Triborough ASC                                Epidurograpy Rs&I…             1/29/2021   72275      $572.52
1087984-03    S.P.                   Triborough ASC                        Fluor Needle/Cath Spine/Paraspina…     1/29/2021   77003      $225.00
1087984-03    S.P.                   Triborough ASC                        Urine Pregnancy Test Visual Color…     1/29/2021   81025       $30.00
1087984-03    S.P.                   Triborough ASC                       Glucose Quantitative Blood Xcpt R…      1/29/2021   82947       $20.00
1087984-03    S.P.                   Triborough ASC                      New Cpt Code 99072 Was Establishe…       1/29/2021   99072      $200.00
1087984-03    S.P.                   Triborough ASC                       Injection, Dexamethasone Sodium P…      1/29/2021   J1100       $52.64
1087984-03    S.P.                   Triborough ASC                                 Unclassified Drugs…           1/29/2021   J3490       $40.64
1087984-03    S.P.                   Triborough ASC                       Low Osmolar Contrast Material, 10…      1/29/2021   Q9965       $13.90
1087984-03    S.P.                   Triborough ASC                        Perq Intrdscl Electrothrm Annulop…     2/15/2021   22526      $450.00
1087984-03    S.P.                   Triborough ASC                        Perq Intrdscl Electrothrm Annulop…     2/15/2021   22526     $5,292.93
1087984-03    S.P.                   Triborough ASC                       Dcmprn Perq Nucleus Pulposus 1/> …      2/15/2021   62287     $5,292.93
1087984-03    S.P.                   Triborough ASC                       Injection Px Discography Each Lev…      2/15/2021   62290      $450.00
1087984-03    S.P.                   Triborough ASC                       Transpedicular Dcmprn Spinal Cord…      2/15/2021   63056     $6,300.00
1087984-03    S.P.                   Triborough ASC                      Njx Anes&/Strd W/Img Tfrml Edrl L…       2/15/2021   64483      $750.00
1087984-03    S.P.                   Triborough ASC                        Fluor Needle/Cath Spine/Paraspina…     2/15/2021   77003      $225.00
1087984-03    S.P.                   Triborough ASC                        Urine Pregnancy Test Visual Color…     2/15/2021   81025       $30.00
1087984-03    S.P.                   Triborough ASC                       Glucose Quantitative Blood Xcpt R…      2/15/2021   82947       $20.00
1087984-03    S.P.                   Triborough ASC                      New Cpt Code 99072 Was Establishe…       2/15/2021   99072      $200.00
1087984-03    S.P.                   Triborough ASC                       Probe, Percutaneous Lumbar Discec…      2/15/2021   C2614      $800.00
1087984-03    S.P.                   Triborough ASC                       Injection, Dexamethasone Sodium P…      2/15/2021   J1100       $52.64
1087984-03    S.P.                   Triborough ASC                                 Unclassified Drugs…           2/15/2021   J3490       $40.64
1087984-03    S.P.                   Triborough ASC                       Low Osmolar Contrast Material, 10…      2/15/2021   Q9965       $13.90
1087849-02    M.K.              Accelerated Surgical Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      1/9/2021   62321     $1,518.48
1087849-02    M.K.                Barnert Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L…       2/27/2021   64483     $1,518.48
1087849-02    M.K.                Barnert Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L…       2/27/2021   64484      $776.84
1087849-02    M.K.              Accelerated Surgical Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     6/26/2021   62321     $1,518.48
1087849-02    M.K.                Barnert Surgical Center                   Injection Single/Mlt Trigger Poin…    8/28/2021   20553      $161.46
1087849-02    M.K.                Barnert Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L…       8/28/2021   64483     $1,518.48
1087849-02    M.K.                Barnert Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L…       8/28/2021   64484      $776.84
1087849-02    M.K.     Surgicore LLC d/b/a Surgicore Surgical Center       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    10/16/2021   62321      $976.38
1087849-02    M.K.     Surgicore LLC d/b/a Surgicore Surgical Center       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    10/16/2021   62321     $1,012.32
1087849-02    M.K.     Surgicore LLC d/b/a Surgicore Surgical Center               Epidurograpy Rs&I…            10/16/2021   72275      $350.00
1087849-02    M.K.     Surgicore LLC d/b/a Surgicore Surgical Center               Epidurograpy Rs&I…            10/16/2021   72275      $572.53
1087849-02    M.K.     Surgicore LLC d/b/a Surgicore Surgical Center         Surgical Supply; Miscellaneous…     10/16/2021   A4649       $50.00
1087849-02    M.K.     Surgicore LLC d/b/a Surgicore Surgical Center         Surgical Supply; Miscellaneous…     10/16/2021   A4649       $50.00
1087849-02    M.K.                Barnert Surgical Center                   Injection Single/Mlt Trigger Poin…   10/23/2021   20553      $161.46
1087849-02    M.K.                Barnert Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L…      10/23/2021   64483     $3,036.96

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                                                           1856
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1087849-02    M.K.                  Barnert Surgical Center             Njx Anes&/Strd W/Img Tfrml Edrl L… 10/23/2021      64484     $1,553.68
1087849-02    M.K.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…   1/19/2024   22526     $2,605.78
1087849-02    M.K.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…   1/19/2024   22527     $2,605.78
1087849-02    M.K.               Surgicore of Jersey City LLC           Discectomy Ant Dcmprn Cord Cervic… 1/19/2024       63075     $6,402.03
1087849-02    M.K.               Surgicore of Jersey City LLC           Discectomy Ant Dcmprn Cord Cervic… 1/19/2024       63076     $3,160.34
1088058-01    D.F.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…   4/30/2021   22526     $2,605.78
1088058-01    D.F.               Surgicore of Jersey City LLC            Dcmprn Perq Nucleus Pulposus 1/> …    4/30/2021   62287     $5,292.93
1088058-01    D.F.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…    4/30/2021   A4649       $50.00
1088058-01    D.F.               Surgicore of Jersey City LLC            Probe, Percutaneous Lumbar Discec…    4/30/2021   C2614     $1,520.00
1088058-01    D.F.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 4/30/2021       E0650      $531.06
1088058-01    D.F.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     4/30/2021   E0666       $89.56
1087721-01    L.E.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…    1/18/2021   87635     $1,200.00
1087721-01    L.E.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…    8/16/2021   87635     $1,200.00
1087721-01    L.E.              Healthplus Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/19/2021   62323      $976.38
1087721-01    L.E.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…    9/12/2021   87635     $1,200.00
1087721-01    L.E.                Hudson Regional Hospital               Specimen Collection For Severe Ac…    9/12/2021   G2023       $97.84
1087721-01    L.E.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…   10/26/2021   29823     $3,026.24
1087721-01    L.E.          All City Family Healthcare Center, Inc.       Arthroscopy Shoulder Ahesiolysis …  10/26/2021   29825     $1,472.45
1087721-01    L.E.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 10/26/2021      29826     $1,472.45
1087721-01    L.E.          All City Family Healthcare Center, Inc.       Single Nerve Block Injection Arm …  10/26/2021   64415      $979.78
1087721-01    L.E.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img … 10/26/2021      76942      $341.96
1087721-01    L.E.          All City Family Healthcare Center, Inc.         Surgical Supply; Miscellaneous…   10/26/2021   A4649       $72.00
1087721-01    L.E.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     3/1/2022   62321      $976.38
1087933-01    L.M.             Parkway Ambulatory Surgery Ce             Arthroscopy Shoulder Surg Synovec…    3/26/2021   29821     $6,462.39
1087933-01    L.M.             Parkway Ambulatory Surgery Ce             Arthroscopy Shoulder Surg Debride…    3/26/2021   29823     $6,462.39
1087933-01    L.M.             Parkway Ambulatory Surgery Ce            Arthroscopy Shoulder W/Coracoacrm… 3/26/2021       29826     $6,462.39
1087933-01    L.M.             Parkway Ambulatory Surgery Ce             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/24/2021   62321     $1,518.48
1087933-01    L.M.             Parkway Ambulatory Surgery Ce                      Epidurograpy Rs&I…           4/24/2021   72275     $1,200.00
1087933-01    L.M.             Parkway Ambulatory Surgery Ce             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/15/2021   62323     $1,518.48
1087933-01    L.M.             Parkway Ambulatory Surgery Ce                      Epidurograpy Rs&I…           5/15/2021   72275     $1,200.00
1087933-01    L.M.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Surg Synovec…     8/4/2021   29821     $2,798.20
1087933-01    L.M.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Surg Debride…     8/4/2021   29823     $1,472.45
1087933-01    L.M.            New Horizon Surgical Center LLC             Arthroscopy Shoulder Ahesiolysis …    8/4/2021   29825     $1,472.45
1087933-01    L.M.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Rotator Cuff…     8/4/2021   29827     $6,723.47
1087933-01    L.M.            New Horizon Surgical Center LLC             Single Nerve Block Injection Arm …    8/4/2021   64415      $979.78
1087933-01    L.M.            New Horizon Surgical Center LLC           Us Guidance Needle Placement Img …      8/4/2021   76942      $341.96
1087933-01    L.M.            New Horizon Surgical Center LLC               Surgical Supply; Miscellaneous…     8/4/2021   A4649       $50.00
1087933-01    L.M.            New Horizon Surgical Center LLC           Anchor/Screw For Opposing Bone-To…      8/4/2021   C1713     $1,000.00
1087933-01    L.M.            New Horizon Surgical Center LLC             Prosthetic Implant, Not Otherwise…    8/4/2021   L8699      $331.00
1087933-01    L.M.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      8/4/2021   E0650      $531.06
1087933-01    L.M.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …      8/4/2021   E0666       $89.56
1088186-03    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi… 3/24/2021        29875     $1,472.45
1088186-03    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee Abrasion Arthrp/Mlt D…      3/24/2021   29879     $1,472.45
1088186-03    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 3/24/2021        29880     $3,026.24
1088186-03    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…    3/24/2021   87635       $51.33
1088186-03    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…    3/24/2021   A4649       $50.00
1088186-03    E.A.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 3/24/2021       E0650      $531.06
1088186-03    E.A.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     3/24/2021   E0666       $89.56
1088186-03    E.A.            Island Ambulatory Surgery Center          Extrcorpl Shock Wave Muscskele No… 4/21/2021       0101T      $446.62
1088186-03    E.A.            Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin…  4/21/2021   20553      $277.37
1088186-03    E.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/21/2021   62321      $976.38
1088186-03    E.A.            Island Ambulatory Surgery Center                    Epidurograpy Rs&I…           4/21/2021   72275      $572.52
1088186-03    E.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/28/2021   62323      $976.38
1088186-03    E.A.            Island Ambulatory Surgery Center                    Epidurograpy Rs&I…           4/28/2021   72275      $572.52
1088186-03    E.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/12/2021   62321      $976.38
1088186-03    E.A.            Island Ambulatory Surgery Center                    Epidurograpy Rs&I…           5/12/2021   72275      $572.52
1088186-03    E.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/26/2021   62323      $976.38
1088186-03    E.A.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…   8/11/2021   22526     $2,646.46
1088186-03    E.A.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …    8/11/2021   62287     $5,292.93
1088186-03    E.A.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 8/11/2021       E0650      $531.06
1088186-03    E.A.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     8/11/2021   E0666       $89.56
1088186-03    E.A.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…   12/8/2021   22526     $2,646.46
1088186-03    E.A.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…   12/8/2021   22527     $2,646.46
1088186-03    E.A.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …    12/8/2021   62287     $5,292.93
1087675-02    N.T.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Surg Synovec…    6/18/2021   29821     $5,677.77
1087675-02    N.T.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Surg Debride…    6/18/2021   29823     $1,472.45
1087675-02    N.T.            New Horizon Surgical Center LLC             Single Nerve Block Injection Arm …   6/18/2021   64415      $979.78
1087675-02    N.T.            New Horizon Surgical Center LLC           Us Guidance Needle Placement Img …     6/18/2021   76942      $341.96

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1087675-02    N.T.          New Horizon Surgical Center LLC                    Surgical Supply; Miscellaneous…      6/18/2021   A4649       $50.00
1087675-02    N.T.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       6/18/2021   E0650      $531.06
1087675-02    N.T.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       6/18/2021   E0666       $89.56
1088438-01    K.O.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      10/9/2020   62323      $976.38
1088438-01    K.O.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…             10/9/2020   72275      $572.52
1088438-01    K.O.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…   11/18/2020   20552      $236.69
1088438-01    K.O.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/18/2020   62323      $976.38
1088438-01    K.O.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…            11/18/2020   72275      $572.53
1088438-01    K.O.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …     11/18/2020   76942      $341.96
1088438-01    K.O.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…     11/18/2020   A4649       $50.00
1088438-01    K.O.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin…   12/11/2020   20553      $277.37
1088438-01    K.O.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     12/11/2020   62321      $967.38
1088438-01    K.O.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…            12/11/2020   72275      $572.52
1088438-01    K.O.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin…     1/5/2021   20553      $277.37
1088438-01    K.O.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       1/5/2021   62323      $967.38
1087924-02    L.S.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin…    10/6/2020   20553      $277.37
1087924-02    L.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      10/6/2020   62321      $976.38
1087924-02    L.S.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…             10/6/2020   72275      $572.52
1087924-02    L.S.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…     12/18/2020   29821     $5,677.77
1087924-02    L.S.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…     12/18/2020   29823     $1,472.45
1087924-02    L.S.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …    12/18/2020   29825     $1,472.45
1087924-02    L.S.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …    12/18/2020   64415      $979.78
1087924-02    L.S.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …     12/18/2020   76942      $341.96
1087924-02    L.S.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…     12/18/2020   A4649       $72.00
1088485-02    C.D.             Surgicore of Jersey City LLC                  Arthroscopy Knee Lateral Release…      7/29/2021   29873     $1,472.45
1088485-02    C.D.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C…       7/29/2021   29876     $1,472.45
1088485-02    C.D.             Surgicore of Jersey City LLC                Arthrs Kne Surg W/Meniscectomy Me…       7/29/2021   29881     $3,026.24
1088485-02    C.D.             Surgicore of Jersey City LLC                Arthroscopy Knee W/Lysis Adhesion…       7/29/2021   29884     $1,472.45
1088485-02    C.D.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…      7/29/2021   A4649       $50.00
1088485-02    C.D.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …     7/29/2021   G0289     $1,472.45
1088485-02    C.D.                   Good Medica Inc                        Cane, Quad Or Three-Prong, Includ…      7/29/2021   E0105       $18.75
1088485-02    C.D.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       7/29/2021   E0650      $531.06
1088485-02    C.D.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       7/29/2021   E0666       $89.56
1087348-01    J.W.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Dx W/Wo Syno…       1/29/2021   29805     $3,026.24
1087348-01    J.W.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…      1/29/2021   A4649       $50.00
1087348-01    J.W.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…     1/29/2021   L8699      $600.00
1087348-01    J.W.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…       3/5/2021   29821     $5,677.77
1087348-01    J.W.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…       3/5/2021   29823     $1,472.45
1087348-01    J.W.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm…        3/5/2021   29826     $1,472.45
1087348-01    J.W.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …      3/5/2021   64415      $979.78
1087348-01    J.W.             Surgicore of Jersey City LLC                 Us Guidance Needle Placement Img …       3/5/2021   76942      $341.96
1087348-01    J.W.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…       3/5/2021   A4649       $50.00
1087348-01    J.W.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…      3/5/2021   L8699      $285.00
1087348-01    J.W.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…        3/5/2021   E0650      $531.06
1087348-01    J.W.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …        3/5/2021   E0666       $89.56
1087348-01    J.W.                   Good Medica Inc                        So, Acromio/Clavicular (Canvas An…       3/5/2021   L3670      $111.07
1087348-02    R.W.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…      11/6/2020   29821     $2,798.20
1087348-02    R.W.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm…       11/6/2020   29826     $1,472.45
1087348-02    R.W.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Rotator Cuff…      11/6/2020   29827     $5,677.77
1087348-02    R.W.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Biceps Tenod…      11/6/2020   29828     $2,798.20
1087348-02    R.W.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …     11/6/2020   64415      $979.78
1087348-02    R.W.             Surgicore of Jersey City LLC                 Us Guidance Needle Placement Img …      11/6/2020   76942      $341.96
1087348-02    R.W.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…      11/6/2020   A4649       $50.00
1087348-02    R.W.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…     11/6/2020   L8699     $1,492.00
1087348-02    R.W.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…      4/30/2021   29821     $2,798.20
1087348-02    R.W.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm…       4/30/2021   29826     $1,472.45
1087348-02    R.W.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Rotator Cuff…      4/30/2021   29827     $5,677.77
1087348-02    R.W.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …     4/30/2021   64415      $979.78
1087348-02    R.W.             Surgicore of Jersey City LLC                 Us Guidance Needle Placement Img …      4/30/2021   76942      $341.96
1087348-02    R.W.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…      4/30/2021   A4649       $50.00
1087348-02    R.W.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…     4/30/2021   L8699     $1,402.35
1087348-02    R.W.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       4/30/2021   E0650      $531.06
1087348-02    R.W.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       4/30/2021   E0666       $89.56
1087348-02    R.W.                   Good Medica Inc                        So, Acromio/Clavicular (Canvas An…      4/30/2021   L3670      $111.07
1087948-01    S.T.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…     12/28/2020   29823     $3,026.24
1087948-01    S.T.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm…      12/28/2020   29826     $1,472.45
1087948-01    S.T.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …    12/28/2020   64415      $979.78
1087948-01    S.T.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …     12/28/2020   76942      $341.96

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                                                            1858
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                     Service
 Number      Person                                                                                             Service     Code       Billed
1087948-01    S.T.            Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…    12/28/2020   A4649        $50.00
1087948-01    S.T.                Hudson Regional Hospital                 Drug Test(S), Definitive, Utilizi…   3/10/2021   G0483      $1,234.60
1087948-01    S.T.                       SCOB LLC                         Injection Single/Mlt Trigger Poin…    3/10/2021   20553       $473.39
1087948-01    S.T.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/10/2021   62323       $976.38
1087948-01    S.T.               Citimed Surgery Center LLC               Perq Intrdscl Electrothrm Annulop…    4/14/2021   22526      $5,211.56
1087948-01    S.T.               Citimed Surgery Center LLC             Dcmprn Perq Nucleus Pulposus 1/> …      4/14/2021   62287      $5,292.93
1087948-01    S.T.               Citimed Surgery Center LLC             Probe, Percutaneous Lumbar Discec…      4/14/2021   C2614      $1,342.50
1088016-02    J.G.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…    11/9/2020   20552       $236.69
1088016-02    J.G.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/9/2020   62323       $976.38
1088016-02    J.G.           Rockaways ASC Development LLC                        Epidurograpy Rs&I…            11/9/2020   72275       $572.53
1088016-02    J.G.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …      11/9/2020   76942       $341.96
1088016-02    J.G.           Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…     11/9/2020   A4649        $50.00
1088016-02    J.G.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…    1/24/2021   22526      $2,605.78
1088016-02    J.G.           Rockaways ASC Development LLC              Dcmprn Perq Nucleus Pulposus 1/> …      1/24/2021   62287      $5,292.93
1088016-02    J.G.           Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…     1/24/2021   A4649        $50.00
1088016-02    J.G.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…     9/20/2021   87635      $1,200.00
1088016-02    J.G.               Citimed Surgery Center LLC               Injection Single/Mlt Trigger Poin…    9/21/2021   20552       $473.39
1088016-02    J.G.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     9/21/2021   62323       $976.38
1088016-02    J.G.                Hudson Regional Hospital                Creation Of Shunt; Ventriculo-Per…    10/3/2021   62023        $97.84
1088016-02    J.G.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…     10/3/2021   87635      $1,200.00
1088016-02    J.G.                       SCOB LLC                         Injection Single/Mlt Trigger Poin…    10/5/2021   20553       $473.39
1088016-02    J.G.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     10/5/2021   62321       $976.38
1088016-02    J.G.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…    10/19/2021   87635      $1,200.00
1088016-02    J.G.               Citimed Surgery Center LLC               Injection Single/Mlt Trigger Poin…   12/18/2021   20553       $473.39
1088016-02    J.G.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    12/18/2021   62321       $976.38
1088016-02    J.G.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/15/2022   62321       $976.38
1088016-02    J.G.                       SCOB LLC                         Perq Intrdscl Electrothrm Annulop…     4/9/2022   22526      $5,211.56
1088016-02    J.G.                       SCOB LLC                         Perq Intrdscl Electrothrm Annulop…     4/9/2022   22527      $5,211.56
1088016-02    J.G.                       SCOB LLC                       Dcmprn Perq Nucleus Pulposus 1/> …       4/9/2022   62287      $5,292.93
1088016-02    J.G.                       SCOB LLC                       Probe, Percutaneous Lumbar Discec…       4/9/2022   C2614      $2,200.00
1088016-02    J.G.                Hudson Regional Hospital               Level Iii Surg Pathology Gross&Mi…      4/9/2022   88304       $192.00
1088016-02    J.G.               Citimed Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/11/2022   64493      $1,423.89
1088016-02    J.G.               Citimed Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/11/2022   64494      $1,342.52
1087050-01    N.V.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi…       1/5/2021   29875      $1,472.45
1087050-01    N.V.          All City Family Healthcare Center, Inc.      Arthrs Knee Abrasion Arthrp/Mlt D…      1/5/2021   29879      $1,472.45
1087050-01    N.V.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 1/5/2021          29880      $3,026.24
1087050-01    N.V.          All City Family Healthcare Center, Inc.         Surgical Supply; Miscellaneous…      1/5/2021   A4649        $72.00
1087050-01    N.V.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical, For …     1/5/2021   G0289      $1,472.45
1087050-01    N.V.           New York Surgery Center of Queens          Arthroscopy Knee Synovectomy 2/>C… 3/18/2021        29876      $1,472.45
1087050-01    N.V.           New York Surgery Center of Queens           Arthrs Knee Abrasion Arthrp/Mlt D…     3/18/2021   29879      $1,472.45
1087050-01    N.V.           New York Surgery Center of Queens         Arthrs Knee W/Meniscectomy Med&La… 3/18/2021         29880      $3,026.24
1087173-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…   10/10/2020   20553       $236.69
1087173-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    10/10/2020   62321       $976.38
1087173-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center            Epidurograpy Rs&I…           10/10/2020   72275       $572.53
1087173-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…    10/10/2020   A4649        $50.00
1087173-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…   10/24/2020   20553       $473.39
1087173-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…   10/24/2020   22526      $5,292.93
1087173-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…   10/24/2020   22527      $2,605.79
1087173-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…      10/24/2020   64999       $373.98
1087173-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…    10/24/2020   A4649        $50.00
1087173-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…    1/23/2021   20553       $236.69
1087173-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       1/23/2021   62323       $976.38
1087173-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center            Epidurograpy Rs&I…            1/23/2021   72275       $572.53
1087173-02    A.C.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…     1/23/2021   A4649        $50.00
1087173-02    A.C.                Hudson Regional Hospital                Perq Intrdscl Electrothrm Annulop…     2/9/2021   22526     $30,000.00
1087173-02    A.C.                Hudson Regional Hospital              Transpedicular Dcmprn Spinal Cord…       2/9/2021   63056     $29,387.89
1087173-02    A.C.                Hudson Regional Hospital               Radex Spine 1 View Specify Level…       2/9/2021   72020       $681.20
1087173-02    A.C.                Hudson Regional Hospital               Fluoroscopy Up To 1 Hour Physicia…      2/9/2021   76000      $1,346.30
1087173-02    A.C.                Hudson Regional Hospital                Injection, Cefazolin Sodium, 500 …     2/9/2021   J0690         $6.00
1087173-02    A.C.                Hudson Regional Hospital                 Injection, Lidocaine Hcl For Intr…    2/9/2021   J2001        $11.00
1087173-02    A.C.                Hudson Regional Hospital               Injection, Midazolam Hcl, Per 1 M…      2/9/2021   J2250         $3.00
1087173-02    A.C.                Hudson Regional Hospital                    Injection, Propofol, 10 Mg…        2/9/2021   J2704        $44.00
1087173-02    A.C.                Hudson Regional Hospital                  Injection, Fentanyl Citrate, 0.1 …   2/9/2021   J3010         $6.00
1087173-02    A.C.                Hudson Regional Hospital                         Unclassified Drugs…           2/9/2021   J3490        $40.00
1087173-02    A.C.                Hudson Regional Hospital              Addition To Lower Extremity, Mold…       2/9/2021   L2280        $23.10
1087490-01    L.H.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…     7/6/2021   20610       $473.39
1087490-01    L.H.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi…       7/6/2021   29875      $1,472.45
1087490-01    L.H.            Fifth Avenue Surgery Center LLC          Arthrs Kne Surg W/Meniscectomy Me… 7/6/2021          29881      $3,026.24

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                                                           1859
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1087490-01    L.H.            Fifth Avenue Surgery Center LLC            Injection Anesthetic Agent Femora…     7/6/2021   64447       $829.30
1087490-01    L.H.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      7/6/2021   76942       $341.96
1087490-01    L.H.            Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…     7/6/2021   A4649        $50.00
1087490-01    L.H.            Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical, For …    7/6/2021   G0289      $1,472.45
1087490-01    L.H.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      7/6/2021   E0650       $531.06
1087490-01    L.H.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …      7/6/2021   E0666        $89.56
1086951-01    J.V.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…     5/6/2021   29821      $5,677.77
1086951-01    J.V.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…     5/6/2021   29823      $1,472.45
1086951-01    J.V.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …    5/6/2021   29825      $1,472.45
1086951-01    J.V.               Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …    5/6/2021   64415       $979.78
1086951-01    J.V.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …      5/6/2021   76942       $341.96
1086951-01    J.V.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     5/6/2021   A4649        $50.00
1086951-01    J.V.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…    5/6/2021   L8699       $185.00
1086951-01    J.V.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      5/6/2021   E0650       $531.06
1086951-01    J.V.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …      5/6/2021   E0666        $89.56
1086962-01    P.J.            New Horizon Surgical Center LLC           Arthroscopy Knee Synovectomy Limi… 5/24/2021       29875      $1,472.45
1086962-01    P.J.            New Horizon Surgical Center LLC            Arthrs Knee Abrasion Arthrp/Mlt D…    5/24/2021   29879      $1,472.45
1086962-01    P.J.            New Horizon Surgical Center LLC          Arthrs Knee W/Meniscectomy Med&La… 5/24/2021        29880      $3,026.24
1086962-01    P.J.            New Horizon Surgical Center LLC               Surgical Supply; Miscellaneous…    5/24/2021   A4649        $50.00
1086962-01    P.J.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 5/24/2021       E0650       $531.06
1086962-01    P.J.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     5/24/2021   E0666        $89.56
1086962-01    P.J.             Parkway Ambulatory Surgery Ce              Perq Intrdscl Electrothrm Annulop…   7/27/2021   22526     $11,680.00
1086962-01    P.J.             Parkway Ambulatory Surgery Ce            Discectomy Ant Dcmprn Cord Thorac… 7/27/2021       63077     $67,386.00
1086962-01    P.J.             Parkway Ambulatory Surgery Ce             Transpedicular Dcmprn Spinal Cord…    11/6/2021   63055      $7,000.00
1087516-05    D.S.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…    11/2/2020   87635      $1,200.00
1087516-05    D.S.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   11/9/2020   22526      $2,605.78
1087516-05    D.S.           Rockaways ASC Development LLC               Dcmprn Perq Nucleus Pulposus 1/> …    11/9/2020   62287      $5,292.93
1087516-05    D.S.           Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…    11/9/2020   A4649        $50.00
1087516-05    D.S.                       SCOB LLC                      Arthrs Kne Surg W/Meniscectomy Me… 12/5/2020        29881      $2,944.87
1087516-05    D.S.                       SCOB LLC                       Arthroscopy Knee W/Lysis Adhesion… 12/5/2020       29884      $2,944.87
1087516-05    D.S.                       SCOB LLC                       Arthroscopy Knee W/Lysis Adhesion… 12/5/2020       29884      $3,026.24
1086803-01    E.J.                       SCOB LLC                          Injection Single/Mlt Trigger Poin… 11/16/2020   20553       $473.39
1086803-01    E.J.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/16/2020   62321       $976.38
1086803-01    E.J.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 1/15/2021       29875      $1,472.45
1086803-01    E.J.          All City Family Healthcare Center, Inc.    Arthrs Kne Surg W/Meniscectomy Me… 1/15/2021        29881      $3,026.24
1086803-01    E.J.          All City Family Healthcare Center, Inc.         Unlisted Procedure Arthroscopy…    1/15/2021   29999      $1,472.45
1086803-01    E.J.          All City Family Healthcare Center, Inc.         Surgical Supply; Miscellaneous…    1/15/2021   A4649        $72.00
1087780-01    S.T.               Dynamic Surgery Center LLC               Inject Si Joint Arthrgrphy&/Anes/…   5/26/2021   27096      $1,288.58
1087780-01    S.T.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/26/2021   64493      $1,423.89
1087780-01    S.T.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/26/2021   64494      $1,342.52
1087780-01    S.T.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/26/2021   64495      $1,342.52
1087780-01    S.T.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/19/2023   62323       $976.38
1086870-01    N.T.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/15/2021   62323       $976.38
1086870-01    N.T.            Island Ambulatory Surgery Center                    Epidurograpy Rs&I…           1/15/2021   72275       $572.52
1086870-01    N.T.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     2/5/2021   62321       $976.38
1086870-01    N.T.            Island Ambulatory Surgery Center                    Epidurograpy Rs&I…            2/5/2021   72275       $572.52
1086870-01    N.T.            Island Ambulatory Surgery Center            Infectious Agent Antigen Detectio…    2/5/2021   87811       $750.00
1086870-01    N.T.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 4/12/2021       29875      $3,026.24
1086870-01    N.T.          All City Family Healthcare Center, Inc.         Surgical Supply; Miscellaneous…    4/12/2021   A4649        $72.00
1086870-01    N.T.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical, For …   4/12/2021   G0289      $1,472.45
1086807-03    D.G.                       SCOB LLC                          Injection Single/Mlt Trigger Poin… 10/26/2020   20553       $473.39
1086807-03    D.G.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/26/2020   62321       $976.38
1086807-03    D.G.                       SCOB LLC                                 Epidurograpy Rs&I…          10/26/2020   72275       $572.53
1086807-03    D.G.           Rockaways ASC Development LLC                Arthrocentesis Aspir&/Inj Major J…   2/10/2021   20610       $473.38
1086807-03    D.G.           Rockaways ASC Development LLC              Arthroscopy Knee Synovectomy Limi… 2/10/2021       29875      $1,472.45
1086807-03    D.G.           Rockaways ASC Development LLC             Arthrs Kne Surg W/Meniscectomy Me… 2/10/2021        29881      $3,026.24
1086807-03    D.G.           Rockaways ASC Development LLC              Arthroscopy Knee W/Lysis Adhesion… 2/10/2021       29884      $1,472.45
1086807-03    D.G.           Rockaways ASC Development LLC                  Unlisted Procedure Arthroscopy…    2/10/2021   29999      $1,472.45
1086807-03    D.G.           Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…    2/10/2021   A4649        $50.00
1086807-03    D.G.           Rockaways ASC Development LLC                Arthroscopy, Knee, Surgical, For …   2/10/2021   G0289      $1,472.45
1086669-02    S.H.           Rockaways ASC Development LLC             Arthrs Knee W/Meniscectomy Med&La… 11/17/2020       29880      $3,026.24
1086669-02    S.H.           Rockaways ASC Development LLC              Arthroscopy Knee W/Lysis Adhesion… 11/17/2020      29884      $1,472.45
1086669-02    S.H.           Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…   11/17/2020   A4649        $50.00
1086669-02    S.H.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    11/9/2021   62323       $976.38
1086746-01    N.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi… 11/22/2020       29875      $1,472.45
1086746-01    N.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 11/22/2020       29880      $3,026.24
1086746-01    N.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…   11/22/2020   87635        $51.33
1086746-01    N.A.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…   11/22/2020   A4649        $50.00

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                                                           1860
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1086746-01    N.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy, Knee, Surgical, For …  11/22/2020   G0289     $1,472.45
1086746-01    N.A.         Health East Ambulatory Surgical Center        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/14/2020   62323     $1,012.32
1086746-01    N.A.         Health East Ambulatory Surgical Center                 Epidurograpy Rs&I…          12/14/2020   72275      $442.29
1086746-01    N.A.         Health East Ambulatory Surgical Center        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/28/2020   62321     $1,012.32
1086746-01    N.A.         Health East Ambulatory Surgical Center                 Epidurograpy Rs&I…          12/28/2020   72275      $422.68
1086746-01    N.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…       3/7/2021   29823     $3,026.24
1086746-01    N.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …     3/7/2021   64415      $979.78
1086746-01    N.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …       3/7/2021   76942      $341.96
1086746-01    N.A.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…      3/7/2021   A4649       $50.00
1086746-01    N.A.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…   4/20/2021   22526     $2,646.47
1086746-01    N.A.            Island Ambulatory Surgery Center          Discectomy Ant Dcmprn Cord Cervic… 4/20/2021       63075     $5,292.93
1086746-01    N.A.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 4/20/2021       E0650      $531.06
1086746-01    N.A.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     4/20/2021   E0666       $89.56
1086746-01    N.A.            Island Ambulatory Surgery Center           Plmt Post Facet Implt Uni/Bi W/Im…    6/30/2021   0221T     $2,646.47
1086746-01    N.A.            Island Ambulatory Surgery Center             Place Posterior Intrafacet Implan…  6/30/2021   0222T     $2,646.47
1086746-01    N.A.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…   6/30/2021   22526     $2,646.47
1086746-01    N.A.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …    6/30/2021   62287     $5,292.93
1086746-01    N.A.            Island Ambulatory Surgery Center           Transection/Avulsion Oth Spinal N…    6/30/2021   64772     $1,112.23
1086746-01    N.A.            Island Ambulatory Surgery Center           Transection/Avulsion Oth Spinal N…    6/30/2021   64772     $1,112.23
1086746-01    N.A.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 6/30/2021       E0650      $531.06
1086746-01    N.A.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     6/30/2021   E0666       $89.56
1086746-01    N.A.                  Hudson Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/11/2022   62323      $976.38
1086746-02    A.D.              Healthplus Surgery Center LLC             Injection Single/Mlt Trigger Poin…  10/14/2020   20553      $473.39
1086746-02    A.D.              Healthplus Surgery Center LLC             Inject Si Joint Arthrgrphy&/Anes/…  10/14/2020   27096     $1,288.58
1086746-02    A.D.              Healthplus Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/14/2020   64493     $1,423.89
1086746-02    A.D.              Healthplus Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/14/2020   64494     $1,342.52
1086746-02    A.D.              Healthplus Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/14/2020   64495     $1,342.52
1086746-02    A.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…      12/6/2020   29821     $5,677.77
1086746-02    A.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…      12/6/2020   29823     $1,472.45
1086746-02    A.D.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Ahesiolysis …    12/6/2020   29825     $1,472.45
1086746-02    A.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 12/6/2020        29826     $1,472.45
1086746-02    A.D.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …    12/6/2020   64415      $979.78
1086746-02    A.D.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …      12/6/2020   76942      $341.96
1086746-02    A.D.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     12/6/2020   A4649       $50.00
1086746-02    A.D.            Island Ambulatory Surgery Center           Plmt Post Facet Implt Uni/Bi W/Im…     2/8/2021   0221T     $2,646.47
1086746-02    A.D.            Island Ambulatory Surgery Center             Place Posterior Intrafacet Implan…   2/8/2021   0222T     $2,646.47
1086746-02    A.D.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…    2/8/2021   22526     $2,646.47
1086746-02    A.D.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…    2/8/2021   22527     $2,646.47
1086746-02    A.D.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …     2/8/2021   62287     $5,292.93
1086746-02    A.D.            Island Ambulatory Surgery Center           Transection/Avulsion Oth Spinal N…     2/8/2021   64772     $2,224.46
1086746-02    A.D.            Island Ambulatory Surgery Center           Transection/Avulsion Oth Spinal N…     2/8/2021   64772     $2,224.46
1086746-02    A.D.            Island Ambulatory Surgery Center           Infectious Agent Detection By Nuc…     2/8/2021   87635      $750.00
1086746-02    A.D.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/15/2021   62321      $976.38
1086746-02    A.D.            Island Ambulatory Surgery Center                    Epidurograpy Rs&I…           3/15/2021   72275      $572.52
1086746-02    A.D.            Island Ambulatory Surgery Center          Discectomy Ant Dcmprn Cord Cervic… 4/26/2021       63075     $5,292.93
1086746-02    A.D.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 4/26/2021       E0650      $531.06
1086746-02    A.D.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     4/26/2021   E0666       $89.56
1086540-01    I.P.               Dynamic Surgery Center LLC               Injection Single/Mlt Trigger Poin…  12/23/2020   20553      $473.39
1086540-01    I.P.               Dynamic Surgery Center LLC               Inject Si Joint Arthrgrphy&/Anes/…  12/23/2020   27096     $1,288.58
1086540-01    I.P.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   12/23/2020   64493     $1,423.89
1086540-01    I.P.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   12/23/2020   64494     $1,342.52
1086540-01    I.P.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   12/23/2020   64495     $1,342.52
1086540-01    I.P.               Dynamic Surgery Center LLC                       Epidurograpy Rs&I…          12/23/2020   72275      $460.86
1086540-01    I.P.               Dynamic Surgery Center LLC               Injection Single/Mlt Trigger Poin…    1/6/2021   20553      $473.39
1086540-01    I.P.               Dynamic Surgery Center LLC               Inject Si Joint Arthrgrphy&/Anes/…    1/6/2021   27096     $1,288.58
1086540-01    I.P.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/6/2021   64493     $1,423.89
1086540-01    I.P.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/6/2021   64494     $1,342.52
1086540-01    I.P.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/6/2021   64495     $1,342.52
1086540-01    I.P.               Dynamic Surgery Center LLC               Injection Single/Mlt Trigger Poin…   2/17/2021   20553      $473.39
1086540-01    I.P.               Dynamic Surgery Center LLC               Inject Si Joint Arthrgrphy&/Anes/…   2/17/2021   27096     $1,288.58
1086540-01    I.P.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/17/2021   64493     $1,423.89
1086540-01    I.P.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/17/2021   64494     $1,342.52
1086540-01    I.P.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/17/2021   64495     $1,342.52
1086540-01    I.P.          All City Family Healthcare Center, Inc.       Arthrocentesis Aspir&/Inj Major J…  10/27/2021   20610      $473.38
1086540-01    I.P.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 10/27/2021      29875     $1,472.45
1086540-01    I.P.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 10/27/2021       29880     $3,026.24
1086540-01    I.P.          All City Family Healthcare Center, Inc.     Arthroscopy Knee W/Lysis Adhesion… 10/27/2021      29884     $1,472.45
1086540-01    I.P.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…    10/27/2021   29999     $1,472.45

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                                                           1861
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                          Provider                                      Service
 Number      Person                                                                                                Service     Code       Billed
1086540-01    I.P.          All City Family Healthcare Center, Inc.         Arthroscopy, Knee, Surgical, For …    10/27/2021   G0289     $1,472.45
1086776-01    Y.M.               East Tremont Medical Center              Anesthesia Perq Image Guided Spin…      12/18/2020    1936     $1,087.00
1086776-01    Y.M.               East Tremont Medical Center               Perq Intrdscl Electrothrm Annulop…     12/18/2020   22526     $6,840.00
1086776-01    Y.M.               East Tremont Medical Center              Dcmprn Perq Nucleus Pulposus 1/> …      12/18/2020   62287     $7,085.00
1086776-01    Y.M.               East Tremont Medical Center              Injection Px Discography Each Lev…      12/18/2020   62290     $6,420.00
1086776-01    Y.M.               East Tremont Medical Center               Njx Arterial Occlusion Arven Malf…     12/18/2020   62294     $6,280.00
1086776-01    Y.M.               East Tremont Medical Center             Njx Anes&/Strd W/Img Tfrml Edrl L…       12/18/2020   64483     $5,840.00
1086776-01    Y.M.               East Tremont Medical Center             Njx Anes&/Strd W/Img Tfrml Edrl L…       12/18/2020   64484     $5,675.00
1086776-01    Y.M.           Rockaways ASC Development LLC               Njx Anes&/Strd W/Img Tfrml Edrl L…        3/11/2021   64483      $976.38
1086776-01    Y.M.           Rockaways ASC Development LLC               Njx Anes&/Strd W/Img Tfrml Edrl L…        3/11/2021   64484      $447.52
1086776-01    Y.M.           Rockaways ASC Development LLC                 Infectious Agent Detection By Nuc…      3/11/2021   87635       $51.33
1086776-01    Y.M.           Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…      3/11/2021   A4649       $50.00
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center      Injection Single/Mlt Trigger Poin…     5/25/2021   20553      $236.69
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      5/25/2021   62321      $976.38
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center              Epidurograpy Rs&I…             5/25/2021   72275      $572.53
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Infectious Agent Detection By Nuc…      5/25/2021   87635       $51.33
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center        Surgical Supply; Miscellaneous…      5/25/2021   A4649       $50.00
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center      Injection Single/Mlt Trigger Poin…      6/5/2021   20553      $473.39
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Perq Intrdscl Electrothrm Annulop…       6/5/2021   22526     $5,292.93
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Unlisted Procedure Nervous System…        6/5/2021   64999      $373.98
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center        Surgical Supply; Miscellaneous…       6/5/2021   A4649       $50.00
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center      Injection Single/Mlt Trigger Poin…     6/15/2021   20553      $236.69
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       6/15/2021   62323      $976.38
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center              Epidurograpy Rs&I…             6/15/2021   72275      $572.53
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center        Surgical Supply; Miscellaneous…      6/15/2021   A4649       $50.00
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Perq Intrdscl Electrothrm Annulop…       7/6/2021   22526     $2,605.78
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Perq Intrdscl Electrothrm Annulop…       7/6/2021   22527     $2,605.79
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Dcmprn Perq Nucleus Pulposus 1/> …        7/6/2021   62287     $5,292.93
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center        Surgical Supply; Miscellaneous…       7/6/2021   A4649       $50.00
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center      Injection Single/Mlt Trigger Poin…     7/27/2021   20553      $236.69
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       7/27/2021   62323      $976.38
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center              Epidurograpy Rs&I…             7/27/2021   72275      $572.53
1086776-01    Y.M.     NYEEQASC LLC d/b/a North Queens Surgical Center        Surgical Supply; Miscellaneous…      7/27/2021   A4649       $50.00
1086810-01    F.L.            Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…       3/9/2021   20610      $473.39
1086810-01    F.L.            Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…        3/9/2021   29821     $5,677.77
1086810-01    F.L.            Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…        3/9/2021   29823     $1,472.45
1086810-01    F.L.            Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …       3/9/2021   64415      $979.78
1086810-01    F.L.            Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …         3/9/2021   76942      $341.96
1086810-01    F.L.            Fifth Avenue Surgery Center LLC                 Surgical Supply; Miscellaneous…       3/9/2021   A4649       $50.00
1086810-01    F.L.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…         3/9/2021   E0650      $531.06
1086810-01    F.L.                     Good Medica Inc                   Nonsegmental Pneumatic Appliance …         3/9/2021   E0666       $89.56
1086973-01    B.D.                       SCOB LLC                           Injection Single/Mlt Trigger Poin…     10/7/2020   20553      $473.39
1086973-01    B.D.                       SCOB LLC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       10/7/2020   62323      $976.38
1086973-01    B.D.                       SCOB LLC                                   Epidurograpy Rs&I…             10/7/2020   72275      $572.53
1086973-01    B.D.           Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…     11/6/2020   20552      $236.69
1086973-01    B.D.           Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       11/6/2020   62323      $976.38
1086973-01    B.D.           Rockaways ASC Development LLC                          Epidurograpy Rs&I…             11/6/2020   72275      $572.53
1086973-01    B.D.           Rockaways ASC Development LLC               Us Guidance Needle Placement Img …        11/6/2020   76942      $341.96
1086973-01    B.D.           Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…      11/6/2020   A4649       $50.00
1086973-01    B.D.           Rockaways ASC Development LLC                Dcmprn Perq Nucleus Pulposus 1/> …      12/14/2020   62287     $5,292.93
1086973-01    B.D.           Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…     12/14/2020   A4649       $50.00
1086973-01    B.D.                     Triborough ASC                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       3/10/2021   64493     $1,000.00
1086973-01    B.D.                     Triborough ASC                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       3/10/2021   64494     $1,000.00
1086973-01    B.D.                     Triborough ASC                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       3/10/2021   64495     $1,000.00
1086973-01    B.D.                     Triborough ASC                      Fluor Needle/Cath Spine/Paraspina…      3/10/2021   77003      $225.00
1086973-01    B.D.                     Triborough ASC                          Glucose Blood Reagent Strip…        3/10/2021   82948       $20.00
1086973-01    B.D.                     Triborough ASC                    New Cpt Code 99072 Was Establishe…        3/10/2021   99072      $200.00
1086973-01    B.D.                     Triborough ASC                     Injection, Dexamethasone Sodium P…       3/10/2021   J1100       $52.64
1086973-01    B.D.                     Triborough ASC                        Injection, Lidocaine Hcl For Intr…    3/10/2021   J2001       $48.00
1087008-02    M.Z.           Rockaways ASC Development LLC                Arthroscopy Shoulder Surg Synovec…      11/20/2020   29821     $5,677.77
1087008-02    M.Z.           Rockaways ASC Development LLC                Arthroscopy Shoulder Surg Debride…      11/20/2020   29823     $1,472.45
1087008-02    M.Z.           Rockaways ASC Development LLC                 Arthroscopy Shoulder Ahesiolysis …     11/20/2020   29825     $1,472.45
1087008-02    M.Z.           Rockaways ASC Development LLC                   Unlisted Procedure Arthroscopy…      11/20/2020   29999     $1,472.45
1087008-02    M.Z.           Rockaways ASC Development LLC                 Single Nerve Block Injection Arm …     11/20/2020   64415      $979.78
1087008-02    M.Z.           Rockaways ASC Development LLC               Us Guidance Needle Placement Img …       11/20/2020   76942      $341.96
1087008-02    M.Z.           Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…     11/20/2020   A4649       $50.00
1087008-02    M.Z.                       SCOB LLC                          Arthrocentesis Aspir&/Inj Major J…       2/6/2021   20610      $473.39
1087008-02    M.Z.                       SCOB LLC                        Arthroscopy Knee Removal Loose/Fo…         2/6/2021   29874     $2,944.87

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1087008-02    M.Z.                     SCOB LLC                            Arthroscopy Knee Synovectomy 2/>C…      2/6/2021   29876     $2,944.87
1087008-02    M.Z.                     SCOB LLC                             Arthrs Knee Abrasion Arthrp/Mlt D…     2/6/2021   29879     $3,026.24
1087008-02    M.Z.                     SCOB LLC                           Arthrs Knee W/Meniscectomy Med&La… 2/6/2021         29880     $2,944.87
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…     9/9/2020   22505     $1,577.52
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…     9/9/2020   22505      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…     9/9/2020   22505      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…      9/9/2020   23700      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Hip Joint General An…     9/9/2020   27275      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Hip Joint General An…     9/9/2020   27275      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…     9/9/2020   A4649       $72.00
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…    9/10/2020   22505      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…    9/10/2020   22505      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…    9/10/2020   22505     $1,577.52
1087056-02    D.C.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…     9/10/2020   23700      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Hip Joint General An…    9/10/2020   27275      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Hip Joint General An…    9/10/2020   27275      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…    9/10/2020   A4649       $72.00
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…    9/22/2020   22505     $1,577.52
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…    9/22/2020   22505      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…    9/22/2020   22505      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…     9/22/2020   23700      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Hip Joint General An…    9/22/2020   27275      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.           Manipulation Hip Joint General An…    9/22/2020   27275      $748.08
1087056-02    D.C.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…    9/22/2020   A4649       $72.00
1087056-02    D.C.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/17/2021   62323      $976.38
1087056-02    D.C.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…           2/17/2021   72275      $572.52
1087056-02    D.C.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin…   3/3/2021   20553      $277.37
1087056-02    D.C.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     3/3/2021   62321      $976.38
1087056-02    D.C.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…            3/3/2021   72275      $572.52
1086266-01    V.B.        Health East Ambulatory Surgical Center              Injection Single/Mlt Trigger Poin… 11/17/2020   20553      $107.64
1086266-01    V.B.        Health East Ambulatory Surgical Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/17/2020   62321     $1,012.32
1086266-01    V.B.        Health East Ambulatory Surgical Center                     Epidurograpy Rs&I…          11/17/2020   72275      $422.68
1086266-01    V.B.        Health East Ambulatory Surgical Center           Us Guidance Needle Placement Img … 11/17/2020      76942      $403.00
1086266-01    V.B.        Health East Ambulatory Surgical Center            Arthroscopy Shoulder Surg Synovec…    2/18/2021   29820     $3,231.20
1086266-01    V.B.        Health East Ambulatory Surgical Center            Arthroscopy Shoulder Surg Debride…    2/18/2021   29823     $3,231.20
1086266-01    V.B.        Health East Ambulatory Surgical Center            Arthroscopy Shoulder Ahesiolysis …    2/18/2021   29825     $3,231.20
1086266-01    V.B.        Health East Ambulatory Surgical Center           Arthroscopy Shoulder W/Coracoacrm… 2/18/2021       29826     $6,462.39
1086266-01    V.B.        Health East Ambulatory Surgical Center            Single Nerve Block Injection Arm …    2/18/2021   64415     $1,000.00
1086266-01    V.B.        Health East Ambulatory Surgical Center             Injection Anes Brachial Plexus Co…   2/18/2021   64416     $1,012.32
1086266-01    V.B.        Health East Ambulatory Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…   7/27/2021   64490     $1,518.48
1086266-01    V.B.        Health East Ambulatory Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…   7/27/2021   64491      $533.92
1086266-01    V.B.        Health East Ambulatory Surgical Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/30/2021   62323     $1,012.32
1086266-01    V.B.        Health East Ambulatory Surgical Center                     Epidurograpy Rs&I…           9/30/2021   72275      $442.29
1086266-01    V.B.        Health East Ambulatory Surgical Center           Arthroscopy Knee Synovectomy 2/>C… 12/9/2021       29876     $1,998.86
1086266-01    V.B.        Health East Ambulatory Surgical Center          Arthrs Knee W/Meniscectomy Med&La… 12/9/2021        29880     $3,997.71
1086266-01    V.B.        Health East Ambulatory Surgical Center              Injection Anesthetic Agent Sciati…  12/9/2021   64445     $1,000.00
1086266-01    V.B.        Health East Ambulatory Surgical Center            Injection Anesthetic Agent Femora…    12/9/2021   64447     $1,000.00
1086266-01    V.B.        Health East Ambulatory Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/12/2022   64490     $1,518.48
1086266-01    V.B.        Health East Ambulatory Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/12/2022   64490     $1,518.48
1086266-01    V.B.        Health East Ambulatory Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/12/2022   64491      $533.92
1086266-01    V.B.        Health East Ambulatory Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/12/2022   64491      $533.92
1086266-01    V.B.          Fifth Avenue Surgery Center LLC                  Perq Intrdscl Electrothrm Annulop…   2/17/2023   22526     $2,605.78
1086266-01    V.B.          Fifth Avenue Surgery Center LLC                  Perq Intrdscl Electrothrm Annulop…   2/17/2023   22527     $2,605.79
1086266-01    V.B.          Fifth Avenue Surgery Center LLC                 Dcmprn Perq Nucleus Pulposus 1/> …    2/17/2023   62287     $5,292.93
1086266-01    V.B.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/14/2023   62321      $976.38
1086329-05    R.R.                   Good Medica Inc                       Crutches, Underarm, Other Than Wo…     3/14/2021   E0114       $23.38
1086329-05    R.R.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 3/14/2021       E0650      $531.06
1086329-05    R.R.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     3/14/2021   E0666       $89.56
1086329-05    R.R.                   Good Medica Inc                              Surgical Boot/Shoe, Each…       3/14/2021   L3260       $22.50
1086329-05    R.R.          New Horizon Surgical Center LLC                 Arthroscopy Ankle Surgical Debrid…    5/14/2021   29898     $3,026.24
1086329-05    R.R.          New Horizon Surgical Center LLC                    Unlisted Procedure Arthroscopy…    5/14/2021   29999     $1,472.45
1086329-05    R.R.          New Horizon Surgical Center LLC                   Injection Anesthetic Agent Sciati…  5/14/2021   64445      $976.38
1086329-05    R.R.          New Horizon Surgical Center LLC                 Injection Anesthetic Agent Femora…    5/14/2021   64447      $447.52
1086329-05    R.R.          New Horizon Surgical Center LLC                Us Guidance Needle Placement Img …     5/14/2021   76942      $341.96
1086329-05    R.R.          New Horizon Surgical Center LLC                    Surgical Supply; Miscellaneous…    5/14/2021   A4649       $50.00
1086329-05    R.R.               Hudson Regional Hospital                  Antibody Screen Rbc Each Serum Te…     8/10/2021   86850      $105.80
1086329-05    R.R.               Hudson Regional Hospital                       Blood Typing Serologic Abo…       8/10/2021   86900      $498.84
1086329-05    R.R.               Hudson Regional Hospital                      Blood Typing Serologic Rh (D)…     8/10/2021   86901       $56.95

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                                                          1863
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1086329-05    R.R.              Hudson Regional Hospital                     Injection, Succinylcholine Chlori…  8/10/2021   J0330      $139.00
1086329-05    R.R.              Hudson Regional Hospital                     Injection, Cefazolin Sodium, 500 …  8/10/2021   J0690       $18.00
1086329-05    R.R.                     SCOB LLC                              Dstr Nrolytc Agnt Parverteb Fct S… 10/12/2022   64635      $979.78
1086329-05    R.R.                     SCOB LLC                             Dstr Nrolytc Agnt Parverteb Fct A…  10/12/2022   64636      $898.41
1086329-05    R.R.                     SCOB LLC                             Dstr Nrolytc Agnt Parverteb Fct A…  10/12/2022   64636      $898.41
1086329-05    R.R.             Citimed Surgery Center LLC                    Dstr Nrolytc Agnt Parverteb Fct S…  2/27/2023   64635      $979.78
1086329-05    R.R.             Citimed Surgery Center LLC                   Dstr Nrolytc Agnt Parverteb Fct A…   2/27/2023   64636      $898.41
1086329-05    R.R.             Citimed Surgery Center LLC                   Dstr Nrolytc Agnt Parverteb Fct A…   2/27/2023   64636      $898.41
1086329-05    R.R.             Citimed Surgery Center LLC                    Dstr Nrolytc Agnt Parverteb Fct S…   5/1/2023   64635      $979.78
1086329-05    R.R.             Citimed Surgery Center LLC                    Dstr Nrolytc Agnt Parverteb Fct S… 12/19/2023   64635      $979.78
1086329-05    R.R.             Citimed Surgery Center LLC                   Dstr Nrolytc Agnt Parverteb Fct A…  12/19/2023   64636      $898.41
1086329-05    R.R.             Citimed Surgery Center LLC                   Dstr Nrolytc Agnt Parverteb Fct A…  12/19/2023   64636      $898.41
1086448-02    P.R.         Rockaways ASC Development LLC                   Arthroscopy Shoulder Surg Synovec…    9/18/2020   29821     $5,677.77
1086448-02    P.R.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Surg Debride…   9/18/2020   29823     $1,472.45
1086448-02    P.R.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Ahesiolysis …   9/18/2020   29825     $1,472.45
1086448-02    P.R.         Rockaways ASC Development LLC                      Unlisted Procedure Arthroscopy…    9/18/2020   29999     $1,472.45
1086448-02    P.R.         Rockaways ASC Development LLC                    Single Nerve Block Injection Arm …   9/18/2020   64415      $979.78
1086448-02    P.R.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …    9/18/2020   76942      $341.96
1086448-02    P.R.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    9/18/2020   A4649       $50.00
1086448-02    P.R.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…   2/5/2021   20553      $225.00
1086448-02    P.R.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/5/2021   62323     $1,550.00
1086448-02    P.R.                   Triborough ASC                                  Epidurograpy Rs&I…           2/5/2021   72275      $700.00
1086448-02    P.R.                   Triborough ASC                         Fluor Needle/Cath Spine/Paraspina…    2/5/2021   77003      $225.00
1086448-02    P.R.                   Triborough ASC                         Urine Pregnancy Test Visual Color…    2/5/2021   81025       $30.00
1086448-02    P.R.                   Triborough ASC                         Glucose Quantitative Blood Xcpt R…    2/5/2021   82947       $20.00
1086448-02    P.R.                   Triborough ASC                        New Cpt Code 99072 Was Establishe…     2/5/2021   99072      $200.00
1086448-02    P.R.                   Triborough ASC                        Injection, Dexamethasone Sodium P…     2/5/2021   J1100       $52.64
1086448-02    P.R.                   Triborough ASC                                  Unclassified Drugs…          2/5/2021   J3490       $40.64
1086448-02    P.R.                   Triborough ASC                         Low Osmolar Contrast Material, 10…    2/5/2021   Q9965       $13.90
1086643-02    J.R.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/26/2020   62323      $976.38
1086643-02    J.R.        Bronx SC LLC d/b/a Empire State ASC                        Epidurograpy Rs&I…          9/26/2020   72275      $572.53
1086643-02    J.R.        Bronx SC LLC d/b/a Empire State ASC                 Surgical Supply; Miscellaneous…    9/26/2020   A4649       $50.00
1086643-02    J.R.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/7/2020   62321      $976.38
1086643-02    J.R.        Bronx SC LLC d/b/a Empire State ASC                        Epidurograpy Rs&I…          10/7/2020   72275      $572.53
1086643-02    J.R.        Bronx SC LLC d/b/a Empire State ASC                 Surgical Supply; Miscellaneous…    10/7/2020   A4649       $50.00
1086643-02    J.R.               Avicenna Surgery Center                    Injection Anes Agent Sphenopalati…   11/6/2020   64505     $1,658.60
1085968-04    A.V.        All City Family Healthcare Center, Inc.           Tenotomy Shoulder Area 1 Tendon…     11/5/2020   23405     $1,839.77
1085968-04    A.V.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surgical Rem…    11/5/2020   29819     $1,472.45
1085968-04    A.V.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…    11/5/2020   29821     $5,677.77
1085968-04    A.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   11/5/2020   29823     $1,472.45
1085968-04    A.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …   11/5/2020   29825     $1,472.45
1085968-04    A.V.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   11/5/2020   64415      $979.78
1085968-04    A.V.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    11/5/2020   76942      $341.96
1085968-04    A.V.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…    11/5/2020   A4649       $72.00
1085968-04    A.V.                Surgicare of Manhattan                   Arthrs Knee Abrasion Arthrp/Mlt D…    3/24/2021   29879     $3,026.23
1085968-04    A.V.                Surgicare of Manhattan                  Arthrs Knee W/Meniscectomy Med&La… 3/24/2021       29880     $1,513.12
1085968-04    A.V.                Surgicare of Manhattan                    Injection Anesthetic Agent Femora…   3/24/2021   64447      $414.65
1085968-04    A.V.                Surgicare of Manhattan                   Us Guidance Needle Placement Img …    3/24/2021   76942      $211.66
1086111-01    D.G.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  9/23/2020   20553      $473.39
1086111-01    D.G.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/23/2020   62323      $829.30
1086111-01    D.G.                     SCOB LLC                                      Epidurograpy Rs&I…          9/23/2020   72275      $572.53
1086111-01    D.G.        All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…   9/30/2020   22526     $2,605.78
1086111-01    D.G.        All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…   9/30/2020   22527     $2,605.79
1086111-01    D.G.        All City Family Healthcare Center, Inc.          Dcmprn Perq Nucleus Pulposus 1/> …    9/30/2020   62287     $5,292.93
1086111-01    D.G.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…    9/30/2020   A4649       $72.00
1086111-01    D.G.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin… 10/12/2020   20552      $236.69
1086111-01    D.G.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin… 10/12/2020   20552      $236.69
1086111-01    D.G.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/12/2020   62323      $976.38
1086111-01    D.G.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/12/2020   62323      $976.38
1086111-01    D.G.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…         10/12/2020   72275      $572.53
1086111-01    D.G.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…         10/12/2020   72275      $572.53
1086111-01    D.G.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img … 10/12/2020     76942      $341.96
1086111-01    D.G.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img … 10/12/2020     76942      $341.96
1086111-01    D.G.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…   10/12/2020   A4649       $50.00
1086111-01    D.G.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…   10/12/2020   A4649       $50.00
1085738-03    R.B.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  10/2/2020   20553      $473.39
1085738-03    R.B.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/2/2020   62323      $976.38
1085738-03    R.B.                     SCOB LLC                                      Epidurograpy Rs&I…          10/2/2020   72275      $572.53

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                                                          1864
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1085738-03    R.B.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…    10/19/2020   20553      $473.39
1085738-03    R.B.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     10/19/2020   62321      $976.38
1085738-03    R.B.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…    10/26/2020   20553      $473.39
1085738-03    R.B.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     10/26/2020   62323      $976.38
1085738-03    R.B.                     SCOB LLC                                      Epidurograpy Rs&I…            10/26/2020   72275      $572.53
1085738-03    R.B.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…    11/23/2020   20552      $236.69
1085738-03    R.B.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     11/23/2020   62321      $976.38
1085738-03    R.B.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…            11/23/2020   72275      $572.53
1085738-03    R.B.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …      11/23/2020   76942      $341.96
1085738-03    R.B.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…     11/23/2020   A4649       $50.00
1085738-03    R.B.         Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Crv…      12/7/2020   64490      $976.38
1085738-03    R.B.         Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Crv…      12/7/2020   64490      $447.52
1085738-03    R.B.         Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Crv…      12/7/2020   64491      $447.52
1085738-03    R.B.         Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Crv…      12/7/2020   64491      $447.52
1085738-03    R.B.         Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Crv…      12/7/2020   64492      $447.52
1085738-03    R.B.         Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Crv…      12/7/2020   64492      $447.52
1085738-03    R.B.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…      12/7/2020   A4649       $50.00
1085738-03    R.B.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…       1/21/2021   29821      $190.42
1085738-03    R.B.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…       1/21/2021   29821     $5,677.77
1085738-03    R.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…      1/21/2021   29823      $200.95
1085738-03    R.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …      1/21/2021   29825      $202.51
1085738-03    R.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …      1/21/2021   29825     $1,472.45
1085738-03    R.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …      1/21/2021   29825     $1,472.45
1085738-03    R.B.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …      1/21/2021   64415      $979.78
1085738-03    R.B.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …       1/21/2021   76942      $341.96
1085738-03    R.B.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…      1/21/2021   A4649       $72.00
1085999-04    S.A.             Global Surgery Center LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/21/2020   62323     $1,518.48
1085999-04    S.A.             Global Surgery Center LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      1/23/2021   62323     $1,518.48
1085999-04    S.A.             Global Surgery Center LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      4/17/2021   62323     $1,518.48
1085999-04    S.A.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…      1/12/2022   22526     $2,605.78
1085999-04    S.A.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…      1/12/2022   22527     $2,605.78
1085999-04    S.A.         Rockaways ASC Development LLC                   Dcmprn Perq Nucleus Pulposus 1/> …       1/12/2022   62287     $5,292.93
1085999-04    S.A.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…      1/12/2022   87635       $51.33
1085901-02    A.M.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…     9/18/2020   20553      $473.39
1085901-02    A.M.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      9/18/2020   62321      $829.30
1085901-02    A.M.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surgical Rep…      10/7/2020   29807     $5,677.77
1085901-02    A.M.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…       10/7/2020   29821     $2,798.20
1085901-02    A.M.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…      10/7/2020   29823     $1,472.45
1085901-02    A.M.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…       10/7/2020   29826     $1,472.45
1085901-02    A.M.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …      10/7/2020   64415      $979.78
1085901-02    A.M.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …       10/7/2020   76942      $341.96
1085901-02    A.M.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…      10/7/2020   A4649       $72.00
1085901-02    A.M.         Rockaways ASC Development LLC                   Discectomy Ant Dcmprn Cord Cervic…      11/23/2020   63075     $5,292.93
1085901-02    A.M.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…     11/23/2020   A4649       $50.00
1085901-02    A.M.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…      5/12/2021   64490     $1,455.00
1085901-02    A.M.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…      5/12/2021   64491     $1,000.00
1085901-02    A.M.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…      5/12/2021   64492     $1,000.00
1085901-02    A.M.                   Triborough ASC                         Fluor Needle/Cath Spine/Paraspina…      5/12/2021   77003      $225.00
1085901-02    A.M.                   Triborough ASC                         Urine Pregnancy Test Visual Color…      5/12/2021   81025       $30.00
1085901-02    A.M.                   Triborough ASC                         Glucose Quantitative Blood Xcpt R…      5/12/2021   82947       $20.00
1085901-02    A.M.                   Triborough ASC                        New Cpt Code 99072 Was Establishe…       5/12/2021   99072      $200.00
1085901-02    A.M.                   Triborough ASC                        Injection, Dexamethasone Sodium P…       5/12/2021   J1100       $52.64
1085901-02    A.M.                   Triborough ASC                           Injection, Lidocaine Hcl For Intr…    5/12/2021   J2001       $48.00
1085901-02    A.M.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…     6/30/2021   20553      $554.74
1085901-02    A.M.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…      6/30/2021   64490      $976.38
1085901-02    A.M.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…      6/30/2021   64491      $976.38
1085901-02    A.M.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…      6/30/2021   64492      $976.38
1085901-02    A.M.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…     7/28/2021   20553      $554.74
1085901-02    A.M.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…      7/28/2021   64490      $976.38
1085901-02    A.M.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…      7/28/2021   64491      $976.38
1085901-02    A.M.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…      7/28/2021   64492      $976.38
1085901-02    A.M.                   Triborough ASC                          Dstr Nrolytc Agnt Parverteb Fct S…     7/28/2021   64633      $976.38
1085901-02    A.M.                   Triborough ASC                         Dstr Nrolytc Agnt Parverteb Fct A…      7/28/2021   64634      $976.38
1085901-02    A.M.                   Triborough ASC                         Dstr Nrolytc Agnt Parverteb Fct A…      7/28/2021   64634      $976.38
1085859-03    G.M.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…     9/16/2020   20553      $473.39
1085859-03    G.M.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      9/16/2020   62321      $829.30
1085859-03    G.M.                     SCOB LLC                                      Epidurograpy Rs&I…             9/16/2020   72275      $572.53
1085859-03    G.M.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…    10/26/2020   20553      $473.39

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                 Date of     Billing   Amount
                                        Provider                                          Service
 Number      Person                                                                                                  Service     Code       Billed
1085859-03    G.M.                     SCOB LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/26/2020   64493     $1,423.89
1085859-03    G.M.                     SCOB LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/26/2020   64494     $1,342.52
1085859-03    G.M.                     SCOB LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/26/2020   64495     $1,342.52
1085859-03    G.M.         Rockaways ASC Development LLC                       Injection Single/Mlt Trigger Poin…   12/11/2020   20552      $236.69
1085859-03    G.M.         Rockaways ASC Development LLC                     Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     12/11/2020   62321      $976.38
1085859-03    G.M.         Rockaways ASC Development LLC                              Epidurograpy Rs&I…            12/11/2020   72275      $572.53
1085859-03    G.M.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …       12/11/2020   76942      $341.96
1085859-03    G.M.         Rockaways ASC Development LLC                        Surgical Supply; Miscellaneous…     12/11/2020   A4649       $50.00
1085859-03    G.M.                     SCOB LLC                                Injection Single/Mlt Trigger Poin…   12/28/2020   20553      $473.39
1085859-03    G.M.                     SCOB LLC                              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     12/28/2020   62321      $976.38
1085859-03    G.M.                     SCOB LLC                                       Epidurograpy Rs&I…            12/28/2020   72275      $460.86
1085859-03    G.M.                   Triborough ASC                            Injection Single/Mlt Trigger Poin…     5/7/2021   20553      $225.00
1085859-03    G.M.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…        5/7/2021   62323     $1,550.00
1085859-03    G.M.                   Triborough ASC                                   Epidurograpy Rs&I…              5/7/2021   72275      $700.00
1085859-03    G.M.                   Triborough ASC                          Fluor Needle/Cath Spine/Paraspina…       5/7/2021   77003      $225.00
1085859-03    G.M.                   Triborough ASC                              Glucose Blood Reagent Strip…         5/7/2021   82948       $20.00
1085859-03    G.M.                   Triborough ASC                        New Cpt Code 99072 Was Establishe…         5/7/2021   99072      $200.00
1085859-03    G.M.                   Triborough ASC                         Injection, Dexamethasone Sodium P…        5/7/2021   J1100       $52.64
1085859-03    G.M.                   Triborough ASC                                    Unclassified Drugs…            5/7/2021   J3490       $40.64
1085859-03    G.M.                   Triborough ASC                         Low Osmolar Contrast Material, 10…        5/7/2021   Q9965       $13.90
1085859-03    G.M.         Rockaways ASC Development LLC                     Tenotomy Shoulder Area 1 Tendon…        5/28/2021   23405     $1,839.77
1085859-03    G.M.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Surg Synovec…       5/28/2021   29821     $5,677.77
1085859-03    G.M.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Surg Debride…       5/28/2021   29823     $1,472.45
1085859-03    G.M.         Rockaways ASC Development LLC                     Arthroscopy Shoulder Ahesiolysis …      5/28/2021   29825     $1,472.45
1085859-03    G.M.         Rockaways ASC Development LLC                   Arthroscopy Shoulder W/Coracoacrm…        5/28/2021   29826     $1,472.45
1085859-03    G.M.         Rockaways ASC Development LLC                     Single Nerve Block Injection Arm …      5/28/2021   64415      $979.78
1085859-03    G.M.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …        5/28/2021   76942      $341.96
1085859-03    G.M.         Rockaways ASC Development LLC                        Surgical Supply; Miscellaneous…      5/28/2021   A4649       $50.00
1085859-03    G.M.               Hudson Regional Hospital                    Infectious Agent Detection By Nuc…       6/4/2021   87635     $1,200.00
1085859-03    G.M.             Citimed Surgery Center LLC                      Injection Single/Mlt Trigger Poin…     6/8/2021   20553      $473.39
1085859-03    G.M.             Citimed Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…        6/8/2021   62323      $976.38
1085859-03    G.M.               Hudson Regional Hospital                    Infectious Agent Detection By Nuc…      6/14/2021   87635     $1,200.00
1085859-03    G.M.             Citimed Surgery Center LLC                      Injection Single/Mlt Trigger Poin…    6/19/2021   20553      $473.39
1085859-03    G.M.             Citimed Surgery Center LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      6/19/2021   62321      $976.38
1085859-03    G.M.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…        8/1/2021   29821     $5,677.77
1085859-03    G.M.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…        8/1/2021   29823     $1,472.45
1085859-03    G.M.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …       8/1/2021   29825     $1,472.45
1085859-03    G.M.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…         8/1/2021   29826     $1,472.45
1085859-03    G.M.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …       8/1/2021   64415      $979.78
1085859-03    G.M.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …         8/1/2021   76942      $341.96
1085859-03    G.M.        All City Family Healthcare Center, Inc.            Infectious Agent Detection By Nuc…       8/1/2021   87635       $51.33
1085859-03    G.M.        All City Family Healthcare Center, Inc.               Surgical Supply; Miscellaneous…       8/1/2021   A4649       $72.00
1085859-03    G.M.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…      8/30/2021   22526     $5,292.93
1085859-03    G.M.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…      8/30/2021   22527     $5,292.93
1085859-03    G.M.                   Triborough ASC                         Dcmprn Perq Nucleus Pulposus 1/> …       8/30/2021   62287     $5,292.93
1085859-03    G.M.                   Triborough ASC                         Probe, Percutaneous Lumbar Discec…       8/30/2021   C2614      $800.00
1085859-03    G.M.                   Triborough ASC                            Injection Single/Mlt Trigger Poin…   10/22/2021   20553      $554.74
1085859-03    G.M.                   Triborough ASC                          Njx Dx/Ther Agt Pvrt Facet Jt Crv…     10/22/2021   64490     $1,952.76
1085859-03    G.M.                   Triborough ASC                          Njx Dx/Ther Agt Pvrt Facet Jt Crv…     10/22/2021   64491     $1,952.76
1086015-02    M.D.        All City Family Healthcare Center, Inc.            Tenotomy Shoulder Area 1 Tendon…        6/17/2021   23405     $1,839.77
1086015-02    M.D.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…       6/17/2021   29821     $5,677.77
1086015-02    M.D.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…       6/17/2021   29823     $1,472.45
1086015-02    M.D.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …      6/17/2021   29825     $1,472.45
1086015-02    M.D.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …      6/17/2021   64415      $979.78
1086015-02    M.D.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …        6/17/2021   76942      $341.96
1086015-02    M.D.        All City Family Healthcare Center, Inc.               Surgical Supply; Miscellaneous…      6/17/2021   A4649       $72.00
1086015-02    M.D.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…       6/6/2022   22526     $2,646.46
1086015-02    M.D.          Island Ambulatory Surgery Center                Dcmprn Perq Nucleus Pulposus 1/> …        6/6/2022   62287     $5,292.93
1086015-02    M.D.          Island Ambulatory Surgery Center                  Infectious Agent Antigen Detectio…      6/6/2022   87426      $200.00
1086015-02    M.D.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…         6/6/2022   E0650      $531.06
1086015-02    M.D.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …         6/6/2022   E0666       $89.56
1086015-02    M.D.              Crotona Parkway ASC LLC                        Injection Single/Mlt Trigger Poin…    4/25/2023   20553      $279.23
1086015-02    M.D.              Crotona Parkway ASC LLC                      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      4/25/2023   62321      $980.10
1086015-02    M.D.              Crotona Parkway ASC LLC                        Injection Single/Mlt Trigger Poin…    8/22/2023   20553      $279.23
1086015-02    M.D.              Crotona Parkway ASC LLC                      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      8/22/2023   62321      $980.10
1085154-02    P.C.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       8/10/2020   62323      $976.38
1085154-02    P.C.         Rockaways ASC Development LLC                              Epidurograpy Rs&I…             8/10/2020   72275      $572.53
1085154-02    P.C.         Rockaways ASC Development LLC                        Surgical Supply; Miscellaneous…      8/10/2020   A4649       $50.00

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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                          Provider                                     Service
 Number      Person                                                                                               Service     Code       Billed
1085154-02    P.C.                       SCOB LLC                           Injection Single/Mlt Trigger Poin…    9/25/2020   20553      $473.39
1085154-02    P.C.                       SCOB LLC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      9/25/2020   62323      $829.30
1085154-02    P.C.                       SCOB LLC                                  Epidurograpy Rs&I…             9/25/2020   72275      $572.53
1085154-02    P.C.                       SCOB LLC                           Injection Single/Mlt Trigger Poin…   11/11/2020   20553      $473.39
1085154-02    P.C.                       SCOB LLC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/11/2020   62323      $976.38
1085154-02    P.C.                       SCOB LLC                         Arthroscopy Shoulder Surg Synovec…       1/9/2021   29821     $2,944.87
1085154-02    P.C.                       SCOB LLC                         Arthroscopy Shoulder Surg Debride…       1/9/2021   29823     $3,026.24
1085154-02    P.C.                       SCOB LLC                        Arthroscopy Shoulder W/Coracoacrm…        1/9/2021   29826     $2,944.87
1085172-02    E.A.           Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…    8/31/2020   20552      $236.69
1085172-02    E.A.           Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     8/31/2020   62321      $976.38
1085172-02    E.A.           Rockaways ASC Development LLC                         Epidurograpy Rs&I…             8/31/2020   72275      $572.53
1085172-02    E.A.           Rockaways ASC Development LLC               Us Guidance Needle Placement Img …       8/31/2020   76942      $341.96
1085172-02    E.A.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…      8/31/2020   A4649       $50.00
1085172-02    E.A.           Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…     9/3/2020   20552      $236.69
1085172-02    E.A.           Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       9/3/2020   62323      $976.38
1085172-02    E.A.           Rockaways ASC Development LLC                         Epidurograpy Rs&I…              9/3/2020   72275      $572.53
1085172-02    E.A.           Rockaways ASC Development LLC               Us Guidance Needle Placement Img …        9/3/2020   76942      $341.96
1085172-02    E.A.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…       9/3/2020   A4649       $50.00
1085172-02    E.A.           Rockaways ASC Development LLC                 Perq Intrdscl Electrothrm Annulop…      9/8/2020   22526     $2,605.78
1085172-02    E.A.           Rockaways ASC Development LLC               Discectomy Ant Dcmprn Cord Cervic…        9/8/2020   63075     $5,292.93
1085172-02    E.A.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…       9/8/2020   A4649       $50.00
1085172-02    E.A.           Rockaways ASC Development LLC                 Perq Intrdscl Electrothrm Annulop…     9/10/2020   22526     $2,605.78
1085172-02    E.A.           Rockaways ASC Development LLC               Discectomy Ant Dcmprn Cord Cervic…       9/10/2020   63075     $5,292.93
1085172-02    E.A.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…      9/10/2020   A4649       $50.00
1085172-02    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Surg Synovec…      10/5/2020   29821     $2,798.20
1085172-02    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Surg Debride…      10/5/2020   29823     $1,472.45
1085172-02    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center     Arthroscopy Shoulder Rotator Cuff…     10/5/2020   29827     $5,677.77
1085172-02    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center     Single Nerve Block Injection Arm …     10/5/2020   64415      $979.78
1085172-02    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Us Guidance Needle Placement Img …       10/5/2020   76942      $341.96
1085172-02    E.A.     NYEEQASC LLC d/b/a North Queens Surgical Center       Surgical Supply; Miscellaneous…      10/5/2020   A4649       $50.00
1085172-02    E.A.                     Triborough ASC                      Perq Intrdscl Electrothrm Annulop…     3/22/2021   22526      $450.00
1085172-02    E.A.                     Triborough ASC                     Injection Px Discography Each Lev…      3/22/2021   62290      $450.00
1085172-02    E.A.                     Triborough ASC                     Transpedicular Dcmprn Spinal Cord…      3/22/2021   63056     $6,300.00
1085172-02    E.A.                     Triborough ASC                    Njx Anes&/Strd W/Img Tfrml Edrl L…       3/22/2021   64483      $750.00
1085172-02    E.A.                     Triborough ASC                      Fluor Needle/Cath Spine/Paraspina…     3/22/2021   77003      $225.00
1085172-02    E.A.                     Triborough ASC                     Glucose Quantitative Blood Xcpt R…      3/22/2021   82947       $20.00
1085172-02    E.A.                     Triborough ASC                     Injection, Dexamethasone Sodium P…      3/22/2021   J1100       $52.64
1085172-02    E.A.                     Triborough ASC                               Unclassified Drugs…           3/22/2021   J3490       $40.64
1085172-02    E.A.                     Triborough ASC                     Low Osmolar Contrast Material, 10…      3/22/2021   q9965       $13.90
1085769-01    H.G.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Synovec…      3/27/2021   29821     $2,798.20
1085769-01    H.G.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Debride…      3/27/2021   29823     $1,472.45
1085769-01    H.G.               Surgicore of Jersey City LLC              Arthroscopy Shoulder Ahesiolysis …     3/27/2021   29825     $1,472.45
1085769-01    H.G.               Surgicore of Jersey City LLC              Arthroscopy Shoulder Rotator Cuff…     3/27/2021   29827     $5,677.77
1085769-01    H.G.               Surgicore of Jersey City LLC              Single Nerve Block Injection Arm …     3/27/2021   64415      $979.78
1085769-01    H.G.               Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …       3/27/2021   76942      $341.96
1085769-01    H.G.               Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…      3/27/2021   A4649       $50.00
1085769-01    H.G.               Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…     3/27/2021   L8699     $1,412.00
1085769-01    H.G.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…       3/27/2021   E0650      $531.06
1085769-01    H.G.                     Good Medica Inc                   Nonsegmental Pneumatic Appliance …       3/27/2021   E0666       $89.56
1085868-01    T.S.           Rockaways ASC Development LLC                Arthroscopy Shoulder Surg Synovec…      9/18/2020   29821     $5,677.77
1085868-01    T.S.           Rockaways ASC Development LLC                Arthroscopy Shoulder Surg Debride…      9/18/2020   29823     $1,472.45
1085868-01    T.S.           Rockaways ASC Development LLC                 Arthroscopy Shoulder Ahesiolysis …     9/18/2020   29825     $1,472.45
1085868-01    T.S.           Rockaways ASC Development LLC                   Unlisted Procedure Arthroscopy…      9/18/2020   29999     $1,472.45
1085868-01    T.S.           Rockaways ASC Development LLC                 Single Nerve Block Injection Arm …     9/18/2020   64415      $979.78
1085868-01    T.S.           Rockaways ASC Development LLC               Us Guidance Needle Placement Img …       9/18/2020   76942      $341.96
1085868-01    T.S.           Rockaways ASC Development LLC                   Surgical Supply; Miscellaneous…      9/18/2020   A4649       $50.00
1085868-01    T.S.            Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    11/12/2020   62321      $976.38
1085868-01    T.S.            Island Ambulatory Surgery Center                     Epidurograpy Rs&I…            11/12/2020   72275      $572.52
1085569-02    T.M.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Synovec…     11/25/2020   29821     $5,677.77
1085569-02    T.M.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Debride…     11/25/2020   29823     $1,472.45
1085569-02    T.M.               Surgicore of Jersey City LLC              Arthroscopy Shoulder Ahesiolysis …    11/25/2020   29825     $1,472.45
1085569-02    T.M.               Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…     11/25/2020   29999     $1,472.45
1085569-02    T.M.               Surgicore of Jersey City LLC              Single Nerve Block Injection Arm …    11/25/2020   64415      $979.78
1085569-02    T.M.               Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …      11/25/2020   76942      $341.96
1085569-02    T.M.               Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…     11/25/2020   A4649       $50.00
1085569-02    T.M.               Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…    11/25/2020   L8699      $185.00
1085569-02    T.M.                 Avicenna Surgery Center                Manipulation Spine Requiring Anes…     12/16/2020   22505     $1,577.52
1085569-02    T.M.                 Avicenna Surgery Center               Manj W/Anes Shoulder Joint W/Fixa…      12/16/2020   23700     $1,577.52

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                                                        1867
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                         Date of     Billing   Amount
                                       Provider                                     Service
 Number      Person                                                                                          Service     Code       Billed
1085569-02    T.M.               Avicenna Surgery Center                Manipulation Hip Joint General An…  12/16/2020   27275     $1,577.52
1085569-02    T.M.               Avicenna Surgery Center                Manipulation Spine Requiring Anes…  12/18/2020   22505     $1,577.52
1085569-02    T.M.               Avicenna Surgery Center               Manj W/Anes Shoulder Joint W/Fixa… 12/18/2020     23700     $1,577.52
1085569-02    T.M.               Avicenna Surgery Center                Manipulation Hip Joint General An…  12/18/2020   27275     $1,577.52
1085569-02    T.M.               Avicenna Surgery Center                Manipulation Spine Requiring Anes…   1/20/2021   22505     $1,577.52
1085569-02    T.M.               Avicenna Surgery Center               Manj W/Anes Shoulder Joint W/Fixa…    1/20/2021   23700     $3,155.04
1085569-02    T.M.               Avicenna Surgery Center                Manipulation Hip Joint General An…   1/20/2021   27275     $1,577.52
1086010-01    M.F.         Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/17/2021   62321      $976.38
1086010-01    M.F.         Rockaways ASC Development LLC                        Epidurograpy Rs&I…           1/17/2021   72275      $572.53
1086010-01    M.F.         Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…    1/17/2021   A4649       $50.00
1086010-01    M.F.            Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…  8/13/2021   22526     $2,605.78
1086010-01    M.F.            Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…  8/13/2021   22527     $2,605.78
1086010-01    M.F.            Surgicore of Jersey City LLC              Dcmprn Perq Nucleus Pulposus 1/> …   8/13/2021   62287     $5,292.93
1086010-01    M.F.            Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…    8/13/2021   A4649       $50.00
1086010-01    M.F.            Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…  8/13/2021   L8699     $1,495.00
1086010-01    M.F.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 8/13/2021      E0650      $531.06
1086010-01    M.F.                  Good Medica Inc                    Nonsegmental Pneumatic Appliance …    8/13/2021   E0666       $89.56
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/3/2020   64490      $976.38
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/3/2020   64490      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/3/2020   64491      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/3/2020   64491      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/3/2020   64492      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/3/2020   64492      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…    10/3/2020   A4649       $50.00
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee Synovectomy Limi… 11/11/2020     29875     $1,472.45
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC         Arthrs Knee W/Meniscectomy Med&La… 11/11/2020      29880     $3,026.24
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC           Injection Anesthetic Agent Femora…  11/11/2020   64447      $829.30
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC          Us Guidance Needle Placement Img … 11/11/2020     76942      $341.96
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…   11/11/2020   A4649       $50.00
1085562-02    L.G.               Avicenna Surgery Center               Arthroscopy Knee Synovectomy 2/>C… 3/31/2021      29876     $3,026.23
1085562-02    L.G.               Avicenna Surgery Center              Arthrs Knee W/Meniscectomy Med&La… 3/31/2021       29880     $3,026.23
1085562-02    L.G.               Avicenna Surgery Center               Arthroscopy Knee W/Lysis Adhesion… 3/31/2021      29884     $3,026.23
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…  5/19/2021   64490      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…  5/19/2021   64490      $976.38
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…  5/19/2021   64491      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…  5/19/2021   64491      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…  5/19/2021   64492      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…  5/19/2021   64492      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…    5/19/2021   A4649       $50.00
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/1/2021   64493      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/1/2021   64493      $976.38
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/1/2021   64494      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/1/2021   64494      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/1/2021   64495      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/1/2021   64495      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…     9/1/2021   A4649       $50.00
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/20/2021   64493      $976.38
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/20/2021   64493      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/20/2021   64494      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/20/2021   64494      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/20/2021   64495      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/20/2021   64495      $447.52
1085562-02    L.G.        Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…    9/20/2021   A4649       $50.00
1085052-01    I.K.          Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…  4/15/2021   20610      $473.39
1085052-01    I.K.          Fifth Avenue Surgery Center LLC            Arthroscopy Knee Synovectomy Limi… 4/15/2021      29875     $1,472.45
1085052-01    I.K.          Fifth Avenue Surgery Center LLC           Arthrs Knee W/Meniscectomy Med&La… 4/15/2021       29880     $3,026.24
1085052-01    I.K.          Fifth Avenue Surgery Center LLC            Arthroscopy Knee W/Lysis Adhesion… 4/15/2021      29884     $1,472.45
1085052-01    I.K.          Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…    4/15/2021   29999     $1,472.45
1085052-01    I.K.          Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…    4/15/2021   A4649       $50.00
1085052-01    I.K.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 4/15/2021      E0650      $531.06
1085052-01    I.K.                  Good Medica Inc                    Nonsegmental Pneumatic Appliance …    4/15/2021   E0666       $89.56
1085052-01    I.K.          Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…   5/6/2021   20610      $473.39
1085052-01    I.K.          Fifth Avenue Surgery Center LLC             Tenotomy Shoulder Multiple Thru S…    5/6/2021   23406     $1,839.77
1085052-01    I.K.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surgical Cap…    5/6/2021   29806     $5,677.77
1085052-01    I.K.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…    5/6/2021   29821     $2,798.20
1085052-01    I.K.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…    5/6/2021   29823     $1,472.45
1085052-01    I.K.          Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…     5/6/2021   29999     $1,472.45
1085052-01    I.K.          Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …    5/6/2021   64415      $979.78

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                                                        1868
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                       Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1085052-01    I.K.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …       5/6/2021   76942      $341.96
1085052-01    I.K.          Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…       5/6/2021   A4649       $50.00
1085052-01    I.K.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta…       5/6/2021   E0650      $531.06
1085052-01    I.K.                  Good Medica Inc                    Nonsegmental Pneumatic Appliance …       5/6/2021   E0666       $89.56
1084884-02    M.E.        Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surgical Rep…     9/22/2020   29807     $2,798.20
1084884-02    M.E.        Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surg Debride…     9/22/2020   29823     $1,472.45
1084884-02    M.E.        Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder W/Coracoacrm…      9/22/2020   29826     $1,472.45
1084884-02    M.E.        Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Rotator Cuff…     9/22/2020   29827     $5,677.77
1084884-02    M.E.        Bronx SC LLC d/b/a Empire State ASC           Single Nerve Block Injection Arm …     9/22/2020   64415      $979.78
1084884-02    M.E.        Bronx SC LLC d/b/a Empire State ASC          Us Guidance Needle Placement Img …      9/22/2020   76942      $341.96
1084884-02    M.E.        Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…      9/22/2020   A4649       $50.00
1084884-02    M.E.            East Tremont Medical Center                Injection Single/Mlt Trigger Poin…   11/13/2020   20553      $885.00
1084884-02    M.E.            East Tremont Medical Center                Injection Single/Mlt Trigger Poin…   11/13/2020   20553     $1,985.00
1084884-02    M.E.            East Tremont Medical Center               Collection Venous Blood Venipunct…    11/13/2020   36415       $10.07
1084884-02    M.E.            East Tremont Medical Center                Injection, Single (Not Via Indwel…   11/13/2020   62310      $987.00
1084884-02    M.E.            East Tremont Medical Center                Injection, Single (Not Via Indwel…   11/13/2020   62310     $2,900.00
1084884-02    M.E.            East Tremont Medical Center                       Epidurograpy Rs&I…            11/13/2020   72275      $750.00
1084884-02    M.E.            East Tremont Medical Center                       Epidurograpy Rs&I…            11/13/2020   72275      $980.00
1084884-02    M.E.            East Tremont Medical Center              Us Guidance Needle Placement Img …     11/13/2020   76942      $640.00
1084884-02    M.E.            East Tremont Medical Center              Us Guidance Needle Placement Img …     11/13/2020   76942      $875.00
1084884-02    M.E.            East Tremont Medical Center               Immunoassay For Infectious Agent …    11/13/2020   86328      $350.00
1084884-02    M.E.            East Tremont Medical Center               Infectious Agent Detection By Nuc…    11/13/2020   87635      $415.00
1084884-02    M.E.            East Tremont Medical Center                Office Outpatient New 45 Minutes…    11/13/2020   99204      $203.76
1084884-02    M.E.            East Tremont Medical Center                Office Outpatient Visit 5 Minutes…   11/13/2020   99211       $48.34
1084884-02    M.E.            East Tremont Medical Center              Anes Dx/Ther Nrv Blk/Njx Oth/Thn …     11/18/2020    1991     $1,097.00
1084884-02    M.E.            East Tremont Medical Center                Injection Single/Mlt Trigger Poin…   11/18/2020   20553      $870.00
1084884-02    M.E.            East Tremont Medical Center                Injection Single/Mlt Trigger Poin…   11/18/2020   20553     $1,387.00
1084884-02    M.E.            East Tremont Medical Center                Injection, Single (Not Via Indwel…   11/18/2020   62310      $987.00
1084884-02    M.E.            East Tremont Medical Center                Injection, Single (Not Via Indwel…   11/18/2020   62310     $2,900.00
1084884-02    M.E.            East Tremont Medical Center                       Epidurograpy Rs&I…            11/18/2020   72275      $780.00
1084884-02    M.E.            East Tremont Medical Center                       Epidurograpy Rs&I…            11/18/2020   72275     $1,275.00
1084884-02    M.E.            East Tremont Medical Center              Us Guidance Needle Placement Img …     11/18/2020   76942      $690.00
1084884-02    M.E.            East Tremont Medical Center              Us Guidance Needle Placement Img …     11/18/2020   76942     $1,122.00
1084884-02    M.E.            East Tremont Medical Center                Office Outpatient New 45 Minutes…    11/18/2020   99204      $203.76
1084884-02    M.E.            East Tremont Medical Center               Collection Venous Blood Venipunct…    11/24/2020   36415       $10.07
1084884-02    M.E.            East Tremont Medical Center               Immunoassay For Infectious Agent …    11/24/2020   86328      $475.00
1084884-02    M.E.            East Tremont Medical Center               Infectious Agent Detection By Nuc…    11/24/2020   87635      $550.00
1084884-02    M.E.            East Tremont Medical Center                Office Outpatient Visit 5 Minutes…   11/24/2020   99211       $48.34
1084884-02    M.E.            East Tremont Medical Center                Office Outpatient Visit 25 Minute…   11/27/2020   99214      $127.40
1084884-02    M.E.            East Tremont Medical Center              Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      12/2/2020    1991     $1,087.00
1084884-02    M.E.            East Tremont Medical Center                Injection Single/Mlt Trigger Poin…    12/2/2020   20553     $1,570.00
1084884-02    M.E.            East Tremont Medical Center                Injection Single/Mlt Trigger Poin…    12/2/2020   20553      $876.00
1084884-02    M.E.            East Tremont Medical Center                Injection, Single (Not Via Indwel…    12/2/2020   62310     $2,900.00
1084884-02    M.E.            East Tremont Medical Center                Injection, Single (Not Via Indwel…    12/2/2020   62310      $987.00
1084884-02    M.E.            East Tremont Medical Center                       Epidurograpy Rs&I…             12/2/2020   72275      $985.00
1084884-02    M.E.            East Tremont Medical Center                       Epidurograpy Rs&I…             12/2/2020   72275      $760.00
1084884-02    M.E.            East Tremont Medical Center              Us Guidance Needle Placement Img …      12/2/2020   76942      $860.00
1084884-02    M.E.            East Tremont Medical Center              Us Guidance Needle Placement Img …      12/2/2020   76942      $640.00
1085102-01    K.M.            Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…     7/3/2021   22526     $5,292.93
1085102-01    K.M.            Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…     7/3/2021   22527     $2,605.78
1085102-01    K.M.            Surgicore of Jersey City LLC              Unlisted Procedure Nervous System…      7/3/2021   64999      $373.98
1085102-01    K.M.            Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…       7/3/2021   A4649       $50.00
1085102-01    K.M.            Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…    9/18/2021   22526     $2,605.78
1085102-01    K.M.            Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…    9/18/2021   22527     $2,605.78
1085102-01    K.M.            Surgicore of Jersey City LLC              Dcmprn Perq Nucleus Pulposus 1/> …     9/18/2021   62287     $5,292.93
1085102-01    K.M.            Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…      9/18/2021   A4649       $50.00
1085102-01    K.M.            Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…    9/18/2021   L8699     $1,495.00
1085102-01    K.M.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta…      9/18/2021   e0650      $531.06
1085102-01    K.M.                  Good Medica Inc                    Nonsegmental Pneumatic Appliance …      9/18/2021   e0666       $89.56
1085337-02    L.D.                    SCOB LLC                           Injection Single/Mlt Trigger Poin…   12/23/2020   20553      $473.39
1085337-02    L.D.                    SCOB LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    12/23/2020   62323      $976.38
1085337-02    L.D.                    SCOB LLC                                  Epidurograpy Rs&I…            12/23/2020   72275      $460.86
1085337-02    L.D.                  Triborough ASC                      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      4/2/2021   64493     $1,000.00
1085337-02    L.D.                  Triborough ASC                      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      4/2/2021   64494     $1,000.00
1085337-02    L.D.                  Triborough ASC                      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      4/2/2021   64495     $1,000.00
1085337-02    L.D.                  Triborough ASC                      Fluor Needle/Cath Spine/Paraspina…      4/2/2021   77003      $225.00
1085337-02    L.D.                  Triborough ASC                      Urine Pregnancy Test Visual Color…      4/2/2021   81025       $30.00
1085337-02    L.D.                  Triborough ASC                      Glucose Quantitative Blood Xcpt R…      4/2/2021   82947       $20.00

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                                                            1869
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                     Service
 Number      Person                                                                                             Service     Code       Billed
1085337-02    L.D.                     Triborough ASC                   New Cpt Code 99072 Was Establishe…       4/2/2021   99072      $200.00
1085337-02    L.D.                     Triborough ASC                    Injection, Dexamethasone Sodium P…      4/2/2021   J1100       $52.64
1085337-02    L.D.                     Triborough ASC                       Injection, Lidocaine Hcl For Intr…   4/2/2021   J2001       $48.00
1085337-02    L.D.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee Synovectomy Limi… 4/13/2021        29875     $1,472.45
1085337-02    L.D.         Bronx SC LLC d/b/a Empire State ASC         Arthrs Knee W/Meniscectomy Med&La… 4/13/2021         29880     $3,026.24
1085337-02    L.D.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee W/Lysis Adhesion… 4/13/2021        29884     $1,472.45
1085337-02    L.D.         Bronx SC LLC d/b/a Empire State ASC               Surgical Supply; Miscellaneous…    4/13/2021   A4649       $50.00
1085337-02    L.D.         Bronx SC LLC d/b/a Empire State ASC             Arthroscopy, Knee, Surgical, For …   4/13/2021   G0289     $1,472.45
1085337-02    L.D.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 4/13/2021        E0650      $531.06
1085337-02    L.D.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …      4/13/2021   E0666       $89.56
1085337-04    T.T.                       SCOB LLC                          Injection Single/Mlt Trigger Poin…  12/23/2020   20553      $473.39
1085337-04    T.T.                       SCOB LLC                         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/23/2020   62321      $976.38
1085337-04    T.T.                       SCOB LLC                                  Epidurograpy Rs&I…          12/23/2020   72275      $460.86
1085337-04    T.T.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surg Debride…      2/9/2021   29823     $3,026.24
1085337-04    T.T.         Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder Ahesiolysis …     2/9/2021   29825     $1,472.45
1085337-04    T.T.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder W/Coracoacrm…       2/9/2021   29826     $1,472.45
1085337-04    T.T.         Bronx SC LLC d/b/a Empire State ASC            Single Nerve Block Injection Arm …     2/9/2021   64415      $979.78
1085337-04    T.T.         Bronx SC LLC d/b/a Empire State ASC          Us Guidance Needle Placement Img …       2/9/2021   76942      $341.96
1085337-04    T.T.         Bronx SC LLC d/b/a Empire State ASC               Surgical Supply; Miscellaneous…     2/9/2021   A4649       $50.00
1085337-04    T.T.                Hudson Regional Hospital                  Comprehensive Metabolic Panel…      7/30/2021   80053      $150.00
1085337-04    T.T.                Hudson Regional Hospital              Drug Tst Prsmv Instrmnt Chem Anal…      7/30/2021   80307      $359.15
1085337-04    T.T.                Hudson Regional Hospital                Urnls Dip Stick/Tablet Reagent Au…    7/30/2021   81001      $134.00
1085337-04    T.T.                Hudson Regional Hospital                   Hemoglobin Glycosylated A1C…       7/30/2021   83036       $66.70
1085337-04    T.T.                Hudson Regional Hospital                Gonadotropin Chorionic Qualitativ…    7/30/2021   84703       $51.65
1085337-04    T.T.                Hudson Regional Hospital             Blood Count Complete Auto&Auto Di… 7/30/2021         85025      $147.00
1085337-04    T.T.                Hudson Regional Hospital                          Prothrombin Time…           7/30/2021   85610      $143.00
1085337-04    T.T.                Hudson Regional Hospital               Thromboplastin Time Partial Plasm…     7/30/2021   85730      $147.00
1085337-04    T.T.                Hudson Regional Hospital              Antibody Screen Rbc Each Serum Te…      7/30/2021   86850      $105.80
1085337-04    T.T.                Hudson Regional Hospital                    Blood Typing Serologic Abo…       7/30/2021   86900      $498.84
1085337-04    T.T.                Hudson Regional Hospital                   Blood Typing Serologic Rh (D)…     7/30/2021   86901       $56.95
1085337-04    T.T.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…    7/30/2021   87635     $1,200.00
1085337-04    T.T.                Hudson Regional Hospital                 Iadna S Aureus Methicillin Resist…   7/30/2021   87641      $241.40
1085337-04    T.T.                Hudson Regional Hospital               Ecg Routine Ecg W/Least 12 Lds Tr…     7/30/2021   93005      $323.70
1085337-04    T.T.                       SCOB LLC                       Arthroscopy Knee Synovectomy Limi…       8/3/2021   29875     $2,947.27
1085337-04    T.T.                       SCOB LLC                      Arthrs Knee W/Meniscectomy Med&La… 8/3/2021          29880     $3,026.24
1085152-02    J.G.          All City Family Healthcare Center, Inc.       Arthrocentesis Aspir&/Inj Major J…   12/17/2020   20610      $473.38
1085152-02    J.G.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 12/17/2020       29875     $1,472.45
1085152-02    J.G.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 12/17/2020        29880     $3,026.24
1085152-02    J.G.          All City Family Healthcare Center, Inc.          Surgical Supply; Miscellaneous…   12/17/2020   A4649       $72.00
1085152-02    J.G.          All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical, For …  12/17/2020   G0289     $1,472.45
1085152-02    J.G.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/11/2021   62323      $976.38
1085152-02    J.G.            Island Ambulatory Surgery Center                     Epidurograpy Rs&I…           1/11/2021   72275      $572.52
1085152-02    J.G.                Hudson Regional Hospital                  Drug Test(S), Definitive, Utilizi…   3/6/2021   G0483     $1,234.60
1085022-02    W.R.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…    10/1/2020   87635     $1,200.00
1085022-02    W.R.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…    10/2/2020   22526     $2,605.78
1085022-02    W.R.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…    10/2/2020   22527     $2,605.79
1085022-02    W.R.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …       10/2/2020   62287     $5,292.93
1085022-02    W.R.     NYEEQASC LLC d/b/a North Queens Surgical Center       Surgical Supply; Miscellaneous…    10/2/2020   A4649       $50.00
1084539-01    E.L.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Surgical Rep…     9/15/2020   29807     $5,677.77
1084539-01    E.L.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Surg Synovec…     9/15/2020   29821     $2,798.20
1084539-01    E.L.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Surg Debride…     9/15/2020   29823     $1,472.45
1084539-01    E.L.            New Horizon Surgical Center LLC             Arthroscopy Shoulder Ahesiolysis …    9/15/2020   29825     $1,472.45
1084539-01    E.L.            New Horizon Surgical Center LLC           Arthroscopy Shoulder W/Coracoacrm… 9/15/2020        29826     $1,472.45
1084539-01    E.L.            New Horizon Surgical Center LLC             Single Nerve Block Injection Arm …    9/15/2020   64415      $979.78
1084539-01    E.L.            New Horizon Surgical Center LLC           Us Guidance Needle Placement Img …      9/15/2020   76942      $341.96
1084539-01    E.L.            New Horizon Surgical Center LLC                Surgical Supply; Miscellaneous…    9/15/2020   A4649       $50.00
1084539-01    E.L.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/2/2020   62323      $976.38
1084539-02    M.M.                 Avicenna Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      8/5/2020   62323      $976.38
1084539-02    M.M.                 Avicenna Surgery Center                         Epidurograpy Rs&I…            8/5/2020   72275      $572.52
1084539-02    M.M.              Healthplus Surgery Center LLC            Manipulation Spine Requiring Anes…     8/10/2020   22505     $1,577.52
1084539-02    M.M.              Healthplus Surgery Center LLC           Clsd Tx Pelvic Ring Fx W/Manipula…      8/10/2020   27198      $405.94
1084539-02    M.M.              Healthplus Surgery Center LLC            Manipulation Spine Requiring Anes…     8/11/2020   22505     $1,577.52
1084539-02    M.M.              Healthplus Surgery Center LLC           Clsd Tx Pelvic Ring Fx W/Manipula…      8/11/2020   27198      $405.94
1084539-02    M.M.              Healthplus Surgery Center LLC            Manipulation Spine Requiring Anes…     8/12/2020   22505     $1,577.52
1084539-02    M.M.              Healthplus Surgery Center LLC           Clsd Tx Pelvic Ring Fx W/Manipula…      8/12/2020   27198      $405.94
1084539-02    M.M.           Rockaways ASC Development LLC               Arthroscopy Shoulder Surg Synovec… 11/10/2020      29821     $2,798.20
1084539-02    M.M.           Rockaways ASC Development LLC               Arthroscopy Shoulder Surg Debride…    11/10/2020   29823     $1,472.45
1084539-02    M.M.           Rockaways ASC Development LLC                Arthroscopy Shoulder Ahesiolysis …   11/10/2020   29825     $1,472.45

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                                                        1870
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                       Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1084539-02    M.M.         Rockaways ASC Development LLC                 Arthroscopy Shoulder Rotator Cuff…   11/10/2020   29827     $5,677.77
1084539-02    M.M.         Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…   11/10/2020   A4649       $50.00
1084987-02    I.M.              Hudson Regional Hospital                 Infectious Agent Detection By Nuc…     9/8/2020   87635     $1,200.00
1084987-02    I.M.                    SCOB LLC                          Arthroscopy Shoulder Surgical Rep…     9/11/2020   29807     $5,677.77
1084987-02    I.M.                    SCOB LLC                          Arthroscopy Shoulder Surg Synovec…     9/11/2020   29820     $2,944.87
1084987-02    I.M.                    SCOB LLC                          Arthroscopy Shoulder Surg Debride…     9/11/2020   29823     $2,944.87
1084987-02    I.M.                    SCOB LLC                         Arthroscopy Shoulder W/Coracoacrm… 9/11/2020        29826     $2,944.87
1084987-02    I.M.                    SCOB LLC                         Anchor/Screw For Opposing Bone-To… 9/11/2020        C1713      $556.50
1084987-02    I.M.         Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…  12/18/2020   20552      $236.69
1084987-02    I.M.         Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    12/18/2020   62323      $976.38
1084987-02    I.M.         Rockaways ASC Development LLC                          Epidurograpy Rs&I…          12/18/2020   72275      $572.53
1084987-02    I.M.         Rockaways ASC Development LLC               Us Guidance Needle Placement Img … 12/18/2020       76942      $341.96
1084987-02    I.M.         Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…   12/18/2020   A4649       $50.00
1084987-02    I.M.                  Triborough ASC                      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/15/2021   64493     $1,000.00
1084987-02    I.M.                  Triborough ASC                      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/15/2021   64494     $1,000.00
1084987-02    I.M.                  Triborough ASC                      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/15/2021   64495     $1,000.00
1084987-02    I.M.                  Triborough ASC                       Fluor Needle/Cath Spine/Paraspina…    1/15/2021   77003      $225.00
1084987-02    I.M.                  Triborough ASC                           Glucose Blood Reagent Strip…      1/15/2021   82948       $20.00
1084987-02    I.M.                  Triborough ASC                     New Cpt Code 99072 Was Establishe… 1/15/2021        99072      $200.00
1084987-02    I.M.                  Triborough ASC                      Injection, Dexamethasone Sodium P…     1/15/2021   J1100       $52.64
1084987-02    I.M.                  Triborough ASC                         Injection, Lidocaine Hcl For Intr…  1/15/2021   J2001       $48.00
1084372-01    H.G.         Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…  11/13/2020   20552      $236.69
1084372-01    H.G.         Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/13/2020   62321      $976.38
1084372-01    H.G.         Rockaways ASC Development LLC                          Epidurograpy Rs&I…          11/13/2020   72275      $572.53
1084372-01    H.G.         Rockaways ASC Development LLC               Us Guidance Needle Placement Img … 11/13/2020       76942      $341.96
1084372-01    H.G.         Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…   11/13/2020   A4649       $50.00
1084372-01    H.G.         Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…   12/4/2020   20552      $236.69
1084372-01    H.G.         Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     12/4/2020   62323      $976.38
1084372-01    H.G.         Rockaways ASC Development LLC                          Epidurograpy Rs&I…           12/4/2020   72275      $572.53
1084372-01    H.G.         Rockaways ASC Development LLC               Us Guidance Needle Placement Img …      12/4/2020   76942      $341.96
1084372-01    H.G.         Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…    12/4/2020   A4649       $50.00
1084372-01    H.G.                  Triborough ASC                       Perq Intrdscl Electrothrm Annulop…    2/15/2021   22526      $450.00
1084372-01    H.G.                  Triborough ASC                      Injection Px Discography Each Lev…     2/15/2021   62290      $450.00
1084372-01    H.G.                  Triborough ASC                      Transpedicular Dcmprn Spinal Cord…     2/15/2021   63056     $6,000.00
1084372-01    H.G.                  Triborough ASC                     Njx Anes&/Strd W/Img Tfrml Edrl L… 2/15/2021        64483     $1,050.00
1084372-01    H.G.                  Triborough ASC                       Fluor Needle/Cath Spine/Paraspina…    2/15/2021   77003      $225.00
1084372-01    H.G.                  Triborough ASC                           Glucose Blood Reagent Strip…      2/15/2021   82948       $20.00
1084372-01    H.G.                  Triborough ASC                      Injection, Dexamethasone Sodium P…     2/15/2021   J1100       $52.64
1084372-01    H.G.                  Triborough ASC                                Unclassified Drugs…          2/15/2021   J3490       $40.64
1084372-01    H.G.                  Triborough ASC                      Low Osmolar Contrast Material, 10…     2/15/2021   Q9965       $11.72
1084554-01    W.D.            Surgicore of Jersey City LLC             Arthroscopy Knee Synovectomy 2/>C… 4/29/2021        29876     $1,472.45
1084554-01    W.D.            Surgicore of Jersey City LLC            Arthrs Knee W/Meniscectomy Med&La… 4/29/2021         29880     $3,026.24
1084554-01    W.D.            Surgicore of Jersey City LLC                  Surgical Supply; Miscellaneous…    4/29/2021   A4649       $50.00
1084554-01    W.D.            Surgicore of Jersey City LLC                Arthroscopy, Knee, Surgical, For …   4/29/2021   G0289     $1,472.45
1084554-01    W.D.            Surgicore of Jersey City LLC                Arthroscopy, Knee, Surgical, For …   4/29/2021   G0289     $1,472.45
1084554-01    W.D.            Surgicore of Jersey City LLC                Prosthetic Implant, Not Otherwise…   4/29/2021   L8699      $195.00
1084554-01    W.D.                  Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 4/29/2021        E0650      $531.06
1084554-01    W.D.                  Good Medica Inc                    Nonsegmental Pneumatic Appliance …      4/29/2021   E0666       $89.56
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…     9/2/2020   64490      $447.52
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…     9/2/2020   64490      $976.38
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…     9/2/2020   64491      $447.52
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…     9/2/2020   64491      $447.52
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…     9/2/2020   64492      $447.52
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…     9/2/2020   64492      $447.52
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC               Surgical Supply; Miscellaneous…     9/2/2020   A4649       $50.00
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/3/2020   64490      $447.52
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/3/2020   64490      $976.38
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/3/2020   64491      $447.52
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/3/2020   64491      $447.52
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/3/2020   64492      $447.52
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/3/2020   64492      $447.52
1085119-02    E.A.        Bronx SC LLC d/b/a Empire State ASC               Surgical Supply; Miscellaneous…    10/3/2020   A4649       $50.00
1085119-02    E.A.              Hudson Regional Hospital                   Comprehensive Metabolic Panel…      11/2/2020   80053      $150.00
1085119-02    E.A.              Hudson Regional Hospital               Drug Tst Prsmv Instrmnt Chem Anal…      11/2/2020   80307      $359.15
1085119-02    E.A.              Hudson Regional Hospital                  Antidepressants Serotonergic Clas…   11/2/2020   80332      $269.37
1085119-02    E.A.              Hudson Regional Hospital                  Antidepressants Tricyclic Other C…   11/2/2020   80335      $270.31
1085119-02    E.A.              Hudson Regional Hospital                     Drug Screening Barbiturates…      11/2/2020   80345      $269.37
1085119-02    E.A.              Hudson Regional Hospital                     Drug Screening Barbiturates…      11/2/2020   80345      $269.37

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        Case 1:24-cv-08606-JRC                Document 1-4 Filed 12/17/24                          Page 424 of 580 PageID #:
                                                          1871
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1085119-02    E.A.              Hudson Regional Hospital                    Drug Screening Benzodiazepines 1-…      11/2/2020   80346      $269.37
1085119-02    E.A.              Hudson Regional Hospital                       Drug Screening Buprenorphine…        11/2/2020   80348      $269.37
1085119-02    E.A.              Hudson Regional Hospital                          Drug Screening Fentanyl…          11/2/2020   80354      $269.37
1085119-02    E.A.              Hudson Regional Hospital                   Drug Screening Gabapentin Non-Blo…       11/2/2020   80355      $269.37
1085119-02    E.A.              Hudson Regional Hospital                     Drug Screening Heroin Metabolite…      11/2/2020   80356      $269.37
1085119-02    E.A.              Hudson Regional Hospital                         Drug Screening Methadone…          11/2/2020   80358      $269.37
1085119-02    E.A.              Hudson Regional Hospital                   Drug Screening Methylenedioxyamph…       11/2/2020   80359      $269.37
1085119-02    E.A.              Hudson Regional Hospital                      Drug Screening Methylphenidate…       11/2/2020   80360      $269.37
1085119-02    E.A.              Hudson Regional Hospital                    Drug Screening Opiates 1 Or More…       11/2/2020   80361      $538.74
1085119-02    E.A.              Hudson Regional Hospital                    Drug Screening Opioids And Opiate…      11/2/2020   80362      $537.74
1085119-02    E.A.              Hudson Regional Hospital                         Drug Screening Oxycodone…          11/2/2020   80365      $269.37
1085119-02    E.A.              Hudson Regional Hospital                         Drug Screening Pregabalin…         11/2/2020   80366      $269.37
1085119-02    E.A.              Hudson Regional Hospital                    Drug Screening Sedative Hypnotics…      11/2/2020   80368      $269.37
1085119-02    E.A.              Hudson Regional Hospital                    Drug Screening Skeletal Muscle Re…      11/2/2020   80369      $269.37
1085119-02    E.A.              Hudson Regional Hospital                         Drug Screening Tapentadol…         11/2/2020   80372      $269.37
1085119-02    E.A.              Hudson Regional Hospital                          Drug Screening Tramadol…          11/2/2020   80373      $269.37
1085119-02    E.A.              Hudson Regional Hospital                    Urnls Dip Stick/Tablet Reagent Au…      11/2/2020   81001      $134.00
1085119-02    E.A.              Hudson Regional Hospital                       Hemoglobin Glycosylated A1C…         11/2/2020   83036       $66.70
1085119-02    E.A.              Hudson Regional Hospital                    Gonadotropin Chorionic Qualitativ…      11/2/2020   84703       $51.65
1085119-02    E.A.              Hudson Regional Hospital                   Blood Count Complete Auto&Auto Di…       11/2/2020   85025      $147.00
1085119-02    E.A.              Hudson Regional Hospital                              Prothrombin Time…             11/2/2020   85610      $143.00
1085119-02    E.A.              Hudson Regional Hospital                    Thromboplastin Time Partial Plasm…      11/2/2020   85730      $147.00
1085119-02    E.A.              Hudson Regional Hospital                   Antibody Screen Rbc Each Serum Te…       11/2/2020   86850      $105.80
1085119-02    E.A.              Hudson Regional Hospital                        Blood Typing Serologic Abo…         11/2/2020   86900      $498.84
1085119-02    E.A.              Hudson Regional Hospital                       Blood Typing Serologic Rh (D)…       11/2/2020   86901       $56.95
1085119-02    E.A.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…      11/2/2020   87635     $1,200.00
1085119-02    E.A.              Hudson Regional Hospital                     Iadna S Aureus Methicillin Resist…     11/2/2020   87641      $241.40
1085119-02    E.A.              Hudson Regional Hospital                    Ecg Routine Ecg W/Least 12 Lds Tr…      11/2/2020   93005      $323.70
1085119-02    E.A.                     SCOB LLC                              Arthrocentesis Aspir&/Inj Major J…     11/5/2020   20610      $473.39
1085119-02    E.A.                     SCOB LLC                             Arthroscopy Shoulder Surg Synovec…      11/5/2020   29821     $2,944.87
1085119-02    E.A.                     SCOB LLC                             Arthroscopy Shoulder Surg Debride…      11/5/2020   29823     $3,026.24
1085119-02    E.A.                     SCOB LLC                              Arthroscopy Shoulder Ahesiolysis …     11/5/2020   29825     $2,944.87
1085119-02    E.A.                     SCOB LLC                            Arthroscopy Shoulder W/Coracoacrm…       11/5/2020   29826     $2,944.87
1084462-01    J.E.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…     1/3/2021   20553      $554.76
1084462-01    J.E.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …       1/3/2021   76942      $341.95
1084462-01    J.E.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…       1/3/2021   A4649       $50.00
1084462-01    J.E.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…    2/15/2021   20552      $236.69
1084462-01    J.E.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      2/15/2021   62321      $976.38
1084462-01    J.E.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…             2/15/2021   72275      $572.53
1084462-01    J.E.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …      2/15/2021   76942      $341.96
1084462-01    J.E.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…      2/15/2021   A4649       $50.00
1084462-01    J.E.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…      5/21/2021   87635     $1,200.00
1084462-01    J.E.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…      6/23/2021   87635     $1,200.00
1084496-02    M.R.                     SCOB LLC                               Injection Single/Mlt Trigger Poin…    8/14/2020   20553      $473.39
1084496-02    M.R.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      8/14/2020   62323      $829.30
1084496-02    M.R.                     SCOB LLC                                      Epidurograpy Rs&I…             8/14/2020   72275      $572.53
1084496-02    M.R.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…     10/22/2020   29821     $5,677.77
1084496-02    M.R.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…     10/22/2020   29823     $1,472.45
1084496-02    M.R.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …    10/22/2020   29825     $1,472.45
1084496-02    M.R.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…     10/22/2020   29999     $1,472.45
1084496-02    M.R.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …    10/22/2020   64415      $979.78
1084496-02    M.R.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …     10/22/2020   76942      $341.96
1084496-02    M.R.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…     10/22/2020   A4649       $72.00
1084079-03    J.M.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…      9/29/2020   29821     $5,677.77
1084079-03    J.M.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…      9/29/2020   29823     $1,472.45
1084079-03    J.M.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…       9/29/2020   29826     $1,472.45
1084079-03    J.M.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …     9/29/2020   64415      $979.78
1084079-03    J.M.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …      9/29/2020   76942      $341.96
1084079-03    J.M.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…      9/29/2020   A4649       $72.00
1084079-03    J.M.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Dx W/Wo Syno…       9/17/2021   29805     $3,026.24
1084079-03    J.M.             Surgicore of Jersey City LLC                 Infectious Agent Detection By Nuc…      9/17/2021   87635       $51.33
1084079-03    J.M.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…      9/17/2021   A4649       $50.00
1084079-03    J.M.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…     9/17/2021   L8699      $600.00
1084079-03    J.M.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       9/17/2021   E0650      $531.06
1084079-03    J.M.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       9/17/2021   E0666       $89.56
1084079-03    J.M.                   Good Medica Inc                        So, Acromio/Clavicular (Canvas An…      9/17/2021   L3670      $111.07
1083667-01    D.N.                    EMUSC LLC                             Anesthesia Perq Image Guided Spin…       3/4/2021    1936      $148.55
1083667-01    D.N.                    EMUSC LLC                             Dcmprn Perq Nucleus Pulposus 1/> …       3/4/2021   62287     $5,827.43

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                                                           1872
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1083667-01    D.N.                      EMUSC LLC                       Probe, Percutaneous Lumbar Discec…     3/4/2021   C2614      $600.00
1083667-01    D.N.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…      4/4/2022   64999      $829.30
1084065-01    E.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…     3/4/2021   29821     $5,677.77
1084065-01    E.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Debride…     3/4/2021   29822     $1,472.45
1084065-01    E.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Debride…     3/4/2021   29823     $1,472.45
1084065-01    E.M.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …    3/4/2021   64415      $979.78
1084065-01    E.M.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …     3/4/2021   76942      $341.96
1084065-01    E.M.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     3/4/2021   A4649       $50.00
1084065-01    E.M.               Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…    3/4/2021   L8699      $185.00
1084065-01    E.M.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…      3/4/2021   E0650      $531.06
1084065-01    E.M.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …      3/4/2021   E0666       $89.56
1083502-01    J.G.                Hudson Regional Hospital              Infectious Agent Detection By Nuc…    6/10/2020   87635     $1,200.00
1083502-01    J.G.           Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…    7/25/2020   22505      $748.08
1083502-01    J.G.           Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…    7/25/2020   22505     $1,577.52
1083502-01    J.G.           Rockaways ASC Development LLC              Manipulation Knee Joint Under Gen…    7/25/2020   27570      $748.08
1083502-01    J.G.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    7/25/2020   A4649       $50.00
1083502-01    J.G.           Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…    7/26/2020   22505      $748.08
1083502-01    J.G.           Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…    7/26/2020   22505     $1,577.52
1083502-01    J.G.           Rockaways ASC Development LLC              Manipulation Knee Joint Under Gen…    7/26/2020   27570      $748.08
1083502-01    J.G.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    7/26/2020   A4649       $50.00
1083502-01    J.G.           Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…     8/8/2020   22505      $748.08
1083502-01    J.G.           Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…     8/8/2020   22505     $1,577.52
1083502-01    J.G.           Rockaways ASC Development LLC             Manj W/Anes Shoulder Joint W/Fixa…      8/8/2020   23700      $748.08
1083502-01    J.G.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…     8/8/2020   A4649       $50.00
1083502-01    J.G.           Rockaways ASC Development LLC               Arthrocentesis Aspir&/Inj Major J…  10/14/2020   20610      $473.38
1083502-01    J.G.           Rockaways ASC Development LLC             Arthroscopy Knee Synovectomy Limi… 10/14/2020      29875     $1,472.45
1083502-01    J.G.           Rockaways ASC Development LLC            Arthrs Knee W/Meniscectomy Med&La… 10/14/2020       29880     $3,026.24
1083502-01    J.G.           Rockaways ASC Development LLC                 Unlisted Procedure Arthroscopy…   10/14/2020   29999     $1,472.45
1083502-01    J.G.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   10/14/2020   A4649       $50.00
1083502-01    J.G.           Rockaways ASC Development LLC                Arthroscopy, Knee, Surgical, For … 10/14/2020   G0289     $1,472.45
1083754-01    M.S.                Hudson Regional Hospital              Infectious Agent Detection By Nuc…     7/6/2020   87635     $1,200.00
1083754-01    M.S.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…    7/16/2020   29821     $2,798.20
1083754-01    M.S.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Debride…    7/16/2020   29823     $1,472.45
1083754-01    M.S.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …   7/16/2020   29825     $1,472.45
1083754-01    M.S.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Rotator Cuff…    7/16/2020   29827     $5,677.77
1083754-01    M.S.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …   7/16/2020   64415      $979.78
1083754-01    M.S.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …    7/16/2020   76942      $341.96
1083754-01    M.S.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    7/16/2020   A4649       $72.00
1083951-01    K.H.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/22/2020   62323      $976.38
1083951-01    K.H.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…           6/22/2020   72275      $572.52
1083951-01    K.H.                       SCOB LLC                      Arthroscopy Knee Synovectomy 2/>C… 11/5/2020       29876     $2,944.87
1083951-01    K.H.                       SCOB LLC                       Arthrs Knee Abrasion Arthrp/Mlt D…    11/5/2020   29879     $3,026.24
1083951-01    K.H.                       SCOB LLC                     Arthrs Knee W/Meniscectomy Med&La… 11/5/2020        29880     $2,944.87
1083951-01    K.H.                       SCOB LLC                      Arthroscopy Knee W/Lysis Adhesion… 11/5/2020       29884     $2,944.87
1083951-01    K.H.                       SCOB LLC                          Unlisted Procedure Arthroscopy…    11/5/2020   29999     $2,944.87
1083951-01    K.H.         Rockland & Bergen Surgery Center LLC         Manipulation Spine Requiring Anes…    1/11/2021   22505     $1,577.52
1083951-01    K.H.         Rockland & Bergen Surgery Center LLC         Clsd Tx Pelvic Ring Fx W/Manipula…    1/11/2021   27198      $405.95
1083951-01    K.H.         Rockland & Bergen Surgery Center LLC         Manipulation Knee Joint Under Gen…    1/11/2021   27570      $748.08
1083951-01    K.H.         Rockland & Bergen Surgery Center LLC         Infectious Agent Detection By Nuc…    1/11/2021   87635       $51.33
1083951-01    K.H.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/16/2021   62323      $976.38
1083717-01    J.R.               Dynamic Surgery Center LLC               Injection Single/Mlt Trigger Poin…  7/11/2020   20553      $473.39
1083717-01    J.R.               Dynamic Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/11/2020   62321      $829.30
1083717-01    J.R.               Dynamic Surgery Center LLC                      Epidurograpy Rs&I…           7/11/2020   72275      $572.53
1083717-01    J.R.          All City Family Healthcare Center, Inc.    Arthroscopy Knee Synovectomy Limi… 7/16/2020       29875     $1,472.45
1083717-01    J.R.          All City Family Healthcare Center, Inc.    Arthrs Kne Surg W/Meniscectomy Me… 7/16/2020       29881     $3,026.24
1083717-01    J.R.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…    7/16/2020   29999     $1,472.45
1083717-01    J.R.          All City Family Healthcare Center, Inc.      Injection Anesthetic Agent Femora…   7/16/2020   64447      $829.30
1083717-01    J.R.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …    7/16/2020   76942      $341.96
1083717-01    J.R.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    7/16/2020   A4649       $72.00
1083717-01    J.R.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…  8/20/2020   20553      $236.69
1083717-01    J.R.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/20/2020   62323      $976.38
1083717-01    J.R.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…           8/20/2020   72275      $572.53
1083717-01    J.R.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …    8/20/2020   76942      $341.96
1083717-01    J.R.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    8/20/2020   A4649       $50.00
1083717-01    J.R.           Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…   8/25/2020   22526     $2,605.78
1083717-01    J.R.           Rockaways ASC Development LLC              Dcmprn Perq Nucleus Pulposus 1/> …    8/25/2020   62287     $5,292.93
1083717-01    J.R.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    8/25/2020   A4649       $50.00
1083717-01    J.R.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin… 10/12/2020   20552      $236.69

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                                                           1873
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1083717-01    J.R.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/12/2020   62321      $976.38
1083717-01    J.R.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…          10/12/2020   72275      $572.53
1083717-01    J.R.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img … 10/12/2020     76942      $341.96
1083717-01    J.R.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   10/12/2020   A4649       $50.00
1083717-01    J.R.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop… 10/15/2020   22526     $2,605.78
1083717-01    J.R.           Rockaways ASC Development LLC              Discectomy Ant Dcmprn Cord Cervic… 10/15/2020     63075     $5,292.93
1083717-01    J.R.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…   10/15/2020   A4649       $50.00
1083389-01    L.L.         Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/1/2020   62323      $976.38
1083389-01    L.L.         Bronx SC LLC d/b/a Empire State ASC                   Epidurograpy Rs&I…            7/1/2020   72275      $572.53
1083389-01    L.L.         Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…     7/1/2020   A4649       $50.00
1083389-01    L.L.                Hudson Regional Hospital                 Comprehensive Metabolic Panel…    11/30/2020   80053      $150.00
1083389-01    L.L.                Hudson Regional Hospital              Drug Tst Prsmv Instrmnt Chem Anal… 11/30/2020     80307      $359.15
1083389-01    L.L.                Hudson Regional Hospital              Drug Screen Quant Amphetamines 1 … 11/30/2020     80324      $269.37
1083389-01    L.L.                Hudson Regional Hospital                Antidepressants Serotonergic Clas… 11/30/2020   80332      $269.37
1083389-01    L.L.                Hudson Regional Hospital                Antidepressants Tricyclic Other C… 11/30/2020   80335      $270.31
1083389-01    L.L.                Hudson Regional Hospital                   Drug Screening Barbiturates…    11/30/2020   80345      $269.37
1083389-01    L.L.                Hudson Regional Hospital               Drug Screening Benzodiazepines 1-…  11/30/2020   80346      $269.37
1083389-01    L.L.                Hudson Regional Hospital                  Drug Screening Buprenorphine…    11/30/2020   80348      $269.37
1083389-01    L.L.                Hudson Regional Hospital                     Drug Screening Fentanyl…      11/30/2020   80354      $269.37
1083389-01    L.L.                Hudson Regional Hospital              Drug Screening Gabapentin Non-Blo… 11/30/2020     80355      $269.37
1083389-01    L.L.                Hudson Regional Hospital                   Drug Screening Methadone…       11/30/2020   80358      $269.37
1083389-01    L.L.                Hudson Regional Hospital              Drug Screening Methylenedioxyamph… 11/30/2020     80359      $269.37
1083389-01    L.L.                Hudson Regional Hospital                 Drug Screening Methylphenidate…   11/30/2020   80360      $269.37
1083389-01    L.L.                Hudson Regional Hospital               Drug Screening Opiates 1 Or More…   11/30/2020   80361      $538.74
1083389-01    L.L.                Hudson Regional Hospital               Drug Screening Opioids And Opiate… 11/30/2020    80362      $537.74
1083389-01    L.L.                Hudson Regional Hospital                   Drug Screening Oxycodone…       11/30/2020   80365      $269.37
1083389-01    L.L.                Hudson Regional Hospital                    Drug Screening Pregabalin…     11/30/2020   80366      $269.37
1083389-01    L.L.                Hudson Regional Hospital                    Drug Screening Pregabalin…     11/30/2020   80366      $269.37
1083389-01    L.L.                Hudson Regional Hospital               Drug Screening Sedative Hypnotics…  11/30/2020   80368      $269.37
1083389-01    L.L.                Hudson Regional Hospital               Drug Screening Skeletal Muscle Re…  11/30/2020   80369      $269.37
1083389-01    L.L.                Hudson Regional Hospital                   Drug Screening Tapentadol…      11/30/2020   80372      $269.37
1083389-01    L.L.                Hudson Regional Hospital                    Drug Screening Tramadol…       11/30/2020   80373      $269.37
1083389-01    L.L.                Hudson Regional Hospital               Urnls Dip Stick/Tablet Reagent Au…  11/30/2020   81001      $134.00
1083389-01    L.L.                Hudson Regional Hospital                 Hemoglobin Glycosylated A1C…      11/30/2020   83036       $66.70
1083389-01    L.L.                Hudson Regional Hospital             Blood Count Complete Auto&Auto Di… 11/30/2020      85025      $147.00
1083389-01    L.L.                Hudson Regional Hospital                        Prothrombin Time…          11/30/2020   85610      $143.00
1083389-01    L.L.                Hudson Regional Hospital               Thromboplastin Time Partial Plasm…  11/30/2020   85730      $147.00
1083389-01    L.L.                Hudson Regional Hospital              Antibody Screen Rbc Each Serum Te… 11/30/2020     86850      $105.80
1083389-01    L.L.                Hudson Regional Hospital                   Blood Typing Serologic Abo…     11/30/2020   86900      $498.84
1083389-01    L.L.                Hudson Regional Hospital                 Blood Typing Serologic Rh (D)…    11/30/2020   86901       $56.95
1083389-01    L.L.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…  11/30/2020   87635     $1,200.00
1083389-01    L.L.                Hudson Regional Hospital                Iadna S Aureus Methicillin Resist… 11/30/2020   87641      $241.40
1083389-01    L.L.                Hudson Regional Hospital               Ecg Routine Ecg W/Least 12 Lds Tr… 11/30/2020    93005      $323.70
1083389-01    L.L.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…  12/3/2020   20610      $473.39
1083389-01    L.L.                       SCOB LLC                       Arthroscopy Knee Synovectomy 2/>C… 12/3/2020      29876     $3,026.24
1083389-01    L.L.                       SCOB LLC                      Arthrs Kne Surg W/Meniscectomy Me… 12/3/2020       29881     $2,944.87
1083142-02    D.S.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 10/6/2021      29876     $1,472.45
1083142-02    D.S.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 10/6/2021       29880     $3,026.24
1083142-02    D.S.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    10/6/2021   29999     $1,472.45
1083142-02    D.S.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    10/6/2021   A4649       $50.00
1083142-02    D.S.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…  10/6/2021   L8699      $195.00
1083142-02    D.S.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 10/6/2021      e0650      $531.06
1083142-02    D.S.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    10/6/2021   e0666       $89.56
1082931-01    M.S.                 Mountain Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/17/2020   62323     $6,510.00
1082931-01    M.S.                 Mountain Surgery Center                       Epidurograpy Rs&I…           9/17/2020   72275     $4,981.00
1082931-01    M.S.                 Mountain Surgery Center                          Surgical Trays…           9/17/2020   A4550      $750.00
1082931-01    M.S.              Manalapan Surgery Center Inc             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/10/2020   62323      $931.80
1082931-01    M.S.              Manalapan Surgery Center Inc               Surgical Supply; Miscellaneous…   10/10/2020   A4649       $50.00
1081792-01    F.L.            Island Ambulatory Surgery Center           Arthroscopy Shoulder Surg Synovec…   7/22/2020   29820     $1,513.12
1081792-01    F.L.            Island Ambulatory Surgery Center           Arthroscopy Shoulder Surg Debride…   7/22/2020   29823     $3,026.23
1081792-01    F.L.            Island Ambulatory Surgery Center            Arthroscopy Shoulder Ahesiolysis …  7/22/2020   29825     $1,513.12
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…  2/23/2021   22526     $2,605.78
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…  2/23/2021   22527     $2,605.79
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …     2/23/2021   62287     $5,292.93
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…   2/23/2021   87635       $51.33
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    2/23/2021   A4649       $50.00
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/27/2022   64493      $976.38
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/27/2022   64493      $447.52

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                                                           1874
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                         Date of     Billing   Amount
                                         Provider                                    Service
 Number      Person                                                                                          Service     Code       Billed
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/27/2022   64494      $447.52
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/27/2022   64494      $447.52
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/27/2022   64495      $447.52
1081792-01    F.L.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/27/2022   64495      $447.52
1081792-01    F.L.           Rockaways ASC Development LLC              Transection/Avulsion Oth Spinal N…   1/11/2023   64772     $1,071.54
1081792-01    F.L.           Rockaways ASC Development LLC              Transection/Avulsion Oth Spinal N…   1/11/2023   64772     $1,071.54
1081792-01    F.L.           Rockaways ASC Development LLC              Transection/Avulsion Oth Spinal N…   1/11/2023   64772     $1,071.54
1081792-01    F.L.           Rockaways ASC Development LLC              Transection/Avulsion Oth Spinal N…   1/11/2023   64772     $1,071.54
1081792-01    F.L.           Rockaways ASC Development LLC              Transection/Avulsion Oth Spinal N…   1/11/2023   64772     $1,071.54
1081792-01    F.L.           Rockaways ASC Development LLC              Transection/Avulsion Oth Spinal N…   1/11/2023   64772     $2,224.45
1082264-03    R.W.          All City Family Healthcare Center, Inc.     Njx Pltlt Plasma W/Img Harvest/Pr…  10/28/2020   0232T      $957.29
1082264-03    R.W.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…   10/28/2020   A4649       $72.00
1082264-03    R.W.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…   1/28/2021   29821     $5,677.77
1082264-03    R.W.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Debride…   1/28/2021   29823     $1,472.45
1082264-03    R.W.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …  1/28/2021   29825     $1,472.45
1082264-03    R.W.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …  1/28/2021   64415      $979.78
1082264-03    R.W.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …   1/28/2021   76942      $341.96
1082264-03    R.W.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    1/28/2021   A4649       $50.00
1082264-03    R.W.               Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…  1/28/2021   L8699      $185.00
1082264-03    R.W.               Surgicore of Jersey City LLC          Arthroscopy Knee Synovectomy 2/>C… 3/18/2021      29876     $1,472.45
1082264-03    R.W.               Surgicore of Jersey City LLC          Arthrs Kne Surg W/Meniscectomy Me… 3/18/2021      29881     $3,026.24
1082264-03    R.W.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    3/18/2021   A4649       $50.00
1082264-03    R.W.               Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical, For …  3/18/2021   G0289     $1,472.45
1082264-03    R.W.               Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…  3/18/2021   L8699      $195.00
1082264-03    R.W.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta… 3/18/2021      E0650      $531.06
1082264-03    R.W.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta… 3/18/2021      E0650      $531.06
1082264-03    R.W.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …    3/18/2021   E0666       $89.56
1082264-03    R.W.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …    3/18/2021   E0666       $89.56
1082018-02    A.F.              Healthplus Surgery Center LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/5/2020   62323      $829.30
1082018-02    A.F.              Healthplus Surgery Center LLC           Immunoassay For Infectious Agent …    6/5/2020   86328      $199.00
1082018-02    A.F.               Dynamic Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/10/2020   62321      $829.30
1082018-02    A.F.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…   8/10/2020   29821     $5,677.77
1082018-02    A.F.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Debride…   8/10/2020   29823     $1,472.45
1082018-02    A.F.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …  8/10/2020   29825     $1,472.45
1082018-02    A.F.          All City Family Healthcare Center, Inc.    Arthroscopy Shoulder W/Coracoacrm… 8/10/2020      29826     $1,472.45
1082018-02    A.F.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …  8/10/2020   64415      $979.78
1082018-02    A.F.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …   8/10/2020   76942      $341.96
1082018-02    A.F.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…    8/10/2020   A4649       $72.00
1082018-02    A.F.           Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…  9/21/2020   22526     $2,605.78
1082018-02    A.F.           Rockaways ASC Development LLC             Discectomy Ant Dcmprn Cord Cervic… 9/21/2020      63075     $5,292.93
1082018-02    A.F.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    9/21/2020   A4649       $50.00
1082018-02    A.F.           Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…  9/24/2020   22526     $2,605.78
1082018-02    A.F.           Rockaways ASC Development LLC              Dcmprn Perq Nucleus Pulposus 1/> …   9/24/2020   62287     $5,292.93
1082018-02    A.F.           Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…    9/24/2020   A4649       $50.00
1082236-02    D.D.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…   1/22/2021   29821     $5,677.77
1082236-02    D.D.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Debride…   1/22/2021   29823     $1,472.45
1082236-02    D.D.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …  1/22/2021   29825     $1,472.45
1082236-02    D.D.          All City Family Healthcare Center, Inc.    Arthroscopy Shoulder W/Coracoacrm… 1/22/2021      29826     $1,472.45
1082236-02    D.D.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …  1/22/2021   64415      $979.78
1082236-02    D.D.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …   1/22/2021   76942      $341.96
1082236-02    D.D.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…    1/22/2021   A4649       $72.00
1082236-02    D.D.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/27/2021   62323      $976.38
1082236-02    D.D.            Island Ambulatory Surgery Center                  Epidurograpy Rs&I…           1/27/2021   72275      $572.52
1081431-02    J.R.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…   6/18/2021   29823     $3,026.24
1081431-02    J.R.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder W/Coracoacrm… 6/18/2021      29826     $1,472.45
1081431-02    J.R.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …  6/18/2021   64415      $979.78
1081431-02    J.R.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …   6/18/2021   76942      $341.96
1081431-02    J.R.            Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…    6/18/2021   A4649       $50.00
1081431-02    J.R.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta… 6/18/2021      E0650      $531.06
1081431-02    J.R.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …    6/18/2021   E0666       $89.56
1082551-01    S.B.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/15/2020   62323      $976.38
1082551-01    S.B.            Island Ambulatory Surgery Center                  Epidurograpy Rs&I…           6/15/2020   72275      $572.52
1082551-01    S.B.            New Horizon Surgical Center LLC           Arthroscopy Shoulder Surgical Cap…   6/20/2020   29806     $5,677.77
1082551-01    S.B.            New Horizon Surgical Center LLC           Arthroscopy Shoulder Surgical Rep…   6/20/2020   29807     $2,798.20
1082551-01    S.B.            New Horizon Surgical Center LLC           Arthroscopy Shoulder Surg Synovec…   6/20/2020   29821     $2,798.20
1082551-01    S.B.            New Horizon Surgical Center LLC           Arthroscopy Shoulder Surg Debride…   6/20/2020   29823     $1,472.45
1082551-01    S.B.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Ahesiolysis …  6/20/2020   29825     $1,472.45
1082551-01    S.B.            New Horizon Surgical Center LLC          Arthroscopy Shoulder W/Coracoacrm… 6/20/2020      29826     $1,472.45

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                                                          1875
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                        Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1082551-01    S.B.           New Horizon Surgical Center LLC                Surgical Supply; Miscellaneous…    6/20/2020   A4649       $50.00
1082551-01    S.B.     Surgicore LLC d/b/a Surgicore Surgical Center      Single Nerve Block Injection Arm …   6/20/2020   64415      $979.78
1082551-01    S.B.     Surgicore LLC d/b/a Surgicore Surgical Center     Us Guidance Needle Placement Img …    6/20/2020   76942      $341.96
1082551-01    S.B.           Island Ambulatory Surgery Center              Perq Intrdscl Electrothrm Annulop… 12/15/2020   22526     $2,646.47
1082551-01    S.B.           Island Ambulatory Surgery Center              Perq Intrdscl Electrothrm Annulop… 12/15/2020   22527     $2,646.47
1082551-01    S.B.           Island Ambulatory Surgery Center             Dcmprn Perq Nucleus Pulposus 1/> … 12/15/2020    62287     $5,292.93
1082551-01    S.B.           Fifth Avenue Surgery Center LLC               Arthrocentesis Aspir&/Inj Major J…  7/15/2021   20610      $473.39
1082551-01    S.B.           Fifth Avenue Surgery Center LLC             Arthroscopy Knee Synovectomy Limi… 7/15/2021      29875     $1,472.45
1082551-01    S.B.           Fifth Avenue Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La… 7/15/2021       29880     $3,026.24
1082551-01    S.B.           Fifth Avenue Surgery Center LLC             Arthroscopy Knee W/Lysis Adhesion… 7/15/2021      29884     $1,472.45
1082551-01    S.B.           Fifth Avenue Surgery Center LLC                Unlisted Procedure Arthroscopy…    7/15/2021   29999     $1,472.45
1082551-01    S.B.           Fifth Avenue Surgery Center LLC              Injection Anesthetic Agent Femora…   7/15/2021   64447      $829.30
1082551-01    S.B.           Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …    7/15/2021   76942      $341.96
1082551-01    S.B.           Fifth Avenue Surgery Center LLC                Surgical Supply; Miscellaneous…    7/15/2021   A4649       $50.00
1082551-01    S.B.                    Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 7/15/2021      E0650      $531.06
1082551-01    S.B.                    Good Medica Inc                    Nonsegmental Pneumatic Appliance …    7/15/2021   E0666       $89.56
1082551-01    S.B.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/26/2022   62323      $976.38
1081185-01    F.M.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/8/2020   62321      $976.38
1081185-01    F.M.           Island Ambulatory Surgery Center                     Epidurograpy Rs&I…            5/8/2020   72275      $572.52
1081185-01    F.M.        All City Family Healthcare Center, Inc.        Arthroscopy Knee Synovectomy Limi… 5/21/2020      29875     $1,472.45
1081185-01    F.M.        All City Family Healthcare Center, Inc.       Arthrs Knee W/Meniscectomy Med&La… 5/21/2020       29880     $3,026.24
1081185-01    F.M.        All City Family Healthcare Center, Inc.           Surgical Supply; Miscellaneous…    5/21/2020   A4649       $72.00
1081185-01    F.M.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/19/2021   62323      $976.38
1081185-01    F.M.           Island Ambulatory Surgery Center                     Epidurograpy Rs&I…           1/19/2021   72275      $572.52
1081185-01    F.M.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/14/2021   62323      $976.38
1081185-01    F.M.           Island Ambulatory Surgery Center                     Epidurograpy Rs&I…           4/14/2021   72275      $572.52
1081185-01    F.M.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/10/2021   62321      $976.38
1081185-01    F.M.           Island Ambulatory Surgery Center                     Epidurograpy Rs&I…           5/10/2021   72275      $572.52
1082098-02    E.F.        Bronx SC LLC d/b/a Empire State ASC             Arthroscopy Ankle Surgical Debrid…   4/12/2021   29898     $3,026.24
1082098-02    E.F.        Bronx SC LLC d/b/a Empire State ASC               Surgical Supply; Miscellaneous…    4/12/2021   A4649       $50.00
1082098-02    E.F.                    Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 4/12/2021      E0650      $531.06
1082098-02    E.F.                    Good Medica Inc                    Nonsegmental Pneumatic Appliance …    4/12/2021   E0666       $89.56
1082284-05    D.F.        Bronx SC LLC d/b/a Empire State ASC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/29/2020   62321      $976.38
1082284-05    D.F.        Bronx SC LLC d/b/a Empire State ASC                     Epidurograpy Rs&I…          10/29/2020   72275      $572.53
1082284-05    D.F.        Bronx SC LLC d/b/a Empire State ASC               Surgical Supply; Miscellaneous…   10/29/2020   A4649       $50.00
1082284-05    D.F.           New Horizon Surgical Center LLC              Arthroscopy Shoulder Surg Synovec…   2/18/2021   29821     $5,677.77
1082284-05    D.F.           New Horizon Surgical Center LLC              Arthroscopy Shoulder Surg Debride…   2/18/2021   29823     $1,472.45
1082284-05    D.F.           New Horizon Surgical Center LLC              Arthroscopy Shoulder Ahesiolysis …   2/18/2021   29825     $1,472.45
1082284-05    D.F.           New Horizon Surgical Center LLC                Unlisted Procedure Arthroscopy…    2/18/2021   29999     $1,472.45
1082284-05    D.F.           New Horizon Surgical Center LLC                Surgical Supply; Miscellaneous…    2/18/2021   A4649       $50.00
1082284-05    D.F.                      AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/7/2021   62323      $976.38
1082284-05    D.F.                      AMSC LLC                                  Epidurograpy Rs&I…            6/7/2021   72275      $572.52
1082284-05    D.F.                      AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   7/12/2021   62323      $976.38
1082284-05    D.F.                      AMSC LLC                                  Epidurograpy Rs&I…           7/12/2021   72275      $572.52
1082352-02    M.J.              Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Synovec…   8/19/2021   29821     $5,677.77
1082352-02    M.J.              Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Debride…   8/19/2021   29823     $1,472.45
1082352-02    M.J.              Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…    8/19/2021   29999     $1,472.45
1082352-02    M.J.              Surgicore of Jersey City LLC              Single Nerve Block Injection Arm …   8/19/2021   64415      $979.78
1082352-02    M.J.              Surgicore of Jersey City LLC             Us Guidance Needle Placement Img …    8/19/2021   76942      $341.96
1082352-02    M.J.              Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…    8/19/2021   A4649       $50.00
1082352-02    M.J.              Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…  8/19/2021   L8699      $255.00
1082352-02    M.J.                    Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 8/19/2021      e0650      $531.06
1082352-02    M.J.                    Good Medica Inc                    Nonsegmental Pneumatic Appliance …    8/19/2021   e0666       $89.56
1081078-01    S.S.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Shoulder Surg Synovec…    6/8/2020   29821     $5,677.77
1081078-01    S.S.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Shoulder Ahesiolysis …    6/8/2020   29825     $1,472.45
1081078-01    S.S.     Surgicore LLC d/b/a Surgicore Surgical Center     Arthroscopy Shoulder W/Coracoacrm…     6/8/2020   29826     $1,472.45
1081078-01    S.S.     Surgicore LLC d/b/a Surgicore Surgical Center      Single Nerve Block Injection Arm …    6/8/2020   64415      $979.78
1081078-01    S.S.     Surgicore LLC d/b/a Surgicore Surgical Center     Us Guidance Needle Placement Img …     6/8/2020   76942      $341.96
1081078-01    S.S.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/19/2021   62323      $976.38
1081078-01    S.S.           Island Ambulatory Surgery Center                     Epidurograpy Rs&I…           1/19/2021   72275      $572.52
1081078-01    S.S.           Island Ambulatory Surgery Center              Perq Intrdscl Electrothrm Annulop…  6/23/2021   22526     $2,646.47
1081078-01    S.S.           Island Ambulatory Surgery Center              Perq Intrdscl Electrothrm Annulop…  6/23/2021   22527     $2,646.47
1081078-01    S.S.           Island Ambulatory Surgery Center             Dcmprn Perq Nucleus Pulposus 1/> …   6/23/2021   62287     $5,292.93
1080345-01    M.V.              Surgicore of Jersey City LLC              Arthroscopy Shoulder Surgical Rem…   6/19/2020   29819     $1,472.45
1080345-01    M.V.              Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Synovec…   6/19/2020   29821     $5,677.77
1080345-01    M.V.              Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Debride…   6/19/2020   29823     $1,472.45
1080345-01    M.V.              Surgicore of Jersey City LLC              Arthroscopy Shoulder Ahesiolysis …   6/19/2020   29825     $1,472.45
1080345-01    M.V.              Surgicore of Jersey City LLC             Arthroscopy Shoulder W/Coracoacrm… 6/19/2020      29826     $1,472.45

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                                                           1876
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1080345-01    M.V.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Rotator Cuff…    6/19/2020   29827     $2,798.20
1080345-01    M.V.               Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …   6/19/2020   64415      $979.78
1080345-01    M.V.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …     6/19/2020   76942      $341.96
1080345-01    M.V.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/17/2020   62323      $829.30
1080345-01    M.V.                       SCOB LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/31/2020   64493     $1,423.99
1080345-01    M.V.                       SCOB LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/31/2020   64494     $1,342.62
1080345-01    M.V.                       SCOB LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/31/2020   64495     $1,342.62
1080345-01    M.V.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/13/2021   62323      $976.38
1080345-01    M.V.            Island Ambulatory Surgery Center                    Epidurograpy Rs&I…           8/13/2021   72275      $572.52
1081889-03    L.Z.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 7/16/2020       29875     $1,472.45
1081889-03    L.Z.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 7/16/2020        29880     $3,026.24
1081889-03    L.Z.          All City Family Healthcare Center, Inc.         Surgical Supply; Miscellaneous…    7/16/2020   A4649       $72.00
1081889-03    L.Z.          All City Family Healthcare Center, Inc.        Arthroscopy, Knee, Surgical, For …  7/16/2020   G0289     $1,472.45
1081889-03    L.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin…  8/18/2020   20553      $473.39
1081889-03    L.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…   8/18/2020   22526     $2,605.78
1081889-03    L.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …      8/18/2020   62287     $5,292.93
1081889-03    L.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…    8/18/2020   A4649       $50.00
1081889-03    L.Z.            Island Ambulatory Surgery Center           Plmt Post Facet Implt Uni/Bi W/Im…   10/21/2021   0221T     $2,646.46
1081889-03    L.Z.            Island Ambulatory Surgery Center             Allograft For Spine Surgery Only … 10/21/2021   20930     $3,201.01
1081889-03    L.Z.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…  10/21/2021   22526     $5,292.93
1081889-03    L.Z.            Island Ambulatory Surgery Center           Transection/Avulsion Oth Spinal N…   10/21/2021   64772     $1,112.23
1081889-03    L.Z.            Island Ambulatory Surgery Center          Anchor/Screw For Opposing Bone-To… 10/21/2021      C1713     $1,000.00
1081889-03    L.Z.            Island Ambulatory Surgery Center            Implantable/Insertable Device, No…  10/21/2021   C1889     $5,000.00
1081889-03    L.Z.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 10/21/2021      e0650      $531.06
1081889-03    L.Z.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance … 10/21/2021      e0666       $89.56
1081015-03    J.R.                Hudson Regional Hospital               Infectious Agent Detection By Nuc…     6/9/2020   87635     $1,200.00
1081015-03    J.R.               Dynamic Surgery Center LLC              Arthroscopy Shoulder Surg Synovec…    6/11/2020   29821     $2,944.87
1081015-03    J.R.               Dynamic Surgery Center LLC              Arthroscopy Shoulder Surg Debride…    6/11/2020   29823     $3,026.24
1081015-03    J.R.               Dynamic Surgery Center LLC               Arthroscopy Shoulder Ahesiolysis …   6/11/2020   29825     $2,944.87
1081015-03    J.R.               Dynamic Surgery Center LLC             Arthroscopy Shoulder W/Coracoacrm… 6/11/2020       29826     $2,944.87
1081015-03    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/16/2020   64493      $447.52
1081015-03    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/16/2020   64493      $976.38
1081015-03    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/16/2020   64494      $447.52
1081015-03    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/16/2020   64494      $447.52
1081015-03    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/16/2020   64495      $447.52
1081015-03    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/16/2020   64495      $447.52
1081015-03    J.R.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…    8/16/2020   A4649       $50.00
1080090-02    D.H.              Healthplus Surgery Center LLC             Perq Intrdscl Electrothrm Annulop…    7/1/2020   22526     $5,723.72
1080090-02    D.H.              Healthplus Surgery Center LLC             Perq Intrdscl Electrothrm Annulop…    7/1/2020   22527     $5,723.72
1080090-02    D.H.              Healthplus Surgery Center LLC            Transpedicular Dcmprn Spinal Cord…     7/1/2020   63056     $5,292.93
1080090-02    D.H.              Healthplus Surgery Center LLC            Transpedicular Dcmprn 1 Seg Ea Th…     7/1/2020   63057     $5,211.56
1080090-02    D.H.              Healthplus Surgery Center LLC            Immunoassay For Infectious Agent …     7/1/2020   86328      $280.37
1080090-02    D.H.              Healthplus Surgery Center LLC            Probe, Percutaneous Lumbar Discec…     7/1/2020   C2614     $2,000.00
1080090-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center     Injection Single/Mlt Trigger Poin…  11/3/2020   20553      $236.69
1080090-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    11/3/2020   62321      $976.38
1080090-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center            Epidurograpy Rs&I…           11/3/2020   72275      $572.53
1080090-02    D.H.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…    11/3/2020   A4649       $50.00
1080090-02    D.H.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   12/6/2020   22526     $2,605.78
1080090-02    D.H.           Rockaways ASC Development LLC                Perq Intrdscl Electrothrm Annulop…   12/6/2020   22527     $2,605.78
1080090-02    D.H.           Rockaways ASC Development LLC                Injection Px Discogrphy Ea Lvl Ce…   12/6/2020   62291      $748.74
1080090-02    D.H.           Rockaways ASC Development LLC              Discectomy Ant Dcmprn Cord Cervic… 12/6/2020       63075     $5,292.93
1080090-02    D.H.           Rockaways ASC Development LLC              Discectomy Ant Dcmprn Cord Cervic… 12/6/2020       63076     $2,605.78
1080090-02    D.H.           Rockaways ASC Development LLC               Diskograpy Cervical/Thoracic Rs&I…    12/6/2020   72285      $962.54
1080090-02    D.H.           Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…    12/6/2020   A4649       $50.00
1080090-02    D.H.                       SCOB LLC                      Arthrs Kne Surg W/Meniscectomy Me… 7/16/2021        29881     $3,026.24
1080826-02    C.M.                       SCOB LLC                       Njx Anes&/Strd W/Img Tfrml Edrl L… 6/19/2020       64483     $1,423.99
1080826-02    C.M.                       SCOB LLC                       Njx Anes&/Strd W/Img Tfrml Edrl L… 6/19/2020       64484     $1,342.62
1080826-02    C.M.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/24/2020   62321      $829.30
1080826-02    C.M.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/18/2020   64493      $976.38
1080826-02    C.M.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/18/2020   64494      $447.52
1080826-02    C.M.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/18/2020   64495      $447.52
1080826-02    C.M.          All City Family Healthcare Center, Inc.         Surgical Supply; Miscellaneous…    9/18/2020   A4649       $72.00
1080826-02    C.M.               Citimed Surgery Center LLC               Arthrocentesis Aspir&/Inj Major J…    4/2/2021   20610      $473.39
1080826-02    C.M.               Citimed Surgery Center LLC              Tenotomy Shoulder Multiple Thru S…     4/2/2021   23406     $3,760.88
1080858-03    R.O.         Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/18/2020   62321      $976.38
1080858-03    R.O.         Bronx SC LLC d/b/a Empire State ASC                    Epidurograpy Rs&I…           6/18/2020   72275      $572.53
1080858-03    R.O.            New Horizon Surgical Center LLC           Arthroscopy Knee Synovectomy Limi… 7/21/2020       29875     $1,472.45
1080858-03    R.O.            New Horizon Surgical Center LLC          Arthrs Knee W/Meniscectomy Med&La… 7/21/2020        29880     $3,026.24

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                                                          1877
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1080858-03    R.O.          New Horizon Surgical Center LLC                   Surgical Supply; Miscellaneous…    7/21/2020   A4649       $50.00
1080858-03    R.O.          New Horizon Surgical Center LLC                  Arthroscopy, Knee, Surgical, For …  7/21/2020   G0289     $1,472.45
1080858-03    R.O.              Global Surgery Center LLC                  Arthroscopy Shoulder Surg Synovec…    9/29/2020   29821     $1,472.44
1080858-03    R.O.              Global Surgery Center LLC                   Arthroscopy Shoulder Surg Debride…   9/29/2020   29823     $5,677.77
1080858-03    R.O.              Global Surgery Center LLC                   Arthroscopy Shoulder Ahesiolysis …   9/29/2020   29825     $1,472.44
1080858-03    R.O.              Global Surgery Center LLC                  Arthroscopy Shoulder W/Coracoacrm… 9/29/2020      29826     $1,472.44
1080858-03    R.O.              Global Surgery Center LLC                     Unlisted Procedure Arthroscopy…    9/29/2020   29999     $1,472.44
1080858-03    R.O.          New Horizon Surgical Center LLC                Arthroscopy Knee Synovectomy Limi… 10/20/2020     29875     $1,472.45
1080858-03    R.O.          New Horizon Surgical Center LLC               Arthrs Knee W/Meniscectomy Med&La… 10/20/2020      29880     $3,026.24
1080858-03    R.O.          New Horizon Surgical Center LLC                   Surgical Supply; Miscellaneous…   10/20/2020   A4649       $50.00
1080858-03    R.O.          New Horizon Surgical Center LLC                  Arthroscopy, Knee, Surgical, For … 10/20/2020   G0289     $1,472.45
1080904-01    S.E.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…  7/17/2020   20610      $473.38
1080904-01    S.E.        All City Family Healthcare Center, Inc.          Manipulation Knee Joint Under Gen…    7/17/2020   27570      $748.08
1080904-01    S.E.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 7/17/2020      29875     $1,472.45
1080904-01    S.E.        All City Family Healthcare Center, Inc.           Arthrs Knee Abrasion Arthrp/Mlt D…   7/17/2020   29879     $1,472.45
1080904-01    S.E.        All City Family Healthcare Center, Inc.         Arthrs Kne Surg W/Meniscectomy Me… 7/17/2020       29881     $3,026.24
1080904-01    S.E.        All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…    7/17/2020   29999     $1,472.45
1080904-01    S.E.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…    7/17/2020   A4649       $72.00
1080904-01    S.E.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  10/2/2020   20553      $473.39
1080904-01    S.E.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/2/2020   62323      $976.38
1080904-01    S.E.                     SCOB LLC                                     Epidurograpy Rs&I…           10/2/2020   72275      $572.53
1080904-01    S.E.                     SCOB LLC                              Injection Single/Mlt Trigger Poin… 10/26/2020   20553      $473.39
1080904-01    S.E.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/26/2020   62323      $976.38
1080904-01    S.E.                     SCOB LLC                                     Epidurograpy Rs&I…          10/26/2020   72275      $572.53
1080904-01    S.E.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin… 11/23/2020   20552      $236.69
1080904-01    S.E.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/23/2020   62323      $976.38
1080904-01    S.E.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…          11/23/2020   72275      $572.53
1080904-01    S.E.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img … 11/23/2020     76942      $341.96
1080904-01    S.E.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…   11/23/2020   A4649       $50.00
1080904-01    S.E.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…  1/18/2021   22526      $450.00
1080904-01    S.E.                   Triborough ASC                         Injection Px Discography Each Lev…   1/18/2021   62290      $450.00
1080904-01    S.E.                   Triborough ASC                        Transpedicular Dcmprn Spinal Cord…    1/18/2021   63056     $6,300.00
1080904-01    S.E.                   Triborough ASC                        Njx Anes&/Strd W/Img Tfrml Edrl L… 1/18/2021      64483      $750.00
1080904-01    S.E.                   Triborough ASC                         Fluor Needle/Cath Spine/Paraspina…   1/18/2021   77003      $225.00
1080904-01    S.E.                   Triborough ASC                            Glucose Blood Reagent Strip…      1/18/2021   82948       $20.00
1080904-01    S.E.                   Triborough ASC                        New Cpt Code 99072 Was Establishe… 1/18/2021      99072      $200.00
1080904-01    S.E.                   Triborough ASC                        Injection, Dexamethasone Sodium P…    1/18/2021   J1100       $52.64
1080904-01    S.E.                   Triborough ASC                                  Unclassified Drugs…         1/18/2021   J3490       $40.64
1080904-01    S.E.                   Triborough ASC                         Low Osmolar Contrast Material, 10…   1/18/2021   Q9965       $13.90
1080651-01    I.A.                     AMSC LLC                              Injection Single/Mlt Trigger Poin…  3/15/2021   20552      $277.37
1080651-01    I.A.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/15/2021   62321      $976.38
1080651-01    I.A.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/15/2021   62323      $976.38
1080651-01    I.A.                     AMSC LLC                                     Epidurograpy Rs&I…           3/15/2021   72275      $572.52
1080651-01    I.A.                     AMSC LLC                                     Epidurograpy Rs&I…           3/15/2021   72275      $572.52
1080651-01    I.A.                     AMSC LLC                            Us Guidance Needle Placement Img …    3/15/2021   76942      $423.32
1080651-01    I.A.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   7/19/2021   62323      $976.38
1080651-01    I.A.                     AMSC LLC                                     Epidurograpy Rs&I…           7/19/2021   72275      $572.52
1080651-01    I.A.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/9/2021   62323      $976.38
1080651-01    I.A.                     AMSC LLC                                     Epidurograpy Rs&I…            8/9/2021   72275      $572.52
1080651-01    I.A.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/18/2021   62321      $976.38
1080651-01    I.A.                     AMSC LLC                                     Epidurograpy Rs&I…          10/18/2021   72275      $572.52
1080651-01    I.A.                     SCOB LLC                            Arthroscopy Shoulder Surg Synovec… 10/22/2021     29820     $2,944.87
1080651-01    I.A.                     SCOB LLC                             Arthroscopy Shoulder Ahesiolysis …  10/22/2021   29825     $3,026.24
1080651-01    I.A.                     SCOB LLC                            Arthroscopy Shoulder W/Coracoacrm… 10/22/2021     29826     $2,944.87
1080651-01    I.A.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/1/2021   62321      $976.38
1080651-01    I.A.                     AMSC LLC                                     Epidurograpy Rs&I…           11/1/2021   72275      $572.52
1080651-01    I.A.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/14/2022   62321      $976.38
1080651-01    I.A.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/13/2022   62321      $976.38
1080651-01    I.A.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/25/2022   62321      $976.38
1080651-01    I.A.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/7/2023   62321      $976.38
1080651-01    I.A.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/21/2023   62323      $976.38
1080651-01    I.A.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/27/2024   62323      $976.38
1079736-01    R.M.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/1/2020   62321      $976.38
1079736-01    R.M.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           10/1/2020   72275      $572.52
1079736-01    R.M.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/3/2020   62323      $976.38
1079736-01    R.M.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           12/3/2020   72275      $572.52
1079736-01    R.M.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…  1/18/2021   20610      $473.38
1079736-01    R.M.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…    1/18/2021   29821     $5,677.77

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                                                         1878
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                       Provider                                        Service
 Number      Person                                                                                             Service     Code       Billed
1079736-01    R.M.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   1/18/2021   29823      $1,472.45
1079736-01    R.M.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Distal Clavi…   1/18/2021   29824      $1,472.45
1079736-01    R.M.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …   1/18/2021   29825      $1,472.45
1079736-01    R.M.       All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 1/18/2021      29826      $1,472.45
1079736-01    R.M.       All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   1/18/2021   64415       $979.78
1079736-01    R.M.       All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    1/18/2021   76942       $341.96
1079736-01    R.M.       All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…    1/18/2021   A4649        $72.00
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC             Arthroscopy Knee Synovectomy Limi… 7/17/2020      29875      $1,472.45
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC             Arthroscopy Knee Synovectomy Limi… 7/17/2020      29875     $16,555.50
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC              Arthrs Knee Abrasion Arthrp/Mlt D…   7/17/2020   29879      $1,472.45
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC              Arthrs Knee Abrasion Arthrp/Mlt D…   7/17/2020   29879     $14,663.35
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC              Arthrs Knee Abrasion Arthrp/Mlt D…   7/17/2020   29879     $25,104.00
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La… 7/17/2020       29880      $3,026.24
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La… 7/17/2020       29880     $29,700.00
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC              Injection Anesthetic Agent Femora…   7/17/2020   64447       $829.30
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC              Injection Anesthetic Agent Femora…   7/17/2020   64447      $4,929.00
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC             Us Guidance Needle Placement Img …    7/17/2020   76942       $341.96
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC             Us Guidance Needle Placement Img …    7/17/2020   76942      $7,927.50
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC                Surgical Supply; Miscellaneous…    7/17/2020   A4649        $50.00
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC                Surgical Supply; Miscellaneous…    7/17/2020   A4649        $50.00
1079550-02    A.B.       Rockland & Bergen Surgery Center LLC               Arthroscopy, Knee, Surgical, For …  7/17/2020   G0289      $1,472.45
1079550-02    A.B.          Island Ambulatory Surgery Center                Injection Single/Mlt Trigger Poin…  3/24/2021   20553       $277.37
1079550-02    A.B.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/24/2021   62321       $976.38
1079550-02    A.B.          Island Ambulatory Surgery Center                       Epidurograpy Rs&I…           3/24/2021   72275       $572.52
1079550-02    A.B.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/2/2021   62321       $976.38
1079550-02    A.B.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/13/2022   62321       $976.38
1079681-01    S.F.              Hudson Regional Hospital                  Mri Spinal Canal Lumbar W/O Contr… 2/18/2020      72148      $7,976.60
1079681-01    S.F.              Hudson Regional Hospital                   Mri Spinal Canal Cervical W/O Con…   3/12/2020   72141      $5,982.45
1079681-01    S.F.              Hudson Regional Hospital                  Mri Any Jt Upper Extremity W/O Co…    3/12/2020   73221      $3,988.30
1079681-01    S.F.              Hudson Regional Hospital                  Mri Any Jt Lower Extrem W/O Contr… 3/12/2020      73721      $3,988.30
1079681-01    S.F.              Hudson Regional Hospital                   Infectious Agent Detection By Nuc…    6/4/2020   87635      $1,200.00
1079681-01    S.F.         Rockaways ASC Development LLC                    Arthrocentesis Aspir&/Inj Major J…  7/15/2020   20610       $473.38
1079681-01    S.F.         Rockaways ASC Development LLC                   Arthroscopy Shoulder Surgical Rep…   7/15/2020   29807      $5,677.77
1079681-01    S.F.         Rockaways ASC Development LLC                   Arthroscopy Shoulder Surg Synovec…   7/15/2020   29821      $2,798.20
1079681-01    S.F.         Rockaways ASC Development LLC                   Arthroscopy Shoulder Surg Debride…   7/15/2020   29823      $1,472.45
1079681-01    S.F.         Rockaways ASC Development LLC                   Arthroscopy Shoulder Ahesiolysis …   7/15/2020   29825      $1,472.45
1079681-01    S.F.         Rockaways ASC Development LLC                     Unlisted Procedure Arthroscopy…    7/15/2020   29999      $1,472.45
1079681-01    S.F.         Rockaways ASC Development LLC                   Single Nerve Block Injection Arm …   7/15/2020   64415       $979.78
1079681-01    S.F.         Rockaways ASC Development LLC                  Us Guidance Needle Placement Img …    7/15/2020   76942       $341.96
1079681-01    S.F.         Rockaways ASC Development LLC                     Surgical Supply; Miscellaneous…    7/15/2020   A4649        $50.00
1079681-01    S.F.                     SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/4/2020   62323       $829.30
1079681-01    S.F.                     SCOB LLC                            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/9/2020   64493      $1,423.89
1079681-01    S.F.                     SCOB LLC                            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/9/2020   64494      $1,342.52
1079681-01    S.F.                     SCOB LLC                            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/9/2020   64495      $1,342.52
1079681-01    S.F.                     SCOB LLC                            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  10/30/2020   64493      $1,423.89
1079681-01    S.F.                     SCOB LLC                            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  10/30/2020   64494      $1,342.52
1079681-01    S.F.                     SCOB LLC                            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  10/30/2020   64495      $1,342.52
1079681-01    S.F.         Rockaways ASC Development LLC                  Njx Anes&/Strd W/Img Tfrml Edrl L… 12/2/2020      64483       $976.38
1079681-01    S.F.         Rockaways ASC Development LLC                  Njx Anes&/Strd W/Img Tfrml Edrl L… 12/2/2020      64484       $447.52
1079681-01    S.F.         Rockaways ASC Development LLC                     Surgical Supply; Miscellaneous…    12/2/2020   A4649        $50.00
1079681-01    S.F.              Hudson Regional Hospital                   Infectious Agent Detection By Nuc…   1/25/2021   87635      $1,200.00
1079681-01    S.F.             Citimed Surgery Center LLC                   Dstr Nrolytc Agnt Parverteb Fct S…  1/29/2021   64635       $979.78
1079681-01    S.F.             Citimed Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   1/29/2021   64636       $898.41
1079681-01    S.F.             Citimed Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   1/29/2021   64636       $898.41
1079681-01    S.F.             Citimed Surgery Center LLC                   Dstr Nrolytc Agnt Parverteb Fct S…  2/26/2021   64635       $979.78
1079681-01    S.F.             Citimed Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   2/26/2021   64636       $898.41
1079681-01    S.F.             Citimed Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   2/26/2021   64636       $898.41
1108114-02    E.J.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…   3/14/2022   29821      $5,596.40
1108114-02    E.J.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Debride…   3/14/2022   29823      $1,472.45
1108114-02    E.J.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Ahesiolysis …   3/14/2022   29825      $1,472.45
1108114-02    E.J.          Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder W/Coracoacrm… 3/14/2022      29826      $1,553.82
1108114-02    E.J.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Rotator Cuff…   3/14/2022   29827      $6,723.47
1108114-02    E.J.          Fifth Avenue Surgery Center LLC                Single Nerve Block Injection Arm …   3/14/2022   64415       $979.78
1108114-02    E.J.          Fifth Avenue Surgery Center LLC               Us Guidance Needle Placement Img …    3/14/2022   76942       $341.96
1108114-02    E.J.                  Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 3/14/2022      E0650       $531.06
1108114-02    E.J.                  Good Medica Inc                       Nonsegmental Pneumatic Appliance …    3/14/2022   E0666        $89.56
1079198-02    A.S.       All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…   7/2/2020   20610       $473.38
1079198-02    A.S.       All City Family Healthcare Center, Inc.           Arthroscopy Ankle Surgical Synove…    7/2/2020   29895      $3,026.24

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                                                           1879
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1079198-02    A.S.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…     7/2/2020   29999     $1,472.45
1079198-02    A.S.          All City Family Healthcare Center, Inc.      Injection Anesthetic Agent Femora…    7/2/2020   64447      $829.30
1079198-02    A.S.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     7/2/2020   76942      $341.96
1079198-02    A.S.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…     7/2/2020   A4649       $72.00
1079198-02    A.S.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin… 12/16/2020   20553      $277.37
1079198-02    A.S.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  12/16/2020   62323      $976.38
1079198-02    A.S.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…          12/16/2020   72275      $572.52
1079198-02    A.S.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…  2/25/2021   22526     $2,646.47
1079198-02    A.S.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…  2/25/2021   22527     $2,646.47
1079198-02    A.S.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …   2/25/2021   62287     $5,292.93
1079198-02    A.S.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 2/25/2021      E0650      $531.06
1079198-02    A.S.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    2/25/2021   E0666       $89.56
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Dx W/Wo Syno… 6/12/2020       29805     $1,472.45
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Dx W/Wo Syno… 6/12/2020       29805     $1,472.45
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…     6/12/2020   29821     $5,677.77
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…     6/12/2020   29821     $5,677.77
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…     6/12/2020   29823     $1,472.45
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…     6/12/2020   29823     $1,472.45
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Ahesiolysis …   6/12/2020   29825     $1,472.45
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Ahesiolysis …   6/12/2020   29825     $1,472.45
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center     Unlisted Procedure Arthroscopy…    6/12/2020   29999     $1,472.45
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center     Unlisted Procedure Arthroscopy…    6/12/2020   29999     $1,472.45
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …   6/12/2020   64415      $979.78
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …     6/12/2020   76942      $341.96
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    6/12/2020   A4649       $50.00
1079949-02    J.W.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    6/12/2020   A4649       $50.00
1079949-02    J.W.               Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/1/2020   62321      $976.38
1079949-02    J.W.               Surgicore of Jersey City LLC                    Epidurograpy Rs&I…            8/1/2020   72275      $572.53
1079949-02    J.W.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     8/1/2020   A4649       $50.00
1079949-02    J.W.               Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/15/2020   62321      $976.38
1079949-02    J.W.               Surgicore of Jersey City LLC                    Epidurograpy Rs&I…           8/15/2020   72275      $572.53
1079949-02    J.W.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    8/15/2020   A4649       $50.00
1079949-02    J.W.               Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/29/2020   62321      $976.38
1079949-02    J.W.               Surgicore of Jersey City LLC                    Epidurograpy Rs&I…           8/29/2020   72275      $572.53
1079949-02    J.W.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    8/29/2020   A4649       $50.00
1079949-02    J.W.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…   3/5/2021   22526     $2,646.47
1079949-02    J.W.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…   3/5/2021   22527     $2,646.47
1079949-02    J.W.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …    3/5/2021   62287     $5,292.93
1079949-02    J.W.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…     3/5/2021   E0650      $531.06
1079949-02    J.W.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     3/5/2021   E0666       $89.56
1079949-02    J.W.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…   4/6/2021   20610      $473.39
1079949-02    J.W.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi…     4/6/2021   29875     $1,472.45
1079949-02    J.W.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 4/6/2021        29880     $3,026.24
1079949-02    J.W.            Fifth Avenue Surgery Center LLC            Injection Anesthetic Agent Femora…    4/6/2021   64447      $829.30
1079949-02    J.W.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     4/6/2021   76942      $341.96
1079949-02    J.W.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…     4/6/2021   a4649       $50.00
1079949-02    J.W.            Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical, For …   4/6/2021   g0289     $1,472.45
1079949-02    J.W.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…     4/6/2021   E0650      $531.06
1079949-02    J.W.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     4/6/2021   E0666       $89.56
1079949-02    J.W.            Island Ambulatory Surgery Center           Plmt Post Facet Implant Uni/Bi W/…   7/12/2021   0219T     $2,646.47
1079949-02    J.W.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …   7/12/2021   62287     $5,292.93
1079949-02    J.W.            Island Ambulatory Surgery Center           Transection/Avulsion Oth Spinal N…   7/12/2021   64772     $1,112.23
1079949-02    J.W.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 7/12/2021      E0650      $531.06
1079949-02    J.W.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    7/12/2021   E0666       $89.56
1080376-01    E.C.               Surgicore of Jersey City LLC            Dcmprn Perq Nucleus Pulposus 1/> …    4/2/2021   62287     $5,292.93
1080376-01    E.C.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     4/2/2021   A4649       $50.00
1080376-01    E.C.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…   4/2/2021   L8699     $1,545.00
1080376-01    E.C.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…     4/2/2021   E0650      $531.06
1080376-01    E.C.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     4/2/2021   E0666       $89.56
1079526-02    C.G.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surgical Rem…   7/13/2020   29819     $1,472.45
1079526-02    C.G.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Synovec…   7/13/2020   29821     $5,677.77
1079526-02    C.G.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…   7/13/2020   29823     $1,472.45
1079526-02    C.G.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …   7/13/2020   29825     $1,472.45
1079526-02    C.G.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 7/13/2020      29826     $1,472.45
1079526-02    C.G.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …   7/13/2020   64415      $979.78
1079526-02    C.G.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …    7/13/2020   76942      $341.96
1079526-02    C.G.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    7/13/2020   A4649       $72.00
1079526-02    C.G.                      EMUSC LLC                        Anesthesia Perq Image Guided Spin…   8/11/2021    1936      $189.07

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                Service     Code       Billed
1079526-02    C.G.                    EMUSC LLC                             Anesthesia Perq Image Guided Spin…     8/25/2021    1936       $297.11
1077834-02    J.G.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…    7/24/2020   20610       $473.38
1077834-02    J.G.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…      7/24/2020   23700       $748.08
1077834-02    J.G.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…     7/24/2020   29821      $5,677.77
1077834-02    J.G.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…     7/24/2020   29823      $1,472.45
1077834-02    J.G.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …    7/24/2020   29825      $1,472.45
1077834-02    J.G.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…     7/24/2020   29999      $1,472.45
1077834-02    J.G.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …    7/24/2020   64415       $979.78
1077834-02    J.G.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …     7/24/2020   76942       $341.96
1077834-02    J.G.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…     7/24/2020   A4649        $72.00
1077834-02    J.G.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…     2/26/2021   29821      $5,677.77
1077834-02    J.G.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…     2/26/2021   29823      $1,472.45
1077834-02    J.G.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …    2/26/2021   29825      $1,472.45
1077834-02    J.G.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…      2/26/2021   29826      $1,472.45
1077834-02    J.G.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …    2/26/2021   64415       $979.78
1077834-02    J.G.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …     2/26/2021   76942       $341.96
1077834-02    J.G.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…     2/26/2021   A4649        $72.00
1077834-02    J.G.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…    3/30/2021   22526      $2,646.47
1077834-02    J.G.          Island Ambulatory Surgery Center                Dcmprn Perq Nucleus Pulposus 1/> …     3/30/2021   62287      $5,292.93
1077834-02    J.G.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…      3/30/2021   E0650       $531.06
1077834-02    J.G.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …      3/30/2021   E0666        $89.56
1077944-01    C.C.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      5/7/2020   62323       $976.38
1077944-01    C.C.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…             5/7/2020   72275       $572.52
1077944-01    C.C.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…   11/6/2020   20552       $236.69
1077944-01    C.C.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/6/2020   62323       $976.38
1077944-01    C.C.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…            11/6/2020   72275       $572.53
1077944-01    C.C.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …     11/6/2020   76942       $341.96
1077944-01    C.C.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…     11/6/2020   A4649        $50.00
1077944-01    C.C.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…   12/4/2020   20552       $236.69
1077944-01    C.C.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     12/4/2020   62323       $976.38
1077944-01    C.C.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…            12/4/2020   72275       $572.53
1077944-01    C.C.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …     12/4/2020   76942       $341.96
1077944-01    C.C.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…     12/4/2020   A4649        $50.00
1077944-01    C.C.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…     2/5/2021   22526       $450.00
1077944-01    C.C.                   Triborough ASC                         Injection Px Discography Each Lev…      2/5/2021   62290       $450.00
1077944-01    C.C.                   Triborough ASC                         Transpedicular Dcmprn Spinal Cord…      2/5/2021   63056      $6,300.00
1077944-01    C.C.                   Triborough ASC                        Njx Anes&/Strd W/Img Tfrml Edrl L…       2/5/2021   64483       $750.00
1077944-01    C.C.                   Triborough ASC                          Fluor Needle/Cath Spine/Paraspina…     2/5/2021   77003       $225.00
1077944-01    C.C.                   Triborough ASC                             Glucose Blood Reagent Strip…        2/5/2021   82948        $20.00
1077944-01    C.C.                   Triborough ASC                        New Cpt Code 99072 Was Establishe…       2/5/2021   99072       $200.00
1077944-01    C.C.                   Triborough ASC                         Injection, Dexamethasone Sodium P…      2/5/2021   J1100        $52.64
1077944-01    C.C.                   Triborough ASC                                   Unclassified Drugs…           2/5/2021   J3490        $40.64
1077944-01    C.C.                   Triborough ASC                         Low Osmolar Contrast Material, 10…      2/5/2021   Q9965        $13.90
1077944-01    C.C.              Hudson Regional Hospital                       Comprehensive Metabolic Panel…      6/10/2021   80053       $150.00
1077944-01    C.C.              Hudson Regional Hospital                   Drug Tst Prsmv Instrmnt Chem Anal…      6/10/2021   80307       $359.15
1077944-01    C.C.              Hudson Regional Hospital                     Urnls Dip Stick/Tablet Reagent Au…    6/10/2021   81001       $134.00
1077944-01    C.C.              Hudson Regional Hospital                       Hemoglobin Glycosylated A1C…        6/10/2021   83036        $66.70
1077944-01    C.C.              Hudson Regional Hospital                   Blood Count Complete Auto&Auto Di…      6/10/2021   85025       $147.00
1077944-01    C.C.              Hudson Regional Hospital                              Prothrombin Time…            6/10/2021   85610       $143.00
1077944-01    C.C.              Hudson Regional Hospital                    Thromboplastin Time Partial Plasm…     6/10/2021   85730       $147.00
1077944-01    C.C.              Hudson Regional Hospital                   Antibody Screen Rbc Each Serum Te…      6/10/2021   86850       $105.80
1077944-01    C.C.              Hudson Regional Hospital                        Blood Typing Serologic Abo…        6/10/2021   86900       $498.84
1077944-01    C.C.              Hudson Regional Hospital                       Blood Typing Serologic Rh (D)…      6/10/2021   86901        $56.95
1077944-01    C.C.              Hudson Regional Hospital                     Infectious Agent Detection By Nuc…    6/10/2021   87635      $1,200.00
1077944-01    C.C.              Hudson Regional Hospital                      Iadna S Aureus Methicillin Resist…   6/10/2021   87641       $241.40
1077944-01    C.C.              Hudson Regional Hospital                    Ecg Routine Ecg W/Least 12 Lds Tr…     6/10/2021   93005       $323.70
1077944-01    C.C.              Hudson Regional Hospital                     Perq Intrdscl Electrothrm Annulop…    6/15/2021   22526     $30,000.00
1077944-01    C.C.              Hudson Regional Hospital                     Perq Intrdscl Electrothrm Annulop…    6/15/2021   22527     $30,000.00
1077944-01    C.C.              Hudson Regional Hospital                    Transpedicular Dcmprn Spinal Cord…     6/15/2021   63056     $29,387.89
1077944-01    C.C.              Hudson Regional Hospital                    Transpedicular Dcmprn 1 Seg Ea Th…     6/15/2021   63057     $26,295.79
1077944-01    C.C.              Hudson Regional Hospital                     Radex Spine 1 View Specify Level…     6/15/2021   72020       $681.20
1077944-01    C.C.              Hudson Regional Hospital                    Fluoroscopy Up To 1 Hour Physicia…     6/15/2021   76000      $1,346.30
1077944-01    C.C.              Hudson Regional Hospital                        Glucose Blood Reagent Strip…       6/15/2021   82948        $65.25
1077944-01    C.C.              Hudson Regional Hospital                    Level Iii Surg Pathology Gross&Mi…     6/15/2021   88304       $192.00
1077944-01    C.C.              Hudson Regional Hospital                           Gloves, Sterile, Per Pair…      6/15/2021   A4930        $61.05
1077944-01    C.C.              Hudson Regional Hospital                    Addition To Lower Extremity, Mold…     6/15/2021   L2280        $23.10
1079259-04    E.G.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…    9/12/2020   20610       $473.39
1079259-04    E.G.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…     9/12/2020   29821      $5,677.77

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                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1079259-04    E.G.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   9/12/2020   29823     $1,472.45
1079259-04    E.G.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …   9/12/2020   29825     $1,472.45
1079259-04    E.G.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…    9/12/2020   29999     $1,472.45
1079259-04    E.G.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   9/12/2020   64415      $979.78
1079259-04    E.G.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    9/12/2020   76942      $341.96
1079259-04    E.G.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…    9/12/2020   A4649       $50.00
1079259-04    E.G.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…   4/2/2021   20553      $225.00
1079259-04    E.G.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/2/2021   62323     $1,550.00
1079259-04    E.G.                   Triborough ASC                                 Epidurograpy Rs&I…            4/2/2021   72275      $700.00
1079259-04    E.G.                   Triborough ASC                         Fluor Needle/Cath Spine/Paraspina…    4/2/2021   77003      $225.00
1079259-04    E.G.                   Triborough ASC                         Urine Pregnancy Test Visual Color…    4/2/2021   81025       $30.00
1079259-04    E.G.                   Triborough ASC                         Glucose Quantitative Blood Xcpt R…    4/2/2021   82947       $20.00
1079259-04    E.G.                   Triborough ASC                        New Cpt Code 99072 Was Establishe…     4/2/2021   99072      $200.00
1079259-04    E.G.                   Triborough ASC                        Injection, Dexamethasone Sodium P…     4/2/2021   J1100       $52.64
1079259-04    E.G.                   Triborough ASC                                  Unclassified Drugs…          4/2/2021   J3490       $40.64
1079259-04    E.G.                   Triborough ASC                         Low Osmolar Contrast Material, 10…    4/2/2021   Q9965       $13.90
1079259-04    E.G.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  1/15/2022   20553      $473.39
1079259-04    E.G.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/15/2022   62323      $976.38
1079259-04    E.G.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  1/22/2022   20553      $473.39
1079259-04    E.G.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/22/2022   62323      $976.38
1078942-02    K.B.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…    7/23/2020   29821     $2,798.20
1078942-02    K.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   7/23/2020   29823     $1,472.45
1078942-02    K.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …   7/23/2020   29825     $1,472.45
1078942-02    K.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Rotator Cuff…   7/23/2020   29827     $5,677.77
1078942-02    K.B.        All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…    7/23/2020   29999     $1,472.45
1078942-02    K.B.        All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…    7/23/2020   29999     $1,472.45
1078942-02    K.B.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   7/23/2020   64415      $979.78
1078942-02    K.B.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    7/23/2020   76942      $341.96
1078942-02    K.B.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…    7/23/2020   A4649       $72.00
1078942-02    K.B.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…   7/22/2021   87635     $1,200.00
1078942-02    K.B.              Hudson Regional Hospital                    Specimen Collection For Severe Ac…   7/22/2021   G2023       $97.84
1078504-04    G.S.          Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin…  7/13/2020   20553      $277.37
1078504-04    G.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/13/2020   62321      $976.38
1078504-04    G.S.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           7/13/2020   72275      $572.52
1078504-04    G.S.         Rockaways ASC Development LLC                   Arthroscopy Shoulder Surg Synovec… 11/13/2020     29821     $5,677.77
1078504-04    G.S.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Surg Debride…  11/13/2020   29823     $1,472.45
1078504-04    G.S.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Ahesiolysis …  11/13/2020   29825     $1,472.45
1078504-04    G.S.         Rockaways ASC Development LLC                      Unlisted Procedure Arthroscopy…   11/13/2020   29999     $1,472.45
1078504-04    G.S.         Rockaways ASC Development LLC                    Single Nerve Block Injection Arm …  11/13/2020   64415      $979.78
1078504-04    G.S.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img … 11/13/2020     76942      $341.96
1078504-04    G.S.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…   11/13/2020   A4649       $50.00
1078504-04    G.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/19/2021   62321      $976.38
1078504-04    G.S.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           8/19/2021   72275      $572.52
1079116-02    T.K.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 2/21/2020      29875     $1,472.45
1079116-02    T.K.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 2/21/2020       29880     $3,026.24
1079116-02    T.K.        All City Family Healthcare Center, Inc.          Arthroscopy Knee W/Lysis Adhesion… 2/21/2020      29884     $1,472.45
1079116-02    T.K.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For …  2/21/2020   G0289     $1,472.45
1079116-02    T.K.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/18/2020   62321      $976.38
1079116-02    T.K.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           8/18/2020   72275      $572.52
1079116-02    T.K.          Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin…   9/4/2020   20552      $277.37
1079116-02    T.K.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/4/2020   62323      $976.38
1079116-02    T.K.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…            9/4/2020   72275      $572.52
1077876-03    F.T.              Hudson Regional Hospital                      Radiologic Exam Chest 2 Views…      7/7/2020   71046      $541.40
1077876-03    F.T.              Hudson Regional Hospital                      Comprehensive Metabolic Panel…      7/7/2020   80053      $150.00
1077876-03    F.T.              Hudson Regional Hospital                   Drug Tst Prsmv Instrmnt Chem Anal…     7/7/2020   80307      $359.15
1077876-03    F.T.              Hudson Regional Hospital                   Drug Screen Quant Amphetamines 1 …     7/7/2020   80324      $269.37
1077876-03    F.T.              Hudson Regional Hospital                     Antidepressants Serotonergic Clas…   7/7/2020   80332      $269.37
1077876-03    F.T.              Hudson Regional Hospital                     Antidepressants Tricyclic Other C…   7/7/2020   80335      $270.31
1077876-03    F.T.              Hudson Regional Hospital                        Drug Screening Barbiturates…      7/7/2020   80345      $269.37
1077876-03    F.T.              Hudson Regional Hospital                    Drug Screening Benzodiazepines 1-…    7/7/2020   80346      $269.37
1077876-03    F.T.              Hudson Regional Hospital                      Drug Screening Buprenorphine…       7/7/2020   80348      $269.37
1077876-03    F.T.              Hudson Regional Hospital                         Drug Screening Fentanyl…         7/7/2020   80354      $269.37
1077876-03    F.T.              Hudson Regional Hospital                   Drug Screening Gabapentin Non-Blo…     7/7/2020   80355      $269.37
1077876-03    F.T.              Hudson Regional Hospital                    Drug Screening Heroin Metabolite…     7/7/2020   80356      $269.37
1077876-03    F.T.              Hudson Regional Hospital                        Drug Screening Methadone…         7/7/2020   80358      $269.37
1077876-03    F.T.              Hudson Regional Hospital                   Drug Screening Methylenedioxyamph…     7/7/2020   80359      $269.37
1077876-03    F.T.              Hudson Regional Hospital                     Drug Screening Methylphenidate…      7/7/2020   80360      $269.37
1077876-03    F.T.              Hudson Regional Hospital                    Drug Screening Opiates 1 Or More…     7/7/2020   80361      $538.74

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                                                         1882
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                       Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1077876-03    F.T.              Hudson Regional Hospital                   Drug Screening Opioids And Opiate…     7/7/2020   80362      $537.74
1077876-03    F.T.              Hudson Regional Hospital                        Drug Screening Oxycodone…         7/7/2020   80365      $269.37
1077876-03    F.T.              Hudson Regional Hospital                        Drug Screening Pregabalin…        7/7/2020   80366      $269.37
1077876-03    F.T.              Hudson Regional Hospital                   Drug Screening Sedative Hypnotics…     7/7/2020   80368      $269.37
1077876-03    F.T.              Hudson Regional Hospital                   Drug Screening Skeletal Muscle Re…     7/7/2020   80369      $269.37
1077876-03    F.T.              Hudson Regional Hospital                        Drug Screening Tapentadol…        7/7/2020   80372      $269.37
1077876-03    F.T.              Hudson Regional Hospital                         Drug Screening Tramadol…         7/7/2020   80373      $269.37
1077876-03    F.T.              Hudson Regional Hospital                   Urnls Dip Stick/Tablet Reagent Au…     7/7/2020   81001      $134.00
1077876-03    F.T.              Hudson Regional Hospital                      Hemoglobin Glycosylated A1C…        7/7/2020   83036       $66.70
1077876-03    F.T.              Hudson Regional Hospital                 Blood Count Complete Auto&Auto Di… 7/7/2020         85025      $147.00
1077876-03    F.T.              Hudson Regional Hospital                             Prothrombin Time…            7/7/2020   85610      $143.00
1077876-03    F.T.              Hudson Regional Hospital                   Thromboplastin Time Partial Plasm…     7/7/2020   85730      $147.00
1077876-03    F.T.              Hudson Regional Hospital                  Antibody Screen Rbc Each Serum Te…      7/7/2020   86850      $105.80
1077876-03    F.T.              Hudson Regional Hospital                       Blood Typing Serologic Abo…        7/7/2020   86900      $498.84
1077876-03    F.T.              Hudson Regional Hospital                      Blood Typing Serologic Rh (D)…      7/7/2020   86901       $56.95
1077876-03    F.T.              Hudson Regional Hospital                   Infectious Agent Detection By Nuc…     7/7/2020   87635     $1,200.00
1077876-03    F.T.              Hudson Regional Hospital                    Iadna S Aureus Methicillin Resist…    7/7/2020   87641      $241.40
1077876-03    F.T.              Hudson Regional Hospital                   Ecg Routine Ecg W/Least 12 Lds Tr…     7/7/2020   93005      $323.70
1077876-03    F.T.              Hudson Regional Hospital                Echo Tthrc R-T 2D W/Wom-Mode Comp… 7/7/2020          93306     $5,074.90
1077876-03    F.T.            Manalapan Surgery Center Inc                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/19/2020   62321      $976.38
1077876-03    F.T.            Manalapan Surgery Center Inc                    Surgical Supply; Miscellaneous…    9/19/2020   A4649       $50.00
1077876-03    F.T.         New Horizon Surgical Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    11/7/2020   62321      $976.38
1077876-03    F.T.         New Horizon Surgical Center LLC                          Epidurograpy Rs&I…           11/7/2020   72275      $572.53
1077876-03    F.T.         New Horizon Surgical Center LLC                    Surgical Supply; Miscellaneous…    11/7/2020   A4649       $50.00
1077876-03    F.T.       Rockland & Bergen Surgery Center LLC              Arthroscopy Shoulder Surg Synovec…    1/22/2021   29821     $5,677.77
1077876-03    F.T.       Rockland & Bergen Surgery Center LLC              Arthroscopy Shoulder Surg Debride…    1/22/2021   29823     $1,472.45
1077876-03    F.T.       Rockland & Bergen Surgery Center LLC             Arthroscopy Shoulder W/Coracoacrm… 1/22/2021       29826     $1,472.45
1077876-03    F.T.       Rockland & Bergen Surgery Center LLC               Single Nerve Block Injection Arm …   1/22/2021   64415      $979.78
1077876-03    F.T.       Rockland & Bergen Surgery Center LLC             Us Guidance Needle Placement Img …     1/22/2021   76942      $341.96
1077876-03    F.T.       Rockland & Bergen Surgery Center LLC                 Surgical Supply; Miscellaneous…    1/22/2021   A4649       $50.00
1077947-08    B.D.                    SCOB LLC                             Arthroscopy Shoulder Surgical Cap…     8/4/2020   29806     $5,677.77
1077947-08    B.D.                    SCOB LLC                             Arthroscopy Shoulder Surg Synovec…     8/4/2020   29821     $2,944.87
1077947-08    B.D.                    SCOB LLC                             Arthroscopy Shoulder Surg Debride…     8/4/2020   29823     $2,944.87
1077947-08    B.D.                    SCOB LLC                              Arthroscopy Shoulder Ahesiolysis …    8/4/2020   29825     $2,944.87
1077947-08    B.D.                    SCOB LLC                            Arthroscopy Shoulder W/Coracoacrm…      8/4/2020   29826     $2,944.87
1077947-08    B.D.                    SCOB LLC                            Anchor/Screw For Opposing Bone-To…      8/4/2020   C1713      $862.00
1077947-08    B.D.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…  2/15/2021   20552      $236.69
1077947-08    B.D.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/15/2021   62321      $976.38
1077947-08    B.D.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…           2/15/2021   72275      $572.53
1077947-08    B.D.         Rockaways ASC Development LLC                  Us Guidance Needle Placement Img …     2/15/2021   76942      $341.96
1077947-08    B.D.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    2/15/2021   A4649       $50.00
1078303-01    C.S.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/18/2020   62323      $976.38
1078303-01    C.S.       All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 12/10/2020      29875      $175.47
1078303-01    C.S.       All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 12/10/2020      29875     $1,472.45
1078303-01    C.S.       All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 12/10/2020       29880      $264.43
1078303-01    C.S.       All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 12/10/2020       29880     $3,026.24
1078303-01    C.S.       All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…   12/10/2020   A4649       $72.00
1078303-01    C.S.       All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…   2/22/2021   22526     $2,605.78
1078303-01    C.S.       All City Family Healthcare Center, Inc.          Dcmprn Perq Nucleus Pulposus 1/> …     2/22/2021   62287     $5,292.93
1078303-01    C.S.       All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…    2/22/2021   A4649       $72.00
1078303-01    C.S.       All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…   3/15/2021   22526     $2,605.78
1078303-01    C.S.       All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic… 3/15/2021       63075     $5,292.93
1078303-01    C.S.       All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…    3/15/2021   A4649       $72.00
1078303-02    N.S.          Island Ambulatory Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    10/6/2020   62323      $976.38
1078303-02    N.S.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           10/6/2020   72275      $572.52
1078303-02    N.S.       All City Family Healthcare Center, Inc.           Tenotomy Shoulder Area 1 Tendon…      12/3/2020   23405     $1,839.77
1078303-02    N.S.       All City Family Healthcare Center, Inc.           Tenotomy Shoulder Area 1 Tendon…      12/3/2020   23405      $141.25
1078303-02    N.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    12/3/2020   29821      $190.42
1078303-02    N.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    12/3/2020   29821     $5,677.77
1078303-02    N.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    12/3/2020   29823      $200.95
1078303-02    N.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    12/3/2020   29823     $1,472.45
1078303-02    N.S.       All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …   12/3/2020   29825      $202.51
1078303-02    N.S.       All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …   12/3/2020   29825     $1,472.45
1078303-02    N.S.       All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …   12/3/2020   64415      $979.78
1078303-02    N.S.       All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     12/3/2020   76942      $341.96
1078303-02    N.S.       All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…    12/3/2020   A4649       $72.00
1078303-02    N.S.         Rockaways ASC Development LLC                    Perq Intrdscl Electrothrm Annulop…   1/26/2021   22526     $2,605.78
1078303-02    N.S.         Rockaways ASC Development LLC                  Dcmprn Perq Nucleus Pulposus 1/> …     1/26/2021   62287     $5,292.93

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                                                          1883
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1078303-02    N.S.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    1/26/2021   A4649       $50.00
1078303-02    N.S.        All City Family Healthcare Center, Inc.            Injection Single/Mlt Trigger Poin…  3/11/2021   20552      $236.69
1078303-02    N.S.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/11/2021   62321      $976.38
1078303-02    N.S.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…          3/11/2021   72275      $572.53
1078303-02    N.S.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    3/11/2021   76942      $341.96
1078303-02    N.S.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…    3/11/2021   A4649       $72.00
1078303-02    N.S.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…  3/18/2021   22526     $2,605.78
1078303-02    N.S.         Rockaways ASC Development LLC                   Discectomy Ant Dcmprn Cord Cervic… 3/18/2021      63075     $5,292.93
1078303-02    N.S.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…   3/18/2021   87635       $51.33
1078303-02    N.S.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    3/18/2021   A4649       $50.00
1078167-01    M.S.         Rockaways ASC Development LLC                    Manipulation Spine Requiring Anes…   7/11/2020   22505      $748.08
1078167-01    M.S.         Rockaways ASC Development LLC                    Manipulation Spine Requiring Anes…   7/11/2020   22505      $748.08
1078167-01    M.S.         Rockaways ASC Development LLC                    Manipulation Spine Requiring Anes…   7/11/2020   22505     $1,577.52
1078167-01    M.S.         Rockaways ASC Development LLC                    Manipulation Knee Joint Under Gen…   7/11/2020   27570      $748.08
1078167-01    M.S.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    7/11/2020   A4649       $50.00
1078167-01    M.S.         Rockaways ASC Development LLC                    Manipulation Spine Requiring Anes…   7/12/2020   22505      $748.08
1078167-01    M.S.         Rockaways ASC Development LLC                    Manipulation Spine Requiring Anes…   7/12/2020   22505     $1,577.52
1078167-01    M.S.         Rockaways ASC Development LLC                    Manipulation Spine Requiring Anes…   7/12/2020   22505      $748.08
1078167-01    M.S.         Rockaways ASC Development LLC                    Manipulation Knee Joint Under Gen…   7/12/2020   27570      $748.08
1078167-01    M.S.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    7/12/2020   A4649       $50.00
1078167-01    M.S.         Rockaways ASC Development LLC                    Manipulation Spine Requiring Anes…   7/18/2020   22505      $748.08
1078167-01    M.S.         Rockaways ASC Development LLC                    Manipulation Spine Requiring Anes…   7/18/2020   22505      $748.08
1078167-01    M.S.         Rockaways ASC Development LLC                    Manipulation Spine Requiring Anes…   7/18/2020   22505     $1,577.52
1078167-01    M.S.         Rockaways ASC Development LLC                    Manipulation Knee Joint Under Gen…   7/18/2020   27570      $748.08
1078167-01    M.S.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    7/18/2020   A4649       $50.00
1078167-01    M.S.                     SCOB LLC                              Injection Single/Mlt Trigger Poin… 11/16/2020   20553      $473.39
1078167-01    M.S.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/16/2020   62323      $976.38
1078167-01    M.S.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…   3/1/2022   22526     $2,646.46
1078167-01    M.S.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…   3/1/2022   22527     $2,646.46
1078167-01    M.S.          Island Ambulatory Surgery Center                Dcmprn Perq Nucleus Pulposus 1/> …    3/1/2022   62287     $5,292.93
1078167-01    M.S.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…     3/1/2022   E0650      $531.06
1078167-01    M.S.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     3/1/2022   E0666       $89.56
1077803-04    V.J.          New Horizon Surgical Center LLC                  Injection Single/Mlt Trigger Poin…   3/5/2020   20553      $236.69
1077803-04    V.J.          New Horizon Surgical Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/5/2020   62321      $976.38
1077803-04    V.J.          New Horizon Surgical Center LLC                  Injection Anesthetic Agent Greate…   3/5/2020   64405      $373.98
1077803-04    V.J.          New Horizon Surgical Center LLC                  Injection Anesthetic Agent Greate…   3/5/2020   64405      $373.98
1077803-04    V.J.          New Horizon Surgical Center LLC                  Injection Anesthetic Agent Greate…   3/5/2020   64405      $373.98
1077803-04    V.J.          New Horizon Surgical Center LLC                  Injection Anes Other Peripheral N…   3/5/2020   64450      $373.98
1077803-04    V.J.          New Horizon Surgical Center LLC                          Epidurograpy Rs&I…           3/5/2020   72275      $572.53
1077803-04    V.J.                     SCOB LLC                             Arthroscopy Shoulder Surg Debride…   6/23/2020   29823     $3,026.24
1077803-04    V.J.                     SCOB LLC                             Arthroscopy Shoulder Ahesiolysis …   6/23/2020   29825     $2,944.87
1077803-04    V.J.                     SCOB LLC                            Arthroscopy Shoulder W/Coracoacrm… 6/23/2020      29826     $2,944.87
1079377-02    M.C.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…  4/14/2021   22526     $2,646.47
1079377-02    M.C.          Island Ambulatory Surgery Center               Discectomy Ant Dcmprn Cord Cervic… 4/14/2021      63075     $5,292.93
1079377-02    M.C.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 4/14/2021      E0650      $531.06
1079377-02    M.C.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    4/14/2021   E0666       $89.56
1079377-02    M.C.          New Horizon Surgical Center LLC                Arthroscopy Knee Synovectomy Limi… 5/12/2021      29875     $1,472.45
1079377-02    M.C.          New Horizon Surgical Center LLC               Arthrs Knee W/Meniscectomy Med&La… 5/12/2021       29880     $3,026.24
1079377-02    M.C.          New Horizon Surgical Center LLC                Arthroscopy Knee W/Lysis Adhesion… 5/12/2021      29884     $1,472.45
1079377-02    M.C.          New Horizon Surgical Center LLC                 Injection Anesthetic Agent Femora…   5/12/2021   64447      $829.30
1079377-02    M.C.          New Horizon Surgical Center LLC                Us Guidance Needle Placement Img …    5/12/2021   76942      $341.96
1079377-02    M.C.          New Horizon Surgical Center LLC                   Surgical Supply; Miscellaneous…    5/12/2021   A4649       $50.00
1079377-02    M.C.                   Good Medica Inc                        Cane, Quad Or Three-Prong, Includ…   5/12/2021   E0105       $18.75
1079377-02    M.C.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 5/12/2021      E0650      $531.06
1079377-02    M.C.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    5/12/2021   E0666       $89.56
1079377-02    M.C.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…  4/19/2022   22526     $2,646.46
1079377-02    M.C.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…  4/19/2022   22527     $2,646.46
1079377-02    M.C.          Island Ambulatory Surgery Center                Dcmprn Perq Nucleus Pulposus 1/> …   4/19/2022   62287     $5,292.93
1079377-02    M.C.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 4/19/2022      E0650      $531.06
1079377-02    M.C.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    4/19/2022   E0666       $89.56
1079377-02    M.C.                Hudson Surgery Center                      Njx Dx/Ther Agt Pvrt Facet Jt Crv…  6/10/2022   64490     $1,952.76
1079377-02    M.C.                Hudson Surgery Center                      Njx Dx/Ther Agt Pvrt Facet Jt Crv…  6/10/2022   64491      $976.38
1079377-02    M.C.                Hudson Surgery Center                      Njx Dx/Ther Agt Pvrt Facet Jt Crv…  6/10/2022   64492      $976.38
1079377-02    M.C.                Hudson Surgery Center                      Dstr Nrolytc Agnt Parverteb Fct S…   9/7/2022   64633      $980.10
1079377-02    M.C.                Hudson Surgery Center                      Dstr Nrolytc Agnt Parverteb Fct A…   9/7/2022   64634      $490.05
1079377-02    M.C.                Hudson Surgery Center                      Dstr Nrolytc Agnt Parverteb Fct A…   9/7/2022   64634      $490.05
1079377-02    M.C.                Hudson Surgery Center                     Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  11/21/2022   62321      $980.10
1079377-02    M.C.                Hudson Surgery Center                      Dstr Nrolytc Agnt Parverteb Fct S…  2/19/2024   64633      $416.51

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                                                           1884
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1079377-02    M.C.                  Hudson Surgery Center                 Dstr Nrolytc Agnt Parverteb Fct S…  2/19/2024   64633      $983.52
1076771-01    M.S.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…   6/24/2021   29821     $5,677.77
1076771-01    M.S.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…   6/24/2021   29823     $1,472.45
1076771-01    M.S.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …   6/24/2021   29825     $1,472.45
1076771-01    M.S.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …   6/24/2021   64415      $979.78
1076771-01    M.S.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …    6/24/2021   76942      $341.96
1076771-01    M.S.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    6/24/2021   A4649       $50.00
1076771-01    M.S.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 6/24/2021      E0650      $531.06
1076771-01    M.S.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    6/24/2021   E0666       $89.56
1077323-01    G.V.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C…     4/1/2021   29876     $1,472.45
1077323-01    G.V.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 4/1/2021        29880     $3,026.24
1077323-01    G.V.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     4/1/2021   A4649       $50.00
1077323-01    G.V.               Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …   4/1/2021   G0289     $1,472.45
1077323-01    G.V.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…   4/1/2021   L8699      $195.00
1077323-01    G.V.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…     4/1/2021   E0650      $531.06
1077323-01    G.V.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     4/1/2021   E0666       $89.56
1076330-01    A.S.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Synovec…   2/22/2020   29821     $5,677.77
1076330-01    A.S.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…   2/22/2020   29823     $1,472.45
1076330-01    A.S.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …   2/22/2020   29825     $1,472.45
1076330-01    A.S.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 2/22/2020      29826     $1,472.45
1076330-01    A.S.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …   2/22/2020   64415      $979.78
1076330-01    A.S.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …    2/22/2020   76942      $341.96
1076330-01    A.S.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 5/11/2021      E0650      $531.06
1076330-01    A.S.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    5/11/2021   E0666       $89.56
1076330-01    A.S.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…  5/12/2021   22526     $2,646.47
1076330-01    A.S.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…  5/12/2021   22527     $2,646.47
1076330-01    A.S.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …   5/12/2021   62287     $5,292.93
1076330-01    A.S.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…  9/15/2021   22526     $2,646.46
1076330-01    A.S.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …   9/15/2021   62287     $5,292.93
1076330-01    A.S.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 9/15/2021      E0650      $531.06
1076330-01    A.S.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    9/15/2021   E0666       $89.56
1076505-01    D.E.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…  8/14/2020   22526     $2,605.78
1076505-01    D.E.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…  8/14/2020   22527     $2,605.78
1076505-01    D.E.               Surgicore of Jersey City LLC            Dcmprn Perq Nucleus Pulposus 1/> …   8/14/2020   62287     $5,292.93
1076505-01    D.E.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    8/14/2020   A4649       $50.00
1076505-01    D.E.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…  6/18/2022   22526     $5,292.93
1076505-01    D.E.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…  6/18/2022   22527     $2,605.78
1076505-01    D.E.               Surgicore of Jersey City LLC            Unlisted Procedure Nervous System…   6/18/2022   64999      $747.93
1076505-01    D.E.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…  6/18/2022   L8699     $1,495.00
1076505-01    D.E.                  Hudson Surgery Center                 Injection Single/Mlt Trigger Poin…  7/19/2023   20553      $279.23
1076505-01    D.E.                  Hudson Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   7/19/2023   62323      $980.10
1076505-01    D.E.                  Hudson Surgery Center                 Injection Single/Mlt Trigger Poin…  9/19/2023   20553      $279.23
1076505-01    D.E.                  Hudson Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/19/2023   62323      $980.10
1077147-01    K.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Elbow Surgical Debrid…     8/24/2020   29838     $3,026.24
1077147-01    K.H.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …   8/24/2020   64415      $979.78
1077147-01    K.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …     8/24/2020   76942      $341.96
1077147-01    K.H.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    8/24/2020   A4649       $50.00
1077147-01    K.H.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/28/2020   62321      $976.38
1077147-01    K.H.     NYEEQASC LLC d/b/a North Queens Surgical Center           Epidurograpy Rs&I…           8/28/2020   72275      $572.53
1077147-01    K.H.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    8/28/2020   A4649       $50.00
1077147-01    K.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Synovectomy Extensor Tendon Shth …     5/28/2021   25118     $3,290.01
1077147-01    K.H.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    5/28/2021   A4649       $50.00
1077147-01    K.H.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 5/28/2021      E0650      $531.06
1077147-01    K.H.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    5/28/2021   E0666       $89.56
1077147-01    K.H.                     Good Medica Inc                   So, Acromio/Clavicular (Canvas An…   5/28/2021   L3670      $111.07
1077707-01    K.F.                       SCOB LLC                         Injection Single/Mlt Trigger Poin…  2/12/2020   20553      $473.39
1077707-01    K.F.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/12/2020   62323      $829.30
1077707-01    K.F.                Bergenfield Surgical Center            Dcmprn Perq Nucleus Pulposus 1/> …    3/4/2020   62287     $5,827.42
1077707-01    K.F.                Bergenfield Surgical Center                       Surgical Trays…            3/4/2020   A4550      $750.00
1077707-01    K.F.            Fifth Avenue Surgery Center LLC             Arthrocentesis Aspir&/Inj Major J…  3/17/2020   20610      $473.39
1077707-01    K.F.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…   3/17/2020   29821     $5,677.77
1077707-01    K.F.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…   3/17/2020   29823     $1,472.45
1077707-01    K.F.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …   3/17/2020   29825     $1,472.45
1077707-01    K.F.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …   3/17/2020   64415      $979.78
1077707-01    K.F.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …    3/17/2020   76942      $341.96
1077130-01    P.G.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 12/29/2020     29876     $1,472.45
1077130-01    P.G.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 12/29/2020      29880     $3,026.24
1077130-01    P.G.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…   12/29/2020   A4649       $50.00

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                                                           1885
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1077130-01    P.G.               Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …  12/29/2020   G0289     $1,472.45
1077130-01    P.G.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…  12/29/2020   L8699      $195.00
1077130-01    P.G.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…    3/11/2021   29821     $5,677.77
1077130-01    P.G.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…    3/11/2021   29823     $1,472.45
1077130-01    P.G.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …    3/11/2021   29825     $1,472.45
1077130-01    P.G.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …    3/11/2021   64415      $979.78
1077130-01    P.G.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …     3/11/2021   76942      $341.96
1077130-01    P.G.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…    3/11/2021   A4649       $50.00
1077130-01    P.G.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…   3/11/2021   L8699      $185.00
1077130-01    P.G.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 3/11/2021       E0650      $531.06
1077130-01    P.G.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     3/11/2021   E0666       $89.56
1078054-01    F.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Synovec…     2/6/2020   29821     $5,677.77
1078054-01    F.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…     2/6/2020   29823     $1,472.45
1078054-01    F.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …     2/6/2020   29825     $1,472.45
1078054-01    F.C.          All City Family Healthcare Center, Inc.         Unlisted Procedure Arthroscopy…     2/6/2020   29999     $1,472.45
1078054-01    F.C.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …     2/6/2020   64415      $979.78
1078054-01    F.C.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …      2/6/2020   76942      $341.96
1078054-01    F.C.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 2/13/2020       29875     $1,472.45
1078054-01    F.C.          All City Family Healthcare Center, Inc.      Arthrs Knee Abrasion Arthrp/Mlt D…    2/13/2020   29879     $1,472.45
1078054-01    F.C.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 2/13/2020        29880     $3,026.24
1078054-01    F.C.          All City Family Healthcare Center, Inc.         Unlisted Procedure Arthroscopy…    2/13/2020   29999     $1,472.45
1078054-01    F.C.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical, For …   2/13/2020   G0289     $1,472.45
1078054-01    F.C.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/30/2020   62321      $976.38
1078054-01    F.C.            Island Ambulatory Surgery Center                    Epidurograpy Rs&I…           4/30/2020   72275      $572.52
1078054-01    F.C.            Island Ambulatory Surgery Center           Njx Pltlt Plasma W/Img Harvest/Pr…    5/15/2020   0232T      $957.28
1078054-01    F.C.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 2/13/2021       29875     $1,472.45
1078054-01    F.C.          All City Family Healthcare Center, Inc.      Arthrs Knee Abrasion Arthrp/Mlt D…    2/13/2021   29879     $1,472.45
1078054-01    F.C.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 2/13/2021        29880     $3,026.24
1078054-01    F.C.          All City Family Healthcare Center, Inc.         Unlisted Procedure Arthroscopy…    2/13/2021   29999     $1,472.45
1078054-01    F.C.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical, For …   2/13/2021   G0289     $1,472.45
1078425-02    B.A.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…   7/13/2020   20610      $473.39
1078425-02    B.A.                       SCOB LLC                       Arthroscopy Knee Synovectomy 2/>C… 7/13/2020       29876     $2,944.87
1078425-02    B.A.                       SCOB LLC                        Arthrs Knee Abrasion Arthrp/Mlt D…    7/13/2020   29879     $3,026.24
1078425-02    B.A.                       SCOB LLC                      Arthrs Knee W/Meniscectomy Med&La… 7/13/2020        29880     $2,944.87
1078425-02    B.A.                       SCOB LLC                       Arthroscopy Knee W/Lysis Adhesion… 7/13/2020       29884     $2,944.87
1078425-02    B.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…   8/25/2020   20553      $236.69
1078425-02    B.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/25/2020   62321      $976.38
1078425-02    B.A.     NYEEQASC LLC d/b/a North Queens Surgical Center            Epidurograpy Rs&I…           8/25/2020   72275      $572.53
1078425-02    B.A.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…    8/25/2020   A4649       $50.00
1078425-03    Y.J.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…   8/25/2020   20553      $236.69
1078425-03    Y.J.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/25/2020   62321      $976.38
1078425-03    Y.J.     NYEEQASC LLC d/b/a North Queens Surgical Center            Epidurograpy Rs&I…           8/25/2020   72275      $572.53
1078425-03    Y.J.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…    8/25/2020   A4649       $50.00
1078425-03    Y.J.                       SCOB LLC                         Arthrocentesis Aspir&/Inj Major J…   8/31/2020   20610      $473.39
1078425-03    Y.J.                       SCOB LLC                       Arthroscopy Knee Synovectomy 2/>C… 8/31/2020       29876     $3,026.24
1078425-03    Y.J.                       SCOB LLC                      Arthrs Knee W/Meniscectomy Med&La… 8/31/2020        29880     $2,944.87
1078425-03    Y.J.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…    9/1/2020   20553      $236.69
1078425-03    Y.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       9/1/2020   62323      $976.38
1078425-03    Y.J.     NYEEQASC LLC d/b/a North Queens Surgical Center            Epidurograpy Rs&I…            9/1/2020   72275      $572.53
1078425-03    Y.J.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…     9/1/2020   A4649       $50.00
1076224-04    L.A.         Health East Ambulatory Surgical Center       Arthroscopy Knee Synovectomy 2/>C… 7/15/2020       29876     $1,998.86
1076224-04    L.A.         Health East Ambulatory Surgical Center      Arthrs Knee W/Meniscectomy Med&La… 7/15/2020        29880     $3,997.71
1076224-04    L.A.         Health East Ambulatory Surgical Center          Injection Anesthetic Agent Sciati…  7/15/2020   64445     $1,000.00
1076224-04    L.A.         Health East Ambulatory Surgical Center          Injection Anesthetic Agent Sciati…  7/15/2020   64445     $1,000.00
1076224-04    L.A.               Surgicore of Jersey City LLC            Dcmprn Perq Nucleus Pulposus 1/> …     4/2/2021   62287     $5,292.93
1076224-04    L.A.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     4/2/2021   A4649       $50.00
1076224-04    L.A.               Surgicore of Jersey City LLC             Prosthetic Implant, Not Otherwise…    4/2/2021   L8699     $1,495.00
1076224-04    L.A.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      4/2/2021   E0650      $531.06
1076224-04    L.A.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …      4/2/2021   E0666       $89.56
1078194-01    E.G.          All City Family Healthcare Center, Inc.      Tenotomy Shoulder Area 1 Tendon…      2/20/2020   23405     $1,839.77
1078194-01    E.G.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Synovec…    2/20/2020   29821     $5,677.77
1078194-01    E.G.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…    2/20/2020   29823     $1,472.45
1078194-01    E.G.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …    2/20/2020   64415      $979.78
1078194-01    E.G.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     2/20/2020   76942      $341.96
1078194-01    E.G.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…    8/3/2023   22526     $2,648.32
1078194-01    E.G.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …     8/3/2023   62287     $5,296.65
1077926-02    C.R.            Island Ambulatory Surgery Center           Arthroscopy Shoulder Surg Synovec…    10/7/2020   29821     $5,677.78
1077926-02    C.R.            Island Ambulatory Surgery Center           Arthroscopy Shoulder Surg Debride…    10/7/2020   29823     $3,026.23

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                                                           1886
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                         Date of     Billing   Amount
                                         Provider                                    Service
 Number      Person                                                                                          Service     Code       Billed
1077926-02    C.R.             Island Ambulatory Surgery Center         Arthroscopy Shoulder W/Coracoacrm… 10/7/2020     29826     $1,513.12
1077926-02    C.R.          Rockland & Bergen Surgery Center LLC        Arthroscopy Knee Synovectomy Limi… 3/10/2021     29875     $1,472.45
1077926-02    C.R.          Rockland & Bergen Surgery Center LLC       Arthrs Kne Surg W/Meniscectomy Me… 3/10/2021      29881     $3,026.24
1077926-02    C.R.          Rockland & Bergen Surgery Center LLC         Infectious Agent Detection By Nuc…  3/10/2021   87635       $51.33
1077926-02    C.R.          Rockland & Bergen Surgery Center LLC           Surgical Supply; Miscellaneous…   3/10/2021   A4649       $50.00
1077926-02    C.R.          Rockland & Bergen Surgery Center LLC          Arthroscopy, Knee, Surgical, For … 3/10/2021   G0289     $1,472.45
1076992-02    J.C.             Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…  6/8/2021   20610      $473.39
1076992-02    J.C.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…   6/8/2021   29821     $5,677.77
1076992-02    J.C.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…   6/8/2021   29823     $1,472.45
1076992-02    J.C.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Ahesiolysis …   6/8/2021   29825     $1,472.45
1076992-02    J.C.             Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …   6/8/2021   64415      $979.78
1076992-02    J.C.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …    6/8/2021   76942      $341.96
1076992-02    J.C.             Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…    6/8/2021   A4649       $50.00
1076992-02    J.C.                      Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…    6/8/2021   e0650      $531.06
1076992-02    J.C.                      Good Medica Inc                 Nonsegmental Pneumatic Appliance …    6/8/2021   e0666       $89.56
1077927-02    S.W.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…   7/3/2020   29821     $2,798.20
1077927-02    S.W.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…   7/3/2020   29823     $1,472.45
1077927-02    S.W.             Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder W/Coracoacrm…    7/3/2020   29826     $1,472.45
1077927-02    S.W.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Rotator Cuff…   7/3/2020   29827     $5,677.77
1077927-02    S.W.             Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …   7/3/2020   64415      $979.78
1077927-02    S.W.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …    7/3/2020   76942      $341.96
1077927-02    S.W.             Fifth Avenue Surgery Center LLC             Surgical Supply; Miscellaneous…    7/3/2020   A4649       $50.00
1077927-02    S.W.                Surgicore of Jersey City LLC          Arthroscopy Knee Synovectomy 2/>C…    8/4/2021   29876     $1,472.45
1077927-02    S.W.                Surgicore of Jersey City LLC           Arthrs Knee Abrasion Arthrp/Mlt D…   8/4/2021   29879     $1,472.45
1077927-02    S.W.                Surgicore of Jersey City LLC         Arthrs Knee W/Meniscectomy Med&La… 8/4/2021       29880     $3,026.24
1077927-02    S.W.                Surgicore of Jersey City LLC             Unlisted Procedure Arthroscopy…    8/4/2021   29999     $1,472.45
1077927-02    S.W.                Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    8/4/2021   A4649       $50.00
1077927-02    S.W.                Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical, For …  8/4/2021   G0289     $1,472.45
1077927-02    S.W.                Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…  8/4/2021   L8699      $125.00
1077927-02    S.W.                      Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…    8/4/2021   E0650      $531.06
1077927-02    S.W.                      Good Medica Inc                 Nonsegmental Pneumatic Appliance …    8/4/2021   E0666       $89.56
1075988-01    C.H.             New Horizon Surgical Center LLC           Arthroscopy Shoulder Surgical Rem…  7/16/2021   29819     $1,472.45
1075988-01    C.H.             New Horizon Surgical Center LLC           Arthroscopy Shoulder Surg Debride…  7/16/2021   29823     $3,026.24
1075988-01    C.H.             New Horizon Surgical Center LLC           Arthroscopy Shoulder Distal Clavi…  7/16/2021   29824     $1,472.45
1075988-01    C.H.             New Horizon Surgical Center LLC          Arthroscopy Shoulder W/Coracoacrm… 7/16/2021     29826     $1,472.45
1075988-01    C.H.             New Horizon Surgical Center LLC           Single Nerve Block Injection Arm …  7/16/2021   64415      $979.78
1075988-01    C.H.             New Horizon Surgical Center LLC          Us Guidance Needle Placement Img …   7/16/2021   76942      $341.96
1075988-01    C.H.             New Horizon Surgical Center LLC             Surgical Supply; Miscellaneous…   7/16/2021   A4649       $50.00
1075988-01    C.H.                      Good Medica Inc                 Pneumatic Compressor, Nonsegmenta… 7/16/2021     E0650      $531.06
1075988-01    C.H.                      Good Medica Inc                 Nonsegmental Pneumatic Appliance …   7/16/2021   E0666       $89.56
1076144-02    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…    2/10/2020   29821     $5,677.77
1076144-02    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…    2/10/2020   29823     $1,472.45
1076144-02    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 2/10/2020      29826     $1,472.45
1076144-02    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …  2/10/2020   64415      $979.78
1076144-02    A.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …    2/10/2020   76942      $341.96
1076144-02    A.G.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  5/27/2020   62321      $976.38
1076144-02    A.G.             Island Ambulatory Surgery Center                  Epidurograpy Rs&I…          5/27/2020   72275      $572.52
1077879-01    R.P.                        SCOB LLC                        Arthrocentesis Aspir&/Inj Major J… 6/10/2020   20610      $473.39
1077879-01    R.P.                        SCOB LLC                      Arthroscopy Knee Synovectomy 2/>C… 6/10/2020     29876     $3,026.24
1077879-01    R.P.                        SCOB LLC                     Arthrs Knee W/Meniscectomy Med&La… 6/10/2020      29880     $2,944.87
1077879-01    R.P.                Surgicore of Jersey City LLC          Arthroscopy Knee Synovectomy Limi… 10/5/2020     29875     $1,472.45
1077879-01    R.P.                Surgicore of Jersey City LLC           Arthrs Knee Abrasion Arthrp/Mlt D…  10/5/2020   29879     $1,472.45
1077879-01    R.P.                Surgicore of Jersey City LLC         Arthrs Knee W/Meniscectomy Med&La… 10/5/2020      29880     $3,026.24
1077879-01    R.P.                Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…   10/5/2020   A4649       $50.00
1077879-01    R.P.                Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical, For … 10/5/2020   G0289     $1,472.45
1077879-01    R.P.                Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise… 10/5/2020   L8699      $285.00
1075389-01    V.L.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  9/22/2020   62321      $976.38
1075389-01    V.L.             Island Ambulatory Surgery Center                  Epidurograpy Rs&I…          9/22/2020   72275      $572.52
1075389-01    V.L.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy Shoulder Surg Synovec…  9/30/2020   29821     $5,677.77
1075389-01    V.L.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy Shoulder Surg Debride…  9/30/2020   29823     $1,472.45
1075389-01    V.L.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy Shoulder Ahesiolysis …  9/30/2020   29825     $1,472.45
1075389-01    V.L.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy Shoulder W/Coracoacrm… 9/30/2020     29826     $1,472.45
1075389-01    V.L.       Surgicore LLC d/b/a Surgicore Surgical Center   Single Nerve Block Injection Arm …  9/30/2020   64415      $979.78
1075389-01    V.L.       Surgicore LLC d/b/a Surgicore Surgical Center  Us Guidance Needle Placement Img …   9/30/2020   76942      $341.96
1075389-01    V.L.       Surgicore LLC d/b/a Surgicore Surgical Center     Surgical Supply; Miscellaneous…   9/30/2020   A4649       $50.00
1075389-01    V.L.             Island Ambulatory Surgery Center        Perc Lamino-/Laminectomy Image Gu… 12/16/2020     0274T     $5,292.93
1076533-03    K.V.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Synovec…   2/6/2020   29821     $5,677.77
1076533-03    K.V.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…   2/6/2020   29823     $1,472.45

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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1076533-03    K.V.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …    2/6/2020   29825      $1,472.45
1076533-03    K.V.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…     2/6/2020   29999      $1,472.45
1076533-03    K.V.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…     2/6/2020   29999      $1,472.45
1076533-03    K.V.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …    2/6/2020   64415       $979.78
1076533-03    K.V.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     2/6/2020   76942       $341.96
1076533-03    K.V.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/20/2020   62323       $976.38
1076533-03    K.V.             Island Ambulatory Surgery Center                  Epidurograpy Rs&I…           5/20/2020   72275       $572.52
1077506-01    J.M.                        SCOB LLC                        Injection Single/Mlt Trigger Poin…  8/14/2020   20553       $473.39
1077506-01    J.M.                        SCOB LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/14/2020   62321       $829.30
1077506-01    J.M.                        SCOB LLC                               Epidurograpy Rs&I…           8/14/2020   72275       $572.53
1077506-01    J.M.                        SCOB LLC                        Injection Single/Mlt Trigger Poin…  9/11/2020   20553       $473.39
1077506-01    J.M.                        SCOB LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/11/2020   62323       $829.30
1077506-01    J.M.                        SCOB LLC                        Injection Single/Mlt Trigger Poin… 10/16/2020   20553       $473.39
1077506-01    J.M.                        SCOB LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/16/2020   62321       $976.38
1077506-01    J.M.            Rockaways ASC Development LLC              Perq Intrdscl Electrothrm Annulop…  11/23/2020   22526      $2,605.78
1077506-01    J.M.            Rockaways ASC Development LLC             Dcmprn Perq Nucleus Pulposus 1/> … 11/23/2020     62287      $5,292.93
1077506-01    J.M.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…   11/23/2020   A4649        $50.00
1075467-02    T.I.          Rockland & Bergen Surgery Center LLC        Simple Repair Scalp/Neck/Ax/Genit…    6/23/2020   12001       $369.86
1075467-02    T.I.          Rockland & Bergen Surgery Center LLC         Arthroscopy Shoulder Surg Debride…   6/23/2020   29822      $3,026.24
1075467-02    T.I.          Rockland & Bergen Surgery Center LLC         Arthroscopy Shoulder Ahesiolysis …   6/23/2020   29825      $1,472.45
1075467-02    T.I.          Rockland & Bergen Surgery Center LLC         Single Nerve Block Injection Arm …   6/23/2020   64415       $979.78
1075467-02    T.I.          Rockland & Bergen Surgery Center LLC        Us Guidance Needle Placement Img …    6/23/2020   76942       $341.96
1075467-02    T.I.          Rockland & Bergen Surgery Center LLC           Surgical Supply; Miscellaneous…    6/23/2020   A4649        $50.00
1075467-02    T.I.             Island Ambulatory Surgery Center         Arthroscopy Knee Synovectomy 2/>C… 10/13/2020     29876      $1,513.12
1075467-02    T.I.             Island Ambulatory Surgery Center        Arthrs Knee W/Meniscectomy Med&La… 10/13/2020      29880      $3,026.23
1075467-02    T.I.             Island Ambulatory Surgery Center         Arthroscopy Knee W/Lysis Adhesion… 10/13/2020     29884      $1,513.12
1075467-02    T.I.             Island Ambulatory Surgery Center            Unlisted Procedure Arthroscopy…   10/13/2020   29999      $1,513.12
1075647-01    M.K.          Health East Ambulatory Surgical Center       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/25/2020   62321      $1,012.32
1075647-01    M.K.          Health East Ambulatory Surgical Center               Epidurograpy Rs&I…           2/25/2020   72275       $422.68
1075647-01    M.K.          Health East Ambulatory Surgical Center       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/9/2020   62323      $1,012.32
1075647-01    M.K.          Health East Ambulatory Surgical Center               Epidurograpy Rs&I…            3/9/2020   72275       $422.68
1075647-01    M.K.                Surgicore of Jersey City LLC          Arthroscopy Knee Synovectomy 2/>C… 6/19/2020      29876      $3,026.24
1075647-01    M.K.                Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    6/19/2020   A4649        $50.00
1075647-01    M.K.                Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical, For …  6/19/2020   G0289      $1,472.45
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…   2/3/2020   20553       $236.69
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/3/2020   62321       $976.38
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center           Epidurograpy Rs&I…            2/3/2020   72275       $572.53
1075744-01    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Discectomy Ant Dcmprn Cord Cervic… 2/29/2020      63075      $5,292.93
1075744-01    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Discectomy Ant Dcmprn Cord Cervic… 2/29/2020      63076      $2,605.78
1075744-01    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center   Fluor Needle/Cath Spine/Paraspina…   2/29/2020   77003       $572.53
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…   3/9/2020   20553       $236.69
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      3/9/2020   62323       $976.38
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center           Epidurograpy Rs&I…            3/9/2020   72275       $572.53
1075744-01    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center    Injection Single/Mlt Trigger Poin…  7/11/2020   20553       $236.70
1075744-01    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Dcmprn Perq Nucleus Pulposus 1/> …    7/11/2020   62287      $5,292.93
1075744-01    M.C.       Surgicore LLC d/b/a Surgicore Surgical Center     Surgical Supply; Miscellaneous…    7/11/2020   A4649        $50.00
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…  8/11/2020   20553       $236.70
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Anes&/Strd W/Img Tfrml Edrl L… 8/11/2020       64483       $447.52
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Anes&/Strd W/Img Tfrml Edrl L… 8/11/2020       64483       $976.38
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Anes&/Strd W/Img Tfrml Edrl L… 8/11/2020       64484       $447.52
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Anes&/Strd W/Img Tfrml Edrl L… 8/11/2020       64484       $447.52
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    8/11/2020   A4649        $50.00
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/6/2020   64493       $447.52
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/6/2020   64493       $976.38
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/6/2020   64494       $447.52
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/6/2020   64494       $447.52
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/6/2020   64495       $447.52
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/6/2020   64495       $447.52
1075744-01    M.C.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    10/6/2020   A4649        $50.00
1075744-01    M.C.            New York Surgery Center of Queens         Arthroscopy Shoulder Surg Synovec…    2/11/2021   29820      $1,472.45
1075744-01    M.C.            New York Surgery Center of Queens          Arthroscopy Shoulder Surg Debride…   2/11/2021   29823      $2,798.26
1075744-01    M.C.            New York Surgery Center of Queens          Arthroscopy Shoulder Distal Clavi…   2/11/2021   29824      $1,472.45
1075744-01    M.C.            New York Surgery Center of Queens         Arthroscopy Shoulder W/Coracoacrm… 2/11/2021      29826      $1,472.45
1075744-01    M.C.            New York Surgery Center of Queens         Arthroscopy Shoulder Biceps Tenod…    2/11/2021   29828      $5,677.77
1076314-01    P.A.                 Hudson Regional Hospital              Myocardial Spect Single Study At …   8/12/2021   78451      $8,008.84
1076314-01    P.A.                 Hudson Regional Hospital              Myocardial Spect Multiple Studies…   8/12/2021   78452     $13,702.00
1076314-01    P.A.                 Hudson Regional Hospital                Comprehensive Metabolic Panel…     8/12/2021   80053       $150.00
1076314-01    P.A.                 Hudson Regional Hospital             Drug Tst Prsmv Instrmnt Chem Anal…    8/12/2021   80307       $359.15

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                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                      Date of    Billing   Amount
                                      Provider                                   Service
 Number      Person                                                                                       Service    Code       Billed
1076314-01    P.A.             Hudson Regional Hospital              Urnls Dip Stick/Tablet Reagent Au…  8/12/2021   81001      $134.00
1076314-01    P.A.             Hudson Regional Hospital                Hemoglobin Glycosylated A1C…      8/12/2021   83036       $66.70
1076314-01    P.A.             Hudson Regional Hospital            Blood Count Complete Auto&Auto Di… 8/12/2021      85025      $147.00
1076314-01    P.A.             Hudson Regional Hospital                       Prothrombin Time…          8/12/2021   85610      $143.00
1076314-01    P.A.             Hudson Regional Hospital             Thromboplastin Time Partial Plasm…   8/12/2021   85730      $147.00
1076314-01    P.A.             Hudson Regional Hospital             Antibody Screen Rbc Each Serum Te…   8/12/2021   86850      $105.80
1076314-01    P.A.             Hudson Regional Hospital                 Blood Typing Serologic Abo…      8/12/2021   86900      $498.84
1076314-01    P.A.             Hudson Regional Hospital                Blood Typing Serologic Rh (D)…    8/12/2021   86901       $56.95
1076314-01    P.A.             Hudson Regional Hospital              Infectious Agent Detection By Nuc…  8/12/2021   87635     $1,200.00
1076314-01    P.A.             Hudson Regional Hospital               Iadna S Aureus Methicillin Resist… 8/12/2021   87641      $241.40
1076314-01    P.A.             Hudson Regional Hospital             Ecg Routine Ecg W/Least 12 Lds Tr…   8/12/2021   93005      $323.70
1076314-01    P.A.             Hudson Regional Hospital           Echo Tthrc R-T 2D W/Wom-Mode Comp… 8/12/2021       93306     $5,074.90
1076314-01    P.A.             Hudson Regional Hospital              Radiopharmaceutical, Diagnostic, …  8/12/2021   A4641      $688.00
1076314-01    P.A.                   SCOB LLC                        Arthrocentesis Aspir&/Inj Major J…  8/16/2021   20610      $473.39
1076314-01    P.A.                   SCOB LLC                       Arthroscopy Wrist Surgical Synove…   8/16/2021   29844     $2,944.84
1076314-01    P.A.                   SCOB LLC                       Arthrs Wrst Exc&/Rpr Triang Fibro…   8/16/2021   29846     $3,026.21
1076314-01    P.A.         Rockaways ASC Development LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/12/2021   64493      $447.52
1076314-01    P.A.         Rockaways ASC Development LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/12/2021   64493      $976.38
1076314-01    P.A.         Rockaways ASC Development LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/12/2021   64494      $447.52
1076314-01    P.A.         Rockaways ASC Development LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/12/2021   64494      $447.52
1076314-01    P.A.         Rockaways ASC Development LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/12/2021   64495      $447.52
1076314-01    P.A.         Rockaways ASC Development LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/12/2021   64495      $447.52
1076314-01    P.A.         Rockaways ASC Development LLC               Surgical Supply; Miscellaneous…   9/12/2021   A4649       $50.00
1076314-01    P.A.                   SCOB LLC                       Tnot Elbow Lateral/Medial Debride…   9/27/2021   24358     $3,290.01
1076103-02    R.A.           Manalapan Surgery Center Inc           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/10/2020   62323      $976.38
1076103-02    R.A.           Manalapan Surgery Center Inc           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/17/2020   62323      $976.38
1076103-02    R.A.         New Horizon Surgical Center LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/7/2020   62323      $976.38
1076103-02    R.A.         New Horizon Surgical Center LLC                   Epidurograpy Rs&I…           3/7/2020   72275      $572.53
1076103-02    R.A.             Hudson Regional Hospital                Radiologic Exam Chest 2 Views…    3/10/2020   71046      $541.40
1076103-02    R.A.             Hudson Regional Hospital                Comprehensive Metabolic Panel…    3/10/2020   80053      $150.00
1076103-02    R.A.             Hudson Regional Hospital             Drug Tst Prsmv Instrmnt Chem Anal…   3/10/2020   80307      $359.15
1076103-02    R.A.             Hudson Regional Hospital             Drug Screen Quant Amphetamines 1 … 3/10/2020     80324      $269.37
1076103-02    R.A.             Hudson Regional Hospital               Antidepressants Serotonergic Clas… 3/10/2020   80332      $269.37
1076103-02    R.A.             Hudson Regional Hospital               Antidepressants Tricyclic Other C… 3/10/2020   80335      $270.31
1076103-02    R.A.             Hudson Regional Hospital                  Drug Screening Barbiturates…    3/10/2020   80345      $269.37
1076103-02    R.A.             Hudson Regional Hospital             Drug Screening Benzodiazepines 1-…   3/10/2020   80346      $269.37
1076103-02    R.A.             Hudson Regional Hospital                Drug Screening Buprenorphine…     3/10/2020   80348      $269.37
1076103-02    R.A.             Hudson Regional Hospital                   Drug Screening Fentanyl…       3/10/2020   80354      $269.37
1076103-02    R.A.             Hudson Regional Hospital             Drug Screening Gabapentin Non-Blo…   3/10/2020   80355      $269.37
1076103-02    R.A.             Hudson Regional Hospital              Drug Screening Heroin Metabolite…   3/10/2020   80356      $269.37
1076103-02    R.A.             Hudson Regional Hospital                  Drug Screening Methadone…       3/10/2020   80358      $269.37
1076103-02    R.A.             Hudson Regional Hospital            Drug Screening Methylenedioxyamph… 3/10/2020      80359      $269.37
1076103-02    R.A.             Hudson Regional Hospital               Drug Screening Methylphenidate…    3/10/2020   80360      $269.37
1076103-02    R.A.             Hudson Regional Hospital              Drug Screening Opiates 1 Or More…   3/10/2020   80361      $538.74
1076103-02    R.A.             Hudson Regional Hospital             Drug Screening Opioids And Opiate…   3/10/2020   80362      $537.74
1076103-02    R.A.             Hudson Regional Hospital                  Drug Screening Oxycodone…       3/10/2020   80365      $269.37
1076103-02    R.A.             Hudson Regional Hospital                  Drug Screening Pregabalin…      3/10/2020   80366      $269.37
1076103-02    R.A.             Hudson Regional Hospital             Drug Screening Sedative Hypnotics…   3/10/2020   80368      $269.37
1076103-02    R.A.             Hudson Regional Hospital             Drug Screening Skeletal Muscle Re…   3/10/2020   80369      $269.37
1076103-02    R.A.             Hudson Regional Hospital                  Drug Screening Tapentadol…      3/10/2020   80372      $269.37
1076103-02    R.A.             Hudson Regional Hospital                   Drug Screening Tramadol…       3/10/2020   80373      $269.37
1076103-02    R.A.             Hudson Regional Hospital              Urnls Dip Stick/Tablet Reagent Au…  3/10/2020   81001      $134.00
1076103-02    R.A.             Hudson Regional Hospital                Hemoglobin Glycosylated A1C…      3/10/2020   83036       $66.70
1076103-02    R.A.             Hudson Regional Hospital            Blood Count Complete Auto&Auto Di… 3/10/2020      85025      $147.00
1076103-02    R.A.             Hudson Regional Hospital                       Prothrombin Time…          3/10/2020   85610      $143.00
1076103-02    R.A.             Hudson Regional Hospital             Thromboplastin Time Partial Plasm…   3/10/2020   85730      $147.00
1076103-02    R.A.             Hudson Regional Hospital             Antibody Screen Rbc Each Serum Te…   3/10/2020   86850      $105.80
1076103-02    R.A.             Hudson Regional Hospital                 Blood Typing Serologic Abo…      3/10/2020   86900      $498.84
1076103-02    R.A.             Hudson Regional Hospital                Blood Typing Serologic Rh (D)…    3/10/2020   86901       $56.95
1076103-02    R.A.             Hudson Regional Hospital               Iadna S Aureus Methicillin Resist… 3/10/2020   87641      $241.40
1076103-02    R.A.             Hudson Regional Hospital             Ecg Routine Ecg W/Least 12 Lds Tr…   3/10/2020   93005      $323.70
1076103-02    R.A.                   SCOB LLC                        Arthrocentesis Aspir&/Inj Major J…  3/20/2020   20610      $473.39
1076103-02    R.A.                   SCOB LLC                      Arthroscopy Knee Synovectomy 2/>C… 3/20/2020      29876     $3,026.24
1076103-02    R.A.                   SCOB LLC                      Arthrs Kne Surg W/Meniscectomy Me… 3/20/2020      29881     $2,944.87
1074889-01    J.B.         Rockaways ASC Development LLC              Injection Single/Mlt Trigger Poin… 6/28/2020   20553      $236.69
1074889-01    J.B.         Rockaways ASC Development LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/28/2020   62323      $976.38
1074889-01    J.B.         Rockaways ASC Development LLC                     Epidurograpy Rs&I…          6/28/2020   72275      $572.53
1074889-01    J.B.         Rockaways ASC Development LLC            Us Guidance Needle Placement Img …   6/28/2020   76942      $341.96

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                                                           1889
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1074889-01    J.B.           Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    6/28/2020   A4649       $50.00
1074889-01    J.B.                       SCOB LLC                       Dcmprn Perq Nucleus Pulposus 1/> …    4/24/2021   62287     $5,292.93
1074889-01    J.B.                       SCOB LLC                       Probe, Percutaneous Lumbar Discec…    4/24/2021   C2614     $2,200.00
1075169-01    M.G.                       SCOB LLC                        Arthroscopy Shoulder Surgical Rep…   7/24/2020   29807     $5,677.77
1075169-01    M.G.                       SCOB LLC                       Arthroscopy Shoulder Surg Synovec…    7/24/2020   29821     $2,944.87
1075169-01    M.G.                       SCOB LLC                        Arthroscopy Shoulder Surg Debride…   7/24/2020   29822     $2,944.87
1075169-01    M.G.                       SCOB LLC                       Arthroscopy Shoulder W/Coracoacrm… 7/24/2020      29826     $2,944.87
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Spine Requiring Anes…     9/15/2020   22505      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Spine Requiring Anes…     9/15/2020   22505      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Spine Requiring Anes…     9/15/2020   22505      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manj W/Anes Shoulder Joint W/Fixa…     9/15/2020   23700      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Clsd Tx Pelvic Ring Fx W/Manipula…     9/15/2020   27198      $405.94
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Clsd Tx Pelvic Ring Fx W/Manipula…     9/15/2020   27198      $405.94
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Manipulation Hip Joint General An…   9/15/2020   27275      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Manipulation Hip Joint General An…   9/15/2020   27275     $1,577.52
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    9/15/2020   A4649       $50.00
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Spine Requiring Anes…     9/16/2020   22505      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Spine Requiring Anes…     9/16/2020   22505      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Spine Requiring Anes…     9/16/2020   22505      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manj W/Anes Shoulder Joint W/Fixa…     9/16/2020   23700      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Clsd Tx Pelvic Ring Fx W/Manipula…     9/16/2020   27198      $405.93
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Clsd Tx Pelvic Ring Fx W/Manipula…     9/16/2020   27198      $405.94
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Manipulation Hip Joint General An…   9/16/2020   27275     $1,577.52
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Manipulation Hip Joint General An…   9/16/2020   27275      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    9/16/2020   A4649       $50.00
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Spine Requiring Anes…     9/17/2020   22505      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Spine Requiring Anes…     9/17/2020   22505      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manipulation Spine Requiring Anes…     9/17/2020   22505      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Manj W/Anes Shoulder Joint W/Fixa…     9/17/2020   23700      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Clsd Tx Pelvic Ring Fx W/Manipula…     9/17/2020   27198      $405.93
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center Clsd Tx Pelvic Ring Fx W/Manipula…     9/17/2020   27198      $405.94
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Manipulation Hip Joint General An…   9/17/2020   27275      $748.08
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center   Manipulation Hip Joint General An…   9/17/2020   27275     $1,577.52
1075169-01    M.G.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    9/17/2020   A4649       $50.00
1075169-01    M.G.           Rockaways ASC Development LLC               Perq Intrdscl Electrothrm Annulop…  10/21/2021   22526     $2,605.78
1075169-01    M.G.           Rockaways ASC Development LLC              Dcmprn Perq Nucleus Pulposus 1/> … 10/21/2021     62287     $5,292.93
1074118-01    O.P.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/16/2020   62323      $976.38
1074118-01    O.P.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 1/26/2020      29875     $1,472.45
1074118-01    O.P.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 1/26/2020       29880     $3,026.24
1074118-01    O.P.            Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical, For …  1/26/2020   G0289     $1,472.45
1074118-01    O.P.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi…     2/2/2020   29875     $1,472.45
1074118-01    O.P.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 2/2/2020        29880     $3,026.24
1074118-01    O.P.            Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical, For …   2/2/2020   G0289     $1,472.45
1074118-01    O.P.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surgical Cap…   2/23/2020   29806     $2,798.20
1074118-01    O.P.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…    2/23/2020   29821     $2,798.20
1074118-01    O.P.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…   2/23/2020   29823     $1,472.45
1074118-01    O.P.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Distal Clavi…   2/23/2020   29824     $1,472.45
1074118-01    O.P.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 2/23/2020      29826     $1,472.45
1074118-01    O.P.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Rotator Cuff…   2/23/2020   29827     $5,677.77
1074118-01    O.P.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …   2/23/2020   64415      $979.78
1074118-01    O.P.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …    2/23/2020   76942      $341.96
1074602-03    G.L.              Healthplus Surgery Center LLC            Perq Intrdscl Electrothrm Annulop…   2/12/2020   22526     $5,805.09
1074602-03    G.L.              Healthplus Surgery Center LLC           Dcmprn Perq Nucleus Pulposus 1/> …    2/12/2020   62287     $5,211.56
1074602-03    G.L.              Healthplus Surgery Center LLC           Probe, Percutaneous Lumbar Discec…    2/12/2020   C2614     $2,250.00
1074602-03    G.L.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 8/19/2020      29875     $1,472.45
1074602-03    G.L.          All City Family Healthcare Center, Inc.      Arthrs Knee Abrasion Arthrp/Mlt D…   8/19/2020   29879     $1,472.45
1074602-03    G.L.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 8/19/2020       29880     $3,026.24
1074602-03    G.L.          All City Family Healthcare Center, Inc.      Injection Anesthetic Agent Femora…   8/19/2020   64447      $829.30
1074602-03    G.L.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …    8/19/2020   76942      $341.96
1074602-03    G.L.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    8/19/2020   A4649       $72.00
1074602-03    G.L.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical, For …  8/19/2020   G0289     $1,472.45
1074602-03    G.L.            Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…  11/24/2020   20610      $473.39
1074602-03    G.L.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi… 11/24/2020     29875     $1,472.45
1074602-03    G.L.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 11/24/2020      29880     $3,026.24
1074602-03    G.L.            Fifth Avenue Surgery Center LLC            Injection Anesthetic Agent Femora…  11/24/2020   64447      $829.30
1074602-03    G.L.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img … 11/24/2020     76942      $341.96
1074602-03    G.L.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…   11/24/2020   A4649       $50.00
1074602-03    G.L.            Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical, For … 11/24/2020   G0289     $1,472.45

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                                                         1890
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                       Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1074602-05    C.S.           Healthplus Surgery Center LLC                  Inject Si Joint Arthrgrphy&/Anes/…    3/4/2020   27096     $1,288.58
1074602-05    C.S.           Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/4/2020   64493     $1,423.99
1074602-05    C.S.           Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/4/2020   64494     $1,342.62
1074602-05    C.S.           Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/4/2020   64495     $1,342.62
1074602-05    C.S.           Healthplus Surgery Center LLC                          Epidurograpy Rs&I…            3/4/2020   72275      $572.53
1074602-05    C.S.           Healthplus Surgery Center LLC                  Injection Single/Mlt Trigger Poin…   3/11/2020   20553      $473.39
1074602-05    C.S.           Healthplus Surgery Center LLC                  Inject Si Joint Arthrgrphy&/Anes/…   3/11/2020   27096     $1,288.58
1074602-05    C.S.           Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/11/2020   64493     $1,423.99
1074602-05    C.S.           Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/11/2020   64494     $1,342.62
1074602-05    C.S.           Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/11/2020   64495     $1,342.62
1074602-05    C.S.       All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…      6/3/2020   29875     $1,472.45
1074602-05    C.S.       All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La…       6/3/2020   29880     $1,472.45
1074602-05    C.S.       All City Family Healthcare Center, Inc.         Arthroscopy Knee W/Meniscus Rpr M…       6/3/2020   29882     $3,026.24
1074602-05    C.S.       All City Family Healthcare Center, Inc.           Injection Anesthetic Agent Femora…     6/3/2020   64447      $829.30
1074602-05    C.S.       All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …      6/3/2020   76942      $341.96
1074602-05    C.S.       All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…      6/3/2020   A4649       $72.00
1074602-05    C.S.       All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For …    6/3/2020   G0289     $1,472.45
1074602-05    C.S.       All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…     8/19/2020   29821     $2,798.20
1074602-05    C.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    8/19/2020   29823     $1,472.45
1074602-05    C.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Distal Clavi…    8/19/2020   29824     $1,472.45
1074602-05    C.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    8/19/2020   29825     $1,472.45
1074602-05    C.S.       All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…     8/19/2020   29826     $1,472.45
1074602-05    C.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Rotator Cuff…    8/19/2020   29827     $5,677.77
1074602-05    C.S.       All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Biceps Tenod…     8/19/2020   29828     $2,798.20
1074602-05    C.S.       All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    8/19/2020   64415      $979.78
1074602-05    C.S.       All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     8/19/2020   76942      $341.96
1074602-05    C.S.       All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…     8/19/2020   A4649       $72.00
1074133-02    W.R.               Avicenna Surgery Center                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/3/2020   62323      $976.38
1074133-02    W.R.               Avicenna Surgery Center                            Epidurograpy Rs&I…            2/3/2020   72275      $572.52
1074133-02    W.R.             Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…    2/10/2020   22505      $748.08
1074133-02    W.R.             Surgicore of Jersey City LLC               Clsd Tx Pelvic Ring Fx W/Manipula…     2/10/2020   27198      $405.94
1074133-02    W.R.             Surgicore of Jersey City LLC                Manipulation Hip Joint General An…    2/10/2020   27275     $1,577.52
1074133-02    W.R.             Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…    2/12/2020   22505      $748.08
1074133-02    W.R.             Surgicore of Jersey City LLC               Clsd Tx Pelvic Ring Fx W/Manipula…     2/12/2020   27198      $405.94
1074133-02    W.R.             Surgicore of Jersey City LLC                Manipulation Hip Joint General An…    2/12/2020   27275     $1,577.52
1074133-02    W.R.             Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…    2/14/2020   22505      $748.08
1074133-02    W.R.             Surgicore of Jersey City LLC               Clsd Tx Pelvic Ring Fx W/Manipula…     2/14/2020   27198      $405.94
1074133-02    W.R.             Surgicore of Jersey City LLC                Manipulation Hip Joint General An…    2/14/2020   27275     $1,577.52
1074133-02    W.R.          Island Ambulatory Surgery Center             Perc Lamino-/Laminectomy Image Gu…      5/26/2020   0274T     $5,292.93
1074133-02    W.R.         Rockaways ASC Development LLC                 Arthroscopy Shoulder Dx W/Wo Syno…      8/28/2020   29805     $1,472.45
1074133-02    W.R.         Rockaways ASC Development LLC                  Arthroscopy Shoulder Surg Synovec…     8/28/2020   29821     $5,677.77
1074133-02    W.R.         Rockaways ASC Development LLC                   Arthroscopy Shoulder Surg Debride…    8/28/2020   29823     $1,472.45
1074133-02    W.R.         Rockaways ASC Development LLC                   Arthroscopy Shoulder Ahesiolysis …    8/28/2020   29825     $1,472.45
1074133-02    W.R.         Rockaways ASC Development LLC                     Unlisted Procedure Arthroscopy…     8/28/2020   29999     $1,472.45
1074133-02    W.R.         Rockaways ASC Development LLC                   Single Nerve Block Injection Arm …    8/28/2020   64415      $979.78
1074133-02    W.R.         Rockaways ASC Development LLC                  Us Guidance Needle Placement Img …     8/28/2020   76942      $341.96
1074133-02    W.R.         Rockaways ASC Development LLC                     Surgical Supply; Miscellaneous…     8/28/2020   A4649       $50.00
1074133-02    W.R.       All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…    9/30/2020   22526     $2,605.78
1074133-02    W.R.       All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…    9/30/2020   22527     $2,605.79
1074133-02    W.R.       All City Family Healthcare Center, Inc.          Dcmprn Perq Nucleus Pulposus 1/> …     9/30/2020   62287     $5,292.93
1074133-02    W.R.       All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…     9/30/2020   A4649       $72.00
1074812-01    D.L.       Rockland & Bergen Surgery Center LLC               Injection Single/Mlt Trigger Poin…    3/7/2020   20553      $236.69
1074812-01    D.L.       Rockland & Bergen Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/7/2020   62323      $976.38
1074812-01    D.L.       Rockland & Bergen Surgery Center LLC                       Epidurograpy Rs&I…            3/7/2020   72275      $572.53
1074812-01    D.L.                    EMUSC LLC                            Anesthesia Perq Image Guided Spin…    1/12/2021    1936      $148.55
1074812-01    D.L.                    EMUSC LLC                           Njx Anes&/Strd W/Img Tfrml Edrl L…     1/12/2021   64483      $973.29
1074812-01    D.L.                    EMUSC LLC                           Njx Anes&/Strd W/Img Tfrml Edrl L…     1/12/2021   64484      $446.02
1074812-01    D.L.                    EMUSC LLC                            Anesthesia Perq Image Guided Spin…    3/10/2021    1936      $148.55
1074812-01    D.L.                    EMUSC LLC                           Njx Anes&/Strd W/Img Tfrml Edrl L…     3/10/2021   64483      $446.02
1074812-01    D.L.                    EMUSC LLC                           Njx Anes&/Strd W/Img Tfrml Edrl L…     3/10/2021   64483      $973.29
1074812-01    D.L.                    EMUSC LLC                           Njx Anes&/Strd W/Img Tfrml Edrl L…     3/10/2021   64484      $446.02
1074812-01    D.L.                    EMUSC LLC                           Njx Anes&/Strd W/Img Tfrml Edrl L…     3/10/2021   64484      $446.03
1074126-02    S.R.              Bergenfield Surgical Center               Dcmprn Perq Nucleus Pulposus 1/> …     5/13/2020   62287     $5,827.42
1074126-02    S.R.              Bergenfield Surgical Center                            Surgical Trays…           5/13/2020   A4550      $750.00
1074126-02    S.R.         Rockaways ASC Development LLC                   Arthrocentesis Aspir&/Inj Major J…     9/9/2020   20610      $473.38
1074126-02    S.R.         Rockaways ASC Development LLC                  Arthroscopy Knee Synovectomy Limi…      9/9/2020   29875     $1,472.45
1074126-02    S.R.         Rockaways ASC Development LLC                 Arthrs Kne Surg W/Meniscectomy Me…       9/9/2020   29881     $3,026.24
1074126-02    S.R.         Rockaways ASC Development LLC                     Unlisted Procedure Arthroscopy…      9/9/2020   29999     $1,472.45

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                                                          1891
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1074126-02    S.R.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…     9/9/2020   A4649       $50.00
1074126-02    S.R.         Rockaways ASC Development LLC                     Arthroscopy, Knee, Surgical, For …   9/9/2020   G0289     $1,472.45
1074475-04    G.A.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 5/27/2021      29876     $1,472.45
1074475-04    G.A.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 5/27/2021       29880     $3,026.24
1074475-04    G.A.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    5/27/2021   A4649       $50.00
1074475-04    G.A.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …  5/27/2021   G0289     $1,472.45
1074475-04    G.A.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …  5/27/2021   G0289     $1,472.45
1074475-04    G.A.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…  5/27/2021   L8699      $195.00
1074475-04    G.A.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 5/27/2021      E0650      $531.06
1074475-04    G.A.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    5/27/2021   E0666       $89.56
1075362-02    D.P.             Surgicore of Jersey City LLC                 Arthrs Knee Abrasion Arthrp/Mlt D…   4/15/2021   29879     $1,472.45
1075362-02    D.P.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 4/15/2021       29880     $3,026.24
1075362-02    D.P.             Surgicore of Jersey City LLC               Arthroscopy Knee W/Meniscus Rpr M… 4/15/2021       29882     $1,472.45
1075362-02    D.P.             Surgicore of Jersey City LLC                Arthroscopy Knee W/Lysis Adhesion… 4/15/2021      29884     $1,472.45
1075362-02    D.P.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    4/15/2021   29999     $1,472.45
1075362-02    D.P.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    4/15/2021   A4649       $50.00
1075362-02    D.P.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…  4/15/2021   L8699     $2,229.80
1075362-02    D.P.                   Good Medica Inc                       Crutches, Underarm, Other Than Wo…    4/15/2021   E0114       $23.38
1075362-02    D.P.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 4/15/2021      E0650      $531.06
1075362-02    D.P.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    4/15/2021   E0666       $89.56
1075362-02    D.P.                   Good Medica Inc                        Knee Orthosis, Adjustable Knee Jo…   4/15/2021   L1833      $536.08
1073797-02    M.G.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…   1/6/2020   20553      $473.39
1073797-02    M.G.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    1/6/2020   62321      $863.63
1073797-02    M.G.                     SCOB LLC                                     Epidurograpy Rs&I…            1/6/2020   72275      $572.53
1073797-02    M.G.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  1/20/2020   20553      $473.39
1073797-02    M.G.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/20/2020   62323      $863.63
1073797-02    M.G.                     SCOB LLC                                     Epidurograpy Rs&I…           1/20/2020   72275      $572.53
1073797-02    M.G.        All City Family Healthcare Center, Inc.           Tenotomy Shoulder Area 1 Tendon…     1/23/2020   23405     $1,839.77
1073797-02    M.G.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…   1/23/2020   29821     $5,677.77
1073797-02    M.G.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   1/23/2020   29823     $1,472.45
1073797-02    M.G.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   1/23/2020   64415      $979.78
1073797-02    M.G.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    1/23/2020   76942      $341.96
1073298-03    J.C.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/2/2020   62321      $976.38
1073298-03    J.C.        All City Family Healthcare Center, Inc.                   Epidurograpy Rs&I…            3/2/2020   72275      $572.53
1073298-03    J.C.            Healthplus Surgery Center LLC                  Injection Single/Mlt Trigger Poin…  3/18/2020   20553      $473.39
1073298-03    J.C.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/18/2020   64493     $1,423.99
1073298-03    J.C.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/18/2020   64494     $1,342.62
1073298-03    J.C.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/18/2020   64495     $1,342.62
1073298-03    J.C.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…  8/20/2020   20553      $236.69
1073298-03    J.C.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/20/2020   62323      $976.38
1073298-03    J.C.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…           8/20/2020   72275      $572.53
1073298-03    J.C.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …    8/20/2020   76942      $341.96
1073298-03    J.C.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    8/20/2020   A4649       $50.00
1073298-03    J.C.            Healthplus Surgery Center LLC                  Injection Single/Mlt Trigger Poin…   9/2/2020   20553      $473.39
1073298-03    J.C.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/2/2020   64493     $1,423.99
1073298-03    J.C.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/2/2020   64494     $1,342.62
1073298-03    J.C.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/2/2020   64495     $1,342.62
1073298-03    J.C.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…  9/22/2020   22526     $2,605.78
1073298-03    J.C.         Rockaways ASC Development LLC                    Dcmprn Perq Nucleus Pulposus 1/> …   9/22/2020   62287     $5,292.93
1073298-03    J.C.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    9/22/2020   A4649       $50.00
1073298-03    J.C.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop… 11/16/2020   22526     $2,605.78
1073298-03    J.C.         Rockaways ASC Development LLC                   Discectomy Ant Dcmprn Cord Cervic… 11/16/2020     63075     $5,292.93
1073298-03    J.C.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…   11/16/2020   A4649       $50.00
1073298-03    J.C.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin… 10/21/2021   20552      $236.69
1073298-03    J.C.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/21/2021   62321      $976.38
1073298-03    J.C.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…          10/21/2021   72275      $572.53
1073298-03    J.C.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img … 10/21/2021     76942      $341.96
1073298-03    J.C.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin… 10/28/2021   20553      $554.76
1073298-03    J.C.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img … 10/28/2021     76942      $341.96
1073298-03    J.C.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin… 11/23/2021   20552      $236.69
1073298-03    J.C.         Rockaways ASC Development LLC                     Dstr Nrolytc Agnt Parverteb Fct S… 11/23/2021   64633      $976.38
1073298-03    J.C.         Rockaways ASC Development LLC                     Dstr Nrolytc Agnt Parverteb Fct A… 11/23/2021   64634      $447.52
1073298-03    J.C.         Rockaways ASC Development LLC                     Dstr Nrolytc Agnt Parverteb Fct A… 11/23/2021   64634      $447.52
1073298-03    J.C.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img … 11/23/2021     76942      $341.96
1072761-01    A.M.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  7/31/2020   20553      $473.39
1072761-01    A.M.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   7/31/2020   62323      $829.30
1072761-01    A.M.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin… 11/23/2020   20552      $236.69
1072761-01    A.M.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/23/2020   62323      $976.38

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                                                          1892
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1072761-01    A.M.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…          11/23/2020   72275      $572.53
1072761-01    A.M.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…   11/23/2020   A4649       $50.00
1072761-01    A.M.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    1/13/2021   62321      $976.38
1072761-01    A.M.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…           1/13/2021   72275      $572.53
1072761-01    A.M.         Rockaways ASC Development LLC                       Surgical Supply; Miscellaneous…    1/13/2021   A4649       $50.00
1072761-01    A.M.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…     4/9/2021   87635     $1,200.00
1072761-01    A.M.             Citimed Surgery Center LLC                     Injection Single/Mlt Trigger Poin…  4/10/2021   20552      $473.39
1072761-01    A.M.             Citimed Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/10/2021   62321      $976.38
1072761-01    A.M.                   Triborough ASC                           Injection Single/Mlt Trigger Poin…  7/14/2021   20553      $554.74
1072761-01    A.M.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/14/2021   62321      $976.38
1072761-01    A.M.                   Triborough ASC                                  Epidurograpy Rs&I…           7/14/2021   72275      $572.52
1072761-01    A.M.                   Triborough ASC                           Injection Single/Mlt Trigger Poin…  7/26/2021   20553      $554.74
1072761-01    A.M.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/26/2021   62323      $976.38
1072761-01    A.M.                   Triborough ASC                                  Epidurograpy Rs&I…           7/26/2021   72275      $572.52
1073128-02    M.D.                Bay Ridge Surgi Center                      Injection Single/Mlt Trigger Poin… 11/26/2019   20553      $473.38
1073128-02    M.D.                Bay Ridge Surgi Center                   Us Guidance Needle Placement Img … 11/26/2019      76942      $341.96
1073128-02    M.D.                Bay Ridge Surgi Center                                Surgical Trays…          11/26/2019   A4550     $1,000.00
1073128-02    M.D.                Bay Ridge Surgi Center                     Injection, Methylprednisolone Ace…  11/26/2019   J1030     $1,000.00
1073128-02    M.D.                Bay Ridge Surgi Center                     Injection, Methylprednisolone Ace…  11/26/2019   J1030     $1,000.00
1073128-02    M.D.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Knee Synovectomy Limi… 5/25/2021       29875     $1,472.45
1073128-02    M.D.        Bronx SC LLC d/b/a Empire State ASC               Arthrs Knee Abrasion Arthrp/Mlt D…    5/25/2021   29879     $1,472.45
1073128-02    M.D.        Bronx SC LLC d/b/a Empire State ASC                  Surgical Supply; Miscellaneous…    5/25/2021   A4649       $50.00
1073128-02    M.D.        Bronx SC LLC d/b/a Empire State ASC                 Arthroscopy, Knee, Surgical, For …  5/25/2021   G0289     $1,472.45
1073079-02    J.S.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/4/2020   62323      $976.38
1073079-02    J.S.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…            2/4/2020   72275      $572.53
1073079-02    J.S.                     SCOB LLC                             Arthroscopy Shoulder Surgical Rep…    2/26/2020   29807     $5,677.77
1073079-02    J.S.                     SCOB LLC                             Arthroscopy Shoulder Surg Synovec…    2/26/2020   29821     $2,944.87
1073079-02    J.S.                     SCOB LLC                             Arthroscopy Shoulder Surg Debride…    2/26/2020   29823     $2,944.87
1073079-02    J.S.                     SCOB LLC                             Arthroscopy Shoulder Ahesiolysis …    2/26/2020   29825     $2,944.87
1073079-02    J.S.                     SCOB LLC                             Arthroscopy Shoulder Biceps Tenod…    2/26/2020   29828     $2,944.87
1073079-02    J.S.                     SCOB LLC                            Anchor/Screw For Opposing Bone-To… 2/26/2020       C1713      $556.50
1072550-01    A.B.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/19/2019   62323      $976.38
1072550-01    A.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    1/30/2020   29821     $5,677.77
1072550-01    A.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    1/30/2020   29822     $1,472.45
1072550-01    A.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    1/30/2020   29823     $1,472.45
1072550-01    A.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    1/30/2020   29825     $1,472.45
1072550-01    A.B.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…    1/30/2020   29999     $1,472.45
1072550-01    A.B.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…    1/30/2020   29999     $1,472.45
1072550-01    A.B.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    1/30/2020   64415      $979.78
1072550-01    A.B.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     1/30/2020   76942      $341.96
1073544-01    H.M.          New Horizon Surgical Center LLC                Arthroscopy Knee Synovectomy 2/>C… 6/17/2020       29876     $1,472.45
1073544-01    H.M.          New Horizon Surgical Center LLC               Arthrs Knee W/Meniscectomy Med&La… 6/17/2020        29880     $3,026.24
1073544-01    H.M.          New Horizon Surgical Center LLC                 Injection Anesthetic Agent Femora…    6/17/2020   64447      $829.30
1073544-01    H.M.          New Horizon Surgical Center LLC                Us Guidance Needle Placement Img …     6/17/2020   76942      $341.96
1073544-01    H.M.          New Horizon Surgical Center LLC                    Surgical Supply; Miscellaneous…    6/17/2020   A4649       $50.00
1073544-01    H.M.             Dynamic Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    11/4/2020   62321      $976.38
1072155-02    D.D.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/13/2020   64493     $1,423.99
1072155-02    D.D.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/13/2020   64494     $1,342.62
1072155-02    D.D.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/13/2020   64495     $1,342.62
1072155-02    D.D.            Healthplus Surgery Center LLC                 Immunoassay For Infectious Agent …    6/13/2020   86328      $199.00
1072155-02    D.D.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/25/2020   64493      $447.52
1072155-02    D.D.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/25/2020   64493      $976.38
1072155-02    D.D.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/25/2020   64494      $447.52
1072155-02    D.D.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/25/2020   64494      $447.52
1072155-02    D.D.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/25/2020   64495      $447.52
1072155-02    D.D.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/25/2020   64495      $447.52
1072155-02    D.D.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…    7/25/2020   A4649       $50.00
1072155-02    D.D.          New Horizon Surgical Center LLC                  Perq Intrdscl Electrothrm Annulop…    8/8/2020   22526     $2,605.78
1072155-02    D.D.          New Horizon Surgical Center LLC                Dcmprn Perq Nucleus Pulposus 1/> …      8/8/2020   62287     $5,292.93
1072155-02    D.D.          New Horizon Surgical Center LLC                    Surgical Supply; Miscellaneous…     8/8/2020   A4649       $50.00
1072193-03    F.J.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/7/2020   62323      $976.38
1072193-03    F.J.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…            3/7/2020   72275      $572.52
1072193-03    F.J.          New Horizon Surgical Center LLC                Arthroscopy Knee Synovectomy Limi… 1/12/2022       29875     $1,472.45
1072193-03    F.J.          New Horizon Surgical Center LLC               Arthrs Knee W/Meniscectomy Med&La… 1/12/2022        29880     $3,026.24
1072193-03    F.J.          New Horizon Surgical Center LLC                Arthroscopy Knee W/Lysis Adhesion… 1/12/2022       29884     $1,472.45
1072193-03    F.J.          New Horizon Surgical Center LLC                   Arthroscopy, Knee, Surgical, For …  1/12/2022   G0289     $1,472.45
1072193-03    F.J.          New Horizon Surgical Center LLC                  Prosthetic Implant, Not Otherwise…   1/12/2022   L8699      $202.00
1072193-03    F.J.                   Good Medica Inc                        Cane, Quad Or Three-Prong, Includ…    1/12/2022   e0105       $18.75

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                                                          1893
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1072193-03    F.J.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       1/12/2022   e0650      $531.06
1072193-03    F.J.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       1/12/2022   e0666       $89.56
1071996-01    M.M.             Surgicore of Jersey City LLC                  Perq Intrdscl Electrothrm Annulop…     3/12/2021   22526     $2,605.78
1071996-01    M.M.             Surgicore of Jersey City LLC                  Perq Intrdscl Electrothrm Annulop…     3/12/2021   22527     $2,605.78
1071996-01    M.M.             Surgicore of Jersey City LLC                 Dcmprn Perq Nucleus Pulposus 1/> …      3/12/2021   62287     $5,292.93
1071996-01    M.M.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…      3/12/2021   A4649       $50.00
1071996-01    M.M.             Surgicore of Jersey City LLC                 Probe, Percutaneous Lumbar Discec…      3/12/2021   C2614     $1,520.00
1071996-01    M.M.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       3/12/2021   E0650      $531.06
1071996-01    M.M.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       3/12/2021   E0666       $89.56
1071434-02    S.V.              Hudson Regional Hospital                    Mri Spinal Canal Cervical W/O Con…     11/29/2019   72141     $5,982.45
1071434-02    S.V.              Hudson Regional Hospital                   Mri Spinal Canal Thoracic W/O Con…      11/29/2019   72146     $5,978.76
1071434-02    S.V.              Hudson Regional Hospital                   Mri Spinal Canal Lumbar W/O Contr…      11/29/2019   72148     $7,976.60
1071434-02    S.V.              Hudson Regional Hospital                   Mri Any Jt Upper Extremity W/O Co…      12/14/2019   73221     $3,988.30
1071434-02    S.V.              Hudson Regional Hospital                   Mri Any Jt Lower Extrem W/O Contr…      12/14/2019   73721     $3,988.30
1071434-02    S.V.       Ambulatory Surgical Center of Englewood           Arthroscopy Shoulder Dx W/Wo Syno…       1/15/2020   29805     $1,282.36
1071434-02    S.V.       Ambulatory Surgical Center of Englewood            Arthroscopy Shoulder Surg Synovec…      1/15/2020   29821     $6,462.39
1071434-02    S.V.       Ambulatory Surgical Center of Englewood            Arthroscopy Shoulder Surg Debride…      1/15/2020   29823     $3,231.19
1071434-02    S.V.       Ambulatory Surgical Center of Englewood           Arthroscopy Shoulder W/Coracoacrm…       1/15/2020   29826     $3,231.19
1071434-02    S.V.       Ambulatory Surgical Center of Englewood            Nonemergency Transportation; Taxi…      1/15/2020   A0100      $300.00
1071434-02    S.V.       Ambulatory Surgical Center of Englewood               Surgical Supply; Miscellaneous…      1/15/2020   A4649     $1,500.00
1071434-02    S.V.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…    2/24/2020   20552      $554.74
1071434-02    S.V.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      2/24/2020   62323      $976.38
1071434-02    S.V.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…             2/24/2020   72275      $572.52
1071434-02    S.V.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …      2/24/2020   76942      $423.32
1071434-03    H.M.              Hudson Regional Hospital                   Mri Spinal Canal Lumbar W/O Contr…      12/14/2019   72148     $7,976.60
1071434-03    H.M.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…    2/24/2020   20552      $554.74
1071434-03    H.M.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      2/24/2020   62323      $976.38
1071434-03    H.M.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…             2/24/2020   72275      $572.52
1071434-03    H.M.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …      2/24/2020   76942      $423.32
1071897-02    S.P.        All City Family Healthcare Center, Inc.           Njx Pltlt Plasma W/Img Harvest/Pr…      7/22/2020   0232T      $437.96
1071897-02    S.P.        All City Family Healthcare Center, Inc.           Njx Pltlt Plasma W/Img Harvest/Pr…      7/22/2020   0232T      $957.29
1071897-02    S.P.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…     7/22/2020   20611      $429.53
1071897-02    S.P.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…     7/22/2020   20611      $429.53
1071897-02    S.P.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …      7/22/2020   76942      $170.99
1071897-02    S.P.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …      7/22/2020   76942      $341.96
1071897-02    S.P.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…      7/22/2020   A4649       $72.00
1071897-02    S.P.        All City Family Healthcare Center, Inc.           Njx Pltlt Plasma W/Img Harvest/Pr…      8/26/2020   0232T      $875.92
1071897-02    S.P.        All City Family Healthcare Center, Inc.           Tenotomy Shoulder Area 1 Tendon…        8/26/2020   23405     $3,760.88
1071897-02    S.P.        All City Family Healthcare Center, Inc.                      Inlay, Porcelain…            8/26/2020    2610      $236.70
1071897-02    S.P.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …      8/26/2020   76942      $341.96
1071897-02    S.P.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…      8/26/2020   A4649       $72.00
1071897-02    S.P.               Gramercy Surgery Center                       Tenodesis Long Tendon Biceps…        4/29/2021   23430     $4,300.00
1071897-02    S.P.               Gramercy Surgery Center                    Arthroscopy Shoulder Surg Debride…      4/29/2021   29822     $4,300.00
1071897-02    S.P.               Gramercy Surgery Center                   Arthroscopy Shoulder W/Coracoacrm…       4/29/2021   29826     $4,300.00
1071897-02    S.P.               Gramercy Surgery Center                    Arthroscopy Shoulder Rotator Cuff…      4/29/2021   29827     $9,564.00
1071897-02    S.P.               Gramercy Surgery Center                   Anchor/Screw For Opposing Bone-To…       4/29/2021   C1713     $4,300.00
1071897-02    S.P.              Bergenfield Surgical Center                   Injection Single/Mlt Trigger Poin…    6/11/2021   20552      $554.74
1071897-02    S.P.              Bergenfield Surgical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/11/2021   62323     $1,012.32
1071897-02    S.P.              Bergenfield Surgical Center                          Epidurograpy Rs&I…             6/11/2021   72275     $4,981.00
1071897-02    S.P.              Bergenfield Surgical Center                             Surgical Trays…             6/11/2021   A4550      $750.00
1071897-02    S.P.              Bergenfield Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/20/2021   64490     $1,952.60
1071897-02    S.P.              Bergenfield Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/20/2021   64491     $1,952.60
1071897-02    S.P.              Bergenfield Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/20/2021   64492     $1,952.60
1071897-02    S.P.              Bergenfield Surgical Center                             Surgical Trays…             8/20/2021   A4550      $750.00
1071471-01    A.B.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surg Synovec…      3/23/2022   29821     $5,677.77
1071471-01    A.B.          New Horizon Surgical Center LLC                 Arthroscopy Shoulder Surg Debride…      3/23/2022   29823     $1,472.45
1071471-01    A.B.          New Horizon Surgical Center LLC                  Arthroscopy Shoulder Ahesiolysis …     3/23/2022   29825     $1,472.45
1071471-01    A.B.          New Horizon Surgical Center LLC                Arthroscopy Shoulder W/Coracoacrm…       3/23/2022   29826     $1,472.45
1071471-01    A.B.          New Horizon Surgical Center LLC                  Single Nerve Block Injection Arm …     3/23/2022   64415      $979.78
1071471-01    A.B.          New Horizon Surgical Center LLC                 Us Guidance Needle Placement Img …      3/23/2022   76942      $341.96
1071471-01    A.B.          New Horizon Surgical Center LLC                  Prosthetic Implant, Not Otherwise…     3/23/2022   L8699      $245.00
1071471-01    A.B.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       3/23/2022   E0650      $531.06
1071471-01    A.B.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       3/23/2022   E0666       $89.56
1071471-01    A.B.                   Good Medica Inc                        So, Acromio/Clavicular (Canvas An…      3/23/2022   L3670      $111.07
1071722-01    L.N.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Interm …     12/6/2019   20605      $236.69
1071722-01    L.N.        All City Family Healthcare Center, Inc.           Arthroscopy Wrist Surgical Synove…      12/6/2019   29845     $3,026.24
1071722-01    L.N.        All City Family Healthcare Center, Inc.           Arthrs Wrst Exc&/Rpr Triang Fibro…      12/6/2019   29846     $1,472.45
1071722-01    L.N.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…      12/6/2019   29999     $1,472.45

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                                                          1894
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                 Date of     Billing   Amount
                                        Provider                                          Service
 Number      Person                                                                                                  Service     Code       Billed
1071722-01    L.N.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …      12/6/2019   64415      $979.78
1071722-01    L.N.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …       12/6/2019   76942      $341.96
1071722-01    L.N.             Dynamic Surgery Center LLC                   Manipulation Spine Requiring Anes…       1/18/2020   22505      $748.08
1071722-01    L.N.             Dynamic Surgery Center LLC                  Manj W/Anes Shoulder Joint W/Fixa…        1/18/2020   23700      $748.08
1071722-01    L.N.             Dynamic Surgery Center LLC                   Clsd Tx Pelvic Ring Fx W/Manipula…       1/18/2020   27198      $405.94
1071722-01    L.N.            Healthplus Surgery Center LLC                 Manipulation Spine Requiring Anes…        2/1/2020   22505      $748.08
1071722-01    L.N.            Healthplus Surgery Center LLC                Manj W/Anes Shoulder Joint W/Fixa…         2/1/2020   23700      $748.08
1071722-01    L.N.            Healthplus Surgery Center LLC                 Manipulation Wrist Under Anesthes…        2/1/2020   25259     $1,577.52
1071722-01    L.N.            Healthplus Surgery Center LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…        2/1/2020   27198      $405.94
1071218-01    S.R.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…        4/1/2021   29821     $5,677.77
1071218-01    S.R.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…        4/1/2021   29823     $1,472.45
1071218-01    S.R.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …       4/1/2021   29825     $1,472.45
1071218-01    S.R.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm…         4/1/2021   29826     $1,472.45
1071218-01    S.R.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …       4/1/2021   64415      $979.78
1071218-01    S.R.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …        4/1/2021   76942      $341.96
1071218-01    S.R.          Fifth Avenue Surgery Center LLC                     Surgical Supply; Miscellaneous…       4/1/2021   A4649       $50.00
1071218-01    S.R.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…         4/1/2021   E0650      $531.06
1071218-01    S.R.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …         4/1/2021   E0666       $89.56
1070659-01    C.C.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…    11/13/2020   20552      $236.69
1070659-01    C.C.         Rockaways ASC Development LLC                     Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     11/13/2020   62321      $976.38
1070659-01    C.C.         Rockaways ASC Development LLC                              Epidurograpy Rs&I…            11/13/2020   72275      $572.53
1070659-01    C.C.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …      11/13/2020   76942      $341.96
1070659-01    C.C.         Rockaways ASC Development LLC                        Surgical Supply; Miscellaneous…     11/13/2020   A4649       $50.00
1070659-01    C.C.                   Triborough ASC                         Dcmprn Perq Nucleus Pulposus 1/> …        2/5/2021   62287     $8,000.00
1070659-01    C.C.                   Triborough ASC                          Fluor Needle/Cath Spine/Paraspina…       2/5/2021   77003      $225.00
1070659-01    C.C.                   Triborough ASC                          Urine Pregnancy Test Visual Color…       2/5/2021   81025       $30.00
1070659-01    C.C.                   Triborough ASC                         Glucose Quantitative Blood Xcpt R…        2/5/2021   82947       $20.00
1070659-01    C.C.                   Triborough ASC                        New Cpt Code 99072 Was Establishe…         2/5/2021   99072      $200.00
1070659-01    C.C.                   Triborough ASC                         Injection, Dexamethasone Sodium P…        2/5/2021   J1100       $52.64
1070659-01    C.C.                   Triborough ASC                            Injection, Lidocaine Hcl For Intr…     2/5/2021   J2001       $64.00
1071546-01    A.S.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…       1/14/2020   29821     $5,677.77
1071546-01    A.S.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…       1/14/2020   29823     $1,472.45
1071546-01    A.S.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …      1/14/2020   29825     $1,472.45
1071546-01    A.S.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …      1/14/2020   64415      $979.78
1071546-01    A.S.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …       1/14/2020   76942      $341.96
1071546-01    A.S.              Bergenfield Surgical Center                   Injection Single/Mlt Trigger Poin…     9/18/2020   20552      $554.74
1071546-01    A.S.              Bergenfield Surgical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       9/18/2020   62323     $1,012.32
1071546-01    A.S.              Bergenfield Surgical Center                           Epidurograpy Rs&I…             9/18/2020   72275      $572.52
1071546-01    A.S.              Bergenfield Surgical Center                             Surgical Trays…              9/18/2020   A4550      $750.00
1071546-01    A.S.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…      10/6/2020   20610      $473.39
1071546-01    A.S.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi…        10/6/2020   29875     $1,472.45
1071546-01    A.S.          Fifth Avenue Surgery Center LLC                Arthrs Kne Surg W/Meniscectomy Me…        10/6/2020   29881     $3,026.24
1071546-01    A.S.          Fifth Avenue Surgery Center LLC                  Injection Anesthetic Agent Femora…      10/6/2020   64447      $829.30
1071546-01    A.S.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …       10/6/2020   76942      $341.96
1071546-01    A.S.          Fifth Avenue Surgery Center LLC                     Surgical Supply; Miscellaneous…      10/6/2020   A4649       $50.00
1071546-01    A.S.          Fifth Avenue Surgery Center LLC                   Arthroscopy, Knee, Surgical, For …     10/6/2020   G0289     $1,472.45
1070614-01    M.T.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…      11/15/2019   22505     $1,577.52
1070614-01    M.T.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…      11/15/2019   27198      $405.94
1070614-01    M.T.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…      11/20/2019   22505     $1,577.52
1070614-01    M.T.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…      11/20/2019   27198      $405.94
1070614-01    M.T.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…      11/22/2019   22505     $1,577.52
1070614-01    M.T.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…      11/22/2019   27198      $405.94
1070614-01    M.T.               Avicenna Surgery Center                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…        1/6/2020   62323      $976.38
1070614-01    M.T.               Avicenna Surgery Center                              Epidurograpy Rs&I…              1/6/2020   72275      $572.52
1070614-01    M.T.               Avicenna Surgery Center                     Njx Dx/Ther Agt Pvrt Facet Jt Crv…      3/16/2020   64490      $976.38
1070614-01    M.T.               Avicenna Surgery Center                     Njx Dx/Ther Agt Pvrt Facet Jt Crv…      3/16/2020   64491      $976.38
1070614-01    M.T.               Avicenna Surgery Center                     Njx Dx/Ther Agt Pvrt Facet Jt Crv…      3/16/2020   64492      $976.38
1070614-01    M.T.              Bergenfield Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…      7/27/2020   64490     $1,186.02
1070614-01    M.T.              Bergenfield Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…      7/27/2020   64490     $1,186.02
1070614-01    M.T.              Bergenfield Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…      7/27/2020   64491      $555.95
1070614-01    M.T.              Bergenfield Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…      7/27/2020   64491      $555.95
1070614-01    M.T.              Bergenfield Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…      7/27/2020   64492      $555.95
1070614-01    M.T.              Bergenfield Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…      7/27/2020   64492      $555.95
1070614-01    M.T.              Bergenfield Surgical Center                             Surgical Trays…              7/27/2020   A4550      $750.00
1070614-02    L.M.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…      11/15/2019   22505      $748.08
1070614-02    L.M.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…       11/15/2019   23700     $1,577.52
1070614-02    L.M.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…      11/15/2019   27198      $405.94
1070614-02    L.M.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…      11/20/2019   22505      $748.08

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                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1070614-02    L.M.               Surgicore of Jersey City LLC          Manj W/Anes Shoulder Joint W/Fixa…      11/20/2019   23700     $1,577.52
1070614-02    L.M.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…     11/20/2019   27198      $405.94
1070614-02    L.M.               Surgicore of Jersey City LLC           Manipulation Spine Requiring Anes…     11/22/2019   22505      $748.08
1070614-02    L.M.               Surgicore of Jersey City LLC          Manj W/Anes Shoulder Joint W/Fixa…      11/22/2019   23700     $1,577.52
1070614-02    L.M.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…     11/22/2019   27198      $405.94
1070614-02    L.M.                 Avicenna Surgery Center              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       1/6/2020   62323      $976.38
1070614-02    L.M.                 Avicenna Surgery Center                       Epidurograpy Rs&I…              1/6/2020   72275      $572.52
1070614-02    L.M.                 Avicenna Surgery Center              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      3/16/2020   62321      $976.38
1070614-02    L.M.                 Avicenna Surgery Center                       Epidurograpy Rs&I…             3/16/2020   72275      $572.52
1070614-02    L.M.                Bergenfield Surgical Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      7/27/2020   62321     $1,012.32
1070614-02    L.M.                Bergenfield Surgical Center                    Epidurograpy Rs&I…             7/27/2020   72275      $572.52
1070614-02    L.M.                Bergenfield Surgical Center                       Surgical Trays…             7/27/2020   A4550      $750.00
1071748-05    D.V.            Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi…      11/16/2019   29875     $1,472.45
1071748-05    D.V.            Fifth Avenue Surgery Center LLC          Arthrs Kne Surg W/Meniscectomy Me…      11/16/2019   29881     $3,026.24
1071748-05    D.V.            Fifth Avenue Surgery Center LLC            Injection Anesthetic Agent Femora…    11/16/2019   64447      $829.30
1071748-05    D.V.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     11/16/2019   76942      $341.96
1071748-05    D.V.            Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical, For …   11/16/2019   G0289     $1,472.45
1071748-05    D.V.               Accelerated Surgical Center              Injection Single/Mlt Trigger Poin…    2/22/2020   20553      $161.46
1071748-05    D.V.               Accelerated Surgical Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      2/22/2020   62321     $1,518.48
1071748-06    P.C.            Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi…      11/16/2019   29875     $1,472.45
1071748-06    P.C.            Fifth Avenue Surgery Center LLC          Arthrs Kne Surg W/Meniscectomy Me…      11/16/2019   29881     $3,026.24
1071748-06    P.C.            Fifth Avenue Surgery Center LLC            Injection Anesthetic Agent Femora…    11/16/2019   64447      $829.30
1071748-06    P.C.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     11/16/2019   76942      $341.96
1071748-06    P.C.            Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical, For …   11/16/2019   G0289     $1,472.45
1071748-06    P.C.               Accelerated Surgical Center           Njx Anes&/Strd W/Img Tfrml Edrl C…       2/22/2020   64479     $1,518.48
1071748-06    P.C.               Accelerated Surgical Center           Njx Anes&/Strd W/Img Tfrml Edrl C…       2/22/2020   64480      $776.84
1072234-01    S.M.         Bronx SC LLC d/b/a Empire State ASC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       7/9/2020   62323      $976.38
1072234-01    S.M.         Bronx SC LLC d/b/a Empire State ASC                   Epidurograpy Rs&I…              7/9/2020   72275      $572.53
1072234-01    S.M.         Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…       7/9/2020   A4649       $50.00
1072234-01    S.M.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…    8/10/2020   20552      $277.37
1072234-01    S.M.                       AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      8/10/2020   62321      $976.38
1072234-01    S.M.                       AMSC LLC                                Epidurograpy Rs&I…             8/10/2020   72275      $572.52
1072234-01    S.M.                       AMSC LLC                       Us Guidance Needle Placement Img …      8/10/2020   76942      $423.32
1072234-01    S.M.         Bronx SC LLC d/b/a Empire State ASC          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      9/24/2020   62321      $976.38
1072234-01    S.M.         Bronx SC LLC d/b/a Empire State ASC                   Epidurograpy Rs&I…             9/24/2020   72275      $572.53
1072234-01    S.M.         Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…      9/24/2020   A4649       $50.00
1070754-03    R.J.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…   12/27/2019   20553      $236.69
1070754-03    R.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      12/27/2019   62323      $976.38
1070754-03    R.J.     NYEEQASC LLC d/b/a North Queens Surgical Center           Epidurograpy Rs&I…            12/27/2019   72275      $572.53
1070754-03    R.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Soft Tissue Head & Neck Real T…      12/27/2019   76536      $238.23
1070754-03    R.J.                       AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       2/7/2020   62323      $976.38
1070754-03    R.J.                       AMSC LLC                                Epidurograpy Rs&I…              2/7/2020   72275      $572.52
1071252-01    R.R.          All City Family Healthcare Center, Inc.     Tenotomy Shoulder Area 1 Tendon…         2/6/2020   23405     $1,839.77
1071252-01    R.R.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…       2/6/2020   29821     $5,677.77
1071252-01    R.R.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Debride…       2/6/2020   29823     $1,472.45
1071252-01    R.R.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …      2/6/2020   29825     $1,472.45
1071252-01    R.R.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …      2/6/2020   64415      $979.78
1071252-01    R.R.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …       2/6/2020   76942      $341.96
1071252-01    R.R.                       SCOB LLC                      Discectomy Ant Dcmprn Cord Cervic…       8/31/2020   63075     $5,292.93
1071252-01    R.R.                       SCOB LLC                       Probe, Percutaneous Lumbar Discec…      8/31/2020   C2614     $2,000.00
1072272-02    J.P.            Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…     4/13/2021   20610      $473.39
1072272-02    J.P.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…      4/13/2021   29821     $5,677.77
1072272-02    J.P.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…      4/13/2021   29823     $1,472.45
1072272-02    J.P.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …     4/13/2021   29825     $1,472.45
1072272-02    J.P.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …     4/13/2021   64415      $979.78
1072272-02    J.P.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      4/13/2021   76942      $341.96
1072272-02    J.P.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…      4/13/2021   A4649       $50.00
1072272-02    J.P.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…       4/13/2021   E0650      $531.06
1072272-02    J.P.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …       4/13/2021   E0666       $89.56
1072272-02    J.P.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta…       5/18/2021   E0650      $531.06
1072272-02    J.P.                     Good Medica Inc                 Nonsegmental Pneumatic Appliance …       5/18/2021   E0666       $89.56
1072272-04    T.C.            Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…     5/18/2021   20610      $473.39
1072272-04    T.C.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…      5/18/2021   29821     $5,677.77
1072272-04    T.C.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…      5/18/2021   29823     $1,472.45
1072272-04    T.C.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …     5/18/2021   29825     $1,472.45
1072272-04    T.C.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …     5/18/2021   64415      $979.78
1072272-04    T.C.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      5/18/2021   76942      $341.96
1072272-04    T.C.            Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…      5/18/2021   A4649       $50.00

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                                                           1896
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1072272-04    T.C.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 5/18/2021       E0650      $531.06
1072272-04    T.C.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     5/18/2021   E0666       $89.56
1070459-01    T.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi… 12/23/2019       29875     $1,472.45
1070459-01    T.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee Abrasion Arthrp/Mlt D… 12/23/2019       29879     $1,472.45
1070459-01    T.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 12/23/2019       29880     $3,026.24
1070459-01    T.P.         Health East Ambulatory Surgical Center        Arthroscopy Shoulder Surg Synovec…     3/2/2020   29821     $3,231.20
1070459-01    T.P.         Health East Ambulatory Surgical Center        Arthroscopy Shoulder Surg Debride…     3/2/2020   29823     $3,231.20
1070459-01    T.P.         Health East Ambulatory Surgical Center       Arthroscopy Shoulder W/Coracoacrm…      3/2/2020   29826     $6,462.39
1070459-01    T.P.         Health East Ambulatory Surgical Center         Arthroscopy Shoulder Rotator Cuff…    3/2/2020   29827     $6,462.39
1070459-01    T.P.         Health East Ambulatory Surgical Center         Single Nerve Block Injection Arm …    3/2/2020   64415      $517.89
1070459-01    T.P.         Health East Ambulatory Surgical Center       Anchor/Screw For Opposing Bone-To…      3/2/2020   C1713      $540.50
1070782-01    F.L.            Millennium Amb Surgery Ctr LLC               Injection Single/Mlt Trigger Poin… 12/26/2019   20553      $250.00
1070782-01    F.L.            Millennium Amb Surgery Ctr LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  12/26/2019   64493     $1,266.65
1070782-01    F.L.            Millennium Amb Surgery Ctr LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  12/26/2019   64494     $1,266.65
1070782-01    F.L.            Millennium Amb Surgery Ctr LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  12/26/2019   64495     $1,266.65
1070782-01    F.L.            Millennium Amb Surgery Ctr LLC              Fluor Needle/Cath Spine/Paraspina…  12/26/2019   77003      $600.00
1070782-01    F.L.                       SCOB LLC                          Injection Single/Mlt Trigger Poin…   1/2/2020   20553      $473.39
1070782-01    F.L.                       SCOB LLC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/2/2020   64490     $1,014.11
1070782-01    F.L.                       SCOB LLC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/2/2020   64491      $898.41
1070782-01    F.L.                       SCOB LLC                         Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/2/2020   64492      $898.41
1070782-01    F.L.          All City Family Healthcare Center, Inc.       Arthrocentesis Aspir&/Inj Major J…    1/3/2020   20610      $473.38
1070782-01    F.L.          All City Family Healthcare Center, Inc.     Manj W/Anes Shoulder Joint W/Fixa…      1/3/2020   23700      $748.08
1070782-01    F.L.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…     1/3/2020   29823     $1,472.45
1070782-01    F.L.          All City Family Healthcare Center, Inc.       Arthroscopy Shoulder Ahesiolysis …    1/3/2020   29825     $3,026.24
1070782-01    F.L.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm…      1/3/2020   29826     $1,472.45
1070782-01    F.L.          All City Family Healthcare Center, Inc.       Single Nerve Block Injection Arm …    1/3/2020   64415      $979.78
1070782-01    F.L.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …      1/3/2020   76942      $341.96
1070782-01    F.L.                       SCOB LLC                          Injection Single/Mlt Trigger Poin…  1/31/2020   20553      $473.39
1070782-01    F.L.                       SCOB LLC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/31/2020   64493      $979.78
1070782-01    F.L.                       SCOB LLC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/31/2020   64494      $898.41
1070782-01    F.L.                       SCOB LLC                          Injection Single/Mlt Trigger Poin…  2/10/2020   20553      $473.39
1070782-01    F.L.                       SCOB LLC                         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/10/2020   62321      $829.30
1070782-01    F.L.                       SCOB LLC                          Injection Single/Mlt Trigger Poin…  2/17/2020   20553      $473.39
1070782-01    F.L.                       SCOB LLC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/17/2020   64493      $979.78
1070782-01    F.L.                       SCOB LLC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/17/2020   64494      $898.41
1070782-01    F.L.                       SCOB LLC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/17/2020   64495      $898.41
1072368-90    K.S.           Rockaways ASC Development LLC                 Injection Single/Mlt Trigger Poin…  2/10/2020   20552      $554.74
1072368-90    K.S.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/10/2020   62323      $976.38
1072368-90    K.S.           Rockaways ASC Development LLC                        Epidurograpy Rs&I…           2/10/2020   72275      $572.52
1072368-90    K.S.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     2/10/2020   76942      $423.32
1072368-90    K.S.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/12/2020   62323      $976.38
1072368-90    K.S.           Rockaways ASC Development LLC                        Epidurograpy Rs&I…           7/12/2020   72275      $572.53
1072368-90    K.S.           Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…    7/12/2020   A4649       $50.00
1072368-90    K.S.           Rockaways ASC Development LLC             Perc Lamino-/Laminectomy Image Gu…       9/2/2020   0274T     $5,292.93
1072368-90    K.S.           Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…     9/2/2020   A4649       $50.00
1072368-90    K.S.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…   5/21/2021   87635     $1,200.00
1072368-90    K.S.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…    6/9/2021   87635     $1,200.00
1072368-90    K.S.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…   6/26/2021   87635     $1,200.00
1072368-90    K.S.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…    7/2/2021   87635     $1,200.00
1072368-90    K.S.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…    8/8/2021   87635     $1,200.00
1072368-90    K.S.                Hudson Regional Hospital               Specimen Collection For Severe Ac…     8/8/2021   G2023       $97.84
1072368-90    K.S.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…   9/11/2021   87635     $1,200.00
1072368-90    K.S.                Hudson Regional Hospital               Specimen Collection For Severe Ac…    9/11/2021   G2023       $97.84
1072368-90    K.S.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…   10/9/2021   87635     $1,200.00
1072368-90    K.S.                Hudson Regional Hospital               Specimen Collection For Severe Ac…    10/9/2021   G2023       $97.84
1072368-90    K.S.                Hudson Regional Hospital               Cul Bact Quan Anaerc Isol Xcpt Ur…   10/14/2021   87073       $97.84
1072368-90    K.S.                Hudson Regional Hospital               Iadna Hiv-1 Amplified Probe & Rev… 10/14/2021     87535     $1,200.00
1072368-90    K.S.                Hudson Regional Hospital                Infectious Agent Detection By Nuc…  10/14/2021   87635     $1,200.00
1072368-90    K.S.                Hudson Regional Hospital               Specimen Collection For Severe Ac…   10/14/2021   G2023       $97.84
1069802-01    F.A.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 12/20/2019      29875     $1,472.45
1069802-01    F.A.          All City Family Healthcare Center, Inc.      Arthrs Knee Abrasion Arthrp/Mlt D… 12/20/2019     29879     $1,472.45
1069802-01    F.A.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 12/20/2019       29880     $3,026.24
1069802-01    F.A.                      EMUSC LLC                        Anesthesia Perq Image Guided Spin…     2/5/2020    1936      $135.05
1069802-01    F.A.                      EMUSC LLC                        Dcmprn Perq Nucleus Pulposus 1/> …     2/5/2020   62287     $5,292.83
1069802-01    F.A.                      EMUSC LLC                        Probe, Percutaneous Lumbar Discec…     2/5/2020   C2614      $600.00
1070252-01    A.S.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes…    1/13/2020   22505     $1,577.52
1070252-01    A.S.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…     1/13/2020   27198      $405.94
1070252-01    A.S.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes…    1/20/2020   22505     $1,577.52

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                                                          1897
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1070252-01    A.S.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…       1/20/2020   27198      $405.94
1070252-01    A.S.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…      1/31/2020   22505     $1,577.52
1070252-01    A.S.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…       1/31/2020   27198      $405.94
1070252-01    A.S.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…     3/20/2020   22526     $2,646.47
1070252-01    A.S.          Island Ambulatory Surgery Center                Dcmprn Perq Nucleus Pulposus 1/> …      3/20/2020   62287     $5,292.93
1071020-01    D.S.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…      10/4/2021   29821     $5,677.77
1071020-01    D.S.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…      10/4/2021   29823     $1,472.45
1071020-01    D.S.             Surgicore of Jersey City LLC                  Arthroscopy Shoulder Distal Clavi…     10/4/2021   29824     $1,472.45
1071020-01    D.S.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm…       10/4/2021   29826     $1,472.45
1071020-01    D.S.             Surgicore of Jersey City LLC                    Unlisted Procedure Arthroscopy…      10/4/2021   29999     $1,472.45
1071020-01    D.S.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …     10/4/2021   64415      $979.78
1071020-01    D.S.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …       10/4/2021   76942      $341.96
1071020-01    D.S.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…      10/4/2021   A4649       $50.00
1071020-01    D.S.             Surgicore of Jersey City LLC                  Prosthetic Implant, Not Otherwise…     10/4/2021   L8699      $227.00
1071020-01    D.S.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…       10/4/2021   E0650      $531.06
1071020-01    D.S.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …       10/4/2021   E0666       $89.56
1070230-04    Y.G.         New York Surgery Center of Queens                Arthroscopy Ankle Surgical Synove…      7/17/2020   29895     $3,026.24
1070230-04    Y.G.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…       9/15/2020   29875     $3,026.24
1070230-04    Y.G.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…      9/15/2020   A4649       $72.00
1070230-04    Y.G.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For …     9/15/2020   G0289     $1,472.45
1071229-03    N.S.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…      6/28/2020   29821     $5,677.77
1071229-03    N.S.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…      6/28/2020   29823     $1,472.45
1071229-03    N.S.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Distal Clavi…     6/28/2020   29824     $1,472.45
1071229-03    N.S.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm…       6/28/2020   29826     $1,472.45
1071229-03    N.S.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …     6/28/2020   64415      $979.78
1071229-03    N.S.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …       6/28/2020   76942      $341.96
1071229-03    N.S.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…      6/28/2020   A4649       $50.00
1071229-03    N.S.                     SCOB LLC                            Discectomy Ant Dcmprn Cord Cervic…       9/14/2020   63075     $5,292.93
1071229-03    N.S.                     SCOB LLC                             Probe, Percutaneous Lumbar Discec…      9/14/2020   C2614     $2,000.00
1071229-03    N.S.                     SCOB LLC                              Perq Intrdscl Electrothrm Annulop…    10/19/2020   22526     $5,211.56
1071229-03    N.S.                     SCOB LLC                              Perq Intrdscl Electrothrm Annulop…    10/19/2020   22527     $5,211.56
1071229-03    N.S.                     SCOB LLC                             Dcmprn Perq Nucleus Pulposus 1/> …     10/19/2020   62287     $5,292.93
1071229-03    N.S.                     SCOB LLC                             Probe, Percutaneous Lumbar Discec…     10/19/2020   C2614     $2,250.00
1071229-03    N.S.                   Triborough ASC                           Injection Single/Mlt Trigger Poin…    7/14/2021   20553      $554.74
1071229-03    N.S.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/14/2021   64493     $1,952.76
1071229-03    N.S.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/14/2021   64494     $1,952.76
1071229-03    N.S.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/14/2021   64495     $1,952.76
1071229-03    N.S.                   Triborough ASC                           Injection Single/Mlt Trigger Poin…    7/28/2021   20553      $554.74
1071229-03    N.S.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      7/28/2021   62321      $976.38
1071229-03    N.S.                   Triborough ASC                                  Epidurograpy Rs&I…             7/28/2021   72275      $572.52
1071229-03    N.S.                   Triborough ASC                           Injection Single/Mlt Trigger Poin…     9/1/2021   20553      $554.74
1071229-03    N.S.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       9/1/2021   62321      $976.38
1071229-03    N.S.                   Triborough ASC                                  Epidurograpy Rs&I…              9/1/2021   72275      $572.52
1071229-03    N.S.                   Triborough ASC                           Injection Single/Mlt Trigger Poin…    9/23/2021   20552      $554.74
1071229-03    N.S.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/23/2021   64493     $1,952.76
1071229-03    N.S.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/23/2021   64494     $1,952.76
1071229-03    N.S.                   Triborough ASC                         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/23/2021   64495     $1,952.76
1069271-01    S.H.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/17/2020   64493      $976.38
1069271-01    S.H.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/17/2020   64493      $447.52
1069271-01    S.H.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/17/2020   64494      $447.52
1069271-01    S.H.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/17/2020   64494      $447.52
1069271-01    S.H.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/17/2020   64495      $447.52
1069271-01    S.H.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/17/2020   64495      $447.52
1069271-01    S.H.        Bronx SC LLC d/b/a Empire State ASC                  Surgical Supply; Miscellaneous…     10/17/2020   A4649       $50.00
1069271-01    S.H.           Parkway Ambulatory Surgery Ce                  Arthroscopy Shoulder Surg Synovec…     12/18/2020   29821     $6,462.39
1069271-01    S.H.           Parkway Ambulatory Surgery Ce                  Arthroscopy Shoulder Surg Debride…     12/18/2020   29823     $6,462.39
1069271-01    S.H.           Parkway Ambulatory Surgery Ce                 Arthroscopy Shoulder W/Coracoacrm…      12/18/2020   29826     $6,462.39
1070371-03    S.D.        All City Family Healthcare Center, Inc.             Injection Single/Mlt Trigger Poin…    7/21/2020   20552      $236.69
1070371-03    S.D.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      7/21/2020   62321      $976.38
1070371-03    S.D.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…             7/21/2020   72275      $572.53
1070371-03    S.D.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …       7/21/2020   76942      $341.96
1070371-03    S.D.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…      7/21/2020   A4649       $72.00
1070371-03    S.D.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…     7/28/2020   22526     $2,605.78
1070371-03    S.D.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic…       7/28/2020   63075     $5,292.93
1070371-03    S.D.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…      7/28/2020   A4649       $72.00
1070371-03    S.D.        All City Family Healthcare Center, Inc.             Injection Single/Mlt Trigger Poin…   11/30/2020   20552      $236.69
1070371-03    S.D.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     11/30/2020   62321      $976.38
1070371-03    S.D.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…            11/30/2020   72275      $572.53

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                                                          1898
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1070371-03    S.D.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img … 11/30/2020     76942      $341.96
1070371-03    S.D.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…   11/30/2020   A4649       $72.00
1070371-03    S.D.                   Triborough ASC                          Perq Intrdscl Electrothrm Annulop…  4/12/2021   22526      $450.00
1070371-03    S.D.                   Triborough ASC                         Injection Px Discography Each Lev…   4/12/2021   62290      $450.00
1070371-03    S.D.                   Triborough ASC                        Transpedicular Dcmprn Spinal Cord…    4/12/2021   63056     $6,300.00
1070371-03    S.D.                   Triborough ASC                        Njx Anes&/Strd W/Img Tfrml Edrl L… 4/12/2021      64483      $750.00
1070371-03    S.D.                   Triborough ASC                         Fluor Needle/Cath Spine/Paraspina…   4/12/2021   77003      $225.00
1070371-03    S.D.                   Triborough ASC                             Glucose Blood Reagent Strip…     4/12/2021   82948       $20.00
1070371-03    S.D.                   Triborough ASC                       New Cpt Code 99072 Was Establishe… 4/12/2021       99072      $200.00
1070371-03    S.D.                   Triborough ASC                        Injection, Dexamethasone Sodium P…    4/12/2021   J1100       $52.64
1070371-03    S.D.                   Triborough ASC                                  Unclassified Drugs…         4/12/2021   J3490       $40.64
1070371-03    S.D.                   Triborough ASC                        Low Osmolar Contrast Material, 10…    4/12/2021   Q9965       $13.90
1071012-02    M.M.          New Horizon Surgical Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    12/7/2019   62323      $976.38
1071012-02    M.M.          New Horizon Surgical Center LLC                         Epidurograpy Rs&I…           12/7/2019   72275      $572.53
1071012-02    M.M.              Hudson Regional Hospital                      Radiologic Exam Chest 2 Views…     12/9/2019   71046      $541.40
1071012-02    M.M.              Hudson Regional Hospital                      Comprehensive Metabolic Panel…     12/9/2019   80053      $150.00
1071012-02    M.M.              Hudson Regional Hospital                   Drug Tst Prsmv Instrmnt Chem Anal…    12/9/2019   80307      $359.15
1071012-02    M.M.              Hudson Regional Hospital                   Drug Screen Quant Amphetamines 1 … 12/9/2019      80324      $269.37
1071012-02    M.M.              Hudson Regional Hospital                     Antidepressants Serotonergic Clas…  12/9/2019   80332      $269.37
1071012-02    M.M.              Hudson Regional Hospital                     Antidepressants Tricyclic Other C…  12/9/2019   80335      $270.31
1071012-02    M.M.              Hudson Regional Hospital                        Drug Screening Barbiturates…     12/9/2019   80345      $269.37
1071012-02    M.M.              Hudson Regional Hospital                   Drug Screening Benzodiazepines 1-…    12/9/2019   80346      $269.37
1071012-02    M.M.              Hudson Regional Hospital                       Drug Screening Buprenorphine…     12/9/2019   80348      $269.37
1071012-02    M.M.              Hudson Regional Hospital                          Drug Screening Fentanyl…       12/9/2019   80354      $269.37
1071012-02    M.M.              Hudson Regional Hospital                   Drug Screening Gabapentin Non-Blo…    12/9/2019   80355      $269.37
1071012-02    M.M.              Hudson Regional Hospital                     Drug Screening Heroin Metabolite…   12/9/2019   80356      $269.37
1071012-02    M.M.              Hudson Regional Hospital                        Drug Screening Methadone…        12/9/2019   80358      $269.37
1071012-02    M.M.              Hudson Regional Hospital                  Drug Screening Methylenedioxyamph… 12/9/2019       80359      $269.37
1071012-02    M.M.              Hudson Regional Hospital                      Drug Screening Methylphenidate…    12/9/2019   80360      $269.37
1071012-02    M.M.              Hudson Regional Hospital                    Drug Screening Opiates 1 Or More…    12/9/2019   80361      $538.74
1071012-02    M.M.              Hudson Regional Hospital                   Drug Screening Opioids And Opiate…    12/9/2019   80362      $537.74
1071012-02    M.M.              Hudson Regional Hospital                        Drug Screening Oxycodone…        12/9/2019   80365      $269.37
1071012-02    M.M.              Hudson Regional Hospital                         Drug Screening Pregabalin…      12/9/2019   80366      $269.37
1071012-02    M.M.              Hudson Regional Hospital                   Drug Screening Sedative Hypnotics…    12/9/2019   80368      $269.37
1071012-02    M.M.              Hudson Regional Hospital                   Drug Screening Skeletal Muscle Re…    12/9/2019   80369      $269.37
1071012-02    M.M.              Hudson Regional Hospital                        Drug Screening Tapentadol…       12/9/2019   80372      $269.37
1071012-02    M.M.              Hudson Regional Hospital                         Drug Screening Tramadol…        12/9/2019   80373      $269.37
1071012-02    M.M.              Hudson Regional Hospital                    Urnls Dip Stick/Tablet Reagent Au…   12/9/2019   81001      $134.00
1071012-02    M.M.              Hudson Regional Hospital                      Hemoglobin Glycosylated A1C…       12/9/2019   83036       $66.70
1071012-02    M.M.              Hudson Regional Hospital                    Gonadotropin Chorionic Qualitativ…   12/9/2019   84703       $51.65
1071012-02    M.M.              Hudson Regional Hospital                  Blood Count Complete Auto&Auto Di… 12/9/2019       85025      $147.00
1071012-02    M.M.              Hudson Regional Hospital                             Prothrombin Time…           12/9/2019   85610      $143.00
1071012-02    M.M.              Hudson Regional Hospital                   Thromboplastin Time Partial Plasm…    12/9/2019   85730      $147.00
1071012-02    M.M.              Hudson Regional Hospital                   Antibody Screen Rbc Each Serum Te…    12/9/2019   86850      $105.80
1071012-02    M.M.              Hudson Regional Hospital                        Blood Typing Serologic Abo…      12/9/2019   86900      $498.84
1071012-02    M.M.              Hudson Regional Hospital                      Blood Typing Serologic Rh (D)…     12/9/2019   86901       $56.95
1071012-02    M.M.              Hudson Regional Hospital                     Iadna S Aureus Methicillin Resist…  12/9/2019   87641      $241.40
1071012-02    M.M.              Hudson Regional Hospital                   Ecg Routine Ecg W/Least 12 Lds Tr…    12/9/2019   93005      $323.70
1071012-02    M.M.              Hudson Regional Hospital                 Echo Tthrc R-T 2D W/Wom-Mode Comp… 12/9/2019        93306     $5,074.90
1071012-02    M.M.              Hudson Regional Hospital                      Comprehensive Metabolic Panel…     8/31/2020   80053      $150.00
1071012-02    M.M.              Hudson Regional Hospital                   Drug Tst Prsmv Instrmnt Chem Anal…    8/31/2020   80307      $359.15
1071012-02    M.M.              Hudson Regional Hospital                   Drug Screen Quant Amphetamines 1 … 8/31/2020      80324      $269.37
1071012-02    M.M.              Hudson Regional Hospital                     Antidepressants Serotonergic Clas…  8/31/2020   80332      $269.37
1071012-02    M.M.              Hudson Regional Hospital                     Antidepressants Tricyclic Other C…  8/31/2020   80335      $270.31
1071012-02    M.M.              Hudson Regional Hospital                        Drug Screening Barbiturates…     8/31/2020   80345      $269.37
1071012-02    M.M.              Hudson Regional Hospital                   Drug Screening Benzodiazepines 1-…    8/31/2020   80346      $269.37
1071012-02    M.M.              Hudson Regional Hospital                       Drug Screening Buprenorphine…     8/31/2020   80348      $269.37
1071012-02    M.M.              Hudson Regional Hospital                          Drug Screening Fentanyl…       8/31/2020   80354      $269.37
1071012-02    M.M.              Hudson Regional Hospital                   Drug Screening Gabapentin Non-Blo…    8/31/2020   80355      $269.37
1071012-02    M.M.              Hudson Regional Hospital                     Drug Screening Heroin Metabolite…   8/31/2020   80356      $269.37
1071012-02    M.M.              Hudson Regional Hospital                        Drug Screening Methadone…        8/31/2020   80358      $269.37
1071012-02    M.M.              Hudson Regional Hospital                  Drug Screening Methylenedioxyamph… 8/31/2020       80359      $269.37
1071012-02    M.M.              Hudson Regional Hospital                      Drug Screening Methylphenidate…    8/31/2020   80360      $269.37
1071012-02    M.M.              Hudson Regional Hospital                    Drug Screening Opiates 1 Or More…    8/31/2020   80361      $538.74
1071012-02    M.M.              Hudson Regional Hospital                   Drug Screening Opioids And Opiate…    8/31/2020   80362      $537.74
1071012-02    M.M.              Hudson Regional Hospital                        Drug Screening Oxycodone…        8/31/2020   80365      $269.37
1071012-02    M.M.              Hudson Regional Hospital                         Drug Screening Pregabalin…      8/31/2020   80366      $269.37
1071012-02    M.M.              Hudson Regional Hospital                   Drug Screening Sedative Hypnotics…    8/31/2020   80368      $269.37

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1071012-02    M.M.              Hudson Regional Hospital                    Drug Screening Skeletal Muscle Re…   8/31/2020   80369      $269.37
1071012-02    M.M.              Hudson Regional Hospital                        Drug Screening Tapentadol…       8/31/2020   80372      $269.37
1071012-02    M.M.              Hudson Regional Hospital                         Drug Screening Tramadol…        8/31/2020   80373      $269.37
1071012-02    M.M.              Hudson Regional Hospital                    Urnls Dip Stick/Tablet Reagent Au…   8/31/2020   81001      $134.00
1071012-02    M.M.              Hudson Regional Hospital                      Hemoglobin Glycosylated A1C…       8/31/2020   83036       $66.70
1071012-02    M.M.              Hudson Regional Hospital                    Gonadotropin Chorionic Qualitativ…   8/31/2020   84703       $51.65
1071012-02    M.M.              Hudson Regional Hospital                  Blood Count Complete Auto&Auto Di… 8/31/2020       85025      $147.00
1071012-02    M.M.              Hudson Regional Hospital                             Prothrombin Time…           8/31/2020   85610      $143.00
1071012-02    M.M.              Hudson Regional Hospital                    Thromboplastin Time Partial Plasm…   8/31/2020   85730      $147.00
1071012-02    M.M.              Hudson Regional Hospital                   Antibody Screen Rbc Each Serum Te…    8/31/2020   86850      $105.80
1071012-02    M.M.              Hudson Regional Hospital                       Blood Typing Serologic Abo…       8/31/2020   86900      $498.84
1071012-02    M.M.              Hudson Regional Hospital                      Blood Typing Serologic Rh (D)…     8/31/2020   86901       $56.95
1071012-02    M.M.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…   8/31/2020   87635     $1,200.00
1071012-02    M.M.              Hudson Regional Hospital                     Iadna S Aureus Methicillin Resist…  8/31/2020   87641      $241.40
1071012-02    M.M.              Hudson Regional Hospital                   Ecg Routine Ecg W/Least 12 Lds Tr…    8/31/2020   93005      $323.70
1071012-02    M.M.              Hudson Regional Hospital                 Echo Tthrc R-T 2D W/Wom-Mode Comp… 8/31/2020        93306     $5,074.90
1070461-02    W.R.        All City Family Healthcare Center, Inc.                   Tissue Grafts Other…        11/20/2019   20926     $1,040.79
1070461-02    W.R.        All City Family Healthcare Center, Inc.             Tenodesis Long Tendon Biceps…     11/20/2019   23430     $3,760.88
1070461-02    W.R.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Dx W/Wo Syno… 11/20/2019      29805     $1,472.45
1070461-02    W.R.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec… 11/20/2019     29821     $1,472.45
1070461-02    W.R.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…  11/20/2019   29823     $1,472.45
1070461-02    W.R.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Distal Clavi…  11/20/2019   29824     $1,472.45
1070461-02    W.R.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 11/20/2019     29826     $1,472.45
1070461-02    W.R.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …  11/20/2019   64415      $979.78
1070461-02    W.R.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img … 11/20/2019     76942      $341.96
1070461-02    W.R.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/11/2019   62321      $863.63
1070461-02    W.R.                     SCOB LLC                                     Epidurograpy Rs&I…          12/11/2019   72275      $572.53
1070461-02    W.R.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…   1/3/2020   20553      $473.39
1070461-02    W.R.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/3/2020   62323      $863.63
1070461-02    W.R.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  1/13/2020   20553      $473.39
1070461-02    W.R.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/13/2020   62321      $863.63
1070461-02    W.R.                     SCOB LLC                                     Epidurograpy Rs&I…           1/13/2020   72275      $572.53
1070461-04    Y.L.        All City Family Healthcare Center, Inc.           Arthrocentesis Aspir&/Inj Major J…  11/13/2019   20610      $236.69
1070461-04    Y.L.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Diagnostic W/Wo … 11/13/2019     29870     $1,472.45
1070461-04    Y.L.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 11/13/2019     29875     $1,472.45
1070461-04    Y.L.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 11/13/2019      29880     $3,026.24
1070461-04    Y.L.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For … 11/13/2019   G0289     $1,472.45
1070461-04    Y.L.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  12/6/2019   20553      $473.39
1070461-04    Y.L.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/6/2019   62321      $863.63
1070461-04    Y.L.                     SCOB LLC                                     Epidurograpy Rs&I…           12/6/2019   72275      $572.53
1070461-04    Y.L.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…   1/6/2020   20553      $473.39
1070461-04    Y.L.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/6/2020   62323      $863.63
1070461-04    Y.L.                     SCOB LLC                                     Epidurograpy Rs&I…            1/6/2020   72275      $572.53
1070461-04    Y.L.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  1/13/2020   20553      $473.39
1070461-04    Y.L.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/13/2020   62321      $863.63
1070461-04    Y.L.                     SCOB LLC                                     Epidurograpy Rs&I…           1/13/2020   72275      $572.53
1068692-01    J.V.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 12/11/2020     29875     $1,472.45
1068692-01    J.V.        All City Family Healthcare Center, Inc.         Arthrs Kne Surg W/Meniscectomy Me… 12/11/2020      29881     $3,026.24
1068692-01    J.V.        All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…   12/11/2020   29999     $1,472.45
1068692-01    J.V.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…   12/11/2020   A4649       $72.00
1068692-01    J.V.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    1/4/2021   62321      $976.38
1069741-02    P.N.                     SCOB LLC                            Arthroscopy Shoulder Surg Synovec… 10/16/2020     29820     $5,677.77
1069741-02    P.N.                     SCOB LLC                            Arthroscopy Shoulder W/Coracoacrm… 10/16/2020     29826     $2,944.87
1069741-02    P.N.                     SCOB LLC                               Unlisted Procedure Arthroscopy…   10/16/2020   29999     $2,944.87
1069741-02    P.N.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…   3/2/2021   20552      $236.69
1069741-02    P.N.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/2/2021   62323      $976.38
1069741-02    P.N.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…            3/2/2021   72275      $572.53
1069741-02    P.N.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …     3/2/2021   76942      $341.96
1069741-02    P.N.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…    3/2/2021   87635       $51.33
1069741-02    P.N.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…     3/2/2021   A4649       $50.00
1069741-02    P.N.        All City Family Healthcare Center, Inc.           Perq Intrdscl Electrothrm Annulop…   3/11/2021   22526     $2,605.78
1069741-02    P.N.        All City Family Healthcare Center, Inc.          Dcmprn Perq Nucleus Pulposus 1/> …    3/11/2021   62287     $5,292.93
1069741-02    P.N.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…    3/11/2021   A4649       $72.00
1068535-01    S.C.              CHC Surgical Center LLC                     Perq Intrdscl Electrothrm Annulop…  12/28/2019   22526     $2,605.78
1068535-01    S.C.              CHC Surgical Center LLC                     Perq Intrdscl Electrothrm Annulop…  12/28/2019   22527     $2,605.78
1068535-01    S.C.              CHC Surgical Center LLC                    Dcmprn Perq Nucleus Pulposus 1/> … 12/28/2019     62287     $5,292.93
1068535-01    S.C.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/26/2020   62323      $976.38
1068535-01    S.C.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…           1/26/2020   72275      $572.52

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                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                          Provider                                     Service
 Number      Person                                                                                              Service     Code       Billed
1068535-01    S.C.           Rockaways ASC Development LLC                Arthrocentesis Aspir&/Inj Major J…     2/26/2020   20610      $554.75
1068535-01    S.C.           Rockaways ASC Development LLC                Arthroscopy Shoulder Surgical Rep…     2/26/2020   29807     $5,677.77
1068535-01    S.C.           Rockaways ASC Development LLC               Arthroscopy Shoulder Surgical Rem…      2/26/2020   29819     $1,513.12
1068535-01    S.C.           Rockaways ASC Development LLC               Arthroscopy Shoulder Surg Synovec…      2/26/2020   29821     $1,513.12
1068535-01    S.C.           Rockaways ASC Development LLC                Arthroscopy Shoulder Surg Debride…     2/26/2020   29823     $1,513.12
1068535-01    S.C.           Rockaways ASC Development LLC                Arthroscopy Shoulder Ahesiolysis …     2/26/2020   29825     $1,513.12
1068535-01    S.C.           Rockaways ASC Development LLC                  Unlisted Procedure Arthroscopy…      2/26/2020   29999     $1,513.12
1068657-01    Y.M.              Healthplus Surgery Center LLC              Injection Single/Mlt Trigger Poin…   11/13/2019   20553      $473.39
1068657-01    Y.M.              Healthplus Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/13/2019   64493     $1,458.32
1068657-01    Y.M.              Healthplus Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/13/2019   64494     $1,342.62
1068657-01    Y.M.              Healthplus Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/13/2019   64495     $1,342.62
1068657-01    Y.M.              Healthplus Surgery Center LLC              Injection Single/Mlt Trigger Poin…   11/20/2019   20553      $473.39
1068657-01    Y.M.              Healthplus Surgery Center LLC              Inject Si Joint Arthrgrphy&/Anes/…   11/20/2019   27096      $859.05
1068657-01    Y.M.              Healthplus Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/20/2019   64493     $1,458.32
1068657-01    Y.M.              Healthplus Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/20/2019   64494     $1,342.62
1068657-01    Y.M.              Healthplus Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/20/2019   64495     $1,342.62
1068657-01    Y.M.                       SCOB LLC                        Arthroscopy Shoulder Surg Synovec…      12/4/2019   29821     $2,944.87
1068657-01    Y.M.                       SCOB LLC                         Arthroscopy Shoulder Surg Debride…     12/4/2019   29823     $3,060.57
1068657-01    Y.M.                       SCOB LLC                         Arthroscopy Shoulder Ahesiolysis …     12/4/2019   29825     $2,944.87
1068657-01    Y.M.                       SCOB LLC                           Unlisted Procedure Arthroscopy…      12/4/2019   29999     $2,944.87
1068657-01    Y.M.           Rockaways ASC Development LLC                Manipulation Spine Requiring Anes…     1/17/2020   22505     $1,577.52
1068657-01    Y.M.           Rockaways ASC Development LLC               Clsd Tx Pelvic Ring Fx W/Manipula…      1/17/2020   27198      $893.24
1068657-01    Y.M.           Rockaways ASC Development LLC                Manipulation Hip Joint General An…     1/17/2020   27275     $1,577.52
1068657-01    Y.M.           Rockaways ASC Development LLC                Manipulation Hip Joint General An…     1/17/2020   27275     $1,577.52
1068657-01    Y.M.           Rockaways ASC Development LLC                Manipulation Spine Requiring Anes…     1/25/2020   22505     $1,577.52
1068657-01    Y.M.           Rockaways ASC Development LLC               Clsd Tx Pelvic Ring Fx W/Manipula…      1/25/2020   27198      $893.24
1068657-01    Y.M.           Rockaways ASC Development LLC                Manipulation Hip Joint General An…     1/25/2020   27275     $1,577.52
1068657-01    Y.M.           Rockaways ASC Development LLC                Manipulation Hip Joint General An…     1/25/2020   27275     $1,577.52
1068739-02    P.J.          All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulop…    12/13/2019   22526     $2,605.78
1068739-02    P.J.          All City Family Healthcare Center, Inc.      Dcmprn Perq Nucleus Pulposus 1/> …     12/13/2019   62287     $5,292.93
1068739-02    P.J.                Bergenfield Surgical Center              Injection Single/Mlt Trigger Poin…    8/12/2020   20552      $554.74
1068739-02    P.J.                Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/12/2020   64490     $1,186.02
1068739-02    P.J.                Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/12/2020   64490     $1,186.02
1068739-02    P.J.                Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/12/2020   64491      $555.95
1068739-02    P.J.                Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/12/2020   64491      $555.95
1068739-02    P.J.                Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/12/2020   64492      $555.95
1068739-02    P.J.                Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/12/2020   64492      $555.95
1068739-02    P.J.                Bergenfield Surgical Center                         Surgical Trays…            8/12/2020   A4550      $750.00
1070415-04    D.G.                Global Surgery Center LLC               Arthrocentesis Aspir&/Inj Major J…      2/7/2020   20610     $1,518.48
1070415-04    D.G.                Global Surgery Center LLC              Arthroscopy Shoulder Surg Synovec…       2/7/2020   29821     $1,472.44
1070415-04    D.G.                Global Surgery Center LLC               Arthroscopy Shoulder Surg Debride…      2/7/2020   29823     $5,677.77
1070415-04    D.G.                Global Surgery Center LLC               Arthroscopy Shoulder Ahesiolysis …      2/7/2020   29825     $1,472.44
1070415-04    D.G.                Global Surgery Center LLC                 Unlisted Procedure Arthroscopy…       2/7/2020   29999     $1,472.44
1070415-04    D.G.            New Horizon Surgical Center LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      3/7/2020   62322      $976.38
1070415-04    D.G.            New Horizon Surgical Center LLC                      Epidurograpy Rs&I…             3/7/2020   72275      $572.53
1068190-03    Y.W.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surg Synovec…       1/6/2020   29821     $5,677.77
1068190-03    Y.W.         Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder Surg Debride…      1/6/2020   29823     $1,472.45
1068190-03    Y.W.         Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder Ahesiolysis …      1/6/2020   29825     $1,472.45
1068190-03    Y.W.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder W/Coracoacrm…       1/6/2020   29826     $1,472.45
1068190-03    Y.W.         Bronx SC LLC d/b/a Empire State ASC            Single Nerve Block Injection Arm …      1/6/2020   64415      $979.78
1068190-03    Y.W.         Bronx SC LLC d/b/a Empire State ASC           Us Guidance Needle Placement Img …       1/6/2020   76942      $341.96
1068190-03    Y.W.         Health East Ambulatory Surgical Center         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/5/2020   64493     $1,518.48
1068190-03    Y.W.         Health East Ambulatory Surgical Center         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/5/2020   64493     $1,518.48
1068190-03    Y.W.         Health East Ambulatory Surgical Center         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/5/2020   64494      $533.92
1068190-03    Y.W.         Health East Ambulatory Surgical Center         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/5/2020   64494      $759.18
1068190-03    Y.W.         Health East Ambulatory Surgical Center         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/5/2020   64495      $533.92
1068190-03    Y.W.         Health East Ambulatory Surgical Center         Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/5/2020   64495      $759.24
1068190-03    Y.W.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     9/25/2020   64493      $976.38
1068190-03    Y.W.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     9/25/2020   64494      $447.52
1068190-03    Y.W.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…      9/25/2020   A4649       $50.00
1068190-03    Y.W.     NYEEQASC LLC d/b/a North Queens Surgical Center    Dstr Nrolytc Agnt Parverteb Fct S…    10/23/2020   64635      $976.38
1068190-03    Y.W.     NYEEQASC LLC d/b/a North Queens Surgical Center    Dstr Nrolytc Agnt Parverteb Fct A…    10/23/2020   64636      $447.52
1068190-03    Y.W.     NYEEQASC LLC d/b/a North Queens Surgical Center    Dstr Nrolytc Agnt Parverteb Fct A…    10/23/2020   64636      $447.52
1068190-03    Y.W.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…     10/23/2020   A4649       $50.00
1069210-02    E.A.              Healthplus Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/7/2019   62323      $863.63
1069210-02    E.A.              Healthplus Surgery Center LLC                      Epidurograpy Rs&I…            11/7/2019   72275      $572.53
1069210-02    E.A.               Surgicore of Jersey City LLC             Manipulation Spine Requiring Anes…    11/11/2019   22505     $1,577.52
1069210-02    E.A.               Surgicore of Jersey City LLC            Clsd Tx Pelvic Ring Fx W/Manipula…     11/11/2019   27198      $405.94

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                                                           1901
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1069210-02    E.A.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/6/2019   62321      $863.63
1069210-02    E.A.                       SCOB LLC                                Epidurograpy Rs&I…           12/6/2019   72275      $572.53
1069522-01    D.C.          All City Family Healthcare Center, Inc.       Arthrocentesis Aspir&/Inj Major J…  7/24/2020   20610      $473.38
1069522-01    D.C.          All City Family Healthcare Center, Inc.     Manj W/Anes Shoulder Joint W/Fixa…    7/24/2020   23700      $748.08
1069522-01    D.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surgical Cap…   7/24/2020   29806     $2,798.20
1069522-01    D.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surgical Rem…   7/24/2020   29819     $1,472.45
1069522-01    D.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Synovec…   7/24/2020   29821     $2,798.20
1069522-01    D.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…   7/24/2020   29823     $1,472.45
1069522-01    D.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …   7/24/2020   29825     $1,472.45
1069522-01    D.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Rotator Cuff…   7/24/2020   29827     $5,677.77
1069522-01    D.C.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…    7/24/2020   29999     $1,472.45
1069522-01    D.C.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …   7/24/2020   64415      $979.78
1069522-01    D.C.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …    7/24/2020   76942      $341.96
1069522-01    D.C.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    7/24/2020   A4649       $72.00
1069522-01    D.C.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/22/2021   62321      $976.38
1069522-01    D.C.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…           6/22/2021   72275      $572.52
1069522-01    D.C.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…  7/27/2021   22526     $2,646.47
1069522-01    D.C.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …   7/27/2021   62287     $5,292.93
1069522-01    D.C.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 7/27/2021      E0650      $531.06
1069522-01    D.C.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    7/27/2021   E0666       $89.56
1069522-01    D.C.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/30/2021   62323      $976.38
1069522-01    D.C.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…           9/30/2021   72275      $572.52
1069676-01    E.I.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/4/2019   62323      $976.38
1069676-01    E.I.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…           12/4/2019   72275      $572.52
1069676-01    E.I.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  12/18/2019   62323      $976.38
1069676-01    E.I.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…  1/15/2020   22526     $2,646.47
1069676-01    E.I.            Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …   1/15/2020   62287     $5,292.93
1069676-01    E.I.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…   1/23/2020   29821     $5,677.77
1069676-01    E.I.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…   1/23/2020   29823     $1,472.45
1069676-01    E.I.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …   1/23/2020   29825     $1,472.45
1069676-01    E.I.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …   1/23/2020   64415      $979.78
1069676-01    E.I.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …    1/23/2020   76942      $341.96
1069676-01    E.I.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/3/2020   62321      $976.38
1069676-01    E.I.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…           12/3/2020   72275      $572.52
1068950-01    R.Y.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee Synovectomy Limi… 7/14/2021      29875     $1,472.45
1068950-01    R.Y.         Bronx SC LLC d/b/a Empire State ASC         Arthrs Knee W/Meniscectomy Med&La… 7/14/2021       29880     $3,026.24
1068950-01    R.Y.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee W/Lysis Adhesion… 7/14/2021      29884     $1,472.45
1068950-01    R.Y.         Bronx SC LLC d/b/a Empire State ASC             Unlisted Procedure Arthroscopy…    7/14/2021   29999     $1,472.45
1068950-01    R.Y.         Bronx SC LLC d/b/a Empire State ASC             Surgical Supply; Miscellaneous…    7/14/2021   A4649       $50.00
1068950-01    R.Y.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee Synovectomy Limi… 11/10/2021     29875     $1,472.45
1068950-01    R.Y.         Bronx SC LLC d/b/a Empire State ASC         Arthrs Knee W/Meniscectomy Med&La… 11/10/2021      29880     $3,026.24
1068950-01    R.Y.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Knee W/Lysis Adhesion… 11/10/2021     29884     $1,472.45
1068950-01    R.Y.         Bronx SC LLC d/b/a Empire State ASC             Unlisted Procedure Arthroscopy…   11/10/2021   29999     $1,472.45
1068950-01    R.Y.         Bronx SC LLC d/b/a Empire State ASC            Arthroscopy, Knee, Surgical, For … 11/10/2021   g0289     $1,472.45
1068950-01    R.Y.                 Avicenna Surgery Center               Arthroscopy Shoulder Surg Debride…  10/26/2022   29823     $3,029.95
1068950-01    R.Y.                 Avicenna Surgery Center                 Unlisted Procedure Arthroscopy…   10/26/2022   29999     $3,029.95
1067884-03    P.D.                 Avicenna Surgery Center                Injection Single/Mlt Trigger Poin… 11/20/2019   20553      $554.74
1067884-03    P.D.                 Avicenna Surgery Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  11/20/2019   62321      $976.38
1067884-03    P.D.                 Avicenna Surgery Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/11/2019   62321      $976.38
1067884-03    P.D.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy Limi… 1/10/2020      29875     $3,026.24
1067884-03    P.D.               Surgicore of Jersey City LLC          Arthrs Kne Surg W/Meniscectomy Me… 1/10/2020       29881     $1,472.45
1067884-03    P.D.               Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …  1/10/2020   G0289     $1,472.45
1067884-03    P.D.                 Avicenna Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/19/2020   62323      $976.38
1067884-03    P.D.                 Avicenna Surgery Center                       Epidurograpy Rs&I…           2/19/2020   72275      $572.52
1067884-03    P.D.                 Avicenna Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/9/2020   62323      $976.38
1067884-03    P.D.                 Avicenna Surgery Center                       Epidurograpy Rs&I…            9/9/2020   72275      $572.52
1068826-03    G.C.                       AMSC LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/27/2020   62321      $976.38
1068826-03    G.C.                       AMSC LLC                                Epidurograpy Rs&I…           2/27/2020   72275      $572.52
1068826-03    G.C.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/18/2020   62323      $829.30
1068826-03    G.C.                       SCOB LLC                        Immunoassay For Infectious Agent …   6/18/2020   86328      $199.00
1068826-03    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…  9/30/2020   22526     $2,605.78
1068826-03    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …     9/30/2020   62287     $5,292.93
1068826-03    G.C.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    9/30/2020   A4649       $50.00
1067432-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Wrst Exc&/Rpr Triang Fibro…     2/13/2020   29846     $3,026.24
1067432-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…     3/25/2021   29823     $3,026.24
1067432-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 3/25/2021       29826     $1,472.45
1067432-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …   3/25/2021   64415      $979.78
1067432-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …     3/25/2021   76942      $341.96

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                                                           1902
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1067432-01    M.P.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    3/25/2021   A4649       $50.00
1067432-01    M.P.                      Good Medica Inc                 Pneumatic Compressor, Nonsegmenta… 3/25/2021      E0650      $531.06
1067432-01    M.P.                      Good Medica Inc                 Nonsegmental Pneumatic Appliance …    3/25/2021   E0666       $89.56
1067482-01    L.A.          Rockland & Bergen Surgery Center LLC         Arthroscopy Shoulder Surg Synovec…   1/17/2020   29821     $5,677.77
1067482-01    L.A.          Rockland & Bergen Surgery Center LLC         Arthroscopy Shoulder Surg Debride…   1/17/2020   29823     $1,472.45
1067482-01    L.A.          Rockland & Bergen Surgery Center LLC        Arthroscopy Shoulder W/Coracoacrm… 1/17/2020      29826     $1,472.45
1067482-01    L.A.          Rockland & Bergen Surgery Center LLC         Single Nerve Block Injection Arm …   1/17/2020   64415      $979.78
1067482-01    L.A.          Rockland & Bergen Surgery Center LLC        Us Guidance Needle Placement Img …    1/17/2020   76942      $341.96
1067482-01    L.A.             Island Ambulatory Surgery Center           Perq Intrdscl Electrothrm Annulop… 12/17/2020   22526     $2,646.47
1067482-01    L.A.             Island Ambulatory Surgery Center           Perq Intrdscl Electrothrm Annulop… 12/17/2020   22527     $2,646.47
1067482-01    L.A.             Island Ambulatory Surgery Center          Dcmprn Perq Nucleus Pulposus 1/> … 12/17/2020    62287     $5,292.93
1068393-01    N.K.                 Bergenfield Surgical Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/13/2019   62323     $1,012.32
1068393-01    N.K.                 Bergenfield Surgical Center                   Epidurograpy Rs&I…          11/13/2019   72275      $572.52
1068393-01    N.K.                 Bergenfield Surgical Center                      Surgical Trays…          11/13/2019   A4550      $750.00
1068393-01    N.K.          All City Family Healthcare Center, Inc.     Manj W/Anes Shoulder Joint W/Fixa… 12/23/2019     23700      $748.08
1068393-01    N.K.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Synovec… 12/23/2019    29821     $1,472.45
1068393-01    N.K.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…  12/23/2019   29823     $3,026.24
1068393-01    N.K.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 12/23/2019     29826     $1,472.45
1068393-01    N.K.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …  12/23/2019   64415      $979.78
1068393-01    N.K.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img … 12/23/2019     76942      $341.96
1068393-01    N.K.                 Bergenfield Surgical Center            Injection Single/Mlt Trigger Poin…   3/6/2020   20552      $554.74
1068393-01    N.K.                 Bergenfield Surgical Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/6/2020   62321     $1,012.32
1068393-01    N.K.                 Bergenfield Surgical Center                   Epidurograpy Rs&I…            3/6/2020   72275      $572.52
1068393-01    N.K.                 Bergenfield Surgical Center                      Surgical Trays…            3/6/2020   A4550      $750.00
1066900-01    G.F.                        SCOB LLC                        Injection Single/Mlt Trigger Poin… 12/23/2019   20553      $473.39
1066900-01    G.F.                        SCOB LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  12/23/2019   62323      $863.63
1066900-01    G.F.                        SCOB LLC                               Epidurograpy Rs&I…          12/23/2019   72275      $572.53
1066900-01    G.F.            Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…   1/22/2020   22505     $1,577.52
1066900-01    G.F.            Rockaways ASC Development LLC             Manj W/Anes Shoulder Joint W/Fixa…    1/22/2020   23700     $1,577.52
1066900-01    G.F.            Rockaways ASC Development LLC             Manj W/Anes Shoulder Joint W/Fixa…    1/22/2020   23700     $1,577.52
1066900-01    G.F.            Rockaways ASC Development LLC             Clsd Tx Pelvic Ring Fx W/Manipula…    1/22/2020   27198      $893.24
1066900-01    G.F.            Rockaways ASC Development LLC              Manipulation Hip Joint General An…   1/22/2020   27275     $1,577.52
1066900-01    G.F.         Ambulatory Surgical Center of Englewood      Arthroscopy Knee Diagnostic W/Wo … 2/12/2020      29870       $78.97
1066900-01    G.F.         Ambulatory Surgical Center of Englewood      Arthroscopy Knee Diagnostic W/Wo … 2/12/2020      29870     $1,272.72
1066900-01    G.F.         Ambulatory Surgical Center of Englewood      Arthroscopy Knee Synovectomy 2/>C… 2/12/2020      29876     $1,792.29
1066900-01    G.F.         Ambulatory Surgical Center of Englewood      Arthrs Knee Debridement/Shaving A…    2/12/2020   29877     $1,694.19
1066900-01    G.F.         Ambulatory Surgical Center of Englewood     Arthrs Kne Surg W/Meniscectomy Me… 2/12/2020       29881     $3,531.15
1066900-01    G.F.         Ambulatory Surgical Center of Englewood       Nonemergency Transportation; Taxi…   2/12/2020   A0100      $300.00
1066900-01    G.F.         Ambulatory Surgical Center of Englewood         Surgical Supply; Miscellaneous…    2/12/2020   A4649     $1,500.00
1067356-02    C.F.          Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder Surg Debride…  11/11/2019   29823     $3,026.24
1067356-02    C.F.          Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Distal Clavi… 11/11/2019   29824     $1,472.45
1067356-02    C.F.          Bronx SC LLC d/b/a Empire State ASC         Arthroscopy Shoulder W/Coracoacrm… 11/11/2019     29826     $1,472.45
1067356-02    C.F.             Island Ambulatory Surgery Center           Perq Intrdscl Electrothrm Annulop… 12/15/2020   22526     $2,646.47
1067356-02    C.F.             Island Ambulatory Surgery Center          Dcmprn Perq Nucleus Pulposus 1/> … 12/15/2020    62287     $5,292.93
1068651-02    D.G.                Surgicore of Jersey City LLC                  Claviculectomy Partial…      10/10/2019   23120     $1,839.77
1068651-02    D.G.                Surgicore of Jersey City LLC           Open Tx Acromioclavicular Dislc A… 10/10/2019    23550     $4,869.06
1068651-02    D.G.                Surgicore of Jersey City LLC           Single Nerve Block Injection Arm …  10/10/2019   64415      $979.78
1068651-02    D.G.                Surgicore of Jersey City LLC           Fluoroscopy Up To 1 Hour Physicia… 10/10/2019    76000      $412.24
1068651-02    D.G.                Surgicore of Jersey City LLC          Us Guidance Needle Placement Img … 10/10/2019     76942      $341.96
1068651-02    D.G.                Surgicore of Jersey City LLC          Arthroscopy Knee Synovectomy Limi… 12/2/2021      29875     $1,472.45
1068651-02    D.G.                Surgicore of Jersey City LLC         Arthrs Knee W/Meniscectomy Med&La… 12/2/2021       29880     $3,026.24
1068651-02    D.G.                Surgicore of Jersey City LLC           Infectious Agent Detection By Nuc…   12/2/2021   87635       $51.33
1068651-02    D.G.                Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical, For …  12/2/2021   G0289     $1,472.45
1068651-02    D.G.                Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…  12/2/2021   L8699      $195.00
1068651-02    D.G.                      Good Medica Inc                 Pneumatic Compressor, Nonsegmenta… 12/2/2021      E0650      $531.06
1068651-02    D.G.                      Good Medica Inc                 Nonsegmental Pneumatic Appliance …    12/2/2021   E0666       $89.56
1068617-03    R.R.                 Global Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…   11/8/2019   29821     $1,472.44
1068617-03    R.R.                 Global Surgery Center LLC             Arthroscopy Shoulder Surg Debride…   11/8/2019   29823     $5,677.77
1068617-03    R.R.                 Global Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …   11/8/2019   29825     $1,472.44
1068617-03    R.R.                 Global Surgery Center LLC            Arthroscopy Shoulder W/Coracoacrm… 11/8/2019      29826     $1,472.44
1068617-03    R.R.          All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulop… 12/30/2019   22526     $2,605.79
1068617-03    R.R.          All City Family Healthcare Center, Inc.      Dcmprn Perq Nucleus Pulposus 1/> … 12/30/2019    62287     $5,292.93
1068617-03    R.R.          All City Family Healthcare Center, Inc.    Lamnotmy Incl W/Dcmprsn Nrv Root … 12/30/2019      63030     $2,605.78
1066772-01    J.F.                 Bergenfield Surgical Center            Injection Single/Mlt Trigger Poin… 11/22/2019   20552      $554.74
1066772-01    J.F.                 Bergenfield Surgical Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/22/2019   62323     $1,012.32
1066772-01    J.F.                 Bergenfield Surgical Center                   Epidurograpy Rs&I…          11/22/2019   72275      $572.52
1066772-01    J.F.                 Bergenfield Surgical Center                      Surgical Trays…          11/22/2019   A4550      $750.00
1066772-01    J.F.                 Bergenfield Surgical Center            Injection Single/Mlt Trigger Poin… 12/13/2019   20552      $554.74

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                                                           1903
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1066772-01    J.F.                Bergenfield Surgical Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     12/13/2019   62323      $1,012.32
1066772-01    J.F.                Bergenfield Surgical Center                    Epidurograpy Rs&I…            12/13/2019   72275       $572.52
1066772-01    J.F.                Bergenfield Surgical Center                       Surgical Trays…            12/13/2019   A4550       $750.00
1066772-01    J.F.     NYEEQASC LLC d/b/a North Queens Surgical Center  Tenotomy Shoulder Area 1 Tendon…        2/14/2020   23405      $1,839.77
1066772-01    J.F.     NYEEQASC LLC d/b/a North Queens Surgical Center  Tenotomy Shoulder Area 1 Tendon…        2/14/2020   23405      $1,839.77
1066772-01    J.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…       2/14/2020   29821      $5,677.77
1066772-01    J.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…       2/14/2020   29821      $5,677.77
1066772-01    J.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…       2/14/2020   29823      $1,472.45
1066772-01    J.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…       2/14/2020   29823      $1,472.45
1067217-01    E.C.                       AMSC LLC                        Perq Intrdscl Electrothrm Annulop…      2/4/2020   22526      $2,646.47
1067217-01    E.C.                       AMSC LLC                       Dcmprn Perq Nucleus Pulposus 1/> …       2/4/2020   62287      $5,292.93
1067217-01    E.C.                       SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       6/4/2020   64493      $1,423.99
1067217-01    E.C.                       SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       6/4/2020   64494      $1,342.62
1067217-01    E.C.                       SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       6/4/2020   64495      $1,342.62
1067217-01    E.C.                       SCOB LLC                       Immunoassay For Infectious Agent …       6/4/2020   86328       $199.00
1067217-01    E.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Dstr Nrolytc Agnt Parverteb Fct S…     7/14/2020   64635       $447.52
1067217-01    E.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Dstr Nrolytc Agnt Parverteb Fct S…     7/14/2020   64635       $976.38
1067217-01    E.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Dstr Nrolytc Agnt Parverteb Fct A…     7/14/2020   64636       $447.52
1067217-01    E.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Dstr Nrolytc Agnt Parverteb Fct A…     7/14/2020   64636       $447.52
1067217-01    E.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Dstr Nrolytc Agnt Parverteb Fct A…     7/14/2020   64636       $447.52
1067217-01    E.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Dstr Nrolytc Agnt Parverteb Fct A…     7/14/2020   64636       $447.52
1067217-01    E.C.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…      7/14/2020   A4649        $50.00
1067108-01    A.V.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…     10/18/2019   29821      $1,472.45
1067108-01    A.V.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Debride…     10/18/2019   29823      $1,472.45
1067108-01    A.V.          All City Family Healthcare Center, Inc.    Arthroscopy Shoulder W/Coracoacrm…      10/18/2019   29826      $1,472.45
1067108-01    A.V.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Biceps Tenod…     10/18/2019   29828      $5,677.77
1067108-01    A.V.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …    10/18/2019   64415       $979.78
1067108-01    A.V.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     10/18/2019   76942       $341.96
1067108-01    A.V.                      EMUSC LLC                       Anesthesia Perq Image Guided Spin…      6/25/2020    1936       $135.05
1067108-01    A.V.                      EMUSC LLC                       Dcmprn Perq Nucleus Pulposus 1/> …      6/25/2020   62287      $5,827.43
1067108-01    A.V.                      EMUSC LLC                       Probe, Percutaneous Lumbar Discec…      6/25/2020   C2614       $600.00
1067108-01    A.V.                 East Hills Surgery Center           Lam Facetectomy & Foramotomy 1 Se…       2/16/2021   63047     $24,024.00
1067017-01    A.G.            Millennium Amb Surgery Ctr LLC              Injection Single/Mlt Trigger Poin…   10/10/2019   20553       $250.00
1067017-01    A.G.            Millennium Amb Surgery Ctr LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     10/10/2019   62323      $1,266.65
1067017-01    A.G.            Millennium Amb Surgery Ctr LLC                     Epidurograpy Rs&I…            10/10/2019   72275       $600.00
1067017-01    A.G.          All City Family Healthcare Center, Inc.      Arthrocentesis Aspir&/Inj Major J…    11/15/2019   20610       $236.69
1067017-01    A.G.          All City Family Healthcare Center, Inc.     Manj W/Anes Shoulder Joint W/Fixa…     11/15/2019   23700       $748.08
1067017-01    A.G.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…     11/15/2019   29821      $1,472.45
1067017-01    A.G.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Debride…     11/15/2019   29823      $1,472.45
1067017-01    A.G.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …    11/15/2019   29825      $3,026.24
1067017-01    A.G.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…     11/15/2019   29999      $1,472.45
1067017-01    A.G.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …    11/15/2019   64415       $979.78
1067017-01    A.G.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     11/15/2019   76942       $341.96
1067733-01    E.G.              Manalapan Surgery Center Inc              Injection Single/Mlt Trigger Poin…   10/23/2019   20553       $236.69
1067733-01    E.G.              Manalapan Surgery Center Inc            Manipulation Spine Requiring Anes…     10/23/2019   22505       $748.08
1067733-01    E.G.              Manalapan Surgery Center Inc            Manj W/Anes Shoulder Joint W/Fixa…     10/23/2019   23700      $1,577.52
1067733-01    E.G.              Manalapan Surgery Center Inc              Injection Single/Mlt Trigger Poin…   10/27/2019   20553       $236.69
1067733-01    E.G.              Manalapan Surgery Center Inc            Manipulation Spine Requiring Anes…     10/27/2019   22505       $748.08
1067733-01    E.G.              Manalapan Surgery Center Inc            Manj W/Anes Shoulder Joint W/Fixa…     10/27/2019   23700      $1,577.52
1067733-01    E.G.              Manalapan Surgery Center Inc            Clsd Tx Pelvic Ring Fx W/Manipula…     10/27/2019   27198       $405.95
1067733-01    E.G.         Health East Ambulatory Surgical Center      Auto Bone Marrw Cell Rx Complt Bo…       10/8/2020   0263T      $5,500.00
1067733-01    E.G.         Health East Ambulatory Surgical Center       Arthroscopy Shoulder Surg Synovec…      10/8/2020   29820      $3,231.20
1067733-01    E.G.         Health East Ambulatory Surgical Center       Arthroscopy Shoulder Surg Debride…      10/8/2020   29822      $1,998.86
1067733-01    E.G.         Health East Ambulatory Surgical Center        Arthroscopy Shoulder Ahesiolysis …     10/8/2020   29825      $3,231.20
1067733-01    E.G.         Health East Ambulatory Surgical Center      Arthroscopy Shoulder W/Coracoacrm…       10/8/2020   29826      $6,462.39
1067733-01    E.G.         Health East Ambulatory Surgical Center       Arthroscopy Shoulder Rotator Cuff…      10/8/2020   29827      $6,462.39
1067733-01    E.G.         Health East Ambulatory Surgical Center        Single Nerve Block Injection Arm …     10/8/2020   64415      $1,000.00
1067733-01    E.G.         Health East Ambulatory Surgical Center        Injection Anes Brachial Plexus Co…     10/8/2020   64416      $1,012.32
1067733-01    E.G.         Health East Ambulatory Surgical Center      Anchor/Screw For Opposing Bone-To…       10/8/2020   C1713       $736.00
1068220-03    F.G.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/21/2019   62323       $976.38
1068220-03    F.G.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…            11/21/2019   72275       $572.52
1068220-03    F.G.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/24/2020   64493       $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/24/2020   64493       $976.38
1068220-03    F.G.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/24/2020   64494       $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/24/2020   64494       $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/24/2020   64495       $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/24/2020   64495       $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     10/24/2020   A4649        $50.00

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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1068220-03    F.G.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/7/2020   64493      $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/7/2020   64493      $976.38
1068220-03    F.G.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/7/2020   64494      $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/7/2020   64494      $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/7/2020   64495      $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/7/2020   64495      $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    11/7/2020   A4649       $50.00
1068220-03    F.G.               Surgicore of Jersey City LLC             Dstr Nrolytc Agnt Parverteb Fct S… 11/21/2020   64635      $976.38
1068220-03    F.G.               Surgicore of Jersey City LLC            Dstr Nrolytc Agnt Parverteb Fct A…  11/21/2020   64636      $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC            Dstr Nrolytc Agnt Parverteb Fct A…  11/21/2020   64636      $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…   11/21/2020   A4649       $50.00
1068220-03    F.G.               Surgicore of Jersey City LLC             Dstr Nrolytc Agnt Parverteb Fct S…  12/5/2020   64635      $976.38
1068220-03    F.G.               Surgicore of Jersey City LLC            Dstr Nrolytc Agnt Parverteb Fct A…   12/5/2020   64636      $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC            Dstr Nrolytc Agnt Parverteb Fct A…   12/5/2020   64636      $447.52
1068220-03    F.G.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    12/5/2020   A4649       $50.00
1066106-01    N.C.       Surgicore LLC d/b/a Surgicore Surgical Center    Injection Single/Mlt Trigger Poin… 11/23/2019   20553      $236.70
1066106-01    N.C.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/23/2019   62323      $976.38
1066106-01    N.C.       Surgicore LLC d/b/a Surgicore Surgical Center            Epidurograpy Rs&I…         11/23/2019   72275      $572.52
1066106-01    N.C.       Surgicore LLC d/b/a Surgicore Surgical Center    Injection Single/Mlt Trigger Poin…   1/4/2020   20553      $473.39
1066106-01    N.C.       Surgicore LLC d/b/a Surgicore Surgical Center   Perq Intrdscl Electrothrm Annulop…    1/4/2020   22526     $2,605.78
1066106-01    N.C.       Surgicore LLC d/b/a Surgicore Surgical Center  Dcmprn Perq Nucleus Pulposus 1/> …     1/4/2020   62287     $5,292.93
1066106-01    N.C.       Surgicore LLC d/b/a Surgicore Surgical Center    Injection Single/Mlt Trigger Poin…  2/29/2020   20553      $236.70
1066106-01    N.C.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/29/2020   64493      $447.52
1066106-01    N.C.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/29/2020   64493      $976.38
1066106-01    N.C.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/29/2020   64494      $447.52
1066106-01    N.C.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/29/2020   64494      $447.52
1066106-01    N.C.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/29/2020   64495      $447.52
1066106-01    N.C.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/29/2020   64495      $447.52
1066106-01    N.C.             New Horizon Surgical Center LLC            Injection Single/Mlt Trigger Poin…  3/14/2020   20553      $473.38
1066106-01    N.C.             New Horizon Surgical Center LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/14/2020   62321      $976.38
1066106-01    N.C.             New Horizon Surgical Center LLC                    Epidurograpy Rs&I…          3/14/2020   72275      $572.53
1066106-01    N.C.                Bergenfield Surgical Center           Dcmprn Perq Nucleus Pulposus 1/> …     9/9/2020   62287     $5,827.42
1066106-01    N.C.                Bergenfield Surgical Center                       Surgical Trays…            9/9/2020   A4550      $750.00
1066344-02    E.M.                  Barnert Surgical Center               Injection Single/Mlt Trigger Poin… 10/10/2019   20553      $161.46
1066344-02    E.M.                  Barnert Surgical Center              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/10/2019   62321     $1,518.48
1066344-02    E.M.                  Barnert Surgical Center               Injection Anesthetic Agent Greate… 10/10/2019   64405      $303.57
1066344-02    E.M.                  Barnert Surgical Center               Injection Anes Other Peripheral N… 10/10/2019   64450      $286.02
1066344-02    E.M.             New Horizon Surgical Center LLC           Perq Intrdscl Electrothrm Annulop…  11/21/2020   22526     $2,605.78
1066344-02    E.M.             New Horizon Surgical Center LLC           Perq Intrdscl Electrothrm Annulop…  11/21/2020   22527     $2,605.79
1066344-02    E.M.             New Horizon Surgical Center LLC          Discectomy Ant Dcmprn Cord Cervic… 11/21/2020     63075     $5,292.93
1066344-02    E.M.             New Horizon Surgical Center LLC          Discectomy Ant Dcmprn Cord Cervic… 11/21/2020     63076     $2,605.78
1066344-02    E.M.             New Horizon Surgical Center LLC             Surgical Supply; Miscellaneous…   11/21/2020   A4649       $50.00
1068038-02    J.G.                       SCOB LLC                       Arthroscopy Knee Synovectomy 2/>C… 10/15/2019     29876     $3,060.57
1068038-02    J.G.                       SCOB LLC                      Arthrs Knee W/Meniscectomy Med&La… 10/15/2019      29880     $2,944.87
1068038-02    J.G.            Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…   2/22/2020   22505     $1,577.52
1068038-02    J.G.            Rockaways ASC Development LLC             Manj W/Anes Shoulder Joint W/Fixa…    2/22/2020   23700     $1,577.52
1068038-02    J.G.            Rockaways ASC Development LLC             Clsd Tx Pelvic Ring Fx W/Manipula…    2/22/2020   27198      $893.24
1068038-02    J.G.            Rockaways ASC Development LLC              Manipulation Hip Joint General An…   2/22/2020   27275     $1,577.52
1067229-01    J.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Anes&/Strd W/Img Tfrml Edrl L…      2/7/2020   64483      $447.52
1067229-01    J.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Anes&/Strd W/Img Tfrml Edrl L…      2/7/2020   64483      $976.38
1067229-01    J.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Anes&/Strd W/Img Tfrml Edrl L…      2/7/2020   64484      $447.52
1067229-01    J.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Anes&/Strd W/Img Tfrml Edrl L…      2/7/2020   64484      $447.52
1067229-01    J.S.               Citimed Surgery Center LLC              Perq Intrdscl Electrothrm Annulop…   1/17/2022   22526     $5,211.56
1067229-01    J.S.               Citimed Surgery Center LLC             Dcmprn Perq Nucleus Pulposus 1/> …    1/17/2022   62287     $5,292.93
1067229-01    J.S.               Citimed Surgery Center LLC             Probe, Percutaneous Lumbar Discec…    1/17/2022   C2614     $1,237.50
1067229-01    J.S.               Citimed Surgery Center LLC               Injection Single/Mlt Trigger Poin…  3/29/2022   20553      $473.39
1067229-01    J.S.               Citimed Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/29/2022   62323      $976.38
1067229-01    J.S.                 Hudson Regional Hospital                Comprehensive Metabolic Panel…     3/31/2022   80053      $150.00
1067229-01    J.S.                 Hudson Regional Hospital             Drug Tst Prsmv Instrmnt Chem Anal…    3/31/2022   80307      $359.15
1067229-01    J.S.                 Hudson Regional Hospital              Urnls Dip Stick/Tablet Reagent Au…   3/31/2022   81001      $134.00
1067229-01    J.S.                 Hudson Regional Hospital                Hemoglobin Glycosylated A1C…       3/31/2022   83036       $66.70
1067229-01    J.S.                 Hudson Regional Hospital            Blood Count Complete Auto&Auto Di… 3/31/2022       85025      $147.00
1067229-01    J.S.                 Hudson Regional Hospital                       Prothrombin Time…           3/31/2022   85610      $143.00
1067229-01    J.S.                 Hudson Regional Hospital              Thromboplastin Time Partial Plasm…   3/31/2022   85730      $147.00
1067229-01    J.S.                 Hudson Regional Hospital             Antibody Screen Rbc Each Serum Te…    3/31/2022   86850      $105.80
1067229-01    J.S.                 Hudson Regional Hospital                  Blood Typing Serologic Abo…      3/31/2022   86900      $498.84
1067229-01    J.S.                 Hudson Regional Hospital                Blood Typing Serologic Rh (D)…     3/31/2022   86901       $56.95
1067229-01    J.S.                 Hudson Regional Hospital              Infectious Agent Detection By Nuc…   3/31/2022   87635     $1,200.00

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                                                          1905
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1067229-01    J.S.              Hudson Regional Hospital                     Iadna S Aureus Methicillin Resist…  3/31/2022   87641      $241.40
1067229-01    J.S.              Hudson Regional Hospital                   Ecg Routine Ecg W/Least 12 Lds Tr…    3/31/2022   93005      $323.70
1067229-01    J.S.              Hudson Regional Hospital                 Echo Tthrc R-T 2D W/Wom-Mode Comp… 3/31/2022        93306     $5,074.90
1067229-01    J.S.                     SCOB LLC                            Arthroscopy Shoulder Surg Debride…     4/4/2022   29823     $2,944.87
1067229-01    J.S.                     SCOB LLC                             Arthroscopy Shoulder Distal Clavi…    4/4/2022   29824     $3,026.24
1067229-01    J.S.                     SCOB LLC                           Arthroscopy Shoulder W/Coracoacrm…      4/4/2022   29826     $2,944.87
1066349-01    D.W.             Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…    10/2/2019   22505      $748.08
1066349-01    D.W.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…    10/2/2019   23700     $1,577.52
1066349-01    D.W.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    10/2/2019   27198      $405.94
1066349-01    D.W.             Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…    10/7/2019   22505      $748.08
1066349-01    D.W.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…    10/7/2019   23700     $1,577.52
1066349-01    D.W.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    10/7/2019   27198      $405.94
1066349-01    D.W.             Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…   10/11/2019   22505      $748.08
1066349-01    D.W.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa… 10/11/2019     23700     $1,577.52
1066349-01    D.W.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula… 10/11/2019     27198      $405.94
1066349-01    D.W.             Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…   10/21/2019   22505      $748.08
1066349-01    D.W.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa… 10/21/2019     23700     $1,577.52
1066349-01    D.W.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula… 10/21/2019     27198      $405.94
1066349-01    D.W.        All City Family Healthcare Center, Inc.           Arthrocentesis Aspir&/Inj Major J…  11/15/2019   20610      $236.69
1066349-01    D.W.        All City Family Healthcare Center, Inc.         Arthroscopy Knee Synovectomy Limi… 11/15/2019      29875     $1,472.45
1066349-01    D.W.        All City Family Healthcare Center, Inc.         Arthrs Kne Surg W/Meniscectomy Me… 11/15/2019      29881     $3,026.24
1066349-01    D.W.        All City Family Healthcare Center, Inc.          Arthroscopy Knee W/Lysis Adhesion… 11/15/2019     29884     $1,472.45
1066349-01    D.W.        All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…   11/15/2019   29999     $1,472.45
1066349-01    D.W.          Island Ambulatory Surgery Center              Perc Lamino-/Laminectomy Image Gu… 7/16/2020       0274T     $5,292.93
1066349-01    D.W.          Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…   7/16/2020   22526     $2,646.47
1065467-01    A.A.              Hudson Regional Hospital                   Mri Brain Brain Stem W/O Contrast… 10/31/2019     70551     $6,769.80
1065467-01    A.A.              Hudson Regional Hospital                   Mri Spinal Canal Cervical W/O Con… 10/31/2019     72141     $5,982.45
1065467-01    A.A.              Hudson Regional Hospital                   Mri Spinal Canal Thoracic W/O Con…    11/1/2019   72146     $5,978.76
1065467-01    A.A.              Hudson Regional Hospital                   Mri Spinal Canal Lumbar W/O Contr… 11/1/2019      72148     $7,976.60
1065467-01    A.A.              Hudson Regional Hospital                   Mri Any Jt Upper Extremity W/O Co…    11/1/2019   73221     $7,976.60
1065467-01    A.A.              Hudson Regional Hospital                   Mri Any Jt Lower Extrem W/O Contr… 11/1/2019      73721     $3,988.39
1065467-01    A.A.          Fifth Avenue Surgery Center LLC                  Arthroscopy Knee Lateral Release…   1/20/2020   29873     $1,472.45
1065467-01    A.A.          Fifth Avenue Surgery Center LLC               Arthroscopy Knee Synovectomy Limi… 1/20/2020       29875     $1,472.45
1065467-01    A.A.          Fifth Avenue Surgery Center LLC               Arthrs Kne Surg W/Meniscectomy Me… 1/20/2020       29881     $3,026.24
1065467-01    A.A.          Fifth Avenue Surgery Center LLC                   Tenodesis Long Tendon Biceps…      6/15/2020   23430     $1,839.77
1065467-01    A.A.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…    6/15/2020   29821     $5,677.77
1065467-01    A.A.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Debride…    6/15/2020   29823     $1,472.45
1065467-01    A.A.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …   6/15/2020   29825     $1,472.45
1065467-01    A.A.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…    6/15/2020   29999     $1,472.45
1065467-01    A.A.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   6/15/2020   64415      $979.78
1065467-01    A.A.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    6/15/2020   76942      $341.96
1066305-02    N.G.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    11/1/2019   62323      $976.38
1066305-02    N.G.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…           11/1/2019   72275      $572.52
1066305-02    N.G.              Global Surgery Center LLC                  Arthroscopy Shoulder Surg Synovec…    11/8/2019   29821     $1,472.44
1066305-02    N.G.              Global Surgery Center LLC                  Arthroscopy Shoulder Surg Debride…    11/8/2019   29823     $5,677.77
1066305-02    N.G.              Global Surgery Center LLC                 Arthroscopy Shoulder W/Coracoacrm… 11/8/2019       29826     $1,472.44
1067046-02    A.G.             Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…    9/20/2019   22505      $748.08
1067046-02    A.G.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    9/20/2019   27198      $405.94
1067046-02    A.G.             Surgicore of Jersey City LLC                 Manipulation Hip Joint General An…   9/20/2019   27275     $1,577.52
1067046-02    A.G.             Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…    9/23/2019   22505      $748.08
1067046-02    A.G.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    9/23/2019   27198      $405.94
1067046-02    A.G.             Surgicore of Jersey City LLC                 Manipulation Hip Joint General An…   9/23/2019   27275     $1,577.52
1067046-02    A.G.             Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…    9/30/2019   22505      $748.08
1067046-02    A.G.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    9/30/2019   27198      $405.94
1067046-02    A.G.             Surgicore of Jersey City LLC                 Manipulation Hip Joint General An…   9/30/2019   27275     $1,577.52
1067046-02    A.G.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…   5/22/2020   87635     $1,200.00
1067046-02    A.G.                     SCOB LLC                             Arthrocentesis Aspir&/Inj Major J…    6/2/2020   20610      $473.39
1067046-02    A.G.                     SCOB LLC                           Arthroscopy Knee Synovectomy 2/>C…      6/2/2020   29876     $3,026.24
1065318-01    E.J.              Global Surgery Center LLC                 Arthroscopy Knee Synovectomy 2/>C… 11/25/2020      29876     $1,472.44
1065318-01    E.J.              Global Surgery Center LLC                  Arthrs Knee Debridement/Shaving A… 11/25/2020     29877     $1,472.44
1065318-01    E.J.              Global Surgery Center LLC                  Arthrs Knee Abrasion Arthrp/Mlt D… 11/25/2020     29879     $1,472.44
1065318-01    E.J.              Global Surgery Center LLC                 Arthrs Kne Surg W/Meniscectomy Me… 11/25/2020      29881     $3,026.24
1065318-01    E.J.              Global Surgery Center LLC                     Unlisted Procedure Arthroscopy…   11/25/2020   29999     $1,472.44
1065318-01    E.J.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…    3/26/2021   29821     $5,677.77
1065318-01    E.J.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Debride…    3/26/2021   29823     $1,472.45
1065318-01    E.J.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Distal Clavi…   3/26/2021   29824     $1,472.45
1065318-01    E.J.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …   3/26/2021   29825     $1,472.45
1065318-01    E.J.          Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder W/Coracoacrm… 3/26/2021       29826     $1,472.45

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                                                        1906
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                         Date of     Billing   Amount
                                       Provider                                     Service
 Number      Person                                                                                          Service     Code       Billed
1065318-01    E.J.          Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …   3/26/2021   64415      $979.78
1065318-01    E.J.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …    3/26/2021   76942      $341.96
1065318-01    E.J.          Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…    3/26/2021   A4649       $50.00
1065318-01    E.J.                   Good Medica Inc                   Pneumatic Compressor, Nonsegmenta… 3/26/2021      E0650      $531.06
1065318-01    E.J.                   Good Medica Inc                   Nonsegmental Pneumatic Appliance …    3/26/2021   E0666       $89.56
1065333-01    U.K.          Island Ambulatory Surgery Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/3/2020   62323      $976.38
1065333-01    U.K.          Island Ambulatory Surgery Center                    Epidurograpy Rs&I…            2/3/2020   72275      $572.52
1065333-01    U.K.          Island Ambulatory Surgery Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/17/2020   62323      $976.38
1065333-01    U.K.          Island Ambulatory Surgery Center                    Epidurograpy Rs&I…           2/17/2020   72275      $572.52
1065333-01    U.K.          Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…  3/13/2020   20610      $236.69
1065333-01    U.K.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…   3/13/2020   29821     $2,798.20
1065333-01    U.K.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…   3/13/2020   29823     $1,472.45
1065333-01    U.K.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …   3/13/2020   29825     $1,472.45
1065333-01    U.K.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder W/Coracoacrm… 3/13/2020      29826     $1,472.45
1065333-01    U.K.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Rotator Cuff…   3/13/2020   29827     $5,677.77
1065333-01    U.K.          Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …   3/13/2020   64415      $979.78
1065333-01    U.K.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …    3/13/2020   76942      $341.96
1065333-01    U.K.          Island Ambulatory Surgery Center             Perq Intrdscl Electrothrm Annulop…  6/26/2020   22526     $2,646.47
1065333-01    U.K.          Island Ambulatory Surgery Center             Perq Intrdscl Electrothrm Annulop…  6/26/2020   22527     $2,646.47
1065333-01    U.K.          Island Ambulatory Surgery Center            Dcmprn Perq Nucleus Pulposus 1/> …   6/26/2020   62287     $5,292.93
1065816-01    O.G.        Bronx SC LLC d/b/a Empire State ASC         Arthrs Knee W/Meniscectomy Med&La… 10/8/2019       29880     $3,026.24
1065816-01    O.G.        Bronx SC LLC d/b/a Empire State ASC             Unlisted Procedure Arthroscopy…    10/8/2019   29999     $1,472.45
1065816-01    O.G.              Accelerated Surgical Center              Injection Single/Mlt Trigger Poin… 10/30/2019   20553      $161.46
1065816-01    O.G.              Accelerated Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/30/2019   62323     $1,518.48
1065816-01    O.G.              Accelerated Surgical Center              Injection Single/Mlt Trigger Poin… 11/13/2019   20553      $161.46
1065816-01    O.G.              Accelerated Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/13/2019   62323     $1,518.48
1065816-01    O.G.                Barnert Surgical Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/27/2019   62323     $1,518.48
1065816-01    O.G.         Rockaways ASC Development LLC                Manipulation Spine Requiring Anes…   12/7/2019   22505     $1,577.52
1065816-01    O.G.         Rockaways ASC Development LLC               Manj W/Anes Shoulder Joint W/Fixa…    12/7/2019   23700     $1,577.52
1065816-01    O.G.         Rockaways ASC Development LLC               Manj W/Anes Shoulder Joint W/Fixa…    12/7/2019   23700     $1,577.52
1065816-01    O.G.         Rockaways ASC Development LLC               Clsd Tx Pelvic Ring Fx W/Manipula…    12/7/2019   27198      $893.24
1065816-01    O.G.         Rockaways ASC Development LLC                Manipulation Spine Requiring Anes…   1/12/2020   22505     $1,577.52
1065816-01    O.G.         Rockaways ASC Development LLC               Manj W/Anes Shoulder Joint W/Fixa…    1/12/2020   23700     $1,577.52
1065816-01    O.G.         Rockaways ASC Development LLC               Manj W/Anes Shoulder Joint W/Fixa…    1/12/2020   23700     $1,577.52
1065816-01    O.G.         Rockaways ASC Development LLC               Clsd Tx Pelvic Ring Fx W/Manipula…    1/12/2020   27198      $893.24
1065816-01    O.G.         Rockaways ASC Development LLC                Manipulation Spine Requiring Anes…   1/17/2020   22505     $1,577.52
1065816-01    O.G.         Rockaways ASC Development LLC               Manj W/Anes Shoulder Joint W/Fixa…    1/17/2020   23700     $1,577.52
1065816-01    O.G.         Rockaways ASC Development LLC               Manj W/Anes Shoulder Joint W/Fixa…    1/17/2020   23700     $1,577.52
1065816-01    O.G.         Rockaways ASC Development LLC               Clsd Tx Pelvic Ring Fx W/Manipula…    1/17/2020   27198      $893.24
1065215-01    K.T.             Surgicore of Jersey City LLC             Manipulation Spine Requiring Anes…   9/30/2019   22505      $748.08
1065215-01    K.T.             Surgicore of Jersey City LLC            Manj W/Anes Shoulder Joint W/Fixa…    9/30/2019   23700      $748.08
1065215-01    K.T.             Surgicore of Jersey City LLC            Manj W/Anes Shoulder Joint W/Fixa…    9/30/2019   23700     $1,577.52
1065215-01    K.T.             Surgicore of Jersey City LLC            Clsd Tx Pelvic Ring Fx W/Manipula…    9/30/2019   27198      $405.94
1065215-01    K.T.               Avicenna Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  12/16/2019   62323      $976.38
1065215-01    K.T.               Avicenna Surgery Center                        Epidurograpy Rs&I…          12/16/2019   72275      $572.52
1065215-01    K.T.          Island Ambulatory Surgery Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/24/2019   62321      $976.38
1065215-01    K.T.          Island Ambulatory Surgery Center                    Epidurograpy Rs&I…          12/24/2019   72275      $572.52
1065215-01    K.T.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…   1/11/2020   29823     $3,026.24
1065215-01    K.T.          Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Distal Clavi…  1/11/2020   29824     $1,472.45
1065215-01    K.T.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder W/Coracoacrm… 1/11/2020      29826     $1,472.45
1065215-01    K.T.          Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …   1/11/2020   64415      $979.78
1065215-01    K.T.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …    1/11/2020   76942      $341.96
1065215-01    K.T.          Fifth Avenue Surgery Center LLC            Arthroscopy Knee Synovectomy Limi…     2/8/2020   29875     $3,026.24
1065215-01    K.T.          Fifth Avenue Surgery Center LLC             Injection Anesthetic Agent Femora…    2/8/2020   64447      $829.30
1065215-01    K.T.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …     2/8/2020   76942      $341.96
1065215-01    K.T.          Fifth Avenue Surgery Center LLC              Arthroscopy, Knee, Surgical, For …   2/8/2020   G0289     $1,472.45
1065215-01    K.T.          Island Ambulatory Surgery Center            Plmt Post Facet Implt Uni/Bi W/Im…   7/13/2020   0221T     $2,646.47
1065215-01    K.T.          Island Ambulatory Surgery Center             Perq Intrdscl Electrothrm Annulop…  7/13/2020   22526     $2,646.47
1065215-01    K.T.          Island Ambulatory Surgery Center             Perq Intrdscl Electrothrm Annulop…  7/13/2020   22527     $2,646.47
1065215-01    K.T.          Island Ambulatory Surgery Center            Dcmprn Perq Nucleus Pulposus 1/> …   7/13/2020   62287     $5,292.93
1065215-01    K.T.          Island Ambulatory Surgery Center            Transection/Avulsion Oth Spinal N…   7/13/2020   64772     $1,112.23
1066488-01    S.A.          Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…  5/25/2021   20610      $473.39
1066488-01    S.A.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…   5/25/2021   29821     $5,677.77
1066488-01    S.A.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…   5/25/2021   29823     $1,472.45
1066488-01    S.A.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Ahesiolysis …   5/25/2021   29825     $1,472.45
1066488-01    S.A.          Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …   5/25/2021   64415      $979.78
1066488-01    S.A.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …    5/25/2021   76942      $341.96
1066488-01    S.A.          Fifth Avenue Surgery Center LLC               Surgical Supply; Miscellaneous…    5/25/2021   A4649       $50.00

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                                                           1907
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1066488-01    S.A.                    Good Medica Inc                   Pneumatic Compressor, Nonsegmenta… 5/25/2021       E0650      $531.06
1066488-01    S.A.                    Good Medica Inc                   Nonsegmental Pneumatic Appliance …     5/25/2021   E0666       $89.56
1064827-01    J.T.         Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/20/2019   62321      $976.38
1064827-01    J.T.         Bronx SC LLC d/b/a Empire State ASC                    Epidurograpy Rs&I…          11/20/2019   72275      $572.53
1064827-01    J.T.         Health East Ambulatory Surgical Center        Arthroscopy Shoulder Surg Synovec…    10/1/2020   29820     $3,231.20
1064827-01    J.T.         Health East Ambulatory Surgical Center        Arthroscopy Shoulder Surg Debride…    10/1/2020   29822     $1,998.86
1064827-01    J.T.         Health East Ambulatory Surgical Center        Arthroscopy Shoulder Distal Clavi…    10/1/2020   29824     $1,998.86
1064827-01    J.T.         Health East Ambulatory Surgical Center        Arthroscopy Shoulder Ahesiolysis …    10/1/2020   29825     $3,231.20
1064827-01    J.T.         Health East Ambulatory Surgical Center       Arthroscopy Shoulder W/Coracoacrm… 10/1/2020       29826     $6,462.39
1064827-01    J.T.         Health East Ambulatory Surgical Center        Single Nerve Block Injection Arm …    10/1/2020   64415     $1,000.00
1064827-01    J.T.         Health East Ambulatory Surgical Center         Injection Anes Brachial Plexus Co…   10/1/2020   64416     $1,012.32
1064150-03    M.B.              Surgicore of Jersey City LLC             Manipulation Spine Requiring Anes…    9/30/2019   22505      $748.08
1064150-03    M.B.              Surgicore of Jersey City LLC            Manj W/Anes Shoulder Joint W/Fixa…     9/30/2019   23700     $1,577.52
1064150-03    M.B.              Surgicore of Jersey City LLC            Clsd Tx Pelvic Ring Fx W/Manipula…     9/30/2019   27198      $405.94
1064150-03    M.B.              Surgicore of Jersey City LLC             Manipulation Spine Requiring Anes…    10/7/2019   22505      $748.08
1064150-03    M.B.              Surgicore of Jersey City LLC            Manj W/Anes Shoulder Joint W/Fixa…     10/7/2019   23700     $1,577.52
1064150-03    M.B.              Surgicore of Jersey City LLC            Clsd Tx Pelvic Ring Fx W/Manipula…     10/7/2019   27198      $405.94
1064150-03    M.B.               CHC Surgical Center LLC                   Injection Single/Mlt Trigger Poin…  10/8/2019   20553      $554.76
1064150-03    M.B.               CHC Surgical Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    10/8/2019   64493     $1,428.99
1064150-03    M.B.               CHC Surgical Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    10/8/2019   64494     $1,347.62
1064150-03    M.B.               CHC Surgical Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    10/8/2019   64495     $1,347.62
1064150-03    M.B.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…   10/26/2019   29823     $3,026.24
1064150-03    M.B.           Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder W/Coracoacrm… 10/26/2019      29826     $1,472.45
1064150-03    M.B.           Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …   10/26/2019   64415      $979.78
1064150-03    M.B.           Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img … 10/26/2019      76942      $341.96
1064150-03    M.B.               CHC Surgical Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    11/5/2019   62323      $829.30
1064150-03    M.B.               CHC Surgical Center LLC                          Epidurograpy Rs&I…           11/5/2019   72275      $572.53
1064985-03    S.W.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Ahesiolysis …    9/24/2019   29825     $3,026.24
1064985-03    S.W.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Ahesiolysis …    9/24/2019   29825     $3,026.24
1064985-03    S.W.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder W/Coracoacrm… 9/24/2019       29826     $3,026.24
1064985-03    S.W.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder W/Coracoacrm… 9/24/2019       29826     $1,472.45
1064985-03    S.W.               Accelerated Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    11/6/2019   62323     $1,518.48
1064985-03    S.W.               Accelerated Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/20/2019   62323     $1,518.48
1064985-03    S.W.               Accelerated Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    12/4/2019   62323     $1,518.48
1064985-03    S.W.                 Barnert Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/7/2020   64493     $3,036.96
1064985-03    S.W.                 Barnert Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/7/2020   64494     $1,067.84
1064985-03    S.W.                 Barnert Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/7/2020   64495     $1,067.84
1065081-01    P.F.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 10/18/2019       29880     $3,026.24
1065081-01    P.F.               Bergenfield Surgical Center             Njx Pltlt Plasma W/Img Harvest/Pr…    8/11/2020   0232T      $957.28
1065081-01    P.F.               Bergenfield Surgical Center            Arthroscopy Knee Synovectomy 2/>C… 8/11/2020       29876     $3,997.71
1065081-01    P.F.               Bergenfield Surgical Center           Arthrs Kne Surg W/Meniscectomy Me… 8/11/2020        29881     $4,186.92
1065081-01    P.F.               Bergenfield Surgical Center                         Surgical Trays…           8/11/2020   A4550      $750.00
1064586-01    D.A.              Dynamic Surgery Center LLC               Manipulation Spine Requiring Anes…   10/26/2019   22505     $1,611.85
1064586-01    D.A.              Dynamic Surgery Center LLC              Clsd Tx Pelvic Ring Fx W/Manipula… 10/26/2019      27198      $405.94
1064586-01    D.A.            Healthplus Surgery Center LLC              Manipulation Spine Requiring Anes…   10/30/2019   22505     $1,611.85
1064586-01    D.A.            Healthplus Surgery Center LLC             Clsd Tx Pelvic Ring Fx W/Manipula… 10/30/2019      27198      $405.94
1064586-01    D.A.                Hudson Regional Hospital                  Comprehensive Metabolic Panel…     11/5/2019   80053      $150.00
1064586-01    D.A.                Hudson Regional Hospital              Drug Tst Prsmv Instrmnt Chem Anal…     11/5/2019   80307      $359.15
1064586-01    D.A.                Hudson Regional Hospital              Drug Screen Quant Amphetamines 1 … 11/5/2019       80324      $269.37
1064586-01    D.A.                Hudson Regional Hospital                Antidepressants Serotonergic Clas…   11/5/2019   80332      $269.37
1064586-01    D.A.                Hudson Regional Hospital                Antidepressants Tricyclic Other C…   11/5/2019   80335      $270.31
1064586-01    D.A.                Hudson Regional Hospital                    Drug Screening Barbiturates…     11/5/2019   80345      $269.37
1064586-01    D.A.                Hudson Regional Hospital               Drug Screening Benzodiazepines 1-…    11/5/2019   80346      $269.37
1064586-01    D.A.                Hudson Regional Hospital                  Drug Screening Buprenorphine…      11/5/2019   80348      $269.37
1064586-01    D.A.                Hudson Regional Hospital                     Drug Screening Fentanyl…        11/5/2019   80354      $269.37
1064586-01    D.A.                Hudson Regional Hospital              Drug Screening Gabapentin Non-Blo…     11/5/2019   80355      $269.37
1064586-01    D.A.                Hudson Regional Hospital               Drug Screening Heroin Metabolite…     11/5/2019   80356      $269.37
1064586-01    D.A.                Hudson Regional Hospital                    Drug Screening Methadone…        11/5/2019   80358      $269.37
1064586-01    D.A.                Hudson Regional Hospital              Drug Screening Methylenedioxyamph… 11/5/2019       80359      $269.37
1064586-01    D.A.                Hudson Regional Hospital                 Drug Screening Methylphenidate…     11/5/2019   80360      $269.37
1064586-01    D.A.                Hudson Regional Hospital               Drug Screening Opiates 1 Or More…     11/5/2019   80361      $538.74
1064586-01    D.A.                Hudson Regional Hospital               Drug Screening Opioids And Opiate…    11/5/2019   80362      $537.74
1064586-01    D.A.                Hudson Regional Hospital                    Drug Screening Oxycodone…        11/5/2019   80365      $269.37
1064586-01    D.A.                Hudson Regional Hospital                    Drug Screening Pregabalin…       11/5/2019   80366      $269.37
1064586-01    D.A.                Hudson Regional Hospital               Drug Screening Sedative Hypnotics…    11/5/2019   80368      $269.37
1064586-01    D.A.                Hudson Regional Hospital               Drug Screening Skeletal Muscle Re…    11/5/2019   80369      $269.37
1064586-01    D.A.                Hudson Regional Hospital                    Drug Screening Tapentadol…       11/5/2019   80372      $269.37
1064586-01    D.A.                Hudson Regional Hospital                     Drug Screening Tramadol…        11/5/2019   80373      $269.37

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                                                          1908
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1064586-01    D.A.              Hudson Regional Hospital                    Urnls Dip Stick/Tablet Reagent Au…   11/5/2019   81001       $134.00
1064586-01    D.A.              Hudson Regional Hospital                      Hemoglobin Glycosylated A1C…       11/5/2019   83036        $66.70
1064586-01    D.A.              Hudson Regional Hospital                  Blood Count Complete Auto&Auto Di… 11/5/2019       85025       $147.00
1064586-01    D.A.              Hudson Regional Hospital                             Prothrombin Time…           11/5/2019   85610       $143.00
1064586-01    D.A.              Hudson Regional Hospital                    Thromboplastin Time Partial Plasm…   11/5/2019   85730       $147.00
1064586-01    D.A.              Hudson Regional Hospital                   Antibody Screen Rbc Each Serum Te…    11/5/2019   86850       $105.80
1064586-01    D.A.              Hudson Regional Hospital                       Blood Typing Serologic Abo…       11/5/2019   86900       $498.84
1064586-01    D.A.              Hudson Regional Hospital                      Blood Typing Serologic Rh (D)…     11/5/2019   86901        $56.95
1064586-01    D.A.              Hudson Regional Hospital                     Iadna S Aureus Methicillin Resist…  11/5/2019   87641       $241.40
1064586-01    D.A.              Hudson Regional Hospital                   Ecg Routine Ecg W/Least 12 Lds Tr…    11/5/2019   93005       $323.70
1064586-01    D.A.              Hudson Regional Hospital                 Echo Tthrc R-T 2D W/Wom-Mode Comp… 11/5/2019        93306      $5,074.90
1064586-01    D.A.              Hudson Regional Hospital                 Echo Tthrc R-T 2D W/Wo M-Mode Res… 11/5/2019        93351     $13,165.00
1064586-01    D.A.        All City Family Healthcare Center, Inc.           Tenotomy Shoulder Area 1 Tendon…      2/8/2020   23405      $1,839.77
1064586-01    D.A.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…     2/8/2020   29821      $5,677.77
1064586-01    D.A.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    2/8/2020   29823      $1,472.45
1064586-01    D.A.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    2/8/2020   29825      $1,472.45
1064586-01    D.A.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…     2/8/2020   29826      $1,472.45
1064586-01    D.A.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    2/8/2020   64415       $979.78
1064586-01    D.A.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     2/8/2020   76942       $341.96
1064586-01    D.A.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…     3/7/2020   29875      $1,472.45
1064586-01    D.A.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 3/7/2020        29880      $3,026.24
1064586-01    D.A.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For …   3/7/2020   G0289      $1,472.45
1065236-01    R.S.                     AMSC LLC                              Injection Single/Mlt Trigger Poin…  9/25/2019   20553       $277.37
1065236-01    R.S.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   9/25/2019   62321       $976.38
1065236-01    R.S.                     AMSC LLC                                     Epidurograpy Rs&I…           9/25/2019   72275       $572.52
1065236-01    R.S.                     AMSC LLC                            Us Guidance Needle Placement Img …    9/25/2019   76942       $423.32
1065236-01    R.S.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…  11/6/2019   20552       $554.74
1065236-01    R.S.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/6/2019   62321       $976.38
1065236-01    R.S.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…           11/6/2019   72275       $572.52
1065236-01    R.S.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …    11/6/2019   76942       $423.32
1065236-01    R.S.         Rockaways ASC Development LLC                    Arthrocentesis Aspir&/Inj Major J…  11/11/2020   20610       $473.38
1065236-01    R.S.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Surgical Rep…  11/11/2020   29807      $5,677.77
1065236-01    R.S.         Rockaways ASC Development LLC                   Arthroscopy Shoulder Surg Synovec… 11/11/2020     29821      $2,798.20
1065236-01    R.S.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Surg Debride…  11/11/2020   29823      $1,472.45
1065236-01    R.S.         Rockaways ASC Development LLC                    Arthroscopy Shoulder Ahesiolysis …  11/11/2020   29825      $1,472.45
1065236-01    R.S.         Rockaways ASC Development LLC                      Unlisted Procedure Arthroscopy…   11/11/2020   29999      $1,472.45
1065236-01    R.S.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…   11/11/2020   A4649        $50.00
1063803-02    R.J.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/20/2019   62323       $976.38
1063803-02    R.J.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           8/20/2019   72275       $572.52
1063803-02    R.J.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/3/2019   62321       $976.38
1063803-02    R.J.          Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin…  9/25/2019   20552       $277.37
1063803-02    R.J.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   9/25/2019   62321       $976.38
1063803-02    R.J.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…    10/4/2019   23700       $748.07
1063803-02    R.J.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…    10/4/2019   29821      $1,472.45
1063803-02    R.J.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   10/4/2019   29823      $1,472.45
1063803-02    R.J.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …   10/4/2019   29825      $3,026.24
1063803-02    R.J.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 10/4/2019      29826      $1,472.45
1063803-02    R.J.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   10/4/2019   64415       $979.78
1063803-02    R.J.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    10/4/2019   76942       $341.96
1063803-02    R.J.          Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin… 11/11/2019   20553       $277.37
1063803-02    R.J.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/11/2019   62323       $976.38
1063803-02    R.J.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…          11/11/2019   72275       $572.52
1063803-02    R.J.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/25/2019   62323       $976.38
1063803-02    R.J.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   12/9/2019   64493      $1,952.76
1063803-02    R.J.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   12/9/2019   64494       $976.38
1063803-02    R.J.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   12/9/2019   64495       $976.38
1063803-02    R.J.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/6/2020   64493       $976.38
1063803-02    R.J.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/6/2020   64494       $488.19
1063803-02    R.J.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/6/2020   64495       $488.19
1063803-02    R.J.        All City Family Healthcare Center, Inc.           Arthrocentesis Aspir&/Inj Major J…   1/31/2020   20610       $473.38
1063803-02    R.J.        All City Family Healthcare Center, Inc.          Manipulation Knee Joint Under Gen…    1/31/2020   27570       $748.08
1063803-02    R.J.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 1/31/2020      29875      $1,472.45
1063803-02    R.J.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 1/31/2020       29880      $3,026.24
1063803-02    R.J.        All City Family Healthcare Center, Inc.          Arthroscopy Knee W/Lysis Adhesion… 1/31/2020      29884      $1,472.45
1063803-02    R.J.          Island Ambulatory Surgery Center              Perc Lamino-/Laminectomy Image Gu… 2/26/2020       0274T      $5,292.93
1063803-02    R.J.          Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…   5/26/2020   22526      $2,646.47
1063803-02    R.J.          Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…   5/26/2020   22527      $2,646.47
1063803-02    R.J.          Island Ambulatory Surgery Center               Dcmprn Perq Nucleus Pulposus 1/> …    5/26/2020   62287      $5,292.93

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                                                          1909
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                               Service     Code       Billed
1063803-02    R.J.        All City Family Healthcare Center, Inc.           Arthrocentesis Aspir&/Inj Interm …    9/18/2020   20605      $473.38
1063803-02    R.J.        All City Family Healthcare Center, Inc.         Manipulation Ankle Under General …      9/18/2020   27860      $748.08
1063803-02    R.J.        All City Family Healthcare Center, Inc.         Arthrs Ankle Exc Ostchndrl Dfct W…      9/18/2020   29891     $1,472.45
1063803-02    R.J.        All City Family Healthcare Center, Inc.         Arthroscopy Ankle Surgical Synove…      9/18/2020   29895     $1,472.45
1063803-02    R.J.        All City Family Healthcare Center, Inc.         Arthroscopy Ankle Surgical Debrid…      9/18/2020   29898     $3,026.24
1063803-02    R.J.        All City Family Healthcare Center, Inc.          Injection Anesthetic Agent Femora…     9/18/2020   64447      $829.30
1063803-02    R.J.        All City Family Healthcare Center, Inc.         Us Guidance Needle Placement Img …      9/18/2020   76942      $341.96
1063803-02    R.J.        All City Family Healthcare Center, Inc.            Surgical Supply; Miscellaneous…      9/18/2020   A4649       $72.00
1063803-02    R.J.           Island Ambulatory Surgery Center               Inject Si Joint Arthrgrphy&/Anes/…    10/6/2020   27096      $470.21
1063803-02    R.J.           Island Ambulatory Surgery Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/6/2020   64493      $976.38
1063803-02    R.J.           Island Ambulatory Surgery Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/6/2020   64494      $488.19
1063803-02    R.J.           Island Ambulatory Surgery Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/6/2020   64495      $488.19
1063803-02    R.J.           Island Ambulatory Surgery Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/20/2020   64490      $976.38
1063803-02    R.J.           Island Ambulatory Surgery Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/20/2020   64491      $488.19
1063803-02    R.J.           Island Ambulatory Surgery Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/20/2020   64492      $488.19
1063803-02    R.J.           Island Ambulatory Surgery Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     11/17/2020   64493      $976.38
1063803-02    R.J.           Island Ambulatory Surgery Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     11/17/2020   64494      $488.19
1063803-02    R.J.           Island Ambulatory Surgery Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     11/17/2020   64495      $488.19
1063803-02    R.J.           Island Ambulatory Surgery Center              Dstr Nrolytc Agnt Parverteb Fct S…     2/26/2021   64635      $976.38
1063803-02    R.J.           Island Ambulatory Surgery Center              Dstr Nrolytc Agnt Parverteb Fct A…     2/26/2021   64636      $488.19
1063803-02    R.J.           Island Ambulatory Surgery Center              Dstr Nrolytc Agnt Parverteb Fct A…     2/26/2021   64636      $488.19
1065360-02    M.C.                      SCOB LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     10/16/2020   62323      $976.38
1065360-02    M.C.                      SCOB LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     10/16/2020   62323      $473.39
1065360-02    M.C.          Rockaways ASC Development LLC                   Injection Single/Mlt Trigger Poin…   11/20/2020   20552      $236.69
1065360-02    M.C.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/20/2020   62323      $976.38
1065360-02    M.C.          Rockaways ASC Development LLC                           Epidurograpy Rs&I…           11/20/2020   72275      $572.53
1065360-02    M.C.          Rockaways ASC Development LLC                 Us Guidance Needle Placement Img …     11/20/2020   76942      $341.96
1065360-02    M.C.          Rockaways ASC Development LLC                    Surgical Supply; Miscellaneous…     11/20/2020   A4649       $50.00
1064053-01    D.C.                Mountain Surgery Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       6/9/2020   62323     $5,157.00
1064053-01    D.C.                Mountain Surgery Center                           Epidurograpy Rs&I…             6/9/2020   72275     $4,981.00
1064053-01    D.C.                Mountain Surgery Center                              Surgical Trays…             6/9/2020   A4550      $750.00
1064053-01    D.C.     Surgicore LLC d/b/a Surgicore Surgical Center        Injection Single/Mlt Trigger Poin…    7/17/2021   20553      $236.70
1064053-01    D.C.     Surgicore LLC d/b/a Surgicore Surgical Center     Njx Anes&/Strd W/Img Tfrml Edrl L…       7/17/2021   64483      $976.38
1064053-01    D.C.     Surgicore LLC d/b/a Surgicore Surgical Center     Njx Anes&/Strd W/Img Tfrml Edrl L…       7/17/2021   64484      $447.52
1064053-01    D.C.     Surgicore LLC d/b/a Surgicore Surgical Center                Epidurograpy Rs&I…            7/17/2021   72275      $572.53
1064053-01    D.C.     Surgicore LLC d/b/a Surgicore Surgical Center         Surgical Supply; Miscellaneous…      7/17/2021   A4649       $50.00
1065407-01    A.E.        Bronx SC LLC d/b/a Empire State ASC             Arthroscopy Shoulder Surg Debride…      9/24/2019   29823     $3,026.24
1065407-01    A.E.        Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder W/Coracoacrm…       9/24/2019   29826     $1,472.45
1065407-01    A.E.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/22/2019   62323      $976.38
1065407-01    A.E.          Rockaways ASC Development LLC                           Epidurograpy Rs&I…           11/22/2019   72275      $572.52
1065407-01    A.E.               CHC Surgical Center LLC                   Perq Intrdscl Electrothrm Annulop…     2/29/2020   22526     $2,605.78
1065407-01    A.E.               CHC Surgical Center LLC                   Perq Intrdscl Electrothrm Annulop…     2/29/2020   22527     $2,605.78
1065407-01    A.E.               CHC Surgical Center LLC                  Dcmprn Perq Nucleus Pulposus 1/> …      2/29/2020   62287     $5,292.93
1065407-01    A.E.              East Tremont Medical Center               Anesthesia Perq Image Guided Spin…      8/17/2020    1936     $1,087.00
1065407-01    A.E.              East Tremont Medical Center                Perq Intrdscl Electrothrm Annulop…     8/17/2020   22526     $3,185.00
1065407-01    A.E.              East Tremont Medical Center                Perq Intrdscl Electrothrm Annulop…     8/17/2020   22526     $7,640.00
1065407-01    A.E.              East Tremont Medical Center               Dcmprn Perq Nucleus Pulposus 1/> …      8/17/2020   62287     $3,850.00
1065407-01    A.E.              East Tremont Medical Center               Dcmprn Perq Nucleus Pulposus 1/> …      8/17/2020   62287     $7,850.00
1065407-01    A.E.              East Tremont Medical Center               Injection Px Discography Each Lev…      8/17/2020   62290     $7,420.00
1065407-01    A.E.              East Tremont Medical Center               Injection Px Discography Each Lev…      8/17/2020   62290     $3,650.00
1065407-01    A.E.              East Tremont Medical Center               Njx Arterial Occlusion Arven Malf…      8/17/2020   62294     $7,250.00
1065407-01    A.E.              East Tremont Medical Center               Njx Arterial Occlusion Arven Malf…      8/17/2020   62294     $3,480.00
1065407-01    A.E.              East Tremont Medical Center               Fluor Needle/Cath Spine/Paraspina…      8/17/2020   77003      $570.00
1065407-01    A.E.              East Tremont Medical Center               Fluor Needle/Cath Spine/Paraspina…      8/17/2020   77003     $1,250.00
1063696-02    Y.R.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      9/30/2019   62321      $976.38
1063696-02    Y.R.           Island Ambulatory Surgery Center                       Epidurograpy Rs&I…            9/30/2019   72275      $572.52
1063696-02    Y.R.           Fifth Avenue Surgery Center LLC             Arthroscopy Knee Synovectomy Limi…      10/25/2019   29875      $193.02
1063696-02    Y.R.           Fifth Avenue Surgery Center LLC             Arthroscopy Knee Synovectomy Limi…      10/25/2019   29875     $1,472.45
1063696-02    Y.R.           Fifth Avenue Surgery Center LLC             Arthrs Kne Surg W/Meniscectomy Me…      10/25/2019   29881      $236.96
1063696-02    Y.R.           Fifth Avenue Surgery Center LLC             Arthrs Kne Surg W/Meniscectomy Me…      10/25/2019   29881     $3,026.24
1063696-02    Y.R.           Fifth Avenue Surgery Center LLC                 Unlisted Procedure Arthroscopy…     10/25/2019   29999      $200.00
1063696-02    Y.R.           Fifth Avenue Surgery Center LLC                 Unlisted Procedure Arthroscopy…     10/25/2019   29999     $1,472.45
1063696-02    Y.R.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/13/2019   62323      $976.38
1063696-02    Y.R.           Island Ambulatory Surgery Center                       Epidurograpy Rs&I…           11/13/2019   72275      $572.52
1063696-02    Y.R.        All City Family Healthcare Center, Inc.          Arthrocentesis Aspir&/Inj Major J…    12/20/2019   20610      $236.69
1063696-02    Y.R.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Synovec…     12/20/2019   29821     $1,472.45
1063696-02    Y.R.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Debride…     12/20/2019   29823     $3,026.24
1063696-02    Y.R.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Ahesiolysis …    12/20/2019   29825     $1,472.45

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                                                         1910
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                       Provider                                          Service
 Number      Person                                                                                                 Service     Code       Billed
1063696-02    Y.R.       All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…       12/20/2019   29826     $1,472.45
1063696-02    Y.R.       All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…      12/20/2019   29999     $1,472.45
1063696-02    Y.R.       All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …     12/20/2019   64415      $979.78
1063696-02    Y.R.       All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …      12/20/2019   76942      $341.96
1063696-02    Y.R.       All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…      10/5/2020   20610      $473.38
1063696-02    Y.R.       All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…        10/5/2020   29875     $1,472.45
1063696-02    Y.R.       All City Family Healthcare Center, Inc.          Arthrs Kne Surg W/Meniscectomy Me…        10/5/2020   29881     $3,026.24
1063696-02    Y.R.       All City Family Healthcare Center, Inc.          Arthroscopy Knee W/Lysis Adhesion…        10/5/2020   29884     $1,472.45
1063696-02    Y.R.       All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…       10/5/2020   29999     $1,472.45
1063696-02    Y.R.       All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…       10/5/2020   A4649       $72.00
1063831-01    W.J.             Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       10/5/2019   62323      $976.38
1063831-01    W.J.             Surgicore of Jersey City LLC                         Epidurograpy Rs&I…              10/5/2019   72275      $572.53
1063831-01    W.J.             Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      10/19/2019   62323      $976.38
1063831-01    W.J.             Surgicore of Jersey City LLC                         Epidurograpy Rs&I…             10/19/2019   72275      $572.53
1063831-01    W.J.             Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       11/9/2019   62323      $976.38
1063831-01    W.J.             Surgicore of Jersey City LLC                         Epidurograpy Rs&I…              11/9/2019   72275      $572.53
1063831-01    W.J.          Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…      7/26/2021   22526     $2,646.47
1063831-01    W.J.          Island Ambulatory Surgery Center               Dcmprn Perq Nucleus Pulposus 1/> …       7/26/2021   62287     $5,292.93
1063831-01    W.J.                   Good Medica Inc                      Pneumatic Compressor, Nonsegmenta…        7/26/2021   E0650      $531.06
1063831-01    W.J.                   Good Medica Inc                      Nonsegmental Pneumatic Appliance …        7/26/2021   E0666       $89.56
1064215-02    J.T.       Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Surg Synovec…       7/23/2021   29821     $2,798.20
1064215-02    J.T.       Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Surg Debride…       7/23/2021   29823     $1,472.45
1064215-02    J.T.       Bronx SC LLC d/b/a Empire State ASC                Arthroscopy Shoulder Ahesiolysis …      7/23/2021   29825     $1,472.45
1064215-02    J.T.       Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder W/Coracoacrm…        7/23/2021   29826     $1,472.45
1064215-02    J.T.       Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Rotator Cuff…       7/23/2021   29827     $5,677.77
1064215-02    J.T.       Bronx SC LLC d/b/a Empire State ASC                Single Nerve Block Injection Arm …      7/23/2021   64415      $979.78
1064215-02    J.T.       Bronx SC LLC d/b/a Empire State ASC               Us Guidance Needle Placement Img …       7/23/2021   76942      $341.96
1064215-02    J.T.       Bronx SC LLC d/b/a Empire State ASC                  Surgical Supply; Miscellaneous…       7/23/2021   A4649       $50.00
1064215-02    J.T.              Hudson Regional Hospital                   Collection Venous Blood Venipunct…        8/9/2023   36415       $50.00
1064215-02    J.T.              Hudson Regional Hospital                      Comprehensive Metabolic Panel…         8/9/2023   80053      $150.00
1064215-02    J.T.              Hudson Regional Hospital                   Urnls Dip Stick/Tablet Reagent Au…        8/9/2023   81001      $134.00
1064215-02    J.T.              Hudson Regional Hospital                      Hemoglobin Glycosylated A1C…           8/9/2023   83036       $66.70
1064215-02    J.T.              Hudson Regional Hospital                    Gonadotropin Chorionic Qualitativ…       8/9/2023   84703       $51.65
1064215-02    J.T.              Hudson Regional Hospital                  Blood Count Complete Auto&Auto Di…         8/9/2023   85025      $147.00
1064215-02    J.T.              Hudson Regional Hospital                             Prothrombin Time…               8/9/2023   85610      $143.00
1064215-02    J.T.              Hudson Regional Hospital                   Thromboplastin Time Partial Plasm…        8/9/2023   85730      $147.00
1064215-02    J.T.              Hudson Regional Hospital                  Antibody Screen Rbc Each Serum Te…         8/9/2023   86850      $105.80
1064215-02    J.T.              Hudson Regional Hospital                       Blood Typing Serologic Abo…           8/9/2023   86900      $498.84
1064215-02    J.T.              Hudson Regional Hospital                      Blood Typing Serologic Rh (D)…         8/9/2023   86901       $56.95
1064215-02    J.T.              Hudson Regional Hospital                   Infectious Agent Detection By Nuc…        8/9/2023   87635     $1,200.00
1064215-02    J.T.              Hudson Regional Hospital                    Iadna S Aureus Methicillin Resist…       8/9/2023   87641      $241.40
1064215-02    J.T.              Hudson Regional Hospital                   Ecg Routine Ecg W/Least 12 Lds Tr…        8/9/2023   93005      $323.70
1064215-02    J.T.              Hudson Regional Hospital                      Hospital Outpatient Clinic Visit …     8/9/2023   C9803      $115.64
1065416-01    E.E.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…    10/26/2019   20552      $554.74
1065416-01    E.E.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…    10/26/2019   20552      $554.74
1065416-01    E.E.         Rockaways ASC Development LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/26/2019   64493      $976.38
1065416-01    E.E.         Rockaways ASC Development LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/26/2019   64493      $976.38
1065416-01    E.E.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …      10/26/2019   76942      $423.32
1065416-01    E.E.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …      10/26/2019   76942      $423.32
1065416-01    E.E.                     AMSC LLC                           Placement Needles Muscle Subseque…        1/27/2020   20555      $277.37
1065416-01    E.E.                     AMSC LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       1/27/2020   62323      $976.38
1065416-01    E.E.                     AMSC LLC                                     Epidurograpy Rs&I…              1/27/2020   72275      $572.52
1065416-01    E.E.                     AMSC LLC                              Injection Single/Mlt Trigger Poin…      3/2/2020   20552      $277.37
1065416-01    E.E.                     AMSC LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…        3/2/2020   62323      $976.38
1065416-01    E.E.                     AMSC LLC                                     Epidurograpy Rs&I…               3/2/2020   72275      $572.52
1065416-01    E.E.                     AMSC LLC                            Us Guidance Needle Placement Img …        3/2/2020   76942      $423.32
1065416-01    E.E.       Rockland & Bergen Surgery Center LLC              Simple Repair Scalp/Neck/Ax/Genit…       7/13/2020   12001      $369.86
1065416-01    E.E.       Rockland & Bergen Surgery Center LLC              Arthroscopy Shoulder Surg Debride…       7/13/2020   29823     $3,026.24
1065416-01    E.E.       Rockland & Bergen Surgery Center LLC               Arthroscopy Shoulder Distal Clavi…      7/13/2020   29824     $1,472.45
1065416-01    E.E.       Rockland & Bergen Surgery Center LLC               Arthroscopy Shoulder Ahesiolysis …      7/13/2020   29825     $1,472.45
1065416-01    E.E.       Rockland & Bergen Surgery Center LLC             Arthroscopy Shoulder W/Coracoacrm…        7/13/2020   29826     $1,472.45
1065416-01    E.E.       Rockland & Bergen Surgery Center LLC               Single Nerve Block Injection Arm …      7/13/2020   64415      $979.78
1065416-01    E.E.       Rockland & Bergen Surgery Center LLC              Us Guidance Needle Placement Img …       7/13/2020   76942      $341.96
1065416-01    E.E.       Rockland & Bergen Surgery Center LLC                 Surgical Supply; Miscellaneous…       7/13/2020   A4649       $50.00
1063152-02    A.B.                     AMSC LLC                              Injection Single/Mlt Trigger Poin…     12/9/2019   20552      $277.37
1063152-02    A.B.                     AMSC LLC                            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       12/9/2019   62321      $976.38
1063152-02    A.B.                     AMSC LLC                                     Epidurograpy Rs&I…              12/9/2019   72275      $572.52
1063152-02    A.B.                     AMSC LLC                            Us Guidance Needle Placement Img …       12/9/2019   76942      $423.32

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                                                           1911
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1063152-02    A.B.                       AMSC LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/13/2020   62323      $976.38
1063152-02    A.B.                       AMSC LLC                                Epidurograpy Rs&I…           1/13/2020   72275      $572.52
1063152-02    A.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surgical Rem…     1/15/2020   29819     $1,472.45
1063152-02    A.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec…     1/15/2020   29821     $5,677.77
1063152-02    A.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…     1/15/2020   29823     $1,472.45
1063152-02    A.B.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Ahesiolysis …   1/15/2020   29825     $1,472.45
1063152-02    A.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 1/15/2020       29826     $1,472.45
1063152-02    A.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Biceps Tenod…     1/15/2020   29828     $2,798.20
1063152-02    A.B.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …   1/15/2020   64415      $979.78
1063152-02    A.B.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …     1/15/2020   76942      $341.96
1063152-02    A.B.                       AMSC LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/27/2020   62323      $976.38
1063152-02    A.B.                       AMSC LLC                                Epidurograpy Rs&I…           1/27/2020   72275      $572.52
1063298-02    M.F.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes…   9/13/2019   22505      $748.08
1063298-02    M.F.               Surgicore of Jersey City LLC           Manj W/Anes Shoulder Joint W/Fixa…    9/13/2019   23700     $1,577.52
1063298-02    M.F.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…    9/13/2019   27198      $405.94
1063298-02    M.F.               Surgicore of Jersey City LLC            Manipulation Hip Joint General An…   9/13/2019   27275      $748.08
1063298-02    M.F.               Surgicore of Jersey City LLC            Manipulation Hip Joint General An…   9/13/2019   27275      $748.08
1063298-02    M.F.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes…   9/16/2019   22505      $748.08
1063298-02    M.F.               Surgicore of Jersey City LLC           Manj W/Anes Shoulder Joint W/Fixa…    9/16/2019   23700     $1,577.52
1063298-02    M.F.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…    9/16/2019   27198      $405.94
1063298-02    M.F.               Surgicore of Jersey City LLC            Manipulation Hip Joint General An…   9/16/2019   27275      $748.08
1063298-02    M.F.               Surgicore of Jersey City LLC            Manipulation Hip Joint General An…   9/16/2019   27275      $748.08
1063298-02    M.F.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes…   9/18/2019   22505      $748.08
1063298-02    M.F.               Surgicore of Jersey City LLC           Manj W/Anes Shoulder Joint W/Fixa…    9/18/2019   23700      $748.08
1063298-02    M.F.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…    9/18/2019   27198      $405.94
1063298-02    M.F.               Surgicore of Jersey City LLC            Manipulation Hip Joint General An…   9/18/2019   27275     $1,577.52
1063298-02    M.F.               Surgicore of Jersey City LLC            Manipulation Hip Joint General An…   9/18/2019   27275      $748.08
1063298-02    M.F.                      EMUSC LLC                        Anesthesia Cervical Spine & Cord …   3/18/2020    600       $270.10
1063298-02    M.F.                      EMUSC LLC                       Discectomy Ant Dcmprn Cord Cervic… 3/18/2020      63075     $5,292.83
1063298-02    M.F.                      EMUSC LLC                         Prosthetic Implant, Not Otherwise…  3/18/2020   L8699      $600.00
1063998-02    F.P.           Rockaways ASC Development LLC               Manipulation Spine Requiring Anes…   8/24/2019   22505     $1,577.52
1063998-02    F.P.           Rockaways ASC Development LLC              Manj W/Anes Shoulder Joint W/Fixa…    8/24/2019   23700      $788.76
1063998-02    F.P.           Rockaways ASC Development LLC              Clsd Tx Pelvic Ring Fx W/Manipula…    8/24/2019   27198      $893.24
1063998-02    F.P.           Rockaways ASC Development LLC               Manipulation Hip Joint General An…   8/24/2019   27275      $788.76
1063998-02    F.P.           Rockaways ASC Development LLC               Manipulation Hip Joint General An…   8/24/2019   27275      $788.76
1063998-02    F.P.           Rockaways ASC Development LLC               Manipulation Spine Requiring Anes…   8/25/2019   22505     $1,577.52
1063998-02    F.P.           Rockaways ASC Development LLC              Manj W/Anes Shoulder Joint W/Fixa…    8/25/2019   23700      $788.76
1063998-02    F.P.           Rockaways ASC Development LLC              Clsd Tx Pelvic Ring Fx W/Manipula…    8/25/2019   27198      $893.24
1063998-02    F.P.           Rockaways ASC Development LLC               Manipulation Hip Joint General An…   8/25/2019   27275      $788.76
1063998-02    F.P.           Rockaways ASC Development LLC               Manipulation Hip Joint General An…   8/25/2019   27275      $788.76
1063998-02    F.P.                       AMSC LLC                        Manipulation Spine Requiring Anes…   8/28/2019   22505      $788.76
1063998-02    F.P.                       AMSC LLC                       Manj W/Anes Shoulder Joint W/Fixa…    8/28/2019   23700      $788.76
1063998-02    F.P.                       AMSC LLC                       Clsd Tx Pelvic Ring Fx W/Manipula…    8/28/2019   27198      $446.62
1063998-02    F.P.                       AMSC LLC                        Manipulation Hip Joint General An…   8/28/2019   27275     $3,155.04
1062180-01    D.L.                Global Surgery Center LLC              Arthroscopy Shoulder Surgical Rep…  10/25/2019   29807     $5,677.77
1062180-01    D.L.                Global Surgery Center LLC             Arthroscopy Shoulder Surg Synovec… 10/25/2019     29821     $1,472.44
1062180-01    D.L.                Global Surgery Center LLC              Arthroscopy Shoulder Surg Debride…  10/25/2019   29823     $1,472.44
1062180-01    D.L.                Global Surgery Center LLC             Arthroscopy Shoulder W/Coracoacrm… 10/25/2019     29826     $1,472.44
1062180-01    D.L.         Rockland & Bergen Surgery Center LLC         Arthroscopy Knee Synovectomy Limi… 2/21/2020      29875     $1,472.45
1062180-01    D.L.         Rockland & Bergen Surgery Center LLC          Arthrs Knee Abrasion Arthrp/Mlt D…   2/21/2020   29879     $1,472.45
1062180-01    D.L.         Rockland & Bergen Surgery Center LLC        Arthrs Knee W/Meniscectomy Med&La… 2/21/2020       29880     $3,026.24
1062180-01    D.L.         Rockland & Bergen Surgery Center LLC           Arthroscopy, Knee, Surgical, For …  2/21/2020   G0289     $1,472.45
1062284-02    T.E.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/15/2019   62321      $976.38
1062284-02    T.E.          All City Family Healthcare Center, Inc.              Epidurograpy Rs&I…           8/15/2019   72275      $572.53
1062284-02    T.E.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…   9/10/2019   22526     $2,605.78
1062284-02    T.E.          All City Family Healthcare Center, Inc.      Injection Px Discogrphy Ea Lvl Ce…   9/10/2019   62291      $748.73
1062284-02    T.E.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic… 9/10/2019      63075     $5,292.93
1062284-02    T.E.          All City Family Healthcare Center, Inc.     Diskograpy Cervical/Thoracic Rs&I…    9/10/2019   72285      $962.54
1062284-02    T.E.          All City Family Healthcare Center, Inc.      Tenotomy Shoulder Area 1 Tendon…     9/19/2019   23405     $3,760.88
1062284-02    T.E.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…   9/19/2019   29823     $1,472.45
1062284-02    T.E.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …   9/19/2019   64415      $979.78
1062284-02    T.E.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …    9/19/2019   76942      $341.96
1062284-02    T.E.                       SCOB LLC                         Injection Single/Mlt Trigger Poin… 10/11/2019   20553      $473.39
1062284-02    T.E.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/11/2019   62323      $863.63
1062284-02    T.E.            Millennium Amb Surgery Ctr LLC              Injection Single/Mlt Trigger Poin…   1/9/2020   20553      $250.00
1062284-02    T.E.            Millennium Amb Surgery Ctr LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/9/2020   62323     $1,266.65
1062284-02    T.E.            Millennium Amb Surgery Ctr LLC                     Epidurograpy Rs&I…            1/9/2020   72275      $600.00
1062284-02    T.E.                     Triborough ASC                    Perq Intrdscl Electrothrm Annulop…   2/22/2021   22526      $450.00

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                                                         1912
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                       Provider                                     Service
 Number      Person                                                                                            Service     Code       Billed
1062284-02    T.E.                   Triborough ASC                    Injection Px Discography Each Lev…      2/22/2021   62290      $450.00
1062284-02    T.E.                   Triborough ASC                    Transpedicular Dcmprn Spinal Cord…      2/22/2021   63056     $6,300.00
1062284-02    T.E.                   Triborough ASC                   Njx Anes&/Strd W/Img Tfrml Edrl L…       2/22/2021   64483      $750.00
1062284-02    T.E.                   Triborough ASC                     Fluor Needle/Cath Spine/Paraspina…     2/22/2021   77003      $225.00
1062284-02    T.E.                   Triborough ASC                     Urine Pregnancy Test Visual Color…     2/22/2021   81025       $30.00
1062284-02    T.E.                   Triborough ASC                    Glucose Quantitative Blood Xcpt R…      2/22/2021   82947       $20.00
1062284-02    T.E.                   Triborough ASC                   New Cpt Code 99072 Was Establishe…       2/22/2021   99072      $200.00
1062284-02    T.E.                   Triborough ASC                    Injection, Dexamethasone Sodium P…      2/22/2021   J1100       $52.64
1062284-02    T.E.                   Triborough ASC                              Unclassified Drugs…           2/22/2021   J3490       $40.64
1062284-02    T.E.                   Triborough ASC                    Low Osmolar Contrast Material, 10…      2/22/2021   Q9965       $13.90
1062523-04    C.C.              Accelerated Surgical Center              Injection Single/Mlt Trigger Poin…   11/13/2019   20553      $161.46
1062523-04    C.C.              Accelerated Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    11/13/2019   62321     $1,518.48
1062523-04    C.C.             Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes…     11/20/2019   22505      $748.08
1062523-04    C.C.             Surgicore of Jersey City LLC           Manj W/Anes Shoulder Joint W/Fixa…      11/20/2019   23700     $1,577.52
1062523-04    C.C.             Surgicore of Jersey City LLC            Clsd Tx Pelvic Ring Fx W/Manipula…     11/20/2019   27198      $405.94
1062523-04    C.C.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…     11/24/2019   29821     $1,472.45
1062523-04    C.C.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…     11/24/2019   29823     $1,472.45
1062523-04    C.C.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm…      11/24/2019   29826     $1,472.45
1062523-04    C.C.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Rotator Cuff…    11/24/2019   29827     $5,677.77
1062523-04    C.C.          Fifth Avenue Surgery Center LLC             Single Nerve Block Injection Arm …    11/24/2019   64415      $979.78
1062523-04    C.C.          Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …     11/24/2019   76942      $341.96
1062523-04    C.C.                Barnert Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Crv…     1/14/2020   64490     $3,036.96
1062523-04    C.C.                Barnert Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Crv…     1/14/2020   64491     $1,067.84
1062523-04    C.C.                Barnert Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Crv…     1/14/2020   64492     $1,067.84
1062523-04    C.C.             Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes…      1/15/2020   22505      $748.08
1062523-04    C.C.             Surgicore of Jersey City LLC           Manj W/Anes Shoulder Joint W/Fixa…       1/15/2020   23700     $1,577.52
1062523-04    C.C.             Surgicore of Jersey City LLC            Clsd Tx Pelvic Ring Fx W/Manipula…      1/15/2020   27198      $405.94
1062523-04    C.C.                Barnert Surgical Center                Injection Single/Mlt Trigger Poin…    2/18/2020   20553      $161.46
1062523-04    C.C.                Barnert Surgical Center              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      2/18/2020   62323     $1,518.48
1062523-04    C.C.                Barnert Surgical Center                Injection Single/Mlt Trigger Poin…    3/10/2020   20553      $161.46
1062523-04    C.C.          Island Ambulatory Surgery Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     5/19/2020   62321      $976.38
1062523-04    C.C.          Island Ambulatory Surgery Center                    Epidurograpy Rs&I…             5/19/2020   72275      $572.52
1062523-04    C.C.          Island Ambulatory Surgery Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     6/23/2020   62321      $976.38
1062523-04    C.C.          Island Ambulatory Surgery Center                    Epidurograpy Rs&I…             6/23/2020   72275      $572.52
1061881-03    T.C.              Hudson Regional Hospital                  Comprehensive Metabolic Panel…      11/19/2019   80053      $150.00
1061881-03    T.C.              Hudson Regional Hospital              Drug Tst Prsmv Instrmnt Chem Anal…      11/19/2019   80307      $359.15
1061881-03    T.C.              Hudson Regional Hospital              Drug Screen Quant Amphetamines 1 …      11/19/2019   80324      $269.37
1061881-03    T.C.              Hudson Regional Hospital                Antidepressants Serotonergic Clas…    11/19/2019   80332      $269.37
1061881-03    T.C.              Hudson Regional Hospital                Antidepressants Tricyclic Other C…    11/19/2019   80335      $270.31
1061881-03    T.C.              Hudson Regional Hospital                    Drug Screening Barbiturates…      11/19/2019   80345      $269.37
1061881-03    T.C.              Hudson Regional Hospital               Drug Screening Benzodiazepines 1-…     11/19/2019   80346      $269.37
1061881-03    T.C.              Hudson Regional Hospital                  Drug Screening Buprenorphine…       11/19/2019   80348      $269.37
1061881-03    T.C.              Hudson Regional Hospital                     Drug Screening Fentanyl…         11/19/2019   80354      $269.37
1061881-03    T.C.              Hudson Regional Hospital              Drug Screening Gabapentin Non-Blo…      11/19/2019   80355      $269.37
1061881-03    T.C.              Hudson Regional Hospital                Drug Screening Heroin Metabolite…     11/19/2019   80356      $269.37
1061881-03    T.C.              Hudson Regional Hospital                    Drug Screening Methadone…         11/19/2019   80358      $269.37
1061881-03    T.C.              Hudson Regional Hospital              Drug Screening Methylenedioxyamph…      11/19/2019   80359      $269.37
1061881-03    T.C.              Hudson Regional Hospital                 Drug Screening Methylphenidate…      11/19/2019   80360      $269.37
1061881-03    T.C.              Hudson Regional Hospital                Drug Screening Opiates 1 Or More…     11/19/2019   80361      $538.74
1061881-03    T.C.              Hudson Regional Hospital               Drug Screening Opioids And Opiate…     11/19/2019   80362      $537.74
1061881-03    T.C.              Hudson Regional Hospital                    Drug Screening Oxycodone…         11/19/2019   80365      $269.37
1061881-03    T.C.              Hudson Regional Hospital                    Drug Screening Pregabalin…        11/19/2019   80366      $269.37
1061881-03    T.C.              Hudson Regional Hospital               Drug Screening Sedative Hypnotics…     11/19/2019   80368      $269.37
1061881-03    T.C.              Hudson Regional Hospital               Drug Screening Skeletal Muscle Re…     11/19/2019   80369      $269.37
1061881-03    T.C.              Hudson Regional Hospital                    Drug Screening Tapentadol…        11/19/2019   80372      $269.37
1061881-03    T.C.              Hudson Regional Hospital                     Drug Screening Tramadol…         11/19/2019   80373      $269.37
1061881-03    T.C.              Hudson Regional Hospital                Urnls Dip Stick/Tablet Reagent Au…    11/19/2019   81001      $134.00
1061881-03    T.C.              Hudson Regional Hospital                  Hemoglobin Glycosylated A1C…        11/19/2019   83036       $66.70
1061881-03    T.C.              Hudson Regional Hospital                Gonadotropin Chorionic Qualitativ…    11/19/2019   84703       $51.65
1061881-03    T.C.              Hudson Regional Hospital              Blood Count Complete Auto&Auto Di…      11/19/2019   85025      $147.00
1061881-03    T.C.              Hudson Regional Hospital                         Prothrombin Time…            11/19/2019   85610      $143.00
1061881-03    T.C.              Hudson Regional Hospital               Thromboplastin Time Partial Plasm…     11/19/2019   85730      $147.00
1061881-03    T.C.              Hudson Regional Hospital              Antibody Screen Rbc Each Serum Te…      11/19/2019   86850      $105.80
1061881-03    T.C.              Hudson Regional Hospital                   Blood Typing Serologic Abo…        11/19/2019   86900      $498.84
1061881-03    T.C.              Hudson Regional Hospital                  Blood Typing Serologic Rh (D)…      11/19/2019   86901       $56.95
1061881-03    T.C.              Hudson Regional Hospital                 Iadna S Aureus Methicillin Resist…   11/19/2019   87641      $241.40
1061881-03    T.C.              Hudson Regional Hospital               Ecg Routine Ecg W/Least 12 Lds Tr…     11/19/2019   93005      $323.70
1061881-03    T.C.             Dynamic Surgery Center LLC               Njx Pltlt Plasma W/Img Harvest/Pr…    11/25/2019   0232T      $875.92

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                                                           1913
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1061881-03    T.C.               Dynamic Surgery Center LLC              Rpr Primary Disrupted Ligament An… 11/25/2019     27695     $3,030.34
1061881-03    T.C.               Dynamic Surgery Center LLC              Arthroscopy Ankle Surgical Debrid…   11/25/2019   29898     $3,060.57
1061881-03    T.C.               Dynamic Surgery Center LLC             Anchor/Screw For Opposing Bone-To… 11/25/2019      C1713     $5,100.00
1061881-03    T.C.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/21/2020   64493     $1,458.32
1061881-03    T.C.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/21/2020   64494     $1,342.62
1061881-03    T.C.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/21/2020   64495     $1,342.62
1061881-03    T.C.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…    1/9/2023   22526     $2,605.78
1061881-03    T.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …       1/9/2023   62287     $5,292.93
1061881-03    T.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Infectious Agent Detection By Nuc…     1/9/2023   87635       $51.33
1062025-02    Y.H.            Rockaways ASC Development LLC               Arthrocentesis Aspir&/Inj Major J…   8/19/2020   20610      $473.38
1062025-02    Y.H.            Rockaways ASC Development LLC             Arthroscopy Knee Synovectomy Limi… 8/19/2020       29875     $1,472.45
1062025-02    Y.H.            Rockaways ASC Development LLC            Arthrs Knee W/Meniscectomy Med&La… 8/19/2020        29880     $3,026.24
1062025-02    Y.H.            Rockaways ASC Development LLC                 Unlisted Procedure Arthroscopy…    8/19/2020   29999     $1,472.45
1062025-02    Y.H.            Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    8/19/2020   A4649       $50.00
1062025-02    Y.H.             Millennium Amb Surgery Ctr LLC            Dcmprn Perq Nucleus Pulposus 1/> …     9/8/2020   62287     $6,000.00
1062025-02    Y.H.             Millennium Amb Surgery Ctr LLC            Injection Px Discogrphy Ea Lvl Ce…     9/8/2020   62291      $600.00
1062025-02    Y.H.             Millennium Amb Surgery Ctr LLC            Diskograpy Cervical/Thoracic Rs&I…     9/8/2020   72285      $600.00
1062025-02    Y.H.             Millennium Amb Surgery Ctr LLC               Surgical Supply; Miscellaneous…     9/8/2020   A4649     $1,500.00
1062315-02    M.S.                       SCOB LLC                          Injection Single/Mlt Trigger Poin…   9/4/2019   20553      $473.39
1062315-02    M.S.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     9/4/2019   62323      $863.63
1062315-02    M.S.                       SCOB LLC                                 Epidurograpy Rs&I…            9/4/2019   72275      $572.53
1062315-02    M.S.                       SCOB LLC                          Injection Single/Mlt Trigger Poin…  9/18/2019   20553      $473.39
1062315-02    M.S.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/18/2019   62321      $863.63
1062315-02    M.S.          All City Family Healthcare Center, Inc.     Manj W/Anes Shoulder Joint W/Fixa…     11/1/2019   23700      $748.08
1062315-02    M.S.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surgical Cap…    11/1/2019   29806     $5,677.77
1062315-02    M.S.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Synovec…    11/1/2019   29821     $1,472.45
1062315-02    M.S.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…    11/1/2019   29823     $1,472.45
1062315-02    M.S.          All City Family Healthcare Center, Inc.       Arthroscopy Shoulder Ahesiolysis …   11/1/2019   29825     $1,472.45
1062315-02    M.S.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 11/1/2019       29826     $1,472.45
1062315-02    M.S.          All City Family Healthcare Center, Inc.       Single Nerve Block Injection Arm …   11/1/2019   64415      $979.78
1062315-02    M.S.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     11/1/2019   76942      $341.96
1063246-04    H.F.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C…      9/3/2020   29876     $1,472.45
1063246-04    H.F.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 9/3/2020         29880     $3,026.24
1063246-04    H.F.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     9/3/2020   A4649       $50.00
1063246-04    H.F.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…   3/22/2021   22526     $2,605.78
1063246-04    H.F.               Surgicore of Jersey City LLC             Perq Intrdscl Electrothrm Annulop…   3/22/2021   22527     $2,605.78
1063246-04    H.F.               Surgicore of Jersey City LLC            Dcmprn Perq Nucleus Pulposus 1/> …    3/22/2021   62287     $5,292.93
1063246-04    H.F.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…    3/22/2021   A4649       $50.00
1063246-04    H.F.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta… 3/22/2021       E0650      $531.06
1063246-04    H.F.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …     3/22/2021   E0666       $89.56
1061756-01    W.J.             Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…    5/4/2021   20610      $473.39
1061756-01    W.J.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…     5/4/2021   29821     $5,677.77
1061756-01    W.J.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…     5/4/2021   29823     $1,472.45
1061756-01    W.J.             Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    5/4/2021   64415      $979.78
1061756-01    W.J.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …      5/4/2021   76942      $341.96
1061756-01    W.J.             Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…     5/4/2021   A4649       $50.00
1061756-01    W.J.                     Good Medica Inc                  Pneumatic Compressor, Nonsegmenta…      5/4/2021   E0650      $531.06
1061756-01    W.J.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …      5/4/2021   E0666       $89.56
1063101-01    D.R.                Bergenfield Surgical Center              Injection Single/Mlt Trigger Poin…  10/4/2019   20552      $554.74
1063101-01    D.R.                Bergenfield Surgical Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    10/4/2019   62321     $1,012.32
1063101-01    D.R.                Bergenfield Surgical Center                     Epidurograpy Rs&I…           10/4/2019   72275      $572.52
1063101-01    D.R.       Surgicore LLC d/b/a Surgicore Surgical Center   Repair Secondary Disrupted Ligame…    10/8/2019   27698     $1,615.30
1063101-01    D.R.       Surgicore LLC d/b/a Surgicore Surgical Center    Open Tx Distal Tibiofibular Joint…   10/8/2019   27829     $4,869.06
1063101-01    D.R.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy Ankle Surgical Debrid…    10/8/2019   29898     $1,472.45
1063101-01    D.R.       Surgicore LLC d/b/a Surgicore Surgical Center     Injection Anesthetic Agent Sciati…  10/8/2019   64445      $976.38
1063101-01    D.R.       Surgicore LLC d/b/a Surgicore Surgical Center  Us Guidance Needle Placement Img …     10/8/2019   76942      $341.96
1063101-01    D.R.                Bergenfield Surgical Center              Injection Single/Mlt Trigger Poin… 10/25/2019   20552      $554.74
1063101-01    D.R.                Bergenfield Surgical Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/25/2019   62323     $1,012.32
1063101-01    D.R.                Bergenfield Surgical Center                     Epidurograpy Rs&I…          10/25/2019   72275      $572.52
1063101-01    D.R.                Bergenfield Surgical Center              Injection Single/Mlt Trigger Poin… 11/15/2019   20552      $554.74
1063101-01    D.R.                Bergenfield Surgical Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/15/2019   62323     $1,012.32
1063101-01    D.R.                Bergenfield Surgical Center                     Epidurograpy Rs&I…          11/15/2019   72275      $572.52
1063101-01    D.R.                Bergenfield Surgical Center                        Surgical Trays…          11/15/2019   A4550      $750.00
1063101-01    D.R.                Bergenfield Surgical Center              Injection Single/Mlt Trigger Poin…  12/6/2019   20552      $554.74
1063101-01    D.R.                Bergenfield Surgical Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    12/6/2019   62321     $1,012.32
1063101-01    D.R.                Bergenfield Surgical Center                     Epidurograpy Rs&I…           12/6/2019   72275      $572.52
1063101-01    D.R.                Bergenfield Surgical Center                        Surgical Trays…           12/6/2019   A4550      $750.00
1060916-01    J.C.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes…    7/19/2019   22505      $748.08

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                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                          Provider                                     Service
 Number      Person                                                                                              Service     Code       Billed
1060916-01    J.C.               Surgicore of Jersey City LLC            Manj W/Anes Shoulder Joint W/Fixa…      7/19/2019   23700      $748.08
1060916-01    J.C.               Surgicore of Jersey City LLC            Manj W/Anes Shoulder Joint W/Fixa…      7/19/2019   23700     $1,577.52
1060916-01    J.C.               Surgicore of Jersey City LLC            Clsd Tx Pelvic Ring Fx W/Manipula…      7/19/2019   27198      $405.94
1060916-01    J.C.               Surgicore of Jersey City LLC             Manipulation Spine Requiring Anes…     7/22/2019   22505      $748.08
1060916-01    J.C.               Surgicore of Jersey City LLC            Manj W/Anes Shoulder Joint W/Fixa…      7/22/2019   23700      $748.08
1060916-01    J.C.               Surgicore of Jersey City LLC            Manj W/Anes Shoulder Joint W/Fixa…      7/22/2019   23700     $1,577.52
1060916-01    J.C.               Surgicore of Jersey City LLC            Clsd Tx Pelvic Ring Fx W/Manipula…      7/22/2019   27198      $405.94
1060916-01    J.C.               Dynamic Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/1/2019   64493     $1,458.32
1060916-01    J.C.               Dynamic Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/1/2019   64494     $1,342.62
1060916-01    J.C.               Dynamic Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/1/2019   64495     $1,342.62
1060916-01    J.C.               Surgicore of Jersey City LLC             Manipulation Spine Requiring Anes…      8/2/2019   22505      $748.08
1060916-01    J.C.               Surgicore of Jersey City LLC            Manj W/Anes Shoulder Joint W/Fixa…       8/2/2019   23700      $748.08
1060916-01    J.C.               Surgicore of Jersey City LLC            Manj W/Anes Shoulder Joint W/Fixa…       8/2/2019   23700     $1,577.52
1060916-01    J.C.               Surgicore of Jersey City LLC            Clsd Tx Pelvic Ring Fx W/Manipula…       8/2/2019   27198      $405.94
1060916-01    J.C.              Healthplus Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/15/2019   64490     $1,458.32
1060916-01    J.C.              Healthplus Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/15/2019   64491     $1,342.62
1060916-01    J.C.              Healthplus Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/15/2019   64492     $1,342.62
1060916-01    J.C.               Dynamic Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     8/29/2019   64493     $1,458.32
1060916-01    J.C.               Dynamic Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     8/29/2019   64494     $1,342.62
1060916-01    J.C.               Dynamic Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     8/29/2019   64495     $1,342.62
1060916-01    J.C.              Healthplus Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…     9/28/2019   29821     $2,944.87
1060916-01    J.C.              Healthplus Surgery Center LLC             Arthroscopy Shoulder Surg Debride…     9/28/2019   29823     $3,060.57
1060916-01    J.C.              Healthplus Surgery Center LLC            Arthroscopy Shoulder W/Coracoacrm…      9/28/2019   29826     $2,944.87
1061160-03    M.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/11/2019   64493      $447.52
1061160-03    M.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/11/2019   64493      $976.38
1061160-03    M.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/11/2019   64494      $447.52
1061160-03    M.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/11/2019   64494      $447.52
1061160-03    M.M.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Synovec…     2/23/2021   29821     $5,677.77
1061160-03    M.M.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Debride…     2/23/2021   29823     $1,472.45
1061160-03    M.M.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …     2/23/2021   29825     $1,472.45
1061160-03    M.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder W/Coracoacrm…      2/23/2021   29826     $1,472.45
1061160-03    M.M.               Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …     2/23/2021   64415      $979.78
1061160-03    M.M.               Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …      2/23/2021   76942      $341.96
1061160-03    M.M.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…      2/23/2021   A4649       $50.00
1061160-03    M.M.               Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…    2/23/2021   L8699      $227.00
1061160-03    M.M.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…      2/23/2021   E0650      $531.06
1061160-03    M.M.                     Good Medica Inc                   Nonsegmental Pneumatic Appliance …      2/23/2021   E0666       $89.56
1061160-03    M.M.                     Good Medica Inc                    So, Acromio/Clavicular (Canvas An…     2/23/2021   L3670      $111.07
1061388-01    K.G.                       AMSC LLC                         Manipulation Spine Requiring Anes…     8/21/2019   22505      $788.76
1061388-01    K.G.                       AMSC LLC                        Clsd Tx Pelvic Ring Fx W/Manipula…      8/21/2019   27198      $446.62
1061388-01    K.G.                       AMSC LLC                         Manipulation Hip Joint General An…     8/21/2019   27275     $3,155.04
1061388-01    K.G.           Rockaways ASC Development LLC                Manipulation Spine Requiring Anes…     10/5/2019   22505     $1,577.52
1061388-01    K.G.           Rockaways ASC Development LLC               Clsd Tx Pelvic Ring Fx W/Manipula…      10/5/2019   27198      $893.24
1061388-01    K.G.           Rockaways ASC Development LLC                Manipulation Hip Joint General An…     10/5/2019   27275     $1,577.52
1061388-01    K.G.           Rockaways ASC Development LLC                Manipulation Hip Joint General An…     10/5/2019   27275     $1,577.52
1061388-01    K.G.           Rockaways ASC Development LLC                Manipulation Spine Requiring Anes…      2/8/2020   22505     $1,577.52
1061388-01    K.G.           Rockaways ASC Development LLC               Clsd Tx Pelvic Ring Fx W/Manipula…       2/8/2020   27198      $893.24
1061388-01    K.G.           Rockaways ASC Development LLC                Manipulation Hip Joint General An…      2/8/2020   27275     $1,577.52
1061388-01    K.G.           Rockaways ASC Development LLC                Manipulation Hip Joint General An…      2/8/2020   27275     $1,577.52
1061490-02    G.W.                       SCOB LLC                          Injection Single/Mlt Trigger Poin…    8/28/2019   20553      $473.39
1061490-02    G.W.                       SCOB LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/28/2019   64490     $1,014.11
1061490-02    G.W.                       SCOB LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/28/2019   64491      $898.41
1061490-02    G.W.                       SCOB LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/28/2019   64492      $898.41
1061490-02    G.W.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     11/6/2019   64493      $447.52
1061490-02    G.W.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     11/6/2019   64493      $976.38
1061490-02    G.W.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     11/6/2019   64494      $447.52
1061490-02    G.W.     NYEEQASC LLC d/b/a North Queens Surgical Center    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     11/6/2019   64494      $447.52
1061944-01    V.T.            Island Ambulatory Surgery Center             Perq Intrdscl Electrothrm Annulop…   12/19/2019   22526     $5,292.93
1061944-01    V.T.            Island Ambulatory Surgery Center            Dcmprn Perq Nucleus Pulposus 1/> …    12/19/2019   62287     $2,646.47
1061944-01    V.T.          All City Family Healthcare Center, Inc.        Arthrocentesis Aspir&/Inj Major J…    9/11/2020   20610      $473.38
1061944-01    V.T.          All City Family Healthcare Center, Inc.      Manj W/Anes Shoulder Joint W/Fixa…      9/11/2020   23700      $748.08
1061944-01    V.T.          All City Family Healthcare Center, Inc.       Arthroscopy Shoulder Surgical Cap…     9/11/2020   29806     $2,798.20
1061944-01    V.T.          All City Family Healthcare Center, Inc.       Arthroscopy Shoulder Surgical Rep…     9/11/2020   29807     $5,677.77
1061944-01    V.T.          All City Family Healthcare Center, Inc.       Arthroscopy Shoulder Surg Synovec…     9/11/2020   29821     $2,798.20
1061944-01    V.T.          All City Family Healthcare Center, Inc.       Arthroscopy Shoulder Surg Debride…     9/11/2020   29823     $1,472.45
1061944-01    V.T.          All City Family Healthcare Center, Inc.       Arthroscopy Shoulder Ahesiolysis …     9/11/2020   29825     $1,472.45
1061944-01    V.T.          All City Family Healthcare Center, Inc.       Single Nerve Block Injection Arm …     9/11/2020   64415      $979.78
1061944-01    V.T.          All City Family Healthcare Center, Inc.      Us Guidance Needle Placement Img …      9/11/2020   76942      $341.96

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                                                          1915
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1061944-01    V.T.        All City Family Healthcare Center, Inc.             Surgical Supply; Miscellaneous…     9/11/2020   A4649       $72.00
1061944-01    V.T.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…      6/3/2022   29875     $1,472.45
1061944-01    V.T.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 6/3/2022         29880     $3,026.24
1061944-01    V.T.        All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…      6/3/2022   29999     $1,472.45
1063270-01    J.P.                     AMSC LLC                              Injection Single/Mlt Trigger Poin…   8/21/2019   20553      $277.37
1063270-01    J.P.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/21/2019   62321      $976.38
1063270-01    J.P.                     AMSC LLC                                     Epidurograpy Rs&I…            8/21/2019   72275      $572.52
1063270-01    J.P.                     AMSC LLC                            Us Guidance Needle Placement Img …     8/21/2019   76942      $423.32
1063270-01    J.P.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…   2/20/2020   22526     $2,605.78
1063270-01    J.P.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…   2/20/2020   22527     $2,605.79
1063270-01    J.P.        All City Family Healthcare Center, Inc.          Dcmprn Perq Nucleus Pulposus 1/> …     2/20/2020   62287     $5,292.93
1063270-01    J.P.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…   8/13/2020   20552      $236.69
1063270-01    J.P.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/13/2020   62321      $976.38
1063270-01    J.P.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …     8/13/2020   76942      $341.96
1063270-01    J.P.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…     8/13/2020   A4649       $50.00
1063270-01    J.P.         Rockaways ASC Development LLC                     Perq Intrdscl Electrothrm Annulop…   8/27/2020   22526     $2,605.78
1063270-01    J.P.         Rockaways ASC Development LLC                   Discectomy Ant Dcmprn Cord Cervic… 8/27/2020       63075     $5,292.93
1063270-01    J.P.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…     8/27/2020   A4649       $50.00
1060757-01    N.R.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…      9/3/2019   29821     $1,472.45
1060757-01    N.R.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…     9/3/2019   29823     $3,026.24
1060757-01    N.R.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …     9/3/2019   29825     $1,472.45
1060757-01    N.R.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …     9/3/2019   64415      $979.78
1060757-01    N.R.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …      9/3/2019   76942      $341.96
1060757-01    N.R.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 9/10/2019       29875     $1,472.45
1060757-01    N.R.          Fifth Avenue Surgery Center LLC               Arthrs Kne Surg W/Meniscectomy Me… 9/10/2019        29881     $3,026.24
1060757-01    N.R.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…    9/10/2019   64447      $829.30
1060757-01    N.R.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     9/10/2019   76942      $341.96
1060757-01    N.R.            Healthplus Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/18/2020   62321      $829.30
1060757-01    N.R.            Healthplus Surgery Center LLC                         Epidurograpy Rs&I…            6/18/2020   72275      $572.53
1060757-01    N.R.            Healthplus Surgery Center LLC                 Immunoassay For Infectious Agent …    6/18/2020   86328      $199.00
1060757-01    N.R.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…    3/18/2021   87635     $1,200.00
1060757-01    N.R.              Hudson Regional Hospital                      Drug Test(S), Definitive, Utilizi…  3/23/2021   G0483     $1,234.60
1061167-01    F.F.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/16/2019   62323      $976.38
1061167-01    F.F.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/30/2019   62323      $976.38
1061167-01    F.F.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/19/2019   62321      $976.38
1061167-01    F.F.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…     12/9/2019   23700      $748.08
1061167-01    F.F.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    12/9/2019   29823     $3,026.24
1061167-01    F.F.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …    12/9/2019   29825     $1,472.45
1061167-01    F.F.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 12/9/2019       29826     $1,472.45
1061167-01    F.F.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    12/9/2019   64415      $979.78
1061167-01    F.F.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     12/9/2019   76942      $341.96
1060850-01    L.L.                     AMSC LLC                             Manipulation Spine Requiring Anes…    8/21/2019   22505      $788.76
1060850-01    L.L.                     AMSC LLC                            Clsd Tx Pelvic Ring Fx W/Manipula…     8/21/2019   27198      $446.62
1060850-01    L.L.                     AMSC LLC                             Manipulation Hip Joint General An…    8/21/2019   27275     $3,155.04
1060850-01    L.L.         Rockaways ASC Development LLC                    Manipulation Spine Requiring Anes…    8/27/2019   22505     $1,577.52
1060850-01    L.L.         Rockaways ASC Development LLC                   Clsd Tx Pelvic Ring Fx W/Manipula…     8/27/2019   27198      $893.24
1060850-01    L.L.         Rockaways ASC Development LLC                    Manipulation Hip Joint General An…    8/27/2019   27275      $788.76
1060850-01    L.L.         Rockaways ASC Development LLC                    Manipulation Hip Joint General An…    8/27/2019   27275      $788.76
1060850-01    L.L.         Rockaways ASC Development LLC                    Manipulation Spine Requiring Anes…     9/7/2019   22505     $1,577.52
1060850-01    L.L.         Rockaways ASC Development LLC                   Clsd Tx Pelvic Ring Fx W/Manipula…      9/7/2019   27198      $893.24
1060850-01    L.L.         Rockaways ASC Development LLC                    Manipulation Hip Joint General An…     9/7/2019   27275      $788.76
1060850-01    L.L.         Rockaways ASC Development LLC                    Manipulation Hip Joint General An…     9/7/2019   27275      $788.76
1060850-01    L.L.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…   9/15/2019   20552      $554.74
1060850-01    L.L.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/15/2019   62323      $976.38
1060850-01    L.L.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…            9/15/2019   72275      $572.52
1060850-01    L.L.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …     9/15/2019   76942      $423.32
1060850-01    L.L.             Dynamic Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/31/2019   62321      $863.63
1060850-01    L.L.             Dynamic Surgery Center LLC                           Epidurograpy Rs&I…           10/31/2019   72275      $572.53
1060850-01    L.L.              Hudson Regional Hospital                    Infectious Agent Detection By Nuc…    3/10/2021   87635     $1,200.00
1060850-01    L.L.              Hudson Regional Hospital                      Drug Test(S), Definitive, Utilizi…  3/15/2021   G0483     $1,234.60
1060850-01    L.L.              Hudson Regional Hospital                   Collection Venous Blood Venipunct…     9/27/2023   36415       $50.00
1060850-01    L.L.              Hudson Regional Hospital                      Comprehensive Metabolic Panel…      9/27/2023   80053      $150.00
1060850-01    L.L.              Hudson Regional Hospital                    Urnls Dip Stick/Tablet Reagent Au…    9/27/2023   81001      $134.00
1060850-01    L.L.              Hudson Regional Hospital                      Hemoglobin Glycosylated A1C…        9/27/2023   83036       $66.70
1060850-01    L.L.              Hudson Regional Hospital                    Gonadotropin Chorionic Qualitativ…    9/27/2023   84703       $51.65
1060850-01    L.L.              Hudson Regional Hospital                  Blood Count Complete Auto&Auto Di… 9/27/2023        85025      $147.00
1060850-01    L.L.              Hudson Regional Hospital                             Prothrombin Time…            9/27/2023   85610      $143.00
1060850-01    L.L.              Hudson Regional Hospital                    Thromboplastin Time Partial Plasm…    9/27/2023   85730      $147.00

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                       Provider                                          Service
 Number      Person                                                                                                 Service     Code       Billed
1060850-01    L.L.              Hudson Regional Hospital                  Antibody Screen Rbc Each Serum Te…        9/27/2023   86850      $105.80
1060850-01    L.L.              Hudson Regional Hospital                       Blood Typing Serologic Abo…          9/27/2023   86900      $498.84
1060850-01    L.L.              Hudson Regional Hospital                      Blood Typing Serologic Rh (D)…        9/27/2023   86901       $56.95
1060850-01    L.L.              Hudson Regional Hospital                   Infectious Agent Detection By Nuc…       9/27/2023   87635     $1,200.00
1060850-01    L.L.              Hudson Regional Hospital                    Iadna S Aureus Methicillin Resist…      9/27/2023   87641      $241.40
1060850-01    L.L.              Hudson Regional Hospital                   Ecg Routine Ecg W/Least 12 Lds Tr…       9/27/2023   93005      $323.70
1060850-01    L.L.              Hudson Regional Hospital                      Hospital Outpatient Clinic Visit …    9/27/2023   C9803      $115.64
1061830-03    M.A.          Rockaways ASC Development LLC                  Manipulation Spine Requiring Anes…      10/27/2019   22505     $1,577.52
1061830-03    M.A.          Rockaways ASC Development LLC                  Clsd Tx Pelvic Ring Fx W/Manipula…      10/27/2019   27198      $893.24
1061830-03    M.A.          Rockaways ASC Development LLC                  Manipulation Hip Joint General An…      10/27/2019   27275     $1,577.52
1061830-03    M.A.          Rockaways ASC Development LLC                  Manipulation Spine Requiring Anes…      11/24/2019   22505     $1,577.52
1061830-03    M.A.          Rockaways ASC Development LLC                  Clsd Tx Pelvic Ring Fx W/Manipula…      11/24/2019   27198      $893.24
1061830-03    M.A.          Rockaways ASC Development LLC                  Manipulation Hip Joint General An…      11/24/2019   27275     $1,577.52
1061830-03    M.A.       Ambulatory Surgical Center of Englewood            Arthrocentesis Aspir&/Inj Major J…      12/4/2019   20610       $78.97
1061830-03    M.A.       Ambulatory Surgical Center of Englewood          Arthroscopy Knee Synovectomy 2/>C…        12/4/2019   29876     $1,792.29
1061830-03    M.A.       Ambulatory Surgical Center of Englewood           Arthrs Knee Debridement/Shaving A…       12/4/2019   29877     $1,694.19
1061830-03    M.A.       Ambulatory Surgical Center of Englewood          Arthrs Kne Surg W/Meniscectomy Me…        12/4/2019   29881     $3,997.71
1061830-03    M.A.       Ambulatory Surgical Center of Englewood           Nonemergency Transportation; Taxi…       12/4/2019   A0100      $300.00
1061830-03    M.A.       Ambulatory Surgical Center of Englewood              Surgical Supply; Miscellaneous…       12/4/2019   A4649     $1,500.00
1060141-01    R.D.        Bronx SC LLC d/b/a Empire State ASC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      10/18/2019   62321      $976.38
1060141-01    R.D.                     SCOB LLC                            Arthroscopy Shoulder Surg Synovec…       1/13/2020   29821     $2,944.87
1060141-01    R.D.                     SCOB LLC                            Arthroscopy Shoulder Surg Debride…       1/13/2020   29823     $2,944.87
1060141-01    R.D.                     SCOB LLC                             Arthroscopy Shoulder Ahesiolysis …      1/13/2020   29825     $2,944.87
1060141-01    R.D.                     SCOB LLC                           Arthroscopy Shoulder W/Coracoacrm…        1/13/2020   29826     $2,944.87
1060141-01    R.D.                     SCOB LLC                            Arthroscopy Shoulder Rotator Cuff…       1/13/2020   29827     $5,712.10
1060141-01    R.D.                     SCOB LLC                           Anchor/Screw For Opposing Bone-To…        1/13/2020   C1713     $1,113.00
1059918-01    J.S.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec…       7/22/2019   29821     $1,472.45
1059918-01    J.S.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Debride…       7/22/2019   29823     $3,026.24
1059918-01    J.S.             Surgicore of Jersey City LLC               Arthroscopy Shoulder W/Coracoacrm…        7/22/2019   29826     $1,472.45
1059918-01    J.S.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …      7/22/2019   64415      $979.78
1059918-01    J.S.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …       7/22/2019   76942      $341.96
1059918-01    J.S.              CHC Surgical Center LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       1/10/2020   62321      $829.30
1059918-01    J.S.              CHC Surgical Center LLC                             Epidurograpy Rs&I…              1/10/2020   72275      $572.53
1059772-01    I.R.               Barnert Surgical Center                     Injection Single/Mlt Trigger Poin…      1/7/2020   20553      $161.46
1059772-01    I.R.               Barnert Surgical Center                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…        1/7/2020   62323     $1,518.48
1059772-01    I.R.               Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…        1/21/2020   64483     $1,518.48
1059772-01    I.R.               Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…        1/21/2020   64484      $776.84
1059772-01    I.R.               Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…        1/21/2020   64484      $776.84
1059772-01    I.R.               Barnert Surgical Center                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       2/11/2020   62323     $1,518.48
1059772-01    I.R.             Accelerated Surgical Center                   Injection Single/Mlt Trigger Poin…     2/25/2020   20553      $161.46
1059772-01    I.R.             Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       2/25/2020   64493     $3,036.96
1059772-01    I.R.             Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       2/25/2020   64494     $1,067.84
1059772-01    I.R.             Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       2/25/2020   64495     $1,067.84
1059772-01    I.R.               Barnert Surgical Center                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       3/10/2020   64493     $3,036.96
1059772-01    I.R.               Barnert Surgical Center                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       3/10/2020   64494     $1,067.84
1059772-01    I.R.               Barnert Surgical Center                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       3/10/2020   64495     $1,067.84
1059772-01    I.R.        Rockland & Bergen Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…       5/28/2020   29821     $5,677.77
1059772-01    I.R.        Rockland & Bergen Surgery Center LLC             Arthroscopy Shoulder Surg Debride…       5/28/2020   29823     $1,472.45
1059772-01    I.R.        Rockland & Bergen Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …      5/28/2020   29825     $1,472.45
1059772-01    I.R.        Rockland & Bergen Surgery Center LLC            Arthroscopy Shoulder W/Coracoacrm…        5/28/2020   29826     $1,472.45
1059772-01    I.R.        Rockland & Bergen Surgery Center LLC                Unlisted Procedure Arthroscopy…       5/28/2020   29999     $1,472.45
1059772-01    I.R.        Rockland & Bergen Surgery Center LLC              Single Nerve Block Injection Arm …      5/28/2020   64415      $979.78
1059772-01    I.R.        Rockland & Bergen Surgery Center LLC             Us Guidance Needle Placement Img …       5/28/2020   76942      $341.96
1059712-01    L.N.             East Tremont Medical Center                Musc Tstg Mnl W/Reprt Xtr Ex Hand…        6/27/2019   95831      $100.00
1059712-01    L.N.             East Tremont Medical Center                Musc Tstg Mnl W/Reprt Xtr Ex Hand…        6/27/2019   95831      $100.00
1059712-01    L.N.             East Tremont Medical Center                Musc Tstg Mnl W/Reprt Xtr Ex Hand…        6/27/2019   95831      $100.00
1059712-01    L.N.             East Tremont Medical Center                Musc Tstg Mnl W/Reprt Xtr Ex Hand…        6/27/2019   95831      $100.00
1059712-01    L.N.             East Tremont Medical Center                Rom Meas&Reprt Ea Xtr Ex Hand/Ea …        6/27/2019   95851      $125.00
1059712-01    L.N.             East Tremont Medical Center                Rom Meas&Reprt Ea Xtr Ex Hand/Ea …        6/27/2019   95851      $125.00
1059712-01    L.N.             East Tremont Medical Center                Rom Meas&Reprt Ea Xtr Ex Hand/Ea …        6/27/2019   95851      $125.00
1059712-01    L.N.             East Tremont Medical Center                Rom Meas&Reprt Ea Xtr Ex Hand/Ea …        6/27/2019   95851      $125.00
1059712-01    L.N.             East Tremont Medical Center                 Application Modality 1/> Areas Ho…       6/27/2019   97010        $5.76
1059712-01    L.N.             East Tremont Medical Center                 Appl Modality 1/> Areas Elec Stim…       6/27/2019   97014       $64.00
1059712-01    L.N.             East Tremont Medical Center                 Appl Modality 1/> Areas Elec Stim…       6/27/2019   97014       $64.00
1059712-01    L.N.             East Tremont Medical Center                 Appl Modality 1/> Areas Elec Stim…       6/27/2019   97014       $64.00
1059712-01    L.N.             East Tremont Medical Center                 Appl Modality 1/> Areas Elec Stim…       6/27/2019   97032       $75.00
1059712-01    L.N.             East Tremont Medical Center                 Appl Modality 1/> Areas Elec Stim…       6/27/2019   97032       $75.00
1059712-01    L.N.             East Tremont Medical Center                 Appl Modality 1/> Areas Elec Stim…       6/27/2019   97032       $25.67

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                                                        1917
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                     Date of     Billing   Amount
                                      Provider                                  Service
 Number      Person                                                                                      Service     Code       Billed
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   6/27/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   6/27/2019   97110     $150.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   6/27/2019   97110     $150.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   6/27/2019   97110     $150.00
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    6/27/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    6/27/2019   97140      $60.00
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    6/27/2019   97140      $60.00
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    6/27/2019   97140      $60.00
1059712-01    L.N.            East Tremont Medical Center          Physical Therapy Evaluation Mod C…    6/27/2019   97162     $100.00
1059712-01    L.N.            East Tremont Medical Center          Physical Therapy Evaluation Mod C…    6/27/2019   97162     $100.00
1059712-01    L.N.            East Tremont Medical Center          Physical Therapy Evaluation Mod C…    6/27/2019   97162      $99.25
1059712-01    L.N.            East Tremont Medical Center          Physical Therapy Evaluation Mod C…    6/27/2019   97162     $100.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/11/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/11/2019   97014      $64.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/11/2019   97014      $64.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/11/2019   97014      $64.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/11/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/11/2019   97032      $75.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/11/2019   97032      $75.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/11/2019   97032      $75.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/11/2019   97110     $150.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/11/2019   97110     $150.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/11/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/11/2019   97110     $150.00
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    7/11/2019   97140      $60.00
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    7/11/2019   97140      $60.00
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    7/11/2019   97140      $60.00
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    7/11/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/12/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/12/2019   97014      $64.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/12/2019   97014      $64.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/12/2019   97014      $64.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/12/2019   97032      $75.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/12/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/12/2019   97032      $75.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/12/2019   97032      $75.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/12/2019   97110     $150.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/12/2019   97110     $150.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/12/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/12/2019   97110     $150.00
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    7/12/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    7/12/2019   97140      $60.00
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    7/12/2019   97140      $60.00
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    7/12/2019   97140      $60.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/18/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/18/2019   97010      $60.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/18/2019   97010      $60.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/18/2019   97010      $60.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/18/2019   97032      $75.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/18/2019   97032      $75.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/18/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/18/2019   97032      $75.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/18/2019   97110     $150.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/18/2019   97110     $150.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/18/2019   97110     $150.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/18/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    7/18/2019   97140      $60.00
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    7/18/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    7/18/2019   97140      $60.00
1059712-01    L.N.            East Tremont Medical Center          Manual Therapy Tqs 1/> Regions Ea…    7/18/2019   97140      $60.00
1059712-01    L.N.            East Tremont Medical Center          Musc Tstg Mnl W/Reprt Xtr Ex Hand…    7/25/2019   95831     $200.00
1059712-01    L.N.            East Tremont Medical Center          Musc Tstg Mnl W/Reprt Xtr Ex Hand…    7/25/2019   95831     $100.00
1059712-01    L.N.            East Tremont Medical Center          Musc Tstg Mnl W/Reprt Xtr Ex Hand…    7/25/2019   95831     $200.00
1059712-01    L.N.            East Tremont Medical Center          Musc Tstg Mnl W/Reprt Xtr Ex Hand…    7/25/2019   95831     $200.00
1059712-01    L.N.            East Tremont Medical Center          Musc Tstg Mnl W/Reprt Xtr Ex Hand…    7/25/2019   95831     $200.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/25/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/25/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/25/2019   97010     $160.00

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                                                        1918
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                     Date of     Billing   Amount
                                      Provider                                   Service
 Number      Person                                                                                      Service     Code       Billed
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/25/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/25/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/25/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/25/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/25/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/25/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/25/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/25/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/25/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/25/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/25/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/25/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   7/25/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   7/25/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   7/25/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   7/25/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   7/25/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Evaluation Mod C…   7/25/2019   97162     $300.00
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Evaluation Mod C…   7/25/2019   97162      $99.25
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Evaluation Mod C…   7/25/2019   97162     $300.00
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Evaluation Mod C…   7/25/2019   97162     $300.00
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Evaluation Mod C…   7/25/2019   97162     $300.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/26/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/26/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/26/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/26/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/26/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/26/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/26/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/26/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/26/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/26/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/26/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/26/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   7/26/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   7/26/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   7/26/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   7/26/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/30/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/30/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/30/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   7/30/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/30/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/30/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/30/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   7/30/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/30/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/30/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/30/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   7/30/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   7/30/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   7/30/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   7/30/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   7/30/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    8/6/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    8/6/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    8/6/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    8/6/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    8/6/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    8/6/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    8/6/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    8/6/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    8/6/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    8/6/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    8/6/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    8/6/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    8/6/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    8/6/2019   97140      $44.33

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…     8/6/2019   97140      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…     8/6/2019   97140      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Application Modality 1/> Areas Ho…     8/8/2019   97010        $5.76
1059712-01    L.N.             East Tremont Medical Center                  Application Modality 1/> Areas Ho…     8/8/2019   97010      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Application Modality 1/> Areas Ho…     8/8/2019   97010      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…     8/8/2019   97014       $64.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…     8/8/2019   97014       $64.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…     8/8/2019   97032       $25.67
1059712-01    L.N.             East Tremont Medical Center                  Therapeutic Px 1/> Areas Each 15 …     8/8/2019   97110      $350.00
1059712-01    L.N.             East Tremont Medical Center                  Therapeutic Px 1/> Areas Each 15 …     8/8/2019   97110       $83.22
1059712-01    L.N.             East Tremont Medical Center                  Therapeutic Px 1/> Areas Each 15 …     8/8/2019   97110      $350.00
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…     8/8/2019   97140      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…     8/8/2019   97140       $44.33
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…     8/8/2019   97140      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Application Modality 1/> Areas Ho…    8/15/2019   97010      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Application Modality 1/> Areas Ho…    8/15/2019   97010        $5.76
1059712-01    L.N.             East Tremont Medical Center                  Application Modality 1/> Areas Ho…    8/15/2019   97010      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…    8/15/2019   97032      $175.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…    8/15/2019   97032      $175.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…    8/15/2019   97032      $175.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…    8/15/2019   97032       $25.67
1059712-01    L.N.             East Tremont Medical Center                  Therapeutic Px 1/> Areas Each 15 …    8/15/2019   97110      $175.00
1059712-01    L.N.             East Tremont Medical Center                  Therapeutic Px 1/> Areas Each 15 …    8/15/2019   97110       $83.22
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…    8/15/2019   97140      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…    8/15/2019   97140       $44.33
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…    8/15/2019   97140      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Application Modality 1/> Areas Ho…    8/20/2019   97010      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Application Modality 1/> Areas Ho…    8/20/2019   97010        $5.76
1059712-01    L.N.             East Tremont Medical Center                  Application Modality 1/> Areas Ho…    8/20/2019   97010      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…    8/20/2019   97014       $64.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…    8/20/2019   97014       $64.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…    8/20/2019   97032       $25.67
1059712-01    L.N.             East Tremont Medical Center                  Therapeutic Px 1/> Areas Each 15 …    8/20/2019   97110      $350.00
1059712-01    L.N.             East Tremont Medical Center                  Therapeutic Px 1/> Areas Each 15 …    8/20/2019   97110       $83.22
1059712-01    L.N.             East Tremont Medical Center                  Therapeutic Px 1/> Areas Each 15 …    8/20/2019   97110      $350.00
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…    8/20/2019   97140      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…    8/20/2019   97140       $44.33
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…    8/20/2019   97140      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Application Modality 1/> Areas Ho…    8/22/2019   97010        $5.76
1059712-01    L.N.             East Tremont Medical Center                  Application Modality 1/> Areas Ho…    8/22/2019   97010      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Application Modality 1/> Areas Ho…    8/22/2019   97010      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Application Modality 1/> Areas Ho…    8/22/2019   97010      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…    8/22/2019   97014       $64.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…    8/22/2019   97014       $64.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…    8/22/2019   97014       $64.00
1059712-01    L.N.             East Tremont Medical Center                  Appl Modality 1/> Areas Elec Stim…    8/22/2019   97032       $25.67
1059712-01    L.N.             East Tremont Medical Center                  Therapeutic Px 1/> Areas Each 15 …    8/22/2019   97110      $350.00
1059712-01    L.N.             East Tremont Medical Center                  Therapeutic Px 1/> Areas Each 15 …    8/22/2019   97110      $350.00
1059712-01    L.N.             East Tremont Medical Center                  Therapeutic Px 1/> Areas Each 15 …    8/22/2019   97110       $83.22
1059712-01    L.N.             East Tremont Medical Center                  Therapeutic Px 1/> Areas Each 15 …    8/22/2019   97110      $350.00
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…    8/22/2019   97140       $44.33
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…    8/22/2019   97140      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…    8/22/2019   97140      $160.00
1059712-01    L.N.             East Tremont Medical Center                  Manual Therapy Tqs 1/> Regions Ea…    8/22/2019   97140      $160.00
1059712-01    L.N.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    8/26/2019   29821     $1,472.45
1059712-01    L.N.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    8/26/2019   29823     $1,472.45
1059712-01    L.N.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …   8/26/2019   29825     $1,472.45
1059712-01    L.N.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Rotator Cuff…    8/26/2019   29827     $5,677.77
1059712-01    L.N.        All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…     8/26/2019   29999     $1,472.45
1059712-01    L.N.        All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…     8/26/2019   29999     $1,472.45
1059712-01    L.N.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …   8/26/2019   64415      $979.78
1059712-01    L.N.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …    8/26/2019   76942      $341.96
1059712-01    L.N.             East Tremont Medical Center                 Musc Tstg Mnl W/Reprt Xtr Ex Hand…      9/9/2019   95831      $200.00
1059712-01    L.N.             East Tremont Medical Center                 Musc Tstg Mnl W/Reprt Xtr Ex Hand…      9/9/2019   95831      $200.00
1059712-01    L.N.             East Tremont Medical Center                 Musc Tstg Mnl W/Reprt Xtr Ex Hand…      9/9/2019   95831      $200.00
1059712-01    L.N.             East Tremont Medical Center                 Rom Meas&Reprt Ea Xtr Ex Hand/Ea …      9/9/2019   95851      $250.00
1059712-01    L.N.             East Tremont Medical Center                 Rom Meas&Reprt Ea Xtr Ex Hand/Ea …      9/9/2019   95851      $250.00
1059712-01    L.N.             East Tremont Medical Center                 Rom Meas&Reprt Ea Xtr Ex Hand/Ea …      9/9/2019   95851      $250.00

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                                                        1920
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                     Date of     Billing   Amount
                                      Provider                                   Service
 Number      Person                                                                                      Service     Code       Billed
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    9/9/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    9/9/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    9/9/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    9/9/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    9/9/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    9/9/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    9/9/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    9/9/2019   97110     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    9/9/2019   97110     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    9/9/2019   97110      $41.61
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    9/9/2019   97110     $175.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    9/9/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    9/9/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    9/9/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    9/9/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Re-Eval Est Plan…    9/9/2019   97164     $300.00
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Re-Eval Est Plan…    9/9/2019   97164      $41.92
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Re-Eval Est Plan…    9/9/2019   97164     $300.00
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Re-Eval Est Plan…    9/9/2019   97164     $300.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   9/10/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   9/10/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   9/10/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   9/10/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   9/10/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   9/10/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   9/10/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   9/10/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   9/10/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   9/10/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   9/10/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   9/10/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   9/17/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   9/17/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   9/17/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   9/17/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   9/17/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   9/17/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   9/17/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   9/17/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   9/17/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   9/17/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   9/17/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   9/17/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   9/25/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   9/25/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   9/25/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   9/25/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   9/25/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   9/25/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   9/25/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   9/25/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   9/25/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   9/25/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   9/25/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   9/25/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/3/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/3/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/3/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/3/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/3/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/3/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/3/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/3/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/3/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/3/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/3/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/3/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   10/3/2019   97140     $160.00

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                                                        1921
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                      Date of     Billing   Amount
                                      Provider                                  Service
 Number      Person                                                                                       Service     Code       Billed
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    10/3/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    10/3/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    10/3/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    10/4/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    10/4/2019   97010       $3.94
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    10/4/2019   97010       $3.94
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    10/4/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    10/4/2019   97032      $17.56
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    10/4/2019   97032      $17.56
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    10/4/2019   97110      $28.46
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    10/4/2019   97110      $28.46
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    10/4/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    10/4/2019   97140      $30.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    10/4/2019   97140      $30.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    10/4/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/10/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/10/2019   97010       $3.94
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/10/2019   97010       $3.94
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/10/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/10/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/10/2019   97032      $17.56
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/10/2019   97032      $17.56
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/10/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/10/2019   97110      $28.46
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/10/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/10/2019   97110      $28.46
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/10/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   10/10/2019   97140      $30.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   10/10/2019   97140      $30.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   10/10/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   10/10/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center          Musc Tstg Mnl W/Reprt Xtr Ex Hand…    10/23/2019   95831     $100.00
1059712-01    L.N.            East Tremont Medical Center          Musc Tstg Mnl W/Reprt Xtr Ex Hand…    10/23/2019   95831     $200.00
1059712-01    L.N.            East Tremont Medical Center          Musc Tstg Mnl W/Reprt Xtr Ex Hand…    10/23/2019   95831     $200.00
1059712-01    L.N.            East Tremont Medical Center          Musc Tstg Mnl W/Reprt Xtr Ex Hand…    10/23/2019   95831     $250.00
1059712-01    L.N.            East Tremont Medical Center          Rom Meas&Reprt Ea Xtr Ex Hand/Ea …    10/23/2019   95851     $125.00
1059712-01    L.N.            East Tremont Medical Center          Rom Meas&Reprt Ea Xtr Ex Hand/Ea …    10/23/2019   95851     $250.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/23/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/23/2019   97010       $3.94
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/23/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/23/2019   97032      $17.56
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/23/2019   97032      $17.56
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/23/2019   97110      $28.46
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/23/2019   97110      $28.46
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   10/23/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   10/23/2019   97140      $30.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   10/23/2019   97140      $30.33
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Re-Eval Est Plan…   10/23/2019   97164      $41.92
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Re-Eval Est Plan…   10/23/2019   97164      $28.68
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Re-Eval Est Plan…   10/23/2019   97164      $28.68
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/24/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/24/2019   97010       $3.94
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/24/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   10/24/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/24/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/24/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/24/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   10/24/2019   97032      $17.56
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/24/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/24/2019   97110      $28.46
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/24/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   10/24/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   10/24/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   10/24/2019   97140      $30.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   10/24/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   10/24/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    11/1/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    11/1/2019   97010       $3.94

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                                                        1922
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                      Date of     Billing   Amount
                                      Provider                                  Service
 Number      Person                                                                                       Service     Code       Billed
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    11/1/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    11/1/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    11/1/2019   97032      $17.56
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    11/1/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    11/1/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    11/1/2019   97110      $28.46
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    11/1/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    11/1/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    11/1/2019   97140      $30.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    11/1/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   11/21/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   11/21/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   11/21/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   11/21/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   11/21/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   11/21/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   11/21/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   11/21/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   11/21/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   11/21/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   11/21/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   11/21/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   11/22/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   11/22/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   11/22/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   11/22/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   11/22/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   11/22/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   11/22/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   11/22/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   11/22/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   11/22/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   11/22/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   11/22/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   11/26/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   11/26/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   11/26/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   11/26/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   11/26/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   11/26/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   11/26/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   11/26/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …   11/26/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   11/26/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   11/26/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…   11/26/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center          Musc Tstg Mnl W/Reprt Xtr Ex Hand…     12/5/2019   95831     $200.00
1059712-01    L.N.            East Tremont Medical Center          Musc Tstg Mnl W/Reprt Xtr Ex Hand…     12/5/2019   95831     $100.00
1059712-01    L.N.            East Tremont Medical Center          Rom Meas&Reprt Ea Xtr Ex Hand/Ea …     12/5/2019   95851     $250.00
1059712-01    L.N.            East Tremont Medical Center          Rom Meas&Reprt Ea Xtr Ex Hand/Ea …     12/5/2019   95851     $125.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    12/5/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    12/5/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    12/5/2019   97032      $25.67
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    12/5/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    12/5/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    12/5/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Re-Eval Est Plan…    12/5/2019   97164     $300.00
1059712-01    L.N.            East Tremont Medical Center           Physical Therapy Re-Eval Est Plan…    12/5/2019   97164      $41.92
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    12/6/2019   97010     $160.00
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…    12/6/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…    12/6/2019   97032     $175.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    12/6/2019   97110     $350.00
1059712-01    L.N.            East Tremont Medical Center           Therapeutic Px 1/> Areas Each 15 …    12/6/2019   97110      $83.22
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    12/6/2019   97140     $160.00
1059712-01    L.N.            East Tremont Medical Center           Manual Therapy Tqs 1/> Regions Ea…    12/6/2019   97140      $44.33
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   12/19/2019   97010       $3.94
1059712-01    L.N.            East Tremont Medical Center           Application Modality 1/> Areas Ho…   12/19/2019   97010       $5.76
1059712-01    L.N.            East Tremont Medical Center           Appl Modality 1/> Areas Elec Stim…   12/19/2019   97032      $17.56

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                                                          1923
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                                Service     Code       Billed
1059712-01    L.N.            East Tremont Medical Center                 Therapeutic Px 1/> Areas Each 15 …      12/19/2019   97110        $28.46
1059712-01    L.N.            East Tremont Medical Center                 Therapeutic Px 1/> Areas Each 15 …      12/19/2019   97110        $83.22
1059712-01    L.N.            East Tremont Medical Center                Manual Therapy Tqs 1/> Regions Ea…       12/19/2019   97140        $30.33
1059712-01    L.N.            East Tremont Medical Center                Manual Therapy Tqs 1/> Regions Ea…       12/19/2019   97140        $44.33
1059712-01    L.N.            East Tremont Medical Center               Musc Tstg Mnl W/Reprt Xtr Ex Hand…          9/9/2020   95831       $100.00
1059712-01    L.N.            East Tremont Medical Center               Rom Meas&Reprt Ea Xtr Ex Hand/Ea …          9/9/2020   95851       $125.00
1059175-02    F.R.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…         8/7/2019   62323       $976.38
1059175-02    F.R.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…        8/21/2019   62323       $976.38
1059175-02    F.R.                 Goldstep ASC LLC                            Anesthesia On Bony Pelvis…           2/7/2020    1120       $140.00
1059175-02    F.R.                 Goldstep ASC LLC                            Anesthesia On Bony Pelvis…           2/7/2020    1120       $200.00
1059175-02    F.R.                 Goldstep ASC LLC                            Anesthesia On Bony Pelvis…           2/7/2020    1120       $200.00
1059175-02    F.R.                 Goldstep ASC LLC                            Anesthesia On Bony Pelvis…           2/7/2020    1120       $280.00
1059175-02    F.R.                 Goldstep ASC LLC                      Manipulation Spine Requiring Anes…         2/7/2020   22505      $3,600.00
1059175-02    F.R.                 Goldstep ASC LLC                      Clsd Tx Pelvic Ring Fx W/Manipula…         2/7/2020   27198      $2,000.00
1059175-02    F.R.                 Goldstep ASC LLC                      Manipulation Hip Joint General An…         2/7/2020   27275      $2,000.00
1059175-02    F.R.                 Goldstep ASC LLC                            Anesthesia On Bony Pelvis…          2/14/2020    1120       $140.00
1059175-02    F.R.                 Goldstep ASC LLC                      Manipulation Spine Requiring Anes…        2/14/2020   22505      $3,600.00
1059175-02    F.R.                 Goldstep ASC LLC                      Clsd Tx Pelvic Ring Fx W/Manipula…        2/14/2020   27198      $2,000.00
1059175-02    F.R.                 Goldstep ASC LLC                      Manipulation Hip Joint General An…        2/14/2020   27275      $2,000.00
1059175-02    F.R.                 Goldstep ASC LLC                            Anesthesia On Bony Pelvis…          2/28/2020    1120       $280.00
1059175-02    F.R.                 Goldstep ASC LLC                      Manipulation Spine Requiring Anes…        2/28/2020   22505      $3,600.00
1059175-02    F.R.                 Goldstep ASC LLC                      Clsd Tx Pelvic Ring Fx W/Manipula…        2/28/2020   27198      $2,000.00
1059175-02    F.R.                 Goldstep ASC LLC                      Manipulation Hip Joint General An…        2/28/2020   27275      $2,000.00
1059175-03    L.R.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       9/20/2019   62321       $976.38
1059175-03    L.R.                 Goldstep ASC LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       2/25/2020   62321      $1,500.00
1059175-03    L.R.                 Goldstep ASC LLC                                Epidurograpy Rs&I…              2/25/2020   72275      $1,500.00
1059175-03    L.R.                 Goldstep ASC LLC                       Fluor Needle/Cath Spine/Paraspina…       2/25/2020   77003      $1,000.00
1059746-01    Z.A.         Rockaways ASC Development LLC                 Manipulation Spine Requiring Anes…        6/30/2019   22505      $1,577.52
1059746-01    Z.A.         Rockaways ASC Development LLC                 Manipulation Hip Joint General An…        6/30/2019   27275       $788.76
1059746-01    Z.A.         Rockaways ASC Development LLC                 Manipulation Spine Requiring Anes…        7/19/2019   22505      $1,577.52
1059746-01    Z.A.         Rockaways ASC Development LLC                 Manipulation Hip Joint General An…        7/19/2019   27275       $788.76
1059746-01    Z.A.                     AMSC LLC                          Manipulation Spine Requiring Anes…        8/21/2019   22505      $1,577.52
1059746-01    Z.A.                     AMSC LLC                          Manipulation Hip Joint General An…        8/21/2019   27275       $788.76
1059044-01    A.Y.          Fifth Avenue Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…         8/8/2019   62323       $976.38
1059044-01    A.Y.          Fifth Avenue Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…        8/22/2019   62323       $976.38
1059044-01    A.Y.      Advanced Spine & Outpatient Surgery Center       Injection Px Discography Each Lev…       10/23/2019   62290      $5,400.00
1059044-01    A.Y.      Advanced Spine & Outpatient Surgery Center       Injection Px Discography Each Lev…       10/23/2019   62290      $5,400.00
1059044-01    A.Y.      Advanced Spine & Outpatient Surgery Center       Injection Px Discography Each Lev…       10/23/2019   62290      $5,400.00
1059044-01    A.Y.      Advanced Spine & Outpatient Surgery Center              Diskograpy Lumbar Rs&I…           10/23/2019   72295      $4,800.00
1059044-01    A.Y.      Advanced Spine & Outpatient Surgery Center              Diskograpy Lumbar Rs&I…           10/23/2019   72295      $4,800.00
1059044-01    A.Y.      Advanced Spine & Outpatient Surgery Center              Diskograpy Lumbar Rs&I…           10/23/2019   72295      $4,800.00
1059044-01    A.Y.          Fifth Avenue Surgery Center LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      12/12/2019   62321       $976.38
1059044-01    A.Y.          Fifth Avenue Surgery Center LLC                        Epidurograpy Rs&I…             12/12/2019   72275       $572.53
1059044-01    A.Y.               Stemmee Surgery Center                   Perq Intrdscl Electrothrm Annulop…       2/25/2020   22526      $5,750.00
1059044-01    A.Y.               Stemmee Surgery Center                  Transpedicular Dcmprn Spinal Cord…        2/25/2020   63056     $18,000.00
1059993-02    S.P.          New Horizon Surgical Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…        2/14/2020   64493       $447.52
1059993-02    S.P.          New Horizon Surgical Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…        2/14/2020   64493       $976.38
1059993-02    S.P.          New Horizon Surgical Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…        2/14/2020   64494       $447.52
1059993-02    S.P.          New Horizon Surgical Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…        2/14/2020   64494       $447.52
1059993-02    S.P.          New Horizon Surgical Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…        2/14/2020   64495       $447.52
1059993-02    S.P.          New Horizon Surgical Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…        2/14/2020   64495       $447.52
1059993-02    S.P.              Hudson Regional Hospital                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…        3/23/2020   64493      $6,666.60
1059993-02    S.P.              Hudson Regional Hospital                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…        3/23/2020   64494      $6,666.60
1059993-02    S.P.              Hudson Regional Hospital                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…        3/23/2020   64495      $6,666.60
1059993-02    S.P.              Hudson Regional Hospital                  Radex Spine 1 View Specify Level…        3/23/2020   72020       $681.20
1059993-02    S.P.              Hudson Regional Hospital                 Fluoroscopy Up To 1 Hour Physicia…        3/23/2020   76000      $1,346.30
1059993-02    S.P.              Hudson Regional Hospital                  Injection, Methylprednisolone Ace…       3/23/2020   J1030        $77.00
1059993-02    S.P.              Hudson Regional Hospital                 Injection, Dexamethasone Sodium P…        3/23/2020   J1100        $42.00
1059993-02    S.P.              Hudson Regional Hospital                    Injection, Lidocaine Hcl For Intr…     3/23/2020   J2001        $11.00
1059993-02    S.P.              Hudson Regional Hospital                  Injection, Midazolam Hcl, Per 1 M…       3/23/2020   J2250         $3.00
1059993-02    S.P.              Hudson Regional Hospital                     Injection, Fentanyl Citrate, 0.1 …    3/23/2020   J3010         $6.00
1059993-02    S.P.              Hudson Regional Hospital                   Glycopyrrolate, Inhalation Soluti…      3/23/2020   J7643        $47.00
1059993-02    S.P.              Hudson Regional Hospital                 Low Osmolar Contrast Material, 30…        3/23/2020   Q9967       $150.00
1059993-02    S.P.              Hudson Regional Hospital                   Injection, Bupivicaine Hcl, 30 Ml…      3/23/2020   S0020         $6.00
1059796-01    Z.J.                     SCOB LLC                            Injection Single/Mlt Trigger Poin…       8/2/2019   20553       $473.39
1059796-01    Z.J.                     SCOB LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…         8/2/2019   62323       $863.63
1059796-01    Z.J.                     SCOB LLC                                    Epidurograpy Rs&I…               8/2/2019   72275       $572.53
1059796-01    Z.J.                     SCOB LLC                            Injection Single/Mlt Trigger Poin…      9/11/2019   20553       $473.39

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                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1059796-01    Z.J.                        SCOB LLC                      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      9/11/2019   62323      $863.63
1059796-01    Z.J.                        SCOB LLC                               Epidurograpy Rs&I…             9/11/2019   72275      $572.53
1059796-01    Z.J.                        SCOB LLC                        Injection Single/Mlt Trigger Poin…    9/25/2019   20553      $473.39
1059796-01    Z.J.                        SCOB LLC                       Perq Intrdscl Electrothrm Annulop…     9/25/2019   22526     $5,723.72
1059796-01    Z.J.                        SCOB LLC                      Dcmprn Perq Nucleus Pulposus 1/> …      9/25/2019   62287     $5,327.26
1059796-01    Z.J.                        SCOB LLC                      Probe, Percutaneous Lumbar Discec…      9/25/2019   C2614     $2,250.00
1059796-01    Z.J.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      12/4/2020   64493      $447.52
1059796-01    Z.J.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      12/4/2020   64493      $976.38
1059796-01    Z.J.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      12/4/2020   64494      $447.52
1059796-01    Z.J.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      12/4/2020   64494      $447.52
1059796-01    Z.J.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      12/4/2020   64495      $447.52
1059796-01    Z.J.            Rockaways ASC Development LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      12/4/2020   64495      $447.52
1059796-01    Z.J.            Rockaways ASC Development LLC                Surgical Supply; Miscellaneous…      12/4/2020   A4649       $50.00
1058322-02    M.W.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     10/4/2019   62321      $976.38
1058322-02    M.W.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…     10/25/2019   29821     $1,472.45
1058322-02    M.W.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Debride…     10/25/2019   29823     $3,026.24
1058322-02    M.W.          All City Family Healthcare Center, Inc.    Arthroscopy Shoulder W/Coracoacrm…      10/25/2019   29826     $1,472.45
1058322-02    M.W.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …    10/25/2019   64415      $979.78
1058322-02    M.W.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     10/25/2019   76942      $341.96
1058322-02    M.W.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     11/8/2019   62321      $976.38
1058322-02    M.W.             Island Ambulatory Surgery Center        Perc Lamino-/Laminectomy Image Gu…       2/26/2020   0274T     $5,292.93
1058322-02    M.W.             Island Ambulatory Surgery Center          Perq Intrdscl Electrothrm Annulop…     2/26/2020   22526     $2,646.47
1058540-02    S.R.            New York Surgery Center of Queens        Dbrdmt Fx&/Dislc Subq T/M/F Bone…        5/23/2019   11012     $1,472.45
1058540-02    S.R.            New York Surgery Center of Queens          Open Tx Phalangeal Shaft Fracture…     5/23/2019   26735     $4,869.06
1058540-02    S.R.          All City Family Healthcare Center, Inc.     Tenolysis Flexor Tendon Palm/Fing…      10/1/2019   26440     $1,021.85
1058540-02    S.R.          All City Family Healthcare Center, Inc.     Tenolysis Flexor Tendon Palm/Fing…      10/1/2019   26440     $2,125.04
1058540-02    S.R.          Health East Ambulatory Surgical Center      Synovectomy Extensor Tendon Shth …      3/23/2021   25118     $4,301.40
1058540-02    S.R.          Health East Ambulatory Surgical Center      Realignment Extensor Tendon Hand …      3/23/2021   26437     $2,289.75
1059557-01    J.V.            Rockaways ASC Development LLC               Injection Single/Mlt Trigger Poin…    7/31/2019   20552      $554.74
1059557-01    J.V.            Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     7/31/2019   62321      $976.38
1059557-01    J.V.            Rockaways ASC Development LLC                      Epidurograpy Rs&I…             7/31/2019   72275      $572.52
1059557-01    J.V.            Rockaways ASC Development LLC             Us Guidance Needle Placement Img …      7/31/2019   76942      $423.32
1059557-01    J.V.                       AMSC LLC                        Arthrocentesis Aspir&/Inj Major J…     8/14/2019   20611      $470.21
1059557-01    J.V.                       AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      8/14/2019   62323      $976.38
1059557-01    J.V.                       AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      8/14/2019   62323      $976.38
1059557-01    J.V.                       AMSC LLC                                Epidurograpy Rs&I…             8/14/2019   72275      $572.52
1059557-01    J.V.                       AMSC LLC                                Epidurograpy Rs&I…             8/14/2019   72275      $572.52
1059557-01    J.V.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…    9/25/2019   20553      $277.37
1059557-01    J.V.                       AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      9/25/2019   62323      $976.38
1059557-01    J.V.                       AMSC LLC                                Epidurograpy Rs&I…             9/25/2019   72275      $572.52
1059557-01    J.V.                       AMSC LLC                       Us Guidance Needle Placement Img …      9/25/2019   76942      $423.32
1058631-01    C.T.                        SCOB LLC                        Injection Single/Mlt Trigger Poin…    10/2/2019   20553      $473.39
1058631-01    C.T.                        SCOB LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     10/2/2019   62321      $863.63
1058631-01    C.T.                        SCOB LLC                               Epidurograpy Rs&I…             10/2/2019   72275      $572.53
1058631-01    C.T.                        SCOB LLC                        Injection Single/Mlt Trigger Poin…   10/16/2019   20553      $473.39
1058631-01    C.T.                        SCOB LLC                      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/16/2019   64493     $1,458.32
1058631-01    C.T.                        SCOB LLC                      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/16/2019   64494     $1,342.62
1058631-01    C.T.                        SCOB LLC                      Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/16/2019   64495     $1,342.62
1058631-01    C.T.       Surgicore LLC d/b/a Surgicore Surgical Center           Tissue Grafts Other…          11/22/2019   20926     $1,040.79
1058631-01    C.T.       Surgicore LLC d/b/a Surgicore Surgical Center  Tenolysis Flxr/Xtnsr Tendon Leg&/…     11/22/2019   27680     $1,417.17
1058631-01    C.T.       Surgicore LLC d/b/a Surgicore Surgical Center  Tenolysis Flxr/Xtnsr Tendon Leg&/…     11/22/2019   27680     $1,417.17
1058631-01    C.T.       Surgicore LLC d/b/a Surgicore Surgical Center  Tenolysis Flxr/Xtnsr Tendon Leg&/…     11/22/2019   27680     $1,417.17
1058631-01    C.T.       Surgicore LLC d/b/a Surgicore Surgical Center  Repair Secondary Disrupted Ligame…     11/22/2019   27698     $3,311.97
1058631-01    C.T.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy Ankle Surgical Debrid…     11/22/2019   29898     $1,472.45
1058631-01    C.T.       Surgicore LLC d/b/a Surgicore Surgical Center    Injection Anesthetic Agent Sciati…   11/22/2019   64445      $976.38
1058631-01    C.T.       Surgicore LLC d/b/a Surgicore Surgical Center  Us Guidance Needle Placement Img …     11/22/2019   76942      $341.96
1058631-01    C.T.                        SCOB LLC                        Injection Single/Mlt Trigger Poin…    1/10/2020   20553      $473.39
1058631-01    C.T.                        SCOB LLC                      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      1/10/2020   62323      $829.30
1058782-02    K.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…        9/6/2019   62323      $976.38
1058782-02    K.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…   10/11/2019   20552      $236.69
1058782-02    K.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    10/11/2019   62321      $976.38
1058782-02    K.A.                  Avicenna Surgery Center               Injection Single/Mlt Trigger Poin…   11/13/2019   20553      $554.74
1058782-02    K.A.                  Avicenna Surgery Center              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    11/13/2019   62321      $976.38
1058782-02    K.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…    12/6/2019   20553      $236.69
1058782-02    K.A.     NYEEQASC LLC d/b/a North Queens Surgical Center    Injection Single/Mlt Trigger Poin…    12/6/2019   20553      $236.69
1058782-02    K.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     12/6/2019   62321      $976.38
1058782-02    K.A.     NYEEQASC LLC d/b/a North Queens Surgical Center           Epidurograpy Rs&I…             12/6/2019   72275      $572.53
1060958-02    A.U.                       AMSC LLC                       Manipulation Spine Requiring Anes…      8/21/2019   22505     $1,577.52

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                                                           1925
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1060958-02    A.U.                        AMSC LLC                      Clsd Tx Pelvic Ring Fx W/Manipula…    8/21/2019   27198       $446.62
1060958-02    A.U.                        AMSC LLC                       Manipulation Hip Joint General An…   8/21/2019   27275       $788.76
1060958-02    A.U.                Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Debride…   9/10/2019   29823      $3,026.24
1060958-02    A.U.                Surgicore of Jersey City LLC           Arthroscopy Shoulder Ahesiolysis …   9/10/2019   29825      $1,472.45
1060958-02    A.U.                Surgicore of Jersey City LLC          Arthroscopy Shoulder W/Coracoacrm… 9/10/2019      29826      $1,472.45
1060958-02    A.U.                Surgicore of Jersey City LLC           Single Nerve Block Injection Arm …   9/10/2019   64415       $979.78
1060958-02    A.U.                Surgicore of Jersey City LLC          Us Guidance Needle Placement Img …    9/10/2019   76942       $341.96
1058653-01    J.B.            Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…   7/13/2019   22505      $1,577.52
1058653-01    J.B.            Rockaways ASC Development LLC             Manj W/Anes Shoulder Joint W/Fixa…    7/13/2019   23700       $788.76
1058653-01    J.B.            Rockaways ASC Development LLC             Clsd Tx Pelvic Ring Fx W/Manipula…    7/13/2019   27198       $446.62
1058653-01    J.B.            Rockaways ASC Development LLC              Manipulation Hip Joint General An…   7/13/2019   27275       $788.76
1058653-01    J.B.            Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…   7/27/2019   22505      $1,577.52
1058653-01    J.B.            Rockaways ASC Development LLC             Manj W/Anes Shoulder Joint W/Fixa…    7/27/2019   23700       $788.76
1058653-01    J.B.            Rockaways ASC Development LLC             Clsd Tx Pelvic Ring Fx W/Manipula…    7/27/2019   27198       $446.62
1058653-01    J.B.            Rockaways ASC Development LLC              Manipulation Hip Joint General An…   7/27/2019   27275       $788.76
1058653-01    J.B.            Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…    8/3/2019   22505      $1,577.52
1058653-01    J.B.            Rockaways ASC Development LLC             Manj W/Anes Shoulder Joint W/Fixa…     8/3/2019   23700      $1,577.52
1058653-01    J.B.            Rockaways ASC Development LLC             Clsd Tx Pelvic Ring Fx W/Manipula…     8/3/2019   27198       $893.24
1058653-01    J.B.            Rockaways ASC Development LLC              Manipulation Hip Joint General An…    8/3/2019   27275      $1,577.52
1058653-01    J.B.                        SCOB LLC                      Njx Anes&/Strd W/Img Tfrml Edrl L… 10/18/2019     64483      $1,458.32
1059641-01    C.H.             Island Ambulatory Surgery Center           Injection Single/Mlt Trigger Poin…  10/2/2019   20553       $277.37
1059641-01    C.H.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/2/2019   62321       $976.38
1059641-01    C.H.             Island Ambulatory Surgery Center                  Epidurograpy Rs&I…           10/2/2019   72275       $572.52
1059641-01    C.H.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/18/2020   62323       $976.38
1059641-01    C.H.             Island Ambulatory Surgery Center                  Epidurograpy Rs&I…           6/18/2020   72275       $572.52
1059641-01    C.H.          All City Family Healthcare Center, Inc.     Manj W/Anes Shoulder Joint W/Fixa…    8/28/2020   23700       $748.08
1059641-01    C.H.          All City Family Healthcare Center, Inc.     Manj W/Anes Shoulder Joint W/Fixa…    8/28/2020   23700       $473.38
1059641-01    C.H.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…    8/28/2020   29821      $5,677.77
1059641-01    C.H.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…   8/28/2020   29823      $1,472.45
1059641-01    C.H.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …   8/28/2020   29825      $1,472.45
1059641-01    C.H.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 8/28/2020      29826      $1,472.45
1059641-01    C.H.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …   8/28/2020   64415       $979.78
1059641-01    C.H.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …    8/28/2020   76942       $341.96
1059641-01    C.H.          All City Family Healthcare Center, Inc.        Surgical Supply; Miscellaneous…    8/28/2020   A4649        $72.00
1058587-01    Q.K.          All City Family Healthcare Center, Inc.      Arthrocentesis Aspir&/Inj Major J…  11/12/2021   20610       $473.38
1058587-01    Q.K.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 11/12/2021     29875      $1,472.45
1058587-01    Q.K.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 11/12/2021      29880      $3,026.24
1058587-01    Q.K.                   Surgicare of Manhattan              Arthroscopy Shoulder Surgical Cap…   5/11/2023   29806     $26,000.00
1058587-01    Q.K.                   Surgicare of Manhattan              Single Nerve Block Injection Arm …   5/11/2023   64415      $2,800.00
1058587-01    Q.K.                   Surgicare of Manhattan             Us Guidance Needle Placement Img …    5/11/2023   76942      $2,100.00
1059412-01    R.M.                       EMUSC LLC                       Anes Arthrs Humeral H/N Strnclav …   8/27/2019    1630       $135.05
1059412-01    R.M.                       EMUSC LLC                       Arthroscopy Shoulder Surg Debride…   8/27/2019   29823      $3,025.86
1059412-01    R.M.                       EMUSC LLC                      Arthroscopy Shoulder W/Coracoacrm… 8/27/2019      29826      $1,512.93
1059412-01    R.M.                       EMUSC LLC                       Single Nerve Block Injection Arm …   8/27/2019   64415       $108.04
1059412-01    R.M.                       EMUSC LLC                       Single Nerve Block Injection Arm …   8/27/2019   64415       $414.46
1059412-01    R.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/28/2020   62323       $976.38
1059412-01    R.M.     NYEEQASC LLC d/b/a North Queens Surgical Center           Epidurograpy Rs&I…           1/28/2020   72275       $572.53
1059016-01    C.P.             Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder Surg Synovec…    11/4/2019   29821      $1,472.45
1059016-01    C.P.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…   11/4/2019   29823      $3,026.24
1059016-01    C.P.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Ahesiolysis …   11/4/2019   29825      $1,472.45
1059016-01    C.P.             Fifth Avenue Surgery Center LLC             Unlisted Procedure Arthroscopy…    11/4/2019   29999      $1,472.45
1059016-01    C.P.             Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …   11/4/2019   64415       $979.78
1059016-01    C.P.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …    11/4/2019   76942       $341.96
1059016-01    C.P.                       EMUSC LLC                       Anesthesia Cervical Spine & Cord …    2/3/2020     600       $270.10
1059016-01    C.P.                       EMUSC LLC                      Discectomy Ant Dcmprn Cord Cervic…     2/3/2020   63075      $5,292.83
1059016-01    C.P.                       EMUSC LLC                       Prosthetic Implant, Not Otherwise…    2/3/2020   L8699       $600.00
1058504-01    C.M.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/12/2019   62321       $976.38
1058504-01    C.M.       Surgicore LLC d/b/a Surgicore Surgical Center           Epidurograpy Rs&I…          12/12/2019   72275       $572.52
1058504-01    C.M.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/30/2020   62321       $976.38
1058504-01    C.M.       Surgicore LLC d/b/a Surgicore Surgical Center           Epidurograpy Rs&I…           1/30/2020   72275       $572.52
1058504-01    C.M.          Health East Ambulatory Surgical Center       Anes Dx/Ther Nerve Block/Injectio…    6/5/2020    1992       $518.82
1058504-01    C.M.          Health East Ambulatory Surgical Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…    6/5/2020   64490      $1,518.48
1058504-01    C.M.          Health East Ambulatory Surgical Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…    6/5/2020   64490      $1,518.48
1058504-01    C.M.          Health East Ambulatory Surgical Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…    6/5/2020   64491       $533.92
1058504-01    C.M.          Health East Ambulatory Surgical Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…    6/5/2020   64491       $533.92
1058504-01    C.M.          Health East Ambulatory Surgical Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…    6/5/2020   64491       $533.92
1058504-01    C.M.          Health East Ambulatory Surgical Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…    6/5/2020   64492       $533.92
1057960-02    R.F.                  Surgery Center of Oradell           Arthroscopy Shoulder Surg Synovec…    7/22/2019   29821      $1,472.45

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1057960-02    R.F.               Surgery Center of Oradell                  Arthroscopy Shoulder Surg Debride…      7/22/2019   29823     $5,677.77
1057960-02    R.F.               Surgery Center of Oradell                   Arthroscopy Shoulder Ahesiolysis …     7/22/2019   29825     $1,472.45
1057960-02    R.F.               Surgery Center of Oradell                     Unlisted Procedure Arthroscopy…      7/22/2019   29999     $1,472.45
1057960-02    R.F.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…      7/27/2019   22505      $748.08
1057960-02    R.F.             Surgicore of Jersey City LLC                 Manipulation Hip Joint General An…      7/27/2019   27275     $1,577.52
1057960-02    R.F.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…       8/3/2019   22505      $748.08
1057960-02    R.F.             Surgicore of Jersey City LLC                 Manipulation Hip Joint General An…       8/3/2019   27275     $1,577.52
1057960-02    R.F.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…      8/10/2019   22505      $748.08
1057960-02    R.F.             Surgicore of Jersey City LLC                 Manipulation Hip Joint General An…      8/10/2019   27275     $1,577.52
1057960-02    R.F.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      8/22/2019   62321      $976.38
1057960-02    R.F.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…             8/22/2019   72275      $572.53
1057960-02    R.F.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…     8/27/2019   22526     $2,605.78
1057960-02    R.F.        All City Family Healthcare Center, Inc.            Injection Px Discogrphy Ea Lvl Ce…     8/27/2019   62291      $748.73
1057960-02    R.F.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic…       8/27/2019   63075     $5,292.93
1057960-02    R.F.        All City Family Healthcare Center, Inc.           Diskograpy Cervical/Thoracic Rs&I…      8/27/2019   72285      $962.54
1057465-01    W.C.              Global Surgery Center LLC                  Arthroscopy Knee Removal Loose/Fo…      11/22/2019   29874     $1,472.44
1057465-01    W.C.              Global Surgery Center LLC                  Arthroscopy Knee Synovectomy 2/>C…      11/22/2019   29876     $1,472.44
1057465-01    W.C.              Global Surgery Center LLC                   Arthrs Knee Abrasion Arthrp/Mlt D…     11/22/2019   29879     $1,472.44
1057465-01    W.C.              Global Surgery Center LLC                  Arthrs Kne Surg W/Meniscectomy Me…      11/22/2019   29881     $3,026.24
1057465-01    W.C.              Global Surgery Center LLC                   Drug Test Prsmv Read Direct Optic…     11/22/2019   80305      $259.00
1057465-01    W.C.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…      9/24/2020   29821     $2,798.20
1057465-01    W.C.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…      9/24/2020   29823     $1,472.45
1057465-01    W.C.             Surgicore of Jersey City LLC                  Arthroscopy Shoulder Ahesiolysis …     9/24/2020   29825     $1,472.45
1057465-01    W.C.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Rotator Cuff…      9/24/2020   29827     $5,677.77
1057465-01    W.C.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …     9/24/2020   64415      $979.78
1057465-01    W.C.             Surgicore of Jersey City LLC                 Us Guidance Needle Placement Img …      9/24/2020   76942      $341.96
1057465-01    W.C.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…      9/24/2020   A4649       $50.00
1057465-01    W.C.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…      9/24/2020   A4649      $380.00
1057465-01    W.C.             Surgicore of Jersey City LLC                Anchor/Screw For Opposing Bone-To…       9/24/2020   C1713     $1,100.00
1057240-01    S.S.             Accelerated Surgical Center                    Injection Single/Mlt Trigger Poin…    6/19/2019   20553      $161.46
1057240-01    S.S.             Accelerated Surgical Center                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/19/2019   62323     $1,518.48
1057240-01    S.S.             Accelerated Surgical Center                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       7/3/2019   62323     $1,518.48
1057240-01    S.S.             Accelerated Surgical Center                    Injection Single/Mlt Trigger Poin…    7/17/2019   20553      $161.46
1057240-01    S.S.             Accelerated Surgical Center                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…     7/17/2019   64490     $1,067.84
1057240-01    S.S.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/17/2019   64493     $3,036.96
1057240-01    S.S.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      7/17/2019   64495     $1,067.84
1057240-01    S.S.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…      8/26/2019   22505      $748.08
1057240-01    S.S.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…       8/26/2019   23700     $1,577.52
1057240-01    S.S.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…      8/26/2019   27198      $405.94
1057240-01    S.S.             Surgicore of Jersey City LLC                 Manipulation Hip Joint General An…      8/26/2019   27275      $748.08
1057240-01    S.S.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…       9/4/2019   22505      $748.08
1057240-01    S.S.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…        9/4/2019   23700     $1,577.52
1057240-01    S.S.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…       9/4/2019   27198      $405.94
1057240-01    S.S.             Surgicore of Jersey City LLC                 Manipulation Hip Joint General An…       9/4/2019   27275      $748.08
1057240-01    S.S.             Accelerated Surgical Center                    Injection Single/Mlt Trigger Poin…   10/16/2019   20553      $161.46
1057240-01    S.S.             Accelerated Surgical Center                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     10/16/2019   62321     $1,518.48
1057240-01    S.S.             Accelerated Surgical Center                    Injection Single/Mlt Trigger Poin…    11/6/2019   20553      $161.46
1057240-01    S.S.             Accelerated Surgical Center                 Njx Anes&/Strd W/Img Tfrml Edrl C…       11/6/2019   64479     $1,518.48
1057240-01    S.S.             Accelerated Surgical Center                 Njx Anes&/Strd W/Img Tfrml Edrl C…       11/6/2019   64480      $776.84
1057240-01    S.S.             Accelerated Surgical Center                    Injection Single/Mlt Trigger Poin…   11/20/2019   20553      $161.46
1057240-01    S.S.             Accelerated Surgical Center                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     11/20/2019   62321     $1,518.48
1057240-01    S.S.             Accelerated Surgical Center                    Injection Single/Mlt Trigger Poin…    12/4/2019   20553      $161.46
1057240-01    S.S.             Accelerated Surgical Center                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…     12/4/2019   64490     $3,036.96
1057240-01    S.S.             Accelerated Surgical Center                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…     12/4/2019   64491     $1,067.84
1057240-01    S.S.             Accelerated Surgical Center                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…     12/4/2019   64492     $1,067.84
1057240-01    S.S.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     12/18/2019   64493     $3,036.96
1057240-01    S.S.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     12/18/2019   64494     $1,067.84
1057240-01    S.S.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     12/18/2019   64495     $1,067.84
1057240-02    A.R.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/18/2019   62323      $277.37
1057240-02    A.R.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/18/2019   62323      $976.38
1057240-02    A.R.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…             6/18/2019   72275      $572.52
1057240-02    A.R.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …      6/18/2019   76942      $211.66
1057240-02    A.R.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…    7/31/2019   20552      $554.74
1057240-02    A.R.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      7/31/2019   62323      $976.38
1057240-02    A.R.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…             7/31/2019   72275      $572.52
1057240-02    A.R.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …      7/31/2019   76942      $423.32
1057240-02    A.R.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…      8/23/2019   29821     $1,472.45
1057240-02    A.R.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…      8/23/2019   29823     $3,026.24

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                                                          1927
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                        Provider                                     Service
 Number      Person                                                                                           Service     Code       Billed
1057240-02    A.R.          Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Distal Clavi…   8/23/2019   29824      $1,472.45
1057240-02    A.R.          Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …   8/23/2019   29825      $1,472.45
1057240-02    A.R.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder W/Coracoacrm… 8/23/2019      29826      $1,472.45
1057240-02    A.R.          Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …   8/23/2019   64415       $979.78
1057240-02    A.R.          Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …    8/23/2019   76942       $341.96
1057240-02    A.R.             Accelerated Surgical Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  11/20/2019   62321      $1,518.48
1057240-02    A.R.             Accelerated Surgical Center                Injection Single/Mlt Trigger Poin…  12/4/2019   20553       $161.46
1057240-02    A.R.             Accelerated Surgical Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/4/2019   62321      $1,518.48
1057240-02    A.R.             Accelerated Surgical Center                Injection Single/Mlt Trigger Poin… 12/18/2019   20553       $161.46
1057240-02    A.R.             Accelerated Surgical Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  12/18/2019   62323      $1,518.48
1057240-02    A.R.                Barnert Surgical Center                 Injection Single/Mlt Trigger Poin…   1/7/2020   20553       $161.46
1057240-02    A.R.                Barnert Surgical Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/7/2020   64493      $3,036.96
1057240-02    A.R.                Barnert Surgical Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/7/2020   64494      $1,067.84
1057240-02    A.R.                Barnert Surgical Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/7/2020   64495      $1,067.84
1057240-02    A.R.                Barnert Surgical Center               Njx Anes&/Strd W/Img Tfrml Edrl L… 1/21/2020      64483      $3,036.96
1057240-02    A.R.                Barnert Surgical Center               Njx Anes&/Strd W/Img Tfrml Edrl L… 1/21/2020      64484      $1,553.68
1057240-02    A.R.                Barnert Surgical Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/4/2020   64493      $3,036.96
1057240-02    A.R.                Barnert Surgical Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/4/2020   64494      $1,067.84
1057240-02    A.R.                Barnert Surgical Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/4/2020   64495      $1,067.84
1057240-02    A.R.                Barnert Surgical Center                 Dstr Nrolytc Agnt Parverteb Fct S…  2/27/2020   64635      $2,560.32
1057240-02    A.R.                Barnert Surgical Center                Dstr Nrolytc Agnt Parverteb Fct A…   2/27/2020   64636      $1,518.48
1057240-02    A.R.                Barnert Surgical Center                Dstr Nrolytc Agnt Parverteb Fct A…   2/27/2020   64636      $1,518.48
1057240-02    A.R.             Citimed Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Crv…   1/12/2022   64490      $1,423.89
1057240-02    A.R.             Citimed Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/8/2022   64493       $976.38
1057240-02    A.R.             Citimed Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/8/2022   64494       $895.01
1057240-02    A.R.             Citimed Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/8/2022   64494       $895.01
1057240-02    A.R.         Rockaways ASC Development LLC                  Dstr Nrolytc Agnt Parverteb Fct S…  7/18/2022   64635       $976.38
1057240-02    A.R.         Rockaways ASC Development LLC                 Dstr Nrolytc Agnt Parverteb Fct A…   7/18/2022   64636       $447.52
1057240-02    A.R.         Rockaways ASC Development LLC                 Dstr Nrolytc Agnt Parverteb Fct A…   7/18/2022   64636       $447.52
1057949-01    M.D.      Advanced Spine & Outpatient Surgery Center       Arthroscopy Shoulder Surgical Rep…   10/4/2019   29807     $40,000.00
1057949-01    M.D.      Advanced Spine & Outpatient Surgery Center      Arthroscopy Shoulder Surg Synovec…    10/4/2019   29821     $20,000.00
1057949-01    M.D.      Advanced Spine & Outpatient Surgery Center       Arthroscopy Shoulder Surg Debride…   10/4/2019   29822     $20,000.00
1057949-01    M.D.        All City Family Healthcare Center, Inc.       Arthroscopy Knee Synovectomy Limi… 7/26/2020      29875      $1,472.45
1057949-01    M.D.        All City Family Healthcare Center, Inc.      Arthrs Knee W/Meniscectomy Med&La… 7/26/2020       29880      $3,026.24
1057949-01    M.D.        All City Family Healthcare Center, Inc.          Surgical Supply; Miscellaneous…    7/26/2020   A4649        $72.00
1057536-02    J.H.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…    7/30/2019   29821      $1,472.45
1057536-02    J.H.          Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Debride…   7/30/2019   29823      $3,026.24
1057536-02    J.H.          Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …   7/30/2019   29825      $1,472.45
1057536-02    J.H.          Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …   7/30/2019   64415       $829.30
1057536-02    J.H.          Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …    7/30/2019   76942       $341.96
1057536-02    J.H.          Fifth Avenue Surgery Center LLC             Arthroscopy Knee Synovectomy Limi…     8/6/2019   29875      $1,472.45
1057536-02    J.H.          Fifth Avenue Surgery Center LLC            Arthrs Kne Surg W/Meniscectomy Me… 8/6/2019        29881      $3,026.24
1057536-02    J.H.          Fifth Avenue Surgery Center LLC              Injection Anesthetic Agent Femora…    8/6/2019   64447       $829.30
1057536-02    J.H.          Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …     8/6/2019   76942       $341.96
1057536-02    J.H.                    EMUSC LLC                          Anesthesia Cervical Spine & Cord …   2/12/2020    600        $270.10
1057536-02    J.H.                    EMUSC LLC                         Discectomy Ant Dcmprn Cord Cervic… 2/12/2020      63075      $5,292.83
1057536-02    J.H.                    EMUSC LLC                          Prosthetic Implant, Not Otherwise…   2/12/2020   L8699       $600.00
1058336-01    L.W.             Surgicore of Jersey City LLC              Manipulation Spine Requiring Anes…   9/11/2019   22505       $748.08
1058336-01    L.W.             Surgicore of Jersey City LLC             Manj W/Anes Shoulder Joint W/Fixa…    9/11/2019   23700      $1,577.52
1058336-01    L.W.             Surgicore of Jersey City LLC             Clsd Tx Pelvic Ring Fx W/Manipula…    9/11/2019   27198       $405.94
1058336-01    L.W.             Surgicore of Jersey City LLC              Manipulation Hip Joint General An…   9/11/2019   27275       $748.08
1058336-01    L.W.                     SCOB LLC                         Dcmprn Perq Nucleus Pulposus 1/> …    7/21/2020   62287      $5,292.93
1058336-01    L.W.                     SCOB LLC                         Probe, Percutaneous Lumbar Discec…    7/21/2020   C2614      $2,000.00
1057644-02    C.M.            Healthplus Surgery Center LLC               Injection Single/Mlt Trigger Poin…   6/5/2019   20553       $473.39
1057644-02    C.M.            Healthplus Surgery Center LLC               Inject Si Joint Arthrgrphy&/Anes/…   6/5/2019   27096       $859.05
1057644-02    C.M.            Healthplus Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L…     6/5/2019   64483      $1,458.32
1057644-02    C.M.            Healthplus Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L…     6/5/2019   64484      $1,342.62
1057644-02    C.M.            Healthplus Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L…     6/5/2019   64484      $1,342.62
1057644-02    C.M.            Healthplus Surgery Center LLC               Injection Single/Mlt Trigger Poin…  6/19/2019   20553       $473.39
1057644-02    C.M.            Healthplus Surgery Center LLC               Inject Si Joint Arthrgrphy&/Anes/…  6/19/2019   27096       $859.05
1057644-02    C.M.            Healthplus Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 6/19/2019      64483      $1,458.32
1057644-02    C.M.            Healthplus Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 6/19/2019      64484      $1,342.62
1057644-02    C.M.            Healthplus Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 6/19/2019      64484      $1,342.62
1057644-02    C.M.            Healthplus Surgery Center LLC                       Epidurograpy Rs&I…          6/19/2019   72275       $572.53
1057644-02    C.M.            Healthplus Surgery Center LLC               Inject Si Joint Arthrgrphy&/Anes/…  7/10/2019   27096       $859.05
1057644-02    C.M.            Healthplus Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 7/10/2019      64483      $1,458.32
1057644-02    C.M.            Healthplus Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 7/10/2019      64484      $1,342.62
1057644-02    C.M.            Healthplus Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 7/10/2019      64484      $1,342.62

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                                                           1928
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1057644-02    C.M.            Healthplus Surgery Center LLC             Mri Brain Brain Stem W/O W/Contra… 7/10/2019      70553      $473.39
1057644-02    C.M.                     SCOB LLC                           Njx Dx/Ther Agt Pvrt Facet Jt Crv…  8/13/2019   64490     $1,458.32
1057644-02    C.M.                     SCOB LLC                           Njx Dx/Ther Agt Pvrt Facet Jt Crv…  8/13/2019   64491     $1,342.62
1057644-02    C.M.                     SCOB LLC                           Njx Dx/Ther Agt Pvrt Facet Jt Crv…  8/13/2019   64492     $1,342.62
1057644-02    C.M.            Healthplus Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…  8/21/2019   64490     $1,458.32
1057644-02    C.M.            Healthplus Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…  8/21/2019   64491     $1,342.62
1057644-02    C.M.            Healthplus Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…  8/21/2019   64492     $1,342.62
1057644-02    C.M.     NYEEQASC LLC d/b/a North Queens Surgical Center    Perq Intrdscl Electrothrm Annulop…  6/22/2021   22526     $2,605.78
1057644-02    C.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …     6/22/2021   62287     $5,292.93
1057644-02    C.M.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    6/22/2021   A4649       $50.00
1057644-02    C.M.                   Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 6/22/2021      E0650      $531.06
1057644-02    C.M.                   Good Medica Inc                    Nonsegmental Pneumatic Appliance …    6/22/2021   E0666       $89.56
1056704-03    D.M.             Surgicore of Jersey City LLC            Perc Lamino-/Laminectomy Image Gu… 8/19/2019       0274T     $2,605.78
1056704-03    D.M.             Surgicore of Jersey City LLC            Perc Lamino-/Laminectomy Image Gu… 8/19/2019       0274T     $5,292.93
1056704-03    D.M.             Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…  8/19/2019   22526     $2,605.78
1056704-03    D.M.             Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…  8/19/2019   22527     $2,605.78
1056704-03    D.M.             Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop… 10/14/2019   22526     $2,605.78
1056704-03    D.M.             Surgicore of Jersey City LLC              Dcmprn Perq Nucleus Pulposus 1/> … 10/14/2019    62287     $5,292.93
1056704-03    D.M.             Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/27/2020   64493      $447.52
1056704-03    D.M.             Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/27/2020   64493      $976.38
1056704-03    D.M.             Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/27/2020   64494      $447.52
1056704-03    D.M.             Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/27/2020   64494      $447.52
1056704-03    D.M.             Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/27/2020   64495      $447.52
1056704-03    D.M.             Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/27/2020   64495      $447.52
1056704-03    D.M.               Hudson Regional Hospital                  Comprehensive Metabolic Panel…     6/19/2020   80053      $150.00
1056704-03    D.M.               Hudson Regional Hospital               Drug Tst Prsmv Instrmnt Chem Anal…    6/19/2020   80307      $359.15
1056704-03    D.M.               Hudson Regional Hospital               Drug Screen Quant Amphetamines 1 … 6/19/2020      80324      $269.37
1056704-03    D.M.               Hudson Regional Hospital                 Antidepressants Serotonergic Clas…  6/19/2020   80332      $269.37
1056704-03    D.M.               Hudson Regional Hospital                 Antidepressants Tricyclic Other C…  6/19/2020   80335      $270.31
1056704-03    D.M.               Hudson Regional Hospital                    Drug Screening Barbiturates…     6/19/2020   80345      $269.37
1056704-03    D.M.               Hudson Regional Hospital                Drug Screening Benzodiazepines 1-…   6/19/2020   80346      $269.37
1056704-03    D.M.               Hudson Regional Hospital                   Drug Screening Buprenorphine…     6/19/2020   80348      $269.37
1056704-03    D.M.               Hudson Regional Hospital                      Drug Screening Fentanyl…       6/19/2020   80354      $269.37
1056704-03    D.M.               Hudson Regional Hospital               Drug Screening Gabapentin Non-Blo…    6/19/2020   80355      $269.37
1056704-03    D.M.               Hudson Regional Hospital                 Drug Screening Heroin Metabolite…   6/19/2020   80356      $269.37
1056704-03    D.M.               Hudson Regional Hospital                    Drug Screening Methadone…        6/19/2020   80358      $269.37
1056704-03    D.M.               Hudson Regional Hospital               Drug Screening Methylenedioxyamph… 6/19/2020      80359      $269.37
1056704-03    D.M.               Hudson Regional Hospital                  Drug Screening Methylphenidate…    6/19/2020   80360      $269.37
1056704-03    D.M.               Hudson Regional Hospital                Drug Screening Opiates 1 Or More…    6/19/2020   80361      $538.74
1056704-03    D.M.               Hudson Regional Hospital                Drug Screening Opioids And Opiate…   6/19/2020   80362      $537.74
1056704-03    D.M.               Hudson Regional Hospital                    Drug Screening Oxycodone…        6/19/2020   80365      $269.37
1056704-03    D.M.               Hudson Regional Hospital                     Drug Screening Pregabalin…      6/19/2020   80366      $269.37
1056704-03    D.M.               Hudson Regional Hospital                Drug Screening Sedative Hypnotics…   6/19/2020   80368      $269.37
1056704-03    D.M.               Hudson Regional Hospital                Drug Screening Skeletal Muscle Re…   6/19/2020   80369      $269.37
1056704-03    D.M.               Hudson Regional Hospital                    Drug Screening Tapentadol…       6/19/2020   80372      $269.37
1056704-03    D.M.               Hudson Regional Hospital                     Drug Screening Tramadol…        6/19/2020   80373      $269.37
1056704-03    D.M.               Hudson Regional Hospital                Urnls Dip Stick/Tablet Reagent Au…   6/19/2020   81001      $134.00
1056704-03    D.M.               Hudson Regional Hospital                  Hemoglobin Glycosylated A1C…       6/19/2020   83036       $66.70
1056704-03    D.M.               Hudson Regional Hospital                Gonadotropin Chorionic Qualitativ…   6/19/2020   84703       $51.65
1056704-03    D.M.               Hudson Regional Hospital              Blood Count Complete Auto&Auto Di… 6/19/2020       85025      $147.00
1056704-03    D.M.               Hudson Regional Hospital                         Prothrombin Time…           6/19/2020   85610      $143.00
1056704-03    D.M.               Hudson Regional Hospital                Thromboplastin Time Partial Plasm…   6/19/2020   85730      $147.00
1056704-03    D.M.               Hudson Regional Hospital               Antibody Screen Rbc Each Serum Te…    6/19/2020   86850      $105.80
1056704-03    D.M.               Hudson Regional Hospital                    Blood Typing Serologic Abo…      6/19/2020   86900      $498.84
1056704-03    D.M.               Hudson Regional Hospital                  Blood Typing Serologic Rh (D)…     6/19/2020   86901       $56.95
1056704-03    D.M.               Hudson Regional Hospital                Infectious Agent Detection By Nuc…   6/19/2020   87635     $1,200.00
1056704-03    D.M.               Hudson Regional Hospital                 Iadna S Aureus Methicillin Resist…  6/19/2020   87641      $241.40
1056704-03    D.M.               Hudson Regional Hospital                Ecg Routine Ecg W/Least 12 Lds Tr…   6/19/2020   93005      $323.70
1057071-01    J.C.               Orthopaedic & Spine Ins                Njx Anes&/Strd W/Img Tfrml Edrl L… 8/23/2019      64483     $5,474.00
1057071-01    J.C.               Orthopaedic & Spine Ins                Njx Anes&/Strd W/Img Tfrml Edrl L… 8/23/2019      64484     $4,637.00
1057071-01    J.C.               Orthopaedic & Spine Ins                Njx Anes&/Strd W/Img Tfrml Edrl L… 9/13/2019      64483     $5,474.00
1057071-01    J.C.               Orthopaedic & Spine Ins                Njx Anes&/Strd W/Img Tfrml Edrl L… 9/13/2019      64484     $4,637.00
1057071-01    J.C.         Bronx SC LLC d/b/a Empire State ASC         Arthrs Knee W/Meniscectomy Med&La… 9/23/2019       29880     $3,026.24
1057071-01    J.C.               Orthopaedic & Spine Ins                Njx Anes&/Strd W/Img Tfrml Edrl L… 11/1/2019      64483     $5,474.00
1057071-01    J.C.               Orthopaedic & Spine Ins                Njx Anes&/Strd W/Img Tfrml Edrl L… 11/1/2019      64484     $4,637.00
1057071-01    J.C.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surg Debride…  11/11/2019   29823     $3,026.24
1057071-01    J.C.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surg Debride…  11/11/2019   29823     $3,026.24
1057071-01    J.C.         Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder Distal Clavi… 11/11/2019   29824     $1,472.45

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                                                        1929
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                       Provider                                      Service
 Number      Person                                                                                             Service     Code       Billed
1057071-01    J.C.        Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder Distal Clavi…    11/11/2019   29824     $3,026.24
1057071-01    J.C.        Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder W/Coracoacrm…      11/11/2019   29826     $3,026.24
1057071-01    J.C.        Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder W/Coracoacrm…      11/11/2019   29826     $1,472.45
1057071-01    J.C.               Orthopaedic & Spine Ins                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      1/31/2020   64493     $6,042.00
1057071-01    J.C.               Orthopaedic & Spine Ins                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      1/31/2020   64493     $6,042.00
1057071-01    J.C.               Orthopaedic & Spine Ins                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      1/31/2020   64494     $4,357.00
1057071-01    J.C.               Orthopaedic & Spine Ins                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      1/31/2020   64494     $4,357.00
1055857-01    H.S.             Surgicore of Jersey City LLC             Manipulation Spine Requiring Anes…      6/17/2019   22505     $1,577.52
1055857-01    H.S.             Surgicore of Jersey City LLC             Clsd Tx Pelvic Ring Fx W/Manipula…      6/17/2019   27198      $405.94
1055857-01    H.S.             Surgicore of Jersey City LLC             Manipulation Spine Requiring Anes…      6/19/2019   22505     $1,577.52
1055857-01    H.S.             Surgicore of Jersey City LLC             Clsd Tx Pelvic Ring Fx W/Manipula…      6/19/2019   27198      $405.94
1055857-01    H.S.             Surgicore of Jersey City LLC             Manipulation Spine Requiring Anes…      8/28/2019   22505     $1,577.52
1055857-01    H.S.             Surgicore of Jersey City LLC             Clsd Tx Pelvic Ring Fx W/Manipula…      8/28/2019   27198      $405.94
1055857-01    H.S.         Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/20/2019   62323      $976.38
1055857-01    H.S.         Rockaways ASC Development LLC                         Epidurograpy Rs&I…            11/20/2019   72275      $572.52
1055857-01    H.S.              CHC Surgical Center LLC                  Perq Intrdscl Electrothrm Annulop…     2/29/2020   22526     $2,605.78
1055857-01    H.S.              CHC Surgical Center LLC                  Perq Intrdscl Electrothrm Annulop…     2/29/2020   22527     $2,605.78
1055857-01    H.S.              CHC Surgical Center LLC                 Dcmprn Perq Nucleus Pulposus 1/> …      2/29/2020   62287     $5,292.93
1055385-01    S.H.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…     12/16/2019   29821     $1,472.45
1055385-01    S.H.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…     12/16/2019   29823     $3,026.24
1055385-01    S.H.          Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …    12/16/2019   29825     $1,472.45
1055385-01    S.H.          Fifth Avenue Surgery Center LLC                Unlisted Procedure Arthroscopy…     12/16/2019   29999     $1,472.45
1055385-01    S.H.          Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …    12/16/2019   64415      $979.78
1055385-01    S.H.          Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …     12/16/2019   76942      $341.96
1055385-01    S.H.                    EMUSC LLC                         Anesthesia Perq Image Guided Spin…      6/11/2020    1936      $135.05
1055385-01    S.H.                    EMUSC LLC                         Dcmprn Perq Nucleus Pulposus 1/> …      6/11/2020   62287     $5,827.43
1055385-01    S.H.                    EMUSC LLC                         Probe, Percutaneous Lumbar Discec…      6/11/2020   C2614      $600.00
1055224-02    K.G.              CHC Surgical Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/17/2019   62323      $829.30
1055224-02    K.G.              CHC Surgical Center LLC                          Epidurograpy Rs&I…             6/17/2019   72275      $572.53
1055224-02    K.G.              CHC Surgical Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       7/9/2019   62323      $976.38
1055224-02    K.G.              CHC Surgical Center LLC                          Epidurograpy Rs&I…              7/9/2019   72275      $572.53
1055224-02    K.G.         Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…    7/30/2019   20552      $554.74
1055224-02    K.G.         Rockaways ASC Development LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      7/30/2019   62323      $976.38
1055224-02    K.G.         Rockaways ASC Development LLC                         Epidurograpy Rs&I…             7/30/2019   72275      $572.52
1055224-02    K.G.         Rockaways ASC Development LLC                Us Guidance Needle Placement Img …      7/30/2019   76942      $423.32
1055224-02    K.G.              CHC Surgical Center LLC                  Perq Intrdscl Electrothrm Annulop…    11/15/2019   22526     $2,605.78
1055224-02    K.G.              CHC Surgical Center LLC                  Perq Intrdscl Electrothrm Annulop…    11/15/2019   22527     $2,605.78
1055224-02    K.G.              CHC Surgical Center LLC                 Dcmprn Perq Nucleus Pulposus 1/> …     11/15/2019   62287     $5,292.93
1054877-01    J.R.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…      6/18/2019   29821     $1,472.45
1054877-01    J.R.          Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Debride…      6/18/2019   29823     $3,026.24
1054877-01    J.R.          Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …     6/18/2019   64415      $829.30
1054877-01    J.R.          Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …      6/18/2019   76942      $341.96
1054877-01    J.R.              Bergenfield Surgical Center             Dcmprn Perq Nucleus Pulposus 1/> …      8/16/2019   62287     $5,827.42
1054877-01    J.R.              Bergenfield Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…     2/21/2020   64490     $1,186.02
1054877-01    J.R.              Bergenfield Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…     2/21/2020   64491      $555.95
1054877-01    J.R.              Bergenfield Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…     2/21/2020   64492      $555.95
1054877-01    J.R.              Bergenfield Surgical Center                         Surgical Trays…             2/21/2020   A4550      $750.00
1056360-01    R.L.        Bronx SC LLC d/b/a Empire State ASC             Injection Single/Mlt Trigger Poin…     8/2/2019   20553      $554.76
1056360-01    R.L.                     SCOB LLC                         Arthroscopy Shoulder Surgical Rep…      11/2/2020   29807     $5,596.40
1056360-01    R.L.                     SCOB LLC                         Arthroscopy Shoulder Surg Synovec…      11/2/2020   29821     $2,944.87
1056360-01    R.L.                     SCOB LLC                         Arthroscopy Shoulder Surg Debride…      11/2/2020   29823     $2,944.87
1056360-01    R.L.                     SCOB LLC                          Arthroscopy Shoulder Ahesiolysis …     11/2/2020   29825     $2,944.87
1056360-01    R.L.                     SCOB LLC                        Arthroscopy Shoulder W/Coracoacrm…       11/2/2020   29826     $2,944.87
1056360-01    R.L.                     SCOB LLC                         Arthroscopy Shoulder Rotator Cuff…      11/2/2020   29827     $5,677.77
1056360-01    R.L.                     SCOB LLC                        Anchor/Screw For Opposing Bone-To…       11/2/2020   C1713     $1,000.00
1055149-01    L.C.             Surgicore of Jersey City LLC              Perq Intrdscl Electrothrm Annulop…      5/4/2019   22526     $2,605.78
1055149-01    L.C.             Surgicore of Jersey City LLC              Perq Intrdscl Electrothrm Annulop…      5/4/2019   22527     $2,605.78
1055149-01    L.C.             Surgicore of Jersey City LLC             Dcmprn Perq Nucleus Pulposus 1/> …       5/4/2019   62287     $5,292.93
1055149-01    L.C.          Island Ambulatory Surgery Center            Plmt Post Facet Implt Uni/Bi W/Im…      1/22/2020   0221T     $5,292.93
1055149-01    L.C.          Island Ambulatory Surgery Center              Place Posterior Intrafacet Implan…    1/22/2020   0222T     $2,646.47
1055149-01    L.C.          Island Ambulatory Surgery Center             Allograft For Spine Surgery Only …     1/22/2020   20930     $6,402.04
1055149-01    L.C.          Island Ambulatory Surgery Center            Transection/Avulsion Oth Spinal N…      1/22/2020   64772     $2,224.46
1056278-01    T.B.              Accelerated Surgical Center               Injection Single/Mlt Trigger Poin…     7/3/2019   20553      $161.46
1056278-01    T.B.              Accelerated Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       7/3/2019   62323     $1,518.48
1056278-01    T.B.              Accelerated Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      7/17/2019   62323     $1,518.48
1056278-01    T.B.          Fifth Avenue Surgery Center LLC            Arthroscopy Knee Synovectomy Limi…       7/26/2019   29875     $1,472.45
1056278-01    T.B.          Fifth Avenue Surgery Center LLC            Arthroscopy Knee W/Meniscus Rpr M…       7/26/2019   29882     $3,026.24
1056278-01    T.B.          Fifth Avenue Surgery Center LLC            Arthroscopy Knee W/Lysis Adhesion…       7/26/2019   29884     $1,472.45

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                                                            1930
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                          Provider                                     Service
 Number      Person                                                                                              Service     Code       Billed
1056278-01    T.B.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…       7/26/2019   29999     $1,472.45
1056278-01    T.B.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…       7/26/2019   29999     $1,472.45
1056278-01    T.B.            Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi…       10/11/2019   29875     $1,472.45
1056278-01    T.B.            Fifth Avenue Surgery Center LLC          Arthroscopy Knee W/Meniscus Rpr M…       10/11/2019   29882     $1,472.45
1056278-01    T.B.            Fifth Avenue Surgery Center LLC          Arthroscopy Knee W/Lysis Adhesion…       10/11/2019   29884     $1,472.45
1056278-01    T.B.            Fifth Avenue Surgery Center LLC           Arthrs Aided Ant Cruciate Ligm Rp…      10/11/2019   29888     $5,677.77
1056278-01    T.B.            Island Ambulatory Surgery Center           Perq Intrdscl Electrothrm Annulop…      1/17/2020   22526     $2,646.47
1056278-01    T.B.            Island Ambulatory Surgery Center          Dcmprn Perq Nucleus Pulposus 1/> …       1/17/2020   62287     $5,292.93
1054776-01    S.S.                  Bay Ridge Surgi Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      6/25/2019   62321      $976.38
1054776-01    S.S.                  Bay Ridge Surgi Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      6/25/2019   62321      $976.38
1054776-01    S.S.                  Bay Ridge Surgi Center                        Epidurograpy Rs&I…             6/25/2019   72275      $653.90
1054776-01    S.S.                  Bay Ridge Surgi Center                        Epidurograpy Rs&I…             6/25/2019   72275      $653.90
1054776-01    S.S.                  Bay Ridge Surgi Center                          Surgical Trays…              6/25/2019   A4550     $1,000.00
1054776-01    S.S.                  Bay Ridge Surgi Center                          Surgical Trays…              6/25/2019   A4550     $1,000.00
1054776-01    S.S.                  Bay Ridge Surgi Center               Injection, Methylprednisolone Ace…      6/25/2019   J1030     $1,000.00
1054776-01    S.S.                  Bay Ridge Surgi Center               Injection, Methylprednisolone Ace…      6/25/2019   J1030     $1,000.00
1054776-01    S.S.                  Bay Ridge Surgi Center               Injection, Methylprednisolone Ace…      6/25/2019   J1030     $1,000.00
1054776-01    S.S.                  Bay Ridge Surgi Center               Injection, Methylprednisolone Ace…      6/25/2019   J1030     $1,000.00
1054776-01    S.S.            New Horizon Surgical Center LLC           Arthroscopy Shoulder Surgical Rem…       2/24/2020   29819     $1,472.45
1054776-01    S.S.            New Horizon Surgical Center LLC           Arthroscopy Shoulder Surg Synovec…       2/24/2020   29821     $5,677.77
1054776-01    S.S.            New Horizon Surgical Center LLC           Arthroscopy Shoulder Surg Debride…       2/24/2020   29823     $1,472.45
1054776-01    S.S.            New Horizon Surgical Center LLC          Arthroscopy Shoulder W/Coracoacrm…        2/24/2020   29826     $1,472.45
1054776-01    S.S.            New Horizon Surgical Center LLC            Single Nerve Block Injection Arm …      2/24/2020   64415      $979.78
1054776-01    S.S.            New Horizon Surgical Center LLC           Us Guidance Needle Placement Img …       2/24/2020   76942      $341.96
1054954-01    Y.C.                       SCOB LLC                       Arthroscopy Shoulder Surg Synovec…       7/29/2019   29821     $2,944.87
1054954-01    Y.C.                       SCOB LLC                       Arthroscopy Shoulder Surg Debride…       7/29/2019   29823     $3,060.57
1054954-01    Y.C.                       SCOB LLC                      Arthroscopy Shoulder W/Coracoacrm…        7/29/2019   29826     $2,944.87
1054954-01    Y.C.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulop…     10/31/2020   22526     $5,292.93
1054954-01    Y.C.               Surgicore of Jersey City LLC           Unlisted Procedure Nervous System…      10/31/2020   64999      $373.98
1054954-01    Y.C.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…     10/31/2020   A4649       $50.00
1054954-01    Y.C.               Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…     10/31/2020   L8699     $1,495.00
1054468-01    A.A.                  Barnert Surgical Center               Injection Single/Mlt Trigger Poin…     8/21/2019   20553      $161.46
1054468-01    A.A.                  Barnert Surgical Center              Arthrocentesis Aspir&/Inj Major J…      8/21/2019   20610      $236.92
1054468-01    A.A.                  Barnert Surgical Center              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      8/21/2019   62321     $1,518.48
1054468-01    A.A.     NYEEQASC LLC d/b/a North Queens Surgical Center  Arthroscopy Shoulder Surgical Cap…       9/16/2019   29806     $5,677.77
1054663-01    M.C.           Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…        6/7/2019   22505     $1,577.52
1054663-01    M.C.           Rockaways ASC Development LLC              Clsd Tx Pelvic Ring Fx W/Manipula…        6/7/2019   27198      $446.62
1054663-01    M.C.           Rockaways ASC Development LLC              Manipulation Hip Joint General An…        6/7/2019   27275      $788.76
1054663-01    M.C.           Rockaways ASC Development LLC              Manipulation Hip Joint General An…        6/7/2019   27275      $788.76
1054663-01    M.C.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…     6/29/2019   20552      $277.37
1054663-01    M.C.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…     6/29/2019   20552      $277.37
1054663-01    M.C.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       6/29/2019   62323      $976.38
1054663-01    M.C.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       6/29/2019   62323      $976.38
1054663-01    M.C.           Rockaways ASC Development LLC                        Epidurograpy Rs&I…             6/29/2019   72275      $572.52
1054663-01    M.C.           Rockaways ASC Development LLC                        Epidurograpy Rs&I…             6/29/2019   72275      $572.52
1054663-01    M.C.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …       6/29/2019   76942      $211.66
1054663-01    M.C.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …       6/29/2019   76942      $211.66
1054663-01    M.C.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…     9/10/2019   20552      $554.74
1054663-01    M.C.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       9/10/2019   62323      $976.38
1054663-01    M.C.           Rockaways ASC Development LLC                        Epidurograpy Rs&I…             9/10/2019   72275      $572.52
1054663-01    M.C.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …       9/10/2019   76942      $423.32
1054663-01    M.C.                     Triborough ASC                    Perq Intrdscl Electrothrm Annulop…      2/22/2021   22526      $450.00
1054663-01    M.C.                     Triborough ASC                   Injection Px Discography Each Lev…       2/22/2021   62290      $450.00
1054663-01    M.C.                     Triborough ASC                   Transpedicular Dcmprn Spinal Cord…       2/22/2021   63056     $6,300.00
1054663-01    M.C.                     Triborough ASC                  Njx Anes&/Strd W/Img Tfrml Edrl L…        2/22/2021   64483      $750.00
1054663-01    M.C.                     Triborough ASC                    Fluor Needle/Cath Spine/Paraspina…      2/22/2021   77003      $225.00
1054663-01    M.C.                     Triborough ASC                        Glucose Blood Reagent Strip…        2/22/2021   82948       $20.00
1054663-01    M.C.                     Triborough ASC                  New Cpt Code 99072 Was Establishe…        2/22/2021   99072      $200.00
1054663-01    M.C.                     Triborough ASC                   Injection, Dexamethasone Sodium P…       2/22/2021   J1100       $52.64
1054663-01    M.C.                     Triborough ASC                             Unclassified Drugs…            2/22/2021   J3490       $40.64
1054663-01    M.C.                     Triborough ASC                   Low Osmolar Contrast Material, 10…       2/22/2021   Q9965       $13.90
1054663-01    M.C.                     Triborough ASC                   Dcmprn Perq Nucleus Pulposus 1/> …       3/19/2021   62287     $8,000.00
1054663-01    M.C.                     Triborough ASC                    Fluor Needle/Cath Spine/Paraspina…      3/19/2021   77003      $225.00
1054663-01    M.C.                     Triborough ASC                        Glucose Blood Reagent Strip…        3/19/2021   82948       $20.00
1054663-01    M.C.                     Triborough ASC                      Injection, Lidocaine Hcl For Intr…    3/19/2021   J2001       $64.00
1055775-01    D.I.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…       7/16/2019   29821     $1,472.45
1055775-01    D.I.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Debride…       7/16/2019   29823     $3,026.24
1055775-01    D.I.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …      7/16/2019   29825     $1,472.45

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                                                          1931
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1055775-01    D.I.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 7/16/2019      29826      $1,472.45
1055775-01    D.I.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   7/16/2019   64415       $979.78
1055775-01    D.I.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    7/16/2019   76942       $341.96
1055775-01    D.I.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/16/2019   62323       $976.38
1055775-01    D.I.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           9/16/2019   72275       $572.52
1054882-02    M.R.            Healthplus Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…    5/13/2019   29821      $6,462.39
1054882-02    M.R.            Healthplus Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   5/13/2019   29823      $6,462.39
1054882-02    M.R.            Healthplus Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …   5/13/2019   29825      $6,462.39
1054882-02    M.R.                     SCOB LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/7/2019   64493      $1,458.32
1054882-02    M.R.                     SCOB LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/7/2019   64494      $1,342.62
1054882-02    M.R.                     SCOB LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/7/2019   64495      $1,342.62
1054882-02    M.R.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…   6/21/2019   64490      $1,458.32
1054882-02    M.R.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…   6/21/2019   64491      $1,342.62
1054882-02    M.R.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…   6/21/2019   64492      $1,342.62
1054882-02    M.R.                     SCOB LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/3/2019   64493      $1,458.32
1054882-02    M.R.                     SCOB LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/3/2019   64494      $1,342.62
1054882-02    M.R.                     SCOB LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/3/2019   64495      $1,342.62
1054882-02    M.R.                     AMSC LLC                              Injection Single/Mlt Trigger Poin…  9/11/2019   20553       $277.37
1054882-02    M.R.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/11/2019   62323       $976.38
1054882-02    M.R.                     AMSC LLC                                     Epidurograpy Rs&I…           9/11/2019   72275       $572.52
1054882-02    M.R.                     AMSC LLC                            Us Guidance Needle Placement Img …    9/11/2019   76942       $423.32
1054882-02    M.R.                     AMSC LLC                              Injection Single/Mlt Trigger Poin…  9/25/2019   20553       $277.37
1054882-02    M.R.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/25/2019   62323       $976.38
1054882-02    M.R.                     AMSC LLC                                     Epidurograpy Rs&I…           9/25/2019   72275       $572.52
1054882-02    M.R.                     AMSC LLC                            Us Guidance Needle Placement Img …    9/25/2019   76942       $423.32
1054882-02    M.R.         Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  10/18/2019   64493       $976.38
1054882-02    M.R.              CHC Surgical Center LLC                     Perq Intrdscl Electrothrm Annulop…  11/15/2019   22526      $2,605.78
1054882-02    M.R.              CHC Surgical Center LLC                     Perq Intrdscl Electrothrm Annulop…  11/15/2019   22527      $2,605.78
1054882-02    M.R.              CHC Surgical Center LLC                    Dcmprn Perq Nucleus Pulposus 1/> … 11/15/2019     62287      $5,292.93
1054380-01    C.P.               Mountain Surgery Center                   Njx Anes&/Strd W/Img Tfrml Edrl L… 7/16/2019      64483      $5,845.00
1054380-01    C.P.               Mountain Surgery Center                   Njx Anes&/Strd W/Img Tfrml Edrl L… 7/16/2019      64483      $5,845.00
1054380-01    C.P.               Mountain Surgery Center                   Njx Anes&/Strd W/Img Tfrml Edrl L… 7/16/2019      64484      $4,635.00
1054380-01    C.P.               Mountain Surgery Center                               Surgical Trays…           7/16/2019   A4550       $750.00
1054380-01    C.P.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L…     8/6/2019   64483      $1,518.48
1054380-01    C.P.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L…     8/6/2019   64484      $1,553.68
1054380-01    C.P.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   8/30/2019   29823      $3,026.24
1054380-01    C.P.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 8/30/2019      29826      $1,472.45
1054380-01    C.P.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   8/30/2019   64415       $979.78
1054380-01    C.P.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   8/30/2019   64415       $979.78
1054380-01    C.P.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    8/30/2019   76942       $341.96
1054380-01    C.P.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    8/30/2019   76942       $341.96
1054380-01    C.P.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L… 10/15/2019     64483      $1,518.48
1054380-01    C.P.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L… 10/15/2019     64484      $1,553.68
1054380-01    C.P.          Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…  12/27/2019   22526      $5,292.93
1054380-01    C.P.          Island Ambulatory Surgery Center               Dcmprn Perq Nucleus Pulposus 1/> … 12/27/2019     62287      $2,646.47
1054380-01    C.P.        Specialty Surgery of Middletown LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/2/2020   64493     $20,000.00
1054380-01    C.P.        Specialty Surgery of Middletown LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/2/2020   64494     $10,000.00
1054380-01    C.P.        Specialty Surgery of Middletown LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/2/2020   64495     $10,000.00
1054685-01    J.K.                     AMSC LLC                             Perq Intrdscl Electrothrm Annulop…  10/24/2019   22526      $2,646.47
1054685-01    J.K.                     AMSC LLC                            Dcmprn Perq Nucleus Pulposus 1/> … 10/24/2019     62287      $5,292.93
1054685-01    J.K.         Rockaways ASC Development LLC                   Arthroscopy Knee Synovectomy Limi…     8/4/2021   29875      $1,472.45
1054685-01    J.K.         Rockaways ASC Development LLC                  Arthrs Knee W/Meniscectomy Med&La… 8/4/2021        29880      $3,026.24
1054685-01    J.K.         Rockaways ASC Development LLC                    Infectious Agent Detection By Nuc…    8/4/2021   87635        $51.33
1054685-01    J.K.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…     8/4/2021   A4649        $50.00
1054685-01    J.K.         Rockaways ASC Development LLC                     Arthroscopy, Knee, Surgical, For …   8/4/2021   G0289      $1,472.45
1054685-01    J.K.         Rockaways ASC Development LLC                   Arthroscopy Knee Synovectomy Limi… 8/18/2021      29875      $1,472.45
1054685-01    J.K.         Rockaways ASC Development LLC                  Arthrs Knee W/Meniscectomy Med&La… 8/18/2021       29880      $3,026.24
1054685-01    J.K.         Rockaways ASC Development LLC                      Surgical Supply; Miscellaneous…    8/18/2021   A4649        $50.00
1054685-01    J.K.         Rockaways ASC Development LLC                     Arthroscopy, Knee, Surgical, For …  8/18/2021   G0289      $1,472.45
1055096-01    B.C.              CHC Surgical Center LLC                      Injection Single/Mlt Trigger Poin…  5/14/2019   20553       $473.38
1055096-01    B.C.              CHC Surgical Center LLC                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/14/2019   62323       $829.30
1055096-01    B.C.              CHC Surgical Center LLC                             Epidurograpy Rs&I…           5/14/2019   72275       $572.53
1055096-01    B.C.              Accelerated Surgical Center                  Injection Single/Mlt Trigger Poin…  5/29/2019   20553       $161.46
1055096-01    B.C.              Accelerated Surgical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/29/2019   62323      $1,518.48
1055096-01    B.C.              CHC Surgical Center LLC                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/11/2019   62323       $829.30
1055096-01    B.C.              CHC Surgical Center LLC                             Epidurograpy Rs&I…           6/11/2019   72275       $572.53
1055096-01    B.C.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 6/14/2019      29875      $1,472.45
1055096-01    B.C.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 6/14/2019       29880      $3,026.24

                                                                    219 of 294                                                            Exhibit 4
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                                                           1932
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1055096-01    B.C.            Fifth Avenue Surgery Center LLC          Arthroscopy Knee W/Lysis Adhesion…       6/14/2019   29884     $1,472.45
1055096-01    B.C.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…      6/14/2019   29999     $1,472.45
1055096-01    B.C.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…    6/29/2019   20552      $277.37
1055096-01    B.C.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/29/2019   62323      $976.38
1055096-01    B.C.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…             6/29/2019   72275      $572.52
1055096-01    B.C.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …      6/29/2019   76942      $211.66
1055096-01    B.C.            Fifth Avenue Surgery Center LLC          Arthroscopy Knee Synovectomy Limi…       7/12/2019   29875     $1,472.45
1055096-01    B.C.            Fifth Avenue Surgery Center LLC           Arthrs Knee Abrasion Arthrp/Mlt D…      7/12/2019   29879     $1,472.45
1055096-01    B.C.            Fifth Avenue Surgery Center LLC          Arthrs Kne Surg W/Meniscectomy Me…       7/12/2019   29881     $3,026.24
1055096-01    B.C.            Fifth Avenue Surgery Center LLC          Arthroscopy Knee W/Lysis Adhesion…       7/12/2019   29884     $1,472.45
1055096-01    B.C.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…      7/12/2019   29999     $1,472.45
1055096-01    B.C.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…      7/12/2019   29999     $1,472.45
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation Spine Requiring Anes…      8/16/2019   22505      $748.08
1055096-01    B.C.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…      8/16/2019   27198      $405.94
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation Hip Joint General An…      8/16/2019   27275      $748.08
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation Hip Joint General An…      8/16/2019   27275     $1,577.52
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation Spine Requiring Anes…      8/19/2019   22505      $748.08
1055096-01    B.C.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…      8/19/2019   27198      $405.94
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation Hip Joint General An…      8/19/2019   27275      $748.08
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation Hip Joint General An…      8/19/2019   27275     $1,577.52
1055096-01    B.C.                Accelerated Surgical Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      8/28/2019   62321     $1,518.48
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation Spine Requiring Anes…       9/4/2019   22505      $748.08
1055096-01    B.C.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…       9/4/2019   27198      $405.94
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation Hip Joint General An…       9/4/2019   27275      $748.08
1055096-01    B.C.               Surgicore of Jersey City LLC           Manipulation Hip Joint General An…       9/4/2019   27275     $1,577.52
1055096-01    B.C.                Accelerated Surgical Center             Injection Single/Mlt Trigger Poin…    9/11/2019   20553      $161.46
1055096-01    B.C.                Accelerated Surgical Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      9/11/2019   62321     $1,518.48
1055096-01    B.C.                Accelerated Surgical Center             Injection Single/Mlt Trigger Poin…    10/9/2019   20553      $161.46
1055096-01    B.C.                Accelerated Surgical Center             Injection Single/Mlt Trigger Poin…    10/9/2019   20553      $161.46
1055096-01    B.C.                Accelerated Surgical Center          Njx Anes&/Strd W/Img Tfrml Edrl C…       10/9/2019   64479     $1,518.48
1055096-01    B.C.                Accelerated Surgical Center          Njx Anes&/Strd W/Img Tfrml Edrl C…       10/9/2019   64479     $1,518.48
1055096-01    B.C.                Accelerated Surgical Center          Njx Anes&/Strd W/Img Tfrml Edrl C…       10/9/2019   64480      $776.84
1055096-01    B.C.                Accelerated Surgical Center          Njx Anes&/Strd W/Img Tfrml Edrl C…       10/9/2019   64480      $776.84
1055108-02    Y.E.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       7/8/2019   62321      $976.38
1055108-02    Y.E.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/12/2019   64493     $1,952.76
1055108-02    Y.E.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/12/2019   64494      $976.38
1055108-02    Y.E.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/12/2019   64495      $976.38
1055108-02    Y.E.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/26/2019   64493      $976.38
1055108-02    Y.E.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/26/2019   64494      $488.19
1055108-02    Y.E.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      8/26/2019   64495      $488.19
1055108-02    Y.E.            Island Ambulatory Surgery Center           Inject Si Joint Arthrgrphy&/Anes/…     9/18/2019   27096      $940.42
1055108-02    Y.E.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Crv…     9/18/2019   64490     $1,952.76
1055108-02    Y.E.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Crv…     9/18/2019   64491      $976.38
1055108-02    Y.E.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Crv…     9/18/2019   64492      $976.38
1055108-02    Y.E.            Island Ambulatory Surgery Center           Dstr Nrolytc Agnt Parverteb Fct S…     10/7/2019   64635      $976.38
1055108-02    Y.E.            Island Ambulatory Surgery Center           Dstr Nrolytc Agnt Parverteb Fct A…     10/7/2019   64636      $488.19
1055108-02    Y.E.            Island Ambulatory Surgery Center           Dstr Nrolytc Agnt Parverteb Fct A…     10/7/2019   64636      $488.19
1055108-02    Y.E.            Island Ambulatory Surgery Center           Dstr Nrolytc Agnt Parverteb Fct S…    10/21/2019   64635      $976.38
1055108-02    Y.E.            Island Ambulatory Surgery Center           Dstr Nrolytc Agnt Parverteb Fct A…    10/21/2019   64636      $488.19
1055108-02    Y.E.            Island Ambulatory Surgery Center           Dstr Nrolytc Agnt Parverteb Fct A…    10/21/2019   64636      $488.19
1055108-02    Y.E.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…    11/4/2019   20553      $277.37
1055108-02    Y.E.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Crv…     11/4/2019   64490     $1,952.76
1055108-02    Y.E.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Crv…     11/4/2019   64491      $976.38
1055108-02    Y.E.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Crv…     11/4/2019   64492      $976.38
1055108-02    Y.E.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/18/2019   62323      $976.38
1055108-02    Y.E.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       1/8/2020   62321      $976.38
1055108-02    Y.E.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…              1/8/2020   72275      $572.52
1055108-02    Y.E.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      1/29/2020   64493     $1,952.76
1055108-02    Y.E.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      1/29/2020   64494      $976.38
1055108-02    Y.E.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      1/29/2020   64495      $976.38
1055108-02    Y.E.                 Bay Ridge Surgi Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      2/21/2020   62323      $976.38
1055108-02    Y.E.                 Bay Ridge Surgi Center                        Epidurograpy Rs&I…             2/21/2020   72275      $653.90
1055108-02    Y.E.                 Bay Ridge Surgi Center                           Surgical Trays…             2/21/2020   A4550     $1,000.00
1055108-02    Y.E.                 Bay Ridge Surgi Center                Injection, Methylprednisolone Ace…     2/21/2020   J1030     $1,000.00
1055108-02    Y.E.                 Bay Ridge Surgi Center                Injection, Methylprednisolone Ace…     2/21/2020   J1030     $1,000.00
1055108-02    Y.E.                 Bay Ridge Surgi Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      2/22/2020   62323      $976.38
1055108-02    Y.E.                 Bay Ridge Surgi Center                        Epidurograpy Rs&I…             2/22/2020   72275      $653.90
1055108-02    Y.E.                 Bay Ridge Surgi Center                           Surgical Trays…             2/22/2020   A4550     $1,000.00

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                                                           1933
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1055108-02    Y.E.                Bay Ridge Surgi Center                 Injection, Methylprednisolone Ace…   2/22/2020   J1030     $1,000.00
1055108-02    Y.E.                Bay Ridge Surgi Center                 Injection, Methylprednisolone Ace…   2/22/2020   J1030     $1,000.00
1054900-02    F.R.             Surgicore of Jersey City LLC              Manipulation Spine Requiring Anes…    6/7/2019   22505      $748.08
1054900-02    F.R.             Surgicore of Jersey City LLC             Manj W/Anes Shoulder Joint W/Fixa…     6/7/2019   23700     $1,577.52
1054900-02    F.R.             Surgicore of Jersey City LLC             Clsd Tx Pelvic Ring Fx W/Manipula…     6/7/2019   27198      $405.94
1054900-02    F.R.             Surgicore of Jersey City LLC              Manipulation Hip Joint General An…    6/7/2019   27275      $748.08
1054900-02    F.R.             Surgicore of Jersey City LLC              Manipulation Spine Requiring Anes…   6/12/2019   22505      $748.08
1054900-02    F.R.             Surgicore of Jersey City LLC             Manj W/Anes Shoulder Joint W/Fixa…    6/12/2019   23700     $1,577.52
1054900-02    F.R.             Surgicore of Jersey City LLC             Clsd Tx Pelvic Ring Fx W/Manipula…    6/12/2019   27198      $405.94
1054900-02    F.R.             Surgicore of Jersey City LLC              Manipulation Hip Joint General An…   6/12/2019   27275      $748.08
1054900-02    F.R.             Surgicore of Jersey City LLC              Manipulation Spine Requiring Anes…   6/17/2019   22505      $748.08
1054900-02    F.R.             Surgicore of Jersey City LLC             Manj W/Anes Shoulder Joint W/Fixa…    6/17/2019   23700      $748.08
1054900-02    F.R.             Surgicore of Jersey City LLC             Clsd Tx Pelvic Ring Fx W/Manipula…    6/17/2019   27198      $405.94
1054900-02    F.R.             Surgicore of Jersey City LLC              Manipulation Hip Joint General An…   6/17/2019   27275     $1,577.52
1054900-02    F.R.            Healthplus Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/26/2019   64493     $1,458.32
1054900-02    F.R.            Healthplus Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/26/2019   64494     $1,342.62
1054900-02    F.R.            Healthplus Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/26/2019   64495     $1,342.62
1054900-02    F.R.                     SCOB LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/9/2019   64493     $1,458.32
1054900-02    F.R.                     SCOB LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/9/2019   64494     $1,342.62
1054900-02    F.R.                     SCOB LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/9/2019   64495     $1,342.62
1054900-02    F.R.             Dynamic Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/20/2019   64490     $1,458.32
1054900-02    F.R.             Dynamic Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/20/2019   64491     $1,342.62
1054900-02    F.R.             Dynamic Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/20/2019   64492     $1,342.62
1054061-01    G.S.                     AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  12/12/2019   62323      $976.38
1054061-01    G.S.                     AMSC LLC                                   Epidurograpy Rs&I…         12/12/2019   72275      $572.52
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…   7/28/2020   22526     $2,605.78
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…   7/28/2020   22527     $2,605.79
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> …     7/28/2020   62287     $5,292.93
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…    7/28/2020   A4649       $50.00
1054061-01    G.S.             Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/11/2021   64493      $447.52
1054061-01    G.S.             Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/11/2021   64493      $976.38
1054061-01    G.S.             Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/11/2021   64494      $447.52
1054061-01    G.S.             Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/11/2021   64494      $447.52
1054061-01    G.S.             Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/11/2021   64495      $447.52
1054061-01    G.S.             Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/11/2021   64495      $447.52
1054061-01    G.S.             Surgicore of Jersey City LLC                Surgical Supply; Miscellaneous…    1/11/2021   A4649       $50.00
1054061-01    G.S.                     AMSC LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/22/2021   64493     $1,952.76
1054061-01    G.S.                     AMSC LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/22/2021   64493      $976.38
1054061-01    G.S.                     AMSC LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/22/2021   64494      $976.38
1054061-01    G.S.                     AMSC LLC                          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/22/2021   64495      $976.38
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center    Dstr Nrolytc Agnt Parverteb Fct S… 12/14/2021   64635      $447.52
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center    Dstr Nrolytc Agnt Parverteb Fct S… 12/14/2021   64635      $976.38
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center   Dstr Nrolytc Agnt Parverteb Fct A…  12/14/2021   64636      $447.52
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center   Dstr Nrolytc Agnt Parverteb Fct A…  12/14/2021   64636      $447.52
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center   Dstr Nrolytc Agnt Parverteb Fct A…  12/14/2021   64636      $447.52
1054061-01    G.S.     NYEEQASC LLC d/b/a North Queens Surgical Center   Dstr Nrolytc Agnt Parverteb Fct A…  12/14/2021   64636      $447.52
1054061-01    G.S.                   Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 12/14/2021     E0650      $531.06
1054061-01    G.S.                   Good Medica Inc                    Nonsegmental Pneumatic Appliance … 12/14/2021     E0666       $89.56
1055206-01    M.H.                Barnert Surgical Center                 Injection Single/Mlt Trigger Poin…  6/26/2019   20553      $161.46
1055206-01    M.H.                Barnert Surgical Center                 Inject Si Joint Arthrgrphy&/Anes/…  6/26/2019   27096     $3,036.96
1055206-01    M.H.                Barnert Surgical Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/26/2019   62323     $1,518.48
1055206-01    M.H.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Surgical Rep…   11/4/2019   29807     $5,677.77
1055206-01    M.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…     11/4/2019   29823     $1,472.45
1055206-01    M.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 11/4/2019       29826     $1,472.45
1055206-01    M.H.                Barnert Surgical Center                 Injection Single/Mlt Trigger Poin… 11/20/2019   20553      $161.46
1055206-01    M.H.                Barnert Surgical Center                 Inject Si Joint Arthrgrphy&/Anes/… 11/20/2019   27096     $3,036.96
1055206-01    M.H.                Barnert Surgical Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/20/2019   64493     $3,036.96
1055206-01    M.H.                Barnert Surgical Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/20/2019   64494     $1,067.84
1055206-01    M.H.                Barnert Surgical Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/20/2019   64495     $1,067.84
1056061-01    A.G.              Global Surgery Center LLC               Arthroscopy Knee Removal Loose/Fo… 9/26/2019      29874     $1,472.77
1056061-01    A.G.              Global Surgery Center LLC               Arthroscopy Knee Synovectomy 2/>C… 9/26/2019      29876     $1,472.77
1056061-01    A.G.              Global Surgery Center LLC               Arthroscopy Knee Synovectomy 2/>C… 9/26/2019      29876     $1,472.77
1056061-01    A.G.              Global Surgery Center LLC               Arthrs Knee Debridement/Shaving A…    9/26/2019   29877     $1,472.77
1056061-01    A.G.              Global Surgery Center LLC              Arthrs Knee W/Meniscectomy Med&La… 9/26/2019       29880     $3,997.71
1056061-01    A.G.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…  12/4/2019   20552      $554.74
1056061-01    A.G.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/4/2019   62323      $976.38
1056061-01    A.G.           Rockaways ASC Development LLC                        Epidurograpy Rs&I…          12/4/2019   72275      $572.52
1056061-01    A.G.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …    12/4/2019   76942      $423.32

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                                                          1934
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                               Service     Code       Billed
1053852-01    D.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/4/2019   62323      $976.38
1053852-01    D.S.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…             6/4/2019   72275      $572.52
1053852-01    D.S.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…      7/3/2019   29821     $3,026.24
1053852-01    D.S.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…     7/3/2019   29823     $1,472.45
1053852-01    D.S.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Distal Clavi…     7/3/2019   29824     $1,472.45
1053852-01    D.S.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…      7/3/2019   29826     $1,472.45
1053852-01    D.S.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …     7/3/2019   64415      $979.78
1053852-01    D.S.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …      7/3/2019   76942      $341.96
1053852-01    D.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/12/2019   62321      $976.38
1053852-01    D.S.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…            8/12/2019   72275      $572.52
1054151-02    M.O.          Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin…   4/24/2019   20553      $277.37
1054151-02    M.O.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/24/2019   62323      $976.38
1054151-02    M.O.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…            4/24/2019   72275      $572.52
1054151-02    M.O.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/13/2019   62323      $976.38
1054151-02    M.O.               Surgery Center of Oradell                  Arthrocentesis Aspir&/Inj Major J…     6/3/2019   20610     $1,518.48
1054151-02    M.O.               Surgery Center of Oradell                 Arthroscopy Knee Diagnostic W/Wo …      6/3/2019   29870     $3,026.24
1054151-02    M.O.               Surgery Center of Oradell                 Arthroscopy Knee Removal Loose/Fo…      6/3/2019   29874     $3,026.24
1054151-02    M.O.               Surgery Center of Oradell                 Arthroscopy Knee Synovectomy 2/>C…      6/3/2019   29876     $3,026.24
1054151-02    M.O.               Surgery Center of Oradell                Arthrs Knee W/Meniscectomy Med&La…       6/3/2019   29880     $3,026.24
1054151-02    M.O.               Surgery Center of Oradell                    Unlisted Procedure Arthroscopy…      6/3/2019   29999     $3,026.24
1054151-02    M.O.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…     11/1/2019   29821     $1,472.45
1054151-02    M.O.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    11/1/2019   29823     $3,026.24
1054151-02    M.O.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…     11/1/2019   29826     $1,472.45
1054151-02    M.O.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    11/1/2019   64415      $979.78
1054151-02    M.O.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     11/1/2019   76942      $341.96
1053992-02    L.W.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…     5/8/2019   22505      $748.08
1053992-02    L.W.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…      5/8/2019   23700     $1,577.52
1053992-02    L.W.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…      5/8/2019   27198      $405.94
1053992-02    L.W.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…    5/10/2019   22505      $748.08
1053992-02    L.W.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…     5/10/2019   23700     $1,577.52
1053992-02    L.W.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…     5/10/2019   27198      $405.94
1053992-02    L.W.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…    5/17/2019   22505      $748.08
1053992-02    L.W.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…     5/17/2019   23700     $1,577.52
1053992-02    L.W.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…     5/17/2019   27198      $405.94
1053992-02    L.W.             Dynamic Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/31/2019   62323      $863.63
1053992-02    L.W.             Dynamic Surgery Center LLC                           Epidurograpy Rs&I…            5/31/2019   72275      $572.53
1053992-02    L.W.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/29/2019   64493     $1,458.32
1053992-02    L.W.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/29/2019   64494     $1,342.62
1053992-02    L.W.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/29/2019   64495     $1,342.62
1053992-02    L.W.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…    7/19/2019   64490     $1,458.32
1053992-02    L.W.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…    7/19/2019   64491     $1,342.62
1053992-02    L.W.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…    7/19/2019   64492     $1,342.62
1054721-01    M.M.                     AMSC LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     5/8/2019   64493     $1,952.76
1054721-01    M.M.                     AMSC LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     5/8/2019   64494      $976.38
1054721-01    M.M.                     AMSC LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     5/8/2019   64495      $976.38
1054721-01    M.M.        Health East Ambulatory Surgical Center           Arthroscopy Shoulder Surg Synovec…      1/6/2020   29821     $3,231.20
1054721-01    M.M.        Health East Ambulatory Surgical Center            Arthroscopy Shoulder Surg Debride…     1/6/2020   29823     $3,231.20
1054721-01    M.M.        Health East Ambulatory Surgical Center            Arthroscopy Shoulder Ahesiolysis …     1/6/2020   29825     $3,231.20
1054721-01    M.M.        Health East Ambulatory Surgical Center           Arthroscopy Shoulder W/Coracoacrm…      1/6/2020   29826     $6,462.39
1054721-01    M.M.        Health East Ambulatory Surgical Center            Single Nerve Block Injection Arm …     1/6/2020   64415      $517.89
1054721-01    M.M.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…   3/16/2020   20552      $554.74
1054721-01    M.M.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/16/2020   62321      $976.38
1054721-01    M.M.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…            3/16/2020   72275      $572.52
1054721-01    M.M.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …     3/16/2020   76942      $423.32
1052896-01    G.G.                     AMSC LLC                              Injection Single/Mlt Trigger Poin…   5/19/2019   20553      $277.37
1052896-01    G.G.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/19/2019   62321      $976.38
1052896-01    G.G.                     AMSC LLC                                     Epidurograpy Rs&I…            5/19/2019   72275      $572.52
1052896-01    G.G.                     AMSC LLC                            Us Guidance Needle Placement Img …     5/19/2019   76942      $423.32
1052896-01    G.G.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…    8/4/2019   20552      $554.74
1052896-01    G.G.         Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     8/4/2019   64493      $976.38
1052896-01    G.G.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …      8/4/2019   76942      $423.32
1053012-02    N.A.              Accelerated Surgical Center                  Injection Single/Mlt Trigger Poin…   5/15/2019   20553      $161.46
1053012-02    N.A.              Accelerated Surgical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/15/2019   62323     $1,518.48
1053012-02    N.A.              Accelerated Surgical Center                  Injection Single/Mlt Trigger Poin…    7/3/2019   20553      $161.46
1053012-02    N.A.              Accelerated Surgical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     7/3/2019   62323     $1,518.48
1053012-02    N.A.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi…     7/12/2019   29875     $1,472.45
1053012-02    N.A.          Fifth Avenue Surgery Center LLC               Arthrs Kne Surg W/Meniscectomy Me…      7/12/2019   29881     $3,026.24
1053012-02    N.A.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee W/Lysis Adhesion…     7/12/2019   29884     $1,472.45

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                                                           1935
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                          Provider                                     Service
 Number      Person                                                                                              Service     Code       Billed
1053012-02    N.A.            Fifth Avenue Surgery Center LLC               Unlisted Procedure Arthroscopy…      7/12/2019   29999      $1,472.45
1053213-01    A.S.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy Shoulder Surg Debride…     6/10/2019   29823      $3,026.24
1053213-01    A.S.                  Barnert Surgical Center                Inject Si Joint Arthrgrphy&/Anes/…    7/24/2019   27096      $3,036.96
1053213-01    A.S.                  Barnert Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/24/2019   64493      $3,036.96
1053213-01    A.S.                  Barnert Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/24/2019   64494      $1,067.84
1053213-01    A.S.                  Barnert Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/24/2019   64495      $1,067.84
1053213-01    A.S.                  Barnert Surgical Center                Injection Single/Mlt Trigger Poin…    8/28/2019   20553       $161.46
1053213-01    A.S.                  Barnert Surgical Center                Inject Si Joint Arthrgrphy&/Anes/…    8/28/2019   27096      $3,036.96
1053213-01    A.S.                  Barnert Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     8/28/2019   64493      $3,036.96
1053213-01    A.S.                  Barnert Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     8/28/2019   64494      $1,067.84
1053213-01    A.S.                  Barnert Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     8/28/2019   64495      $1,067.84
1053459-02    A.M.               Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     6/22/2019   62323       $976.38
1053459-02    A.M.               Surgicore of Jersey City LLC                      Epidurograpy Rs&I…            6/22/2019   72275       $572.53
1053459-02    A.M.               Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/11/2020   62323       $976.38
1053459-02    A.M.               Surgicore of Jersey City LLC                      Epidurograpy Rs&I…            1/11/2020   72275       $572.53
1053459-02    A.M.               Surgicore of Jersey City LLC              Injection Single/Mlt Trigger Poin…    2/15/2020   20553       $236.69
1053459-02    A.M.               Surgicore of Jersey City LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/15/2020   62323       $976.38
1053459-02    A.M.               Surgicore of Jersey City LLC                      Epidurograpy Rs&I…            2/15/2020   72275       $572.53
1053459-02    A.M.            Island Ambulatory Surgery Center             Perq Intrdscl Electrothrm Annulop…     3/1/2021   22526      $5,292.93
1053459-02    A.M.            Island Ambulatory Surgery Center            Injection Px Discogrphy Ea Lvl Ce…      3/1/2021   62291       $415.05
1053459-02    A.M.            Island Ambulatory Surgery Center            Diskograpy Cervical/Thoracic Rs&I…      3/1/2021   72285      $1,043.91
1053459-02    A.M.            Island Ambulatory Surgery Center             Perq Intrdscl Electrothrm Annulop…    7/23/2021   22526      $2,646.47
1053459-02    A.M.            Island Ambulatory Surgery Center            Dcmprn Perq Nucleus Pulposus 1/> …     7/23/2021   62287      $5,292.93
1053459-02    A.M.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…      7/23/2021   E0650       $531.06
1053459-02    A.M.                     Good Medica Inc                   Nonsegmental Pneumatic Appliance …      7/23/2021   E0666        $89.56
1053459-02    A.M.            Island Ambulatory Surgery Center                 Unlisted Procedure Spine…         1/28/2022   22899      $5,292.93
1053459-02    A.M.            Island Ambulatory Surgery Center            Transection/Avulsion Oth Spinal N…     1/28/2022   64772      $2,224.46
1053459-02    A.M.            Island Ambulatory Surgery Center            Transection/Avulsion Oth Spinal N…     1/28/2022   64772      $2,224.46
1053459-02    A.M.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…      1/28/2022   E0650       $531.06
1053459-02    A.M.                     Good Medica Inc                   Nonsegmental Pneumatic Appliance …      1/28/2022   E0666        $89.56
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     8/14/2019   62321      $9,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center               Epidurograpy Rs&I…            8/14/2019   72275      $4,800.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     8/28/2019   62321      $9,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center               Epidurograpy Rs&I…            8/28/2019   72275      $4,800.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     9/28/2019   62323      $7,980.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center               Epidurograpy Rs&I…            9/28/2019   72275      $4,800.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    11/16/2019   62321      $9,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    11/16/2019   62323      $7,980.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center               Epidurograpy Rs&I…           11/16/2019   72275      $4,800.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center      Drug Test Prsmv Read Direct Optic…    11/16/2019   80305       $500.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Vnpnxr 3 Years/> Phys/Qhp Skill…      7/30/2020   36410       $580.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…    7/30/2020   64490      $9,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…    7/30/2020   64491      $9,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…    7/30/2020   64492      $9,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center      Drug Test Prsmv Read Direct Optic…     7/30/2020   80305       $500.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/24/2020   64490      $9,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/24/2020   64491      $9,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/24/2020   64492      $9,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Dstr Nrolytc Agnt Parverteb Fct S…   10/22/2020   64633     $15,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Dstr Nrolytc Agnt Parverteb Fct A…   10/22/2020   64634     $10,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Dstr Nrolytc Agnt Parverteb Fct A…   10/22/2020   64634     $10,000.00
1052726-01    S.C.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Synovec…      4/8/2021   29821      $5,677.77
1052726-01    S.C.               Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Debride…      4/8/2021   29823      $1,472.45
1052726-01    S.C.               Surgicore of Jersey City LLC            Arthroscopy Shoulder W/Coracoacrm…       4/8/2021   29826      $1,472.45
1052726-01    S.C.               Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …      4/8/2021   64415       $979.78
1052726-01    S.C.               Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …       4/8/2021   76942       $341.96
1052726-01    S.C.               Surgicore of Jersey City LLC               Surgical Supply; Miscellaneous…       4/8/2021   A4649        $50.00
1052726-01    S.C.               Surgicore of Jersey City LLC              Prosthetic Implant, Not Otherwise…     4/8/2021   L8699      $1,800.00
1052726-01    S.C.                     Good Medica Inc                   Pneumatic Compressor, Nonsegmenta…       4/8/2021   E0650       $531.06
1052726-01    S.C.                     Good Medica Inc                   Nonsegmental Pneumatic Appliance …       4/8/2021   E0666        $89.56
1052726-01    S.C.                     Good Medica Inc                    So, Acromio/Clavicular (Canvas An…      4/8/2021   L3670       $111.07
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Dstr Nrolytc Agnt Parverteb Fct S…    5/20/2021   64633     $15,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Dstr Nrolytc Agnt Parverteb Fct A…    5/20/2021   64634     $10,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Dstr Nrolytc Agnt Parverteb Fct A…    5/20/2021   64634     $10,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Dstr Nrolytc Agnt Parverteb Fct S…     3/3/2022   64633     $15,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Dstr Nrolytc Agnt Parverteb Fct S…     3/3/2022   64633     $15,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Dstr Nrolytc Agnt Parverteb Fct A…     3/3/2022   64634     $10,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center       Dstr Nrolytc Agnt Parverteb Fct A…     3/3/2022   64634     $10,000.00

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                                                           1936
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center     Dstr Nrolytc Agnt Parverteb Fct A…    3/3/2022   64634     $10,000.00
1052726-01    S.C.        Advanced Spine & Outpatient Surgery Center     Dstr Nrolytc Agnt Parverteb Fct A…    3/3/2022   64634     $10,000.00
1052359-01    R.S.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes…   5/20/2019   22505       $748.08
1052359-01    R.S.               Surgicore of Jersey City LLC           Manj W/Anes Shoulder Joint W/Fixa…    5/20/2019   23700      $1,577.52
1052359-01    R.S.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…    5/20/2019   27198       $405.94
1052359-01    R.S.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes…   5/22/2019   22505       $748.08
1052359-01    R.S.               Surgicore of Jersey City LLC           Manj W/Anes Shoulder Joint W/Fixa…    5/22/2019   23700      $1,577.52
1052359-01    R.S.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…    5/22/2019   27198       $405.94
1052359-01    R.S.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes…   5/24/2019   22505       $748.08
1052359-01    R.S.               Surgicore of Jersey City LLC           Manj W/Anes Shoulder Joint W/Fixa…    5/24/2019   23700      $1,577.52
1052359-01    R.S.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…    5/24/2019   27198       $405.94
1052359-01    R.S.                      EMUSC LLC                        Anes Arthrs Humeral H/N Strnclav …   6/17/2019    1630       $135.05
1052359-01    R.S.                      EMUSC LLC                       Arthroscopy Shoulder W/Coracoacrm… 6/17/2019      29826      $1,512.93
1052359-01    R.S.                      EMUSC LLC                        Arthroscopy Shoulder Rotator Cuff…   6/17/2019   29827      $5,677.41
1052359-01    R.S.                      EMUSC LLC                        Single Nerve Block Injection Arm …   6/17/2019   64415       $108.04
1052359-01    R.S.                      EMUSC LLC                        Single Nerve Block Injection Arm …   6/17/2019   64415       $414.46
1052359-01    R.S.                      EMUSC LLC                         Prosthetic Implant, Not Otherwise…  6/17/2019   L8699      $3,500.00
1052359-01    R.S.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…   2/25/2020   22526      $5,292.93
1052359-01    R.S.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop…   2/25/2020   22527      $2,605.78
1052359-01    R.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…     2/25/2020   64999       $373.98
1052359-01    R.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…     2/25/2020   64999       $373.98
1052359-01    R.S.               East Tremont Medical Center            Anes Dx/Ther Nrv Blk/Njx Oth/Thn …     3/4/2021    1991       $250.00
1052359-01    R.S.               East Tremont Medical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…    3/4/2021   64491      $3,690.00
1052359-01    R.S.               East Tremont Medical Center             Njx Dx/Ther Agt Pvrt Facet Jt Crv…    3/4/2021   64492      $3,500.00
1052454-02    C.O.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/19/2019   62323       $976.38
1052454-02    C.O.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…           6/19/2019   72275       $572.52
1052454-02    C.O.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 6/28/2019      29875      $1,472.45
1052454-02    C.O.          All City Family Healthcare Center, Inc.      Arthrs Knee Abrasion Arthrp/Mlt D…   6/28/2019   29879      $1,472.45
1052454-02    C.O.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 6/28/2019       29880      $3,026.24
1054139-01    M.B.          All City Family Healthcare Center, Inc.     Manipulation Knee Joint Under Gen…    5/16/2019   27570       $748.08
1054139-01    M.B.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 5/16/2019      29875      $1,472.45
1054139-01    M.B.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 5/16/2019       29880      $3,026.24
1054139-01    M.B.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…    5/16/2019   29999      $1,472.45
1054139-01    M.B.                Hudson Regional Hospital                 Comprehensive Metabolic Panel…    10/17/2019   80053       $150.00
1054139-01    M.B.                Hudson Regional Hospital              Drug Tst Prsmv Instrmnt Chem Anal… 10/17/2019     80307       $359.15
1054139-01    M.B.                Hudson Regional Hospital              Drug Screen Quant Amphetamines 1 … 10/17/2019     80324       $269.37
1054139-01    M.B.                Hudson Regional Hospital               Antidepressants Serotonergic Clas…  10/17/2019   80332       $269.37
1054139-01    M.B.                Hudson Regional Hospital                Antidepressants Tricyclic Other C… 10/17/2019   80335       $270.31
1054139-01    M.B.                Hudson Regional Hospital                Antidepressants Tricyclic Other C… 10/17/2019   80336        $66.70
1054139-01    M.B.                Hudson Regional Hospital                  Drug Screening Barbiturates…     10/17/2019   80345       $269.37
1054139-01    M.B.                Hudson Regional Hospital               Drug Screening Benzodiazepines 1-…  10/17/2019   80346       $269.37
1054139-01    M.B.                Hudson Regional Hospital                 Drug Screening Buprenorphine…     10/17/2019   80348       $269.37
1054139-01    M.B.                Hudson Regional Hospital                    Drug Screening Fentanyl…       10/17/2019   80354       $269.37
1054139-01    M.B.                Hudson Regional Hospital              Drug Screening Gabapentin Non-Blo… 10/17/2019     80355       $269.37
1054139-01    M.B.                Hudson Regional Hospital               Drug Screening Heroin Metabolite…   10/17/2019   80356       $269.37
1054139-01    M.B.                Hudson Regional Hospital                   Drug Screening Methadone…       10/17/2019   80358       $269.37
1054139-01    M.B.                Hudson Regional Hospital              Drug Screening Methylenedioxyamph… 10/17/2019     80359       $269.37
1054139-01    M.B.                Hudson Regional Hospital                Drug Screening Methylphenidate…    10/17/2019   80360       $269.37
1054139-01    M.B.                Hudson Regional Hospital               Drug Screening Opiates 1 Or More…   10/17/2019   80361       $538.74
1054139-01    M.B.                Hudson Regional Hospital              Drug Screening Opioids And Opiate… 10/17/2019     80362       $537.74
1054139-01    M.B.                Hudson Regional Hospital                   Drug Screening Oxycodone…       10/17/2019   80365       $269.37
1054139-01    M.B.                Hudson Regional Hospital                   Drug Screening Pregabalin…      10/17/2019   80366       $269.37
1054139-01    M.B.                Hudson Regional Hospital               Drug Screening Sedative Hypnotics…  10/17/2019   80368       $269.37
1054139-01    M.B.                Hudson Regional Hospital               Drug Screening Skeletal Muscle Re…  10/17/2019   80369       $269.37
1054139-01    M.B.                Hudson Regional Hospital                   Drug Screening Tapentadol…      10/17/2019   80372       $269.37
1054139-01    M.B.                Hudson Regional Hospital                    Drug Screening Tramadol…       10/17/2019   80373       $269.37
1054139-01    M.B.                Hudson Regional Hospital               Urnls Dip Stick/Tablet Reagent Au…  10/17/2019   81001       $134.00
1054139-01    M.B.                Hudson Regional Hospital             Blood Count Complete Auto&Auto Di… 10/17/2019      85025       $147.00
1054139-01    M.B.                Hudson Regional Hospital                        Prothrombin Time…          10/17/2019   85610       $143.00
1054139-01    M.B.                Hudson Regional Hospital               Thromboplastin Time Partial Plasm…  10/17/2019   85730       $147.00
1054139-01    M.B.                Hudson Regional Hospital              Antibody Screen Rbc Each Serum Te… 10/17/2019     86850       $105.80
1054139-01    M.B.                Hudson Regional Hospital                  Blood Typing Serologic Abo…      10/17/2019   86900       $498.84
1054139-01    M.B.                Hudson Regional Hospital                 Blood Typing Serologic Rh (D)…    10/17/2019   86901        $56.95
1054139-01    M.B.                Hudson Regional Hospital              Ecg Routine Ecg W/Least 12 Lds Tr… 10/17/2019     93005       $323.70
1053814-02    K.R.            Fifth Avenue Surgery Center LLC            Njx Pltlt Plasma W/Img Harvest/Pr…    6/1/2019   0232T       $437.96
1053814-02    K.R.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi…     6/1/2019   29875      $1,472.45
1053814-02    K.R.            Fifth Avenue Surgery Center LLC          Arthrs Kne Surg W/Meniscectomy Me… 6/1/2019        29881      $3,026.24
1053814-02    K.R.            Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…     6/1/2019   29999      $1,472.45

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                                                           1937
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1053814-02    K.R.             Fifth Avenue Surgery Center LLC          Incision Extensor Tendon Sheath W…     6/7/2019   25000     $3,290.01
1053814-02    K.R.             Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …    6/7/2019   64415      $829.30
1053814-02    K.R.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …     6/7/2019   76942      $341.96
1053814-02    K.R.             Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder Surgical Rem…    6/26/2019   29819     $1,472.45
1053814-02    K.R.             Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder Surg Debride…    6/26/2019   29823     $3,026.24
1053814-02    K.R.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Ahesiolysis …   6/26/2019   29825     $1,472.45
1053814-02    K.R.             Fifth Avenue Surgery Center LLC         Arthroscopy Shoulder W/Coracoacrm… 6/26/2019       29826     $1,472.45
1053814-02    K.R.             Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …   6/26/2019   64415      $829.30
1053814-02    K.R.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …    6/26/2019   76942      $341.96
1053814-02    K.R.                       AMSC LLC                      Perc Lamino-/Laminectomy Image Gu… 11/14/2019      0274T     $5,292.93
1053814-02    K.R.                       AMSC LLC                        Perq Intrdscl Electrothrm Annulop…  11/14/2019   22526     $2,646.47
1053814-02    K.R.                       AMSC LLC                        Perq Intrdscl Electrothrm Annulop…  11/14/2019   22527     $2,646.47
1053814-02    K.R.                       AMSC LLC                        Perq Intrdscl Electrothrm Annulop…   1/16/2020   22526     $2,646.47
1053814-02    K.R.                       AMSC LLC                       Dcmprn Perq Nucleus Pulposus 1/> …    1/16/2020   62287     $5,292.93
1053814-02    K.R.                       SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/18/2020   64493     $1,423.99
1053814-02    K.R.                       SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/18/2020   64494     $1,342.62
1053814-02    K.R.                       SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/18/2020   64495     $1,342.62
1053814-02    K.R.                       SCOB LLC                       Immunoassay For Infectious Agent …    6/18/2020   86328      $199.00
1053814-02    K.R.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/22/2021   64490      $976.38
1053814-02    K.R.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/22/2021   64491      $976.38
1053814-02    K.R.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/22/2021   64492      $976.38
1053814-02    K.R.                       AMSC LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/22/2021   64494     $1,952.76
1053814-02    K.R.               Surgicore of Jersey City LLC           Transection/Avulsion Oth Spinal N…    8/23/2021   64772     $1,071.54
1053814-02    K.R.               Surgicore of Jersey City LLC           Transection/Avulsion Oth Spinal N…    8/23/2021   64772     $1,071.54
1053814-02    K.R.               Surgicore of Jersey City LLC           Transection/Avulsion Oth Spinal N…    8/23/2021   64772     $2,224.45
1053814-02    K.R.               Surgicore of Jersey City LLC           Transection/Avulsion Oth Spinal N…    8/23/2021   64772     $1,071.54
1053814-02    K.R.               Surgicore of Jersey City LLC           Transection/Avulsion Oth Spinal N…    8/23/2021   64772     $1,071.54
1053814-02    K.R.               Surgicore of Jersey City LLC           Transection/Avulsion Oth Spinal N…    8/23/2021   64772     $1,071.54
1053814-02    K.R.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…    8/23/2021   A4649       $50.00
1053814-02    K.R.               Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…   8/23/2021   L8699     $3,380.00
1053814-02    K.R.                     Good Medica Inc                 Pneumatic Compressor, Nonsegmenta… 8/23/2021       E0650      $531.06
1053814-02    K.R.                     Good Medica Inc                  Nonsegmental Pneumatic Appliance …    8/23/2021   E0666       $89.56
1053814-02    K.R.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…    2/28/2024   29821     $5,677.77
1053814-02    K.R.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Debride…    2/28/2024   29823     $1,472.45
1053814-02    K.R.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …   2/28/2024   29825     $1,472.45
1053814-02    K.R.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    2/28/2024   29999     $1,472.45
1053814-02    K.R.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    2/28/2024   29999     $1,472.45
1053814-02    K.R.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …   2/28/2024   64415      $979.78
1053814-02    K.R.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …    2/28/2024   76942      $341.96
1053092-02    C.C.                 Surgery Center of Oradell            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/19/2019   62323     $1,518.48
1053092-02    C.C.                Global Surgery Center LLC              Perq Intrdscl Electrothrm Annulop…   11/7/2019   22526     $5,723.71
1053092-02    C.C.                Global Surgery Center LLC             Dcmprn Perq Nucleus Pulposus 1/> …    11/7/2019   62287     $2,873.24
1053092-02    C.C.                Global Surgery Center LLC                      Epidurograpy Rs&I…           11/7/2019   72275      $286.26
1053092-02    C.C.                Global Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   12/5/2019   64490     $1,518.48
1053092-02    C.C.                Global Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   12/5/2019   64491     $1,518.48
1053092-02    C.C.                Global Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   12/5/2019   64492     $1,518.48
1053092-02    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      3/3/2020   62323      $976.38
1051820-01    D.V.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy Knee Synovectomy 2/>C…      4/1/2019   29876     $1,472.45
1051820-01    D.V.       Surgicore LLC d/b/a Surgicore Surgical Center Arthrs Kne Surg W/Meniscectomy Me… 4/1/2019        29881     $3,026.24
1051820-01    D.V.       Surgicore LLC d/b/a Surgicore Surgical Center     Unlisted Procedure Arthroscopy…     4/1/2019   29999     $1,472.45
1051820-01    D.V.            Rockaways ASC Development LLC               Injection Single/Mlt Trigger Poin…  6/18/2019   20552      $277.37
1051820-01    D.V.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/18/2019   62323      $976.38
1051820-01    D.V.            Rockaways ASC Development LLC                      Epidurograpy Rs&I…           6/18/2019   72275      $572.52
1051820-01    D.V.            Rockaways ASC Development LLC             Us Guidance Needle Placement Img …    6/18/2019   76942      $211.66
1051820-01    D.V.            Rockaways ASC Development LLC             Manipulation Spine Requiring Anes…    7/13/2019   22505     $1,577.52
1051820-01    D.V.            Rockaways ASC Development LLC             Clsd Tx Pelvic Ring Fx W/Manipula…    7/13/2019   27198      $446.62
1051820-01    D.V.            Rockaways ASC Development LLC             Manipulation Hip Joint General An…    7/13/2019   27275      $788.76
1051820-01    D.V.            Rockaways ASC Development LLC             Manipulation Hip Joint General An…    7/13/2019   27275      $788.76
1051820-01    D.V.            Rockaways ASC Development LLC             Manipulation Spine Requiring Anes…    7/27/2019   22505     $1,577.52
1051820-01    D.V.            Rockaways ASC Development LLC             Clsd Tx Pelvic Ring Fx W/Manipula…    7/27/2019   27198      $446.62
1051820-01    D.V.            Rockaways ASC Development LLC             Manipulation Hip Joint General An…    7/27/2019   27275      $788.76
1051820-01    D.V.            Rockaways ASC Development LLC             Manipulation Hip Joint General An…    7/27/2019   27275      $788.76
1051820-01    D.V.            Rockaways ASC Development LLC             Manipulation Spine Requiring Anes…     8/3/2019   22505     $1,577.52
1051820-01    D.V.            Rockaways ASC Development LLC             Clsd Tx Pelvic Ring Fx W/Manipula…     8/3/2019   27198      $893.24
1051820-01    D.V.            Rockaways ASC Development LLC             Manipulation Hip Joint General An…     8/3/2019   27275     $1,577.52
1051820-01    D.V.            Rockaways ASC Development LLC             Manipulation Hip Joint General An…     8/3/2019   27275     $1,577.52
1051820-01    D.V.                Accelerated Surgical Center             Injection Single/Mlt Trigger Poin…  12/4/2019   20553      $161.46
1051820-01    D.V.                Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    12/4/2019   64493     $3,036.96

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                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
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  Claim      Covered                                                                                             Date of     Billing   Amount
                                          Provider                                     Service
 Number      Person                                                                                              Service     Code       Billed
1051820-01    D.V.                Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       12/4/2019   64494     $1,067.84
1051820-01    D.V.                Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…       12/4/2019   64495     $1,067.84
1051820-01    D.V.                Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      12/18/2019   64493     $3,036.96
1051820-01    D.V.                Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      12/18/2019   64494     $1,067.84
1051820-01    D.V.                Accelerated Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      12/18/2019   64495     $1,067.84
1051820-01    D.V.                  Barnert Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…        1/7/2020   62323     $1,518.48
1051948-01    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Pltlt Plasma W/Img Harvest/Pr…       4/16/2019   0232T      $437.96
1051948-01    R.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…        4/16/2019   29823     $3,026.24
1051948-01    R.L.           Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…       6/14/2019   22505     $1,577.52
1051948-01    R.L.           Rockaways ASC Development LLC             Manj W/Anes Shoulder Joint W/Fixa…        6/14/2019   23700      $788.76
1051948-01    R.L.           Rockaways ASC Development LLC              Clsd Tx Pelvic Ring Fx W/Manipula…       6/14/2019   27198      $446.62
1051948-01    R.L.           Rockaways ASC Development LLC              Manipulation Hip Joint General An…       6/14/2019   27275      $788.76
1051948-01    R.L.           Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…       6/21/2019   22505     $1,577.52
1051948-01    R.L.           Rockaways ASC Development LLC             Manj W/Anes Shoulder Joint W/Fixa…        6/21/2019   23700      $788.76
1051948-01    R.L.           Rockaways ASC Development LLC              Clsd Tx Pelvic Ring Fx W/Manipula…       6/21/2019   27198      $446.62
1051948-01    R.L.           Rockaways ASC Development LLC              Manipulation Hip Joint General An…       6/21/2019   27275      $788.76
1051948-01    R.L.           Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…       6/28/2019   22505     $1,577.52
1051948-01    R.L.           Rockaways ASC Development LLC             Manj W/Anes Shoulder Joint W/Fixa…        6/28/2019   23700      $788.76
1051948-01    R.L.           Rockaways ASC Development LLC              Clsd Tx Pelvic Ring Fx W/Manipula…       6/28/2019   27198      $446.62
1051948-01    R.L.           Rockaways ASC Development LLC              Manipulation Hip Joint General An…       6/28/2019   27275      $788.76
1051948-01    R.L.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…     7/30/2019   20552      $554.74
1051948-01    R.L.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       7/30/2019   62323      $976.38
1051948-01    R.L.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…              7/30/2019   72275      $572.52
1051948-01    R.L.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …       7/30/2019   76942      $423.32
1051948-01    R.L.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…     8/14/2019   20553      $277.37
1051948-01    R.L.                       AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       8/14/2019   62323      $976.38
1051948-01    R.L.                       AMSC LLC                                Epidurograpy Rs&I…              8/14/2019   72275      $572.52
1051948-01    R.L.                       AMSC LLC                       Us Guidance Needle Placement Img …       8/14/2019   76942      $423.32
1051948-01    R.L.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…     9/21/2019   20552      $554.74
1051948-01    R.L.           Rockaways ASC Development LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       9/21/2019   62323      $976.38
1051948-01    R.L.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…              9/21/2019   72275      $572.52
1051948-01    R.L.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …       9/21/2019   76942      $423.32
1052718-02    L.M.                Hudson Regional Hospital                 Comprehensive Metabolic Panel…       12/22/2020   80053      $150.00
1052718-02    L.M.                Hudson Regional Hospital             Drug Tst Prsmv Instrmnt Chem Anal…       12/22/2020   80307      $359.15
1052718-02    L.M.                Hudson Regional Hospital              Urnls Dip Stick/Tablet Reagent Au…      12/22/2020   81001      $134.00
1052718-02    L.M.                Hudson Regional Hospital                 Hemoglobin Glycosylated A1C…         12/22/2020   83036       $66.70
1052718-02    L.M.                Hudson Regional Hospital               Gonadotropin Chorionic Qualitativ…     12/22/2020   84703       $51.65
1052718-02    L.M.                Hudson Regional Hospital             Blood Count Complete Auto&Auto Di…       12/22/2020   85025      $147.00
1052718-02    L.M.                Hudson Regional Hospital                        Prothrombin Time…             12/22/2020   85610      $143.00
1052718-02    L.M.                Hudson Regional Hospital             Antibody Screen Rbc Each Serum Te…       12/22/2020   86850      $105.80
1052718-02    L.M.                Hudson Regional Hospital                  Blood Typing Serologic Abo…         12/22/2020   86900      $498.84
1052718-02    L.M.                Hudson Regional Hospital                 Blood Typing Serologic Rh (D)…       12/22/2020   86901       $56.95
1052718-02    L.M.                Hudson Regional Hospital              Infectious Agent Detection By Nuc…      12/22/2020   87635     $1,200.00
1052718-02    L.M.                Hudson Regional Hospital               Iadna S Aureus Methicillin Resist…     12/22/2020   87641      $241.40
1052718-02    L.M.                Hudson Regional Hospital              Ecg Routine Ecg W/Least 12 Lds Tr…      12/22/2020   93005      $323.70
1052718-02    L.M.                Hudson Regional Hospital                 Drug Test(S), Definitive, Utilizi…   12/22/2020   G0483     $1,234.60
1052718-02    L.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…      12/26/2020   29821     $5,677.77
1052718-02    L.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Debride…      12/26/2020   29823     $1,472.45
1052718-02    L.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Ahesiolysis …     12/26/2020   29825     $1,472.45
1052718-02    L.M.               Surgicore of Jersey City LLC          Arthroscopy Shoulder W/Coracoacrm…       12/26/2020   29826     $1,472.45
1052718-02    L.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Biceps Tenod…      12/26/2020   29828     $2,798.20
1052718-02    L.M.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …     12/26/2020   64415      $979.78
1052718-02    L.M.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …      12/26/2020   76942      $341.96
1052718-02    L.M.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…      12/26/2020   A4649       $50.00
1052718-02    L.M.               Surgicore of Jersey City LLC            Prosthetic Implant, Not Otherwise…     12/26/2020   L8699      $252.00
1053086-01    L.C.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…      5/21/2019   22526     $2,605.78
1053086-01    L.C.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…      5/21/2019   22527     $2,605.78
1053086-01    L.C.          All City Family Healthcare Center, Inc.    Discectomy Ant Dcmprn Cord Cervic…        5/21/2019   63075     $5,292.93
1053086-01    L.C.          All City Family Healthcare Center, Inc.    Discectomy Ant Dcmprn Cord Cervic…        5/21/2019   63076     $2,605.78
1053086-01    L.C.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      11/26/2019   62321      $976.38
1053086-01    L.C.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…             11/26/2019   72275      $572.52
1051520-02    E.A.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…       3/19/2019   29821     $1,472.45
1051520-02    E.A.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…       3/19/2019   29823     $3,026.24
1051520-02    E.A.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …      3/19/2019   29825     $1,472.45
1051520-02    E.A.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …      3/19/2019   64415      $829.30
1051520-02    E.A.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …       3/19/2019   76942      $341.96
1051520-02    E.A.                      EMUSC LLC                       Dcmprn Perq Nucleus Pulposus 1/> …       5/22/2019   62287     $5,827.05
1051520-02    E.A.                      EMUSC LLC                       Probe, Percutaneous Lumbar Discec…       5/22/2019   C2614      $600.00

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                                                           1939
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                             Service     Code       Billed
1051520-02    E.A.                       EMUSC LLC                       Anesthesia Cervical Spine & Cord …      9/4/2019    600       $270.10
1051520-02    E.A.                       EMUSC LLC                     Discectomy Ant Dcmprn Cord Cervic…        9/4/2019   63075     $5,827.05
1051520-02    E.A.                       EMUSC LLC                       Prosthetic Implant, Not Otherwise…      9/4/2019   L8699      $600.00
1050906-01    C.Y.       Surgicore LLC d/b/a Surgicore Surgical Center Arthroscopy Knee Synovectomy 2/>C…       6/11/2019   29876     $1,472.45
1050906-01    C.Y.       Surgicore LLC d/b/a Surgicore Surgical Center Arthrs Kne Surg W/Meniscectomy Me…       6/11/2019   29881     $3,026.24
1050906-01    C.Y.       Surgicore LLC d/b/a Surgicore Surgical Center     Unlisted Procedure Arthroscopy…      6/11/2019   29999     $1,472.45
1050906-01    C.Y.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy, Knee, Surgical, For …     6/11/2019   g0289     $1,472.45
1050906-01    C.Y.                   Surgicare of Manhattan             Arthrs Ankle Exc Ostchndrl Dfct W…      6/25/2019   29891     $3,026.23
1050906-01    C.Y.                   Surgicare of Manhattan             Arthroscopy Ankle Surgical Debrid…      6/25/2019   29898     $1,472.43
1050906-01    C.Y.                   Surgicare of Manhattan              Injection Anes Other Peripheral N…     6/25/2019   64450      $747.93
1050906-01    C.Y.                   Surgicare of Manhattan             Us Guidance Needle Placement Img …      6/25/2019   76942      $170.98
1050906-01    C.Y.                   Surgicare of Manhattan              Prosthetic Implant, Not Otherwise…     6/25/2019   L8699      $980.00
1051812-02    F.F.                        AMSC LLC                        Injection Single/Mlt Trigger Poin…    4/26/2019   20553      $277.37
1051812-02    F.F.                        AMSC LLC                      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      4/26/2019   62323      $976.38
1051812-02    F.F.                        AMSC LLC                               Epidurograpy Rs&I…             4/26/2019   72275      $572.52
1051812-02    F.F.                        AMSC LLC                      Us Guidance Needle Placement Img …      4/26/2019   76942      $423.32
1051812-02    F.F.            Rockaways ASC Development LLC               Injection Single/Mlt Trigger Poin…     8/3/2019   20552      $554.74
1051812-02    F.F.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       8/3/2019   62323      $976.38
1051812-02    F.F.            Rockaways ASC Development LLC                      Epidurograpy Rs&I…              8/3/2019   72275      $572.52
1051812-02    F.F.            Rockaways ASC Development LLC             Us Guidance Needle Placement Img …       8/3/2019   76942      $423.32
1051812-03    R.P.                        AMSC LLC                      Manipulation Spine Requiring Anes…       4/9/2019   22505     $1,577.52
1051812-03    R.P.                        AMSC LLC                      Clsd Tx Pelvic Ring Fx W/Manipula…       4/9/2019   27198      $446.62
1051812-03    R.P.                        AMSC LLC                      Manipulation Hip Joint General An…       4/9/2019   27275      $788.76
1051812-03    R.P.                        AMSC LLC                      Manipulation Hip Joint General An…       4/9/2019   27275      $788.76
1051812-03    R.P.                        AMSC LLC                      Manipulation Spine Requiring Anes…      4/26/2019   22505     $1,577.52
1051812-03    R.P.                        AMSC LLC                      Clsd Tx Pelvic Ring Fx W/Manipula…      4/26/2019   27198      $893.24
1051812-03    R.P.                        AMSC LLC                      Manipulation Hip Joint General An…      4/26/2019   27275     $3,155.04
1051812-03    R.P.                        AMSC LLC                      Manipulation Spine Requiring Anes…      5/24/2019   22505      $788.76
1051812-03    R.P.                        AMSC LLC                      Clsd Tx Pelvic Ring Fx W/Manipula…      5/24/2019   27198      $446.62
1051812-03    R.P.                        AMSC LLC                      Manipulation Hip Joint General An…      5/24/2019   27275     $3,155.04
1051812-03    R.P.            Rockaways ASC Development LLC               Injection Single/Mlt Trigger Poin…     8/3/2019   20552      $554.74
1051812-03    R.P.            Rockaways ASC Development LLC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       8/3/2019   62321      $976.38
1051812-03    R.P.            Rockaways ASC Development LLC                      Epidurograpy Rs&I…              8/3/2019   72275      $572.52
1051812-03    R.P.            Rockaways ASC Development LLC             Us Guidance Needle Placement Img …       8/3/2019   76942      $423.32
1051654-02    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Pltlt Plasma W/Img Harvest/Pr…      4/27/2019   0232T      $437.96
1051654-02    C.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…       4/27/2019   29823     $3,026.24
1051654-02    C.A.             Island Ambulatory Surgery Center         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/11/2019   62323      $976.38
1051654-02    C.A.             Island Ambulatory Surgery Center           Injection Single/Mlt Trigger Poin…   12/27/2019   20553      $554.74
1051654-02    C.A.             Island Ambulatory Surgery Center         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     10/30/2020   62323      $976.38
1050962-02    K.S.             Island Ambulatory Surgery Center           Injection Single/Mlt Trigger Poin…    3/18/2019   20553      $554.74
1050962-02    K.S.             Island Ambulatory Surgery Center         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      3/18/2019   62321      $976.38
1050962-02    K.S.             Island Ambulatory Surgery Center                  Epidurograpy Rs&I…             3/18/2019   72275      $572.52
1050962-02    K.S.             Island Ambulatory Surgery Center         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       5/2/2019   62321      $976.38
1050962-02    K.S.             Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder Surg Debride…       7/5/2019   29823     $3,026.24
1050962-02    K.S.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Ahesiolysis …      7/5/2019   29825     $1,472.45
1050962-02    K.S.             Fifth Avenue Surgery Center LLC         Arthroscopy Shoulder W/Coracoacrm…        7/5/2019   29826     $1,472.45
1050962-02    K.S.             Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …      7/5/2019   64415      $829.30
1050962-02    K.S.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …       7/5/2019   76942      $341.96
1051525-01    J.C.            Rockaways ASC Development LLC             Manipulation Spine Requiring Anes…       8/4/2019   22505     $1,577.52
1051525-01    J.C.            Rockaways ASC Development LLC            Manj W/Anes Shoulder Joint W/Fixa…        8/4/2019   23700     $1,577.52
1051525-01    J.C.            Rockaways ASC Development LLC             Clsd Tx Pelvic Ring Fx W/Manipula…       8/4/2019   27198      $893.24
1051525-01    J.C.            Rockaways ASC Development LLC             Manipulation Hip Joint General An…       8/4/2019   27275     $1,577.52
1051525-01    J.C.            Rockaways ASC Development LLC             Manipulation Spine Requiring Anes…      9/22/2019   22505     $1,577.52
1051525-01    J.C.            Rockaways ASC Development LLC            Manj W/Anes Shoulder Joint W/Fixa…       9/22/2019   23700     $1,577.52
1051525-01    J.C.            Rockaways ASC Development LLC             Clsd Tx Pelvic Ring Fx W/Manipula…      9/22/2019   27198      $893.24
1051525-01    J.C.            Rockaways ASC Development LLC             Manipulation Hip Joint General An…      9/22/2019   27275     $1,577.52
1051525-01    J.C.                        AMSC LLC                      Manipulation Spine Requiring Anes…      9/25/2019   22505      $788.76
1051525-01    J.C.                        AMSC LLC                     Manj W/Anes Shoulder Joint W/Fixa…       9/25/2019   23700     $1,577.52
1051525-01    J.C.                        AMSC LLC                      Clsd Tx Pelvic Ring Fx W/Manipula…      9/25/2019   27198      $446.62
1051525-01    J.C.                        AMSC LLC                      Manipulation Hip Joint General An…      9/25/2019   27275      $788.76
1050475-02    J.A.                 Global Surgery Center LLC           Arthroscopy Knee Synovectomy 2/>C…       10/2/2019   29876     $1,472.77
1050475-02    J.A.                 Global Surgery Center LLC           Arthrs Knee Debridement/Shaving A…       10/2/2019   29877     $1,472.77
1050475-02    J.A.                 Global Surgery Center LLC            Arthrs Knee Abrasion Arthrp/Mlt D…      10/2/2019   29879     $1,472.77
1050475-02    J.A.                 Global Surgery Center LLC           Arthrs Kne Surg W/Meniscectomy Me…       10/2/2019   29881     $3,026.24
1050475-02    J.A.                Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     10/26/2019   62323      $976.38
1050475-02    J.A.                Surgicore of Jersey City LLC                   Epidurograpy Rs&I…            10/26/2019   72275      $572.53
1050475-02    J.A.                Surgicore of Jersey City LLC          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/23/2019   62323      $976.38
1050475-02    J.A.                Surgicore of Jersey City LLC                   Epidurograpy Rs&I…            11/23/2019   72275      $572.53

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                                                          1940
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/14/2019   62323      $976.38
1050475-02    J.A.             Surgicore of Jersey City LLC                          Epidurograpy Rs&I…          12/14/2019   72275      $572.53
1050475-02    J.A.             Surgicore of Jersey City LLC                   Injection Single/Mlt Trigger Poin…  2/29/2020   20552      $236.69
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/29/2020   64493      $447.52
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/29/2020   64493      $976.38
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/29/2020   64494      $447.52
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/29/2020   64494      $447.52
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/29/2020   64495      $447.52
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/29/2020   64495      $447.52
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/14/2020   64493      $447.52
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/14/2020   64493      $976.38
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/14/2020   64494      $447.52
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/14/2020   64494      $447.52
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/14/2020   64495      $447.52
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/14/2020   64495      $447.52
1050475-02    J.A.            Healthplus Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct S…   5/30/2020   64635      $979.78
1050475-02    J.A.            Healthplus Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   5/30/2020   64636      $898.41
1050475-02    J.A.            Healthplus Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   5/30/2020   64636      $898.41
1050475-02    J.A.            Healthplus Surgery Center LLC                 Immunoassay For Infectious Agent …    5/30/2020   86328      $199.00
1050475-02    J.A.            Healthplus Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct S…   6/13/2020   64635      $979.78
1050475-02    J.A.            Healthplus Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   6/13/2020   64636      $898.41
1050475-02    J.A.            Healthplus Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   6/13/2020   64636      $898.41
1050475-02    J.A.            Healthplus Surgery Center LLC                 Immunoassay For Infectious Agent …    6/13/2020   86328      $199.00
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/22/2020   62321      $976.38
1050475-02    J.A.             Surgicore of Jersey City LLC                          Epidurograpy Rs&I…           8/22/2020   72275      $572.53
1050475-02    J.A.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…    8/22/2020   A4649       $50.00
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     9/5/2020   62321      $976.38
1050475-02    J.A.             Surgicore of Jersey City LLC                          Epidurograpy Rs&I…            9/5/2020   72275      $572.53
1050475-02    J.A.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…     9/5/2020   A4649       $50.00
1050475-02    J.A.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/19/2020   62321      $976.38
1050475-02    J.A.             Surgicore of Jersey City LLC                          Epidurograpy Rs&I…           9/19/2020   72275      $572.53
1050475-02    J.A.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…    9/19/2020   A4649       $50.00
1050475-02    J.A.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct S…    1/8/2022   64633      $976.38
1050475-02    J.A.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct A…    1/8/2022   64634      $447.52
1050475-02    J.A.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct A…    1/8/2022   64634      $447.52
1050961-01    P.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/21/2019   62323      $976.38
1050961-01    P.S.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…           8/21/2019   72275      $572.52
1050961-01    P.S.             Surgicore of Jersey City LLC                  Arthroscopy Knee Lateral Release…    1/16/2020   29873     $1,472.45
1050961-01    P.S.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 1/16/2020       29876     $1,472.45
1050961-01    P.S.             Surgicore of Jersey City LLC               Arthrs Kne Surg W/Meniscectomy Me… 1/16/2020        29881     $3,026.24
1050961-01    P.S.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …   1/16/2020   g0289     $1,472.45
1050961-01    P.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/25/2021   62323      $976.38
1050961-01    P.S.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…          10/25/2021   72275      $572.52
1050961-01    P.S.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin…   9/8/2022   20553      $279.23
1050961-01    P.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     9/8/2022   62323      $980.10
1050961-01    P.S.          Island Ambulatory Surgery Center                 Infectious Agent Antigen Detectio…    9/8/2022   87426      $200.00
1050961-01    P.S.          Island Ambulatory Surgery Center                  Injection Single/Mlt Trigger Poin… 12/20/2023   20553      $279.23
1050961-01    P.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/20/2023   62323      $980.10
1051117-01    M.R.          Island Ambulatory Surgery Center               Arthroscopy Knee Synovectomy 2/>C…      8/7/2019   29876     $1,513.12
1051117-01    M.R.          Island Ambulatory Surgery Center              Arthrs Knee W/Meniscectomy Med&La… 8/7/2019         29880     $3,026.23
1051117-01    M.R.          New Horizon Surgical Center LLC                  Perq Intrdscl Electrothrm Annulop…    2/3/2020   22526     $2,605.78
1051117-01    M.R.          New Horizon Surgical Center LLC                  Perq Intrdscl Electrothrm Annulop…    2/3/2020   22527     $2,605.79
1051117-01    M.R.          New Horizon Surgical Center LLC                Dcmprn Perq Nucleus Pulposus 1/> …      2/3/2020   62287     $5,292.93
1049538-02    M.M.            Healthplus Surgery Center LLC                 Manipulation Spine Requiring Anes…    5/18/2019   22505     $1,611.85
1049538-02    M.M.            Healthplus Surgery Center LLC                Manj W/Anes Shoulder Joint W/Fixa…     5/18/2019   23700      $748.08
1049538-02    M.M.            Healthplus Surgery Center LLC                Clsd Tx Pelvic Ring Fx W/Manipula…     5/18/2019   27198      $405.94
1049538-02    M.M.            Healthplus Surgery Center LLC                 Manipulation Spine Requiring Anes…    5/22/2019   22505     $1,611.85
1049538-02    M.M.            Healthplus Surgery Center LLC                Manj W/Anes Shoulder Joint W/Fixa…     5/22/2019   23700      $748.08
1049538-02    M.M.            Healthplus Surgery Center LLC                Clsd Tx Pelvic Ring Fx W/Manipula…     5/22/2019   27198      $405.94
1049538-02    M.M.             Dynamic Surgery Center LLC                   Manipulation Spine Requiring Anes…    5/29/2019   22505     $1,611.85
1049538-02    M.M.             Dynamic Surgery Center LLC                  Manj W/Anes Shoulder Joint W/Fixa…     5/29/2019   23700      $748.08
1049538-02    M.M.             Dynamic Surgery Center LLC                  Clsd Tx Pelvic Ring Fx W/Manipula…     5/29/2019   27198      $405.94
1049538-02    M.M.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/16/2019   62323      $976.38
1049538-02    M.M.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…           9/16/2019   72275      $572.53
1049538-02    M.M.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…   9/23/2019   22526     $2,605.78
1049538-02    M.M.        All City Family Healthcare Center, Inc.          Dcmprn Perq Nucleus Pulposus 1/> …     9/23/2019   62287     $5,292.93
1049538-02    M.M.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy Limi… 1/27/2020       29875     $1,472.45
1049538-02    M.M.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 1/27/2020        29880     $3,026.24

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                                                          1941
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1049538-02    M.M.             Surgicore of Jersey City LLC                Arthroscopy Knee W/Lysis Adhesion… 1/27/2020      29884     $1,472.45
1049538-02    M.M.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    1/27/2020   29999     $1,472.45
1049538-02    M.M.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …  1/27/2020   G0289     $1,472.45
1049719-01    E.T.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…    3/19/2019   29821     $1,472.45
1049719-01    E.T.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   3/19/2019   29823     $3,026.24
1049719-01    E.T.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …   3/19/2019   29825     $1,472.45
1049719-01    E.T.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   3/19/2019   64415      $829.30
1049719-01    E.T.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    3/19/2019   76942      $341.96
1049719-01    E.T.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 6/18/2019      29875     $1,472.45
1049719-01    E.T.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 6/18/2019       29880     $3,026.24
1049719-01    E.T.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…   6/18/2019   64447      $829.30
1049719-01    E.T.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    6/18/2019   76942      $341.96
1049719-01    E.T.          Fifth Avenue Surgery Center LLC                  Arthroscopy, Knee, Surgical, For …  6/18/2019   G0289     $1,472.45
1049719-01    E.T.                    EMUSC LLC                            Perc Lamino-/Laminectomy Indir Im… 10/16/2019     0275T     $5,827.05
1049719-01    E.T.                    EMUSC LLC                            Anesthesia Perq Image Guided Spin…   10/16/2019    1936      $135.05
1049719-01    E.T.                    EMUSC LLC                            Probe, Percutaneous Lumbar Discec… 10/16/2019     C2614      $104.00
1049968-02    E.G.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 4/12/2019      29875     $1,472.45
1049968-02    E.G.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 4/12/2019       29880     $3,026.24
1049968-02    E.G.                    EMUSC LLC                            Anesthesia Perq Image Guided Spin…    8/19/2019    1936      $135.05
1049968-02    E.G.                    EMUSC LLC                            Dcmprn Perq Nucleus Pulposus 1/> …    8/19/2019   62287     $5,827.05
1049968-02    E.G.                    EMUSC LLC                            Probe, Percutaneous Lumbar Discec…    8/19/2019   C2614      $600.00
1049752-01    N.F.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/9/2019   62321      $976.38
1049752-01    N.F.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…            5/9/2019   72275      $572.52
1049752-01    N.F.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec…    5/22/2019   29821     $1,472.45
1049752-01    N.F.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…   5/22/2019   29823     $3,026.24
1049752-01    N.F.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …   5/22/2019   29825     $1,472.45
1049752-01    N.F.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    5/22/2019   29999     $1,472.45
1049752-01    N.F.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    5/22/2019   29999     $1,472.45
1049752-01    N.F.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …   5/22/2019   64415      $979.78
1049752-01    N.F.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …    5/22/2019   76942      $341.96
1049752-01    N.F.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/10/2019   62321      $976.38
1049752-01    N.F.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           6/10/2019   72275      $572.52
1049752-01    N.F.          Island Ambulatory Surgery Center                Arthrocentesis Aspir&/Inj Major J…    7/8/2019   20610      $554.74
1049752-01    N.F.          Island Ambulatory Surgery Center                Fluoroscopic Guidance Needle Plac…    7/8/2019   77002      $572.52
1049752-01    N.F.          Island Ambulatory Surgery Center              Perc Lamino-/Laminectomy Image Gu… 7/22/2019       0274T     $5,292.93
1049752-01    N.F.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Crv…   11/6/2019   64490     $1,952.76
1049752-01    N.F.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Crv…   11/6/2019   64491      $976.38
1049752-01    N.F.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Crv…   11/6/2019   64492      $976.38
1049886-01    A.M.              Accelerated Surgical Center                  Injection Single/Mlt Trigger Poin…  2/27/2019   20553      $161.46
1049886-01    A.M.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/27/2019   64493     $3,036.96
1049886-01    A.M.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/27/2019   64494     $1,067.84
1049886-01    A.M.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/27/2019   64495     $1,067.84
1049886-01    A.M.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/20/2019   64493     $3,036.96
1049886-01    A.M.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/20/2019   64494     $1,067.84
1049886-01    A.M.              Accelerated Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/20/2019   64495     $1,067.84
1049886-01    A.M.              Accelerated Surgical Center                  Injection Single/Mlt Trigger Poin…   4/3/2019   20553      $161.46
1049886-01    A.M.              Accelerated Surgical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/3/2019   62323     $1,518.48
1049886-01    A.M.               Surgery Center of Oradell                 Manj W/Anes Shoulder Joint W/Fixa…    4/11/2019   23700     $3,111.56
1049886-01    A.M.               Surgery Center of Oradell                 Arthroscopy Shoulder Surg Synovec…    4/11/2019   29821     $5,677.77
1049886-01    A.M.               Surgery Center of Oradell                  Arthroscopy Shoulder Surg Debride…   4/11/2019   29823     $5,677.77
1049886-01    A.M.               Surgery Center of Oradell                  Arthroscopy Shoulder Ahesiolysis …   4/11/2019   29825     $5,677.77
1049886-01    A.M.                     AMSC LLC                            Manipulation Spine Requiring Anes…    5/19/2019   22505     $1,577.52
1049886-01    A.M.                     AMSC LLC                            Clsd Tx Pelvic Ring Fx W/Manipula…    5/19/2019   27198      $446.62
1049886-01    A.M.                     AMSC LLC                             Manipulation Hip Joint General An…   5/19/2019   27275      $788.76
1049886-01    A.M.         Rockaways ASC Development LLC                   Manipulation Spine Requiring Anes…    6/29/2019   22505     $1,577.52
1049886-01    A.M.         Rockaways ASC Development LLC                   Clsd Tx Pelvic Ring Fx W/Manipula…    6/29/2019   27198      $446.62
1049886-01    A.M.         Rockaways ASC Development LLC                    Manipulation Hip Joint General An…   6/29/2019   27275      $788.76
1049886-01    A.M.         Rockaways ASC Development LLC                   Manipulation Spine Requiring Anes…     8/3/2019   22505     $1,577.52
1049886-01    A.M.         Rockaways ASC Development LLC                   Clsd Tx Pelvic Ring Fx W/Manipula…     8/3/2019   27198      $893.24
1049886-01    A.M.         Rockaways ASC Development LLC                    Manipulation Hip Joint General An…    8/3/2019   27275     $1,577.52
1049446-01    R.T.             Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…     7/1/2019   22505      $748.08
1049446-01    R.T.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…     7/1/2019   23700     $1,577.52
1049446-01    R.T.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…     7/1/2019   27198      $405.94
1049446-01    R.T.             Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…     7/3/2019   22505      $748.08
1049446-01    R.T.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…     7/3/2019   23700     $1,577.52
1049446-01    R.T.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…     7/3/2019   27198      $405.94
1049446-01    R.T.             Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…    7/15/2019   22505      $748.08
1049446-01    R.T.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…    7/15/2019   23700     $1,577.52

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                                                           1942
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1049446-01    R.T.                Surgicore of Jersey City LLC          Clsd Tx Pelvic Ring Fx W/Manipula…     7/15/2019   27198      $405.94
1048822-02    E.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       4/4/2019   62323      $976.38
1048822-02    E.S.                        AMSC LLC                      Arthroscopy Knee Synovectomy 2/>C… 6/21/2019       29876     $1,513.12
1048822-02    E.S.                        AMSC LLC                     Arthrs Kne Surg W/Meniscectomy Me… 6/21/2019        29881     $1,513.12
1048822-02    E.S.                        AMSC LLC                       Arthrs Aided Ant Cruciate Ligm Rp…    6/21/2019   29888     $5,677.78
1048822-02    E.S.                        AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/28/2019   62321      $976.38
1048822-02    E.S.                        AMSC LLC                                Epidurograpy Rs&I…           6/28/2019   72275      $572.52
1048822-02    E.S.                        AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/29/2019   62323      $976.38
1048822-02    E.S.                        AMSC LLC                                Epidurograpy Rs&I…           8/29/2019   72275      $572.52
1048822-02    E.S.          Health East Ambulatory Surgical Center        Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/8/2020   64490     $1,518.48
1048822-02    E.S.          Health East Ambulatory Surgical Center        Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/8/2020   64491      $533.92
1048822-02    E.S.          Health East Ambulatory Surgical Center        Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/8/2020   64492      $533.92
1048822-02    E.S.          Health East Ambulatory Surgical Center      Dcmprn Perq Nucleus Pulposus 1/> …     1/29/2020   62287     $8,064.00
1048822-02    E.S.          Health East Ambulatory Surgical Center       Fluor Needle/Cath Spine/Paraspina…    1/29/2020   77003      $141.00
1048822-02    E.S.          Health East Ambulatory Surgical Center       Probe, Percutaneous Lumbar Discec…    1/29/2020   C2614      $920.00
1049363-02    M.S.                        AMSC LLC                       Arthroscopy Shoulder Surg Synovec…    1/31/2020   29820     $1,513.12
1049363-02    M.S.                        AMSC LLC                       Arthroscopy Shoulder Surg Debride…    1/31/2020   29822     $1,513.12
1049363-02    M.S.                        AMSC LLC                      Arthroscopy Shoulder W/Coracoacrm… 1/31/2020       29826     $1,513.12
1049363-02    M.S.                        AMSC LLC                       Arthroscopy Shoulder Rotator Cuff…    1/31/2020   29827     $5,677.78
1049363-02    M.S.                        AMSC LLC                      Anchor/Screw For Opposing Bone-To… 1/31/2020       C1713     $1,000.00
1049363-02    M.S.             Fifth Avenue Surgery Center LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    11/7/2022   62323      $976.38
1049374-01    M.K.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     4/3/2019   62321      $976.38
1049374-01    M.K.             Island Ambulatory Surgery Center                   Epidurograpy Rs&I…            4/3/2019   72275      $572.52
1049374-01    M.K.             Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/6/2019   62323      $976.38
1049374-01    M.K.             Island Ambulatory Surgery Center                   Epidurograpy Rs&I…            5/6/2019   72275      $572.52
1049374-01    M.K.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy Knee Synovectomy 2/>C… 9/23/2019       29876     $1,472.45
1049374-01    M.K.       Surgicore LLC d/b/a Surgicore Surgical Center Arthrs Kne Surg W/Meniscectomy Me… 9/23/2019        29881     $3,026.24
1049374-01    M.K.       Surgicore LLC d/b/a Surgicore Surgical Center  Arthroscopy Knee W/Lysis Adhesion… 9/23/2019       29884     $1,472.45
1049374-01    M.K.       Surgicore LLC d/b/a Surgicore Surgical Center      Unlisted Procedure Arthroscopy…    9/23/2019   29999     $1,472.45
1049374-01    M.K.       Surgicore LLC d/b/a Surgicore Surgical Center      Unlisted Procedure Arthroscopy…    9/23/2019   29999     $1,472.45
1050478-03    M.M.              Healthplus Surgery Center LLC            Manipulation Spine Requiring Anes…    3/20/2019   22505     $2,074.56
1050478-03    M.M.              Healthplus Surgery Center LLC           Clsd Tx Pelvic Ring Fx W/Manipula…     3/20/2019   27198     $1,037.28
1050478-03    M.M.              Healthplus Surgery Center LLC            Manipulation Hip Joint General An…    3/20/2019   27275     $2,074.56
1050478-03    M.M.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 5/17/2019       29875     $1,472.45
1050478-03    M.M.          All City Family Healthcare Center, Inc.      Arthrs Knee Abrasion Arthrp/Mlt D…    5/17/2019   29879     $1,472.45
1050478-03    M.M.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 5/17/2019        29880     $3,026.24
1049661-01    M.O.             Island Ambulatory Surgery Center        Perc Lamino-/Laminectomy Image Gu… 8/24/2020        0274T     $5,292.93
1049661-01    M.O.             Island Ambulatory Surgery Center           Perq Intrdscl Electrothrm Annulop…   8/24/2020   22526     $2,646.47
1049661-01    M.O.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec… 10/19/2020     29821     $5,677.77
1049661-01    M.O.             Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…   10/19/2020   29823     $1,472.45
1049661-01    M.O.             Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …  10/19/2020   29825     $1,472.45
1049661-01    M.O.             Fifth Avenue Surgery Center LLC              Unlisted Procedure Arthroscopy…   10/19/2020   29999     $1,472.45
1049661-01    M.O.             Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …  10/19/2020   64415      $979.78
1049661-01    M.O.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img … 10/19/2020      76942      $341.96
1049661-01    M.O.             Fifth Avenue Surgery Center LLC              Surgical Supply; Miscellaneous…   10/19/2020   A4649       $50.00
1049904-01    C.B.                        SCOB LLC                        Perq Intrdscl Electrothrm Annulop…   7/20/2020   22526     $5,723.72
1049904-01    C.B.                        SCOB LLC                      Dcmprn Perq Nucleus Pulposus 1/> …     7/20/2020   62287     $5,292.93
1049904-01    C.B.                        SCOB LLC                       Probe, Percutaneous Lumbar Discec…    7/20/2020   C2614     $2,000.00
1049904-01    C.B.            Rockaways ASC Development LLC             Discectomy Ant Dcmprn Cord Cervic… 11/9/2020       63075     $5,292.93
1049904-01    C.B.            Rockaways ASC Development LLC                 Surgical Supply; Miscellaneous…    11/9/2020   A4649       $50.00
1048993-01    J.R.                        AMSC LLC                         Injection Single/Mlt Trigger Poin…  3/24/2019   20553      $277.37
1048993-01    J.R.                        AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/24/2019   62323      $976.38
1048993-01    J.R.                        AMSC LLC                                Epidurograpy Rs&I…           3/24/2019   72275      $572.52
1048993-01    J.R.                        AMSC LLC                      Us Guidance Needle Placement Img …     3/24/2019   76942      $423.32
1048993-01    J.R.                        AMSC LLC                         Injection Single/Mlt Trigger Poin…  5/19/2019   20553      $277.37
1048993-01    J.R.                        AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Crv…   5/19/2019   64490      $976.38
1048993-01    J.R.                        AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Crv…   5/19/2019   64491      $488.19
1048993-01    J.R.                        AMSC LLC                      Us Guidance Needle Placement Img …     5/19/2019   76942      $423.32
1048993-01    J.R.            Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…  6/29/2019   20552      $277.37
1048993-01    J.R.            Rockaways ASC Development LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…   6/29/2019   64490      $976.38
1048993-01    J.R.            Rockaways ASC Development LLC             Us Guidance Needle Placement Img …     6/29/2019   76942      $423.32
1049541-02    J.A.                       EMUSC LLC                       Anesthesia Perq Image Guided Spin…    8/19/2019    1936      $135.05
1049541-02    J.A.                       EMUSC LLC                      Dcmprn Perq Nucleus Pulposus 1/> …     8/19/2019   62287     $5,827.05
1049541-02    J.A.                       EMUSC LLC                       Probe, Percutaneous Lumbar Discec…    8/19/2019   C2614      $600.00
1049541-02    J.A.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 11/8/2019       29875     $1,472.45
1049541-02    J.A.          All City Family Healthcare Center, Inc.      Arthrs Knee Abrasion Arthrp/Mlt D…    11/8/2019   29879     $1,472.45
1049541-02    J.A.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 11/8/2019        29880     $3,026.24
1049541-02    J.A.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical, For …   11/8/2019   G0289     $1,472.45

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                                                          1943
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1050355-01    B.F.             East Tremont Medical Center                  Anes Arthrs Humeral H/N Strnclav …   3/28/2019    1630     $1,089.00
1050355-01    B.F.             East Tremont Medical Center                  Arthrocentesis Aspir&/Inj Major J…   3/28/2019   20610      $236.70
1050355-01    B.F.             East Tremont Medical Center                Arthroscopy Shoulder Dx W/Wo Syno… 3/28/2019       29805     $3,500.00
1050355-01    B.F.             East Tremont Medical Center                  Arthroscopy Shoulder Surgical Rem…   3/28/2019   29819     $1,900.00
1050355-01    B.F.             East Tremont Medical Center                 Arthroscopy Shoulder Surg Synovec…    3/28/2019   29821     $1,900.00
1050355-01    B.F.             East Tremont Medical Center                  Arthroscopy Shoulder Surg Debride…   3/28/2019   29823     $1,900.00
1050355-01    B.F.             East Tremont Medical Center                  Arthroscopy Shoulder Ahesiolysis …   3/28/2019   29825     $1,900.00
1050355-01    B.F.             East Tremont Medical Center                 Arthroscopy Shoulder W/Coracoacrm… 3/28/2019      29826     $1,900.00
1050355-01    B.F.             East Tremont Medical Center                  Single Nerve Block Injection Arm …   3/28/2019   64415      $500.00
1050355-01    B.F.              Hudson Regional Hospital                      Radiologic Exam Chest 2 Views…     5/14/2019   71046      $541.40
1050355-01    B.F.              Hudson Regional Hospital                      Comprehensive Metabolic Panel…     5/14/2019   80053      $150.00
1050355-01    B.F.              Hudson Regional Hospital                   Drug Tst Prsmv Instrmnt Chem Anal…    5/14/2019   80307      $359.15
1050355-01    B.F.              Hudson Regional Hospital                   Drug Screen Quant Amphetamines 1 … 5/14/2019      80324      $269.37
1050355-01    B.F.              Hudson Regional Hospital                     Antidepressants Serotonergic Clas…  5/14/2019   80332      $269.37
1050355-01    B.F.              Hudson Regional Hospital                     Antidepressants Tricyclic Other C…  5/14/2019   80335      $270.31
1050355-01    B.F.              Hudson Regional Hospital                       Drug Screening Barbiturates…      5/14/2019   80345      $269.37
1050355-01    B.F.              Hudson Regional Hospital                    Drug Screening Benzodiazepines 1-…   5/14/2019   80346      $269.37
1050355-01    B.F.              Hudson Regional Hospital                      Drug Screening Buprenorphine…      5/14/2019   80348      $269.37
1050355-01    B.F.              Hudson Regional Hospital                         Drug Screening Fentanyl…        5/14/2019   80354      $269.37
1050355-01    B.F.              Hudson Regional Hospital                   Drug Screening Gabapentin Non-Blo…    5/14/2019   80355      $269.37
1050355-01    B.F.              Hudson Regional Hospital                    Drug Screening Heroin Metabolite…    5/14/2019   80356      $269.37
1050355-01    B.F.              Hudson Regional Hospital                        Drug Screening Methadone…        5/14/2019   80358      $269.37
1050355-01    B.F.              Hudson Regional Hospital                   Drug Screening Methylenedioxyamph… 5/14/2019      80359      $269.37
1050355-01    B.F.              Hudson Regional Hospital                     Drug Screening Methylphenidate…     5/14/2019   80360      $269.37
1050355-01    B.F.              Hudson Regional Hospital                    Drug Screening Opiates 1 Or More…    5/14/2019   80361      $538.74
1050355-01    B.F.              Hudson Regional Hospital                   Drug Screening Opioids And Opiate…    5/14/2019   80362      $537.74
1050355-01    B.F.              Hudson Regional Hospital                        Drug Screening Oxycodone…        5/14/2019   80365      $269.37
1050355-01    B.F.              Hudson Regional Hospital                        Drug Screening Pregabalin…       5/14/2019   80366      $269.37
1050355-01    B.F.              Hudson Regional Hospital                    Drug Screening Sedative Hypnotics…   5/14/2019   80368      $269.37
1050355-01    B.F.              Hudson Regional Hospital                    Drug Screening Skeletal Muscle Re…   5/14/2019   80369      $269.37
1050355-01    B.F.              Hudson Regional Hospital                        Drug Screening Tapentadol…       5/14/2019   80372      $269.37
1050355-01    B.F.              Hudson Regional Hospital                         Drug Screening Tramadol…        5/14/2019   80373      $269.37
1050355-01    B.F.              Hudson Regional Hospital                    Urnls Dip Stick/Tablet Reagent Au…   5/14/2019   81001      $134.00
1050355-01    B.F.              Hudson Regional Hospital                  Blood Count Complete Auto&Auto Di… 5/14/2019       85025      $147.00
1050355-01    B.F.              Hudson Regional Hospital                            Prothrombin Time…            5/14/2019   85610      $143.00
1050355-01    B.F.              Hudson Regional Hospital                    Thromboplastin Time Partial Plasm…   5/14/2019   85730      $147.00
1050355-01    B.F.              Hudson Regional Hospital                   Antibody Screen Rbc Each Serum Te…    5/14/2019   86850      $105.80
1050355-01    B.F.              Hudson Regional Hospital                       Blood Typing Serologic Abo…       5/14/2019   86900       $56.95
1050355-01    B.F.              Hudson Regional Hospital                      Blood Typing Serologic Rh (D)…     5/14/2019   86901       $56.95
1050355-01    B.F.              Hudson Regional Hospital                   Ecg Routine Ecg W/Least 12 Lds Tr…    5/14/2019   93005      $323.70
1050355-01    B.F.              Hudson Regional Hospital                 Echo Tthrc R-T 2D W/Wom-Mode Comp… 5/16/2019        93306     $5,074.90
1050355-01    B.F.              Hudson Regional Hospital                 Echo Tthrc R-T 2D W/Wo M-Mode Res… 5/16/2019        93351     $6,582.50
1050355-01    B.F.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Diagnostic W/Wo … 5/23/2019      29870     $1,472.45
1050355-01    B.F.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C… 5/23/2019      29876     $1,472.45
1050355-01    B.F.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 5/23/2019       29880     $3,026.24
1050355-01    B.F.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   5/23/2019   64415      $979.78
1050355-01    B.F.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    5/23/2019   76942      $341.96
1050355-01    B.F.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For …  5/23/2019   g0289     $1,472.45
1048269-01    J.R.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/29/2019   62323      $976.38
1048269-01    J.R.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           4/29/2019   72275      $572.52
1048269-01    J.R.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…     5/3/2019   29821     $1,472.45
1048269-01    J.R.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    5/3/2019   29823     $3,026.24
1048269-01    J.R.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…     5/3/2019   29826     $1,472.45
1048269-01    J.R.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    5/3/2019   64415      $979.78
1048269-01    J.R.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     5/3/2019   76942      $341.96
1048269-01    J.R.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/22/2019   62323      $976.38
1048269-01    J.R.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           5/22/2019   72275      $572.52
1048269-01    J.R.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/12/2019   62321      $976.38
1048269-01    J.R.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           6/12/2019   72275      $572.52
1048269-01    J.R.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    8/7/2019   62321      $976.38
1048269-01    J.R.          Island Ambulatory Surgery Center              Perc Lamino-/Laminectomy Image Gu… 10/28/2019      0274T     $5,292.93
1048269-01    J.R.          Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…  10/28/2019   22526     $2,646.47
1048269-01    J.R.          Island Ambulatory Surgery Center                Perq Intrdscl Electrothrm Annulop…   12/2/2019   22526     $2,646.47
1048269-01    J.R.          Island Ambulatory Surgery Center               Dcmprn Perq Nucleus Pulposus 1/> …    12/2/2019   62287     $5,292.93
1048989-02    A.M.          Fifth Avenue Surgery Center LLC                 Arthrocentesis Aspir&/Inj Major J…   2/19/2019   20610      $236.69
1048989-02    A.M.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…    2/19/2019   29821     $1,472.45
1048989-02    A.M.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   2/19/2019   29823     $3,026.24
1048989-02    A.M.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …   2/19/2019   29825     $1,472.45

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                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1048989-02    A.M.             Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …   2/19/2019   64415      $829.30
1048989-02    A.M.             Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …    2/19/2019   76942      $341.96
1048989-02    A.M.                       EMUSC LLC                       Office Outpatient New 45 Minutes…     5/8/2019   99204      $203.76
1048989-02    A.M.                       EMUSC LLC                      Perc Lamino-/Laminectomy Indir Im…    5/22/2019   0275T     $5,827.05
1048989-02    A.M.                       EMUSC LLC                       Anesthesia Perq Image Guided Spin…   5/22/2019    1936      $135.05
1048989-02    A.M.                       EMUSC LLC                       Anesthesia Cervical Spine & Cord …    9/4/2019     600      $270.10
1048989-02    A.M.                       EMUSC LLC                      Discectomy Ant Dcmprn Cord Cervic…     9/4/2019   63075     $5,827.05
1048989-02    A.M.                       EMUSC LLC                        Prosthetic Implant, Not Otherwise…   9/4/2019   L8699      $600.00
1049064-03    S.K.            New York Surgery Center of Queens          Arthroscopy Shoulder Surgical Cap…   4/26/2019   29806     $5,677.77
1049064-03    S.K.            New York Surgery Center of Queens         Arthroscopy Shoulder Surg Synovec…    4/26/2019   29821     $1,472.45
1049064-03    S.K.            New York Surgery Center of Queens          Arthroscopy Shoulder Surg Debride…   4/26/2019   29823     $1,472.45
1049064-03    S.K.            New York Surgery Center of Queens          Arthroscopy Shoulder Ahesiolysis …   4/26/2019   29825     $1,472.45
1049064-03    S.K.            New York Surgery Center of Queens         Arthroscopy Shoulder W/Coracoacrm… 4/26/2019      29826     $1,472.45
1047858-02    E.B.             Fifth Avenue Surgery Center LLC          Njx Anes&/Strd W/Img Tfrml Edrl L… 6/14/2019      64483      $976.38
1047858-02    E.B.             Fifth Avenue Surgery Center LLC          Njx Anes&/Strd W/Img Tfrml Edrl L… 6/14/2019      64483      $447.52
1047858-02    E.B.          Health East Ambulatory Surgical Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…   8/15/2019   64490     $1,518.48
1047858-02    E.B.          Health East Ambulatory Surgical Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…   8/15/2019   64491      $533.92
1047858-02    E.B.          Health East Ambulatory Surgical Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…   8/15/2019   64492      $533.92
1047858-02    E.B.          Health East Ambulatory Surgical Center       Njx Dx/Ther Agt Pvrt Facet Jt Crv…   8/15/2019   64492      $533.92
1047858-02    E.B.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Crv…   12/5/2019   64490      $976.38
1047858-02    E.B.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Crv…   12/5/2019   64491      $447.52
1047858-02    E.B.       Surgicore LLC d/b/a Surgicore Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Crv…   12/5/2019   64492      $447.52
1047858-02    E.B.          Health East Ambulatory Surgical Center       Arthrocentesis Aspir&/Inj Major J…   1/17/2020   20610      $157.95
1047858-02    E.B.          Health East Ambulatory Surgical Center        Dstr Nrolytc Agnt Parverteb Fct S…  1/17/2020   64633     $1,012.32
1047858-02    E.B.          Health East Ambulatory Surgical Center       Dstr Nrolytc Agnt Parverteb Fct A…   1/17/2020   64634      $355.95
1047858-02    E.B.          Health East Ambulatory Surgical Center       Dstr Nrolytc Agnt Parverteb Fct A…   1/17/2020   64634      $355.95
1047858-02    E.B.          Health East Ambulatory Surgical Center       Dstr Nrolytc Agnt Parverteb Fct A…   1/17/2020   64634      $355.95
1047858-02    E.B.          Health East Ambulatory Surgical Center       Fluor Needle/Cath Spine/Paraspina…   1/17/2020   77003      $141.00
1047640-02    C.W.               Manalapan Surgery Center Inc            Manipulation Spine Requiring Anes…   3/25/2019   22505      $748.08
1047640-02    C.W.               Manalapan Surgery Center Inc           Manj W/Anes Shoulder Joint W/Fixa…    3/25/2019   23700     $1,577.52
1047640-02    C.W.               Manalapan Surgery Center Inc            Manipulation Spine Requiring Anes…   3/28/2019   22505      $748.08
1047640-02    C.W.               Manalapan Surgery Center Inc           Manj W/Anes Shoulder Joint W/Fixa…    3/28/2019   23700     $1,577.52
1047640-02    C.W.                        AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   4/17/2019   62321      $976.38
1047640-02    C.W.                        AMSC LLC                               Epidurograpy Rs&I…           4/17/2019   72275      $572.52
1048706-02    D.V.                Bergenfield Surgical Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  11/21/2019   62321     $1,012.32
1048706-02    D.V.                Bergenfield Surgical Center                    Epidurograpy Rs&I…          11/21/2019   72275      $572.52
1048706-02    D.V.                Bergenfield Surgical Center                       Surgical Trays…          11/21/2019   A4550      $750.00
1048706-02    D.V.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy Limi… 12/2/2019      29875     $1,472.45
1048706-02    D.V.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La… 12/2/2019       29880     $3,026.24
1048706-02    D.V.               Surgicore of Jersey City LLC           Arthroscopy Knee W/Lysis Adhesion… 12/2/2019      29884     $1,472.45
1048706-02    D.V.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…    12/2/2019   29999     $1,472.45
1048706-02    D.V.               Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …  12/2/2019   G0289     $1,472.45
1048706-02    D.V.            Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/19/2020   64490      $976.38
1048706-02    D.V.            Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/19/2020   64490      $488.19
1048706-02    D.V.            Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/19/2020   64491      $488.19
1048706-02    D.V.            Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/19/2020   64491      $488.19
1048706-02    D.V.            Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/19/2020   64492      $488.19
1048706-02    D.V.            Rockaways ASC Development LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/19/2020   64492      $488.19
1048706-02    D.V.     NYEEQASC LLC d/b/a North Queens Surgical Center    Dstr Nrolytc Agnt Parverteb Fct S…   8/3/2020   64633      $976.38
1048706-02    D.V.     NYEEQASC LLC d/b/a North Queens Surgical Center   Dstr Nrolytc Agnt Parverteb Fct A…    8/3/2020   64634      $447.52
1048706-02    D.V.     NYEEQASC LLC d/b/a North Queens Surgical Center   Dstr Nrolytc Agnt Parverteb Fct A…    8/3/2020   64634      $447.52
1048706-02    D.V.     NYEEQASC LLC d/b/a North Queens Surgical Center     Surgical Supply; Miscellaneous…     8/3/2020   A4649       $50.00
1048706-02    D.V.          Health East Ambulatory Surgical Center       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/19/2021   62321     $1,012.32
1048706-02    D.V.          Health East Ambulatory Surgical Center               Epidurograpy Rs&I…           1/19/2021   72275      $442.29
1048772-02    E.V.               Dynamic Surgery Center LLC               Injection Single/Mlt Trigger Poin…  3/12/2019   20553      $107.64
1048772-02    E.V.               Dynamic Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 3/12/2019      64483     $1,518.48
1048772-02    E.V.               Dynamic Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 3/12/2019      64484      $776.84
1048772-02    E.V.               Dynamic Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 3/12/2019      64484      $776.84
1048772-02    E.V.              Healthplus Surgery Center LLC             Injection Single/Mlt Trigger Poin…  3/20/2019   20553      $107.64
1048772-02    E.V.              Healthplus Surgery Center LLC           Njx Anes&/Strd W/Img Tfrml Edrl L… 3/20/2019      64483     $1,518.48
1048772-02    E.V.              Healthplus Surgery Center LLC           Njx Anes&/Strd W/Img Tfrml Edrl L… 3/20/2019      64484      $776.84
1048772-02    E.V.              Healthplus Surgery Center LLC           Njx Anes&/Strd W/Img Tfrml Edrl L… 3/20/2019      64484      $776.84
1048772-02    E.V.               Dynamic Surgery Center LLC               Injection Single/Mlt Trigger Poin…  3/26/2019   20553      $107.64
1048772-02    E.V.               Dynamic Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 3/26/2019      64483     $1,518.48
1048772-02    E.V.               Dynamic Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 3/26/2019      64484      $776.84
1048772-02    E.V.               Dynamic Surgery Center LLC             Njx Anes&/Strd W/Img Tfrml Edrl L… 3/26/2019      64484      $776.84
1048772-02    E.V.          All City Family Healthcare Center, Inc.     Manipulation Knee Joint Under Gen…    4/12/2019   27570      $748.08
1048772-02    E.V.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy 2/>C… 4/12/2019      29876     $3,026.24

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                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1048772-02    E.V.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…    4/12/2019   29999     $1,472.45
1048772-02    E.V.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…     5/10/2019   23700      $748.08
1048772-02    E.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    5/10/2019   29820     $2,798.20
1048772-02    E.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    5/10/2019   29822     $1,472.45
1048772-02    E.V.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …   5/10/2019   29825     $3,026.24
1048772-02    E.V.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 5/10/2019       29826     $1,472.45
1048772-02    E.V.        All City Family Healthcare Center, Inc.              Unlisted Procedure Arthroscopy…    5/10/2019   29999     $1,472.45
1048772-02    E.V.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …   5/10/2019   64415      $979.78
1048772-02    E.V.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …    5/10/2019   76942      $341.96
1047071-01    A.Y.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    3/27/2019   29821     $3,026.24
1047071-01    A.Y.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    3/27/2019   29823     $1,472.45
1047071-01    A.Y.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 3/27/2019       29826     $1,472.45
1047071-01    A.Y.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …   3/27/2019   64415      $979.78
1047071-01    A.Y.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …    3/27/2019   76942      $341.96
1047071-01    A.Y.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/14/2019   62321      $976.38
1047071-01    A.Y.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…           6/14/2019   72275      $572.52
1047675-03    F.K.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…    3/4/2019   22526     $2,320.90
1047675-03    F.K.        All City Family Healthcare Center, Inc.            Injection Px Discogrphy Ea Lvl Ce…    3/4/2019   62291      $962.54
1047675-03    F.K.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic…      3/4/2019   63075     $5,827.43
1047675-03    F.K.        All City Family Healthcare Center, Inc.           Diskograpy Cervical/Thoracic Rs&I…     3/4/2019   72285      $572.53
1047675-03    F.K.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/23/2022   62321      $976.38
1048732-02    M.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/11/2019   64493      $447.52
1048732-02    M.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/11/2019   64493      $976.38
1048732-02    M.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/11/2019   64494      $447.52
1048732-02    M.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/11/2019   64494      $447.52
1048732-02    M.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/11/2019   64495      $447.52
1048732-02    M.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/11/2019   64495      $447.52
1048732-02    M.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/24/2019   64493      $447.52
1048732-02    M.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/24/2019   64493      $976.38
1048732-02    M.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/24/2019   64494      $447.52
1048732-02    M.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/24/2019   64494      $447.52
1048732-02    M.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/24/2019   64495      $447.52
1048732-02    M.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/24/2019   64495      $447.52
1048732-02    M.P.          Fifth Avenue Surgery Center LLC                 Tenotomy Shoulder Area 1 Tendon…       8/5/2019   23405     $3,760.88
1048732-02    M.P.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…     8/5/2019   29821     $1,472.45
1048732-02    M.P.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…     8/5/2019   29823     $1,472.45
1048732-02    M.P.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Distal Clavi…    8/5/2019   29824     $1,472.45
1048732-02    M.P.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …    8/5/2019   29825     $1,472.45
1048732-02    M.P.          Fifth Avenue Surgery Center LLC                    Unlisted Procedure Arthroscopy…     8/5/2019   29999     $1,472.45
1048732-02    M.P.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …    8/5/2019   64415      $829.30
1048732-02    M.P.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …     8/5/2019   76942      $341.96
1049264-01    A.Q.                     AMSC LLC                             Manipulation Spine Requiring Anes…    2/11/2019   22505     $1,577.52
1049264-01    A.Q.                     AMSC LLC                            Manj W/Anes Shoulder Joint W/Fixa…     2/11/2019   23700     $1,497.10
1049264-01    A.Q.                     AMSC LLC                             Clsd Tx Pelvic Ring Fx W/Manipula…    2/11/2019   27198      $893.24
1049264-01    A.Q.                     AMSC LLC                             Manipulation Hip Joint General An…    2/11/2019   27275     $1,577.52
1049264-01    A.Q.                     AMSC LLC                             Manipulation Hip Joint General An…    2/11/2019   27275     $1,577.52
1049264-01    A.Q.                     AMSC LLC                             Manipulation Spine Requiring Anes…    2/23/2019   22505     $1,577.52
1049264-01    A.Q.                     AMSC LLC                            Manj W/Anes Shoulder Joint W/Fixa…     2/23/2019   23700     $1,497.10
1049264-01    A.Q.                     AMSC LLC                             Clsd Tx Pelvic Ring Fx W/Manipula…    2/23/2019   27198      $893.24
1049264-01    A.Q.                     AMSC LLC                             Manipulation Hip Joint General An…    2/23/2019   27275     $1,577.52
1049264-01    A.Q.                     AMSC LLC                             Manipulation Hip Joint General An…    2/23/2019   27275     $1,577.52
1049264-01    A.Q.                     AMSC LLC                             Manipulation Spine Requiring Anes…     5/3/2019   22505      $788.76
1049264-01    A.Q.                     AMSC LLC                            Manj W/Anes Shoulder Joint W/Fixa…      5/3/2019   23700      $748.55
1049264-01    A.Q.                     AMSC LLC                             Clsd Tx Pelvic Ring Fx W/Manipula…     5/3/2019   27198      $446.62
1049264-01    A.Q.                     AMSC LLC                             Manipulation Hip Joint General An…     5/3/2019   27275     $3,155.04
1049264-01    A.Q.                     AMSC LLC                               Injection Single/Mlt Trigger Poin…  5/29/2019   20553      $277.37
1049264-01    A.Q.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/29/2019   62323      $976.38
1049264-01    A.Q.                     AMSC LLC                                      Epidurograpy Rs&I…           5/29/2019   72275      $572.52
1049264-01    A.Q.                     AMSC LLC                             Us Guidance Needle Placement Img …    5/29/2019   76942      $423.32
1049264-01    A.Q.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…  6/12/2019   20552      $277.37
1049264-01    A.Q.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/12/2019   62323      $976.38
1049264-01    A.Q.         Rockaways ASC Development LLC                   Computed Tomographic Angiography,… 6/12/2019       72175      $572.52
1049264-01    A.Q.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …    6/12/2019   76942      $211.66
1049264-01    A.Q.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…  6/26/2019   20552      $277.37
1049264-01    A.Q.         Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/26/2019   64493      $976.38
1049264-01    A.Q.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …    6/26/2019   76942      $423.32
1049264-01    A.Q.         Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/17/2019   64493      $976.38
1049264-01    A.Q.              CHC Surgical Center LLC                      Perq Intrdscl Electrothrm Annulop…  11/15/2019   22526     $2,605.78

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                                                           1946
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1049264-01    A.Q.                CHC Surgical Center LLC                Perq Intrdscl Electrothrm Annulop…  11/15/2019   22527     $2,605.78
1049264-01    A.Q.                CHC Surgical Center LLC               Dcmprn Perq Nucleus Pulposus 1/> … 11/15/2019     62287     $5,292.93
1047943-01    F.D.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/27/2019   62323      $976.38
1047943-01    F.D.          All City Family Healthcare Center, Inc.              Epidurograpy Rs&I…           6/27/2019   72275      $572.53
1047943-01    F.D.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/29/2019   62323      $976.38
1047943-01    F.D.          All City Family Healthcare Center, Inc.              Epidurograpy Rs&I…          10/29/2019   72275      $572.53
1047943-01    F.D.            Island Ambulatory Surgery Center           Perq Intrdscl Electrothrm Annulop…  12/12/2019   22526     $5,292.93
1047943-01    F.D.            Island Ambulatory Surgery Center          Dcmprn Perq Nucleus Pulposus 1/> … 12/12/2019     62287     $2,646.47
1047943-01    F.D.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/9/2020   64493     $1,952.76
1047943-01    F.D.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/9/2020   64494      $976.38
1047943-01    F.D.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/9/2020   64495      $976.38
1047943-01    F.D.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/30/2020   64493     $1,952.76
1047943-01    F.D.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/30/2020   64494      $976.38
1047943-01    F.D.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/30/2020   64494      $976.38
1048282-02    M.S.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy 2/>C… 2/11/2019      29876     $1,472.45
1048282-02    M.S.            Fifth Avenue Surgery Center LLC          Arthrs Kne Surg W/Meniscectomy Me… 2/11/2019       29881     $3,026.24
1048282-02    M.S.            Fifth Avenue Surgery Center LLC            Injection Anesthetic Agent Femora…   2/11/2019   64447      $829.30
1048282-02    M.S.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …    2/11/2019   76942      $341.96
1048282-02    M.S.            Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical, For …  2/11/2019   G0289     $1,472.45
1048282-02    M.S.               Dynamic Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/3/2019   62321     $1,012.32
1048282-02    M.S.               Dynamic Surgery Center LLC                      Epidurograpy Rs&I…            3/3/2019   72275      $572.81
1048282-02    M.S.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/19/2019   64493     $1,458.32
1048282-02    M.S.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/19/2019   64494     $1,342.62
1048282-02    M.S.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/19/2019   64495     $1,342.62
1048282-02    M.S.              Healthplus Surgery Center LLC            Manipulation Spine Requiring Anes…   5/22/2019   22505     $1,611.85
1048282-02    M.S.              Healthplus Surgery Center LLC           Manj W/Anes Shoulder Joint W/Fixa…    5/22/2019   23700      $748.08
1048282-02    M.S.              Healthplus Surgery Center LLC           Clsd Tx Pelvic Ring Fx W/Manipula…    5/22/2019   27198      $405.94
1048282-02    M.S.               Dynamic Surgery Center LLC              Manipulation Spine Requiring Anes…   5/25/2019   22505     $1,611.85
1048282-02    M.S.               Dynamic Surgery Center LLC             Manj W/Anes Shoulder Joint W/Fixa…    5/25/2019   23700      $748.08
1048282-02    M.S.               Dynamic Surgery Center LLC             Clsd Tx Pelvic Ring Fx W/Manipula…    5/25/2019   27198      $405.94
1048282-02    M.S.               Dynamic Surgery Center LLC              Manipulation Spine Requiring Anes…   5/29/2019   22505     $1,611.85
1048282-02    M.S.               Dynamic Surgery Center LLC             Manj W/Anes Shoulder Joint W/Fixa…    5/29/2019   23700      $748.08
1048282-02    M.S.               Dynamic Surgery Center LLC             Clsd Tx Pelvic Ring Fx W/Manipula…    5/29/2019   27198      $405.94
1048282-02    M.S.                       SCOB LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/7/2019   64493     $1,458.32
1048282-02    M.S.                       SCOB LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/7/2019   64494     $1,342.62
1048282-02    M.S.                       SCOB LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/7/2019   64495     $1,342.62
1048282-02    M.S.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/21/2019   64493     $1,014.11
1048282-02    M.S.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/21/2019   64494      $898.41
1048282-02    M.S.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/21/2019   64495      $898.41
1048282-02    M.S.                       SCOB LLC                         Dstr Nrolytc Agnt Parverteb Fct S…   7/3/2019   64635     $1,014.11
1048282-02    M.S.                       SCOB LLC                        Dstr Nrolytc Agnt Parverteb Fct A…    7/3/2019   64636      $898.41
1048282-02    M.S.                       SCOB LLC                        Dstr Nrolytc Agnt Parverteb Fct A…    7/3/2019   64636      $898.41
1048282-02    M.S.              Healthplus Surgery Center LLC           Arthroscopy Knee Synovectomy 2/>C… 7/29/2019      29876     $3,060.57
1048282-02    M.S.              Healthplus Surgery Center LLC           Arthrs Knee Debridement/Shaving A…    7/29/2019   29877     $2,944.87
1048282-02    M.S.              Healthplus Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 7/29/2019       29880     $2,944.87
1047052-03    D.J.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Pltlt Plasma W/Img Harvest/Pr…    3/1/2019   0232T      $437.96
1047052-03    D.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy 2/>C…      3/1/2019   29876     $1,472.45
1047052-03    D.J.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 3/1/2019        29880     $3,026.24
1047052-03    D.J.     NYEEQASC LLC d/b/a North Queens Surgical Center     Unlisted Procedure Arthroscopy…     3/1/2019   29999     $1,472.45
1047052-03    D.J.           New York Surgery Center of Queens            Injection Single/Mlt Trigger Poin…   4/1/2019   20553      $236.69
1047052-03    D.J.           New York Surgery Center of Queens           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/1/2019   62321      $976.38
1047052-03    D.J.           New York Surgery Center of Queens                   Epidurograpy Rs&I…            4/1/2019   72275      $572.53
1047052-03    D.J.           New York Surgery Center of Queens            Injection Single/Mlt Trigger Poin…   4/8/2019   20553      $236.69
1047052-03    D.J.           New York Surgery Center of Queens           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/8/2019   62323      $976.38
1047052-03    D.J.           New York Surgery Center of Queens                   Epidurograpy Rs&I…            4/8/2019   72275      $572.53
1047396-01    J.Y.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…  3/20/2019   20553      $554.74
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/20/2019   64493      $976.38
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/20/2019   64493      $976.38
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/20/2019   64494      $976.38
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/20/2019   64494      $976.38
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/20/2019   64495      $976.38
1047396-01    J.Y.                       AMSC LLC                                Epidurograpy Rs&I…           3/20/2019   72275      $572.52
1047396-01    J.Y.                       AMSC LLC                       Us Guidance Needle Placement Img …    3/20/2019   76942      $423.92
1047396-01    J.Y.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…  4/10/2019   20553      $277.37
1047396-01    J.Y.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…  4/10/2019   20553      $277.37
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/10/2019   64493      $488.19
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/10/2019   64493      $488.19
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/10/2019   64493      $976.38

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                                                           1947
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/10/2019   64493      $976.38
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/10/2019   64494      $488.19
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/10/2019   64494      $488.19
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/10/2019   64494      $488.19
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/10/2019   64494      $488.19
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/10/2019   64495      $488.19
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    4/10/2019   64495      $488.19
1047396-01    J.Y.                       AMSC LLC                       Us Guidance Needle Placement Img …     4/10/2019   76942      $423.32
1047396-01    J.Y.                       AMSC LLC                       Us Guidance Needle Placement Img …     4/10/2019   76942      $423.32
1047396-01    J.Y.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…    5/5/2019   20553      $277.37
1047396-01    J.Y.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/5/2019   62323      $976.38
1047396-01    J.Y.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…             5/5/2019   72275      $572.52
1047396-01    J.Y.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …      5/5/2019   76942      $211.66
1047396-01    J.Y.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…   5/15/2019   20553      $277.37
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/15/2019   64493      $488.19
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/15/2019   64493      $976.38
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/15/2019   64494      $488.19
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/15/2019   64494      $488.19
1047396-01    J.Y.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/15/2019   64495      $976.38
1047396-01    J.Y.                       AMSC LLC                       Us Guidance Needle Placement Img …     5/15/2019   76942      $423.32
1047396-01    J.Y.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…   6/26/2019   20552      $277.37
1047396-01    J.Y.           Rockaways ASC Development LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…    6/26/2019   64490      $976.38
1047396-01    J.Y.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     6/26/2019   76942      $423.32
1047396-01    J.Y.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/14/2019   62323      $976.38
1047396-01    J.Y.           Rockaways ASC Development LLC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…    7/14/2019   64490      $488.19
1047396-01    J.Y.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…            7/14/2019   72275      $572.52
1047571-01    A.D.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi…      4/5/2019   29875     $1,472.45
1047571-01    A.D.          All City Family Healthcare Center, Inc.      Arthrs Knee Abrasion Arthrp/Mlt D…     4/5/2019   29879     $1,472.45
1047571-01    A.D.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La…       4/5/2019   29880     $3,026.24
1047571-01    A.D.          All City Family Healthcare Center, Inc.      Injection Anesthetic Agent Femora…     4/5/2019   64447      $829.30
1047571-01    A.D.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …      4/5/2019   76942      $341.96
1047571-01    A.D.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/20/2019   62323      $976.38
1047571-01    A.D.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…            5/20/2019   72275      $572.52
1047571-02    W.C.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/22/2019   62323      $976.38
1047571-02    W.C.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…            5/22/2019   72275      $572.52
1047571-02    W.C.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…     5/24/2019   29821     $1,472.45
1047571-02    W.C.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…    5/24/2019   29823     $3,026.24
1047571-02    W.C.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm…     5/24/2019   29826     $1,472.45
1047571-02    W.C.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …    5/24/2019   64415      $979.78
1047571-02    W.C.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     5/24/2019   76942      $341.96
1048763-01    R.E.                       SCOB LLC                         Injection Single/Mlt Trigger Poin…   7/31/2019   20553      $473.39
1048763-01    R.E.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/31/2019   62321      $863.63
1048763-01    R.E.              Manalapan Surgery Center Inc            Arthroscopy Shoulder Surg Synovec…     8/20/2019   29821     $1,472.45
1048763-01    R.E.              Manalapan Surgery Center Inc             Arthroscopy Shoulder Surg Debride…    8/20/2019   29823     $3,026.24
1048763-01    R.E.              Manalapan Surgery Center Inc             Arthroscopy Shoulder Ahesiolysis …    8/20/2019   29825     $1,472.45
1048763-01    R.E.              Manalapan Surgery Center Inc               Unlisted Procedure Arthroscopy…     8/20/2019   29999     $1,472.45
1048763-01    R.E.              Manalapan Surgery Center Inc               Unlisted Procedure Arthroscopy…     8/20/2019   29999     $1,472.45
1048763-01    R.E.              Manalapan Surgery Center Inc             Single Nerve Block Injection Arm …    8/20/2019   64415      $979.78
1048763-01    R.E.              Manalapan Surgery Center Inc            Us Guidance Needle Placement Img …     8/20/2019   76942      $341.96
1060931-90    L.M.                      EMUSC LLC                       Collection Venous Blood Venipunct…     5/10/2019   36415       $10.08
1060931-90    L.M.                      EMUSC LLC                        Basic Metabolic Panel Calcium Tot…    5/10/2019   80048       $16.95
1060931-90    L.M.                      EMUSC LLC                      Blood Count Complete Auto&Auto Di…      5/10/2019   85025       $14.93
1060931-90    L.M.                      EMUSC LLC                                 Prothrombin Time…            5/10/2019   85610       $11.31
1060931-90    L.M.                      EMUSC LLC                        Thromboplastin Time Partial Plasm…    5/10/2019   85730       $13.72
1060931-90    L.M.                      EMUSC LLC                       Ecg Routine Ecg W/Least 12 Lds W/…     5/10/2019   93000       $72.95
1060931-90    L.M.                      EMUSC LLC                        Office Outpatient New 30 Minutes…     5/10/2019   99203      $142.62
1060931-90    L.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee Abrasion Arthrp/Mlt D…      5/22/2019   29879     $3,026.23
1060931-90    L.M.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La…      5/22/2019   29880     $1,472.45
1045898-01    J.A.                Hudson Regional Hospital                 Radiologic Exam Chest 2 Views…      4/23/2019   71046      $541.40
1045898-01    J.A.                Hudson Regional Hospital                 Comprehensive Metabolic Panel…      4/23/2019   80053      $150.00
1045898-01    J.A.                Hudson Regional Hospital                           Lipid Panel…              4/23/2019   80061      $514.00
1045898-01    J.A.                Hudson Regional Hospital              Drug Tst Prsmv Instrmnt Chem Anal…     4/23/2019   80307      $359.15
1045898-01    J.A.                Hudson Regional Hospital              Drug Screen Quant Amphetamines 1 …     4/23/2019   80324      $269.37
1045898-01    J.A.                Hudson Regional Hospital               Antidepressants Serotonergic Clas…    4/23/2019   80332      $269.37
1045898-01    J.A.                Hudson Regional Hospital                Antidepressants Tricyclic Other C…   4/23/2019   80335      $270.31
1045898-01    J.A.                Hudson Regional Hospital                   Drug Screening Barbiturates…      4/23/2019   80345      $269.37
1045898-01    J.A.                Hudson Regional Hospital               Drug Screening Benzodiazepines 1-…    4/23/2019   80346      $269.37
1045898-01    J.A.                Hudson Regional Hospital                 Drug Screening Buprenorphine…       4/23/2019   80348      $269.37

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                                                         1948
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                       Date of    Billing   Amount
                                       Provider                                    Service
 Number      Person                                                                                        Service    Code       Billed
1045898-01    J.A.              Hudson Regional Hospital                    Drug Screening Fentanyl…      4/23/2019   80354      $269.37
1045898-01    J.A.              Hudson Regional Hospital              Drug Screening Gabapentin Non-Blo…  4/23/2019   80355      $269.37
1045898-01    J.A.              Hudson Regional Hospital               Drug Screening Heroin Metabolite…  4/23/2019   80356      $269.37
1045898-01    J.A.              Hudson Regional Hospital                  Drug Screening Methadone…       4/23/2019   80358      $269.37
1045898-01    J.A.              Hudson Regional Hospital             Drug Screening Methylenedioxyamph… 4/23/2019     80359      $269.37
1045898-01    J.A.              Hudson Regional Hospital                Drug Screening Methylphenidate…   4/23/2019   80360      $269.37
1045898-01    J.A.              Hudson Regional Hospital               Drug Screening Opiates 1 Or More…  4/23/2019   80361      $538.74
1045898-01    J.A.              Hudson Regional Hospital              Drug Screening Opioids And Opiate…  4/23/2019   80362      $537.74
1045898-01    J.A.              Hudson Regional Hospital                  Drug Screening Oxycodone…       4/23/2019   80365      $269.37
1045898-01    J.A.              Hudson Regional Hospital                   Drug Screening Pregabalin…     4/23/2019   80366      $269.37
1045898-01    J.A.              Hudson Regional Hospital              Drug Screening Sedative Hypnotics…  4/23/2019   80368      $269.37
1045898-01    J.A.              Hudson Regional Hospital              Drug Screening Skeletal Muscle Re…  4/23/2019   80369      $269.37
1045898-01    J.A.              Hudson Regional Hospital                  Drug Screening Tapentadol…      4/23/2019   80372      $269.37
1045898-01    J.A.              Hudson Regional Hospital                   Drug Screening Tramadol…       4/23/2019   80373      $269.37
1045898-01    J.A.              Hudson Regional Hospital               Urnls Dip Stick/Tablet Reagent Au… 4/23/2019   81001      $134.00
1045898-01    J.A.              Hudson Regional Hospital                 Hemoglobin Glycosylated A1C…     4/23/2019   83036       $66.70
1045898-01    J.A.              Hudson Regional Hospital             Blood Count Complete Auto&Auto Di… 4/23/2019     85025      $147.00
1045898-01    J.A.              Hudson Regional Hospital                       Prothrombin Time…          4/23/2019   85610      $143.00
1045898-01    J.A.              Hudson Regional Hospital              Thromboplastin Time Partial Plasm…  4/23/2019   85730      $147.00
1045898-01    J.A.              Hudson Regional Hospital              Antibody Screen Rbc Each Serum Te…  4/23/2019   86850      $105.80
1045898-01    J.A.              Hudson Regional Hospital                  Blood Typing Serologic Abo…     4/23/2019   86900       $56.95
1045898-01    J.A.              Hudson Regional Hospital                Blood Typing Serologic Rh (D)…    4/23/2019   86901       $56.95
1045898-01    J.A.              Hudson Regional Hospital              Ecg Routine Ecg W/Least 12 Lds Tr…  4/23/2019   93005      $323.70
1045898-01    J.A.              Hudson Regional Hospital            Echo Tthrc R-T 2D W/Wom-Mode Comp… 4/23/2019      93306     $5,074.90
1045898-01    J.A.              Hudson Regional Hospital            Echo Tthrc R-T 2D W/Wo M-Mode Res… 5/3/2019       93351     $6,582.50
1045898-01    J.A.              Hudson Regional Hospital                Comprehensive Metabolic Panel…    5/21/2019   80053      $150.00
1045898-01    J.A.              Hudson Regional Hospital               Urnls Dip Stick/Tablet Reagent Au… 5/21/2019   81001      $134.00
1045898-01    J.A.              Hudson Regional Hospital                 Hemoglobin Glycosylated A1C…     5/21/2019   83036       $66.70
1045898-01    J.A.              Hudson Regional Hospital             Blood Count Complete Auto&Auto Di… 5/21/2019     85025      $147.00
1045898-01    J.A.              Hudson Regional Hospital                       Prothrombin Time…          5/21/2019   85610      $143.00
1045898-01    J.A.              Hudson Regional Hospital              Thromboplastin Time Partial Plasm…  5/21/2019   85730      $147.00
1045898-01    J.A.              Hudson Regional Hospital              Antibody Screen Rbc Each Serum Te…  5/21/2019   86850      $105.80
1045898-01    J.A.              Hudson Regional Hospital                  Blood Typing Serologic Abo…     5/21/2019   86900       $56.95
1045898-01    J.A.              Hudson Regional Hospital                Blood Typing Serologic Rh (D)…    5/21/2019   86901       $56.95
1045898-01    J.A.             Surgicore of Jersey City LLC           Manipulation Spine Requiring Anes…  5/31/2019   22505      $748.08
1045898-01    J.A.             Surgicore of Jersey City LLC           Manj W/Anes Shoulder Joint W/Fixa…  5/31/2019   23700     $1,577.52
1045898-01    J.A.             Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…  5/31/2019   27198      $405.94
1045898-01    J.A.             Surgicore of Jersey City LLC            Manipulation Hip Joint General An… 5/31/2019   27275      $748.08
1045898-01    J.A.             Dynamic Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…   6/1/2019   29821     $2,944.87
1045898-01    J.A.             Dynamic Surgery Center LLC             Arthroscopy Shoulder Surg Debride…   6/1/2019   29823     $3,060.57
1045898-01    J.A.             Dynamic Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …  6/1/2019   29825     $2,944.87
1045898-01    J.A.             Dynamic Surgery Center LLC            Arthroscopy Shoulder W/Coracoacrm…    6/1/2019   29826     $2,944.87
1045898-01    J.A.             Surgicore of Jersey City LLC           Manipulation Spine Requiring Anes…   6/5/2019   22505      $748.08
1045898-01    J.A.             Surgicore of Jersey City LLC           Manj W/Anes Shoulder Joint W/Fixa…   6/5/2019   23700     $1,577.52
1045898-01    J.A.             Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…   6/5/2019   27198      $405.94
1045898-01    J.A.             Surgicore of Jersey City LLC            Manipulation Hip Joint General An…  6/5/2019   27275      $748.08
1045898-01    J.A.             Surgicore of Jersey City LLC           Manipulation Spine Requiring Anes…   6/7/2019   22505      $748.08
1045898-01    J.A.             Surgicore of Jersey City LLC           Manj W/Anes Shoulder Joint W/Fixa…   6/7/2019   23700     $1,577.52
1045898-01    J.A.             Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…   6/7/2019   27198      $405.94
1045898-01    J.A.             Surgicore of Jersey City LLC            Manipulation Hip Joint General An…  6/7/2019   27275      $748.08
1045898-01    J.A.             Dynamic Surgery Center LLC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  6/28/2019   62323      $863.63
1045898-01    J.A.             Dynamic Surgery Center LLC                     Epidurograpy Rs&I…          6/28/2019   72275      $572.53
1045898-01    J.A.                     SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  7/12/2019   64493     $1,458.32
1045898-01    J.A.                     SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  7/12/2019   64494     $1,342.62
1045898-01    J.A.                     SCOB LLC                       Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  7/12/2019   64495     $1,342.62
1045898-01    J.A.             Dynamic Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  7/28/2019   64493     $1,458.32
1045898-01    J.A.             Dynamic Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  7/28/2019   64494     $1,342.62
1045898-01    J.A.             Dynamic Surgery Center LLC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  7/28/2019   64495     $1,342.62
1046937-01    A.K.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surgical Rem…  6/28/2019   29819     $1,472.45
1046937-01    A.K.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…  6/28/2019   29821     $1,472.45
1046937-01    A.K.          Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…  6/28/2019   29823     $1,472.45
1046937-01    A.K.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis … 6/28/2019   29825     $1,472.45
1046937-01    A.K.          Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder W/Coracoacrm… 6/28/2019     29826     $1,472.45
1046937-01    A.K.          Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Rotator Cuff… 6/28/2019   29827     $5,677.77
1046937-01    A.K.          Fifth Avenue Surgery Center LLC             Unlisted Procedure Arthroscopy…   6/28/2019   29999     $1,472.45
1046937-01    A.K.          Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm … 6/28/2019   64415      $829.30
1046937-01    A.K.          Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …  6/28/2019   76942      $341.96
1046937-01    A.K.          Island Ambulatory Surgery Center           Arthrocentesis Aspir&/Inj Major J… 9/12/2019   20610      $554.74

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                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                                Service     Code       Billed
1046937-01    A.K.          Island Ambulatory Surgery Center               Fluoroscopic Guidance Needle Plac…      9/12/2019   77002      $572.52
1046937-01    A.K.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surgical Rem…     10/11/2019   29819     $1,472.45
1046937-01    A.K.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…     10/11/2019   29821     $1,472.45
1046937-01    A.K.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Debride…     10/11/2019   29823     $1,472.45
1046937-01    A.K.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Distal Clavi…    10/11/2019   29824     $1,472.45
1046937-01    A.K.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …    10/11/2019   29825     $1,472.45
1046937-01    A.K.          Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder W/Coracoacrm…      10/11/2019   29826     $1,472.45
1046937-01    A.K.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Rotator Cuff…     10/11/2019   29827     $5,677.77
1046937-01    A.K.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …    10/11/2019   64415      $979.78
1046937-01    A.K.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     10/11/2019   76942      $341.96
1047854-01    J.M.                      AMSC LLC                             Injection Single/Mlt Trigger Poin…     5/8/2019   20553      $277.37
1047854-01    J.M.                      AMSC LLC                           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       5/8/2019   62321      $976.38
1047854-01    J.M.                      AMSC LLC                                    Epidurograpy Rs&I…              5/8/2019   72275      $572.52
1047854-01    J.M.                      AMSC LLC                           Us Guidance Needle Placement Img …       5/8/2019   76942      $423.32
1047854-01    J.M.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…    6/19/2019   20552      $277.37
1047854-01    J.M.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      6/19/2019   62321      $976.38
1047854-01    J.M.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…             6/19/2019   72275      $572.52
1047854-01    J.M.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …      6/19/2019   76942      $211.66
1047854-01    J.M.         Rockaways ASC Development LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      7/14/2019   62321      $976.38
1047854-01    J.M.         Rockaways ASC Development LLC                            Epidurograpy Rs&I…             7/14/2019   72275      $572.52
1046466-01    M.L.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec…      4/10/2019   29821     $1,472.45
1046466-01    M.L.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Debride…      4/10/2019   29823     $3,026.24
1046466-01    M.L.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …     4/10/2019   29825     $1,472.45
1046466-01    M.L.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…      4/10/2019   29999     $1,472.45
1046466-01    M.L.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…      4/10/2019   29999     $1,472.45
1046466-01    M.L.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …     4/10/2019   64415      $979.78
1046466-01    M.L.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …      4/10/2019   76942      $341.96
1046466-01    M.L.                   Triborough ASC                         Perq Intrdscl Electrothrm Annulop…     4/18/2022   22526     $5,292.93
1046466-01    M.L.                   Triborough ASC                        Dcmprn Perq Nucleus Pulposus 1/> …      4/18/2022   62287     $5,292.93
1046466-01    M.L.                   Triborough ASC                        Probe, Percutaneous Lumbar Discec…      4/18/2022   C2614      $800.00
1046634-01    M.M.             Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      4/20/2019   64493      $976.38
1046634-01    M.M.             Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      4/20/2019   64493      $447.52
1046634-01    M.M.             Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      4/20/2019   64494      $447.52
1046634-01    M.M.             Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      4/20/2019   64494      $447.52
1046634-01    M.M.             Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      4/20/2019   64495      $447.52
1046634-01    M.M.             Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      4/20/2019   64495      $447.52
1046634-01    M.M.                     EMUSC LLC                           Anes Arthrs Humeral H/N Strnclav …       3/2/2020    1630      $135.05
1046634-01    M.M.                     EMUSC LLC                           Tenotomy Shoulder Area 1 Tendon…         3/2/2020   23405     $1,880.39
1046634-01    M.M.                     EMUSC LLC                           Arthroscopy Shoulder Surg Debride…       3/2/2020   29823     $3,026.13
1046634-01    M.M.                     EMUSC LLC                            Arthroscopy Shoulder Distal Clavi…      3/2/2020   29824     $1,513.06
1046634-01    M.M.                     EMUSC LLC                          Arthroscopy Shoulder W/Coracoacrm…        3/2/2020   29826     $1,513.06
1046634-01    M.M.                     EMUSC LLC                            Single Nerve Block Injection Arm …      3/2/2020   64415      $108.04
1046634-01    M.M.                     EMUSC LLC                            Single Nerve Block Injection Arm …      3/2/2020   64415      $489.85
1046634-01    M.M.                     EMUSC LLC                            Prosthetic Implant, Not Otherwise…      3/2/2020   L8699      $750.00
1048124-02    J.Q.                      AMSC LLC                             Injection Single/Mlt Trigger Poin…     4/7/2019   20553      $277.37
1048124-02    J.Q.                      AMSC LLC                           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       4/7/2019   62323      $976.38
1048124-02    J.Q.                      AMSC LLC                                    Epidurograpy Rs&I…              4/7/2019   72275      $572.52
1048124-02    J.Q.                      AMSC LLC                           Us Guidance Needle Placement Img …       4/7/2019   76942      $423.32
1048124-02    J.Q.          Fifth Avenue Surgery Center LLC               Arthroscopy Knee Synovectomy Limi…       7/16/2019   29875     $1,472.45
1048124-02    J.Q.          Fifth Avenue Surgery Center LLC               Arthrs Kne Surg W/Meniscectomy Me…       7/16/2019   29881     $3,026.24
1048124-02    J.Q.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…     7/16/2019   64447      $829.30
1048124-02    J.Q.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …      7/16/2019   76942      $341.96
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Insert Ant Sgm Drainage Dev W/O R…        8/7/2019   0253T       $71.96
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Insert Ant Sgm Drainage Dev W/O R…        8/7/2019   0253T      $672.68
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Insert Ant Sgm Drainage Dev W/O R…        8/7/2019   0253T     $5,500.00
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Auto Bone Marrw Cell Rx Complt Bo…        8/7/2019   0263T     $5,500.00
1045746-01    Z.E.        Health East Ambulatory Surgical Center           Anes Dx/Ther Nerve Block/Injectio…       8/7/2019    1992      $518.82
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Anes&/Strd W/Img Tfrml Edrl L…        9/9/2019   64483     $1,012.32
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Anes&/Strd W/Img Tfrml Edrl L…        9/9/2019   64484      $517.89
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Anes&/Strd W/Img Tfrml Edrl L…        9/9/2019   64484      $517.89
1045746-01    Z.E.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…              9/9/2019   72275      $422.68
1045746-01    Z.E.        Health East Ambulatory Surgical Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      9/23/2019   62321     $1,012.32
1045746-01    Z.E.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…             9/23/2019   72275      $422.68
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Anes&/Strd W/Img Tfrml Edrl L…      10/29/2019   64483     $1,012.32
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Anes&/Strd W/Img Tfrml Edrl L…      10/29/2019   64484      $517.89
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Anes&/Strd W/Img Tfrml Edrl L…      10/29/2019   64484      $517.89
1045746-01    Z.E.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…            10/29/2019   72275      $422.68
1045746-01    Z.E.        Health East Ambulatory Surgical Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     11/12/2019   62321     $1,012.32

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                                                          1950
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                        Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1045746-01    Z.E.        Health East Ambulatory Surgical Center                  Epidurograpy Rs&I…          11/12/2019   72275      $422.68
1045746-01    Z.E.        Health East Ambulatory Surgical Center           Injection Single/Mlt Trigger Poin…  2/24/2020   20553      $107.64
1045746-01    Z.E.        Health East Ambulatory Surgical Center         Njx Anes&/Strd W/Img Tfrml Edrl L… 2/24/2020      64483     $1,012.32
1045746-01    Z.E.        Health East Ambulatory Surgical Center         Njx Anes&/Strd W/Img Tfrml Edrl L… 2/24/2020      64484      $517.89
1045746-01    Z.E.        Health East Ambulatory Surgical Center         Njx Anes&/Strd W/Img Tfrml Edrl L… 2/24/2020      64484      $517.89
1045746-01    Z.E.        Health East Ambulatory Surgical Center                  Epidurograpy Rs&I…           2/24/2020   72275      $422.68
1045746-01    Z.E.        Health East Ambulatory Surgical Center         Us Guidance Needle Placement Img …    2/24/2020   76942      $403.00
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Arthroscopy Shoulder Surg Synovec…   3/12/2020   29820     $3,231.20
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Arthroscopy Shoulder Surg Debride…   3/12/2020   29822     $1,998.86
1045746-01    Z.E.        Health East Ambulatory Surgical Center         Arthroscopy Shoulder W/Coracoacrm… 3/12/2020      29826     $6,462.39
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Arthroscopy Shoulder Rotator Cuff…   3/12/2020   29827     $6,462.39
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Single Nerve Block Injection Arm …   3/12/2020   64415      $517.89
1045746-01    Z.E.        Health East Ambulatory Surgical Center         Anchor/Screw For Opposing Bone-To… 3/12/2020      C1713      $736.00
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Anes Dx/Ther Nerve Block/Injectio…   6/15/2020    1992      $518.82
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/15/2020   64493      $207.85
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/15/2020   64493     $1,518.48
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/15/2020   64493     $1,518.48
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/15/2020   64494      $120.93
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/15/2020   64494      $533.92
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/15/2020   64494      $533.92
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   9/25/2020   62321     $1,012.32
1045746-01    Z.E.        Health East Ambulatory Surgical Center                  Epidurograpy Rs&I…           9/25/2020   72275      $422.68
1045746-01    Z.E.        Health East Ambulatory Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Crv… 11/20/2020   64490     $1,518.48
1045746-01    Z.E.        Health East Ambulatory Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Crv… 11/20/2020   64491      $533.92
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   12/4/2020   64493     $1,518.48
1045746-01    Z.E.        Health East Ambulatory Surgical Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   12/4/2020   64494      $533.92
1045746-01    Z.E.        Health East Ambulatory Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/4/2021   64490     $1,518.48
1045746-01    Z.E.        Health East Ambulatory Surgical Center           Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/4/2021   64491      $533.92
1045746-01    Z.E.        Health East Ambulatory Surgical Center           Dstr Nrolytc Agnt Parverteb Fct S…  2/15/2021   64635     $2,560.32
1045746-01    Z.E.        Health East Ambulatory Surgical Center           Dstr Nrolytc Agnt Parverteb Fct A…  2/15/2021   64636     $1,518.48
1045746-01    Z.E.             Surgicore of Jersey City LLC                Allograft For Spine Surgery Only …  4/12/2021   20930     $3,160.34
1045746-01    Z.E.             Surgicore of Jersey City LLC               Autograft Spine Surgery Local Fro…   4/12/2021   20936     $3,160.34
1045746-01    Z.E.             Surgicore of Jersey City LLC               Arthrd Ant Interbody Decompress C…   4/12/2021   22551     $6,402.03
1045746-01    Z.E.             Surgicore of Jersey City LLC                Anterior Instrumentation 2-3 Vert…  4/12/2021   22845     $3,160.34
1045746-01    Z.E.             Surgicore of Jersey City LLC               Insj Biomchn Dev Intervertebral D…   4/12/2021   22853     $3,160.34
1045746-01    Z.E.             Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…    4/12/2021   A4649       $50.00
1045746-01    Z.E.             Surgicore of Jersey City LLC                Prosthetic Implant, Not Otherwise…  4/12/2021   L8699     $3,360.50
1045746-01    Z.E.                    Good Medica Inc                    Pneumatic Compressor, Nonsegmenta… 4/12/2021      E0650      $531.06
1045746-01    Z.E.                    Good Medica Inc                    Nonsegmental Pneumatic Appliance …    4/12/2021   E0666       $89.56
1045746-01    Z.E.     Surgicore LLC d/b/a Surgicore Surgical Center      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/16/2022   62321      $976.38
1045746-01    Z.E.     Surgicore LLC d/b/a Surgicore Surgical Center     Njx Anes&/Strd W/Img Tfrml Edrl L… 3/30/2022      64483      $976.38
1045746-01    Z.E.     Surgicore LLC d/b/a Surgicore Surgical Center     Njx Anes&/Strd W/Img Tfrml Edrl L… 3/30/2022      64484      $447.52
1045194-01    B.B.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/14/2019   64493      $449.21
1045194-01    B.B.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/14/2019   64493      $979.78
1045194-01    B.B.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/14/2019   64494      $449.21
1045194-01    B.B.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/14/2019   64494      $449.21
1045194-01    B.B.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/14/2019   64495      $449.21
1045194-01    B.B.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/14/2019   64495      $449.21
1045194-01    B.B.           Fifth Avenue Surgery Center LLC             Arthroscopy Knee Synovectomy 2/>C… 1/21/2019      29876     $1,472.45
1045194-01    B.B.           Fifth Avenue Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La… 1/21/2019       29880     $3,026.24
1045194-01    B.B.           Fifth Avenue Surgery Center LLC                Unlisted Procedure Arthroscopy…    1/21/2019   29999     $1,472.45
1045194-01    B.B.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical, For …  1/21/2019   G0289     $1,472.45
1045194-01    B.B.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/11/2019   64493      $447.52
1045194-01    B.B.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/11/2019   64493      $976.38
1045194-01    B.B.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/11/2019   64494      $447.52
1045194-01    B.B.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/11/2019   64494      $447.52
1045194-01    B.B.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/11/2019   64495      $447.52
1045194-01    B.B.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/11/2019   64495      $447.52
1047137-02    U.A.                 Surgicare of Manhattan                Arthroscopy Knee Synovectomy 2/>C… 1/23/2019      29876     $1,472.43
1047137-02    U.A.                 Surgicare of Manhattan                 Arthrs Knee Abrasion Arthrp/Mlt D…   1/23/2019   29879     $1,472.43
1047137-02    U.A.                 Surgicare of Manhattan               Arthrs Knee W/Meniscectomy Med&La… 1/23/2019       29880     $3,026.23
1047137-02    U.A.        Bronx SC LLC d/b/a Empire State ASC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/6/2019   62323      $829.30
1047137-02    U.A.        Bronx SC LLC d/b/a Empire State ASC                     Epidurograpy Rs&I…            2/6/2019   72275      $572.53
1047137-02    U.A.        Bronx SC LLC d/b/a Empire State ASC             Fluor Needle/Cath Spine/Paraspina…    2/6/2019   77003      $286.26
1047137-02    U.A.        Bronx SC LLC d/b/a Empire State ASC             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/19/2019   62323      $976.38
1047137-02    U.A.                  Goldstep ASC LLC                          Anesthesia On Bony Pelvis…       12/6/2019    1120      $300.00
1047137-02    U.A.                  Goldstep ASC LLC                      Manipulation Spine Requiring Anes…   12/6/2019   22505     $3,600.00
1047137-02    U.A.                  Goldstep ASC LLC                     Clsd Tx Pelvic Ring Fx W/Manipula…    12/6/2019   27198     $2,000.00

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                                                      1951
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                    Date of    Billing   Amount
                                     Provider                                  Service
 Number      Person                                                                                     Service    Code       Billed
1047137-02    U.A.               Goldstep ASC LLC                  Manipulation Hip Joint General An…  12/6/2019   27275     $1,200.00
1047137-02    U.A.               Goldstep ASC LLC                      Anesthesia On Bony Pelvis…      12/7/2019    1120      $200.00
1047137-02    U.A.               Goldstep ASC LLC                 Manipulation Spine Requiring Anes…   12/7/2019   22505     $3,600.00
1047137-02    U.A.               Goldstep ASC LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…   12/7/2019   27198     $2,000.00
1047137-02    U.A.               Goldstep ASC LLC                  Manipulation Hip Joint General An…  12/7/2019   27275     $2,000.00
1047137-02    U.A.               Goldstep ASC LLC                      Anesthesia On Bony Pelvis…      1/17/2020    1120      $200.00
1047137-02    U.A.               Goldstep ASC LLC                 Manipulation Spine Requiring Anes…   1/17/2020   22505     $3,600.00
1047137-02    U.A.               Goldstep ASC LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…   1/17/2020   27198     $2,000.00
1047137-02    U.A.               Goldstep ASC LLC                  Manipulation Hip Joint General An…  1/17/2020   27275     $2,000.00
1045617-01    J.C.             Hudson Regional Hospital              Radiologic Exam Chest 2 Views…    1/22/2019   71046      $541.40
1045617-01    J.C.             Hudson Regional Hospital              Comprehensive Metabolic Panel…    1/22/2019   80053      $150.00
1045617-01    J.C.             Hudson Regional Hospital           Drug Tst Prsmv Instrmnt Chem Anal…   1/22/2019   80307      $359.15
1045617-01    J.C.             Hudson Regional Hospital           Drug Screen Quant Amphetamines 1 … 1/22/2019     80324      $269.37
1045617-01    J.C.             Hudson Regional Hospital            Antidepressants Serotonergic Clas…  1/22/2019   80332      $269.37
1045617-01    J.C.             Hudson Regional Hospital            Antidepressants Tricyclic Other C…  1/22/2019   80335      $270.31
1045617-01    J.C.             Hudson Regional Hospital                Drug Screening Barbiturates…    1/22/2019   80345      $269.37
1045617-01    J.C.             Hudson Regional Hospital           Drug Screening Benzodiazepines 1-…   1/22/2019   80346      $269.37
1045617-01    J.C.             Hudson Regional Hospital              Drug Screening Buprenorphine…     1/22/2019   80348      $269.37
1045617-01    J.C.             Hudson Regional Hospital                 Drug Screening Fentanyl…       1/22/2019   80354      $269.37
1045617-01    J.C.             Hudson Regional Hospital           Drug Screening Gabapentin Non-Blo…   1/22/2019   80355      $269.37
1045617-01    J.C.             Hudson Regional Hospital            Drug Screening Heroin Metabolite…   1/22/2019   80356      $269.37
1045617-01    J.C.             Hudson Regional Hospital                Drug Screening Methadone…       1/22/2019   80358      $269.37
1045617-01    J.C.             Hudson Regional Hospital          Drug Screening Methylenedioxyamph… 1/22/2019      80359      $269.37
1045617-01    J.C.             Hudson Regional Hospital             Drug Screening Methylphenidate…    1/22/2019   80360      $269.37
1045617-01    J.C.             Hudson Regional Hospital            Drug Screening Opiates 1 Or More…   1/22/2019   80361      $538.74
1045617-01    J.C.             Hudson Regional Hospital           Drug Screening Opioids And Opiate…   1/22/2019   80362      $537.74
1045617-01    J.C.             Hudson Regional Hospital                Drug Screening Oxycodone…       1/22/2019   80365      $269.37
1045617-01    J.C.             Hudson Regional Hospital                Drug Screening Pregabalin…      1/22/2019   80366      $269.37
1045617-01    J.C.             Hudson Regional Hospital           Drug Screening Sedative Hypnotics…   1/22/2019   80368      $269.37
1045617-01    J.C.             Hudson Regional Hospital           Drug Screening Skeletal Muscle Re…   1/22/2019   80369      $269.37
1045617-01    J.C.             Hudson Regional Hospital                Drug Screening Tapentadol…      1/22/2019   80372      $269.37
1045617-01    J.C.             Hudson Regional Hospital                 Drug Screening Tramadol…       1/22/2019   80373      $269.37
1045617-01    J.C.             Hudson Regional Hospital            Urnls Dip Stick/Tablet Reagent Au…  1/22/2019   81001      $134.00
1045617-01    J.C.             Hudson Regional Hospital          Blood Count Complete Auto&Auto Di… 1/22/2019      85025      $147.00
1045617-01    J.C.             Hudson Regional Hospital                     Prothrombin Time…          1/22/2019   85610      $143.00
1045617-01    J.C.             Hudson Regional Hospital           Thromboplastin Time Partial Plasm…   1/22/2019   85730      $147.00
1045617-01    J.C.             Hudson Regional Hospital           Antibody Screen Rbc Each Serum Te…   1/22/2019   86850      $105.80
1045617-01    J.C.             Hudson Regional Hospital               Blood Typing Serologic Abo…      1/22/2019   86900       $56.95
1045617-01    J.C.             Hudson Regional Hospital              Blood Typing Serologic Rh (D)…    1/22/2019   86901       $56.95
1045617-01    J.C.             Hudson Regional Hospital           Ecg Routine Ecg W/Least 12 Lds Tr…   1/22/2019   93005      $323.70
1045617-01    J.C.             Hudson Regional Hospital         Echo Tthrc R-T 2D W/Wom-Mode Comp… 1/22/2019       93306     $5,074.90
1045617-01    J.C.             Hudson Regional Hospital         Echo Tthrc R-T 2D W/Wo M-Mode Res… 1/23/2019       93351     $6,582.50
1045617-01    J.C.                   AMSC LLC                       Injection Single/Mlt Trigger Poin… 2/12/2019   20553      $554.74
1045617-01    J.C.                   AMSC LLC                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/12/2019   62323      $976.38
1045617-01    J.C.                   AMSC LLC                              Epidurograpy Rs&I…          2/12/2019   72275      $572.52
1045617-01    J.C.                   AMSC LLC                     Us Guidance Needle Placement Img …   2/12/2019   76942      $423.32
1045617-01    J.C.                   AMSC LLC                     Manipulation Spine Requiring Anes…   5/10/2019   22505      $788.76
1045617-01    J.C.                   AMSC LLC                     Clsd Tx Pelvic Ring Fx W/Manipula…   5/10/2019   27198      $446.62
1045617-01    J.C.                   AMSC LLC                      Manipulation Hip Joint General An…  5/10/2019   27275     $3,155.04
1045617-01    J.C.                   AMSC LLC                     Manipulation Spine Requiring Anes…   5/24/2019   22505      $788.76
1045617-01    J.C.                   AMSC LLC                     Clsd Tx Pelvic Ring Fx W/Manipula…   5/24/2019   27198      $446.62
1045617-01    J.C.                   AMSC LLC                      Manipulation Hip Joint General An…  5/24/2019   27275     $3,155.04
1045617-01    J.C.                   AMSC LLC                     Manipulation Spine Requiring Anes…   5/31/2019   22505      $788.76
1045617-01    J.C.                   AMSC LLC                     Clsd Tx Pelvic Ring Fx W/Manipula…   5/31/2019   27198      $446.62
1045617-01    J.C.                   AMSC LLC                      Manipulation Hip Joint General An…  5/31/2019   27275     $3,155.04
1045617-01    J.C.         Rockaways ASC Development LLC            Injection Single/Mlt Trigger Poin… 7/30/2019   20552      $554.74
1045617-01    J.C.         Rockaways ASC Development LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  7/30/2019   62321      $976.38
1045617-01    J.C.         Rockaways ASC Development LLC                   Epidurograpy Rs&I…          7/30/2019   72275      $572.52
1045617-01    J.C.         Rockaways ASC Development LLC          Us Guidance Needle Placement Img …   7/30/2019   76942      $423.32
1045617-01    J.C.                   AMSC LLC                       Injection Single/Mlt Trigger Poin… 8/14/2019   20553      $277.37
1045617-01    J.C.                   AMSC LLC                      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  8/14/2019   62321      $976.38
1045617-01    J.C.                   AMSC LLC                              Epidurograpy Rs&I…          8/14/2019   72275      $572.52
1045617-01    J.C.                   AMSC LLC                     Us Guidance Needle Placement Img …   8/14/2019   76942      $423.32
1045617-01    J.C.                   AMSC LLC                       Injection Single/Mlt Trigger Poin…  9/4/2019   20553      $277.37
1045617-01    J.C.                   AMSC LLC                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    9/4/2019   62323      $976.38
1045617-01    J.C.                   AMSC LLC                              Epidurograpy Rs&I…           9/4/2019   72275      $572.52
1045617-01    J.C.                   AMSC LLC                     Us Guidance Needle Placement Img …    9/4/2019   76942      $423.32
1045617-01    J.C.         Rockaways ASC Development LLC            Injection Single/Mlt Trigger Poin… 1/11/2020   20552      $554.74

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                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1045617-01    J.C.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/11/2020   62321      $976.38
1045617-01    J.C.           Rockaways ASC Development LLC                        Epidurograpy Rs&I…          1/11/2020   72275      $572.52
1045617-01    J.C.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …    1/11/2020   76942      $423.32
1046305-01    L.T.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder Surg Synovec…    2/14/2019   29821     $1,472.45
1046305-01    L.T.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…   2/14/2019   29823     $3,026.24
1046305-01    L.T.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…    2/14/2019   29999     $1,472.45
1046305-01    L.T.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …   2/14/2019   64415      $829.30
1046305-01    L.T.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …    2/14/2019   76942      $341.96
1046305-01    L.T.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…  5/15/2019   20553      $277.37
1046305-01    L.T.                       AMSC LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/15/2019   62323      $976.38
1046305-01    L.T.                       AMSC LLC                                 Epidurograpy Rs&I…          5/15/2019   72275      $572.52
1046305-01    L.T.                       AMSC LLC                       Us Guidance Needle Placement Img …    5/15/2019   76942      $423.32
1046305-01    L.T.           Rockaways ASC Development LLC               Arthrocentesis Aspir&/Inj Major J…   6/29/2019   20610      $554.74
1046305-01    L.T.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …    6/29/2019   76942      $423.32
1044825-01    S.K.                  Barnert Surgical Center               Injection Single/Mlt Trigger Poin…   1/9/2019   20553      $161.46
1044825-01    S.K.                  Barnert Surgical Center              Arthrocentesis Aspir&/Inj Major J…    1/9/2019   20610      $236.92
1044825-01    S.K.                  Barnert Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/9/2019   64490     $3,036.96
1044825-01    S.K.                  Barnert Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/9/2019   64491     $1,067.84
1044825-01    S.K.                  Barnert Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/9/2019   64492     $1,067.84
1044825-01    S.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi… 2/25/2019       29875     $1,472.45
1044825-01    S.K.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 2/25/2019       29880     $3,026.24
1044825-01    S.K.                  Barnert Surgical Center               Injection Single/Mlt Trigger Poin…  2/27/2019   20553      $161.46
1044825-01    S.K.                  Barnert Surgical Center               Inject Si Joint Arthrgrphy&/Anes/…  2/27/2019   27096     $1,518.48
1044825-01    S.K.                  Barnert Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/27/2019   64493     $3,036.96
1044825-01    S.K.                  Barnert Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/27/2019   64494     $1,067.84
1044825-01    S.K.                  Barnert Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/27/2019   64495     $1,067.84
1044825-01    S.K.                  Barnert Surgical Center               Injection Single/Mlt Trigger Poin…  9/11/2019   20553      $161.46
1044825-01    S.K.                  Barnert Surgical Center               Inject Si Joint Arthrgrphy&/Anes/…  9/11/2019   27096     $3,036.96
1044825-01    S.K.                  Barnert Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/11/2019   64493     $3,036.96
1044825-01    S.K.                  Barnert Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/11/2019   64494     $1,067.84
1044825-01    S.K.                  Barnert Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/11/2019   64495     $1,067.84
1044825-01    S.K.                  Barnert Surgical Center               Injection Single/Mlt Trigger Poin… 11/13/2019   20553      $161.46
1044825-01    S.K.                  Barnert Surgical Center               Inject Si Joint Arthrgrphy&/Anes/… 11/13/2019   27096     $3,036.96
1044825-01    S.K.                  Barnert Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/13/2019   64493     $3,036.96
1044825-01    S.K.                  Barnert Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/13/2019   64494     $1,067.84
1044825-01    S.K.                  Barnert Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/13/2019   64495     $1,067.84
1045675-02    D.D.                      EMUSC LLC                        Office Outpatient New 45 Minutes…    2/11/2019   99204      $203.76
1045675-02    D.D.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surgical Rep…   2/15/2019   29807     $5,677.77
1045675-02    D.D.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Surg Debride…   2/15/2019   29823     $1,472.45
1045675-02    D.D.          All City Family Healthcare Center, Inc.      Arthroscopy Shoulder Ahesiolysis …   2/15/2019   29825     $1,472.45
1045675-02    D.D.          All City Family Healthcare Center, Inc.     Arthroscopy Shoulder W/Coracoacrm… 2/15/2019      29826     $1,472.45
1045675-02    D.D.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…    2/15/2019   29999     $1,472.45
1045675-02    D.D.          All City Family Healthcare Center, Inc.      Single Nerve Block Injection Arm …   2/15/2019   64415      $829.30
1045675-02    D.D.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …    2/15/2019   76942      $341.96
1045675-02    D.D.          All City Family Healthcare Center, Inc.      Arthrocentesis Aspir&/Inj Major J…   3/29/2019   20610      $236.69
1045675-02    D.D.          All City Family Healthcare Center, Inc.     Manipulation Knee Joint Under Gen…    3/29/2019   27570      $748.08
1045675-02    D.D.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 3/29/2019      29875     $1,472.45
1045675-02    D.D.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 3/29/2019       29880     $3,026.24
1045675-02    D.D.          All City Family Healthcare Center, Inc.        Unlisted Procedure Arthroscopy…    3/29/2019   29999     $1,472.45
1045675-02    D.D.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 6/28/2019      29875     $1,472.45
1045675-02    D.D.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 6/28/2019       29880     $3,026.24
1045263-02    B.B.               Surgicore of Jersey City LLC             Injection Single/Mlt Trigger Poin…  3/16/2019   20553      $236.69
1045263-02    B.B.               Surgicore of Jersey City LLC             Inject Si Joint Arthrgrphy&/Anes/…  3/16/2019   27096      $236.69
1045263-02    B.B.               Surgicore of Jersey City LLC             Inject Si Joint Arthrgrphy&/Anes/…  3/16/2019   27096      $236.69
1045263-02    B.B.               Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/16/2019   62323      $976.38
1045263-02    B.B.               Surgicore of Jersey City LLC                     Epidurograpy Rs&I…          3/16/2019   72275      $572.53
1045263-02    B.B.               Surgicore of Jersey City LLC          Perc Lamino-/Laminectomy Image Gu… 4/13/2019       0274T     $2,605.78
1045263-02    B.B.               Surgicore of Jersey City LLC          Perc Lamino-/Laminectomy Image Gu… 4/13/2019       0274T     $5,292.93
1045263-02    B.B.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulop…   4/13/2019   22526     $2,605.78
1045263-02    B.B.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulop…   4/13/2019   22527     $2,605.78
1045263-02    B.B.                 Surgery Center of Oradell            Arthroscopy Shoulder Surg Synovec…    7/10/2019   29820     $1,472.44
1045263-02    B.B.                 Surgery Center of Oradell             Arthroscopy Shoulder Surg Debride…   7/10/2019   29823     $5,677.77
1045263-02    B.B.                 Surgery Center of Oradell            Arthroscopy Shoulder W/Coracoacrm… 7/10/2019      29826     $1,472.44
1044796-01    D.A.            Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…   1/14/2019   20610      $236.69
1044796-01    D.A.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy 2/>C… 1/14/2019      29876     $1,472.45
1044796-01    D.A.            Fifth Avenue Surgery Center LLC            Arthrs Knee Abrasion Arthrp/Mlt D…   1/14/2019   29879     $1,472.45
1044796-01    D.A.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 1/14/2019       29880     $3,026.24
1044796-01    D.A.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee W/Lysis Adhesion… 1/14/2019      29884     $1,472.45

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                                                          1953
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1044796-01    D.A.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…    1/14/2019   29999      $1,472.45
1044796-01    D.A.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…   1/14/2019   64447       $829.30
1044796-01    D.A.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    1/14/2019   76942       $341.96
1044796-01    D.A.          Fifth Avenue Surgery Center LLC                  Arthroscopy, Knee, Surgical, For …  1/14/2019   G0289      $1,472.45
1044796-01    D.A.             Accelerated Surgical Center                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/20/2019   62323      $1,518.48
1044796-01    D.A.             Accelerated Surgical Center                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/13/2019   62323      $1,518.48
1044796-01    D.A.             Accelerated Surgical Center                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/3/2019   62323      $1,518.48
1044796-01    D.A.             Accelerated Surgical Center                   Injection Single/Mlt Trigger Poin…  4/24/2019   20553       $161.46
1044796-01    D.A.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/24/2019   64493      $3,036.96
1044796-01    D.A.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/24/2019   64494      $1,067.84
1044796-01    D.A.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/24/2019   64495      $1,067.84
1044796-01    D.A.             Accelerated Surgical Center                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/8/2019   62321      $1,518.48
1044796-01    D.A.             Accelerated Surgical Center                   Injection Single/Mlt Trigger Poin…  5/22/2019   20553       $161.46
1044796-01    D.A.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/22/2019   64493      $3,036.96
1044796-01    D.A.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/22/2019   64494      $1,067.84
1044796-01    D.A.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/22/2019   64495      $1,067.84
1044796-01    D.A.             Accelerated Surgical Center                   Injection Single/Mlt Trigger Poin…  6/26/2019   20553       $161.46
1044796-01    D.A.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/26/2019   64493      $1,518.48
1044796-01    D.A.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/26/2019   64494       $533.92
1044796-01    D.A.             Accelerated Surgical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/26/2019   64495       $533.92
1044796-01    D.A.             Accelerated Surgical Center                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…  7/31/2019   64490      $1,518.48
1044796-01    D.A.             Accelerated Surgical Center                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…  7/31/2019   64491       $533.92
1044796-01    D.A.             Accelerated Surgical Center                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…  7/31/2019   64492       $533.92
1045925-01    P.C.                    EMUSC LLC                            Collection Venous Blood Venipunct…     2/6/2019   36415        $10.08
1045925-01    P.C.                    EMUSC LLC                               Comprehensive Metabolic Panel…      2/6/2019   80053        $23.41
1045925-01    P.C.                    EMUSC LLC                           Blood Count Complete Auto&Auto Di… 2/6/2019        85025        $14.93
1045925-01    P.C.                    EMUSC LLC                                      Prothrombin Time…            2/6/2019   85610        $11.31
1045925-01    P.C.                    EMUSC LLC                             Thromboplastin Time Partial Plasm…    2/6/2019   85730        $13.72
1045925-01    P.C.                    EMUSC LLC                            Ecg Routine Ecg W/Least 12 Lds W/…     2/6/2019   93000        $72.95
1045925-01    P.C.                    EMUSC LLC                              Office Outpatient New 30 Minutes…    2/6/2019   99203       $142.62
1045925-01    P.C.                    EMUSC LLC                              Office Outpatient Visit 25 Minute…   2/6/2019   99214       $127.41
1045925-01    P.C.                    EMUSC LLC                          Echo Tthrc R-T 2D W/Wom-Mode Comp… 2/7/2019         93306      $1,207.40
1045925-01    P.C.                    EMUSC LLC                             Anes Arthrs Humeral H/N Strnclav …    2/8/2019    1630       $135.05
1045925-01    P.C.                    EMUSC LLC                            Arthroscopy Shoulder Surg Synovec…     2/8/2019   29821      $1,512.93
1045925-01    P.C.                    EMUSC LLC                             Arthroscopy Shoulder Surg Debride…    2/8/2019   29823      $3,025.86
1045925-01    P.C.                    EMUSC LLC                             Arthroscopy Shoulder Ahesiolysis …    2/8/2019   29825      $1,512.93
1045925-01    P.C.                    EMUSC LLC                            Arthroscopy Shoulder W/Coracoacrm…     2/8/2019   29826      $1,512.93
1045925-01    P.C.                    EMUSC LLC                             Single Nerve Block Injection Arm …    2/8/2019   64415       $414.46
1045925-01    P.C.                    EMUSC LLC                             Single Nerve Block Injection Arm …    2/8/2019   64415       $108.04
1045925-01    P.C.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Diagnostic W/Wo … 5/29/2019      29870      $3,026.24
1045925-01    P.C.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 5/29/2019      29875      $1,472.45
1045925-01    P.C.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C… 5/29/2019      29876      $1,472.45
1045925-01    P.C.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 5/29/2019       29880      $1,472.45
1044531-02    D.B.              Bergenfield Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L… 8/14/2019      64483      $1,012.32
1044531-02    D.B.              Bergenfield Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L… 8/14/2019      64484       $517.89
1044531-02    D.B.              Bergenfield Surgical Center                         Epidurograpy Rs&I…           8/14/2019   72275       $572.52
1044531-02    D.B.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/27/2020   62323       $976.38
1044531-02    D.B.        Bronx SC LLC d/b/a Empire State ASC                       Epidurograpy Rs&I…           2/27/2020   72275       $572.53
1044531-02    D.B.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/18/2020   62323       $976.38
1044531-02    D.B.        Bronx SC LLC d/b/a Empire State ASC                       Epidurograpy Rs&I…           3/18/2020   72275       $572.53
1045987-02    D.D.            Healthplus Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/6/2020   62323       $829.30
1045987-02    D.D.            Healthplus Surgery Center LLC                 Immunoassay For Infectious Agent …    6/6/2020   86328       $199.00
1045987-02    D.D.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/20/2020   62323       $976.38
1045987-02    D.D.             Surgicore of Jersey City LLC                         Epidurograpy Rs&I…           6/20/2020   72275       $572.53
1045987-02    D.D.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/29/2020   62323       $976.38
1045987-02    D.D.             Surgicore of Jersey City LLC                         Epidurograpy Rs&I…           8/29/2020   72275       $572.53
1045987-02    D.D.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    8/29/2020   A4649        $50.00
1045476-06    X.C.               Stemmee Surgery Center                    Discectomy Ant Dcmprn Cord Cervic… 4/16/2019      63075     $30,000.00
1045476-06    X.C.               Stemmee Surgery Center                    Discectomy Ant Dcmprn Cord Cervic… 4/16/2019      63076     $12,500.00
1045476-06    X.C.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec… 10/15/2019     29821      $1,472.45
1045476-06    X.C.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…  10/15/2019   29823      $3,026.24
1045476-06    X.C.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 10/15/2019     29826      $1,472.45
1045476-06    X.C.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …  10/15/2019   64415       $979.78
1045476-06    X.C.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img … 10/15/2019     76942       $341.96
1045570-01    M.O.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec…     2/7/2019   29821      $1,472.45
1045570-01    M.O.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…    2/7/2019   29823      $3,026.24
1045570-01    M.O.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…     2/7/2019   29999      $1,472.45
1045570-01    M.O.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …    2/7/2019   64415       $829.30

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                                                           1954
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1045570-01    M.O.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …      2/7/2019   76942      $341.96
1045570-01    M.O.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…   3/24/2019   20553      $277.37
1045570-01    M.O.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/24/2019   64493     $1,952.76
1045570-01    M.O.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    3/24/2019   64494      $976.38
1045570-01    M.O.                       AMSC LLC                                Epidurograpy Rs&I…            3/24/2019   72275      $572.52
1045570-01    M.O.                       AMSC LLC                       Us Guidance Needle Placement Img …     3/24/2019   76942      $423.32
1045065-01    D.L.                       AMSC LLC                        Manipulation Spine Requiring Anes…    3/27/2019   22505     $1,577.52
1045065-01    D.L.                       AMSC LLC                       Manj W/Anes Shoulder Joint W/Fixa…     3/27/2019   23700     $1,497.10
1045065-01    D.L.                       AMSC LLC                       Clsd Tx Pelvic Ring Fx W/Manipula…     3/27/2019   27198      $893.24
1045065-01    D.L.           Rockaways ASC Development LLC               Manipulation Spine Requiring Anes…    6/21/2019   22505     $1,577.52
1045065-01    D.L.           Rockaways ASC Development LLC              Manj W/Anes Shoulder Joint W/Fixa…     6/21/2019   23700      $788.76
1045065-01    D.L.           Rockaways ASC Development LLC              Clsd Tx Pelvic Ring Fx W/Manipula…     6/21/2019   27198      $446.62
1045065-01    D.L.           Rockaways ASC Development LLC               Manipulation Spine Requiring Anes…    6/28/2019   22505     $1,577.52
1045065-01    D.L.           Rockaways ASC Development LLC              Manj W/Anes Shoulder Joint W/Fixa…     6/28/2019   23700      $788.76
1045065-01    D.L.           Rockaways ASC Development LLC              Clsd Tx Pelvic Ring Fx W/Manipula…     6/28/2019   27198      $446.62
1044594-01    J.E.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C…      1/9/2019   29876     $1,472.45
1044594-01    J.E.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La…       1/9/2019   29880     $3,026.24
1044594-01    J.E.               Surgicore of Jersey City LLC              Unlisted Procedure Arthroscopy…      1/9/2019   29999     $1,472.45
1044594-01    J.E.               Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …    1/9/2019   G0289     $1,472.45
1044594-01    J.E.            Island Ambulatory Surgery Center            Injection Single/Mlt Trigger Poin…   2/27/2019   20553      $554.74
1044594-01    J.E.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/27/2019   62323      $829.30
1044594-01    J.E.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…            2/27/2019   72275      $286.26
1044594-01    J.E.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/10/2019   62323      $976.38
1044594-01    J.E.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…            6/10/2019   72275      $572.52
1045581-01    B.H.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder Surg Synovec…      2/4/2019   29821     $1,472.45
1045581-01    B.H.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surg Debride…     2/4/2019   29823     $3,026.24
1045581-01    B.H.         Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Ahesiolysis …     2/4/2019   29825     $1,472.45
1045581-01    B.H.         Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder W/Coracoacrm…      2/4/2019   29826     $1,472.45
1045581-01    B.H.                       AMSC LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/22/2019   62323      $976.38
1045581-01    B.H.                       AMSC LLC                                Epidurograpy Rs&I…            4/22/2019   72275      $572.52
1045581-01    B.H.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/9/2019   62323      $976.38
1045581-01    B.H.          All City Family Healthcare Center, Inc.              Epidurograpy Rs&I…             5/9/2019   72275      $572.53
1044402-01    Y.M.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…     3/19/2019   29821     $1,472.45
1044402-01    Y.M.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    3/19/2019   29823     $3,026.24
1044402-01    Y.M.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    3/19/2019   64415      $829.30
1044402-01    Y.M.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     3/19/2019   76942      $341.96
1044402-01    Y.M.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…    4/7/2019   20553      $277.37
1044402-01    Y.M.                       AMSC LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/7/2019   62323      $976.38
1044402-01    Y.M.                       AMSC LLC                                Epidurograpy Rs&I…             4/7/2019   72275      $572.52
1044402-01    Y.M.                       AMSC LLC                       Us Guidance Needle Placement Img …      4/7/2019   76942      $423.32
1044132-01    A.M.            Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…     1/8/2019   20610      $236.69
1044132-01    A.M.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi…      1/8/2019   29875     $1,472.45
1044132-01    A.M.            Fifth Avenue Surgery Center LLC          Arthrs Kne Surg W/Meniscectomy Me…       1/8/2019   29881     $3,026.24
1044132-01    A.M.            Fifth Avenue Surgery Center LLC            Injection Anesthetic Agent Femora…     1/8/2019   64447      $829.30
1044132-01    A.M.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      1/8/2019   76942      $341.96
1044132-01    A.M.            Fifth Avenue Surgery Center LLC             Arthroscopy, Knee, Surgical, For …    1/8/2019   G0289     $1,472.45
1044132-01    A.M.                      EMUSC LLC                        Anesthesia Cervical Spine & Cord …    3/20/2019    600       $270.10
1044132-01    A.M.                      EMUSC LLC                       Discectomy Ant Dcmprn Cord Cervic…     3/20/2019   63075     $5,827.05
1044132-01    A.M.                      EMUSC LLC                        Prosthetic Implant, Not Otherwise…    3/20/2019   L8699      $600.00
1044132-02    I.M.            Fifth Avenue Surgery Center LLC            Arthrocentesis Aspir&/Inj Major J…     1/8/2019   20610      $236.69
1044132-02    I.M.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…      1/8/2019   29820     $1,472.45
1044132-02    I.M.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…     1/8/2019   29823     $3,026.24
1044132-02    I.M.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …     1/8/2019   29825     $1,472.45
1044132-02    I.M.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …     1/8/2019   64415      $829.30
1044132-02    I.M.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …      1/8/2019   76942      $341.96
1044132-02    I.M.                      EMUSC LLC                        Anesthesia Cervical Spine & Cord …    3/27/2019    600       $270.10
1044132-02    I.M.                      EMUSC LLC                       Discectomy Ant Dcmprn Cord Cervic…     3/27/2019   63075     $5,827.05
1044132-02    I.M.                      EMUSC LLC                        Prosthetic Implant, Not Otherwise…    3/27/2019   L8699      $600.00
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center   Aspiration&/Injection Ganglion Cy…     2/4/2019   20612      $236.69
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/4/2019   64493      $979.78
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/4/2019   64493      $449.21
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/4/2019   64494      $449.21
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/4/2019   64494      $449.21
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/4/2019   64495      $449.21
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/4/2019   64495      $449.21
1043664-01    N.Z.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img …       2/4/2019   76942      $341.96
1043664-01    N.Z.          All City Family Healthcare Center, Inc.      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/15/2019   62321      $976.38
1043664-01    N.Z.          All City Family Healthcare Center, Inc.              Epidurograpy Rs&I…            5/15/2019   72275      $572.53

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                                                           1955
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1043664-01    N.Z.               Bergenfield Surgical Center              Injection Single/Mlt Trigger Poin…  5/27/2020   20553      $554.72
1043664-01    N.Z.               Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/27/2020   64493     $1,186.02
1043664-01    N.Z.               Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/27/2020   64493     $1,186.02
1043664-01    N.Z.               Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/27/2020   64494      $355.95
1043664-01    N.Z.               Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/27/2020   64494      $355.95
1043664-01    N.Z.               Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/27/2020   64495      $355.95
1043664-01    N.Z.               Bergenfield Surgical Center             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/27/2020   64495      $355.95
1043664-01    N.Z.               Bergenfield Surgical Center                        Surgical Trays…           5/27/2020   A4550      $750.00
1043664-01    N.Z.               Bergenfield Surgical Center            Ndsc Wrst Surg W/Rls Transvrs Car…    6/19/2020   29848     $2,668.06
1043664-01    N.Z.               Bergenfield Surgical Center                        Surgical Trays…           6/19/2020   A4550      $750.00
1043664-01    N.Z.               Bergenfield Surgical Center              Injection Single/Mlt Trigger Poin…  6/24/2020   20552      $554.74
1043664-01    N.Z.               Bergenfield Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/24/2020   62321     $1,012.32
1043664-01    N.Z.               Bergenfield Surgical Center                     Epidurograpy Rs&I…           6/24/2020   72275      $572.52
1043664-01    N.Z.               Bergenfield Surgical Center                        Surgical Trays…           6/24/2020   A4550      $750.00
1043664-01    N.Z.               Bergenfield Surgical Center              Injection Single/Mlt Trigger Poin…  12/4/2020   20552      $554.74
1043664-01    N.Z.               Bergenfield Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/4/2020   62321     $1,012.32
1043664-01    N.Z.               Bergenfield Surgical Center                     Epidurograpy Rs&I…           12/4/2020   72275      $572.52
1043664-01    N.Z.               Bergenfield Surgical Center                        Surgical Trays…           12/4/2020   A4550      $750.00
1043500-01    J.L.                     EMUSC LLC                         Arthrocentesis Aspir&/Inj Major J…  12/24/2018   20611      $554.37
1043500-01    J.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy 2/>C… 1/22/2019       29876     $3,026.24
1043500-01    J.L.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Kne Surg W/Meniscectomy Me… 1/22/2019       29881     $1,472.45
1043500-01    J.L.     NYEEQASC LLC d/b/a North Queens Surgical Center     Unlisted Procedure Arthroscopy…    1/22/2019   29999     $1,472.45
1043500-01    J.L.     NYEEQASC LLC d/b/a North Queens Surgical Center    Arthroscopy, Knee, Surgical, For …  1/22/2019   G0289     $1,472.45
1043531-02    M.M.           Fifth Avenue Surgery Center LLC            Arthroscopy Knee Synovectomy Limi… 3/29/2019      29875     $1,472.45
1043531-02    M.M.           Fifth Avenue Surgery Center LLC           Arthrs Knee W/Meniscectomy Med&La… 3/29/2019       29880     $3,026.24
1043531-02    M.M.           Fifth Avenue Surgery Center LLC             Injection Anesthetic Agent Femora…   3/29/2019   64447      $829.30
1043531-02    M.M.           Fifth Avenue Surgery Center LLC            Us Guidance Needle Placement Img …    3/29/2019   76942      $341.96
1043531-02    M.M.           Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…   1/17/2020   22526     $2,646.47
1043531-02    M.M.           Island Ambulatory Surgery Center           Dcmprn Perq Nucleus Pulposus 1/> …    1/17/2020   62287     $5,292.93
1043540-01    L.S.                Avicenna Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/22/2019   62321      $829.30
1043540-01    L.S.                Avicenna Surgery Center                        Epidurograpy Rs&I…           1/22/2019   72275      $572.52
1043540-01    L.S.               Accelerated Surgical Center              Injection Single/Mlt Trigger Poin…  2/13/2019   20553      $161.46
1043540-01    L.S.               Accelerated Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/13/2019   62323     $1,518.48
1043540-01    L.S.               Accelerated Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/6/2019   62321     $1,518.48
1043540-01    L.S.               Accelerated Surgical Center              Injection Single/Mlt Trigger Poin…  3/20/2019   20553      $161.46
1043540-01    L.S.               Accelerated Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/20/2019   62323     $1,518.48
1043540-01    L.S.               Accelerated Surgical Center              Injection Single/Mlt Trigger Poin…  4/17/2019   20553      $161.46
1043540-01    L.S.               Accelerated Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/17/2019   62323     $1,518.48
1043540-01    L.S.              Surgicore of Jersey City LLC             Tenotomy Shoulder Area 1 Tendon…      6/7/2019   23405     $3,760.88
1043540-01    L.S.              Surgicore of Jersey City LLC            Arthroscopy Shoulder Surgical Rem…     6/7/2019   29819     $1,472.45
1043540-01    L.S.              Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…     6/7/2019   29821     $1,472.45
1043540-01    L.S.              Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Debride…    6/7/2019   29823     $1,472.45
1043540-01    L.S.              Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …    6/7/2019   29825     $1,472.45
1043540-01    L.S.              Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …    6/7/2019   64415      $979.78
1043540-01    L.S.              Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …     6/7/2019   76942      $341.96
1044412-01    Y.C.              Surgicore of Jersey City LLC              Injection Single/Mlt Trigger Poin…  1/26/2019   20553      $236.69
1044412-01    Y.C.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L… 1/26/2019      64483      $979.78
1044412-01    Y.C.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L… 1/26/2019      64483      $449.21
1044412-01    Y.C.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L… 1/26/2019      64484      $449.21
1044412-01    Y.C.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L… 1/26/2019      64484      $449.21
1044412-01    Y.C.              Surgicore of Jersey City LLC                     Epidurograpy Rs&I…           1/26/2019   72275      $572.53
1044412-01    Y.C.              Surgicore of Jersey City LLC              Injection Single/Mlt Trigger Poin…   3/9/2019   20553      $236.69
1044412-01    Y.C.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L…     3/9/2019   64483      $447.52
1044412-01    Y.C.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L…     3/9/2019   64483      $976.38
1044412-01    Y.C.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L…     3/9/2019   64484      $447.52
1044412-01    Y.C.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L…     3/9/2019   64484      $447.52
1044412-01    Y.C.                     EMUSC LLC                         Anes Arthrs Humeral H/N Strnclav …    4/3/2019    1630      $135.05
1044412-01    Y.C.                     EMUSC LLC                         Arthroscopy Shoulder Surg Debride…    4/3/2019   29823     $3,025.86
1044412-01    Y.C.                     EMUSC LLC                        Arthroscopy Shoulder W/Coracoacrm…     4/3/2019   29826     $1,512.93
1044412-04    M.M.              Surgicore of Jersey City LLC              Injection Single/Mlt Trigger Poin…  1/26/2019   20553      $236.69
1044412-04    M.M.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L… 1/26/2019      64483      $449.21
1044412-04    M.M.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L… 1/26/2019      64483      $979.78
1044412-04    M.M.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L… 1/26/2019      64484      $449.21
1044412-04    M.M.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L… 1/26/2019      64484      $449.21
1044412-04    M.M.              Surgicore of Jersey City LLC             Fluor Needle/Cath Spine/Paraspina…   1/26/2019   77003      $572.53
1044412-04    M.M.              Surgicore of Jersey City LLC              Injection Single/Mlt Trigger Poin…   2/9/2019   20553      $236.69
1044412-04    M.M.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L…     2/9/2019   64483      $449.21
1044412-04    M.M.              Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L…     2/9/2019   64483      $979.78

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                                                          1956
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                        Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1044412-04    M.M.             Surgicore of Jersey City LLC              Njx Anes&/Strd W/Img Tfrml Edrl L…     2/9/2019   64484      $449.21
1044412-04    M.M.             Surgicore of Jersey City LLC              Njx Anes&/Strd W/Img Tfrml Edrl L…     2/9/2019   64484      $449.21
1044412-04    M.M.             Surgicore of Jersey City LLC                       Epidurograpy Rs&I…            2/9/2019   72275      $572.53
1044412-04    M.M.             Surgicore of Jersey City LLC                Injection Single/Mlt Trigger Poin…  2/23/2019   20553      $236.69
1044412-04    M.M.             Surgicore of Jersey City LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/23/2019   62321      $976.38
1044412-04    M.M.             Surgicore of Jersey City LLC                       Epidurograpy Rs&I…           2/23/2019   72275      $572.53
1044412-04    M.M.                     EMUSC LLC                         Collection Venous Blood Venipunct…    4/19/2019   36415       $10.08
1044412-04    M.M.                     EMUSC LLC                            Comprehensive Metabolic Panel…     4/19/2019   80053       $23.41
1044412-04    M.M.                     EMUSC LLC                                      Lipid Panel…             4/19/2019   80061       $31.07
1044412-04    M.M.                     EMUSC LLC                            Hemoglobin Glycosylated A1C…       4/19/2019   83036       $21.79
1044412-04    M.M.                     EMUSC LLC                        Blood Count Complete Auto&Auto Di… 4/19/2019       85025       $14.93
1044412-04    M.M.                     EMUSC LLC                                   Prothrombin Time…           4/19/2019   85610       $11.31
1044412-04    M.M.                     EMUSC LLC                          Thromboplastin Time Partial Plasm…   4/19/2019   85730       $13.72
1044412-04    M.M.                     EMUSC LLC                         Ecg Routine Ecg W/Least 12 Lds W/…    4/19/2019   93000       $72.95
1044412-04    M.M.                     EMUSC LLC                          Office Outpatient New 30 Minutes…    4/19/2019   99203      $142.62
1044412-04    M.M.                     EMUSC LLC                          Office Outpatient New 30 Minutes…     5/2/2019   99203      $142.62
1044412-04    M.M.                     EMUSC LLC                          Anes Open/Surg Arthroscopic Proc …    5/8/2019    1400      $108.04
1044412-04    M.M.                     EMUSC LLC                          Arthrs Knee Abrasion Arthrp/Mlt D…    5/8/2019   29879     $1,512.93
1044412-04    M.M.                     EMUSC LLC                          Arthrs Knee Abrasion Arthrp/Mlt D…    5/8/2019   29879     $1,512.93
1044412-04    M.M.                     EMUSC LLC                        Arthrs Knee W/Meniscectomy Med&La… 5/8/2019        29880     $3,025.86
1044412-04    M.M.                     EMUSC LLC                        Arthrs Knee W/Meniscectomy Med&La… 5/8/2019        29880     $3,025.86
1044412-04    M.M.                     EMUSC LLC                          Anes Arthrs Humeral H/N Strnclav …   7/24/2019    1630      $135.05
1044412-04    M.M.                     EMUSC LLC                          Arthroscopy Shoulder Surg Debride…   7/24/2019   29823     $3,025.86
1044412-04    M.M.                     EMUSC LLC                         Arthroscopy Shoulder W/Coracoacrm… 7/24/2019      29826     $1,512.93
1043278-04    R.I.             Surgicore of Jersey City LLC               Manipulation Spine Requiring Anes…   1/22/2019   22505      $748.08
1043278-04    R.I.             Surgicore of Jersey City LLC              Manj W/Anes Shoulder Joint W/Fixa…    1/22/2019   23700     $1,577.52
1043278-04    R.I.             Surgicore of Jersey City LLC              Clsd Tx Pelvic Ring Fx W/Manipula…    1/22/2019   27198      $418.79
1043278-04    R.I.             Surgicore of Jersey City LLC               Manipulation Spine Requiring Anes…   1/31/2019   22505      $748.08
1043278-04    R.I.             Surgicore of Jersey City LLC              Manj W/Anes Shoulder Joint W/Fixa…    1/31/2019   23700     $1,577.52
1043278-04    R.I.             Surgicore of Jersey City LLC              Clsd Tx Pelvic Ring Fx W/Manipula…    1/31/2019   27198      $418.79
1043278-04    R.I.        Health East Ambulatory Surgical Center         Arthroscopy Knee Synovectomy 2/>C…     2/4/2019   29876     $1,998.86
1043278-04    R.I.        Health East Ambulatory Surgical Center        Arthrs Knee W/Meniscectomy Med&La… 2/4/2019        29880     $3,997.71
1043278-04    R.I.        Health East Ambulatory Surgical Center           Injection Anesthetic Agent Sciati…   2/4/2019   64445      $267.93
1043278-04    R.I.        Health East Ambulatory Surgical Center          Injection Anesthetic Agent Femora…    2/4/2019   64447      $110.57
1043278-04    R.I.             Surgicore of Jersey City LLC               Manipulation Spine Requiring Anes…    2/7/2019   22505      $748.08
1043278-04    R.I.             Surgicore of Jersey City LLC              Manj W/Anes Shoulder Joint W/Fixa…     2/7/2019   23700     $1,577.52
1043278-04    R.I.             Surgicore of Jersey City LLC              Clsd Tx Pelvic Ring Fx W/Manipula…     2/7/2019   27198      $418.79
1044017-01    A.M.              Accelerated Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/13/2019   64493     $3,036.96
1044017-01    A.M.              Accelerated Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/13/2019   64494     $1,067.84
1044017-01    A.M.              Accelerated Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/13/2019   64495     $1,067.84
1044017-01    A.M.              Accelerated Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/27/2019   64493     $3,036.96
1044017-01    A.M.              Accelerated Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/27/2019   64494     $1,067.84
1044017-01    A.M.              Accelerated Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/17/2019   64493     $3,036.96
1044017-01    A.M.              Accelerated Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/17/2019   64494     $1,067.84
1044017-01    A.M.              Accelerated Surgical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/17/2019   64495     $1,067.84
1044017-01    A.M.              Accelerated Surgical Center                Dstr Nrolytc Agnt Parverteb Fct S…   5/1/2019   64635     $2,560.02
1044017-01    A.M.              Accelerated Surgical Center               Dstr Nrolytc Agnt Parverteb Fct A…    5/1/2019   64636     $1,518.48
1044017-01    A.M.              Accelerated Surgical Center               Dstr Nrolytc Agnt Parverteb Fct A…    5/1/2019   64636     $1,518.48
1044017-01    A.M.              Accelerated Surgical Center                Dstr Nrolytc Agnt Parverteb Fct S…  5/22/2019   64635     $2,560.02
1044017-01    A.M.              Accelerated Surgical Center               Dstr Nrolytc Agnt Parverteb Fct A…   5/22/2019   64636     $1,518.48
1044017-01    A.M.              Accelerated Surgical Center               Dstr Nrolytc Agnt Parverteb Fct A…   5/22/2019   64636     $1,518.48
1044017-01    A.M.          Rockaways ASC Development LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  10/26/2019   64493      $976.38
1044839-02    D.G.             Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Debride…    3/7/2019   29823     $3,026.24
1044839-02    D.G.             Surgicore of Jersey City LLC               Arthroscopy Shoulder Ahesiolysis …    3/7/2019   29825     $1,472.45
1044839-02    D.G.             Surgicore of Jersey City LLC               Single Nerve Block Injection Arm …    3/7/2019   64415      $979.78
1044839-02    D.G.             Surgicore of Jersey City LLC              Us Guidance Needle Placement Img …     3/7/2019   76942      $341.96
1044839-02    D.G.                      AMSC LLC                           Injection Single/Mlt Trigger Poin…  4/17/2019   20553      $277.37
1044839-02    D.G.                      AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/17/2019   62323      $976.38
1044839-02    D.G.                      AMSC LLC                                  Epidurograpy Rs&I…           4/17/2019   72275      $572.52
1044839-02    D.G.                      AMSC LLC                         Us Guidance Needle Placement Img …    4/17/2019   76942      $423.32
1043836-02    C.G.     Surgicore LLC d/b/a Surgicore Surgical Center      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/19/2019   62323      $829.30
1043836-02    C.G.     Surgicore LLC d/b/a Surgicore Surgical Center              Epidurograpy Rs&I…           1/19/2019   72275      $572.52
1043836-02    C.G.     Surgicore LLC d/b/a Surgicore Surgical Center      Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/2/2019   62321      $829.30
1043836-02    C.G.     Surgicore LLC d/b/a Surgicore Surgical Center              Epidurograpy Rs&I…            2/2/2019   72275      $572.52
1043836-02    C.G.             Dynamic Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   9/15/2019   62321      $863.63
1043836-02    C.G.           New Horizon Surgical Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/8/2020   64490      $447.52
1043836-02    C.G.           New Horizon Surgical Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/8/2020   64490      $976.38
1043836-02    C.G.           New Horizon Surgical Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/8/2020   64491      $447.52

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                                                          1957
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1043836-02    C.G.          New Horizon Surgical Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/8/2020   64491      $447.52
1043836-02    C.G.          New Horizon Surgical Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/8/2020   64492      $447.52
1043836-02    C.G.          New Horizon Surgical Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/8/2020   64492      $447.52
1043836-02    C.G.          New Horizon Surgical Center LLC                  Dstr Nrolytc Agnt Parverteb Fct S…   2/15/2020   64633      $976.38
1043836-02    C.G.          New Horizon Surgical Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   2/15/2020   64634      $447.52
1043836-02    C.G.          New Horizon Surgical Center LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   2/15/2020   64634      $447.52
1043836-02    C.G.          New Horizon Surgical Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    3/7/2020   64490      $976.38
1043836-02    C.G.          New Horizon Surgical Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    3/7/2020   64491      $447.52
1043836-02    C.G.          New Horizon Surgical Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    3/7/2020   64492      $447.52
1042074-01    S.S.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…    12/7/2018   22505      $748.08
1042074-01    S.S.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…     12/7/2018   23700     $1,577.52
1042074-01    S.S.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…     12/7/2018   27198      $418.79
1042074-01    S.S.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…   12/10/2018   22505      $748.08
1042074-01    S.S.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa… 12/10/2018      23700     $1,577.52
1042074-01    S.S.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula… 12/10/2018      27198      $418.79
1042074-01    S.S.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…   12/14/2018   22505      $748.08
1042074-01    S.S.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa… 12/14/2018      23700     $1,577.52
1042074-01    S.S.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula… 12/14/2018      27198      $418.79
1042074-01    S.S.             Dynamic Surgery Center LLC                     Injection Single/Mlt Trigger Poin…  1/28/2019   20553      $107.64
1042074-01    S.S.             Dynamic Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/28/2019   62323     $1,012.32
1042074-01    S.S.             Dynamic Surgery Center LLC                            Epidurograpy Rs&I…           1/28/2019   72275      $572.81
1041961-01    J.R.        Health East Ambulatory Surgical Center           Auto Bone Marrw Cell Rx Complt Bo… 5/12/2021       0263T     $5,500.00
1041961-01    J.R.          Fifth Avenue Surgery Center LLC                Auto Bone Marrw Cell Rx Complt Bo… 1/26/2022       0263T     $3,382.28
1041961-01    J.R.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…    1/26/2022   64447      $829.30
1041961-01    J.R.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     1/26/2022   76942      $341.96
1041961-01    J.R.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 1/26/2022       E0650      $531.06
1041961-01    J.R.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …     1/26/2022   E0666       $89.56
1042294-02    M.V.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C… 1/25/2019       29876     $3,026.24
1042294-02    M.V.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 1/25/2019        29880     $1,472.45
1042294-02    M.V.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For …   1/25/2019   G0289     $1,472.45
1042294-02    M.V.        All City Family Healthcare Center, Inc.           Njx Pltlt Plasma W/Img Harvest/Pr…    3/22/2019   0232T      $437.96
1042294-02    M.V.        All City Family Healthcare Center, Inc.           Injection 1 Tendon Sheath/Ligamen…    3/22/2019   20550      $236.69
1042294-02    M.V.        All City Family Healthcare Center, Inc.            Injection Single Tendon Origin/In…   3/22/2019   20551      $236.69
1042294-02    M.V.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Interm …   3/22/2019   20605      $236.69
1042294-02    M.V.        All City Family Healthcare Center, Inc.          Tenotomy Elbow Lateral/Medial Per…     3/22/2019   24357     $3,111.71
1042294-02    M.V.                     EMUSC LLC                           Discectomy Ant Dcmprn Cord Cervic… 10/7/2019       63075     $5,827.05
1042294-02    M.V.                     EMUSC LLC                           Discectomy Ant Dcmprn Cord Cervic… 10/7/2019       63076     $2,913.52
1042294-02    M.V.                     EMUSC LLC                            Anesthesia Extensive Spine & Spin…    10/7/2019    670       $351.13
1042294-02    M.V.                     EMUSC LLC                             Prosthetic Implant, Not Otherwise…   10/7/2019   L8699      $600.00
1041957-01    M.V.                      AMSC LLC                              Injection Single/Mlt Trigger Poin…  2/13/2019   20553      $554.74
1041957-01    M.V.                      AMSC LLC                             Arthrocentesis Aspir&/Inj Major J…   2/13/2019   20610      $554.74
1041957-01    M.V.                      AMSC LLC                            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/13/2019   64493     $1,952.76
1041957-01    M.V.                      AMSC LLC                            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/13/2019   64494     $1,952.76
1041957-01    M.V.                      AMSC LLC                            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/13/2019   64495     $1,952.76
1041957-01    M.V.                      AMSC LLC                           Us Guidance Needle Placement Img …     2/13/2019   76942      $423.32
1041957-01    M.V.                      AMSC LLC                            Fluoroscopic Guidance Needle Plac…    2/13/2019   77002      $572.52
1041957-01    M.V.                      AMSC LLC                              Injection Single/Mlt Trigger Poin…   4/7/2019   20553      $277.37
1041957-01    M.V.                      AMSC LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/7/2019   62323      $488.19
1041957-01    M.V.                      AMSC LLC                                     Epidurograpy Rs&I…            4/7/2019   72275      $572.52
1041957-01    M.V.                      AMSC LLC                           Us Guidance Needle Placement Img …      4/7/2019   76942      $423.32
1041957-01    M.V.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/12/2019   62323      $976.38
1041957-01    M.V.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…           6/12/2019   72275      $572.52
1040855-01    E.S.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…     9/9/2019   29821     $1,472.45
1040855-01    E.S.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…     9/9/2019   29823     $3,026.24
1040855-01    E.S.        All City Family Healthcare Center, Inc.            Arthroscopy Shoulder Ahesiolysis …    9/9/2019   29825     $1,472.45
1040855-01    E.S.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…      9/9/2019   29826     $1,472.45
1040855-01    E.S.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …    9/9/2019   64415      $979.78
1040855-01    E.S.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …      9/9/2019   76942      $341.96
1040855-01    E.S.          Millennium Amb Surgery Ctr LLC                    Injection Single/Mlt Trigger Poin…  1/23/2020   20553      $250.00
1040855-01    E.S.          Millennium Amb Surgery Ctr LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/23/2020   62323     $1,266.65
1040855-01    E.S.          Millennium Amb Surgery Ctr LLC                           Epidurograpy Rs&I…           1/23/2020   72275      $600.00
1040855-01    E.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/7/2021   62323      $976.38
1040855-01    E.S.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…            1/7/2021   72275      $572.52
1040879-02    S.T.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct S…   9/11/2021   64635      $976.38
1040879-02    S.T.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   9/11/2021   64636      $447.52
1040879-02    S.T.             Surgicore of Jersey City LLC                  Dstr Nrolytc Agnt Parverteb Fct A…   9/11/2021   64636      $447.52
1040879-02    S.T.             Surgicore of Jersey City LLC                 Infectious Agent Detection By Nuc…    9/11/2021   87635       $51.33
1040879-02    S.T.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…    9/11/2021   A4649       $50.00

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  Claim      Covered                                                                                            Date of     Billing   Amount
                                       Provider                                        Service
 Number      Person                                                                                             Service     Code       Billed
1040879-02    S.T.            Surgicore of Jersey City LLC                 Dstr Nrolytc Agnt Parverteb Fct S…   9/25/2021   64635      $976.38
1040879-02    S.T.            Surgicore of Jersey City LLC                 Dstr Nrolytc Agnt Parverteb Fct A…   9/25/2021   64636      $447.52
1040879-02    S.T.            Surgicore of Jersey City LLC                 Dstr Nrolytc Agnt Parverteb Fct A…   9/25/2021   64636      $447.52
1040879-02    S.T.            Surgicore of Jersey City LLC                  Surgical Supply; Miscellaneous…     9/25/2021   A4649       $50.00
1040879-02    S.T.            Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/26/2022   62323      $976.38
1040879-02    S.T.             Hudson Regional Hospital                     Comprehensive Metabolic Panel…       4/7/2022   80053      $150.00
1040879-02    S.T.             Hudson Regional Hospital                  Drug Tst Prsmv Instrmnt Chem Anal…      4/7/2022   80307      $359.15
1040879-02    S.T.             Hudson Regional Hospital                   Urnls Dip Stick/Tablet Reagent Au…     4/7/2022   81001      $134.00
1040879-02    S.T.             Hudson Regional Hospital                     Hemoglobin Glycosylated A1C…         4/7/2022   83036       $66.70
1040879-02    S.T.             Hudson Regional Hospital                    Gonadotropin Chorionic Qualitativ…    4/7/2022   84703       $51.65
1040879-02    S.T.             Hudson Regional Hospital                  Blood Count Complete Auto&Auto Di…      4/7/2022   85025      $147.00
1040879-02    S.T.             Hudson Regional Hospital                            Prothrombin Time…             4/7/2022   85610      $143.00
1040879-02    S.T.             Hudson Regional Hospital                   Thromboplastin Time Partial Plasm…     4/7/2022   85730      $147.00
1040879-02    S.T.             Hudson Regional Hospital                  Antibody Screen Rbc Each Serum Te…      4/7/2022   86850      $105.80
1040879-02    S.T.             Hudson Regional Hospital                     Blood Typing Serologic Rh (D)…       4/7/2022   86901       $56.95
1040879-02    S.T.             Hudson Regional Hospital                    Culture Bacterial Quanttative Col…    4/7/2022   87086      $212.00
1040879-02    S.T.             Hudson Regional Hospital                   Infectious Agent Detection By Nuc…     4/7/2022   87635     $1,200.00
1040879-02    S.T.             Hudson Regional Hospital                    Iadna S Aureus Methicillin Resist…    4/7/2022   87641      $241.40
1040879-02    S.T.             Hudson Regional Hospital                   Ecg Routine Ecg W/Least 12 Lds Tr…     4/7/2022   93005      $323.70
1040879-02    S.T.             Hudson Regional Hospital                     Actinotherapy Ultraviolet Light…     4/7/2022   96900      $498.84
1040879-02    S.T.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/13/2022   64490      $976.38
1040879-02    S.T.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/13/2022   64491      $447.52
1040879-02    S.T.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   12/6/2022   64490      $976.38
1040879-02    S.T.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   12/6/2022   64491      $447.52
1040879-02    S.T.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/11/2023   64490      $976.38
1040879-02    S.T.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/11/2023   64491      $447.52
1040879-02    S.T.            Surgicore of Jersey City LLC                 Dstr Nrolytc Agnt Parverteb Fct S…   6/20/2023   64633      $976.38
1040879-02    S.T.            Surgicore of Jersey City LLC                 Dstr Nrolytc Agnt Parverteb Fct A…   6/20/2023   64634      $447.52
1040879-02    S.T.            Surgicore of Jersey City LLC                 Dstr Nrolytc Agnt Parverteb Fct A…   6/20/2023   64634      $447.52
1040879-02    S.T.               Hudson Surgery Center                     Injection Single/Mlt Trigger Poin…   3/18/2024   20553      $279.23
1040879-02    S.T.               Hudson Surgery Center                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/18/2024   62323      $980.10
1040879-02    S.T.               Hudson Surgery Center                     Injection Single/Mlt Trigger Poin…   8/12/2024   20553      $279.23
1040879-02    S.T.               Hudson Surgery Center                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/12/2024   62323      $980.10
1040508-01    A.C.        New York Center For Specialty Surgery           Manipulation Spine Requiring Anes…    12/9/2018   22505       $36.82
1040508-01    A.C.        New York Center For Specialty Surgery           Manipulation Spine Requiring Anes…    12/9/2018   22505      $147.27
1040508-01    A.C.        New York Center For Specialty Surgery          Manj W/Anes Shoulder Joint W/Fixa…     12/9/2018   23700      $739.80
1040508-01    A.C.        New York Center For Specialty Surgery          Manj W/Anes Shoulder Joint W/Fixa…     12/9/2018   23700      $184.95
1040508-01    A.C.        New York Center For Specialty Surgery           Closed Treatment Of Pelvic Ring F…    12/9/2018   27194      $249.08
1040508-01    A.C.        New York Center For Specialty Surgery           Closed Treatment Of Pelvic Ring F…    12/9/2018   27194      $996.32
1040508-01    A.C.        New York Center For Specialty Surgery           Manipulation Hip Joint General An…    12/9/2018   27275      $184.95
1040508-01    A.C.        New York Center For Specialty Surgery           Manipulation Hip Joint General An…    12/9/2018   27275      $739.80
1040508-01    A.C.        New York Center For Specialty Surgery            Office Outpatient New 45 Minutes…    12/9/2018   99204      $236.94
1040508-01    A.C.                    SCOB LLC                            Manipulation Spine Requiring Anes…    12/9/2018   22505     $1,577.52
1040508-01    A.C.                    SCOB LLC                           Manj W/Anes Shoulder Joint W/Fixa…     12/9/2018   23700      $748.08
1040508-01    A.C.                    SCOB LLC                            Clsd Tx Pelvic Ring Fx W/Manipula…    12/9/2018   27198      $418.79
1040508-01    A.C.                    SCOB LLC                            Manipulation Hip Joint General An…    12/9/2018   27275      $748.08
1040508-01    A.C.        New York Center For Specialty Surgery           Manipulation Spine Requiring Anes…    1/20/2019   22505       $36.82
1040508-01    A.C.        New York Center For Specialty Surgery          Manj W/Anes Shoulder Joint W/Fixa…     1/20/2019   23700      $739.80
1040508-01    A.C.        New York Center For Specialty Surgery           Closed Treatment Of Pelvic Ring F…    1/20/2019   27194      $996.32
1040508-01    A.C.        New York Center For Specialty Surgery           Manipulation Hip Joint General An…    1/20/2019   27275      $739.80
1040508-01    A.C.                    SCOB LLC                            Manipulation Spine Requiring Anes…    1/20/2019   22505     $1,577.52
1040508-01    A.C.                    SCOB LLC                           Manj W/Anes Shoulder Joint W/Fixa…     1/20/2019   23700      $748.08
1040508-01    A.C.                    SCOB LLC                            Clsd Tx Pelvic Ring Fx W/Manipula…    1/20/2019   27198      $405.94
1040508-01    A.C.                    SCOB LLC                            Manipulation Hip Joint General An…    1/20/2019   27275      $748.08
1040508-01    A.C.        New York Center For Specialty Surgery           Manipulation Spine Requiring Anes…    1/21/2019   22505       $36.82
1040508-01    A.C.        New York Center For Specialty Surgery           Manipulation Spine Requiring Anes…    1/21/2019   22505      $147.27
1040508-01    A.C.        New York Center For Specialty Surgery          Manj W/Anes Shoulder Joint W/Fixa…     1/21/2019   23700      $184.95
1040508-01    A.C.        New York Center For Specialty Surgery          Manj W/Anes Shoulder Joint W/Fixa…     1/21/2019   23700      $739.80
1040508-01    A.C.        New York Center For Specialty Surgery           Closed Treatment Of Pelvic Ring F…    1/21/2019   27194      $249.08
1040508-01    A.C.        New York Center For Specialty Surgery           Closed Treatment Of Pelvic Ring F…    1/21/2019   27194      $996.32
1040508-01    A.C.        New York Center For Specialty Surgery           Manipulation Hip Joint General An…    1/21/2019   27275      $184.95
1040508-01    A.C.        New York Center For Specialty Surgery           Manipulation Hip Joint General An…    1/21/2019   27275      $739.80
1040508-01    A.C.                    SCOB LLC                            Manipulation Spine Requiring Anes…    1/21/2019   22505     $1,577.52
1040508-01    A.C.                    SCOB LLC                           Manj W/Anes Shoulder Joint W/Fixa…     1/21/2019   23700      $748.08
1040508-01    A.C.                    SCOB LLC                            Clsd Tx Pelvic Ring Fx W/Manipula…    1/21/2019   27198      $405.94
1040508-01    A.C.                    SCOB LLC                            Manipulation Hip Joint General An…    1/21/2019   27275      $748.08
1040508-01    A.C.                    AMSC LLC                             Injection Single/Mlt Trigger Poin…    5/8/2019   20552      $277.37
1040508-01    A.C.                    AMSC LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/8/2019   62323      $976.38

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  Claim      Covered                                                                                           Date of     Billing   Amount
                                        Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1040508-01    A.C.                      AMSC LLC                                  Epidurograpy Rs&I…            5/8/2019   72275      $572.52
1040508-01    A.C.                      AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/22/2019   62323      $976.38
1040508-01    A.C.                      AMSC LLC                                  Epidurograpy Rs&I…           5/22/2019   72275      $572.52
1040508-01    A.C.          Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…  6/24/2019   20552      $277.37
1040508-01    A.C.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/24/2019   62323      $976.38
1040508-01    A.C.          Rockaways ASC Development LLC                         Epidurograpy Rs&I…           6/24/2019   72275      $572.52
1040693-03    A.P.           Island Ambulatory Surgery Center              Injection Single/Mlt Trigger Poin…  1/23/2019   20553      $277.37
1040693-03    A.P.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/23/2019   62323      $829.30
1040693-03    A.P.           Island Ambulatory Surgery Center                     Epidurograpy Rs&I…           1/23/2019   72275      $572.52
1040693-03    A.P.        All City Family Healthcare Center, Inc.        Arthroscopy Knee Synovectomy Limi…     2/8/2019   29875     $3,026.24
1040693-03    A.P.        All City Family Healthcare Center, Inc.       Arthrs Knee W/Meniscectomy Med&La… 2/8/2019        29880     $1,472.45
1040693-03    A.P.        All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical, For …   2/8/2019   G0289     $1,472.45
1040386-01    C.W.     Surgicore LLC d/b/a Surgicore Surgical Center      Manipulation Spine Requiring Anes…    3/9/2019   22505      $748.08
1040386-01    C.W.     Surgicore LLC d/b/a Surgicore Surgical Center     Manj W/Anes Shoulder Joint W/Fixa…     3/9/2019   23700     $1,577.52
1040386-01    C.W.     Surgicore LLC d/b/a Surgicore Surgical Center     Clsd Tx Pelvic Ring Fx W/Manipula…     3/9/2019   27198      $405.95
1040386-01    C.W.     Surgicore LLC d/b/a Surgicore Surgical Center      Manipulation Hip Joint General An…    3/9/2019   27275      $748.08
1040386-01    C.W.     Surgicore LLC d/b/a Surgicore Surgical Center      Manipulation Spine Requiring Anes…   3/16/2019   22505      $748.08
1040386-01    C.W.     Surgicore LLC d/b/a Surgicore Surgical Center     Manj W/Anes Shoulder Joint W/Fixa…    3/16/2019   23700     $1,577.52
1040386-01    C.W.     Surgicore LLC d/b/a Surgicore Surgical Center     Clsd Tx Pelvic Ring Fx W/Manipula…    3/16/2019   27198      $405.95
1040386-01    C.W.     Surgicore LLC d/b/a Surgicore Surgical Center      Manipulation Hip Joint General An…   3/16/2019   27275      $748.08
1040386-01    C.W.     Surgicore LLC d/b/a Surgicore Surgical Center      Manipulation Spine Requiring Anes…   3/30/2019   22505      $748.08
1040386-01    C.W.     Surgicore LLC d/b/a Surgicore Surgical Center     Manj W/Anes Shoulder Joint W/Fixa…    3/30/2019   23700     $1,577.52
1040386-01    C.W.     Surgicore LLC d/b/a Surgicore Surgical Center     Clsd Tx Pelvic Ring Fx W/Manipula…    3/30/2019   27198      $405.95
1040386-01    C.W.     Surgicore LLC d/b/a Surgicore Surgical Center      Manipulation Hip Joint General An…   3/30/2019   27275      $748.08
1040386-01    C.W.               Accelerated Surgical Center             Njx Anes&/Strd W/Img Tfrml Edrl L…     7/8/2019   64483     $1,518.48
1040386-01    C.W.               Accelerated Surgical Center             Njx Anes&/Strd W/Img Tfrml Edrl L…     7/8/2019   64484      $776.84
1040386-01    C.W.               Accelerated Surgical Center             Njx Anes&/Strd W/Img Tfrml Edrl L…     7/8/2019   64484      $776.84
1041218-01    H.V.              Surgicore of Jersey City LLC              Arthrocentesis Aspir&/Inj Major J…  12/18/2018   20610      $236.69
1041218-01    H.V.              Surgicore of Jersey City LLC             Arthroscopy Knee Synovectomy 2/>C… 12/18/2018     29876     $1,472.45
1041218-01    H.V.              Surgicore of Jersey City LLC            Arthrs Knee W/Meniscectomy Med&La… 12/18/2018      29880     $3,026.24
1041218-01    H.V.              Surgicore of Jersey City LLC               Arthroscopy, Knee, Surgical, For … 12/18/2018   G0289     $1,472.45
1041218-01    H.V.                      AMSC LLC                           Injection Single/Mlt Trigger Poin…  2/12/2019   20553      $554.74
1041218-01    H.V.                      AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/12/2019   62323      $976.38
1041218-01    H.V.                      AMSC LLC                                  Epidurograpy Rs&I…           2/12/2019   72275      $572.52
1041218-01    H.V.                      AMSC LLC                         Us Guidance Needle Placement Img …    2/12/2019   76942      $423.32
1041218-01    H.V.                      AMSC LLC                           Injection Single/Mlt Trigger Poin…  4/26/2019   20553      $277.37
1041218-01    H.V.                      AMSC LLC                          Arthrocentesis Aspir&/Inj Major J…   4/26/2019   20611      $470.21
1041218-01    H.V.                      AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/26/2019   62323      $976.38
1041218-01    H.V.                      AMSC LLC                                  Epidurograpy Rs&I…           4/26/2019   72275      $572.52
1041218-01    H.V.                      AMSC LLC                         Us Guidance Needle Placement Img …    4/26/2019   76942      $423.32
1041218-01    H.V.          Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…   7/3/2019   20552      $277.37
1041218-01    H.V.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/3/2019   62321      $976.38
1041218-01    H.V.          Rockaways ASC Development LLC                         Epidurograpy Rs&I…            7/3/2019   72275      $572.52
1041218-01    H.V.          Rockaways ASC Development LLC                Us Guidance Needle Placement Img …     7/3/2019   76942      $211.66
1041218-01    H.V.          Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…  9/28/2019   20552      $554.74
1041218-01    H.V.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/28/2019   62323      $976.38
1041218-01    H.V.          Rockaways ASC Development LLC                         Epidurograpy Rs&I…           9/28/2019   72275      $572.52
1041218-01    H.V.          Rockaways ASC Development LLC                Us Guidance Needle Placement Img …    9/28/2019   76942      $423.32
1040527-02    D.B.           Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…  12/11/2018   20610      $236.69
1040527-02    D.B.           Fifth Avenue Surgery Center LLC             Arthroscopy Knee Synovectomy Limi… 12/11/2018     29875     $1,472.45
1040527-02    D.B.           Fifth Avenue Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La… 12/11/2018      29880     $3,026.24
1040527-02    D.B.           Fifth Avenue Surgery Center LLC              Injection Anesthetic Agent Femora…  12/11/2018   64447      $829.30
1040527-02    D.B.           Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img … 12/11/2018     76942      $341.96
1040527-02    D.B.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical, For … 12/11/2018   G0289     $1,472.45
1040527-02    D.B.              Dynamic Surgery Center LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/9/2019   62323     $1,012.32
1040527-02    D.B.              Dynamic Surgery Center LLC                        Epidurograpy Rs&I…            3/9/2019   72275      $572.81
1040527-02    D.B.        All City Family Healthcare Center, Inc.        Arthroscopy Knee Synovectomy Limi… 7/11/2019      29875     $1,472.45
1040527-02    D.B.        All City Family Healthcare Center, Inc.       Arthrs Knee W/Meniscectomy Med&La… 7/11/2019       29880     $3,026.24
1039877-01    H.L.           Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…   1/15/2019   20610      $236.69
1039877-01    H.L.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…    1/15/2019   29821     $1,472.45
1039877-01    H.L.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Debride…   1/15/2019   29823     $3,026.24
1039877-01    H.L.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …   1/15/2019   29825     $1,472.45
1039877-01    H.L.           Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …   1/15/2019   64415      $829.30
1039877-01    H.L.           Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …    1/15/2019   76942      $341.96
1039877-01    H.L.           Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…   1/22/2019   20610      $236.69
1039877-01    H.L.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…    1/22/2019   29821     $1,472.45
1039877-01    H.L.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Debride…   1/22/2019   29823     $3,026.24
1039877-01    H.L.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …   1/22/2019   29825     $1,472.45

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                                                          1960
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                        Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1039877-01    H.L.           Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …   1/22/2019   64415      $829.30
1039877-01    H.L.           Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …    1/22/2019   76942      $341.96
1039877-01    H.L.        Health East Ambulatory Surgical Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   4/30/2021   62321     $1,012.32
1039877-01    H.L.        Health East Ambulatory Surgical Center                  Epidurograpy Rs&I…           4/30/2021   72275      $442.29
1039877-01    H.L.        Health East Ambulatory Surgical Center         Njx Anes&/Strd W/Img Tfrml Edrl L… 10/8/2021      64483     $1,518.48
1039877-01    H.L.        Health East Ambulatory Surgical Center         Njx Anes&/Strd W/Img Tfrml Edrl L… 10/8/2021      64484      $776.84
1039877-01    H.L.        Health East Ambulatory Surgical Center                  Epidurograpy Rs&I…           10/8/2021   72275      $442.29
1039877-01    H.L.        Health East Ambulatory Surgical Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/18/2022   62323     $1,012.32
1040784-01    L.J.                      AMSC LLC                          Manipulation Spine Requiring Anes…   3/10/2019   22505     $1,577.52
1040784-01    L.J.                      AMSC LLC                         Manj W/Anes Shoulder Joint W/Fixa…    3/10/2019   23700      $748.55
1040784-01    L.J.                      AMSC LLC                         Manj W/Anes Shoulder Joint W/Fixa…    3/10/2019   23700      $748.55
1040784-01    L.J.                      AMSC LLC                         Clsd Tx Pelvic Ring Fx W/Manipula…    3/10/2019   27198      $446.62
1040784-01    L.J.                      AMSC LLC                          Manipulation Spine Requiring Anes…   3/24/2019   22505     $1,577.52
1040784-01    L.J.                      AMSC LLC                         Manj W/Anes Shoulder Joint W/Fixa…    3/24/2019   23700      $748.55
1040784-01    L.J.                      AMSC LLC                         Manj W/Anes Shoulder Joint W/Fixa…    3/24/2019   23700      $748.55
1040784-01    L.J.                      AMSC LLC                          Manipulation Spine Requiring Anes…   3/27/2019   22505     $1,577.52
1040784-01    L.J.                      AMSC LLC                         Manj W/Anes Shoulder Joint W/Fixa…    3/27/2019   23700     $1,497.10
1040784-01    L.J.                      AMSC LLC                         Manj W/Anes Shoulder Joint W/Fixa…    3/27/2019   23700     $1,497.10
1040784-01    L.J.          Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…  6/19/2019   20552      $277.37
1040784-01    L.J.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/19/2019   62321      $976.38
1040784-01    L.J.          Rockaways ASC Development LLC                         Epidurograpy Rs&I…           6/19/2019   72275      $572.52
1040784-01    L.J.          Rockaways ASC Development LLC                Us Guidance Needle Placement Img …    6/19/2019   76942      $211.66
1040784-01    L.J.          Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…  7/30/2019   20552      $554.74
1040784-01    L.J.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/30/2019   62321      $976.38
1040784-01    L.J.          Rockaways ASC Development LLC                         Epidurograpy Rs&I…           7/30/2019   72275      $572.52
1040784-01    L.J.          Rockaways ASC Development LLC                Us Guidance Needle Placement Img …    7/30/2019   76942      $423.32
1040784-01    L.J.                      AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/21/2019   62321      $976.38
1040784-01    L.J.                      AMSC LLC                                  Epidurograpy Rs&I…           8/21/2019   72275      $572.52
1040784-01    L.J.          Rockaways ASC Development LLC                Arthroscopy Knee Synovectomy 2/>C… 11/5/2019      29876     $1,513.12
1040784-01    L.J.          Rockaways ASC Development LLC               Arthrs Kne Surg W/Meniscectomy Me… 11/5/2019       29881     $3,026.24
1040784-01    L.J.               CHC Surgical Center LLC                  Unlisted Procedure Nervous System…  11/15/2019   64999     $5,292.93
1040784-01    L.J.          Rockaways ASC Development LLC                 Arthrocentesis Aspir&/Inj Major J…  12/11/2019   20610      $554.74
1040784-01    L.J.          Rockaways ASC Development LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…  12/11/2019   64490      $976.38
1040784-01    L.J.          Rockaways ASC Development LLC                Us Guidance Needle Placement Img … 12/11/2019     76942      $423.32
1040568-01    S.E.           Fifth Avenue Surgery Center LLC             Arthroscopy Knee Synovectomy Limi… 12/16/2018     29875     $1,472.45
1040568-01    S.E.           Fifth Avenue Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La… 12/16/2018      29880     $3,026.24
1040568-01    S.E.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/20/2022   62321      $980.10
1040568-01    S.E.           Fifth Avenue Surgery Center LLC               Allograft For Spine Surgery Only …  3/11/2023   20930     $3,160.35
1040568-01    S.E.           Fifth Avenue Surgery Center LLC             Arthrd Ant Interbody Decompress C…    3/11/2023   22551     $6,402.03
1040568-01    S.E.           Fifth Avenue Surgery Center LLC               Anterior Instrumentation 2-3 Vert…  3/11/2023   22845     $3,160.34
1040568-01    S.E.           Fifth Avenue Surgery Center LLC              Insj Biomchn Dev Intervertebral D…   3/11/2023   22853     $3,160.34
1040568-01    S.E.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/30/2024   62321      $980.10
1040494-02    M.B.     Surgicore LLC d/b/a Surgicore Surgical Center      Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/3/2019   62323      $976.38
1040494-02    M.B.     Surgicore LLC d/b/a Surgicore Surgical Center              Epidurograpy Rs&I…            4/3/2019   72275      $572.52
1040494-02    M.B.        Health East Ambulatory Surgical Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/19/2019   62323     $1,012.32
1040494-02    M.B.        Health East Ambulatory Surgical Center                  Epidurograpy Rs&I…           4/19/2019   72275      $422.68
1040494-02    M.B.        Health East Ambulatory Surgical Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/10/2019   62323     $1,012.32
1040494-02    M.B.        Health East Ambulatory Surgical Center                  Epidurograpy Rs&I…           5/10/2019   72275      $422.68
1040494-02    M.B.           Fifth Avenue Surgery Center LLC              Tenotomy Shoulder Area 1 Tendon…    11/18/2019   23405     $3,760.88
1040494-02    M.B.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec… 11/18/2019     29821     $1,472.45
1040494-02    M.B.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Debride…  11/18/2019   29823     $1,472.45
1040494-02    M.B.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …  11/18/2019   29825     $1,472.45
1040494-02    M.B.           Fifth Avenue Surgery Center LLC                Unlisted Procedure Arthroscopy…   11/18/2019   29999     $1,472.45
1040494-02    M.B.           Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …  11/18/2019   64415      $979.78
1040494-02    M.B.           Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img … 11/18/2019     76942      $341.96
1040494-02    M.B.        Rockland & Bergen Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/6/2020   62323      $976.38
1040494-02    M.B.        Rockland & Bergen Surgery Center LLC                    Epidurograpy Rs&I…            8/6/2020   72275      $572.53
1040494-02    M.B.        Rockland & Bergen Surgery Center LLC              Surgical Supply; Miscellaneous…     8/6/2020   A4649       $50.00
1038748-02    J.R.        Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Knee Synovectomy 2/>C…     1/7/2019   29876     $1,472.45
1038748-02    J.R.        Bronx SC LLC d/b/a Empire State ASC             Arthrs Knee Abrasion Arthrp/Mlt D…    1/7/2019   29879     $1,472.45
1038748-02    J.R.        Bronx SC LLC d/b/a Empire State ASC           Arthrs Kne Surg W/Meniscectomy Me… 1/7/2019        29881     $3,026.24
1038748-02    J.R.        Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder Surg Synovec…    1/21/2019   29821     $1,472.45
1038748-02    J.R.        Bronx SC LLC d/b/a Empire State ASC             Arthroscopy Shoulder Surg Debride…   1/21/2019   29823     $3,026.24
1038748-02    J.R.        Bronx SC LLC d/b/a Empire State ASC             Arthroscopy Shoulder Ahesiolysis …   1/21/2019   29825     $1,472.45
1038748-02    J.R.        Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder W/Coracoacrm… 1/21/2019      29826     $1,472.45
1038748-02    J.R.               Bergenfield Surgical Center               Injection Single/Mlt Trigger Poin…  7/31/2019   20553      $554.72
1038748-02    J.R.               Bergenfield Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/31/2019   64493     $1,186.02
1038748-02    J.R.               Bergenfield Surgical Center              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/31/2019   64493     $1,186.02

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                                                          1961
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/31/2019   64494      $355.95
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/31/2019   64494      $355.95
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/31/2019   64495      $355.95
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/31/2019   64495      $355.95
1038748-02    J.R.              Bergenfield Surgical Center                  Injection Single/Mlt Trigger Poin…   8/7/2019   20552      $554.74
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/7/2019   64490     $1,186.02
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/7/2019   64490     $1,186.02
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/7/2019   64491      $555.95
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/7/2019   64491      $555.95
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/7/2019   64492      $555.95
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/7/2019   64492      $555.95
1038748-02    J.R.              Bergenfield Surgical Center                  Injection Single/Mlt Trigger Poin…  9/18/2019   20552      $554.74
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/18/2019   62323     $1,012.32
1038748-02    J.R.              Bergenfield Surgical Center                          Epidurograpy Rs&I…          9/18/2019   72275      $572.52
1038748-02    J.R.              Bergenfield Surgical Center                  Injection Single/Mlt Trigger Poin…  10/2/2019   20552      $554.74
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/2/2019   64490     $1,186.02
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/2/2019   64490     $1,186.02
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/2/2019   64491      $555.95
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/2/2019   64491      $555.95
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/2/2019   64492      $555.95
1038748-02    J.R.              Bergenfield Surgical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/2/2019   64492      $555.95
1038748-02    J.R.              Bergenfield Surgical Center                Dcmprn Perq Nucleus Pulposus 1/> …    3/25/2020   62287     $5,827.42
1038748-02    J.R.              Bergenfield Surgical Center                             Surgical Trays…          3/25/2020   A4550      $750.00
1038748-02    J.R.              Bergenfield Surgical Center                  Inject Si Joint Arthrgrphy&/Anes/… 10/29/2021   27096     $1,880.84
1038748-02    J.R.              Bergenfield Surgical Center                             Surgical Trays…         10/29/2021   A4550      $750.00
1038778-02    R.S.        All City Family Healthcare Center, Inc.           Arthrocentesis Aspir&/Inj Major J…  11/14/2018   20610      $236.69
1038778-02    R.S.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Diagnostic W/Wo … 11/14/2018     29870     $3,026.24
1038778-02    R.S.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 11/14/2018     29875     $1,472.45
1038778-02    R.S.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C… 11/14/2018     29876     $1,472.45
1038778-02    R.S.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 11/14/2018      29880     $1,472.45
1038778-02    R.S.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For … 11/14/2018   G0289     $1,472.45
1038778-02    R.S.                     AMSC LLC                             Perq Intrdscl Electrothrm Annulop…    4/2/2019   22526     $2,646.47
1038778-02    R.S.                     AMSC LLC                             Perq Intrdscl Electrothrm Annulop…    4/2/2019   22527     $2,646.47
1038778-02    R.S.                     AMSC LLC                            Dcmprn Perq Nucleus Pulposus 1/> …     4/2/2019   62287     $5,292.93
1039547-01    M.S.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…  11/18/2018   80305      $179.46
1039547-01    M.S.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…  11/18/2018   64490     $1,518.48
1039547-01    M.S.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…  11/18/2018   64491      $533.93
1039547-01    M.S.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…  11/18/2018   64492      $533.93
1039547-01    M.S.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  12/16/2018   64493     $1,518.48
1039547-01    M.S.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  12/16/2018   64494      $533.93
1039547-01    M.S.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  12/16/2018   64494      $533.93
1039547-01    M.S.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…    1/6/2019   80305      $179.46
1039547-01    M.S.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/6/2019   64490     $1,518.48
1039547-01    M.S.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/6/2019   64491      $533.93
1039547-01    M.S.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…    1/6/2019   64492      $533.93
1039547-01    M.S.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surgical Rep…   1/21/2019   29807     $5,677.77
1039547-01    M.S.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…    1/21/2019   29821     $1,472.45
1039547-01    M.S.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   1/21/2019   29823     $1,472.45
1039547-01    M.S.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 1/21/2019      29826     $1,472.45
1039547-01    M.S.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   1/21/2019   64415      $829.30
1039547-01    M.S.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    1/21/2019   76942      $341.96
1039547-01    M.S.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/28/2019   64493     $1,518.48
1039547-01    M.S.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/28/2019   64494      $533.93
1039547-01    M.S.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   4/28/2019   64495      $533.93
1038161-03    C.B.             Dynamic Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/5/2018   62321     $1,012.32
1038161-03    C.B.        New York Center For Specialty Surgery             Manipulation Spine Requiring Anes…  11/26/2018   22505       $36.82
1038161-03    C.B.        New York Center For Specialty Surgery             Manipulation Spine Requiring Anes…  11/26/2018   22505      $147.27
1038161-03    C.B.        New York Center For Specialty Surgery            Manj W/Anes Shoulder Joint W/Fixa… 11/26/2018     23700      $184.95
1038161-03    C.B.        New York Center For Specialty Surgery            Manj W/Anes Shoulder Joint W/Fixa… 11/26/2018     23700      $739.80
1038161-03    C.B.        New York Center For Specialty Surgery             Closed Treatment Of Pelvic Ring F…  11/26/2018   27194      $249.08
1038161-03    C.B.        New York Center For Specialty Surgery             Closed Treatment Of Pelvic Ring F…  11/26/2018   27194      $996.32
1038161-03    C.B.        New York Center For Specialty Surgery             Manipulation Hip Joint General An…  11/26/2018   27275      $184.95
1038161-03    C.B.        New York Center For Specialty Surgery             Manipulation Hip Joint General An…  11/26/2018   27275      $739.80
1038161-03    C.B.        New York Center For Specialty Surgery             Office Outpatient New 45 Minutes…   11/26/2018   99204      $148.70
1038161-03    C.B.                     SCOB LLC                             Manipulation Spine Requiring Anes…  11/26/2018   22505     $1,577.52
1038161-03    C.B.                     SCOB LLC                            Manj W/Anes Shoulder Joint W/Fixa… 11/26/2018     23700      $748.08
1038161-03    C.B.                     SCOB LLC                            Clsd Tx Pelvic Ring Fx W/Manipula… 11/26/2018     27198      $418.79
1038161-03    C.B.                     SCOB LLC                             Manipulation Hip Joint General An…  11/26/2018   27275      $748.08

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                                                          1962
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1038161-03    C.B.        All City Family Healthcare Center, Inc.           Njx Pltlt Plasma W/Img Harvest/Pr…   12/9/2018   0232T      $478.64
1038161-03    C.B.        All City Family Healthcare Center, Inc.           Partial Repair Or Removal Of Shou…   12/9/2018   23130     $1,515.18
1038161-03    C.B.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…    12/9/2018   29821     $1,472.45
1038161-03    C.B.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 12/9/2018      29826     $1,472.45
1038161-03    C.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Rotator Cuff…   12/9/2018   29827     $5,677.77
1038161-03    C.B.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   12/9/2018   64415      $829.30
1038161-03    C.B.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    12/9/2018   76942      $341.96
1039963-01    S.V.               Avicenna Surgery Center                   Arthroscopy Shoulder Surg Synovec…    12/3/2018   29820     $3,026.23
1039963-01    S.V.               Avicenna Surgery Center                    Arthroscopy Shoulder Surg Debride…   12/3/2018   29823     $3,026.23
1039963-01    S.V.               Avicenna Surgery Center                   Arthroscopy Shoulder W/Coracoacrm… 12/3/2018      29826     $3,026.23
1039963-01    S.V.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/2/2019   62321      $829.30
1039963-01    S.V.             Surgicore of Jersey City LLC                         Epidurograpy Rs&I…            2/2/2019   72275      $572.53
1037473-01    A.P.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…   3/4/2019   22526     $2,320.90
1037473-01    A.P.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…   3/4/2019   22527     $2,320.90
1037473-01    A.P.        All City Family Healthcare Center, Inc.          Dcmprn Perq Nucleus Pulposus 1/> …     3/4/2019   62287     $5,827.43
1037473-01    A.P.        All City Family Healthcare Center, Inc.           Injection Px Discography Each Lev…    3/4/2019   62290     $1,043.91
1037473-01    A.P.        All City Family Healthcare Center, Inc.           Injection Px Discography Each Lev…    3/4/2019   62290     $1,043.91
1037473-01    A.P.        All City Family Healthcare Center, Inc.          Njx Anes&/Strd W/Img Tfrml Edrl L…     3/4/2019   64483      $979.78
1037473-01    A.P.        All City Family Healthcare Center, Inc.          Njx Anes&/Strd W/Img Tfrml Edrl L…     3/4/2019   64484      $449.21
1037473-01    A.P.        All City Family Healthcare Center, Inc.                Diskograpy Lumbar Rs&I…          3/4/2019   72295      $286.26
1037473-01    A.P.        All City Family Healthcare Center, Inc.                Diskograpy Lumbar Rs&I…          3/4/2019   72295      $572.53
1037473-01    A.P.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…  4/16/2019   22526     $2,605.78
1037473-01    A.P.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…  4/16/2019   22527     $2,605.78
1037473-01    A.P.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic… 4/16/2019      63075     $5,292.93
1037473-01    A.P.        All City Family Healthcare Center, Inc.          Discectomy Ant Dcmprn Cord Cervic… 4/16/2019      63076     $2,605.78
1037648-01    K.R.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…   12/4/2018   80305      $179.46
1037648-01    K.R.            Healthplus Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/4/2018   62321     $1,012.32
1037648-01    K.R.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…    1/4/2019   80305      $179.46
1037648-01    K.R.            Healthplus Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    1/4/2019   62321     $1,012.32
1037648-01    K.R.            Healthplus Surgery Center LLC                         Epidurograpy Rs&I…            1/4/2019   72275      $572.81
1037648-01    K.R.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 2/21/2019      29875     $1,472.45
1037648-01    K.R.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 2/21/2019       29880     $3,026.24
1037648-01    K.R.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee W/Lysis Adhesion… 2/21/2019      29884     $1,472.45
1037648-01    K.R.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…   2/21/2019   64447      $829.30
1037648-01    K.R.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    2/21/2019   76942      $341.96
1037648-01    K.R.          Fifth Avenue Surgery Center LLC                  Arthroscopy, Knee, Surgical, For …  2/21/2019   G0289     $1,472.45
1037487-01    L.G.       Ambulatory Surgical Center of Englewood             Arthrocentesis Aspir&/Inj Major J… 10/24/2018   20610       $78.92
1037487-01    L.G.       Ambulatory Surgical Center of Englewood            Arthroscopy Shoulder Surgical Rep…  10/24/2018   29807     $8,888.00
1037487-01    L.G.       Ambulatory Surgical Center of Englewood           Arthroscopy Shoulder Surg Synovec… 10/24/2018     29821     $1,616.55
1037487-01    L.G.       Ambulatory Surgical Center of Englewood            Arthroscopy Shoulder Ahesiolysis …  10/24/2018   29825     $3,231.19
1037487-01    L.G.       Ambulatory Surgical Center of Englewood           Arthroscopy Shoulder W/Coracoacrm… 10/24/2018     29826     $1,825.17
1037487-01    L.G.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…   1/29/2019   22505      $748.08
1037487-01    L.G.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…    1/29/2019   23700     $1,577.52
1037487-01    L.G.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    1/29/2019   27198      $418.79
1037487-01    L.G.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…    2/5/2019   22505      $748.08
1037487-01    L.G.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…     2/5/2019   23700     $1,577.52
1037487-01    L.G.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…     2/5/2019   27198      $418.79
1037487-01    L.G.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…    2/7/2019   22505      $748.08
1037487-01    L.G.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…     2/7/2019   23700     $1,577.52
1037487-01    L.G.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…     2/7/2019   27198      $418.79
1037963-05    K.M.        All City Family Healthcare Center, Inc.           Tenotomy Shoulder Area 1 Tendon…     10/7/2018   23405     $1,393.70
1037963-05    K.M.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…    10/7/2018   29821     $3,026.24
1037963-05    K.M.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   10/7/2018   29823     $1,472.45
1037963-05    K.M.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   10/7/2018   64415      $829.30
1037963-05    K.M.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    10/7/2018   76942      $341.96
1037963-05    K.M.       Ambulatory Surgical Center of Englewood             Arthrocentesis Aspir&/Inj Major J… 10/29/2018   20610      $157.95
1037963-05    K.M.       Ambulatory Surgical Center of Englewood            Arthroscopy Wrist Surgical Synove…  10/29/2018   29845     $6,209.00
1037963-05    K.M.       Ambulatory Surgical Center of Englewood           Arthrs Wrst Exc&/Rpr Triang Fibro… 10/29/2018     29846     $6,025.00
1036759-02    S.C.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…  1/18/2019   20610      $554.76
1036759-02    S.C.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…    1/18/2019   23700      $748.08
1036759-02    S.C.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surgical Rep…   1/18/2019   29807     $5,677.77
1036759-02    S.C.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…    1/18/2019   29821     $1,472.45
1036759-02    S.C.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   1/18/2019   29823     $1,472.45
1036759-02    S.C.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 1/18/2019      29826     $1,472.45
1036759-02    S.C.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   1/18/2019   64415      $829.30
1036759-02    S.C.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    1/18/2019   76942      $341.96
1036759-02    S.C.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…   3/1/2019   20610      $236.69
1036759-02    S.C.        All City Family Healthcare Center, Inc.          Manipulation Knee Joint Under Gen…     3/1/2019   27570      $748.08

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                                                           1963
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                         Date of     Billing   Amount
                                         Provider                                    Service
 Number      Person                                                                                          Service     Code       Billed
1036759-02    S.C.          All City Family Healthcare Center, Inc.    Arthroscopy Knee Synovectomy 2/>C…     3/1/2019   29876     $3,026.24
1036759-02    S.C.          All City Family Healthcare Center, Inc.   Arthrs Knee W/Meniscectomy Med&La… 3/1/2019        29880     $1,472.45
1036759-02    S.C.          All City Family Healthcare Center, Inc.      Arthroscopy, Knee, Surgical, For …   3/1/2019   G0289     $1,472.45
1036759-02    S.C.          All City Family Healthcare Center, Inc.     Njx Pltlt Plasma W/Img Harvest/Pr…   8/14/2020   0232T      $875.92
1036759-02    S.C.          All City Family Healthcare Center, Inc.    Manipulation Knee Joint Under Gen…    8/14/2020   27570     $1,577.52
1036759-02    S.C.          All City Family Healthcare Center, Inc.       Surgical Supply; Miscellaneous…    8/14/2020   A4649       $72.00
1036759-02    S.C.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/10/2021   62321      $976.38
1036759-02    S.C.            Island Ambulatory Surgery Center                  Epidurograpy Rs&I…           6/10/2021   72275      $572.52
1036759-02    S.C.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/29/2021   62321      $976.38
1037725-01    A.I.           New York Surgery Center of Queens          Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/18/2019   64490      $447.52
1037725-01    A.I.           New York Surgery Center of Queens          Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/18/2019   64490      $976.38
1037725-01    A.I.           New York Surgery Center of Queens          Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/18/2019   64491      $447.52
1037725-01    A.I.           New York Surgery Center of Queens          Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/18/2019   64491      $447.52
1037725-01    A.I.           New York Surgery Center of Queens          Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/18/2019   64492      $447.52
1037725-01    A.I.           New York Surgery Center of Queens          Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/18/2019   64492      $447.52
1037725-01    A.I.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…   4/20/2019   29823     $3,026.24
1037725-01    A.I.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder W/Coracoacrm… 4/20/2019      29826     $1,472.45
1037725-01    A.I.            Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …   4/20/2019   64415      $829.30
1037725-01    A.I.            Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img …    4/20/2019   76942      $341.96
1038084-02    A.Q.            Fifth Avenue Surgery Center LLC          Njx Anes&/Strd W/Img Tfrml Edrl L… 11/13/2018     64483      $979.78
1038084-02    A.Q.            Fifth Avenue Surgery Center LLC                   Epidurograpy Rs&I…          11/13/2018   72275      $572.81
1038084-02    A.Q.            Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img … 11/13/2018     76942      $341.96
1038084-02    A.Q.            Fifth Avenue Surgery Center LLC           Fluor Needle/Cath Spine/Paraspina…  11/13/2018   77003      $572.53
1038084-02    A.Q.          Bronx SC LLC d/b/a Empire State ASC        Njx Anes&/Strd W/Img Tfrml Edrl L…     3/5/2019   64483      $976.38
1038084-02    A.Q.        Advanced Spine & Outpatient Surgery Center    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/25/2023   62321     $9,000.00
1038084-02    A.Q.        Advanced Spine & Outpatient Surgery Center   Njx Anes&/Strd W/Img Tfrml Edrl L… 6/22/2023      64483     $5,750.00
1038084-02    A.Q.        Advanced Spine & Outpatient Surgery Center   Njx Anes&/Strd W/Img Tfrml Edrl L… 6/22/2023      64484     $5,750.00
1039214-03    E.A.          All City Family Healthcare Center, Inc.    Arthroscopy Knee Synovectomy 2/>C…     1/4/2019   29876     $3,026.24
1039214-03    E.A.          All City Family Healthcare Center, Inc.   Arthrs Knee W/Meniscectomy Med&La… 1/4/2019        29880     $1,472.45
1039214-03    E.A.          All City Family Healthcare Center, Inc.      Arthroscopy, Knee, Surgical, For …   1/4/2019   G0289     $1,472.45
1039214-03    E.A.          All City Family Healthcare Center, Inc.    Arthroscopy Knee Synovectomy 2/>C… 1/18/2019      29876     $3,026.24
1039214-03    E.A.          All City Family Healthcare Center, Inc.   Arthrs Knee W/Meniscectomy Med&La… 1/18/2019       29880     $1,472.45
1039214-03    E.A.          All City Family Healthcare Center, Inc.      Arthroscopy, Knee, Surgical, For …  1/18/2019   G0289     $1,472.45
1039214-03    E.A.            Island Ambulatory Surgery Center           Injection(S), Anesthetic Agent(S)…   4/6/2022   64454      $829.30
1039214-03    E.A.            Island Ambulatory Surgery Center           Injection(S), Anesthetic Agent(S)…  4/20/2022   64454      $829.30
1039214-03    E.A.            Island Ambulatory Surgery Center          Destruction By Neurolytic Agent, …   6/16/2022   64624      $979.80
1039214-03    E.A.            Island Ambulatory Surgery Center          Infectious Agent Antigen Detectio…   6/16/2022   87426      $200.00
1037093-01    C.V.                  Melville Surgery Center             Manipulation Spine Requiring Anes…   1/16/2019   22505      $788.76
1037093-01    C.V.                  Melville Surgery Center             Manipulation Hip Joint General An…   1/16/2019   27275     $1,577.52
1037093-01    C.V.                  Melville Surgery Center             Manipulation Hip Joint General An…   1/16/2019   27275      $788.76
1037093-01    C.V.                  Melville Surgery Center             Manipulation Spine Requiring Anes…   1/17/2019   22505      $788.76
1037093-01    C.V.                  Melville Surgery Center             Manipulation Hip Joint General An…   1/17/2019   27275      $788.76
1037093-01    C.V.                  Melville Surgery Center             Manipulation Hip Joint General An…   1/17/2019   27275     $1,577.52
1037093-01    C.V.                  Melville Surgery Center             Manipulation Spine Requiring Anes…   1/18/2019   22505      $788.76
1037093-01    C.V.                  Melville Surgery Center             Manipulation Hip Joint General An…   1/18/2019   27275      $788.76
1037093-01    C.V.                  Melville Surgery Center             Manipulation Hip Joint General An…   1/18/2019   27275     $1,577.52
1037093-01    C.V.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…    4/12/2019   29823     $3,026.24
1037301-02    S.W.           New York Surgery Center of Queens          Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/31/2018   64490      $449.21
1037301-02    S.W.           New York Surgery Center of Queens          Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/31/2018   64490      $979.78
1037301-02    S.W.           New York Surgery Center of Queens          Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/31/2018   64491      $449.21
1037301-02    S.W.           New York Surgery Center of Queens          Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/31/2018   64491      $449.21
1037301-02    S.W.           New York Surgery Center of Queens          Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/31/2018   64492      $449.21
1037301-02    S.W.           New York Surgery Center of Queens          Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/31/2018   64492      $449.21
1037301-02    S.W.            Fifth Avenue Surgery Center LLC           Arthrocentesis Aspir&/Inj Major J…  11/27/2018   20610      $236.69
1037301-02    S.W.            Fifth Avenue Surgery Center LLC          Arthroscopy Shoulder Surg Synovec… 11/27/2018     29820     $1,472.45
1037301-02    S.W.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Debride…  11/27/2018   29823     $3,026.24
1037301-02    S.W.            Fifth Avenue Surgery Center LLC           Single Nerve Block Injection Arm …  11/27/2018   64415      $829.30
1037301-02    S.W.            Fifth Avenue Surgery Center LLC          Us Guidance Needle Placement Img … 11/27/2018     76942      $341.96
1036906-02    A.G.                       AMSC LLC                        Injection Single/Mlt Trigger Poin…   3/3/2019   20553      $554.74
1036906-02    A.G.                       AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/3/2019   62321      $976.38
1036906-02    A.G.                       AMSC LLC                               Epidurograpy Rs&I…            3/3/2019   72275      $572.52
1036906-02    A.G.                       AMSC LLC                      Us Guidance Needle Placement Img …     3/3/2019   76942      $423.32
1036906-02    A.G.                       AMSC LLC                       Manipulation Spine Requiring Anes…   3/27/2019   22505     $1,577.52
1036906-02    A.G.                       AMSC LLC                      Manj W/Anes Shoulder Joint W/Fixa…    3/27/2019   23700     $1,497.10
1036906-02    A.G.                       AMSC LLC                      Clsd Tx Pelvic Ring Fx W/Manipula…    3/27/2019   27198      $893.24
1036906-02    A.G.                       AMSC LLC                       Manipulation Hip Joint General An…   3/27/2019   27275     $1,577.52
1036906-02    A.G.                       AMSC LLC                       Manipulation Hip Joint General An…   3/27/2019   27275     $1,577.52
1036906-02    A.G.           Rockaways ASC Development LLC              Manipulation Spine Requiring Anes…   6/14/2019   22505     $1,577.52

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                                                          1964
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                              Service     Code       Billed
1036906-02    A.G.          Rockaways ASC Development LLC                Manj W/Anes Shoulder Joint W/Fixa…      6/14/2019   23700      $788.76
1036906-02    A.G.          Rockaways ASC Development LLC                Clsd Tx Pelvic Ring Fx W/Manipula…      6/14/2019   27198      $446.62
1036906-02    A.G.          Rockaways ASC Development LLC                 Manipulation Hip Joint General An…     6/14/2019   27275      $788.76
1036906-02    A.G.          Rockaways ASC Development LLC                 Manipulation Hip Joint General An…     6/14/2019   27275      $788.76
1036906-02    A.G.          Rockaways ASC Development LLC                 Manipulation Spine Requiring Anes…     6/30/2019   22505     $1,577.52
1036906-02    A.G.          Rockaways ASC Development LLC                 Manipulation Hip Joint General An…     6/30/2019   27275      $788.76
1036906-02    A.G.          Rockaways ASC Development LLC                 Manipulation Hip Joint General An…     6/30/2019   27275      $788.76
1036906-02    A.G.          Rockaways ASC Development LLC                 Manipulation Hip Joint General An…     6/30/2019   27275      $788.76
1036906-02    A.G.          Rockaways ASC Development LLC                Mra Pelvis W/Wo Contrast Material…      6/30/2019   72198      $446.62
1036906-02    A.G.          Rockaways ASC Development LLC                  Injection Single/Mlt Trigger Poin…     7/3/2019   20552      $277.37
1036906-02    A.G.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      7/3/2019   62323      $976.38
1036906-02    A.G.          Rockaways ASC Development LLC                         Epidurograpy Rs&I…              7/3/2019   72275      $572.52
1036906-02    A.G.          Rockaways ASC Development LLC                Us Guidance Needle Placement Img …       7/3/2019   76942      $211.66
1037361-01    A.G.                     AMSC LLC                           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/31/2019   64493     $1,952.76
1037361-01    A.G.                     AMSC LLC                           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/31/2019   64494      $976.38
1037361-01    A.G.                     AMSC LLC                           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/31/2019   64495      $976.38
1037361-01    A.G.                     AMSC LLC                                   Epidurograpy Rs&I…             3/31/2019   72275      $572.52
1037361-01    A.G.                     AMSC LLC                            Injection Single/Mlt Trigger Poin…    5/19/2019   20553      $277.37
1037361-01    A.G.                     AMSC LLC                           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/19/2019   62323      $976.38
1037361-01    A.G.                     AMSC LLC                                   Epidurograpy Rs&I…             5/19/2019   72275      $572.52
1037361-01    A.G.                     AMSC LLC                          Us Guidance Needle Placement Img …      5/19/2019   76942      $423.32
1037361-01    A.G.          Rockaways ASC Development LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     7/14/2019   62323      $976.38
1037361-01    A.G.          Rockaways ASC Development LLC                         Epidurograpy Rs&I…             7/14/2019   72275      $572.52
1036135-01    M.B.                     SCOB LLC                           Manipulation Spine Requiring Anes…    11/18/2018   22505     $1,577.52
1036135-01    M.B.                     SCOB LLC                          Manj W/Anes Shoulder Joint W/Fixa…     11/18/2018   23700      $748.08
1036135-01    M.B.                     SCOB LLC                          Manj W/Anes Shoulder Joint W/Fixa…     11/18/2018   23700      $748.08
1036135-01    M.B.                     SCOB LLC                          Clsd Tx Pelvic Ring Fx W/Manipula…     11/18/2018   27198      $418.79
1036135-01    M.B.                     SCOB LLC                           Manipulation Hip Joint General An…    11/18/2018   27275      $748.08
1036135-01    M.B.                     SCOB LLC                           Manipulation Hip Joint General An…    11/18/2018   27275      $748.08
1036135-01    M.B.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…     12/2/2018   22505      $748.08
1036135-01    M.B.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…     12/2/2018   22505      $748.08
1036135-01    M.B.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…     12/2/2018   22505      $748.08
1036135-01    M.B.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…      12/2/2018   23700      $748.08
1036135-01    M.B.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…      12/2/2018   23700      $748.08
1036135-01    M.B.        All City Family Healthcare Center, Inc.        Clsd Tx Pelvic Ring Fx W/Manipula…      12/2/2018   27198      $418.78
1036135-01    M.B.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…     12/2/2018   27275      $748.08
1036135-01    M.B.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…     12/2/2018   27275     $1,577.52
1036135-01    M.B.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…     12/4/2018   22505      $748.08
1036135-01    M.B.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…     12/4/2018   22505      $748.08
1036135-01    M.B.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…     12/4/2018   22505      $748.08
1036135-01    M.B.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…      12/4/2018   23700      $748.08
1036135-01    M.B.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…      12/4/2018   23700      $748.08
1036135-01    M.B.        All City Family Healthcare Center, Inc.        Clsd Tx Pelvic Ring Fx W/Manipula…      12/4/2018   27198      $418.78
1036135-01    M.B.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…     12/4/2018   27275      $748.08
1036135-01    M.B.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…     12/4/2018   27275     $1,577.52
1036521-01    S.O.       Ambulatory Surgical Center of Englewood          Arthrocentesis Aspir&/Inj Major J…     10/3/2018   20610       $78.97
1036521-01    S.O.       Ambulatory Surgical Center of Englewood          Arthroscopy Shoulder Surg Debride…     10/3/2018   29823     $1,715.26
1036521-01    S.O.       Ambulatory Surgical Center of Englewood          Arthroscopy Shoulder Ahesiolysis …     10/3/2018   29825     $3,231.19
1036521-01    S.O.       Ambulatory Surgical Center of Englewood         Arthroscopy Shoulder W/Coracoacrm…      10/3/2018   29826     $1,825.17
1036521-01    S.O.       Ambulatory Surgical Center of Englewood          Arthroscopy Shoulder Rotator Cuff…     10/3/2018   29827     $6,462.39
1036521-01    S.O.                    EMUSC LLC                           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     12/3/2018   62323      $828.93
1036521-01    S.O.                    EMUSC LLC                                   Epidurograpy Rs&I…             12/3/2018   72275      $326.76
1036521-01    S.O.                    EMUSC LLC                           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    12/21/2018   62321      $828.93
1036521-01    S.O.                    EMUSC LLC                                   Epidurograpy Rs&I…            12/21/2018   72275      $326.76
1036521-01    S.O.             Surgicore of Jersey City LLC               Manipulation Spine Requiring Anes…     3/14/2019   22505     $1,577.52
1036521-01    S.O.             Surgicore of Jersey City LLC              Clsd Tx Pelvic Ring Fx W/Manipula…      3/14/2019   27198      $405.94
1036521-01    S.O.             Surgicore of Jersey City LLC               Manipulation Spine Requiring Anes…     3/16/2019   22505     $1,577.52
1036521-01    S.O.             Surgicore of Jersey City LLC              Clsd Tx Pelvic Ring Fx W/Manipula…      3/16/2019   27198      $405.94
1036522-02    R.M.             Dynamic Surgery Center LLC                  Injection Single/Mlt Trigger Poin…    11/5/2018   20553      $107.64
1036522-02    R.M.             Dynamic Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     11/5/2018   64493     $1,518.48
1036522-02    R.M.             Dynamic Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     11/5/2018   64494      $533.93
1036522-02    R.M.             Dynamic Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     11/5/2018   64495      $533.93
1036522-02    R.M.            Healthplus Surgery Center LLC                Injection Single/Mlt Trigger Poin…   11/26/2018   20553      $107.64
1036522-02    R.M.            Healthplus Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/26/2018   64493     $1,518.48
1036522-02    R.M.            Healthplus Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/26/2018   64494      $533.93
1036522-02    R.M.            Healthplus Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    11/26/2018   64495      $533.93
1036522-02    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthrocentesis Aspir&/Inj Major J…    12/10/2018   20610      $236.69
1036522-02    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center     Arthroscopy Knee Synovectomy 2/>C…     12/10/2018   29876     $3,026.24

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                                                          1965
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                        Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1036522-02    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center    Arthrs Knee W/Meniscectomy Med&La… 12/10/2018      29880     $1,472.45
1036522-02    R.M.     Surgicore LLC d/b/a Surgicore Surgical Center        Unlisted Procedure Arthroscopy…   12/10/2018   29999     $1,472.45
1036522-02    R.M.               Accelerated Surgical Center               Injection Single/Mlt Trigger Poin…   1/2/2019   20553      $161.46
1036522-02    R.M.               Accelerated Surgical Center              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/2/2019   62323     $1,518.48
1036522-02    R.M.           Island Ambulatory Surgery Center             Perq Intrdscl Electrothrm Annulop…   2/11/2019   22526     $5,805.08
1036522-02    R.M.           Island Ambulatory Surgery Center            Dcmprn Perq Nucleus Pulposus 1/> …    2/11/2019   62287     $5,827.42
1036380-01    R.S.       Ambulatory Surgical Center of Englewood          Arthrocentesis Aspir&/Inj Major J…  10/29/2018   20610       $78.97
1036380-01    R.S.       Ambulatory Surgical Center of Englewood          Partial Repair Or Removal Of Shou…  10/29/2018   23130     $1,840.42
1036380-01    R.S.       Ambulatory Surgical Center of Englewood         Arthroscopy Shoulder Surg Synovec… 10/29/2018     29821     $3,233.10
1036380-01    R.S.       Ambulatory Surgical Center of Englewood          Arthroscopy Shoulder Surg Debride…  10/29/2018   29823     $1,715.42
1036380-01    R.S.       Ambulatory Surgical Center of Englewood         Arthroscopy Shoulder W/Coracoacrm… 10/29/2018     29826     $1,825.17
1036380-01    R.S.        New York Center For Specialty Surgery           Office Outpatient New 45 Minutes…    12/9/2018   99204      $236.94
1036380-01    R.S.                      SCOB LLC                          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/9/2018   62321      $829.30
1036380-01    R.S.                      SCOB LLC                                  Epidurograpy Rs&I…           12/9/2018   72275      $572.53
1036380-01    R.S.             Manalapan Surgery Center Inc               Manipulation Spine Requiring Anes…   1/13/2019   22505      $748.08
1036380-01    R.S.             Manalapan Surgery Center Inc              Manj W/Anes Shoulder Joint W/Fixa…    1/13/2019   23700     $1,577.52
1036380-01    R.S.             Manalapan Surgery Center Inc              Manipulation Ankle Under General …    1/13/2019   27860      $748.08
1036380-01    R.S.        New York Center For Specialty Surgery            Office Outpatient Visit 40 Minute…  1/20/2019   99215      $142.21
1036380-01    R.S.                      SCOB LLC                           Injection Single/Mlt Trigger Poin…  1/20/2019   20552      $236.69
1036380-01    R.S.                      SCOB LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/20/2019   62323      $572.52
1036380-01    R.S.                      SCOB LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/20/2019   62323      $976.38
1036380-01    R.S.                      SCOB LLC                         Us Guidance Needle Placement Img …    1/20/2019   76942      $341.95
1036380-01    R.S.             Manalapan Surgery Center Inc               Manipulation Spine Requiring Anes…   1/24/2019   22505      $748.08
1036380-01    R.S.             Manalapan Surgery Center Inc              Manj W/Anes Shoulder Joint W/Fixa…    1/24/2019   23700     $1,577.52
1036380-01    R.S.             Manalapan Surgery Center Inc              Manipulation Knee Joint Under Gen…    1/24/2019   27570      $748.08
1036380-01    R.S.             Manalapan Surgery Center Inc               Manipulation Spine Requiring Anes…   1/27/2019   22505      $748.08
1036380-01    R.S.             Manalapan Surgery Center Inc              Manj W/Anes Shoulder Joint W/Fixa…    1/27/2019   23700     $1,577.52
1036380-01    R.S.             Manalapan Surgery Center Inc              Manipulation Knee Joint Under Gen…    1/27/2019   27570      $748.08
1036380-01    R.S.                      AMSC LLC                           Injection Single/Mlt Trigger Poin…  3/10/2019   20553      $277.37
1036380-01    R.S.                      AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/10/2019   62323      $976.38
1036380-01    R.S.                      AMSC LLC                                  Epidurograpy Rs&I…           3/10/2019   72275      $572.52
1036380-01    R.S.                      AMSC LLC                         Us Guidance Needle Placement Img …    3/10/2019   76942      $423.32
1036508-02    G.P.               Hudson Regional Hospital                 Drug Test Prsmv Read Direct Optic…  10/17/2018   80305      $179.46
1036508-02    G.P.               Hudson Regional Hospital                Drug Screen Quant Amphetamines 1 … 10/17/2018     80324      $269.37
1036508-02    G.P.               Hudson Regional Hospital                 Antidepressants Serotonergic Clas…  10/17/2018   80332      $269.37
1036508-02    G.P.               Hudson Regional Hospital                  Antidepressants Tricyclic Other C… 10/17/2018   80335      $270.31
1036508-02    G.P.               Hudson Regional Hospital                     Drug Screening Barbiturates…    10/17/2018   80345      $269.37
1036508-02    G.P.               Hudson Regional Hospital                 Drug Screening Benzodiazepines 1-…  10/17/2018   80346      $269.37
1036508-02    G.P.               Hudson Regional Hospital                   Drug Screening Buprenorphine…     10/17/2018   80348      $269.37
1036508-02    G.P.               Hudson Regional Hospital                       Drug Screening Fentanyl…      10/17/2018   80354      $269.37
1036508-02    G.P.               Hudson Regional Hospital                Drug Screening Gabapentin Non-Blo… 10/17/2018     80355      $269.37
1036508-02    G.P.               Hudson Regional Hospital                 Drug Screening Heroin Metabolite…   10/17/2018   80356      $269.37
1036508-02    G.P.               Hudson Regional Hospital                     Drug Screening Methadone…       10/17/2018   80358      $269.37
1036508-02    G.P.               Hudson Regional Hospital                Drug Screening Methylenedioxyamph… 10/17/2018     80359      $269.37
1036508-02    G.P.               Hudson Regional Hospital                  Drug Screening Methylphenidate…    10/17/2018   80360      $269.37
1036508-02    G.P.               Hudson Regional Hospital                 Drug Screening Opiates 1 Or More…   10/17/2018   80361      $538.74
1036508-02    G.P.               Hudson Regional Hospital                Drug Screening Opioids And Opiate… 10/17/2018     80362      $537.74
1036508-02    G.P.               Hudson Regional Hospital                     Drug Screening Oxycodone…       10/17/2018   80365      $269.37
1036508-02    G.P.               Hudson Regional Hospital                     Drug Screening Pregabalin…      10/17/2018   80366      $269.37
1036508-02    G.P.               Hudson Regional Hospital                 Drug Screening Sedative Hypnotics…  10/17/2018   80368      $269.37
1036508-02    G.P.               Hudson Regional Hospital                 Drug Screening Skeletal Muscle Re…  10/17/2018   80369      $269.37
1036508-02    G.P.               Hudson Regional Hospital                     Drug Screening Tapentadol…      10/17/2018   80372      $269.37
1036508-02    G.P.               Hudson Regional Hospital                      Drug Screening Tramadol…       10/17/2018   80373      $269.37
1036508-02    G.P.            Healthplus Surgery Center LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/17/2018   62321     $1,012.32
1036508-02    G.P.        All City Family Healthcare Center, Inc.         Arthrocentesis Aspir&/Inj Major J…  10/24/2018   20610      $554.76
1036508-02    G.P.        All City Family Healthcare Center, Inc.         Partial Repair Or Removal Of Shou…  10/24/2018   23130     $3,111.71
1036508-02    G.P.        All City Family Healthcare Center, Inc.       Arthroscopy Shoulder Dx W/Wo Syno… 10/24/2018      29805     $1,472.45
1036508-02    G.P.        All City Family Healthcare Center, Inc.        Arthroscopy Shoulder Surg Synovec… 10/24/2018     29821     $1,472.45
1036508-02    G.P.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Debride…  10/24/2018   29823     $1,472.45
1036508-02    G.P.        All City Family Healthcare Center, Inc.        Arthroscopy Shoulder W/Coracoacrm… 10/24/2018     29826     $1,472.45
1036508-02    G.P.        All City Family Healthcare Center, Inc.         Single Nerve Block Injection Arm …  10/24/2018   64415      $829.30
1036508-02    G.P.        All City Family Healthcare Center, Inc.        Us Guidance Needle Placement Img … 10/24/2018     76942      $341.96
1036508-02    G.P.               Hudson Regional Hospital                 Drug Test Prsmv Read Direct Optic…  11/14/2018   80305      $179.46
1036508-02    G.P.               Hudson Regional Hospital                Drug Screen Quant Amphetamines 1 … 11/14/2018     80324      $269.37
1036508-02    G.P.               Hudson Regional Hospital                 Antidepressants Serotonergic Clas…  11/14/2018   80332      $269.37
1036508-02    G.P.               Hudson Regional Hospital                  Antidepressants Tricyclic Other C… 11/14/2018   80335      $270.31
1036508-02    G.P.               Hudson Regional Hospital                     Drug Screening Barbiturates…    11/14/2018   80345      $269.37
1036508-02    G.P.               Hudson Regional Hospital                 Drug Screening Benzodiazepines 1-…  11/14/2018   80346      $269.37

                                                                  253 of 294                                                           Exhibit 4
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                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                         Date of     Billing   Amount
                                         Provider                                    Service
 Number      Person                                                                                          Service     Code       Billed
1036508-02    G.P.                Hudson Regional Hospital                 Drug Screening Buprenorphine…    11/14/2018   80348      $269.37
1036508-02    G.P.                Hudson Regional Hospital                    Drug Screening Fentanyl…      11/14/2018   80354      $269.37
1036508-02    G.P.                Hudson Regional Hospital              Drug Screening Gabapentin Non-Blo… 11/14/2018    80355      $269.37
1036508-02    G.P.                Hudson Regional Hospital               Drug Screening Heroin Metabolite…  11/14/2018   80356      $269.37
1036508-02    G.P.                Hudson Regional Hospital                   Drug Screening Methadone…      11/14/2018   80358      $269.37
1036508-02    G.P.                Hudson Regional Hospital              Drug Screening Methylenedioxyamph… 11/14/2018    80359      $269.37
1036508-02    G.P.                Hudson Regional Hospital                Drug Screening Methylphenidate…   11/14/2018   80360      $269.37
1036508-02    G.P.                Hudson Regional Hospital               Drug Screening Opiates 1 Or More…  11/14/2018   80361      $538.74
1036508-02    G.P.                Hudson Regional Hospital              Drug Screening Opioids And Opiate… 11/14/2018    80362      $537.74
1036508-02    G.P.                Hudson Regional Hospital                   Drug Screening Oxycodone…      11/14/2018   80365      $269.37
1036508-02    G.P.                Hudson Regional Hospital                   Drug Screening Pregabalin…     11/14/2018   80366      $269.37
1036508-02    G.P.                Hudson Regional Hospital               Drug Screening Sedative Hypnotics… 11/14/2018   80368      $269.37
1036508-02    G.P.                Hudson Regional Hospital               Drug Screening Skeletal Muscle Re… 11/14/2018   80369      $269.37
1036508-02    G.P.                Hudson Regional Hospital                   Drug Screening Tapentadol…     11/14/2018   80372      $269.37
1036508-02    G.P.                Hudson Regional Hospital                    Drug Screening Tramadol…      11/14/2018   80373      $269.37
1036508-02    G.P.              Healthplus Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr… 11/14/2018   62321     $1,012.32
1036508-02    G.P.              Healthplus Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr… 11/28/2018   62321     $1,012.32
1036099-02    J.N.                Hudson Regional Hospital               Drug Test Prsmv Read Direct Optic…  10/5/2018   80305      $179.46
1036099-02    J.N.              Healthplus Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/5/2018   62323     $1,012.32
1036099-02    J.N.                Hudson Regional Hospital               Drug Test Prsmv Read Direct Optic… 10/26/2018   80305      $179.46
1036099-02    J.N.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb… 10/26/2018   64493     $1,518.48
1036099-02    J.N.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb… 10/26/2018   64494      $533.93
1036099-02    J.N.               Dynamic Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb… 10/26/2018   64495      $533.93
1036099-02    J.N.            Fifth Avenue Surgery Center LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr… 11/11/2018   62321      $829.30
1036099-02    J.N.            Fifth Avenue Surgery Center LLC                    Epidurograpy Rs&I…         11/11/2018   72275      $572.81
1036027-02    C.E.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes… 11/16/2018   22505      $748.08
1036027-02    C.E.               Surgicore of Jersey City LLC           Manj W/Anes Shoulder Joint W/Fixa… 11/16/2018    23700     $1,577.52
1036027-02    C.E.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula… 11/16/2018    27198      $418.79
1036027-02    C.E.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes… 12/14/2018   22505      $748.08
1036027-02    C.E.               Surgicore of Jersey City LLC           Manj W/Anes Shoulder Joint W/Fixa… 12/14/2018    23700     $1,577.52
1036027-02    C.E.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula… 12/14/2018    27198      $418.79
1036027-02    C.E.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi… 7/12/2019     29875     $1,472.45
1036027-02    C.E.          All City Family Healthcare Center, Inc.      Arthrs Knee Abrasion Arthrp/Mlt D…  7/12/2019   29879     $1,472.45
1036027-02    C.E.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La… 7/12/2019      29880     $3,026.24
1036027-02    C.E.            Island Ambulatory Surgery Center           Unlisted Procedure Nervous System…  3/12/2020   64999      $829.30
1036027-02    C.E.            Island Ambulatory Surgery Center           Implantable Neurostimulator Elect…  3/12/2020   L8680     $9,999.00
1036027-02    C.E.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  5/13/2020   62323      $976.38
1036027-02    C.E.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…          5/13/2020   72275      $572.52
1036054-01    D.W.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes… 10/29/2018   22505     $1,577.52
1036054-01    D.W.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula… 10/29/2018    27198      $418.79
1036054-01    D.W.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes…  11/7/2018   22505     $1,577.52
1036054-01    D.W.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula…   11/7/2018   27198      $418.79
1036054-01    D.W.                Hudson Regional Hospital               Drug Test Prsmv Read Direct Optic…  11/8/2018   80305      $179.46
1036054-01    D.W.               Dynamic Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/8/2018   62323     $1,012.32
1036054-01    D.W.               Surgicore of Jersey City LLC            Manipulation Spine Requiring Anes… 11/14/2018   22505     $1,577.52
1036054-01    D.W.               Surgicore of Jersey City LLC           Clsd Tx Pelvic Ring Fx W/Manipula… 11/14/2018    27198      $418.79
1036227-01    K.C.                      EMUSC LLC                        Anes Dx/Ther Nerve Block/Injectio… 10/16/2018    1992      $135.05
1036227-01    K.C.                      EMUSC LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa… 10/16/2018   62323      $828.93
1036227-01    K.C.                      EMUSC LLC                                Epidurograpy Rs&I…         10/16/2018   72275      $326.76
1036227-01    K.C.                      EMUSC LLC                        Low Osmolar Contrast Material, 30… 10/16/2018   Q9967      $100.00
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop… 12/11/2018   22526     $2,320.90
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop… 12/11/2018   22526     $2,320.90
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop… 12/11/2018   22527     $2,320.90
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Perq Intrdscl Electrothrm Annulop… 12/11/2018   22527     $2,320.90
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> … 12/11/2018     62287     $2,873.04
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Dcmprn Perq Nucleus Pulposus 1/> … 12/11/2018     62287     $5,827.43
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Lamnotmy Incl W/Dcmprsn Nrv Root … 12/11/2018     63030     $5,827.43
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center Lamnotmy W/Dcmprsn Nrv Each Addl … 12/11/2018     63035     $2,873.04
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Fluor Needle/Cath Spine/Paraspina… 12/11/2018   77003      $572.53
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Fluor Needle/Cath Spine/Paraspina… 12/11/2018   77003      $572.53
1036227-01    K.C.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  4/11/2019   64493     $1,952.76
1036227-01    K.C.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  4/11/2019   64494      $976.38
1036227-01    K.C.                       AMSC LLC                        Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  4/11/2019   64495      $976.30
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  6/25/2019   64493      $447.52
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  6/25/2019   64493      $976.38
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  6/25/2019   64494      $447.52
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  6/25/2019   64494      $447.52
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  6/25/2019   64495      $447.52

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                                                           1967
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1036227-01    K.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/25/2019   64495      $447.52
1035254-01    M.N.            Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy 2/>C… 9/30/2018      29876     $1,472.45
1035254-01    M.N.            Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La… 9/30/2018       29880     $3,026.24
1035254-01    M.N.            Fifth Avenue Surgery Center LLC            Injection Anesthetic Agent Femora…   9/30/2018   64447      $829.30
1035254-01    M.N.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …    9/30/2018   76942      $341.96
1035254-01    M.N.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder Surg Synovec…    10/7/2018   29821     $1,472.45
1035254-01    M.N.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…   10/7/2018   29823     $3,026.24
1035254-01    M.N.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 10/7/2018      29826     $1,472.45
1035254-01    M.N.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …   10/7/2018   64415      $829.30
1035254-01    M.N.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …    10/7/2018   76942      $341.96
1035254-01    M.N.           New York Surgery Center of Queens            Injection Single/Mlt Trigger Poin…  4/22/2019   20553      $236.69
1035254-01    M.N.           New York Surgery Center of Queens           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/22/2019   62323      $976.38
1035254-01    M.N.           New York Surgery Center of Queens                   Epidurograpy Rs&I…           4/22/2019   72275      $572.53
1035254-01    M.N.           New York Surgery Center of Queens            Injection Single/Mlt Trigger Poin…  5/13/2019   20553      $236.69
1035254-01    M.N.           New York Surgery Center of Queens           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/13/2019   62321      $976.38
1035254-01    M.N.                       SCOB LLC                         Injection Single/Mlt Trigger Poin…  1/15/2020   20553      $473.39
1035254-01    M.N.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/15/2020   62321      $863.63
1035254-01    M.N.                       SCOB LLC                         Injection Single/Mlt Trigger Poin…  1/29/2020   20553      $473.39
1035254-01    M.N.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/29/2020   62323      $829.30
1035254-01    M.N.                       SCOB LLC                                Epidurograpy Rs&I…           1/29/2020   72275      $572.53
1035254-01    M.N.                     Triborough ASC                    Perq Intrdscl Electrothrm Annulop…  12/13/2021   22526     $5,292.93
1035254-01    M.N.                     Triborough ASC                   Dcmprn Perq Nucleus Pulposus 1/> … 12/13/2021     62287     $5,292.93
1035254-01    M.N.                     Triborough ASC                   Probe, Percutaneous Lumbar Discec… 12/13/2021     C2614      $800.00
1035254-01    M.N.                     Triborough ASC                     Injection Single/Mlt Trigger Poin… 12/20/2022   20553      $279.23
1035254-01    M.N.                     Triborough ASC                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  12/20/2022   62323      $980.10
1035871-02    A.C.                 Mountain Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/19/2018   62323     $4,635.00
1035871-02    A.C.                 Mountain Surgery Center                       Epidurograpy Rs&I…          11/19/2018   72275     $4,800.00
1035871-02    A.C.                 Mountain Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/8/2018   62323     $4,635.00
1035871-02    A.C.                 Mountain Surgery Center                       Epidurograpy Rs&I…           12/8/2018   72275     $4,800.00
1035871-02    A.C.              Manalapan Surgery Center Inc           Perc Lamino-/Laminectomy Image Gu…      8/1/2019   0274T     $5,292.93
1035885-01    W.B.                Hudson Regional Hospital               Drug Test Prsmv Read Direct Optic…   11/9/2018   80305      $179.46
1035885-01    W.B.               Dynamic Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/9/2018   62323     $1,012.32
1035885-01    W.B.          All City Family Healthcare Center, Inc.      Arthrocentesis Aspir&/Inj Major J…   2/14/2019   20610      $236.69
1035885-01    W.B.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy 2/>C… 2/14/2019      29876     $1,472.45
1035885-01    W.B.          All City Family Healthcare Center, Inc.    Arthrs Kne Surg W/Meniscectomy Me… 2/14/2019       29881     $3,026.24
1035885-01    W.B.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical, For …  2/14/2019   G0289     $1,472.45
1035109-01    S.S.                       AMSC LLC                        Manipulation Spine Requiring Anes…   4/26/2019   22505     $1,577.52
1035109-01    S.S.                       AMSC LLC                       Manj W/Anes Shoulder Joint W/Fixa…    4/26/2019   23700     $1,497.10
1035109-01    S.S.                       AMSC LLC                       Clsd Tx Pelvic Ring Fx W/Manipula…    4/26/2019   27198      $893.24
1035109-01    S.S.                       AMSC LLC                        Manipulation Hip Joint General An…   4/26/2019   27275     $3,155.04
1035109-01    S.S.                       AMSC LLC                        Manipulation Spine Requiring Anes…    5/3/2019   22505      $788.76
1035109-01    S.S.                       AMSC LLC                       Manj W/Anes Shoulder Joint W/Fixa…     5/3/2019   23700      $748.55
1035109-01    S.S.                       AMSC LLC                       Clsd Tx Pelvic Ring Fx W/Manipula…     5/3/2019   27198      $446.62
1035109-01    S.S.                       AMSC LLC                        Manipulation Hip Joint General An…    5/3/2019   27275     $3,155.04
1035109-01    S.S.                       AMSC LLC                        Manipulation Spine Requiring Anes…   5/10/2019   22505      $788.76
1035109-01    S.S.                       AMSC LLC                       Manj W/Anes Shoulder Joint W/Fixa…    5/10/2019   23700      $748.55
1035109-01    S.S.                       AMSC LLC                       Clsd Tx Pelvic Ring Fx W/Manipula…    5/10/2019   27198      $446.62
1035109-01    S.S.                       AMSC LLC                        Manipulation Hip Joint General An…   5/10/2019   27275     $3,155.04
1035109-01    S.S.                       AMSC LLC                        Manipulation Spine Requiring Anes…   5/24/2019   22505      $788.76
1035109-01    S.S.                       AMSC LLC                        Manipulation Spine Requiring Anes…   5/24/2019   22505      $788.76
1035109-01    S.S.                       AMSC LLC                       Clsd Tx Pelvic Ring Fx W/Manipula…    5/24/2019   27198      $446.62
1035109-01    S.S.                       AMSC LLC                        Manipulation Hip Joint General An…   5/24/2019   27275     $3,155.04
1035109-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…      7/8/2019   29823     $3,026.24
1035109-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…     9/16/2019   29822     $1,472.45
1035109-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 9/16/2019       29826     $1,472.45
1035109-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Rotator Cuff…   9/16/2019   29827     $5,677.77
1035109-01    S.S.     NYEEQASC LLC d/b/a North Queens Surgical Center Manj W/Anes Shoulder Joint W/Fixa…      2/8/2020   23700     $1,577.52
1036926-01    S.G.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…  4/10/2019   20553      $277.37
1036926-01    S.G.                       AMSC LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   4/10/2019   62321      $976.38
1036926-01    S.G.                       AMSC LLC                                Epidurograpy Rs&I…           4/10/2019   72275      $572.52
1036926-01    S.G.                       AMSC LLC                       Us Guidance Needle Placement Img …    4/10/2019   76942      $423.32
1036926-01    S.G.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…  5/15/2019   20553      $277.37
1036926-01    S.G.                       AMSC LLC                        Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/15/2019   62321      $976.38
1036926-01    S.G.                       AMSC LLC                                Epidurograpy Rs&I…           5/15/2019   72275      $572.52
1036926-01    S.G.                       AMSC LLC                       Us Guidance Needle Placement Img …    5/15/2019   76942      $423.32
1036926-01    S.G.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/12/2019   62321      $976.38
1036926-01    S.G.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…           6/12/2019   72275      $572.52
1034337-01    A.L.                Hudson Regional Hospital               Drug Test Prsmv Read Direct Optic…  10/12/2018   80305      $179.46

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                                                          1968
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                               Service     Code       Billed
1034337-01    A.L.             Dynamic Surgery Center LLC                    Arthrocentesis Aspir&/Inj Major J…  10/12/2018   20610       $157.95
1034337-01    A.L.             Dynamic Surgery Center LLC                  Arthroscopy Knee Removal Loose/Fo… 10/12/2018      29874      $3,997.71
1034337-01    A.L.             Dynamic Surgery Center LLC                  Arthroscopy Knee Synovectomy 2/>C… 10/12/2018      29876      $3,997.71
1034337-01    A.L.             Dynamic Surgery Center LLC                   Arthrs Knee Abrasion Arthrp/Mlt D… 10/12/2018     29879      $3,997.71
1034337-01    A.L.             Dynamic Surgery Center LLC                 Arthrs Knee W/Meniscectomy Med&La… 10/12/2018       29880      $3,997.71
1034337-01    A.L.             Dynamic Surgery Center LLC                  Arthroscopy Knee W/Lysis Adhesion… 10/12/2018      29884      $3,997.71
1034337-01    A.L.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C… 10/29/2018      29876      $1,472.45
1034337-01    A.L.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 10/29/2018       29880      $3,026.24
1034337-01    A.L.        All City Family Healthcare Center, Inc.             Arthroscopy, Knee, Surgical, For … 10/29/2018   G0289      $1,472.45
1034337-01    A.L.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…    11/9/2018   80305       $179.46
1034337-01    A.L.            Healthplus Surgery Center LLC                Arthroscopy Knee Synovectomy 2/>C… 11/9/2018       29876      $3,997.71
1034337-01    A.L.            Healthplus Surgery Center LLC                Arthrs Knee Debridement/Shaving A…     11/9/2018   29877      $3,997.71
1034337-01    A.L.              Hudson Regional Hospital                   Emergency Department Visit Low/Mo… 11/23/2018      99282      $2,686.74
1034623-01    R.A.        All City Family Healthcare Center, Inc.           Njx Pltlt Plasma W/Img Harvest/Pr…   10/11/2018   0232T       $478.64
1034623-01    R.A.        All City Family Healthcare Center, Inc.           Tenotomy Shoulder Area 1 Tendon…     10/11/2018   23405      $1,393.70
1034623-01    R.A.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec… 10/11/2018     29821      $3,026.24
1034623-01    R.A.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   10/11/2018   29823      $1,472.45
1034623-01    R.A.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …  10/11/2018   64415       $829.30
1034623-01    R.A.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img … 10/11/2018     76942       $341.96
1034623-01    R.A.              Accelerated Surgical Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/19/2018   62321      $1,518.48
1034623-01    R.A.              Accelerated Surgical Center                   Injection Single/Mlt Trigger Poin… 12/26/2018   20553       $161.46
1034623-01    R.A.              Accelerated Surgical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/26/2018   62323      $1,518.48
1034623-01    R.A.              Accelerated Surgical Center                   Injection Single/Mlt Trigger Poin…   1/2/2019   20553       $161.46
1034623-01    R.A.              Accelerated Surgical Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     1/2/2019   62321      $1,518.48
1034623-01    R.A.              Accelerated Surgical Center                   Injection Single/Mlt Trigger Poin…  1/16/2019   20553       $161.46
1034623-01    R.A.              Accelerated Surgical Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    1/16/2019   62321      $1,518.48
1034623-01    R.A.              Accelerated Surgical Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/30/2019   62323      $1,518.48
1033920-03    C.B.             Surgicore of Jersey City LLC                  Perq Intrdscl Electrothrm Annulop…   6/26/2020   22526      $2,605.78
1033920-03    C.B.             Surgicore of Jersey City LLC                  Perq Intrdscl Electrothrm Annulop…   6/26/2020   22527      $2,605.78
1033920-03    C.B.             Surgicore of Jersey City LLC                 Dcmprn Perq Nucleus Pulposus 1/> …    6/26/2020   62287      $5,292.93
1033920-03    C.B.             Surgicore of Jersey City LLC                    Surgical Supply; Miscellaneous…    6/26/2020   A4649        $50.00
1033920-03    C.B.               Mountain Surgery Center                    Arthroscopy Shoulder Surg Synovec…    10/5/2021   29820     $26,412.00
1033920-03    C.B.               Mountain Surgery Center                    Arthroscopy Shoulder Surg Debride…    10/5/2021   29822     $32,419.00
1033920-03    C.B.               Mountain Surgery Center                   Arthroscopy Shoulder W/Coracoacrm… 10/5/2021       29826     $36,220.00
1033920-03    C.B.               Mountain Surgery Center                                Surgical Trays…           10/5/2021   A4550       $750.00
1034307-01    E.Z.          Fifth Avenue Surgery Center LLC                Exc Tumor Soft Tiss Upper Arm/Elb…      3/4/2021   24075       $866.87
1034307-01    E.Z.          Fifth Avenue Surgery Center LLC                 Tnot Elbow Lateral/Medial Debride…     3/4/2021   24359      $3,290.01
1034307-01    E.Z.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …    3/4/2021   64415       $979.78
1034307-01    E.Z.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …     3/4/2021   76942       $341.96
1034307-01    E.Z.          Fifth Avenue Surgery Center LLC                    Surgical Supply; Miscellaneous…     3/4/2021   A4649        $50.00
1034307-01    E.Z.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta…      3/4/2021   E0650       $531.06
1034307-01    E.Z.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …      3/4/2021   E0666        $89.56
1034489-01    A.D.              CHC Surgical Center LLC                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/21/2019   64493       $979.78
1034489-01    A.D.              CHC Surgical Center LLC                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/21/2019   64494       $898.41
1034489-01    A.D.              CHC Surgical Center LLC                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/21/2019   64495       $898.41
1034489-01    A.D.              CHC Surgical Center LLC                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/10/2019   64493       $979.78
1034489-01    A.D.              CHC Surgical Center LLC                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/10/2019   64494       $898.41
1034489-01    A.D.              CHC Surgical Center LLC                     Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/10/2019   64495       $898.41
1034489-01    A.D.              CHC Surgical Center LLC                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/24/2020   62323       $976.38
1034489-01    A.D.              CHC Surgical Center LLC                              Epidurograpy Rs&I…           7/24/2020   72275       $572.53
1034489-01    A.D.        All City Family Healthcare Center, Inc.           Dcmprn Perq Nucleus Pulposus 1/> …    1/18/2021   62287      $5,292.93
1034489-01    A.D.        All City Family Healthcare Center, Inc.              Surgical Supply; Miscellaneous…    1/18/2021   A4649        $72.00
1033745-01    R.E.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    10/8/2018   62323       $829.30
1033745-01    R.E.          Island Ambulatory Surgery Center                         Epidurograpy Rs&I…           10/8/2018   72275       $572.52
1033745-01    R.E.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…   11/2/2018   20610       $236.69
1033745-01    R.E.        All City Family Healthcare Center, Inc.           Manipulation Knee Joint Under Gen…    11/2/2018   27570       $748.08
1033745-01    R.E.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 11/2/2018       29875      $1,472.45
1033745-01    R.E.        All City Family Healthcare Center, Inc.           Arthrs Knee Abrasion Arthrp/Mlt D…    11/2/2018   29879      $1,472.45
1033745-01    R.E.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 11/2/2018        29880      $3,026.24
1033745-01    R.E.        All City Family Healthcare Center, Inc.             Arthroscopy, Knee, Surgical, For …  11/2/2018   G0289      $1,472.45
1033222-01    M.B.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…   9/25/2018   20610       $236.69
1033222-01    M.B.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy 2/>C… 9/25/2018       29876      $1,472.45
1033222-01    M.B.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 9/25/2018        29880      $3,026.24
1033222-01    M.B.          Fifth Avenue Surgery Center LLC                  Injection Anesthetic Agent Femora…   9/25/2018   64447       $829.30
1033222-01    M.B.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …    9/25/2018   76942       $341.96
1033222-01    M.B.          Fifth Avenue Surgery Center LLC                   Arthroscopy, Knee, Surgical, For …  9/25/2018   G0289      $1,472.45
1033222-01    M.B.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…  10/16/2018   20610       $236.69
1033222-01    M.B.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec… 10/16/2018     29821      $1,472.45

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                                                          1969
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                            Date of     Billing   Amount
                                        Provider                                       Service
 Number      Person                                                                                             Service     Code       Billed
1033222-01    M.B.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Debride…   10/16/2018   29823     $3,026.24
1033222-01    M.B.           Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …   10/16/2018   64415      $829.30
1033222-01    M.B.           Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img … 10/16/2018      76942      $341.96
1033222-01    M.B.            Healthplus Surgery Center LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/26/2018   62323     $1,012.32
1033222-01    M.B.             Dynamic Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     7/2/2019   62323      $863.63
1033222-01    M.B.             Dynamic Surgery Center LLC                          Epidurograpy Rs&I…            7/2/2019   72275      $572.53
1032882-03    R.S.             Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Synovec…      9/5/2018   29821     $1,472.45
1032882-03    R.S.             Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Debride…     9/5/2018   29823     $3,026.24
1032882-03    R.S.             Surgicore of Jersey City LLC               Arthroscopy Shoulder Ahesiolysis …     9/5/2018   29825     $1,472.45
1032882-03    R.S.             Surgicore of Jersey City LLC                  Unlisted Procedure Arthroscopy…     9/5/2018   29999     $1,472.45
1032882-03    R.S.             Surgicore of Jersey City LLC                  Unlisted Procedure Arthroscopy…     9/5/2018   29999     $1,472.45
1032882-03    R.S.             Surgicore of Jersey City LLC               Single Nerve Block Injection Arm …     9/5/2018   64415      $829.30
1032882-03    R.S.             Surgicore of Jersey City LLC              Us Guidance Needle Placement Img …      9/5/2018   76942      $341.96
1032882-03    R.S.                     AMSC LLC                           Perq Intrdscl Electrothrm Annulop…    3/19/2019   22526     $2,646.47
1032882-03    R.S.                     AMSC LLC                           Perq Intrdscl Electrothrm Annulop…    3/19/2019   22527     $2,646.47
1032882-03    R.S.                     AMSC LLC                          Dcmprn Perq Nucleus Pulposus 1/> …     3/19/2019   62287     $5,292.93
1032882-03    R.S.                     AMSC LLC                           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/16/2019   64493     $1,952.76
1032882-03    R.S.                     AMSC LLC                           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/16/2019   64494      $976.38
1032882-03    R.S.                     AMSC LLC                           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    7/16/2019   64495      $976.38
1032553-01    T.B.               Hudson Regional Hospital                 Drug Test Prsmv Read Direct Optic…    8/31/2018   80305      $179.46
1032553-01    T.B.            Healthplus Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/31/2018   64493     $1,518.48
1032553-01    T.B.            Healthplus Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/31/2018   64495      $533.93
1032553-01    T.B.            Healthplus Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    8/31/2018   64495      $533.93
1032553-01    T.B.               Hudson Regional Hospital                 Drug Test Prsmv Read Direct Optic…    9/25/2018   80305      $179.46
1032553-01    T.B.             Surgicore of Jersey City LLC               Manipulation Spine Requiring Anes…   11/30/2018   22505      $748.08
1032553-01    T.B.             Surgicore of Jersey City LLC              Manj W/Anes Shoulder Joint W/Fixa… 11/30/2018      23700     $1,577.52
1032553-01    T.B.             Surgicore of Jersey City LLC              Clsd Tx Pelvic Ring Fx W/Manipula… 11/30/2018      27198      $418.79
1032553-01    T.B.             Surgicore of Jersey City LLC               Manipulation Spine Requiring Anes…    12/3/2018   22505      $748.08
1032553-01    T.B.             Surgicore of Jersey City LLC              Manj W/Anes Shoulder Joint W/Fixa…     12/3/2018   23700     $1,577.52
1032553-01    T.B.             Surgicore of Jersey City LLC              Clsd Tx Pelvic Ring Fx W/Manipula…     12/3/2018   27198      $418.79
1032553-01    T.B.             Surgicore of Jersey City LLC               Manipulation Spine Requiring Anes…    12/5/2018   22505      $748.08
1032553-01    T.B.             Surgicore of Jersey City LLC              Manj W/Anes Shoulder Joint W/Fixa…     12/5/2018   23700     $1,577.52
1032553-01    T.B.             Surgicore of Jersey City LLC              Clsd Tx Pelvic Ring Fx W/Manipula…     12/5/2018   27198      $418.79
1032553-01    T.B.        All City Family Healthcare Center, Inc.        Arthroscopy Knee Synovectomy 2/>C… 12/14/2018      29876     $3,026.24
1032553-01    T.B.        All City Family Healthcare Center, Inc.       Arthrs Kne Surg W/Meniscectomy Me… 12/14/2018       29881     $1,472.45
1032553-01    T.B.        All City Family Healthcare Center, Inc.          Arthroscopy, Knee, Surgical, For …  12/14/2018   G0289     $1,472.45
1032915-04    P.C.                Mountain Surgery Center                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    10/6/2018   62323     $4,635.00
1032915-04    P.C.                Mountain Surgery Center                          Epidurograpy Rs&I…           10/6/2018   72275     $4,800.00
1032915-04    P.C.        All City Family Healthcare Center, Inc.        Arthroscopy Knee Synovectomy Limi… 6/13/2019       29875     $1,472.45
1032915-04    P.C.        All City Family Healthcare Center, Inc.       Arthrs Knee W/Meniscectomy Med&La… 6/13/2019        29880     $3,026.24
1032915-04    P.C.             Manalapan Surgery Center Inc                Inject Si Joint Arthrgrphy&/Anes/…   9/16/2019   27096      $429.53
1032915-04    P.C.             Manalapan Surgery Center Inc                Inject Si Joint Arthrgrphy&/Anes/…   9/16/2019   27096      $940.42
1034670-01    M.G.             Manalapan Surgery Center Inc               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/14/2019   62321      $976.38
1034670-01    M.G.             Manalapan Surgery Center Inc                        Epidurograpy Rs&I…           5/14/2019   72275      $572.53
1032985-02    R.L.          New York Surgery Center of Queens              Injection Single/Mlt Trigger Poin…   8/22/2018   20553      $236.69
1032985-02    R.L.          New York Surgery Center of Queens             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/22/2018   62323      $829.30
1032985-02    R.L.          New York Surgery Center of Queens                      Epidurograpy Rs&I…           8/22/2018   72275      $572.53
1032985-02    R.L.     Surgicore LLC d/b/a Surgicore Surgical Center               Tissue Grafts Other…         10/5/2018   20926     $1,040.80
1032985-02    R.L.     Surgicore LLC d/b/a Surgicore Surgical Center      Repair Flexor Tendon Leg Primary …    10/5/2018   27658     $1,393.70
1032985-02    R.L.     Surgicore LLC d/b/a Surgicore Surgical Center      Tenolysis Flxr/Xtnsr Tendon Leg&/…    10/5/2018   27680     $1,393.70
1032985-02    R.L.     Surgicore LLC d/b/a Surgicore Surgical Center     Rpr Primary Disrupted Ligament An…     10/5/2018   27695     $1,515.18
1032985-02    R.L.     Surgicore LLC d/b/a Surgicore Surgical Center       Open Tx Distal Tibiofibular Joint…   10/5/2018   27829     $4,869.06
1032985-02    R.L.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Ankle Surgical Debrid…    10/5/2018   29898     $1,472.45
1032985-02    R.L.     Surgicore LLC d/b/a Surgicore Surgical Center        Injection Anesthetic Agent Sciati…  10/5/2018   64445      $829.30
1032985-02    R.L.     Surgicore LLC d/b/a Surgicore Surgical Center     Us Guidance Needle Placement Img …     10/5/2018   76942      $341.96
1032985-02    R.L.          New York Surgery Center of Queens              Injection Single/Mlt Trigger Poin…  12/17/2018   20553      $236.69
1032985-02    R.L.          New York Surgery Center of Queens             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/17/2018   62323      $829.30
1032985-02    R.L.          New York Surgery Center of Queens                      Epidurograpy Rs&I…          12/17/2018   72275      $572.53
1032665-01    Y.S.              Accelerated Surgical Center                Injection Single/Mlt Trigger Poin…   8/15/2018   20553      $161.46
1032665-01    Y.S.              Accelerated Surgical Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    8/15/2018   62323     $1,518.48
1032665-01    Y.S.           Fifth Avenue Surgery Center LLC              Insertion Wire/Pin W/Appl Skeleta…    8/16/2018   20650     $1,393.70
1032665-01    Y.S.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…     8/16/2018   29820     $1,472.45
1032665-01    Y.S.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…     8/16/2018   29820     $1,472.45
1032665-01    Y.S.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…     8/16/2018   29820     $1,472.45
1032665-01    Y.S.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Debride…    8/16/2018   29823     $3,026.24
1032665-01    Y.S.           Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …    8/16/2018   64415      $829.30
1032665-01    Y.S.           Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …     8/16/2018   76942      $341.96
1032665-01    Y.S.        New York Center For Specialty Surgery           Manipulation Spine Requiring Anes…    10/9/2018   22505       $36.82

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                                                           1970
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                            Service     Code       Billed
1032665-01    Y.S.         New York Center For Specialty Surgery        Manipulation Spine Requiring Anes…     10/9/2018   22505      $147.27
1032665-01    Y.S.         New York Center For Specialty Surgery        Closed Treatment Of Pelvic Ring F…     10/9/2018   27194      $249.08
1032665-01    Y.S.         New York Center For Specialty Surgery        Closed Treatment Of Pelvic Ring F…     10/9/2018   27194      $996.32
1032665-01    Y.S.         New York Center For Specialty Surgery        Manipulation Hip Joint General An…     10/9/2018   27275      $739.80
1032665-01    Y.S.         New York Center For Specialty Surgery        Manipulation Hip Joint General An…     10/9/2018   27275      $184.95
1032665-01    Y.S.         New York Center For Specialty Surgery         Office Outpatient New 45 Minutes…     10/9/2018   99204      $148.70
1032665-01    Y.S.                       SCOB LLC                       Manipulation Spine Requiring Anes…     10/9/2018   22505     $1,577.52
1032665-01    Y.S.                       SCOB LLC                       Clsd Tx Pelvic Ring Fx W/Manipula…     10/9/2018   27198      $418.79
1032665-01    Y.S.                       SCOB LLC                       Manipulation Hip Joint General An…     10/9/2018   27275      $748.08
1032665-01    Y.S.         New York Center For Specialty Surgery        Manipulation Spine Requiring Anes…    10/21/2018   22505       $36.82
1032665-01    Y.S.         New York Center For Specialty Surgery        Manipulation Spine Requiring Anes…    10/21/2018   22505      $147.27
1032665-01    Y.S.         New York Center For Specialty Surgery        Closed Treatment Of Pelvic Ring F…    10/21/2018   27194      $249.08
1032665-01    Y.S.         New York Center For Specialty Surgery        Closed Treatment Of Pelvic Ring F…    10/21/2018   27194      $996.32
1032665-01    Y.S.         New York Center For Specialty Surgery        Manipulation Hip Joint General An…    10/21/2018   27275      $184.95
1032665-01    Y.S.         New York Center For Specialty Surgery        Manipulation Hip Joint General An…    10/21/2018   27275      $739.80
1032665-01    Y.S.                       SCOB LLC                       Manipulation Spine Requiring Anes…    10/21/2018   22505     $1,577.52
1032665-01    Y.S.                       SCOB LLC                       Clsd Tx Pelvic Ring Fx W/Manipula…    10/21/2018   27198      $418.79
1032665-01    Y.S.                       SCOB LLC                       Manipulation Hip Joint General An…    10/21/2018   27275      $748.08
1032665-01    Y.S.                       AMSC LLC                       Manipulation Spine Requiring Anes…     2/18/2019   22505     $1,577.52
1032665-01    Y.S.                       AMSC LLC                       Clsd Tx Pelvic Ring Fx W/Manipula…     2/18/2019   27198      $893.24
1032665-01    Y.S.                       AMSC LLC                       Manipulation Hip Joint General An…     2/18/2019   27275     $1,577.52
1032034-01    M.J.            Millennium Amb Surgery Ctr LLC             Injection Single/Mlt Trigger Poin…   10/25/2018   20553      $250.00
1032034-01    M.J.            Millennium Amb Surgery Ctr LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    10/25/2018   62323     $1,266.65
1032034-01    M.J.            Millennium Amb Surgery Ctr LLC                     Epidurograpy Rs&I…           10/25/2018   72275      $600.00
1032034-01    M.J.            Millennium Amb Surgery Ctr LLC             Injection Single/Mlt Trigger Poin…    11/8/2018   20553      $250.00
1032034-01    M.J.            Millennium Amb Surgery Ctr LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     11/8/2018   62323     $1,266.65
1032034-01    M.J.            Millennium Amb Surgery Ctr LLC                     Epidurograpy Rs&I…            11/8/2018   72275      $600.00
1032034-01    M.J.                       AMSC LLC                        Perq Intrdscl Electrothrm Annulop…     2/5/2019   22526     $2,605.78
1032034-01    M.J.                       AMSC LLC                       Dcmprn Perq Nucleus Pulposus 1/> …      2/5/2019   62287     $5,292.93
1032034-01    M.J.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/28/2020   64493      $447.52
1032034-01    M.J.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/28/2020   64493      $976.38
1032034-01    M.J.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/28/2020   64494      $447.52
1032034-01    M.J.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/28/2020   64494      $447.52
1032034-01    M.J.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/28/2020   64495      $447.52
1032034-01    M.J.     NYEEQASC LLC d/b/a North Queens Surgical Center  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     1/28/2020   64495      $447.52
1034163-01    E.C.          All City Family Healthcare Center, Inc.     Manipulation Knee Joint Under Gen…     8/27/2018   27570      $748.08
1034163-01    E.C.          All City Family Healthcare Center, Inc.    Arthroscopy Knee Synovectomy Limi…      8/27/2018   29875     $1,472.45
1034163-01    E.C.          All City Family Healthcare Center, Inc.    Arthrs Kne Surg W/Meniscectomy Me…      8/27/2018   29881     $3,026.24
1034163-01    E.C.                  Barnert Surgical Center              Injection Single/Mlt Trigger Poin…     9/5/2018   20553      $161.46
1034163-01    E.C.                  Barnert Surgical Center              Inject Si Joint Arthrgrphy&/Anes/…     9/5/2018   27096     $3,036.96
1034163-01    E.C.                  Barnert Surgical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      9/5/2018   62323     $1,518.48
1034163-01    E.C.                  Barnert Surgical Center             Dcmprn Perq Nucleus Pulposus 1/> …     10/3/2018   62287     $7,458.80
1034163-01    E.C.                  Barnert Surgical Center             Probe, Percutaneous Lumbar Discec…     10/3/2018   C2614     $3,500.00
1034163-01    E.C.          All City Family Healthcare Center, Inc.     Arthroscopy Ankle Surgical Synove…    10/22/2018   29895     $3,026.24
1034163-01    E.C.          All City Family Healthcare Center, Inc.     Arthroscopy Ankle Surgical Debrid…    10/22/2018   29898     $1,472.45
1033893-02    A.L.                 Avicenna Surgery Center              Arthroscopy Shoulder Surg Synovec…     9/17/2018   29820     $3,026.23
1033893-02    A.L.                 Avicenna Surgery Center             Arthroscopy Shoulder W/Coracoacrm…      9/17/2018   29826     $3,026.23
1033893-02    A.L.                 Avicenna Surgery Center              Arthroscopy Shoulder Rotator Cuff…     9/17/2018   29827     $5,677.78
1033893-02    A.L.                 Avicenna Surgery Center             Anchor/Screw For Opposing Bone-To…      9/17/2018   C1713     $2,000.00
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/26/2019   62323      $829.30
1033893-02    A.L.               Surgicore of Jersey City LLC                    Epidurograpy Rs&I…            1/26/2019   72275      $572.53
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/16/2019   62323      $829.30
1033893-02    A.L.               Surgicore of Jersey City LLC                    Epidurograpy Rs&I…            2/16/2019   72275      $572.53
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      3/2/2019   62323      $976.38
1033893-02    A.L.               Surgicore of Jersey City LLC                    Epidurograpy Rs&I…             3/2/2019   72275      $572.53
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/30/2019   64493      $447.52
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/30/2019   64493      $976.38
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/30/2019   64494      $447.52
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/30/2019   64494      $447.52
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/30/2019   64495      $447.52
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/30/2019   64495      $447.52
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/13/2019   64493      $447.52
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/13/2019   64493      $976.38
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/13/2019   64494      $447.52
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/13/2019   64494      $447.52
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/13/2019   64495      $447.52
1033893-02    A.L.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/13/2019   64495      $447.52
1033893-02    A.L.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulop…    5/18/2019   22526     $2,605.78

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                                                          1971
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1033893-02    A.L.             Surgicore of Jersey City LLC                 Perq Intrdscl Electrothrm Annulop…   5/18/2019   22527     $2,605.78
1033893-02    A.L.             Surgicore of Jersey City LLC                Dcmprn Perq Nucleus Pulposus 1/> …    5/18/2019   62287     $5,292.93
1032512-02    G.H.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C… 11/15/2018     29876     $3,026.24
1032512-02    G.H.        All City Family Healthcare Center, Inc.         Arthrs Kne Surg W/Meniscectomy Me… 11/15/2018      29881     $1,472.45
1032512-02    G.H.        All City Family Healthcare Center, Inc.           Tenotomy Shoulder Area 1 Tendon…     1/24/2019   23405     $1,393.70
1032512-02    G.H.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   1/24/2019   29823     $3,026.24
1032512-02    G.H.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   1/24/2019   64415      $829.30
1032512-02    G.H.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    1/24/2019   76942      $341.96
1032512-02    G.H.        Health East Ambulatory Surgical Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/20/2019   62323     $1,012.32
1032512-02    G.H.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…           5/20/2019   72275      $422.68
1032512-02    G.H.        Health East Ambulatory Surgical Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/24/2019   62321     $1,012.32
1032512-02    G.H.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…           6/24/2019   72275      $422.68
1031870-02    K.A.             East Tremont Medical Center                  Anes Dx/Ther Nerve Block/Injectio…   9/19/2018    1992      $162.06
1031870-02    K.A.             East Tremont Medical Center                  Anes Dx/Ther Nerve Block/Injectio…   9/19/2018    1992      $162.06
1031870-02    K.A.             East Tremont Medical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/19/2018   64490     $1,266.65
1031870-02    K.A.             East Tremont Medical Center                  Anes Dx/Ther Nerve Block/Injectio…   10/3/2018    1992      $162.06
1031870-02    K.A.             East Tremont Medical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/3/2018   64490     $1,266.65
1031870-02    K.A.             East Tremont Medical Center                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/3/2018   64490     $1,266.65
1031870-02    K.A.        Bronx SC LLC d/b/a Empire State ASC                Dstr Nrolytc Agnt Parverteb Fct S…   1/4/2019   64633      $979.78
1031870-02    K.A.        Bronx SC LLC d/b/a Empire State ASC               Dstr Nrolytc Agnt Parverteb Fct A…    1/4/2019   64634      $449.21
1031870-02    K.A.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…   11/2/2022   64490      $976.38
1031870-02    K.A.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…   11/2/2022   64491      $447.52
1031870-02    K.A.        Bronx SC LLC d/b/a Empire State ASC               Njx Dx/Ther Agt Pvrt Facet Jt Crv…   11/2/2022   64492      $447.52
1031870-02    K.A.        Bronx SC LLC d/b/a Empire State ASC                Dstr Nrolytc Agnt Parverteb Fct S… 11/16/2022   64633      $976.38
1031870-02    K.A.        Bronx SC LLC d/b/a Empire State ASC               Dstr Nrolytc Agnt Parverteb Fct A…  11/16/2022   64634      $447.52
1031870-02    K.A.        Bronx SC LLC d/b/a Empire State ASC               Dstr Nrolytc Agnt Parverteb Fct A…  11/16/2022   64634      $447.52
1032233-01    M.F.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 9/16/2018       29880     $3,026.24
1032233-01    M.F.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…   9/16/2018   64447      $829.30
1032233-01    M.F.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    9/16/2018   76942      $341.96
1032233-01    M.F.          Fifth Avenue Surgery Center LLC                  Arthroscopy, Knee, Surgical, For …  9/16/2018   G0289     $1,472.45
1032233-01    M.F.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   9/23/2018   29823     $3,026.24
1032233-01    M.F.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Distal Clavi…   9/23/2018   29824     $1,472.45
1032233-01    M.F.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 9/23/2018      29826     $1,472.45
1032233-01    M.F.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   9/23/2018   64415      $829.30
1032233-01    M.F.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    9/23/2018   76942      $341.96
1032233-01    M.F.          Millennium Amb Surgery Ctr LLC                   Injection Single/Mlt Trigger Poin…  10/4/2018   20553      $250.00
1032233-01    M.F.          Millennium Amb Surgery Ctr LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   10/4/2018   62323     $1,266.65
1032233-01    M.F.          Millennium Amb Surgery Ctr LLC                          Epidurograpy Rs&I…           10/4/2018   72275      $600.00
1032233-01    M.F.          Millennium Amb Surgery Ctr LLC                   Injection Single/Mlt Trigger Poin… 10/11/2018   20553      $250.00
1032233-01    M.F.          Millennium Amb Surgery Ctr LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/11/2018   62321     $1,266.65
1032233-01    M.F.          Millennium Amb Surgery Ctr LLC                          Epidurograpy Rs&I…          10/11/2018   72275      $600.00
1032233-01    M.F.          Millennium Amb Surgery Ctr LLC                   Injection Single/Mlt Trigger Poin… 10/18/2018   20553      $250.00
1032233-01    M.F.          Millennium Amb Surgery Ctr LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/18/2018   62323     $1,266.65
1032233-01    M.F.          Millennium Amb Surgery Ctr LLC                          Epidurograpy Rs&I…          10/18/2018   72275      $600.00
1032233-01    M.F.          Millennium Amb Surgery Ctr LLC                   Injection Single/Mlt Trigger Poin… 10/25/2018   20553      $250.00
1032233-01    M.F.          Millennium Amb Surgery Ctr LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/25/2018   62321     $1,266.65
1032233-01    M.F.          Millennium Amb Surgery Ctr LLC                          Epidurograpy Rs&I…          10/25/2018   72275      $600.00
1031117-01    M.A.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Diagnostic W/Wo … 9/14/2018      29870     $3,026.24
1031117-01    M.A.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C… 9/14/2018      29876     $1,472.45
1031117-01    M.A.        All City Family Healthcare Center, Inc.           Arthrs Knee Abrasion Arthrp/Mlt D…   9/14/2018   29879     $1,472.45
1031117-01    M.A.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 9/14/2018       29880     $1,472.45
1031117-01    M.A.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For …  9/14/2018   G0289     $1,472.45
1031117-01    M.A.                     AMSC LLC                             Perq Intrdscl Electrothrm Annulop…   1/24/2019   22526     $2,605.78
1031117-01    M.A.                     AMSC LLC                            Dcmprn Perq Nucleus Pulposus 1/> …    1/24/2019   62287     $5,292.93
1031144-04    S.P.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 11/28/2018     29876     $1,472.45
1031144-04    S.P.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 11/28/2018      29880     $3,026.24
1031144-04    S.P.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…   11/28/2018   29999     $1,472.45
1031144-04    S.P.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For … 11/28/2018   G0289     $1,472.45
1031144-04    S.P.               Surgery Center of Oradell                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/21/2019   64490     $1,518.48
1031144-04    S.P.               Surgery Center of Oradell                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   2/21/2019   64491     $1,518.48
1031180-01    Z.Z.            Manalapan Surgery Center Inc                  Perq Intrdscl Electrothrm Annulop…   11/3/2018   22526     $2,320.90
1031180-01    Z.Z.            Manalapan Surgery Center Inc                  Perq Intrdscl Electrothrm Annulop…   11/3/2018   22527     $2,320.90
1031180-01    Z.Z.            Manalapan Surgery Center Inc                 Discectomy Ant Dcmprn Cord Cervic… 11/3/2018      63075     $5,827.43
1031180-01    Z.Z.            Manalapan Surgery Center Inc                 Discectomy Ant Dcmprn Cord Cervic… 11/3/2018      63076     $2,873.04
1031180-01    Z.Z.            Manalapan Surgery Center Inc                  Fluor Needle/Cath Spine/Paraspina…   11/3/2018   77003      $572.53
1030993-02    C.H.        Health East Ambulatory Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/7/2018   64493     $1,518.48
1030993-02    C.H.        Health East Ambulatory Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/7/2018   64494      $533.92
1030993-02    C.H.        Health East Ambulatory Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/7/2018   64495      $533.92

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                                                          1972
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                Service     Code       Billed
1030993-02    C.H.        Health East Ambulatory Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    12/5/2018   62321      $1,012.32
1030993-02    C.H.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…             12/5/2018   72275       $422.68
1030993-02    C.H.        Health East Ambulatory Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     5/1/2019   62321      $1,012.32
1030993-02    C.H.        Health East Ambulatory Surgical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/18/2019   62321      $1,012.32
1030993-02    C.H.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…            11/18/2019   72275       $422.68
1030993-02    C.H.        Health East Ambulatory Surgical Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     12/2/2019   62323      $1,012.32
1030993-02    C.H.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…             12/2/2019   72275       $422.68
1030993-02    C.H.        Health East Ambulatory Surgical Center            Unlisted Procedure Nervous System…      8/5/2021   64999      $8,064.00
1030993-02    C.H.        Health East Ambulatory Surgical Center             Fluor Needle/Cath Spine/Paraspina…     8/5/2021   77003       $141.00
1030993-02    C.H.        Health East Ambulatory Surgical Center            Probe, Percutaneous Lumbar Discec…      8/5/2021   C2614      $1,380.00
1030993-02    C.H.        Health East Ambulatory Surgical Center            Perc Lamino-/Laminectomy Indir Im…    10/18/2021   0275T     $15,000.00
1030993-02    C.H.        Health East Ambulatory Surgical Center             Perq Intrdscl Electrothrm Annulop…   10/18/2021   22526     $10,000.00
1030993-02    C.H.        Health East Ambulatory Surgical Center             Fluor Needle/Cath Spine/Paraspina…   10/18/2021   77003       $141.00
1030993-02    C.H.        Health East Ambulatory Surgical Center            Probe, Percutaneous Lumbar Discec…    10/18/2021   C2614       $569.25
1030993-02    C.H.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     9/28/2022   62323       $976.38
1030758-01    H.N.             Surgicore of Jersey City LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    9/28/2018   62321       $829.30
1030758-01    H.N.             Surgicore of Jersey City LLC                         Epidurograpy Rs&I…             9/28/2018   72275       $572.53
1030758-01    H.N.                     EMUSC LLC                            Collection Venous Blood Venipunct…     3/21/2019   36415        $10.08
1030758-01    H.N.                     EMUSC LLC                            Collection Venous Blood Venipunct…     3/21/2019   36415        $10.08
1030758-01    H.N.                     EMUSC LLC                              Comprehensive Metabolic Panel…       3/21/2019   80053        $23.41
1030758-01    H.N.                     EMUSC LLC                              Comprehensive Metabolic Panel…       3/21/2019   80053        $23.41
1030758-01    H.N.                     EMUSC LLC                               Hemoglobin Glycosylated A1C…        3/21/2019   83036        $21.79
1030758-01    H.N.                     EMUSC LLC                               Hemoglobin Glycosylated A1C…        3/21/2019   83036        $21.79
1030758-01    H.N.                     EMUSC LLC                           Blood Count Complete Auto&Auto Di…      3/21/2019   85025        $14.93
1030758-01    H.N.                     EMUSC LLC                           Blood Count Complete Auto&Auto Di…      3/21/2019   85025        $14.93
1030758-01    H.N.                     EMUSC LLC                                     Prothrombin Time…             3/21/2019   85610        $11.31
1030758-01    H.N.                     EMUSC LLC                                     Prothrombin Time…             3/21/2019   85610        $11.31
1030758-01    H.N.                     EMUSC LLC                            Thromboplastin Time Partial Plasm…     3/21/2019   85730        $13.72
1030758-01    H.N.                     EMUSC LLC                            Thromboplastin Time Partial Plasm…     3/21/2019   85730        $13.72
1030758-01    H.N.                     EMUSC LLC                           Ecg Routine Ecg W/Least 12 Lds W/…      3/21/2019   93000        $72.95
1030758-01    H.N.                     EMUSC LLC                           Ecg Routine Ecg W/Least 12 Lds W/…      3/21/2019   93000        $72.95
1030758-01    H.N.                     EMUSC LLC                             Office Outpatient New 30 Minutes…     3/21/2019   99203       $142.62
1030758-01    H.N.                     EMUSC LLC                             Office Outpatient New 30 Minutes…     3/21/2019   99203       $142.62
1031129-02    H.M.             Dynamic Surgery Center LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/18/2019   62321      $1,012.32
1031129-02    H.M.             Dynamic Surgery Center LLC                           Epidurograpy Rs&I…             4/18/2019   72275       $572.81
1031129-02    H.M.             Dynamic Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/28/2019   62323      $1,012.32
1031129-02    H.M.             Dynamic Surgery Center LLC                           Epidurograpy Rs&I…             4/28/2019   72275       $572.81
1031129-02    H.M.            Healthplus Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…     5/20/2019   29821      $2,944.87
1031129-02    H.M.            Healthplus Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…     5/20/2019   29823      $3,060.57
1031129-02    H.M.            Healthplus Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …    5/20/2019   29825      $2,944.87
1031129-02    H.M.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…    10/5/2019   20610       $236.69
1031129-02    H.M.          Fifth Avenue Surgery Center LLC                Manj W/Anes Shoulder Joint W/Fixa…      10/5/2019   23700      $1,577.52
1032673-01    A.C.               Hudson Regional Hospital                   Drug Test Prsmv Read Direct Optic…     8/19/2018   80305       $179.46
1032673-01    A.C.             Dynamic Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     8/19/2018   62323      $1,012.32
1032673-01    A.C.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…      9/6/2018   22505      $1,577.52
1032673-01    A.C.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…      9/6/2018   27198       $418.79
1032673-01    A.C.               Hudson Regional Hospital                   Drug Test Prsmv Read Direct Optic…      9/9/2018   80305       $179.46
1032673-01    A.C.             Dynamic Surgery Center LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Crv…     9/9/2018   64490      $1,518.48
1032673-01    A.C.             Dynamic Surgery Center LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Crv…     9/9/2018   64491       $533.93
1032673-01    A.C.             Dynamic Surgery Center LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Crv…     9/9/2018   64492       $533.93
1032673-01    A.C.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…     9/11/2018   22505      $1,577.52
1032673-01    A.C.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…     9/11/2018   27198       $418.79
1032673-01    A.C.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…     9/13/2018   22505      $1,577.52
1032673-01    A.C.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…     9/13/2018   27198       $418.79
1029430-02    E.B.               Hudson Regional Hospital                   Drug Test Prsmv Read Direct Optic…     7/12/2018   80305       $179.46
1029430-02    E.B.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64493      $1,518.48
1029430-02    E.B.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64494       $533.93
1029430-02    E.B.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64495       $533.93
1029430-02    E.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    11/15/2018   29821      $3,026.24
1029430-02    E.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    11/15/2018   29823      $1,472.45
1029430-02    E.B.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …   11/15/2018   64415       $829.30
1029430-02    E.B.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …    11/15/2018   76942       $341.96
1029749-01    J.T.          Island Ambulatory Surgery Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     9/5/2018   62321       $829.30
1029749-01    J.T.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…              9/5/2018   72275       $572.52
1029749-01    J.T.          Island Ambulatory Surgery Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/21/2018   62321       $829.30
1029749-01    J.T.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…            11/21/2018   72275       $572.52
1029749-01    J.T.             Surgicore of Jersey City LLC                Perc Lamino-/Laminectomy Image Gu…       5/2/2019   0274T      $5,292.93
1029749-01    J.T.             Surgicore of Jersey City LLC                Perc Lamino-/Laminectomy Image Gu…       5/2/2019   0274T     $15,000.00

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                                                          1973
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                Service     Code       Billed
1029749-01    J.T.             Surgicore of Jersey City LLC                 Perq Intrdscl Electrothrm Annulop…      5/2/2019   22526     $30,225.00
1029749-01    J.T.             Surgicore of Jersey City LLC                 Perq Intrdscl Electrothrm Annulop…      5/2/2019   22526      $2,605.78
1029749-01    J.T.             Surgicore of Jersey City LLC                 Perq Intrdscl Electrothrm Annulop…      5/2/2019   22527      $2,605.78
1029749-01    J.T.             Surgicore of Jersey City LLC                 Perq Intrdscl Electrothrm Annulop…      5/2/2019   22527     $73,530.00
1028895-01    V.M.        New York Center For Specialty Surgery             Office Outpatient New 45 Minutes…      8/27/2018   99204       $148.70
1028895-01    V.M.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec… 10/30/2018       29821      $1,472.45
1028895-01    V.M.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Debride…     10/30/2018   29823      $3,026.24
1028895-01    V.M.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …    10/30/2018   64415       $829.30
1028895-01    V.M.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img … 10/30/2018       76942       $341.96
1028895-01    V.M.        New York Center For Specialty Surgery              Office Outpatient Visit 40 Minute…   11/26/2018   99215        $92.98
1028895-01    V.M.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…   11/26/2018   20552       $236.69
1028895-01    V.M.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    11/26/2018   62321       $829.30
1028895-01    V.M.                     SCOB LLC                                      Epidurograpy Rs&I…           11/26/2018   72275       $572.53
1028895-01    V.M.                     SCOB LLC                            Us Guidance Needle Placement Img … 11/26/2018       76942       $341.96
1028895-01    V.M.        New York Center For Specialty Surgery              Office Outpatient Visit 40 Minute…   12/17/2018   99215       $142.21
1028895-01    V.M.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    12/17/2018   62321       $829.30
1028895-01    V.M.                     SCOB LLC                                      Epidurograpy Rs&I…           12/17/2018   72275       $572.53
1028895-01    V.M.                     AMSC LLC                              Injection Single/Mlt Trigger Poin…     4/7/2019   20553       $277.37
1028895-01    V.M.                     AMSC LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       4/7/2019   62323       $488.19
1028895-01    V.M.                     AMSC LLC                                      Epidurograpy Rs&I…             4/7/2019   72275       $572.52
1028895-01    V.M.                     AMSC LLC                            Us Guidance Needle Placement Img …       4/7/2019   76942       $423.32
1030636-02    O.C.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…     9/25/2018   80305       $179.46
1030636-02    O.C.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     9/25/2018   64493      $1,518.48
1030636-02    O.C.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     9/25/2018   64494       $533.93
1030636-02    O.C.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     9/25/2018   64495       $533.93
1030636-02    O.C.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…     10/2/2018   80305       $179.46
1030636-02    O.C.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/2/2018   64493      $1,518.48
1030636-02    O.C.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/2/2018   64494       $533.93
1030636-02    O.C.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/2/2018   64495       $533.93
1030636-02    O.C.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/9/2018   64493      $1,518.48
1030636-02    O.C.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/9/2018   64494       $533.93
1030636-02    O.C.            Healthplus Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     10/9/2018   64494       $533.93
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Manipulation Spine Requiring Anes…      12/2/2018   22505       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Manipulation Spine Requiring Anes…      12/2/2018   22505       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Manipulation Spine Requiring Anes…      12/2/2018   22505       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…      12/2/2018   23700       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Clsd Tx Pelvic Ring Fx W/Manipula…      12/2/2018   27198       $418.78
1030636-02    O.C.        All City Family Healthcare Center, Inc.           Manipulation Hip Joint General An…     12/2/2018   27275      $1,577.52
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Manipulation Spine Requiring Anes…      12/3/2018   22505       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Manipulation Spine Requiring Anes…      12/3/2018   22505       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Manipulation Spine Requiring Anes…      12/3/2018   22505       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…      12/3/2018   23700       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…      12/3/2018   23700       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Clsd Tx Pelvic Ring Fx W/Manipula…      12/3/2018   27198       $418.78
1030636-02    O.C.        All City Family Healthcare Center, Inc.           Manipulation Hip Joint General An…     12/3/2018   27275      $1,577.52
1030636-02    O.C.        All City Family Healthcare Center, Inc.           Manipulation Hip Joint General An…     12/3/2018   27275       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Manipulation Spine Requiring Anes…      12/4/2018   22505       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Manipulation Spine Requiring Anes…      12/4/2018   22505       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Manipulation Spine Requiring Anes…      12/4/2018   22505       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…      12/4/2018   23700       $748.08
1030636-02    O.C.        All City Family Healthcare Center, Inc.          Clsd Tx Pelvic Ring Fx W/Manipula…      12/4/2018   27198       $418.78
1030636-02    O.C.        All City Family Healthcare Center, Inc.           Manipulation Hip Joint General An…     12/4/2018   27275      $1,577.52
1030636-03    D.C.              Hudson Regional Hospital                  Arthrs Knee W/Meniscectomy Med&La… 9/28/2018         29880     $35,454.57
1030636-03    D.C.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…     9/28/2018   80305       $179.46
1030636-03    D.C.              Hudson Regional Hospital                    Ther Px 1/> Areas Ea 15 Min Gait …     9/28/2018   97116       $157.55
1030636-03    D.C.              Hudson Regional Hospital                     Injection, Adrenalin, Epinephrine…    9/28/2018   J0171        $17.00
1030636-03    D.C.              Hudson Regional Hospital                      Injection, Succinylcholine Chlori…   9/28/2018   J0330        $11.00
1030636-03    D.C.              Hudson Regional Hospital                     Injection, Hydralazine Hcl, Up To…    9/28/2018   J0360        $54.00
1030636-03    D.C.              Hudson Regional Hospital                    Injection, Ketorolac Tromethamine…     9/28/2018   J1885        $21.00
1030636-03    D.C.              Hudson Regional Hospital                     Injection, Morphine Sulfate, Up T…    9/28/2018   J2270        $63.00
1030636-03    D.C.              Hudson Regional Hospital                     Injection, Phenylephrine Hcl, Up …    9/28/2018   J2370        $17.00
1030636-03    D.C.              Hudson Regional Hospital                         Injection, Propofol, 10 Mg…       9/28/2018   J2704        $43.00
1030636-03    D.C.              Hudson Regional Hospital                       Injection, Fentanyl Citrate, 0.1 …  9/28/2018   J3010        $12.00
1030636-03    D.C.              Hudson Regional Hospital                      Glycopyrrolate, Inhalation Soluti…   9/28/2018   J7643        $47.00
1030636-03    D.C.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…    10/16/2018   80305       $179.46
1030636-03    D.C.             Dynamic Surgery Center LLC                  Njx Anes&/Strd W/Img Tfrml Edrl L… 10/16/2018       64483      $1,518.48
1030636-03    D.C.             Dynamic Surgery Center LLC                  Njx Anes&/Strd W/Img Tfrml Edrl L… 10/16/2018       64484       $776.84
1030636-03    D.C.             Dynamic Surgery Center LLC                  Njx Anes&/Strd W/Img Tfrml Edrl L… 10/16/2018       64484       $776.84

                                                                    261 of 294                                                              Exhibit 4
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                                                          1974
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                        Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1030636-03    D.C.             Dynamic Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L… 10/23/2018     64483     $1,518.48
1030636-03    D.C.             Dynamic Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L… 10/23/2018     64484      $776.84
1030636-03    D.C.             Dynamic Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L… 10/23/2018     64484      $776.84
1030636-03    D.C.             Dynamic Surgery Center LLC                  Injection Single/Mlt Trigger Poin… 10/30/2018   20553      $107.64
1030636-03    D.C.             Dynamic Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L… 10/30/2018     64483     $1,518.48
1030636-03    D.C.             Dynamic Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L… 10/30/2018     64484      $776.84
1030636-03    D.C.             Dynamic Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L… 10/30/2018     64484      $776.84
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   12/2/2018   22505      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   12/2/2018   22505      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   12/2/2018   22505      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…    12/2/2018   23700      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…    12/2/2018   23700      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.        Clsd Tx Pelvic Ring Fx W/Manipula…    12/2/2018   27198       $99.05
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…   12/2/2018   27275     $1,577.52
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…   12/2/2018   27275      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   12/3/2018   22505      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   12/3/2018   22505      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   12/3/2018   22505      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…    12/3/2018   23700      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…    12/3/2018   23700      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.        Clsd Tx Pelvic Ring Fx W/Manipula…    12/3/2018   27198      $418.78
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…   12/3/2018   27275      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…   12/3/2018   27275     $1,577.52
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   12/4/2018   22505      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   12/4/2018   22505      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   12/4/2018   22505      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…    12/4/2018   23700      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…    12/4/2018   23700      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.        Clsd Tx Pelvic Ring Fx W/Manipula…    12/4/2018   27198      $418.78
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…   12/4/2018   27275      $748.08
1030636-03    D.C.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…   12/4/2018   27275     $1,577.52
1029982-01    C.R.                    EMUSC LLC                           Basic Metabolic Panel Calcium Ion…   8/13/2018   80047       $88.25
1029982-01    C.R.                    EMUSC LLC                                Blood Count Hematocrit…         8/13/2018   85014       $20.00
1029982-01    C.R.                    EMUSC LLC                                Blood Count Hematocrit…         8/13/2018   85014       $20.00
1029982-01    C.R.                    EMUSC LLC                                    Prothrombin Time…           8/13/2018   85610       $20.00
1029982-01    C.R.                    EMUSC LLC                           Thromboplastin Time Partial Plasm…   8/13/2018   85730       $20.00
1029982-01    C.R.                    EMUSC LLC                          Ecg Routine Ecg W/Least 12 Lds W/…    8/13/2018   93000      $102.00
1029982-01    C.R.                    EMUSC LLC                           Office Consultation New/Estab Pat…   8/13/2018   99243      $181.23
1029982-01    C.R.                    EMUSC LLC                           Office Consultation New/Estab Pat…   8/20/2018   99243      $400.00
1029982-01    C.R.                    EMUSC LLC                           Anes Open/Surg Arthroscopic Proc …   8/24/2018    1400      $720.00
1029982-01    C.R.                    EMUSC LLC                          Arthroscopy Knee Removal Loose/Fo… 8/24/2018      29874     $1,472.45
1029982-01    C.R.                    EMUSC LLC                          Arthroscopy Knee Synovectomy 2/>C… 8/24/2018      29876     $1,472.45
1029982-01    C.R.                    EMUSC LLC                          Arthrs Knee Debridement/Shaving A…    8/24/2018   29877     $1,472.45
1029982-01    C.R.                    EMUSC LLC                           Arthrs Knee Abrasion Arthrp/Mlt D…   8/24/2018   29879     $1,472.45
1029982-01    C.R.                    EMUSC LLC                         Arthrs Knee W/Meniscectomy Med&La… 8/24/2018       29880     $3,025.86
1029982-01    C.R.                    EMUSC LLC                           Anes Dx/Ther Nerve Block/Injectio…   12/4/2018    1992      $135.05
1029982-01    C.R.                    EMUSC LLC                           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/4/2018   62321      $828.93
1029982-01    C.R.                    EMUSC LLC                                   Epidurograpy Rs&I…           12/4/2018   72275      $326.76
1029982-01    C.R.                    EMUSC LLC                           Low Osmolar Contrast Material, 30…   12/4/2018   Q9967      $100.00
1029982-01    C.R.             Surgicore of Jersey City LLC             Perc Lamino-/Laminectomy Image Gu… 2/11/2019       0274T     $5,827.43
1029982-01    C.R.             Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…   2/11/2019   22526     $2,320.90
1029982-01    C.R.             Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…   2/11/2019   22527     $2,320.90
1029982-01    C.R.             Surgicore of Jersey City LLC               Fluor Needle/Cath Spine/Paraspina…   2/11/2019   77003      $572.53
1029982-01    C.R.             Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…    2/11/2019   A4649     $1,250.00
1029122-01    Y.F.     Surgicore LLC d/b/a Surgicore Surgical Center     Njx Anes&/Strd W/Img Tfrml Edrl L… 12/12/2018     64483     $7,500.00
1029122-01    Y.F.     Surgicore LLC d/b/a Surgicore Surgical Center     Njx Anes&/Strd W/Img Tfrml Edrl L… 12/12/2018     64483     $7,500.00
1029122-01    Y.F.     Surgicore LLC d/b/a Surgicore Surgical Center              Epidurograpy Rs&I…          12/12/2018   72275     $2,721.00
1029122-01    Y.F.     Surgicore LLC d/b/a Surgicore Surgical Center      Fluor Needle/Cath Spine/Paraspina…  12/12/2018   77003     $2,072.60
1030368-01    L.Y.        Bronx SC LLC d/b/a Empire State ASC            Simple Repair Scalp/Neck/Ax/Genit…    2/26/2019   12001      $251.43
1030368-01    L.Y.        Bronx SC LLC d/b/a Empire State ASC             Arthroscopy Shoulder Surg Debride…   2/26/2019   29822     $1,472.45
1030368-01    L.Y.        Bronx SC LLC d/b/a Empire State ASC             Arthroscopy Shoulder Distal Clavi…   2/26/2019   29824     $3,026.24
1030368-01    L.Y.        Bronx SC LLC d/b/a Empire State ASC             Arthroscopy Shoulder Ahesiolysis …   2/26/2019   29825     $1,472.45
1030368-01    L.Y.        Bronx SC LLC d/b/a Empire State ASC            Arthroscopy Shoulder W/Coracoacrm… 2/26/2019      29826     $1,472.45
1030368-01    L.Y.                     AMSC LLC                           Arthroscopy Wrist Surgical Synove…   8/23/2019   29845     $3,026.23
1030368-01    L.Y.                     AMSC LLC                           Arthrs Wrst Exc&/Rpr Triang Fibro…   8/23/2019   29846     $1,513.12
1028735-02    T.V.        New York Center For Specialty Surgery            Office Outpatient Visit 40 Minute…  9/20/2018   99215       $92.98
1028735-02    T.V.                     SCOB LLC                           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/20/2018   62323      $829.30
1028735-02    T.V.                     SCOB LLC                                   Epidurograpy Rs&I…           9/20/2018   72275      $572.53

                                                                  262 of 294                                                           Exhibit 4
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                                                          1975
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                 Service     Code       Billed
1028735-02    T.V.        New York Center For Specialty Surgery               Office Outpatient Visit 40 Minute…    10/3/2018   99215       $92.98
1028735-02    T.V.                     SCOB LLC                               Injection Single/Mlt Trigger Poin…    10/3/2018   20552      $236.69
1028735-02    T.V.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      10/3/2018   62323      $829.30
1028735-02    T.V.                     SCOB LLC                                      Epidurograpy Rs&I…             10/3/2018   72275      $572.53
1028735-02    T.V.                     SCOB LLC                             Us Guidance Needle Placement Img …      10/3/2018   76942      $341.96
1028735-02    T.V.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     12/10/2018   62323      $829.30
1028735-02    T.V.                     SCOB LLC                                      Epidurograpy Rs&I…            12/10/2018   72275      $572.53
1028735-02    T.V.        New York Center For Specialty Surgery               Office Outpatient Visit 40 Minute…    1/21/2019   99215      $142.21
1028735-02    T.V.                     AMSC LLC                             Dcmprn Perq Nucleus Pulposus 1/> …       4/5/2019   62287     $5,292.93
1028735-02    T.V.                     AMSC LLC                               Injection Single/Mlt Trigger Poin…    4/17/2019   20553      $277.37
1028735-02    T.V.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      4/17/2019   62321      $976.38
1028735-02    T.V.                     AMSC LLC                                      Epidurograpy Rs&I…             4/17/2019   72275      $572.52
1028735-02    T.V.                     AMSC LLC                             Us Guidance Needle Placement Img …      4/17/2019   76942      $423.32
1028735-02    T.V.                     AMSC LLC                               Injection Single/Mlt Trigger Poin…    5/22/2019   20553      $277.37
1028735-02    T.V.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      5/22/2019   62321      $976.38
1028735-02    T.V.                     AMSC LLC                                      Epidurograpy Rs&I…             5/22/2019   72275      $572.52
1028735-02    T.V.                     AMSC LLC                             Us Guidance Needle Placement Img …      5/22/2019   76942      $423.32
1028735-02    T.V.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…    6/26/2019   20552      $277.37
1028735-02    T.V.         Rockaways ASC Development LLC                     Njx Dx/Ther Agt Pvrt Facet Jt Crv…     6/26/2019   64490      $976.38
1028735-02    T.V.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …      6/26/2019   76942      $423.32
1028735-02    T.V.         Rockaways ASC Development LLC                      Injection Single/Mlt Trigger Poin…    7/31/2019   20552      $554.74
1028735-02    T.V.         Rockaways ASC Development LLC                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      7/31/2019   62321      $976.38
1028735-02    T.V.         Rockaways ASC Development LLC                             Epidurograpy Rs&I…             7/31/2019   72275      $572.52
1028735-02    T.V.         Rockaways ASC Development LLC                    Us Guidance Needle Placement Img …      7/31/2019   76942      $423.32
1028735-02    T.V.         Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/5/2019   64493      $976.38
1028735-02    T.V.         Rockaways ASC Development LLC                     Njx Dx/Ther Agt Pvrt Facet Jt Crv…    11/20/2019   64490      $976.38
1027841-01    K.D.          Fifth Avenue Surgery Center LLC                 Partial Repair Or Removal Of Shou…      7/15/2018   23130     $3,111.71
1027841-01    K.D.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…      7/15/2018   29821     $1,472.45
1027841-01    K.D.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…      7/15/2018   29823     $1,472.45
1027841-01    K.D.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm…       7/15/2018   29826     $1,472.45
1027841-01    K.D.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…      8/1/2018   64490      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…      8/1/2018   64490      $979.78
1027841-01    K.D.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…      8/1/2018   64491      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…      8/1/2018   64491      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…      8/1/2018   64492      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…      8/1/2018   64492      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/27/2018   64490      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/27/2018   64490      $979.78
1027841-01    K.D.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/27/2018   64491      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/27/2018   64491      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/27/2018   64492      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     8/27/2018   64492      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/26/2018   64493      $979.78
1027841-01    K.D.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/26/2018   64493      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/26/2018   64494      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/26/2018   64494      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/26/2018   64495      $449.21
1027841-01    K.D.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/26/2018   64495      $449.21
1027841-01    K.D.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi…        9/8/2019   29875     $1,472.45
1027841-01    K.D.          Fifth Avenue Surgery Center LLC                Arthrs Kne Surg W/Meniscectomy Me…        9/8/2019   29881     $3,026.24
1027841-01    K.D.          Fifth Avenue Surgery Center LLC                  Injection Anesthetic Agent Femora…      9/8/2019   64447      $829.30
1027841-01    K.D.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …       9/8/2019   76942      $341.96
1028321-01    J.C.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…      8/16/2018   29821     $1,472.45
1028321-01    J.C.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…      8/16/2018   29823     $3,026.24
1028321-01    J.C.             Surgicore of Jersey City LLC                    Unlisted Procedure Arthroscopy…      8/16/2018   29999     $1,472.45
1028321-01    J.C.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …     8/16/2018   64415      $829.30
1028321-01    J.C.             Surgicore of Jersey City LLC                 Us Guidance Needle Placement Img …      8/16/2018   76942      $341.96
1028321-01    J.C.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…      11/3/2018   80305      $179.46
1028321-01    J.C.             Dynamic Surgery Center LLC                   Manipulation Spine Requiring Anes…      11/3/2018   22505     $2,074.56
1028321-01    J.C.             Dynamic Surgery Center LLC                  Manj W/Anes Shoulder Joint W/Fixa…       11/3/2018   23700     $1,037.28
1028321-01    J.C.             Dynamic Surgery Center LLC                   Clsd Tx Pelvic Ring Fx W/Manipula…      11/3/2018   27198     $1,037.28
1028089-01    C.C.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     7/25/2018   64490      $979.78
1028089-01    C.C.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     7/25/2018   64491      $449.21
1028089-01    C.C.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     7/25/2018   64492      $449.21
1028089-01    C.C.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…     10/19/2018   29820     $3,026.24
1028089-01    C.C.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…     10/19/2018   29823     $1,472.45
1028089-01    C.C.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…      10/19/2018   29826     $1,472.45
1028089-01    C.C.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …    10/19/2018   64415      $829.30

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                                                          1976
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1028089-01    C.C.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img … 10/19/2018     76942      $341.96
1028089-02    M.C.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…   7/25/2018   64490      $979.78
1028089-02    M.C.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…   7/25/2018   64491      $449.21
1028089-02    M.C.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…   7/25/2018   64492      $449.21
1028089-02    M.C.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Diagnostic W/Wo … 7/29/2018      29870     $3,026.24
1028089-02    M.C.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C… 7/29/2018      29876     $1,472.45
1028089-02    M.C.        All City Family Healthcare Center, Inc.         Arthrs Kne Surg W/Meniscectomy Me… 7/29/2018       29881     $1,472.45
1028089-02    M.C.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For …  7/29/2018   G0289     $1,472.45
1028335-01    J.B.         New York Surgery Center of Queens                 Injection Single/Mlt Trigger Poin…  6/27/2018   20553      $236.69
1028335-01    J.B.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/27/2018   64493      $979.78
1028335-01    J.B.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/27/2018   64494      $449.21
1028335-01    J.B.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/11/2018   64493      $979.78
1028335-01    J.B.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/11/2018   64494      $449.21
1028335-01    J.B.          Fifth Avenue Surgery Center LLC                 Arthroscopy Knee Lateral Release…    7/16/2018   29873     $1,472.45
1028335-01    J.B.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy 2/>C… 7/16/2018      29876     $1,472.45
1028335-01    J.B.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 7/16/2018       29880     $3,026.24
1028335-01    J.B.         New York Surgery Center of Queens                 Dstr Nrolytc Agnt Parverteb Fct S…  8/15/2018   64635      $979.78
1028335-01    J.B.         New York Surgery Center of Queens                Dstr Nrolytc Agnt Parverteb Fct A…   8/15/2018   64636      $449.21
1028335-01    J.B.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/5/2018   64490      $449.21
1028335-01    J.B.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/5/2018   64490      $979.78
1028335-01    J.B.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/5/2018   64491      $449.21
1028335-01    J.B.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/5/2018   64491      $449.21
1028335-01    J.B.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/5/2018   64492      $449.21
1028335-01    J.B.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/5/2018   64492      $449.21
1028335-01    J.B.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/31/2018   64490      $979.78
1028335-01    J.B.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/31/2018   64491      $449.21
1028335-01    J.B.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…  10/31/2018   64492      $449.21
1026256-01    J.N.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   7/30/2018   62323      $829.30
1026256-01    J.N.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           7/30/2018   72275      $572.52
1026256-01    J.N.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/13/2018   62323      $829.30
1026256-01    J.N.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/18/2018   62323      $829.30
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/10/2021   64493      $976.38
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/10/2021   64493      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/10/2021   64494      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/10/2021   64494      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/10/2021   64495      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/10/2021   64495      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…    9/10/2021   A4649       $50.00
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/1/2021   64493      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/1/2021   64493      $976.38
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/1/2021   64494      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/1/2021   64494      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/1/2021   64495      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/1/2021   64495      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…    10/1/2021   a4649       $50.00
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct S…  10/8/2021   64635      $976.38
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Dstr Nrolytc Agnt Parverteb Fct A…   10/8/2021   64636      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Dstr Nrolytc Agnt Parverteb Fct A…   10/8/2021   64636      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…    10/8/2021   A4649       $50.00
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                  Dstr Nrolytc Agnt Parverteb Fct S… 10/22/2021   64635      $976.38
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Dstr Nrolytc Agnt Parverteb Fct A…  10/22/2021   64636      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                 Dstr Nrolytc Agnt Parverteb Fct A…  10/22/2021   64636      $447.52
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                   Surgical Supply; Miscellaneous…   10/22/2021   A4649       $50.00
1026256-01    J.N.          Fifth Avenue Surgery Center LLC                Auto Bone Marrw Cell Rx Complt Bo… 2/23/2022      0263T     $3,382.28
1026256-01    J.N.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 2/23/2022      E0650      $531.06
1026256-01    J.N.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    2/23/2022   E0666       $89.56
1029281-01    F.J.               Mountain Surgery Center                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/20/2018   62323     $4,635.00
1029281-01    F.J.               Mountain Surgery Center                            Epidurograpy Rs&I…          10/20/2018   72275     $4,800.00
1029281-01    F.J.               Mountain Surgery Center                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/3/2018   62323     $4,635.00
1029281-01    F.J.               Mountain Surgery Center                            Epidurograpy Rs&I…           11/3/2018   72275     $4,800.00
1029281-01    F.J.               Mountain Surgery Center                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/8/2018   62321     $5,047.00
1029281-01    F.J.               Mountain Surgery Center                            Epidurograpy Rs&I…           12/8/2018   72275     $4,800.00
1029281-01    F.J.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 1/24/2019       29880     $3,026.24
1029281-01    F.J.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For …  1/24/2019   G0289     $1,472.45
1027240-01    D.G.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy 2/>C… 7/16/2018      29876     $1,472.45
1027240-01    D.G.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 7/16/2018       29880     $3,026.24
1027240-01    D.G.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…    7/16/2018   29999     $1,472.45
1027240-01    D.G.          Fifth Avenue Surgery Center LLC                  Arthroscopy, Knee, Surgical, For …  7/16/2018   G0289     $1,472.45

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                                                          1977
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                        Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1027240-01    D.G.           Fifth Avenue Surgery Center LLC             Arthroscopy Knee Synovectomy 2/>C… 8/20/2018      29876     $1,472.45
1027240-01    D.G.           Fifth Avenue Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La… 8/20/2018       29880     $3,026.24
1027240-01    D.G.           Fifth Avenue Surgery Center LLC                Unlisted Procedure Arthroscopy…    8/20/2018   29999     $1,472.45
1027240-01    D.G.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical, For …  8/20/2018   G0289     $1,472.45
1027240-01    D.G.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/12/2018   64490      $979.78
1027240-01    D.G.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/12/2018   64490      $449.21
1027240-01    D.G.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/12/2018   64490      $449.21
1027240-01    D.G.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/12/2018   64491      $449.21
1027240-01    D.G.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/12/2018   64492      $449.21
1027240-01    D.G.          New York Surgery Center of Queens             Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/12/2018   64492      $449.21
1028019-02    A.B.           Fifth Avenue Surgery Center LLC              Arthrocentesis Aspir&/Inj Major J…   6/12/2018   20610      $236.69
1028019-02    A.B.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…    6/12/2018   29821     $1,472.45
1028019-02    A.B.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Debride…   6/12/2018   29823     $3,026.24
1028019-02    A.B.           Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …   6/12/2018   64415      $829.30
1028019-02    A.B.           Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …    6/12/2018   76942      $341.96
1028019-02    A.B.           Fifth Avenue Surgery Center LLC               Drainage Finger Abscess Simple…     7/17/2018   26010      $236.69
1028019-02    A.B.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…    7/17/2018   29820     $1,472.45
1028019-02    A.B.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Debride…   7/17/2018   29823     $3,026.24
1028019-02    A.B.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …   7/17/2018   29825     $1,472.45
1028019-02    A.B.           Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …   7/17/2018   64415      $829.30
1028019-02    A.B.           Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …    7/17/2018   76942      $341.96
1028019-02    A.B.               CHC Surgical Center LLC                   Injection Single/Mlt Trigger Poin…  10/5/2018   20552      $557.74
1028019-02    A.B.               CHC Surgical Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/5/2018   64490      $979.80
1028019-02    A.B.               CHC Surgical Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/5/2018   64490      $979.80
1028019-02    A.B.               CHC Surgical Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/5/2018   64491      $979.80
1028019-02    A.B.               CHC Surgical Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/5/2018   64491      $979.80
1028019-02    A.B.               CHC Surgical Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/5/2018   64492      $979.80
1028019-02    A.B.               CHC Surgical Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   10/5/2018   64492      $979.80
1026234-01    W.A.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/17/2018   62323      $829.30
1026234-01    W.A.           Island Ambulatory Surgery Center                     Epidurograpy Rs&I…           8/17/2018   72275      $572.52
1026234-01    W.A.              Surgicore of Jersey City LLC              Manipulation Spine Requiring Anes…   9/25/2018   22505      $748.08
1026234-01    W.A.              Surgicore of Jersey City LLC             Manj W/Anes Shoulder Joint W/Fixa…    9/25/2018   23700     $1,577.52
1026234-01    W.A.              Surgicore of Jersey City LLC             Clsd Tx Pelvic Ring Fx W/Manipula…    9/25/2018   27198      $418.79
1026234-01    W.A.              Surgicore of Jersey City LLC              Manipulation Spine Requiring Anes…   9/27/2018   22505      $748.08
1026234-01    W.A.              Surgicore of Jersey City LLC             Manj W/Anes Shoulder Joint W/Fixa…    9/27/2018   23700     $1,577.52
1026234-01    W.A.              Surgicore of Jersey City LLC             Clsd Tx Pelvic Ring Fx W/Manipula…    9/27/2018   27198      $418.79
1026234-01    W.A.              Surgicore of Jersey City LLC              Manipulation Spine Requiring Anes…  10/16/2018   22505      $748.08
1026234-01    W.A.              Surgicore of Jersey City LLC             Manj W/Anes Shoulder Joint W/Fixa… 10/16/2018     23700     $1,577.52
1026234-01    W.A.              Surgicore of Jersey City LLC             Clsd Tx Pelvic Ring Fx W/Manipula… 10/16/2018     27198      $418.79
1026234-01    W.A.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   11/9/2018   62321      $829.30
1026234-01    W.A.           Island Ambulatory Surgery Center                     Epidurograpy Rs&I…           11/9/2018   72275      $572.52
1025677-01    W.M.                     EMUSC LLC                        Radex Ankle Complete Minimum 3 Vi… 10/29/2018      73610       $78.29
1025677-01    W.M.                     EMUSC LLC                          Office Consultation New/Estab Pat…  10/29/2018   99243      $181.23
1025677-01    W.M.     Surgicore LLC d/b/a Surgicore Surgical Center      Tenolysis Flxr/Xtnsr Tendon Leg&/…   2/28/2020   27680     $1,417.17
1025677-01    W.M.     Surgicore LLC d/b/a Surgicore Surgical Center     Repair Secondary Disrupted Ligame…    2/28/2020   27698     $1,615.30
1025677-01    W.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Open Tx Distal Fibular Fracture L…  2/28/2020   27792     $4,869.06
1025677-01    W.M.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Ankle Surgical Debrid…   2/28/2020   29898     $1,472.45
1025677-01    W.M.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Subtalar Joint With D…   2/28/2020   29906     $1,472.45
1025677-01    W.M.     Surgicore LLC d/b/a Surgicore Surgical Center       Injection Anesthetic Agent Sciati…  2/28/2020   64445      $829.30
1025677-01    W.M.     Surgicore LLC d/b/a Surgicore Surgical Center     Us Guidance Needle Placement Img …    2/28/2020   76942      $341.96
1025693-01    W.F.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Debride…   5/30/2018   29823     $1,472.45
1025693-01    W.F.        All City Family Healthcare Center, Inc.        Arthroscopy Shoulder W/Coracoacrm… 5/30/2018      29826     $1,472.45
1025693-01    W.F.        All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Rotator Cuff…   5/30/2018   29827     $5,677.77
1025693-01    W.F.        All City Family Healthcare Center, Inc.        Arthroscopy Shoulder Biceps Tenod…    5/30/2018   29828     $1,472.45
1025693-01    W.F.        All City Family Healthcare Center, Inc.         Single Nerve Block Injection Arm …   5/30/2018   64415      $829.30
1025693-01    W.F.        All City Family Healthcare Center, Inc.        Us Guidance Needle Placement Img …    5/30/2018   76942      $341.96
1025693-01    W.F.                      SCOB LLC                           Injection Single/Mlt Trigger Poin…  7/15/2018   20552      $236.69
1025693-01    W.F.                      SCOB LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   7/15/2018   62323      $829.30
1025693-01    W.F.                      SCOB LLC                                  Epidurograpy Rs&I…           7/15/2018   72275      $572.53
1025693-01    W.F.                      SCOB LLC                         Us Guidance Needle Placement Img …    7/15/2018   76942      $341.96
1025693-01    W.F.        New York Center For Specialty Surgery            Office Outpatient Visit 40 Minute…  7/29/2018   99215       $92.98
1025693-01    W.F.        New York Center For Specialty Surgery            Office Outpatient Visit 40 Minute…  8/12/2018   99215       $92.98
1025693-01    W.F.                      SCOB LLC                           Injection Single/Mlt Trigger Poin…  8/12/2018   20552      $236.69
1025693-01    W.F.                      SCOB LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/12/2018   62323      $829.30
1025693-01    W.F.                      SCOB LLC                                  Epidurograpy Rs&I…           8/12/2018   72275      $572.53
1025693-01    W.F.                      SCOB LLC                         Us Guidance Needle Placement Img …    8/12/2018   76942      $341.96
1025693-01    W.F.        All City Family Healthcare Center, Inc.         Arthrocentesis Aspir&/Inj Major J…   8/23/2018   20610      $236.69
1025693-01    W.F.        All City Family Healthcare Center, Inc.        Arthroscopy Knee Diagnostic W/Wo … 8/23/2018      29870     $3,026.24

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                                                          1978
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1025693-01    W.F.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 8/23/2018      29875     $1,472.45
1025693-01    W.F.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C… 8/23/2018      29876     $1,472.45
1025693-01    W.F.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 8/23/2018       29880     $1,472.45
1025693-01    W.F.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For …  8/23/2018   G0289     $1,472.45
1025693-01    W.F.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…   1/10/2019   22505     $1,577.52
1025693-01    W.F.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    1/10/2019   27198      $418.79
1025693-01    W.F.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…   1/15/2019   22505     $1,577.52
1025693-01    W.F.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    1/15/2019   27198      $418.79
1025693-01    W.F.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…   1/17/2019   22505     $1,577.52
1025693-01    W.F.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    1/17/2019   27198      $418.79
1025693-01    W.F.                      AMSC LLC                             Injection Single/Mlt Trigger Poin…  3/10/2019   20553      $277.37
1025693-01    W.F.                      AMSC LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/10/2019   62323      $976.38
1025693-01    W.F.                      AMSC LLC                                    Epidurograpy Rs&I…           3/10/2019   72275      $572.52
1025693-01    W.F.                      AMSC LLC                           Us Guidance Needle Placement Img …    3/10/2019   76942      $423.32
1030032-02    C.C.          Fifth Avenue Surgery Center LLC                 Arthrocentesis Aspir&/Inj Major J…    8/2/2018   20610      $236.69
1030032-02    C.C.          Fifth Avenue Surgery Center LLC                Tenotomy Shoulder Multiple Thru S…     8/2/2018   23406     $3,111.71
1030032-02    C.C.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surgical Rem…    8/2/2018   29819     $1,472.45
1030032-02    C.C.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…     8/2/2018   29821     $1,472.45
1030032-02    C.C.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    8/2/2018   29823     $1,472.45
1030032-02    C.C.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …    8/2/2018   29825     $1,472.45
1030032-02    C.C.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm…     8/2/2018   29826     $1,472.45
1030032-02    C.C.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …    8/2/2018   64415      $829.30
1030032-02    C.C.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     8/2/2018   76942      $341.96
1030032-02    C.C.        Health East Ambulatory Surgical Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/1/2019   62321     $1,012.32
1030032-02    C.C.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…            2/1/2019   72275      $422.68
1030032-02    C.C.        Health East Ambulatory Surgical Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   4/12/2019   62321     $1,012.32
1030032-02    C.C.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…           4/12/2019   72275      $422.68
1026105-03    S.P.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…   7/15/2018   64447      $829.30
1026105-03    S.P.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    7/15/2018   76942      $341.96
1026105-03    S.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/1/2018   64490      $979.78
1026105-03    S.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/1/2018   64491      $449.21
1026105-03    S.P.         New York Surgery Center of Queens                Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/1/2018   64492      $449.21
1026970-01    H.S.             Surgicore of Jersey City LLC                 Insertion Wire/Pin W/Appl Skeleta…   6/28/2018   20650     $1,393.70
1026970-01    H.S.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec…    6/28/2018   29821     $1,472.45
1026970-01    H.S.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…   6/28/2018   29823     $1,472.45
1026970-01    H.S.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Distal Clavi…   6/28/2018   29824     $1,472.44
1026970-01    H.S.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm… 6/28/2018      29826     $1,472.45
1026970-01    H.S.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Rotator Cuff…   6/28/2018   29827     $5,677.77
1026970-01    H.S.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …   6/28/2018   64415      $829.30
1026970-01    H.S.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …    6/28/2018   76942      $341.96
1026970-01    H.S.                      AMSC LLC                             Injection Single/Mlt Trigger Poin…   3/3/2019   20553      $554.74
1026970-01    H.S.                      AMSC LLC                            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/3/2019   62323      $976.38
1026970-01    H.S.                      AMSC LLC                                    Epidurograpy Rs&I…            3/3/2019   72275      $572.52
1026970-01    H.S.                      AMSC LLC                           Us Guidance Needle Placement Img …     3/3/2019   76942      $423.32
1026970-01    H.S.         Rockaways ASC Development LLC                     Injection Single/Mlt Trigger Poin…   6/5/2019   20552      $277.37
1026970-01    H.S.         Rockaways ASC Development LLC                    Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/5/2019   64493      $976.38
1026970-01    H.S.         Rockaways ASC Development LLC                   Us Guidance Needle Placement Img …     6/5/2019   76942      $211.66
1026970-01    H.S.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder W/Coracoacrm… 10/22/2019     29826     $3,026.24
1026970-01    H.S.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder W/Coracoacrm… 10/22/2019     29826     $1,472.45
1026970-01    H.S.        Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Rotator Cuff…  10/22/2019   29827     $5,677.77
1026970-01    H.S.        Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Rotator Cuff…  10/22/2019   29827     $5,677.77
1024529-03    A.G.          Fifth Avenue Surgery Center LLC                 Arthrocentesis Aspir&/Inj Major J…   9/25/2018   20610      $236.69
1024529-03    A.G.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…    9/25/2018   29820     $1,472.45
1024529-03    A.G.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   9/25/2018   29823     $3,026.24
1024529-03    A.G.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …   9/25/2018   29825     $1,472.45
1024529-03    A.G.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   9/25/2018   64415      $829.30
1024529-03    A.G.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    9/25/2018   76942      $341.96
1024529-03    A.G.          Fifth Avenue Surgery Center LLC                 Arthrocentesis Aspir&/Inj Major J…  10/30/2018   20610      $236.69
1024529-03    A.G.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec… 10/30/2018     29821     $1,472.45
1024529-03    A.G.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…  10/30/2018   29823     $3,026.24
1024529-03    A.G.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …  10/30/2018   29825     $1,472.45
1024529-03    A.G.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …  10/30/2018   64415      $829.30
1024529-03    A.G.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img … 10/30/2018     76942      $341.96
1024529-03    A.G.                     EMUSC LLC                           Perc Lamino-/Laminectomy Indir Im…     2/6/2019   0275T     $5,827.05
1024529-03    A.G.                     EMUSC LLC                            Anesthesia Perq Image Guided Spin…    2/6/2019    1936      $135.05
1024529-03    A.G.                     EMUSC LLC                              Surgical Supply; Miscellaneous…     2/6/2019   A4649       $52.00
1025149-02    F.V.        Health East Ambulatory Surgical Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/29/2018   62321     $1,012.32
1025149-02    F.V.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…          10/29/2018   72275      $422.68

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                                                           1979
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                          Provider                                   Service
 Number      Person                                                                                           Service     Code       Billed
1025149-02    F.V.         Health East Ambulatory Surgical Center       Njx Anes&/Strd W/Img Tfrml Edrl L… 11/12/2018     64484      $776.84
1025149-02    F.V.         Health East Ambulatory Surgical Center                Epidurograpy Rs&I…          11/12/2018   72275      $422.68
1025149-02    F.V.         Health East Ambulatory Surgical Center       Njx Anes&/Strd W/Img Tfrml Edrl L… 12/17/2018     64483     $1,518.48
1025149-02    F.V.         Health East Ambulatory Surgical Center       Njx Anes&/Strd W/Img Tfrml Edrl L… 12/17/2018     64484      $776.84
1025149-02    F.V.         Health East Ambulatory Surgical Center                Epidurograpy Rs&I…          12/17/2018   72275      $422.68
1025149-02    F.V.            New Horizon Surgical Center LLC           Arthroscopy Shoulder Surg Synovec…    8/12/2020   29821     $5,677.77
1025149-02    F.V.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Surg Debride…   8/12/2020   29823     $1,472.45
1025149-02    F.V.            New Horizon Surgical Center LLC            Arthroscopy Shoulder Ahesiolysis …   8/12/2020   29825     $1,472.45
1025149-02    F.V.            New Horizon Surgical Center LLC           Arthroscopy Shoulder W/Coracoacrm… 8/12/2020      29826     $1,472.45
1025149-02    F.V.            New Horizon Surgical Center LLC            Single Nerve Block Injection Arm …   8/12/2020   64415      $979.78
1025149-02    F.V.            New Horizon Surgical Center LLC           Us Guidance Needle Placement Img …    8/12/2020   76942      $341.96
1025149-02    F.V.            New Horizon Surgical Center LLC              Surgical Supply; Miscellaneous…    8/12/2020   A4649       $50.00
1024019-03    C.P.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> … 11/13/2018     62287     $5,827.43
1024019-03    C.P.          All City Family Healthcare Center, Inc.      Injection Px Discography Each Lev…  11/13/2018   62290     $1,043.91
1024019-03    C.P.          All City Family Healthcare Center, Inc.     Njx Anes&/Strd W/Img Tfrml Edrl L… 11/13/2018     64483      $979.78
1024019-03    C.P.          All City Family Healthcare Center, Inc.     Njx Anes&/Strd W/Img Tfrml Edrl L… 11/13/2018     64484      $449.21
1024019-03    C.P.          All City Family Healthcare Center, Inc.           Diskograpy Lumbar Rs&I…        11/13/2018   72295      $572.53
1024019-03    C.P.         New York Center For Specialty Surgery         Office Outpatient New 45 Minutes…    1/14/2019   99204      $236.94
1024019-03    C.P.                       SCOB LLC                         Injection Single/Mlt Trigger Poin…  1/14/2019   20552      $236.69
1024019-03    C.P.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/14/2019   62323      $976.38
1024019-03    C.P.                       SCOB LLC                                Epidurograpy Rs&I…           1/14/2019   72275      $572.52
1024019-03    C.P.                       SCOB LLC                       Us Guidance Needle Placement Img …    1/14/2019   76942      $341.95
1024019-03    C.P.                       AMSC LLC                         Injection Single/Mlt Trigger Poin…  3/10/2019   20553      $277.37
1024019-03    C.P.                       AMSC LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/10/2019   62323      $976.38
1024019-03    C.P.                       AMSC LLC                                Epidurograpy Rs&I…           3/10/2019   72275      $572.52
1024019-03    C.P.                       AMSC LLC                       Us Guidance Needle Placement Img …    3/10/2019   76942      $423.32
1024019-03    C.P.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…   6/5/2019   20553      $277.37
1024019-03    C.P.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/5/2019   62323      $976.38
1024019-03    C.P.           Rockaways ASC Development LLC                       Epidurograpy Rs&I…            6/5/2019   72275      $572.52
1024019-03    C.P.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …     6/5/2019   76942      $211.66
1023819-01    N.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/18/2018   62323      $829.30
1023819-01    N.A.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C… 10/29/2018     29876     $1,472.45
1023819-01    N.A.               Surgicore of Jersey City LLC          Arthrs Kne Surg W/Meniscectomy Me… 10/29/2018      29881     $3,026.24
1023819-01    N.A.               Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For … 10/29/2018   G0289     $1,472.45
1023819-01    N.A.               Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For … 10/29/2018   G0289     $1,472.45
1023819-01    N.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  10/23/2019   64493     $1,952.76
1023819-01    N.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  10/23/2019   64494      $976.38
1023819-01    N.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  10/23/2019   64495      $976.38
1023819-01    N.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/6/2019   64493     $1,952.76
1023819-01    N.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/6/2019   64494      $976.38
1023819-01    N.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   11/6/2019   64495      $976.38
1023819-01    N.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/21/2020   64493     $1,952.76
1023819-01    N.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/21/2020   64494      $976.38
1023819-01    N.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   2/21/2020   64495      $976.38
1023917-01    S.A.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/22/2018   62321      $829.30
1023917-01    S.A.            Island Ambulatory Surgery Center                   Epidurograpy Rs&I…           5/22/2018   72275      $572.52
1023917-01    S.A.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Pltlt Plasma W/Img Harvest/Pr…    1/4/2019   0232T      $437.96
1023917-01    S.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Knee Synovectomy Limi…      1/4/2019   29875     $1,472.45
1023917-01    S.A.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthrs Knee W/Meniscectomy Med&La… 1/4/2019        29880     $3,026.24
1024438-02    J.G.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…    5/24/2018   29821     $1,472.45
1024438-02    J.G.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…   5/24/2018   29823     $3,026.24
1024438-02    J.G.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …   5/24/2018   64415      $829.30
1024438-02    J.G.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …    5/24/2018   76942      $341.96
1024438-02    J.G.         New York Center For Specialty Surgery         Office Outpatient New 45 Minutes…    6/25/2018   99204      $148.70
1024438-02    J.G.                       SCOB LLC                         Injection Single/Mlt Trigger Poin…  6/25/2018   20552      $236.69
1024438-02    J.G.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/25/2018   62323      $829.30
1024438-02    J.G.                       SCOB LLC                                Epidurograpy Rs&I…           6/25/2018   72275      $572.53
1024438-02    J.G.                       SCOB LLC                       Us Guidance Needle Placement Img …    6/25/2018   76942      $341.96
1024394-01    P.A.               Surgicore of Jersey City LLC           Arthroscopy Shoulder Surg Synovec…    5/31/2018   29821     $1,472.45
1024394-01    P.A.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…   5/31/2018   29822     $1,472.45
1024394-01    P.A.               Surgicore of Jersey City LLC           Arthroscopy Shoulder W/Coracoacrm… 5/31/2018      29826     $1,472.45
1024394-01    P.A.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Rotator Cuff…   5/31/2018   29827     $5,677.77
1024394-01    P.A.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …   5/31/2018   64415      $829.30
1024394-01    P.A.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …   5/31/2018   64415     $6,000.00
1024394-01    P.A.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …    5/31/2018   76942      $341.96
1024394-01    P.A.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …    5/31/2018   76942     $3,010.50
1024394-01    P.A.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…   3/5/2020   22526     $2,646.47
1024394-01    P.A.            Island Ambulatory Surgery Center            Perq Intrdscl Electrothrm Annulop…   3/5/2020   22527     $2,646.47

                                                                 267 of 294                                                           Exhibit 4
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                                                          1980
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1024394-01    P.A.          Island Ambulatory Surgery Center               Dcmprn Perq Nucleus Pulposus 1/> …     3/5/2020   62287     $5,292.93
1024394-01    P.A.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/13/2020   64493      $976.38
1024394-01    P.A.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/13/2020   64494      $488.19
1024394-01    P.A.          Island Ambulatory Surgery Center                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/13/2020   64495      $488.19
1022624-01    G.S.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surgical Rep…    6/4/2018   29807     $5,677.77
1022624-01    G.S.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…    6/4/2018   29821     $1,472.45
1022624-01    G.S.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…    6/4/2018   29823     $1,472.45
1022624-01    G.S.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …    6/4/2018   29825     $1,472.45
1022624-01    G.S.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…     6/4/2018   29999     $1,472.45
1022624-01    G.S.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …    6/4/2018   64415      $829.30
1022624-01    G.S.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     6/4/2018   76942      $341.96
1022624-01    G.S.                Barnert Surgical Center                    Injection Single/Mlt Trigger Poin… 12/12/2018   20553      $161.46
1022624-01    G.S.                Barnert Surgical Center                    Arthrocentesis Aspir&/Inj Major J… 12/12/2018   20610      $236.92
1022624-01    G.S.                Barnert Surgical Center                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…  12/12/2018   64490     $3,036.96
1022624-01    G.S.                Barnert Surgical Center                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…  12/12/2018   64491     $1,067.84
1022624-01    G.S.                Barnert Surgical Center                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…  12/12/2018   64492     $1,067.84
1022430-01    J.P.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    4/2/2018   29821     $1,472.45
1022430-01    J.P.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    4/2/2018   29822     $1,472.45
1022430-01    J.P.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    4/2/2018   29823     $3,026.24
1022430-01    J.P.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…     4/2/2018   29826     $1,472.45
1022430-01    J.P.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    4/2/2018   64415      $829.30
1022430-01    J.P.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     4/2/2018   76942      $341.96
1022430-01    J.P.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…  5/21/2018   20610      $236.69
1022430-01    J.P.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C… 5/21/2018      29876     $1,472.45
1022430-01    J.P.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 5/21/2018       29880     $3,026.24
1022430-01    J.P.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…   6/29/2018   80305      $179.46
1022430-01    J.P.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/29/2018   64493     $1,518.48
1022430-01    J.P.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/29/2018   64494      $533.93
1022430-01    J.P.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   6/29/2018   64495      $533.93
1022430-01    J.P.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…   7/13/2018   80305      $179.46
1022430-01    J.P.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/13/2018   64493     $1,518.48
1022430-01    J.P.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/13/2018   64494      $533.93
1022430-01    J.P.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   7/13/2018   64495      $533.93
1022430-01    J.P.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…   8/24/2018   80305      $179.46
1022430-01    J.P.             Dynamic Surgery Center LLC                    Dstr Nrolytc Agnt Parverteb Fct S…  8/24/2018   64635     $1,706.28
1022430-01    J.P.             Dynamic Surgery Center LLC                   Dstr Nrolytc Agnt Parverteb Fct A…   8/24/2018   64636     $1,012.32
1022430-01    J.P.             Dynamic Surgery Center LLC                   Dstr Nrolytc Agnt Parverteb Fct A…   8/24/2018   64636     $1,012.32
1022430-01    J.P.             Dynamic Surgery Center LLC                    Dstr Nrolytc Agnt Parverteb Fct S…  9/28/2018   64635     $1,706.28
1022430-01    J.P.             Dynamic Surgery Center LLC                   Dstr Nrolytc Agnt Parverteb Fct A…   9/28/2018   64636     $1,012.32
1022430-01    J.P.             Dynamic Surgery Center LLC                   Dstr Nrolytc Agnt Parverteb Fct A…   9/28/2018   64636     $1,012.32
1022430-01    J.P.             Dynamic Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/7/2019   62323     $1,012.32
1022430-01    J.P.             Dynamic Surgery Center LLC                           Epidurograpy Rs&I…            2/7/2019   72275      $572.81
1023546-01    J.H.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Diagnostic W/Wo …     6/8/2018   29870     $3,026.24
1023546-01    J.H.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C…     6/8/2018   29876     $1,472.45
1023546-01    J.H.        All City Family Healthcare Center, Inc.           Arthrs Knee Abrasion Arthrp/Mlt D…    6/8/2018   29879     $1,472.45
1023546-01    J.H.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 6/8/2018        29880     $1,472.45
1023546-01    J.H.                     AMSC LLC                              Injection Single/Mlt Trigger Poin…  11/4/2019   20553      $277.37
1023546-01    J.H.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/4/2019   62323      $976.38
1023546-01    J.H.                     AMSC LLC                                     Epidurograpy Rs&I…           11/4/2019   72275      $572.52
1023546-01    J.H.                     AMSC LLC                            Us Guidance Needle Placement Img …    11/4/2019   76942      $423.32
1021948-02    L.S.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surgical Rep…   4/26/2018   29807     $5,677.77
1021948-02    L.S.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…   4/26/2018   29821     $1,472.45
1021948-02    L.S.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…   4/26/2018   29823     $1,472.45
1021948-02    L.S.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …   4/26/2018   64415      $829.30
1021948-02    L.S.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …    4/26/2018   76942      $341.96
1021948-02    L.S.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    4/26/2018   A4649      $390.00
1021948-02    L.S.             Surgicore of Jersey City LLC                Anchor/Screw For Opposing Bone-To… 4/26/2018      C1713      $800.00
1021948-02    L.S.        New York Center For Specialty Surgery             Office Outpatient New 45 Minutes…    6/26/2018   99204      $148.70
1021948-02    L.S.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  6/26/2018   20552      $236.69
1021948-02    L.S.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/26/2018   62323      $829.30
1021948-02    L.S.                     SCOB LLC                                     Epidurograpy Rs&I…           6/26/2018   72275      $572.53
1021948-02    L.S.                     SCOB LLC                            Us Guidance Needle Placement Img …    6/26/2018   76942      $341.96
1021948-02    L.S.        New York Center For Specialty Surgery              Office Outpatient Visit 40 Minute…  7/16/2018   99215       $92.98
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy 2/>C… 5/31/2018      29876     $1,472.45
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy 2/>C… 5/31/2018      29876     $1,472.45
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy 2/>C… 5/31/2018      29876     $1,472.45
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy 2/>C… 5/31/2018      29876     $1,472.45
1022167-02    M.M.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 5/31/2018       29880     $3,026.24

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                                                          1981
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…   5/31/2018   64447      $829.30
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    5/31/2018   76942      $341.96
1022167-02    M.M.         New York Surgery Center of Queens                 Injection Single/Mlt Trigger Poin…  9/19/2018   20553      $236.69
1022167-02    M.M.         New York Surgery Center of Queens                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   9/19/2018   62323      $829.30
1022167-02    M.M.         New York Surgery Center of Queens                        Epidurograpy Rs&I…           9/19/2018   72275      $572.53
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surgical Rem…   9/26/2018   29819     $1,472.45
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…    9/26/2018   29821     $1,472.45
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   9/26/2018   29823     $3,026.24
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …   9/26/2018   29825     $1,472.45
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm… 9/26/2018      29826     $1,472.45
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Biceps Tenod…    9/26/2018   29828     $1,472.45
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   9/26/2018   64415      $829.30
1022167-02    M.M.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    9/26/2018   76942      $341.96
1021668-01    R.T.                    EMUSC LLC                            Discectomy Ant Dcmprn Cord Cervic… 11/19/2018     63075     $5,827.05
1021668-01    R.T.                    EMUSC LLC                            Discectomy Ant Dcmprn Cord Cervic… 11/19/2018     63076     $2,913.52
1021668-01    R.T.                    EMUSC LLC                             Anesthesia Extensive Spine & Spin…  11/19/2018    670       $351.13
1021668-01    R.T.                    EMUSC LLC                              Prosthetic Implant, Not Otherwise… 11/19/2018   L8699      $600.00
1021668-01    R.T.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy 2/>C…     2/7/2019   29876     $1,472.45
1021668-01    R.T.          Fifth Avenue Surgery Center LLC                 Arthrs Knee Abrasion Arthrp/Mlt D…    2/7/2019   29879     $1,472.45
1021668-01    R.T.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 2/7/2019        29880     $3,026.24
1021668-01    R.T.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…    2/7/2019   64447      $829.30
1021668-01    R.T.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     2/7/2019   76942      $341.96
1021709-01     S.I.         Fifth Avenue Surgery Center LLC                 Arthrocentesis Aspir&/Inj Major J…   4/17/2018   20610      $236.69
1021709-01     S.I.         Fifth Avenue Surgery Center LLC               Arthroscopy Shoulder Dx W/Wo Syno… 4/17/2018       29805     $3,026.24
1021709-01     S.I.         Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…    4/17/2018   29820     $1,472.45
1021709-01     S.I.         Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   4/17/2018   29823     $1,472.45
1021709-01     S.I.         Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Ahesiolysis …   4/17/2018   29825     $1,472.45
1021709-01     S.I.         Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   4/17/2018   64415      $829.30
1021709-01     S.I.         Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    4/17/2018   76942      $341.96
1021709-01     S.I.         Fifth Avenue Surgery Center LLC                 Arthrocentesis Aspir&/Inj Major J…   5/15/2018   20610      $236.69
1021709-01     S.I.         Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…    5/15/2018   29821     $1,472.45
1021709-01     S.I.         Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…   5/15/2018   29823     $3,026.24
1021709-01     S.I.         Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …   5/15/2018   64415      $829.30
1021709-01     S.I.         Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    5/15/2018   76942      $341.96
1021709-01     S.I.                   EMUSC LLC                             Anesthesia Cervical Spine & Cord …    8/3/2018    600      $1,120.00
1021709-01     S.I.                   EMUSC LLC                            Discectomy Ant Dcmprn Cord Cervic…     8/3/2018   63075     $5,827.05
1021709-01     S.I.                   EMUSC LLC                            Miscellaneous Dme Supply Or Acces…     8/3/2018   A9999     $1,500.00
1021074-02    L.V.            Healthplus Surgery Center LLC                 Manipulation Spine Requiring Anes…    5/5/2018   22505     $2,074.56
1021074-02    L.V.            Healthplus Surgery Center LLC                Clsd Tx Pelvic Ring Fx W/Manipula…     5/5/2018   27198     $1,037.28
1021074-02    L.V.            Healthplus Surgery Center LLC                 Manipulation Hip Joint General An…    5/5/2018   27275     $2,074.56
1021074-02    L.V.            Healthplus Surgery Center LLC                 Manipulation Spine Requiring Anes…   5/12/2018   22505     $2,074.56
1021074-02    L.V.            Healthplus Surgery Center LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    5/12/2018   27198     $1,037.28
1021074-02    L.V.            Healthplus Surgery Center LLC                 Manipulation Hip Joint General An…   5/12/2018   27275     $2,074.56
1021074-02    L.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   6/21/2018   29823     $1,472.45
1021074-02    L.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Ahesiolysis …   6/21/2018   29825     $1,472.45
1021074-02    L.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Rotator Cuff…   6/21/2018   29827     $5,677.77
1021074-02    L.V.        All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…    6/21/2018   29999     $1,472.45
1021074-02    L.V.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   6/21/2018   64415      $829.30
1021074-02    L.V.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    6/21/2018   76942      $341.96
1022361-06    J.A.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…   8/14/2018   22505      $748.08
1022361-06    J.A.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…    8/14/2018   23700     $1,577.52
1022361-06    J.A.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    8/14/2018   27198      $418.79
1022361-06    J.A.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…   8/16/2018   22505      $748.08
1022361-06    J.A.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…    8/16/2018   23700     $1,577.52
1022361-06    J.A.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    8/16/2018   27198      $418.79
1022361-06    J.A.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…    9/6/2018   22505     $1,577.52
1022361-06    J.A.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…     9/6/2018   27198      $418.79
1022361-06    J.A.         New York Surgery Center of Queens                Arthroscopy Shoulder Surgical Cap…   9/21/2018   29806     $5,677.77
1022361-06    J.A.         New York Surgery Center of Queens               Arthroscopy Shoulder Surg Synovec…    9/21/2018   29821     $1,472.45
1022361-06    J.A.         New York Surgery Center of Queens                Arthroscopy Shoulder Surg Debride…   9/21/2018   29823     $1,472.45
1022361-06    J.A.         New York Surgery Center of Queens                Arthroscopy Shoulder Distal Clavi…   9/21/2018   29824     $1,472.45
1022361-06    J.A.         New York Surgery Center of Queens                Arthroscopy Shoulder Ahesiolysis …   9/21/2018   29825     $1,472.45
1022361-06    J.A.         New York Surgery Center of Queens               Arthroscopy Shoulder W/Coracoacrm… 9/21/2018      29826     $1,472.45
1021618-01    S.R.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/21/2018   62323      $829.30
1021618-01    S.R.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…    8/6/2018   80305      $179.46
1021618-01    S.R.              Hudson Regional Hospital                   Drug Screen Quant Amphetamines 1 …     8/6/2018   80324      $269.37
1021618-01    S.R.              Hudson Regional Hospital                     Antidepressants Serotonergic Clas…   8/6/2018   80332      $269.37
1021618-01    S.R.              Hudson Regional Hospital                     Antidepressants Tricyclic Other C…   8/6/2018   80335      $270.31

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                                                        1982
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                      Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1021618-01    S.R.              Hudson Regional Hospital                    Drug Screening Barbiturates…        8/6/2018   80345      $269.37
1021618-01    S.R.              Hudson Regional Hospital               Drug Screening Benzodiazepines 1-…       8/6/2018   80346      $269.37
1021618-01    S.R.              Hudson Regional Hospital                   Drug Screening Buprenorphine…        8/6/2018   80348      $269.37
1021618-01    S.R.              Hudson Regional Hospital                      Drug Screening Fentanyl…          8/6/2018   80354      $269.37
1021618-01    S.R.              Hudson Regional Hospital              Drug Screening Gabapentin Non-Blo…        8/6/2018   80355      $269.37
1021618-01    S.R.              Hudson Regional Hospital                Drug Screening Heroin Metabolite…       8/6/2018   80356      $269.37
1021618-01    S.R.              Hudson Regional Hospital                     Drug Screening Methadone…          8/6/2018   80358      $269.37
1021618-01    S.R.              Hudson Regional Hospital              Drug Screening Methylenedioxyamph…        8/6/2018   80359      $269.37
1021618-01    S.R.              Hudson Regional Hospital                 Drug Screening Methylphenidate…        8/6/2018   80360      $269.37
1021618-01    S.R.              Hudson Regional Hospital               Drug Screening Opiates 1 Or More…        8/6/2018   80361      $538.74
1021618-01    S.R.              Hudson Regional Hospital              Drug Screening Opioids And Opiate…        8/6/2018   80362      $537.74
1021618-01    S.R.              Hudson Regional Hospital                     Drug Screening Oxycodone…          8/6/2018   80365      $269.37
1021618-01    S.R.              Hudson Regional Hospital                     Drug Screening Pregabalin…         8/6/2018   80366      $269.37
1021618-01    S.R.              Hudson Regional Hospital               Drug Screening Sedative Hypnotics…       8/6/2018   80368      $269.37
1021618-01    S.R.              Hudson Regional Hospital               Drug Screening Skeletal Muscle Re…       8/6/2018   80369      $269.37
1021618-01    S.R.              Hudson Regional Hospital                     Drug Screening Tapentadol…         8/6/2018   80372      $269.37
1021618-01    S.R.              Hudson Regional Hospital                      Drug Screening Tramadol…          8/6/2018   80373      $269.37
1021618-01    S.R.            Surgicore of Jersey City LLC            Arthroscopy Knee Synovectomy Limi…       8/14/2018   29875     $3,026.24
1021618-01    S.R.            Surgicore of Jersey City LLC              Arthroscopy, Knee, Surgical, For …     8/14/2018   G0289     $1,472.45
1021760-01    C.R.           Healthplus Surgery Center LLC             Manipulation Spine Requiring Anes…      4/11/2018   22505     $2,074.56
1021760-01    C.R.           Healthplus Surgery Center LLC            Manj W/Anes Shoulder Joint W/Fixa…       4/11/2018   23700     $1,037.28
1021760-01    C.R.           Healthplus Surgery Center LLC            Clsd Tx Pelvic Ring Fx W/Manipula…       4/11/2018   27198     $1,037.28
1021760-01    C.R.           Healthplus Surgery Center LLC             Manipulation Hip Joint General An…      4/11/2018   27275     $2,074.56
1021760-01    C.R.            Dynamic Surgery Center LLC               Manipulation Spine Requiring Anes…      4/12/2018   22505     $2,074.56
1021760-01    C.R.            Dynamic Surgery Center LLC              Manj W/Anes Shoulder Joint W/Fixa…       4/12/2018   23700     $1,037.28
1021760-01    C.R.            Dynamic Surgery Center LLC              Clsd Tx Pelvic Ring Fx W/Manipula…       4/12/2018   27198     $1,037.28
1021760-01    C.R.            Dynamic Surgery Center LLC               Manipulation Hip Joint General An…      4/12/2018   27275     $2,074.56
1021760-01    C.R.           Healthplus Surgery Center LLC             Manipulation Spine Requiring Anes…      4/18/2018   22505     $2,074.56
1021760-01    C.R.           Healthplus Surgery Center LLC            Manj W/Anes Shoulder Joint W/Fixa…       4/18/2018   23700     $1,037.28
1021760-01    C.R.           Healthplus Surgery Center LLC            Clsd Tx Pelvic Ring Fx W/Manipula…       4/18/2018   27198     $1,037.28
1021760-01    C.R.           Healthplus Surgery Center LLC             Manipulation Hip Joint General An…      4/18/2018   27275     $2,074.56
1021760-01    C.R.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…       9/26/2018   29821     $1,472.45
1021760-01    C.R.            Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Debride…      9/26/2018   29823     $3,026.24
1021760-01    C.R.            Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …      9/26/2018   29825     $1,472.45
1021760-01    C.R.            Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…      9/26/2018   29999     $1,472.45
1021760-01    C.R.            Surgicore of Jersey City LLC                Unlisted Procedure Arthroscopy…      9/26/2018   29999     $1,472.45
1021760-01    C.R.            Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …      9/26/2018   64415      $829.30
1021760-01    C.R.            Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …       9/26/2018   76942      $341.96
1022283-03    J.A.              Hudson Regional Hospital               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      5/11/2018   62321     $5,965.40
1022283-03    J.A.              Hudson Regional Hospital               Radex Spine 1 View Specify Level…       5/11/2018   72020      $541.40
1022283-03    J.A.              Hudson Regional Hospital                         Epidurograpy Rs&I…            5/11/2018   72275      $697.34
1022283-03    J.A.              Hudson Regional Hospital               Fluoroscopy Up To 1 Hour Physicia…      5/11/2018   76000     $1,346.30
1022283-03    J.A.              Hudson Regional Hospital               Drug Test Prsmv Read Direct Optic…      5/11/2018   80305      $179.46
1022283-03    J.A.              Hudson Regional Hospital              Ecg Routine Ecg W/Least 12 Lds Tr…       5/11/2018   93005      $323.70
1022283-03    J.A.              Hudson Regional Hospital                Injection, Bupivacaine Liposome, …     5/11/2018   C9290       $14.00
1022283-03    J.A.              Hudson Regional Hospital                  Drug Test(S), Definitive, Utilizi…   5/11/2018   G0483     $4,400.00
1022283-03    J.A.              Hudson Regional Hospital                Injection, Betamethasone Acetate …     5/11/2018   J0702      $128.00
1022283-03    J.A.              Hudson Regional Hospital                  Injection, Lidocaine Hcl For Intr…   5/11/2018   J2001       $10.00
1022283-03    J.A.              Hudson Regional Hospital                  Injection, Lidocaine Hcl For Intr…   5/11/2018   J2001       $11.00
1022283-03    J.A.              Hudson Regional Hospital               Low Osmolar Contrast Material, 30…      5/11/2018   Q9967      $310.00
1022283-03    J.A.          Parkway Ambulatory Surgery Ce              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      7/18/2018   62323     $1,518.48
1022283-03    J.A.          Parkway Ambulatory Surgery Ce                        Epidurograpy Rs&I…            7/18/2018   72275     $1,200.00
1022283-03    J.A.            Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L…        9/5/2018   64483      $449.21
1022283-03    J.A.            Surgicore of Jersey City LLC            Njx Anes&/Strd W/Img Tfrml Edrl L…        9/5/2018   64483      $979.78
1022283-03    J.A.            Surgicore of Jersey City LLC                       Epidurograpy Rs&I…             9/5/2018   72275      $572.53
1022283-03    J.A.            Surgicore of Jersey City LLC             Fluor Needle/Cath Spine/Paraspina…       9/5/2018   77003      $286.26
1020864-02    T.M.          Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy Limi…       4/22/2018   29875     $1,472.45
1020864-02    T.M.          Fifth Avenue Surgery Center LLC           Arthroscopy Knee Synovectomy 2/>C…       4/22/2018   29876     $3,026.24
1020864-02    T.M.          Fifth Avenue Surgery Center LLC           Arthrs Knee Debridement/Shaving A…       4/22/2018   29877     $1,472.45
1020864-02    T.M.          Fifth Avenue Surgery Center LLC          Arthrs Knee W/Meniscectomy Med&La…        4/22/2018   29880     $1,472.45
1020864-02    T.M.          Fifth Avenue Surgery Center LLC            Injection Anesthetic Agent Femora…      4/22/2018   64447      $829.30
1020864-02    T.M.          Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …       4/22/2018   76942      $341.96
1020864-02    T.M.         New York Surgery Center of Queens             Injection Single/Mlt Trigger Poin…    5/16/2018   20553      $554.37
1020864-02    T.M.         New York Surgery Center of Queens           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      5/16/2018   64493      $979.43
1020864-02    T.M.         New York Surgery Center of Queens           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      5/16/2018   64494      $979.43
1020864-02    T.M.         New York Surgery Center of Queens          Us Guidance Needle Placement Img …       5/16/2018   76942      $422.95
1020922-02    S.M.            Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…       4/30/2018   29821     $1,472.45
1020922-02    S.M.            Surgicore of Jersey City LLC             Arthroscopy Shoulder Surg Debride…      4/30/2018   29823     $1,472.45

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                                                           1983
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1020922-02    S.M.               Surgicore of Jersey City LLC           Arthroscopy Shoulder W/Coracoacrm… 4/30/2018       29826     $1,472.45
1020922-02    S.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Rotator Cuff…    4/30/2018   29827     $5,677.77
1020922-02    S.M.               Surgicore of Jersey City LLC            Arthroscopy Shoulder Biceps Tenod…    4/30/2018   29828     $1,472.45
1020922-02    S.M.               Surgicore of Jersey City LLC            Single Nerve Block Injection Arm …    4/30/2018   64415      $829.30
1020922-02    S.M.               Surgicore of Jersey City LLC           Us Guidance Needle Placement Img …     4/30/2018   76942      $341.96
1020922-02    S.M.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     6/1/2018   62321      $829.30
1020922-02    S.M.            Island Ambulatory Surgery Center                    Epidurograpy Rs&I…            6/1/2018   72275      $572.52
1020922-02    S.M.            Island Ambulatory Surgery Center            Dstr Nrolytc Agnt Parverteb Fct S…   3/27/2019   64633      $976.38
1020922-02    S.M.            Island Ambulatory Surgery Center            Dstr Nrolytc Agnt Parverteb Fct A…   3/27/2019   64634      $976.38
1020922-02    S.M.            Island Ambulatory Surgery Center            Dstr Nrolytc Agnt Parverteb Fct A…   3/27/2019   64634      $976.38
1020922-02    S.M.            Island Ambulatory Surgery Center            Dstr Nrolytc Agnt Parverteb Fct S…   4/10/2019   64633      $976.38
1020922-02    S.M.            Island Ambulatory Surgery Center            Dstr Nrolytc Agnt Parverteb Fct A…   4/10/2019   64634      $976.38
1020922-02    S.M.            Island Ambulatory Surgery Center            Dstr Nrolytc Agnt Parverteb Fct A…   4/10/2019   64634      $976.38
1019827-02    R.W.              Healthplus Surgery Center LLC            Manipulation Spine Requiring Anes…    5/16/2018   22505     $2,074.56
1019827-02    R.W.              Healthplus Surgery Center LLC           Clsd Tx Pelvic Ring Fx W/Manipula…     5/16/2018   27198     $1,037.28
1019827-02    R.W.              Healthplus Surgery Center LLC            Manipulation Hip Joint General An…    5/16/2018   27275     $2,074.56
1019827-02    R.W.              Healthplus Surgery Center LLC            Manipulation Spine Requiring Anes…    5/23/2018   22505     $2,074.56
1019827-02    R.W.              Healthplus Surgery Center LLC           Clsd Tx Pelvic Ring Fx W/Manipula…     5/23/2018   27198     $1,037.28
1019827-02    R.W.              Healthplus Surgery Center LLC            Manipulation Hip Joint General An…    5/23/2018   27275     $2,074.56
1019827-02    R.W.              Healthplus Surgery Center LLC            Manipulation Spine Requiring Anes…    5/30/2018   22505     $2,074.56
1019827-02    R.W.              Healthplus Surgery Center LLC           Clsd Tx Pelvic Ring Fx W/Manipula…     5/30/2018   27198     $1,037.28
1019827-02    R.W.              Healthplus Surgery Center LLC            Manipulation Hip Joint General An…    5/30/2018   27275     $2,074.56
1019827-02    R.W.          All City Family Healthcare Center, Inc.     Arthroscopy Wrist Diag W/Wo Synov… 9/20/2019       29840     $3,026.24
1019827-02    R.W.          All City Family Healthcare Center, Inc.      Arthroscopy Wrist Surgical Synove…    9/20/2019   29844     $1,472.45
1019827-02    R.W.          All City Family Healthcare Center, Inc.      Arthrs Wrst Exc&/Rpr Triang Fibro…    9/20/2019   29846     $1,472.45
1019827-02    R.W.          All City Family Healthcare Center, Inc.        Injection Anesthetic Agent Sciati…  9/20/2019   64445      $976.38
1019827-02    R.W.          All City Family Healthcare Center, Inc.     Us Guidance Needle Placement Img …     9/20/2019   76942      $341.96
1019537-01    D.A.                 Avicenna Surgery Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/15/2018   62323      $829.30
1019537-01    D.A.                       AMSC LLC                        Anes Arthrs Humeral H/N Strnclav …    3/16/2018    1630     $4,500.00
1019537-01    D.A.                       AMSC LLC                        Arthroscopy Shoulder Surg Debride…    3/16/2018   29823     $3,026.23
1019537-01    D.A.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Synovec…    3/28/2018   29820     $1,472.45
1019537-01    D.A.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Surg Debride…    3/28/2018   29823     $3,026.24
1019537-01    D.A.            Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Ahesiolysis …    3/28/2018   29825     $1,472.45
1019537-01    D.A.            Fifth Avenue Surgery Center LLC           Arthroscopy Shoulder W/Coracoacrm… 3/28/2018       29826     $1,472.45
1019537-01    D.A.            Fifth Avenue Surgery Center LLC            Single Nerve Block Injection Arm …    3/28/2018   64415      $829.30
1019537-01    D.A.            Fifth Avenue Surgery Center LLC           Us Guidance Needle Placement Img …     3/28/2018   76942      $341.96
1021227-01    J.H.         Ambulatory Surgical Center of Englewood        Arthrocentesis Aspir&/Inj Major J…   5/19/2018   20610      $157.95
1021227-01    J.H.         Ambulatory Surgical Center of Englewood      Arthroscopy Knee Diagnostic W/Wo … 5/19/2018       29870     $1,998.90
1021227-01    J.H.         Ambulatory Surgical Center of Englewood      Arthroscopy Knee Synovectomy Limi… 5/19/2018       29875     $1,998.90
1021227-01    J.H.         Ambulatory Surgical Center of Englewood      Arthroscopy Knee Synovectomy 2/>C… 5/19/2018       29876     $3,997.71
1021227-01    J.H.         Ambulatory Surgical Center of Englewood     Arthrs Knee W/Meniscectomy Med&La… 5/19/2018        29880     $1,998.90
1021227-01    J.H.         Ambulatory Surgical Center of Englewood       Nonemergency Transportation; Taxi…    5/19/2018   A0100      $300.00
1021227-01    J.H.         Ambulatory Surgical Center of Englewood          Surgical Supply; Miscellaneous…    5/19/2018   A4649     $2,000.00
1021227-01    J.H.          All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulop…   2/28/2019   22526     $2,605.78
1021227-01    J.H.          All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulop…   2/28/2019   22526     $2,320.90
1021227-01    J.H.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …     2/28/2019   62287     $5,292.93
1021227-01    J.H.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …     2/28/2019   62287     $5,827.43
1021227-01    J.H.          All City Family Healthcare Center, Inc.      Injection Px Discography Each Lev…    2/28/2019   62290     $1,043.91
1021227-01    J.H.          All City Family Healthcare Center, Inc.     Njx Anes&/Strd W/Img Tfrml Edrl L… 2/28/2019       64483      $979.78
1021227-01    J.H.          All City Family Healthcare Center, Inc.            Diskograpy Lumbar Rs&I…         2/28/2019   72295      $572.53
1021227-01    J.H.          All City Family Healthcare Center, Inc.       Perq Intrdscl Electrothrm Annulop…   4/11/2019   22526     $2,605.78
1021227-01    J.H.          All City Family Healthcare Center, Inc.     Discectomy Ant Dcmprn Cord Cervic… 4/11/2019       63075     $5,292.93
1021227-01    J.H.           Rockaways ASC Development LLC                Injection Single/Mlt Trigger Poin…    9/2/2021   20552      $236.69
1021227-01    J.H.           Rockaways ASC Development LLC               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     9/2/2021   62321      $976.38
1021227-01    J.H.           Rockaways ASC Development LLC              Us Guidance Needle Placement Img …      9/2/2021   76942      $341.96
1021227-01    J.H.           Rockaways ASC Development LLC               Infectious Agent Detection By Nuc…     9/2/2021   87635       $51.33
1021227-01    J.H.           Rockaways ASC Development LLC                  Surgical Supply; Miscellaneous…     9/2/2021   A4649       $50.00
1018882-01    J.H.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     5/8/2019   62321      $976.38
1018882-01    J.H.            Island Ambulatory Surgery Center                    Epidurograpy Rs&I…            5/8/2019   72275      $572.52
1018882-01    J.H.            Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/21/2019   62321      $976.38
1018882-01    J.H.            Island Ambulatory Surgery Center                    Epidurograpy Rs&I…           6/21/2019   72275      $572.52
1018882-01    J.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Synovec… 11/23/2020       29821     $2,798.20
1018882-01    J.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder Surg Debride…     11/23/2020   29823     $1,472.45
1018882-01    J.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Arthroscopy Shoulder W/Coracoacrm… 11/23/2020       29826     $1,472.45
1018882-01    J.H.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy Shoulder Rotator Cuff…   11/23/2020   29827     $5,677.77
1018882-01    J.H.     NYEEQASC LLC d/b/a North Queens Surgical Center   Single Nerve Block Injection Arm …   11/23/2020   64415      $979.78
1018882-01    J.H.     NYEEQASC LLC d/b/a North Queens Surgical Center Us Guidance Needle Placement Img … 11/23/2020       76942      $341.96
1018882-01    J.H.     NYEEQASC LLC d/b/a North Queens Surgical Center      Surgical Supply; Miscellaneous…   11/23/2020   A4649       $50.00

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                                                         1984
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                       Provider                                     Service
 Number      Person                                                                                            Service     Code       Billed
1018898-02    S.E.          Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       4/2/2018   62321      $829.30
1018898-02    S.E.          Island Ambulatory Surgery Center                    Epidurograpy Rs&I…              4/2/2018   72275      $572.52
1018898-02    S.E.          Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       5/7/2018   62321      $829.30
1018898-02    S.E.             Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…      5/23/2018   29821     $1,472.45
1018898-02    S.E.             Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…      5/23/2018   29823     $3,026.24
1018898-02    S.E.             Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …     5/23/2018   29825     $1,472.45
1018898-02    S.E.             Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …     5/23/2018   64415      $829.30
1018898-02    S.E.             Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …      5/23/2018   76942      $341.96
1018898-02    S.E.             Surgicore of Jersey City LLC            Arthroscopy Shoulder Surgical Rem…      7/25/2018   29819     $1,472.45
1018898-02    S.E.             Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Synovec…      7/25/2018   29821     $1,472.45
1018898-02    S.E.             Surgicore of Jersey City LLC            Arthroscopy Shoulder Surg Debride…      7/25/2018   29823     $3,026.24
1018898-02    S.E.             Surgicore of Jersey City LLC             Arthroscopy Shoulder Ahesiolysis …     7/25/2018   29825     $1,472.45
1018898-02    S.E.             Surgicore of Jersey City LLC             Single Nerve Block Injection Arm …     7/25/2018   64415      $829.30
1018898-02    S.E.             Surgicore of Jersey City LLC            Us Guidance Needle Placement Img …      7/25/2018   76942      $341.96
1018898-02    S.E.          Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      9/17/2018   62323      $829.30
1018898-02    S.E.          Island Ambulatory Surgery Center                    Epidurograpy Rs&I…             9/17/2018   72275      $572.52
1018898-02    S.E.          Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/3/2018   64493      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/3/2018   64493      $979.80
1018898-02    S.E.          Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/3/2018   64494      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/3/2018   64494      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      10/3/2018   64495      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/17/2018   64490      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/17/2018   64490      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/17/2018   64490      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/17/2018   64490      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/17/2018   64490      $979.80
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/31/2018   64490      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/31/2018   64490      $979.80
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/31/2018   64491      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/31/2018   64491      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    10/31/2018   64492      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center            Dstr Nrolytc Agnt Parverteb Fct S…    11/28/2018   64633      $979.80
1018898-02    S.E.          Island Ambulatory Surgery Center            Dstr Nrolytc Agnt Parverteb Fct A…    11/28/2018   64634      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center            Dstr Nrolytc Agnt Parverteb Fct A…    11/28/2018   64634      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center            Dstr Nrolytc Agnt Parverteb Fct S…    12/12/2018   64633      $979.80
1018898-02    S.E.          Island Ambulatory Surgery Center            Dstr Nrolytc Agnt Parverteb Fct A…    12/12/2018   64634      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center            Dstr Nrolytc Agnt Parverteb Fct A…    12/12/2018   64634      $489.90
1018898-02    S.E.          Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      1/23/2019   62321      $829.30
1018898-02    S.E.          Island Ambulatory Surgery Center          Perc Lamino-/Laminectomy Image Gu…        3/4/2019   0274T     $5,292.93
1018898-02    S.E.          Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin…     5/8/2019   20553      $554.74
1018898-02    S.E.          Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin…    5/22/2019   20553      $554.74
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…     6/26/2019   64490      $976.38
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…     6/26/2019   64491      $488.19
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…     6/26/2019   64492      $488.19
1018898-02    S.E.          Island Ambulatory Surgery Center             Injection Single/Mlt Trigger Poin…    7/10/2019   20553      $554.74
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…     7/24/2019   64490     $1,952.76
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…     7/24/2019   64491      $976.38
1018898-02    S.E.          Island Ambulatory Surgery Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…     7/24/2019   64492      $976.38
1018898-02    S.E.          Island Ambulatory Surgery Center           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      8/28/2019   62321      $976.38
1018981-01    N.V.             East Tremont Medical Center             Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      5/30/2018    1991      $162.06
1018981-01    N.V.             East Tremont Medical Center             Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      5/30/2018    1991      $162.06
1018981-01    N.V.             East Tremont Medical Center             Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      5/30/2018    1991     $1,002.00
1018981-01    N.V.             East Tremont Medical Center                Unlisted Anesthesia Procedure…       5/30/2018    1999      $162.06
1018981-01    N.V.             East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      5/30/2018   62321     $1,266.65
1018981-01    N.V.             East Tremont Medical Center             Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      6/13/2018    1991     $1,002.00
1018981-01    N.V.             East Tremont Medical Center             Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      6/13/2018    1991      $162.06
1018981-01    N.V.             East Tremont Medical Center             Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      6/13/2018    1991      $162.06
1018981-01    N.V.             East Tremont Medical Center             Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      6/13/2018    1991      $162.06
1018981-01    N.V.             East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      6/13/2018   62321     $1,266.65
1018981-01    N.V.             East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      6/13/2018   62321     $1,266.65
1018981-01    N.V.             East Tremont Medical Center             Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      6/27/2018    1991     $1,002.00
1018981-01    N.V.             East Tremont Medical Center             Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      6/27/2018    1991      $162.06
1018981-01    N.V.             East Tremont Medical Center             Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      6/27/2018    1991      $162.06
1018981-01    N.V.             East Tremont Medical Center             Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      6/27/2018    1991      $162.06
1018981-01    N.V.             East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      6/27/2018   62321     $1,266.65
1018981-01    N.V.             East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      6/27/2018   62321     $1,266.65
1018981-01    N.V.             East Tremont Medical Center             Anes Dx/Ther Nrv Blk/Njx Oth/Thn …       8/8/2018    1991      $164.06
1018981-01    N.V.             East Tremont Medical Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       8/8/2018   62323     $1,266.65

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                                                        1985
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                       Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1018981-01    N.V.            East Tremont Medical Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      8/8/2018   62323     $1,266.65
1018981-01    N.V.            East Tremont Medical Center              Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      8/22/2018    1991      $164.06
1018981-01    N.V.            East Tremont Medical Center              Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      8/22/2018    1991     $1,004.88
1018981-01    N.V.            East Tremont Medical Center               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     8/22/2018   62323     $1,363.08
1018981-01    N.V.            East Tremont Medical Center                Hospital Observation Service, Per…    8/22/2018   G0378      $482.00
1018981-01    N.V.            East Tremont Medical Center               Anes Dx/Ther Nerve Block/Injectio…    10/17/2018    1992      $162.06
1018981-01    N.V.            East Tremont Medical Center               Anes Dx/Ther Nerve Block/Injectio…    10/17/2018    1992      $162.06
1018981-01    N.V.            East Tremont Medical Center               Anes Dx/Ther Nerve Block/Injectio…    10/17/2018    1992     $1,044.00
1018981-01    N.V.            East Tremont Medical Center               Anes Dx/Ther Nerve Block/Injectio…    10/17/2018    1992      $162.06
1018981-01    N.V.            East Tremont Medical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    10/17/2018   64494     $1,266.65
1018981-01    N.V.            East Tremont Medical Center               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    10/17/2018   64494     $1,266.65
1018981-01    N.V.                 Goldstep ASC LLC                         Anesthesia On Bony Pelvis…         1/18/2019    1120      $220.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Spine Requiring Anes…     1/18/2019   22505     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Spine Requiring Anes…     1/18/2019   22505     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Spine Requiring Anes…     1/18/2019   22505     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                    Manj W/Anes Shoulder Joint W/Fixa…      1/18/2019   23700     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                    Manj W/Anes Shoulder Joint W/Fixa…      1/18/2019   23700     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Closed Treatment Of Pelvic Ring F…     1/18/2019   27194     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Closed Treatment Of Pelvic Ring F…     1/18/2019   27194     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Hip Joint General An…     1/18/2019   27275     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Hip Joint General An…     1/18/2019   27275     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                         Anesthesia On Bony Pelvis…         1/25/2019    1120      $280.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Spine Requiring Anes…     1/25/2019   22505     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Spine Requiring Anes…     1/25/2019   22505     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Spine Requiring Anes…     1/25/2019   22505     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                    Manj W/Anes Shoulder Joint W/Fixa…      1/25/2019   23700     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                    Manj W/Anes Shoulder Joint W/Fixa…      1/25/2019   23700     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Closed Treatment Of Pelvic Ring F…     1/25/2019   27194     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Closed Treatment Of Pelvic Ring F…     1/25/2019   27194     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Hip Joint General An…     1/25/2019   27275     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Hip Joint General An…     1/25/2019   27275     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                         Anesthesia On Bony Pelvis…          2/1/2019    1120      $360.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Spine Requiring Anes…      2/1/2019   22505     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Spine Requiring Anes…      2/1/2019   22505     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Spine Requiring Anes…      2/1/2019   22505     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                    Manj W/Anes Shoulder Joint W/Fixa…       2/1/2019   23700     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                    Manj W/Anes Shoulder Joint W/Fixa…       2/1/2019   23700     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Closed Treatment Of Pelvic Ring F…      2/1/2019   27194     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Closed Treatment Of Pelvic Ring F…      2/1/2019   27194     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Hip Joint General An…      2/1/2019   27275     $1,200.00
1018981-01    N.V.                 Goldstep ASC LLC                     Manipulation Hip Joint General An…      2/1/2019   27275     $1,200.00
1018981-01    N.V.        Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder Surg Synovec…      3/27/2019   29821     $3,026.24
1018981-01    N.V.        Bronx SC LLC d/b/a Empire State ASC           Arthroscopy Shoulder Surg Debride…     3/27/2019   29823     $3,026.24
1018981-01    N.V.        Bronx SC LLC d/b/a Empire State ASC          Arthroscopy Shoulder W/Coracoacrm…      3/27/2019   29826     $3,026.24
1018999-01    E.W.                    AMSC LLC                          Anes Arthrs Humeral H/N Strnclav …     3/16/2018    1630     $4,000.00
1018999-01    E.W.                    AMSC LLC                         Arthroscopy Shoulder Surg Synovec…      3/16/2018   29820     $3,026.23
1018999-01    E.W.                    AMSC LLC                          Arthroscopy Shoulder Surg Debride…     3/16/2018   29823     $3,026.23
1018999-01    E.W.                    AMSC LLC                          Anesthesia Perq Image Guided Spin…     4/18/2018    1936     $3,000.00
1018999-01    E.W.                    AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     4/18/2018   62321      $829.30
1018999-01    E.W.                    AMSC LLC                                 Epidurograpy Rs&I…              4/18/2018   72275      $572.52
1018999-01    E.W.                    AMSC LLC                          Anesthesia Perq Image Guided Spin…      5/2/2018    1936      $162.06
1018999-01    E.W.                    AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      5/2/2018   62323      $829.30
1018999-01    E.W.                    AMSC LLC                                 Epidurograpy Rs&I…               5/2/2018   72275      $572.52
1018999-01    E.W.                    AMSC LLC                          Anesthesia Perq Image Guided Spin…     5/30/2018    1936      $162.06
1018999-01    E.W.                    AMSC LLC                          Anesthesia Perq Image Guided Spin…     5/30/2018    1936      $162.06
1018999-01    E.W.                    AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/30/2018   62323      $829.30
1018999-01    E.W.                    AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/30/2018   62323      $829.30
1018999-01    E.W.                    AMSC LLC                                 Epidurograpy Rs&I…              5/30/2018   72275      $572.52
1018999-01    E.W.                    AMSC LLC                                 Epidurograpy Rs&I…              5/30/2018   72275      $572.52
1018999-01    E.W.                 Goldstep ASC LLC                         Anesthesia On Bony Pelvis…         9/21/2018    1120      $200.00
1018999-01    E.W.                 Goldstep ASC LLC                     Manipulation Spine Requiring Anes…     9/21/2018   22505     $1,200.00
1018999-01    E.W.                 Goldstep ASC LLC                     Manipulation Spine Requiring Anes…     9/21/2018   22505     $1,200.00
1018999-01    E.W.                 Goldstep ASC LLC                     Manipulation Spine Requiring Anes…     9/21/2018   22505     $1,200.00
1018999-01    E.W.                 Goldstep ASC LLC                    Clsd Tx Pelvic Ring Fx W/Manipula…      9/21/2018   27198     $1,200.00
1018999-01    E.W.                 Goldstep ASC LLC                    Clsd Tx Pelvic Ring Fx W/Manipula…      9/21/2018   27198     $1,200.00
1018999-01    E.W.                 Goldstep ASC LLC                     Manipulation Hip Joint General An…     9/21/2018   27275     $1,200.00
1018999-01    E.W.                 Goldstep ASC LLC                     Manipulation Hip Joint General An…     9/21/2018   27275     $1,200.00
1018999-01    E.W.                 Goldstep ASC LLC                         Anesthesia On Bony Pelvis…         9/22/2018    1120      $260.00

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                                                        1986
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                          Date of     Billing   Amount
                                       Provider                                      Service
 Number      Person                                                                                           Service     Code       Billed
1018999-01    E.W.                Goldstep ASC LLC                      Manipulation Spine Requiring Anes…    9/22/2018   22505      $1,200.00
1018999-01    E.W.                Goldstep ASC LLC                      Manipulation Spine Requiring Anes…    9/22/2018   22505      $1,200.00
1018999-01    E.W.                Goldstep ASC LLC                      Manipulation Spine Requiring Anes…    9/22/2018   22505      $1,200.00
1018999-01    E.W.                Goldstep ASC LLC                      Manipulation Hip Joint General An…    9/22/2018   27275      $1,200.00
1018999-01    E.W.                Goldstep ASC LLC                      Manipulation Hip Joint General An…    9/22/2018   27275      $1,200.00
1018999-01    E.W.                Goldstep ASC LLC                          Anesthesia On Bony Pelvis…        9/24/2018    1120       $380.00
1018999-01    E.W.                Goldstep ASC LLC                      Manipulation Spine Requiring Anes…    9/24/2018   22505      $1,200.00
1018999-01    E.W.                Goldstep ASC LLC                      Manipulation Spine Requiring Anes…    9/24/2018   22505      $1,200.00
1018999-01    E.W.                Goldstep ASC LLC                      Manipulation Spine Requiring Anes…    9/24/2018   22505      $1,200.00
1018999-01    E.W.                Goldstep ASC LLC                      Clsd Tx Pelvic Ring Fx W/Manipula…    9/24/2018   27198      $1,200.00
1018999-01    E.W.                Goldstep ASC LLC                      Clsd Tx Pelvic Ring Fx W/Manipula…    9/24/2018   27198      $1,200.00
1018999-01    E.W.                Goldstep ASC LLC                      Manipulation Hip Joint General An…    9/24/2018   27275      $1,200.00
1018999-01    E.W.                Goldstep ASC LLC                      Manipulation Hip Joint General An…    9/24/2018   27275      $1,200.00
1018999-01    E.W.                    AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    1/21/2019   62321       $829.30
1018999-01    E.W.                    AMSC LLC                                  Epidurograpy Rs&I…            1/21/2019   72275       $572.52
1018999-01    E.W.                    AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/25/2019   62321      $6,000.00
1018999-01    E.W.                    AMSC LLC                                  Epidurograpy Rs&I…            3/25/2019   72275      $1,335.00
1018999-01    E.W.                    AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/8/2019   62323       $976.38
1018999-01    E.W.                    AMSC LLC                                  Epidurograpy Rs&I…             4/8/2019   72275       $572.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/17/2023   64490       $976.38
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/17/2023   64490       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/17/2023   64491       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/17/2023   64491       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/17/2023   64492       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…   4/17/2023   64492       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/5/2023   64493       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/5/2023   64493       $976.38
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/5/2023   64494       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/5/2023   64494       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/5/2023   64495       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/5/2023   64495       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    7/3/2023   64490       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    7/3/2023   64490       $976.38
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    7/3/2023   64491       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    7/3/2023   64491       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    7/3/2023   64492       $447.52
1018999-01    E.W.        Bronx SC LLC d/b/a Empire State ASC            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    7/3/2023   64492       $447.52
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/28/2018   62323       $829.30
1018814-01    M.S.            Surgicore of Jersey City LLC                      Epidurograpy Rs&I…            4/28/2018   72275       $572.53
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/12/2018   62323       $829.30
1018814-01    M.S.            Surgicore of Jersey City LLC                      Epidurograpy Rs&I…            5/12/2018   72275       $572.53
1018814-01    M.S.              Avicenna Surgery Center                Arthrs Kne Surg W/Meniscectomy Me…     5/14/2018   29881      $3,026.23
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/26/2018   62323       $829.30
1018814-01    M.S.            Surgicore of Jersey City LLC                      Epidurograpy Rs&I…            5/26/2018   72275       $572.53
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/9/2018   64493       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/9/2018   64493       $979.78
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/9/2018   64494       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/9/2018   64494       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/9/2018   64495       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/9/2018   64495       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC              Fluor Needle/Cath Spine/Paraspina…     6/9/2018   77003       $572.53
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/23/2018   64493       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/23/2018   64493       $979.78
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/23/2018   64494       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/23/2018   64494       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/23/2018   64495       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    6/23/2018   64495       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC              Fluor Needle/Cath Spine/Paraspina…    6/23/2018   77003       $572.53
1018814-01    M.S.            Surgicore of Jersey City LLC               Dstr Nrolytc Agnt Parverteb Fct S…    7/7/2018   64635       $979.78
1018814-01    M.S.            Surgicore of Jersey City LLC               Dstr Nrolytc Agnt Parverteb Fct A…    7/7/2018   64636       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC               Dstr Nrolytc Agnt Parverteb Fct A…    7/7/2018   64636       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC              Fluor Needle/Cath Spine/Paraspina…     7/7/2018   77003       $572.53
1018814-01    M.S.            Surgicore of Jersey City LLC               Dstr Nrolytc Agnt Parverteb Fct S…   8/25/2018   64635       $979.78
1018814-01    M.S.            Surgicore of Jersey City LLC               Dstr Nrolytc Agnt Parverteb Fct A…   8/25/2018   64636       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC               Dstr Nrolytc Agnt Parverteb Fct A…   8/25/2018   64636       $449.21
1018814-01    M.S.            Surgicore of Jersey City LLC              Fluor Needle/Cath Spine/Paraspina…    8/25/2018   77003       $572.53
1019568-01    Z.H.            Surgicore of Jersey City LLC               Arthrocentesis Aspir&/Inj Major J…    5/3/2018   20610      $1,016.20
1019568-01    Z.H.            Surgicore of Jersey City LLC             Arthroscopy Knee Synovectomy 2/>C…      5/3/2018   29876     $27,429.00

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                                                          1987
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1019568-01    Z.H.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 5/3/2018        29880     $29,301.00
1019568-01    Z.H.             Surgicore of Jersey City LLC                Supplies&Materials Above/Beyond P…     5/3/2018   99070       $220.00
1019568-01    Z.H.        New York Center For Specialty Surgery             Office Outpatient New 45 Minutes…    5/21/2018   99204       $148.70
1019568-01    Z.H.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  5/21/2018   20552       $236.69
1019568-01    Z.H.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/21/2018   62321       $829.30
1019568-01    Z.H.                     SCOB LLC                                     Epidurograpy Rs&I…           5/21/2018   72275       $572.53
1019568-01    Z.H.                     SCOB LLC                            Us Guidance Needle Placement Img …    5/21/2018   76942       $341.96
1019568-01    Z.H.        New York Center For Specialty Surgery              Office Outpatient Visit 40 Minute…  6/25/2018   99215        $92.98
1019568-01    Z.H.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  6/25/2018   20552       $554.74
1019568-01    Z.H.                     SCOB LLC                            Us Guidance Needle Placement Img …    6/25/2018   76942       $341.96
1019568-01    Z.H.        New York Center For Specialty Surgery              Office Outpatient Visit 40 Minute…  7/17/2018   99215        $92.98
1019568-01    Z.H.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  7/17/2018   20552       $236.69
1019568-01    Z.H.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/17/2018   62321       $829.30
1019568-01    Z.H.                     SCOB LLC                                     Epidurograpy Rs&I…           7/17/2018   72275       $572.53
1019568-01    Z.H.                     SCOB LLC                            Us Guidance Needle Placement Img …    7/17/2018   76942       $341.96
1017261-01    F.B.        New York Center For Specialty Surgery             Office Outpatient New 45 Minutes…   11/19/2018   99204       $148.70
1017261-01    F.B.                     SCOB LLC                              Injection Single/Mlt Trigger Poin… 11/19/2018   20552       $236.69
1017261-01    F.B.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/19/2018   62323       $829.30
1017261-01    F.B.                     SCOB LLC                                     Epidurograpy Rs&I…          11/19/2018   72275       $572.53
1017261-01    F.B.                     SCOB LLC                            Us Guidance Needle Placement Img … 11/19/2018     76942       $341.96
1017261-01    F.B.        New York Center For Specialty Surgery              Office Outpatient Visit 40 Minute…  12/9/2018   99215       $142.21
1017261-01    F.B.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   12/9/2018   62323       $829.30
1017261-01    F.B.                     SCOB LLC                                     Epidurograpy Rs&I…           12/9/2018   72275       $572.53
1017261-01    F.B.                     AMSC LLC                              Injection Single/Mlt Trigger Poin…  3/10/2019   20553       $277.37
1017261-01    F.B.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/10/2019   62323       $976.38
1017261-01    F.B.                     AMSC LLC                                     Epidurograpy Rs&I…           3/10/2019   72275       $572.52
1017261-01    F.B.                     AMSC LLC                            Us Guidance Needle Placement Img …    3/10/2019   76942       $423.32
1017261-01    F.B.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 7/31/2019      29876      $1,472.45
1017261-01    F.B.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 7/31/2019       29880      $3,026.24
1017261-01    F.B.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    7/31/2019   29999      $1,472.45
1017261-01    F.B.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …  7/31/2019   G0289      $1,472.45
1018619-03    E.A.         New York Surgery Center of Queens                 Injection Single/Mlt Trigger Poin…  3/28/2018   20553       $554.37
1018619-03    E.A.         New York Surgery Center of Queens                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/28/2018   62323       $979.43
1018619-03    E.A.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Diagnostic W/Wo … 4/20/2018      29870      $3,026.24
1018619-03    E.A.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 4/20/2018      29875      $1,472.45
1018619-03    E.A.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C… 4/20/2018      29876      $1,472.45
1018619-03    E.A.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 4/20/2018       29880      $1,472.45
1019334-01    M.V.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 4/29/2018      29875      $3,026.24
1019334-01    M.V.          Fifth Avenue Surgery Center LLC                Arthrs Knee Debridement/Shaving A…    4/29/2018   29877      $1,472.45
1019334-01    M.V.          Fifth Avenue Surgery Center LLC               Arthrs Knee W/Meniscectomy Med&La… 4/29/2018       29880      $1,472.45
1019334-01    M.V.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…    4/29/2018   29999      $1,472.45
1019334-01    M.V.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…   4/29/2018   64447       $829.30
1019334-01    M.V.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    4/29/2018   76942       $341.96
1019334-01    M.V.          Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin…  6/27/2018   20553       $277.37
1019334-01    M.V.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/27/2018   62323       $829.30
1019334-01    M.V.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           6/27/2018   72275       $572.52
1019334-04    L.T.          Fifth Avenue Surgery Center LLC                Suture Quadriceps/Hamstring Ruptu…     4/8/2018   27385      $3,111.71
1019334-04    L.T.          Fifth Avenue Surgery Center LLC                Amp Leg Thru Tibfib W/Immt Fitg T…     4/8/2018   27881      $1,472.45
1019334-04    L.T.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi…     4/8/2018   29875      $1,472.45
1019334-04    L.T.          Fifth Avenue Surgery Center LLC                   Unlisted Procedure Arthroscopy…     4/8/2018   29999      $1,472.45
1019334-04    L.T.          Island Ambulatory Surgery Center                 Injection Single/Mlt Trigger Poin…  6/27/2018   20553       $277.37
1019334-04    L.T.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/27/2018   62323       $829.30
1019334-04    L.T.          Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           6/27/2018   72275       $572.52
1018535-02    A.W.          Fifth Avenue Surgery Center LLC                Suture Quadriceps/Hamstring Ruptu…    4/29/2018   27385      $3,111.71
1018535-02    A.W.          Fifth Avenue Surgery Center LLC                Arthroscopy Knee Synovectomy Limi… 4/29/2018      29875      $1,472.45
1018535-02    A.W.          Fifth Avenue Surgery Center LLC                Arthrs Knee Debridement/Shaving A…    4/29/2018   29877      $1,472.45
1018535-02    A.W.          Fifth Avenue Surgery Center LLC               Arthrs Kne Surg W/Meniscectomy Me… 4/29/2018       29881      $1,472.45
1018535-02    A.W.          Fifth Avenue Surgery Center LLC                 Injection Anesthetic Agent Femora…   4/29/2018   64447       $829.30
1018535-02    A.W.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …    4/29/2018   76942       $341.96
1018535-02    A.W.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Surg Synovec…     5/6/2018   29821      $3,026.24
1018535-02    A.W.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Distal Clavi…    5/6/2018   29824      $1,472.45
1018535-02    A.W.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder W/Coracoacrm…     5/6/2018   29826      $1,472.45
1018535-02    A.W.          Fifth Avenue Surgery Center LLC                 Single Nerve Block Injection Arm …    5/6/2018   64415       $829.30
1018535-02    A.W.          Fifth Avenue Surgery Center LLC                Us Guidance Needle Placement Img …     5/6/2018   76942       $341.96
1018535-02    A.W.         New York Surgery Center of Queens                 Injection Single/Mlt Trigger Poin…  5/23/2018   20553       $554.37
1018535-02    A.W.         New York Surgery Center of Queens                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   5/23/2018   62323       $979.43
1018535-02    A.W.         New York Surgery Center of Queens                        Epidurograpy Rs&I…           5/23/2018   72275       $554.37
1016303-01    Y.J.       Ambulatory Surgical Center of Englewood           Arthroscopy Shoulder Surg Synovec…    3/13/2018   29821      $1,615.60

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                                                          1988
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                Service     Code       Billed
1016303-01    Y.J.       Ambulatory Surgical Center of Englewood            Arthroscopy Shoulder Surg Debride…     3/13/2018   29823      $3,231.20
1016303-01    Y.J.       Ambulatory Surgical Center of Englewood             Arthroscopy Shoulder Ahesiolysis …    3/13/2018   29825       $807.79
1016303-01    Y.J.       Ambulatory Surgical Center of Englewood           Arthroscopy Shoulder W/Coracoacrm…      3/13/2018   29826       $403.89
1016303-01    Y.J.       Ambulatory Surgical Center of Englewood            Arthroscopy Shoulder Rotator Cuff…     3/13/2018   29827      $6,462.39
1016303-01    Y.J.       Ambulatory Surgical Center of Englewood            Nonemergency Transportation; Taxi…     3/13/2018   A0100       $300.00
1016303-01    Y.J.       Ambulatory Surgical Center of Englewood              Surgical Supply; Miscellaneous…      3/13/2018   A4649      $2,000.00
1016303-01    Y.J.       Ambulatory Surgical Center of Englewood            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      4/6/2018   62323      $1,012.32
1016303-01    Y.J.       Ambulatory Surgical Center of Englewood            Nonemergency Transportation; Taxi…      4/6/2018   A0100       $300.00
1016303-01    Y.J.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…     4/24/2018   22505       $748.08
1016303-01    Y.J.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…      4/24/2018   23700      $1,577.52
1016303-01    Y.J.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…     4/24/2018   27198       $418.79
1016303-01    Y.J.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…     4/26/2018   22505       $748.08
1016303-01    Y.J.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…      4/26/2018   23700      $1,577.52
1016303-01    Y.J.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…     4/26/2018   27198       $418.79
1016303-01    Y.J.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…      5/1/2018   22505       $748.08
1016303-01    Y.J.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…       5/1/2018   23700      $1,577.52
1016303-01    Y.J.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…      5/1/2018   27198       $418.79
1016303-01    Y.J.       Ambulatory Surgical Center of Englewood            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     5/16/2018   62321      $1,012.32
1016303-01    Y.J.       Ambulatory Surgical Center of Englewood            Nonemergency Transportation; Taxi…     5/16/2018   A0100       $300.00
1016303-01    Y.J.       Ambulatory Surgical Center of Englewood            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      6/1/2018   62323      $1,012.32
1016303-01    Y.J.       Ambulatory Surgical Center of Englewood            Nonemergency Transportation; Taxi…      6/1/2018   A0100       $300.00
1016303-02    A.A.       Ambulatory Surgical Center of Englewood            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      4/6/2018   62321      $1,012.32
1016303-02    A.A.       Ambulatory Surgical Center of Englewood            Nonemergency Transportation; Taxi…      4/6/2018   A0100       $300.00
1016303-02    A.A.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…     4/24/2018   22505       $748.08
1016303-02    A.A.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…      4/24/2018   23700      $1,577.52
1016303-02    A.A.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…     4/24/2018   27198       $418.79
1016303-02    A.A.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…     4/26/2018   22505       $748.08
1016303-02    A.A.             Surgicore of Jersey City LLC                Manj W/Anes Shoulder Joint W/Fixa…      4/26/2018   23700      $1,577.52
1016303-02    A.A.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…     4/26/2018   27198       $418.79
1016303-02    A.A.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…      5/1/2018   22505      $1,577.52
1016303-02    A.A.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…      5/1/2018   27198       $418.79
1016303-03    J.A.            Manalapan Surgery Center Inc                  Manipulation Spine Requiring Anes…     3/24/2018   22505       $748.08
1016303-03    J.A.            Manalapan Surgery Center Inc                 Manj W/Anes Shoulder Joint W/Fixa…      3/24/2018   23700      $1,577.52
1016303-03    J.A.            Manalapan Surgery Center Inc                  Manipulation Knee Joint Under Gen…     3/24/2018   27570       $748.08
1016303-03    J.A.            Manalapan Surgery Center Inc                  Manipulation Spine Requiring Anes…     3/25/2018   22505       $748.08
1016303-03    J.A.            Manalapan Surgery Center Inc                 Manj W/Anes Shoulder Joint W/Fixa…      3/25/2018   23700      $1,577.52
1016303-03    J.A.            Manalapan Surgery Center Inc                  Manipulation Knee Joint Under Gen…     3/25/2018   27570       $748.08
1016303-03    J.A.            Manalapan Surgery Center Inc                 Manj W/Anes Shoulder Joint W/Fixa…      3/31/2018   23700      $1,577.52
1016303-03    J.A.            Manalapan Surgery Center Inc                  Manipulation Knee Joint Under Gen…     3/31/2018   27570       $748.08
1016303-03    J.A.       Ambulatory Surgical Center of Englewood            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     5/16/2018   62323      $1,012.32
1016303-03    J.A.       Ambulatory Surgical Center of Englewood            Nonemergency Transportation; Taxi…     5/16/2018   A0100       $300.00
1018910-01    M.S.            Manalapan Surgery Center Inc                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      3/3/2018   62323       $829.30
1018910-01    M.S.            Manalapan Surgery Center Inc                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      3/3/2018   62323      $3,517.50
1018910-01    M.S.            Manalapan Surgery Center Inc                          Epidurograpy Rs&I…              3/3/2018   72275       $572.52
1018910-01    M.S.            Manalapan Surgery Center Inc                          Epidurograpy Rs&I…              3/3/2018   72275      $3,000.00
1018910-01    M.S.        Specialty Surgery of Middletown LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      4/5/2018   62323      $3,574.18
1018910-01    M.S.        Specialty Surgery of Middletown LLC               Dcmprn Perq Nucleus Pulposus 1/> …     5/19/2018   62287     $15,278.17
1015476-01    A.H.          Fifth Avenue Surgery Center LLC                  Arthrocentesis Aspir&/Inj Major J…    4/24/2018   20610       $236.69
1015476-01    A.H.          Fifth Avenue Surgery Center LLC                Arthroscopy Shoulder Dx W/Wo Syno…      4/24/2018   29805      $3,026.24
1015476-01    A.H.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Synovec…     4/24/2018   29820      $1,472.45
1015476-01    A.H.          Fifth Avenue Surgery Center LLC                 Arthroscopy Shoulder Surg Debride…     4/24/2018   29823      $1,472.45
1015476-01    A.H.          Fifth Avenue Surgery Center LLC                  Arthroscopy Shoulder Ahesiolysis …    4/24/2018   29825      $1,472.45
1015476-01    A.H.          Fifth Avenue Surgery Center LLC                  Single Nerve Block Injection Arm …    4/24/2018   64415       $829.30
1015476-01    A.H.          Fifth Avenue Surgery Center LLC                 Us Guidance Needle Placement Img …     4/24/2018   76942       $341.96
1015476-01    A.H.                    EMUSC LLC                             Anesthesia Perq Image Guided Spin…      6/6/2018    1936       $710.00
1015476-01    A.H.                    EMUSC LLC                             Dcmprn Perq Nucleus Pulposus 1/> …      6/6/2018   62287      $5,827.05
1015751-05    F.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surgical Cap…      6/4/2018   29806      $5,677.77
1015751-05    F.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surgical Rep…      6/4/2018   29807      $2,798.20
1015751-05    F.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…      6/4/2018   29821      $1,472.45
1015751-05    F.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…      6/4/2018   29823      $1,472.45
1015751-05    F.B.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…       6/4/2018   29826      $1,472.45
1015751-05    F.B.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …     6/4/2018   64415       $829.30
1015751-05    F.B.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …      6/4/2018   76942       $341.96
1015751-05    F.B.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…    8/23/2019   22526      $2,646.47
1015751-05    F.B.          Island Ambulatory Surgery Center                Dcmprn Perq Nucleus Pulposus 1/> …     8/23/2019   62287      $5,292.93
1015751-05    F.B.          Island Ambulatory Surgery Center               Perc Lamino-/Laminectomy Image Gu…     11/15/2019   0274T      $5,292.93
1015751-05    F.B.          Island Ambulatory Surgery Center                 Perq Intrdscl Electrothrm Annulop…   11/15/2019   22526      $2,646.47
1016353-01    T.D.        New York Center For Specialty Surgery              Office Outpatient New 45 Minutes…     3/25/2018   99204       $148.70

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                                                         1989
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                       Provider                                       Service
 Number      Person                                                                                            Service     Code       Billed
1016353-01    T.D.                    SCOB LLC                             Injection Single/Mlt Trigger Poin…  3/25/2018   20552      $236.69
1016353-01    T.D.                    SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/25/2018   62321      $829.30
1016353-01    T.D.                    SCOB LLC                                    Epidurograpy Rs&I…           3/25/2018   72275      $572.53
1016353-01    T.D.                    SCOB LLC                           Us Guidance Needle Placement Img …    3/25/2018   76942      $341.96
1016353-01    T.D.        New York Center For Specialty Surgery           Office Outpatient Visit 40 Minute…   4/15/2018   99215       $92.98
1016353-01    T.D.                    SCOB LLC                             Injection Single/Mlt Trigger Poin…  4/15/2018   20552      $236.69
1016353-01    T.D.                    SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   4/15/2018   62321      $829.30
1016353-01    T.D.                    SCOB LLC                                    Epidurograpy Rs&I…           4/15/2018   72275      $572.53
1016353-01    T.D.                    SCOB LLC                           Us Guidance Needle Placement Img …    4/15/2018   76942      $341.96
1016353-01    T.D.        New York Center For Specialty Surgery           Office Outpatient Visit 40 Minute…    6/3/2018   99215       $92.98
1016353-01    T.D.                    SCOB LLC                             Injection Single/Mlt Trigger Poin…   6/3/2018   20552      $236.69
1016353-01    T.D.                    SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    6/3/2018   62321      $829.30
1016353-01    T.D.                    SCOB LLC                                    Epidurograpy Rs&I…            6/3/2018   72275      $572.53
1016353-01    T.D.                    SCOB LLC                           Us Guidance Needle Placement Img …     6/3/2018   76942      $341.96
1016353-01    T.D.        New York Center For Specialty Surgery           Office Outpatient Visit 40 Minute…   7/17/2018   99215       $92.98
1016353-01    T.D.                    SCOB LLC                             Injection Single/Mlt Trigger Poin…  7/17/2018   20552      $236.69
1016353-01    T.D.                    SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/17/2018   62321      $829.30
1016353-01    T.D.                    SCOB LLC                                    Epidurograpy Rs&I…           7/17/2018   72275      $572.53
1016353-01    T.D.                    SCOB LLC                           Us Guidance Needle Placement Img …    7/17/2018   76942      $341.96
1016353-01    T.D.        New York Center For Specialty Surgery           Office Outpatient Visit 40 Minute…  10/23/2018   99215       $92.98
1016353-01    T.D.            Surgicore of Jersey City LLC              Perc Lamino-/Laminectomy Image Gu… 11/16/2019      0274T     $5,292.93
1016353-01    T.D.            Surgicore of Jersey City LLC                Perq Intrdscl Electrothrm Annulop…  11/16/2019   22526     $2,605.78
1015667-01    E.R.            East Tremont Medical Center                Anes Dx/Ther Nrv Blk/Njx Oth/Thn …    4/25/2018    1991      $162.06
1015667-01    E.R.            East Tremont Medical Center                Anes Dx/Ther Nrv Blk/Njx Oth/Thn …    4/25/2018    1991     $1,002.00
1015667-01    E.R.            East Tremont Medical Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/25/2018   62323     $1,266.65
1015667-01    E.R.            East Tremont Medical Center                Anes Dx/Ther Nrv Blk/Njx Oth/Thn …    6/27/2018    1991      $162.06
1015667-01    E.R.            East Tremont Medical Center                Anes Dx/Ther Nrv Blk/Njx Oth/Thn …    6/27/2018    1991     $1,002.00
1015667-01    E.R.            East Tremont Medical Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/27/2018   62321     $1,266.65
1015667-01    E.R.            Surgicore of Jersey City LLC              Arthroscopy Knee Synovectomy 2/>C…      7/6/2018   29876     $3,026.24
1015667-01    E.R.            Surgicore of Jersey City LLC               Arthrs Knee Abrasion Arthrp/Mlt D…     7/6/2018   29879     $1,472.45
1015667-01    E.R.            Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical, For …   7/6/2018   G0289     $1,472.45
1015667-01    E.R.            East Tremont Medical Center                Anes Dx/Ther Nrv Blk/Njx Oth/Thn …    7/25/2018    1991     $1,004.88
1015667-01    E.R.            East Tremont Medical Center                Anes Dx/Ther Nrv Blk/Njx Oth/Thn …    7/25/2018    1991     $1,004.88
1015667-01    E.R.            East Tremont Medical Center                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/25/2018   62321     $1,266.65
1015667-01    E.R.            Surgicore of Jersey City LLC              Arthroscopy Knee Synovectomy 2/>C… 9/14/2018       29876     $3,026.24
1015667-01    E.R.            Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical, For …  9/14/2018   G0289     $1,472.45
1015667-01    E.R.            Surgicore of Jersey City LLC                 Arthroscopy, Knee, Surgical, For …  9/14/2018   G0289     $1,472.45
1015667-01    E.R.            East Tremont Medical Center                Anes Dx/Ther Nerve Block/Injectio…    10/3/2018    1992      $162.06
1015667-01    E.R.            East Tremont Medical Center                Anes Dx/Ther Nerve Block/Injectio…    10/3/2018    1992      $162.06
1015667-01    E.R.            East Tremont Medical Center                Anes Dx/Ther Nerve Block/Injectio…    10/3/2018    1992     $1,044.00
1015667-01    E.R.            East Tremont Medical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/3/2018   64494     $1,266.65
1015667-01    E.R.            East Tremont Medical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   10/3/2018   64494     $1,266.65
1015667-01    E.R.            East Tremont Medical Center                Anes Dx/Ther Nerve Block/Injectio…   10/17/2018    1992      $162.06
1015667-01    E.R.            East Tremont Medical Center                Anes Dx/Ther Nerve Block/Injectio…   10/17/2018    1992     $1,044.00
1015667-01    E.R.            East Tremont Medical Center                Anes Dx/Ther Nerve Block/Injectio…   10/17/2018    1992      $162.06
1015667-01    E.R.            East Tremont Medical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  10/17/2018   64494     $1,266.65
1015667-01    E.R.            East Tremont Medical Center                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  10/17/2018   64494     $1,266.65
1015763-01    M.W.           Healthplus Surgery Center LLC               Manipulation Spine Requiring Anes…    3/29/2018   22505     $2,074.56
1015763-01    M.W.           Healthplus Surgery Center LLC               Clsd Tx Pelvic Ring Fx W/Manipula…    3/29/2018   27198     $1,037.28
1015763-01    M.W.           Healthplus Surgery Center LLC                Manipulation Hip Joint General An…   3/29/2018   27275     $2,074.56
1015763-01    M.W.            Dynamic Surgery Center LLC                 Manipulation Spine Requiring Anes…     4/5/2018   22505     $2,074.56
1015763-01    M.W.            Dynamic Surgery Center LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…     4/5/2018   27198     $1,037.28
1015763-01    M.W.            Dynamic Surgery Center LLC                  Manipulation Hip Joint General An…    4/5/2018   27275     $2,074.56
1015763-01    M.W.            Dynamic Surgery Center LLC                 Manipulation Spine Requiring Anes…    4/12/2018   22505     $2,074.56
1015763-01    M.W.            Dynamic Surgery Center LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…    4/12/2018   27198     $1,037.28
1015763-01    M.W.            Dynamic Surgery Center LLC                  Manipulation Hip Joint General An…   4/12/2018   27275     $2,074.56
1015763-01    M.W.                   EMUSC LLC                           Collection Venous Blood Venipunct…    8/21/2018   36415       $25.00
1015763-01    M.W.                   EMUSC LLC                            Basic Metabolic Panel Calcium Ion…   8/21/2018   80047       $88.25
1015763-01    M.W.                   EMUSC LLC                                 Blood Count Hematocrit…         8/21/2018   85014       $20.00
1015763-01    M.W.                   EMUSC LLC                                 Blood Count Hemoglobin…         8/21/2018   85018       $20.00
1015763-01    M.W.                   EMUSC LLC                                     Prothrombin Time…           8/21/2018   85610       $20.00
1015763-01    M.W.                   EMUSC LLC                           Thromboplastin Time Partial Plasm…    8/21/2018   85730       $20.00
1015763-01    M.W.                   EMUSC LLC                           Ecg Routine Ecg W/Least 12 Lds W/…    8/21/2018   93000      $102.00
1015763-01    M.W.                   EMUSC LLC                            Office Consultation New/Estab Pat…   8/21/2018   99243      $181.23
1015763-01    M.W.                   EMUSC LLC                            Office Consultation New/Estab Pat…   8/27/2018   99243      $400.00
1015763-01    M.W.                   EMUSC LLC                         Echo Tthrc R-T 2D W/Wom-Mode Comp… 8/30/2018        93306     $1,254.65
1015763-01    M.W.                   EMUSC LLC                           Anes Arthrs Humeral H/N Strnclav …     9/7/2018    1630      $890.00
1015763-01    M.W.                   EMUSC LLC                           Arthroscopy Shoulder Surg Synovec…     9/7/2018   29821     $1,472.45

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                                                           1990
                            American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                        Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                Fraudulent Services at a Surgicore ASC and Non-Network ASC
     Claim    Covered                                                                                            Date of     Billing   Amount
                                         Provider                                       Service
    Number    Person                                                                                             Service     Code       Billed
   1015763-01   M.W.                   EMUSC LLC                           Arthroscopy Shoulder Surg Debride…     9/7/2018   29823     $3,025.86
   1015763-01   M.W.                   EMUSC LLC                            Arthroscopy Shoulder Ahesiolysis …    9/7/2018   29825     $1,472.45
   1015763-01   M.W.                   EMUSC LLC                          Arthroscopy Shoulder W/Coracoacrm…      9/7/2018   29826     $1,472.45
   1015763-01   M.W.                   EMUSC LLC                              Unlisted Procedure Arthroscopy…     9/7/2018   29999     $1,472.45
   1015763-01   M.W.                   EMUSC LLC                            Single Nerve Block Injection Arm …    9/7/2018   64415      $830.00
   1015763-01   M.W.                   EMUSC LLC                            Single Nerve Block Injection Arm …    9/7/2018   64415      $414.46
   1015763-01   M.W.            Surgicore of Jersey City LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   11/26/2018   62323      $829.30
   1015763-01   M.W.            Surgicore of Jersey City LLC                        Epidurograpy Rs&I…          11/26/2018   72275      $572.53
   1016247-01   S.B.              Surgery Center of Oradell                Arthroscopy Shoulder Surg Synovec…    4/10/2018   29821     $6,462.39
   1016247-01   S.B.              Surgery Center of Oradell                Arthroscopy Shoulder Surg Debride…    4/10/2018   29823     $6,462.39
   1016247-01   S.B.              Surgery Center of Oradell               Arthroscopy Shoulder W/Coracoacrm… 4/10/2018       29826     $6,462.39
   1016247-01   S.B.                   EMUSC LLC                           Dcmprn Perq Nucleus Pulposus 1/> …    5/23/2018   62287     $5,827.05
   1016247-01   S.B.                   EMUSC LLC                              Anesthesia Lumbar Region Nos…      5/23/2018    630       $950.00
   1016247-01   S.B.                   EMUSC LLC                            Anesthesia Cervical Spine & Cord …   6/20/2018    600      $1,190.00
   1016247-01   S.B.                   EMUSC LLC                          Discectomy Ant Dcmprn Cord Cervic… 6/20/2018       63075     $5,827.05
   1016247-01   S.B.                   EMUSC LLC                          Miscellaneous Dme Supply Or Acces… 6/20/2018       A9999     $1,500.00
   1016247-01   S.B.    Surgicore LLC d/b/a Surgicore Surgical Center      Rpr Prim Disrupted Ligm Ankle Bth…     8/7/2018   27696     $3,111.71
   1016247-01   S.B.    Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Ankle Surgical Debrid…     8/7/2018   29898     $1,472.45
   1016247-01   S.B.    Surgicore LLC d/b/a Surgicore Surgical Center        Injection Anesthetic Agent Sciati…   8/7/2018   64445      $829.30
   1016247-01   S.B.    Surgicore LLC d/b/a Surgicore Surgical Center      Us Guidance Needle Placement Img …     8/7/2018   76942      $341.96
TNC18000630-0301N.W.            Surgicore of Jersey City LLC                Arthrocentesis Aspir&/Inj Major J…   4/17/2018   20610      $236.69
TNC18000630-0301N.W.            Surgicore of Jersey City LLC              Arthroscopy Knee Synovectomy 2/>C… 4/17/2018       29876     $1,472.45
TNC18000630-0301N.W.            Surgicore of Jersey City LLC              Arthrs Kne Surg W/Meniscectomy Me… 4/17/2018       29881     $3,026.24
TNC18000630-0301N.W.            Surgicore of Jersey City LLC                  Surgical Supply; Miscellaneous…    4/17/2018   A4649      $220.00
TNC18000630-0301N.W.           Healthplus Surgery Center LLC               Manipulation Spine Requiring Anes…    7/14/2018   22505     $2,074.56
TNC18000630-0301N.W.           Healthplus Surgery Center LLC               Clsd Tx Pelvic Ring Fx W/Manipula…    7/14/2018   27198     $1,037.28
TNC18000630-0301N.W.           Healthplus Surgery Center LLC               Manipulation Knee Joint Under Gen…    7/14/2018   27570     $1,037.28
TNC18000630-0301N.W.              Hudson Regional Hospital                 Drug Test Prsmv Read Direct Optic…    7/21/2018   80305      $179.46
TNC18000630-0301N.W.              Hudson Regional Hospital                Drug Screen Quant Amphetamines 1 … 7/21/2018       80324      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                  Antidepressants Serotonergic Clas…   7/21/2018   80332      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                  Antidepressants Tricyclic Other C…   7/21/2018   80335      $270.31
TNC18000630-0301N.W.              Hudson Regional Hospital                     Drug Screening Barbiturates…      7/21/2018   80345      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                 Drug Screening Benzodiazepines 1-…    7/21/2018   80346      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                    Drug Screening Buprenorphine…      7/21/2018   80348      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                       Drug Screening Fentanyl…        7/21/2018   80354      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                Drug Screening Gabapentin Non-Blo…     7/21/2018   80355      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                  Drug Screening Heroin Metabolite…    7/21/2018   80356      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                      Drug Screening Methadone…        7/21/2018   80358      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                Drug Screening Methylenedioxyamph… 7/21/2018       80359      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                   Drug Screening Methylphenidate…     7/21/2018   80360      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                  Drug Screening Opiates 1 Or More…    7/21/2018   80361      $538.74
TNC18000630-0301N.W.              Hudson Regional Hospital                 Drug Screening Opioids And Opiate…    7/21/2018   80362      $537.74
TNC18000630-0301N.W.              Hudson Regional Hospital                      Drug Screening Oxycodone…        7/21/2018   80365      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                      Drug Screening Pregabalin…       7/21/2018   80366      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                 Drug Screening Sedative Hypnotics…    7/21/2018   80368      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                 Drug Screening Skeletal Muscle Re…    7/21/2018   80369      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                      Drug Screening Tapentadol…       7/21/2018   80372      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                       Drug Screening Tramadol…        7/21/2018   80373      $269.37
TNC18000630-0301N.W.           Healthplus Surgery Center LLC               Manipulation Spine Requiring Anes…    7/21/2018   22505     $2,074.56
TNC18000630-0301N.W.           Healthplus Surgery Center LLC               Clsd Tx Pelvic Ring Fx W/Manipula…    7/21/2018   27198     $1,037.28
TNC18000630-0301N.W.           Healthplus Surgery Center LLC               Manipulation Knee Joint Under Gen…    7/21/2018   27570     $1,037.28
TNC18000630-0301N.W.              Hudson Regional Hospital                 Drug Test Prsmv Read Direct Optic…    7/28/2018   80305      $179.46
TNC18000630-0301N.W.              Hudson Regional Hospital                Drug Screen Quant Amphetamines 1 … 7/28/2018       80324      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                  Antidepressants Serotonergic Clas…   7/28/2018   80332      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                  Antidepressants Tricyclic Other C…   7/28/2018   80335      $270.31
TNC18000630-0301N.W.              Hudson Regional Hospital                     Drug Screening Barbiturates…      7/28/2018   80345      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                 Drug Screening Benzodiazepines 1-…    7/28/2018   80346      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                    Drug Screening Buprenorphine…      7/28/2018   80348      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                       Drug Screening Fentanyl…        7/28/2018   80354      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                Drug Screening Gabapentin Non-Blo…     7/28/2018   80355      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                  Drug Screening Heroin Metabolite…    7/28/2018   80356      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                      Drug Screening Methadone…        7/28/2018   80358      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                Drug Screening Methylenedioxyamph… 7/28/2018       80359      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                   Drug Screening Methylphenidate…     7/28/2018   80360      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                  Drug Screening Opiates 1 Or More…    7/28/2018   80361      $538.74
TNC18000630-0301N.W.              Hudson Regional Hospital                 Drug Screening Opioids And Opiate…    7/28/2018   80362      $537.74
TNC18000630-0301N.W.              Hudson Regional Hospital                      Drug Screening Oxycodone…        7/28/2018   80365      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                      Drug Screening Pregabalin…       7/28/2018   80366      $269.37

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                                                            1991
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
     Claim     Covered                                                                                             Date of     Billing   Amount
                                          Provider                                        Service
    Number     Person                                                                                              Service     Code       Billed
TNC18000630-0301N.W.              Hudson Regional Hospital                    Drug Screening Sedative Hypnotics…   7/28/2018   80368      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                    Drug Screening Skeletal Muscle Re…   7/28/2018   80369      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                        Drug Screening Tapentadol…       7/28/2018   80372      $269.37
TNC18000630-0301N.W.              Hudson Regional Hospital                         Drug Screening Tramadol…        7/28/2018   80373      $269.37
TNC18000630-0301N.W.             Dynamic Surgery Center LLC                   Manipulation Spine Requiring Anes…   7/28/2018   22505     $2,074.56
TNC18000630-0301N.W.             Dynamic Surgery Center LLC                  Clsd Tx Pelvic Ring Fx W/Manipula…    7/28/2018   27198     $1,037.28
TNC18000630-0301N.W.             Dynamic Surgery Center LLC                  Manipulation Knee Joint Under Gen…    7/28/2018   27570     $1,037.28
   1017152-01    J.S.               Barnert Surgical Center                    Injection Single/Mlt Trigger Poin…  3/20/2018   20553      $161.46
   1017152-01    J.S.               Barnert Surgical Center                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/20/2018   62321     $1,518.48
   1017152-01    J.S.             Accelerated Surgical Center                  Injection Single/Mlt Trigger Poin…  4/21/2018   20553      $161.46
   1017152-01    J.S.             Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L… 4/21/2018      64483     $3,036.96
   1017152-01    J.S.             Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl L… 4/21/2018      64484     $1,553.68
   1017152-01    J.S.            Surgicore of Jersey City LLC                  Injection Single/Mlt Trigger Poin…  4/28/2018   20553      $236.69
   1017152-01    J.S.            Surgicore of Jersey City LLC                Njx Anes&/Strd W/Img Tfrml Edrl L… 4/28/2018      64483      $979.78
   1017152-01    J.S.            Surgicore of Jersey City LLC                Njx Anes&/Strd W/Img Tfrml Edrl L… 4/28/2018      64483      $449.21
   1017152-01    J.S.            Surgicore of Jersey City LLC                         Epidurograpy Rs&I…           4/28/2018   72275      $572.53
   1017152-01    J.S.               Barnert Surgical Center                    Injection Single/Mlt Trigger Poin…   4/7/2019   20553      $161.46
   1017152-01    J.S.               Barnert Surgical Center                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/7/2019   62321     $1,518.48
TNC18000598-0301 E.J.            Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 4/25/2018      29876     $1,472.45
TNC18000598-0301 E.J.            Surgicore of Jersey City LLC                 Arthrs Knee Abrasion Arthrp/Mlt D…   4/25/2018   29879     $1,472.45
TNC18000598-0301 E.J.            Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 4/25/2018       29880     $3,026.24
TNC18000598-0301 E.J.            Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…    4/25/2018   A4649      $220.00
TNC18000598-0301 E.J.            Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …  4/25/2018   G0289     $1,472.45
TNC18000598-0301 E.J.            Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec…    6/13/2018   29821     $1,472.45
TNC18000598-0301 E.J.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…   6/13/2018   29823     $1,472.45
TNC18000598-0301 E.J.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …   6/13/2018   29825     $1,472.45
TNC18000598-0301 E.J.            Surgicore of Jersey City LLC                 Arthroscopy Shoulder Rotator Cuff…   6/13/2018   29827     $5,677.77
TNC18000598-0301 E.J.            Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    6/13/2018   29999     $1,472.45
TNC18000598-0301 E.J.            Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    6/13/2018   29999     $1,472.45
TNC18000598-0301 E.J.            Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …   6/13/2018   64415      $829.30
TNC18000598-0301 E.J.            Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …    6/13/2018   76942      $341.96
TNC18000598-0301 E.J.         Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  11/27/2018   62323      $829.30
TNC18000598-0301 E.J.         Island Ambulatory Surgery Center                        Epidurograpy Rs&I…          11/27/2018   72275      $572.52
TNC18000598-0301 E.J.         Island Ambulatory Surgery Center                Arthrocentesis Aspir&/Inj Major J…  12/12/2018   20610      $277.37
TNC18000598-0301 E.J.         Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/12/2018   62321      $829.30
TNC18000598-0301 E.J.         Island Ambulatory Surgery Center                        Epidurograpy Rs&I…          12/12/2018   72275      $572.52
   1015188-01    R.S.       New York Center For Specialty Surgery              Office Outpatient Visit 40 Minute…  7/30/2018   99215       $92.98
   1015188-01    R.S.       New York Center For Specialty Surgery              Office Outpatient Visit 40 Minute…   9/6/2018   99215       $92.98
   1015188-01    R.S.       New York Center For Specialty Surgery              Office Outpatient Visit 40 Minute…  9/20/2018   99215       $92.98
   1015188-01    R.S.       New York Center For Specialty Surgery              Office Outpatient Visit 40 Minute…  9/21/2018   99215       $92.98
   1015188-01    R.S.            Surgicore of Jersey City LLC                  Injection Single/Mlt Trigger Poin…  10/9/2018   20553      $236.69
   1015188-01    R.S.            Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   10/9/2018   62321      $829.30
   1015188-01    R.S.            Surgicore of Jersey City LLC                         Epidurograpy Rs&I…           10/9/2018   72275      $572.53
   1015188-01    R.S.       All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Dx W/Wo Syno… 6/26/2019       29805     $1,472.45
   1015188-01    R.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surgical Rep…   6/26/2019   29807     $5,677.77
   1015188-01    R.S.       All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…    6/26/2019   29821     $1,472.45
   1015188-01    R.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   6/26/2019   29823     $1,472.45
   1015188-01    R.S.       All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 6/26/2019      29826     $1,472.45
   1015188-01    R.S.       All City Family Healthcare Center, Inc.             Unlisted Procedure Arthroscopy…    6/26/2019   29999     $1,472.45
   1015188-01    R.S.       All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   6/26/2019   64415      $979.78
   1015188-01    R.S.       All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    6/26/2019   76942      $341.96
   1015164-02    C.B.       All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…    9/18/2018   29820     $1,472.45
   1015164-02    C.B.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   9/18/2018   29823     $3,026.24
   1015164-02    C.B.       All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm… 9/18/2018      29826     $1,472.45
   1015164-02    C.B.       All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   9/18/2018   64415      $829.30
   1015164-02    C.B.       All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    9/18/2018   76942      $341.96
   1015164-02    C.B.         Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/11/2019   62321      $976.38
   1015164-02    C.B.         Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           3/11/2019   72275      $572.52
   1014566-01   A.D.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…   2/26/2018   22505     $1,557.52
   1014566-01   A.D.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    2/26/2018   27198      $418.77
   1014566-01   A.D.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…   2/27/2018   22505     $1,557.52
   1014566-01   A.D.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…    2/27/2018   27198      $418.77
   1014566-01   A.D.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…    3/2/2018   22505     $1,557.52
   1014566-01   A.D.             Surgicore of Jersey City LLC                Clsd Tx Pelvic Ring Fx W/Manipula…     3/2/2018   27198      $418.77
   1014566-01   A.D.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   3/25/2019   62323      $976.38
   1014566-01   A.D.                     AMSC LLC                                     Epidurograpy Rs&I…           3/25/2019   72275      $572.52
   1014749-01    B.B.         Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   4/25/2018   62321      $829.30
   1014749-01    B.B.         Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           4/25/2018   72275      $572.52

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                                                          1992
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                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                                   Date of     Billing   Amount
                                        Provider                                          Service
 Number      Person                                                                                                    Service     Code       Billed
1014749-01    B.B.        All City Family Healthcare Center, Inc.            Arthrocentesis Aspir&/Inj Major J…        4/27/2018   20610       $236.69
1014749-01    B.B.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…          4/27/2018   23700       $748.08
1014749-01    B.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surgical Rep…         4/27/2018   29807      $5,677.77
1014749-01    B.B.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…          4/27/2018   29820      $1,472.45
1014749-01    B.B.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…         4/27/2018   29823      $1,472.45
1014749-01    B.B.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…          4/27/2018   29826      $1,472.45
1014749-01    B.B.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …        4/27/2018   64415       $829.30
1014749-01    B.B.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …          4/27/2018   76942       $341.96
1014749-01    B.B.          Island Ambulatory Surgery Center                   Injection Single/Mlt Trigger Poin…      7/30/2018   20553       $277.37
1014749-01    B.B.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…         7/30/2018   62323       $829.30
1014749-01    B.B.          Island Ambulatory Surgery Center                           Epidurograpy Rs&I…              7/30/2018   72275       $572.52
1014749-01    B.B.          Island Ambulatory Surgery Center                 Arthrocentesis Aspir&/Inj Major J…        9/13/2018   20610       $554.74
1013701-01    J.R.                Barnert Surgical Center                     Inject Si Joint Arthrgrphy&/Anes/…       2/15/2018   27096      $1,518.48
1013701-01    J.R.                Barnert Surgical Center                     Inject Si Joint Arthrgrphy&/Anes/…       2/15/2018   27096      $1,518.48
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…          2/15/2018   64483      $1,518.48
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…          2/15/2018   64483      $1,518.48
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…          2/15/2018   64484       $776.84
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…          2/15/2018   64484       $776.84
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…          2/15/2018   64484       $776.84
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…          2/15/2018   64484       $776.84
1013701-01    J.R.                Barnert Surgical Center                              Epidurograpy Rs&I…              2/15/2018   72275       $750.00
1013701-01    J.R.                Barnert Surgical Center                      Injection Single/Mlt Trigger Poin…      2/22/2018   20553       $161.46
1013701-01    J.R.                Barnert Surgical Center                     Inject Si Joint Arthrgrphy&/Anes/…       2/22/2018   27096      $1,518.48
1013701-01    J.R.                Barnert Surgical Center                     Inject Si Joint Arthrgrphy&/Anes/…       2/22/2018   27096      $1,518.48
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…          2/22/2018   64483      $1,518.48
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…          2/22/2018   64483      $1,518.48
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…          2/22/2018   64484       $776.84
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…          2/22/2018   64484       $776.84
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…          2/22/2018   64484       $776.84
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…          2/22/2018   64484       $776.84
1013701-01    J.R.                Barnert Surgical Center                              Epidurograpy Rs&I…              2/22/2018   72275       $750.00
1013701-01    J.R.                Barnert Surgical Center                     Inject Si Joint Arthrgrphy&/Anes/…        3/1/2018   27096      $1,518.48
1013701-01    J.R.                Barnert Surgical Center                     Inject Si Joint Arthrgrphy&/Anes/…        3/1/2018   27096      $1,518.48
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…           3/1/2018   64483      $1,518.48
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…           3/1/2018   64483      $1,518.48
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…           3/1/2018   64484       $776.84
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…           3/1/2018   64484       $776.84
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…           3/1/2018   64484       $776.84
1013701-01    J.R.                Barnert Surgical Center                  Njx Anes&/Strd W/Img Tfrml Edrl L…           3/1/2018   64484       $776.84
1013701-01    J.R.                Barnert Surgical Center                              Epidurograpy Rs&I…               3/1/2018   72275       $750.00
1013701-01    J.R.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…           8/2/2019   29821      $1,472.45
1013701-01    J.R.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…          8/2/2019   29823      $3,026.24
1013701-01    J.R.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…           8/2/2019   29826      $1,472.45
1013701-01    J.R.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …         8/2/2019   64415       $979.78
1013701-01    J.R.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …           8/2/2019   76942       $341.96
1013755-01    I.O.              Hudson Regional Hospital                    Transection/Avulsion Oth Spinal N…        10/24/2018   64772     $16,437.00
1013755-01    I.O.              Hudson Regional Hospital                    Transection/Avulsion Oth Spinal N…        10/24/2018   64772     $16,437.00
1013755-01    I.O.              Hudson Regional Hospital                    Transection/Avulsion Oth Spinal N…        10/24/2018   64772     $16,437.00
1013755-01    I.O.              Hudson Regional Hospital                     Radex Spine 1 View Specify Level…        10/24/2018   72020       $681.20
1013755-01    I.O.              Hudson Regional Hospital                   Fluoroscopy Up To 1 Hour Physicia…         10/24/2018   76000      $1,346.30
1013755-01    I.O.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…        10/24/2018   80305       $179.46
1013755-01    I.O.              Hudson Regional Hospital                     Gonadotropin Chorionic Qualitativ…       10/24/2018   84703        $51.65
1013755-01    I.O.              Hudson Regional Hospital                     Injection, Acetaminophen, Not Oth…       10/24/2018   J0131       $145.00
1013755-01    I.O.              Hudson Regional Hospital                       Injection, Succinylcholine Chlori…     10/24/2018   J0330        $11.00
1013755-01    I.O.              Hudson Regional Hospital                   Injection, Dexamethasone Sodium P…         10/24/2018   J1100        $16.00
1013755-01    I.O.              Hudson Regional Hospital                    Injection, Hydromorphone, Up To 4…        10/24/2018   J1170        $12.00
1013755-01    I.O.              Hudson Regional Hospital                    Injection, Diphenhydramine Hcl, U…        10/24/2018   J1200        $10.00
1013755-01    I.O.              Hudson Regional Hospital                     Injection, Ketorolac Tromethamine…       10/24/2018   J1885        $21.00
1013755-01    I.O.              Hudson Regional Hospital                        Injection, Lidocaine Hcl For Intr…    10/24/2018   J2001        $25.00
1013755-01    I.O.              Hudson Regional Hospital                     Injection, Midazolam Hcl, Per 1 M…       10/24/2018   J2250         $3.00
1013755-01    I.O.              Hudson Regional Hospital                      Injection, Morphine Sulfate, Up T…      10/24/2018   J2270         $7.00
1013755-01    I.O.              Hudson Regional Hospital                      Injection, Ondansetron Hcl, Per 1…      10/24/2018   J2405        $11.00
1013755-01    I.O.              Hudson Regional Hospital                           Injection, Propofol, 10 Mg…        10/24/2018   J2704        $22.00
1013755-01    I.O.              Hudson Regional Hospital                           Injection, Propofol, 10 Mg…        10/24/2018   J2704       $216.00
1013755-01    I.O.              Hudson Regional Hospital                      Injection, Neostigmine Methylsulf…      10/24/2018   J2710       $101.00
1013755-01    I.O.              Hudson Regional Hospital                     Injection, Metoclopramide Hcl, Up…       10/24/2018   J2765         $4.00
1013755-01    I.O.              Hudson Regional Hospital                         Injection, Fentanyl Citrate, 0.1 …   10/24/2018   J3010         $6.00
1013755-01    I.O.              Hudson Regional Hospital                                Unclassified Drugs…           10/24/2018   J3490        $11.00

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                                                            1993
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
     Claim     Covered                                                                                            Date of     Billing   Amount
                                          Provider                                       Service
    Number     Person                                                                                             Service     Code       Billed
   1013755-01    I.O.              Hudson Regional Hospital                  Ringer'S Lactate Infusion, Up To …  10/24/2018   J7120        $8.00
   1013755-01    I.O.              Hudson Regional Hospital                   Glycopyrrolate, Inhalation Soluti… 10/24/2018   J7643       $94.00
   1013755-01    I.O.               Surgicare of Manhattan                  Arthroscopy Shoulder Surg Debride…    1/10/2019   29823     $3,026.23
   1013755-01    I.O.               Surgicare of Manhattan                  Single Nerve Block Injection Arm …    1/10/2019   64415      $898.43
   1013755-01    I.O.               Surgicare of Manhattan                 Us Guidance Needle Placement Img …     1/10/2019   76942      $170.97
   1013755-01    I.O.    Surgicore LLC d/b/a Surgicore Surgical Center               Tissue Grafts Other…         6/28/2019   20926     $1,040.79
   1013755-01    I.O.    Surgicore LLC d/b/a Surgicore Surgical Center      Tenolysis Flxr/Xtnsr Tendon Leg&/…    6/28/2019   27680     $1,417.17
   1013755-01    I.O.    Surgicore LLC d/b/a Surgicore Surgical Center      Tenolysis Flxr/Xtnsr Tendon Leg&/…    6/28/2019   27680     $1,417.17
   1013755-01    I.O.    Surgicore LLC d/b/a Surgicore Surgical Center      Tenolysis Flxr/Xtnsr Tendon Leg&/…    6/28/2019   27680     $1,417.17
   1013755-01    I.O.    Surgicore LLC d/b/a Surgicore Surgical Center     Repair Secondary Disrupted Ligame…     6/28/2019   27698     $3,311.97
   1013755-01    I.O.    Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Ankle Surgical Debrid…    6/28/2019   29898     $1,472.45
   1013755-01    I.O.    Surgicore LLC d/b/a Surgicore Surgical Center        Injection Anesthetic Agent Sciati…  6/28/2019   64445      $976.38
   1013755-01    I.O.    Surgicore LLC d/b/a Surgicore Surgical Center     Us Guidance Needle Placement Img …     6/28/2019   76942      $341.96
   1015592-01    J.M.       All City Family Healthcare Center, Inc.        Arthroscopy Shoulder Surg Synovec…      4/5/2019   29821     $1,472.45
   1015592-01    J.M.       All City Family Healthcare Center, Inc.         Arthroscopy Shoulder Surg Debride…     4/5/2019   29823     $3,026.24
   1015592-01    J.M.       All City Family Healthcare Center, Inc.        Arthroscopy Shoulder W/Coracoacrm…      4/5/2019   29826     $1,472.45
   1015592-01    J.M.       All City Family Healthcare Center, Inc.         Single Nerve Block Injection Arm …     4/5/2019   64415      $979.78
   1015592-01    J.M.       All City Family Healthcare Center, Inc.        Us Guidance Needle Placement Img …      4/5/2019   76942      $341.96
   1015592-01    J.M.                    SCOB LLC                            Injection Single/Mlt Trigger Poin…   6/12/2020   20553      $473.39
   1015592-01    J.M.                    SCOB LLC                            Dstr Nrolytc Agnt Parverteb Fct S…   6/12/2020   64635     $1,428.99
   1015592-01    J.M.                    SCOB LLC                            Dstr Nrolytc Agnt Parverteb Fct A…   6/12/2020   64636     $1,347.62
   1015592-01    J.M.                    SCOB LLC                            Dstr Nrolytc Agnt Parverteb Fct A…   6/12/2020   64636     $1,347.62
   1015592-01    J.M.                    SCOB LLC                           Immunoassay For Infectious Agent …    6/12/2020   86328      $199.00
   1015592-01    J.M.                Hudson Surgery Center                   Perq Intrdscl Electrothrm Annulop…   12/9/2022   22526     $5,296.65
   1015592-01    J.M.                Hudson Surgery Center                        Unlisted Procedure Spine…       12/9/2022   22899     $2,648.32
   1015592-01    J.M.              Hudson Regional Hospital                Collection Venous Blood Venipunct…      2/6/2023   36415       $50.00
   1015592-01    J.M.              Hudson Regional Hospital                   Comprehensive Metabolic Panel…       2/6/2023   80053      $150.00
   1015592-01    J.M.              Hudson Regional Hospital                Drug Tst Prsmv Instrmnt Chem Anal…      2/6/2023   80307      $359.15
   1015592-01    J.M.              Hudson Regional Hospital                 Urnls Dip Stick/Tablet Reagent Au…     2/6/2023   81001      $134.00
   1015592-01    J.M.              Hudson Regional Hospital                    Hemoglobin Glycosylated A1C…        2/6/2023   83036       $66.70
   1015592-01    J.M.              Hudson Regional Hospital               Blood Count Complete Auto&Auto Di… 2/6/2023         85025      $147.00
   1015592-01    J.M.              Hudson Regional Hospital                           Prothrombin Time…            2/6/2023   85610      $143.00
   1015592-01    J.M.              Hudson Regional Hospital                 Thromboplastin Time Partial Plasm…     2/6/2023   85730      $147.00
   1015592-01    J.M.              Hudson Regional Hospital                Antibody Screen Rbc Each Serum Te…      2/6/2023   86850      $105.80
   1015592-01    J.M.              Hudson Regional Hospital                     Blood Typing Serologic Abo…        2/6/2023   86900      $498.84
   1015592-01    J.M.              Hudson Regional Hospital                    Blood Typing Serologic Rh (D)…      2/6/2023   86901       $56.95
   1015592-01    J.M.              Hudson Regional Hospital                 Infectious Agent Detection By Nuc…     2/6/2023   87635     $1,200.00
   1015592-01    J.M.              Hudson Regional Hospital                  Iadna S Aureus Methicillin Resist…    2/6/2023   87641      $241.40
   1015592-01    J.M.              Hudson Regional Hospital                Ecg Routine Ecg W/Least 12 Lds Tr…      2/6/2023   93005      $323.70
   1015592-01    J.M.              Hudson Regional Hospital                   Hospital Outpatient Clinic Visit …   2/6/2023   C9803      $115.64
   1015723-01    J.E.       All City Family Healthcare Center, Inc.        Arthroscopy Knee Diagnostic W/Wo …      2/2/2018   29870     $1,472.45
   1015723-01    J.E.       All City Family Healthcare Center, Inc.        Arthroscopy Knee Synovectomy 2/>C…      2/2/2018   29876     $1,472.45
   1015723-01    J.E.       All City Family Healthcare Center, Inc.        Arthrs Knee Debridement/Shaving A…      2/2/2018   29877     $1,472.45
   1015723-01    J.E.       All City Family Healthcare Center, Inc.         Arthrs Knee Abrasion Arthrp/Mlt D…     2/2/2018   29879     $3,026.24
   1015723-01    J.E.          Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/7/2018   62323      $829.30
   1015723-01    J.E.          Island Ambulatory Surgery Center                      Epidurograpy Rs&I…            3/7/2018   72275      $572.52
   1015723-01    J.E.       All City Family Healthcare Center, Inc.        Arthroscopy Knee Diagnostic W/Wo … 3/30/2018       29870     $3,026.24
   1015723-01    J.E.       All City Family Healthcare Center, Inc.        Arthroscopy Knee Synovectomy Limi… 3/30/2018       29875     $1,472.45
   1015723-01    J.E.       All City Family Healthcare Center, Inc.        Arthroscopy Knee Synovectomy 2/>C… 3/30/2018       29876     $1,472.45
   1015723-01    J.E.       All City Family Healthcare Center, Inc.        Arthrs Knee Debridement/Shaving A…     3/30/2018   29877     $1,472.45
   1015723-01    J.E.       All City Family Healthcare Center, Inc.       Arthrs Knee W/Meniscectomy Med&La… 3/30/2018        29880     $1,472.45
   1015723-01    J.E.          Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/27/2018   62323      $829.30
TNC17000533-0302 O.L.           Healthplus Surgery Center LLC                Inject Si Joint Arthrgrphy&/Anes/…   2/14/2018   27096     $1,518.48
TNC17000533-0302 O.L.           Healthplus Surgery Center LLC              Njx Anes&/Strd W/Img Tfrml Edrl L… 2/14/2018       64483     $1,518.48
TNC17000533-0302 O.L.           Healthplus Surgery Center LLC              Njx Anes&/Strd W/Img Tfrml Edrl L… 2/14/2018       64484      $776.84
TNC17000533-0302 O.L.           Healthplus Surgery Center LLC              Njx Anes&/Strd W/Img Tfrml Edrl L… 2/14/2018       64484      $776.84
TNC17000533-0302 O.L.             Dynamic Surgery Center LLC               Arthroscopy Shoulder Surg Synovec…     2/25/2018   29820     $6,462.39
TNC17000533-0302 O.L.             Dynamic Surgery Center LLC                Arthroscopy Shoulder Surg Debride…    2/25/2018   29823     $6,462.39
TNC17000533-0302 O.L.             Dynamic Surgery Center LLC               Arthroscopy Shoulder W/Coracoacrm… 2/25/2018       29826     $6,462.39
TNC17000533-0302 O.L.    Surgicore LLC d/b/a Surgicore Surgical Center               Tissue Grafts Other…         10/5/2018   20926     $1,040.80
TNC17000533-0302 O.L.    Surgicore LLC d/b/a Surgicore Surgical Center     Rpr Primary Disrupted Ligament An…     10/5/2018   27695     $1,515.18
TNC17000533-0302 O.L.    Surgicore LLC d/b/a Surgicore Surgical Center      Open Treatment Tarsometatarsal Jo…    10/5/2018   28615     $4,869.06
TNC17000533-0302 O.L.    Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Ankle Surgical Debrid…    10/5/2018   29898     $1,472.45
TNC17000533-0302 O.L.    Surgicore LLC d/b/a Surgicore Surgical Center        Injection Anesthetic Agent Sciati…  10/5/2018   64445      $829.30
TNC17000533-0302 O.L.    Surgicore LLC d/b/a Surgicore Surgical Center     Us Guidance Needle Placement Img …     10/5/2018   76942      $341.96
   1013030-01    S.G.             Dynamic Surgery Center LLC                Manipulation Spine Requiring Anes…    3/22/2018   22505     $2,074.56
   1013030-01    S.G.             Dynamic Surgery Center LLC               Clsd Tx Pelvic Ring Fx W/Manipula…     3/22/2018   27198     $1,037.28
   1013030-01    S.G.             Dynamic Surgery Center LLC                Manipulation Hip Joint General An…    3/22/2018   27275     $2,074.56

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                                                           1994
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                          Provider                                    Service
 Number      Person                                                                                            Service     Code       Billed
1013030-01    S.G.          All City Family Healthcare Center, Inc.      Arthrocentesis Aspir&/Inj Major J…    4/25/2018   20610      $236.69
1013030-01    S.G.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Diagnostic W/Wo …     4/25/2018   29870     $3,026.24
1013030-01    S.G.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy Limi…     4/25/2018   29875     $1,472.45
1013030-01    S.G.          All City Family Healthcare Center, Inc.     Arthroscopy Knee Synovectomy 2/>C…     4/25/2018   29876     $1,472.45
1013030-01    S.G.          All City Family Healthcare Center, Inc.    Arthrs Knee W/Meniscectomy Med&La…      4/25/2018   29880     $1,472.45
1013030-01    S.G.          All City Family Healthcare Center, Inc.       Arthroscopy, Knee, Surgical, For …   4/25/2018   G0289     $1,472.45
1013028-01    J.A.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/10/2018   64493      $449.21
1013028-01    J.A.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/10/2018   64493      $979.78
1013028-01    J.A.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/10/2018   64494      $449.21
1013028-01    J.A.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/10/2018   64494      $449.21
1013028-01    J.A.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/10/2018   64495      $449.21
1013028-01    J.A.               Surgicore of Jersey City LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    2/10/2018   64495      $449.21
1013028-01    J.A.               Surgicore of Jersey City LLC            Fluor Needle/Cath Spine/Paraspina…    2/10/2018   77003      $572.53
1013028-01    J.A.                 Avicenna Surgery Center             Arthrs Kne Surg W/Meniscectomy Me…      2/12/2018   29881     $3,026.23
1013483-01    J.F.                 Surgery Center of Oradell            Arthroscopy Knee Synovectomy 2/>C…     2/22/2019   29876     $3,026.24
1013483-01    J.F.                 Surgery Center of Oradell            Arthrs Knee Debridement/Shaving A…     2/22/2019   29877     $3,026.24
1013483-01    J.F.                 Surgery Center of Oradell           Arthrs Kne Surg W/Meniscectomy Me…      2/22/2019   29881     $3,026.24
1013483-01    J.F.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…    4/11/2019   22526     $2,605.78
1013483-01    J.F.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …     4/11/2019   62287     $5,292.93
1013483-01    J.F.          All City Family Healthcare Center, Inc.      Perq Intrdscl Electrothrm Annulop…     5/6/2019   22526     $2,605.78
1013483-01    J.F.          All City Family Healthcare Center, Inc.     Dcmprn Perq Nucleus Pulposus 1/> …      5/6/2019   62287     $5,292.93
1017019-01    B.P.         New York Center For Specialty Surgery         Office Outpatient New 45 Minutes…     4/16/2018   99204      $148.70
1017019-01    B.P.                       SCOB LLC                         Injection Single/Mlt Trigger Poin…   4/16/2018   20552      $236.69
1017019-01    B.P.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/16/2018   62323      $829.30
1017019-01    B.P.                       SCOB LLC                                Epidurograpy Rs&I…            4/16/2018   72275      $572.53
1017019-01    B.P.                       SCOB LLC                       Us Guidance Needle Placement Img …     4/16/2018   76942      $341.96
1017019-01    B.P.               Surgicore of Jersey City LLC            Arthrocentesis Aspir&/Inj Major J…    4/19/2018   20610      $236.69
1017019-01    B.P.               Surgicore of Jersey City LLC           Arthroscopy Knee Synovectomy 2/>C…     4/19/2018   29876     $1,472.45
1017019-01    B.P.               Surgicore of Jersey City LLC          Arthrs Knee W/Meniscectomy Med&La…      4/19/2018   29880     $3,026.24
1017019-01    B.P.               Surgicore of Jersey City LLC              Surgical Supply; Miscellaneous…     4/19/2018   A4649      $220.00
1017019-01    B.P.               Surgicore of Jersey City LLC             Arthroscopy, Knee, Surgical, For …   4/19/2018   G0289     $1,472.45
1017019-01    B.P.         New York Center For Specialty Surgery          Office Outpatient Visit 40 Minute…   5/21/2018   99215       $92.98
1017019-01    B.P.                       SCOB LLC                         Injection Single/Mlt Trigger Poin…   5/21/2018   20552      $236.69
1017019-01    B.P.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/21/2018   62323      $829.30
1017019-01    B.P.                       SCOB LLC                                Epidurograpy Rs&I…            5/21/2018   72275      $572.53
1017019-01    B.P.                       SCOB LLC                       Us Guidance Needle Placement Img …     5/21/2018   76942      $341.96
1017019-01    B.P.         New York Center For Specialty Surgery          Office Outpatient Visit 40 Minute…   6/26/2018   99215       $92.98
1017019-01    B.P.                       SCOB LLC                         Injection Single/Mlt Trigger Poin…   6/26/2018   20552      $236.69
1017019-01    B.P.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    6/26/2018   62323      $829.30
1017019-01    B.P.                       SCOB LLC                                Epidurograpy Rs&I…            6/26/2018   72275      $572.53
1017019-01    B.P.                       SCOB LLC                       Us Guidance Needle Placement Img …     6/26/2018   76942      $341.96
1017019-01    B.P.         New York Center For Specialty Surgery          Office Outpatient Visit 40 Minute…   7/17/2018   99215       $92.98
1017019-01    B.P.                       SCOB LLC                         Injection Single/Mlt Trigger Poin…   7/17/2018   20552      $236.69
1017019-01    B.P.                       SCOB LLC                        Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    7/17/2018   62323      $829.30
1017019-01    B.P.                       SCOB LLC                                Epidurograpy Rs&I…            7/17/2018   72275      $572.53
1017019-01    B.P.                       SCOB LLC                       Us Guidance Needle Placement Img …     7/17/2018   76942      $341.96
1017019-01    B.P.         New York Center For Specialty Surgery          Office Outpatient Visit 40 Minute…   9/21/2018   99215       $92.98
1012981-01    N.A.              Manalapan Surgery Center Inc             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/8/2018   64493      $449.21
1012981-01    N.A.              Manalapan Surgery Center Inc             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/8/2018   64493      $979.78
1012981-01    N.A.              Manalapan Surgery Center Inc             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/8/2018   64494      $449.21
1012981-01    N.A.              Manalapan Surgery Center Inc             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/8/2018   64494      $449.21
1012981-01    N.A.              Manalapan Surgery Center Inc             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/8/2018   64495      $449.21
1012981-01    N.A.              Manalapan Surgery Center Inc             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     4/8/2018   64495      $449.21
1012981-01    N.A.              Manalapan Surgery Center Inc             Fluor Needle/Cath Spine/Paraspina…     4/8/2018   77003      $572.53
1012981-01    N.A.              Healthplus Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/19/2018   64493     $1,518.48
1012981-01    N.A.              Healthplus Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/19/2018   64494      $533.93
1012981-01    N.A.              Healthplus Surgery Center LLC            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    5/19/2018   64495      $533.93
1013116-01    C.C.               Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    3/11/2019   62323      $976.38
1013116-01    C.C.               Surgicore of Jersey City LLC                    Epidurograpy Rs&I…            3/11/2019   72275      $572.53
1013116-01    C.C.                       AMSC LLC                        Perq Intrdscl Electrothrm Annulop…    6/27/2019   22526     $2,646.47
1013116-01    C.C.                       AMSC LLC                       Dcmprn Perq Nucleus Pulposus 1/> …     6/27/2019   62287     $5,292.93
1013116-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/14/2020   64493      $447.52
1013116-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/14/2020   64493      $976.38
1013116-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/14/2020   64494      $447.52
1013116-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/14/2020   64494      $447.52
1013116-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/14/2020   64495      $447.52
1013116-01    C.C.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    1/14/2020   64495      $447.52
1013181-01    F.C.               Surgicore of Jersey City LLC            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/14/2018   62323      $829.30

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                                                         1995
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                       Provider                                       Service
 Number      Person                                                                                            Service     Code       Billed
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/14/2018   62323     $12,000.00
1013181-01    F.C.            Surgicore of Jersey City LLC                        Epidurograpy Rs&I…           4/14/2018   72275       $572.53
1013181-01    F.C.            Surgicore of Jersey City LLC                        Epidurograpy Rs&I…           4/14/2018   72275      $2,473.50
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/21/2018   62323       $829.30
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/21/2018   62323     $12,000.00
1013181-01    F.C.            Surgicore of Jersey City LLC                        Epidurograpy Rs&I…           4/21/2018   72275      $2,473.50
1013181-01    F.C.            Surgicore of Jersey City LLC                        Epidurograpy Rs&I…           4/21/2018   72275       $572.53
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/5/2018   62323       $829.30
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    5/5/2018   62323     $12,000.00
1013181-01    F.C.            Surgicore of Jersey City LLC                        Epidurograpy Rs&I…            5/5/2018   72275       $572.53
1013181-01    F.C.            Surgicore of Jersey City LLC                        Epidurograpy Rs&I…            5/5/2018   72275      $2,473.50
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/18/2018   64493       $449.21
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/18/2018   64493       $979.78
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/18/2018   64493     $13,875.00
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/18/2018   64493     $13,875.00
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/18/2018   64494      $8,550.00
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/18/2018   64494       $449.21
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/18/2018   64494       $449.21
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/18/2018   64494      $8,550.00
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/18/2018   64495      $7,500.00
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/18/2018   64495      $7,500.00
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/18/2018   64495       $449.21
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/18/2018   64495       $449.21
1013181-01    F.C.            Surgicore of Jersey City LLC                Fluor Needle/Cath Spine/Paraspina…   8/18/2018   77003       $572.53
1013181-01    F.C.            Surgicore of Jersey City LLC                Fluor Needle/Cath Spine/Paraspina…   8/18/2018   77003      $3,994.50
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2018   64493       $449.21
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2018   64493       $979.78
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2018   64493     $13,875.00
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2018   64493     $13,875.00
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2018   64494       $449.21
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2018   64494       $449.21
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2018   64494      $8,550.00
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2018   64494      $8,550.00
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2018   64495       $449.21
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2018   64495      $7,500.00
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2018   64495       $449.21
1013181-01    F.C.            Surgicore of Jersey City LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/10/2018   64495      $7,500.00
1013181-01    F.C.            Surgicore of Jersey City LLC                Fluor Needle/Cath Spine/Paraspina…  11/10/2018   77003       $572.53
1013181-01    F.C.            Surgicore of Jersey City LLC                Fluor Needle/Cath Spine/Paraspina…  11/10/2018   77003      $3,994.50
1013181-01    F.C.                   EMUSC LLC                            Njx Pltlt Plasma W/Img Harvest/Pr…   8/19/2019   0232T       $478.46
1013181-01    F.C.                   EMUSC LLC                           Anes Open/Surg Arthroscopic Proc …    8/19/2019    1400       $108.04
1013181-01    F.C.                   EMUSC LLC                           Arthroscopy Knee Synovectomy Limi… 8/19/2019      29875      $1,512.93
1013181-01    F.C.                   EMUSC LLC                           Arthrs Knee Abrasion Arthrp/Mlt D…    8/19/2019   29879      $1,512.93
1013181-01    F.C.                   EMUSC LLC                          Arthrs Knee W/Meniscectomy Med&La… 8/19/2019       29880      $3,025.86
1013181-01    F.C.                   EMUSC LLC                              Platelet Rich Plasma, Each Unit…   8/19/2019   P9020      $1,306.50
1013311-02    R.B.        New York Center For Specialty Surgery           Office Outpatient New 45 Minutes…    4/30/2018   99204       $148.70
1013311-02    R.B.                    SCOB LLC                             Injection Single/Mlt Trigger Poin…  4/30/2018   20552       $236.69
1013311-02    R.B.                    SCOB LLC                            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   4/30/2018   62321       $829.30
1013311-02    R.B.                    SCOB LLC                                    Epidurograpy Rs&I…           4/30/2018   72275       $572.53
1013311-02    R.B.                    SCOB LLC                           Us Guidance Needle Placement Img …    4/30/2018   76942       $341.96
1013311-02    R.B.            Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Synovec…    5/31/2018   29821      $1,472.45
1013311-02    R.B.            Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Debride…   5/31/2018   29823      $3,026.24
1013311-02    R.B.            Surgicore of Jersey City LLC                Single Nerve Block Injection Arm …   5/31/2018   64415       $829.30
1013311-02    R.B.            Surgicore of Jersey City LLC               Us Guidance Needle Placement Img …    5/31/2018   76942       $341.96
1012006-06    M.V.                    SCOB LLC                           Manipulation Spine Requiring Anes…    1/29/2018   22505      $1,577.52
1012006-06    M.V.                    SCOB LLC                           Manj W/Anes Shoulder Joint W/Fixa…    1/29/2018   23700       $748.08
1012006-06    M.V.                    SCOB LLC                           Manj W/Anes Shoulder Joint W/Fixa…    1/29/2018   23700       $748.08
1012006-06    M.V.                    SCOB LLC                           Clsd Tx Pelvic Ring Fx W/Manipula…    1/29/2018   27198       $418.79
1012006-06    M.V.                    SCOB LLC                            Manipulation Hip Joint General An…   1/29/2018   27275       $748.08
1012006-06    M.V.                    SCOB LLC                           Manipulation Spine Requiring Anes…    1/30/2018   22505      $1,577.52
1012006-06    M.V.                    SCOB LLC                           Manj W/Anes Shoulder Joint W/Fixa…    1/30/2018   23700       $748.08
1012006-06    M.V.                    SCOB LLC                           Manj W/Anes Shoulder Joint W/Fixa…    1/30/2018   23700       $748.08
1012006-06    M.V.                    SCOB LLC                           Clsd Tx Pelvic Ring Fx W/Manipula…    1/30/2018   27198       $418.79
1012006-06    M.V.                    SCOB LLC                            Manipulation Hip Joint General An…   1/30/2018   27275       $748.08
1012006-06    M.V.                    SCOB LLC                           Manipulation Spine Requiring Anes…    2/11/2018   22505      $1,577.52
1012006-06    M.V.                    SCOB LLC                           Manj W/Anes Shoulder Joint W/Fixa…    2/11/2018   23700       $748.08
1012006-06    M.V.                    SCOB LLC                           Manj W/Anes Shoulder Joint W/Fixa…    2/11/2018   23700       $748.08
1012006-06    M.V.                    SCOB LLC                           Clsd Tx Pelvic Ring Fx W/Manipula…    2/11/2018   27198       $418.79

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                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                               Service     Code       Billed
1012006-06    M.V.                     SCOB LLC                             Manipulation Hip Joint General An…    2/11/2018   27275      $748.08
1012006-06    M.V.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…    7/22/2018   80305      $179.46
1012006-06    M.V.             Dynamic Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    7/22/2018   62321     $1,012.32
1012006-06    M.V.              Hudson Regional Hospital                    Drug Test Prsmv Read Direct Optic…     8/5/2018   80305      $179.46
1012006-06    M.V.             Dynamic Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     8/5/2018   62323     $1,012.32
1012006-06    M.V.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/19/2018   64490     $1,012.32
1012006-06    M.V.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/19/2018   64491      $355.95
1012006-06    M.V.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/19/2018   64492      $355.95
1012006-06    M.V.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder Surg Synovec…     3/22/2019   29821     $1,472.45
1012006-06    M.V.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    3/22/2019   29823     $3,026.24
1012006-06    M.V.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…     3/22/2019   29826     $1,472.45
1012006-06    M.V.        All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    3/22/2019   64415      $979.78
1012006-06    M.V.        All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     3/22/2019   76942      $341.96
1011579-03    G.G.        All City Family Healthcare Center, Inc.           Arthrocentesis Aspir&/Inj Major J…    1/24/2018   20610      $236.69
1011579-03    G.G.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Diagnostic W/Wo …     1/24/2018   29870     $1,472.45
1011579-03    G.G.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…     1/24/2018   29875     $1,472.45
1011579-03    G.G.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C…     1/24/2018   29876     $1,472.45
1011579-03    G.G.        All City Family Healthcare Center, Inc.          Arthrs Knee Debridement/Shaving A…     1/24/2018   29877     $1,472.45
1011579-03    G.G.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La…      1/24/2018   29880     $3,026.24
1011579-03    G.G.             Dynamic Surgery Center LLC                   Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     3/4/2018   62323     $1,012.32
1011579-03    G.G.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…     5/6/2018   64490     $1,518.48
1011579-03    G.G.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…     5/6/2018   64491      $533.93
1011579-03    G.G.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Crv…     5/6/2018   64492      $533.93
1011579-03    G.G.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/1/2018   64493     $1,518.48
1011579-03    G.G.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/1/2018   64494      $533.93
1011579-03    G.G.             Dynamic Surgery Center LLC                   Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/1/2018   64495      $533.93
1012628-01    J.H.            Healthplus Surgery Center LLC                  Injection Single/Mlt Trigger Poin…    2/7/2018   20553      $107.64
1012628-01    J.H.            Healthplus Surgery Center LLC                  Inject Si Joint Arthrgrphy&/Anes/…    2/7/2018   27096     $1,518.48
1012628-01    J.H.            Healthplus Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L…      2/7/2018   64483     $1,518.48
1012628-01    J.H.            Healthplus Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L…      2/7/2018   64484      $776.84
1012628-01    J.H.            Healthplus Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L…      2/7/2018   64484      $776.84
1012628-01    J.H.            Healthplus Surgery Center LLC                  Injection Single/Mlt Trigger Poin…   2/14/2018   20553      $107.64
1012628-01    J.H.            Healthplus Surgery Center LLC                  Inject Si Joint Arthrgrphy&/Anes/…   2/14/2018   27096     $1,518.48
1012628-01    J.H.            Healthplus Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L…     2/14/2018   64483     $1,518.48
1012628-01    J.H.            Healthplus Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L…     2/14/2018   64484      $776.84
1012628-01    J.H.            Healthplus Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L…     2/14/2018   64484      $776.84
1012628-01    J.H.            Healthplus Surgery Center LLC                  Injection Single/Mlt Trigger Poin…   2/21/2018   20553      $107.64
1012628-01    J.H.            Healthplus Surgery Center LLC                  Inject Si Joint Arthrgrphy&/Anes/…   2/21/2018   27096     $1,518.48
1012628-01    J.H.            Healthplus Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L…     2/21/2018   64483     $1,518.48
1012628-01    J.H.            Healthplus Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L…     2/21/2018   64484      $776.84
1012628-01    J.H.            Healthplus Surgery Center LLC                Njx Anes&/Strd W/Img Tfrml Edrl L…     2/21/2018   64484      $776.84
1012628-01    J.H.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec…      6/6/2018   29821     $1,472.45
1012628-01    J.H.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…     6/6/2018   29823     $3,026.24
1012628-01    J.H.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …     6/6/2018   29825     $1,472.45
1012628-01    J.H.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…      6/6/2018   29999     $1,472.45
1012628-01    J.H.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…      6/6/2018   29999     $1,472.45
1012628-01    J.H.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …     6/6/2018   64415      $829.30
1012628-01    J.H.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …      6/6/2018   76942      $341.96
1011922-01    M.V.             Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Synovec…     3/15/2018   29821     $1,472.45
1011922-01    M.V.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…    3/15/2018   29823     $3,026.24
1011922-01    M.V.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…     3/15/2018   29999     $1,472.45
1011922-01    M.V.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …    3/15/2018   64415      $829.30
1011922-01    M.V.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …     3/15/2018   76942      $341.96
1011922-01    M.V.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     3/15/2018   A4649      $220.00
1011922-01    M.V.        New York Center For Specialty Surgery             Office Outpatient New 45 Minutes…     4/16/2018   99204      $148.70
1011922-01    M.V.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…   4/16/2018   20552      $236.69
1011922-01    M.V.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    4/16/2018   62321      $829.30
1011922-01    M.V.                     SCOB LLC                                      Epidurograpy Rs&I…           4/16/2018   72275      $572.53
1011922-01    M.V.                     SCOB LLC                            Us Guidance Needle Placement Img …     4/16/2018   76942      $341.96
1012629-02    S.B.        All City Family Healthcare Center, Inc.           Arthrocentesis Aspir&/Inj Major J…    7/13/2018   20610      $236.69
1012629-02    S.B.        All City Family Healthcare Center, Inc.          Manipulation Knee Joint Under Gen…     7/13/2018   27570      $748.08
1012629-02    S.B.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…     7/13/2018   29875     $1,472.45
1012629-02    S.B.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La…      7/13/2018   29880     $3,026.24
1012629-02    S.B.               Mountain Surgery Center                    Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     9/8/2018   62321     $5,047.00
1012629-02    S.B.               Mountain Surgery Center                    Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    11/3/2018   62323     $4,635.00
1012629-02    S.B.               Mountain Surgery Center                             Epidurograpy Rs&I…           11/3/2018   72275     $4,800.00
1012350-01    F.G.        New York Center For Specialty Surgery             Anesthesia Cervical Spine & Cord …    3/26/2018    600       $324.12
1012350-01    F.G.        New York Center For Specialty Surgery             Office Outpatient New 45 Minutes…     3/26/2018   99204      $148.70

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                                                           1997
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
     Claim     Covered                                                                                           Date of     Billing   Amount
                                         Provider                                       Service
    Number     Person                                                                                            Service     Code       Billed
   1012350-01    F.G.                    SCOB LLC                            Injection Single/Mlt Trigger Poin…  3/26/2018   20552      $554.74
   1012350-01    F.G.                    SCOB LLC                            Inject Si Joint Arthrgrphy&/Anes/…  3/26/2018   27096      $236.69
   1012350-01    F.G.                    SCOB LLC                            Inject Si Joint Arthrgrphy&/Anes/…  3/26/2018   27096      $236.69
   1012350-01    F.G.                    SCOB LLC                          Us Guidance Needle Placement Img …    3/26/2018   76942      $341.96
   1012350-01    F.G.           Surgicore of Jersey City LLC               Arthroscopy Shoulder Surg Synovec…    5/24/2018   29821     $1,472.45
   1012350-01    F.G.           Surgicore of Jersey City LLC                Arthroscopy Shoulder Surg Debride…   5/24/2018   29823     $3,026.24
   1012350-01    F.G.           Surgicore of Jersey City LLC                Single Nerve Block Injection Arm …   5/24/2018   64415      $829.30
   1012350-01    F.G.           Surgicore of Jersey City LLC               Us Guidance Needle Placement Img …    5/24/2018   76942      $341.96
   1012350-01    F.G.       New York Center For Specialty Surgery            Office Outpatient Visit 40 Minute…  8/14/2018   99215       $92.98
TNC17000463-0301 R.N.           Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…    3/5/2018   22505     $1,577.52
TNC17000463-0301 R.N.           Surgicore of Jersey City LLC               Clsd Tx Pelvic Ring Fx W/Manipula…     3/5/2018   27198      $418.79
TNC17000463-0301 R.N.           Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…   3/19/2018   22505     $1,557.52
TNC17000463-0301 R.N.           Surgicore of Jersey City LLC               Clsd Tx Pelvic Ring Fx W/Manipula…    3/19/2018   27198      $418.77
TNC17000463-0301 R.N.           Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…   3/23/2018   22505     $1,577.52
TNC17000463-0301 R.N.           Surgicore of Jersey City LLC               Clsd Tx Pelvic Ring Fx W/Manipula…    3/23/2018   27198      $418.79
TNC17000463-0301 R.N.             Hudson Regional Hospital                  Drug Test Prsmv Read Direct Optic…   8/10/2018   80305      $179.46
TNC17000463-0301 R.N.           Dynamic Surgery Center LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   8/10/2018   62321     $1,012.32
TNC17000463-0301 R.N.             Hudson Regional Hospital                  Drug Test Prsmv Read Direct Optic…   8/24/2018   80305      $179.46
TNC17000463-0301 R.N.           Dynamic Surgery Center LLC                   Injection Single/Mlt Trigger Poin…  8/24/2018   20553      $107.64
TNC17000463-0301 R.N.           Dynamic Surgery Center LLC                  Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   8/24/2018   62323     $1,012.32
TNC17000463-0301 R.N.           Dynamic Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/7/2018   64490     $1,518.48
TNC17000463-0301 R.N.           Dynamic Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/7/2018   64491      $533.93
TNC17000463-0301 R.N.           Dynamic Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…    9/7/2018   64492      $533.93
TNC17000463-0301 R.N.           Dynamic Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/21/2018   64490     $1,518.48
TNC17000463-0301 R.N.           Dynamic Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/21/2018   64491      $533.93
TNC17000463-0301 R.N.           Dynamic Surgery Center LLC                  Njx Dx/Ther Agt Pvrt Facet Jt Crv…   9/21/2018   64492      $533.93
   1011453-03    D.G.           Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…    2/6/2018   22505      $748.08
   1011453-03    D.G.           Surgicore of Jersey City LLC               Manj W/Anes Shoulder Joint W/Fixa…     2/6/2018   23700     $1,577.52
   1011453-03    D.G.           Surgicore of Jersey City LLC               Clsd Tx Pelvic Ring Fx W/Manipula…     2/6/2018   27198      $418.77
   1011453-03    D.G.           Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…    2/9/2018   22505      $748.08
   1011453-03    D.G.           Surgicore of Jersey City LLC               Manj W/Anes Shoulder Joint W/Fixa…     2/9/2018   23700     $1,577.52
   1011453-03    D.G.           Surgicore of Jersey City LLC               Clsd Tx Pelvic Ring Fx W/Manipula…     2/9/2018   27198      $418.77
   1011453-03    D.G.           Surgicore of Jersey City LLC                Manipulation Spine Requiring Anes…   2/16/2018   22505      $748.08
   1011453-03    D.G.           Surgicore of Jersey City LLC               Manj W/Anes Shoulder Joint W/Fixa…    2/16/2018   23700     $1,577.52
   1011453-03    D.G.           Surgicore of Jersey City LLC               Clsd Tx Pelvic Ring Fx W/Manipula…    2/16/2018   27198      $418.77
   1011453-03    D.G.           Dynamic Surgery Center LLC                   Injection Single/Mlt Trigger Poin…  7/30/2018   20553      $107.64
   1011453-03    D.G.           Dynamic Surgery Center LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/30/2018   62321     $1,012.32
   1011453-03    D.G.          Healthplus Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/20/2018   64493     $1,518.48
   1011453-03    D.G.          Healthplus Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/20/2018   64494      $533.93
   1011453-03    D.G.          Healthplus Surgery Center LLC                Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   8/20/2018   64495      $533.93
   1010932-02    E.T.          Healthplus Surgery Center LLC                Manipulation Spine Requiring Anes…    1/4/2018   22505     $2,074.56
   1010932-02    E.T.          Healthplus Surgery Center LLC               Clsd Tx Pelvic Ring Fx W/Manipula…     1/4/2018   27198     $1,037.28
   1010932-02    E.T.          Healthplus Surgery Center LLC                Manipulation Hip Joint General An…    1/4/2018   27275     $2,074.56
   1010932-02    E.T.          Healthplus Surgery Center LLC                Manipulation Spine Requiring Anes…   1/10/2018   22505     $2,074.56
   1010932-02    E.T.          Healthplus Surgery Center LLC               Clsd Tx Pelvic Ring Fx W/Manipula…    1/10/2018   27198     $1,037.28
   1010932-02    E.T.          Healthplus Surgery Center LLC                Tx Spon Hip Dislc Abdct Splnt/Trc…   1/10/2018   27257     $2,074.56
   1010932-02    E.T.          Healthplus Surgery Center LLC                Manipulation Spine Requiring Anes…   1/20/2018   22505     $2,074.56
   1010932-02    E.T.          Healthplus Surgery Center LLC               Clsd Tx Pelvic Ring Fx W/Manipula…    1/20/2018   27198     $1,037.28
   1010932-02    E.T.          Healthplus Surgery Center LLC                Manipulation Hip Joint General An…   1/20/2018   27275     $2,074.56
   1010932-02    E.T.         Fifth Avenue Surgery Center LLC              Arthroscopy Knee Synovectomy 2/>C… 11/28/2018     29876     $1,472.45
   1010932-02    E.T.         Fifth Avenue Surgery Center LLC             Arthrs Kne Surg W/Meniscectomy Me… 11/28/2018      29881     $3,026.24
   1010932-02    E.T.         Fifth Avenue Surgery Center LLC                 Unlisted Procedure Arthroscopy…   11/28/2018   29999     $1,472.45
   1010932-02    E.T.         Fifth Avenue Surgery Center LLC               Injection Anesthetic Agent Femora…  11/28/2018   64447      $829.30
   1010932-02    E.T.         Fifth Avenue Surgery Center LLC              Us Guidance Needle Placement Img … 11/28/2018     76942      $341.96
   1011572-03    T.S.           Manalapan Surgery Center Inc                Manipulation Spine Requiring Anes…   1/19/2018   22505      $954.77
   1011572-03    T.S.           Manalapan Surgery Center Inc               Clsd Tx Pelvic Ring Fx W/Manipula…    1/19/2018   27198     $1,909.53
   1011572-03    T.S.           Manalapan Surgery Center Inc                Manipulation Spine Requiring Anes…   1/25/2018   22505     $1,577.52
   1011572-03    T.S.           Manalapan Surgery Center Inc               Clsd Tx Pelvic Ring Fx W/Manipula…    1/25/2018   27198      $418.77
   1011572-03    T.S.           Dynamic Surgery Center LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    2/3/2018   62321     $1,012.32
   1011572-03    T.S.           Dynamic Surgery Center LLC                  Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/17/2018   62321     $1,012.32
   1034850-02    T.S.              Avicenna Surgery Center                Arthrs Knee W/Meniscectomy Med&La… 1/29/2018       29880     $3,026.23
   1034850-02    T.S.           Surgicore of Jersey City LLC                 Injection Single/Mlt Trigger Poin… 10/20/2018   20553      $236.69
   1034850-02    T.S.           Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  10/20/2018   62321      $829.30
   1034850-02    T.S.           Surgicore of Jersey City LLC                         Epidurograpy Rs&I…         10/20/2018   72275      $572.53
   1034850-02    T.S.           Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  11/17/2018   62321      $829.30
   1034850-02    T.S.           Surgicore of Jersey City LLC                         Epidurograpy Rs&I…         11/17/2018   72275      $572.53
   1034850-02    T.S.           Surgicore of Jersey City LLC                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   12/8/2018   62321      $829.30
   1034850-02    T.S.           Surgicore of Jersey City LLC                         Epidurograpy Rs&I…          12/8/2018   72275      $572.53

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                                                            1998
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
     Claim     Covered                                                                                             Date of     Billing   Amount
                                          Provider                                        Service
    Number     Person                                                                                              Service     Code       Billed
   1034850-02    T.S.            Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    1/5/2019   62323      $829.30
   1034850-02    T.S.            Surgicore of Jersey City LLC                         Epidurograpy Rs&I…            1/5/2019   72275      $572.53
TNC17000410-0301 C.P.              Avicenna Surgery Center                    Arthroscopy Shoulder Surg Synovec…   3/12/2018   29820     $3,026.23
TNC17000410-0301 C.P.              Avicenna Surgery Center                   Arthroscopy Shoulder W/Coracoacrm…    3/12/2018   29826     $3,026.23
TNC17000410-0301 C.P.              Avicenna Surgery Center                    Arthroscopy Shoulder Rotator Cuff…   3/12/2018   29827     $5,677.78
TNC17000410-0301 C.P.              Avicenna Surgery Center                   Anchor/Screw For Opposing Bone-To…    3/12/2018   C1713     $1,000.00
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/1/2018   64493      $979.78
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/1/2018   64493      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/1/2018   64494      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/1/2018   64494      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/1/2018   64495      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…    9/1/2018   64495      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Fluor Needle/Cath Spine/Paraspina…    9/1/2018   77003      $286.26
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/15/2018   64493      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/15/2018   64493      $979.78
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/15/2018   64494      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/15/2018   64494      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/15/2018   64495      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/15/2018   64495      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Fluor Needle/Cath Spine/Paraspina…   9/15/2018   77003      $286.26
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/29/2018   64493      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/29/2018   64493      $979.78
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/29/2018   64494      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/29/2018   64494      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/29/2018   64495      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   9/29/2018   64495      $449.21
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Fluor Needle/Cath Spine/Paraspina…   9/29/2018   77003      $572.53
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/16/2019   62321      $829.30
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                         Epidurograpy Rs&I…           2/16/2019   72275      $572.53
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    3/2/2019   62321      $976.38
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                         Epidurograpy Rs&I…            3/2/2019   72275      $572.53
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/16/2019   62321      $976.38
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                         Epidurograpy Rs&I…           3/16/2019   72275      $572.53
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Perq Intrdscl Electrothrm Annulop…    4/6/2019   22526     $2,605.78
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                 Perq Intrdscl Electrothrm Annulop…    4/6/2019   22527     $2,605.78
TNC17000410-0301 C.P.            Surgicore of Jersey City LLC                Dcmprn Perq Nucleus Pulposus 1/> …     4/6/2019   62287     $5,292.93
   1009720-01    J.C.       Health East Ambulatory Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/12/2018   64493     $1,518.48
   1009720-01    J.C.       Health East Ambulatory Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/12/2018   64494      $533.92
   1009720-01    J.C.       Health East Ambulatory Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   3/12/2018   64495      $533.92
   1009720-01    J.C.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…    6/8/2018   29820     $1,472.45
   1009720-01    J.C.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…    6/8/2018   29823     $1,472.45
   1009720-01    J.C.       All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…     6/8/2018   29826     $1,472.45
   1009720-01    J.C.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Rotator Cuff…    6/8/2018   29827     $5,677.77
   1009720-01    J.C.       All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …    6/8/2018   64415      $829.30
   1009720-01    J.C.       All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …     6/8/2018   76942      $341.96
   1009855-01    D.V.         Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/17/2018   62321      $829.30
   1009855-01    D.V.       All City Family Healthcare Center, Inc.          Arthroscopy Knee Diagnostic W/Wo …    1/26/2018   29870     $1,472.45
   1009855-01    D.V.       All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi…    1/26/2018   29875     $1,472.45
   1009855-01    D.V.       All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C…    1/26/2018   29876     $1,472.45
   1009855-01    D.V.       All City Family Healthcare Center, Inc.          Arthrs Knee Debridement/Shaving A…    1/26/2018   29877     $1,472.45
   1009855-01    D.V.       All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La…     1/26/2018   29880     $3,026.24
   1009855-01    D.V.         Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/6/2018   62323      $829.30
   1009855-01    D.V.         Island Ambulatory Surgery Center                        Epidurograpy Rs&I…            2/6/2018   72275      $572.52
   1009855-02    D.S.         Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   1/17/2018   62321      $829.30
   1009855-02    D.S.         Island Ambulatory Surgery Center                        Epidurograpy Rs&I…           1/17/2018   72275      $572.52
   1009855-02    D.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…   1/26/2018   29820     $1,472.45
   1009855-02    D.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   1/26/2018   29822     $1,472.45
   1009855-02    D.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…   1/26/2018   29823     $1,472.45
   1009855-02    D.S.       All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…    1/26/2018   29826     $1,472.45
   1009855-02    D.S.       All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Rotator Cuff…   1/26/2018   29827     $5,677.77
   1009855-02    D.S.       All City Family Healthcare Center, Inc.           Single Nerve Block Injection Arm …   1/26/2018   64415      $829.30
   1009855-02    D.S.       All City Family Healthcare Center, Inc.          Us Guidance Needle Placement Img …    1/26/2018   76942      $341.96
   1009855-02    D.S.         Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/6/2018   62323      $829.30
   1009855-02    D.S.       All City Family Healthcare Center, Inc.          Arthroscopy Knee Diagnostic W/Wo …    2/24/2018   29870     $3,026.24
   1009855-02    D.S.       All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy 2/>C…    2/24/2018   29876     $1,472.45
   1009855-02    D.S.       All City Family Healthcare Center, Inc.           Arthrs Knee Abrasion Arthrp/Mlt D…   2/24/2018   29879     $1,472.45
   1009855-02    D.S.       All City Family Healthcare Center, Inc.         Arthrs Kne Surg W/Meniscectomy Me…     2/24/2018   29881     $1,472.45
   1009855-02    D.S.       All City Family Healthcare Center, Inc.           Arthrs Knee Drilling Osteochond D…   2/24/2018   29886     $1,472.45

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                                                          1999
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                Service     Code       Billed
1009469-01    R.D.         New York Surgery Center of Queens               Arthroscopy Knee Synovectomy 2/>C…      1/11/2018   29876     $3,025.86
1009469-01    R.D.         New York Surgery Center of Queens               Arthrs Kne Surg W/Meniscectomy Me…      1/11/2018   29881     $3,025.86
1009469-01    R.D.             Surgicore of Jersey City LLC                  Injection Single/Mlt Trigger Poin…    1/20/2018   20553      $236.69
1009469-01    R.D.             Surgicore of Jersey City LLC                  Inject Si Joint Arthrgrphy&/Anes/…    1/20/2018   27096      $236.69
1009469-01    R.D.             Surgicore of Jersey City LLC                  Inject Si Joint Arthrgrphy&/Anes/…    1/20/2018   27096      $236.69
1009469-01    R.D.             Surgicore of Jersey City LLC                 Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     1/20/2018   62323      $829.30
1009469-01    R.D.             Surgicore of Jersey City LLC                          Epidurograpy Rs&I…            1/20/2018   72275      $572.53
1009469-01    R.D.         New York Surgery Center of Queens               Arthroscopy Knee Synovectomy 2/>C…       3/8/2018   29876     $3,025.86
1009469-01    R.D.         New York Surgery Center of Queens               Arthrs Kne Surg W/Meniscectomy Me…       3/8/2018   29881     $3,025.86
1009469-01    R.D.            Manalapan Surgery Center Inc                   Perq Intrdscl Electrothrm Annulop…    3/29/2018   22526     $2,320.90
1009469-01    R.D.            Manalapan Surgery Center Inc                   Perq Intrdscl Electrothrm Annulop…    3/29/2018   22527     $2,320.90
1009469-01    R.D.            Manalapan Surgery Center Inc                  Dcmprn Perq Nucleus Pulposus 1/> …     3/29/2018   62287     $2,873.04
1009469-01    R.D.            Manalapan Surgery Center Inc                  Dcmprn Perq Nucleus Pulposus 1/> …     3/29/2018   62287     $5,827.43
1009469-01    R.D.            Manalapan Surgery Center Inc                 Njx Anes&/Strd W/Img Tfrml Edrl L…      3/29/2018   64483      $449.29
1009469-01    R.D.            Manalapan Surgery Center Inc                 Njx Anes&/Strd W/Img Tfrml Edrl L…      3/29/2018   64484      $449.29
1009469-01    R.D.            Manalapan Surgery Center Inc                           Epidurograpy Rs&I…            3/29/2018   72275      $572.52
1009469-01    R.D.            Manalapan Surgery Center Inc                  Fluor Needle/Cath Spine/Paraspina…     3/29/2018   77003      $572.53
1009469-01    R.D.            Manalapan Surgery Center Inc                   Injection Single/Mlt Trigger Poin…    6/28/2018   20553      $236.69
1009469-01    R.D.            Manalapan Surgery Center Inc                   Inject Si Joint Arthrgrphy&/Anes/…    6/28/2018   27096      $236.69
1009469-01    R.D.            Manalapan Surgery Center Inc                   Inject Si Joint Arthrgrphy&/Anes/…    6/28/2018   27096      $236.69
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/28/2018   64493      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/28/2018   64493      $979.78
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/28/2018   64494      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/28/2018   64494      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/28/2018   64495      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     6/28/2018   64495      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Fluor Needle/Cath Spine/Paraspina…     6/28/2018   77003      $572.53
1009469-01    R.D.            Manalapan Surgery Center Inc                   Injection Single/Mlt Trigger Poin…    7/12/2018   20553      $236.69
1009469-01    R.D.            Manalapan Surgery Center Inc                   Inject Si Joint Arthrgrphy&/Anes/…    7/12/2018   27096      $236.69
1009469-01    R.D.            Manalapan Surgery Center Inc                   Inject Si Joint Arthrgrphy&/Anes/…    7/12/2018   27096      $236.69
1009469-01    R.D.            Manalapan Surgery Center Inc                   Inject Si Joint Arthrgrphy&/Anes/…    7/12/2018   27096      $236.69
1009469-01    R.D.            Manalapan Surgery Center Inc                   Inject Si Joint Arthrgrphy&/Anes/…    7/12/2018   27096      $236.69
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64493      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64493      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64493      $979.78
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64493      $979.78
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64494      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64494      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64494      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64494      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64495      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64495      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64495      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     7/12/2018   64495      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Fluor Needle/Cath Spine/Paraspina…     7/12/2018   77003      $572.53
1009469-01    R.D.            Manalapan Surgery Center Inc                  Fluor Needle/Cath Spine/Paraspina…     7/12/2018   77003      $572.53
1009469-01    R.D.            Manalapan Surgery Center Inc                   Injection Single/Mlt Trigger Poin…     9/6/2018   20553      $236.69
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/6/2018   64493      $979.78
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/6/2018   64494      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      9/6/2018   64495      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Fluor Needle/Cath Spine/Paraspina…      9/6/2018   77003      $572.53
1009469-01    R.D.            Manalapan Surgery Center Inc                   Injection Single/Mlt Trigger Poin…   11/15/2018   20553      $236.69
1009469-01    R.D.            Manalapan Surgery Center Inc                   Dstr Nrolytc Agnt Parverteb Fct S…   11/15/2018   64635      $979.78
1009469-01    R.D.            Manalapan Surgery Center Inc                   Dstr Nrolytc Agnt Parverteb Fct A…   11/15/2018   64636      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                   Dstr Nrolytc Agnt Parverteb Fct A…   11/15/2018   64636      $449.21
1009469-01    R.D.            Manalapan Surgery Center Inc                  Fluor Needle/Cath Spine/Paraspina…    11/15/2018   77003      $572.53
1009469-01    R.D.            Manalapan Surgery Center Inc                   Injection Single/Mlt Trigger Poin…    3/21/2019   20553      $236.69
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/21/2019   64493      $447.52
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/21/2019   64493      $976.38
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/21/2019   64494      $447.52
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/21/2019   64494      $447.52
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/21/2019   64495      $447.52
1009469-01    R.D.            Manalapan Surgery Center Inc                  Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     3/21/2019   64495      $447.52
1008949-04    A.W.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…     5/15/2018   22505      $748.08
1008949-04    A.W.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…     5/15/2018   22505      $748.08
1008949-04    A.W.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…     5/15/2018   22505      $748.08
1008949-04    A.W.        All City Family Healthcare Center, Inc.           Clsd Tx Pelvic Ring Fx W/Manipula…     5/15/2018   27198      $418.78
1008949-04    A.W.        All City Family Healthcare Center, Inc.           Clsd Tx Pelvic Ring Fx W/Manipula…     5/15/2018   27198      $418.78

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                                                           2000
                             American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                         Representative Sample of Claims Where Covered Persons Purportedly Underwent
                                 Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                         Date of     Billing   Amount
                                         Provider                                    Service
 Number      Person                                                                                          Service     Code       Billed
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Manipulation Hip Joint General An…   5/15/2018   27275      $748.08
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Manipulation Hip Joint General An…   5/15/2018   27275     $1,577.52
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Manipulation Spine Requiring Anes…   5/16/2018   22505      $748.08
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Manipulation Spine Requiring Anes…   5/16/2018   22505      $748.08
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Manipulation Spine Requiring Anes…   5/16/2018   22505      $748.08
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Clsd Tx Pelvic Ring Fx W/Manipula…   5/16/2018   27198      $418.78
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Clsd Tx Pelvic Ring Fx W/Manipula…   5/16/2018   27198      $418.78
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Manipulation Hip Joint General An…   5/16/2018   27275      $748.08
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Manipulation Hip Joint General An…   5/16/2018   27275     $1,577.52
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Manipulation Spine Requiring Anes…   5/17/2018   22505      $748.08
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Manipulation Spine Requiring Anes…   5/17/2018   22505      $748.08
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Manipulation Spine Requiring Anes…   5/17/2018   22505      $748.08
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Clsd Tx Pelvic Ring Fx W/Manipula…   5/17/2018   27198      $418.78
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Clsd Tx Pelvic Ring Fx W/Manipula…   5/17/2018   27198      $418.78
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Manipulation Hip Joint General An…   5/17/2018   27275      $748.08
1008949-04    A.W.          All City Family Healthcare Center, Inc.     Manipulation Hip Joint General An…   5/17/2018   27275     $1,577.52
1008949-04    A.W.                       AMSC LLC                       Anesthesia Perq Image Guided Spin…   6/13/2018    1936      $162.06
1008949-04    A.W.                       AMSC LLC                       Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   6/13/2018   62323      $829.30
1008949-04    A.W.                       AMSC LLC                               Epidurograpy Rs&I…           6/13/2018   72275      $572.52
1009835-01    D.C.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/22/2018   64493      $489.90
1009835-01    D.C.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/22/2018   64493      $979.80
1009835-01    D.C.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/22/2018   64494      $489.90
1009835-01    D.C.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/22/2018   64494      $489.90
1009835-01    D.C.            Island Ambulatory Surgery Center          Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   1/22/2018   64495      $489.90
1009835-01    D.C.          All City Family Healthcare Center, Inc.    Arthroscopy Knee Diagnostic W/Wo … 1/26/2018      29870     $1,472.45
1009835-01    D.C.          All City Family Healthcare Center, Inc.    Arthroscopy Knee Synovectomy Limi… 1/26/2018      29875     $1,472.45
1009835-01    D.C.          All City Family Healthcare Center, Inc.    Arthroscopy Knee Synovectomy 2/>C… 1/26/2018      29876     $1,472.45
1009835-01    D.C.          All City Family Healthcare Center, Inc.     Arthrs Knee Debridement/Shaving A…   1/26/2018   29877     $1,472.45
1009835-01    D.C.          All City Family Healthcare Center, Inc.   Arthrs Knee W/Meniscectomy Med&La… 1/26/2018       29880     $3,026.24
1010850-01    A.N.           New York Surgery Center of Queens           Injection Single/Mlt Trigger Poin…  2/21/2018   20553      $554.37
1010850-01    A.N.           New York Surgery Center of Queens          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/21/2018   62323      $979.43
1010850-01    A.N.               Surgicore of Jersey City LLC          Arthroscopy Knee Synovectomy Limi…     7/1/2019   29875     $1,472.45
1010850-01    A.N.               Surgicore of Jersey City LLC         Arthrs Knee W/Meniscectomy Med&La… 7/1/2019        29880     $3,026.24
1010850-01    A.N.               Surgicore of Jersey City LLC          Arthroscopy Knee W/Lysis Adhesion…     7/1/2019   29884     $1,472.45
1010850-01    A.N.               Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical, For …   7/1/2019   G0289     $1,472.45
1007647-03    F.N.               Surgicore of Jersey City LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/17/2018   62323      $829.30
1007647-03    F.N.               Surgicore of Jersey City LLC                   Epidurograpy Rs&I…           2/17/2018   72275      $572.53
1007647-03    F.N.                 Avicenna Surgery Center              Arthroscopy Shoulder Surg Synovec…    1/7/2019   29820     $3,026.23
1007647-03    F.N.                 Avicenna Surgery Center              Arthroscopy Shoulder Surg Debride…    1/7/2019   29823     $3,026.23
1007647-03    F.N.                 Avicenna Surgery Center             Arthroscopy Shoulder W/Coracoacrm…     1/7/2019   29826     $3,026.23
1006720-04    E.P.              Healthplus Surgery Center LLC            Injection Single/Mlt Trigger Poin…   4/9/2018   20553      $107.64
1006720-04    E.P.              Healthplus Surgery Center LLC           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/9/2018   62323     $1,012.32
1006720-04    E.P.                Hudson Regional Hospital              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/30/2018   62323     $5,965.40
1006720-04    E.P.                Hudson Regional Hospital               Radex Spine 1 View Specify Level…   4/30/2018   72020      $681.20
1006720-04    E.P.                Hudson Regional Hospital                      Epidurograpy Rs&I…           4/30/2018   72275      $697.34
1006720-04    E.P.                Hudson Regional Hospital              Fluoroscopy Up To 1 Hour Physicia…   4/30/2018   76000     $1,346.30
1006720-04    E.P.                Hudson Regional Hospital              Drug Test Prsmv Read Direct Optic…   4/30/2018   80305      $179.46
1006720-04    E.P.                Hudson Regional Hospital               Gonadotropin Chorionic Qualitativ…  4/30/2018   84703       $51.65
1006720-04    E.P.              Healthplus Surgery Center LLC            Injection Single/Mlt Trigger Poin…   5/7/2018   20553      $107.64
1006720-04    E.P.              Healthplus Surgery Center LLC           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…    5/7/2018   62321     $1,012.32
1006720-04    E.P.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulop…  8/27/2018   22526     $2,320.90
1006720-04    E.P.               Surgicore of Jersey City LLC            Perq Intrdscl Electrothrm Annulop…  8/27/2018   22527     $2,320.90
1006720-04    E.P.               Surgicore of Jersey City LLC          Lamnotmy Incl W/Dcmprsn Nrv Root … 8/27/2018      63030     $5,827.43
1006720-04    E.P.               Surgicore of Jersey City LLC         Lamnotmy W/Dcmprsn Nrv Each Addl … 8/27/2018       63035     $2,873.04
1006720-04    E.P.               Surgicore of Jersey City LLC           Fluor Needle/Cath Spine/Paraspina…   8/27/2018   77003      $286.26
1006720-04    E.P.               Surgicore of Jersey City LLC          Ant Sgm Imaging W/Fluoroscein Ang… 8/27/2018      92287     $2,873.04
1006720-04    E.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2018   64493      $449.21
1006720-04    E.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2018   64493      $979.78
1006720-04    E.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2018   64494      $449.21
1006720-04    E.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2018   64494      $449.21
1006720-04    E.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2018   64495      $449.21
1006720-04    E.P.               Surgicore of Jersey City LLC           Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2018   64495      $449.21
1006720-04    E.P.               Surgicore of Jersey City LLC           Fluor Needle/Cath Spine/Paraspina…  11/12/2018   77003      $572.53
1006720-04    E.P.     NYEEQASC LLC d/b/a North Queens Surgical Center Unlisted Procedure Nervous System…    3/13/2019   64999      $829.30
1006743-04    D.W.               Surgicore of Jersey City LLC          Arthroscopy Knee Synovectomy 2/>C… 1/11/2018      29876     $3,997.71
1006743-04    D.W.               Surgicore of Jersey City LLC         Arthrs Knee W/Meniscectomy Med&La… 1/11/2018       29880     $1,998.86
1006743-04    D.W.               Surgicore of Jersey City LLC             Surgical Supply; Miscellaneous…    1/11/2018   A4649      $220.00
1006743-04    D.W.            Island Ambulatory Surgery Center          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   7/16/2018   62323      $829.30

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                                                          2001
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                             Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                              Service     Code       Billed
1006548-02    M.G.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl C…     1/3/2018   64479     $1,518.48
1006548-02    M.G.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl C…     1/3/2018   64479     $1,518.48
1006548-02    M.G.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl C…     1/3/2018   64480      $776.89
1006548-02    M.G.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl C…     1/3/2018   64480      $776.89
1006548-02    M.G.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl C…     1/3/2018   64480      $776.89
1006548-02    M.G.              Accelerated Surgical Center                Njx Anes&/Strd W/Img Tfrml Edrl C…     1/3/2018   64480      $776.89
1006548-02    M.G.              Accelerated Surgical Center                         Epidurograpy Rs&I…            1/3/2018   72275      $750.00
1006548-02    M.G.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…    2/9/2019   29821     $1,472.45
1006548-02    M.G.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…    2/9/2019   29823     $3,026.24
1006548-02    M.G.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …    2/9/2019   29825     $1,472.45
1006548-02    M.G.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm…     2/9/2019   29826     $1,472.45
1006548-02    M.G.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…     2/9/2019   29999     $1,472.45
1006548-02    M.G.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …    2/9/2019   64415      $829.30
1006548-02    M.G.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …     2/9/2019   76942      $341.96
1006548-02    M.G.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy 2/>C… 3/13/2019      29876     $1,472.45
1006548-02    M.G.             Surgicore of Jersey City LLC               Arthrs Knee W/Meniscectomy Med&La… 3/13/2019       29880     $3,026.24
1006548-02    M.G.             Surgicore of Jersey City LLC                   Unlisted Procedure Arthroscopy…    3/13/2019   29999     $1,472.45
1006548-02    M.G.             Surgicore of Jersey City LLC                  Arthroscopy, Knee, Surgical, For …  3/13/2019   G0289     $1,472.45
1005849-03    J.L.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  1/14/2018   20552      $236.69
1005849-03    J.L.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/14/2018   62323      $829.30
1005849-03    J.L.                     SCOB LLC                            Us Guidance Needle Placement Img …    1/14/2018   76942      $341.96
1005849-03    J.L.                     SCOB LLC                             Manipulation Spine Requiring Anes…   1/28/2018   22505     $1,577.52
1005849-03    J.L.                     SCOB LLC                            Clsd Tx Pelvic Ring Fx W/Manipula…    1/28/2018   27198      $418.79
1005849-03    J.L.                     SCOB LLC                             Manipulation Hip Joint General An…   1/28/2018   27275      $748.08
1005849-03    J.L.        New York Center For Specialty Surgery              Injection Single/Mlt Trigger Poin…  2/12/2018   20552      $107.64
1005849-03    J.L.        New York Center For Specialty Surgery              Injection, Single (Not Via Indwel…  2/12/2018   62311      $343.56
1005849-03    J.L.        New York Center For Specialty Surgery                     Epidurograpy Rs&I…           2/12/2018   72275      $418.96
1005849-03    J.L.        New York Center For Specialty Surgery            Us Guidance Needle Placement Img …    2/12/2018   76942      $262.91
1005849-03    J.L.        New York Center For Specialty Surgery             Office Outpatient New 45 Minutes…    2/12/2018   99204      $148.70
1005849-03    J.L.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  2/12/2018   20552      $236.69
1005849-03    J.L.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/12/2018   62323      $829.30
1005849-03    J.L.                     SCOB LLC                            Us Guidance Needle Placement Img …    2/12/2018   76942      $341.96
1005849-03    J.L.        New York Center For Specialty Surgery              Injection Single/Mlt Trigger Poin…  2/26/2018   20552      $107.64
1005849-03    J.L.        New York Center For Specialty Surgery              Injection, Single (Not Via Indwel…  2/26/2018   62311      $343.56
1005849-03    J.L.        New York Center For Specialty Surgery                     Epidurograpy Rs&I…           2/26/2018   72275      $418.96
1005849-03    J.L.        New York Center For Specialty Surgery            Us Guidance Needle Placement Img …    2/26/2018   76942      $262.91
1005849-03    J.L.        New York Center For Specialty Surgery              Office Outpatient Visit 40 Minute…  2/26/2018   99215       $92.98
1005849-03    J.L.                     SCOB LLC                              Injection Single/Mlt Trigger Poin…  2/26/2018   20552      $236.69
1005849-03    J.L.                     SCOB LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/26/2018   62323      $829.30
1005849-03    J.L.                     SCOB LLC                                     Epidurograpy Rs&I…           2/26/2018   72275      $572.53
1005849-03    J.L.                     SCOB LLC                            Us Guidance Needle Placement Img …    2/26/2018   76942      $341.96
1005849-03    J.L.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…    4/5/2018   29821     $1,472.45
1005849-03    J.L.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…    4/5/2018   29823     $3,026.24
1005849-03    J.L.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Ahesiolysis …    4/5/2018   29825     $1,472.45
1005849-03    J.L.             Surgicore of Jersey City LLC                 Single Nerve Block Injection Arm …    4/5/2018   64415      $829.30
1005849-03    J.L.             Surgicore of Jersey City LLC                Us Guidance Needle Placement Img …     4/5/2018   76942      $341.96
1005849-03    J.L.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…     4/5/2018   A4649      $220.00
1005849-03    J.L.        New York Center For Specialty Surgery             Office Outpatient New 45 Minutes…    4/30/2018   99204      $148.70
1005849-03    J.L.        New York Center For Specialty Surgery              Office Outpatient Visit 40 Minute…  4/30/2018   99215       $92.98
1009046-01    S.D.        All City Family Healthcare Center, Inc.          Arthroscopy Knee Synovectomy Limi… 11/1/2019      29875     $1,472.45
1009046-01    S.D.        All City Family Healthcare Center, Inc.         Arthrs Knee W/Meniscectomy Med&La… 11/1/2019       29880     $3,026.24
1009046-01    S.D.        All City Family Healthcare Center, Inc.            Arthroscopy, Knee, Surgical, For …  11/1/2019   G0289     $1,472.45
1009046-01    S.D.                   Good Medica Inc                       Pneumatic Compressor, Nonsegmenta… 6/20/2022      E0650      $531.06
1009046-01    S.D.                   Good Medica Inc                       Nonsegmental Pneumatic Appliance …    6/20/2022   E0666       $89.56
1004109-05    R.A.        Health East Ambulatory Surgical Center            Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/21/2018   62323     $1,012.32
1004109-05    R.A.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…           2/21/2018   72275      $422.68
1004109-05    R.A.        Health East Ambulatory Surgical Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/12/2018   62321     $1,012.32
1004109-05    R.A.        Health East Ambulatory Surgical Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   3/12/2018   62321     $1,012.32
1004109-05    R.A.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…           3/12/2018   72275      $422.68
1004109-05    R.A.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…           3/12/2018   72275      $422.68
1004109-05    R.A.        Health East Ambulatory Surgical Center            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   6/27/2018   62321     $1,012.32
1004109-05    R.A.        Health East Ambulatory Surgical Center                    Epidurograpy Rs&I…           6/27/2018   72275      $422.68
1004109-05    R.A.        Health East Ambulatory Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/8/2018   64490     $1,012.32
1004109-05    R.A.        Health East Ambulatory Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/8/2018   64491      $355.95
1004109-05    R.A.        Health East Ambulatory Surgical Center            Njx Dx/Ther Agt Pvrt Facet Jt Crv…    8/8/2018   64492      $355.95
1004109-05    R.A.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Shoulder W/Coracoacrm… 11/19/2018     29826     $3,026.24
1004109-05    R.A.        Bronx SC LLC d/b/a Empire State ASC               Arthroscopy Shoulder Rotator Cuff…  11/19/2018   29827     $5,677.77
1005192-03    G.F.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy Limi… 1/16/2018      29875     $1,472.45

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                                                          2002
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                Service     Code       Billed
1005192-03    G.F.             Surgicore of Jersey City LLC                Arthroscopy Knee Synovectomy Limi…      1/16/2018   29875     $26,178.00
1005192-03    G.F.             Surgicore of Jersey City LLC                 Arthrs Knee Debridement/Shaving A…     1/16/2018   29877      $1,472.45
1005192-03    G.F.             Surgicore of Jersey City LLC                 Arthrs Knee Debridement/Shaving A…     1/16/2018   29877     $25,582.50
1005192-03    G.F.             Surgicore of Jersey City LLC                Arthrs Kne Surg W/Meniscectomy Me…      1/16/2018   29881      $3,026.24
1005192-03    G.F.             Surgicore of Jersey City LLC                Arthrs Kne Surg W/Meniscectomy Me…      1/16/2018   29881     $33,397.50
1005192-03    G.F.             Surgicore of Jersey City LLC                Supplies&Materials Above/Beyond P…      1/16/2018   99070       $220.00
1005192-03    G.F.             Surgicore of Jersey City LLC                   Surgical Supply; Miscellaneous…      1/16/2018   A4649       $220.00
1005192-03    G.F.                     AMSC LLC                             Anesthesia Perq Image Guided Spin…     4/26/2018    1936       $216.08
1005192-03    G.F.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/26/2018   62323       $829.30
1005192-03    G.F.                     AMSC LLC                                      Epidurograpy Rs&I…            4/26/2018   72275       $572.52
1005192-03    G.F.                     AMSC LLC                             Anesthesia Perq Image Guided Spin…      8/9/2018    1936       $189.07
1005192-03    G.F.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      8/9/2018   62321       $829.30
1005192-03    G.F.                     AMSC LLC                                      Epidurograpy Rs&I…             8/9/2018   72275       $572.52
1005192-03    G.F.                     AMSC LLC                            Perc Lamino-/Laminectomy Image Gu…      9/13/2018   0274T      $5,827.42
1005192-03    G.F.                     AMSC LLC                             Anesthesia Perq Image Guided Spin…     9/13/2018    1936       $216.08
1005192-03    G.F.                     AMSC LLC                              Perq Intrdscl Electrothrm Annulop…    9/13/2018   22526      $5,805.08
1005192-03    G.F.                     AMSC LLC                              Injection, Cefazolin Sodium, 500 …    9/13/2018   J0690       $300.00
1005192-03    G.F.                     AMSC LLC                             Anes Dx/Ther Nerve Block/Injectio…    11/29/2018    1992       $162.06
1005192-03    G.F.                     AMSC LLC                              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   11/29/2018   64490       $979.80
1005192-03    G.F.                     AMSC LLC                              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   11/29/2018   64490       $979.80
1005192-03    G.F.                     AMSC LLC                              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   11/29/2018   64491       $979.80
1005192-03    G.F.                     AMSC LLC                              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   11/29/2018   64491       $979.80
1005192-03    G.F.                     AMSC LLC                              Njx Dx/Ther Agt Pvrt Facet Jt Crv…   11/29/2018   64492       $979.80
1005192-03    G.F.                     AMSC LLC                              Perq Intrdscl Electrothrm Annulop…    1/24/2019   22526      $5,805.08
1005192-03    G.F.                     AMSC LLC                              Perq Intrdscl Electrothrm Annulop…    1/24/2019   22527      $5,805.08
1005192-03    G.F.                     AMSC LLC                             Dcmprn Perq Nucleus Pulposus 1/> …     1/24/2019   62287      $5,827.42
1005192-03    G.F.                     AMSC LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/28/2019   64493      $1,952.76
1005192-03    G.F.                     AMSC LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/28/2019   64494      $1,952.76
1005192-03    G.F.                     AMSC LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…     2/28/2019   64495      $1,952.76
1005192-03    G.F.                     AMSC LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      5/9/2019   64493      $1,952.76
1005192-03    G.F.                     AMSC LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      5/9/2019   64494       $976.38
1005192-03    G.F.                     AMSC LLC                             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      5/9/2019   64495       $976.38
1005192-03    G.F.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     6/3/2019   64490       $447.52
1005192-03    G.F.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     6/3/2019   64490       $976.38
1005192-03    G.F.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     6/3/2019   64491       $447.52
1005192-03    G.F.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     6/3/2019   64491       $447.52
1005192-03    G.F.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     6/3/2019   64492       $447.52
1005192-03    G.F.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     6/3/2019   64492       $447.52
1005192-03    G.F.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     7/1/2019   64490       $976.38
1005192-03    G.F.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     7/1/2019   64491       $447.52
1005192-03    G.F.         New York Surgery Center of Queens                 Njx Dx/Ther Agt Pvrt Facet Jt Crv…     7/1/2019   64492       $447.52
1005192-03    G.F.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…     3/1/2023   20553       $279.23
1005192-03    G.F.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      3/1/2023   62321       $980.10
1005192-03    G.F.                   Triborough ASC                          Injection Single/Mlt Trigger Poin…    4/11/2023   20553       $279.23
1005192-03    G.F.                   Triborough ASC                         Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/11/2023   62323       $980.10
1003089-03    E.B.             Surgicore of Jersey City LLC                 Manipulation Spine Requiring Anes…     1/11/2018   22505      $1,037.28
1003089-03    E.B.             Surgicore of Jersey City LLC                 Clsd Tx Pelvic Ring Fx W/Manipula…     1/11/2018   27198      $2,074.56
1003089-03    E.B.       Ambulatory Surgical Center of Englewood            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     1/12/2018   62321      $7,500.00
1003089-03    E.B.       Ambulatory Surgical Center of Englewood            Nonemergency Transportation; Taxi…     1/12/2018   A0100       $300.00
1003089-03    E.B.       Ambulatory Surgical Center of Englewood            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      2/2/2018   62321      $7,500.00
1003089-03    E.B.       Ambulatory Surgical Center of Englewood            Nonemergency Transportation; Taxi…      2/2/2018   A0100       $300.00
1004375-05    E.J.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     2/19/2018   62323       $829.30
1004375-05    E.J.        All City Family Healthcare Center, Inc.            Perq Intrdscl Electrothrm Annulop…    5/14/2019   22526      $2,605.78
1004375-05    E.J.        All City Family Healthcare Center, Inc.           Dcmprn Perq Nucleus Pulposus 1/> …     5/14/2019   62287      $5,292.93
1003233-06    L.G.                     AMSC LLC                              Injection Single/Mlt Trigger Poin…    4/15/2019   20553       $554.74
1003233-06    L.G.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…     4/15/2019   62321       $976.38
1003233-06    L.G.                     AMSC LLC                                      Epidurograpy Rs&I…            4/15/2019   72275       $572.52
1003233-06    L.G.                     AMSC LLC                             Us Guidance Needle Placement Img …     4/15/2019   76942       $423.32
1003233-06    L.G.                     AMSC LLC                              Injection Single/Mlt Trigger Poin…    4/29/2019   20553       $277.37
1003233-06    L.G.                     AMSC LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     4/29/2019   62323       $976.38
1003233-06    L.G.                     AMSC LLC                                      Epidurograpy Rs&I…            4/29/2019   72275       $572.52
1003233-06    L.G.                     AMSC LLC                             Us Guidance Needle Placement Img …     4/29/2019   76942       $423.32
1003233-06    L.G.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…      8/6/2019   22505       $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…      8/6/2019   22505       $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.           Manipulation Spine Requiring Anes…      8/6/2019   22505      $1,577.52
1003233-06    L.G.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…       8/6/2019   23700       $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…       8/6/2019   23700       $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.          Manj W/Anes Shoulder Joint W/Fixa…       8/6/2019   23700       $748.08

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                                                          2003
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                        Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1003233-06    L.G.        All City Family Healthcare Center, Inc.         Manipulation Wrist Under Anesthes…    8/6/2019   25259      $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.        Clsd Tx Pelvic Ring Fx W/Manipula…     8/6/2019   27198      $405.93
1003233-06    L.G.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   8/20/2019   22505      $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   8/20/2019   22505      $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   8/20/2019   22505     $1,577.52
1003233-06    L.G.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…    8/20/2019   23700      $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…    8/20/2019   23700      $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.         Manipulation Wrist Under Anesthes…   8/20/2019   25259      $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.         Manipulation Wrist Under Anesthes…   8/20/2019   25259      $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.        Clsd Tx Pelvic Ring Fx W/Manipula…    8/20/2019   27198      $405.93
1003233-06    L.G.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   8/27/2019   22505      $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   8/27/2019   22505      $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…   8/27/2019   22505     $1,577.52
1003233-06    L.G.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…    8/27/2019   23700      $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…    8/27/2019   23700      $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.         Manipulation Wrist Under Anesthes…   8/27/2019   25259      $748.08
1003233-06    L.G.        All City Family Healthcare Center, Inc.         Manipulation Wrist Under Anesthes…   8/27/2019   25259      $748.08
1003233-06    L.G.                     AMSC LLC                            Injection, Single (Not Via Indwel…  5/24/2021   62310      $396.24
1003233-06    L.G.                     AMSC LLC                                   Epidurograpy Rs&I…           5/24/2021   72275      $572.52
1003233-06    L.G.                     AMSC LLC                           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…  10/18/2021   62323      $976.38
1003233-06    L.G.                     AMSC LLC                                   Epidurograpy Rs&I…          10/18/2021   72275      $572.52
1003233-06    L.G.        Bronx SC LLC d/b/a Empire State ASC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/15/2023   64493      $447.52
1003233-06    L.G.        Bronx SC LLC d/b/a Empire State ASC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/15/2023   64493      $976.38
1003233-06    L.G.        Bronx SC LLC d/b/a Empire State ASC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/15/2023   64494      $447.52
1003233-06    L.G.        Bronx SC LLC d/b/a Empire State ASC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/15/2023   64494      $447.52
1003233-06    L.G.        Bronx SC LLC d/b/a Empire State ASC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/15/2023   64495      $447.52
1003233-06    L.G.        Bronx SC LLC d/b/a Empire State ASC             Njx Dx/Ther Agt Pvrt Facet Jt Lmb…   5/15/2023   64495      $447.52
1002008-05    G.P.           Fifth Avenue Surgery Center LLC               Arthrocentesis Aspir&/Inj Major J…  1/30/2018   20610      $236.69
1002008-05    G.P.           Fifth Avenue Surgery Center LLC            Arthroscopy Shoulder Dx W/Wo Syno… 1/30/2018       29805     $3,026.24
1002008-05    G.P.           Fifth Avenue Surgery Center LLC             Arthroscopy Shoulder Surg Synovec…    1/30/2018   29820     $1,472.45
1002008-05    G.P.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Surg Debride…   1/30/2018   29823     $1,472.45
1002008-05    G.P.           Fifth Avenue Surgery Center LLC              Arthroscopy Shoulder Ahesiolysis …   1/30/2018   29825     $1,472.45
1002008-05    G.P.           Fifth Avenue Surgery Center LLC              Single Nerve Block Injection Arm …   1/30/2018   64415      $829.30
1002008-05    G.P.           Fifth Avenue Surgery Center LLC             Us Guidance Needle Placement Img …    1/30/2018   76942      $341.96
1002008-05    G.P.                    EMUSC LLC                           Anesthesia Perq Image Guided Spin…   6/13/2018    1936      $740.00
1002008-05    G.P.                    EMUSC LLC                          Dcmprn Perq Nucleus Pulposus 1/> …    6/13/2018   62287     $5,827.05
1003042-02    R.R.               Surgery Center of Oradell               Njx Anes&/Strd W/Img Tfrml Edrl L… 3/10/2018      64483     $1,518.48
1003042-02    R.R.               Surgery Center of Oradell               Njx Anes&/Strd W/Img Tfrml Edrl L… 3/10/2018      64484     $1,518.48
1003042-02    R.R.               Surgery Center of Oradell                Fluor Needle/Cath Spine/Paraspina…   3/10/2018   77003     $1,200.00
1003042-02    R.R.           Fifth Avenue Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   4/25/2018   62322      $829.30
1003042-02    R.R.           Fifth Avenue Surgery Center LLC                      Epidurograpy Rs&I…           4/25/2018   72275      $572.52
1003042-02    R.R.               Surgery Center of Oradell               Arthroscopy Shoulder Surg Synovec…    6/12/2018   29821     $6,462.39
1003042-02    R.R.               Surgery Center of Oradell                Arthroscopy Shoulder Surg Debride…   6/12/2018   29823     $6,462.39
1003042-02    R.R.               Surgery Center of Oradell                Arthroscopy Shoulder Ahesiolysis …   6/12/2018   29825     $6,462.39
1003042-02    R.R.               Surgery Center of Oradell               Arthroscopy Shoulder W/Coracoacrm… 6/12/2018      29826     $6,462.39
1003042-02    R.R.               Surgery Center of Oradell                Arthroscopy Shoulder Rotator Cuff…   6/12/2018   29827     $6,462.39
1004391-02    P.C.        New York Center For Specialty Surgery            Injection Single/Mlt Trigger Poin…  2/13/2018   20552      $107.64
1004391-02    P.C.        New York Center For Specialty Surgery            Injection, Single (Not Via Indwel…  2/13/2018   62310      $396.23
1004391-02    P.C.        New York Center For Specialty Surgery                   Epidurograpy Rs&I…           2/13/2018   72275      $418.96
1004391-02    P.C.        New York Center For Specialty Surgery          Us Guidance Needle Placement Img …    2/13/2018   76942      $262.91
1004391-02    P.C.        New York Center For Specialty Surgery           Office Outpatient New 45 Minutes…    2/13/2018   99204      $148.70
1004391-02    P.C.                     SCOB LLC                            Injection Single/Mlt Trigger Poin…  2/13/2018   20552      $236.69
1004391-02    P.C.                     SCOB LLC                           Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   2/13/2018   62321      $829.30
1004391-02    P.C.                     SCOB LLC                          Us Guidance Needle Placement Img …    2/13/2018   76942      $341.96
1004391-02    P.C.     Surgicore LLC d/b/a Surgicore Surgical Center       Arthrocentesis Aspir&/Inj Major J…  3/13/2018   20610      $236.69
1004391-02    P.C.     Surgicore LLC d/b/a Surgicore Surgical Center     Arthroscopy Knee Synovectomy 2/>C… 3/13/2018      29876     $1,472.45
1004391-02    P.C.     Surgicore LLC d/b/a Surgicore Surgical Center    Arthrs Knee W/Meniscectomy Med&La… 3/13/2018       29880     $3,026.24
1001455-03    D.M.             East Tremont Medical Center               Anes Dx/Ther Nrv Blk/Njx Oth/Thn …    9/19/2018    1991      $162.06
1001455-03    D.M.             East Tremont Medical Center               Anes Dx/Ther Nrv Blk/Njx Oth/Thn …    9/19/2018    1991      $164.70
1001455-03    D.M.             East Tremont Medical Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   9/19/2018   62321     $1,266.65
1001455-03    D.M.        Bronx SC LLC d/b/a Empire State ASC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   7/17/2019   62321      $976.38
1000878-05    G.C.                     SCOB LLC                            Injection Single/Mlt Trigger Poin…  1/15/2018   20552      $236.69
1000878-05    G.C.                     SCOB LLC                           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/15/2018   62323      $829.30
1000878-05    G.C.                     SCOB LLC                          Us Guidance Needle Placement Img …    1/15/2018   76942      $341.96
1000878-05    G.C.        All City Family Healthcare Center, Inc.          Perq Intrdscl Electrothrm Annulop…  1/22/2019   22526     $2,320.90
1000878-05    G.C.        All City Family Healthcare Center, Inc.          Perq Intrdscl Electrothrm Annulop…  1/22/2019   22527     $2,320.90
1000878-05    G.C.        All City Family Healthcare Center, Inc.        Dcmprn Perq Nucleus Pulposus 1/> …    1/22/2019   62287     $5,827.43
1000878-05    G.C.        All City Family Healthcare Center, Inc.         Injection Px Discography Each Lev…   1/22/2019   62290     $1,043.91

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                                                          2004
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                       Representative Sample of Claims Where Covered Persons Purportedly Underwent
                               Fraudulent Services at a Surgicore ASC and Non-Network ASC
  Claim      Covered                                                                                           Date of     Billing   Amount
                                        Provider                                      Service
 Number      Person                                                                                            Service     Code       Billed
1000878-05    G.C.        All City Family Healthcare Center, Inc.         Injection Px Discography Each Lev…   1/22/2019   62290      $1,043.91
1000878-05    G.C.        All City Family Healthcare Center, Inc.        Njx Anes&/Strd W/Img Tfrml Edrl L… 1/22/2019      64483       $979.78
1000878-05    G.C.        All City Family Healthcare Center, Inc.        Njx Anes&/Strd W/Img Tfrml Edrl L… 1/22/2019      64484       $449.21
1000878-05    G.C.        All City Family Healthcare Center, Inc.              Diskograpy Lumbar Rs&I…         1/22/2019   72295       $286.26
1000878-05    G.C.        All City Family Healthcare Center, Inc.              Diskograpy Lumbar Rs&I…         1/22/2019   72295       $572.53
1000878-05    G.C.        All City Family Healthcare Center, Inc.          Perq Intrdscl Electrothrm Annulop…  2/19/2019   22526      $2,605.78
1000878-05    G.C.        All City Family Healthcare Center, Inc.        Dcmprn Perq Nucleus Pulposus 1/> …    2/19/2019   62287      $5,292.93
1001011-02    K.K.        Health East Ambulatory Surgical Center         Njx Anes&/Strd W/Img Tfrml Edrl L…     1/5/2018   64483      $1,012.32
1001011-02    K.K.        Health East Ambulatory Surgical Center         Njx Anes&/Strd W/Img Tfrml Edrl L…     1/5/2018   64484       $517.89
1001011-02    K.K.        Health East Ambulatory Surgical Center                   Epidurograpy Rs&I…           1/5/2018   72275       $422.68
1001011-02    K.K.        Health East Ambulatory Surgical Center         Njx Anes&/Strd W/Img Tfrml Edrl L… 2/16/2018      64483      $1,518.48
1001011-02    K.K.        Health East Ambulatory Surgical Center         Njx Anes&/Strd W/Img Tfrml Edrl L… 2/16/2018      64484       $517.89
1001011-02    K.K.        Health East Ambulatory Surgical Center                   Epidurograpy Rs&I…          2/16/2018   72275       $422.68
1001011-02    K.K.        Health East Ambulatory Surgical Center         Njx Anes&/Strd W/Img Tfrml Edrl L…     4/6/2018   64483      $1,012.32
1001011-02    K.K.        Health East Ambulatory Surgical Center         Njx Anes&/Strd W/Img Tfrml Edrl L…     4/6/2018   64484       $776.84
1001011-02    K.K.        Health East Ambulatory Surgical Center                   Epidurograpy Rs&I…           4/6/2018   72275       $422.68
1001011-02    K.K.        Health East Ambulatory Surgical Center         Dcmprn Perq Nucleus Pulposus 1/> …    4/22/2019   62287      $4,972.53
1001011-02    K.K.        Health East Ambulatory Surgical Center          Fluor Needle/Cath Spine/Paraspina…   4/22/2019   77003       $141.00
1001011-02    K.K.        Health East Ambulatory Surgical Center         Probe, Percutaneous Lumbar Discec…    4/22/2019   C2614       $920.00
1001011-02    K.K.           Fifth Avenue Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2021   64493       $447.52
1001011-02    K.K.           Fifth Avenue Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2021   64493       $976.38
1001011-02    K.K.           Fifth Avenue Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2021   64494       $447.52
1001011-02    K.K.           Fifth Avenue Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2021   64494       $447.52
1001011-02    K.K.           Fifth Avenue Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2021   64495       $447.52
1001011-02    K.K.           Fifth Avenue Surgery Center LLC              Njx Dx/Ther Agt Pvrt Facet Jt Lmb…  11/12/2021   64495       $447.52
 680801-04    R.H.             Manalapan Surgery Center Inc               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    2/3/2018   62323       $829.30
 680801-04    R.H.             Manalapan Surgery Center Inc                        Epidurograpy Rs&I…           2/3/2018   72275       $572.52
 680801-04    R.H.         Specialty Surgery of Middletown LLC           Dcmprn Perq Nucleus Pulposus 1/> …    3/10/2018   62287     $15,278.17
 680801-04    R.H.         Specialty Surgery of Middletown LLC            Njx Dx/Ther Sbst Intrlmnr Crv/Thr…   5/12/2018   62321      $5,000.00
 680801-04    R.H.                Mountain Surgery Center                  Inject Si Joint Arthrgrphy&/Anes/…  8/11/2018   27096      $2,100.00
 680801-04    R.H.                Mountain Surgery Center                  Inject Si Joint Arthrgrphy&/Anes/…  8/11/2018   27096      $4,200.00
 796812-09    A.O.           Fifth Avenue Surgery Center LLC              Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…    4/4/2018   62322       $829.30
 796812-09    A.O.           Fifth Avenue Surgery Center LLC                       Epidurograpy Rs&I…           4/4/2018   72275       $572.52
 796812-09    A.O.                     EMUSC LLC                          Anesthesia Cervical Spine & Cord …    5/9/2018     600      $1,140.00
 796812-09    A.O.                     EMUSC LLC                         Dcmprn Perq Nucleus Pulposus 1/> …     5/9/2018   62287      $5,827.05
 796571-02    M.B.                      AMSC LLC                          Anesthesia Perq Image Guided Spin…   1/25/2018    1936      $3,500.00
 796571-02    M.B.                      AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/25/2018   62323       $829.30
 796571-02    M.B.                      AMSC LLC                                   Epidurograpy Rs&I…          1/25/2018   72275       $572.52
 796571-02    M.B.              Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop… 11/26/2018   22526      $2,320.90
 796571-02    M.B.              Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop… 11/26/2018   22527      $2,320.90
 796571-02    M.B.              Surgicore of Jersey City LLC             Dcmprn Perq Nucleus Pulposus 1/> … 11/26/2018     62287      $2,873.04
 796571-02    M.B.              Surgicore of Jersey City LLC            Lamnotmy Incl W/Dcmprsn Nrv Root … 11/26/2018      63030      $5,827.43
 796571-02    M.B.              Surgicore of Jersey City LLC            Lamnotmy W/Dcmprsn Nrv Each Addl … 11/26/2018      63035      $2,873.04
 796571-02    M.B.              Surgicore of Jersey City LLC              Fluor Needle/Cath Spine/Paraspina…  11/26/2018   77003       $572.53
 678689-02    D.R.              East Tremont Medical Center               Anes Dx/Ther Nerve Block/Injectio…   9/19/2018    1992       $162.06
 678689-02    D.R.              East Tremont Medical Center              Njx Anes&/Strd W/Img Tfrml Edrl L… 9/19/2018      64483      $1,266.65
 678689-02    D.R.              East Tremont Medical Center              Njx Anes&/Strd W/Img Tfrml Edrl L… 9/19/2018      64484      $1,258.75
 678689-02    D.R.              East Tremont Medical Center               Anes Dx/Ther Nerve Block/Injectio…   10/3/2018    1992       $162.06
 678689-02    D.R.              East Tremont Medical Center              Njx Anes&/Strd W/Img Tfrml Edrl L… 10/3/2018      64483      $2,285.00
 678689-02    D.R.              East Tremont Medical Center              Njx Anes&/Strd W/Img Tfrml Edrl L… 10/3/2018      64484      $1,875.00
 678689-02    D.R.        Bronx SC LLC d/b/a Empire State ASC             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…  12/14/2018   62321       $829.30
 678689-02    D.R.        Bronx SC LLC d/b/a Empire State ASC             Fluor Needle/Cath Spine/Paraspina…  12/14/2018   77003       $286.26
 679056-10    C.F.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   2/19/2018   62323       $829.30
 679056-10    C.F.           Island Ambulatory Surgery Center                      Epidurograpy Rs&I…          2/19/2018   72275       $572.52
 679056-10    C.F.           Island Ambulatory Surgery Center              Arthrocentesis Aspir&/Inj Major J…  5/16/2018   20610       $554.74
 679056-10    C.F.           Fifth Avenue Surgery Center LLC             Arthroscopy Knee Synovectomy 2/>C…     7/2/2018   29876      $1,472.45
 679056-10    C.F.           Fifth Avenue Surgery Center LLC            Arthrs Knee W/Meniscectomy Med&La… 7/2/2018        29880      $3,026.24
 679056-10    C.F.           Fifth Avenue Surgery Center LLC                Unlisted Procedure Arthroscopy…     7/2/2018   29999      $1,472.45
 679056-10    C.F.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical, For …   7/2/2018   G0289      $1,472.45
 679056-10    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center               Tissue Grafts Other…        9/14/2018   20926      $1,040.80
 679056-10    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center      Repair Flexor Tendon Leg Primary …   9/14/2018   27658      $1,393.70
 679056-10    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center      Tenolysis Flxr/Xtnsr Tendon Leg&/…   9/14/2018   27680      $1,393.70
 679056-10    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center      Tenolysis Flxr/Xtnsr Tendon Leg&/…   9/14/2018   27680      $1,393.70
 679056-10    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center     Rpr Primary Disrupted Ligament An…    9/14/2018   27695      $1,515.18
 679056-10    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center       Open Tx Distal Tibiofibular Joint…  9/14/2018   27829      $4,869.06
 679056-10    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Ankle Surgical Debrid…   9/14/2018   29898      $1,472.45
 679056-10    C.F.           Island Ambulatory Surgery Center              Arthrocentesis Aspir&/Inj Major J…   1/2/2019   20610       $554.74
 679056-10    C.F.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…   1/23/2019   62323       $829.30

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                                                         2005
                          American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                      Representative Sample of Claims Where Covered Persons Purportedly Underwent
                              Fraudulent Services at a Surgicore ASC and Non-Network ASC
 Claim      Covered                                                                                              Date of     Billing   Amount
                                       Provider                                       Service
Number      Person                                                                                               Service     Code       Billed
676490-02    C.F.            Healthplus Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/16/2018   64493      $1,518.48
676490-02    C.F.            Healthplus Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/16/2018   64494       $533.93
676490-02    C.F.            Healthplus Surgery Center LLC               Njx Dx/Ther Agt Pvrt Facet Jt Lmb…      2/16/2018   64495       $533.93
676490-02    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Shoulder Surg Synovec…      2/20/2018   29821      $1,472.45
676490-02    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center      Arthroscopy Shoulder Surg Debride…      2/20/2018   29823      $3,026.24
676490-02    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center       Arthroscopy Shoulder Ahesiolysis …     2/20/2018   29825      $1,472.45
676490-02    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center     Arthroscopy Shoulder W/Coracoacrm…       2/20/2018   29826      $1,472.45
676490-02    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center         Unlisted Procedure Arthroscopy…      2/20/2018   29999      $1,472.45
676490-02    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center       Single Nerve Block Injection Arm …     2/20/2018   64415       $829.30
676490-02    C.F.     Surgicore LLC d/b/a Surgicore Surgical Center      Us Guidance Needle Placement Img …      2/20/2018   76942       $341.96
795233-02    C.V.                      AMSC LLC                          Anesthesia Perq Image Guided Spin…     12/26/2018    1936       $162.06
795233-02    C.V.                      AMSC LLC                          Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     12/26/2018   62323       $829.30
795233-02    C.V.                      AMSC LLC                                   Epidurograpy Rs&I…            12/26/2018   72275       $572.52
795233-02    C.V.                      AMSC LLC                           Perq Intrdscl Electrothrm Annulop…    11/25/2019   22526      $5,292.93
795233-02    C.V.                      AMSC LLC                           Perq Intrdscl Electrothrm Annulop…    11/25/2019   22527      $2,646.47
795233-02    C.V.                      AMSC LLC                          Dcmprn Perq Nucleus Pulposus 1/> …     11/25/2019   62287      $2,646.47
795233-02    C.V.              Surgicore of Jersey City LLC             Perc Lamino-/Laminectomy Image Gu…       7/12/2021   0274T      $5,292.93
795233-02    C.V.              Surgicore of Jersey City LLC               Perq Intrdscl Electrothrm Annulop…     7/12/2021   22526      $2,605.78
795233-02    C.V.              Surgicore of Jersey City LLC                 Surgical Supply; Miscellaneous…      7/12/2021   A4649        $50.00
795233-02    C.V.              Surgicore of Jersey City LLC               Prosthetic Implant, Not Otherwise…     7/12/2021   L8699      $1,495.00
795233-02    C.V.           Fifth Avenue Surgery Center LLC               Prq Impltj Nstim Electrode Array …     12/8/2021   63650     $18,661.93
795098-02    M.W.              East Tremont Medical Center               Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      1/15/2018    1991       $972.36
795098-02    M.W.              East Tremont Medical Center               Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      1/15/2018    1991       $162.06
795098-02    M.W.              East Tremont Medical Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      1/15/2018   62321      $1,266.65
795098-02    M.W.              East Tremont Medical Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      1/15/2018   62321      $1,266.65
795098-02    M.W.              East Tremont Medical Center               Anes Dx/Ther Nrv Blk/Njx Oth/Thn …      1/29/2018    1991       $972.36
795098-02    M.W.              East Tremont Medical Center               Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      1/29/2018   62321      $1,266.65
795098-02    M.W.              East Tremont Medical Center              Njx Anes&/Strd W/Img Tfrml Edrl L…       1/29/2018   64483      $1,266.65
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…      4/18/2018   22505       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…      4/18/2018   22505       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…      4/18/2018   22505       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…       4/18/2018   23700       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.         Clsd Tx Pelvic Ring Fx W/Manipula…      4/18/2018   27198       $418.78
795098-02    M.W.        All City Family Healthcare Center, Inc.         Clsd Tx Pelvic Ring Fx W/Manipula…      4/18/2018   27198       $418.78
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…      4/18/2018   27275       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…      4/18/2018   27275      $1,577.52
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…      4/19/2018   22505       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…      4/19/2018   22505       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…      4/19/2018   22505       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…       4/19/2018   23700       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.         Clsd Tx Pelvic Ring Fx W/Manipula…      4/19/2018   27198       $418.78
795098-02    M.W.        All City Family Healthcare Center, Inc.         Clsd Tx Pelvic Ring Fx W/Manipula…      4/19/2018   27198       $418.78
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…      4/19/2018   27275       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…      4/19/2018   27275      $1,577.52
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…      4/20/2018   22505       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…      4/20/2018   22505       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Spine Requiring Anes…      4/20/2018   22505       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.        Manj W/Anes Shoulder Joint W/Fixa…       4/20/2018   23700       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.         Clsd Tx Pelvic Ring Fx W/Manipula…      4/20/2018   27198       $418.78
795098-02    M.W.        All City Family Healthcare Center, Inc.         Clsd Tx Pelvic Ring Fx W/Manipula…      4/20/2018   27198       $418.78
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…      4/20/2018   27275       $748.08
795098-02    M.W.        All City Family Healthcare Center, Inc.         Manipulation Hip Joint General An…      4/20/2018   27275      $1,577.52
676214-02    L.A.              Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Synovec…      5/31/2018   29821      $1,472.45
676214-02    L.A.              Surgicore of Jersey City LLC              Arthroscopy Shoulder Surg Debride…      5/31/2018   29823      $3,026.24
676214-02    L.A.              Surgicore of Jersey City LLC               Arthroscopy Shoulder Ahesiolysis …     5/31/2018   29825      $1,472.45
676214-02    L.A.              Surgicore of Jersey City LLC               Single Nerve Block Injection Arm …     5/31/2018   64415       $829.30
676214-02    L.A.              Surgicore of Jersey City LLC              Us Guidance Needle Placement Img …      5/31/2018   76942       $341.96
676214-02    L.A.          New York Surgery Center of Queens               Injection Single/Mlt Trigger Poin…     8/8/2018   20553       $236.69
676214-02    L.A.          New York Surgery Center of Queens             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       8/8/2018   62321       $829.30
676214-02    L.A.          New York Surgery Center of Queens                      Epidurograpy Rs&I…              8/8/2018   72275       $572.53
676214-02    L.A.          New York Surgery Center of Queens               Injection Single/Mlt Trigger Poin…     2/4/2019   20553       $236.69
676214-02    L.A.          New York Surgery Center of Queens             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       2/4/2019   62321       $829.30
676214-02    L.A.          New York Surgery Center of Queens                      Epidurograpy Rs&I…              2/4/2019   72275       $572.53
676214-02    L.A.          New York Surgery Center of Queens               Injection Single/Mlt Trigger Poin…    8/12/2019   20553       $236.69
676214-02    L.A.          New York Surgery Center of Queens             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      8/12/2019   62321       $976.38
676214-02    L.A.          New York Surgery Center of Queens                      Epidurograpy Rs&I…             8/12/2019   72275       $572.53
792362-06    J.R.           Island Ambulatory Surgery Center             Njx Dx/Ther Sbst Intrlmnr Crv/Thr…      1/15/2018   62321       $829.30
792362-06    J.R.           Island Ambulatory Surgery Center                      Epidurograpy Rs&I…             1/15/2018   72275       $572.52

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                                                         2006
                          American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
                      Representative Sample of Claims Where Covered Persons Purportedly Underwent
                              Fraudulent Services at a Surgicore ASC and Non-Network ASC
 Claim      Covered                                                                                                Date of     Billing   Amount
                                       Provider                                         Service
Number      Person                                                                                                 Service     Code       Billed
792362-06    J.R.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Synovec…      2/19/2018   29821     $1,472.45
792362-06    J.R.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…      2/19/2018   29822     $1,472.45
792362-06    J.R.        All City Family Healthcare Center, Inc.           Arthroscopy Shoulder Surg Debride…      2/19/2018   29823     $3,026.24
792362-06    J.R.        All City Family Healthcare Center, Inc.          Arthroscopy Shoulder W/Coracoacrm…       2/19/2018   29826     $1,472.45
792362-06    J.R.        All City Family Healthcare Center, Inc.            Single Nerve Block Injection Arm …     2/19/2018   64415      $829.30
792362-06    J.R.        All City Family Healthcare Center, Inc.           Us Guidance Needle Placement Img …      2/19/2018   76942      $341.96
671529-02    J.E.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy Knee Synovectomy 2/>C…      10/22/2018   29876     $3,026.24
671529-02    J.E.        Bronx SC LLC d/b/a Empire State ASC              Arthrs Kne Surg W/Meniscectomy Me…      10/22/2018   29881     $3,026.24
671529-02    J.E.              Crotona Parkway ASC LLC                       Injection Single/Mlt Trigger Poin…   10/11/2023   20553      $279.23
671529-02    J.E.              Crotona Parkway ASC LLC                     Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…     10/11/2023   62323      $980.10
665803-02    S.S.          Island Ambulatory Surgery Center                 Arthrocentesis Aspir&/Inj Major J…      8/3/2018   20610      $277.37
665803-02    S.S.          Island Ambulatory Surgery Center                Njx Dx/Ther Sbst Intrlmnr Crv/Thr…       8/3/2018   62321      $829.30
665803-02    S.S.          Island Ambulatory Surgery Center               Perc Lamino-/Laminectomy Image Gu…        4/3/2019   0274T     $5,292.93
665803-02    S.S.             Surgicore of Jersey City LLC                    Tenodesis Long Tendon Biceps…        5/31/2019   23430     $3,760.88
665803-02    S.S.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Synovec…      5/31/2019   29821     $1,472.45
665803-02    S.S.             Surgicore of Jersey City LLC                 Arthroscopy Shoulder Surg Debride…      5/31/2019   29823     $1,472.45
665803-02    S.S.             Surgicore of Jersey City LLC                  Arthroscopy Shoulder Ahesiolysis …     5/31/2019   29825     $1,472.45
665803-02    S.S.             Surgicore of Jersey City LLC                Arthroscopy Shoulder W/Coracoacrm…       5/31/2019   29826     $1,472.45
665803-02    S.S.             Surgicore of Jersey City LLC                  Single Nerve Block Injection Arm …     5/31/2019   64415      $979.78
665803-02    S.S.             Surgicore of Jersey City LLC                 Us Guidance Needle Placement Img …      5/31/2019   76942      $341.96
783575-03    A.R.                    EMUSC LLC                             Anes Dx/Ther Nerve Block/Injectio…      2/13/2018    1992      $610.00
783575-03    A.R.                    EMUSC LLC                               Injection, Single (Not Via Indwel…    2/13/2018   62311      $828.93
783575-03    A.R.                    EMUSC LLC                             Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      2/13/2018   62323      $828.93
783575-03    A.R.                    EMUSC LLC                                      Epidurograpy Rs&I…             2/13/2018   72275      $326.76
783575-03    A.R.                    EMUSC LLC                                      Epidurograpy Rs&I…             2/13/2018   72275      $326.76
783575-03    A.R.                    EMUSC LLC                             Fluoroscopic Guidance Needle Plac…      2/13/2018   77002      $326.76
783575-03    A.R.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…      4/16/2018   62323      $829.30
783575-03    A.R.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…             4/16/2018   72275      $572.53
783575-03    A.R.        All City Family Healthcare Center, Inc.           Fluor Needle/Cath Spine/Paraspina…      4/16/2018   77003      $286.26
783575-03    A.R.        All City Family Healthcare Center, Inc.           Njx Dx/Ther Sbst Intrlmnr Lmbr/Sa…       5/7/2018   62323      $829.30
783575-03    A.R.        All City Family Healthcare Center, Inc.                    Epidurograpy Rs&I…              5/7/2018   72275      $572.53
783575-03    A.R.        All City Family Healthcare Center, Inc.           Fluor Needle/Cath Spine/Paraspina…       5/7/2018   77003      $286.26




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                         EXHIBIT “5”
                         EXHIBIT
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                                                  2008
                       American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
 Representative Sample of Covered Persons Who Purportedly Underwent Arthroscopic Surgeries and/ or Interventional
     Pain Management Procedures Despite Injuries Not Being Causally Related to Purported Automobile Collision
                                             Initial Visit to                               Discectomy/
Claim Number Covered Person   Date of Loss                       Arthroscopy   Injections                 Anesthesia
                                                  ASC                                          IDET
 1122260-03       A.G.         10/27/2022      12/22/2022            X             X                          X
 1119743-03       K.M.          9/22/2022        1/3/2023            X             X            X             X
 1119150-01        J.F.         8/27/2022      11/29/2022            X             X                          X
 1118141-01       J.H.          8/17/2022       10/6/2022            X             X                          X
 1118292-02       L.B.          8/16/2022      11/23/2022            X             X            X             X
 1118292-01       G.B.          8/16/2022      11/16/2022                          X            X             X
 1118280-04       E.V.           8/6/2022      12/21/2022                          X                          X
 1117516-04       G.R.           8/5/2022      11/21/2022                          X            X             X
 1117516-03       J.M.           8/5/2022      11/19/2022            X             X                          X
 1117561-01       R.W.          7/28/2022       12/8/2022            X             X                          X
 1116458-02       T.M.          7/23/2022        9/9/2022                          X                          X
 1116657-02       J.P.          7/20/2022       9/12/2022                          X            X             X
 1116657-01       E.P.          7/20/2022      10/23/2022                          X            X             X
 1116460-02       L.S.          7/20/2022       10/3/2022            X             X                          X
 1116903-03       K.S.           7/9/2022       9/12/2022            X             X            X             X
 1116789-01       J.L.           7/8/2022        9/1/2022                          X            X             X
 1116090-05       B.H.           7/7/2022       8/25/2022            X             X                          X
 1115639-04       W.S.          6/18/2022      11/20/2022            X             X                          X
 1115188-03       L.S.          6/18/2022       8/18/2022            X             X            X             X
 1114963-01       F.P.          6/12/2022      10/19/2022            X             X                          X
 1115556-01       S.C.          6/11/2022       7/31/2022            X             X                          X
 1114999-01       H.D.           6/7/2022      10/20/2022                          X            X             X
 1113727-03       E.R.          5/20/2022       9/19/2022            X             X                          X
 1114179-02        I.I.         5/19/2022       8/15/2022            X             X                          X
 1114903-02       S.C.          5/18/2022       10/3/2022            X             X                          X
 1113404-02       C.C.          5/17/2022       9/22/2022            X             X            X             X
 1113717-04       H.A.          5/13/2022       1/25/2023            X             X                          X
 1113019-01       J.P.           5/3/2022       7/23/2022            X             X                          X
 1113232-01       R.M.          4/24/2022        8/3/2022                          X            X             X
 1112109-01       L.N.          4/21/2022       7/30/2022            X             X            X             X
 1112526-02       T.W.          4/10/2022      11/30/2022            X                                        X
 1111984-01       R.D.           4/8/2022       6/14/2022            X             X            X             X
 1112486-02       A.D.          3/30/2022       5/24/2022            X             X            X             X
 1111377-02       C.B.          3/27/2022       5/26/2022            X             X            X             X
 1111207-01       S.R.          3/27/2022       6/28/2022            X             X            X             X
 1111339-01       L.M.          3/26/2022       7/16/2022            X             X            X             X
 1110778-01       H.M.          3/21/2022        7/6/2022            X             X                          X
 1111304-01       R.T.          3/19/2022       6/14/2022            X             X                          X
 1110654-01       A.R.          3/19/2022        6/4/2022            X             X            X             X
 1111135-02       A.A.          3/18/2022       5/26/2022            X             X                          X
 1111128-01       M.V.          3/17/2022        5/9/2022            X             X                          X
 1110572-02       V.H.          3/14/2022        6/4/2022            X             X            X             X
 1110432-02       J.R.          3/14/2022       7/14/2022            X             X                          X
 1110913-02       A.C.          3/11/2022       12/5/2022            X             X                          X
 1110913-01       M.J.          3/11/2022      10/18/2022            X             X                          X
 1110450-02       A.D.           3/9/2022        6/9/2022            X             X            X             X
 1109479-02       D.J.          2/19/2022       8/28/2022                                       X             X
 1109479-01        J.F.         2/19/2022       7/14/2022            X             X                          X
 1110111-03       J.T.          2/17/2022       12/3/2022            X             X            X             X
 1109640-04       S.F.          2/10/2022       4/24/2022                          X            X             X
 1109640-03       M.W.          2/10/2022        5/1/2022                          X                          X
 1109425-02       D.S.           2/9/2022       9/20/2022            X             X                          X
 1109140-02       S.B.           2/6/2022       6/15/2022            X             X                          X
 1108752-02       M.B.          1/29/2022       6/28/2022            X             X            X             X
 1109882-02       A.M.          1/26/2022       4/28/2022            X             X            X             X
 1109494-01       F.R.          1/22/2022       3/16/2022                          X                          X
 1108340-02       O.F.          1/22/2022       7/12/2023                          X            X             X
 1107977-03       G.B.          1/12/2022       8/20/2022            X             X            X             X
 1108155-01       Y.W.          1/11/2022       4/15/2022                                       X             X
 1108920-02       E.V.          1/10/2022       4/18/2022            X             X                          X
 1108920-01       S.V.          1/10/2022       3/23/2022            X             X            X             X
 1108712-02       J.L.           1/6/2022       12/8/2022            X             X            X             X
 1108510-03       Y.B.           1/6/2022       4/22/2022            X             X                          X
 1108444-02       D.H.           1/5/2022       5/27/2022            X             X                          X
 1108343-04       B.O.           1/3/2022       3/25/2022            X             X                          X
 1107243-02       M.D.         12/17/2021        6/5/2022            X             X                          X
 1107915-01       C.G.         12/16/2021       8/25/2022            X             X                          X
 1106813-02       R.C.         12/15/2021       4/14/2022                          X            X             X
                                                            1 of 7                                                 Exhibit 5
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                                                  2009
                       American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
 Representative Sample of Covered Persons Who Purportedly Underwent Arthroscopic Surgeries and/ or Interventional
     Pain Management Procedures Despite Injuries Not Being Causally Related to Purported Automobile Collision
                                             Initial Visit to                               Discectomy/
Claim Number Covered Person   Date of Loss                       Arthroscopy   Injections                 Anesthesia
                                                  ASC                                          IDET
 1106813-01       L.B.         12/15/2021       3/21/2022                          X            X             X
 1107501-02       K.A.         12/13/2021       8/19/2022            X             X                          X
 1107356-01       E.V.          12/4/2021       3/29/2022            X             X                          X
 1107615-01       M.P.          12/2/2021       2/22/2022            X             X            X             X
 1106162-02       Y.L.         11/30/2021       9/30/2022                          X            X             X
 1105961-02       A.R.         11/25/2021      12/17/2021            X             X            X             X
 1105872-02        I.S.        11/19/2021       3/25/2022            X             X                          X
 1105751-01       E.P.         11/19/2021       1/30/2022            X             X                          X
 1106524-05       J.H.         11/18/2021        1/9/2022            X             X            X             X
 1106233-02       C.M.         11/12/2021       2/19/2022            X             X                          X
 1106128-07       A.A.          11/9/2021       1/31/2022            X             X                          X
 1106128-01       T.A.          11/9/2021      12/12/2021            X             X            X             X
 1105535-01       J.A.          11/8/2021       1/25/2022            X             X                          X
 1105285-10       M.C.          11/6/2021       5/26/2022                                       X             X
 1106424-01       M.W.          11/3/2021       2/23/2022            X             X            X             X
 1104806-01       D.C.          11/1/2021       5/19/2022            X             X                          X
 1105519-01       J.M.         10/27/2021        7/8/2022            X             X                          X
 1104159-02       G.P.         10/19/2021       2/11/2022                          X                          X
 1105004-02       G.C.         10/17/2021        2/7/2022            X             X            X             X
 1103997-03       J.V.         10/12/2021      12/29/2021                          X            X             X
 1103997-02       D.D.         10/12/2021      12/21/2021            X             X                          X
 1104602-02       L.E.          10/5/2021       2/21/2022            X             X            X             X
 1104088-02       B.R.          9/24/2021      11/24/2021            X             X                          X
 1103353-02       D.N.          9/20/2021      11/29/2021            X                                        X
 1102873-01       S.M.          9/18/2021        3/2/2022                          X            X             X
 1103022-02       R.D.          9/17/2021       3/12/2022            X             X                          X
 1103304-02       G.T.           9/6/2021       3/20/2022            X             X                          X
 1102876-02        J.J.         8/27/2021       1/28/2022            X             X                          X
 1102089-01       A.D.          8/25/2021       3/10/2022            X             X                          X
 1101872-02       W.G.          8/17/2021       12/3/2021            X             X                          X
 1101632-01       F.A.          8/12/2021       12/5/2021                          X            X             X
 1101534-08       J.L.           8/2/2021       10/5/2021            X             X                          X
 1100952-01       M.P.           8/1/2021       10/9/2021            X             X
 1101257-01       F.B.          7/21/2021       1/23/2022            X             X                          X
 1101107-02       L.B.          7/14/2021      10/28/2021                          X                          X
 1101107-01       C.L.          7/14/2021      12/20/2021            X             X            X             X
 1101045-02       V.F.          7/11/2021      10/28/2022            X             X                          X
 1100817-01       W.R.          7/11/2021       10/9/2021            X             X                          X
 1100447-02       R.G.           7/3/2021       9/12/2021            X                                        X
 1099821-03       D.G.           7/1/2021       12/2/2021            X             X                          X
 1099855-02       J.P.          6/30/2021      10/24/2021                          X                          X
 1099637-01       D.W.          6/28/2021        8/1/2021            X             X            X             X
 1099805-02       J.G.          6/22/2021       2/16/2022                          X                          X
 1099921-04       T.Y.          6/14/2021       8/28/2021            X             X                          X
 1099687-02        J.J.         6/11/2021        9/3/2021                          X            X             X
 1099324-01       G.G.          6/11/2021       7/18/2021            X             X                          X
 1099125-02       N.J.          6/10/2021       7/26/2021            X             X            X             X
 1098577-02       C.A.           6/5/2021       8/13/2021                          X            X             X
 1098874-02       J.A.           6/2/2021       7/30/2021            X             X            X             X
 1099986-02       E.R.          5/30/2021      10/20/2021            X             X            X             X
 1098229-01       E.J.          5/27/2021       8/27/2021                          X            X             X
 1098969-01       S.R.          5/26/2021       8/21/2021                          X                          X
 1098358-01       O.C.          5/25/2021      10/27/2021                          X            X             X
 1098393-02       R.L.          5/22/2021       9/11/2021            X             X
 1098393-01       T.L.          5/22/2021       1/21/2022            X             X                          X
 1098035-01       I.M.          5/19/2021       8/11/2021            X             X                          X
 1097977-01       B.A.          5/19/2021      10/15/2021            X             X                          X
 1098760-01       C.S.          5/17/2021       6/27/2021            X             X            X             X
 1097837-02       R.O.          5/15/2021       9/15/2021                          X            X             X
 1098541-01       L.S.          5/12/2021       8/10/2021            X             X                          X
 1098106-03       C.W.          5/12/2021       11/7/2021                          X            X             X
 1097540-07       L.C.           5/3/2021       7/26/2021            X             X                          X
 1097540-02       R.C.           5/3/2021       8/23/2021            X             X                          X
 1098464-02       U.V.           5/2/2021      10/15/2021            X             X            X             X
 1097300-02       V.D.           5/2/2021       9/27/2021                          X                          X
 1097990-01       D.T.          4/29/2021       8/19/2021            X                                        X
 1096770-01       M.P.          4/24/2021       7/27/2021            X             X                          X
 1096992-02       J.G.          4/22/2021       6/27/2021            X             X                          X
                                                            2 of 7                                                 Exhibit 5
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                                                  2010
                       American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
 Representative Sample of Covered Persons Who Purportedly Underwent Arthroscopic Surgeries and/ or Interventional
     Pain Management Procedures Despite Injuries Not Being Causally Related to Purported Automobile Collision
                                             Initial Visit to                               Discectomy/
Claim Number Covered Person   Date of Loss                       Arthroscopy   Injections                 Anesthesia
                                                  ASC                                          IDET
 1096959-01       I.B.          4/16/2021       6/20/2021            X             X                          X
 1096685-02       S.H.          4/15/2021       10/3/2022                          X                          X
 1096543-01       E.J.          4/12/2021        2/2/2022            X             X                          X
 1096477-03       T.B.           4/6/2021       9/17/2021                          X            X             X
 1096330-01       T.S.           4/6/2021       4/29/2022                          X            X             X
 1096209-02       A.R.           4/3/2021        6/3/2021            X             X            X             X
 1095706-01       F.C.          3/27/2021       6/29/2023                          X                          X
 1095379-01       C.S.          3/22/2021      10/26/2021                          X            X             X
 1095487-03       L.M.          3/18/2021       5/21/2021            X             X                          X
 1096383-02       K.V.          3/17/2021       6/11/2021            X             X                          X
 1095431-01       R.M.          3/17/2021       7/23/2021            X             X                          X
 1095556-04       K.F.          3/11/2021        5/3/2021            X             X                          X
 1095015-02       T.B.           3/8/2021       8/16/2021                          X            X             X
 1096069-02       K.F.           3/7/2021      11/15/2021            X             X                          X
 1094993-04       L.M.           3/5/2021       4/10/2021            X             X                          X
 1095155-03       J.N.           3/2/2021       5/23/2021            X             X                          X
 1094755-01       J.C.          2/26/2021       7/16/2021            X             X
 1094696-02       K.D.          2/22/2021       7/10/2021                          X            X             X
 1094898-01       M.M.          2/16/2021        8/5/2021            X             X                          X
 1094699-05       M.N.          2/13/2021       8/21/2021            X             X                          X
 1094315-05       J.W.           2/8/2021       3/14/2021            X             X                          X
 1094291-01       C.P.           2/7/2021        6/4/2021            X             X                          X
 1094524-02       M.L.           2/5/2021        5/2/2021            X             X            X             X
 1094524-01       E.L.           2/5/2021        5/2/2021                          X            X             X
 1094622-01       S.S.           2/4/2021      11/20/2022                          X
 1094795-01       F.A.           2/3/2021        5/6/2021                          X                          X
 1093656-02       J.R.           2/2/2021       3/25/2021            X             X
 1093791-01       S.P.           2/1/2021       4/19/2021            X             X                          X
 1093720-01       S.B.          1/26/2021        8/3/2021            X             X                          X
 1093509-02       E.L.          1/21/2021       5/21/2021            X             X                          X
 1093292-01       K.A.          1/10/2021        5/2/2021            X             X                          X
 1093367-01       D.A.           1/7/2021        4/3/2021            X             X            X             X
 1093122-01       S.S.           1/7/2021       4/11/2021            X             X                          X
 1093069-01       A.P.           1/3/2021       5/20/2021            X             X            X             X
 1092489-01       M.L.           1/2/2021       4/19/2021            X             X                          X
 1092643-01       M.R.           1/1/2021       3/16/2021            X             X            X             X
 1092209-02       S.F.         12/17/2020       5/11/2021            X             X                          X
 1092121-01       F.F.          12/7/2020       4/30/2021            X             X            X             X
 1091975-01       E.P.         11/28/2020       7/30/2021            X             X                          X
 1091173-01       A.M.         11/28/2020       2/22/2021            X             X            X             X
 1092077-02       A.M.         11/25/2020        3/1/2021            X             X            X             X
 1091346-01       B.K.         11/25/2020        2/8/2021            X             X            X             X
 1091894-02       S.H.         11/23/2020        3/5/2021            X             X                          X
 1091406-01       A.Q.         11/19/2020        4/6/2021            X             X            X             X
 1091037-03       R.B.         11/12/2020       3/23/2021            X             X            X             X
 1091037-01       S.N.         11/12/2020       7/31/2021            X             X                          X
 1091010-05       C.M.         11/12/2020      11/10/2021            X             X                          X
 1092375-02       A.P.         11/11/2020        4/2/2021            X             X            X             X
 1090665-02       K.D.         11/10/2020      12/13/2020            X             X            X             X
 1090841-01       F.O.          11/5/2020       5/14/2021            X             X            X             X
 1091174-02       K.R.          11/3/2020        2/3/2021            X             X                          X
 1090347-04       A.M.          11/3/2020       1/23/2021            X             X                          X
 1090347-02       A.R.          11/3/2020       1/23/2021            X             X                          X
 1090287-01       S.M.         10/30/2020       3/18/2021            X             X                          X
 1090367-01       M.S.         10/29/2020        1/8/2021            X             X                          X
 1089563-02       Y.C.         10/20/2020        8/6/2021            X             X                          X
 1090430-01       W.A.         10/18/2020        3/3/2021            X             X                          X
 1090061-02       A.G.         10/12/2020      12/23/2020            X             X                          X
 1089543-04       S.R.          10/5/2020       1/24/2022                          X            X             X
 1089158-03       W.E.          10/5/2020      12/15/2020            X             X                          X
 1088976-01       S.A.          9/29/2020      12/22/2020            X             X            X             X
 1088621-03       C.S.          9/10/2020      10/21/2020            X             X            X             X
 1088621-01       W.G.          9/10/2020      12/13/2020            X             X                          X
 1087721-01       L.E.          8/31/2020      10/26/2021            X             X                          X
 1088111-01       J.C.          8/28/2020       11/7/2020                          X                          X
 1087445-01       A.B.          8/21/2020       11/5/2020                          X                          X
 1087420-02       A.B.          8/14/2020       8/19/2021            X             X                          X
 1087260-02       S.C.          8/10/2020      11/10/2020            X             X                          X
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                       American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
 Representative Sample of Covered Persons Who Purportedly Underwent Arthroscopic Surgeries and/ or Interventional
     Pain Management Procedures Despite Injuries Not Being Causally Related to Purported Automobile Collision
                                             Initial Visit to                               Discectomy/
Claim Number Covered Person   Date of Loss                       Arthroscopy   Injections                 Anesthesia
                                                  ASC                                          IDET
 1087618-02       J.M.           8/9/2020       9/25/2020            X             X            X             X
 1087564-02       A.P.           8/9/2020       4/11/2021            X             X                          X
 1088528-02       F.F.           8/8/2020       12/7/2020            X                                        X
 1086669-02       S.H.           8/4/2020      11/17/2020            X             X                          X
 1086993-03       E.Y.           8/3/2020       11/8/2020            X             X
 1086993-02       M.R.           8/3/2020       9/10/2020            X                                        X
 1086540-01        I.P.          8/2/2020      10/27/2021            X             X                          X
 1086973-01       B.D.          7/31/2020       11/6/2020                          X            X             X
 1086810-01       F.L.          7/31/2020        3/9/2021            X             X
 1087056-02       D.C.          7/28/2020        9/9/2020                          X                          X
 1087044-02       F.B.          7/20/2020       9/13/2020            X             X                          X
 1085582-02       R.A.           7/6/2020       10/2/2020            X             X            X             X
 1085901-02       A.M.           7/5/2020       10/7/2020            X             X            X             X
 1085042-01       Y.R.          6/25/2020      10/31/2020                          X                          X
 1085172-01       E.P.          6/24/2020        8/6/2020            X             X            X             X
 1085037-01       C.P.          6/23/2020        8/6/2020            X             X                          X
 1085204-01       A.A.          6/22/2020       9/17/2020                          X            X             X
 1085052-01       I.K.          6/18/2020       4/15/2021            X             X                          X
 1085003-02       L.F.          6/18/2020       12/3/2020            X             X
 1085720-02       K.W.          6/17/2020      11/13/2020                          X
 1085337-02       L.D.          6/16/2020       4/13/2021            X             X                          X
 1084874-01       P.Z.          6/16/2020      10/23/2020                          X                          X
 1085397-02       J.M.          6/11/2020       11/7/2020                          X                          X
 1085022-02       W.R.           6/8/2020       10/2/2020            X             X            X             X
 1084810-02       C.G.           6/8/2020       9/27/2020                          X            X             X
 1084807-02       S.D.           6/8/2020       7/16/2020            X             X                          X
 1084539-01       E.L.           6/4/2020       9/15/2020            X             X                          X
 1084565-03       A.C.          5/31/2020       7/19/2020            X             X                          X
 1084476-02       A.C.          5/29/2020       6/25/2021            X             X                          X
 1084656-01       A.H.          5/28/2020       8/19/2020            X             X                          X
 1083977-01       R.C.          5/13/2020       9/17/2020                          X                          X
 1084000-01       A.N.           5/9/2020       8/31/2020                          X                          X
 1083935-03       M.C.           5/3/2020        3/9/2021                          X                          X
 1083502-01       J.G.          4/22/2020       7/25/2020            X             X                          X
 1083478-02       S.A.          4/13/2020       6/22/2020            X             X                          X
 1083343-01       A.S.           4/6/2020       4/23/2021            X             X                          X
 1083389-01       L.L.          3/24/2020        7/1/2020            X             X                          X
 1083183-02       C.I.          3/11/2020        8/5/2020            X             X                          X
 1082253-02       K.L.          3/11/2020       8/19/2020            X             X                          X
 1082072-01       B.J.           3/8/2020      12/22/2020            X             X                          X
 1081815-02       J.R.           3/3/2020        8/7/2020            X             X                          X
 1081185-02       A.H.          2/27/2020       5/21/2020            X             X                          X
 1081185-01       F.M.          2/27/2020       5/21/2020            X             X                          X
 1081015-03       J.R.          2/19/2020       8/16/2020            X             X                          X
 1081345-03       H.M.          2/17/2020       3/18/2021            X             X                          X
 1081345-02       G.M.          2/17/2020       3/18/2021            X             X                          X
 1079659-02       S.T.           2/8/2020      10/15/2020            X             X                          X
 1079736-01       R.M.           2/7/2020       1/18/2021            X             X                          X
 1080613-04       A.L.           2/6/2020       1/20/2021            X             X                          X
 1079681-01       S.F.          1/30/2020       7/15/2020            X             X            X             X
 1079345-02       T.W.          1/30/2020       8/19/2020            X             X                          X
 1079031-01       B.S.          1/21/2020      10/13/2020            X             X                          X
 1078111-01       F.P.          1/13/2020       3/17/2020            X             X                          X
 1078211-02       T.M.          1/11/2020       2/24/2020            X             X                          X
 1078022-02       J.R.          1/10/2020       7/22/2020                          X                          X
 1077803-04       V.J.           1/6/2020        3/5/2020            X             X                          X
 1077803-03       E.M.           1/6/2020       2/18/2020            X             X                          X
 1077707-01       K.F.         12/28/2019       3/17/2020            X             X            X             X
 1077130-02       S.R.         12/27/2019       2/22/2020            X             X                          X
 1077130-01       P.G.         12/27/2019      12/29/2020            X             X                          X
 1078716-01       M.J.         12/25/2019        3/3/2020                          X            X             X
 1076224-04       L.A.         12/25/2019        4/2/2021            X             X            X             X
 1076568-02       Y.R.         12/20/2019        3/6/2020            X             X                          X
 1077879-01       R.P.         12/19/2019       10/5/2020            X             X                          X
 1075951-02       S.T.         12/19/2019       7/13/2021            X             X                          X
 1077685-01       A.B.         12/18/2019       3/15/2021            X             X                          X
 1076082-01       V.C.         12/18/2019       2/10/2020            X             X                          X
 1075442-04       D.M.         12/15/2019       1/28/2020            X             X                          X
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                       American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
 Representative Sample of Covered Persons Who Purportedly Underwent Arthroscopic Surgeries and/ or Interventional
     Pain Management Procedures Despite Injuries Not Being Causally Related to Purported Automobile Collision
                                             Initial Visit to                               Discectomy/
Claim Number Covered Person   Date of Loss                       Arthroscopy   Injections                 Anesthesia
                                                  ASC                                          IDET
 1075624-01       J.G.         12/10/2019       2/24/2020            X             X                          X
 1075235-02       O.G.          12/8/2019      12/21/2020            X             X                          X
 1076314-01       P.A.          12/7/2019       9/12/2021            X             X                          X
 1075534-01       S.M.          12/4/2019        3/8/2020                          X                          X
 1074515-01       E.F.         11/27/2019        3/2/2020            X             X                          X
 1074585-01       C.D.         11/25/2019       11/8/2020            X             X            X             X
 1074583-02       Y.T.         11/23/2019        2/4/2020            X             X                          X
 1074602-03       G.L.         11/22/2019       8/19/2020            X             X            X             X
 1075251-01       R.R.         11/21/2019        2/6/2020            X             X                          X
 1075017-01       D.R.         11/21/2019      10/21/2020                                       X             X
 1073920-01       E.S.         11/15/2019        2/6/2020            X             X                          X
 1073797-02       M.G.         11/15/2019       1/23/2020            X             X                          X
 1074329-02       S.R.         11/14/2019       6/30/2020            X             X                          X
 1074617-01       I.H.         11/13/2019       11/9/2020            X             X                          X
 1074099-04       E.K.         11/11/2019       1/30/2020            X             X                          X
 1073573-01       J.G.          11/5/2019       11/8/2020            X             X            X             X
 1072808-01       H.M.          11/4/2019       8/24/2020            X             X                          X
 1072767-01       G.L.          11/4/2019       2/20/2020            X             X                          X
 1073096-01       M.C.          11/2/2019        2/4/2020                          X                          X
 1073596-01       A.F.          11/1/2019        3/9/2020                          X                          X
 1073072-04       L.S.         10/30/2019       2/25/2020            X             X                          X
 1072245-01       F.R.         10/30/2019       3/13/2020            X             X                          X
 1072166-02       C.A.         10/28/2019       1/20/2020                                                     X
 1072166-01       K.S.         10/28/2019       1/20/2020                          X                          X
 1072847-03       Y.S.         10/26/2019       1/17/2020            X             X                          X
 1072847-02       J.R.         10/26/2019        2/2/2020            X                                        X
 1072847-01       A.G.         10/26/2019       1/17/2020            X             X                          X
 1071231-01       J.Q.         10/20/2019       3/10/2020            X             X            X             X
 1071626-02       S.D.         10/19/2019       1/24/2020            X             X                          X
 1074784-02       B.G.         10/16/2019       2/12/2020            X             X                          X
 1071748-05       D.V.         10/16/2019      11/16/2019            X             X                          X
 1071748-01       A.H.         10/16/2019       8/18/2020            X             X
 1071168-02       B.N.         10/16/2019        2/4/2020                                       X             X
 1071252-02       G.R.         10/12/2019      12/19/2019            X             X                          X
 1070780-01       J.R.         10/11/2019        9/9/2020            X             X                          X
 1070782-01       F.L.          10/8/2019        1/3/2020            X             X                          X
 1070584-02       H.J.          10/3/2019      12/12/2019            X             X                          X
 1070193-01       S.K.          10/2/2019        2/8/2020            X             X                          X
 1068692-01       J.V.          9/24/2019      12/11/2020            X             X                          X
 1068628-01       I.K.          9/24/2019       12/6/2019            X             X                          X
 1070415-02       W.F.          9/21/2019      12/11/2019            X             X                          X
 1069522-01       D.C.          9/19/2019       7/24/2020            X             X            X             X
 1068964-03       T.C.          9/19/2019        3/9/2020            X             X            X             X
 1068228-02       C.M.          9/16/2019        1/8/2020            X             X                          X
 1067982-02        J.S.         9/14/2019        2/6/2020                          X                          X
 1067739-02       K.H.           9/5/2019      10/11/2019            X
 1066344-02       E.M.          8/18/2019      11/21/2020                          X            X             X
 1066559-03       C.R.          8/11/2019      10/22/2019            X             X            X             X
 1064985-03       S.W.          7/26/2019       9/24/2019            X             X                          X
 1064245-02       M.C.          7/19/2019       11/6/2019            X             X                          X
 1063209-01       H.B.          7/12/2019      12/11/2019            X             X                          X
 1063030-02       Y.D.           7/3/2019       10/4/2019            X             X                          X
 1062523-04       C.C.          6/30/2019      11/20/2019            X             X                          X
 1062720-01       D.S.          6/26/2019       9/19/2019            X             X                          X
 1061478-02       C.J.          6/20/2019       8/14/2019                                                     X
 1061478-01       C.C.          6/20/2019       8/14/2019                          X                          X
 1060916-01       J.C.          6/18/2019       7/19/2019            X             X                          X
 1062086-01       E.A.          6/17/2019       11/9/2019                          X                          X
 1060849-01       M.M.          6/14/2019       8/13/2020            X             X                          X
 1061490-02       G.W.          6/13/2019       11/6/2019            X             X                          X
 1062096-01       F.A.          6/10/2019       8/24/2019            X             X                          X
 1061755-01       A.J.           6/8/2019       8/26/2019            X             X                          X
 1060850-01       L.L.           6/7/2019       8/27/2019                          X                          X
 1060145-03       D.M.           6/5/2019       12/5/2019            X             X                          X
 1059994-01       L.W.           6/2/2019       8/14/2019            X             X                          X
 1059995-01       A.A.          5/31/2019        9/3/2019            X             X                          X
 1061629-01       C.K.          5/29/2019       2/16/2021            X             X                          X
 1061573-01       T.W.          5/29/2019       8/30/2019            X                                        X
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                       American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
 Representative Sample of Covered Persons Who Purportedly Underwent Arthroscopic Surgeries and/ or Interventional
     Pain Management Procedures Despite Injuries Not Being Causally Related to Purported Automobile Collision
                                             Initial Visit to                               Discectomy/
Claim Number Covered Person   Date of Loss                       Arthroscopy   Injections                 Anesthesia
                                                  ASC                                          IDET
 1059634-02       C.A.          5/28/2019       8/10/2019            X             X                          X
 1059712-01       L.N.          5/24/2019       8/26/2019            X             X                          X
 1059175-03       L.R.          5/23/2019       9/20/2019                          X
 1059175-02       F.R.          5/23/2019        8/7/2019                          X                          X
 1059746-01       Z.A.          5/22/2019       6/30/2019            X             X                          X
 1059993-02       S.P.          5/21/2019       9/17/2019                          X                          X
 1059796-01       Z.J.          5/20/2019       12/4/2020                          X            X             X
 1058923-02       M.P.          5/17/2019        8/6/2019            X             X                          X
 1060958-02       A.U.          5/16/2019       9/10/2019            X             X                          X
 1059412-01       R.M.          5/11/2019       1/28/2020            X             X                          X
 1059309-02       E.R.          5/11/2019        1/4/2020                          X            X             X
 1057987-01       A.C.           5/9/2019       2/25/2020            X             X                          X
 1059889-02       S.A.           5/7/2019       6/18/2020            X             X                          X
 1059889-01       S.A.           5/7/2019       5/21/2020            X             X                          X
 1057448-03       C.C.           5/4/2019       1/23/2020            X             X                          X
 1057696-02       A.A.           5/2/2019        7/8/2019            X             X                          X
 1057240-02       A.R.           5/1/2019       6/18/2019            X             X                          X
 1057536-02       J.H.          4/28/2019       7/30/2019            X             X            X             X
 1060467-01       V.P.          4/25/2019       7/19/2019            X             X                          X
 1056650-01       J.Y.          4/24/2019       1/28/2020                          X
 1057644-02       C.M.          4/20/2019       6/22/2021                          X            X             X
 1055852-01       L.O.           4/8/2019       6/11/2022            X             X                          X
 1055401-02       J.L.           4/8/2019       6/24/2019            X             X                          X
 1056753-02       A.M.           4/6/2019       5/21/2019            X             X                          X
 1056753-01       L.K.           4/6/2019        6/4/2019            X             X                          X
 1055339-01       R.R.           4/6/2019       8/26/2019            X             X                          X
 1054877-03       J.P.           4/2/2019       9/16/2019            X             X                          X
 1054877-01       J.R.           4/2/2019       6/18/2019            X             X            X             X
 1054743-01       A.L.           4/1/2019        9/7/2019                          X                          X
 1056349-02       S.L.          3/28/2019       6/11/2019                          X            X             X
 1055775-01       D.I.          3/25/2019       7/16/2019            X             X                          X
 1054882-02       M.R.          3/23/2019      10/18/2019            X             X            X             X
 1056412-01       R.R.          3/22/2019        1/8/2020            X             X                          X
 1055096-01       B.C.          3/22/2019       6/14/2019            X             X                          X
 1054991-02       R.D.          3/21/2019       7/11/2019            X             X                          X
 1055052-02       S.R.          3/16/2019      12/23/2019                          X                          X
 1053852-01       D.S.          3/15/2019        7/3/2019            X             X                          X
 1053477-01       D.B.          3/13/2019       7/25/2019            X             X                          X
 1052896-02       C.R.           3/9/2019       6/29/2019                          X                          X
 1053956-02       B.M.           3/8/2019       4/30/2019            X             X                          X
 1053213-01       A.S.           3/7/2019       6/10/2019            X             X                          X
 1054600-02       S.E.           3/5/2019       10/8/2019            X             X            X             X
 1052726-01       S.C.           3/5/2019        4/8/2021            X             X                          X
 1051266-02       S.S.          2/16/2019       4/20/2019                          X                          X
 1051654-02       C.A.          2/10/2019       4/27/2019            X             X                          X
 1049538-04       S.K.          1/26/2019       7/25/2019                          X            X             X
 1049667-03       T.L.          1/24/2019       7/11/2019            X             X                          X
 1049217-02       M.W.          1/22/2019        5/7/2019            X             X            X             X
 1049217-01       A.J.          1/22/2019        4/1/2019            X             X            X             X
 1048499-01       J.E.          1/13/2019       2/27/2019            X             X                          X
 1048465-02       L.L.          1/12/2019       4/23/2019            X             X                          X
 1049536-05       J.Z.           1/6/2019       2/14/2019                                       X             X
 1049536-02       A.F.           1/6/2019       2/14/2019                          X            X             X
 1048989-02       A.M.           1/6/2019       2/19/2019            X             X            X             X
 1049299-02       T.K.           1/5/2019       6/21/2019            X                                        X
 1048497-01       V.V.           1/1/2019        4/4/2019            X             X                          X
 1048371-02       A.S.         12/28/2018        5/4/2019                          X                          X
 1047571-02       W.C.         12/21/2018       5/24/2019            X             X                          X
 1047571-01       A.D.         12/21/2018        4/5/2019            X             X                          X
 1046815-02       K.A.         12/20/2018       5/16/2019            X                                        X
 1045746-01       Z.E.          12/6/2018       4/12/2021            X             X                          X
 1047477-01       J.M.          12/2/2018       3/19/2019            X             X                          X
 1045203-01       M.E.         11/24/2018       5/28/2019            X             X                          X
 1044402-01       Y.M.         11/16/2018       3/19/2019            X             X                          X
 1045895-04       J.A.         11/14/2018        4/5/2019            X             X                          X
 1045895-02       J.P.         11/14/2018       1/25/2019            X             X                          X
 1045895-01       R.N.         11/14/2018        2/8/2019            X             X                          X
 1043436-01       J.R.          11/2/2018       1/15/2019            X             X                          X
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 Representative Sample of Covered Persons Who Purportedly Underwent Arthroscopic Surgeries and/ or Interventional
     Pain Management Procedures Despite Injuries Not Being Causally Related to Purported Automobile Collision
                                             Initial Visit to                               Discectomy/
Claim Number Covered Person   Date of Loss                       Arthroscopy   Injections                 Anesthesia
                                                  ASC                                          IDET
 1043278-04       R.I.          11/1/2018       1/22/2019            X             X                          X
 1043278-03       R.A.          11/1/2018        3/5/2019                          X                          X
 1043037-02       K.S.         10/30/2018       2/28/2019            X             X            X             X
 1042585-01       J.H.         10/30/2018       3/27/2019            X             X                          X
 1042362-01       E.R.         10/30/2018        8/3/2019            X             X            X             X
 1042952-01       R.S.         10/29/2018       3/12/2019            X             X                          X
 1042017-01       H.L.         10/24/2018        3/8/2019            X             X                          X
 1043109-01       V.L.         10/23/2018        8/2/2019            X             X                          X
 1040402-01       K.D.          10/5/2018        2/8/2019            X                                        X
 1041218-01       H.V.          10/2/2018      12/18/2018            X             X                          X
 1042035-01       E.E.          10/1/2018       11/4/2019            X             X                          X
 1039156-02       D.G.          9/17/2018      12/14/2018                                                     X
 1039156-01       T.W.          9/17/2018       7/30/2019            X             X                          X
 1038110-01       L.F.          9/11/2018       2/14/2019            X             X                          X
 1037638-03       K.B.           9/5/2018      11/18/2018            X             X                          X
 1039025-01       J.B.          8/30/2018       9/26/2019            X             X                          X
 1036760-04       T.P.          8/18/2018      12/19/2018            X             X                          X
 1036760-02       B.S.          8/18/2018       2/20/2019            X             X                          X
 1036520-02       E.L.          8/14/2018      11/17/2018                          X                          X
 1038394-01       Z.M.           8/8/2018       3/12/2019            X             X                          X
 1033233-01       C.N.          7/10/2018      10/18/2018            X             X                          X
 1032542-02       D.S.          6/27/2018       9/12/2018            X             X                          X
 1031274-01       K.P.          6/13/2018      11/30/2018                          X                          X
 1030139-02       D.R.          5/24/2018      10/19/2018            X             X                          X
 1028331-01       H.A.          5/14/2018        2/6/2019            X             X                          X
 1028065-01       K.N.          5/10/2018      10/15/2018            X             X                          X
 1028077-02       L.N.           5/2/2018       6/29/2018            X             X                          X
 1028168-01       J.L.          4/21/2018       9/25/2018            X             X                          X
 1026234-02       S.P.          4/16/2018      10/16/2018                          X                          X
 1026234-01       W.A.          4/16/2018       9/25/2018                          X                          X
 1023809-01       M.G.          3/29/2018        6/9/2018                          X                          X
 1024060-01       J.E.          3/21/2018       2/27/2020            X             X                          X
 1021668-01       R.T.          2/26/2018        2/7/2019            X             X            X             X
 1016614-02       D.P.         12/27/2017       4/16/2018            X             X                          X
 1011506-02       A.A.         11/15/2017       2/12/2018            X             X                          X
 1006312-02       J.M.          9/11/2017        3/8/2018            X             X                          X
 1003089-03       E.B.           8/7/2017      12/14/2017            X             X                          X
 1001011-02       K.K.          6/26/2017      11/12/2021                          X            X             X
  796178-06       M.S.          5/10/2017        1/3/2019            X             X                          X
  678580-03       U.F.           5/8/2017      11/30/2017            X             X                          X
  676147-02        I.P.         2/26/2017       2/12/2019            X             X                          X




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                         EXHIBIT “6”
                         EXHIBIT
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                                                        2016
                          American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
    Representative Sample of Covered Persons Who Refused or Failed to Seek Emergency Medical Attention Following an
   Automobile Collision Yet Were Subjected to Arthroscopic Surgeries and/or Interventional Pain Management Procedures
                                               Initial Visit to                                   Discectomy/
Claim Number Covered Person   Date of Loss                             Arthroscopy   Injections                 Anesthesia
                                                    ASC                                              IDET
 1001011-02       K.K.          6/26/2017        11/12/2021                              X            X             X
 1003089-03       E.B.           8/7/2017        12/14/2017                X             X                          X
 1003233-06       L.G.          7/22/2017          8/6/2019                              X                          X
 1006312-02       J.M.          9/11/2017          3/8/2018                X             X                          X
 1016614-02       D.P.         12/27/2017         4/16/2018                X             X                          X
 1021668-01       R.T.          2/26/2018          2/7/2019                X             X            X             X
 1024060-01       J.E.          3/21/2018         2/27/2020                X             X                          X
 1026234-01       W.A.          4/16/2018         9/25/2018                              X                          X
 1028077-02       L.N.           5/2/2018         6/29/2018                X             X                          X
 1028168-01       J.L.          4/21/2018         9/25/2018                X             X                          X
 1028331-01       H.A.          5/14/2018          2/6/2019                X             X                          X
 1033233-01       C.N.          7/10/2018        10/18/2018                X             X                          X
 1035354-02       S.A.           8/7/2018        12/14/2018                              X                          X
 1036520-02       E.L.          8/14/2018        11/17/2018                              X                          X
 1039025-01       J.B.          8/30/2018         9/26/2019                X             X                          X
 1040505-01       E.T.          9/16/2018         11/8/2018                              X                          X
 1043037-02       K.S.         10/30/2018         2/28/2019                X             X            X             X
 1043278-03       R.A.          11/1/2018          3/5/2019                              X                          X
 1043278-04       R.I.          11/1/2018         1/22/2019                X             X                          X
 1044402-01       Y.M.         11/16/2018         3/19/2019                X             X                          X
 1047571-01       A.D.         12/21/2018          4/5/2019                X             X                          X
 1049176-03       A.G.         12/17/2018         1/18/2023                X             X                          X
 1049536-02       A.F.           1/6/2019         2/14/2019                              X            X             X
 1049536-05       J.Z.           1/6/2019         2/14/2019                                           X             X
 1049538-04       S.K.          1/26/2019         7/25/2019                              X            X             X
 1052896-02       C.R.           3/9/2019         6/29/2019                              X                          X
 1053477-01       D.B.          3/13/2019         7/25/2019                X             X                          X
 1054922-01       L.M.          3/24/2019         7/15/2019                              X            X             X
 1054991-02       R.D.          3/21/2019         7/11/2019                X             X                          X
 1055096-01       B.C.          3/22/2019         6/14/2019                X             X                          X
 1055401-02       J.L.           4/8/2019         6/24/2019                X             X                          X
 1055775-01       D.I.          3/25/2019         7/16/2019                X             X                          X
 1056412-01       R.R.          3/22/2019          1/8/2020                X             X                          X
 1056650-01       J.Y.          4/24/2019         1/28/2020                              X
 1056753-01       L.K.           4/6/2019          6/4/2019                X             X                          X
 1056753-02       A.M.           4/6/2019         5/21/2019                X             X                          X
 1057536-02       J.H.          4/28/2019         7/30/2019                X             X            X             X
 1059746-01       Z.A.          5/22/2019         6/30/2019                X             X                          X
 1059889-01       S.A.           5/7/2019         5/21/2020                X             X                          X
 1060145-03       D.M.           6/5/2019         12/5/2019                X             X                          X
 1061412-02       M.M.          5/26/2019         9/19/2019                X             X                          X
 1061478-02       C.J.          6/20/2019         8/14/2019                                                         X
 1061629-01       C.K.          5/29/2019         2/16/2021                X             X                          X
 1062086-01       E.A.          6/17/2019         11/9/2019                              X                          X
 1062096-01       F.A.          6/10/2019         8/24/2019                X             X                          X
 1062523-04       C.C.          6/30/2019        11/20/2019                X             X                          X
 1063030-02       Y.D.           7/3/2019         10/4/2019                X             X                          X
 1064331-03       A.P.          7/26/2019         10/8/2019                X             X                          X
 1065318-01       E.J.           8/8/2019         3/26/2021                X             X                          X
 1066344-02       E.M.          8/18/2019        11/21/2020                              X            X             X
 1067739-02       K.H.           9/5/2019        10/11/2019                X
 1067982-02       J.S.          9/14/2019          2/6/2020                              X                          X
 1068692-01       J.V.          9/24/2019        12/11/2020                X             X                          X
 1069978-01       A.Y.          9/24/2019        11/27/2019                              X
 1070584-02       H.J.          10/3/2019        12/12/2019                X             X                          X
 1070780-01       J.R.         10/11/2019          9/9/2020                X             X                          X
 1071231-01       J.Q.         10/20/2019         3/10/2020                X             X            X             X
 1071748-01       A.H.         10/16/2019         8/18/2020                X             X
 1071748-05       D.V.         10/16/2019        11/16/2019                X             X                          X
 1072166-02       C.A.         10/28/2019         1/20/2020                                                         X
 1072550-01       A.B.          11/4/2019         1/30/2020                X             X                          X
 1072767-01       G.L.          11/4/2019         2/20/2020                X             X                          X
 1073596-01       A.F.          11/1/2019          3/9/2020                              X                          X
 1073920-01       E.S.         11/15/2019          2/6/2020                X             X                          X
 1074089-01       M.E.         11/30/2019         4/20/2021                              X                          X
 1074329-02       S.R.         11/14/2019         6/30/2020                X             X                          X
 1074583-02       Y.T.         11/23/2019          2/4/2020                X             X                          X
 1074602-03       G.L.         11/22/2019         8/19/2020                X             X            X             X
                                                                  1 of 3                                                Exhibit 6
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                                                        2017
                          American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
    Representative Sample of Covered Persons Who Refused or Failed to Seek Emergency Medical Attention Following an
   Automobile Collision Yet Were Subjected to Arthroscopic Surgeries and/or Interventional Pain Management Procedures
                                               Initial Visit to                                   Discectomy/
Claim Number Covered Person   Date of Loss                             Arthroscopy   Injections                 Anesthesia
                                                    ASC                                              IDET
 1075235-02       O.G.          12/8/2019        12/21/2020                X             X                          X
 1075534-01       S.M.          12/4/2019          3/8/2020                              X                          X
 1075624-01       J.G.         12/10/2019         2/24/2020                X             X                          X
 1076314-01       P.A.          12/7/2019         9/12/2021                X             X                          X
 1076407-02       F.N.           1/6/2020         2/25/2020                X             X            X             X
 1077130-01       P.G.         12/27/2019        12/29/2020                X             X                          X
 1077685-01       A.B.         12/18/2019         3/15/2021                X             X                          X
 1078022-02       J.R.          1/10/2020         7/22/2020                              X                          X
 1078121-01       S.A.          1/16/2020         5/30/2020                X             X                          X
 1079977-01       J.T.           2/8/2020        12/16/2022                X             X
 1080858-01       J.C.          2/12/2020          7/1/2020                              X                          X
 1081034-02       J.A.          2/24/2020        12/12/2020                              X                          X
 1081185-01       F.M.          2/27/2020         5/21/2020                X             X                          X
 1081185-02       A.H.          2/27/2020         5/21/2020                X             X                          X
 1083389-01       L.L.          3/24/2020          7/1/2020                X             X                          X
 1083502-01       J.G.          4/22/2020         7/25/2020                X             X                          X
 1084000-01       A.N.           5/9/2020         8/31/2020                              X                          X
 1084119-02       A.L.          5/11/2020         7/22/2020                X             X                          X
 1084539-01       E.L.           6/4/2020         9/15/2020                X             X                          X
 1084656-01       A.H.          5/28/2020         8/19/2020                X             X                          X
 1084810-02       C.G.           6/8/2020         9/27/2020                              X            X             X
 1084874-01       P.Z.          6/16/2020        10/23/2020                              X                          X
 1085037-01       C.P.          6/23/2020          8/6/2020                X             X                          X
 1085052-01       I.K.          6/18/2020         4/15/2021                X             X                          X
 1085182-01       A.N.          5/29/2020         1/21/2022                              X                          X
 1085337-02       L.D.          6/16/2020         4/13/2021                X             X                          X
 1085337-04       T.T.          6/16/2020          2/9/2021                X             X                          X
 1085397-02       J.M.          6/11/2020         11/7/2020                              X                          X
 1085805-01       J.R.          6/21/2020         11/6/2020                              X                          X
 1085949-02       S.B.          6/24/2020        12/14/2020                X                                        X
 1086270-03       C.C.          7/17/2020         8/31/2020                X             X                          X
 1086973-01       B.D.          7/31/2020         11/6/2020                              X            X             X
 1087260-02       S.C.          8/10/2020        11/10/2020                X             X                          X
 1087445-01       A.B.          8/21/2020         11/5/2020                              X                          X
 1087618-02       J.M.           8/9/2020         9/25/2020                X             X            X             X
 1087665-02       K.L.          8/15/2020        12/13/2020                X             X                          X
 1087807-02       C.P.          8/31/2020         11/9/2020                X             X                          X
 1088528-02       F.F.           8/8/2020         12/7/2020                X                                        X
 1089158-03       W.E.          10/5/2020        12/15/2020                X             X                          X
 1090061-02       A.G.         10/12/2020        12/23/2020                X             X                          X
 1090287-01       S.M.         10/30/2020         3/18/2021                X             X                          X
 1090430-01       W.A.         10/18/2020          3/3/2021                X             X                          X
 1090665-02       K.D.         11/10/2020        12/13/2020                X             X            X             X
 1091010-05       C.M.         11/12/2020        11/10/2021                X             X                          X
 1091161-03       J.P.         11/21/2020         4/24/2021                X             X                          X
 1091218-02       B.M.         11/11/2020         3/29/2021                X             X                          X
 1091982-02        S.I.        12/17/2020        10/20/2021                X             X                          X
 1092121-01       F.F.          12/7/2020         4/30/2021                X             X            X             X
 1093509-02       E.L.          1/21/2021         5/21/2021                X             X                          X
 1094755-01       J.C.          2/26/2021         7/16/2021                X             X
 1095155-03       J.N.           3/2/2021         5/23/2021                X             X                          X
 1095487-03       L.M.          3/18/2021         5/21/2021                X             X                          X
 1096921-01       S.L.          4/20/2021         7/22/2021                X             X                          X
 1096959-01       I.B.          4/16/2021         6/20/2021                X             X                          X
 1098338-03       F.M.          5/30/2021         10/6/2021                X             X                          X
 1098358-01       O.C.          5/25/2021        10/27/2021                              X            X             X
 1098393-02       R.L.          5/22/2021         9/11/2021                X             X
 1100447-02       R.G.           7/3/2021         9/12/2021                X                                        X
 1100952-01       M.P.           8/1/2021         10/9/2021                X             X
 1101107-01       C.L.          7/14/2021        12/20/2021                X             X            X             X
 1101107-02       L.B.          7/14/2021        10/28/2021                              X                          X
 1101534-08       J.L.           8/2/2021         10/5/2021                X             X                          X
 1101632-01       F.A.          8/12/2021         12/5/2021                              X            X             X
 1103304-02       G.T.           9/6/2021         3/20/2022                X             X                          X
 1105519-01       J.M.         10/27/2021          7/8/2022                X             X                          X
 1106128-07       A.A.          11/9/2021         1/31/2022                X             X                          X
 1107122-01       J.R.         12/20/2021         1/21/2022                X             X                          X
 1107356-01       E.V.          12/4/2021         3/29/2022                X             X                          X
                                                                  2 of 3                                                Exhibit 6
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                                                        2018
                          American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
    Representative Sample of Covered Persons Who Refused or Failed to Seek Emergency Medical Attention Following an
   Automobile Collision Yet Were Subjected to Arthroscopic Surgeries and/or Interventional Pain Management Procedures
                                               Initial Visit to                                   Discectomy/
Claim Number Covered Person   Date of Loss                             Arthroscopy   Injections                 Anesthesia
                                                    ASC                                              IDET
 1107615-01       M.P.          12/2/2021         2/22/2022                X             X            X             X
 1108155-01       Y.W.          1/11/2022         4/15/2022                                           X             X
 1109439-02       C.Z.           2/6/2022         3/29/2023                X             X                          X
 1109640-04       S.F.          2/10/2022         4/24/2022                              X            X             X
 1109799-02       D.R.          2/11/2022         10/7/2022                X             X                          X
 1111135-02       A.A.          3/18/2022         5/26/2022                X             X                          X
 1113404-02       C.C.          5/17/2022         9/22/2022                X             X            X             X
 1115639-04       W.S.          6/18/2022        11/20/2022                X             X                          X
 1116657-02       J.P.          7/20/2022         9/12/2022                              X            X             X
 1117516-03       J.M.           8/5/2022        11/19/2022                X             X                          X
 1117516-04       G.R.           8/5/2022        11/21/2022                              X            X             X
 1118141-01       J.H.          8/17/2022         10/6/2022                X             X                          X
 1121738-02       K.S.          11/7/2022         1/26/2023                X                                        X
 1124002-01       O.R.         12/27/2022         2/24/2023                X             X            X             X
 1124076-01       R.J.         12/30/2022         5/12/2023                X                                        X
 1126736-04       E.R.           3/4/2023         5/12/2023                X             X                          X
 676147-02         I.P.         2/26/2017         2/12/2019                X             X                          X
 922926-02        N.M.          6/27/2017         1/19/2019                              X                          X




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                         EXHIBIT “7”
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                                                       2020
                            American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
  Representative Sample of Covered Persons Discharged from ERs Visited Shortly Following Reported Accidents Without an
Objective Finding of Serious Injury Yet Subjected to Arthroscopic Surgeries and/or Interventional Pain Management Procedures
                Covered                                  Initial Visit to                               Discectomy/
Claim Number                Date of Loss   Visit to ER                      Arthroscopy    Injections                 Anesthesia
                Person                                        ASC                                          IDET
 1003079-09       L.W.         8/3/2017       8/4/2017      12/2/2017                          X            X             X
 1019827-02       R.W.        2/12/2018      2/13/2018      9/20/2019           X              X                          X
 1028065-01       K.N.        5/10/2018      5/10/2018     10/15/2018           X              X                          X
 1028331-01       H.A.        5/14/2018      5/18/2018       2/6/2019           X              X                          X
 1036380-01       R.S.        8/15/2018      8/15/2018      1/13/2019           X              X                          X
 1036765-01       Y.J.        8/26/2018      8/26/2018      7/22/2019                          X                          X
 1038110-01       L.F.        9/11/2018      9/11/2018      2/14/2019           X              X                          X
 1039138-02       D.M.        9/25/2018      9/25/2018      8/24/2019                          X
 1039156-02       D.G.        9/17/2018      9/17/2018     12/14/2018                                                     X
 1042035-01       E.E.        10/1/2018      10/1/2018      11/4/2019           X              X                          X
 1042585-01       J.H.       10/30/2018     10/30/2018      3/27/2019           X              X                          X
 1043436-01       J.R.        11/2/2018      11/2/2018      1/15/2019           X              X                          X
 1044177-01       R.A.       11/18/2018     11/19/2018     10/26/2019           X
 1045476-07       Y.L.       11/22/2018      6/15/2020      2/16/2019                          X            X             X
 1045632-01       R.N.       11/13/2018     11/13/2018       3/7/2019           X              X                          X
 1045895-01       R.N.       11/14/2018     11/14/2018       2/8/2019           X              X                          X
 1045895-02       J.P.       11/14/2018     11/14/2018      1/25/2019           X              X                          X
 1045895-04       J.A.       11/14/2018     11/14/2018       4/5/2019           X              X                          X
 1046815-02       K.A.       12/20/2018     12/23/2018      5/16/2019           X                                         X
 1046847-01       J.A.       11/20/2018     11/20/2018      2/14/2019           X              X                          X
 1047444-02       J.S.         1/1/2019       1/1/2019      6/11/2019           X              X                          X
 1048371-02       A.S.       12/28/2018     12/28/2018       5/4/2019                          X                          X
 1048465-02       L.L.        1/12/2019      1/12/2019      4/23/2019           X              X                          X
 1048499-01       J.E.        1/13/2019      1/13/2019      2/27/2019           X              X                          X
 1049217-01       A.J.        1/22/2019      1/22/2019       4/1/2019           X              X            X             X
 1051117-02       L.K.        1/29/2019      1/29/2019       1/9/2020           X              X                          X
 1051251-03       Z.F.        2/14/2019      2/14/2019      7/12/2019           X              X                          X
 1053852-01       D.S.        3/15/2019      3/16/2019       7/3/2019           X              X                          X
 1053956-02       B.M.         3/8/2019       3/8/2019      4/30/2019           X              X                          X
 1054743-01       A.L.         4/1/2019       4/1/2019       9/7/2019                          X                          X
 1055559-02       H.D.        3/23/2019      3/23/2019       5/9/2019                          X            X             X
 1057448-03       C.C.         5/4/2019       5/4/2019      1/23/2020           X              X                          X
 1057696-02       A.A.         5/2/2019       5/2/2019       7/8/2019           X              X                          X
 1059309-02       E.R.        5/11/2019      5/11/2019       1/4/2020                          X            X             X
 1059796-01       Z.J.        5/20/2019      5/20/2019      12/4/2020                          X            X             X
 1059955-01       L.M.        5/21/2019      5/21/2019      7/24/2019                          X                          X
 1059993-02       S.P.        5/21/2019      5/21/2019      9/17/2019                          X                          X
 1059994-01       L.W.         6/2/2019       6/2/2019      8/14/2019           X              X                          X
 1060850-01       L.L.         6/7/2019       6/7/2019      8/27/2019                          X                          X
 1060916-01       J.C.        6/18/2019      6/18/2019      7/19/2019           X              X                          X
 1061434-02       M.S.        6/21/2019      6/21/2019      10/6/2020           X              X                          X
 1061755-01       A.J.         6/8/2019       6/8/2019      8/26/2019           X              X                          X
 1063209-01       H.B.        7/12/2019      7/12/2019     12/11/2019           X              X                          X
 1066106-02       C.C.        8/19/2019      8/19/2019     11/23/2019           X              X            X             X
 1069497-02       J.E.        9/22/2019      9/22/2019      12/1/2019           X              X            X             X
 1070117-02       L.A.        9/24/2019      9/24/2019      7/24/2023           X              X                          X
 1070193-01       S.K.        10/2/2019      10/3/2019       2/8/2020           X              X                          X
 1071739-01        J.J.      10/25/2019     10/25/2019      2/13/2020                          X                          X
 1074099-04       E.K.       11/11/2019     11/11/2019      1/30/2020           X              X                          X
 1074784-02       B.G.       10/16/2019     10/16/2019      2/12/2020           X              X                          X
 1075080-02       M.S.       11/25/2019     11/25/2019       3/1/2020                                                     X
 1075095-02       K.V.        12/2/2019      12/2/2019      2/21/2020           X              X                          X
 1075442-04       D.M.       12/15/2019     12/15/2019      1/28/2020           X              X                          X
 1077843-02       T.D.        1/14/2020      1/14/2020     11/11/2020           X              X                          X
 1077876-03       F.T.        1/12/2020      1/12/2020      9/19/2020           X              X                          X
 1078217-01       M.C.         1/7/2020       1/7/2020      7/15/2020           X              X                          X
 1079031-01       B.S.        1/21/2020      1/21/2020     10/13/2020           X              X                          X
 1079681-01       S.F.        1/30/2020      1/30/2020      7/15/2020           X              X            X             X
 1080232-02       P.L.        2/24/2020      2/25/2020     10/31/2020           X              X                          X
 1081345-03       H.M.        2/17/2020      2/17/2020      3/18/2021           X              X                          X
 1083977-01       R.C.        5/13/2020      5/14/2020      9/17/2020                          X                          X
 1084296-01       A.B.        5/19/2020      5/19/2020     11/23/2020           X              X                          X
 1084476-02       A.C.        5/29/2020      5/31/2020      6/25/2021           X              X                          X
 1084567-04       A.C.        5/19/2020      5/19/2020      7/19/2020                                                     X
 1084811-01       M.S.         6/4/2020       6/4/2020       1/8/2021           X              X                          X
 1085022-02       W.R.         6/8/2020       6/9/2020      10/2/2020           X              X            X             X
 1085204-01       A.A.        6/22/2020      6/22/2020      9/17/2020                          X            X             X
 1086669-02       S.H.         8/4/2020       8/4/2020     11/17/2020           X              X                          X

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                                                       2021
                            American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
  Representative Sample of Covered Persons Discharged from ERs Visited Shortly Following Reported Accidents Without an
Objective Finding of Serious Injury Yet Subjected to Arthroscopic Surgeries and/or Interventional Pain Management Procedures
                Covered                                  Initial Visit to                               Discectomy/
Claim Number                Date of Loss   Visit to ER                      Arthroscopy    Injections                 Anesthesia
                Person                                        ASC                                          IDET
 1086810-01      F.L.         7/31/2020      7/31/2020       3/9/2021           X              X
 1087056-02      D.C.         7/28/2020      7/28/2020       9/9/2020                          X                          X
 1087394-01      M.L.         7/30/2020      7/30/2020     12/28/2020           X              X                          X
 1087883-02      K.S.          9/7/2020       9/7/2020     10/31/2020           X              X                          X
 1088186-03      E.A.         8/30/2020      8/30/2020      3/24/2021           X              X            X             X
 1088627-03      A.J.         9/21/2020      9/21/2020     11/17/2020           X              X                          X
 1088976-01      S.A.         9/29/2020      9/29/2020     12/22/2020           X              X            X             X
 1090085-01      C.L.        10/16/2020     10/16/2020       2/3/2021           X              X                          X
 1090230-02      T.M.        10/29/2020     10/29/2020       5/5/2021                          X                          X
 1091911-03      K.D.        12/11/2020     12/11/2020       3/8/2021           X              X                          X
 1092643-01      M.R.          1/1/2021       1/1/2021      3/16/2021           X              X            X             X
 1092728-01      L.G.        12/20/2020     12/20/2020       2/6/2021                          X            X             X
 1093069-01      A.P.          1/3/2021       1/3/2021      5/20/2021           X              X            X             X
 1094531-02      S.T.          2/4/2021       2/4/2021      5/26/2022           X              X                          X
 1094696-02      K.D.         2/22/2021      2/22/2021      7/10/2021                          X            X             X
 1094699-05      M.N.         2/13/2021      2/14/2021      8/21/2021           X              X                          X
 1095015-02      T.B.          3/8/2021       3/8/2021      8/16/2021                          X            X             X
 1095162-03      P.A.         3/11/2021      3/11/2021      3/28/2022           X              X                          X
 1096069-02      K.F.          3/7/2021       3/7/2021     11/15/2021           X              X                          X
 1096209-02      A.R.          4/3/2021       4/5/2021       6/3/2021           X              X            X             X
 1096330-01      T.S.          4/6/2021       4/6/2021      4/29/2022                          X            X             X
 1096383-02      K.V.         3/17/2021      3/17/2021      6/11/2021           X              X                          X
 1096685-02      S.H.         4/15/2021      4/15/2021      10/3/2022                          X                          X
 1096992-02      J.G.         4/22/2021      4/22/2021      6/27/2021           X              X                          X
 1097664-02      M.T.          5/4/2021       5/4/2021       8/4/2021                          X                          X
 1097837-02      R.O.         5/15/2021      5/15/2021      9/15/2021                          X            X             X
 1097977-01      B.A.         5/19/2021      5/20/2021     10/15/2021           X              X                          X
 1098035-01      I.M.         5/19/2021      5/19/2021      8/11/2021           X              X                          X
 1098106-03      C.W.         5/12/2021      5/12/2021      11/7/2021                          X            X             X
 1098464-02      U.V.          5/2/2021       5/2/2021     10/15/2021           X              X            X             X
 1099324-01      G.G.         6/11/2021      6/11/2021      7/18/2021           X              X                          X
 1099557-01      A.A.          6/4/2021       6/4/2021       1/9/2022                          X            X             X
 1099637-01      D.W.         6/28/2021      6/29/2021       8/1/2021           X              X            X             X
 1099805-02      J.G.         6/22/2021      6/24/2021      2/16/2022                          X                          X
 1103438-02      R.R.         10/3/2021      10/3/2021     11/16/2021           X              X                          X
 1104088-02      B.R.         9/24/2021      9/24/2021     11/24/2021           X              X                          X
 1105397-01      B.L.        10/26/2021     10/26/2021      2/13/2022           X              X                          X
 1105697-02      K.H.        11/21/2021     11/21/2021      2/26/2022           X              X
 1105751-01      E.P.        11/19/2021     11/20/2021      1/30/2022           X              X                          X
 1105880-02      D.R.         11/1/2021      11/1/2021       2/2/2022           X              X                          X
 1105961-02      A.R.        11/25/2021     11/27/2021     12/17/2021           X              X            X             X
 1106813-02      R.C.        12/15/2021     12/15/2021      4/14/2022                          X            X             X
 1107915-01      C.G.        12/16/2021     12/16/2021      8/25/2022           X              X                          X
 1108340-02      O.F.         1/22/2022      1/22/2022      7/12/2023                          X            X             X
 1108712-02      J.L.          1/6/2022       1/6/2022      12/8/2022           X              X            X             X
 1108920-01      S.V.         1/10/2022      1/10/2022      3/23/2022           X              X            X             X
 1108920-02      E.V.         1/10/2022      1/10/2022      4/18/2022           X              X                          X
 1109494-01      F.R.         1/22/2022      1/25/2022      3/16/2022                          X                          X
 1110111-03      J.T.         2/17/2022      2/17/2022      12/3/2022           X              X            X             X
 1110432-02      J.R.         3/14/2022      3/14/2022      7/14/2022           X              X                          X
 1110778-01      H.M.         3/21/2022      3/22/2022       7/6/2022           X              X                          X
 1110913-02      A.C.         3/11/2022      3/11/2022      12/5/2022           X              X                          X
 1111339-01      L.M.         3/26/2022      3/26/2022      7/16/2022           X              X            X             X
 1111984-01      R.D.          4/8/2022       4/9/2022      6/14/2022           X              X            X             X
 1112680-03      N.V.          5/2/2022       5/5/2022       2/1/2023                          X            X             X
 1112746-02       I.I.        4/16/2022      4/16/2022      9/16/2022           X              X                          X
 1113717-04      H.A.         5/13/2022      5/13/2022      1/25/2023           X              X                          X
 1115188-03      L.S.         6/18/2022      6/18/2022      8/18/2022           X              X            X             X
 1115556-01      S.C.         6/11/2022      6/11/2022      7/31/2022           X              X                          X
 1116090-05      B.H.          7/7/2022       7/7/2022      8/25/2022           X              X                          X
 1116458-02      T.M.         7/23/2022      7/23/2022       9/9/2022                          X                          X
 1116657-01      E.P.         7/20/2022      7/20/2022     10/23/2022                          X            X             X
 1118679-02      D.R.          9/1/2022       9/1/2022      7/27/2023           X                                         X
 1119150-01      J.F.         8/27/2022      8/27/2022     11/29/2022           X              X                          X
 1119743-03      K.M.         9/22/2022      9/22/2022       1/3/2023           X              X            X             X
 1119813-01      D.J.         9/29/2022      9/29/2022     12/14/2022           X              X                          X
 1120043-03      J.G.         10/3/2022      10/3/2022     11/17/2022           X              X                          X
 1121836-02      C.S.        11/16/2022     11/16/2022      1/28/2023           X              X                          X

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                                                       2022
                            American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
  Representative Sample of Covered Persons Discharged from ERs Visited Shortly Following Reported Accidents Without an
Objective Finding of Serious Injury Yet Subjected to Arthroscopic Surgeries and/or Interventional Pain Management Procedures
                Covered                                  Initial Visit to                               Discectomy/
Claim Number                Date of Loss   Visit to ER                      Arthroscopy    Injections                 Anesthesia
                Person                                        ASC                                          IDET
 1123562-01       D.O.        12/7/2022      12/7/2022     8/18/2023            X                                         X
 1124202-01       A.P.         1/4/2023       1/4/2023     2/25/2023            X              X                          X
 1127791-02       N.C.        3/20/2023      3/20/2023     6/17/2023                           X            X             X
 1127839-02       J.P.         3/3/2023       3/3/2023     5/27/2023                           X            X             X
 1127969-02       H.L.        3/30/2023      3/30/2023      6/6/2023            X              X            X             X
 1140893-04       O.M.       12/26/2023     12/26/2023      2/9/2024            X              X                          X




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                         EXHIBIT “8”
                         EXHIBIT “8”
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                                                           2024
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
Representative Sample of Fraudulent Claims for Arthroscopy Notwithstanding Absence of Complaint of Pain by Covered Person
                              Concerning Subject Joint During Emergency Room Evaluation
  Claim      Covered                                                                                               Date of     Billing   Amount
                                        Provider                                         Service
 Number      Person                                                                                                Service     Code       Billed
1127969-02    H.L.        Bronx SC LLC d/b/a Empire State ASC               Arthroscopy, Knee, Surgical; With …    6/6/2023    29881     $3,026.24
1127969-02    H.L.        Bronx SC LLC d/b/a Empire State ASC               Arthroscopy, Knee, Surgical; Synov…    6/6/2023    29875     $1,472.45
1127969-02    H.L.        Bronx SC LLC d/b/a Empire State ASC                Unlisted Procedure, Arthroscopy…      6/6/2023    29999     $1,472.45
1127969-02    H.L.           Fifth Avenue Surgery Center LLC               Njx Dx/Ther Sbst Intrlmnr Lmbr/Sac…    6/15/2023    62323      $976.38
1125044-02    M.M.           Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; S…    3/3/2023    29821     $5,677.77
1125044-02    M.M.           Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; D…    3/3/2023    29823     $1,472.45
1125044-02    M.M.           Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; W…    3/3/2023    29825     $1,472.45
1125044-02    M.M.           Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; D…    3/3/2023    29826     $1,472.45
1125044-02    M.M.           Fifth Avenue Surgery Center LLC                Injection, Anesthetic Agent; Brach…    3/3/2023    64415      $979.78
1125044-02    M.M.           Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla…    3/3/2023    76942      $341.96
1120043-03    J.G.        All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; Synov…   11/17/2022   29875     $1,472.45
1120043-03    J.G.        All City Family Healthcare Center, Inc.           Arthroscopy, Knee, Surgical; With …   11/17/2022   29880     $3,026.24
1118679-02    D.R.     McCulloch Orthopaedic Surgical Services PLLC         Arthroscopy, Knee, Surgical; With …   7/27/2023    29873     $1,955.05
1118679-02    D.R.     McCulloch Orthopaedic Surgical Services PLLC         Arthroscopy, Knee, Surgical; With …   7/27/2023    29873      $209.19
1118679-02    D.R.     McCulloch Orthopaedic Surgical Services PLLC         Arthroscopy, Knee, Surgical; Synov…   7/27/2023    29875     $1,803.89
1118679-02    D.R.     McCulloch Orthopaedic Surgical Services PLLC         Arthroscopy, Knee, Surgical; Synov…   7/27/2023    29875      $193.01
1118679-02    D.R.     McCulloch Orthopaedic Surgical Services PLLC         Arthroscopy, Knee, Surgical; With …   7/27/2023    29881     $2,214.55
1118679-02    D.R.     McCulloch Orthopaedic Surgical Services PLLC         Arthroscopy, Knee, Surgical; With …   7/27/2023    29881      $236.95
1118679-02    D.R.           New Horizon Surgical Center LLC                Arthroscopy, Knee, Surgical; With …   7/27/2023    29873     $1,472.45
1118679-02    D.R.           New Horizon Surgical Center LLC                Arthroscopy, Knee, Surgical; Synov…   7/27/2023    29875     $1,472.45
1118679-02    D.R.           New Horizon Surgical Center LLC                Arthroscopy, Knee, Surgical; With …   7/27/2023    29881     $3,026.24
1114371-01    A.B.           Fifth Avenue Surgery Center LLC                Injection, Anesthetic Agent; Brach…   11/25/2022   64415      $979.78
1114371-01    A.B.           Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla…   11/25/2022   76942      $341.96
1114371-01    A.B.           Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; W…   11/25/2022   29827     $6,723.47
1114371-01    A.B.           Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; S…   11/25/2022   29821     $5,596.40
1114371-01    A.B.           Fifth Avenue Surgery Center LLC                Arthroscopy, Shoulder, Surgical; D…   11/25/2022   29823     $1,472.45
1114371-01    A.B.           Fifth Avenue Surgery Center LLC                 Unlisted Procedure, Arthroscopy…     11/25/2022   29999     $1,553.82
1108712-02    J.L.           Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; With …   12/8/2022    29880     $3,026.24
1108712-02    J.L.           Fifth Avenue Surgery Center LLC                Arthroscopy, Knee, Surgical; Synov…   12/8/2022    29875     $1,472.45
1108712-02    J.L.           Fifth Avenue Surgery Center LLC                 Unlisted Procedure, Arthroscopy…     12/8/2022    29999     $1,472.45
1108712-02    J.L.           Fifth Avenue Surgery Center LLC                Injection, Anesthetic Agent; Femor…   12/8/2022    64447      $829.30
1108712-02    J.L.           Fifth Avenue Surgery Center LLC                Ultrasonic Guidance For Needle Pla…   12/8/2022    76942      $341.96
1103438-02    R.R.             Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; W…   11/16/2021   29819      $978.79
1103438-02    R.R.             Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; W…   11/16/2021   29819      $978.79
1103438-02    R.R.             Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; S…   11/16/2021   29821      $978.79
1103438-02    R.R.             Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; S…   11/16/2021   29821      $978.79
1103438-02    R.R.             Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; D…   11/16/2021   29823     $2,065.91
1103438-02    R.R.             Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; D…   11/16/2021   29823     $2,065.91
1103438-02    R.R.             Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; W…   11/16/2021   29825     $1,030.43
1103438-02    R.R.             Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; W…   11/16/2021   29825     $1,030.43
1103438-02    R.R.             Advanced Orthopaedics PLLC                    Unlisted Procedure, Arthroscopy…     11/16/2021   29999     $2,060.87
1103438-02    R.R.             Advanced Orthopaedics PLLC                    Unlisted Procedure, Arthroscopy…     11/16/2021   29999     $2,060.87
1103438-02    R.R.             Advanced Orthopaedics PLLC                    Unlisted Procedure, Arthroscopy…     11/16/2021   29999     $1,902.15
1103438-02    R.R.             Advanced Orthopaedics PLLC                    Unlisted Procedure, Arthroscopy…     11/16/2021   29999     $1,902.15
1103438-02    R.R.             Manalapan Surgery Center Inc                 Arthroscopy, Shoulder, Surgical; W…   11/16/2021   29819     $1,472.45
1103438-02    R.R.             Manalapan Surgery Center Inc                 Arthroscopy, Shoulder, Surgical; S…   11/16/2021   29821     $5,677.77
1103438-02    R.R.             Manalapan Surgery Center Inc                 Arthroscopy, Shoulder, Surgical; D…   11/16/2021   29823     $1,472.45
1103438-02    R.R.             Manalapan Surgery Center Inc                 Arthroscopy, Shoulder, Surgical; W…   11/16/2021   29825     $1,472.45
1103438-02    R.R.             Manalapan Surgery Center Inc                  Unlisted Procedure, Arthroscopy…     11/16/2021   29999     $1,472.45
1103438-02    R.R.             Manalapan Surgery Center Inc                  Unlisted Procedure, Arthroscopy…     11/16/2021   29999     $1,472.45
1103438-02    R.R.             Manalapan Surgery Center Inc                 Injection, Anesthetic Agent; Brach…   11/16/2021   64415      $979.78
1103438-02    R.R.             Manalapan Surgery Center Inc                 Ultrasonic Guidance For Needle Pla…   11/16/2021   76942      $341.96
1099125-02    N.J.                 Sinha Orthopedics PC                     Arthrocentesis, Aspiration And/Or …   7/26/2021    20610      $168.19
1099125-02    N.J.                 Sinha Orthopedics PC                     Arthroscopy, Shoulder, Surgical; S…   7/26/2021    29821     $3,233.10
1099125-02    N.J.                 Sinha Orthopedics PC                     Arthroscopy, Shoulder, Surgical; S…   7/26/2021    29821     $3,233.10
1099125-02    N.J.                 Sinha Orthopedics PC                     Arthroscopy, Shoulder, Surgical; D…   7/26/2021    29823     $3,430.85
1099125-02    N.J.                 Sinha Orthopedics PC                     Arthroscopy, Shoulder, Surgical; D…   7/26/2021    29823     $3,430.85
1099125-02    N.J.                 Sinha Orthopedics PC                     Arthroscopy, Shoulder, Surgical; W…   7/26/2021    29825     $3,202.11
1099125-02    N.J.                 Sinha Orthopedics PC                     Arthroscopy, Shoulder, Surgical; W…   7/26/2021    29825     $3,202.11
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center        Arthroscopy, Shoulder, Surgical; S…   7/26/2021    29821     $5,677.77
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center        Arthroscopy, Shoulder, Surgical; D…   7/26/2021    29823     $1,472.45
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center        Arthroscopy, Shoulder, Surgical; W…   7/26/2021    29825     $1,472.45
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center         Unlisted Procedure, Arthroscopy…     7/26/2021    29999     $1,472.45
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center         Unlisted Procedure, Arthroscopy…     7/26/2021    29999     $1,472.45
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center        Injection, Anesthetic Agent; Brach…   7/26/2021    64415      $979.78
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center        Ultrasonic Guidance For Needle Pla…   7/26/2021    76942      $341.96
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center       Iadna Streptococcus Group B Amplif…    7/26/2021    87653       $51.33
1099125-02    N.J.     Surgicore LLC d/b/a Surgicore Surgical Center          Surgical Supply; Miscellaneous…     7/26/2021    A4649       $50.00
1099125-02    N.J.                  MSJR of Queens PC                       Arthrocentesis, Aspiration And/Or …   11/4/2021    20610       $62.99
1099125-02    N.J.                  MSJR of Queens PC                       Arthroscopy, Knee, Surgical; For R…   11/4/2021    29874     $1,892.07

                                                                       1 of 4                                                                Exhibit 8
        Case 1:24-cv-08606-JRC                Document 1-4 Filed 12/17/24                         Page 578 of 580 PageID #:
                                                          2025
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
Representative Sample of Fraudulent Claims for Arthroscopy Notwithstanding Absence of Complaint of Pain by Covered Person
                              Concerning Subject Joint During Emergency Room Evaluation
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                               Service     Code       Billed
1099125-02    N.J.                  MSJR of Queens PC                      Arthroscopy, Knee, Surgical; For R…   11/4/2021    29874     $1,892.07
1099125-02    N.J.                  MSJR of Queens PC                      Arthroscopy, Knee, Surgical; Synov…   11/4/2021    29876     $2,065.91
1099125-02    N.J.                  MSJR of Queens PC                      Arthroscopy, Knee, Surgical; Synov…   11/4/2021    29876     $2,065.91
1099125-02    N.J.                  MSJR of Queens PC                      Arthroscopy, Knee, Surgical; Abras…   11/4/2021    29879     $1,957.57
1099125-02    N.J.                  MSJR of Queens PC                      Arthroscopy, Knee, Surgical; Abras…   11/4/2021    29879     $1,957.57
1099125-02    N.J.                  MSJR of Queens PC                      Arthroscopy, Knee, Surgical; With …   11/4/2021    29880     $2,718.43
1099125-02    N.J.                  MSJR of Queens PC                      Arthroscopy, Knee, Surgical; With …   11/4/2021    29880     $2,718.43
1099125-02    N.J.                  MSJR of Queens PC                      Arthroscopy, Knee, Surgical; With …   11/4/2021    29884     $1,932.38
1099125-02    N.J.                  MSJR of Queens PC                      Arthroscopy, Knee, Surgical; With …   11/4/2021    29884     $1,932.38
1099125-02    N.J.                  MSJR of Queens PC                       Unlisted Procedure, Arthroscopy…     11/4/2021    29999     $5,000.00
1099125-02    N.J.                  MSJR of Queens PC                       Unlisted Procedure, Arthroscopy…     11/4/2021    29999     $5,000.00
1099125-02    N.J.           Fifth Avenue Surgery Center LLC               Arthrocentesis, Aspiration And/Or …   11/4/2021    20610      $473.39
1099125-02    N.J.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical; Synov…   11/4/2021    29875     $1,472.45
1099125-02    N.J.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical; Abras…   11/4/2021    29879     $1,472.45
1099125-02    N.J.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical; With …   11/4/2021    29880     $3,026.24
1099125-02    N.J.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical; With …   11/4/2021    29884     $1,472.45
1099125-02    N.J.           Fifth Avenue Surgery Center LLC                Unlisted Procedure, Arthroscopy…     11/4/2021    29999     $1,472.45
1099125-02    N.J.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical, For R…   11/4/2021    G0289     $1,472.45
1095162-03    P.A.           Fifth Avenue Surgery Center LLC               Arthroscopy, Shoulder, Surgical; S…   3/28/2022    29821     $5,677.77
1095162-03    P.A.           Fifth Avenue Surgery Center LLC               Arthroscopy, Shoulder, Surgical; D…   3/28/2022    29823     $1,472.45
1095162-03    P.A.           Fifth Avenue Surgery Center LLC               Arthroscopy, Shoulder, Surgical; W…   3/28/2022    29819     $1,472.45
1095162-03    P.A.           Fifth Avenue Surgery Center LLC               Arthroscopy, Shoulder, Surgical; W…   3/28/2022    29825     $1,472.45
1095162-03    P.A.           Fifth Avenue Surgery Center LLC               Arthroscopy, Shoulder, Surgical; D…   3/28/2022    29826     $1,472.45
1095162-03    P.A.           Fifth Avenue Surgery Center LLC               Injection, Anesthetic Agent; Brach…   3/28/2022    64415      $979.78
1095162-03    P.A.           Fifth Avenue Surgery Center LLC               Ultrasonic Guidance For Needle Pla…   3/28/2022    76942      $341.96
1090085-01    C.L.         Rockaways ASC Development LLC                   Ultrasonic Guidance For Needle Pla…    2/3/2021    76942      $341.96
1090085-01    C.L.         Rockaways ASC Development LLC                   Injection, Anesthetic Agent; Brach…    2/3/2021    64415      $979.78
1090085-01    C.L.         Rockaways ASC Development LLC                     Surgical Supply; Miscellaneous…      2/3/2021    A4649       $50.00
1090085-01    C.L.         Rockaways ASC Development LLC                   Arthrocentesis, Aspiration And/Or …    2/3/2021    20610      $473.38
1090085-01    C.L.         Rockaways ASC Development LLC                   Arthroscopy, Shoulder, Surgical; W…    2/3/2021    29819     $1,472.45
1090085-01    C.L.         Rockaways ASC Development LLC                   Arthroscopy, Shoulder, Surgical; D…    2/3/2021    29823     $1,472.45
1090085-01    C.L.         Rockaways ASC Development LLC                   Arthroscopy, Shoulder, Surgical; W…    2/3/2021    29825     $1,472.45
1090085-01    C.L.         Rockaways ASC Development LLC                    Unlisted Procedure, Arthroscopy…      2/3/2021    29999     $1,472.45
1090085-01    C.L.         Rockaways ASC Development LLC                   Arthroscopy, Shoulder, Surgical; C…    2/3/2021    29806     $2,798.20
1090085-01    C.L.         Rockaways ASC Development LLC                   Arthroscopy, Shoulder, Surgical; S…    2/3/2021    29821     $2,798.20
1090085-01    C.L.         Rockaways ASC Development LLC                   Arthroscopy, Shoulder, Surgical; W…    2/3/2021    29827     $5,677.77
1088627-03    A.J.            Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; S…   11/17/2020   29821      $978.79
1088627-03    A.J.            Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; S…   11/17/2020   29821      $978.79
1088627-03    A.J.            Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; D…   11/17/2020   29823     $2,065.91
1088627-03    A.J.            Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; D…   11/17/2020   29823     $2,065.91
1088627-03    A.J.            Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; W…   11/17/2020   29825     $1,030.43
1088627-03    A.J.            Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; W…   11/17/2020   29825     $1,030.43
1088627-03    A.J.            Advanced Orthopaedics PLLC                    Unlisted Procedure, Arthroscopy…     11/17/2020   29999     $1,902.15
1088627-03    A.J.            Advanced Orthopaedics PLLC                    Unlisted Procedure, Arthroscopy…     11/17/2020   29999     $1,902.15
1088627-03    A.J.            Manalapan Surgery Center Inc                 Arthroscopy, Shoulder, Surgical; S…   11/17/2020   29821     $5,677.77
1088627-03    A.J.            Manalapan Surgery Center Inc                 Arthroscopy, Shoulder, Surgical; D…   11/17/2020   29823     $1,472.45
1088627-03    A.J.            Manalapan Surgery Center Inc                 Arthroscopy, Shoulder, Surgical; W…   11/17/2020   29825     $1,472.45
1088627-03    A.J.            Manalapan Surgery Center Inc                  Unlisted Procedure, Arthroscopy…     11/17/2020   29999     $1,472.45
1088627-03    A.J.            Manalapan Surgery Center Inc                 Injection, Anesthetic Agent; Brach…   11/17/2020   64415      $979.78
1088627-03    A.J.            Manalapan Surgery Center Inc                 Ultrasonic Guidance For Needle Pla…   11/17/2020   76942      $341.96
1088627-03    A.J.            Manalapan Surgery Center Inc                   Surgical Supply; Miscellaneous…     11/17/2020   A4649       $50.00
1088627-03    A.J.            Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; S…   12/9/2020    29821      $978.79
1088627-03    A.J.            Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; S…   12/9/2020    29821      $978.79
1088627-03    A.J.            Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; D…   12/9/2020    29823     $2,065.91
1088627-03    A.J.            Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; D…   12/9/2020    29823     $2,065.91
1088627-03    A.J.            Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; W…   12/9/2020    29825     $1,030.43
1088627-03    A.J.            Advanced Orthopaedics PLLC                   Arthroscopy, Shoulder, Surgical; W…   12/9/2020    29825     $1,030.43
1088627-03    A.J.            Advanced Orthopaedics PLLC                    Unlisted Procedure, Arthroscopy…     12/9/2020    29999     $1,902.15
1088627-03    A.J.            Advanced Orthopaedics PLLC                    Unlisted Procedure, Arthroscopy…     12/9/2020    29999     $1,902.15
1088627-03    A.J.             Surgicore of Jersey City LLC                Arthroscopy, Shoulder, Surgical; S…   12/9/2020    29821     $5,677.77
1088627-03    A.J.             Surgicore of Jersey City LLC                Arthroscopy, Shoulder, Surgical; D…   12/9/2020    29823     $1,472.45
1088627-03    A.J.             Surgicore of Jersey City LLC                Arthroscopy, Shoulder, Surgical; W…   12/9/2020    29825     $1,472.45
1088627-03    A.J.             Surgicore of Jersey City LLC                 Unlisted Procedure, Arthroscopy…     12/9/2020    29999     $1,472.45
1088627-03    A.J.             Surgicore of Jersey City LLC                Injection, Anesthetic Agent; Brach…   12/9/2020    64415      $979.78
1088627-03    A.J.             Surgicore of Jersey City LLC                Ultrasonic Guidance For Needle Pla…   12/9/2020    76942      $341.96
1088627-03    A.J.             Surgicore of Jersey City LLC                  Surgical Supply; Miscellaneous…     12/9/2020    A4649       $50.00
1088627-03    A.J.             Surgicore of Jersey City LLC                Prosthetic Implant, Not Otherwise …   12/9/2020    L8699      $185.00
1086779-01    R.C.     McCulloch Orthopaedic Surgical Services PLLC        Arthroscopy, Knee, Surgical; Synov…    2/4/2021    29876      $221.05
1086779-01    R.C.     McCulloch Orthopaedic Surgical Services PLLC        Arthroscopy, Knee, Surgical; Synov…    2/4/2021    29876     $2,065.91
1086779-01    R.C.     McCulloch Orthopaedic Surgical Services PLLC        Arthroscopy, Knee, Surgical; With …    2/4/2021    29880      $290.87

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        Case 1:24-cv-08606-JRC                Document 1-4 Filed 12/17/24                         Page 579 of 580 PageID #:
                                                          2026
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
Representative Sample of Fraudulent Claims for Arthroscopy Notwithstanding Absence of Complaint of Pain by Covered Person
                              Concerning Subject Joint During Emergency Room Evaluation
  Claim      Covered                                                                                              Date of     Billing   Amount
                                        Provider                                        Service
 Number      Person                                                                                               Service     Code       Billed
1086779-01    R.C.     McCulloch Orthopaedic Surgical Services PLLC        Arthroscopy, Knee, Surgical; With …    2/4/2021    29880     $2,718.43
1086779-01    R.C.     McCulloch Orthopaedic Surgical Services PLLC        Arthroscopy, Knee, Surgical; With …    2/4/2021    29884      $206.76
1086779-01    R.C.     McCulloch Orthopaedic Surgical Services PLLC        Arthroscopy, Knee, Surgical; With …    2/4/2021    29884     $1,932.38
1086779-01    R.C.        Bronx SC LLC d/b/a Empire State ASC             Arthroscopy, Knee, Surgical; Synov…     2/4/2021    29875     $1,472.45
1086779-01    R.C.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy, Knee, Surgical; With …    2/4/2021    29880     $3,026.24
1086779-01    R.C.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy, Knee, Surgical; With …    2/4/2021    29884     $1,472.45
1086779-01    R.C.        Bronx SC LLC d/b/a Empire State ASC              Injection, Anesthetic Agent; Femor…    2/4/2021    64447      $829.30
1086779-01    R.C.        Bronx SC LLC d/b/a Empire State ASC             Ultrasonic Guidance For Needle Pla…     2/4/2021    76942      $341.96
1086779-01    R.C.        Bronx SC LLC d/b/a Empire State ASC                Surgical Supply; Miscellaneous…      2/4/2021    A4649       $50.00
1086779-01    R.C.        Bronx SC LLC d/b/a Empire State ASC              Arthroscopy, Knee, Surgical, For R…    2/4/2021    G0289     $1,472.45
1087394-01    M.L.           Fifth Avenue Surgery Center LLC               Injection, Anesthetic Agent; Brach…   1/23/2021    64415      $979.78
1087394-01    M.L.           Fifth Avenue Surgery Center LLC              Ultrasonic Guidance For Needle Pla…    1/23/2021    76942      $341.96
1087394-01    M.L.           Fifth Avenue Surgery Center LLC               Arthroscopy, Shoulder, Surgical; S…   1/23/2021    29821     $5,677.77
1087394-01    M.L.           Fifth Avenue Surgery Center LLC               Arthroscopy, Shoulder, Surgical; D…   1/23/2021    29823     $1,472.45
1087394-01    M.L.           Fifth Avenue Surgery Center LLC              Arthroscopy, Shoulder, Surgical; W…    1/23/2021    29819     $1,472.45
1087394-01    M.L.           Fifth Avenue Surgery Center LLC              Arthroscopy, Shoulder, Surgical; W…    1/23/2021    29825     $1,472.45
1087394-01    M.L.           Fifth Avenue Surgery Center LLC               Arthroscopy, Shoulder, Surgical; D…   1/23/2021    29826     $1,472.45
1087394-01    M.L.           Fifth Avenue Surgery Center LLC                 Surgical Supply; Miscellaneous…     1/23/2021    A4649       $50.00
1080232-02    P.L.          Dassa Orthopedic Medical Services              Arthroscopy, Knee, Surgical; For R…   12/16/2020   29874      $343.71
1080232-02    P.L.          Dassa Orthopedic Medical Services              Arthroscopy, Knee, Surgical; For R…   12/16/2020   29874     $2,291.42
1080232-02    P.L.          Dassa Orthopedic Medical Services             Arthroscopy, Knee, Surgical; Synov…    12/16/2020   29876      $537.68
1080232-02    P.L.          Dassa Orthopedic Medical Services             Arthroscopy, Knee, Surgical; Synov…    12/16/2020   29876     $3,584.57
1080232-02    P.L.          Dassa Orthopedic Medical Services             Arthroscopy, Knee, Surgical; Abras…    12/16/2020   29879     $2,818.03
1080232-02    P.L.          Dassa Orthopedic Medical Services             Arthroscopy, Knee, Surgical; Abras…    12/16/2020   29879      $422.70
1080232-02    P.L.          Dassa Orthopedic Medical Services              Arthroscopy, Knee, Surgical; With …   12/16/2020   29880      $566.21
1080232-02    P.L.          Dassa Orthopedic Medical Services              Arthroscopy, Knee, Surgical; With …   12/16/2020   29880     $3,774.79
1080232-02    P.L.          Dassa Orthopedic Medical Services              Arthroscopy, Knee, Surgical; With …   12/16/2020   29884      $395.35
1080232-02    P.L.          Dassa Orthopedic Medical Services              Arthroscopy, Knee, Surgical; With …   12/16/2020   29884     $2,635.72
1080232-02    P.L.          Dassa Orthopedic Medical Services               Unlisted Procedure, Arthroscopy…     12/16/2020   29999      $367.26
1080232-02    P.L.          Dassa Orthopedic Medical Services               Unlisted Procedure, Arthroscopy…     12/16/2020   29999     $2,448.43
1080232-02    P.L.          New Horizon Surgical Center LLC               Arthroscopy, Knee, Surgical; Synov…    12/16/2020   29876     $1,472.45
1080232-02    P.L.          New Horizon Surgical Center LLC                Arthroscopy, Knee, Surgical; With …   12/16/2020   29880     $3,026.24
1080232-02    P.L.          New Horizon Surgical Center LLC                Injection, Anesthetic Agent; Femor…   12/16/2020   64447      $829.30
1080232-02    P.L.          New Horizon Surgical Center LLC               Ultrasonic Guidance For Needle Pla…    12/16/2020   76942      $341.96
1080232-02    P.L.          New Horizon Surgical Center LLC                  Surgical Supply; Miscellaneous…     12/16/2020   A4649       $50.00
1080232-02    P.L.          Dassa Orthopedic Medical Services              Arthroscopy, Shoulder, Surgical; S…   2/19/2021    29821      $484.96
1080232-02    P.L.          Dassa Orthopedic Medical Services              Arthroscopy, Shoulder, Surgical; S…   2/19/2021    29821     $3,233.10
1080232-02    P.L.          Dassa Orthopedic Medical Services              Arthroscopy, Shoulder, Surgical; D…   2/19/2021    29823      $514.62
1080232-02    P.L.          Dassa Orthopedic Medical Services              Arthroscopy, Shoulder, Surgical; D…   2/19/2021    29823     $3,430.85
1080232-02    P.L.          Dassa Orthopedic Medical Services              Arthroscopy, Shoulder, Surgical; D…   2/19/2021    29826      $547.55
1080232-02    P.L.          Dassa Orthopedic Medical Services              Arthroscopy, Shoulder, Surgical; D…   2/19/2021    29826     $3,650.34
1080232-02    P.L.          New Horizon Surgical Center LLC                Arthroscopy, Shoulder, Surgical; S…   2/19/2021    29821     $5,677.77
1080232-02    P.L.          New Horizon Surgical Center LLC                Arthroscopy, Shoulder, Surgical; D…   2/19/2021    29823     $1,472.45
1080232-02    P.L.          New Horizon Surgical Center LLC                Injection, Anesthetic Agent; Brach…   2/19/2021    64415      $979.78
1080232-02    P.L.          New Horizon Surgical Center LLC               Ultrasonic Guidance For Needle Pla…    2/19/2021    76942      $341.96
1080232-02    P.L.          New Horizon Surgical Center LLC                  Surgical Supply; Miscellaneous…     2/19/2021    A4649       $50.00
1078077-02    M.B.     McCulloch Orthopaedic Surgical Services PLLC        Arthroscopy, Shoulder, Surgical; S…   6/10/2020    29821     $1,779.64
1078077-02    M.B.     McCulloch Orthopaedic Surgical Services PLLC        Arthroscopy, Shoulder, Surgical; D…   6/10/2020    29823     $1,878.12
1078077-02    M.B.     McCulloch Orthopaedic Surgical Services PLLC       Arthroscopy, Shoulder, Surgical; W…    6/10/2020    29825     $1,873.54
1078077-02    M.B.     McCulloch Orthopaedic Surgical Services PLLC        Arthroscopy, Shoulder, Surgical; D…   6/10/2020    29826      $451.21
1078077-02    M.B.          New Horizon Surgical Center LLC                Arthroscopy, Shoulder, Surgical; S…   6/10/2020    29821     $5,677.77
1078077-02    M.B.          New Horizon Surgical Center LLC                Arthroscopy, Shoulder, Surgical; D…   6/10/2020    29823     $1,472.45
1078077-02    M.B.          New Horizon Surgical Center LLC               Arthroscopy, Shoulder, Surgical; W…    6/10/2020    29825     $1,472.45
1078077-02    M.B.          New Horizon Surgical Center LLC                Arthroscopy, Shoulder, Surgical; D…   6/10/2020    29826     $1,472.45
1078077-02    M.B.          New Horizon Surgical Center LLC                Injection, Anesthetic Agent; Brach…   6/10/2020    64415      $979.78
1078077-02    M.B.          New Horizon Surgical Center LLC               Ultrasonic Guidance For Needle Pla…    6/10/2020    76942      $341.96
1078077-02    M.B.          New Horizon Surgical Center LLC                  Surgical Supply; Miscellaneous…     6/10/2020    A4649       $48.75
1074099-04    E.K.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical; With …   1/30/2020    29881     $3,026.24
1074099-04    E.K.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical, For R…   1/30/2020    G0289     $1,472.45
1074099-04    E.K.           Fifth Avenue Surgery Center LLC              Arthroscopy, Knee, Surgical; Synov…    1/30/2020    29875     $1,472.45
1074099-04    E.K.           Fifth Avenue Surgery Center LLC               Injection, Anesthetic Agent; Femor…   1/30/2020    64447      $829.30
1074099-04    E.K.           Fifth Avenue Surgery Center LLC              Ultrasonic Guidance For Needle Pla…    1/30/2020    76942      $341.96
1074099-04    E.K.           Fifth Avenue Surgery Center LLC               Injection, Anesthetic Agent; Femor…    8/1/2020    64447      $829.30
1074099-04    E.K.           Fifth Avenue Surgery Center LLC              Ultrasonic Guidance For Needle Pla…     8/1/2020    76942      $341.96
1074099-04    E.K.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical; With …    8/1/2020    29881     $3,026.24
1074099-04    E.K.           Fifth Avenue Surgery Center LLC              Arthroscopy, Knee, Surgical; Synov…     8/1/2020    29875     $1,472.45
1074099-04    E.K.           Fifth Avenue Surgery Center LLC               Arthroscopy, Knee, Surgical, For R…    8/1/2020    G0289     $1,472.45
1074099-04    E.K.           Fifth Avenue Surgery Center LLC                 Surgical Supply; Miscellaneous…      8/1/2020    A4649       $50.00
1065416-01    E.E.       Rockland & Bergen Surgery Center LLC                Surgical Supply; Miscellaneous…     7/13/2020    A4649       $50.00
1065416-01    E.E.       Rockland & Bergen Surgery Center LLC             Simple Repair Of Superficial Wound…    7/13/2020    12001      $369.86

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                                                           2027
                           American Transit Ins. Co. v. All City Family Healthcare Center, Inc., et al.
Representative Sample of Fraudulent Claims for Arthroscopy Notwithstanding Absence of Complaint of Pain by Covered Person
                              Concerning Subject Joint During Emergency Room Evaluation
  Claim      Covered                                                                                            Date of     Billing   Amount
                                          Provider                                     Service
 Number      Person                                                                                             Service     Code       Billed
1065416-01    E.E.          Rockland & Bergen Surgery Center LLC         Arthroscopy, Shoulder, Surgical; D…    7/13/2020   29824     $1,472.45
1065416-01    E.E.          Rockland & Bergen Surgery Center LLC         Arthroscopy, Shoulder, Surgical; W…    7/13/2020   29825     $1,472.45
1065416-01    E.E.          Rockland & Bergen Surgery Center LLC         Arthroscopy, Shoulder, Surgical; D…    7/13/2020   29826     $1,472.45
1065416-01    E.E.          Rockland & Bergen Surgery Center LLC         Arthroscopy, Shoulder, Surgical; D…    7/13/2020   29823     $3,026.24
1065416-01    E.E.          Rockland & Bergen Surgery Center LLC         Ultrasonic Guidance For Needle Pla…    7/13/2020   76942      $341.96
1065416-01    E.E.          Rockland & Bergen Surgery Center LLC         Injection, Anesthetic Agent; Brach…    7/13/2020   64415      $979.78
1061434-02    M.S.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Shoulder, Surgical; D…    10/6/2020   29823      $221.05
1061434-02    M.S.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Shoulder, Surgical; D…    10/6/2020   29823     $2,065.91
1061434-02    M.S.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Shoulder, Surgical; W…    10/6/2020   29825     $2,060.81
1061434-02    M.S.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Shoulder, Surgical; W…    10/6/2020   29825      $220.51
1061434-02    M.S.       McCulloch Orthopaedic Surgical Services PLLC      Unlisted Procedure, Arthroscopy…     10/6/2020   29999      $221.05
1061434-02    M.S.       McCulloch Orthopaedic Surgical Services PLLC      Unlisted Procedure, Arthroscopy…     10/6/2020   29999     $2,065.91
1061434-02    M.S.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy, Shoulder, Surgical; D…    10/6/2020   29823     $3,026.24
1061434-02    M.S.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy, Shoulder, Surgical; W…    10/6/2020   29825     $1,472.45
1061434-02    M.S.       Surgicore LLC d/b/a Surgicore Surgical Center   Arthroscopy, Shoulder, Surgical; D…    10/6/2020   29826     $1,472.45
1061434-02    M.S.       Surgicore LLC d/b/a Surgicore Surgical Center   Injection, Anesthetic Agent; Brach…    10/6/2020   64415      $979.78
1061434-02    M.S.       Surgicore LLC d/b/a Surgicore Surgical Center   Ultrasonic Guidance For Needle Pla…    10/6/2020   76942      $341.96
1061434-02    M.S.       Surgicore LLC d/b/a Surgicore Surgical Center     Surgical Supply; Miscellaneous…      10/6/2020   A4649       $50.00
1051117-02    L.K.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Knee, Surgical; Synov…     1/9/2020   29876      $200.95
1051117-02    L.K.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Knee, Surgical; Synov…     1/9/2020   29876     $1,878.12
1051117-02    L.K.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Knee, Surgical; With …     1/9/2020   29880      $264.43
1051117-02    L.K.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Knee, Surgical; With …     1/9/2020   29880     $2,471.34
1051117-02    L.K.       McCulloch Orthopaedic Surgical Services PLLC      Unlisted Procedure, Arthroscopy…      1/9/2020   29999     $1,779.64
1051117-02    L.K.       McCulloch Orthopaedic Surgical Services PLLC      Unlisted Procedure, Arthroscopy…      1/9/2020   29999      $190.42
1051117-02    L.K.             New Horizon Surgical Center LLC           Arthroscopy, Knee, Surgical; Synov…     1/9/2020   29876     $1,472.45
1051117-02    L.K.             New Horizon Surgical Center LLC           Arthroscopy, Knee, Surgical; With …     1/9/2020   29880     $3,026.24
1051117-02    L.K.             New Horizon Surgical Center LLC             Unlisted Procedure, Arthroscopy…      1/9/2020   29999     $1,472.45
1047444-02    J.S.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Shoulder, Surgical; S…    6/24/2021   29821      $209.45
1047444-02    J.S.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Shoulder, Surgical; S…    6/24/2021   29821     $1,957.57
1047444-02    J.S.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Shoulder, Surgical; D…    6/24/2021   29823      $221.05
1047444-02    J.S.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Shoulder, Surgical; D…    6/24/2021   29823     $2,065.91
1047444-02    J.S.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Shoulder, Surgical; W…    6/24/2021   29825      $220.50
1047444-02    J.S.       McCulloch Orthopaedic Surgical Services PLLC    Arthroscopy, Shoulder, Surgical; W…    6/24/2021   29825     $2,060.81
1047444-02    J.S.       McCulloch Orthopaedic Surgical Services PLLC      Unlisted Procedure, Arthroscopy…     6/24/2021   29999      $203.53
1047444-02    J.S.       McCulloch Orthopaedic Surgical Services PLLC      Unlisted Procedure, Arthroscopy…     6/24/2021   29999     $1,902.15
1047444-02    J.S.             New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; S…    6/24/2021   29821     $5,677.77
1047444-02    J.S.             New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; D…    6/24/2021   29823     $1,472.45
1047444-02    J.S.             New Horizon Surgical Center LLC           Arthroscopy, Shoulder, Surgical; W…    6/24/2021   29825     $1,472.45
1047444-02    J.S.             New Horizon Surgical Center LLC             Unlisted Procedure, Arthroscopy…     6/24/2021   29999     $1,472.45
1047444-02    J.S.             New Horizon Surgical Center LLC           Injection, Anesthetic Agent; Brach…    6/24/2021   64415      $979.78
1047444-02    J.S.             New Horizon Surgical Center LLC           Ultrasonic Guidance For Needle Pla…    6/24/2021   76942      $341.96
1047444-02    J.S.             New Horizon Surgical Center LLC             Surgical Supply; Miscellaneous…      6/24/2021   A4649       $50.00
1048706-02    D.V.               Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical; Synov…    12/2/2019   29875     $1,472.45
1048706-02    D.V.               Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical; With …    12/2/2019   29880     $3,026.24
1048706-02    D.V.               Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical; With …    12/2/2019   29884     $1,472.45
1048706-02    D.V.               Surgicore of Jersey City LLC              Unlisted Procedure, Arthroscopy…     12/2/2019   29999     $1,472.45
1048706-02    D.V.               Surgicore of Jersey City LLC            Arthroscopy, Knee, Surgical, For R…    12/2/2019   G0289     $1,472.45
1048706-02    D.V.                   BW Orthopedics LLC                  Arthroscopy, Knee, Surgical; For R…    12/2/2019   29874     $1,449.03
1048706-02    D.V.                   BW Orthopedics LLC                  Arthroscopy, Knee, Surgical; For R…    12/2/2019   29874     $2,898.06
1048706-02    D.V.                   BW Orthopedics LLC                  Arthroscopy, Knee, Surgical; Synov…    12/2/2019   29876     $1,792.29
1048706-02    D.V.                   BW Orthopedics LLC                  Arthroscopy, Knee, Surgical; Synov…    12/2/2019   29876     $3,584.57
1048706-02    D.V.                   BW Orthopedics LLC                  Arthroscopy, Knee, Surgical; Debri…    12/2/2019   29877     $1,699.19
1048706-02    D.V.                   BW Orthopedics LLC                  Arthroscopy, Knee, Surgical; Debri…    12/2/2019   29877     $3,398.38
1048706-02    D.V.                   BW Orthopedics LLC                  Arthroscopy, Knee, Surgical; With …    12/2/2019   29880     $3,774.79
1048706-02    D.V.                   BW Orthopedics LLC                  Arthroscopy, Knee, Surgical; With …    12/2/2019   29880     $1,887.40
1048706-02    D.V.                   BW Orthopedics LLC                  Arthroscopy, Knee, Surgical; With …    12/2/2019   29884     $1,317.86
1048706-02    D.V.                   BW Orthopedics LLC                  Arthroscopy, Knee, Surgical; With …    12/2/2019   29884     $2,635.72
1048706-02    D.V.                   BW Orthopedics LLC                    Unlisted Procedure, Arthroscopy…     12/2/2019   29999     $5,000.00
1045632-01    R.N.     NYEEQASC LLC d/b/a North Queens Surgical Center   Njx Pltlt Plasma W/Img Harvest/Pr…     6/22/2019   0232T      $437.96
1045632-01    R.N.     NYEEQASC LLC d/b/a North Queens Surgical Center   Arthroscopy, Shoulder, Surgical; D…    6/22/2019   29823     $3,026.24
1019827-02    R.W.          All City Family Healthcare Center, Inc.      Arthroscopy, Wrist, Diagnostic, Wi…    9/20/2019   29840     $3,026.24
1019827-02    R.W.          All City Family Healthcare Center, Inc.      Arthroscopy, Wrist, Surgical; Syno…    9/20/2019   29844     $1,472.45
1019827-02    R.W.          All City Family Healthcare Center, Inc.      Arthroscopy, Wrist, Surgical; Exci…    9/20/2019   29846     $1,472.45
1019827-02    R.W.          All City Family Healthcare Center, Inc.       Injection, Anesthetic Agent; Sciat…   9/20/2019   64445      $976.38
1019827-02    R.W.          All City Family Healthcare Center, Inc.      Ultrasonic Guidance For Needle Pla…    9/20/2019   76942      $341.96
1019827-02    R.W.                 Alexios Apazidis M.D. PC              Arthroscopy, Wrist, Surgical; Syno…    9/20/2019   29844      $175.47
1019827-02    R.W.                 Alexios Apazidis M.D. PC              Arthroscopy, Wrist, Surgical; Syno…    9/20/2019   29844     $1,639.93
1019827-02    R.W.                 Alexios Apazidis M.D. PC              Arthroscopy, Wrist, Surgical; Exci…    9/20/2019   29846      $187.96
1019827-02    R.W.                 Alexios Apazidis M.D. PC              Arthroscopy, Wrist, Surgical; Exci…    9/20/2019   29846     $1,756.67
                                                                   4 of 4                                                                 Exhibit 8
